12-12171-reg      Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17                     Main Document
                                             Pg 1 of 519



   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK

   -------------------------------------- x
   In re:                                                             : Chapter 11
                                                                      :
   HOUGHTON MIFFLIN                                                   : Case No. 12-12171 (REG)
   HARCOURT PUBLISHING COMPANY, et al.,1                              :
                                                                      : Jointly Administered
                                               Debtors.               :
   -------------------------------------- x

                                      AFFIDAVIT OF SERVICE

     I, Leticia Salas, depose and say that I am employed by Kurtzman Carson Consultants
   LLC (KCC), the claims and noticing agent for the Debtors.

       1. On July 10, 2012, at my direction and under my supervision, employees of KCC
          caused the following documents to be served via First Class Mail on the service
          lists attached hereto as Exhibit A and Exhibit B; via Overnight mail on the
          service list attached hereto as Exhibit C for subsequent distribution to beneficial
          holders of the securities listed on the attached Exhibit D; via First Class mail to
          the parties on the service list attached hereto as Exhibit E, to the holders of
          Senior Creditor Claims on the service list attached hereto as Exhibit F, provided
          by Citi as Administrative Agent, to the registered holders of existing Common
          Stock on the service list attached hereto as Exhibit G, provided by
          Computershare as transfer agent; and via Email to the parties on the service list
          attached hereto as Exhibit H:

            •   Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
                Case [Docket No. 134, Case No. 12-12171]

            •   Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
                Case [Docket No. 8, Case No. 12-12173]


   1
       The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are Houghton Mifflin Harcourt Publishing Company (6030), Houghton Mifflin Harcourt
       Publishers Inc. (7305), HMH Publishers, LLC (7173), Houghton Mifflin Holding Company, Inc.
       (2898), Houghton Mifflin, LLC (2961), Houghton Mifflin Finance, Inc. (2812), Houghton Mifflin
       Holdings, Inc. (0674), HM Publishing Corp. (5843), Riverdeep Inc., a Limited Liability Company
       (9612), Broderbund LLC (6113), RVDP, Inc. (2557), HRW Distributors, Inc. (4902), Greenwood
       Publishing Group, Inc. (4537), Classroom Connect, Inc. (3282), ACHIEVE! Data Solutions, LLC
       (7499), Steck-Vaughn Publishing LLC (6929), HMH Supplemental Publishers Inc. (7571), HMH
       Holdings (Delaware), Inc. (6372), Sentry Realty Corporation (6742), Houghton Mifflin Company
       International, Inc. (9100), The Riverside Publishing Company (0173), Classwell Learning Group Inc.
       (9252), Cognitive Concepts, Inc. (5986), Edusoft (9992), and Advanced Learning Centers, Inc. (2861).
12-12171-reg     Doc 136    Filed 07/15/12 Entered 07/15/12 16:34:17          Main Document
                                        Pg 2 of 519



         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 6, Case No. 12-12174]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 6, Case No. 12-12175]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 6, Case No. 12-12176]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12177]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 6, Case No. 12-12178]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12179]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12180]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12181]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12182]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12183]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12184]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12185]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12186]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 5, Case No. 12-12187]

         •     Notice to Creditors and Interested Parties Change of Venue of Bankruptcy
               Case [Docket No. 6, Case No. 12-12188]
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                     Pg 3 of 519
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                     Pg 4 of 519




                              Exhibit A
                                             12-12171-reg               Doc 136               Filed 07/15/12 Exhibit
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                                                                                                          PgCore/2002
                                                                                                             5 of 519
                                                                                                               First Class Service List

          PARTY DESCRIPTION                          COMPANY                               CONTACT                                ADDRESS 1                        ADDRESS 2                  CITY       STATE     ZIP    COUNTRY
    Top 20 Creditor                      ADP National Account Service         Gayle Kuhr                              99 Jefferson Rd                                                  Parsippany        NJ    07054-0000
    Counsel for the Informal Creditor    Akin Gump Strauss Hauer & Feld,      Ira S. Dizengoff & Philip C. Dublin &
    Group                                LLP                                  Rachel Ehrlich Albanese                 One Bryant Park                                                  New York          NY    10036
    Top 20 Creditor                      American Express                     Donna Janeczko                          P.O. Box 410406                                                  Salt lake City    UT    84141
    Top 20 Creditor                      APC Workforce Solutions LLC          Jinnene Marin                           420 S. Orange Avenue                 Suite 600                   Orlando           FL    32801-4902
    Senior Secured Notes Trustee         BNY Mellon                           Ray O’Neil, Relationship Manager        525 William Penn Place, 38th Floor                               Pittsburgh        PA    15259
    Counsel to SAP America, Inc.         Brown & Connery, LLP                 Kenneth J. Schweiker, Jr.               6 North Broad Street, Suite 100                                  Woodbury          NJ    08096-0000
    Top 20 Creditor                      Bulkley Dunton Publishing Group      Tony V. Occhiuto                        P.O. Box 403565                                                  Atlanta           GA    30384-3656
    Top 20 Creditor                      Cengage Learning                     Sandra Fluker                           5191 Natorp Blvd.                                                Mason             OH    45040
                                         Central National-Gottesman Inc.
    Top 20 Creditor                      (Lindenmeyr)                         Steven Wright                           990 Washington Street                Suite 211                   Dedham            MA    02026-0000

    Counsel to Paymentech, LLC           Chase Paymentech Solutions LLC       Attn Lazonia Clark                      14221 Dallas Pwky Bldg II                                        Dallas            TX    75254
    Top 20 Creditor                      Cognizant Technology Solutions       Badri Ramanujachari                     500 Frank W Burr Blvd                                            Teaneck           NJ    07666-0000
                                         Department of Justice US Attorney
    US Department of Justice             General                              Commercial Litigation Branch            Michael B Mukasey                    950 Pennsylvania Ave NW     Washington        DC    20530-0001
    New York State Department of         Department of Taxation and
    Taxation                             Finance                              Office of Counsel                       Building 8, WA Harriman Campus                                   Albany            NY    12227
    Top 20 Creditor                      Edu 2000 America, Inc.               Rob Fiance                              5743 Corsa Ave                       Suite 222                   Ventura           CA    91362

    Counsel for the Indenture Trustee
    for the 10.5% Notes and Prepetition
    Senior Secured Notes Trustee                                              Bryant Berg & Mordecai Geisler &
    (Bank of New York Mellon)           Emmet, Marvin & Martin LLP            Ed Zujkowski                            120 Broadway, 32nd Floor                                         New York          NY    10271
    Environmental Protection Agency
    (Regional)                          Environmental Protection Agency       Region 2                                290 Broadway                                                     New York          NY    10007-1866
    Counsel to Larson Texts, Inc.
    (“Larson”)                          Graydon Head & Ritchey LLP            J. Michael Debbeler                     1900 Fifth Third Center              511 Walnut Street           Cincinnati        OH    45202
                                                                              Mark T. Power & Lauren S.
    Counsel to Encore Software, Inc.     Hahn & Hessen LLP                    Schlussel                               488 Madison Avenue                                               New York          NY    10022
    IRS                                  Internal Revenue Service             Centralized Insolvency Operation        2970 Market St                                                   Philadelphia      PA    19104
    IRS                                  Internal Revenue Service             Insolvency Section                      31 Hopkins Plz Rm 1150                                           Baltimore         MD    21201
    IRS                                  Internal Revenue Service             Centralized Insolvency Operation        PO Box 7346                                                      Philadelphia      PA    19101-7346
    Iron Mountain Information            Iron Mountain Information
    Management, Inc.                     Management, Inc.                     Joseph Corrigan                         745 Atlantic Avenue, 10th Floor                                  Boston            MA    02111-0000

    Top 20 Creditor                      Kue Digital Inc, DBA Global Scholar Kal Raman                                1100 112th Avenue NE, Suite 100      South Building              Bellevue          WA    98004
    Top 20 Creditor                      Laserwood Private Limited           Mark O’Brien                             P.O. Box 2865                                                    Buffalo           NY    14209
    Counsel to Carrollton-Farmers
    Branch Independent School Dsitrict
    and Lewisville Independent School
    District                           Law Offices of Robert E Luna PC        Andrea Sheehan                          4411 N Central Expressway                                        Dallas            TX    75205
    Counsel to Tarrant County and      Linebarger Goggan Blair &
    Dallas County                      Sampson, LLP                           Elizabeth Weller                        2323 Bryan Street, Ste 1600                                      Dallas            TX    75201
                                       Marshall Cavendish International (s)
    Top 20 Creditor                    PTE                                    Joy Tan                                 Times Centre 1 New Industrial Road                                                       536196       Singapore
    Counsel to Claimant, The County of McCreary Veselka Bragg & Allen
    Denton, Texas                      PC                                     Michael Reed                            P.O. Box 1269                        State Bar Number 16685400   Round Rock        TX    78680
    Top 20 Creditor                    McKinsey & Company Inc.                William Wolf                            P.O. Box 7247-7255                                               Philadelphia      PA    19170-7255
    New York City Tax Department       New York City Tax Commission                                                   Municipal Building                   1 Center St, Room 936       New York          NY    10007
                                       Office of the NY State Attorney
    NY Attorney General                General                                Eric T Schneiderman                     The Capitol                                                      Albany            NY    12224-0341
                                       Office of the US Attorney for the      United States Attorney Preet
    US Attorneys Office                Southern District of NY                Bharara                                 One St Andrew's Plz                                              New York           NY   10007
    Top 20 Creditor                    Penguin Group USA                      Laura Cerminaro                         1 Lake St.                                                       Upper Saddle River NJ   07458-0000
    Pension Benefit Guaranty
    Corporation                        Pension Benefit Guaranty Corp          Attn Dana Cann                          1200 K St NW                                                     Washington        DC    20005-4026




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                   1 of 2                                                                                                   1:26 PM
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                                                                                                                6 of 519
                                                                                                                      First Class Service List

          PARTY DESCRIPTION                             COMPANY                                CONTACT                                  ADDRESS 1                     ADDRESS 2                     CITY   STATE      ZIP       COUNTRY
    Pension Benefit Guaranty
    Corporation                             Pension Benefit Guaranty Corp          Attn Marie-Christine Fogt              1200 K St NW                                                     Washington      DC      20005-4026
    Top 20 Creditor                         Phoenix Color Corp.                    Jennifer Dick                          18249 Phoenix Drive                                              Hagerstown      MD      21742
    Interested Party, RICOH USA,
    formerly know as IKON Office
    Solutions Inc                           RICOH USA                              Bankruptcy & Recovery Group            3920 Arkwright Rd Ste 400                                        Macon           GA      31210
    Top 20 Creditor                         RRD-Asia Printing Solutions            Eileen R. Ly                           3 On Yiu Street                                                  Shek Mun        NT                   Hong Kong
    Top 20 Creditor                         RRD-Receivables Inc.                   Dan Pevonka                            3075 Highland Parkway                                            Donners Grove   IL      60515

    SEC Headquarters                        Securities & Exchange Commission Secretary of the Treasury                    100 F St NE                                                      Washington      DC      20549
                                            Securities & Exchange Commission George S Canellos Regional
    SEC Regional Office                     NY Office                        Director                                     3 World Financial Center Ste 400                                 New York        NY      10281-1022
    Counsel for the Prepetition L/C
    Bank and Wells Fargo Bank NA            Seyfarth Shaw LLP                      William J. Hanlon, Esq.                World Trade Center East            Two Seaport Lane, Suite 300   Boston          MA      02210-0000

    Counsel for the Debtors’ Proposed
    Postpetition Lenders, Agent for the
    First Lien Credit Facility, and
    Prepetition First Lien Facility Agent
    (DIP/Exit Agents) //Citibank, N.A.,
    as Administrative Agent and
    Collateral Agent under the First Lien
    Credit Agreement and
    Administrative Agent under the DIP                                             Fredric Sosnick & Edmund M.
    Credit Facility                         Shearman & Sterling LLP                Emrich                                 599 Lexington Avenue                                             New York        NY      10022
    Top 20 Creditor                         Six Red Marbles                        Katie Turcot                           P.O. Box 37038                                                   Baltimore       MD      21208
    Counsel to Pension Benefit                                                     Justin S. Alex and Samuel C.
    Guaranty Corporation                    SNR Denton US LLP                      Batsell                                1200 K Street Northwest                                          Washington      DC      20005
    Counsel to Texas Education                                                     Hal F. Morris Assistant Attorney
    Agency                                  Texas Attorney General’s Office        General                                P. O. Box 12548, MC-008                                          Austin          TX      78711-2548
    Top 20 Creditor                         Texas Education Agency                 Robert Scott                           1701 N Congress Ave                                              Austin          TX      78701
    Counsel to YRC Inc. dba YRC
    Freight, USF Holland Inc                Thrasher, Dinsmore & Dolan             Matthew H. Matheney                    1400 W. 6th Street, Suite 400                                    Cleveland       OH      44114
    Counsel to Tina Morton, Travis
    County Tax Assessor-Collector           Travis County Assitant Attorney        Kay D Brock                            PO Box 1748                                                      Austin          TX      78767
    Top 20 Creditor                         Trendset Inc.                          Deanna Moore                           4 Interchange Blvd.                                              Greenville      SC      29607-5700
    Environmental Protection Agency         US Environmental Protection
    (US)                                    Agency                                                                    1200 Pennsylvania Ave NW               Ariel Rios Building           Washington      DC      20004
    US Trustee for the Southern District    US Trustee for the Southern District   Andrea B. Schwartz, Assistant U.S.
    of NY                                   of NY                                  Trustee                            33 Whitehall St 21st Fl                Region 2                      New York        NY      10004
    Top 20 Creditor                         WL-Williams Lea Inc.                   Matt Alcorn                        1 Dag Hammarskjold Plaza               8th Floor                     New York        NY      10017




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                        2 of 2                                                                                                  1:26 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                     Pg 7 of 519




                              Exhibit B
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                                                                                                                       8 ofMatrix
                                                                                                                               519
                                                                                                                          First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                           Address2                           Address3              City            State       Zip              Country

    1010 PRINTING INTERNATIONAL LTD.                                         220 - 248 TEXACO ROAD                                                                           TSUEN WAN HONG KONG                             Hong Kong
    10ZIG TECHNOLOGY INC                                                     23309 NORTH 17TH DRIVE # 100                                                                    PHOENIX               AZ           85027
    1156 FIFTEENTH LLC                      1156 FIFTEENTH LLC LOCKBOX       PO BOX 33585                                                                                    HARTFORD              CT           06150
    1260 BB PROPERTY                        DBA FOUR SEASONS BILTMORE        1260 CHANNEL DRIVE                                                                              SANTA BARBARA         CA           93108
    1350 LLC                                RE 1350 Avenue of the Americas   Dahlia Williams                   c/o SL Green Realty Corp.             420 Lexington Avenue    New York              NY           10170
    1350 LLC                                c/o RECKSON REALTY CO            P O BOX 14014A                                                                                  NEWARK                NJ           07198-0014
    1495 TASTY CATERING CORP                DBA TASTY CATERING               1900 TOUHY AVENUE                                                                               ELK GROVE VILLAGE     IL           60007
    1747 Pennsylvania Avenue, LP            RE 1747 Pennsylvania Avenue      Kristy Sue Forman                 c/o Tishman Speyer                    P.O. Box 905431         Charlotte             NC           28290-5431
    1-800-FLOWERS                                                            5124 NORTH 19TH AVENUE                                                                          PHOENIX               AZ           85015-3272
    1-800-GOT-JUNK OF SOUTHWEST FL
    LLC                                                                      3450 GULF SHORE BLVD N, STE 507                                                                 NAPLES                FL           34103
    1-800-Got-Junk?                                                          2700 Arapahoe St                                                                                Denver                CO           80205
    1st Source Bank                                                          306 East Main Street              1st Source Bank-PAMB                  Suite 100               Niles                 MI           49120
    2003 CCIRA Conference                                                    Box 1929                                                                                        WHEAT RIDGE           CO           80034-1929
    2009 MISSOURI VALLEY ADULT
    EDUCATION                               ATTN GRENVELL FORAKER            850 NW CHIPMAN ROAD                                                                             LEES SUMMIT           MO           64063
    2009 MISSOURI VALLEY ADULT
    EDUCATION                               ASSOCIATION CONFERENCE           850 NW CHIPMAN ROAD                                                                             LEES SUMMIT           MO           64063
    2012 EDUCATION SPLOST RENEWAL
    COMMITEE                                                                 P O BOX 2173                                                                                    LAWRENCEVILLE         GA           30046

    215 PARK AVE SOUTH ASSOCIATES           C/O SL GREEN MANAGEMENT          420 LEXINGTON AVENUE STE1800                                                                    NEW YORK              NY           10170

    215 Park Avenue South Associates, LP    RE 215 Park Avenue South         ABA#021000021, Acct#6031749
    21ST CENTURY ENGLISH
    EDUCATION MEDIA                                                          15 HUIXIN DONGJIE                                                                               BEIJING                            100029       China
    29TH DAY OF READING                                                      20W 528 WESTMINISTER DRIVE                                                                      DOWNERS GROVE         IL           60516
    2B MANAGEMENT LLC                                                        110 GREENE STREET STE 501                                                                       NEW YORK              NY           10012
    30TH AVE PALACE FOOD CORP               DBA TRATTORIA LINCONTRO          21-76 31ST START                                                                                ASTORIA               NY           11105
    360TRAINING.COM                                                          P O BOX 840358                                                                                  DALLAS                TX           75284-0358
    365 MAIN SF                             FILE 30700                       PO BOX 60000                                                                                    SAN FRANCISCO         CA           94160
    3M                                                                       2807 PAYSPHERE CIRCLE                                                                           CHICAGO               IL           60674-0000
    5000K INC                                                                15 LITTLE BROOK ROAD                                                                            PEMBROKE              MA           02359
    52 BROADWAY REALITY CORP                                                 52 BROADWAY                                                                                     NEW YORK              NY           10004
    5280 PUBLISHING INC                     C/O DAN BROGAN                   1515 WAZEE STREET SUITE 400                                                                     DENVER                CO           80202
    61ST PARK AVENUE CORP                   DBA LOEWS REGENCY HOTEL          540 PARK AVENUE                                                                                 NEW YORK              NY           10065
    761 District Partnership                RE 761 District Drive            1695 Todd Farm Road                                                                             Elgin                 IL           60123
    761 DISTRICT PARTNERSHIP                                                 1695 TODD FARM DR                                                                               ELGIN                 IL           60123
                                                                             350 SOUTH FIGUEROA STREET
    811 WILSHIRE LLC                                                         SUITE 140                                                                                       LOS ANGELES           CA           90071
    82 QUEEN INC                            82 QUEEN                         82 QUEEN STREET                                                                                 CHARLESTON            SC           29401
    826 BOSTON                                                               3035 WASHINGTON ST                                                                              ROXBURY               MA           02119
    826 NATIONAL INC                                                         826 VALENCIA STREET                                                                             SAN FRANCISCO         CA           94110

    88-90 POST ROAD WEST ASSOC LLC                                           48 CAVALRY ROAD                   ATTN SAMUEL BELL                                              WESTPORT              CT           06880

    A & B EDUCATIONAL ENTERPRISES                                            1370 PERRY CIRCLE                                                                               NORTH WALES           PA           19454
    A & J VERKAIK                                                            RR3                                                                                             ELMWOOD               ON           N0G 1S0      Canada
    A & L GOODBODY                          INTERNATIONAL FINANCIAL          SERVICES CENTRE                                                                                 NORTH WALL QUAY       Dublin                    Ireland
    A & M JANITORIAL                                                         PO BOX 11142                                                                                    CEDAR RAPIDS          IA           52410
    A & N CONVENTION SERVICES                                                P O BOX 6215                                                                                    ST CLOUD              MN           56302-6215
    A AND P MOVING INC                                                       111 HAMILTON DR                                                                                 NOVATO                CA           94949
    A DAIGGER & COMPANY                     DBA ETA/CUISENAIRE               500 GREENVIRE COURT                                                                             VERNON HILLS          IL           60061
    A DAIGGER & COMPANY                     DBA ETA/CUISENAIRE               6642 EAGLE WAY                                                                                  CHICAGO               IL           60678-1066
    A DAIGGER & COMPANY                                                      500 GREENVIRE COURT                                                                             VERNON HILLS          IL           60061
    A DAIGGER & COMPANY                                                      6642 EAGLE WAY                                                                                  CHICAGO               IL           60678-1066
    A DALEY MAXIMILIAN BECKER                                                112 BROAD STREET                                                                                NORWICH               CT           06360
    A FLOWER BASKET INC                                                      209 EAST BEN WHITE BLVD                                                                         AUSTIN                TX           78704
    A GIFT FOR TEACHING                                                      6501 MAGIC WAY BLDG 400-C         ATTN VALERIE MARDLE                                           ORLANDO               FL           32809
                                            DBA AAA APPLIANCE SERVICE
    A JAMES ENTERPRISES LTD                 CENTER                           P O BOX 681501                                                                                  SCHAUMBURG            IL           60168-1501
    A K HOLCOMB CONSTRUCTION INC                                             4602 35TH STREET STE 500                                                                        ORLANDO               FL           32811
    A LORI NEUHAUS                                                           6 SARATOGA CT                                                                                   PLATTSBURGH           NY           12901
    A M PROPERTY HOLDING CORP               80-90 MAIDEN LANE LLC            352 SEVENTH AVE - 11TH FLR                                                                      NEW YORK              NY           10001
    A MARIE POOL                                                             2729 FORD DR                                                                                    CLINTON               OK           73601
    A Music Plus, Inc.                                                       7100 North Broadway               Suite 5R                                                      Denver                CO           80221-2923

    A N E PRODUCTIONS INC                                                    226 WEST 26TH STREET, 4TH FLOOR                                                                 NEW YORK              NY           10001
    A P WATT LTD                                                             20 JOHN STREET                  ATTN CARADOC KING                                               LONDON                             WC1N 2DR     United Kingdom



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                          1 of 488                                                                                                        1:26 PM
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                 CreditorName                         CreditorNoticeName                 Address1                         Address2              Address3             City           State       Zip             Country
    A P WATT LTD                                                           20 JOHN ST                                                                      LONDON                           WCIN 2DR     United Kingdom
    A POLO                                                                 P O BOX 5644                                                                    SANTA BARBARA       CA           93150
    A R MILLER                              RANDY MILLER                   3513 BURLINGGAME RD                                                             CAZENOVIA           NY           13035
    A SALT GROUP LLC                        STATE & LOCAL TAX SERVICES     100 POWDERMILL ROAD STE 223                                                     ACTON               MA           01720
    A SEAN FIGUEROA                                                        112 WARREN STREET                                                               NEWTON              MA           02459
    A TO A STUDIO SOLUTIONS LTD                                            47 EUCLID AVE                                                                   STAMFORD            CT           06902
    A TO T LAMPS INC                        BOB CUMMINGS                   730 VALLEY RIDGE CIR                                                            LEWISVILLE          TX           75057-3307
    A W CRISP FIRE SPRINKLER INC                                           5201 SAUNDERS ROAD                                                              FORT WORTH          TX           76119
    A&C BLACK PUBLISHERS                                                   36 SOHO SQUARE                                                                  LONDON                           W1D 3QY      United Kingdom
    A&E HOME VIDEO CORPORATION                                             250 HARBOR DRIVE                                                                STAMFORD            CT           06902
    A&E TELEVISION NETWORKS LLC                                            235 EAST 45TH STREET                                                            NEW YORK            NY           10017
    A. Fraser Cole                                                         335 Fairmont Ave                                                                Ottawa              ON           K1Y 1Y6      Canada
    A.B. Hirschfield                                                       5200 Smith Road                                                                 Denver              CO           80216
    A.C.E. Entertainment                                                   2528 Dexter St.                   Suite 100                                     DENVER              CO           80207
    A-1 FIRE SAFETY LLC                                                    642 ROBIN ROAD UNIT B                                                           ORMOND BEACH        FL           32716
    A-1 MICROWAVE SERVICE CORP              DBA MICROVEN ELECTRONICS       89 ACCESS RD SUITE 14                                                           NORWOOD             MA           02062
    A1 PIX                                  DIGITAL PICTURE LIBRARY        ASPENSTRASSE 2                                                                  TAUFKIRCHEN         MUCHEN       D-82024      Germany
    AA ROSS CONSULTING AND                                                 2800 S HIGHLAND MESA RD APT 11-
    RESEARCH                                                               202                                                                             FLAGSTAFF           AZ           86001
    AAESA                                                                  P O BOX 428                                                                     MONTGOMERY          AL           36101
                                            BLOUNT COUNTY BOARD OF
    AAFEPA                                  EDUCATION                      P O BOX 578                                                                     ONEONTA             AL           35121
    AAIM EDUCATION CENTER INC               DIV AAIM MANAGEMENT ASSOC      P O BOX 790379                                                                  ST LOUIS            MO           63179

    AARON & ALTA SAWYER DOUGLAS             FOUNDATION                     5723 SW FOX CROFT CIRCLE N                                                      TOPEKA              KS           66614
    Aaron Barnhill                                                         2824 Lafayette Trace Drive                                                      St. Cloud           FL           34772
    AARON BELYEA                            DBA ALPHABET ARM DESIGN        500 HARRISON AVENUE, 3 R                                                        BOSTON              MA           02118
    Aaron Beninato                                                         9918 S Bell                                                                     Chicago             IL           60643
    AARON CZAJKA                            DBA ASC GRAPHICS               1341 LONGFORD CIRCLE                                                            ELGIN               IL           60120
    AARON HAYES                                                            410 NW CHESTNUT AVENUE                                                          PORT CHARLOTTE      FL           33592
    Aaron J Kaczmarek                                                      1933 N. Humboldt Blvd             1N                                            Chicago             IL           60647
    Aaron Linn                                                             7824 Marquis Lane                                                               Indianapolis        IN           46260
    AARON M. PRIEST LITERARY
    AGENCY INC                                                             708 THIRD AVENUE, 23RD FLOOR                                                    NEW YORK            NY           10017
    Aaron Miller                                                           320 W SECOND ST                   UNIT 301                                      SOUTH BOSTON        MA           02127
    AARON NAPARSTEK                                                        23 ASH STREET                                                                   CAMBRIDGE           MA           02138
    Aaron Osborne                                                          8617 Coastal Drive                                                              Austin              TX           78749
    AARON PRIEST LITERARY AGENCY
    INC                                     JOHN RICHMOND                  708 THIRD AVE 23RD FL                                                           NEW YORK            NY           10017
    AARON SHAFFER                                                          9672 HIGHTIDE DRIVE                                                             HUNTINGTON BEACH    CA           92646
    AARON THAUL                                                            91 WEST GARDEN ROAD                                                             LARCHMONT           NY           10538
    AARTPACK INC                                                           1330 BEACON STREET STE 209                                                      BROOKLINE           MA           02446
    AASE BJERNER NIELSEN                                                   BYGHOLM PARKVEJ 39                                                              HORSENS                          08700        Denmark
    AATTIC II L P                           DBA 10TH AFFORDABLE ATTIC      6304 N 10TH STREET                                                              MCALLEN             TX           78504
    ABA SOLUTIONS INC                       DBA ABA MORIAH CORPORATION     P O BOX 350                                                                     GAINESVILLE         VA           20156
    ABBIE WASSON                                                           1412 24TH STREET                                                                WOODWARD            OK           73801
    Abbotsford School Dist #34                                             33130 Bevan Road                                                                Abbotsford          BC           V2S1T6       Canada
    ABBOTT - ACTION INC                                                    PO BOX 2306                                                                     PAWTUCKET           RI           02861-0306
    ABBOTT ACTION INC                                                      PO BOX 2306                                                                     PAWTUCKET           RI           02861
    ABBOTT NATURE PHOTOGRAPHY
    LLC                                                                    717 LE ANN LANE                                                                 CEDAR PARK          TX           78613
    ABBY SMITH                                                             20 BOXWOOD LANE                                                                 ROSLYN HEIGHTS      NY           11577
    ABC MEDYA AJANSI A S                                                   HUDAVENDIGAR CAD NO 23            HOCAPASA MAHALLESI                            SIRKECI, ISTANBUL   Istanbul     34436        Turkey
    ABC UNIFIED SCHOOL DISTTRICT                                           16700 NORWALK BOULEVARD                                                         CERRITOS            CA           90703
    ABC-CLIO LLC                            ATTN DEBORAH SPENCER           130 CREMONA DR                                                                  SANTA BARBARA       CA           93116
    ABCNEWS INTERNET VENTURES               77 WEST 66TH STREET            4TH FL                                                                          NEW YORK            NY           10023
    ABCNEWS VIDEOSOURCE                                                    125 WEST END AVENUE                                                             NEW YORK            NY           10023
    ABDI I SAMATAR                          UNIV OF MINN/GEOGRAPHY DEPT    267 19TH AVENUE SOUTH             414 SOCIAL SCI BLDG                           MINNEAPOLIS         MN           55455
    ABDO PUBLISHING                                                        8000 W 78TH STREET STE 310                                                      EDINA               MN           55439
    ABEL JESSICA                                                           517 47TH STREET FLOOR 2                                                         BROOKLYN            NY           11220
    Abelandjo Cabarubia                                                    4164 W. Cornelia                                                                Chicago             IL           60641
    ABELARDO MORELL                                                        34 DAVID AVENUE                                                                 BROOKLINE           MA           02446

    ABERDEEN SCHOOL DISTRICT                SHIVERS MIDDLE SCHOOL          P O BOX 607 1100 W COMMERCE ST                                                  ABERDEEN            MS           39730
    ABF FREIGHT SYSTEM INC                                                 8630 HALL STREET                                                                SAINT LOUIS         MO           63147-2317
    ABIGAIL DOUTHAT                                                        251 10TH STREET NE                                                              WASHINGTON          DC           20002
    Abigail Heim                                                           138 Hillside St                                                                 Rowley              MA           01969
    Abigail Jungreis                                                       99 Mason Terrace                                                                Brookline           MA           02446
    ABIGAIL STODDARD MARETSKY                                              10052 OAKSIDE COURT                                                             ORLANDO             FL           32836
    ABIGAL JONES                            DBA A JONES FREELANCING        1214 BARTON HILLS DR APT 305                                                    AUSTIN              TX           78704



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     2 of 488                                                                                        1:26 PM
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              CreditorName                            CreditorNoticeName                 Address1                            Address2                        Address3            City           State       Zip               Country
    ABM JANITORIAL SVCS NEAST INC                                           P O BOX 1534                                                                                NEW YORK           NY           10008-1534
    ABMARKETWORKS LLC                       ACCOUNTS RECEIVABLE             228 PARK AVE S, # 17030                                                                     NEW YORK           NY           10003
    ABNER STEIN AGENCY                                                      10 ROLAND GARDENS                  ATTN ANNA CARMICHAEL                                     LONDON                          SW7 3PH      United Kingdom
    ABOVE ALL PHOTOGRAPHY                                                   8677 BASH STREET                                                                            INDIANAPOLIS       IN           46256
                                            DBA LIVE OAK MEDIA -ATTN ARNOLD
    ABRA MEDIA INC                          CARDILLO                        P O BOX 652                                                                                 PINE PLAINS        NY           12567-0652

    ABRAHAM BALDWIN COLLEGE BKST ABAC 16                                    2802 MOORE HIGHWAY                                                                          TIFTON             GA           31794
    ABRAHAM N DENZER             DENZER LLC                                 9275 SNEDDON DR                                                                             SANDY              UT           84070
    Abraham Rudnick                                                         23539 Knapp Rd                                                                              Chatsworth         CA           91311
    ABRAHAM TECHNICAL SERVICES
    INC                          DBA ABETECH INC                            12560 FLETCHER LANE, STE 100                                                                ROGERS             MN           55374
    ABRAHAM YEHOSHUA                                                        33 SHOSHANAT HA-CARMEL                                                                      HAIFA                           34322        Israel
    ABRAMS ARTISTS AGENCY                                                   275 SEVENTH AVE, 26TH FL                                                                    NEW YORK           NY           10001
    A-Breeze                                                                7310 South Alton Way                                                   Suite J              Englewood          CO           80112
    ABRY PARTNERS LLC
    ABS GRAPHICS                                                            P O BOX 95019                                                                               PALATINE           IL           60095-0019
    ABSOLUTE SOFWARE INC                                                    #1600-1055 DUNSMUIR ST             P O BOX 49211                                            VANCOUVER          BC           V7X 1K8      Canada
    ABT ASSOCIATES INC                                                      PO BOX 84-5586                                                                              BOSTON             MA           02284
    AC DISPOSAL INC                                                         22 MAESTAS ROAD                                                                             BELEN              NM           87002

    AC WHITE SOLICITORS & NOTARIES                                          23 WELLINGTON SQUARE                                                                        AYR                             KA7 1HG      United Kingdom
    ACADEMIC SUPERSTORE                                                     DEPT # 354, P O BOX 4869                                                                    HOUSTON            TX           77210-4869

    ACADEMIC THERAPY PUBLICATIONS                                           20 COMMERCIAL BLVD                                                                          NOVATO             CA           94949-6191
    ACADEMIC TRANSITIONAL ACADEMY
    OF                                      ST CLAIR COUNTY                 499 RANGE RD                                                                                MARYSVILLE         MI           48040
    Academy at High Point                                                   6192 N. Genoa Street                                                                        Aurora             CO           80019
    ACADEMY OF AMERICAN
    FRANCISCAN HISTORY                                                      1712 EUCLID AVENUE                                                                          BERKELEY           CA           94709
    ACADEMY OF AMERICAN POETS                                               75 MAIDEN LANE STE 901                                                                      NEW YORK           NY           10038
    Academy of Charter Schools                                              601 East 64th Ave.                                                                          DENVER             CO           80229
    ACADEMY OF NATURAL SCIENCES
    PA                                      DBA VIREO/ANSP                  1900 BENJAMIN FRANKLIN PRKWY                                                                PHILADELPHIA       PA           19103-1195
    Academy School District 20              Attn Jean Berglund              1130 West Woodmen Road                                                                      Colorado Springs   CO           80919
    ACADIA PARISH SCHOOL BOARD              SALES & USE TAX DEPT            P O DRAWER 309                                                                              CROWLEY            LA           70527-0309

    ACCELARE INC                                                            15 PACELLA PARK DRIVE SUITE 210                                                             RANDOLPH           MA           02368
    ACCESS CHARTER SCHOOL                                                   1100 LEE ROAD                                                                               ORLANDO            FL           32810
    ACCESS NEW JERSEY            DBA CONNECTIONS & DIRECTIONS               150 W STATE ST, STE 120            ATTN DONNA LEVYA                                         TRENTON            NJ           08608
    ACCORD FINANCIAL INC                                                    PO BOX 6704                                                                                 GREENVILLE         SC           29606-6704
    Accountemps                                                             P.O. Box 60000                     File 73484                                               SAN FRANCISCO      CA           94160-3484
    Accounting Etc., Inc.                                                   11247 E. Heidemann Ave.                                                                     Franktown          CO           80116
    ACCOUNTING PRINCIPALS INC                                               DEPT CH 14031                                                                               PALATINE           IL           60055-4031
    ACCURATE INDUSTRIAL PRODUCTS
    INC                                                                     908 JEFFCO EXECUTIVE DRIVE                                                                  IMPERIAL           MO           63052

    ACCU-SORT SYSTEMS INC                                                   13029 COLLECTIONS CENTER DRIVE                                                              CHICAGO            IL           60693
    ACD SYSTEMS LTD                                                         200 1312 BLANSHARD ST                                                                       VICTORIA           BC           V8W 2J1      Canada
    ACE American Insurance Company
    ACE AMERICAN INSURANCE
    COMPANY                                                                 Routing 1275-2W                    One Beaver Valley Road                                   Wilmington         DE           19803
    ACE DUPLICATION & EDITING
    GROUP LLC                                                               386 PARK AVE SOUTH                                                                          NEW YORK           NY           10016-8804

    ACE OF FLORIDA INC                                                      912 S MARTIN LUTHER KING JR BLVD                                                            TALLAHASSEE        FL           32301
    ACE STORAGE & LEASING INC                                               171 SUTHERLAND DRIVE                                                                        BOWLING GREEN      KY           42104-7548
    ACE TOMATO CO INC                       DBA MILLOFFS CATERING           4210 DANVILLE ROAD                                                                          BRANDYWINE         MD           20613
    ACE USA, Professional Risk, Private
    Company/NFP Practice                                                    33 Arch Street, Suite 2900                                                                  Boston             MA           02110
    Aces Casino Equip Rental, Inc.                                          P.O. Box 656                                                                                Morrison           CO           80465
    ACE-USA Professional Risk                                               33 Arch Street, Suite 2900                                                                  Boston             MA           02110
    ACG American Continental Group
    ACHIEVE3000 INC                                                         1091 RIVER AVENUE STE 1                                                                     LAKEWOOD           NJ           08701
    ACHIEVEGLOBAL INC                                                       P O BOX 414532                                                                              BOSTON             MA           02241-4532
    ACHIEVEMENT FORST ENDEAVOR
    CHARTER                                 SCHOOL                          510 WAVERLY AVENUE                                                                          BROOKLYN           NY           11238
    ACHORN INTERNATIONAL INC                                                16 PARKER STREET                                                                            WEST BOYLSTON      MA           01583
    ACI GIFT CARDS INC                                                      P O BOX 24987                                                                               SEATTLE            WA           98124-0987
    ACKERMAN PATRICIA A                                                     456 RUSHMORE DRIVE                                                                          RICHMOND HEIGHTS   OH           44143



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                        3 of 488                                                                                                   1:26 PM
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                                                                                                                 First Class Service List


              CreditorName                          CreditorNoticeName                Address1                        Address2              Address3             City        State       Zip             Country
    ACL SERIVCES LTD                        SILICON VALLEY               LOCK BOX# 200286                                                              PITTSBURGH       PA           15251-0286
    ACME BOOKBINDING CO INC                                              P O BOX 290699                                                                CHARLESTOWN      MA           02129-0212
    ACME UNITED CORPORATION                                              60 ROUND HILL ROAD                                                            FAIRFIELD        CT           06824
    ACQUITY GROUP LLC                                                    P O BOX 5940                   DEPARTMENT 20-1016                             CAROL STREAM     IL           60197
    ACSA NORTH STATE SPRING                                                                             ATTN LINDA ROONEY - ROCKLIN
    CONFERENCE                                                           P O BOX 1841                   USD                                            OROVILLE         CA           95965
    ACTA PUBLICATIONS                                                    5559 WEST HOWARD STREET                                                       SKOKIE           IL           60077
    ACTION LEARNING SYSTEMS INC                                          135 S ROSEMEAD BLVD                                                           PASADENA         CA           91107
    ACTION MAIL INC                                                      1904 PREMIER ROW                                                              ORLANDO          FL           32809
    ACTION PRINTING OF NORMAN                                            3400 CHARLESTON ROAD                                                          NORMAN           OK           73069
    ACTIONEMCO                                                           5601 WEST SIDE AVENUE                                                         N BERGEN         NJ           07047
    ACTIVE ELECTRIC SUPPLY INC              DBA REXEL                    DEPT AT 40191                                                                 ATLANTA          GA           31192-0191
    ACTIVE GROUP VENTURES INC                                            3593 SOLUTIONS CENTER                                                         CHICAGO          IL           60677-3005
    ACTS                                                                 2 ARMAND BEACH DR #1B                                                         PALM COAST       FL           32137
                                                                         TWO ARMAND BEACH DRIVE SUITE
    ACTS - ADVISORY COMMISSION              ON TEXTBOOK SPECIFICATIONS   1B                                                                            PALM COAST       FL           32137
    ACTUATE CORPORATION                     DEPT #05875                  P O BOX 39000                                                                 SAN FRANCISCO    CA           94139-5857

    ADA E MONTANEZ GARCIA                   CONDOMINIO PARQUE TERRALINDA APARTAMENTO E 5                                                               TRUJILLO ALTO    PR           00976
    ADA GERENA ROSADO                                                    P O BOX 141196                                                                ARECIBO          PR           00614
    Adah Nuchi                                                           114 Fenimore Street            #6E                                            Brooklyn         NY           11225
    ADAK ON COLONIAL LLC                    DBA HOULIHANS                2600 EAST COLONIAL DRIVE                                                      ORLANDO          FL           32807
    ADAM C ELLER                                                         9 HENRY STREET                                                                TUCKAHOE         NY           10707
    ADAM CLAY                                                            3 TOP TERRACE                                                                 BROOMHILL        SHEFFIELD    S10 1BS      United Kingdom
    ADAM DANIEL WOODS                                                    1650 MONTE VISTA ST                                                           PASADENA         CA           91106
    ADAM DIMECH                                                          7/114 BLYTH STREET                                                            BRUNSWICK        Victoria     03056        Australia
    Adam Forrand                                                         145 ROBERTS ROAD                                                              SUWANEE          GA           30024
    ADAM FRANK                              DEPT OF PHYSICS & ASTRONOMY  UNIVERSITY OF ROCHESTER                                                       ROCHESTER        NY           14627-0171
    ADAM GOPNIK                                                          19 EAST 88TH STREET # 6A                                                      NEW YORK         NY           10128
    Adam Gould                                                           6411 Nasco                                                                    Austin           TX           78757
    ADAM GRAD                                                            3207 WHANSEN AVE                                                              BOISE            ID           83703-5319
    Adam Hall                                                            18180 Old Dominion Court                                                      Fort Myers       FL           33908
    Adam Haus                                                            4802 North Seeley              1F                                             Chicago          IL           60625
    Adam Henderson                                                       4112 Carroll Ridge Court                                                      High Point       NC           27265
    ADAM HOCHSCHILD                                                      84 SWEARD ST                                                                  SAN FRANCISCO    CA           94114
    ADAM J CURTIS                                                        200 LINCOLN AVENUE                                                            TAKOMO PARK      MD           20912
    ADAM MCCAULEY                                                        1081 TREAT AVENUE                                                             SAN FRANCISCO    CA           94110

    ADAM MOTLOW                  OKEECHOBEE CORRECTIONAL INST. N E 168 ST                                                                              OKEECHOBEE       FL           34972
    ADAM PIORE                                                 67 JEFFERSON STREET                                                                     NYACK            NY           10960
    ADAM RIFENBERICK             DBA PRESS BOX PUBLICITY LLC   637 WASHINGTON AVE                                                                      SAVANNAH         GA           31405
    Adam Sayer                                                 2014 Sugar Creek Dr NW                   Unit B                                         Cedar Rapids     IA           52405
    ADAM SHAW                                                  101 PARK AVE                                                                            NEW YORK         NY           10178
    Adam Stevens                                               2580 South Meade Street                                                                 Denver           CO           80219
    Adams County District # 50   Karen Lewis                   4476 West 68th Avenue                                                                   WESTMINSTER      CO           80030
    ADAMS LITERARY                                             7845 COLONY ROAD C-4 #215                ATTN TRACEY ADAMS                              CHARLOTTE        NC           28226
    ADAMS LITERARY                                             7845 COLONY ROAD C-4 #215                                                               CHARLOTTE        NC           28226
    ADAMS MEDIA CORP             ATTN STEPHANIE MCKENNA        4700 EAST GALBRAITH ROAD                                                                CINCINNATI       OH           45236
    ADAMS PICTURE LIBRARY        APL                           THE STUDIO HILLSIDE COTTAGE                                                             HESSENFORD       Cornwall     PL11 3HH     United Kingdom
    Adams State College          Extended Studies              208 Edgemont Boulevard                                                                  Alamosa          CO           81102
    ADAMS STATE COLLEGE          DIVISION OF EXTENDED STUDIES  208 EDGEMONT BLVD                                                                       ALAMOSA          CO           81102
    Adams Traditional Academy    ADAMSTR                       2323 West Parkside Lane                                                                 Phoenix          AZ           85027
    ADCOMM DIGITAL INC                                         47 SHEER PLAZA                                                                          PLAINVIEW        NY           11803-4205
    ADDED INCENTIVES INC                                       600 ACADEMY DR, STE 130                                                                 NORTHBROOK       IL           60062
                                                               840-3 OLD ROAD TO NINE ACRE
    ADDIE SWARTZ                                               CORNER                                                                                  CONCORD          MA           01742
    ADDY SEAN                                                  9 LYMAN ST                                                                              PORT JERVIS      NY           12771
    ADECCO USA INC                                             DEPT CH 14091                                                                           PALATINE         IL           60055-4091
    ADEL ARSHAGHI                                              1817 FIDELCREST CIRCLE APT # 2                                                          JOHNSON CITY     TN           37604
    Adela Rivas                                                845 Liberty Street                                                                      Aurora           IL           60505
    Adelaida Perez                                             927 talma st.                                                                           Aurora           IL           60505
    ADELAIDE R MCCULLOCH                                       114 RED FOX ROAD                                                                        WILMINGTON       NC           28409
    ADELE C WILDE                                              7853 BEN HOGAN DRIVE                                                                    LAS VEGAS        NV           89149
    ADELE WINTER                                               7 SAILFISH DRIVE                                                                        BRIGANTINE       NJ           08203
                                 BOOKSTORE - FACULTY STUDENT
    ADIRONDACK COMMUNITY COLLEGE ASSN                          612 BAY ROAD                                                                            QUEENSBURY       NY           12804
    ADLER CAROLE S                                             7041 N CATHEDRAL ROCK PLACE                                                             TUSCON           AZ           85718
                                                               66 WHITHERSPOON STREET SUITE
    ADLER MANAGEMENT INC                                       315                                                                                     PRINCETON        NJ           08542




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                 4 of 488                                                                                     1:26 PM
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                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                         Address2                          Address3                      City           State       Zip           Country
    ADMINISTRTR- UNEMPLYMNT
    COMPENSATION                            STATE OF CT - DEPT OF LABOR    200 FOLLY BROOK BLVD                                                  EMPLOYMENT SECURITY DIVISION   WETHERSFIELD         CT           06109
    ADMIRAL MECHANICAL SERVICES                                            4150 LITT DRIVE                                                                                      HILLSIDE             IL           60162-1120
    Adnan Rizvanbegovic                                                    28 Miller Street                  Unit 5                                                             Quincy               MA           02169
    ADOFF ARNOLD                                                           750 UNION STREET                                                                                     YELLOW SPRINGS       OH           45387
    ADOLPH WOLFGANG                                                        1579 FERNANDO DR                                                                                     TALLAHASSEE          FL           32303
    ADOPT A STUDENT FOUNDATION              c/o CONVENTURES INC            ONE DESIGN CENTER PLACE                                                                              BOSTON               MA           02210
    ADP INC                                                                PO BOX 7247-0372                                                                                     PHILADELPHIA         PA           19170-0372
    ADP INC                                                                P O BOX 842875                                                                                       BOSTON               MA           02284-2875
    ADP INC                                                                P O BOX 9001007                                                                                      LOUISVILLE           KY           40290-1007
    ADP National Account Service            Gayle Kuhr                     99 Jefferson Rd                                                                                      Parsippany           NJ           07054
    ADP SCREENING & SELECTION
    SERVICES                                                               36307 TREASURY CENTER                                                                                CAROL STREAM         IL           60694-6300
    ADPARLOR INC                                                           140 OLD SURREY LN                                                                                    RICHMOND HILL        ON           L4C 7E5      Canada
    Adrian Harte                                                           12 Alden Avenue                                                                                      Stoneham             MA           02180
    Adrian Hernandez                                                       527 S. Westmore                                                                                      Lombard              IL           60148
    ADRIAN M JENKINS                                                       15390 CRUSE                                                                                          DETROIT              MI           48227
    ADRIAN RODGERS                                                         5955 ROOKERY COURT                                                                                   NEW ALBANY           OH           43054
    ADRIAN T CLONTZ                                                        PO BOX 961                                                                                           TROUTMAN             NC           28166
    ADRIAN TOMINE                                                          PO BOX 94 PRINCE STATION                                                                             NEW YORK             NY           10012
    ADRIANA MARGARITA FARMER                                               ADAMS B20 PARKVILLE                                                                                  GUAYNABO             PR           00965
    Adriana Z Bernal                                                       14568 Braddock Oak                                                                                   Orlando              FL           32837
    ADRIENNE BRODEUR                                                       790 RIVERSIDE DRIVE # 5 B                                                                            NEW YORK             NY           10032
    ADRIENNE CLEVELAND                                                     3750 NW 166TH DRIVE                                                                                  BEAVERTON            OR           97006
    ADRIENNE DOERRMANN                                                     8789 SW 214 LANE                                                                                     MIAMI                FL           33189
    ADRIENNE L AVALLONE                                                    8113 BAUTISTA WAY                                                                                    PALM BEACH GARDENS   FL           33418
    ADRIENNE MACK-KIRSCHNER                                                12660 WEST FETLOCK TRAIL                                                                             PEORIA               AZ           85383
    ADRIENNE SHEA UPSHAW                                                   19 ELMER BROWDER RD                                                                                  RICHTON              MS           39476
                                            DICKINSON COLLEGE ENGLISH
    ADRIENNE SU                             DEPT                           PO BOX 1773 EAST COLLEGE RM 404                                                                      CARLISLE             PA           17013
    Adrienne Vincent                                                       3703 Buckingham Rd                                                                                   Gwynn Oak            MD           21207
    ADRINE ANNE MIDDEN                                                     4100 WEST JEFFERSON STREET                                                                           SPRINGFIELD          IL           62707
    ADT SECURITY SERVICES INC                                              P O BOX 371967                                                                                       PITTSBURGH           PA           15250-7967
    ADT SECURITY SYSTEMS                                                   P O BOX 371956                                                                                       PITTSBURGH           PA           15250-7956
    ADTECH SYSTEMS INC                                                     PO BOX 843010                                                                                        BOSTON               MA           02284-3010
    ADULT LEARNING RESOURCE
    CENTER                                                                 P O BOX 2401                      ATTN MONICA MAZUR                                                  BEDFORD OARK         IL           60499
    ADVANCE MAGAZINE PUBLISHERS
    INC                                     DBA VOGUE MAGAZINE             P O BOX 37722                                                                                        BOONE                IA           50037
    ADVANCE MAGAZINE PUBLISHERS
    INC                                     DBA CONDE NAST PUBLICATIONS   P O BOX 5350                                                                                          NEW YORK             NY           10087-5350
    ADVANCE MAGAZINE PUBLISHERS             DBA CONDE NAST PUB FOR COOKIE
    INC                                     MAG                           1440 BROADWAY, 11TH FLOOR                                                                             NEW YORK             NY           10018
    ADVANCE MAGAZINE PUBLISHERS
    INC                                     DBA CARTOON BANK               P O BOX 822097                                                                                       PHILADELPHIA         PA           19182-2097
    ADVANCE MAGAZINE PUBLISHERS
    INC                                     CONDE NAST PUBLICATIONS        PO BOX 822097, PNC BANK                                                                              PHILADELPHIA         PA           19182
    ADVANCE MAGAZINE PUBLISHERS
    INC                                                                    P O BOX 37722                                                                                        BOONE                IA           50037
    ADVANCE MAGAZINE PUBLISHERS
    INC                                                                    P O BOX 5350                                                                                         NEW YORK             NY           10087-5350
    ADVANCE MAGAZINE PUBLISHERS
    INC                                                                    P O BOX 822097                                                                                       PHILADELPHIA         PA           19182-2097
    ADVANCE TELECO USA INC                                                 29842 CABO DEL OESTE                                                                                 HIGHLAND             CA           92346
    ADVANCED DATA TECHNOLOGIES
    INC                                                                    1075 SHORE ROAD                                                                                      NAPERVILLE           IL           60563
    ADVANCED DUPLICATION SERVICES
    LLC                                     DBA THE ADS GROUP              2155 NIAGARA LANE NORTH                                                                              PLYMOUTH             MN           55447
                                            INDIANA STATE UNIVERSITY UH
    ADVANCED EDUCATION - NCA                ROOM 211                       401 N 7TH STREET                                                                                     TERRE HAUTE          IN           47809
    ADVANCED EDUCATION - NCA                ATTN MARTHA ALEXANDER          401 N 7TH STREET                                                                                     TERRE HAUTE          IN           47809
    ADVANCED INDUSTRIES                                                    P O BOX 3127                                                                                         LONGVIEW             TX           75606-3127
                                                                           317 INVERNESS WAY SOUTH, STE                                          THE LEADERSHIP & LEARNING
    ADVANCED LEARNING CENTERS INC                                          150                                                                   CENTER                         ENGLEWOOD            CO           80112
    Advanced Learning Centers, Inc Center for Performance Assessm          317 Inverness Way S., Ste. 150                                                                       Englewood            CO           80112
    Advanced Learning Centers, Inc                                         317 Inverness Way South                                               Suite 150                      Englewood            CO           80112-5857
    ADVANCED RENTAL AND SUPPLY                                             216 NORTH LINCOLN DRIVE                                                                              TROY                 MO           63379
    ADVANCED WYOMING NORTH
    CENTRAL ASSN                   ATTN KARAN WRIGHT                       9919 SILVER SAGE CT SE                                                                               ALBUQUERQUE          NM           87116
    ADVANTA GRAPHICS INC                                                   99 KERO RD                                                                                           CARLSTADT            NJ           07072



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      5 of 488                                                                                                           1:26 PM
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                                                                                                                 13 of      519
                                                                                                                         Matrix
                                                                                                                    First Class Service List


                CreditorName                      CreditorNoticeName                   Address1                             Address2           Address3               City            State       Zip                Country
    ADVANTAGE CORRELATING LLC               ANDREA SEAL                  P O BOX 896                                                                      SPRING BRANCH          TX           78070
    ADVENT SYSTEMS INC                                                   435 WEST FULLERTON AVENUE                                                        ELMHURST               IL           60126
    ADVENTURE SCIENCE CENTER                                             800 FORT NEGLEY BLVD                                                             NASHVILLE              TN           37203
    Adventure Video Productions                                          373 Aylesbury Drive South                                                        Westerville            OH           43062
    Adventure Video Productions                                          373 Aylesbury Drive South                                                        Westerville            OH           43082
    ADVERTISING AGE                                                      711 THIRD AVE                                                                    NEW YORK               NY           10017
    ADVERTISING ARCHIVE LIMITED                                          45 LYNDALE AVENUE                                                                LONDON                              NW2 2QB      United Kingdom
    ADVERTISING MEDIA PLUS INC                                           PO BOX 1529                                                                      ELLICOTT CITY          MD           21041
    ADVOCACY FOR GIFTED AND
    TALENTED EDUC                           IN NEW YORK STATE INC        30 TOWPATH LANE                   ATTN JUDY WEGMAN                               ROCHESTER              NY           14618
    ADVOCATE ART                                                         56 THE STREET                                                                    ASHTEAD                Surrey       KT21 1AZ     United Kingdom
    AEIOU INC                               ATTN CYNTHIA CRIPPEN         894 PIERMONT AVENUE                                                              PIERMONT               NY           10968
    AEON                                    FERGUSON INDUSTRIAL GASES    PO BOX 508                                                                       FRISCO                 TX           75034
    AERA                                                                 9852 E SEVEN PALMS DR             ATTN NANCY CHALEX                              SCOTTSDALE             AZ           85262
    AERIAL STUNTS WORLDWIDE                 HEADQUARTERS AUSTRIA         SALZBURG AIRPORT HANGAR 7                                                        SALZBURG                            05020        Austria
    AEROWAVE TECHNOLOGIES INC                                            P O BOX 294123                                                                   LEWISVILLE             TX           75029
    AESTHETIC PRESS INC                                                  P O BOX 5306                                                                     NORTH BRANCH           NJ           08876-1303
    AETNA                                                                151 FARMINGTON AVENUE RT 21                                                      HARTFORD               CT           06156
    AETNA FSA                                                            P O BOX 13504                                                                    NEWARK                 NJ           07188-0504

    AETNA LIFE INSURANCE COMPANY                                         PO BOX 13050                                                                     NEWARK                 NJ           07188
    AFCO CREDIT CORPORATION                                              P O BOX 360572                                                                   PITTSBURGH             PA           15250-6572
    Affordable Office Furniture                                          6260 East Colfax Avenue                                                          Denver                 CO           80220

    Afghan Hound Club of Greater Houston c/o Brenda Brody                19 W. Shaker Court                                                               Spring                 TX           77380
    AFJ MEDIA COMMUNICATIONS             AFJ MEDIA                       P O BOX 981612                                                                   PARK CITY              UT           84098
                                                                         SUN BLDG 8F, 5-13-12 GINZA, CHUO-
    AFLO FOTO AGENCY                                                     KU                                                                               TOKYO                               1040061      Japan
    Afognak Native Corporation                                           215 Misison Road, Ste 212                                                        Kodiak                 AK           99615
    Afrene Skerritt                                                      83 Grandview Ave.                 Apt. 2                                         Quincy                 MA           02170
    Africa Inland Mission                                                PO Box 178                                                                       Pearl River            NY           10965-0178
    AFRICANBRAINS LTD                                                    69-85 TABERNACLE STREET                                                          LONDON                              EC2A 4RR     United Kingdom
    AFRO AMERICAN NEWSPAPERS                ATTN JOHN GARTRELL           2519 N CHARLES STREET                                                            BALTIMORE              MD           21218
    AFS PROPERTIES LP                       DBA FAIRFIELD INN & SUITES   11201 N MOPAC EXPWY                                                              AUSTIN                 TX           78759
    AFSOON RAZAVI                                                        P O BOX 847                                                                      NAPA                   CA           94559
                                                                         909 NORTH SEPULVEDA BLVD, STE
    AFTER-SCHOOLS ALL-STARS                                              210                               ATTN RENEE CROCE                               EL SEGUNDO             CA           90245
    AGE FOTOSTOCK AMERICA INC                                            594 BROADWAY SUITE 707                                                           NEW YORK               NY           10012-3257
    AGENCIA LIT. CARMEN BALCELLS                                         HEREDEROS DE MAX AUB                                                             BARCELONA                                        Spain
    AGENCIA LITERARIA CARMEN
    BALCELLS                                DEPT AUTHORIZACIONES         DIAGONAL 580                                                                     BARCELONA                           08021        Spain
    AGENDA USA INC                                                       5290 FOXRIDGE DRIVE                                                              MISSION                KS           66202
    AGENTES Y CONSULTORES INC                                            CALLE COSTA AZUL CH 2                                                            DORADO                 PR           00646
    Agile Educational Marketing                                          1118 Oakhurst Drive                                                              Broomfield             CO           80020
    AGRA-ART SA                                                          UL WILCZA 55/63                                                                  WARSZAWA                            00-679       Poland
    AGS SOFTWARE INC                        DBA GETCONNECT               P O BOX 975006                                                                   DALLAS                 TX           75397-5006
    AGSTOCK USA                                                          25315 ARRIBA DEL MUNDO DR                                                        CARMEL                 CA           93923-8803
    AGUILAR CHILENA DE EDICIONES
    S.A.                                                                 SANTILLANA DE CHILE                                                              PROVIDENCIA SANTIAGO                             Chile
    AGUSTIN A MANGUAL GUMBE                 URB ANTILLANA ENCANTADA      10 PLAZA SANTA CRUZ                                                              TRUJILLO ALTO          PR           00976

    AGUSTIN MANGUAL-AMADOR                                               623 PONCE DE LEON AVE STE 904-B                                                  SAN JUAN               PR           00917
    AHARON KFIR                                                          8 HOHIT STREET                                                                   HAIFA                               32992        Israel
    AHMAD ABDULLATIF AHMAD                  RASHEED AREA - DAHEYET AL
    ALYASIN                                 RASHEED                      KHAWLA BINT THALBA ST BLDG # 71                                                  AMMAN                                            Jordan
    AHMAD NASSIR JUMA                                                    P O BOX 83847                                                                    MOMBASA                                          Kenya
    AHSLEY GRAYSON                                                       1342 18TH STREET                                                                 SAN PEDRO              CA           90732
    AI South Insurance Co.                                               99 High Street                                                                   Boston                 MA           02110-2320
    AIA CHICAGO                             ATTN FRANCINA BERLIN         35 E WACKER DR, STE # 250                                                        CHICAGO                IL           60601
    AICHELE DOUGLAS                                                      1502 WEST LIBERTY AVENUE                                                         STILLWATER             OK           74075
                                                                                                                                                          CHIEN CHENG DIST
    AICHI BOOKS CO LTD                      ATTN BO-MING YANG            NO 235 CHIEN FU STREET                                                           KAOHSIUNG                                        Taiwan
    Aida Grijalva                                                        228 Benham Court                                                                 St. Charles            IL           60174
    AIDA I RODRIGUEZ ROIG                                                PASEO DE LAS FLORES # 32                                                         PUERTO RICO            PR           00754-9662
    AIDA LUZ CARBONELL BURGOS                                            HC-02 BOX 14462                                                                  CAROLINA               PR           00987
    AIDA S PICKERING                                                     P O BOX 1232                                                                     ST THOMAS              VI           00804
    AIDEA INCORPORATED                                                   P O BOX 50825                                                                    INDIANAPOLIS           IN           46250-0825
    AIDELLS BRUCE                                                        618 COVENTRY RD                                                                  KENSINGTON             CA           94707
    Aiken & Aiken, P.C.                     RE 319 Marlborough Street    Paul Aiken                        83 Main Street                                 Hyannis                MA           02601
    Aiken Courier Services                  Kathy Aiken                  5152 E. 116th Avenue                                                             Denver                 CO           80233



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                      6 of 488                                                                                            1:26 PM
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                                                                                                               14 of      519
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                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                        Address2              Address3             City             State       Zip              Country
    Aileen Mason                                                           23 Shelburne Dr.                                                               Asheville             NC           28806
    AILEEN WHEATON                                                         8399 FAIRWAY DRIVE                                                             COLUMBUS              OH           43235
    Aim C Larrabee                                                         1650 West Sherwin               #3b                                            Chicago               IL           60626
                                                                           2200 N YARBROUGH DR STE B PMB #
    AIM RESEARCH                            LINDA ADAMS -AIM RESEARCH      139                                                                            EL PASO               TX           79925
    Aimee Corrigan                                                         2550 Colorado Blvd                                                             Denver                CO           80207
    AIMEE D LLEWELLYN                                                      1016 CRESTWOOD DR                                                              SOUTH SAN FRANCISCO   CA           94080
    AIMEE FIX                                                              20 FAIRFAX STREET, # 1                                                         SOMERVILLE            MA           02144
    AIMEE STRICKLIN                                                        431 ADAMS STREET                                                               NEW ORLEANS           LA           70118
    Aimee Whitten                                                          4 Holts Lane                                                                   Haverhill             MA           01830
    AIMS                                    MICHELE CLARK MIDDLE SCHOOL    5101 W HARRISON STREET                                                         CHICAGO               IL           60644
    AIMS                                                                   510 DEVONSHIRE                                                                 CHAMPAIGN             IL           61820
    Ainsley B. Rose                         Rose Educational Development   3049 Whispering Hills Drive                                                    West Kelowna          BC           V4T-2M9      Canada
    AIR STREAM AIR CONDITIONING
    CORP                                                                   245 NEWTOWN RD STE 305                                                         PLAINVIEW             NY           11803
    AIR TEAM IMAGES                                                        WHITACRE HEATH COLESHILL          47 BIRMINGHAM ROAD                           BIRMINGHAM                         B46 2ET      United Kingdom
    AIRGAS EAST INC                                                        PO BOX 827049                                                                  PHILADELPHIA          PA           19182-7049
    AIRGAS MID AMERICA                                                     PO BOX 802615                                                                  CHICAGO               IL           60680
    AIRGAS NORTH CENTRAL                                                   P O BOX 802588                                                                 CHICAGO               IL           60680-2588
    AIRGAS SOUTHWEST INC                                                   P O BOX 676031                                                                 DALLAS                TX           75267-6031
    AIRGAS USA LLC                                                         P O BOX 532609                                                                 ATLANTA               GA           30353-2609
    AIRPHOTO                                --use 2-1207---                5 BELLITA DR                                                                   PUEBLO                CO           81001
    Airship Printing                                                       901B N. Park Street                                                            Castle Rock           CO           80109
                                            C/O INTERNATIONAL SCHOOL OF
    AISA                                    KENYA                          P O BOX 14103                                                                  NAIROBI                            AFRICA       Kenya
    AISA                                                                   P O BOX 14103                                                                  NAIROBI                            AFRICA       Kenya
                                                                           GRAN VIA DE LES CORTS
    AISA                                                                   CATALANES 147                                                                  BARCELONA                          08014        Spain
    AISA                                                                   DEPARTMENT 25                                                                  WASHINGTON            DC           20055
    AITKEN ALEXANDER ASSOCIATES
    LIMITED                                                                18-21 CAVAYE PLACE                                                             ENGLAND                            SW109PT      United Kingdom
    AITKEN ALEXANDER ASSOCIATES
    LLC                                                                    80 5TH AVENUE SUITE 1101                                                       NEW YORK              NY           10011
    AITKEN ALEXANDER ASSOCIATES
    LTD                                                                    18-21 CAVAYE PL                   ATTN FILIPA VASCONCELOS                      LONDON                             SW10 -9 PT   United Kingdom
    AITKEN ALEXANDER ASSOCIATES
    LTD                                                                    18-21 CAVAYE PLACE                                                             LONDON                             SW10 9PT     United Kingdom
    AJILON                                                                 DEPT CH 14031                                                                  PALATINE              IL           60055
    AJS PREMIER PRINTING                                                   921 CARNEY CT                                                                  ANTIOCH               IL           60002-2461

    AKASH CHITTRANSHI & ASSOCIATES                                         C-6/6282 & C-6/6274 VASANI KUNJ                                                NEW DELHI                          110070       India
    AKG IMAGES                     5 MELBRAY MEWS                          158 HURLINGHAM ROAD                                                            LONDON                             SW6 3NS      United Kingdom
    AKI SOGABE                                                             3319 170TH AVENUE NE                                                           BELLEVUE              WA           98008
    AKIBIA INC                     ATTN LINDA SILVERMAN                    PO BOX 845052                                                                  BOSTON                MA           02284
    AKIDA NAU JOHNSON                                                      244 HYDE PARK AVE, APT 1                                                       JAMAICA PLAIN         MA           02130
    Akin Gump
    Akin Gump Strauss
    AKIN GUMP STRAUSS HAUER &
    FELD LLP                                                               DEPT 7247-6838                                                                 PHILADELPHIA          PA           19170-6838
    AKRONABSE                                                              P O BOX 2853                                                                   AKRON                 OH           44309-2853
    AL ASSOC FOR PUBLIC & CONTING
    ADULT EDU                      ATTN JOE CAVENDER                       1801 COLEMAN ROAD                                                              ANNISTON              AL           36207
    AL BINGHAM                                                             1497 NO. 125 EAST                                                              LAYTON                UT           84101
    AL COLUMBIA                                                            180 GREENRIDGE ROAD                                                            TORRINGTON            CT           06790
                                                                                                                                                          AL RABIE QUARTER
    AL DAWALJ TECHNOLOGY CO                                                11555 KING ABDULAZIZ RD           P O BOX 60632                                RIYADH                                          Saudi Arabia
    AL GIDDINGS IMAGES INC        DBA IMAGES UNLIMITED INC                 75 BRIDGER HOLLOW ROAD                                                         PRAY                  MT           59065
    AL GLOBUS                                                              219 JUNIPERO COURT                                                             CAPITOLA              CA           95010
    AL STANDERWICK                                                         2 WELD GILDER RD                                                               OYSTER BAY            NY           11771-4703
    AL YOUNG                                                               2149 CEDAR STREET                                                              BERKELEY              CA           94709
    ALABAMA ACTE                  ATTN ANN GILMORE                         P O BOX 988                                                                    MONTGOMERY            AL           36101
    ALABAMA ASSOCIATION OF SCHOOL
    BOARDS                                                                 P O BOX 230488                                                                 MONTGOMERY            AL           36123
    ALABAMA ASSOCIATION OF
    SECONDARY SCHOOL              PRINCIPALS                               PO BOX 428                                                                     MONTGOMERY            AL           36101
    ALABAMA COMMUNITY COLLEGE
    ASSOCIATION                                                            1100 9TH AVENUE SW                ATTN REGINA DORIETY                          BESSEMER              AL           35022
                                  SHADES VALLEY COMMUNITY
    ALABAMA COMMUNITY EDU ASSOC EDUCATION                                  6100 OLD LEEDS ROAD                                                            IRONDALE              AL           35210




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      7 of 488                                                                                         1:26 PM
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                                                                                                                      15 of      519
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              CreditorName                            CreditorNoticeName                     Address1                         Address2                          Address3            City            State       Zip            Country
    ALABAMA COUNCIL TEACHERS OF
    MATHS                                   BIRMINGHAM CITY SCHOOLS           2015 PARK PLACE                                                                              BIRMINGHAM          AL           35203
    ALABAMA COUNCIL TEACHERS OF
    MATHS                                   ATTN BEVERLY KIMES                2015 PARK PLACE                                                                              BIRMINGHAM          AL           35203
    Alabama Department of Revenue           Corporate Tax Division            PO Box 327435                                                                                Montgomery          AL           36132-7435
    ALABAMA DEPARTMENT OF
    REVENUE                                 BUSINESS PRIVILEGE TAX SECTION    P O BOX 327320                                                                               MONTGOMERY          AL           36132-7320
                                            INDIVIDUAL & CORP TAX DIV -CORP
    ALABAMA DEPT OF REVENUE                 INC SECT                          P O BOX 327320                                                                               MONTGOMERY          AL           36132-7320
    Alabama Dept of Revenue                 Attn Legal Division               Gordon Persons Bldg              50 N Ripley St Ste 3114                                     Montgomery          AL           36130-1001
    ALABAMA DEPT OF REVENUE                 ADMINISTRATIVE LAW DIVISION       PO BOX 327130                                                                                MONTGOMERY          AL           36132-7130
    ALABAMA DEPT OF REVENUE                                                   P O BOX 327320                                                                               MONTGOMERY          AL           36132-7320

    ALABAMA EDUCATION ASSOCIATION                                             P O BOX 4177                                                                                 MONTGOMERY          AL           36103
    ALABAMA EDUCATIONAL TECH
    ASSOCIATION                                                               1204 MIXON AVENUE                ATTN FRAN PRIDGEON                                          BAY MINETTE         AL           36507
    ALABAMA MISSISSIPPI TEACHERS            TO SPEAKERS OF OTHER
    OF ENGLISH                              LANGUAGES                         1530 3RD AVENUE SOUTH            ATTN JULIA AUSTIN                                           BIRMINGHAM          AL           35294-1150
    ALABAMA SCIENCE TCHRS
    ASSOCIATION                                                               P. O. BOX 302101                 ATTN KAY ATCHISON WARFIELD                                  MONTGOMERY          AL           36130
    Alabama Secretary of State              Corporations Division             PO Box 5616                                                                                  Montgomery          AL           36103-5616
    ALABAMA STATE DEPT OF
    EDUCATION                                                                 50 NORTH RIPLEY STREET           RM 3345, GORDON PERSONS BLDG                                MONTGOMERY          AL           36104-3833
    ALABAMA STATE READING
    ASSOCIATION                             ATTN BETTY NEWMAN                 22800 RIVIERA DRIVE                                                                          ATHENS              AL           35613
    ALABAMA STATE TREASURER                 ROOM S B07 STATE CAPITOL          600 DEXTER AVENUE                                                                            MONTGOMERY          AL           36104
    ALABAMA STATE TREASURER                 ATTN MIKE MORGAN                  600 DEXTER AVENUE                                                                            MONTGOMERY          AL           36104
    ALADDIN
    ALADDIN BOOKS LIMITED                                                     P O BOX 53987                                                                                LONDON                           SW15 2SF     United Kingdom
    ALAFAIR BURKE                                                             7 EAST 14 TH STREET #1206                                                                    NEW YORK            NY           10003
    ALAMO COLLEGES                          ATTN AURORA ALFARO                811 W HOUSTON ST                                                                             SAN ANTONIO         TX           78207
    ALAMOGORDO PUBLIC SCHOOL                                                  P O BOX 650                                                                                  ALAMOGORDO          NM           88310
    ALAMY INC                                                                 SUITE 848, 20 JAY STREET                                                                     BROOKLYN            NY           11201
    ALAMY LIMITED                                                             127 MILTON PARK                                                       ABINGTON               OXFORDSHIRE                      OX14 4SA     United Kingdom
    Alan Andres                                                               22 Warner St. #2                                                                             Somerville          MA           02144
    ALAN B TEASLEY                                                            3411 DIXON ROAD                                                                              DURHAM              NC           27707
    ALAN BANCE                                                                8 OAKMONT AVENUE                                                      HIGHFIELD              Southampton                      SO17 1DR     United Kingdom
    ALAN BRENT RODEN                                                          3724 MATTISON AVE, APT A                                                                     FORT WORTH          TX           76107
    Alan D Cunningham                                                         211 N. Cecil Ave..                                                                           Indianapolis        IN           46219
    ALAN GOTTFRIED                                                            3661 ASPEN VILLAGE WAY APT F                                                                 SANTA ANA           CA           92704
    Alan Harris                                                               524 Ford St                                                                                  West Conshohocken   PA           19428
    Alan Huisman                                                              163 Washington Road                                                                          Rye                 NH           03870
    Alan Hull                                                                 1825 Parker Road S.W.            Apt 715                                                     Conyers             GA           30094
    ALAN KLEHR                                                                5400 S DORCHESTER AVE                                                                        CHICAGO             IL           60615
    ALAN KLEMP                                                                7207 MARYWOOD CIRCLE                                                                         AUSTIN              TX           78723
    Alan M Monchick                                                           55 Sewall Avenue                 #2A                                                         Brookline           MA           02446
    ALAN PATON WILL TRUST                   EWING TRUST COMPANY LTD           MAFAVUKE HOUSE P O BOX 59                                                                    HILLCREST DURBAN                 03650        South Africa
    ALAN PETRASKE                                                             378 STONY HILL RD                                                                            GUILFORD            VT           05301
    ALAN PRENDERGAST                                                          3144 W 22ND AVENUE                                                                           DENVER              CO           80211

    ALAN R HAYAKAWA                                                           931 NORTH FRONT STREET APT 501                                                               HARRISBURG          PA           17102
    ALAN RUBIN                                                                1203 RIVER ROAD APT 3L                                                                       EDGEWATER           NJ           07020
    ALAN RUDT                                                                 65 W 90TH STREET 8F                                                                          NEW YORK            NY           10024
                                            ADMINISTRATOR MAN OF LA
    ALAN S HONIG                            MANCHA                            1501 BROADWAY STE 1313                                                                       NEW YORK            NY           10036
    Alan Security Center, Inc.                                                3828 S. Broadway                                                                             Englewood           CO           80113
    ALANA CASSELL BROYLES                                                     PO BOX 793 3332 SUMMIT DR                                                                    ST PAUL             VA           24283
    AL-AQSA ISLAMIC SOCIETY                 AL-AQSA ISLAMIC ACADEMY           1501 GERMANTOWN AVE                                                                          PHILADELPHIA        PA           19122
                                                                              ONE SHIELDS AVENUE DEPT OF
    ALARCON FRANCISCO             UNIV OF CALIFORNIA                          SPANISH                                                                                      DAVIS               CA           95616
    ALARM DETECTION SYSTEMS INC                                               1111 CHURCH ROAD                                                                             AURORA              IL           60505
    ALASKA COUNCIL OF SCHOOL
    ADMINISTRATORS                                                            326 FOURTH STREET STE 404                                                                    JUNEAU              AK           99801
    ALASKA COUNCIL OF TEACHERS OF
    MATHS                                                                     19944 SECOND STREET              ATTN FRANKIE SHILLINGTON                                    EAGLE RIVER         AK           99577
    Alaska Department of Revenue                                              PO Box 110420                                                                                Juneau              AK           99811-0420
    ALASKA DEPT OF REVENUE        STATE OFFICE BUILDING                       PO BOX 110420                                                                                JUNEAU              AK           99811
    Alaska Dept of Revenue                                                    PO Box 110420                    333 W Willoughby 11th Fl SOB                                Juneau              AK           99811-0400
    ALASKA DEPT OF REVENUE                                                    PO BOX 110420                                                                                JUNEAU              AK           99811
    ALASKA NORTHWEST BOOKS                                                    P O BOX 56118                                                                                PORTLAND            OR           97238-6118



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                         8 of 488                                                                                                    1:26 PM
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                                                                                                                 16 of      519
                                                                                                                         Matrix
                                                                                                                        First Class Service List


              CreditorName                        CreditorNoticeName                     Address1                            Address2                        Address3                    City                 State       Zip             Country
    ALASKA PACIFIC UNIVERSITY               BOOKSTORE                        4101 UNIVERSITY DRIVE                                                                              ANCHORAGE                AK           99508
    ALASKA PHOTO GRAPHICS INC                                                PO BOX 81312                                                                                       FAIRBANKS                AK           99708
    ALASKA PRIVATE & HOME
    EDUCATORS ASSOC                                                          P O BOX 141764                                                                                     ANCHORAGE                AK           99514
    ALASKA SCIENCE TEACHERS
    ASSOCIATION                             ATTN LYNN V WILLIAMS             9253 GEE STREET                                                                                    JUNEAU                   AK           99801
    ALASKA STOCK IMAGES                                                      2505 FAIRBANKS ST                                                                                  ANCHORAGE                AK           99503-2821

    Alaska Stock, R.R. Donnelly & Sons Co.
    ALASKA UNIV SOUTHEAST                                                                                      JUNEAU CAMPUS ACCOUNTS
    BOOKSTORE                                                                11120 GLACIER HIGHWAY             PAYABLE                                                          JUNEAU                   AK           99801
    ALASTAIR OWENS                         QUEEN MARY - UNIV OF LONDON       DEPT OF GEOG - MILE END RD                                                                         LONDON                                E1 4NS       United Kingdom
    ALAYNE ZAHARA                                                            1610 RIVERWOOD DRIVE                                                                               ALGONQUIN                IL           60102
                                           EDUCATIONAL TECHNOLOGY
    ALBANY STATE UNIVERSITY                CENTER                            504 COLLEGE DRIVE                                                     PENDERGRAST LIBRARY RM 120   ALBANY                   GA           31705
    Albert Bachand                                                           33 Carver Rd                                                                                       Framingham               MA           01701
    ALBERT BAIME                                                             680 NORTH LAKE SHORE DR                                               PLAYBOY                      CHICAGO                  IL           60611
    Albert Gualtieri                                                         75 Edward Street                                                                                   Medford                  MA           02155
    Albert J Anderson                                                        52 Richard Rd.                                                                                     Hanson                   MA           02341
    Albert Kingston                                                          400 N CORONADO STREET             APT #1159                                                        CHANDLER                 AZ           85224
    ALBERT MAMARY                                                            3261 CYNTHIA DRIVE                                                                                 BINGHAMTON               NY           13903
    Albert Miller                                                            P.O. Box 782623                                                                                    Wichita                  KS           67278
    Albert Natalini                                                          4536 Woodlands Village Drive                                                                       Orlando                  FL           32835
    ALBERT PAGAN DIANA                     CALLE 8 F-34                      URB TRUJILLO ALTO HEIGHTS                                                                          TOA ALTO                 PR           00953
    ALBERT SID FLEISCHMAN                  DBA SID FLEISCHMAN INC            305 TENTH STREET                                                                                   SANTA MONICA             CA           90402
    Albert Streeper                                                          171 Concord Drive                                                                                  North East               PA           16428

    ALBERT T VASQUEZ                                                         13135 WEST 2ND PLACE, APT D3512                                                                    LAKEWOOD                 CO           80228
    ALBERT TANG                                                              143-41 84TH DRIVE APT 4A                                                                           BRIARWOOD                NY           11435
    Albert Thompson                                                          112 Kingston Park Lane                                                                             Middle River             MD           21220
    Albert V.B. Kelsey                                                       Po Box 313                                                                                         South Freeport           ME           04078
    ALBERT WHITMAN & COMPANY                                                 250 S NORTHWEST HWY, STE 320                                                                       PARK RIDGE               IL           60068
    ALBERT WHITMAN AND COMPANY                                               250 S NORTHWEST HWY STE 320                                                                        PARK RIDGE               IL           60068-4272
    Alberta Finance & Enterprise Dept       Tax and Revenue Administration   Finance Compliance & Collection   9811 109 St                                                      Edmonton                 AB           T5K 2L5      Canada
    ALBERTO GAMARRA                                                          1000 TUPELO WAY                                                                                    WESTON                   FL           33327
    ALBERTO P GARCIA                                                         280 4300 SOUTH PARK DRIVE         SCOTIABANK                                                       STONY PLAIN              AB           T7Z 2W7      Canada
    ALBERTO R PUENTE-ROLON                                                   BOX 1112                                                                                           CIALES                   PR           00638-1112
    ALBERTO RIOS                                                             3500 WEST IRONWOOD DRIVE                                                                           CHANDLER                 AZ           85226
    ALBIN MICHEL EDITIONS                                                    22 RUE HYGHENS                                                                                     PARIS                                 75014        France
    ALBION PRESS LTD                                                         SPRING HILL DBURY                                                                                  OXFORDSHIRE                           OX7 6RU      United Kingdom
    ALBRIGHT COLLEGE                                                         13TH & BERN STREETS                                                                                READING                  PA           19612-5234
    ALBUQUERQUE PUBLIC SCHOOLS              NEW MEXICO FIRST                 P O BOX 56549                                                                                      ALBUQUERQUE              NM           87187
    ALBUQUERQUE PUBLIC SCHOOLS              FOUNDATION                       P O BOX 25704                                                                                      ALBUQUERQUE              NM           87125-0704
    Albuquerque Public Schools              Attn Liz Trujillo/AP             601 4th Street Southwest                                                                           Albuquerque              NM           87102-3840
    Albuquerque Public Schools              Accounts Payable                 PO Box 25704                                                                                       Albuquerque              NM           87125
    Albuquerque Public Schools                                               5700 Hendrix Road NE              Governor Bent Elem. School                                       Albuquerque              NM           87110
    ALBUQUERQUE PUBLIC SCHOOLS                                               P O BOX 25704                                                                                      ALBUQUERQUE              NM           87125-0704
    ALBUQUERQUE PUBLIC SCHOOLS                                               P O BOX 25704                     ATTN ACCOUNTS PAYABLE                                            ALBUQUERQUE              NM           87125
    ALBUQUERQUE PUBLIC SCHOOLS                                               P O BOX 56549                                                                                      ALBUQUERQUE              NM           87187
    Alceste Milbury-Murphy                                                   103 Middle Holly Ln.              Little Egg Harbor Township                                       Tuckerton                NJ           08087
    Alceste Murphy                                                           103 Middle Holly Ln.              Little Egg Harbor Township                                       Tuckerton                NJ           08087
    ALCHEMY INK INC                                                          191 BELOIT AVENUE                 ATTN FONDA SNYDER                                                LOS ANGELES              CA           90049
    ALCORN STEPHEN                                                           112 WEST MAIN STREET                                                                               CAMBRIDGE                NY           12816
    ALDEN PETER C                                                            11 RIVERSIDE AVENUE                                                                                CONCORD                  MA           01742

    ALEJANDRA ALANIZ                        STA CRUZ DEL MONTE               10 NAUCALPAN ESTADO DE MEXICO                                                                                                            53110        Mexico
    ALEJANDRA VALENZUELA GARCIA             URB VILLA CAROLINA               CALLE 512 #16 BLDG 209                                                                             CAROLINA                 PR           00985

    ALEJANDRO A MARTINEZ GONZALEZ                                            COLINAZ DE MONTE CARLOS                                                                            SAN JUAN                 PR
    Alejandro F Leon                                                         3237 North Bolton                                                                                  Indianapolis             IN           46218
                                                                             G-2 POMARROSA ST VALLE ARRIBA
    ALEJANDRO VILLAFANE VILLANUEVA                                           HTS                                                                                                CAROLINA                 PR           00983
    ALEKSA DJILAS                                                            PALMOTICEVA 8                                                                                      BELGRADE                              11000        Serbia & Montenegro
    ALELIA BUNDLES                                                           4109 GARRISON STREET NW                                                                            WASHINGTON               DC           20016
    ALESE O PECHTER                                                          500 EGRET CIRCLE STE 8502                                                                          DELRAY BEACH             FL           33444
    ALESIA M RICHARDS                                                        915 PAYNE ROAD                                                                                     WINCHESTER               VA           22603
    Alesia Tyree                                                             1725 W. Farragut Ave                                                                               Chicago                  IL           60640
    Alessandra Preziosi                                                      849 East Broadway                 #3                                                               South Boston             MA           02127
    ALEX BOESE                                                               4138 MASSACHUSETTS AVE                                                                             LA MESA                  CA           91941
    ALEX CHAMOUN                                                             58 GROSVENOR STREET                                                                                ST KILDA EAST VICTORIA   Victoria     03183        Australia



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                        9 of 488                                                                                                               1:26 PM
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                                                                                                                17 of      519
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                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                     Address2                         Address3              City         State       Zip           Country
    ALEX KALOOSTIAN                                                        40 MIDDLE STREET                                                                        WOBURN             MA           01801
    Alex MacKinnon                                                         93 Rice St                     Apt 2                                                    Cambridge          MA           02140
    ALEX ROSE                                                              111 HICKS STREET APT 4J                                                                 BROOKLYN           NY           11201
    ALEX SINK CAMPAIGN                                                     P O BOX 75590                                                                           TAMPA              FL           33675
    Alexa Dowlen                                                           4306 Quando Drive                                                                       Orlando            FL           32812
    ALEXA SPAHR                                                            6213 SIDNEY DRIVE                                                                       MCKINNEY           TX           75070
    ALEXAIDA PEREZ CORTES                                                  HC 02 BOX 16439                                                                         ARECIBO            PR           00612
    ALEXANDER ADDUCCI                                                      2410 HAMPTON LANE W                                                                     SAFETY HARBOR      FL           34695
    ALEXANDER AUGUSTU MARTINEZ                                             548 BARRIO SEBORUCO                                                                     BARCELONETA        PR           00617
    ALEXANDER J CAMLIN                                                     545 S RIVER ST                                                                          MARSHFIELD         MA           02050-2437
    ALEXANDER KNOX                                                         1510 SE 74TH AVENUE UPPER                                                               PORTLAND           OR           97214
    Alexander Powell                                                       369 Blue Hill Ave.                                                                      Dorchester         MA           02125
                                            DBA LANDSLIDES AERIAL
    ALEXANDER S MACLEAN                     PHOTOGRAPHY                    23 CONANT ROAD                                                                          LINCOLN            MA           01773
    ALEXANDER WILD                                                         516 N FAIR ST                                                                           CHAMPAIGN          IL           61821
    ALEXANDRA BARRETT                                                      11731 STONE HAVEN WAY                                                                   W PALM BEACH       FL           33412
    Alexandra Coleman                                                      1219 Valley Forge                                                                       Charleston         SC           29412
    Alexandra Corona                                                       2906 Stoneway Drive                                                                     Austin             TX           78757
    ALEXANDRA D DIPENTIMA                                                  22 BALD HILL ROAD                                                                       SOUTH KENT         CT           06785

    ALEXANDRA F PIRES-MICHALS               DBA MICHALS CLEANING SERVICES 160 MARKET STREET                                                                        AMESBURY           MA           01913
    ALEXANDRA MARTILLO                                                    15059 SW 143 PLACE                                                                       MIAMI              FL           33186
    Alexandra Mesa                                                        136 Pine Island Circle                                                                   Kissimmee          FL           34743
    ALEXANDRA MILGRAM                                                     2621 PALISADE AVE APT 8B                                                                 RIVERDALE          NY           10463
                                                                          CDLA NUEVA KENNEDY CALLE 4TA
    ALEXANDRA MOLINA MURRIETA                                             116                                                                                      GUAYAQUIL                                    Ecuador
    ALEXANDRA NICKERSON INDEXING
    SERVIC                                                                 656 BRICKYARD ROAD                                                                      COLCHESTER         VT           05446
    ALEXANDRA REDMOND                                                      101D BOSTON ROAD                                                                        CHELMSFORD         MA           01824
    Alexandra Rhetts                                                       235 Bay Road                                                                            Easton             MA           02356
    Alexandra V Redmond                                                    101D Boston Road                                                                        Chelmsford         MA           01824
    ALEXANDRA WORKMAN                                                      5615 MAGNOLIA LANE                                                                      ALEXANDRIA         VA           22311

    ALEXANDRIA SCHOOL BOARD                                                2000 NORTH BEAUREGARD STREET                                                            ALEXANDRIA         VA           22311
    ALEXANDRU MIHAELA                       VALEA MARE-PODGORIA VILLAGE    JUPANITA ANCUTA ST NR 25                                                                STEFANESTI ARGES                117715       Romania
    ALEXIS ALEXANDER                                                       106 ACCOLADE DRIVE                                                                      SAN LEANDRO        CA           94577
    ALEXIS FRANCESCHINI SALGADO                                            URB TERESITA CALLE 9 N-23                                                               BAYAMON            PR           00961
    Alexis Q Robinson                                                      1383 Gates Drive SE                                                                     Atlanta            GA           30316
    ALEXS LEMONADE STAND
    FOUNDATION                                                             333 E LANCASTER AVE                                                                     WYNNEWOOD          PA           19096
    ALFIE KOHN                                                             401 BELMONT STREET                                                                      BELMONT            MA           02478
    Alfonso Merino                                                         8789 Cuyamaca Street                                                                    Corona             CA           92883
    ALFRED A KNOPF INC                      ATTN CHASE MANHATTAN BANK      G P O 5323                                                                              NEW YORK           NY           10087
                                                                                                          ROYALTY AND SUBRIGHTS
    ALFRED A KNOPF INC                      A DIVISION OF RANDOM HOUSE     1745 BROADWAY 3RD FLOOR        ACCOUNTING                         ATTN ANGELA ALESCI    NEW YORK           NY           10019
    Alfred Brennan                                                         400 Fairway View Drive                                                                  Algonquin          IL           60102
    Alfred Mcdougal                                                        20343 Hwy 216                                                                           McCalla            AL           35111

    ALFRED PUBLISHING CO INC                ALFRED MUSIC PUBLISHING CO INC PO BOX 10003                   ATTN TROY SCHRECK                                        VAN NUYS           CA           91410
    ALFRED TATUM                                                           3415 SANBORN LN                                                                         DEKALB             IL           60115
    Alfred Valenzuela                                                      672 Lancaster Drive                                                                     Pingree Grove      IL           60140
    Alfred Welch                                                           5413 Hardings Landing Rd                                                                Council Bluffs     IA           51501
                                                                           VEREDAS DEVELOPMENT ST. 16 #
    ALFREDO MORALES                                                        371                                                                                     GURABO             PR           00778
    Algoma Distruct School Board                                           644 Albert St East                                                                      Sault Ste. Marie   ON           P6A2K7       Canada
    ALGONQUIN BOOKS                                                        225 VARICK STREET                                                                       NEW YORK           NY           10014
    ALGONQUIN CLUB OF BOSTON                                               217 COMMONWEALTH AVENUE                                                                 BOSTON             MA           02116-1704
    Algonquin School                                                       59 Algonquin Road                                                                       Woodstock          ON           N4T1R8       Canada
    Algrenon Tremain Nelson                 c/o Ahead of the Class         17523 Kenton Crossing Lane                                                              Richmond           TX           77407
    ALHAMBRA WATER                                                         PO BOX 660579                                                                           DALLAS             TX           75266-0579
                                                                           OFF ALBERT SCHWEITZER, BOX
    ALI A MAZRUI                                                           6000                           SUNY-BINGHAMTON UNIV                                     BINGHAMTON         NY           13902-6000
    ALI CEM KARAYALCIN                                                     7650 SW 132 STREET                                                                      MIAMI              FL           33156
    Ali Nagib                                                              1211 S Prairie Ave.            Unit 2105                                                Chicago            IL           60605
    ALI R ROOZITALAB                                                       6007 THREE CEDARS LANE                                                                  FREDERICKSBURG     VA           22407
    ALI SMITH PHOTOGRAPHY                                                  30 WATERSIDE PLAZA # 26K                                                                NEW YORK           NY           10010
    ALIA HANNA HABIB                                                       152 LINCOLN PLACE                                                                       BROOKLYN           NY           11217
    Alice Bennett                                                          2699 Armsdale Road                                                                      Jacksonville       FL           32218
    ALICE BETH CARY                                                        29 FERTILEDALE DR                                                                       GROTON             MA           01450
    ALICE DANIELS                                                          2409 GUILFORD ROAD                                                                      ROCKFORD           IL           61107



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                  10 of 488                                                                                               1:26 PM
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                                                                                                                 18 of      519
                                                                                                                         Matrix
                                                                                                                            First Class Service List


                  CreditorName                        CreditorNoticeName                    Address1                             Address2                          Address3                        City           State       Zip               Country
    Alice Elston                                                             2381 Virginia Place N E                                                                                    Atlanta              GA           30305
    Alice Foley                                                              3 Greenbriar Drive                                                                                         North Reading        MA           01864
    Alice Fossell                                                            1208 Glendora Ave                                                                                          Glendora             NJ           08029
    Alice Greiner                                                            6590 S. Vine Street                  Suite 108                                                             Centennial           CO           80121
    ALICE H MORGAN                                                           305 DINKEL AVENUE                                                                                          BRIDGEWATER          VA           22812
    Alice Jean Rand                                                          119 5TH STREET NW                                                                                          EAST GRAND FORKS     MN           56721
    Alice Johnson                                                            47 Hillside Road                                                                                           Watertown            MA           02472
    ALICE KASTEN                                                             131 ALLENWOOD ROAD                                                                                         GREAT NECK           NY           11023
    Alice M Hawkins                                                          1915 Pepper Valley                                                                                         Geneva               IL           60134
    ALICE M KEARNEY SASSO                                                    15 HERITAGE DRIVE                                                                                          STONINGTON           CT           06378
                                                                             1350 AVE OF THE AMERICAS STE
    ALICE MARTELL AGENCY                                                     1205                                                                                                       NEW YORK             NY           10019
                                                                                                                  C/OJESSICA ALMON - WILLIAM
    ALICE MUNRO                                                              1325 AVE OF THE AMERICAS             MORRIS AGNCY                                                          NEW YORK             NY           10019
    ALICE PROVENSEN                                                          2316 VIA CLAVEL                                                                                            SAN CLEMENTE         CA           92673
    ALICE R ABBOTT                                                           PO BOX 3786                                                                                                WEST LAFAYETTE       IN           47996
    ALICE SCHERTLE                                                           34 HALLOCKVILLE ROAD                                                                                       PLAINFIELD           MA           01070
    Alice Sullo                                                              69 Walker St                                                                                               Cambridge            MA           02138
    Alice Wells                                                              7532 North 31st Ave.                                                                                       Phoenix              AZ           85051
    ALICIA ALEMAN                                                            128 TENNESSEE AVE NE UNIT B                                                                                WASHINGTON           DC           20002
    ALICIA BURTON                                                            2302 LOMBARD ST                                                                                            PHILADELPHIA         PA           19146
    Alicia C Quechol                                                         485 Lewis Rd                                                                                               Geneva               IL           60134

    ALICIA CASTILLO ORTIZ                                                    274 GEORGETOWN UNIV GARDENS                                                                                SAN JUAN             PR           00927
    Alicia L Fontaine                                                        23 Merrifield Ave                                                                                          Watertown            MA           02472
    Alicia M DiPiero                                                         7111 Dallas Dr                                                                                             Austin               TX           78729
    ALICIA MONIQUE MERCER                                                    103 MAGNOLIA CIRCLE                                                                                        JONESBORO            GA           30236
    ALICIA S MONTANEZ GARCIA                                                 P O BOX 10058 PLAZA CAROL                                                                                  CAROLINA             PR           00988
    ALICIA S. V. MARSHALL                                                    612 MULFORD STREET APT 401                                                                                 EVANSTON             IL           60202
    Alicia Tremblay                                                          164 North Street                                                                                           North Reading        MA           01864
    ALICKA PISTEK LIT AGCY                                                   302A W 12TH ST 124                                                                                         NEW YORK             NY           10014
    ALIEF INDEPENDENT SCHOOL
    DISTRICT                                                                 P O BOX 68                                                                                                 ALIEF                TX           77411
    ALINE CRUMB                                                              20 RUE DU PONT VIEUX                                                                                       SAUVE                             30610        France
    Alisa M Hollinger                                                        2010 W Hyde Dr                                                                                             Deltona              FL           32728
    ALISON BECHDEL INK INC                                                   P O BOX 215                                                                                                JONESVILLE           VT           05466
    ALISON BLANK                                                             99 MAPLEWOOD AVE                                                                                           MAPLEWOOD AVE        NJ           07040
    ALISON BROOKS                                                            810 E STREET SE                                                                                            WASHINGTON           DC           20003
    ALISON BURACZENSKI                                                       5 SLADES FARME                                                                                             DARTMOUTH            MA           02748
    ALISON DAVIS                                                             213 MEADOWBROOK                                                                                            HINSDALE             IL           60521
    Alison F Cronin                                                          417 West Fourth Street               Apt. #1                                                               Boston               MA           02127
    ALISON J WOHLMAN                                                         882 BROCKTON AVENUE                                                                                        ABINGTON             MA           02351
    ALISON JUNE BRUSCH                                                       649 SACKMAN STREET                                                                                         BROOKLYN             NY           11212
    ALISON KERR MILLER                                                       539 HAVERHILL STREET                                                                                       ROWLEY               MA           01969
    Alison Klassen                                                           9603 Southward Cove                                                                                        Austin               TX           78733
    Alison M Hinchey                                                         5 E. Cedar Street                                                                                          Arlington Heights    IL           60005
    Alison M McEmber                                                         701 Sedgwick Drive                                                                                         Libertyville         IL           60048
    ALISON MARIE LANDREAU                                                    2812 NUECES ST, APT 211                                                                                    AUSTIN               TX           78705
    ALISON MORGAN                                                            2638 WILLIAMS STREET                                                                                       DENVER               CO           80205
    ALISON OSBORNE                                                           26 SYDNEY STREET                                                                                           TAKAPUNA -AUCKLAND   Auckland                  New Zealand
    ALISON PAUL                                                              1 THERESA CT                                                                                               PROVIDENCE           RI           02909
    ALISON PORCELLI                                                          71 THE FARMS RD                                                                                            BEDFORD              NY           10506-1415
    Alison R Lao                                                             4600 Mueller Blvd                    3003                                                                  Austin               TX           78723
    ALISON W SACKETT                                                         335 SUMMIT AVE                                                                                             SAN RAFAEL           CA           94901
    ALISON WARRINER                                                          2177 MANZANITA DRIVE                                                                                       OAKLAND              CA           94611
    Alison Wohlman                                                           882 Brockton Ave                                                                                           Abington             MA           02351
    Alison Zetterquist                                                       49 Willis Road                                                                                             Sudbury              MA           01776
    Alissa Rutledge                                                          900 SOUTH STONE AVENUE                                                                                     La Grange            IL           60525
    ALISTAIR IAN BLYTH                      STR VALERIU BRANISTE NR 54-56    BL D 1 SC D ET 4 AP 149 SECTOR 3                                                                           BUCHAREST                         30717        Romania

    ALISTAIR IAN BLYTH                                                       BL D1, SC D, ET 4, AP 149 SECTOR 3                                        STR VALERIU BRANISTE NR, 54-56   BUCHAREST                         30717        Romania
    ALIX NINI DIANA                                                          44 MALCOLM ROAD                                                                                            JAMAICA PLAIN        MA           02130
    ALIZ SOTOMAYOR BONILLA                  VILLAS DE SAN AGUSTIN            CALLE 10 P-10                                                                                              BAYAMON              PR           00959
    ALJ Capital Management, LLC- FM
    ALL ABOUT EDUCATION LLC                                                  15 WEST 2ND AVENUE                                                                                         LEXINGTON            NC           27292
    ALL AMERICA PHILLIPS FLOWER             DBA PHILLIPS INTERIOR PLANTS &
    SHOP INC                                DISPLAYS                         529 N GRANT STREET                                                                                         WESTMONT             IL           60559
    ALL LINE INC                                                             31 W310 91ST ST                                                                                            NAPERVILLE           IL           60564

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In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                            11 of 488                                                                                                                1:26 PM
                                                      12-12171-reg          Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                  19 of      519
                                                                                                                          Matrix
                                                                                                                       First Class Service List


                  CreditorName                       CreditorNoticeName                Address1                             Address2                         Address3                      City             State       Zip               Country
    All Pro Portrait Studios                Harold Porter                 2146 South Yukon Street                                                                             Denver                  CO            80227
    ALL SAINTS EPISCOPAL SCH OF
    FORT WORTH                                                            9700 SAINTS CIRCLE                                                                                  FORT WORTH              TX            76108
    ALL WAYS STORAGE                                                      15402 KOLLMEYER DR                                                                                  LAKEWAY                 TX            78734
    ALLAMAR ASSOCIATES                                                    25711 HAMILTON POOL RD                                                                              ROUND MOUNTAIN          TX            78663
    ALLAN HANCOCK COLLEGE
    AUXILIARY                               PROGRAMS CORP                 801 SOUTH COLLEGE DRIVE                                                                             SANTA MARIA             CA            93454
    Allan Van Dyke                                                        69 Claremont Avenue                                                                                 Bloomfield              NJ            07003
    ALLARD HARRY G JR                                                     APARTADO POSTAL 454                                                                                 OAXACA                                68000        Mexico
    ALLEGANY COUNTY BOARD OF
    EDUCATION                                                             108 WASHINGTON ST                                                                                   CUMBERLAND              MD            21502
    ALLEGHENY COLLEGE                       ATTN ACCOUNTS PAYABLE         BOX W 520 NORTH MAIN ST                                                                             MEADVILLE               PA            16335
    ALLEGHENY CONTRACT FLOORING
    INC                                                                   36 HOLTON STREET                                                                                    WINCHESTER              MA            01890
    ALLEGRA K BOVERMAN                                                    49 WHEELER ROAD                                                                                     HOLLIS                  NH            03049
    ALLEMANDS ELEM SCHOOL                                                 1471 WPA ROAD                                                                                       DES ALLEMANDS           LA            70030

    ALLEN & UNWIN AUSTRALIA PTY LTD                                       9 ATCHISON STREET                                                                                   ST LEONARDS             NSW           02065        Australia
    ALLEN AND UNWIN                 C/O NATIONAL AUSTRALIA BANK           32 WILLOUGHBY RD                                                                                    CROWS NEST              NSW           02068        Australia
    ALLEN ANN J                                                           7559 GIBRALTER STREET # 11                                                                          CARLSBAD                CA            92009
    ALLEN ANNA M                                                          1557 FARLAND STREET                                                                                 COVINA                  CA            91724
    ALLEN ARBITRAGE
    ALLEN ASSOCIATES                                                      283 WOODLAWN AVE                                                                                    ST JAMES                NY            11780
    Allen Doolittle                                                       6503 Rowland Rd.                                                                                    Huntley                 IL            60142
    Allen Dyer Doppelt
    ALLEN DYER DOPPELT MILBRATH &
    GILCHRIST                                                             255 S ORANGE AVE SUITE 1401                                                                         ORLANDO                 FL            32802-3791
    ALLEN ELISE                                                           6212 VAN NOORD AVENUE                                                                               VALLEY GLEN             CA            91401
    Allen Investment Management
    ALLEN ISAACMAN                                                        267 19TH AVE SOUTH                   UNIV MN HIST DEPT                  214 SOCIAL SCIENCES TOWER   MINNEAPOLIS             MN            55455
    ALLEN JANET                                                           PO BOX 1287                                                                                         SANIBEL                 FL            33957
    Allen Large                                                           2639 186Th Avenue Ne                                                                                Redmond                 WA            98052
    ALLEN MANDELBAUM                                                      41 RUE PAUL-LEBOUCHER                                                                               CORMEILLES-EN-PARISIS                 95240        France
    ALLEN MANDELBAUM                                                      1021 PASCHAL DR                                                                                     WINSTON SALEM           NC            27106
    ALLEN MAXWELL & SILVER INC                                            190 SYLVAN AVENUE                                                                                   ENGLEWOOD CLIFFS        NJ            07632
    ALLEN PARISH SCHOOL BOARD       SALES & USE TAX REPORT                PO DRAWER 190                                                                                       OBERLIN                 LA            70655
    ALLEN SAY                                                             4748 NE ALAMEDA STREET                                                                              PORTLAND                OR            97213
    ALLEN WEBB                                                            84 ECHO HILLS DRIVE                                                                                 KALAMAZOO               MI            49009
    ALLENE M WHITE                                                        P O BOX 1540                                                                                        BLUE HILL               ME            04616
    ALLERTON STEELE                                                       557 LEXINGTON AVENUE                                                                                EL CERRITO              CA            94530
    ALLIANCE FOR CHILDREN AND
    FAMILIES                                                              11700 WEST LAKE PARK DRIVE           PERMISSIONS                                                    MILWAUKEE               WI            53224-3099
    ALLIANCE FOR EXCELLENT                                                1201 CONNECTICUT AVE NW STE
    EDUCATION                                                             901                                                                                                 WASHINGTON              DC            20036
    ALLIANCE SALES & MARKETING                                            24812 LOS ALTOS DR                                                                                  VALENCIA                CA            91355
    AllianceBernstein, L.P. (U.S.)  Petter Stensland                      1345 Ave. of the Americas                                                                           New York                NY            10105
    ALLIANT ENERGY CENTER                                                 PO BOX 3066                                                                                         CEDAR RAPIDS            IA            52406
    ALLIED INDUSTRIAL EQUIPMENT                                           9388 DIELMAN INDUSTRIAL DRIVE                                                                       ST LOUIS                MO            63132
    ALLIED VAUGHN                                                         PO BOX 19438                                                                                        MINNEAPOLIS             MN            55440-9438
    ALLIED WASTE SERVICES                                                 PO BOX 9001099                                                                                      LOUISVILLE              KY            40290
    ALLIED WASTE SERVICES                                                 P O BOX 9001154                                                                                     LOUISVILLE              KY            40290
    Allied World National Assurance
    Company                                                               1690 New Britain Avenue, Suite 101                                                                  Farmington              CT            06032
    Allied World National Insurance
    Company
    ALLIEDBARTON SECURITY
    SERVICES LLC                                                          PO BOX 828854                                                                                       PHILADELPHIA            PA            19182
    Allison Alliance, Inc.                                                63 Crescent Ave                                                                                     Sausalito               CA            94965
    Allison Gosney                                                        801 Norwalk                                                                                         Austin                  TX            78703
    ALLISON HAHN                                                          412 S HART ST                                                                                       PALATINE                IL            60067
    Allison M Lambert                                                     139 Park Street                      #4                                                             Portland                ME            04101
    Allison Martin                                                        2920 Rolling Broak Drive                                                                            Orlando                 FL            32837
    ALLISON MARY RIVENBACK                                                825 DEVENISH LANE                                                                                   ROSWELL                 GA            30075
    Allison Rappaport                                                     1440 Beacon St                       Apt # 201                                                      Brookline               MA            02446
    Allison Simpson                                                       105 S. St. Louis                                                                                    Chicago                 IL            60624
    Allison W. Schumacher                                                 6561 4th Ave NE #103                                                                                Seattle                 WA            98115
    ALLMOND PRINTING COMAPNY INC                                          PO BOX 162                                                                                          ABERDEEN                MS            39730
    ALLOFS PHOTOGRAPHY                                                    P O BOX 31793                                                                                       WHITEHORSE              YT            Y1A 6L3      Canada
    ALLOY ENTERTAINMENT                                                   151 WEST 26TH ST 11TH FLR                                                                           NEW YORK                NY            10001




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                       12 of 488                                                                                                               1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                20 of      519
                                                                                                                        Matrix
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                             Address2                          Address3               City           State       Zip               Country

    ALLOY MEDIA & MARKETING                                                14878 COLLECTIONS CENTER DRIVE                                                                CHICAGO            IL              60693
    ALL-STAR CAB DISPATCH INC                                              P O BOX 7267                                                                                  ALGONQUIN          IL              60102-7267
    ALLTEL                                                                 PO Box 94255                                                                                  Palatine           IL              60094-4255
    ALLUCRA FINE ARTS LLC                                                  13908 3/4 VENTURA BLVD                                                                        SHERMAN OAKS       CA              91423
    ALLYN & BACON                           USE 1-2140                     75 ARLINGTON ST STE 300                                                                       BOSTON             MA              02116
    ALLYSON CRAWLEY WHITE                                                  204 WING TIP COURT SW                                                                         LEESBURG           VA              20175
    ALLYSON E PELTIER                       DBA AMBITIOUS ENTERPRISES      12 BRIGHTSIDE AVENUE                                                                          PIKESVILLE         MD              21203
    A-L-M INC                                                              7208A WEIL AVENUE                                                                             ST LOUIS           MO              63119
                                                                           CALLE SUR 8158 URB LOS
    ALMA ACOSTA CARTAGENA                                                  MAESTROS                                                                                      PONCE              PR              00718-0259
    ALMA FLOR ADA                                                          65 MT TENAYA DR                                                                               SAN RAFAEL         CA              94903
    ALMA GUILLERMOPRIETO                                                   133 EAST 35TH STREET           C/O WATKINS/LOOMS AGENCY                                       NEW YORK           NY              10016
    Alma Mckenna                                                           4845 WEST SHANGRA LA ROAD                                                                     GLENDALE           AZ              85304
    Alma Vazquez                                                           3310 Ingersoll                                                                                Dallas             TX              75212
    Aloft Broomfield Denver                                                8300 Arista Place                                                                             Broomfield         CO              80021
    Alpen Locksmith, Inc.                                                  3828 South Broadway                                                                           Englewood          CO              80113
    ALPHA ENTERPRISES INC                                                  8 WOODLAND HEIGHTS                                                                            IOWA CITY          IA              52240-9136
    ALPHA EPSILON BOULE EDUCATION
    FOUNDTN                                                                P O BOX 152513                                                                                DALLAS             TX              75315
                                  C/O MAE C JEMISON SCHOLARSHIP
    ALPHA KAPPA ALPHA EDUCATIONAL AWARD                                    5656 SOUTH STONEY ISLAND AVE                                                                  CHICAGO            IL              60637

    ALPHA KAPPA ALPHA EDUCATIONAL ADVANCEMENT FOUNDATION INC               5656 SOUTH STONEY ISLAND AVE                                                                  CHICAGO            IL              60637
    ALPHABUZZ INC                                                          645 OAK HILL DRIVE                                                                            SOUTHLAKE          TX              76092
    ALPHAGRAPHICS                                                          2740 E MAIN STREET                                                                            ST CHARLES         IL              60174
    ALPINE LLC                                                             101 SOCIETY DR                                                                                TELLURIDE          CO              81435
    ALSINTER LTDA                                                          CARRERA 45 NO 5A-87                                                                           BOGOTA                                          Colombia
    ALTER DAISY EDMONDSON                                                  154 SLOCUM CRESCENT                                                                           FOREST HILLS       NY              11375
    ALTER JUDITH B                                                         8117 CROYDON AVENUE                                                                           LOS ANGELES        CA              90045
    ALTIS AVANTE CORPORATION                                               930 FOREST AVE                                                                                DEERFIELD          IL              60015
    ALTITUDES- ANYWAY             DOMAINE DE LONGCHAMP                     CARREFOUR DE LONGCHAMP                                                                        PARIS              Paris           75116        France
    ALTON SCHOOL DEPARTMENT       ALTON ELEMENTARY SCHOOL                  22 ARGYLE ROAD                                                                                OLD TOWN           ME              04468

    ALTOVA INC                                                             900 CUMMINGS CENTER SUITE 314 T                                                               BEVERLY            MA              01915
    ALTURA COMMUNICATIONS LLC                                              P O BOX 73452                                                                                 CHICAGO            IL              60673-7452
    ALVERMANN DONNA E                                                      430 GRAN ELLEN                                                                                ATHENS             GA              30606
                                                                           3401 S 43RD STREET P O BOX
    ALVERNO COLLEGE                                                        343922                                                                                        MILWAUKEE          WI              53234
    ALVIN AILEY DANCE FOUNDATION
    INC                                                                    405 WEST 55TH STREET                                                                          NEW YORK           NY              10019-4402
    Alvin Albano                                                           57 Carmel Avenue                                                                              Daly City          CA              94015
    ALVIN GRANOWSKY                                                        6924 DESCO DRIVE                                                                              DALLAS             TX              75225
    ALVIN INDEPENDENT SCHOOL
    DISTRICT                                ATTN CHERYL RYAN               301 EAST HOUSE STREET                                                                         ALVIN              TX              77511
    ALVIN KRAVITZ                                                          14 LAKERIDGE DR                                                                               HUNTINGTON         NY              11743
    ALXEANDER GONZALEZ                                                     811 WEST ADALEE ST                                                                            TAMPA              FL              33603
    ALYCE HUNTER                                                           413 DERVIN LANE                                                                               GLEN GARDNER       NJ              08826
    ALYSON BOOKS                                                           245 WEST 17TH STREET STE 1200                                                                 NEW YORK           NY              10011
    ALYSON MOON                                                            8108 LEE JACKSON CIRCLE                                                                       SPOTSYLVANIA       VA              22553
    Alyssa A Halverson                                                     149 Marked Tree Road                                                                          Needham            MA              02492
    Alyssa Brown                                                           15213 Larch Avenue                                                                            Lawndale           CA              90260
    ALYSSA PERNA                                                           2757 S GLEBE ROAD #310                                                                        ARLINGTON          VA              22206
    Alzheimers Assn of Colorado                                            455 Sherman Street                                                     Suite 500              Denver             CO              80203
    AM HEATH AND COMPANY LTD                                               6 WARWICK COURT                   ATTN VICKIE DILLON                                          LONDON                             WC1R 5DJ     United Kingdom
    AM HEATH AND COMPANY LTD                                               6 WARWICK COURT                                                                               LONDON                             WC1R 5DJ     United Kingdom
    Amabilia Torres                                                        1367 Beechwood Dr.                                                                            Lewisville         TX              75067
    Amalia Colon De Santana                                                Encantada Rw 59                   Box 159                                                     Trujillo Alto      PR              00976
    AMALTO TECHNOLOGIES
    CORPORATION                                                            4545 POST OAK PLACE STE 310                                                                   HOUSTON            TX              77027
    AMANA PUBLICATIONS                      AMANA CORP                     10710 TUCKER STREET                                                                           BELTSVILLE         MD              20705
    AMANAIMAGES.COM                                                        2-2-43 HIGASHI SHINAGAWA                                                                      TOKYO                                           Japan
    AMANDA A VILLAGOMEZ                                                    1742 PENNINGTON DR                                                                            ONTARIO            OR              97914
    Amanda Ayotte                                                          19 Holt Street                                                                                North Chelmsford   MA              01863
    AMANDA BLACK                                                           377 COUNTY LAKE RD                                                                            SULLINGENT         AL              35586
    AMANDA CHILDRESS                                                       4100 MORRISS ROAD #328                                                                        FLOWER MOUND       TX              75028
    Amanda D Connor                                                        101 Spring St.                    2                                                           Cambridge          MA              02141
    AMANDA EGGERS                                                          1337 MONROE STREET NE                                                                         MINNEAPOLIS        MN              55413
    AMANDA HARTMAN                                                         41-41 41ST STREET #50                                                                         SUNNYSIDE          NY              11104
    AMANDA HONG                                                            4W 105TH STREET # 4E                                                                          NEW YORK           NY              10025



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       13 of 488                                                                                                       1:26 PM
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                                                                                                                21 of      519
                                                                                                                        Matrix
                                                                                                                       First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                          Address2                           Address3              City        State       Zip            Country
    Amanda Johnson                                                         1003 Stillhouse Spring                                                                         Round Rock        TX           78681
    AMANDA KAY MARIE OLSON                  DBA REGISTRATION FOR YOU       P O BOX 233                                                                                    PISMO BEACH       CA           93448
    Amanda L Dagney                                                        1938 Griffins Green Drive                                                                      Bartow            FL           33830
    Amanda L Estes                                                         22 Judith Lane                    Apt. 1                                                       Waltham           MA           02452
    Amanda L Fjerstad                                                      120 Hoover Ave                                                                                 Waukesha          WI           53186
    AMANDA M ADAMS                                                         1982 FOUNDERS CIRCLE                                                                           KIMBERLY          AL           35091
    AMANDA PRIVE                                                           4211 HARRISBURG ST NE                                                                          ST PETERSBURG     FL           33703
    Amanda Seldera                                                         303 S DONALD AVE                                                                               ARLINGTON HTS     IL           60004
    Amanda SubbaRao                                                        2038 Highland Ave.                                                                             Wilmette          IL           60091
    Amanda Wheeler                                                         1825 N. Park Dr.                                                                               Mount Prospect    IL           60056
    Amanda Zoglio                                                          87 Winchester Street              Apt. 5                                                       Brookline         MA           02446

    AMARILIS FIGUEROA ROSARIO                                              REPARTO RIVERA C# 7 CALLE DIANA                                                                BAYAMON           PR           00959
    AMARILLO COLLEGE BOOKSTORE              ATTN DENNIS LESLIE             P.O. BOX 447                                                                                   AMARILLO          TX           79178
    Amato, John
    AMAURY SAMALOT-RIVERA                                                  2135 CARR #2 STE 15 PMB 232                                                                    BAYAMON           PR           00959
    AMAYA SALAZAR                                                          AVE BOLIVAR 822 LA ESPERILLA                                                                   SANTO DOMINGO                               Dominican Republic
    AMAZEMENT SQUARE                                                       27 NINTH STREET                                                                                LYNCHBURG         VA           24504
    Amazing Promotions                                                     1453 W. Berwyn Avenue                                                                          CHICAGO           IL           60640
    AMAZON E BOOKS ACCT
    AMAZON WEB SERVICES LLC                                                P O BOX 84023                                                                                  SEATTLE           WA           98124-8423
    AMAZON.COM
    AMAZON.COM INC                          AMAZON FULFILLMENT SERVICES    P O BOX 84394                                                                                  SEATTLE           WA           98124-5694
    AMAZON.COM LLC                                                         P O BOX 81207                                                                                  SEATTLE           WA           98108
    AMB PROPERTY CORPORATION                PROLOGIS LP                    PO BOX 846255                                                                                  DALLAS            TX           75284-6255
    AMB Property L.P. (Orlando)             RE 7584 Presidents Drive       Christos Kombouras                Sixty State Street                   Suite 1200              Boston            MA           02109
    Amber A Gabrielle                                                      42 John Neil Drive                                                                             Norwell           MA           02061
    Amber Allen                                                            2785 Prairie Avenue                                                                            Evanston          IL           60201
    AMBER CHRISTINE MORRIS                                                 22 PINE BROOK ROAD                                                                             BOULDER           CO           80304
    Amber Davis                                                            26813 Grommon Way                                                                              Canyon Country    CA           91351
    AMBER FUNDERBURGH                                                      401 LITTLE TEXAS LANE # 134                                                                    AUSTIN            TX           78745
    Amber Hoffman                                                          1286 Talley Loop                                                                               Buda              TX           78610
    Amber J Atkins                                                         1748 Ohlen Road                   Unit 98                                                      Austin            TX           78757
    AMBER JULIA COOLEY                                                     6916 PLAYPARK TRL W                                                                            JACKSONVILLE      FL           32244
    Amber K Armstrong                                                      798 Portsmouth Ave                                                                             Greenland         NH           03840
    AMBER L SWEIGART                                                       272 ALEXANDRA DR, # 16                                                                         MOUNT PLEASANT    SC           29464
    AMBER RAYNOR                                                           14591 RIVER PLANTATION CT                                                                      BILOXI            MS           39532
    Amber Rigney                                                           215 Tulip Trail Bend                                                                           Cedar Park        TX           78613
    AMBERDAWN MOORE                                                        1103 BLUEBIRD LN                                                                               TAHLEQUAH         OK           74464
    AMBIENT IMAGES INC                                                     4550 OVERLAND AVENUE # 227                                                                     CULVER CITY       CA           90230
    AMBIENT INSIGHT LLC                                                    20402 181ST PLACE SE                                                                           MONROE            WA           98272
    AMBIUS INC (38)                                                        P O BOX 95409                                                                                  PALATINE          IL           60095-0409
    AMBRIDGE PARTNERS                                                      520 EIGHTH AVE, 25TH FL                                                                        NEW YORK          NY           10018
    AMC CARD PROCESSING SERVICES
    INC                                                                    13731 COLLECTIONS CENTER DRIVE                                                                 CHICAGO           IL           60693-0137
    AMC DELANCEY HMA NAPERVILLE
    PARTNERS LP                             HOLIDAY INN SELECT             1801 N NAPER BLVD                                                                              NAPERVILLE        IL           60563
    AMC Theatres                            Attn Steve Carroll             1036 W. Centennial Blvd                                                                        Highlands Ranch   CO           80129
    AMELIA BELL STEGALL                                                    2707 COLE AVENUE # 738                                                                         DALLAS            TX           75204
    Amelia Cason                                                           220 Water Street                  #208                                                         Brooklyn          NY           11201
    AMELIA KAHANEY                                                         331 16TH STREET                                                                                BROOKLYN          NY           11215
    Amelia V Hyatt                                                         5470 N Drexel Ave                                                                              Indianapolis      IN           46220
    AMELIE FERRO                                                           6925 SW 72ND COURT                                                                             MIAMI             FL           33143
                                            LAS CUMBRES EDIFICIO BISCAYA
    AMELINA MONTENEGRO                      GARDENS                        DEPT 503 A                                                                                     GUAYAQUIL                                   Ecuador
    AMERIC DISC USA-MINNESOTA INC           DBA DERING DIRECT              39993 TREASURY CENTER                                                                          CHICAGO           IL           60694-9900
    AMERICA ONLINE INC                      ATTN BILLING SERVICES          P O BOX 10810                                                                                  HERNDON           VA           20172-7022
    AMERICA ONLINE INC                      AOL PAYMENT SERVICES           P O BOX 10810                                                                                  HERNDON           VA           20172-7022
    AMERICAN ACADEMY OF COMP
    TRAIN TECH INC                                                         PO BOX 1277                                                                                    CRYSTAL LAKE      IL           60039-1277
    AMERICAN ALLIANCE FOR HEALTH
    PHY EDUC                                RECREATION & DANCE - NASPE     1900 ASSOCIATION DRIVE                                                                         RESTON            VA           20191
    AMERICAN ALLIANCE FOR HEALTH
    PHYSICAL                                EDUC RECREATION & DANCE        1900 ASSOCIATION DR                                                                            RESTON            VA           20191
    AMERICAN ANTHROPOLOGICAL
    ASSN                                                                   2200 WILSON BLVD # 600                                                                         ARLINGTON         VA           22201

    AMERICAN ANTIQUARIAN SOCIETY            ATTN ELLEN S DUNLAP, PRESIDENT 185 SALISBURY ST                                                                               WORCESTER         MA           01609
    AMERICAN ANTIQUARIAN SOCIETY                                           185 SALISBURY STREET                                                                           WORCESTER         MA           01609
    AMERICAN ARBITRATION ASSN                                              6795 NORTH PALM AVENUE                                                                         FRESNO            CA           93704



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                       14 of 488                                                                                                 1:26 PM
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                                                                                                                     22 of      519
                                                                                                                             Matrix
                                                                                                                       First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                          Address2              Address3           City            State       Zip              Country
    AMERICAN ARTIST REP INC                                                    1889 PALMER AVENUE PH                                                         LARCHMONT          NY           10538
    AMERICAN ASSN OF SCHOOL
    ADMINISTRS INC                          DBA AASA                           801 NORTH QUINCY ST STE 700                                                   ARLINGTON          VA           22203
    American Assoc of School Admin          Attn George Karamihas              1615 Duke Street                                                              Alexandria         VA           22314
    AMERICAN BAR ASSOCIATION                                                   P O BOX 4745                                                                  CAROL STREAM       IL           60197-4745
    AMERICAN BIRDING ASSOCIATION                                               4945 N 30TH STREET SUITE 200                                                  COLORADO SPRINGS   CO           80919
    AMERICAN BOOKSELLERS
    ASSOCIATION                                                                200 WHITE PLAINS RD                                                           TARRYTOWN          NY           10591
    AMERICAN BOOKSELLERS
    ASSOCIATION                                                                828 SOUTH BROADWAY                                                            TARRYTOWN          NY           10591-6600
    AMERICAN BUREAU OF
    COLLECTIONS INC                         DBA ABC AMEGA INC                  1100 MAIN STREET                                                              BUFFALO            NY           14209
                                            AMERICAN SOLUTIONS FOR
    AMERICAN BUSINESS FORMS INC             BUSINESS                           NW# 7794 POBOX 1450                                                           MINNEAPOLIS        MN           55485-7794
    American Cancer Society                 Attn SSBC Batch Department         PO box 22718                                                                  Oklahoma City      OK           73123-1718
    AMERICAN CANCER SOCIETY INC                                                250 WILLIAMS STREET                                                           ATLANTA            GA           30303
    AMERICAN CLEANING CO INC                                                   P O BOX 390702                                                                CAMBRIDGE          MA           02139

    AMERICAN COFFEE CO INC                                                     7609 ENERGY PARKWAY, STE 1001                                                 BALTIMORE          MD           21226
    AMERICAN CONTINENTAL GROUP
    INC                                                                        900 19TH ST NW STE 800                                                        WASHINGTON         DC           20006

    AMERICAN COUNCIL ON EDUCATION                                              DEPARTMENT 36                                                                 WASHINGTON         DC           20055

    AMERICAN COUNCIL ON EDUCATION                                              P O BOX 418762                                                                BOSTON             MA           02241-8762
    AMERICAN COUNCIL ON THE
    TEACHING                      OF FOREIGN LANGUAGES                         P O BOX 34949                                                                 ALEXANDRIA         VA           22334-0949
                                                                               P O BOX 613, 59 MAPLE GROVE
    AMERICAN DOCUMENTARIES INC                                                 ROAD                                                                          WALPOLE            NH           03608

    AMERICAN ENTERPRISES INSTITUTE                                             1150 17TH STREET N.W.                                                         WASHINGTON         DC           20036-4603
    American Express                        Donna Janeczko                     P.O. Box 410406                                                               Salt lake City     UT           84141
    AMERICAN EXPRESS                                                           PO BOX 410406                                                                 SALT LAKE CITY     UT           84141
    American Express                                                           PO Box 650448                                                                 Dallas             TX           75265-0448
    AMERICAN EXPRESS COMPANY                CASHIER OPERATIONS                 P O BOX 27234                                                                 SALT LAKE CITY     UT           84127-0234
    AMERICAN EXPRESS INCENTIVE
    SERVICES                                                                   PO BOX 31556                                                                  SALT LAKE CITY     UT           84119
    AMERICAN FIRE COMPANY                                                      PO BOX 520218                                                                 LONGWOOD           FL           32752
    AMERICAN FIRE PREVENTION LLC                                               1166 HOWELL CREEK                                                             WINTER SPRINGS     FL           32708
    AMERICAN FORESTS                        ATTN DAN SMITH                     734 15TH STREET NW                                                            WASHINGTON         DC           20013
    AMERICAN FOUNDATION FOR THE
    BLIND                                   ATTN HELEN SELSDON                 2 PENN PLAZA STE 1102                                                         NEW YORK           NY           10121
    AMERICAN FUNDS US INVESTMENTS                                                                              C/O COMMERZBANK AG - NY
    LP                                      909 DAVIS STREET A/C # 133887 03   P O BOX 1041                    BRANCH                                        NEW YORK           NY           10281
                                            DBA PROGRESSIVE BUSINESS
    AMERICAN FUTURE SYSTEMS INC             PUBLICATIONS                       PO BOX 3019                                                                   MALVERN            PA           19355-1315
                                            DBA PROGRESSIVE BUSINESS
    AMERICAN FUTURE SYSTEMS INC             COMPLIANCE                         P O BOX 3014                                                                  MALVERN            PA           19355-9790
    AMERICAN FUTURE SYSTEMS INC                                                PO BOX 3019                                                                   MALVERN            PA           19355-1315
    AMERICAN GEOGRAPHICAL
    SOCIETY                                                                    120 WALL STREET, SUITE 100                                                    NEW YORK           NY           10005
    AMERICAN GIRL BRANDS LLC                                                   8400 FAIRWAY PLACE                                                            MIDDLETON          WI           53562-0998
    American Group                                                             703 Glen Eyrie Circle                                                         Colorado Springs   CO           80904
    American Heart Association              Weeksville E. S.                   1170 Salem Church Road                                                        Elizabeth City     NC           27909
    AMERICAN HERITAGE PUBLISHING                                               416 HUNGERFORD DR STE 216                                                     ROCKVILLE          MD           20850
    AMERICAN HERITAGE PUBLISHING                                               416 HUNGERFORD DRIVE SUITE #
    COMPANY                                                                    216                                                                           ROCKVILLE          MD           20850
    AMERICAN HISTORICAL
    ASSOCIATION                                                                PO BOX 347214                                                                 PITTSBURGH         PA           15251-4214
    American InfoSource                     Blake Hogan                        4515 N Santa Fe Ave                                                           Oklahoma City      OK           73118
    American InfoSource LP as agent for T
    Mobile/T-Mobile USA Inc                 American InfoSource                Blake Hogan                     4515 N Santa Fe Ave                           Oklahoma City      OK           73118
    American InfoSource LP as agent for T
    Mobile/T-Mobile USA Inc                                                    PO Box 248848                                                                 Oklahoma City      OK           73124-8848
    AMERICAN INT SCHOOL CHENNAI                                                100 FEET ROAD                                                                 TARAMANI CHENNAI                600113       India
    AMERICAN INTERNATIONAL MAILING
    INC                                                                        3922 VERO ROAD, STE I                                                         BALTIMORE          MD           21227
    AMERICAN ISRAEL PUBLIC AFFAIRS
    COMMTTEE                                NEW ENGLAND REGION                 126 HIGH STREET                                                               BOSTON             MA           02110




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       15 of 488                                                                                       1:26 PM
                                                      12-12171-reg            Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                 PgCreditor
                                                                                                                    23 of      519
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                                                                                                                     First Class Service List


             CreditorName                CreditorNoticeName                                Address1                       Address2              Address3               City        State       Zip      Country
    AMERICAN JEWISH JOINT DISTRIB
    COMM                                                                    711 THIRD AVE                                                                  NEW YORK           NY           10017
    AMERICAN LIBRARY ASSOCIAITON                                            50 EAST HURON STREET                                                           CHICAGO            IL           60611
    AMERICAN LIBRARY ASSOCIATION                                            50 EAST HURON ST                                                               CHICAGO            IL           60611-2788
    AMERICAN LIBRARY ASSOCIATION                                            52142 EAGLEWAY                                                                 CHICAGO            IL           60678
    AMERICAN LIST COUNSEL INC                                               4330 US HWY 1                    ATTN PETER DEROSA                             PRINCETON          NJ           08543
    AMERICAN LITERARY TRANSLATORS ATTN NATIONAL TRANSLATION                                                  THE UNIVERSITY OF TEXAS AT
    ASSN                          AWARD                                     800 WEST CAMPBELL RD JO51        DALLAS                                        RICHARDSON         TX           75080-3021
    AMERICAN LIVER FOUNDATION     NEW ENGLAND CHAPTER                       88 WINCHESTER STREET                                                           NEWTON             MA           02459
    AMERICAN MANAGEMENT ASSOC                                               GPO - P O BOX 27327                                                            NEW YORK           NY           10087-7327
    AMERICAN MARKING SYSTEMS      QUAKER CITY STAMP DIV                     12285 MCNULTY RD - SUITE 103                                                   PHILADELPHIA       PA           19154-1210

    AMERICAN MATHEMATICAL SOCIETY                                           P O BOX 845904                                                                 BOSTON             MA           02284-5904
    AMERICAN MESSAGING SERVICES
    LLC                                                                     P O BOX 5749                                                                   CAROL STREAM       IL           60197-5749
    American Military Family      Attn Debbie Quackenbush                   P.O. Box 625                                                                   Niwot              CO           80544
    American Money Management
    AMERICAN MONEY MANAGEMENT
    CORP.
    AMERICAN MUSEUM OF NATURAL                                              CENTRAL PARK WEST AND 79TH
    HISTORY                       DEPARTMENT OF PUBLIC AFFAIRS              STREET                                                                         NEW YORK           NY           10024
    AMERICAN MUSEUM OF NATURAL
    HISTORY                                                                 CENTRAL PARK WEST AT 79TH ST                                                   NEW YORK           NY           10024
    AMERICAN NUMISMATIC SOCIETY                                             75 VARICK STREET, 11TH FLOOR                                                   NEW YORK           NY           10013
    American Office Supplies                                                827 Hollywood Way                Suite 101                                     Burbank            CA           91505
    AMERICAN ORTHOPSYCHIATRIC
    ASSOC INC                     C/O CLEMSON UNIVERSITY, IFNL              25 S PLEASANTBURG DR SUITE B11                                                 GREENVILLE         SC           29607
    AMERICAN PAPER CONVERTERS
    INC                                                                     P O BOX 96                                                                     SOUTHBRIDGE        MA           01550
    AMERICAN PAPER CORPORATION                                              26 EMMA STREET                   AMELIA INDUSTRIAL PARK                        GUAYNABO           PR           00968-8007
    AMERICAN PLACE THEATRE INC                                              630 9TH AVENUE, STE 809                                                        NEW YORK           NY           10036
    AMERICAN POLITICAL SCIENCE                                              1527 NEW HAMPSHIRE AVE NW                                                      WASHINGTON         DC           20036
    American Program Bureau                                                 313 Washington Street            Suite 225                                     Newton             MA           02458

    AMERICAN PROGRAM BUREAU INC.                                            313 WASHINGTON STREET, STE 225                                                 NEWTON             MA           02458
    AMERICAN PSYCHOLOGICAL
    ASSOCIATION                                                             750 FIRST STREET NE                                                            WASHINGTON         DC           20002-4242
    AMERICAN PUBLIC UNIVERSITY                                              111 WEST CONGRESS STREET                                                       CHARLES TOWN       WV           25414
    AMERICAN QUALITY SCHOOLS                                                850 JACKSON BLVD STE 275                                                       CHICAGO            IL           60607
    American Red Cross                      c/o Haiti Relief Fund           444 Sherman Street                                                             Denver             CO           80203
    AMERICAN RED CROSS                                                      441 EAST TENTH STREET                                                          INDIANAPOLIS       IN           46202
    AMERICAN RED CROSS OF
    GREATER                                 INDIANAPOLIS - ACCTS RECEIVABLE LOCATION 14164 P O BOX 10900                                                   FORT WAYNE         IN           46854-0900
    AMERICAN REGISTRY FOR
    INTERNET NUMBERS                                                        P O BOX 79010                                                                  BALTIMORE          MD           21279-0010
    AMERICAN RESIDUALS AND TALENT
    INC                                     ART PAYROLL                     26 GREGS WAY                                                                   TAMWORTH           NH           03886
    AMERICAN SAFETY COUNCIL INC                                             5125 ADANSON STREET STE 500                                                    ORLANDO            FL           32804
    American School Board Journal                                           PO Box 1815                                                                    Merrifield         VA           22116-9854
    American Securities
    AMERICAN SECURITIES
    OPPORTUNITIES ASSOCIATES, LLC
    AMERICAN SOCIETY OF HOME
    INSPECTORS                              932 LEE ST                      SUITE 101                                                                      DES PLAINES        IL           60016-6594
    AMERICAN SOCIETY OF PICTURE             PROFESSIONALS                   117 S SAINT ASAPH STREET                                                       ALEXANDRIA         VA           22314
    AMERICAN STUDENT ACHIEVEMENT            DBA INDIANA STUDENT
    INSTITUTE                               ACHIEVEMENT INST                3925 E HAGAN STREET STE 105      ATTN LINDA GASNER                             BLOOMINGTON        IN           47401
    AMERICAN WHOLESALE BOOK CO
    INC                                                                     PO BOX 190358                                                                  BIRMINGHAM         AL           35219-0358
    AMERICAN YOUTH FOUNDATION                                               147 CANAAN RD                                                                  CTR TUFTONBORO     NH           03816
    AMERICANSCAPES INC                                                      156 GOLFSIDE CIRCLE                                                            SANFORD            FL           32773

    AMERICAS SAP USERS GROUP INC C/O WEBEVENTS GLOBAL                       P O BOX 13145                                                                  COYOTE             CA           95013
    AMERIGAS - FLINT HILL                                                   PO BOX 371473                                                                  PITTSBURGH         PA           15250
    AMERIGAS - WYLIE                                                        DEPT 0140                                                                      PALATINE           IL           60055
    AMERIGAS-WYLIE                                                          PO BOX 660288                                                                  DALLAS             TX           75266-0288
    AMERILINGUA INC                                                         2545 FISHINGER RD                                                              COLUMBUS           OH           43221
    AMERISAFE CONSULTING & SAFETY
    SRVCS LLC                                                               3990 ENTERPRISE COURT                                                          AURORA             IL           60504
    AMERISTAFF                                                              519 SALT LICK ROAD                                                             ST PETERS          MO           63376



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                     16 of 488                                                                               1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                              PgCreditor
                                                                                                                 24 of      519
                                                                                                                         Matrix
                                                                                                                     First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                         Address2              Address3              City          State       Zip            Country
    AmeriTeach-UCI, Inc.                                                   7800 E. Dorado Place, #150                                                      Colorado Springs    CO           80904

    AMERITECH COMPUTER SERVICES                                            2688 THIRD STREET                                                               SAN FRANCISCO       CA           94107
    AMHERST LABEL INC                                                      P O BOX 596                                                                     MILFORD             NH           03055
    AMIE LEAVITT                                                           911 S. 930 WEST                                                                 PAYSON              UT           84651-3125
    AMIGOS LIBRARY SERVICES                                                14400 MIDWAY ROAD                                                               DALLAS              TX           75244
    AMINAH BRENDA L ROBINSON                                               791 SUNBURY ROAD                                                                COLUMBUS            OH           43219
    AMIR ACZEL                                                             9 COLBOURNE CRES                                                                BROOKLINE           MA           02445
    AMK BOOK SERVICES                       1ST FLOOR, BRIDGEND HOUSE      1 MARKET STREET                                                                 ABERAERON                        SA46 0AS     United Kingdom
    AMODEI BROKERAGE                                                       PO BOX 671                                                                      MARLTON             NJ           08053
    AMON CARTER MUSEUM                                                     3501 CAMP BOWIE BLVD                                                            FORT WORTH          TX           76107-2695
    AMOS GROUP LLC                          CHARLES P AMOS                 4730 LANNON COURT                                                               SAINT MICHAEL       MN           55376
    AMOS NACHOUM                            DBA BIG ANIMALS PHOTOGRAPHY    2000 BROADWAY # 1204                                                            SAN FRANCISCO       CA           94115
    AMPARO JARAMILLO                                                       11 NORDEN PLACE, APT # 2       C/O FRANCISCO J RESTREPO                         NORWALK             CT           06855
    AMPHITHEATRE SCHOOL DISTRICT            KEELING ELEMENTARY SCHOOL      2838 NORTH LOS ALTOS AVE                                                        TUCSON              AZ           85705
    Amra Grayson                                                           2019 Mount Vernon St                                                            Orlando             FL           32803
    AMS CONSULTING                                                         2660 ACACIA TERRACE                                                             BUFFALO GROVE       IL           60089
    Amy A Chapman                                                          1907 28th Street                                                                Lubbock             TX           79411
    AMY B MCCORKLE                                                         54 CHURCH ST #1                                                                 NORTH ANDOVER       MA           01845
    AMY BERRY                                                              4204 W SWANN AVENUE                                                             TAMPA               FL           33609
    Amy Borseth                                                            16512 Trevin Cove                                                               Manor               TX           78653
    AMY BRIGHAM                                                            9 GARFIELD STREET                                                               CAMBRIDGE           MA           02138
    Amy Carlisle                                                           28-14 31st Street              Apt. 307                                         Astoria             NY           11102
    AMY COLLIER                                                            5137 SUN PALM DRIVE                                                             WINDERMERE          FL           34786
    Amy Combs                                                              8988 West Clara Lane                                                            Peoria              AZ           85382
    Amy D Kellogg                                                          10596 172 nd Ln.                                                                Elk River           MN           55330
    Amy Derethik                                                           1486 Lewis Drive                                                                Lakewood            OH           44107
    AMY DONNELLY                                                           P O BOX 1852                                                                    IRMO                SC           29063
    Amy E Bay                                                              6076 Strathburn Ct.                                                             Cincinnati          OH           45230
    Amy E Cherrix                                                          62 Bellvista Rd.               #2                                               Brookline           MA           02135
    AMY E JACOBS                            DBA ECUUS IMAGES               2789 CHESTNUT RUN ROAD                                                          YORK                PA           17402
    AMY E MAFFEI                                                           606 CHESTNUT STREET                                                             TWP OF WASHINGTON   NJ           07676
    AMY E NOVICK                                                           25 ABIGAIL STREET                                                               E GREENWICH         RI           02818
    Amy E Vaughan                                                          241 South Street                                                                Bridgewater         MA           02324
    Amy E. Tibbetts                                                        290 Grove St.                  Apt. 8                                           Auburndale          MA           02466
    AMY ELIZABETH MADDOX                                                   80 LYNDHURST WAY                                                                SHARPSBURG          GA           30277
    Amy Feun                                                               1015 Andrews Court                                                              Naperville          IL           60540
    AMY FINCH                                                              2 SUNSET AVENUE # 3                                                             JAMAICA PLAIN       MA           02130
    AMY FLYNN                                                              190 MARBERN DRIVE                                                               SUFFIELD            CT           06078
    AMY GILBERT                                                            72 WAGNER STREET                                                                MANCHESTER          NH           03104
    AMY GOGGIN                                                             753 NATEWHIPPLE HWY                                                             CUMBERLAND          RI           02864
    Amy Goldie                                                             2563 Albion Avenue                                                              Orlando             FL           32833
    AMY H SNYDER                                                           435 ATHOC AVE                                                                   OAKLAND             CA           94606
    Amy Hayes                                                              765 Verde Vista Ct.                                                             Elgin               IL           60123
    AMY HEMPEL                                                             1361 MADISON AVENUE # 3G                                                        NEW YORK            NY           10128
    Amy Hermann                                                            117 Dee Road                                                                    North Aurora        IL           60542
    AMY HOOPER                              WILDBIRD                       3 BURROUGHS                                                                     IRVINE              CA           92618
    AMY IRVINE MCHARG                                                      P O BOX 1160                                                                    NORWOOD             CO           81423
    Amy J Zagora                                                           10027 Buggy Horse Drive                                                         Charlotte           NC           28277
    Amy Kennicker                                                          14 Pitcher Avenue              #1                                               Medford             MA           02155
    Amy Kozak                                                              1422 Collier St.               # 109                                            Austin              TX           78704
    Amy L Bono                                                             2055 Rockland Drive                                                             Aurora              IL           60503
    AMY L KALAS                                                            1411 W GRACE UNIT 4W                                                            CHICAGO             IL           60613
    AMY L MOLLOY                            DBA QUALITATIVE OUTLOOK        12 LINCOLN ROAD                                                                 WELLESLEY           MA           02481
    Amy L Myshrall                                                         14 Gorgeana Way                Apt 5                                            York                ME           03909
    Amy L Vader                                                            6615 Hart Lane                                                                  Austin              TX           78731
    Amy L Waller                                                           4109 W. Kirby Ave.                                                              Champaign           IL           61822
    Amy Landwirth                                                          105 W. Covington Drive                                                          Austin              TX           78753
    Amy Lane                                                               867 South Main Street                                                           Bellingham          MA           02019
    AMY LEACH                                                              1221 HULL TERRACE # 2D                                                          EVANSON             IL           60202
    Amy Lewis                                                              14513 Lisalynne Court                                                           Orlando             FL           32826
    AMY LUDWIG VANDERWATER                                                 7571 RAIBER ROAD                                                                HOLLAND             NY           14080
    AMY LUNDBLAD                                                           13132 LEXINGTON SUMMIT ST                                                       ORLANDO             FL           32828
    AMY LYN LOWE                                                           22770 BENTLEY DRIVE                                                             NORTHVILLE          MI           48167
    Amy Mc Corkle                                                          54 Church Street #1                                                             North Andover       MA           01845
    Amy Nate Dearden                                                       1600 South Eads Street #2345                                                    Arlington           VA           22202
    Amy OBrien                                                             1651 Wichita St                                                                 Oviedo              FL           32765
    Amy Portch                                                             4127 North Richmond                                                             Chicago             IL           60618
    Amy R Wrynn                                                            41 Cottage Street              Apt 2                                            Watertown           MA           02472
    Amy R. Mclear                                                          325 YOLANE STREET                                                               SUGAR GROVE         IL           60554



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     17 of 488                                                                                       1:26 PM
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                                                                                                                25 of      519
                                                                                                                        Matrix
                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                        Address2           Address3                City        State       Zip            Country
    AMY RACHUBA                                                            7420 RUSHING ROBINSON RD                                                     BILOXI              MS           39532
    AMY REBECCA HAMANN                                                     7576 SKYLARK DRIVE                                                           MICHIGAN CITY       IN           46360
    AMY ROOTS WORDSHOP INC                                                 1735 SPYGLASS DR, # 113                                                      AUSTIN              TX           78746
    AMY S PERRY-DELCORVO                                                   4 JADE CREEK DR                                                              HILTON              NY           14468
    Amy S Vriesman                                                         15228 Meadowwood Dr                                                          Grand Haven         MI           49417
    AMY SINNS                                                              3201 PICKFAIR ST                                                             ORLANDO             FL           32803
    AMY STEFANOVIC                                                         4507 FOLKMAN                                                                 WABENO              WI           54566
    AMY STRONG                                                             6007 SHOAL CREEK BLVD                                                        AUSTIN              TX           78757
    Amy Taulman                                                            914 Isle of Man Court                                                        Pflugerville        TX           78660
    Amy Walan                                                              263 Capitol Dr                 D                                             Sugar Grove         IL           60554
    AMY WALD                                                               6370 BLUFFSPRINGS RD #8310                                                   AUSTIN              TX           78744
    Amy Whited                                                             2950 S. Steele                                                               Denver              CO           80210-6948
    Amy Whitney                                                            2320 Aimee Lane                                                              Schaumburg          IL           60194
    Amy Williams                                                           1292 Whetstone Dr                                                            Greenfield          IN           46140
    ANA A MARCHENA SEGURA                                                  P O BOX 1940                                                                 MOROVIS             PR           00687
    Ana Baez                                                               13800 Sw Conners Hwy           Martin County                                 Okeechobee          FL           34974
    ANA BEATRIZ CHIQUITO                                                   36 BROWNE STREET                                                             BROOKLINE           MA           02446
    ANA C MONOZ RIBAS                                                      JARDINES DE PONCE DF-8                                                       PONCE               PR           00731
    Ana Doyle                                                              165 N Taylor Ave                                                             Oak Park            IL           60302
    ANA E PALENCIA                          TERRAZAS DE BRISAS DEL GOLF    CALLE 33-A SUR CASA G-52                                                     PANAMA CITY                                   Panama
    ANA M DE ARAUJO FREIRE                                                 424 RUA SERGIPE, APT 8B                                                      SAO PAULO                        01243--000   Brazil
    ANA M ROMAN CRUZ                                                       URB CANA CALLE 20 ZZ-11                                                      BAYAMON             PR           00957
    ANA MARIA CASTILLO MAGRANER             CALLE MANUEL F ROSSY # 268     URB BALDRICH                                                                 SAN JUAN            PR           00918
    ANA MARIA DELGADO                                                      CALLE ESTELAR # H-3                                                          GURABO              PR           00778
    ANA NAVARRO - HOUGHTON
    MIFFLIN HARCOURT                        PETTY CASH - CHICAGO           5513 N CUMBERLAND AVENUE                                                     CHICAGO             IL           60656
    Ana P Sosa                                                             P. O. Box 1262                                                               Whittier            CA           90609
    ANA ROSA DELGADO MORALES                                               1808 SAN DANIEL STREET         ALTURAS DE SAN DANIEL                         ARECIBO             PR           00612
    ANA TABOADA                                                            949 NORTH PITT ST                                                            ALEXANDRIA          VA           22314
    ANACOMP INC                                                            FILE # 749325                                                                LOS ANGELES         CA           90074-9320
    ANAHEIM OUTDOOR SCI EDUC
    FOUNDATION                              ATTN KELLEY BARRETT            P O BOX 25108                                                                ANAHEIM             CA           92825-5108
    ANALYTICS PROS INC                                                     1204 NW CONSTELLATION DRIVE                                                  BEND                OR           97701
    ANANTHASWAMY ANIL                       C/O SHILAJEET BANERJEE         2403 READ AVENUE                                                             BELMONT             CA           94002
    ANASTASIA SUEN                                                         1804 WINDERMERE DRIVE                                                        PLANO               TX           75093
    ANCHOR FOUNDATION                       DBA PATHFINDER PRESS           P O BOX 2847                                                                 WASHINGTON          DC           20013
    Anchorage
    ANCHORAGE ADVISORS
    ANCHORAGE SCHOOL DISTRICT                                              5530 E NORTHERN LIGHTS BLVD                                                  ANCHORAGE           AK           99504
    ANCIENT ART & ARCHITECTURE
    COLLECTI                                                               410-420 RAYNERS LN - SUITE 1                                                 PINNER MIDDLESEX                 HA5 5DY      United Kingdom
    ANCOART                                                                15 BLUFF STREET                                                              SALEM               NH           03079
    ANCONA GEORGE                                                          35 CALLE ENRIQUE                                                             SANTA FE            NM           87507
                                                                           1820 BRIARWOOD INDUSTRIAL
    ANDE COOK                                                              COURT                                                                        ATLANTA             GA           30329
    ANDERS NILSEN                                                          2847 N SACRAMENTO                                                            CHICAGO             IL           60618
    ANDERSEN PRESS                                                         20 VAUXHALL BRIDGE ROAD                                                      LONDON                           SW1V 2SA     United Kingdom
    ANDERSEN PRESS LIMITED                                                 20 VAUXHALL BRIDGE ROAD                                                      LONDON                           SW1V 2SA     United Kingdom
    ANDERSEN PRESS LTD                      RANDOM CENTURY HOUSE           20 VAUXHALL BRIDGE ROAD                                                      LONDON                           SW1V 2SA     United Kingdom

    ANDERSON COLLEGE BOOKSTORE                                             316 BLVD                                                                     ANDERSON            SC           29621
    ANDERSON DISTRICT 4                     ANDERSON CTY SCHOOL DISTRICT   315 E QUEEN STREET                                                           PENDLETON           SC           29670
    ANDERSON DOUGLAS                                                       11080 MT ZION ROAD                                                           MARCELLUS           MI           49067
    ANDERSON GRINBERG LITERARY              MANAGEMENT INC                 12 WEST 19TH STREET                                                          NEW YORK            NY           10011
    ANDERSON JEAN                                                          4415 E JANICE WAY                                                            PHOENIX             AZ           85032
    ANDERSON JOHN DAVID                                                    9938 SHARSTED COURT                                                          INDIANAPOLIS        IN           46236

    ANDERSON LITERARY AGENCY INC                                           435 CONVENT AVE STE 5                                                        NEW YORK            NY           10031
    ANDERSON LITERARY
    MANAGEMENT LLC                                                         12 WEST 19TH ST 2ND FLOOR                                                    NEW YORK            NY           10011
    ANDERSON LITERARY
    MANAGEMENT LLC                                                         12 WEST 19TH STREET            ATTN KATHLEEN ANDERSON                        NEW YORK            NY           10011
    ANDERSON LOCK CO LTD                                                   850 E OAKTON STREET                                                          DES PLAINES         IL           60017
    ANDERSON LOCK CO LTD                                                   P O BOX 2294                                                                 DES PLAINES         IL           60017-2294
    ANDERSON MATTHEW TOBIN                                                 77 MARTIN STREET #45                                                         CAMBRIDGE           MA           02138
    Anderson News, LLC
    ANDERSON PEGGY PERRY                                                   744 S PITTSBURG                                                              TULSA               OK           74112
    ANDERSON RICHARD                                                       1802 PLEASANT ST                                                             URBANA              IL           61801
    Andi Barlow Stern                                                      152 Maple St.                                                                Sherborn            MA           01770




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                    18 of 488                                                                                     1:26 PM
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                                                                                                                26 of      519
                                                                                                                        Matrix
                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName               Address1                        Address2                        Address3             City            State       Zip                Country
    ANDOVER REGIONAL BOARD OF
    EDUC                                                                   707 LIMECREST RD                                                                       NEWTON             NJ             07860
    ANDRADE MAGDALENA                                                      52 SILKBERRY                                                                           IRVINE             CA             92614
    ANDRE ACIMAN                                                           220 MANHATTAN AVE, 7C                                                                  NEW YORK           NY             11025-2666
    Andrea Armstrong                                                       2370 Grand Central Pkwy       #12                                                      Orlando            FL             32839
    ANDREA BARTON-ELSON                                                    249 OAK ST APT 4                                                                       SAN FRANCISCO      CA             94102

    ANDREA BROWN LITERARY AGENCY ATTN JENNIFER LAUGHRAN                    1076 EAGLE DRIVE                                                                       SALINAS            CA             93905
    ANDREA BROWN LITERARY AGENCY
    INC                                                                    1076 EAGLE DRIVE                                                                       SALINAS            CA             93905
    ANDREA BROWN LITERARY AGY                                              1076 EAGLE DRIVE              ATTN MICHELLE ANDELMAN                                   SALINAS            CA             93905
    ANDREA CRAWFORD                                                        5851 GAVIOTA AVE                                                                       LONG BEACH         CA             90805
    Andrea Currier                                                         1112 S Conkling Street                                                                 Baltimore          MD             21224
    ANDREA CURRY                                                           1801 S JOHNSON                                                                         ENID               OK             73703
    ANDREA DIAZ NAGORE                                                     COL VILLA COYOACAN                                                PINO 21                                 DF             03100        Mexico
    Andrea Donio                                                           604 Gilmore St.                                                                        Taylor             TX             76574
    Andrea Fannin                                                          4806 Kingston Avenue                                                                   Highlands Ranch    CO             80130
    ANDREA GARCIA                                                          8606 SWEET AUTUMN DR                                                                   WINDSOR MILL       MD             21244
    ANDREA GRILO                                                           19 JAMES CT                                                                            PORT CHESTER       NY             10573-3157
    ANDREA J WARREN                                                        4908 W 71ST STREET                                                                     PRAIRIE VILLAGE    KS             66208
    ANDREA K. ALTER                                                        1017 LYMAN                                                                             OAK PARK           IL             60304
    Andrea L ODonnell                                                      204 White Bluff Drive                                                                  Guyton             GA             31312
    Andrea Lacko                                                           112 Steeple Drive             Unit A                                                   Buffalo Grove      IL             60089
    ANDREA LEIGH PLESS                                                     127 LOGAN RIDGE DRIVE                                                                  STATEVILLE         NC             28677
    Andrea Lotz                                                            1612 Pepperidge Drive                                                                  Orlando            FL             32806
    Andrea M. Weeks                                                        805 Summerhawk Dr             K64                                                      Longmont           CO             80501
    ANDREA MCCARRIER                                                       2155 CARRIAGE RD                                                                       POWELL             OH             43065
    ANDREA MCDONOUGH                                                       16 KINGS GRANT ROAD                                                                    MARLBOROUGH        MA             01752
    ANDREA NEWLUN                                                          5167 ROUTT CT                                                                          LITTLETON          CO             80127
    ANDREA OFFERMAN                                                        HORNER WEG 199                                                                         HAMBURG                           22111        Germany
    ANDREA PAQUETTE HAMMOND                                                295 BENNETT RD                                                                         HENNIKER           NH             03242
    Andrea Reese                                                           9 PILGRIM RD                                                                           WAKEFIELD          MA             01880
    ANDREA RITZ                                                            1271 FULBAR CT                                                                         SAN JOSE           CA             95132
    Andrea Roberto                                                         136 Gore St.                                                                           Cambridge          MA             02141
    ANDREA ROCK                                                            31 LOUNSBURY ROAD                                                                      CROTON ON HUDSON   NY             10520
    ANDREA ROSEN                                                           8214 KEYSTONE AVE                                                                      SKOKIE             IL             60076
    ANDREA ROUSSO                                                          594 SIXTH STREET APT 2A                                                                BROOKLYN           NY             11215
    Andrea Schaffner                                                       506 Tyler Avenue                                                                       Cape Canaveral     FL             32920
    Andrea Schulz                                                          245 E 21st St                 Apt 16F                                                  New York           NY             10010
    ANDREA SHAVICK                                                         SHEETHANGER LANE              GLENMORE                                                 FELDEN HERTS                      HP3 0BG      United Kingdom
    Andrea Silen                                                           66 Hall Ave                                                                            Somerville         MA             02144
    ANDREA ST CROIX                                                        40 ATKINS STREET                                                                       BRIGHTON           MA             02135
    ANDREA STEVENSON SANJIAN                                               158 TIMBERWOOD DR                                                                      WINFIELD           PA             17889
    Andrea Tottossy                                                        2633 Springhaven Drive                                                                 Virginia Beach     VA             23456
    ANDREA WAID                                                            3936 SOLITUDE                                                                          SPRINGDALE         AR             72764
    ANDREA ZIMMERMAN                                                       11083 CAMINO ABROJO                                                                    SAN DIEGO          CA             92127
    ANDRES DIAZ MARRERO                                                    P O BOX 50456                                                                          LEVITTOWN          PR             00950-0546
    Andres Rivas                                                           34819 Heritage Oaks Ct.                                                                Winchester         CA             92596
    Andres Rodriguez                                                       100 South Eola                Apt. #611                                                Orlando            FL             32801
    ANDRESEN BARBARA             c/o DIANE THIEME                          2423 192ND ROAD                                                                        SABETHA            KS             66534
    ANDREW ALLEN BRININSTOOL                                               1204 OLD OAK TRAIL                                                                     FLOWER MOUND       TX             75028
    ANDREW ANTHONY PASCARELLA                                              710 S RIDGELAND                                                                        OAK PARK           IL             60304
    Andrew B. Snyder                                                       8073 Sweetgum Loop                                                                     Orlando            FL             32835
    Andrew Barbeau                                                         1 Albert Avenue                                                                        Barrington         RI             02806
    ANDREW BEYER                                                           4237 LENORE LANE                                                                       WASHINGTON         DC             20008

    ANDREW BRADLEY PHOTOGRAPHY THE STUDIO                                  CASTLEVIEW, CLONAKILTY                                                                 COUNTY CORK        Cork                        Ireland
    Andrew Coleman                                                         109 Woody Trail                                                                        Lake Dallas        TX             75065
    ANDREW CURRY                                                           GIPSTRASSE 22                                                                          BERLIN                            10119        Germany
    ANDREW DOST                                                            924 CIRCLE AVE                                                                         FOREST PARK        IL             60130
    Andrew G Whitelocks                                                    14 Eastern Ave                                                                         Beverly            MA             01915
    Andrew G. Stephenson                                                   6 ALLEN STREET                                                                         LEBANON            NH             03766
    ANDREW GROSSMAN            DBA CARTOON RESOURCE                        3568 CASCADE ROAD SE                                                                   GRAND RAPIDS       MI             49546
    Andrew J OConnor                                                       3217 Hoffman Street                                                                    Plano              IL             60545
    ANDREW JENTER                                                          54 UNDERHILL AVE # 3                                                                   BROOKLYN           NY             11238
    ANDREW K OLENIK                                                        1515 QUARRY LANE                                                                       LANCASTER          PA             17603
    Andrew K. Reeves                                                       PO Box 24013                                                                           OMAHA              NE             68124-0013
    ANDREW KLINE                                                           205 CHICKERING ROAD                                                                    PLAINFIELD         VT             05667
    Andrew Kuritzky                                                        1196 IRWIN CT.                                                                         Winter Springs     FL             32708
    ANDREW LAM                                                             338 SPEAR STREET # 5H                                                                  SAN FRANCISCO      CA             94105



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                  19 of 488                                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                27 of      519
                                                                                                                        Matrix
                                                                                                                        First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                           Address2                        Address3               City         State       Zip            Country
    ANDREW LEE KURITZKY                                                    1196 IRWIN COURT                                                                             WINTER SPRINGS      FL           32708
    Andrew Ley                                                             24502 Horst Ct, PO Box 111                                                                   Crestline           CA           92325
    ANDREW M T MOORE                                                       2 LACOMA LANE                                                                                PITTSFORD           NY           14534
    ANDREW MALAN MILWARD                                                   251 ELLSWORTH ST, APT B                                                                      SAN FRANCISCO       CA           94110
    Andrew McElvain                                                        2501 Peachtree Lane                                                                          Northbrook          IL           60062
    Andrew Miles                                                           3412 Lafayette Ave                                                                           Austin              TX           78722
    Andrew Millen                                                          176 Hartman Road                                                                             Newton              MA           02459
    Andrew P Weisman                                                       6 Baldwin Drive                                                                              Sharon              MA           02067
    Andrew Parvin                                                          3716 Mariposa                                                                                El Dorado Hills     CA           95762
    ANDREW PAUL LEONARD                     DBA APL MICROSCOPIC            379 WEST STREET STE 4A                                                                       NEW YORK            NY           10014-3360
    ANDREW RICONDA                                                         173 ROCHELLE STREET                                                                          BRONX               NY           10464
    ANDREW ROBERTS                                                         P O BOX 7069                                                                                 OCEAN PARK          ME           04063-7069
    ANDREW RUSSELL                                                         523 SEDGEFIELD DRIVE                                                                         BRYANT              AR           72022
    Andrew Schnaps                                                         412 CHRUCH STREET                                                                            KING OF PRUSSIA     PA           19406
    ANDREW SEAN GREER                                                      93 WEBSTER ST                                                                                SAN FRANCISCO       CA           94117
    ANDREW SMITH GALLERY INC                                               122 GRANT AVENUE                                                                             SANTA FE            NM           87501
    Andrew Stephenson                                                      6 ALLEN STREET                                                                               LEBANON             NH           03766
    ANDREW STERRETT FRYE                                                   10026 MASTIN DRIVE                                                                           OVERLAND PARK       KS           66212
    Andrew Sylvester                                                       619 46th Street                                                                              BROOKLYN            NY           11220
    ANDREW T CAULFIELD                                                     8 VIRGINIA ROAD                                                                              NEEDHAM HEIGHTS     MA           02494-2006
    ANDREW THOMAS                           DBA MAZE CREEK STUDIO          1495 E 13TH STREET                                                                           CARTHAGE            MO           64836
                                            DBA ANDREW THOMSON
    ANDREW THOMSON                          CONSULTANCY                    25 CRAISTER COURT                                                                            CAMBRIDGE                        CB4 2SL      United Kingdom
    ANDREW TOBIAS                                                          787 NORTHEAST 71ST STREET                                                                    MIAMI               FL           33138
    Andrew Trokhymenko                                                     14 Churchill Rd                                                                              Quincy              MA           02169
    Andrew Unger                                                           3128 Cluster Pine Dr.                                                                        Indianapolis        IN           46235
    Andrew V. Martini                                                      107 Stacey Ct.                                                                               Downingtown         PA           19335
    ANDREW WERNER                                                          801 ESPOLON                                                                                  EL PASO             TX           79912-1708
    Andrew White                                                           26 Turner Street                                                                             Brighton            MA           02135
    ANDREWS ASSOCIATES LLP                  ATTN CHRIS ANDREWS             101 CHERRY DR                                                                                SEWICKLEY           PA           15143
    ANDREWS KATHLEEN                                                       8250 E DEL CADENA DRIVE                                                                      SCOTTSDALE          AZ           85258
    ANDREWS UNIVERSITY                                                     4245 ADMINISTRATION DRIVE         ATTN MARYANNE BURNS                                        BERRIEN SPRINGS     MI           49104
    Andria Cline                                                           5267 RICH RD                                                                                 MEMPHIS             TN           38120
    ANDROMEDA OXFORD LTD                                                   27 KELHAM HALL DRIVE                                                    WHEATLEY OXFORD      Oxfordshire                      OX33 1SL     United Kingdom
    ANDY BRENNAN                            DBA PHONE SALES FOR BOOKS      52 S BLEEKER STREET # 2S                                                                     MT VERNON           NY           10550
    Andy Clark                                                             1011 Bayberry Road                                                                           Lake Oswego         OR           97034
    ANDY COMINS                                                            10769 TABOR ST                                                                               LOS ANGELES         CA           90034
    ANDY DOUSIS                                                            3 CHRIS ALAN DRIVE                                                                           EAST LYME           CT           06333
    Andy Fredericksen                                                      514 3rd Street NW                                                                            Independence        IA           50644
    ANDY LEVINE                                                            42 SENATOR REYNOLDS RD #106                                                                  ASHEVILLE           NC           28804
    Andy Moeder                                                            206 E. South St.                  Unit 4030                                                  Orlando             FL           32801
    ANEAL VOHRA                             DBA FPS PHOTOGRAPHY            11184 ANTIOCH ROAD PMB# 272                                                                  OVERLAND PARK       KS           66210
    Anella Wetter                                                          181 Upper Delevan Avenue                                                                     Corning             NY           14830
    ANETTE SCHIVE                           ORRHANEVEIEN 16                1555 SON                                                                                     AKERSHUS                                      Norway
    ANG JOY                                                                402, 11445 ELLERSLIE RD                                                                      EDMONTON            AB           T6W 1T1      Canada
    ANGEL ART LTD                                                          1801 N FRENCH RD P O BOX 640                                                                 GETZVILLE           NY           14068
    ANGEL CITY PRESS INC                                                   2116 WILSHIRE BLVD, STE 880                                                                  SANTA MONICA        CA           90403-5784
    ANGEL LUIS ALONSO                                                      66 CLARE AVENUE                                                                              ROSLINDALE          MA           02131
    ANGEL LUIS RIVERA MELENDEZ              URB VILLA MARINA               CALLE BAHIA OESTE C-74                                                                       GURABO              PR           00978
    ANGEL M VAZQUEZ CRUZ                                                   CARR 173 R782                                                                                CIDRA               PR           00739
    Angel Martinez                                                         13908 Florigold Drive                                                                        Windermere          FL           34786
                                                                           5171 AVE LAS MUESAS CHALETS
    ANGEL NOEL VEGA ORTIZ                                                  MUESAS                                                                                       CAYEY               PR           00736
    ANGEL TOMAS COLON DIAZ                                                 658 CARRETERA 8860                                                                           TRUJILLO ALTO       PR           00976
    Angela A El Barassi                                                    10350 Heather Hills Road                                                                     Indianapolis        IN           46229
    ANGELA AERIE BAHNG                                                     230 SOUTHGATE DRIVE                                                                          VERNON HILLS        IL           60061
    ANGELA ANDREWS                                                         11 MERRIMACK CT                                                                              BOLINBROOK          IL           60440
    Angela Armstrong                                                       9009 Great Hills Trail Apt 1325                                                              Austin              TX           78759
    Angela Bahng                                                           910 Midway Road                                                                              Northbrook          IL           60062
    ANGELA BATTAGLIA DEAN                                                  200 DAVIS ESTATES RD                                                                         ATHENS              GA           30606
    ANGELA BOTTINI                                                         P O BOX 9031                                                                                 PORT ST LUCIE       FL           34985
    Angela Bowman                                                          4322 N Albany                     #2                                                         Chicago             IL           60618
    Angela Butkowski                                                       13473 Budworth Circle                                                                        Orlando             FL           32832
    ANGELA BUTLER                                                          3325 BAYSHORE BLVD D35                                                                       TAMPA               FL           33629
    ANGELA C CARROLL                                                       11510 W 109 # ST                                                                             OVERLAND PARK       KS           66210
    Angela Cangelosi                                                       821 Grand Regency Pointe          Unit 106                                                   Altamonte Springs   FL           32714
    ANGELA CHARLYNS MCKINNON                                               4148 MEADOW HEATH LANE                                                                       MEMPHIS             TN           38115
    ANGELA D BURNETT                                                       4301 DEER CROSSING                                                                           EDMOND              OK           73025
    ANGELA EMMETT                                                          3527 RIO GRANDE LANE                                                                         BAKERSFIELD         CA           93313
    ANGELA HOLLIS                                                          5145 SHELBY DR                                                                               CASTLE ROCK         CO           80104



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                        20 of 488                                                                                                 1:26 PM
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                                                                                                                28 of      519
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                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                      Address2              Address3              City           State       Zip           Country
    Angela Hottal                                                            14652 Quail Trail Circle                                                     Orlando              FL           32837
    ANGELA JIMENEZ                          THE BROOKLYN ARTS EXCHANGE       421 5TH AVENUE 2ND FLOOR                                                     BROOKLYN             NY           11215
                                            DBA ANGLEA JIMENEZ
    ANGELA JIMENEZ                          PHOTOGRAPHY                      421 5TH AVENUE 2ND FLOOR                                                     BROOKLYN             NY           11215
    ANGELA JOHNSON                                                           526 VINE STREET                                                              KENT                 OH           44240
    Angela Kirkpatrick                                                       211 Fisherman Trail                                                          Melissa              TX           75454
    ANGELA LARSON                                                            219 SW SEASIDE SPARROW ST                                                    LESS SUMMIT          MO           64082
    Angela Lepore                                                            Po Box 4683                                                                  Portsmouth           NH           03802
    Angela Lovejoy                                                           205 Bluegrass Lane                                                           Edmond               OK           73003
    Angela M Aenis                                                           5311 Crawford Ct                                                             Flower Mound         TX           75028
    Angela M Hooper                                                          3501 Beringer Court                                                          Flower Mound         TX           75022
    ANGELA M TRESSLER                                                        236 FALCONRIDGE WAY                                                          BOLINGBROOK          IL           60440
    ANGELA MOORE                                                             520 WILDBERRY DRIVE                                                          PEARL                MS           39208
    Angela Oddo                                                              920 Verona Street                                                            Kissimmee            FL           34741
    Angela Oliver                                                            14532 Huntingfield Drive                                                     Orlando              FL           32824
    Angela Peery                                                             45 Christine Dr.                                                             Ladys Island         SC           29907
    Angela Peperzak                                                          208 Central Park                                                             Wilmette             IL           60091
    Angela Qostali                                                           2373 Walnut Canyon Drive                                                     Kissimmee            FL           34758
    Angela Romano                                                            1069 Thacher Park Rd                                                         East Berne           NY           12059
    ANGELA S MARINO                                                          P O BOX 700335                                                               ST CLOUD             FL           34770
    ANGELA S MOREMAN                                                         1579 CHARITY CHASE DR                                                        WESTFIELD            IN           46074
    ANGELA SCHLENDER                                                         300 KNOX PARK ROAD                                                           LAKE ZURICH          IL           60047
    Angela Sciaraffa                                                         143 Kenrick St                                                               Brighton             MA           02135
    Angela Senicz                                                            3522 8th Ave S                                                               Birmingham           AL           35222
    ANGELA SHELF MEDEARIS                                                    5212 SCOTTISH THISTLE DRIVE                                                  AUSTIN               TX           78739-1472
    Angela Sims                                                              2608 Kingsway Rd                                                             Fort Washington      MD           20744
    ANGELA TRAHAN                                                            113 SUMMER MORNING CT                                                        LAFAYETTE            LA           70508
    ANGELA TRUJANO LOPEZ                    DZILAM MZ 815 LT 13 PEFREGAL     DE SAN NICOLAS                                                               DELEGACION TLALPAN                14100        Mexico
    Angela Ulintz                                                            10503 Cory Lake Drive                                                        Tampa                FL           33647
    Angela White                                                             4905 Edmee Circle                                                            Orlando              FL           32822
    Angela Wiebe                                                             32777 Chilcotin Drive                                                        Abbotsford           BC           V2T 5W4      Canada

    ANGELA YEUNG                            DBA ANGELA YEUNG FOOD STYLIST 4015 LEMMON AVE STE 4001 #174                                                   DALLAS               TX           75219
    ANGELILLO WRITING CO INC                                              3516 OLD YORKTOWN HTS                                                           YORKTOWN             NY           10598
    ANGELINE J HELVY                                                      1611 S E FAIRFIELD ST                                                           PORT SAINT LUCIE     FL           34983
    Angelique D Wilkes                                                    5490 Hawthorne Place                                                            New Orleans          LA           70124
    Angella Meade                                                         12528 Darby Avenue                                                              Orlando              FL           32837
    ANGELO LANCASTER                                                      439 7TH STREET WEST                                                             SONOMA               CA           95476
    Angie Hodapp                                                          10555 W. Jewell Ave. #4-203                                                     Lakewood             CO                        HOESEL
    ANGIE WANG                                                            1963 WEST BURNSIDE ST APT 409                                                   PORTLAND             OR           97209
    ANHINGA PRESS                                                         P O BOX 10595                                                                   TALLAHASSEE          FL           32302
    ANI ACQUISITIONS                        SUBSIDIARY OF DOCULYNX INC    P O BOX 2449                                                                    OMAHA                NE           68018-2449
    Anibal Rosado Jr.                                                     1682 Solfisburg                                                                 Aurora               IL           60505
    ANIMALS ANIMALS                         ENTERPRISES INC               17 RAILROAD AVENUE                                                              CHATHAM              NY           12037-1117
    ANISE WALKER                                                          1316 TALBERT COURT SE                                                           WASHINGTON           DC           20020
    ANITA ALLEN FRANK                                                     205 TIMBER LANE                                                                 SEWICKLEY            PA           15143
    ANITA C HERNANDEZ                                                     4467 OJO CALIENTE CIRCLE                                                        LAS CRUCES           NM           88011

    ANITA D RADUCANU                        DBA A PLUS PUBLISHING SERVICES 77 EMER ROAD                                                                   MARLBOROUGH          MA           01752
    ANITA DESAI                                                            10 PARSINAGE STREET                                                            COLD SPRING          NY           10516
    Anita Frank                                                            205 Timber Lane                                                                Sewickley            PA           15143
    Anita Gildea                                                           42 Nolls Farm Rd                                                               Auburn               NH           03032
    ANITA JAMES                                                            585 RED TAIL MEADOW LANE                                                       ARROYO GRANDE        CA           93420
    ANITA JAMESON                                                          2810 PARK PL                                                                   LAGUNA BEACH         CA           92651
    ANITA LOBEL                                                            426 W BROADWAY 3F                                                              NEW YORK             NY           10012
    Anita M Cesario                                                        2717 Conant Ct.                                                                Geneva               IL           60134
    ANITA MANLEY                                                           3256 LIVMOOR DRIVE                                                             COLUMBUS             OH           43227
    Anita Mc Clellan                                                       50 Stearns St                                                                  Cambridge            MA           02138
    Anita Mcclellan                                                        464 COMMON ST                   STE 142                                        BELMONT              MA           02478
    Anita Odle                                                             1769 S Martin Luther King Jr    Ave, Apt F                                     CLEARWATER           FL           33756
    ANITA R GRAHAM                                                         1630 KITCHNER ROAD                                                             CONEHATTA            MS           39057
    ANITA SILVEY                                                           101 WHITEWOOD ROAD                                                             WESTWOOD             MA           02090
    ANITA T ECKER                                                          3 LAUREN COURT                                                                 MANALAPAN            NJ           07726
    ANITERE FLORES CAMPAIGN                                                1421-1 SW 107 AVENUE #134                                                      MIAMI                FL           33174
    ANJALI PALA                                                            450 36TH STREET 2F                                                             BROOKLYN             NY           11232
    ANJALI SACHDEVA                                                        3534 1/2 BUTLER STREET                                                         PITTSBURGH           PA           15201
    ANN BANKS                                                              171 W 12TH STREET                                                              NEW YORK             NY           10011
    ANN BENNINGTON                          DBA AURORA TEXT SERVICES       2505 S HUMBOLDT ST                                                             DENVER               CO           80210
    Ann Bevino                                                             54 Poquito Rd                                                                  Shalimar             FL           32579
    ANN BINNEY                                                             2070 LA FRANCE AVENUE                                                          SOUTH PASADENA       CA           91030



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                    21 of 488                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                             29 of      519
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                                                                                                                 First Class Service List


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    ANN BULLARD                                                            18600 N COUNCIL RD                                                          EDMOND             OK           73012-9232
    ANN BURKE                                                              1330 VALEY FORGE RD                                                         BLOOMINGTON        IN           47401
    Ann Carnicom                                                           P.O. Box 142073                                                             Austin             TX           78714
    Ann Collins                                                            2335 NW Raleigh Street        Unit A307                                     Portland           OR           97210
    ANN COLOWICK                                                           1724 ESKRIDGE BLVD SE                                                       OLYMPIA            WA           98501-3640
    ANN DEELEY-MATTES                                                      117 KENWOOD DRIVE                                                           CHERRY HILL        NJ           08034
    Ann Deluca                                                             100 Fulton St                 3M                                            Boston             MA           02109
    ANN E BERTHOFF                                                         14 THOREAU STREET                                                           CONCORD            MA           01742
    ANN E EBE                                                              233 E 69TH ST APT 7H                                                        NEW YORK           NY           10021
    ANN E STEWART                                                          921 SHERRY CIRCLE                                                           HIXSON             TN           37343
    ANN ELIZABETH EBE                                                      233 E 69TH STREET, APT 7H                                                   NEW YORK           NY           10021
    Ann Elizabeth Groban                                                   1462 Cambridge Street                                                       Cambridge          MA           02139
    ANN ELMO AGENCY INC                                                    305 SEVENTH AVENUE # 1101                                                   NEW YORK           NY           10001
    ANN ELMO AGENCY INC                                                    305 SEVENTH AVENUE            ATTN LETTIE LEE - PERMISSIONS                 NEW YORK           NY           10001
    Ann Forest West                                                        29 Beals Str.                                                               Brookline          MA           02146
    Ann Gallager                                                           15 Austin Rd                                                                Medford            MA           02155
    ANN GOODSELL                                                           83 ANTRIM ST                                                                CAMBRIDGE          MA           02139
    Ann Gorbett                                                            575 Old Post Road                                                           Walpole            MA           02081
    Ann Grassick                                                           7836 Amador Place                                                           Rancho Cucamonga   CA           91730
    ANN H MARLOWE                                                          124 SHELDON TERRACE APT 1L                                                  NEW HAVEN          CT           06511-2035
    ANN HAYES                                                              8524 VALMONT ROAD                                                           BOULDER            CO           80301
    ANN HIVELY                                                             1572 SUMMERHILL LANE                                                        LINCOLN            CA           95648
    ANN JACOBS                                                             6253 GLENBLYTHE ROAD                                                        BRENHAM            TX           77833-1266
    ANN KANE                                                               3 ARTHUR LANE                                                               YARMOUTHPORT       MA           02675
    Ann Lindenmeyer                         Powerful Learning, LLC         11 Currituck Road                                                           Newtown            CT           06470
    Ann M Healy                                                            52 Harbor Hills Drive                                                       Port Washington    NY           11050
    ANN M JOYCE                                                            1568 KEYES AVE                                                              NISKAYUNA          NY           12309
    ANN M ROSSI                                                            43 HIGHLAND STREET                                                          PORTLAND           ME           04103
    Ann M. Pare                                                            8 Curtis Drive                                                              Nashua             NH           03062
    Ann Marie Allen                                                        106 E. Trillium Rd.                                                         Mequon             WI           53092
    ANN MARIE COLLIER                       HAWTHORNES CROSSING            1 GOOSENECK LANE # 128                                                      SWAMPSCOTT         MA           01907
    Ann Marie Pucillo                                                      18 Ashley Street                                                            East Boston        MA           02128
    Ann Marie Seglin                                                       186A Savin Hill Avenue                                                      Boston             MA           02125
    ANN MCGOVERN                                                           30 EAST 62ND STREET                                                         NEW YORK           NY           10021
    ANN MCGOVERN SCHEINER                                                  30 E. 62ND STREET, APT 5C                                                   NEW YORK           NY           10065
    Ann Mcmanus                                                            22 Jefferson Shores Road                                                    Buzzards Bay       MA           02532
    Ann Michelle Levangie                                                  9 Cot Hill Road                                                             Bedford            MA           01730
    ANN ML CAVALLO                          UNIVERSITY OF TEXAS            701PLANETARIUM PL BOX 19277                                                 ARLINGTON          TX           76019-0227
    Ann Murphy                                                             239 River Street                                                            West Newton        MA           02165
    ANN NORDMEYER                                                          2570 S BINGHAM ST                                                           WEST CORNWALL      VT           05778
    Ann OKeefe                                                             88 Concord Avenue                                                           Norwood            MA           02062
    ANN RINALDI                                                            302 MILLER AVENUE                                                           SOMERVILLE         NJ           08876
    ANN RITTENBERG LITERARY
    AGENCY                                                                 15 MAIDEN LANE STE 206                                                      NEW YORK           NY           10038
    Ann Rossi                                                              217 Woodford St.                                                            Portland           ME           04103
    Ann S Rider                                                            P.O.Box 33                                                                  Lutsen             MN           55612
    Ann Schwartz                                                           308 Tuscaloosa Lane                                                         Brick              NJ           08724
    ANN SCHWENINGER                                                        5800 ARLINGTON AVE 16C                                                      RIVERDALE          NY           10471
    Ann Seivert                                                            214 W. Harrison Ave.                                                        Wheaton            IL           60187
    Ann Solomon                                                            101 Clover springs Dr.                                                      Cloverdale         CA           95425
    Ann Stewart                                                            34B High Street                                                             Rockport           MA           01966
    ANN STOCKHO                                                            8080 MEADOWDALE SQ                                                          LONGMONT           CO           80503
    ANN T STOLLENWERK                                                      6402 SHANNON DRIVE                                                          HAMILTON           OH           45011
    ANN TOBIAS                                                             520 E 84TH STREET APT 4L                                                    NEW YORK           NY           10028
    ANN V INGALLS                                                          9016 N HUNTER AVENUE                                                        KANSAS CITY        MO           64157
    Ann Van Kempema                                                        217 E. Victoria Circle                                                      North Aurora       IL           60542
    ANN W OLSON                                                            RR7 BOX 260                                                                 OLIVE HILL         KY           41164
    ANN W SANDERSON                                                        305 TWIN TREE DRIVE                                                         SUMMERVILLE        SC           29485
    Ann Weiss                                                              5730 Pinecroft Ct.                                                          Clarkston          MI           48346
    Ann Wells                                                              1650 Oxford Street #8                                                       Berkeley           CA           94709
    ANN WELLS                                                              208 UTAH STREET 2ND FL                                                      SAN FRANCISCO      CA           94103
    ANN WHITNEY                                                            350 RUGER CT                                                                TALLAHASSEE        FL           32312-1470
    ANN WILDER                                                             23 GLENMORE DRIVE                                                           DURHAM             NC           27707
    Ann Zimmerman                                                          4449 Linden Ln                                                              Albuquerque        NM           87111
    ANNA BERSKY                                                            1310 MAPLE AVENUE UNIT 3C                                                   EVANSTON           IL           60201
    ANNA BOOTH                                                             700 A 5TH AVENUE #2                                                         BROOKLYN           NY           11215
    Anna Bressler                                                          200 St. Andrews Blvd.         Unit 1904                                     Winter Park        FL           32792
    Anna Bruzzese                                                          9 PLYMOUTH CI, #1                                                           MELROSE            MA           02176-4212
    ANNA CHAIA WEINSTEIN                                                   1127 JENKINS DRIVE                                                          AUBURN             AL           36830
    ANNA DRONZEK                                                           1011 COLORADO BLVD #1005                                                    DENVER             CO           80206



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                 22 of 488                                                                               1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                30 of      519
                                                                                                                        Matrix
                                                                                                                    First Class Service List


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    ANNA EDITH EMBREE                                                      822 ST FRANCIS DRIVE                                                           PETALUMA           CA           94954
    ANNA EGGERT                                                            19 ASHLEY AVENUE                                                               BELFAST                         BT9 7BT      Ireland
    Anna Herning                                                           7914 Tripp Ave.                                                                Skokie             IL           60076
    ANNA JAROSS                                                            12911 NE 109TH PL                                                              KIRKLAND           WA           98033
    Anna K Dobbin                                                          476 Clinton Ave.               4B                                              Brooklyn           NY           11238
    Anna K Meier                                                           289 Newbury St., Apt. 1        Apt. 1                                          Boston             MA           02115
    ANNA LEE WALTERS                                                       P O BOX 276                                                                    TSAILE             AZ           86556
    ANNA LEVINE                                                            PO BOX 1209 MEVESSERET                                                         ZION                            90805        Israel

    ANNA LORING                                                            1700 S HOLLY ST                ROCKY MT SCH EXPDTNRY LRNING                    DENVER             CO           80222
    Anna Makar                                                             104 Keeney St                  Apt 2                                           Evanston           IL           60202
    ANNA MEAD BAKER                                                        283 PROSPECT STREET                                                            FRANKLIN           MA           02038
    Anna Micek                                                             16104 Rustic Lane                                                              Austin             TX           78717
    Anna Poulos                                                            10015 E Mountain View Road     #2038                                           Scottsdale         AZ           85258
    ANNA RICH MARTINIAN                                                    1821 CHELSEA ST                                                                ELLMONT            NY           11003
    Anna Simon                                                             506 QUAIL LN                                                                   LEXINGTON          NC           27292
    ANNALISA AMICANGELO                                                    18 LORING ST                                                                   NEWTON             MA           02459
    ANNALLA BEATTIE                                                        701 EAST LASSEN # 227                                                          CHICO              CA           95973
    Anne Anderson                                                          796 Aspen Compound Dr                                                          Sante Fe           NM           87501
    ANNE ARUNDEL COMMUNITY
    COLLEGE                                 BOOKSTORE                      101 COLLEGE PARKWAY                                                            ARNOLD             MD           21012
    ANNE ARUNDEL COUNTY PUBLIC
    SCHOOLS                                                                2644 RIVA ROAD                                                                 ANNAPOLIS          MD           21401
    Anne Atherton                                                          914 Hudson Street              Apt 2                                           Hoboken            NJ           07030
    ANNE BARTHOLOMEW                                                       9 ELLERY ST APT 2                                                              CAMBRIDGE          MA           02138
    Anne Chalmers                                                          49 Janet Road                                                                  Newton             MA           02459-1122
    Anne Collier                                                           Hawthornes Crossing            1 Gooseneck Lane, #128                          Swampscott         MA           01907
    Anne Cullen                                                            11 James Way                                                                   Cambridge          MA           02141
    Anne Diebel                                                            3 Getz Ave.                                                                    Mercerville        NJ           08619
                                                                                                          SAN DIEGO STATE UNIV-EUROPEAN
    ANNE DONADEY                                                           5500CAMPANILE DR               STUD DEPT                                       SAN DIEGO          CA           92182
    Anne Dubis                                                             P.O. Box 1524                                                                  Chatham            MA           02669
    Anne E Cullen                                                          11 James Way                                                                   Cambridge          MA           02141
    ANNE E HOSKIN                                                          600 WILCREST DR, #31                                                           HOUSTON            TX           77042
    Anne E Nybo                                                            419 West 34th Street           #330                                            New York           NY           10003
    ANNE EDELSTEIN LITERARY
    AGENCY                                                                 404 RIVERSIDE DRIVE # 12D                                                      NEW YORK           NY           10025
    ANNE ELIZABETH UPCZAK-GARCIA                                           P O BOX 2031                                                                   NEDERLAND          CO           80466
    Anne Eskra                                                             2510 Harrison St.                                                              Evanston           IL           60201
                                            DBA ANNE EVELYN BUNTING EDW
    ANNE EVELN BUNTING                      FAMILY TRUST                   1512 ROSE VILLA STREET                                                         PASEDENA           CA           91106
    ANNE FAZIO                                                             29 MIAMI RD                                                                    NORRISTOWN         PA           19403
    Anne Fenske                                                            11111 South Valley Drive                                                       Larkspur           CO           80118
    ANNE GERRAS                                                            227 HILLTOP ROAD                                                               COOPERSBURG        PA           18036
    ANNE GOUDVIS                                                           210 LIPAN WAY                                                                  BOULDER            CO           80303
    Anne Heausler                                                          436 West 49th St #5rw                                                          New York           NY           10019
    Anne Holub                                                             6737 N. Greenview Ave.         Apt. 1s                                         Chicago            IL           60626
    ANNE J PALMER                                                          304 NORTH PARK DRIVE                                                           SALISBURY          NC           28144-2463
    Anne Kaiser                                                            2267 Sunridge Circle                                                           Broomfield         CO           80020
    Anne Keane                                                             10850 S Pulaski                                                                Oak Lawn           IL           60453
    ANNE L JOYCE                                                           5 FOSTER CIRCLE                                                                READING            MA           01867
    ANNE LINDBERGH CHILD TRST                                              270 PARK AVENUE 16TH FLOOR     C/O FERN SILVERSTEIN                            NEW YORK           NY           10167-0001
    ANNE M GOODROW                                                         46 GENTIAN AVENUE                                                              PROVIDENCE         RI           02908
    ANNE M MURRAY NESTELBERGER                                             38 LEE ST                                                                      WEYMOUTH           MA           02189
    Anne M Perryman                                                        779 Shady Creek                                                                Greenwood          IN           46142
    ANNE M SAUVE                                                           150 BRAVE BOAT HARBOR ROAD                                                     KITTERY POINT      ME           03905
    ANNE M SMYTH                                                           7725 S E 19TH AVENUE                                                           PORTLAND           OR           97202
    Anne M. Holbrook                                                       1510 Massachusetts Avenue SE                                                   Washington         DC           20003-1549
    ANNE MALONE                                                            330 WILTSHIRE BLVD.                                                            DAYTON             OH           45419
    Anne Marie Collier                                                     Hawthornes Crossing            1 Gooseneck Ln. #128                            Swampscott         MA           01907
    ANNE MARIE FOX                                                         3701 WEST 109 ST                                                               INGLEWOOD          CA           90303
    ANNE MCDERMID & ASSOCIATES
    LTD                                                                    83 WILLCOCKS STREET                                                            TORONTO            ON           M5S 1C9      Canada
    ANNE MCGILVRAY & CO                                                    2332 VALDINA STREET                                                            DALLAS             TX           75207
    ANNE MCPEAK                                                            350 OCEAN PARKWAY APT 5J                                                       BROOKLYN           NY           11218
    ANNE N HEAUSLER                                                        436 WEST 49TH ST APT 5 RW                                                      NEW YORK           NY           10019
    Anne OConnor                                                           909 Westerfield Dr.                                                            Wilmette           IL           60091
    Anne P Chalmers                                                        49 Janet Road                                                                  Newton             MA           02459
    Anne R Anderson                                                        10021 S Turner Ave                                                             Evergreen Park     IL           60805-3448
    ANNE R GERE                                                            2106 VINEWOOD BLVD                                                             ANN ARBOR          MI           48104-2762



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    23 of 488                                                                                         1:26 PM
                                                      12-12171-reg            Doc 136            Filed 07/15/12 Exhibit
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                                                                                                               31 of      519
                                                                                                                       Matrix
                                                                                                                       First Class Service List


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    ANNE R STORAN                           DBA PARAGRAPHS BOOKSTORE        105 SOUTH MAIN STREET                                                            MOUNT VERNON        OH           43050
    Anne Renwick Boy                                                        35 Curtis Ave.                                                                   Somerville          MA           02144
    ANNE RITTENBERG LITERARY
    AGENCY INC                                                              15 MAIDEN LANE STE 206                                                           NEW YORK            NY           10038
    ANNE ROCKWELL                                                           124 RITCH AVENUE, B 104                                                          GREENWICH           CT           06830
    Anne Ruffell                                                            918 Windhaven Rd.                                                                Libertyville        IL           60048
    ANNE SAUNDERS                                                           2205 SW 21ST AVE                                                                 PORTLAND            OR           97201
    Anne Shamim                                                             42 Fresh Pond Place                                                              Cambridge           MA           02138
    ANNE SIBLEY OBRIEN                                                      50 MAPLE STREET                                                                  PEAKS ISLAND        ME           04108
    Anne Soukhanov                                                          512 Peaks Street                                                                 Bedford             VA           24523
    ANNE STEIN                                                              832 FOREST AVE                                                                   EVANSTON            IL           60202
    Anne Stewart                                                            12412 Harney Dr.                                                                 Orlando             FL           32828
    Anne Swanson                                                            157 Beacon Street                                                                Boston              MA           02116
    ANNE WALTON GISLESON                                                    719 CLOUET STREET                                                                NEW ORLEANS         LA           70117
    ANNE WATTS                                                              925 LAKEVILLE ST #213            FOR SASAKI RUTH FULLER                          PETALUMA            CA           94952
    ANNEMARIE D EDWARDS                                                     9176 LAKEVIEW PARKWAY                                                            VILLA RICA          GA           30180
    Annemarie Sorensen                                                      2353 MASS. AVE                   #97                                             CAMBRIDGE           MA           02140
    Annette Aspinwall                                                       4000 ALAN SHEPARD ST             APT 203                                         SACRAMENTO          CA           95834
    Annette Barlow                                                          8342 Thouron Avenue                                                              Philadelphia        PA           19150
    ANNETTE COOLIDGE                        DBA PHOTOPIA                    16533 ALENA CT                                                                   JUSTIN              TX           76247
    Annette Dillard                                                         233 Murphy Drive                                                                 Romeoville          IL           60446
    Annette Harrison                                                        4647 Miranda Circle                                                              Orlando             FL           32818
    Annette Kae Royal                                                       5177 Fenwood Lane                                                                Orlando             FL           32814
    Annette L Cooney                                                        205 HANSCOM RD                                                                   ELIOT               ME           03903
    Annette Morales                                                         Calle Olmo Z14                   Valle Hermoso Arriba                            Hormigueros         PR           00660
    ANNETTE N RUBERT ROSARIO                                                P O BOX 10222                                                                    SAN JUAN            PR           00926
    Annette Oswiecinski                                                     2065 N Kedzie Ave                213N                                            Chicago             IL           60647
    ANNETTE QUINONES                                                        CALLE OLMO Z14                                                                   HORMOGUEROS         PR           00660
                                                                                                             ORAN K GRAGSON ELEMENTARY
    ANNETTE RICKET SMITH                                                    555 NORTH HONOLULU ST            SCH                                             LAS VEGAS           NV           89110
    Annette Rosario-Iglesias                                                2007 Paprika Drive                                                               Orlando             FL           32837
    Annette Saunders                                                        14814 Great Willow Dr                                                            Austin              TX           78728
    ANNETTE TORRES ELIAS                                                    8117 CASE DR                                                                     PLANO               TX           75025
    ANNICK PRESS                                                            15 PATRICIA AVE                  ATTN MARION VOYSEY                              TORONTO             ON           M2M 1H9      Canada
    ANNIE BRODSKY                                                           4404 N WINCHESTER AVE, APT 33                                                    CHICAGO             IL           60640

    ANNIE LUBINSKY                          DBA FIREBIRD EDITORIAL SERVICES 15219 DAPHNE AVENUE                                                              GARDENA             CA           90249
    ANNIKA SARIN                            DBA SARIN DESIGN (TJUFEM) LLC   315 20TH STREET APT 3C                                                           BROOKLYN            NY           11215
    ANNISTON CITY MEETING CENTER                                            P O BOX 2168                                                                     ANNISTON            AL           36202
    ANNMARGARETH SALYER
    MAROUSKY                                                                3451 NW 93 WAY                                                                   SUNRISE             FL           33351
    Ann-Marie Imbornoni                                                     154 KING PHILLIPS PATHE                                                          MARSHFIELD          MA           02050
    AnnMarie Oakley                                                         3724 Cherry Walk                                                                 Williamsburg        VA           23188
    ANNMARIE URSO                                                           4540 YORK RD                                                                     LEICESTER           NY           14481

    ANNUNCIATION CATHOLIC ACADEMY ATTN LISA JONES                           593 JAMESTOWN BLVD                                                               ALTAMONTE SPRINGS   FL           32714
    ANOKA-HENNEPIN INDEPENT
    SCHOOL DIST                   # 11 - PURCHASING DEPARTMENT              2727 N FERRY ST                                                                  ANOKA               MN           55303
    ANOVA BOOKS                                                             10 SOUTHCOMBE STREET                                                             LONDON                           W14 0RA      United Kingdom
    Anqi Yao                                                                75 St. Alphonsus Street #307                                                     Boston              MA           02120
    ANSGAR WALK                                                             NEUES FELD 5                                                                     BIELEFELD                        D-33619      Germany
    ANSLEY TIMOTHY N                                                        168 DARTMOUTH STREET                                                             IOWA CITY           IA           52245
    ANTENNA AUDIO INC                                                       316 CHANDLERS WAY                                                                LITITZ              PA           17543
    ANTENNA AUDIO INC                                                       P O BOX 203038                                                                   DALLAS              TX           75320-3038
    ANTHEA BELL                                                             9 SAFFRON ROAD                                                                   HISTON CAMBRIDGE                 CB24 9LJ     United Kingdom
    Anthem BC&BS                                                            PO Box 541013                                                                    Los Angeles         CA           90054-1013
    Anthem Blue Cross&Blue Shield                                           Dept. 63                                                                         Denver              CO           80281-0063
    ANTHOLOGY INC                 DBA RR DONNELLEY                          37215 EAGLE WAY                                                                  CHICAGO             IL           60678-1372
    ANTHOLOGY INC                                                           37215 EAGLE WAY                                                                  CHICAGO             IL           60678
    ANTHOLOGY INC                                                           37215 EAGLE WAY                                                                  CHICAGO             IL           60678-1372
    Anthony Babbs                                                           10304 Madison Park Ct                                                            Clermont            FL           34711
    ANTHONY BISCIONE                                                        102-38 NICOLLS AVENUE                                                            CORONA              NY           11368
    Anthony Bordon                                                          303 Marlborough Street                                                           Boston              MA           02116
    Anthony C Ulintz                                                        10503 Cory Lake Dr.                                                              Tampa               FL           33647
    Anthony Czyzyk                                                          2412 Oneida Lane                                                                 Naperville          IL           60563
    ANTHONY D SOUZA                                                         7453 WASHINGTON AVENUE                                                           ST LOUIS            MO           63130
    ANTHONY DOERR                                                           164 E HULLS RIDGE COURT                                                          BOISE               ID           83702
    Anthony Dunbar                                                          3169 Garapan                                                                     Dallas              TX           75224
    ANTHONY EDGEWORTH             DBA EDGEWORTHEDITIONS                     11739 ST ANDREWS PL, SUITE 102                                                   WELLINGTON          FL           33414
    Anthony English                                                         P.O. Box 1441                                                                    Lake Dallas         TX           75065



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       24 of 488                                                                                       1:26 PM
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                                                                                                              32 of      519
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                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                       Address2              Address3              City          State       Zip              Country
    Anthony Falanga                                                        51 Pine Street                                                                 Stoneham           MA            02180
    ANTHONY FREDERICKS                                                     5600 FISH AND GAME ROAD                                                        DOVER              PA            17315
    Anthony Graci                                                          10044 Hidden Dunes Lane                                                        Orlando            FL            32832
    Anthony Henning                                                        180 S. Waters Edge               Unit #102                                     Glendale Heights   IL            60139
    ANTHONY IANNONE                                                        4701 DAWNWOOD DRIVE                                                            CHARLOTTE          NC            28212
    Anthony Irvin                                                          3572 Edgewater Lane                                                            Brookhaven         PA            19015
    ANTHONY J BOUCHARD                                                     130 DAISY FARMS DRIVE                                                          NEW ROCHELLE       NY            10804-1034
    Anthony J Kubacki                                                      5224 Central Avenue                                                            Western Springs    IL            60558
    Anthony J Piperno                                                      2133 Crop Circle                                                               Warrington         PA            18976

    ANTHONY J REID                          POLITICAL & SOCIAL CHANGE DEPT AUSTRALIAN NATIONAL UNVIERSITY 15C, CAP HEADLEY BULL BLDNG 130                 CANBERRA                         00200        Australia
    ANTHONY KOZAKIEWICZ                                                    204 PLUM ORCHARD CT                                                            SIMPSONVILLE       SC            29681
    Anthony Kramer                                                         11405 Twelve Oaks Way                                                          North Palm Beach   FL            33408
    ANTHONY LUCKI                                                          609 CUTTER LANE                                                                LONGBOAT KEY       FL            34228
    Anthony M Montes                                                       2280 Cedar Point Ct.                                                           Elgin              IL            60123
    Anthony Marino                                                         10544 Boca Pointe Drive                                                        Orlando            FL            32836
    Anthony Martinez                                                       14124 S. Hemingway Cir                                                         Plainfield         IL            60544
    ANTHONY MORESCHI                                                       221 MAIN STREET                                                                DANVILLE           NH            03819
    ANTHONY PANARIELLO                                                     15660 LANCELOT CT                                                              DAVIE              FL            33331
    ANTHONY PETROSKY                                                       1109 DEVICTOR PL                                                               PITTSBURGH         PA            15206
    ANTHONY PHELPS                                                         5582 AVE DECELLES APP 3                                                        MONTREAL                         H3T 1W5      Canada
    ANTHONY SALCITO                                                        650 BELLEVUE WAY 3605                                                          BELLEVUE           WA            98004
    ANTHONY THWAITE                                                        LOW THARSTON                   THE MILL HOUSE                                  NORFOLK                          NR15 2YN     United Kingdom
    Anthony W Artuso                                                       99 Malvern Street                                                              Melrose            MA            02176
    ANTHONY WOJCICKI                                                       2524 N 83RD ST                                                                 WAUWATOSA          WI            53213-1027
    Anthony Zubinski                                                       6N620 Splitrail Lane                                                           St Charles         IL            60175-6932

    ANTILLIAN SERVICES CORPORATION                                         P O BOX 3175                                                                   ROAD TOWN          British                    Virgin Islands
    ANTIQUA INC                                                            20969 VENTURA BLVD # 11                                                        WOODLAND HILLS     CA            91364
    ANTIQUARIAN IMAGES                                                     PO BOX 20                                                                      CHISLEHURST        Kent          BR7 5SZ      United Kingdom
    ANTOINE MARIE-CLAIRE                                                   760 WEST END AVENUE #16E                                                       NEW YORK           NY            10025
    ANTOINETTE CZEKANSKI                                                   P O BOX 400159                                                                 CAMBRIDGE          MA            02140
    ANTOINETTE DUNBAR              DBA DUNBAR CONSULTING                   2283 DAYBREAK DRIVE                                                            LAVERNE            CA            91750
    Antoinette Haluga                                                      1009 Furnace Brook Parkway                                                     Quincy             MA            02169
    Antoinette M Brown                                                     600 Viana Court                                                                Winter Springs     FL            32708
    Antoinette Majewski                                                    378 Willow Street                                                              Bridgeport         CT            06610
    Antoinette Powell                                                      69 Fox Hollow Rd                                                               Woodbury           NY            11797
    Antoinette Raggio                                                      519 W Main St                                                                  Raymond            MS            39154
    Anton Mueller                                                          29 Yale Ter # 2                                                                Jamaica Plains     MA            02130
    ANTONIA CAMERON                                                        77 WEST 104TH STREET 3B                                                        NEW YORK           NY            10025
    Antonia Rudenstine                                                     42 High Street                                                                 Malden             MA            02148
    Antonio Crespo Jr                                                      11326 Isle Of Waterbridge Blvd   105                                           Orlando            FL            32837
    Antonio Estrada                                                        1812 Bridle Post Drive                                                         Aurora             IL            60506
    ANTONIO KERRIGAN LITERARY                                              TRAVESERA DE GRACIA 22, 1ST,
    AGENCY                                                                 2ND                                                                            BARCELONA                        08021        Spain
    ANTONIO L LLORENS GOMEZ                                                ASHFORD 1020 LA RADA 311                                                       SAN JUAN           PR            00907
    Antony Thomas                                                          5607 Highland Drive                                                            Palatine           IL            60067
    Antwone McDaniel                                                       4012 Fair Park Dr                                                              Fort Worth         TX            76115
    ANUPORN ROENGCHAI                                                      518 FOURTH AVENUE                                                              PELHAM             NY            10803
    AOKI ELAINE M                                                          2009 BROADWAY EAST                                                             SEATTLE            WA            98102
    AP WATT LTD                    LITERARY AGENTS                         20 JOHN STREET                                                                 LONDON                           WC1N 2DR     United Kingdom
    AP WIDE WORLD PHOTOS                                                   PO BOX 414262                                                                  BOSTON             MA            02241-4262
    APC Workforce Solutions LLC    Jinnene Marin                           420 S. Orange Avenue             Suite 600                                     Orlando            FL            32801-4902
    APC WORKFORCE SOLUTIONS LLC DBA ZEROCHAOS                              420 S ORANGE AVENUE STE 600                                                    ORLANDO            FL            32801
    APC WORKFORCE SOLUTIONS LLC ATTN CANDICE HIXSON                        420 S ORANGE AVENUE STE 600                                                    ORLANDO            FL            32801
    APEX SYSTEMS INC                                                       3750 COLLECTIONS CENTER DRIVE                                                  CHICAGO            IL            60693
    APOLLO CAPITAL MANAGEMENT,
    L.P.
    Apollo Credit Management LLC
    APPALACHIAN ST UNIV            UNIVERSITY BOOKSTORE                    219 COLLEGE STREET                                                             BOONE              NC            28608
    APPALACHIAN STATE UNIVERSITY                                                                            DOLLY FARRELL - REICH COLLEGE
    FOUNDATION                                               P O BOX 32038                                  OF EDUC                                       BOONE              NC            28608
                                                             13910 CERRITOS CORPORATIVE
    APPERSON PRINT RESOURCES INC APPERSON EDUCATION PRODUCTS DRIVE                                                                                        CERRITOS           CA            90703
    APPEXTREMES INC                                          2655 W MIDWAY BLVD SUITE 220                                                                 BROOMFIELD         CO            80020
    APPLABS INC                                              DEPT CH 17471                                                                                PALATINE           IL            60055-7471
    APPLE INC                                                PO BOX 281877                                                                                ATLANTA            GA            30384-1877
    APPLE MARGOT                                             23 MARCH ROAD                                                                                SHELBURNE FALLS    MA            01370
    APPLEBAUM DIANA                                          39 CLAREMONT AVENUE #24                                                                      NEW YORK           NY            10027
    APPLEBEE ARTHUR                                          103 NEW SALEM SOUTH ROAD                                                                     VOOPERSVILLE       NY            12186



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    25 of 488                                                                                        1:26 PM
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                                                                                                                  33 of      519
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                                                                                                                     First Class Service List


                  CreditorName                        CreditorNoticeName                 Address1                         Address2                         Address3                       City          State        Zip             Country
    APPLEBY                                                                 33-37 ATHOL STREET                                                                                  DOUGLAS                         IM1 1LB      Isle Of Man
    APPLEGATE KATHERINE                                                     68 RED HILL CIRCLE                                                                                  TIBURON            CA           94920
    APPLIED GLOBAL TECHNOLOGIES
    INC                                                                     1006 PATHFINDER WAY                                                                                 ROCKLEDGE          FL           32955
    APPPERFECT CORPORATION                                                  11651 TIMBER SPRING COURT                                                                           CUPERTINO          CA           95014
    APPSTREAM INC                                                           2300 GENG ROAD SUITE 100                                                                            PALO ALTO          CA           94303
    APPY CHRISTIAN                                                          60 RED GATE LANE                                                                                    AMHERST            MA           01002
    April Baglole                                                           134 Pine Street                #1                                                                   Cambridge          MA           02139
    APRIL CARSON                                                            1918 CHESTNUT AVENUE                                                                                DALHART            TX           79022
    APRIL D PIVER MACLAGA                                                   4313 WORLEY DRIVE                                                                                   RALEIGH            NC           27613
    APRIL EMMERT                                                            3003 NE 165th PL                                                                                    VANCOUVER          WA           98682
    April Guidry                                                            3213 B Eagle Blvd                                                                                   Orlando            FL           32804
    April Meagher                                                           11 Sanborn Road                                                                                     Orinda             CA           94563
    April Warn                                                              12111 Grey Rock Lane                                                                                Austin             TX           78750
    APRIL WELLS                                                             4165 BROOKSTONE LANE                                                                                BELVIDERE          IL           61008
    April Wills                                                             1923 Windsong Dr.                                                                                   Schaumburg         IL           60194
    APRIL ZWICK                                                             2019 ABRAMA RD                                                                                      DALLAS             TX           75214
    APRIMO INC                                                              900 EAST 96TH STREET STE 400                                                                        INDIANAPOLIS       IN           46240
    Apropos Consulting, LLC                                                 1235 S. Ogden Street                                                                                Denver             CO           80210
    Apryl Edlund                                                            312 East Street                                                                                     West Bridgewater   MA           02379
    Apryl Tucker                                                            9401 Castle Pines Drive                                                                             Austin             TX           78717
    APTARA INC                                                              PO BOX 13963                                                        13963 COLLECTION CENTER DRIVE   CHICAGO            IL           60693
    AQUA PAPARAZZI INC                                                      PO BOX 46538                                                                                        LOS ANGELES        CA           90046
    AQUAPRIX INC                                                            P O BOX 644006                                                                                      CINCINNATI         OH           45264-4006
    AQUINAS ACADEMY                                                         340 NORTH MAIN STREET                                                                               GREENSBURG         PA           15601
    ARA MORTON                                                              20 PRATT STREET                                                                                     ALLSTON            MA           02143
    ARABELL H YOUNG                                                         15-5 CLUB CT                                                                                        OSSINING           NY           10562
    ARAGI INC                               NICOLE ARAGI                    143 WEST 27TH ST - #4-F                                                                             NEW YORK           NY           10001
    ARAGI INC                                                               143 W 27TH #4F                                                                                      NEW YORK           NY           10001
    ARALDO DE LUCA S A S                                                    VIA ANTONIO GARBASSO 19                                                                             ROMA                            00146        Italy
    ARAMARK AT PNC PARK                                                     CATERING SALES DEPARTMENT                                                                           PITTSBURGH         PA           15212
    ARAMARK CORPORATION                     dba ARAMARK EDUCATION           1199 BELT LINE RD SUITE 160                                                                         COPPELL            TX           75019
    ARAMARK CORPORATION                     ATTN ARAMARK BUSINESS SRVCS     9400 SOUTHPARK CENTER LOOP                                                                          ORLANDO            FL           32819
    ARAMARK CORPORATION                                                     1199 BELT LINE RD SUITE 160                                                                         COPPELL            TX           75019
    ARAMARK CORPORATION                                                     9400 SOUTHPARK CENTER LOOP                                                                          ORLANDO            FL           32819
    ARAMARK CORPORATION                                                     PO BOX 22775                                                                                        LAKE BUENA VISTA   FL           32830
    ARAMARK REFRESHMENT
    SERVICES                                                                2120 HUTTON - SUITE 100                                                                             CARROLLTON         TX           75006-6855
    ARAMARK REFRESHMENT
    SERVICES                                                                5073 MARTIN LUTHER KING FRWY                                                                        FORT WORTH         TX           76119
    ARAMARK Refreshment Services                                            5180 Smith Road                Suite F                                                              Denver             CO           80216
    ARAMARK REFRESHMENTS
    SERVICES                                                                2212 WILSON ROAD                                                                                    COLUMBUS           OH           43228
    ARAMARK SERVICES INC                    ATTN MICHELLE KRAGULSKI         2300 WARRENVILLE ROAD                                                                               DOWNERS GROVE      IL           60515
    ARAMARK SERVICES INC                                                    222 BERKELEY ST.                                                    HOUGHTON MIFFLIN                BOSTON             MA           02116
    ARAMARK SERVICES INC                                                    2300 WARRENVILLE ROAD                                                                               DOWNERS GROVE      IL           60515
    ARANSAS COUNTY ISD                                                      P O BOX 907                                                                                         ROCKPORT           TX           78381
    ARBOR MATERIAL HANDLING INC                                             2465 MARYLAND ROAD                                                                                  WILLOW GROVE       PA           19090
    ARC DISPOSAL COMPANY INC                ARC DISPOSAL & RECYCLING        P O BOX 9001154                                                                                     LOUISVILLE         KY           40290-1154
    ARCADIA ENTERPRISES INC                                                 PO BOX 206                                                                                          FRUITLAND          MD           21826
    ARCHDIOCESE FO LOS ANGELES              OFFICE OF RELIGIOUS EDUCATION   3424 WISHIRE BLVD                                                                                   LOS ANGELES        CA           90010
    ARCHDIOCESE OF AGANA                                                    196B CUESTA SAN RAMON                                                                               AGANA                                        Guam
    ARCHDIOCESE OF ATLANTA                                                  2401 LAKE PARK DR SE                                                                                ATLANTA            GA           30080
                                                                                                           DIV OF EVANGELIZATION &
    ARCHDIOCESE OF BALTIMORE                                                320 CATHEDRAL STREET           CATECHESIS                                                           BALTIMORE          MD           21201
                                            OFF OF RELIGIOUS EDU - ATTN
    ARCHDIOCESE OF BOSTON                   SUSAN KAY                       66 BROOKS DR                                                                                        BRAINTREE          MA           02184
    ARCHDIOCESE OF CHICAGO                  OFFICE OF CATHOLIC SCHOOLS      835 N RUSH ST                                                                                       CHICAGO            IL           60611
    ARCHDIOCESE OF CHICAGO                  ATTN MIRIAM SHABO               835 N RUSH ST                                                                                       CHICAGO            IL           60611
    ARCHDIOCESE OF CINCINNATI               CATHOLIC SCHOOL OFFICE          100 EAST EIGHTH ST                                                                                  CINCINNATI         OH           45202
    ARCHDIOCESE OF DENVER                                                   P O BOX 124                                                                                         LONGMONT           CO           80501
    ARCHDIOCESE OF HARTFORD                 OFFICE OF RELIGIOUS EDUC        467 BLOOMFIELD AVENUE                                                                               BLOOMFIELD         CT           06002-2903
    ARCHDIOCESE OF LOS ANGELES              THE TIDINGS CORPORATION         3424 WILSHIRE BOULEVARD                                                                             LOS ANGELES        CA           90010-2202
    ARCHDIOCESE OF MIAMI                    DEPARTMENT OF SCHOOLS           9401 BISCAYNE BOULEVARD                                                                             MIAMI SHORES       FL           33138
    ARCHDIOCESE OF MIAMI                    ANGELA BOULEVARD                9401 BISCAYNE BOULEVARD                                                                             MIAMI SHORES       FL           33138
    ARCHDIOCESE OF MILWAUKEE                                                3501 SOUTH LAKE DRIVE                                                                               MILWAUKEE          WI           53207-0912
    ARCHDIOCESE OF NEW YORK                 REGIONAL CATECHETICAL OFFICE    56 DUNSTON AVE                                                                                      YONKERS            NY           10701
    ARCHDIOCESE OF NEW YORK                                                 1011 FIRST AVENUE              DEPARTMENT OF EDUCATION                                              NEW YORK           NY           10022
    ARCHDIOCESE OF NEW YORK                                                 56 DUNSTON AVE                                                                                      YONKERS            NY           10701




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                     26 of 488                                                                                                            1:26 PM
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                                                                                                                   34 of      519
                                                                                                                           Matrix
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                         Address2                         Address3                    City          State       Zip            Country

    ARCHDIOCESE OF NEWARK                                                   171 CLIFTON AVENUE, P O BOX 9500                                                                  NEWARK             NJ           07104

    ARCHDIOCESE OF OKLAHOMA CITY                                            P O BOX 32180                                                                                     OKLAHOMA CITY      OK           73123-0380
    Archdiocese of Omaha         Marilyn Wiebelhaus                         3212 North 60th St                 POB 4130                                                       Omaha              NE           68104-0130
    ARCHDIOCESE OF OMAHA                                                    3212 NO 60TH ST BLDG A             CATHOLIC SCHOOLS OFFICE                                        OMAHA              NE           68104-0130
                                                                                                                                                 ATTN REGINA DIGUILO OFF OF
    ARCHDIOCESE OF PHILADELPHIA                                             222 NORTH 17TH ST                                                    CATECHETICAL                 PHILADELPHIA       PA           19103
    ARCHDIOCESE OF PORTLAND                 ATTN ROBERT MIZIA               2838 EAST BURNSIDE STREET                                                                         PORTLAND           OR           97214-1895
    ARCHDIOCESE OF SAN ANTONIO              ATTN DOTTIE LOPEZ               2718 W WOODLAWN AVENUE                                                                            SAN ANTONIO        TX           78228

    ARCHDIOCESE OF SAN FRANCISCO            DEPT OF CATHOLIC SCHOOLS        ONE PETER YORKE WAY                                                                               SAN FRANCISCO      CA           94109
    ARCHDIOCESE OF SANTA FE                 ROBIN                           40000 ST JOSEPH PI NW                                                                             ALBUGUERGUE        NM           87120
    ARCHDIOCESE OF SANTA FE                 CATOLIC SCHOOLS OFFICE          40000 ST JOSEPH PI NW                                                                             ALBUGUERGUE        NM           87120
    ARCHDIOCESE OF SEATTLE                                                  710 9TH AVENUE                                                                                    SEATTLE            WA           98104
    ARCHDIOCESE OF ST LOUIS                 ATTN KATHY SCHOEN               20 ARCHBISHOP MAY DRIVE                                              CATHOLIC EDUCATION OFFICE    ST LOUIS           MO           63119
    ARCHDIOCESE OF ST PAUL &
    MINNEAPOLIS                             ATTN ERIC PEDERSON              328 WEST KELLOGG BLVD                                                                             ST PAUL            MN           55102
    ARCHDIOCESE OF WASHINGTON               ATTN KELLY BRANAMAN             PO BOX 29260                                                                                      WASHINGTON         DC           20017-0260
    Archer & Greiner, P.C.                  Jerrold S. Kulback Esq          One Centennial Square                                                                             Haddonfield        NJ           08033
    ARCHER & GRENIER P C                                                    ONE CENTENNIAL SQUARE                                                                             HADDONFIELD        NJ           08033
    ARCHI PLLC                                                              2211 AZALEA LANE                                                                                  BILLINGS           MT           59102
    ARCHIE FERGUSON                                                         250 CABRINI BLVD 1A                                                                               NEW YORK           NY           10033
    ARCHIVE DATA SOLUTIONS LLC                                              6864 PAYSPHERE CIRCLE                                                                             CHICAGO            IL           60674
    ARCHWAY - OKLAHOMA
    ARCHWAY SCM LLC                         ARCHWAY MARKETING SERVICES      DEPT 4599                                                                                         CAROL STREAM       IL           60122-4599
    ARCOIRIS RECORDS INC                    ATTN JOSE-LUIS OROZCO           P O BOX 461900                                                                                    LOS ANGELES        CA           90046
    ARCSOFT INC                                                             46601 FREMONT BLVD                                                                                FREMONT            CA           94538
    ARDEA                                                                   35 BRODRICK ROAD                   WANDSWORTH COMMON                                              LONDON                          SW17 7DX     United Kingdom
    ARDELL ELIZABETH                                                        10599 NW LE MANS CT                                                                               PORTLAND           OR           97229
    ARDITH COLE                                                             824 57th STREET                                                                                   PORT TOWNSEND      WA           98368
    ARDSLEY UNION FREE SCHOOL
    DISTRICT                                BOARD OF EDUCATION              500 FARM ROAD                                                                                     ARDSLEY            NY           10502
    AREA 9                                                                  54 NORTH HERMITAGE                                                                                CHICAGO            IL           60612
    ARENA SUSAN L                           SUSAN L ZUMDAHL                 126 LAKE ROAD                                                                                     SEYMOUR            IL           61875
    Ares Management
    ARES PRINTING AND PACKAGING                                             63 FLUSHING AVE # 224 BLDG 5                                                                      BROOKLYN           NY           11205
    Aretha Whitehead                                                        2131 Messina Ave                                                                                  Orlando            FL           32811
    ARGOSY                                                                  109 OAK ST - 2RD FLR                                                                              NEWTON             MA           02464
    Argyris Anargyros                                                       2470 Wilton Ln                                                                                    Aurora             IL           60502
    ARHOOLIE PRODUCTIONS INC                                                10341 SAN PABLO AVE                                                                               EL CERRITO         CA           94530
    ARIANNE KERR                                                            8116 N IVORY ROSE                                                                                 TUCSON             AZ           85741
    ARIBA INC                                                               P O BOX 642962                                                                                    PITTSBURGH         PA           15264-2962
    ARIEL LEVY                                                              477 WEST 22ND STREET                                                                              NEW YORK           NY           10011

    ARIZONA ASSOCIATION OF SCHOOL           PSYCHOLOGISTS                   10221 N 32ND STREET SUITE D                                                                       PHOENIX            AZ           85028
    ARIZONA ASSOCIATION OF
    TEACHERS OF                             MATHEMATICS                     3687 TILLER PL                     ATTN KEN DANLEY                                                LAKE HAVASU CITY   AZ           86404
    Arizona Corporation Commission                                          1300 West Washington                                                                              Phoenix            AZ           85007-2929
    ARIZONA CORRECTIONAL                    ATTN DRISANA ROSE - SYMPOSIUM
    EDUCATORS INC                           COORD                         5110 NORTH 40TH STREET STE 106                                                                      PHOENIX            AZ           85018
    ARIZONA COUNCIL FOR THE SOCIAL
    STUDIES                                                                 PO BOX 24839                                                                                      TEMPE              AZ           85385
    ARIZONA DEPARTMENT OF
    EDUCATION                                                               1535 W JEFFERSON STREET BIN # 5 ATTN TERESA WOLFE                                                 PHOENIX            AZ           85007
    Arizona Department of Revenue                                           PO Box 29079                                                                                      Phoenix            AZ           85038-9079
    Arizona Dept of Revenue                 Attn Bankruptcy Dept            1600 West Monroe St                                                                               Phoenix            AZ           85007
    ARIZONA DEPT OF REVENUE                                                 P O BOX 29010                                                                                     PHOENIX            AZ           85038-9010
    ARIZONA ENGLISH TEACHERS
    ASSOCIATION                             ATTN ALISON FURLONG             4005 LAKE MARY # 10                                                                               FLAGSTAFF          AZ           86001
    ARIZONA FAMILIES FOR HOME
    EDUCATION                               AFHE EXHIBIT HALL COORDINATOR   PO BOX 8291                                                                                       FORT MOHAVE        AZ           86427
    ARIZONA HISPANIC SCHOOL
    ADMINSTRS ASSN                                                          P O BOX 18271                                                                                     PHOENIX            AZ           85005

    ARIZONA LANGUAGE ASSOCIATION            ATTN KATHLEEN BACKALUKAS        3415 EAST FAIRBROOK STREET                                                                        MESA               AZ           85213-5501
    ARIZONA READING ASSOCIATION                                             5441 E BURNS                       ATTN SHIRLEY DUFFY                                             TUCSON             AZ           85711
    ARIZONA SCHOOL
    ADMINISTRATORS INC                                                      1910 W WASHINGTON ST                                                                              PHOENIX            AZ           85009




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      27 of 488                                                                                                        1:26 PM
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                                                                                                                     35 of      519
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                                                                                                                       First Class Service List


              CreditorName                            CreditorNoticeName                    Address1                            Address2                        Address3                         City         State       Zip            Country
    ARIZONA SCIENCE TEACHERS
    ASSOCIATION                                                              400 E VAN BUREN STE 200                                              ONE ARIZONA CENTER               PHOENIX               AZ           85004
    ARIZONA STATE UNIVERSITY                UNIVERSITY ARCHIVES              PO BOX 871006                                                                                         TEMPE                 AZ           85287
    ARIZONA STATE UNIVERSITY                BOOKSTORE                        525 E ORANGE STREET                                                                                   TEMPE                 AZ           85287
                                            BILINGUAL PRESS/ EDITORIAL
    ARIZONA STATE UNIVERSITY                BILINGUE                         PO BOX 875303                                                        HISPANIC RESEARCH CENTER         TEMPE                 AZ           85287-5303
    ARIZONA STATE UNIVERSITY                                                 525 E ORANGE STREET                                                                                   TEMPE                 AZ           85287
    ARIZONA STATE UNIVERSITY                                                 PO BOX 871006                                                                                         TEMPE                 AZ           85287
    ARIZONA STATE UNIVERSITY                                                 PO BOX 875303                                                        HISPANIC RESEARCH CENTER         TEMPE                 AZ           85287-5303
    ARIZONA STATE UNIVERSITY
    FOUNDATION                              INSTITUTE OF HUMAN ORIGINS       P O BOX 874101                                                                                        TEMPE                 AZ           85287-4101
    ARIZONA TECHNOLOGY IN EDUC                                               1753 EAST BROADWAY, STE 101 PMP
    ALLIANCE                                                                 292                                                                                                   TEMPE                 AZ           85282
    ARKANSANS FOR GIFTED &                                                                                     ATTN JO VANDERSPIKKEN/BOB
    TALENTED EDUC                                                            P O BOX 8 (PDC BUILDING)          NICHOLS                                                             SPRINGDALE            AR           72765
    ARKANSAS ASSN FOR SUPERVISION
    AND                                     CURRICULUM DEVELOPMENT           227 S R 333 SOUTH                                                                                     RUSSELLVILLE          AR           72802
    ARKANSAS ASSN OF ALTERNATIVE
    EDUCATORS                                                                894 ALOHA LANE                    ATTN SHERRY CHANDLER                                                LONSDALE              AR           72087
    ARKANSAS ASSN OF CONTINUING &
    ADULT                                   EDUCATION                        525 WEST CAPITOL                                                                                      LITTLE ROCK           AR           72201
    ARKANSAS ASSN OF CONTINUING &
    ADULT                                   ATTN SANDRA MILLER               525 WEST CAPITOL                                                                                      LITTLE ROCK           AR           72201

    ARKANSAS ASSN OF EDUCATIONAL            ADMINISTRATORS                   219 SOUTH VICTORY                                                                                     LITTLE ROCK           AR           72201
    ARKANSAS ASSN OF MIDDLE LEVEL
    EDUCATION                                                                P O BOX 2120                                                                                          LITTLE ROCK           AR           72203
    ARKANSAS ASSOC FED
    COORDINATORS                            ATTN DOUG ASK                    219 S VISTORY                                                                                         LITTLE ROCK           AR           72201
    ARKANSAS ASSOC OF ELEM SCH
    PRINCIPALS                                                               219 S VICTORY                                                                                         LITTLE ROCK           AR           72201
    ARKANSAS CURRICULUM
    CONFERENCE                              DIMSE - ATTN CYNTHIA A MILLER    ARKANSAS STATE UNIV BOX 2338                                                                          HOT SPRINGS VILLAGE   AR           71909
    ARKANSAS DEMOCRAT-GAZETTE                                                PO BOX 2221                                                                                           LITTLE ROCK           AR           72203
    Arkansas Department of Finance          and Administration               P.O. Box 3861                                                                                         Little Rock           AR           72203-3861
    ARKANSAS DEPT OF EDUCATION                                               1401 W CAPITOL, STE 450           ATTN DEBBIE ZERINGUE                                                LITTLE ROCK           AR           72201
    Arkansas Dept of Finance &
    Administration                          Attn Revenue Legal Counsel       Ledbetter Building                1816 W 7th St, Room 2380                                            Little Rock           AR           72201
    ARKANSAS DEPT OF FINANCE AND
    ADMIN                                                                    PO BOX 1272                                                                                           LITTLE ROCK           AR           72203
    ARKANSAS DEPT OF FINANCE AND
    ADMIN                                                                    PO BOX 3861                                                                                           LITTLE ROCK           AR           72201-3861
    ARKANSAS EARLY CHILDHOOD
    ASSOC                                                                    PO BOX 2898                                                                                           LITTLE ROCK           AR           72203
    ARKANSAS FEDERATION OF THE
    CEC                                                                      1932 CALDWELL                                                                                         CONWAY                AR           72034
    ARKANSAS FOREIGN LANGUAGE
    TEACHERS                                ATTN MS SHERRIE RAY              2801 S UNIVERSITY AVENUE                                                                              LITTLE ROCK           AR           72204
    ARKANSAS FOREIGN LANGUAGE
    TEACHERS                                ASSOCIATION                      2801 S UNIVERSITY AVENUE                                                                              LITTLE ROCK           AR           72204
    ARKANSAS PUBLIC SHCOOL                  RESOURCE CENTER                  1401 W CAPITOL STE 465            ATTN BETH MCCULLOUGH                                                LITTLE ROCK           AR           72201-2936
    Arkansas Secretary of State             Dept. of Finance/Admin.          PO Box 1272                       Sales and Use Tax Section                                           Little Rock           AR           72203-1272
    Arkansas Secretary of State             Dept. of Finance & Administrat   P.O. Box 919                                                         Corporation Income Tax Section   Little Rock           AR           72203-0919
    ARKANSAS TECH UNIVERSITY                BOOKSTORE                        209 WEST O STREET YOUNG BLDG                                                                          RUSSELLVILLE          AR           72801
    Arkansas Tech. Univ. Bookstore                                           209 West O Street                 Young Building                                                      Russellville          AR           72801-2222
    ARKANSAS TEXTBK PUBLISHERS
    ASSOC                                                                    6700 SLOANE DRIVE                                                                                     LITTLE ROCK           AR           72206
    Arlanda Bedard                                                           810 Childs                                                                                            WHEATON               IL           60187
    ARLANE FREDERICK                                                         6 SUGAR BERRY LANE                                                                                    WILLIAMSVILLE         NY           14221
    Arlen Percival                                                           105 Parkhollow Street                                                                                 Cary                  NC           27519
    ARLENE M BROPHY                                                          2148 BUTTERNUT DRIVE                                                                                  OKEMOS                MI           48864
    Arlene Mickley                                                           12409 Mclennan                                                                                        Granada Hills         CA           91344
    Arlinda Campbell                                                         19041 S. Anthony Ave                                                                                  Country Club Hills    IL           60478
    ARLINGTON CENTRAL SCH DIST                                               696 DUTCHESS TURNPIKE                                                                                 POUGHKEEPSIE          NY           12603
    ARLINGTON INDEPENDENT SCHOOL                                             1141 W PIONEER PARKWAY SUITE
    DISTRICT                                EDUCATION FOUNDATION             102                                                                                                   ARLINGTON             TX           76013
    Arliss L Oliver                                                          PO Box 81                                                                                             Raynham Center        MA           02768
                                                                             TILNEY ST LAWRENCE, NEAR KINGS
    ARLOTT NORMAN                                                            LYNN                           HILL HOUSE                                                             NORFOLK                                         United Kingdom
    ARLYNE M SARQUIS                                                         1514 LUPINE ROAD                                                                                      HEALDSBURG            CA           95448



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                          28 of 488                                                                                                            1:26 PM
                                                      12-12171-reg             Doc 136            Filed 07/15/12 Exhibit
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                                                                                                                36 of      519
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                                                                                                                      First Class Service List


                CreditorName                       CreditorNoticeName                      Address1                        Address2                        Address3                         City        State       Zip           Country
    ARMAH AYI KWEI                          PER ANKH PUBLISHERS              BP2                                                                                                POPENGUINE                                   Senegal
    ARMANDO MARTINEZ FRANCIA                URB PARQUE DEL RIO               CALLE # 151 VIA DEL PARQUE                                                                         TRUJILLO           PR           00976
    ARMENTO BEVERLY                                                          4562 LAKE VILLAGE DRIVE                                                                            DUNWOODY           GA           30338
    ARMER SALES INC                                                          5585 KILBOURNE DR                                                                                  LYNDHURST          OH           44124
    Armida P Sotomayor                                                       17905 CRENSHAW BLVD              #5                                                                TORRANCE           CA           90504
    Armida Ruiz                                                              118 Lakeside Drive               #424                                                              St. Charles        IL           60174
    ARMOUR PETER                                                             3847 25TH STREET                                                                                   SAN FRANCISCO      CA           94114

    ARMSTRONG ATLANTIC STATE UNIV BOOKSTORE                                  11935 ABERCORN STREET                                                                              SAVANNAH           GA           31419
                                  DBA ARMSTRONG DEVELOPMENT
    ARMSTRONG RACE REALTY CO      COMPANY                                    222 3RD AVE SE, STE 299                                                                            CEDAR RAPIDS       IA           52401
    Armstrong Teasdale
    ARMSTRONG TEASDALE LLP                                                   7700 FORSYTH BLVD STE 1800                                                                         ST LOUIS           MO           63105
    ARMY & AIR FORCE EXCHANGE
    SERVICE                       ATTN FA-C/CA                               P O BOX 660792                                                                                     DALLAS             TX           75266-0792
                                                                             URB ESTANCIAS DEL BOSQUE
    ARNALDO J CORTES MENDOZA                                                 NOGALES # 360                                                                                      CIDRA              PR           00739
    ARNDT URSULA                                                             74 GRAFENBERGER ALLEE                                                                              DUSSELDORF                      40237        Germany
    ARNE RICHARDS                                                            KANSAS ST UNIV LIB, DOCS DEPT                                                                      MANHATTAN          KS           66506
    ARNEL A BULAORO                                                          52193 WOODRIDGE DRIVE                                                                              SOUTH BEND         IN           46635
    Arnetta Carter                                                           1221 Hull Terrace                #3E                                                               Evanston           IL           60202
    ARNOLD ADOFF                                                             750 UNION STREET                                                                                   YELLOW SPRING      OH           45387
    ARNOLD ADOFF AGENCY                                                      BOX 293                                                                                            YELLOW SPGS        OH           45387
    ARNOLD KELLETT                                                           22 ASPIN OVAL KNARESBOROUGH                                                                        NORTH YORKS                     HG58EL       United Kingdom
    Arnold King                                                              12467 Beacontree Way                                                                               Orlando            FL           32837
    Arnold Mills                                                             187 Hatton St                    #3                                                                East Providence    RI           02914
    AROD CORP                                                                P O BOX 190749                   ATTN LISA GILSON                                                  DALLAS             TX           75219
    ARONSON MARC                                                             17 RIDGEWOOD TERRACE                                                                               MAPLEWOOD          NJ           07040
    Arquati Co. - USA                                                        1433 W. Frankford Road           Suite #100                                                        Carrollton         TX           75007
    ARREOLA DANIEL                                                           18 WINDMILL TRAIL SOUTH                                                                            PLACITAS           NM           87043
    ARRESTING IMAGES                                                         PO BOX 927                                                                                         WILBER             NE           68465
    ARRIAGA SECURITY &
    INVESTIGATIVE                           SOLUTIONS INC                    P O BOX 522                                                                                        SARATOGA           CA           95070
    ARRINGTON HARRIETTE                                                      109 CHARLTON DRIVE                                                                                 HAMPTON            VA           23666
    ARRINGTON LOCK AND SAFE INC                                              4270 CREEK PARK DR                                                                                 SUWANEE            GA           30024
    ARROW CONTAINER                                                          5343 COMMERCE SQUARE DRIVE                                                                         INDIANAPOLIS       IN           46237

    ARROW MESSENGER SERVICE INC                                              1322 W WALTON STREET                                                                               CHICAGO            IL           60642
    Arrow Stage Lines                                                        4220 South 52nd Street                                                                             Omaha              NE           68117
    ARROYO ANDREA                                                            3810 BROADWAY, APT 5G                                                                              NEW YORK           NY           10032-1523
    ART DIRECTORS & TRIP PHOTO
    LIBRARY                                                                  57 BURDON LANE                                                                                     CHEAM SURREY                    SM2 7BY      United Kingdom
    ART FOR TEACHERS INC                                                     2415 EAST TABLEROCK RD                                                                             BIOSE              ID           83712
    ART INSTITUTE OF CHICAGO                                                 116 SOUTH MICHIGAN AVE 10TH FL                                      IMAGING LICENSING DEPARTMENT   CHICAGO            IL           60603-6110
    ART INSTITUTE OF PHILADELPHIA           BOOKSTORE                        1622 CHESTNUT STREET                                                                               PHILADELPHIA       PA           19103
    ART RESOURCE                                                             536 BROADWAY -5TH FL                                                                               NEW YORK           NY           10012
    ART SCENE GALLERY LIMITED               2/F BUILDING 4                   50 MOGANSHAN RD                                                                                    SHANGHAI                        200060       China
    Art Smith                                                                1054 W Clifton Ave.                                                                                Redlands           CA           92373
    ART TECHNOLOGY GROUP INC                                                 DEPT CH 10843                                                                                      PALATINE           IL           60055-0843
    ART WOLFE INC                                                            1944 1ST AVE SOUTH                                                                                 SEATTLE            WA           98134-1406
    ART YOUNG                                                                29 STATION CT APT 401                                                                              GREENVILLE         SC           29601-2983
                                                                             175 EAST DELAWARE PLACE, STE
    ARTEFAQS CORPORATION                                                     5018                                                                                               CHICAGO            IL           60611
    ARTELLUS, LTD                                                            30 DORSET HOUSE                                                                                    GLOUCESTER PLACE                NW1 5AD      United Kingdom
    Artemio Flores                                                           1412 Paco Trail                                                                                    Denton             TX           76209
    ARTEMIS EDITORIAL                                                        1916 PEQUENO STREET                                                                                AUSTIN             TX           78757
    ARTHUR C AND EILEEN B SMITH             C/O EILEEN B SMITH, TRUSTEE OF
    FAMILY TRUST                            TRUST A                          1816 GOLDEN RAIN ROAD #1                                                                           WALNUT CREEK       CA           94595
    ARTHUR COX                              EARLSFRONT CENTER                EARLSFRONT TERRACE                                                                                 DUBLIN             Dublin       2            Ireland
    ARTHUR COX                                                               EARLSFRONT TERRACE                                                                                 DUBLIN             Dublin       2            Ireland
    Arthur Cox
    ARTHUR DAUDELIN                                                          3206 35TH AVENUE, APT B6                                                                           LONG ISLAND        NY           11106
    ARTHUR FURST                                                             4 NOON HILL AVE                                                                                    NORFOLK            MA           02056
    Arthur Galias                                                            2661 Via Blanca                                                                                    Carrollton         TX           75006
    Arthur Gallagher                                                         79 West Park Drive                                                                                 Wakefield          MA           01880
    ARTHUR GEISERT                                                           P O BOX 113                                                                                        BERNARD            IA           52032
    Arthur Germano                                                           2 Wheeler Street                                                                                   Lynnfield          MA           01940
    ARTHUR HOWARD                                                            406 WEST 48TH STREET             APT 2FW                                                           NEW YORK           NY           10036
    ARTHUR HYDE                                                              917 FOREST AVE                                                                                     OAK PARK           IL           60302
    ARTHUR I STERN                                                           1075 JACKSON STREET                                                                                BENICIA            CA           94510



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      29 of 488                                                                                                          1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                              PgCreditor
                                                                                                                 37 of      519
                                                                                                                         Matrix
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                            Address2                       Address3             City             State       Zip              Country
    Arthur Knapp                                                           46 Evergreen Rd                                                                             Reading               MA           01867
    ARTHUR L CHARLTON JR                                                   907 PORTER STREET                                                                           EASTON                PA           18042
    ARTHUR LESSNER SWIFT IV                                                886 VIA JUAN PAB10                                                                          SANTA JUAN BAUTISTA   CA           95045
    Arthur M Gallagher                                                     79 West Park Drive                                                                          Wakefield             MA           01880
    ARTHUR PINE ASSOCIATES, INC.            CARE OF INKWELL MANAGEMENT     521 FIFTH AVENUE SUITE 2600                                                                 NEW YORK              NY           10175
    ARTHUR SMITH                                                           199 KLINGER ROAD                                                                            WATERFORD             OH           45786
    ARTHUR WALEY ESTATE                     THE COTTAGE                    SUDBROOK LANE                                                                               SURREY                             TW10 7AT     United Kingdom
    ARTHUR YANUSHKA                                                        650 EAST PARKWAY SOUTH                                                                      MEMPHIS               TN           38104
    ARTIFICE INC                                                           PO BOX 1588                                                                                 EUGENE                OR           97440
    ARTIST PARTNERS LTD                     2E THE CHANDLERY               50 WESTMINSTER BRIDGE ROAD                                                                  LONDON                             SE1 7QY      United Kingdom
    Artistic Promotions, Ltd.                                              2168 South Birch Street                                                                     Denver                CO           80222
                                                                           536 BROADWAY 5TH FL (AT SPRING
    ARTISTS RIGHTS SOCIETY INC                                             ST)                                                                                         NEW YORK              NY           10012-3915
    ARTIZANS                                                               11136-75A STREET NW                                                                         EDMONTON              AB           T5B 2C5      Canada
    ARTLAB INC                                                             701 HASTAY BOULEVARD                                                                        EATON RAPIDS          MI           48827
    ARTNEWS LLC                                                            48 W 38TH STREET 9TH FL                                                                     NEW YORK              NY           10018
    ARTSINDIA.COM LLC                       DBA AICON GALLERY              35 GREAT JONES STREET                                                                       NEW YORK              NY           10012
    ARTURO J RIVERA GIBOYEAUX                                              CALLE MARLIN AZUL # 57                                                                      BAJA                  PR           00693
    Arturo Losoya                                                          1500 West Lynn                    #108                                                      Austin                TX           78703-3455
    ARTYULIA ILLUSTRATIONS LTD                                             29 BURLEIGH ROAD                                                     ST ALBANS              Hertfordshire                      AL1 5DH      United Kingdom
    ARU LLC                                 DBA ARU CHICAGO                625 N MICHIGAN AVENUE STE 2400                                                              CHICAGO               IL           60611
    AS- PRESS DI ALFIO SCIGLIANO                                           VIA GALLIANO 142/A                                                                          MISTERBIANCO (CT)     Catania      95045        Italy
    ASAP SOFTWARE                                                          P O BOX 95414                                                                               CHICAGO               IL           60694-5414
    ASAP WORLDWIDE                                                         492 BELLEVUE AVE                                                                            NEWPORT               RI           02840
    ASBURY COLLEGE                          ASBURY UNIVERSITY              ONE MACKLEM DRIVE                                                                           WILMORE               KY           40390
    ASCD                                    Membership Processing Center   P.O. Box 17035                                                                              Baltimore             MD           21298-8431
    Ascd                                                                   PO Box 79812                      Acct# 1134835                                             Baltimore             MD           21279-0812
    ASCD - Seminars                                                        1703 North Beauregard Street                                                                Alexandria            VA           22311-1714
    ASCD Utah                                                              2848 Brookburn Road                                                                         Salt Lake City        UT           84109
                                                                           25 NORTHWEST POINT BLVD, STE
    ASCENDER CORPORATION                                                   225                                                                                         ELK GROOVE VILLAGE    IL           60007
    ASCENSION PARISH                        SALES TAX AUTHORITY            PO BOX 1718                                                                                 GONZALES              LA           70707-1718
    ASEBA                                                                  1 S PROSPECT ST ROOM 6433                                                                   BURLINGTON            VT           05401-3456
    ASHEVILLE CITY SCHOOLS                  ATTN ACCOUNTS PAYABLE          P O BOX 7347                                                                                ASHEVILLE             NC           28802
    ASHEVILLE CITY SCHOOLS                  ASHEVILLE NORTH CAROLINA       P O BOX 7347                                                                                ASHEVILLE             NC           28802
                                            DBA SHERATON MINNEAPOLIS
    ASHFORD TRS LESSEE I LLC                WEST                           12201 RIDGEDALE DRIVE                                                                       MINNETONKA            MN           55305
    ASHLEY A ROBINSON                                                      370 FT WASHINGTON AVE APT 11                                                                NEW YORK              NY           10033
    Ashley Ahlborn                                                         9074 W. Phillips Dr.                                                                        Littleton             CO           80128
    Ashley B Toler                                                         11024 Legacy Drive                #203                                                      Palm Beach Gardens    FL           33410
    ASHLEY BROOK                            ESTATE OF DARE WRIGHT          136 CEDAR LANE                                                                              SANTA BARBARA         CA           93108
    Ashley Burns                                                           14738 Single Trace                                                                          Austin                TX           78728
    Ashley Demma                                                           622 W. Barry Ave.                 #2N                                                       Chicago               IL           60657
    Ashley Dobbs                                                           2708 Amesbury Lake Drive                                                                    Edmond                OK           73013
    ASHLEY GRAYSON LITERARY
    AGENCY                                                                 1342 18TH ST                                                                                SAN PEDRO             CA           90732

    ASHLEY GRAYSON LITERARY AGENT                                          1342 18TH STREET                  ATTN ASHLEY GRAYSON                                       SAN PEDRO             CA           90732
    Ashley Kurth                                                           291 Mount Auburn Street           Apt. A                                                    Watertown             MA           02472
    Ashley L Gilliam                                                       98 Longwood Ave                   Apt 2                                                     Brookline             MA           02446
    ASHLEY MOSS                                                            472 CATALPA ROAD                                                                            MILLBROOK             AL           36054
    ASHLEY TOLER                                                           2825 GREENBRIAR BLVD                                                                        WELLINGTON            FL           33414
    ASHUOG INC                                                             P.O. BOX 403339                                                                             ATLANTA               GA           30384

    ASI COMPUTER TECHNOLOGIES INC                                          48289 FREMONT BLVD                                                                          FREMONT               CA           94538
    ASIA NETWORK CO LTD                                                    107 MAISON SURIZE 22-11                                                                     SHIBUYA-KU TOKYO      Tokyo-to     1500031      Japan
    ASIAN AMERICAN LITERARY
    AWARDS                                                                 110-112 WEST 27TH STREET 6TH FL                                                             NEW YORK              NY           10001
    ASIAN AMERICAN RESOURCE
    WORKSHOP                                                               888 WASHINGTON ST STE 102                                                                   BOSTON                MA           02111-1446
    ASIAN AMERICAN WRITERS
    WORKSHOP                      16 WEST 32ND ST                          SUITE 10-A                                                                                  NEW YORK              NY           10001
    ASIAN ART MUSEUM FOUNDATION                                            200 LARKIN STREET                                                                           SAN FRANCISCO         CA           94102
    ASILOMAR CONF EXHIBITS CHAIR                                           117 HIDDEN VALLEY COURT                                                                     SANTA ROSA            CA           95404
    ASILOMAR REGIONAL READING
    CONF                          ATTN RITA STRINGARI                      316 ARBOL DRIVE                                                                             WATSONVILLE           CA           95076
    Asion Jackson                                                          10829 Kling St.                                                                             Toluca Lake           CA           91602
    ASKEY RICHARD                                                          2105 REGENT ST                                                                              MADISON               WI           53726
    Asmahan Thompson                                                       501 West 24th Place # 904                                                                   Chicago               IL           60616




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                       30 of 488                                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                PgCreditor
                                                                                                                   38 of      519
                                                                                                                           Matrix
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                       Address2                        Address3                        City         State       Zip            Country

    ASOCIACION DE EDUCACION        150 AVENIDE DE LA CONSTITUCION          SUITE 1                                                                                           SAN JUAN            PR           00901
    ASOCIACION MAESTROS DE CIENCIA
    DE                             PUERTO RICO                             APARTADO 22044 ESTACION UPR                                                                       SAN JUAN            PR           00931
    ASOCIACION MEXICANA DE
    MAESTROS DE                    INGLES -MEXTESOL                        PONCIANO ARRIAGA NO 23-100                                                                        COL TABACALERA      DF           06030        Mexico
    ASPCA                                                                  PO Box 96929                                                                                      Washington          DC           20090-6929
    ASPECT INC                     DBA ZEPHYR PRESS                        47 SENECA RD PO BOX 604                                                                           MOUNT POCONO        PA           18344
    Aspen Maintenance, Inc.                                                56 Inverness Drive East          Suite 104                                                        Englewood           CO           80112
    ASPEN PUBLISHIERS INC                                                  4829 INNOVATION WAY                                                                               CHICAGO             IL           60682-0048
    ASPERA INC                                                             5900 HOLLIS STREET STE E                                                                          EMERYVILLE          CA           94608
    ASSN FOR COMPENSATORY
    EDUCATORS                      OF TEXAS                                P O BOX 3516                                                                                      HUMBLE              TX           77347
    ASSN FOR MIGRANT EDUCATORS
    OF TEXAS                                                               P O BOX 4965                     ATTN WADE BURROUGHS                                              WHITEFISH           MT           59937

    ASSN FOR THE ADVANCEMENT OF             INTERNATIONAL EDUCATION        3970 RCA BLVD STE 7000                                              NOVA SOUTHEASTERN UNIVERSITY PALM BEACH GARDENS   FL           33410
    ASSN FOR THE PRESERVATION OF
    VIRGINIA                                ANTIQUITIES                    204 W FRANKLIN STREET                                                                             RICHMOND            VA           23220
    ASSN OF AMERICAN SCHOOLS IN S
    AMERICA                                                                1911 NW 150TH AVENUE STE 101                                                                      PEMBROKE PINES      FL           33028
    ASSN OF AMERICAN SCHOOLS OF
    CENTRAL                                 AMERICA                        8424 NW 56TH ST STE UIO 2027                                                                      MIAMI               FL           33166
    ASSN OF ASIAN AMERICAN
    EDUCATORS INC                                                          29 BROOKWOOD DR                                                     KIRKBRIDE ELEMENTARY SCHOOL   VOORHEES            NJ           08043
    ASSN OF CA SCH ADMINISTRATORS-          ATTN BOB GIANNINI - REGION 6
    REG 6                                   EXECUTIVE                      292 DAVE CRACKETT COURT                                                                           ALAMO               CA           94507
    ASSN OF CA SCH ADMINISTRATORS-
    REG 7                                                                  P O BOX 1082                     ATTN MIKE MCCOY                                                  SONORA              CA           95370
    ASSN OF CALIFORNIA SCH
    ADMINISTRATORS                          ATTN JAN ENZONE                1575 BAYSHORE BLVD                                                                                BURLINGAME          CA           94010
    ASSN OF HISPANIC SCH
    ADMINISTRATORS                                                         6830 DILLON                      ATTN NOCHE DE LAS ESTRELLAS                                      HOUSTON             TX           77061
    ASSN OF MATHEMATICS TEACHERS
    OF NJ                                   ATTN NEIL COOPERMAN            P O BOX 829                                                                                       RED BANK            NJ           07701
    ASSN OF MATHEMATICS TEACHERS
    OF NYS                                                                 16 GLORIA PL                     ATTN TREASURER - RONNI DAVID                                     PLAINVIEW           NY           11803-6333
    ASSN OF MEXICAN AMERICAN
    EDUCATORS                                                              P O BOX 4015                                                                                      SAN JOSE            CA           95150-4015
    ASSN OF PARTNERS FOR PUBLIC
    LANDS                                                                  159 JENNY LIND DRIVE                                                                              HARPERS FERRY       WV           25425
    ASSN OF TCHRS OF MATHS OF NEW
    YORK CITY                                                              3487 DANIEL CRESCENT             ATTN EVELYN ESTRINE                                              BALDWIN             NY           11510-5153
    ASSN OF TEACHERS OF ENGLISH IN
    QUEBEC                                                                 P O BOX 46547                                                                                     STATION NEWMAN                   H8N 3G3      Canada
    ASSN OF TEACHERS OF
    MATHEMATICS                             PENNSYLVANIA AND VICINITY      1161 BRIDE ROAD                                                                                   SCHWENKSVILLE       PA           19473-2026
    ASSN OF TEACHERS OF
    MATHEMATICS                             IN NEW ENGLAND                 9 BEECHLAND PL                                                                                    MIDDLETOWN          RI           02842
    ASSN OF TEACHERS OF
    MATHEMATICS                                                            1161 BRIDE ROAD                                                                                   SCHWENKSVILLE       PA           19473-2026
    ASSN OF TEACHERS OF
    MATHEMATICS                             ATTN JANICE KWOALCZYK          9 BEECHLAND PL                                                                                    MIDDLETOWN          RI           02842
    ASSN OF TEACHERS OF MATHS IN
    MAINE                                   ATTN PAM RAWSON                3 JOSS HILL ROAD                                                                                  SCARBOROUGH         ME           04074
    ASSN OF WISCONSIN SCHOOL
    ADMINISTRATORS                                                         4797 HAYES ROAD SUITE 103                                                                         MADISON             WI           53704-3288
    ASSN OF WRITERS & WRITING
    PROGRAMS                                                               GEORGE MASON UNIV MS 1E3                                                                          FAIRFAX             VA           22030
    ASSO OF LATINO ADMINISTRATORS
    & SUPERINT                                                             65 WEST BOSTON POST RD STE 200                                                                    MARLBOROUGH         MA           01752
    ASSOC AMER GEOGRAPHERS                                                 1710 SIXTEENTH STREET NW       ATTN DOUGLAS RICHARDSON                                            WASHINGTON          DC           20009-3198
    ASSOC MEX DE MAESTROS DE                                               PONCIANO ARRIAGA 23 INTERIOR                                                                      COL TABACALERA
    INGLES MEXTESOL                                                        100                                                                                               CUAUHTEMOC          DF           06030        Mexico
    ASSOC OF MATH TECHRS-
    ROCHESTER AREA                                                         59 GREENWOOD PARK                ATTN KAREN MORRIS                                                PITTSFORD           NY           14534
    ASSOC OF TEACHERS IN
    INDEPENDENT SCH                         ATTN CHRISTINE CINCOTTA        PO BOX 1385                                                                                       NEW YORK            NY           10028
    ASSOCIACAO INDUSTRIAL
    PORTUGUESA                                                             PRACA DAS INDUSTRIAS                                                                              LISBOA                           1300-307     Portugal



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    31 of 488                                                                                                         1:26 PM
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                                                                                                                  39 of      519
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                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2              Address3              City         State       Zip              Country

    ASSOCIATED ADMINISTRATORS OF            LOS ANGELES                    1910 WEST SUNSET BLVD STE 850                                                  LOS ANGELES        CA           90026
    ASSOCIATED INTEGRATED SUPPLY
    CHAIN                                   SOLUTIONS                      DEPT CH 17469                                                                  PALATINE           IL           60055
    ASSOCIATED SCH BOARDS OF
    SOUTH DAKOTA                            ASBSD & SASD CONVENTION        PO BOX 1059                                                                    PIERRE             SD           57501

    ASSOCIATED STUDENT BODY                 CITRUS COLLEGE OWL BOOKSHOP    1000 W FOOTHILL BLVD                                                           GLENDORA           CA           91741
                                                                           308 WESTWOOD PLAZA, ACKERMAN
    ASSOCIATED STUDENTS UCLA                                               UNION A237                                                                     LOS ANGELES        CA           90095
    ASSOCIATED TEACHERS OF
    MATHEMATICS IN                          CONNECTICUT                    103 SANER ROAD                    ATTN PATRICIA HAHN                           MARLBOROUGH        CT           06447
    ASSOCIATION FOR CHILDHOOD
    EDUC INTL                                                              17904 GEORGIA AVENUE, STE 215                                                  OLNEY              MD           20832
    ASSOCIATION FOR PRIVATE                                                150 AVENIDA DE LA CONDITITICION
    ASSOCIATION                             PUERTO RICO                    STE 1                                                                          SAN JUAN           PR           00901-2101
    ASSOCIATION FOR SUPERVISION
    AND                                     CURRICULUM DEVELOPMENT         P O BOX 17035                                                                  BALTIMORE          MD           21297-8431
    ASSOCIATION OF AMERICAN
    PUBLISHERS II                           C/O OLSON HAGEL & FISHBURN LLP 555 CAPITOL MALL STE 1425                                                      SACRAMENTO         CA           95814
    ASSOCIATION OF AMERICAN
    PUBLISHERS INC                          ATTN KATE KOENDO / RPAC        71 FIFTH AVENUE 2ND FLOOR                                                      NEW YORK           NY           10003
    ASSOCIATION OF AMERICAN
    SCHOOLS                                 C/O US EMBSY QUITO             UNIT 5372 BOX 004                                                              APO AP 34039                                 Ecuador
    ASSOCIATION OF ASSISTANT
    PRINCIPALS                                                             37 FISHERMAN DRIVE                                                             PORT WASHINGTON    NY           11050-1733
    ASSOCIATION OF BOOKSELLERS
    FOR CHILDREN                                                           6538 COLLINS AVE #168                                                          MIAMI BEACH        FL           33141
    ASSOCIATION OF BRITISH SCHOOLS
    IN CHILE                                                               JUAN MONTALVO 80                                                               LAS CONDAS                                   Chile
    Association of CA School Admin                                         1575 Bayshore Hwy                                                              Burlingame         CA           94010
    ASSOCIATION OF CHRISTIAN
    SCHOOLS                                 INTERNATIONAL                  731 CHAPEL HILLS DRIVE                                                         COLORADO SPRINGS   CO           80920
    ASSOCIATION OF EDUCATIONAL
    SVC AGENCIES                                                           53 HOTCHKISS GROVE ROAD                                                        BRANFORD           CT           06405
    ASSOCIATION OF INDEPENDENT
    MARYLAND                                SCHOOLS                        890 AIRPORT PARK ROAD SUITE 103                                                GLEN BURNIE        MD           21061
    ASSOCIATION OF INDEPENDENT                                             1001 W CYPRESS CREEK RD STE
    SCHOOLS                                 OF FLORIDA                     320C                                                                           FORT LAUDERDALE    FL           33309
    ASSOCIATION OF INTERNATIONAL
    SCHOOLS                                 IN AFRICA                      PO BOX 95000-2065                                                              PHILADELPHIA       PA           19195
    ASSOCIATION OF LEARNING
    CONSULTANTS                                                            4 NOKOMIS AVENUE                  ATTN MINA ORLEANS                            ROCKAWAY           NJ           07866
    ASSOCIATION OF SPACE
    EXPLORERS - USA                                                        1150 GEMINI AVENUE                                                             HOUSTON            TX           77058

    ASSOCIATION OF TEST PUBLISHERS LAUREN SCHEIB                           2995 ROUND HILL ROAD                                                           YORK               PA           17402

    ASSOCIATION OF THE UNITED ARMY DBA ARMY MAGAZINE                       2425 WILSON BLVD                                                               ARLINGTON          VA           22201
    Association Of WI School Admin Jim Lynch                               4797 Hayes Road, Suite 103                                                     MADISON            WI           53704
    ASSOCIATION OUTSOURCE
    SERVICES, INC.                                                         115 SPRING WATER WAY                                                           FOLSOM             CA           95630
    ASSUMPTION COLLEGE                                                     500 SALISBURY ST                                                               WORCESTER          MA           01609
    ASTADIA INC                                                            16415 ADDISON RD, STE 225                                                      ADDISON            TX           75001
    ASTD                                                                   1640 King Street                  Box 1443                                     Alexandria         VA           22313-1443
    ASUNCION LAVRIN                                                        10033 THE MENDING WALL                                                         COLUMBIA           MD           21044
    AT&T                                                                   BILL PAYMENT CENTER                                                            SAGINAW            MI           48663
    AT&T                                                                   PAYMENT CENTER                                                                 SACRAMENTO         CA           95887
    AT&T                                                                   P O BOX 105107                                                                 ATLANTA            GA           30348-5107
    AT&T                                                                   P O BOX 105262                                                                 ATLANTA            GA           30348-5262
    AT&T                                                                   P O BOX 105262                                                                 ATLANTA            GA           30348-5263
    AT&T                                                                   PO BOX 105414                                                                  ATLANTA            GA           30348
    AT&T                                                                   PO BOX 13140                                                                   NEWARK             NJ           07101
    AT&T                                                                   PO BOX 13148                                                                   NEWARK             NJ           07101
    AT&T                                                                   PO BOX 5001                                                                    CAROL STREAM       IL           60197
    AT&T                                                                   PO BOX 5019                                                                    CAROL STREAM       IL           60197
    AT&T                                                                   PO BOX 5094                                                                    CAROL STREAM       IL           60197-5094
    AT&T                                                                   PO BOX 78214                                                                   PHOENIX            AZ           85062-8214
    AT&T                                                                   PO BOX 78225                                                                   PHOENIX            AZ           85062-9075
    AT&T                                                                   PO BOX 8100                                                                    AURORA             IL           60507



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    32 of 488                                                                                       1:26 PM
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                                                                                                                  40 of      519
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                                                                                                                     First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                         Address2                            Address3                           City           State       Zip            Country
    AT&T                                                                   PO BOX 8110                                                                                                 AURORA              IL           60507-8110
    AT&T ARCHIVES                           ATTN GEORGE KUPCZAK            5 REINMAN ROAD                                                                                              WARREN              NJ           07059
    AT&T MOBILITY                           NATIONAL BUSINESS SERVICES     PO BOX 9004                                                                                                 CAROL STREAM        IL           60197
    AT&T MOBILITY II LLC                                                   PO BOX 6463                                                                                                 CAROL STREAM        IL           60197
    AT&T Wireless                                                          P.O. Box 8220                                                                                               AURORA              IL           60572-8220
    ATARI INC                                                              417 FIFTH AVENUE                                                                                            NEW YORK            NY           10016
    ATC ASSOCIATES INC                                                     DEPT CH17565                                                                                                PALATINE            IL           60055-7565
    ATHENA RESEARCH GROUP INC                                              3600 LIME STE 512                                                                                           RIVERSIDE           CA           92501
                                            NORTH ALABAMA TRACHER
    ATHENS STATE UNIVERSITY                 EXCHANGE                       300 N BEATY STREET                                                                                          ATHENS              AL           35611
    ATHENS STATE UNIVERSITY                 IN-SERVICE CENTER              300 NORTH BEATY STREET                                                                                      ATHENS              AL           35611
    ATIENO ODHIAMBO                                                        880 TULLY RD APT 100                                                                                        HOUSTON             TX           77079
    ATIS                                    THE BREARLEY SCHOOL            610 EAST 83RD STREET                                                                                        NEW YORK            NY           10028-7988
    Atkins Intellectual Property
    ATKINS INTELLECTUAL PROPERTY
    PLLC                                                                   93 S JACKSON STREET # 18483                                                                                 SEATTLE             WA           98104-2818

    ATLANTA CITY SCHOOL DISTRICT                                           130 TRINITY AVENUE S.W. 4th FLOOR                                                                           ATLANTA             GA           30303
    ATLANTA HISTORICAL SOCIETY INC                                         130 WEST PACES FERRY ROAD         ATTN ARCHIVES                                                             ATLANTA             GA           30305-1366
    Atlanta International School            Accounts Payable               2890 North Fulton Drive                                                                                     Atlanta             GA           30305
    Atlanta Marriott Northwest              Attn Francis Lawlor            200 Interstate North Parkway                                                                                Atlanta             GA           30339
    ATLANTA NORTH FLEXXSPACE LTD            6270 MCDONOUGH DRIVE           SUITE E                                                                                                     NORCROSS            GA           30093
    ATLANTA SPEECH SCHOOL INC                                              3160 NORTHSIDE PARKWAY NW         ATTN TINKER CUMMINGS                                                      ATLANTA             GA           30327
    ATLANTIC BOOKS                          DBA GROVE ATLANTIC LTD         26-27 BOSWELL STREET                                                 ORMOND HOUSE                           LONDON                           WC1N 3JZ     United Kingdom
    ATLANTIC COMMUNITY SCHOOL
    DISTRICT                                                               1100 LINN ST                                                                                                ATLANTIC            IA           50022
    ATLANTIC CONCORD INVESTMENT             DBA DOUBLETREE RICHMOND
    CORP                                    AIRPORT                        5501 EUBANK RD                                                                                              SANDSTON            VA           23150
    ATLANTIC MONTHLY PRESS                                                 841 BROADWAY FLOOR 4                                                                                        NEW YORK            NY           10003-4704
    ATLANTIX GLOBAL SYSTEMS LLC                                            P O BOX 534609                                                                                              ATLANTA             GA           30353-4609
    ATLAS ADVANCEMENT INC                                                  8201 GREENSBORO DR STE 613                                                                                  MCLEAN              VA           22102
    ATLAS PROMOTIONS OXFORD LTD                                            45 RADIPOLE ROAD                                                                                            POOLE                            BH17 8BZ     United Kingdom
    ATLAS WATERSYSTEMS INC                                                 301 SECOND AVENUE                                                                                           WALTHAM             MA           02451
    ATLASSIAN SOFTWARE SYSTEMS
    PTY LTD                                                                DEPT CH 17585                                                                                               PALATINE            IL           60055
    ATMOS ENERGY                                                           PO BOX 790311                                                                                               ST LOUIS            MO           63179-0311
    ATMOS ENERGY                                                           PO BOX 790311                                                                                               ST LOUIS            MO           63179-0312
    ATOMIM                                  ATTN PAM RAWSON                3 JOSS HILL RD                                                                                              SCARBOROUGH         ME           04074
    ATRIUM AT 3800 GOLF LLC                                                P O BOX 749654                                                                                              LOS ANGELES         CA           90074
                                                                                                                                                One Market Plaza, Spear Tower, Suite
    Atrium at 3800 Golf, LLC                RE 3800 Golf Road              John Grassi                     c/o Spear Street Capital             4125                                   San Francisco       CA           94105
    ATRIUM CORPORATE CENTRE LLC                                            P O BOX 749654                                                                                              LOS ANGELES         CA           90074
    ATRIUM KOSHER CATERING LTD                                             P O BOX 801                                                                                                 MONSEY              NY           10952
    ATRIUM PLAZA LLC                        DBA SAN MATEO MARRIOTT         1770 S AMPLETT BLVD                                                                                         SAN MATEO           CA           94402
    ATSS/UFT                                52 BROADWAY - 12TH FLR         ATTN CAROLYN HERBST                                                                                         NEW YORK            NY           10004
                                                                           504 COMMERCE PKWY P O BOX
    ATTAINMENT COMPANY INC                                                 930160                                                                                                      VERONA              WI           53593
    ATUL GAWANDE                                                           128 DOREST RD                                                                                               WABAN               MA           02468
    ATWELL DEBBY                                                           1990 WINSLOWS MILLS ROAD                                                                                    WALDOBORO           ME           04576
                                                                           5201 GREAT AMERICA PARKWAY
    ATYPON SYSTEMS INC                                                     SUITE 510                                                                                                   SANTA CLARA         CA           95054
    AU KATHRYN                                                             1668 KANALUI STREET                                                                                         HONOLULU            HI           96816
    AUBURN UNIV MONTGOMERY                                                 P O BOX 244023                  AUM BOOKSTORE/ SAN # 102-8014                                               MONTGOMERY          AL           36124
    AUBURN UNIVERSITY BOOKSTORE                                            1360 HALEY CENTER                                                                                           AUBURN UNIVERSITY   AL           36849
    AUDIO BOOKSHELF LLC                     ATTN DAVID DITTMAN             44 OCEAN VIEW DR                                                                                            MIDDLETOWN          RI           02842
    AUDIO PROPERTIES INC                    DBA CHICAGO RECORDING CO       232 E OHIO ST                                                                                               CHICAGO             IL           60611
    AUDIO VISUAL INNOVATIONS INC                                           P O BOX 62251                                                                                               BALTIMORE           MD           21264-2251
                                            DBA PSAV PRESENTATION
    AUDIO VISUAL SERVICES GROUP             SERVICES                       100 CONVENTION BLVD                                                                                         SAN JUAN            PR           00907
    AUDRA VASQUEZ                           SOUTH ROW SCHOOL               250 BOSTON ROAD                                                                                             CHELMSFORD          MA           01824
    Audrey Bryant                                                          150 Dudley St                   Apt. #1                                                                     Cambridge           MA           02140
    AUDREY JACKSON                                                         224 LOGGERS TRAIL                                                                                           FENTON              MO           63026
    AUDREY L HEINING-BOYNTON                                               403 N ELLIOT RD                                                                                             CHAPEL HILL         NC           27514
    AUGENBRAUM HAROLD                                                      525 WEST 238TH STREET                                                                                       BRONX               NY           10463

    AUGSBURG FORTRESS PUBLISHERS                                           100 SO 5TH STREET SUITE 600                                                                                 MINNEAPOLIS         MN           55402

    AUGSBURG FORTRESS PUBLISHERS                                           P O BOX 88027                                                                                               CHICAGO             IL           60680-1027
    AUGUST HOUSE INC.                                                      PO BOX 3223                                                                                                 LITTLE ROCK         AR           72203
    AUGUST PACKAGING INC                                                   4156 HOFFMEISTER AVE                                                                                        ST LOUIS            MO           63125



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                     33 of 488                                                                                                                   1:26 PM
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                                                                                                                    41 of      519
                                                                                                                            Matrix
                                                                                                                   First Class Service List


                 CreditorName                      CreditorNoticeName                    Address1                       Address2                          Address3               City              State       Zip               Country
                                            DBA AUGUSTA MARRIOTT HOTEL &
    AUGUSTA RIVERFRONT LLC                  SUITES                         2 TENTH STREET                                                                            AUGUSTA                 GA            30901
    AUGUSTA SCHOOL DEPARTMENT                                              12 GEDNEY STREET                                                                          AUGUSTA                 ME            04330
    AUGUSTA STATE UNIV BKSTORE                                             2500 WALTON WAY                                                                           AUGUSTA                 GA            30904
    AULIE BUNYARATAPHAN                     C/O LAURA WESTERMAN            2000 P STREET NW STE 305                                                                  WASHINGTON              DC            20036
    AULT KELLY A                                                           66 WATER ST - #2-F                                                                        BROOKLYN                NY            11201
                                                                           URB BOSQUE REAL CALLE ROBLE
    AUREA E CARTAGENA LOPEZ                                                #114                                                                                      CIDRA                   PR            00739
                                                                           899 SORBONA UNIVERSITY
    AUREA E RODRIGUEZ-SANTIAGO                                             GARDENS                                                                                   SAN JAUN                PR            00927
    Aurelia Torres                                                         2221 Laurel Oaks Dr                                                                       Irving                  TX            75060
    AURELIE NEYRET                                                         18 COURS DHERBOUVILLE                                                                     LYON                                  69004        France
    AURITT COMMUNICATIONS GROUP
    INC                                                                    555 EIGHTH AVENUE SUITE 709                                                               NEW YORK                NY            10018
    Aurora Academy Charter School           Attn Peg Martin                10251 East 1st Avenue                                                                     Aurora                  CO            80010
    AURORA CHRISTIAN SCHOOL                                                2255 SULLIVAN ROAD                                                                        AURORA                  IL            60506
    AURORA COLON GARCIA                                                    7134 CYPRESS GROVE                                                                        SAN ANTONIO             TX            78227
    AURORA LEVINS MORALES                                                  914 62ND STREET                                                                           OAKLAND                 CA            94608
    AURORA PHOTOS INC                                                      81 W COMMERCIAL ST STE 201                                                                PORTLAND                ME            04101
    AURORA POSADAS IZQUIERDO                MISION DE SAN JOSE #13         COLONIA LAS MISIONES                                                                      NAUCALPAN EDO                         53140        Mexico
    Aurora Public Schools                   Dennis Hamann                  15751 E. 1st Ave.                                                                         AURORA                  CO            80011
    AURORA TRI-STATE FIRE PROTEC
    CO                                                                     1080 CORPORATE BOULEVARD                                                                  AURORA                  IL            60502

    AUSCAPE INTERNATIONAL PTY LTD                                          PO BOX 1024                                                                               BOWRAL                  NSW           02576        Australia
    AUSTIN COMMUNITY COLLEGE                                               1212 RIO GRANDE STREET            BALCONES CENTER                                         AUSTIN                  TX            78701
    AUSTIN DIGITAL PRINTING                                                108 WILD BASIN ROAD STE 200                                                               AUSTIN                  TX            78746
    AUSTIN EDITORIAL LLC                                                   8916 CHINA ROSE DR                                                                        AUSTIN                  TX            78724
    AUSTIN HERMOSILLO                                                      954 WRIGHT ST                                                                             SANTA ROSA              CA            95404
    AUSTIN LOCK TECHNOLOGIES INC                                           P O BOX 2217                                                                              MANCHACA                TX            78652
    AUSTIN MICHAEL                                                         4674 STONEHENGE DRIVE                                                                     DULUTH                  GA            30096
    AUSTIN OEAY STATE UNIVERSITY                                           601 COLLEGE ST P O BOX 4635                                                               CLARKSVILLE             TN            37044
    AUSTRALIAN COUNCIL FOR                                                 19 PROSPECT HILL ROAD (PRIVATE
    EDUCATIONAL                             RESEARCH LIMITED               BAG 55)                                                                                   CAMBERWELL              Victoria      03124        Australia
    AUSTRALIAN LICENSING
    CORPORATION                                                            140 ROYAL STREET                                                                          TUART HILL              WA            06060        Australia
    AUSTRALIAN SECURITIES &
    INVESTMENT                              COMMISSION                     LOCKED BAG 500                                                                            GIPPSLAND MAIL CENTRE   Victoria      03841        Australia
    AUSTRALIAN WAR MEMORIAL                                                GPO BOX 345                                                                               CANBERRA ACT                          02601        Australia
    AUTISM SOCIETY O FAMERICA INC                                          7910 WOODMONT AVE, # 300                                                                  BETHESDA                MD            20814
    AUTO-GRAPHICS INC                                                      3201 TEMPLE AVENUE                                                                        POMONA                  CA            91768
    Automated Business Products                                            9197 W. 6th Avenue                                                 Suite 100              Lakewood                CO            80215
    AUTOMATIC DOORS INC                                                    113 SANGRA COURT                                                                          STREAMWOOD              IL            60107
    AUTOMATION PERSONNEL
    SERVICES INC                                                           P O BOX 830941                                                                            BIRMINGHAM              AL            35283
    AUTOMOTIVE RENTALS INC                                                 P O BOX 8500-4375                                                                         PHILADELPHIA            PA            19178-4375
    Autonomy
    AUTONOMY INC                            ONE MARKET PLAZA               SPEAR ST TOWER 19TH FLOOR                                                                 SAN FRANCISCO           CA            94105
    AUTRY NATIONAL CENTER OF THE
    AMERICAN                                WEST - SOUTHWEST MUSEUM        4700 WESTERN HERITAGE WAY                                                                 LOS ANGELES             CA            90027-1462
    AUTRY NATIONAL CENTER OF THE
    AMERICAN                                ATTN MARILYN KIM               4700 WESTERN HERITAGE WAY                                                                 LOS ANGELES             CA            90027-1462
    Autumn Jones                                                           5414 E. 19th St.                                                                          Indianapolis            IN            46218
    AVA LYNN SEESE HAYES                                                   332 7TH STREET                                                                            SPRINGFIELD             OR            97477
    Avalara, Inc.                                                          PO Box 10126                                                                              Bainbridge Island       WA            98110
    AVANGATE BV                                                            PRINS HENDRIKLAAN 26 II                                                                   AMSTERDAM                             1075 BD      Netherlands
    AVAYA                                                                  P O BOX 5125                                                                              CAROL STREAM            IL            60197
    AVAYA INC                                                              P O BOX 5332                                                                              NEW YORK                NY            10087-5332
    Avenue
    Avenue Capital Management II, LP        Shawn Foley                    399 Park Avenue, 6th Fl.                                                                  New York                NY            10022
    AVENUE INVESTMENTS L.P.
    AVEPOINT INC                                                           3 SECOND STREET, STE 803                                                                  JERSEY CITY             NJ            07311
    AVERILL PARK CENTRAL SCH DIST                                          8439 MILLER HILL ROAD, STE 1                                                              AVERILL PARK            NY            12018
    AVERY DENNISON RETAIL INF SRVC
    LLC                                                                    15178 COLLECTION CENTER DR                                                                CHICAGO                 IL            60693
    AVIATION IMAGES LTD                                                    42B QUEENS ROAD                                                                           WIMBLEDON                             SW19 8LR     United Kingdom

    AVID TECHNICAL RESOURCES INC                                           185 DEVONSHIRE STREET SUITE 100                                                           BOSTON                  MA            02110
    AVIS RENT A CAR                                                        7876 COLLECTIONS CENTER DR                                                                CHICAGO                 IL            60693-0078
    AVON BOOK                                                              1350 AVENUE OF THE AMERICAS                                                               NEW YORK                NY            10019



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   34 of 488                                                                                                          1:26 PM
                                                      12-12171-reg            Doc 136               Filed 07/15/12 Exhibit
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                                                                                                               PgCreditor
                                                                                                                  42 of      519
                                                                                                                          Matrix
                                                                                                                          First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                             Address2                         Address3                    City               State       Zip               Country
    AVON FOUNDATION                                                         PO BOX 1073                                                                                            Rye                    NY           10580
    AVON GROVE SCHOOL DISTRICT                                              375 S JENNERSVILLE RD                                                                                  WEST GROVE             PA           19390
    Avon Maitland Distict School                                            62 Chalk Street North                                                                                  Seaforth               ON           N0K1W0       Canada
    AVOYELLES PARISH                        SALES & USE TAX DEPT            221 TUNICA DR WEST                                                                                     MARKSVILLE             LA           71351
    AVRAM KATZ                                                              HABANIM 21 RAMAT GAN                                                                                                                       52402        Israel
    Award & Sign Connection, Ltd.                                           6801 S. Dayton Street                                                                                  Greenwood Village      CO           80112
    AWSCPA                                                                  136 SOUTH KEOWEE STREET                                                                                DAYTON                 OH           45402
    AXIOM PHOTO DESIGN                                                      547 G STREET                                                                                           DAVIS                  CA           95616
                                                                            1211 Avenue of the Americas, 24th
    AXIS PRO                                                                Floor                                                                                                  New York               NY           10036

    AXURE SOFTWARE SOLUTIONS INC                                            311 4TH AVENUE SUITE 617                                                                               SAN DIEGO              CA           92101
    AYER COMPANY PUBLISHERS INC  ATTN MICHELLE                              400 BEDOFRD ST STE 322                                                                                 MANCHESTER             NH           03101
    Ayesha H Mirza                                                          309 East 78th Street                Apt. 1E                                                            New York               NY           10075
    AYMAN TRAWI                  OGER LIBAN COMPANY                         MAZRAA STREET PO BOX 14 5864                                                                           BEIRUT                                           Lebanon
    AYODEJI O OLUKOJU                                                       AKOKA YABA                                                                                             LAGOS                               101017       Nigeria
    AZ DOR                                                                  1600 WEST MONROE STREET                                                                                PHOENIX                AZ           85007
                                                                                                                                                     BETH WITT AZ TESOL BUSINESS
    AZ TESOL INC                                                            BOX 1937                                                                 MANAGER                       CHINLE                 AZ           86503
    AZIMUTH COMPUTER SOLUTIONS                                              265 WINN STREET SUITE 101                                                                              BURLINGTON             MA           01803
    AZTEC GRAPHIX CORP                                                      3343 C US 1                                                                                            FORT PIERCE            FL           34982
                                                                                                                                                                                   TLAJOMULCO DE ZUNIGA
    AZUCENA TORRES RUEDA                                                    169 HDAS DE SAN AGUSTIN             SAN FELIPE                                                         JALISCO                                          Mexico
    AZUREE TALENT AGENCY                                                    62 W COLONIAL DR APT 303                                                                               ORLANDO                FL           32801-1367
    Azusa Pacific Univ. Bookstore                                           701 East Foothill Blvd                                                                                 Azusa                  CA           91702
    B & F ENTERPRISES LLC                   DBA HILTON ST LOUIS FRONTENAC   1335 S LINDENBERGH BLVD             ATTN ACCOUNTS RECEIVABLE                                           ST LOUIS               MO           63131
    B & W SELF STORAGE                                                      5912 66TH STREET                                                                                       LUBBOCK                TX           79424
    B MERGENDEILER CORPORATION              COWAN DEBAETS ABRAHAMS &
    C/O                                     SHEPPARD LLP                    41 MADISON AVE 34th FLOOR                                                ATTN MICHAEL D REMER          NEW YORK               NY           10010

    B SQUARE ENTERPRISES INC                DBA L & E RESEARCH              5505 CREEDMOOR ROAD SUITE 200                                                                          RALEIGH                NC           27612

    B&H FOTO & ELECTRONICS CORP             DBA B&H PHOTO VIDEO PRO AUDIO P O BOX 28072                                                                                            NEW YORK               NY           10087-8072
    BABB JUDITH                                                           2500 CEDAR ELM LANE                                                                                      PLANO                  TX           75075-3103
    BABCOCK DENISE                                                        59 PELHAM RD                                                                                             HUDSON                 NH           03051-4111
    BABKA BOOKSTORE                                                       2000 UNIVERSITY AVENUE                PETERS COMMONS                                                     DUBUQUE                IA           52001
    BACH DANIEL JOSEPH                                                    1744 MOUNTAIN BLVD.                                                                                      OAKLAND                CA           94611
    BACKOFFICE ASSOCIATES LLC                                             P O BOX 808                                                                                              SOUTH HARWICH          MA           02661
    BACKSPACE INDEXING                      AMY E NOVICK                  49 LOWDEN ST                                                                                             PAWTUCKET              RI           02860-6123
    BADDERS WILLIAM                                                       1157 SYLVANIA RD                                                                                         CLEVELAND HEIGHTS      OH           44121
    BAGES ELIZABETH                                                       336 PUTTER WAY                                                                                           WYOMING                DE           19934
    BAGGETT NANCY                                                         4024 WILDWOOD WAY                                                                                        ELLICOTT CITY          MD           21042
    BAGLEY JR HIGH SCHOOL                                                 8581 TATE MILL ROAD                                                                                      DORA                   AL           35062
    BAHM JOAN LANDIS                                                      201 E ANGELO AVE #308                                                                                    BURBANK                CA           91502
    BAILEY JOY HAFNER                                                     38 LOWRY WAY                                                                                             KINGSTON               GA           30145
    BAILEY LEA                                                            1106 LEISURE WORLD                                                                                       MESA                   AZ           85206
    Baileys Moving & Storage                                              400 North 700 West                    PO Box 540230                                                      North Salt Lake        UT           84054
    BAIRD ROBERT HARPER                                                   1463 W EDGEWATER, # 3                                                                                    CHICAGO                IL           60660
    BAIS YAAKOV OF BROOKLYN                                               1192 EAST 31ST ST                                                                                        BROOKLYN               NY           11210
    BAKBONE SOFTWARE INC                                                  6025 SOLUTIONS CENTER                                                                                    CHICAGO                IL           60677
    BAKER & DANIELS LLP                                                   PO BOX 664091                                                                                            INDIANAPOLIS           IN           46266
    BAKER & TAYLOR BOOK CO
    BAKER & TAYLOR INC                                                      PO BOX 277930                                                                                          ATLANTA                GA           30384
    BAKER CONSULTANTS AND
    INVESTMENT CORP                                                         1451 GULF BLVD # 116                                                                                   CLEARWATER BEACH       FL           33767
    BAKER ELLEN                                                             1956 RICHERT AVENUE                                                                                    CLOVIS                 CA           93611
    BAKER RUSSELL                                                           202 WEST MARKET ST                                                                                     LEESBURG               VA           20176
    BAKERSFIELD CITY SCHOOL DIST                                            1300 BAKER STREET                                                                                      BAKERSFIELD            CA           93305
    Baldwin/Clancy/Rogan                                                    55 Davis Square                                                                                        Somerville             MA           02144
    BALGASSI HAEMI                                                          419 SOUTHWICK RD UNIT Q-72                                                                             WESTFIELD              MA           01085
    BALIS ANDREA                                                            301 CATHEDRAL PARKWAY #2N                                                                              NEW YORK               NY           10026
    BALL ELEMENTARY CUSD # 5                                                1015 NEW CITY ROAD                                                                                     CHATHAM                IL           62629
                                                                            10000 BALLANTYNE COMMONS
    BALLANTYNE HOTEL & LODGE                ATTN ANITA HOWARD               PKWY                                                                                                   CHARLOTTE              NC           28277
    Ballard Spahr

    BALLARD SPAHR LLP                                                       1735 MARKET STREET 51ST FLOOR                                                                          PHILADELPHIA           PA           19103
    BALLENGER MARCUS T                                                      14390 EAST MARINA DR - #606                                                                            AURORA                 CO           80014
    Balloon Animals                                                         7330 W. 88th Ave                    Unit E #105                                                        Broomfield             CO           80021




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                          35 of 488                                                                                                               1:26 PM
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                                                                                                                          43 of      519
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                                                                                                                              First Class Service List


               CreditorName                  CreditorNoticeName                                 Address1                              Address2                        Address3              City             State       Zip            Country
    BALTIMORE COUNTY PUBLIC
    SCHOOLS                                                                        1940-G GREENSPRING DRIVE                                                                      LUTHERVILLE TIMONIUM   MD           21093
    BALTIMORE COUNTY PUBLIC
    SCHOOLS                                                                        6901 CHARLES STREET                                                                           TOWSON                 MD           21204
    BALTIMORE SUN MEDIA GROUP      ATTN ZACHARY J DIXON                            501 N CALVERT STREET                                                                          BALTIMORE              MD           21278
    BALZ ELEMENTARY SCH DOSTRICT #
    31                                                                             4825 E ROOSEVELT ST                                                                           PHOENIX                AZ           85008
    Ban Har Yeap                   c/o Pathlight School                            5 Ang Mo Kio Avenue 10                                                                        Singapore              SI           56939        Singapore
                                                                                                                                                                                 DELEGACION
    BANCO DE MEXICO DIEGO RIVERA            & FRIDA KAHLO                          AVENIDA CINCO DE MAYO N 2                                                                     CUAUHTEMOC             DF           06059        Mexico
    BANCO DE MEXICO FIDEICOMISO                                                    DOMICILIO FISCAL AV. 5 DE MAYO 2
    MUSEOS                                  DIEGO RIVERA FRIDA KAHLO               CENT                                                                                          CENTRO                 DF           06059        Mexico
    BANCORP SOUTH                                                                  PO BOX 789                                                                                    TUPELO                 MS           38802
    BANCROFT NEUROHEALTH                                                           P O BOX 95000-1466                                                                            PHILADELPHIA           PA           19195-1466
    BANK ADMINISTRATION INSTITUTE                                                  115 S LASALLE STREET STE 3300                                                                 CHICAGO                IL           60603-3801
    BANK OF AMERICA
    BANK OF AMERICA                                                                PO BOX 15184                                                                                  WILMINGTON             DE           19886
    Bank of America, N. A.                  Client Service Centre US Team          2 KING EDWARD STREET                                                                          LONDON                              EC1A 1HQ     England
    Bank of America, N. A.                  Robert Douglas                         135 S. LaSalle Street              IL4-135-14-02                                              Chicago                IL           60603
    BANK OF NEW YORK MELLON                 PROXY DEPARTMENT                       525 WILLIAM PENN AVENUE                                                                       PITTSBURGH             PA           15259
    Bank of New York Mellon Trust           Trustee and Collateral Agent for 1.5
    Company, N.A.                           senior secured notes due 2019
                                                                                   610 WEST 112TH ST ATTN J
    BANK ST COLLEGE OF EDUCATION            PUBLICATIONS AND MEDIA GROUP           MCCARTHY                                                                                      NEW YORK               NY           10025
    BANKS JACQUELINE TURNER                 BANKS COMMUNICATIONS                   7515 BRUNO WAY                                                                                SACRAMENTO             CA           95828
    BANNER SEVENTEEN LLC                    BOSTON CELTICS                         226 CAUSEWAY ST, 4TH FL                                                                       BOSTON                 MA           02114
    BANTA BOOK COMPANY                                                             BOX 78117                                                                                     MILWAUKEE              WI           53278
    BANTA BOOK COMPANY                                                             PO BOX 730216                                                                                 DALLAS                 TX           75373
    BANTA COMPANY                                                                  BOX 78117                                                                                     MILWAUKEE              WI           53278-0117
    BANTA FULFILLMENT                       DBA RR DONNELLEY                       PO BOX 730216                                                                                 DALLAS                 TX           75373
    BANTA ISG SPANISH FORK                                                         NW 9081                                                                                       MINNESOTA              MN           55485-9081
    BANTA LIT MANAGEMENT                                                           P O BOX 651317                                                                                CHARLOTTE              NC           28265-1317
    BANTAM DOUBLEDAY DELL                                                          RANDOM HOUSE INC                                                                              PALANTINE              IL           60055-0401
    BANTING INNOVATIVE MARKETING
    LTD                                     PETER M BANTING                        RR1 105 UPPER FILMAN ROAD                                                                     ANCASTER               ON           L9G 3K9      Canada
    BAPTIST BIBLE COLLEGE OF
    PENNSYLVANIA                            BOOKSTORE                              538 VENARD RD                                                                                 CLARKS SUMMIT          PA           18411
    Baptist Childrens Home                                                         354 West Street                                                                               Valparaiso             IN           46383
    BARB GUTHRIE                                                                   4806 LAKE WICHITA LANE                                                                        RICHMOND               TX           77469
    BARB THORSON                                                                   233 COUNTRY DRIVE                                                                             STATESVILLE            NC           28625
    BARBARA A BRENNAN                                                              16 HIMELFARB ST                                                                               MILLIS                 MA           02054
    Barbara A Fuerbacher                                                           322 Ashley Brook Dr.                                                                          Hamilton               OH           45013
    Barbara A Gallagher                                                            290 WEST MAIN ST                   # 220                                                      HYANNIS                MA           02601
    BARBARA ANDRESS                                                                160 N HORIZON CIR                                                                             PRESCOTT               AZ           86303
    BARBARA ANN GASPARINI                                                          5088 DIETER COURT                                                                             SANTA ROSA             CA           95409-3710
    BARBARA ANN HUMPHREYS                                                          9581 SW 8TH ST                                                                                PEMBROKE PINES         FL           33025
    Barbara B Funk                                                                 122 East Holly Lane                                                                           Little Egg Harbor      NJ           08087
                                            GNDR & DEV STD/REG
    BARBARA BAILEY                          COORDINATOR                            UNIVERSITY OF WEST INDIES                                                                     WEST INDIES                                      Jamaica
    BARBARA BOURNE                                                                 2749 WESTMINSTER RD                                                                           ELLICOTT CITY          MD           21043
    BARBARA BRADLEY                                                                SHAWS LANE                         TANGLEWOOD ELFORD HEALTH           ECCLESHALL              Staffordshire                       ST21 6HB     United Kingdom
    BARBARA BRAY                                                                   4349 HYACINTH AVE                                                                             OAKLAND                CA           94619
    Barbara Brennan                                                                16 Himelfarb Street                                                                           Millis                 MA           02054
    BARBARA BROWN                                                                  12126 TUMBLEWEED CT                                                                           WELLINGTON             FL           33414
    Barbara Brownlee                                                               3300 Countryside View Dr.                                                                     St. Cloud              FL           34772
    Barbara Byrd                                                                   144 Southfield Road                                                                           Concord                MA           01742
    BARBARA BYRD-BENNETT                                                           38155 FLANDERS DRIVE                                                                          SOLON                  OH           44139
    BARBARA C NEYRINCK                                                             12526 E AMHERST CIR                                                                           AURORA                 CO           80014
    BARBARA C VIETOR                                                               10023 S 47TH STREET                                                                           PHOENIX                AZ           85044
    Barbara Coe                                                                    37 Lake Trail West                                                                            Morristown             NJ           07960
    BARBARA COLE                                                                   POB 2565                                                                                      MONTEREY               CA           93942
    Barbara Corbett                                                                1026 Smokerise Lane                                                                           Hendersonville         TN           37075
    Barbara Corder                                                                 940 Chippewa Circle                                                                           Carpentersville        IL           60110
                                            JOHN COULTER JR & BARBARA                                                 REVOCABLE TRUST DATED MAY 23
    BARBARA COULTER - TRUSTEE               COULTER                                9000 E SAN VICTOR DR #166          2011                                                       SCOTTSDALE             AZ           85258
    Barbara Cramer                                                                 205 E. Victoria Circle                                                                        North Aurora           IL           60542
    Barbara Cropp                                                                  PO Box 154                                                                                    Curryville             MO           63339
    Barbara D Fischer                                                              2409 Silent Brook Trail                                                                       Round Rock             TX           78665
                                                                                   PO BOX 126-64 WILTATT SWANK
    BARBARA D MONTGOMERY                                                           ROAD                                                                                          MAINEVILLE             OH           45039



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                                36 of 488                                                                                                     1:26 PM
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                                                                                                                   44 of      519
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                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2              Address3                City           State       Zip            Country
    Barbara Dahlstrom                                                      9235 Allwood Place                                                                Orlando                FL           32825
    Barbara Daly                                                           3666 Wildwood Street                                                              Yorktown Heights       NY           10598
    Barbara Deppe                                                          4833 Pyndale Drive                                                                Mchenry                IL           60050
    BARBARA DIAMOND GOLDIN                                                 P O BOX 981                                                                       NORTHAMPTON            MA           01061
    Barbara Dietz                                                          19225 Kristen Way                                                                 San Antonio            TX           78258
    Barbara Dixon                                                          820 South Jones Blvd                                                              North Liberty          IA           52317
    Barbara E Arens                                                        17 Pleasant Street                                                                Burlington             MA           01803
    BARBARA E FISHER                                                       16 CONCORD ROAD                                                                   SUDBURY                MA           01776
    Barbara Falkner                                                        350 colorado ave                                                                  AURORA                 IL           60506

    BARBARA FISCH                           DBA BLUE SLIP MEDIA            8312 LAKE MURRAY BLVD, SUITE O                                                    SAN DIEGO              CA           92119
    BARBARA FRANCHI                                                        16 WASHINGTON AVENUE                                                              PRT JEFSN STA          NY           11776
    BARBARA FRANCIS DBA PIPPIN
    PRESS                                                                  GRACIE STATION BOX 1347          229 EAST 85TH ST                                 NEW YORK               NY           10028
    Barbara Funk                                                           122 East Holly Lane                                                               Little Egg Harbor      NJ           08087
    BARBARA G HEALD-TAYLOR                                                 19 SOMERSET DR UNIT 19                                                            PORT DOVER             ON           N0A 1N7      Canada
    Barbara Gallagher                                                      290 WEST MAIN ST                 # 220                                            HYANNIS                MA           02601
    Barbara Geldersma                                                      P.o. Box 146                                                                      Springdale             UT           84767
    BARBARA GRIEST-DEVORA                                                  2176 W SUMMIT AVE                                                                 SAN ANTONIO            TX           78201
    BARBARA GRZESLO                                                        250 W24 ST #20W                                                                   NEW YORK               NY           10011
    BARBARA H RODGERS                                                      2585 PINE TREE RD                                                                 CUMMING                GA           30041
    BARBARA H ZWADYK                                                       4301 SHOAL CREEK DR                                                               GREENSBORO             NC           27910
    Barbara Hahn                                                           1359 Madison Court                                                                St Charles             IL           60174
    Barbara Hawkins                                                        7998 Meadowbrook Drive                                                            Indianapolis           IN           46240
    BARBARA HENRY                                                          44 DWINELL STREET                                                                 BOSTON                 MA           02132-1707
    BARBARA HILL                                                           BOX 61581 BROOKSWOOD R P O                                                        LANGLEY                BC           V3A 8C8      Canada
    BARBARA HILL                                                           12106 CLASSIC PL                                                                  BURLINGTON             WA           98233
    BARBARA HIRSCH LEMBER                                                  8225 FOREST AVENUE                                                                ELKINS PARK            PA           19027
    Barbara Hoelzer                                                        2453 Rick Whinery Dr                                                              Austin                 TX           78728
    BARBARA HOGENSON AGENCY                 165 WEST END AVENUE            SUITE 19 C                                                                        NEW YORK               NY           10023-5511

    BARBARA HOGENSON AGENCY. INC 215 WEST 92ND ST                          SUITE 15-G                                                                        NEW YORK               NY           10025
    Barbara Howard                                                         8 Chickadee Drive                                                                 Topsham                ME           04086
    BARBARA HRANILOVICH                                                    3422 RIDGEFIELD                                                                   LANSING                MI           48906
    BARBARA HUNTER                                                         36 REEDS AVENUE                                                                   EARLEY READING                      RG6 5SR      United Kingdom
    Barbara J Jump                                                         404 WILLOW ST                                                                     MAPLE PARK             IL           60151
    Barbara J Lynch                                                        925 Watertown Street                                                              Newton                 MA           02465
    Barbara J Mills                                                        216 Westminster Court            #6                                               Schaumburg             IL           60193
    Barbara J. Beshel                                                      28474 Clubhouse Driv                                                              Easton                 MD           21601
    BARBARA JATKOLA                                                        40 RIDGECREST RD                                                                  JAFFREY                NH           03452
    Barbara Jean Cramer                                                    205 E. Victoria Circle                                                            North Aurora           IL           60542
    Barbara Joyce                                                          20 Filly Way                                                                      Marstons Mills         MA           02648
    BARBARA KING-SHAVER                                                    69 AMITY PLACE                                                                    AMHERST                MA           01002-2255
    BARBARA KNUDSON                                                        16035 OAK SHORE DRIVE                                                             LAKEVILLE              MN           55044
    BARBARA L FIERMAN                                                      86 NEHIODEN ROAD                                                                  WABAN                  MA           02468

    BARBARA LAMBASE                                                        2705 VIA ANITA                                                                    PALOS VERDES ESTATES   CA           90274
    Barbara Lancelotta                                                     22 BRYANT STREET                                                                  WOBURN                 MA           01801
    BARBARA LAVALLEE                                                       704 SUNSET DRIVE                                                                  ANCHORAGE              AK           99501
    Barbara Lebuhn                                                         646 North Humphrey Avenue                                                         Oak Park               IL           60302
    Barbara Lech                                                           PO Box 200447                                                                     Austin                 TX           78720

    BARBARA LEVY                            BARBARA LEVY LITERARY AGENCY   64 GREENHILL HAMSTEAD HIGH ST                                                     LONDON                              NW3 5TZ      United Kingdom
    BARBARA LIPKE                           ATTN MARNI LIPKE               122 HOLLY TREE LANE                                                               VINEYARD HAVEN         MA           02568
    Barbara Loiseau                                                        13240 glacier national dr        5405                                             Orlando                FL           32837
    BARBARA LONG                                                           121 SCHREIBER DRIVE                                                               HASLET                 TX           76052
    BARBARA LUTKINS                                                        PO BOX 477                                                                        IPSWICH                MA           01938
    BARBARA LYNCH INC                                                      9 PARK ST                                                                         BOSTON                 MA           02108
    BARBARA M RUSH                                                         159 MONTROSE DR                                                                   DURHAM                 NC           27707-3900
    BARBARA M TAYLOR                                                       21 MEADOWS COURT                                                                  WHITEFISH              MT           59937

    BARBARA MARKOWITZ                       DBA BARBARA MARKOWITZ AGENCY P O BOX 41709                                                                       LOS ANGELES            CA           90041-0709
    BARBARA MARKOWITZ                                                    P.O. BOX 41709                                                                      LOS ANGELES            CA           90041
    BARBARA MCKEAN                                                       3651 NORTH FORGEUS                                                                  TUCSON                 AZ           85716
    Barbara McNeely                                                      9100 Teasley Lane                  Lot K-26                                         Denton                 TX           76210
    Barbara Meyers                                                       160 EAGLE RIDGE WAY                                                                 NANUET                 NY           10954-1020
    Barbara Micetich                                                     Fenton Ranch 26473 Hwy 126                                                          Jemez Springs          NM           87025
    BARBARA MILLER                                                       81 GREAT TITCHFIELD ST             FLAT 3                                           LONDON                              W1P 7FN      United Kingdom
    BARBARA MORDVINOFF                                                   11731 STONE HAVEN WAY                                                               W PALM BEACH           FL           33412
    Barbara Morris                                                       1312 Thompson Ave                                                                   Glendale               CA           91201



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                       37 of 488                                                                                          1:26 PM
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                                                                                                              45 of      519
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                                                                                                                  First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                     Address2              Address3               City          State       Zip      Country
    Barbara Moss                                                           8017 Lake Providence           Drive                                         Weddington           NC           28104
    BARBARA MOULTON                         DBA MOULTON AGENCY             94 CRESTLAKE DRIVE                                                           SAN FRANCISCO        CA           94132
    BARBARA MYER                                                           5425 OAKLEY RD                                                               MCKINNEY             TX           75070
    Barbara Orloff                                                         812 Bay Street                                                               Suisun City          CA           94585
    BARBARA P HARVEY                                                       PO BOX 3825                                                                  CHRISTIANSTED        VI           00822
    BARBARA P MOORE                                                        12 WALBACH ST P O BOX 902                                                    NEW CASTLE           NH           03854
    BARBARA P SWILLEY                                                      28048 JP LADNER RD                                                           PASS CHRISTIAN       MS           39571
    Barbara Peters                                                         8156 Madeira Port Lane                                                       Fair Oaks            CA           95628
    BARBARA PROVITT                                                        2190 JASMINE WAY                                                             NORTH PORT           FL           34287
    Barbara R Stratton                                                     28 Vine St                                                                   Beverly Farms        MA           01915
    BARBARA RILEY                                                          495 DIANA BLVD                                                               MERRITT ISLAND       FL           32953
    BARBARA RUPERT                                                         4216 PALISADES PLACE WEST                                                    UNIVERSITY PLACE     WA           98466
    BARBARA S BRAUER                                                       PO BOX 99                                                                    SAN GERONIMO         CA           94963
    BARBARA S KAPLAN                                                       14255 SW 120th COURT                                                         MIAMI                FL           33186
    BARBARA S KOUTS                         LITERARY AGENT                 P.O. BOX 560                                                                 BELLPORT             NY           11713
    BARBARA S KOUTS AGENCY                                                 P O BOX 560                                                                  BELLPORT             NY           11713
    BARBARA S KOUTS LITERARY
    AGENCY                                                                 PO BOX 560                                                                   BELLPORT             NY           11713-0560
    BARBARA S WOOD                                                         12 HILLCREST CIRCLE                                                          WABAN                MA           02468
    Barbara Schmitt                                                        1313 Pasadena Dr                                                             Austin               TX           78757
    BARBARA SCOTT                                                          7444 DONNA AVENUE                                                            RESEDA               CA           91335
    Barbara Seidenberg                                                     1639 Lamplighter Way                                                         Orlando              FL           32818
    BARBARA SHOOK HAZEN                                                    108 E 82ND ST (6C)                                                           NEW YORK             NY           10028
    Barbara Sigman                                                         7519 Megan Elissa Lane                                                       Orlando              FL           32819
    Barbara Siry                                                           2648 Brookside Ct.                                                           Maitland             FL           32751
    Barbara Sprindis                                                       357 S Spruce Ave                                                             Maple Shade          NJ           08052
    Barbara Starcher Myers                                                 61 Sunset Beach Rd                                                           Morgantown           WV           26508
    Barbara Steward                                                        3148 Cambria Court                                                           Aurora               IL           60503
    BARBARA STUHLMANN                                                      P O BOX 276                                                                  BECKET               MA           01223
    Barbara Sullivan                                                       675 VFW Parkway                #163                                          Chestnut Hill        MA           02467
    BARBARA SUTTON                                                         341 LAKE AVENUE                                                              ALBANY               MN           56307
    Barbara Sweet                                                          39 ELLERY STREET                                                             CAMBRIDGE            MA           02138
    BARBARA T SCHAFFER                      DBA CRESTVIEW STUDIO           1 CRESTVIEW DRIVE                                                            BROOKFIELD           CT           06804
    Barbara Tufts                                                          8 Holt Street                                                                Belmont              MA           02478
    BARBARA WALLRAFF                                                       320 DUDLEY STREET                                                            BROOKLINE            MA           02445
    BARBARA WENDLING                                                       16340 SHADYBANK                                                              DALLAS               TX           75248-2957
    BARBARA WHITE WALKER                                                   517 MERCHANT STREET            C/O THE EMPORIA GAZETTE                       EMPORIA              KS           66801
    BARBERS HILL I S DISTRICT               ACCOUNTS PAYABLE               P O BOX 1108                                                                 MONT BELVIEU         TX           77580
    BARBIER SUZETTE                                                        124 WINCHESTER STREET                                                        NEWTON               MA           02461
    BARCLAYS
    Barclays Capital                        HY Desk                        745 Seventh Ave., 30th Fl.                                                   New York             NY           10019
    BARCO ASSIGNMENT LTD                                                   4 CHASE METROTECH CENTER       C/O CHASE MANHATTAN BANK                      BROOKLYN             NY           11245
                                                                           2067 MASSACHUSETTS AVE - 5TH
    BAREFOOT BOOKS                                                         FLR                                                                          CAMBRIDGE            MA           02140

    BAREFOOT BOOKS INC                      ATTN SARAH SPENCER             2067 MASSACHUSETTS AVE - 5TH FL                                              CAMBRIDGE            MA           02140
    BAREFOOT BOOKS INC                                                     2067 MASSACHUSETTS AVENUE       5TH FLOOR                                    CAMBRIDGE            MA           02140
    BAREFOOT BOOKS INC                                                     2067 MASSACHUSETTS AVENUE                                                    CAMBRIDGE            MA           02140

    BARER LITERARY INC                      ATTN JULIE BARER            270 LAFAYETTE STREET SUITE 1504                                                 NEW YORK             NY           10010
    BARER LITERARY LLC                                                  270 LAFAYETTE STREET STE 1504                                                   NEW YORK             NY           10012
                                            DEPARTMENT OF COMMUNICATION
    BARGE J KEVIN                           STUDIES                     BAYLOR UNIVERSITY                                                               WACO                 TX           76798
    BARI ARLO THOMPSON                                                  315 LAKE BAY COURT                                                              LAKE OSWEGO          OR           97034-8857
    BARKIN & DAVIS                                                      1107 NOTLEY ROAD                                                                SILVER SPRING        MD           20904
    BARKIN CAROL                                                        47 VILLARD AVENUE                                                               HASTINGS-ON-HUDSON   NY           10706
    BARNABY FITZGERALD                                                  6024 WORTH                                                                      DALLAS               TX           75214
    BARNES & NOBLE BOOKSELLERS                                          P O BOX 951610                                                                  DALLAS               TX           75395-1610
    BARNES & NOBLE DISTRIBUTION
    BARNES & NOBLE INC
    BARNES AND NOBLE COLLEGE                BOOKSELLERS                    120 mountain view BLVD.                                                      BASKING RIDGE        NJ           07920
    BARNES AND NOBLE INC                                                   1400 OLD COUNTRY ROAD                                                        WESTBURY             NY           11590
    BARNES GROUP INC                                                       DEPT CH 14079                                                                PALATINE             IL           60055-4079
    BARNESCARE                                                             PO BOX 502808                                                                ST LOUIS             MO           63150-2808

    BARNUM MUSEUM FOUNDATION INC                                           820 MAIN ST                                                                  BRIDGEPORT           CT           06604

    BARON PHOTOGRAPHY AND IMAGE FINDERS INC                                2570 SUPERIOR AVE # 200                                                      CLEVELAND            OH           44114
    BARON WORMSER                                                          834 THISTLE HILL ROAD                                                        MARSHFIELD           VT           05658
    BAROR INTERNATIONAL INC                                                PO BOX 868                                                                   ARMONK               NY           10504



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                  38 of 488                                                                                 1:26 PM
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                                                                                                                 46 of      519
                                                                                                                         Matrix
                                                                                                                      First Class Service List


            CreditorName                              CreditorNoticeName                Address1                           Address2              Address3               City             State       Zip            Country
    BARRACUDA NETWORKS INC                                                  DEPT LA 22762                                                                   PASADENA                CA           91185-2762

    BARREN COUNTY BOARD OF EDUC             PARK CITY ELEMENTARY            45 INDIAN MILL RD                                                               PARK CITY               KY           42160

    BARRERA ROSALINDA B                     COLLEGE OF EDUCATION EDB 2001   2419 SUMMIT RIDGE DRIVE                                                         SAN MARCOS              TX           78666
    BARRETT & MACKAY PHOTO INC              PO BOX 384                      WEST RIVER ROAD                                                                 CORNWALL                PE           C0A 1H0      Canada
    BARRICADE BOOKS                                                         185 BRIDGE PLAZA, N SUITE 308-A   ATTN PERMISSIONS                              FORT LEE                NJ           07024
    BARRINGTON BOARD OF
    EDUCATION                                                               311 READING AVE                                                                 BARRINGTON              NJ           08007
    BARRONS EDUCATIONAL SERIES
    INC                                                                     250 WIRELESS BOULEVARD                                                          HAUPPAUGE               NY           11788-3924

    BARRONS EDUCATIONAL SERVICES                                            250 WIRELESS BLVD                                                               HAUPPAUGE               NY           11788-3924
    BARRY A VAN DEMAN                                                       3015 PUMP STATION ROAD                                                          DURHAM                  NC           27712
    Barry Bonessi                                                           157 Gulf Street                                                                 Milford                 CT           06460
    BARRY GILMORE                                                           5040 COLE RD                                                                    MEMPHIS                 TN           38117
    BARRY GOLDBLATT LITERARY
    AGENCY INC                                                              320 7TH AVE - PMB266                                                            BROOKLYN                NY           11215
                                                                                                              DBA BARRY KLEIDER
    BARRY KLEIDER                                                           3348 EMERSON AVENUE SOUTH         PHOTOGRAPHY                                   MINNEAPOLIS             MN           55408
    BARRY L JONES                                                           146 ROSELAND AVE                                                                MEDINA                  NY           14103

    BARRY LARSON                            DBA BARRY LARSON AUDIO VISUAL 20 RUSSELL BLVD STE G                                                             BRADFORD                PA           16701
    BARRY LYGA                                                            4 THIRD PLACE                                                                     BROOKLYN                NY           11231
    BARRY N MALZBERG                                                      PO BOX 61                                                                         TEANECK                 NJ           07666
    Barry Ruckel                                                          39 Covey Lane                                                                     Holland                 PA           18966
    BARTINIQUE INGRID S                                                   57 CANDIA STREET                                                                  ARLINGTON               MA           02474-2825
    BARTLETT ELEMENTARY SCHOOL                                            111 E NORTH AVE                                                                   BARTLETT                IL           60103
    BARTOLETTI SUSAN                                                      P O BOX 718                                                                       MOSCOW                  PA           18444
    BARTON ANNE                                                           TRINITY COLLEGE                                                                   CAMBRIDGE                            CB1 1TQ      United Kingdom
    BARTON BYRON                                                          7411 WEXFORD COURT                                                                LAKEWOOD RANCH          FL           34202
    BARY ROSS FETTEROLF                                                   3112 CREAMERY ROAD                                                                NEW HOPE                PA           18938
    Barzilay Communications, LLC                                          141 Village Street                                                                Millis                  MA           02054
    BASELINE DEVELOPMENT GROUP                                            77 N. WASHINGTON ST                                                               BOSTON                  MA           02114-1908
    BASICS PLUS INC                         MEL BROWN                     P O BOX 1093                                                                      MUSTANG                 OK           73064
    BASILE CAROLE                                                         1550 FAWN VALLEY DRIVE                                                            DES PERES               MO           63131
    Basiliola Cascella-Cheney                                             14 Evergreen Ave.                                                                 Somerville              MA           02145
    BASS RICK                                                             3845 VINAL LAKE RD                                                                TROY                    MT           59935
                                                                          MIKHITARIST BLDG BUTROS
    BASSAM BAGHDADI                         APR # 3 2ND FL                BUSTANI ST                                                                        ZUKAL EL BULAT BEIRUT                             Lebanon
    BASTIAN MATERIAL HANDLING                                             PO BOX 6069 DEPT 61                                                               INDIANAPOLIS            IN           46206
    BASTROP INDEPENDENT SCHOOL
    DISTRICT                                                                906 FARM STREET                                                                 BASTROP                 TX           78602
    BAT BOY LLC                             DBA WEEKLY WORLD NEWS           P O BOX 3081                                                                    NEW YORK                NY           10163
    BAT CONSERVATION
    INTERNATIONAL INC                                                       P O BOX 162603                                                                  AUSTIN                  TX           78716
    BATAVIA CONTAINER INC                                                   PO BOX 550                                                                      BATAVIA                 IL           60510
    BATAVIA CONTAINER, INC.                 P.O. BOX 550                    1400 PARAMOUNT PARKWAY                                                          BATAVIA                 IL           60510
    BATAVIA FLORAL & DESIGN INC                                             109 S BATAVIA AVENUE                                                            BATAVIA                 IL           60510
    Batelle for Kids                                                        41 S. High Street                 Suite 2240                                    Columbus                OH           43215
    BATES COLLEGE                           2 ANDREW RD                     221 LANE HALL                                                                   LEWISTON                ME           04240
    BATES COLLEGE                                                           4 ANDREWS ROAD                    ACCOUNTING OFFICE LANE HALL                   LEWISTON                ME           04240
    BATESON MARY CATHERINE                                                  P O BOX 10 47 DEPOT RD UNIT 2                                                   HANCOCK                 NH           03449
                                  INTELLECTUAL PROPERTY LAW
    BATTELLE MEMORIAL INSTITUTE   DEPT                                      505 KING AVE                                                                    COLUMBUS                OH           43201-2693
    BATTEN JENNY                                                            1014 CHESTNUT DRIVE                                                             SMITHFIELD              NC           27577
    BATTLE GROUND SCHOOL DISTRICT
    # 119                                                                   P O BOX 200                       ACCOUNTING DEPARTMENT                         BATTLE GROUND           WA           98604
    BATYA ELBAUM                                                            5761 SW 47 STREET                                                               MIAMI                   FL           33155
    BAUDVILLE INC                 DBA IDVILLE                               5380 52ND STREET SE                                                             GRAND RAPIDS            MI           49512
    BAUER MARION DANE                                                       508 MONTCALM PLACE                                                              ST PAUL                 MN           55116
    BAUER MEDIA GROUP INC                                                   PO BOX 826226                                                                   PHILADELPHIA            PA           19182

    BAUM & BEAULIEU ASSOCIATES INC                                          P O BOX 582                                                                     GREAT RIVER             NY           11739
    BAUMANN JAMES F                                                         106 DENE DRIVE                                                                  COLUMBIA                MO           65201
    BAUSCH RICHARD                                                          1174 HUNTSMAN LANE                                                              MEMPHIS                 TN           38120
    BAXTER SPRINGS SCHOOLS         LINCOLN ELEMENTARY                       801 LINCOLN AVENUE                                                              BAXTER SPRINGS          KS           66713
    BAXTER SPRINGS SCHOOLS         CENTRAL ELEMENTARY SCHOOL                1520 CLEVELAND AVE                                                              BAXTER SPRINGS          KS           66713
    BAXTER SPRINGS SCHOOLS         BAXTER SPRINGS HIGH SCHOOL               100 NORTH MILITARY                                                              BAXTER SPRINGS          KS           66713
    BAXTER SPRINGS SCHOOLS                                                  1520 CLEVELAND AVE                                                              BAXTER SPRINGS          KS           66713



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                      39 of 488                                                                                           1:26 PM
                                                      12-12171-reg            Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                47 of      519
                                                                                                                        Matrix
                                                                                                                         First Class Service List


             CreditorName                             CreditorNoticeName               Address1                               Address2                        Address3                    City          State       Zip                Country
    BAXTER SPRINGS SCHOOLS                                                 801 LINCOLN AVENUE                                                                                    BAXTER SPRINGS    KS           66713

    BAXTER SPRINGS SCHOOLS                  BAXTER SPRINGS MIDDLE SCHOOL   1520 CLEVELAND AVE                                                                                    BAXTER SPRINGS    KS           66713
    BAY ALARM COMPANY                                                      PO BOX 218                                                                                            RODEO             CA           94572
    BAY AREA TRAVEL WRITERS INC                                            P O BOX 460222                                                                                        SAN FRANCISCO     CA           94146
    BAY CITY INDEPENDENT SCHOOL
    DISTRICT                                HOLMES ELEMENTARY SCHOOL       590 7TH STREET                                                                                        BAY CITY          TX           77414
    BAY CITY INDEPENDENT SCHOOL
    DISTRICT                                BAY CITY MIDDLE SCHOOL         520 7TH STREET                                                                                        BAY CITY          TX           77414
    BAY CITY INDEPENDENT SCHOOL
    DISTRICT                                                               590 7TH STREET                                                                                        BAY CITY          TX           77414
    BAY COUNTY READING
    ASSOCIATION                                                            P O BOX 16134                                                                                         PANAMA CITY       FL           32406
                                            MEREDITH HIGGINS - BAY DISTRICT
    BAY COUNTY SCHOOL BOARD                 SCHOOLS                         1311 BALBOA AVENUE                                                                                   PANAMA CITY       FL           32401
    BAY STATE ENVELOPE                                                      440 CHAUNCY ST                                                                                       MANSFIELD         MA           02048
    BAYARD EDITIONS                         ACCOUNT DEPARTMENT              18 RUE BARBES                                                                                        MONTROUGE                      92128        France
    BAYARD INC                                                              PO BOX 6015                                                                                          NEW LONDON        CT           06320
    BAYARD PRESSE CANADA INC                                                10 LOWER SPADINA AVE STE 400                                                                         TORONTO           ON           M5V 2Z2      Canada
    Bayers, William
    BAYLOR UNIVERSITY                                                      ONE BEAR PLACE #97043                                                                                 WACO              TX           76798-7043
    Bayne Byrd Jr.                                                         1445 N. Gibson Ave.                                                                                   Indianapolis      IN           46219
    BAYTECH LABEL INC                                                      12177 - 28TH STREET NORTH                                                                             ST PETERSBURG     FL           33716
    BB RIVERBOATS                                                          101 RIVERBOAT ROW                                                                                     NEWPORT           KY           41071

    BBA INC                                                                120 NORTH VAL VISTA DRIVE, # 136                                         DBA BEV BROWNING & ASSOCIATES MESA             AZ           85213
                                            HSBC BANK - CITY OF LONDON
    BBC AUDIOBOOKS                          CORP OFF                       P O BOX 125, 8 CANADA SQUARE                                                                          LONDON                         E14-5XL      United Kingdom
    BC ASSOCIATIES PROGRAM                  PETER ROLLINS                  MORE HALL RM 220                   CARROLL OF MANAGEMENT                                              CHESTNUT HILL     MA           02467
    BC ASSOCIATIES PROGRAM                  BOSTON COLLEGE                 MORE HALL RM 220                   CARROLL OF MANAGEMENT                                              CHESTNUT HILL     MA           02467
    BCS/ProSoft                                                            2700 Lockhill-Selma Road                                                                              San Antonio       TX           78230
    BCS/ProSoft, Inc.                       Attn Accounts Receivable       2700Lockhill-Selma Road                                                                               San Antonio       TX           78230
    BCSD EDUCATION FOUNDATION                                              1300 BAKER STREET                                                                                     BAKERSFIELD       CA           93305
    BD OF EDUCATION LITCHFIELD
    COMM SCHS                                                              210 WILLIAMS STREET                                                                                   LITCHFIELD        MI           49252
    BDO SEIDMAN, LLP                                                       P O BOX 642743                                                                                        PITTSBURGH        PA           15264-2743
    BDSP INC                                                               P O BOX 693                                                                                           RHINEBECK         NY           12572
    BE MATHEMATICAL INC                                                    124 SILVERWOOD DRIVE                                                                                  BOZEMAN           MT           59715-9255
    Beachwood City School Dist.             Paul Williams                  24601 Fairmount Blvd.                                                                                 Beachwood         OH           44122
    BEACON PRESS                                                           25 BEACON ST                                                                                          BOSTON            MA           02108
    BEACON PRESS                                                           25 BEACON STREET                                                                                      BOSTON            MA           02108-2824
    BEACON TECHNOLOGY PARTNERS
    LLC                                                                    2 SHAKER ROAD STE D 213                                                                               SHIRLEY           MA           01464
    BEAN RITA                                                              232 JILL DR                                                                                           PITTSBURGH        PA           15236
    BEAR DONALD R                                                          4186 KATHLEEN DENISE LANE                                                                             RENO              NV           89503
    BEAR PAW PRINTING LLC                                                  1733 FYLER ROAD                                                                                       CHITTENANGO       NY           13037
    BEARCAT SHOP                                                           320 STANLEY AVENUE                 GRIER STUDENT CENTER                                               GREENWOOD         SC           29646
    BEARD EARLY CHILDHOOD                                                  840 WATERMAN ST                                                                                       DETROIT           MI           48209
    BEARPORT PUBLISHING CO INC                                             45 WEST 21ST ST SUITE 3B                                                                              NEW YORK          NY           10010
    BEARPORT PUBLISHING CO. INC             ATTN KENN GOIN                 101 FIFTH AVENUE, STE 6-R                                                                             NEW YORK          NY           10003
    BEAT THE BOOKSTORE                                                     2826 MIDDLE TENN BLVD                                                                                 MURFREESBORO      TN           37130
    BEATA A HEBDA                                                          6890 PAYTON ROAD                                                                                      CUMMING           GA           30041
    BEATE LANGE                                                            MARIANNENGASSE 21                                                                                     ENZESFELD                      02551        Austria
    Beatrice Currier                                                       3 Lanes End                                                                                           Natick            MA           01760
    Beatrice Hoyner                                                        131 S. Windham Ln.                                                                                    Bloomingdale      IL           60108
    Beatrice Jean-Baptiste                                                 1661 Lafrance Street               Unit 319                                                           Atlanta           GA           30307
    Beatrice Kenney                                                        2936 East Encanto Street                                                                              Mesa              AZ           85213
    BEATRICE S FULTZ                                                       1332 EAST CARDINAL DRIVE                                                                              LOCK HAVEN        PA           17745
    BEAUCHEMIN DEZAINDE INC                                                2260 DELISLE                                                                                          MONTREAL          QC           H3J 2N7      Canada
    BEAUCHESNE FIRE EQUIPMENT               AARON DAVID BEAUCHESNE         21 FREEMAN ST                                                                                         ATTLEBORO FALLS   MA           02763
    Beaufort County School Distric          Attn Anne Sbrocchi             4128 Hwy 28                                                                                           Dorchester        SC           29477
    Beaufort Elementary                                                    1800 Prince St.                                                                                       BEAUFORT          SC           29902
    BEAUMONT AREA ALLIANCE OF
    BLACK SCHOOL                            EDUCATORS                      P O BOX 22577                      ATTN JESSIE HAYNES                                                 BEAUMONT          TX           77720
    BEAUREGARD PARISH SHERIFF
    OFFICE                                  SALES TAX DEPARTMENT           P O BOX 639                                                                                           DERIDDER          LA           70634-0639
    BEAUVOIR SCHOOL                         ATTN ACCOUNTS PAYABLE          3500 WOODLEY ROAD NW                                                                                  WASHINGTON        DC           20016
    BEAVER SHREDDING                                                       PO BOX 454                                                                                            WILLOW SPRINGS    IL           60480
    BEBE CURRIER                                                           3 LANES END                                                                                           NATICK            MA           01760
    BECK ROGER                                                             814 4TH ST                                                                                            CHARLESTON        IL           61920



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                         40 of 488                                                                                                          1:26 PM
                                                      12-12171-reg          Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          PgCreditor
                                                                                                             48 of      519
                                                                                                                     Matrix
                                                                                                                   First Class Service List


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    BECKHAM EUGENE C                                                      2174 E ASHBY ROAD                                                              MIDLAND             MI           48640
    BECKI ETHERIDGE                                                       4 ROCKY LOOP                                                                   ALEX CITY           AL           35010-4983
    BECKY MORRIS                                                          3605 NW 24TH                                                                   OKLAHOMA CITY       OK           73107
    BECKY TERHUNE                                                         194 CALYER STREET # 2                                                          BROOKLYN            NY           11222
    BEDFORD MOTOR SERVICES INC                                            2600 INTERNATIONALE PKWY                                                       WOODRIDGE           IL           60517
    BEDNARZ SARAH                                                         1101 MARSTELLER STREET                                                         COLLEGE STATION     TX           77840-2516
    BEELER SELBY                                                          807 TENTH AVE SW                                                               ROCHESTER           MN           55902
    Beeman, Yvette
    BEERS KYLENE                                                          23 GLENLEIGH PLACE                                                             THE WOODLANDS       TX           77391
    BEIJING PICO EXHIBITION SERVICES                                                                                                                     CHAOYANG DISTRICT
    CO LTD                                                                PICO CENTER 8 SHUI QIAO BEI                                                    BEIJING                          102218       China
    BEIT HATFUTSOT                   THE VISUAL DOCUMENTATION CTR         P O BOX 39359                   BETH HATEFUTSOTH                               TEL AVIV                         61392        Israel

    BEKINS EDC MOVING SYSTEMS INC                                         PO BOX 920680                                                                  HOUSTON             TX           77292-0680
    BELINDA BOZZOLI                                                       8 ENNIS RD, PARKVIEW                                                           JOHANNESBURG                     02193        South Africa
    BELINDA JACK                                                          CHRIST CHURCH (OXFORD UNIV)                                                    OXFORD                           OX1 1DP      United Kingdom
    Belinda Lopez                                                         259 5th St                                                                     Maxwell             TX           78656
    BELINDA PAGAN                                                         1826 NORTH NAGLE                                                               CHICAGO             IL           60707
    BELINDA S RAY                                                         65 EAST OXFORD ST                                                              PORTLAND            ME           04101
    BELL ANTHEA                                                           HOLME COTTAGE HISTON                                                           CAMBRIDGE                        CB24 9LJ     United Kingdom
    Bella Eventova                                                        9341 B BANES ST                                                                PHILADELPHIA        PA           19115
    BELLA POMER AGENCY, INC.                                              355 ST CLAIR AVENUE WEST #801                                                  TORONTO             ON           M5N 2Z8      Canada
    BELLE ETOILE STUDIOS                                                  3660 ABERCROMBIE LANE                                                          STILLWATER          MN           55082
    BELLE PEPPERS TOO LLC                                                 1 NEW HAMPSHIRE AVE                                                            PORTSMOUTH          NH           03801
    BELLEFONTAINE CITY SCHOOLS              WESTERN INTERMEDIATE SCHOOL   820 LUDLOW RD                                                                  BELLEFONTAINE       OH           43311
    BELLEFONTAINE CITY SCHOOLS              BELLEFONTAINE MIDDLE SCHOOL   820 LUDLOW RD                                                                  BELLEFONTAINE       OH           43311
    BELLEVUE COMMUNITY COLLEGE
    BKSTRE                                                                3000 LANDERHOLM CIRCLE SE                                                      BELLEVUE            WA           98007
    BELLINGER VICTORIA                                                    68 OXFORD PLACE                                                                STATEN ISLAND       NY           10301-3008
    Bellissimo, Dan                         Apollo Management LP          9 West 57th Street              43rd Floor                                     New York            NY           10019
    Bellissimo, Dan
    BELLMAWR FIRE AND RESCUE 1                                            29 LEWIS AVENUE                                                                BELLMAWR            NJ           08031-1249
    BELLMAWR JOINT VENTURE                  BOX # 3316                    PO BOX 8500                                                                    PHILADELPHIA        PA           19178
    BELLMAWR PARK VOLUNTEER FIRE
    COMPANY                                                               12 ESSEX AVE                                                                   BELLMAWR            NJ           08031-2425
    Bello Black & Welsh
    BELLO BLACK & WELSH LLP                 ONE EXETER PLAZA              699 BOYLSTON ST 10TH FL                                                        BOSTON              MA           02116-2879
    BELMARK INC                                                           600 HERITAGE ROAD                                                              DE PERE             WI           54115
    BELMARK INC                                                           P O BOX 5310                                                                   DE PERE             WI           54115-2444
    BELMONT HIGH SCHOOL                                                   221 CONCORD AVE                                                                BELMONT             MA           02478

    BELMONT UNIVERSITY BOOKSTORE                                          1900 BELMONT BLVD                                                              NASHVILLE           TN           37212
    BELOIT COLLEGE                                                        700 COLLEGE ST                                                                 BELOIT              WI           53511
    BELTMANN GROUP INC           NW5968                                   PO BOX 1450                                                                    MINNEAPOLIS         MN           55485
    BELTRAN DOLORES                                                       4304 NOCHE CLARA NW                                                            ALBUQUERQUE         NM           87114-6533
    BELZ PARTNERS L P            THE PEABODY ORLANDO                      9801 INTERNATIONAL DRIVE                                                       ORLANDO             FL           32819
    BEN BARNHART                                                          BOX 305                                                                        SHELURNE FALLS      MA           01370
    BEN GAMLA CHARTER SCHOOL                                              2620 HOLLYWOOD BLVD                                                            HOLLYWOOD           FL           33020
    BEN GIBSON                                                            911 UNION STREET # 3                                                           BROOKLYN            NY           11215
    BEN H SIMMONS                                                         AKIYA 2-14-1                                                                   YOKOSUKA                         240-0105     Japan
    BEN KATCHOR INC                                                       240 WEST 102ND STREET #34                                                      NEW YORK            NY           10025
    Ben Lamond High School       Attn Timothy Smith                       800 Jackson Ave.                                                               OGDEN               UT           84404
    BEN RAFOTH                                                            1557 STAUNTON DR                                                               INDIANA             PA           15108-8975
    BEN SARGENT                                                           5402 VILLAGE WAY COURT                                                         AUSTIN              TX           78745
    BEN SHAPIRO                                                           2432 MOUNTAIN BROOK                                                            HACIENDA HTS        CA           91745
    BENAY ENTERPRISES INC                                                 155 MAIN STREET, STE 201                                                       DANBURY             CT           06810
    BENEDICT R C FITZGERALD                                               236 TIGERTAIL RD                                                               LOS ANGELES         CA           90049
    Benezra & Culver, LLC                                                 274 Union Blvd. #220                                                           Denver              CO           80228
    BENITA DILLARD                                                        10 BECK AVENUE                                                                 GREENVILLE          SC           29605
    Benita L Spight                                                       15 Lawrence Court                                                              Wilmington          MA           01887
    BENJAMIN BANNEKER CHARTER
    SCH                                                                   21 NOTRE DAME AVE                                                              CAMBRIDGE           MA           02140
    BENJAMIN BLAKE                                                        2035 WEBERWOOD DR                                                              S CHARLESTON        WV           25303-3029
    Benjamin Blake                                                        2712 Park Place                                                                Evanston            IL           60201
    BENJAMIN FORTSON                                                      1311 LUTZ AVE                                                                  ANN ARBOR           MI           48103
    Benjamin Hyman                                                        100 S 4th St                    Apartment 1G                                   Brooklyn            NY           11211
    BENJAMIN J FOSTER                                                     803 WEST 18TH TERRACE                                                          RUSSELLVILLE        AR           72801
    Benjamin J Kolbe                                                      17 Brigati Terrace                                                             Framingham          MA           01701
    Benjamin Koth                                                         3565 Raymar Boulevard                                                          Cincinnati          OH           45208
    BENJAMIN KOVACS                                                       5017 N WOLCOTT AVE, APT 209                                                    CHICAGO             IL           60640



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                   41 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
                                                                                                                     Entered
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                                                                                                             PgCreditor
                                                                                                                49 of      519
                                                                                                                        Matrix
                                                                                                                        First Class Service List


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    BENJAMIN KRAIEM                                                        1681 OCEAN PKWY                                                                                 BROOKLYN           NY           11223
    Benjamin L Miwa                                                        14116 S Kostner Ave                                                                             Crestwood          IL           60445-2210
    BENJAMIN LUSK                                                          188 GRANT PARK DRIVE                                                                            DAYTON             KY           41074
    Benjamin Mettler                                                       2529 Benton Street                                                                              Denver             CO           80214
    BENJAMIN PHELAN                                                        1220 S BROOK STREET, APT C                                                                      LOUISVILLE         KY           40203
    Benjamin R Biggs                                                       244 River St.                      Apt. #3                                                      Cambridge          MA           02139
    Benjamin Reichman                                                      72 Princeton St                                                                                 Medford            MA           02155
    Benjamin Scott                                                         1654 Massachusetts Ave.            Apt. 65                                                      Cambridge          MA           02138-2732
    BENJAMIN WESTCOTT WEIGEL                                               207 BOBBY DRIVE                                                                                 FRANKLIN           TN           37069
    Bennett Montgomery                                                     17632 69th Pl W                                                                                 Edmonds            WA           98026
    Bennett, Karen
    BENNINGTON COLLEGE
    BOOKSTORE                                                              ONE COLLEGE DRIVE                                                                               BENNINGTON         VT           05201
    Benny Zito                                                             925 Almond Tree Circle                                                                          Orlando            FL           32835
    BENSEN NICHOLAS T                                                      90 NORTH AVENUE, #2C                                                                            SAN RAFAEL         CA           94903
    Benson Egbe                                                            2614 Mountain View Drive                                                                        Corinth            TX           76210
    BENSON JOHN                                                            715 SOUTH BOULEVARD                                                                             EVANSTON           IL           60202

    BENTON COUNTY SCHOOL OF ARTS                                           2005 SOUTH 12TH STREET                                                                          ROGERS             AR           72756
    BERCK JUDITH                                                           2441 NE 41 AVENUE                                                                               PORTLAND           OR           97212
    BEREA COLLEGE                BOOKSTORE                                 C P O BOX 2213 108 MAIN STREET                                                                  BEREA              KY           40404
    BERENZY ALIX                                                           433 FAIRVIEW ST                                                                                 PLYMOUTH           PA           18651
    Beres, Tajuana
    BERGLIE CAROL                                                          BOX 314                                                                                         SEA CLIFF          NY           11579
    BERKELEY COLLEGE BOOKSTORE                                             44 RIFLE CAMP ROAD                                                                              WEST PATERSON      NJ           07424

    BERKELEY PUBLIC ED FOUNDATION                                          1835 ALLSTON WAY                                                                                BERKELEY           CA           94703
    BERKERY NOYES & CO LLC                                                 ONE LIBERY PLAZA 13TH FLOOR                                                                     NEW YORK           NY           10006
    BERKLEE COLLEGE OF MUSIC                                               1140 BOYLSTON ST MS-1140-IA                                                                     BOSTON             MA           02215
    BERLIN ASSOCIATES LIMITED                                              14 FLORAL STREET                                                                                LONDON                          WC2E 9DH     United Kingdom
    BERLINER PHOTOGRAPHY LLC      DBA BEIMAGES                             PO BOX 480066                                                                                   LOS ANGELES        CA           90048
    BERMUDEZ ANDREA                                                        62 CONDESA ROAD                                                                                 SANTA FE           NM           87508
    Berna Faye Bowhan                                                      12276 E. Palomino Rd                                                                            Scottsdale         AZ           85259
    BERNABEI GRETCHEN                                                      1111 MT RAINIER DR                                                                              SAN ANTONIO        TX           78213
    Bernadette Cooper                                                      9123 Crawford Ave                                                                               Skokie             IL           60076
    BERNADETTE ESPOSITO                                                    815 1/2 SOUTH 4TH STREET                                                                        LARAMIE            WY           82070
    Bernadette Hackett                                                     39 Beachwood Street Apt.#2                                                                      Thomaston          ME           04861
    BERNADETTE LEWIS                                                       353 LEXINGTON AVENUE               EUGENE H WINICK ESQ                  MCINTOSH AND OTIS INC   NEW YORK           NY           10016
    Bernadette Reynolds                                                    7398 Meadow View                                                                                Charleston         CO           80134
    BERNADETTE SKOK                                                        936 NORTH 30TH STREET                                                                           ALLENTOWN          PA           18104
    BERNAL RODRIGUEZ-HERRERA      ESCUELA DE BIOLOGIZ                      UNIVERSIDAD DE COSTA RICA                                                                       SAN JOSE                        02060        Costa Rica
    Bernard Cana                                                           333 San Gabriel St                                                                              Winter Springs     FL           32708
    BERNARD L EDELMAN                                                      32 WELLESLEY CIRCLE                                                                             GLEN ECHO          MD           20812
    BERNARD MARTIN                                                         2593 DYSART RD                                                                                  UNIV HEIGHTS       OH           44118
    BERNARD MOST                                                           3 RIDGECREST EAST                                                                               SCARSDALE          NY           10583
    Bernard R Williams                                                     3650 N. Hartman Dr.                                                                             Indianapolis       IN           46226
    BERNARD S OLDSEY                                                       520 WILLIAM EBBS LANE                                                                           WEST CHESTER       PA           19380
    BERNARD WABER REVOCABLE
    TRUST                                                                  3653 BERTHA DRIVE                                                                               BALDWIN            NY           11510
    BERNARD WEISS                                                          1605 APPLEWOOD RD                                                                               BATON ROUGE        LA           70808
    BERNHEIM MONICA                                                        392 CENTRAL PARK WEST #15C                                                                      NEW YORK           NY           10025
    Bernice Colt                                                           89 NEEDHAM ST                      APT 2239                                                     NEWTON HIGHLANDS   MA           02461
    Bernice Colt                                                           89 Needham Street                  Apt 2239                                                     Newton             MA           02461
    Bernice Endres                                                         1216 Maxwell Lane                                                                               Redwood City       CA           94062
    BERNICE LOEB                                                           2120 MIDDLEFIELD RD                                                                             PALO ALTO          CA           94301
    Berniece Craft                                                         72 JEROME AVE                                                                                   YPSILANTI          MI           48198
    BERNSTEIN & ANDRIULLI INC                                              58 WEST 40TH ST - 6TH FLR                                                                       NEW YORK           NY           10018-2643
    BERNSTEIN IRVING                                                       14710 SUTTON STREET                                                                             SHERMAN OAKS       CA           91403
    BERQUIS G TORRES ORTIZ                                                 306 CAMINO DE LAS PALMAS                                                URB SABANERA DEL RIO    GURABO             PR           00778
    BERRIEN SPRINGS PUBLIC
    SCHOOLS                                                                ONE SYLVESTER AVENUE                                                                            BERRIEN SPRINGS    MI           49103
    BERROTERAN JEAN GUARD                                                  2208 E. IDAHO                                                                                   LAS CRUCES         NM           88001
                                                                           353 SACRAMENTO STREET SUTIE
    BERRY APPLEMAN & LEIDEN LLP                                            1300                                                                                            SAN FRANCISCO      CA           94111
    Berry Reece                                                            924 MELVIN RD                                                                                   ANNAPOLIS          MD           21403
    Berry Swilling                                                         6035 Polo Drive                                                                                 Cumming            GA           30040

    BERRYVILLE GRAPHICS INC                 ATTN ACCOUNTS RECEIVABLE       P O BOX 272, 25 JACK ENDERS BLVD                                                                BERRYVILLE         VA           22611-0272
    BERRYVILLE GRAPHICS INC                 ATTN A/R PO BOX 272            25 JACK ENDERS BLVD                                                                             BERRYVILLE         VA           22611-1501




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                        42 of 488                                                                                                   1:26 PM
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                                                                                                                          First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                               Address2                        Address3                 City           State       Zip           Country

    BERRYVILLE GRAPHICS INC                                                 P O BOX 272, 25 JACK ENDERS BLVD                                                                  BERRYVILLE          VA           22611-0272
    BERT G KATZUNG                                                          65 KNOLL RD                                                                                       SAN RAFAEL          CA           94901
    BERT WAITS                                                              5417 NAPOLI COVE                                                                                  LAKE MARY           FL           32746
    BERT WIKLUND                                                            P O BOX 142                                                                                       BRANDE                           07330        Denmark
    Berta Lamb                                                              220 Strickland Pasture Road                                                                       Jackson             GA           30233
    BERTHIAUME TOM                                                          345 SIXTH AVENUE NO. #502                                                                         MINNEAPOLIS         MN           55401
    BERTRAM BRUCE                                                           130 DANIELS DRIVE                                                                                 WELLFLEET           MA           02667-7383
    BERYL GOLDBERG                                                          309 W 109TH ST 4F                                                                                 NEW YORK            NY           10025-2133
    BESS ALTWERGER                                                          10925 SHADOW LANE                                                                                 COLUMBIA            MD           21044-3767
    BEST FRIENDS ANIMAL SOCIETY             DBA BEST FRIEND MAGAZINE        5001 ANGEL CANYON DR                                                                              KUNAB               UT           84741-5000
    Best Friends Animal Society                                             5001 Angel Canyon Road                                                                            Kanab               UT           84741-5000
    BEST FRIENDS ANIMAL SOCIETY             ATTN JOHN POLIS                 5001 ANGEL CANYON DR                                                                              KUNAB               UT           84741-5000
    BETA CENTER INC                                                         4680 LAKE UNDERHILL ROAD                                                                          ORLANDO             FL           32807
    BETA GROUP INC                                                          P O BOX 9                                                                                         ALBION              RI           02802-0009
    BETA INC                                                                PO BOX 382                         QUESTAR ASSESSMENT                    4 HARDSCRABBLE HEIGHTS   BREWSTER            NY           10509
    BETA THOMPSON NOEL                                                      4820 NW 75TH STREET                                                                               OKLAHOMA CITY       OK           73132
    Beth A Broxterman                                                       1588 Tuppeny Ct                                                                                   Roselle             IL           60172
    Beth A Crabtree                                                         1735 Pine Ridge Drive                                                                             Davenport           FL           33896
    BETH A KANAR                                                            204 FOREST WOOD DRIVE                                                                             NORTHFIELD          OH           44067
    BETH ABATE BACON                                                        11051 NE WACKY NUT WAY                                                                            BAINBRIDGE ISLAND   WA           98110
    BETH BOOSE-JOHNSON                                                      965 BIG HILL RD                                                                                   DAYTON              OH           45419
    BETH BURLEIGH FULLER                                                    195 WEST STREET                                                                                   READING             MA           01867
    BETH CADENA                                                             7 WESTFIELD ROAD                                                                                  CAPE ELIZABETH      ME           04107
    Beth Caraccio                                                           8316 Island Point Drive                                                                           Harrison            TN           37341
    BETH F SOMMER                                                           7118 MCCALLUM STREET                                                                              PHILADELPHIA        PA           19119
    BETH GREENE                                                             3702 REED CT                                                                                      BLOOMINGTON         IN           47401
    BETH GRIFFIS JOHNSON                                                    73 LAFAYETTE STREET                                                                               MARBLEHEAD          MA           01945
    Beth Hoenig                                                             13512 Turtle Marsh Loop            #729                                                           Orlando             FL           32837
    Beth Ineson                                                             486 Revere St.                     Apartment 6                                                    Revere              MA           02151
    BETH JULIA ANDRADA                                                      1013 BRIGHTON CIR                                                                                 HUNTSVILLE          AL           35803
    BETH KASZUBA                                                            48 NORTH FRONT STREET                                                                             LEWISBURG           PA           17837
    Beth Klauer                                                             290 Lake Park Rd                   #924                                                           Lewisville          TX           75057
    BETH KROMMES                                                            310 OLD STREET RD                                                                                 PETERBOROUGH        NH           03458
    BETH L HEWETT                                                           1301 BEAUMONT CT                                                                                  FOREST HILL         MD           21050
    BETH M JACOBSON                                                         511 1/2 WALLACE AVENUE                                                                            LOUISVILLE          KY           40207
    BETH MARY MARTIN                                                        WOLLINER STRASSE 17                                                                               BERLIN                           10435        Germany
    BETH NEVILLE                                                            39 AUTUMN LANE                                                                                    HICKSVILLE          NY           11801
    Beth Overcash Walborn                                                   106 Highcliff Court                                                                               Loveland            OH           45140
    Beth Overcash Walborn                                                   14 Mapleview Court                                                                                Cincinnati          OH           45236
    BETH PERGOLA                                                            7049 BROWN DERBY CIRCLE                                                                           LAS VEGAS           NV           89128
    Beth Pierce                                                             154 Stoney Lea Rd                                                                                 Dedham              MA           02026
    BETH REITMEYER                          DBA BETTER IMAGING LLC          410 MAIN AVENUE # 3                                                                               BOWLING GREEN       KY           42101
    Beth Reitmeyer                                                          410 E Main Ave                     Suite 3                                                        Bowling Green       KY           42101
    BETH REITMEYER                                                          410 MAIN AVENUE # 3                                                                               BOWLING GREEN       KY           42101
    Beth Schneider Photography                                              10108 S. Stephen Place                                                                            Highlands Ranch     CO           80130
    BETH YESHURUN DAY SCHOOL                                                4525 BEECHNUT BLVD                                                                                HOUSTON             TX           77096
    Bethany Vinhateiro                                                      39 Farquhar Street                 Apartment 3                                                    Roslindale          MA           02131
    BETHANY VINHATEIRO                                                      749 MOUNT AUBURN ST, APT 3                                                                        WATERTOWN           MA           02474
    BETHEL COLLEGE BOOKSTORE                                                1001 WEST MCKINLEY AVENUE                                                                         MISHAWAKA           IN           46545
    BETHEL VALERIE M                                                        7705 BASIL DR                                                                                     AUSTIN              TX           78750
    BETHELL LOWELL                                                          7705 BASIL DRIVE                                                                                  AUSTIN              TX           78750
    Bethlam Forsa                                                           165 East 72nd Street               Apt. 15E                                                       New York            NY           10021
    BETHLEHEM COMMUNITY                     BETHLEHEM BOOKS                 10194 GARFIELD ST S                                                                               BATHGATE            ND           58216
    BETSY BYARS                                                             401 RUDDER RIDGE                                                                                  SENECA              SC           29678
    BETSY EVERITT                                                           2767 MANDEVILLE CANYON ROAD                                                                       LOS ANGELES         CA           90049
    BETSY MAESTRO                                                           4 FRASCO COURT                                                                                    SANTA FE            NM           87508
    Betsy Robbins                                                           305 Forest Street                                                                                 Rockland            MA           02370
    BETSY ROSENTHAL                                                         722 JACOB WAY                                                                                     PACIFIC PALISADES   CA           90272
    Bette Frazier                                                           1405 Terrace Park Dr.                                                                             Bettendorf          IA           52722
    BETTE GOLDSTONE                                                         205 HURON AVENUE                                                                                  ELKINS PARK         PA           19027
    BETTES GREENERY                                                         801 HART LANE                                                                                     DRIPPING SPRINGS    TX           78620
                                            WW II COLOR ARCHIVES - JEFF E
    BETTIE ETHELL NEED                      COLLCTN                         2141 NORTH RIVER ROAD                                                                             BAKER               WV           26801
    BETTIE WILLINGHAM                                                       PO BOX 3021                                                                                       WILSON              NC           27895
    Betty Bergstrom                                                         2626 North Lakeview                Apt. 1808                                                      Chicago             IL           60614
    Betty Cassineri                                                         1111 Morse Ave.                    #209                                                           Sunnyvale           CA           94089
    Betty Craig                                                             1591 W. Las Lomitas Road                                                                          Tucson              AZ           85704
    Betty D Shreckhise                                                      69 Pond View Lane                                                                                 Weyers Cave         VA           24486
    Betty Del Moral                                                         2629 Tilton Court                                                                                 Orlando             FL           32835



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                          43 of 488                                                                                                   1:26 PM
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                                                                                                                51 of      519
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                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                 Address1                        Address2                         Address3                  City         State       Zip               Country
    BETTY E GRIDLEY                                                        5612 W OAKBROOK CT                                                                           MUNCIE              IN           47304
    BETTY FAIRCHILD                                                        1920 ABRAMS PKWY # 102                                                                       DALLAS              TX           75214
    BETTY FRASER                                                           240 CENTRAL PARK SOUTH          APT 9R                                                       NEW YORK            NY           10019
    BETTY J WAGNER                                                         3131 SIMPSON ST APT SW 204                                                                   EVANSTON            IL           60201
    BETTY JONES                                                            609 MONTCLAIR ST                                                                             REFUGIO             TX           78377
    BETTY KRACHT JOHNSON                                                   1546 KENILWORTH PARKWAY                                                                      BATON ROUGE         LA           70808
    BETTY KRICHMAN                          dba ARTWORKS ILLUSTRATION      325 WEST 38TH ST SUITE 1605                                                                  NEW YORK            NY           10018
    Betty Krill                                                            158 Converse Street                                                                          Longmeadow          MA           01106
    Betty L Miller                                                         1224 Locksly Lane                                                                            Ponte Verda         FL           32081
    BETTY L. SCHIDDELL                                                     24144 WEST MEADOW LANE                                                                       GRAYSLAKE           IL           60030
    Betty Miller                                                           1224 Locksly Lane                                                                            Ponte Verda         FL           32081
    Betty Mintz                                                            15a Herbert Ave                                                                              Port Washington     NY           11050
    Betty Mutwii                                                           3334 Huntwicke Blvd                                                                          Davenport           FL           33837
    BETTY S WEYCKER                                                        138 WESTVIEW LANE                                                                            STATESVILLE         NC           28625
    Betty Shreckhise                                                       69 Pond View Lane                                                                            Weyers Cave         VA           24486
    Betty Smith                                                            5671 Stone Creek Drive                                                                       Sanger              TX           76266
    Betty Stephens                                                         P.O. Box 582                                                                                 Doerun              GA           31744
    Betty Tennyson                                                         3907 William Dehaes             #1176                                                        Irving              TX           75038
    BETTY WILLMON NIEDORODA                                                6000 MILLER LANDING COVE                                                                     TALLAHASSEE         FL           32312

    BETZAIDA HERNANDEZ SEPULVEDA                                           C/CECILIANA # 650                                                   ARCOS DE CUPEY APT 902   SAN JUAN            PR           00925
                                                                           CALLE FEDERICO TORRES PAGAN #
    BETZAIDA I TORRES GUADARRAMA                                           118                                                                                          ISABELA             PR           00662
    BEVAN ELIZABETH                                                        P.O. BOX 38                                                                                  MT. VERNON          OR           97865
    BEVERAGE BARBARA                                                       46 DANIEL ROAD                                                                               HAMDEN              CT           06517
    BEVERLEY SLOPEN LITERARY
    AGENCY                                                                 131 BLOOR ST W SUITE 711                                                                     TORONTO             ON           M5S 1S3      Canada
    BEVERLEY TEMPLE                                                        5405 S FLORENCE CT                                                                           GREENWOOD VILLAGE   CO           80111
    BEVERLY A JENNINGS                                                     20207 RUSHIRE SQUARE                                                                         HUMBLE              TX           77338
    BEVERLY A VOOS                                                         43 ROSEWOOD DR                                                                               PITTSFORD           NY           14534
    BEVERLY DIANNE MOODY                                                   3638 SHADY OAK TRAIL                                                                         GAINESVILLE         GA           30506
    BEVERLY FALK                                                           4601 HENRY HUDSON PKWY A1                                                                    BRONX               NY           10471
    Beverly J Dabreau                                                      7510 Seven Eagles Way                                                                        Kissimmee           FL           34747
    BEVERLY K MICHAEL                                                      51 MICHAEL ROAD                                                                              CHESWICK            PA           15024
    Beverly Kaczorowski                                                    11212 Finchely Place                                                                         Orlando             FL           32837
    Beverly Kostas                                                         52 OSSIPEE RD                                                                                SOMERVILLE          MA           02144
    BEVERLY M TAX                                                          601 MULBERRY PLACE, # 2E                                                                     HIGHLAND            IL           60035
    Beverly M Tax                                                          601 Mulberry Place             2E                                                            Highland Park       IL           60035
    Beverly Madrin                                                         122 Bay Shore Drive                                                                          Elizabeth City      NC           27909
    Beverly Mcgaffic                                                       6613 RINCONADA DRIVE                                                                         CITRUS HEIGHTS      CA           95610
                                                                           URB PRADERAS DEL SUR 410 CALLE
    BEVERLY MORRO VEGA                                                     CAOBOS                                                                                       SANTA ISABEL        PR           00757
    Beverly Nester                                                         44403 Medleys Neck Rd                                                                        Leonard Town        MD           20650
    BEVERLY R ONEILL-SMITH                                                 9236 WEST OAK RIVER DRIVE                                                                    MATOACA             VA           23803
    Beverly S Combs                                                        204 Teakwood Lane                                                                            Lewisville          TX           75067
    BEVERLY SOARES                                                         266 PARK HILL AVE                                                                            YONKERS             NY           10705
    Beverly Toler                                                          2825 Greenbriar Blvd                                                                         Wellington          FL           33414
    BEVERLY TYNER                                                          P O BOX 369                                                                                  SIGNAL MOUNTAIN     TN           37377
    BEVERLY WAKEFIELD                                                      326 FOXCROFT DRIVE - EAST                                                                    PALM HARBOR         FL           34683
    BEVERLY WOODS ELEMENTARY                                               6001 QUAIL HOLLOW RD                                                                         CHARLOTTE           NC           28210
    BEVERY R GREEN                                                         17203 FAIRFIELD                                                                              DETROIT             MI           48221
    BEVIN BROTHERS                                                         10 BEVIN RD                                                                                  EAST HAMPTON        CT           06424
    BEYER ANDREW                                                           4237 LENORE LANE N.W.                                                                        WASHINGTON          DC           20008
    BEYOND QUESTION LEARNING TECH
    INC                                                                    1211 VIRGINIA STREET                                                                         COLUMBIA            SC           29201
    BeyondOffice/Cbizz                                                     2175 S. Jasmine Street D                                                                     Denver              CO           80222
    BFS DANIELS LLC                                                        12 CHANNEL STREET                                                                            BOSTON              MA           02210
    BGR Government Affairs, LLC                                            PO Box 14416                                                                                 Washington          DC           20044-4416
    BIAL RAYMOND                                                           208 WEST IOWA STREET                                                                         URBANA              IL           61801
                                            CUENTA CORRIENTE NO 19
    BIAN EDITORES S A                       050006916/0                    AV AROCENA 1698                 BANCO SANRANDER URUGUAY S A         SUCURSAL CARRASCO        MONTEVIDEO                                    Uruguay
    Bianca W Olson                                                         99 Elm Street                                                                                Marblehead          MA           01945
    Bibb County Board of Education                                         2444 Roff Avenue                                                                             Macon               GA           31204
    Bible Related Ministries                                               P.O. Box 272                                                                                 HINSDALE            IL           60522-0272
    BIBLIO BAZAAR II LLC                    DBA BIBLIOLIFE                 33 CANNON ST, STE 101                                                                        CHARLESTON          SC           29403
    BIBLIO BAZAAR II LLC                    ATTN ANDREW ROSKILL            33 CANNON ST, STE 101                                                                        CHARLESTON          SC           29403
    BIBLIOGRAPHISCHES INST                                                 DUDENSTRASSE 6                                                                               MANNHEIM                         68167        Germany
    BIBLIOTECA NACIONAL DIVISAO             DE INFORMACAO DOCUMENTAL       RIO BRANCO 219 2 AND...                                                                      RIO DE JANEIRO                   20040- 008   Brazil
    BIBLIOTHEQUE NATIONALE DE
    FRANCE                                                                 QUAI FRANCOIS MAURIAC                                                                        PARIS CEDEX 13                   75706        France



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    44 of 488                                                                                                       1:26 PM
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                                                                                                                52 of      519
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                                                                                                                    First Class Service List


               CreditorName                        CreditorNoticeName                  Address1                          Address2              Address3              City         State       Zip                Country
    BIDNICK CAROLE                          DBA BIDNICK & COMPANY         233 ESTATES DRIVE                                                               PIEDMONT           CA           94611
    BIG BROTHERS BIG SISTERS                OF CENTRAL TEXAS INC          1400 TILLERY STREET                                                             AUSTIN             TX           78721-1037
    BIG BROTHERS BIG SISTERS OF THE
    GREATER                                 SEACOAST                      4 GREENLEAF WOODS DRIVE # 201                                                   PORTSMOUTH         NH           03801
    BIG HONCHO MEDIA LLC                                                  111 BROADWAY STE 505                                                            NEW YORK           NY           10006
    BIG IDEAS LEARNING LLC                                                1762 NORCROSS RD                                                                ERIE               PA           16510
    BILINGUAL EDUCATION SOLUTIONS                                         2 ORIENTE 880                                                                   VINA DEL MAR                                 Chile
    BILINGUAL ESL EDUCATION ASSN
    OF THE                                  METROPLEX ATTN LINDA MORRIS   5105 LASALLE DR                                                                 ARLINGTON          TX           76016
    BILL ARON                                                             1227 SOUTH HI POINT STREET                                                      LOS ANGLES         CA           90035
    BILL BACHMAN & ASSOCIATES PTY
    LTD                                                                   55 MAYSTON STREET                                                               EAST HAWTHORN      VICTORIA     03123        Australia
                                            DBA BILL BACHMANN
    BILL BACHMANN                           PHOTOGRAPHY                   P O BOX 950833                                                                  LAKE MARY          FL           32795-0833
    BILL BAILEY                                                           16 DEVON SQUARE                                                                 NEWTON ABBOT       Devon        TQ12 2HR     United Kingdom
    BILL BEATTY                                                           399 MAPLE AVE                                                                   BEREA              OH           44017
    BILL GOFF INC                                                         PO BOX 457                                                                      BANTAM             CT           06750
    Bill Hogan                                                            813 Hawkins Street                                                              Carrollton         KY           41008
    Bill Hurd                                                             6501 N. Greenview               #2                                              Chicago            IL           60626
    BILL JAMISON                            MILAGRO ASSOCIATES INC        PO BOX 1804                                                                     SANTA FE           NM           87504
    BILL MARTIN                                                           295 CUMBERLAND STREET                                                           BROOKLYN           NY           11238
    Bill Massey                                                           2906 Vine Street                                                                Orlando            FL           32806
    BILL MAULDIN ESTATE LLC                 ATTN JONATHAN M GORDON        333 SOUTH HOPE STREET 16TH FL                                                   LOS ANGELES        CA           90071
    BILL MCCLURE                                                          1047 FARRAGUT ROAD                                                              BELLMAWR           NJ           08031
    BILL McCOLLUM CAMPAIGN                                                PO BOX 915006                                                                   LONGWOOD           FL           32791
    BILL MILLER FILM & VIDEO
    PRODUCTION INC                                                        102 BULLARD STREET                                                              SHERBORN           MA           01770

    BILL ROLSTON                                                          UNIV OF ULSTER -SOCIOLOGY DEPT                                                  JORDANSTOWN                     BT37 OQB     Ireland
    Bill Setzer                                                           532 FORT LEWIS BLVD.                                                            SALEM              VA           24153
    BILL SMITH GROUP INC                                                  450 WEST 31ST STREET 3RD FLR                                                    NEW YORK           NY           10001-4608
    BILL TUCKER STUDIO INC                                                19 N MAY STREET                                                                 CHICAGO            IL           60607
    BILL WYLIE                                                            250 UNION STREET 3                                                              BROOKLYN           NY           11231
    Billi Barrera                                                         210 N Graves St                                                                 McKinney           TX           75069
    BILLIE CARLSEN                                                        2221 CRESTMONT                                                                  NORMAN             OK           73069
    Billie Davis Jr                                                       8808 Sunset Blvd                                                                Orlando            FL           32836
    BILLIE J ASKEW                                                        8030 FRANKFORD RD APT 330                                                       DALLAS             TX           75252
    BILLIE MCQUILLAN                                                      1021 MARION STREET                                                              SAINT PAUL         MN           55117
    BILLIE OSBORN                                                         5900 SE 156TH STREET                                                            OKLAHOMA CITY      OK           73165
    Billie Porter                                                         21 Clarks Rd.                  Apt. 202                                         Amesbury           MA           01913
    BILLINGS CARMEN                                                       SUITE 312-5120 WEST 102ND ST                                                    BLOOMINGTON        MN           55437
    BILLSTEIN RICHARD                                                     126 HILLCREST DR                                                                MISSOULA           MT           59803
    BILLY COLLINS                                                         P O BOX 2487                                                                    WINTER PARK        FL           32790
    Billy Rainey                                                          10249 Eakin                                                                     Justin             TX           76247
    Billy Ray                                                             1414 RENA LN                                                                    KISSIMMEE          FL           34744
    Billy Ray Jones, Jr.                                                  4410 Hwy 84                                                                     Waynesboro         MS           39367
    Billye Meredith                                                       1600 Springlake Drive                                                           Dripping Springs   TX           78620
    BILOW LYNDA DURRANT                                                   4674 W BATH ROAD                                                                AKRON              OH           44333
    BIND RITE UNION GRAPHICS LLC            DBA UNIMAC GRAPHICS           P O BOX 35664                                                                   NEWARK             NJ           07193-5664
    BINDRITE GRAPHICS INC                                                 PO BOX 35669                                                                    NEWARK             NJ           07193
    Bingham Family Memorial Fund            c/o First Bank                PO Box 507                                                                      Arvada             CO           80001
    BINGHAM MCCUTCHEN ( LONDON )
    LLP                                                                   41 LOTHBURY                                                                     LONDON                          EC2R 7HF     United Kingdom
    Binh Nguyenphu                                                        3725 Molona Dr.                                                                 Orlando            FL           32837
                                            ACCOUNTING DEPT ATTN DAWN
    BIOLA UNIVERSITY                        HART                          13800 BIOLA AVENUE                                                              LA MIRADA          CA           90639
    BIOLOGICAL PHOTO SERVICE                TERRAPHOTOGRAPHICS            PO BOX 490                                                                      MOSS BEACH         CA           94038-0490
    BIOSPHOTO                                                             11 RUE BONNETERIE                                                               AVIGNON                         84000        France

    BIRCH HORTON BITTNER & CHEROT                                         1127 WEST SEVENTH AVENUE                                                        ANCHORAGE          AK           99501
    Birch, Horton, Bittner and Cherot
    BIRD & BIRD                                                           1 QUEENS ROAD EAST              33/F THREE PACIFIC PLACE                        HONG KONG                                    Hong Kong
    Bird & Bird
    BIRD CONTROL SERVICES INC                                             40 WOOLTOWN ROAD                                                                WERNERSVILLE       PA           19565
    BIRGER HJORLAND                                                       16 TORDISVEJ                                                                    BAGSVAERD                       02880        Denmark
                                                                          ALBERT EINSTEIN COLLEGE OF      DEPT OF ANATOMY & STRUCTURAL
    BIRGIT H SATIR PhD                                                    MEDICINE                        BIOLOGY                                         BRONX              NY           10461-1602
    BIRKHAUSER OF BOSTON INC                PETER GURALCHUK               333 MEADOWLANDS PARKWAY                                                         SECAUCAS           NJ           07094
    BIRLINN LIMITED                         LOWER GROUND FLOOR            WEST NEWINGTON HOUSE                                                            EDINBURGH                       EH9 1QS      United Kingdom
    BIRLINN LIMITED                                                       10 NEWINGTON ROAD               WEST NEWINGTON HOUSE                            EDINBURGH                       EH9 1QS      United Kingdom



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    45 of 488                                                                                         1:26 PM
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                                                                                                               53 of      519
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                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName              Address1                            Address2                       Address3           City               State       Zip             Country
    BIRLINN LIMITED                                                         WEST NEWINGTON HOUSE                                                                    EDINBURGH                          EH9 1QS      United Kingdom
    BIRMINGHAM SOUTHERN COLL
    BOOKSTORE                                                               900 ARKADELPHIA ROAD                                                                    BIRMINGHAM            AL           35254
    Biscuits & Berries                                                      16027 West 5th Avenue                                                                   Golden                CO           80401
    BISHOP MAIL SERVICE                                                     PO BOX 196                                                                              OAK FOREST            IL           60452
    BISHOP NIC                                                              2245 TIPPERARY RD                                                                       KALAMAZOO             MI           49008
    BISHOP-PETTY ANGEL L                                                    230 N GOAT RIDGE RD                                                                     PIPE CREEK            TX           78063
    BISK EDUCATION INC                      FBO VILLANOVA UNIVERSITY        9417 PRINCESS PALM AVE                                                                  TAMPA                 FL           33619
    BISK RICHARD                                                            34 WESTMINSTER ROAD                                                                     PRINCETON             MA           01541
    BITSTREAM INC                                                           500 UNICORN PARK DRIVE                                                                  WOBURN                MA           01801
    BizFilm Media LLC                       Media Division, International   3306 Ladrillo Aisle                                                                     Irvine                CA           92606
    BL MAKEPEACE INC                                                        125 GUEST STREET                                                                        BRIGHTON              MA           02135
    Black Brandt LLC                                                        PO Box 2529                                                                             Colorado Springs      CO           80901
    Black Brandt, LLC                       RE 317 Inverness Way South      James Woolsey                   630 Southpointe Court, Suite 103                        Colorado Springs      CO           80906

    BLACK COCKATOO PUBL                                                     8 WESTBOURNE AVENUE                                                                     WENTWORTH FALLS NSW                02782        Australia
    BLACK COFFEE FABRICATORS INC                                            9471 RICHMOND PL                                                                        RANCHO CUCAMONGA      CA           91730
    BLACK DOT GROUP                         CAPS GROUP ACQUISITION LLC      P O BOX 6704                    C/O ACCORD FINANCIAL INC                                GREENVILLE            SC           29606
    BLACK INC BOOKS INC                                                     41 FLOYD AVENUE                                                                         LYNN                  MA           01904
    BLACK ISSUES BOOK REVIEW                EMPIRE STATE BUILDING           350 5TH AVENUE SUITE 1522                                                               NEW YORK              NY           10118
    BLACK LINDA                                                             452 C R 2153                                                                            NACOGDOCHES           TX           75965
    BLACK STAR PUBLISHING CO INC                                            1 WATER STREET                                                                          WHITE PLAINS          NY           10601
    BLACKABY SUSAN                                                          5327 SW DOVER CT                                                                        PORTLAND              OR           97225
    BLACKBIRCH PRESS INC                                                    12181 ROLLING MEADOWS CT        RICHARD GLASSMAN                                        SAN DIEGO             CA           92127
    BLACKBOARD COLLABORATE INC                                              10 EAST 40TH STREET 11TH FLR                                                            NEW YORK              NY           10022
    BLACKBOARD INC                                                          250 N GOODMAN STREET STE 306    ATTN FRED COURTRIGHT                                    ROCHESTER             NY           14607
    BlackRock
    BLACKROCK FINANCIAL
    MANAGEMENT, INC.
    BLACKSTONE MANAGEMENT                   PARTNERS III LLC                345 PARK AVE                                                                            NEW YORK              NY           10154

    BLACKWELL PUBLISHERS                                                    RIGHTS DEPARTMENT, OSNEY MEAD                                                           OXFORD                             OX2 0EL      United Kingdom
    Blaine County School District           Mary Gervase                    118 W. Bullion                                                                          HAILEY                ID           83333
    BLAINE E FAIRCHILD                                                      P O BOX 68                                                                              STANLEY               NM           87056
    BLAINE HARRINGTON                                                       7533 SOUTH OVERLOOK WAY                                                                 LITTLETON             CO           80128-2544
    BLAIR M SEITZ                           DBA BLAIRSEITZ.COM              BOX 298                                                                                 CAPE MAY POINT        NJ           08212
    BLAIRE A HARRISON                                                       600 SW 159TH TERRACE                                                                    OKLAHOMA CITY         OK           73170
    Blake B Hunter                                                          1114 Mariposa # B                                                                       Austin                TX           78704
    BLAKE FRIEDMANN LITERARY
    AGENCY                                                                  122 ARLINGTON ROAD                                                                      LONDON                             NW1 7HP      United Kingdom
    BLAKE HENRY                                                             30-61 48TH ST APT 2R                                                                    ASTORIA               NY           11103
    BLAKE PUBLISHING PTY LTD                                                655 PARRAMATTA ROAD             ACN 097-171-143                                         LEICHHADT NSW                      02040        Australia
    Blake, Richard
    Blanca A Ruiz                                                           928 Walter Avenue                                                                       Aurora                IL           60505
    Blanca Arambula                                                         13706 N Mallard Ct                                                                      Plainfield            IL           60544
    BLANCA BORGES BENITEZ                   URB EL RETIRO                   CALLE EL BUEN RETIRO C-2                                                                CAGUAS                PR           00725
    BLANCA E ENRIQUEZ                                                       1391 WHIRLAWAY                                                                          EL PASO               TX           79936
    Blanca Wolek                                                            3537 Country Lakes Dr                                                                   Orlando               FL           32812
    BLANCHE C GREGORY INC                   RIGHTS AND PERMISSIONS          2 TUDOR CITY PLACE                                                                      NEW YORK              NY           10017
    BLAU SHERIDAN D                                                         255 W 92ND STREET APT 1C                                                                NEW YORK              NY           10025
    BLAUNER BOOKS LITERARY
    AGENCY                                                                  14 WESTPORT AVENUE                                                                      WESTPORT              CT           06880
    BLI EDUCATION LTD                       ANGEL HOUSE                     SHERSTON                                                                                WILTSHIRE                          SN16 0LH     United Kingdom
    BLOODAXE BOOKS                                                          HIGHGREEN                                                           TARSET              Northumberland                     NE48 1RP     United Kingdom
    BLOOMSBURG UNIVERSITY
    READING CONFE                           BLOOMBURG UNIVERSITY            400 EAST SECOND ST                                                                      BLOOMSBURG            PA           17815
    BLOOMSBURY PUBLISHING                                                   38 SOHO SQUARE                                                                          LONDON                             W1D 3MR      United Kingdom
    BLOOMSBURY PUBLISHING INC                                               175 5TH AVENUE                                                                          NEW YORK              NY           10010
    BLOOMSBURY PUBLISHING PLC                                               50 BEDFORD SQUARE                                                                       LONDON                             WC1B 3DP     United Kingdom
    BLOOMSBURY USA CHILDRENS
    BOOKS                                                                   175 FIFTH AVENUE, 8TH FL        ATTN REBECCA MANCINI                                    NEW YORK              NY           10010

    BLOUNT COUNTY SCHOOLS                   ROCKFORD ELEMENTARY SCHOOL      831 GRANDVIEW DR                                                                        MARYVILLE             TN           37803
    Blue Creek Systems                                                      4517 Silver Cliff Ct.                                                                   Castle Rock           CO           80108
    BLUE DOLPHIN SCREENPRINT                & EMBROIDERY                    22 CANAL ST STE 425                                                                     SOMERSWORTH           NH           03878
    BLUE FANG GAMES LLC                                                     1601 TRAPELO ROAD SUTE 105                                                              WALTHAM               MA           02451
                                            DBA RICHARD HAMILTON SMITH
    BLUE LAKE STUDIOS LLC                   PHOTOGRAPHY                     17456 HALF MOON LANE                                                                    PARK RAPIDS           MN           56470
    BLUE RAIDER BOOK & SUPPLY                                               1321 GREENLAND DRIVE                                                                    MURFREESBORO          TN           37130




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                     46 of 488                                                                                                  1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                54 of      519
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                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName               Address1                          Address2                            Address3               City         State       Zip               Country
    BLUE RIDGE COUNCIL TEACHERS
    OF MATHS                                                               200 JUNKIN STREET              ATTN JONATHAN SCHULTZ - MCPS                                   CHRISTIANSBURG     VA           24073
    Blue Shield Of California                                              P.O. Box 51827                                                                                Los Angeles        CA           90051-6127
    BLUE SKY SPORTS &
    ENTERTAINMENT LLC                                                      265 FRANKLIN STREET                                                                           BOSTON             MA           02110
    BLUE SPRINGS R-IV SCHOOL
    DISTRICT                                ATTN KATHERINE BARTON          1801 NW VESPER                                                                                BLUE SPRINGS       MO           64015
    BLUE TRAIN INK                                                         144 HAYSTACK LANE              JAY COWAN                                                      SNOWMASS           CO           81654
    BLUE WOLF GROUP LLC                                                    PO BOX 30850                                                                                  NEW YORK           NY           10087
    BLUEFIN                                 MILLBANK HOUSE                 171-185 EWELL ROAD                                                                            SURBITON           Surrey       KT2 6AP      United Kingdom
    BLUEFIN                                                                171-185 EWELL ROAD                                                                            SURBITON           Surrey       KT2 6AP      United Kingdom
    Bluefin
    BLUESTOCKING PUBLISHING
    SERVICES LLC                                                           1 EAST VINE STREET                                                                            MOUNT VERNON       OH           43050
    BLUFFTON NEWS PUBLISHING &
    PRINITNG CO                                                            101 N MAIN STREET                                                                             BLUFFTON           OH           45817

    BLUMENTHAL DEBORAH                                                     60 SUTTON PLACE SOUTH APT 12BS                                                                NEW YORK           NY           10022
    BLUMENTHAL RITCHER & SUMET              31ST FLOOR ABDULRAHIM PLACE    990 RAMA 4 ROAD                                                                               BANGKOK                         10500        Thailand
    BLV BUCHVERLAG GMBH & CO KG                                            LOTHSTRASSE 19                                                                                MUNCHEN                         80797        Germany
    Blythe Carpenter                                                       1224 S HIAWASSEE RD            APT 628                                                        ORLANDO            FL           32835
    BLYTHE WILLIAM                                                         23-25 33RD STREET                                                                             LONG ISLAND CITY   NY           11105
    BMC GROUP VDR LLC                                                      P O BOX 748225                                                                                LOS ANGELES        CA           90074-8225
    BMGI NORTH AMERICA
    CORPORATION                             ATTN ACCOUNTS RECEIVABLE       1200 17TH STREET STE 180                                                                      DENVER             CO           80202
    BMS CAT INC                                                            303 ARTHUR STREET                                                                             FORT WORTH         TX           76107
    BNF                                     DEPT DE LA REPRODUCTION        QUAI FRANCOIS MAURIAC                                               PARIS CEDEX               Bouches-du-Rhone                75706        France
    BNY Mellon                                                             One Wall Street                                                                               New York           NY           10286
    BO ZAUNDERS                                                            20 PARK AVENUE APT 10A                                                                        NEW YORK           NY           10016
    BOA EDITIONS LIMITED                                                   250 N GOODMAN STREET STE 306                                                                  ROCHESTER          NY           14607
    BOA EDITIONS LIMITED                                                   PO BOX 604                                                          C/O PERMISSIONS COMPANY   MOUNT POCONO       PA           18344

    BOARD OF BAR OVERSEERS OF THE           SUPREME JUDICIAL COURT         P O BOX 55863                                                                                 BOSTON             MA           02205
    Board of Business Compliance            Business Processing Division   P.O. Box 93069                                                                                Los Angeles        CA           90093-0069
    BOARD OF CATHOLIC EDUCATION             OFFICE OF CATHOLIC EDUCATION   1404 E 9TH STREET 2ND FL                                                                      CLEVELAND          OH           44114
    BOARD OF CATHOLIC EDUCATION             DIOCESE OF CLEVELAND           1404 EAST 9th STREET                                                                          CLEVELAND          OH           44114
    BOARD OF CATHOLIC EDUCATION                                            1404 E 9TH STREET 2ND FL                                                                      CLEVELAND          OH           44114
    BOARD OF COOP EDUCATIONAL
    SERVICES                                RENSSELAER-QUESTAR III         10 EMPIRE STATE BOULEVARD                                                                     CASTLETON          NY           12033
    BOARD OF COOP EDUCATIONAL                                              900 WATERVLIET-SHAKER RD STE
    SERVICES                                CAPITAL REGION BOCES           102                                                                                           ALBANY             NY           12205
    BOARD OF COOP EDUCATIONAL
    SERVICES                                                               10 EMPIRE STATE BOULEVARD                                                                     CASTLETON          NY           12033
    BOARD OF COOP EDUCATIONAL                                              900 WATERVLIET-SHAKER RD STE
    SERVICES                                                               102                                                                                           ALBANY             NY           12205
    BOARD OF EDUC QUEEN ANNES
    COUNTY                                  ATTN LYNNE EWING               202 CHESTERFIELD AVENUE                                                                       CENTREVILLE        MD           21617
                                            BOROUGH OF MADISON MORRIS
    BOARD OF EDUCATION                      COUNTY                         359 WOODLAND ROAD                                                                             MADISON            NJ           07940
    BOARD OF EDUCATION LEETONIA             LEETONIA MIDDLE SCHOOL         450 WALNUT STREET                                                                             LEETONIA           OH           44431
    BOARD OF EDUCATION LEETONIA             LEETONIA ELEMENTARY SCHOOL     450 WALNUT STREET                                                                             LEETONIA           OH           44431
    BOARD OF EDUCATION LEETONIA             LEETONIA HIGH SCHOOL           450 WALNUT STREET                                                                             LEETONIA           OH           44431
    BOARD OF EDUCATION OF
    BALTIMORE COUNTY                                                       6901 CHARLES STREET            ATTN CAROL LONG                                                TOWSON             MD           21204
    BOARD OF EDUCATION OF                   FREDERICK COUNTY PUBLIC
    FREDERICK CNTY                          SCHOOLS                        7630 HAYWARD ROAD                                                                             FREDERICK          MD           21702
    BOARD OF EDUCATION OF PRINCE
    GEORGES                                 COUNTY                         8437 LANDOVER RD               TECHNOLOGY TRAINING TEAM                                       LANDOVER           MD           20785
    BOARD OF INLAND REVENUE                 TRINIDAD & TOBAGO              ST VINCENT STREET                                                                             PORT OF SPAIN                                Trinidad and Tobago
    BOARD OF REGENTS OF NEVADA -            NEVADA CTR FOR EXCELLENCE IN
    SHE                                     DISABILITIE                    ATTN IDA ROBERTS MS 285                                                                       RENO               NV           89557
    BOARD OF REGENTS OF UNIV OF
    NEBRASKA                                SHELDON MUSEUM OF ART          P O BOX 880439                 401 CANFIELD ADMIN BUILDING                                    LINCOLN            NE           68588-0439
    BOARD OF TRUSTEESOF UNIV OF
    ILLINOIS                                UNIVERISTY OF ILLINOIS         1325 SOUTH OAK ST                                                                             CHAMPAIGN          IL           61820-6903
    BOASE SUSAN                                                            5711 SE BUSH ST                                                                               PORTLAND           OR           97206
    Bob Burgess                                                            21609 E. Tallkid Avenue                                                                       Parker             CO           80138
    BOB CHAU                                                               8F-2 NO 29                     CHUNG SHAN N ROAD                                              TAIPEI CITY                     10461        Taiwan
    BOB CLEMENZ PHOTOGRAPHY                                                1055 VERDE VALLEY SCHOOL RD                                                                   SEDONA             AZ           86351




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    47 of 488                                                                                                       1:26 PM
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                                                                                                              PgCreditor
                                                                                                                 55 of      519
                                                                                                                         Matrix
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                          Address2              Address3               City            State       Zip            Country
    BOB DAEMMRICH PHOTOGRAPHY
    INC                                                                      914 CONGRESS AVE 2ND FLOOR                                                    AUSTIN                 TX           78701-2571
    BOB GERLING                                                              9500 ST CLAIR                                                                 GUTHRIE                OK           73044
    BOB MARZANO                                                              7127 S DANUBE COURT              MARZANO AND ASSOCIATES                       CENTENNIAL             CO           80016
    BOB WADE                                                                 3502 WINSOME CT                                                               AUSTIN                 TX           78731
    Bobbi Jo Brown                                                           6 Grand Valley Road                                                           Hanover                PA           17331
    BOBBI KATZ                                                               82 RIVERVIEW                                                                  PORT EWEN              NY           12466
    Bobbi Mitchell                                                           5836 Caballo Street                                                           Fort Worth             TX           76179
    Bobbie Jo Dempsey                                                        64 Jaclyn Circle                                                              Taunton                MA           02780
    Bobbie L Briley                                                          2538 Freedom Lane                                                             Denton                 TX           76209
    BOBBIE SOLLEY                                                            2307 CHASTEEN CT                                                              MURFREESBORO           TN           37130
    Bobby Craven                                                             235 Grand Cypress Dr                                                          Meridian               MS           39305
    BOBBY J JEANPIERRE                                                       13712 DORNOCH DRIVE                                                           ORLANDO                FL           32828
    Bobby Jennings                                                           2516 Spring Rain Dr                                                           Mesquite               TX           75181
    Bobby Mc Clendon                                                         1917 Kirby Ln                                                                 Allen                  TX           75013
    BOCA RATON CHARTER SCHOOL                                                414NW 35TH ST                                                                 BOCA RATON             FL           33431
    BOCCANFUSO LOUIS G                                                       47 FOREST GLEN ROAD                                                           VALLEY COTTAGE         NY           10989
    BOCK JUDITH                                                              535 PHEASANT COURT                                                            GRAYSLAKE              IL           60030
    BOE HARTFORD COUNTY                                                      102 S HICKORY AVENUE                                                          BEL AIR                MD           21014
    BOE PRINCE GEORGES COUNTY                                                14201 SCHOOL LANE RM 130                                                      UPPER MARLBORO         MD           20772
    Boehly, Todd
    Boehly. Todd                            Guggenheim Partners              135 East 57th Street                                                          New York               NY           10022
    BOER SUSAN                                                               56 ROBBINS ROAD                                                               LEXINGTON              MA           02421
    BOHAN HARRY                                                              7627 PAINTON LANE                                                             SPRING                 TX           77389
                                                                             9002 BELVOIR WOODS PKWY APT
    BOHEN DOLORES                                                            214                                                                           FORT BELVOIR           VA           22060
    BOHLINGER INC                                                            600 E ELM STREET                                                              CONSHOHOCKEN           PA           19428
    BOHLMEIJER ARNO                                                          DE WAARDEN 208                                                                GN ZUTPHEN                          7206 GJ      Netherlands
    BOHNER CHRISTINE                                                         119 B RANDOLPH AVE                                                            LONDON                              W9 1DN       United Kingdom
    BOHNER JOAN                                                              1/18 CLARKSTOWN AVE                                                           MOUNT ELIZA VICTORIA   Victoria     03920        Australia
    BOHUMIL HRABAL ESTATE ZURICH
    LIT                           AGENCY                                     ANTOINETTE MATEJKA               BEICHLEN                                     WADENSWIL                           08820        Switzerland
    BOISE STATE UNIVERSITY        BOOKSTORE                                  515 WEST MCGREGOR COURT                                                       BOISE                  ID           83705
    BOMGAR CORPORATION            PARAGON CENTRE STE 300                     578 HIGHLAND COLONY PKWY                                                      RIDGELAND              MS           39157
    BOND COUNTY COMMUNITY UNIT SD
    #2                                                                       1008 NORTH HENA STREET                                                        GREENVILLE             IL           62246
    Bonita Hiltenbrand                                                       2392 Mayfield Drive                                                           Montgomery             IL           60538
    Bonita W. Bell                                                           1040 Rashford Drive                                                           Placentia              CA           92870
    BONITA WAGNER                                                            5631 GRANDVIEW DR                                                             GREENDALE              WI           53129
    BONNEVILLE DISTRICT 93        SANDCREEK MIDDLE SCHOOL                    2955 OWEN STREET                                                              IDAHO FALLS            ID           83406
    Bonnie Bell                                                              1040 Rashford Drive                                                           Placentia              CA           92870
                                  DBA BONNIE BROOK
    BONNIE BROOK                  COMMUNICATIONS LLC                         24525 OUTLOOK DRIVE # 19                                                      CARMEL                 CA           93923
    Bonnie Brooks                                                            9300 Coit Road                 1725                                           Plano                  TX           75025
    BONNIE CAMPBELL HILL                                                     13910 64TH PL WEST                                                            EDMONDS                WA           98026
    Bonnie Dobkin                                                            2715 Arlington Heights Rd.     Heights Rd.                                    Arlington Heights      IL           60004
    BONNIE ELIZABETH NOVAK                                                   5001 CONVICT HILL RD APT 501                                                  AUSTIN                 TX           78749
    BONNIE ENNIS                                                             30075 HAYMARKET CT                                                            SALISBURY              MD           21804-2479
    BONNIE FAYE KIRKLAND                                                     1401 N E FIRST STREET                                                         MULBERRY               FL           33860
    BONNIE FESMIRE                                                           1364 BRANCH HILL CT                                                           APOPKA                 FL           32712
    BONNIE FOREHAND HYDE                                                     617 BROOK HOLLOW ROAD                                                         NASHVILLE              TN           37205
    BONNIE GOONEN                                                            30241 ISLAND CLUB DRIVE                                                       DEER ISLAND            FL           32778
    BONNIE HAKKOLA                                                           1707 17TH AVE S                                                               ESCANABA               MI           49829
    BONNIE J JACOBS                                                          221 CLARKE LANE                                                               BERRYVILLE             VA           22611
                                                                             8660 N PORT WASHINGTON RD, APT
    BONNIE JUETTNER                                                          208                                                                           MILWAUKEE              WI           53217-2207
    Bonnie M Dietrich                                                        10502 Linger Lane                                                             Orlando                FL           32821
    BONNIE MADDUX                                                            676 MILLER ROAD                                                               SIGNAL MTN             TN           37377
    Bonnie Orr                                                               3 Misted Lilac Pl                                                             Spring                 TX           77381
    Bonnie Reese Hindman                                                     4712 Laurel Drive                                                             Harrisburhg            PA           17110
    BONNIE S SUNSTEIN                                                        1006 MARCY STREET                                                             IOWA CITY              IA           52240
    Bonnie T. Bishop                        Center for Accelerated Learnin   6316 Marina Pacifica Dr. North                                                Long Beach             CA           90803
    BONNIE WALMSLEY                                                          59 RAILROAD PLACE #303                                                        SARATOGA SPRINGS       NY           12866
    BONNIERFORLAGEN AB                                                       BOX 3159                                                                      STOCKHOLM                           103 63       Sweden
    BOOCOCK SARANE S                        RUTGERS UNIVERSITY               SCHOOL OF EDUCATION                                                           NEW BRUNSWICK          NJ           08903
    BOOK ATLANTA                            ESTHER LEVINE                    575 EDGEWATER TRL                                                             ATLANTA                GA           30328

    BOOK INDUSTRY STUDY GROUP INC                                            370 LEXINGTON AVENUE SUITE 900                                                NEW YORK               NY           10017
    BOOK REPORT                                                              250 WEST 57TH ST, SUITE 1228                                                  NEW YORK               NY           10107
    BOOK RIOT INC                                                            135 NELSON STREET                                                             BROOKLYN               NY           11231



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     48 of 488                                                                                          1:26 PM
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                                                                                                             PgCreditor
                                                                                                                56 of      519
                                                                                                                        Matrix
                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName                Address1                        Address2              Address3            City         State       Zip           Country
    BOOK SPRING                                                            P O BOX 143147                                                                AUSTIN           TX           78714
    BOOK STALL                                                             PO BOX 7109                                                                   PITTSBURGH       PA           15213
    BOOKBROWSE LLC                                                         PO BOX 2157                                                                   SARATOGA         CA           95070
    BOOKBUILDERS OF BOSTON                                                 44 VINAL AVE                                                                  SCITUATE         MA           02066
    BOOKENDS                                                               6520 PLATT AVENUE, STE 331                                                    WEST HILLS       CA           91307
    BOOKETTE SOFTWARE COMPANY                                              20 RYAN RANCH ROAD                                                            MONTEREY         CA           93940-5703
                                                                           22 LOWER RAGSDALE DRIVE, SUITE
    BOOKETTE SOFTWARE COMPANY                                              E                                                                             MONTEREY         CA           93940
    BOOKFAME INC                                                           3336 TENNYSON STREET NW                                                       WASHINGTON       DC           20015

    BOOKMARK THE LITERARY AGENCY                                           38 CHESTNUT STREET                                                            SALEM            MA           01970
    BOOKPULSE LTD                                                          1 LESHEM STREET                                                               KRYAT GAT                     82000        Israel
    BOOKS AND BOOKS LTDA                                                   OFICINAS CARRERA 18 NO 137-65    LIBRERIA CALLE 140 NO 18-05                  BOGOTA                                     Colombia
    BOOKS ON THE SQUARE                                                    471 ANGELL STREET                                                             PROVIDENCE       RI           02906
    BOOKSMART ENTERPRISES                                                  670 GLADES ROAD, STE 180                                                      BOCA RATON       FL           33431
    BOOKSTOP LIT AGENCY LLC                                                67 MEADOW VIEW ROAD                                                           ORINDA           CA           94563

    BOOKSTOP LITERARY AGENCY LLC                                           67 MEADOW VIEW ROAD                                                           ORINDA           CA           94563

    BOOKSTOP LITERARY AGENCY LLC                                           67 MEADOW VIEW RD                                                             ORINDA           CA           94563-3246
    BOOKSTREAM INC                                                         416 MORRIS AVENUE                                                             MOUNTAIN LAKES   NJ           07046
    Boon, Caryn Tan Kee
    Boondocks                                                              11425 Community Center Drive                                                  Northglenn       CO           80233
    BOONDOGGIE INC                          7602 UNIVERSITY AVENUE         SUITE 100                                                                     LUBBOCK          TX           79423
    BOONE BRIDGE BOOKS                                                     P O BOX 1607                                                                  LAKE OSWEGO      OR           97035
    BOONE COUNTY FISCAL COURT                                              PO BOX 457                                                                    FLORENCE         KY           41022
    BOOSEY AND HAWES INC                                                   35 EAST 21ST STREET                                                           NEW YORK         NY           10010
    BOOZ & COMPANY (N A) INC                                               PO BOX 88917                                                                  CHICAGO          IL           60695-1917
    BORDEN LOUISE W                                                        70 WEST STREET                                                                CINCINNATI       OH           45242
    Borden, Tony
    BORDERS GROUP INC                       ATTN JILL TEWSLEY              100 PHOENIX DR                                                                ANN ARBOR        MI           48108
    BORDERS INC                             WALDEN BOOKS                   100 PHOENIX DR                                                                ANN ARBOR        MI           48108-2202
    Borders, Inc. - SPO Dept.               Accounts Payable - Stores      100 Phoenix Drive                                                             Ann Arbor        MI           48108-2202
    Borders, Inc.-SPO Dept.                 Attn Accounts Payable          100 Phoenix Drive                                                             Ann Arbor        MI           48108
    BORLAND SOFTWARE
    CORPORATION                                                            DEPT CH 19224                                                                 PALATINE         IL           60055-9224
    BORNSTEIN RUTH LERCHER                                                 2820 HIGHLAND AVENUE                                                          SANTA MONICA     CA           90405
                                            TAX COLLECTOR, MARGARET A
    BOROUGH OF BELLMAWR                     SANDROCK                       21 E BROWNING RD, P O BOX 368                                                 BELLMAWR         NJ           08099-0368
    BOROUGH OF BELLMAWR                     BELLMAWR POLICE DEPARTMENT     P O BOX 368                                                                   BELLMAWR         NJ           08099
    BOROUGH OF BELLMAWR                                                    21 E BROWNING RD, P O BOX 368                                                 BELLMAWR         NJ           08099-0368
    BOROUGH OF BELLMAWR                                                    P O BOX 368                                                                   BELLMAWR         NJ           08099
    Borrillo Entertainment LLC                                             5721 Yukon Street                                                             Arvada           CO           80002
    BORROR ARTHUR C                                                        1310 UPPER CITY ROAD                                                          PITTSFIELD       NH           03263
    BOS PALLETS                                                            2427 HIGHWAY 140 -N.W.                                                        ADAIRSVILLE      GA           30103-4829
    BOSCHEN RICHARD A                       BOSCHEN DESIGN ARCHITECTURE    9 MURRAY ST - 4TH FLR SW                                                      NEW YORK         NY           10007
    BOSCHKEN IRENE                                                         711 PUMA CT                                                                   DAVIS            CA           95616
    BOSSIER CITY PARISH                     SALES AND USE TAX DIVISION     P O BOX 71313                                                                 BOSSIER CITY     LA           71171-1313
    BOSTON AGENCY                                                          9 MAPLE AVE                                                                   HAVERHILL        MA           01830
    BOSTON AUTHORS CLUB                                                    45 PINE CREST ROAD                                                            NEWTON           MA           02459
    BOSTON BALLET INC                                                      19 CLARENDON STREET                                                           BOSTON           MA           02116
    BOSTON BAR ASSOCIATION                                                 16 BEACON STREET                                                              BOSTON           MA           02108
    BOSTON BEAN COFFEE CO                                                  23 DRAPER STREET                                                              WOBURN           MA           01801
    BOSTON BOOK FESTIVAL                                                   2 CANAL PARK                                                                  CAMBRIDGE        MA           02141
    BOSTON BUSINESS PRINTING INC                                           115 BROAD ST BASEMENT                                                         BOSTON           MA           02110
                                            WHITE CAB ASSOC -BOSTON CAR
    BOSTON CAB DISPATCH INC                 SERVICE                        72 KILMARNOCK ST                                                              BOSTON           MA           02215-4822
    BOSTON CASTING INC                                                     129 BRAINTREE ST SUITE 107                                                    ALLSTON          MA           02134
    BOSTON CENTER FOR COMM AND
    JUSTICE INC                                                            5 BROAD STREET STE 4                                                          BOSTON           MA           02109
    BOSTON CHILDRENS MUSEUM                                                308 CONGRESS ST                  ATTN LESLIE SWARTZ                           BOSTON           MA           02210
    BOSTON COLLEGE CENTER FOR
    WORK & FAM                                                             22 STONE AVENUE                                                               CHESTNUT HILL    MA           02467
    BOSTON DIGITAL EDITING                                                 316 STUART ST                                                                 BOSTON           MA           02116
    BOSTON FOUNDATION                       ADOPT A STATUE                 1 CITY HALL PLAZA ROOM 802                                                    BOSTON           MA           02201
    BOSTON GLOBE                                                           135 MORRISEY BLVD                ATTN TOBY LEITH                              BOSTON           MA           02125-2378
    BOSTON HERALD INC                       ONE HERALD SQUARE              PO BOX 2096                                                                   BOSTON           MA           02108
    BOSTON LIGHT SUPPLY INC                                                762 WESTERN AVE                                                               LYNN             MA           01905
    BOSTON POLICE PATROLMENS
    ASSN INC                                                               9-11 SHETLAND STREET                                                          BOSTON           MA           02119



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                   49 of 488                                                                                  1:26 PM
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                                                                                                                   57 of      519
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                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName                  Address1                      Address2                         Address3                     City            State       Zip              Country
    BOSTON PUBLIC LIBRARY
    FOUNDATION                                                             700 BOYLSTON STREET                                                                             BOSTON                MA           02116
    BOSTON RACK INC                                                        115 MAIN STREET SUITE 2D                                                                        NORTH EASTON          MA           02356

    BOSTON RED SOX BASEBALL CLUB                                           4 YAWKEY WAY                                                                                    BOSTON                MA           02215
    BOSTON STYLE PIZZA                                                     2132 FERNCROFT LANE                                                                             CHESTER SPRING        PA           19425
                                            CORPORATE GIVING OFFICE
    BOSTON SYMPHONY ORCHESTRA               SYMPHONY HALL                  301 MASSACHUSETTS AVE                                                                           BOSTON                MA           02115

    BOSTROM ALTERNATIVE CTR                                                4502 NORTH CENTRAL AVE           PHOENIX UNION HIGH SCH DISTRICT                                PHOENIX               AZ           85012
    BOSWELL LAURIE A                                                       P O BOX 682                                                                                     FRANCONIA             NH           03580
    BOTTLE FREE WATER LLC                                                  335 EAST GENEVA ROAD BOX 363                                                                    CAROL STREAM          IL           60188
    BOTTOM LINE PUBLISHING                  DBA BLPS CONTENT CONNECTIONS
    SERVICES LLC                            LLC                          P O BOX 331                                                                                       CHILTON               WI           53014
    BOTTOMLEY AVIATION INC                  DBA SMITH AERIAL PHOTOS      2380 W OAKLAND PARK BLVD                                                                          FT LAUDERDALE         FL           33311
    Boughn, Ellen
    Boulder Bookworks                                                      PO Box 3772                                                                                     Boulder               CO           80307
    BOULDER CREEK INC                                                      19012 NEVADA RD                                                                                 SPANGLE               WA           99031
    BOULDER VALLEY SCHOOL
    DISTRICT                                                               P O BOX 9011                                                                                    BOULDER               CO           80301
    BOULTINGHOUSE &
    BOULTINGHOUSE INC                                                      153 EAST 30 STREET                                                                              NEW YORK              NY           10016
    BOWDOIN COLLEGE                         MUSEUM OF ART                  5400 COLLEGE STATION                                                                            BRUNSWICK             ME           04011
    BOWDOIN COLLEGE BS                                                     6100 COLLEGE STATION                                                                            BRUNSWICK             ME           04011
    BOWEN BETSY                                                            PO BOX 68                                                                                       GRAND MARAIS          MN           55604
    BOWERS MOMII SYBIL                                                     7516 HARLOW DRIVE                                                                               AUSTIN                TX           78739
    BOWERS STUDIO INC                                                      PO BOX 395                       ATTN TIM BOWERS                   1520 WELSH HILLS ROAD        GRANVILLE             OH           43023
    BOWES DAVID                                                            VIA SANTA GIULIA 22                                                                             TORINO                             10124        Italy
    BOWES LEE ANGELA                                                       126 HIGHBROOK AVENUE                                                                            PELHAM                NY           10803
    BOWES PAULETTE                                                         370 WOLCOTT STREET                                                                              AUBURNDALE            MA           02466
    BOWES RICHARD                                                          93 MACDOUGAL STREET # 2                                                                         NEW YORK              NY           10012-1297
    BOWIE INDEPENDENT SCHOOL
    DISTRICT                                                               P O BOX 1168                                                                                    BOWIE                 TX           76230
    Bowker, Scott
    BOWLING GREEN STATE
    UNIVERSITY                              BUSINESS OFFICE                JEROME LIBRARY RM 205                                                                           BOWLING GREEN         OH           43403-0170
    BOWLING GREEN TIMES                                                    P O BOX 110                                                                                     BOWLING GREEN         MO           63334

    BOWMAN COUNTY SCHOOL DIST # 1                                          102 8TH AVENUE SW                                                                               BOWMAN                ND           58623-0128
    BOWTIE INC                              DBA WILDBIRD MAGAZINE          P O BOX 57900                                                                                   LOS ANGELES           CA           90057
    BOX ELDER SCHOOL DISTRICT                                              960 SOUTH MAIN                                                                                  BRIGHAM CITY          UT           84302
    BOX MAKER                                                              P O BOX 58968                                                                                   TUKWILA               WA           98138
    BOX STUDIO CHICAGO LLC                                                 17 NORTH STATE ST SUITE # 1350                                                                  CHICAGO               IL           60602
    BOX.NET INC                                                            DEPT 34666 P O BOX 39000                                                                        SAN FRANCISCO         CA           94139
    BOXTONE INC                                                            P O BOX 003234                                                                                  BOSTON                MA           02241-3234
    BOY SCOUTS OF AMERICA NATL                                                                                                                ATTN GWINNETT AMERICAN VALUES
    COUNCIL                                 dba NORTHEAST GEORGIA COUNCIL P O BOX 399                                                         DINNER                        JEFFERSON            GA           30549-0399
    Boyd Humphrey                                                         209 Homewood Drive                                                                                Beckley              WV           25801
    BOYDELL & BREWER LTD                                                  PO BOX 9                                                                                          WOODBRIDGE SUFFOLK                1P12 3DF     United Kingdom
    BOYDS MILLS PRESS INC                   ATTN JUANITA GALUSKA          815 CHURCH STREET                                                                                 HONESDALE            PA           18431
    BOYER RICHARD LEWIS                                                   724 SMATHERS STREET                                                                               WAYNESVILLE          NC           28786
    BOYER-ROSENE MOVING &
    STORAGE INC                                                            2638 S CLEARBROOK DR                                                                            ARLINGTON HEIGHTS     IL           60005
    BOYLE COUNTY BOARD OF ED                                               352 N DANBILLE BY PASS                                                                          DANVILLE              KY           40422
    BOYS & GIRLS CLUB OF CENTRAL
    FLORIDA                                                                P O BOX 2987                                                                                    ORLANDO               FL           32802
    BOZEMAN PUBLIC SCHOOLS                  SCHOOL DISTRICT #7             P O BOX 520                                                                                     BOZEMAN               MT           59771
    BOZORGMHER KARIMI GHASR                 DBA ACCESS SERVICE COMPANY     14269 FM 2769                                                                                   LEANDER               TX           78641
    BPS BILDUNGSPORTAL SACHSEN
    GMBH                                                                   BAHNHOFSTRASSE 6                                                                                CHEMNITZ                           D-09111      Germany
                                                                                                                                              DIOCESE OF KANSAS CITY-ST
    BR TERRENCE MCGLENNON                   ATTN MONICA L ADAMS            300 EAST 36TH STREET             DIOCESAN RISK MANAGER             JOSEPH                       KANSAS CITY           MO           64111
    BRACKEN BRUCE A                                                        25 THE PALISADES                                                                                WILLIAMBURG           VA           23185
    BRAD BUHROW                                                            3369 CRIPPLE CREEK TRAIL                                                                        BOULDER               CO           80305

    BRAD CAWN                                                              817 W WASHINGTON BLVD APT 102                                                                   CHICAGO               IL           60607
    Brad Cerullo                                                           109 Faith Ave                                                                                   Dracut                MA           01826
    Brad E Jergensen                                                       7620 Daniels Ave                                                                                Baltimore             MD           21234
    BRAD KNECHTEL                                                          5187 GRAPE LEAF AVE                                                                             LAS VEGAS             NV           89141-8664
    BRAD W BARRETT                                                         P O BOX 90582                                                                                   SAN DIEGO             CA           92169



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                   50 of 488                                                                                                            1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              58 of      519
                                                                                                                      Matrix
                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName               Address1                         Address2              Address3            City          State       Zip               Country
    BRAD WEINMAN                                                           5268 LINDLEY AVENUE                                                           ENCINO            CA           91316
    BRADEN LAWRENCE S                                                      43 AUBURN ST                                                                  CONCORD           NH           03301
    BRADFORD & BIGELOW INC                                                 3 PERKINS WAY                                                                 NEWBURYPORT       MA           01950
    BRADFORD MORROW                                                        21 EAST 10TH STREET, # 3E                                                     NEW YORK          NY           10003
    BRADLEY A CARREKER                                                     820 WESTCLIFFE DR                                                             WINTER GARDEN     FL           34787

    BRADLEY D KARNES                        DBA DIGITAL SABRE PRODUCTIONS 1701 CHEROKEE TRAIL                                                            CHOCTAW           OK           73020
    BRADLEY DANIEL HEILMAN                                                419 NORTH AVENUE                                                               WESTON            MA           02493
    BRADLEY EDWINA                                                        5688 NOTRE DAME PLACE                                                          COLUMBUS          OH           43213
    Bradley Goebbert                                                      15029 S Hillside Dr                                                            Lockport          IL           60441
    Bradley P Wilson                                                      2772 Moose Creek Ln                                                            Ontario           CA           91761
    Bradley S Reitz                                                       1891 Hillsboro Dr.                                                             Henderson         NV           89074
    BRADLEY SEAN TEMPLETON                                                1113 LOCHINVAR AVENUE                                                          SUNNYVALE         CA           94087
    BRADLEY W LINDLEY                       DBA B-RAD APPAREL & DESIGN    631 AL HWY 157                                                                 DANVILLE          AL           35619
    Brady Busby                                                           27315 Cinco Terrace Dr.                                                        Katy              TX           77494
    BRADY HALL                                                            5566 17TH AVE S                                                                SEATTLE           WA           98108
    BRAFTON INC                                                           ONE WINTROP SQUARE 5TH FL                                                      BOSTON            MA           02111
    BRAGGER JEANNETTE D                                                   1 THISTLEMORE WAY                                                              PROVINCETOWN      MA           02657
    BRAIN FOOD SALES INC                                                  1512 LAUREL HOLLOW ROAD                                                        SYOSSET           NY           11791
    BRAINTREE GROUP INC                                                   2216 IRELAND DRIVE                                                             BURLINGTON        ON           L7P 3E9      Canada
    BRAINWORX STUDIO INC                    6807 N SHERIDAN RD            SUITE 200                                                                      CHICAGO           IL           60626
    BRAKE EDUCATIONAL MEDIA INC                                           125 MIDDLE ST STE 127                                                          LAKE MARY         FL           32746
    BRAND ARCHITECTURE &
    MANAGEMENT LLC                          DBA BAM GROUP                  63 SOUTH STREET SUITE 200                                                     HOPKINTON         MA           01748
    BRAND DESIGN CO INC                     DBA HOUSE INDUSTRIES           1145 YORKLYN ROAD                                                             YORKLYN           DE           19736
    BRANDEE HUIGENS                                                        583 JEFFERSON #4E                                                             DUBQUE            IA           52001
    Brandon A Freeman                                                      6341 Lend Smith Circle                                                        Indianapolis      IN           46268
    BRANDON D COLE                          MARINE PHOTOGRAPHY             4917 N BOEING RD                                                              SPOKANE VALLEY    WA           99206
    BRANDON EDWARD SCHWAB                                                  115 13TH STREET                                                               ARCATA            CA           95521
    BRANDON LINDEN                                                         1709 NORTH FIELD ST #F                                                        NORTHFIELD        IL           60093
    Brandon Smith Reporting Serv.                                          44 Capitol Avenue               Suite 203                                     Hartford          CT           06106
    BRANDT & HOCHMAN LITERARY
    AGENCY                                                                 1501 BROADWAY                                                                 NEW YORK          NY           10036-5600
    BRANDT & HOCHMAN LITERARY
    AGENTS IN                                                              1501 BROADWAY                                                                 NEW YORK          NY           10036
    BRANDT AND HOCHMAN                      LITERARY AGENCY INC            1501 BROADWAY                   ATTN CARL BRANDT                              NEW YORK          NY           10036
    BRANDT AND HOCHMAN                      LITERARY AGENCY INC            1501 BROADWAY                   ATTN GAIL HOCHMAN                             NEW YORK          NY           10036
    BRANDWISE INC                                                          1819 DENVER WEST DR # 26-450                                                  LAKEWOOD          CO           80401
    Brandy A Pitre                                                         17260 Chenier Dr.                                                             Prairieville      LA           70769
    BRANDY ALLNER                                                          8403 E 81st ST APT # 524                                                      TULSA             OK           74133
    Brandy Perdue                                                          4411 S. Kirkman Road            103                                           Orlando           FL           32811
    BRANDY VICKERS                                                         6246 BENNEVILLE STREET                                                        CINCINNATI        OH           45230
    Brandy Vickers                                                         6246 BENNEVILLE ST                                                            CINCINNATTI       OH           45230
    BRATTLEBORO UNION HIGH
    SCHOOL                                                                 131 FAIRGROUND ROAD                                                           BRATTLEBORO       VT           05301
    BRAVES BOOKSTORE                                                       120 OIL PARK DRIVE                                                            CARROLLTON        GA           30117
    BRAVO LTD                                                              59 HUTTON GROVE                                                               LONDON                         N12 8DS      United Kingdom

    BRAZ-TESOL                                                             R CEL OSCAR PORTO 800-PARAISO                                                 SAO PAULO         Sao Paulo    04003--004   Brazil
    BREAD AND BUTTER FILMS INC                                             3028 SHATTUCK AVENUE                                                          BERKELEY          CA           94705-1850
    BREADLOAF WRITERS CONF                                                 MIDDLEBURY COLLEGE                                                            MIDDELBURY        VT           05753
    BREAKTHROUGH TECHNOLOGIES                                              1840 OAK AVENUE SUITE 400                                                     EVANSTON          IL           60201-4448
    BRECK P. KENT                                                          19 A WEST MAIN ST                                                             HIGH BRIDGE       NJ           08829
    BRECKLER ROSEMARY K                                                    1617 MONTROSE WAY                                                             SAN JOSE          CA           95124
    BREDEKAMP VIRGINIA SUSAN                                               2608 CREST AVE                                                                CHEVERLY          MD           20785
    BREEANNA KNUST                                                         2479 N HEARTHSIDE STREET                                                      ORANGE            CA           92865
    BRELLA PRODUCTIONS INC                                                 1601 SIMPSON STREET                                                           EVANSTON          IL           60201
    BRENA WILKINSON                                                        4 PRICKY PEAR DRIVE                                                           CARLISLE          PA           17013
    BRENDA A SILVERS                                                       12008 E 44TH ST                                                               RIPLEY            OK           74062
    Brenda Anderson                                                        PO Box 680152                                                                 Orlando           FL           32868-0152
    BRENDA ARNESON                                                         20124 CHIPPENDALE AVENUE                                                      FARMINGTON        MN           55024
    BRENDA AYCOCK                                                          # 5 OVERTON COVE                                                              SHERWOOD          AR           72120
    Brenda Baran                                                           125 W Cedarwood Circle                                                        Kissimmee         FL           34743
    Brenda Boda                                                            522 Raccoon Hill Rd.                                                          Salisbury         NH           03268
    Brenda Bravener-Greville                                               36 State Street                                                               Marblehead        MA           01945
    BRENDA BRIMAGE                                                         8413 S WOODY WAY                                                              HIGHLANDS RANCH   CO           80126
    BRENDA CABRERA CINTRON                                                 P O BOX 2998 MARINA STATION                                                   MAYAGUEZ          PR           00681
    BRENDA CAMARA WALKER                                                   229 CARR 2 APT 12C                                                            GUAYNABO          PR           00966
    Brenda Carlisle                                                        7881 Fordham Road                                                             Mobile            AL           36619
    Brenda Cockrell                                                        P O Box 65                                                                    Troy              MO           63379



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   51 of 488                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              59 of      519
                                                                                                                      Matrix
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                       Address2              Address3                City         State        Zip             Country
    Brenda E Underwood                                                     5814 Northshore Drive                                                           Chattanooga           TN           37343
    Brenda Easter                                                          4422 Park Forest Ct.           Apt A                                            Indianapolis          IN           46226
    Brenda F Hill                                                          525 Mckee Street               Unit A                                           Batavia               IL           60510
    Brenda Frigm                                                           505 Bristol Drive                                                               Altamonte Springs     FL           32714
    BRENDA G READING                                                       30926 S CR 4440                                                                 MCCURTAIN             OK           74944
    Brenda Granstrom                                                       441 Westport Drive                                                              Pingree Grove         IL           60140
    BRENDA HAMMOND                                                         1810 SUDBURY RD NW                                                              WASHINGTON            DC           20012
    Brenda J Merken                                                        52 Reading Hill Avenue                                                          Melrose               MA           02176
    BRENDA JOHANSEN                                                        W5157 HARESFOOT RD                                                              ELKHORN               WI           53121
    BRENDA JOHNSON-MOORE                                                   405 CEDAR STREET                                                                VIDALIA               LA           71373
    BRENDA K ROBINSON                       DBA POTENT PEN                 3677 QUAIL RIDGE DR N                                                           BOYNTON BEACH         FL           33436
    BRENDA L CHANDLER                                                      111 WEST GAMBLE STREET                                                          WINONA                MS           38967
    Brenda L Hansford                                                      5992 South 50 West                                                              Trafalgar             IN           46181
    BRENDA L RUTHVEN                                                       12875 DAUGHTERY DRIVE                                                           WINTER GARDEN         FL           34787
    BRENDA LEBRASSE                                                        2630 SCORPIO DRIVE                                                              COLORADO SPRINGS      CO           80906
    Brenda Ledford                                                         1025 Heathrow Ct.                                                               Wheaton               IL           60189
    Brenda Lewis                                                           1735 Laney Drive                                                                Columbus              GA           31907
    BRENDA M POWER                                                         147 HURD POINT ROAD                                                             DEDHAM                ME           04429
    Brenda Mathisen                                                        12347 Hickory Tree Court                                                        Jacksonville          FL           32226
    BRENDA MCLEAN                                                          7421 WEST DEVON AVE                                                             CHICAGO               IL           60631
    Brenda Myles                                                           11400 W. 155th Terrace                                                          Overland Park         KS           66221
    BRENDA PARKES                                                          42 KING CHARLES DR             PENAMILL PTY LTD                                 SOVEREIGN ISLANDS     Queensland   04216        Australia
    BRENDA PARKES                                                          42 KING CHARLES DRIVE          SOVEREIGN ISLANDS                                GOLD COAST QLD                     04216        Australia
                                            DBA CHARLOTTES FLOWERS &
    BRENDA R LINTON                         GIFTS                          201B EAST WOOD ST                                                               TROY                  MO           63379
    BRENDA S NOE                                                           198 PENNY LANE                                                                  POWELL                OH           43065
    BRENDA SEXTON                                                          14108 TAHITI WAY # 633                                                          MARINA DEL REY        CA           90292
    BRENDA SIERRA                                                          2 RESIDENTIALES EL SAUCE       1A AVENIDA A 2-23 ZONA                           GUATEMALA CIUDAD                                Guatemala
    Brenda Silver                                                          2200 Market Street             Apt# 715                                         Denver                CO           80205
    Brenda Stum                                                            4650 S. 300 East                                                                Lebanon               IN           46052
    Brenda Sullivan                                                        1100 Geneva Rd.#34a            #34a                                             St. Charles           IL           60174
    BRENDA UNDERWOOD                                                       5814 NORTHSHORE DRIVE                                                           HIXSON                TN           37343
    BRENDAN CHARLES MCKENNEY                                               617 18TH STREET                                                                 HUNTINGTON BEACH      CA           92648
    BRENDAN DUBOIS                                                         12 JUNIPER RODGE ROAD                                                           EXETER                NH           03833
    BRENDAN LEACH                                                          712 LEONARD ST # 1                                                              BROOKLYN              NY           11222-2351
    BRENDAN MATHEWS                                                        2145-D STUART ST                                                                BERKELEY              CA           94705
    Brendan Smith                                                          2240 Oceanwalk Dr W                                                             Atlantic Beach        FL           32233
    BRENNAN LINDA CROTTA                                                   12 TEAKWOOD DRIVE                                                               COVENTRY              RI           02816
    BRENNAN MEADOWS                                                        610 S DAHLIA CIR, APT L201                                                      DENVER                CO           80246
    BRENNER DIANE                                                          PO BOX 206                                                                      WORTHINGTON           MA           01098-0206
    BRENT ASHABRANNER                                                      15 SPRING WEST                                                                  WILLIAMSBURG          VA           23188
    Brent Rhodes                                                           1276 Monroe Drive NE                                                            Atlanta               GA           30306
    Brent S Hartsell                                                       1907 Country Club Dr.                                                           Grosse Pointe Woods   MI           48236
    Brent W Porter                                                         2024 Blvd Napoleon                                                              Louisville            KY           40205
    BRESCIA UNIVERSITY INC                                                 717 FREDERICA STREET                                                            OWENSBORO             KY           42301
    Bret G Barben                                                          3192 Sugar Leo Road                                                             St. George            UT           84790
    Brett Creane                                                           165 Sandwich St.                                                                Plymouth              MA           02360
    Brett Hicks                                                            2804 Edgewood Lane                                                              Colleyville           TX           76034
    Brett N. Gies                                                          PO Box 201                     435 Kate Street                                  Harrison              NE           69346
    BRETT SIMISON PHOTOGRAPHY                                              PO BOX 996                                                                      MIDDLEBURY            VT           05753-0996
    Brett Soucy                                                            37 Birch Hill Drive                                                             West Hartford         CT           06107
    Brett Turner                                                           4141 E 48TH PL                                                                  TULSA                 OK           74135

    BREVARD NATURE ALLIANCE INC                                            PO BOX 517                     SC BIRDING AND WILDLIFE FESTIVAL                 TITUSVILLE            FL           32781
    BREVARD SCHOOLS FOUNDATION                                             2700 JUDGE FRAN JAMIESON WAY                                                    VIERA                 FL           32940-6601

    BREWERS SERVICES (BVI) LIMITED                                         LES BANQUES ST SAMPSON                                                          GUERNSEY                           GY1 3HS      United Kingdom
    Brian A. McNulty                                                       9133 Mornington Way                                                             Lone Tree             CO           80124
    Brian Arundel                                                          1 Prescott Street              Unit 301                                         East Boston           MA           02128
    Brian Ashe                                                             3007 Woodruff Drive                                                             Orlando               FL           32837
    Brian Brass                                                            4011 Kirby Dr.                 413                                              Fort Worth            TX           76155
    Brian C Miller                                                         1309 Aggie Lane                                                                 Austin                TX           78757
    BRIAN CAMPBELL                                                         851 MALIBU ROAD                                                                 CONCORD               CA           94518
    Brian D Feltz                                                          38 Crocker Road                                                                 Medford               MA           02155
    BRIAN D SCHULTZ                                                        2343 W HARRISON ST, # 1                                                         CHICAGO               IL           60612
    BRIAN DALTON                                                           128 TENNESSEE AVE, NE UNIT B                                                    WASHINGTON            DC           20002
    Brian Decker                                                           1010 Meadows Dr                                                                 Corinth               TX           76208
    Brian Demoss                                                           129 Clark Hill Rd                                                               New Boston            NH           03070
    BRIAN DOYLE                                                            5000 N WILLAMETTE              UNIVERSITY OF PORTLAND                           PORTLAND              OR           97203-5798
    BRIAN E CRONWALL                                                       6431 KIPAPA ROAD                                                                KAPAA                 HI           96746



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                     52 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             PgCreditor
                                                                                                                60 of      519
                                                                                                                        Matrix
                                                                                                                      First Class Service List


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    BRIAN EDMISTON                                                         100 WEBSTER PARK AVENUE                                                          COLUMBUS            OH           43214
    Brian Gaudet                                                           39 Tiffany Circle                                                                Millbury            MA           01527
    Brian Gregg                                                            4875 N. Paulina                 Apt. 3C                                          Chicago             IL           60640
    BRIAN HAND                                                             3117 LYLE DR NE                                                                  IOWA CITY           IA           52242
    Brian Hirst                                                            4681 Smoke Tree Rd                                                               Phelan              CA           92371
    Brian J Rice                                                           4415 N. Murphy Rd.                                                               Brazil              IN           47834
    Brian Jude Reardon                                                     401 E Seventh Street            Apt#2                                            South Boston        MA           02127
    BRIAN JUE                                                              1 UNIVERISTY CIRCLE                                                              TURLOCK             CA           95382
    Brian Keegan                                                           11 Pentecostal Way                                                               Attleboro           MA           02703
    BRIAN KEITH BUTERA                                                     116 EAGLE RUN                                                                    SENOIA              GA           30276
    BRIAN L ROSE                                                           13 STANTON STREET 6 A                                                            NEW YORK            NY           10002
    Brian M Godfrey                                                        4204 Avalon Drive                                                                Randolph            MA           02368
    BRIAN MICHAEL KRUMM                                                    3829 N CHRISTIANA AVE                                                            CHICAGO             IL           60618
    BRIAN MOONEY                                                           P O BOX 2504                                                                     BRATTLEBORO         VT           05303
    Brian Moore                                                            33 Warren Ave                                                                    Wakefield           MA           01880
    BRIAN MURPHY                            DBA BRIAN MURPHY GROUP         68 CIMARRON LANE                                                                 HOLDEN              MA           01520
    Brian Murphy                                                           68 Cimarron Lane                                                                 Holden              MA           02152
    BRIAN OLIVER                                                           RT 2, BOX 148                                                                    POINT PLEASANT      WV           25550
    BRIAN P ROBINS                                                         107 CRESCENT AVENUE                                                              PORTOLA VALLEY      CA           94028
    Brian P Strader                                                        11201 5th St.                   Apt J106                                         Rancho Cucamonga    CA           91730
    BRIAN PINKNEY                                                          388 WAVERLY AVENUE                                                               BROOKLYN            NY           11238
    Brian Roy                                                              850 N. Naomi St.                                                                 Burbank             CA           91505
    Brian Ryea                                                             Po Box 163                                                                       Lebanon             NH           03766
    BRIAN SEED                              DBA BRIAN SEED & ASSOCIATES    638 N GENESEE STREET                                                             WAUKEGAN            IL           60085
    BRIAN SELZNICK                                                         200 PARK AVENUE                 C/O NOEL L SILVERMAN                             NEW YORK            NY           10003
    BRIAN SMITH PHOTOGRAPHY LTD                                            52 GREENDALE AVE                                                                 NEEDHAM             MA           02494
    BRIAN STEVE MARTIN                                                     41 LOVVORN LANE                                                                  ROOPVILLE           GA           30170
    Brian Stroo                                                            3306 Harrison Ave                                                                Orlando             FL           32804
    Brian Suchomel                                                         621 Sheafe Road                 Lot 149                                          Poughkeepsite       NY           12601
    Brian Suderski                                                         5733 Elm Street                                                                  Lisle               IL           60532
    Brian Tremblay                                                         146 South Main Street                                                            Natick              MA           01760
    Brian W. Sappenfield                                                   12282 Split Granite Drive                                                        Fishers             IN           46038
    BRIAN WALSKI                                                           9457 S UNIVERSITY BLVD # 128                                                     LITTLETON           CO           80126
    Brian Wickham                                                          17714 North Rim Dr                                                               Leander             TX           78641
    Brian Winters                                                          2924 Plantation Dr.                                                              Carpentersville     IL           60110
    Brian Wurst                                                            426 Woodland Avenue                                                              Lombard             IL           60148
    Brianna L Beitler                                                      7319 Villa Rosado NE                                                             Albuquerque         NM           87113
    Brianna L Segrest                                                      504 Pigeon Forge Rd                                                              Pflugerville        TX           78660
    Brianne M Henry                                                        7 EDGEWOOD DRIVE                                                                 MILFORD             MA           01757
    BRIAZZ CATERING                                                        199 SUTTER ST                                                                    SAN FRANCISCO       CA           94104
    BRICK & BALLERSTEIN INC                                                1085 IRVING AVENUE                                                               RIDGEWOOD           NY           11385-5745
    BRIDGE CONNIE A                                                        703 WINDSOR RD                                                                   SUGAR GROVE         IL           60554

    BRIDGE LEARNING LTD                                                    KAMEOKA CITY, KYOTO PREFECTU                                                     JAPAN 621-0817                                Japan
    BRIDGE PERSONNEL SERVICES
    CORP.                                                                  2800 WEST HIGGINS RD STE 680                                                     HOFFMAN ESTATES     IL           60169
    BRIDGEMAN ART LIBRARY                                                  65 EAST 93RD ST                                                                  NEW YORK            NY           10128-1369
    Bridgeport Board of Education           Attn Andrea Brodrick           45 Lyon Terrace, Rm 302                                                          Bridgeport          CT           06604
    BRIDGEPORT CITY SCHOOL
    DISTRICT                                BLACKHAM SCHOOL                425 THORNE ST                                                                    BRIDGEPORT          CT           06604
    BRIDGEPORT CITY SCHOOL
    DISTRICT                                ATTN FLORA WILSON              425 THORNE ST                                                                    BRIDGEPORT          CT           06604
    BRIDGET BREWSTER HEOS                                                  7443 WALNUT                                                                      KANSAS CITY         MO           64114
    Bridget Cassidy                                                        410 Rahway Avenue               #1                                               Westfield           NJ           07090
    Bridget Keown                                                          23 Wahtera Road                                                                  Peabody             MA           01960-3175
    Bridget Marmion                                                        301 E 22nd Street               Apt 3P                                           New York            NY           10010
    BRIDGETT B WHITE                                                       1611 BELL AVE                                                                    COLUMBUS            MS           39701
    Bridgette Bromfield                                                    2105 Ancient Oak Dr.                                                             Ocoee               FL           34761
    BRIGHAM YOUNG UNIVERSITY                BOOKSTORE                      1 CAMPUS DRIVE                                                                   PROVO               UT           84602

    BRIGHT AGENCY LIMITED                                                  27 SOUTHSIDE QUARTER BURNS RD                                                    LONDON                           SW11 5GY     United Kingdom
                                            11/F BLOCK D, TUNG CHONG
    BRIGHT ARTS (HK) LTD                    FACTORY BLDG                   659 KINGS ROAD                                                                   HONG KONG                                     Hong Kong
    BRIGHT ELECTRICAL SUPPLY CO                                            217 N WESTERN AVENUE                                                             CHICAGO             IL           60612
    BRIGHT HORIZONS FAMILY
    SOLUTIONS                                                              P O BOX 277878                                                                   ATLANTA             GA           30384-7878
    BRIGHT SCHOOL INC                                                      1950 HIXSON PIKE                                                                 CHATTANOOGA         TN           37405-1506
    BRIGHTCOVE INC                                                         P O BOX 83318                                                                    WOBURN              MA           01813-3318
    BRIGHTER LIGHTS MEDIA LLC                                              19 CAMBRIA ST UNIT 1                                                             SOMERVILLE          MA           02143
    BRIGHTFIELD STRATEGIES LLC                                             247 WEST 30TH STREET 8TH FL                                                      NEW YORK            NY           10001



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      53 of 488                                                                                        1:26 PM
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                                                                                                           PgCreditor
                                                                                                              61 of      519
                                                                                                                      Matrix
                                                                                                                   First Class Service List


               CreditorName                           CreditorNoticeName               Address1                         Address2              Address3             City            State       Zip             Country
    BRIGHTROOM INC                                                         3333 QUORUM DRIVE, STE 200                                                    FORT WORTH           TX           76137
    BRIGID PASULKA                                                         2253 W 24TH STREET                                                            CHICAGO              IL           60608
    BRILLIANCE AUDIO INC                                                   1704 EATON DRIVE                                                              GRAND HAVEN          MI           49417
    BRILLIANT PICTURES INC                                                 18 BARTLETT SQ                                                                JAMAICA PLAIN        MA           02130-2678
    BRINKLEY ALAN                                                          300 CENTRAL PARK WEST, APT 5J                                                 NEW YORK             NY           10024
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                R W EMERSON ELEMENTARY         6501 MILLCREEK RD                                                             LEVITTOWN            PA           19054
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                MARY DEVINE ELEMENTARY SCH     1800 KEYSTONE RD                                                              CROYDON              PA           19021
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                MAPLE SHADE ELEMENTARY         2335 PROSPECT AVE                                                             CROYDON              PA           19021
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                JAMES BUCHANAN ELEMENTARY      2200 HAINES ROAD                                                              LEVITTOWN            PA           19055
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                ATTN CATHY KARASAKAL           6501 MILLCREEK RD                                                             LEVITTOWN            PA           19054
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                ABRAHAM LINCOLN ELEMENTARY     6401 MILL CRREK RD                                                            LEVITTOWN            PA           19057
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                                               1800 KEYSTONE RD                                                              CROYDON              PA           19021
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                                               2200 HAINES ROAD                                                              LEVITTOWN            PA           19055
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                                               2335 PROSPECT AVE                                                             CROYDON              PA           19021
    BRISTOL TOWNSHIP SCHOOL
    DISTRICT                                                               6401 MILL CRREK RD                                                            LEVITTOWN            PA           19057

    BRITISH COLONIAL HILTON NASSAU NUMBER ONE BAY STREET                   P O BOX N-7148                                                                NASSAU                                         Bahamas
    British Columbia Finance Dept  Attn Bankruptcy Dept                    1802 Douglas St                                                               Victoria             BC           V8T 4KC      Canada
    BRITISH LIBRARY                ACCOUNTS RECEIVABLE                     BOSTON SPA                                                                    WETHERBY YORKSHIRE                LS23 7BQ     United Kingdom

    BRITISH MUSEUM COMPANY LIMITED                                         38 RUSSELL SQUARE                                                             LONDON                            WC1B 3QQ     United Kingdom
    BRITISH MUSEUM GREAT COURT     FINANCE DEPARTMENT                      GREAT RUSSELL STREET                                                          LONDON                            WC1B3DG      United Kingdom
    BRITTA J CARNS                                                         14011 S E 47TH STREET                                                         BELLEVUE             WA           98006
    BRITTA KARIN REYIER                                                    601 SOUTH BLACK AVENUE                                                        BOZEMAN              MT           59715
    Brittany A Edwards                                                     20 Audley Court                                                               Copiague             NY           11726
    Brittany Denny                                                         4907 Raylene Way                                                              St Cloud             FL           34771
    Brittany L Frick                                                       120 Mountfort Street            # 603                                         Boston               MA           02215
    BRITTANY STUCKEY                                                       4867 WATERBURY WAY                                                            GRANITE BAY          CA           95746
    Brittney L Betbeze                                                     305 Highland Ave                #3                                            Somerville           MA           02144
    BRITTNI MARIE WASHINGTON                                               31846 N MARKLAWN STREET                                                       FARMINGTON HILLS     MI           48334
    BRITTON NEVITT                                                         3707 E HARRIS RD                                                              MUSKOGEE             OK           74403
    BROAD STREET CONSULTING
    GROUP LLC                                                              2940 CRAVEY DRIVE                                                             ATLANTA              GA           30345
    Broadford Primary School       Attn Jan Gregory                        PO Box 109                                                                    Broadford            VI           03658        Australia
    BROADRIDGE ICS                                                         P O BOX 416423                                                                BOSTON               MA           02241

    BROADWING COMMUNICATIONS LLC ACCOUNTS RECEIVABLES                      PO BOX 952061                                                                 ST LOUIS             MO           63195

    BROCK SHARP AND ASSOCIATES              DBA FACEOUT STUDIO             520 SW POWERHOUSE DR, STE 628                                                 BEND                 OR           97702-1297
    BROCK SNIDER                                                           2130 ORRINGTON AVENUE                                                         EVANSTON             IL           60201
    BROCKMAN INC.                                                          5 EAST 59TH STREET                                                            NEW YORK             NY           10022
    BROKAW NANCY STEELE                                                    2505 TEAKWOOD LANE                                                            BLOOMINGTON          IL           61704
    BRONWEN DICKEY                                                         3120 OXFORD DRIVE                                                             DURHAM               NC           27707
    BROOK & WHITTLE LTD                     260 BRANFORD RD                P O BOX 409                                                                   NORTH BRANFORD       CT           06471
    Brooke E Jones                                                         4614 Bennett Ave. #A                                                          Austin               TX           78751
    Brooke Little                                                          9390 W Chatfield Pl             #107                                          Littleton            CO           80128
    Brooke Little                                                          9765 S Saybrook Street                                                        Highlands Ranch      CO           80126
    BROOKE MARION                                                          23 SUMMIT AVE                                                                 NEW ROCHELLE         NY           10801
    BROOKFIELD BOARD OF
    EDUCATION                                                              P O BOX 5194 100 POCONO ROAD                                                  BROOKFIELD           CT           06804

    BROOKHAVEN VILLAGE PLAZA LLC                                           5400 N GRAND BLVD SUITE 565                                                   OKLAHOMA CITY        OK           73112
    BROOKLYN FRIENDS SCHOOL                                                375 PEARL STREET                                                              BROOKLYN             NY           11201
    BROOKLYN READING COUNCIL                ATTN JOANNE JOYNER-WELLS       498 WILLOUGHBY AVENUE                                                         BROOKLYN             NY           11206
    BROOKLYN SUCCESS ACADEMY 1                                             310 LENOX AVENUE 2ND FLOOR                                                    NEW YORK             NY           10027
    BROOKS DAVID                                                           8624 BEECH TREE ROAD                                                          BETHSDA              MD           20817

    BROOKS INTERNET SOFTWARE INC 1820 E 17TH STREET                        SUITE 330                                                                     IDAHO FALLS          ID           83404
    BROOKS PERMISSIONS                                                     PO BOX 19355                                                                  CHICAGO              IL           60619




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                   54 of 488                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             PgCreditor
                                                                                                                62 of      519
                                                                                                                        Matrix
                                                                                                                      First Class Service List


               CreditorName                           CreditorNoticeName               Address1                            Address2              Address3              City        State       Zip             Country
    BROOKS PIERCE MCLENDON
    HUMPHREY                                AND LEONARD LLP                P O BOX 26032                                                                    GREENSBORO        NC           27420
    Brooks Reeves                                                          PO Box 246                                                                       Swampscott        MA           01907
    BROOKWOOD SCHOOL INC                                                   ONE BROOKWOOD RD                                                                 MANCHESTER        MA           01944
    BROWARD CO COUNCIL TCHRS OF
    MATH                                    ATTN SHARON GREENWALD          10777 W SAMPLE RD #303                                                           CORAL SPRINGS     FL           33065
    BROWARD EDUC FOUNDATION                 600 SOUTHEAST THIRD AVE.       7TH FLOOR                                                                        FT. LAUDERDALE    FL           33301
    BROWN ANN COLE                                                         802 PRINCETON RD                                                                 WILMINGTON        DE           19807

    BROWN BEAR BOOKS                                                       1ST FLOOR 9-17 ST ALBANS PLACE   ISLINGTON                                       LONDON                         N1 0NX       United Kingdom
    BROWN BOOK SHOP                                                        1517 SAN JACINTO                                                                 HOUSTON           TX           77002
    BROWN BROTHERS                          100 BORTREE ROAD               P O BOX 50                                                                       STERLING          PA           18463-0050
    BROWN CALEF                                                            136 MAIN STREET STE 6                                                            BRUNSWICK         ME           04011
    Brown Deer School District              Accounts Payable               8200 North 60th Street                                                           Brown Deer        WI           53223
    BROWN LAUREN                                                           35 FLYING POINT ROAD                                                             BRANFORD          CT           06405
    BROWN MARGARET CAROL                                                   9185 BOULWARE COURT                                                              SACRAMENTO        CA           95826
    BROWN MICHAEL L                                                        5421 BRANDON COURT                                                               TYLER             TX           75703
                                                                           8 CHAPEL PLACE, RIVINGTON
    BROWN REFERENCES GROUP                                                 STREET                                                                           LONDON                         EC2A 3DQ     United Kingdom
    BROWN RICHARD E                                                        P.O.BOX 341                                                                      FURLONG           PA           18925
    BROWN RICHARD G                                                        9514 PARKWOOD COURT                                                              FORT MEYERS       FL           33908
    BROWN RICHARD W                                                        173 BRICK KILN ROAD                                                              BARNET            VT           05821
    BROWN SCOTT                                                            1 DOWNING ROAD                                                                   HANOVER           NH           03755
    BROWN SUSAN P                                                          660 EAST RIVER ROAD, APT A                                                       TUCSON            AZ           85704
                                            HAFFENREFFER MUSEUM OF
    BROWN UNIVERSITY                        ANTHROPOLOGY                   300 TOWER STREET                                                                 BRISTOL           RI           02809
    BROWNE & MILLER LITERARY
    ASSOC LLC                                                              410 SOUTH MICHIGAN AVE STE 460                                                   CHICAGO           IL           60605
    BROWNSVILLE COLLEGIATE
    CHARTER SCH                                                            526 BROADWAY FL 9                                                                NEW YORK          NY           10003
    BROWNSVILLE INDEPENDENT SCH
    DIST                                    PURCHASING DEPARTMENT          1900 PRICE ROAD RM 107                                                           BROWNSVILLE       TX           78521
    BRUCE A JONES                           UNIVERSITY OF SOUTH FLORIDA    4202 EAST FOWLER AVE EDU105                                                      TAMPA             FL           33610
    Bruce A McKinney                                                       7930 C Timber Ridge Dr                                                           Indianapolis      IN           46219
    BRUCE BALLENGER                                                        1503 N 25TH ST                                                                   BOISE             ID           83702
    BRUCE BURDICK                                                          PO BOX 41352                                                                     PROVIDENCE        RI           02940
    BRUCE COVILLE                                                          101 CLARKE STREET                                                                SYRACUSE          NY           13210
    Bruce Cutter                                                           6022 N. Kenmore Avenue           Unit 4N                                         Chicago           IL           60660
    Bruce Dowlen                                                           4306 Quando Drive                                                                Orlando           FL           32812
    BRUCE F MOLNIA                          DBA TERRA PHOTO GRAPHICS       12718 LAUREL GROVE WAY                                                           FAIRFAX           VA           22033-1624
    BRUCE FORBES                                                           2811 KAHAWAI STREET                                                              HONOLULU          HI           96822
    BRUCE GRAY                                                             688 SOUTH AVENUE 21                                                              LOS ANGELES       CA           90031
    Bruce Johnson                                                          1825 3rd St SW                   #15                                             Huron             SD           57350
    Bruce K Nichols                                                        83 Todd Road                                                                     Katonah           NY           10536
                                                                           275 EAST FOURTH STREET SUITE
    BRUCE M WHITE                                                          790                                                                              ST PAUL           MN           55101
    BRUCE MACHART                                                          14 CHESTNUT STREET                                                               HAMILTON          MA           01982
    BRUCE MAU DESIGN INC                                                   469C KING STREET WEST                                                            TORONTO           ON           M5V 3M4      Canada
    BRUCE MILLER                            BRUCEMILLER PHOTOGRAPHER       181 BRYGON CREEK DRIVE                                                           UPPER COOMERA     Queensland   04209        Australia
    BRUCE OWEN EDWARDS                                                     830 MADRONE ROAD                                                                 SANOMA            CA           95476
    BRUCE PACKAGING INC                                                    8131 NORTH RIDGEWAY AVE                                                          SKOKIE            IL           60076
    Bruce Phillips                                                         5909 Hyde Park Dr.                                                               High Point        NC           27263
    BRUCE PIRIE                                                            1337 CLARKSON RD                                                                 MISSISSAUGA       ON           L5J 2W6      Canada
    BRUCE ROUSSEAU                          DBA DOLPHIN ISLAND             PO BOX 92582                                                                     AUSTIN            TX           78709
    BRUCE SPRINGSTEEN                                                      1990 S BUNDY DRIEV STE 200                                                       LOS ANGELES       CA           90025
    BRUCE T BLAKELY                                                        12 RICHARDSON ROAD                                                               NEWTON            MA           02464
    BRUCE TERMINIX SERVICE
    COMPANY                                                                822 CLARK STREET                                                                 ST CHARLES        MO           63301
    BRUCE TONE                                                             5230 E STATE ROAD 46                                                             BLOOMINGTON       IN           47401
    BRUCE W NASON                                                          9762 WEST TOWER AVENUE                                                           MILWAUKEE         WI           53224-2941
    Bruce Zimmerli                                                         147 Oyster Pond Rd                                                               Falmouth          MA           02540
    BRUININKS ROBERT H                                                     100 THIRD AVENUE SOUTH #902                                                      MINNEAPOLIS       MN           55401
                                            DBA THE WESTIN GASLAMP
    BRUINS LESSEE LLC                       QUARTER                        910 BROADWAY CIRCLE                                                              SAN DIEGO         CA           92101
    BRUMM GORDON                                                           1515 ST CHARLES AVENUE                                                           LAKEWOOD          OH           44107
    Brunini
    BRUNINI ATTORNEYS AT LAW                                               190 EAST CAPITOL ST SUITE 100                                                    JACKSON           MS           39201
    BRUST BETH WAGNER                                                      12421 WOODBINE ST                                                                LOS ANGELES       CA           90066
    BRYAN & CHERRY ALEXANDER                                               HIGHER COTTAGE, MANSTON,
    PHOTOGR                                                                STURMINSTER NEWTON                                                               DORSET                         DT10 1EZ     United Kingdom



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      55 of 488                                                                                     1:26 PM
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                                                                                                            PgCreditor
                                                                                                               63 of      519
                                                                                                                       Matrix
                                                                                                                   First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                      Address2              Address3                  City        State       Zip                Country
    Bryan A Woodhouse                                                      1 Silversmith Way                                                             No Billerica          MA           01862
    Bryan Cannon                                                           3300 Kissman Dr                                                               Austin                TX           78728
                                                                           1290 AVENUE OF THE AMERICAS
    BRYAN CAVE LLP                                                         33RD FL                                                                       NEW YORK              NY           10104
    BRYAN COUNTY BOARD OF
    EDUCATION                               LANIER PRIMARY SCHOOL          6024 HIGHWAY 280 E                                                            PEMBROKE              GA           31321
    Bryan Greenwood                                                        164 Minot St                     #3                                           Dorchester            MA           02122
    Bryan Holdsworth                                                       7903 Kings Reach                                                              San Antonio           TX           78209
    BRYAN MALONEY                                                          20 LOWER BAGGOT STREET           KEYPOINT ADVISORS LIMITED                    DUBLIN                                          Ireland
    Bryan Schultz                                                          2906 Pamella Ct                                                               Austin                TX           78734
    BRYAN THOMAS BICCUM                                                    3765 WAKE ROBIN WAY                                                           CUMMING               GA           30028
    BRYAN YAGER GROUP LLC                   BRYAN YAGER                    2136 S TRAPPER COVE AVE                                                       BOISE                 ID           83709-8503
    BRYANNE ROEMER                                                         1211 KNOLLWOOD ROAD                                                           DEERFIELD             IL           60015-3337
    Bryant Lucas                                                           4626 S Ferguson Rd                                                            Indpls                IN           46239
    BRYCE SCHMID                                                           6280 S MESQUITE TRAIL                                                         TUCSON                AZ           85747
    BRYN MAWR SCHOOL                                                       109 WEST MELROSE AVENUE                                                       BALTIMORE             MD           21210
    BRYNA STEVENS                                                          491-31ST AVENUE #304                                                          SAN FRANCISCO         CA           94121
    BRYNNE RILEY                                                           15165 STATE HWY 78 NORTH                                                      BLUE RIDGE            TX           75424
    Bryon Baily                                                            79 Wesson Terrace                                                             Northborough          MA           01532
    BRYON GIDDENS WHITE                                                    6525 N TALMAN AVE                                                             CHICAGO               IL           60645
    BRYON SEARING                                                          905 E ELGIN AVE                                                               BROKEN ARROW          OK           74012
    BSU Christian Challenge                                                PO Box 832                                                                    Manhattan             KS           66502
    BT Communications Ireland Ltd                                          Grand Canal Plaza,                                                            Dublin                DB           4            Ireland
    BT CONFERENCING VIDEO INC                                              DEPT CH 19399                                                                 PALATINE              IL           60055-9399
    BU READING CONFERENCE                   BLOOMSBURG UNIV                400 EAST SECOND ST                                                            BLOOMSBURG            PA           17815
    BUCHANAN RITA                                                          317 COLEBROOK ROAD                                                            WINSTED               CT           06098
    Buckeye Assn of School Admin            Attn Don Stewart               8050 N. High St                                                               Columbus              OH           43235
    BUCKEYE ASSN OF SCHOOL                  ATTN JILL OTTARSON - LIVE
    ADMINISTRATORS                          TECHNOLOGIES                   3854 FISHER ROAD                                                              COLUMBUS              OH           43228
    BUCKHEAD CLUB                                                          3344 PEACHTREE ROAD NE # 2600                                                 ATLANTA               GA           30326
                                    DBA ACCELERATED SERVICE
    BUCKHOLZ & BIDDLE CORPORATION SYSTEMS                                  P O BOX 358                                                                   BERLIN                NJ           08009
    BUCKLEY SUSAN WASHBURN                                                 140 EAST 83RD STREET #10E                                                     NEW YORK              NY           10028
    BUCKLEY VIRGINIA                                                       33 BROOK TER                                                                  LEONIA                NJ           07605
    BUCKMINSTER FULLER INSTITUTE                                           111 N MAIN ST                                                                 SEBASTOPOL            CA           95472
    BUCKNELL BOOKSTORE                                                     SOUTH 7TH & MOORE AVE                                                         LEWISBURG             PA           17837
    BUCKS CNTY SCHS INTERMEDIATE
    UNIT 22                                                                705 N SHADY RETREAT ROAD         ATTN NANCY BRACKEN                           DOYLESTOWN            PA           18901
    BUCKS MONT COUNCIL FOR THE
    SOCIAL STUDIE                   JIM KEARNEY                            1100 FOLLY ROAD                  CENTRAL BUCKS HS SOUTH                       WARRINGTON            PA           18976
    BUCKS ROCK CAMP                                                        59 BUCKS ROCK ROAD                                                            NEW MILFORD           CT           06776
    BUD FISH                                                               32092 WATERSIDE LANE                                                          WESTLAKE VILLAGE      CA           91361
    BUDDY LEWIA HUGHES                                                     11548 POPLAR STREET                                                           POUND                 VA           24279
    BUENA VISTA BOOKS INC           HYPERION                               114 FIFTH AVENUE                                                              NEW YORK              NY           10011
    BUFF CONRAD III                                                        3420 W. 106TH PLACE                                                           WESTMINSTER           CO           80031
    BUFFALO BILL MEMORIAL
    ASSOCIATION                                                            720 SHERIDAN AVE                                                              CODY                  WY           82414-3428
    BUFFALO PUBLIC SCHOOLS                                                 709 CITY HALL                    ATTN KEITH ROBERTSON                         BUFFALO               NY           14202
    Buffalo Trail Public School                                            1041-10A Street                                                               Wainwright            AB           T9W1S9       Canada
    BUG MUSIC INC                                                          7750 SUNSET BLVD                                                              LOS ANGELES           CA           90046
    BUHLER UNIFIED SCHOOL DIST 313                                         USD 131 PO BOX 320                                                            BUHLER                KS           67522
    BUI DANG HA DOAN                                                       RUE DE MADRID 44                                                              GIF SUR YVETTE                     91190        France
    BUILDING IMAGE GROUP INC                                               1200 E THIRD STREET                                                           AUSTIN                TX           78702
    BUILDING SERVICES OF AMERICA
    LLC                                                                    7228 PERSHING SUITE 1N                                                        LYONS                 IL           60534
    BUKOWSKI AGENCY                                                        14 PRINCE ARTHUR AVE SUITE 202                                                TORONTO               ON           M5R 1A9      Canada
    BULAW WELDING & ENGINEERING
    CO                                                                     750 N ROHLWING RD                                                             ITASCA                IL           60143
    Bulkley Dunton Publishing Group Tony V. Occhiuto                       P.O. Box 403565                                                               Atlanta               GA           30384-3656
    BULKLEY DUNTON PUBLISHING
    GROUP                                                                  PO BOX 403565                                                                 ATLANTA               GA           30384
    Bullhead City Elementary #15                                           1004 Hancock Rd.                                                              BULLHEAD CITY         AZ           86442
    BULLITT ANNE MOEN                                                      PALMERSTOWN KILL NAAS                                                         COUNTY KILDARE                                  United Kingdom
    BULLOCK LYNDAL                                                         2617 PICADILLY LANE                                                           DENTON                TX           76209
    BULLYS TEXTBOOK EXCHANGE                                               2601 CARSON RD                                                                BIRMINGHAM            AL           35215-3007
    Buncombe County Public Schools                                         175 Bingham Road                                                              Asheville             NC           28806
                                    DBA NEW YORK AUDIO
    BUNK 1 PRODUCTIONS INC          PRODUCTION                             344 WEST 38TH STREET 6TH FLOOR                                                NEW YORK              NY           10018
    BUNKER R-III SCHOOL DISTRICT                                           P O BOX 365                                                                   BUNKER                MO           63629
    BUNYAN RUTH PATTERSON                                                  3902 VISTA CAMPANA N UNIT 3                                                   OCEANSIDE             CA           92057-8122



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                   56 of 488                                                                                            1:26 PM
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                                                                                                                    64 of      519
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                                                                                                                        First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                          Address2              Address3               City         State       Zip           Country
    Burbank USD                                                              1900 West Olive Avenue                                                           Burbank             CA           91506
    Burclan Productions                                                      304 Pleasant Street                                                              Watertown           MA           02472
    BUREAU OF EDUCATION &                                                                                     ATTN LYLE CONNER/ HEATHER
    RESEARCH                                                                 P O BOX 96068                    LANE                                            BELLEVUE            WA           98009-9668

    BUREAU OF NATIONAL AFFAIRS INC                                           PO BOX 17009                                                                     BALTIMORE           MD           21297-1009
    BUREAU OF WORKERS
    COMPENSATION                                                             CORPORATE PORCESSING DEPT                                                        COLUMBUS            OH           43271
    BUREAU VERITAS HONG KONG       KWAI CHUNG OFFICE- UNIT 1219
    LIMITED                        VANTA IND                                 21-33 TAI LIN PAI RD                                                             KWAI CHUNG NT                                 Hong Kong

    BUREAU VERITAS NORTH AMERICA                                             14624 COLLECTIONS CENTER DRIVE                                                   CHICAGO             IL           60693
    Burger, Sharon
    BURGETT DONALD R                        ROUTE 2                          4848 VINES ROAD                                                                  HOWELL              MI           48843
    BURKE JAMES                                                              422 18TH AVE                                                                     SAN FRANCISCO       CA           94121
    BURKES WATERFRONT
    RESTAURANT INC                                                           7697 E 44 MILE ROAD                                                              CADILLAC            MI           49601
    BURKHARD BILGER                         C/O THE NEW YORKER               4 TIMES SQUARE                                                                   NEW YORK            NY           10036
    BURLINGTON PUBLIC SCHOOLS               BUSINESS OFFICE                  123 CANBRIDGE STREET                                                             BURLINGTON          MA           01803
    BURLINGTON TWP BOE                                                       P O BOX 428                                                                      BURLINGTON          NJ           08016
    BURNS LOREE GRIFFIN                                                      164 MALDEN STREET                                                                WEST BOYLSTON       MA           01583
                                            DEPT OF ZOOLOGY LIFE SCIENCE II
    BURR BROOKS M                           254                             SOUTHERN ILLINOIS UNIVERSITY                                                      CARBONDALE          IL           62901
    BURRELLESLUCE                                                           75 EAST NORTHFIELD RD                                                             LIVINGSTON          NJ           07039-4501
    BURRIS DIGITAL INC                                                      PO BOX 990399                                                                     NAPLES              FL           34116
    BURSON MARSTELLER -HONG                 23/F CHINACHEM EXCHANGE
    KONG- LTD                               SQUARE                          1 HOI WAN STREET                                                                  QUARRY BAY                                    Hong Kong
    BURT RIGID BOX INC                                                      58 BROWN STREET                                                                   ONEONTA             NY           13820
    BURT RIGID BOX INC                                                      P O BOX 666                                                                       BUFFALO             NY           14240
    BURTON COHEN                                                            25 CHURCHILL AVE                                                                  PALO ALTO           CA           94306
    BURTON CONSULTING COMPANY                                               380 S STATE RD 434 STE 1004-274                                                   ALTAMONTE SPRINGS   FL           32714
    BURTON E STEVENSON
    ENDOWMENT FOR CH                        C/O THE COLUMBUS FOUNDATION      1234 E. BROAD STREET                                                             COLUMBUS            OH           43205
    BUSH TIMOTHY                                                             335 WEST 19TH ST - APT C-11                                                      NEW YORK            NY           10011
    BUSHRA KADDOURA                         CHILDREN INN                     ABDUL BAKI BLDG ABDUL BAKI ST                                                                                                  Lebanon
    BUSINESS AUTOMATION GROUP                                                PO BOX 724                                                                       GENEVA              IL           60134
    BUSINESS CONTRACT SOLUTIONS                                              11 S LASALLE SUITE 3300                                                          CHICAGO             IL           60603-1309

    BUSINESS DATA RECORD SERVICES C/O ALERUS FINANCIAL                       P O BOX 6001                                                                     GRAND FORKS         ND           58206
    Business Education Partnership                                           301 Camperdown Way                                                               GREENVILLE          SC           29602
    BUSINESS ETHICS MAGAZINE                                                 37 WEST 20TH ST STE 904                                                          NEW YORK            NY           10011
    BUSINESS INFO TECH
    SOLUTIONS.COM INC              DBA ABT SOLUTIONS                         8529 SOUTH PARK CIR, SUITE 260                                                   ORLANDO             FL           32819
    Business Litigation Associates

    BUSINESS LITIGATION ASSOCIATES                                           400 BLUE HILL DR STE 2C                                                          WESTWOOD            MA           02090
    BUSINESS WEEK                           1221 AVENUE OF THE AMERICAS      27TH FLOOR                                                                       NEW YORK            NY           10020-1001
    Business Wire                           Department 34182                 PO Box 39000                                                                     San Francisco       CA           94139
    BUSINESS WIRE INC                       DEPARTMENT 34182                 P O BOX 39000                                                                    SAN FRANCISO        CA           94139
    Business Wire, Inc.                     Business Wire                    Department 34182                 PO Box 39000                                    San Francisco       CA           94139
    Business Wire, Inc.                                                      44 Montgomery Street, 39th Fl                                                    San Francisco       CA           94104
    BUTLER JUDY WOODCOCK                                                     443 FRANKLIN                                                                     ASTORIA             OR           97103
    BUTLER SUPPLY INC                                                        PO BOX 17415                                                                     ST LOUIS            MO           63178
    BUTTS THOMAS                                                             3860 MOCKINBIRD LANE                                                             DALLAS              TX           75205
    BUZ-LINE CO INC                                                          3915 E OAKTON STREET                                                             SKOKIE              IL           60076
    BYER-SPRINZELES MARGARET                                                 5800 ARLINGTON AVE                                                               RIVERDALE           NY           10471
    BYRON CENTER PUBLIC SCHOOLS                                              8542 BYRON CENTER AVENUE SW                                                      BYRON CENTER        MI           49315
                                            DBA BYRON JORDORIAN
    BYRON JORJORIAN                         PHOTOGRAPHY                      2882 IROQUOIS DR, P O BOX 306                                                    THOMPSON STATION    TN           37179
    BYRON PREISS VISUAL
    PUBLICATIONS                            ATTN JOHN COLBY                  1230 PARK AVENUE STE 9A                                                          NEW YORK            NY           10128
    Byron R White                                                            50350 Cowen Rd                   Flip 34                                         Scappoose           OR           97056
    Byron Townsend                                                           PO BOX 104                                                                       North Liberty       IA           52317
    Byron White                                                              50350 Cowen Rd                   Flip 34                                         Scappoose           OR           97056
    BYRRD ENTERPRISES INC                                                    7964 FORT HUNT RD                                                                ALEXANDRIA          VA           22308
                                                                                                                                                              TAI PAO NEW
    C & C OFFSET PRINTING                   14/F C & C BUILDING              36 TING LAI ROAD                                                                 TERRITORIES                                   Hong Kong
    C & H DISTRIBUTORS INC                                                   22133 NETWORK PLACE                                                              CHICAGO             IL           60673
    C A TUGEAU ARTIST AGENT LLC             DBA CHRISTINA A TUGEAU           3009 MARGARET JONES LANE                                                         WILLIAMSBURG        VA           23185
    C A TUGEAU ARTIST AGENT LLC             ATTN CHRISTINA A TUGEAU          3009 MARGARET JONES LANE                                                         WILLIAMSBURG        VA           23185



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                        57 of 488                                                                                     1:26 PM
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                                                                                                                         Matrix
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                         Address2                        Address3            City            State       Zip               Country
    C A TUGEAU ARTIST AGNT LLC                                                3009 MARGARET JONES LANE                                                                 WILLIAMSBURG        VA           23185
    C AND A HAWES LTD                                                         33 FOAMCOURT WAYE                                                                        FERRING W SUSSEX                 BN12 5RD     United Kingdom
    C C JONES LLC                                                             11 CUSHMAN ROAD                                                                          PATTERSON           NY           12563
    C CHRISTOPHER BOLING                                                      7721 TILLEY ROAD                                                                         HURDLE MILLS        NC           27541
    C CRAIG HEINDEL                                                           129 WILDROSE LANE                                                                        NEW CASTLE          NH           03854
    C D DIMENSIONS INC                                                        490 INDUSTRIAL PARK RD                                                                   DEEP RIVER          CT           06417
    C H KINDSVATTER & ASSOCIATES
    INC                                                                       1000 W ST JOSEPH, STE 200                                                                LANSING             MI           48915
    C P RAO                                 KUWAIT UNIV/COLL ADMIN SCI        PO BOX 5486                     DIR, CASE RES & TEACH UNIT                               SAFAT                            13055        Kuwait
    C THATCHER INC                                                            5776 WIMSEY LN NE                                                                        BAINBRIDGE ISLAND   WA           98110
    C William Brown                                                           137 Brookfield Road                                                                      Fiskdale            MA           01518
    C. Michael Shaw                                                           6302 Southdown Ct.                                                                       Granbury            TX           76049
    C.R.S.T REVENUE DEPARTMENT                                                P O BOX 590                                                                              EAGLE BUTTE         SD           57625
    CA Board of Equalization                                                  P.O. Box 942879                                                                          Sacramento          CA           94279-8015
    Ca Sipple                                                                 15 Hunters Lane                                                                          Chaddes Ford        PA           19317
    CAB GRAPHICS INC                                                          40540 N DOGWOOD CIR                                                                      ANTIOCH             IL           60002
    CABIRIA ROSADO                                                            87 DOUGLASS STREET, # 3                                                                  BROOKLYN            NY           11231
    CABLE NEWS NETWORK                      DBA CNN IMAGESOURCE               ONE CNN CENTER                                                                           ATLANTA             GA           30303
    CABLEVISION LIGHTPATH INC                                                 P O BOX 360111                                                                           PITTSBURGH          PA           15251-6111
                                                                              500 WEST CUMMINGS PARK SUITE
    CABLINX INC                                                               1150                                                                                     WOBURN              MA           01801
    Cabot Acquisition, LLC                  RE 950 N. Raddant Road            c/o RREEF Management Company    1301 W.22nd Street, Suite 602                            Oak Brook           IL           60523
    CABRERA EDUARDO                                                           5855 HORTON ST APT 406                                                                   EMERYVILLE          CA           94608
    CAD Consulting                          Cheryl Dunkle                     1564 Peninsula Circle                                                                    Castle Rock         CO           80104
    CADDO-SHREVEPORT                        SALES AND USE TAX COMMISSION      P O BOX 104                                                                              SHREVEPORT          LA           71161

    CADMUS JOURNAL SERVICES INC             DBA CENVEO PUBLISHER SERVICES P O BOX 822934                                                                               PHILADELPHIA        PA           19182-2934
    Cafeteria Fund                          Norfolk Public Schools        800 E. City Hall Ave.               A/P                                                      Norfolk             VA           23510
    CAGLE CARTOONS INC                                                    PO BOX 22342                                                                                 SANTA BARBARA       CA           93121
    Cahill Gordon & Reindel
    CAHILL GORDON & REINDEL LLP                                               EIGHTY PINE STREET                                                                       NEW YORK            NY           10005-1702
    Cahill, Justin
                                                                          1540 BOSTON POST RD P O BOX
    CAHOON NANCY STAUFFER                   DBA NANCY STAUFFER ASSOCIATES 1203                                                                                         DARIEN              CT           06820
    CAINS ADVOCATES LIMITED                                               15-19 ATHOL STREET                                                                           DOUGLAS                          IM1 1LB      Isle Of Man
    CAIRN ENTERPRISES, INC.                                               3755 AVOCADO BLVD #214                                                                       LA MESA             CA           91941
    CAITLIN BRAITSCH                                                      4331 BROWNWAY AVE                                                                            CINCINNATI          OH           45209
    CAITLIN OCONNELL                                                      6924 WELLER ST                                                                               SAN DIEGO           CA           92122
    CAL BOARD OF EQUALIZATION                                             P O BOX 942879                                                                               SACRAMENTO          CA           94279
    CAL POLY POMONA FOUNDATION
    INC                                                                       3801 W TEMPLE AVE BLDG # 55                                                              POMONA              CA           91768-4038
    CAL SPORT MEDIA                         JOHN GREEN                        35879 ANDERSON ST                                                                        BEAUMONT            CA           92223
    CALABRO MARIAN                                                            327 CLEVELAND AVE                                                                        HASBROUCK HEIGHTS   NJ           07604
    CALAMA CORP                             DBA ARIEL DORFMAN                 1121 ANDERSON ST                                                                         DURHAM              NC           27705
    CALCASIEU PARISH SALES & USE
    TAX DE                                                                    P O BOX 2050                                                                             LAKE CHARLES        LA           70602-2050
    CALDERON MARGERITA                      JOHN HOPKINS UNIVERSITY           3131 CONNECTICUT AVE NW #2403                                                            WASHINGTON          DC           20008

    CALDWELL COMMUNITY COLLEGE &            TECHNICAL INSTITUTE               2855 HICKORY BLVD                                                                        HUDSON              NC           28638
    CALEB MARSHALL                                                            759 UNION STREET, APT #2                                                                 FREDERICTON         NB           E3A 3P3      Canada
    Caleb Nugent                                                              27 Three Island Dr                                                                       Charleston          WV           25313
    CALEF BROWN                                                               136 MAINE ST, SUITE # 6                                                                  BRUNSWICK           ME           04011
    Calgary Academy                                                           9400 17th Ave SW                                                                         Calgary             AB           T3H4A6       Canada
    CALIFORNIA ADULT EDUCATION
    ADMIN ASSN                                                                575 WEST MAPLE                                                                           TULARE              CA           93274
    CALIFORNIA ALLIANCE OF AFRICAN
    AMERICAN                                EDUCATORS                         P O BOX 3134                                                                             SAN JOSE            CA           95156
    CALIFORNIA ASSN FOR BILINGUAL
    EDUCATION                                                                 16033 SAN BERNARDINO RD                                                                  COVINA              CA           91722-3900
    CALIFORNIA ASSN FOR
    SUPERVISION                             & CURRICULUM DEVELOPMENT          612 CAMINO CERRADO                                                                       SOUTH PASADENA      CA           91030
    CALIFORNIA ASSN OF AFRICAN-             SUPERINTENDENTS &
    AMERICAN                                ADMINISTRATORS                    12155 EL ORO WAY                                                                         GRANADA HILLS       CA           91344
    CALIFORNIA ASSN OF REG
    OCCUPATIONAL CTR                        CALCP/CAROCP CONFERENCE           9300 IMPERIAL HWY                                                                        DOWNEY              CA           90242
    CALIFORNIA ASSN OF REG
    OCCUPATIONAL CTR                        BETH ELCHICO                      9300 IMPERIAL HWY                                                                        DOWNEY              CA           90242
    CALIFORNIA ASSOC OF LATINO SUP
    & ADMTRS                                                                  1029 J STREET SUITE 500         ATTN SAL VILLASENOR                C/O ACSA              SACRAMENTO          CA           95814




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                       58 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                   66 of      519
                                                                                                                           Matrix
                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName                  Address1                       Address2              Address3               City        State       Zip      Country
    CALIFORNIA ASSOC OF TCHRS OF
    ENGLISH                                                                P O BOX 3783                                                                   CHICO              CA           95927
    CALIFORNIA ASSOCIATION OF
    PRIVATE SCHOOL                          ORGANIZATIONS                  15500 ERWIN STREET #303                                                        VAN NUYS           CA           91411
    CALIFORNIA BOARD OF
    EQUALIZATION                                                           PO BOX 942879                                                                  SACRAMENTO         CA           94279-0035
    CALIFORNIA CHARTER SCHOOLS
    ASSN                                                      250 EAST 1ST STREET STE 1000                                                                LOS ANGELES        CA           90012
                                 ASSN FOR OCCUPATIONAL
    CALIFORNIA COMMUNITY COLLEGE EDUCATION                    P O BOX 407                                                                                 APTOS              CA           95001-0407
    CALIFORNIA COUNCIL FOR ADULT
    EDUCATION                    C/O MANUAL ARTS CRENSHAW CAS 4131 S VERMONT AVE                                                                          LOS ANGELES        CA           90037-1918

    CALIFORNIA COUNCIL SOC STUDIES                                         P O BOX 9319                                                                   CHICO              CA           95927-9319
    CALIFORNIA DEPARTMENT OF
    EDUCATION                               ATTN NANCY PLASENCIA           1430 N STREET STE 3207                                                         SACRAMENTO         CA           95814
    CALIFORNIA DEPT OF MOTOR                                                                                  ACCOUNT PROCESSING UNIT MS-
    VEHICLE                                                                P O BOX 944231                     H221                                        SACRAMENTO         CA           94244-2310
    CALIFORNIA DEPT OF PARKS AND                                                                              PHOTOGRAPHIC ARCHIVES - ATTN
    RECREATION                                                             2517 PORT STREET                   CURATOR                                     WEST SACRAMENTO    CA           95691-3505
    California Dept of Revenue              Attn Bankruptcy                450 N St MIC 55                                                                Sacramento         CA           95814
    CALIFORNIA EDUCATIONAL
    RESEARCH ASSN                           ATTN ROGER YOHO                2820 CLARK AVE                                                                 NORCO              CA           92860
    CALIFORNIA EDUCATIONAL
    TECHNOLOGY                              PROFESSIONALS ASSOCIATION      915 L STREET #C424                                                             SACRAMENTO         CA           95814
    CALIFORNIA ELEMENTARY EDU
    ASSOC                                                                  PO BOX 3168                                                                    TORRANCE           CA           90510
    CALIFORNIA INDIAN MANPOWER
    CONSORTIUM                              DBA NINAETC                    738 NORTH MARKET BLVD                                                          SACRAMENTO         CA           95834-1206
    CALIFORNIA INSTITUTE OF
    TECHNOLOGY                                                             INSTITUTE ARCHIVES 015A-74                                                     PASADENA           CA           91125
    CALIFORNIA LANGUAGE TEACHERS
    ASSN                                                                   1795 WOODSIDE COURT                                                            CONCORD            CA           94519
    CALIFORNIA LEAGUE OF HIGH                                              6621 E PACIFIC COAST HWY, STE
    SCHOOLS                                                                210                                                                            LONG BEACH         CA           90803
    CALIFORNIA LEAGUE OF MIDDLE
    SHOOLS                                                                 6621 E PACIFIC COAST HWY STE 210                                               LONG BEACH         CA           90803
    CALIFORNIA MATHEMATICS
    COUNCIL - CENTRAL                                                      1037 E PENNSYLVANIA AVE                                                        FRESNO             CA           93720
    CALIFORNIA MATHEMATICS
    COUNCIL - NORTH                                                        2024 FAIR OAKS AVE                                                             SOUTH PASADENA     CA           91030
    CALIFORNIA MATHEMATICS
    COUNCIL - SOUTH                                                        P O BOX 880                                                                    CLAYTON            CA           94517-0880

    CALIFORNIA READING ASSOCIATION EUREKA! CHILDRENS BOOK AWARD 3818 RIVIERA DR # 1                                                                       SAN DIEGO          CA           92109
                                                                638 CAMINO DE LOS MARES STE
    CALIFORNIA READING ASSOCIATION                              H130/476                                                                                  SAN CLEMENTE       CA           92673
    CALIFORNIA SCHOOL AGE
    CONSORTIUM                                                  19635 REDDING DRIVE                                                                       SALINAS            CA           93908
    CALIFORNIA SCHOOL BOARD
    ASSOCIATION                    C/O WEST AMERICAN BANK       P O BOX 1450                                                                              SUISUN CITY        CA           94585-4450

    CALIFORNIA SECRETARY OF STATE                                          P O BOX 944230                                                                 SACRAMENTO         CA           94244-2300
    CALIFORNIA STATE UNIVERSITY    SAN BERNANDINO                          5500 UNIVERSITY PARKWAY                                                        SAN BERNADINO      CA           92407-2393
                                   ASSOCIATED STUDENTS
    CALIFORNIA STATE UNIVERSITY    BOOKSTORE                               BELL MEMORIAL UNION                                                            CHICO              CA           95929
    CALIFORNIA STATE UNIVERSITY                                            5500 UNIVERSITY PARKWAY                                                        SAN BERNADINO      CA           92407-2393
    CALIFORNIA STATE UNIVERSITY                                            BELL MEMORIAL UNION                                                            CHICO              CA           95929
    CALIFORNIA STATE UNIVERSITY,
    FRESNO                         ASSOC - UNIV FOOD SERVICES              5200 N CAMPUS DR RD 38                                                         FRESNO             CA           93740-8017
    CALIFORNIA TCHRS OF ENGLISH TO OF OTHER LANGUAGES -
    SPEAKERS                       NORTHERN                                19881 BROOKHURST ST STE C-133                                                  HUNTINGTON BCH     CA           92646
    CALIFORNIA TEACHERS OF ENGLISH
    TO                             SPEAKERS OF OTHER LANGUAGES             21 C ORINDA WAY # 362                                                          ORINDA             CA           94563
    CALIFORNIA WORKFORCE
    ASSOCIATION                                                            1107 9TH STREET STE 801            ATTN BARBARA HALSEY                         SACRAMENTO         CA           95814
    CALIFORNIANS TOGETHER          ATTN SHELLY SPIEGEL COLEMAN             525 EAST 7TH ST, STE # 207                                                     LONG BEACH         CA           90813
    CALLAHAN STEVEN                                                        61 PINE STREET APT A                                                           ELLSWORTH          ME           04605
                                   DBA OC&C STRATEGY
    CALLIDON GROUP                 CONSULTANTS                             33 ARCH STREET 22ND FLOOR                                                      BOSTON             MA           02110



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                    59 of 488                                                                               1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             PgCreditor
                                                                                                                67 of      519
                                                                                                                        Matrix
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                         Address2              Address3                 City        State       Zip            Country
    Callie F Barrons                                                       3213 Liberty St.                Apt A                                            Austin               TX           78705
    Callie Keppner                                                         29w418 Candlewood Lane                                                           Warrenville          IL           60555
    CALLOWAY COUNTY BOARD OF
    EDUCATION                               ATTN NANCY LOVETT              PO BOX 1018                                                                      MURRAY               KY           42071
    CALMENSON STEPHANIE                     205 EAST 22ND STREET           APARTMENT 3L                                                                     NEW YORK             NY           10010
    CALPAC ID #821455                       C/O AAP                        50 F ST NW 4TH FLR                                                               WASHINGTON           DC           20001-1530
    CALPAC TWO ID1235550                    C/O AAP                        50 F ST NW - 4TH FLR                                                             WASHINGTON           DC           20001-1530
    CALVERT COUNTY PUBLIC                   BOARD OFO EDUCATION OF
    SCHOOLS                                 CALVERT CNTY                   1305 DARES BEACH ROAD                                                            PRINCE FREDERICK     MD           20678
    CALVIN COLLEGE                          CALVIN COLLEGE BOOKSTORE       1745 KNOLLCREST CIRCLE SE                                                        GRAND RAPIDS         MI           49546
    CALVO RITA                                                             110 COBB ROAD                                                                    ITHACA               NY           14850
    Camacho, Mia
    CAMBRIDGE BRICKHOUSE INC                                               60 ISLAND STREET STE 102 EAST                                                    LAWRENCE             MA           01840

    CAMBRIDGE ELEMENTARY SCHOOL                                            2000 CAMBRIDGE DR                                                                COCOA                FL           32922
                                            DBA HOTEL MARLOWE AND
    CAMBRIDGE HOTEL LLC                     BAMBARA RESTRNT                25 EDWIN H LAND BLVD                                                             CAMBRIDGE            MA           02141
    CAMBRIDGE INTERNATIONAL
    GROUP INC                                                              170-A COOLIDGE HILL                                                              CAMBRIDGE            MA           02138
    CAMBRIDGE PUBLIC LIBRARY                                               70 RINDGE AVE                                                                    CAMBRIDGE            MA           02140
    CAMBRIDGE PUBLISHING                                                                                                                                    CALDECOTE
    MANAGEMENT                                                             UNIT 2 BURR ELM CT MAIN ST                                                       CAMBARIDGESHIRE                   CB3 7NU      United Kingdom
    CAMBRIDGE TYPEWRITER CO INC                                            102 MASSACHUSETTS AVE                                                            ARLINGTON            MA           02474
    CAMBRIDGE UNIVERSITY PRESS              ATTN ADAM HIRSHBERG            32 AVENUE OF THE AMERICAS                                                        NEW YORK             NY           10013-2473
    CAMDEN CENTRAL SCHOOL
    DISTRICT                                                               51 THIRD STREET                                                                  CAMDEN               NY           13316
    CAMDEN COUNTY MUNICIPAL
    UTILITIES                               AUTHORITY                      P O BOX 1105                                                                     BELLMAWR             NJ           08099-5105
    CAMELBACK ADVENTURES                                                   14307 E HAWKNEST ROAD                                                            SCOTTSDALE           AZ           85262
    CAMEO AGENCY INC                                                       683 MAIN STREET                                                                  WALTHAM              MA           02451
                                            DBA MARY ELLEN BARLEY
    CAMERA AND SHOVEL INC                   PHOTOGRAPHY                    P O BOX 608                                                                      WAINSCOTT            NY           11975
    CAMERAMANN INTERNATIONAL,
    LTD.                                                                   PO BOX 1199                                                                      PARK RIDGE           IL           60068
    CAMERON ALEXANDER                                                      230 MARTEN ROAD                                                                  MARKLEYSBURG         PA           15459
    CAMERON CAMPBELL                                                       520 RIVER OAK DR                                                                 AMES                 IA           50010
    CAMERON CHARLES SHAIN                                                  9 SOUTH HUNTS MEADOW RD                                                          WHITE FIELD          ME           04530
    CAMERON CROSS                           DBA THE BIG EASEL              6-54 DONALD STREET                                                               WINNIPEG             MB           R3C 1L6      Canada
    CAMERON DAVIDSON                        DBA CAMERON DAVIDSON LLC       399 TENNESSEE AVENUE                                                             ALEXANDRIA           VA           22305
    CAMERON DAVIS                                                          11135 WEDDINGTON ST #450                                                         NORTH HOLLYWOOD      CA           91601
    CAMERON HARTFORD                                                       1959 BRIDGEPORT AVE                                                              CLAREMONT            CA           91711
    Cameron P McColl                                                       2404 White Horse Trail                                                           Austin               TX           78757
    Cameron Robertson                                                      2155 Lake Debra Drive           Apt. 813                                         Orlando              FL           32835

    CAMILA MARI CARDONA SANTIAGO                                           VIA AVENTURA APTO 5402                                                           TRUJILLO ALTO        PR           00976
    CAMILA N VELEZ ALVAREZ                  URB ENCANTADA                  RIO CRISTAL RD 19                                                                TRUJILLO ALTO        PR           00976
    Camille A Burdge                                                       10755 Westbrook Drive                                                            Orlando              FL           32821
    CAMILLE A SMITH                                                        1806 HIGHWAY 9 WEST                                                              SPIRIT LAKE          IA           51360
    CAMILLE ALLEN                                                          425 LAPHAM FARM ROAD                                                             PASOCAG              RI           02859
    CAMILLE FABERY DIANA                                                   URB VISTA AL MAR CALLE 8 B-1                                                     CATANO               PR           00919
    CAMILLE L CORTES LOPEZ                                                 MALLORCA #63 SULTANA                                                             MAYANGUEZ            PR           00680
    CAMILLE STALLINGS                                                      9028 N. ARRINGTON DRIVE                                                          TUSCON               AZ           85742
    Camillia Roque                                                         1500 Grant Ct                                                                    Hanover Park         IL           60133
    CAMPBELL CLEO                                                          307 FIRST AVENUE SW                                                              GLENBURNIE           MD           21061
    CAMPBELL KATHERINE S                                                   11387 TURTLEBACK LANE                                                            SAN DIEGO            CA           92127
    Campbell, Bill                          JP Morgan Chase                270 Park Avenue                 37th Floor                                       New York             NY           10017
    Campbell, Bill
    CAMPUS & CITY MAIL SERVICE              DBA MAIL MANAGER               800 C LOUISVILLE STREET                                                          STARKVILLE           MS           39759-3724
    CAMPUS BOOK & SUPPLY                                                   112 SOUTH LINCOLN STREET                                                         KENT                 OH           44240
    CAMPUS BOOKSTORE                        UNIVERSITY OF N CAROLINA       1 UNIV HEIGHTS, HIGHSMITH CTR                                                    ASHEVILLE            NC           28804
    CAMPUS BOOKSTORE                                                       337 FOREST AVENUE                                                                PORTLAND             ME           04101
    CAMPUS DOCUMENT SYSTEMS                 UNIVERSITY COPY CENTER         16211 PARK TEN PLACE                                                             HOUSTON              TX           77084
    CANADA COLLEGE BOOKSTORE                                               4200 FARM HILL BLVD                                                              REDWOOD CITY         CA           94061
    CANADA SCIENCE & TECHNOLOGY
    MUSEUM                                                                 BOX 9724 STATION T                                                               OTTAWA               ON           K1G 5A3      Canada
    CANADIAN BROADCASTING
    CORPORATION                                                            CP / PO BOX 220 STATION A                                                        TORONTO              ON           M5W 1B2      Canada
    CANADIAN MUSEUM OF
    CIVILIZATION LIBRARY                                                   100 LAURIER STREET                                                               GATINEAU             QC           K1A 0M8      Canada
    Canadian Rockies Public School                                         618 7th Avenue                                                                   Canmore              AB           T1W2H5       Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      60 of 488                                                                                        1:26 PM
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                                                                                                                PgCreditor
                                                                                                                   68 of      519
                                                                                                                           Matrix
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2                         Address3              City            State       Zip            Country
    Cancer League of Colorado                                              PO Box 5373                                                                                  Englewood             CO           80155
    CANDACE CHRISTIANSEN                                                   2045 ROUTE 23C                                                                               EAST JEWETT           NY           12424-5522
    Candace Fass                                                           37 Tamarack Lane                                                                             Peabody               MA           01960
    Candace Finn                                                           46 Maujer Street                   #4                                                        Brooklyn              NY           11206
    Candace Gentry                                                         7276 Windridge Way                                                                           Brownsburg            IN           46112
    Candace Kavey                                                          120 Rosewood Court                                                                           Kissimmee             FL           34743
    Candee A Fredericksen                                                  514 3rd St Nw                                                                                Independence          IA           50644
    Candi Di Biase                                                         116 Matteson Street                                                                          Fredonia              NY           14063
    Candice Buker                                                          620 Mayfair Dr                                                                               Altamonte Spgs        FL           32701
    CANDIDA GILLIS                                                         307 N POLK ST                                                                                MOSCOW                ID           83843
    CANDLEWICK PRESS                                                       99 DOVER STREET                                                                              SOMERVILLE            MA           02144
    CANDUIT CONSULTING INC                                                 28988 N WADE STREET                                                                          WAUCONDA              IL           60084
    Candyce Belanger                                                       135 EL CAMINO REAL                                                                           TUSTIN                CA           92780
    CANE RIVER ART CORPORATION                                             919 PARKWAY DRIVE                                                                            NATCHITOCHES          LA           71457-5533
    Canizares, Susan
    CANNON IN INC                                                          950 DORMAN STREET                                                                            INDIANAPOLIS          IN           46202
    Cannon, Timothy

    CANON BUSINESS SOLUTIONS INC                                           15004 COLLECTIONS CENTER DRIVE                                                               CHICAGO               IL           60693

    CANON FINANCIAL SERVICES INC                                           14904 COLLECTIONS CENTER DRIVE                                                               CHICAGO               IL           60693
    CANON FINANCIAL SERVICES INC                                           158 GAITHER DRIVE                                                                            MOUNT LAUREL          NJ           08054-1716
    CANON FINANCIAL SERVICES INC                                           PO BOX 4004                                                                                  CAROL STREAM          IL           60197-4004
    CANONGATE BOOKS LIMITED                                                14 HIGH STREET                                                                               EDINBURGH                          EH1 1TE      United Kingdom
    CANTERBURY SCHOOL                                                      101 ASPETUCK AVENUE                                                                          NEW MILFORD           CT           06776
    CANTOMEDIA                                                             SEVEN WOOD STREET                                                                            KATONAH               NY           10536
    Canton Public Schools                   Accounts Payable               4 Market Street                Suite 100                                                     Canton                CT           06019
    CANTRELL KERRY                                                         740 GOLDFINCH ROAD                                                                           MARSHFIELD            MO           65706
    Canyon
    Canyon Capital Advisors, LLC            Scott Borenstein               2000 Ave. of the Stars, 11th Fl.                                                             Los Angeles           CA           90067
                                            C/O INSTATE CHILD SUPPORT      462 WASHINGTON STREET - RM
    CANYON COUNTY CLERK / IDAHO             BUREAU                         W362                                                                                         INDIANAPOLIS          IN           46204
    CANYON PARTNERS
    CAPAC COMMUNITY SCHOOLS                 CAPAC MIDDLE SCHOOL            403 N GLASSFORD                                                                              CAPAC                 MI           48014
    CAPAC COMMUNITY SCHOOLS                 CAPAC ELEMENTARY SCHOOL        403 N GLASSFORD                                                                              CAPAC                 MI           48014
    CAPAC COMMUNITY SCHOOLS                 CAPAC JR- SR HIGH SCHOOL       403 N GLASSFORD                                                                              CAPAC                 MI           48014
    CAPARRA HILLS LLC                                                      P O BOX 9506                                                                                 SAN JUAN              PR           00908-0506
    Caparra Hills, Inc.                     RE B7 Tabonuco Street          Roberto Gonzalez                   PO Box 9506                                               San Juan              PR           00908-0506
    CAPAX GLOBAL LLC                                                       P O BOX 200955                                                                               PITTSBURGH            PA           15251-0955
    CAPE COD COMPOSITORS INC                                               811 WASHINGTON STREET # 2                                                                    PEMBROKE              MA           02359-2333

    CAPE COD SCRIVENERS COMPANY             C/O EUGENE THEROUX             815 CONNECTICUT AVE                                                                          WASHINGTON            DC           20006

    CAPE HENLOPEN SCHOOL DISTRICT           ATTN AMANDA WAGNER             1270 KINGS HWY                                                                               LEWES                 DE           19958
    CAPEL & LAND LTD                                                       29 WARDOUR ST                                                                                LONDON                             W1D 6PS      United Kingdom
    CAPGEMINI US LLC                        c/o BANK OF AMERICA            98836 COLLECTION CENTER DR                                                                   CHICAGO               IL           60693
    Capistrano Unified S.D.                 Kim Lindley                    32951 Calle Perfecto                                                                         SAN JUAN CAPISTRANO   CA           92675
    Capital Advisors Group                  Benjamin K. Cambell            29 Crafts Street                   Chatham Center                     Suite 270              Newton                MA           02458
    CAPITAL ARCHITECTURAL SIGNS
    INC                                                                    P O BOX 81782                                                                                AUSTIN                TX           78708-1782
    CAPITAL AREA FOOD BANK OF
    TEXAS INC                                                              8201 SOUTH CONGRESS AVENUE         ATTN VANESSA VELA                                         AUSTIN                TX           78745
    CAPITAL CITY CONSULTING LLC                                            101 E COLLEGE AVE SUITE 303                                                                  TALLAHASSEE           FL           32301
    CAPITAL CITY ECONOMIC DEV               DBA CONNECTICUT CONVENTION
    AUTHORITY                               CENTER                         100 COLUMBUS BLVD                                                                            HARTFORD              CT           06106
    CAPITAL CITY TECHNICAL
    CONSULTING INC                                                         515 FIFTH STREET NE                                                                          WASHINGTON            DC           20002-5243
    CAPITAL CONTRACTORS INC                                                25049 NETWORK PLACE                                                                          CHICAGO               IL           60673
    CAPITAL DIST CNCL FOR THE
    SOCIAL STUDIES                          ATTN GLORIA TOWLE-HILT         210 STANFORD DR                                                                              SCHENECTADY           NY           12303-5061

    Capital Guardian Trust Company (U.S.) Robert Neithart                  333 S. Hope St., 55th Fl.                                                                    Los Angeles           CA           90071
    CAPITAL INTELLECT INC                                                  179 SOUTH STREET 2ND FLOOR                                                                   BOSTON                MA           02111
    CAPITAL MACHINERY SYSTEMS                                              PO BOX 330                                                                                   PENDLETON             IN           46064
    CAPITAL OFFSET COMPANY INC                                             181 N MAIN STREET PO BOX 2824                                                                CONCORD               NH           03302-2824
    Capital One, F.S.B.                   Remittance Processing            P.O. Box 70885                                                                               Charlotte             NC           28272-0885
    CAPITAL REGION COUNCIL FOR THE
    SOCIAL                                STUDIES                          P O BOX 67041                                                                                LINCOLN               NE           68506
    CAPITAL SPECTRUM & CSI                                                 PO BOX 143115                                                                                AUSTIN                TX           78714
    CAPITAL UNIVERSITY                                                     1 COLLEGE AND MAIN                                                                           COLUMBUS              OH           43209



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                        61 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                           PgCreditor
                                                                                                              69 of      519
                                                                                                                      Matrix
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                         Address2                        Address3               City         State       Zip            Country
    Capitol Corporate Services, In                                         P.O. Box 1831                                                                                 AUSTIN          TX           78767
    CAPITOL HILL STRATEGIES INC                                            420 WATERFORD DRIVE                                                                           CARTERSVILLE    GA           30120
    Capitol Media Solutions                                                3340 Peachtree Road, NE         Suite 1050                                                    Atlanta         GA           30326
    CAPITOL MEDIA SOLUTIONS LLC             ATTN JOHN T HRONCICH           3340 PEACHTREE RD NE STE 1050                                                                 ATLANTA         GA           30326
    CAPITOL REGION EDUCATION
    COUNCIL                                                                111 CHARTER OAK AVENUE                                                                        HARTFORD        CT           06106
    CAPLAN COMMUNICATIONS LLC                                              1700 ROCKVILLE PIKE, STE 400                                                                  ROCKVILLE       MD           20852
    CAPLAN REBEKAH                                                         62 MAYFAIR COURT                                                                              ALAMO           CA           94507
    CAPLE KATHY                                                            52 GARDEN STREET, APT 3                                                                       CAMBRIDGE       MA           02138
    CAPPS LELON R                                                          1724 PRESTWICK CIRCLE                                                                         LAWRENCE        KS           66047-1813
                                            DBA HUDSON YARDS AND BLACK
    CAPS GROUP ACQUISITION LLC              DOT                            P O BOX 6704                    C/O ACCORD FINANCIAL INC                                      GREENVILLE      SC           29606
                                            DBA CLEARCHANNEL
    CAPSTAR RADIO OPERATING CO              BROADCASTING                   5080 COLLECTIONS CENTER DR                                                                    CHICAGO         IL           60693
    CAPSTON GLOBAL LIBRARY LLC              HEINEMANN-RAINTREE LIBRARY     1710 ROE CREST DRIVE                                                                          MANKATO         MN           56003
    CAPSTONE GLOBAL LIBRARY LTD                                            HALLEY COURT, JORDAN HILL                                                                     OXFORD                       OX2 8EJ      United Kingdom
    CAPSTONE PRESS INC                                                     P O BOX 1150 MI 55                                                                            MINNEAPOLIS     MN           55480-1150
    Capucine Chapman                                                       9590 W. Chenango Avenue                                                                       Littleton       CO           80123
    CARA CANDAL                                                            77 MARION STREET #207                                                                         BROOKLINE       MA           02446
    Cara Llewellyn                                                         11 Milford Street               Apartment #4                                                  Boston          MA           02118
    Cara Mackay                                                            287 Miller Street                                                                             Middleboro      MA           02346
    CARA MOSER                                                             74 NORTH MAIN STREET                                                                          S DEERFIELD     MA           01373
    Cara Reid                                                              267 E. Cottage st.              Apt 1                                                         Dorchester      MA           02125
    CARA YEE                                                               7 HEATHSIDE CRESCENT                                                                          HALIFAX         NS           B3S 1G3      Canada
    Carbon County SD #2                     Attn Carrie Craig              122 Elm Street                                                                                Saratoga        WY           82331
    CARBONE LINDA                                                          26104 CHERRY BLOSSOM COURT                                                                    LAWRENCEVILLE   NJ           08648

    CARCANET PRESS                                                         30 CROSS ST, 4TH FL ALLIANCE HSE                                                              MANCHESTER                   MC 7AQ       United Kingdom
    CARCANET PRESS LIMITED                                                 30 CROSS STREET                  4TH FLOOR ALLIANCE HOUSE                                     MANCHESTER                   M2 7AO       United Kingdom
                                            INFORMATION RETRIEVAL &
    CARDON NANETTE                          INDEXING SERVICE               2181 NW GLISAN ST #302                                                                        PORTLAND        OR           97210
    CARE SERVICES INC                                                      602 S 188TH AVENUE                                                                            ELKHORN         NE           68022
    CARE SERVICES INC                                                      602 S 188TH AVENUE              MICHAEL CAROTTA                                               ELKHORN         NE           68022-5644
    CARECALL INC                                                           200 14TH AVENUE EAST                                                                          SARTELL         MN           56377
    CAREERBUILDER.COM                                                      13047 COLLECTION CENTER DRIVE                                                                 CHICAGO         IL           60693
    CAREW INTERNATIONAL                                                    P O BOX 706149                                                                                CINCINNATI      OH           45270
    CAREY A MILLER                                                         4326 CLAYMILL COURT                                                                           HILLARD         OH           43026
    Carey Catherine Lewis                                                  0n583 Bowdish Drive                                                                           Geneva          IL           60134
    CAREY JOHN A                                                           PO BOX 585                                                                                    DENNIS          MA           02638
    Carey L Adams                                                          34257 Tangueray Drive                                                                         Grayslake       IL           60030
    Carey Miller                                                           4326 Claymill Court                                                                           Hilliard        OH           43026

    CAREY-MY CHAUFFEUR LIMOUSINE                                           P O BOX 631446                                                                                BALTIMORE       MD           21263
    CARIBBEAN CONSOLIDATED                  COMMONWEALTH-PARKVILLE
    SCHOOLS INC                             SCHOOL                         P O BOX 70177                                                                                 SAN JUAN        PR           00936-8177
    CARIBE HILTON                           LOS ROSALES STREET             SAN GERONIMO GROUNDS                                                                          SAN JUAN        PR           00901
    CARIBO COLLEGE BKSTORE                  ACCOUNTS PAYABLE               P O BOX 3010                                                                                  KAMLOOPS        BC           V2C 5N3      Canada
    Carie A Meyer                                                          32 Norman St                                                                                  Aston           PA           19014
    Carissa Low                                                            1070 Grandys Ln                 Apt 114                                                       Lewisville      TX           75077
    Carissa Ray                                                            330 Communipaw Ave.             Apt. 2                                                        Jersey City     NJ           07304
    Carissa Scrogham                                                       3910 Planewood Drive                                                                          Indianapolis    IN           46235
    CARL ANDERSON                                                          315 15TH STREET                                                                               BROOKLYN        NY           11215
    Carl Anderson                                                          7832 South Branch                                                                             Monclova        OH           43542
    Carl Bennett                                                           20 Hickory Lane                 Box 224                                                       Johnson         NY           10933
    Carl Broyles                                                           3810 West Highway 47                                                                          Troy            MO           63379
    Carl Desimone Jr                                                       19 Searidge Dr.                                                                               Saunderstown    RI           02874
    CARL E SOLWAY                           CARL SOLWAY GALLERY INC        424 FINDLAY STREET                                                                            CINCINNATI      OH           45214
    Carl Gatton                                                            4207 Stone Meadow Drive                                                                       Hamilton        OH           45011
    CARL KOCH                                                              3382 EAST AVE S                                                                               LA CROSSE       WI           54601-7208
    Carl L Cudworth                                                        112 Mission Tejas St.                                                                         George Town     TX           78628
    Carl Lichenstein                                                       286 Chestnut Ave                #4                                                            Jamaica Plain   MA           02130
    CARL MARK SWIFT                                                        5019 PEACHTREE ST                                                                             VALDOSTA        GA           31605
    Carl S Headley                                                         22 Westwind Court                                                                             Seneca          SC           29672
    CARL SANDBURG FAMILY TRST                                              PO BX 2714 72 PATTON AVE        PHILIP G CARSON ESQ                  ADAMS HENDON CARSON PA   ASHEVILLE       NC           28801
    Carl Saslow                                                            155 Hillcrest Road                                                                            Needham         MA           02492
    CARL URBANIA                            DBA CJU ADVISORS LLC           40 MERRY LANE                                                                                 WESTON          CT           06883
    CARL ZIMMER                                                            115 UNION STREET                                                                              GUILFORD        CT           06437
    CARLA B OHM                                                            9514 HASCALL ST                                                                               OMAHA           NE           68124
    CARLA BUERKLE                                                          545 S SECOND ST                                                                               BELLAIRE        TX           77401
    Carla D Sanfilipp                                                      3S650 Lorraine Ave                                                                            Warrenville     IL           60555



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                     62 of 488                                                                                                 1:26 PM
                                                      12-12171-reg            Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                  PgCreditor
                                                                                                                     70 of      519
                                                                                                                             Matrix
                                                                                                                        First Class Service List


                CreditorName                          CreditorNoticeName                    Address1                         Address2              Address3               City            State       Zip           Country
    Carla Danielsson                                                        2224 Mountain Drive                                                               Abbotsford             BC           V3G1E2       Canada
    Carla Deutsch                                                           14 Hempstead Lane                                                                 Stafford               VA           22554
    Carla F. Gray                                                           40 Gartland St.                   #3                                              Jamaica Plain          MA           02130
    CARLA FRAZIER                                                           13605 3RD AVE NE                                                                  BRADENTON              FL           34212
                                                                                                                                                              WALDBREDIMUS
    CARLA J ROSEN-VACHER                                                    5 RUE DES CHAMPS                                                                  LUXEMBOURG                          L-5465       Luxembourg
    CARLA JOHNSON                                                           7529 ROSEWIND DR                                                                  PLAINFIELD             IL           60544
    Carla Lowery                                                            6151 Mandie Lane                                                                  Milton                 FL           32570
    CARLA MAMWALI SERPELL                                                   2217 STUART STREET APT A                                                          BERKELEY               CA           94705
                                                                            MSC 482 STE 112, 100 GRAND BLVD
    CARLA PEREZ ALVARADO                                                    PASEOS                                                                            SAN JUAN               PR           00926
    CARLA REED                              THE ESTATE OF LEILA VENNEWITZ   110-12268 224 STREET                                                              MAPLE RIDGE            BC           V2X 6B8      Canada
    CARLA ROBINSON                                                          5103 THUNDERBIRD TRAIL                                                            GRANBURY               TX           76049
    Carla Shiflet                                                           5606 Jim Hogg                     Apt. 4                                          Austin                 TX           78756
    Carla Small                                                             8818 Carriage Dr                                                                  San Antonio            TX           78217
    Carla Thompson                                                          21 Ashland Street                 Apt. 1                                          Malden                 MA           02148
    CARLA WESTPHAL & ASSOCIATES
    INC                                                                     10821 FOREST LAKE CT                                                              INDIANAPOLIS           IN           46278
    CARLEEN A WILSON                                                        2 WHITE TAIL LN                                                                   PENN YEN               NY           14527
    Carlen W Coon                                                           2030 Ashberry Trl                                                                 Georgetown             TX           78626
    Carlie Dos Santos                                                       1704 Ridgemont Drive                                                              Austin                 TX           78723-2636
    CARLIN PATRICIA HAMILTON                                                2010 SUMMERBROOK DRIVE                                                            CONWAY                 AR           72034
    CARLISLE & COMPANY                                                      521 FIFTH AVENUE SUITE 2600                                                       NEW YORK               NY           10036
    CARLOS A LOPEZ                                                          2213 SOLDADO CRUZ ST APT 5                                                        SAN JUAN               PR           00913
    Carlos A. Miranda                                                       5748 Stevens Forest Rd            Apt 33                                          Columbia               MD           21045
                                            AVE EL ESPINO PJE-10 OTE - CASA #                                                                                 ANTIGUO CUSCATLAN LA
    CARLOS BALAGUER                         2                                 PJE F NORTE URB MADRESELVA 2                                                    LIBERTAD                                         El Salvador
    CARLOS DANIEL CARBONERA
    JIMENEZ                                                                 AVENTURA APT # 6208 ENCANTADA                                                     TRUJILLO ALTO          PR           00976
    CARLOS E CALVO                                                          137 MALDEN STREET                                                                 MALDEN                 MA           02149
    CARLOS EDUARDO VALENTINE
    SAUCEDA                                                                 COLONIA CENTROAMERICANA                                                           TEGUCIGALPA                         00504        Honduras
    CARLOS G PRADO                                                          PO BOX 105 STN MAIN                                                               KINGSTON               ON           K7L 4V6      Canada
    Carlos Hernandez                                                        909 Washington Cove Way                                                           Indianapolis           IN           46229
    Carlos J Lopez                                                          14670 SW 132nd Ct                                                                 Miami                  FL           33186
    CARLOS J OLIVIO DELGADO                                                 P O BOX 179                                                                       LAS PIEDRAS            PR           00771
    CARLOS LOPEZ-BARILLAS                                                   3 LATITUDE APTS, 77-A MANOR RD                                                    LONDON                              N16 5NZ      United Kingdom
    CARLOS MANUEL APARICIO
    BASURTO                                 ATTN EDITORIAL AVANTE SA        LUIS GONZALES OBREGON NO 9                                                        COL CENTRO MEXICO DF                06020        Mexico
    CARLOS MURCIANO GONZALEZ                                                CALLE VIRGEN DE LA MONJIA 2-4-3                                                   MADRID                              28027        Spain
    CARLOS PAGAN RIVERA                                                     CALLE B 130 URB LA VEGA                                                           VILLALBA               PR           00766
    CARLOS R MELENDEZ MARTINEZ                                              P O BOX 40550                                                                     SAN JUAN               PR           00940-0550
    CARLOS ROSARIO INTERNATIONAL
    PUBLIC                                  LAUREL ANDERSON                 1100 HARVARD STREET NW                                                            WASHINGTON             DC           20009
    CARLOS ROSARIO INTERNATIONAL
    PUBLIC                                  CHARTER SCHOOL                  1100 HARVARD STREET NW                                                            WASHINGTON             DC           20009
    Carlos Santana                                                          3175 Longwood Lane                Apt 203                                         Aurora                 IL           60502
    CARLOS ULIBARRI                                                         1402 DAKOTA NE                                                                    ALBUQUERQUE            NM           87110
    Carlos Valencia                                                         122 Commerce St.                                                                  Hawthorne              NY           10503
    Carloyn Amussen                                                         20 LONGWOOD DR                                                                    WESTWOOD               MA           02098

    CARLSBAD AIRPORT SELF STORAGE                                           1910 PALOMAR OAKS WAY                                                             CARLSBAD               CA           92008
    Carlsmith Ball LLP
    CARLSMITH BALL LLP                                                      P O BOX 656 ASB TOWER                                                             HONOLULU               HI           96809
    Carlson, Russell
    CARLSON-VOILES POLLY                                                    14615 MOOSE LAKE ROAD                                                             ELY                    MN           55731
    CARLTON PUBLISHING GROUP      ATTN DEBBIE BISHOP                        20 MORTIMER STREET                                                                LONDON                              W1T 3JW      United Kingdom
    Carly Gramer                                                            602 S. Hampton Ave                                                                Orlando                FL           32803
    CARLYN IVERSON                                                          1775 WALNUT LN                                                                    EAGAN                  MN           55122
    Carlyn Morais                                                           6265 Sandyside Dr S           Apt H                                               Indianapolis           IN           46268
    CARLYN TUCKER                                                           8420 S KIMBARK                                                                    CHICAGO                IL           60619
    Carlynn OBrien                                                          4031 North Park Street                                                            Westmont               IL           60559
    Carmel Catholic High School   Attn Jen Burkkhalter                      One Carmel Parkway                                                                Mundelein              IL           60060
    Carmel M Kitsakos                                                       11 High Ridge Road                                                                Topsfield              MA           01983
    Carmelline Casaletto                                                    1506 W Catalpa Lane                                                               Mount Prospect         IL           60056
    CARMELO TORRES ORTIZ                                                    P O BOX 687                                                                       OROCOVIS               PR           00720
                                                                            URB PALMAS PANTATION 90 GREEN
    CARMEN A ROLDAN MEDINA                                                  ST                                                                                HUMACAO                PR           00971
    CARMEN A TORRES RODRIGUEZ                                               P O BOX 2466                                                                      COAMO                  PR           00769
    Carmen Chacon                                                           831 Beacon Street             Suite 170                                           Newton                 MA           02459



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                        63 of 488                                                                                          1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                            PgCreditor
                                                                                                               71 of      519
                                                                                                                       Matrix
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                       Address2              Address3                City        State       Zip      Country
    CARMEN CINTRON DE ESREVES                                              CALLE #6 A58 PRADERA                                                           TOA BAJA            PR           00949
    Carmen Diaz                                                            929 East 8560 South                                                            Sandy               UT           84094
    Carmen Dominguez                                                       203 Eldridge Street                                                            Sugar Land          TX           77478
    CARMEN FARINA                                                          29 TIFFANY PLACE PH3                                                           BROOKLYN            NY           11231
    Carmen Farina                                                          602 Willow Glen                                                                Addison             IL           60101

    CARMEN GLADYS MARRERO VELEZ                                            HC02 BOX 7048                                                                  CIALES              PR           00638
    CARMEN GONZALEZ RIVERA                                                 P O BOX38                                                                      AIBONITO            PR           00705
    CARMEN I RIVERA AYALA                                                  860 CARR 175 APT 1401          SENDEROS DEL RIO                                SAN JUAN            PR           00926-8249
    CARMEN LOMAS GARZA                                                     315 HARVARD STREET                                                             SAN FRANCISCO       CA           94134
    CARMEN M LARA COTTO                                                    COND SKY TOWER I APT 11A                                                       SAN JUAN            PR           00926
    CARMEN MORAIS                                                          421 HUDSON ST #416                                                             NEW YORK            NY           10014
    CARMEN POWERS                                                          202 WHISTLE STOP ROAD                                                          PITTSFORD           NY           14534
    CARMEN SKERRETT LLANOS                                                 P O BOX 71325 STE 34                                                           SAN JUAN            PR           00936-8425
    Carmen Torres                                                          Calle del Parque #171          Apt 3-A                                         San Juan            PR           00911
    CARMENZA CESPEDES                                                      31-41 93RD ST                                                                  EAST ELMHURST       NY           11369
    CARMI WHITE CUSD #5                                                    301 W MAIN STREET                                                              CARMI               IL           62821
    Carmine Fantasia                                                       6843 W. Hobart                                                                 Chicago             IL           60631
    CARNEGIE ENDOWMENT FOR
    INTERNATIONA                CE                                         1779 MASSACHUSETTS AVE NW                                                      WASHINGTON          DC           20036
    CARNEGIE FOUNDATION FOR THE ADVANCEMENT OF TEACHING                    51 VISTA LANE                                                                  STANFORD            CA           94305
    CARNEGIE HALL SOCIETY INC                                              881 SEVENTH AVE, 7TH FL        ATTN TYLER ARMSTRONG                            NEW YORK            NY           10019

    CARNEGIE LIBRARY OF PITTSBURGH PITTSBURGH PHOTO LIBRARY                4400 FORBES AVE                                                                PITTSBURGH          PA           15213
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    BOOKSTORE                      RETAIL RECEIVING DOCK 8                 6555 PENN AVENUE                                                               PITTSBURGH          PA           15206
    CARNEGIE MUSEUMS OF
    PITTSBURGH                                                             4400 FORBES AVE                                                                PITTSBURGH          PA           15213
    CARNEGIE-MELLON UNIVERSITY                                             P O BOX 604                    C/O THE PERMISSIONS COMPANY                     MT POCONO           PA           18344
    Carnegies Cafe and Catering                                            400 7th North Street                                                           Liverpool           NY           13088
    CARNINE DOUGLAS                                                        5455 SARATOGA ST                                                               EUGENE              OR           97405
    CARNINE LINDA M                                                        5455 SARATOGA ST                                                               EUGENE              OR           97405
    Carol A Baker                                                          3113 Antheo Court                                                              Murrysville         PA           15668
    Carol A Rohrabaugh                                                     1176 Taylor St                                                                 Northbrook          IL           60062
    Carol A. Brown                                                         6859 Boardwalk Dr.                                                             Granite Bay         CA           95746
    Carol A. Lewis, CFP, CCM                                               5674 S. Yampa Street                                                           Aurora              CO           80015
    Carol Abbey                                                            18501 River Timber Dr                                                          Del Valle           TX           78617
    CAROL ABEYTA                                                           3903 SUNDOWN ROAD                                                              DELTA               CO           81416
    CAROL ALEXANDER                                                        233 EAST 69 STREET             APT 3N                                          NEW YORK            NY           10021
    Carol Anderson                                                         697 Buena Vista Ave                                                            Ormond Beach        FL           32174
    CAROL ANN GRANDY                                                       1689 UNION CROSS ROAD                                                          KERNERSVILLE        NC           27284
    CAROL ANN OSTWALD                                                      31510 GERMAINE LANE                                                            WESTLAKE VLG        CA           91361
    CAROL ANN PRATER                                                       1325 HOWARD AVE                                                                BURLINGGAME         CA           94010
    CAROL AVERY                                                            1104 AMY LANE                                                                  LANCASTER           PA           17601
    Carol B Gilbert                                                        34 Mystic Way South                                                            Burlington          NJ           08016
    CAROL B HILLMAN                                                        23 GLENDALE ROAD                                                               HARRISON            NY           10528
    CAROL B JENKINS                                                        22 MAGNOLIA ROAD                                                               MILTON              MA           02186
    CAROL BANCROFT AND FRIENDS                                             PO BOX 2030                                                                    DANBURY             CT           06813
    CAROL BOOTH OLSON                                                      64 CAROL LAKE                                                                  IRVINE              CA           92614
    CAROL BRIGHTMAN                                                        BOX 86                                                                         WALPOLE             ME           04573
    Carol Burket                                                           709 Farnell Lane                                                               Mobile              AL           36606
    Carol Cahill                                                           6829 Bittersweet Lane                                                          Orlando             FL           32819
    Carol Casarjian                                                        11778 Semillion Blvd.                                                          San Diego           CA           92131
    Carol Case                                                             30 Marshall Terrace                                                            Wayland             MA           01778
    Carol Chu                                                              54 Lancaster Terrace           #3                                              Brookline           MA           02446
    CAROL CHU                                                              9 MARLBOROUGH ST #41                                                           BOSTON              MA           02116
    Carol Craig                                                            14th Fairway Ct. #2                                                            Morgantown          WV           26508
    CAROL CRISTINE SCAVO-TOVANI                                            7033 S ONEIDA CR                                                               CENTENNIAL          CO           80112
    CAROL CULLAR                                                           1345 SIMPSON DRIVE                                                             EAGLE PASS          TX           78852
    CAROL D WENSTRAND                                                      13357 S BLYTHE AVE                                                             CARUTHERS           CA           93609
    Carol DAlise                                                           17844 Townline Road                                                            Minnetonka          MN           55345
    CAROL ELLIOTT                                                          710 62ND STREET                                                                DOWNERS GROVE       IL           60516
    CAROL F BUCHMAN                                                        1301 N COURTHOUSE ROAD # 716                                                   ARLINGTON           VA           22201
    CAROL F MCDANIEL                                                       3805 SEMINOLE PLACE                                                            CARROLLTON          TX           75007
    CAROL FINEBERG                                                         595 WEST END AVE                                                               NEW YORK            NY           10024
    CAROL FUEGI                                                            P O BOX 1938                                                                   POINT ROBERTS       WA           98281
    CAROL FUHLER                                                           4730 HEMINGWAY DR                                                              AMES                IA           50014-6714
    CAROL GILLES                                                           2251 CONCORDIA                                                                 COLUMBIA            MO           65203
    CAROL GOLDENBERG ROSEN                                                 414 WOODWARD ST                                                                WABAN               MA           02468-1523
    CAROL H DEBOLD                                                         25 RAYNOR RD                                                                   SUDBURY             MA           01776



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                    64 of 488                                                                                1:26 PM
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                 CreditorName                         CreditorNoticeName                  Address1                       Address2                         Address3               City        State       Zip             Country
    Carol Han                                                              1693 S. Sycamore                                                                          Des Plaines        IL           60018
    CAROL J DESANTI                                                        PO BOX 631                                                                                LEVERETT           MA           01054
    CAROL JAGO LLC                                                         1843 W ERIE ST, #2                                                                        CHICAGO            IL           60622
    CAROL JAGO LLC                                                         1843 W ERIE ST                                                                            CHICAGO            IL           60622
    CAROL K WOODWORTH                                                      407 POND ST                                                                               JAMAICA PLAIN      MA           02130
    CAROL KENDALL                                                          9 JOFFRE AVENUE                                                                           SOUTH HADLEY       MA           01075
    Carol L Rozier                                                         119 S. Moulton St                                                                         Perryville         MO           63775
    CAROL L TORRES                                                         URB VALLE DE ANDALUCIA #3430                                                              PONCE              PR           00728
    CAROL LEE RHUE                                                         14 BASIL WAY APT 5                                                                        BLOOMINGTON        IL           61704
    CAROL LERNER                                                           5834 SOUTH HARPER AVENUE                                                                  CHICAGO            IL           60637
    Carol Lund                                                             1414 N Washington Ave                                                                     Batavia            IL           60510
    CAROL LYONS                                                            18 TURNBERRY WAY                                                                          BLUFFTON           SC           29910
    CAROL M BUNCH                                                          854 N 350TH PLACE                                                                         QUINCY             IL           62305
    Carol M Madej                                                          857 Braintree Lane                                                                        Bartlett           IL           60103
    Carol M Osiecki                                                        150 West High Street                                                                      Avon               MA           02322
    CAROL MACINA                                                           310 SPRING AVENUE                                                                         RIDGEWOOD          NJ           07450
    CAROL MANN LITERARY AGENCY                                             55 FIFTH AVENUE                                                                           NEW YORK           NY           10003
    CAROL MARTIN                                                           505 SILVERETTE                                                                            HELENA             MT           59601
    CAROL MCFARLAND                                                        3371 JARRELL RIDGE RD                                                                     CLARKSVILLE        TN           37043
    Carol Merrigan                                                         7 Puritan Rd.                                                                             Marblehead         MA           01945
    Carol Miller                                                           2024 Garwood Dr                                                                           Orlando            FL           32822
    Carol Newman                                                           65 Strathmore Road              Apt 37                                                    Brighton           MA           02135
    CAROL OTTOLENGHI                                                       442 CRANDALL DRIVE                                                                        WORTHINGTON        OH           43085
    Carol Pearson                                                          4904 S. Tujunga                                                                           Springfield        MO           65810
    CAROL PLUM UCCI                                                        101 E ARLINGTON AVENUE                                                                    LINWOOD            NJ           08221
    CAROL R MILLER                                                         1412 DITMAS AVENUE                                                                        BROOKLYN           NY           11226
    CAROL R WATTS                                                          1011 3RD AVE                                                                              ARDMORE            OK           73401
    Carol Rohrabaugh                                                       1176 Taylor St                                                                            Northbrook         IL           60062
                                            DBA CAROL ROSEGG
    CAROL ROSEGG                            PHOTOGRAPHY                    119 WEST 23RD STREET # 509                                                                NEW YORK CITY      NY           10011
    Carol Rozier                                                           119 S. Moulton St                                                                         Perryville         MO           63775
    CAROL S FRAPPOLLI                                                      2610 GLENCOE CIRCLE                                                                       WOODSTOCK          MD           21163
    CAROL SCHANCHE                                                         304 ARBOURS DR                                                                            SAVOY              IL           61874
    Carol Scott                                                            4670 S. Scot Dr.                                                                          New Berlin         WI           53151
    CAROL SIMOWITZ PHOTOGRAPHY                                             16 CAZNEAU ST                                                                             SAUSALITO          CA           94965-1802
    Carol Slatter                                                          750 Salisbury Way                                                                         Copley             OH           44321
    Carol Stamm                                                            3920 Mystic Valley Pkwy. #524                                                             Medford            MA           02155
    Carol Steven                                                           1394 Devon Road                                                                           Oakville           ON           L6J 2M1      Canada
    CAROL THURMAN INTERIORS                 DBA OH! OCCASIONS              P O BOX 28191                                                                             ATLANTA            GA           30358
    CAROL TOMLINSON                                                        512-A WORTHINGTON DRIVE                                                                   CHARLOTTESVILLE    VA           22903
    Carol Trammel                                                          1003 Payne Ave                                                                            Austin             TX           78757
    CAROL VALENTA                                                          1876 CLOVER RIDGE CT                                                                      CHESTERFIELD       MO           63017
    Carol Whalen                                                           93 Earle Street                                                                           Norwood            MA           02062
    Carolann Shindelar                                                     240 Fox Hunt Trail                                                                        Barrington         IL           60010
    CAROLE ADLER                                                           7041 N CATHEDRAL ROCK PLACE                                                               TUCSON             AZ           85718
                                            THE LITERARY ESTATE OF MAY
    CAROLE BERGLIE                          SWENSON                        PO BOX 64                                                                                 SEA CLIFF          NY           11579
    Carole Billingham                                                      294 So. Buchanan Circle                                                                   Louisville         CO           80027
    CAROLE EDELSKY                                                         5427 E FRANCISCO LOOP                                                                     TUCSON             AZ           85712
    CAROLE ESTBY DAGG                                                      1819 RUCKER AVENUE                                                                        EVERETT            WA           98201
    CAROLE M JONES                                                         132 KINGS CREST LANE                                                                      PELHAM             AL           35124
    Carole M. Heath                                                        42 PEARL STREET                                                                           Plymouth           MA           02360
    CAROLE MILLER                                                          1998 FERNDALE RD                GORDON POINT TERRACES #4                                  VICTORIA           BC           V8N 2Y6      Canada
    Carole Palmer                                                          45 Pine Tree Lane                                                                         Burr Ridge         IL           60527
    Carole R Blake                                                         P.O. Box 917242                 2822 Candela Court                                        Longwood           FL           32791
    Carole Rollins                                                         59 Lowell Street                                                                          Andover            MA           01810
    CAROLE STICE                                                           145 HARPETH TRACE                                                                         NASHVILLE          TN           37221
    CAROLE SWEENEY                                                         7 WINDMILL TERRACE                                                  BRIGHTON              East Sussex                     BN2 9NZ      United Kingdom
    Carole Vanacore Shaffer                                                37071 Contra Costa Ave                                                                    Fremont            CA           94536
    Carole Wicklander                                                      1722 Warwick Ct                                                                           Wheaton            IL           60189
    CAROLINA HANDLING LLC                                                  P.O. BOX 890352                                                                           CHARLOTTE          NC           28289-0352
    CAROLINA OTINIANO DE VIDAL                                             CALLE LOS AGRICOLAS V-20                                                                  LIMA               Cajamarca                 Peru
    CAROLINA TESOL                          C/O CONNIE BANKS               205 HARVEST LANE                                                                          BOILING SPRINGS    SC           29316
    CAROLINE ALEXANDER                                                     TRUE FARM                                                                                 HOLDERNESS         NH           03245
    CAROLINE ARNOLD                                                        10353 ROSSBURY PLACE                                                                      LOS ANGELES        CA           90064
    Caroline C Smith                                                       2843 Northwood Blvd                                                                       Winter Park        FL           32789
    CAROLINE CERVENY                                                       557 DOVE TERRACE WEST                                                                     OLDSMAR            FL           34677
    Caroline Frasier                                                       430 S 5th St                                                                              DeKalb             IL           60115
    CAROLINE LINSE                                                         18 CHADWICK STREET                                                                        BELFAST                         BT9 7FB      United Kingdom
    Caroline Litwack                                                       79 Winslow Ave                  Apt 1                                                     Somerville         MA           02144



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                    65 of 488                                                                                                 1:26 PM
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             CreditorName                             CreditorNoticeName              Address1                            Address2              Address3                City        State       Zip             Country
    CAROLINE MAUNEY                                                        655 FOX POND DR                                                                 MOUNT PLEASANT      SC           29464
                                                                                                                                                           HELDELBERG
    CAROLINE MILEY                                                         6 ANDERSON STREET                                                               MELBOURNE                                     Australia
    CAROLINE NEALE                                                         94 SCENIC CRESCENT                                                              ELTHAM NORTH        Victoria     03093        Australia
    CAROLINE POMRINK                                                       5801 MEDIA STREET                                                               PHILADELPHIA        PA           19154
    Caroline Prather                                                       1350 Neptune Road                                                               Kissimmee           FL           34744
    CAROLINE S ARNOLD                                                      10353 ROSSBURY PLACE                                                            LOS ANGELES         CA           90064
    Caroline Stack                                                         11 Olofson Street                                                               Braintree           MA           02184
    CAROLJEAN WILLIE                                                       411 EDMUND AVENUE                                                               PATERSON            NJ           07502
    CAROLRHODA BOOKS INC                                                   241 FIRST AVENUE NORTH                                                          MINNEAPOLIS         MN           55401-2801
    Carolyn A Jones                                                        19 HALL AV                                                                      NASHUA              NH           03064-2140
    Carolyn Amussen                                                        20 LONGWOOD DR                                                                  WESTWOOD            MA           02098
    Carolyn Auwers Tatarian                                                21 East Ridge Way                                                               Norwell             MA           02061-1415
    CAROLYN BOIARSKY                                                       8 VINE ST                                                                       HAMMOND             IN           46324-1006
    CAROLYN BURKE                                                          2602 E COVENANTER DR                                                            BLOOMINGTON         IN           47401
    CAROLYN C LUXTON                                                       517 GREENE RIDGE ROAD                                                           HENRICO             VA           23229
    Carolyn Clougherty                                                     1100 Liberty Street                                                             Braintree           MA           02184
    Carolyn Crawford                                                       2227 South 21st                                                                 Broadview           IL           60155
    Carolyn Ellefson                                                       11345 Middletown Lane                                                           Huntley             IL           60142
    CAROLYN ELLIOTT                                                        19545 GARDEN LAKE CT                                                            BATON ROUGE         LA           70810
    CAROLYN FRANK                                                          1508 IDAHO AVENUE                                                               SANTA MONICA        CA           90403
    Carolyn Galeas                                                         69 Charger Street                                                               Revere              MA           02151
    CAROLYN GRODMAN                                                        15 WEBSTER PLACE                                                                PORT CHESTER        NY           10573
    Carolyn Ingalls                                                        60 PLEASANT STREET #1                                                           CAMBRIDGE           MA           02139
    Carolyn J Curtis                                                       1402 So 55th St                                                                 Philadelphia        PA           19143
    Carolyn J. Naczas                                                      216 MAIN ST                                                                     MELROSE             MA           02176
    Carolyn J. Simmons                                                     5765 S. Jamaica Way                                                             Englewood           CO           80111
    CAROLYN JEAN STAUDT                                                    70 LAWSBROOK RD                                                                 CONCORD             MA           01742
    CAROLYN KESSLER                                                        8103 NORTH HOLW 307                                                             SAN ANTONIO         TX           78240
    CAROLYN LESSER                                                         8803 WRENWOOD LANE                                                              SAINT LOUIS         MO           63144
    CAROLYN M BIEGERT                                                      5848 ROYAL RIDGE DRIVE                                                          SAN ANTONIO         TX           78239
    Carolyn Oldani                                                         1197 Maritime Lane                                                              Roach               MO           65787
    CAROLYN P MCCONNELL                                                    9026 CRAWFORD AVENUE                                                            SKOKIE              IL           60076
    Carolyn Pestritto                                                      4097 EL BOSQUE DRIVE                                                            PEBBLE BEACH        CA           93953
    Carolyn Porter                                                         38923 Country Circle                                                            Farmington Hills    MI           48331
    Carolyn Potts                                                          88 Waban Park                                                                   Newton              MA           02458
    Carolyn R Davis                                                        109 Creekbend Rd               Apt D                                            Natchez             MS           39120
    CAROLYN S SOTO                                                         43 THE CRESCENT                                                                 BERKELEY            CA           94708
    Carolyn Shute                                                          463 Washington                                                                  Dedham              MA           02026
                                                                           2501 WISCONSIN AVENUE NW APT
    CAROLYN SPAHT                                                          305                                                                             WASHINGTON          DC           20009
    CAROLYN SWAYZE LITERARY
    AGENCY LTD                                                             WRPO BOX 39588                                                                  WHITE ROCK          BC           V4B 5L6      Canada
    Carolyn Turnbaugh                                                      11 Markleville Lane                                                             Westfield           IN           46074
    Carolynn Archer                                                        160 Boylston Street            Apt 2254                                         Chestnut Hill       MA           02467
    CAROLYNN MORTON                                                        3708 CHAPIN COURT                                                               FORT WORTH          TX           76116
    CARON & BLETZER LLC                                                    51 CHURCH ST P O BOX 668                                                        KINGSTON            NH           03848
    CAROUSEL INDUSTRIES OF NORTH
    AMERIC                                                                 P O BOX 849084                                                                  BOSTON              MA           02284-9084
    CAROUSEL INDUSTRIES OF NORTH
    AMERICA INC                                                            P O BOX 849084                                                                  BOSTON              MA           02284-9084
    CARPENTER NANCY                                                        442 3RD STREET # 2                                                              BROOKLYN            NY           11215
    CARRERA HANLEY TERESA                                                  40 PRISCILLA ROAD                                                               CHESTNUT HILL       MA           02467
    CARRICK CAROL                                                          BOX 351                                                                         WEST TISBURY        MA           02575
    CARRICK CAROL H                                                        BOX 351                                                                         WEST TISBURY        MA           02575
    CARRICK PAUL                                                           61 BROOKLINE AVENUE #409                                                        BOSTON              MA           02215
    CARRIE BACHMAN LLC                                                     29 BYRON ROAD                                                                   SHORT HILLS         NJ           07078
    Carrie Beasley                                                         159 Golfview Drive                                                              Glendale Heights    IL           60139
    CARRIE COSTELLO BARBOSA                                                P O BOX 418                                                                     JACKSON             NH           03846
    CARRIE E GARCIA                                                        2004 UNIVERSITY DRIVE                                                           ORLANDO             FL           32804
    CARRIE EKEY                                                            13990 TURNBERRY COURT                                                           BROOMFIELD          CO           80023
    CARRIE GENTRY                                                          P O BOX 204                                                                     ANTLERS             OK           74523
    Carrie Hartland                                                        1633 E. Park Avenue                                                             Gilbert             AZ           85234
    Carrie Jeffers                                                         1933 Breman Lane                                                                Indpls              IN           46229
    Carrie Johannsen                                                       44 W 465 IC Trail                                                               Maple Park          IL           60151
    Carrie Jones                                                           17916 Turkey Trot Trail                                                         Dripping Springs    TX           78620
    Carrie Pillsbury                                                       257 Fox Chase Dr N                                                              Oswego              IL           60543
    CARRIE W RHODES                                                        1276 MONROE DR NE                                                               ATLANTA             GA           30306
    CARRIER CORPORATION                                                    PO BOX 93844                                                                    CHICAGO             IL           60673
    Carrington Communications                                              2945 Bouffard Road                                                              LASALLE             ON           N9H1W4       Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     66 of 488                                                                                       1:26 PM
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                                                                                                                74 of      519
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             CreditorName                             CreditorNoticeName               Address1                         Address2              Address3             City        State       Zip            Country
    CARROLL COUNTY BOARD OF
    EDUCATION                                                              164 INDEPENDENCE DRIVE                                                        CARROLLTON       GA           30116
    CARROLL KATHLEEN SULLIVAN                                              18 RIDGEDALE ROAD                                                             FAIRFIELD        CT           06824
    CARROLL MARGARET A                                                     221 W 82ND STREET #2G                                                         NEW YORK         NY           10024
    CARROLLTON COMMUNITY USD 1                                             702 FIFTH STREET                                                              CARROLLTON       IL           62016
    CARROLLTON FARMERS BRANCH
    ISD                                     ATTN CAROL MARKS               1445 N PERRY RD                                                               CARROLLTON       TX           75011
    CARROLLTON -FARMERS BRANCH
    ISD                                                                    PO BOX 110611                                                                 CARROLLTON       TX           75011
    CARSON MARY KAY                                                        4308 LEEPER STREET                                                            CINCINNATI       OH           45223

    CARSON-DELLOSA PUBLISHING LLC                                          7027 ALBERT PICK RD 3RD FL                                                    GREENSBORO       NC           27409
    CARTER G WOODSON SCHOOL       A/P                                      437 GOLDFLOSS STREET                                                          WINSTON SALEM    NC           27127
    CARTER LISA                                                            #2512 1541 RIVERSIDE DRIVE                                                    OTTAWA           ON           K1G 4E2      Canada

    CARTER LODGE PRODUCTIONS                                               132 S RODEO DR STE 301           ATTN WARREN STEINHAUSER - CPA                BEVERLY HILLS    CA           90212
    CARTOON BOOKS INC             ATTN JEFF SMITH                          523 S 4TH STREET                                                              COLOMBUS         OH           43206
    CARTOON BOOKS INC                                                      523 S 4TH ST                                                                  COLOMBUS         OH           43206
    CARTOON STOCK                                                          6 NORTH PARADE                                                                BATH SOMERSET    Somerset     BA1 1LF      United Kingdom
    CARTOONISTS & WRITERS
    SYNDICATE                                                              67 RIVERSIDE DR                                                               NEW YORK         NY           10024-6155
    CARTWRIGHT SCHOOL DISTRICT 83                                          3401 NORTH 67TH AVE                                                           PHOENIX          AZ           85033
    CARUS PUBLISHING COMPANY                                               30 GROVE ST, STE C                                                            PETERBOROUGH     NH           03458
    Carval
    CARVAL INVESTORS, LLC
    CARVER BLANCHARD                                                       2350 BROADWAY STREET, # 517                                                   NEW YORK         NY           10024
    Cary A Schoener                                                        5 Ogden Ct                                                                    Beaufort         SC           29907
    CARYL PHILLIPS                                                         136 EAST 57TH STREET 18TH FL     C/O GERNERT COMPANY                          NEW YORK         NY           10022
    Caryn I Schreiner                                                      31 Nadine Road                                                                Framingham       MA           01701
    CARYN MCCROHON                                                         73 A GATE LN                                                                  WORCESTER        MA           01063
    CARYN SHORT                                                            4217 BROOKVIEW                                                                NORMAN           OK           73072
                                  CALIFORNIA ASSN OF SCH
    CASBO                         BUSINESS OFFICIAL                        1001 K STREET 5TH FLOOR                                                       SACRAMENTO       CA           95814
    CASCADIA JUNK REMOVAL         DBA 1-800-GOT-JUNK?                      1631 N E BROADWAY, NBR 128                                                    PORTLAND         OR           97232
    Caseman Inc.                                                           PO Box 7939                                                                   San Diego        CA           92167
    CASEY & HAYES INC                                                      P O BOX E-62                                                                  BOSTON           MA           02127-0001
    Casey Blake                                                            336 Lant Lane                                                                 Evansville       IN           47715
    Casey Delaney                                                          17 Autumn Drive                                                               Westwood         MA           02090
    CASEY GIRARD                                                           9 WOODBRIAR RD                                                                STONEHAM         MA           02180
    Casey J Cohen                                                          35 Edgell Drive                                                               Framingham       MA           01701
    CASPER COLLEGE                                                         125 COLLEGE DRIVE                ATTN KENYNE SCHLAGER                         CASPER           WY           82601
    CASSANDRA DUFF                                                         1794 VALENCIA DRIVE                                                           VENICE           FL           34293
    Cassandra R Marrone                                                    80 Highland View Drive                                                        Sutton           MA           01590-2974
    CASSIA COUNTY SCHOOL DIST     RAFT RIVER HIGH SCHOOL                   P O BOX 68                                                                    MALTA            ID           83342
    CASTELLOE MARY                                                         7705 CORTINA CT                                                               CARLSBAD         CA           92009
    CASTILLO LAUREN                                                        605 MORGAN AVENUE                                                             BROOKLYN         NY           11222
    Castillo Pallets                                                       13431 E. 37th Avenue                                                          Denver           CO           80239
    Castle View High School                                                5254 Meadows Drive                                                            Castle Rock      CO           80109
                                                                           900 PERIMETER PARK DRIVE SUITE
    CASTLE WORLDWIDE INC                                                   G                                                                             MORRISVILLE      NC           27560
    Castro Valley School District                                          4400 Alma Avenue                                                              Castro Valley    CA           94546
    Catalina Foothills School Dist                                         2101 East River Road                                                          Tucson           AZ           85718
                                                                           609 N CHARLES RICHARD BEALL
    CATALOG SOLUTIONS INC                                                  BLVD, STE 101                                                                 DEBARY           FL           32713
                                                                                                            OCSPDC - C/O DESIGNING EVENTS
    CATAPULT LEARNING LLC                                                  10811 RED RUN BLVD               LLC                                          OWINGS MILLS     MD           21117
    CATAPULT SYSTEMS INC                                                   3001 BEE CAVES ROAD STE 300                                                   AUSTIN           TX           78746
    CATAQUEST CONSULTING LLC                                               P O BOX 554                                                                   GLENCOE          IL           60022
    CATAWBA COUNTY SCHOOLS                                                 P O BOX 1010                                                                  NEWTON           NC           28658

    CATERINA M T FITZGERALD GIULANI C/O UGHETTA FITZGERALD                 463 CONCORD AVENUE                                                            LEXINGTON        MA           02421-6007
    CATESOL                         DE ANZA COLLEGE - ESL DEPT             21250 STEPHENS CREEK BLVD                                                     CUPERTINO        CA           95014
    Cathedral High School           Business Office                        5225 East 56th Street                                                         Indianapolis     IN           46226
    CATHEDRAL HIGH SCHOOL INC                                              74 UNION PARK STREET                                                          BOSTON           MA           02118
    CATHERI DORSEY-GAINES                                                  230 AUSTIN RD                                                                 ORANGE           NJ           07050
    Catherine A Oppenborn                                                  916 Wellington Circle                                                         Aurora           IL           60506
    Catherine Allard                                                       2254 Mountain Spruce St                                                       Ocoee            FL           34761
    Catherine Anderson                                                     14 Pleasant Cir.                                                              Canton           MA           02021
    Catherine Anselm                                                       3s215 Mulberry Lane                                                           Glen Ellyn       IL           60136
    CATHERINE ARAKELIAN                                                    18 KENT STREET                                                                PORTSMOUTH       NH           03801



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                   67 of 488                                                                                    1:26 PM
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                                                                                                              75 of      519
                                                                                                                      Matrix
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2                         Address3                     City        State       Zip            Country
    Catherine B Olko                                                       568 Silvergate Loop                                                                                 Lake Mary        FL           32746
    CATHERINE B SMITH                                                      16 BOUGHTON AVE                                                                                     PITTSFORD        NY           14534
    Catherine Boyer                                                        4203 Rock Hill Loop                                                                                 Apopka           FL           32712
    Catherine Brophy                                                       2 Apple Way                                                                                         Stratham         NH           03885
    Catherine Brown                                                        3 LEXINGTON LANE                                                                                    MILLIS           MA           02054
    CATHERINE CADENHEAD                                                    741 AMBERGLEN LANE                                                                                  LAWRENCEVILLE    GA           30043
    CATHERINE CAMPBELL                                                     30119 LOWE LN APT C                                                                                 ALBANY           LA           70711
    Catherine Cantin                                                       192 New Bridge Rd                                                                                   Sudbury          MA           01776
    CATHERINE CLEMENCE                                                     1950 ST HWY 29A                                                                                     GLOVERSVILLE     NY           12078
    CATHERINE CRAIG CROCKETT                                               1015 W PRINCE RD # 131-108                                                                          TUCSON           AZ           85705
    CATHERINE DEETER                                                       P O BOX 401                                                                                         TEMPLETON        CA           93465
    CATHERINE E ANDERSON                                                   14 PLEASANT CIRCLE                                                                                  CANTON           MA           02021
    CATHERINE FITZGERALD RICE                                              7 DURHAM POINT ROAD                                                                                 DURHAM           NH           03824
    Catherine Flatley                                                      2779 Prairie Avenue                                                                                 Evanston         IL           60201
    Catherine Follen                                                       24 Cottage St                                                                                       Sanford          ME           04073
                                            DBA NEW PERSPECTIVES ON
    CATHERINE FOSNOT                        LEARNING                       1194 OCEAN AVE                                                                                      NEW LONDON       CT           06320
    CATHERINE FOWLER                                                       12973 SW LEE BLVD                                                                                   CACHE            OK           73527
    CATHERINE FRIEND                                                       42400 145TH AVENUE WAY                                                                              ZUMBROTA         MN           55992
    CATHERINE GATES                                                        3207 CAPE COD COURT                                                                                 ARLINGTON        TX           76017
    Catherine Gearin                                                       2 Elizabeth Ave                                                                                     Franklin         MA           02038
    Catherine Hewitt                                                       33 Dawn Court                                                                                       Wakefield        RI           02879
    CATHERINE HUGHES                                                       2971 LOOKOUT PLACE                                                                                  ATLANTA          GA           30305
    Catherine J Barkett                                                    220 Vista Cove Circl                                                                                Sacramento       CA           95835
    CATHERINE KEAY                                                         269 WASHINGTON ST # 1                                                                               DOVER            NH           03820
    Catherine Keay                                                         269 WASHINGTON ST.                UNIT 1                                                            Dover            NH           03820
    CATHERINE L CONNELL                                                    38 MECHANIC STREET                                                                                  HOLLISTON        MA           01746
    CATHERINE LEWIS                                                        5000 MACARTHUR BLVD               MILLS COLLEGE                                                     OAKLAND          CA           94613
    Catherine Lile                                                         5543 Oxford Moor Blvd                                                                               Windermere       FL           34786-7006
    CATHERINE M DORSEY                                                     60 SAINT MARKS PLACE #3                                                                             NEW YORK         NY           10003
    Catherine M Landers                                                    3 Beach Ave                                                                                         Niantic          CT           06357
    Catherine Martin                                                       92 Moraine St                                                                                       Jamaica Plain    MA           02130
    CATHERINE MURDOCK                                                      201 WINDERMERE                                                                                      WAYNE            PA           19087
    CATHERINE N PODESZWA                                                   5731 E SUPERIOR ST                                                                                  DULUTH           MN           55804
    Catherine Pratt                                                        225 CHESTNUT ST APT 4                                                                               Cambridge        MA           02139
    CATHERINE REEF                                                         4613 AMHERST ROAD                                                                                   COLLEGE PARK     MD           20740
    CATHERINE REYNOLDS                                                     1819 BRAINBRIDGE ROW DRIVE                                                                          LOUISVILLE       KY           40207

    CATHERINE S ROSS                                                       NORTH CAMPUS BUILDING             UNIV OF ONTARIO/INFO & MED STD                                    LONDON                        N6A 5B7      Canada
    Catherine Santos                                                       5507 Genoa Lane                                                                                     Orlando          FL           32807-2005

    CATHERINE SELLARS STANKWYTCH                                           1044 WILDERNESS RUN DR                                                                              YADKINVILLE      NC           27055
    Catherine Shulkin            Houghton Mifflin Harcourt                 222 Berkeley St                   4th FL                                                            Boston           MA           02116
    Catherine Shulkin                                                      16 Blodgett Avenue                                                                                  Swampscott       MA           01907
    Catherine T Pratt                                                      225 Chestnut St.                  #4                                                                Cambridge        MA           02139
    CATHERINE TATGE                                                        P O BOX 398 204 LAKE AVENUE                                                                         MADISON          MN           56063
    CATHERINE THIMMESH                                                     8499 RED OAK DRIVE                                                                                  EDEN PRAIRIE     MN           55347
    Catherine Tremblay                                                     3313 Stuart Ave                                                                                     Richmond         VA           23221
                                                                                                                                                 DBA VALENTINO AND VALENTINO
    CATHERINE VALENTINO                                                    158 ESTELLE DRIVE                                                     ASSOCIATES                    WEST KINGSTON    RI           02892
    CATHERINE W AUSTIN                                                     14104 STEARNS                                                                                       OVERLAND PARK    KS           66221
    CATHERINE WYNNE                                                        BOUGHTON LANE/CLOWNE              33 BLACKBERRY CT                                                  CHESTERFIELD                  S43 4QH      United Kingdom
    CATHLEE HUMPHREYS                                                      151 EASY ST                                                                                         MOUNTAIN VIEW    CA           94043
    Cathleen Ann                                                           423 S. Oak                                                                                          Palatine         IL           60067
    CATHOLIC BISHOP OF SPOKANE              INLAND REGISTER                P O BOX 1453                                                                                        SPOKANE          WA           99210
    CATHOLIC BOOK PUBLISHERS
    ASSOCIATION                                                            11703 HUEBNER ROAD, STE 106-622                                                                     SAN ANTONIO      TX           78230
                                            CHILD CARE RESOURCE &
    CATHOLIC CHARITIES DIOCESE              REFERRAL                       103 CENTER STREET                                                                                   PERTH AMBOY      NJ           08861
    CATHOLIC COMMUNICATION
    CORPORATION                                                            65 ELLIOT STREET, P O BOX 1730                                                                      SPRINGFIELD      MA           01101-1730
    CATHOLIC CONFERENCE OF OHIO                                            9 EAST LONG ST SUITE 201                                                                            COLUMBUS         OH           43215
    CATHOLIC DIOCESE GREEN BAY                                             P O BOX 23825                     S&SPS DEPT - CONVOCATION                                          GREEN BAY        WI           54305-3825

    CATHOLIC DIOCESE OF ARLINGTON                                          PO BOX 1960                                                                                         MERRIFIELD       VA           22116

    CATHOLIC DIOCESE OF BELLEVILLE                                         2620 LEBANON AVE                                                                                    BELLEVILLE       IL           62221
    CATHOLIC DIOCESE OF GALVESTON-
    HOUSTON                                                                2403 HOLCOMBE BLVD                                                    ATTN JOSIE HOLDEN             HOUSTON          TX           77021




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                      68 of 488                                                                                                       1:26 PM
                                                      12-12171-reg             Doc 136              Filed 07/15/12 Exhibit
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                                                                                                               PgCreditor
                                                                                                                  76 of      519
                                                                                                                          Matrix
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                           Address2              Address3              City        State       Zip           Country
    CATHOLIC DIOCESE OF JEFFERSON
    CITY                                    SCHOOL OFFICE                    PO BOX 104900                                                                   JEFFERSON CITY    MO           65110
    CATHOLIC DIOCESE OF MEMPHIS                                              5825 SHELBY OAKS DRIVE                                                          MEMPHIS           TN           38134
    CATHOLIC DIOCESE OF PEORIA              OFFICE OF CATHOLIC SCHOOLS       419 N E MADISON AVENUE                                                          PEORIA            IL           61603
    CATHOLIC DIOCESE OF SUPERIOR                                             1201 HUGHITT AVE, P O BOX 969     ATTN CATHY DRINKWINE                          SUPERIOR          WI           54880
    Catholic DSB of Eastern ON                                               2755 Highway 43                                                                 Kemptville        ON           K0G1J0       Canada
    CATHOLIC EDUCATION OFFICE               DIOCESE OF ROCKFORD              555 COLMAN CTR DR                                                               ROCKFORD          IL           61108
    CATHOLIC INDEPENDENT SCHOOLS
    OF                                      VANCOUVER ARCHDIOCESE            150 ROBSON STREET                                                               VANCOUVER         BC           V6B 2A7      Canada
    CATHOLIC SCHOOL ADMIN ASSOC
    OF NY STATE                                                              525 4TH AVENUE                                                                  TROY              NY           12182
    CATHOLIC SCHOOLS FOUNDATION             DBA INNER CITY SCHOLARSHIP
    INC                                     FUND                             260 FRANKLIN ST STE 630                                                         BOSTON            MA           02110

    CATHOLIC YOUTH FOUNDATION USA                                            415 MICHIGAN AVENUE, NE, STE 40                                                 WASHINGTON        DC           20017
    CATHRYN CRAIG                                                            1558 LETITIA STREET                                                             BATON ROUGE       LA           70808
    Cathryn Goldfarb                                                         14417 Verano Drive                                                              Orlando           FL           32837
    CATHRYN P VASEY                                                          227 BOULDER RIDGE RD                                                            SCARSDALE         NY           10583
    CATHY BAO BEAN                                                           357 MAIN STREET                                                                 BLAIRSTOWN        NJ           07825
    Cathy Brooks                                                             1002 N. Preserve Court                                                          Wichita           KS           67206
    CATHY COMPTON-LILLY                                                      6214 ADOBE WAY                                                                  MADISON           WI           53719-4854
                                            DBA CATHY D HEMMING LIT AGENCY
    CATHY D HEMMING                         LLC                            37 WEST 20TH STREET STE 606                                                       NEW YORK          NY           10011
    CATHY DAY                                                              704 E WASHINGTON ST                                                               MUNCIE            IN           47035
    CATHY FERRIS                                                           5604 NOTTINGHAM AVENUE                                                            ST LOUIS          MO           63109
    CATHY FLEISCHER                                                        1715 DAVID COURT                                                                  ANN ARBOR         MI           48105
    CATHY FLORES                            C/O STEPHANIE FLORES           4031 NORTH CONNER DRIVE                                                           MARION            IN           46952
    CATHY HAYNES                                                           2 SOUTH FRANKLIN ST                                                               CATTARAUGUS       NY           14719
    CATHY J WELKER                                                         19924 E 37TH PL                                                                   BROKEN ARROW      OK           74014
    CATHY L SEELEY                                                         4907 PLACID PL                                                                    AUSTIN            TX           78731
    Cathy Lassiter                                                         1100 Kingsbury Drive                                                              Chesapeake        VA           23322
    CATHY MELLOAN RESOURCES INC                                            1718 W ESTES AVE                                                                  CHICAGO           IL           60626
    Cathy Murphy                                                           9905 Mandeville Cir                                                               Austin            TX           78750
    Cathy Ostmann                                                          77 Two Far Farm Ln                                                                Silex             MO           63377
    CATHY REYNOLDS                                                         9660 CANDY LANE                                                                   LA MESA           CA           91941
    Cathy Roberts                                                          3228 Springwood Road                                                              Flower Mound      TX           75028
    Cathy S Swetland                                                       2705 Clifton Drive                                                                Springfield       IL           62704
    Cathy Schulten                                                         69 S Commonwealth Ave                                                             Elgin             IL           60123
    CATHY SEELEY                                                           4907 PLACID PLACE                                                                 AUSTIN            TX           78731
    CATHY SONG                                                             4411 SIERRA DRIVE                                                                 HONOLULU          HI           96816
    CATRENA HIGGINBOTHAM                                                   108 PINE LANE DRIVE                                                               MILLEDGEVILLE     GA           31061
    CATROW DAVID                                                           95 5TH STREET                                                                     SPRINGFIELD       OH           45504
    Catywampus                                                             1210 West Palo Verde Drive                                                        Phoenix           AZ           85013
    CAUSE MARKETING FORUM INC                                              63 OVERLOOK PLACE                                                                 RYE               NY           10580
    CAVANAGH MARY                                                          7410 E NORWOOD ST                                                                 MESA              AZ           85207
    Cave Creek Unified School Dist                                         33606 North 60th Street             PO Box 426                                    Cave Creek        AZ           85327
                                                                           2 LIBERTY PL, 50 S 16TH ST, STE
    CB RICHARD ELLIS                                                       3000                                ATTN KATIE DAMIANO                            PHILADELPHIA      PA           19102
    Cbeyond Communications                                                 P.O. Box 848432                                                                   Dallas            TX           75284-8432
    CBIZ ACCOUNTING TAX AND
    ADVISORY OF NEW                         ENGLAND LLC                      P O BOX 956793                                                                  ST LOUIS          MO           63195-6793
    CBS BROADCASTING INC                    DBA CBS NEWS ARCHIVES            524 WEST 57TH STREET                                                            NEW YORK          NY           10019
    CBS BROADCASTING INC                    DBA CBS CORPORATION              524 W 57TH ST BLDG 510 STE 2114                                                 NEW YORK          NY           10019
    CBS BROADCASTING INC                                                     524 WEST 57TH STREET                                                            NEW YORK          NY           10019
    CBS PERSONNEL SERVICES LLC              US BANK - CINCINNATI             P O BOX 952386                                                                  ST LOUIS          MO           63195
                                            DBA STAFFMARK, VENTURE
    CBS PERSONNEL SERVICES LLC              STAFFING                         P O BOX 952386                                                                  ST LOUIS          MO           63195
    CBS RADIO CORPORATION                   DBA WFAN-AM RADIO                P O BOX 33071                                                                   NEWARK            NJ           07188-0071
    CCC INC                                 ACCOUNTS PAYABLE                 P O BOX 843006                                                                  BOSTON            MA           02284-3006
    CCG LLC                                 DBA GENESIS PRESS INC            1270 ARDMORE AVENUE                                                             ITASCA            IL           60143
                                            DBA WOLTERS KLUWER LAW &
    CCH INC                                 BUSINESS                         4829 INNOVATION WAY                                                             CHICAGO           IL           60682-0048
                                            DBA SHERATON P R HOTEL &
    CCHPR HOSPITALITY LLC                   CASINO                           200 CONVENTION BLVD                                                             SAN JUAN          PR           00907
                                            CELEBRATION OF TEACHING AND
    CCK EVENTS LLC                          LEARNING                         8 WEST 38TH STREET STE 202                                                      NEW YORK CITY     NY           10018
    CCom Solutions                                                           500 Alden Raod                    Suite 206                                     Markham           ON           L3R5H5       Canada
    CCSD 15                                                                  580 N FIRST BANK DRIVE                                                          PALATINE          IL           60067
    CCSFCU                                                                   PO Box 657                                                                      Clarence          NY           14031
    CCSS                                    ATTN EXHIBITS                    P O BOX 902470                                                                  PALMDALE          CA           93590-2470



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                       69 of 488                                                                                   1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                PgCreditor
                                                                                                                   77 of      519
                                                                                                                           Matrix
                                                                                                                      First Class Service List


                 CreditorName              CreditorNoticeName                             Address1                         Address2              Address3             City          State       Zip             Country
                                    CALIFORNIA DEPARTMENT OF
    CDE TITLE CONFERENCE 0510-83824 EDUCATION                               PO BOX 515006                                                                   SACRAMENTO         CA           95851-5006
    CDI AMERICA INC                                                         2150 E LAKE COOK ROAD, STE 430                                                  BUFFALO GROVE      IL           60089
    CDI CORPORATION                                                         P O BOX 532428                                                                  CHARLOTTE          NC           28290-2428

    CDW DIRECT                              DBA CDW COMPUTER CENTERS INC 200 N MILWAUKEE AVENUE                                                             VERNON HILLS       IL           60061-1577
    CDW DIRECT LLC                                                       PO BOX 75723                                                                       CHICAGO            IL           60675-5723
    CEA-CT INC                                                           PO BOX 3294                                                                        ENFIELD            CT           06083
    CEAVCO Audio Visual Co. Inc.                                         6240 W. 54th Avenue                                                                Arvada             CO           80002
    CEBULASH ASSOCIATES                                                  10245 EAST VIA LINDA STE 210                                                       SCOTTSDALE         AZ           85258-5317
    CECCHIN PLUMBING & HEATING,
    INC.                                                                    4N275 CAVALRY DRIVE                                                             BLOOMINGDALE       IL           60108-1347
    CECE PRODUCTIONS LLC                                                    27150 LAUREL CHASE LN                                                           WESLEY CHAPEL      FL           33544
    CECELIA B SCHNEIDER                                                     7405 BAYSTONE COURT                                                             RALEIGH            NC           27615
    CECELIA HOLLAND                                                         520 PALMER BD                                                                   FORTUNA            CA           95540
    CECELIA MUNZENMAIER                                                     4709 71ST STREET                                                                DES MOINES         IA           50322
    CECIL COUNTY PUBLIC SCHOOLS                                             201 BOOTH STREET                                                                ELKTON             MD           21921
    Cecili C Blair                                                          1801 Wells Branch Pkwy            511                                           Austin             TX           78728
    CECILIA BURCIAGA                                                        THREE SONOMA LANE                                                               CARMEL HIGHLANDS   CA           93923
    CECILIA LASPISA                                                         656 N SUNSTREAM LANE                                                            TUCSON             AZ           85748
    Cecilia Ortiz                                                           1154 Seneca Place                                                               Diamond Bar        CA           91765
    CECILIA SILVA                                                           3304 AVONDALE ROAD                                                              FORT WORTH         TX           76109
    Cecilia So                                                              354 Cross St.                                                                   Winchester         MA           01890
    CECILY ONEILL                                                           17 RAVENSDON ST                                                                 LONDON                          SE 11- 4AQ   United Kingdom
    Cecor Inc.                                                              P.O. Box 2072                                                                   CAROL STREAM       IL           60132-2072
                                            DBA DORNEY PARK & WILDWATER
    CEDAR FAIR                              KINGDOM                         3830 DORNEY PARK ROAD                                                           ALLENTOWN          PA           18104
    CEDAR GRAPHICS INC                                                      DEPT 1040 P O BOX 87618                                                         CHICAGO            IL           60680
    Cedarhurst Ctr for the Arts             John R. & Eleanor R. Mitchell   Found-Richview Rd-PO Box 923                                                    Mount Vernon       IL           62864-0019
    CEDARVILLE UNI BOOKSTORE                                                251 N MAIN STREET, P O BOX 601                                                  CEDARVILLE         OH           45314
    CEDRIC LUCAS                                                            484 E PROSPECT AVENUE                                                           MOUNT VERNON       NY           10553
    CEESA                                                                   VOCARSKA 106                                                                    ZAGREB                          10000        Croatia
    CELARTEM INC                            DBA EXTENSIS                    1800 SW FIRST AVENUE STE 500                                                    PORTLAND           OR           97201

    CELEBRITY SANDWICH                                                      P O BOX 490                       C/O BEAL FINANCIAL MANAGEMENT                 CAPE NEDDICK       ME           03902
    CELESTE B BAZEN                                                         738 TEMPE DR                                                                    PAMPLICO           SC           29583
    Celeste Holmes                                                          2380 Oakfield Court                                                             Aurora             IL           60503

    CELESTINO DE HOYOS BALASQUIDE                                           P O BOX 464                                                                     BAYAMON            PR           00960
    Celestyne R Cook                                                        10 GIBSON CIRCLE                                                                MEDFORD            MA           02155
    Celia Alvarez                                                           510 Autumn Court                  206                                           Elgin              IL           60123
    CELIA CATCHPOLE                                                         56 GILPIN AVENUE                                                                E SHEEN LONDON                  SW14 8QY     United Kingdom
    Celia Marsh                                                             6 Chestnut Street                                                               Boston             MA           02108
    Celia S Hill                                                            278 Silver Arrow Circle                                                         Austell            GA           30168
    CELIA S WHITE                                                           278 SILVER ARROW CIRCLE                                                         AUSTELL            GA           30168
    CELIA SACK                    DBA OMNIVORE BOOKS ON FOOD                3885A CESAAR CHAVEZ STREET                                                      SAN FRANCISCO      CA           94131
    CELIA WARREN                                                            DARTMOUTH RD STRETE               THE SCHOOL HOUSE                              DARTMOUTH DEVON                 TQ6 0RW      United Kingdom
    CELTA AMAQUMECAN, AC          MAGISTERIO NACIONAL 147                   COL TLALPAN CENTRO, TLALPAN                                                     CUIDAD MEXICO                   14000        Mexico

    CENGAGE LEARNING                        THOMSON GLOBAL RIGHTS GROUP     PO BOX 71074                                                                    CHICAGO            IL           60694-1074
    Cengage Learning                        Sandra Fluker                   5191 Natorp Blvd.                                                               Mason              OH           45040
    CENGAGE LEARNING                        ATTN RICH WESSLER               5191 NATORP BOULEVARD                                                           MASON              OH           45040
    CENGAGE LEARNING                        ACCOUNTS PAYABLE                5191 NATORP BLVD                                                                MASON              OH           45040
    CENGAGE LEARNING                                                        PO BOX 71074                                                                    CHICAGO            IL           60694-1074
    CENGAGE LEARNING AUSTRALIA
    PTY LIMITED                             NELSON AUSTRALIA PTY LIMITED    LEVEL 7 80 DORCAS STREET                                                        SOUTH MELBOURNE    Victoria     03205        Australia
    CENGAGE LEARNING AUSTRALIA                                                                                                                              SOUTH MELBOURNE
    PTY LTD                                                                 LEVEL 7 80 DORCAS STREET                                                        VICTORIA           Victoria     03205        Australia
    CENSEO CORPORATION                                                      2600 LAKE LUCIEN DRIVE, STE 235                                                 MAITLAND           FL           32751
    CENTER FOR AMERICAN
    ARCHEOLOGY                                                              PO BOX 366                                                                      KAMPSVILLE         IL           62053
    CENTER FOR CIVIC EDUCATION                                              5145 DOUGLAS FIR ROAD                                                           CALABASAS          CA           91302
    CENTER FOR CREATIVE CHANGE              DBA MOMENT MAGAZINE             4115 WISCONSIN AVE NW, STE 102                                                  WASHINGTON         DC           20016
    CENTER FOR HEALTH
    ENVIRONMENT &                           JUSTICE                         P O BOX 6806                                                                    FALLS CHURCH       VA           22040-6806
    CENTER FOR INDIVIDUAL RIGHTS                                            1233 20TH ST NW STE 300                                                         WASHINGTON         DC           20036
    Center For Leadership                                                   201 Burns Road                                                                  ELYRIA             OH           44035-1654
    CENTER FOR LITERACY IN PRIMARY
    EDUC                                                                    WEBBER STREET                                                                   LONDON                          SE1 8QW      United Kingdom
    Center For Management Research                                          55 William St.                    Suite 210                                     WELLESLEY HILLS    MA           02481



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                      70 of 488                                                                                      1:26 PM
                                                      12-12171-reg            Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                                    07/15/12 16:34:17       Main Document
                                                                                                                  PgCreditor
                                                                                                                     78 of      519
                                                                                                                             Matrix
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                          Address2              Address3               City        State       Zip      Country
    CENTER FOR MINISTRY
    DEVELOPMENT INC                                                        5713 WOLLOCHET DRIVE NW STE A                                                    GIG HARBOR         WA           98335
    CENTER FOR PARTNERSHIP
    STUDIES                                                                25700 SHAFTER WAY                  ATTN RIANE EISLER                             CARMEL             CA           93923
    Center for Performance Assessm                                         317 Inverness Way South            Suite 150                                     Englewood          CO           80112
    Center for Quality Leadership
    CENTER FOR QUALITY LEADERSHIP
    INC                                                                    2441 E HIGHWAY 377 STE 103                                                       GRANBURY           TX           76049
    CENTER FOR REFORM OF SCHOOL
    SYSTEMS INC                                                            4544 POST OAK PLACE STE 270                                                      HOUSTON            TX           77027
    Center for Successful Leader            Dr. Douglas B. Reeves          100 Beacon Street                                                                Boston             MA           02116
    CENTER FOR TEACHING AND
    LEARNING                                                               119 CROSS POINT RD                                                               EDGECOMB           ME           04556
    CENTER FOR THE EXPANSION OF
    LANGUAGE                                AND THINKING                   100 HERITAGE ROAD                  JEROME HARSTE - TREASURER                     BLOOMINGTON        IN           47401
    CENTER FOR THE STUDY OF THE             PRESIDENCY AND CONGRESS        1020 19TH ST NW # 250                                                            WASHINGTON         DC           20036
    CENTER LANGUAGE LEARNING                                               10610 QUAIL CANYON RD                                                            EL CAJON           CA           92021
    CENTIMARK CORPORATION                                                  P O BOX 360093                                                                   PITTSBURGH         PA           15251-6093
    CENTRAL ACCESS CORPORATION                                             388 HIGHLAND COLONY PKWY                                                         RIDGELAND          MS           39157
    CENTRAL ALABAMA REGIONAL
    EDUCATIONAL                             INSERVICE CENTER               PO BOX 271                                                                       MONTGOMERY         AL           36101
    CENTRAL CAROLINA COMMUNITY
    COLL                                    BOOKSTORE                      1105 KELLEY DRIVE                                                                SANFORD            NC           27330
    Central Colorado Horizons, LLC                                         300 E. Highland Mall Blvd          Suite 430                                     Austin             TX           78752
    CENTRAL COMMUNITY UNIT SCH
    DISTRICT # 4                                                           P O BOX 637                                                                      CLIFTON            IL           60927
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                WEST HANOVER ELEMENTARY        7740 MANOR DRIVE                                                                 HARRISBURG         PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                TRI-COMMUNITY ELEMENTARY       255 CYPRESS STREET                                                               BRESSLER           PA           17113
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                SOUTHSIDE ELEMENTARY           4525 UNION DEPOSIT RD                                                            HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                RUTHERFORD ELEMENTARY          6500 CLEARFIELD ST                                                               HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                PAXTONIA ELEMENTARY            6135 JONESTOWN RD                                                                HARRISBURG         PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                PAXTANG ELEMENTARY             3530 RUTHERFORD STREET                                                           HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                NORTH SIDE ELEMENTARY          4520 DEVONSHIRE ROAD                                                             HARRISBURG         PA           17109
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                MOUNTAIN VIEW ELEMENTARY       400 GIBBEL ROAD                                                                  HARRISBURG         PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                MIDDLE PAXTON ELEMENTARY       931 PETERS MOUNTAIN RD                                                           DAUPHIN            PA           17018
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                LINGLESTOWN ELEMENTARY         1044 N MOUNTAIN RD                                                               HARRISBURG         PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                LAWNTON ELEMENTARY             4400 FRANKLIN STREET                                                             HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                E H PHILLIPS ELEMENTARY        100 OAKMONT ROAD                                                                 HARRISBURG         PA           17109
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                CHAMBERS HILL ELEMENTARY       6450 CHAMBERS HILL RD                                                            HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               100 OAKMONT ROAD                                                                 HARRISBURG         PA           17109
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               1044 N MOUNTAIN RD                                                               HARRISBURG         PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               255 CYPRESS STREET                                                               BRESSLER           PA           17113
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               3530 RUTHERFORD STREET                                                           HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               400 GIBBEL ROAD                                                                  HARRISBURG         PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               4400 FRANKLIN STREET                                                             HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               4520 DEVONSHIRE ROAD                                                             HARRISBURG         PA           17109
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               4525 UNION DEPOSIT RD                                                            HARRISBURG         PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                               6135 JONESTOWN RD                                                                HARRISBURG         PA           17112



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                      71 of 488                                                                               1:26 PM
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                                                                                                                  PgCreditor
                                                                                                                     79 of      519
                                                                                                                             Matrix
                                                                                                                           First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                            Address2                        Address3               City            State       Zip             Country
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                                  6450 CHAMBERS HILL RD                                                                        HARRISBURG             PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                                  6500 CLEARFIELD ST                                                                           HARRISBURG             PA           17111
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                                  7740 MANOR DRIVE                                                                             HARRISBURG             PA           17112
    CENTRAL DAUPHIN SCHOOL
    DISTRICT                                                                  931 PETERS MOUNTAIN RD                                                                       DAUPHIN                PA           17018
    CENTRAL DUPAGE HEALTH
    FOUNDATION                                                                27W353 JEWELL ROAD                                                                           WINFIELD               IL           60190
    CENTRAL FLORIDA BOX
    CORPORATION                                                               2950 LAKE EMMA RD / SUITE 1000                                                               LAKE MARY              FL           32746
    CENTRAL FLORIDA BOX
    CORPORATION                                                               P O BOX 2153 DEPT 5194                                                                       BIRMINGHAM             AL           35287-5194
    CENTRAL FLORIDA PRESS                                                     PO BOX 10301                                                                                 UNIONDALE              NY           11555
    CENTRAL FLORIDA PRESS LLC               THE MATLET GROUP                  PO BOX 10301                                                                                 UNIONDALE              NY           11555-0301
    CENTRAL GREENE SCHOOL
    DISTRICT                                                                  P O BOX 472                                                                                  WAYNESBURG             PA           15370
    CENTRAL INDUSTRIES INC                                                    11433 CRONRIDGE DR STE F                                                                     OWINGS MILLS           MD           21117
    CENTRAL MONTCALM PUBLIC
    SCHOOL                                                                    1480 S SHERIDAN ROAD                                                                         STANTON                MI           48888
    CENTRAL NATIONAL-GOTTESMAN              DBA LINDENMEYR BOOK
    INC                                     PUBLISHING                        P O BOX 1213 DEPT 969                                                                        NEWARK                 NJ           07101-1213
    Central National-Gottesman Inc.
    (Lindenmeyr)                            Steven Wright                     990 Washington Street                                                                        Dedham                 MA           02026
    CENTRAL NEW YORK COUNCIL FOR
    SOCIAL                                  STUDIES                           7678 WARRIORS PATH                                                                           BALDWINSVILLE          NY           13027
    CENTRAL NEW YORK COUNCIL FOR
    SOCIAL                                  ATTN TINA WINKLER                 7678 WARRIORS PATH                                                                           BALDWINSVILLE          NY           13027
    Central New York SPCA                                                     5878 East Molly Road                                                                         Syracuse               NY           13211
    CENTRAL PARKING SYSTEMS INC             DBA BACK BAY GARAGE               P O BOX 790402                                                                               ST LOUIS               MO           63179
    CENTRAL SAVANNAH RIVER AREA
    REGIONAL                                EDUCATIONAL SERVICE AGENCY        4683 AUGUSTA HWY SE                                                     TEXTBOOK FAIR        DEARING                GA           30808
    CENTRAL SAVANNAH RIVER AREA
    REGIONAL                                DEBBIE DAVIS                      4683 AUGUSTA HWY SE                                                     TEXTBOOK FAIR        DEARING                GA           30808
    CENTRAL STATES CONFERENCE ON            TEACHING OF FOREIGN
    THE                                     LANGUAGES                         P O BOX 251                                                                                  MILWAUKEE              WI           53201-0251
    CENTRAL SUSQUEHANNA                     CENTER FO RSCHOOLS AND
    INTERMEDIATE UNIT                       COMMUNITIES                       275 GRANDVIEW AVE STE 200                                                                    CAMP HILL              PA           17011
    CENTRAL TRANSPORTATION
    SYSTEMS INC                                                               1001 WEST HOWARD LANE                                                                        AUSTIN                 TX           78753
    CENTRAL UNIFIED SCHOOL
    DISTRICT                                                                  4605 N POLK AVENUE                                                                           FRESNO                 CA           93722
    CENTRAL VALLEY CUE                      DBA CUE INC                       PO BOX 791                                                                                   FRESNO                 CA           93712
    CENTRAL WASHINGTON UNIV                 JANET FINKE                       400 EAST UNIVERSITY WAY              BLACK HALL 204-6                                        ELLENSBURG             WA           98926
    CENTRAL WISCONSIN EDUCATORS                                               5445 GARDEN LANE                     ATTN MIKE FELTZ                                         STEVENS POINT          WI           54482
                                                                                                                                                                           MANDALUYONG CITY
    CENTREX HOUSE                                                             SHAW BLVD COR 206 PILAR ST                                                                   METRO MANILA                        01550        Philippines
                                            A LA EDUCACION DE LA NINEZ Y LA
    CENTRO CEIBAL PARA EL APOYO             ADOLESC                           AV ITALIA 6201 EDIFICIO LOS CEIBOS                                                           MONTEVIDEO                                       Uruguay
    CENTRO COLOMBO AMERICANO
    MEDELLIN                                                                  CARRERA 45 NO 53-24                                                                          MEDDELLIN                                        Colombia

    CENTRO COMERICAL SA DIEGO P H                                             TORRES NORTE PISO ONCE               CALLE 34 # 43 -66                                       MEDELLIN                                         Colombia
    CENTURIA INC                                                              P O BOX 381937                                                                               CAMBRIDGE              MA           02238
                                            CENTURY COMMUNITY & TECH
    CENTURY BOOKSTORE                       COLLEGE                           3401 CENTURY AVE                                                                             WHITE BEAR LAKE        MN           55110
    CENTURYLINK                                                               P O BOX 4300                                                                                 CAROL STREAM           IL           60197-4300
    CENZIC INC                                                                455 EL CAMINO REAL SUITE 100                                                                 SANTA CLARA            CA           95050
    CEPEDA STUDIO INC                       THE ARTISIAN BLDG                 6737 BRIGHT AVENUE SUITE 202                                                                 WHITTIER               CA           90601
    CEPEDA STUDIOS INC                                                        5429 CADBURY ROAD                                                                            WHITTIER               CA           90601
    CERIDIAN                                                                  P O BOX 10989                                                                                NEWARK                 NJ           07193-0989
    CERIL CARLETTA SANDERS                                                    5813 JEWEL DRIVE                                                                             MCKINNEY               TX           75070
    CERTAIN INC                                                               75 HAWTHORNE ST STE 300                                                                      SAN FRANCISCO          CA           94105
    Cervantes Sainz

    CERVANTES SAINZ ABOGADOS                                                  TORRE DEL BOSQUE BLVD                M VILA CAMACHO 24-6                                     LOMAS DE CHAPULTEPEC                11000        Mexico
                                                                              524 SALAMANCA URB VILLA DEL
    CESAR A CEDENO FELICIANO                                                  CARMEN                                                                                       PONCE                  PR           00716
    Cesar A Duran                                                             2869 Sweetspire cir                                                                          Kissimmee              FL           34746



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                           72 of 488                                                                                                    1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                   80 of      519
                                                                                                                           Matrix
                                                                                                                         First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                             Address2              Address3               City         State       Zip            Country
    Cesar Flores                                                           206 N E 32nd Street                                                                 Grand Prairie       TX           75050
    Cesar Liriano                                                          642 Rena Drive                                                                      Davenport           FL           33897
    CESARE CASELLA                          C/O BEPPE                      45 EAST 22ND ST                                                                     NEW YORK            NY           10010
    CEVA FREIGHT LLC                        CEVA LOGISTICS                 PO BOX 844650                                                                       DALLAS              TX           75284
    CG USA INVESTMENTS INC                                                 90 ALTON RD #2505                                                                   MIAMI BEACH         FL           33139
    CH ROBINSON COMPANY INC                                                PO BOX 9121                                                                         MINNEAPOLIS         MN           55480
    Chad Elliott                                                           4745 21st Street North             B4                                               Arlington           VA           22207
    Chad Joseph                                                            47 West 719 Willow Creek                                                            Elburn              IL           60119
    Chad L Ross                                                            5136 B Strawberry Hill Rd                                                           Charlotte           NC           28211
    Chad Scannell                                                          10 Clarendon Avenue                Apt #1                                           Somerville          MA           02144
    CHAFFEE JOHN H                                                         121 MORTON STREET APT #4A                                                           NEW YORK            NY           10014
    CHAFFEY COLLEGE                         STUDENT STORE                  5885 HAVEN AVENUE                                                                   RANCHO CUCAMONGA    CA           91737
    CHAIKIN MIRIAM                                                         463 WEST STREET #A 327                                                              NEW YORK            NY           10014
    Chair Rental Company                                                   2675 S. Tejon                                                                       Englewood           CO           80110
    CHAKERIAN GULBANK D                                                    932 PECAN PL                                                                        DAVIS               CA           95616
    CHAKRA COMMUNICATIONS INC               C/O PRESIDENTIAL FINANCIAL     PO BOX 105328                                                                       ATLANTA             GA           30348-5328
    CHAMBERS HARRAP PUBLISHERS              ATTN KAREN STUART              7 HOPETOUN CRESCENT                                                                 EDINBURGH                        EH7 4AY      United Kingdom
                                                                                                                                                               EDINBURGHGREAT
    CHAMBERS HARRAP PUBLISHERS                                             7 HOPTOUN CRESCENT                                                                  BRITIAN                          EH7 4AY      United Kingdom
    CHAMELEON CONSULTING GROUP                                             815 N HOMESTEAD BLVD #225                                                           HOMESTEAD           FL           33030
    CHAMINADE UNIVERSITY                    BOOKSTORE                      3140 WAIALAE AVENUE                                                                 HONOLULU            HI           96816

    CHAMPION ENERGY SERVICES LLC # 774749                                  4749 SOLUTION CENTER                                                                CHICAGO             IL           60677-4007
    CHAMPION MAINTENANCE
    SERVICES LLC                                                           250 BLACK ROCK TURNPIKE                                                             FAIRFIELD           CT           06825
    CHAMPION PALLET & PACKAGING                                            1500 CHAMPION ROAD                                                                  TERRELL             TX           75161
    CHAMPIONSCOTT PARTNERS                                                 545 BOYLSTON STREET 11TH FL                                                         BOSTON              MA           02116
    CHAMPLAIN COLLEGE            RICHARD MAGGIANI                          163 SOUTH WILLARD ST                                                                BURLINGTON          VT           05452
    CHAMPLIN KATHY                                                         1126 TROUT GULCH ROAD                                                               APTOS               CA           95003
    Chana R Brooks                                                         7386 Hunter Ridge                                                                   Memphis             TN           38125
    Chance M Navarrete                                                     9801 Chukar Cir.                                                                    Austin              TX           78758
    CHANCE NALLEY                                                          1326 RIVERSIDE DR APT 42                                                            NEW YORK            NY           10033
    CHANCELLOR SUPPLEMNTAL EDUC
    SRVCS LLC                                                              3250 MARY ST, SUITE 202                                                             COCONUT GROVE       FL           33133
    Chandan Bandopadhyay                                                   35 Waterston Ave                   App # 17                                         Quincy              MA           02170
    CHANDOHA PHOTOGRAPHY                                                   50 SPRINGHILL ROAD                                                                  ANNADALE            NJ           08801
    CHANDRA GANEGODA                                                       UNIT 22 10 POST OAK DR                                                              RICHMOND HILL       ON           L4E 4H8      Canada
    CHANG LULU                                                             1080 CATAMARAN ST                                                                   FOSTER              CA           94404
                                 DBA J C ASSOCIATES &                      9 FLOOR 128 CHENG DE ROAD SEC
    CHANG YU YEN                 CONSULTANCY                               4                                                                                   TAIPEI CITY 111     Tai-pei                   Taiwan
    CHANG-RAE LEE                                                          20 HASLET AVENUE                                                                    PRINCETON           NJ           08540
    CHANTAL FRANCOIS                                                       545 PROSPECT PLACE 5K                                                               BROOKLYN            NY           11238
    CHANTEL CHANDLER                                                       157 GLENWOOD AVENUE                                                                 YONKERS             NY           10703
    Chantel Jackson                                                        P.O. Box 692                                                                        Itasca              IL           60143
    ChapaCode, LLC                                                         1824 Ord Street                                                                     Laramie             WY           82070
    Chaparral HS Orchestra       Attn Shel Stanfill                        15655 Brookstone Dr.                                                                Parker              CO           80134
    CHAPARRO JACQUELINE L                                                  1246 LADERA LINDA                                                                   DEL MAR             CA           92014

    CHAPEL 25, HOTEL ASSOCIATES LP DBA HAMPTON INN & SUITES                25 CHAPEL STREET                                                                    ALBANY              NY           12210
    Chapel Hill                    Attn Jameka Trapp-Edwards               750 South Merritt Mill Road                                                         Chapel Hill         NC           27516

    CHAPEL HILL CARRBORO SCH DIST                                          750 S MERRIT ROAD                                                                   CHAPEL HILL         NC           27516
    CHAPMAN AND WARNES                                                     ALTON BARTON ALTON PANCRA          THE FARM HOUSE WN                                DORCHESTER DORSET                DT2 7RW      United Kingdom
    CHAPPELL KATHERINE CHENEY                                              PO BOX 920                                                                          KENNEBUNK           ME           04043
    CHARANGA LTD                            2B LEROY HOUSE                 436 ESSEX ROAD                                                                      LONDON                           N1 3QP       United Kingdom
    CHARD DAVID J                                                          4546 WESTWAY AVENUE                                                                 DALLAS              TX           75205-3633
    CHARK ENTERPRISES INC                                                  2245 INDIAN TRAIL DRIVE                                                             WEST LAFAYETTE      IN           47906-2106
    CHARLA F CORZINE                                                       6449 KINGS COVE                                                                     BARTLETT            TN           38135
    CHARLENE A MATTHEW                                                     P O BOX 634                                                                         FREDERIKSTED        VI           00841

    CHARLENE DIETZ                                                         PO BOX 108, 35 COUNTY ROAD A004                                                     TORREON             NM           87061
    Charlene Gearing                                                       6925 Ramsey Road                                                                    Middleton           WI           53562

    CHARLENE LEMANN                         DEPT OF EDUCATION              1150 NORTH FIRST STREET STE 100                                                     SAN JOSE            CA           95112
    Charlene Schmidt                                                       4350 Trillium Lane W                                                                Minnetrista         MN           55364
    CHARLES A BARNEY                                                       1547 W FARWELL AVE #2 E                                                             CHICAGO             IL           60626
    Charles A Butts Jr                                                     116 Burlington Street                                                               Lexington           MA           02420
    Charles Allen                                                          2437 W. Post Oak Rd                                                                 Olathe              KS           66061
    Charles Barnhart                                                       1036 Ledges Dr.                                                                     Osage Beach         MO           65065
    Charles Beauregard                                                     17054 North Brandt #1203        Village @ 5 Points East                             Lewis               DE           19971



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                         73 of 488                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                PgCreditor
                                                                                                                   81 of      519
                                                                                                                           Matrix
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2              Address3             City         State       Zip           Country
    Charles Becker                                                         6000 Shepherd Mountain Cove      Apt 418                                         Austin            TX           78730
    CHARLES BURTON                                                         404 7 GALE CRESCENT                                                              ST CATHERINES     ON           L2R 7M8      Canada
    Charles Butts                                                          116 Burlington Street                                                            Lexington         MA           02420
    CHARLES C THOMAS PUBLISHER
    LTD                                                                    2600 SOUTH FIRST STREET                                                          SPRINGFIELD       IL           62704
    Charles Carlson                                                        8758 Crestgate Circle                                                            Orlando           FL           32819
    CHARLES CARTER                          VICARIOUS VISIONS              150 BROADWAY SUITE 205                                                           MENANDS           NY           12204
    Charles Cordova                                                        Po Box 1622                                                                      Carmel            CA           93921
    Charles Cragin                                                         1 Rowen Ct.                                                                      Jamaica Plain     MA           02130
    CHARLES CRUST                                                          26530 LAKE FENWICK ROAD S                                                        KENT              WA           98032-7204
    Charles D Shoe                                                         2 PIN OAK ROAD                                                                   NEWPORT NEWS      VA           23601
    Charles Darden                                                         4124 W. 21st Street                                                              Chicago           IL           60623
                                            DBA DOUGLAS PEEBLES
    CHARLES DOUGLAS PEEBLES                 PHOTOGRAPHY                    44-527A KANEOHE BAY DRIVE                                                        KANEOHE           HI           96744
    Charles Dutton Jr                                                      41 North St                                                                      Westford          MA           01886
    Charles E Boston                                                       1537 Antigua Bay Dr                                                              Orlando           FL           32824
    CHARLES E TUTTLE CO INC                 dba TUTTLE PUBLISHING          364 INNOVATION DRIVE                                                             NORTH CLARENDON   VT           05759
    CHARLES EDWIN SUMMERS                   DBA CONTEMPLATIVE IMAGES       533 RATLIFF CREEK RD                                                             PIKEVILLE         KY           41501
    CHARLES ERIC HOFFMAN                    NORTHERN ILLINOIS UNIVERSITY   DEPARTMENT OF ENGLISH                                                            DEKALB            IL           60115
    CHARLES EVERITT LITERARY
    AGENCY INC                                                             6 PROCTOR STREET                                                                 MANCHESTER        MA           01944
    CHARLES FORSMAN                                                        P O BOX 1014                                                                     HANCOCK           MA           01237
    Charles G Filo                                                         S10 W31357 Irwin Court                                                           Wales             WI           53183
    Charles Greulich                                                       7675 E. Krall Street                                                             Scottsdale        AZ           85250
    Charles Greulich                                                       7675 E. Krall Street                                                             Scottsdale        AZ           85250-4659
    CHARLES GUPTON                                                         7413 SIX FORKS RD SUITE 146                                                      RALEIGH           NC           27615
    CHARLES HEATH STEELE                                                   2809 CARTERTON WAY                                                               FLOWER MOUND      TX           75022
    CHARLES J BUDINGER                                                     2621 BARONNE DRIVE                                                               SPRINGFIELD       IL           62704
    Charles J Christina                                                    6 John St                                                                        Southborough      MA           01772
    Charles Jame Evans                                                     3144 NE 2ND PL                                                                   OCALA             FL           34470
    CHARLES K PSYCHOS                                                      4141 N HENDERSON RD # 1224                                                       ARLINGTON         VA           22203
    CHARLES KEMPTHORNE                                                     3591 LETTER ROCK ROAD                                                            MANHATTAN         KS           66502
    Charles Kennedy                                                        2715 Overbrook Terrace                                                           Ardmore           PA           19003
    CHARLES KLOSTERMAN                                                     541 EAST 20TH ST, 10-D                                                           NEW YORK          NY           10010
    CHARLES KYTE CONSULTING LLC                                            101 ST OLAF AVENUE # 104                                                         NORTHFIELD        MN           55057
    CHARLES L SKINNER                                                      3508 FOX RIDGE RD                                                                WALDORF           MD           20601
    CHARLES LORD                                                           4082 CESAR CHAVEZ ST                                                             SAN FRANCISCO     CA           94131
    CHARLES M ROESSEL                                                      P O BOX 3034                                                                     KAYENTA           AZ           86033
    CHARLES MARDEN FITCH                                                   1120 COVE ROAD                                                                   MAMARONECK        NY           10543
    CHARLES MARK HENDERSON                                                 105 LAKE FOREST DR                                                               PEACHTREE CITY    GA           30269
    Charles Mays                                                           93 Boston Lake Drive                                                             Valley City       OH           44280
    CHARLES MCCARRY                                                        3435 DUNES VISTA DRIVE                                                           POMPANO BEACH     FL           33069
                                            INFORMATION MNGMNT
    CHARLES MCCLURE                         CONSULTANT                     7698 MCCLURE DR                                                                  TALLAHASSEE       FL           32312
    Charles McQuillen                                                      32 High Street                                                                   Natick            MA           01760
    Charles Moulton                                                        2477 W. Warwick Rd.                                                              Muncie            IN           47304
    CHARLES MURPHY                                                         79 6TH AVE                                                                       MILFORD           CT           06460
    Charles Nilsen                                                         4740 Huron Bay Circle                                                            Kissimmee         FL           34759
    Charles Nordin                                                         2609 Millwood Cir.                                                               Westfield         IN           46074
    CHARLES O CECIL                         DBA CECIL IMAGES               4318 LOUIS PLACE                                                                 ALEXANDRIA        VA           22304
    Charles Peterson                                                       25 Quartermaster Dr                                                              Salem             SC           29676
    Charles Phillips                                                       5026 Tildens Grove Blvd                                                          Windermere        FL           34786
    CHARLES PITROLO                                                        108 LINDA LANE                                                                   FAIRMONT          WV           26554
    Charles Place                                                          8233 Mt. Vernon Rd.                                                              Auburn            CA           95603
                                            DBA CARTOON FEATURES
    CHARLES PRESTON                         SYNDICATE                      BOX 401040                                                                       CAMBRIDGE         MA           02140
    CHARLES R LONGSWORTH                                                   P O BOX 567                                                                      ATHOL             MA           01331
    CHARLES RANDOLPH WHEELER                                               786 PARKVIEW CIR                                                                 VALDOSTA          GA           31602
    Charles Roberts                                                        1205 Holly Hill Dr.                                                              Grand Prairie     TX           75052
    CHARLES S CHESNAVAGE                                                   82 PATMOR AVE                                                                    YONKERS           NY           10710
    CHARLES SCHUSTER                                                       2107 W FAIRLANE AVE                                                              GLENDALE          WI           53209-2121
    Charles Shoe                                                           2 Pin Oak Rd                                                                     Newport News      VA           23601
    CHARLES SIMIC                                                          PROVINCE ROAD BOX 192                                                            STRAFFORD         NH           03884-0192
    Charles Square Cambridge LLC                                           One Bennett Street                                                               Cambridge         MA           02138
    Charles Staton                                                         3160 Shadow Creek Drive                                                          Powhatan          VA           23139
    CHARLES STREET ENTERPRISES              C/O JOHN MOYNES                1485 TENBURY COMMON                                                              ANNAPOLIS         MD           21401-6474
    Charles T Peterson                                                     25 Quartermaster Dr                                                              Salem             SC           29676
    Charles T Walsh                                                        3510 Hyacinth Way                                                                Cumming           GA           30041
    CHARLES V RYDLEWSKI                                                    22W 767 RED OAK DRIVE                                                            GLEN ELLYN        IL           60137
    Charles W Rickelman                                                    2718 South D St                                                                  Elwood            IN           46036



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                      74 of 488                                                                                   1:26 PM
                                                      12-12171-reg            Doc 136               Filed 07/15/12 Exhibit
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                                                                                                               PgCreditor
                                                                                                                  82 of      519
                                                                                                                          Matrix
                                                                                                                          First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                            Address2              Address3                City        State       Zip               Country
    Charles W Robinson                                                     7821 Westminster Abbey Blvd.                                                         Orlando             FL           32835
    CHARLES WAXBERG                                                        1420 TERRY AVE UNIT 1903                                                             SEATTLE             WA           98101
    CHARLES WEBSTER JOHNSON                                                1013 HILLSIDE DR                                                                     DOUGLAS             GA           31533
    Charles Wheeler                                                        14 Storrie Street                                                                    San Francisco       CA           94114
    CHARLESBRIDGE PUBLISHING                                               85 MAIN ST                                                                           WATERTOWN           MA           02472
    CHARLESBRIDGE PUBLISHING INC                                           85 MAIN STREET                                                                       WATERTOWN           MA           02472-4411
    CHARLESTON MUSEUM                                                      360 MEETING STREET                                                                   CHARLESTON          SC           29403
    CHARLESTON SCHOOL OF LAW                LIBRARY - FORDON RUSSELL       81 MARY STREET                                                                       CHARLESTON          SC           29402
    Charli J Parker                                                        84 Rivermont Circle                                                                  Pickensville        AL           35447
    CHARLOTT SASSMAN                                                       1109 QUAIL CREEK ST                                                                  FORT WORTH          TX           76109
    CHARLOTTA M BENEDEK                                                    272 RUE BRIAND STRESEMAN                                                             THOIRY                           01710        France
    CHARLOTTE AGELL                                                        39 COLUMBIA AVENUE                                                                   BRUNSWICK           ME           04011
    CHARLOTTE ANNE HINSON                                                  4514 FINLEY DRIVE                                                                    SHREVEPORT          LA           71105
    CHARLOTTE BARSLUND                                                     32 COURTENAY ROAD                                                                    HAMPSHIRE                        SO23 7ER     United Kingdom
    CHARLOTTE GALLEMORE                                                    316 S A COOLEY                                                                       LONGVILLE           LA           70652
    Charlotte Haller                                                       1431 TODD FARM DR, #7                                                                ELGIN               IL           60123-1753
    Charlotte Kelchner                                                     3231 N HAMLIN AVENUE                                                                 CHICAGO             IL           60618
    CHARLOTTE KELCHNER                                                     3231 N HAMLIN AVE, F12                                                               CHICAGO             IL           60618
    Charlotte Ladew                                                        61 Mill St.                         Apt. C-2                                         Montgomery          IL           60538
    CHARLOTTE LESLIE                                                       1221 CEDAR POST LN 9D                                                                HOUSTON             TX           77055
                                                                                                               ATTN BOB DAVIS - MATH
    CHARLOTTE LOCAL EDUCATION                                              1445 EDUCATION WAY                  CURRICULUM                                       PORT CHARLOTTE      FL           33948
    CHARLOTTE MECKLENBURG BOE     ATTN KATY DULA                           700 E STONEWALL ST STE 506                                                           CHARLOTTE           NC           28202
    CHARLOTTE MECKLENBURG                                                                                      ATTN PAM BARTEL - MYERS PARK
    SCHOOLS                                                                2400 COLONY RD                      HIGH SCH                                         CHARLOTTE           NC           28209
    CHARLOTTE OBSERVER
    PUBLISHING CO INC                                                      P O BOX 30308                                                                        CHARLOTTESVILLE     NC           28230
    CHARLOTTE SHEEDY LITERARY
    AGENCY                                                                 928 BROADWAY STE 901                                                                 NEW YORK            NY           10010
    Charlotte Strauser                                                     125 Coffee St                                                                        Mandeville          LA           70448
    CHARLOTTE STRICK                                                       20 BAYARD STREET, APT 6D                                                             BROOKLYN            NY           11211
    CHARLOTTE ZOLOTOW REVCBLE                                                                                  C ZOLOTOW, CRESCENT D & S
    TRUST                                                                  29 ELM PLACE                        ZOLOTOW TRSTS                                    HASTINGS-HDSN       NY           10706
    CHARLY LYNN COX                                                        7804 RIDGEVIEW DR, NW                                                                ALBUQUERQUE         NM           87120
    CHARLYN ALOMAR MARTINEZ                                                P O BOX 3236                                                                         GUAYAMA             PR           00785
    CHARTER SCHOOL OF APPLIED
    TECH                                                                   2303 KENMORE AVE                                                                     BUFFALO             NY           14207
    CHARTER SCHOOLS DEVELOPMENT
    CENTER                                                                 817 14TH STREET STE 300                                                              SACRAMENTO          CA           95814-2923
    Chartis Casualty Company                                               99 High Street                                                                       Boston              MA           02110-2320
                                  DBA LEVY HOME ENTERTAINMENT
    CHAS LEVY COMPANY LLC         LLC                                      1420 KENSINGTON DR STE 300          ATTN JANET KREY                                  OAKBROOK            IL           60523
    CHASE                         Chase Card Services                      PO Box 94014                                                                         Palatine            IL           60094-4014
    CHASE ANNE GAY                                                         2210 M STREET                                                                        RICHMOND            VA           23223
    Chase Paymentech, LLC         Attn Lazonia Clark                       14221 Dallas Parkway, Building II                                                    Dallas              TX           75254-2942
    CHASE STUDIO INC                                                       205 WOLF CREEK RD                                                                    CEDAR CREEK         MO           65627
    Chaska School District 112    Accounting Dept.                         11 Peavey Road                                                                       Chaska              MN           55318
    CHASM INDUSTRIES INC                                                   620 PIGEON HILL RD                                                                   WINDSOR             CT           06095
    CHATHAM ASSET MANAGEMENT
    Chatham Asset Management, LLC Marc Berkowitz                           26 Main St., #204                                                                    Chatham             NJ           07928
                                                                           208 BULL STREET STREET ROOM
    CHATHAM COUNTY SCHOOLS                                                 117                                                                                  SAVANNAH            GA           31401
    CHATTAHOOCHEE COUNTRY CLUB
    INC                                                                    3000 CLUB DR P O BOX 1075                                                            GAINESVILLE         GA           30503
    CHATTAHOOCHEE FLINT RESA                                               P O BOX 1150                                                                         ELLAVILLE           GA           31806
    CHATTANOOGA CITY TREASURER                                             PO BOX 191                                                                           CHATTANOOGA         TN           37401
    CHATTANOOGA SE TENN HOME
    EDUC ASSN                               ATTN MRS JANELL BONTEKOE       1301 CUMBERLAND RD                                                                   CHATTANOOGA         TN           37419
    Chaundra Frierson-Haynes                                               19709 Roslyn Rd.                                                                     Detroit             MI           48221
    CHAYVONNE HARPER                                                       11331 BREEZEHILL LANE                                                                CHARLOTTE           NC           28262
    CHECKPOINT SYSTEMS INC                                                 P O BOX 8538-0379                                                                    PHILADELPHIA        PA           19171-0379
    CHECKPROZ LLC                                                          405 W SUPERIOR STREET STE 5                                                          CHICAGO             IL           60654
    CHEDD ANGIER PRODUCTION
    COMPANY                                                                119 BRAINTREE STREET STE 414                                                         BOSTON              MA           02134
    CHEFADVANTAGE INC                                                      975 COBB PLACE BLVD, STE 305                                                         KENNESAW            GA           30144
                                                                           P O BOX 914 1974 SPROUL RD STE
    CHELSEA HOUSE PUBLISHERS                                               400                                 ATTN LAURA JARRETT                               BROOMALL            PA           19008
    CHEMALY & CHEMALY PRINTING
    PRESS SAL                                                              P O BOX 90-10 23                    CHEMALY & CHEMALY BUILDING                       BEIRUT                                        Lebanon




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                          75 of 488                                                                                         1:26 PM
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                                                                                                          PgCreditor
                                                                                                             83 of      519
                                                                                                                     Matrix
                                                                                                                   First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                      Address2              Address3             City           State       Zip      Country
                                                                           4000 LANCASTER DR NE, P O BOX
    CHEMEKETA COLLEGE BOOKSTORE                                            14007                                                                         SALEM               OR           97305
    CHEMSTRETCH INC                         DBA PERFORMANCE PACKAGING      340 BYNUM ROAD                                                                FOREST HILL         MD           21050
    CHENEY GEORGE W III                     REST AND BE THANKFUL FARM      74 OLD NORTH BERWICK ROAD                                                     LYMAN               ME           04002
    Chereeze Y Hall                                                        P.O. Box 10692                                                                Rochester           NY           14610
    CHERI HILL TESOLOWSKI                                                  123 LINDOS DR                                                                 SENECA              SC           29672
    Cheri Martinez                                                         362 Cobblestone Dr.                                                           COLORADO SPRINGS    CO           80906
    CHERIAN JACOB                                                          4988 THORNBARK DR                                                             BARRINGTON          IL           60010
    Cherie Bartlett                                                        14 Apache St                                                                  Dover               NH           03820
    Cherie Grindstaff                                                      740 High Drive                                                                Cedar Hill          TX           75104
    Cherie Mitschke                                                        515 S. Harris                                                                 Giddings            TX           78942
    CHERIE NORVELL                                                         12713 SAINT ANDREWS TERRACE                                                   OKLAHOMA            OK           73120
    CHERIE V HARP                                                          618 MEDINA DR                                                                 HIGHLAND VILLAGE    TX           75077
    CHERON BAYNA                                                           35 POLMOOD FARM ROAD                                                          SANTA FE            NM           87506-0083
    CHERRY CREEK SCHOOLS                                                   4850 SOUTH YOSEMITE STREET                                                    GREENWOOD VILLAGE   CO           80111
    Cherry Creek Travel                                                    3300 E. 1st Avenue              Suite 220                                     Denver              CO           80206
    CHERRYL SMITH                                                          1233 EVERETT STREET                                                           EL CERRITO          CA           94530
    Cheryl A Bobbitt                                                       4211 Rocky Ford Drive                                                         Prosper             TX           75078
    CHERYL A SANDERS                                                       3612 W EVANS DRIVE                                                            PHOENIX             AZ           85053
    Cheryl A. Bonnell                                                      9209 Lark Sparrow Trail                                                       Littleton           CO           80126-5214
    Cheryl Alvarado                                                        1307 Olympus Drive                                                            Austin              TX           78733
    Cheryl Ann Dunkle                       CAD Consulting                 1564 Peninsula Circle                                                         Castle Rock         CO           80104
    CHERYL ANN PHILLIPS                                                    12905 SPRING CREEK PKWY                                                       OKLAHOMA CITY       OK           73170
    CHERYL ANNE MARIE WALLACE                                              1626 RIPON PLACE                                                              ALEXANDRIA          VA           22302
    Cheryl Casson                                                          2840 Runyon Circle                                                            Orlando             FL           32837
    Cheryl Cramer A Toto                                                   65 Rokeby Rd                                                                  Waban               MA           02468
    CHERYL DICKERSON                                                       102 RIVERCREST                                                                LULING              TX           78648
    Cheryl E Savage                                                        1 Susannahs Crossing                                                          Dover               NH           03820
    Cheryl Frias                                                           49 LINNEA LN                                                                  READING             MA           01867
    CHERYL GILLILAND                                                       4100 CRIDER DR                                                                BLOOMINGTON         IN           47404
    CHERYL HENRY                            DBA C J HENRY                  9619 RIVERS BEND CT                                                           ORLANDO             FL           32825
    Cheryl Johnson                                                         520 SE Columbia River Dr        #114                                          Vancouver           WA           98661
    CHERYL KOONCE                                                          1137 N 4220 RD                                                                HUGO                OK           74743
    Cheryl L Binetti                                                       3 N 976 Longfellow Place                                                      Saint Charles       IL           60175
    CHERYL L COOKE                                                         917 DARTMOUTH PLACE                                                           MINNEAPOLIS         MN           55414
    Cheryl L Wendling                                                      6806 Beauford Dr.                                                             Austin              TX           78750
    Cheryl Lyman                                                           1769 S. Sherbourne                                                            Los Angeles         CA           90035
    Cheryl Lynn Griffin                                                    1712 Liberty Street                                                           Aurora              IL           60505
    Cheryl Muno                                                            1729 Oakton St.                                                               Evanston            IL           60202
    Cheryl Nuzzolo                                                         19 Arlene Ave                                                                 Wilmington          MA           01887
    Cheryl Perkins                                                         5458 E. 900 N.                                                                Greenfield          IN           46140
    CHERYL PERRY                                                           12714 SE 252ND PLACE                                                          KENT                WA           98030-6622
    CHERYL RIVARD                                                          33 HILLTOP AVE                                                                LEWISTON            ME           04240
    Cheryl Schmidt                                                         1727 Pebble Beach Cr                                                          Elgin               IL           60123
    CHERYL SIMON LYMAN                                                     1769 S SHERBOURNE DR                                                          LOS ANGELES         CA           90035
    Cheryl Soyland                                                         Po Box 80                                                                     Piedmont            SD           57769
    CHERYL STEARNS                                                         2124 HIGHLAND VIEW LANE                                                       CHARLOTTE           NC           28214
    CHERYL T DUGUID                                                        3915 WOOD REED DRIVE                                                          BRANDYWINE          MD           20613
    CHERYL TYLER                                                           ROOSEVELT ISLAND                531 MAIN ST #1101                             NEW YORK            NY           10044
    CHERYL VAN NESS                                                        234 SECOND STREET                                                             DUNELLEN            NJ           08812
    CHERYL VANCE                                                           622 NW PENNSYLVANIA AVENUE                                                    CHEHALIS            WA           98532
    CHESAPEAKE & OHIO HISTORICAL
    SOCIETY INC                                                            312 E RIDGEWAY STREET                                                         CLIFTON FORGE       VA           24422
    CHESS VICTORIA                                                         12 MARCELLA ST #14                                                            CAMBRIDGE           MA           02141-1408
    CHESTER ANDOVER ELEMENTARY
    SCHOOL                                                                 72 MAIN STREET                                                                CHESTER             VT           05143
    CHESTER COUNTY HISTORICAL
    SOCIETY                                 ATTN WM KASHATUS               225 NORTH HIGH STREET                                                         WEST CHESTER        PA           19380
    CHESTER COUNTY INTERMEDIATE
    UNIT                                                                   455 BOOT ROAD                                                                 DOWINGTOWN          PA           19335
    CHESTER L BLUETTE JR                                                   340 AVALON CHASE DRIVE                                                        ST LOUIS            MO           63026
    Chester Lucido                                                         5111 Hadle Cove                                                               Austin              TX           78730
    Chester Lucido III                                                     5111 Hadle Cove                                                               Austin              TX           78730
    Chester Martin                                                         1225 SEEDS LANE                                                               DOWNINGTON          PA           19335
                                                                           295 BORDENTOWN-CHESTERFIELD
    CHESTERFIELD TWP BOE                                                   RD                                                                            CHESTERFIELD        NJ           08515
    CHESTON ELEM SCHOOL                                                    723 COAL STREET                                                               EASTON              PA           18042
    Chet Foraker                                                           2805 Tyler St                                                                 Southlake           TX           76092
    Chet Taff                                                              11048 Clipper Court                                                           Windermere          FL           34786




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                   76 of 488                                                                                1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                  84 of      519
                                                                                                                          Matrix
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                        Address2              Address3              City           State       Zip              Country
    CHEVY CHASE EXECUTIVE
    SERVICES INC                                                           5335 WISCONSIN AVE NW STE 440                                                  WASHINGTON           DC           20015
    Cheyenne Little Theatre                 Attn Randy Bernhard            P.O. Box 20087                                                                 Cheyenne             WY           82003
    CHEYNE CAPITAL MGMT

    CHEYNEY UNIVERSITY BOOKSTORE                                           1837 UNIVERISTY CIRCLE            MARCUS FOSTER STUDENT UNION                  CHEYNEY              PA           19319
    CHEZ PANISSE FOUNDATION                                                1517 SHATTUCK AVENUE                                                           BERKELEY             CA           94709
    Chi Yong Lam                                                           9 Prairie Road                                                                 Chelmsford           MA           01824
    CHI YOUNG KIM                                                          574 N BEACHWOOD DR,                                                            LOS ANGELES          CA           90004
    CHICAGO BACKFLOW INC                                                   12607 S LARAMIE AVENUE                                                         ALSIP                IL           60803
    CHICAGO BOOK CLINIC                                                    310 W LAKE STREET                                                              ELMHURST             IL           60126
    CHICAGO CONSUMABLES INC                                                2055 S EASTWOOD DR                                                             WOODSTOCK            IL           60098
    CHICAGO HISTORY MUSEUM       CHICAGO HISTORICAL SOCIETY                1601 N CLARK STREET                                                            CHICAGO              IL           60614
    CHICAGO MIDWEST CREDIT
    SERVICE CORP                 DBA NACM MIDWEST                          3005 TOLLVIEW DRIVE                                                            ROLLING MEADOWS      IL           60008
    CHICAGO PRINCIPALS
    ADMINISTRATORS               ASSOCIATION                               20 NORTH WACKER DR STE 622                                                     CHICAGO              IL           60606

    CHICAGO PUBLIC SCHOOLS AREA 2           ATTN DONNA BEDTKE              6323 N AVONDALE STE 228                                                        CHICAGO              IL           60631
    CHICAGO PUBLIC SCHS - AREA 18
    SOCIAL COM                              C/O POE CLASSICAL SCHOOL       10538 S LANGLEY                                                                CHICAGO              IL           60628
    CHICAGO STAPLE & SHIPPING               DBA ALLIED PACKAGING SYSTEM
    SUPPLY INC                              SUPPLIES INC                   PO BOX 1100                                                                    MELROSE PARK         IL           60160
    CHICAGO TITLE INSURANCE
    COMPANY                                 NATIONAL BUSINESS UNIT         711 THIRD AVENUE 5TH FLOOR                                                     NEW YORK             NY           10017
    CHICAGO TRIBUNE                         STORE                          435 N. MICHIGAN AVENUE                                                         CHICAGO              IL           60611-4026

    CHICAGO TRIBUNE                                                        435 NORTH MICHIGAN AVE, STE 300                                                CHICAGO              IL           60611-4026
    CHICAGO TRIBUNE                                                        P O BOX 9001157                                                                LOUISVILLE           KY           40290-1157
    CHICKEN RUN RESCUE                                                     2023 LOWRY AVENUE N                                                            MINNEAPOLIS          MN           55411
    CHICO USD                                                              1163 EAST SEVENTH ST.                                                          CHICO                CA           95928
    CHICSPEARE PRODUCTION CO                                               5751 N CAMPBELL                                                                CHICAGO              IL           60659
    CHIDOGOS INC                            DBA SNOOTY FOX / GRILL N GO    1435 E 86TH ST                                                                 INDIANAPOLIS         IN           46240
                                            DBA MINNEAPOLIS MARRIOTT
    CHIEF MINNEAPOLIS HOTEL                 SOUTHWEST                      5801 OPUS PARKWAY                                                              MINNETONKA           MN           55343
    CHIERICI ALESSANDRO                                                    241 HIGHLAND PARKWAY                                                           ROCHESTER            NY           14620
    CHILD AND BOOK INC                                                     510 EAST 85TH STREET SUITE 8C                                                  NEW YORK             NY           10028
                                                                                                             BARBARA LUMPKIN - CHICAGO PUB
    CHILDREN FIRST FUND                                                    125 S CLARK 11TH FLOOR            SCHOOLS                                      CHICAGO              IL           60603
    CHILDREN PRESS/SCHOLASTIC
    LIBRARY                                                                90 OLD SHERMAN TURNPIKE                                                        DANBURY              CT           06816-0002
    CHILDRENS ADVOCACY CENTER               OF SUFFOLK COUNTY              989 COMMONWEALTH AVE                                                           BOSTON               MA           02215
    CHILDRENS ART FOUNDATION
    STONE SOUP                              DBA STONE SOUP                 P O BOX 83                                                                     SANTA CRUZ           CA           95063

    CHILDRENS BETTER HEALTH INST                                           1100 WATERWAY BLVD PO BOX 567                                                  INDIANAPOLIS         IN           46202-2156
    CHILDRENS BOOK COUNCIL                                                 62 WEST 45TH STREET 9TH FL                                                     NEW YORK             NY           10036
    CHILDRENS BOOK COUNCIL INC                                             54 WEST 39TH STREET 14TH FL                                                    NEW YORK             NY           10018
    CHILDRENS BOOK PRESS                                                   965 MISSION STREET STE 425                                                     SAN FRANCISCO        CA           94103
    CHILDRENS BOOKS USA INC                                                P O BOX 750799                                                                 FOREST HILLS         NY           11375
    CHILDRENS LITERATURE
    COMPREHENSIVE                           DATABASE                       7513 SHADYWOOD ROAD                                                            BETHSDA              MD           20817
    CHILDRENS MUSEUM OF DENVER
    INC                                     FOR ROBIN SIMMONS              2121 CHILDRENS MUSEUM DR                                                       DENVER               CO           80211
    CHILDRENS MUSEUM OF
    INDIANAPOLIS                                                           3000 NORTH MERIDIAN STREET                                                     INDIANAPOLIS         IN           46208
    CHILDRENS NETWORK
    INTERNATIONAL INC                                                      5449 ROBIN HILL COURT                                                          NORCROSS             GA           30093

    CHILDRENS THEATRE CO                    DBA PLAYS FOR YOUNG AUDIENCES 2400 THIRD AVE SOUTH                                                            MINNEAPOLIS          MN           55404
    CHILDRENS THEATRE CO                    ATTN MICHELLE WRIGHT          2400 THIRD AVE SOUTH                                                            MINNEAPOLIS          MN           55404

    CHILDS PLAY (INTERNATIONAL) LTD                                        ASHWORTH ROAD BRIDGEMEAD                                                       SWINDON WILTSHIRE                 SN6 7YD      United Kingdom
    CHINA BOOKS AND PERIODICALS                                            2929 TWENTY FOURTH STREET         STMT RTND PE 12 05                           SAN FRANCISCO        CA           94110
                                                                                                                                                          CHAO YANG DISTRICT
    CHINA FOTO PRESS                                                       JIU XIANQIAO RD NO 14             ZHAO WEI INDUSTRY PARK                       BEIJING              Beijing                   China
    CHINA NATIONAL PUBLICATIONS
    IMPORT &                                EXPORT                         16 GONGTI EAST ROAD               CHAOYANG DISTRICT                            BEIJING                           10020        China
    CHINA SPAN LLC                                                         18419 NEE 27TH WAY                                                             REMOND               WA           98052




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    77 of 488                                                                                         1:26 PM
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                                                                                                          PgCreditor
                                                                                                             85 of      519
                                                                                                                     Matrix
                                                                                                                   First Class Service List


                 CreditorName                     CreditorNoticeName                 Address1                           Address2                       Address3                  City        State       Zip                Country
    CHINESE UNIVERSITY OF HONG              RESEARCH CENTRE FOR        RESEARCH CENTRE FOR
    KONG                                    TRANSLATION                TRANSLATION                                                            SHATIN              New Territories                                 Hong Kong
    CHINN LENORE                                                       1 SCOTT STREET #1                                                                          SAN FRANCISCO         CA           94117
    CHINN WILLIAM G                                                    ONE SCOTT STREET #1                                                                        SAN FRANCISCO         CA           94117
    CHIN-TANG LIU                                                      18050 ARBOR CREST DRIVE                                                                    TAMPA                 FL           33647
    Chipotle                                                           8331 S. Willow Street                                                                      Littleton             CO           80123
    CHIPPEWA VALLEY MUSEUM INC                                         P O BOX 1204                                                                               EAU CLAIRE            WI           54702
    CHOI SOOK NYUL                                                     ONE CHARLES ST SO APT 14C                                                                  BOSTON                MA           02116
    CHOICEPOINT PRECISION
    MARKETING LLC                                                      8512 A ALLEN ROAD                                                                          PEORIA                IL           61615
    CHOLLA ACADEMY                          WESTLAND SCHOOL            4141 N 67TH AVE                                                                            PHOENIX               AZ           85033
    CHOMSKY HARRY                                                      1127 CURTIS ST.                                                                            ALBANY                CA           94706
    CHOPRA RESTAURANTS INC                  DBA CORPORATE DINING       PO BOX 8527                                                                                BARTLETT              IL           60103
    CHORAO ANN SPROAT                                                  290 RIVERSIDE DRIVE APT 12A                                                                NEW YORK              NY           10025
    Chorus, Inc.                                                       238 S. Meridian Street          4th Floor                                                  Indianapolis          IN           46225
    CHOUETTE                                                           1001 LENOIR ST STE B-238                                                                   MONTREAL              QC           H4C 2Z6      Canada
    Chowdhry, Sheru                         Paulson & Co.              1251 Avenue of the Americas     50th Floor                                                 New York              NY           10020
    Chowdhry, Sheru
    CHRIS ARTHUR                                                       UNIVERSITY OF WALES                                                                        LAMPETER CEREDIGION   WALES        SA48 7ED     United Kingdom
                                                                       6001 SHEPHERD MOUNTAIN COVE #
    CHRIS BENNETT                                                      217                                                                                        AUSTIN                TX           78730
    CHRIS BRATT                                                        110 FIRST AVENUE                                                                           SANTA CRUZ            CA           95062
    CHRIS BRIGGS                                                       511 SURREY LANE                                                                            LUTZ                  FL           33549
    CHRIS CALHOUN AGENCY                                               270 LAFAYETTE STREET #1504                                                                 NEW YORK              NY           10012

    CHRIS CRUMLEY PRODUCTIONS INC                                      5302 LAKESIDE AVENUE                                                                       VIRGINIA BEACH        VA           23451
    CHRIS CRUTCHER                                                     3405 E MARION CT                                                                           SPOKANE               WA           99223
    Chris D Briggs                                                     511 Surrey Lane                                                                            Lutz                  FL           33549
    Chris Droge                                                        844 South Columbine Street                                                                 Denver                CO           80209
    CHRIS F HOLM                                                       89 BROADWAY                                                                                PORTLAND              ME           04103
                                            DBA YOSEMITE STOCK
    CHRIS FALKENSTEIN                       PHOTOGRAPHS                P O BOX 16                                                                                 EL PORTAL             CA           95318
    CHRIS HARDLY                                                       379 LAIDLEY STREET                                                                         SAN FRANCISCO         CA           94131
    Chris Heid                                                         4838 Oakton Way                                                                            Greenwood             IN           46143
    CHRIS JONES                                                        35 BALDWIN STREET                                                                          PORT HOPE             ON           L1A 1S3      Canada
    CHRIS LENSCH                                                       7462 MAPLE TERRACE                                                                         TRAVERSE CITY         MI           49686
                                            DBA CHRIS MOSELEY
    CHRIS MOSELEY                           PHOTOGRAPHY                3800 COMMERCE ST, # 120                                                                    DALLAS                TX           75226
    Chris S Pipes                                                      6325 17th Terrace North                                                                    St. Petersburg        FL           33710
    CHRIS SANDERS INC                                                  150 WEST 28TH STREET, # 802 A                                                              NEW YORK              NY           10001
    CHRIS SCHROEDER                                                    413 HOME AVENUE APT 3C                                                                     OAK PARK              IL           60302
    CHRIS SORENSEN PHOTOGRAPHY                                         8117 MANCHESTER AVE #277                                                                   PLAYA DEL RAY         CA           90293
    Chris Spollen                                                      719 Oak Manor Cir.                                                                         Orlando               FL           32825
    CHRIS VALLO INK                                                    1119 BIRCHTON PLACE                                                                        VANDALIA              OH           45377
    CHRIS VAN ALLSBURG INC                                             P O BOX 297                                                                                PRIDES CROSSING       MA           01965
    CHRIS VENTURA                           DBA VENTURAS PAINTING      415 SAXONY COURT                                                                           GLENDORA              NJ           08029
    CHRIS W GALLAGHER                                                  100 VALLEY RD                                                                              NEEDHAM               MA           02492-4723
    CHRIS WELLES FEDER                                                 41 FIFTH AVE                    APT 10 A                                                   NEW YORK              NY           10003
    Chris Whetzel                                                      112 McDougal Rd.                                                                           Bailey                CO           80421
    CHRISIANE BEAUREGARD                                               2324 SAINTE CUNEGONDE                                                                      MONTREAL              QC           H3J 2W3      Canada
    Christ Lutheran Memorial Fund                                      475 North Avenue West                                                                      Brooksville           FL           34601
    CHRIST THE KING CATHOLIC
    CHURCH                                  CHRIST THE KING SCHOOL     701 WALL AVE                                                                               DES MOINES            IA           50315
    CHRIST WILLIAM G                                                   235 E EDGEWOOD PLACE                                                                       SAN ANTONIO           TX           78209
    CHRISTA PRICE                                                      110 STRICKLAND DR.                                                                         SMITHFIELD            NC           27577
    CHRISTA WIGGIN                                                     34 THE AVENUE CIRENCESTER                                                                  GLOUCESTERSHIRE                    GL7 1EJ      United Kingdom
    Christa Yez                                                        842 Coronado Court                                                                         Elgin                 IL           60123
    CHRISTEL SNELSON                                                   114 PAIGE BEND                                                                             HUTTO                 TX           78634
    CHRISTELOW EILEEN                                                  228 PARTRIDGE ROAD                                                                         EAST DUMMERSTON       VT           05346
    CHRISTIAN A SPARKS                                                 320 KEELR WOODS DR                                                                         MARIETTA              GA           30064
    Christian B OBrien                                                 530 VFW Parkway                 #203                                                       West Roxbury          MA           02132
    CHRISTIAN D ORCUTT                                                 93 SACHEM STREET                                                                           QUINCY                MA           02127
    CHRISTIAN FUENFHAUSEN DESIGN                                       166 E 90TH ST 2B                                                                           NEW YORK              NY           10128
    CHRISTIAN HAAS                                                     VOGELWEIDERSTRASSE 7 / 6                                                                   INNSBRUCK                          06020        Austria
    CHRISTIAN HOME EDUCATION ASSN
    OF                                      CENTRAL TEXAS              P O BOX 141998                                                                             AUSTIN                TX           78714-1998
    CHRISTIAN HOME EDUCATION
    FELLOWSHIP                              OF ALABAMA-CHEF            PO BOX 20208                                                                               MONTGOMERY            AL           36120
    CHRISTIAN HOME EDUCATORS
    ASSOC INC                                                          PO BOX 2009                                                                                NORWALK               CA           90651



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                   78 of 488                                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                   86 of      519
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                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName                Address1                           Address2              Address3              City         State       Zip            Country
    CHRISTIAN HOME EDUCATORS OF
    COLORADO                                                               10431 SOUTH PARKER ROAD          ATTN VENDOR CHAIRMAN                            PARKER             CO           80134
    CHRISTIAN HOME EDUCATORS OF
    OHIO                                                                   616 HEBRON ROAD SUITE E                                                          HEATH              OH           43056
    CHRISTIAN HOMESCHOOL
    ASSOCIATION OF                          PENNSYLVANIA                   231 N CHESTNUT ST                                                                PALMYRA            PA           17078
    CHRISTIAN MICHAELS                      DBA RAY STREET STUDIOS         3436 RAY STREET                                                                  SAN DIEGO          CA           92104
    CHRISTIAN NACHTRIEB                                                    19 CAMBRIA STREET APT 1                                                          SOMERVILLE         MA           02143
                                                                           21811 WILDWOOD PARK RD, APT
    CHRISTIAN PURNELL                                                      1216                                                                             RICHMOND           TX           77469
    CHRISTIAN SCIENCE CHURCH                                               175 HUNTINGTON AVE               INCOME ACCOUNTING A52                           BOSTON             MA           02115
    CHRISTIAN SCIENCE MONITOR               COPYRIGHT ADMINISTRATION       210 MASSACHUSETTS AVE, P02-15                                                    BOSTON             MA           02115
    CHRISTIAN SCIENCE PUBLISHING
    SOCIET                                  PERMISSIONS                    PO BOX 1548                                                                      BOSTON             MA           02117
    Christian Standerwick                                                  1512 Laurel Hollow Road                                                          Syosset            NY           11791

    CHRISTIAN TABERNACLE ACADEMY                                           18962 JOHNSON ROAD                                                               LINCOLN            DE           19960
    CHRISTIANA E CLEWS           DBA PIP PRODUCTIONS                       PO BOX 194                                                                       ROLLINSFORD        NH           03869
    CHRISTIANITY TODAY
    INTERNATIONAL                                                          465 GUNDERSEN DRIVE                                                              CAROL STREAM       IL           60188
    Christie Cooley                                                        3156 Paces Mill Road                                                             Atlanta            GA           30339
    CHRISTIE JOY CURTIS                                                    217 N ALTA VISTA AVE                                                             MONROVIA           CA           91016
    Christie L Stapleton                                                   1035 Lombard St                  Unit 13                                         Philadelphia       PA           19147
    CHRISTIE R GREGORY                                                     320 7TH AVENUE #203                                                              BROOKLYN           NY           11215
    Christie Ward & Associates                                             958 E. 132nd Ave                                                                 Thornton           CO           80241
    CHRISTIES IMAGES LTD                                                   213 OXFORD ST                                                                    LONDON             Essex        W1D 2LG      United Kingdom
    Christina Battista                                                     11 Beltran Street, Unit 2                                                        Malden             MA           02148
    CHRISTINA C GORDON                                                     2406 ROBIN ROAD                                                                  MANCHACA           TX           78652
    Christina Coffin                                                       Box 206828                                                                       New Haven          CT           06520
    Christina Emery                                                        2140 N. CLARK STREET APT. 802                                                    CHICAGO            IL           60614
    Christina Fiore                                                        1368 Barclay Ln.                                                                 Deerfield          IL           60015
    Christina Flint                                                        1636 Hills Avenue                                                                Des Plaines        IL           60016
    Christina Fritz                                                        96 Zane Drive                                                                    Sandia Park        NM           87047
    Christina Kapp                                                         1622 Baltimore Ave                                                               Orlando            FL           32803
    Christina Kowalczyk                                                    259 East Daisy Cir.                                                              Romeoville         IL           60446
    CHRISTINA L HULL                                                       1958 MIDDLETON DR                                                                WHEATON            IL           60189
    CHRISTINA M CELIC                                                      1760 SECOND AVENUE 27C                                                           NEW YORK           NY           10128
    Christina Mackay                                                       122 Reed Street                                                                  Lexington          MA           02421
    Christina Mamangakis                                                   206 4TH STREET                   4R                                              JERSEY CITY        NJ           07302
    CHRISTINA MILLS                                                        867 PARADISE VALLEY RD                                                           SHOSHONI           WY           82649
    Christina Morgan                                                       92 Hancock Street                                                                Brooklyn           NY           11216
    Christina Nolan                                                        13 Brookdale Road                                                                Natick             MA           01760
    Christina Pinkerton                                                    605 Manderley Run                                                                Lake Mary          FL           32746
    Christina T Fagan                                                      16363 Bluebell Place                                                             Parker             CO           80134
    CHRISTINA TEJADA                                                       1221 E MADISON #A                                                                SANTA ANA          CA           92707
    Christina Trindle                                                      4415 North Branch Dr                                                             Omaha              NE           68116
    CHRISTINA WARD LITERARY
    AGENCY                                                                 P.O. BOX 7144                                                                    LOWELL             MA           01852
    CHRISTINA WAYMAN                                                       100 RIVERSEDGE DRIVE APT 422                                                     MEDFORD            MA           02155
    Christine A Keys                                                       1119 Autumn Brook Circle                                                         Longwood           FL           32750
    Christine A Kuznia                                                     7550 South Blackhawk Street      12303                                           Englewood          CO           80112
    Christine A. Khedr                                                     619 Kimball Avenue                                                               Westerfield        NJ           07090
    CHRISTINE AMMER 1992 TRUST                                             6 FIFER LANE                                                                     LEXINGTON          MA           02421
    CHRISTINE BRENNAN                                                      10 OLDE LANTERN RD                                                               BEDFORD            NH           03110
    CHRISTINE BUTTERWORTH                                                  OLD BOSWARTHEN FARMHOUSE         NEWBRIDGE PENZANCE                              CORNWALL                        TR20 8PA     United Kingdom
    Christine C Cox                                                        9 South Street                   Unit 3                                          Brighton           MA           02135
    Christine C Wengert                                                    14 Black Swan Drive                                                              South Berwick      ME           03908
    Christine Carbone                                                      75 Highwood Drive                                                                Franklin           MA           02038
    CHRISTINE CARNEY                                                       12 BASKET LN                                                                     HICKSVILLE         NY           11801
    CHRISTINE CHASE                                                        152 ALLEN ROAD UNIT 218                                                          SOUTH BURLINGTON   VT           05403
    Christine Cigliano                                                     1525 West Glenlake                                                               Chicago            IL           60660
    Christine Devall                                                       10 Crystal Creek Tr                                                              Austin             TX           78737
    CHRISTINE E KIEL             DBA IMAGO EDITING SERVICES                310 DOUGLAS AVENUE                                                               WAUKEGAN           IL           60085
    CHRISTINE E MORITZ                                                     7575 CHRISLAND COVE                                                              FALLS CHURCH       VA           22042
    Christine Ely                                                          11624 Parkfield Drive                                                            Austin             TX           78758
    Christine H Kettner                                                    4 Joseph Wallace Drive                                                           Croton-on-Hudson   NY           10520
    CHRISTINE HALLADAY                                                     9631 49TH ST W                                                                   UNIVERSITY PLACE   WA           98467
    Christine Heinzen                                                      16706 Appaloosa Trail                                                            Montverde          FL           34756
    Christine J Davis                                                      196 Maple Ridge Lane                                                             Montgomery         IL           60538-1437
    Christine Jenkins                                                      7901 SW 54 Ave                                                                   Miami              FL           33143



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                      79 of 488                                                                                      1:26 PM
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                                                                                                              PgCreditor
                                                                                                                 87 of      519
                                                                                                                         Matrix
                                                                                                                       First Class Service List


                  CreditorName                        CreditorNoticeName                 Address1                           Address2              Address3              City            State       Zip            Country
    Christine Kaye                                                         6150 Golfview Drive                                                               Gurnee                IL           60031
    CHRISTINE KOSTRUBALA                                                   18281 SWALLING PL NW                                                              POULSBO               WA           98370
    Christine Krones                                                       14 Bradeen Street                #2                                               Roslindale            MA           02131
    CHRISTINE KRONES                                                       29 LOURDES AVENUE APT #2                                                          JAMAICA PLAIN         MA           02130
    Christine Kuznia                                                       7550 S. Blackhawk Street, 1230                                                    Englewood             CO           80112
    Christine L Higgins                                                    30478 Isenberg Lane                                                               Evergreen             CO           80439
    Christine L. Haring-Clausen                                            39w255 Fabyan Parkway                                                             Geneva                IL           60134
    Christine Lansu                                                        3122 Crystal Rock Rd.                                                             Naperville            IL           60564
    CHRISTINE LEHMANN                       DBA PEARL PRODUCTION LLC       3105 SILVERLEAF DR                                                                AUSTIN                TX           78757
    CHRISTINE LOSQ EDUCATION
    ASSOC INC                               DBA CLEA INC                   953 INDUSTRIAL AVE SUITE 129                                                      PALO ALTO             CA           94303
    CHRISTINE LOUISE HIGGINS                                               30478 ISENBERG LANE                                                               EVERGREEN             CO           80439
    Christine Lubejko                                                      6406 Bradley Drive                                                                Woodridge             IL           60517
    Christine M Atkinson                                                   1035 El Paso Drive                                                                Los Angeles           CA           90042
    Christine M Dobberpuhl                                                 431 Putnam Avenue                Unit 1                                           Cambridge             MA           02139
    CHRISTINE M GRIFFITH                                                   17716 LAKE SHORE DRIVE                                                            DRIPPING SPRINGS      TX           78620
    CHRISTINE M LANGE                                                      110 EMERSON CLOSE                                                                 MOOSIC                PA           18507
    Christine M Maleska Tabbert                                            323 S. Bristol Lane                                                               Arlington Heights     IL           60005
    CHRISTINE M SCHULTE                                                    7898 MILLWOOD DRIVE                                                               WESTLAND              MI           48185
    Christine M Stafford                                                   7650 Bush Ave.                                                                    Pasadena              MD           21122
    CHRISTINE MCCORMICK                                                    5759 LINCOLN HWY RD                                                               CHARLESTON            IL           61920

    CHRISTINE MICHAUD                       DBA MICHAUD EDITORIAL SERVICES 27 JAMES RD EAST                                                                  DURHAM                CT           06422
    CHRISTINE MILLER                                                       15 HEMLOCK LANE                                                                   BEDFORD               MA           01730
    CHRISTINE OBERDORF                                                     259 SHORE ACRES RD                                                                ARNOLD                MD           21012
    CHRISTINE OSBORNE PICTURES                                             53-A CRIMSWORTH RD                                                                LONDON ENGLAND                     SW8 4RJ      United Kingdom
    Christine Pelton                                                       1100 Delaney Avenue              Apt. D14                                         Orlando               FL           32806
    Christine Riha                                                         51 Mirasol Drive                                                                  Bourne                MA           02532
    Christine Ruiz                                                         9885 Moss Rose Way                                                                Orlando               FL           32832
    CHRISTINE RUTH VOLL                                                    865 SOLANA DR                                                                     LAFAYETTE             CA           94549
    CHRISTINE S GREGOIRE                                                   1563 CARRIAGE CIRCLE                                                              LIBERTY               MO           64068
    CHRISTINE S LAY                                                        29 SHEELEY LANE                                                                   BOILING SPRINGS       PA           17007
    Christine S Stevens                                                    266 W Fremont Ave                                                                 Elmhurst              IL           60126
    CHRISTINE SCHURMAN                                                     4 TYNGSBORO ROAD                                                                  WESTFORD              MA           01886
    Christine Stanford                                                     P O Box 1595                                                                      Naples                ME           04055
    Christine Uribe                                                        10874 North Polar Lane                                                            Littleton             CO           80125
    Christine Walker                                                       41 Oakland Square Dr                                                              Pembroke              MA           02359
    CHRISTINE WALLACE                                                      17558 RIDGE CREEK ROAD                                                            STRONGVILLE           OH           44136
    Christine Williams                                                     11700 W. Del Rio Lane                                                             Avondale              AZ           85323
    CHRISTINE WYSE CASTING                                                 142 BERKELEY STREET                                                               BOSTON                MA           02116
    Christine Yajko                                                        132 DEXTER AVE.                                                                   WATERTOWN             MA           02472
    CHRISTO THAISS                                                         1815 REGENCY PARKWAY                                                              DIXON                 CA           95620
    CHRISTOHER DORWORTH
    CAMPAIGN                                                               1520 WHITSTABLE COURT                                                             LAKE MARY             FL           32746
    CHRISTOPHER A HARDY                                                    38289 HWY 168                                                                     AUBERRY               CA           93602
    Christopher Allan                                                      910 N. Lakeshore Drive           Apt 2315                                         Chicago               IL           60611
    Christopher Andreotes                                                  9 Post Oak Lane                  Suite #22                                        Natick                MA           01760
    Christopher B Lipsey                                                   10825 Heather Ridge Circle       Apt. 201                                         Orlando               FL           32817
    Christopher Brown                                                      1419 Harrison Ave.                                                                Mamaroneck            NY           10543
    CHRISTOPHER BUCKLEY                                                    40 WALLACKS DRIVE                                                                 STAMFORD              CT           06902
    Christopher C Hubbard                                                  632 W. Birch Avenue                                                               Clovis                CA           93611
    Christopher Cheng                                                      12225 Holly Jane Ct                                                               Orlando               FL           32824
    Christopher Chung                                                      5207 South Atlantic Ave          222                                              New Smyrna            FL           32169
    Christopher Davis                                                      416 Melrose Ave.                 #302                                             Glen Ellyn            IL           60137
    CHRISTOPHER DEAL                                                       327 PARK AVENUE                                                                   SANFORD               NC           27330
    CHRISTOPHER DENISE                                                     31 BLUFF ROAD                                                                     BARRINGTON            RI           02806
    CHRISTOPHER FAIVER                                                     12700 LAKE AVE #2601                                                              LAKEWOOD              OH           44107-6702
    CHRISTOPHER FARBER                                                     243 BULL MILL ROAD                                                                CHESTER               NY           10918
    CHRISTOPHER FORGUES                                                    PO BOX 913                                                                        PROVIDENCE            RI           02901
    Christopher G Cronin                                                   39 Hamblin Road                                                                   Waltham               MA           02453
    Christopher Geissen                                                    2800 Bartons Bluff Ln            APT 602                                          Austin                TX           78746-7931
    CHRISTOPHER GOFF                                                       1950 BRISTOL AVE                                                                  STOCKTON              CA           95204
    Christopher Granniss                                                   3 Fairfield Street                                                                Salem                 MA           01970

    CHRISTOPHER H CHAPMAN                                                  ASHFIELD HOUSE WARDWAY                                                            BRIDGWATER SOMERSET   Somerset     TA6 6PE      United Kingdom
    Christopher Heaney                                                     1885 North Farnsworth Ave.       Apt. # 8                                         Aurora                IL           60505
    Christopher Hogue                                                      323 West 83rd Street             #2B                                              New York              NY           10024
    Christopher J Moisan                                                   101 Lafayette Ave                15h                                              Brooklyn              NY           11217
    Christopher Johnson                                                    32 Williamsburg Lane                                                              Evanston              IL           60203
    CHRISTOPHER K PALMER                                                   1975 VISTA DR                                                                     BOULDER               CO           80304-2318



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                       80 of 488                                                                                         1:26 PM
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                                                                                                              88 of      519
                                                                                                                      Matrix
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2              Address3               City         State       Zip                Country
    CHRISTOPHER KETCHAM                                                    175 PACIFIC STREET # 4                                                            BROOKLYN            NY           11201
    CHRISTOPHER KNIGHT                                                     7 SCOTT ST                                                                        CAMBRIDGE           MA           02138
    CHRISTOPHER L SUMNER SR                                                93 GARDEN DR                                                                      BLAKELY             GA           39823
    CHRISTOPHER LEHMAN                                                     2187 HOLLAND AVE APT 3J                                                           BRONX               NY           10462
    Christopher Leonesio                                                   74 Salisbury Road                                                                 Watertown           MA           02472
    Christopher Linsky                                                     18 Stone Gate Lane                                                                Duxbury             MA           02332
    Christopher M Gonzalez                                                 2016 Melissa Oaks Ln.                                                             Austin              TX           78744
    CHRISTOPHER M HIRSHEIMER                                               101 GEIGEL HILL RD                                                                ERWINNA             PA           18920
    Christopher M Keenon                                                   696 Fieldcrest Dr.               Unit A                                           South Elgin         IL           60177
    CHRISTOPHER M LEE                                                      479 BROYLES STREET SE                                                             ATLANTA             GA           30312-3101
    CHRISTOPHER M MAGADINI                                                 31 QUAKER HILL DRIVE                                                              CROTON ON HUDSON    NY           10520
    Christopher M Miller                                                   13723 Guildhall Cir.                                                              Orlando             FL           32828
    CHRISTOPHER MCNETT                                                     1611 LARKWOOD DRIVE                                                               AUSTIN              TX           78723
    CHRISTOPHER MERCER                                                     408 OLDE TOWNE RD                                                                 SAVANNAH            GA           31410
    CHRISTOPHER MERKNER                                                    8149 EAST 29TH AVENUE                                                             DENVER              CO           80238
    Christopher Nassise                                                    218 Washington St.                                                                North Easton        MA           02356
    CHRISTOPHER NEWALL                                                     17 LONGSDALE SQUARE                                                               LONDON                           N1 1EN       United Kingdom
    CHRISTOPHER P OSTWALD                                                  31510 GERMAINE LANE                                                               WESTLAKE VLG        CA           91361
    Christopher Plampin                                                    122 Dupee Place                                                                   Wilmette            IL           60091
    CHRISTOPHER S ANTHONY                                                  P O BOX 778                                                                       EDWARDS             CO           81632
    CHRISTOPHER S OBRION                                                   2332 SINGING WOODS LN                                                             RICHMOND            VA           23233
                                            DBA SUPERIOR MAINTENANCE &
    CHRISTOPHER S SWINTON                   SUPPLY LLC                     3961 FLOYD ROAD SUITE 300-149                                                     AUSTELL             GA           30106
    CHRISTOPHER SALTER                                                     15650 S JAMES SAPP ROAD          BOOMERANG CREEK                                  HARTSBURG           MO           65039
    CHRISTOPHER SALTER                                                     15650 S JAMES SAPP RD                                                             HARTBURG            MO           65039
    CHRISTOPHER SCOTT ROBINSON                                             385 MAIN ST #2                                                                    LAUREL              MD           20707
    CHRISTOPHER SEAN DARE                                                  1309 MASONIC AVENUE                                                               SAN FRANCISCO       CA           94117
    CHRISTOPHER SILAS NEAL                                                 61 GREENPOINT AVENUE # 410                                                        BROOKLYN            NY           11222
    Christopher Summers                                                    2423 N. Talbott St.                                                               Indianapolis        IN           46205
    Christopher Tabbert                                                    323 S. Bristol Lane                                                               Arlington Heights   IL           60005
    Christopher Tedeschi                                                   195 N. 11th St                                                                    Breese              IL           62230
    CHRISTOPHER V SZWAJA                                                   5518 VANTAGE AVE                                                                  VALLEY VILLAGE      CA           91607
    CHRISTOPHER W BLACKWELL                                                332 W EARLE ST                                                                    GREENVILLE          SC           29609-5425
    Christy Buonomo                                                        3513 Ellen Drive                                                                  Orlando             FL           32806
    CHRISTY CARRASQUILLA                                                   6812 LAZY RIVER WAY                                                               SAN JOSE            CA           95120
    Christy Denman                                                         1140 Heather Lane                                                                 Carrollton          TX           75010
    CHRISTY DESMET                          PARK HALL, DEPT OF ENGLISH     UNIVERSITY OF GEORGIA                                                             ATHENS              GA           30602-6205
    CHRISTY KULCZYCKI                                                      601 WINNIEBAGO TRAIL                                                              BATAVIA             IL           60510
    CHRISTY M ALEXANDER                                                    PO BOX 486                                                                        NEW HEBRON          MS           39140
    Christy M. P. Kutz                                                     786 Logan Blvd N.                                                                 Naples              FL           34119
    CHRISTY MILLER                                                         652 GREEN MEADOW AVENUE                                                           MAITLAND            FL           32751
    Christy Seal                                                           1001 Avenida Serena                                                               Marble Falls        TX           78654
    CHRISTY VANNOY                                                         337 EAST 21ST STREET APT 4G                                                       NEW YORK            NY           10010
    CHRONICLE BOOKS                         ATTN PERMISSIONS               680 SECOND STREET                                                                 SAN FRANCISCO       CA           94107
    CHRONICLE BOOKS LLC                                                    680 SECOND ST                    ATTN SARAH WILLIAMS                              SAN FRANCISCO       CA           94107-2015
    CHRSTIAN HUBER                                                         A 1090                                                                            WEIN                                          Austria
    CHRSTIAN P MOODY                                                       3471 CORNELL PLACE # 3                                                            CINCINNATI          OH           45220
    CHRYSALIS PUBLISHING GROUP                                             BOX 81                                                                            WAYLAND             MA           01778
    CHRYSE E HUTCHINS                                                      2075 CLERMONT ST                                                                  DENVER              CO           80207
    CHRYSLER ELEMENTARY SCHOOL                                             1445 E LAFAYETTE ST                                                               DETROIT             MI           48207
    CHSP TRS LLC                            DBA WEST CHICAGO CITY CENTER   172 WEST ADAMS STREET                                                             CHICAGO             IL           60603
    CHU CAROL                                                              54 LANCASTER TERRACE #3                                                           BROOKLINE           MA           02446
    Chubb Group of Ins. Co.                 (Great Northern Ins. Co.)      15 Mountain View Road                                                             Warren              NJ           07059
    Chubb Specialty Insurance                                              55 Water St., 28th -30th Floor                                                    New York            NY           10041
    Chuck Macdonald                                                        6824 Mt. Quincy Drive                                                             St. Petersburg      FL           33702

    CHUCK PLACE                             DBA CHUCK PLACE PHOTOGRAPHY 2940 LOMITA ROAD                                                                     SANTA BARBARA       CA           93105
    Chun, Ellen Low Lye
    CHURCH OF THE EPIPHANY      EPIPHANY SCHOOL                            8081 SW 54 CT                                                                     MIAMI               FL           33143
                                GOOD SHEPHERD CATHOLIC
    CHURCH OF THE GOOD SHEPHERD SCHOOL                                     701 THIRD STREET                                                                  HILLSBORO           MO           63050
    CHURCH PUBLISHING INC       ATTN ACCOUNTS PAYABLE                      445 FIFTH AVENUE                                                                  NEW YORK            NY           10016
    CHUSMA HOUSE PUBLICATIONS                                              PO BOX 467                                                                        SAN JOSE            CA           95103

    CHUTTAYA UDOMCHAROENCHAIKIT                                            RATCHADAMN ROAD                  159/6 MAHADLEK LUANG 2                           BANGKOK                          10330        Thailand
    CHWAST JACQUELINE                                                      23-83 37TH STREET                                                                 ASTORIA             NY           11105
    Ciara Smyth                                                            141 Dorchester Avenue            Unit 812                                         Boston              MA           02215
    CIARDI FAMILY PUBLISHING TRUST JOHN L CIARDI, TRUSTEE                  966 EAST MESA VISTA DRIVE                                                         IVINS               UT           84738
    CIARDI FAMILY PUBLISHING TRUST ATTN JOHN L CIARDI                      376 WEST 270 SOUTH                                                                IVINS               UT           84738




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                       81 of 488                                                                                          1:26 PM
                                                      12-12171-reg                Doc 136                   Filed 07/15/12 Exhibit
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                                                                                                                       PgCreditor
                                                                                                                          89 of      519
                                                                                                                                  Matrix
                                                                                                                            First Class Service List


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                                                                               Daniel K. Astin, Esq. & John D.
    Ciardi, Ciardi & Astin                  RE Anderson News, LLC, Plaintiff   McLaughlin, Esq.                    919 North Market Street, Suite 700                                         Wilmington          DE           19801
    CIAVONNE CAROL                                                             51 WEST SEVENTH ST                                                                                             SANTA ROSA          CA           95401
    CIBER                                                                      P O BOX 844140                                                                                                 DALLAS              TX           75284-4140
    Cibola High School                                                         1510 Ellison Road NW                                                                                           Albuquerque         NM           87114
    CICS BASIL                                                                 1816 W GARFIELD                                                                                                CHICAGO             IL           60609
    CIDCLI SC                                                                  AVENIDA MEXICO 145-601                                                                                         COL COYOACAN        DF           CP 04100     Mexico
    CIF FOR BANDTEC PROJECT                                                    225 BUSH ST SUITE 500                                                                                          SAN FRANCISCO       CA           94104
    CINCINNATI CITY SCH DIST                                                   P O BOX 5384                        OFFICE OF TRASURER A/P                                                     CINCINNATI          OH           45201
    CINCINNATI HOMESCHOOL                   DBA GREAT HOMESCHOOL
    CONVENTION INC                          CONVENTIONS                        7780 WOODVIEW COURT                                                                                            MAINESVILLE         OH           45039
    CINCO PUNTO PRESS                                                          701 TEXAS AVENUE                                                                                               EL PASO             TX           79901
                                            DBA BLACKS COMPOSITION
    CINDY BLACK                             SERVICES                           446 W KING STREET                                                                                              ABBOTTSTOWN         PA           17301
    CINDY BUCK                                                                 17 ALDERBERRY RD                                                                                               BUZZARDS BAY        MA           02532
    Cindy Graff Cohen                                                          4563 Weeping Willow Drive                                                                                      El Paso             TX           79922
    CINDY H GOODWIN                                                            120 ST CHARLES PLACE                                                                                           MADISON             MS           39110
    Cindy K Parker                                                             1889 Happy Pass                                                                                                Lewisville          TX           75077
    CINDY L HALL                                                               192 OLD STAGE ROAD                                                                                             LAKE LUZERNE        NY           12846
    CINDY L MANIERI                                                            1315 OAKS LN                                                                                                   HILLSBOROUGH        NC           27278
    CINDY L SMITH                                                              16131 E 430 ROAD                                                                                               CLAREMORE           OK           74017
    CINDY LISENKO                                                              7 TOWN GARDEN DR APT # 7                                                                                       LIVERPOOL           NY           13088
    CINDY MARTEN                                                               8924 LA CINTURA CT                                                                                             SAN DIEGO           CA           92129
    CINDY MOSS                                                                 109 COVE POINTE                                                                                                MOUNT HOLLY         NC           28120
    CINDY ODONNELL-ALLEN                                                       1503 AMBROSIA COURT                                                                                            FORT COLLINS        CO           80526
    Cindy Pulver                                                               7139 S. Reed Court                                                                                             Littleton           CO           80128
    Cindy Speagle                                                              4686 Pike 15                                                                                                   Curryville          MO           63339
    Cindy Speranza                                                             9 Meader Pond Road                                                                                             Lincoln             RI           02865
    CINDY ST JOHN                                                              1307 KIRKWOOD APT A                                                                                            AUSTIN              TX           78722
    Cindy Walters                                                              8320 Green Bay Court                                                                                           Orlando             FL           32819
    CINDY WEBSTER                                                              P O BOX 202                                                                                                    TURPIN              OK           73950
    CINDY Y RODRIGUEZ-SANTIAGO                                                 CALLE NATALIA # 67                  COLINAS DE SAN FRANCISCO                                                   ALBONITO            PR           00705
    Cinnamon C Cooper                                                          6224 N. Bell Ave                    Apt. 2                                                                     Chicago             IL           60659
    CINTAS CORPORATION # 701                                                   11 COMMERCIAL ST                                                                                               BRANFORD            CT           06405-2835
    CINTAS CORPORATION #344                                                    P O BOX 7759                                                                                                   ROMEOVILLE          IL           60446-0759
    CINTAS CORPORATION NO 2                 AURORA TRI STATE                   1080 CORPORATE BLVD                                                                                            AURORA              IL           60502
    CINTAS DOCUMENT MANAGEMENT
    LLC                                                                        PO BOX 633842                                                                                                  CINCINNATI          OH           45263
    CINTAS FIRST AID & SAFETY                                                  45-A MILTON DRIVE                                                                                              ASTON               PA           19014
    CINTAS FIRST AID & SAFETY                                                  634 LAMBERT POINTE DR                                                                                          HAZELWOOD           MO           63042
    CINTAS FIRST AID & SAFETY                                                  PO BOX 636525                                                                                                  CINCINNATI          OH           45263-6525
    CINTAS FIRST AID & SAFETY #F48
    TAMPA                                                                      207-E KELSEY LANE                                                                                              TAMPA               FL           33619
    CINTHIA SALINAS                                                            5360 HARTSON                                                                                                   KYLE                TX           78640
    CIOFFARI ANGELINA G                                                        45 AMHERST ROAD                                                                                                WABAN               MA           02468
    CIOFFI ERNEST J                                                            2237 E. OAKDALE STREET                                                                                         PASADENA            CA           91107
    CIRCLE OF SEVEN PRODUCTIONS
    INC                                                                        395 FORD STREET                                                                                                UKIAH               CA           95482
    CIRCUS CENTER                                                              755 FREDERICK STREET                                                                                           SAN FRANCISCO       CA           94117
    CIRCUSCLUB.ORG                                                             3805 STONEYBROOKE COURT                                                                                        ALEXANDRIA          VA           22306
    CIRSTIN ZIMMERMANN                                                         12540 W AUCKLAND                                                                                               BOISE               ID           83709
    CISCO SYSTEMS CAPITAL CORP                                                 FILE # 73226 PO BOX 60000                                                                                      SAN FRANCISCO       CA           94160
    CISCO SYSTEMS INC                       DBA CISCO WEBEX LLC                16720 COLLECTIONS CENTER DR                                                                                    CHICAGO             IL           60693

    CISION US INC                           FORMERLY BACONS INFORMATION        332 S MICHIGAN AVE                                                                                             CHICAGO             IL           60604
    CISION US INC                                                              PO BOX 98869                                                                                                   CHICAGO             IL           60693
    CIT TECHNOLOGY FIN SERV INC                                                21146 NETWORK PLACE                                                                                            CHICAGO             IL           60673-1211
    CITATION GRAPHICS                                                          7025 CENTRAL HWY                                                                                               PENNSAUKEN          NJ           08109
    CITATION GRAPHICS                                                          CENTRAL HIGHWAY                                                                                                PENNSAUKEN          NJ           08109
    Citi
    Citibank                                Fredric Chen                       Citibank (China) Co., Ltd.          17F                                  Excel Center No. 6 Wudinghou Street   Xicheng District    Beijing      100033       China
    Citibank                                                                   Citi Tel Aviv                       21 Haarbaa Street                                                                              Tel Aviv     64739        Israel
    Citibank                                                                   4th Floor                           Citibank Tower                       Oud Metha Road                        PO Box 749          Dubai                     UAE
    Citibank                                Keith Lukasavich                   388 Greenwich Street                                                                                           New York            NY           10013
    Citibank, N.A.
    CITIGROUP (CFPI)
    CITIGROUP GLOBAL MARKETS INC            CITIGROUP                          P O BOX 7247-8336                                                                                              PHILADELPHIA        PA           19170-8336
    Citigroup Global Markets Inc.
    Citigroup Global Markets Limited
    CITIZEN SCHOOLS                                                            308 CONGRESS STREET                                                                                            BOSTON              MA           02210



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                            82 of 488                                                                                                                     1:26 PM
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                                                                                                                  90 of      519
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                                                                                                                     First Class Service List


                CreditorName                       CreditorNoticeName                   Address1                             Address2                      Address3                      City        State       Zip      Country
    CITIZENS ENERGY GROUP                   CITIZENS GAS & COKE UTILITY   P O BOX 7056                                                                                      INDIANAPOLIS        IN           46207-7056
    Citizens Energy Group                                                 2020 N. Meridian Street                                                                           Indianapolis        IN           46202-1393
    CITIZENS ENERGY GROUP                                                 P O BOX 7056                                                                                      INDIANAPOLIS        IN           46207-7056
    CITIZENSHIP COUNTS                                                    4201 N 24TH STREET                                                                                PHOENIX             AZ           85016
    CITRIX ONLINE                                                         FILE 50264                                                                                        LOS ANGELES         CA           90074
    CITRIX SYSTEMS INC                                                    P O BOX 931686                                                                                    ATLANTA             GA           31193-1686
    CITRO JOSEPH                                                          217 ST PAUL ST - #1                                                                               BURLINGTON          VT           05401
    CITY & COUNTY OF DENVER                 MANAGER OF FINANCE            P O BOX 660860                                                                                    DALLAS              TX           75266-0860
    CITY & COUNTY OF DENVER
    TREASURY                                DEPT OF REVENUE               PO BOX 660860                                                                                     DALLAS              TX           75266-0860
    City and County of Denver                                             PO Box 17120                       144 W. Colfax                                                  Denver              CO           80217-0420
    CITY CARTING & RECYCLING                                              P O BOX 17250                                                                                     STAMFORD            CT           06907

    CITY CENTER DEVELOPMENT CO, LP                                        201 MAIN STREET, SUITE 700                                                                        FORT WORTH          TX           76102
                                                                                                             SCHOOL OF EDUC - MATHS IN THE
    CITY COLLEGE OF NEW YORK                                              160 COVENT AVENUE                  CITY                                                           NEW YORK            NY           10031
    CITY COLLEGE OF SAN FRANCISCO
    BKSTRE                        ATTN JULIE GOODIN                       50 PHELAN AVENUE                                                                                  SAN FRANCISCO       CA           94112

    CITY COLLEGE/CITY TECHNOLOGY                                          CONVENT AVE @ 138 ST STEINMAN                                                                     NEW YORK            NY           10031
    CITY COLLEGES OF CHICAGO
    FOUNDATION                                                            7500 S PULASKI L309                                                                               CHICAGO             IL           60652
    CITY DASH INC                                                         P O BOX 75200                                                                                     CINCINNATI          OH           45275-0200
    CITY DIECUTTING INC                                                   1 CORY ROAD STE C                                                                                 MORRISTOWN          NJ           07960
    CITY GADSDEN                            REVENUE DEPARTMENT            P O BOX 267                                                                                       GADSDEN             AL           35902
    CITY GATE INC                                                         3568 BRANDYWINE ST NW                                                                             WASHINGTON          DC           20008
    CITY OF ABERDEEN                        FINANCE DEPARTMENT            200 EAST MARKET ST                                                                                ABERDEEN            WA           98520-5207
    CITY OF ALABASTER                                                     10052 HIGHWAY 119                                                                                 ALABASTER           AL           35007
    CITY OF ALAMOSA                                                       P O BOX 419                                                                                       ALAMOSA             CO           81101
    CITY OF ALBERTVILLE                                                   P O BOX 1248                                                                                      ALBERTVILLE         AL           35950
    CITY OF ALBUQUERQUE                                                   PO BOX 1313                                                                                       ALBUQUERQUE         NM           87103-1313
    CITY OF ALEXANDER                       BUSINESS LICENSE              P O BOX 552                                                                                       ALEXANDER CITY      AL           35011
    CITY OF ANDALUSIA                                                     PO BOX 429                                                                                        ANDALUSIA           AL           36420
    CITY OF APACHE JUNCTION                 TAX AND LICENSING DIVISION    300 E SUPERSTITION BLVD                                                                           APACHE JUNCTION     AZ           85219
    CITY OF ARAB                            TAX TRUST ACCOUNT             P O BOX 830725                     RDS                                BUSINESS LICENSE DEPT       BIRMINGHAM          AL           35283
    CITY OF ARVADA                          TAX AND AUDIT DIVISION        P O BOX 8101                                                                                      ARVADA              CO           80001
    CITY OF ASHLAND                                                       PO BOX 849                                                                                        ASHLAND             AL           36251
    CITY OF ASPEN                                                         130 SOUTH GALENA                                                                                  ASPEN               CO           81611
    CITY OF ATHENS                                                        1806 WILKINSON STREET                                                                             ATHENS              AL           35611
    CITY OF AUBURN                          REVENUE OFFICE                144 TICHENOR AVENUE SUITE 6                                                                       AUBURN              AL           36830
    CITY OF AUBURN                          DEPARTMENT OF EDUCATION       60 COURT STREET P O BOX 800                                                                       AUBURN              ME           04210
    CITY OF AUBURN                                                        144 TICHENOR AVENUE SUITE 6                                                                       AUBURN              AL           36830
    CITY OF AUBURN                                                        60 COURT STREET P O BOX 800                                                                       AUBURN              ME           04210
    CITY OF AURORA                          TAX & LICENSING DIVISION      P O BOX 33001                                                                                     AURORA              CO           80041-3001
    CITY OF AURORA ILLINOIS                                               44 EAST DOWNER PLACE                                                                              AURORA              IL           60507-2067
    CITY OF AURORA-TAX & LICENSING
    OFFI                                    TAX & LICENSING OFFICE        15151 E ALAMEDA PKWY-5TH FL                                                                       AURORA              CO           80012
    CITY OF AUSTIN                                                        P O BOX 2267                                                                                      AUSTIN              TX           78783-2267

    CITY OF AVONDALE                        SALES TAX DEPARTMENT          11465 W CIVIC CENTER DR, STE 270                                                                  AVONDALE            AZ           85323-6808
    CITY OF AZTEC                                                         201 WEST CHACO                                                                                    AZTEC               NM           87410
    CITY OF BATAVIA                                                       100 N ISLAND AVE                                                                                  BATAVIA             IL           60510
    CITY OF BELLINGHAM                      FINANCE DIRECTOR              P O BOX V                                                                                         BELLINGHAM          WA           98227
    CITY OF BENSON                                                        PO BOX 2223                                                                                       BENSON              AZ           85602
    CITY OF BESSEMER                        REVENUE DEPARTMENT            1806- 3RD AVE NORTH                                                                               BESSEMER            AL           35020
    CITY OF BIRMINGHAM                      SALES TAX DEPARTMENT          PO BOX 830638                                                                                     BIRMINGHAM          AL           35283-0638
    CITY OF BLACK DIAMOND                                                 PO BOX 599                                                                                        BLACK DIAMOND       WA           98010
    CITY OF BLOOMFIELD                      915 NORTH FIRST STREET        P O BOX 1839                                                                                      BLOOMFIELD          NM           87413
    CITY OF BOAZ                                                          P O BOX 537                                                                                       BOAZ                AL           35957
    CITY OF BOULDER                         SALES TAX                     P O BOX 791                                                                                       BOULDER             CO           80306-0791
    CITY OF BREMERTON -
    WASHINGTON                                                            345 6TH ST, SUITE 600                                                                             BREMERTON           WA           98337-1873
    CITY OF BRIGHTON                        SALES TAX ADMINISTRATION      22 SO 4TH AVENUE                                                                                  BRIGHTON            CO           80601
                                            SALES TAX ADMINISTRATION
    CITY OF BROOMFIELD                      DIVISION                      P O BOX 407                                                                                       BROOMFIELD          CO           80038-0407
    CITY OF BROWNSVILLE                                                   NO 1 EVENTS CENTER BLVD                                               BROWNSVILLE EVENTS CENTER   BROWNSVILLE         TX           78526
    CITY OF BRUNDIDGE                                                     P O BOX 638                                                                                       BRUNDIDGE           AL           36010-0638
    CITY OF BURIEN                          BUSINESS LICENSE PROCESSING   P O BOX 314                                                                                       BURIEN              WA           98062
    CITY OF BURLINGAME                      BUSINESS LICENSE DEPARTMENT   PO BOX 191                                                                                        BURLINGAME          CA           94011
    CITY OF BURLINGTON                                                    833 S SPRUCE ST                                                                                   BURLINGTON          WA           98233



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                       83 of 488                                                                                               1:26 PM
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                                                                                                               91 of      519
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                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName                Address1                         Address2                         Address3                  City           State       Zip      Country
    CITY OF CANON CITY                                                      P O BOX 17946                                                                                  DENVER             CO           80217-0946
    CITY OF CARBON HILL                                                     P O BOX 519                                                                                    CARBON HILL        AL           35549
    CITY OF CASA GRANDE                                                     510 EAST FLORENCE BOULEVARD                                                                    CASA GRANDE        AZ           85222
    CITY OF CENTRALIA                       OFFICE OF THE CITY CLERK        P O BOX 609                                                                                    CENTRALIA          WA           98531
    CITY OF CHANDLER                        MAIL STOP 701                   PO BOX 15001                                                                                   CHANDLER           AZ           85244-5001

    CITY OF CHANDLER                        LICENSING TAX & UTILITY SERVICES MAIL STOP 701, PO BOX 4008                                                                    CHANDLER           AZ           85244
    CITY OF CHANDLER                                                         PO BOX 15001                                                                                  CHANDLER           AZ           85244-5001
    CITY OF CHEHALIS                                                         1321 S MARKET BLVD                                                                            CHEHALIS           WA           98532
    CITY OF CHICAGO                         DEPT OF REVENUE                  P O BOX 88298                                                                                 CHICAGO            IL           60680-1298
    CITY OF CHICAGO                                                          121 N LASALLE ST, RM 805                                                                      CHICAGO            IL           60602
    CITY OF CHICAGO                                                          P O BOX 88298                                                                                 CHICAGO            IL           60680-1298
    CITY OF CINCINNATI                                                       805 CENTRAL AVENUE, STE 600                                                                   CINCINNATI         OH           45202-5766
    CITY OF CITRONELLE                                                       19135 SOUTH MAIN ST                                                                           CITRONELLE         AL           36522
    CITY OF CLAYTON                                                          1 CHESNUT STREET                                                                              CLAYTON            NM           88415
    CITY OF COLORADO SPRINGS                SALES TAX                        DEPT 2408                                                                                     DENVER             CO           80256
    CITY OF COMMERCE CITY                                                    7887 E 60TH AVE                                                                               COMMERCE CITY      CO           80022-4199
    CITY OF CORTEZ                                                           210 EAST MAIN STREET                                                                          CORTEZ             CO           81321
    CITY OF CULLMAN                                                          P O BOX 278                                                                                   CULLMAN            AL           35056-0278
    CITY OF DAPHNE                                                           PO BOX 1047                                                                                   DAPHNE             AL           36526
    CITY OF DECATUR                         BUSINESS LICENSE DEPT R5         PO BOX 830525                                                                                 BIRMINGHAM         AL           35283-0525
    CITY OF DELTA                                                            360 MAIN STREET                                                                               DELTA              CO           81416
    CITY OF DEMING                                                           309 SOUTH GOLD, P O BOX 706                                                                   DEMING             NM           88031
    CITY OF DEMOPOLIS                       PO BOX 580                       211 NORTH WALNUT AVENUE                                                                       DEMOPOLIS          AL           36732
    CITY OF DES MOINES                                                       21630 11th AVENUE SOUTH                                                                       DES MOINES         WA           98198
    CITY OF DOUGLAS                                                          425 10TH ST                                                                                   DOUGLAS            AZ           85607
    CITY OF DOVER                                                            710 WILLIAM STREET                                                                            DOVER              DE           19904
    CITY OF DURANGO                         SALES/ USE TAX RETURN            949 EAST SECOND AVENUE                                                                        DURANGO            CO           81301-5109
    CITY OF EDMONDS                         CITY CLERKS OFFICE               121 5th AVE N                                                     BUSINESS LICENSE DIVISION   EDMONDS            WA           98020
    CITY OF EL MIRAGE                                                        P O BOX 1088                                                                                  EL MIRAGE          AZ           85335
    CITY OF ENGLEWOOD                                                        P O BOX 2900                                                                                  ENGLEWOOD          CO           80150-2900
    CITY OF ENTERPRISE                      REVENUE DEPARTMENT               PO BOX 311000                                                                                 ENTERPRISE         AL           36331
    CITY OF EUFAULA                                                          PO BOX 219                                                                                    EUFAULA            AL           36027
    CITY OF EVANSTON                        USE 4-1392                       P O BOX 4501                    VEHICLE STICKERS                                              CAROL STREAM       IL           60197
    CITY OF EVANSTON                        COLLECTORS OFFICE                2100 RIDGE AVENUE                                                                             EVANSTON           IL           60201-2716
    CITY OF EVANSTON                                                         P O BOX 4501                    VEHICLE STICKERS                                              CAROL STREAM       IL           60197
    CITY OF EVERETT                                                          P O BOX 3587                                                                                  SEATTLE            WA           98124-3587
    CITY OF FAIRBANKS, AK                                                    800 CUSHMAN ST                                                                                FAIRBANKS          AK           99701
    CITY OF FAIRFIELD                                                        PO DRAWER 437                                                                                 FAIRFIELD          AL           35064
    CITY OF FAIRHOPE                        REVENUE OFFICER                  P O BOX 429                                                                                   FAIRHOPE           AL           36533
    CITY OF FALL RIVER                      FALL RIVER PUBLIC SCHOOLS        417 ROCK STREET                                                                               FALL RIVER         MA           02720
    CITY OF FALLON                          CITY CLERKS OFFICE               55 WEST WILLIAMS AVENUE                                                                       FALLON             NV           89406
    CITY OF FARMERS BRANCH                                                   P O BOX 819010                                                                                FARMERS BRANCH     TX           75381-9010
    CITY OF FEDERAL WAY                                                      PO BOX 9718                                                                                   FEDERAL WAY        WA           98063
    CITY OF FITCHBURG                                                        718 MAIN STREET                                                                               FITCHBURG          MA           01420
    CITY OF FLAGSTAFF                                                        PO BOX 22518                                                                                  FLAGSTAFF          AZ           86002-2518
    CITY OF FLORENCE                        CITY CLERKS OFFICE               P O BOX 98                                                                                    FLORENCE           AL           35631-0098
    CITY OF FOLSOM                          BUSINESS LICENSE DEPARTMENT      50 NATOMA STREET                                                                              FOLSOM             CA           95630
    CITY OF FORT COLLINS                    DEPARTMENT OF FINANCE            P O BOX 440                                                                                   FORT COLLINS       CO           80522-0439
    CITY OF FORT WORTH                      1000 THROCKMORTON ST             DEPT OF DEVELOPMENT                                                                           FORT WORTH         TX           76102
    CITY OF GAINESVILLE                     GEORGIA MOUNTAIN CENTER          301 MAIN STREET SW                                                                            GAINESVILLE        GA           30501
    CITY OF GALLUP                          PO BOX 1270                      110 W AZTEC                                                                                   GALLUP             NM           87302
    CITY OF GENEVA                                                           15 SOUTH FIRST STREET                                                                         GENEVA             IL           60134
    CITY OF GENEVA                                                           22 SOUTH FIRST STREET                                                                         GENEVA             IL           60134
    CITY OF GLENDALE                                                         PO BOX 800                                                                                    GLENDALE           AZ           85311
    CITY OF GLENWOOD SPRINGS                SALES/ USE TAX RETURN            P O BOX 458                                                                                   GLENWOOD SPRINGS   CO           81602-0458
    CITY OF GOLDEN                          SALES TAX DEPARTMENT             P O BOX 5885                                                                                  DANVER             CO           80217-5885
                                            CUSTOMER SERVICE DIVISION
    CITY OF GRAND JUNCTION                  (SALES TAX)                      250 NORTH FIFTH STREET                                                                        GRAND JUNCTION     CO           81501-2668
    CITY OF GREELEY                         SALES/ USE TAX RETURN            1000 10TH STREET                                                                              GREELEY            CO           80631
    CITY OF GREENSBORO                                                       PO DRAWER 77                                                                                  GREENSBORO         AL           36744
    CITY OF GREENVILLE                                                       P O BOX 158                                                                                   GREENVILLE         AL           36037-0158
    CITY OF GULF SHORES                     REVENUE DEPARTMENT               PO BOX 4089                                                                                   GULF SHORES        AL           36547
    CITY OF GUNNISON                                                         P O BOX 239                                                                                   GUNNISON           CO           81230
    CITY OF GUNTERSVILLE                    MUNICIPAL BUILDING               341 GUNTER AVE                                                                                GUNTERSVILLE       AL           35976
    CITY OF HEFLIN                                                           BUSINESS LICENSE, P O BOX 128                                                                 HEFLIN             AL           36264
    CITY OF HESPERIA                        BUSINESS LICENSES                9700 SEVENTH AVENUE                                                                           HESPERIA           CA           92345
    CITY OF HOMEWOOD                        BUSINESS LICENSE DEPT            PO BOX 11407                                                                                  HOMEWOOD           AL           35246
    CITY OF HOOVER                                                           PO BOX 11407                                                                                  HOOVER             AL           35246
    CITY OF HUNTINGTON                                                       PO BOX 1659                                                                                   HUNTINGTON         WV           25717-1659



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                    84 of 488                                                                                                1:26 PM
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                                                                                                              PgCreditor
                                                                                                                 92 of      519
                                                                                                                         Matrix
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                        Address2                        Address3            City        State       Zip      Country
                                                                               101 SOUTH 20TH STREET, P O BOX
    CITY OF IRONDALE                                                           100188                                                                                  IRONDALE        AL           35210
    CITY OF ISSAQUAH                                                           P O BOX 1307                                                       FINANCE DEPARTMENT   ISSAQUAH        WA           98027-1307
    CITY OF KANSAS CITY                     CITY TREASURER                     P O BOX 840101                                                                          KANSAS CITY     MO           64184-0101
    CITY OF KELSO                                                              P O BOX 819                                                                             KELSO           WA           98626
    CITY OF KENNESAW                                                           2529 J.O. STEPHENSON AVENUE                                                             KENNESAW        GA           30144-2780
    CITY OF KENNESAW                                                           2529 J O STEPHENSON AVE          PROPERTY TAX DEPARTMENT                                KENNESAW        GA           30144-2780
    CITY OF LACEY                                                              PO BOX 3400                                                                             LACEY           WA           98509-3400

    CITY OF LAFAYETTE                       FINANCE DEPT, SALES TAX DIVISION
                                                                           P O BOX 250                                                                                 LAFAYETTE       CO           80026-0250
    CITY OF LAKEWOOD                        DEPARTMENT OF FINANCE          480 SOUTH ALLISON PARKWAY                                                                   LAKEWOOD        CO           80226-9450
    CITY OF LAMAR                           LICENSING DEPARTMENT           102 EAST PARMENTER STREET                                                                   LAMAR           CO           81052-3239
    CITY OF LAWRENCE                        LAWRENCE PUBLIC SCHOOLS        P O BOX 1498, 255 ESSEX STREET                                                              LAWRENCE        MA           01840
    CITY OF LEEDS                                                          1040 PARK DRIVE                                                                             LEEDS           AL           35094
    CITY OF LEWISVILLE                                                     P O BOX 299002                                                                              LEWISVILLE      TX           75029-9002
    CITY OF LEWISVILLE                                                     P O BOX 951917                                                                              DALLAS          TX           75395-1917
    CITY OF LINDEN                                                         211 NORTH MAIN STREET                                                                       LINDEN          AL           36748
    CITY OF LINEVILLE                                                      P O BOX 247                                                                                 LINEVILLE       AL           36266-0247
    CITY OF LITCHFIELD PARK                                                214 WEST WIGWAM BLVD                                                                        LITCHFIELD      AZ           85340
                                                                           500 WEST MARKHAM STREET RM
    CITY OF LITTLE ROCK                     TREASURY MANAGEMENT DIVISION 100                                                                                           LITTLE ROCK     AR           72201
    CITY OF LITTLETON                       SALES/ USE TAX RETURN          2255 WEST BARRY AVENUE                                                                      DENVER          CO           80165-0002
    CITY OF LONE TREE                                                      DEPARTMENT 1882                                                                             DENVER          CO           80921-1882
    CITY OF LONG BEACH                                                     333 W OCEAN BLVD                     4TH FLOOR CITY HALL                                    LONG BEACH      CA           90802
                                            DEPT OF FINANCE, SALES/USE TAX
    CITY OF LONGMONT                        DIVISION                       CIVIC CENTER COMPLEX                                                                        LONGMONT        CO           80501
    CITY OF LONGVIEW                        1525 BROADWAY                  P O BOX 128                                                                                 LONGVIEW        WA           98632
    CITY OF LOS ANGELES                                                    P O BOX 53200                                                                               LOS ANGELES     CA           90053-0200

    CITY OF LOUISVILLE                      SALES TAX AND LICENSING DIVISION 749 MAIN STREET                                                                           LOUISVILLE      CO           80027
    CITY OF LOVELAND                        SALES TAX ADMINISTRATION         P O BOX 845                                                                               LOVELAND        CO           80539-0845
                                                                             19100 44TH AVENUE W, P O BOX
    CITY OF LYNWOOD                                                          5008                                                                                      LYNNWOOD        WA           98046-5008
    CITY OF MADISON                         ATTN TAX COLLECTOR               PO BOX 99                                                                                 MADISON         AL           35758
    CITY OF MCALLEN                         DBA MCALLEN PUBLIC LIBRARY       4001 N 23RD STREET                                                                        MCCALLEN        TX           78504
    CITY OF MEMPHIS BOARD OF                FORUM FOR INNOVATIVE
    EDUCATION                               LEADERSHIP                       2485 UNION AVENUE                  ATTN MYRA I WHITNEY                                    MEMPHIS         TN           38112
    CITY OF MERCER ISLAND                                                    9611 SE 36TH ST                                                                           MERCER ISLAND   WA           98040-3732
    CITY OF MESA                            TAX AND LICENSING                P O BOX 1466                                                                              MESA            AZ           85211-1466
    CITY OF MESA                                                             PO BOX 16350                                                                              MESA            AZ           85211
    CITY OF MONTEVALLO                      RDS - BUSINESS LICENSE DEPT      P O BOX 830725                                                                            BIRMINGHAM      AL           35283
    CITY OF MONTGOMERY                      C/O COMPASS BANK                 PO BOX 830469                                                                             BIRMINGHAM      AL           35283-0469
    CITY OF MONTGOMERY                      ATTN CONNIE THOMAS               P O BOX 1111                                                                              MONTGOMERY      AL           36101
    CITY OF MONTGOMERY                                                       PO BOX 830469                                                                             BIRMINGHAM      AL           35283-0469
    CITY OF MONTROSE                                                         P O BOX 790                                                                               MONTROSE        CO           81402-0790
    CITY OF MOULTON                                                          14220 COURT STREET                                                                        MOULTON         AL           35650
    CITY OF MOUNTAIN BROOK                  REVENUE DEPARTMENT               PO BOX 130009                                                                             MOUTAIN BROOK   AL           35213
                                            DEPT OF FINANCE A/P - ATTN EVE
    CITY OF NEW HAVEN                       JACOBS                           200 ORANGE STREET                                                                         NEW HAVEN       CT           06510
    CITY OF NEW ORLEANS                     BUREAU OF REVENUE                P O BOX 61840                                                                             NEW ORLEANS     LA           70161-1840
    CITY OF NOGALES                                                          777 NORTH GRAND AVENUE                                                                    NOGALES         AZ           85621
    CITY OF NORTHGLENN                      11701 COMMUNITY CENTER DRIVE PO BOX 330061                                                                                 NORTHGLENN      CO           80233
    CITY OF OAK HARBOR                                                       865 SE BARRINGTON DR                                                                      OAK HARBOR      WA           98277-4092
    CITY OF OLYMPIA                         CITY TREASURER                   PO BOX 2009                                                                               OLYMPIA         WA           98507
    CITY OF ONEONTA                                                          202 3rd AVE EAST                                                                          ONEONTA         AL           35121
    CITY OF OPELIKA                         REVENUE                          PO BOX 390                                                                                OPELIKA         AL           36803
    CITY OF OTHELLO                                                          500 E MAIN STREET                                                                         OTHELLO         WA           99344
    CITY OF OXFORD                                                           PO BOX 3383                                                                               OXFORD          AL           36203
    CITY OF OZARK                                                            PO BOX 1987                                                                               OZARK           AL           36361
    CITY OF PACIFIC                                                          1003RD AVENUE SOUTHEAST                                                                   PACIFIC         WA           98047-1349
    CITY OF PEORIA                          TAX AND LICENSE DIVISION         8401 W MONROE STREET                                                                      PEORIA          AZ           85345
    CITY OF PHENIX CITY                     DEPARTMENT OF FINANCE            601 12TH STREET                                                                           PHENIX          AL           36867
    CITY OF PHILADELPHIA                    DEPARTMENT OF REVENUE            PO BOX 1393                                                                               PHILADELPHIA    PA           19105
    CITY OF PIEDMONT                                                         P O BOX 112                                                                               PIEDMONT        AL           36272
    CITY OF PORT ORCHARD                    TREASURERS OFFICE                216 PROSPECT ST                                                                           PORT ORCHARD    WA           98366
    CITY OF PORTALES                                                         100 WEST FIRST                                                                            PORTALES        NM           88123
    CITY OF PORTLAND OREGON                 REVENUE BUREAU                   111 SW COLUMBIA SUITE 600                                                                 PROTLAND        OR           97201
    CITY OF PORTSMOUTH SCHOOL               PORTSMOUTH EDUCATION
    DISTRICT                                PARTNERSHIP                      50 CLOUGH DRIVE                                                                           PORTSMOUTH      NH           03801
    CITY OF POULSBO WA                                                       P. O. BOX 98                                                                              POULSBO         WA           98370



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                       85 of 488                                                                                      1:26 PM
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                                                                                                                    93 of      519
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                                                                                                                  First Class Service List


              CreditorName                         CreditorNoticeName                      Address1                    Address2                         Address3                   City          State       Zip      Country
    CITY OF PRESCOTT                        SALES TAX DEPARTMENT             PO BOX 2077                                                                                PRESCOTT            AZ           86302
                                            SALES TAX DIVISION DEPT OF
    CITY OF PUEBLO                          FINANCE                          CITY HALL, P O BOX 1427                                                                    PUEBLO              CO           81002-1427
    CITY OF RAINBOW CITY                    REVENUE DEPARTMENT               3700 RAINBOW DRIVE                                                                         RANBOW CITY         AL           35906
    CITY OF RANCHO CUCAMONGA                                                 10500 CIVIC CENTER DR                                                                      RANCHO CUCAMONGA    CA           91730
    CITY OF READING                         TAX ADMINISTRATION               815 WASHINGTON STREET                                                                      READING             PA           19601-3690
    CITY OF RENTON                          LICENSING DIVISION               1055 S GRADY WAY                                                                           RENTON              WA           98055
    CITY OF RIFLE                                                            P O BOX 1908                                                                               RIFLE               CO           81650
    CITY OF RIO RANCHO                                                       3200 CIVIC CENTER CIRCLE NE                                     OFFICE OF THE CITY CLERK   RIO RANCHO          NM           87144
    CITY OF ROBERTSDALE                     REVENUE DEPARTMENT               PO BOX 429                                                                                 ROBERTSDALE         AL           36567
    CITY OF ROLLING MEADOWS                                                  3600 KIRCHOFF RD                                                                           ROLLING MEADOWS     IL           60008
    CITY OF RUSSELVILLE                     LICENSE DEPARTMENT               PO BOX 1000                                                                                RUSSELVILLE         AL           35653

    CITY OF RUTLAND PUBLIC SCHOOLS                                           6 CHURCH STREET                                                                            RUTLAND             VT           05701
    City of San Bernadino                   Business Registration Div        PO Box 1318                                                                                San Bernardino      CA           92402-1318
    CITY OF SAN BERNARDINO                                                   300 NORTH D STREET                                                                         SAN BERNARDINO      CA           92418
    City of San Bernardino                                                   PO Box 1318                                                                                San Bernardino      CA           92402
    CITY OF SAN BERNARDINO                                                   PO BOX 1559                                                                                SAN BERNARDINO      CA           92402
    CITY OF SAN LUIS OBISPO                                                  P O BOX 8112                                                                               SAN LUIS OBISPO     CA           93403-8112
    CITY OF SARALAND                        BUSINESS LICENSE SECTION         716 HIGHWAY 43 SOUTH                                                                       SARALAND            AL           36571
    CITY OF SCOTTSDALE                      TAX AND LICENSE                  P O BOX 1586                                                                               SCOTTSDALE          AZ           85252-1570
    CITY OF SCOTTSDALE                      CUSTOMER SERVICE DIVISION        PO BOX 1600                                                                                SCOTTSDALE          AZ           85252
    CITY OF SCOTTSDALE                                                       P O BOX 1586                                                                               SCOTTSDALE          AZ           85252-1570
    CITY OF SCOTTSDALE                                                       PO BOX 1600                                                                                SCOTTSDALE          AZ           85252
    CITY OF SEATTLE                         TAX AUDIT                        700 5TH AVENUE STE 4250                                                                    SEATTLE             WA           98124-4214

    CITY OF SEATTLE                         REVENUE AND CONSUMER AFFAIRS PO BOX 34904                                                                                   SEATTLE             WA           98124-1904
    CITY OF SEATTLE                                                      700 5TH AVENUE STE 4250                                                                        SEATTLE             WA           98124-4214
    CITY OF SEATTLE                                                      PO BOX 34904                                                                                   SEATTLE             WA           98124-1904
    CITY OF SEDRO WOOLLEY                                                325 METCALF ST                                                                                 SEDRO WOOLLEY       WA           98284
    CITY OF SHELTON                                                      525 W COTA STREET                                                                              SHELTON             WA           98584
    CITY OF SMYRNA                          BUSINESS LICENSE             2800 KING ST P O BOX 1226                                                                      SMYRNA              GA           30081
    CITY OF SNOQUALMIE                                                   P O BOX 987                                                                                    SNOQUALMIE          WA           98065-0987
    CITY OF SPANISH FORT                                                 P O BOX 7226                                                                                   SPANISH FORT        AL           36577
    CITY OF SPOKANE                                                      808 W SPOKANE FALLS BLVD                                                                       SPOKANE             WA           99201
    CITY OF SPRINGFIELD                     SPRINGFIELD PUBLIC SCHOOLS   195 STATE STREET                                                                               SPRINGFIELD         MA           01102
    CITY OF STAMFORD                                                     888 WASHINGTON BLVD                                                                            STAMFORD            CT           06904
                                            SALES TAX RETURN REVENUE
    CITY OF STEAMBOAT SPRINGS               SERVICES                     P O BOX 772869                                                                                 STEAMBOAT SPRINGS   CO           80477
    CITY OF STERLING                                                     P O BOX 4000                                                                                   STERLING            CO           80751
    CITY OF SUMITON                                                      PO BOX 10                                                                                      SUMITON             AL           35148
                                            ATTN BUSINESS LICENSE
    CITY OF SURPRISE                        DEPARTMENT                   16000 N CIVIC CENTER PLAZA                                                                     SURPRISE            AZ           85374
                                            FINANCE DEPT/TAX & LICENSE
    CITY OF TACOMA                          DIVISION                     PO BOX 11640                                                                                   TACOMA              WA           98411
    CITY OF TALLADEGA                                                    PO BOX 498                                                                                     TALLADEGA           AL           35161
    CITY OF TALLASSEE                                                    3 FREEMAN AVENUE                                                                               TALLASSEE           AL           36078
    CITY OF TEHACHAPI                                                    115 SOUTH ROBINSON STREET                                                                      TEHACHAPI           CA           93561
    CITY OF TEMPE                           TAX AND LICENSE DIVISION     P O BOX 29618                                                                                  PHOENIX             AZ           85038-9618

    CITY OF THOMASVILLE                                                      LICENCE DEPARTMENT, P O BOX 127                                                            THOMASVILLE         AL           36784-0127
    CITY OF THORNTON                        SALES TAX DIVISION               DEPT 222                                                                                   DENVER              CO           80291-0222
    CITY OF TOLEDO INCOME TAX                                                1 GOVERNMENT CTR, STE 2070                                                                 TOLEDO              OH           43604
    City of Troy                            RE Water Tower on Third Street                                                                                              Troy                MO
    CITY OF TROY                            ATTN LICENSING DEPT              PO BOX 549                                                                                 TROY                AL           36081
    CITY OF TROY                                                             200 MAIN STREET                                                                            TROY                MO           63379
    CITY OF TROY                                                             PO BOX 549                                                                                 TROY                AL           36081
    CITY OF TRUSSVILLE                                                       P O BOX 159                                                                                TRUSSVILLE          AL           35173
    CITY OF TUCSON                          LICENSE SECTION                  255 WEST ALAMEDA                                                                           TUCSON              AZ           85701
    CITY OF TUCSON                          COLLECTIONS                      P O BOX 27320                                                                              TUCSON              AZ           85726
    CITY OF TUCSON                                                           255 WEST ALAMEDA                                                                           TUCSON              AZ           85701
    CITY OF TUCSON                                                           P O BOX 27320                                                                              TUCSON              AZ           85726
                                                                             3715 BRIDGEPORT WAY WEST, STE
    CITY OF UNIVERSITY PLACE                                                 B1                                                                                         UNIVERSITY PLACE    WA           98466-4456

    CITY OF WESTERVILLE INCOME TAX                                           21 S STATE STREET                                                                          WESTERVILLE         OH           43081
    CITY OF WESTMINSTER                                                      P O BOX 17107                                                                              DENVER              CO           80217-7102
    CITY OF WETUMPKA                                                         P O BOX 1180                                                                               WETUMPKA            AL           36092
    CITY OF WHEAT RIDGE            SALES/USE TAX DIVISION                    7500 W 29TH AVENUE                                                                         WHEAT RIDGE         CO           80033
    CITY OF WILLIAMS                                                         113 S 1ST STREET                                                                           WILLIAMS            AZ           86046



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                  86 of 488                                                                                                1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                             94 of      519
                                                                                                                     Matrix
                                                                                                                   First Class Service List


                CreditorName                       CreditorNoticeName                    Address1                       Address2                        Address3               City           State       Zip                Country
    CITY OF WINFIELD                        LICENCE DEPARTMENT             P O BOX 1438                                                                              WINFIELD            AL           35594
    CITY OF WOODLAND                        OFFICE OF CLERK-TREASURER      P O BOX 9                                                                                 WOODLAND            WA           98674
    CITY OF WOODLAND PLARK                  FINANCE DEPARTMENT             P O BOX 9045                                                                              WOODLAND PARK       CO           80866-9045
    City Park Golf Course                                                  2500 York Street                                                                          Denver              CO           80205
    CITY SCHOOLS OF DECATUR                                                758 SCOTT BLVD                                                                            DECATUR             GA           30030
    CITY TREASURER                          COLUMBUS INCOME TAX DIV        P O BOX 182158                                                                            COLUMBUS            OH           43218-2158
    CITY TREASURER                          CITY OF SAN DIEGO              PO BOX 121536                   OFFICE OF THE CITY TREASURER       BUSINESS TAX PROGRAM   SAN DIEGO           CA           92112
    CITY TREASURER                                                         P O BOX 182158                                                                            COLUMBUS            OH           43218-2158
    CITY TREASURER                                                         PO BOX 1967                                                                               OLYMPIA             WA           98507
    CITY UNIVERSITY OF NEW YORK             LEHMAN COLLEGE                 250 BEDFORD PARK BLVD                                                                     BRONX               NY           10468
                                            ATTN SUZANNE LIBFELD - NYC
    CITY UNIVERSITY OF NEW YORK             MATHS PROJECT                  250 BEDFORD PARK BLVD                                                                     BRONX               NY           10468
    CITY YEAR INC                                                          848 ELM STREET STE 201                                                                    MANCHESTER          NH           03101
    CJRD LP                                 DBA CJD LLC                    P O BOX 177                                                                               ST PETERS           MO           63376
    CK MEDIA                                                               14850 PONY EXPRESS ROAD                                                                   BLUFFDALE           UT           84065

    CKC ACCOUNTING CO OF FOREIGN            INVESTED CORPORATION           102-1602 SK LEADERS VIEW        680 YEOKSAM-DONG GANGNAM-GU                               SEOUL                            135-916      South Korea
    Cl Boynton                                                             702 Main Street                                                                           Bolton              MA           01740
    CL PRINTING INC                         DBA COAST LITHO                848 60TH STREET                                                                           OAKLAND             CA           94608
    CLAGGETT MARY FRANCES                                                  8165 KENNEDY RD                                                                           SEBASTOPOL          CA           95472
    CLAIRE B PIDDOCK                                                       88 PIDDOCK LANE                                                                           FAYETTE             ME           04349
    Claire Boivin                                                          1105 Lexington Street           #11-7                                                     Waltham             MA           02452
    CLAIRE CARLEVARO                                                       2504 LEAVENWORTH ST                                                                       SAN FRANCISCO       CA           94133
    CLAIRE DANIEL                                                          25 SWANSON RD                                                                             TRENTON             ME           04605
                                                                                                                                                                     ENNISCORTHY CO
    CLAIRE KEEGAN                                                          37 GREENVILLE CT THE MOYNE                                                                WEXFORD                                       Ireland
    CLAIRE LEWIS                                                           23329 OSCAR RD                                                                            SPICEWOOD           TX           78669
    CLAIRE LLEWELLYN                                                       27 NORTH ROAD AVENUE                                                                      HERTFORD                         SG14 2BT     United Kingdom
    CLAIRE M BATT                                                          205 CLINTON RD                                                                            LEXINGTON KY        KY           40502
    CLAIRE M RAZZA                                                         6914 BELL BLVD                                                                            BAYSIDE             NY           11364
    Claire Metz                                                            3211 Johnson Avenue                                                                       Bronx               NY           10463
    CLAIRE MOWBRAY GOLDING                                                 86 HUBBARDSTON ROAD                                                                       PRINCETON           MA           01541
    CLAMOUR CREATIVE INC                                                   89 MCCAUL ST #516                                                                         TORONTO             ON           M5T 2X3      Canada
    CLANCY PRINTING COMPANY                                                350 W 5TH AVENUE                                                                          EUGENE              OR           97401
    CLAPP NICHOLAS                                                         PO BOX 1019                                                                               BORREGO SPRINGS     CA           92004
    CLARA ELIZABETH CASTILLO
    ALVAREZ                                                                AV DIVISION DEL NORTE 2813 COL                                                            COYOACAN                                      Mexico
    Clara Harvey                                                           16-J Bicentennial Ct.                                                                     Mansfield           MA           02048
                                                                           CALLE6 NO 6-86 ED VERSAILLES APT
    CLARA INES RICO ZULUAGA                                                401                                                                                       CARTEGENA BOLIVAR   BOLIVAR                   Colombia
    CLARA SOUTHERLAND                                                      45474 W 41ST SOUTH                                                                        JENNINGS            OK           74038
    CLARE BEAMS                                                            40 DUNCAN DRIVE                                                                           NORWELL             MA           02061
    CLARE CAVANAGH                                                         4130 CROWE HALL                  SLAVIC DEPARTMENT                                        EVANSTON            IL           60208
    CLARE CAVANAGH                                                         930 C IVY LANE                                                                            DEERFIELD           IL           60015
    CLARE CLARK                                                            8 BRODRICK ROAD                                                                           LONDON                           SW17 7DZ     United Kingdom
    CLARE MOEN                                                             837 PROSPECT PLACE APT 3                                                                  BROOKLYN            NY           11216
    CLARE SKEATS                                                           6 WINDMILL STREET                                                                         LONDON                           WIT 2JB      United Kingdom
    CLARE SYMONETTE                                                        # 9 HARBOUR MEWS CLUB                                                                     NASSAU                                        Bahamas
    CLAREMONT GRADUATE
    UNIVERSITY                              OFFICE OF FINANCIAL SERVICES   101 SOUTH MILLS AVENUE                                                                    CLAREMONT           CA           91711
    Clarence L Thacker                                                     23 Adams Ave                                                                              Kissimmee           FL           34744
    CLARION GRAPHICS, INC.                                                 6706 OLD STONEHOUSE LANE                                                                  NEW MARKET          MD           21774

    CLARION UNVERSITY OF PA                 UNIVERSITY BOOK CENTER         GEMMELL COMPLEX PAYNE STREET                                                              CLARION             PA           16214
    Clarissa Erving                                                        97 Warren St                                                                              West Medford        MA           02155
    CLARITY INNOVATIONS INC                                                1001 SE WATER AVE STE 250                                                                 PORTLAND            OR           97214
    CLARK ALDRICH                                                          265 WARPAS ROAD                                                                           MADISON             CT           06443
    CLARK ANDREW                                                           1011 BAYBERRY ROAD                                                                        LAKE OSWEGO         OR           97034

    CLARK ATLANTA UNIVERSITY                                               223 JAMES P BRAWLEY DRIVE, SW                                                             ATLANTA             GA           30314
                                            NORTHWEST CAREER AND
    CLARK COUNTY SCH DIST                   TECHICAL ACADEMY               8200 W TROPICAL PKWY                                                                      LAS VEGAS           NV           89149
    CLARK COUNTY SCHOOL DISTRICT            DBA VEGAS PBS                  3050 E FLAMINGO RD                                                                        LAS VEGAS           NV           89121
                                            CLARK WORLDWIDE
    CLARK GROUP INC                         TRANSPORTATION                 P O BOX 85093                                                                             CHICAGO             IL           60680-0851
    CLARK HARTNESS MANAGEMENT
    CO                                                                     PO BOX 287                                                                                STARKVILLE          MS           39760
    CLARK JOEL                                                             3612 PARAMOUNT ROAD                                                                       FAIRFAX             VA           22033
    CLARK STATE COMMUNITY
    COLLEGE                                 BOOKSTORE                      P O BOX 570                                                                               SPRINGFIELD         OH           45505



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   87 of 488                                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             PgCreditor
                                                                                                                95 of      519
                                                                                                                        Matrix
                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName                Address1                         Address2                        Address3                 City               State       Zip               Country
    CLARK TALENT LLC                                                       4700 MILLENIA BLVD STE 175                                                                    ORLANDO                FL           32839-6015
    CLARK UNDERBAKKE                                                       4300 7TH AVENUE SOUTH                                                                         BIRMINGHAM             AL           35222
    CLARK WILLIAM S                                                        2301 S WHITEHOUSE CIRCLE                                                                      HARLINGEN              TX           78550
    CLARKE UNIVERSITY                       BOOKSTORE                      1550 CLARKE DRIVE                                                                             DUBUQUE                IA           52001
    CLARKFIELD AREA CHARTER
    SCHOOL                                                                 301 13TH STREET                                                                               CLARKFIELD             MN           56223
    CLASSICAL CONVERSATIONS INC                                            P O BOX 909 250 MACDOUGALL DR                                                                 WEST END               NC           27376
    CLASSROOM OF THE FUTURE
    FOUNDATION                                                             6401 LINDA VISTA ROAD                                                                         SAN DIEGO              CA           92111-7399
                                                                                                            FAC DES SCIENCES/LANGUAGES
    CLAUDE LACOTTE                          UNIV DAVIGNON                  CASE NO 19/74 RUE LOUIS PASTEU   APP                                                          AVIGNON                             84020        France
    Claudette Williams                                                     1465 Mt. Zion Road                                                                            Joelton                TN           37080
    Claudia Forde                                                          84 Corbet Street                 Apt 2                                                        Dorchester             MA           02124
    CLAUDIA K VIEHLAND                                                     1401 NORTH NEGLEY                                                                             PITTSBURGH             PA           15206
    CLAUDIA L BUSHMAN                                                      635 N ALLEN AVENUE                                                                            PASADENA               CA           91106

    CLAUDIA MENZA LITERARY AGENCY                                          511 AVENUE OF THE AMERICAS       # 51                                                         NEW YORK               NY           10011
    Claudia Regan                                                          1402 San Rafael Pl Ne                                                                         Albuquerque            MN           87122
    CLAUDINE B MALONE                                                      700 BELGROVE ROAD                                                                             MCLEAN                 VA           22101
    CLAUDINE C KELLY                                                       6 CURIOSITY LANE                                                                              ESSEX                  CT           06426
    Claudine Trudeau                                                       502 Chalmers St.                                                                              Geneva                 IL           60134
    CLAUSEN CHRISTIAN A           DEPARTMENT OF CHEMISTRY                  UNIVERSITY OF CENTRAL FLORIDA                                                                 ORLANDO                FL           32816
    CLAVIS EDITIONS                                                        VOORUITZICHTSTRAAT 42                                                                                                             03500        Belgium

    CLAY AND PAT SUTTON LLC                                                129 BUCKS AVENUE                                                                              CAPE MAY COURT HOUSE   NJ           08210
    Claybourne White                                                       1200 S. Third Street                                                                          St. Charles            IL           60174
    CLAYTON BARBEAU                                                        1217 ROYCOTT WAY                                                                              SAN JOSE               CA           95125
    Clayton Chamberlain                                                    3901 Sapphire Loop                                                                            Round Rock             TX           78681
    CLAYTON CHAMBERLAIN                                                    7204 MEREDITH CT                                                                              MCKINNEY               TX           75071
    CLAYTON COUNTY PUBLIC
    SCHOOLS                                                                1058 FIFTH AVENUE                                                                             JONESBORO              GA           30236
    Clayton Harper                                                         44 Hampstead Rd#1                                                                             Jamaica Plain          MA           02130
    Clayton Isaacson                                                       1200 - 17Th Ave. Apt. 309                                                                     Longview               WA           98632
    Clayton Salit                                                          54 Temple St                                                                                  Melrose                MA           02176
    CLAYTON UTZ                                                            LEVEL 18 333 COLLINS STREET                                                                   MELBOURNE              Victoria                  Australia
    Clayton Utz
    Clayton, David
    CLE INTERNATIONAL                       CUSTOMER SERVICE DEPT          21M RUE MONTPARNASSE                                                                          PARIS                                            France
    CLEAN SLATE PRESS                                                      93 DOMINION ROAD MT EDEN         LEVEL 1 SUITE 1                                              AUCKLAND                                         New Zealand
    CLEAN THE UNIFORM COMPANY                                              PO BOX 840140                                                                                 KANSAS CITY            MO           64184
    CLEAR CREEK ELEMENTARY                                                 17700 MCCOURTNEY                                                                              GRASS VALLEY           CA           95949
    CLEAR CREEK INEDPENDENT
    SCHOOL DIST                                                            P O BOX 799                                                                                   LEAGUE CITY            TX           77574
    CLEAR LIGHT BOOKS INC                                                  823 DON DIEGO                                                                                 SANTA FE               NM           87501
    Clear Mountain Communications                                          2377 Elm Street                                                                               Denver                 CO           80207
    CLEAR SOLUTIONS INC                                                    P O BOX 2460                                                                                  WEST BRATTLEBORO       VT           05303
    CLEAREDGE PARTNERS INC                                                 8 PLEASANT ST, B-3                                                                            SOUTH NATICK           MA           01760
    CLEARY LINDA MILLER                                                    P O BOX 64                                                                                    KNIFE RIVER            MN           55609
    CLEARYCLEANING INC                                                     67 ALLEN STREET                                                                               ROCHESTER              NH           03867
    Clelia Alburez                                                         40 South Cambridge                                                                            Revere                 MA           02151
    Clelia Castro-Malaspina                                                1118 Commonwealth Ave            Apt B                                                        Boston                 MA           02134
    CLEMENTS ANDREW                                                        23 OLD NOURSE STREET                                                                          WESTBOROUGH            MA           01581
                                                                                                                                               READING RECOVERY SUMMER
    CLEMSON UNIVERSITY                                                     414B TILLMAN HALL                                                   INSTITUTE                 CLEMSON                SC           29634-0705
    Clerkin, Kristine
    CLEVELA PATTERSON                                                      303-1284 BEACH DRIVE                                                                          VICTORIA               BC           V8S 2N3      Canada
    CLEVELAND HEIGHTS UNIVERISTY                                           A/P 2155 MIRAMAR BLVD                                                                         UNIVERSITY HEIGHTS     OH           44118
    Cleveland Heights-University            Heights City School District   2155 Miramar Blvd.                                                                            Cleveland              OH           44118-3397
    CLEVELAND MARGARET                                                     31 ALBA STREET                                                                                PORTLAND               ME           04103
    CLEVELAND MIKAL B                                                      1812 HUTCHINSON ROAD                                                                          ADDY                   WA           99101
    CLEVELAND MUNICIPAL SCHOOL
    DISTRICT                                                               1380 EAST SIXTH STREET                                                                        CLEVELAND              OH           44114
    Cliff Dufresne                                                         34 Tuttle Street                                                                              Dorchester             MA           02125
    CLIFF KNECHT                                                           309 WALNUT ROAD                                                                               PITTSBURGH             PA           15202
    CLIFFORD LERNER                                                        P O BOX 79                                                                                    SPOFFORD               NH           03462
    Clifford Manko                                                         7 Cabot Street                                                                                Winchester             MA           01890
    CLIFFORD OLDE                                                          20 MILL ST TRLR 12                                                                            PAWTUCKET              RI           02861
    CLIFFORD SANDY                                                         1709 SEQUOIA AVENUE                                                                           BURLINGAME             CA           94010
    Clifford Serr                                                          1352 Yvonne St.                                                                               Apopka                 FL           32712
    CLIFFORD WOHL                                                          9 ISLAND AVE #601                                                                             MIAMI BEACH            FL           33139



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                    88 of 488                                                                                                           1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                               PgCreditor
                                                                                                                  96 of      519
                                                                                                                          Matrix
                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                        Address2                          Address3                  City          State       Zip              Country
    CLIFFSIDE PARK BOARD OF
    EDUCATION                                                              525 PALISADE AVENUE                                                                            CLIFFSIDE PARK      NJ           07010

    CLIFTON C CRAIS                                                        BOWDEN HALL                      EMORY UNIVERSITY HISTORY DEPT                                 ATLANTA             GA           30322
    CLIFTON EVELYN M                                                       181 EMARON DR                                                                                  SAN BRUNO           CA           94066
    Clifton Gunderson LLP                                                  370 Interlocken Blvd.            Suite 500                                                     Broomfield          CO           80021
    Clifton Rice                                                           15 Pardon Hill Rd.                                                                             South Dartmouth     MA           02748
    CLINE ELEMENTARY                                                       99 VIRGINIA AVE.                                                                               DAYTON              OH           45458
    CLINTON CATHERINE                                                      1117 EAST PUTNAM AVENUE                                                                        RIVERSIDE           CT           06878
    Clinton Community School Dist           Attn Krista Cagley             600 S. 4th St                                                                                  Clinton             IA           52732
    Clinton M Jones                                                        4309 East 42nd St.                                                                             Indianapolis        IN           46226
    Clinton-Hattie Consulting Ltd           MERI, Ledvel 9, MGSE           100 Leicester Street                                                                           Carlton             VI           03010        Australia
    Clio European Clo B.V. (In
    Receivership)
    CLIPPERT ACADEMY                                                       1981 MCKINSTRY ST                                                                              DETROIT             MI           48209
    CLIVE L GLASER                          WITWATERSRAND UNIV/HIST DEPT   P O WITS 2050                                                                                  JOHANNESBURG                                  South Africa
    Clive Singh                                                            6220 GASSINO PL                                                                                RIVERVIEW           FL           33579
                                                                           P O BOX 19184 338 S ARLINGTON
    CLM PALLET RECYCLING INC                                               AVE                                                                                            INDIANAPOLIS        IN           46219
    CLOUD9 ANALYTICS INC                                                   333 TWIN DOLPHIN DRIVE STE 145                                                                 REDWOOD CITY        CA           94065
    CLOUSER ISABELLE L                                                     834 CHESTNUT ST APT 818                                                                        PHILADELPHIA        PA           19107-5139
    Clover Park SD #400                                                    10903 Gravelly Lake Dr. SW                                                                     LAKEWOOD            WA           98498
    CLOVER SYSTEMS OF ORLANDO                                              P O BOX 780062                                                      CHRIS STRAUB               ORLANDO             FL           32878
    CLPF-WATERS RIDGE 1 LP                                                 P O BOX 931582                                                                                 DALLAS              TX           75373-1582
    Clyde Brown                                                            137 Brookfield Road                                                                            Fiskdale            MA           01518-1133
    Clyde Dewolfe                                                          12 Polaris Drive                                                                               Mashpee             MA           02649
    CLYMER MUSEUM OF ART                                                   416 NORTH PEARL STREET                                                                         ELLENSBURG          WA           98926
    CM Consulting, Inc.                     Dan Morris                     11777 E. Harvard Avenue                                                                        Aurora              CO           80014
    CM Consulting, Inc.                                                    11777 East Harvard Avenue                                                                      Aurora              CO           80014-1801
    CMC PUBLISHING                                                         11448 BRISTLE OAK TRAIL                                                                        AUSTIN              TX           78750

    CMD MULTIMEDIA CONSULTING INC                                          P O BOX 13185                                                                                  CHICAGO             IL           60613-0185
    CMG WORLDWIDE INC                                                      10500 CROSSPOINT BLVD                                                                          INDIANAPOLIS        IN           46256-3341
    CMRS-PB                                                                PO BOX 7247-0166                                                                               PHILADELPHIA        PA           19170
    CMS COMMUNICATIONS INC                                                 P O BOX 790051                                                                                 ST LOUIS            MO           63179-0051
    CNEUT CARLL                                                            COMURE LINKS 295 B-9000                                                                        GENT                                          Belgium
    CNTRAL ILLINOIS ADULT EDUC
    SERVICE CTR                                                            HORRABIN HALL 5A- WIU                                                                          MACOMB              IL           61455
                                                                                                            SOUTH SENECA ELEMENTARY
    CNY ACE                                 ATTN GENNIE BARTHOLOMEW        8326 MAIN ST                     SCHOOL                                                        INTERLAKEN          NY           14847
    CO Small Bus. Devel. Center                                            1445 Market Street                                                                             Denver              CO           80202
                                            CO ASSN OF LATINO ADMIN &
    CO-ALAS                                 SUPERINTENDENT                 P O BOX 13109                    ATTN JESUS ESCARCEGA                                          DENVER              CO           80201
    COALITION OF READING AND
    ENGLISH                                 SUPERVISORS OF TEXAS           31837 OAK RIDGE PKWY             ATTN CAROLYN DENNY                                            BULVERDE            TX           78163
    COALSON GLO                                                            8247 BARBAREE BLVD                                                                             DALLAS              TX           75228
    Coast Alaska                                                           360 Egan Drive                                                                                 Juneau              AK           99801-1748

    COASTAL CREAMERY & PROVISIONS                                          P O BOX 517                                                                                    RYE BEACH           NH           03871-0517
    COASTAL PLAINS RESA                                                    245 NORTH ROBINSON                                                                             LENOX               GA           31637
    COBALT ILLUSTRATION STUDIOS                                            144 SOUNDVIEW RD                                                                               HUNTINGTON          NY           11743
    COBB COUNTY BUSINESS LICENSE
    DIVISION                                                               P O BOX 649                                                                                    MARIETTA            GA           30061-0649
    COBB COUNTY SCHOOL DISTRICT                                            514 GLOVER STREET                                                                              MARLEETTA           GA           30060

    COBB COUNTY TAX COMMISSIONER                                           P O BOX 100127                                                                                 MARIETTA            GA           30061-7027
    COBBER BOOKSTORE             CONCORDIA COLLEGE                         901 SOUTH 8TH STREET                                                                           CONCORDIA COLLEGE   MN           56562
    COBBLEHILL BKS                                                         375 HUDSON STREET                                                   A DIV OF PENGUIN USA INC   NEW YORK            NY           10014
    COBBLESTONE APPLIED RESEARCH
    &                            EVALUATION INC                            2120 FOOTHILL BLVD STE 202                                                                     LA VERNE            CA           91750
    COBBLESTONE PUBLISHING
    COMPANY                      30 GROVE STREET                           SUITE C                                                                                        PETERBOROUGH        NH           03458-1453

    COCHISE COUNTY SCHOOL OFFICE                                           PO DRAWER 208                                                                                  BISBEE              AZ           85603
    COCHRANE VENTILATION INC                                               154 WEST STREET                                                                                WILMINGTON          MA           01887
    COCONINO COMMUNITY COLLEGE                                             2800 S LONE TREE                                                                               FLAGSTAFF           AZ           86001
    COCONINO PRESS                                                         VIA VOLTURNO 23                                                                                MONZA                            20052        Italy
    CODE ENTERTAINMENT                                                     9229 SUNSET BLVD SUITE 615                                                                     LOS ANGELES         CA           90069
    CODY STOLL                                                             25971 W GORE                                                                                   INDIAHOMA           OK           73552
    COES III LORING                                                        130 LEGEND ROCK ROAD                                                                           WAKEFIELD           RI           02879



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    89 of 488                                                                                                        1:26 PM
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                                                                                                                     97 of      519
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                CreditorName               CreditorNoticeName                               Address1                        Address2             Address3              City           State       Zip            Country
    COFFEE COUNTY BOARD OF
    EDUCATION                                                                1343 MCARTHUR STREET                                                           MANCHESTER           TN           37355
    COFFEE COUNTY PUBLIC BUILDING dba MANCHESTER COFFEE COUNTY
    AUTHORITY                      CONFER                                    147 HOSPITALITY BLVD                                                           MANCHESTER           TN           37355
    COFFEY MIDDLE SCHOOL                                                     17210 CAMBRIDGE AVE                                                            DETROIT              MI           48209
    COFFMAN TRUCK SALES INC.                                                 P O BOX 151                                                                    AURORA               IL           60507-0151
    COGENT COMMUNICATIONS INC                                                P O BOX 791087                                                                 BALTIMORE            MD           21279
    COGGIN LUCY DOS PASSOS                                                   619 MAPLE AVENUE                                                               RICHMOND             VA           23226
    COGGINS CLEMENCY C                                                       48 ISLINGTON RD                                                                AUBURNDALE           MA           02466-1008
    Cognition Education Limited    LEVEL 1                                   14 Normanby Road                                                               Mt. Eden             AU           01024        New Zealand
    COGNITIVE CORPORATION                                                    PO BOX 372                                                                     DEAL                 NJ           07723
    Cognizant Technology Solutions Badri Ramanujachari                       500 Frank W Burr Blvd                                                          Teaneck              NJ           07666
    COGNIZANT TECHNOLOGY
    SOLUTIONS                                                                500 FRANK W BURR BLVD            US CORPORATION                                TEANECK              NJ           07666
    COHEN AND WOLF PC                                                        P O BOX 1821                                                                   BRIDGEPORT           CT           06601
    COHEN DAVID K                                                            10815 BOYCE ROAD                                                               CHELSEA              MI           48118
    COIRE BREAGH INC                                                         130 CHALLEDON DRIVE                                                            CANDLER              NC           28715
    Coit                                                                     2550 S. Tejon                                                                  Englewood            CO           80110
    COLAB                          ATTN RICHARD HOLLANT                      1429 PARK STREET, STE 207                                                      HARTFORD             CT           06106
    Colby Lawrence                                                           117 Pembroke Street              Apt 3                                         Boston               MA           02118
    COLD SPRING HARBOR
    LABORATORY                                                               1 BUNGTOWN ROAD                                                                COLD SPRING HARBOR   NY           11724
    COLD TEMP REFRIGERATION INC                                              P O BOX 608476                                                                 ORLANDO              FL           32860
    COLE JOANNA                                                              5451 RESERVE DRIVE                                                             WILMINGTON           NC           28409
    COLE WILLIAM L                                                           P.O. BOX 145                                                                   OLD MISSION          MI           49673
    COLEMAN EDUCATIONAL
    RESEARCH                                                                 10 LINWAY ROAD                                                                 LINCOLN              MA           01773
    COLEMAN TECHNOLOGIES INC                                                 20 N ORANGE AVENUE SUITE 300                                                   ORLANDO              FL           32801
    COLES ROBERT                                                             PO BOX 674                                                                     CONCORD              MA           01742
    COLETTE FRANKLIN TAX ASSESSOR- GRAPEVINE-COLLEYVILLE TAX
    COLLCTR                        OFFICE                                    3072 MUSTANG DRIVE                                                             GRAPEVINE            TX           76051
    COLIN WEST                                                               14 HIGH STREET                                                                 EPPING               Essex        CM16 4AB     United Kingdom
    COLISEUM STREET ELEM SCHOOL                                              4400 COLISEUM ST                                                               LOS ANGELES          CA           90016

    COLL OF THE OZARKS BOOKSTORE                                             HIGHWAY Z                        PURCHASING DEPT                               POINT LOOKOUT        MO           65726
    COLLA VOCE MUSIC INC                                                     4600 SUNSET AVE, # 83            ATTN FRED HARTFIELD                           INDIANAPOLIS         IN           46208
    COLLABORATIVE CONSULTING LLC                                             70 BLANCHARD ROAD STE 500                                                      BURLINGTON           MA           01803
    COLLEEN BUDDY                                                            5554 PETTIS LANE                                                               ADA                  MI           49301
    COLLEEN C MONDOR                        DBA KIDLITOSPHERE CENTRAL        6461 HONEY TREE CT                                                             BURKE                VA           22015
    Colleen Essaouab                                                         11753 Hatcher Circle                                                           Orlando              FL           32824
    COLLEEN FELLINGHAM                                                       41-29A 42ND STREET                                                             SUNNYSIDE            NY           11104
    Colleen L Murphy                                                         228 Pleasant St.                                                               S. Weymouth          MA           02190
    COLLEEN M TSCHANZ                                                        221 HANCOCK ST #2                                                              BROOKLYN             NY           11216
    Colleen McMahon                                                          2212 Brown Street                                                              Philadelphia         PA           19130
    Colleen Neidig                                                           2590 South Lafayette                                                           Denver               CO           80210
    Colleen Shanley Kyle                                                     P.O. Box 21                                                                    Deerfield            MA           01342
    Colleen Weisz                                                            6453 Creekside Trail                                                           Solon                OH           44139
    COLLEENE CARLIN                                                          1104 METFIELD RD                                                               TOWSON               MD           21286
    COLLEGE ACADEMIC SUPPORT
    PROGRAMS                                ATTN SANDRA CHUMCHAL             P O BOX 6030                                                                   BRYAN                TX           77805
    COLLEGE BOARD                                                            45 COLUMBUS AVENUE                                                             NEW YORK             NY           10023
    COLLEGE CLUB OF BOSTON                                                   44 COMMONWEALTH AVENUE                                                         BOSTON               MA           02116
    COLLEGE OF EASTERN UTAH
    BOOKSTORE                                                                451 EAST 400 NORTH               SAN JUAN CAMPUS                               PRICE                UT           84501
    College Of Education                    University of Illinois at Chic   1040 w. Harrison St.                                                           Chicago              IL           60607-7133
    COLLEGE OF LAKE COUNTY
    BOOKSTORE                                                                19351 WEST WASHINGTON ST                                                       GRAYSLAKE            IL           60030
    College of Southern Idaho                                                315 Falls Avenue                 PO Box 1238                                   Twin Falls           ID           83301
    COLLEGE OF STATEN ISLAND                YING ZHU                         7800 VICTORY BLVD                                                              STATEN ISLAND        NJ           07092
    COLLEGE OF THE HOLY CROSS
    BOOKSTORE                                                                P O BOX H                                                                      WORCESTER            MA           01610

    COLLEGE OF THE NORTH ATLANTIC           1 PRINCE PHILLIP DR              PO BOX 1693                                                                    ST JOHNS             NL                        Canada
    COLLEGE OF WILLIAM AND MARY             DR ANN CHARITY HUDLEY            P O BOX 8795                                                                   WILLIAMSBURG         VA           23187
    COLLEGE STATION INDEPENDENT
    SCH DISTRICT                                                             1812 WELSH                                                                     COLLEGE STATION      TX           77840
    COLLEGE TEXTBOOK CENTER                                                  3423 POMONA BLVD                                                               POMONA               CA           91768
    COLLETON COUNTY SCHOOLS                                                  213 NORTH JEFFERIES BLVD                                                       WALTERBORO           SC           29488
    COLLETTE A SUDA                         UNV NAIROBI INST AFRIC STUD      PO BOX 30197                                                                   NAIRC                                          United Kingdom
    COLLEY MATRIX COPR                      WESLEY NEAL COLLEY               106 CALVIN COURT                                                               MADISON              AL           35758



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      90 of 488                                                                                        1:26 PM
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                                                                                                                 98 of      519
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                                                                                                                       First Class Service List


              CreditorName                            CreditorNoticeName               Address1                             Address2              Address3            City            State       Zip                Country
    COLLIER GAYDELL                                                        364 FARRALL ROAD                                                                  SUNDANCE            WY           82729-9520
    COLLIER JAMES LINCOLN                                                  71 BARROW ST                                                                      NEW YORK            NY           10014
    COLLIER MICHAEL                                                        111 SMITHWOOD AVE                                                                 CATONSVILLE         MD           21228
                                                                           Hambleden House,19-26 Lower
    Colliers International (Brent Park                                     Pembrok                                                                           Dublin              DB           2            Ireland
                                            TAX ASSESSOR COLLECTOR-        1800 N GRAVES ST STE 170, P O BOX
    COLLIN COUNTY                           KENNETH L MAUN                 8046                                                                              MCKENNEY            TX           75070
    Collin Earnst                                                          7 Sheehan Way                                                                     Foxborough          MA           02035
    COLLINS MCCORMICK                                                      37 WEST 20TH STREET, SUITE 606                                                    NEW YORK            NY           10011
    COLONEL IL JAMES N PRITZKER             DISTR FUND DBA TAWANI
    CHARITABLE                              FOUNDATION                     104 S MICHIGAN AVE STE 600                                                        CHICAGO             IL           60603
    COLONIAL GOLF & TENNIS CLUB                                            4901 LINGLESTOWN ROAD                                                             HARRISBURG          PA           17112
    Colonial School District                Accounts Payable Dept.         230 Flourtown Road                                                                Plymouth Meeting    PA           19462
    COLONIAL SD                                                            230 FLOURTOWN ROAD                                                                PLYMOUTH MTG        PA           19462
    COLONIAL WILLIAMSBURG
    FOUNDATION                                                             PO BOX 79788                                                                      BALTIMORE           MD           21279
    COLOPHON PUBLISHING SERVICES
    LLC                                                                    5006 OLD BRIDGEVIEW LANE                                                          CHARLESTON          SC           29403
    COLOR PIC INC                                                          40 LAURA LN                                                                       MORRISTOWN          NJ           07960
    COLOR REFLECTIONS                                                      1409 SLIGH BLVD                                                                   ORLANDO             FL           32806
    COLORADO ADULT EDUCATION
    PROFESSIONAL                            ASSOCIATION                    2501 E 48TH AVENUE                  ATTN GREY GORMAN                              DENVER              CO           80216
    COLORADO ASSN FOR THE EDUC
    OF YOUNG                                CHILDREN                       P O BOX 631326                                                                    HIGHLAND RANCH      CO           80163-1326
    COLORADO ASSN OF SCHOOL
    BOARDS                                                                 1200 GRANT STREET                                                                 DENVER              CO           80203-1860
    COLORADO ASSOC FOR GIFTED &
    TALENTED                                                               3102 MICHELLE COURT                 ATTN JAN MARTIN                               LOVELAND            CO           80537
    Colorado Athletic Club                                                 8400 E. Crescent Parkway            Suite 200                                     Greenwood Village   CO           80111
    Colorado Cab Company, LLC               A/R Department                 PO box 12220                                                                      Scottsdale          AZ           85267-2220
    Colorado Coalition Against              Domestic Violence              1120 Lincoln Street                                                               Denver              CO           80203
    COLORADO CONGRESS OF                    LANGUAGE TEACHERS - ATTN
    FOREIGN                                 SULEMA JAMES                   644 CAMEO CT                                                                      PUEBLO WEST         CO           81007
    COLORADO COUNCIL OF INTL
    READING ASSN                                                           8303 UNION CT                       ATTN JACKIE SMUTZ                             ARVADA              CO           80005
    COLORADO COUNCIL OF TEACHERS
    OF                                      MATHEMATICS                    5490 S WACO STREET                                                                CENTENNIAL          CO           80015
    COLORADO COUNCIL OF TEACHERS
    OF                                      ATTN LINDA HEDRICK             5490 S WACO STREET                                                                CENTENNIAL          CO           80015
    Colorado Data Mail                                                     2525 W. 4th Ave.                                                                  DENVER              CO           80219
    COLORADO DEPARTMENT OF
    REVENUE                                                                1375 SHERMAN STREET                                                               DENVER              CO           80261-0004
    Colorado Department of Revenue                                         1375 Sherman St, Rm 504                                                           Denver              CO           80261-0004
    Colorado Dept of Education              Attn Pat Yoder                 201 East Colfax, Ste 409                                                          Denver              CO           80203
    Colorado Dept of Revenue                                               1375 Sherman St Rm 101                                                            Denver              CO           80261
    Colorado Education Association                                         1500 Grant St.                                                                    DENVER              CO           80203
    Colorado Express Copies, Inc.           dba CEC Document Services      4865 Oakland St.                                                                  Denver              CO           80239
    Colorado Free University                                               1510 York Street                                                                  Denver              CO           80206
    Colorado Historical Society                                            770 Pennsylvania Street             Grant-Humphreys Mansion                       Denver              CO           80203
    Colorado Labor Law Poster Serv                                         3100 S. Sheridan Blvd.              Suite 1-C, #246                               Denver              CO           80227-5528
    COLORADO LANGUAGE ARTS
    SOCIETY                                                                12841 W ASBURY PLACE                                                              LAKEWOOD            CO           80228
    COLORADO LEAGUE OF CHARTER
    SCHS                                                                   725 S BROADWAY, STE 7               ATTN 2010 ANNUAL CONFERENCE                   DENVER              CO           80209
    COLORADO LITERACY RESOURCE              SPECIALISTS INC                12245 WEST 29TH PL                                                                WHEAT RIDGE         CO           80215
    Colorado Luxury Limousine                                              6582 S. Ouray Way                                                                 Aurora              CO           80016
    COLORADO MESA UNIVERSITY                ATTN KIM MEDINA                1100 NORTH AVENUE                                                                 GRAND JUNCTION      CO           81501
    Colorado Rockies Baseball Club          Attn Ryan Dillon               2001 Blake St.                                                                    DENVER              CO           80205
                                            DBA COLORADO SCIENCE
    COLORADO SCIENCE CONVENTION             CONFERENCE                     9937 CLARK DRIVE                                                                  NORTHGLENN          CO           80260

    COLORADO SCIENCE CONVENTION             C/O PEGGY MCCOY                9937 CLARK DRIVE                                                                  NORTHGLENN          CO           80260
    Colorado Secretary of State             Notary Division                1560 Broadway St., Suite 200                                                      Denver              CO           80202
    Colorado Secretary Of State             Notary Division                1700 Broadway                       Suite 300                                     Denver              CO           80290
    Colorado Secretary of State             Corporation Section            1560 Broadway                       Suite 200                                     Denver              CO           80202
    COLORADO SOCIETY OF SCH                                                                                    ATTN MICHELLE MALVEY - CSSP
    PSYCHOLOGISTS                                                          2206 TIMBER CREEK DRIVE             EXHIBITS                                      FORT COLLINS        CO           80528
    Colorado Springs Down Syndrome          Assn Buddy Walk 2011           PO Box 2364                                                                       Colorado Springs    CO           80901
    Colorado Springs Down Syndrome
    Association                                                            PO Box 2364                                                                       Colorado Springs    CO           80901



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                       91 of 488                                                                                          1:26 PM
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                                                                                                                     First Class Service List


                CreditorName           CreditorNoticeName                                   Address1                      Address2              Address3                City        State       Zip            Country
    COLORADO SPRINGS FINE ARTS
    CENTER                                                                   30 W DALE STREET                                                              COLORADO SPRINGS    CO           80903
    Colorado State Treasurer                                                 PO Box 956                                                                    Denver              CO           80201-0956
    Colorado State Univ-Pueblo                                               2200 Bonforte Boulevard                                                       Pueblo              CO           81001
    COLORADO TEACHERS OF ENGLISH
    TO                           SPEAKERS OF OTHER LANGUAGES                 63 UCB                                                                        BOULDER             CO           80309

    COLORADO TECHNICAL UNIVERSITY ACCOUNTS PAYABLE                           P O BOX 957768                                                                HOFFMAN ESTATES     IL           60195
                                  KODAK HOUSE PHASE II UNIT 8-9
    COLORCRAFT LIMITED            16/F                                       321 JAVA ROAD                                                                 NORTH POINT                                   Hong Kong
    COLOR-PIC INC                                                            NINE EVANS FARM ROAD                                                          MORRISTOWN          NJ           07960
    COLOURSCAN OVERSEAS CO PTE
    LTD                                                                      53 UBI AVE 3                                                                  SINGAPORE                        408863       Singapore
    COLT INDUSTRIAL SALES &
    MARKETING LLC                                                            15207 HERRIMAN BLVD                                                           NOBLESVILLE         IN           46060
    COLT SAFETY INC                                                          8300 MANCHESTER ROAD                                                          ST LOUIS            MO           63144
    COLUMBIA COLLEGE CHICAGO                                                 600 S MICHIGAN AVENUE                                                         CHICAGO             IL           60605
    COLUMBIA LITERARY ASSOCIATES
    INC                                                                      7902 NOTTINGHAM WAY                                                           ELLICOTT CITY       MD           21043
    COLUMBIA MANAGEMENT INC                 10 CCC BUSINESS TRUST            SDS-12-2852 PO BOX 86                                                         MINNEAPOLIS         MN           55486-2737
    COLUMBIA OMNICORP                                                        14 WEST 33RD STREET                                                           NEW YORK            NY           10001
    COLUMBIA PROPERTIES OKLAHOMA
    CITY LLC                                DBA OKLAHOMA CITY MARRIOTT       3233 NW EXPRESSWAY                                                            OKLAHOMA CITY       OK           73112
    COLUMBIA UNIV GRADUATE SCH OF
    ARTS &                                  SCIENCES                         622 WEST 113TH ST MC4518         ATTN MAXINE CARTER                           NEW YORK            NY           10025
    COLUMBIA UNIVERSITY                     PULITZER PRIZE OFFICE            709 JOURNALISM                                                                NEW YORK            NY           10027
                                            COLUMBIA JOURNALISM SCH -
    COLUMBIA UNIVERSITY                     LUKAS PRIZE                      2950 BROADWAY                                                                 NEW YORK            NY           10027
    COLUMBIA UNIVERSITY                                                      709 JOURNALISM                                                                NEW YORK            NY           10027
    COLUMBIA UNIVERSITY /PULITZER
    PRIZES                                                                   MAIL CODE 3865                   709 JOURNALISM, 2950 BROADWAY                NEW YORK            NY           10027
    COLUMBIA UNIVERSITY PRESS                                                61 W 62ND ST                                                                  NEW YORK            NY           10023-7015
    Columbine Communications & Pub                                           16707 Saddle Court                                                            Sonora              CA           95370
    COLUMBUS COLLEGE OF ART &
    DESIGN                                                                   107 NORTH NINTH ST                                                            COLUMBUS            OH           43215
    COLUMBUS STATE UNIVERSITY                                                4225 UNIVERSITY AVENUE                                                        COLUMBUS            GA           31907
    COLVIN PALNOVICH LP                     DBA REPUBLIC PRINT & MAIL        8905 MCCANN DRIVE                                                             AUSTIN              TX           78757
    COMANCHE PUBLIC SCHOOLS                 COMANCHE MIDDLE SCHOOL           1030 ASH AVENUE                                                               COMANCHE            OK           73529
    COMAS JACQUELINE C                                                       3105 FOX VALLEY DR                                                            WEST FRIENDSHIP     MD           21794
    COMBINED BOOK EXHIBIT                                                    277 WHITE STREET                                                              BUCHANAN            NY           10511-1607
    Combined Network, LLC                                                    PO Box 3522                                                                   Englewood           CO           80155
    COMCAST                                                                  PO BOX 105184                                                                 ATLANTA             GA           30348
    COMCAST                                                                  PO BOX 105184                                                                 ATLANTA             GA           30349
    COMCAST                                                                  P O BOX 105257                                                                ATLANTA             GA           30348-5257
    COMCAST                                                                  PO BOX 1577                                                                   NEWARK              NJ           07101-1577

    COMERCIALIZADORA DIDACTICA DE QUERETARO SA DE CV                         COL NINOS HEROES                 AGUSTIN MELGAR ESQ MADERO                    QUERETARO                                     Mexico
    COMFORT TECHNOLOGIES LLC                                                 P O BOX 150434                                                                ARLINGTON           TX           76015
    COMINS ANDY                                                              10769 TABOR STREET                                                            LOS ANGELES         CA           90034
    COMITE LATINO AMERICANO DE
    MATEMATICA                    EDUCATIVA                                  1 CALLE B 12-33 ZONA 8                                                        MIXCO                                         Guatemala
    COMMAND WEBB OFFSET                                                      P.O. BOX 23143                                                                NEWARK              NJ           07189-0001

    COMMERCIAL BUSINESS MACHINES                                             P O BOX 555                                                                   FORESTDALE          MA           02644
    COMMERCIAL COMMUNICATIONS
    INC                                                                      P O BOX 88561                                                                 MILWAUKEE           WI           53288-0561
    Commercial Recording Division           Connecticut Secretary of State   PO Box 150470                                                                 Hartford            CT           06115-0470
    COMMISSION FOR THE STUDY OF             DEMOGRAPHICS AND DIVERSITY       P O BOX 1303                                                                  HARVEY              IL           60426
    COMMISSION ON ADULT BASIC
    EDUCATION                                                                P O BOX 620                                                                   SYRACUSE            NY           13206
    Commissioner of Revenue                 Minnesota Dept of Revenue        Mail Station 5140                                                             Saint Paul          MN           55146-5140
    Commissioner of Revenue Serv.           Conn. Dept of Rev Services       PO Box 2974                                                                   Hartford            CT           06104-2974
    COMMISSIONER OF REVENUE
    SERVICES                                DEPT. OF REVENUE SERVICES        P O BOX 2974                                                                  HARTFORD            CT           06104-2974
    COMMISSIONER OF TAXATION AND
    FINANCE                                                                  PO BOX 4127                                                                   BINGHAMTON          NY           13902
    COMMODORE BUILDERS CORP                                                  80 BRIDGE ST                                                                  NEWTON              MA           02458
    Common Area Maintenance Servic                                           601 East 45th Avenue                                                          Denver              CO           80216
    COMMON PLACE                            AMERICAN ANTIQUARIAN SOCIETY     185 SALISBURY STREET                                                          WORCESTER           MA           01609-1634




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     92 of 488                                                                                      1:26 PM
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                                                                                                                       First Class Service List


             CreditorName                             CreditorNoticeName                     Address1                        Address2                            Address3               City         State       Zip            Country
    COMMONWEALTH EDISON
    COMPANY                                 DBA COMED                        2100 SWIFT DR                                                                                  OAK BROOK           IL           60523-1559
    COMMONWEALTH EDISON
    COMPANY                                 DBA COMED                        BILL PAYMENT CENTER                                                                            CHICAGO             IL           60668
    COMMONWEALTH EDISON
    COMPANY                                 DBA COMED                        PO BOX 6111                                                                                    CAROL STREAM        IL           60197
    COMMONWEALTH EDISON
    COMPANY                                 DBA COMED                        PO BOX 6112                                                                                    CAROL STREAM        IL           60197
    COMMONWEALTH EDISON
    COMPANY                                                                  2100 SWIFT DR                                                                                  OAK BROOK           IL           60523-1559
    COMMONWEALTH EDISON
    COMPANY                                                                  BILL PAYMENT CENTER                                                                            CHICAGO             IL           60668
    COMMONWEALTH EDISON
    COMPANY                                                                  PO BOX 6111                                                                                    CAROL STREAM        IL           60197
    COMMONWEALTH EDISON
    COMPANY                                                                  PO BOX 6112                                                                                    CAROL STREAM        IL           60197
    COMMONWEALTH ELEMENTARY
    PTO                                                                      4909 COMMONWEAL BLVD                                                                           SUGERLAND           TX           77479
    COMMONWEALTH GOVT OF                    MARIANA ISLANDS - DIV OF REV &
    NORTHERN                                TAXATION                         P O BOX 5234 CHRB                                                                              SAIPAN                           96950        N Mariana Islands
    COMMONWEALTH OF
    MASSACHUSETTS                           PUBLIC CHARITIES DIVISION        ONE ASHBURTON PLACE                                                                            BOSTON              MA           02108
    COMMONWEALTH OF                         MASSACHUSETTS DEPT OF
    MASSACHUSETTS                           REVENUE                          P O BOX 7046                                                                                   BOSTON              MA           02204
    Commonwealth of Massachusetts           Department of Revenue            P.O. Box 9564                                                                                  Boston              MA           02114-9564
    COMMONWEALTH OF
    MASSACHUSETTS                                                            ONE ASHBURTON PLACE                                                                            BOSTON              MA           02108
    COMMONWEALTH OF                                                          ONE ASHBURTON PLACE ROOM
    MASSACHUSETTS                                                            1717                              ATTN ANNUAL REPORT AR180                                     BOSTON              MA           02108
    COMMONWEALTH OF
    MASSACHUSETTS                                                            P O BOX 7046                                                                                   BOSTON              MA           02204
    Commonwealth of PA - UCTS               Joseph Kots                      Dept of Labor and Industry        625 Cherry St, Rm 203                                        Reading             PA           19602
    COMMONWEALTH OF                         BUREAU OF COMMISSIONS
    PENNSYLVANIA                            ELECTIONS                        210 NORTH OFFICE BUILDING                                                                      HARRISBURG          PA           17120
                                            TREASURER - DGS FISCAL
    COMMONWEALTH OF VIRGINIA                SERVICES                         PO BOX 562                                                                                     RICHMOND            VA           23218-0562
    COMMONWEALTH OF VIRGINIA                DBA LIBRARY OF VIRGINIA          800 E BROAD STREET                                                                             RICHMOND            VA           23219
    COMMONWEALTH OF VIRGINIA                                                 PO BOX 562                                                                                     RICHMOND            VA           23218-0562
    Commonwealth of Virginia         Treasurer - DGS Fiscal Serv             PO Box 562                                                                                     Richmond            VA           23218-0562
    Commonwealth of Virginia Dept of
    Taxation                                                                 PO Box 2156                                                                                    Richmond            VA           23218
    COMMUNICATION SERVICES                                                   7041 GRAND NATIONAL DRIVE,STE
    COMPANY                          DBA RADIO ONE                           116                                                                                            ORLANDO             FL           32819
    COMMUNICATIONS DIRECT LLC                                                735 HUNTER DRIVE                                                                               BATAVIA             IL           60510
    Community Banks of Colorado      Christina Zimmerman                     7900 E 1st Ave                    NMLS #866293                       Lowry Branch              Denver              CO           80230
    Community Banks of Colorado                                              5690 DTC Boulevard                Suite 450                                                    Greenwood Village   CO           80111
    COMMUNITY CHILDCARE CTR OF
    PORTSMOUTH                                                               100 CAMPUS DRIVE STE 20                                                                        PORTSMOUTH          NH           03801
    COMMUNITY COLLEGE OF             BOOKSTORE - CATONSVILLE
    BALTIMORE COUNTY                 CAMPUS                                  800 SOUTH ROLLING ROAD                                                                         CATONSVILLE         MD           21228
    COMMUNITY COLLEGE SOUTHERN
    NEVADA                           BOARD OF REGENTS                        9417 WATER FLOW COURT                                                                          LAS VEGAS           NV           89134
    COMMUNITY CONSOLIDATED SCH
    DIST#65                                                                  1500 MCDANIEL AVE                                                                              EVANSTON            IL           60201
    COMMUNITY FONDATION OF
    GREATER                          CHATTANOOGA - READ 20                   317 OAK STREET                                                                                 CHATTANOOGA         TN           37403
    COMMUNITY ROOTS CHARTER
    SCHOOL                                                                   51 ST EDWARDS STREET 3RD FL                                                                    BROOKLYN            NY           11205
    Community Unit School District                                           201 S. 7th Street                                                                              Saint Charles       IL           60174-2664
    COMMUNITY UNIT SCHOOL DISTRICT
    # 220                                                                    310 E JAMES STREET                                                                             BARRINGTON          IL           60010
    COMMUNITY UNIT SCHOOL DISTRICT WAUKEGAN PUBLIC SCHOOLS-HYDE
    60                               PARK ELEMEN                             1525 HYDE PARK AVENUE                                                                          WAUKEGAN            IL           60085
    Comnet                                                                   14 Inverness Drive East           Suite G-144                                                  Englewood           CO           80112
    COMODO CA LTD                                                            3RD FL BLDG 26 OFFICE VILLAGE                                                                  TRAFFORD ROAD                    M5 3EQ       United Kingdom
    Comotiv Systems                                                          111 SW Columbia                   Suite 950                                                    Portland            OR           97201
    Comp USA                         Retail Services                         P.O. Box 5220                                                                                  Carol Stream        IL           60197-5220
    COMP USA DIGITAL LIVING          JONATHHAN KRENEK ACCTG MGR              14240 MIDWAY RD STE 150                                                                        FARMERS BRANCH      TX           75244
    COMPANIES HOUSE                                                          PO BOX 710                                                                                     CROWN WAY                        CF14 3UZ     United Kingdom




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                       93 of 488                                                                                                      1:26 PM
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                                                                                                                         of 519
                                                                                                                  First Class Service List


                 CreditorName                      CreditorNoticeName                   Address1                       Address2              Address3               City          State       Zip           Country
                                            DBA CHARTWELLS DINING
    COMPASS GROUP                           SERVICES                      91337 COLLECTIONS DR                                                          CHICAGO              IL           60693-1337
    COMPASS GROUP                           BANK OF AMERICA ILLINOIS      91337 COLLECTIONS DR                                                          CHICAGO              IL           60693-1337
    COMPASS GROUP USA INC                   DBA EUREST DINING SERVICES    FILE # 50196 1000 W TEMPLE ST                                                 LOS ANGELES          CA           90074-0196
                                            DBA CANTEEN REFRESHMENT
    COMPASS GROUP USA INC                   SERVICES                      2400 YORKMONT ROAD                                                            CHARLOTTE            NC           28217
    COMPASS GROUP USA INC                                                 FILE # 50196 1000 W TEMPLE ST                                                 LOS ANGELES          CA           90074-0196
    COMPASS LEXECON                                                       P O BOX 630391                                                                BALTIMORE            MD           21263

    COMPASS ROSE REAL ESTATE INC                                          137A ORANGE ST                                                                NANTUCKET            MA           02554
    COMPETENTUM USA LTD                                                   1100 DEXTER AVE N STE 100                                                     SEATTLE              WA           98109
    COMPLETE BOOK AND MEDIA
    SUPPLY                                                                715 DISCOVERY BLVD STE 301                                                    CEDAR PARK           TX           78613
    COMPLETE BUILDING MAINTENANCE
    CO                                                                    702 WESTERN AVENUE                                                            LOMBARD              IL           60148
    COMPLIANCE AND AUDIT GROUP
    LLC                                                                   5784 S SEMORAN BLVD                                                           ORLANDO              FL           32822
    Compliance Services                                                   71 Commercial Street #241                                                     Boston               MA           02109
    COMPONENT ART                                                         511 KING STREET WEST SUITE 400                                                TORONTO              ON           M5V 1K4      Canada
    COMPOSURE GRAPHICS LLC                                                PO BOX 206                                                                    NASHOTAH             WI           53058
    COMPREHENSIVE EDUCATION
    RESOURCES                     TECHNOLOGY AND SUPPORT LLC              5625 RIDGETOP DR                                                              GAINESVILLE          GA           30504
    COMPREHENSIVE LOSS
    MANAGEMENT INC                                                        15800 32ND AVE SUITE 106                                                      MINNEAPOLIS          MN           55447

    COMPRESSED AIR EQUIPMENT INC                                          111 CLINTON AVENUE                                                            PITMAN               NJ           08071
    COMPSYCH                                NBC TOWER, 13TH FLOOR         455 N CITYFRONT PLAZA DRIVE                                                   CHICAGO              IL           60611-5322
    COMPTROLLER OF MARYLAND                 UNCLAIMED PROPERTY UNIT       P O BOX 17161 ROOM 310                                                        BALTIMORE            MD           21297-1161
    Comptroller of Maryland Revenue
    Administration Division                 Attn Collections Dept         PO Box 1829                                                                   Annapolis            MD           21411-0001
    COMPTROLLER OF PUBLIC
    ACCOUNTS                                                              P O BOX 149348                                                                AUSTIN               TX           78714-9348
    COMPUCOM SYSTEMS INC                                                  P O BOX 951654                                                                DALLAS               TX           75395
    COMPUDATA PRODUCTS INC                  DBA CPI OFFICE PRODUCTS       P O BOX 292130                                                                LEWISVILLE           TX           75029
    COMPUTER ASSOCIATES INC                 CA INC                        BOX 3591, PO BOX 8500                                                         PHILADELPHIA         PA           19178-3591
    COMPUTER ASSOCIATES
    INTERNATIONAL INC                       CA INC                        ONE CA PLAZA                                                                  ISLANDIA             NY           11749
    COMPUTER AUTOMATION SYSTEMS
    INC                                                                   P O BOX 590                      ATTN DIANE HEIDE                             MOUNTAIN HOME        AR           72654
    COMPUTER SCIENCE
    CORPORATION                                                           PO BOX 8500-52298                                                             PHILADELPHIA         PA           19178
    COMPUTER STATION OF ORLANDO
    INC                                                                   3101 MALTBY DRIVE                                                             DELTONA              FL           32738
    COMPUTER TUTORS SAN JOSE                                              2263 MONTEZUMA DRIVE                                                          CAMPBELL             CA           95008
    COMPUTERIZED ASSESSMENTS
    AND                                     LEARNING LLC                  1202 E 23RD STREET SUITE B                                                    LAWRENCE             KS           66046
    COMPUTERS FOR YOUTH
    FOUNDATION INC                          2010 TECH LEADERSHIP AWARDS   322 EIGHTH AVENUE FLOOR 12A                                                   NEW YORK             NY           10001
    COMPUTERSHARE INC                                                     DEPT CH 19228                                                                 PALATINE             IL           60055-9228
    ComputerShare, Inc.
    COMPUWARE CORPORATION                                                 DRAWER #64376                                                                 DETROIT              MI           48264-0001
    CONANT VIRGINIA PHILLIPS                                              126 ASHWOOD ROAD                                                              SPRINGFIELD          PA           19064

    CONCEPT PRINTING AND GRAPHICS                                         100 CORPORATE WOODS CIRCLE                                                    ALABASTER            AL           35007
    CONCORD CMTY SCHOOLS                                                  P O BOX 338                                                                   CONCORD              MI           49237

    CONCORD EVALUATION GROUP LLC                                          P O BOX 694                                                                   CONCORD              MA           01742
                                            MUSIC LICENSING/BUSINESS
    CONCORD MUSIC GROUP INC                 AFFAIRS                       2600 TENTH STREET                                                             BERKELEY             CA           94710
    CONCORD MUSIC GROUP INC                 ATTN WOLFGANG FRANK           2600 TENTH STREET                                                             BERKELEY             CA           94710
    CONCORDE INC                                                          1051 D JOHNNIE DODDS BLVD                                                     MT PLEASANT          SC           29464
    CONCORDIA COLLEGE                                                     901 S 8TH STREET                 COBBER BOOKSTORE                             MOOREHEAD            MN           56562
    CONCORDIA UNIVERISTY                                                  800 N COLUMBIA AVENUE                                                         SEWARD               NE           68434
    CONCORDIA UNIVERSITY
    BOOKSTORE                                                             1455 DE MAISONNEUVE BLVD WEST                                                 MONTREAL QC H3G1M8                             Canada
    CONDE NAST PUBLICATIONS                                               4 TIME SQUARE                                                                 NEW YORK             NY           10036
    CONDE NAST PUBLICATIONS                                               4 TIMES SQUARE                                                                NEW YORK             NY           10036
    CONDER ELEMENTARY SCHOOL                                              8040 HUNT CLUB ROAD                                                           COLUMBIA             SC           29223
    Condit                                                                500 W. Tennessee Ave                                                          Denver               CO           80223




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                  94 of 488                                                                                      1:26 PM
                                                      12-12171-reg                  Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                     Pg Creditor
                                                                                                                         102 Matrix
                                                                                                                                 of 519
                                                                                                                        First Class Service List


            CreditorName                              CreditorNoticeName                        Address1                     Address2              Address3              City         State       Zip           Country
    CONFERENCE FOR THE
    ADVANCEMENT                             OF MATHEMATICS TEACHING               PO BOX 200669                                                               AUSTIN             TX           78720

    CONGREGATION OF MARIANS                 ASSOCIATION OF MARIAN HELPERS EDEN HILL- FINANCE OFFICE                                                           STOCKBRIDGE        MA           01236
    CONGREGATION OF ST JOHN
    CATHEDRAL INC                           ST JOHN CATHEDRAL                     831 N VAN BUREN ST                                                          MILWAUKEE          WI           53202
    CONLEY & COMPANY LLC                    DBA BEAT THE BOOKSTORE                510B BAXTER STREET                                                          ATHENS             GA           30605
    CONLIN WEB DESIGN & SERVICES
    LLC                                                                           38 BALMORAL DRIVE                                                           STRATHAM           NH           03885-2255
    CONNECTEL INC                                                                 15677 HIGHWAY 62 WEST                                                       EUREKA SPRINGS     AR           72632
    CONNECTICUT ASSN OF PUBLIC
    SCHOOL                                  SUPERINTENDENTS                       26 CAYA AVENUE                                                              WEST HARTFORD      CT           06110
    Connecticut Assoc. of Schools                                                 30 Realty Drive                                                             Cheshire           CT           06410
    CONNECTICUT ASSOCIATION FOR
    ADULT                                   AND CONTINUING EDUCATION              P O BOX 339                                                                 NORTH HAVEN        CT           06473
    CONNECTICUT ASSOCIATION OF
    BOARDS OF                               EDUCATION                             81 WOLCOTT HILL RD              ATTN VERONICA MARTINEZ                      WETHERSFIELD       CT           06109
    CONNECTICUT CNCL FOR SOCIAL
    STUDIES                                                                       164 RAVINE ROAD                                                             STORRS             CT           06268
    CONNECTICUT COLLEGE                     CHARLES E SHAIN LIBRARY               270 MOHEGAN AVENUE                                                          NEW LONDON         CT           06320
    CONNECTICUT COUNCIL OF
    LANGUAGE                                TEACHERS INC                          3 HIGH ACRES ROAD               ATTN MARY ROSE GRANKA                       BROOKFIELD         CT           06804
    Connecticut Dept of Revenue Services    Attn C & E Division Bankruptcy Unit   25 Sigourney St                                                             Hartford           CT           06106
    CONNECTICUT GENERAL LIFE
    INSURANCE CO                                                                  P O BOX 644546                                                              PITTSBURG          PA           15264-4556
    CONNECTICUT HISTORICAL
    SOCIETY                                                                       1 ELIZABETH STREET                                                          HARTFORD           CT           06105
    CONNECTICUT LIGHT & POWER                                                     P O BOX 150493                                                              HARTFORD           CT           06115-0493
    CONNECTICUT READING
    ASSOCIATION                             EASTCONN AT WINDHAM MILLS             322 MAIN ST BLDG 1 3RD FL                                                   WILLIMANTIC        CT           06226
    CONNECTICUT READING
    ASSOCIATION                             ATTN SUSAN MOSTOWY                    322 MAIN ST BLDG 1 3RD FL                                                   WILLIMANTIC        CT           06226
    CONNECTICUT SCIENCE
    SUPERVISORS ASSN                        ATTN KATHLEEN A DALY                  594 NORTH ELM STREET                                                        WALLINGFORD        CT           06492
    CONNECTICUT SCIENCE TEACHERS
    ASSOC                                                                         102 SLATER HILL ROAD            NORM BARSTOW - C/O TOM KOHL                 DAYVILLE           CT           06241
    CONNECTRIA CORPORATION                                                        10845 OLIVE BLVD STE 300                                                    CREVE COEUR        MO           63141
    CONNER PRAIRIE MUSEUM INC                                                     13400 ALLISONVILLE ROAD                                                     FISHERS            IN           46038
    CONNETQUOT CENTRAL SCH DIST                                                   780 OCEAN AVE                                                               BOHEMIA            NY           11716
    CONNIE A NEWMAN                                                               41 FAIRFIELD DRIVE                                                          MONTGOMERY         TX           77356
    Connie Border                                                                 26 Pipers Pond Lane                                                         Savannah           GA           31404
    CONNIE GARDNER                                                                15 SPRINGLAKE DR                                                            FAR HILLS          NJ           07931
    Connie Hoffman                                                                1400 Terry Lane                                                             Kissimmee          FL           34744
    CONNIE J STOUT                                                                906 HONOR HEIGHTS DR                                                        MUSKOGEE           OK           74401
    CONNIE L NEPHEW                                                               1137 W GENESEE RD                                                           BALDWINSVILLE      NY           13027
    Connie Le                                                                     2621 Twinflower Dr.                                                         Keller             TX           76244
    Connie Manguno                                                                1495 Sylvan Circle                                                          Atlanta            GA           30319
    CONNIE MCGEE                                                                  8741 NW 19 STREET                                                           PEMBROKE PINES     FL           33024
    CONNIE MILLER                           DBA STUDIOATTICUS                     155 WARREN STREET APT 2                                                     ARLINGTON          MA           02474
    Connie Nelson                                                                 411 W MONTEROSA ST                                                          PHOENIX            AZ           85013
    CONNIE PREVATTE INC                                                           217 AUSTIN POINT DRIVE          ATTN RICHARD PREVATTE                       WASHINGTON         NC           27889-5604
    CONNIE S ZITLOW                                                               1670ROUNDWYCK LN                                                            POWELL             OH           43065
    Connie Sears Reimers                                                          9621 Goldfield Pl                                                           Oklahoma City      OK           73128
    Connie Stockman                                                               1023 Pine Cone Lane                                                         Bloomer            WI           54724
    CONNIE STUART                                                                 4480 NORTH LAKE DRIVE                                                       SARASOTA           FL           34232
                                            DBA TOOLS FOR BUILDING
    CONNIE SULLIVAN                         CAPACITY LLC                          2864 SCHOOLHOUSE CIRCLE                                                     SILVER SPRING      MD           20902-2556
    CONNIE TOOPS                                                                  774 WILSON COVE BRANCH ROAD                                                 MARSHALL           NC           28753
    CONNIE ULIBARRI                                                               1402 DAKOTA N E                                                             ALBUQUERQUE        NM           87110
    CONNIE W GOLDSMITH                                                            4914 PUMA WAY                                                               CARMICHAEL         CA           95608
    CONNTESOL                               ATTN GLORIANEE RUSATE                 46 MARLSON ROAD                                                             MERIDEN            CT           06450
    CONNTROL INTERNATIONAL INC                                                    135 PARK ROAD P O BOX 645                                                   PUTNAM             CT           06260
    CONNXSYS LLC                            DBA READING GROUP CHOICES             532 CROSS CREEK COURT                                                       CHESTER            MD           21619

    CONRAD D NEWMAN                                                               1415 ALLIGATOR DR               EXECUTOR EST OF WENDY BISHOP                ALLIGATOR POINT    FL           32346
    Conrad Duprez                                                                 801 South 12th St.                                                          Chickasha          OK           73018
    CONRAD HILBERRY                                                               1612 VISTA PLACE                                                            COLORADO SPRINGS   CO           80905-7756
    CONROY JACK                                                                   1425 HARVEST LANE                                                           MOBERLY            MO           65270
    CONSEIL SCOLIRE CETRE-NORD              JOSEE LEMIRE                          322-8627-91 STREET                                                          EDMONTON           AB           T6C 3N1      Canada
    CONSERVATION FUND                       CIVIL WAR BATTLEFIELD PROJECT         1655 N FORT MYER DR STE 1300                                                ARLINGTON          VA           22209



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                        95 of 488                                                                                    1:26 PM
                                                      12-12171-reg              Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                    103 Matrix
                                                                                                                            of 519
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                   Address1                      Address2                        Address3                     City        State       Zip            Country
    CONSOLIDATED CHEMICAL
    CORPORATION                             DBA TRI-CHEM CORPORATION         P O BOX 71550                                                                            MADISON HEIGHTS        MI           48071-0550
    CONSOLIDATED MARKETING
    SERVICES INC                                                             P O BOX 457                                                                              READING                MA           01867
    CONSORTIUM FOR SCHOOL
    NETWORKING                                                               P O BOX 75110                                                                            BALTIMORE              MD           21275-5110
    CONSORTIUM ON READING
    EXCELLENCE INC                                                           2560 NINTH STREET, SUITE 220                                                             BERKELEY               CA           94710
    CONSTANCE B HIEATT                                                       335 ESSEX MEADOWS                                                                        ESSEX                  CT           06426
    Constance Bell Kamm                                                      14040 S. 34th Place                                                                      Phoenix                AZ           85044
    Constance C Hirsch                                                       39 Sycamore Street                                                                       Somerville             MA           02143
    Constance Graham                                                         2 Huckleberry Ln                                                                         Augusta                GA           04330
    CONSTANCE HARDESTY                                                       12081 W LAMEDA PKWY, # 128                                                               LAKEWOOD               CO           80228
    CONSTANCE MCGRATH                                                        70 TANBARK RD                                                                            SUDBURY                MA           01776
    Constance Putnam                                                         111 Hayward Mill Rd.                                                                     Concord                MA           01742
                                            ATTN THE ESTATE OF AUGUST
    CONSTANCE ROMERO                        WILSON                           1463 EAST REPUBLICAN # 189                                                               SEATTLE                WA           98112
    CONSTANTINE BAKOPOULOS                                                   1318 EAST STREET                                                                         GRINNELL               IA           50112
    CONSUELO CADENA                         DBA EMPIRE BUILDING SERVICES     PO BOX 294071                                                                            LEWISVILLE             TX           75029-3682
    CONSUELO DE AERENLUND                                                    MONTE CAUCASO # 1155                                                                     MEXICO                 DF           11000        Mexico
    Consuelo Garcia                                                          322 17th Street                                                                          Huntington Beach       CA           92648
                                                                             4600 MONTEREY OAKS BLVD, APT
    CONSUELO MARIE HACKER                                                    617                                                                                      AUSTIN                 TX           78749
    CONSULATE GENERAL OF INDIA                                               3 EAST 64TH STREET                                                                       NEW YORK               NY           10021
    CONSULTEDGE INC                                                          9 WHIPPANY RD B2-7                                                                       WHIPPANY               NJ           07981
    CONSULTING SERVICES FOR
    EDUCATION                                                                22 FLORAL ST                                                                             NEWTON                 MA           02461
    CONSULTORES EDUCATIVOS Y                                                 DORADO DEL MAR-COSTA BRAVA
    EVALUATIVOS                             CORPORATION                      K17                                                                                      DORADO                 PR           00646
    CONSUMER CENTER OF MID
    FLORIDA                                                                  101 PHILEPPE PKWY SUITE A                                                                SAFETY HARBOR          FL           34695
    CONSUMERS UNION                                                          101 TRUMAN AVE                                                                           YONKERS                NY           10703-1057
    CONTACT PRESS IMAGES INC                                                 341 WEST 38TH STREET 7TH FL                                                              NEW YORK               NY           10018
    CONTAINER SERVICE CORP                                                   P O BOX 3129                                                                             SOUTH BEND             IN           46619-0129

    CONTEMPORARY JEWISH MUSEUM                                               736 MISSION STREET                                                                       SAN FRANCISCO          CA           94103
    CONTENT DATA SOLUTIONS INC                                               ONE PROGRESS DRIVE                                                                       HORSHAM                PA           19044
    CONTENT HERE INC                                                         P O BOX 60062                                                                            FLORENCE               MA           01062

    CONTENT LIBRARY LLC                     DBA TIPS IMAGES NORTH AMERICA    1 SECOND STREET STE 1012                                                                 JERSEY CITY            NJ           07302
    CONTINENTAL BROADBAND
    PENNSYLVANIA                                                             P O BOX 8500-9886                                                                        PHILADELPHIA           PA           19178
    CONTINENTAL BROADBAND
    PENNSYLVANIA LLC                        DBA EXPEDIENT COMMUNICATIONS P O BOX 8500-9886                                                                            PHILADELPHIA           PA           19178
    Continental Casualty Company                                         175 Capital Blvd. Suite 402                                                                  Rocky Hill             CT           06067
    Continental Casualty Company                                         4 Century Drive                                                                              Parsippany             NJ           07054
    Continental Casualty Company                                         53 State Street, 5th Floor                                                                   Boston                 MA           02109
    CONTINENTAL ELECTRICAL
    CONSTRUCTION                            CO                               5900 HOWARD STREET                                                                       SKOKIE                 IL           60077-2627

    CONTINENTAL JANITORIAL SERVICE                                           8644 CENTRAL AVE                                                                         INDIANAPOLIS           IN           46240
    CONTINENTAL RESOURCES, INC.                                              PO BOX 4196                                                                              BOSTON                 MA           02211

    Continental Transportation & Distribution                                15025 Farm Creek Drive                                                                   Woodbridge             VA           22191
    CONTINUANT INC                            DBA CONTINUANT                 PO BOX 110966                                                                            TACOMA                 WA           98411
    CONTINUING EDUC ASSOC OF                                                                                                                   CONTINUING EDUCATION
    NEWYORK                                                                  65-30 KISSENA BLVD, KIELY HALL 111 ATTN DOUGLAS BOETTNER          PROGRAMS               FLUSHING               NY           11367
    CONTINUUM INTL PUBLISHING                                                TOWER BLDG 11 YORK ROAD                                                                  LONDON                              SE1 7NX      United Kingdom
    CONTINUUM INTL PUBLISHING
    GROUP                                                                    TOWER BUILDING 11 YORK ROAD                                                              LONDON                              SE1 7NX      United Kingdom
    Contra Costa County                                                      77 Santa Barbara Road                                                                    Pleasant Hill          CA           94523
    CONTRACT OFFICE INSTALLATIONS
    INC                                                                      14815 MCKINLEY AVE                                                                       POSEN                  IL           60469
    CONTRARIAN CAPITAL
    CONVENTION ELECTRICAL
    SERVICES INC                                                             P O BOX 519                                                                              POMONA                 CA           91769
    CONVERGENT SYSTEMS
    TECHNOLOGIES INC                                                         8359 BEACON BLVD STE 211                                                                 FORT MYERS             FL           33907
    CONVERSE COLLEGE                                                         580 EAST MAIN STREET                                                                     SPARTANBURG            SC           29302




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                    96 of 488                                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
                                                                                                                     Entered
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                                                                                                            Pg Creditor
                                                                                                                104 Matrix
                                                                                                                        of 519
                                                                                                                     First Class Service List


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    CONVEY COMPLIANCE SYSTEMS INC                                          9800 BREN ROAD EAST STE 300                                                     MINNETONKA        MN           55343
    CONVEYOR CRAFT INC                                                     3590 HOBSON RD STE 204                                                          WOODRIDGE         IL           60517
    CONVEYOR SOLUTIONS INC                                                 902 MORSE AVE                                                                   SCHAUMBURG        IL           60193
    CONVEYORS & DRIVES INC                                                 1850C MACARTHUR BLVD NW                                                         ATLANTA           GA           30318
    CONVILLE AND WALSH LTD        ATTN PETER TALLEACK                      2 GANTON STREET                                                                 LONDON                         W1F 7QL      United Kingdom
    CONWAY DEL GENIO GRIES & CO
    LLC                                                                    645 FIFTH AVENUE                                                                NEW YORK          NY           10022
    CONWAY GREENE CO                                                       1400 E 30TH ST STE 402                                                          CLEVELAND         OH           44114
    CONYERS DILL & PEARMAN                                                 HUTCHINS DRIVE P O BOX 2681      CRICKET SQUARE                                 GRAND CAYMAN                   KY1-1111     Cayman Islands
    COOK EDUCATIONAL RESOURCES                                             17 HIGHLAND RIDGE ROAD           KAREN COOK                                     BOOTHBAY          ME           04537
    COOK GARETH                                                            14 HUBBARD STREET                                                               JAMAICA PLAIN     MA           02130
    COOK THOMAS D                                                          741 SHERIDAN RD                                                                 EVANSTON          IL           60202
    COOKS FLORIST INC                                                      815 N BLACK HORSE PIKE                                                          RUNNEMEDE         NJ           08078
    COOKS JAMAL A                                                          360 GRAND AVENUE # 73                                                           OAKLAND           CA           94610
    COOLEY DESIGN LAB LLC                                                  88 FESSENDEN AVENUE                                                             SOUTH PORTLAND    ME           04106
    COOLEY GODWA RD KRONISH LLP                                            101 CALIFORNIA STREET, 5TH FL                                                   SAN FRANCISCO     CA           94111-5800
    COOLWATERPHOTO.COM LLC                                                 75-1027 HENRY ST PMB 437                                                        KAILUA KONA       HI           96740
    COOMBER JAMES E                                                        4227 SOUTH SECOND STREET                                                        MOORHEAD          MN           56560
    COOMBS MOYLETT LIT AGENCY                                              3 ASKEW ROAD                     LISA MOYLETT                                   LONDON                         W12 9AA      United Kingdom
    COOPER J DAVID                                                         P O BOX 1214                                                                    KEY WEST          FL           33041
    COOPER MARTHA                                                          310 RIVERSIDE DRIVE #507                                                        NEW YORK          NY           10025

    COOPER MICHAEL L                                                       122 NORTH PETERSON AVE APT #7                                                   LOUISVILLE        KY           40206
    COOPER SHIRLEY FRAZIER                                                 4599 CHANNING LANE                                                              DAYTON            OH           45416
    COOPERATING SCHOOL DISTRICTS                                           1460 CRAIG RD                                                                   ST LOUIS          MO           63146
    COOPERATIVE COUNCIL FOR
    OKLAHOMA                                SCHOOL ADMINISTRATION INC      2901 N LINCOLN BLVD                                                             OKLAHOMA CITY     OK           73105
    COOPERATIVE EDUCATIONAL
    SRVCS AGENCY                            # 7 - ATTN PATTI MULCAHY       595 BAETEN RD                                                                   GREEN BAY         WI           54304
    COOPERATIVE EDUCATIONAL SVCS
    AGENCY 6                                                               P O BOX 2568                                                                    OSHKOSH           WI           54903-2568
    COPLEY BUSINESS SERVICE                                                18 ALPHA ROAD UNIT #2                                                           CHELMSFORD        MA           01824
    COPLEY JUANITA                                                         10219 PONY EXPRESS ROAD                                                         HOUSTON           TX           77064
    COPPELL INDEPENDENT SCH
    DISTRICT                                WILSON ELEMENTARY SCHOOL       200 SOUTH COPPELL RD                                                            COPPELL           TX           75019
    COPPELL INDEPENDENT SCH
    DISTRICT                                MOCKINGBIRD ELEMENTARY         300 MOCKINGBIRD LN                                                              COPPELL           TX           75019
    COPPELL INDEPENDENT SCH
    DISTRICT                                                               200 SOUTH COPPELL RD                                                            COPPELL           TX           75019
    COPPELL INDEPENDENT SCH
    DISTRICT                                                               300 MOCKINGBIRD LN                                                              COPPELL           TX           75019
    Coppell ISD Attn Michelle King          Vonita White Admin Bldg        200 South Denton Tap Road                                                       Coppell           TX           75019
    COPPER CANYON PRESS                     C/O THE PERMISSION COMPANY     P O BOX 604                                                                     MOUNT POCONO      PA           18344
    COPY COP                                                               12 CHANNEL STREET SUITE 502                                                     BOSTON            MA           02210
    COPYRIGHT CLEARANCE CENTER              USE 1-6367 PER VENDOR          222 ROSEWOOD DRIVE                                                              DANVERS           MA           01923
    COPYRIGHT CLEARANCE CENTER              DEPT 001                       P O BOX 843006                                                                  BOSTON            MA           02284-3006
    Copyright Clearance Center
    COPYRIGHT CLEARANCE CENTER                                             222 ROSEWOOD DRIVE                                                              DANVERS           MA           01923
    COPYRIGHT CLEARANCE CENTER                                             P O BOX 843006                                                                  BOSTON            MA           02284-3006
    COPYRIGHT WORKS INC                                                    10 MILNER BUSINESS CT STE 900                                                   TORONTO           ON           M1B 3C6      Canada
    Cora Askin-Roush                                                       1716 Haven Drive                                                                Orlando           FL           32803
    Cora Williams                                                          P.O. Box 190216                                                                 Roxbury           MA           02119
    CORAL GRAPHICS                                                         840 SOUTH BROADWAY                                                              HICKSVILLE        NY           11801
    Coral Square Shoppes FLA LLC            RE 2940 South US 1             11555 Heron Boulevard            Suite 200                                      Coral Springs     FL           33076

    CORAL SQUARE SHOPPES FLA LLC                                           4 EAST 80TH STREET                                                              NEW YORK          NY           10075
    CORALYS LEDAIN STUART                   LEVITOWN                       CALLE MARGARITA AD-16                                                           TOA BAJA          PR           00949

    CORBIS CORPORATION                                                     13159 COLLECTIONS CENTER DRIVE                                                  CHICAGO           IL           60693-0131
    CORBY KENNISON                                                         473 WEEKEEPEEMEE RD                                                             WOODBURY          CT           06798
    CORDELIA HAYES GODFREY                                                 227 SEWANEE DRIVE                                                               JACKSON           MS           39209
    CORE MEMORY PROJECT INC                                                61 SUNNYSIDE AVENUE                                                             MILL VALLEY       CA           94941

    CORE WALL KANMAGI/SHIN SOOK JA                                         221-1 KAMIL-DONG HANAM-SI                                                       GYONGGI-DO                     465-190      South Korea
    COREMATRIX SYSTEMS INC                                                 51 THUNDERHEAD PLACE                                                            MAHWAH            NJ           07430
    Coreta L McChriston                                                    5714 W. Race                     Apt #1                                         Chicago           IL           60644
                                            DBA OLEANDER
    COREY BLAKE MADDEN                      SOLUTIONS/SOFTWARE             1077 MISTIC LANE                                                                VANDALIA          OH           45377-9643
    COREY E AIST                                                           4700 MARS DR                                                                    ANCHORAGE         AK           99507



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                     97 of 488                                                                                     1:26 PM
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                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                        Address2                          Address3                City        State       Zip      Country
    Corey Ehmke                                                            1942 Clinton Avenue                                                                        Berwyn              IL           60402
    Corey Good                                                             5401 Stanwood Way                                                                          Glen Allen          VA           23059
                                            DBA CARR K-12 EDUC CONSULTING
    CORI CARR                               INC                           43963 N UMBERLAND CIRCLE                                                                    CANTON              MI           48187
    Cori G Carr                                                           43963 N Umberland Circle                                                                    Canton              MI           48187
                                                                          5217 OLD SPICEWOOD SPRINGS RD
    CORINNA HAWORTH                                                       APT 209                                                                                     AUSTIN              TX           78731
    Corinna M Chau                                                        4340 N. Clarendon Ave         1N                                                            Chicago             IL           60613
    Corinne Block                                                         100 Washington St             Apt 20                                                        Quincy              MA           02169
    CORINTH LAND PARTNERS LTD               DBA STORAGE SOLUTIONS         3701 FM 2181                                                                                CORINTH             TX           76210
    CORNELIA FITTS                                                        23 PORTER ROAD                                                                              ANDOVER             MA           01810
    CORNELIA M ROSS                                                       4501 RT 414                                                                                 BURDETT             NY           14818
                                            OF THE PAMELA CORNELISON
    CORNELISON PAMELA TRUSTEE               LIVING TRUST                  5587 LE FEVRE DR                                                                            SAN JOSE            CA           95118
    CORNELL CAMPUS STORE                                                  CENTRAL AVENUE                ACCOUNTING OFFICE                                             ITHACA              NY           14850
                                            DBA LAB OF ORNITHOLOGY
    CORNELL UNIVERSITY                      MACAULAY LIBRARY              159 SAPSUCKER WOODS ROAD                                                                    ITHACA              NY           14850
    CORNELL UNIVERSITY LAB OF
    ORNITHOLO                                                              159 SAPSUCKER WOODS ROAD                                                                   ITHACA              NY           14850-1999
    CORNELL UNIVERSITY LIBRARY                                             CARL A KROCH LIBRARY                                                                       ITHACA              NY           14853

    CORNER HOUSE STOCK PHOTO INC                                           1197 MEADOWILD DRIVE                                                                       ROUND ROCK          TX           78664
    CORNERSTONE COMMUNICATIONS
    INC                                                                    645 EAST ELLIOT AVENUE                                                                     KIRKWOOD            MO           63122

    CORNERSTONE LITERARY AGENCY                                            4525 WILSHIRE BOULEVARD          ATTN HELEN BREITWIESER             SUITE 208              LOS ANGELES         CA           90010

    CORNERSTONE LITERARY AGENCY                                            4525 WILSHIRE BOULEVARD                                                                    LOS ANGELES         CA           90010
    CORONA CORCO SCH EDUC
    FOUNDATION                                                             2820 CLARK AVENUE                                                                          CORCO               CA           92860
                                            DBA LA FONDA ON THE PLAZA
    CORPORACION DE LE FONDA INC             HOTEL                          100 E SAN FRANCISCO STREET                                                                 SANTA FE            NM           87501
    CORPORACION DEL FONDO                                                  DEL SEGURO DEL ESTADO                                                                      SAN JUAN            PR           00968-3028
    CORPORATE BUILD-OUTS INC                                               2366 N GLASSELL STREET SUITE G                                                             ORANGE              CA           92865
    CORPORATE COLOCATION INC                                               2109 MICHELTORENA STREET                                                                   LOS ANGELES         CA           90039
    CORPORATE CONSULTANT LLC                                               862 SOUTH HIGH ST                                                                          DENVER              CO           80209
    CORPORATE DESIGN OF
    CONNECTICUT LLC                                                        461 DANBURY ROAD                                                                           NEW MILFORD         CT           06776
    Corporate Disk Company                                                 4610 Prime Parkway                                                                         McHenry             IL           60050
    Corporate Division                      Department of State            107 North Main Street                                                                      Concord             NH           03301-4989
    CORPORATE ELECTRIC ALARM INC            2 PONDVIEW PL                  P O BOX 701                                                                                TYNGSBORO           MA           01879-1068
    Corporate Examining Section             Secretary of State             101 State House Station                                                                    Augusta             ME           04333-0101
    CORPORATE EXECUTIVE BOARD                                              3393 COLLECTIONS CENTER DR                                                                 CHICAGO             IL           60693
    CORPORATE EXPRESS                                                      P. O. BOX 71033                                                                            CHICAGO             IL           60694
    CORPORATE FILING UNIT                                                  1104 CORPORATE WAY                                                                         SACRAMENTO          CA           95831
    CORPORATE FINANCE GROUP INC                                            P O BOX 846064                                                                             BOSTON              MA           02284-6064
    CORPORATE INTERIORS INC                                                223 LISA DIRVE                                                                             NEW CASTLE          DE           19720
    CORPORATE LIFECYCLES INC                                               2234 N FEDERAL HWY I SUITE 293                                                             BOCA RATON          FL           33431
    CORPORATE RESOURCES GROUP
    INC                                                                    12 ALFRED STREET STE 300                                                                   WOBURN              MA           01801
    CORPORATE VOLUNTEER COUNCIL
    OF                                      GREATER BOSTON                 P O BOX 170492                                                                             BOSTON              MA           02117
    Corporation Division                    Oregon Secretary of State      225 Capitol ST NE                Suite 151                                                 Salem               OR           97310-1327
    CORPORATION INCOME TAX
    SECTION                                                                P O BOX 919                                                                                LITTLE ROCK         AR           72203-0919

    CORPORATION SERVICE COMPANY                                            PO BOX 13397                                                                               PHILADELPHIA        PA           19101-3397
    CORPS NETWORK                                                          1100 G STREET NW STE 1000                                                                  WASHINTON           DC           20005
    CORPUS CHRISTI ISD                      RICHARD GODOY                  801 LEOPARD STREET                                                                         CORPUS CHRISTI      TX           78403
    CORRECTIONAL EDUC ASSOC OF
    NEW YORK                                ATTN NORM PARRISH              P O BOX 444                                                                                OVID                NY           14521-0444
    CORRECTIONAL EDUC ASSOC OF
    OHIO                                    YVONNE WATSON                  550 EAST SPRING STREET                                                                     COLUMBUS            OH           43215
    CORRECTIONAL EDUC ASSOC OF
    PA INC                                  CEA-PA INC                     7150 HIGHLAND DR                                                    ATTN MARK VALLOZZI     PITTSBURGH          PA           15206-1206
    CORRECTIONAL EDUCATION ASSN             REGION III                     P O BOX 2665                                                                               SPRINGFIELD         IL           62708

    CORRECTIONAL EDUCATION ASSOC REGION 9                                  P O BOX 392005                                                                             DENVER              CO           80239-8005

    CORRECTIONAL EDUCATION ASSOC ATTN JIM ORCUTT                           P O BOX 392005                                                                             DENVER              CO           80239-8005



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                    98 of 488                                                                                            1:26 PM
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                                                                                                                        First Class Service List


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    CORRECTIONAL EDUCATION                                                                                    ATTN WILLIAM MAGEE - LA DEPT OF
    ASSOCIATION                             REGION V                       P O BOX 94304                      SAFETY                                                            BATON ROUGE           LA           70804
    CORRECTIONAL EDUCATION
    ASSOCIATION                             REGION III/IV                  4622 UNIV AVENUE, P O BOX 7874                                                                       MADISON               WI           53707-7874
    CORRECTIONAL EDUCATION                                                                                    ATTN WILLIAM MAGEE - LA DEPT OF
    ASSOCIATION                                                            P O BOX 94304                      SAFETY                                                            BATON ROUGE           LA           70804
    CORRECTIONAL EDUCATION
    ASSOCIATION                             PEGGY MEYERS                   4622 UNIV AVENUE, P O BOX 7874                                                                       MADISON               WI           53707-7874
    CORRELATIONS R US LLC                   ATTN LARA HIGHTOWER            6449 N NEWGARD APT 3                                                                                 CHICAGO               IL           60626
    CORT FURNITURE RENTAL                                                  14350 GARFIELD AVENUE                                                                                PARAMOUNT             CA           90723
    CORTES CARLOS                                                          3088 PINE STREET                                                                                     RIVERSIDE             CA           92501
    CORTLAND CITY SD                                                       1 VALLEY VIEW DR                   KAUFMAN CENTER                                                    CORTLAND              NY           13045
    Corwin Press - Acct#5611669                                            2455 Teller Rd                                                                                       Thousand Oaks         CA           91320
    Cory Bankhead                                                          21 Fountainhead Dr                 Apt 201                                                           Westmont              IL           60559
    CORY BARNETT                                                           2202 A HOMEDALE DR                                                                                   AUSTIN                TX           78704
    CORY GILLETTE                                                          618 DEAN ST, 2A                                                                                      BROOKLYN              NY           11238
    Cory Knowlton                                                          920 Hillgrove Lane                                                                                   Auburndale            FL           33823
                                   DBA COSMO CONDINA
    COSMO CONDINA                  PHOTOGRAPHY                             700 CHARLOTTE ST, P O BOX 287                                                                        NIAGARA ON THE LAKE                L0S 1J0      Canada
    COSTCO Membership                                                      PO Box 34783                                                                                         Seattle               WA           98124
    COSTUME SPECIALISTS INC                                                211 N 5TH STREET                                                                                     COLUMBUS              OH           43215
    COTTS CLAIRE B                                                         800 HEINZ AVE #18                                                                                    BERKELEY              CA           94710
    COUGHLAN COMPANIES             DBA CAPSTONE PUBLISHERS                 151 GOOD COUNSEL DRIVE                                                                               MANKATO               MN           56001
    COULTAS AND SWALM ASSOC                                                1677 YARDLEY DRIVE                                                                                   WEST CHESTER          PA           19380
    COUNCIL BLUFFS COMMUNITY
    SCHOOL DIST                                                            12 SCOTT STREET                                                                                      COUNCIL BLUFFS        IA           51503
    COUNCIL FOR EXCEPTIONAL
    CHILDREN                       MISSISSIPPI                             P O BOX 300                                                                                          CLINTON               MS           39060
    COUNCIL FOR EXCEPTIONAL
    CHILDREN                       ATTN EXHIBITS MANAGEMENT                2900 CRYSTAL DR STE 1000                                                                             ARLINGTON             VA           22202-3557
    COUNCIL FOR EXCEPTIONAL
    CHILDREN                                                               P O BOX 300                                                                                          CLINTON               MS           39060
    COUNCIL FOR LEADERS IN ALABAMA
    SCHS                                                                   PO BOX 428                                                                                           MONTGOMERY            AL           36101-0428
    Council of Chief State School  Attn Lanee Young, SEC Leaders           One Massachusetts Ave NW, #700                                                                       Washington            DC           20001
    COUNCIL OF CHIEF STATE SCHOOL
    OFFIC                          ONE MASSACHUSETTS AVE NW                SUITE 700                                                                                            WASHINGTON            DC           20001
    COUNCIL OF EDUCATIONAL
    ADMINISTRATIVE &               SUPERVISORY ORG OF MARYLAND             725 WARREN DRIVE                                                                                     ANNAPOLIS             MD           21403
    COUNCIL OF NY SPECIAL EDUC
    ADMINISTRTRS                   ATTN MARY ANN ALLING                    3 GRANITE BROOK DRIVE                                                                                GRANITE SPRING        NY           10527
    COUNCIL OF REGIONAL INSERVICE
    CENTER                         DIRECTORS                               100 GAMECOCK DRIVE                 ATTN VICKY BROWN                                                  ANNISTON              AL           36205
    COUNCIL OF SCH SUPRVS ADMINS
    OF NYC                         CSA LEADERSHIP CONFERENCE               16 COURT STREET 4TH FLOOR                                                                            BROOKLYN              NY           11241
    COUNCIL OF THE GREAT CITY                                              1301 PENNSYLVANIA AVE NW STE
    SCHOOLS                                                                702                                                                                                  WASHINGTON            DC           20004
    COUNCIL OF WRITING PROGRAM
    ADMNSTRS                                                               341 LAKE ONTARIO HALL              ATTN CHARLIE LOWE                    GRAND VALLEY STATE UNIVERSITY ALLENDALE            MI           49401
    COUNCIL ON FOREIGN RELATIONS FOREIGN AFFAIRS - ATTN
    INC                            JONATHAN CHUNG                          58 E 68TH STREET                                                                                     NEW YORK              NY           10021
    COUNCIL ROCK SCHOOL DISTRICT                                           30 N CHANCELLOR STREET                                                                               NEWTOWN               PA           18940
    COUNSEL FOR MANAGEMENT AND
    LICENSING                      ATTN TESSA JOLLS                        22631 PACIFIC COAST HWY # 472                                                                        MALIBU                CA           90265
    COUNTERPOINT LLC                                                       2117 FOURTH STREET SUITE D                                                                           BERKELEY              CA           94710

    COUNTERPOINT SYSTEMS INC                                               11835 WEST OLYMPIC BLVD, STE 450                                                                     LOS ANGELES           CA           90064
    COUNTRY GAS COMPANY                                                    P O BOX 269                                                                                          WASCO                 IL           60183-0269
    COUNTY OF LOGAN FRENCHMAN
    SCH DIST                                FLEMING SCHOOLS                506 N FREMONT                                                                                        FLEMING               CO           80728
    COURIER COMPANIES INC                                                  15 WELLMAN AVE                                                                                       NORTH CHELMSFORD      MA           01863
    COURIER COMPANIES INC                                                  PO BOX 845317                                                                                        BOSTON                MA           02284-5317
    COURSE CRAFTERS INC                                                    P O BOX 1058                                                                                         HAVERHILL             MA           01831-1158
    Courtney Ann Collie                                                    414 Dewey Ave                                                                                        Evanston              IL           60202
    Courtney Banks                                                         172 Dent Street                                                                                      Boston                MA           02132
    COURTNEY CAZDEN                                                        1010 WALTHAM ST                    BROOKHAVEN A203                                                   LEXINGTON             MA           02421
    Courtney E Young                                                       403 Adelphi Street, Apt. 2R                                                                          Brooklyn              NY           11238
                                                                                                                                                                                GRANDORA SK S0K 1V0
    COURTNEY MILNE                                                         PO BOX 121                                                                                           CANADA                                          Canada
    COURTNEY PERRY                                                         6107 VICTOR ST                                                                                       DALLAS                TX           75214



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                        99 of 488                                                                                                         1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                           of 519
                                                                                                                       First Class Service List


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    COURTNEY PIERCE                                                         1367 LAKEVIEW DR                                                                                  SOUTHLAKE         TX           76092
    Courtney Sheehan                                                        2336 Midtown Terrace               #938                                                           Orlando           FL           32839
    COURTNEY SMITH                                                          111 DOT DR # 7202                                                                                 SAN ANTONIO       TX           78216
    Courtney Steinhaus                                                      7 West Yale Street                                                                                Orlando           FL           32804
                                            OKLAHOMA CITY
    COURTYARD BY MARRIOTT                   DOWNTOWN/BRICKTOWN              2 WEST RENO AVENUE                                                                                OKLAHOMA CITY     OK           73102-2415

    COUSTEAU SOCIETY INC                                                    732 EDEN WAY NORTH STE E # 707                                                                    CHESAPEAKE        VA           23320
    COVENANT HOUSE                                                          600 SHREWSBURY STREET                                                                             CHARLESTON        WV           25301
    COVEO SOFTWARE CORP                                                     945 LAKEVIEW PARKWAY # 170                                                                        VERNON HILLS      IL           60061
    Covington & Burling
    COVINGTON & BURLING LLP                                                 265 STRAND                                                                                        LONDON                         WC2R 1BH     United Kingdom
    Covington & Burling LLP
    COWAN ERIC                              SCHOOL OF PSYCHOLOGY            JAMES MADISON UNIVERSITY                                                                          HARRISONBURG      VA           22807
    COWAN LIEBOWITZ & LATMAN PC                                             1133 AVENUE OF THE AMERICAS                                                                       NEW YORK          NY           10036-6710
    Cowan Liebowitz Latman
    Cowden, Susan
    COX ENTERPRISES                         ATLANTA JOURNAL CONSTITUTION    PO BOX 660292                                                                                     DALLAS            TX           75266-0292
    COX SUBSCRIPTIONS                                                       201 VILLAGE ROAD                                                                                  SHALLOTTE         NC           28470
    Coy Housman                                                             3618 Provence Drive                                                                               St. Charles       IL           60175
    COZAD CITY SCHOOL - DIST 11                                             P O BOX 15                                                                                        COZAD             NE           69130
    COZEN OCONNOR                                                           P O BOX 7247                                                                                      PHILADELPHIA      PA           19170-7885
    CP JACKSON LLC                          DBA JACKSON MARRIOTT            200E AMITE STREET                                                                                 JACKSON           MS           39201
    CP TROFIE LLC                           DBA TROFIE PRODUCTIONS          1339 PEARL STREET STE 205                                                                         NAPA              CA           94559
    CPD TECH PACK INC                       DBA SUPPLY ONE INC              PO BOX 676681                                                                                     DALLAS            TX           75267-6681
    CPH MECHANICAL INC                                                      235 WEST RD # 8                                                                                   PORTSMOUTH        NH           03801
    CQ PRESS                                                                2300 N ST NW STE 800                                                                              WASHINGTON        DC           20037
    CQ ROLL CALL GROUP INC                  CONGRESSIONAL QUARTERLY         1255 22ND ST NW                                                                                   WASHINGTON        DC           20037
                                            AKA CRE COMPUTER & A V
    CR ACQUISITION                          SOLUTIONS                       5732 BUCKINGHAM PARKWAY                                               ATTN ACCOUNTS RECEIVABLES   CULVER CITY       CA           90230
    CRA International
                                            DBA CHARLES RIVER ASSOCIATES
    CRA INTERNATIONAL INC                   INC                             P O BOX 845960                                                                                    BOSTON            MA           02284
    CRABTREE PUBLISHING COMPANY                                             PMB 59051, 350 FIFTH AVE 59TH FL                                                                  NEW YORK          NY           10118
    CRADLE-CREATIVE AND RESEARCH                                                                            ATTN RESEARCH AND SPONSORED
    ACTIVITIES                              DEV AND ENRICH                  P.O. BOX 7528, REYNOLDA STATION PROGRAMS                    WAKE FOREST UNIVERSITY SCHOOL         WINSTON-SALEM     NC           27109-7206
    CRAIG A BERRY                           BEACH SCREENS                   1572 CRESCENT POINTE LANE                                                                         VIRGINIA BEACH    VA           23453
    Craig A Sterling                                                        1548 Charleston                                                                                   Batavia           IL           60510
    Craig Bauer                                                             One Troy St                                                                                       Edison            NJ           08820
    CRAIG D HOWELL                                                          9393 PINYON COURT                                                                                 CLARENCE CENTER   NY           14032
    Craig Drennon Educ Consulting           Alton Craig Drennon, SR         5820 Hwy 187 South                                                                                Starr             SC           29684
    Craig Greenwood                                                         4799 Marlborough Way                                                                              Carmichael        CA           95608
    CRAIG HAMMELL                                                           3 WALNUT LANE                                                                                     DOLYESTOWN        PA           18901
    CRAIG J FERRO                           DBA FERRO LIMOUSINE             2402 COPPERHILL LOOP                                                                              OCOEE             FL           34761
    Craig J Goding                                                          259 S. Cottage Hill Avenue                                                                        Elmhurst          IL           60126
    CRAIG LEHRHAUPT                                                         9239 SILVER GLEN WAY                                                                              LAKE WORTH        FL           33467
    CRAIG M WILSON                          DBA KITE AERIAL PHOTOGRAPHY     7210 HARVEST HILL RD                                                                              MADISON           WI           53717
    Craig Majors                                                            7915 Broadview Drive                                                                              Indianapolis      IN           46227
    CRAIG MCJUNKIN                                                          1702 ALBEMARIE WAY                                                                                BURLINGAME        CA           94010
    Craig Mertens                                                           3 Hillis Avenue                                                                                   Wakefield         MA           01880
    Craig Ross                                                              841 West Prentice Avenue        # 11                                                              LITTLETON         CO           80120
                                            DBA SHIRLEY & BANISTER PUBLIC
    CRAIG SHIRLEY AND ASSOCIATES            AFFAIRS                         122 SOUTH PATRICK STREET                                                                          ALEXANDRIA        VA           22314
    CRAIG VETTER                                                            433 W MELROSE APT 1                                                                               CHICAGO           IL           60657
    CRAIG WALKER                                                            4204 SE 43RD ST                                                                                   DEL CITY          OK           73115
    Craig Waters                                                            P.O. BOX 565                       401 OLD HARDWICK RD                                            BARRE             MA           01005
    Craig Willmore                                                          297 E. Snowy River Court                                                                          South Salt Lake   UT           84115
    CRAIGHEAD JOHN                                                          5125 ORCHARD LANE                                                                                 MISSOULA          MT           59803
    CRAIGHEAD JR. FRANK C                                                   TRUST SHARE DATED OCT 21 2001                                                                     MOOSE             WY           83012-0156
    CRAIGSLIST                                                              1381 9TH AVENUE                                                                                   SAN FRANCISCO     CA           94122
    CRAINE TIMOTHY                                                          34 CHESTNUT DRIVE                                                                                 WINDSOR           CT           06095
    CRANE-CASTAFERO JEANNE                                                  8 SPRING HOLLOW RD                                                                                RADNOR            PA           19087
    CRANEL INC                              ATTN STACEY JEDWABNIK           PO BOX 28420                                                                                      TEMPE             AZ           85285
    CRAVATH SWAINE & MOORE LLP                                              825 EIGHTH AVE                                                                                    NEW YORK          NY           10019-7475
    CRAVEN DESIGN STUDIOS INC                                               1202 LEXINGTON AVE BOX 242                                                                        NEW YORK          NY           10028
    CRA-WAL CONTAINER                                                       4001 SOUTH HIGH SCHOOL ROAD                                                                       INDIANAPOLIS      IN           46241
    CRAWFORD ALAN                                                           1315 SAN CARLOS ROAD                                                                              ARCADIA           CA           91006
    CRAWFORD CENTRAL SCHOOL
    DISTRICT                                                                11280 MERCER PIKE                                                                                 MEADVILLE         PA           16335
    Creation Chamber, Inc.                                                  2330 Broadway                      Suite 104                                                      Denver            CO           80205-2072



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                      100 of 488                                                                                                      1:26 PM
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                                                                                                        Pg Creditor
                                                                                                            108 Matrix
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                                                                                                                    First Class Service List


              CreditorName                 CreditorNoticeName                        Address1                            Address2              Address3            City            State       Zip               Country
    CREATIVE ARTISTS AGENCY INC                                          2000 AVENUE OF THE STARS                                                         LOS ANGELES         CA           90067
    CREATIVE CATALOG CONCEPTS                                            2745 REBECCA LN                                                                  ORANGE CITY         FL           32763-8333
    CREATIVE CIRCLE LLC                                                  5750 WILSHIRE BLVD STE 610                                                       LOS ANGELES         CA           90036
    CREATIVE COMPANY                DBA CREATIVE EDUCATION INC           P O BOX 227                                                                      MANKATO             MN           56002
    CREATIVE CULTURE CONSULT LLC                                         1923 LAKE AVENUE                                                                 HIGHLAND PARK       IL           60035
    CREATIVE CURRICULUM INITIATIVES
    LLC                             DBA CURRICULUM CONCEPTS INTNL        80 FIFTH AVENUE STE 1503                                                         NEW YORK            NY           10011

    CREATIVE FREELANCERS INC                                             7133 W COUNTRY CLUB DR, N # 150                                                  SARASOTA            FL           34243
    CREATIVE FREELANCERS INC                                             P O BOX 366                                                                      TALLEVAST           FL           34270
    CREATIVE LEARNING                                                    P O BOX 320                                                                      MANSFIELD CENTER    CT           06250
    CREATIVE LEARNING PRESS INC                                          P O BOX 320                                                                      MANSFIELD CENTER    CT           06250
    CREATIVE OFFICE PAVILION                ONE DESIGN CENTER PLACE      SUITE 734                                                                        BOSTON              MA           02210
    CREATIVE OFFICE PAVILION                                             PO BOX 845577                                                                    BOSTON              MA           02284
    CREATIVE OFFICE PAVILION                                             SUITE 734                                                                        BOSTON              MA           02210
    CREATIVE PAGES INC                      PALMER CREATIVE GROUP        998 SOUTH MAIN ST STE #1                                                         STOWE               VT           05672
    CREATIVE PRINTING SERVICE INC                                        4406 PAYSPHERE CIRCLE                                                            CHICAGO             IL           60674
    CREATIVE PRINTING USA INC                                            134 RARITAN AVENUE                                                               HIGHLAND PARK       NJ           08904

    CREATIVE RESEARCH SERVICES INC                                     5550 TRIANGLE PARKWAY #325                                                         NORCROSS            GA           30092
    CREATIVE RETAIL PACKAGING INC                                      4119 MONTROSE BLVD, FIFTH FL                                                       HOUSTON             TX           77006
    CREATIVE SERVICES ASSOCIATES
    INC                                                                3315 ALGONQUIN RD STE 420                                                          ROLLING MEADOWS     IL           60008
    CREATIVE VINYL PRODUCTS, INC                                       1963 TOUHY AVE                                                                     ELK GROVE VILLAGE   IL           60007
    CREATORS SYNDICATE INC             CREATORS NEWS SERVICE           5777 W CENTURY BLVD SUITE 700                                                      LOS ANGELES         CA           90045-5600
    CREDIT RESEARCH FOUNDATION                                         1812 BALTIMORE BLVD STE H                                                          WESTMINSTER         MD           21157
    CREDIT SUISSE
    Credit Suisse AG, Cayman Islands
    Branch
    Credit Suisse Alternative
    Credit Suisse Securities (USA) LLC
    Credo Christian Elementary Sch                                     21919 52nd Avenue                                                                  Langley             BC           V2Y2M7       Canada
                                       DBA SOUTHWEST DISPLAYS &
    CREE VISUAL MARKETING COMPANY EVENTS                               1200 CROWLEY DRIVE                                                                 CARROLLTON          TX           75006
    Creighton Preparatory School                                       7400 Western Avenue                                                                Omaha               NE           68124-1833
    CRESCENT SHRINE CENTER                                             PO BOX 654                                                                         TURNERSVILLE        NJ           08012
    CRICKET MAGAZINE GROUP                                             315 FIFTH STREET, P O BOX 300                                                      PERU                IL           61354-2859
    CRIMSTONE AAA OPERATIONS CO
    LP                                 DBA PALLET LOGISTICS OF AMERICA P O BOX 637183                                                                     CINCINNATI          OH           45263-7183
    Cris Alsberge-Kugelman                                             10908 Sierra Colorado                                                              Austin              TX           78759
                                       DBA EDUCATION & EVALUATION
    CRISELDA ALVARADO                  CONSULTANTS                     4802 APPLE SPRINGS DRIVE                                                           PEARLAND            TX           77581
    CRISIS PREPARATION AND
    RECOVERY INC                                                       2120 S MCCLINTOCK DR # 105                                                         TEMPE               AZ           85282
    CRISTIANE ARRUDA                                                   RUA MACHADO PEDROSA 34                                                             SAO PAULO                                     Brazil
    CRISTINA MARIE DUBE                                                19 INWOOD AUTUMN                                                                   SAN ANTONIO         TX           78248
    Cristina Merry                                                     3701 Beaver Ridge Dr.                                                              Orlando             FL           32829
    Cristy Thornton                                                    408 N Lookout St.                                                                  San Saba            TX           76877
    CRITICAL HUB NETWORKS INC          DBA VOZ PUERTO RICO             P O BOX 11278                                                                      SAN JUAN            PR           00910
    CRITTENDEN COUNTY BOARD OF
    EDUCATION                          CRITTENDEN COUNTY ELEMENTARY 120 AUTUMN LANE                                                                       MARION              KY           42064
    CRM CULTURE LLC                                                    1555 DIXON AVE STE 300                                                             LAFAYETTE           CO           80026
    CRMFUSION INC                                                      52 CHARTWELL CRESCENT                                                              KESWICK             ON           L4P 3N8      Canada
    CRONER COMPANY                                                     1028 SIR FRANCIS DRAKE BLVD                                                        KENTFIELD           CA           94904
    CRONK FARRELL MARY                                                 426 WEST 24TH AVE                                                                  SPOKANE             WA           99203
    CROSIERS                           GENE PLAISTED OSC               PO BOX 500                                                                         ONAMIA              MN           56359
    CROSS OF CALVARY LUTHERAN                                          4327 ELVIS PRESLEY BLVD                                                            MEPHIS              TN           38116
    Cross-Cultural Consulting          Christopher Hanson              60 Waltham Avenue                                                                  Manitou Springs     CO           80829
    CROSSFLOW DISTRIBUTING
    HORIZON WATER                                                      PO BOX 192                                                                         YUCAIPA             CA           92399
    CROUCH CHARLES P                                                   1830 WALTER ROAD                                                                   SAVANNAH            GA           31410
    CROWLEART GROUP                                                    4192 MARTLEN CRESCENT                                                              MISSISSAUGA         ON           L5L 2H3      Canada

    CROWN LIFT TRUCKS                       CROWN EQUIPMENT CORPORATION P O BOX 641173                                                                    CINCINNATI          OH           45264-1173
    Crowne Plaza StPaul Riverfront          Attn John Kieser            11 East Kellogg Blvd                                                              Saint Paul          MN           55101
    CROWNE PLAZA WHITE PLAINS                                           66 HALE AVENUE                                                                    WHITE PLAINS        NY           10601
    CRUM SHUTTA                                                         8941 WATERS RD                                                                    ANN ARBOR           MI           48103
    Cruz Gonzalez                                                       622 Holfords Prairie               Lot 21                                         Lewisville          TX           75057
    CRUZ M LUGO GUZMAN                                                  P O BOX 8004317                                                                   COTO LAUREL         PR           00780
    CRYSTAL LOVE                                                        4832 GLENE EDEN DRIVE                                                             FORT WORTH          TX           76119



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   101 of 488                                                                                         1:26 PM
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                                                                                                                            of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                            Address2                          Address3                  City         State       Zip            Country
    CRYSTAL M ENGLAND                                                      5S425 SCOTS DR                                                                                     NAPERVILLE         IL           60563-1877
    Crystal Paquette                                                       6 Old Bray St                      #1                                                              Gloucester         MA           01930
    CRYSTAL ROCK LLC                                                       P O BOX 10028                                                                                      WATERBURY          CT           06725-0028
    CRYSTAL SIMMONS                                                        1819 BROADMOOR DR                                                                                  WOODWARD           OK           73801
    CRYSTAL SPRINGS BOOKS                                                  PO BOX 500                                                                                         PETERBORO          NH           03458
    CS ALBANY REALITY LLC                   DBA ALBANY MARRIOTT            189 WOLF ROAD                                                                                      ALBANY             NY           12205
    CS HOTELS LIMITED PARTNERSHIP           DBA RENAISSANCE PHILADEPHIA    500 STEVENS DRIVE                                                                                  PHILADELPHIA       PA           19113
    CS ODESSA LLC                                                          1798 TECHNOLOGY DRIVE STE 244                                                                      SAN JOSE           CA           95110-1399
    CSC BOOKSTORE                                                          2004 RANDOLPH AVE S                                                                                ST PAUL            MN           55105
    CSC COMPUSOURCE INC                     TECHNOLOGY MGMNT GRP EAST      P O BOX 8500-3115                                                                                  PHILADELPHIA       PA           19178-3115
                                                                           2224 OLD MIDDLEFIELD WAY SUITE
    CSL ASSOCIATES, INC.                                                   A                                                                                                  MOUNTAINVIEW       CA           94043-2421
    CSTA                                    NORM BARSTOW                   135 OXFORD STREET                                                                                  HARTFORD           CT           06105
    CT Corporation
    CT CORPORATION SYSTEM                   CT CORSEARCH                   111 EIGHTH AVENUE                                                                                  NEW YORK           NY           10011
    CT CORPORATION SYSTEM                                                  P O BOX 4349                                                                                       CAROL STREAM       IL           60197-4349
    CT Kruckeberg                                                          606 Westgate Street, #30                                                                           Iowa City          IA           52246
    CTB-MCGRAW HILL LLC                                                    20 RYAN RANCH ROAD                                                                                 MONTEREY           CA           93940-5703
    CTR ENTREPRENEURIAL
    LEADERSHIP                              ATTN RAY SMILOR                4801 ROCK HILL RD                                                                                  KANSAS CITY        KS           66110
    CTR FOR EXCELLENCE IN EDU &
    LEADERSHIP                              CASE CENTER                    P O BOX 1405                                                                                       ENGLEWOOD          CO           80150
    CTR FOR SCIENCE IN THE PUBLIC                                          1875 CONNECTICUT AVE, NW STE
    INTEREST                                                               300                                                                                                WASHINGTON         DC           20009
    Cuc Pham Chan                                                          40 Cottonwood Circle                                                                               Batavia            IL           60510
    CUESTA COMMUNITY COLLEGE
    BKST                                                                   P O BOX 8106 HIGHWAY 1                                                                             SAN LUIS OBISPO    CA           93403
    CULINARIA LTD                                                          37 WARREN STREET                                                                                   SALEM              MA           01970
    CULLEN HEMSTREET                                                       8705 JEFFERSON HWY #136                                                                            RIVER RIDGE        LA           70123
    CULLIGAN                                                               PO BOX 266 - 2325 SOUTH ST                                                                         GENEVA             IL           60134-0266
    CULLINA WILLIAM                                                        250 HENDRICKS HILL ROAD                                                                            SOUTHPORT ISLAND   ME           04576
    Cullinane, Mary
    CULTURE LIGHTING CO INC                                                5329 WEST 86TH STREET                                                                              INDIANAPOLIS       IN           46268
    CULVER PICTURES INC                                                    51-02 21ST STREET, # 4B-1                                                                          LONG ISLAND CITY   NY           11101-5838
    CUMBERLAND COUNTY SCHOOLS               ACCOUNTS PAYABLE               P O BOX 2357                                                                                       FAYETTEVILLE       NC           28302
    CUMBERLAND METRO OFFICE PARK
    LP                                      CUMBERLAND METRO oe8204        PO BOX 6149                                                                                        HICKSVILLE         NY           11802
    Cumberland Metro Office Park, L.P.      RE 5513 N. Cumberland Avenue   Property Manager                   c/o CB Richard Ellis, Inc.          5519 N. Cumberland Avenue   Chicago            IL           60656
    CUMMINGS MICHAEL                                                       910 ST NICHOLAS AVE                                                                                NEW YORK           NY           10032
    CUMMINGS PAT                                                           28 TIFFANY PLACE                                                                                   BROOKLYN           NY           11231
    CUMMINS JIM                                                            320 GLEN MANOR DRIVE                                                                               TORONTO            ON           M4E 2X7      Canada
    CUPERTINO UNION SCHOOL
    DISTRICT                                                               10301 VISTA DRIVE                                                                                  CUPERTINO          CA           95014
    CURATORS OF THE UNIV OF                                                                                   C/O UNIVERSITY OF MISSOURI
    MISSOURI                                                               2910 LEMONE BLVD                   PRESS                                                           COLUMBIA           MO           65201

    CURETON CLARK PC                                                       3000 MIDATLANTIC DRIVE SUITE 200                                                                   MT LAUREL          NJ           08054
    CURGEO OVERSEAS INC                                                    PO BOX 976                                                                                         HAMILTON                                     Bermuda
    CURLEE LYNN                                                            P.O. BOX 699                                                                                       JAMESPORT          NY           11947
    CURRICULUM DESIGNER INC                                                26 ALLENDALE DR                                                                                    RYE                NY           10580
    CURRICULUM VISIONS                                                     GREYS COURT FARM                                                       HENLEY-ON-THAMES            Oxfordshire                     RG9 4PG      United Kingdom
    CURT DUDLEY-MARLING                                                    3 OREGON AVE                                                                                       BEDFORD            MA           01730
    CURTIS BROWN GROUP LTD                  HAYMARKET HOUSE                28-29 HAYMARKET                                                                                    LONDON                          SW1Y 4SP     United Kingdom
                                                                           HAYMARKET HOUSE, 28/29
    CURTIS BROWN LTD                                                       HAYMARKET                                                                                          LONDON                          SW1Y 4SP     United Kingdom
    CURTIS BROWN LTD                                                       10 ASTOR PLACE                                                                                     NEW YORK           NY           10003
    CURTIS BROWN LTD                                                       TEN ASTOR PLACE                                                                                    NEW YORK           NY           10003
    CURTIS BROWN LTD                                                       TEN ASTOR PLACE                                                                                    NEW YORK           NY           10003-6935
    CURTIS HAYES                                                           12611 BISQUIT HL                                                                                   SAN ANTONIO        TX           78253-5560
                                            CALIFORNIA STATE UNIV - LONG
    CURTIS KENNETH                          BEACH                          1250 BELLFLOWER BLVD                                                                               LONG BEACH         CA           90840-1601
    CURTIS MARY                                                            58 SUMMIT ROAD                                                                                     MEDFORD            MA           02155
    CURTIS NANCY                                                           PO BOX 123                                                                                         GLENDO             WY           82213
    CURTIS RICHARD                                                         422 EAST 72ND STREET APT 25A                                                                       NEW YORK           NY           10021
    CURTIS RICHARDSON CAMPAIGN                                             533 TUSKEGEE STREET                                                                                TALLAHASSEE        FL           32305
    CUSHMAN & WAKEFIELD
    MASSACHUSETTS I                                                        125 SUMMER STREET, 15TH FLOOR                                                                      BOSTON             MA           02110-1616
    CUSHMAN & WAKEFIELD
    MASSACHUSETTS INC                       ATTN GILBERT DAILEY            125 SUMMER STREET, 15TH FLOOR                                                                      BOSTON             MA           02110-1616
    CUSHMAN DOUGLAS                                                        891 TANGLEWOOD DR                                                                                  REDDING            CA           96003-3970



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                        102 of 488                                                                                                     1:26 PM
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                                                                                                                        of 519
                                                                                                                    First Class Service List


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    CUSHMAN JEAN                                                           3 TENAKILL PARK DRIVE EAST #220                                                CRESSKILL           NJ            07626
    CUSTOM MEDICAL STOCK PHOTO                                             3660 W IRVING PARK RD                                                          CHICAGO             IL            60618
    CUSTOM MEETING PLANNERS INC                                            P O BOX 30785                                                                  COLUMBIA            MO            65205
    CUSTOM PACKAGING INC                                                   8161 ZIONSVILLE RD                                                             INDIANAPOLIS        IN            46268
    CUSTOMERSOFT                                                           8200 S QUEBEC ST, A3-180                                                       CENTENNIAL          CO            80112
    CUSTOMWARE ASIA PACIFIC PTY
    LTD                                                                    LEVEL 13 8-20 NAPIER STREET                                                    NORTH SYDNEY        NSW           02060        Australia
    CUTLER JANE                                                            352 27TH ST                                                                    SAN FRANCISCO       CA            94131
    CUTLER KENNETH                                                         1901 MILAN ST                                                                  DURHAM              NC            27704-4745
    CWLU HERSTORY PROJECT                                                  323 S EAST AVENUE                                                              OAK PARK            IL            60302
    CWS/CROP                                                               28606 Phillips Street             PO Box 968                                   Elkhart             IN            46515
    CYA TECHNOLOGIES INC                                                   4 RESEARCH DRIVE                                                               SHELTON             CT            06484
    Cybele Beckham                                                         7606 Meadowvale                                                                Houston             TX            77056
    CYBRA CORPORATION                                                      ONE EXECUTIVE BLVD 2ND FL                                                      YONKERS             NY            10701
    CYCLE INC                               LB # 2925                      PO BOX 9438                                                                    MINNEAPOLIS         MN            55440
    CYCLE INC                                                              LB # 2925 PO BOX 9438                                                          MINNEAPOLIS         MN            55440-9438
    CYCLE INC                                                              PO BOX 9438                                                                    MINNEAPOLIS         MN            55440
    CYNDI WOODS-WILSON                                                     9900 NATCHEZ TRAIL                                                             FLAGSTAFF           AZ            86004
    CYNLAR INC                              DBA ALPHAGRAPHICS # 492        1585 BEVERLY CT, STE 125                                                       AURORA              IL            60502
    CYNTHIA A HIGGINS EDU
    CONSULTING SERV PA                                                     12418 SAWGRASS COURT                                                           WELLINGTON          FL            33414
    CYNTHIA ANN GIORGIS                                                    450 BEARDSLEY CIRCLE                                                           HENDERSON           NV            89052
    Cynthia Ann Leak-Moorman                Cynthia Moorman                1 Juniper Loop                                                                 Ocala               FL            34480-9798
    CYNTHIA ANN NAGLE                                                      15823 KIRKSHIRE AVE                                                            BEVERLY HILLS       MI            48025
    Cynthia Bailey Kennett                                                 18 Jewel St.                                                                   Brunswick           ME            04011
    Cynthia Berger                                                         503 Kazimour Drive                                                             Lake Barrington     IL            60010
    Cynthia Beth Ingersoll                                                 36066 Fm 2480                                                                  Los Fresnos         TX            78566
    Cynthia Boger                                                          113 Augusta Circle                                                             St Cloud            FL            34769
    CYNTHIA BROWN                                                          139 STONEWALL ROAD                                                             BERKELEY            CA            94705
    CYNTHIA CANDLER                                                        111 ROBERTS AVE                                                                TERRELL             TX            75160
    CYNTHIA CANNELL LITERARY
    AGENCY                                                                 833 MADISON AVE #3C                                                            NEW YORK            NY            10021
    CYNTHIA CANNELL LITERARY
    AGENCY                                                                 833 MADISON AVENUE                ATTN CYNTHIA CANNELL                         NEW YORK            NY            10021
    CYNTHIA CARBONE-WARD                                                   91 HOLLISTER RANCH                                                             GAVIOTA             CA            93117
    CYNTHIA CARROZZA VON BUHLER                                            3520 HUNTINGTON RD                                                             STRATFORD           CT            06614
    CYNTHIA CLAMPITT                                                       700 W RAND ROAD APT C305                                                       ARLINGTON HEIGHTS   IL            60004
    Cynthia Cruz                                                           9614 Newfoundland Cir                                                          Austin              TX            78758
    CYNTHIA DIANNE GUIDICI                                                 2211 GEORGIAN DR                                                               GEORGETOWN          TX            78626-8662
    CYNTHIA DOWNEND                                                        219 HIGH STREET                                                                MEDFORD             MA            02155
    Cynthia E Platt                                                        12 Laurel Court                                                                Marblehead          MA            01945
    Cynthia Ellis                                                          130 Old Austin Trail                                                           Elgin               TX            78621
    CYNTHIA FONTENOT                                                       124 COUNTRYVIEW                                                                YOUNGSVILLE         LA            70592
    Cynthia Gober                                                          3339 Hwy KK                                                                    Troy                MO            63379
    CYNTHIA GRABER                                                         24 GRANITE ST, # 2                                                             SOMERVILLE          MA            02143
    Cynthia Guddendorf                                                     75 Chelsea Avenue                                                              Sugar Grove         IL            60554
    CYNTHIA H LINDLOF                                                      603 CAROLYN AVENUE                                                             AUSTIN              TX            78705
    Cynthia Hager                                                          1000 Liberty Park Drive           #102                                         Austin              TX            78746
    Cynthia Harris                                                         604 Taylor Street                                                              Ovilla              TX            75154
    CYNTHIA J MEDICI                        DBA WORDS TO IMAGES            P O BOX 421                                                                    REEDERS             PA            18352
    CYNTHIA J ROGERS                                                       1090 82ND STREET E                                                             INVER GROVE         MN            55077
    Cynthia J Tanzey                                                       542 Skelton Run                                                                Wallace             WV            26448
    CYNTHIA KAY STROUD                                                     2144 E 24TH ST                                                                 TULSA               OK            74114
    CYNTHIA KNUPP                                                          750 SW 12TH AVENUE                                                             FT LAUDERDALE       FL            33312
    Cynthia Krejci                                                         27W481 Manchester Rd                                                           Winfield            IL            60190
    Cynthia L Pulver                                                       7139 South Reed Court                                                          Littleton           CO            80128
    CYNTHIA LA FERLE                                                       1525 VINSETTA BLVD                                                             ROYAL OAK           MI            48067
    Cynthia Larue                                                          65 Decatur Street                                                              Arlington           MA            02474
    CYNTHIA LOUIS SCOTT                                                    2680 HOPKINS ROAD                                                              ROCKY MOUNT         VA            24151
    CYNTHIA LUCENA ROMAN                                                   708 TRAY MARCHENA                                                              SAN JUAN            PR            00926
    CYNTHIA LYNN GINO                                                      10204 PEPPERHILL LANE                                                          RICHMOND            VA            23238
    Cynthia M Hogue                                                        1201 Bridgewater Dr.                                                           Benton              AR            72019

    CYNTHIA M SCHURR                                                       10231 WOODFORD BRIDGE STREET                                                   TAMPA               FL            33626
    Cynthia Mackowicz                                                      1916 Clark Ct                                                                  Erie                CO            80516
    Cynthia Medici                                                         18 Lakefield Terr.                                                             Stroudsburg         PA            18360
    CYNTHIA MERRIAM ADAMS                                                  1295 ADAMS CT                                                                  MOSCOW              ID            83843
    Cynthia Mills                                                          724 Cr 2730                                                                    Decatur             TX            76266
    CYNTHIA N WARDELL                                                      1009 CASTRO STREET                                                             SAN FRANCISCO       CA            94114-3211



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    103 of 488                                                                                       1:26 PM
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                                                                                                    Pg Creditor
                                                                                                        111 Matrix
                                                                                                                of 519
                                                                                                            First Class Service List


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    CYNTHIA NYE                                                      14 DATE STREET                                                                         OLD ORCHARD BEACH   ME           04064
    Cynthia Orrell                                                   79 Waban Park                                                                          Newton              MA           02458
    CYNTHIA OZICK                                                    103 KENYON ROAD                                                                        MEDUSA              NY           12120
    CYNTHIA OZICK                                                    41 WEST 72ND STREET, # 3F     C/O MELANIE JACKSON AGENCY                               NEW YORK            NY           10023
    CYNTHIA PLATT                                                    42 BROAD STREET UNIT 4                                                                 SALEM               MA           01970
    CYNTHIA R SAGUES                                                 201 4TH STREET                                                                         WAUNAKEE            WI           53597
    Cynthia R Sagues                                                 7002 Vallecito Drive                                                                   Austin              TX           78759
    CYNTHIA RIDER                                                    ALPORT BARN                   ALPORT                                                   BAKEWELL                         DE45 1LG     United Kingdom
    CYNTHIA RYLANT                                                   904 OAK STREET                                                                         LAKE OSWEGO         OR           97034
    Cynthia S Currie                                                 21 Darlington Drive                                                                    Hawthorn Woods      IL           60047
    CYNTHIA S DIDIO                                                  2966 STATE RT 9L                                                                       LAKE GEORGE         NY           12845
    Cynthia Senior                                                   301 Creekside Drive                                                                    Hutto               TX           78634
    Cynthia Shipman                                                  2443 Rolling Broak Drive                                                               Orlando             FL           32837
    Cynthia Stevenson                                                90 Walden St                                                                           Burnsville          MN           55337
    Cynthia Strowman                                                 26 BAILEY ST                  APT #2                                                   SOMERVILLE          MA           02144
    CYNTHIA T STRAUCH                                                DRAWER 400                                                                             REFUGIO             TX           78377
    CYNTHIA U STEPHENS                                               20283 PINNTAGE PARKWAY                                                                 CUPERTINO           CA           95014
    CYNTHIA URBANSKI                                                 501 BRIARPATCH LANE                                                                    CHARLOTTE           NC           28211
    CYNTHIA W LANGRALL                                               CAMPUS BOX 4520               ILLINOIS STATE UNIVERSITY           MATHEMATICS DEPT     NORMAL              IL           61790
    Cynthia W Waxman                                                 91 N Street                                                                            Boston              MA           02127
    CYNTHIA ZIMMERMAN                                                849 MIRMAR DRIVE                                                                       VALPARAISO          IN           46385
    CYPRESS FAIRBANKS INDEPENDENT
    SCHOOL                         DISTRICT                          10300 JONES RD                                                                         HOUSTON             TX           77065
    CYPRESS FAIRBANKS INDEPENDENT
    SCHOOL                         ACCOUNTS PAYABLE                  10300 JONES RD                                                                         HOUSTON             TX           77065
    CYRUS R K PATELL                                                 110 E 14TH STREET APT 1501                                                             NEW YORK            NY           10003
    D & A BUILDING SERVICES INC                                      321 GEORGIA AVENUE                                                                     LONGWOOD            FL           32750
    D & F PRINT SERVICES                                             560 WINDY POINT DR                                                                     GLENDALE HEIGHTS    IL           60139-2178
    D & H CATERING INC                                               P O BOX 9744                                                                           ST THOMAS           VI           00801
    D & J PRINTING INC             DBA BANG PRINTING                 PO BOX 587                                                                             BRAINERD            MN           56401
    D B HESS CO INC                DBA HESS PRINT SOLUTIONS          2379 PAYSPHERE CIR                                                                     CHICAGO             IL           60674
    D B HESS COMPANY               DBA HESS PRINT SOLUTIONS          3240 PAYSHERE CIRCLE                                                                   CHICAGO             IL           60674
    D B JOHNSON ILLUSTRATION                                         40 WOLF RD #31                                                                         LEBANON             NH           03766
    D C KILOWATTS INC                                                2022 MIDWEST BLVD                                                                      INDIANAPOLIS        IN           46214
    D C TREASURER                  OFFICE OF TAX AND REVENUE         P O BOX 96019                                                                          WASHINGTON          DC           20090-6019
    D C TREASURER                  DCRA - CORPORATE DIVISION         P O BOX 92300                                                                          WASHINGTON          DC           20090
    D C TREASURER                                                    P O BOX 96019                                                                          WASHINGTON          DC           20090-6019
    D DONNE BRYANT                 STOCK PHOTOGRAPHY                 P O BOX 80155                                                                          BATON ROUGE         LA           70898
                                   DBA OVERHEAD DOOR COMPANY
    D H PACE COMPANY INC           OF ST LOUIS                       P O BOX 180427                                                                         ST LOUIS            MO           63119
    D J VANAS                      DBA NATIVE DISCOVERY INC          PO BOX 62657                                                                           COLORADO SPRINGS    CO           80962
    D O L PUBLICATION, INC.                                          5124 VALLEY TRAIL                                                                      RACINE              WI           53402
                                   DBA DRIVERS LICENSE GUIDE
    D R MYERS DISTRIBUTION CO INC  COMPANY                           1492 ODDSTAD DRIVE                                                                     REDWOOD CITY        CA           94063
    D& D LOCK & HARDWARE SUPPLY
    CORP                                                             456 MAIN ST                                                                            WILMINGTON          MA           01887
    D&W MILLENNIUM FREIGHT
    SYSTEMS INC                                                      156-15 146TH AVENUE STE 206                                                            JAMAICA             NY           11434
    D. A. Larsen Consultants, Inc.                                   9064 W. Cornell Place                                                                  Denver              CO           80227
    DABCOVICH LYDIA                                                  38 ATWOOD ST                  ATTN MERAL DABCOVICH                                     WELLESLEY           MA           02482
    DACHANA BYSSAINTHE                                               132 NORTH ARLINGTON AVE                                                                EAST ORANGE         NJ           07017
    DACHIS CORPORATION                                               515 CONGRESS AVE STE 2420                                                              AUSTIN              TX           78701
    DADE ASSOC OF SCH
    ADMINISTRATORS INC                                               1498 NE 2ND AVE STE 200                                                                MIAMI               FL           33132
    DAELEMANS KATHLEEN                                               5332 FRANKLIN RIDGE CIRCLE                                                             WEST BLOOMFIELD M   MI           48322
    DAGG CAROLE ESTBY                                                PO BOX 1230                                                                            EVERETT             WA           98206
    DAGMAR FEHLAU                                                    908 10TH STREET                                                                        BOULDER             CO           80302-7202
    DAGNY BLOLAND                                                    5719 N MARKHAM                                                                         CHICAGO             IL           60646
    DAHLSTROM DISPLAY INC                                            2875 S 25TH AVENUE                                                                     BROADVIEW           IL           60155
    DAHLSTROM DISPLAY INC                                            6181 PAYSPHERE CIRCLE                                                                  CHICAGO             IL           60674
    DAILY NEWS L P                                                   450 WEST 33RD STREET          DBA NEW YORK DAILY NEWS                                  NEW YORK            NY           10001
    Daina E. Goliszewski                                             255 James Drive                                                                        Westmont            IL           60559
    Daire Starr                                                      7 The Cartway                                                                          Mashpee             MA           02649
    DAISY E MORALES PEREZ                                            HC02 BOX 1770                                                                          BOQUEROR            PR           00622
    DAISY ROGERS                                                     116 HARDWOOD DRIVE                                                                     BARTLESVILLE        OK           74003
    Daisy Sosa                                                       42 Cunard Street #2                                                                    Boston              MA           02119
                                   DBA DAISY I T SUPPLIES SALES &
    DAISY WHEEL RIBBON CO INC      SERVICE                           8575 RED OAK AVE                                                                       RANCHO CUCAMONGA    CA           91730
    DAIVD SHAW                                                       478 PUTNAM AVE, APT # 1                                                                BROOKLYN            NY           11221
    DAKOTA NEWS                    DBA TEACHERS HELPER               2115 S MINNESOTA AVENUE                                                                SIOUX FALLS         SD           57105



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                           104 of 488                                                                                                 1:26 PM
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                                                                                                                        of 519
                                                                                                                           First Class Service List


                CreditorName                          CreditorNoticeName                    Address1                            Address2              Address3              City        State       Zip            Country
    DALE A OESTERLE                                                        281 S PARKVIEW AVENUE                                                                 BEXLEY            OH           43209
    Dale Corn                                                              5909 Panorma Dr                      Building 14-103                                  Auburn            WA           98092
    Dale Dunn                                                              2005 Bryngelson Drive                                                                 Marshalltown      IA           50158
    DALE E CHRISTIERNSSON                   DBA CBC ROAD SERVICE           P O BOX 394                                                                           BOWIE             AZ           85605
    Dale E Figg                                                            4915 Tanfield Dr                     NONE                                             Henrico           VA           23228
    Dale Hastings                                                          31 Invincible Court                                                                   Alameda           CA           94501
    Dale Ploucher                                                          262 Pelican Lane                                                                      Novato            CA           94949
    DALE PUBLIC SCHOOLS                                                    300 SMITH AVENUE                                                                      DALE              OK           74851
    Dale R McIntosh                                                        22 Sky Reach                                                                          Plymouth          MA           02360
    Dale Robinson                                                          3725 N. Illinois Avenue                                                               Florence          AZ           85232
    DALE SEYMOUR                                                           11170 MORA DRIVE                                                                      LOS ALTOS         CA           94024
    Dale T Dunn                                                            2005 Bryngelson Drive                                                                 Marshalltown      IA           50158
    DALE WORSLEY                                                           61 EASTERN PKWY 3C                                                                    BROOKLYN          NY           11238

    DALEY AND ASSOCIATES LLC                                               ONE FINANCIAL CENTER 4TH FLOOR                                                        BOSTON            MA           02111
    DA-LI ENTERPRISES LLC                   ATTN DANIEL W DAVANEY          710 LATHEM ST                                                                         BATAVIA           IL           60510-2178
    DALIA GEFFEN                                                           245 MAPLE STREET                                                                      WEST ROXBURY      MA           02132
    DALILA LOPEZ TORRES                                                    URB MANSIONES CALLE 2 B-21                                                            SAN GERMAN        PR           00683
    DALKEY ARCHIVE PRESS                    UNIVERSITY OF ILLINOIS         1805 S WRIGHT STREET MC-011                                                           CHAMPAIGN         IL           61820
    DALLAS CONVNTN CTR HOTEL
    DVELPNT CORP                            OMNI DALLAS HOTEL              555 S LAMAR STREET                                                                    DALLAS            TX           75202
                                                                           Linebarger Goggan Blair & Sampson,
    Dallas County                           Elizabeth Weller               LLP                                  2323 Bryan Street, Ste 1600                      Dallas            TX           75201
    Dallas County                                                          2323 Bryan Street, Ste 1600                                                           Dallas            TX           75201
    DALLAS INDEPENDENT SCHOOL
    DISTRICT                                ATTN CONNIE WALLACE            3700 ROSS AVENUE                                                                      DALLAS            TX           75204
    DALLAS MORNING NEWS MEDIA               DALLASNEWS.COM                 P O BOX 660040                                                                        DALLAS            TX           75266
    DALLAS REGIONAL NABSE                                                  P O BOX 600517                       ATTN SHIRLEY ISON-NEWSOME                        DALLAS            TX           75360-0517
    DALLAS WASTE DISPOSAL &
    RECYCLING                               DALLAS RECYCLING               3303 PLUTO STREET                                                                     DALLAS            TX           75212
    Dalton Public Schools                   Pat Davidson                   PO Box 1408                                                                           Dalton            GA           30722-1408
    Dalton R Hooper                                                        771 Gainsboro St.                                                                     Deltona           FL           32725
    Dalton R Minneman                                                      11 Lawndale Ave                      Apt D                                            Indianapolis      IN           46224
    DALTON STATE COLLEGE                                                   550 COLLEGE DRIVE                                                                     DALTON            GA           30720
    Damaris Ames                                                           PO Box 6114                                                                           Santa Fe          NM           87502
    Damaris Curran                                                         215 Vaughan St                       #1                                               Portland          ME           04102
    DAMARIS E MCGUIRE                                                      70 CHESTNUT STREET                                                                    ALBANY            NY           12210
    DAMC                                                                   P.O. Box 32369                                                                        Los Angeles       CA           90032
    Damon Carr                                                             3568 S. Waco Way                                                                      Aurora            CO           80013
    DAMON TODD MORRISON                                                    P O BOX 306                                                                           GOODLETTSVILLE    TN           37072
    DAN BURTON PHOTOGRAPHY                                                 ONE CHAPEL PLATT. 19 FORE ST                                                          TOPSHAM, EXETER   Devon        EX3 OHE      United Kingdom
    Dan Cipriano                                                           174 Hamilton Lane                                                                     Wheaton           IL           60189
    Dan Free                                                               16029 N. Nicklaus Lane                                                                Sun City          AZ           85351-1765
    Dan Griffith                                                           8830 Bluestone Bay                                                                    Sherrills Ford    NC           28673
    DAN HARPER                                                             74 NORTH MAIN STREET                                                                  S DEERFIELD       MA           01373
    Dan Helms                                                              1522 N. CR 300 W.                                                                     New Castle        IN           47362
    DAN HELMS JR                                                           5740 SW 57TH TERRACE                                                                  MIAMI             FL           33143
    DAN JOHNSON                                                            2730 EDGEWOOD DRIVE                                                                   PROVO             UT           84604
    DAN KIRBY                                                              321 LOST CREEK DR                                                                     KENNESAW          GA           30152
    DAN KOEPPEL                                                            995 TERRACE 49                                                                        LOS ANGELES       CA           90042
    Dan L Free                                                             16029 N. Nicklaus Lane                                                                Sun City          AZ           85351
    Dan Lambeth                                                            82 County Rd.                                                                         Ipswich           MA           01938
    DAN LINEHAN                                                            686 LAINE STREET #B                                                                   MONETEREY         CA           93940
    DAN MASTERSON                                                          41 FISHER AVENUE                                                                      PEARL RIVER       NY           10965
    Dan Neely                                                              12410 Alameda Trace Circle           Apt 2016                                         Austin            TX           78727
    Dan Nelson                                                             1248 W Ardmore                                                                        Chicago           IL           60660
    DAN ROUTH PHOTOGRAPHY INC                                              620 SOUTH ELM ST, STE 254                                                             GREENSBORO        NC           27406
    Dan Tanner                                                             4429 Park Eden Circle                                                                 Orlando           FL           32810
    DAN THOMAS SUZIO                        DBA DAN SUZIO PHOTOGRAPHY      PO BOX 5803                                                                           BERKELEY          CA           94705
    Dan Thryselius                                                         201 W. Milner Ave.                                                                    Dekalb            IL           60115
    DAN VON KOSCHEMBAHR                                                    1201 NORTH 46TH STREET                                                                SEATTLE           WA           98103
    DAN YACCARINO INC                                                      8 STUYVESANT OVAL # 12B                                                               NEW YORK          NY           10009
    DAN YACCARINO INC                                                      8 STUYVESANT OVAL APT 12B                                                             NEW YORK          NY           10009
    Dana Baylor Consolino                                                  141 Ware Road                                                                         Wilmington        VT           05363
    Dana Diane Garies                                                      5092 Horned Owl Way                                                                   Parker            CO           80134
    DANA DILLON                                                            474 13TH STREET                                                                       BROOKLYN          NY           11215
    DANA G HICKS                                                           P O BOX 611250                                                                        ROSEMARY BEACH    FL           32461
    DANA J WILBER                                                          87 ELLA STREET                                                                        BLOOMFIELD        NJ           07003-4717
    DANA JENSEN                                                            2302 W 50TH STREET APT 8                                                              MINNEAPOLIS       MN           55410
    Dana Joyce                                                             19570 Tantara Terrace                #201                                             Lansdowne         VA           20176



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                           105 of 488                                                                                    1:26 PM
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                                                                                                                      of 519
                                                                                                                      First Class Service List


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    Dana K Dreher                                                          2958 Hillsboro Court                                                             St. Charles         IL           60175
    DANA KARDON                                                            1651 WILKINSON WAY                                                               SMYRNA              GA           30080
    Dana King                                                              18 Asticou Road                 Apt 1                                            Jamaica Plain       MA           02130
    Dana Macwithey                                                         9 Morningside Ave                                                                South River         NJ           08882
    DANA SCHWARTZ                                                          7449 W MELINDA LANE                                                              GLENDALE            AZ           85305
    Dana Smith                                                             18405 Bent Tree Lane                                                             Chagrin Falls       OH           44023
    DANA SUMMERS                                                           8241 HELENA DRIVE                                                                ORLANDO             FL           32817
    DANA T PAYNE                                                           4636 TANEY AVE                                                                   ALEXANDRIA          VA           22304
    DANA THERESA RUSSO                                                     6854 RIENZO ST                                                                   LAKE WORTH          FL           33467-7041
    DANCO ROOFING SERVICES INC                                             1437 SOUTHEASTERN AVENUE                                                         INDIANAPOLIS        IN           46201
    Daneka D Allen                                                         14817 Salem Creek Road                                                           Edmond              OK           73013
    DANEKA DANYEU ALLEN-YANG                                               1705 NW 148TH ST                                                                 EDMOND              OK           73013
    DANI SHAPIRO                            92 CARMEL HILL ROAD NORTH      PO BOX 248                                                                       BETHLEHEM           CT           06751
    DANIAL A NELSON PC                      DBA NELSON & MCCULLOCH LLP     405 LEXINGTON AVE FL 25                                                          NEW YORK            NY           10174
    DANIAL JAMES STUDIOS INC                                               15801 W COLFAX AVE                                                               GOLDEN              CO           80401
    DANIEL A JAZWINSKI JR                                                  67 TOWNSEND COURT                                                                FRANKLIN PARK       NJ           08823
    DANIEL A KELIN II                                                      555 UNIVERSITY AVE 402                                                           HONOLULU            HI           96826
    Daniel A Loeffel                                                       641 Dunn Drive                                                                   Altamonte Springs   FL           32714
    DANIEL A NORD                                                          PO BOX 423                                                                       CARRBORO            NC           27510
    Daniel A Norman                                                        1107 South Old Wilke Road       #106                                             Arlington Heights   IL           60005
    Daniel A Nye                                                           5295 Emerson Village Dr..       Apt. 205                                         Indianapolis        IN           46237
    DANIEL A WRAY                                                          1683 S WOODFIELD TRAIL                                                           WARSAW              IN           46580
    DANIEL ALARCON                                                         1501 37TH AVENUE # E2                                                            OAKLAND             CA           94601
    DANIEL ARELLANO                                                        14035 CHAPARRAL AVE                                                              FONTANA             CA           92337
    Daniel Barrett                                                         4739 N. Hamilton                Apt. 2f                                          Chicago             IL           60625
    DANIEL BECK                                                            433 MAIN ROAD                                                                    SAVOY               MA           01256
    DANIEL BRAHIER                                                         530 OAK KNOLL DR                                                                 PERRYSBURG          OH           43551
    DANIEL BRINEY                                                          100 SUNDANCE PASS                                                                LAFAYETTE           LA           70508
    Daniel C Battisti                                                      235 State Street                #504                                             Springfield         MA           01103
    Daniel C Cavalli                                                       16 Kimberly Drive                                                                Wayside             NJ           07712
    Daniel Cornett                                                         3916 Knicker Bocker Place       Apt # T2                                         Indianapolis        IN           46240
    Daniel D. Swanson                                                      30 Coburn Street                                                                 Hull                MA           02045
    DANIEL DAMBOISE                                                        13 GUILDER PLACE                                                                 BALLSTON LAKE       NY           12019
    DANIEL DAYTON                                                          6 NASHUA DRIVE                                                                   SICKLERVILLE        NJ           08031
    Daniel E Becker                                                        187 Willey St                                                                    Gilberts            IL           60136
    DANIEL E BOSLER                         DBA BOSLER VISUAL WORKS        6570 COLGATE AVE                                                                 LOS ANGELES         CA           90048
    Daniel Esparza                                                         9961 Ellsworth Ln.                                                               Avon                IN           46123
    Daniel F Shaw                                                          1274e Washington St.                                                             Weymouth            MA           02189
    DANIEL FEIGELSON                                                       327 SAINT NICHOLAS AVE APT 4N                                                    NEW YORK            NY           10027
    DANIEL G CLOWES                                                        605 VERNON ST                                                                    OAKLAND             CA           94610
    Daniel Harrington                                                      Holly Hill Farm Rfd #2                                                           Hope Valley         RI           02832
    DANIEL HARRIS                                                          118 S BUCHANAN STREET                                                            ARLINGTON           VA           22204
    DANIEL HEUSER                                                          201 WEYER DR                                                                     CHAPEL HILL         NC           27516
    DANIEL HEYMAN                                                          833 NORTH WOODSTOCK STREET                                                       PHILADELPHIA        PA           19130
                                            DBA DANIEL TUFFS
    DANIEL JAMES TUFFS                      PHOTOGRAPHER                   917-21ST STREET, APT A                                                           SANTA MONICA        CA           90403
    DANIEL JANECK                                                          9011 GREY STREET                                                                 GRATON              CA           95444-9303
    Daniel Jones                                                           8244 S Homan                                                                     Chicago             IL           60652
    Daniel K Naponiello                                                    5420 West Avery Place                                                            Oak Lawn            IL           60453
    DANIEL KEYES                                                           222 NW 69TH STREET                                                               BOCA RATON          FL           33487
    Daniel L Armstrong                                                     1529 Centre Street              Unit 2                                           West Roxbury        MA           02132
    DANIEL LASATER AND MELINDA
    LASATER                                 COSUCCESSOR TRUSTEES           1617 MONTROSE WAY                                                                SAN JOSE            CA           95124
    Daniel Lauve                                                           6309 Salcon Cliff Drive                                                          Austin              TX           78749
    Daniel Lentini                                                         36 Millett St                                                                    Gloucester          MA           01930
    DANIEL LINDSAY                                                         5618 AVENUE D                                                                    BROOKLYN            NY           11203
    Daniel Luciano                                                         37900 Flanders Drive                                                             Solon               OH           44139
    DANIEL MERCADO CRUZ                                                    CALLE 15 U4 SAN SOUCI                                                            BAYAMON             PR           00957
    Daniel Mills                                                           1270 Copper Mountain Drive                                                       North Liberty       IA           52317
    Daniel Mix                                                             714 Lathem St.                                                                   Batavia             IL           60510
    Daniel Mosher                                                          5447 Suffield Court                                                              Skokie              IL           60077
    Daniel Musicante                                                       217 Beacon St                   4C                                               Boston              MA           02116
    Daniel Nayeri                                                          31-74 35th Street               3R                                               New York            NY           11106
    Daniel Nichols                                                         10911 Preston Parkway                                                            Huntley             IL           60142
    DANIEL PAGLIARO                                                        1550 HIGHLAND AVE                                                                HUBERTUS            WI           53033
    Daniel Paglomutan                                                      825 Renaissance Point           Apt 203                                          Altamonte Springs   FL           32714
    DANIEL PARK                                                            1601 SANGAM-DONGG MAPO-GU       501 KGIT SANGAM CENTER                           SEOUL                            123-913      South Korea
    DANIEL PATITUCCI                        DBA PATITUCCIPHOTO             262 NORTH 3D                                                                     BISHOP              CA           93514
    DANIEL PETER MCCARTHY                                                  35 LITTLE JOHN RD                                                                E FALMOUTH          MA           02536
    Daniel Phongsavanh                                                     7125 Seth Barwise St.                                                            Fort Worth          TX           76179



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     106 of 488                                                                                      1:26 PM
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                                                                                                                    of 519
                                                                                                                   First Class Service List


                 CreditorName                      CreditorNoticeName              Address1                             Address2              Address3           City         State       Zip              Country
                                            DBA DANIEL PICKETT
    DANIEL PICKETT                          PHOTOGRAPHY                 101 W KIRKWOOD AVE, STE 125                                                      BLOOMINGTON     IN           47407
    DANIEL R KRASEMANN                      DBA DRK PHOTO               100 STARLIGHT WAY                                                                SEDONA          AZ           86351-7365
    DANIEL R STERN SPEAKERS LLC             C/O STERN + ASSOCIATES      11 COMMERCE DRIVE                                                                CRANFORD        NJ           07016
    Daniel Rabone                                                       15 Worcester Sq                 Unit 4                                           Boston          MA           02118
    Daniel Rodriguez                                                    1903 W. Newport                 Unit 2                                           Chicago         IL           60657
    Daniel Rogers                                                       735 Bonnie Brae                                                                  River Forest    IL           60305
    DANIEL RUIZ                                                         7534 SIERRA BELLA PL                                                             LAS CRUCES      NM           88012
    DANIEL S GREENBERG                                                  3736 KANAWHA ST NW                                                               WASHINGTON      DC           20015
    DANIEL SAUERS                           WINONA STATE UNIVERSITY     PO BOX 5838                                                                      WINONA          MN           55987
    Daniel Shipman                                                      2443 Rolling Broak Drive                                                         Orlando         FL           32837
    DANIEL SHOREY                                                       13331 COVE CIRCLE                                                                ANCHORAGE       AK           99515
    DANIEL SOLTZBERG                                                    11 SHERWOOD ST #3                                                                ROSLINDALE      MA           02131
    Daniel Sutton                                                       2600 Saltillo Rd NE                                                              Rio Rancho      NM           87144
    Daniel Trimarco                                                     2737 N. Kenmore                 #3                                               Chicago         IL           60614
    DANIEL VAN GORP                                                     2951 SOUTH RACE ST                                                               DENVER          CO           80210
    Daniel W Brettell                                                   2000 Hillcrest Drive                                                             Easton          PA           18045
    Daniel W Cheely                                                     7001 W Cornelia Ave.                                                             Chicago         IL           60634
    Daniel W Overmier                                                   7221 Kindler Rd                                                                  Columbia        MD           21046
    DANIEL W ZETTWOCH                                                   43 TULIP DRIVE                                                                   ST LOUIS        MO           63119
    Daniela Schiazza                                                    1522 W. Rosemont Street         Unite 2e                                         Chicago         IL           60660

    DANIELA TRAVAGLINI                      C/O TECNO PAPER LTDA        R CARDEAL ARCOVERDE 1745-CJ 34                                                   SAO PAULO                    05407--002   Spain
    Danielle A Curran                                                   20 Walnut Street                                                                 Reading         MA           01867
    DANIELLE ALFRED NASSIR TONY                                         POST BOX 97627                                                                   DUBAI                                     United Arab Emirates
    DANIELLE DAWN HARKNESS                                              660 GREENFIELD ST                                                                ELKHORN         WI           53121
    Danielle E Barr                                                     3 Geneseo Circle                                                                 Milford         MA           01757
    DANIELLE GENTILE                                                    415 BRUNSWICK DR APT #3                                                          TROY            NY           12180
    Danielle Leger                                                      8330 Fort Clinch Avenue                                                          Orlando         FL           32822
    Danielle Richardson                                                 21 Scollard Ave.               #502                                              CANADA          XX           M5R 1G1      Canada
    DANIELLE SNYDER                         DBA JELLYBEAN CREATIONS     559 NORTH LAKE PLEASANT ROAD                                                     APOPKA          FL           32712
    DANIELLE WEILER                                                     3706 AUDLEY ST APT 9113                                                          HOUSTON         TX           77098
    DANILO A MAMANGON                                                   PO BOX 879                                                                       WENO CHUUK                   96942        Micronesia
    Danilo A Ramirez                                                    275 Tower Hill Drive                                                             Saint Charles   IL           60175
    DANLING FU                                                          4446 SW 103RD COURT                                                              GAINESVILLE     FL           32608
    Dannie Moffett                                                      5420 Wakefield Dr N                                                              Greenwood       IN           46142
    DANNY A BAUER                                                       1921 BRIARCLIFF ROAD                                                             MILLEDGEVILLE   GA           31061
    DANNY BRASSELL                                                      312 N FRANCISCA AVE #5                                                           REDONDO BEACH   CA           90277
    DANNY C LAMBERT                                                     4589 TIBURON AVENUE                                                              SPRING HILL     FL           34608
    Danny Choi                                                          1095 Prouty Way                                                                  San Jose        CA           95129
    Danny Dorsey                                                        3168 peartree dr                                                                 Acworth         GA           30101
    DANSEREAU DIANE                                                     4061 S BIRCH ST                                                                  ENGLEWOOD       CO           80110
    DANTASTIC FOOD INC                                                  1909 BROOKE DRIVE                                                                NEW HOPE        PA           18938
    DANTE MASSO & SONS INC                  DBA CATERING BY MASSOS      210 SOUTH DELSEA DR                                                              GLASSBORO       NJ           08028
    DANZER GERALD                                                       200 SOUTH WALNUT                                                                 ITASCA          IL           60143
    Daphne Abeel                                                        148 Pleasant Street                                                              Cambridge       MA           02139
    Daphne D Williams                                                   6225 S. Woodlawn Ave.          Unit 3N                                           Chicago         IL           60637
    DAPHNE ESPINE RAMIREZ                                               BOX 24                                                                           CANOVANAS       PR           00729
    Daphne Sanders                                                      7643 Pacific Heights Circle                                                      Orlando         FL           32835
    DARBY K CREWS                                                       4558 PARKWOOD COURT                                                              NICEVILLE       FL           32578
    Darcy Conroy                                                        12 Stevens St                                                                    Quincy          MA           02169
    DARHANSOFF VERRILL FELDMAN                                          232 W.26TH STREET SUITE 802                                                      NEW YORK        NY           10001
    DARHANSOFF,VERRILL,FELDMAN                                          236 WEST 26TH STREET, STE 802                                                    NEW YORK        NY           10001
    Dariann Lopez                                                       1704 Maggie AVe                                                                  Calistoga       CA           94515
    DARIEL RUIZ                             DBA HEAVENLY FLAVA          P O BOX 891                                                                      KINGSHILL       VI           00851
    DARIN M JONES                                                       P O BOX 839                                                                      FRENCHTOWN      MT           59834
    Darin S Salazar                                                     2558 Devonshire Rd.                                                              Riverside       CA           92506
    Darla Reeves                                                        2537 South Coors Street                                                          Denver          CO           80228
    DARLAND MARGARET G                                                  4500 GILBERT STREET APT 517                                                      OAKLAND         CA           94611
    DARLENE BLACK                                                       1102 ASPEN                                                                       MARLOW          OK           73055
    DARLENE BORDWELL                                                    411 NORTH MAIN STREET                                                            PENN YAN        NY           14527
    DARLENE BUFKIR                                                      2598 HARRIS DRIVE                                                                OXFORD          MS           38655
    Darlene Grossman                                                    3827 West Sherwin Av                                                             Lincolnwood     IL           60712-1021
    Darlene M. Kramer                                                   878 Mill Pond Lane                                                               Neenah          WI           54956
    Darlene Patrick                                                     33661 Granada Drive                                                              Dana Point      CA           92629
    DARLENE STEIN                                                       12124 CANTURA STREET                                                             STUDIO CITY     CA           91604
    Darlene Sullivan-Lee                                                306 Chestnut Street                                                              Randolph        MA           02368
    Darlene Turner                                                      2102 Grand Brook Circle        1213A                                             Orlando         FL           32810
    Darlene Van Syckle                                                  5317 Watervista Drive                                                            Orlando         FL           32821
    Darnell Craig                                                       912 N. Hamilton Ave.                                                             Indianapolis    IN           46201



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                  107 of 488                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
                                                                                                                  Entered
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                                                                                                         Pg Creditor
                                                                                                             115 Matrix
                                                                                                                     of 519
                                                                                                                    First Class Service List


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    Darrel Prater                                                          305 Hwy JJ                                                                     Elsberry           MO           63343
    Darrell Ford                                                           117 Elk Trail                 Unit 217                                         Carol Stream       IL           60188
    DARRELL GULIN                                                          2720 266TH AVENUE SE                                                           SAMMAMISH          WA           98075
    Darrell Lee                                                            4165 Longlake Drive                                                            Duluth             GA           30097
    DARRELL MARK TULLIS                                                    1061 E BROOKHAVEN DRIVE                                                        KAYSVILLE          UT           84037
    Darrell Miller                                                         3816 Ne 94th Terrace                                                           Kansas City        MO           64156
    DARRELL MORRIS                                                         APPALACHIAN STATE UNIV        READING CLINIC LRE DEPT                          BOONE              NC           28608-2085
    DARRELL RIGEL                                                          35 EAST 35TH STREET STE 208                                                    NEW YORK           NY           10016
    Darrell Smith Jr                                                       1195 Juniper Drive                                                             Warrenton          MO           63383
    DARREN SCHMALL                                                         27877 AVE 8                                                                    MADERA             CA           93637
    Darren Severino                                                        52 Riley Road                 #333                                             Celebration        FL           34747
    Darroch, Andrew
    Darryl Freese                                                          131 Kitson Rd                                                                  Winfield           MO           63389
    Darryl Mc Millin                                                       1195 Applegate Ave.                                                            Clovis             CA           93611
    DARTMOUTH PUBLISHING INC                                               344 BOSTON POST ROAD                                                           SUDBURY            MA           01776
                                                                           409 NORTH PACIFIC COAST HWY
    DAS GRUP INC                                                           #474                                                                           REDONDO BEACH      CA           90277
    DAT LE                                                                 6905 EDGERTON LANE                                                             SPRINGFIELD        VA           22150
    DATA RECOGNITION CORP                   MI77                           PO BOX 1150                                                                    MINNEAPOLIS        MN           55480
    DATA SPAN INC                                                          P O BOX 202784                                                                 DALLAS             TX           75320
    DATA STORAGE SERVICES INC                                              509 STEVENS STREET                                                             GENEVA             IL           60134
    DATAFLOW OFFSHORE LTD                                                  YAZBECK NAJJAR BLDG                                                            ASHRAFIEH BEIRUT                             Lebanon
    DATALOGICS INC                                                         39741 TREASURY CENTER                                                          CHICAGO            IL           60694-9700
    DATARAM CORP                                                           PO BOX 827908                                                                  PHILADELPHIA       PA           19182
    DATAWATCH SYSTEMS
    INCORPORATED                                                           P O BOX 79845                                                                  BALTIMORE          MD           21279-0845
    Dathan Tripp                                                           416 Maple Forest Rd                                                            Catonsville        MD           21228
    Dau Ho                                                                 2641 Bauer Road                                                                North Aurora       IL           60542
    DAULAIRE PER OLA                                                       21 SUNSET HILL                                                                 REDDING            CT           06896
    DAV PILKEY                                                             321 HIGH SCHOOL ROAD NE       PMB 372                                          BAINBRIDGE IS      WA           98110
    DAVE BARRY                              THE MIAMI HERALD               1247 MILWAUKEE AVE STE 303                                                     GLENVIEW           IL           60025
    DAVE BUNNELL                                                           PO BOX 879                                                                     ANGELS CAMP        CA           95222
    DAVE CLEGG INC                                                         3571 AARON SOSEBEE RD                                                          CUMMING            GA           30028
    DAVE LAPP                                                              2011-30 GLOUCESTER STREET                                                      TORONTO            ON           M4Y 1L6      Canada

    DAVE MANDEL                             DBA DAVE MANDEL PHOTOGRAPHY P O BOX 6052                                                                      GARDEN GROVE       CA           92845
    Dave Millar                                                           41 Cottage St                  Apartment 1                                      Watertown          MA           02472
    DAVE STARRETT                                                         101 THURSFIELD CRESCENT                                                         TORONTO            ON           M4G 2N4      Canada
    DAVE WALTERS                                                          140 CALLE LARGA AVE                                                             LOS GATOS          CA           95032
    Davene Staples                                                        441 Surrey Place                                                                Marietta           GA           30068
    DAVEY TREE EXPERT COMPANY                                             P O BOX 94532                                                                   CLEVELAND          OH           44101
                                            DE & YS FREEMAN REVOCABLE LIV
    DAVID & YVONNE FREEMAN                  TRUST                         134 CHACHALACA STREET                                                           SAN BENITO         TX           78586
    David A Cipollone                                                     4323 Pinebark Ave                                                               Orlando            FL           32811
    DAVID A DOWELL                                                        4742 BRIARWOOD TRACE                                                            CARMEL             IN           46033
    DAVID A JENSEN                                                        405 SOUTH STREET                                                                ENTERPRISE         OR           97828
    David A Joseph                                                        96 S. Fullerton Avenue                                                          Montclair          NJ           07042
    DAVID A KRING                                                         4234 PINE BLOSSOM TRAIL                                                         HOUSTON            TX           77059
    DAVID A MACAULAY LTD                                                  17 BEAVER MEADOW ROAD                                                           NORWICH            VT           05055
    David A. Jost                                                         14 Appleton Terrace                                                             Watertown          MA           02472
    DAVID ALBAHARI                                                        15 CHATHAM DRIVE NW                                                             CALGARY            AB           T2L 0Z4      Canada
    DAVID ALON ROSE                                                       1203 BUENA DRIVE                                                                LAKELAND           FL           33805
    DAVID AND YVONNE FREEMAN                                              134 CHACHALACA                 REVOCABLE TRUST                                  SAN BENITO         TX           78586
    David Andersen                                                        85 East India Row              26e                                              Boston             MA           02110
    DAVID ANDREW WILL                                                     5389 ROCHE DRIVE                                                                COLUMBUS           OH           43229
    DAVID B DOLLENMAYER                                                   6 PROCTOR ST                                                                    HOPKINTON          MA           01748
    DAVID B FANKHAUSER                                                    3569 NINE MILE ROAD                                                             CINCINNATI         OH           45255
    David B. Thomas, Ph. D.                                               PO Box 270570                                                                   Littleton          CO           80127
    DAVID BACHMAN                                                         552 S 5TH STREET                                                                WEST DUNDEE        IL           60118
    DAVID BAEZ                                                            10265 SW 145TH PLACE                                                            MIAMI              FL           33186
    David Bard                                                            940 Gatun Street                                                                San Pedro          CA           90731
    DAVID BARTHOLOMAE                                                     5446 PLAINFIELD STREET                                                          PITTSBURGH         PA           15217
    David Barton                                                          48 Hawthorne Rd                                                                 Wayland            MA           01778
    David Bastean                                                         545 Mennemeyer Road                                                             Troy               MO           63379
    DAVID BELLIN                                                          119 VIBURNUM WAY                                                                CARRBORO           NC           27510-4325
    DAVID BENDETT ARTISTS                                                 2431 BRIARCREST ROAD           ATTN DAVID BENDETT                               BEVERLY HILLS      CA           90210
    David Bennett                                                         2956 Shamrock Drive                                                             Elgin              IL           60123
    DAVID BETHEL                                                          UNIT 9100 BOX 0948             STRI - MRC 0580-06                               DPO                             AA 34002     Panama
    DAVID BLACK LITERARY AGENCY             BLACK INC                     335 ADAMS STREET STE 2707                                                       BROOKLYN           NY           11201
    DAVID BLACK LITERARY AGENCY                                           335 ADAMS ST SUITE 2703                                                         BROOKLYN           NY           11201



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                   108 of 488                                                                                    1:26 PM
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                                                                                                                       of 519
                                                                                                                 First Class Service List


              CreditorName                            CreditorNoticeName               Address1                        Address2                       Address3                    City           State       Zip            Country
    DAVID BLACK LITERARY AGENCY                                             335 ADAMS STREET STE 2707                                                                  BROOKLYN             NY           11201
    DAVID BLACK LITERARY AGENCY
    INC                                     ATTN DAVID BLACK                335 ADAMS ST SUITE 2703                                                                    BROOKLYN             NY           11201

    DAVID BRADLEY                           DAVE BRADLEY PHOTOGRAPHY INC 840 SUMMER ST                                                                                 BOSTON               MA           02127
    DAVID BREHM                                                          65129 85TH PLACE                                                                              BEND                 OR           97701
    David Brewster                                                       731 Brookmere Drive                                                                           Edminds              WA           98020
    DAVID BROWN                                                          10 LLANFAIR UNIT 11                                                                           ARDMORE              PA           19003
                                            DBA DAVID BROWNELL
    DAVID BROWNELL                          PHOTOGRAPHY                  2163 LIMA LP, PMB 711005                                                                      LAREDO               TX           78045
    DAVID BRYCE PARKER                                                   118 EAST CARTER STREET                                                                        CARTERSVILLE         GA           30120
                                            INTERNATIONAL KNOWLEDGE
    DAVID BUCKNELL                          NETWORKS CO                  P O BOX 90 SUTHISAN POST OFFICE                                                               DIN DAENG BANGKOK                 10321        Thailand
    DAVID BURCKHALTER                                                    P O BOX 51                                                                                    TUCSON               AZ           85702
    David Burt                                                           646 Shropshire Loop                                                                           Sanford              FL           32771
    DAVID C CAVERLY                                                      406 OAK RIDGE DRIVE                                                                           SAN MARCOS           TX           78666
    David C Cottingham                                                   14 Desmond Ave.                                                                               Manchester           MA           01944
    DAVID C POOLE                                                        32 PARKMAN WAY                                                                                NEEDHAM              MA           02492
    DAVID C ROMAN                           C/O JAKPRINTS INC            3133 CHESTER AVE                                                                              CLEVELAND            OH           44114
    DAVID C ROMAN                                                        2258 26TH ST FIRST FLOOR                                                                      ASTORIA              NY           11105
    DAVID C ROMAN                                                        3133 CHESTER AVE                                                                              CLEVELAND            OH           44114
    DAVID CAPPELLA                                                       860 PLAINVILLE AVENUE                                                                         FARMINGTON           CT           06032-3185
    David Caron                                                          3 Trowbridge Court                                                                            N. Grafton           MA           01536
    DAVID CARTER                                                         4009 SHERIDAN COURT                                                                           AUBURN               CA           95602
    DAVID CATROW                                                         95 FIFTH STREET                                                                               SPRINGFIELD          OH           45504
    David Chandler                                                       163 Summer Street               Apt. 37                                                       Somerville           MA           02143
    DAVID CHAPMAN                                                        156 LOST FOREST                                                                               SAN ANTONIO          TX           78233
    DAVID CHARD                                                          4546 WESTWAY AVE                                                                              DALLAS               TX           75205
    DAVID CHRISTIANA                                                     13990 N SUTHERLAND TR                                                                         TUCSON               AZ           85739
    DAVID CLAPHAM                                                        GREAT HOUSE FARM                                                                              LOWER MAESCOED       HEREFORD     HR2 OHP      United Kingdom
    DAVID CLEMESHA                                                       11083 CAMINO ABROJO                                                                           SAN DIEGO            CA           92127
    David Cole                                                           12215 Hunters Chase Dr.         Apt # 11307                                                   Austin               TX           78729
    David Connell                                                        7455 Somerset Bay               A                                                             Indianapolis         IN           46240
    David Connelly                                                       140 SHOLES RD                                                                                 GOSHEN               NH           03752
    DAVID CORNES COMAPNY                                                 1934 N SEMINARY AVENUE                                                                        CHICAGO              IL           60614
    DAVID COTTINGHAM                                                     14 DESMOND AVENUE                                                                             MANCHESTER           MA           01944
    David Dam                                                            9 Greenhouse Way                                                                              Randolph             MA           02368
    DAVID DIAZ                                                           7314 BLACK SWAN PLACE                                                                         CARLSBAD             CA           92009
    DAVID DOBBS                                                          18 SUMMER STREET                                                                              MONTPELIER           VT           05602
    DAVID DUNCAN                                                         PO BOX 1225                                                                                   LOLO                 MT           59847
    David Dye                                                            3643 42nd Dr                                                                                  Highland             IN           46322
    David E Jensen                                                       10104 Facet Court                                                                             Orlando              FL           32836
    DAVID E LECOUNT                                                      151 SUENO CAMINO, BOX 255                                                                     LA HONDA             CA           94020
    DAVID E&YVONNE S FREEMAN
    REVOCABLE                                                               134 CHACHALACA STREET                                                                      SAN BENITO           TX           78586
    David Eber                                                              7 Littell Road                                                                             Brookline            MA           02446
    DAVID EISENBERG                                                         2702 EAST SENECA                                                                           TUCSON               AZ           85716
    David Evans                                                             16 Rondeau Road                                                                            Bellingham           MA           02019
    DAVID F WARLICK                         DBA THE LANDMARK PROJECT        5009 YADKIN DR                                                                             RALEIGH              NC           27609
    David Ferguson                                                          236 Edgebrook Drive                                                                        Boylston             MA           01505
    David Fredrickson                                                       1100 N Lincoln Ave                                                                         Park Ridge           IL           60068
                                            DE & YS FREEMAN REVOCABLE LIV
    DAVID FREEMAN                           TRUST                           134 CHACHALACA STREET                                                                      SAN BENITO           TX           78586
    DAVID FRIEDMAN                                                          MEDICAL CENTER BOULEVARD      DEPT PHYSIOLOGY PHARM             WAKE FOREST UNIV SCH MED   WINSTON SALEM        NC           27157
    DAVID FULMER                                                            1014 EDEN AVENUE                                                                           ATLANTA              GA           30316
    DAVID G CONNELLY                                                        275 RIDGE LANE # 102                                                                       WALTHAM              MA           02452
    David G Willard                                                         549 Orchard Hill Drive                                                                     Palmyra              PA           17078
    David Goldstein                                                         5121 Hawks Hammock Way                                                                     Sanford              FL           32771
    DAVID GOLIA                             DBA GOLIA MEDIA SERVICES        649 SIERRA POINT RD                                                                        BRISBANE             CA           94005-1621
    DAVID GOODHEW                                                           ST JOHNS COLLEGE              CRANMER HALL                                                 DURHAM                            DH1 3RJ      United Kingdom
    DAVID GRAHAM                                                            116 N CHANCELLOR STREET                                                                    NEWTOWN              PA           18940
    DAVID GRAY                                                              241 EAST TALL OAKS CIRCLE                                                                  PALM BEACH GARDENS   FL           33410
    DAVID GROTT                                                             18 ROMBOUT RIDGE ROAD                                                                      POUGHKEEPSIE         NY           12603
    DAVID H FREEDMAN                                                        45 RIVARD ROAD                                                                             NEEDHAM              MA           02492
    DAVID H SHANNON                                                         1027 EAST GRINNELL DRIVE                                                                   BURBANK              CA           91501
    David H. Madsen                                                         802 S. Salem Dr.                                                                           Schaumburg           IL           60193

    DAVID HARING                                                            3705 ERWIN ROAD               DUKE UNIVERSITY PRIMATE CENTER                               DURHAM               NC           27705
    David Hawkins                                                           329 CHRISTINA DR                                                                           WHITELAND            IN           46184
    David Helmstadter                                                       336 Clark Road                                                                             Brookline            MA           02445



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                 109 of 488                                                                                                       1:26 PM
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                                                                                                                         of 519
                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName                Address1                       Address2              Address3                City        State       Zip            Country
    DAVID HENDIN LITERARY
    ENTERPRISES                                                             P.O. BOX 805                                                                NYACK               NY           10960
    David Hermosillo                                                        954 Wright St                                                               Santa Rosa          CA           95404
    DAVID HIGHAM ASSOC LTD                                                  5-8 LOWER JOHN STREET                                                       LONDON                           WIF 9HA      United Kingdom
                                                                            5-8 LOWER JOHN STREET, GOLDEN
    DAVID HIGHAM ASSOCIATES LTD                                             SQUARE                                                                      LONDON                           W1R 4HA      United Kingdom
    DAVID HIGHAM ASSOCS LTD                                                 5-8 LOWER JOHN ST GLDN SQ                                                   LONDON                           W1R 4H1      United Kingdom
    DAVID HOCKNEY                                                           7508 SANTA MONICA BLVD                                                      LOS ANGELES         CA           90046
    DAVID HUSSEY                                                            223 SOUTH POND DRIVE                                                        BREWSTER            MA           02631
    David Iamiceli                                                          2704 Forest View Lane                                                       Kissimmee           FL           34744
    David J Aquino                                                          882 Main Street                                                             Norwell             MA           02061
                                            C/O BRYN MAWR COLLEGE- DEPT
    DAVID J CAST                            OF HISTRY                       101 N MERION AVE                                                            BRYN MAWR           PA           19010-2899
    DAVID J CHARD                                                           4546 WESTWAY AVENUE                                                         DALLAS              TX           75205-3633
    DAVID J COLBERT                                                         44 CHARLES ST WEST, STE 4509                                                TORONTO             ON           M4Y 1R8      Canada
    DAVID J FRENT                                                           PO BOX 455                                                                  OAKHURST            NJ           07755
    DAVID J HOUGH                                                           10080 LIEURANCE ROAD                                                        LA FARGE            WI           54639
    DAVID J LOMBARDI                                                        2312 WORDSWORTH STREET                                                      HOUSTON             TX           77030

    DAVID J PICKERING                       dba PICKS AUDIO VISUAL SERVICES 1410 E WINDEMERE                                                            ROYAL OAK           MI           48073
    DAVID J SCHIEFELBEIN                                                    3826 CORLISS AVENUE N                                                       SEATTLE             WA           98103
    David J Smith                                                           13532 Budworth Circle                                                       Orlando             FL           32832
    David J Thomas                                                          320 North Taylor Avenue                                                     Oak Park            IL           60302
    David J Wettengel                                                       10 Everett Road                                                             Salem               MA           01970
    DAVID JAMES GROUP                                                       1 TRANS AM PLAZA DRIVE STE 300                                              OAKBROOK TERRACE    IL           60181
                                                                            11416 TERWILLINGERS VALLEY
    DAVID JAMES POISSANT                                                    LANE                                                                        CINCINNATI          OH           45249
    David Jones                                                             971 Wood Avenue                                                             Geneva              IL           60134
    David K Hall                                                            127 Weldin Park Dr                                                          Wilmington          DE           19803
    DAVID K KLUG                                                            1063 SUMMER PLACE                                                           PITTSBURGH          PA           15243
    DAVID K WHITE                                                           2136 W BERTEAU AVENUE, # 3N                                                 CHICAGO             IL           60618
    David K. Rosenthal, LLC                                                 880 Union Avenue                                                            Boulder             CO           80304
    David Kading                                                            437 Westport Dr.                                                            Pingree Grove       IL           60140
    David Kavanaugh                                                         57 Philip St                                                                Medfield            MA           02052
    David Kelley                                                            6033 N. Sheridan Road Apt #31F                                              Chicago             IL           60660
    David Kneip                                                             109 E. Beech Dr.                                                            Schaumburg          IL           60193
    David Knowles                                                           2306 Vanderbilt Circle                                                      Austin              TX           78723
    DAVID KOBRIN                                                            PO BOX 256                                                                  EASTBOUND           WA           98245
    David Koning                                                            513 N. Emerson                                                              Mount Prospect      IL           60056
    David Kowal                                                             1848 Hillcrest Dr                                                           Delafield           WI           53018
    DAVID KOZUSKO                           DBA EVAD ENTERPRISES LTD CO     4669 LIVINGSTON AVENUE                                                      DALLAS              TX           75209
    DAVID KREIMER                                                           9307 21ST AVE NW STE 444                                                    SEATTLE             WA           98117
    DAVID L BUCKNER                                                         2416 W 26TH AVE                                                             STILLWATER          OK           74074
    David L Johnson                                                         24 Cutts Road                                                               Durham              NH           03824
    David L McCall                                                          113 E. Sierra Circle                                                        San Marcos          TX           78666
    David L Perryman                                                        779 Shady Creek Drive                                                       Greenwood           IN           46142
                                            DEPT OF HISTORY-
    DAVID L SCHOENBRUN                      NORTHWESTERN UNIV               1881 SHERIDAN ROAD                                                          EVANSTON            IL           60208-2220
    DAVID L STIENECKER                                                      100-11 67TH RD APT 606                                                      FOREST HILLS        NY           11375
    David Langevin                                                          15 PEGAN LANE                                                               NATICK              MA           01760
    David Larson                                                            10232 East Watson Rd                                                        St. Louis           MO           63127
    DAVID LASKY                                                             10017 7TH AVENUE NW                                                         SEATTLE             WA           98177
    David Lawson                                                            5842 N. Wayne Avenue             #2                                         Chicago             IL           60660
    David Leistensnider                                                     4844 N. Troy Street                                                         Chicago             IL           60625
    David Leshock                                                           445 Demmler Dr                                                              Pittsburgh          PA           15237
    DAVID LEVAN                                                             2018 17TH STREET                                                            ST CLOUD            FL           34769
    David Levine                                                            49 Raechel Rd                                                               Randolph            MA           02368
    David Libby                                                             300 Oak Hill Circle                                                         Concord             MA           01742
    DAVID LIEBMAN                                                           981 S QUAIL STREET                                                          NORFOLK             VA           23513
    DAVID LINSTROM PRODUCTIONS                                              344 BINSCARTH ROAD                                                          LOS OSOS            CA           93402
    DAVID LOHMAN                                                            438 CLARK STREET                                                            IOWA CITY           IA           52240
    DAVID LOHMAN INC                                                        438 CLARK ST.                                                               IOWA CITY           IA           52240
    David Lowry                                                             40 COLLEGE ST #402                                                          BURLINGTON          VT           05401
    David Lynn                                                              165 Warren Road                                                             Warrendale          PA           15086
                                            DBA OXYGEN GROUP
    DAVID M BARRON                          PHOTOGRAPHY                     166 ESSEX STREET                                                            MARLBORO            MA           01752
    DAVID M CAROLL                                                          P O BOX 63                                                                  WARNER              NH           03278
    DAVID M DENNIS                                                          P O BOX 20136                                                               SARASOTA            FL           34276
    DAVID M FREDETTE                                                        16 LEXINGTON RD                                                             SARATOGA SPRINGS    NY           12866
    DAVID M HELGREN                                                         14080 RESERVATION RD                                                        SALINAS             CA           93908



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                 110 of 488                                                                                       1:26 PM
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                                                                                                                         of 519
                                                                                                                   First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                     Address2                     Address3                City        State       Zip            Country
    David M Meyer                                                           2630 N. 76th Ave.                                                                   Elmwood Park        IL           60707
    DAVID M MOORE                                                           18 BOB WHITE WAY                                                                    WEATOGUE            CT           06089
    DAVID M SHOAF                                                           1580 LINCOLN AVENUE                                                                 CAPITOLA            CA           95010
    DAVID M TEVIS                           DBA TEVIS PHOTOGRAPHIC          1012 N 7TH AVE                                                                      PHOENIX             AZ           85007
    DAVID M THOMAS                                                          268 MALLARD LOOP                                                                    WHITEFISH           MT           59937
    DAVID MADSEN                                                            802 S SALEM DRIVE                                                                   SCHAUMBURG          IL           60193
    DAVID MARKSON                                                           4610 PINECOMB WOODS                                                                 SAN ANTONIO         TX           78249
    David Martin                                                            PO BOX 807                                                                          OIL CITY            PA           16301
    David Martinez                                                          5614 Liberty Creek Dr W                                                             Indianapolis        IN           46254
    David Mattson                                                           88 Freedom Road                                                                     Sewell              NJ           08080
    David Mc Devitt                                                         7976 Kimberly Jean                                                                  Riverside           CA           92506
    David Mc Elwain                                                         259 SOUTH ST                                                                        PORTSMOUTH          NH           03801-4526
    David Mcdermott                                                         435 First New Hampshire Tnpk                                                        Northwood           NH           03261
    DAVID MCGLYNN                                                           1907 N ALVIN STREET                                                                 APPLETON            WI           54911
    DAVID MCPHAIL                                                           598 BRACKETT ROAD                                                                   RYE                 NH           03870
    DAVID MEISCHEN                          DBA MEISCHEN INK                1310 CRESTWOOD RD                                                                   AUSTIN              TX           78722
    David Meltser                                                           330 Wayne Court                                                                     Holland             PA           18966
    David Mills                                                             1 James St                                                                          Norton              MA           02766
    DAVID MONTI                                                             58 HOLLAND VIEW DRIVE                                                               SOUTHINGTON         CT           06489
    DAVID MOSHMAN                                                           1901 PEPPER AVENUE                                                                  LINCOLN             NE           68502
    DAVID MULROY                                                            3270 N DOWNER AVENUE                                                                MILWAUKEE           WI           53211
    DAVID NEUFELD                                                           P O BOX 241                                                                         WOLFEBORO           NH           03894-0241
    DAVID NUFER PHOTOGRAPHY                                                 405 MONTANO NE, STE 1                                                               ALBUQUERQUE         NM           87107
    David Ogden                                                             99 Ogden Lane                                                                       Winfield            MO           63389
    David Osberg                                                            350 Forest Street                                                                   Winnetka            IL           60093
    DAVID P FARRINGTON                      CAMBRIDGE UNIV/CRIM INST        SIDGWICK AVENUE                                                                     CAMBRIDGE                        CB3 9DA      United Kingdom
    DAVID P SALLEY                                                          498 AMETHYST STREET                                                                 NEW ORLEANS         LA           70124
    David Parisotto                                                         1223 Peyton Place                                                                   Cedar Park          TX           78613-3865
    DAVID PAUL MORRIS                                                       20 SAN ANTONIO PLACE # 3A                                                           SAN FRANCISCO       CA           94133
    DAVID PENCE                                                             51 COLUMBIA ROAD                                                                    PORTLAND            ME           04103
    David Perez                                                             7900 SW 137 CT                                                                      Miami               FL           33183
    David Pilgrim                                                           2636 West Argyle Place                                                              Denver              CO           80211
    DAVID PRIFTI                                                            1547 MAIN STREET                                                                    CONCORD             MA           01742
    DAVID QUAMMEN                                                           414 SOUTH THIRD AVE                                                                 BOZEMAN             MT           59715
    DAVID R FRAZIER PHOTOLIBRARY
    INC                                                                     P O BOX 5242                                                                        BOISE               ID           83705
    David R Futato                                                          41 Princeton St.                                                                    Somerville          MA           02144
    DAVID R GODINE PUBLISHER INC                                            15 COURT SQUARE STE 320                                                             BOSTON              MA           02108-2536
    DAVID R PRITCHARD                                                       1 KINGSLEY AVENUE                                                                   HAYDENVILLE         MA           01039
    DAVID R SCHWIMMER                                                       2407 18TH AVE                                                                       COLUMBUS            GA           31901
    DAVID R STILES                                                          161 EAST 91ST ST APT 1 C                                                            NEW YORK            NY           10128
    DAVID RATCLIFF                                                          1038 FIRST ST # 4                                                                   MONTEREY            CA           93940
    David Replogle                                                          84 Gammons Road                                                                     Cohasset            MA           02025
    DAVID RICHARD LOEB                      AKA RAJNAR VAJRA LOEB           39 DENNIS DRIVE                                                                     AMHERST             MA           01002
                                                                            230 NETZER ADMINISTRATION
    DAVID RICHARDS                                                          BUILDING                                                                            ONEONTA             NY           13820
    DAVID RIVERA CAMPAIGN                                                   P O BOX 520633                                                                      MIAMI               FL           33152
    David Roemer                                                            1211 Knollwood Road                                                                 Deerfield           IL           60015
    DAVID ROSENGARTEN                       C/O TJ ROBINSON                 125 WEST 88TH ST STE 1A                                                             NEW YORK            NY           10024
    David Rowe                                                              59 Old Farm Road                                                                    Weston              CT           06883
    DAVID RUSSO                                                             350 WELLINGTON ST #509                                                              KINGSTON            ON           K7K 7J7      Canada
    DAVID S NELSON                                                          210 CHESTNUT HILL ROAD                                                              KILLINGWORTH        CT           06419
    DAVID SALTERS                                                           9879 IOSCO RIDGE DRIVE                                                              GREGORY             MI           48137
    David Samuels                                                           3007 St. Andrews Court                                                              Fort Mill           SC           29707
    DAVID SANDLIN                                                           58 E 1ST STREET APT 5C                                                              NEW YORK            NY           10003
    DAVID SARTOR                                                            2019 ELECTRIC ST                                                                    DUNMORE             PA           18512
    David Savier                                                            5374 E. Otero Drive                                                                 Centennial          CO           80122
    DAVID SAX                                                               501 5TH AVENUE, APT 3R                                                              BROOKLYN            NY           11215
    David Scarbeary                                                         1555 Madison Street                                                                 Denver              CO           80206
    David Schmoyer                                                          PO Box 381                                                                          Cape Neddick        ME           03902
    DAVID SCHWARZER                                                         91 EDGEWOOD AVENUE                                                                  WEST ORANGE         NJ           07052-3105
    DAVID SEMPLE                                                            13 EAST MOUNT ROAD                                                YORK              North Yorkshire                  YO24 1BD     United Kingdom
    David Serbun                                                            12 Castle Rd                                                                        Westford            MA           01886
    DAVID SIBLEY                                                            45 ISAAC DAVIS RD                                                                   CONCORD             MA           01742
    David Silva                                                             1227 Kempton Chase Pkwy                                                             Orlando             FL           32837
    David Simmons                                                           967 Elmwood Lane                                                                    Elk Grove Village   IL           60007
    DAVID SIMMS                             DBA EATIBLE DELIGHTS CATERING   2338 RIDGE AVENUE                                                                   PHILADELPHIA        PA           19121
    David Slik                                                              6210 Brookhill Circle                                                               Orlando             FL           32810
    DAVID SLOBODKIN                                                         931 S CLINTON AVE                                                                   OAK PARK            IL           60304
    David Smith                                                             1000 Valley Ridge Blvd         #4208                                                Lewisville          TX           75077



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                  111 of 488                                                                                              1:26 PM
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                                                                                                                  119 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                    Address1                      Address2             Address3                City         State       Zip          Country
    DAVID SOBEL                                                             116 BROWN RD                                                                  HARRISVILLE         NH            03450
    David Stirling                                                          4 Woodlawn Ave                                                                Kittery             ME            03904
    David Stolz                                                             2717 West Road                                                                Woodstock           IL            60098
    David Suson                                                             9972 Silver Maple Road                                                        Highlands           CO            80129
    David Swift                                                             152 South Street                                                              Crystal Lake        IL            60014
    DAVID SYMINGTON                                                         32 ST ALBANS STREET                                                           MT WAVERLEY         Victoria      03149     Australia
    DAVID T MARSH                                                           302-B E SAN BERNARDINO RD                                                     COVINA              CA            91723
    David T Nagel                                                           2808 Brookline Court                                                          Zionsville          IN            46077
    David Thomas                                                            15099 Skyview Ln                                                              Forney              TX            75126
    David Trevino                                                           112 Shady Oak                                                                 Georgetown          TX            78628
    David Van Gorp                                                          818 E Liberty Street                                                          Pella               IA            50219
    David Vanabel                                                           801 N. Jackson St.                                                            Waukegan            IL            60085
    David Vandenberg                                                        S39 W31553 Highway D                                                          Waukesha            WI            53189
    David Vinnes                                                            11 Byrne Road                                                                 Milton              MA            02186
    David Visser                                                            7116 Newgate Court                                                            Canton              MI            48187
    DAVID W BROWN                                                           3129 BIRD ROCK ROAD                                                           PEBBLE BEACH        CA            93953
    DAVID W COHEN                           DBA THIRTY PROJECTS LLC         1129 PONTIAC TRAIL                                                            ANN ARBOR           MI            48105
    DAVID W MILLER                                                          P O BOX 1921                                                                  BELLINGHAM          WA            98227
    David W Reed                                                            8078 Hummingbird Drive                                                        Frisco              TX            75034
    DAVID W SULLIVAN                        DBA FIREWORKS                   6601 WOLFCREEK PASS                                                           AUSTIN              TX            78749
    DAVID WAGNER                                                            302 KEMP ROAD                                                                 SCOTLAND            CT            06247
    David Watson                                                            456 Shoreview Avenue                                                          Winter Park         FL            32789
    David West                                                              60 Hillcrest Rd                                                               Reading             MA            01867
    DAVID WHITIN                                                            19836 EAST IDA LANE                                                           GROSSE PT WOODS     MI            48236
    DAVID WHITTEN                                                           P O BOX 178                                                                   OAKRIDGE            OR            97463
    DAVID WIESNER                                                           8700 CHELTENHAM AVE                                                           WYNDMOOR            PA            19038
    DAVID WIESNER LLC                                                       8700 CHELTENHAM AVENUE                                                        WYNDMOOR            PA            19038
    David Wilcox                                                            5807 Duval                                                                    Austin              TX            78752
    DAVID WILSON ASSOCIATES INC                                             570 HILLSIDE AVENUE                                                           NEEDHAM             MA            02494

    DAVID WILSON SWAIN                      DBA WILSON SWAIN ILLUSTRATION   3115 CHARING CROSS RD                                                         GLENDALE            CA            91206

    DAVID WINDHAM                           DBA D-HAM GRILLIN AND CATERING 328 E SW PARKWAY # 281                                                         LEWISVILLE          TX            75067
                                                                           1211 CONNECTICUT AVE NW STE
    DAVID WISE                                                             318                                                                            WASHINGTON          DC            20036
    DAVID WISEMAN LITERARY TRUST            C/O PATRICK WISEMAN            70 DRUID CIRCLE NE                                                             ATLANTA             GA            30307
    DAVID YOUNG-WOLFF                                                      2303 27TH ST                                                                   SANTA MONICA        CA            90405
    DAVIDSON COLLEGE
    BKSTORE/NACS                                                            P O BOX 7161                                                                  DAVIDSON            NC            28035
    Davidsons Liquor, Inc.                                                  5555 Boatworks Dr.                                                            Littleton           CO            80126
    DAVIES AND STARR INC                                                    568 BROADWAY, STE 503                                                         NEW YORK            NY            10012
    DAVIES CHRISTOPHER E                                                    4508 SUPERIOR LANE                                                            CLEARWATER          FL            33762
    DAVIES COUNTY BOARD OF
    EDUCATION                               DEER PARK ELEMENTARY SCHOOL     4959 NEW HARTFORD ROAD                                                        OWENSBORO           KY            42303
    DAVIES HIGHER EDUCATION
    SERVICES LLC                                                            114 AIRPORT BUSINESS COURT                                                    JASPER              GA            30143
    DAVIES JACQUELINE                                                       81 PARISH ROAD                                                                NEEDHAM             MA            02494
                                            DBA EFFICIENT EDUCATIONAL
    DAVIN T DRAKE                           SERVICES                        1115 STATLER BEND DRIVE                                                       PFLUGERVILLE        TX            78661
    DAVIS & CANNON LLPQ                                                     40 SOUTH MAIN ST               P O BOX 728                                    SHERIDAN            WY            82801
    DAVIS COUNTY SD                         ACCOUNTS PAYABLE                45 EAST STATE STREET                                                          FARMINGTON          UT            84025
    DAVIS DESIGN CORP                                                       1055 E HILLSIDE ROAD                                                          NAPERVILLE          IL            60540
    DAVIS ENTERPRISES INC                   DBA MINUTEMAN PRESS             51 LEGACY BLVD                                                                DEDHAM              MA            02026
    DAVIS HARRISON DION INC                                                 333 N MICHIGAN AVE STE 2300                                                   CHICAGO             IL            60601
    DAVIS PHINNEY                                                           470 JUNIPER AVENUE                                                            BOULDER             CO            80304
    DAVIS POLK & WARDELL LLP                                                450 LEXINGTON AVENUE                                                          NEW YORK            NY            10017
    DAVIS ROBINSON                                                          40 SEELEY AVE                                                                 PORTLAND            ME            04103
    Davis School District                                                   PO Box 0588                    45 East State Street                           Farmington          UT            84025
    Davis Walker                                                            530 Broadway Avenue                                                           Orlando             FL            32803
    DAVIS WRIGHT TREMAINE LLP                                               1633 BROADWAY, 27TH FLOOR                                                     NEW YORK            NY            10019
    Davis, Eugene
    Davis, Eugene                                                           5 Canoe Brook Drive                                                           Livingston          NJ            07039
    DAVISON EDWARD ANGUS                                                    12 WILEY ROAD                                                                 BELMONT             MA            02478
    DAVISON LESLEY                                                          708 KANUGA DRIVE                                                              WEST PALM BEACH     FL            33401
    Dawn A Ingram                                                           1694 Van Buren                                                                Des Plaines         IL            60018
    Dawn Applegate                                                          119 Old Selwood Trace                                                         Columbia            SC            29212
    Dawn Beard                                                              1011 Malaga St                                                                Orlando             FL            32822
    Dawn Bowen                                                              2801 Bissonet Drive                                                           Denton              TX            76210
    Dawn Cibic                                                              291 Springbrook Lane                                                          Carol Stream        IL            60188
    DAWN EVANS                                                              979 YUKON ROAD                                                                RUFFSDALE           PA            15679



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                    112 of 488                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              120 Matrix
                                                                                                                      of 519
                                                                                                                   First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                      Address2              Address3                City        State       Zip           Country
    DAWN GRAZIANI                                                          1005 NE 11TH AVE                                                              GAINESVILLE         FL           32601
    DAWN HERD-CLARK                                                        906 STATE UNIVERSITY DR                                                       FORT VALLEY         GA           31030
    DAWN L KIRBY                                                           321 LOST CREEK DR                                                             KENNESAW            GA           30152
    Dawn L Mc Bride                                                        2786 Marcus Rd                                                                Salt Lake City      UT           84119
    Dawn Lemley                                                            1984 Garfield Ave                                                             Aurora              IL           60506
    DAWN MARIE MCCOART                                                     3703 MERLIN WAY                                                               ANNANDALE           VA           22003
    Dawn Millstone                                                         34 Myrtle Avenue                                                              Wakefield           MA           01880
    Dawn Mulkey                                                            1453 N 200 E                                                                  Danville            IN           46122
    Dawn Parker                                                            90 Sycamore Road                                                              Melrose             MA           02176
    DAWN ROGERS                                                            5636 FORREST STREET                                                           HOLLYWOOD           FL           33021
    Dawn Simon-Matthews                                                    1608 Forest Park                Ave.                                          Baltimore           MD           21207
    DAWN STOSCH                                                            312 SOUTH HAGERTY STREET                                                      ALTOONA             PA           16602
    DAWNVILLE ELEM/ WHITFIELD CTY
    SCHS                                                                   1380 DAWNVILLE RD NE                                                          DALTON              GA           30721
    DAWSON & DAWSON LTD                                                    P O BOX 1323                                                                  HILO                HI           96721
    DAWSON ARTHUR D                                                        8217 LA JOLLA SHORES DRIVE                                                    LA JOLLA            CA           92037
    DAWSON DOUGLAS B                                                       363 KITCHENER AVENUE                                                          WESTMOUNT           QC           H3Z 2G1      Canada
    DAWSON JOHN H                                                          4379 WESTMOUNT AVENUE                                                         WESTMOUNT           QC           H3Y 1W8      Canada
    DAY PITNEY LLP                                                         PO BOX 33300                                                                  HARTFORD            CT           06150
    DAY TIMERS, INC                                                        P O BOX 27013                                                                 LEHIGH VALLEY       PA           18002-7013
    DAYTON LITERARY PEACE PRIZE             FOUNDATION                     P O BOX 461                                                                   DAYTON              OH           45409
    DAYTON SOCIETY OF NATURAL
    HISTORY                                                                2301 WEST RIVER ROAD                                                          DAYTON              OH           45418
    DB PUBLISHING SERVICES INC                                             3128 ELMENDORF DRIVE NW                                                       KENNESAW            GA           30144
    DBA DISTRIBUTION SERVICES INC           DISTRIBUTION BY AIR INC        PO BOX 6090                                                                   SOMERSET            NJ           08875
    DC OFFICE OF TAX AND REVENUE                                           PO BOX 18158                                                                  LANSING             MI           48901
    DC OFFICE OFFINANCE AND
    TREASURY                                UNCLAIMED PROPERTY UNIT        1275 K STREET NW SUITE 500-B                                                  WASHINGTON          DC           20005
    DC PUBLIC EDUCATION FUND                C/O KESSON ANDERSON            1534 14TH STREET NW                                                           WASHINGTON          DC           20005
    DC Treasurer                            DC Office of Tax & Revenue     P. O. Box 679                                                                 Washington          DC           20044-0679
    DC Treasurer                                                           1101 4th Street, S.W.           Suite W270                                    Washington          DC           20024
    DE BARDELEBEN JOAN                                                     31 NORTHVIEW RD                                                               NEPEAN              ON           K2E 6A6      Canada
                                            DBA JENNIFER DE CHIARA LIT
    DE CHIARA JENNIFER                      AGENCY                         31 EAST 32ND STREET SUITE 300                                                 NEW YORK            NY           10016
    DE GROAT DIANE                                                         134 FLAT HILLS ROAD                                                           AMHERST             MA           01002
    DE LAGE LANDEN FINANCIAL
    SERVICES INC                                                           P O BOX 41602                                                                 PHILADELPHIA        PA           19101-1602
    DE PAUW LINDA GRANT                                                    20 GRANADA ROAD                                                               PASADENA            MD           21122-2708
    DEAL MARCI SMITH                                                       1132 WOODVALE DR                                                              BEDFORD             TX           76021
    Dean A Pesare                                                          12 E Gartner Road                                                             Naperville          IL           60540
    DEAN CANNON CAMPAIGN                                                   P O BOX 538                                                                   WINTER PARK         FL           32790
    Dean Estrada                                                           1117 Shorewood Court                                                          Glendale Heights    IL           60139
    DEAN GENGE                                                             71 PARKHILL STREET                                                            ST JOHNS            NL           A1E 6B2      Canada
    Dean H Lofquist                                                        4734 North Talman               2                                             Chicago             IL           60625
    Dean Hager                                                             565 S. Fairfield Ave                                                          Lombard             IL           60148
                                                                           5900 NORTH COUNTY ROAD 700
    DEAN RAYMOND S                                                         WEST                                                                          MUNCIE              IN           47304
    DEANA TURNER PITTMAN                                                   477 KATHERINE TRAIL                                                           BATESVILLE          MS           38606
    Deanna Burkholder                                                      1408 Charleston Ct.                                                           Geneva              IL           60134
    Deanna Garnand                                                         5685 Elizaville Rd                                                            Lebanon             IN           46052
    DEANNA HEFLIN                                                          8213 GLENROTHES BLVD                                                          KNOXVILLE           TN           37909
    Deanna Hoeckendorf                                                     1926 Ruidoso Run                                                              Lewisville          TX           75077
    Deanna L Babikian                                                      130 Common Street                                                             Watertown           MA           02472
    Deanna M Newsom Williams                                               2864 Cedar Glade Drive                                                        Naperville          IL           60564
    Deanna Richardson                                                      9 Huckins Dr                                                                  Newmarket           NH           03857
    DEANNE LINDSEY BARNETT                                                 2515 TANGLEBROOK RD                                                           MIDLOTHIAN          VA           23112
    Deanne Urmy                                                            29 Chestnut Pl.                                                               Brookline           MA           02445
    DEARBORN                                                               30 S WACKER DRIVE                                                             CHICAGO             IL           60606
    DEARBORN MARY                                                          100 WEST 57TH ST #19A                                                         NEW YORK            NY           10019
    Deb Calabrese                                                          215 Clay Street                                                               Algonquin           IL           60102
                                            DBA DEBBI MORELLO
    DEBBI A MORELLO                         PHOTOGRAPHY                    85 MCFADDEN DR                                                                WILTON              CT           06897
    Debbi Sibrava                                                          250 Chasse Circle                                                             Saint Charles       IL           60174
    DEBBIE BRAXTON                                                         10216 SW 28TH CIRCLE                                                          YUKON               OK           73099
    DEBBIE DENISE CARTER                                                   448 MACY ST                                                                   WEST PALM BEACH     FL           33405
    DEBBIE HILL                                                            40 PINTUERERO WAY                                                             HOT SPRINGS         AR           71909
    DEBBIE KELLY                                                           53 ENGLISH IVY WAY                                                            ACWORTH             GA           30101
    Debbie Kemp                                                            1589 S. Trenton Ct.                                                           DENVER              CO           80231
    Debbie L Wilkinson                                                     W 3404 Providence                                                             Spokane             WA           99205
    DEBBIE M KING                                                          868 S PRINCETON COURT                                                         ELMHURST            IL           60126



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                  113 of 488                                                                                     1:26 PM
                                                      12-12171-reg            Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 121 Matrix
                                                                                                                         of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                         Address2              Address3             City          State       Zip           Country
    DEBBIE MAGOULICK                                                        3719 CYPRESS HILL DR                                                             SPRING             TX           77388
    DEBBIE MCALISTER                                                        860 FAIRWAY DRIVE                                                                FAYETTEVILLE       TN           37334
    Debbie Michelutti                                                       75 Manhattan Court                                                               Sudbury            ON           P3A6C7       Canada
    DEBBIE MILLER                                                           47 SPYGLASS DRIVE                                                                LITTLETON          CO           80123
    DEBBIE MILLER CONSULTING                                                47 SPYGLASS DRIVE                                                                LITTLETON          CO           80123
    Debbie Niederhauser                                                     2701 Cheswick Road                                                               Quincy             IL           62301
    DEBBIE OBRIEN                                                           47 RICHARDS AVENUE                                                               SHARON             MA           02067
    DEBBIE POSNER                                                           350 WATER ST UNIT 6-3                                                            NEWBURGH           NY           12550
    DEBBIE STERNADEL                                                        609 MONTCLAIR ST                                                                 REFUGIO            TX           78377
    Debbie Timpe                                                            2040 Harrison Street                                                             Glenview           IL           60025
    DEBBIE ULLERY                                                           1225 15TH AVE BSMT                                                               GREENLEY           CO           80631
    Debbora Park                                                            2720 Mint Drive                                                                  Orlando            FL           32837
    Debby L Frata Elidrissi                                                 13236 Heather Moss Drive        Apt 1112                                         Orlando            FL           32837
    DeBoer, Margaret
    Debora Baldinger                                                        12318 Greco Drive                                                                Orlando            FL           32824
    Debora Smith                                                            600 CHAPEL LAKE DR              APT # 102                                        VIRGINIA BEACH     VA           23454
    Deborah A Stonier                                                       212 Chapman Road                                                                 Tewksbury          MA           01876
    Deborah A. Sanders                                                      3500 Brookside Drive                                                             Roswell            GA           30076
    DEBORAH ANN WALDRON                                                     1061 S EDISON STREET                                                             ARLINGTON          VA           22204
    DEBORAH APPLEMAN                                                        219 AMHERST STREET                                                               ST PAUL            MN           55105
    Deborah Astudillo                                                       116B Commonwealth Ave                                                            Concord            MA           01742
    Deborah Barber                                                          1031 Barronwood Road                                                             Ocoee              FL           34761
    Deborah Baskin                                                          15718 Laurel Oak Lane                                                            Davidson           NC           28036
    DEBORAH BAUM                                                            5228 CHESTNUT GROVE ROAD                                                         SPRING GROVE       PA           17362
    DEBORAH BLUM                                                            318 EVERGLADE DRIVE                                                              MADISON            WI           53717
    DEBORAH CLEMENCE                                                        P O BOX 81                                                                       SOUTH DENNIS       MA           02660
    DEBORAH COUGHLIN                                                        117 ARCADIA DR                                                                   SEBASTIAN          FL           32958
    Deborah Crawford                                                        1252 Shamrock Lane                                                               Pingree Grove      IL           60140
    Deborah Cruz                                                            1744 Lacombe Ave.                                                                Bronx              NY           10473
    Deborah De Losa                                                         1 Moore Road                                                                     Middle Grove       NY           12850
    Deborah Denson                                                          3207 Grove Ave                                                                   Richmond           VA           23221
    Deborah deVries                                                         569 Montcalm Place                                                               Saint Paul         MN           55116
    Deborah Dicairano                                                       10329 Sw 23rd Ave                                                                Gainsville         FL           32607
    DEBORAH DIFFILY                                                         7777 GLEN AMERICA DR APT 125                                                     DALLAS             TX           75225-1834
    Deborah E. Murasso                      c/o Vernon Board of Education   30 Park Street                                                                   Vernon Rockville   CT           06066
    Deborah Eaton                                                           196 Bruce Hill Rd                                                                Cumberland         ME           04021
    Deborah Engel                                                           760 West End Avenue             7D                                               New York           NY           10025
    Deborah Fedderly                                                        125 Bartley Rd                  #2                                               Long Valley        NJ           07853
    DEBORAH FREEMAN                                                         19 BOWDOIN ST                                                                    MEDFORD            MA           02155
    Deborah Gary                                                            146 Charlame St                                                                  Roxbury            MA           02119
    DEBORAH GRAY WHITE                                                      12 PARK SQUARE                                                                   METUCHEN           NJ           08840
    Deborah Hatch                                                           227 Weston Road                                                                  Wellesley          MA           02181
    Deborah Herbst                                                          2766 Cayman Way                                                                  Orlando            FL           32812
    Deborah Hinkley                                                         166 Back Road                                                                    Dover              NH           03820
    Deborah Holland                                                         5441 Lake Margaret Drive        Unit F                                           Orlando            FL           32812

    DEBORAH HOWELL                                                          604 SOUTH TOPANGA CANYON BLVD                                                    TOPANGA            CA           90290
    Deborah J Maenner                                                       116 Concord Lane                                                                 Carol Stream       IL           60188
    DEBORAH J SLADE                                                         40 KENILWORTH LANE                                                               WARWICK            NY           10990
    Deborah J Strand                                                        5868 Ginsberg Court                                                              North Fort Myers   FL           33903
    Deborah J. Lynes                        dba D&D Editorial Services      5545 West Leawood Drive                                                          Littleton          CO           80123
    DEBORAH JONES                                                           777 FLORIDA STREET                                                               SAN FRANCISCO      CA           94110
    DEBORAH K CORNELISON                                                    801 CHARLES DRIVE                                                                ADA                OK           74820
    DEBORAH KELT                                                            715 ORLAND BLVD                                                                  AUSTIN             TX           78745
    DEBORAH L BAILEY                                                        846 W ELM COURT                                                                  LITCHFIELD PARK    AZ           85340
    Deborah L Jessen                                                        15106 Olde Tavern Court                                                          Houston            TX           77068
    Deborah L Smith                                                         2765 Las Palmas Cove                                                             Del Mar            CA           92014
    DEBORAH L WEISS GELINE                                                  30 WEST 63 STREET APT 10C                                                        NEW YORK           NY           10023
    DEBORAH L YARBROUGH                                                     1311 17TH STREET                                                                 WOODWARD           OK           73801
    DEBORAH LACY-ANDERSON                                                   3500 SNOW LEOPARD                                                                COLUMBIA           MO           65202
    Deborah Lash                                                            28 Woodside Road                                                                 Billerica          MA           01862
    Deborah Lee                                                             29 Crescent St.                                                                  Cambridge          MA           02138
    DEBORAH LEE SMITH                                                       8287 BRYN GLEN WAY                                                               SAN DIEGO          CA           92129
    DEBORAH LILLIE                                                          582 PEAKHAM RD                                                                   SUDBURY            MA           01776
    DEBORAH LOPEZ APONTE                                                    C/ TEXIDO # 315                                                                  HATO REY           PR           00917
    DEBORAH LUND                                                            3076 CELESTIAL WAY                                                               GREENBANK          WA           98253
    DEBORAH M DUDT                                                          1127 FIVE POINTS RD                                                              INDIANA            PA           15701
    Deborah M Pangilinan                                                    2035 Norwich Drive                                                               Bartlett           IL           60103
    DEBORAH M VERNETTI                                                      27W403 CHARTWELL DRIVE                                                           WINFIELD           IL           60190
    DEBORAH M WALESKI                                                       26 PRIMROSE AVE                                                                  FLORAL PARK        NY           11001



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      114 of 488                                                                                    1:26 PM
                                                      12-12171-reg             Doc 136              Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  122 Matrix
                                                                                                                          of 519
                                                                                                                First Class Service List


                CreditorName                      CreditorNoticeName                      Address1                   Address2              Address3              City         State       Zip            Country
    DEBORAH MELLION                         CRANSTON PUBLIC SCHOOLS         845 PARK AVENUE                                                           CRANSTON           RI           02910
    Deborah Nash                                                            P. O. Box 677                                                             Bronson            FL           32621
    DEBORAH NOURSE LATTIMORE                                                3 KONTIKI WAY                                                             PACIFIC PALIS      CA           90272
    Deborah Oliver                                                          24341-1 Santa Clara Ave                                                   Dana Point         CA           92629
    DEBORAH OSHER                                                           850 LOTUS AVE APT 107                                                     SKOKIE             IL           60077
    DEBORAH OWEN LTD                                                        78 NARROW ST LIMEHOUSE                                                    LONDON                          E14 8BP      United Kingdom
    DEBORAH POLLES                                                          1310 LAMBERT DRIVE                                                        PAPILLION          NE           68046
    Deborah S Milner                                                        1521 LAcadie                                                              Lake Charles       LA           70605
    DEBORAH S PALEN                                                         2657 E 124TH STREET                                                       CLEVELAND          OH           44120
    DEBORAH S STREET                                                        4514 BROOK FOREST DRIVE                                                   PANAMA CITY        FL           32404
    Deborah Sauer                                                           PO BOX 66535                                                              ST PETE BEACH      FL           33736-6535
    Deborah Shults                                                          1419 Sue Barnett                                                          Houston            TX           77018
    DEBORAH SLOAN AND COMPANY
    LLC                                                                     BOX 2095                                                                  ANDOVER            MA           01810
    Deborah Sommer                                                          1530 Cambridge Street          #4                                         Cambridge          MA           02139
    Deborah Spitzer                                                         2120 Brandywyn Lane                                                       Buffalo Grove      IL           60089
    Deborah Swan                                                            3300 Toro Way                                                             Redding            CA           96002
    DEBORAH SWARENS                                                         2150 ALISON                                                               CARTHAGE           MO           64836
    DEBORAH SWIFT LAREN                                                     714 STOCKMAN ROAD                                                         PROSPERITY         SC           29127-9445
    Deborah Taylor                                                          814 Considine Rd                                                          Geneva             IL           60134
    Deborah Tesch                                                           10139 Myre Road                                                           Tomahawk           WI           54487
    Deborah Thomas-Cox                                                      2317 Point View Pl NW                                                     Gig Harbor         WA           98335
                                            DBA EAST WEST LITERARY AGENCY
    DEBORAH WARREN                          LLC                           1158 26TH STREET STE 462                                                    SANTA MONICA       CA           90403
    DEBORAH WILES                                                         575 MARIBEE DR                                                              TUCKER             GA           30084
    DEBORAH WOLFE LIMITED                                                 731 N 24TH STREET                                                           PHILADELPHIA       PA           19130-2539
    DEBRA A DOORACK                                                       11 GREENLEAF CIR                                                            BRENTWOOD          NH           03833
    DEBRA A GWARTNEY                                                      50285 MCKENZIE HIGHWAY                                                      FINN ROCK          OR           97488
    DEBRA A LINDBLOM                                                      11525 WINIFRED DR                                                           APPLE VALLEY       CA           92308
    DEBRA BRYANT                            DBA THANK DOG PHOTOGRAPHY     5311 VICTOR ST                                                              DALLAS             TX           75214
    DEBRA CLOUATRE                                                        23445 CR 3172                                                               GLADEWATER         TX           75647
    Debra D Penrose                                                       5715 E 114th Place                                                          Tulsa              OK           74137
    DEBRA DE MARIA                                                        7215 SYDENSTRICKER RD                                                       SPRINGFIELD        VA           22152
    Debra Deeter                                                          6284 Mallard Dr                                                             Nineveh            IN           46164
    Debra Doorack                                                         110 North Madison Rd.                                                       Guilford           CT           06437
    DEBRA DUNN                                                            1812 BROWN ST                                                               KISSIMMEE          FL           34741
    Debra Exum                                                            622 Faulkner Street                                                         New Smyrna Beach   FL           32168
    Debra Forrest                                                         5 DERRY PARK DR                  #6                                         MIDDLEBORO         MA           02346
    DEBRA GALE ENGLAND                                                    544 OSBORN AVE                                                              WEST COVINA        CA           91790
    DEBRA GOODMAN                                                         109 BROADFIELD                                                              HEMPSTEAD          NY           11550
    DEBRA H GRAF                                                          49 BAY STATE ROAD                                                           PEABODY            MA           01960
    DEBRA HENDERSON                                                       1220 E 63RD STREET                                                          CHICAGO            IL           60637
    DEBRA J SAKATA                                                        95-422 LAUAWA ST                                                            MILILANI           HI           96789
    DEBRA MCPHERSON                                                       RT 1 BOX 1-A                                                                CYRIL              OK           73029
    Debra McSwain                                                         2317 19th Avenue                                                            Kenosha            WI           53140
    Debra Meltzer Photography               Daniel Gershburg Esq., P.C.   100 Church Street, 8th Floor                                                New York           NY           10007
    Debra OShields                                                        603 Adirondack Ave.                                                         Orlando            FL           32807
    DEBRA P HERSHKOWITZ                                                   2913 FOSTER AVENUE 6D                                                       BROOKLYN           NY           11210-1555
    DEBRA PARENTE                           DEBRA PARENTE-ROSIN           411 QUANTUCK LN                                                             WESTFIELD          NJ           07090
    Debra Price                                                           726 River Oak Way                                                           Lake Dallas        TX           75065
    DEBRA RUTHERFORD                                                      10542 Y ST                                                                  OMAHA              NE           68127
    Debra S. Lee                                                          1937 Kamille Court                                                          Waterloo           IA           50701
    Debra Sebo                                                            12 Echo Lake W. Dr.                                                         Mooresville        IN           46158
    DEBRA SHAFFER                                                         1146 BILTMORE DRIVE                                                         ATLANTA            GA           30329
    Debra Sheffield                                                       1110 Salerno Ct                                                             Orlando            FL           32806
    DEBRA SHIRLEY                                                         3300 TUDOR ROAD                                                             OKLAHOMA CITY      OK           73122-1348
    Debra Sniegowski                                                      4118 N Marion Rd                                                            Alburnett          IA           52202
    Debra Weinberger                                                      40 Whitlaw Close                                                            Chappaqua          NY           10514
    Debra Welch                                                           1430 Fowler Ave                                                             Evanston           IL           60201
    Debra Wheeldon                                                        10230 Newington Dr                                                          Orlando            FL           32836
    DEBRA WING                                                            189 WESTCHESTER DR S                                                        DELMAR             NY           12054
    DEBUT ART LIMITED                                                     30 TOTTENHAM STREET                                                         LONDON                          W1T 4RJ      United Kingdom
    DECARLO ANN COOPER                                                    117 LA RIVIERE ROAD                                                         COCOA BEACH        FL           32931
    DECISION TECHNOLOGY INC                                               11821 S TUZIGOOT CT                                                         PHOENIX            AZ           85044
    DECKER SHIRLEY                                                        63-60 98TH - APT C-2                                                        REGO PARK          NY           11374
    DECODE INC                                                            625 FIRST AVENUE SUITE 300                                                  SEATTLE            WA           98104
    DeDurand, Gerard
                                            DBA DEE ANN DEVINE MCCARTHY
    DEE ANN DEVINE MCCARTHY                 PHOTOGPHY                       347 E 53RD STREET 1C                                                      NEW YORK           NY           10022
    DEE MCKENNA                                                             629 CIRCLE DR                                                             WATONGA            OK           73772



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                               115 of 488                                                                                      1:26 PM
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                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3            City           State       Zip             Country
    DEE SHULMAN                                                            3 DEANS YARD                                                                    WESTMNSTR LONDON                SW1P 3NP     United Kingdom
    Dee Stiffler                                                           1860 Sherman Avenue               3sw                                           Evanston           IL           60201
    DEEM JAMES M                                                           6261 N PLACITA DE ROJELIO                                                       TUCSON             AZ           85718
    DEEM LLC                                                               6831 EAST 32ND STREET STE 200                                                   INDIANAPOLIS       IN           46226
    DEENA WARNER DESIGN LLC                                                697 ALEXTINE DR                                                                 STAUNTON           VA           24401
    DEENA WRIGHT TOWNSEND                                                  4899 NESTA COURT SW                                                             MABLETON           GA           30126
    Deep Rock                                                              2640 California St                                                              DENVER             CO           80205
                                            THE CHOPRA CENTER FOR WELL-
    DEEPAK CHOPRA MD                        BEING                          2013 COSTA DEL MAR                                                              CARLSBAD           CA           92009
    DEER CREEK PUBLIC SCHOOLS               ROSE UNION                     20701 N MACARTHUR                                                               EDMOND             OK           73012
    DEER CREEK PUBLIC SCHOOLS               DEER CREEK ELEMENTARY          20701 N MACARTHUR                                                               EDMOND             OK           73012
    DEER CREEK PUBLIC SCHOOLS               GROVE VALLEY                   20701 N MACARTHUR                                                               EDMOND             OK           73012
    DEER CREEK PUBLIC SCHOOLS               PRAIRIE VALE                   20701 N MACARTHUR                                                               EDMOND             OK           73012
    DEFIORE AND CO AUTHOR
    SERVICES LLC                                                           47 EAST 19TH ST 3RD FL                                                          NEW YORK           NY           10003
    DEFORD DEBORAH H                                                       10 WALLACE ROAD                                                                 BRANFORD           CT           06405

    DEGRAY LAKE RESORT STATE PARK                                          2027 STATE PARK ENTRANCE ROAD                                                   BISMARCK           AR           71929
    DEIDRE ROBINSON POWELL                                                 813 WEST 130TH STREET                                                           GARDENA            CA           90247
    DEIRDRE ANNE SWIFT                                                     1318 W COLUMBIA AVENUE                                                          CHICAGO            IL           60626
    Deirdre Jennings                                                       1248 Bodega Bay Drive                                                           Chula Vista        CA           91915
    DEKALB COUNTY BOARD OF
    EDUCATION                     DEKALB COUNTY SCHOOL SYSTEM              1707 MOUNTAIN INDUSTRIAL BLVD                                                   STONE MOUNTAIN     GA           30083
    DEKALB PUBLIC LIBRARY                                                  309 OAK STREET                    ATTN JENNIFER FREEM                           DEKALB             IL           60115
    DELANCEY STREET FOUNDATION                                             600 EMBARCADERO                                                                 SAN FRANCISCO      CA           94107
    DELAWARE ASSN FOR ADULT &
    COMMUNITY                     EDUCATION                                P O BOX 639                       ATTN JOANNE HEAPHY                            DOVER              DE           19903
    DELAWARE COUNTRY CLUB INC                                              510 S COUNTRY CLUB RD                                                           MUNCIE             IN           47302
    DELAWARE DEPT OF LABOR        EMPLOYMENT TRAINING TAX FUND             P O BOX 41780                                                                   PHILADELPHIA       PA           19101-1780
                                  Attn Bankruptcy and Descendent
    Delaware Dept of Revenue      Collections                              Carvel State Office Bldg          820 N French St                               Wilmington         DE           19801

    DELAWARE DIVISION OF REVENUE                                           PO BOX 830                                                                      WILMINGTON         DE           19899

    DELAWARE DIVISION OF REVENUE                                           P O BOX 8750                                                                    WILMINGTON         DE           19899-8750
    Delaware Division of Revenue                                           P.O. Box 8751                                                                   Wilmington         DE           19899-8751
    DELAWARE DIVSION OF REVENUE                                            PO BOX 2340                                                                     WILMINGTON         DE           19899

    DELAWARE SECRETARY OF STATE             DIVISION OF CORPORATIONS       365 WEST PASSAIC ST 5TH FLOOR                                                   ROCHELLE PARK      NJ           07662
    Delaware Secretary of State             Division of Corporations       PO Box 11728                                                                    Newark             NJ           07101-4728

    DELAWARE SECRETARY OF STATE                                            365 WEST PASSAIC ST 5TH FLOOR                                                   ROCHELLE PARK      NJ           07662

    DELAWARE TECH OWENS CAMPUS              BOOKSTORE                      RT 18 SEASHORE HWY                                                              GEORGETOWN         DE           19947
    DELAWARE VALLEY COLLEGE
    BOOKSTORE                                                              700 EAST BUTLER AVENUE                                                          DOYLESTOWN         PA           18901
    DELAWARE VALLEY READING
    ASSOCIATION                             RANDI WINDHEIM                 1216 DUNCAN DRIVE                                                               DRESHER            PA           19025
    Delaware-Chenango-MO BOCES                                             6678 County Road 32                                                             Norwich            NY           13815-3554
    DELENA K SUPINSKI                                                      35757 N MILLER LANE                                                             QUEEN CREEK        AZ           85142
    DELGADO SARAH                                                          UNIVERSIDAD DE PUERTO RICO                                                      MAYAGUEZ           PR           00681-9019
    DELI MANAGEMENT INC                     JASONS DELI                    DEPT # 271 P O BOX 4869                                                         HOUSTON            TX           77210-4869
                                                                                                             EL CNAGREJO CALLE A NAVARRO
    DELIA DEL CARMEN PIRON                                                 JACARANDA NO 11                   EDIF                                          PANAMA                                       Panama
    DELIA M REYES LOPEZ                                                    P O BOX 10000 STE 234                                                           CAYEY              PR           00737
    Delia Ochoa                                                            4412 Pinebark Avenue                                                            Orlando            FL           32811
    Delilah D Bluford                                                      1235 e wilson street              201                                           Batavia            IL           60510
    Delilah M Torres                                                       1683 Orrington Payne Pl                                                         Casselberry        FL           32707
    DELIMONT HERBIG AND                     DANITA DELIMONT STOCK
    ASSOCIATES                              PHOTOGRAPHY                    4911 SOMERSET DR SE                                                             BELLEVUE           WA           98006
    Delisa Nichols                                                         43430 Hickory Dr                                                                Tecumseh           OK           74873
    DELITIME LLC                                                           1501 E WOODFIELD RD STE 103E                                                    SCHAUMBURG         IL           60173
    Delk McNally
    DELK MCNALLY LLP                                                       421 S WALNUT STE 200                                                            MUNCIE             IN           47305
    Dell Business Credit                    Payment Processing Center      PO Box 5275                                                                     Carol Stream       IL           60197-5275
    Dell Financial Services                                                99200 Collection Center Drive                                                   Chicago            IL           60693
    Dell Gary                                                              10008 Eastern Lake Ave.           203                                           Orlando            FL           32817
    DELL INC                                                               ONE DELL WAY                                                                    ROUND ROCK         TX           78682
    DELL MARKETING L P                      C/O DELL USA LP                P O BOX 534118                                                                  ATLANTA            GA           30353-4118
    DELL MARKETING L P                      C/O DELL USA L P               P O BOX 676021                                                                  DALLAS             TX           75267-6021



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                        116 of 488                                                                                  1:26 PM
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                                                                                                                           of 519
                                                                                                                          First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                            Address2              Address3                City        State       Zip      Country
    DELL MARKETING L P                                                       P O BOX 534118                                                                     ATLANTA             GA           30353-4118
    DELL MARKETING L P                                                       P O BOX 676021                                                                     DALLAS              TX           75267-6021
    DELL MARKETING L P                                                       PO BOX 910916                                                                      PASADENA            CA           91110
    DELL MARKETING LP                       C/O DELL USA LP                  BOX 643561                                                                         PITTSBURGH          PA           15264
    DELL USA LP                                                              PO BOX 534118                                                                      ATLANTA             GA           30353-4118
    DELMAR BURKE SCHOOL                                                      7070 CALIFORNIA STREET                                                             SAN FRANCISCO       CA           94121
    DELOITTE CONSULTING LLP                                                  P O BOX 7247-6447                                                                  PHILADELPHIA        PA           19170
    DELOITTE TAX LLP                                                         PO BOX 2079                                                                        CAROL STREAM        IL           60132
    Delores Block                                                            7800 Chimney Corners                                                               Austin              TX           78731
    DELORES CURTIS                                                           709 LEFLORE AVENUE                                                                 CLARKSDALE          MS           38614
    Delores J Nemo                                                           3320 Lyons Street                                                                  Evanston            IL           60203
    Delores Roney                                                            3637 N BUTLER                                                                      INDIANAPOLIS        IN           46218
    DELPHI PRODUCTIONS LTD                                                   440 CALHOUN STREET                                                                 PORT TOWNSEND       WA           98368
    DELTA COLLEGE BOOKSTORE                                                  1961 DELTA ROAD                                                                    UNIVERSITY CENTER   MI           48710
    DELTA EDUCATION                                                          LOCK BOX NUMBER 681034                                                             MILWAUKEE           WI           53268-1034
    DELTA HAZE CORPORATION                  ATTN STEPHEN C LAVERE            1301 ROBERT E LEE DR                                                               GREENWOOD           MS           38930
    DELTA SHIPPING SUPPLIES                                                  990 S ARROYO PKWY, UNIT 3                                                          PASADENA            CA           91105
    DELTA SIGMA THETA SORORITY                                               PO BOX 680726                                                                      MIAMI               FL           33168-0726
    Deltha L Costley                                                         1226 Hughmont Drive                                                                Pflugerville        TX           78660
    DELTON KELLOG MIDDLE SCHOOL                                              99 SO BEDFORD ST SUITE 7                                                           BURLINGTON          MA           01803
    Deluxe Business Forms                                                    P.O. Box 742572                                                                    CINCINNATI          OH           45274-2572
    DELUXE DELIVERY SYSTEMS INC                                              64 WEST 48TH STREET 4TH FL                                                         NEW YORK            NY           10036

    DELVE LLC                                                                11971 WESTLINE INDUSTRIAL DRIVE                                                    LOUIS               MO           63146
                                            DBA JOHN DEMADO LANGUAGE
    DEMADO JOHN                             SEMINARS INC                     125 S COLLIER BLVD B202                                                            MARCO ISLAND        FL           34145

    DEMAND MEDIA INC                        DBA INDIE CLICK INSERTION ORDER 645 WEST 9TH ST # 110-275                                                           LOS ANGELES         CA           90015-1640
    DEMAND PLANNING LLC                                                     97 ORIENT AVENUE                                                                    ARLINGTON           MA           02474
    DEMAR TRUCKING LLC                                                      698 LINNS MILLS ROAD                                                                TROY                MO           63379
    DEMATIC CORP                                                            684125 NETWORK PLACE                                                                CHICAGO             IL           60673-1684
    DEMBINSKY PHOTO ASSOCIATES                                              5157 HICKORY HOLLOW LN                                                              OWOSSO              MI           48867
    DEMETRIA BARNUM                                                         1300 TWELVE OAKS DRIVE                                                              DOUGLASVILLE        GA           30134
    DEMETRIOS ARISTIDES                                                     2120 FORGE RD                                                                       SANTA BARBARA       CA           93108
    DEMETRIOS MICHAEL B II                                                  3822 25TH STREET                                                                    SAN FRANCISCO       CA           94114
    DEMETRIOS VIRGINIA                                                      88 SUFFIELD AVENUE                                                                  SAN ANSELMO         CA           94960
    Deming, Thomas
    Demitrios Prekeges                                                       17502 102ND AVE NE                APT 228                                          BOTHWELL            WA           98011
    DEMOCRAT AND CHRONICLE                                                   55 EXCHANGE BLVD                                                                   ROCHESTER           NY           14614
    DEMOCRITUS PROPERTIES LLC                                                95 BROWN RD STE 1027                                                               ITHACA              NY           14850
    DENA K DELEON                                                            1715 REDSTONE MANOR DR                                                             SPRING              TX           77379

    DENA REBEKAH POLLAK KENNEDY                                              207 WINDING HILL DR                                                                HACKETTSTOWN        NJ           07840
    DENEEN HOWARD                                                            P O BOX 136                                                                        RIPLEY              OK           74062
    Denese Jones                                                             228 Faircrest Drive                                                                Arlington           TX           76018
    DENHAM BRYAN                                                             168 HERITAGE PLACE DRIVE                                                           PENDLETON           SC           29670
    DENIKA ROBBINS                                                           3841 MILLENIA BLVD, # 201                                                          ORLANDO             FL           32839
    Denis L Arsenault                                                        651 Rookery Ave                                                                    Deltona             FL           32738
    DENIS SF SKEEAN                                                          212 MAIN STREET                                                                    OXFORD              MA           01540
    DENIS TAPPAREL PHOTOGRAPHY                                               80 ALEXANDER DRIVE                C/O KELLY SPRANGER                               TUXEDO PARK         NY           10987
    DENISE ANNE THOMAS                                                       13804 EAST 87TH COURT NORTH                                                        OWASSO              OK           74055-2088
    DENISE BATES ENOS INC                                                    P O BOX 2564                                                                       WINDERMERE          FL           34786
    DENISE BOUDREAUX                                                         720 MYRTLE PLACE                                                                   LAFAYETTE           LA           70506
    DENISE BROWNLEE                                                          545 HUNTER AVE                                                                     MODESTO             CA           95350
    DENISE CATHERINE CARLTON                                                 1332 CORONADO STREET                                                               UPLAND              CA           91786
    Denise Daniels                                                           13500 San Antonio Ave.                                                             Chino               CA           91710
    Denise Devine                                                            921 Wood Avenue                                                                    Geneva              IL           60134
    DENISE FLEMING                                                           6035 PICKARD DRIVE                                                                 TOLEDO              OH           43613
    DENISE GRIMSLEY CAMPAIGN                                                 P O BOX 822                                                                        LAKE PLACID         FL           33862
    DENISE HUNT                                                              1595 ETON WAY                                                                      CROFTON             MD           21114
    DENISE K HILDERBRAND                                                     19127 CENTRE LUTZ BLVD                                                             LUTZ                FL           33558
    Denise K Spina                                                           1290 North Bridge Blvd            Apt 1514                                         Clermont            FL           34711
                                            DBA DKG EDUCATIONAL
    DENISE KARPELENIA -GHATTAS              CONSULTING LLC                   226 W COURT STREET                                                                 FLINT               MI           48502
    Denise Kenner                                                            4124 Creed Ave                                                                     Los Angeles         CA           90008
    DENISE KUIPER                                                            1503 MARY JEAN AVE                                                                 ORLANDO             FL           32809
    DENISE LEOGRANDIS                                                        3334 WOEDEE DRIVE                                                                  EL DORADO HILLS     CA           95762
    Denise M Camargo                                                         838 S Ash                                                                          Wichita             KS           67211
    DENISE M DAVIS                                                           2502 HAWTHORNE AVE                                                                 LOUISVILLE          KY           40205
    Denise M Singleton                                                       566 SW ST. Kitts Cove                                                              Port St. Lucie      FL           34986



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                         117 of 488                                                                                1:26 PM
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                                                                                                                           of 519
                                                                                                                             First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                               Address2              Address3               City        State       Zip            Country
    DENISE MCKEON                                                            6219 YELLOWSTONE DR                                                                   ALEXANDRIA         VA           22312
    Denise N Mills                                                           34 Old Rowley Road                                                                    Newbury            MA           01951
    DENISE NESSEL                                                            1545 NINTH STREET                                                                     ALAMEDA            CA           94501
    Denise Park                                                              115 Locust St                                                                         Old Monroe         MO           63369
    DENISE PERRIN                                                            5855 JACKSON OAK CT                                                                   BURKE              VA           22015
    DENISE PHILLIPS                                                          950 Q STREET                                                                          SACRAMENTO         CA           95814
    Denise Piatt                                                             370 South Lafox St                                                                    South Elgin        IL           60177
    Denise Polt                                                              15750 Spectrum Drive                 Apt 2416                                         Addison            TX           75001
    DENISE REA                                                               3021 CYPRESS AVE                                                                      CLOVIS             CA           93611
    DENISE SHANNON LIT AGENCY                                                20 WEST 22ND STREET 1603             ATTN DENISE SHANNON                              NEW YORK           NY           10010
    DENISE SHANNON LITERARY
    AGENCY INC                                                               20 W 22ND STREET SUITE 1603                                                           NEW YORK           NY           10010
    DENISE TRATTNER                                                          1114 STANSELL DR                                                                      MIDWEST CITY       OK           73110
    Denise Ward                                                              310 Panama Circle                                                                     Winter Springs     FL           32708
    Denisee Simball                                                          4 Sedgewood Court                                                                     Algonquin          IL           60102
    DENISSE R THOMPSON                                                       2502 BORDEAUX WAY                                                                     LUTZ               FL           33559
    Denitra Brady                                                            9919 Ellis Drive                                                                      Indianapolis       IN           46235
    Denitra Payne                                                            8542 Essex Courtt Cove                                                                Cordova            TN           38016
                                            DBA DENNARD LACEY &
    DENNARD CREATIVE INC                    ASSOCIATES                       5050 QUORUM STE 300                                                                   DALLAS             TX           75254
    Denner Pellegrino LLP                   RE Lester Lefkowitz, Plaintiff   Paul J. Andrews, Esq. (BBO#558574)   4 Longfellow Place, 35th Floor                   Boston             MA           02114
    Dennis A Dobbs                                                           2708 Amesbury Lake Drive                                                              Edmond             OK           73013
    DENNIS ADAMS                                                             6283 STATE HIGHWAY 34                                                                 RUDOLPH            WI           54475-9588
    Dennis Albrecht                                                          6671 North Seedlescombe Dr                                                            Fresno             CA           93711
    DENNIS ALLEN DOBBS                                                       5704 NORTH GEORGIA AVE                                                                OKLAHOMA CITY      OK           73118
    DENNIS BRACK INC                                                         7704 TAUXEMONT ROAD                                                                   ALEXANDRIA         VA           22308
    DENNIS BRINDELL FRADIN                                                   2121 DOBSON STREET                                                                    EVANSTON           IL           60202
    DENNIS COX LLC                          DBA CHINASTOCK                   2506 COUNTRY VILLAGE                                                                  ANN ARBOR          MI           48103-6500
    Dennis Csordas                                                           681 Manchester Rd.                                                                    Fairview           PA           16415
    DENNIS DE MARS                                                           2111 7TH STREET #8                                                                    SANTA MONICA       CA           90405
    DENNIS DONOVAN                                                           5511 NINA LEE LANE                                                                    HOUSTON            TX           77092
                                            DBA GALLIGHER PRINTING
    DENNIS GALLIGHER                        SERVICES                         5 BLOOD ROAD PO BOX 478                                                               MONT VERNON        NH           03057
    DENNIS HASELEY                                                           136 PROSPECT PARK WEST 6A                                                             BROOKLYN           NY           11215
    DENNIS KITCHEN STUDIO INC                                                262 AINSLIE ST                                                                        BROOKLYN           NY           11211
    DENNIS KUNKEL MICROSCOPY INC                                             PO BOX 2008                                                                           KAILUA             HI           96734
    Dennis L Carey                                                           15279 CHARBONO ST                                                                     Fishers            IN           46037
    Dennis L Johnson                                                         1001 Keystone Court                                                                   Lafayette          CO           80026
    Dennis M Howard                                                          9844 Cypress Pine                                                                     Orlando            FL           32827
    DENNIS M ROWEN                                                           7 ASTER ROAD                                                                          LOCH SHELDRAKE     NY           12759
    DENNIS MCFADDEN                                                          5051 BLISS ROAD                                                                       BALLSTON SPA       NY           12020
    Dennis Mcquillen                                                         13 Peabody St                                                                         North Reading      MA           01864
    DENNIS NOLAN                                                             116 PLEASANT STREET. # 407                                                            EASTHAMPTON        MA           01027
    DENNIS P HALLINAN                                                        906 AVENUE M SOUTHEAST                                                                WINTER HAVEN       FL           33880
    Dennis Peotter                                                           2166 Jordan Lane                                                                      Elgin              IL           60123
    Dennis Ryan                                                              801 See-Gwun                                                                          Mt.Prospect        IL           60056
    Dennis Scott Colaw                                                       148 Old Schoolhouse                                                                   Hanover            MA           02339
    Dennis Shandorf                                                          107 East Harbor Drive                                                                 Vero Beach         FL           32960
    Dennis Sigman                                                            457 WINNACUNNET RD                   APT 109                                          HAMPTON            NH           03842
    DENNIS SMITHENRY                                                         321 S SANGAMON ST UNIT 501                                                            CHICAGO            IL           60607
    Dennis Stolz                                                             2703 Bay Leaf Dr                                                                      Orlando            FL           32837
    DENNIS T AVERY                                                           226 LAST RAID LANE                                                                    SWOOPE             VA           24479
    Dennis Wickliffe                                                         9530 Meadowlark Dr                                                                    Indianapolis       IN           46236
    Dennis-Yarmouth Reg. SD                 Mary McDonough                   296 Station Ave                                                                       South Yarmouth     MA           02664
    DENNY TAYLOR                                                             20 MONFORT RD                                                                         PORT WASHINGTON    NY           11750
                                                                             TAX ASSESSOR COLLECTOR, P O
    DENTON COUNTY                           ATTN STEVE MOSSMAN               BOX 90223                                                                             DENTON             TX           76202-5223
    DENTON INDEPENDENT SCHOOL
    DISTRICT                                                                 P O BOX 2387                                                                          DENTON             TX           76202-2387
    DENTON WILDE SAPTE                                                       ONE FLEET PLACE                                                                       LONDON                          EC4M 7WS     United Kingdom
    Denver Newspaper Agency                                                  PO Box 17070                                                                          Denver             CO           80217-0070
    Denver Options                                                           9900 East Illiff Avenue                                                               Denver             CO           80231
    Denver Phone Company                                                     901 Auraria Parkway, #300                                                             Denver             CO           80204
    Denver Rescue Mission                                                    PO Box 5206                                                                           Denver             CO           80217-5206
    DENVER SCHOLARSHIP
    FOUNDATION                                                               303 E 17TH AVENUE STE 200                                                             DENVER             CO           80203
    Denver Zoo                                                               2300 Steele Street                                                                    Denver             CO           80205
    Denyse Henry                                                             6069 Northwest 74th St                                                                Parkland           FL           33067
    DEPALMA MARY NEWELL                                                      25 PERSHING RD APT 1                                                                  BOSTON             MA           02130
    DEPARTAMENTO DE EDUCACION



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                            118 of 488                                                                                      1:26 PM
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                                                                                                                                    of 519
                                                                                                                             First Class Service List


             CreditorName                             CreditorNoticeName                           Address1                         Address2                          Address3                  City         State       Zip             Country
    DEPARTMENT OF EDUCACION - PR
    DEPARTMENT OF HOMELAND                                                                                           BOILER & PRESSURE VESSEL
    SECURITY                                                                         302 W WASHINGTON ST, RM 246     SAFETY DIV                                                  INDIANAPOLIS          IN            46204-2739

    DEPARTMENT OF LICENSING                 STATE DEPARTMENT OF LICENSING PO BOX 9064                                                                                            OLYMPIA               WA            98507
    DEPARTMENT OF REVENUE                                                 P O BOX 23050                                                                                          JACKSON               MS            39225-3050
    DEPARTMENT OF STATE                     DIVISIONS OF CORPORATIONS     99 WASHINGTON AVE                                                                                      ALBANY                NY            12231-0001
    DEPARTMENT OF THE TREASURY              SALES AND USE TAX             P O BOX 9024140                                                                                        SAN JUAN              PR            00902-4140
    Department of the Treasury - Internal
    Revenue Service                         Internal Revenue Service                                                 290 Broadway                                                New York              NY            10007
    Department of the Treasury - Internal
    Revenue Service                         Internal Revenue Service                 P.O. Box 7346                                                                               Philadelphia          PA            19101-7346
    DEPARTMENT OF TREASURY                                                           INTERNAL REVENUE                                                                            ORLANDO               FL            32839
    DEPENDABLE DELIVERY INC                                                          360 WEST 52nd STREET                                                                        NEW YORK              NY            10019

    DEPENDABLE PEST SOLUTIONS INC           DEBBRA A THOMPSON                        P O BOX 476                                                                                 ROCHESTER             NH            03866
    DEPUTY COMMISIONER OF
    TAXATION                                AUSTRALIAN TAXATION OFFICE               LOCKED BAG 1936                                                                             ALBURY                NSW           01936        Australia
    Deputy Minister of Finance and
    Secretary of the FMB                    Govt of NW Territories Dept of Finance   5th Fl Arthur Laing Bldg        5003 49th St                       PO Box 1320              Yellowknife           NT            X1A 2L9      Canada
    Derek Arneson                                                                    1175 N. Stemmons Freeway                                                                    Lewisville            TX            75067
    Derek Blomberg                                                                   6426 Haughton Lane                                                                          Orlando               FL            32835
    Derek Briggs                            dba DCB Consulting                       4808 W Moorhead Circle                                                                      Boulder               CO            80305
    Derek French                                                                     2248 Rose Blossom Dr                                                                        Springfield           OR            97477
                                                                                                                     MCCORMICK & WILLIAMS - ATTN P J
    DEREK KIRK                                                                       37 WEST 20TH STREET             MARK                                                        NEW YORK              NY            10011
    Derek Meehan                                                                     1 Webster Street                                                                            Winchester            MA            01890
    Derek Pfeffer                                                                    28 Battle Flagg Road                                                                        Bedford               MA            01730
    DEREK RICHARD FROMMERT                                                           3927 WASHINGTON ST                                                                          NIAGARA FALLS         NY            14305
    DEREN MANNY                                                                      2808 N46TH AVENUE #454E                                                                     HOLLYWOOD             FL            33021
    DERING DIRECT LLC                                                                P O BOX 10755                                                                               LANCASTER             PA            17605
    DEROSA DEE                                                                       429 N. FRANKLIN ST # 117                                                                    SYRACUSE              NY            13204
    DEROY C THOMAS                                                                   141 STONER DR                                                                               WEST HARTFORD         CT            06107-1309
    Derrick Brown                                                                    P.O. Box 794                                                                                MESILLA PARK          NM            88047
    Derrick Cameron                         Cameron Educational Consulting           PO Box 1162                                                                                 Roblin                MB            R0L1P0       Canada
    Derrick Eckersberg                                                               15 Guth Street                                                                              East Dundee           IL            60118
    Derrick F Schneider                                                              1357 Channing Way                                                                           Berkeley              CA            94702
    Derrick Thomas                                                                   10008 Meadowlark Manor                                                                      Indianapolis          IN            46235
    DESCAL INC                              DBA SIR SPEEDY 8119                      1275 MAIN STREET 1ST FLOOR                                                                  WALTHAM               MA            02451
    Deschamps Printing Inc.                                                          3 Dodge Street                                                                              Salem                 MA            01970
    Desert Hope Ministries                                                           PO Box 620575                                                                               Littleton             CO            80162-0575
    Desert Willow Conference Cente                                                   4340 W. Cotton Center Blvd      Suite 100                                                   Phoenix               AZ            85040
    DESIGN ASSOCIATE GROUP INC                                                       1828 ASBURY AVENUE                                                                          EVANSTON              IL            60201-3504
                                                                                                                                                                                 GWANGMYENG-SI
    DESIGN DOME                                                                      464-173 CHEOLSAN 4 DONG                                                                     GYEONGGI-DO                         423-840      South Korea
    DESIGN FACTORY                                                                   100 CAPEL STREET                                                                            DUBLIN 1              Dublin                     Ireland
    DESIGN MANAGEMENT INSTITUTE                                                      101 TREMONT ST STE 300                                                                      BOSTON                MA            02108
    DESIGN SCIENCE INC                                                               140 PINE AVENUE 4TH FL                                                                      LONG BEACH            CA            90802
    DESIGNERS PRESS INC                                                              6305 CHANCELLOR DRIVE                                                                       ORLANDO               FL            32809
    DESIGNPICS                                                                       #101, 10464-176 STREET                                                                      EDMONTON              AB            T5S 1L3      Canada
    DESIMINI LISA                                                                    20 MAKAMAH BEACH ROAD                                                                       NORTHPORT             NY            11768
    DESIREE REID                                                                     4019 COLORADO AVENUE                                                                        NASHVILLE             TN            37209
    DESIREE RIOS                                                                     15406 REEDS                                                                                 OVERLAND PARK         KS            66223
    DESTINI ALTA-BAXTER                                                              P O BOX 8124,                                                                               KC ALKMAAR                          01802        Netherlands
    Details Special Event Prod. Co                                                   11081 Kennedy Avenue                                                                        Conifer               CO            80433
    DETROIT AREA COUNCIL OF TCHRS
    OF MATHS                       ATTN LAURIE SHAPPEE                               5255 STANDISH DR                                                                            TROY                  MI            48085
    DETROIT INSTITUTE OF ARTS                                                        5200 WOODWARD AVENUE                                                                        DETROIT               MI            48202-4094

    DETROIT INTERNATIONAL ACADEMY                                                    9026 WOODWARD AVE                                                                           DETROIT               MI            48202
    DETROIT LIONS ACADEMY                                                            10101 E CANFIELD                                                                            DETROIT               MI            48214
    DETROIT OPEN SCHOOL                                                              19900 MCINTYRE ST                                                                           DETROIT               MI            48219-1263
                                            CROCKETT TECHNICAL HIGH
    DETROIT PUBLIC SCHOOLS                  SCHOOL                                   3011 WEST GRAND BLVD                                                                        DETROIT               MI            48202
    DETROIT PUBLIC SCHOOLS
    FOUNDATION                                                                       3011 W GRAND BLVD 18TH FL                                          FISHER BUILDING          DETROIT               MI            48202
    DEUKER CARL                                                                      2827 NW 62ND STREET                                                                         SEATTLE               WA            98107-2513
    DEUTSCHE BANK
    DEUTSCHER TASCHENBUCH                                                                                            ATTN FOREIGN RIGHTS
    VERLAG                                                                           FRIEDRICHSTR. 1A                DEPARTMENT                         FOR K LORENZ             MUNICH                              80801        Germany



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                              119 of 488                                                                                                      1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                127 Matrix
                                                                                                                        of 519
                                                                                                                    First Class Service List


                CreditorName                       CreditorNoticeName                  Address1                          Address2                      Address3               City          State       Zip            Country
    DEUTSCHES ARCHAOLOGISCHES               INSTITUT- ATHEN               FIDIOU 1                                                                                ATHEN                             10678        Greece
    DEV COMMUNICATION INC                                                 P O BOX 10357                                                                           BAINBRIDGE ISLAND    WA           98110
    Deval Clearwater                                                      4238 N. Walnut                                                                          Arlington Heights    IL           60004
    DEVELOPMENT DIMENSIONS
    INTERNATIONAL INC                       DBA DDI INC                   P O BOX 951783                                                                          CLEVELAND            OH           44193
    DEVI MATHIEU                                                          9195 BARNETT VALLEY ROAD                                                                SEBASTOPOL           CA           95472
    DEVIN ASCH                                                            227 SPRUCE KNOB ROAD                                                                    MIDDLETOWN SPRINGS   VT           05757
    DEVINE INDEPENDENT SCHOOL
    DISTRICT                                CIAVARRA ELEMENTARY SCHOOL    112 N BENTSON                                                                           DEVINE               TX           78016
    Devis & Cannon
    DEVON M KEATING                                                       888 WYNNWOOD CIRCLE                                                                     LANTANA              FL           33462
    Devon Sheldon                                                         1020 E 4th Ave                                                                          Denver               CO           80218
                                            DBA FIRESIDE CATHOLIC
    DEVORE AND SONS INC                     PUBLISHING                    PO BOX 780189                                                                           WICHITA              KS           67278-0189
    DeWayne A. Mason, Ph.D.                                               29065 Lake Ridge Lane                                                                   HIGHLAND             CA           92346
    DEWAYNE DAVIS                                                         3706 CORONA DRIVE                                                                       GARLAND              TX           75044

    DEWITT CLINTON CLEMENS JR               DBA CLINT CLEMENS PRODUCTIONS 300 BALLARDVALE ST                                                                      ANDOVER              MA           01810
    DEXTER COMPANIES LLC                                                  1750 CORPORATE DRIVE STE 730                                                            NORCROSS             GA           30093-2929
    DEXTER JOSEPH                                                         P O BOX 305624                                                                          ST THOMAS            VI           00803
    DHARMA REALM BUDDHIST                   DEVELOPING VIRTUE SECONDARY
    ASSOCIATION INC                         SCHOOL                        4951 BODHI WAY                                                                          UKIAH                CA           95482
    DHL Danzas                                                            14076 Collections Ctr Dr                                                                Chicago              IL           60693

    DHL EXPRESS                                                           14105 COLLECTIONS CENTER DRIVE                                                          CHICAGO              IL           60693
    DHL Global Forwarding                   DHL Danzas                                                     14076 Collections Ctr Dr                               Chicago              IL           60693
    DHL Global Forwarding                                                 1801 NW 82nd Avenue                                                                     Doral                FL           33126
    DHL GLOBAL MAIL INC                                                   P O BOX 406222                                                                          ATLANTA              GA           30384-6222
    DIACRITECH INC                          DBA LAURELTECH                250 COMMERCIAL ST, STE 2002                                                             MANCHESTER           NH           03101
    DIAGNOSTIC & INSTRUCTIONAL
    SERVICES                                                              7161 E KIVA WAY                                                                         TUCSON               AZ           85750
    DIAGNOSTIC AND INSTRUCTIONAL
    SVCS                                    ATTN NANCY MATHER             7161 EAST KIVA WAY                                                                      TUCSON               AZ           85750
    DIAL BOOKS YOUNG READERS                                              375 HUDSON STREET                DIV OF PENGUIN BOOKS                                   NEW YORK             NY           10014-3657
    DIAL CAR INC                                                          2104 AVENUE X                                                                           BROOKLYN             NY           11235
    DIAL CORP                               612 S MAIN SUITE 500          PO BOX 228                                                                              PLATTE               SD           57369
    Diamond D Martin                                                      652 Hammond Ave                                                                         Aurora               IL           60506
    DIAN LOFTON                             DBA DIAN PHOTOGRAPHY          11 MAOLIS AVENUE                                                                        BLOOMFIELD           NJ           07003
    DIANA ARCE STEADMAN                     183 BABCOCK STREET            APT 2                                                                                   BROOKLINE            MA           02446

    DIANA C COE                             EVOLUTION PUBLISHING SERVICES 1223 EBERT ST                                                                           WINSTON SALEM        NC           27103
    DIANA C CONWAY                                                        P O BOX 6461                                                                            HALIBUT COVE         AK           99603-6461
    DIANA C DECASTRO ENTERPRISES
    INC                                                                   170 CELESTRIAL WAY 7-3                                                                  JUNO BEACH           FL           33408
    DIANA CURINGTON                                                       540 GREENSIDE AVE                                                                       PORTSMOUTH           NH           03801
    Diana Daniel                                                          6905 Nobleton Dr                                                                        Windermere           FL           34786
    Diana Diamond                                                         1137 Oaks Blvd                                                                          Winter Park          FL           32789
    Diana Duclos                                                          684 Cottage Club Rd.                                                                    Stowe                VT           05672
    DIANA E GONZALEZ                                                      571 S WILLIAM ST                                                                        DENVER               CO           80209
    DIANA FAUST                                                           4781 COLLEGE VIEW AVE                                                                   LOS ANGELES          CA           90041
                                            DBA DIANA FINCH LITERARY
    DIANA FINCH                             AGENCY                        116 W 23RD ST SUITE 500                                                                 NEW YORK             NY           10011
    DIANA GEORGE                                                          1006 HIGHLAND CIRCLE                                                                    BLACKSBURG           VA           24060
                                            DBA VIEWFINDERS IMAGE
    DIANA GOETTING                          RESEARCH                      1003 SLOAN STREET                                                                       TAYLOR               TX           76574
    DIANA H TAYLOR                                                        20930 RIO ORO DRIVE                                                                     CORNELIUS            NC           28031
    Diana Helm                                                            89 Brewster Ave                                                                         Braintree            MA           02184
    DIANA J FIDDLER                                                       32440 N 3980 RD                                                                         RAMONA               OK           74061
    DIANA KIMPTON                                                         25 SOLENT VIEW ROAD                                                  COWES              Isle of Wight                     PO31 8JY     United Kingdom
    DIANA KIMPTON                                                         5-33 FERNCROFT AVENUE                                                                   LONDON                            NW3 7PG      United Kingdom
    Diana L Rutt                                                          1125 Second Street                                                                      Catasauqua           PA           18032
    Diana M Brosko-Carelli                                                115 Ironmaster Road                                                                     Cherry Hill          NJ           08034
    DIANA M OLIVER RODRIGUEZ                                              C/3 6-2 ALTOS DE LAFUENTE                                                               CAGUAS               PR           00725
    DIANA M SOLER PUJALS                                                  CARRETERA 833 # 122              CONDOMINIO LINCOLN PARK                                GUYANABO             PR           00969
    DIANA M VENTERS                                                       201 W PONCE DE LEON AV, # 51                                                            DECATUR              GA           30030
    DIANA NIGHTINGALE                                                     13035 N NORTHSTAR DRIVE                                                                 FOUNTAIN HILLS       AZ           85268
    DIANA RIVERA                                                          307 ISLAND LAKE RD                                                                      STARRUCA             PA           18462
    Diana Schierding                                                      355 E. Cherry Street                                                                    Troy                 MO           63379
    Diana Skube                                                           714 Bonanza Pass                                                                        Springfield          IL           62707
    Diana Tomasyan                                                        389 Hall Rd                                                                             Barrington           NH           03825



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                    120 of 488                                                                                               1:26 PM
                                                      12-12171-reg             Doc 136            Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                128 Matrix
                                                                                                                        of 519
                                                                                                                    First Class Service List


                CreditorName                       CreditorNoticeName                     Address1                       Address2              Address3                City        State       Zip                Country
    DIANAS CATERING INC                     DBA PORTLAND CATERING CO         7800 SW DURHAM RD, # 400                                                     PORTLAND            OR           97224
    Diane Alsager                                                            2213 Morgan Bridge                                                           Cedar Rapids        IA           52404
    Diane Anderson                                                           169 Cooper Court                                                             Orlando             FL           32835-1267
    DIANE B OEHLER                                                           2375 SORRENTO CIRCLE                                                         WINTER PARK         FL           32792-1142
    DIANE BRENNER                                                            P O BOX 206 4 SAM HILL ROAD                                                  WORTHINGTON         MA           01098-0206
    DIANE BRENNER                                                            PO BOX 206 (4 SAM HILL ROAD)                                                 WORTHINGTON         MA           01098
    Diane Busche                                                             71 Remington Drive West                                                      Highland Village    TX           75077

    DIANE CASALE-GIANNOLA                   RIDER UNIV, DEPT OF TEACHER ED   2083 LAWRENCEVILLE RD                                                        LAWRENCEVILLE       NJ           08648
    Diane Castro                                                             16 Cressy Street                                                             Beverly             MA           01915
    DIANE DAWSON HEARN                                                       1099 DEERFIELD DR NW                                                         BLACKSBURG          VA           24060
    Diane Deas-Washington                                                    915 Dutton Ave.                                                              San Leandro         CA           94577
    DIANE DEFORD                                                             165 SUMMER BREEZE DRIVE                                                      LEESVILLE           SC           29070
    DIANE DICKSON WALDA                                                      925 DREWRY ST, APT B                                                         ATLANTA             GA           30306

    DIANE DUANE                                                              GRANGECON ROCKS, GRANGECON                                                   DUNLAVIN            Wicklow                   Ireland
    Diane Dunbar                                                             105 Castle Pines                                                             Lufkin              TX           75901
    DIANE E POLK                                                             929 EARL OF ESSEX ARCH                                                       VIRGINIA BEACH      VA           23454
    Diane Fenton                                                             23 Plain St.                                                                 Walpole             MA           02081
    DIANE FETTROW                                                            11700 N W 19TH DRIVE                                                         CORAL SPRINGS       FL           33071
    Diane Fluty                                                              439 Bridgetown Court                                                         Satellite Beach     FL           32937
    DIANE FRAZIER                                                            8 FRISBIE ST                                                                 NEW FAIRFIELD       CT           06812
    DIANE FREDRICK                                                           121 DAVIDSON ROAD                                                            BOXBOROUGH          MA           01719
    DIANE FREED PUBLISHING
    SERVICES INC                                                             144 CAPE NEWAGEN RD                                                          SOUTHPORT           ME           04576
    DIANE GLANCY                                                             3508 WEST 73RD TERRACE                                                       PRAIRIE VILLAGE     KS           66208
    Diane Goodman                                                            3226 Clover Lane                                                             Ontario             CA           91761
    Diane Gullman                                                            507 Wing Lane                                                                Saint Charles       IL           60174
    DIANE HANOVER                                                            9950 W BUSTERVILLE LANE                                                      TUCSON              AZ           85743
    Diane Harrington                                                         11998 Pradera Road                                                           Camarillo           CA           93012
    DIANE J GOLDSMITH                                                        73 SHORE ROAD                                                                WESTERLY            RI           02891
    DIANE JENNIFER ROBERTSON                                                 20953 W 125TH STREET                                                         OLATHE              KS           66061
    DIANE KEETON                                                             105-B PHILLIPS LN                                                            CLINTON             OK           73601
    Diane Kilgarriff                                                         8 Stone Rd                                                                   Arlington           MA           02474
    Diane L. Durkee                                                          511 Whitley Drive                                                            Gahanna             OH           43230
    DIANE M BURNLEY                                                          1430 LINTON TERRACE                                                          MARTINEZ            CA           94553
    Diane M Harrington                                                       11998 Pradera Road                                                           Camarillo           CA           93012
    Diane M Heffernan                                                        400 Colonial Drive                                                           Portsmouth          NH           03801
    Diane M Varone                                                           74 Tanager Road                                                              Seekonk             MA           02771
    DIANE MAHONEY MONRAD                                                     1011 OLD BIRCH DR                                                            BLYTHEWOOD          SC           29016
    Diane McGinn                                                             1623 Alta Vista                                                              Wauwatosa           WI           53213
    DIANE MEI LIN MARK                                                       1326 KEEAUMOKU ST, #308                                                      HONOLULU            HI           96814
    Diane Munini                                                             56 Emerson Road                                                              Winchester          MA           01890
    Diane OHara                                                              3550 Bitterroot Road                                                         Manhattan           MT           59741
    Diane Pinney                                                             14413 Parker Rd                                                              Orlando             FL           32832
    DIANE POWELL                                                             3313 SHEPARD AVE                                                             MILLERSPORT         OH           43046
    DIANE ROSSEN WORTHINGTON                                                 13045 MAGNOLIA BLVD                                                          SHERMAN OAKS        CA           91423
    Diane Sandberg                                                           31 Hungerford Rd                                                             Briarcliff          NY           10510
    DIANE SCOFIELD                                                           13 RUDEE AVENUE                                                              VIRGINIA BEACH      VA           23451
    Diane Signatur                                                           3939 Brett Lane                                                              Glenview            IL           60026
    DIANE SIMMONS-TOMCZAK                                                    LE CONNIER 1                                                                 VILLEDIEU                        84110        France
    DIANE STARKOVICH                                                         5055 WILDESAK TR                                                             DOUGLASVILLE        GA           30135
    DIANE THIESSEN                                                           609 FRANKLIN STREET                                                          CEDAR FALLS         IA           50613
    DIANE THOLE                                                              65 STERLING AVENUE                                                           YONKERS             NY           10704
    Diane Thomas-Pittari                                                     5300 S Atlantic Ave            Apt. 16507                                    New Smyrna Beach    FL           32169
    DIANE TIMMERMAN                                                          1547 REDSUNSET DR                                                            BROWNSBURG          IN           46112
    DIANE WALKER                                                             4315 W OKMULGEE, APT D-5                                                     MUSKOGEE            OK           74401
    DIANE WALWORTH                                                           308 E TENTH ST                                                               THE DALLES          OR           97058
    DIANE WATERHOUSE                                                         50 REPUBLIC AVE                MSAD NO 75                                    TOPSHAM             ME           04086
    DIANN COHEN                                                              120 MAGNOLIA CIRCLE                                                          LONGMEADOW          MA           01106
    Diann Murphy                                                             20344 Carol Lane                                                             Saratoga            CA           95070
    DIANNA L McCLENDON                                                       420 FERRARA CT # 104                                                         PHILLIPS RANCH      CA           91766
    DIANNA R CAMP                           DBA SPJCO                        6414 WOODHAVEN CRT                                                           AVON                IN           46123
    Dianne Fitzgerald                                                        19 THUNDER RD                                                                TAUNTON             MA           02780-7615
    DIANNE FRAILING                                                          2150 SHADOW OAKS ROAD                                                        SARASOTA            FL           34240
    DIANNE FRASIER WESSELHOFT                                                91 DUCK LAKE                                                                 LAKEWAY             TX           78734
    DIANNE HILL                                                              P O BOX 435                                                                  MUSKOGEE            OK           74402
    DIANNE HOPEN                                                             250 EDGEWOOD LANE                                                            W ST PAUL           MN           55118
    Dianne M Lee                                                             7 Bird Wing                                                                  Irvine              CA           92604
    DIANNE M STUART                                                          2 RENAISSANCE POINT                                                          ALLISTON            ON           L9R 2H7      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                   121 of 488                                                                                          1:26 PM
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                                                                                                             Pg Creditor
                                                                                                                 129 Matrix
                                                                                                                         of 519
                                                                                                                         First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                             Address2                             Address3                     City               State       Zip              Country
    DIANNE NAPOLITANO                                                       12201 FAIRFIELD HOUSE DR, # 602                                                                             FAIRFAX               VA           22033-3913
    DIANNE S WINSTEAD                                                       1002 LASSITER DRIVE                                                                                         GOODLETTSVILLE        TN           37072
                                                                            2510 CHERRYWOOD HILL DR APT
    DIANNE STAHL                                                            113                                                                                                         BRANDON               FL           33511
    DIANNE VANGUNDY-BABB                                                    12030 CR 3580                                                                                               ADA                   OK           74820
    Dianne Winer-Malliaros                                                  22 Maple St.                                                                                                West Roxbury          MA           02132
    Diannia L Clawson                                                       260 Shady Oaks Loop                                                                                         Cedar Creek           TX           78612
    DIBACCO THOMAS V                                                        1295 NORTH LAKE WAY                                                                                         PALM BEACH            FL           33480
    DICE HOLDING INC                        DICE.COM                        4939 COLLECTIONS CENTER DRIVE                                                                               CHICAGO               IL           60693

    DICK WASHINGTON                         DBA WASHINGTON-ARTISTS REP INC 22727 CIELO VISTA # 2                                                                                        SAN ANTONIO           TX           78255
    DICK WILLIAMS                                                          25 IVALOO STREET                                                                                             SOMERVILLE            MA           02143
    Dickens, Jeremy
    DICKINSON COLLEGE BOOKSTORE                                             28 N COLLEGE STREET                                                                                         CARLISLE              PA           17013
    DICKINSON PRESS INC                                                     5100 33RD STREET SE                                                                                         GRAND RAPIDS          MI           49512
    DICKINSON PRESS INC                                                     P O BOX 72100                                                                                               CLEVELAND             OH           44192
    DICTIONARY SOCIETY OF NORTH             DR LISA BERGLUND - BUFFALO
    AMERICA                                 STATE COLL                      1300 ELMWOOD AVE - KH326                                                                                    BUFFALO               NY           14222
    DIDACTICA SA                                                            BRIZUELA 325                                                                                                ASUNCION                                        Paraguay
    DIDAX INC                                                               395 MAIN STREET                                                                                             ROWLEY                MA           01969
    DIDIER TISDEL JAEN                                                      3301 MCKINLEY BLVD                                                                                          SACRAMENTO            CA           95816
                                                                                                                                                                                        DELEGACION
    DIEGO ARMANDO LOPEZ SANCHEZ             ORIENTE 144 NUM 127 DEPTO 3 COL MOCTEZUMA 2 DA SECCION                                                                                      VENUSTIANO CARRANZA                             Mexico
    Diego Ruiz                                                              3941 Obsidian Rd.                                                                                           San Bernardino        CA           92407
    DIGIAMMARINO FRANK                                                      1647 S.E. BALLANTRAE BLVD N.                                                                                PORT ST LUCIE         FL           34952
    DIGITAL CONCRETE                                                        1822 LAKE RIDGE ROAD                                                                                        BIRMINGHAM            AL           35216
    DIGITAL DIRECTIONS
    INTERNATIONAL INC                                                       269 SAM GRANGE CT                                                                                           CARBONDALE            CO           81623
    DIGITAL GRAPHICS                                                        PO BOX 950240                                                                                               OKLAHOMA CITY         OK           73195-0240
    DIGITAL LIGHT SOURCE INC                                                50 WEBSTER AVE, 4TH FLOOR                                                                                   NEW ROCHELLE          NY           10801
    DIGITAL MAPPING ASSOC                                                   1273 BELLEROCK STREET              ATTN MARGARET MCKEOWN                                                    PITTSBURGH            PA           15217

    DIGITAL MAPPING ASSOCIATES INC                                          1273 BELLEROCK STREET                                                                                       PITTSBURGH            PA           15217
    DIGITAL PUBLISHING SOLUTIONS (S)
    PTE LTD                                                                 6 TEMASEK BLVD #31-02                                                                                       SUNTEC TOWER TWO                   38989        Singapore
    Digital Realty Trust             RE 365 Main Street                     Martin Dalton                  c/o Union Property Capital, Inc.         201 California Street, Suite 1250   San Francisco         CA           94111
    DIGITAL REALTY TRUST LP          DIGITAL 365 MAIN LLC                   FILE 31314 P O BOX 60000                                                                                    SAN FRANCISCO         CA           94160
    DIGITAL SILVER IMAGING LLC                                              464 COMMON STREET                                                                                           BELMONT               MA           02478
                                                                            291 N CLEVELAND-MASSILLON RD #
    DIGIVOICE INC                                                           100                                                                                                         AKRON                 OH           44333
    DILLARD ANNIE                                                           508 MARGARET ST                                                                                             KEY WEST              FL           33040
    DILLARDS G HIGGINS                                                      4064 BOCA BAY DRIVE                                                                                         DALLAS                TX           75244
    DILLINGHAM WILLIAM B                                                    1416 VISTALEAF DR                                                                                           DECATUR               GA           30033
    DILYS EVANS FINE ILLUST                                                 509 JOHNSON LANE                                                                                            SANTA FE              NM           87505
    DILYS EVANS FINE ILLUSTRATIONS,
    LLC                                                                     509 JOHNSON LANE                                                                                            SANTE FE              NM           87505
    DiMarco, Maureen
    DIMENSIONAL DATA INC                                                    803 DERBYSHIRE LN                                                                                           PROSPECT HTS          IL           60070-1159
    DIMITER KENAROV                                                         657 COLUSA AVE                                                                                              BERKELEY              CA           94707
    Dimitrios Panagiotakakos                                                258 Morse Road                                                                                              Sudbury               MA           01776
    DINA E SUTIN                                                            170 PROSPECT STREET                                                                                         MANCHESTER            NH           03104
    DINA MCCLELLAN                                                          915 PRESIDENTS ST, # 2F                                                                                     BROOKLYN              NY           11215
    Dina P. Heffernan                                                       7570 Estrella Circle                                                                                        Boca Raton            FL           33433
    DINA SAFFAN                                                             116 PINEHURST AVENUE                                                                                        NEW YORK              NY           10033
    Dina Saffan                                                             39 Commonwealth Avenue             Apt. 3R                                                                  Boston                MA           02116
    DINAH NELL COVERT                                                       136 NAVATO BLVD                                                                                             SAN ANTONIO           TX           78232
    DINAH RICE CHANCELLOR                                                   890 HARBOR CT                                                                                               SOUTHLAKE             TX           76092
    Dinah Stevenson                                                         217 Garden Street                                                                                           Hoboken               NJ           07030
    Dinara B Fotso                                                          4912 Lake Milly Dr                                                                                          Orlando               FL           32839
    DINARDO DESIGN LLC                                                      2 INDEPENDENCE COURT                                                                                        CONCORD               MA           01742
    DINODIA PHOTO LIBRARY PVT       13-15 VITHOBA LANE                      VITHALWADI 2ND FL                                                                                           KALBADEVI MUMBAI                   400002       India
    DIOCESAN MINISTRY DAY                                                   305-7TH AVENUE N                                                                                            ST CLOUD              MN           56303
                                    OFFICE OF EVANGELIZATION
    DIOCESE OF ALBANY               CATHECHESIS AND                         40 NORTH MAIN AVENUE               FAMILY LIFE                          DAVID STAGLIANO                     ALBANY                NY           12203
    DIOCESE OF ALLENTOWN            ATTN ERICA GATES                        P O BOX F                                                                                                   ALLENTOWN             PA           18105-1538
    DIOCESE OF AUSTIN                                                       6225 HIGHWAY 290 EAST              CATHOLIC SCHOOLS OFFICE                                                  AUSTIN                TX           78723-1025
    DIOCESE OF BELLEVILLE           OFFICE OF EDUC - ATTN M. NEU            2620 LEBANON AVENUE                                                                                         BELLEVILLE            IL           62221-3233
                                    STR GLORIA MARIE KASCAK -
    DIOCESE OF BRIDGEPORT           CATHOLIC CTR                            238 JEWETT AVENUE                                                                                           BRIDGEPORT            CT           06606
    DIOCESE OF BRIDGEPORT           OFFICE OF EDUCATION                     238 JEWETT AVENUE                                                                                           BRIDGEPORT            CT           06606



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                        122 of 488                                                                                                                   1:26 PM
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                                                                                                                            of 519
                                                                                                                    First Class Service List


                 CreditorName                      CreditorNoticeName                      Address1                      Address2                         Address3                   City        State       Zip            Country
                                            MARIA VIESTA - OFF OF
    DIOCESE OF BROOKLYN                     SUPERINTENDENT                  310 PROSPECT PARK WEST                                                                        BROOKLYN          NY           11215
    DIOCESE OF BROWNSVILLE
    CATHOLIC                                SCHOOL OFFICE                   700 N VIRGEN DE SAN JUAN BLVD                                                                 SAN JUAN          TX           78589
    DIOCESE OF BUFFALO                      DEPT OF CATHOLIC SCHOOLS        795 MAIN STREET                                                                               BUFFALO           NY           14203
    DIOCESE OF CHARLESTON                                                   1662 INGRAM ROAD                                                   CATHOLIC SCHOOL OFFICE     CHARLESTON        SC           29407
    DIOCESE OF CHARLOTTE                                                    139 MANOR AVENUE                 ST JAMES CATHOLIC CHURCH                                     CONCORD           NC           28026
    DIOCESE OF CORPUS CHRISTI               OFFICE OF CATHOLIC SCHOOLS      620 LIPAN STREET                                                                              CORPUS CHRISTI    TX           78401-2434
    DIOCESE OF CORPUS CHRISTI               ATTN MARTHA R COLMENERO         620 LIPAN STREET                                                                              CORPUS CHRISTI    TX           78401-2434
    DIOCESE OF EL PASO                      EDUCATION ASSISTANCE FUND       499 ST MATTHEWS                                                                               EL PASO           TX           79907
    DIOCESE OF EL PASO                      ATTN GOLF TOURNAMENT            499 ST MATTHEWS                                                                               EL PASO           TX           79907
    DIOCESE OF ERIE                                                         429 E GRANDVIEW BLVD             ATTN KIMBERLY LYTLE                                          ERIE              PA           16504
    DIOCESE OF FORT WAYNE-SOUTH
    BEND                                                                    1328 WEST DRAGON TRAIL                                                                        MISHAWAKA         IN           46544
                                            WELFARE CORP - ST ANTHONY
    DIOCESE OF FRESNO                       SCHOOL                          1801 WINTON WAY                                                                               ATWATER           CA           95301
                                            MICKEY TOVEY OUR LADY OF
    DIOCESE OF JOILET                       PEACE SCHOOL                    709 PLAINFIELD RD                                                                             DARIEN            IL           60561

    DIOCESE OF JOILET                       JOLIET DIOCESAN PRINCIPALS ASSN 709 PLAINFIELD RD                                                                             DARIEN            IL           60561
    DIOCESE OF JOLIET                       CATHOLIC SCHOOLS OFFICE         101 W AIRPORT ROAD                                                                            ROMEOVILLE        IL           60446
    DIOCESE OF MONTEREY                     OLD MISSION SCHOOL              761 BROAD STREET                 ATTN TINA BALLANTYNE                                         SAN LUIS OBISPO   CA           93401
    DIOCESE OF MONTEREY EDUC &              HOLY CROSS SCHOOL - ATTN
    WELFARE                                 KATHLEEN RYAN                   150 EMMET ST                                                                                  SAN JUAN          CA           95060
    DIOCESE OF MONTEREY EDUC &
    WELFARE                                 DIOCESE OF MONTEREY             PO BOX 350                                                                                    MONTEREY          CA           93942
    DIOCESE OF MONTEREY EDUC &
    WELFARE                                                                 150 EMMET ST                                                                                  SAN JUAN          CA           95060
    DIOCESE OF MONTEREY EDUC &
    WELFARE                                                                 PO BOX 350                                                                                    MONTEREY          CA           93942
    DIOCESE OF NEW ULM                      OFFICE OF RELIGIOUS EDUCATION   1400 6th STREET N                                                                             NEW ULM           MN           56073
    DIOCESE OF ORLANDO                                                      50E ROBINSON STREET              OFFICE OF CATHOLIC SCHOOLS                                   ORLANDO           FL           32801
    DIOCESE OF PITTSBURGH                                                   2900 NOBLESTOWN ROAD                                               ST PAUL SEMINARY           CRAFTON           PA           15205-4227
    DIOCESE OF RALEIGH                                                      1601 EDGERTON STREET             ATTN LYNN MAGOON                                             GOLDSBORO         NC           27530
                                            EDUCATION AND WELFARE
    DIOCESE OF SAN BERNARDINO               CORPORATION                     1201 E HIGHLAND AVE                                                                           SAN BERNARDINO    CA           92404
                                            ST MARY ON THE HILL CATHOLIC
    DIOCESE OF SAVANNAH                     SCHOOL                          1220 MONTE SANO AVE                                                                           AUGUSTA           GA           30904
                                            EPDRE CONFERENCE - OFF OF
    DIOCESE OF SCRANTON                     PARISH LIFE                     400 WYOMING AVE                                                                               SCRANTON          PA           18503
                                            ATTN LARRY SITZMAN - OFF OF
    DIOCESE OF SIOUX CITY                   EDUCATION                       P O BOX 3379                                                                                  SIOUX CITY        IA           51102-3379
    DIOCESE OF SPRINGFIELD-CAPE                                                                              ATTN KAREN PESEK - OFF OF RELIG
    GIRARDEAU                                                               601 S JEFFERSON AVE              EDUC                                                         SPRINGFIELD       MO           65806-3143
    DIOCESE OF TUCSON                                                       P O BOX 31                                                         DEPT OF CATHOLIC SCHOOLS   TUCSON            AZ           85702

    DIOCESE OF VENICE IN FLORIDA INC ATTN ROSEMARY BRATTON                  1000 PINEBROOK ROAD                                                                           VENICE            FL           34285-6400
    DIOCESE OF VICTORIA              OFFICE OF CATHOLIC SCHOOLS             P. O. BOX 4070                                                                                VICTORIA          TX           77903
                                                                                                             C/O ANDY ZAMPINI - CATHOLIC
    DIOCESE OF WILMINGTON                                                P O BOX 2610                        CHARITIES                                                    WILMINGTON        DE           19805
    DIOCESE OF YOUNGSTOWN                   ATTN BARBARA WALKO           225 ELM STREET                                                                                   YOUNGSTOWN        OH           44503
                                            PATRICIA TIERNEY - OFFICE OF
    DIOCESE OFSAINT AUGUSTINE               EDUCATION                    11625 OLD ST AUGUSTINE RD                                                                        JACKSONVILLE      FL           32258
                                            SUPERINTENDENCIA DE ESCUELAS
    DIOCESIS DE ARECIBO                     CATOLICAS                    P O BOX 1683                                                                                     ARECIBO           PR           00613
    DIONNE LEWIS                                                         1316 E 145TH PL                                                                                  GLENPOOL          OK           74033-4019
    DIRECT ENERGY MARKETING INC             DIRECT ENERGY BUSINESS LLC   PO BOX 676863                                                                                    DALLAS            TX           75267-6863
    DIRECT ENERGY SERVICES LLC                                           PO BOX 4662                                                                                      CAROL STREAM      IL           60197-4662
    DIRECT FITNESS SOLUTIONS LLC                                         600 TOWER ROAD                                                                                   MUNDELEIN         IL           60060
    DIRECT MAIL OF NEW YORK INC                                          3199 ALBANY POST RD, STE 158                                                                     BUCHANAN          NY           10511
    Direct Media Canada                                                  1497 Greenbriar Drive                                                                            Oakville          ON           L6M1Y9       Canada
    DIRECT MEDIA INC                                                     200 PEMBERWICK ROAD                 ATTN JENNIFER POLITO                                         GREENWICH         CT           06831
    DIRECTV INC                                                          P O BOX 60036                                                                                    LOS ANGELES       CA           90060-0036
    DIRK FLETCHER                                                        3725 ARTHUR AVE                                                                                  BROOKFIELD        IL           60513
    DISABLED AMERICAN VETERANS              Attn Susan Loth              3725 Alenandria Pike                                                                             Cold Spring       KY           41076
    DISCOVER WORLD LTD                                                   500 N HARBOR DRIVE                                                                               MILWAUKEE         WI           53202
    DISCOVER WRITING                                                     P O BOX 264                                                                                      SHOREHAM          VT           05770
    DISCOVERY BOOKS LTD                                                  2 COLLEGE STREET LUDLOW             FIRST FLOOR OFFICE                                           SHROPSHIRE                     SY8 1AN      United Kingdom

    DISCOVERY COMMUNICATIONS INC DCI CORPORATE                              PO BOX 79910                                                                                  BALTIMORE         MD           21279-0910



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   123 of 488                                                                                                     1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                131 Matrix
                                                                                                                        of 519
                                                                                                                  First Class Service List


             CreditorName                             CreditorNoticeName               Address1                        Address2              Address3            City             State       Zip               Country
    DISCOVERY EDUCATION INC                                                P O BOX 791363                                                               BALTIMORE            MD           21279

    DISCOVERY GIRLS INC                                                    4340 STEVENS CREEK BLVD STE 280                                              SAN JOSE             CA           95129
    DISCOVERY LICENSING INC                                                ONE DISCOVERY PLACE                                                          SILVER SPRING        MD           20910-3354
    Disney Reece                                                           8808 South Rose Road                                                         Perkins              OK           74059
    DISPEZIO MICHAEL                                                       10 NEEDLES LANE                                                              NORTH FALMOUTH       MA           02556
    DISTINCTIVE TALENT INC                                                 4 MILITIA DRIVE                                                              LEXINGTON            MA           02421
    DISTRICT OF COLUMBIA
    TREASURER                               PO BOX 679                     BEN FRANKLON STATION                                                         WASHINGTON           DC           20044
    DISTRICT SCHOOL BOARD OF
    COLLIER                                 COUNTY PUBLIC SCHOOLS          5775 OSCEOLA TRAIL                                                           NAPLES               FL           34109
    DISTRICT SCHOOL BOARD OF
    ONTARIO NE                                                             P O BOX 1020                                                                 TIMMINS              ON           P4N 7H7      Canada
    DIVA PRODUCTIONS INC                                                   PO BOX 91625                                                                 AUSTIN               TX           78709-1625
    DIVERSIFIED PACKAGING CORP                                             2101 INNERBEL BUS CNTR DR                                                    ST LOUIS             MO           63114
    DIVERSIFIED WASTE SOLUTIONS             DWS                            PO BOX 111                                                                   GENEVA               IL           60134
    DIVINA ASSETS INC                                                      145-04 14TH AVENUE                                                           WHITESTONE           NY           11357
    DIVISION OF CHEMICAL EDUCATION
    INC                                     ATTN ANNA M WILSON             2225 S EARL AVENUE                                                           LAFAYETTE            IN           47905
    Dj Cohen                                                               32 PATTERSON ROAD                                                            LEXINGTON            MA           02421
    DJONT OPEARIONS LLC                     DBA EMBASSY SUITES HOTEL       10 CENTURY BLVD                                                              NASHVILLE            TN           37214
    DLA PIPER UK LLP                                                       3 NOBLE STREET                                                               LONDON                            EC2V 7EE     United Kingdom
    DLP RESTAURANT CORPORATION              DBA CHILL CATERING CO          580 US HIGHWAY 1 BYPASS                                                      PORTSMOUTH           NH           03801
    DLS CONSULTING                          ATTN DALE SEVERYN              BOX 204                                                                      ONANOLE              MB           R0J 1N0      Canada
    DMITRI MIKHEL                                                          129 135 KV 14                                                                BOLSJUANA SADPVAUA                410054       Rsian Federation

    DMITRI MIKHEL                           SARATOV UL BOLSHAYA SADOVAY D 129 135 KV 14                                                                 BOLSJUANA SADPVAUA                410054       Russian Federation
    DOANE COLLEGE                           BOOKSTORE                     1014 BOSWELL                                                                  CRETE                NE           68333
    Doanna Tumahai                                                        5820 Briar Drive                                                              Orlando              FL           32819
    DOBRIAN AMY E                                                         PO BOX 1460                                                                   IOWA CITY            IA           52244
    DOBRIAN J CHRISTOPHER                                                 76 HARVEY COURT                                                               IRVINE               CA           92617
    DOBRIAN JOSEPH L                                                      PO BOX 1460                                                                   IOWA CITY            IA           52244
    DOBRIAN MARY L                                                        PO BOX 1460                                                                   IOWA CITY            IA           52244
    DOCUMART OF PORTLAND                                                  3310 NW YEON                                                                  PORTLAND             OR           97210
    DODGE FRED J                                                          P O BOX 14322                                                                 SAN ANTONIO          TX           78214
    DODGE SARA                                                            1900 SPRING GARDEN ROAD                                                       MARION               IL           62959
    DODGE WALTER                                                          1900 SPRING GARDEN ROAD                                                       MARION               IL           62959
    DOE COOVER AGENCY                                                     P O BOX 668                                                                   WINCHESTER           MA           01890
    DOE COOVER AGENCY                                                     PO BOX 668                                                                    WINCHESTER           MA           01890-0968
    DOLAN TECHNOLOGIES
    CORPORATION                             COMPDATA SURVEYS               1713 EAST 123RD STREET                                                       OLATHE               KS           66061
    Dolan, Michael
    DOLDING LTD                                                            UNIT 4 93 PAUL STREET                                                        LONDON                            EC2A 4NY     United Kingdom
    Dolia Godinez                                                          1563 Cambridge Ave                                                           Aurora               IL           60506
    Dolores Cervantes                                                      330 S Lake St                     #1                                         Aurora               IL           60506
    Dolores Culkin                                                         2141 N Larrabee                                                              Chicago              IL           60614
    DOLORES E GODINEZ                                                      14851 BESCOTT DRIVE                                                          AUSTIN               TX           78728
    Dolores Efford                                                         3302 Hovey St.                                                               Indianapolis         IN           46218
    Dolores Garcia-Blocker                                                 410 Bellevue Road                                                            New Haven            CT           06511
    Dolores Knowles                                                        320 St Charles Rd                                                            Glen Ellyn           IL           60137
    Dolores R Kelley                                                       35 Dix Rd Ext                                                                Woburn               MA           01801
    DOLPHIN CREATIVE PROMOTIONS                                            9933 LAWIER AVENUE, STE # 505                                                SKOKIE               IL           60077
    DOMAIN AUDIO SERVICES LLC               DOMAIN COMMUNICATIONS LLC      289 S MAIN PLACE                                                             CAROL STREAM         IL           60188
    Domenic Fosco                                                          4002 Crestwood Dr                                                            Northbrook           IL           60062
    DOMINICAN UNIVERSITY                    BOOKSTORE                      7900 WEST DIVISION ST                                                        RIVER FOREST         IL           60305
    DOMINICK ABEL LIT AGENCY                                               146 WEST 82ND STREET, # 1A                                                   NEW YORK             NY           10024
    Dominick Vangeli                                                       94 Frost Ave                                                                 Phillipsburg         NJ           08865
    DOMINO PRESS                                                           P.O. BOX 7145, GIVAT SHAUL B                                                 JERUSALEM                         91071        Israel
    DON A TROIANI                           DBA HISTORICAL ART PRINTS      P O BOX 660                                                                  SOUTHBURY            CT           06488
    DON ALMQUIST                                                           103 THE STRAND                                                               NEW CASTLE           DE           19720
    DON BARNES                                                             576 STOCKBRIDGE DRIVE                                                        WESTFIELD            IN           46074
    DON BELL SIGNS LLC                                                     365 OAK PLACE                                                                PORT ORANGE          FL           32127
    DON BOOKSTORE                           SANTA ANA COLLEGE              1530 W 17TH STREET                                                           SANTA ANA            CA           92706
    DON C REED                                                             382 RIVERSIDE AVE                                                            FREMONT              CA           94531
    DON CONGDON ASSOCIATES                                                 156 FIFTH AVENUE SUITE 823                                                   NEW YORK             NY           10010
    DON CONGDON ASSOCIATES INC                                             110 WILLIAM STREET STE 2202                                                  NEW YORK             NY           10038-7782
    DON DIXON                                                              252 TERMINO                                                                  LONG BEACH           CA           90803
    Don E. Scott                                                           84 Grandburg Circle                                                          San Antonio          TX           78218
    DON ERSKINE                             CLARK COLLEGE                  1800 E MCLOUGHLIN BLVD                                                       VANCOUVER            WA           98663
    DON FOLEY                                                              224 CORL DRIVE                                                               CAPE CANAVERAL       FL           32920



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 124 of 488                                                                                          1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                132 Matrix
                                                                                                                        of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                             Address2              Address3                  City        State       Zip              Country

    DON FORSCHMIDT                          DBA PRIMELIGHT PRODUCTIONS INC 750 KAPPOCK STREET # 805                                                          RIVERDALE             NY           10463
    DON MASON PHOTOGRAPHY LLC                                              4037 NE 56TH STREET                                                               SEATTLE               WA           98105
    DON RAWITSCH                                                           2515 PRAIRIE AVENUE STE 1E                                                        EVANSTON              IL           60201
    Don Robertson                                                          16306 Foremast Place                                                              Bradenton             FL           34202
    Don Scott                                                              84 Grandburg Circle                                                               San Antonio           TX           78218
    DON SMETZER                             DBA TRAVEL USA/STOCK PHOTOS    2534 NORTH BURLING STREET                                                         CHICAGO               IL           60614
    DONA DODGE                                                             935 DAWN ST                                                                       VENICE                FL           34285
    DONADIO & OLSON INC                     ATTN NEIL OLSON                121 WEST 27TH ST - SUITE 704                                                      NEW YORK              NY           10001
                                            ATTN COPYRIGHT AND
    DONADIO & OLSON INC                     PERMISSIONS                    121 WEST 27TH STREET                                                              NEW YORK              NY           10001-6207
    DONADIO & OLSON INC                                                    121 W 27TH STREET, STE 704                                                        NEW YORK              NY           10001
    DONAHUE & ASSOCIATES INC                                               460 TOTTEN POND ROAD STE 130                                                      WALTHAM               MA           02451
    Donald A Brandstetter                                                  1191 Virginia Court                                                               Bartlett              IL           60103
    DONALD A MCANDREW                                                      4035 BENDEN DRIVE                                                                 MURRAYSVILLE          PA           15668
    DONALD B JOHNSON                        DBA JOHNSON ILLUSTRATION       40 WOLF ROAD UNIT 31                                                              LEBANON               NH           03766
    Donald Back                                                            5116 Larkspur Lane                                                                Mason                 OH           45040
    Donald Beattie                                                         19 Beechwood Drive                                                                Topsham               ME           04086
    Donald Brummels                                                        14945 Sears Road                                                                  Plano                 IL           60545
    Donald Bucolo                                                          3 Deerfield Drive                                                                 Berkley               MA           02779
    Donald C Kline                                                         26435 Edgewood Road                                                               Shorewood             MN           55331
    Donald Clark                                                           1238 W. Pratt                    2A                                               Chicago               IL           60626
    DONALD CREWS                                                           P O BOX 279                                                                       GERMANTOWN            NY           12526
    DONALD CURTIS VAUGHAN                                                  109 HOMBRE CIRCLE                                                                 PANAMA CITY           FL           32407
    DONALD D LYNCH                                                         137 N LARCHMONT BLVD, # 712                                                       LOS ANGELES           CA           90004
                                            EXECUTOR - ESTATE OF EVELYN T
    DONALD E HUNT                           HUNT                           4616 LASHER RD                                                                    WOLCOTT               NY           14590
    DONALD E JOHNSON                                                       399 MIRADA CT                                                                     GRAND JUNCTION        CO           81507
    DONALD E SIMANEK                                                       309 MACKEY AVE                                                                    LOCK HAVEN            PA           17745-4003
    Donald Fabricant                                                       172 Lumber St                                                                     Hopkinton             MA           01748
    DONALD FRANK DISTEL                     DBA DON DISTEL PHOTOGRAPHY     693 E 82ND STREET                                                                 INDIANAPOLIS          IN           46240
    Donald Gagnon                                                          16 Diamond Avenue                                                                 Salem                 NH           03079
    Donald Golini                                                          62 Martin Road                                                                    Reading               MA           01867
    DONALD GRAVES                                                          39 BLUEBERRY LN C42                                                               FALMOUTH              ME           04105
    DONALD H GRAVES ESTATE                                                 18 STORNOWAY ROAD                C/O CAROLINE G HODSDON                           CUMBERLAND FORESIDE   ME           04110
    DONALD HALL                                                            EAGLE POND 24 US ROUTE 4                                                          WILMONT               NH           03287
    DONALD HAWTREE MILLS                                                   83 NW 19TH STREET                                                                 HOMESTEAD             FL           33030
    DONALD J LEU                                                           122 NILES HILL RD                                                                 WATERFORD             CT           06385
    DONALD KILLGALLON                                                      12 OTHORIDGE ROAD                                                                 LUTHERVILLE           MD           21093
    DONALD KROODSMA                                                        36 KETTLE POND ROAD                                                               AMHERST               MA           01002
    Donald L Means                                                         933 Augusta Circle                                                                North Liberty         IA           52317
    Donald L Sparks                                                        1617 East McMillan Street        Apt. 401                                         Cincinnati            OH           45206
    DONALD LEE RUDEK                                                       2200 ROCKBRIDGE CT                                                                YUKON                 OK           73099
    Donald M Rahaim                                                        3002 Silverwood Park Lane                                                         Spring                TX           77386
    Donald M Wannamaker                                                    3706 Chalet Ct                                                                    Orlando               FL           32818

    DONALD MAASS LITERARY AGENCY                                           121 WEST 27th STREET SUITE 801                                                    NEW YORK              NY           10001

    DONALD MAASS LITERARY AGENCY                                           121 W 27TH STREET                SUITE 801                                        NEW YORK              NY           10001-6261
    Donald Mays                                                            6063 Manning Rd.                                                                  Indianapolis          IN           46228
                                                                           1100 SOUTH ORLANDO AVE UNIT #
    DONALD N SONDAG                                                        302                                                                               MAITLAND              FL           32751
    Donald Prince                                                          91 ABBOTSFORD RD.                                                                 WINNETKA              IL           60093
    Donald Ross                                                            656 South Old Potato Road                                                         Paige                 TX           78659
    Donald Summers                                                         14 PETERSON RD                                                                    NATICK                MA           01760
    DONALD W SMITH                                                         755 E MAIN STREET                                                                 LEBANON               KY           40033
    DONATO SEGUI GRESPO                                                    13 JOSE G PADILLA EL SECO                                                         MAYAGUEZ              PR           00682
    Donetta Forsyth                                                        11714 River Terrace Ln                                                            Huntley               IL           60142-7638
    Dong H Lee                                                             710 Woodhollow Ln.                                                                Buffalo Grove         IL           60089
    DONGHONG ZHAO                                                          3-5-16C ZHONGHAI FUYUAN          NO 37 ZENGGUANG ROAD                             HAIDIAN DISTRICT      Beijing      100037       China
    Donique Hill                                                           464 Sommerville Ave #5                                                            Sommerville           MA           02143
    DONLEN CORPORATION                                                     2315 SANDERS ROAD                                                                 NORTHBROOK            IL           60062
    Donna Aiello                                                           37 Castle Rock                                                                    Branford              CT           06405
    DONNA ARCHIBALD                                                        100 MAINSAIL DR                                                                   THIRD LAKE            IL           60030
    Donna Baker                                                            151 Berean Avenue                                                                 Atlanta               GA           30316
    Donna Baxter Mccarthy                                                  819 E. 4th St.                   Apt. 2                                           South Boston          MA           02127
    Donna Cognato                                                          70 Meade St.                                                                      Tewksbury             MA           01876
    DONNA DE LA PAZ                                                        1017 MISTY HOLLOW LN                                                              TARPON SPRINGS        FL           34688
    DONNA DIECKMAN                                                         4018 TRANQUILITY CT                                                               MONROVIA              MD           21770-9005
    Donna Dodd                                                             2622 GLOSTER MILL DRIVE                                                           Lawrenceville         GA           30044



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                      125 of 488                                                                                          1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               133 Matrix
                                                                                                                       of 519
                                                                                                                      First Class Service List


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    Donna E Harden                                                         3010 Greenshire Ave                                                              Claymont            DE           19703
    DONNA FIUMANO                                                          205 WEST 54TH ST 2A                                                              NEW YORK            NY           10019
    Donna Flasza                                                           333 High Street North                                                            Thunder Bay         ON           P7A553       Canada
    DONNA FREEDMAN                                                         10541 STONE AVE N # 107                                                          SEATTLE             WA           98133
    Donna Gillen                                                           320 Lytton Circle                                                                Orlando             FL           32824
    DONNA HAMILTON                                                         3 CHENEY DRIVE                                                                   HUDSON              NH           03051
    Donna Hendrickson                                                      265 Washington Street                                                            Boxford             MA           01921
    Donna J Long                                                           11602 Winding Wood Drive                                                         Indianapolis        IN           46235
    Donna J Robillard                                                      27 Orchard Drive                                                                 Durham              NH           03824

    DONNA JEAN BIGBEE           DBA BIGBEE LEARNING RESOURCES              P O BOX 93                                                                       PIEDMONT            OK           73078
    DONNA JO NAPOLI                                                        226 PARK AVENUE                                                                  SWARTHMORE          PA           19081
    Donna K Herring                                                        405 Dunlin Court                                                                 Brandon             MS           39047
    Donna Kloeppel                                                         1587 Paradise Valley                                                             High Ridge          MO           63049
    DONNA L BERGMAN                                                        1550 ALKI AVENUE SW APT 302                                                      SEATTLE             WA           98116-4822
    Donna L McGrigry                                                       166 Village Estates Drive                                                        Highland Village    TX           75077
    Donna L Owens                                                          25409 121st Street                                                               Trevor              WI           53179
    DONNA LATHAM                                                           218 N WATER STREET # 202                                                         BATAVIA             IL           60510
    Donna M. Anderson-Davis                                                22506 East Weaver Drive                                                          AURORA              CO           80016
    DONNA MCKENNA-CROOK                                                    2209 OMEGA DRIVE                                                                 COLUMBIA            SC           29223
    DONNA MONTGOMERY                                                       206 HERNANDOS LOOP                                                               LEANDER             TX           78641
    DONNA MOORE                                                            20 VALLEY NORTH DRIVE                                                            NEWNAN              GA           30263
    Donna Motzny                                                           3664 Stonecreek Dr                                                               Spring Hill         TN           37174
    DONNA N GAINER                                                         2425 EMERALD LAKE DRIVE                                                          EAST LANSING        MI           48823-7256
    DONNA NEUTZE                                                           3 WINDING WOODS WAY                                                              PASADENA            MD           21122
    DONNA OGLE                                                             1449 W FARGO # 3                                                                 CHICAGO             IL           60626
    Donna Porter                                                           719 Hampton Way                                                                  Abington            MA           02351
    DONNA QUALLEY                                                          2310 KEESLING STREET                                                             BELLINGHAM          WA           98225
    DONNA RIGGS                                                            296 TWO MULE ROAD                                                                PITTSBORO           NC           27312
    Donna Ritchie                                                          26 Summer Street                                                                 Andover             MA           01810
    DONNA ROSEN                                                            2532 SUTCLIFF TERRACE                                                            BROOKEVILLE         MD           20833
    Donna S. Graham                                                        14611 Woodcreek Drive                                                            Little Rock         AR           72211
    DONNA SANTMAN                                                          303 WEST 66TH ST, APT 18EE                                                       NEW YORK            NY           10023
    DONNA SKOLNICK                                                         27 FAWN RIDGE LN                                                                 WILTON              CT           06897-4434
    DONNA TOPPING                                                          530 THORNGATE PL                                                                 MILLERSVILLE        PA           17552
    DONNA TOWNSEND                                                         5303 RIDGE OAK DR                                                                AUSTIN              TX           78731
    Donna Villena                                                          88082 Chita Loop                                                                 Springfield         OR           97478
    DONNA VORENKAMP                                                        4535 MULBERRY PARK LANE                                                          KINGWOOD            TX           77345
    Donna W Farmer                                                         276 University Lane                                                              Elk Grove Village   IL           60007
    Donna Wallace                                                          2125 Via Estrada                                                                 Carrollton          TX           75006
    Donna Walsh                                                            16 LAS CASAS STREET                                                              MALDEN              MA           02148
    DONNA WILBURN                                                          P O BOX 446                                                                      BEGGS               OK           74421
    Donna Woods                                                            1011 Forest Bluff Trail                                                          Round Rock          TX           78665-3908
    Donna Woods-Ford                                                       38 Tayla Drive                                                                   South Weymouth      MA           02190
    DONNEGAN SYSTEMS INC                                                   170 BARTLETT STREET                                                              NORTHBOROUGH        MA           01532
    DONNELLY-AUSTIN PHOTOGRAPHY
    LTD                                                                    21820 VASHON HIGHWAY SW                                                          VASHON ISLANDS      WA           98070
    Donny Tipton                                                           2278 Alabama Avenue                                                              Oneonta             AL           35121
    DONOPHAN GRACE                                                         5680 MUD MILL ROAD                                                               WYOMING             DE           19934
    Donovan & Yee

    DONOVAN & YEE LLP                                                      161 AVE OF THE AMERICAS STE 1201                                                 NEW YORK            NY           10013
    DONOVAN CMTY UNIT DIST 3                                               600 NORTH STREET                                                                 DONOVAN             IL           60931
    DONOVANS GRILL AND TAVERN                                              214-16 41ST AVENUE                                                               BAYSIDE             NY           11361
    DORA I MURRAY                                                          19300 MILTON ROAD                                                                FARMINGTON          CA           95230
    Dora San Miguel                                                        919 N Elm                        Apt D                                           Denton              TX           76201
    Dorchester School District 4            Accounts Payable               4128 Hwy 78                                                                      Saint George        SC           29477
    Doreen Lawlor                                                          137 GREEN RD                                                                     BOLTON              MA           01740-1045
    Doreen M Beauregard                                                    6 Nimitz Way                     Unit D                                          Salem               MA           01970
    Doria Turner                                                           7 Greenfield Dr                                                                  Somersworth         NH           03878
    Doris Avery                                                            16 Old Colony Lane #8                                                            Arlington           MA           02476
    DORIS C MALONE                                                         2720 ITASCA DR                                                                   NATCHEZ             MS           39120
    DORIS E EXNER                           DBA RORSCHACH WORKSHOPS        P O BOX 9010                                                                     ASHEVILLE           NC           28815-9010
    Doris Holness                                                          7 Lheureux Circle                                                                Randolph            MA           02368
    DORIS LUISA ORONOZ                                                     879 SE DEGAN DR                                                                  PORT ST LUCIE       FL           34983
    DORIS LYNN                                                             1604 21ST AVE SOUTH                                                              NASHVILLE           TN           37212
    DORIS SAMPSON                                                          10 N 58TH AVENUE W                                                               DULUTH              MN           55807
    Doris Schermerhorn                                                     650 CONCORD AVE                  STE 315                                         CAMBRIDGE           MA           02138
    DORIT LOMBROSO                                                         2417 22ND STREET                                                                 SANTA MONICA        CA           90405




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     126 of 488                                                                                     1:26 PM
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                                                                                                                            of 519
                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName                   Address1                         Address2             Address3               City          State       Zip                Country
    DORLING KINDERSLEY CHILDRENS
    BOOKS                                   C/O PEARSON SHARED SERVICES      EDINBURGH GATE                                                                 HARLOW ESSEX        Bristol       CM20 2JE     United Kingdom

    DORLING KINDERSLEY PUBLISHING                                            375 HUDSON                      ATTN SHEALA HANSEN                             NEW YORK            NY            10014
    DORLING KINDERSLEY PUBLISHING
    INC                                     C/O PEARSON SHARED SERVICES      375 HUDSON STREET                                                              NEW YORK            NY            10014
    DORMER FRANK W                                                           33 APPLEWOOD ROAD                                                              BRANFORD            CT            06405
    DORN FRANCHELLE                                                          4216 SCALES STREET                                                             AUSTIN              TX            78723
    DOROTHEA G JENSEN                                                        16 GOULD HILL ROAD                                                             CONTOOCOOK          NH            03229
    DOROTHEA WILLIAMSON                                                      2145 SW 81 AVENUE                                                              DAVIE               FL            33324
    DOROTHY A JACOBSON                                                       2617 CLIFTON DR                                                                SPRINGFIELD         IL            62704
    Dorothy Dempsey                                                          1820 Surrey Park Lane #1B                                                      Arlington Heights   IL            60005
    Dorothy F Mendoza                                                        1783 Deavers Dr                                                                San Marcos          CA            92069
    DOROTHY F WILLIAMS                                                       1019 CADILLAC DRIVE                                                            DAYTONA BEACH       FL            32117
    DOROTHY H PATENT                                                         5445 SKYWAY DRIVE                                                              MISSOULA            MT            59804
    Dorothy Havener                                                          122 WHITELAND ROAD                                                             NEW WHITELAND       IN            46184
    Dorothy Henderson                                                        22 Allenwood Street                                                            West Roxbury        MA            02132
    DOROTHY JEMISON FOUNDATION
    FOR EXCELLENC                           DBA JEMISON GROUP INC            4119 MONTROSE BLVD, STE 230                                                    HOUSTON             TX            77006
    DOROTHY L HODGSON                                                        88 LAWRENCE AVENUE                                                             HIGHLAND PARK       NJ            08904
    Dorothy L Rondeau                                                        11 Plympton St                                                                 Woburn              MA            01801
    Dorothy Miller                                                           1803 Glen Rock Road                                                            Glen Rock           PA            17327
    DOROTHY RAULINE MORRIS                                                   2618 GRASSY CREEK RUN                                                          FORT WAYNE          IN            46804
    Dorothy Rondeau                                                          11 Plympton St                                                                 Woburn              MA            01801
    Dorothy Russ                                                             425 East St                                                                    Dedham              MA            02026
    DOROTHY S STRICKLAND                                                     131 COCCIO DRIVE                                                               WEST ORANGE         NJ            07052
    DOROTHY SHEA                                                             614 RED OAK WOOD                ESTATE OF JAMES SHEA                           CANYON LAKE         TX            78133
    Dorothy Watkins                                                          702 HUNDRED OAKS DR                                                            RUSTIN              LA            71270
    Dorothy Watkins                                                          702 Hundred Oaks Drive                                                         Ruston              LA            71270
    DORSEY & WHITNEY LLP                                                     P O BOX 1680                                                                   MINNEAPOLIS         MN            55480-1680
    DORWICK THALIA                                                           7255 SNAKE ROAD                                                                OAKLAND             CA            94611
    Dorycea Jones                                                            501 Mount Olive Rd                                                             Stockbridge         GA            30281
    DOTHAN CITY BOARD OF EDUC                                                500 DUSTY ST                                                                   DOTHAN              AL            36301
    DOTTIE PETERS                                                            281 ADELPHI ST                                                                 BROOKLYN            NY            11205
    DOUBLE D EXPRESS INC                                                     PO BOX 606                                                                     PERU                IL            61354
    DOUBLE D WAREHOUSE LLC                                                   4800 INDUSTRIAL PARK BLVD                                                      PERU                IL            61354
    DOUBLE DUTY CLEANING LLC                                                 P O BOX 853                                                                    ACWORTH             GA            30101
    DOUBLEODESIGN (USD AC ONLY!)                                             ROCK HILL MAIN STREET                                                          BLACKROCK           Dublin                     Ireland
    DOUBLEODESIGN LTD                                                        ROCK HILL MAIN STREET                                                          BLACKROCK           Dublin                     Ireland
    DoubleTree by Hilton                                                     10100 College Boulevard                                                        Overland Park       KS            66210
    DoubleTree by Hilton                                                     2001 Point West Way                                                            Sacramento          CA            95815
    Doubletree Hotel                                                         18740 Pacific Highway South                                                    Seattle             WA            98188
    DOUG ALLEN                                                               429 KINGS HIGHWAY                                                              VALLEY COTTAGE      NY            10989
    DOUG CUSHMAN                                                             891 TANGLEWOOD DRIVE                                                           REDDING             CA            96003
    DOUG SELWYN                                                              256 CORNELIA ST                                                                PLATTSBURGH         NY            12901
    Doug Stone                                                               846 Walnut Spring Ln                                                           State College       PA            16801
    DOUGLAS & MCINTYRE PUBLISHING
    GROUP                                                                    2323 QUEBEC STREET                                                             VANCOUVER           BC            V5T 4S7      Canada
    Douglas Anderson                                                         13580 Maryland Ct                                                              Savage              MN            55378
    Douglas B. Reeves                                                        PO Box 541                                                                     SWAMPSCOTT          MA            01907
    Douglas Bolduc                                                           13 Bennett Street                                                              Woburn              MA            01801
    Douglas Coelho                                                           41 Park Dr.                     Apt. TH                                        Boston              MA            02215
    Douglas County                          Attn Stephanie Cook              Douglad County Treasurer        100 Third Street                               Castle Rock         CO            80104
    DOUGLAS COUNTY BOARD OF
    EDUCATION                                                                9030 HIGHWAY 5                                                                 DOUGLASVILLE        GA            30134
    Douglas County School District          Bookkeeper                       620 Wilcox Street                                                              Castle Rock         CO            80104
    DOUGLAS COUNTY SCHOOL
    DISTRICT 1                              CLAUDIA ZAUHA                    OPS-3215 CUMING STREET                                                         OMAHA               NE            68131
    Douglas County Treasurer                                                 PO Box 5728                                                                    Denver              CO            80217
    Douglas D Williams                                                       5135 Spring Willow Ct.                                                         Owings Mills        MD            21117
    DOUGLAS EDWARDS                                                          907 MANOR WAY                                                                  LOS ALTOS           CA            94024
    Douglas Eisenhart                                                        37 Park Avenue                                                                 Natick              MA            01760
    DOUGLAS F BECKER                                                         4604 DRYDEN CT                                                                 IOWA CITY           IA            52245
    DOUGLAS FISHER                                                           2665 CURLEW STREET                                                             SAN DIEGO           CA            92103
    DOUGLAS FLORIAN                                                          307 WOODMERE BLVD                                                              WOODMERE            NY            11598
    Douglas Flynn                                                            3007 Pinecrest Road                                                            Iowa City           IA            52240
    Douglas Freeman                                                          604 Spanish Oak Lane                                                           Hendersonville      NC            28791

    DOUGLAS G MINDELL                       DBA DOUG MINDELL PHOTOGRAPHY 108 ALBERMARLE RD                                                                  NEWTON              MA            02460
    Douglas Hawthorne                                                    16343 Magnolia Bluff Drive                                                         Montverde           FL            34756



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                         127 of 488                                                                                       1:26 PM
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                                                                                                                       of 519
                                                                                                                   First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                      Address2              Address3              City           State       Zip           Country
    DOUGLAS HENDERSON                                                      117 MAKOWSKI LANE                                                             WHITEHALL            MT           59759
    DOUGLAS HERNANDEZ                                                      PO BOX 60142                                                                  PALM BAY             FL           32906-0142
    DOUGLAS HUNT                                                           206 WESTWOOD AVE                                                              COLUMBIA             MO           65203
    DOUGLAS NEWELL                                                         3109 NE 192ND ST                                                              LAKE FOREST          WA           98155
    Douglas P Temposky                                                     1425 Biloxi Ln                                                                Beech Grove          IN           46107
    Douglas Picciano                                                       2707 Robins Street                                                            Endwell              NY           13760
    Douglas Reeves                                                         100 Beacon Street                                                             Boston               MA           02116
    DOUGLAS S FOX                                                          926 HAIGHT ST, APT # 2                                                        SAN FRANCISCO        CA           94117
    Douglas Singer                                                         216 Winding Knoll Rd                                                          Altoona              PA           16601
    DOUGLAS SLONE                                                          1152 N FENCE POST PL                                                          PRESCOTT VALLEY      AZ           86314
    DOUGLAS SMITH                                                          16 CROWN STREET                                                               MILTON               MA           02186
    DOUGLAS TRICHE                                                         142 WEST FIRST STREET                                                         RESERVE              LA           70084
    Douglas Van Wassenhove                                                 4 Tiger Row                                                                   Georgetown           MA           01833
    DOUGLAS VARGAS                                                         367 SOMERVILLE AVE, UNIT 1                                                    SOMERVILLE           MA           02143
    Douglas Ward                                                           1404 Ridgemont Dr                                                             Austin               TX           78723-2549
    Douglas Whitney                                                        142 Utsonati Lane                                                             Brevard              NC           28712
    DOUGLASS ELEMENTARY                                                    1650 ASH STREET                                                               MEMPHIS              TN           38108
    DOUGLASS JACKIE LEATHERBURY                                            P O BOX 56                                                                    SHADY SIDE           MD           20764-0056
    DOUGLASS JOHN                                                          PO BOX 56                                                                     SHADYSIDE            MD           20764
    DOUGLASS KEVIN DANIEL                                                  4545 CONNETICUT AVE, NW                                                       WASHINGTON           DC           20008
    DOVER PUBLICATIONS                                                     31 EAST SECOND STREET                                                         MINEOLA              NY           11501
    DOVER SCHOOL DISTRICT                                                  29 CROSS STREET                                                               DOVER                MA           02030
    DOVETAIL DESIGNS & MILLWORK
    INC                                                                    2301-1ST AVENUE S                                                             BILLINGS             MT           59101
    DOW MARMUR                                                             66 COLLIER ST, APT 15B                                                        TORONTO              ON           M4W 1L9      Canada
    DOWNTOWN BOOK AND TOY                                                  125 EAST HIGH STREET                                                          JEFFERSON CITY       MO           65101
    DPMG
    DR ELAARDO J WEBSTER                                                   1065 SMITH MANOR BLVD                                                         WEST ORANGE          NJ           07052
    DR GLOBALDIRECT INC                     DBA SWREG                      88228 EXPEDITE WAY                                                            CHICAGO              IL           60695-0001
    DR SCHEULER HEALTH
    INFORMATICS                                                            703 ROCKLEDGE DRIVE                                                           ROCKLEDGE            FL           32955
                                            C/O INTERNATIONAL CREATIVE
    DR SEUSS ENTERPRISES LP                 MANAGEMENT IN                  825 8TH AVENUE, 26TH FLOOR                                                    NEW YORK             NY           10019
    DR STEPHEN JONES                                                       PO BOX 5178                                                                   SPRINGFIELD          PA           19064
    Dr. Clifford B. Janey                                                  2212 Massachusetts Avenue                                                     Northwest            DC           20008
    Dr. Olwen E. Herron                                                    1523 Ravenel Lane                                                             Sugar Land           TX           77479
    DRA LUIS H COLON                                                       352 AVE SAN CLAUDIO-163                                                       SAN JUAN             PR           00926
    DRAGONFLY DESIGN INC                                                   134 ORCHARD LANE                                                              CHAPPAQUA            NY           10514
    Dragoon, John
    DRAWN & QUARTERLY                                                      P O BOX 48056                                                                 MONTREAL             QC           H2V 4S8      Canada

    DREISILKER ELECTRIC MOTORS INC                                         352 ROOSEVELT RD                                                              GLEN ELLYN           IL           60137
    DRENKA WILLEN                                                          17 CHARLTON STREET                                                            NEW YORK             NY           10014
    DREW & ROGERS INC                                                      PO BOX 8500                      LOCK BOX # 8896                              PHILADELPHIA         PA           19178-8896
    DREYER LOIS G                                                          80 SAWMILL ROAD                                                               STAMFORD             CT           06903
    DREYER MEDICAL GROUP LTD                                               P O BOX 2091                                                                  AURORA               IL           60507-2091
    DRISKILL HOTEL                                                         604 BRAZOS STREET                ATNN GERALD GUERRA                           AUSTIN               TX           78701
                                            DBA MAPA TRANSLATIONS &
    DRITA PROTOPAPA                         LANGUAGE SLTNS                 302 UNION AVENUE STE 100                                                      FRAMINGHAM           MA           01702
    DRITSAS LINDA                                                          7415 NORTH MONTE                                                              FRESNO               CA           93711
    DRIVESAVERS INC                                                        400 BEL MARIN KEYS BLVD                                                       NOVATO               CA           94949-5650
    DRU FOX                                                                2121 DICKSON DRIVE # 148                                                      AUSTIN               TX           78704
    DRUMMOND ALLAN                                                         103 WEST TAYLOR STREET                                                        SAVANNAH             GA           31401
    DRUMSKULL DRUMS                                                        105 PIONEER STREET STE C                                                      SANTA CRUZ           CA           95060
    DRYDENBKS LLC                                                          336 CENTRAL PARK WEST 3F                                                      NEW YORK CITY        NY           10025
    DS GRAPHICS                                                            PO BOX 847293                                                                 BOSTON               MA           02284
    DS WATERS OF AMERICA INC                DBA CRYSTAL SPRINGS            PO BOX 660579                                                                 DALLAS               TX           75266
    DST Systems                                                            PO Box 219162                                                                 Kansas City          MO           64121-9162
    DSV AIR & SEA INC                                                      PO BOX 8500-S-6330                                                            PHILADELPHIA         PA           19178-6330
    DTG OPERATIONS INC                                                     SUBROGATION DEPT DEPT 927                                                     TULSA                OK           74182
    DU BOIS BOOK STORE INC                                                 P O BOX 608                                                                   KENT                 OH           44240
    DUAL LANGUAGE EDUCATION OF
    NEW MEXICO                                                             2501 YALE BLVD SE, STE 303                                                    ALBUQUERQUE          NM           87106
    DUBLIN CITY SCHOOLS                     ATTN LURA BECK                 7030 COFFMAN RD                                                               DUBLIN               OH           43017
    DUCHAINE COMMUNICATIONS INC                                            70 TERRACE PLACE                                                              BROOKLYN             NY           11218
    Duck Creek Community Church                                            PO Box 1017                                                                   Duck Creek Village   UT           84762
    DUDLEY DAVID L                                                         PO BOX 682                                                                    TWIN CITY            GA           30471
    DUDLEY ROBERT                                                          5018 GADSEN DRIVE                                                             FAIRFAX              VA           22032
    DUGAN FINANCING LLC                     DBA DUKE REALTY                75 REMITTANCE DRIVE SUITE 1128                                                CHICAGO              IL           60675-1128
    DUGAN KAREN                                                            132 BUNGAY ROAD                                                               NORTH ATTLEBORO      MA           02760



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                  128 of 488                                                                                      1:26 PM
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                                                                                                                  136 Matrix
                                                                                                                          of 519
                                                                                                                        First Class Service List


               CreditorName                           CreditorNoticeName                Address1                             Address2                             Address3                    City             State       Zip             Country
    DUKAKIS MICHAEL                                                         85 PERRY ST                                                                                              BROOKLINE           MA            02446
    DUKE JAMES A                            DUKES HERBAL VINEYARD INC       8210 MURPHY ROAD                                                                                         FULTON              MD            20759
    DUKE REALTY LIMITED                     DUKE SECURED FINANCING 2009-1
    PARTNERSHIP                             ALZ LLC                         75 REMITTANCE DR STE 1175                                                                                CHICAGO             IL            60675-1175
    Duke Secured Financing 2009 - 1ALZ,
    LLC                                     RE 4925 West 86th Street        Christine Amore                   c/o Duke Realty Corporation          600 East 96th Street, Suite 100   Indianapolis        IN            46240
    DUKE UNIV PRESS                         ATTN TOM ROBINSON               905 WEST MAIN STREET, STE 18B                                                                            DURHAM              NC            27701-2054
    DUKE UNIV TEXTBOOK STORE                                                P O BOX 90850                     BRYAN UNIVERSITY CENTER                                                DURHAM              NC            27706
    DUKE UNIVERSITY                                                         905 WEST MAIN STREET STE 18-B                                                                            DURHAM              NC            27701
    DUKE UNIVERSITY LIBRARY                 ATTN NELDA WEBB                 PO BOX 90185                                                                                             DURHAM              NC            27708
    DULCINIA MUNEZ SANTOS                                                   ESTANCIAS SIERVAS DE MARIA                                             58 SANTA SOLEDAD STREET           GURABO              PR            00778
                                            DBA EDUC RESEARCH &
    DULLE ENTERPRISES INC                   DEVELOPMENT INST                15447 GOUGAR RD                                                                                          HOMER GLEN          IL            60491
    Dumb Friends League                                                     2080 S. Quebec Street                                                                                    Denver              CO            80231-3298
    Dumont, Gregory
    DUN & BRADSTREET                        DBA D&B                         PO BOX 75434                                                                                             CHICAGO             IL            60675
    DUNBAR STEPHEN B                                                        826 ROOSEVELT STREET                                                                                     IOWA CITY           IA            52240
    Duncan Drummond                                                         5000 S. Cornell Ave.              #20d                                                                   Chicago             IL            60615
    DUNCAN ERENA E                                                          4422 MANDI AVE                                                                                           LITTLE RIVER        SC            29566
    DUNCAN UNIFIED SCHOOL DISTRICT
    #2                                      DUNCAN HIGH SCHOOL              108 STADIUM AVE                                                                                          DUNCAN              AZ            85534
    DUNHAM LITERARY INC                                                     110 WILLIAM STREET RM 2202                                                                               NEW YORK            NY            10038-3914
    DUNHAM LITERARY INC                                                     110 WILLIAM ST - STE 2202                                                                                NEW YORK            NY            10038
    DUNHAM LITERARY INC                                                     156 5TH AVE STE 823                                                                                      NEW YORK            NY            10010-7764
    DUNMORE SCHOOL DISTRICT                 DUNMORE ELEMENTARY              300 W WARREN STREET                                                                                      DUNMORE             PA            18512
    DUNN & CO INC                           BOX 968                         75 GREEN STREET                                                                                          CLINTON             MA            01510-3017
    DUNN JONATHAN                                                           RR2 BOX 52R                                                                                              BISHOP              CA            93514
    DUNOW & CARLSON LITERARY
    AGENCY                                                                  27 WEST 20TH STREET STE 1107                                                                             NEW YORK            NY            10011
    DUNOW CARLSON AND LERNER                                                27 W 20TH STREET STE 1003                                                                                NEW YORK            NY            10011
    DUNOW CARLSON AND LERNER LIT
    AGENCY                                                                  27 WEST 20TH ST, STE 1107         ATTN YISHAI SEIDMAN                                                    NEW YORK            NY            10011
    DUNOW CARLSON LITERARY
    AGENCY INC                                                              27 WEST 20TH ST STE 1107          ATTN HENRY DUNOW                                                       NEW YORK            NY            10011
    DUNOW CARLSON LITERARY
    AGENCY INC                                                              27 WEST 20TH STREET, SUITE 1107   JENNIFER CARLSON                                                       NEW YORK            NY            10011
    DUNREA OLIVIER                                                          23 FOURTH AVE                                                                                            NARROWSBURG         NY            12764
    DUPRE KELLY                                                             P O BOX 940                                                                                              GRAND MARAIS        MN            55604
    DURAN ELVA                                                              1150 LARKIN WAY                                                                                          SACRAMENTO          CA            95818
    DURHAM PUBLIC SCHOOLS                                                   P O BOX 30002                                                                                            DURHAM              NC            27702
    DURWIN A VINKE                          DBA PRISM ELECTRONICS           2520 CASTLEPINES                                                                                         IMPERIAL            MO            63052
    DUSAN KECMANOVIC                                                        304 KING ST                                                                                              NEWTOWN, SYDNEY     NSW           02042        Australia
    DUSOBOX CORPORATION                                                     1330 CENTRAL FLORIDA PKWY                                                                                ORLANDO             FL            32837
    Dustin Baldridge                                                        2941 Castle Butte Dr.                                                                                    CASTLE ROCK         CO            80104
    DUSTIN KENNETH MILLER                                                   4149 NIA DRIVE                                                                                           IRVING              TX            75038
    DUSTIN VANN                                                             60 GULFVIEW DRIVE                                                                                        PANAMA CITY BEACH   FL            32413
    Dustine Leigh                                                           59 Long Swamp Road                                                                                       Berwick             ME            03901
    DUTTON CHILDRENS BOOKS                                                  375 HUDSON STREET                 DIV PENGUIN BOOKS USA INC                                              NEW YORK            NY            10014
    DUTTON SANDRA                                                           212 HAROLD MEYERS RD                                                                                     EARLTON             NY            12058
    Duval County Public Schools                                             7450 Wilson Blvd.                 Room # 711                                                             JACKSONVILLE        FL            32210
    DUVAL COUNTY SCHOOL BOARD               DVIA                            1701 PRUDENTIAL DRIVE # 431                                                                              JACKSONVILLE        FL            32207
    DUVAL COUNTY SCHOOL BOARD               ATTN ERNEST JACKSON             1701 PRUDENTIAL DRIVE # 431                                                                              JACKSONVILLE        FL            32207
    Dwight A Blackman                                                       934 W. 25th Street                                                                                       Indianapolis        IN            46208
    Dwight Bellows                                                          269 CAMBRIDGE RD                  APT 505                                                                WOBURN              MA            01801
    DWIGHT CENDROWSKI                                                       2870 EASY STREET                                                                                         ANN ARBOR           MI            48104
                                            DBA DWIGHT HISCANO
    DWIGHT HISCANO                          PHOTOGRAPHY                     157 PASSAIC AVENUE                                                                                       SUMMIT              NJ            07901
    Dwight Podgurski                                                        12704 W. Bowles Pl.                                                                                      Littleton           CO            80127
    DWIGHT R KUHN                                                           PO BOX 152                                                                                               DEXTER              ME            04930-1523
    DWYER & OGRADY INC                                                      725 3RD ST P O BOX 790                                                                                   CEDAR KEY           FL            32625-0790
    DWYER & OGRADY INC                                                      725 THIRD ST - PO BOX 790                                                                                CEDAR KEY           FL            32625
    DWYER AND OGRADY INC                                                    PO BOX 790                                                                                               CEDAR KEY           FL            32625
    DYAL DIANA                                                              815 GARFIELD STREET                                                                                      LAWRENCE            KS            66044
    Dyatech LLC                                                             805 S. Wheatley St                Ste 600                                                                Ridgeland           MS            39157
                                            WEST TENNESSEE SPECIAL EDU
    DYER COUNTY SCHOOLS                     CONFERENCE                      159 EVERETT AVE                                                                                          DYERSBURG           TN            38024
    DYER COUNTY SCHOOLS                     ATTN LIANNE BERRY               159 EVERETT AVE                                                                                          DYERSBURG           TN            38024
    DYKES TOMOKO                                                            3601 SKYLINE BLVD #29                                                                                    RENO                NV            89509

    DYKINGA PHOTOGRAPHY                                                     6336 N ORACLE ROAD, STE 326-354                                                                          TUCSON              AZ            85704



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                       129 of 488                                                                                                               1:26 PM
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                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                         Address2                         Address3                      City          State       Zip            Country
                                                                              315-C EDUCATION HALL - SCHL OF
    DYKMAN CASS                             OREGON STATE UNIV                 EDUC                                                                                              CORVALLIS            OR           97331-3502
    DYKSTRA NATALIE                                                           1589 SOUTH SHORE DRIVE                                                                            HOLLAND              MI           49423
    Dynamix Source                                                            2 West Dry Creek Circle           Suite 100                                                       Littleton            CO           80120
    DYNASTY INTERNATIONAL                                                     207 NEWBURY STREET                                                                                BOSTON               MA           02116-2571
    Dynatek Industries, Inc.                                                  PO Box 260441                                                                                     Encino               CA           91426-0441
                                            C/O INSTITUTE FOR ADVANCED
    DYSON J FREEMAN                         STUDY                             EINSTEIN DRIVE                                                       SCHOOL OF NATURAL SCIENCES   PRINCETON            NJ           08540
    E & G VENTURES INC                                                        74 LENOX ST                                                                                       BROCKTON             MA           02301
    E Allen Ulmer                                                             515 Revere Drive                                                                                  Turnsville           NJ           08012
    E GOREY CHARITABLE TRUST                                                  1633 BROADWAY 27TH FLOOR          DAVIS WRIGHT TREMAINE LLP          ATTN ANDREW BOOSE            NEW YORK             NY           10019
    E J MCCARTHY AGENCY                                                       1104 SHELTER BAY AVENUE                                                                           MILL VALLEY          CA           94941
    E K KUHN INC                            DBA BANNER UP SIGNS               1170 EAST STATE STREET                                                                            SYCAMORE             IL           60178

    E L KURDYLA PUBLISHING LLC              DBA VOICE OF YOUTH ADVOCATES      P O BOX 958                                                                                       BOWIE                MD           20718-0958
    E LEBRECHT                                                                3 BOLTON ROAD                                                        LONDON                       Greater London                    NW8 ORJ      United Kingdom
    E MCMULLEN LITERARY AGENT                                                 OFF BRIDGE LN,L IBBOT CTG                                                                         WINDERMR CUMBRIA                  LA23 1HU     United Kingdom
    E MORGAN WILLIAMS                                                         P O BOX 2607                                                                                      WASHINGTON           DC           20013
                                            CENTER FOR DIGITAL
    E REPUBLIC INC                          EDUCATION/CONVERGE                100 BLUE RAVINE ROAD                                                                              FOLSOM               CA           95630
    E T CALDWELL INC                        DBA ETC MAILING SERVICES          P O BOX 250, 52 COLBY RD                                                                          DANVILLE             NH           03819-0250
    E T E S- EDUCATIONAL
    TRANSLATION &                           EDITORIAL SERVICES             205 WINDMILL CIRCLE                                                                                  LEANDER              TX           78641
    E Wayne Martin                                                         635 Sagewood Parkway                                                                                 Seguin               TX           78155
    EAGLE PRODUCTIONS LLC                                                  P O BOX 9222                                                                                         PARAMUS              NJ           07653-9222
    EAGLES NEST HOLDINGS LLC                DBA SABIN ROBBINS              3676 SOLUTIONS CENTER                                                                                CHICAGO              IL           60677-3006
    Eagles Nest Investments, LP                                            P.O. Box 24013                                                                                       OMAHA                NE           68124-0013
    Eaglewood Resort & Spa                                                 16539 Collections Center Drive                                                                       Chicago              IL           60693
    Eamon Dolan                                                            541 8th Street                                                                                       Brooklyn             NY           11215
    EAMONN MCCABE                           FAIRFIELD HOUSE SOUTH          FAIRFIELD DRIVE                                                                                      SAXMUNDHAM SUFFOLK   Suffolk      IP17 1AX     United Kingdom
    EARCOS                                  ELC BUILDING BRENT SUBDIVISION BARANGAY MAMPLASAN                                                                                   BINAN                LAGUNA       04024        Philippines
    EARL CAUDELL                                                           605 FAIRPOINT DRIVE                                                                                  GULF BREEEZE         FL           32561
    EARL E CRABB II                                                        P O BOX 5028                                                                                         BERKELEY             CA           94705-0028
    EARL EVANS                              DBA KIP EVANS PHOTOGRAPHY      663 LIGHTHOUSE AVE                                                                                   PACIFIC GROVE        CA           93950
    EARL K WOOD                             ORANGE COUNTY TAX COLLECTOR PO BOX 545100                                                                                           ORLANDO              FL           32854-5100
    EARL RAY SNYDER                                                        22406 BRIDGEHAVEN DRIVE                                                                              KATY                 TX           77494
    Earl Reid                                                              9777 Main St.                                                                                        Whitesville          KY           42378
    EARL S BROWN                                                           3611 GREEN STREET                                                                                    HARRISBURG           PA           17110-1539
    Earl Shore                                                             6847 New Ridge Drive                                                                                 Riverside            CA           92506

    EARLE STEVE                                                               209 10th AVENUE SOUTH SUITE 516                                                                   NASHVILLE            TN           37203
    EARLENE HALL                                                              14328 ABINGTON ROAD                                                                               DETROIT              MI           48227

    EARLIMART ELEM SCHOOL DISTRICT                                            PO BOX 11970                                                                                      EARLIMENT            CA           93219
    EARLY CHILDHOOD ASSOC
    OKLAHOMA                                                                  2525 NW EXPRESSWAY, STE 202                                                                       OKLAHOMA CITY        OK           73112
    EARLY CHILDHOOD EDUCATION                                                                                                                      UNIV OF WISCONSIN -STOUT
    CONF                                                                      P O BOX 790                       ATTN BRIDGET HANSON                CAMPUS                       MENOMONIE            WI           54751-0790
    EARLY LEARNING COALITION OF ST
    LUCIE CTY                                                                 804 SOUTH 6TH STREET                                                                              FORT PIERCE          FL           34950
    EARNEST COX                    UNIV OF ARKANSAS-LITTLE ROCK               2801 S UNIVERSITY AVE                                                                             LITTLE ROCK          AR           72204
    Earnestine Combs                                                          3513 N. Audubon Rd.                                                                               Indianapolis         IN           46218
    EARTH ACTION NETWORK INC       DBA E MAGAZINE                             P O BOX 5098                                                                                      WESTPORT             CT           06881
    EARTHAMERICA                   FLORIDA DIVISION                           P O BOX 678464                                                                                    DALLAS               TX           75267-8464
    EAST BATON PARISH SCHOOL       ATTN EDWIA RICHARDSON - ACCTS
    SYSTEM                         PAYABLE                                    1050 SOUTH FOSTER DRIVE                                                                           BATON ROUGE          LA           70806
    EAST BATON ROUGE PARISH SCH
    SYSTEM                                                                    1050 S FOSTER                                                                                     BATON ROUGE          LA           70806
    EAST CAROLINA UNIVERSITY                                                                                    ATTN KATIE OCONNOR - GIFTED
    FOUNDATION                                                                208 SPEIGHT BLDG                  EDUC CONF                                                       GREENVILLE           NC           27858
    EAST CENTRAL COLLEGE
    BOOKSTORE                                                                 1964 PRAIRIE DELL RD                                                                              UNION                MO           63084
    EAST CENTRAL EDUCATIONAL
    SERVICE                        CENTER INC                                 1601 INDIANA AVENUE                                                                               CONNERSVILLE         IN           47331

    EAST GRAND RAPIDS SCHOOL DIST                                             2915 HALL STREET SE                                                                               GRAND RAPIDS         MI           49506
    EAST LOS ANGELES COLLEGE                                                  1275 AVENIDA CESAR CHAVEZ         BOOKSTORE                                                       MONTEREY PARK        CA           91754
    EAST MEADOW UNION FREE SD                                                 718 THE PLAIN RD                  BUSINESS OFFICE                                                 WESTBURY             NY           11590
    East Otero R-1                Suite 200                                   1802 Colorado Avenue                                                                              La Junta             CO           81050
    East San Jose School                                                      415 Thaxton Ave SE                                                                                Albuquerque          NM           87102



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                       130 of 488                                                                                                          1:26 PM
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                                                                                                                         of 519
                                                                                                                   First Class Service List


                 CreditorName                      CreditorNoticeName                  Address1                         Address2              Address3              City              State       Zip              Country
                                            ATTN RHONDA SUTTON - READING
    EAST STROUDSBURG UNIVERSITY             DEPT                           200 PROSPECT STREET                                                           EAST STROUDSBURG       PA            18301
                                            NO CHILD LEFT BEHIND
    EAST TENNESSEE TITLE I                  CONFERENCE                     P O BOX 1039                                                                  DECATUR                TN            37322
    East Whittier City SD                                                  14535 E. Whittier Blvd.                                                       WHITTIER               CA            90605
    EASTABOGA ENTERTAINMENT INC                                            P O BOX 210314                                                                NASHVILLE              TN            37221
    EASTCONN                                Attn Accounts Payable          376 Hartford Turnpike                                                         Hampton                CT            06247
    EASTCONN                                                               322 MAIN STREET BLDG 1          ATTN SUSAN MOSTOWAY                           WILLIMANTIC            CT            06226
    EASTER ISLAND STATUE PROJECT            UCLA ROCK ART ARCHIVE          A450 FOWLER                                                                   LOS ANGELES            CA            90095
    EASTERN ILLINOIS UNIVERSITY                                            600 LINCOLN AVENUE                                                            CHARLESTON             IL            61920
    EASTERN NATIONAL                        C/O NATIONAL PARK SERVICE      470 MARYLAND DRIVE STE 1                                                      FORT WASHINGTON        PA            19034

    EASTERN NEW MEXICO UNIVERSITY                                          P O BOX 6000                    ROSWELL CAMPUS BOOKSTORE                      ROSWELL                NM            88203
    EASTERN PRINT SERVICES                                                 6757 ARAPAHO RD #711-175                                                      DALLAS                 TX            75248
    EASTERN SHORE ACADEMY                                                  407 DUDLEY CORNERS ROAD                                                       SUDLERSVILLE           MD            21668
    EASTERN SUFFOLK BOCES         ATTN SHANNON CLOCK                       15 ANDREA ROAD                                                                HOLBROOK               NY            11741

    EASTERN SUFFOLK BOCES/BETAC             NASSAU BOCES BEAC              ONE MERRICK AVENUE                                                            WESTBURY               NY            11590
    EASTMAN KODAK COMPANY                                                  PO BOX 640350                                                                 PITTSBURGH             PA            15264
    Easton Area School District             Attn Accounts Payable          1801 Bushkill Drive                                                           Easton                 PA            18040-8186
    EASTON RICHARD                                                         135 ORCHARD DRIVE                                                             MCMURRAY               PA            15317
    EASTPORT STRATEGIES LLC                 THE VICTOR BUILDING            750 9TH ST NW STE 750                                                         WASHINGTON             DC            20001
    EASTVILLE STUDIOS LLC                   ARIEL SKELLEY                  13 HIGHLAND ROAD                                                              RICHMOND               VA            23229
    EASYLINK SERVICES INTL CORP                                            LOCKBOX 116411                                                                ATLANTA                GA            30368-6411
    EATING                                  Eating Disorder Foundation     3003 E. Third Avenue            Suite 110                                     Denver                 CO            80206
    EATON INTERMEDIATE SCHOOL
    DISTRICT                                                               1790 E PACKARD HWY                                                            CHARLOTTE              MI            48813
    Eber, David
    Eberhart Aust                                                          82-15 35TH AVE, APT 6H                                                        JACKSON HEIGHTS        NY            11372
    EBERSOLE DAVID                                                         289 CAMPGROUND ROAD                                                           REEDVILLE              VA            22539
    EBM INC                                                                2 POST ROAD                                                                   FAIRFIELD              CT            06824-6216
    EBOCH CHRIS                                                            1228 NW HILTON PLACE                                                          SOCORRO                NM            87801
    EBS                                                                    1834 LENOX ROAD                                                               SCHENECATDY            NY            12308
                                            DBA VULCAN INFORMATION
    EBSCO INDUSTRIES INC                    PACKAGING                      P O BOX 29 #1 LOOSELEAF LANE                                                  VINCENT                AL            35178-0029
    EBSCO INFORMATION SERVICES                                             PO BOX 830625                                                                 BIRMINGHAM             AL            35283
    EBSCO ONLINE INC                        DBA METAPRESS                  P O BOX 830686                                                                BIRMINGHAM             AL            35201
    EC DESIGN STUDIO CORPORATION                                           39 FAIRVIEW AVE                                                               SOUTH ORANGE           NJ            07079
    ECHOSPAN INC                                                           258 MADISON AVENUE                                                            DECATUR                GA            30030
    ECIS                                                                   146 BUCKINGHAM PALACE ROAD                                                    LONDON                               SW1W 9TR     United Kingdom
    ECLOGIS                                 EC Logistics, LLC              PO Box 952                                                                    Mechanicsburg          PA            17055
                                                                           5531 AIRPORT WAY SOUTH STUDIO
    ECOSTOCK                                                               C                                                                             SEATTLE                WA            98108
    ED AND ANNE BUNTING TRUSTEE                                            1512 ROSE VILLA STREET          EANDA BUNTING FAM TRUST                       PASADENA               CA            91106
    ED BOCK PHOTOGRAPHY INC                                                4301 EWING AVENUE SOUTH                                                       MINNEAPOLIS            MN            55410
    ED GORMAN                                                              3601 SKYLARK LANE SE                                                          CEDAR RAPIDS           IA            52403
    ED HOOKS                                                               2954 N HAMLIN AVE #2                                                          CHICAGO                IL            60618-7212
    ED L CHALIF TRUST F/B/O
    MARGARET C                              BOSTON FAMILY OFFICE           88 BROAD STREET                                                               BOSTON                 MA            02110
    ED L CHALIF TRUST F/B/O SONIA
    CHALI                                   BOSTON FAMILY OFFICE           88 BROAD STREET                                                               BOSTON                 MA            02110
    ED RESCHKE                                                             2655 ORSHAL ROAD                                                              MUSKEGON               MI            49445-8664
    ED WHEELER PHOTOGRAPHY INC                                             1050 KING OF PRUSSIA ROAD                                                     RADNOR                 PA            19087
    ED ZIRKLE PHOTOGRAPHY                                                  3238 BROOKVIEW WAY              ATTN CHARLES EDWARD ZIRKLE                    COLUMBUS               OH            43221
    EDALIVE                                                                PO BOX 658                                                                    ARMIDALE               NSW           02350        Australia

    EDC MOVING SYSTEMS                      ELECTRONICS DATA CARRIERS INC P O BOX 920680                                                                 HOUSTON                TX            77292-0680
    Eddie Hutson                                                          3835 Double Oak Lane                                                           Irving                 TX            75061
    EDDIE SHANE HICKS                                                     PO BOX 611250                                                                  ROSEMARY BEACH         FL            32461
    EDDIER MURIEL LOPEZ                     URB JARDINES DE MONTE ALTO    CALLE 1 LOMAS APTO 5 325                                                       TRUJILLO ALTO          PR            00976
                                                                                                                                                         PASEO SAN JUAN BOSCO
    EDEBE                                   CHILDRENS BOOK DIRECTOR        REINA DUARTE                                                                  62                     Barcelona     08017        Spain

    EDELSTEIN & TILSEN INC                                                 2915 HUNTINGTON AVENUE # 1      DBA SCOTT EDELSTEIN LIT AGENCY                ST LOUIS PARK          MN            55416-4149
    Eden Prairie Schools #272                                              8100 School Road                                                              Eden Prairie           MN            55344
    EDGAR A LAGACE                                                         6 ERIN LANE                                                                   NORFOLK                MA            02056
    EDGAR CALLAERT                                                         P O BOX 1402                                                                  MILL VALLEY            CA            94942
    EDGAR SCHUSTER                                                         222 S EASTON RD STE 104                                                       GLENDSIDE              PA            19038-3918
                                            C/O ROBERT C GERHARD III
    EDGAR SCHUSTER ESTATE                   ESQUIRE                        222 SOUTH EASTON ROAD STE 104                                                 GLENSIDE               PA            19038



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                  131 of 488                                                                                            1:26 PM
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                                                                                                                         of 519
                                                                                                                      First Class Service List


               CreditorName                           CreditorNoticeName                Address1                           Address2                         Address3                       City             State       Zip              Country
    EDGARDO LORENZO GONZALEZ                                               P O BOX 1642                                                                                        MOCA                 PR              00676
    Edgardo Rivera                                                         1210 Shawford Way                                                                                   Elgin                IL              60120

    EDGECOMBE COMMUNITY COLLEGE ATTN ACCOUNTS PAYABLE                      2009 W WILSON ST                                                                                    TARBORO              NC              27886
    EDICIONES CASTILLO/GRUPO                                               AV INSURGENTES SUR 1886 COL
    EDITORIAL                   MACMILLAN                                  FLORIDA                                                               ATTN KAREN COEMAN             C P 01030            DF                           Mexico
                                                                           AV LUIS ROCHE EDIF BANCO DEL
    EDICIONES EKARE                                                        LIBRO                                                                                               ALTAMIRA SUR         CARACAS         01062        Venezuela
    EDICIONES FARBEN S A                                                   HEREDIA ZONA FRANCA METRO                                                                                                                36-3006      Costa Rica

    EDICIONES HURACAN INC                   ATTN PERMISSIONS DEPARTMENT    CALLE BALDORIOTY DE CASTRO 874                                                                      SAN JUAN             PR              00925
    EDICIONES LAROUSSE                                                     DINAMARCA 81 AP 6-864                                                                               MEXICO CITY MEXICO                   06600        Mexico

    EDICIONES S/M                           ATTN MARTAS GALLAS             BOADILLA DEL MONTE                                                    URBANIZACION PRADO DEL ESPINO MADRID                               28660        Spain
    EDICIONES SERRES / RBA LIBROS           ELLA SHER                      MUNTANER 391                                                                                        BARCELONA            Barcelona       08021        Spain
    EDICIONES Y RECURSOS                                                                                                                                                       COL SANTA MARIA LA
    TECNOLOGICOS                            EDITEC                         SALVADOR DIAZ MIRON 156                                                                             RIBERA               DF              C P 0-6400   Mexico
    Edie Holcomb                                                           845 Chuckanut Drive                                                                                 Bellingham           WA              98229
    EDIFICIOS Y CONSTRUCCIONES
    SANTA                                   PATRICIA                       250 DPTO 7 RES                   AV ALFREDO BENAVIDES NRO                                           MIRAFLORES LIMA                                   Peru
    EDITE KROLL LITERARY AGENCY                                            20 CROSS STREET                                                                                     SACO                 ME              04072
    Edith Buckingham Price                                                 1208 Fairway Drive                                                                                  New Philadelphia     OH              44663
    EDITH C ALVAREZ RIOS                    URB PARQUE ENCUESTRE           CALLE 39 #M19                                                                                       CAROLINA             PR              00987-8629
    EDITH GOLDSTEIN                                                        80B SEMINARY AVENUE              APT 253                                                            AUBURNDALE           MA              02466
    EDITH GROSSMAN                                                         905 WEST END AVE                                                                                    NEW YORK             NY              10025
    EDITH PATTOU EMERY                                                     1975 ARLINGTON AVENUE                                                                               COLUMBUS             OH              43221
    EDITIONS ATRABILE                       ATTN DANIEL PELLEGRINO         PO BOX 30                                                                                           GENEVA               Geneva          01211        Switzerland
    EDITIONS CALMANN LEVY                                                  31 RUE DE FLEURUS                                                                                   PARIS                                75006        France
    EDITIONS DE FALLOIS                     PERMISSIONS                    22 RUE DE LA BOETIE                                                                                 PARIS                                75008        France
    EDITIONS DENOEL                                                        9 RUE DE CHERCHE-MIDI                                                                               CEDEX                Paris           75278        France
    EDITIONS DU ROCHER                                                     28 RUE COMTE FELIX GASTALDI                                                                         MONACO                               98015        Monaco
    EDITIONS FAYARD                                                        13 RUE DU MONTPARNASSE           ATTN FOREIGN RIGHTS DEPT                                           PARIS                                             France
    EDITIONS GALLIMARD                                                     5 RUE SEBASTIEN-BOTTIN                                                                              PARIS                                75007        France
    EDITIONS GRUND                                                         60 RUE MAZARINE                                                                                     PARIS                                75006        France
    EDITIONS MILAN                                                         300 RUE LEON JOULIN                                                                                 TOULOUSE CEDEX 9                     31101        France
    EDITIONS ROBERT LAFFONT                                                24 AVENUE MARCEAU                                                                                   PARIS                                75381        France
    EDITIONS TALLANDIER                                                    2 RUE ROTROU                                                                                        PARIS                                75006        France
                                                                           CARRETERA LEON-LA CORUNA, KM
    EDITORIAL EVEREST, S. A.                ATTN FERNANDO BURGUENO         5, APT 339                                                                                          LEON                                 24080        Spain
                                                                           CARRETERA LEON-LA CORUNA, KM
    EDITORIAL EVEREST, S. A.                                               5 APARTADO 339                                                                                      LEON                                 24080        Spain
                                                                           CARRETERA LEON-LA CORUNA, KM
    EDITORIAL EVEREST, S. A.                                               5, APT 339                                                                                          LEON                                 24080        Spain
    EDITORIAL LIMUSA                                                       BALDERAS 95 1 ER PISO            ATTN MIGUEL NORIEGA                                                CENTRO               DF              06040        Mexico
    EDITORIAL NOGUER SA                                                    DIAGONAL 662-664 7B                                                                                 BARCELONA                            08034        Spain
    EDITORIAL OPTIONS INC                                                  390 FIFTH AVENUE SUITE 912                                                                          NEW YORK             NY              10018
                                            ATTN CP TERESITA DE JESUS                                                                                                          DELEGACION
    EDITORIAL PROGRESO SA DE CV             HERNANDEZ                      NARANJO NO 248                                                                                      CUAUHTEMOC           DF              CP 06400     Mexico
    Editorial Projects in Ed.                                              6935 Arlington Road              Suite 100                                                          Bethesda             MD              20814-5233
    EDITORIAL PROJECTS IN
    EDUCATION INC                           DBA EDUCATION WEEK             PO BOX 3005                                                                                         LANGHORNE            PA              19047
    EDITORIAL PROJECTS IN
    EDUCATION INC                                                          6935 ARLINGTON RD SUITE 100                                                                         BETHESDA             MD              20814
    EDITORIAL PROJECTS IN
    EDUCATION INC                                                          PO BOX 3005                                                                                         LANGHORNE            PA              19047
    EDITORIAL SIGMAR S A C I                                               AV BELGRANO 1580 7O                                                                                 BUENOS AIRES                         C1093AAQ     Argentina
    EDLEADER21                                                             177 N CHURCH AVENUE STE305                                                                          TUCSON               AZ              85701
    EDMARK CORPORATION                                                     6727 185TH AVENUE NE                                                                                REDMOND              WA              98052
    EDMOND COMMUNITY COLLEGE                BOOKSTORE                      20000 68TH AVENUE WEST                                                                              LYNNWOOD             WA              98036
    EDMOND D CARRELL                        dba BOBBY CARRELL              690 RIVERBEND RD                                                                                    MONROE               GA              30655
    EDMOND KASHI                                                           110 MONTCLAIR AVENUE                                                                                MONTCLAIR            NJ              07042
    EDMONDSON MADELEINE                     CLEM MORGELLO POA              2600 NETHERLAND AVE APT 1004                                                                        BRONX                NY              10463-4828
                                                                                                                                                                               PORT JEFFERSON
    EDMUND FRANCHI                                                         16 WASHINGTON AVE                                                                                   STATION              NY              11776
    EDMUND FRANCHI                                                         16 WASHINGTON AVENUE                                                                                PRT JEFSN STA        NY              11776
    EDMUND FULLER                                                          750 WEAVER DAIRY ROAD                                                                               CHAPEL HILL          NC              27514
    EDMUND H HENDERSON TRUST U/A
    DTD 10                       ACHSAH E HENDERSON TRUSTEE                1215 INGLECRESS DRIVE                                                                               CHARLOTTESVILLE      VA              22901
    EDMUND MAREK                                                           4408 BRIGHTON CT                                                                                    NORMAN               OK              73072
    EDNA I BERRIOS VAZQUEZ                                                 URB SAN CRISTOBAL C/3 A 13 B                                                                        BARRANQUITAS         PR              00794



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                     132 of 488                                                                                                               1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                   140 Matrix
                                                                                                                           of 519
                                                                                                                    First Class Service List


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    Edna Romo-Contreras                                                    610 Woodbine                                                                   Oak Park            IL           60602

    EDNA ST VINCENT MILLAY SOCIETY ATTN HOLLY PEPPE                        P O BOX 5683                                                                   EUGENE              OR           97405
    Edna Ventura                                                           743 Gentry Ct                                                                  Winter Springs      FL           32708
    eDoctrina                                                              319 Vulcan                                                                     Buffalo             NY           14207
    EDSOURCE INC                                                           520 SAN ANTONIO ROAD, STE 200                                                  MOUNTAIN VIEW       CA           94040-1217
    EDSTROM EDUCATIONAL
    CONSULTING                                                             7740 HILLSIDE DRIVE                                                            LA JOLLA            CA           92037
    Edu 2000 America, Inc.         Rob Fiance                              5743 Corsa Ave                   Suite 222                                     Ventura             CA           91362
    EDU POWER INC                  ATTN SHIRLEY JOHNSON                    P O BOX 12930                                                                  EL CAJON            CA           92022

    EDU REFERENE PUBL DIRECT INC                                           109 WOODBINE DOWNS BLVD UNIT 3                                                 TORONTO             ON           M9W 6Y1      Canada
    EDU2000 AMERICA INC                     C/O ROB FIANCE                 5743 CORSA AVE STE 222         P 818-516-2178                                  WESTLAKE VILLAGE    CA           91362
    EDUARDO COMESANA                        DBA FOTOGRAFIAS DE PRENSA      AV OLLEROS 1850- 4TO F                                                         BUENOS AIRES                     C1426CRH     Argentina
                                                                           JUAN A MATEOS 215-2 COL VISTA
    EDUARDO GARCIA SILVA                                                   ALEGRE                                                                         DISTRITO FEDERAL    DF           06860        Mexico
    EDUARDO HERNANDEZ                       PASEO LOS ROBLES               1606 YAMIL GALIB                                                               MAYAGUEZ            PR           00682
    EDUARDO HERNANDEZ                                                      10944 EATON RD                                                                 OAKDALE             CA           95361
    EDUARDO HERNANDEZ                                                      1606 YAMIL GALIB                                                               MAYAGUEZ            PR           00682
    Eduardo Holguin                                                        9041 Garden Ridge Dr.                                                          San Antonio         TX           78266
                                                                           1500 EAST RIVERSIDE DRIVE, APT
    EDUARDO J MUNOZ                                                        326                                                                            AUSTIN              TX           78741
    EDUARDO PATINO                                                         P O BOX 546                                                                    SWIFTWATER          PA           18370
                                                                                                                                                          DELEGACION BENITO
    EDUARDO RENE LOPEZ VILLAMAR                                            ALFONSO XIII 78 COL ALAMOS                                                     JUAREZ                           03400        Mexico
    Eduardo Vilallonga                                                     21 Malcom Road                                                                 Jamaica Plain       MA           02130
    EDUCARE OF WEST DUPAGE                                                 622 WINDRIDGE CT                 ATTN TINA GREGUS                              NAPERVILLE          IL           60540
    EDU-CATERING INC                                                       13426 RED FOX RD                                                               ROGERS              MN           55374
    EDUCATION CENTER INC                                                   3515 WEST MARKET ST SUITE 200                                                  GREENSBORO          NC           27403-1309
    EDUCATION CONNECTION                    JANET SABASTIANO               355 GOSHEN RD P O BOX 909                                                      LITCHFIELD          CT           06759

    EDUCATION DEVELOPMENT CENTER                                           43 FOUNDRY AVENUE                                                              WALTHAM             MA           02453
    EDUCATION DEVELOPMENT CENTER
    INC                                                                    55 CHAPEL STREET                 ATTN GLENN NATALI                             NEWTON              MA           02458
    EDUCATION GROWTH ADVISORS                                              177 BROAD STREET 16TH FLOOR                                                    STAMFORD            CT           06901
    EDUCATION INTELLIGENCE INC                                             2517 LEBANON PIKE STE 302                                                      NASHVILLE           TN           37214
    EDUCATION MINNESOTA
    PROFESSIONAL CO                                                        41 SHERBURNE AVE                                                               ST PAUL             MN           55103-2119
    EDUCATION NETWORK OF
    CHRISTIAN                      HOMESCHOOLERS OF NEW JERSEY             41 OLD VIANNA ROAD                                                             HACKETTSTOWN        NJ           07840
    EDUCATION PIONEERS                                                     1970 BROADWAY SUITE 1140                                                       OAKLAND             CA           94612
    Education Serv. Ctr. of Lorain                                         1885 Lake Ave.                                                                 ELYRIA              OH           44035
    EDUCATION SERVICE CENTER OF
    CUYAHOGA                       COUNTY                                  5811 CANAL ROAD                                                                VALLEY VIEW         OH           44125-3300
    EDUCATION SERVICE CENTER
    REGION 1                                                               1900 WEST SCHUNIOR                                                             EDINBURG            TX           78541
    EDUCATION SERVICE CENTER
    REGION 10                                                              400 E SPRING VALLEY ROAD                                                       RICHARDSON          TX           75081
    EDUCATION SERVICE CENTER
    REGION 12                                                              2101 WEST LOOP 340                                                             WACO                TX           76712
    EDUCATION SERVICE CENTER
    REGION 13                                                              5701 SPRINGDALE RD                                                             AUSTIN              TX           78723
    EDUCATION SERVICE CENTER
    REGION 16                                                              5800 BELL STREET                                                               AMARILLO            TX           79109-6230
    EDUCATION SERVICE CENTER
    REGION 17                                                              1111 WEST LOOP 289                                                             LUBBOCK             TX           79416
    EDUCATION SERVICE CENTER
    REGION 19                                                              6611 BOEING DRIVE                                                              EL PASO             TX           79925
    EDUCATION SERVICE CENTER
    REGION 2                                                               209 N WATER ST                   ATTN LORI MEYER                               CORPUS CHRISTI      TX           78401
    EDUCATION SERVICE CENTER
    REGION 20                                                              1314 HINES AVENUE                DUAL LANGUAGE CONFERENCE                      SAN ANTONIO         TX           78208
    EDUCATION SERVICE CENTER
    REGION 9                                                               301 LOOP 11                                                                    WICHITA FALLS       TX           76306
    EDUCATION SERVICE CENTER
    REGION IV                      ATTN KARYN HUSKISSON                    7145 W TIDWELL ROAD                                                            HOUSTON             TX           77092
    EDUCATION SERVICE CENTER
    REGION V                                                               2295 DELAWARE ST                                                               BEAUMONT            TX           77703
    EDUCATION SERVICE CENTER
    REGION VI                      PURCHASING DEPARTMENT                   3332 MONTGOMERY ROAD                                                           HUNTSVILLE          TX           77340



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                    133 of 488                                                                                     1:26 PM
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                                                                                                                   141 Matrix
                                                                                                                           of 519
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                         Address2                      Address3                City        State       Zip              Country
    EDUCATION SERVICE CENTER
    REGION VII                                                             1909 NORTH LONGVIEW STREET                                                               KILGORE             TX           75662
    EDUCATION SERVICE CENTER                THE INTERLOCAL PURCHASING
    REGION VIII                             SYSTEM                         PO BOX 1894                                                                              MT PLEASANT         TX           75456
    EDUCATION SERVICE CENTER
    REGION VIII                             C/O KIM THOMPSON               PO BOX 1894                                                                              MT PLEASANT         TX           75456
    EDUCATION SERVICE CENTER
    REGION XI                               ATTN DIANA MADRID              3001 NORTH FREEWAY                                                                       FORT WORTH          TX           76106
    EDUCATION SERVICE CENTER
    REGION XV                                                              P O BOX 5199                                                                             SAN ANGELO          TX           76902-5199
    EDUCATION SERVICE CENTER
    REGION XVIII                                                           P O BOX 60580                                                                            MIDLAND             TX           79711
    EDUCATION TECHNOLOGY
    SERVICES LLC                            DBA K12 SOFTWARE               8 WEST BROAD STREET, STE 302                                                             HAZLETON            PA           18201

    EDUCATION TURNKEY ELECTRONIC            DISTRIBUTION INC               256 NORTH WASHINGTON STREET                                                              FALLS CHURCH        VA           22046-4517
    Education Week                                                         P.O. Box 3005                                                                            Langhorne           PA           19047-9604
    EDUCATIONAL & PROFESSIONAL
    SRVCES                                  INTERNATIONAL INC              616 SW 293RD STREET                                                                      FEDERAL WAY         WA           98023
    EDUCATIONAL BOOK AND MEDIA
    ASSOCIATION                                                            P O BOX 3363                                                                             WARRENTON           VA           20188
    EDUCATIONAL BRIDGE LLC                                                 P O BOX 1751                                                                             ALLEN               TX           75013
    EDUCATIONAL BROADCASTING
    CORP                                                                   450 W 33RD STREET                ATTN JOE BASILE                                         NEW YORK            NY           10001
    EDUCATIONAL CHALLENGES INC              400 MADISON STREET             1309                                                                                     ALEXANDRIA          VA           22314-1723
    EDUCATIONAL COMMUNICATIONS
    LTD                                                                    11 BELVEDERE ST                  C/O GRAHAM MCEWAN                                       EPSOM               Auckland                  New Zealand
    Educational Consulting Service          Mike White                     15 East Fountain Ave                                                                     Cincinnati          OH           45246
    EDUCATIONAL CONSULTING
    SERVICES INC                                                           15 EAST FOUNTAIN AVENUE                                                                  CINCINNATI          OH           45246
    EDUCATIONAL CONSULTING
    SERVICES LLC                                                           949 KAIPUHEA PLACE               JEFFREY PLONTEK                                         HONOLULU            HI           96825
    EDUCATIONAL FONTWARE INC                                               1425 COWGILL AVE                                                                         BELLINGHAM          WA           98225
    EDUCATIONAL FOUNDATION OF
    LAKE CNTY INC                                                          910 E DIXIE AVE                  ATTN CARMEN CULLEN                                      LEESBURG            FL           34748
    EDUCATIONAL GRAPHICS PRESS
    INC                                     DBA SHADOW PLAY RECORDS        P O BOX 180476                                                                           AUSTIN              TX           78718
    EDUCATIONAL IDEAS INC                                                  PO BOX 219                       BALLARD AND TIGHE PUBLSHRS         ATTN BOB BATSON      BREA                CA           92822-0219
    EDUCATIONAL INFORMATION &
    RESOURCE CTR                                                           107 GILBRETH PARKWAY STE 200                                                             MULLICA HILL        NJ           08062

    EDUCATIONAL PAPERBACK ASSOC                                            PO BOX 1399                                                                              EAST HAMPTON        NY           11937-0709
    EDUCATIONAL PUBLISHER                  DBA ZIP PUBLISHING              1313 CHESAPEAKE AVENUE                                                                   COLOMBUS            OH           43212
    EDUCATIONAL RESEARCH
    INSTITUTE OF                           AMERICA                         3925 HAGAN ST STE 101                                                                    BLOOMINGTON         IN           47401
    Educational Resource Fund                                              225 Derby Street                 Suite 503                                               Salem               MA           01970
    EDUCATIONAL RESRCH INSTITUTE
    OF AMERICA                                                             4 HARDSCRABBLE HEIGHTS BOX 938                                                           BREWSTER            NY           10509-0938
    EDUCATIONAL SALES ASSOCIATION
    OF                                     NEW ENGLAND                     PO BOX 538                                                                               FOXBORO             MA           02035
    Educational Service Center of Cuyahoga
    County                                                                 5811 Canal Road                                                                          Cleveland           OH           44125-3326
    Educational Service Unit #10                                           76 Plaza Road                    PO Box 850                                              Kearney             NE           68845-4841
    Educational Service Unit #10                                           PO Box 850                                                                               Kearney             NE           68845-4841
    Educational Service Unit #17                                           1292 E. 4th Street                                                                       Ainsworth           NE           69210-1225
    EDUCATIONAL SYSTEMICS INC                                              1225 EAST SUNSET DR STE 145                                                              BELLINGHAM          WA           98226
    EDUCATIONAL TECHNOLOGY
    CENTER                                                                 ONE SEVENTH STREET, 5TH FL                                                               AUGUSTA             GA           30901
    EDUCATIONAL TEST SERVICE                                               ROSEDALE ROAD                                                                            PRINCETON           NJ           08541
    EDUCATIONAL TESTING SERVICES                                           4897 COLLECTION CENTER DR                                                                CHICAGO             IL           60693
    EDUCATORS BOOK DEPOSITORY
    EDUCTNL GRAPHIC PRESS                                                  PO BOX 180476                                                                            AUSTIN              TX           78718
    EDUSERV INTERNATIONAL                                                  AL-SADD SUHAIM BIN HAMMAD ST     P O BOX 6255                                            DOHA                                          Qatar
    EDWARD A STEIN                                                         2233 S JACKSON ST                                                                        DENVER              CO           80210
    EDWARD B BURGER                                                        1605 S 4TH STREET # 108                                                                  WACO                TX           76706
    Edward B Guild                                                         28 Burnside Ave                                                                          Somerville          MA           02144
    EDWARD BLOOR                                                           12021 WINDSTONE STREET                                                                   WINTER GARDEN       FL           34787
    Edward Bonessi                                                         83 Beach Avenue                                                                          Milford             CT           06460
    EDWARD BROTHERS                                                        2500 SOUTH STATE ST                                                                      ANN ARBOR           MI           48104
    EDWARD BURGER                                                          1605 S 4TH STREET # 108                                                                  WACO                TX           76706



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                     134 of 488                                                                                                1:26 PM
                                                      12-12171-reg            Doc 136            Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               142 Matrix
                                                                                                                       of 519
                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                Address1                         Address2                         Address3              City        State       Zip            Country
    EDWARD CHRISTOPHER CLEARY                                               1024 SELMA BLVD                                                                          STAUNTON          VA           24401
    EDWARD CONE                                                             610 WEST 110 STREET 15-C                                                                 NEW YORK          NY           10025
    EDWARD D AND ANNE E BUNTING
    FAMILY                                                                  1512 ROSE VILLA                                                                          PASADENA          CA           91106
    EDWARD DARREN DILLASHAW                                                 1880 CR 404                                                                              SPUR              TX           79370
    EDWARD DOCX                                                             65 FENTIMAN ROAD OVAL                                                                    LONDON                         SW8 1LH      United Kingdom
    Edward Doyle IV                                                         1915 Cardinal Rd.                                                                        Dunedin           FL           34698
    Edward Drahozal                                                         1916 Sherwood Place                                                                      Wheaton           IL           60189
    Edward Hazell                                                           38 Alpine Street                                                                         Somerville        MA           02144
    Edward Hebert                                                           105 Alexis Lane                                                                          Lafayette         LA           70508
    EDWARD J ACTION INC                                                     928 BROADWAY SUITE 303                                                                   NEW YORK          NY           10010
    Edward J Murphy Jr                                                      8 Evans St                                                                               Woburn            MA           01801
    Edward Kalla                                                            6405 Coachlight Rd.                                                                      Crystal Lake      IL           60012
    Edward King III                                                         5336 Corteen Place            Unit #6                                                    Valley Village    CA           91607
    Edward Kramer Jr                                                        567 Union Street              Apt 46                                                     Manchester        NH           03101
    EDWARD L AYERS                                                          7000 RIVER ROAD                                                                          RICHMOND          VA           23229
    Edward L Kramer Jr                                                      567 Union Street              Apt 46                                                     Manchester        NH           03101
    EDWARD L KUHLMAN                                                        69 PINE WAY                                                                              FAYETTEVILLE      PA           17222
    EDWARD L SIMPSON                                                        2038 MILAN AVENUE                                                                        SOUTH PASADENA    CA           91030
    Edward Lim                                                              6500 N. Washtenaw             Apt. 1                                                     Chicago           IL           60645
    EDWARD M HARRINGTON III                                                 7 E 14TH STREET APT 1121                                                                 NEW YORK          NY           10003
    Edward M Lowe                                                           29 Belle Pl                                                                              Neptune City      NJ           07753
    EDWARD M STEVENS                        DBA ED STEVENS DESIGN           19 CHAPEL RD                                                                             NORTH HAMPTON     NH           03801
    EDWARD MARTINEZ                                                         28 SPOONER HILL                                                                          SOUTH KENT        CT           06785
    Edward Migdal                                                           8 Meeting House Lane                                                                     Wilbraham         MA           01095
    Edward Murphy Jr                                                        8 Evans St                                                                               Woburn            MA           01801
    EDWARD PELLEGRINI                                                       140 MARGUERITA AVENUE                                                                    SANTA MONICA      CA           90402-1620
    EDWARD PENDELTON THOMPSON               DBA TED THOMPSON                103 S GOVERNOR ST, # 3                                                                   IOWA CITY         IA           52240
    Edward Poplawski                                                        22322 Olean Blvd                                                                         Port Charlotte    FL           33952
    EDWARD PORTER                                                           4371 FACULTY LANE                                                                        HOUSTON           TX           77004
    Edward Preston                                                          8 Lee Road                                                                               Woburn            MA           01801
    Edward Reynolds                                                         118 NEWBURY STREET                                                                       PORTLAND          ME           04101
    Edward Rothermich                                                       215 Jerry Miller Lane                                                                    Silex             MO           63377
    EDWARD S CASSEDY JR                     ATTN ELLEN CASSEDY              7310 CEDAR AVENUE                                                                        TAKOMA PARK       MD           20912
    EDWARD S MOONEY                                                         CAMPUS BOX 4520               ILLINOIS STATE UNIVERSITY            MATHEMATICS DEPT      NORMAL            IL           61790
    EDWARD SOREL                                                            203 WEST 112TH STREET                                                                    NEW YORK          NY           10026
    EDWARD T MANNING III                                                    247 CARLTON AVENUE                                                                       BROOKLYN          NY           11205
    Edward T Murphy                                                         171 River Street              2                                                          Cambridge         MA           02139
    EDWARD T SULLIVAN                                                       103 ONEIDA LANE                                                                          OAK RIDGE         TN           37830
    Edward Waight                                                           1444 N W 202ND LN                                                                        SHORELINE         WA           98177
    EDWARDS ANGELL PALMER&                  ERIC MENOYO /TRUSTEE TO DIANE
    DODGE LLP                               CHOMSKY                         111 HUNTINGTON AVENUE                                                                    BOSTON            MA           02199
    EDWARDS BROTHERS                                                        2500 SOUTH STATE STREET                                                                  ANN ARBOR         MI           48104
    EDWARDS BROTHERS INC                                                    P O BOX 1007                                                                             ANN ARBOR         MI           48106-1007
    EDWARDS WILDMAN PALMER LLP                                              P O BOX 416395                                                                           BOSTON            MA           02241-6395
    Edwards Wildman, previously Edwards
    Angell Palmer & Dodge
    Edweek.org                                                              6935 Arlington Road           Suite 100                                                  Bethesda          MD           20814
    EDWIN B COX                                                             78 POTTER POND                                                                           LEXINGTON         MA           02421
    EDWIN DODSON ELEM SCHOOL                                                4355 HOUSTON DR                                                                          RENO              NV           89502
    Edwin Hagenstein                                                        25 CHANDLER ST                                                                           MAYNARD           MA           01754
    Edwin Hill                                                              23 Prescott Street            Apt. 2                                                     Somerville        MA           02143
    Edwin J Brandenburg                                                     389 S Peru St                                                                            Cicero            IN           46034
    EDWIN L JACKSON                                                         126 RIVERBOTTOM CIRCLE                                                                   ATHENS            GA           30606
    Edwin Pack                                                              208 Crane Ct                                                                             Aiken             SC           29803
    EDWIN VEGA MILAN                        UNIVERSITY OF PUERTO RICO       TERRAZAS DE CARRAIZO # 8                                                                 SAN JUAN          PR           00926
    EE CUMMINGS TRUST                                                       31 33 MAIN STREET             GEORGE J FIRMAGE AGENT               FIRST NIAGRA BANK     MORAVIA           NY           13118
    EECON                                   CRISELDA GUAJARDO ALVARADO      4802 APPLE SPRINGS DR                                                                    PEARLAND          TX           77581
                                            DBA ENGLEWOOD ELECTRICAL
    EESCO DISTRIBUTION INC                  SUPPLY CO                       P O BOX 802578                                                                           CHICAGO           IL           60680-2578
                                            C/O J2 GLOBAL COMMUNICATIONS,
    eFAX CORPORATE                          INC                             PO BOX 51873                                                                             LOS ANGELES       CA           90051
    EFE NEWS SERVICES US INC                                                529 14TH STREET NW STE 1252                                                              WASHINGTON        DC           20045
    EFFICIENT COLLABORATIVE RETAIL
    MARKETING                                                               27070 MILES ROAD STE A                                                                   SOLON             OH           44139
    EGAN TIM                                                                7453 JORDAN AVE                                                                          CANOGA PARK       CA           91303
    EGASSE JEANNE                                                           1791 WINDSOR LANE                                                                        SANTA ANA         CA           92705
    EGENCIA LLC                    EXPEDIA INC                              333 108TH AVENUE NE                                                                      BELLEVUE          WA           98004
    EGGERS DAVID                                                            826 VALENCIA STREET                                                                      SAN FRANCISCO     CA           94110
    EGMONT UK LIMITED                                                       239 KENSINGTON HIGH STREET                                                               LONDON                         W8 6SA       United Kingdom



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                   135 of 488                                                                                                1:26 PM
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                                                                                                              Pg Creditor
                                                                                                                  143 Matrix
                                                                                                                          of 519
                                                                                                                           First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                           Address2                   Address3               City        State       Zip             Country
    EGMONT UK LIMITED                                                      239 KENSINGTON HIGH ST               ROYALTY DEPT                                     LONDON                          W8 6SA       United Kingdom
    EGMONT UK LTD                                                          239 KENSINGTON HIGH ST                                                                LONDON                          W8 6SA       United Kingdom
    EGYPTIAN MUSEUM CAIRO                   ATTN WAQFAA EL SADIK           MIDAN-EK-TAHRIR                                                                       CAIRO                           11557        Egypt
    Eileen Allison                                                         3020 Mackland Avenue NE                                                               Albuquerque        NM           87106-2018
    EILEEN B HOLLINSHEAD                                                   21621 ALTAMIRA AVENUE                                                                 BOCA RATON         FL           33433
    Eileen Bernadet Moran                                                  53 Thomas Park                                                                        Boston             MA           02127
    Eileen Butikofer                                                       474 Cannon Drive                                                                      Geneva             IL           60134
    EILEEN CHRISTELOW                                                      228 PARTRIDGE RD                                                                      EAST DUMMERSTON    VT           05346-9678
    Eileen Couter                                                          8509 Greenbank Blvd                                                                   Windermere         FL           34786
    EILEEN FERRETTI                                                        1033 DAHILL RD                                                                        BROOKLYN           NY           11204
    EILEEN HINE                                                            1078 WEST LAKE AVE                                                                    GUILFORD           CT           06437-1341
    Eileen Jack                                                            2303 Aberdeen Court                                                                   Kissimmee          FL           34744
    EILEEN M CASHMAN                                                       153 EAST 12th STREET                                                                  ARCATA             CA           95521
    EILEEN M GILSHIAN                                                      54 WELLESLEY STREET                                                                   MAPLEWOOD          NJ           07040
    Eileen M McCrossan                                                     2 Adams Lane                                                                          Westford           MA           01886
    EILEEN MAHONEY                                                         600-34TH AVENUE, #4                                                                   SAN FRANCISCO      CA           94121
    EILEEN RYAN                                                            5958 CAVANAUGH ROAD APT B                                                             MARCY              NY           13403
    EILEEN SCHELL                                                          113 SHIRLEY RD                                                                        SYRACUSE           NY           13224-1911
    Eileen Seales                                                          40W348 Edna St. Vincent Millay       Street                                           St. Charles        IL           60175
    EILEEN STRAUB                                                          819 E DRINKER STREET                                                                  DUNMORE            PA           18512
    Eileen Updike                                                          609 HARMONY DR.                                                                       NORTH AURORA       IL           60542
    EINAT KATAV                                                            338 PROSPECT PLACE # 3G                                                               BROOKLYN           NY           11238
    E-INNOVATIVE SERVICES GROUP
    LLC                                     DBA E-ISG ASSET INTELLIGENCE   3500 BOSTON STREET STE 316                                                            BALTIMORE          MD           21224

    EINSTEIN THOMPSON AGENCY LLC                                           133 WEST 25TH STREET 8W                                                               NEW YORK           NY           10016
    EINSTRUCTION CORPORATION                                               1717 DIXIE HIGHWAY SUITE 450                                                          FT WRIGHT          KY           41011
    EINSTRUCTION CORPORATION                                               P O BOX 202442                                                                        DALLAS             TX           75320-2442
    Eircom Ltd                                                             1 Heuston South Quarter, St. Johns                                                    Dublin             DB           DUBLIN 8     Ireland
                                            NO MORE BOOKS INC - C/O PF
    EISEMANN COMMUNICATION INC              FUNDING LLC                    565 HIGHWAY 35 STE 10                                                                 RED BANK           NJ           07701
    EISEN ARMAND                                                           60 WEST 66TH STREET SUITE 29C                                                         NEW YORK           NY           10023
    EIZO INC                                                               4748 NE ALAMEDA STREET                                                                PORTLAND           OR           97213
    EL CAMINO COLLEGE                                                      166007 CRENSHAW BLVD                 BOOKSTORE                                        TORRANCE           CA           90506
    EL DORADO SPRINGS R2 SCHOOL
    DISTRICT                                                               901 SOUTH GRAND                                                                       EL DORADO SPRING   MO           64744
    EL HI IDEAS INC                                                        55 TIEMANN PL UNIT 3                 ATTN ELEANOR ANGELES                             NEW YORK           NY           10027
    El Monte City School District           Accounts Payable               11317 East McGirk Avenue                                                              El Monte           CA           91732
    EL MUSEO DELBARRIO                                                     1230 FIFTH AVE                                                                        NEW YORK           NY           10029
    EL PAIS PRISACOM S. A                   RIBERA DEL SENA                EDIFICIO APOT 4 PLANTA                                                                MADRID             Madrid       28042        Spain
    EL PASO INDEPENDENT SCHOOL
    DISTRICT                                                               6531 BOEING                                                                           EL PASO            TX           79925
    Elaine A Katkowski                                                     8 Gassett Road                                                                        Westford           MA           01886
    Elaine A Whitt                                                         4 Charlesgate E. Apt. 508            Apt. 508                                         Boston             MA           02215
    ELAINE BATCHER                                                         70 GORDON ROAD                                                                        NORTH YORK         ON           M2P 1E4      Canada
    ELAINE BLY & ASSOCIATES                                                92 LAKE FOREST DRIVE                                                                  ST LOUIS           MO           63117
    Elaine Chandler                                                        412 Cleveland Blvd                                                                    Fayetteville       NY           13066
    Elaine G Sherman                                                       1872 Stablegate                      Avenue                                           Henderson          NV           89012
    ELAINE GARAN                                                           521 EAST ALLUVIAL 104                                                                 FRESNO             CA           93720
    ELAINE HANSON                                                          6108 ZENITH AVE SO.                                                                   EDINA              MN           55410
    ELAINE K MANICKE                                                       7167 CORRALES ROAD                                                                    CORRALES           NM           87048
    Elaine K. McEwan-Adkins                                                10140 N. Adler Spring Dr             PO Box 70144                                     Oro Valley         AZ           85737
    Elaine Katkowski                                                       8 Gassett Road                                                                        Westford           MA           01886
    ELAINE LONGOBARDI                                                      2701 MONTEREY STREET                                                                  SARASOTA           FL           34231
    ELAINE M ALPHIN                         DBA ELAINE MARIE ALPHIN        P O BOX 11423                                                                         BOZEMAN            MT           59719
    ELAINE M BUKOWIECKI                                                    40 TOPSFIELD CIRCLE                                                                   SHREWSBURY         MA           01545
    Elaine M Christensen                                                   2 Leaning Elm Drive                                                                   Reading            MA           01867
    Elaine M Mulrooney                                                     27 G Street                                                                           South Boston       MA           02127
    Elaine Marcell                                                         1604 TuckerS Lane                                                                     Hingham            MA           02043
    ELAINE MARKSON & THOMA
    AGENCY                                                                 44 GREENWICH AVE                                                                      NEW YORK           NY           10011
    ELAINE MARKSON LITERARY                                                44 GREENWICH AVENUE                                                                   NEW YORK           NY           10011
    Elaine McCollum                                                        148 Blackjack Road                                                                    Lavernia           TX           78121
    Elaine Pipito                                                          68 Momar Drive                                                                        Bergenfield        NJ           07621
    ELAINE POITRAS                          CSC SISTERS OF HOLY CROSS      135 SAGAMORE ST                                                                       MANCHESTER         NH           03104
    Elaine Powers                                                          478 Weston Road                                                                       Wellesley          MA           02482
    Elaine Robbins Harris                                                  9757 S. Damen Ave.                                                                    CHICAGO            IL           60643
    ELAINE S KING                                                          530 SALEM AVENUE                                                                      NEW CASTLE         VA           24127
    ELAINE SCOTT                                                           13042 TAYLORCREST ROAD                                                                HOUSTON            TX           77079
    ELAINE SHERMAN                                                         1872 STABLEGATE AVENUE                                                                HENDERSON          NV           89012



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                          136 of 488                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                144 Matrix
                                                                                                                        of 519
                                                                                                                        First Class Service List


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    Elan Financial Servces                                                 PO Box 790408                                                                                          Saint Louis            MO           63179-0408

    ELBA E VALLES CORREA                                                   JARDINES DE SAN FRANCISCO 603-2                                                                        SAN JUAN               PR           00927
    ELBERT R BISHOP                         DBA A-1 MINI-STORAGE           17536 STUEBNER - AIRLINE                                                                               SPRING                 TX           77379
    Elbow Beach-Bermuda                                                    60 South Shore Road                                                                                    Hamilton               BM           HM BX        Bermuda
    ELEANOR B ROVERE REVOCABLE
    TRUST                                                                  222 WILLIAMS ST EAST #418                                                                              GLASTONBURY            CT           06033
    ELEANOR BOWMAN                                                         10705 BAYRIDGE COVE                                                                                    AUSTIN                 TX           78759
                                            LEVEL 1 SUITE 3 - 102 TOORAK
    ELEANOR CURTAIN PUBLISHING              ROAD                           P O BOX 9013                                                                                           SOUTH YARRA VICTORIA   Victoria     03141        Australia
    ELEANOR DAVIS                                                          117 LENOIR STREET                                                                                      ATHENS                 GA           30601
    Eleanor Freeland                                                       31 Wilmington Road                                                                                     Burlington             MA           01803
    ELEANOR HENDERSON                                                      198 PATTERSON HILL LANE                                                                                CROZET                 VA           22932
    ELEANOR KUTZ                                                           12 TEMPLE ST                                                                                           MEDFORD                MA           02155
    Eleanor M Mcgough                                                      1 Lennon Court                                                                                         South Boston           MA           02127
    Eleanor Marshall                                                       P.O. Box 136294                                                                                        Clermont               FL           34713
    ELEAZAR MALDONADO SAN                                                  CALLE 12 NUM 43 COL OLIVAR DEL
    GERMAN                                  FACTOR02                       CONDE                                                                                                  ALVARO OBREGON                      01400        Mexico
    ELECTRA LINK INC                                                       P O BOX 4346, DEPT 467                                                                                 HOUSTON                TX           77210-4346

    ELECTRONIC ENVIRONMENTS CORP                                           410 FOREST ST                                                                                          MARLBOROUGH            MA           01752
    ELEMENT K CORPORATION                                                  DEPT AT 2573 P O BOX 122573                                                                            DALLAS                 TX           75312-2573
    ELEMENT LLC                                                            P O BOX 919252                                                                                         ORLANDO                FL           32891
    Elements                                                               2501 Blake Street                                                                                      Denver                 CO           80205
    ELENA A SEIBERT              ELENA A SEIBERT PHOTOGRAPHY               684 BROADWAY # 11 E                                                                                    NEW YORK               NY           10012
    Elena Di Cesare Montillo                                               230 Austin Street                                                                                      W. Newton              MA           02165
    Elena Galindo                                                          132 Mora Rd.                                                                                           Carpentersville        IL           60110
    ELENA HERZOG                 DBA PERMANENT MIRROR INC                  8865 WONERLAND AVE                                                                                     LOS ANGELES            CA           90046
                                                                           VILLAS DE SAN AGUSTIN CALLE 12
    ELENA I RIVERA MARCUCCI                                                Q14                                                                                                    BAYAMON                PR           00959
    Elena Kantor                                                           12 Chancery                                                                                            Lynn                   MA           01902-4248
    ELENA MALDONADO                                                        P O BOX 7285                                                                                           CAGUAS                 PR           00726-7285
                                                                           29 WASHINGTON SQUARE W, APT
    ELENA PINTO SIMON EXEC                                                 2D                                ESTATE OF JAY LEYDA                                                  NEW YORK               NY           10011
    ELEPHANT VOICES                                                        BUSKHELLINGA 3 3236                                                                                    SANDEFJORD                                       Norway
    Elevated Third                                                         1529 Market St                    Ste 200                                                              Denver                 CO           80202
    ELEVATOR INSPECTION OF TEXAS                                           12200 FORD RD, STE 420                                                                                 DALLAS                 TX           75234
    Elfrida Quintos                                                        7302 Seaman Bluff                                                                                      Orlando                FL           32835
                                                                                                             GEORGE WASH UNIV-SCH OF
    ELIAS G CARAYANNIS                                                     515C FUNGER HALL, 2201 G ST NW    BUSINESS                              DEPT OF INF SYST & TECH MNGT   WASHINGTON             DC           20052
    Elias G Harik                                                          10 West Milton St.                                                                                     Hyde Park              MA           02136
    ELIAS MANDALA                           UNIV OF ROCHESTER              HISTORY DEPT-RIVER CAMPUS                                                                              ROCHESTER              NY           14627
    ELIEZER RODRIGUEZ                       DBA RAQUELS CATERING           HC # 03 BOX 7641                                                                                       BARRANQUITAS           PR           00794
    ELINOR H KINNEY                                                        702 E WARREN STREET APT 3                                                                              DUNMORE                PA           18512-2552
    ELINOR LIPMAN                                                          67 WINTERBERRY LANE                                                                                    FLORENCE               MA           01062
    ELIOT COHEN                             dba JANELCO                    23 SARAH ST                                                                                            BURLINGTON             MA           01803
    ELIOT WEINBERGER                                                       202 WEST 10TH STREET                                                                                   NEW YORK               NY           10014
    ELISA BRENTE-FAIR                                                      2285 NW PUTNAM RD                                                                                      BEND                   OR           97701
    Elisa C Rodriguez                                                      139 Antler Circle                                                                                      San Antonio            TX           78232
    Elisa Carvajal                                                         503 Lost Creek Ct                                                                                      Kissimmee              FL           34743
    ELISA M DURAN                                                          568 JEFFERSON AVE UNIT B                                                                               CHULA VISTA            CA           91910
    ELISA MARTINELLI GONCALVES                                             5523 HIGH RIDGE DR                                                                                     YPSILANTI              MI           48197
    ELISA ZONANA                                                           345 PROSPECT AVE #3                                                                                    BROOKLYN               NY           12115
    ELISABETH BROWN                                                        170 GRANDE POINTE CIRCLE                                                                               INLET BEACH            FL           32413
    Elisabeth Dunn                                                         77 Marianne Road                                                                                       Waltham                MA           02452
    ELISABETH EAVES                                                        60 PINEAPPLE ST, # 7E                                                                                  BROOKLYN               NY           11201
    Elisabeth Peterson                                                     19 Temple St #2                                                                                        Boston                 MA           02114
    Elise Furst                                                            14563 Global Circle               Apt 6306                                                             Orlando                FL           32821
    ELISE MILLS                                                            4 BLOOMER ROAD                                                                                         NORTH SALEM            NY           10560
    Elisha Garrett Sr                                                      101 Bachelor St.                                                                                       West Newbury           MA           01985

    ELISSA HADEN GUEST                                                     41 MADISON AVENUE - 33RD FLOOR c/o THE GERSHER AGENCY                   ATTN PHYLLIS WENDER            NEW YORK               NY           10016
    ELISSA J ARNDT                                                         2217 MENDON ROAD                                                                                       CUMBERLAND             RI           02864
    ELISSA JORDAN                                                          765 CAMBRIDGE ST, # 2                                                                                  CAMBRIDGE              MA           02141
    Eliz Slezinger                                                         PO BOX 92                                                                                              GAP MILLS              WV           24941-0092
    ELIZA ABLOVATSKI                                                       1340-B MONTECITO AVENUE                                                                                MOUNTAIN VIEW          CA           94043
    Eliza Jones                                                            38 Goldsmith St                #1                                                                      Jamaica Plain          MA           02130
    ELIZABE CHISERI-STRATER                                                604 NORTH MENDENHAL ST                                                                                 GREENSBORO             NC           27401
    ELIZABE COVEY                                                          9 GREAT JONES ST                                                                                       NEW YORK               NY           10021
    ELIZABET FENNEMA                                                       3023 OLD CREEK RD                                                                                      MIDDLETON              WI           53562



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                       137 of 488                                                                                                              1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               145 Matrix
                                                                                                                       of 519
                                                                                                                  First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                    Address2              Address3                City        State       Zip      Country
    ELIZABETH A BAILEY                                                     2304 RED ELM DRIVE                                                           EDMOND              OK           73013
    Elizabeth A Bruder                                                     3029 Still Meadow Drive                                                      Collegeville        PA           19426
    Elizabeth A DiRusso                                                    20 Danby Rd                                                                  Stoneham            MA           02180
    Elizabeth A Garcia                                                     1102 Turtle Creek                                                            Austin              TX           78745
    Elizabeth A. Elliott                                                   33 Bowman Street                                                             Malden              MA           02148
    ELIZABETH ABELL                                                        3852 IRONGATE LANE                                                           BOWIE               MD           20715
    Elizabeth Anderson                                                     34 Isabella Street           #6                                              Boston              MA           02116
    ELIZABETH ANDREWS                                                      301 VAN NESS AVE                                                             SANTA CRUZ          CA           95060
    Elizabeth Angel                                                        32 Brigantine Circle                                                         Norwell             MA           02061
    ELIZABETH ANN BARNETTE                                                 121 RUGBY PLACE                                                              WINCHESTER          VA           22603
    ELIZABETH ANNE SIMMONS                                                 11702 OAKWOOD DR                                                             AUSTIN              TX           78753
    ELIZABETH ARDELL                                                       10599 NW LE MANS COURT                                                       PORTLAND            OR           97229
    Elizabeth B Ackerman                                                   10421 Tularosa Pass                                                          Austin              TX           78726
    ELIZABETH BABER                                                        1902 MAPLE SHADELANE                                                         RICHMOND            VA           23227
    ELIZABETH BLAKESLEE                                                    1325 13TH ST NW - APT #53                                                    WASHINGTON          DC           20005
    Elizabeth Borjon                                                       3701 Quick Hill Road         5204                                            Austin              TX           78728
    Elizabeth C Kiernan                                                    2222 Mystic Valley PKWY      Apt 2                                           Medford             MA           02155
    ELIZABETH C M KAISER                                                   803 LIVE OAK DRIVE                                                           CEDAR PARK          TX           78613
    ELIZABETH C PIERSON                                                    656 HARPSWELL ROAD                                                           BRUNSWICK           ME           04011
    ELIZABETH CANTIN                                                       192 NEWBRIDGE ROAD                                                           SUDBURY             MA           01776
    ELIZABETH CAROL LUNDEEN                                                4812 PICKNEY COURT                                                           GRANITE BAY         CA           95746
    Elizabeth Collins                                                      50 Cedar street                                                              Cambrige            MA           02140
    ELIZABETH CRAIG                                                        1591 W LAS LOMITAS RD                                                        TUCSON              AZ           85704
                                            DBA SILVER CREEK EDITING AND
    ELIZABETH D DICKSON                     INDEXING SV                    13024 SILVER CREEK                                                           AUSTIN              TX           78727
    Elizabeth De George                                                    162 Cypress St. #2                                                           Providence          RI           02906
                                                                                                        DEPARTMENT OF BIOLOGY-
    ELIZABETH DE STASIO                                                    711 E BOLDT WAY SPC 24       LAWRENCE UNIV                                   APPLETON            WI           54911
    Elizabeth Deck                                                         91 Dickson Ave.                                                              Arlington           MA           02474
    Elizabeth Donaghey                                                     20 Thistle Road                                                              Woburn              MA           01801
    Elizabeth Doron                                                        21 Everell Road                                                              Winchester          MA           01890
    Elizabeth Duvall                                                       707 Alyssa Drive                                                             Groveland           MA           01834-1653
    ELIZABETH ECKERT COBURN                                                111 COVINGTON ROAD                                                           BUFFALO             NY           14216
    ELIZABETH FARMER                                                       174 HERCULES AVENUE                                                          LOMPOC              CA           93436
    ELIZABETH FARMER                                                       6501 WEST 158 STREET                                                         OVERLAND PARK       KS           66223
    Elizabeth Fayyad                                                       3109 Burnside Circle                                                         Lago Vista          TX           78645
    ELIZABETH FITZGERALD HOWARD             825 MOREWOOD AVENUE            TH-M                                                                         PITTSBURGH          PA           15213
    Elizabeth Fletcher                                                     5391 Dollar Forge Lane                                                       Indianapolis        IN           46221
    Elizabeth Frink                                                        900 Boardman Street                                                          Orlando             FL           32804
    Elizabeth G Buie                                                       17722 Esprit Dr.                                                             Tampa               FL           33647
    Elizabeth H Gorman                                                     6 Taylor Avenue                                                              Natick              MA           01760
    Elizabeth Harris                                                       8602 Hathaway Drive                                                          Austin              TX           78757
    ELIZABETH HAUSER                                                       66 GLENBROOK ROAD                                                            MORRIS PLAINES      NJ           07950
    ELIZABETH HAYDEL                                                       268 STEWART AVENUE                                                           COLUMBUS            OH           43206
    Elizabeth Henley                                                       6000 Epping Forest Dr                                                        Raleigh             NC           27613
    Elizabeth Hodges                                                       112 W Washington Blvd        Apt 236                                         Fort Wayne          IN           46802
    Elizabeth Jackson                                                      24093 Corinth Road                                                           Thompsonville       IL           62890
    ELIZABETH JAE                           DBA JL MEDIA ESCORTS           13303 MEADOW WOOD CT                                                         TAMPA               FL           33618
    ELIZABETH JEANNE WHITE
    FORRISTAL                                                              5010 IMPERIAL                                                                BELLAIRE            TX           77401
    ELIZABETH JIMENEZ                       DBA GEMAS CONSULTING           3755 N SUMNER AVENUE                                                         POMONA              CA           91767
    ELIZABETH K COOPER                                                     8695 E RADCLIFF AVENUE       AND ARTS CORP                                   DENVER              CO           80237
    ELIZABETH K HEBERT                                                     7110 SUNGATE DR                                                              AUSTIN              TX           78731
    ELIZABETH KAHN                                                         1253 READING COURT                                                           WHEATON             IL           60189
    ELIZABETH KAPLAN                                                       2626 NORTH FARWELL                                                           MILWAUKEE           WI           53211
    ELIZABETH KAPLAN LITERARY
    AGENCY INC                                                             80 FIFTH AVENUE SUITE 1101   ATTN ELIZABETH KAPLAN                           NEW YORK            NY           10011
    ELIZABETH KAPLAN LITERARY
    AGENCY INC                                                             80 FIFTH AVENUE SUITE 1101                                                   NEW YORK            NY           10011
    Elizabeth Karwoski                                                     11012 Furrow Hill Drive                                                      Austin              TX           78754
    ELIZABETH KREUTZ                        DBA KREUTZ PHOTOGRAPHY         9803 MURMURING CREEK                                                         AUSTIN              TX           78736
    Elizabeth L Cohen                                                      89 Nottinhill Road                                                           Brighton            MA           02135
    Elizabeth L Hartman                                                    355 North Van                                                                Batavia             IL           60510
    ELIZABETH L TRIPP                                                      32 BOXWOOD CIRCLE                                                            MILFORD             NH           03055-3000
    ELIZABETH L VAN TINE                                                   4178 GORMAN AVE                                                              ENGLEWOOD           OH           45322
    Elizabeth Lashley                                                      380 North Glenwood Ave.                                                      Orlando             FL           32803
    ELIZABETH LASKEY                                                       4838 NE 41ST AVE                                                             PORTLAND            OR           97211
    ELIZABETH LEBANOWSKI                                                   311 TIMBERWILDE LANE                                                         HOUSTON             TX           77204
    ELIZABETH LOGAN BURNS                                                  1805 HAZELWOOD DRIVE                                                         FT PIERCE           FL           34982
    ELIZABETH M PERHAM                                                     406 TIBBETTSTOWN ROAD                                                        COLUMBIA            ME           04623



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                 138 of 488                                                                                1:26 PM
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                                                                                                                     of 519
                                                                                                                     First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                        Address2                           Address3                City        State       Zip             Country
    ELIZABETH M SMITH                                                      4807 WESTFIELD DRIVE                                                                         AUSTIN              TX           78731
    ELIZABETH MANNING                                                      120 TURKEY CREEK RD                                                                          RUSTON              LA           71270
    Elizabeth Marrero                                                      2315 Windsong Drive                                                                          Kissimmee           FL           34741
    Elizabeth Marshall                                                     1508 Southport Drive           Apt# 355                                                      Austin              TX           78704
    Elizabeth Metcalfe                                                     1476 Clybourne Street                                                                        Batavia             IL           60510
    Elizabeth Molaskey                                                     8 Lambert Street                                                                             Medford             MA           02155
    Elizabeth Monsma                                                       13903 Hillsboro Drive                                                                        Parker              CO           80134
    Elizabeth Morgan                                                       42 Willow Street                                                                             Westwood            MA           02090
    Elizabeth Moss                                                         11827 Drexelbrook                                                                            Houston             TX           77077
    Elizabeth Murphy                                                       104 Chandler View Trail                                                                      Round Rock          TX           78665
    Elizabeth Nakano                                                       2500 FAIRWAY AVE                                                                             MONTROSE            CA           91020
    Elizabeth OHara                                                        6 Mayhew Street                Unit 3                                                        Dorchester          MA           02125
    ELIZABETH P SYCAMORE                                                   5231 N LAKEWOOD                                                                              CHICAGO             IL           60640
    ELIZABETH PASCHKA                                                      202 CYPRESS AVE                                                                              CLARKSDALE          MS           38614
    ELIZABETH PIOTROWSKI                                                   5536 NORTH MARMORA                                                                           CHICAGO             IL           60630
    Elizabeth R. Monsma                                                    13903 Hillsboro Drive                                                                        Parker              CO           80134
    Elizabeth Radzik                                                       8 Morningside Drive                                                                          Rockland            MA           02370
    Elizabeth Reinish                                                      34 Harvard Ave.                Apt #6                                                        Brookline           MA           02446
    Elizabeth Roettger                                                     8801 W. Golf Road              Unit 2d                                                       Niles               IL           60714
    Elizabeth Rowlett                                                      547 South Forest Dr.                                                                         Birmingham          AL           35209
    ELIZABETH ROY LIT AGENCY                                               WHITE COTTAGE                  GREATFORD                             NR. STAMFORD            LINCOLNSHIRE                     PE9 4PR      United Kingdom
    ELIZABETH RUPP FULWILER                                                10732 SAND POINT WAY NE                                                                      SEATTLE             WA           98125
    ELIZABETH RUSCH                                                        2757 NW RALEIGH ST                                                                           PORTLAND            OR           97210
    Elizabeth S Gilbert                                                    39 Loveland Road                                                                             Brookline           MA           02445
    ELIZABETH SAWYER-MELODIA                                               36 UNION STREET                                                                              S HAMILTON          MA           01982
    Elizabeth Schrader                                                     1205 Dorsett Dock Rd                                                                         Point Pleasant      NJ           08742
    ELIZABETH SEYDEL MORGAN                                                504 HONAKER AVENUE                                                                           RICHMOND            VA           23226
    ELIZABETH SHEPHARD                                                     18 HARBOR ROAD                                                                               SAINT JAMES         NY           11780
    ELIZABETH SIMON                                                        15 POPLAR STREET                                                     WEST BEACH              South Australia                  05024        Australia
    ELIZABETH SPIRIDAKIS                                                   165 WEST 20TH STREET #2G                                                                     NEW YORK            NY           10011
    ELIZABETH SUZANNE SCHMIDT                                              603 HORNCREST ROAD                                                                           TOWSON              MD           21204
    Elizabeth Swayze                                                       9398 Golden Leaf Way                                                                         Indianapolis        IN           46260
    ELIZABETH SWEARINGEN                                                   9405 N 101ST E AVENUE                                                                        OWASSO              OK           74055
    ELIZABETH T ARMENTOR                                                   1304 PROGRESS                                                                                SAN MARCOS          TX           78666
    Elizabeth Tardiff                                                      450 36 th Street, Apt . 2 F                                                                  Brooklyn            NY           11232
    Elizabeth Taura                                                        2413 Timberlake Drive                                                                        Irving              TX           75062
    Elizabeth Tustian                                                      38 MOULTON PARK RD                                                                           FRAMINGHAM          MA           01702
    Elizabeth Valway                                                       51 Spinney Rd                                                                                Portsmouth          NH           03801
    ELIZABETH VAN ITALLIE                                                  285 WEST BROADWAY #280                                                                       NEW YORK            NY           10013
    Elizabeth Vazquez                                                      12127 Bellsworth Way                                                                         Orlando             FL           32837
    Elizabeth W Irish                                                      1345 Braewood Drive                                                                          Algonquin           IL           60102
    ELIZABETH WARD                                                         74 EDGEWOOD AVE                                                                              LARCHMONT           NY           10538
    Elizabeth Webb                                                         1824 Cornell Road                                                                            Jacksonville        FL           32207
    ELIZABETH WHITE PIJANOWSKI                                             475 WHITE ROSE TRACE                                                                         ALPHARETTA          GA           30005
    Elizabeth Wilkinson                                                    14 Trowbridge Street                                                                         Newton              MA           02159
    ELIZABETH WILLIAMS                                                     PO BOX 14075                                                                                 GAINESVILLE         FL           32604
    Elizabeth Wilson                                                       604 Devils Foot Rd             #2                                                            North Kingstown     RI           02852
    ELIZABETH WINTHROP                                                     250 WEST 90TH STREET, APT 6A                                                                 NEW YORK            NY           10024-1123
    ELIZABETH ZEMBRUSKI                     BOSTON COLLEGE                 140 COMMONWEALTH AVE                                                                         CHESTNUT HILL       MA           02467
    ELK GROVE UNIFIED SCHOOL
    DISTRICT                                                               9510 ELK GROVE-FLORIN ROAD                                                                   ELK GROVE           CA           95624
    ELK PHOTOGRAPHY                                                        3163 WISCONSIN STREET                                                                        OAKLAND             CA           94602
    Elkhart Community Schools               Business Office                2720 California Road                                                                         Elkhart             IN           46514
    ELKHORN PUBLIC SCHOOLS                                                 20650 GLENN                                                                                  ELKHORN             NE           68022
    ELKO INSTITUTE FOR ACADEMIC
    ACHIEVEMENT                                                            1031 RAILROAD ST STE 107                                                                     ELKO                NV           89801
    ELLA JENKINS                                                           1844 NORTH MOHAWK ST                                                                         CHICAGO             IL           60614
    ELLA JENKINS                                                           1844 NORTH MOHAWK STREET       C O ELL BERN PUB                                              CHICAGO             IL           60614
    Ella Kipervasser                                                       32 Hillside Avenue                                                                           Swampscott          MA           01907
    ELLEMAN BARBARA                                                        25 GREENLEAVES DR 536                                                                        AMHERST             MA           01002
    ELLEN BEIER                                                            5453 SW WINDLOWER DRIVE                                                                      CORVALLIS           OR           97333-1399
    ELLEN BUTTS                                                            4523 DORSET AVE                                                                              CHEVY CHASE         MD           20815
    ELLEN C BOUGHN                                                         9551 NE SOUTH BEACH DR, # 2E                                                                 BAINBRIDGE ISLAND   WA           98110
    ELLEN C WARNER                                                         148 EAST END AVE                                                                             NEW YORK            NY           10028
    Ellen Derrick                                                          8669 E. Wesley Drive                                                                         Denver              CO           80231
    Ellen Dion                                                             980 Vineridge Run              104 Building 19                                               Altamonte Springs   FL           32714
    ELLEN DORIS                                                            73 NELSON ROAD                                                                               COLRAIN             MA           01340
    ELLEN DOROTHY WHITTIER                                                 2200 PANTHER TRAIL # 306                                                                     AUSTIN              TX           78704
    ELLEN DREYER                                                           392 ELMWOOD AVE                                                                              MAPLEWOOD           NJ           07040
    Ellen E Sojka                                                          701 Massachusetts Ave.         #3                                                            Boston              MA           02118



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     139 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               147 Matrix
                                                                                                                       of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2             Address3              City         State       Zip               Country
    Ellen E. Whalen                                                        134 Summer St.                  Apt. 28                                         Malden             MA           02148
    ELLEN ELIAS-BURSAC                                                     30 ELLSWORTH AVENUE                                                             CAMBRIDGE          MA           02139
    ELLEN EVANCHECK                                                        8117 W VIRGINIA AVE                                                             LAKEWOOD           CO           80226
    ELLEN GURAK                                                            502 SUNRISE DRIVE                                                               MCHENRY            IL           60051
    Ellen H Sugg                                                           4119 Thornhill Lane                                                             Vadnais Heights    MN           55127
    Ellen J Eschenfelder                                                   195 Berkley Avenue                                                              Lansdowne          PA           19050
    ELLEN J HELBERG                                                        726 PONDEROSA COURT                                                             LOUISVILLE         CO           80027-2720
    ELLEN J MULLENS                                                        2505 MODAC TRL                                                                  WINTER PARK        FL           32789
    ELLEN JOAN PEIXOTO                                                     219 SHADYSIDE ROAD                                                              RAMSEY             NJ           07446
    ELLEN KELLER                                                           210 MAPLE STREET                                                                NORTHFIELD         MN           55057
    ELLEN KRUEGER                                                          21F KENSINGTON RD                                                               CHATHAM            NJ           07928
    Ellen M Evancheck                                                      8117 W. Virginia Ave.                                                           Lakewood           CO           80226
    Ellen M. Joseph                                                        45 Morningside Dr                                                               Ossining           NY           10562
    ELLEN MONTGOMERY                                                       P O BOX 224                                                                     BOISE CITY         OK           73933-0224
    ELLEN NYGAARD                                                          266 86TH STREET                                                                 BROOKLYN           NY           11209
    Ellen OLeary                                                           15 Kearney St                                                                   Malden             MA           02148-7414
    ELLEN S FAUX                                                           1117 HAWKES AVE                                                                 ORLANDO            FL           32809
    Ellen Schneider                                                        4410 N. Hermitage               3e                                              Chicago            IL           60640
                                                                                                           GELLER FAMILY OFFICE SERVICES
    ELLEN SIMON                             C/O MARLO PETTIGREW            909 3RD AVENUE 15TH FLOOR       LLC                                             NEW YORK           NY           10022
    ELLEN STOLL WALSH                                                      29 WEST STREET                                                                  FAIRPORT           NY           14450
    ELLEN TIDMORE                                                          3910 RIVER CLUB DRIVE                                                           EDGEWATER          MD           21037
    ELLIN OLIVER KEENE                                                     824 S MEDEA WAY                                                                 DENVER             CO           80209
    ELLIOT W EISNER                                                        820 TOLMAN RD                                                                   STANFORD           CA           94305
    Elliot, Jill
    ELLIOTT TEEL PHOTOGRAPHY                                               166A GRANT STREET                                                               PORTLAND           ME           04101
    ELLIS BARBARA                                                          23161 BUCK NECK ROAD                                                            CHESTERTOWN        MD           21620
    ELLIS JERRY WAYNE                                                      9069 BREWER CREEK PLACE                                                         MANASSAS           VA           20109
    Ellis L Tesh                                                           408 Beaumont Park Circle                                                        Blythewood         SC           29016
    ELLIS MECHANICAL INC                                                   2929 BLUFF ROAD                                                                 INDIANAPOLIS       IN           46225
    ELLUMINATE USA INC                                                     4305 HACIENDA DRIVE, STE 520                                                    PLEASANTON         CA           94588
    ELLYN BOGDANOFF CAMPAIGN                                               908 SOUTH ANDREWS AVENUE                                                        FORT LAUDERDALE    FL           33316
    Elmbrook Schools                                                       13780 Hope Street                                                               Brookfield         WI           53005
    Elmer Ildefonso                                                        1503 Snowberry Dr.                                                              Williamstown       NJ           08094
    ELMO DATA SUPPLY INC                                                   P O BOX 691479                  ATTN STEVE SILVER                               LOS ANGELES        CA           90069
    Elnora Allen                                                           505 SMITH AVE                   # B13                                           LAKE BLUFF         IL           60044
    ELOISE G GREENFIELD                                                    PO BOX 29077                                                                    WASHINGTON         DC           20017
    Eloise Waddell                                                         1020 Ridge Road                                                                 Tallahassee        FL           32305
    ELOQUA LIMITED                                                         DEPT CH 16366                                                                   PALATINE           IL           60055-6366
    Eloy Valdes                                                            3947 NARROWLEAF CT.                                                             INDIANAPOLIS       IN           46235
    ELPHIN COMMUNICATION AB                                                TORKEL JONSGARD                                                                 TVAAKER                         43277        Sweden
    Elsa Asuncion Coronilla                                                637 James St.                                                                   Hinckley           IL           60520
                                                                           2291 W HORIZON RIDGE PKWY, #
    ELSA CALANDRELLI                        AKA SUNI PAZ                   9152                                                                            HENDERSON          NV           89052
    ELSA-FRANCE                                                            86 RUE DE LA TOUR                                                               PARIS                           75116        France
    ELSE HAMAYAN                                                           1039 N HONORE                                                                   CHICAGO            IL           60622
                                                                                                           ATTN DEBBIE PEASE - ROYALTY
    ELSEVIER                                                               3251 RIVERPORT LANE             DEPT                                            MARYLAND HEIGHTS   MO           63043
    ELSEVIER SCIENCE                        ATTN GLOBAL BOOK ROYALTIES     3251 RIVERPORT LANE                                                             MARYLAND HEIGHTS   MO           63043
    ELSEVIER SCIENCE                                                       P O BOX 0848                                                                    CAROL STREAM       IL           60132-0001
    ELSHOLZ CAROL                                                          509 WISWELL DRIVE                                                               WILLIAMS BAY       WI           53191
    ELSIE DE JESUS RAMOS                                                   HC 67 BOX 15530                                                                 BAYAMON            PR           00956
    Elsie M Priebe                                                         16875 Lake Shore Dr.                                                            Gowen              MI           49326
    ELSPETH LEACOCK                                                        319 BEDFORD AVE, # 4                                                            BROOKLYN           NY           11211
    ELSWICK VALARIE                                                        2728 NW 6TH TERRACE                                                             CAPE CORAL         FL           33993
    Elva Smith                                                             3201 Parkside Court                                                             Winter Park        FL           32792
    Elways Restaurant                                                      2500 E. 1st Ave                                                                 Denver             CO           80206
    ELYSE CHENEY LITERARY                   ASSOCIATES LLC                 270 LAFAYETTE STREET            SUITE 1504                                      NEW YORK           NY           10012
    EM SOFTWARE INC                                                        503 BELLEVIEW BLVD                                                              STEUBENVILLE       OH           43952
    EMANTRAS INC                                                           41350 CHRISTY STREET                                                            FREMONT            CA           94538
    EMANUEL DIPASQUALE                                                     385 OCEAN BLVD #3F                                                              LONG BRANCH        NJ           07740
    EMBARCADERO TECHNOLOGIES                                               PO BOX 45162                                                                    SAN FRANCISCO      CA           94145
    Embassy Suites Denver Tech Ctr                                         10250 East Costilla Avenue                                                      Englewood          CO           80112-3716
    EMBASSY SUITES HOTEL                    GOLF RESORT CONFERENCE CTR     670 VERDAE BOULEVARD                                                            GREENVILLE         SC           29607
    Embassy Suites Hotel, Phoenix                                          4415 E. Paradise Village        Parkway South                                   Phoenix            AZ           85032
    EMC 2 COMPUTER SOLUTIONS                WILLIAM J STEVENS              BOX 509                                                                         BARRE              VT           05641
    EMC CORP                                                               P O BOX 630249                                                                  BALTIMORE          MD           21263-0249
    EMC CORPORATION                                                        4246 COLLECTIONS CENTER DRIVE                                                   CHICAGO            IL           60693
    EMCO REFRIGERATION SERVICE CO
    INC                                                                    10200 PAGE INDUSTRIAL BLVD                                                      ST LOUIS           MO           63132



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                     140 of 488                                                                                       1:26 PM
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                                                                                                              148 Matrix
                                                                                                                      of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                          Address2              Address3              City        State       Zip             Country
    EMECE EDITORES SA                                                      AV INDEPENDENCIA 1668                                                            BUENOS AIRES                   01100        Argentina
    Emer Flounders                                                         1690 Lexington Avenue            Apt. 5                                          New York          NY           10029
    Emerge New Mexico                                                      PO Box 27207                                                                     Albuquerque       NM           87125-7207
    EMERGENT SYSTEMS EXCHANGE
    LLC                                                                    9901 VALLEY VIEW RD                                                              EDEN PRAIRIE      MN           55344
    EMERSON SCHOOL                                                         105 NW PARK AVENUE                                                               PORTLAND          OR           97209
    EMIL ANDRAE                                                            1052 FARRAGUT AVE                                                                BELLMAWR          NJ           08031
    EMIL HUSTON                                                            6179 TOWNWOOD CRT                                                                MISSISSAUGA       ON           L5N 2L4      Canada
    Emiliano Martinez                                                      14630 Unbridled Drive                                                            Orlando           FL           32826
    Emilie Rappoport                                                       24 Pine View Rd                                                                  Mt Kisco          NY           10549
    Emily A Holden                                                         690 Washington St                Apt 2                                           Brookline         MA           02446
    Emily A Petersen                                                       1845 Baillie Glass Lane                                                          Orlando           FL           32835
    EMILY CREHAN                                                           28 CHURCH STREET                                                                 SHURBURNE FALLS   MA           01370
    EMILY CUMMINGS                                                         1015 W BUENA AVENUE # 1W                                                         CHICAGO           IL           60613
    EMILY DEGELLEKE MORRIS                                                 4768 NW HWY 72                                                                   ARCADIA           FL           34266
    EMILY E FENTON                                                         240 COLLINS AVE APT 4B                                                           MIAMI BEACH       FL           33139
    EMILY F FILIPPI                                                        11701 BRAYSTONE LANE                                                             CHESTERFIELD      VA           23838-5155
    Emily Fenton                                                           1224 S Clarkson St                                                               Denver            CO           80210
    Emily Freeland                                                         2376 Arbor Glenn                                                                 Birmingham        AL           35244
    EMILY FREEMAN                                                          1901 5TH ST NE                                                                   MINNEAPOLIS       MN           55418
    Emily Furlong                                                          3030 Wyandot Street, #2                                                          Denver            CO           80211
    Emily Garner                                                           921 East 13th - Penthouse                                                        Denver            CO           80218
    EMILY HERMAN                                                           P O BOX 336                                                                      GEORGETOWN        ME           04548
    EMILY HESS                                                             39007 VIRGINIA STREET                                                            PALMDALE          CA           93551
                                                                           689 LUIS MONOZ MARIN BLVD APT
    EMILY KERNS                                                            705                                                                              JERSEY CITY       NJ           07310
    Emily Kidder                                                           133 Hobart Hill Road                                                             Hebron            NH           03241-7302
    EMILY KISSNER                                                          143 N MAIN ST                                                                    BIGLERVILLE       PA           17307
    Emily Kling Tanaka                                                     128 Paseo De Las Delicias                                                        Redondo Beach     CA           90277
    Emily L Force                                                          8 Sterling Road                                                                  Kittery           ME           03904
    EMILY MEDVIC                                                           2948 BROOKFIELD ROAD                                                             LANCASTER         PA           17601
    EMILY MEYER                                                            13 PEMBERTON ST                                                                  CAMPBRIDGE        MA           02140
    Emily Pilgrim                                                          4975 S. Logan Street                                                             Englewood         CO           80113
    Emily R Gregory                                                        50365 Steeh Drive                                                                Macomb            MI           48044
    Emily Rush                                                             528 Hillview Dr                                                                  Hurst             TX           76054
    EMILY S DAMSTRA                                                        1606-75 YORK ST                                                                  KITCHENER         ON           N2G 1T5      Canada
    Emily Shenk                                                            24 Woods Edge Drive              Apt 213                                         Succasunna        NJ           07876
    Emily Slayton                                                          41 Dorsett Ct.                                                                   Aurora            IL           60504
    Emily Tanaka                                                           128 Paseo De Las Delicias                                                        Redondo Beach     CA           90277
    Emily Traynor Lehman                                                   147 Malden Street                                                                West Boylston     MA           01583
    Emily W Crutchfield                                                    5122 Green Acres Lane                                                            Murfreesboro      TN           37129
    EMILY WITT                                                             29A VERNON AVENUE # 3                                                            BROOKLYN          NY           11216
    EMMA COURLANDER TRUST                                                  9 JOSHUA TREE CT                                                                 GAITHESBURG       MD           20878
    EMMA ELIZABETH GOMEZ                                                   350 WEST ESSEX DRIVE                                                             ALAMEDA           CA           94501
    Emma Goris                                                             3351 Whitestone Circle           #208                                            Kissimmee         FL           34741
    EMMA JANE SKOGSTAD                                                     1907 GOLDEN PHEASANT DRIVE                                                       AUSTIN            TX           78758
    EMMA LEAH HETTRICH                                                     57-56 256TH STREET APT 2R                                                        LITTLE NECK       NY           11362
    Emma Lee Jackson                                                       P O Box 901219                                                                   Memphis           TN           38190
    Emma Lino                                                              3426 N. Albany                                                                   Chicago           IL           60618
    EMMA MARIE AHART                                                       3801 MISSION AVE                                                                 CARMICHAEL        CA           95608
    EMMA N TORRES-MONTALVO                                                 P O BOX 16161                                                                    HATILLO           PR           00659

    EMMANUEL AKYEAMPONG                                                    HARVARD UNIV - DEPT OF HISTORY                                                   CAMBRIDGE         MA           02138
    EMMANUEL LATTES                                                        17 RUE GRENET                                                                    VICHY                          03200        France
    EMMANUEL SCH OF RELIGION
    BOOKSTORE                                                              1 WALKER DRIVE                                                                   JOHNSON CITY      TN           37601
    EMMAUS LUTHERAN SCHOOL                                                 2818 N 23RD STREET                                                               MILWAUKEE         WI           53206
    EMMET MARVIN & MARTIN LLP                                              120 BROADWAY                                                                     NEW YORK          NY           10271
    Emmet, Marvin & Martin
    EMMETT CARTWRIGHT                                                      31W755 ARMY TRAIL ROAD                                                           WAYNE             IL           60184
    Emmett Cartwright                                                      35W113 Frontenac Drive                                                           West Dundee       IL           60118
    EMMONS CONSULTING LTD                                                  3600 N AVERS                                                                     CHICAGO           IL           60618
    EMPIRE COOLER SERVICE INC                                              940 W CHICAGO AVE                                                                CHICAGO           IL           60622
    EMPIRE INDUSTRIES                                                      4605 LANKERSHIM BLVD STE 216                                                     NORTH HOLLYWOOD   CA           91602
                                            DBA EMPIRECLS WORLDWIDE
    EMPIRE INTERNATIONAL LTD                CHAUFFEURED                    225 MEADOWLANDS PARKWAY                                                          SECAUCUS          NJ           07094
    Empire Warehouse, Inc.                                                 3901 Godding Hollow Parkway      PO Box 479                                      Erie              CO           80516
    EMPIRICAL EDUCATION INC                                                425 SHERMAN AVENUE-STE 210                                                       PALO ALTO         CA           94306

    EMPLOYMENT DEVELOPMENT DEPT                                            800 CAPITOL MALL                                                                 SACRAMENTO        CA           94230-6215



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     141 of 488                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                  149 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                         Address2              Address3             City            State       Zip              Country
    Employment Development Dept                                            P.O. Box 826276                                                                SACRAMENTO          CA            94230-6276
    Employment Development Dept.                                           PO Box 989061                                                                  West Sacramento     CA            95798-9061
    Employment Security Commission Of
    North Carolina                                                         PO Box 26504                                                                   Raleigh             NC            27611-6504
    EMPLOYMENT TECHNOLOGIES
    CORP                                                                   532 S NEW YORK AVE                                                             WINTER PARK         FL            32789-4242
    EMPOWER LEARNING                                                       PO BOX 798                                                                     GREENWOOD           IN            46142
    Empower Peace                           c/o The Rendon Group           240 Commercial St, 2nd Fl                                                      Boston              MA            02109
    EMULEX DESIGN &
    MANUFACTURING CORP                                                     333 SUSAN STREET                                                               COSTA MESA          CA            92626
    Ena Bichsel                                                            211 Jacobs Way                                                                 Hutto               TX            78634
    Enas M Alnajjar                                                        90 Cypress Street                                                              Watertown           MA            02472
    ENCANTOS FOOD MANAGEMENT
    INC                                     DBA ENCANTOS FINE CUISINE      P O BOX 8109                                                                   HUMACAO             PR            00792
    ENCORE SOFTWARE INC                                                    NW - 8510, P O BOX 1450                                                        MINNEAPOLIS         MN            55485-8510
    ENCOUNTER VIDEO INC                                                    14825 N W ASH STREET                                                           PORTLAND            OR            97231
    ENCYCLO-MEDIA CONFERENCE                                               P O BOX 53159                                                                  OKLAHOMA CITY       OK            73152
    ENCYCLOPAEDIA BRITANNICA INC                                           PO BOX 847013                                                                  BOSTON              MA            02284
    ENCYCLOPEDIA BRITANNICA INC                                            331 NORTH LASALLE STREET                                                       CHICAGO             IL            60654
    ENCYCLOPEDIA BRITANNICA INC                                            331 NORTH LASALLE STREET                                                       CHICAGO             IL            60654-7422
    ENCYCLOPEDIA BRITANNICA INC                                            331 NORTH LASALLE STREET        ILAN YESHUA                                    CHICAGO             IL            60654-7422
    ENCYCLOPEDIA BRITTANICA, INC.                                          331 N LASALLE ST                                                               CHICAGO             IL            60654
    END VISION RESEARCH &
    EVALUATION LL                                                          41 EAST UNIVERSITY BLVD #321                                                   LOGAN               UT            84321-4020
    ENDERSBY ELRIC                                                         P.O. BOX 702                                                                   PRINCETON           NJ            08542
    ENEDINA CASAREZ VASQUEZ                                                2216 MONTEREY ST                                                               SAN ANTONIO         TX            78207-4102
    ENGELINA AM VEYERA                                                     11104 NE 46TH ST                                                               VANCOUVER           WA            98682
    ENGLE MARGARITA                                                        9433 N FOWLER AE                                                               CLOVIS              CA            93619
    ENGLEWOOD BOARD OF
    EDUCATION                                                              12 TENAFLY ROAD                 ATTN CAFETERIA ACCOUNT                         ENGLEWOOD           NJ            07631
    Englewood District 1                                                   4101 S. Bannock Street                                                         Englewood           CO            80110-4605
                                   NATIONAL MONUMENT RECORD
    ENGLISH HERITAGE PHOTO LIBRARY CENTRE                                  KEMBLE DRIVE                                                                   SWINDON                           SN2 2GZ      United Kingdom
    ENGLISH KAREN                                                          5348 VERDUN AVE                                                                LOS ANGELES         CA            90043
    ENID AMOS                                                              4011 WOODROW LN                                                                BOWIE               MD            20715-1244
    ENILDA OLIVA                                                           50 LEEDS ST                                                                    STAMFORD            CT            06902
    ENNIS INC                                                              P O BOX 738                                                                    GLOUCESTER          MA            01931
    ENNIS, INC                     ADMORE INC                              P O BOX 841741                                                                 DALLAS              TX            75284-1741
    ENOCH PRATT FREE LIBRARY                                               400 CATHEDRAL ST                                                               BALTIMORE           MD            21201
    ENRIQUE FROEMEL                                                        DEPTO 502 LAS CONDES            ESTRELLA DEL NORTE 957                         SANTIAGO                                       Chile
    Enrique Novoa                                                          1880 FREDERICKSBURG LANE                                                       AURORA              IL            60503
    ENRIQUE SAN MIGUEL             DEPT OF MODERN LANGUAGES                802 WEST BELDEN AVENUE                                                         CHICAGO             IL            60614
    ENRIQUE SANCHEZ PEREZ                                                  P O BOX 579                                                                    CIALES              PR            00638
    ENSLOW PUBLISHER INC                                                   BOX 398 - 40 INDUSTRIAL RD                                                     BERKELEY HEIGHTS    NJ            07922
    ENSLOW PUBLISHERS INC                                                  BOX 398 40 INDUSTRIAL ROAD                                                     BERKELEY HEIGHTS    NJ            07922
                                   DBA WEEI-AM WVEI-AM WRKO-AM
    ENTERCON BOSTON LLC            WAAF-FM                                 20 GUEST STRET 3RD FL                                                          BRIGHTON            MA            02135
    Enterprise                     Damage Recovery Unit                    PO Box 842442                                                                  Dallas              TX            75284-2442
    ENTERPRISE SECURITY SOLUTIONS
    OF TEXAS                                                               PO BOX 50389                                                                   DENTON              TX            76205
    ENTRINSIK                                                              7501 CREEDMOOR ROAD, STE 102    ATTN ACCOUNTING                                RALEIGH             NC            27613
    ENVIRO-MAX INC                                                         5421 WEST 84TH ST                                                              INDIANAPOLIS        IN            46268
    ENVIRON DESIGN ASSOC           C/O GARY MOORE                          UNIV OF SYDNEY/FAC OF ARCH                                                     SYDNEY              NSW           02006        Australia
    ENVIRONMENTAL HORIZONS INC                                             P O BOX G                                                                      EL VERANO           CA            95433
    EOA SCIENTIFIC SYSTEMS                                                 11A PARKHILL ROAD                                                              HALIFAX             NS            B3P 1R2      Canada
    EPICENTER PRESS INC                                                    P O BOX 82368                                                                  KENMORE             WA            98028
    Epicurean Catering                                                     6022 South Holly Street                                                        Greenwood Village   CO            80111
    EPISCOPAL ACADEMY                                                      1785 BISHOP WHITE DRIVE                                                        NEWTOWN SQUARE      PA            19073
    EPM COMMUNICATIONS                                                     160 MERCER STREET, 3RD FL                                                      NEW YORK            NY            10012
    EPPING SCHOOL DISTRICT         SAU # 14                                213 MAIN STREET                                                                EPPING              NH            03042
    EPUBLISHING PARTNERS                                                   681 MAIN ST - SUITE 3-36                                                       WALTHAM             MA            02451
    EQUIFAX DIRECT MARKETING
    SOLUTIONS LLC                                                          P O BOX 403495                                                                 ATLANTA             GA            30384
    EQUINIX INC                    # 774252                                4252 SOLUTIONS CENTER                                                          CHICAGO             IL            60677-4022
    EQUUS COMPUTER SYSTEMS INC                                             P O BOX 86 LOCK BOX # 12-1419                                                  MINNEAPOLIS         MN            55486-1419
    E-REWARDS INC                  DBA RESEARCH NOW                        P O BOX 974063                                                                 DALLAS              TX            75397-4063
    ERIC ARMIN INC                                                         118 BAUER DRIVE                                                                OAKLAND             NJ            07436
    ERIC ARMIN INC                                                         P O BOX 34825                                                                  NEWARK              NJ            07189
    Eric Batchelor                                                         246 Main Street                 Unit 8                                         Acton               MA            01720
    ERIC BENTLEY                                                           194 RIVERSIDE DRIVE                                                            NEW YORK            NY            10025



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   142 of 488                                                                                         1:26 PM
                                                      12-12171-reg            Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                             Address2              Address3                City        State       Zip              Country
    ERIC BITTNER                                                           3523 CLOVERDALE                                                                    HOUSTON             TX           77025
    Eric Blackledge                                                        2616 Hoddam Rd.                                                                    Naperville          IL           60564
    Eric Blaustein                                                         6001 Caymus Loop                                                                   Windermere          FL           34786

    ERIC CAMDEN                             DBA ERIC CAMDEN PHOTOGRAPHY    173 WEST MAINE AVE                                                                 LONGWOOD            FL           32750
    ERIC CARLE MUSEUM OF PICTURE
    BOOK                                    ART                            125 WEST BAY ROAD                                                                  AMHERST             MA           01002
    Eric Chalek                                                            37 Betty Welch Road                                                                York                ME           03909
    Eric Christ                                                            534 Van Dyke Circle                                                                Newark              DE           19702
    Eric Damitz                                                            2073 W. Greenleaf Av                Apt. 2                                         Chicago             IL           60645
    ERIC DRESSER                                                           8965 MARSH ROAD                                                                    CLEVELAND           NY           13042
    ERIC ETHERIDGE                                                         296 WEST 10TH ST, APT 11                                                           NEW YORK            NY           10014
    ERIC FIGUEROA GONZALEZ                                                 APT 1401                            SENDEROS DEL RIO 860 CARR                      SAN JUAN            PR           00926-8249
    ERIC FRIEDHEIM NATIONAL
    JOURNALISM                              LIBRARY                        529 14TH STREET NW                                                                 WASHINGTON          DC           20045
    Eric Garcia                                                            2004 University Dr.                                                                Orlando             FL           32804
    ERIC GREITENS                           DBA THE GREITENS GROUP         1141 S 7TH STREET                                                                  ST LOUIS            MO           63104
    ERIC HEIDEMANN                                                         75 SUNNY HILL DRIVE                                                                TROY                MO           63379
    ERIC HINSDALE                                                          449 W BELMONT AVENUE # 31                                                          CHICAGO             IL           60657
    Eric Hodek                                                             400 Baker Dr.                       Apt D                                          Itasca              IL           60143
    Eric Hoin                                                              1001 Catherine St                                                                  Kissimmee           FL           34741
    ERIC HORAN PHOTOGRAPHY INC                                             P O BOX 456                                                                        BEAUFORT            SC           29901
    Eric Irish                                                             7636 Wedgefield Dr                                                                 Indianapolis        IN           46217
    ERIC J MAGIE                                                           3021 PLAZA TERRACE DR                                                              ORLANDO             FL           32803
    Eric J Nachreiner                                                      1434 Countryside Lane                                                              Indianapolis        IN           46231
    Eric J. Rampson                                                        2708 N. Mozart                                                                     Chicago             IL           60647
    ERIC KADEL                                                             2046 E MINTON                                                                      TEMPE               AZ           85282
    Eric Murphy                                                            9 Burtons Lane                                                                     Hingham             MA           02043
    ERIC NELSON                                                            15308 GILCHRI ST                                                                   DETROIT             MI           48227
    ERIC ORNER                                                             1264 N SWEETZER AVE # 301                                                          WEST HOLLYWOOD      CA           90069
    ERIC PAULSON                            COLLEGE OF EDUCATION           601 UNIVERSITY DRIVE                TEXAS STATE UNIV - SAN MARCOS                  CINCINNATI          TX           78666-4616
    ERIC RAETZ                                                             3333 SE 39TH AVENUE # 34                                                           PORTLAND            OR           97202
    ERIC ROHR                                                              P O BOX 73                                                                         TETON VILLAGE       WY           83025
    ERIC ROLLENCE                                                          2701 RWS RANCH ROAD                                                                DAVENPORT           FL           33837
                                            DBA KIRBY MOUNTAIN
    ERIC ROSENBLOOM                         COMPOSITION & GRAPHIC          PO BOX 385                                                                         HARTLNAND           VT           05048
    ERIC SCIGLIANO                                                         618 WEST HALLADAY ST                                                               SEATTLE             WA           98119
    ERIC SESSO STURDEVANT                                                  13910 VALLEY COUNTRY DRIVE                                                         CHANTILLY           VA           20151
    Eric Shuman                                                            5348 Isleworth Country Club Drive                                                  Windermere          FL           34786
    Eric Smith                                                             1666 Silverwater Ln                                                                Eugene              OR           97402
    ERIC TAYLOR                                                            1973 ROUTE 34 SUITE E-24                                                           WALL                NJ           07719
    Eric Trechak                                                           136 Galway Circle                                                                  Chalfont            PA           18914
                                            DBA TUCKER BOWEN
    ERIC TUCKER BOWEN                       PRODUCTIONS                    1500 PARK AVENUE # 209                                                             EMERYVILLE          CA           94608
    ERIC VANDEVILLE                                                        VIALE CARLO FELICE 95                                                              ROMA                             00185        Italy
    Eric Wai                                                               636 Nautical Way                                                                   St. Augustine       FL           32080
    ERIC WEINER                                                            1712 NOYES LANE                                                                    SILVER SPRING       MD           20910
    Erica Dunn                                                             6449 N. Magnolia Ave                                                               Chicago             IL           60626
    ERICA KANTER                                                           9342 BAY VISTA ESTATES BLVD                                                        ORLANDO             FL           32836-6301
    Erica Key                                                              8921 S. Justine                     Apt. 3                                         Chicago             IL           60620
    Erica Laforte                                                          1788 Maple Lane                                                                    Wheaton             IL           60187
    ERICA M DEAN                                                           4917 HEATHER DR APT B215                                                           DEARBORN            MI           48126
    ERICA SILVERMAN                                                        4001 EVADALE DRIVE                                                                 LOS ANGELES         CA           90031
    ERICA WAINER                                                           87 HANSCOM AVENUE                                                                  READING             MA           01867
    ERICA WHEATON                                                          800 SPRING ISLAND WAY                                                              ORLANDO             FL           32828
    ERICH M GROAT                                                          7360 DOGWOOD LANE                                                                  MANLIUS             NY           13104
    ERICK A ROURA DAVILA                                                   P O BOX 2105                                                                       MAYAGUEZ            PR           00681
    ERICKSON PRODUCTIONS INC                                               2 LIBERTY STREET                                                                   PETALUMA            CA           94952
    Erie 1 BOCES                                                           355 Harlem Road                                                                    West Seneca         NY           14224
    ERIK BLOME                              DBA FIGURATIVE ART STUDIO      274 ASH STREET                                                                     CRYSTAL LAKE        IL           60014
    ERIK BRANDON                                                           504 A WEST ST JOHNS AVENUE                                                         AUSTIN              TX           78752
    Erik Dubois                                                            3369 Amaca Circle                                                                  Orlando             FL           32837
    ERIK FRESEN CAMPAIGN                                                   P O BOX 430855                                                                     MIAMI               FL           33243
    Erik Gross                                                             1300 N. Drury Lane                                                                 Arlington Heights   IL           60004
    Erik J Fadlovich                                                       7641 Sedge Court                                                                   Gurnee              IL           60031
    Erik J Rinard                                                          564 S Fifth Ave                                                                    Des Plaines         IL           60016
    ERIK S LESSER                                                          3158 MAJESTIC CIRCLE                                                               AVONDALE ESTATES    GA           30002-1616
    Erik Stein                                                             809 Ridge Ave.                      Unit 1                                         Evanston            IL           60202
    ERIKA A LOUCKS                                                         1210 BARTON HILL ROAD                                                              DELANSON            NY           12053
    ERIKA GASPER GOMBATZ                                                   415 WESTERN STATES RD                                                              FELTON              CA           95018



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                       143 of 488                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                         Pg Creditor
                                                                                                             151 Matrix
                                                                                                                     of 519
                                                                                                                        First Class Service List


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    Erika Kane                                                             10010 Quail Hutch Dr.                                                                            Austin              TX           78758
    ERIKA TAMAR                                                            399 EAST 72ND ST APT 16D                                                                         NEW YORK            NY           10021
    Erika Tomotaki                                                         10610 Sun Tree Cove                                                                              Austin              TX           78730
    ERIKSON JOANNA                                                         53 QUARRY DOCK ROAD                                                                              BRANFORD            CT           06405
    Erin A Srofe                                                           415 W Dartmouth Ave                                                                              Englewood           CO           80110
    ERIN BRYANT                                                            195 NURSERY ROAD                                                                                 FALMOUTH            MA           02540
    ERIN CAREY                                                             636 COUNTRY CLUB DR                                                                              ITASCA              IL           60143
    Erin Casey                                                             2566 Lake Debra Drive             Apt 118                                                        Orlando             FL           32835
    Erin Cornett                                                           10407 Robinwood                                                                                  Austin              TX           78758
    ERIN DAWN DIPZINSKI                                                    1253 STABLEVIEW CIRCLE                                                                           MAINEVILLE          OH           45039
    ERIN DEWITT                                                            1134 W GRANVILLE AVE #704                                                                        CHICAGO             IL           60660
    Erin E Caron                                                           338 Meadowlark Rd.                                                                               Bloomingdale        IL           60108
    ERIN EDMISON                                                           205 LEONARD ST # 3                                                                               BROOKLYN            NY           11206
    Erin Fenner                                                            5000 S Cornell Ave                20D                                                            Chicago             IL           60615-3035
    ERIN GEORGE                                                            9509 LAUREL OAK WAY                                                                              BAKERSFIELD         CA           93311
    Erin Glaser                                                            70 Westminster Road                                                                              Manchester          CT           06040
    ERIN HUMPHREY SHARPE                                                   361 S DAVIS DR                                                                                   PURCELLVILLE        VA           20132
    Erin King                                                              3506 Robinson Avenue                                                                             Austin              TX           78722
    Erin Lane                                                              1815 Jfk Blvd                     Apt 1209                                                       Philadelphia        PA           19103
    ERIN M SCHELL                                                          213 DEAN STREET NO 2F                                                                            BROOKLYN            NY           11217
    Erin Miller                                                            413 W Crestland Dr                                                                               Austin              TX           78752
    ERIN MURPHY LITERARY AGENCY
    INC                                     ATTN ERIN MURPHY               2700 WOODLANDS VILLAGE #300-458                                                                  FLAGSTAFF           AZ           86001
    Erin N Flesch                                                          13062 Lexington Summit St.                                                                       Orlando             FL           32828
    Erin OBryant                                                           5005 Lynnwood St                  Apt C                                                          Austin              TX           78756
    ERIN OCONNELL                                                          2210 E MAXWELL ST                                                                                PENSACOLA           FL           32503-4951
    ERIN ODONNELL                                                          40 FERNVIEW AVENUE # 8                                                                           NORTH ANDOVER       MA           01845
    Erin Orr                                                               13150 Foster Ct.                                                                                 Carmel              IN           46033
    Erin Phegley                                                           9400 Wade Blvd                    Apt 421                                                        Frisco              TX           75035
    ERIN POWERS                                                            1120 N KENSINGTON ST, APT 7                                                                      ARLINGTON           VA           22205
    ERIN Q TWOMBLY                                                         P O BOX 897                                                                                      HAMPSTEAD           NH           03841
    Erin R St. Hilaire                                                     1183 Sagamore Avenue                                                                             Portsmouth          NH           03801
    ERIN REBECCA REDMON                                                    9296 N MONMOUTH CT                                                                               TUCSON              AZ           85742
    ERIN ROSENBERG                                                         441 WOODVALE AVE                                                                                 DEERFIELD           IL           60015
    ERIN SCHOENFELD                                                        20047 CHRISTOPHER LANE                                                                           SANTA CLARITA       CA           91350
    ERIN SCIARRINO                                                         170 HOOD AVE APT #2                                                                              SYRACUSE            NY           13208
    Erin Srofe                                                             415 W Dartmouth Ave                                                                              Englewood           CO           80110
    ERIN STEVENS                                                           281 OLD STAGE RD                                                                                 BARRE               MA           01005
    Erin Zinsmeister                                                       1116 Colgate Court                                                                               Naperville          IL           60565
    ERNEST H ROBL                                                          P O BOX 3270                                                                                     DURHAM              NC           27715
    ERNEST HEMINGWAY FOUND                                                 303 EAST KEARSLEY STREET          FREDERIC SCOBADA ENG DPT              UNIVERSITY OF MICHIGAN   FLINT               MI           48502-1950
    ERNEST J FINNEY                                                        5601 W JUDY CT                                                                                   VISALIA             CA           93277
    Ernest Roberts                                                         11413 Terrace Meadow Way                                                                         Manor               TX           78653
    ERNESTINA UMANZOR                                                      3648 RIDGEBRIAR DR                                                                               DALLAS              TX           75234
    Ernestine Campbell                                                     410 Eyam Hall Lane                                                                               APEX                NC           27502
    ERNESTO JERONIMO GARZA                                                 1148 LAKE BLUFF DR                                                                               LITTLE ELM          TX           75068
    ERNESTO VEGA                                                           553 EAST CITY COURT                                                                              ANAHEIM             CA           92805
    ERNST & YOUNG                                                          1000 SCOTIA BANK PLAZA                                                                           SAN JUAN            PR           00917
    Ernst Luchs                                                            436 Webster St.                                                                                  Batavia             IL           60510
    ERWIN BOGADO                                                           GRAL GARAY 306 ESQ ANDRADE                                                                       ASUNCION                                      Paraguay
    Eryn Paini                                                             24 Haskell Street                 #2                                                             Cambridge           MA           02140
    ESCHMEYER WILLIAM N                                                    4440 SW ARCHER RD # 2528                                                                         GAINESVILLE         FL           32608
    ESCHOOL CONSULTANTS LLC                 FUSEFLY                        PO BOX 415                                                                                       POWELL              OH           43065
    ESCHOOL MEDIA INC                                                      7920 NORFOLK AVE STE 900                                                                         BETHESDA            MD           20814
    ESCONDIDO EDUCATION
    FOUNDATION                                                             P O BOX 461690                                                                                   ESCONDIDO           CA           92046-1690
    ESKER INC                               DBA ESKER SOFTWARE             P O BOX 44953                                                                                    MADISON             WI           53744
    ESPASA LIBROS S L U                     CIF ES-B64777022               PASEO DE RECOLETOS 4                                                                             MADRID                           28001        Spain
    ESPERANZA SCHOLARSHIP
    FOUNDATION                                                             1757 SOUTH EUCLID AVENUE                                                                         ONTARIO             CA           91762
    ESPN INC                                ESPN INTERNET VENTURES         ESPN PLAZA                        ATTN JENNIFER MISLUK                                           BRISTOL             CT           06010
                                            ATTN JENNIFER I MISLUK ESPN
    ESPN INTERNET VENTURES                  PLAZA                          ESPN PLAZA                                                                                       BRISTOL             CT           06010
                                            ATTN JENNIFER I MISLUK ESPN
    ESPN MAGAZINE LLC                       PLAZA                          ESPN PLAZA                                                                                       BRISTOL             CT           06010
                                                                           J F SCHREIBER GMBH, POSTFACH
    ESSLINGER VERLANG                                                      10 03 25                                                                                         ESSLINGEN                        73703        Germany
    EST OF JAMES FLORA                                                     158 HERON DRIVE                                                                                  ORANGE              CT           06477
    ESTABROOK SCHOOL                                                       101 MAPLE STREET                                                                                 WEST LEBANON        NH           03784
    ESTATE CHARLES LINDBERGH                                               270 PARK AVENUE 16TH FLOOR        C/O FERN SILVERSTEIN                                           NEW YORK            NY           10167-0001



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       144 of 488                                                                                                      1:26 PM
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              CreditorName                            CreditorNoticeName                   Address1                        Address2                          Address3              City             State       Zip                Country
    ESTATE FRITZ EICHENBERG                                                    800 BOYLSTON ST STE 3600         ATTN JONATHAN STRONG              ROPES AND GRAY LLP      BOSTON             MA             02199-3600
    ESTATE MARY VON S JARRELL               ALLEYNE BOYETTE EXEC               2616 BROOKRIDGE CR                                                                         GREENVILLE         NC             27858
    ESTATE OF ABBASS F ALKHAFAJI            FATIN ALKHAFAJI                    17 LILAC DR                                                                                NEW CASTLE         PA             16105
    ESTATE OF ANDREW MATTEI
    GLEASON                                 C/O Jean Berko Gleason Executrix   110 LARCHWOOD DRIVE                                                                        CAMBRIDGE          MA             02138
    ESTATE OF ANN FOOTE CAHN                CAROL CAHN                         340 GOODHILL RD                                                                            WESTON             CT             06883
    ESTATE OF ANNE M WISEMAN                                                   12 BLUBERRY HILL ROAD                                                                      ANDOVER            MA             01810
    ESTATE OF ANNE NICOLAIDES               C/O MICHAEL M UHLMANN              PO BOX 457                                                                                 CLAREMONT          CA             91711

    ESTATE OF ARTHUR HEPNER       ELIZABETH R HAPENER EXECUTRIX 360 MT AUBURN STREET                                                                                      CAMBRIDGE          MA             02138
    ESTATE OF AUDREY QUALLS       TRUST ADMIN - LIA LOVELACE    P.O. BOX 1700 - IA STATE BANK                                                                             IOWA CITY          IA             52244
    ESTATE OF BERNARD L PETERSON,
    JR                                                          P.O. BOX 2568                                                                                             ELIZABETH CITY     NC             27909-5948

    ESTATE OF BETH LANDIS                                                      48 LOUISE VIEW DR                ATTN MINA ARAZM - PERSONAL REP                            BELLINGHAM         WA             98229
    ESTATE OF BILL PEET                     WILLIAM BARTLETT PEET JR           25 SIERRA PLACE                                                                            SIERRA MADRE       CA             91024
                                                                                                                HARPER COLLINS PUBLISHERS
    ESTATE OF C S LEWIS                                                        103 WETERHILL ROAD               ROYALTY DEPT                      BISHOP BRIGGS           GLASGOW SCOTLAND                  G64 2QT      United Kingdom
    ESTATE OF CAROLYN WYETH                 P.O. BOX 133                       MURPHY ROAD                                                                                CHADDS FORD        PA             19317
    ESTATE OF CECILIA R PINO                ATTN ALICE M SALCIDO               1909 ANITA COURT                                                                           LAS CRUCES         NM             88001
                                                                               250 WEST 57TH STREET 26TH
    ESTATE OF CHRISTOPHER REEVE             JOEL FADEN & COMPANY               FLOOR                                                                                      NEW YORK           NY             10107
    ESTATE OF DAME MARGOT
    FONTEYN                                                                    425 MADISON AVENUE               HAROLD OBER ASSOCIATES                                    NEW YORK           NY             10017
    ESTATE OF DAVID MCCORD                  ATTN MARY ELLEN ROGAN              60 STATE STREET                                                                            BOSTON             MA             02109
                                            ARTHUR PAGE - HEMENWAY &
    ESTATE OF DAVID MCCORD                  BARNES LLP                         60 STATE STREET                                                                            BOSTON             MA             02109
    ESTATE OF DOROTHY WEST                  ATTN JOAN E KOLLIGIAN              1 LONGFELLOW PLACE STE 3610                                                                BOSTON             MA             02144
    ESTATE OF EDNA YARDLEY                                                     9813 ROSENSTEEL AVENUE                                                                     SILVER SPRINGS     MD             20910

    ESTATE OF EDWIN WAY TEALE               UNIV OF CONN TEALE ACCT #037119 343 MANSFIELD ROAD                                                                            STORRS             CT             06269-2074
    ESTATE OF ELIZABETH P HAGEN             C/O REILLY DEANE AND RABOY      60 EAST 42ND STREET SUITE 558                                         ATTN MARTIN APPELBAUM   NEW YORK           NY             10165
    ESTATE OF ELLEN DAY HALE                                                437 MADISON AVENUE 35TH FL                                                                    NEW YORK           NY             10022
    ESTATE OF ERNEST R DUNCAN               LOIS DUNCAN LYON, EXECUTRIX     96 MT HARMONY ROAD                                                                            BERNARDVILLE       NJ             07924

    ESTATE OF GEORGE DANGERFIELD                                               1211 COAST VILLAGE RD 6                                                                    SANTA BARBARA      CA             93108

    ESTATE OF GEORGE T GOODSPEED                                               150 FEDERAL ST                                                                             BOSTON             MA             02110
    ESTATE OF ILIANA ZLOCH-CHRISTY DANIELLA ZLOCH                              WIMMERGASSE 2/31                                                                           VIENNA                            01050        Austria
                                   ATTN C PARKINSON & G                                                                                                                   ST PETER PORT
    ESTATE OF IRIS HILDA PARKINSON BAINBRIDGE                                  10 HANOIS ROYAL TERRACE                                                                    GUERNSEY                          GY1 2JY      United Kingdom
    ESTATE OF ISAAC ASIMOV         C/O RALPH M VICINANZA, LTD                  303 WEST 18TH STREET                                                                       NEW YORK           NY             10011
    ESTATE OF ISSAC ASIMOV                                                     303 WEST 18TH STREET                                                                       NEW YORK           NY             10011
                                   ATTN JAMES & JAMES PUBLISHERS
    ESTATE OF JAMES MACGIBBON      LTD                                         CLERKENWOOD 2-5 BENJAMIN ST                                                                LONDON                            EC1M 5QI     United Kingdom
    ESTATE OF JOANNE C MERRILL                                                 401 BLAKE ROAD S                 ATTN FRANK MERRILL PER REP                                EDINA              MN             55343
    ESTATE OF JOHN A GARRATY       C/O KELLEY DRYE & WARREN LLP                101 PARK AVE                                                                               NEW YORK           NY             10178
    ESTATE OF JOHN A GARRATY                                                   101 PARK AVENUE                  KELLEY DRYE & WARREN LLP                                  NEW YORK           NY             10178
    ESTATE OF JOHN BOWES                                                       24 PINE CREST RD                                                                           NEWTON             MA             02459
    ESTATE OF JOHN H UPDIKE                                                    9 WALLIS DRIVE                                                                             WENHAM             MA             01984
    ESTATE OF JOHN M LANGSTAFF                                                 26 RHODE ISLAND AVE                                                                        PROVIDENCE         RI             02906-5506
    ESTATE OF JOHN UPDIKE          ATTN MARTHA UPDIKE                          9 WALLIS DRIVE                                                                             WENHAM             MA             01984
    ESTATE OF JULIAN JAYNES        C/O FREDERICK E CAMMERZELL III              32 NASSAU STREET 4TH FLOOR                                                                 PRINCETON          NJ             08542
                                                                                                                NEIL R SCHAUER / RUBIN AND
    ESTATE OF KATHERINE D BOWES             LEE ANGELA BOWES EXECUTOR          50 ROWES WHARF                   RUDMAN LLP                                                BOSTON             MA             02110
    ESTATE OF LAURENCE PATRICK
    KIRWAN                                  C/O ANNE JENNIFER PRESTON          13 CRONDACE ROAD                                                                           LONDON                            SW6 4BB      United Kingdom
    ESTATE OF LAURETTA BENDER
    (KNOWLES)                               C/O JANE KNOWLES                   51 FIN DEL SENDERO                                                                         SANTA FE           NM             87506
    ESTATE OF LAURETTA BENDER
    (SCHILDER                               C/O PETER SCHILDER PH D MD         41 MURRAY AVE                                                                              ANNAPOLIS          MD             21401
    ESTATE OF LEONARD WIESGARD                                                 BORNHOLMSGADE 1 (3 SAL TV)                                                                 KOBENHAVEN K                      01266        Denmark
    ESTATE OF MAIA GREGORY                                                     P O BOX 145                                                                                HOOSICK FALLS      NY             12090-0145
    ESTATE OF MARGARET WALKER               ATTN FIRNIST JAMES ALEXANDER
    ALEXANDER                               JR                                 PO BOX 1326                      ADMINISTRATOR                                             JACKSON            MS             39215
    ESTATE OF MARTHA K RESNICK                                                 100 EAST PRATT STREET, 26TH FL                                                             BALTIMORE          MD             21202
    ESTATE OF MARY ELLMANN                  SCHOOL OF ENGLISH                  UNIVERSITY OF KENT               RUTHERFORD EXTENSION                                      CANTERBURY         Kent           CT2 7NX      United Kingdom
    ESTATE OF MARY R WALSH                  C/O DANE & HOWE LLP                45 SCHOOL STREET                                                                           BOSTON             MA             02108
    ESTATE OF MERCER ELLINGTON              C/O RICHARD J J SCAROLA            888 SEVENTH AVENUE 45TH FL                                                                 NEW YORK           NY             10106




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                      145 of 488                                                                                                        1:26 PM
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                 CreditorName                         CreditorNoticeName                 Address1                       Address2                         Address3                       City          State       Zip                Country
                                                                                                                                              MCINTOSH & OTIS INC-SINCLAIR
    ESTATE OF MICHAEL LEWIS                                                  353 LEXINGTON AVENUE           EUGENE H WINICK                   LEWIS                          NEW YORK            NY           10016
                                            BARBARA ANN KELLOGG,
    ESTATE OF OLGA IWANIK BAHNUK            EXECUTOR                         15219 US ROUTE 14                                                                               WOODSTOCK           IL           60098
    ESTATE OF RALPH PERRY                   MATTHEW PERRY                    1619 CARLETON ST                                                                                BERKELEY            CA           94703-1814
    ESTATE OF RAY J. DAVIS                                                   875 JOHN ADAMS PARKWAY                                                                          IDAHO FALLS         ID           83401
    ESTATE OF ROSE LAURA ROSS                                                16 VAIL AVE                                                                                     EAST QUOGUE         NY           11942
    ESTATE OF RUTH WRESCHNER                ATTN MARSHALL G KAPLAN ESQ       40 CLINTON ST SUITE 1H                                                                          BROOKLYN            NY           11201
    ESTATE OF S GOPAL                       INDIRA GOPAL                     94 RADHAKRISHNAN SALAI                                                                          CHENNA                           600 004      India
    ESTATE OF SCOTT O DELL                  ELIZABETH HALL, EXECUTRIX        MAKE PEACE HILL BOX 4                                                                           WACCABUC            NY           10597
                                                                                                            HELEN MCCLEARY VP MANAGING
    ESTATE OF SINCLAIR LEWIS                                                 345 PARK AVE 4TH FLOOR         DIRECTOR                                                         NEW YORK            NY           10154-1002
    ESTATE OF STANISLAW LEM                                                  9200 SUNSET BLVD, STE 820      INTELLECTUAL PROPERTY GROUP       ATTN JOEL GOTLER               LOS ANGELES         CA           90069
    ESTATE OF SYLVIA TOWNSEND
    WARNER                                  C/O TANYA STOBBS                 15 ROYAL AVE                                                                                    LONDON                           SW3 4QE      United Kingdom
    ESTATE OF TED YANAK SR                                                   PO BOX 6023                                                                                     ALTADENA            CA           91003
    ESTATE OF TRACY TERRELL                                                  10904 RIVER PLANTATION                                                                          AUSTIN              TX           78747-1495
    ESTATE OF WILLIAM H MAULDIN             ATTN JONATHAN GORDON             333 S HOPE STREET 16TH FL                                                                       LOS ANGELES         CA           90071
    ESTATE OF WILLIAM JAY JACOBS            SUSAN JACOBS EXECUTRIX           6 RICHMOND DRIVE                                                                                OLD GREENWICH       CT           06870
    ESTATE OF WILLIAMS STAFFORD                                              8235 SW 30TH                   C/O DIANE MCDEVITT                                               PORTLAND            OR           97219
    ESTATE OF YAO-WEN KWANG LI              ATTN CHU-TSING LI TRUSTEE        311 EAST ERIE STREET APT 303                                                                    MILWAUKEE           WI           53202
                                            JAMES P. ONEILL - ATTORNEY-AT-
    ESTATE OFRUTH N ANSHEN                  LAW                              351 BRIXTON ROAD SO                                                                             GARDEN CITY         NY           11530
    ESTEBAN SANTIAGO RODRIGUEZ                                               P O BOX 190250                                                                                  SAN JUAN            PR           00919-0250
    ESTELA CECILIA RIVEROLL PICAZO                                           LOPEZ COTILLA 1858-103                                           COLONIA DEL VALLE              MEXICO CITY         DF           03100        Mexico
    ESTELLE KLEINMAN                                                         207 KNOLL WOOD DRIVE                                                                            POINCIANA           FL           34759
                                                                             AVENIDA 9 DE OCTUBRE 15 15 Y
    ESTHELA FLORES                                                           ORELLANA                                                                                        QUITO                                         Ecuador
    ESTHER L G KEONE                                                         124 E ACHOTE CT                                                                                 DEDEDO              Guam         96929-6706
    ESTHER NELSON                                                            3605 SEDGWICK AVENUE, # A32                                                                     BRONX               NY           10463
    ESTHER PEARL WATSON                                                      325 N ADAMS STREET                                                                              SIERRA MADRE        CA           91024
    ESTHER S BUSHNELL                                                        16 HIGHMEADOW ROAD                                                                              OLD GREENWICH       CT           06870-1424
    Esther Strom                                                             818 BROWN AVENUE                                                                                EVANSTON            IL           60202
    ESTOCK PHOTO                                                             27-28 THOMSON AVE LOFT 628                                                                      LONG ISLAND CITY    NY           11101
    ESTRADA PABLO E                                                          TRAVESSERA DEL DALT 56                                                                          BARCELONA                        08024        Spain
                                            DBA ETHAN ELLENBERG LITERARY
    ETHAN ELLENBERG                         AGENCY                           548 BROADWAY #5E                                                                                NEW YORK            NY           10012
    ETHAN RUTHERFORD                                                         225 39TH STREET WEST                                                                            MINNEAPOLIS         MN           55409
    ETHEL KOGER BECKHAM
    ELEMENTARY -PTA                                                          4702 SW 143 COURT                                                                               MIAMI               FL           33175
                                                                             6343 SPRINGWATER TERRACE, #
    ETHEL M STAMPONE                                                         6021                                                                                            FREDERICK           MD           20701-7654
    ETHEL S KENNEDY                                                          3 MARCHANT AVENUE                                                                               HYANNISPORT         MA           02647
    Ethel Y Green                                                            2701 N. Grapevine Mills Blvd   Apartment 617                                                    Grapevine           TX           76051
    ETHELDREDA MERCADO VIERA                                                 2217 CALLE ALMUDENA            URB LA RAMBLA                                                    PONCE               PR           00730-4085
    Ethelyne Farquharson                                                     50 Endicott St                 #2213                                                            Danvers             MA           01923
    ETHEREAL INC                                                             4462 NE MILL HEIGHTS CIRCLE                                                                     BAINBRIDGE ISLAND   WA           98110
    ETHRAC PUBLICATIONS INC                                                  303 MERCER ST                  ATTN WILLIAM KATZ                 APT A 405                      NEW YORK            NY           10003
    ETI-KEYS TRAINING GROUP INC                                              7641 MOUNT CARMEL DR                                                                            ORLANDO             FL           32835
    ETINER DAVID                                                             260 BASIN POINT ROAD                                                                            HARPSWELL           ME           04079
    ETNIER JOHN                                                              10 OLDE FORT ROAD                                                                               CAPE ELIZABETH      ME           04107
    Etolia Cannon                                                            5154 Indianaola                                                                                 Indianapolis        IN           46205
    ETRADE Securities LLC                                                    PO Box 1542                                                                                     Merrifield          VA           22116-1542

    ETS MEDIA 2006 LLC                      DBA CHAMPION COMMUNICATIONS      P O BOX 1721                                                                                    BOULDER             CO           80306-1721
    EUCLID CITY SCHOOL DISTRICT                                              651 EAST 222ND STREET                                                                           CLEVELAND           OH           44123
    EUGENE A JONGSMA                                                         8724 51ST TRE E                                                                                 BRADENTON           FL           34211
    EUGENE F COLLINS                        TEMPLE CHAMBERS                  3 BURLINGTON ROAD                                                                               DUBLIN 4                                      Ireland
                                            DBA PIRINATE CONSULTING GROUP
    EUGENE I DAVIS                          LLC                           5 CANOE BROOK DRIVE                                                                                LIVINGSTON          NJ           07039
    EUGENE K BOLES                          DBA 1800TINT.COM              462 SW PORT ST LUCIE BLVD #126                                                                     PORT ST LUCIE       FL           34953
    Eugene Lavin                                                          14 James Ave                                                                                       Orlando             FL           32801
    Eugene Martinez                                                       48 Avenida Del Sol                                                                                 Cedar Crest         NM           87008
    EUGENE NICHOLS                                                        3386 W LAKE SHORE DRIVE                                                                            TALLAHASSEE         FL           32312
    Eugene Phillip                                                        709 Harland Court                                                                                  Kissimmee           FL           34758
    Eugene Rahmier                                                        233 West 2nd Street                                                                                Moscow Mills        MO           63362
                                            DBA TSUI DESIGN AND RESEARCH
    EUGENE TSUI                             INC                           6 ADMIRAL DRIVE STE 272                                                                            EMERYVILLE          CA           94608
    EUGENE W MASSENGALE                                                   P O BOX 220                                                                                        BENTONVILLE         VA           22610




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                  146 of 488                                                                                                              1:26 PM
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                 CreditorName                         CreditorNoticeName                Address1                       Address2                Address3             City           State       Zip             Country
                                                                                                            CALLE CUIDAD UNIVERSITARIA NUM                MUNICIPIO
    EUGENIA CONCEPCION MALLORGA             COLMENERO                       MATROPOLITANA 2DA SECCION       124                                           MEZAHUALCOYOTL                   57740        Mexico
    EUGENIA MORA-FLORES                                                     3601 HAZELBROOK AVE                                                           LONG BEACH          CA           90808
    Eugenia Muller                                                          116 Ohio Avenue North                                                         Beach Haven         NJ           08008
    EUGENIA W COLLIER                                                       719 MAIDEN CHOICE LANE HR 446                                                 CATONSVILLE         MD           21228
    EUGENIE S DELANEY                                                       271 HIGH MEADOWS RD                                                           NORTH FERRISBURGH   VT           05473-4019
    EUGINIA DAVIS                                                           6170 WOOSTER AVE                                                              LOS ANGELES         CA           90056-2023
    EULA W FRESCH                                                           30 WEST BLUE RIDGE RD                                                         CRANSTON            RI           02920
    EUNICE BOARDMAN                                                         3624 38TH STREET APT 3                                                        ROCK ISLAND         IL           61201-6558
    Eunice Zavala                                                           35129 N. Edgewater Ln.                                                        Ingleside           IL           60041
    EUPISD                                                                  315 ARMORY PLACE SAULT STE                                                    MARIE               MI           49783
    EURO PACIFIC CAPITAL INC                                                88 POST ROAD WEST 3RD FLOOR                                                   WESTPORT            CT           06880-4208
    EUROMONEY INC                           DBA MIS TRAINING INSTITUTE      498 CONCORD STREET                                                            FRAMINGHAM          MA           01702-2357
    EUROPEAN AMERICAN MUSIC DISTR
    LLC                                                                     254 WEST 31ST, FL 15                                                          NEW YORK            NY           10001
    EUROPEAN LEAGUE FOR MIDDLE              FRANKFURT INTERNATIONAL
    LEVEL EDU                               SCHOOL                          AN DE WALDLUST 15                                                             OBERURSEL                        61440        Germany
                                                                                                                                                          A-1140 VIENNA
    EUROPICS                                CENTRAL EUROPEAN NEW LTD        ZWEIGNIEDERLASSUNG WIEN                                                       HADIKGASSE 96                    FN 195534A Austria
    EUROSPAN GROUP/GPG                                                      3 HENRIETTA ST                                                                LONDON                           WC2E 8LU United Kingdom
    Eva C Stein                                                             2700 Fairway Drive                                                            York                PA           17402
    Eva Humbard                                                             16306 Foremast Place                                                          Bradenton           FL           34202
    EVA L ESTRADA PENA                                                      HC 02 BOX 7174                                                                BARRANQUITOS        PR           00794
    Eva Smitley                                                             402 W Davilla/PO Box 909                                                      Granger             TX           76530
    Eva Stein                                                               2700 Fairway Drive                                                            York                PA           17402
    Eva Szucs                                                               282 Shrike Court                                                              Altamonte Springs   FL           32701
    EVAN B HARRIS                                                           2659 NE 65TH AVENUE                                                           PORTLAND            OR           97213
    EVAN COLLIS PHOTOGRAPHY PTY
    LTD                                                                     9 PALM RD                                                                     ROLEYSTONE          WA           06111        Australia
    EVAN GALLAGHER LUNDGREN                                                 16 AUBURN STREET                                                              CHARLESTOWN         MA           02129
    Evan Hendrix                                                            306 Red Bird Ln                                                               Austin              TX           78745
    EVAN I SCHWARTZ                                                         1759 BEACON STREET                                                            BROOKLINE           MA           02445
    Evan Kaplan                                                             29 Whitney Avenue                                                             Westwood            MA           02090
    EVANGEL STEFANAKIS                                                      20 GROZIER ROAD                                                               CAMBRIDGE           MA           02138
    Evangelina Rios                                                         649 Oregon Woods Ct                                                           Orlando             FL           32824
    Evangelina Ruiz                                                         838 Gillette Ave                                                              Aurora              IL           60506
    EVANGELINE PARISH                       SALES/ USE TAX COMMISSION       P O BOX 367                                                                   VILLE PLATTE        LA           70586-0367
    Evangeline W Bermas                                                     62 Salem Street                                                               Reading             MA           01867
    EVANS BENNY                                                             5607 W 44                                                                     STILLWATER          OK           74074
                                                                            DEPT OF EDUC STUDIES, 261
    EVANS KATHY                             UNIVERSITY OF SOUTH CAROLINA    WARDLAW HALL                                                                  COLUMBIA            SC           29208
    EVANS LESLIE                                                            15 BAY STREET                                                                 WATERTOWN           MA           02472
    EVANS LEZLIE                                                            42835 CONQUEST CIRCLE                                                         BRAMBLETON          VA           20148
    EVANS RICHARD                                                           P O BOX 222, 40 BELMORE COURT                                                 BRISTOL             NH           03222
    EVANSTON BUSINESS LICENSE
    COLLECTIONS                             COLLECTORS OFFICE               2100 RIDGE AVE SUITE 1300                                                     EVANSTON            IL           60201
    EVANSTON UNITED WAY                                                     540 FRONTAGE RD SUITE 3040                                                    NORTHFIELD          IL           60093
    EVARISTO JIMENEZ                                                        931 HILLRISE DR                                                               BRANDON             FL           33510
    EVATONE                                                                 PO BOX 905647                                                                 CHARLOTTE           NC           28290
    EVE BUNTING                                                             1512 ROSE VILLA ST                                                            PASADENA            CA           91106
    EVE C RISER-ROBERTS                     DBA THE ART WORKS               2 PASEO DEL CABALLO E                                                         SANTA FE            NM           87508
    EVE KING                                                                37 PIER AVE                                                                   SOUTHWOLD           Suffolk      IP18 6BU     United Kingdom
    EVE LEHMANN                                                             46 MUNROE ROAD                                                                LEXINGTON           MA           02421
    Eve Myers                                                               22734 Timberlake Creek Rd.                                                    Tomball             TX           77377
    Eve Spencer                                                             8 Drew Avenue                                                                 Lexington           MA           02420
    EVELYN COLEMAN                                                          788 ROSEDALE AVENUE                                                           ATLANTA             GA           30312
    Evelyn E Curley                                                         55 Tewksbury St.                                                              Andover             MA           01810
    EVELYN HILL INC                         STATUE OF LIBERTY GIFT CENTER   LIBERTY ISLAND                                                                NEW YORK            NY           10004
    EVELYN JANE GALLUCCI                    GALLUCCI AND ASSOCIATES INC     628 LISBON LANE                                                               LADY LAKE           FL           32159
    EVELYN JENKINS                          DBA ARIZONA EVENT SERVICES      10727 E SAN SALVADOR DR                                                       SCOTTSDALE          AZ           85258
    EVELYN SINGER LIT AGCY                  C/O LORYN HABER                 5227 MALAGA AVENUE                                                            SARASOTA            FL           34235
    Evelyn Wilcon                                                           34 Silver Hill                  Apt 2                                         Natick              MA           01760
    EVELYNE JOHNSON ASSOCIATES                                              201 EAST 28TH STREET                                                          NEW YORK            NY           10016-8538
    EVENSON INTERACTIVE LLC                                                 4 BRATTLE STREET STE 206                                                      CAMBRIDGE           MA           02138
    EVENSON JILL STEWART                                                    5555 MONTGOMERY DR #22                                                        SANTA ROSA          CA           95409
    Event Rents                                                             4940 Fox Street                                                               Denver              CO           80216
    EVENTICITY EVENT PLANNERS                                               26441 SANDY CREEK                                                             LAKE FOREST         CA           92630-5628
    EVERETT C JOHNSON                                                       12150 CATHEDRAL DRIVE                                                         LAKE RIDGE          VA           22192
    EVERETT COLLECTION                                                      225 W 35TH ST, 14TH FL                                                        NEW YORK            NY           10001
    EVERETT COMMUNITY COLLEGE                                               2000 TOWER ST                                                                 EVERETT             WA           98201



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                   147 of 488                                                                                       1:26 PM
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                                                                                                                           of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                          Address2                        Address3              City          State       Zip            Country

    EVERGREEN ONLINE LEARNING LLC                                          P O BOX 2668                                                                                EVERGREEN           CO           80437
    EVERGREEN PARK ELEMENTARY
    DISTRICT 124                                                           9400 SOUTH SAWYER STREET                                                                    EVERGREEN PARK      IL           60805
    EVERGREEN STATE COLLEGE                                                2700 EVERGREEN PARKWAY NW                                                                   OLYMPIA             WA           98505

    E-VERIFILE.COM INC                                                     900 CIRCLE 75 PARKWAY STE S620                                                              ATLANTA             GA           30339-3084
    Everon Technology Services                                             PO Box 83369                                                                                Woburn              MA           01813

    EVERY CHILD A READER INC                                               12 WEST 37TH STREET, 2ND FLOOR ATTN ROBIN ADELSON                                           NEW YORK            NY           10018
    Every Creature Counts                   Attn Sam Booker                1245 Factory Circle                                                                         Fort Lupton         CO           80621
    Evett Vanhorn                                                          701 Ivy Ct                                                                                  Round Rock          TX           78681
    Evette Justiniano                                                      826 SKY LAKE APT #D                                                                         Orlando             FL           32809
    EVOLUTION PCS                                                          721 S CHESTNUT AVE                                                                          ARLINGTON HEIGHTS   IL           60005
    EVREN OZAN                                                             1124 CATALINA STREET                                                                        LAGUNA BEACH        CA           92651
    EVSC SWICTM WORKSHOP                    ATTN BETH DIVALL               1 SE NINTH ST                                                                               EVANSVILLE          IN           47708
    EWALD WIBERG                                                           875 ALAMANDA STREET                                                                         BOCA RATON          FL           33486
    EWF CONSORTIUM INC                                                     1340 BURNS DRIVE                                                                            ELGIN               IL           60120
    EWING SYSTEMS                                                          352 7TH AVE #721                                                                            NEW YORK            NY           10001
    EWING TOWNSHIP BOE                                                     2099 PENNINGTON ROAD                                                                        EWING               NJ           08618
    ExDesk.com                              PMB 419                        4 Daniels Farm Road                                                                         Trumbull            CT           06611-3900
    EXECUTIVE CHARGE INC                                                   1440 39TH STREET                                                                            BROOKLYN            NY           11218
    EXECUTIVE DEVELOPMENT
    ASSOCIATES INC                                                         9753 POST OAK CIR                                                                           DE SOTO             KS           66018
    EXECUTIVE HOTEL MANAGEMENT
    INC                                     HOLIDAY INN EXECUTIVE CENTER   2200 I-70 DRIVE SW                                                                          COLUMBIA            MO           65203
    EXECUTIVE NETWORKS INC                                                 DEPT # 34023, P O BOX 39000                                                                 SAN FRANCISCO       CA           94139

    EXECUTIVE RELOCATION                    DBA SIRVA RELOCATION LLC       4370 SOLUTION CTR LOCKBX 774370                                                             CHICAGO             IL           60677-4003

    EXECUTIVE SALES & MARKETING                                            20720 WATERTOWN ROAD SUITE 203                                                              WAUKESHA            WI           53186
    EXECUTIVE SALES & MARKETING                                            P O BOX 630                                                                                 PROSPECT HEIGHTS    IL           60070
    EXEMPLAR STRATEGIC
    COMMUNICATIONS                                                         331 GROVE AVENUE                                                                            FALLS CHURCH        VA           22046
    EXEMPLAR WORLDWIDE INC                  AMY E TEPPER                   3896 MESA RD                                                                                DESTIN              FL           32541
    EXETER RENT-ALL INC                                                    38 PORTSMOUTH AVENUE                                                                        EXETER              NH           03833
    EXILE EDITIONS LTD                                                     144483 SOUTHGATE ROAD 14-GD                                                                 HOLSTEIN            ON           N0G 2A0      Canada
                                                                           CALLE C CARRETERA #2 K 15.2 LOT
    EXPO DESIGN INC                         CORUJO INDUSTRIAL PARK 46      A6                                                                                          BAYAMON             PR           00961
    Expo Limousine                                                         1040 North Shore Road                                                                       Revere              MA           02151
    EXPRESS CONTAINER LINE INC                                             5523 NW 72 AVENUE                                                                           MIAMI               FL           33166
    Express Messenger                                                      6760 E. 47th Ave. Dr.                                                                       Denver              CO           80216
    Express Services Inc                                                   PO Box 841634                                                                               Dallas              TX           75284-1634
    EXPRESSLY YOURS INC                                                    11403 N CHESTWOOD                                                                           HOUSTON             TX           77024
    EXSEL EXHIBITS LLC                      DBA NIMLOK CHICAGO             7430 N LEHIGH AVENUE                                                                        NILES               IL           60714
    EXTEND HEALTH INC                                                      2929 CAMPUS DRIVE STE 400                                                                   SAN MATEO           CA           94403
    EXTENTIA INFORMATION
    TECHNOLOGY PVT LTD                      UMKAZ LANE E NORTH MAIN ROAD   KOREGAON PARK                                                                               PUNE MAHARASHTRA                 411001       India
    EYE UBIQUITOUS                                                         65 BRIGHTON RD                                                         SHOREHAM BY SEA      West Sussex                      BN43 6RE     United Kingdom
    EYEDEA PRESSE                                                          13 RUE DENGHIEN                                                                             PARIS                            75010        France
    EZRA JACK KEATS FOUNDATION                                             450 14 ST                                                                                   BROOKLYN            NY           11215
    Ezra Schwartz                                                          5201 S. Cornell Ave.              Apt. 6D                                                   Chicago             IL           60615
    F E ALBI                                ROSINA M ALBI                  9878 SE KING WAY                                                                            PORTLAND            OR           97086-7257
    F HARVEY POUGH                                                         91 CAVERSHAM WOODS                                                                          PITTSFORD           NY           14534

    F MANDLEY & ASSOCIATES INC                                             3960 OAKS CLUBHOUSE DRIVE # 201                                                             POMPANO BEACH       FL           33069
    F ODUN BALOGUN                                                         216 NORTHDOWN DR                                                                            DOVER               DE           19904
                                            DBA SPEEDY DUMOR MAIL J & M
    F S ACQUISITIONS LLC                    MAIL                           264 WEST STREET                                                                             NEW YORK            NY           10013
                                            DBA STUART WESTMORLAND
    F STUART WESTMORLAND                    PHOTO                          14128 11TH DR SE                                                                            MILL CREEK          WA           98012

    F W ROGERS & ASSOCIATES        DBA INTESOLV BUSINESS SYSTEMS           PO BOX 3492                                                                                 VISALIA             CA           93278
    F.E HARDING ASPHALT COMPANIES,
    INC                                                                    10151 HAGUE ROAD                                                                            INDIANAPOLIS        IN           46256
    F5 NETWORKS                                                            PO BOX 406097                                                                               ATLANTA             GA           30384
    FABER & FABER LTD                                                      BURNT MILL ELIZABETH WAY                                                                    HARLOW ESSEX                     CM20 2HX   United Kingdom
    FABER AND FABER LTD            ROYALTY DEPARTMENT                      BURNT HILL, ELIZABETH WAY                                                                   HARLOW ESSEX                     CM20 2HX   United Kingdom
    FABER AND FABER LTD-LONDON     BLOOMSBURY HOUSE                        74-77 GREAT RUSSELL STREET                                                                  LONDON                           WC 1B- 3DA United Kingdom
    FABIAN CASTRO                                                          AVE 7#150-01 OF 105                                                                         BOGOTA              BOGOTA                  Colombia



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                      148 of 488                                                                                                 1:26 PM
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                                                                                                                         of 519
                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                Address1                           Address2            Address3              City         State       Zip               Country
    Fabian Torres                                                          8 E Par St                                                                     Orlando            FL           32804

    FACING HISTORY AND OURSELVES            NATIONAL FOUNDATION INC        16 HURD ROAD                                                                   BROOKLINE          MA           02445
    Factory Mutual Insurance Co.                                           P.O. Box 7500                                                                  Johnston           RI           02919
    FACTS ON FILE INC                                                      132 WEST 31ST ST - 17TH FLR                                                    NEW YORK           NY           10001-3406
    FADCO                                   DBA FADCO-MILLIKEN             P O BOX 2742                                                                   NEWPORT BEACH      CA           92659
    FADCO-Milliken                          RE 11276 5th Street            Glenn Donahue                   P.O. Box 2742                                  Newport Beach      CA           92659
    FAHEY ADELE F                                                          214 GRANITEVILLE ROAD                                                          CHELMSFORD         MA           01824
    FAHRENHEIT LLC                                                         1054 31ST STREET NW STE 140                                                    WASHINGTON         DC           20007
    FAHY-WILLIAMS PUBLISHING INC                                           171 REED STREET                                                                GENEVA             NY           14456
    FAILSAFE DISK COMPANY                   FAILSAFE MEDIA COMPANY         475 CAPITAL DRIVE                                                              LAKE ZURICH        IL           60047
    FAIRBORN BOARD OF EDUCATION                                            306 E WHITTIER AVENUE                                                          FAIRBORN           OH           45324
    FAIRCHILD NETWORKING LLC                                               15 COURT SQUARE STE 425                                                        BOSTON             MA           02108
    FAIRCHILD PUBLICATIONS                                                 750 3RD AVENUE 3RD FLOOR                                                       NEW YORK           NY           10017
    FAIRFIELD COUNTY LIMOUSINE INC                                         P O BOX 6705                                                                   STAMFORD           CT           06904
    FAIRMAN STDIOS LLC                      ATTN JENNFER E FAIRMAN         108 WOODLAWN ROAD                                                              BALTIMORE          MD           21210
    Fairuz Mohamedbrhan                                                    821 Mill Branch Dr.                                                            Garland            TX           75040
    FAITH CHILDS LIT AGCY INC                                              915 BROADWAY SUITE 1009                                                        NEW YORK           NY           10010
    Faith Davis                                                            212 Homewood Dr.                                                               Millbrook          AL           36054
    Faith Njoroge                                                          121 Coventry Circle                                                            Brockton           MA           02301
    FAITH RINGGOLD                                                         127 JONES ROAD                                                                 ENGLEWOOD          NJ           07631
    FALCON MARY                                                            3511 NORTH HOLLOW ROAD                                                         GRANVILLE          VT           05747
    FALVEY FINISHING CO INC                                                111 BOSTON STREET                                                              DORCHESTER         MA           02125
    FALWELL CATHY ANN                                                      15 PHINNEY RD                                                                  GORHAM             ME           04038
    FAMILY CENTRAL INC                      ATTN ELIZABETH PRESTON - VPK   840 SW 81ST AVENUE                                                             NORTH LAUDERDALE   FL           33068
    Family Tree, Inc.                                                      3805 Marshall Street, #100                                                     Wheat Ridge        CO           80033
    Fan Grabber Sportswear                                                 2304 W. Campus Drive                                                           Tempe              AZ           85282
    FANCY PLANTS INC                                                       731 MORSE AVE                                                                  SCHAUMBURG         IL           60193-4533
    FANNY O WONG-WAN                                                       15118 SE 114 ST                                                                RENTON             WA           98059
    FAR HILLS COUNTRY DAY SCHOOL                                           697 ROUTE 202                                                                  FAR HILLS          NJ           07931
                                                                           HAMRA MAIN STREET TAJ TOWER
    FARAH DABBOUS                                                          BLG                                                                            BEIRUT                                       Lebanon
    FARBER AGENCY LLC                                                      14 EAST 75TH STREET APT 2E                                                     NEW YORK           NY           10021
    FARBER LITERARY AGENCY INC                                             14 EAST 75TH STREET             ATTN DONALD FARBER                             NEW YORK           NY           10021
    Fargnoli, Joseph
    Farid Matuk                                                            6903 E. Grand Avenue                                                           Dallas             TX           75223
    FARIN HOUK-CERNA                                                       1116 NW 54TH STREET APT 105                                                    SEATTLE            WA           98107-3728
    Farin O Schlussel                                                      14 Lincoln Pl.                  Apt. 2                                         Lynbrook           NY           11563
    FARMER BROS CO                                                         P O BOX 79705                                                                  CITY INDUSTRY      CA           91716-9705
    FARMER BROS CO                                                         PO BOX 934237                                                                  ATLANTA            GA           31193-4237
    FARMERS MUSEUM INC                                                     P O BOX 30                                                                     COOPERSTOWN        NY           13326
    FARMINGDALE UNION FREE
    SCHOOL DISTRICT                                                        50 VAN COTT AVENUE                                                             FARMINGDALE        NY           11735
    Farmington Area Public Schools                                         421 Walnut Street                                                              Farmington         MN           55024
    Farmington Municipal Schools                                           2001 N. Dustn Ave.                                                             FARMINGTON         NM           87499
    Farrah Lemoine                                                         809 Summer Breeze Drive         #207                                           Baton Rouge        LA           70810
    FARRAR STRAUS & GIROUX INC                                             PO BOX 933243                                                                  ATLANTA            GA           31193
    FARRAR STRAUS & GIROUX LLC                                             PO BOX 933243                                                                  ATLANTA            GA           31193
    FARRAR STRAUS GIROUX                                                   18 W 18TH STREET                                                               NEW YORK           NY           10011
    FARRAR STRAUSS AND GIROUX                                              18 WEST 18TH STREET                                                            NEW YORK           NY           10011
    FARRAR, STRAUS & GIROUX LLC                                            18 WEST 18th STREET                                                            NEW YORK           NY           10011
    FARRAR, STRAUS AND GIROUX                                              18 W 18TH STREET                                                               NEW YORK           NY           10011
    FARRIS PAMELA J                                                        10222 E HICKORY RIDGE DR                                                       ROCHELLE           IL           61068
    FASFEPA                                                                1201 ATLANTIC AVENUE            ATTN LINDA MORRIS                              FERNANDINA BEACH   FL           32034

    FASHION INSTITUTE OF DESIGN AND         MERCHANDISING                  919 SOUTH GRAND AVENUE                                                         LOS ANGELES        CA           90015
    Fast Company                            Subscription Dept.             PO Box 3014                                                                    Harlan             IA           51593-2105
    FAST COMPANY                                                           PO BOX 3016                                                                    HARLAN             IA           51593
    FAST LINK BUSINESS MANAGEMENT
    SVCS                                    SHOWROOM #8 UM SUQAIM BLDG     SHEIKH ZAID RD P O BOX 215262                                                  DUBAI                                        United Arab Emirates
    FAST TRACK MOVERS &
    INSTALLATION                            JOSE AGUILAR                   11508 MORGANS POINT                                                            MANOR              TX           78653
    FASTECH INTEGRATED SOLUTIONS            DBA TRANSCEND UNITED
    LLC                                     TECHNOLOGIES                   940 W PROUL ROAD                ACCOUNTS RECEIVABLE                            SPRINGFIELD        PA           19064
    FASTENAL COMPANY                                                       PO BOX 978                                                                     WINONA             MN           55987

    FASTMARK INC                            ATTN HOWARD E WOLF, PRESIDENT 580 WEST CRESCENT DRIVE                                                         PALO ALTO          CA           94301-3109
    FastSigns                                                             9686 E. Arapahoe Road                                                           Grenwood Village   CO           80112
    Fatima Novak                                                          6112 Huckleberry Avenue                                                         Orlando            FL           32819
    FATRAS SUCCESSION                                                     6 BIS CITE VERON                                                                PARIS                           75018        France



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     149 of 488                                                                                      1:26 PM
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                                                                                                              Pg Creditor
                                                                                                                  157 Matrix
                                                                                                                          of 519
                                                                                                                              First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                                   Address2                       Address3              City           State       Zip            Country
    FAWCETT SUSAN CAROL                                                    934 CANYON VIEW ROAD                                                                               SAGAMORE HILLS       OH           44067
    FAXTS INC                                                              1640 S SEPULVEDA BLVD STE 102                                                                      LOS ANGELES          CA           90025
    FAY MARIE SHARPE                                                       6325 AUTLAN DRIVE                                                                                  JACKSONVILLE         FL           32210
    FAY ROBINSON                                                           2321 GRAY AVENUE                                                                                   EVANSTON             IL           60201
    FAYE BENDER LITERARY AGENCY                                            19 CHEEVER PLACE                          ATTN FAYE BENDER                                         BROOKLYN             NY           11231
    FAYE BENDER LITERARY AGENCY                                            19 CHEEVER PLACE                                                                                   BROOKLYN             NY           11231
    FAYE M NUSSBAUM                                                        13431 MOSSY CYPRESS DR                                                                             JACKSONVILLE         FL           32223
    FAYE RUOPP                                                             25 GROVELAND ST                                                                                    AUBURNDALE           MA           02466
    Faye Stoller                                                           7860A Lexington                           Club Blvd.                                               Delray Beach         FL           33446
    Fayette Baptist Church                  For Dula Sentle                78 Loon Point Road                                                                                 Manchester           ME           04351

    FAYETTE COUNTY PUBLIC SCHOOLS                                          701 MAIN ST                                                                                        LEXINGTON            KY         40502
    Fayetteville-Manlius SD         Accounts Payable                       8199 E. Seneca Turnpike                                                                            Manlius              NY         13104
    FAYNE ANCONA                                                           HERIBERTO FRIAS # 540                                                         COLONIA NARVARTE     BENITO JUAREZ                   CP 03020       Mexico
    FAYSAL MIKDADI                                                         ONE CEDAR RD                                                                                       CHARLTON DOWN        DORCHESTER DT2 9UL        United Kingdom
    FCIB-NACM CORPORATION                                                  8840 COLUMBIA 100 PARKWAY                                                                          COLUMBIA             MD         21045
    FDC EDITORIAL GROUP INC                                                1443 LAKE BALDWIN LANE APT A                                                                       ORLANDO              FL         32814-6739
                                    CALLE 50 Y 53 EDIFICIO HI-TECH
    FDC PUBLISHING SERVICES S A     PLAZA                                  PISO 8 OFICINA 8-B                                                                                 PANAMA CITY                                    Panama
    FDG SouthPark I LLC             RE 9400 SouthPark Center Loop          10151 Deerwood Park Boulevard             Building 100, Suite 330                                  Jacksonville         FL           32256
    FDG SouthPark I LLC             RE 9205 SouthPark Center Loop          10151 Deerwood Park Boulevard             Building 100, Suite 330                                  Jacksonville         FL           32256
    FEARRINGTON ANN                                                        1010 BLENHEIM DRIVE                                                                                RALEIGH              NC           27612
    FEATHERSTONE CONSULTING INC                                            32 FAWN RIDGE DRIVE                                                                                OAKWOOD HILLS        IL           60013
    FEDER JANE                                                             305 EAST 24TH ST APT 8P                                                                            NEW YORK             NY           10010
    FEDERAL EXPRESS CORP                                                   PO BOX 371461                                                                                      PITTSBURGH           PA           15250-7461
    FEDERAL EXPRESS CORP                                                   PO BOX 94515                                                                                       PALATINE             IL           60094-4515
    Federal Insurance Company
    Federal Insurance Company                                              202 Halls Mill Road                                                                                Whitehouse Station   NJ           08889-1600
    Federal Insurance Company                                              55 Water Street, 29th - 30th Floors                                                                New York             NY           10041-2899
    Federated Investment Management                                        Federated Investors Tower, 1001 Liberty
    Company                         Mark Durbiano                          Ctr.                                                                                               Pittsburgh           PA           15222
    FEDEX                                                                  PO BOX 371461                                                                                      PITTSBURGH           PA           15250
    FEDEX                                                                  PO BOX 660481                                                                                      DALLAS               TX           75266
    FEDEX                                                                  PO BOX 7221                                                                                        PASADENA             CA           91109-7321
    FedEx                                                                  P.O. Box 94515                                                                                     Palatine             IL           60094-4515
    FedEx Office                    Customer Administrative Serv.          P.O. Box 672085                                                                                    Dallas               TX           75267-2085
    FEDEX OFFICE AND PRINT
    SERVICES INC                                                           P O BOX 672085 LB 841198                                                                           DALLAS               TX           75267-2085
    FEE INC                         ESTA ELIZONDO                          4317 SHADY RIVER                                                                                   MISSOURI CITY        TX           77459
    FEECE OIL CO                                                           1700 HUBBARD DR                                                                                    BATAVIA              IL           60510-1424
    FEIN STEVEN                                                            428 STRATTON ROAD                                                                                  WILLIAMSTOWN         MA           01267
    FELDMAN & ASSOCIATES INC                                               191 WAUKEGAN RD STE 103                                                                            NORTHFIELD           IL           60093
    FELDOTT CRISTINA LIN                                                   3211 GENTRY DRIVE                                                                                  AUSTIN               TX           78746
    Felia Proakis                                                          7 Wainwright Road                         Unit 31                                                  Winchester           MA           01890
    Felicia Braswell                                                       4580 Concord Landing Drive                Apt. 307                                                 Orlando              FL           32839
    Felicia Garnett                                                        400 East 33rd Street                      Apt. 1400                                                Chicago              IL           60616
    FELICIA OBRIEN                                                         4 AMANDA ROAD                                                                                      SUDBURY              MA           01776
    FELICIANI V JAMES                                                      1013 SUCCESS AVE                                                                                   LAKELAND             FL           33803
    FELICITY BRYAN AGENCY                                                  2A N PARADE BANBARY ROAD                                                                           OXFORD                            OX2 6PE      United Kingdom
    FELIPE C RAMOS                  DBA NETWORK DIGITAL                    760 KING STREET                                                                                    STRATFORD            CT           06614
    FELIPE RODRIGUEZ KALIL                                                 URB ENCANTADA MONTERILLO 1                                                                         TRUJILLO ALTO        PR           00976
                                    PK DUFFS & CATERING SERVICES
    FELIX BIEN-AIME                 LTD                                    P O BOX SS-19556                                                                                   NASSAU                                         Bahamas
    FELIX N SAN MIGUEL              JARDINES DE QUINTANA                   APT B-27                                                                                           SAN JUAN             PR           00917
    Felix Olivares                                                         707 Junior Terr. #6s                                                                               Chicago              IL           60613
    FELIX ROSENSTIELS WIDOW & SONS
    LTD                             33-35 MARKHAM ST                       CHELSEA GREEN                                                                                      LONDON                            SW3 3NR      United Kingdom
    Feliz Frazier                                                          7980 N. Hgwy 177                                                                                   Sulphur              OK           73086
    Fellowship Bible Church                                                5580 N. Nevada Avenue                                                                              Colorado Springs     CO           80918
    FEMINIST PRESS                  PERMISSIONS COMPANY                    PO BOX 604 47 SENECA ROAD                                                                          MOUNT POCONO         PA           18344
    FEMINIST PRESS AT CUNY                                                 365 FIFTH AVENUE STE 5406                                                                          NEW YORK             NY           10016
                                                                                                                                                                              ENTRE ROCA Y LOJA
    FENAPIUPE                                                              MALECON SIMON BOLIVAR 100                 ESPOL OFICINA CELEX                                      GUAYAQUIL                                      Ecuador
    FENELLA SAUNDERS                                                       1005 SEDWICK RD W                                                                                  DURHAM               NC           27713
    FENLEY CAMPUS HOTEL LLC                 DBA EMBASSY SUITE HOTEL        9940 CORPORATE CAMPUS DR                                                                           LOUISVILLE           KY           40223
    FENLEY CAMPUS HOTEL LLC                 ATTN GAYLE WHALBRING           9940 CORPORATE CAMPUS DR                                                                           LOUISVILLE           KY           40223
    Ferlina Herman                                                         2396 Andrews Valley Drive                                                                          Kissimmee            FL           34758
    FERMAIN MARTINEZ RIVERA                                                HC05 BOX 92418                                                                                     ARENCIBO             PR           00612
    FERN TRACEY                                                            868 WATERTOWN STREET                                                                               WEST NEWTON          MA           02465
    FERN WESTERNOFF                                                        4 MAYVERN CRESENT                                                                                  RICHMOND HILL        ON           L4C 5J4      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                              150 of 488                                                                                                 1:26 PM
                                                      12-12171-reg            Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                Pg Creditor
                                                                                                                    158 Matrix
                                                                                                                            of 519
                                                                                                                      First Class Service List


                  CreditorName                        CreditorNoticeName               Address1                            Address2                        Address3              City              State       Zip                Country
    FERNANDA BRUSSI GONCALVES                                              PRACA DE REPUBLICA 120 APT 61                                                               CATANDUVA              Sao Paulo    15800--105   Brazil
    FERNANDO AVILA                          DBA NANOPICS PRODUCTION        1425 N HAMLIN                                                                               CHICAGO                IL           60651
    FERNANDO BARBOSA PARRA                  URB CIELO DORADO VILLAGE       CALLE DIAMANTE 58                                                                           VEGA ALTA              PR           00692
    FERNANDO CASTELLANOS                                                   SIERRA MADRE 3                                                                              LOMAS VERDES                        53125        Mexico
    FERNANDO CORDOVA AND ERVIE              ESTATE OF JACQUELINE M K
    PENA                                    CORDOVA                        1712 CHEVY CHASE DR                                                                         BREA                   CA           92821
    Fernando Santana                                                       1220 Heather Lake Drive                                                                     Orlando                FL           32824
    FERNIC BUILDING MAINTENANCE                                            7505 GLENVIEW DRIVE SUITE# 150                                                              NORTH RICHLAND HILLS   TX           76180
    FERORELLI ENTERPRISES INC                                              50 WEST 29TH STREET                                                                         NEW YORK               NY           10001
    FERRINI MUNDY JOAN                                                     1773 WALNUT HEIGHTS DRIVE                                                                   EAST LANSING           MI           48823
    FETTEROLF BARRY                                                        3112 CREAMER ROAD                                                                           NEW HOPE               PA           18938
    FFLA INC                                                               8851 50TH STREET N                                                                          PINELLAS PARK          FL           33782
    FIAN ARROYO ILLUSTRATION INC                                           2 SOUTH COLLEGE STREET                                                                      WEAVERVILLE            NC           28787
    FIBERLINK COMMUNICATIONS                                               DEPT 3012 P O BOX 123012                                                                    DALLAS                 TX           75312-3012
    FIDEL VELEZ ALVAREZ                     URB ENCANTADA RIO CRISTAL      PLAZA 5 RD19                                                                                TRUJILLO ALTO          PR           00976
    FIDELIO WORKS                           ATTN SARA HAYNES               6101 ANEMONE COVE                                                                           AUSTIN                 TX           78759
    Fidelity Capital Markets                Daniel J. Fraser               82 Devonshire Street              V6B                                                       Boston                 MA           02109
    Fidelity Investments                    Simple Service Team            p.o. box 650281                                                                             DALLAS                 TX           75265-9781
                                            FIDELITY INSTITUTIONAL
    FIDELITY INVESTMENTS                    OPERATIONS                     P O BOX 73307                                                                               CHICAGO                IL           60673-7307
    Fidelity Investments
    FIDELITY INVESTMENTS                                                   P O BOX 73307                                                                               CHICAGO                IL           60673-7307
    Fidelity Life Association               Dept. 8405                     135 South Lasalle Street                                                                    CHICAGO                IL           60674-8405
    Fidelity Management & Research
    Company                                 Mark Notkin                    245 Summer St., 14th Fl.                                                                    Boston                 MA           02210
    FIDELITY NATIONAL TITLE
    INSURANCE CO                                                           ONE PARK AVENU STE 1402                                                                     NEW YORK               NY           10016
    FIELDWORK ATLANTA                                                      200 GALLERIA PKWY # 1600          ATTN BETTE HAYDEN                                         ATLANTA                GA           30339
    FIELDWORK DALLAS INC                                                   15305 DALLAS PKWY # 850                                                                     ADDISON                TX           75001
    FIELDWORK LOS ANGELES                                                  2030 MAIN STREET STE 300                                                                    IRVINE                 CA           92614
    FIESER MARY                                                            27 PINEHURST ROAD                                                                           BELMONT                MA           02478
    FIFE SCHOOL DISTRICT NO 417                                            5802 20 ST E                                                                                TACOMA                 WA           98424-2000
    FIFI OSCARD AGENCY                                                     110 WEST 40TH STREET              21ST FLOOR                                                NEW YORK               NY           10018
    FIFI OSCARD AGENCY INC                                                 110 WEST 40TH STREET SUITE 704                                                              NEW YORK               NY           10018
    FIGMENT LLC                                                            118 EAST 64TH ST - GROUND FL                                                                NEW YORK               NY           10065
    Figueroa, Orlando                       Lord Securities Corporation    48 Wall Street                    27th Floor                                                New York               NY           10005
    Figueroa, Orlando
    Fihry Karmadi                                                          286 Grove St                      Apt 8                                                     Auburndale             MA           02466
    FIKRET SENSES                           MIDDLE EAST TECH UNIV          ECONOMICS DEPT                                                                              ANKARA                              06531        Turkey
                                                                                                             INTERNATIONAL COPYRIGHT
    FILIP FLORIAN                                                          STR BANUL ANTONACHE 37            AGENCY SRL                          ATTN SIMONA KESSLER   BUCHAREST 1                         11663        Romania
    FILLMORE CENTRAL ISD 2198                                              P O BOX 599                                                                                 HARMONY                MN           55939
    FILM PRODUCTS DIVISION                                                 712 W WINTHROP AVE                                                                          ADDISON                IL           60101
    Filomena Gabriel                                                       32 Robinhood Lane                                                                           Billerica              MA           01821
    FINANCIAL EXECUTIVES
    INTERNATIONAL                                                          PO BOX 10408                                                                                NEWARK                 NJ           07193-0408

    FINE ART PROMOTIONS INC       DBA THE GALLERY OF SPORTS ART            14970 W WOODVIEW CT                                                                         NEW BERLIN             WI           53151-2390
    FINE HOWARD                                                            14 WILLOWBROOK ROAD                                                                         WHITE PLAINS           NY           10605
    Fine, Richard
    FINEART PHOTOGRAPHY           USE 2-28497                              2314 KENTUCKY AVE                                                                           KENNER                 LA           70062
    FINK LEON R                                                            3430 N ELAINE PLACE                                                                         CHICAGO                IL           60657
    FIONA SLEVIN                                                           31 CHELMSFORD ROAD                                                                          RANELAGH               Dublin       6            Ireland
    FIRE PROTECTION COMPANY                                                12828 S RIDGEWAY                                                                            ALSIP                  IL           60803-1529
    FIREBRAND BOOKS                                                        2232 SOUTH MAIN STREET-#272                                                                 ANN ARBOR              MI           48103
    FIREBRAND LITERARY LLC                                                 3511 DRIFT COURT                                                                            BETHLEHEM              PA           18020
    FIRETECH LLC                                                           1353 BAUR BLVD                                                                              OLIVETTE               MO           63132
    FIRETRONICS INC                                                        P O BOX 162286                                                                              ALTAMONTE SPRINGS      FL           32716
    FIRST ADVANTAGE HIRING
    SOLUTIONS GROUP                                                        9800 CROSSPOINT BLVD STE 300                                                                INDIANAPOLIS           IN           46256
    FIRST BAPTIST CHURCH ORLANDO
    INC                           ATTN DIANE GORDON - 7TH FLOOR            ELC 445 W AMELIA                                                                            ORLANDO                FL           32801
    FIRST BOOK                                                             1319 F STREET NW STE 1000                                                                   WASHINGTON             DC           20004-1155
    FIRST DISTRICT RESA                                                    P O BOX 780                                                                                 BROOKLET               GA           30415
    FIRST ELECTRIC SUPPLY COMPANY
    LLC                                                                    P O BOX 6069-DEPT 125                                                                       INDIANAPOLIS           IN           46206-6069
    FIRST HAND LEARNING INC                                                2495 MAIN ST SUITE 559                                                                      BUFFALO                NY           14214
    FIRST IMPRESSION PRINTING                                              4109 JACKSON RD                                                                             ANN ARBOR              MI           48103-1827
    FIRST LIGHT ASSOC
    PHOTOGRAPHERS                                                          9 DAVIES AVENUE STE 410                                                                     TORONTO                ON           M4M 2A6      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                     151 of 488                                                                                                        1:26 PM
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                                                                                                               Pg Creditor
                                                                                                                   159 Matrix
                                                                                                                           of 519
                                                                                                                        First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                           Address2                            Address3                    City           State       Zip               Country
    FIRST LINE SCHOOL                                                          2319 VALANCE STREET                                                                                   NEW ORLEANS       LA           70115
                                            FORMERLY BOSTON ADULT
    FIRST LITERACY                          LITERACY FUND                      160 BOYLSTON STREET                                                                                   BOSTON            MA           02116
    First Penn-Pacific Life Ins.                                               PO Box 5927                                                                                           Carol Stream      IL           60197-5927
    FIRST PENN-PACIFIC LIFE
    INSURANCE CO                                                               P O BOX 21008                                                                                         GREENSBORO        NC           27420
    FIRST PHILADELPHIA CHART SCH
    FOR                                     LITERACY                           4300 TACONY ST                                                                                        PHILADELPHIA      PA           19124
    FIRST QUALITY MAINTENANCE, LP           ATTN BOX 500                       70 WEST 36TH STREET                                                                                   NEW YORK          NY           10018

    FIRST UNITED METHODIST CHURCH                                              900 S SHORELINE BLVD                                                                                  CORPUS CHRISTI    TX           78401
    FIRST-SHRED LLC                                                            2081 HUTTON DR, STE 206         ATTN ACCOUNTS RECEIVABLE                                              CARROLLTON        TX           75006

    FISCHBEIN LLC                           DBA FLEXIBLE MATERIAL HANDLING PO BOX 534756                                                                                             ATLANTA           GA           30353-4756
    Fish, Larry
    Fish, Larry                                                                33 Arch Street                  31st Floor                                                            Boston            MA           02110
    FISHCO VIVIAN VICK                                                         1876 PARADISE LANE                                                                                    PRESCOTT          AZ           86305
    FISHER ANNE LOUISE                                                         134 PORTLAND ROAD                                                                                     LONDON                         W11 4LX      United Kingdom
    FISHER ROGER                            C/O DALLAS GALE                    9 BOWSER ROAD                                                                                         LEXINGTON         MA           02420
    FISHNET SECURITY INC                                                       3701 SOLUTIONS CENTER                                                                                 CHICAGO           IL           60677-3007
    FISK ELECTRIC COMPANY                                                      1617 W CROSBY RD STE 120                                                                              CARROLLTON        TX           75006
    FITCH INC                               FITCH RATINGS                      P O BOX 13794                                                                                         NEWARK            NJ           07188-3794
    FITCH JAMES MARSTON                                                        61 JANE ST - APT 16-P                                                                                 NEW YORK          NY           10014
    FITZGERALD SHENNA                                                          1934 LAZY Z RD                                                                                        NEDERLAND         CO           80466
    FITZHENRY & WHITESIDE LIMITED                                              195 ALLSTATE PARKWAY                                                                                  MARKHAM ON                     L3R 4T8      Canada
    FITZHENRY & WHITESIDE LIMITED                                              195 ALLSTATE PARKWAY                                                                                  MARKHAM           ONTARIO      L3R 4T8      Canada
    FITZROY BARRETT                                                            26532 BEECHER LANE                                                                                    STEVENSON RANCH   CA           91381
                                                                                                                                                   Acct Five Hundred Boylston West
    Five Hundred Boylston West Venture      RE 500 Boylston Street, FL 3,4,5   Jodi Winkler                    PNC Bank, 500 First Ave.,           Venture                           Pittsburgh        PA           15219
    FIVE HUNDRED BOYLSTON WEST
    VENTURES                                DEPARTMENT 12993                   P O BOX 842767                                                                                        BOSTON            MA           02284

    FIVE STAR SPEAKERS & TRAINERS                                              7500 COLLEGE BLVD STE 775                                                                             OVERLAND PARK     KS           66210
    FIVE TOWNS COLLEGE                                                         305 NORTH SERVICE ROAD                                                                                DIX HILLS         NY           11746
    FKI LOGISTEX INC                                                           PO BOX 60627                                                                                          CHARLOTTE         NC           28260
    FKI LOGISTEX INC                                                           P O BOX 60843                                                                                         CHARLOTTE         NC           28260-0843
    FLAGLER COUNTY PUBLIC SCHOOL
    DISTRICT                      PO BOX 755                                   1769 E MOODY BLVD BLDG # 2                                                                            BUNNELL           FL           32110
    FLAGSHIP PRESS INC                                                         150 FLAGSHIP DRIVE                                                                                    NORTH ANDOVER     MA           01845

    FLAGSHIP RESORT PROPERTIES SE           DBA VERDANZA HOTEL                 8020 TARTAK STREET                                                                                    CAROLINA          PR           00979
    Flaherty, Joseph
    FLANC                                   C/O DEBRA S MARTIN                 15 ALPINE WAY                                                                                         SWANNANOA         NC           28778
    FLANNERY LITERARY                                                          1140 WICKFIELD CT               ATTN JENNIFER FLANNERY                                                NAPERVILLE        IL           60563
    FLANNERY LITERARY AGY                                                      1140 WICKFIELD COURT                                                                                  NAPERVILLE        IL           60563-3300
    FLASSH COMMUNICATIONS INC               DBA VOZ PUERTO RICO                P O BOX 11278                                                                                         SAN JUAN          PR           00910
    FLATHEAD VALLEY COMMUNITY
    COLLEGE                                 BOOKSTORE                          777 GRANVIEW DRIVE                                                                                    KALISPELL         MT           59901
    FLATONIA ISD                            FLATONIA SECONDARY SCHOOL          519 S MIDDLE ST                                                                                       FLATONIA          TX           78941
    FLEISCHMAN JOHN                                                            932 WENINGER CIRCLE                                                                                   CINCINNATI        OH           45203
    FLEISHMAN HILLARD INC                                                      P O BOX 598                                                                                           ST LOUIS          MO           63188-0598
    FLEMINGS TRANSPORT INC                                                     PO BOX 4310                                                                                           ST CROIX          VI           00851
    FLETCHER & COMPANY LLC                                                     78 FIFTH AVENUE, 3RD FL                                                                               NEW YORK          NY           10011
    FLETCHER AND COMPANY                                                       78 FIFTH AVENUE 3RD FL                                                                                NEW YORK          NY           10011
    FLEX PAC INC                                                               PO BOX 623000                                                                                         INDIANAPOLIS      IN           46262
    FLIAKAS JAMES                                                              16605 LESCOT TERRACE                                                                                  ROCKVILLE         MD           20853
    FLICS SCHOOL FUND                                                          6501 W OUTER DR                                                                                       DETROIT           MI           48235
    FLIES FRANCE EDITIONS                                                      99BIS AV DU GENERAL LECLERC                                                                           PARIS                          75014        France
    FLINT COMMUNITY SCHOOLS                                                    923 E KEARSLEY ST                                                                                     FLINT             MI           48502
    FLINT HILL SCHOOL                                                          3320 JERMANTOWN ROAD                                                                                  OAKTON            VA           22124
    FLOCABULARY LLC                                                            55 WASHINGTON STREET, STE 259                                                                         BROOKLYN          NY           11201
    FLORA JONES                                                                3622 BERMUDA CIRCLE WEST                                                                              AUGUSTA           GA           30909
    FLORA ROBERTS AGENCY                                                       275 SEVENTH AVENUE 26 FLOOR                                                                           NEW YORK          NY           10001

    FLORA VENTURES INC                      DBA SEA MIST INTERIORSCAPES INC 2 EXETER ROAD                                                                                            NEW MARKET        NH           03857
    FLORABEL R TORO-RODRIGUEZ               COND EL BILBAO                  121 CALLE COSTA RICA APT 1104                                                                            SAN JUAN          PR           00917-2517

    FLORENCE F MANN                         DBA ACADEMIC TECHNOLOGY ASSN 161 CHESTNUT STREET                                                                                         LEONIA            NJ           07605
    Florence L Cadran                                                    410 Park Ridge Circle                                                                                       Marietta          GA           30068
    Florence Loia                                                        16 Birchbrook Drive                                                                                         Valhalla          NY           10595



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                       152 of 488                                                                                                              1:26 PM
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                                                                                                                 160 Matrix
                                                                                                                         of 519
                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName               Address1                         Address2              Address3           City           State       Zip      Country
    FLORENCE M JUMONVILLE                                                  7911 BIRCH STREET                                                             NEW ORLEANS       LA           70118
    FLORENCE PARRY HEIDE                                                   7700 THIRD AVENUE                                                             KENOSHA           WI           53143

    FLORENCE UNIFIED SCH DIST CAFE                                         PO BOX 2850                                                                   FLORENCE          AZ           85232
    FLORESCU RADU                                                          48 LADDS WAY                                                                  SCITUATE          MA           02066
    FLORIA MALLOZZI                                                        48 CROSS HILL ROAD                                                            MONROE            CT           06468

    FLORIDA AFTER SCHOOL ALLIANCE                                          P O BOX 20425                                                                 ST PETERSBURG     FL           33742
    FLORIDA ASSOC OF SCH
    PSYCHOLOGISTS                                                          3612 QUAIL RUN ROAD              ATTN JOSHUA LUTZ                             GULF BREEZE       FL           32563
    Florida Associates of School
    Administrators                                                         326 Williams Street                                                           Tallahassee       FL           32303
                                            INSTRUCTIONAL MATERIALS
    FLORIDA ASSOCIATION OF DISTRICT         ADMINISTRATORS                 1400-D N FLORIDA MANGO RD                                                     WEST PALM BEACH   FL           33409
    FLORIDA ASSOCIATION OF DISTRICT
    SCHOOL                                  SUPERINTENDENTS                208 SOUTH MONROE STREET                                                       TALLAHASSEE       FL           32301
    FLORIDA ASSOCIATION OF DISTRICT
    SCHOOL                                  ANGELA FREELAND                208 SOUTH MONROE STREET                                                       TALLAHASSEE       FL           32301
    FLORIDA ASSOCIATION OF SCIENCE
    TCHRS                                   ATTN MARK LEWIS                40 ORANGE ST                                                                  ST AUGUSTINE      FL           32084
    FLORIDA CHARTER SCHOOL
    ALLIANCE                                                               1900 BISCAYNE BLVD STE 201                                                    MIAMI             FL           33132
    FLORIDA CNCL OF ADMNSTRS OF
    SPEC EDU                                ATTN WARD SPISSO               2757 WEST PENSACOLA STREET                                                    TALLAHASSEE       FL           32304
    FLORIDA COUNCIL FOR SOCIAL
    STUDIES                                                                901 38TH AVENUE NE                                                            ST PETERSBURG     FL           33704
    FLORIDA COUNCIL FOR THE SOC             BROWARD CNTY CNCL FOR SOCIAL                                    ATTN MARK QUINTANA - BCCSS
    STUDIES                                 STUDIES                      600 SE 3RD AVE -13TH FL            EXHIBIT CHAIR                                FORT LAUDERDALE   FL           33301
    FLORIDA COUNCIL OF TCHERS OF
    MATHS                                                                  P O BOX 17031                    ATTN CLAIRE RIDDELL                          JACKSONVILLE      FL           32245
    FLORIDA COUNCIL OF TEACHERS
    OF ENGLISH                              KATIE JANE SHYTLE              702 MAGNOLIA PL                                                               WINTER HAVEN      FL           33884
    FLORIDA DEPARTMENT OF                   GENERAL TAX ADMINISTRATION
    REVENUE                                 PROGRAM                        5420 DIPLOMAT CIRCLE                                                          ORLANDO           FL           32839
    Florida Department of Revenue                                          5050 W. Tennessee Street                                                      Tallahassee       FL           32399-0135
    FLORIDA DEPARTMENT OF
    REVENUE                                                                5420 DIPLOMAT CIRCLE                                                          ORLANDO           FL           32839
    FLORIDA DEPT OF FINANCIAL
    SERIVCES                                BUREAU OF UNCLAIMED PROPERTY P O BOX 6350                                                                    TALLAHASSEE       FL           32314-6350
    Florida Dept of Revenue                 Attn Bankruptcy Unit         5050 West Tennessee St                                                          Tallahassee       FL           32399-0100
    FLORIDA DEPT OF REVENUE                                              5050 W TENNESSEE ST                                                             TALLAHASSEE       FL           32399
    FLORIDA DESTINATIONS &
    INCENTIVES INC                                                         9170 OAKHURST ROAD SUITE 3A                                                   SEMINOLE          FL           33776
    FLORIDA DOCUMENT SHREDDING                                             7201 SANDSCOVE COURT SUITE 4                                                  WINTER PARK       FL           32792
    FLORIDA EAST COAST INDUSTRIES
    INC                                     DBA FDG SOUTHPARK 1500 LLC     P O BOX 864618                                                                ORLANDO           FL           32886-4618
    FLORIDA EAST COAST INDUSTRIES
    INC                                     DBA FDG SOUTHPARK 1300 LLC     P O BOX 864618                                                                ORLANDO           FL           32886-4618
                                            FLORIDA CHARTER SCHOOL
    FLORIDA EDUCATION FOUNDATION            CONFERENCE                     325 WEST GAINES STREET RM 1524                                                TALLAHASSEE       FL           32399
    FLORIDA HUMAN RESOURCES
    DEVELOP INC                             NHRD/MAEPD                     1431 BIRD ROAD                                                                WINTER SPRINGS    FL           32708
    FLORIDA LEAGUE OF MIDDLE SCH                                           600 S E THIRD AVENUE 13TH FLR                                                 FT LAUDERDALE     FL           33301
    FLORIDA LEAGUE OF MIDDLE
    SCHOOLS                                 CATHY EGLEY                    180 GRAY DOVE COURT                                                           DAYTONA BEACH     FL           32119
    FLORIDA LITERACY COALITION INC          ATTN EXHIBITORS                250 N ORANGE AVENUE STE 1110                                                  ORLANDO           FL           32801
    FLORIDA MARKING PRODUCTS INC                                           555 DOG TRACK ROAD                                                            LONGWOOD          FL           32750
    FLORIDA PARENT EDUCATORS                                                                                2010 FPEA FLORIDA HOMESCH
    ASSOCIATION                                                            255 EAST DRIVE, STE H            CONVENTION                                   MELBOURNE         FL           32904
    FLORIDA READING ASSOCIATION             ATTN EVAN LEFSKY               6012 TREMAYNE DRIVE                                                           MOUNT DORA        FL           32757
    FLORIDA SCH BOOK DEPOSITORY

    FLORIDA SPORTS NEWS INC                 DBA SUNSHINE SPORTS MARKETING P O BOX 14426                                                                  GAINESVILLE       FL           32604
    FLORIDA STATE UNIV FOUNDATION
    INC                                                                    116 HONORS WAY STE 314                                                        TALLAHASSEE       FL           32306
    FLORIDA STATE UNIVERSITY                                               A2200 UNIVERISTY CENTER                                                       TALLAHASSEE       FL           32306-2390
    Florida U.C. Fund                       Unemployment Tax-Florida DOR   5050 W. Tennessee Street                                                      Tallahassee       FL           32399-0180
    FLORIDIANS FOR QUALITY                  DBA FLORIDIANS FOR QUALITY
    EDUCATION                               EDUCATION CCE                  215 S MONROE ST                                                               TALLAHASSEE       FL           32301
    FLOWERFIRE INC                                                         125 WATER STREET, STE A1                                                      SANTA CRUZ        CA           95060



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                  153 of 488                                                                              1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                161 Matrix
                                                                                                                        of 519
                                                                                                                      First Class Service List


               CreditorName                           CreditorNoticeName                Address1                           Address2              Address3             City             State       Zip               Country
    FLOWERS BY LESLIE                                                      801 ISLINGTON STREET UNIT #22                                                    PORTSMOUTH           NH            03801
    Floy Rockwell                                                          38531 RD 719                     BOX 506                                         MCCOOK               NE            69001
    FLOYD COOPER                                                           938 HEATHER LANE                                                                 EASTON               PA            18040
    Floyd Townsend                                                         17867 Woods Drive                                                                Boonville            MO            65233
    FLUENT BUSINESS SOLUTIONS INC                                          9000 SHERIDAN ST STE 2A                                                          FORT LAUDERDALE      FL            33024
    FLYNN BARBARA                                                          1529 WILMETTE AVE                                                                WILMETTE             IL            60091
    FLYNN DRILLING CO INC                                                  P O BOX 265                                                                      TROY                 MO            63379
    FOCUS GROUPS OF CLEVELAND                                              2 SUMMIT PARK DRIVE SUITE 225                                                    CLEVELAND            OH            44131-2574
    Focus Up Holdings Limited
    FOCUS VISION WORLDWIDE                                                 1266 EAST MAIN STREET                                                            STAMFORD             CT            06902-3550
    FOCUSSESSION RESEARCH INC                                              48 SPEIR DRIVE                                                                   SOUTH ORANGE         NJ            07079
    FOER JONATHAN SAFRAN                                                   646 2ND STREET                                                                   BROOKLYN             NY            11215
    FOLEY & LARDNER LLP                                                    P O BOX 2193                                                                     ORLANDO              FL            32802-2193
    Foley Hoag
    FOLEY HOAG LLP                                                         155 SEAPORT BLVD                                                                 BOSTON               MA            02210-2600
                                                                           4524 CURRY FORD ROAD RD, SUITE
    FOLEY SUPPLY CORP                                                      534                                                                              ORLANDO              FL            32812
    FOLEY TRANSPORTATION                                                   321 HAVERHILL STREET                                                             READING              MA            01867
    FOLGER TIM                                                             3617 ZIA DRIVE                                                                   GALLUP               NM            87301
    FOLIAGE DESIGN SYSTEMS                                                 7048 NARCOOSSEE ROAD                                                             ORLANDO              FL            32822

    FOLIO LITERARY MANAGEMENT LLC                                          630 NINTH AVENUE STE 1101                                                        NEW YORK             NY            10036
    Folkert Vankarssen                                                     2707 Equestrian Drive                                                            York                 PA            17402
    FOLKLORE INC                                                           1671 APPLAN WAY                                                                  SANTA MONICA         CA            90401

    FOLKWAYS MUSIC PUBLISHERS INC                                          266 WEST 37TH STREET 17TH FL                                                     NEW YORK             NY            10018
    Follett                                                                PO Box 3668                                                                      Oak Brook            IL            60522
    FOLLETT EDUC SERVICE
    FOLLETT EDUCATION SERVICES                                             P O BOX 98581                                                                    CHICAGO              IL            60693-8581
    FOLLETT SOFTWARE COMPANY      C/O BANK OF AMERICA                      91826 COLLECTION CENTER DRIVE                                                    CHICAGO              IL            60693
    Follett Store #665 at SUNY                                             75 South Manheim Blvd.                                                           New Paltz            NY            12561
    Folletts Univ of IL Bookstore                                          4900 Shepherd Road               PAC 122                                         Springfield          IL            62703
    FOLSOM CORDOVA SCHOOL
    DISTRICT                      CORDOVA MEADOWS ELEMENTARY               2550 LA LOMA DRIVE                                                               RANCHO CORDOVA        CA           95670
    FOND DU LAC SCHOOL DIST                                                72 WEST 9TH STREET                                                               FOND DU LAC           WI           54935
    FONDATION DE FRANCE                                                    40 AVENUE HOCHE                                                                  PARIS                              75008        France
                                                                                                                                                            AIX-EN-PROVENCE CEDEX
    FONDATION ST JOHN PERSE                                                8110 RUE DES ALLUMETTES          CITE DU LIRRE                                   2                                  13098        France
                                                                           COL BOSQUES DEL PEDREGAL,
    FONDO DE CULTURA ECONOMICA                                             DELEG                            CARRETERA PICACHO/AJUSCO 227                    TLALPAN              DF            14738        Mexico
    FONTBONNE UNIVERSITY                                                   6800 WYDOWN BLVD                 ATTN BETTY GEESER                               ST LOUIS             MO            63105
    FONTIS WATER INC                                                       PO BOX 4005                                                                      MARIETTA             GA            30061
    FOOD MEDIA GROUP LLC                    STAGNITO MEDIA FOOD GROUP      P O BOX 45                                                                       GENEVA               IL            60134-0045
    FOODSTUFF                                                              2106 CENTRAL STREET                                                              EVANSTON             IL            60201
    FOOTAGE SEARCH                                                         300 FOAM STREET                                                                  MONTEREY             CA            93940
    FOOTHILL COLLEGE BOOKSTORE                                             12345 S EL MONTE RD                                                              LOS ALTOS HILLS      CA            94022
    Foothills Academy                                                      4725 Miller Street                                                               Wheat Ridge          CO            80033
    Foppe Creative, Inc.                                                   2019 S. Xenia Way                                                                Denver               CO            80231
    FOR A SMALL FEE INC                                                    628 HUNNS LAKE ROAD              ATTN WENDY BURTON BROUWS                        STANFORDVILLE        NY            12581
    FOR BEGINNERS LLC                                                      155 MAIN ST, STE 201                                                             DANBURY              CT            06810
    Forbes Magazine                                                        PO Box 5471                                                                      Harlan               IA            51593-0971
    FORBES MEDIA LLC                                                       60 FIFTH AVENUE                                                                  NEW YORK             NY            10011
    FORCEY PAMELA C                                                        1331 HECLA DR APT 306                                                            LOUISVILLE           CO            80027
    FORDHAM BUSINESS ADVISORY PTY
    LTD                                                                    GPO BOX 4369                                                                     MELBOURNE            Victoria      03001        Australia
    FORDHAM UNIVERSITY                      NYS BRONX BETAC @ FORDHAM      2536 HUGHES AVENUE                                                               BRONX                NY            10458
    FORDHAM UNIVERSITY                      ATTN MONICA TRIANA             2536 HUGHES AVENUE                                                               BRONX                NY            10458
    FOREIGN LANGUAGE ASSN OF
    MISSOURI                                ATTN JANE ZEISER               1441 COLONIAL DRIVE                                                              ST CHARLES           MO            63304
    FOREIGN LANGUAGE ASSOC OF
    VIRGINIA                                C/O REBECCA MCQUEEN            1591 LINK ROAD                                                                   BEDFORD              VA            24523
    FOREIGN LANGUAGE ASSOCIATION
    OF MAINE                                ATTN MARTY BROOKS              2552 WEST RIVER RD                                                               SIDNEY               ME            04330
    FOREIGN LANGUAGE ASSOCIATION
    OF NC                                                                  12932 SILVAIRE FARM ROAD         ATTN MARA COBE                                  CHARLOTTE            NC            28278
    FOREIGN LANGUAGE EDUCATORS
    OF NJ                                   ATTN MARIA PAPALEO             100 EAST MAIN STREET                                                             LITTLE FALLS         NJ            07424
    FOREIGN LANGUAGE TCHRS OF
    DADE COUNTY                                                            5032 SW 140 CT                   ATTN MARIA SIERRA                               MIAMI                FL            33175
    FORESIGHT DESIGN GROUP INC                                             1212 EAST MT VERNON STREET                                                       ORLANDO              FL            32803



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                     154 of 488                                                                                           1:26 PM
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                                                                                                                Pg Creditor
                                                                                                                    162 Matrix
                                                                                                                            of 519
                                                                                                                    First Class Service List


                 CreditorName                       CreditorNoticeName                     Address1                      Address2                         Address3                          City        State       Zip             Country
                                            DBA FOREST AWARDS &
    FOREST ENTERPRISES INC                  ENGRAVING                       336 E IRVING PARK                                                                                   WOOD DALE          IL           60191
    Forest Hills Public Schools             Business Office                 6590 Cascade Road SE                                                                                Grand Rapids       MI           49546
    FOREST HILLS PUBLIC SCHOOLS                                             1450 FOREST HILLS AVENUE                                                                            GRAND RAPIDS       MI           49546
    FOREST ROBERT                                                           51 PILGRIM ROAD                                                                                     NATICK             MA           01760
    Foreward                                                                129 1/2 E. Front Street                                                                             Traverse City      MI           49684
    FORKLIFTS OF ST LOUIS INC                                               4720 LAGUARDIA                                                                                      ST LOUIS           MO           63134
    FORMAN VICKI                                                            4528 DALERIDGE ROAD                                                                                 LA CANADA          CA           91011
    FORMS HANDLING EQUIP SVC                                                3603 N FAIRVIEW AVE                                                                                 JOHNSBURG          IL           60050-2139
    Forrest Calhoun                                                         2005 Marcola Rd.                 #65                                                                Springfield        OR           97477
    FORRESTER RESEARCH INC                                                  25304 NETWORK PLACE                                                                                 CHICAGO            IL           60673-1253
    Forsa, Bethlam
    FORSYTH COUNTY SCHOOLS                                                  1120 DAHLONEGA HWY               ATTN ANN REID                                                      CUMMING            GA           30040-4536
    FORSYTH ROBERT A                                                        11 HEATHER DRIVE                                                                                    IOWA CITY          IA           52245
    FORSYTH SCHOOL                                                          6235 WYDOWN BLVD                                                                                    SAINT LOUIS        MO           63105
    FORT HILL INVESTMENT PARTNERS
    LLC

    FORT OSAGE R-1 SCHOOL DISTRICT                                          2101 N TWYMAN ROAD                                                                                  INDEPENDENCE       MO           64058

    FORT PIERCE UTILITIES AUTHORITY                                         P O BOX 3191                                                                                        FORT PIERCE        FL           34948-3191
    FORT POINT PROJECT
    MANAGEMENT                                                              308 CONGRESS STREET                                                                                 BOSTON             MA           02210
    FORT TICONDEROGA                                                        FORT ROAD BOX 390                                                                                   TICONDEROGA        NY           12883
    Fort Wayne Community Schools    Attn Bev Stier                          1200 S. Clinton Street                                                                              Fort Wayne         IN           46802
    FORT WAYNE COMMUNITY
    SCHOOLS                                                                 1200 SOUTH CLINTON STREET                                                                           FORT WAYNE         IN           46802
    Fort Wayne Hotel, LLC                                                   PO Box 10653                                                                                        Fort Wayne         IN           46853-0653
    FORT WORTH COUNTY DAY
    SCHOOL                                                                  4200 COUNTRY DAY LN                                                                                 FORT WORTH         TX           76109
    FORT WORTH HUMAN RESOURCE
    MNGMT                           ASSOCIATION                             P O BOX 100184                                                                                      FORT WORTH         TX           76185-0184

    FORT WORTH ZOOLOGICAL ASSOC                                             1989 COLONIAL PKWY                                                                                  FORT WORTH         TX           76110
    FORTUNAS INTERNATIONAL PTY              LEVEL 1 STE 3-102 TOORAK ROAD   P O BOX 9013                                                                                        STH YARRA                       03141        Australia
    FORTUNATO PHOTOGRAPHY                   JOHN FORTUNATO                  30 BROOKRIDGE AVE                                                                                   EASTCHESTER        NY           10709
                                                                            1271 AVE OF THE AMERICAS, 14-
    FORTUNE MAGAZINE                                                        303C                                                                                                NEW YORK           NY           10020
    FORTUNE MAGAZINE                                                        1271 SIXTH AVE - RM 14-407                                                                          NEW YORK           NY           10020
    Foster and Foster                                                       1401 Wonder Way                                                                                     Fairfield          IA           52556
    FOSTER ELEMENTARY SCHOOL                                                1800 TRAILWOOD VILLAGE DRIVE                                                                        KINDWOOD           TX           77339
    FOSTER GERALD L                                                         141 SOUTH GREAT RD.                                                                                 LINCOLN            MA           01773
    FOSTER JOANNA                                                           97 WINDWARD LANE                                                                                    BRISTOL            RI           02809
    FOSTER PRINTING SERVICE INC                                             4295 OHIO ST                                                                                        MICHIGAN CITY      IN           46360
    FOSTER READING CENTER                                                   1000 GROVE STREET                                                                                   EVANSTON           IL           60201
    FOSTER STEVEN                                                           P O BOX 191                                                                                         EUREKA SPRINGS     AR           72632
    FOSTER SUSAN MEDDAUGH                                                   56 MAPLE ST                                                                                         SHERBORN           MA           01770

    FOTOLIA LLC                                                             41 EAST 11TH STREET 11TH FLOOR                                                                      NEW YORK           NY           10003
    FOUNDATION FOR CENTRAL
    SCHOOLS                                                                 4605 NORTH POLK AVENUE                                                                              FRESNO             CA           93722
    FOUNDATION FOR EDUCATIONAL              ADMINISTRATION                  1575 BAYSHORE HIGH WAY                                                                              BURLINGAME         CA           94010
    FOUNDATION FOR EXCELLENCE IN            EDUCATION                       P O BOX 10691                                                                                       TALLAHASSEE        FL           32302
    FOUNDATION FOR NEW EDUC                                                                                  ATTN DIANA VENTURINI - MIAMI-
    INITIATIVES INC                                                         1450 NE SECOND AVENUE STE 776    DADE CPS                                                           MIAMI              FL           33132
    FOUNDATION FOR OCPS                                                     445 W AMELIA STREET STE 901                                                                         ORLANDO            FL           32801
    FOUNDATION FOR OSCEOLA EDUC
    INC                                                                     817 BILL BECK BOULEVARD                                                                             KISSIMMEE          FL           34744-4492
    FOUNDATION FOR RURAL EDUC
    EXCELLENCE                                                              P O BOX 756                      ATTN ANNA                                                          PALATKA            FL           32178
    FOUNDATION FOR THE LINCOLN              PUBLIC SCHOOLS                  5901 O STREET                                                                                       LINCOLN            NE           68510
    FOUNDATION OF THE ROMAN
    CATHOLIC                                DIOCESE OF BUFFALO              795 MAIN STREET                  ATTN SUSAN BURNS                                                   BUFFALO            NY           14203
    FOUNDATION OF THE WORKS OF                                                                                                                 PAUL & PETER FRITZ AG LITERARY
    CG JUNG                                                                 JUPITERSTRASSE 1 POSTFACH 1773                                     AGENCY                           ZURICH                          CH-8032      Switzerland

    FOUNDATION SYSTEMS GROUP LLC                                            P O BOX 863                                                                                         VERNON             CT           06066
    FOUNDATION TO ADVANCE                                                   2600 CORPORATE EXCHANGE DR
    CHILDHOOD EDUC                                                          STE 168                                                                                             COLUMBUS           OH           43231
    FOUNDRY LITERARY + MEDIA LLC                                            33 WEST 17th ST PH                                                                                  NEW YORK           NY           10011



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                   155 of 488                                                                                                            1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                163 Matrix
                                                                                                                        of 519
                                                                                                                   First Class Service List


              CreditorName                            CreditorNoticeName               Address1                       Address2                           Address3               City        State       Zip            Country
    FOUNTAIN PUBLISH RSRCE                                                 352 BERMUDA COURT               ATTN M MCCARTY COHEN                                     VENICE             FL           34293
    FOUNTAS IRENE                                                          165 CLIFTON STREET                                                                       BELMONT            MA           02478

    FOUR LAKES COLORGRAPHICS INC                                           4230 ARGOSY COURT                                                                        MADISON            WI           53714
    FOUR RIVERS SMOKEHOUSE                                                 2103 W FAIRBANKS AVENUE                                                                  WINTER PARK        FL           32789
    FOUR SEASONS GREENERY LLC                                              P O BOX 290028                                                                           BOSTON             MA           02129
    Four Seasons Hotel                                                     75 Fourteenth St NE                                                                      Atlanta            GA           30309
    Four Seasons Hotel Austin                                              98 San Jacinto Blvd                                                                      Austin             TX           78701
    Fox Associates                                                         116 W. Kinzie Street                                                                     Chicago            IL           60654
    FOX ASSOCIATES INC                                                     116 W KINZIE ST                                                                          CHICAGO            IL           60654
    FOX CHASE AGENCY INC                                                   701 LEE ROAD SUITE 102                                                                   CHESTERBROOK       PA           19087
    FOX MARCELLA F                                                         240 GAYLORD STREET                                                                       DENVER             CO           80206
    FOX MEADOW MEDIA                        SUSAN DANZIGER                 408 MAMARONECK AVENUE                                                                    MAMARONECK         NY           10543
    FRA CONFERENCE                                                         4041 HAWS LANE                                                                           ORLANDO            FL           32814
    FRADIN BLOOM JUDITH                                                    2121 DOBSON STREET                                                                       EVANSTON           IL           60202
    FRADIN DENNIS                                                          2121 DOBSON ST                                                                           EVANSTON           IL           60202-3619
    Fran Creamer                                                           2 Marsden Court                                                                          Seekonk            MA           02771
    Fran Jarvis                                                            371 Foster Road                                                                          Tewksbury          MA           01876
    FRANCELIA M T SEVIN                     DBA EDUCATION EDITOR LLC       235 E RIVER DRIVE STE 707                                                                EAST HARTFORD      CT           06108
    Frances C Mcelhiney                                                    14740 Blackie Lane                                                                       Marion             IL           62959
    FRANCES COLLIN LIT AGENCY                                              PO BOX 33                                                                                WAYNE              PA           19087-0033
    FRANCES COLLIN LITEARY AGENT                                           P O BOX 33                                                                               WAYNE              PA           19087-0033

    FRANCES COLLIN, LITERARY AGENT                                         P.O. BOX 33                                                                              WAYNE              PA           19087-0033
    FRANCES FLOURNOY                                                       PO BOX 329                                                                               HOMER              LA           71040-0329
    FRANCES GIPSON                                                         2785 WOODWARDIA DRIVE                                                                    LOS ANGELES        CA           90077
    FRANCES GOLDIN LIT AGENCY                                              57 E 11TH STREET STE 5B         ATTN SAM STOLOFF                                         NEW YORK           NY           10003
    FRANCES GOLDIN LITERARY
    AGENCY INC                     57 EAST ELEVENTH ST                     SUITE 5B                                                                                 NEW YORK           NY           10003-4605
    FRANCES GOLDIN LITERARY
    AGENCY INC                                                             305 EAST 11TH STREET STE 5B                                                              NEW YORK           NY           10003
    FRANCES GOLDIN LITERARY
    AGENCY INC                                                             SUITE 5B                                                                                 NEW YORK           NY           10003-4605
    Frances J Mcbride                                                      2786 W Marcus Rd                3960 South                                               West Valley City   UT           84119
    Frances Jessic Fisher-Willson                                          P. O. Box 380362                                                                         Cambridge          MA           02238
    Frances L Walsh                                                        1 Garden Brook Rd Po Box 65                                                              Pinehurst          MA           01866
                                                                           URB BORINQUEN VALLEY CALLE
    FRANCES LEBRON VEGA                                                    MOLINILLO 127                                                                            CAGUAS             PR           00725
    FRANCES LINCOLN PUBLISHERS
    LTD                                                                    4 TORRIANO MEWS, TORRIANO AVE                                                            LONDON                          NW5 2RZ      United Kingdom

    FRANCES LINCOLN, LTD                                                   4 TORRIANO MEWS, TORRIANO AVE                                                            LONDON                          NW5 2RZ      United Kingdom
    Frances M Hutcheson                                                    18644 FLORAL                                                                             LIVONIA            MI           48152
    Frances Massey                                                         PO Box 665                                                                               Kennebunkport      ME           04046
    Frances N Reilly                                                       470 CR 254                                                                               Georgetown         TX           78633
    Frances Nachand-Crabtree                                               925 North Highway A1A         Vizcaya Oceanfront #306                                    Indialantic        FL           32903
    Frances Needham                                                        31 Agawam Road                                                                           Marstons Mills     MA           02648
    Frances Sampson                                                        7629 TERRY STREET                                                                        COLUMBIA           SC           29209
    FRANCES W STRAW                                                        6311 LOVELACE ROAD SE                                                                    ALBUQUERQUE        NM           87108
    Frances Walsh                                                          PO Box 65                                                                                Pinehurst          MA           01866
    FRANCESCA ELESA KARLE                                                  13 TOWNSHIP ROAD 1484                                                                    CHESAPEAKE         OH           45619
    FRANCHESKA VAZQUEZ FLORES               CL EMMANUELLI # 214            URB DAVILA Y LLENZA APT 1A                                                               SAN JUAN           PR           00917
    FRANCHISE TAX BOARD                     STATE OF CALIFORNIA            PO BOX 942867                                                                            SACRAMENTO         CA           94267-0011
    FRANCHISE TAX BOARD                                                    P O BOX 942857                                                                           SACRAMENTO         CA           94257
    FRANCINE BROWN                                                         8807 WILD DUNES DRIVE                                                                    SARASOTA           FL           34241
    Francis Anderson                                                       1222 Ridgewood Street                                                                    Orlando            FL           32803
    FRANCIS EMORY FITCH INC                 DBA FITCH GROUP                229 W 28TH ST 9TH FL                                                                     NEW YORK           NY           10001
    FRANCIS J GARDELLA                                                     30 YORK TOWN ROAD                                                                        E BRUNSWICK        NJ           08816
    FRANCIS MATEO                                                          ONE SICKLES STREET C14                                                                   NEW YORK           NY           10040
    FRANCIS R ARCURI                                                       69 PEACH RD                                                                              POUGHKEEPSIE       NY           12601
    Francis Sherry                                                         P.O. Box 1332                                                                            Sagamore Beach     MA           02562
    Francis W Hartman Jr.                                                  355 N. Van Nortwick Ave.                                                                 Batavia            IL           60510
    FRANCISCA JORGENSEN                                                    7409 HOGARTH STREET                                                                      SPRINGFIELD        VA           22207
    FRANCISCAN UNIVERSITY OF
    STEUBENVILLE                                                           1235 UNIVERSITY BLVD                                                                     STEUBENVILLE       OH           43952
    FRANCISCO ALARCON                                                      1712 ALBION PLACE                                                                        DAVIS              CA           95618
    FRANCISCO ALOMAR TORRES                                                P O BOX 2131                                                                             SALINAS            PR           00751
    Francisco Cortazar                                                     1305 Hill St                                                                             Grapevine          TX           76051
    FRANCISCO JAVIER ERIZE                                                 RODRIGUEZ PENA 1882 6TH FL B                                                             BUENOS AIRES                    01021        Argentina
    FRANCISCO JIMENEZ                                                      500 EL CAMINO REAL              MODERN LANGUAGES AND LIT           SANTA CLARA UNIV      SANTA CLARA        CA           95053



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                  156 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  164 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2                        Address3                  City        State       Zip            Country

    FRANCISCO MUNGUIA VILLALTA                                             500 SUR DE IGLESIA DE GUADALUPE                                                          GUADALUPE SAN JOSE                              Costa Rica
    Francisco Paulino                                                      5509 Rearn Dr                                                                            The Colony            TX           75056
    Francisco Ramirez                                                      1106 Summit Ave                                                                          Aurora                IL           60505
    Francoise Lavitsky                                                     22 Cleveland Avenue             #1                                                       Woburn                MA           01801
    FRANCOTYP-POSTALIA INC                  DBA FP MAILING SOLUTIONS       P O BOX 4510                                                                             CAROL STREAM          IL           60197-4510
                                            DBA PURCELL INTERNATIONAL
    FRANK A PURCELL INC                     GROUP                          9635 GRANITE RIDGE DR, STE 120                                                           SAN DIEGO             CA           92123
    FRANK ASCH                                                             277 SPRUCE KNOB ROAD                                                                     MIDDLETWN SPG         VT           05757
    Frank Atkinson                                                         6189 168th Pl SE                                                                         Bellevue              WA           98006
    FRANK BURES                                                            4315 NOKOMIS AVENUE SOUTH                                                                MINNEAPOLIS           MN           55406
                                   ATTN SHIRLEY A CRAIGHEAD,
    FRANK C CRAIGHEAD LIVING TRUST TRUSTEE                                 PO BOX 156                                                                               MOOSE                 WY           83012
    Frank Crittenden                                                       1238 W. 90th St.                 2nd Floor                                               Chicago               IL           60620
    FRANK DAVID                                                            604 CHERRY AVE                                                                           BIG RAPIDS            MI           49307
    FRANK DRIGGS                                                           19 CHARLTON ST                                                                           NEW YORK              NY           10014
    Frank Eastman                                                          5006 OLD BRIDGEVIEW LN                                                                   CHARLESTON            SC           29403-6810
    FRANK EASTMAN                                                          5006 OLD BRIDGEVIEW LANE         LLC                                                     CHARLESTON            SC           29403
    Frank Ellsworth                                                        45 Centre St                                                                             Dover                 MA           02030
    FRANK GONZALEZ CRUSSI                                                  2626 N LAKEVIEW AVE              APT 3508                                                CHICAGO               IL           60614
    Frank H Carlton                                                        P.O.Box 758                                                                              Adairsville           GA           30103
    FRANK HILLARY                                                          18 TRINITY PLACE APT 2                                                                   MONTCLAIR             NJ           07042
    FRANK HUBERT                                                           403 DUKE LANE                                                                            KUNKLETOWN            PA           18058
    Frank Johnson                                                          165 Autumn Moon Trail                                                                    Fayetteville          GA           30215
    FRANK KATHERINE                DAMPIER HOUSE                           DAMPIER STREET                                                      LEEK STAFFORDSHIRE   Staffordshire                      ST135PF      United Kingdom
    FRANK KEATING                                                          101 CONSTITUTION AVE NW          ACLI SUITE 700                                          WASHINGTON            DC           20001
    Frank Kolarik                                                          15 Whitney Road                                                                          Shirley               MA           01464
    FRANK LANE PICTURE AGENCY
    LIMITED                        PAGES GREEN HOUSE                       WETHERINGSETT                                                                            STOWMARKET            Suffolk      IP14 5QA     United Kingdom
    Frank Luksa                                                            1604 Washington St                                                                       Evanston              IL           60202
    FRANK M WATENPAUGH JR                                                  7960 CINNABAR DRIVE                                                                      LA MESA               CA           91941-6353
    FRANK MORGAN ASSOCIATES INC                                            1161 KIMSTIN CT                                                                          BLUE SPRINGS          MO           64015
    Frank Muschal                                                          4325 West George                                                                         Chicago               IL           60641
    Frank OBrien                                                           2405 Emily Lane                                                                          Elgin                 IL           60124
    Frank Robles                                                           1504 Diamond Creek Ct                                                                    Lewisville            TX           75067
    FRANK S BALTHIS                                                        P O BOX 255                                                                              DAVENPORT             CA           95017
    FRANK SARGESON TRUST                                                   50 LAKE ROAD                                                                             DEVONPORT             Auckland                  New Zealand
    FRANK SERAFINI                                                         19475 N GRAYHAWK DR UNIT 1095                                                            SCOTTSDALE            AZ           85255
    FRANK SMITH                                                            2385 TRYON ROAD                                                                          SIDNEY                BC           V8L 5H8      Canada
    Frank Smith                                                            3408 Mokelumne Court                                                                     Modesto               CA           95354
    FRANK SOBIERAJSKI                                                      11050 SHORTCUT ROAD                                                                      CATO                  NY           13033
    Frank Sokolowski                                                       11 Santa Maria Dr                                                                        Novato                CA           94947
    FRANK STURGES REP                                                      142 W WINTER STREET                                                                      DELAWARE              OH           43015
    FRANK WANG                                                             5237 SKY LAKE DRIVE                                                                      PLANO                 TX           75093
    FRANKEL MERRELL                                                        1919 NORTH BEVERLY GLEN                                                                  LOS ANGELES           CA           90077
    FRANKFURTER BUCHMESSE                                                  POSTFACH 100116                                                                          FRANKFURT                          60001        Germany
    FRANKLIN AYERS                                                         1100 STANTON SHADOW LN                                                                   APOPKA                FL           32712
    FRANKLIN CHRIS WARE                                                    137 SOUTH HUMPHREY                                                                       OAK PARK              IL           60302

    FRANKLIN CLEANING EQUIPMENT & SUPPLY COMPANY                           5116 BUTLER PIKE                                                                         PLYMOUTH MEETING      PA           19462
    Franklin Covey                                                         P.O. Box 25127                                                                           Salt Lake City        UT           84125-0127
    FRANKLIN COVEY                                                         P. O. BOX 31456                                                                          SALT LAKE CITY        UT           84131-0456
    FRANKLIN INDEPENDENT SCHOOL
    DISTRICT                                                               P O BOX 909                                                                              FRANKLIN              TX           77856

    FRANKLIN J VODOLO                       DBA FJ VODOLO & ASSOCIATES LLC 604 RENNER ROAD                                                                          PORT ORANGE           FL           32127-1140
    FRANKLIN L SMITH                                                       5413 VIRGINIA TECH COURT                                                                 VIRGINIA BEACH        VA           23455
    FRANKLIN L SMITH AND                    DBA F L SMITH AND ASSOCIATES
    ASSOCIATES LLC                          LLC                            5413 VIRGINIA TECH CT                                                                    VIRGINIA BEACH        VA           23455
    FRANKLIN MINT FEDERAL CREDIT
    UNION                                   FOUNDATION                     1974 SPROUL ROAD STE 300                                                                 BROOMHALL             PA           19008
    Franklin Smith                                                         5413 Virginia Tech Court                                                                 Virginia Beach        VA           23455
    FRANKLIN STREET PROPERTIES
    CORP                                    DBA FSP 909 DAVIS STREET LLC   P O BOX 845086                                                                           BOSTON                MA           02284-5086
    Franklin T Dunham                                                      3914 Maple Manor Dr.                                                                     Indianapolis          IN           46237
                                            DBA FRANKLIN VIOLA
    FRANKLIN VIOLA                          PHOTOGRAPHY                    4702 BLAND ST                                                                            SEABROOK              TX           77586
    FRANKLIN W OLIN COLLEGE OF              STUDENTS ACCOUNTS AND
    ENGINEERING                             RECORDS CENTER                 1000 OLIN WAY                                                                            NEEDHAM               MA           02492
    FRANKLIN WATTS, INC.                                                   95 MADISON AVENUE                                                                        NEW YORK              NY           10016



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                   157 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
                                                                                                                     Entered
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                                                                                                            Pg Creditor
                                                                                                                165 Matrix
                                                                                                                        of 519
                                                                                                                 First Class Service List


                CreditorName                          CreditorNoticeName               Address1                       Address2                        Address3                   City        State       Zip            Country
    FRANKLIN WEINRIB RUDELL &
    VASSALLO PC                                                            488 MADISON AVENUE 18TH FL                                                                 NEW YORK          NY           10022
    Franklin, Weinrib, Rudell & Vassallo
    FRANKLYN A TAVAREZ                                                     C/ FRANCIA 407                                                                             HATO REY          PR           00919
    FRANS LANTING INC                                                      207 MCPHERSON STREET SUITE D                                                               SANTA CRUZ        CA           95060
    FRASCONI ANTONIO                                                       26 DOCK ROAD                                                                               NORWICH           CT           06854
    FRAZE PATRICIA R                                                       1200 BRIDLE ESTATES DRIVE                                                                  YARDLEY           PA           19067
    Fred Anderson                                                          105 Cayuga Cove                                                                            Lake Kiowa        TX           76240
    Fred C Bosco                                                           4241 Mathewson Drive NW                                                                    Washington        DC           20011
    Fred Conte                                                             7641 West Gunnison                                                                         Norridge          IL           60706
    FRED COURTRIGHT                                                        47 SENECA ROAD PO BOX 604                                                                  MOUNT POCONO      PA           18344
                                            DBA ESPENAK SCIENCE
    FRED ESPENAK                            PHOTOJOURNALISM                PO BOX 141                                                                                 TRACYS LANDING    MD           20779
    Fred Finch                                                             427 Chase Plantation                                                                       Birmingham        AL           35244
    FRED GENESEE                                                           1955 BAILE ST                                                                              MONTREAL          QC           H3H 1P6      Canada
    Fred Lorenz                                                            1108 Carriage lane                                                                         Schaumburg        IL           60193
    Fred Pryor Seminars                                                    PO Box 219468                                                                              Kansas City       MO           64121-9468
    Fred Pryor Seminars                                                    P.O. Box 410498                                                                            KANSAS CITY       MO           64141-0498
    FRED R HIGHT                            DBA NEW HIGHT PHOTOGRAPHY      9905 ESTATE LN                                                                             DALLAS            TX           75238-2130
    FRED REHER                              DBA INLAND EMPIRE SECURITY     4382-A BROOKS ST                                                                           MONTLCLAIR        CA           91763
    FRED WOLFF                                                             126 HIGH RD                                                                                LEE               NH           03824-6201
    Freda Alexander                                                        12 Malcolm Road                                                                            Cambridge         MA           02138
    Freda M Ryan                                                           92 Roosevelt Street                                                                        St. Charles       IL           60174
    Freda Ryan                                                             92 Roosevelt Street                                                                        St. Charles       IL           60174
    Freda Sluss                                                            103 Arbor View Court                                                                       Woodstock         GA           30188
    FREDDIE L RENFRO                                                       1019 LAKE COUNTRY DRIVE                                                                    SEABROOK          TX           77586
    Freddie S Rawls                                                        5919 Colchester Place                                                                      Charlotte         NC           28210
    FREDDY TRIANA                                                          402 ROBINREAU RD                                                                           SYRACUSE          NY           13207
    FREDERI AICKEN                                                         4 THE RYDE HATFIELD                                                                        HERTS                          AL9 5DH      United Kingdom
    FREDERIC B DENNIS                                                      1 MARTINDALE ROAD                                                                          GREENWICH         CT           06830
    FREDERIC COOPER                                                        75 ALTA RD                      CENTER FOR ADVCD STUDY IN        BEHAVIORAL SCIENCES       STANFORD          CA           94305
    FREDERIC PRINTING COMPANY               DBA CGX PUBLISHING SOLUTIONS   14701 E 38TH AVE                                                                           AURORA            CO           80011
    FREDERIC W COOK& CO INC                                                90 PARK AVENUE                                                                             NEW YORK          NY           10016
    FREDERICK A SCHRANK                                                    214 22ND AVE SW                                                                            OLYMPIA           WA           98501
    Frederick Anderson                                                     105 Cayuga Cove                                                                            Lake Kiowa        TX           76240
    FREDERICK DOUGLAS ACADEMY                                              2001 WARREN                                                                                DETROIT           MI           48202
    Frederick Finch                                                        427 Chase Plantation                                                                       Birmingham        AL           35244

    FREDERICK H POUGH SR, TRUSTEE           ATTN BARBARA MOORE             2 LACOMA LANE                                                                              PITTSFORD         NY           14534
    Frederick Hidalgo                                                      5787 Vista Linda Dr.                                                                       Orlando           FL           32822
    FREDERICK HILL BONNIE NADELL            LITERARY AGENCY                8899 BEVERLY BLVD STE 805                                                                  LOS ANGELES       CA           90048
    FREDERICK HILL BONNIE NADELL
    INC                                                                    8899 BEVERLY BLVD STE 805                                                                  LOS ANGELES       CA           90048
    FREDERICK KAUFMAN                                                      176 BROADWAY, # 11E                                                                        NEW YORK          NY           10038
    FREDERICK M RHOADES                                                    602 BRIAR RD                                                                               BELLINGHAM        WA           98225
    FREDERICKSBURG SQUARE                                                  525 CAROLINE STREET             ATTN DEBORAH PERROY                                        FREDERICKSBURG    VA           22401
    FREDES RODRIGUEZ GALARZA                                               URB ANTONSANTI FARRAR 1501                                                                 SAN JUAN          PR           00927
    Fredolyn G Stitt                                                       447 ANGLE WAY                                                                              LILBORN           GA           30247
    FREDRICA S FRIEDMAN & CO INC                                           136 EAST 57TH STREET 14TH FL                                                               NEW YORK          NY           10022
    Free Arts of Arizona                    Attn Heath Blumstein           103 W. Highland Ave, Ste 200                                                               Phoenix           AZ           85013
    FREE LIBRARY OF PHILADELPHIA
    FOUNDATION                              MATERIALS MANAGEMENT DIVISION 2000 HAMILTON STREET                                              RODIN PLACE LOWER LEVEL   PHILADELPHIA      PA           19130
    FREE LIBRARY OF PHILADELPHIA            DBA MAYORS COMMISSION OF
    FOUNDATION                              LITERACY                      1901 VINE STREET ROOM 400                                                                   PHILADELPHIA      PA           19103
    FREE LIBRARY OF PHILADELPHIA
    FOUNDATION                              ANNE SILVERS LEE CHIEF         2000 HAMILTON STREET                                             RODIN PLACE LOWER LEVEL   PHILADELPHIA      PA           19130
    FREE LIBRARY OF PHILADELPHIA
    FOUNDATION                                                             1901 VINE STREET ROOM 400                                                                  PHILADELPHIA      PA           19103
    FREE SPIRIT PUBLISHING INC                                             217 FIFTH AVE NORTH SUITE 200                                                              MINNEAPOLIS       MN           55401
    FREE TO BE FOUNDATION INC                                              P O BOX 20590                   PARK WEST STATION                                          NEW YORK          NY           10025
    FREE WILL BAPT BIBLE COLLEGE                                           36060 WEST END AVE                                                                         NASHVILLE         TN           37205
    FREEDMAN RUSSELL                                                       280 RIVERSIDE DR #10K                                                                      NEW YORK          NY           10025
    FREEDOM COMMUNICATIONS INC              DBA ORANGE COUNTY REGISTER     625 NORTH GRAND AVENUE                                                                     SANTA ANA         CA           92701
    FREEDOM ELEMENTARY                                                     4556 WEST 5500 SOUTH                                                                       HOOPER            UT           84315
    FREEDOM PROFESSIONAL
    SERVICES &                              TECHNOLOGIES LLC               P O BOX 415413                                                                             BOSTON            MA           02241-4513
    FREEDOMRING COMMUNICATIONS              DBA BAY RING COMMUNICATIONS    359 CORPORATE DRIVE                                                                        PORTSMOUTH        NH           03801
    FREEMAN                                                                1515 WASHINGTON STREET                                                                     BRAINTREE         MA           02184
    Freeman                                                                PO Box 650036                                                                              Dallas            TX           75265-0036




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                158 of 488                                                                                                    1:26 PM
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                                                                                                                  First Class Service List


                  CreditorName                        CreditorNoticeName                Address1                          Address2                       Address3                City        State       Zip            Country

    FREEMAN DECORATING SERVICES             DBA FREEMAN                    P O BOX 650036                                                                           DALLAS              TX           75265-0036

    FREEPORT SCHOOL DISTRICT # 145                                         501 E SOUTH STREET                                                                       FREEPORT            IL           61032
    FREILICH JULIUS                                                        900 BAY DRIVE APT 326                                                                    MIAMI BEACH         FL           33141
    FRENCH ANNE W                                                          12 BLUEBERRY HILL ROAD                                                                   ANDOVER             MA           01810
    FRESCH MARY JO                                                         8174 BALLOCH CT                                                                          DUBLIN              OH           43017
    FRESH CUT CATERING & FLORAL
    INC                                                                    108 CYPRESS COVE                                                                         FLOWOOD             MS           39232
    FRESHWATER BIOLOGICAL
    ASSOCIATION                    THE FERRY LANDING                       FAR SAWREY                                                                               AMBLESIDE           Cumbria      LA22 0LP     United Kingdom

    FRESNO UNIFIED SCHOOL DISTRICT                                         2309 TULARE STREET                                                                       FRESNO              CA           93721
    FREUDENTHAL INSTITUTE                                                  POSTBUS 9432                                                                             UTRECHT                          3506 GK      Netherlands
    FREYJA V BERGTHORSON                                                   10 OAK SHADE ROAD                                                                        STERLING            VA           20164
    Frezell Jeanine Holmes                                                 875 Boynton Ave                18f                                                       Bronx               NY           10473
    FRICK JEFFREY A                         ILLINOIS WESLEYAN UNIV         DEPT OF CHEMISTRY                                                                        BLOOMINGTON         IL           61702
    FRIDLEY PUBLIC SCHOOLS                  INDEPENDENT SCHOOL DIST 14     6000 WEST MOORE LAKE DRIVE                                                               FRIDLEY             MN           55432
    FRIEBELE E JOSEPH                                                      3026 LAKE AVENUE                                                                         CHEVERLY            MD           20785
    FRIED FRANK HARRIS SHRIVER &
    JACOBSON                                LLP                            ONE NEW YORK PLAZA                                                                       NEW YORK            NY           10004-1980
    FRIEDA FISHBEIN LTD                                                    P O BOX 723                                                                              BEDFORD             NY           10506-0723
    Friederich Schulte                                                     1083 Princeton Drive                                                                     Clermont            FL           34711
    FRIEDMAN INA R                                                         1731 BEACON STREET APT 1003                                                              BROOKLINE           MA           02445
    FRIEDRICH AGENCY                                                       19 WEST 21ST STREET STE 201                                                              NEW YORK            NY           10010
    Friends of Cheyenne                     Botanic Gardens                710 S. Lions Park Dr.                                                                    Cheyenne            WY           82001
                                            DBA VALLEY ACADEMY OF ARTS &
    FRIENDS OF EL CAMONI REAL               SCIENCES                       10445 BALBOA BLVD                                                                        GRANADA HILLS       CA           91344
    FRIENDS OF LA JOLLA ELEMENTARY
    INC                                                                    1111 MARINE STREET                                                                       LA JOLLA            CA           92037
    Friends of Marblehead PS                                               PO Box 718                                                                               Marblehead          MA           01945
    FRIENDS OF THE CCBC INC                                                PO BOX 5189                                                                              MADISON             WI           53705
    FRIENDS OF THE PARMLY BILLINGS
    LIBRARY                                                                510 NORTH BROADWAY                                                                       BILLINGS            MT           59101
    FRIENDS OF THE ST PAUL PUBLIC
    LIBRARY                                                                325 CEDAR ST STE 555                                                                     ST PAUL             MN           55101
    FRIENDSHIP PUBLIC CHARTER
    SCHOOL                                                                 120 Q STREET NE                                                                          WASHINGTON          DC           20002
    FRIESENS                       FRIESENS CORPORATION                    P O BOX 7                                                                                NECHE               ND           58265
    FRIMA STUDIO INC                                                       585 BOUL CHAREST EST STE 900                                                             QUEBEC                           G1K 3J2      Canada

    FRISBIE DAVID                                                          3769 COTTAGE RESERVE ROAD NE                                                             SOLON               IA           52333
    FRISHCO LTD                             3112 WINDSOR RD                SUITE A 123                                                                              AUSTIN              TX           78703
    Fritz E Sienkowski                                                     106 Cascades Court                                                                       Blue Bell           PA           19422
    FRITZ STAUB                                                            CH. DE MESSIDOR 37                                                                       MARLY                            01723        Switzerland
    FROGSTREET PRESS INC                                                   800 INDUSTRIAL BLVD STE 100                                                              GRAPEVINE           TX           76051
    Frontier Registered Agency Services
    LLC                                                                    2120 Carey Avenue                                                                        Cheyenne            WY           82001

    FRONTRANGE SOLUTIONS USA INC.                                          PO BOX 120493                                                     DEPT 0493              DALLAS              TX           75312
    FROSCHAUER LINDA                                                       11 MARION RD                                                                             WESTPORT            CT           06880
    FROST ELEMENTARY SCHOOL                                                3306 SKINNNER LANE                                                                       RICHMOND            TX           77406
    FROSTBURG STATE UNIV
    BOOKSTORE                                                              101 BRADDOCK ROAD                                                                        FROSTBURG           MD           21532
    FROSTLINE INC                                                          80 SOUTH LIVELY BLVD                                                                     ELK GROVE VILLAGE   IL           60007
    FRUEND CAN COMPANY                                                     36690 TREASURY CENTER                                                                    CHICAGO             IL           60694
    FRUITLANDS MUSEUM INC                                                  102 PROSPECT HILL ROAD                                                                   HARVARD             MA           01451
    FRUITPORT COMMUNITY SCHOOLS                                            3255 PONTALUNA ROAD                                                                      FRUITPORT           MI           49415
    FRY JOAN B                                                             35 UNIVERSITY CIR                                                                        CHARLOTTESVILLE     VA           22903
    FRYDENBORG KATHRYN                                                     14750 HYSON SCHOOL RD                                                                    STEWARTSTOWN        PA           17363
    FSB ASSOCIATES LLC                                                     180 MT AIRY RD SUITE 205                                                                 BASKING RIDGE       NJ           07920

    FSG INC                                 DBA FSG SOCIAL IMPACT ADVISORS 500 BOYLSTON STREET STE 600                                                              BOSTON              MA           02116
    FSH Society                                                            3 Westwood Road                                                                          Lexington           MA           02420

    FSI FONTS AND SOFTWARE USA INC DBA FONTSHOP SAN FRANCISCO              149 9TH STREET STE 302                                                                   SAN FRANCISCO       CA           94103
    FSP 909 Davis Street LLC       RE 909 Davis Street                     John Donahue                   Citizens Bank                      ACH #211070175         Boston              MA
    FU VICTORIA                                                            PO BOX 11345                                                                             BLACKBURGS          VA           24062-1345
    FUHLER CAROL J                                                         751 NANTUCKET COURT                                                                      GRAFTON             WI           53024
    FUJII ASSOCIATES                                                       10621 TOWER DRIVE                                                                        ORLAND PARK         IL           60467



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                    159 of 488                                                                                                1:26 PM
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                                                                                                                167 Matrix
                                                                                                                        of 519
                                                                                                                      First Class Service List


                  CreditorName                        CreditorNoticeName               Address1                            Address2                        Address3              City           State       Zip              Country
    FUKUINKAN SHOTEN PUBLISHERS
    INC                                     PERMISSIONS DEPARTMENT         6-3-3 HONKOMAGOME                                                                          113-8686 BUNKYO-KU   TOKIO                     Japan
    FULBRIGHT & JAWORSKI LLP                                               801 PENNSYLVANIA AVENUE, NW                                                                WASHINGTON           DC           20004-2623
    FulCircle, Inc.                                                        13333 E. 37th Avenue                                                                       Denver               CO           80239
    FULCRUM INC                             FULCRUM PUBLISHING INC         4690 TABLE MOUNTAIN DR STE 100                                                             GOLDEN               CO           80403
                                                                           7676 HAZARD CENTER DRIVE SUITE
    FULL CIRCLE LITERARY LLC                ATTN STEFANIE VON BORSTEL      500                                                                                        SAN DIEGO            CA           92108
    FULL PLATE MEDIA LLC                    ATTN SUSIE HELLER              3080 COOMBSVILLE RD                                                                        NAPA                 CA           94558
    FULLER JAMES                                                           1400 EAST HANNA AVENUE                                                                     INDIANAPOLIS         IN           46227
    FULLER MARTHA M                                                        54 PRESTON ROAD #2                                                                         SOMERVILLE           MA           02143
    FULLERTON COLLEGE                                                      330 EAST CHAPMAN AVENUE                                                                    FULLERTON            CA           92834
    FULTON EDUCATION FOUNDATION                                            786 CLEVELAND AVE SW                                                                       ATLANTA              GA           30315
    FULTON PUBLIC SCHOOLS                                                  2 HORNET DRIVE                                                                             FULTON               MO           65251

    FUMIKO FUJITA                                                          48-4 FLOWER HILL/1-31 KITA IWAOKA                                     TOKOROZAWA SAITAMA   Saitama-ken                       359-0007     Japan
    FUND FOR EDUCATIONAL
    EXCELLENCE                                                             800 N CHARLES ST STE 400                                                                   BALTIMORE            MD           21201
    FUNDACION DE AYUDA A LA
    EDUCACION MEDIA                         COLEGIO POLITECNICO            DIAGONAL FROM PACIFICTEL            CDLA NAVAL NORTE MZ 5 SOLAR 9                          GUAYAQUIL                                      Ecuador
    FUNDACION RICARDO PALMA                                                CALLE BELISARIO SUAREZ 189                                                                 MIRAFLORES LIMA                                Peru
    FUNDAMENTAL PHOTOGRAPHS                                                210 FORSYTH STREET, STE # 2                                                                NEW YORK             NY           10002-1380
    FUNDS FOR PUBLIC SCHOOLS                NYC DEPARTMENT OF EDUCATION    52 CHAMBERS STREET RM 209           ATTN LISSETTE COLON                                    NEW YORK             NY           10007
                                                                           1200 LAKESIDE PKWY, BLDG 1 STE
    FUNIMATION ENTERTAINMENT                DBA NAVARRE CORPORATION        100                                                                                        FLOWER MOUND         TX           75028
    FUNIMATION ENTERTAINMENT                                               NW- 8510, P O BOX 1450                                                                     MINNEAPOLIS          MN           55485-8510
    FUNKHOUSER ERICA                                                       179 SOUTHERN AVENUE                                                                        ESSEX                MA           01929
    FUNNYFACE TODAY INC                                                    381 PARK AVENUE SOUTH STE 821                                                              NEW YORK             NY           10016

    FURNITURE MARKETING GROUP INC                                          P O BOX 201827                                                                             DALLAS               TX           75320-1827
    FUSION LEARNING SYSTEMS                                                9600 ESCARPMENT BLVD # 745-276                                                             AUSTIN               TX           78749
    FUSIONSTORM                                                            P O BOX 31001-0830                                                                         PASADENA             CA           91110
    FUSON AND HALL RESEARCH
    CONSULTING                    ATTN KAREN FUSON                         290 OLD HILL RD                                                                            FALLBROOK            CA           92028
    FUSON AND HALL RESEARCH
    CONSULTING                                                             290 OAK HILL ROAD                                                                          FALLBROOK            CA           92028
    FUTURE TECHNOLOGIES GROUP
    INC                           DBA FTG TECHNOLOGIES                     2 BATTERYMARCH PARK STE 401                                                                BOSTON               MA           02169
    Fw Showers                                                             60 Wilmar Ave                                                                              Hanover              PA           17331
    G & K SERVICES CO                                                      800 CREEK ROAD                                                                             BELLMAWR             NJ           08031

    G & S TYPESETTERS INC                   DBA NEWGEN NORTH AMERICA INC 2714 BEE CAVE RD STE 201                                                                     AUSTIN               TX           78746
    G & W PACKAGING INC                                                  8131 N RIDGEWAY AVENUE                                                                       SKOKIE               IL           60076
    G & W PACKAGING PRODUCTS INC                                         4611 WEST 136TH ST                                                                           CRESTWOOD            IL           60445
                                            DBA MERRICK MACHINERY &
    G M ABRASIVES                           SUPPLY CO                    12798 CARROLLTON IND DR                                                                      BRIDGETON            MO           63044
    G NEIL DIRECT MAIL INC                  EVERGLADES DIRECT            P. O. BOX 451179                                                                             SUNRISE              FL           33345-1179
    G NORMAN WEST                                                        3440 JUMP OFF ROAD                                                                           SEWANEE              TN           37375
    G P HAMEL INC                                                        620 MOUNTAIN HOME ROAD                                                                       WOODSIDE             CA           94062
    G S MONTES DE FIGUEIRA                                               LA PAMPA 2900                                                                                BUENOS AIRES                      01428        Argentina
    G W CARVER ELEMENTARY                                                1215 W. PULLEN STREET                                                                        PINE BLUFF           AR           71601
    G W STEPHEN BRODSKY                                                  9645 SIXTH STREET                                                                            SIDNEY               BC           V8L 2W1      Canada
    G Walliene Watson                                                    P.O.Box 462361                                                                               Garland              TX           75046
    G&K SERVICES                            DBA BEST UNIFORM RENTAL INC  190 E 9TH AVE                                                                                RUNNEMEDE            NJ           08078-1126
    G. Boel Denne-Hinnov                                                 32 MORTON CT                                                                                 LAWRENCEVILLE        NJ           08648-2114
    GA READING ASSOC                        ATTN SHEREE BRYANT           335 CYPRESS LANE                                                                             STOCKBRIDGE          GA           30281
    GABI SWIATOWSKA                                                      70 RUE ROYALE                                                                                PUYMIROL                          47270        France
    GABRIEL HERNANDEZ MORENO                                             LAGO MICHIGAN MZ 13 LOTE 7                                                                   COL LA TURBA         DF           13250        Mexico
    Gabriel Rshaid                          Escuela Escocesa San Roque   Saenz Pena 601                                                                               Olivas               Argentina                 Argentina
    GABRIEL WARREN                                                       45 SCHOOL STREET                      C O WELCH AND FORBES                                   BOSTON               MA           02108
    GABRIELA DELLANOCE                                                   POST OFFICE BOX 5466-1000                                                                    SAN JOSE                                       Costa Rica
    GABRIELA SWIATKOWSKA                                                 221 YAM GANDY ROAD                    ATTN SHERRI WEISS                                      SAVANNAH             GA           31411
    GABRIELE LUSSER RICO                                                 P O BOX 2242                                                                                 CUPERTINO            CA           95015
    GABRIELE WILSON                                                      368 BROADWAY ROOM 403                                                                        NEW YORK             NY           10013
    GABRIELLE BELL                                                       1026 MANHATTAN AVENUE, 2ND FL                                                                BROOKLYN             NY           11222
    Gabrielle Simmons                                                    490 S. Commons Ct.                                                                           Deerfield            IL           60015
    GACC VIDEO ELECTRONICS INC                                           125 S RACINE                                                                                 CHICAGO              IL           60607
    GACIS CONFERENCE                                                     5634 ATLANTA HIGHWAY -STE#300                                                                FLOWERY BRANCH       GA           30542
    GAG INDUSTRIES                          DBA FILTER SERVICES ILLINOIS 2555 UNITED LANE                                                                             ELK GROVE VILLAGE    IL           60007
    GAHALA ESTELLA                                                       2315 MADRE DRIVE NE                                                                          ALBUQUERQUE          NM           87112
    GAIA LANGUAGE SOLUTIONS INC                                          3806 PECK AVENUE                                                                             AUSTIN               TX           78751



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     160 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  168 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                 Address1                        Address2              Address3               City           State       Zip               Country
    GAIL B TANNER                                                          913 SYLVIA DR                                                                  DELTONA               FL           32725-2717
    Gail Battaglia                                                         1128 Heavens Gate                                                              Lake In The Hills     IL           60156
    GAIL BRANNON                                                           P O BOX 378                                                                    ARKOMA                OK           74901
    GAIL DAVIS                                                             104 HEIGHTS DR                                                                 OXFORD                MS           38655
    GAIL DEEGAN                                                            240 UPLAND ROAD                                                                NEWTONVILLE           MA           02460
    GAIL GIBBONS                                                           GOOSE GREEN                                                                    CORINTH               VT           05039
    Gail Gorman                                                            21 Stonehorse Road                                                             Osterville            MA           02655
    GAIL GRAHAM                                                            7137 E RANCHO VISTSA DRIVE                                                     SCOTTSDALE            AZ           85251
    GAIL HENNESSEY INC                                                     647 WELTON STREET                                                              HARPOVILLE            NY           13787
    Gail Hutton Foster                                                     3201 Everett Drive                                                             Edmond                OK           73013
                                            NATIONAL CENTER FOR FAMILY
    GAIL J PRICE                            LITERACY                       325 W MAIN ST, STE 300                                                         LOUISVILLE            KY           40202

    GAIL J WORTH                                                           P O BOX 2863                                                                   RANCHO PALOS VERDES   CA           90274
    Gail Kinch                                                             203 Weidner Road                                                               Buffalo Grove         IL           60089
    GAIL L OCHSNER                                                         3078 NE LANSING CT                                                             BEND                  OR           97701
    GAIL LOVELY                                                            1 WHITTIER DRIVE                                                               FRIENDSWOOD           TX           77546
    GAIL M COHEN                                                           20 THATCHER HOLWAY RD                                                          MARSTONS MILLS        MA           02648-1272
    GAIL M SHUMWAY                                                         7294 CLOISTER DR, APT 3                                                        SARASOTA              FL           34231
    GAIL MALLOY                                                            44 ACORN DRIVE                                                                 RANDOLPH              MA           02368
    GAIL MARTIN                                                            PO B0X 345                       ST STEPHENS INDIAN SCHOOL                     ST STEPHENS           WY           82524
    Gail Mc Dermott                                                        25 Euclid Rd.                                                                  Tewksbury             MA           01876
    Gail Miller                                                            26 Wildwood Road                                                               Norfolk               MA           02056
    GAIL RICHARDSON                                                        4004 WORTHINGTON DR                                                            NORMAN                OK           73072
                                                                           1666 CONNECTICUT AVE NW STE
    GAIL ROSS LITERARY AGENCY LLC                                          500                                                                            WASHINGTON            DC           20009
    Gail S Boggs                                                           4165 KITLEY AVENUE                                                             INDIANAPOLIS          IN           46226
    GAIL THOMAS                                                            1105 W VANDALIA ST                                                             BROKEN ARROW          OK           74012
    Gail Vaughn                                                            109 Fawcett                                                                    Hercules              CA           94547
    Gail Wilson                                                            50 PRESIDENTIAL DR.              APT.1                                         Quincy                MA           02169
    GAINES ELECTRIC CO                                                     ONE MECA WAY # 900                                                             NORCROSS              GA           30093
    GAINESVILLE HIGH SCHOOL                                                830 CENTURY PLACE                                                              GAINESVILLE           GA           30507
    GAINESVILLE REGIONAL UTILITIES                                         301 SE 4 AVE                                                                   GAINESVILLE           FL           32601-6857
    Gal Niv                                                                65 Langdon St Apt 9                                                            Cambridge             MA           02138
    GALBRAITH JAMES K                                                      116 LAUREL LN                                                                  AUSTIN                TX           78705
    GALBRAITH PETER W                                                      P O BOX 335                                                                    TOWNSHEND             VT           05353
    GALDONE JOANNA C                                                       234 PHILLIPS HILL ROAD                                                         NEW CITY              NY           10956
    GALDONE PAUL F                                                         97 KLONDIKE RD                                                                 CHELSEA               VT           05038
    Gale A Malone                                                          6011 Crocus Ct                                                                 Alexandria            VA           22310
    GALE GROUP                                                             PO BOX 95501                                                                   CHICAGO               IL           60694-5501
    GALE S MCCLUNG                                                         322 SPENCER DRIVE                                                              AMHERST               MA           01002
    Gale S Teegarden                                                       4101 Ne 26th Terrace                                                           Lighthouse Point      FL           33064
    GALE ZUCKER                             GALE ZUCKER PHOTOGRAPHY        PO BOX 2281                                                                    SHORT BEACH           CT           06405
                                            INTERIOR DISTANCE EDUCATION OF
    GALENA CITY SCHOOL DISTRICT             ALASKA                         2157 VAN HORN ROAD                                                             FAIRBANKS             AK           99701
    GALERIE BRUNO BISCHOFBERGER
    AG                                                                     UTOQUAI 29                                                                     ZURICH                             08008        Switzerland
    Galina Shtivelman                                                      19 Church Street                                                               Framingham            MA           01702
    GALLAUDET UNIVERSITY                    DCSHA                          800 FLORIDA AVENUE NE            GALLAUDET UNIV PRESS                          WASHINGTON            DC           20002-3695
    GALLERY STOCK LTD                                                      58 W 40TH STREET 6TH FLOOR                                                     NEW YORK              NY           10018
    GALLIMARD JEUNESSE                                                     5 RUE SEBASTIEN-BOTTIN                                                         PARIS                              75007        France

    GALLOWAY RESEARCH SERVICE INC                                          4751 HAMILTON WOLFE RD STE 100                                                 SAN ANTOINIO          TX           78229-3354
                                                                                                                                                          FERNIE BRITISH
    GALLUP PHOTOGRAPHY INC                                                 BOX 399                                                                        COLUMBIA                           V0B 1M0      Canada
    GALVIN H SWIFT                                                         4322 POMONA                                                                    DALLAS                TX           75209
    GAMEZ GUADALUPE                                                        4800 NORTH STANTON UNIT 146                                                    EL PASO               TX           79902
    GAMMA ONE CONVERSIONS INC                                              315 WEST 39TH STREET STE 403                                                   NEW YORK              NY           10018
    GAMMA PRESSE IMAGES                                                    1633 BROADWAY 40TH FL                                                          NEW YORK              NY           10019
    Gandy, Steve
    Gandy, Steve                                                           10201 Treasure Island                                                          Austin                TX           78730
    GANNETT SATELLITE INFORMATION
    NETWORK                       DBA USA TODAY                            P O BOX 677454                                                                 DALLAS                TX           75267
    GANNETT SATELLITE INFORMATION COURIER POST-SOUTH JERSEYS
    NETWORK                       NEWSPAPER                                301 CUTHBERT BLVD                                                              CHERRY HILL           NJ           08002
    GANNETT SATELLITE INFORMATION
    NETWORK                                                                P O BOX 677454                                                                 DALLAS                TX           75267
    GANTEC PUBLISHING SOLUTIONS
    LLC                                                                    1111 N PLAZA DR SUITE 652                                                      SCHAUMBURG            IL           60173
    GARCIA GILBERT                                                         18277 BARRORSO ST                                                              ROWLAND HEIGHTS       CA           91748



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                   161 of 488                                                                                           1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                         of 519
                                                                                                                First Class Service List


              CreditorName                            CreditorNoticeName              Address1                       Address2                        Address3            City           State       Zip            Country
    GARCIA JESUS                                                           4101 PERFECT LURE                                                                    LAS VEGAS          NV           89129
    GARDELLA FRANCIS                                                       30 YORKTOWN ROAD                                                                     EAST BRUNSWICK     NJ           08816
    GARDELLA TRICIA                                                        8931 MONTEZUMA ROAD                                                                  JAMESTOWN          CA           95327

    GARDEN COMMERCE CENTER LLC FURST COMMERCIAL REAL ESTATE                2 HUGHES STE 200                                                                     IRVINE             CA           92618
    GARDEN STATE EMPLOYMENT AND                                                                           ATTN KELLY WEST OR BARBARA
    TRAINING                    ASSOCIATION                                795 WOODLANE RD P O BOX 6000   WEIR                                                  WESTAMPTON         NJ           08060-6000
                                ACCOUNTS PAYABLE - ATTN
    GARDENER WEBB UNIVERSITY    RHONDA                                     P O BOX 997                                                                          BOILING SPRINGS    NC           28017
    GARDENPHOTOS.COM                                                       211 LOG TAVERN DR                                                                    MILFORD            PA           18337-7802
    GARDENWALL PUBLICATIONS LLC ALLENA R TAPIA                             412 WEST ST                                                                          GRAND LEDGE        MI           48837
    Gardner Edgerton USD                                                   231 East Madison                                                                     Gardner            KS           66030
    GARDNER M WATKINS                                                      5187 AURORA DR                                                                       HILLIARD           OH           43026
    GARETH DAVIS                                                           2625 N MERIDIAN ST APT 425                                                           INDIANAPOLIS       IN           46208
                                                                           15 CHECQUERS LANE, PETSTONE
    GARETH HUW DAVIES                                                      GREEN                                                           LEIGHTON BUZZARD     Bedfordshire                    LU7 94G      United Kingdom
    GARETH STEVENS INC                                                     111 EAST 14TH ST STE 349                                                             NEW YORK           NY           10003
    GARETH STEVENS PUBLISHING                                              111 EAST 14TH ST, STE 349                                                            NEW YORK           NY           10003
    GARLAND SHERRY                                                         3100 ROLLING GLEN                                                                    BRYAN              TX           77807
    GARLICK & TACK INC                      DBA COGENT VALUATION           21700 OXNARD STREET STE 1080                                                         WOODLANDS HILLS    CA           91367
    GARNETT ARCHITECTS LLC                                                 53 W JACKSON BLVD SUITE 201                                                          CHICAGO            IL           60604
    Garold Shannon                                                         47 Shannon Lane                                                                      Silex              MO           63377
    GARRARD MIDDLE SCHOOL                                                  322 W MAPLE AVENUE                                                                   LANCASTER          KY           40444

    GARRET FREYMANN WEYR                    RHODA BARRET FREYMANN WEYR     4306 CLAGETT ROAD                                                                    UNIVERSITY PARK    MD           20782
    GARRET KEIZER                                                          770 KING GEORGE FARM ROAD                                                            SUTTON             VT           05867
    GARRETT HICKS                           WILL ENTERTAINMENT             1228 ROMULUS DR                                                                      GLENDALE           CA           91205
                                            C/O L A COUNTY MUSEUM OF
    GARRETT KIMBALL                         NATURAL H                      900 EXPOSITION BLVD                                                                  LOS ANGELES        CA           90007
    GARRETT ONE ENTERPRISES INC                                            20283 STATE ROAD 7, STE 300                                                          BOCA RATON         FL           33498-6903
    GARRY CRAIG POWELL                                                     1621 ROBINSON AVENUE                                                                 CONWAY             AR           72034
    GARRY FALLIS HAYES                                                     12120 AVISSA DRIVE                                                                   WATERFORD          CA           95386
    GARTNER INC                                                            P O BOX 911319                                                                       DALLAS             TX           75391
    GARVEY PRODUCTS INC                                                    DEPT # 10223 P O BOX 87618                                                           CHICAGO            IL           60680-0618
    GARY A CIENIUCH                                                        49434 PINE RIDGE COURT                                                               PLYMOUTH           MI           48170
    GARY A NAFIS                                                           P O BOX 34628 # 89546                                                                SEATTLE            WA           98124-1628
    GARY ALAN NELSON                                                       13550 ANDREWS AVENUE                                                                 LINDSTROM          MN           55045
    Gary Belman                                                            2404 Vermont Ave.                                                                    Clovis             CA           93619
    Gary Blauser                                                           107 N Northampton Dr                                                                 Geneva             IL           60134
    GARY BRAASCH PHOTOGRAPHY                                               PO BOX 1465                                                                          PORTLAND           OR           97207
    GARY BRYNER                             ATTN JANE RYNER                2690 NORTH 700 EAST                                                                  PROVO              UT           84604
    Gary Bupp                                                              22 Monroe Ave                                                                        Bellmawr           NJ           08031
    Gary Chung                                                             1525 Silver Fox Circle                                                               Apopka             FL           32712
    Gary Cihak                                                             6517 Blackhawk Trail                                                                 Indian Head Park   IL           60525
    GARY COMMUNITY SCH
    CORPORATION                                                            620 EAST 10 PLACE                                                                    GARY               IN           46402
    Gary Coutts                                                            9 Liberty Lane                                                                       Hampstead          NH           03841
                                            DBA ENLIGHTENED IMAGES
    GARY CRABBE                             PHOTOGRAPHY                    209 MARGIE DRIVE                                                                     PLEASANT HILL      CA           94523
    Gary Drack                                                             1830 Sabal Palm Drive                                                                Melbourne          FL           32934

    GARY E MARTIN                           DBA GARY MARTIN PHOTOGRAPHY    143 MOUNT HOREB ROAD                                                                 WARREN             NJ           07059
    Gary E. Jensen                                                         13898 E. Chenango Drive                                                              Aurora             CO           80015
    Gary Edtl                                                              5 Tobin Rd                                                                           Cherry Valley      MA           01611
    GARY GOLAS PAINTING                                                    52 LILLIAN DRIVE                                                                     TRUMBULL           CT           06611
    GARY GOLIO                                                             5 BELLE AVENUE                                                                       ISSINING           NY           10562
    Gary Greenwood                                                         3405 Farm Land Court                                                                 Granbury           TX           76048
    Gary J Crespo                                                          176 Chestnust Street                                                                 Wilmington         MA           01887
    GARY KRUEGER                                                           224 MATTHIAS STREET                                                                  APPLETON           WI           54915
    Gary L Gentel                                                          14 Amanda Road                                                                       Sudbury            MA           01776
    GARY L PARRISH                          DBA GARYS MEAT LOCKER          236 POPLAR ST                                                                        HANOVER            PA           17331
    GARY MARCUS                                                            3 WASHINGTON SQ VLG                                                                  NEW YORK           NY           10012
                                            ALLEGHENY EDITORIAL
    GARY MILLER                             CONSULTATION                   24 NORTH STREET                                                                      MONTPELIER         VT           05602
    Gary Moench                                                            1422 Calico Lane                                                                     Blacksburg         VA           24060
    GARY MOON                                                              PO BOX 1043                                                                          NEVADA CITY        CA           95959
    GARY P KLINKHAMMER                                                     3355 NW HARRISON BLVD                                                                CORVALLIS          OR           97330
    GARY PANTER                                                            444 E 19TH STREET                                                                    BROOKLYN           NY           11226
    GARY PATTERSON                                                         6311 FRANKLIN AVE                                                                    WINDSOR HEIGHTS    IA           50322
    GARY PAULSEN                                                           HC 72 BOX 5051                                                                       TULAROSA           NM           88352



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                               162 of 488                                                                                                1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              170 Matrix
                                                                                                                      of 519
                                                                                                                     First Class Service List


             CreditorName                             CreditorNoticeName               Address1                           Address2                         Address3                    City           State       Zip            Country
    GARY POOLE                                                             847 HARTZELL ST                                                                                   PACIFIC PALISADES   CA           90272
    GARY R BRADEN                           DBA JUST THE FAX               11601 NATRONA DRIVE                                                                               AUSTIN              TX           78759
    GARY R LUCY GALLERY INC                                                231 WEST MAIN STREET                                                                              WASHINGTON          MO           63090
    GARY SALVNER                                                           350 INGRAM DR                                                                                     YOUNGSTOWN          OH           44512-5856
                                            CALVIN COLLEGE - DEPT OF
    GARY SCHMIDT                            ENGLISH                        3201 BURTON ST SE                                                                                 GRAND RAPIDS        MI           49546
    Gary Schroeder                                                         12 Nickerson Drive                                                                                Billerica           MA           01821
    Gary Smith                                                             19 Brookfield Rd                                                                                  Wellesley           MA           02481
    GARY SOTO                                                              43 THE CRESCENT                                                                                   BERKELEY            CA           94708
    Gary Standafer                                                         44 ROBBE FARM ROAD                                                                                PETERBOROUGH        NM           03458
    GARY TSURUDA                                                           1140 POLYNESIA AVE                                                                                FOSTER CITY         CA           94404
    GARY W KLESIUS                                                         11111 SOUTH BELCHER ROAD                                             PINELLAS ADOPTION MEETINGS   LARGO               FL           33773
    GARY WILSON                                                            1888 EAST ARLEN WAY                                                                               SANDY               UT           84093
    GARY WOLF                                                              2 QUAIL AVE                                                                                       BERKELEY            CA           94708
    Gary Wooddell                                                          7825 South Galileo Lane                                                                           Tucson              AZ           85747
    GAS SOUTH LLC                                                          P O BOX 530552                                                                                    ATLANTA             GA           30353-0552
    GASPAR GOUGH                                                           CALLE 3RA                         RIO ABAJO                                                       CIUDAD PANAMA                                 Panama
    GASTON COUNTY SCHOOLS                   ATTN MELISSA WILSON            943 OSCEOLA STREET                                                                                GASTONIA            NC           28053
    GATES ROBERT G                                                         251 MOUNTAINSIDE ROAD                                                                             MENDHAM             NJ           07945-1114
    Gateway Logistics Services                                             6864 Susquehanna Trail South                                                                      York                PA           17403
    GATEWAY SCHOOL DISTRICT                                                9000 GATEWAY CAMPUS BLVD                                                                          MONROEVILLE         PA           15146
    GAUNTLET INC                            DBA GAUNTLET PRESS             5307 ARROYO STREET                                                                                COLORADO SPRINGS    CO           80922
    GAURI TILLOTMA KASHYAP                  DBA KESHNIT KASHYAP            232 MULBERRY ST APT 1D                                                                            NEW YORK            NY           10012
    GAVIN BOLTON                                                           37 CARLTON TERRACE                                                                                GATESHEAD                        NE9 6HJ      United Kingdom

    GAY SU PINNELL                          DBA PINNELL EDUCATIONAL SRVCS 6521 QUARRY LANE                                                                                   DUBLIN              OH           43017

    GAY SU PINNELL                          DBA PINNELL EDUCATIONAL SRVCS 8599 DUNSINANE RD                                                                                  DUBLIN              OH           43017
    GAYLA CHANDLER                                                        P O BOX 1671                                                                                       COOLIDGE            AZ           85228
    GAYLE L RAMOS                                                         1018 HWY 6 & 50, # 93                                                                              MACK                CO           81525
    GAYLE M HINES                                                         610 HIGH STREET                                                                                    PUKWANA             SD           57370
    GAYLE M RICHARDSON                                                    2301 BEECH ST                                                                                      BAKERSFIELD         CA           93301-3213
    GAYLE P CLEMENT                                                       17850 RIVER ROAD                                                                                   MONTZ               LA           70068
    GAYLE PEARSON                                                         460 WASHINGTON BLVD # 2N                                                                           OAK PARK            IL           60302
    GAYLORD BROS INC                                                      P O BOX 4901                                                                                       SYRACUSE            NY           13221
                                            DBA GAYLORD NTNL RESORT &
    GAYLORD NATIONAL LLC                    CONVNTN CTR                   201 WATERFRONT STREET                                                                              NATIONAL HARBOR     MD           20745
    GAYLORD OPRYLAND HOTEL-
    NASHVILLE                                                              2800 OPRYLAND DRIVE                                                                               NASHVILLE           TN           37214
    GAZZANIGA MICHAEL                       UNIVERSITY OF CALIFORNIA       SANTA BARBARA                                                                                     SANTA BARBARA       CA           93106
    GAZZOLA PAINTING COMPANY INC                                           36 NORFOLK AVENUE                                                                                 BOSTON              MA           02119-2811
    GCABSE                                                                 PO BOX 36693                                                                                      CHARLOTTE           NC           28236
    GCTM INC                                                               5584 WILDERNESS TRACE                                                                             STONE MOUNTAIN      GA           30087
                                            DBA RICOH AMERICAS
    GE CAPITAL                              CORPORATION                    P O BOX 642333                                                                                    PITTSBURGH          PA           15264-2333
    GE CAPITAL INFORMATION TECH
    SOLUTION INC                            DBA IKON FINANCIAL SERVICES    P O BOX 650073                                                                                    DALLAS              TX           75265
    GE CAPITAL INFORMATION TECH
    SOLUTION INC                            DBA IKON FINANCIAL SERVICES    P O BOX 740540                                                                                    ATLANTA             GA           30374-0540
    GE CAPITAL INFORMATION TECH
    SOLUTION INC                                                           P O BOX 650073                                                                                    DALLAS              TX           75265
    GE CAPITAL INFORMATION TECH
    SOLUTION INC                                                           P O BOX 740540                                                                                    ATLANTA             GA           30374-0540
    GE CAPTIAL INFORMATION TECH
    SOLUTION INC                            DBA IKON FINANCIAL SERVICES    PO BOX 740540                                                                                     ATLANTA             GA           30374
    GEAC COMPUTER SYSTEMS INC                                              NW 5421 PO BOX 1450                                                                               MINNEAPOLIS         MN           55485
    GEAROU SUSAN LEILANI                                                   20-65 41ST STREET # 3                                                                             ASTORIA             NY           11105
                                                                           2501 N GREAT SOUTHWEST
    GEEP TEXAS LLC                                                         PARKWAY                                                                                           GRAND PRAIRIE       TX           75050
    GEIS ALISSA IMRE                                                       6 MAPLE STREET                                                                                    HATFIELD            MA           01038
    GEISERT ARTHUR                                                         PO BOX 113                                                                                        BERNARD             IA           52032
    GEISERT BONNIE                                                         P.O. BOX 3                                                                                        GALENA              IL           61036
    GELFMAN SCHNEIDER LITERARY
    AGENCY                                                                 250 WEST 57th STREET SUITE 2122                                                                   NEW YORK            NY           10107
    GELFMAN SCHNEIDER LITERARY
    AGENTS,                                                                250 WEST 57TH STREET STE 2122                                                                     NEW YORK            NY           10107
    GELLER NANCY JEWELL                                                    1058 BROADBENT ROAD                                                                               WILMINGTON          DE           19810
    Gemini Group, Inc.                                                     789 Sherman Street                Suite 400                                                       Denver              CO           80203
    GEMMA GOODALE SUSSEN                                                   12886 W WAKEFIELD DRIVE                                                                           BEACH PARK          IL           60083
    GEMMILL LINDA M                                                        8626 N. 12TH AVENUE                                                                               PHOENIX             AZ           85021



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                    163 of 488                                                                                                         1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   171 Matrix
                                                                                                                           of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                         Address2                        Address3                    City          State       Zip            Country

    GENA KRISTIN HUGUS                                                     15459 WHISPERING WILLOW DRIVE                                                                     WELLINGTON         FL           33414
    Gene Collodi                                                           400 Glenmore St                                                                                   New Kenington      PA           15068
    Gene Klann                                                             4795 Corinthian Way                                                                               Greensboro         NC           27410-9584
    GENE LEE                                                               2109 SEOCHO-DONG                                                                                  SEOUL                                        South Korea
    GENE RHODEN                             DBA WEATHERPIX                 3416 MADRA STREET                                                                                 NORMAN             OK           73071
    GENERAL BINDING CORP                                                   P.O. BOX 71361                                                                                    CHICAGO            IL           60694-1361
    GENERAL ELECTRIC CAPITAL
    CORPORATION                                                            201 MERRITT 7                                                                                     NORWALK            CT           06851
    GENERAL PROGRAMMING INC                                                P O BOX 1002                                                                                      TRACY              CA           95378-1002
    Generous Servings                                                      3801 West 32nd Avenue                                                                             Denver             CO           80211
    GENESEE DISTRICT LIBRARY                                               4195 W PASADENA AVENUE                                                                            FLINT              MI           48504
    GENESIS COMPUTERS INC                                                  P O BOX 2157                                                                                      SUWANEE            GA           30024
    GENESIS PRESS                                                          1270 ARDMORE                                                                                      ITASCA             IL           60143
    GENESIS TECHNOLOGIES INC                                               2942 MACARTHUR BLVD                                                                               NORTHBROOK         IL           60062
    Genet Mehari                                                           82 Columbus Avenue                #2                                                              Somerville         MA           02143
                                                                           c/o Inland Continental Property   Acct#117830 ABA#071925596 HMH
    Geneva 1031, LLC                        RE 1900 South Batavia          Management                        1900 S. Batavia
    GENEVA BOARD OF EDUCATION                                              649 SOUTH EXCHANGE ST                                                                             GENEVA             NY           14456

    GENEVA CHAMBER OF COMMERCE                                             8 S THIRD STREET                                                                                  GENEVA             IL           60134
    Genevieve M Ferraro                                                    21 Salem Lane                                                                                     Evanston           IL           60203
    GENEVIEVE SALLEY ATHENS                                                6909 S E 36TH AVENUE                                                                              PORTLAND           OR           97202
    GENIA HARBER                                                           P O BOX 181                                                                                       WISTA              OK           74966
    GENIA NESPEL GOULCT                                                    3010 HAMPTON DR                                                                                   MISSOURI CITY      TX           77459
    GENJOA ENTERPRISES                      DBA AFFAIRS BY JO              P O BOX 1801                                                                                      BOWIE              MD           20717-1801
    GENNA REICHSTEIN                                                       9697 ARBOR OAKS LANE APT 207                                                                      BOCA RATON         FL           33428
    GENNADY SPIRIN                                                         47 STONEWALL CIRCLE                                                                               PRINCETON          NJ           08540
    GENNIFER CHOLDENKO                                                     2090 VISTAZO EAST                                                                                 TIBURON            CA           94920
    GENO FLORES                                                            723 DIAMOND STREET                                                                                SAN DIEGO          CA           92109
    Genova, Nicole
    Gentel, Gary
    GENTRYROSE EDUCATIONAL
    MATERIALS                                                              6519 SE CROCO RD                                                                                  BERRYTON           KS           66409
    GEOF HEWITT                                                            P O BOX 51                                                                                        CALAIS             VT           05648
    Geoff Hipps                                                            235 Montee Lesage                                                                                 Rosemere           QC           J7A 4Y6      Canada
    GEOFFREY BIDDLE                                                        1518 HAWTHORNE TERRACE                                                                            BERKELEY           CA           94708
    GEOFFREY FORREST WILLIAMS                                              1277 PUTTERS LANE                                                                                 LOVELAND           OH           45140
    Geoffrey Hughes                                                        2536 S Arlington Mill Dr          Apt D                                                           Arlington          VA           22206-4032
    Geoffrey Jackson                                                       2340 Paris Street                                                                                 Aurora             CO           80010
    Geoffrey K Perry                                                       102 Centre Court Rd                                                                               Charleston         WV           25314
    GEOFFREY M BLOOM                                                       49 WARREN AVE                                                                                     WALTHAM            MA           02452
    GEOFFREY M STANDING BEAR                                               P. O. BOX 637                                                                                     PAWHUSKA           OK           74056
    GEOFFREY S ARMOUR                                                      2286 JANIS WAY                                                                                    CARLSBAD           CA           92008
    GEONOVA PUBLISHING INC                                                 3350 PEACHTREE RD NE STE 1500                                                                     ATLANTA            GA           30326
    GEONOVA PUBLISHING INC                                                 3350 PEACHTREE RD NE STE 1500     C/O HSW                                                         ATLANTA            GA           30326
    George A Milano                                                        619 S. Forest                                                                                     Batavia            IL           60510
    George A Thomas                                                        25 Jay Street                     Apt. 3                                                          Somerville         MA           02144
    George Adams                                                           P.O. Box 542                                                                                      Derry              NH           03038
    GEORGE ANCONA                                                          35 CALLE ENRIQUE                                                                                  SANTA FE           NM           87507
    GEORGE ANCONA                                                          ROUTE 10 BOX 94G                                                                                  SANTA FE           NM           87501
    GEORGE BRAZILLER INC                                                   277 BROADWAY STE 708                                                                              NEW YORK           NY           10007
    George Bull IV                                                         204 Trailwood Lane                                                                                Lafayette          LA           70508

    GEORGE C HOMANS GMS                                                    ONE INTERNATIONAL PLAZA           ROPES AND GRAY TRST DEPT 6          LAWRENCE AND COLEMAN TRSTEE BOSTON             MA           02110-2624
    George Cashen                                                          4448 POMPANO DRIVE                                                                                VENICE             FL           34293
    George Cogswell                                                        33 Edge Hill Rd.                                                                                  Stow               MA           01775
    George Cogswell Jr                                                     33 Edge Hill Rd.                                                                                  Stow               MA           01775
    GEORGE CREWS                            DBA CREWS INK INC              3008 TIMPANA POINT                                                                                LONGWOOD           FL           32779
    GEORGE D LEPP                           DBA LEPP IMAGES INC            PO BOX 61210                                                                                      COLORADO SPRINGS   CO           80960
    George D Robertson                                                     4914 Brightmour Circle                                                                            Orlando            FL           32837
    GEORGE DANBY                                                           P O BOX 1329                                                                                      BANGOR             ME           04402-1329
    George Duffield                                                        54 Old Village Lane                                                                               North Andover      MA           01845
    GEORGE E BONILLA AGOSTO                                                COSTA BRAVA 20-101                                                                                CEIBA              PR           00735
    GEORGE E HEIN                                                          29 EVERETT STREET                 LESLEY COLLEGE-GRADUTE SC                                       CAMBRIDGE          MA           02138-2790
    GEORGE E SALLEY                                                        365 CANAL STREET, STE 1710                                                                        NEW ORLEANS        LA           70130
                                            IMAGE RIGHTS AND
    GEORGE EASTMAN HOUSE                    REPRODUCTIONS                  900 EAST AVENUE                                                                                   ROCHESTER          NY           14607

    GEORGE EASTMAN HOUSE                    ATTN BARBARA PUORRO GALASSO    900 EAST AVENUE                                                                                   ROCHESTER          NY           14607



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     164 of 488                                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   172 Matrix
                                                                                                                           of 519
                                                                                                                   First Class Service List


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    GEORGE ELLA LYON                                                       913 MAYWICK DRIVE                                                                           LEXINGTON         KY           40504
    GEORGE ERNEST CAPACCIO                                                 11 LENNON ROAD                                                                              ARLINGTON         MA           02474
    George Frode                                                           24 Kimball Beach Road                                                                       Hingham           MA           02043
    George Gilbert                                                         419 Hickory Drive                                                                           Marysville        OH           43040
                                            GEORGE H H HUEY PHOTPGRAHY
    GEORGE H H HUEY                         INC                            860 WEST ROAD 1 SOUTH SUITE A                                                               CHINO VALLEY      AZ           86323
    George Hall                                                            8 Coburn Lane                                                                               Topsham           ME           04086
    GEORGE HART                                                            3 STONEY ROAD                                                                               STONY BROOK       NY           11790
    GEORGE HILLOCKS JR                                                     2012 W 110TH ST                                                                             CHICAGO           IL           60643
    GEORGE HODGMAN                                                         250 WEST 24TH STREET # 5DW                                                                  NEW YORK          NY           10011
    GEORGE HUNTER PHOTGRAPHY                                               3236 MISSISSAUGA ROAD                                                                       MISSISSAUGA       ON           L5L 1J4      Canada
    GEORGE J KOKKONAS                                                      3300 ROSLYN ROAD                                                                            OAK BROOK         IL           60523
    GEORGE J SCHWARTZ                                                      9453 KIMBERLY WAY- BOX 181                                                                  SEAL ROCK         OR           97376
    George Johnson Jr                                                      1655 Oriole Ct                                                                              Titusville        FL           32780
    GEORGE KONRAD                                                          110 BLECKER STREET               PETER LAKNER                                               NEW YORK          NY           10012-2101
    GEORGE KREVSKY                                                         77 GEARY STREET                                                                             SAN FRANCISCO     CA           94108
    GEORGE KRISTINE O CONNELL                                              29866 TRIUNFO DR                                                                            AGOURA            CA           91301
    GEORGE LAYCOCK                                                         5944 CRITTENDEN DRIVE                                                                       CINCINNATI        OH           45224
    George Lewis                                                           1165 Blackburn Dr                                                                           Grayslake         IL           60030
                                                                           1133 WESTCHESTER AVENUE STE
    GEORGE LITTLE MANAGEMENT LLC            SCOTT W KRAMER                 N136                                                                                        WHITE PLAINS      NY           10604
    GEORGE LUCAS EDUCATIONAL
    FOUNDATION                              DBA EDUTOPIA                   PO BOX 3494                                                                                 SAN RAFAEL        CA           94912
    GEORGE M HARDING                                                       815 PUGHTOWN RD                                                                             SPRING CITY       PA           19475
    George Mendillo                                                        13703 Lensdale Lane                                                                         Windermere        FL           34786
    GEORGE P LYNES                          ESTATE OF RUSSELL LYNES        427 E 84TH STREET                                                                           NEW YORK          NY           10028
    GEORGE PUTNAM                                                          36 PROCTOR STREET                                                                           MANCHESTER        MA           01944
    GEORGE R GRAYBILL                                                      14 OAK SHADOWS LANE                                                                         APTOS             CA           95003
    George R Yannetti Jr                                                   2 Moss St.                                                                                  Burlington        MA           01803
    GEORGE RESTREPO                                                        66 MARSHAL STREET APT 7                                                                     BROOKLINE         MA           02446
    George Rose                                                            190 Brookbend Dr                                                                            Waxahachie        TX           75165
    GEORGE S DRAGNICH                                                      3845 N TAZEWELL STREET                                                                      ARLINGTON         VA           22207-4544
    George Salinger                                                        12782 WOODLAWN AVENUE                                                                       TUSTIN            CA           92680
    GEORGE SAUNDERS                         C/O ICM ATTN ESTHER NEWBERG    730 FIFTH AVENUE 3RD FLOOR                                                                  NEW YORK          NY           10019
    GEORGE SHANNON                                                         13000 ELLINGSEN ROAD                                                                        BAINBRIDGE IS     WA           98110
    GEORGE STEINMETZ                                                       190 LINDEN AVE                                                                              RIDGEWOOD         NJ           07028
    GEORGE SULLIVAN                                                        330 EAST 33RD STREET                                                                        NEW YORK          NY           10016
    George Summers                                                         77 Wood St                                                                                  Lexington         MA           02421
    GEORGE SUMNER JR                                                       4606 GREYWATER DR                                                                           CHESTER           VA           23831
    GEORGE SYDNOR                                                          P O BOX 165                                                                                 TROY              MO           63379
    George T Hoffman                                                       6 St. Andrews Circle                                                                        Southampton       NY           11968
    GEORGE T MORRISON                                                      159 HUNTINGTOWN ROAD                                                                        NEWTOWN           CT           06470
    George W Herz III                                                      46 Fenway                        Apt 3                                                      Boston            MA           02115
    GEORGE W NOBLIT                                                        CB#3500, UNC-CH                  UNIVERSITY OF NC                                           CHAPEL HILL       NC           27599
    George W Roth                                                          139 Worcester St                 Apt. #1                                                    Boston            MA           02118
    GEORGE WARREN                           1300 QUEEN RD                  1300 QUEENS RD, # 214                                                                       CHARLOTTE         NC           28207

    GEORGE WASHINGTON MANOR INC                                            1305 OLD NORTHERN BLVD                                                                      ROSLYN            NY           11576
    GEORGE WEIDENFELD + NICOLSON                                           ORION HOUSE, 5 UPPER ST
    LTD                                                                    MARTINS LANE                                                                                LONDON                         WC2H 9EA     United Kingdom
    GEORGE WOOD                                                            PO BOX 215                                                                                  AMESVILLE         OH           45711
    GEORGE WUERTHNER                                                       PO BOX 719                                                                                  RICHMOND          VT           05477
    GEORGES BORCHARDT INC                                                  136 E 57TH STREET                ATTN KATE JOHNSON                                          NEW YORK          NY           10022
    GEORGES BORCHARDT INC                                                  136 EAST 57TH ST                                                                            NEW YORK          NY           10022
    Georgetown County School Dist. Accounts Payable                        2018 Church Street                                                                          Georgetown        SC           29440
    GEORGETOWN PREPARATORY
    SCHOOL                                                                 10900 ROCKVILLE PIKE                                                                        NORTH BETHESDA    MD           20852
                                   EDMUND A WALSH SCHOOL OF
    GEORGETOWN UNIVERSITY          FOREIGN SVC                             37TH AND O STREET NW             ATTN PROF ERICK D LANGER                                   WASHINGTON        DC           20057
    GEORGE-WARREN HOLLY                                                    187 HIGH STREET                                                                             PHOENICIA         NY           12464
    GEORGIA AFELDMAN                                                       212 W SPRINGFIELD ST APT 2                                                                  BOSTON            MA           02118
    GEORGIA ASSOC OF SCH
    PSYCHOLOGISTS                                                          1243 WILLIS MILL RD SW           ATTN DEBORAH CROCKETT                                      ATLANTA           GA           30311
    GEORGIA ASSOCIATION FOR GIFTED
    CHILDREN                                                               1579F MONROE DRIVE # 321                                                                    ATLANTA           GA           30324
    GEORGIA ASSOCIATION OF                                                 1551 JENNINGS MILL ROAD SUITE                                      GEORGIA ASSOCIATION OF
    CHRISTIAN SCHOOLS              FOR EXCELLENCE INC                      2100-A                                                             CHRISTAN SCHOOLS         BOGART            GA           30622
    GEORGIA ASSOCIATION OF
    EDUCATIONAL                    LEADERS                                 5634 ATLANTA HIGHWAY SUITE 300                                                              FLOWERY BRANCH    GA           30542




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                  165 of 488                                                                                                   1:26 PM
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                                                                                                                  173 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                        Address2              Address3              City        State       Zip            Country
    GEORGIA CHARTER SCHOOLS ASSN
    INC                                                                    600 W PEACHTREE ST NW STE 1555                                                 ATLANTA           GA           30038
    GEORGIA CNCIL FOR EXCEPTIONAL
    CHILDREN                                                               200 DOUBLE SPRINGS CHURCH RD      ATTN SUZANNE M CARTER                        MONROE            GA           30656
    GEORGIA COLLEGE & STATE UNIV
    LIBRARY                                                                CAMPUS BOX 43                                                                  MILLEDGEVILLE     GA           31061-0490
    GEORGIA COMPENSATORY EDUC               ATTN JANET BROWN - CENTRAL
    LEADERS                                 ELEM SCH                       633 STRIPLING CHAPEL RD                                                        CARROLLTON        GA           30116
    GEORGIA COUNCIL FOR THE SOCIAL          DIANE SLOAN - GCSS CONF
    STUDIES                                 COORDINATOR                    1650 ANDERSON MILL RD APT 2203                                                 AUSTELL           GA           30106
    GEORGIA COUNCIL OF TEACHERS
    OF                                      ENGLISH                        1402 COVENTRY COURT                                                            GAINESVILLE       GA           30504
    GEORGIA COUNCIL OF TEACHERS                                                                              KIMBERLY GARDNER - KENNESAW
    OF MATHS                                                               1000 CHASTAIN RD MS # 1601        STATE UNI                                    KENNESAW          GA           30144-5591
    GEORGIA DEAVER CALLIGRAPHY
    AND                                     ILLUSTRATION                   5 STARVIEW WAY                                                                 SAN FRANCISCO     CA           94131
    GEORGIA DEPARTMENT OF
    EDUCATION                               GEORGIA ACADEMY FOR THE BLIND 2895 VINEVILLE AVE                                                              MACON             GA           31204-2831
    Georgia Department of Revenue           Processing Center             PO Box 740317                                                                   Atlanta           GA           30374-0317
    GEORGIA DEPARTMENT OF
    REVENUE                                 PROCESSING CENTER              PO BOX 740397                                                                  ATLANTA           GA           30374-0397
    Georgia Dept of Revenue                 Attn Bankruptcy Division       PO Box 161108                                                                  Atlanta           GA           30321
    GEORGIA DEPT OF REVENUE                                                P O BOX 105136                                                                 ATLANTA           GA           30348-5136
    GEORGIA EDUCATIONAL
    TECHNOLOGY                              CONSORTIUM INC                 PO BOX 12189                                                                   TALLAHASEE        FL           32317
    GEORGIA FUND FOR TECHNICAL
    AND ADULT                               EDUCATION                      1800 CENTURY PLAZA STE 575                                                     ATLANTA           GA           30345
    GEORGIA HEAD START
    ASSOCIATION INC                                                        815 PARK NORTH BLVD                                                            CLARKSTON         GA           30021
    GEORGIA HEARD                                                          3800 N OCEAN DRIVE # 1552                                                      SINGER ISLAND     FL           33404
    GEORGIA HISTORICAL SOCIETY                                             501 WHITAKER STREET                                                            SAVANNAH          GA           31401
    GEORGIA HOME EDUCATORS ASSN
    INC                                                                    609 ADAMS ROAD                                                                 FAYETTEVILLE      GA           30214
    GEORGIA INDEPENDENT SCHOOL
    ASSN                                                                   P O BOX 1057                                                                   THOMASTON         GA           30286
    GEORGIA POWER COMPANY                                                  96 ANNEX                                                                       ATLANTA           GA           30396-0001
    GEORGIA RUCKER                          GEORGIA RUCKER DESIGN          408 S BALDWIN ST                                                               MADISON           WI           53703
    GEORGIA SCHOOL
    SUPERINTENDENTS ASSN                                                   PO BOX 3977                                                                    ATLANTA           GA           30302
                                                                           315 West Tower #2 Martin Luther
    Georgia Secretary of State                                             King,JR Dr.                                                                    Atlanta           GA           30334-1530
    GEORGIA SOUTHERN MUSEUM
    (UNIV)                                                                 P O BOX 8061                                                                   STATESBORO        GA           30460
    GEORGIA SOUTHERN UNIV STORE                                            P O BOX 8003                                                                   STATESBORO        GA           30460
    GEORGIA STATE UNIVERSITY                COLLEGE OF EDUCATION MSIT      30 PRYOR STREET SUITE 600                                                      ATLANTA           GA           30303
                                            AMERICAN SOC FOR PUBLIC
    GEORGIA STUDENT CHAPTER                 ADMINISTRAT                    UNIVERSITY OF GEORGIA                                                          ATHENS            GA           30602
    GEORGIA SW COLLEGE
    BOOKSTORE                                                              800 WHEATLEY STREET                                                            AMERICUS          GA           31709
                                            ATTN HARVEY OAXACA - RIDGEVIEW
    GEORGIA TESOL                           CHARTER                        5340 S TRIMBLE ROAD                                                            ATLANTA           GA           30342
    GEORGIA WORLD CONGRESS
    CENTER STATE                            AUTHORITY                      285 ANDREW YOUNG INTNL BLVD                                                    ATLANTA           GA           30313-1591
    GEORGIANA BANGURA                                                      14 A HEMPSTEAD DRIVE                                                           SOMERSET          NJ           08873
                                            DBA BRADLEY IRELAND
    GEORGIENNE BRADLEY                      PRODUCTIONS                    22631 PACIFIC COAST HWY # 110                                                  MALIBU            CA           90265
    GEORGINA KLEEGE                                                        1728 BEVERLY PLACE                                                             BERKELEY          CA           94707
    GEOTRUST INC                                                           PO BOX 840695                                                                  DALLAS            TX           75284-0695
    Gerald Barr                                                            401 West Mcclellan Road                                                        Bowling Green     KY           42101
    GERALD BARRY FELDMAN                    JERRY FELDMAN PRODUCTIONS      P O BOX 681                                                                    BURBANK           CA           91503
    GERALD C DENNIS JR                                                     3933 BLUE WATER ROAD                                                           TRAVERSE CITY     MI           49686
    GERALD COLES                                                           51 AZALEA RD                                                                   ROCHESTER         NY           14620-3019
    GERALD CUBITT                                                          PO BOX 15-443                                                                  CAPE TOWN                      08018        South Africa
    GERALD DUCKWORTH & CO LTD                                              90-93 COWCROSS STREET             FIRST FLOOR EAST WING                        LONDON                         EC1M 6BF     United Kingdom
    Gerald Foos                                                            3201 Country Club Parkway                                                      Castle Rock       CO           80108
    Gerald G Ligsay                                                        1451 GOLDEN LAKE ROAD                                                          SAN JOSE          CA           95131
    GERALD GRAFF                                                           6818 KILDARE                                                                   LINCOLNWOOD       IL           60712
    Gerald Lehmann                                                         1110 Verona Road                                                               Marshall          MI           49068
    Gerald Ligsay                                                          1451 GOLDEN LAKE ROAD                                                          SAN JOSE          CA           95131
    GERALD MCDERMOTT                                                       13928 TAHITI WAY #122                                                          MARINA DEL REY    CA           90292



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   166 of 488                                                                                     1:26 PM
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                                                                                                              174 Matrix
                                                                                                                      of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2                       Address3             City           State       Zip            Country
    GERALD MCDERMOTT                                                       4712 ADMIRALTY WAY APT 448                                                                 MARINA DEL REY      CA           90292
    GERALD R BRIMACOMBE                                                    13939 SHORESIDE CT                                                                         SALVAGE             MN           55378
    GERALD R CULEN                                                         1308 SW 96TH ST                                                                            GAINESVILLE         FL           32607
    Gerald Reese                                                           71 Churchill Avenue                                                                        Brockton            MA           02301
    GERALD S HANNA TRUST DTD
    5/15/92                                                                815 WILDCAT RIDGE                                                                          MANHATTAN           KS           66502-2925
    GERALD SCHNEIDER                                                       PO BOX 5560                         UNIV KONSTANZ/FAC PUB ADM                              KONSTANZ                         78434        Germany
    Gerald Suddeth-Lott                                                    22740 Civic Ctr Dr                  #A5                                                    Southfield          MI           48034
    Gerald T Hughes                                                        20 Chapel Street                    Apt C811                                               Brookline           MA           02446
    GERALD W BIRSCHBACH                                                    7105 VENETIAN WAY                                                                          LOUISVILLE          KY           40214
    GERALD WELTE                                                           2078 35TH AVENUE COURT                                                                     GREELEY             CO           80634
    Geraldine Bryan                                                        531 Poinsettia Ave                                                                         Titusville          FL           32796
    Geraldine Caban                                                        160 South Ave                                                                              Swedesboro          NJ           08085
    GERALDINE CONNOLLY                                                     14894 ROMAIN DRIVE                                                                         BIGFORK             MT           59911
    GERALDINE GONZALES                                                     5175 LOWELL BLVD                                                                           DENVER              CO           80221

    GERALDINE MCCAUGHREAN                                                  GREAT SHEFFORD WANTAGE ROAD BRIDGE HOUSE                                                   BERKSHIRE                        RG16 7DA     United Kingdom
    Geraldine Murray                                                       32 KENNEDY LN                                                                              W YARMOUTH          MA           02673
    Geraldine OBrien                                                       738B Putnam Blvd                                                                           Wallingford         PA           19086
    Geraldine Stevens                                                      10109 Potter Road                                                                          Des Plaines         IL           60016
    GERALDINE TOUZEAU-PATRICK                                              15104 KATIES CORNER LANE                                                                   PFLUGERVILLE        TX           78660
    Gerard Goodman                                                         P.O. Box 486                                                                               Haddonfield         NJ           08033
    GERARD MCCAULEY AGENCY INC                                             P.O. BOX 844                                                                               KATONAH             NY           10536-0844
    GERARD MCCAULEY AGY INC                                                P O BOX 844                                                                                KATONAH             NY           10536
    GERARD S VANO                                                          33 KIMBERELY DR                                                                            GUELPH              ON           N1H 1L3      Canada
    Gerda Glasser                                                          700 Baxter Ln                                                                              Hoffman Estates     IL           60169
    GERDA WEISSMAN KLEIN                                                   8100 E CAMELBACK ROAD                                                                      SCOTTSDALE          AZ           85251
    GERDES FLEURANT                                                        3485 ENVIRON BLVD #203                                                                     LAUDERHILL          FL           33319
    GERHARD GSCHEIDLE                                                      PARKSTRASSE 23                                                                             BALTMANNSWEILER                  D-73666      Germany
    GERHARD HUDEPOHL                                                       AV GRECIA 736                                                          ANTOFAGASTA         II - Antofagasta                              Chile
    GERILYN E STARK-JERRY                                                  2689 WHISPERING TRAILS DRIVE                                                               WINTER HAVEN        FL           33884
    GERMAN BOOK OFFICE YEW YORK
    INC                                                                    1014 FIFTH AVE, 4TH FLOOR                                                                  NEW YORK            NY           10028
    GERMAN PAGAN                            URB CONDADO MODERNO            CALLE GLADIOLA # 92                                                                        CAGUAS              PR           00725
    GERNERT COMPANY INC                                                    136 E 57TH STREET 18TH FLOOR                                                               NEW YORK            NY           10022
    GERSTEN RUSSELL                                                        4281 KATELLA AVENUE SUITE 205                                                              LOS ALAMITOS        CA           90720
    Gertrude Mackay                                                        16 A FOUR MILE VILLAGE                                                                     BOXFORD             MA           01921
    GESTION ASL INC                         C/O ANDRE MICHAUD CA           510-999 RUE BEAUREGARD                                                                     QUEBEC                           G1V 4T9      Canada
    GETCHELL LEROY                                                         7663 W DAY FOREST ROAD                                                                     EMPIRE              MI           49630
    GETTY IMAGES                                                           PO BOX 953604                                                                              ST LOUIS            MO           63195
    GETTY IMAGES INC                        DBA PUNCHSTOCK                 PO BOX 953604                                                                              ST LOUIS            MO           63195
                                                                           COLLEGE UNION BLDG -LINCOLN
    GETTYSBURG COLLEGE STORE                ATTN RUBY - ACCOUNTS PAYABLE   AVE                                                                                        GETTYSBURG          PA           17325
    GG TAUBER LLC                                                          289 SATE ROUTE 33 SUITE 2                                                                  MANALAPAN           NJ           07726-8364
    GH LLC                                                                 700 FARABEE COURT                                                                          LAFAYETTE           IN           47906
    GHADA HUSSEIN ZEIDAN                                                   KHAYAT BLDG POST BOX 8375           JEANNE DARC STREET TAHSEEN                             BEIRUT                                        Lebanon
    GIA PUBLICATIONS                                                       7404 S MASON AVENUE                 ATTN ALEX HARRIS                                       CHICAGO             IL           60638
    GIA PUBLICATIONS INC                                                   7404 SOUTH MASON AVENUE                                                                    CHICAGO             IL           60638
    GIAN PAGNUCCI                                                          39 MERRICK ST                                                                              INDIANA             PA           15701
    Gianna Bradford                                                        1302 Banbridge Drive                                                                       Kissimmee           FL           34758
    Gianni Hughes                                                          1026 irving park road               1a                                                     bensenville         IL           60106
    GIBBS DESIGN SOLUTIONS INC                                             102 HAVENWOOD COURT                                                                        HOMEWOOD            AL           35209
    GIBLIN JAMES CROSS                                                     200 EAST 24TH STREET APT 1606                                                              NEW YORK            NY           10010
    GIBSON DUNN & CRUTCHER LLP                                             DEPARTMENT 0723                                                                            LOS ANGELES         CA           90084-0723
                                            DBA GIBSON ELECTRIC &
    GIBSON ELECTRIC CO INC                  TECHNOLOGY SOLU                3100 WOODCREEK DRIVE                                                                       DOWNERS GROVE       IL           60515-5427
    Gibson Hasbrouck & Assoc                                               396 Washington Street               Suite 370                                              Wellesley Hills     MA           02481-6209
    GIBSON ROSEMARY                                                        4908 WILLOW CREEK DRIVE                                                                    WILSON              NC           27896
    GIBSON-SCHNEIDER LOCKSMITH
    LLC                                                                    21748 STATE HWY U                                                                          WARRENTON           MO           63383
    GIFALDI DAVID                                                          4305 N E SKIDMORE STREET                                                                   PORTLAND            OR           97218

    GIFTED ASSOCIATION OF MISSOURI                                         134 INDUSTRIAL PARK DRIVE                                                                  HOLLISTER           MO           65672
    GIGI KAESER                                                            36 IRELAND ST                                                                              WEST CHESTERFIELD   MA           01084
    GIL GARCIA                                                             18277 BARROSO ST                                                                           ROWLAND HEIGHTS     CA           91748

    GILA CORPORATION                        DBA MUNICIPAL SERVICES BUREAU P O BOX 16755                                                                               AUSTIN              TX           78761-6755

    GILBERT & CARLSON DESIGN LLC            DBA GEARBOX                    257 S PINE STREET PO BOX 3500-216                                                          SISTERS             OR           97759
    GILBERT DESIGN ASSOCIATES INC                                          240 HOPE STREET                                                                            PROVIDENCE          RI           02906



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                      167 of 488                                                                                                1:26 PM
                                                      12-12171-reg            Doc 136            Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               175 Matrix
                                                                                                                       of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3                City        State       Zip              Country
    Gilbert Dhennin                                                         5054 Barnegat Point Road                                                       Orlando             FL           32808
    Gilbert G Arroyo Loperena                                               Marina Bahia ME-61                                                             Catano              PR           00962
    Gilbert G Garcia                                                        18277 Barroso St                                                               Rowland Heights     CA           91748
    GILBERT HERNANDEZ                                                       3749 MORNINGS DAWN ST                                                          LAS VEGAS           NV           89129
    GILBERT SANCHEZ LUJAN                   DBA MAGULANDIA STUDIOS          558 WEST 2ND STREET STUDIO D                                                   POMONA              CA           91766
    GILBERT TORO-VENTURA                                                    PO BOX 8330 PAMPANOS STATION                                                   PONCE               PR           00732
    Gilda D Franklin                                                        606 Stansted Manor Drive                                                       Pflugerville        TX           78660
    GILDA RINCON                                                            CHILAPA, COYOACAN                                                              MEXICO CITY                                   Mexico
    GILDER LEHRMAN INSTITUTE OF
    AMERICAN                                HISTORY                         19 W 44TH ST STE 500                                                           NEW YORK            NY           10036
    GILDRYAN PRODUCTION                                                     16 VERGIL COURT                                                                IRVINE              CA           92612
    GILDRYAN PRODUCTIONS                                                    16 VIRGIL CT                                                                   IRVINE              CA           92617
    GILES GAIL                                                              102 PLAYER OAKS PLACE                                                          THE WOODLANDS       TX           77384
    GILL DEIRDRE                                                            13 LAKE FOREST DRIVE                                                           BURLINGTON          VT           05401
    GILL MATTHEWS EDUCATION
    CONSULTANCY                             LTD                             HATFIELD NORTON                  HATFIELD HOUSE                                WORCESTER                        WR5 2PZ      United Kingdom
    GILLESPIE JANET                                                         2915 NE 38TH ST                                                                PORTLAND            OR           97212
    Gillian Brody-Wilcox                                                    5807 Duval Street                                                              Austin              TX           78752
    GILLIAN DUFFY                                                           444 MADISON AVEUE                                                              NEW YORK            NY           10022
    GILLIAN MACKENZIE AGENCY LLC                                            65 BLEECKER ST - 12TH FLOOR                                                    NEW YORK            NY           10012
    GILLIS THOMAS COMPANY                                                   8333 DOUGLAS - SUITE 1414                                                      DALLAS              TX           75225-5821
    GILMAN CHERYL                                                           2930 GARLAND AVENUE, NORTH                                                     PLYMOUTH            MN           55447-1724
    GILMORE KATE                                                            85 FRUIT STREET                                                                ASHLAND             MA           01721
    GILSON GRAPHICS INC                                                     2000 OAK INDUSTRIAL DRIVE NE                                                   GRAND RAPIDS        MI           49503
    GINA CERVETTI                                                           2420 N CIRCLE DR                                                               ANN ARBOR           MI           48103-3437
    Gina Cullen                                                             275 Grant Ave                                                                  Portsmouth          NH           03801
    GINA E SPRINGER SHIRLEY                                                 4715 ALTA LOMA DRIVE                                                           AUSTIN              TX           78749
    Gina Floyd                                                              11707 Uplands Ridge Dr                                                         Austin              TX           78738
    GINA MACCOBY LIT AGENCY                                                 P O BOX 60                                                                     CHAPPAQUA           NY           10514

    GINA MACCOBY LITERARY AGENCY                                            PO BOX 60                                                                      CHAPPAQUA           NY           10514
    GINA OCHSNER                                                            454 HORNET COURT                                                               KEIZER              OR           97303
    Gina OConnor                                                            16 Hawks Ridge Rd.                                                             Billerica           MA           01862
    GINA POIRIER                            DBA GINA POIRIER DESIGN         21 REGENT DRIVE                                                                DANVERS             MA           01923
    GINA RESTER-ZODROW                                                      1879 MEINERS ROAD                                                              OJAI                CA           93023-1625
    GINA RISHER                                                             126 STAR OF TEXAS DR                                                           KYLE                TX           78640
    Gina Simowitz                                                           4334 English Morning Lane                                                      Ellicott City       MD           21043
    GINA SNOW                                                               110 BRITTINGTON DR                                                             LEWISVILLE          NC           27023
    GINA WILLNER-PARDO                                                      320 CLIFF DRIVE                                                                APTOS               CA           95003
    GINGER GILES                                                            5202 KEVIN DR                                                                  DUNCAN              OK           73533
    Ginger Hoppe                                                            1523 Snow Bird Trail                                                           Lewisville          TX           75077
    Ginger L Dudley                                                         614 Sun Bluff Lane                                                             Apopka              FL           32712
    GINGER L WILLIAMS                                                       9731 NEELY CIR                                                                 SHREVEPORT          LA           71118
    Ginger Parcell                                                          1522 South Estate Lane                                                         Lake Forest         IL           60045
    GINGER WADSWORTH                                                        2 FLEETWOOD COURT,                                                             ORINDA              CA           94563
    GINNYS PRINTING                                                         PO BOX 143924                                                                  AUSTIN              TX           78714-3924
    GINTZLER GRAPHICS INC                                                   100 LAWRENCE BELL DRIVE                                                        BUFFALO             NY           14221
    GIOVANNA FERREIRA MERCED                                                RR # 6 BOX 4001                                                                SAN JUAN            PR           00926
    GIOVANNA PAPONETTI                      DBA CAPTURED MOMENTS            160 CUCHILLA ROAD                                                              RANCHOS DE TAOS     NM           87557
    GIOVANNI CASELLI                                                        PZZA PIERAZZUOLI 3                                                             BIBBIENA (AR)       Arezzo       52011        Italy
    GIRARD CITY SCHOOL DIST                 PROSPECT ELEMENTARY SCHOOL      700 E PROSPECT ST                                                              GIRARD              OH           44420
    GIRL SCOUTS OF CITRUS                                                   341 N MILLS AVENUE                                                             ORLANDO             FL           32803
    GIRL SCOUTS OF THE USA                                                  420 FIFTH AVENUE                                                               NEW YORK            NY           10018
    GIRL ZONE                               ATTN MARY JO REALE              110 CENTRAL AVE                                                                SOUTH BURLINGTON    VT           05403
    GIRLS LIFE ACQUISITION CORP                                             4529 HARFORD ROAD                                                              BALTIMORE           MD           21214
    GIRLS PREPARATORY CHARTER
    SCH OF NY                                                               442 E HOUSTON STREET RM 312                                                    NEW YORK            NY           10002
    Giselda Aguilar                                                         2305 Maple Hollow Trl                                                          Austin              TX           78728
    Gisele M Johnson                                                        9903 Burton Rd.                  #2031                                         Dallas              TX           75217
    Gisele Murphy                                                           1247 Cambridge St                #3                                            Cambridge           MA           02139

    GISELLE ACEVEDO RODRIGUEZ                                               #270 C-LAS PALMAS URB LA COSTA                                                 FAJARDO             PR           00738
    Giselle Carpio-Williams                                                 653 Parkview Avenue                                                            North Plainfield    NJ           07063
    GISELLE RODRIGUEZ                                                       14014 NW 16 DRIVE                                                              PEMBROKE PINES      FL           33028
                                            DBA FILMDISTRICT DISTRIBUTION
    GK FILMS                                LLC                             230 PARK AVENUE STE 964                                                        NEW YORK            NY           10169
    GLACIAL HILLS ELEMENTARY
    SCHOOL                                                                  P O BOX 189                                                                    STARBUCK            MN           56381
    GLAD WORKS                                                              545 PAWTUCKET AVENUE                                                           PAWTUCKET           RI           02860
    GLADIS KERSAINT                                                         1309 HORSEMINT LN                                                              WESLEY CHAPEL       FL           33543



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    168 of 488                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
                                                                                                                   Entered
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                                                                                                          Pg Creditor
                                                                                                              176 Matrix
                                                                                                                      of 519
                                                                                                                  First Class Service List


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    GLADYS A FERNANDEZ                                                     3655 S LEJEUNE RD                                                                      COCONUT GROVE       FL           33146
    GLADYS BERRY                                                           1461 SHORE PARKWAY                                                                     BROOKLYN            NY           11214
    GLADYS CRUZ GARCIA                                                     PO BOX 464                                                                             BAYAMON             PR           00960
    Gladys Fuentes                                                         168 Alameda Drive                                                                      Kissimmee           FL           34743
    GLADYS I TARPLEY                                                       P O BOX 442                                                                            CYRIL               OK           73029
    GLADYS M DAVILA HERNANDEZ                                              COND MONTECILLO CT APTO 3101                                                           TRUJILLO ALTO       PR           00976
    GLASER LINDA                                                           4215 LUVERNE STREET                                                                    DULUTH              MN           55804
    GLASER MARGARET A                                                      38 E. SUNNY SANDS ROAD                                                                 CATHLAMET           WA           98612-9708
    GLASS ANDREW                                                           170 SECOND AVENUE, #6D                                                                 NEW YORK            NY           10003
    GLASSHOUSE IMAGES                                                      161 WEST 15TH ST STUDIO 1C                                                             NEW YORK            NY           10010
    GLASSWORKS PRODUCTIONS INC              GLASSWORKS MULTIMEDIA          2520 W 78TH STREET BAY 2520-5                                                          HIALEAH             FL           33016
    GLAVIN JOHN                                                            707 LAKE                                                                               WILMETTE            IL           60091
    Glen Bischoff                                                          372 Magneta Loop                                                                       Auburndale          FL           33823
    GLEN ELLYN STORAGE
    CORPORATION                                                            465 E FULLERTON AVENUE                                                                 CAROL STREAM        IL           60188
    GLEN J HUGHES                                                          860 EDENWOOD DR                                                                        ROSELLE             IL           60172-2877
                                            DBA DEHART RECYCLING
    GLEN L DEHART & SON, INC                EQUIPMENT                      11862 MISSOURI BOTTOM RD                                                               HAZELWOOD           MO           63042
    GLEN URQUHART SCHOOL                                                   74 HART STREET                                                                         BEVERLY FARMS       MA           01915
    Glenbrook High Schools                                                 1835 Landwehr Rd.                                                                      GLENVIEW            IL           60025-1289
    GLENDA BROWN                                                           5706 ERHARD DR                                                                         RIVERVIEW           FL           33569
    GLENDA COLON                            PASEO LOS CORALES 3 1          552 GOLFO DE MEXICO                                                                    DORADO              PR           00646
    GLENDA LOU JONSON                                                      30765 430TH AVENUE                                                                     OTTERTAIL           MN           56571
    Glenda Severin                                                         292 DALLAS RD                                                                          HONEAPATH           SC           29654
    GLENDALE COLLEGE BOOKSTORE                                             1500 NORTH VERDUGO ROAD                                                                GLENDALE            CA           91208
    GLENDALE ELEMENTARY                                                    800 THOMPSON AVE                                                                       NASHVILLE           TN           37204
    GLENN A WOLFF                                                          230 E 14TH STREET STE D                                                                TRAVERSE CITY       MI           49684
    GLENN ALEGRE                                                           33464 SOMERSET RD                                                                      YUCAIPA             CA           92399
    GLENN CHAPIN                                                           3510 MERGANSER LANE                                                                    ALPHARETTA          GA           30022
    Glenn Diedrich                                                         4606 Rose Ct.                                                                          Winthrop Harbor     IL           60096
    GLENN M ROBINS                                                         702 HARROLD AVE                                                                        AMERICUS            GA           31709
    Glenn Orwig                                                            168 Hampden Park                                                                       Tiffin              OH           44883
    GLENN S WILLIAMS                                                       3201 W PRYOR AVE                                                                       VISALIA             CA           93277
    GLENN STANSBERRY                                                       10961 WAR ADMIRAL DRIVE                                                                UNION               KY           41091-7740
    GLENN STOUT                                                            PO BOX 549                                                                             ALBURGH             VT           05440
    Glenn Wilson                                                           11nauset Street                                                                        Sandwich            MA           02563
    GLENN WORTHMAN                                                         4302 ADELPHIA LANE                                                                     AUSTIN              TX           78727-5333
    Glenna B Mcfadden                                                      1822 Walnut St.                                                                        White Pine          TN           37890
    GLENNA D SLOAN                                                         26 GROVE STREET                                                                        GARDEN CITY         NY           11530
    Glenna Scott                                                           4400 Switch Willo               #22                                                    Austin              TX           78727
    GLENVIEW PUBLIC SCHOOLS                 COMM CONSOLIDATED SD 34        14401 GREENWOOD RD                                                                     GLENVIEW            IL           60026
    GLOBAL CHARTER SERVICES LTD             DBA BUSBANK                    200 WEST ADAMS SUITE 1100                                                              CHICAGO             IL           60606
    GLOBAL CROSSING                                                        PO BOX 741276                                                                          CINCINNATI          OH           45274-1276
                                                                           1005 CONVENTION PLAZA LKBX
    GLOBAL CROSSING CONFERENCING US BANK OPERATIONS CENTER                 790407                                                                                 ST LOUIS            MO           63101

    GLOBAL CROSSING CONFERENCING                                           DEPT 743                                                                               DENVER              CO           80291-0743

    GLOBAL CROSSING CONFERENCING                                           P O BOX 790407                                                                         SAINT LOUIS         MO           63179-0407

    GLOBAL CROSSING UK                      TREASURY DEPARTMENT            CHINEHAM GATE CROCKFORD LANE                                                           BASINGSTOKE HANTS                RG24 8NA     United Kingdom

    GLOBAL CROSSING UK                      TELECOMMUNICATIONS LTD         CHINEHAM GATE CROCKFORD LANE                                                           BASINGSTOKE HANTS                RG24 8NA     United Kingdom
    GLOBAL DIRECTORIES INC                  DBA US-YELLOW                  P O BOX 3110                                                                           JERSEY CITY         NJ           07303-3110
    GLOBAL ECOTECHNICS                      DBA SYNDERGETIC PRESS          1 BLUEBIRD COURT                                                                       SANTA FE            NM           87508
    GLOBAL EDUCATION RESOURCES
    LLC                                                                    37 STATION ROAD                                                                        MADISON             NJ           07940

    GLOBAL EQUIPMENT COMPANY INC                                           P.O. BOX 905713                                                                        CHARLOTTE           NC           28290
    GLOBAL EVENTS PARTNERS INC     DBA GEP BALTIMORE                       P O BOX 27075                                                                          BALTIMORE           MD           21230
    GLOBAL EXPERIENCE SPECIALISTS
    INC                            GES EXPOSITION SERVICES                 950 GRIER DR                                                                           LAS VEGAS           NV           89119
    GLOBAL ICONS LLC                                                       12400 WILSHIRE BLVD STE 1400    ATTN MS ERIKA TE SLAA                                  LOS ANGELES         CA           90025
    GLOBAL INTELLIGENCE ALLIANCE N
    AMERICA                                                                133 RICHMOND ST WEST, STE 505                                                          TORONTO             ON           M5H 2L4      Canada
    GLOBAL KNOWLEDGE
    INTERMEDIATE HLDS              GLOBAL KNOWLEDGE TRAINING LLC           9000 REGENCY PARKWAY STE 500                                                           CARY                NC           27518
    GLOBAL LITERARY MANAGEMENT
    LLC                                                                    37 WEST 20TH STREET STE 805                                       ATTN KENT WOLF       NEW YORK            NY           10011




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                 169 of 488                                                                                                 1:26 PM
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                                                                                                                     of 519
                                                                                                              First Class Service List


                  CreditorName            CreditorNoticeName                        Address1                       Address2                            Address3                   City          State       Zip            Country
    GLOBAL LITERARY MANAGEMENT
    LLC                                                              37 WEST 20TH ST SUITE 805                                                                         NEW YORK            NY           10011
    GLOBAL SECURITIZATION SERVICES
    LLC                                                              114 WEST 47TH STREET STE 2310-14                                                                  NEW YORK            NY           10026
    GLOBAL TECHNOLOGY GROUP INC DBA SOPHELLE                         1671 WORCESTER ROAD STE 302                                                                       FRAMINGHAM          MA           01701
    GLOBAL TRAVELINK LTD                                             303 FIFTH AVENUE # 1617                                                                           NEW YORK            NY           10016
    GLOBAL VILLAGE FOUNDATION                                        P O BOX 130656                                                                                    CARLSBAD            CA           92013
    GLOBE PHOTOS INC                                                 41 JOHN ST                                                                                        NEW YORK            NY           11702
    GLOMASTER SIGN CO INC                                            3311 INDUSTRIAL 25TH ST                                                                           FORT PIERCE         FL           34946
    Gloria A Greene                                                  1160 Comet Dr                                                                                     Aurora              IL           60505
    Gloria Adkins                                                    45 HAYES STREET                                                                                   CAMBRIDGE           MA           02139
    GLORIA ALLRED                                                    6300 WILSHIRE BLVD, #1500                                                                         LOS ANGELES         CA           90048-5217
    GLORIA ANDERSON                                                  5610 BRAXTONSHIRE COURT                                                                           HOUSTON             TX           77069
    GLORIA BOHORQUEZ                                                 CARRERA 16 # 141-08                                                                               BOGOTA              BOGOTA                    Colombia
    Gloria Carroll-Measells                                          234 SEDGEWICK CIRCLE                                                                              SAINT CHARLES       IL           60174
    Gloria D Bolden                                                  PO BOX 1093                                                                                       Maywood             IL           60153
    GLORIA GARINO-SPENCER                                            14518 W COLUMBUS AVE                                                                              GOODYEAR            AZ           85395
    GLORIA K RAND                                                    7621 SE 22ND STREET                                                                               MERCER ISLAND       WA           98040
    GLORIA M KINNEAVY ADMIN                                          6929 FENIC BROOK DRIVE           EST JAMES LOUIS KINNEAVY                                         AUSTIN              TX           78736
    Gloria Miller                                                    1270 Navarre Place                                                                                Detroit             MI           48207
    Gloria Reyes                                                     3530 Donald Ave.                                                                                  Indianapolis        IN           46224
    GLORIA SESSO                                                     19 CORIE COURT                                                                                    PRT JEFFERSON       NY           11777
    GLORIA TATARIAN                                                  33 BRAINERD ROAD                                                                                  ALLSTON             MA           02134
    GLORY A MARRERO DELGADO        COND LOS ALMENDIOS PLAZA II       APT 706                                                                                           SAN JUAN            PR           00924
    GLOUCESTER PLUMBING SUPPLY                                       337 SOUTH BROADWAY                                                                                GLOUCESTER CITY     NJ           08030
    GLYNDA KINSLAND JOHNSON        DBA GK JOHNSON CONSULTING         6515 WAYAH ROAD                                                                                   FRANKLIN            NC           28734
    GLYPH INTERNATIONAL US LLC                                       8621 ROBERT FULTON DRIVE                                                                          COLUMBIA            MD           21046
                                   DBA GENERAL LEARNING
    GMIT FINANCIAL GROUP INC       COMMUNICATIONS                    900 SKOKIE BLVD STE 200                                                                           NORTHBROOK          IL           60062
    GNM FINANCIAL SERVICES INC     DBA IDCSERVCO                     3962 LANDMARK ST P O BOX 1925                                                                     CULVER CITY         CA           90232-1925
    GOAL USA FUND                                                    41 UNION SQUARE, SUITE 1027                                                                       NEW YORK            NY           10003
    GODDARD RIVERSIDE COMMUNITY
    CENTER                                                           215 PARK AVENUE SOUTH            ATTN LAURIE BROWN                                                NEW YORK            NY           10003
    GODT JOHN                                                        19020 SHAKER BLVD                                                                                 SHAKER HEIGHTS      OH           44122
    GOLAN ANA MARIA                                                  11037 WARNER AVE 148                                                                              FOUNTAIN VALLEY     CA           92708
    GOLD & ASSOCIATES INC                                            PO BOX 2659                                                                                       PONTE VEDRA BEACH   FL           32004
    GOLDEN EAGLE CLEANING
    SERVICES INC                                                     PO BOX 1207                                                                                       BELLMAWR            NJ           08099

    GOLDEN GATE MEAT COMPANY INC                                     1095 SOUTH A STREET                                                                               SANTA ROSA          CA           95404
    Golden Hills School Division                                     435A Highway #1                                                                                   Strathmore          AB           T1P1J4       Canada
    GOLDENBERG CLAUDE                                                3840 FIR CIR                                                                                      SEAL BEACH          CA           90740
    GOLDFARB AND ASSOCIATES                                          721 GIBBON STREET                                                                                 ALEXANDRIA          VA           22314
    Goldman Kidd                                                     183E SPRUCE CIRCLE                                                                                PRINCETON           NJ           08540
    Goldman Sachs Asset Management,
    L.P. (U.S.)                     Rachel Golder                    200 W. St., 36th Fl.                                                                              New York            NY           10282
    Goldman Sachs Asset Mgt
    GOLDMAN SACHS LENDING
    PARTNERS LLC
    Goldman, Sachs & Co.            Larry Walsh                      71 South Wacker Drive            Investment Management Division     Global Liquidity Management   Chicago             IL           60606
    GOLDSTROM ELLEN WEISS                                            10 PROSPECT AVENUE                                                                                SWAMPSCOTT          MA           01907
    GOLEMBE CARLA                                                    5320 BOLERO CIRCLE                                                                                DELRAY BEACH        FL           33484
    GOLF COACHES ASSOCATION OF
    AMERICA                                                          1225 WEST MAIN, STE 110                                                                           NORMAN              OK           73069

    GONZAGA UNIVERSITY BOOKSTORE                                     EAST 710 DESMET AVENUE                                                                            SPOKANE             WA           99258
    GOOD ILLUSTRATION LTD        11-15 BETTERTON STREET              COVENT GARDEN                                                                                     LONDON                           WC2H 9BP     United Kingdom
    Good Spirit School Division                                      63 King Street East                                                                               Yorkton             SK           S3N0T7       Canada
    GOODMAN ASSOCIATES                                               500 WEST END AVENUE              ATTN ARNOLD GOODMAN                                              NEW YORK            NY           10024
    GOODMAN ASSOCIATES                                               500 WEST END AVE                                                                                  NEW YORK            NY           10024
    GOODMAN B JOAN                                                   6I44 KATSON AVENUE NE                                                                             ALBUQUERQUE         NM           87109
    GOODMAN DERRICK                                                  90 FETTER LANE                                                                                    LONDON                           EC4A 1PT     United Kingdom
    GOODMAN GOLDSMITH JOAN
    ELIZABETH                                                        684 WASHINGTON STREET 1-B                                                                         NEW YORK            NY           10014
    GOODNOW MARTHA W                                                 129 BROOK RD                                                                                      MT VERNON           NH           03057
    GOODWAY GRAPHICS OF MA INC                                       16 A STREET                                                                                       BURLINGTON          MA           01803
    GOODWILL TALENTBRIGE LLC                                         P O BOX 78695                                                                                     MILWAUKEE           WI           53278-0695
    Goodwin Procter
    GOODWIN PROCTOR              EXCHANGE PLACE                      53 STATE STREET                                                                                   BOSTON              MA           02109
    GOOGLE, INC                  DEPT 33654                          1600 AMPHITHEATRE PARKWAY                                                                         MOUNTAIN VIEW       CA           94043



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                             170 of 488                                                                                                          1:26 PM
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                                                                                                                           of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                     Address1                      Address2                           Address3               City          State       Zip             Country
    GOOR NANCY                                                               9301 CEDARCREST DRIVE                                                                       BETHESDA             MD           20814
    GOOR RONALD S                                                            9301 CEDARCREST DRIVE                                                                       BETHESDA             MD           20814
    GORAN GORANSSON                                                          MALMOVAGEN 45 B                                                                             TOMELILLA                         S-273 35     Sweden
    GORBACHEV VALERI                                                         1290 EAST 19TH STREET APT 5-A                                                               BROOKLYN             NY           11230
    GORDON BOSWELL FLOWERS                                                   1220 PENNSYLVANIA AVE                                                                       FORT WORTH           TX           76104
    GORDON BRUMM                                                             1515 ST CHARLES AVE                                                                         LAKEWOOD             OH           44107
    GORDON FARRELL                                                           1235 1ST AVENUE APT 9                                                                       NEW YORK             NY           10065
    Gordon Galloway Adv Inc                                                  60 E Rio Salado Pkwy,            Suite 900                                                  Tempe                AZ           85281
    GORDON GINGER                                                            592 STANDISH ROAD                                                                           TEANECK              NJ           07666
    Gordon Kent                                                              3 Elder Ballou                   Meeting House Rd.                                          Cumberland           RI           02864
    GORDON PRADL                                                             197 PARK PLACE                                                                              BROOKLYN             NY           11238
    Gordon R. Hjalmarson                                                     15701 West Eucalyptus Ct.                                                                   Suprise              AZ           85374
    Gordon Yeaton                                                            680 Indian Hill Road                                                                        Belle Vernon         PA           15012
    GORDONS WALTHAM LIQUOR
    STORE INC                               GORDONS FINE WINES & LIQUORS     P O BOX 310                                                                                 WALTHAM              MA           02454
    GORMAN JIM                                                               15939 RAYEN STREET                                                                          NORTH HILLS          CA           91343-4811
    GORMAN JOHN                                                              618 STONEHENGE DR                                                                           FAIRFIELD            CA           94534
    GOSHEN COMMUNITY SCHOOLS                                                 613 EAST PURL ST                                                                            GOSHEN               IN           46526
    GOSNER PAMELA W                                                          203 LONGWOOD AVE                                                                            CHATHAM              NJ           07928
    GOSPEL VALUES INC                                                        403 N MAIN STREET                                                                           O FALLON             MO           63366
    GOTHAM ART AND LITERARY
    AGENCY,INC.                                                              1040 FIRST AVENUE SUITE 262                                                                 NEW YORK             NY           10022
    GOTT J RICHARD III                                                       63 CARTWRIGHT DR EAST                                                                       PRINCETON JUNCTION   NJ           08550
    GOURLEY ROBBIN                                                           348 ADELPHI STREET                                                                          BROOKLYN             NY           11238
    Government of New Brunswick                                              1135 Prospect ST                                                                            Fredericton          NB           E3B4Y4       Canada
    GOVERNMENT OF THE DISTRICT OF
    COLUMBIA                                                                 PO BOX 92300                                                                                WASHINGTON           DC           20090
    GOVERNMENT OF THE VIRGIN
    ISLANDS                                 DEPT OF EDUCATION                1834 KONGENS GADE                                                                           ST THOMAS                         00802-6746
    Governor Hotel                          Accounts Receivable              614 Southwest 11th Avenue                                                                   Portland             OR           97205
    GOVIND ARMSTRONG                        ATTN REID STRATHEN TABLE 8       7661 MELROSE AVE                                                                            LOS ANGELES          CA           90046
    GOVT OF THE UNITED STATES
    VIRGIN ISLANDS                                                           2133 HOSPITAL STREET                                                                        CHRISTIANSTED        VI           00820
    GOWER LIMITED                                                            23/27 SEATON PLACE               CHARTER PLACE                      ST HELIER               JERSEY                            JE1 1JY      United Kingdom
    GP COMMUNICATIONS LLC                   GENERAL POST OFFICE              P O BOX 347255                                                                              PITTSBURGH           PA           15251-4255
    Grace Andresini                                                          139 Truxton Road                                                                            Dix Hills            NY           11746
    Grace Ann Cohen                                                          9 Milton Court                                                                              Cary                 IL           60013
    Grace Chapel Castle Rock                c/o Kevin Rogers                 PO Box 2047                                                                                 Elizabeth            CO           80107

    GRACE DAVIES                            DBA GRACE DAVIES PHOTOGRAPHY 108 LEFFERTS PLACE                                                                              BROOKLYN             NY           11238
    GRACE EDUCATIONAL RESOURCES
    INC                                                                      1808 C WEST DIVERSEY PKWY                                                                   CHICAGO              IL           60614
    Grace L. Mcgrane                                                         16 Catherine Avenue                                                                         Reading              MA           01867
    Grace McGrane                                                            16 Catherine Avenue                                                                         Reading              MA           01867
    GRACE MING-YEE MAI                                                       8600 POWHATAN STREET                                                                        NEW CARROLLTON       MD           20784
    GRACE MISSIONARY CHURCH                                                  1613 AUTUMN BREEZE LANE                                                                     LEWISVILLE           TX           75077
    Grace Smith                                                              10287 Thames Ct. West                                                                       Indianapolis         IN           46229
    GRACE VAN GORP                                                           2951 SOUTH RACE ST                                                                          DENVER               CO           80210
    GRACELAND COLLEGE CTR FOR               DEVELOPMENT DBA SKILLPATH
    PROF                                    SEMINARS                        P O BOX 804441                                                                               KANSAS CITY          MO           64180-4441
    GRACELAND COLLEGE CTR FOR               & LIFELONG LEARNING - SKILLPATH
    PROF DEV                                ONSITE                          PO BOX 803839                                                                                KANSAS CITY          MO           64180
    GRACEWING PUBLISHING                                                    2 SOUTHERN AVENUE                                                    LEOMINSTER              Hertfordshire                     HR6 0QF      United Kingdom
    Gracie Cherry                                                           484 Nadeau Way                                                                               Apopka               FL           32712
    Gracie E Strawn                                                         1042 Lake Drive                                                                              Hornbeak             TN           38232
    Graciela Barbera                                                        3203 Mid Hollow                                                                              San Antonio          TX           78230
    Graciela Calderon                                                       668 Wood Lawn Ave                                                                            Aurora               IL           60506
    Graciela Magana                                                         1374 California Ave                                                                          Aurora               IL           60506
    Graciela Torres                                                         3028 Silver Charm Lane                                                                       Montgomery           IL           60538
    GRADECAM CORPORATION                                                    694 PINNACLE PLACE                                                                           LIVERMORE            CA           94550
    GRADIENT LABS LLC                                                       2828 SPRING ST                                                                               PITTSBURGH           PA           15210
    GRAEME HART                                                             42 BOSWICK LANE                                                      DUDSWELL                Hertfordshire                     HP4 3TE      United Kingdom
    GRAEME TEAGUE                           PHOTOGRAPHY                     206 MAGNOLIA DRIVE                                                                           ADEL                 GA           31620
    Graham & Dunn
                                                                             PIER 70, 2801 ALASKAN WAY, STE
    GRAHAM & DUNN PC                                                         300                                                                                         SEATTLE              WA           98121-1125
    GRAHAM ELEMENTARY                                                        900 WEST EDWARDS STREET                                                                     SPRINGFIELD          IL           62704
    Graham Fisk                                                              1911 Euclid Avenue                                                                          Mount Prospect       IL           60056
    GRAHAM H LYONS                                                           34 ROYAL AVE                                                        BURNSIDE                South Australia                   05066        Australia




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     171 of 488                                                                                                     1:26 PM
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                                                                                                                   179 Matrix
                                                                                                                           of 519
                                                                                                                       First Class Service List


                 CreditorName                      CreditorNoticeName                     Address1                          Address2              Address3              City         State       Zip               Country
                                            DBA KENSINGTON COURT &
    GRAHAM HOTEL SYSTEMS INC                HOLIDAY INN                     610 HILTON BLVD                                                                  ANN ARBOR          MI           48108
    GRAHAM JOAN BRANSFIELD                                                  28721 TIMBERLANE STREET                                                          AGOURA HILLS       CA           91301
    GRAHAM JOHN A                                                           91 GARLAND ROAD                                                                  NEWTON CENTER      MA           02459
    GRAHAM KUHN                             4 NORMANHURST MANSIONS          VERA ROAD                                                                        LONDON                          SW6 6QN      United Kingdom
    Grand Canyon Univ. Bookstore            Attn Accounting Services Dept   3300 West Camelback Road                                                         Phoenix            AZ           85017
    GRAND ERIE DISTRICT SCHOOL
    BOARD                                                                   349 ERIE AVENUE                                                                  BRANTFORD          ON           N3T 5V3      Canada
    Grand Prix Graphics                                                     331 Corporate Circle             Suite H                                         Golden             CO           80401
    GRAND VIEW UNIVERSITY                   ATTN BUSINESS OFFICE            1200 GRANDVIEW AVENUE                                                            DES MOINES         IA           50316
    Grande Prairie Public School                                            10213 99th Street                                                                Grande Prairie     AB           T8V2H3       Canada

    GRANDMA MOSES PROPERTIES CO                                             24 WEST 57TH ST                                                                  NEW YORK           NY           10019
    GRANDVIEW R-II SCHOOL DISTRICT GRANDVIEW MIDDLE SCHOOL                  11470 HIGHWAY C                                                                  HILLSBORO          MO           63050

    GRANDVIEW R-II SCHOOL DISTRICT          GRANDVIEW ELEMENTARY SCHOOL 11470 HIGHWAY C                                                                      HILLSBORO          MO           63050
    GRANDVIEW R-II SCHOOL DISTRICT          GRANDVIEW HIGH SCHOOL       11470 HIGHWAY C                                                                      HILLSBORO          MO           63050
    GRANICZEWSKI WOJCIECH                                               MICHALOWSKIEGO 4 10                                                                  KRAKOW                          31-126       Poland
    GRANT ELEMENTARY SCHOOL                                             9300 HUBBARD RD                                                                      LLIVONIA           MI           48150
    GRANT HEILMAN PHOTOGRAPHY
    INC                                                                     506 W LINCOLN AVE P O BOX 317                                                    LITITZ             PA           17543
    GRANT KATHERINE BOYD                                                    940 WALNUTWOOD ROAD                                                              COCKEYSVILLE       MD           21030
    Grant Oberg                                                             5 Royce Road                     Apt 51                                          Allston            MA           02134
    Grant Richins                                                           235 N 100 W Box 55                                                               Henefer            UT           84033
    Grant Sloss                                                             1318 S. Ogden Dr. #8                                                             Los Angeles        CA           90019
    Grant Wood Area Ed. Agency                                              4401 Sixth Street SW                                                             Cedar Rapids       IA           52404
    Grant Young                                                             43 Symphony Rd                   Apt 3D                                          Boston             MA           02115
    Graphic Advantage Ltd.                                                  2366 East Glenhaven Drive                                                        Littleton          CO           80126
    GRAPHIC ARTS CENTER
    PUBLISHING CO                           DBA ALASKA NORTHWEST BOOKS      P O BOX 10306                                                                    PORTLAND           OR           97296-0306
    GRAPHIC MANAGEMENT INC                                                  270 SHEFFIELD STREET                                                             MOUNTAIN SIDE      NJ           07092
    GRAPHICOM SRI                                                           137 JUDD FALLS RD                                                                ITHACA             NY           14850-2715
    GRAPHICS PRESS LLC                                                      P O BOX 430                                                                      CHESHIRE           CT           06410
    GRAPHICS SERVICE BUREAU INC             DBA GSB INC                     370 PARK AVENUE SOUTH                                                            NEW YORK           NY           10010
    Graves Editorial Service                                                7306 Stonegate Court                                                             Colorado Springs   CO           80919
    GRAVITY GOLDBERG                                                        14 TERRACE DR                                                                    NYACK              NY           10960-4222
    GRAY DIANNE                                                             2374 GRANITE CIRCLE NW                                                           ROCHESTER          MN           55901
    GRAY LULI                                                               306 NORTH ESTES DRIVE APT 14F                                                    CARRBORO           NC           27510
    GRAYS COLLEGE BOOKSTORE AT
    GSU LLC                                                                 1550 CHANDLER RD STE D                                                           STATESBORO         GA           30458
    GRAYWOLF PRESS                          THE PERMISSIONS CO              47 SENECA ROAD PO BOX 604                                                        MONUT POCONO       PA           18344
    GRAYWOLF PRESS                          2402 UNIVERSITY AVENUE          47 SENECA ROAD PO BOX 604                                                        MONUT POCONO       PA           18344
    GREAT AMERICAN GROUP
    ADVISORY                                & VALUATION SERVICES LLC        21860 BURBANK BLVD, STE 300 S                                                    WOODLAND HILLS     CA           91367
    GREAT ATLANTIC NEWS LLC                 DBA THE NEWS GROUP              2500 VAUXHALL PLACE                                                              RICHMOND                        V6V 1Y8      Canada
    GREAT FALLS ELEMENTARY
    SCHOOL                                                                  701 WALKER ROAD                                                                  GREAT FALLS        VA           22066
    GREAT FALLS SCHOOL DISTRICT # 1
    &A                                                                      1100 4TH STREET S P O BOX 2429                                                   GREAT FALLS        MT           59403

    GREAT LAKES BOOK & SUPPLY INC                                           800 CLARK ST                                                                     BIG RAPIDS         MI           49307
    GREAT LAKES INDEPENDENT
    BOOKSELLERS                             ASSOCIATION                     P O BOX 901                                                                      GRAND HAVEN        MI           49417-1336
    GREATER BOSTON CHAMBER OF
    COMMERCE                                                                265 FRANKLIN STREET 12TH FL                                                      BOSTON             MA           02110-3113
    GREATER EDUC OPPORTUNITIES              CHARTER SCHOOL SERVICE          333 NORTH PENNSYLVANIA ST, STE
    FOUNDATION                              CENTER                          100                                                                              INDIANAPOLIS       IN           46208
    GREATER EDUC OPPORTUNITIES                                              333 NORTH PENNSYLVANIA ST, STE
    FOUNDATION                              C/O MELANIE DOSIER              100                                                                              INDIANAPOLIS       IN           46208
    GREATER NEWARK CHARTER
    SCHOOL                                                                  72 CENTRAL AVENUE                                                                NEWARK             NJ           07102
    GREATER RICHMOND CONV CTR               ATTN UTILITY SERVICE DESK       403 N 3RD STREET                                                                 RICHMOND           VA           23219
    GREATER SAN DIEGO MATH
    COUNCIL                                 COMMERCIAL EXHIBITS             14690 DEERWOOD STREET                                                            POWAY              CA           92064
    GREATER SAN DIEGO MATH
    COUNCIL                                 ATTN RICK WILLIARD              14690 DEERWOOD STREET                                                            POWAY              CA           92064
    GREATER ST LOUIS AREA HOME
    EDUCATORS                                                               226 VICTOR CT                                                                    BALLWIN            MO           63021
    GREATER WASHINGTON READING
    COUNCIL                                                                 15505 PAMPLIN PILE COURT         ATTN KATHRYN MILLER                             MANASSAS           VA           20112



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                      172 of 488                                                                                        1:26 PM
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                                                                                                                     First Class Service List


                CreditorName                        CreditorNoticeName                    Address1                        Address2              Address3           City            State       Zip                Country
    Greece Central School District          Business Office                P.O. Box 300                                                                    NORTH GREECE       NY           14515
    GREECE CENTRAL SCHOOL
    DISTRICT                                                               P O BOX 300                                                                     NORTH GREECE       NY           14515-0300
    GREEN BAY PACKAGING                                                    BIN No. 53139                                                                   MILWAUKEE          WI           53288
    GREEN COMMA LLC                                                        39 WHITMAN STREET                                                               SOMERVILLE         MA           02144-1615
    Green Light Education                   Attn Dr. Rich Allen            P.O. Box 24480                                                                  Christiansted      VI           00824
    GREEN MOUNTAIN ENERGY                                                  PO BOX 650001                                                                   DALLAS             TX           75265
    GREEN RIVER REGIONAL
    EDUCATIONAL                             COOPERATIVE                    P O BOX 21510                    DAVIES COUNTY PUBLIC SCHOOLS                   OWENSBORO          KY           42304-1510
    GREENBLATT MIRIAM                                                      2754 ROSLYN LN                                                                  HIGHLAND PARK      IL           60035
    GREENE & HEATON LTD                                                    37 GOLDHAWK ROAD                                                                LONDON                          W12 8QQ      United Kingdom
    GREENE RHONDA GOWLER                                                   5459 CLARIDGE                                                                   WEST BLOOMFIELD    MI           48322
    GREENE STEPHANIE                                                       37 BOXWOOD DRIVE                                                                STAMFORD           CT           06906
    Greene, Neal
    GREENHOUSE LITERARY AGENCY
    LTD                                                                    11308 LAPHAM DRIVE                                                              OAKTON             VA           22124
    GREENLAW M JEAN                                                        2600 SHERATON ROAD                                                              DENTON             TX           76209
    GREENPEACE INC                                                         702 H STREET NW SUITE 300        ATTN BOB MYERS - PHOTO DEPT                    WASHINGTON         DC           20001
    GREENSBORO COLL BKSTORE                                                815 WEST MARKET STREET                                                          GREENSBORO         NC           27401
    GREENSTEIN ELAINE                                                      176 S OXFORD STREET                                                             BROOKLYN           NY           11217
    GREENVALE SCHOOL                                                       150 VALENTINE LANE                                                              GLEN HEAD          NY           11545
    GREENVILLE COUNTY SCHOOL                SC ADULT EDUC TRAINING &
    DISTRICT                                RESOURCE CTR                   315-A HOLLAND AVENUE                                                            SENECA             SC           29678
    GREENVILLE COUNTY SCHOOL
    DISTRICT                                                               100 BLASSINGAME ROAD                                                            GREENVILLE         SC           29605
    GREENVILLE COUNTY SCHOOL
    DISTRICT                                                               315-A HOLLAND AVENUE                                                            SENECA             SC           29678
    GREENWICH WORKSHOP INC                  151 MAIN ST                    PO BOX 231                                                                      SEYMOUR            CT           06483
    GREENWOOD ALEXANDER                                                    P.O. BOX 702                                                                    PRINCETON          NJ           08542
    GREENWOOD PUBLISHING GROUP
    INC                                     DBA HEINEMANN                  15963 COLLECTIONS CENTER DRIVE                                                  CHICAGO            IL           60693
    GREG & STEVE PRODUCTIONS                                               32204 JOAQUIN ROAD                                                              ACTON              CA           93510
    GREG AND STEVE PRODUCTIONS
    INC                                                                    32204 JOAQUIN ROAD               ATTN ROSA MILLANG                              ACTON              CA           93510
    GREG ATKINS                                                            12371 BALLANTINE DRIVE                                                          LOS ALAMITOS       CA           90720
    Greg Atkins                                                            2762 South Bahama Court                                                         AURORA             CO           80013
    GREG CHANGNON                                                          2019 WESTMINISTER WAY NE                                                        ATLANTA            GA           30307
    GREG CHLAPLOWSKI INC                    DBA CARENS CARAVAN             P O BOX 832                                                                     EXETER             NH           03833
    Greg Coppola                                                           9 Pleasant St.                                                                  Derry              NH           03038
    GREG CURRAN                                                            5 THORNDALE BALLYCLOUGH                                                         CO LIMERICK                                  Ireland
    Greg Dumont                                                            3 Meadowlark Farm Lane                                                          Middleton          MA           01949
    Greg Gaspard                                                           6701 Luckenbach Ln                                                              Austin             TX           78729
    GREG NEWBOLD                                                           3724 SOUTH 2700 EAST                                                            SALT LAKE CY       UT           84109
    GREG PAPROCKI                           DBA GREG PAPROCKI INC          6122 S 102ND AVE                                                                OMAHA              NE           68127

    GREG PROBST                             DBA GREG PROBST PHOTOGRAPHY 3036 NW 71ST STREET                                                                SEATTLE            WA           98117
    GREG R IERACI                                                       557 SCHAEFER AVENUE                                                                ORADELL            NJ           07649
    Greg R Murphy                                                       816 Western Ave.                                                                   Glen Ellyn         IL           60137
    GREG SHED                                                           3624 AMARYLLIS DRIVE                                                               SAN DIEGO          CA           92106
    GREG SHEDENHELM                                                     3624 AMARYLLIS DRIVE                                                               SAN DIEGO          CA           92106
    GREGERSON LINDA                                                     4881 HIDDEN BROOK LN                                                               ANN ARBOR          MI           48105
    GREGG ANDERSON                          DBA GALLERY NINETEEN        1109 N RIVERFRONT DRIVE                                                            MANKATO            MN           56001
    GREGG B SCHRADER                                                    502 W 7TH STREET                                                                   WALL LAKE          IA           51466
    GREGG HAMMERQUIST                                                   66 SUTTON STREET                                                                   WEYMOUTH           MA           02188
    GREGG KULICK                                                        299 GEORGES RD                                                                     DAYTON             NJ           08810
    GREGG MOYDELL                                                       1490 MILL ROAD                                                                     FORT GIBSON        OK           74434
    Gregory A Decker                                                    814 S. Fourth St.                                                                  Aurora             IL           60505
    GREGORY A HERBEK                        DBA GARY HERBEK             11 CLARK STREET                                                                    SARATOGA SPRINGS   NY           12866
    Gregory Bernhardt                                                   6407 Riverfront Drive               Apt. 8                                         Palmyra            NJ           08065
    Gregory C. Dyekman                                                  204 E 22nd St                                                                      Cheyenne           WY           82001-3799
    Gregory Chapman                                                     43435 N. Cox Dr.                                                                   Antioch            IL           60002
    Gregory Daniels                                                     236 Main St.                        Po Box 514                                     Albion             RI           02802
    Gregory Decker                                                      814 S. Fourth St.                                                                  Aurora             IL           60505
    Gregory E Benton                                                    87 Harwich Road                                                                    Mashpee            MA           02649
    GREGORY F X DALY                        COLLECTOR OF REVENUE        410 CITY HALL, 1200 MARKET ST                                                      ST LOUIS           MO           63103-2841
    GREGORY FOSTER INC                                                  727 EAST COLLEGE STREET                                                            GRIFFIN            GA           30224
    GREGORY GOERING                                                     5 SOUTHWEST PASS                                                                   GREENFIELD         NY           12833

    GREGORY J DAMIOLARIS                    DBA AUTUMN ACRES LANDSCAPING P O BOX 94                                                                        ELBURN             IL           60119
    Gregory Lee                                                          16 Roosevelt Avenue                n/a                                            North Attleboro    MA           02760



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                    173 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              181 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2                          Address3                City        State       Zip              Country
    Gregory Lee                                                            16 Roosevelt Avenue                                                                        North Attleboro     MA           02760
    GREGORY LOFTS                                                          661 41ST STREET, APT 1A                                                                    BROOKLYN            NY           11232
    GREGORY MARGARET NAN                                                   4143 WEST 15TH AVE                                                                         VANCOUVER           BC           V6R 3A4      Canada
    Gregory Mark                                                           309 ESSEX AVE.                                                                             GLOUCESTER          MA           01930
    Gregory Mowry                                                          1305 Racquet Club South Dr.    Apt D                                                       Indpls              IN           46260
    GREGORY ORR                                                            2006 HESSIAN ROAD                                                                          CHARLOTTERVILLE     VA           22903
    GREGORY S BERGER                        DBA POMEGRANATE DESIGN         4439 61ST STREET                                                                           SACRAMENTO          CA           95820
    Gregory S Gustin                                                       58 N. Margin St.               #7                                                          Boston              MA           02113
    GREGORY SCOTT DANNER                                                   2240 S KILLARNEY DRIVE                                                                     PALMER              AK           99645
    Gregory Sorenson                                                       1333 Maple Ave.                Apt. 4f                                                     Evanston            IL           60201
    GREGORY TANG                                                           18 HILLIARD STREET                                                                         CAMBRIDGE           MA           02138
    GREGORY W PEASE LLC                     DBA TENZING CONSULTING         P O BOX 1329                                                                               DAVENPORT           WA           99122
    GRENADA SCHOOL DISTRICT                                                P O BOX 1940                                                                               GRENADA             MS           38901
    GRETA D SIBLEY                                                         1 COTTAGE ST #5, RM 5-07                                                                   EASTHAMPTON         MA           01027-1615
    GRETCHEN BERNABEI                                                      1111 MT RAINIER                                                                            SAN ANTONIO         TX           78213
    GRETCHEN BETTS                                                         4789 KISKA ROAD                                                                            NORTH PORT          FL           34288
    Gretchen Diessner                                                      1235 Langewood Drive                                                                       Minnetrista         MN           55364
    Gretchen Hale                                                          4015 Old Canoe Creek Road                                                                  St. Cloud           FL           34769
    GRETCHEN OWOCKI                                                        1063 TINSMAN RD                                                                            FENTON              MI           48430
    Gretchen Peet                                                          1200 Quaker Lake                                                                           Burlington          NC           27217
    GRETCHEN WELCKER BULLOCK                                               127 GEORGIA PLACE                                                                          NEW BRAUNFELS       TX           78130
    Gretchen Westphal                                                      7 Valleyview Avenue                                                                        Haverhill           MA           01835
    GRETNA PUBLIC SCHOOLS                                                  11717 S 216TH ST                                                                           GRETNA              NE           68028
    GREY HOUSE PUBLISHING                                                  4919 ROUTE 22 P O BOX 56                                                                   AMENIA              NY           12501
    GRIFFIN ELECTRIC COMPANY                                               7925 NEUBERT SPRINGS ROAD                                                                  KNOXVILLE           TN           37920
    GRIFFIN GAIL                                                           13 MEDLEY LANE                                                                             BRANFORD            CT           06405
    GRIFFIN RESA                                                           440 TILNEY AVENUE                                                                          GRIFFIN             GA           30224
    GRIMM MARY H                                                           3821 LAWRENCE AVENUE                                                                       KENSINGTON          MD           20895
    Grisel Barreto                                                         212 Saratoga Street                                                                        E. Boston           MA           02128
    GRISEWOOD & DEMPSEY LTD
    PENSION SCHEME                          C/O JOAN HUDSON                80 SIMPSON RD                                                       BLETCHLEY              Milton Keynes                    MK1 1BA      United Kingdom
    GRISSELLE SOTO VELEZ                                                   HC 01 4232                                                                                 LARES               PR           00669
    GRM ASSOCIATES                                                         290 WEST END AVENUE                                                                        NEW YORK            NY           10023
    GROLIER PUBLISHING                      CHILDRENS PRESS                90 SHERMAN TURNPIKE                                                                        DANBURY             CT           06816
    GROLIER PUBLISHING COMPANY                                             90 SHERMAN TURNPIKE                                                                        DANBURY             CT           06816-0001
    GROOT RECYCLING & WASTE                 DBA ACCURATE DOCUMENT
    SERVICES INC                            DESTRUCTION                    2500 LANDMEIER                                                                             ELK GROVE VILLAGE   IL           60007
    GROSSE POINT PUBLIC SD                                                 389 ST CLAIR                                                                               GROSSE POINTE       MI           48230
    Groton Public Schools                   Attn Cheryl                    PO Box K                                                                                   Groton              CT           06340
                                            UNIV OF ROCHESTER - DEPT OF
    GROTZ JENNIFER                          ENGLISH                        404 MOREY HALL                                                                             ROCHESTER           NY           14627
    GROUNDWOOD BOOKS                                                       110 SAPDINA AVENUE SUITE 801                                                               TORONTO ONTARIO     ON           M5V 2K4      Canada
    GROUNDWOOD/DOUGLAS &
    MCINTYRE                                                               #801 110 SPADINA AVENUE                                                                    TORONTO             ON           M5V 2K4      Canada
    GROUP LOGIC INC                                                        P O BOX 100310                                                                             ARLINGTON           VA           22210
    GROUP M                                 DBA MEC                        P O BOX 13429                                                                              SANTUICE            PR           00908
    GROUP PUBLISHING INC                                                   PO BOX 366                                                                                 LOVELAND            CO           80539
    GROVE/ATLANTIC INC                                                     841 BROADWAY 4TH FLR                                                                       NEW YORK            NY           10003-4704
    GROVE/ATLANTIC INC.                                                    841 BROADWAY                                                                               NEW YORK            NY           10003
    Grover Moore                                                           14707 Fitzgibbon Drive                                                                     Austin              TX           78725
    GRUDIN ROBERT                                                          2711 SHASTA ROAD                                                                           BERKELEY            CA           94708
    GRUNWELL JEANNE MARIE                                                  9624 WOODLAND ROAD                                                                         NEW MARKET          MD           21774
    GRUPO ANAYA                                                            JUAN IGNACIO LUCA DE TENA 15                                                               MADRID                           28027        Spain
    GRUPO ANAYA SA                                                         JUAN IGNACIO LUCA DE TENA 15                                                               MADRID                           28027        Spain
    GRUPO EDITORIAL PATRIA S.A DE
    C.V                                                                    COLONIA SAN JUAN TLIHUACA      RENACIMIENTO 180                                            AZCAPOTZALCO        DF           02400        Mexico
    GRUPO EDITORIAL SM                                                     JOAQUIN TURINA                                                                             MADRID                           39-28044     Spain
    GRUPO SANTILLANA EDICIONES
    GENERALES                                                              TORRELAGUNA 60                                                                             MADRID                           28043        Spain
    GTB PROPERTIES                          DBA HUNTERS GLEN STORAGE       9149 SOUTH YALE                                                                            TULSA               OK           74137
    GTC
    GTC LAW GROUP LLP                                                      400 BLUE HILL DR STE 2B                                                                    WESTWOOD            MA           02090-2161
    Guadalupe Bowlin                                                       4226 Rolling Oaks                                                                          Carrollton          TX           75010
    Guadalupe E Vela                                                       6011 Elk Valley                                                                            San Antonio         TX           78249
    GUAJARDO-ALVARDO CRISELDA                                              4802 APPLE SPRINGS DR                                                                      PEARLAND            TX           77584
    Guardian                                                               PO Box 51505                                                                               Los Angeles         CA           90051-5805
    GUARDIAN LIFE INSURANCE CO                                             P O BOX 824418                 STATE MANDATED DISABILITY                                   PHILADELPHIA        PA           19182-4418
    GUARDIAN LIFE INSURANCE CO OF
    AMERICA                                                                P O BOX 95101                                                                              CHICAGO             IL           60694-5101




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                   174 of 488                                                                                                    1:26 PM
                                                       12-12171-reg            Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                     182 Matrix
                                                                                                                             of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                       Address2              Address3               City            State       Zip                Country

    GUARDIAN NEWS & MEDIA LIMITED CREDIT CONTROL DEPT                       KINGS PLACE - 90 YORK WAY                                                      LONDON                              N1 9GU       United Kingdom
    GUARDIAN NY LIFE INSURANCE CO.
    OF                               AMERICA                                PO BOX 11383A                                                                  NEW YORK               NY           10286
    GUEDENEY BARBARA J                                                      6951 S ASH CIRCLE                                                              CENTENNIAL             CO           80122
    GUGGENHEIM INVESTMENT
    MANAGEMENT LLC
    Guggenheim Investment Management
    LLC - FM
    Guggenheim Partners Asset
    Management, Inc.                 Jeffrey Abrams                         100 Wilshire Blvd., #500                                                       Santa Monica           CA           90401

    GUIDANCE SYSTEMS UNLIMITED INC                                          1623 WEST 34TH AVE                                                             DENVER                 CO           80211-3513
                                            ATTN DIRECTOR OF PLANNED
    GUIDING EYES FOR THE BLIND              GIVING                          611 GRANITE SPRINGS ROAD                                                       YORKTOWN               NY           10598

    GUILD HALL ELEMENTARY SCHOOL                                            SCHOOL STREET                                                                  GUILDHALL              VT           05905
    GUILDERLAND CENTRAL SCHOOL
    DISTRICT                                                                P O BOX 18                                                                     GUILDERLAND CENTER     NY           12085
    Guilford County Schools                                                 712 North Eugene Street                                                        Greensboro             NC           27401
    GUILFORD PUBLICATIONS INC                                               72 SPRING STREET                                                               NEW YORK               NY           10012
    Guillermo E Iglesias                                                    2007 Paprika Drive                                                             Orlando                FL           32837
    GUILLERMO SCHAVELZON &
    ASSOCIADOS S L                                                          MUTANER 339 5                                                                  BARCELONA                           08021        Spain
    GULF COAST EVENT SERVICES                                               36508 EVENT ROAD                                                               GEISMAR                LA           70734

    GULF COMMERCIAL LINKS LTD                                               41 FAIRHOUSE LODGE                                                             RATOATH COUNTY MEATH                             Ireland
    GULF UNION CO
    GULLICKSON THERESE W                                                    2665 CONCORD CIR                                                               IOWA CITY              IA           52245
    GUMBO SOFTWARE INC                                                      809 WEST HOWE STREET                                                           SEATTLE                WA           98119-2955
    GUMDROP PROF RESOURCE
    CENTER                                                                  P O BOX 505                                                                    BETHANY                MO           64424
    GUNAWAN HADI                                                            27 BALMORE PARK # 08-29                                                        SINGAPORE                           259855       Singapore
    GURL2GURL PRODUCTIONS INC                                               101 WEST 55TH STREET STE 15K                                                   NEW YORK               NY           10019
    GURLEY LAINE                                                            3191 BROCKWAY STREET                                                           PALATINE               IL           60067
    GUSMAN JO                               c/o NEW HORIZONS IN EDUCATION   3101 MIRAMAR RD                                                                SACRAMENTO             CA           95821
    Gustavo Ruiz                                                            1020 S. Lincoln Ave                                                            Aurora                 IL           60505
    Guy Guidici                                                             2211 Georgian Dr                                                               Georgetown             TX           78626
    Guy Harrington                                                          531 Powers Street                                                              Erie                   CO           80516
    Guy Jarvis                                                              97 Woburn St                                                                   Lexington              MA           02420
    GUY LABISSONNIERE                                                       9-4310 AVE HARVARD                                                             MONTREAL                            H4A 1X1      Canada
    GUY PORFIRIO                                                            5453 N CRESCENT HILL PLACE                                                     TUCSON                 AZ           85718
                                            TR UA 02/19/96 - GWEN CUNHA
    GWEN CUNHA                              REVOC LIVING                    1630 AMELIA STREET                                                             CONWAY                 AR           72035
    Gwen T Roberts                                                          11413 Terrace Meadow                                                           Manor                  TX           78653
    Gwen Von Werne                                                          117 Sunflower St.                                                              Royal Palm Beach       FL           33411
    GWEN WALTERS ARTISTS
    REPRESENTATIVE                                                          1801 S FLAGLER DRIVE #1202                                                     W PALM BEACH           FL           33401
    Gwendol Brewer                                                          2607 Sheehan Ct                   #104                                         Naperville             IL           60564

    GWENDOLYN A LONGYEAR-HAYDEN                                             3132 SANTA MARIA DR                                                            CONCORD                CA           94518
    Gwendolyn Cheatham                                                      205 Killdeer Trail                                                             Southlake              TX           76092
                                            DBA NEXT CHAPTER
    GWENDOLYN MORAN                         COMMUNICATIONS                  PO BOX 1714                                                                    WALL TOWNSHIP          NJ           07719
    GWENDOLYN PARKER-PHILYAW                                                207 SAMMONS POND DRIVE                                                         MIDDLETOWN             DE           19709
    GWENDOLYN R WALTON                                                      P O BOX 914                                                                    HUMBOLDT               AZ           86329
    Gwendolyn Schade                                                        7754 Pineapple Dr                                                              Orlando                FL           32835
    GWINETT CHRISTIAN ACADEMY                                               2306 BETHANY CHRUCH RD                                                         SNELLVILLE             GA           30039
    GWINNETT CO PUBLIC SCH DIST
    GWINNETT COUNTY BUSINESS
    LICENSE                                                                 P. O. BOX 1045                                                                 LAWRENCEVILLE          GA           30046
    GWINNETT COUNTY PUBIC
    SCHOOLS                                 CAFE 437                        437 OLD PEACHTREE ROAD NW                                                      SUWANEE                GA           30024-2978
    GWINNETTE COUNTY PUBLIC
    SCHOOLS                                 SYCAMORE ELEMENTARY SCHOOL      5695 SYCAMORE ROAD                ATTN LINDA MUYRES                            SUGAR HILL             GA           30518
    GWL REALTY ADVISORS INC                                                 USE 1000010748                                                                 MISSISSAUGA            ON           L5B 3C2      Canada
    GXS INC                                                                 P O BOX 640371                                                                 PITTSBURGH             PA           15264-0371
    GYEONGJU NATIONAL MUSEUM                ATTN PARK MIN JI                76 IWANG-DONG                                                                  GYEONGJU CITY                       780-150      South Korea
    GYLDENDAL                                                               KLAREBODERNE 3                                                                 KOBENHAVN K                         DK-1001      Denmark
    GYLES ROBERT                            301 CATHEDRAL PARKWAY           APARTMENT #11G                                                                 NEW YORK               NY           10026



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                    175 of 488                                                                                             1:26 PM
                                                      12-12171-reg              Doc 136              Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   183 Matrix
                                                                                                                           of 519
                                                                                                                     First Class Service List


                 CreditorName                      CreditorNoticeName                     Address1                        Address2              Address3              City         State       Zip               Country
                                            DBA CLARION W HOTEL &
    H & C OKC WEST LLC                      CONVENTION CTR                    2500 N LINCOLN BLVD STE 316                                                  OKLAHOMA CITY      OK           73105
    H & C OKC WEST LLC                      ATTN LAURA BUXTON                 2500 N LINCOLN BLVD STE 316                                                  OKLAHOMA CITY      OK           73105

    H ARMSTRONG ROBERTS COMPANY DBA ROBERTSTOCK/CLASSICSTOCK                  4203 LOCUST STREET                                                           PHILADELPHIA       PA           19104
    H MICHAEL SAPIR                                                           275 LOS RANHITOS RD APT 102                                                  SAN RAFAEL         CA           94903-3675
    H NIGEL THOMAS                                                            1838 VICTORIA AVENUE #212                                                    GREENFIELD PARK    QC           J4V 1M5      Canada
    H P NEWQUIST                                                              41 FERNCLIFF ROAD                                                            FAIRFIELD          CT           06825
    H T ASSOCIATES INC                                                        P O BOX 8641                                                                 ROLLING MEADOWS    IL           60008
    H W WILSON COMPANY                                                        950 UNIVERSITY AVENUE           ATTN SANDRA WATSON                           BRONX              NY           10452-4224
    H. Jean Warren                                                            116 Highway 56                                                               Ash Flat           AR           72513
    H. Scott Kirkpatrick Jr                                                   13 Donizetti Street                                                          Wellesley          MA           02482
    HA ARETZ NEWSPAPER                                                        21 SCHOCKEN ST POB 233                                                       TEL AVIV           Tel Aviv     61101        Israel
                                                                              VILLAHERMOSA #21-B COL HIP
    HABANERO FILMS                                                            CONDESA                                                                      CUAUHTEMOC                      06140        Mexico
    Habitat for Humanity                                                      121 Habitat Street                                                           Americus           GA           31709-3498
    HACHETTE BOOK GROUP USA                                                   237 PARK AVENUE                                                              NEW YORK           NY           10017
    HACHETTE CHILDRENS BOOKS                                                  338 EUSTON ROAD                                                              LONDON                          NW1 3BH      United Kingdom
                                                                                                              THE WATTS PUBLISHING GROUP
    HACHETTE CHILDRENS BOOKS UK                                               338 EUSTON ROAD                 LTD                                          LONDON                          NW1 3BH      United Kingdom
    HACHETTE LITTERATURES                   ATTN PERMISSIONS DEPT             31 RUE DE FLEURUS                                                            PARIS                           75006        France
    HACHETTE LIVRE                                                            43 QUAI DE GRENELLE             CEDEX 15                                     PARIS                           75015        France
    HACHETTE LIVRE                                                            43 QUAI DE GRENELLE, CEDEX 15                                                PARIS                           75905        France
    HACHETTE UK LIMITED                                                       130 MILTON PARK                 GROUP FINANCE DEPT                           ABINGDON           OXON         OX14 4SB     United Kingdom
    HACHETTE UK LTD                         GROUP FINANCE DEPARTMENT          130 MILTON PARK                                                              OXFORD                          OX14 4SB     United Kingdom
    HACNIEL CARDONA ARROYO                                                    URB EL RASARIO II L26 CALLE C                                                VEGA BAJA          PR           00693
    HADDONFIELD PUBLIC SCH DIST                                               ONE LINCOLN AVE                                                              HADDONFIELD        NJ           08033
    Hadi, Gunawan
    HAFSA BENMCHICH                                                           MARRAKECH PRINCIPALE BP # 934                                                40 00 MARRAKECH                              Morocco
    HAGEN JAMES                                                               2098 BRYANTS CORNER ROAD                                                     HARTLY             DE           19953
    Hagerty, William                        Hagerty Peterson & Company, LLC   4362 Chickering Lane                                                         Nashville          TN           37215
    Hagerty, William F.
    HAGG PRESS INC                                                            1165 JANSEN FARM CT                                                          ELGIN              IL           60123
    HAGUE MICHAEL                                                             1 PINE ROAD                                                                  COLORADO SPRINGS   CO           80906
    HAKKYO-BUPIN JINMYUNG
    JEONGJIN HAGWON                                                           1601 SANAM-DONG                 13TH FL KGIT SANGAM CENTER                   MAPO-GU                         121-913      South Korea
    HAL CLAY BENNETT III                                                      612 CAROLINA AVENUE                                                          SIGNAL MOUNTAIN    TN           37377
    HAL LEONARD CORPORATION                 777 W BLUEMOUND RD                P O BOX 13819                                                                MILWAUKEE          WI           53213
    Hala Istanbouli                                                           22W121 Glen Valley Drive                                                     Glen Ellyn         IL           60137
    HALBERSTAM DAVID                        C/O JEAN HALBERSTAM               12 COFFIN STREET                                                             NANTUCKET          MA           02554
    HALEY JAMES SHIRLEY                                                       46 SANGRE DE CRISTO DRIVE                                                    SANTA FE           NM           87501
    Halifax Regional School Board                                             4832 37 Highway                                                              Halifax            NS           B3E 1J5      Canada
    HALL JR EDWARD                                                            44 FIELDSTONE DRIVE                                                          YARMOUTH           ME           04096
    HALL STANLEY IRVINE                                                       206 NOMINI DRIVE                                                             ARNOLD             MD           21012
    HALLIE K YOPP                                                             211 E LAS PALMAS DRIVE                                                       FULLERTON          CA           92835
    HALLIE K YOPP                                                             211 E PALMAS DRIVE                                                           FULLERTON          CA           92835
    HALSEY MEGAN                                                              25 S LANSDOWNE AVENUE #2                                                     LANSDOWNE          PA           19050-2206
    Halton Catholic Dist School                                               802 Drury Lane                                                               Burlington         ON           L7R 4L3      Canada
    Halton Dist School Board                                                  2050 Guelph Line                                                             Burlington         ON           L7R 3Z2      Canada
    HAMBERG CHARLES                                                           866 BRECKENBORO RD                                                           DAVIS              IL           61019
    HAMBERG DELLA MAE                                                         866 BRECKENBORO RD                                                           DAVIS              IL           61019
    HAMBY JANICE                                                              110 TUPPER ROAD                                                              SANDWICH           MA           02563-1828
    HAMILTON COUNTY TRUSTEE                                                   PO BOX 11047                                                                 CHATTANOOGA        TN           37401
    HAMILTON-JEFFERSON COUNTIES
    REGIONAL                                SUPERINTENDENT OF SCHOOLS         1714 BROADWAY                                                                MT VERNON          IL           62864
    Hamilton-Wentworth Catholic                                               90 Mulberry St                                                               Hamilton           ON           L8N 3R9      Canada
    HAMMANN HOWARD E                                                          P.O. BOX 221128                                                              CARMEL             CA           93922
    HAMPSHIRE COLLEGE                                                         WEST STREET                     BOOKSTORE                                    AMHERST            MA           01002
                                            DBA NATNL GEOGRAPHIC SCH                                          INTELLECTUAL PROPERTIES
    HAMPTON BROWN COMPANY INC               PUBLISHING                        1880 OAK AVENUE                 MANAGER                                      EVANSTON           IL           60201
    HAMPTON BROWN COMPANY INC                                                 1 LOWER RAGSDALE DR             BLDG 1 SUITE 200                             MONTEREY           CA           93940
    HAMPTON UNIVERSITY MUSEUM               ATTN VANESSA D THAXTON-WARD       CURATOR OF COLLECTIONS                                                       HAMPTON            VA           23668
    HANDYMAN UNLIMITED INC                                                    1025 SENTINEL DR $ 104                                                       LAVERNE            CA           91750

    HANFORD JT UNION HIGH SCH DIST                                            823 WEST LACEY BLVD                                                          HANFORD            CA           93230
    Hanna Beauchamp                                                           1317 GARDEN TERRACE DR                                                       ERVIN              TX           75060
    HANNA CHO                                                                 501 KGIT SANGAM CENTER                                                       SEOUL                           123-913      South Korea
    HANNAH ARENDT LITERARY TRUST                                              404 EAST 55TH ST APT 13 E       JEROME KOHN TRUSTEE                          NEW YORK           NY           10022
    HANNAH ARENDT TRUST                                                       136 EAST 57TH ST                                                             NEW YORK           NY           10022
    HANNAH BARNABY                                                            10 CHESTNUT DRIVE                                                            GUILFORD           CT           06437



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    176 of 488                                                                                        1:26 PM
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                                                                                                                                       First Class Service List


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    Hannah Harlow                                                                    21 School St                            Unit 3R                                                       Somerville          MA           02143
    Hannah McLeod                                                                    15 Greenwood Terrace                                                                                  Swampscott          MA           01907
    HANNAH STAROBIN                                                                  134 CROTON AVE                                                                                        MT KISCO            NY           10549
    HANNAH WILDER                                                                    248 GANNETT ROAD                                                                                      SCITUATE            MA           02066
    Hanover School District                                                          5 Chrysler Gate                                                                                       Steinbach           MB           R5G 0E2      Canada
    HANS OSTROM                             UNIV OF PUGET SOUND                      DEPT OF ENGLISH                                                                                       TACOMA              WA           98416
    HANS SANER - EXECUTOR                                                            WANDERSTRASSE 10                        EST OF KARL JASPERS                                           BASEL CH                         05054        Switzerland
    HANS SANER EXECUTOR OF                                                           WANDERSTRASSE 10                        ESTATE OF KARL JASPERS                                        BASEL                            05054        Switzerland
                                            DBA SCHNITZEBANK RESTAURANT &
    HANSELMANS INCORPORATED                 CATERING                      393 3RD AVENUE                                                                                                   JASPER              IN           47546
    HANSEN JOYCE                                                          125 LETHA LANE                                                                                                   LEXINGTON           SC           29072
    HANSEN LITERARY AGENCY                  ATTN JUDITH HANSEN            242 BRONXVILLE ROAD SUITE D2                                                                                     BRONXVILLE          NY           10708
    HANS-GEORG GAUL                         DBA RAPID EYE MOVEMENT        AXEL-SPRINGER-STR.39                                                                                             BERLIN                           10969        Germany
    HANSON CARROLL                                                        223 PLANTATION BLVD                                                                                              ISLAMORADA          FL           33036
    Hantz Air LLC                                                         24901 Northwestern Hwy                             Suite 710                                                     Southfield          MI           48075
                                            DBA EDWARD GAUVIN
    HANVEY HSIUNG                           TRANSLATIONS                  849 LAVETA TERRACE                                                                                               LOS ANGELES         CA           90026
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    HARBORSIDE ASSOCIATES LP                PORTSMOUTH                    250 MARKET STREET                                                                                                PORTSMOUTH          NH           03801
    HARCOURT INC                            PETTY CASH - ATTN SUE RUDY    6277 SEA HARBOR DRIVE                                                                                            ORLANDO             FL           32887

    HARCOURT INC                            6277 SEA HARBOR DRIVE                    ROYALTY DEPARTMENT, 6TH FLOOR                                                                         ORLANDO             FL           32887
    HARCOURT INC                                                                     6277 SEA HARBOR DRIVE                                                                                 ORLANDO             FL           32887
                                            KARLA CREECH -TROY
    HARCOURT INC - PETTY CASH               DISTRIBUTION CTR                         298 ACADEMIC WAY                                                                                      TROY                MO           63379
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    USA INC                                                                          3771 LAS VEGAS BLVD, SOUTH                                                                            LAS VEGAS           NV           89109
    Hard Rock Hotel & Casino                                                         4455 Paradise Road                                                                                    Las Vegas           NV           89169-6574
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    HARDIN KAREN                                                                     1314 RICHLAWN DRIVE                                                                                   SPRING              TX           77379
    HARDY WILLIAMS ACADEMY                                                           1712 SOUTH 56TH STREET                  CHARTER SCHOOL                                                PHILADELPHIA        PA           19143
    HAREEM A KHAN                                                                    HOUSE 247/ STREET 100                                                                                 ISLAMABAD                        37994        Pakistan
    HARK GROUP INC                                                                   385 TEMPLE STREET                       ATTN HOLLY KELLER                                             NEW HAVEN           CT           06511
    HARLAN DAVIDSON INC                                                              773 GLENN AVE                                                                                         WHEELING            IL           60090-6019
    Harlan Heyden                                                                    7526 9th Court SE                                                                                     Turner              OR           97392
    Harlan Heyden                                                                    7526 9th Court SE                                                                                     Turner              OR           97392-9419
    HARLAN TAYLOR                           DBA TAYLOR & ASSOCIATES                  6100 PIONEER TRAIL NE                                                                                 GEORGE TOWN         IN           47122
    HARLANDALE INDEPENDENT SCH
    DISTRICT                                                                         102 GENEVIEVE DR                                                                                      SAN ANTONIO         TX           78214-2997
    HARLEM SUCCESS ACADEMY 3                                                         310 LENOX AVENUE 2ND FL                                                                               NEW YORK            NY           10027
    HARMON & SEIDMAN LAWYERS
    TRUST ACCOUNT                                                                    422 WHITE AVE                                                                                         GRAND JUNCTION      CO           81501
                                                                                     Christopher Seidman, Esq.,Bar No.
    Harmon & Seidman LLC                    RE Tom Bean II, Plaintiff                7816                                    101 S. Third Street, Suite 265                                Grand Junction      CO           81501
    Harmon & Seidman LLC                    RE Tom Bean II, Plaintiff                Maurice Harmon, Esq.                    The Pennsville School                533 Walnut Drive         Northampton         PA           18067
    Harmon & Seidman LLC                    RE Robert Lewine, Plaintiff              Alex Rice Kerr, Esq. (SBN#264821)       219 Vicksburg Street                                          San Francisco       CA           94114
                                                                                     Christopher Seidman, Esq. (SBN#
    Harmon & Seidman LLC                    RE Robert Lewine, Plaintiff              98884)                                  101 S. Third Street, Suite 265                                Grand Junction      CO           81501

    Harmon & Seidman LLC                    RE Robert Lewine, Plaintiff              Robert W. Crockett, Esq. (SBN#79918)    33 Spindrift Passage                                          Corte Madera        CA           94925
                                                                                     Christopher Seidman, Esq., Bar No.
    Harmon & Seidman LLC                    RE Muench Photography, Inc., Plaintiff   7816                                    101 S. Third Street, Suite 265                                Grand Junction      CO           81501

    Harmon & Seidman LLC                    RE Muench Photography, Inc., Plaintiff   Maurice Harmon, Esq.                    The Pennsville School                533 Walnut Drive         Northampton         PA           18067

    Harmon & Seidman LLC                    RE Harrison Shull, Plaintiff             Amanda L. Bruss, Esq., Bar No. #44151   8010 E. 29th Avenue                                           Denver              CO           80238
                                                                                     Christopher Seidman, Esq., Bar No.
    Harmon & Seidman LLC                    RE Harrison Shull, Plaintiff             7816                                    101 S. Third Street, Suite 265                                Grand Junction      CO           81501
    Harmon & Seidman LLC                    RE Harrison Shull, Plaintiff             Maurice Harmon, Esq. #9051              The Pennsville School                533 Walnut Drive         Northampton         PA           18067
                                                                                     Christopher Seidman, Esq., Bar No.
    Harmon & Seidman LLC                    RE Alaska Stock, Plaintiff               7816                                    101 S. Third Street, Suite 265                                Grand Junction      CO           81501
    Harmon & Seidman LLC                    RE Alaska Stock, Plaintiff               Maurice Harmon, Esq.                    The Pennsville School                533 Walnut Drive         Northampton         PA           18067
    Harmon & Seidman LLC                    RE Lester Lefkowitz, Plaintiff           Maurice Harmon, Esq.                    The Pennsville School                533 Walnut Drive         Northampton         PA           18067
    HARMON INC                                                                       P O BOX 74794                                                                                         CHICAGO             IL           60694-4794
    HARNAS OF AFRICAN WILDLIFE                                                       P O BOX 475311                                                                                        SAN FRANCISCO       CA           94147-5311
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    HAROLD BIERMAN JR                                                                109 KAY STREET                          CORNELL UNIV                                                  ITHACA              NY           14850
    Harold C Silverman                                                               55 South Main St.                                                                                     Mansfield           MA           02048



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                                      177 of 488                                                                                                    1:26 PM
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                                                                                                                       of 519
                                                                                                                     First Class Service List


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    Harold E. Johnson                                                       16 Neville Rd.                                                                                     Framingham          MA            01702
    HAROLD FOSTER                                                           205 AVONDALE DR                                                                                    AKRON               OH            44313
    Harold H Shallman                                                       57 Burroughs Road                                                                                  Braintree           MA            02184
    HAROLD HAYES                                                            201 S CREEKDALE DR, APT 407                                                                        NORMAN              OK            73072
    Harold Johnson                                                          16 Neville Rd.                                                                                     Framingham          MA            01702
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    Harold Miller                                                           1 Hawthorne Circle                                                                                 Lincoln             MA            01773
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    HAROLD OBER ASSOCIATES INC              FOR CHRISTINA MATTHEWS          425 MADISON AVENUE                                                                                 NEW YORK            NY            10017
    Harold R Ober                                                           34 Allen Street                                                                                    Arlington           MA            02474
    Harold Reed                                                             2460 S. Dawson St.                                                                                 Indianapolis        IN            46203
    Harold Rhomberg                                                         8330 Cason Road                   #206                                                             Gladstone           OR            97027
                                                                            URB SAN ANTONIO 1526 CALLE
    HAROLD ROSA MARIN                       DBA ROSAS CATERING              DAMASCO                                                                                            PONCE               PR            00728
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    Harriet Dishman                                                         50 Elm Street                                                                                      Wellesley Hills     MA            02181

    HARRIET LOWELL                                                          ONE RENAISSANCE SQUARE, # 25 E                                                                     WHITE PLAINS        NY            10601
    HARRIET MALINOWITZ                                                      81 PINE STREET                                                                                     KINGSTON            NY            12401
    Harriet Robinson                                                        6 Dunford Street                                                                                   Roxbury             MA            02119
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    Harriett Brittenham                                                     6174 Saddle Creek Trail                                                                            Parker              CO            80134



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                    178 of 488                                                                                                             1:26 PM
                                                      12-12171-reg             Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                         of 519
                                                                                                                          First Class Service List


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    HARRIS BEACH PLLC                                                        677 BROADWAY STE 1101                                                                                 ALBANY             NY           12207
    HARRIS COUNTY DEPARTMENT OF
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    Harris, Peter
    HARRIS/ELON AGENCY                                                       3 ASA STREET, PO BOX 8528                                                                             JERUSALEM                       91083        Israel

    HARRISBURG CITY SCHOOLS                 ACCOUNTING OFFICE                2101 NORTH FRONT STREET BLDG 2                                                                        HARRISBURG         PA           17110
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    HARRISON MADA M                         GOOD SHEPHERD LUTHERAN HOME 1115 4TH AVENUE NORTH                                                                                      SAUK RAPIDS        MN           56379
    HARRISON SCHOOL DISTRICT 2              ATTN FINANCE DEPARTMENT     1060 HARRISON ROAD                                                                                         COLORADO SPRINGS   CO           80905
    Harrison School District 2                                          1060 Harrison Rd.                                                                                          COLORADO SPRINGS   CO           80906
    Harrison Shull
    HARRISON TATE LOWN                      DBA THALICER IMAGE STUDIO        307 MONTANA AVE # 303                                                                                 SANTA MONICA       CA           90403
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    HARROD BLANK                                                             450 E 8TH STREET                                                                                      DOUGLAS            AZ           85607

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    Harry Jiles                                                              4019 DOWNES DR                                                                                        INDIANAPOLIS       IN           46236
    Harry Kozlovsky                                                          6501 Gardenwick Rd.                                                                                   Baltimore          MD           21209
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    SCHOOLS                                 ACCOUNTS PAYABLE                 800 NORTH SHORE DRIVE                                                                                 HARTLAND           WI           53029
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    HASSETT AIR EXPRESS                                                      877 S ROUTE 83                                                                                        ELMHURST           IL           60126-4740
    HASSETT ANN                                                              P O BOX 272                                                                                           WALDOBORO          ME           04572
    HASSETT JOHN                                                             P.O. BOX 272                                                                                          WALDOBORO          ME           04572
    HAT INC                                 DBA HELLAS AIR TEMP INC          52 CONNECTICUT AVENUE                                                                                 NORWALK            CT           06850
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    HAUBNER MARY ANN H                                                       7970 SPRING LEAF DRIVE                                                                                CINCINNATI         OH           45247
                                            TRUST AGRMNT 12/11/91 SETTLORS
    HAUGH OSCAR M AND RITA R                & TRUSTEE                      1400 LILAC LANE, #302                                                                                   LAWRENCE           KS           66044-3159
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    HAWAII COUNCIL OF TCHRS OF
    MATHEMATICS                                                              1626 ROYAL PALM DR               ATTN MERYLE HIROTSU                                                  WAHIAWA            HI           96786



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                         179 of 488                                                                                                           1:26 PM
                                                        12-12171-reg          Doc 136            Filed 07/15/12 Exhibit
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                                                                                                                       of 519
                                                                                                                     First Class Service List


                CreditorName                      CreditorNoticeName                       Address1                       Address2              Address3                City        State       Zip            Country
    HAWAII DEPT OF EDUCATION                KANEOHE ELEMENTARY SCHOOL       45-495 KAMEHAMEHA HWY                                                          KANEOHE             HI           96744
    HAWAII DEPT OF EDUCATION                AHUIMANU ELEMENTARY SCHOOL      47-470 HIU AEKO PLACE                                                          KANEOHE             HI           96744
    HAWAII DEPT OF EDUCATION                                                45-495 KAMEHAMEHA HWY                                                          KANEOHE             HI           96744
    HAWAII DEPT OF EDUCATION                                                47-470 HIU AEKO PLACE                                                          KANEOHE             HI           96744
    Hawaii Dept of Taxation                 Attn Bankruptcy Unit            PO Box 259                                                                     Honolulu            HI           96809
    HAWAII MEDICAL SVC ASSN                                                 P O BOX 29330                                                                  HONOLULU            HI           96820
    HAWAII PACIFIC UNIVERSITY                                               50 S BERETANIA ST STE C117-A                                                   HONOLULU            HI           96813
    HAWAII STATE TAX COLLECTOR              OAHU DISTRICT OFFICE            P O BOX 1425                                                                   HONOLULU            HI           96806-1425
    Hawaii State Tax Collector              Hawaii Department of Taxation   PO Box 1530                                                                    Honolulu            HI           96806-1530
    HAWAII STATE TAX COLLECTOR                                              P O BOX 1425                                                                   HONOLULU            HI           96806-1425
    HAWAII STATE TAX COLLECTOR                                              PO BOX 259                                                                     HONOLULU            HI           96809
    HAWAII STATE TAX COLLECTOR                                              P O BOX 3223                                                                   HONOLULU            HI           96793
    HAWLEY HERALD INC                                                       608 MAIN STREET                ATTN MARC NESS                                  HAWLEY              MN           56549
    Hawthorn School District 73             Attn Mary                       841 W. End Court                                                               Vernon Hills        IL           60061
    HAYDEE DIANA SANTIAGO                                                   URB VISTA AL MAR CALLE 8 B-1                                                   CATANO              PR           00962
    HAZE BRAUDRICK                                                          800 DOUD AVE                                                                   MONTERARY           CA           93940-4420
    Hazel Hughes Demchak                                                    10172 Windermerechase Blvd                                                     Gotha               FL           34734
    Hazel J Arroyo                                                          22 6th Ave                                                                     Haskell             NJ           07420
    HAZEL MATHOORA                                                          3 BROMVOEL CRESCENT                                                            BROMHOF                          02155        South Africa
    Hazelwood School District               Bill Soloman                    15955 New Halls Ferry Road                                                     FLORISSANT          MO           63031
    HAZELWOOD SCHOOL DISTRICT                                               12555 PARTRIDGE RUN                                                            FLORISSANT          MO           63033
    HB COMMUNICATIONS INC                                                   60 DODGE AVENUE PO BOX 689                                                     NORTH HAVEN         CT           06473-0689
    HCC Global                                                              8 Forest Park Drive                                                            Farmington          CT           06032
    HCC SPECIALTY UNDERWRITERS
    INC                                                                     401 EDGEWATER PLACE, STE 400                                                   WAKEFIELD           MA           01880
    HCDE EARLY CHILDHOOD CONF               ATTN DEBRA ANDERSON             6300 IRVINGTON BLVD                                                            HOUSTON             TX           77022
    HCL AMERICA INC                                                         PO BOX 5123                                                                    CAROL STREAM        IL           60197
    HCM SYSTEMS INC                                                         7150 S MADISON STREET                                                          WILLIOWBROOK        IL           60527
    HEACOCK LITERARY AGENCY INC                                             48 VILLA CHRISTINA                                                             LA LUZ              NM           88337
    HEAD OF THE CHARLES REGATTA             DBA ALAN B FISCHER MEMORIAL                                  C/O THE CAMBRIDGE BOAT CLUB-
    INC                                     FUND                            P O BOX 380052               TREASURER                                         CAMBRIDGE           MA           02238
    Healing Waters International                                            534 Commons Drive                                                              Golden              CO           80401
    HEALTH MANAGEMENT ASSOCIATES                                            120 NORTH WASHINGTON SQUARE,
    INC                                                                     SUITE 705                                                                      LANSING             MI           48933
    HEALTHYROADS INC                        ATTN FINANCE DEPT               DEPT LA 23445                                                                  PASADENA            CA           91185-3445
    HEARN COMPANY                           100 NORTH LASALLE               SUITE 2500                                                                     CHICAGO             IL           60602-3518
    HEARST COMMUNICATIONS INC               DBA SAN FRANCISCO CHRONICLE     P O BOX 80070                                                                  PRESCOTT            AZ           86304-8070
    HEARST COMMUNICATIONS INC               DBA ESQUIRE MAGAZINE            P O BOX 6000                                                                   HARLAN              IA           51593
    HEARST COMMUNICATIONS INC                                               P O BOX 80070                                                                  PRESCOTT            AZ           86304-8070
    HEARST CORPORATION                      DBA O - THE OPRAH MAGAZINE      PO BOX 6094                                                                    HARLAN              IA           51593
    HEARST CORPORATION                      DBA COUNTRY LIVING              300 W 57TH STREET                                                              NEW YORK            NY           10019
    HEARST CORPORATION                                                      PO BOX 6094                                                                    HARLAN              IA           51593
    HEARST HOLDINGS INC                     DBA KING FEATURES SYNDICATE     PO BOX 536463                                                                  ORLANDO             FL           32853-6463
                                                                                                         EDUCATIONAL TECH TRAINING
    HEART OF GEORGIA RESA                                                   1141 COCHRAN RESA            CENTER                                            EASTMAN             GA           31023
    HEARTLAND PRODUCTIONS INC                                               PO BOX 901                                                                     GRAND HAVEN         MI           49417
    HEASLIP JOHN KISSEN                                                     135 WILLOW STREET                                                              BROOKLYN            NY           11201
    Heath Beck                                                              2704 Kinsey Dr                                                                 Kissimmee           FL           34746
    HEATH CITY SCHOOL DISTRICT              GARFIELD ELEMENTARY SCHOOL      680 S 30TH ST                                                                  HEATH               OH           43056
    Heather Anderson                                                        Po Box 549                                                                     Kingston            NH           03848
    Heather Campbell                                                        264 N. Willow Road                                                             Elmhurst            IL           60126
    Heather Cribbs                                                          23A Dunstable St.                                                              Charlestown         MA           02129
    HEATHER CROMWELL                                                        128 EAST VAIL DRIVE                                                            YUKON               OK           73099
    HEATHER D WILSON                                                        4009 PROVIDENCE COURT                                                          WILMINGTON          NC           27412
    HEATHER DELABRE                                                         7111 N MIRAMAR DRIVE # 8                                                       PEORIA              IL           61614
    Heather Gandy                                                           200 Highland Horizon                                                           Austin              TX           78717
    Heather H Patton                                                        1224 Molona Drive                                                              Reunion             FL           34747
    HEATHER HART                                                            6675 S 500 W                                                                   TRAFALGAR           IN           46181
    HEATHER HOLLIDAY                        DBA ZAZOU MARKETING             1765 GARNET AVENUE #110                                                        SAN DIEGO           CA           92109
    Heather Jenkins                                                         1024 Gothic Manor Way                                                          Knoxville           TN           37923
    Heather Jernt                                                           8800 Split Arrow                                                               Austin              TX           78717

    HEATHER KELLY                           DBA HEATHER KELLY ILLUSTRATION 541 FRANKLIN AVENUE APT 2B                                                      BROOKLYN            NY           11238
    Heather Kluesner                                                       430 Littleton Tr.                                                               Elgin               IL           60120
    HEATHER LAIL                                                           7186 JULIE LANE                                                                 EVERGREEN           CO           80439
    HEATHER LEIGH DOBNEY                                                   4220 N BESSIE                                                                   SPOKANE             WA           99212
    Heather Lightsey                                                       803 Honeysuckle Dr                                                              Leander             TX           78641
    HEATHER M PLEASANTS                                                    3301 LOOP RD APT 901                                                            TUSCALOOSA          AL           35404-5402
    Heather M Roussi                                                       7 Oakland Ave.                  Apt. #2                                         Somerville          MA           02145
    Heather Morrison                                                       10603 Gungrove Drive                                                            Austin              TX           78750



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    180 of 488                                                                                      1:26 PM
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                                                                                                                188 Matrix
                                                                                                                        of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                         Address2                        Address3              City        State       Zip            Country
    HEATHER OKEEFFE GARDNER                                                627 WILD ROSE DRIVE                                                                       AUSTIN            TX           78737
    Heather Pillman                                                        2300 South Rock Creek Pkwy.     28-103                                                    Superior          CO           80027
    Heather Preston                                                        286 E DAISY CIR                                                                           ROMEOVILLE        IL           60446-4964
    Heather Queener                                                        6920 Hawk Rd                                                                              Flower Mound      TX           75022
    HEATHER R GRIVE                                                        9101 IANS PLACE                                                                           MOORE             OK           73160
    HEATHER RENEE GIAO                                                     2531 W BELLAGIO DR                                                                        MERIDIAN          ID           83646
    HEATHER RIDGE INC                                                      270 RIVER RIDGE DRIVE                                                                     WALLACE           NC           28466
    Heather S Connelly                                                     10308 194th Avenue East                                                                   Bonney Lake       WA           98391
    HEATHER SIMMONS                                                        4324 W ROYAL PALM RD                                                                      GLENDALE          AZ           85302
    Heather Starnes                                                        606 Aldenwood Street                                                                      Allen             TX           75002
    HEATHER SUE CONNELLY                                                   10308 194TH AVE E                                                                         BONNEY LAKE       WA           98391
    HEATHER T AUGUSTINE                                                    3607 DENEHOE COVE                                                                         AUSTIN            TX           78725
    Heather Trotter                                                        5017 Castle Moor Drive                                                                    Columbia          MD           21044
    HEATHER WISELOGLE                                                      8699 E 196TH ST                                                                           NOBLESVILLE       IN           46062
                                            DBA ORLANDO MARRIOTT LAKE
    HEATHROW HOTEL OWNERS LLC               MARY                           1501 INTERNATIONAL PKWY         ATTN ALLISON OVERTON                                      LAKE MARY         FL           32746
    HEAVENLY MADE LLC                                                      PO BOX 251                                                                                HOSCHTON          GA           30548
    HEBREW PUBLISHING CO                                                   PO BOX 222                      ESTATE OF HANNAH ARENDT              ATTN BRENDA OAKS     SPENCERTOWN       NY           12165
    HECTOR H RIVERA                                                        7777 GLEN AMERICA DRIVE # 236                                                             DALLAS            TX           75225
    Hector J Ortiz                                                         402 N. Fordham Ave.                                                                       Aurora            IL           60506
    Hector J Ramirez                                                       369 Montezuma Ave.              #451                                                      Santa Fe          NM           87501
    HECTOR J RAMIREZ                                                       5434 CAMINITO BORDE                                                                       SAN DIEGO         CA           92108
    Hector Lechuga                                                         363 Simms Street                                                                          Aurora            IL           60505
    Hector Ortiz                                                           402 North Fordham Street                                                                  Aurora            IL           60506
    Hector S Ramirez                                                       3266 Abiaka Dr                                                                            Kissimmee         FL           34743
    HEEB MEDIA LLC                                                         P O BOX 687                                                                               NEW YORK          NY           10012
    Heide N Danysh                                                         12203-A Running Bird Ln                                                                   Austin            TX           78758
    HEIDELBERG COLLEGE                                                     310 E MARKET STREET             ATTN ACCOUNT PAYABLE                                      TIFFIN            OH           44883
    HEIDELBERG PROJECT                                                     42 WATSON STREET                                                                          DETROIT           MI           48201
    HEIDI A DIEFES-DUX                                                     735 CARDINAL DRIVE                                                                        LAFAYETTE         IN           47909
    Heidi A Trybus                                                         1030 Aegean Drive                                                                         Schaumburg        IL           60193
    HEIDI ANNE MESMER                                                      2807 TALL OAKS DR                                                                         BLACKSBURG        VA           24060
    HEIDI CHANG                                                            67 E 11TH STREET #508                                                                     NEW YORK          NY           10003
    HEIDI EVERETT-CACOPARDO                                                48 GIRARD AVENUE                                                                          NEW HAVEN         CT           06512
    Heidi Fernandes                                                        125 N Washington                Apt. B2                                                   North Attleboro   MA           02760
    HEIDI GOTZ                                                             565 S FAIRFIELD AVENUE                                                                    LAMBARD           IL           60148
    Heidi Gotz                                                             565 S. Fairfield Avenue                                                                   Lombard           IL           60148
    Heidi Graviette                                                        PO Box 796                                                                                Lockeford         CA           95237
    Heidi J Schrock                                                        127 Division Street                                                                       St. Charles       IL           60174
    HEIDI JO PARNELL                                                       2113 GARDEN RD NE                                                                         RIO RANCHO        NM           87124
    HEIDI MARIE WAMRE                                                      601 RIDGEWOOD LANE                                                                        DELANO            MN           55328
    HEIDI MELISSA GLICKMAN                                                 52 WINDSOR LANE                                                                           EAST LONGMEADOW   MA           01028
    HEIDI MILLS                                                            105 VALLEY DALE DR                                                                        LEXINGTON         SC           29072
    Heidi Perham                                                           20 Brattle St                                                                             So Berwick        ME           03908
    HEIDI PITLOR                                                           163 ASH STREET                                                                            HOPKINGTON        MA           01748
    Heidi Sadlier Kinney                                                   120 Bay View Ave                                                                          Berkeley          MA           02779
    HEIDI WALWORTH-HORN                                                    4214 N ORCHARD ST                                                                         TACOMA            WA           98407
    Heidi Wilson                                                           10050 Great Hills Trail         1606                                                      Austin            TX           78759
    HEIDRICK & STRUGGLES INC                                               1133 PAYSPHERE CIR                                                                        CHICAGO           IL           60674-1010
    Heifer International                                                   PO Box 1692                                                                               Merrifield        VA           22116-1692

    HEIFER PROJECT INTERNATIONAL            ATTN S COLLINS - MATCHING GIFTS 1 WORLD AVE                                                                              LITTLE ROCK       AR           72202
    HEILMAN ARTHUR                                                          415 FERGUSON                                                                             STATE COLLEGE     PA           16801
    HEINEMANN                                                               361 HANOVER STREET                                                                       PORTSMOUTH        NH           03801
    HEINEMANN                                                               PO BOX 7247-7011                                                                         PHILADELPHIA      PA           19170
    HEINEMANN                                                               PO BOX 7247-7011                                                                         PHILADELPHIA      PA           19170-7011
    HEINEMANN A DIVISION OF                 GREENWOOD PUBLISHING            361 HANOVER ST                                                                           PORTSMOUTH        NH           03801-3959
    HEINEMANN PUBLISHERS                                                    HALLEY COURT JORDAL HILL                                                                 OXFORD                         OX2 8EJ      United Kingdom
    HEINEMANN PUBLISHERS LTD                                                HALLEY COURT, JORDAN HILL                                                                OXFORD                         OX2 8EJ      United Kingdom
    HEINEMANN RAINTREE                                                      P O BOX 46490                                                                            EDEN PRAIRIE      MN           55344-6490
    HEINING-BOYNTON AUDREY                                                  403 NORTH ELLIOT RD                                                                      CHAPEL HILL       NC           27514
    HEINRICH C BAUMANN                                                      TSCHEINENHAUS                                                                            OBERWALD                       03999        Switzerland
    Heinrich Marketing, Inc.                                                1350 Independence Street                                                                 Denver            CO           80215-4629
    HEINTZ ELECTRIC COMPANY                                                 PO BOX 210                                                                               QUINCY            IL           62306
    Heinz Wegener                                                           2652 Estella Drive                                                                       Santa Clara       CA           95051
    HEITHAUS MICHAEL R                                                      3160 NW 84TH WAY                                                                         COOPER CITY       FL           33024
    Helayne Capasso                                                         3048 Pigeon Hawk Ct                                                                      Orlando           FL           32829
    HELEN BRANN AGENCY INC                                                  94 CURTIS ROAD                 ATTN PERMISSION DEPT                                      BRIDGEWATER       CT           06752
    Helen Brown                                                             8545 Sawyer Brown Rd                                                                     Nashville         TN           37221
    HELEN BURNINGHAM OXENBURY                                               5 EAST HEATH ROAD                                                                        LONDON                         NW3 1BN      United Kingdom



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                    181 of 488                                                                                               1:26 PM
                                                      12-12171-reg            Doc 136             Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                189 Matrix
                                                                                                                        of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                          Address2              Address3             City           State       Zip           Country
    Helen Chloe Foster                                                      524 Putnam Ave., Apt. 14                                                         Cambridge           MA           02139
    Helen Doll                                                              6 Vacation Lane                                                                  West Yarmouth       MA           02673
    Helen Estep                                                             966 Meadowbrook                  Drive                                           Grapevine           TX           76051
    HELEN F SWANSON                                                         2833 CARTER RD                                                                   COLOMA              MI           49038
    HELEN FOX                                                               2266 GEORGETOWN BLVD                                                             ANN ARBOR           MI           48105
    HELEN JEAN KORMELINK                                                    707 C LILY LANE                                                                  ROMEOVILLE          IL           60446
    Helen Kolettis                                                          50 Stanton Court                 Unit D2                                         Schaumburg          IL           60193
    Helen Kratz                                                             23404 ANNS CHOICE WA                                                             WARMINSTER          PA           18974-3355
    HELEN LARSON                                                            44 MEADOW LAKES UNIT 08                                                          HIGHTSTOWN          NJ           08520
    HELEN LUCILLE HABIG                                                     100 E 8TH STREET                                                                 CINCINNATI          OH           45202
                                            DBA HIGH ROAD MARKETING
    HELEN LYNN GRANGER                      COMMUNICATIONS                  375 HIGH STREET                                                                  ROCHESTER           MA           02770
    Helen Macfarlane                                                        52 Liberty St.                   Apt. H4                                         Plymouth            MA           02360
    Helen Martin                                                            112 E 6TH ST                                                                     FRANKFORT           KS           66427
    Helen McDermott                                                         69 Barbara Road                                                                  Waltham             MA           02453
    HELEN MORRIS                                                            120 OLD WINKLE POINT DR                                                          NORTHPORT           NY           11768
    Helen Ocasio                                                            4402 White Pine Avenue                                                           Orlando             FL           32811
    Helen R Macfarlane                                                      52 Liberty St.                   Apt. H4                                         Plymouth            MA           02360
    HELEN R Z RODNEY                                                        PO BOX 283                                                                       BRONX               NY           10462
    Helen R. Stiff-Williams                 Educational Consulting, LLC     5830 Spinnaker Cove Road                                                         Midlothian          VA           23112
    HELEN RAVENHILL                         DBA RAVENHILL REPRESENTS        1215 WEST 67H STREET                                                             KANSAS CITY         MO           64113
    Helen S Baker                                                           1971 Olivewood Dr                                                                Indianapolis        IN           46219
    HELEN SABIN                                                             2550 TALLESON CT                                                                 COLORADO SPRINGS    CO           80919
    HELEN SCULLY                                                            1029 CLOUET STREET                                                               NEW ORLEANS         LA           70117
    HELEN SISK                                                              11733 ARBOR GLEN WAY                                                             RESTON              VA           20194
                                            DBA OOPS - OUR OVERNIGHT
    HELEN TEAGUE                            PLANNING SYSTEM                 2438 INDUSTRIAL BLVD, # 189                                                      ABILENE             TX           79605
    HELEN WALKER NOLAN                                                      35 GOVERNOR PRENCE RD                                                            EASTHAM             MA           02642
    Helen Winer                                                             706 Waukegan                     #303                                            Glenview            IL           60025
    HELEN YENTUS                                                            178 DRIGGS AVE 4R                                                                BROOKLYN            NY           11222
    HELEN ZIMMERMANN LITERARY
    AGENCY                                                                  3 EMMY LANE                                                                      NEW PALTZ           NY           12561
    Helena Chandler                                                         163 Summer Street                Apt 37                                          Somerville          MA           02143
    HELENA ESTES                                                            324 WILLOW STREET                FOR ELEANOR ESTES                               NEW HAVEN           CT           06511
    HELENE M BUCHMAN                                                        10744 ALYSSUM LANE # 101                                                         VENTURA             CA           93004
    Helene Schommer                                                         3017 13th St North                                                               St. Petersburg      FL           33704

    HELGA M COLON CLAUDIO                                                   PARQ DE SAN IGNACIO CALLE 5 B4                                                   SAN JUAN            PR           00921-4823
    HELGA S CRILE                                                           2060 KENT ROAD                                                                   CLEVELAND HEIGHTS   OH           44106
    HELGERSON JOSEPH                                                        2913 LEE AVE NORTH                                                               MINNEAPOLIS         MN           55422
    HELLENA THOMPKINS                                                       3316 NANSEMOND RIVER DR                                                          SUFFOLK             VA           23435
    HELLENIC REP MINISTRY OF
    CULTURE                                 ARCHAEOLOGICAL RECIEPTS FUND 57 PANEPISTIMOU ST                                                                  ATHENS                           10564        Greece
    HELLO DIRECT                                                         DEPT CH 17200                                                                       PALATINE            IL           60055-7200
    HELLWEG PAUL                                                         428 BORDER COURT                                                                    FRAZIER PARK        CA           93225
    HELMINSKI STUDIOS INC                   ATTN LISA HELMINSKI          1451 E GLORIA DRIVE                                                                 PALATINE            IL           60074
    HelmsBriscoe ResourceOne                Attn Stuart Carson           20875 N. 90th Place, Ste 210                                                        Scottsdale          AZ           85255
    HELOISE BORDEN                                                       491 EAST BROADWAY UNIT 2                                                            BOSTON              MA           02127
    HEMERA TECHNOLOGIES INC                 ATTN PAMELA DAW              490 ST JOSEPH BOULEVARD                                                             GATINEAU            QC           J8Y 3Y7      Canada
    Hemisphere Freight & Brokerage                                       21 Goodrich Road, Unit #3                                                           Etobicoke           ON           M8Z 6A3      Canada
                                                                                                             DBA CHIP HENDERSON
    HENDERSON COLLINS & MUIR INC                                            712 ENON ROAD                    PHOTOGRAPHY                                     OXFORD              NC           27565
    HENDERSONVILLE NEWSPAPER
    CORP                                                                    P O BOX 490                      DBA TIMES-NEWS                                  HENDERSONVILLE      NC           28793
    HENDRICK-LONG PUBLISHING CO                                             10635 TOWER OAKS # D                                                             HOUSTON             TX           77070
    HENDRICKS & LEWIS PLLC                                                  901 FIFTH AVENUE, STE 4100                                                       SEATTLE             WA           98164
    HENRICO COUNTY PUBLIC
    SCHOOLS                                                                 3820 NINE MILE RD RM A           ATTN PATRICIA SOLOMAN                           RICHMOND            VA           23223-4831
    HENRY A FERRIER                                                         325 HILLSDALE DRIVE                                                              FAYETTEVILLE        GA           30214
    HENRY BILLINGS                                                          118 WELLINGTON CIRCLE                                                            LEBANON             NH           03766
    HENRY BLAKE                                                             30-61 48TH STREET # 2R                                                           ASTORIA             NY           11103
    Henry Chevrette                                                         167 Townsend Harbor Road                                                         Lunenburg           MA           01462
    HENRY COLE                                                              2041 NE 6TH TERRACE                                                              WILTON MANORS       FL           33305
    HENRY COUNTY SCHOOLS                    LUELLA HIGH SCHOOL              603 WALKER DR                                                                    LOCUST GROVE        GA           30248
    HENRY FORD MUSEUM AND
    GREENFIELD                              ATTN RESEARCH CENTER            PO BOX 1970                                                                      DEARBORN            MI           48124-5029
    HENRY FORD MUSEUM AND
    GREENFIELD                              20900 OAKWOOD BLVD              PO BOX 1970                                                                      DEARBORN            MI           48124-5029
    HENRY GARLAND                                                           1904 HIGH ROAD                                                                   TALLAHASSEE         FL           32303
    HENRY GENTHE                                                            234 MONTE VISTA AVENUE                                                           LARKSPUR            CA           94939



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                      182 of 488                                                                                     1:26 PM
                                                      12-12171-reg                     Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                        Pg Creditor
                                                                                                                            190 Matrix
                                                                                                                                    of 519
                                                                                                                                 First Class Service List


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    HENRY GROSSMAN                                                                   100 WEST 76 ST APT 6 N                                                                        NEW YORK            NY           10023
    HENRY HOLT & COMPANY                                                             PO BOX 933244                                                                                 ATLANTA             GA           31193
    HENRY HOLT & COMPANY LLC                ATTN HOLLY HUNNICUTT                     175 FIFTH AVENUE, 10TH FL                                                                     NEW YORK            NY           10010
    HENRY HOLT & COMPANY LLC                                                         PO BOX 933244                                                                                 ATLANTA             GA           31193
    HENRY HOLT AND CO INC                                                            P O BOX 933244                                                                                ATLANTA             GA           31193-3244
    HENRY HOLT AND COMPANY                                                           P O BOX 933244                                                                                ATLANTA             GA           31193-3244
    HENRY HORENSTEIN                                                                 1140 WASHINGTON STREET                                                                        BOSTON              MA           02118
    Henry Hornung                                                                    P O BOX 24                                                                                    WHITEHOUSE          NJ           08888
    HENRY MOORE FOUNDATION                  DANE TREE HOUSE                          PERRY GREEN                                                            MUCH HADHAM            Hertfordshire                    SG10 6EE     United Kingdom
    HENRY MORRISON INC                                                               P O BOX 235                                                                                   BELFORD HILLS       NY           10507
    HENRY N SAWYER CO INC                                                            586 RUTHERFORD AVE                                                                            CHARLESTOWN         MA           02129
    Henry P Maier                                                                    3811 Valleybrook Dr                                                                           Wilmington          DE           19808
    HENRY RACHLIN                                                                    88 PARK AVENUE #205                                                                           ARLINGTON           MA           02476
    Henry Rachlin                                                                    88 Park Avenue                                                                                Arlington           MA           02174
    HENRY SENE YEE                                                                   4720 CENTER BLVD APT 1713                                                                     LONG ISLAND         NY           11109
    Henry Thompson                                                                   1447 W. Touhy Ave.               Apt. 303                                                     Chicago             IL           60626
    Hensler, Laurie
    HEO YUMI                                                                         97 STERLING AVENUE                                                                            WHITE PLAINS        NY           10606
    HEPHZIBAH ROSKELLY                                                               1715 CLARENDON DR                                                                             GREENSBORO          NC           27410
    HERALD OLIVIA WALKER                                                             11387 TURTLEBACK LANE                                                                         SAN DIEGO           CA           92127
    HERB BLOCK FOUNDATION                                                            1730 M STREET NW STE 901                                                                      WASHINGTON          DC           20036
    Herb Miller                                                                      10569 Jaguar Point                                                                            Littleton           CO           80124
    HERBERT A JULICH                                                                 6441 PUMPKIN SEED CIRCLE                                                                      BOCA RATON          FL           33433
    Herbert Cornell                                                                  268 Hanover Street                                                                            Lebanon             NH           03766
    Herbert D Cornell                                                                268 Hanover Street                                                                            Lebanon             NH           03766
    Herbert N Mier                                                                   13331 Sunkiss Loop                                                                            Windermere          FL           34786
    HERBERT OHLMEYER                                                                 1203 SIENA VILLAGE                                                                            WAYNE               NJ           07470
    HERBLOCK CARTOONS                       1730 M STREET, NW                        SUITE 901                                                                                     WASHINGTON          DC           20036
    HERE AFTER INC                                                                   1008 BELLAMY DRIVE WEST                                                                       QUINCY              FL           32351-1316
    HERED BETTE J GRANTOR TRUST
    003580                                                                           PO BOX 6437                                                                                   ITHACA              NY           14851
    HERED ROBERT W                                                                   1999 BRISTA DE MAR CIRCLE                                                                     ATLANTIC BEACH      FL           32233
    HERITAGE PUBLISHERS                                                              19A ANSARI ROAD                                                                               DARYAGANJ           NEW DELHI    110002       India
    HERKIMER CONTY COMMUNITY
    COLL                                                                             RESERVOIR RD LIBRARY BLDG                                                                     HERKIMER            NY           13350
    Herman A Fulwider                                                                51 Jefferson Ave                                                                              Woburn              MA           01801
    HERMAN AGENCY                                                                    350 CENTRAL PARK WEST APT 4I                                                                  NEW YORK            NY           10025
    HERMAN AGENCY INC                       ATTN RONNIE ANN HERMAN                   350 CENTRAL PARK WEST APT 4-I                                                                 NEW YORK            NY           10025
    HERMAN AMY T                                                                     2319 VILLAGE DRIVE                                                                            LOUISVILLE          KY           40205
    HERMAN AND RUTH ROBBINS
    SCHEIN                                  LIVING TRUST                             NORRE SOGADE 43                                                                               COPENHAGEN                       01370        Denmark
    Herman Fulwider                                                                  51 Jefferson Ave                                                                              Woburn              MA           01801
    HERMAN LEWIS DESIGN SYNDICATE
    LLC                                                                              412 BISON CIRCLE                                                                              APOPKA              FL           32712
    Hermelinda Jimenez                                                               320 South Union Street                                                                        Aurora              IL           60505
    HERNAN SANTOS MERCADO                                                            P O BOX 2888                                                                                  MAYAGUEZ            PR           00681-2888
                                            TEXAS A&M UNIVERSITY-CORPUS
    HERNANDEZ ARTHUR                        CHRISTI                                  6300 OCEAN DRIVE UNIT 5818                                             COLLEGE OF EDUCATION   CORPUS CHRISTI      TX           78412

    Hernstadt Atlas LLP                     RE Muench Photography, Inc., Plaintiff   David Atlas, Esq.                11 Broadway, Suite 615                                       New York            NY           10004
    HERRICK FEINSTEIN LLP                                                            2 PARK AVENUE                                                                                 NEW YORK            NY           10016
    HERSHELL HOWARD NIXON                                                            2219 BRIAR BRANCH                                                                             HOUSTON             TX           77042
    HERSHEY ENTERTAINMENT AND
    RESORTS                                 DBA HOTEL HERSHEY                        1000 EAST DERRY ROAD                                                                          HERSHEY             PA           17033
    Hertz/Gallagher                                                                  975 Terminal Way                                                                              Elko                NV           89801
    HERTZBERG NEW METHOD INC                PERMA BOUND BOOKS                        617 E VANDALIA ROAD                                                                           JACKSONVILLE        IL           62650
    Hetal Mody                                                                       1532 Derby Lane                                                                               Bartlett            IL           60103
                                            CALVIN COLLEGE- DEPT OF
    HETTINGA DONALD R                       ENGLISH                                  3201 BURTON ST SE                                                                             GRAND RAPIDS        MI           49546
    HEUBEL MATERIAL HANDLING INC                                                     PO BOX 870975                                                                                 KANSAS CITY         MO           64187
    HEWETT JOAN                                                                      1612 FAIR OAKS AVENUE APT25                                                                   SOUTH PASADENA      CA           91030
    HEWITT ASSOCIATES                                                                PO BOX 95135                                                                                  CHICAGO             IL           60694-5135

    HEWLETT PACKARD                                                                  13207 COLLECTIONS CENTER DRIVE                                                                CHICAGO             IL           60693
    HEWLETT PACKARD                                                                  8000 FOOTHILLS BLVD MS 5511                                                                   ROSEVILLE           CA           95747
    HEWLETT PACKARD                                                                  P O BOX 101149                                                                                ATLANTA             GA           30392-1149
    HGRESA                                  Lynn Rogers                              1141 Cochran Highway                                                                          EASTMAN             GA           31023

    HHP-WESTMINSTER LLC                     DBA DOUBLETREE DENVER NORTH              8773 YATES DRIVE                                                                              WESTMINISTER        CO           80031




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                                183 of 488                                                                                                    1:26 PM
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                                                                                                                          of 519
                                                                                                                       First Class Service List


                 CreditorName                      CreditorNoticeName                    Address1                           Address2              Address3             City           State       Zip               Country
                                            DBA HOLIDAY INN MISSION VALLEY
    HI SAN DIEGO LESSEE INC                 STADIUM                          3805 MURPHY CANYON RD                                                           SAN DIEGO           CA           92123
    HIAWYN ORAM                                                              37 DORVILLE CRESCENT                                                            LONDON                           W6 0HH       United Kingdom
    HIBSAM LLC                              DBA BATTERIES PLUS               1105 DALLAS DRIVE                                                               DENTON              TX           76205
    HICHEM OMRI                             DAR ASSALAM BLDG 301             SALAH AL-DIN STREET                                                             DEIRA DUBAI                                   United Arab Emirates
    HICKMAN ROBERT CRAIG                                                     2395 LINCOLN STREET                                                             EUGENE              OR           97405
    HICKS JEFFREY                                                            9980 SW BUCKSKIN TERRACE                                                        BEAVERTON           OR           97008
    HIDDEN SPRING BOOK COMPANY                                               P O BOX 51141                                                                   SEATTLE             WA           98115
    HIERONYMUS FAMILY PARTNERSHIP
    LLP                                                                      3322 MUSCATINE AVENUE                                                           IOWA CITY           IA           52240
    HIGH DESIGN                                                              16 SOUTH WASHINGTON STREET                                                      ATHENS              NY           12015
    HIGHER BENCHMARKS LLC                                                    6509 AVONDALE DR UNIT B                                                         OKLAHOMA CITY       OK           73116
    HIGHLANDER RESEARCH & EDUC                                                                               ATTN KRISTI B COLEMAN - WSOC
    CTR                                     DBA WE SHALL OVERCOME FUND       1959 HIGHLANDER WAY             FUND                                            NEWMARKET           TN           37820
    HIGHLIGHTS FOR CHILDREN                                                  803 CHURCH STREET                                                               HONESDALE           PA           18431-1877
    Higley Unified School District          Attn Accounts Payable            2935 South Recker Road                                                          Gilbert             AZ           85295
    HILARY ARCHER                                                            9 MARLBOROUGH STREET, APT 22                                                    BOSTON              MA           02116
    HILARY CLEMENT OLSON                                                     1901 OVERLAND HILLS CIR                                                         AUSTIN              TX           78746
    HILARY DUMITRESCU                                                        3192 LAUREL ST                                                                  NAPA                CA           94558
    HILARY MASTERS                                                           1213 MONTERAY                                                                   PITTSBURGH          PA           15212
    HILARY SHERLOCK                                                          4 DEVON ROAD                    APT 1, 4 DEVON PLACE                            KINGSTON 10                                   Jamaica
    Hilary Wallis                                                            P.O. Box 117                                                                    West Newfield       ME           04095
    Hilary Zusman                                                            36 Atlantic Avenue                                                              Dover               NH           03820
    Hilde Cruz-Roman                                                         1636 Peregrine Falcons Way      Apt 107                                         Orlando             FL           32837
    HILGARTNER BETH                                                          PO BOX 6                                                                        ORFORD              NH           03777
    HILL GEOFFREY W                                                          316 HISTON ROAD                                                                 CAMBRIDGE                        CB4 3HS      United Kingdom
    HILL MARVIN S                                                            416 S 140 W                                                                     OREM                UT           84058
    HILL RENEE                                                               3892 BANDINI AVENUE                                                             RIVERSIDE           CA           92506
    HILL ROBERT W                                                            3658 N FILLMORE                                                                 CEDAR VALLEY        UT           84013
    HILLARY A HUMPHREY                                                       11144 S HUDSON AVENUE                                                           TULSA               OK           74137
    Hillary Donaldson                                                        1879 Faxon Dr                                                                   Montgomery          IL           60538
    HILLARY S ALEXANDER                                                      10006 ADIRONROCK WAY                                                            CHAPEL HILL         NC           27517

    HILLCO PARTNERS, LLC                                                     823 CONGRESS AVENUE,SUITE 900                                                   AUSTIN              TX           78701-2458
    Hillcrest Junior High School                                             126 East 5300 South                                                             Murray              UT           84107
    HILLCROFT SERVICES INC                  DBA CANNON INDUSTRIES            114 E STREETER AVENUE                                                           MUNCIE              IN           47303
    HILLEL HALKIN                                                            PO BOX 106                                                                      ZICHRON YA AKOV                  30900        Israel
    Hillel Yampol                                                            1 Williamsburg Rd.                                                              Evanston            IL           60203
                                            DBA LOUISVILLE SLUGGER MUSEUM
    HILLERICH & BRADSBY CO                  & FACTORY                     800 WEST MAIN STREET               ATTN ANNE JEWELL                                LOUISVILLE          KY           40202
    HILLERICH ROBERT L                                                    5338 NOTTAWAY PLACE                                                                BROOKSVILLE         FL           34601
    HILLHOUSE GRAPHIC DESIGN LLC                                          249 DE LEE DRIVE                                                                   KINGSPORT           TN           37663
    HILLS L RUST                                                          1425 E MAGEE RD                                                                    TUCSON              AZ           85718
    Hillsboro School District 1J            Accounts Payable              3083 NE 49th Place                                                                 Hillsboro           OR           97124
    HILLSBOROUGH COUNTY SCHOOL
    DISTRICT                                ATTN CASHIER                     901 EAST KENNEDY BLVD           PO BOX 3408                                     TAMPA               FL           33602
    HILLSDALE COLLEGE BOOKSTORE                                              18 EAST GALLOWAY DR                                                             HILLSDALE           MI           49242
    Hillview School                         James Sacca                      39530 Rowan Court                                                               Palmdale            CA           93551
    HILTON ALS                                                               49 BEACH STREET APT 5                                                           NEW YORK            NY           10013
    Hilton Clearwater Beach Resort                                           400 Mandalay Avenue                                                             Clearwater Beach    FL           33767
    HILTON GARDEN INN                                                        1818 MAPLE AVE                                                                  EVANSTON            IL           60201-3136
    HILTON HOTELS                           PHILADELPHIA CITY AVENUE         4200 CITY AVENUE                                                                PHILADELPHIA        PA           19131
    HILTON JACKSON                                                           1001 EAST COUNTY LINE RD                                                        JACKSON             MS           39211
    Hilton Orlando Altamone Spring                                           350 S. Northlake Blvd.                                                          Altamonte Springs   FL           32701
    Hilton San Jose                                                          300 Almaden Blvd.                                                               San Jose            CA           95110
    Hilton Waterfront Beach Resort                                           21100 Pacific Coast Highway                                                     Huntington Beach    CA           92648
    HINDS COMMUNITY COLLEGE                                                  P O BOX 1100                                                                    RAYMOND             MS           39154-1100
    HINDS COUNTY TAX COLLECTOR                                               P O BOX 1727                                                                    JACKSON             MS           39215-1727
    HINES ANNA GROSSNICKLE                                                   P.O. BOX 1456                                                                   GUALALA             CA           95445
    HINES INTERESTS                                                          222 BERKELEY ST, SUITE 1420                                                     BOSTON              MA           02116-3761
    HINES ROBERT W                                                           2505 KEY BOULEVARD                                                              ARLINGTON           VA           22201
    HINRICHS & ASSOCIATES                   DBA STUDIO HINRICHS              387 TEHAMA STREET                                                               SAN FRANCISCO       CA           94103
    HINSDALE ADVENTIST ACADEMY                                               631 E HICKORY ST                                                                HINSDALE            IL           60521
    HIRAM COLLEGE BOOKSTORE                                                  P O BOX 1808                                                                    HIRAM               OH           44234
    HIRE EDUCATION INC                                                       3080 VALMONT STE 270                                                            BOULDER             CO           80301
    HIRE TRAINING INC                                                        1608 SEQUOIA                                                                    NAPERVILLE          IL           60540
    HIROSHI OTAKE                           CHILDRENS NATIONAL MED. CTR.     111 MICHIGAN AVENUE NW                                                          WASHINGTON          DC           20010
    HIRSCH E D JR                                                            200 GARRETT ST - SUITE 505                                                      CHARLOTTESVILLE     VA           22902
    HIRSCH ELIZABETH WHEELER                                                 544 UNION ST                                                                    SAN FRANCISCO       CA           94133
    HIRSCH FREDERICK WARNER                                                  41 WESTERN AVENUE                                                               HULL                MA           02040



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      184 of 488                                                                                         1:26 PM
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                                                                                                                      of 519
                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName               Address1                            Address2              Address3              City        State       Zip            Country
    HIRSCH JOHN SCHAEFFER                                                  1400 LOWELL ROAD                                                                 CONCORD           MA           01742
    HISD STATE OF THE SCHOOLS                                              4400 WEST 18TH STREET                                                            HOUSTON           TX           77092

    HISPANIC HERITAGE ORGANIZATION                                         443 GREENTREE LANE                                                               BOLINGBROOK       IL           60440
    HISPANIC SOCIETY OF AMERICA                                            613 WEST 155TH ST                                                                NEW YORK          NY           10032
                                                                           150 S INDEPENDENCE MALL W STE
    HISTORIC PHILADELPHIA INC                                              550                              ATTN ALISON ENGLISH                             PHILADELPHIA      PA           19106
                                            C/O THE PULLMAN STATE HISTORIC
    HISTORIC PULLMAN GARDEN CLUB            SITE                           11111 S FORRESTVILLE AVENUE                                                      CHICAGO           IL           60628

    HISTORICAL SOC OF PENNSYLVANIA                                         1300 LOCUST STREET                                                               PHILADELPHIA      PA           19107-5661
    HISTORICAL SOCIETY OF
    DELAWARE                       ATTN STEPHANIE PRZYBYLEK                505 MARKET ST                                                                    WILMINGTON        DE           19801
    HISTORICAL SOCIETY OF
    ROCKLAND COUNTY                                                        20 ZUKOR ROAD                    ATTN CLARE SHERIDAN                             NEW CITY          NY           10956
    HISTORICAL SOCIETY OF WESTERN ATTN LIBRARIES AND ARCHIVE
    PENNSYLVAN                     DIVISION                                1212 SMALLMAN STREET                                                             PITTSBURGH        PA           15222
    HISTORY GROUP INC                                                      2844 RANGEWOOD TER                                                               ATLANTA           GA           30345
                                                                           149 TOTTENHAM CT ROAD 5TH
    HIT ENTERTAINMENT LTD                                                  FLOOR                            LUDGATE 151, MAPLE HOUSE                        LONDON                         W1T 7NF      United Kingdom
    HITALENTS INC                                                          3087 HOPEWELL DR                                                                 AURORA            IL           60502
    HJH CONSULTING GROUP                    DBA THE SALT GROUP             PO BOX 291468                                                                    KERRVILLE         TX           78029-1468
    HK PORTFOLIO INC                                                       775 SIXTH AVE #6                                                                 NEW YORK          NY           10001
    HKH CONSULTING INC                                                     10659 CHERRY WOOD DRIVE          HELEN HALIKIAS                                  PALOS PARK        IL           60464
    HKS INC                                                                PO BOX 731121                                                                    DALLAS            TX           75373-1121
    Hl Fortson                                                             3309 West 82Nd St                                                                Inglewood         CA           90305
    HMH Consumer Company
    HMH Education Company
    HMH IP Company
    HMH Publishing Company
    HMH Publishing Company (IOM)
    Unlimited
    HMRC SHIPLEY                                                           1 PRINCESS STREET                                                                LONDON                         EC2A 8PA     United Kingdom
    Hoang Vu                                                               2101 8th Avenue                  Apt #2C                                         New York          NY           10026

    HOBART & WILLIAM SMITH COLLEGE THE COLLEGE STORE                       51 ST CLAIR STREET                                                               GENEVA            NY           14456
    HOCA ASSOCIATES LLC            DBA HILTON ONTARIO AIRPORT              700 N HAVEN AVENUE                                                               ONTARIO           CA           91764
                                                                                                            DEPT OF BIO INDUSTRY COMM &
    HO-CHIA CHUEH                                                          NATIONAL TAIWAN UNIVERSITY       DEVELOPMENT                                     TAIPEI                         10607        Taiwan
    HODDER & STOUGHTON                                                     338 EUSTON ROAD                  C/O HACHETTE UK LTD                             LONDON                         NW1 3BH      United Kingdom
    HODDER AND STOUGHTON LTD                                               338 EUSTON RD                    CONTRACTS DEPARTMENT                            LONDON                         NW1 3BH      United Kingdom
    HODDER HEADLINE PLC                                                    130 MILTON PARK                  GROUP FINANCE DEPT                              ABINGDON          OXON         OX14 4SB     United Kingdom
    Hodel Briggs Winter
    HODEL BRIGGS WINTER LLP                                                8105 IRVINE CENTER DR STE 1400                                                   IRVINE            CA           92618

    HODGES UNIVERSITY INC                   INTERNATIONAL COLLEGE BKSTORE 2655 NORTHBROOKE DR                                                               NAPLES            FL           34119
    HODSDON WALTER GRANT                                                  2170 GULF SHORE BLVD N.22W.                                                       NAPLES            FL           34102
    HOEFLER TYPE FOUNDRY INC                DBA HOEFLER & FRERE-JONES     611 BROADWAY, RM 725                                                              NEW YORK          NY           10012

    HOFFMAN TRAILS ELEMENTARY PTO                                          4301 HOFFMAN FARMS DRIVE                                                         HILLIARD          OH           43026
    HOLBROOK RD SCHOOL PTA                                                 170 HOLBROOK AVE                                                                 CENTEREACH        NY           11720
    HOLDER AMY                                                             26 WICK DRIVE                                                                    PARKESBURG        PA           19365
    HOLIDAY HOUSE                                                          425 MADISON AVENUE                                                               NEW YORK          NY           10017
    HOLIDAY HOUSE INC                                                      425 MADISON AVENUE                                                               NEW YORK          NY           10017
    HOLIDAY HOUSE INC                                                      425 MADISON AVENUE                                                               NEW YORK          NY           10017-1135
    HOLIDAY INN                                                            505 MARRIOTT DRIVE                                                               CLARKSVILLE       IN           47129
    Holland & Hart                                                         PO Box 17283                                                                     Denver            CO           80217-0283
    Holland & Knight
    HOLLAND & KNIGHT LLP                                                   P O BOX 864084                                                                   ORLANDO           FL           32886-4084
    HOLLAND USA INC               DBA US DIARY                             P O BOX 900                                                                      JOHNSTOWN         NY           12095
    HOLLINS EXPOSITION SERVICES                                            PO BOX 7001                                                                      ROANOKE           VA           24019
    HOLLY BARTHOLOMEW             DBA FIRST CLASS CONFERENCES              P O BOX 1367                                                                     MT PLEASANT       SC           29465
    Holly Bisso                                                            92 Keyes Rd.                                                                     Westford          MA           01886
    Holly Dorr                                                             49 Whippoorwill Ridge                                                            Farmington        NH           03835
    HOLLY DUFEK                   DBA DUFEK DESIGN                         7412 PERSHING BLVD                                                               KENOSHA           WI           53142
    HOLLY E HANSON                                                         HISTORY DEPT                     MOUNT HOLYOKE COLLEGE                           SOUTH HADLEY      MA           01075
    HOLLY H NORMAN                                                         2207 BONITA STREET                                                               AUSTIN            TX           78703
    HOLLY K CARMEN                                                         4542 STEEPLECHASE DRIVE                                                          NORMAN            OK           73072
    Holly K Price                                                          4426 42 Street, NW                                                               Washington        DC           20016
    HOLLY OCCHIPINTI                                                       1289 WALNUT MEADOWS DR                                                           OAKLEY            CA           94561



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     185 of 488                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                        of 519
                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                      Address2              Address3            City           State       Zip            Country
    HOLLY SLAUGHTER                                                        8892 118 STREET                                                              SEMINOLE           FL           33772
    HOLLYE JONES                                                           700 ALLEN LANE                                                               WALNUT GROVE       MS           39189
    HOLLYM CORPORATION                                                     CORE BLDG 13-13 GWANCHEOL-
    PUBLISHERS                              ATTN CHLOE LEE                 DONG                                                                         JONGJO-GU SEOUL                 110-111      South Korea
    Holme, Roberts & Owen LLP                                              1700 Lincoln Street            Suite 4100                                    Denver             CO           80203
                                            MAACE - ATTN MEGHAN            WIN JOB CTR, 204-1 COLONNADE
    HOLMES COMMUNITY COLLEGE                FELTENSTEIN                    COVE                                                                         OXFORD             MS           38655
    HOLT ASSOCIATES (P FARENGA)             ESTATE OF JOHN HOLT            P O BOX 89                                                                   WAKEFIELD          MA           01880-5011
    HOLT MCDOUGAL                                                          10801 NO MOPAC EXPY - BLDG 3   ATTN JUDY JOHNSON                             AUSTIN             TX           78759
    HOLT PUBLIC SCHOOLS                                                    5780 WEST HOLT ROAD                                                          HOLT               MI           48842
    HOLUM & SONS CO INC                                                    740 N BURR OAK DR                                                            WESTMONT           IL           60559
    HOLY CROSS CHURCH                                                      2300 MAIN STREET                                                             BATAVIA            IL           60510
    HOLY FAMILY CRISTO REY
    CATHOLIC HIGH SCH                                                      2001 19TH STREET, ENSLEY                                                     BIRMINGHAM         AL           35218
    Holy Family RCSSD #140                                                 110 Souris Avenue, 3rd Fl                                                    Weyburn            SK           S4H 2Z8      Canada
    HOLY FAMILY UNIVERSITY                                                 9801 FRANKFORD AVE                                                           PHILADELPHIA       PA           19114-2009
    HOLY NAME OF JESUS CATHOLIC
    COMM INC                                SACRED HEART ACADEMY           215 S EUREKA ST                                                              REDLANDS           CA           92373
    HOLY ROSARY CATHOLIC SCHOOL                                            215 S WASHINGTON               ATTN DAN MINTER                               MEDFORD            WI           54451
    HOLY SPIRIT CATHOLIC SCHOOL                                            3120 PARKWOOD LANE                                                           MARYLAND HEIGHTS   MO           63043
    HOLY TRINITY SCHOOL                                                    3716 BOYCE AVENUE                                                            LOS ANGELES        CA           90039
    HOME EDUCATING FAMILY ASSN              HOME EDUCATING FAMILY
    LLC                                     PUBLISHING                     P O BOX 190451                                                               NASHVILLE          TN           37219
    HOME EDUCATORS ASSOCIATION
    OF VIRGINIA                                                            P O BOX 6745                   2011 EXHIBITOR REGISTRATIONS                  RICHMOND           VA           23230-0745
    HOME ENRICHMENT INC                                                    P O BOX 163                                                                  PEKIN              IL           61555
    HOME LIFE INC                                                          1731 SMIZER MILL ROAD                                                        FENTON             MO           63026
    HOMER CARTER                                                           1526 WEST APRIL RAIN COURT                                                   MISSOURI CITY      TX           77489
    HOMER COMMUNITY SCHOOL                                                 212 S 3RD STREET                                                             HOMER              NE           68030
    HOMER SOCIETY OF NATURAL
    HISTORY INC                             DBA PRATT MUSEUM               3779 BARTLETT STREET                                                         HOMER              AK           99603
    HOMESCHOOL.COM INC                      ATTN ACCOUNTING                12210 HERDAL DRIVE SUITE 11                                                  AUBURN             CA           95603

    HOMEWOOD SCHOOL DISTRCIT 153                                           18205 ABERDEEN STREET                                                        HOMEWOOD           IL           60430
    HONEYCREEK ELEMENTARY                                                  6701 W EDEN PLACE                                                            MILWAUKEE          WI           53220
    HONG KONG INTERNATIONAL
    SCHOOL                         CERCON 2000 EXHIBITOR CHAIR             6 & 23 SOUTH BAY CLOSE                                                       REPULSE BAY                                  Hong Kong
    HONI J BAMBERGER                                                       12214 SLEEPY HORSE LN                                                        COLUMBIA           MD           21044
    HONOLULU ACADEMY OF ARTS                                               900 SOUTH BERETANIA STREET                                                   HONOLULU           HI           96814
    Honolulu/Jarrett Middle School Attn Lynetter Pamatigan, SASA           1903 Palolo Avenue                                                           Honolulu           HI           96816

    HOOSICK FALLS CENTRAL SCHOOL                                           P O BOX 192 ROUTE 22                                                         HOOSICK FALLS      NY           12090
    HOOSIER ASSN OF SCIENCE
    TEACHERS INC                                                           5007 WEST 14TH STREET                                                        INDIANAPOLIS       IN           46224-6503
    HOOSIER FIRST AID & SAFETY
    SUPPLY LLC                                                             PO BOX 39376                                                                 INDIANAPOLIS       IN           46239-0376
    HOOVER H D                                                             435 BAYARD ST                                                                IOWA CITY          IA           52246
    HOPE COLLEGE                            FROST RESEARCH CENTER          P O BOX 9000                                                                 HOLLAND            MI           49422-9000
    HOPE GENEVA BOOKSTORE                                                  P O BOX 9000                                                                 HOLLAND            MI           49422-9000
    HOPE PUBLISHING CO                                                     380 SOUTH MAIN PLACE                                                         CAROL STREAM       IL           60188
    HOPE RICHARDSON                                                        4300 TIMBER CREST LANE                                                       WACO               TX           76705-3552
    Hope Tompkins                                                          194 Elm St                                                                   Cambridge          MA           02139
    Hope Wallace                                                           5 Random Lane                                                                Andover            MA           01810
    Hope Williams                                                          2301 S Mopac Expy              315                                           Austin             TX           78746
    Hope Worldwide                                                         353 W. Lancaster Avenue                                                      Wayne              PA           19087
    HOPEWELL VALLEY REGIONAL SD                                            425 S MAIN STREET                                                            PENNINGTON         NJ           08534
    HOPFENSPERGER PATRICK W                                                W73 N725 LOCUST AVE                                                          CEDARBURG          WI           53012
    HOPKINTON PUBLIC SCH DIST                                              89 HAYDEN ROWE STREET                                                        HOPKINTON          MA           01748
    HOPSCOTCH                                                              P O BOX 164                                                                  BLUFFTON           OH           45817-0164

    HORACE MCKAY                                                           1313 WEST SUNFLOWER ROAD 107                                                 CLEVELAND          MS           38732
    HORIZON RESEARCH                                                       326 CLOISTER CT                                                              CHAPEL HILL        NC           27514
    Horizon School Div #205                                                245 Main St N                                                                Wadena             SK           S0A 4J0      Canada
    HORIZONS FOR HOMELESS
    CHILDREN INC                                                           1705 COLUMBUS AVENUE                                                         ROXBURY            MA           02119
    Hornet Bookstore                        CA State Univ., Sacramento     6000 J. Street                                                               SACRAMENTO         CA           95819
    HORNFISCHER LITERARY
    MANAGEMENT                              ATTN JIM HORNFISCHER           2528 TANGLEWOOD TRAIL                                                        AUSTIN             TX           78703
    HORNIK LAURIE                                                          27 BEECHWOOD TER                                                             YONKERS            NY           10705
    HOROVITZ JEDIDIAH                                                      416 EVANS AVENUE                                                             HADDONFIELD        NJ           08033



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                 186 of 488                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                194 Matrix
                                                                                                                        of 519
                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                              Address2              Address3             City              State       Zip            Country

    HORRY COUNTY ADULT EDUCATION                                           1620 SHERWOOD DR                 ATTN ALONDA DURHAM                                CONWAY                SC            29526
    HOSPICE OF THE COMFORTER INC                                           480 W CENTRAL PKWY                                                                 ALTAMONT SPRINGS      FL            32714-5415
    HOSPICE OF THE GOOD SHEPHERD
    INC                                                                    2040 BEACON STREET                                                                 NEWTON                MA            02468
    HOSPICE OF THE PIEDMONT INC                                            675 JEFFERSON PKWY STE 300                                                         CHARLOTTESVILLE       VA            22911
    HOT SPRINGS RECORDS          DBA HSR                                   12920 16TH AVE S                                                                   BURNSVILLE            MN            55337
                                 HOT SPRINGS TECHNICAL
    HOT SPRINGS SCHOOL DISTRICT  INSTITUTE                                 400 LINWOOD                                                                        HOT SPRINGS           AR            71913
    HOTALINGS NEWS AGENCY                                                  630 W 52ND STREET                                                                  NEW YORK              NY            10019
    HOTEL CAMINO REAL
    GUADALAJARA                                                            SUC 54 PLAZA 001                                                                   GUADALAJARA, S A DE CV DF                        Mexico
    HOTEL CAMINO REAL S A                                                  CALLE CAMINO REAL 0-20 ZONA 10                                                     CIUDAD DE GUATEMALA                              Guatemala

    HOTEL CENTURY PLAZA                                                    AV RAFAEL VIDAL PLAZA CENTURY                                                      EMBRUJO 1 SANTIAGO                               Dominican Republic
    HOTEL EL DORADO                                                        BARROS ARANA 348                                                                   CONCEPCION                                       Chile
    HOTEL MARRIOTT BOGOTA                                                  AV EL DORADO # 69B -53                                                             BOGOTA                                           Colombia
                                                                           AV 9 DE OCTUBRE Y GARCIA
    HOTEL ORO VERDE S A HOTVER                                             MORENO                                                                             GUAYAQUIL                                        Ecuador
    HOTELERA Y TURISMO MARINA DEL
    REY                                     LTDA                           ECOADOR 299                                                                        VINA DEL MAR                                     Chile
    HOTELES ESTELAR S A                                                    CALLE 76 # 5629                                                                    BARRANQUILLA                                     Colombia
    HOTELES NACIONALES                      ELKA DE VILLANUEVA             222 BERKELEY STREET                                                                BOSTON                MA            02116
    HOTZE SOLLACE                                                          2193 MUSKOGEE TRAIL                                                                NOKOMIS               FL            34275
    HOUGHTON MIFFLIN COMPANY                                               215 PARK AVENUE SOUTH                                                              NEW YORK              NY            10003
    HOUGHTON MIFFLIN COMPANY                                               PO BOX 7247-0354                                                                   PHILADELPHIA          PA            19170-0354
    HOUGHTON MIFFLIN EMPLOYEES              FEDERAL CREDIT UNION           181 BALLARDVALE ST                                                                 WILMINGTON            MA            01887
    Houghton Mifflin Harcourt               Benefits Dept/Laurie Cassidy   222 Berkeley Street                                                                Boston                MA            02116
    Houghton Mifflin Harcourt                                              4925 W 86th ST                                                                     Indianapolis          IN            46268
    Houghton Mifflin Harcourt                                              6277 Seaharbor Dr                6th Floor                                         Orlando               FL            32887-0001
    Houghton Mifflin Harcourt (Asia) Pte.
    Ltd.
    Hougton Mifflin PLC
    HOULIHAN LOKEY CAPITAL INC                                             1930 CENTURY PARK WEST                                                             LOS ANGELES           CA            90067
    HOUSE CYNTHIA                                                          145 BIRCH HILL ROAD                                                                WARNER                NH            03278
    HOUSE OF ANANSI PRESS INC               ATTN PERMISSIONS DEPT          110 SPADINA AVENUE # 801                                                           TORONTO               ON            M5V 2K4      Canada
    HOUSE OF EQUATIONS INC                                                 54 DRAKES MEADOW LANE                                                              ARDEN                 NC            28704
    HOUSTON AREA ALLIANCE BLACK
    SCHOOL                                  EDUCATORS                      3100 RICHMOND AVE STE 306                                                          HOUSTON               TX            77098
    HOUSTON AREA ASSOC FOR
    BILINGUAL EDUC                                                         P O BOX 7994                     ATTN TERESA ARRAMBIDE                             HOUSTON               TX            77270
    Houston Hatler                                                         4235 Gatewood Lane                                                                 Deluth                GA            30097
    Houston Hatler                                                         4235 Gatewood Lane                                                                 Deluth                GA            30097-2305
    HOUSTON IND SCHOOL DIST                                                4400 WEST 18TH STREET                                                              HOUSTON               TX            77092
    HOUSTON INDEPENDENT SCH
    DISTRICT                                STEPHEN F AUSTIN HIGH SCHOOL   1700 DUMBLE STREET                                                                 HOUSTON               TX            77023
    HOUSTON ISD - NORTH DISTRICT                                           5426 CAVALCADE                                                                     HOUSTON               TX            77026
    HOUSTON ISD PRINTING SERVICES                                          4400 WEST 18TH ST, 1NE03         ATTN CHARLOTTE HOLDEN                             HOUSTON               TX            77092
    HOUSTON JAMES D                                                        2-1130 EAST CLIFF DRIVE                                                            SANTA CRUZ            CA            95062
    HOUSTON READ COMMISSION                                                5330 GRIGGS RD # 75              ATTN CHRISTY RAMIREZ                              HOUSTON               TX            77021
    Houston, Elisabeth
    HOV SERVICES INC                                                       P O BOX 142589 DRAWER # 9092                                                       IRVING                TX            75014-2589
    Hovig Donabedian                                                       132 Upton Rd                                                                       Westborough           MA            01581
    HOVING PIT STOP INC                                                    2351 POWIS ROAD                                                                    WEST CHICAGO          IL            60185
    Howard A. Graves Jr.                                                   1627 Park Castle Way                                                               Indianapolis          IN            46229
    HOWARD ADKINS                                                          911 WEST ANDERSON LANE SUITE
    COMMUNICATIONS INC                      DBA ADKINS/McLAREN INC         203                                                                                AUSTIN                TX            78757
    HOWARD B BLUESTEIN                                                     3115 WALNUT RD                                                                     NORMAN                OK            73072
    HOWARD B FISHER JR                      DBA SONNYS GLASS TINTING       434 CENTRAL STREET                                                                 SAUGUS                MA            01906
    HOWARD B SCHONBERGER                                                   40 GARLAND STREET                                                                  BANGOR                ME            04401-5224
    Howard Beale Jr                                                        38 BARTLETT ST.                                                                    NORTHBOROUGH          MA            01532
    HOWARD CENTER                                                          208 FLYNN AVENUE STE 3J                                                            BURLINGTON            VT            05401
    HOWARD COMMUNITY COLLEGE                BOOKSTORE                      LITTLE PATUXENT PKWY             RCF BLDG STUDENT SERVICES                         COLUMBIA              MD            21044
    Howard Coulter                                                         946 W WINCHESTER RD                                                                LIBERTYVILLE          IL            60048
    HOWARD COUNTY PUBLIC SCHOOL
    SYSTEM                                                                 10910 STATE ROUTE 108                                                              ELLICOTT CITY         MD            21042
    HOWARD E SCHWARTZ                                                      14 HILL N DALE LANE                                                                ST LOUIS              MO            63132
    HOWARD GOLDBERG                                                        12152 CAPTIVA COURT                                                                RESTON                VA            20191
    Howard Goldstein                                                       URB DORADO DEL MAR               PP 10 CALLE MARLIN                                DORADO                PR            64623
    Howard Hassman                                                         9 AUBURN RD                                                                        PARSIPPANY            NJ            07054



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                       187 of 488                                                                                         1:26 PM
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                                                                                                                   First Class Service List


                 CreditorName                      CreditorNoticeName                  Address1                         Address2                        Address3                         City        State       Zip               Country
                                            LAW OFFICE OF HOWARD L
    HOWARD L STOVALL                        STOVALL                        2131 NORTH RACINE AVENUE                                                                        CHICAGO              IL           60614
    HOWARD LITWIN                                                          POB 8772                                                                                        JERUSALEM                         91087        Israel
    HOWARD MORHAIM LIT AGY                                                 30 PIERREPONT STREET                                                                            BROOKLYN             NY           11201
    HOWARD MORHAIM LITERARY
    AGENCY                                                                 30 PIERREPONT ST                                                                                BROOKLYN             NY           11201
    Howard Simpson                                                         240 E. Harrison                                                                                 Mooresville          IN           46158
    Howard Stovall, Law Offices of
    HOWARD UNIV BOOKSTORE/NACS                                             2225 GEORGIA AVENUE NW                                                                          WASHINGTON           DC           20059
    HOWARD UNIVERSITY
    BOOKSTORE/NACS                                                         2225 GEORGIA AVENUE NW                                                                          WASHINGTON           DC           20059
    Howard Ward                                                            3590 Knollbrook Dr                                                                              Franklin             OH           45005
    HOWARD YOSHINO                                                         3054 ALA POHA PL APT 402                                                                        HONOLULU             HI           96818
                                            DBA WILLIAM JOYCES HOWDY INK
    HOWDY INK LLC                           LLC                            2031 KINGS HWY STE 102                                                                          SHREVEPORT           LA           71103
    HOWE HELEN                                                             1158 FIFTH AVENUE                                                                               NEW YORK             NY           10029
    HOWEL T EVANS TRUSTEE
    ELEANOR J FAR                           R                              75 MILL STREET                                                                                  NEWPORT              RI           02840

    HOWELL STEVE N G                        POINT REYES BIRD OBSERVATORY   999 MESA ROAD                                                                                   BOLINAS              CA           94924
    HOWELL TOWNSHIP BOARD OF
    EDUCATION                                                              P O BOX 579                                                                                     HOWELL               NJ           07731
    HOWLAND NAOMI                                                          1356 VIA ZURITA                                                                                 CLAREMONT            CA           91711
    HOWLETT BUD                                                            281 MONTEGO KEY                                                                                 NOVATO               CA           94949
    HOWSTUFFWORKS INC                                                      3350 PEACHTREE ROAD, STE 1500                                                                   ATLANTA              GA           30326
    HOWSTUFFWORKS INC                                                      STE 1500 / 3350 PEACHTREE RD                                                                    ATLANTA              GA           30326
    HOXIE FREDRICK E                                                       2717 LINCOLNWOOD DRIVE                                                                          EVANSTON             IL           60201
    HP PRODUCTS CORPORATION                                                P O BOX 660417                                                                                  INDIANAPOLIS         IN           46266-0417
    HS GROUP HOLDINGS INC                   DBA BYTWARE                    NW 5955, P O BOX 1450                                                                           MINNEAPOLIS          MN           55485-5955
    HSM AMERICAS INC                                                       501 MADISON AVENUE                                                                              NEW YORK             NY           10022
    HSS Security Systems                    Integration                    PO Box 17033                                                                                    Denver               CO           80217
    HST LESSEE KEYSTONE LLC                 DBA SHERATON INDIANAPOLIS      8787 KEYSTONE CROSSING                                                                          INDIANAPOLIS         IN           46240
    HSU & ASSOCIATES LLC                    21 HOWARD STREET               201                                                                                             NEW YORK CITY        NY           10013
    Hua H Chen                                                             22 N. Silverton Court                                                                           Palatine             IL           60067
    HUA H CHEN CPA                                                         22 N SILVERTON CT                                                                               PALATINE             IL           60067
    HUADAN WU                                                              1101 UNIT 6 NO 2 BLGD            SHUANGQUIO NANLU                  BENEFICIARY NAME WU HUADAN   CHAOYANG DISTRICT    Beijing      100024       China
    HUB GLASS SERVICES INC                                                 216 MCGRATH HWY                                                                                 SOMERVILLE           MA           02143
    HUBBARD PARK INC                                                       50 HUBBARD PARK                  ATTN ELISE PRIMAVERA                                           RED BANK             NJ           07701
    HUBER HEIGHTS NUTRITION
    SERVICE                                                                7191 TROY MANOR ROAD                                                                            HUBER HEIGHTS        OH           45424
    HUDGINS ANDREW                                                         1380 STONEYGATE LANE                                                                            COLUMBUS             OH           43221
    HUDSON GLOBAL RESOURCES                                                75 REMITTANCE DRIVE SUITE 6465                                                                  CHICAGO              IL           60675
    HUDSON GLOBAL RESOURCES                                                PO BOX 8500-4406                                                                                PHILADELPHIA         PA           19178
    HUDSON GROUP RETAIL
    SPECIALISTS                                                            1 MEADOWLANDS PLAZA SUITE 902                                                                   EAST RUTHERFORD      NJ           07073
    HUDSON SOFTWARE                                                        200 CLEARBROOK RD                                                                               ELMSFORD             NY           10523
    HUDSON TALBOTT                                                         119 5TH AVENUE APT 500                                                                          NEW YORK             NY           10003
    HUDSON-MOHAWK VALLEY AREA               MATHEMATICS CONFERENCE         10825 ST RT 32                                                                                  GREENVILLE           NY           12083
    HUDSON-MOHAWK VALLEY AREA               ATTN LUCKY PALMER              10825 ST RT 32                                                                                  GREENVILLE           NY           12083
    HUFFMAN GARY D                                                         157 ROSEMONT GARDEN                                                                             LEXINGTON            KY           40503
    HUFFMAN LINDA K                                                        133 WEST CIRCLE DR                                                                              NICHOLASVILLE        KY           40356
    HUFFMAN MAY W                                                          407 HICKORY HILL                                                                                NICHOLASVILLE        KY           40356
    HUFFMAN WILLIAM W                                                      1610 DOGWOOD DR                                                                                 RIFLE                CO           81650
    HUGE INC                                DBA SHELF AWARENESS            1932 1ST AVENUE STE 300                                                                         SEATTLE              WA           98101-1040
    Hugh Flynn                                                             61 Oakland St                                                                                   Newburyport          MA           01950
    HUGH P SMITH JR                         DBA HUGH SMITH PHOTOGRAPHY     5500 CALLE REAL APT B-114                                                                       SANTA BARBARA        CA           93111
    HUGH SOCKETT                                                           19885 NAPLES LAKES TERRACE                                                                      ASHBURN              VA           20147
    HUGHES KAY                                                             75 SOUTH 6TH AVE #101                                                                           LAGRANGE             IL           60525
    HUGHES SARAH ANNE                                                      2 JACK STRAWS LANE                                                                              OXFORD                            OX3 0DL      United Kingdom
    Hughes, Gerald
    Hughes, Hazel
    HUMAN RIGHTS CAMPAIGN                                                  1640 RHODE ISLAND AVE NW                                                                        WASHINGTON           DC           20036
    HUMAN SERVICES COALITION OF                                            1900 BISCAYNE BOULEVARD SUITE
    DADE COUNTY                                                            200                                                                                             MIAMI                FL           33132
    Humane Society of the U.S.                                             2100 L. Street, NW                                                                              Washington           DC           20037
    HUMANSCALE CORPORATION                                                 11 EAST 26TH STREET 8TH FLOOR                                                                   NEW YORK             NY           10010
    HUMBACH NANCY                                                          5840 FAIRHAM ROAD                                                                               HAMILTON             OH           45011
    HUMBOLDT STATE UNIVERSITY
    CENTER                                                                 # 1HARPST STREET                                                                                ARCATA               CA           95521
    HUMPHREYS MARTHA                                                       5024 SOMERBY DRIVE                                                                              HUNTSVILLE           AL           35802



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                  188 of 488                                                                                                            1:26 PM
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                                                                                                                        of 519
                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName               Address1                        Address2                        Address3                 City               State       Zip              Country
    HUNG HING OFFSET PRINTING CO                                                                                                                                     TAI PO IND EST NT HONG
    LTD                                     PAUL EPSTEIN / JEFF TOLLIN     17-19 DAI HEI STREET                                                                      KONG                                               China
    Hunt Bonan                                                             100 N. Hancock                                                                            MC LEANSBORO             IL           62859
    HUNTER ANNE                                                            123 DEXTER ROAD                                                                           SHAFTSBURY               VT           05262
                                                                           3055 WEATHERSFIELD CENTER
    HUNTER EDITH FISHER                                                    ROAD                                                                                      WEATHERSFIELD            VT           05156
    HUNTER HOUSE PUBLISHERS INC                                            PO BOX 2914                                                                               ALAMEDA                  CA           94501
    HUNTER WENTWORTH                                                       3382 CHELSEA PARK LANE APT 1                                                              NORCROSS                 GA           30092
    Hur, Woo-Kun
    HURMENCE BELINDA                                                       11 SPRINGMOOR DRIVE                                                                       RALEIGH                  NC           27615-4324
    HURST CAROL OTIS                                                       52 BROOKWOOD DRIVE                                                                        FLORENCE                 MA           01062
    HURST JILL C                                                           3 LAMARTINE PLACE                                                                         BOSTON                   MA           02130
    HUTCHINSON ELEMENTARY
    SCHOOL                                                                 13209 PARCHER AVE                                                                         HERNDON                  VA           20170
    HUTTNER RICHARD                                                        104 DAHLIA DRIVE                                                                          WAYLAND                  MA           01778
    HUYCKE MARY J                                                          11300 HUNT FARM LANE                                                                      OAKTON                   VA           22124
    Huzefa Suratwala                                                       1092 Groton Court                                                                         Schaumburg               IL           60193
    HYATT CORP- AGENT OF OHIO CTR
    HOTEL CO                                DBA HYATT REGENCY COLUMBUS     PO BOX 203915                                                                             HOUSTON                  TX           77216
    HYATT CORP -AGENT OF
    REOKLEDGE HMT LLC                       DBA GRANT HYATT ATLANTA        3300 PEACHTREE ROAD NE                                                                    ATLANTA                  GA           30305
    HYATT CORPORATION                       HYATT REGENCY CROWN CENTER     P O BOX 842123                                                                            DALLAS                   TX           75284-2123
    HYATT CORPORATION                       DBA GRAND HYATT TAMPA BAY      P O BOX 840935                                                                            DALLAS                   TX           75284-0935
    HYATT CORPORATION                                                      P O BOX 842123                                                                            DALLAS                   TX           75284-2123
    HYATT CORPORATION - LHR
    PARTNERS LTD                            HYATT REGENCY LOUISVILLE       P O BOX 847674                                                                            DALLAS                   TX           75284
    HYATT CORPORATION-AGENT OF
    HERDEEN                                                                1635 8TH AVENUE                                                                           SEATTLE                  WA           98101
    HYATT LEGAL PLANS INC                                                  P O BOX 714893                                                                            COLUMBUS                 OH           43271-4893
    Hyatt Regency Bethesda                                                 PO Box 6038                                                                               Washington               DC           20042-3350
    Hyatt Regency Boston                                                   PO Box 842446                                                                             Dallas                   TX           75284-2446
    Hyatt Regency Cambridge                                                575 Memorial Drive                                                                        Cambridge                MA           02139
    Hyatt Regency Columbus                                                 350 North High Street                                                                     Columbus                 OH           43215
    HYATT REGENCY DEARBORN                                                 DEPT # 296601 P O BOX 67000                                                               DETROIT                  MI           48267-2966
    Hyatt Regency Huntington Beach                                         PO Box 202489                                                                             Dallas                   TX           75320
    Hyatt Regency Jersey City                                              Two Exchange Place                                                                        Jersey City              NJ           07302
    HYATT REGENCY LOST PINES
    RESORT                                                                 PO BOX 201927                                                                             DALLAS                   TX           75320
    HYATT REGENCY MILWAUKEE                                                333 W KILBOURN AVE                                                                        MILWAUKEE                WI           53203
    Hyatt Regency Newport Beach                                            PO Box 515049                                                                             Los Angeles              CA           90051-5049
    HYATT REGENCY OHARE                                                    9300 BRYN MAWR AVE                                                                        ROSEMONT                 IL           60018
    Hyatt Regency Santa Clara                                              P.O. Box 842135                                                                           Dallas                   TX           75202-2135
    Hyatt Regency SF Airport                                               1333 Bayshore Highway                                                                     Burlingame               CA           94010
    Hyatt Regency St. Louis                 at The Arch                    315 Chestnut                                                                              Saint Louis              MO           63102
    Hyatt Regency Tech. Center                                             7800 East Tufts Avenue                                                                    Denver                   CO           80237
    HYATT REGENCY WOODFIELD                                                1800 EAST GOLF ROAD                                                                       SCHAUMBURG               IL           60173
    HYNDS SUSAN                                                            4549 ASHFIELD TERRACE                                                                     SYRACUSE                 NY           13215
    HYPERION                                ATTN CONTRACTS & PERMISSIONS   114 FIFTH AVE, 15TH FLOOR                                                                 NEW YORK                 NY           10011
    HYPERION AN IMPRINT OF BUENA
    VISTA BOOKS                                                            114 FIFTH AVENUE                ATTN LISA BARELLI                                         NEW YORK                 NY           10011
    HYPERION BOOK CHILDREN                                                 114 FIFTH AVE                   IMPRINT BUENA VISTIA BKS          DISNEY BOOK PUB GROUP   NEW YORK                 NY           10011

    HYPERION BOOKS FOR CHILDREN                                            44 SOUTH BROADWAY 9 TH FLOOR                                                              WHITE PLAINS             NY           10601
    HYPERION-DISNEY BOOK GROUP              ATTN BRIDGET PALMER            44 S BROADWAY 9TH FLOOR                                                                   WHITE PLAINS             NY           10601
    Hysaan S Goode                                                         7787 Maple Run Lane                                                                       Powell                   OH           43065
    HYUNDAI PRINTING CORP                                                  222 BERKELEY ST                                                                           BOSTON                   MA           02116
    I MAKE NEWS INC                                                        200 5TH AVENUE 2ND FL                                                                     WALTHAM                  MA           02451
    I SPOT.COM                                                             53 WEST 36TH STREET SUITE 306                                                             NEW YORK                 NY           10018
    I4 DESIGN INC                                                          2302 A BRIDGEWAY                                                                          SAUSALITO                CA           94965
    IACP DO NO USE                          304 WEST LIBERTY ST            SUITE 201                                                                                 LOUISVILLE               KY           40202-3011
    IAN ADAMS                               DBA IAN ADAMS PHOTOGRAPHY      2200 BAILEY ROAD                                                                          CUYAHOGA FALLS           OH           44221
    Ian Campbell                            C/O Shel Stanfill, CHS         15655 Brookstone Drive                                                                    Parker                   CO           80134
    Ian D Wallace                                                          3750 Matisse Dr.                                                                          St. Charles              IL           60175
    IAN DOUGLAS WALLACE                                                    330 BLACKHAWK DR                                                                          CAROL STREAM             IL           60188
    IAN FRAZIER                                                            318 GROVE STREET                                                                          MONTCLAIR                NJ           07042
    Ian Friedman                                                           616 South Euclid                                                                          Oak Park                 IL           60304
    Ian Hoene                                                              2902 Eagle Lake Dr.                                                                       Orlando                  FL           32837
    IAN KNAUER                                                             135 GARFIELD PLACE 2F                                                                     BROOKLYN                 NY           11215
    Ian Nestor                                                             2855 Summer Swan Drive                                                                    Orlando                  FL           32825
    IAN R MACDONALD                                                        2020 SEMINOLE DRIVE                                                                       TALLAHASSEE              FL           32301



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 189 of 488                                                                                                          1:26 PM
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                                                                                                                   197 Matrix
                                                                                                                           of 519
                                                                                                                     First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                        Address2                         Address3                     City        State       Zip             Country
    Ian T Pirrall                                                           6555 Discovery Dr. S.                                                                          Indianapolis        IN           46250
    IAN TATTERSALL                                                          11 GAY STREET                                                                                  NEW YORK            NY           10014
    IBC INFOTECH                            RM 719 CITYLAND 10 TOWER 2      HV DELA COSTA ST                                                                               MAKAI CITY                                    Philippines
    IBERIA PARISH SCHOOL BOARD              SALES & USE TAX DEPT            P O BOX 9770                                                                                   NEW IBERIA          LA           70562-9770

    IBERVILLE PARISH                        SAELS AND USE TAX DEPARTMENT    PO BOX 355                                                                                     PLAQUEMINE          LA           70765
    IBETA LLC                               IBETA QUALITY ASSURANCE         2675 S ABILENE ST #300                                                                         AURORA              CO           80014
    IBM Corporation                                                         1360 Boul Rene-Levesque O                                                                                                                    Canada
                                            DBA ALTERNATIVE STAFFING
    ICA GROUP                               ALLIANCE                        1330 BEACON STREET # 355                                                                       BROOKLINE           MA           02445
    ICC MACMILLAN INC                       INTERACTIVE COMPOSTION CORP     DEPT CH 17650                                                                                  PALATINE            IL           60055-7650
    Ice Miller

    ICE MILLER LLP                          HENRY A. EFROYMSON              ONE AMERICAN SQUARE SUITE 2900                                                                 INDIANAPOLIS        IN           46282
    ICE MILLER LLP                                                          P O BOX 663633                                                                                 INDIANAPOLIS        IN           46266
    ICG COMMERCE                            DBA PROCURIAN                   211 SOUTH GULPH ROAD                                                                           KING OF PRUSSIA     PA           19406
    ICIRA                                   ICIRA/ICTE CONFERENCE           P O BOX 676                                                                                    MCCALL              ID           83638
    ICIRA                                   ATTN BROOKE FLEMING             P O BOX 676                                                                                    MCCALL              ID           83638
    ICTE                                    C/O LYNETTE HILL-PO BOX 83720   IDAHO ST DEPT OF EDUCATION                                                                     BOISE               ID           83720
    ID TECHNOLOGY                                                           P O BOX 73419                                                                                  CLEVELAND           OH           44193
    IDA INSTITUTE INC                                                       128 BEACON STREET                                                                              HARTFORD            CT           06105
    IDA MARSHALL                                                            4469 DEERLAND STREET                                                                           MEMPHIS             TN           38109
    IDA RUTH MARKIND                                                        10550 W ALEXANDER RD UNIT 2090                                                                 LAS VEGAS           NV           89129-3514
    IDAHO ASSC OF SCHOOL ADM                                                777 S LATAH ST                                                                                 BOISE               ID           83705
    IDAHO ASSOC OF TCHRS OF
    LANGUAGE                                AND CULTURE                     BOISE SCHOOLS - 8169 VICTORY RD                                                                BOISE               ID           83709
    Idaho Assoc. of School Admin.           Attn Accounts Receivable        777 SOuth Latah                                                                                Boise               ID           83705
    IDAHO CHARTER SCHOOL
    NETWORK INC                                                             P O BOX 1166                                                                                   BOISE               ID           83701
    IDAHO COMMUNITY FOUNDATION                                              P O BOX 8143                                                                                   BOISE               ID           83707
    IDAHO COUNCIL FOR HISTORY
    EDUCATION                                                               8169 W VICTORY ROAD                                                                            BOISE               ID           83709
    IDAHO DIVISION OF LEARNING
    DISABILITIES                            C/O JOYCE L PENA.               525 E ROCKLANCT                                                                                NAMPA               ID           83686
    IDAHO SCIENCE TEACHERS                                                                                                                      JOHN SCHULTZ JT EXHIBITS
    ASSOCIATION                                                             4278 PATTON AVE                                                     COORDIANTOR                BOISE               ID           83704
    Idaho Secretary of State                                                700 West Jeferson                 Basement West                     PO Box 83720               Boise               ID           83705
    IDAHO STATE PSYCHOLOGICAL
    ASSOCIATION                                                             145 ROBISON DR                    RYAN RASMUSSEN                                               IDAHO FALLS         ID           83406
    Idaho State Tax Commission              Attn Donna Lake                 P.O. Box 83720                                                                                 Boise               ID           83720-0027
    Idaho State Tax Commission              Attn Bankruptcy Dept            PO Box 36                                                                                      Boise               ID           83722-0410
    Idaho State Tax Commission                                              PO Box 56                                                                                      Boise               ID           83756-0056
    IDAHO STATE TAX COMMISSION                                              P.O. BOX 76                                                                                    BOISE               ID           83707
    IDAHO STATE TAX COMMISSION                                              P O BOX 83784                                                                                  BOSIE               ID           83707
    IDAHO STATE UNIVERSITY                                                  STOP 8128 ISU                                                                                  POCATELLO           ID           83209-8219
    IDEA MOMENTUM INC                                                       344 NORTH OGDEN AVE FL 2W                                                                      CHICAGO             IL           60607
    IDEAS UNLIMITED SEMINARS INC                                            P O BOX 272                                                                                    SLINGER             WI           53086
    IDEASTREAM                                                              1375 EUCLID AVE                   ATTN R R NORRIS JR/SR DIR ED S                               CLEVELAND           OH           44115-1835
    IDELISSE M SUAREZ MALDONADO             ALTURAS DE PARQUE               APT F2 401                                                                                     CAROLINA            PR           00987
    Idella Morris                                                           12153 Winterberry La                                                                           Plainfield          IL           60585
    IDHASOFT INC                                                            P O BOX 535545                                                                                 ATLANTA             GA           30353-5545
    IDSC HOLDINGS LLC                       DBA SNAP-ON INDUSTRIAL          21755 NETWORK PLACE                                                                            CHICAGO             IL           60673-1217
    IDTA SOLIDARITY FUND                    UNIVERSITETET I STAVANGER       1 AMANUENSIS                      C/O AUD BERGGRAF SAEBO                                       STAVANGER                        N-4036       Norway
    Idy Spezzano                                                            39W820 Benton Lane                                                                             Geneva              IL           60134
    IESI NY CORPORATION                                                     PO BOX 660654                                                                                  DALLAS              TX           75266
    IESS INC                                                                P O BOX 432                                                                                    KERNERSVILLE        NC           27285
    IG PUBLISHING INC                                                       178 CLINTON AVE, #4                                                                            BROOKLYN            NY           11205
    Ignacio Gonzalez                                                        328 Trojan Circle                                                                              Troy                MO           63379
    IGNACIO NANEZ JR                                                        2506 KESWICK RD                                                                                MIDLAND             TX           79705
    Igor Feldman                                                            2257 Sunrise Way                                                                               Jamison             PA           18929
    Ihab Zbib                                                               2044 N. PALM AVE                                                                               RIALTO              CA           92377-4622
    IKON OFFICE SOLUTIONS                   IMS WESTERN DISTRICT - W44      PO BOX 31001-0743                                                                              PHILADELPHIA        CA           91110-0743
    IKON OFFICE SOLUTIONS                                                   P O BOX 532530                                                                                 ATLANTA             GA           30353-2530
    IKON OFFICE SOLUTIONS                                                   PO BOX 827577                                                                                  PHILADELPHIA        PA           19182-7468
    ILDUARA DE HERRERA                                                      4A AVENIDA 12-69                                                                               GUATEMALA CITY                                Guatemala
    ILEARN INC                                                              1238 POWERS FERRY COMMONS                                                                      MARIETTA            GA           30067
    ILLA JANINE ISEMINGER                                                   11024 E NARANJA AVE                                                                            MESA                AZ           85209
    ILLCO INC                                                               P O BOX 66427                                                                                  CHICAGO             IL           60666-0427
    ILLINOIS ADULT AND CONTINUING
    EDUC                                    ATTN LYN BUERKETT               5250 SHEPARD RD P O BOX 19256                                                                  SPRINGFIELD         IL           62794



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                       190 of 488                                                                                                    1:26 PM
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                                                                                                                            of 519
                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                   Address1                      Address2                         Address3                          City         State       Zip            Country
    ILLINOIS ADULT AND CONTINUING
    EDUC                                    ASSN INC                         5250 SHEPARD RD P O BOX 19256                                                                    SPRINGFIELD           IL           62794
    ILLINOIS ALLIANCE OF
    ADMINISTATORS OF                        SPECIAL EDUCATION                1324 LANTERN LIGHTS CIRCLE      ATTN NORMA GERRISH                                               LEBANON               IL           62254
    ILLINOIS ASCD                                                            3709 W LEE STREET                                                                                MCHENRY               IL           60050
    Illinois Assn of School Boards                                           2921 Baker Drive                                                                                 Springfield           IL           62703
    ILLINOIS CENTRAL COOLEGE
    BKSTORE                                                                  ONE COLLEGE DRIVE                                                                                EAST PEORIA           IL           61635
    ILLINOIS CHRISTIAN HOME
    EDUCATORS INC                           ATTN LLOYD/EMILY BENTZ           P O BOX 423                                                                                      MAZON                 IL           60444
    ILLINOIS COMPUTING EDUCATORS                                             777 ARMY TRAIL BLVD                                                                              ADDISON               IL           60101
    Illinois Department of Revenue                                           PO Box 19045                                                                                     Springfield           IL           62794-9045

    ILLINOIS DEPARTMENT OF REVENUE                                           RETAILERS OCCUPATION TAX                                                                         SPRINGFIELD           IL           62796-0001
    ILLINOIS DEPARTMENT OF
    TRANSPORTATION                                                           P O BOX 610                     13473 IL HWY 133                                                 PARIS                 IL           61944-0610
    Illinois Dept of Revenue                Attn Legal Services              101 West Jefferson              MC 5 500                                                         Springfield           IL           62702
    ILLINOIS DIVISION FOR EARLY
    CHILDHOOD                                                                1601 N BOND STREET STE 303      ATTN TRACY HODGE                                                 NAPERVILLE            IL           60563
    ILLINOIS ENVIRONMENTAL                  FOR DEPOSIT INTO THE             1021 NORTH GRAND AVENUE EAST                                      DIV OF ADMINISTRATION FISCAL
    PROTECTION AGENCY                       HAZARDOUS WASTE FUN              PO BOX 19276                                                      SVCS SECTIO                    SPRINGFIELD           IL           62794
    ILLINOIS FIRE EXTINGUISHER CO
    INC                                     DBA ILLINOIS FIRE & SAFETY CO    702 S ROHLWING RD                                                                                ADDISON               IL           60101-4216
    ILLINOIS MIGRANT SCHOOL                 GENERAL ACCOUNT                  28 E JACKSON BLVD STE 1600                                                                       CHICAGO               IL           60604

    ILLINOIS OFFICE OF THE STATE FIRE       MARSHAL CASHIER BOILERS          PO BOX 3331                                                                                      SPRINGFIELD           IL           62708
    ILLINOIS PRINCIPALS ASSN                                                 2940 BAKER DR                                                                                    SPRINGFIELD           IL           62703
    ILLINOIS PROBATION AND COURT
    SERVICES                                ASSOCIATION                      200 N MAIN STREET                                                                                SYCAMORE              IL           60178
    ILLINOIS READING COUNCIL INC                                             1210 FORT JESSE ROAD STE B2                                                                      NORMAL                IL           61761
    ILLINOIS ROOF CONSULTING ASSOC
    INC                                                                      PO BOX 700                                                                                       MCHENTRY              IL           60051
    ILLINOIS SCHOOL PSYCHOLOGISTS
    ASSN                                                                     19511 116TH AVE APT C           ATTN CARRIE MEANWELL                                             MOKENA                IL           60448
    ILLINOIS SCIENCE TEACHERS
    ASSOCIATION                                                              P O BOX 312                                                                                      SHERMAN               IL           62684
    ILLINOIS SECRETARY OF STATE             DEPT OF BUSINESS SERVICES        501 S 2ND STREET                                                                                 SPRINGFIELD           IL           62756-5510
    Illinois Secretary of State             Department of Business Service   501 South 2nd Street                                                                             Springfield           IL           62756-5510
    ILLINOIS SECRETARY OF STATE                                              501 S 2ND STREET                                                                                 SPRINGFIELD           IL           62756-5510
    ILLINOIS STATE MUSEUM SOCIETY                                            502 S SPRING STREET                                                                              SPRINGFIELD           IL           62706
    ILLINOIS STATE TREASURER                UNCLAIMED PROPERTY DIVISION      PO BOX 19496                                                                                     SPRINGFIELD           IL           62794
    ILLINOIS TESOL BE                       ATTN MARSHA ROBBINS SANTELLI     3150 NORTH SHERIDAN RD 2B                                                                        CHICAGO               IL           60657
    ILLUMITI LLC                                                             4 CARDINAL DR                                                                                    WESTWOOD              MA           02090
    ILLUSTRATION DIVISION INC                                                420 WEST 24TH ST SUITE 1F                                                                        NEW YORK              NY           10011
    ILLUSTRATION LIMITED                                                     23 OHIO STREET                                                                                   MAPLEWOOD             NJ           07040
    ILONA LEKI                                                               2023 ISLAND HOME BLVD                                                                            KNOXVILLE             TN           37920
    ILOVEDUST LIMITED                       THE OLD WORKSHOP                 34 MIDDLE STREET                                                                                 SOUTHSEA. HAMPSHIRE   Hampshire    PO5 4BP      United Kingdom
    ILSA SANTIAGO SANTIAGO                                                   2430 CARR # 2/ APT 27           PRIMAVERA EL COND                                                BAYAMON               PR           00961-4802
    Ilya Nudelman                                                            1550 Bison Ridge Drive                                                                           Colorado Springs      CO           80919
    ILYA ZAREMBSKY                                                           211 CHURCH AVE # 2                                                                               BROOKLYN              NY           11218
    IMAGE QUEST MARINE                      THE CRAFT WORKSHOPS              CUCKOO LANE                                                       NORTH LEIGH                    Oxfordshire                        OX29 6PS     United Kingdom
    IMAGE SOFTWARE SERVICES                 DBA ISS                          2 SHAKER ROAD, D 103                                                                             SHIRLEY               MA           01464
    IMAGE WORKS INC                                                          P O BOX 443                                                                                      WOODSTOCK             NY           12498-0443
    IMAGES.COM INC                                                           1140 BROADWAY 4TH FLOOR                                                                          NEW YORK              NY           10001

    IMAGESTATE MEDIA PARTNERS LTD                                            1ST FLOOR CLERKS COURT                                                                           LONDON                             EC1R 3AU     United Kingdom
    IMAGINARY LINES INC                     DBA SALLY RIDE SCIENCE           9191 TOWNE CENTRE DR STE L101                                                                    SAN DIEGO             CA           92122
    IMAGINARY LINES INC                     ATTN TERRY MCENTEE               9191 TOWNE CENTRE DR STE L101                                                                    SAN DIEGO             CA           92122
    IMAGINATION STAGE                                                        4908 AUBURN AVENUE                                                                               BETHESDA              MD           20814
    Imagine Academy of Careers              Elementary School                3740 Marine Avenue                                                                               Saint Louis           MO           63118
    Imagine College Prep                    High School                      706 North Jefferson Avenue                                                                       Saint Louis           MO           63103
    IMAGINE ME LEADERSHIP CHARTER
    SCH                                                                      818 SCHENCK AVENUE                                                                               BROOKLYN              NY           11207
    IMAGINE RENAISSANCE ACADEMY
    OF                                      ENVIRONMENTAL SCIENCE & MATH     5000 E 17TH STREET                                                                               KANSAS CITY           MO           64127
    IMAGINE SOLUTIONS INC                                                    P O BOX 122307                  DEPT 2307                                                        DALLAS                TX           75312-2307
    Imagine Technologies                                                     PO Box 4993                                                                                      Englewood             CO           80155
    IMAGINECHINA HOLDING LTD                1601-1603 KINWICK CENTRE         32 HOLLYWOOD ROAD                                                                                CENTRAL HONGKONG                                Hong Kong
    IMAGINOVA                               470 PARK AVE SOUTH               9TH FLOOR                                                                                        NEW YORK              NY           10016
    IMAGO SALES (USA) INC                                                    P O BOX 13477                                                                                    NEWARK                NJ           07188-0477



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                   191 of 488                                                                                                             1:26 PM
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                                                                                                                         of 519
                                                                                                                    First Class Service List


                 CreditorName                      CreditorNoticeName                   Address1                         Address2              Address3              City            State       Zip              Country
                                            LEBANESE AMERICAN UNIV -DEPT
    IMAN OSTA                               OF EDUC F16                    P O BOX 13-5053                                                                CHOURAN BEIRUT                     1102 -2801   Lebanon
    IMELT INC                                                              17 JOHN STREET 3B                                                              NEW YORK              NY           10038
    IMG LITERARY                                                           304 PARK AVE S FL 5                                                            NEW YORK              NY           10010-4316
    IMG LITERARY                                                           304 PARK AVENUE SOUTH                                                          NEW YORK              NY           10010-4301
    Immaculata Canelli                                                     7 Mulberry Court                                                               Cheshire              CT           06410
    IMMACULATE ACADEMY                                                     5138 SOUTH PARK AVENUE                                                         HAMBURG               NY           14075

    IMMACULATE CONCEPTION SCHOOL                                           1431 N NORTH PARK AVE                                                          CHICAGO               IL           60610
    IMMACULATE HEART OF MARY
    CATHOLIC SCH                                                           605 BARBEE AVE                                                                 HIGH POINT            NC           27262
    IMMANUEL LUTHERAN SCHOOL                                               111 ELEVENTH ST NORTH                                                          WISCONSIN             WI           54494
    IMMANUEL LUTHERAN SCHOOL                                               50605 478TH STREET                                                             COURTLAND             MN           56021
    Immanuel Moon                                                          1657 Begonia Way                                                               Gardena               CA           90248
    Impact                                                                 P.O. Box 71575                                                                 Des Moines            IA           50325
    IMPACT BUSINESS COACHES                                                4855 WALNUT GROVE STE 101                                                      JOHNS CREEK           GA           30022
    IMPACT CORPORATE
    COMMUNICATIONS                                                         P O BOX 730                                                                    OJAI                  CA           93024-0730
    IMPACT ONLINE INC                                                      717 CALIFORNIA STREET 2ND FL                                                   SAN FRANCISCO         CA           94108
    IMPELSYS INC                                                           PO BOX 352                        THE HAMILTON GROUP                           NORTH SYRACUSE        NY           13212
    IMPERIAL COUNTY OFFICE OF
    EDUCATION                                                              1398 SPERBER ROAD                                                              EL CENTRO             CA           92243
    IMPRIMERIES TRANSCONTINENTAL
    SENC                                                                   SUCC CENTRE-VILLE                 BOITE POSTALE 11276                          MONTREAL              QC           H3C 5G9      Canada
    IMPRINT ENTERPRISES INC                                                555 N COMMONS DR                                                               AURORA                IL           60504
    IMS GLOBAL LEARNING
    CONSORTIUM INC               TRACY FANDEL                              5TH FLOOR PMB #112                                                             LAKE MARY             FL           32746
    IMS GLOBAL LEARNING
    CONSORTIUM INC               801 INTERNATIONAL PARKWAY                 5TH FLOOR PMB #112                                                             LAKE MARY             FL           32746

    IN & OUT TEXT BOOKS                                                    3091 COLLEGE PARK DRIVE STE 140                                                THE WOODLANDS         TX           77384
    IN-BALANCE SOLUTIONS INC                                               235 VICKERY WAY                                                                ROSWELL               GA           30075

    INC MAGAZINE                                                           375 LEXINGTON AVENUE 8TH FLOOR                                                 NEW YORK              NY           10017
    Inc.                                                                   P.O. Box 3134                                                                  Harlan                IA           51593-0200
    INCA WORLD SA                                                          CALLE 50 TORRE GLOBAL 2501-4                                                   REPUBLICA DE PANAMA                             Panama
    IND OASIS BABOQUIVARI USD 40                                           P.O. BOX 248                                                                   SELLS                 AZ           85634
    INDEED INC                              DEPT 2652                      P O BOX 122652                                                                 DALLAS                TX           75312-2652
    INDEFATIGABLE INC                                                      12400 WILSHIRE BLVD #850                                                       LOS ANGELES           CA           90025
    Indemnity Insurance Company of North
    America                                 ACE Commercial Marine          455 Market St., Suite 500                                                      San Francisco         CA           94105
    INDEPENDENT FLOORING CORP                                              39 TEED DRIVE                                                                  RANDOLPH              MA           02368
    INDEPENDENT NEWSPAPERS INC              DBA MACOMB DAILY               100 MACOMB DAILY DR               ATTN LYNN VOISICH                            MT CLEMENS            MI           48043
    INDEPENDENT SCHOOL DIST 286                                            6500 HUMBOLDT AVENUE N                                                         MINNEAPOLIS           MN           55430
    INDEPENDENT SCHOOL DISTRICT #
    885                                                                    11343 50TH ST NE                                                               ALBERTVILLE           MN           55301
    INDEPENDENT SCHOOL DISTRICT
    318                                     BUSINESS OFFICE                820 NW FIRST AVENUE                                                            GRAND RAPIDS          MN           55744
    INDEPENDENT SCHOOLS ASSN OF S
    AFRICA                                                                 16 ST DAVID ROAD HOUGHTON                                                      JOHANNESBURG                       02198        South Africa
    INDEPENDENT SERVICES
    CORPORATION                                                            PO BOX 846                                                                     WESTMINSTER           MD           21158
    INDEX FOTOTECA ESPECIALIZADA
    EN                                      ILUSTRACION S L                EL CASTELL 50- 08329                                                           TEIA - BARCELONA                                Spain
    INDEX PACKAGING INC                     INDEX MILLWORK                 1055 WHITE MOUNTAIN HWY                                                        MILTON                NH           03851
    INDEX STOCK IMAGERY                                                    23 WEST 18TH ST - 3RD FLR                                                      NEW YORK              NY           10011-4601
    INDIA C BOBONIS-PASTRANA                                               CALLE 3 C#5 URB ROSA MARIA                                                     CAROLINA              PR           00985
    INDIANA ASSN FOR CAREER AND
    TECH EDUC                                                              1029 LYNAS STREET                 ATTN CHRIS BIGGS                             LOGANSPORT            IN           46947
    INDIANA ASSN OF SCHOOL
    PSYCHOLOGISTS                                                          ONE AMERICAN SQUARE STE 2450                                                   INDIANAPOLIS          IN           46282
    INDIANA ASSOC FOR THE EDUC OF
    YOUNG                                   CHILDREN                       4755 KINGSWAY DRIVE STE 107       ATTN JUDY TONK                               INDIANAPOLIS          IN           46205
    Indiana Assoc. of Pub. Schools                                         One North Capitol Avenue          Suite 1215                                   Indianapolis          IN           46204
    INDIANA ASSOCIATION FOR ADULT
    AND                                     CONTINUING EDUCATION           81 W ROSELAWN DR                  ATTN DAVE MILLER                             LOGANSPORT            IN           46947
    INDIANA ASSOCIATION FOR
    SUPERVISION AND                         CURRICULUM DEVELOPMENT         3061 BENTON STREET                                                             WEST LAFAYETTE        IN           47906
    INDIANA ASSOCIATION OF HOME
    EDUCATORS                               ATTN KATHLEEN FOWL             500 WHITE OAK DRIVE                                                            CANYON LAKE           TX           78133



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                   192 of 488                                                                                          1:26 PM
                                                      12-12171-reg             Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                           of 519
                                                                                                                      First Class Service List


                CreditorName                        CreditorNoticeName                     Address1                         Address2                        Address3                          City        State       Zip      Country
    Indiana Corporate Compliance            Business Service Division        133 W. Market Street, #247                                                                        Indianapolis          IN           46204-2801
    INDIANA COUNCIL OF
    ADMINISTRATORS OF                       SPECIAL EDUCATION                2150 W 97TH PLACE                                                                                 CROWN POINT           IN           46307
    INDIANA COUNCIL OF
    ADMINISTRATORS OF                       ATTN DENISE BASHORE              2150 W 97TH PLACE                                                                                 CROWN POINT           IN           46307
    INDIANA COUNCIL TCHRS OF MATH           ATTN GERTRUDE HOWARD             838 WASHINGTON AVENUE                                                                             EVANSVILLE            IN           47713
    Indiana Department of Revenue           IT-6 Processing                  PO Box 7226                                                                                       Indianapolis          IN           46207-7226
    Indiana Department of Revenue           Bankruptcy Section, N-240        100 North Senate Avenue                                                                           Indianapolis          IN           46204
    Indiana Department of Revenue                                            P.O. Box 7221                                                                                     Indianapolis          IN           46207-7221
    Indiana Dept of Revenue                 Attn Bankruptcy Collections      100 N Senate Ave                  Rm No N203                                                      Indianapolis          IN           46204
    INDIANA DEPT OF REVENUE                                                  100 N SENATE AVE                                                                                  INDIANAPOLIS          IN           46204
    INDIANA DEPT OF REVENUE                                                  P O BOX 7218                                                                                      INDIANAPOLIS          IN           46207-7218
    Indiana Dept of Workforce               Development                      PO Box 7054                                                                                       Indianapolis          IN           46207-7054
    INDIANA EDUCATL PUBLISHERS
    ASSOC                                                                    5428 W GRANITE COURT                                                                              NEW PALESTINE         IN           46163
    INDIANA FOREIGN LANGUAGE
    TCHRS ASSOC                                                              2404 BATON ROUGE DR               JILL CANADY-HICKEY                                              KOKOMO                IN           46902
    INDIANA HISTORICAL SOCIETY                                               450 W OHIO STREET                                                                                 INDIANAPOLIS          IN           46202
    INDIANA NON-PUBLIC EDUCATION
    ASSOC                                                                    135 S MITTHOEFFER RD                                                                              INDIANPOLIS           IN           46229
    INDIANA OXYGEN COMPANY                                                   P O BOX 78588                                                                                     INDIANAPOLIS          IN           46278
    INDIANA SCHOOL BOARDS
    ASSOCIATION                                                              ONE N CAPITOL AVE STE 1215                                                                        INDIANAPOLIS          IN           46204

    INDIANA SECRETARY OF STATE              CORPORATIONS DIVISION            302 W WASHINGTON ST, ROOM E018                                                                    INDIANAPOLIS          IN           46204
    INDIANA UNIV PRESS                      ATTN PERMISSIONS                 601 NORTH MORTON ST                                                                               BLOOMINGTON           IN           47404-3778
                                            OFF OF UNIV ARCHIVES & RECORDS
    INDIANA UNIVERSITY                      MNGMT                            1320 EAST TENTH STREET                                              HERMAN B WELLS LIBRARY E460   BLOOMINGTON           IN           47405-7000
    INDIANA UNIVERSITY                      ATTN PHOTOGRAPH CURATOR          1320 EAST TENTH STREET                                              HERMAN B WELLS LIBRARY E460   BLOOMINGTON           IN           47405-7000
                                            INDIANA UNIVERSITY
    INDIANA UNIVERSITY # 32-09              CONFERENCES                      801 N JORDAN VE SUITE 101                                                                         BLOOMINGTON           IN           47405
    INDIANA UNIVERSITY # 32-09              CONFERRENCE REGISTRAR            801 N JORDAN VE SUITE 101                                                                         BLOOMINGTON           IN           47405
    INDIANA UNIVERSITY OF                   METHODOLOGY WORKSHOP ON
    PENNSYLVANIA                            FOREIGN LAN                      1011 S DRIVE -405 SUTTON HALL     ATTN EXHIBITORS SERVICES                                        INDIANA               PA           15705
    INDIANAPOLIS MOTOR SPEEDWAY                                              4790 W 16TH STREET                                                                                INDIANAPOLIS          IN           46222
    INDIANAPOLIS POWER & LIGHT
    COMPANY                                                                  PO BOX 110                                                                                        INDIANAPOLIS          IN           46206-0110
                                            CENTER FOR PROFESSIONAL
    INDIANAPOLIS PUBLIC SCHOOLS             GROWTH                           120 E WALNUT STREET, RM 702G                                                                      INDIANAPOLIS          IN           46204
    INDIGO INK LLC                                                           9221 RUMSEY RD S-6                                                                                COLUMBIA              MD           21045
    INDIVIDUAL SOFTWARE INC                                                  4255 HOPYARD ROAD #2                                                                              PLEASANTON            CA           94588
    INDOFF INCORPORATED                                                      P O BOX 842808                                                                                    KANSAS CITY           MO           64184-2808
    INDUSTRIAL BATTERY PRODUCTS
    INC                                                                      PO BOX 798347                                                                                     st louis              MO           63179-8000
    INES G EDITORIAL LLC                                                     55 EAST 9TH STREET APT T-C                                                                        NEW YORK              NY           10003
    INFINART INC                                                             44 MECHANIC STREET                                                                                NEWTON                MA           02464
    INFINITI GRAPHICS                                                        96 PHOENIX AVE                                                                                    ENFIELD               CT           06083

    INFINITY BUSINESS MEDIA LTD             DBA BIBBY FACTORS INTNTL LTD     100 CUMMINGS CENTER, STE 243-C                                                                    BEVERLY               MA           01915
    INFLECTRA CORPORATION                                                    8121 GEORGIA AVENUE SUITE 504                                                                     SILVER SPRING         MD           20910-4957
    INFOR GLOBAL SOLUTIONS
    (MICHIGAN) INC                                                           NW 5421 P O BOX 1450                                                                              MINNEAPOLIS           MN           55485-5421
    INFORMATION EVOLUTION                                                    1601 EAST 5TH STREET STE 109                                                                      AUSTIN                TX           78702
    INFORMATION RESOURCE
    TECHNOLOGY INC                          THE GARDNER BUILDING             9825 PERRY HIGHWAY                                                                                WEXFORD               PA           15090
    INFORMATION TECHNOLOGY                                                   23046 AVENIDA DE LA CARLOTA STE
    GROUP LLC                                                                600                                                                                               LAGUNA HILLS          CA           92653
    INFORMATION TECHNOLOGY LTD                                               PO BOX 488                                                                                        ARROYO SECO           NM           87514
    INFORMATION TODAY INC                                                    143 OLD MARLTON PIKE                                                                              MEDFORD               NJ           08055-8750
    INFOSOURCE INC                          DBA INFOSOURCE LEARNING          1300 CITY VIEW CENTER                                                                             OVIEDO                FL           32765-5529
    INFOSOURCE SOFTWARE INC                                                  1300 CITY VIEW CENTER                                                                             OVIEDO                FL           32765
    INFOWIT INC                                                              PO BOX 34576                                                                                      LOS ANGELES           CA           90034
    Inga Smith                                                               249 West Dunedin Rd                                                                               Columbus              OH           43214
    INGERSOLL RAND COMPANY                  INDUSTRIAL TECHNOLOGIES          15768 COLLECTIONS DR                                                                              CHICAGO               IL           60693
    INGHAM INTERMEDIATE SCHOOL
    DISTRICT                                                                 2630 W HOWELL ROAD                                                                                MASON                 MI           48854
    INGRAM BOOK GROUP INC                                                    P O BOX 277616                                                                                    ATLANTA               GA           30384-7616
    INGRAM BOOK LAVERGNE TN
    INGRAM GROUP LLC                                                         424 CHURCH STREET STE 1650                                                                        NASHVILLE             TN           37219
    Ingrid Hess                                                              2005 Inglewood Place                                                                              South Bend            IN           46616



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      193 of 488                                                                                                    1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                           of 519
                                                                                                                    First Class Service List


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    Ingrid L Hoogendoorn                                                   7 Copley St.                                                                   Boston             MA           02119

    INJURED MARINE SEMPER FI FUND           825 COLLEGE BLVD STE 102       PMB 609                                                                        OCEANSIDE          CA           92057
    INK INC PUBLISHING SERVICES                                            280 GREEN ST # 2                                                               CAMBRIDGE          MA           02139
    INKLINGS BOOK SHOP                                                     5629 SUMMITVIEW AVENUE                                                         YAKIMA             WA           98908
    INKSPLASH LLC                                                          27 STIRLING ROAD                                                               BERNARDSVILLE      NJ           07924
    INKSTER BOARD OF EDUCATION              INKSTER HIGH SCHOOL            3250 MIDDLEBELT RD                                                             INKSTER            MI           48141
    INKWELL MANAGEMENT LLC                                                 521 FIFTH AVENUE 26TH FL          ATTN GEORGE LUCAS                            NEW YORK           NY           10175
    INKWELL MANAGEMENT LLC                                                 521 FIFTH AVE 26TH FL             ATTN KIM WITHERSPOON                         NEW YORK           NY           10175
    INKWELL MANAGEMENT LLC                                                 521 FIFTH AVE - SUITE 2600                                                     NEW YORK           NY           10175
    INKWELL MANAGENENT LLC                                                 521 FIFTH AVE SUITE 2600                                                       NEW YORK           NY           10175
    INKWELL PUBLISHING SOLUTIONS
    INC                                                                    104 WEST 27TH STREET                                                           NEW YORK           NY           10001-6210
    INLAND CONTINENTAL PROPERTY             MANAGEMENT CORP                2901 BUTTERFIELD ROAD                                                          OAK BROOK          IL           60523
    INLAND REVENUE                                                         222 BERKELEY ST                                                                BOSTON             MA           02116
    INMOBILIARIA DE TURISMO                                                PORTAL DE FLORES 116                                                           CERCADO                                      Peru
    INNERCITY STRUGGLE                                                     124 NORTH TOWNSEND AVENUE                                                      LOS ANGELES        CA           90063
    INNOSIGHT CONSULTING LLC                                               400 TALCOTT AVENUE                                                             WATERTOWN          MA           02472

    INNOSIGHT INSTITUTE                                                    100 WEST EL CAMINO REAL STE 74B                                                MOUNTAIN VIEW      CA           94040
    INNOVATION FIRST INC                    dba RACKSOLUTIONS.COM          1519 INT 30 W                                                                  GREENVILLE         TX           75402
    INNOVATIVE FABRICATION                                                 801 S EMERSON AVE                                                              INDIANAPOLIS       IN           46203
    INNOVATIVE SYSTEMS INC                                                 12241 NICOLLET AVE SOUTH                                                       BURNSVILLE         MN           55337-1650
    INNOVATIVE USA INC                                                     50 WASHINGTON STREET STE 201                                                   NORWALK            CT           06854-2202
                                                                           401 GWELL TOWER 1678-4 SEOCHO
    INNOVATUS EDUCATION CO LTD                                             DONG                                                                           SEOCHO GU                       137-881      South Korea

    INNWON PARK                             KOREA UNIV/GRAD SCH INTNL STUD 501 ANAMDONG, SUNGBUKGU                                                        SEOUL                           136-701      South Korea
    INOBELIA OTERO                          DBA LA COCINA DE INOBELIA      CALLE 33 B57 #18 SANTA ROSA                                                    BAYAMON            PR           00959
    INOVERIS, A ZOMAX COMPANY                                              PO BOX 933778                                                                  ATLANTA            GA           31193
    INOVIS INC                                                             PO BOX 198145                                                                  ATLANTA            GA           30384

    INSEL VERLAG                            ANTON KIPPENBERG GMBH & CO KG PAPPELALLEE 78-79                                                               BERLIN                          10437        Germany
    INSERTEC INC                                                          8026 WOODLAND DR                                                                INDIANAPOLIS       IN           46278
    INSIDE TENNIS ASSOCIATES                                              2220 MOUNTAIN BLVD SUITE 200                                                    OAKLAND            CA           94611
    INSIDER SOFTWARE INC                                                  208 GRANADA WAY                                                                 LOS GATOS          CA           95032-1101
    INSIGHT                                                               PO BOX 731069                                                                   DALLAS             TX           75373-1069
    INSIGHT DIRECT USA INC                                                P O BOX 713096                                                                  COLUMBUS           OH           43271-3096
    INSIGHT GLOBAL INC                                                    P O BOX 198226                                                                  ATLANTA            GA           30384-8226
    IN-SIGHT PHOTOGRAPHY INC                                              3745 S FERGUSON                                                                 SPRING FIELD       MO           65807
    INSPIRA EDUCATION                                                     950 EVENING STREET                                                              WORTHINGTON        OH           43085
                                                                          9400 SW BEAVERTON-HILLSDALE
    INSPIRATION SOFTWARE INC                                              HWY                                                                             BEAVERTON          OR           97005
    INST FOR THE SOCIAL & CULTURAL
    CHANGE                                                                 P O BOX 382132                                                                 CAMBRIDGE          MA           02238
    INSTITUTE FOR APPLIED
    PSYCHOMETRICS LLC                       ATTN KEVIN MCGREW              1313 PONDVIEW LANE                                                             ST JOSEPH          MN           56374
    INSTITUTE FOR INTERCULTURAL
    STUDIES                                 C/O SLOANE & HINSHAW INC       6 WEST 48TH STREET                                                             NEW YORK           NY           10036
    INSTITUTE FOR INTERCULTURAL
    STUDIES INC                                                            6 WEST 48TH ST, 10TH FLOOR                                                     NEW YORK           NY           10036
    INSTITUTE FOR PEACE & JUSTICE           ATTN JAMES MCGINNIS            475 E LOCKWOOD AVE                                                             ST LOUIS           MO           63119
    INSTITUTE FOR PEACE & JUSTICE                                          475 EAST LOCKWOOD AVENUE                                                       ST LOUIS           MO           63119
    INSTITUTE FOR THE TRANSLATION
    OF                                      HEBREW LITERATURE              P O BOX 10051                                                                  RAMAT GAN                       52001        Israel
    INSTITUTE OF INTERNAL AUDITORS          ORLANDO                        P O BOX 31280                     CNL BANK                                     TAMPA              FL           33631-3280
    INSTITUTE OF INTERNAL AUDITORS          GREATER BOSTON CHAPTER         BACK BAY ANNEX, P O BOX 1350                                                   BOSTON             MA           02117
    INSTITUTE OF INTERNAL AUDITORS                                         P O BOX 31280                     CNL BANK                                     TAMPA              FL           33631-3280
    INSTITUTE OF THE BLESSED VIRGIN
    MARY                                    LORETTO CONVENT                1600 SOMERSET LANE                                                             WHEATON            IL           60187
    INSTITUTO CULTURAL DOMINICO
    AMERICANO                               CONFERENCIA ICDA               AVE ABRAHAM LINCOLN # 21                                                       SANTO DOMINGO                                Dominican Republic
    INSTITUTO EXPECIALIZADO DE                                             AVE LOS SIFIMILES Y BLVD LOS
    NIVEL                                   SUPERIOR                       HEROES                                                                         SAN SALVADOR                                 El Salvador
    INSTITUTO GUATEMALTECO
    AMERICANO                                                              9A AVENIDA 0-13 ZONA 4                                                         GUATEMALA CITY                  01004        Guatemala
    INSTITUTO NACIONAL                                                     AV REVOLUCION NO 1279             INDIGENISTA                                  COL TLACOPAC DF                 01040        Mexico
    INSTITUTO NACIONAL DE                                                  222 BERKELEY STREET                                                            BOSTON             MA           02116
    INSTITUTO NACIONAL DE                   COORDINACION NACIONAL DE       E HISTORIA, CORDOBA NUMERO 45
    ANTROPOLOGIA                            ASUNTOS                        SEGUNDO PISO                                                                   COL ROMA           DF           06700        Mexico



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     194 of 488                                                                                      1:26 PM
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                                                                                                                      of 519
                                                                                                                   First Class Service List


              CreditorName                            CreditorNoticeName                Address1                        Address2                        Address3              City        State       Zip            Country
    INSTRUCTIVISION INC                                                    P O BOX 2004                                                                              PINE BROOK      NJ           07058
    INT READING ASSOCIATION CRC                                            1825 MARQUETTE AVENUE NE                                                                  ALBUQUERQUE     NM           87123
    INTECHRA LLC                                                           PO BOX 636430                                                                             CINCINNATI      OH           45263-6430
    INTEGRALIS INC                                                         310 WEST NEWBERRY ROAD                                                                    BLOOMFIELD      CT           06002
    INTEGRASOURCE INC                                                      9211 TRAFALGAR DR SE                                                                      ALTO            MI           49302
    INTEGRATED PACKAGING
    CORPORATION                                                            P O BOX 405583                                                                            ATLANTA         GA           30384

    INTEGRATED PAPER SERVICES INC                                          3211 E CAPITOL DRIVE                                                                      APPLETON        WI           54911
    INTEGRATION FACTORY INC                                                525 GUS HIPP BLVD STE A                                                                   ROCKLEDGE       FL           32955
    INTEGRITY ARTS & TECHNOLOGY
    INC                           DBA IDEAS                                64 E CONCORD STREET                                                                       ORLANDO         FL           32801
    INTEGRITY INTERACTIVE
    CORPORATION                                                            101 MORGAN LANE SUITE 301                                                                 PLAINSBORO      NJ           08536
    INTELLIGRATED SYSTEMS LLC                                              16996 COLLECTIONS CENTER DR                                                               CHICAGO         IL           60693-0169
    INTELLITOOLS                                                           24949 NETWORK PLACE                                                                       CHICAGO         IL           60673
    INTEQ SERVICE CORPORATION                                              PO BOX 83057                                                                              WOBURN          MA           01813
    INTERACT STORY THEATRE                                                 204 STONEGATE DR                 LENORE B KELNER                                          SILVER SPRING   MD           20905
    INTERACTIVE AUDIO                                                      924 ANACAPA ST, STE 1J                                                                    SANTA BARBARA   CA           93101
    INTERACTIVE EDUCATIONAL
    SYSTEMS DESIGN                                                         33 W 87 STREET                                                                            NEW YORK        NY           10024
    INTERCALL                     DBA CONFERENCECALL.COM                   P O BOX 281866                                                                            ATLANTA         GA           30384-1866
    INTERCALL                     DBA CONFERENCECALL.COM                   P O BOX 409573                                                                            ATLANTA         GA           30384-9573

    INTERCALL                                                              15272 COLLECTIONS CENTER DRIVE                                                            CHICAGO         IL           60693
    INTERCALL                                                              DEPT 1261                                                                                 DENVER          CO           80256
    INTERCALL                                                              P O BOX 281866                                                                            ATLANTA         GA           30384-1866
    INTERCALL                                                              P O BOX 409573                                                                            ATLANTA         GA           30384-9573
    INTERCALL INC                                                          3302 20TH AVENUE                                                                          VALLEY          AL           36854
    INTERCEDE SERVICES INC                                                 212 SOUTH TRYON ST STE 1350                                                               CHARLOTTE       NC           28281
    Intercontinental Buckhead                                              3315 Peachtree Road, NE                                                                   Atlanta         GA           30326
    INTERCONTINENTAL HOTELS
    PUERTO RICO INC                                                        5961 ISALE VERDE AVENUE                                                                   CAROLINA        PR           00979
    INTEREX INC                                                            34 HUNT ROAD                                                                              AMESBURY        MA           01913
    INTERFACE SYSTEMS INC                                                  P O BOX 2412                                                                              MISSION         KS           66201
    INTERFAITH CENTER OF NEW YORK
    INC                                                                    475 RIVERSIDE DRIVE STE 540                                                               NEW YORK        NY           10115
    INTERGRATED BUSINESS SERVICES
    INC                           DBA IBS INC                              30724 BENTON RD STE C302-590                                                              WINCHESTER      CA           92596
    INTERIATE SYSTEMS INC                                                  145 S LINCOLN WAY                                                                         NORTH AURORA    IL           60542
    Interior Concepts                                                      4601 Quebec                      Suite 10                                                 Denver          CO           80216
    INTERIOR INVESTMENTS LLC                                               8208 SOLUTIONS CENTER            LOCKBOX NUMBER 778208                                    CHICAGO         IL           60677-8002
    INTERIOR INVESTMENTS LLC                                               PO BOX 95007                                                                              PALATINE        IL           60095
                                                                           FESTIVAL TOWER #504 P O BOX
    INTERIORS-PCG L L C                     DUBAI FESTIVAL CITY            36190                                                                                     DUBAI                                     United Arab Emirates
    INTERLAKE MECALUX INC                                                  3989 SOLUTIONS CENTER                                                                     CHICAGO         IL           60677-3009
    InterLynk                                                              303 S. Broadway, Ste 200-162                                                              Denver          CO           80209
    INTERMOUNTAIN LITERACY INC                                             368 MONTGOMERY DR                                                                         SANDY           UT           84070
    Internal Revenue Service                                               290 Broadway                                                                              New York        NY           10007
    INTERNAL REVENUE SERVICE                                               DEPT OF TREASURY                                                                          OGDEN           UT           84201-0039
    INTERNAL REVENUE SERVICE                                               P O BOX 219690                                                                            KANSAS CITY     MO           64121-9690
    INTERNAL REVENUE SERVICE                                               P O BOX 42530                                                                             PHILADELPHIA    PA           19101-2530
    INTERNAP NETWORK SERVICES                                              DEPT 0526 P O BOX 120526                                                                  DALLAS          TX           75312-0526
    INTERNATIONAAL INSTITUUT VOOR
    SOCIALE                                 GESCHIEDENIS                   CRUQUIUSWEG 31                                                                            AMSTERDAM                    1019 AT      Netherlands

    INTERNATIONAL AFRICAN INSTITUTE                                        THORNHAUGH ST RUSSELL SQ         SOAS                                                     LONDON                       WC1H 0XG     United Kingdom
    INTERNATIONAL ASSN OF
    WORKFORCE                       PROFESSIONALS - TEXAS CHAPTER          P O BOX 12945                                                                             AUSTIN          TX           78711
    INTERNATIONAL ASSOCIATION OF
    CULINARY                        PROFESSIONALS                          1100 JOHNSON FERRY RD STE 300                                      IACP COOKBOOK AWARDS   ATLANTA         GA           30342
    INTERNATIONAL BUSINESS
    MACHINE CORP                    DBA IBM CORPORATION                    P O BOX 534151                                                                            ATLANTA         GA           30353-4151
    INTERNATIONAL BUSINESS
    MACHINES CORP                   DBA IBM CORPORATION                    PO BOX 643600                                                                             PITTSBURGH      PA           15264-3600
                                                                           2103 HARRISON AVENUE NW, PMB
    INTERNATIONAL CANOPY NETWORK                                           612                                                                                       OLYMPIA         WA           98502-2607
    INTERNATIONAL CONF AND
    EXHIBITIONS LLC              TESOL ARABIA                              P O BOX 29884                                                                             DUBAI                                     United Arab Emirates




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                  195 of 488                                                                                               1:26 PM
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                                                                                                                           of 519
                                                                                                                     First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                          Address2            Address3              City          State       Zip           Country
    INTERNATIONAL CRANE
    FOUNDATION INC                                                         E11376 SHADY LANE RD PO BOX 447                                                 BARABOO             WI           53913
    INTERNATIONAL CREATIVE
    MANAGEMENT                                                             730 FIFTH AVENUE 3RD FLOOR        ATTN ELIZABETH MAYO                           NEW YORK            NY           10019
    INTERNATIONAL CREATIVE
    MANAGEMENT                                                             730 FIFTH AVENUE 3RD FLOOR                                                      NEW YORK            NY           10019
    INTERNATIONAL CREATIVE
    MANAGEMENT                                                             825 EIGHTH AVENUE                                                               NEW YORK            NY           10019
    INTERNATIONAL CREATIVE MNGMT
    INC                                                                    730 FIFTH AVENUE 3RD FLOOR                                                      NEW YORK            NY           10019
    International Credit Recovery,                                         300 Main St.                      P.O. Box 992                                  VESTAL              NY           13851
    INTERNATIONAL DYSLEXIA
    ASSOCIATION INC                         PITTSBURGH REGIONAL GROUP      P O BOX 536                                                                     WEXFORD             PA           15090
    INTERNATIONAL EXTERMINATOR
    COMPANY                                                                100 S LIVELY BLVD                                                               ELK GROVE VILLAGE   IL           60007-1621
    INTERNATIONAL FACILITY MNGMT
    ASSO                                                                   1 E GREENWAY PLZ, STE 1100                                                      HOUSTON             TX           77046-0194
    INTERNATIONAL FOLK ART                  MUSEUM OF INTERNATIONAL FOLK
    FOUNDATION                              ART                            P O BOX 2087                      ATTN REE MOBLEY - IMAGE RIGHTS                SANTA FE            NM           87504
    INTERNATIONAL MAPPING
    ASSOCIATES INC                                                         5300 DORSEY HALL DRIVE STE 201                                                  ELLICOTT CITY       MD           21042
    INTERNATIONAL MEETING
    PLANNERS INC                                                           P O BOX 10807                                                                   CORPUS CHRISTI      TX           78460
    INTERNATIONAL MERCHANDISING
    CORP                                    CLT-LITERARY                   1360 EAST NINTH STREET STE 100                                                  CLEVELAND           OH           44114-1782
    INTERNATIONAL MERCHANDISING
    CORP                                                                   1360 E 9TH STREET SUITE 100                                                     CLEVELAND           OH           44114
    INTERNATIONAL MERCHANDISING
    CORP                                                                   1360 EAST NINTH STREET STE 100                                                  CLEVELAND           OH           44114-1782
    INTERNATIONAL MUSEUM OF
    CHILDRENS ART                                                          LILLE FROENS VEI 4                                                              OSO                              NO-0371      Norway
    INTERNATIONAL PAPER                     DBA XPEDX                      3568 SOLUTIONS CENTER                                                           CHICAGO             IL           60677-3005
    INTERNATIONAL PAPER                     DBA XPEDX                      PO BOX 644520                                                                   PITTSBURGH          PA           15264-4520
    INTERNATIONAL PAPER                     DBA XPEDX                      P O BOX 677319                                                                  DALLAS              TX           75267
    INTERNATIONAL PAPER                     DBA BULKLEY DUNTON             3568 SOLUTIONS CENTER                                                           CHICAGO             IL           60677-3005
    INTERNATIONAL PAPER                     DBA BULKLEY DUNTON             PO BOX 644520                                                                   PITTSBURGH          PA           15264
    INTERNATIONAL PAPER                                                    1689 SOLUTIONS CENTER                                                           CHICAGO             IL           60677-1006
    INTERNATIONAL PAPER                                                    3568 SOLUTIONS CENTER                                                           CHICAGO             IL           60677-3005
    INTERNATIONAL PAPER                                                    P O BOX 532629                                                                  ATLANTA             GA           30353-2629
    INTERNATIONAL PAPER                                                    P O BOX 644095                                                                  PITTSBURGH          PA           15264-4095
    INTERNATIONAL PAPER                                                    PO BOX 644520                                                                   PITTSBURGH          PA           15264
    INTERNATIONAL PAPER                                                    PO BOX 644520                                                                   PITTSBURGH          PA           15264-4520
    INTERNATIONAL PAPER                                                    P O BOX 676565                                                                  DALLAS              TX           75267-6565
    INTERNATIONAL PAPER                                                    P O BOX 677319                                                                  DALLAS              TX           75267

    INTERNATIONAL PUBLICATIONS INC                                         888 16TH STREET, STE 740          ATTN ANGELA WILKES                            WASHINGTON          DC           20006
    INTERNATIONAL READING                   ST LUCIE COUNTY READING
    ASSOCIATION                             COUNCIL                        1450 SW HEATHERWOOD BLVD                                                        PORT ST LUCIE       FL           34986
    INTERNATIONAL READING                   SOUTHWEST VIRGINIA READING
    ASSOCIATION                             COUNCIL                        900 WASHINGTON LEE DR                                                           BRISTOL             VA           24201
    INTERNATIONAL READING
    ASSOCIATION                             IOWA READING ASSOCIATION       P O BOX 16                                                                      OSSIAN              IA           52161
    INTERNATIONAL READING                   INDIANA STATE READING
    ASSOCIATION                             ASSOCIATION                    108 S MELVILLE ST                                                               RENSSELAER          IN           47978
    INTERNATIONAL READING                   E SAN GABRIEL VALLEY READING
    ASSOCIATION                             COUNCIL                        8730 GREENWOOD AVENUE                                                           SAN GABRIEL         CA           91775
    INTERNATIONAL READING                   DBA VERMONT COUNCIL ON
    ASSOCIATION                             READING                        P O BOX 30                                                                      ADAMANT             VT           05640
    INTERNATIONAL READING                   DBA ROANOKE VALLEY READING
    ASSOCIATION                             COUNCIL                        1744 POMEROY ROAD                                                               SALEM               VA           24153
    INTERNATIONAL READING                   DBA PHOENIX WEST READING
    ASSOCIATION                             COUNCIL                        8108 WEST CORRINE                                                               PEORIA              AZ           85381
    INTERNATIONAL READING                   DBA OKLAHOMA READING
    ASSOCIATION                             ASSOCIATION                    6216 E BRECKENRIDGE                                                             ENID                OK           73701
    INTERNATIONAL READING                   DBA NORTH CAROLINA READING
    ASSOCIATION                             ASSN                           PO BOX 543                                                                      FAIRMONT            NC           28340
    INTERNATIONAL READING                   DBA NEBRASKA STATE READING
    ASSOCIATION                             ASSOC                          13417 CEDAR STREET                                                              NEWARK              NE           68144
    INTERNATIONAL READING                   DBA MONTANA STATE READING
    ASSOCIATION                             COUNCIL                        1129 RANGE VIEW DRIVE                                                           HARDIN              MT           59034



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                      196 of 488                                                                                   1:26 PM
                                                      12-12171-reg            Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                            of 519
                                                                                                                      First Class Service List


              CreditorName                          CreditorNoticeName                     Address1                        Address2                          Address3               City        State       Zip             Country
    INTERNATIONAL READING                   DBA GREENVILLE COUNTY READING
    ASSOCIATION                             ASSN                            252 E STANDING SPRINGS RD                                                                   SIMPSONVILLE       SC           29680
    INTERNATIONAL READING                   DBA GEORGIA READING
    ASSOCIATION                             ASSOCIATION                     335 CYPRESS LANE                                                                            STOCKBRIDGE        GA           30281
    INTERNATIONAL READING                   DBA DIAMOND STATE READING
    ASSOCIATION                             ASSOC                           855 COLLEGE ROAD                                                                            DOVER              DE           19904
    INTERNATIONAL READING                   DBA CAPITAL READING ASSOC-
    ASSOCIATION                             VIRGINIA W                      6171 DRIFTWOOD DRIVE                                                                        HARRISBURG         PA           17111
    INTERNATIONAL READING
    ASSOCIATION                             DBA BADLANDS READING COUNCIL    902 9TH AVENUE WEST                                                                         DICKINSON          ND           58601
    INTERNATIONAL READING                   ATTN MARY SHAFFER -
    ASSOCIATION                             WASHINGTON ELEM                 900 WASHINGTON LEE DR                                                                       BRISTOL            VA           24201
    INTERNATIONAL READING
    ASSOCIATION                             ATTN LINDSAY OSIKA              855 COLLEGE ROAD                                                                            DOVER              DE           19904
    INTERNATIONAL READING
    ASSOCIATION                             ATTN JERRY GUAY                 1129 RANGE VIEW DRIVE                                                                       HARDIN             MT           59034
    INTERNATIONAL READING
    ASSOCIATION                             ATTN BOB SOUZA                  108 S MELVILLE ST                                                                           RENSSELAER         IN           47978
    INTERNATIONAL READING
    ASSOCIATION                             ATTN ASHLEIGH FISHER            1744 POMEROY ROAD                                                                           SALEM              VA           24153
    INTERNATIONAL READING
    ASSOCIATION                             ATTN ACCOUNTS RECEIVABLE        P O BOX 6021                                                                                NEWARK             DE           19714-8139
    INTERNATIONAL READING
    ASSOCIATION                             ARKANSAS READING ASSOCIATION    121 LONGVIEW POINT                                                                          HOT SPRINGS        AR           71913
    INTERNATIONAL READING
    ASSOCIATION                                                             13417 CEDAR STREET                                                                          NEWARK             NE           68144
    INTERNATIONAL READING
    ASSOCIATION                                                             1450 SW HEATHERWOOD BLVD                                                                    PORT ST LUCIE      FL           34986
    INTERNATIONAL READING
    ASSOCIATION                                                             252 E STANDING SPRINGS RD                                                                   SIMPSONVILLE       SC           29680
    INTERNATIONAL READING
    ASSOCIATION                                                             335 CYPRESS LANE                                                                            STOCKBRIDGE        GA           30281
    INTERNATIONAL READING
    ASSOCIATION                                                             6171 DRIFTWOOD DRIVE                                                                        HARRISBURG         PA           17111
    INTERNATIONAL READING
    ASSOCIATION                                                             6216 E BRECKENRIDGE                                                                         ENID               OK           73701
    INTERNATIONAL READING
    ASSOCIATION                                                             800 BARKSDALE RD P O BOX 8139                                                               NEWARK             DE           19714-8139
    INTERNATIONAL READING
    ASSOCIATION                                                             8108 WEST CORRINE                                                                           PEORIA             AZ           85381
    INTERNATIONAL READING
    ASSOCIATION                                                             8730 GREENWOOD AVENUE                                                                       SAN GABRIEL        CA           91775
    INTERNATIONAL READING
    ASSOCIATION                                                             902 9TH AVENUE WEST                                                                         DICKINSON          ND           58601
    INTERNATIONAL READING
    ASSOCIATION                                                             P O BOX 16                                                                                  OSSIAN             IA           52161
    INTERNATIONAL READING
    ASSOCIATION                                                             P O BOX 30                                                                                  ADAMANT            VT           05640
    INTERNATIONAL READING
    ASSOCIATION                                                             PO BOX 543                                                                                  FAIRMONT           NC           28340
    INTERNATIONAL READING
    ASSOCIATION INC                         LEE COUNTY READING COUNCIL      P O BOX 150236                                                                              CAPE CORAL         FL           33915-0236
    INTERNATIONAL READING
    ASSOCIATION INC                         DBA TRI COUNTY READING COUNCIL 1112 PERRY LANE                                                                              COLLEGEVILLE       PA           19426
    INTERNATIONAL READING
    ASSOCIATION INC                                                         P O BOX 150236                                                                              CAPE CORAL         FL           33915-0236

    INTERNATIONAL SCHOOL MANILA                                             UNIVERISTY PKWY FORT BONIFACIO                                                              TAGUIG                          01634        Philippines

    INTERNATIONAL SCHOOL SERVICES                                           P O BOX 5910                                                                                PRINCETON          NJ           08543-5910
    INTERNATIONAL SOCIETY FOR
    TECHNOLOGY                    IN EDUCATION (ISTE)                       180 W 8TH AVENUE STE 300                                             ISTE 2010 EXHIBITS     EUGENE             OR           97401
    INTERNATIONAL STORY TELLING
    CENTER                                                                  116 WEST MAIN STREET                                                                        JONESBOROUGH       TN           37659
    INTERNATIONAL SWEEPING        DBA FACILITIES PRO SWEEP                  2755 N VISTA PARKWAY UNIT I 12                                                              WEST PALM BEACH    FL           33411
    INTERNATIONAL TYPEFOUNDERS
    INC                                                                     P O BOX 89, 2016 CEDARS HILL RD                                                             CEDARS             PA           19423
    Internet Advancement.com                                                7901 168th Avenue NE              Suite 101                                                 Redmond            WA           98052
    INTERNET TESTING SYSTEMS LLC                                            3000 CHESTNUT AVE SUITE 401                                                                 BALTIMORE          MD           21211
    INTERSTATE BUR OF REG         C/O D ALPERIN                             3069 BLUEBROOK DR                                                                           WINTER PARK        FL           32792



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                     197 of 488                                                                                                  1:26 PM
                                                      12-12171-reg              Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                      205 Matrix
                                                                                                                              of 519
                                                                                                                       First Class Service List


                CreditorName                       CreditorNoticeName                    Address1                           Address2                         Address3                   City         State       Zip            Country
    INTERSTATE COLUMBIA LLC                 DBA SHERATON COLUMBIA HOTEL       10207 WINCOPIN CIRCLE                                                                       COLUMBIA              MD           21044
    INTERSTATE OFFICE PARTITIONS
    INC                                                                       300 WILLOW STREET S                                                                         NORTH ANDOVER         MA           01845
    INTERTEK TESTING SERVICES                                                                                                                                             ASIAWIDE INDUSTRIAL
    (SINGAPORE)                             PRE LTD                           5 PEREIRA ROAD # 06-01                                                                      BUILDING                           368025       Singapore
    INTERWOVEN INC                                                            DEPT 33271, PO BOX 39000                                                                    SAN FRANCISCO         CA           94139
    INTL COMMITTEE OF ENGLISH IN            THE LITURGY INC                   1522 K STREET NW, SUITE 1000                                                                WASHINGTON            DC           20005
    INTUIT INC                                                                PO BOX 513340                                                                               LOS ANGELES           CA           90051
    INTUITIVE COMMUNICATIONS
    SYSTEMS INC                                                               3476 WESTMINSTER ROAD                                                                       OCEANSIDE             NY           11572
    INVER GROVE HEIGHTS ISD 199                                               2990 80TH STREET EAST                                                                       INVER GROVE HEIGHTS   MN           55076
    Inverness Hotel & Golf Club                                               200 Inverness Dr. West                                                                      Englewood             CO           80112-5200
    Inverness Properties, LLC                                                 2 Inverness Drive East          Suite 200                                                   Englewood             CO           80112
                                            HOTEL COSMOS 100, NIT 860 048 182-
    INVERSIONES LIBRA S A                   1                                  CALLE 100 NO 21 A 41                                                                       BOGOTA                                          Colombia
    Inverways Properties, LLC                                                  600 17th Street                Suite 1800 North                                            Denver                CO           80202
    INVITING IDEAS INC                                                         5570 CAMINO DORADO                                                                         YORBA LINDA           CA           92887
    INVOKE SOLUTIONS INC                                                       375 TOTTEN POND ROAD, STE 400                                                              WATHAM                MA           02451
    INVOLTA LLC                                                                PO BOX 1986                                                                                CEDAR RAPIDS          IA           52406
    INX INC                                                                    PO BOX 4346 DEPT 523                                                                       HOUSTON               TX           77210
    ION EXHIBITS LLC                                                           700 DISTRICT DR                                                                            ITASCA                IL           60143
                                                                               150 S INDEPENDENCE MALL W, STE
    IOP BUSINESS PUBLISHING INC                                                929                                                                                        PHILADELPHIA          PA           19106
                                                                               UNIV OF NORTHERN IOWA, BAKER
    IOWA ACADEMY OF SCIENCE                 ATTN TONI ARENDS                   HALL 175                                                                                   CEDAR FALLS           IA           50614-0508
    IOWA ASSOCIATION FOR LIFELONG
    LEARNING                                                                  603 WEST PARK STREET                                                ATTN LORI PUNT          SHELDON               IA           51201
    IOWA ASSOCIATION OF MIDDLE              ATTN MARY DECKER - MEREDITH
    LEVEL EDUC                              MID SCH                           4827 MADISON AVE                                                                            DES MOINES            IA           50309
    IOWA CENTRAL COMMUNITY
    COLLEGE                                 ATTN ANN WAYNAR                   ONE TRITON CIRCLE                                                                           FORT DODGE            IA           50501
                                            IOWA CITY COMMUNITY SCHOOL
    IOWA CITY COMMUNITY SD                  DISTRICT                          509 SOUTH DUBUQUE STREET                                                                    IOWA CITY             IA           52240
    IOWA COUNCIL FOR THE SOCIAL
    STUDIES                                 ATTN TIM GARNER                   1008 MARSTON AVENUE                                                                         AMES                  IA           50010
    IOWA COUNCIL OF TEACHERS OF
    MATHS                                                                     1002 SUNSET DRIVE                 ATTN TRAVIS NUSS                                          GOWRIE                IA           50543
    Iowa Dept of Revenue and Finance        Attn Bankruptcy Unit              PO Box 10471                                                                                Des Moines            IA           50306
    Iowa Dept. of Revenue                   Corp. Tax Return Processing       Voucher--P.O. Box 10468                                                                     Des Moines            IA           50306-0468
    IOWA STATE TREASURER                    SALES/USE TAX PROCESSING          P.O. BOX 10412                                                      IOWA DEPT OF REVENUE    DES MOINES            IA           50306-0412
    IOWA TALENTED AND GIFTED
    ASSOCIATION                                                               200 W 2ND AVENUE                  ATTN CONFERENCE COORDINATOR                               INDIANOLA             IA           50125
    IOWA TESTING PROGRAMS                   UNIVERSITY OF IOWA                334 LINDQUIST CENTER                                                                        IOWA CITY             IA           52242
    IOWA WORLD LANGUAGE
    ASSOCIATION                             ATTN CHRISTINE MCCORMICK          655 SE UNIVERSITY                                                                           WAUKEE                IA           50263
    IOX Assessment Associates                                                 PO Box 3440                                                                                 Wilsonville           OR           97070-3440
    IP RESEARCH PLUS INC                                                      21 TADCASTER CIRCLE                                                                         WALDORF               MD           20602
    IPARADIGMS LLC                                                            1111 BROADWAY 3RD FL                                                                        OAKLAND               CA           94607
    IPARENTING LLC                          IPARENTING MEDIA AWARDS           1560 SHERMAN AVENUE STE 1050                                                                EVANSTON              IL           60201

    IPROC SCHAUMBURG                        CHICAGO MARRIOTT SCHAUMBURG 50 N MARTINGALE RD                                                        ACCOUNTING DEPARTMENT   SHCAUMBURG            IL           60173
    IPSWITCH INC                                                        83 HARTWELL AVE                                                                                   LEXINGTON             MA           02421-3116
    Ira Brooks                                                          48 Sugarloaf Ave.                                                                                 Conyngham             PA           18219
    Ira Greil                                                           5511 Cedar Pine Drive                                                                             Orlando               FL           32819
    IRA SHOR                                                            302 N MOUNTAIN AVE                                                                                MONTCLAIR             NJ           07043
    IRA WOLFMAN                                                         110 RIVERSIDE DRIVE, 10E                                                                          NEW YORK              NY           10024
    Irasema B Guerra                                                    527 BEASLEY DR.                                                                                   LEWISVILLE            TX           75057
    Irasema Ruiz                                                        1020 S. Lincoln Ave.                                                                              Aurora                IL           60505
    Irene Bare                              c/o Marysville SD #25       4220 80th Street NE                                                                               Marysville            WA           98270
    Irene Burnett                                                       260 Old Mt. Tabor                       #14                                                       Lexington             KY           40502
    IRENE FOUNTAS                                                       165 CLIFTON STREET                                                                                BELMONT               MA           02478
    IRENE GARCIA                                                        127 ALDRICH                                                                                       SAN ANTONIO           TX           78227
    IRENE GEROW                                                         181 PINE BRANCHES CLOSE                                                                           WINTERVILLE           NC           28590
    Irene K Biber                                                       10135 Lincoln Dr.                                                                                 Huntington Woods      MI           48070
    IRENE KRAAS                             DBA KRAAS LITERARY AGENCY   11108 DOUBLE EAGLE NE                                                                             ALBUQUERQUE           NM           87111
    IRENE L SOOHOO                                                      PO BOX 430                                                                                        BRUSH PRAIRIE         WA           98606
    IRENE LADD                                                          44 ASHLAND STREET                                                                                 NEWBURYPORT           MA           01950
    Irene Leitman                                                       4319 Hwy C                                                                                        Moscow Mills          MO           63362
    Irene M Burnett                                                     260 Old Mt. Tabor                       #14                                                       Lexington             KY           40502
    IRENE NENENG YUNIARTI TAN                                           LIPPO KARAWACI                          IMPERIUM DESIGN JL IMPERIUM 27                            TANGERANG                          15810        Indonesia



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                      198 of 488                                                                                                     1:26 PM
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                                                                                                                      of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                          Address2              Address3             City                State       Zip                Country
    Irene Rasmussen                                                        1218 Central Street               Apt#1N                                         Evanston                IL            60201
    IRENE RUIZ PENA                                                        CALLE B-1 I-4 ALT DE VEGA BAJA                                                   VEGA BAJA               PR            00693-5440
    IRENE SKOLNICK AGENCY                                                  2095 BROADWAY STE 307                                                            NEW YORK                NY            10023
    IRENE SKOLNICK LIT AGENCY                                              2095 BROADWAY STE 307                                                            NEW YORK                NY            10023
    Irene Williams                                                         49 EAST 96TH STREET APT 14A                                                      NEW YORK                NY            10128
    IRIS A FIGUEROA ROBLES                                                 PR 02 BZ 5723                                                                    CIDRA                   PR            00739
    Iris Galarza-Vega                                                      2884 OConnell Drive                                                              Kissimmee               FL            34741
    Iris J Webb                                                            450 Fm 728                                                                       Jefferson               TX            75657
    IRIS M BRACEY                                                          90 BELVEDERE DR                                                                  PORT TOWNSEND           WA            98368
    IRIS M ROSARIO MENDEZ                                                  TERRAZAS DE CARRAIZO # 8                                                         SAN JUAN                PR            00926
    IRIS RESNICK                                                           18 ANCHOR RD                                                                     LEDO BEACH              NY            11561
    Iris Webb                                                              450 Fm 728                                                                       Jefferson               TX            75657-6510

    IRIS XIANG                                                             ROOM 735 7F METROPOLIS TOWER                                                     HAIDIAN DISTRICT BEIJING              10080        China
    Iris Y Whitehead                                                       1056 River St.                                                                   Hyde Park                MA           02136
                                                                           875 AVENUE OF THE AMERICAS, #
    IRISH AMERICA                                                          2100                                                                             NEW YORK                NY            10001
    Irish Estates Management Ltd                                           Ulysses House                                                                    22-24 Foley Street                    DUBLIN 1     Ireland
                                                                           875 AVENUE OF THE AMERICAS,
    IRISH TRIBUNE INC                       DBA IRISH VOICE NEWSPAPER      #2100                                                                            NEW YORK                NY            10001
                                                                           URB LEVITTOWN Y-15 CALLE LADI
    IRMA E CABALLERO RAHOS                                                 ESTE                                                                             TOA BAJA                PR            00949
    IRMSCHER CHRISTOPH                                                     3506 EAST WINSTON ST                                                             BLOOMINGTON             IN            47401
    IRON MOUNTAIN                                                          PO BOX 27128                                                                     NEW YORK                NY            10087-7128
    IRON MOUNTAIN                                                          PO BOX 27129                                                                     NEW YORK                NY            10087-7129
    IRON MOUNTAIN                                                          PO BOX 601002                                                                    PASADENA                CA            91189
    IRON MOUNTAIN                                                          PO BOX 915004                                                                    DALLAS                  TX            75391
    Iron Mountain                                                          PO Box 915004                                                                    Dallas                  TX            75391-5004
    IRON MOUNTAIN                                                          P O BOX 915026                                                                   DALLAS                  TX            75391
    IRON MOUNTAIN INTELLECTUAL
    PROPERTY MGT                                                           P O BOX 27131                                                                    NEW YORK                NY            10087-7131
    IRVING SILVERMAN                                                       19 MOUNTAIN VIEW AVE                                                             RIDGEFIELD              CT            06877

    IRWIN F HARRIS & ASSOCIATES LLC                                        6109 MESA DRIVE                                                                  AUSTIN                  TX            78731
    ISABEL BECK                                                            1514 S NEGLEY AVE                                                                PITTSBURGH              PA            15217
    ISABEL CAMPOY                                                          65 MT TENAYA DR                                                                  SAN RAFAEL              CA            94903
    ISABEL JOSHLIN GLASER                                                  5383 MASON ROAD                                                                  MEMPHIS                 TN            38120
    ISABEL L BECK                                                          1514 SOUTH NEGLEY AVENUE                                                         PITTSBURGH              PA            15217
    ISABEL M ALVES                                                         5 WAKE ROBIN RD #3001                                                            LINCOLN                 RI            02865
    ISABEL MARI ARRAIZA-ARANA                                              3040 COVINGTON PLACE                                                             ROUND ROCK              TX            78681
    ISABELLA K KEATING              DBA AROUND TOWN AGENCY                 1670 BOLLUM LANE                                                                 LONG LAKE               MN            55356
    ISAIAS C SARMIENTO                                                     2 OLEARY WAY, UNIT 68                                                            JAMAICA PLAIN           MA            02130
    ISBN SALES LLC                                                         40 SUTPHIN ROAD                                                                  YARDLEY                 PA            19067
    ISIDRO MANCERA PAREDES                                                 P O BOX 19400 PMB 256                                                            SAN JUAN                PR            00919-4000
    ISLAND UNION SCHOOL DISTRICT                                           7799 21ST AVENUE                                                                 LEMOORE                 CA            93245

    ISRAEL FIGUEROA FLORES                  DBA ISRAEL CONSTRUCTION        CALLE 2 # C4 ALTURAS DE SANSUSI                                                  BAYAMON                 PR            00957
    ISRAEL IMAGES PICTURE
    COLLECTION LTD                                                         POB 60                                                                           KAMMON                                20112        Israel
    ISSUES AND ANSWERS NETWORK
    INC                                                                    5151 BONNEY ROAD                                                                 VIRGINIA BEACH          VA            23462
    ISTOCKPHOTO LP                                                         SUITE 200 1240 20TH AVE SE                                                       CALGARY                 AB            T2G 1M8      Canada
    ISURUS MARKET RESEARCH AND              CONSULTING LLC                 204 ANDOVER ST STE 401                                                           ANDOVER                 MA            01810
    IT ASSET DATA SECURITY                  DBA ITADS                      30 WILSONDALE STREET                                                             DOVER                   MA            02030
    IT CONVERGENCE                                                         PO BOX 56346                                                                     ATLANTA                 GA            30343
                                                                           P O BOX 177, 26309 BLACKWATER
    ITASCA GREENHOUSE INC                   DBA THE GREENWORLD PROJECT     RD                                                                               COHASSET                MN            55721
    ITECH CONSULTING INC                                                   3760 FAWN DRIVE                                                                  CANFIELD                OH            44406
    ITF/#898925                             INMATE TRUST FUND              P O BOX 60                                                                       HUNTSVILLE              TX            77342-0060
    ITHACA COLLEGE                                                         953 DANBY RD                                                                     ITHACA                  NY            14850
    IVA BINGHAM                                                            35388 HIGHWAY 9                                                                  TECUMSEH                OK            74873
    IVAN BATES                                                             CHURCH LANE-STANFIELD           STONYFIELD COTTAGE                               DEREHAM                               NR20 4AP     United Kingdom
    IVAN D CASTILLO                                                        3121 BUFFALO SPEEDWAY # 3109                                                     HOUSTON                 TX            77098
    IVAN GARCIA ZAPATA                                                     P O BOX 9295                                                                     SAN JUAN                PR            00908
    IVAN J FLORES RODRIGUEZ                                                LA VILLA DE TORRIMAR # 185                                                       GUAYNABO                PR            00969
    IVAN OLMO                                                              PO BOX 9020927                                                                   SAN JUAN                PR            00902
    IVAN SZELENYI                                                          255 MCKINLEY AVENUE                                                              NEW HAVEN               CT            06515
    IVAN VALLEJO RICAURTE                                                  P O BOX 17 12 471                                                                QUITO                                              Ecuador
                                                                           URB QUINTAS DE CABO ROJO, # 208
    IVELISSE PADILLA VARGAS                                                CALLE CANARIO                                                                    CABO ROJO               PR            00623



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                     199 of 488                                                                                               1:26 PM
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                                                                                                                          First Class Service List


                 CreditorName                      CreditorNoticeName                       Address1                           Address2                         Address3                   City        State       Zip             Country
    IVELISSE PAGAN DIANA                    URB TOA ALTA HEIGHTS             CALLE 8F-34                                                                                       TOA ALTA           PR           00953
    Ivonne Gonzalez                                                          2515 Silvercreek Drive                                                                            Franklin Park      IL           60131
    Ivonne Mercado                                                           9705 Glenlake Drive                                                                               Austin             TX           78730
    IVY IMAGES                              BILL IVY                         P O BOX 127                                                                                       TORONTO            ON           M3C 2R6      Canada
    Iwan J Streichenberger                                                   3451 Habersham Rd NW                                                                              Atlanta            GA           30305
                                            DBA SPECTRUM INTERGRATED
    J & M BROWN COMPANY INC                 TECH                             P O BOX 300227                                                                                    JAMAICA PLAIN      MA           02130
                                            DBA BAKER & TAYLOR / MAJOR
    J A MAJORS COMPANY I LTD                EDUC SOLTNS                      530 E CORPORATE DRIVE SUITE 600                                                                   LEWISVILLE         TX           75057

    J A STOCKWIN                                                             WOOTTON, WOODSTOCK                GLYM COTTAGE, GLYMPTON ROAD                                     OXFORD                          0X2 1EL      United Kingdom
    J and G Cleaning Services                                                20732 E. 38th Place                                                                               Denver             CO           80204
    J ANDREWS                                                                DEPT OF EDUC PSYCH                UNIV OF CALGARY                                                 CALGARY            AB           T2Y 3Y8      Canada
    J B VENDING CO INC                      DBA JACKSON BROTHERS             31 INTERNATIONAL PLAZA COURT                                                                      ST ANN             MO           63074
    J BENJAMIN INC                                                           15 CHANNEL CENTER ST                                                                              BOSTON             MA           02210
    J C ALLEN & SON INC                                                      4750 JACKSON HWY, P O BOX 2061                                                                    WEST LAFAYETTE     IN           47906
    J CABOT CATERING COMPANY                                                 21 E GLENSIDE AVENUE                                                                              GLENSIDE           PA           19038
    J D & Q DISTRIBUTION LLC                                                 P O BOX 185                                                                                       GLOUCESTER         NJ           08030
    J DANIEL HERRING                                                         4823 NORTH HULBERT AVE                                                                            FRESNO             CA           93705
    J DAVID COOPER                                                           P O BOX 1214                                                                                      KEY WEST           FL           33041
    J DAVID LOCKARD                                                          3904 STOCONGA DR                                                                                  BELTSVILLE         MD           20705-2854
    J DAVID SAPIR                                                            906 OLD FARM ROAD                                                                                 CHARLOTTESVL       VA           22903
    J F BOLT & ASSOCIATES                   DBA FRED FORUM                   PO BOX 1691                                                                                       SOLANA BEACH       CA           92075-1691
    J FRANCIS MAHONEY IV                                                     324 INGEBORG RD                                                                                   WYNNEWOOD          PA           19096
    J J KELLER & ASSOCIATES INC                                              P.O. BOX 548                                                                                      NEENAH             WI           54957-0548
    J KEVIN NUGENT                                                           1295 BOYLSTON STREET, STE 320                                           THE BRAZELTON INSTITUTE   BOSTON             MA           02215
                                                                                                               COWAN DEBAETS ABRAHAMS &
    J KINGSLEY AND M LEVITZ                                                  41 MADISON AVENUE 34TH FL         SHEPPARD LLP                          J STEPHEN SHEPPARD ESQ    NEW YORK           NY           10010
    J L M LTD                                                                RMB 1250 ROMSEY-KERRIE ROAD                                                                       ROMSEY                          03434        Australia
    J LEA SMITH                                                              PO BOX 521                                                                                        FILER              ID           83328-0521
    J LIMB LLC                              DBA HIGHGEAR PROJECTS            414 QUAIL HOLLOW DR                                                                               HUTTO              TX           78634
    J MADELEINE NASH                                                         4014 21ST STREET                                                                                  SAN FRANCISCO      CA           94114
    J MALCOLM GARCIA                                                         4340 ROANOKE PKWY APT 105                                                                         KANSAS CITY        MO           64111
    J MCHALE & ASSOICATES INC                                                400 BIRCHFIELD DRIVE SUITE 401                                                                    MT LAUREL          NJ           08054
    J Norman Dobbs                                                           30 Cliff Street                                                                                   Arlington          MA           02476
    J OTTO SEIBOLD                                                           402 GRAND #3                                                                                      OAKLAND            CA           94610
    J P MORGAN CHASE BANK                                                    P O BOX 13658                                                                                     NEWARK             NJ           07188-0658
    J PINDERHUGHES LLC                                                       536 W 111TH ST # 45                                                                               NEW YORK           NY           10025
    J ROLAND GIARDETTI                                                       178 JORDANRAY BOULEVARD                                                                           NEW MARKET         ON           L3X 2L4      Canada
    J S MCCARTHY CO INC                                                      15 DARIN DRIVE                                                                                    AUGUSTA            ME           04330
    J. M. Bell                                                               406 SECOND STREET                                                                                 MANISTEE           MI           49660
    J.D. WAGNER, TRUSTEE                    U/A 519/75 FOR SALLY CARRIGHAR   P.O. BOX 1314                                                                                     CARMEL             CA           93921
    J.D.I. Ventures, Inc.                                                    5160 Parfet Street                Unit B-4                                                        Wheat Ridge        CO           80033
    J.P. Morgan Chase Bank, N.A.
    J.P. Morgan Securities LLC
    JABAR CYNTHIA                                                            1 SICKLES STREET #C18                                                                             NEW YORK           NY           10040

    JABBERWOCKY LITERARY AGENCY             ATTN JESSIE CAMMACK              P O BOX 4558                                                                                      SUNNYSIDE          NY           11104-0558
    JABBERWOCKY LITERARY AGENCY
    INC                                                                      P O BOX 4558                                                                                      SUNNYSIDE          NY           11104
    JACALYN E STANLEY                                                        86 COPPERWOOD DR                                                                                  BUFFALO GROVE      IL           60089
    JACINTA MONNIERE                                                         6391 ETHAN ALLEN HWY                                                                              CHARLOTTE          VT           05445-8204
    JACK A PERNA                                                             4 CENTENNIAL CT                                                                                   TOTOWA             NJ           07512
                                                                             SALES & USE TAX DEPT, P O BOX
    JACK A STEPHEN TAX COLLECTOR            PARISH OF ST BERNARD             168                                                                                               CHALMETTE          LA           70044
    JACK AGUEROS                                                             212 W 14TH STREET # 5A                                                                            NEW YORK           NY           10011
                                            DBA STERNIG & BYRNE LITERARY
    JACK BYRNE                              AGENCY                           2370 107TH STREET APT 4                                                                           MILWAUKEE          WI           53227
                                            DBA STERNIG & BYRNE LITERARY
    JACK BYRNE                              AGENCY                           2370 S 107TH STREET, APT 4                                                                        MILWAUKEE          WI           53227-2036
    JACK D DELLINGER                        DBA DELLINGERS GRIST MILL LLC    9175 WOODRUN PLACE                                                                                PENSACOLA          FL           32514
    Jack E Fox                                                               301 Church Street                                                                                 Lewisburg          WV           24901
    JACK E HEIM                                                              4848 SUMMERWIND DR                                                                                MEDINA             OH           44256
    Jack French                                                              970 DE ARMOND LN                                                                                  MARYVILLE          TN           37804
    JACK G KIM                                                               3640 NORTHWOOD DR                                                                                 CASTRO VALLEY      CA           94546
    JACK GWYNNE                                                              1833 FOXRIDGE COURT                                                                               AURORA             IL           60502
    JACK HERNDON                                                             2108 SILVERBAY AVENUE                                                                             MILL VALLY         CA           94941
    JACK I HYATT                                                             1866 AUTUMN FROST LANE                                                                            BALTIMORE          MD           21209
    JACK J SPECTOR                                                           28 SPRING STREET                                                                                  SOMERSET           NJ           08873
    JACK J ZEHRT INC                                                         18920 DEER CREEK ROAD                                                                             WILDWOOD           MO           63069-3035



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                         200 of 488                                                                                                     1:26 PM
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                                                                                                                             of 519
                                                                                                                       First Class Service List


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    JACK JEFFREY PHOTOGRAPHY                JOHN J JEFFREY                    P O BOX 40                                                                                               PEPEEKEO          HI           96783
    JACK L BROOKS                                                             1027 1ST AVENUE                                                                                          HOLBROOK          AZ           86025
    Jack L Shira                                                              50 Carlson Avenue                                                                                        Newton            MA           02459
    JACK R HAYES                                                              3748 BINGHAM DRIVE                                                                                       LEXINGTON         KY           40514
                                            UMSTATTER EDUCATIONAL
    JACK UMSTATTER                          SERVICES                          66 WINGANHAUPPAUGE ROAD                                                                                  ISLIP             NY           11751-2613
    JACK UMSTATTER                                                            66 WINGANHAUPPAUGE ROAD                                                                                  ISLIP             NY           11751
    JACK UMSTATTER                                                            66 WINGANHAUPPAUGE ROAD                                                                                  ISLIP             NY           11751-2613
    Jack Witherspoon                                                          425 North St.                                                                                            Washington        OH           43160
    JACKA PHOTOGRAPHY                       ATTN CINDY JACKA                  910 W COUNTRY LANE                                                                                       PAYSON            AZ           85541
    Jackelyn Madden                                                           488 Main St                                                                                              Norwell           MA           02061
    Jackie Grisvard                                                           2408 Shroton Ct                                                                                          Powell            OH           43065
    Jackie L Power                                                            386 Richardson Avenue                                                                                    El Cajon          CA           92020
    JACKIE LYNN DAVIS                                                         2316 DIAMOND OAKS                                                                                        GARLAND           TX           75044
    Jackie Piver                                                              2709 Scottsdale Lane                                                                                     Raleigh           NC           27613
    JACKIE STAFFORD                                                           800 CONCESSION 2 WEST                                                                                    RR 1 WARKWORTH    ON           K0K 3K0      Canada
    JACKLYN B CLAYTON                                                         BOX 709                                                                                                  WEST HYANNISPOR   MA           02672
    Jacklyn Maffenbeier                                                       902 W. Whitegate Drive                                                                                   Mount Prospect    IL           60056
    JACKSON ASSEMBLY CHRISTIAN
    ACADEMY                                                                   6318 OLD KINGS RD                                                                                        JACKSONVILLE      FL           32254
    JACKSON AUDREY                                                            224 LOGGERS TRAIL                                                                                        FENTON            MO           63026
    JACKSON DONNA                                                             828 WEST MAHOGANY CIRCLE                                                                                 LOUISVILLE        CO           80027
    Jackson Public School                                                     1339 Oak Park Drive                                                                                      Jackson           MS           39213
    JACKSON R-2 SCHOOL DISTRICT                                               614 EAST ADAMS                                                                                           JACKSON           MO           63755
    JACKSON YVETTE                                                            200 WEST 86TH STREET                                                                                     NEW YORK          NY           10024
    JACKSON-HIRSH INC                                                         700 ANTHONY TRAIL                                                                                        NORTHBROOK        IL           60062
    JACKSONVILLE PUBLIC EDUCATION
    FUND                                                                      245 RIVERSIDE AVE                                                                                        JACKSONVILLE      FL           32202
    JACKY MARTIN                                                              8 RUE DE LA GRANGE                                                                                       CLAPIERS                       34830        France
    Jacob Kane                                                                133 SAINT REGIS DR N                                                                                     ROCHESTER         NY           14618
    JACOB MARY DOWNING                                                        6525 SMOKEHOUSE COURT                                                                                    COLUMBIA          MD           21045
    JACOB RAJS                                                                P O BOX 536                                                                                              PECONIC           NY           11958
    JACOBS CHASE FRICK KLEINKOPF &
    KELLEY LL                                                                 1050 17TH STREET SUITE 1500                                                                              DENVER            CO           80265
    JACOBS WELL INC                                                           RT 2 BOX 380 A                                                                                           SALEM             WV           26426
    JACOBSON BETH E                                                           1821 13TH AVE                                                                                            SEATTLE           WA           98122
    JACOBSON LEE A                                                            4033 24TH PL SOUTH                                                                                       SEATTLE           WA           98108
    JACOBSON LYNN H                                                           2470 S FERDINAND ST                                                                                      SEATTLE           WA           98108-2051
    Jacobson, Linda
    JACQUELINE A ADAMS                                                        295 BAIRD RD                                                                                             EDINBURG          PA           16116
    JACQUELINE BOYLE                        DBA JACKIE MACMULLAN              30 LOWELL RD                                                                                             WESTFORD          MA           01886
    JACQUELINE BRIGGS MARITN                                                  312 SECOND AVE N                                                                                         MOUNT VERNON      IA           52314
    Jacqueline Bryant                                                         3845 N. Ingleside Dr.                                                                                    Norfolk           VA           23502
    Jacqueline Buck                                                           1517 Hartwick Drive                                                                                      Sun City Center   FL           33573
    JACQUELINE C COMAS                                                        2134 G STREET NW, RM 410        GEORGE WASHINGTON UNIV                                                   WASHINGTON        DC           20052
    Jacqueline Chan                                                           7 Pratt St                                                                                               Reading           MA           01867
    JACQUELINE DAVIES                                                         81 PARISH ROAD                                                                                           NEEDHAM           MA           02494
    JACQUELINE DEDELL INC                                                     PO BOX 155                                                                                               LITCHFIELD        CT           06759-0155
    JACQUELINE DEDELL, INC.                                                   BOX 155                                                                                                  LITCHFIELD        CT           06759
    Jacqueline Doyle                                                          15w025 Lexington St.                                                                                     Elmhurst          IL           60126
    JACQUELINE ELLIS                                                          207 ALYSSIA LANE                                                                                         JACKSON           MS           39212
    Jacqueline Gabriel                      RE Jairo Garcia, Plaintiff        Enforcement Supervisor          Miami District Office               2 South Biscayne Blvd., Suite 2700   Miami             FL           33131
    JACQUELINE HURD                                                           635 17TH AVENUE                                                                                          MENLO PARK        CA           94025
    JACQUELINE KESSLER                                                        23 WICKLOW TERRACE                                                                                       DELMAR            NY           12054
    Jacqueline M Corleto                                                      3308 Barberry Lane                                                                                       Virginia Beach    VA           23453
    Jacqueline Mcdowell                                                       7 The Crt of Bayview                                                                                     Northbrook        IL           60062
    JACQUELINE R KIRWAN                                                       52 FOX HILL DR                                                                                           CLINTON           CT           06413
    JACQUELINE RAIMO                        DBA JTR EDITORIAL - USE 1-25154   302 WALNUT ST                                                                                            WINNETKA          IL           60093
    Jacqueline Raimo                                                          302 Walnut                                                                                               Winnetka          IL           60093
    Jacqueline Remlinger                                                      W7882 STRESAU LN                                                                                         SPOONER           WI           54801-7820
    Jacqueline Roliardi                                                       13559 E. Bayview Drive                                                                                   Scottsdale        AZ           85259
    Jacqueline Russom                                                         635 W 170TH ST, # 2G                                                                                     NEW YORK          NY           10032-3226
    Jacqueline Schrafft                                                       74 Pine Lane                                                                                             Osterville        MA           02655
    Jacqueline Swanson                                                        94 S. Lafox St.                                                                                          South Elgin       IL           60177
    JACQUELINE THOUSAND                                                       645 FRONT STREET # 108                                                                                   SAN DIEGO         CA           92101
    Jacqueline W. Schrafft                                                    1 Clearview Dr                                                                                           Summit            NJ           07901
    Jacquelyn Davis                                                           2423 CHURCH ST                                                                                           EVANSTON          IL           60201-3966
    Jacquelyn Donlon                                                          78 Ferncroft Rd                                                                                          Milton            MA           02186
    Jacquelyn Reese                                                           1045 Big Danger Road                                                                                     Clarksville       AR           72830
    Jacquelyn S Johnson                                                       5915 70th Street                                                                                         Lubbock           TX           79424



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                        201 of 488                                                                                                               1:26 PM
                                                      12-12171-reg           Doc 136          Filed 07/15/12 Exhibit
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                                                                                                                    of 519
                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                       Address2              Address3              City        State       Zip            Country
    JACQUES CHAZAUD                                                        22 SUMMIT STREET                                                               SOUTH PORTLAND    ME           04106-2252
    JACQUI DIMARCO                                                         659 RIFORD                                                                     GLEN ELLYN        IL           60137
    JACQUI LOWERY                                                          2833 SCENIC MEADOW STREET                                                      WALDORF           MD           20603
    Jacquline Briggs                                                       502 W Roscoe                                                                   Chicago           IL           60657
    Jaculin Pirret                                                         5945 Bancroft Blvd                                                             Orlando           FL           32833
    JADE BIRNER CIARDI                                                     36 MULBERRY ST                                                                 ROCHESTER         NY           14620
    JADE HONESTY HYMES                                                     812 BLARNEY AVENUE                                                             CONCORD           CA           94518
    JAE H HAHN                                                             2007 MINORU DR                                                                 ALTADENA          CA           91001
    JAEHUN LEE                                                             808 MEMORIAL DR # B806                                                         CAMBRIDGE         MA           02139
    JAFFE MARCUS H                                                         47 LOWER WINDFLOWER WAY                                                        WILLIAMSTOWN      MA           01267
    JAHIA SOLUTIONS GROUP SA                                               9 ROUTE DES JEUNES                                                             CAROUGE                        01227        Switzerland
    JAHN CLOUGH LISA                                                       34 WINTER STREET                                                               PORTLAND          ME           04102
    Jahna Salvo                                                            63 Bennett Street South                                                        Gloucester        MA           01930
    JAIME CIFUENTES                                                        122 SEWWALL ROAD                                                               BRIDGETON         NJ           08302
    JAIME HERNANDEZ                                                        PO BOX 40483                                                                   PASADENA          CA           91114
    Jaime L Spaulding                                                      70 Amesbury Rd                                                                 Newton            NH           03858
    JAIME W ABREU RAMOS                     PASEOS DE LA ALHAMBRA          GENERALIFE NUM 43                                                              CAROLINA          PR           00987
    Jairo Garcia
    JAKE BOGOCH                                                            348 LYTTON BOULEVARD                                                           TORONTO           ON           M5N 1R8      Canada
    JAKE HALPERN                                                           4804 SPRINGBROOK DR            C/O MIREK GORSKI                                ANNONDALE         VA           22003
    Jakes Catering                                                         614 SW 11th Avenue                                                             Portland          OR           97205
    Jakie Lewicki                                                          373 Garden Circle              x                                               Yorkville         IL           60560
    JAM SOFTWARE                                                           BRUCHHAUSENSTR 1                                                               TIER                           54290        Germany
    JAMAL COOKS                                                            360 GRAND AVENUE                                                               OAKLAND           CA           94610

    JAMAL OLIVER                            DBA WORKS IN PROGRESS DESIGN 1481 BASSWOOD DRIVE                                                              BOLINGBROOK       IL           60490
    JAMES A CURRIE                          DBA BIRDING ADVENTURES LLC   925 N LAKESIDE DR                                                                LAKE WORTH        FL           33460
    JAMES A EREKSON                                                      1737 SEVEN LAKES DR                                                              LOVELAND          CO           80538
    JAMES A HARGAN JR                                                    55 DEER CREST DRIVE                                                              MARS HILL         NC           28754
    James A Kuncis                                                       3855 Tucks Point                                                                 Winter Park       FL           32792
    JAMES A PERCOCO                                                      7603 SEABROOK LANE                                                               SPRINGFIELD       VA           22153
    JAMES A REYNOLDS                                                     8452 FRENCH OAK DR                                                               ORLANDO           FL           32835
                                            DBA JAMES A SUGAR
    JAMES A SUGAR                           PHOTOGRAPHY                  45 MIDWAY AVENUE                                                                 MILL VALLEY       CA           94941
    James A. Pakenas                                                     3 N. 026 Howard Rd.                                                              Maple Park        IL           60151
    James Absten                                                         217 White Oak Trace                                                              Lexington         KY           40511
    James Adams                                                          4651 S Arlington Ave                                                             Indpls            IN           46237
    JAMES ALAN REISS                                                     2743 ORCHARD LANE                                                                WILMETTE          IL           60091
    JAMES ALGINA                                                         2406 NW 27 LANE                                                                  GAINESVILLE       FL           32605
    James Anthony                                                        306 Springbrook Circle                                                           Portsmouth        NH           03801
    JAMES B ARMSTRONG                                                    600 WEST 115TH STREET, APT 112                                                   NEW YORK          NY           10025
    James B Kelley                                                       6145 Grove Drive                                                                 Knoxville         TN           37918
    JAMES B MACCALL                                                      546 HERMITAGE                                                                    PHILADELPHIA      PA           19128
    JAMES B MARTIN INC                                                   4217 AIKINS AVE SW                                                               SEATTLE           WA           98116
    James B Stearns                                                      2258 Turtle Club Dr                                                              Marietta          GA           30066
    James B. Armstrong                                                   600 West 115th                   Apt 112                                         New York          NY           10025
    James Bagwell                                                        1315 Main St.                                                                    Evanston          IL           60202
    James Baker                                                          217 Remington Drive                                                              St. Charles       IL           60175
    JAMES BALDWIN ESTATE                                                 137 WEST 71ST ST 4B                                                              NEW YORK          NY           10023
    James Beall                                                          140 Scott Hill Road                                                              Williamstown      MA           01267
    JAMES BEANE                                                          928 W SHORE DR                                                                   MADISON           WI           53715
    JAMES BEARD FOUNDATION                                               SLOT A 6 WEST 18th STREET 10th
    AWARDS                                                               FLOOR                                                                            NEW YORK          NY           10011
    JAMES BERNARDIN                                                      20800 BEACH BLVD STE 100                                                         HUNTINGTN BCH     CA           92648
    James Blakemore                                                      116 E. Sunset                                                                    Mayfield          KY           42066
    JAMES BLANKSTEIN                                                     108 WEBSTER STREET                                                               NEEDHAM           MA           02494
    JAMES BRADEN                                                         2106 VAN HORN COVE                                                               CEDAR PARK        TX           78613
    James Bradley                                                        108 Bay Drive East                                                               Huntington Bay    NY           11743
    James Bray                                                           3108 Topanga Canyon Dr                                                           Corinth           TX           76210
    JAMES BROOKS                                                         1027 1ST AVENUE                                                                  HOLBROOK          AZ           86025
    James Brown                                                          5025 Impala Drive                                                                Murraysville      PA           15668
    JAMES BURKE                                                          422 18TH AVENUE                                                                  SAN FRANCISCO     CA           94121
    James Burns                                                          161 Worcester St                                                                 Watertown         MA           02172
    JAMES C DAVIS                                                        1560 PROSPECT DRIVE                                                              EUGENE            OR           97403
    JAMES C MCCANN                                                       270 BAY STATE RD                 BOSTON UNIV, AFRICAN STD CTR                    BOSTON            MA           02215
    JAMES CALLAHAN                                                       5 PENNSYLVANIA AVENUE                                                            CHELMSFORD        MA           01824
    James Cannizzaro                                                     137 Essex Street                                                                 Mansfield         MA           02048
    JAMES CARROLL                                                        30 WEST CEDAR STREET                                                             BOSTON            MA           02108
    JAMES CARTER                                                         602 KENSINGTON PARK COURT                                                        CANTON            GA           30114
    James Chapman                                                        183 Main St                                                                      Amesbury          MA           01913



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                   202 of 488                                                                                    1:26 PM
                                                      12-12171-reg             Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                              of 519
                                                                                                                         First Class Service List


               CreditorName                           CreditorNoticeName                     Address1                         Address2              Address3              City             State       Zip            Country
    JAMES CLIFTON NOLAND                                                     P O BOX 185                                                                       BERRYVILLE             VA           22611
    JAMES CLOTFELTER                                                         120 4TH STREET SE                                                                 DUTTON                 MT           59433
    James Coalson                                                            11230 Cotillion                                                                   Dallas                 TX           75228
    James Coleman                                                            4A Fulton St.                                                                     Newburyport            MA           01950
    JAMES COX GALLERY AT
    WOODSTOCK                                                                4666 RT 212                                                                       WILLOW                 NY           12495
    JAMES CROSS GIBLIN                                                       200 E 24TH STREET, APT 1606                                                       NEW YORK               NY           10010-3919
    JAMES CURREY PUBLISHERS                                                  73 BOTLEY ROAD                                                                    OXFORD                              OX2 0BS      United Kingdom
    JAMES D BROOKS                                                           6712 SHAUNA DRIVE                                                                 NORTH RICHLAND HILLS   TX           76180-7964
    James D Caudell                                                          6928 N. Denton Dr.                                                                Mccordsville           IN           46055
    James D Coleman                                                          4A Fulton St.                                                                     Newburyport            MA           01950
    James D Joiner                                                           554 Fieldstream Blvd                                                              Orlando                FL           32825
                                            DBA JAMES DADDIO
    JAMES DADDIO                            PHOTOGRAPHER                     1 BAKER LN                                                                        HASTINGS ON HUDSON     NY           10706
    James Dalglish                                                           20 Dory Ln                        #1                                              Eastham                MA           02642
    James Diamond                                                            1133 Shadowbrook Tr                                                               Winter Springs         FL           32708
    James E Evans                                                            121 Landham Rd                                                                    Sudbury                MA           01776
    JAMES E MAHONEY                                                          14 AUSTIN RD                                                                      YARDLEY                PA           19067
    James E McCormick                                                        28 Winding Way                                                                    Plymouth               MA           02360
    JAMES E R SWIFT                                                          14211 JEROME DR                                                                   POWAY                  CA           92064
    JAMES E SEFTON                                                           8957 NESTLE AVE                                                                   NORTHRIDGE             CA           91325
    JAMES ELIZABETH                                                          1162 ANGELO DRIVE                                                                 BEVERLY HILLS          CA           90210
    James Evans                                                              121 Landham Rd                                                                    Sudbury                MA           01776
    JAMES F BAKER                                                            328 HARDY DR                                                                      EDMOND                 OK           73031
    James F Kennedy                                                          39 Grover Road                                                                    Ashland                MA           01721
    James F Linehan Jr                                                       21 Highland Road                                                                  Merrimac               MA           01860
    James F Parker                                                           84 Rivermont Circle                                                               Pickensville           AL           35447
    JAMES F SEARING                         1020 UNIVERSITY HALL (M/C 198)   601 SOUTH MORGAN ST                                                               CHICAGO                IL           60607
    JAMES F SHORES                                                           4140 CAVE SPRING ROAD SW                                                          ROME                   GA           30161
    James Fishwick                                                           701 B Locust Ave                                                                  Charlottesville        VA           22902
    James Franklin                                                           21 Fenwood Rd                                                                     Boston                 MA           02115
    JAMES FUSCO                                                              3020 N WATERLOO CT #6                                                             CHICAGO                IL           60657
    JAMES G WARK                            DBA AIRPHOTO                     5 BELLITA DR                                                                      PUEBLO                 CO           81001-1402
    JAMES GARY EVANS                                                         1611 WICKERSHAM PLACE                                                             SUWANEE                GA           30024-2806
    James Giannini                                                           5n862 Meredith Road                                                               Maple Park             IL           60151
    JAMES GIBBS                                                              8 VICTORIA SQ                                                                     BRISTOL                             B58 4ET      United Kingdom
    James Giblin                                                             200 E 24Th Street Apt #1606                                                       New York               NY           10010
    James Gilmore                                                            1730 Pierce Road                                                                  Hoffman Estates        IL           60169
    JAMES GRADY                                                              120 HILLTOP ROAD                                                                  SILVER SPRING          MD           20910
    JAMES H PICKERELL                                                        112 FREDERICK AVE STE H                                                           ROCKVILLE              MD           20850
    JAMES H ROBINSON                                                         205 S COMMERCE ST, P O BOX 564                                                    ALAMO                  GA           30411-0564
    JAMES H SILBERMAN                                                        169 EAST 69TH STREET              APT 19B                                         NEW YORK               NY           10021-5163
    James Howard Sims                                                        721 1/2 S 5th Street                                                              St. Charles            IL           60174
    JAMES HURST                             C/O KAY B GRESHAM                208 BRENTWOOD AVENUE                                                              JACKSONVILLE           NC           28540
    James Irwin Charter School              Accounts Payable                 5525 Astrozon Blvd.                                                               Colorado Springs       CO           80916
    JAMES IZZO ELECTRIC SERVICE                                              2 IZZO LANE                                                                       WESTPORT               CT           06880
    James J Burns                                                            17 Teton Drive                                                                    Londonderry            NH           03053
    JAMES J WISEMAN SUPPLEMENTAL
    NEEDS TRUST                             c/o ANNE W FRENCH                12 BLUEBERRY HILL ROAD                                                            ANDOVER                MA           01810
    JAMES JOHNSON                                                            500 A EAST 87TH APT 110                                                           NEW YORK               NY           10128
    James K Poage                                                            8707 Piney Creek Bend                                                             Austin                 TX           78745
    James K Stearley                                                         555 Kessler Blvd West Dr                                                          Indianapolis           IN           46228
    James Kennedy Iii                                                        39 Grover Road                                                                    Ashland                MA           01721
    James Keoborakot                                                         1703 Oneida St                                                                    Joliet                 IL           60435
    JAMES KEVIN NUGENT                                                       41 ONEIDA RD                                                                      ACTON                  MA           01720

    JAMES L AMOS                            DBA JAMES L AMOS PHOTOGRAPHY P O BOX 807                                                                           CHESTERTOWN            MD           21620
    JAMES L EVERTTS EXECUTOR                                             95 S MARKET ST STE 300                ESTATE ELDONNA EVERTTS                          SAN JOSE               CA           95113
    JAMES L PAZUN                                                        5875 CRIMSON OAK CT                                                                   HARRISBURG             NC           28075
    James L. Lloyd                                                       1656 Pine Drive                                                                       Avon                   OH           44011
    JAMES LACY                                                           2347 W IOWA ST # 3F                                                                   CHICAGO                IL           60622
    JAMES LAMAR GAMBRELL                                                 2738 IRVING AVENUE                                                                    IOWA CITY              IA           52246
    JAMES LEE BURKE                                                      9443 SLEEMAN CREEK ROAD                                                               LOLO                   MT           59847
    James Lindquist                                                      183 Mason Terrace                                                                     Brookline              MA           02446
    James Liston                                                         1445 WHITEHALL AVENUE                                                                 GEORGETOWN             SC           29440
    JAMES M DEEM                                                         6261 NORTH PLACITA DE ROJELIO                                                         TUCSON                 AZ           85718
    JAMES M MEJUTE                                                       7 WINDOVER PL                                                                         PALM COAST             FL           32164
    James M Minor                                                        10330 Draycott Ave.                                                                   Indianapolis           IN           46236
    JAMES M MOORE                                                        10 SEQUASSEN ROAD                                                                     FARMINGTON             CT           06032
    James M. Aytes                                                       4171 Tanell Drive                                                                     Manhattan              KS           66502



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                        203 of 488                                                                                          1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                 211 Matrix
                                                                                                                         of 519
                                                                                                                       First Class Service List


             CreditorName                             CreditorNoticeName               Address1                             Address2                          Address3              City           State       Zip            Country
    JAMES MARCUS                                                           345 EAST 52ND ST #10E                                                                         NEW YORK            NY            10022

    JAMES MARGULIES                                                        P O BOX 471                      1 GARRET MOUNTAIN PLAZA, 7TH FL                              WOODLAND PARK       NJ            07424-0471
    JAMES MARSHALL TRUST                    SHELDON FOGELMAN, EXECUTOR     10 EAST 40TH STREET                                                                           NEW YORK            NY            10016-0200
    James Masters                                                          515 Lamp Post Lane                                                                            Camp Hill           PA            17011
    James Mcgrody                                                          29703 Fairway Bluff Dr                                                                        Fair Oaks Ranch     TX            78015
    JAMES MCLOUGHLIN                        DBA MCLOUGHLIN PHOTOGRAPHY     201 SOUTH DIVISION STREET                                                                     PEEKSKILL           NY            10566
    JAMES MELLAART                                                         13 LICHEN COURT -79 QUEENS DR                                                                 LONDON                            N4 2BH       United Kingdom
    JAMES MELLON                                                           3076 DRAKES HIGHWAY              TRUST NET CHAMBERS                                           ROAD TOWN TORTOLA   British                    Virgin Islands
    James Metcalfe                                                         16 Musket Rd                                                                                  West Warwick        RI            02893
    JAMES MICHAEL POWELL                                                   1251 HARRIGAN CT                                                                              MOBILE              AL            36695
    JAMES MILGRAM                                                          405 BLOOM GRADE ROAD                                                                          BOULDER CREEK       CA            95006-9205
    James Miller                                                           4655 Pelham Road                                                                              Earlysville         VA            22936
    JAMES MONROE ELEMENTARY
    SCHOOL                                                                 3651 W SCHUBERT AVE                                                                           CHICAGO             IL            60647
    JAMES MORAN                                                            6650 IVY LANE                                                                                 CLEVELAND           OH            44130
                                            DBA JAMES NEDRESKY
    JAMES NEDRESKY                          PHOTOGRAPHER                   6131 PACIFIC STREET                                                                           OMAHA               NE            68106
    James Nicholson                                                        96 Rose Ct.                                                                                   Lemont              IL            60439
    JAMES O FREEDMAN 1999 TRUST             TFC FINANCIAL MANAGEMENT       30 FEDERAL STREET                                                                             BOSTON              MA            02110
    JAMES OKEEFE                                                           2713 ESPLANADE COURT                                                                          VIRGINIA BEACH      VA            23456-6545
    James P ONeill                                                         2714 Thayer Street                                                                            Evanston            IL            60201
    JAMES P ROWAN                                                          5820 WEST FOSTER AVENUE                                                                       CHICAGO             IL            60630
    James Pinckley                                                         3311 Yupon Street                Unit 610                                                     Houston             TX            77006
    James Pound                                                            1231 Willis Place                                                                             Golden Valley       MN            55422
                                                                           3505 CADILLAC AVENUE, SUITE P-
    JAMES PUBLISHING                        DBA PHOTO EDIT INC             101                                                                                           COSTA MESA          CA            92626
    JAMES R DESMOND                                                        74A BROADWAY                                                                                  GREENLAWN           NY            11740
    JAMES R PAGE                                                           1020 FERNCLIFFE PLACE                                                                         VICTORIA            BC            V9C 3X9      Canada
    James R Smith                                                          13532 Budworth Circle                                                                         Orlando             FL            32832
    JAMES RANDKLEV                          1830 E BROADWAY                STE 124 PMB 164                                                                               TUCSON              AZ            85719
    JAMES RANSOME                                                          107 KNOLLWOOD ROAD                                                                            RHINEBECK           NY            12572
    James Restivo                                                          35 Almont Street                                                                              Medford             MA            02155
    James Reynolds                                                         125 Spring Isle Trail                                                                         Altamonte Springs   FL            32714
    JAMES RICHARD HAZLET                                                   15 LAVALLEY LANE                                                                              NEWBURYPORT         MA            01950
    JAMES RIORDAN                                                          5 THE DRILL HOUSE                CLOCKTOWER DRIVE                                             SOUTHSEA HANTS                    PO4 9YD      United Kingdom
    JAMES ROBERT THOMASON                                                  P O BOX 899                                                                                   WESTCLIFFE          CO            81252
    James Ross                                                             46 Glenmore Rd                                                                                Pueblo              CO            81001
                                            DBA MOUNTAIN WORLD
    JAMES RYRIE NORTON                      PRODUCTIONS                    306 CANYON POINT CIRCLE                                                                       GOLDEN              CO            80403
    James S Branham                                                        1327 W Fargo                     2S                                                           Chicago             IL            60626
    JAMES S FOSTER                          DBA ARCANUM                    1102 E 8TH STREET                                                                             AUSTIN              TX            78702
    JAMES S MULHOLLAND JR                                                  1100 BEACH RD APT 3K                                                                          VERO BEACH          FL            32963
    JAMES SCHULTZ                                                          517 INDIAN OAKS LANE                                                                          SHEBOYGAN           WI            53081
    JAMES SCOTT BARNES INC                  BARNES PIPE & STEEL SUPPLY     737 PRAIRIE DUPONT DRIVE                                                                      DUPO                IL            62239
    James Siener                                                           216 Main St.                     #3                                                           Melrose             MA            02176
    JAMES SIMPSON                                                          3107 WEST 36TH AVE                                                                            PINE BLUFF          AR            71603
    JAMES SPRING                                                           10781 CHALLENGE BLVD                                                                          LA MESA             CA            91941
    James Stamos                                                           10 WALNUT ST                     APT 1                                                        LYNN                MA            01905
    James Stearley                                                         1623 N. College                  Apt #2                                                       Indianapolis        IN            46202

    JAMES STEVENS AND DANIELS INC                                          1283 COLLEGE PARK DRIVE                                                                       DOVER               DE            19904
    JAMES STRICKLAND                                                       126 APPLEWOOD LANE                                                                            SLIPPERY ROCK       PA            16057
    JAMES T PATTERSON                                                      33 KEENE STREET                                                                               PROVIDENCE          RI            02906
    James T Rigby                                                          3 BLACK SNAKE RD.                                                                             Salisbury           MA            01952
                                                                                                            UNIV OF HOUSTON - DEPT OF
    JAMES T ZEBROSKI                                                       205 ROY CULLEN BLDG              ENGLISH                                                      HOUSTON             TX            77204-3013
    James Tharrington                                                      3200 Twisted Oak Place                                                                        Oklahoma City       OK            73120
    James Tipton                                                           1311 Big Horn Trail                                                                           Carol Stream        IL            60188
    James Toma                                                             1003 N. Matterhorn Rd                                                                         Payson              AZ            85541
    JAMES TRILLING                                                         35 CLAREMONT AVENUE              MRS DIANA TRILLING                    STMT RTND 11/17/98     NEW YORK            NY            10027
    JAMES V GENEREAUX                                                      10714 SW TUALATIN DRIVE                                                                       TIGARD              OR            97224-4593
    JAMES VANDIVER                                                         5210 BIRKDALE WAY                                                                             SAN JOSE            CA            95138
    JAMES VOPAT                                                            19063 MARTIN ROAD                                                                             THREE OAKS          MI            49128
    JAMES W BEERS                                                          207 SOUTHPOINT DR                                                                             WILLIAMSBURG        VA            23185
    JAMES W BROOKS                                                         P O BOX 487                                                                                   GLOBE               AZ            85502
    James Wade                                                             1010 S Pleasure Court            Court                                                        Aurora              IL            60506
    JAMES WAHRER                                                           1842 RED ROCK DR                                                                              ROUND ROCK          TX            78665
    JAMES WAYNE MARSHALL                    J W MARSHALL                   2510 BOLL ST                                                                                  DALLAS              TX            75204
    JAMES WEHTJE                                                           35 BIRCH CRESCENT # 2                                                                         ROCHESTER           NY            14607



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      204 of 488                                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
                                                                                                                   Entered
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                                                                                                          Pg Creditor
                                                                                                              212 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2              Address3               City        State       Zip            Country
    JAMES WILLIAM STUBBLEFIELD III                                         3925C SOUTH POINTE DRIVE                                                       DEKALB             IL           60115
    James Wilson                                                           2008 Stanton Place Lane                                                        Acworth            GA           30101
    James Winkelman                                                        146 Norfolk Ave                                                                Swampscott         MA           01907
    JAMESTOONS STUDIOS INC                                                 1756 TIERRA NUEVA LANE                                                         OCEANO             CA           93445
    JAMEY MOORE                                                            4420 OAK CREEK POINT                                                           GAINESVILLE        GA           30506
    JAMI FRY                                                               1767 S 450 E                                                                   KAYSVILLE          UT           84037
    Jami Wong                                                              360 Beau Drive                  Apt. 6                                         Des Plaines        IL           60016
    JAMIE ANN BUTTACCIO                                                    3996 DEWEY RD                                                                  SHORTSVILLE        NY           14548
    JAMIE BAUGHMAN                                                         807 RAYMOND AVE                                                                HARTSHORNE         OK           74547
    JAMIE BOOTH                                                            RT 1 BOX 1027                                                                  RED OAK            OK           74563
    Jamie Eppard                                                           1124 Rathbone                                                                  Aurora             IL           60506
    JAMIE GOLDBERG LANGLEY                                                 2701 ROCKINGHAM DRIVE                                                          AUSTIN             TX           78704
    JAMIE LESK                                                             430 JUDD LANE                                                                  BATAVIA            IL           60510
    JAMIE MARSH                                                            630 EAST MAGNOLIA BLVD APT C                                                   BURBANK            CA           91501
    JAMIE MICHALAK                                                         12 STACY ST                                                                    BARRINGTON         RI           02806-2624
    Jamie S Santoro                                                        527 Michigan Ave.                                                              Evanston           IL           60202
    JAMIE S WARD                                                           5723 31ST COURT EAST                                                           BRANDENTON         FL           34203
    Jamila I Johnson                                                       5455 Vineland Road              # 3308                                         Orlando            FL           32811

    JAMILL ALEXANDER MENDEZ LOPEZ                                          URB PORTOBELLO BZN 941                                                         TO ALTO            PR           00953
    Jan Adams                                                              505 Savannah St.                                                               Bogalusa           LA           70427
    JAN ANDREWS                                                            RR 2                                                                           LANARK             ON           K0G 1K0      Canada
    JAN BONE                                                               N MORRIS DRIVE                                                                 PALATINE           IL           60074
    JAN BOOKOUT                                                            3485 HWY 75                                                                    BEGGS              OK           74421
    JAN BRETT STUDIO, INC.                                                 132 PLEASANT STREET                                                            NORWELL            MA           02061
    JAN BRETT STUDIOS INC                                                  132 PLEASANT ST                                                                NORWELL            MA           02061
    JAN CARROLL WEIR                                                       7805 LANTERN ROAD                                                              INDIANAPOLIS       IN           46256-1825
    Jan Christinson                                                        1769 Avenida Vista Labera                                                      Oceanside          CA           92056
    JAN DE LANGE                                                           SPORTLAAN 5                                                                    KATWIJK                         2225 JM      Netherlands
    Jan E Armstrong                                                        725 Willis                                                                     Glen Ellyn         IL           60137
    JAN E GLEITER                                                          2026 SUNNYSIDE                                                                 CHICAGO            IL           60625
    Jan Gibson                                                             709 Lakewood Lane                                                              Grapevine          TX           76051
    JAN GREUNE                                                             AM GRIESBICHL 4                                                                MUENSING                        82541        Germany
    JAN GRYKO                     JACKSONVILLE STATE UNIVERSITY            MARTIN HALL 232                                                                JACKSONVILLE       AL           36265
    JAN HICKMAN                                                            6450 YUKON STREET                                                              ARVADA             CO           80004
    Jan Horton                                                             9408 Chapel Down                                                               Austin             TX           78729
    JAN JARRELL                                                            1007 OLD METAIRIE PLACE                                                        METAIRIE           LA           70001
                                  JANITORIAL & MAINTENANCE
    JAN LYNN WEYANT               SERVICES                                 8359 GARDEN ST                                                                 ALTA LOMA          CA           91701
    JAN MAHER                                                              256 CORNELIA ST                                                                PLATTSBURG         NY           12901
    JAN MANDELL                                                            1347 ASHLAND AVE                                                               ST PAUL            MN           55104-6705
    Jan McGowen                                                            4534 Marquette Street                                                          Yorkville          IL           60560
    Jan Nickels                                                            244 Kathryn Lane                                                               North Aurora       IL           60542
    JAN PIENKOWSKI                OAKGATES                                 45 LONSDALE ROAD                                                               LONDON SW                       SW13 9H5     United Kingdom
    JAN PILGREEN                                                           5103 CASTLE ROAD                                                               LA CANADA          CA           91011
    JAN PINBOROUGH                                                         3810 S TERRACE HEIGHTS RD                                                      SALT LAKE CITY     UT           84109
    Jan R. Christinson                                                     1769 Avenida Vista Labera                                                      Oceanside          CA           92056
    JAN ROBERSON                                                           3473 SPEEGLEVILLE ROAD                                                         WACO               TX           76712
    JAN THOMAS                                                             1212 SOUTH DRIVE                                                               SOCORRO            NM           87801
    JANE A HART                                                            2360 N MAIN                                                                    MANSFIELD          TX           76063
    JANE A KROENCKE                                                        2157 SUSSEX RD                                                                 WINTERPARK         FL           32792
    Jane A Lockett                                                         9557 Cypress Pine Street                                                       Orlando            FL           32827
    JANE ALISON SHUMATE                                                    9 ISLAND AVE APT 2110                                                          MIAMI BEACH        FL           33139
    JANE ANN LAMB                                                          1951 WILLIOW GROVE ROAD                                                        CENTERVILLE        IN           47330
    Jane Asano                                                             25232 Brigantine Dr                                                            Dana Point         CA           92629
    Jane Berberich Rourke                                                  7 VILLAGE VIEW LANE                                                            UNIONVILLE         CT           06085
    Jane Bigelow Orner                                                     345 Linden Street                                                              Wellesley          MA           02481
    Jane Billings                                                          17 Druid Hill Ave                                                              Methuen            MA           01844
    Jane Boles                                                             1025 Pheasant Ln                                                               Forney             TX           75126
    Jane Bordzol                                                           2511 Garth Road                                                                Wilmington         DE           19810
    JANE BROX                                                              21 PAGE STREET                                                                 BRUNSWICK          ME           04011
    JANE CARNATHAN                                                         1904 E CHAPMAN COURT                                                           HILLSBOROUGH       NC           27278
    Jane Comstock                                                          6 South 11Th Street                                                            St Charles         IL           60174
    Jane Comstock                                                          700 W FABYAN PKWY               APT 111A                                       BATAVIA            IL           60510
                                  DBA DYSTEL & GODERICH LITERARY
    JANE D DYSTEL INC             MNGMNT                                   ONE UNION SQUARE WEST STE 904                                                  NEW YORK           NY           10003
                                  DBA DYSTEL & GODERICH LITERARY
    JANE D DYSTEL INC             MNGMNT                                   ONE UNION SQUARE WEST STE 904                                                  NEW YORK           NY           10003-3303
    Jane Dalrymple                                                         3725 Colfax Avenue                                                             Minneapolis        MN           55409
    Jane E Smalley                                                         172 Highgate Street                                                            Needham            MA           02492



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   205 of 488                                                                                      1:26 PM
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                                                                                                               213 Matrix
                                                                                                                       of 519
                                                                                                                      First Class Service List


                  CreditorName                        CreditorNoticeName                    Address1                       Address2              Address3               City        State       Zip            Country
    Jane E. Crews                                                           6935 MANDALAY RD.                                                               SAN DIEGO          CA           92115
    JANE ELIZABETH HUNN                                                     601 WAYNE STREET                                                                NORTH MANCHESTER   IN           46962
    JANE ELIZABETH SMALLEY                                                  172 HIGHGATE ST                                                                 NEEDHAM            MA           02492
    JANE F DYCUS                                                            100 DYCUS PL                                                                    BARNHART           MO           63012
    JANE F SCHIELACK                                                        3620 SWEETBRIAR DR                                                              BRYAN              TX           77802
    JANE FEDER                                                              305 EAST 24TH STREET, APT 8P                                                    NEW YORK           NY           10010
    Jane G Libby                                                            21 St James Avenue                                                              Haverhill          MA           01830
    JANE H OREILLY                                                          310 WEST 50TH STREET                                                            MINNEAPOLIS        MN           55419
    JANE HALSEY                                                             611 MASON STREET APT 506                                                        SAN FRANCISCO      CA           94108
    JANE HANSEN                                                             1580 REYNOVIA DRIVE                                                             CHARLOTTESVILLE    VA           22902
    JANE HEDGEPETH                                                          1339 BONHAM TERRACE                                                             AUSTIN             TX           78704
    JANE HIRSHFIELD                                                         367 MOLINO AVENUE                                                               MILL VALLEY        CA           94941
    Jane Horsman                                                            75 SHADE ST                                                                     LEXINGTON          MA           02173
    JANE K MANNING                                                          71 HIGH STREET                                                                  DEEP RIVER         CT           06417
    Jane Kennedy                                                            700 S Ellwood Avenue                                                            Baltimore          MD           21224
    Jane Kirschman                                                          500 Peterson St                                                                 Round Rock         TX           78664
    Jane Kramer                                                             880 Skyline Drive                                                               Batavia            IL           60510
    JANE KURTZ                                                              1144 NE MORTON ST                                                               PORTLAND           OR           97211
    JANE L CURRY                                                            10431 QUITO LANE                                                                LOS ANGELES        CA           90077-2818
    JANE LANGFORD                                                           11 WOODFIELD AVENUE            PENSNETT, BRIERLEY HILL                          WEST MIDLANDS                   DY5 4RP      United Kingdom
    Jane Lecompte                                                           25 Wendell Street #3                                                            Cambridge          MA           02138
    Jane McConnach                                                          3880 Comstock Lane N                                                            Plymouth           MN           55446
    Jane Melick                                                             50 Pokonoket Ave                                                                Sudbury            MA           01776
    Jane Muse                                                               20 Chesterton Road                                                              Wellesley          MA           02481
    JANE OLSON                                                              13966 EDENWOOD CT                                                               APPLE VALLEY       MN           55124
    Jane Orner                                                              345 Linden Street                                                               Wellesley          MA           02481
    JANE P HARRELL                                                          200 PARK DRIVE                                                                  WILLIAMSTON        NC           27892
    JANE PAMELA                                                             281 N. TAMENEND AVENUE                                                          NEW BRITAIN        PA           18901-5168
    Jane Potter                                                             42 Phillips Place                                                               Northampton        MA           01060
    JANE REEHORST                                                           1100 CARMEL DRIVE              OFFICE OF TREASURER                              DUBUQUE            IA           52003-7991
    Jane Riesel                                                             2000 LINWOOD AVE.                                                               FORT LEE           NJ           07024
    JANE ROACH                                                              683 BROADVIEW TERRACE                                                           HARTFORD           CT           06106
    Jane Rodgers                                                            69 Oakdale Blvd                                                                 Pleasant Ridge     MI           48069
    Jane Sharma                                                             6157 Metrowest Blvd            Unit 104                                         Orlando            FL           32835
    Jane Sherman                                                            14TIMBER LEDGE DR                                                               HOLLISTON          MA           01746
    JANE STEELE                                                             3116 TANGLEWOOD LANE                                                            BELLINGHAM         WA           98226
    JANE SWIFT COLOVUS                                                      14211 JEROME DRIVE                                                              POWAY              CA           92064-2739
    Jane Vandezande                                                         4518 ROYAL LYTHAM DRIVE                                                         COLUMBIA           MO           65203
    JANE WILSON BARBOZA                                                     1857 JOSIE AVE                                                                  LONG BEACH         CA           90815
    JANE WOOD                                                               MAIN ST MAIDS MORETON          OLD HOUSE COTTAGE                                BUCKINGHAM                      MK18 1QU     United Kingdom
    JANEEN R ADIL                                                           733 WHITE BEAR ROAD                                                             BIRDSBORO          PA           19508
    Janel Deboer                                                            1001 N Yarnalton Pike                                                           Lexington          KY           40511
    Janell Sims                                                             70 Craigie St. #3                                                               Somerville         MA           02143
    Janelle Miller                                                          9029 E Mississippi                                                              DENVER             CO           80247
    JANELLE TORRES Y TORRES                                                 426 WESTSIDE DRIVE                                                              IOWA CITY          IA           52246
    Janet A Baldwin                                                         303 Magnolia Drive                                                              North Aurora       IL           60542
    Janet A Chesley                                                         4 Strawberry Lane                                                               North Reading      MA           01864
    JANET A LOONEY                                                          60 HAMMOND PLACE                                                                WOBURN             MA           01801
    Janet A Pritza                                                          950 Hill                                                                        Elgin              IL           60120
                                            DBA LITERACY LEADERSHIP
    JANET ALLEN                             COLLABORATIVE                   P O BOX 1287                                                                    SANIBEL            FL           33957
    Janet Berrier                                                           4671 Hall Rd                                                                    Groton             VT           05046
    JANET BIEHL                                                             131 MAIN STREET APT 301                                                         BURLINGTON         VT           05401
                                            ATTN DOLLY FARRELL-REICH COLL
    JANET BLOODGOOD                         OF EDUC                         P O BOX 32038                                                                   BOONE              NC           28608-2085
    JANET CAIN                                                              21004 STILLWOOD COURT                                                           LAGO VISTA         TX           78645
    JANET CAREY ELDRED                                                      226 HOLIDAY ROAD                                                                LEXINGTON          KY           40502
                                            REP OF THE ESTATE OF SUSAN N
    JANET D SPECTOR                         GEIGER                          2704 VERANDA RD NW                                                              ALBUQUERQUE        NM           87107
    JANET E ALLEMAN                                                         115 ERICKSON HALL              MICHIGAN STATE UNIV                              EAST LANSING       MI           48824
                                                                                                           BOSTON COLLEGE - CAMPION HALL
    JANET E HELMS                                                           140 COMMONWEALTH AVE           318                                              CHESTNUT HILL      MA           02467
    JANET EVANS                                                             9 CULCHETH HALL DR, CULCHETH                                                    WARRINGTON CHES                 WA3 4PS      United Kingdom
    JANET FLANNER                                                           3949 GAFFNEY COURT             STMT RTND PE 12 05                               SAN DIEGO          CA           92130
    JANET FRIEDMAN MARTEL                                                   1511 PORTOLA STREET                                                             DAVIS              CA           95616
    Janet G Silver                                                          100 Garfield Road                                                               Concord            MA           01742
    JANET GAFFNEY                                                           1310 SOUTH SIXTH ST            UNIVERSITY OF ILLINOIS                           CHAMPAIGN          IL           61820
    JANET GILLESPIE                                                         2915 NE 38th AVE                                                                PORTLAND           OR           97212
    Janet Gizelbach                                                         16605 Rialto Drive                                                              Winter Garden      FL           34787
    Janet Granath                                                           1408 Asbury Ave.                                                                Winnetka           IL           60093



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     206 of 488                                                                                      1:26 PM
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                                                                                                                     of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3              City         State       Zip   Country
    Janet Gunn                                                             3823 Savannah Sq. East                                                          Atlanta            GA           30340
    JANET H BURNHAM                                                        P O BOX 529                                                                     BETHEL             VT           05032
    JANET HESS                                                             7941 MALLARD LANDING                                                            INDIANAPOLIS       IN           46278
    JANET HORTON                                                           14835 245TH AVE SE                                                              ISSAQUAH           WA           98027
    JANET HOY                                                              2231 W 18TH PLACE                                                               YUMA               AZ           85364
    Janet Jenkins                                                          3102 Lakeview Ave                                                               Lago Vista         TX           78645
    JANET K SCHEER                          DBA CREATE A VISION            11869 133RD WAY                                                                 SCOTTSDALE         AZ           85259
    JANET K SCHEER                                                         11869 N 133RD WAY                                                               SCOTTSDALE         AZ           85259
    JANET KACHORSKY                                                        28873 SECO CANYON RD                                                            SANTA CLARITA      CA           91390
    JANET L RICHARDSON                                                     7008 DREAMS WAY COURT                                                           ALEXANDRIA         VA           22315
    Janet L. Bales                                                         1000 Town Center Northeast        Ste 180 Pmb 106                               Tacoma             WA           98422
    Janet Levy                                                             11114 BROOKHAVENCLUB DRIVE                                                      JOHNS CREEK        GA           30097
    JANET M ACERRA                                                         9438 US 19TH NORTH, STE 218                                                     PORT RICHEY        FL           34668
    Janet M Lamberton                                                      901 Spruce Street                                                               Sugar Grove        IL           60554
    JANET M PALLADINO                                                      30 LOCUST AVE                                                                   LEXINGTON          MA           02421
    Janet Martinez                                                         440 Lancer Oak Drive                                                            Apopka             FL           32712
                                                                           6211 WEST NORTHWEST HIGHWAY
    JANET MCLEOD                                                           G511                                                                            DALLAS             TX           75225
    JANET OLSON                                                            P O BOX 1582                                                                    HARWICH            MA           02645
    Janet Peer                                                             84 Center St                                                                    Burlington         MA           01803
    JANET PHILLIPS                                                         6138 S 96TH ST                                                                  LINCOLN            NE           68526
    JANET REITMAN                                                          68 JAY STREET STE 201                                                           BROOKLYN           NY           11201
    JANET RICHARDS                                                         COLLEGE OF EDUCATION, EDU162      UNIVERSITY OF SOUTH FLORIDA                   TAMPA              FL           33620
                                                                           TERRAZAS DE GUAYNABO LAS
    JANET RUIZ RAMIREZ                                                     FLORES E-5                                                                      GUAYNABO           PR           00969
    JANET S WONG                                                           4580 PROVINCE LINE RD                                                           PRINCETON          NJ           08540
    Janet Schroeder                                                        8024 W. 31st                                                                    North Riverside    IL           60546
    JANET SHAW                                                             424 HARPETH MEADOWS DR                                                          KINGSTON SPRINGS   TN           37082
    JANET STEVENS                                                          3835 SPRING VALLEY ROAD                                                         BOULDER            CO           80304
    JANET STEVENS HABERMAN                                                 3835 SPRING VALLEY RD                                                           BOULDER            CO           80304
    Janet Sypnieski                                                        2014 Wabash Street                                                              Michigan City      IN           46360
    Janet Taylor                                                           233 Union Street                                                                Portsmouth         NH           03801
    Janet Voelkle                                                          1063 Harbor View Drive                                                          Westerville        OH           43081
    Janet Wiedemann                                                        28 S. Walnut St.                                                                Palatine           IL           60067
    Janet Winkler                                                          530 Hinman Ave.                                                                 Evanston           IL           60202
    JANET WONG                                                             4580 PROVINCE LINE RD                                                           PRINCETON          NJ           08540
    Janette Mckenna                                                        156 E Limberlost Dr               #103                                          Tucson             AZ           85705
    Janice A Power                                                         31 York Avenue                                                                  Watertown          MA           02472
    JANICE AUGER                                                           95 MAIN STREET                    UNH ENGLISH DEPARTMENT                        DURHAM             NH           03824
    Janice Bemis                                                           132 Salem Road                                                                  Billerica          MA           01821
    Janice Bratel                                                          2627 N Stowell                                                                  Milwaukee          WI           53211
    JANICE C LINDSAY                                                       206 BACK MEADOW RD                                                              DAMARISCOTTA       ME           04543
    Janice Cuff                                                            627 N Lincoln                                                                   Troy               MO           63379
    Janice D Bristow                                                       928 Sherman Ave                                                                 Evanston           IL           60202
    JANICE D RICCI                                                         4015 BENT TREE BOULEVARD                                                        SARASOTA           FL           34241
    JANICE E MITCHENER                                                     6129 CATLIN LANE                                                                NOBLESVILLE        IN           46062
    JANICE E ROBERTS                                                       800 EAST RIDGE DR                                                               NORTHFIELD         MN           55057
    Janice Falkin                                                          130 Bowdoin St Apt 1108                                                         Boston             MA           02108
    JANICE GIBALA-BROXHOLM                                                 3277 EVERGREEN CIRCLE                                                           WALWORTH           NY           14568
    Janice Jabczanka                                                       121 Pelczar Rd                                                                  Dracut             MA           01826
    Janice Joyce                                                           24 S. Channel Drive                                                             Round Lake Beach   IL           60073
    Janice L Bemis                                                         132 Salem Road                                                                  Billerica          MA           01821
    JANICE L LANDRY                                                        34372 TE-NOM LANDRY ROAD                                                        DONALDSONVILLE     LA           70346
    JANICE L OBRIEN                                                        2952 ERSKINE DRIVE                                                              OVIEDO             FL           32765
    JANICE LYNN HALL                                                       1796 BEDFORD RD                                                                 COLUMBUS           OH           43212
    Janice Nelson                                                          26 Lincoln Street                                                               Glenview           IL           60025
    Janice Noske                                                           1106 Payne Ave                    Apt B                                         Austin             TX           78757
    JANICE PETERS                                                          10802 NE 112TH PL                                                               VANCOUVER          WA           98662
    Janice Ropers                                                          43393 N. Rain Tree Rd.                                                          Antioch            IL           60002
    JANICE S WALLACE                                                       5260 CROSSBOW CIR # 14C                                                         ROANOKE            VA           24018
    JANICE ZOLLINGER                                                       18412 OLD TRACE DR                                                              BATON ROUGE        LA           70817
    Janie Arrington                                                        18 Purvis St                                                                    Watertown          MA           02472
    JANIE BETH EVANS                                                       4509 W VANDALIA                                                                 BROKEN ARROW       OK           74012
    JANIE BYNUM                                                            4301 HEMMINGWAY DR                                                              KALAMAZOO          MI           49009
    JANIE GUSTAFSON                                                        3122 E ORAIBI DRIVE                                                             PHOENIX            AZ           85050
    JANIE LORFING                                                          502 SHANNON ST                                                                  EAST BERNARD       TX           77435

    JANIELLE LOSAW                                                         URB COSTA SUR CALLE VELERO I-22                                                 YAUCO              PR           00698
    JANINE AMBROSE                                                         8963 WEST CLARA LANE                                                            PEORIA             AZ           85382
    JANINE AND ROB HAYNES INC                                              2613 SOMROSA STREET                                                             CARLSBAD           CA           92009



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                    207 of 488                                                                            1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                      First Class Service List


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    JANINE ANN TOWNSLEY                                                    9671 W DAFFODIL LN                                                                         MIRAMAR                 FL           33025
    Janine B Curtis                                                        409 Willow Brook Way                                                                       Voorhees                NJ           08043
    JANINE CHAPPELL CARR                                                   2805 NE 144TH ST                                                                           VANCOUVER               WA           98686
    JANINE CHERYL DETTER                                                   3604 ARIZONA AVENUE                                                                        LOS ALAMOS              NM           87544
    JANIS A DONNAUD & ASSOCIATES
    INC                                                                    525 BROADWAY 2ND FLOOR RM 201                                                              NEW YORK                NY           10012
    JANIS A DONNAUD & ASSOCIATES
    INC                                                                    525 BROADWAY -2ND FLR RM 201                                                               NEW YORK                NY           10012-4411
    Janis Clark                                                            5096 E Geddes Avenue                                                                       Centennial              CO           80122
    Janis Clark                                                            5096 E. Geddes Avenue                                                                      Littleton               CO           80122
    Janis Graffagna                                                        40w945 Mulhern Drive            P.o. Box 45                                                Lafox                   IL           60147
    JANIS LEIBS DWORKIS                                                    6631 GARLINGHOUSE LANE                                                                     DALLAS                  TX           75252
    JANISCH DATA SYSTEMS INC                                               1000 JORIE BLVD STE 24                                                                     OAK BROOK               IL           60523-2214
    JANISSE LEIGH RAY                                                      895 CATHERINE T SANDERS RD                                                                 REIDSVILLE              GA           30453
    JANKLOW & NESBIT (UK) LTD                                              13A HILLGATE STREET                                                                        LONDON                               W8 7SP       United Kingdom
    JANKLOW & NESBIT ASSOCIATES                                            445 PARK AVE                    ATTN PAUL LUCAS                                            NEW YORK                NY           10022

    JANKLOW AND NESBIT ASSOCIATES                                          445 PARK AVENUE 13TH FLOOR                                                                 NEW YORK                NY           10022

    JANKLOW AND NESBIT ASSOCIATES                                          445 PARK AVENUE                 ATTN KATE SCHAFER                                          NEW YORK                NY           10022-2606

    JANKLOW AND NESBIT ASSOCIATES                                          445 PARK AVENUE FLOOR 13        ATT CULLEN STANLEY                                         NEW YORK                NY           10022-2606

    JANKLOW AND NESBIT ASSOCIATES                                          445 PARK AVENUE FLOOR 13        ATTN ROYALTY DEPT                                          NEW YORK                NY           10022-2606

    JANKLOW AND NESBIT ASSOCIATES                                          445 PARK AVENUE                                                                            NEW YORK                NY           10022-8628
    JANNA HERSKOWITZ                                                       182-35 ABERDEEN RD                                                                         JAMAICA                 NY           11432
    JANNA MALAMUD SMITH                                                    55 THOMPSON LANE                                                                           MILTON                  MA           02186
    JANNA MORRISON                                                         P O BOX 806                                                                                WINDHAM                 NY           12496
    Jannett Matthews                                                       2407 Dorado Ave                                                                            Haines City             FL           33844
    Jan-Pro                                                                215 Union Blvd.                 Suite 210                                                  Denver                  CO           80228
    JAPACK CO LTD                 CHURISU HACHOBORI BLDG 502               HACHOBORI 6-7                                                                              NAKA-KU HIROSHIMA 730                             Japan
    JAQUELIN LAFON                                                         92600 ASNIERES                  2 RUE SADI CARNOT                                          S/SEINE                                           France
    JARED B STAMM                                                          P O BOX 47                                                                                 SALEM                   NY           12865
    Jared Booth                                                            732 Chacall Loop                                                                           Mount Dora              FL           32757
    Jaret Deprin                                                           712 Seward                      2S                                                         Evanston                IL           60202
    JARON LANIER                                                           19485 SONOMA HIGHWAY SUITE F                                                               SONOMA                  CA           95476
    Jarred Prejean                                                         12800 Harrisglenn Drive         Apt 1624                                                   Austin                  TX           78753
    JARVIS ANA C                                                           1749 E CAMPBELL AVENUE                                                                     GILBERT                 AZ           85234
    Jasiewicz, Linda
    JASON A WHITE                                                          20593 WILD MEADOW CT                                                                       ASHBURN                 VA           20147
    Jason Baldeau                                                          1274 Miller Ave                                                                            Winter Park             FL           32789
    JASON BRIAN MCCREARY                                                   7 COBB HALL CT                                                                             GREENVILLE              SC           29607
    Jason Bundscho                                                         7598 E. County Rd. 500 S                                                                   Kirklin                 IN           46050
    JASON C GOODMAN                                                        7 BISHOP AVE                                                                               MIDDLEBORO              MA           02346
    JASON CHANDLER                                                         120 NORTH L STREET                                                                         MADERA                  CA           93637
    Jason Collette                                                         13625 Springtide Ct                                                                        Orlando                 FL           32826
    Jason Conde                                                            255 Patricia Lane                                                                          Dracut                  MA           01826
    JASON D ABRAMSON                                                       P O BOX 3424                                                                               FREDERIKSTED            VI           00840
    JASON E LAMBERT                                                        43 RUBY LANE                                                                               PORTLAND                ME           04103
    JASON FAGONE                                                           120 MYRTLE AVE                                                                             HAVERTOWN               PA           19083
    JASON HAWKES AERIAL PHOTO
    LIBRARY                       RED HOUSE                                RED HOUSE DRIVE                                                       READING              SONNING COMMON                       RG4 9NL      United Kingdom
    JASON HAYNES LUTES                                                     5210 COLLEGE HILL                                                                          WOODSTOCK               VT           05091
    Jason Hester                                                           370 Major Drive                                                                            Northlake               IL           60164
    JASON JAMES                                                            236 CENTURIAN DRIVE                                                                        WEST BERLIN             NJ           08091
    Jason Krol                                                             1248 Christopher lane                                                                      Lewisville              TX           75077
    JASON LEE RHODES              DBA WONDERBEAN STUDIOS INC               210 CHARMUTH RD                                                                            LUTHERVILLE             MD           21093
    Jason Morley                                                           179 Burrill Street              Unit 1                                                     Swampscott              MA           01907
    JASON NIELSEN                                                          804 ALPINE AVE                                                                             BURLINGAME              CA           94010
    JASON PARKER                                                           4305 16TH STREET APT 13                                                                    LUBBOCK                 TX           79416
    JASON PEARL                                                            3844 CARREL BLVD                                                                           OCEANSIDE               NY           11572
    Jason Poirier                                                          1222 Woodbridge St                                                                         St Paul                 MN           55117
    Jason Porter                                                           1 W. Superior St.               Apt# 4208                                                  Chicago                 IL           60654
    Jason Shiner                                                           14 TRUNFIO LN                                                                              EVERETT                 MA           02149-1322
    Jason Testa                                                            7 Cedar Wax Wing Rd                                                                        Hackettstown            NJ           07840
    Jason Zoellner                                                         3857 Churchman Woods                                                                       Indianapolis            IN           46203
    Jasons Deli                                                            9525 East County Line Road                                                                 Englewood               CO           80112
    Javier Angulo                                                          2593 Aventurine St                                                                         Kissimmee               FL           34744




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                     208 of 488                                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                        of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                            Address2              Address3              City            State       Zip               Country
    JAVIER EDUARDO MOSQUERA
    ASPRILLA                                URB EL PARAISO                 CALLE # 1602                                                                     SAN JUAN              PR           00926
    JAVIER HUERTA                                                          2740 COLLEGE AVENUE APT 206                                                      BERKELEY              CA           94705
    JAVIER R GONZALEZ CASTRO                                               CALLE 12-Z-36 INTERAMERICANA                                                     TRUJILLO ALTO         PR           00976
    JAVIER VILLARREAL                       MODERN LANGUAGES DEPT          63 OCEAN DRIVE                                                                   CORPUS CHRISTIE       TX           78412
    Jawan A Williams                                                       35-19 12 Street                   1B                                             Astoria               NY           11106
    JAWORSKI HENRY                                                         326 ROSELWAN AVE                                                                 TORONTO ONTARIO       ON           M4R 1G1      Canada
    JAX PHOTOGRAPHY                                                        4019 17TH STREET                                                                 CHESAPEAKE BEACH      MD           20732
    Jay Castelli                                                           319 Melbourne Ave                                                                Mamaroneck            NY           10543
    JAY HECK                                DBA HECK INDUSTRIES            4228 159TH AVE SE                                                                BELLEVUE              WA           98006
    Jay I Klausner                                                         2110 Seward Drive                                                                Scotch Plains         NJ           07076
    JAY JIN                                                                1601 SANGAM-DONG MAPO-GU          501 KGIT SANGAM CENTER                         SEOUL                              121-913      South Korea
    JAY KAY KLEIN                                                          1233 PALMER CIRCLE                                                               BRIDGEPORT            NY           13030
                                                                                                             C/O INTERNATIONAL CREATIVE
    JAY KIRK                                                               825 EIGHTH AVE                    MANAGEMENT                                     NEW YORK              NY           10019
    JAY KLAUSNER                                                           2110 SEWARD DR                                                                   SCOTH PLAINS          NJ           07076
    Jay Krishnappa                                                         9012 Nelson Way                                                                  Columbia              MD           21045
    JAY MALLIN PHOTOS                                                      5500 FRIENDSHIP BLVD APT 2203 N                                                  CHEVY CHASE           MD           20815-7216
    Jay Powers                                                             207 NARRAGANSETT CT                                                              MORTON GROVE          IL           60053
    JAY STAKER                                                             721 CRESTWOOD DR                                                                 HUXLEY                IA           50124
    Jay Trujillo                            Jurupa High School             4850 Pedley Road                                                                 Jurupa Valley         CA
    JAYME L KEEFE                                                          32 UPPER PATTAGANSETT RD # 15                                                    EAST LYME             CT           06333
    JAYMIE GENOVESE                                                        1418 SW EDEN CT                                                                  TOPEKA                KS           66604
    Jayne Bensema                                                          1186 Trotwood Blvd.                                                              Winter Springs        FL           32708
    JAYNE HOVER                                                            549 CELTIC ASH RUN                                                               CIBOLO                TX           78108
    Jayne Schultz                                                          23450 Water St                                                                   Hampton               MN           55031
    JAYS PUBLISHERS SERVICE                                                90 ROCKLAND STREET                                                               HANOVER               MA           02339
    JAYS PUBLISHERS SERVICES INC            90 ROCKLAND STREET             P O BOX 922                                                                      HANOVER               MA           02339
    Jayson Huff                                                            6018 Foothills Dr                                                                Murfreesboro          TN           37129
    JBG RESTON HOTEL LLC                    DBA SHERATON RESTON HOTEL      11810 SUNRISE VALLEY DRIVE                                                       RESTON                VA           20191
    JBHM EDUCATION GROUP LLC                                               2525 LAKEWARD DRIVE, STE 200                                                     JACKSON               MS           39216
    JC CARRILLO INC                         DBA JCC ENTERPRISES INC        PO BOX 6146                                                                      SANTA FE              NM           87502
    JCCASAC-OCDE                            ATTN DAWNNA CASCELLI - OCDE    11095 KNOTT AVENUE, STE # L                                                      CYPRESS               CA           90630
    JEAN ALLMAN                                                            1314 MISSISSIPPI AVENUE                                                          SANT LOUIS            MO           63104
    JEAN ANDREWS                                                           172 MAR STREET                                                                   ST PETERSBURG BEACH   FL           33706
    Jean Anne B Olopai                                                     PO Box 500494                     Chalan Msgr Martinez Rd                        Saipan                             96950        MNP
    Jean Anne Olopai                                                       PO Box 500494                     Chalan Msgr Martinez Rd                        Saipan                             96950
    JEAN ARMSTRONG                                                         8107 BRIARWOOD LANE                                                              AUSTIN                TX           78757
    JEAN B OLOPAI                                                          P O BOX 500494                                                                   SAIPAN                             96950        N Mariana Islands
    Jean Banks                                                             24 Estabrook Road                                                                Lexington             MA           02421
    JEAN C GONZALEZ SANCHEZ                                                CALLE-6 E-9 COQUI 2                                                              CATANO                PR           00962
    JEAN C LAWLER                                                          101 CENTRAL ST                                                                   BYFIELD               MA           01922
    Jean Carlson                                                           105 Barb Blvd                                                                    DeKalb                IL           60115
    Jean Correll                                                           2617 NE 26th Ave                                                                 Fort Lauderdale       FL           33306
    Jean Dudley                                                            1130 Idylwyld Drive North                                                        Saskatoon             SK           S7K3R5       Canada
    JEAN E BROSS-JUDGE                                                     19118 TOWNLINE ROAD                                                              MINNETONKA            MN           55345
    JEAN FERRIS                                                            2500 SIXTH AVENUE 305                                                            SAN DIEGO             CA           92103
    Jean Fujita                                                            1110 Austin                       Apt. 2                                         Evanston              IL           60202
    Jean Harbour                                                           10012 Wildflower Lane                                                            Austin                TX           78733-3148
    JEAN JENKINS LOEWER                                                    185 LAKEWOOD DR                                                                  ASHEVILLE             NC           28803
    Jean Knox                                                              27 Wellesley Park                                                                Dorchester            MA           02124
    Jean Kosters                                                           2390 Westville Trail                                                             Cool                  CA           95614
                                            DBA JEAN LAIGHTON
    JEAN LAUGHTON                           PHOTOGRAPHY                    PO BOX 143                                                                       INTERIOR              SD           57750
    Jean Leonard                                                           11500 Jollyville Road             #2033                                          Austin                TX           78759
    JEAN M HAVERSTICK                                                      3009 TITANIC AVE                                                                 EL PASO               TX           79904
    JEAN M SHAW                                                            207 ST ANDREWS CIR                                                               OXFORD                MS           38655
    Jean Marie Guman                                                       4707 BROADWAY                                                                    UNIOIN CITY           NJ           07087
    Jean Monday                                                            4253 N. Central Park                                                             Chicago               IL           60618
    JEAN NOEL REICHEL                                                      10 PASSAGE TURQUETIL                                                             PARIS                              75011        France
    Jean Orecchio                                                          512 S ALLEN LANE                                                                 ARLINGTON HEIGHTS     IL           60005
    JEAN PATRICIA MASON                                                    176 SAINT BARBHOLOMEW ROAD                                                       HANOVER               PA           17331
    JEAN PAUL BLASKY FERNANDEZ                                             #348B CADIZ ST PONTEZUELA ST                                                     CAROLINA              PR           00979
    JEAN PENDER WILSON                                                     COLOMOS PROVIDENCIA               TUCUMAN 2983                                   GUADALAJARA JALISCO   Jalisco      44630        Mexico
    Jean Peters                                                            2238 Pioneer Rd.                                                                 Evanston              IL           60201
    JEAN PICKOW                                                            7A LOCUST AVENUE                  DBA GEORDIE MUSIC PUB                          PRT WASHINGTN         NY           11050
    Jean Stanish                                                           22w 705 Ahlstrand Rd.                                                            Glen Ellyn            IL           60137
    JEAN V NAGGAR LIT AGCY                                                 216 EAST 75TH STREET              SUITE 1E                                       NEW YORK              NY           10021

    JEAN V NAGGAR LITERARY AGENCY                                          216 EAST 75TH STREET # 1E                                                        NEW YORK              NY           10021



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                     209 of 488                                                                                           1:26 PM
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                                                                                                           Pg Creditor
                                                                                                               217 Matrix
                                                                                                                       of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName              Address1                           Address2              Address3            City            State       Zip            Country

    JEAN V NAGGAR LITERARY AGENCY                                          216 EAST 75TH STREET STE 1E                                                    NEW YORK            NY           10021
    Jean Van Vleck                                                         326 E Frank St                                                                 Norman              OK           73069
    JEAN W GILLET                                                          4 FAIRFIELD COURT                                                              PALMYRA             VA           22963
    Jean W. Kosters                                                        2390 Westville Trail                                                           Cool                CA           95614
    JEAN WARRINER MCLEMORE                                                 20307 NE INTERLACHEN LANE                                                      FAIRVIEW            OR           97024
    Jean Whitlinger                                                        2623 Aikin Circle North                                                        Lewis Center        OH           43035
    Jeanette Adamson                                                       2831 Oakmont Drive                                                             Montgomery          IL           60538
    Jeanette Cacciola                                                      1917 Honeybee Ln                                                               Leander             TX           78641
    JEANETTE CANNON                                                        243 IOWA ST                                                                    OAK PARK            IL           60302
    JEANETTE INGOLD                                                        6160 WILDCAT ROAD                                                              MISSOULA            MT           59802
    Jeanette M Lavaire                                                     4150 Portillo Rd.             Apt. #15                                         Spring Hill         FL           34608
    JEANETTE PIKE                                                          3157 W 20TH AVENUE                                                             GARRY               IN           46404
    JEANETTE PRUSKO                                                        919 ACORN DRIVE                                                                SLEEPY HOLLOW       IL           60118
    JEANETTE SWIGLER                                                       719 BEACHCOMBER DRIVE                                                          LYNN HAVEN          FL           32444
    JEANETTE WINTER                                                        35 WEST 92ND ST APT 9D                                                         NEW YORK            NY           10025
    JEANINE J SCINTA                                                       4989 COUNTY HIGHWAY 1                                                          ANDES               NY           13731
    JEANINE MOFFETT                                                        1009 MONTROSE STREET                                                           PHILADELPHIA        PA           19147
    Jeanine Shimer                                                         4520 N. Wolcott Ave.          Apt. 1a                                          Chicago             IL           60640

    JEAN-LOUP KHAYAT                        DBA DATAFLOW OFFSHORE LIMITED KHAYAT BLDG SIOUFI STREET                                                       ASHRAFIEH-BEIRUT                              Lebanon
    Jeanna Rowland                                                        490 Archer Lane                                                                 Kissimmee           FL           34746
    Jeanne Anderson                                                       1222 Ridgewood Street                                                           Orlando             FL           32803
    Jeanne Belin                                                          976 Vineridge Run              # 204                                            Altamonte Springs   FL           32714
    JEANNE BUNTIN                                                         1629 W QUITMAN                                                                  IUKA                MS           38852
    Jeanne Durost                                                         19 Grace Drive                                                                  Wilmington          MA           01887
    Jeanne Edwards                                                        2397 Dale Road                                                                  Huntingdon Valley   PA           19006
    JEANNE HELEN STEWART                                                  3228 MCCORMICK AVE                                                              WICHITA             KS           67213
    JEANNE K. HANSON LITERARY
    AGENCY                                                                 6708 CORNELIA DRIVE                                                            EDINA               MN           55435
    JEANNE L GLEASON                                                       36 BURCH DRIVE                                                                 MORRIS PLAINS       NJ           07950
    JEANNE M SHUTES                                                        986 EL CAJON WAY                                                               PALO ALTO           CA           94303-3408
    JEANNE MODESITT                                                        P O BOX 81                                                                     KNAB                UT           84741
    Jeanne Morile                                                          14422 grassy cove circle                                                       Orlando             FL           32824
    JEANNE PENVENNE                                                        162 OAK STREET                                                                 DUXBURY             MA           02331
    Jeanne Plunkett                                                        5701 Grand                                                                     Western Springs     IL           60558
    JEANNE R BOYNTON                                                       15377 SAMONS RD               C/O LAURIE BOYNTON                               BROOKSVILLE         FL           34601
    JEANNE REARDON                                                         205 STONINGTON RD                                                              SILVER SPRING       MD           20902
    Jeanne Weisberg                                                        14575 Bonaire Blvd            Bldg 5 Unit 501                                  Delray Beach        FL           33446
    JEANNE WILLIS                                                          4 ULLESWATER ROAD                                                              SOUTHGATE LONDON                 N14 7BS      United Kingdom
    Jeanne Wright                                                          105 West Lisa Drive                                                            Austin              TX           78752-3115
    JEANNETTE COSTER SMITH                                                 7819 BRIGHTON ROAD                                                             BRIGHTON            MI           48116
    Jeannette Larson                                                       72 Orange Street              5D                                               Brooklyn            NY           11201
    Jeannette McCree                                                       1731 Gurtler Court            Apartment 4                                      Orlando             FL           32804
    Jeannie Dennard                                                        27450 Clear Lake                                                               Eugene              OR           97402-9446
    JEANNIE WINSTON                                                        1239 11TH STREET                                                               SANTA MONICA        CA           90401
    JEANNINE D RICHISON                                                    689 PALOS VERDES DR                                                            MESQUITE            NV           89027-2561
    Jeannine Fons                                                          364 West St. Charles Road                                                      Lombard             IL           60148
    JEANPIERRE BOBBY                                                       13712 DORNOCH DRIVE                                                            ORLANDO             FL           32828
    JED RIFFE & ASSOCIATES                                                 2600 TENTH ST #438                                                             BERKELEY            CA           94710
    Jedtha Holdeman                                                        327 2nd Crown Point Rd                                                         Barrington          NH           03825
    JEFF ANGLE                                                             9801 E BAHIA                                                                   SCOTTSDALE          AZ           85260
    JEFF ATWATER CAMPAIGN                                                  P O BOX 14366                                                                  N PALM BEACH        FL           33408
    JEFF BENNETT                                                           3 BAYVIEW TERRACE                                                              NORTHPORT           NY           11768
    JEFF BYRNES                                                            17466 W BOCA RATON ROAD                                                        SURPRISE            AZ           85379
    Jeff Cachur                                                            8N604 Shady Lane                                                               Elgin               IL           60124
    JEFF CRESWELL                                                          4026 N E 32ND AVENUE                                                           PORTLAND            OR           97212
    Jeff Dannemiller                                                       336 Cannonade Circle                                                           Franklin            TN           37069
    JEFF DIEFFENBACH                                                       16 PLEASANT ST                                                                 WAYLAND             MA           01778
    JEFF GOLUB                                                             2705-202ND ST SE                                                               BOTHELL             WA           98012
    JEFF GORDON                                                            23575 HOLLY CIRCLE                                                             LEWES               DE           19958
    JEFF KISSELOFF                                                         17 WEST 10TH STREET           SERVICES                                         NEW YORK            NY           10011
    JEFF KOTERBA                                                           4912 CHICAGO ST                                                                OMAHA               NE           68132
    Jeff Ladwig                                                            25135 Park Lantern                                                             Dana Point          CA           92629
    JEFF LAVATY                                                            31 HORSESHOE ROAD                                                              WILTON              CT           06897
    JEFF MATHISON                                                          P O BOX 152                                                                    SPRING MILLS        PA           16875
    JEFF MCQUILLAN                                                         PO BOX 66577                                                                   LOS ANGELES         CA           90066
    JEFF MUNOZ                                                             1800 CENTENARY DRIVE                                                           RICHARDSON          TX           75081
    JEFF RENNICKE                                                          PO BOX 576                                                                     BAYFIELD            WI           54814
    Jeff Robinson                                                          206 N. San Marcos St.                                                          Buda                TX           78610



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    210 of 488                                                                                      1:26 PM
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                                                                                                             Pg Creditor
                                                                                                                 218 Matrix
                                                                                                                         of 519
                                                                                                                        First Class Service List


               CreditorName                           CreditorNoticeName                Address1                             Address2              Address3             City            State       Zip      Country
    JEFF ROGERS PHOTOGRAPHY INC                                            PO BOX 368                                                                         LEXINGTON            KY           40588
    Jeff Rybak                                                             707 INDIAN PAINT BLVD                                                              HORSESHOE BAY        TX           78657
    JEFF SMITH PHOTOGRAPHY LLC                                             11 SIXTH AVE                                                                       ATLANTIC HIGHLANDS   NJ           07716
    JEFFERSON ASSN OF PUBLIC SCH            ATTN PEGGY ROME - WOODLAND
    ADMINS                                  WEST ELEM                      2143 MARS STREET                                                                   HARVEY               LA           70058
    JEFFERSON COMMUNITY                                                    COFFEEN STREET                     COLLEGE BOOKSTORE                               WATERTOWN            NY           13601
    JEFFERSON COUNTY PUBLIC
    SCHOOLS                                                                2817 WEST KENTUCKY RD              ATTN LORI DEWBOYS-BOOKKEEPER                    LOUISVILLE           KY           40211

    JEFFERSON DAVIS PARISH SCHOOL SALES AND USE TAX DEPARTMENT             P O BOX 1161                                                                       JENNINGS             LA           70546
    Jefferson School District 251 Attn DeeAnn Arave                        201 Idaho Avenue                                                                   Rigby                ID           83442-1413

    JEFFERSON SCIENCE MAGNET SCH                                           75 VAN BUREN AVE                                                                   NORWALK              CT           06850

    JEFFERSON WELLS INTERNATIONAL                                          24091 NETWORK PLACE                                                                CHICAGO              IL           60673
    JEFFERY NEWBURY                                                        5686 LAKEVILLE HWY                                                                 PETALUMA             CA           94954
    JEFFERY S WILLIAMS                                                     8600 NW 56 STREET                                                                  CORAL SPRINGS        FL           33067
    JEFFREY A MOCK                                                         P O BOX 692561                                                                     ORLANDO              FL           32869-2561
    Jeffrey Anctil                                                         361 Hanover Street                                                                 Portsmouth           NH           03801
    JEFFREY BARACH                                                         2337 RIVER ROAD                                                                    WESTWEGO             LA           70094-3041
    Jeffrey Bouton                                                         54 Lesley Court                                                                    Pittsboro            NC           27312
    Jeffrey Byrd                                                           645 Selkirk Drive                                                                  Winter Park          FL           32792
    JEFFREY C HOFFMAN ESQ                                                  260 MADISON AVENUE                                                                 NEW YORK             NY           10016
    JEFFREY CLARKE                JEFF CLARKE PHOTOGRAPHY                  208 FLYNN AVE 3C                                                                   BURLINGTON           VT           05401
    JEFFREY CURLEY                DBA AUSTIN MODELS & TALENT               P O BOX 5191                                                                       ROUND ROCK           TX           78683
    Jeffrey D Boggs                                                        1629 White Dove Drive                                                              Winter Springs       FL           32708
    JEFFREY D CHUBB                                                        117 LA CRESENDA ST                                                                 VALLE JO             CA           94590
    Jeffrey E Federman                                                     1936 W Thomas                      Coach House                                     Chicago              IL           60622
    Jeffrey Eastep                                                         14432 Estrella Drive                                                               Orlando              FL           32837
    Jeffrey Erickson                                                       7812 53rd. Avenue North                                                            Minneapolis          MN           55428

    JEFFREY EVATT                                                          12118 WALNUT PARK XING APT 1138                                                    AUSTIN               TX           78753
    JEFFREY F REIMAN                                                       5430 S AUTUMN COURT                                                                GREENWOOD VILLAGE    CO           80111
    JEFFREY FISCHER                                                        269 WHITE RD                                                                       BOWDOINHAM           ME           04008
    JEFFREY G LAVAL                                                        19481 SIERRA SOTO ROAD                                                             IRVINE               CA           92603
                                                                           3520 NORTH LAKE SHORE DR, UNIT
    JEFFREY GOUMAS                                                         3F                                                                                 CHICAGO              IL           60657
    JEFFREY GUARD                                                          3967 S JASMINE STREET                                                              DENVER               CO           80237
    Jeffrey Guerra                                                         2914 Shipston Avenue                                                               New Port Richey      FL           34655-3720
    JEFFREY H HICKS                                                        9980 SW BUCKSKIN TERRACE                                                           BEAVERTON            OR           97008
    Jeffrey Herber                                                         17816 Graet Basin Ave                                                              Pflugerville         TX           78660
    Jeffrey Hohman                                                         90 Granville Way                                                                   Exton                PA           19341
    Jeffrey I. Sandman                                                     7979 East Tufts Avenue Parkway  Stanford Place II Suite 1050                       Denver               CO           80237
    JEFFREY K ROSE                                                         16675 SW 5TH WAY                                                                   WESTON               FL           33326
    JEFFREY KASTER                                                         1040 23rd AVE N                                                                    ST CLOUD             MN           56303
    Jeffrey L Labadie                                                      2869 S Locust St                                                                   Denver               CO           80222
    Jeffrey L Miller                                                       87 Hunnewell St                                                                    Needham              MA           02494

    JEFFREY L ROTMAN                        DBA JEFF ROTMAN PHOTOGRAPHY    53 GREEN AVENUE                                                                    LAWRENCEVILLE        NJ           08648
    Jeffrey L Toland                                                       1204 College Parkway               722                                             Lewisville           TX           75077
    JEFFREY L WARD INC                                                     12 ABBEY LANE                                                                      NORTH YARMOUTH       ME           04097
    JEFFREY M MACK                                                         36 ADAMS STREET                                                                    EASTHAMPTON          MA           01027
    JEFFREY M MITCHEM                                                      P O BOX 241                                                                        PARKIN               AR           72373-0241
    JEFFREY O KASBOHM                       DBA KASBOHM & COMPANY          1351 HAMPSHIRE AVE SO # 142                                                        ST LOUIS PARK        MN           55420
    Jeffrey OBrien                                                         53A MYRTLE ST                                                                      EVERETT              MA           02149-1533
    JEFFREY P DICKERT                                                      1148 BLEMERET STREET                                                               GREEN BAY            WI           54304
    Jeffrey Pettett                                                        2214 Bluewater Dr.                                                                 Wauconda             IL           60084
                                            DBA EDUCATIONAL CONSULTING
    JEFFREY PIONTEK                         SERVICES LLC                   94-810 MOLOALO STREET                                                              WAIPAHU              HI           96797
    JEFFREY RONALD MARSHALL                                                6200 WESTWOOD WAY                                                                  OAKLAND              CA           94611
    Jeffrey Ruscitti                                                       78 Silver Leaf Way                 4                                               Marlborough          MA           01752
    Jeffrey Rutter                                                         209 Arbor Dr. West                                                                 Palm Harbor          FL           34683
    JEFFREY S BRYANT                                                       32 TALBOT STREET                                                                   SALINAS              CA           93901-1925
    Jeffrey Shorter                                                        4528 Yuma Dr.                                                                      Indianapolis         IN           46241
    Jeffrey Slinde                                                         239 Abbotsford Court                                                               Glen Ellyn           IL           60137
    Jeffrey Smith                                                          213 Dodson Road                                                                    Troy                 MO           63379
    Jeffrey Squires                                                        8650 Us Route 42                                                                   Plain City           OH           43064
    Jeffrey Streber                                                        2911 Dover Place                                                                   Austin               TX           78757
    Jeffrey Sund                                                           31 E. Elm St.                      Apt. 2B                                         Chicago              MA           60611




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                       211 of 488                                                                                 1:26 PM
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                                                                                                                Pg Creditor
                                                                                                                    219 Matrix
                                                                                                                            of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                           Address2              Address3           City               State       Zip           Country

    JEFFREY TAYLER                          IPS                            511 AVE OF THE AMERICAS PMB 572                                                   NEW YORK              NY           10011
    Jeffrey Thomas                                                         1050 W. Ardmore                 #2                                                Chicago               IL           60660
    Jeffrey Thomas                                                         2012 Ancient Oak Dr                                                               Ocoee                 FL           34761
    Jeffrey Walsh                                                          11 Great Neck Drive                                                               Wilmington            MA           01887
    JEFFRY NORTHROP                                                        3 ROCKY HILL ROAD                                                                 YORK                  ME           03909
    JEFFRY W PARKER                                                        3234 DUNGARVAN DRIVE                                                              TALLAHASSEE           FL           32309
    JEFREY JONATHAN LOEB                                                   P O BOX 471810                                                                    SAN FRANCISCO         CA           94147
    JEKYLL ISLAND AUTHORITY                                                100 JAMES ROAD                                                                    JEKYLL ISLAND         GA           31527
    JEKYLL ISLAND CLUB HOTEL                                               1 BEACHVIEW DRIVE                                                                 JEKYLL ISLAND         GA           31527
    JENAE TILLEY                                                           6909 S PRAIRIE RD                                                                 STILLWATER            OK           74074
    Jeneanne Lawson                                                        P O BOX 3312                                                                      LAWTON                OK           73501
    Jenelle Taff                                                           11048 Clipper Court                                                               Windermere            FL           34786
    JENIFER STARK                           DBA BLUE ALVAREZ               300 SUMMER ST # 44                                                                BOSTON                MA           02210
    JENIFER STEELE                                                         2411 JEFFERSON AVE                                                                BERKELEY              CA           94703
    JENKINS & PAGE ASSOCIATES                                              1627 FIFTH ST                                                                     BOULDER               CO           80302
    JENKINS PETER                                                          1080 JESS MORTON LANE                                                             SPRING HILL           TN           37174
    JENKINS STEVE                           JENKINS & PAGE                 1627 FIFTH STREET                                                                 BOULDER               CO           80302
    Jenna Barclay                                                          1087 Tamarac Street                                                               Denver                CO           80230
    Jenna Bergeron                                                         687 Plymouth Street                                                               Whitman               MA           02382
    Jennie Dexter                                                          1566 80th St                                                                      Brooklyn              NY           11228
    JENNIE M BENNETT                                                       5422 BLYTHEWOOD                                                                   HOUSTON               TX           77021
    Jennie Torres                                                          2812 Primrose Court                                                               Orlando               FL           32803
    JENNIFER A ALBERTS                                                     4117 N WHITEHOUSE ST                                                              SPOKANE               WA           99205
    Jennifer A Carter                                                      2727 Odlum Drive                                                                  Schaumburg            IL           60194
    Jennifer A Mcgucken                                                    675 Gay Street                                                                    Westwood              MA           02090
    JENNIFER A VAUGHN                                                      606 W 1ST                                                                         PITTSBURGH            KS           66762
    JENNIFER A WILHARM DITSCH                                              844 VILLAGE QUARTER RD # B3                                                       WEST DUNDEE           IL           60118
    Jennifer A. Gilo                                                       24 Central St.                                                                    Somerville            MA           02143
    JENNIFER ALLISON HATAWAY                                               505 DRIFTWOOD RD                                                                  NORTH PALM BEACH      FL           33408
    JENNIFER ANN CARROW                                                    151 HURON ST, # 3                                                                 BROOKLYN              NY           11222
    JENNIFER ANN FARREY                                                    20842 INUSON ROAD                                                                 ROUND HILL            VA           20141
    JENNIFER B CONRAD                                                      1826 WHITE OAK AVE                                                                PARKVILLE             MD           21234
    JENNIFER B GREENE                                                      33-16 81ST STREET APT 1                                                           JACKSON HEIGHTS       NY           11372
    JENNIFER BAILEY                                                        3713 ESSEX AVENUE                                                                 ATLANTA               GA           30339
    JENNIFER BANACH                                                        1670 FARMINGTON AVE APT 8                                                         UNIONVILLE            CT           06085
    Jennifer Batchelder                                                    34 Dearborn Avenue                                                                Hampton               NH           03842
    Jennifer Bauer                                                         2124 NE 18 Avenue                                                                 Wilton Manors         FL           33305
    Jennifer Bauer                                                         6521 N. Talman Ave                                                                Chicago               IL           60645

    JENNIFER BENEDICT -APPLEWHITE                                          4110N RICHMOND ST APT 2 REAR                                                      CHICAGO               IL           60618
    Jennifer Benoit                                                        3817 Seminole Drive                                                               Orlando               FL           32812
    JENNIFER BLACK REINHARDT                                               345 KOSER AVENUE                                                                  IOWA CITY             IA           52246
    Jennifer C Littlefield                                                 10421 Estate Lane                                                                 Dallas                TX           75238
    Jennifer C Travis                                                      4552 Guilford Circle                                                              Hoover                AL           35242
    Jennifer Campbell                                                      107 Westward Cv                                                                   Austin                TX           78733
    Jennifer Cassle                                                        7513 Robert Kleburg Lane                                                          Austin                TX           78749
    JENNIFER CLARE                                                         115 HIGH ROAD                                                                     LEE                   NH           03861
    JENNIFER CLARK                                                         21 CRESENT RIDGE DR                                                               HATTIESBURG           MS           39402

                                                                                                                                                             DELAGACION
    JENNIFER CLEMENT                        TULIPAN 359 ESQUINA AZUCENA    COLONIA DEL TORO                                                                  MAGDALENA CONTRERAS   DF           10610        Mexico
    JENNIFER CONNER                                                        6616 FINCHLEY ROAD                                                                INDIANAPOLIS          IN           46250-2830
    Jennifer Cooper                                                        213 S LEE ST                                                                      FALLS CHURCH          VA           22046
    Jennifer D Cooper                                                      615 The Heights Lane                                                              Calera                AL           35040
    JENNIFER D MCDONALD                                                    1612 57TH COURT                                                                   MERIDIAN              MS           39305
    JENNIFER DEVEREAUX                                                     33A WESLEY STREET                                                                 NEWTON                MA           02458
    Jennifer Driscoll                                                      2114 Goodrich Ave                 #3                                              Austin                TX           78704
    Jennifer E Behar                                                       12849 Cloverdale Ln.                                                              Clermont              FL           34711
    Jennifer E Ricci                                                       2015 Crystal Shore Drive                                                          Austin                TX           78728
    JENNIFER E THERMES                                                     28 GREAT HILL ROAD                                                                NEWTOWN               CT           06470
    Jennifer Eason                                                         8018 Wicklow Hall Drive                                                           Matthews              NC           28104
                                            DBA JENNIFER ESPERANZA
    JENNIFER ESPERANZA                      PHOTOGRAPHY                    148 MESA VERDE                                                                    SANTA FE              NM           87501
    Jennifer Fett                                                          666 W. Oakdale Ave.               Apt. 4E                                         Chicago               IL           60657
    JENNIFER FREELAND                                                      2940 SALERNO WAY                                                                  DELRAY BEACH          FL           33445
    JENNIFER FRIER                                                         9813 PRAIRIE CREEK ROAD                                                           LENEXA                KS           66220
    Jennifer Garcia                                                        2115 Keepsake Drive                                                               Austin                TX           78745
    Jennifer Glass                                                         5650 Hurontario Street                                                            Mississauga           ON           L5R1C6       Canada
    Jennifer Glennon                                                       2 Brown Road                                                                      Great Neck            NY           11024



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      212 of 488                                                                                       1:26 PM
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                                                                                                               220 Matrix
                                                                                                                       of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                         Address2                         Address3               City          State        Zip            Country
    JENNIFER GRABIANSKI                                                    1214 W BORDERS DR                                                                            PALATINE            IL            60067
    Jennifer Grady                                                         192 Hogg Memorial Drive                                                                      Whitman             MA            02382
    JENNIFER GREENE                                                        33-16 81ST STREET #1                                                                         JACKSON HEIGHTS     NY            11372
    Jennifer Grinwald                                                      164 Old Upton Road                                                                           Grafton             MA            01519
    Jennifer Groves                                                        901 Garden St.                    Apartment 4                                                Hoboken             NJ            07030
    Jennifer Gwen Raimi                                                    900 Chicago Avenue                Unit 511                                                   Evanston            IL            60202
    Jennifer Haller                                                        99 Murray Street                  Apt 7E                                                     New York            NY            10007
    Jennifer Hamrick                                                       6812 Newcastle Pl                                                                            N Richland Hills    TX            76180
    JENNIFER HILL                                                          304 PALMETTO AVENUE, # 113                                                                   PACIFICA            CA            94044
    Jennifer Hingley                                                       310 21st Street East                                                                         Saskatoon           SK            S7K 1M7      Canada
    Jennifer Horsch                                                        1555 Lake Baldwin Lane            Apt C                                                      Orlando             FL            32814
    JENNIFER HUGHES MONTGOMERY                                             207 HICKOK ST                                                                                ROUND ROCK          TX            78681
    Jennifer Hurd                                                          6501 N. Greenview                 #2                                                         Chicago             IL            60626
    Jennifer Johnson                                                       260 Pacific Street                Apt. 25                                                    Brooklyn            NY            11201
    JENNIFER JORGENSEN                                                     146 SHOAL COVE W                                                                             BATH                ME            04530
    JENNIFER KAY                                                           7660 N 41ST                                                                                  AUGUSTA             MI            49012
    JENNIFER KEANE                                                         186 MAINSAIL DRIVE                                                                           GRAYSLAKE           IL            60030
    JENNIFER KELLER                                                        3011 SOUTH NORMAL AVENUE                                                                     CHICAGO             IL            60616
    Jennifer Kendrick                                                      7007 NW 95th Ave                                                                             Tamarac             FL            33321
    JENNIFER KIM                                                           1601 SANNGAM-DONG MAPO-GU         501 KGIT SANGAM CENTER                                     SEOUL                             123-913      South Korea
    Jennifer Kovacs                                                        811 Canterbury Lane                                                                          Kissimmee           FL            34741
    Jennifer L Bauer                                                       2124 NE 18 Avenue                                                                            Wilton Manors       FL            33305
    Jennifer L Buko                                                        2655 Cardassi Drive                                                                          Ocoee               FL            34761
    Jennifer L Byrne                                                       4408 Hawkhurst Drive                                                                         Plano               TX            75024
    Jennifer L Hitt                                                        1022 Twin Terrace                                                                            Round Rock          TX            78665
    Jennifer L Puk                                                         23 Station Dr.                                                                               Dover               NH            03820
    Jennifer L Rich                                                        2 Edward Circle                                                                              Londonderry         NH            03053
    JENNIFER L WILSON                                                      46600 ELLICOTT SQ # 201                                                                      STERLING            VA            20165
    Jennifer L. Green                                                      2224 Lockwood Drive                                                                          Carrollton          TX            75007
    Jennifer Lawrence                                                      10 Waterbury Lane                 Unit 2l                                                    Schaumburg          IL            60193
    JENNIFER LEAH AGUILAR                                                  4725 BIVENS DRIVE                                                                            RALEIGH             NC            27616
    Jennifer Leblanc                                                       17322 EMERALD ISLE DR                                                                        HOUSTON             TX            77095
                                                                                                                                                  DBA JENNIFER GECK
    JENNIFER LEE GECK                                                      P O BOX 721, 3838 SOUTH HILL RD                                        PHOTOGRAPHY           BURDETT             NY            14818
    JENNIFER LEIGH BAUER                                                   2124 NE 18th AVE                                                                             WILTON MANORS       FL            33305-2420
    JENNIFER LEIGH FESTER                                                  548 REESE AVENUE                                                                             EAST DUNDEE         IL            60118
    JENNIFER LITTLEFIELD                                                   10421 ESTATE LANE                                                                            DALLAS              TX            75238
    JENNIFER LOOPER                                                        504 WORCESTER ST                                                                             WELLESLEY           MA            02481
    JENNIFER LYNN PHILLIPS                                                 4238 NE PARK SPRINGS CT                                                                      LEES SUMMIT         MO            64064
    JENNIFER LYONS LITERARY
    AGENCY LLC                                                             151 WEST 19TH STREET                                                                         NEW YORK            NY            10011
    Jennifer M Janowski                                                    12749 Lake Sawyer Drive                                                                      Windermere          FL            34786
    Jennifer M Rodda                                                       14743 Tanja King Boulevard                                                                   Orlando             FL            32828
    JENNIFER M THOMAS                                                      912 CHRISTOPHER AVENUE                                                                       ROUND ROCK          TX            78681
    Jennifer M. Toomey                                                     159 Dawn Drive                                                                               Lansdale            PA            19446
    JENNIFER MCDONOUGH                                                     4351 LEICESTER CT                                                                            WEST PALM BEACH     FL            33409
    Jennifer McGucken
    JENNIFER MCGUCKEN                                                      675 GAY STREET                                                                               WESTWOOD            MA            02090
    JENNIFER MCMAHON CLARK                                                 7 DOBROYD ROAD                                                                               BALGOWLAH HEIGHTS   NSW           02093        Australia
    JENNIFER MCNEIL                         DBA SPEEDY SOLUTIONS LLC       P O BOX 528                                                                                  TROY                MO            63379
    JENNIFER MILLER                                                        381/2 GRANITE ST                                                                             NASHUA              NH            03064
    Jennifer Minoff                                                        10532 Eastpark Lake Drive                                                                    Orlando             FL            32832
                                                                           URB CASTELLANA GARDENS AA2
    JENNIFER MIRANDA AGUILAR                                               CALLE 23                                                                                     CAROLINA            PR            00983
    Jennifer Norman                                                        6205 Eagle Creek Drive                                                                       Flower Mound        TX            75028
    Jennifer Patrick                                                       925 Twining Place                                                                            St. Louis           MO            63119
    Jennifer Pettus                                                        9262 Kensington Row Ct.                                                                      Orlando             FL            32827
    Jennifer Probst                                                        1857 Walden Circle                                                                           Aurora              IL            60506
    JENNIFER R ANDREWS                                                     9047 LITTLE PRINCESS                                                                         CHRISTIANSTED       VI            00820
    Jennifer R Desrochers                                                  43 Commonwealth Avenue            Unit 5                                                     Boston              MA            02116
    Jennifer Rocchi                                                        10 Surrey Road                                                                               Winchester          MA            01890
    Jennifer Rockwood                                                      437 W. Aldine Avenue              20                                                         Chicago             IL            60657
    Jennifer Rosenzweig                                                    730 Gorham Street                                                                            Marshall            MI            49068
    JENNIFER S ALTMAN                                                      331 EAST 71ST STREET # 4B                                                                    NEW YORK            NY            10021
    JENNIFER S CASSIDENTO                                                  30 PARK STREET                                                                               S HAMILTON          MA            01982
    JENNIFER S RUSSELL                                                     116 WEBRE DRIVE                                                                              THIBODAUX           LA            70301
    Jennifer Sampson                                                       14103 Rutgers Avenue                                                                         Orlando             FL            32826
    Jennifer Schubach                                                      1606 Dove Drive                                                                              Orlando             FL            32803
    JENNIFER SERRAVALLO                                                    410 CENTRAL PARK WEST 1A                                                                     NEW YORK            NY            10025
    JENNIFER SEVIER                                                        11212 NW 102ND ST                                                                            YUKON               OK            73099



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                      213 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 221 Matrix
                                                                                                                         of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3                 City        State       Zip            Country
    Jennifer Simon Tabak                                                   318 North State Rd Apt 3D                                                       Briarcliff Manor     NY           10510
    Jennifer Smith                                                         935 Spaight St                  #3                                              Madison              WI           53703
    JENNIFER SPINNER                                                       900 DREXEL AVE                                                                  DREXEL HILL          PA           19026
    Jennifer Stouffer                                                      116 Briar Ln.                                                                   North Aurora         IL           60542
    Jennifer Sutherland                                                    21 Oriole Avenue                                                                Bronxville           NY           10708
                                            DBA RANCH HOUSE EDITORIAL
    JENNIFER SUTOR                          SERVICES                       500 N DAMEN AVE # 201                                                           CHICAGO              IL           60622
    Jennifer Svalbe                                                        9310 Station Circle                                                             Dedham               MA           02026
    JENNIFER TAYLOR COX                                                    408 ST IVES DR                  INNOVATIVE INSTRUCTION                          SEVERNA PARK         MD           21146
    Jennifer Tench                                                         83 Adelphi Street                                                               Brooklyn             NY           11205
    JENNIFER TILTON                                                        16 7TH STREET NE UNIT B                                                         WASHINGTON           DC           20002
                                                                           C ROSA W-23 JARDINES DE
    JENNIFER TORRES GUERRERO                                               BORINGUER                                                                       CAROLINA             PR           00985
    Jennifer Traversa                                                      210 Routh Ct                    Apt 201                                         Schaumburg           IL           60195

    JENNIFER VANDERWERKEN                   JENNIFER TABER VANDERWERKEN    4 SUMMIT AVE UNIT 2R                                                            SALEM                MA           01970
                                            DBA JENNIFER VAUGHN ARTIST
    JENNIFER VAUGHN                         AGENT                          1927 GRANT AVENUE                                                               SAN FRANCISCO        CA           94133
    JENNIFER W STABLER                                                     1 COLONIAL WOODS LANE, APT 1D                                                   GUILDERLAND          NY           12084
    Jennifer Waddell                                                       106 Dunster Road                Apt 2                                           Jamaica Plain        MA           02130
    JENNIFER WALWORTH                                                      501 WOODWORTH AVENUE                                                            MISSOULA             MT           59801
    JENNIFER WARZECHA                                                      8743 WELLES PARK                                                                SAN ANTONIO          TX           78240
    Jennifer Whitmarsh                                                     25 Stoney Creek Cove                                                            Lakeway              TX           78734
    Jennifer Wildman                                                       68 Plumosa Lane                                                                 Aptos                CA           95003
    JENNIFER WILLIAMS                                                      49 COPPER BEECH DRIVE                                                           PORTSMOUTH           RI           02871
    Jennifer Wingertzahn                                                   1 Colonial Woods Lane           Apt 1D                                          Guilderland          NY           12084
    Jennifer Yee                                                           21 Undine Road                                                                  Brighton             MA           02135
    JENNIFER YVONNE ADAMS                                                  98 SEABURY                                                                      HAMPTON              NH           03842
    Jennifer Zagarella                                                     358 Vane Street                                                                 Revere               MA           02151
    JENNIFER ZELENKA LA SALA                                               222 WEST SPRUCE STREET                                                          ORLANDO              FL           32804
    JENNINGS CHERYL                                                        1814 SKYLAND DRIVE                                                              TALLAHASSEE          FL           32303
    JENNINGS COUNTY PALLETS INC                                            P O BOX 307                                                                     NORTH VERNON         IN           47265
    JENNINGS COUNTY SCHOOLS                                                34 MAIN STREET                                                                  NORTH VERNON         IN           47265
    Jenny Boyd                                                             14536 Astina Way                                                                Orlando              FL           32837
    JENNY BROWN                             JENNY BROWN ASSOCIATES         33 ARGYLE PLACE                 JENNY BROWN ASSOCIATES                          EDINBURGH                         EH9 1JT      United Kingdom
    JENNY DARLING AND ASSOCIATE                                            BOX 413                                                                         TOORAK VICTORIA                   03142        Australia
    Jenny Garrett                                                          24 Teal Circle                                                                  Walpole              MA           02081
    JENNY GILL                                                             10513 N OAK HILLS PARKWAY # 8                                                   BATON ROUGE          LA           70810
    Jenny J Peel                                                           735-1/2 Hinman Ave              #3N                                             Evanston             IL           60202
    JENNY JENSEN GREENLEAF                                                 325 PLEASANT STREET                                                             CONCORD              NH           03301
    JENNY KILLGALLON                                                       12 ORTHORIDGE RD                                                                LUTHERVILLE          MD           21093
    JENNY M BENDER                                                         24 HAYES AVENUE                                                                 NORTHAMPTON          MA           01060
    Jenny Ramos                                                            5404 Bay Lagoon Circle                                                          Orlando              FL           32819
    Jennyfer Krech                                                         4613 Flatwood Lane                                                              Orlando              FL           32829
    JENS PLACE                                                             4455 ALPHA ROAD BLDG 1                                                          DALLAS               TX           75244
    JENSEN DANA C                                                          2302 WEST 50TH ST # 8                                                           MINNEAPOLIS          MN           55410
                                                                           122-5 YOUNGCHEON-RI DONGTAN-
    JEONGMOON INFORMATION CO LTD                                           MYEON                           HWASEONG-SHI                                    KYEONGGI-DO                       445813       South Korea
                                            DBA CHARLOTTE MARRIOTT
    JER CHARLOTTE HOTEL LLC                 EXECUTIVE PARK                 P O BOX 60301                                                                   CHARLOTTE            NC           28260-0301
    JERALD VINCENT WALKER                                                  45 SPRINGHILL AVENUE                                                            BRIDGEWATER          MA           02324
    JERDINE NOLEN                                                          9223 MARYDELL ROAD                                                              ELLICOTT CITY        MD           21042
    Jeremy Balfe                                                           401 Fayette Drive                                                               Oswego               IL           60543
    Jeremy C Walts                                                         4823 N. Hoyne Ave.              Unit 1                                          Chicago              IL           60625
    JEREMY DENTREMONT                                                      125 BLUEFISH BLVD                                                               PORTSMOUTH           NH           03801
    JEREMY JACKSON                                                         5102 STRAWBRIDGE ROAD NE                                                        IOWA CITY            IA           52240
    JEREMY K MARTIN                                                        605 PENBROOK STREET                                                             WESTERVILLE          OH           43082
    JEREMY RING CAMPAIGN                                                   7980 NW 82 TERRACE                                                              PARKLAND             FL           33067
    Jeremy Strykul                                                         8512 Tasmayne Place                                                             Orlando              FL           32810
    JEROME B MORIARTY                                                      51 W 28TH ST                                                                    NEW YORK CITY        NY           10001
    JEROME FEARING                          JERRY FEARING                  20200 QUINNELL AVE NORTH                                                        SCANDIA              MN           55073
    JEROME HARSTE                                                          100 HERITAGE ROAD                                                               BLOOMINGTON          IN           47405
    JEROME JELINCK                                                         440 W FRONT STREET                                                              TRAVERSE CITY        MI           49686
    Jerome Koering                                                         6 Irvine Park                                                                   St Paul              MN           55102
    Jerome OBrien                                                          1893 Fumay Drive                                                                Santa Rosa           CA           95403
    Jerome Pfeffer                                                         28 Battle Flagg Rd.                                                             Bedford              MA           01730
    JEROME R. KIRK                                                         33732 CHULA VISTA AVENUE                                                        DANA POINT           CA           92629
    Jerome Sealey-Ashford                                                  838 Hastings St                                                                 Baldwin              NY           11510
    JEROME THAYER                                                          2790 LAKELAND DRIVE                                                             BERRIEN SPRINGS      MI           49103
    Jerome Vaiana                                                          3642 Briggs Rd                                                                  Bloomfield           NY           14469



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    214 of 488                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                             222 Matrix
                                                                                                                     of 519
                                                                                                                    First Class Service List


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    JEROME W PFEFFER                                                       28 BATTLE FLAGG RD                                                                       BEDFORD             MA           01730
    Jeromey Brown                                                          10077 Portofino Drive                                                                    Orlando             FL           32832
    Jerreanne Parsons                                                      4529 Tower Grove Place                                                                   St. Louis           MO           63110
    Jerri Meisner                                                          14 Over Dam                                                                              Beaufort            SC           29906
    Jerrie Mcahren                                                         434 S Evergreen                                                                          Wichita             KS           67209
    JERRILYNN LAWLESS                                                      472 ADAMS AVENUE                                                                         STATEN ISLAND       NY           10306
    JERROD MCLAIN                                                          18114 RIVER ROAD                                                                         NATCHEZ             MS           39120
    JERROLD S GREENBERG                                                    9412 REACH ROAD                                                                          POTOMAC             MD           20854
    JERRY BAUER                                                            110 VIALE AVENTINO                                                                       ROME                             00153        Italy
    Jerry Brown                                                            3253 CEDAR BLUFFNE DR                                                                    MARIETTA            GA           30062-4474
    Jerry Cookus                                                           5461 NW 81ST TERRACE                                                                     LAUDERHILL          FL           33351
    JERRY JOHNSON                                                          62114 EAST 145 RD                                                                        FAIRLAND            OK           74343-1916
    JERRY L BARNETT                                                        8000 BLUFF RD                                                                            INDIANAPOLIS        IN           46217
    JERRY L FOX COLLECTOR                                                  201 MAIN STREET                                                     LINCOLN COUNTY       TROY                MO           63379
    JERRY L OSTERMILLER                                                    P O BOX 383                                                                              ASTORIA             OR           97103
    JERRY L WHITE SCHOOL                                                   14804 W MCNICHOLS                                                                        DETROIT             MI           48235
    Jerry Malone                                                           5 Hollis St.                                                                             Cambridge           MA           02140
    JERRY N NEAL                                                           7561 S MONACO WAY                                                                        CENTENNIAL          CO           80112
    JERRY PINKNEY                                                          41 FURNACE DOCK RD                                                                       CROTON-HDSN         NY           10520
    JERRY S FAUGHN                                                         209 WALNUT HILL DRIVE                                                                    RICHMOND            KY           40475
    JERRY SARQUIS                                                          1514 LUPINE ROAD                                                                         HEALDSBURG          CA           95448
    Jerry Sharp                                                            1135 Masters Parkway                                                                     Aurora              IL           60506
    JERRY SHORT                                                            207 RT 236                                                                               BERWICK             ME           03901
    Jerry Theise                                                           10 Wingate Road                                                                          Guilford            CT           06437
    JERSILD ROTH JULIE                                                     4027 ZENITH AVE SOUTH                                                                    MINNEAPOLIS         MN           55410
    Jerson Rivera                                                          905 James Trail                                                                          Lake Alfred         FL           33850
    JESS E HENDRICKS                                                       3405 HELMS ST #109                                                                       AUSTIN              TX           78705
    JESS ROW                                                               46 CHESTNUT STREET                                                                       PRINCETON           NJ           08542
    Jesse A Garcia                                                         516 Nichols Road # B                                                                     EL PASO             TX           79927
    JESSE BARNES                                                           16-24 SUMMERFIELD ST, APT 1R                                                             RIDGEWOOD           NY           11385
    Jesse C Campbell                                                       55 James Way                                                                             Scituate            MA           02066
    JESSE CHEHAK                                                           107 OLD GALISTEO ROAD                                                                    SANTA FE            NM           87508
    Jesse Fisher                                                           290 S. Melrose Ave.                                                                      Elgin               IL           60123
    Jesse Fulk                                                             5668 Irish Rd                                                                            Schuyler            VA           22969
    JESSICA A SUND                                                         P O BOX 1358                                                                             CANNON BEACH        OR           97110
    JESSICA ABEL                                                           517 47TH STREET FLOOR 2                                                                  BROOKLYN            NY           11220
    JESSICA CHAVEZ                                                         3929 W 242ND STREET APT 8                                                                TORRANCE            CA           90505
    Jessica D McQuade                                                      837 Neptune Pointe Lane                                                                  Kissimmee           FL           34744
    Jessica D. Queener                                                     2822 South Abingdon St         Apt. B2                                                   Arlington           VA           22206
    Jessica E Painter                                                      303 Melrose Avenue                                                                       Mill Valley         CA           94941
    Jessica Engman                                                         4296 S. Dawson Circle                                                                    Aurora              CO           80014
    JESSICA ENGSTROM CARLONI                                               22 SPRUCE STREET                                                                         SOMERWORTH          NH           03878
    JESSICA HAMILTON                                                       49 S FAIRFAX STREET                                                                      ALEXANDRIA          VA           22314
    Jessica Holland                                                        50 SUMMIT ST                                                                             WALTHAM             MA           02451
    JESSICA JACOBS                                                         1405 ROUND HILL ROAD                                                                     HARRISBURG          PA           17110
    JESSICA JOHNSON                                                        623 COLEMAN ST                                                                           CANTON              MS           39046
    Jessica L Engman                                                       4296 S. Dawson Circle          Apt # 1915                                                Aurora              CO           80014
    Jessica L Yodis                                                        321 Summit Ave                 8                                                         Brighton            MA           02135
    JESSICA LACROIX                                                        735 FERRY ROAD                                                                           CHARLOTTE           VT           05445
    JESSICA LOPEZ-ROSARIO                                                  1618 N KIMBALL                                                                           CHICAGO             IL           60647
    Jessica Martinez                                                       13908 Florigold Drive                                                                    Windermere          FL           34786
    JESSICA MCCAUGHEY                                                      5718 10TH ROAD NORTH #9                                                                  ARLINGTON           VA           22205
    JESSICA MOORE                                                          5217 CHICAGO STREET                                                                      OMAHA               NE           68132
    JESSICA POWELL                                                         201 RIVER POINTE DR #724                                                                 CONROE              TX           77304
    Jessica R Hubbard                                                      119 Appleton St.               Apt. #3                                                   Boston              MA           02116
    Jessica R Rubicam                                                      5513 Woodland RD.                                                                        Bartlesville        OK           74006
    JESSICA RADZAK                                                         2295 BRIARHILL DRIVE                                                                     NAPERVILLE          IL           60565
    JESSICA ROBIN HANDELMAN                                                2025 BROADWAY APT 30 H                                                                   NEW YORK            NY           10023
    Jessica Salazar                                                        3359 River View Way                                                                      Winter Park         FL           32792
    JESSICA SANNITO                                                        7909 COLORADO SPRINGS DR                                                                 SPRINGFIELD         VA           22153
    JESSICA SHERMAN                                                        413 RANDELL RD                                                                           NORTH FAYSTON       VT           05660
    Jessica Sicona                                                         5433 Lake Margaret Dr          #F                                                        Orlando             FL           32812
    JESSICA SINGER EARLY                                                   5631 SOUTH SPYGLASS ROAD                                                                 TEMPE               AZ           85283
    JESSICA SUZANNE FOWLER                                                 6916 PLAYPARK TRAIL WEST                                                                 JACKSONVILLE        FL           32244
    JESSICA WEISS                                                          12404 COUNTRY WHITE CIR                                                                  TAMPA               FL           33635
    JESSICA WOLFF                                                          8624 CARACAS AVENUE                                                                      ORLANDO             FL           32825
    Jessie C Dukes                                                         9772 Tivoli Chase Dr                                                                     Orlando             FL           32829-8125
    JESSIE E C REEDER                                                      311 NORRIS COURT APT 2N                                                                  MADISON             WI           53703
    Jessika Wettermark                                                     1612 Colorado Bend Rd                                                                    Cedar Park          TX           78613
    JESUS A ESPARZA                                                        1823 TARTON LANE                                                                         SAN ANTONIO         TX           78231



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                   215 of 488                                                                                                  1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              223 Matrix
                                                                                                                      of 519
                                                                                                                  First Class Service List


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    JESUS COLON                                                            PO BOX 1732                                                                  CAYEY                  PR           00737
    JESUS DE LA TEJA                                                       2405 TOULOUSE DRIVE                                                          AUSTIN                 TX           78748
    Jesus Esparza                                                          1823 Tarton Lane                                                             San Antonio            TX           78231
    JESUS GARCIA                                                           4101 PERFECT LURE STREET                                                     LAS VEGAS              NV           89129
    JESUS JIMENEZ R                                                        3750 BROADWAY APT 45                                                         NEW YORK               NY           10032
    JESUS M TORRES ORTIZ                                                   AVE AMERICO MIRANDA 1683     URB LAS LOMAS                                   SAN JUAN               PR           00921
    JESUS MORALES                           CALLE VENEZUELA I-24           URB VISTA DEL MORRO                                                          CATANO                 PR           00962
    Jetson Press Inc.                                                      2323 South Troy Street       Suite 5-254                                     Aurora                 CO           80014
    Jewell Murphy                                                          5129 N. Hartman Drive                                                        Indianapolis           IN           46226
    JEWELL PARKER RHODES                                                   10472 E TEXAS SAGE LANE                                                      SCOTTSDALE             AZ           85255
    JEWISH BOOK COUNCIL                                                    520 8TH AVE, 4TH FLOOR                                                       NEW YORK               NY           10018
    Jewish Family Service                                                  3330 West Esplanade          Suite 600                                       Metairie               LA           70002-3254
    JEWISH HERITAGE FESTIVAL INC                                           206 S SPRING GARDEN AVE                                                      DELAND                 FL           32720
    JEWISH MUSEUM IN PRAGUE                                                U STARE SKOLY 1                                                              PRAHA 1                             110 01       Czech Republic
    JEWISH PUBLICATION SOCIETY                                             2100 ARCH STREET                                                             PHILADELPHIA           PA           19103

    JEWISH WAR VETERANS OF USA INC                                         1811 R STREET NW                                                             WASHINGTON             DC           20009
    JEYAVEERAN RUTH                                                        324 CLINTON AVENUE                                                           BROOKLYN               NY           11205
    JF FLANNERY CO INC                                                     16430 BEAVER ROAD                                                            ADELANTO               CA           92301
    JF HOPE INC                    JANE D FOLEY                            2044 PALISADES DRIVE                                                         PACIFIC PALISADES      CA           90272
    JH REALTY TRUST                                                        58 PORTSMOUTH AVE                                                            STRATHAM               NH           03885
    Jhoann Rebolledo                                                       1032 Deer Creek Rd.                                                          Carpentersville        IL           60110
    JHUMPA LAHIRI                                                          218 EAST 14TH ST - #5-F                                                      NEW YORK               NY           10003
    Jian Yuan                                                              5803 S. Corona Drive                                                         Palatine               IL           60067
    Jill A Helser                                                          612 Grange Ct                                                                Dekalb                 IL           60115
    Jill A Locke                                                           2s839 Red Oak Drive                                                          Elburn                 IL           60119
    Jill Ann Slansky                                                       2910 S.E. 154Th Ave.                                                         Vancouver              WA           98683
    JILL ATKINS                                                            12 FERN ROAD                 STORRINGTON                                     W SUSSEX                            RH20 4LW     United Kingdom
    JILL B REMBAR                                                          9 SUNNYSIDE PLACE                                                            IRVINGTON              NY           10533
    Jill Cannon                                                            4773 Dunbarton Dr                                                            Orlando                FL           32817
    Jill D Wennlund                                                        1815 Evergreen Street                                                        St. Charles            IL           60174
    JILL DAVIDSON                                                          19634 23RD AVE NE                                                            POULSBO                WA           98370
    JILL DUFFY DEGOEDE                                                     7104 166TH AVENUE E                                                          SUMNER                 WA           98390
    JILL E AUFILL                                                          6302 FAWNWOOD DRIVE                                                          SPRING                 TX           77389
    Jill E. Lewis                                                          385 South 32nd Avenue                                                        Brighton               CO           80601
    Jill Elliot                                                            1 Candida Lane                                                               Acton                  MA           01720
    Jill Flanagan                                                          11301 ARCHSTONE DR                                                           AUSTIN                 TX           78739-1906
    JILL GRINBERG LIT MNGMT LLC                                            16 COURT STREET STE # 3306                                                   BROOKLYN               NY           11241
    JILL GRINBERG LITERARY MANGMT
    LLC                                                                    16 COURT ST - SUITE #3306                                                    BROOKLYN               NY           11241
    Jill Harden                                                            46 Maple Street Apt 5                                                        Dover                  NH           03820
    JILL L SANDERS                                                         250 HARMONY LANE                                                             NEWNAN                 GA           30263
    Jill L Weber                                                           3703 Glenneyre Dr                                                            Longmont               CO           80503
    Jill Lawson                                                            4607 Goliad Lane                                                             Austin                 TX           78745
    JILL LAZARUS EURICH                                                    7 WALNUT STREET                                                              NEWTON                 MA           02460
    JILL LEVY EDUCATIONAL
    PUBLISHING LLC                                                         7 BORDEN PLACE                                                               LIVINGSTON             NJ           07039
    Jill M. Lazer                                                          44 Hampstead Road            #1                                              Jamaica Plain          MA           02130
    JILL MAHRLIG PETIGARA                                                  1022 PIMLICO DRIVE                                                           EAST NORRITON          PA           19403
    JILL MCCORKLE                                                          1800 HALLS MILL ROAD                                                         HILLSBOROUGH           NC           27278
    Jill Petigara                                                          1022 Pimlico Drive                                                           East Norriton          PA           19403
    Jill R Saginario                                                       364 Riverway                 Unit 26                                         Boston                 MA           02115
    Jill Romano                                                            463 Cypress Drive            Unit B                                          Laguna Beach           CA           92651
    JILL S KELLY                                                           26 WORDSWORTH STREET                                                         PORTLAND               ME           04103
    JILL SISSON QUINN                                                      E 160 BESTUL ROAD                                                            SCANDINAVIA            WI           54977
    JILL SNYDER                                                            2352 CRANEFIELD RD                                                           CLINTON                UT           84015
    JILL SUZANNE HUGHES                                                    307 W PRAIRIE WALK LANE                                                      ROUND LAKE             IL           60073
    Jill Troy                                                              22 Wolcott Street                                                            West Medford           MA           02155
    Jillian Fouts                                                          3977 Covey Flush Court Sw                                                    Smyrna                 GA           30082
    JILLIAN POWELL                                                         LITTLE SOMERFORD             MILLS FARM                                      CHIPPENHAM WILTSHIRE   Wiltshire    SN15 5JW     United Kingdom
    JILLIAN TAMAKI                                                         573 LEONARD STREET APT 3                                                     BROOKLYN               NY           11222
    Jim Allen Telecom                                                      1816 S. Canosa Court                                                         Denver                 CO           80219
    JIM AVERBECK                                                           339 MONTEREY BLVD                                                            SAN FRANCISCO          CA           94131
    JIM BURKE                                                              140 GEURNSEY STREET #2                                                       NEW YORK               NY           11222
    JIM CUMMINS                                                            320 GLEN MANOR DR                                                            TORONTO                ON           M4E 2X7      Canada
    JIM CUMMINS STUDIO INC                                                 1527 13TH AVE                                                                SEATTLE                WA           98122
    JIM DOUGHERTY                                                          1446 BERKSHIRE AVENUE                                                        WINTER PARK            FL           32789
    Jim Jenkins                                                            46693 Glen Pointe Dr                                                         Shelby Township        MI           48315
    JIM LAMARCHE                                                           147 STOCKTON AVENUE                                                          SANTA CRUZ             CA           95060
    JIM MURPHY                                                             99 MAPLEWOOD AVE                                                             MAPLEWOOD              NJ           07040



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 216 of 488                                                                                          1:26 PM
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                                                                                                                       First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                          Address2                          Address3              City              State       Zip            Country
    JIM PAILLOT                                                                2334 E HURON COURT                                                                        GILBERT                 AZ           85234
    JIM PATTERSON                                                              302 SOUTH WOODROW STREET                                                                  COLUMBIA                SC           29205
    JIM REED PHOTOGRAPHY                                                       2100 MONTEREY COURT                                                                       COLUMBIA                SC           29206

    JIM SCHAAL CATERING INC                 DBA SCHAALS CATERING & EVENTS 717 13TH STREET SW                                                                             ROANOKE                 VA           24016
    JIM SCHERER PHOTOGRAPHY                 SCHERER STUDIO INC            1110 WASHINGTON STREET                                                                         DORCHESTER              MA           02124
    Jim Secula                                                            243 Harman St                      1R                                                          Brooklyn                NY           11237
    JIM SMITH                                                             310 SILVERLEAF COVE                                                                            BRANDON                 MS           39047
    JIM TIPTON                                                            1311 BIG HORN TRAIL                                                                            CAROL STREAM            IL           60188
    JIM WEST                                                              4875 THREE MILE DRIVE                                                                          DETROIT                 MI           48224
    JIM WHITMER                                                           125 WAKEMAN AVE                                                                                WHEATON                 IL           60187
    JIMENEZ FRANCISCO                                                     624 ENOS CT                                                                                    SANTA CLARA             CA           95051
    JIMENEZ ROBERT                                                        6012 ROBERT E LEE DRIVE                                                                        NASHVILLE               TN           37215
    Jimmie Higby                                                          830 Trojan Circle                                                                              Troy                    MO           63379
                                                                                                             C/O GELFAND RENNERT AND
    JIMMY BUFFETT                                                              1880 CENTURY PK E STE 1600    FELDMAN                                                     LOS ANGELES             CA           90067
    JIMMY DORANTES                          DBA LATIN FOCUS                    PO BOX 2551                                                                               ALPINE                  CA           91901
    JIMMY SANTIAGO BACA                                                        P O BOX 908                                                                               ABIGUIU                 NM           87510
    Jinmyeong Jeongjin School               RE 1601 Sangam-Dong (INTL SALES)   Yeo-Deok Yoon                 KGIT Sangam Center 1601              Sangam-dong, Mapo-gu   Seoul
    JINYAN LI                                                                  YORK UNIV/4700 KEELE ST       OSGOODE HALL LAW SCHOOL                                     TORONTO                 ON           M3J 1P3      Canada
    JIYE LEE                                                                   2352 W SHAKESPEARE # 2B                                                                   CHICAGO                 IL           60647
    JJ ELECTRONIC DEVICE INC                                                   128 RONALD DRIVE                                                                          MONTREAL                QC           H4X 1M8      Canada
    JK GROUP INC                                                               P O BOX 7174                                                                              PRINCETON               NJ           08543-7174
    JM NORTHERN MEDIA                       GREEN BOOK FESIVAL                 7095 HOLLYWOOD BLVD STE 864                                                               HOLLYWOOD               CA           90028
    JMARK INC OF CENTRAL FLORIDA            DBA MANPOWER                       P O BOX 860852                                                                            ORLANDO                 FL           32886-0852
    JMEDIA GROUP LLC                                                           5455 WILSHIRE BLVD # 1000                                                                 LOS ANGELES             CA           90036
    JMS INTEGRATED BUILDING
    SOLUTIONS LLC                                                              P O BOX 117147                                                                            CARROLLTON              TX           75011-7147
    JO ANN DAUZAT                                                              PO BOX 8                                                                                  RUSTON                  LA           71273-0008
    Jo Ann Kitowski                                                            6044 N. Austin Avenue                                                                     Chicago                 IL           60646
    JO ANN WOOD                                                                293 VANCE CIRCLE                                                                          MARIETTA                GA           30060
    JO ANNE F MORRISON                                                         1053 E MONTICELLO CIRCLE                                                                  FRESNO                  CA           93720
    JO BETH GONZALEZ                                                           12615 CROSS CREEK ROAD                                                                    BOWLING GREEN           OH           43402-9289
    JO BOALER                                                                  2034 COLUMBIA STREET                                                                      PALO ALTO               CA           94306
    JO BROOKER                                                                 NEW ROAD                      ORCHARD HOUSE                        LONG MELFORD           SUNBURY                 Suffolk      CO10 9JY     United Kingdom
    JO ELLEN SHOWERS                                                           100 WINSTON DR                                                                            MECHANICSBURG           PA           17055
                                            DBA NEW HORIZONS IN EDUCATION
    JO GUSMAN                               INC                           3101 MIRAMAR ROAD                                                                              SACRAMENTO              CA           95821
    JO MCCULTY                                                            53 N BRINKER AVE                                                                               COLUMBUS                OH           43204
    JOAN A KRAUSE                                                         1301 6TH AVE N                                                                                 SAUK RAPIDS             MN           56379
    Joan Ali                                                              2525 Sweet Oak Street                                                                          Ocoee                   FL           34761
    Joan Andreassen                                                       1302 Spencer Lane                                                                              Batavia                 IL           60510
    Joan Archer-Scott                                                     138 Walker Rd                                                                                  Swampscott              MA           01907
    JOAN BARON                                                            75 CENTRAL PARK WEST                                                                           NEW YORK                NY           10023
    JOAN BERNSTEIN                                                        756-8 AVENUE S                                                                                 NAPLES                  FL           34102
    Joan Bowman                                                           10500 ACADEMY RD NE                APT 105                                                     ALBUQUERQUE             NM           87111
    JOAN BRANCH WERBLIN                                                   1060 HEDGEROW CIRCLE                                                                           WAYNE                   PA           19087
    Joan Cook Newton                                                      209 Hillside Drive                                                                             Monroe                  NC           28112
    JOAN COUNTRYMAN                                                       118 BENEFIT STREET                                                                             PROVIDENCE              RI           02903
    Joan Coupland                                                         310 WAXWING                                                                                    NAPERVILLE              IL           60565
    JOAN DAVES LITERARY AGENT                                             21 WEST 26TH STREET                                                                            NEW YORK                NY           10010-1083
    JOAN DE SOUZA                                                         4169 MARIO CT                                                                                  PLYMOUTH                MI           48170
    JOAN ESTAPA                                                           337 ST GEORGE ST                                                                               BAY ST LOUIS            MS           39520
    JOAN EVANS                                                            55 PRINCE CHARLES DRIVE                                                                        TORONTO                 ON           M6A 2H4      Canada
    Joan G. Hershbell                                                     2126 Carter Avenue                                                                             St Paul                 MN           55108
    JOAN GALLAGHER BOLOS                                                  2300 SHERMER ROAD                  GLENBROOK N HIGH SCHOOL                                     NORTHBROOK              IL           60062
    JOAN GOTTLIEB                                                         251 SHADY HALLOW LANE                                                                          GARNER                  NC           27529-5049
    JOAN GROEBER                                                          3149 EAST HIGH STREET                                                                          SPRINGFIELD             OH           45505
    JOAN H CHARLES                                                        12710 PANAY DR                                                                                 HOUSTON                 TX           77048
    JOAN H MATHIE                                                         PO BOX 1236                        80 ARROW LANE                                               SOUTHOLD                NY           11971
    Joan Hazard                                                           39 Iffley Rd.                                                                                  Jamaica Plain           MA           02130
                                                                                                             SHEAPEAU STOW WHAPLODE
    JOAN HUDSON                                                                FERNDALE DOWSDALE BANK        DROVE                                                       SPALDING LINCOLNSHIRE                PE12 0TX     United Kingdom
    Joan Hudson
    JOAN J SPENCE                                                              881 MOCKINGBIRD DRIVE                                                                     HARRISONBURG            VA           22802
    JOAN JENNINGS                                                              7523 WOODVINE PLACE COURT                                                                 HOUSTON                 TX           77055
    JOAN K LUCAS                                                               25944 SAN RAFAEL COURT                                                                    HOWEY-IN-THE-HILLS      FL           34737
    JOAN LAZARUS                                                               6209 MORNING DEW RD                                                                       AUSTIN                  TX           78749
    JOAN M GREENE                                                              608 HARDWOOD CIRCLE                                                                       ORLANDO                 FL           32828
    JOAN M VAN BRAMER                                                          57 TORY HILL ROAD                                                                         HOOSICK FALLS           NY           12090



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      217 of 488                                                                                                       1:26 PM
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    JOAN MACRAE                                                            2 POINT AVENUE                                                                            BEAUMARIS          Victoria      03193        Australia
    JOAN MARCUS                                                            119 W 23RD STREET SUITE 509                                                               NEW YORK           NY            10011
    JOAN MELTON                                                            1 LANGDON STREET APT 212                                                                  MADISON            WI            53703
    JOAN MINEAU                                                            16 SHAKER DR                                                                              ALBANY             NY            12211
    Joan Murphy                                                            85 E India Row 9A                                                                         Boston             MA            02110
                                                                                                         MCDONALD INSTITUTE FOR
    JOAN OATES                                                             DOWNING STREET                ARCHAEOLOGICAL                        RESEARCH              CAMBRIDGE                        CB2 3ER      United Kingdom
    JOAN P GLYNN                                                           38 OAKLAND ST                                                                             MELROSE            MA            02176
    Joan Paulitzky                                                         255 North Road                Bld#3 Unit#226                                              Chelmsford         MA            01824
    JOAN PERONTO                                                           66 UNKAMET DRIVE                                                                          PITTSFIELD         MA            01201
    Joan Rigby                                                             56 E. NASHUA ROAD                                                                         WINDHAM            NH            03087
    JOAN ROBBINS                                                           4000 ISLAND BLVD, # 2901                                                                  AVENTURA           FL            33160
    JOAN SERVIS                                                            112 KNOLLWOOD DRIVE                                                                       CLEMSON            SC            29631
    JOAN SMALL                                                             13615 BELL DR                                                                             SAN ANTONIO        TX            78217
    Joan Tribble                                                           1 Capen Court                 Apt 223                                                     Somerville         MA            02144
    Joan Turnquist                                                         614 S Jackson Avenue                                                                      St Charles         IL            60174
    JOAN VIGLIOTTA                                                         50 DE MONTFORT AVE                                                                        SAN FRANCISCO      CA            94112
    JOAN WALSH ANGLUND                                                     192 CLAREMONT AVE #2A                                               C/O EMILY ANGLUND     NEW YORK           NY            10027
    Joan Warrick                                                           991 Mystic Harbor Dr                                                                      Jacksonville       FL            32225
    JOAN WATTS                                                             PO BOX 1551                   FOR SASAKI RUTH FULLER                                      LIVINGSTON         MT            59047
    Joan Werlinsky                                                         3 Newburg St                  #1                                                          Roslindale         MA            02131
    JOAN WICKERSHAM                                                        42 WALKER STREET                                                                          CAMBRIDGE          MA            02138
    Joan Wright                                                            20 Joshua Drive                                                                           Ramsey             NJ            07446
    JOANA CECE                                                             61-20 LINDEN STREET APT # 1                                                               RIDGEWOOD          NY            11385
    Joann Bussen                                                           435 Alcoa Ln                                                                              Hoffman Estates    IL            60194
    Joann C Garrido                                                        45 Garrison Road              #4                                                          Brookline          MA            02445
    JoAnn Fujioka, Ph.D.                                                   540 S. Forest Street, #K                                                                  Denver             CO            80246-8164
    Joann Hill                                                             170 Second Ave.               Apt. 6d                                                     New York           NY            10003
    JOANN PORTALUPI                                                        6 CAVERNO DR                                                                              LEE                NH            03824
    JOANN PREWITT                                                          5497 TURNING LEAF COVE                                                                    TUPELO             MS            38801
    Joann Rishel Kozyrev                                                   4501 E Burns St                                                                           Tucson             AZ            85711
    JOANNA ANGLIN                                                          5180 PRATT STREET SW                                                                      COVINGTON          GA            30014
    JOANNA COLE LIT AGENCY                                                 404 RIVERSIDE DR                                                                          NEW YORK           NY            10025
    Joanna Fowler                                                          3905 Bramblewood Ln                                                                       Titusville         FL            32780
    JOANNA HELANDER                                                        ERNST TORULFSGATAN                                                                        GOTEBORG                         416 73       Sweden
    JOANNA KALAFARSKI                                                      50 PINE HILL ROAD                                                                         NORTH SCITUATE     RI            02857
    JOANNA KIMBALL                                                         18 FORREST ST                                                                             PLAISTOW           NH            03865
    JOANNA M PAGAN                                                         URB SAGRADO CORAZON           CALLE SANTA BRIGIDIA 1634                                   SAN JUAN           PR            00926
    JOANNA PETERSON SOLINS                                                 144 HIGHLAND AVENUE                                                                       SAN FRANCISCO      CA            94110
    JOANNA QUEST-NEUBERT                                                   11 EVERETT ST NS                                                                          CAMBRIDGE          MA            02138
    Joanna V Masten                                                        169 Keelson Drive                                                                         Detroit            MI            48215
    JOANNA V SCOTT                                                         1525 HARDING ROAD                                                                         ANN ARBOR          MI            48104
    Joanne Burns                                                           38 Pleasant Hill Drive                                                                    Debary             FL            32713
    JOANNE CALDWELL                                                        N596 LYNN ROAD                                                                            RANDOM LAKE        WI            53075
    Joanne Campanella                                                      19 Bulkley Road                                                                           Sudbury            MA            01776
    JOANNE DEARCOPP                                                        1465 E PUTNAM AVENUE # 529                                                                OLD GREENWICH      CT            06870
    Joanne Fedorocko                                                       11 Providence Ave.                                                                        South Portland     ME            04106
    Joanne King                                                            3721 Aspen Lane                                                                           Chino Hills        CA            91709
    JOANNE L VILLA                          DBA JODY VILLA                 P O BOX 746                                                                               MI WUK VILLAGE     CA            95346
    Joanne M Dobransky                                                     10 Freedom Way                                                                            Shelton            CT            06484-5374
    Joanne M Karimi                                                        1502 St. Edmunds Place                                                                    Heathrow           FL            32746
    JOANNE M KOLTES                         DBA DIMENSION                  13420 MORGAN AVENUE SOUTH                                                                 BURNSVILLE         MN            55337
    JOANNE M MAYNARD                                                       8 SOUTHWINDS ROAD                                                                         MOODUS             CT            06469
    Joanne Macaulay                                                        8886 19TH STREET              #134                                                        ALTA LOMA          CA            91701
    JOANNE MINOR                                                           P O BOX 64                                                                                FAIRFAX            OK            74637
    JOANNE N WHITLEY                                                       8632 CONKLIN PL                                                                           CHARLOTTE          NC            28212
    JOANNE PEARSON                          DBA FAIR HAVEN PHOTOGRAPHS     101 NEWTON STREET                                                                         SOUTHBOROUGH       MA            01772
    Joanne S Martin                                                        4287 Raintree Blvd                                                                        Greenwood          IN            46143
    JOANNE SGROI                                                           20 NASH RD                                                                                ACTON              MA            01720
    JOANNE T HYPPOLITE                                                     6753 DOGWOOD DRIVE                                                                        MIRAMAR            FL            33023
    JOANNE WALEN                                                           2780 LEISURE WORLD                                                                        MESA               AZ            85206
    JOANNE YATVIN                                                          5226 SW NORTHWOOD AVE                                                                     PORTLAND           OR            97239
    JOBS2WEB INC                                                           P O BOX 671652                                                                            DALLAS             TX            75267-1652
    JOCELYN HUBLAU PARKER                   DBA DID THIS ONE               1375 MIDVALE AVE APT 305                                                                  LOS ANGELES        CA            90024
    Jocelyn Peavy                                                          1251 W. Lake Street           Unit 306                                                    Addison            IL            60101
    Jodette Bender                                                         180 S. Waters Edge            Unit 102                                                    Glendale Heights   IL            60139
    JODI A ATTAR                                                           3238 HOLLINSWOOD CT                                                                       CROWN POINT        IN            46307
    JODI PETERS                                                            316 N CHARLES ST                                                                          SAGINAW            MI            48602
    JODI RHEA BARTLEY EASTBERG                                             2515 N TERRACE AVENUE                                                                     MILWAUKEE          WI            53211
    Jodie Hein                                                             37 Randolph Pl.                                                                           Ridgewood          NJ            07450



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                   218 of 488                                                                                                  1:26 PM
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                                                                                                                          of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                     Address2              Address3            City              State       Zip            Country
    JODY BINTZ                                                               27030 BEECHNUT RD                                                            TREYNOR             IA             51575
    JODY HAGEN-SMITH                                                         9000 LITTLE BROOK                                                            ANCHORAGE           AK             99507
    JODY KYLE FRANK                                                          PO BOX 4208                                                                  ROANOKE             VA             24015-0208
    JODY L MCSWAIN                                                           2317 19TH AVE                                                                KENOSHA             WI             53140
    JODY PRATT                                                               2984 5TH ST                                                                  SHELBYVILLE         MI             49344
    Joe Andress                                                              P.O. BOX 11488                                                               MONTGOMERY          AL             36111
    JOE B MCLAREN                                                            4 CHURCH COTTAGES CHURCH ST                                                  HIGHAM ROCHESTER    Kent                        United Kingdom
    JOE BODDY                                                                5375 SKYWAY DR                                                               MISSOULA            MT             59804-9252
    JOE BOWER                                                                2034 SAXONIA LANE                                                            KALAMAZOO           MI             49008
    Joe Campbell                                                             3492 West Quincy Avenue                                                      ENGLEWOOD           CO             80110
    JOE CASAREZ                                                              720 E MAGILL AVENUE                                                          FRESNO              CA             93710
    JOE CEPEDA                                                               5429 CADBURY ROAD                                                            WHITTIER            CA             90601
    JOE CRIM                                                                 399 PARKWAY DR                                                               ATHENS              GA             30606-4951
    JOE E MILLER                                                             100 CUNNINGHAM BLVD                                                          BOONEVILLE          MS             38829
    JOE H LUNN                                                               399 PARK VIEW DR                                                             DETROIT             MI             48214
    JOE KISSELL                             ALT CONCEPTS                     14525 SW MILLIKAN # 37000                                                    BEAVERTON           OR             97005
    JOE NEGRON CAMPAIGN                                                      P O BOX 1816                                                                 STUART              FL             34995
    JOE R LANSDALE                                                           199 CR 508                                                                   NACODOCHES          TX             75961
    JOE SACCO                                                                4105 SE BYBEE BLVD                                                           PORTLAND            OR             97202
    Joe Salutric                                                             1611 Fox Trail Drive                                                         Batavia             IL             60510

    JOE T GARCIA ENTERPRISES INC            DBA JOE T GARCIA S RESTAURANT    PO BOX 4429                                                                  FORT WORTH          TX             76164
    JOE WARREN & SONS CO INC                                                 916 PLEASANT ST # 18                                                         NORWOOD             MA             02062
    Joe Youngberg                                                            1606 Cypress Point Cir                                                       Brookings           SD             57006
    JOEL A ROGERS                           DBA COASTERGALLERY.COM           17191 YELLOW ROSE WAY                                                        PARKER              CO             80134

    JOEL BENNETT                            DBA JOEL BENNETT PRODUCTIONS 15255 POINT LOUISA RD                                                            JUNEAU              AK             99801
    JOEL C HARRIS FAMILY TRUST              JAMES N GRANT JR AS TRUSTEE   2 ST SIMONS SQUARE                                                              GREENSBORO          NC             27408
    JOEL CHANG                                                            522 NORTH I STREET APT 308                                                      TACOMA              WA             98403
                                            C/O LEVINE GREENBERG LITERARY
    JOEL CROHN                              AGENCY                        307 SEVENTH AVE, STE 2407                                                       NEW YORK            NY             10001
    Joel Grace                                                            1207 West Keating                                                               Arlington Heights   IL             60005
    JOEL HILLMAN                                                          23 LINDEN TERRACE                                                               LEONIA              NJ             07605
    JOEL HOLLAND                                                          FIFTH AVE #2                                                                    BROOKLYN            NY             11217
    Joel Hollenbeck                                                       16316 Cardross Lane                                                             Huntersville        NC             28078
    Joel K. Hansen                                                        1050 North Stuart Street, #515                                                  Arlington           VA             22201
    JOEL MAYES                                                            351 PLEASANT DRIVE                                                              WARREN              PA             16365
    Joel Pabona                                                           2723 Havens Dr.                                                                 West Chicago        IL             60185
    JOEL SARTORE INC                                                      2733 SHERIDAN BLVD                                                              LINCOLN             NE             68502
    Joeleen Ornt                                                          10700 Macmora Road               #108                                           Austin              TX             78758
    JOELLE DELBOURGO ASSOCIATES
    INC                                                                      101 PARK STREET                                                              MONTCLAIR           NJ             07042
    Joeshea W Fingers                                                        3715 N. Erin Drive                                                           Indianapolis        IN             46235
    JOEY ALISON SAYERS                                                       PO BOX 12302                                                                 BERKELEY            CA             94712
    Joey B Allen                                                             575 Flat Shoals SE            Unit 5                                         Atlanta             GA             30316
    JOHANNA G CARPENTER                                                      109 WOODLAKE RUN                                                             YORKTOWN            VA             23692
    Johannah A Lugo                                                          1073 Chelsea Parc Dr                                                         Minneola            FL             34715
    JOHANNAH LEE MORGEN                                                      2A WILLOW AVE. #1                                                            SALEM               MA             01970
    JOHANNES G M THEWISSE                                                    338 WOODWARD AVE                                                             KENT                OH             44240
    JOHN A EASTON                                                            P O BOX 763                                                                  DEDHAM              ME             04429
    JOHN A MAISANO                                                           7009 DANWOOD DRIVE                                                           AUSTIN              TX             78759
    JOHN A MAXWELL                          DBA BLUEMAX ADVERTISING          5746 LOGAN PARK DR                                                           SPRING              TX             77379

    JOHN A MCGRAIL                          DBA JOHN MCGRAIL PHOTOGRAPHY 6576 SENATOR LANE                                                                BENSALEM            PA             19020-1960
    JOHN A NELSON                                                        132 EAST 35 STREET # 15 F                                                        NEW YORK            NY             10016
    JOHN A PLONKEY                                                       722 CATTS TAVERN DRIVE                                                           ALEXANDRIA          VA             22314
    John A Stahl                                                         1731 Greenwood                    Street                                         Evanston            IL             60201
                                            DBA JOHN A WARE LITERARY
    JOHN A WARE                             AGENCY                       392 CENTRAL PARK W                                                               NEW YORK            NY             10025
    JOHN A WARE LITERARY AGENCY             392 CENTRAL PARK W           SUITE 1B                                                                         NEW YORK            NY             10025
    John Abbott                                                          187 Putnam Ave                                                                   Cambridge           MA             02139
    John Abner                                                           40W039 Fabyan Parkway                                                            Elburn              IL             60119
    John Ade                                                             115 South Mountain Road                                                          New City            NY             10956
    JOHN ADLER                              DBA HARPWEEK LLC             75 SILO CIRCLE                                                                   RIVERSIDE           CT             06878
    John Ahearn                                                          73 Pocahontas St                                                                 Walpole             MA             02081
    John Anderson                                                        17027 Holtz Road                                                                 Lowell              IN             46356
    John Angeny                                                          140 Christopher Lane                                                             Coatesville         PA             19320
    JOHN AUTERY                                                          7234 CO RD 55                                                                    DIXON MILLS         AL             36736
    JOHN B BURWELL III                                                   6208 30TH ST NW                                                                  WASHINGTON          DC             20015
    JOHN B CONWAY                                                        1525 ALDRICH                                                                     WICHITA FALLS       TX             76302



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   219 of 488                                                                                         1:26 PM
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                                                                                                               227 Matrix
                                                                                                                       of 519
                                                                                                                       First Class Service List


                  CreditorName                        CreditorNoticeName                   Address1                         Address2                        Address3                     City            State       Zip             Country
    JOHN B MOCKLER & ASSOCIATES                                            1215 K STREET, STE 1010                                                                           SACRAMENTO            CA            95814
    John Baack                                                             15 Appian Drive                                                                                   Wellesley             MA            02481
    John Bartlett                                                          8 Sutcliffe Avenue                                                                                Canton                MA            02021
    John Benson                                                            115 Hockessin Drive                                                                               Hockessin             DE            19707
    John Bookhout Jr.                                                      1036 East Geneva                                                                                  Tempe                 AZ            85282
    John Bowmar                                                            306 West Elm Street               Apt #11                                                         Brockton              MA            02301
    John Brown University                   Mindy Stevenson/Intl Ofc       2000 S. University St                                                                             Siloam Springs        AR            72761
    John Buckland                                                          449 Hill Street                                                                                   Northville            MI            48167
    JOHN BURLAND                            DBA OVATION MUSIC SERVICES     PO BOX 402                                                                                        EARLWOOD              NSW           02206        Australia
    JOHN BURROUGHS ASSOCIATION                                                                                                                    AT THE MUSEUM OF NATURAL
    INC                                                                    15 WEST 77TH STREET                                                    HISTORY                    NEW YORK              NY            10024
    JOHN C STEICHEN                                                        1735 FLINT HILL ROAD                                                                              LANDENBERG            PA            19350-9653
    John C. Van Pelt                                                       373 Johelia Trail                                                                                 Antioch               IL            60002-2505
    JOHN CAGE TRUST                                                        15 OLD WHALESBACK ROAD            BARD COLLEGE                                                    RED HOOK              NY            12571
    JOHN CALDWELL                                                          1017 BALLSTON LAKE ROAD                                                                           BALLSTON LAKE         NY            12019
    John Canillas                                                          37026 High Vista Drive                                                                            Murrieta              CA            92563
    John Carbone                                                           10 Adams St                                                                                       Charlestown           MA            02129
    JOHN CARROZZA                                                          56 MAQUAN STREET                                                                                  PEMBROKE              MA            02359
    JOHN CHILTON                                                           3 GREAT ORMOND STREET                                                                             LONDON                              WC1 N3RA     United Kingdom
    John Cilli                                                             6 Blue Star Drive                                                                                 Gilette               NJ            07933
    JOHN CLARENCE WOLTERS                                                  1708 SHEFFIELD CIRCLE                                                                             MANHATTAN             KS            66508
    JOHN COULTER JR & BARBARA                                                                                DATED MAY 23 2011- BARBARA R
    COULTER                                 REVOCABLE TRUST                9000 E SAN VICTOR DRIVE # 166     COULTER -TR                                                     SCOTTSDALE            AZ            85258
    JOHN CREGER                                                            1514 HOLLY STREET                                                                                 BERKELEY              CA            94703
    JOHN D BUENKER                          U OF WISCONSON PARKSON         227 WILLIAMS ST                                                                                   RACINE                WI            53402
    JOHN D COOKSON                                                         P O BOX 901316                                                                                    SANDY                 UT            84090
    John D Elkins                                                          6105 Thrushwood                                                                                   Indianapolis          IN            46250
    John D Fox                                                             1559 Coolidge Ave                                                                                 Roslyn                PA            19001
    John Dally                                                             18717 Westside Hwy Sw                                                                             Vashon                WA            98070
    John Dellanini                                                         2431 East Wesley Avenue                                                                           Denver                CO            80210
    JOHN DEMADO                                                            125 SOUTH COLLIER BLVD B202                                                                       MARCO ISLAND          FL            34145
    John Dumaresq                                                          394 MARSH HILL ROAD                                                                               DRACUT                MA            01826
    John E Dumaresq                                                        394 MARSH HILL ROAD                                                                               DRACUT                MA            01826
    JOHN E MCCOOK                                                          125 ESSEX DRIVE                                                                                   KNOXVILLE             TN            37922
    JOHN EISENBERG                                                         715 SONELEIGH ROAD                                                                                BALTIMORE             MD            21212
    JOHN EKIZIAN                                                           407 W 44TH STREET 3E                                                                              NEW YORK              NY            10036
    John Ellsworth                                                         1217 Foulkeways                                                                                   Gwynedd               PA            19436
    John Evans                                                             69 Carter Drive                                                                                   Tolland               CT            06084
    JOHN F CORSO                                                           3201 MAIN ST                                                                                      MEXICO                NY            13114-4304
    JOHN F KILLIAN                                                         336 BOYLSTON ST UNIT 201                                                                          NEWTON                MA            02459
    JOHN F MAGEE                                                           51 LEWIS RD                                                                                       CONCORD               MA            01742-1608
    JOHN F POLLARD                                                         TRINITY HALL, TRINITY LANG                                                                        CAMBRIDGE                           CB2 1TJ      United Kingdom
    John F. Griffin Iii                                                    6 Barnboard Rd                                                                                    Mansfield             MA            02048
    John Ferlisi                                                           37 Sherman Place                                                                                  Woburn                MA            01801
    John Ford                                                              6051 Pine Terrace Drive                                                                           Austell               GA            30168
    JOHN FORLITI                                                           1130 NORTH OXFORD STREET                                                                          SAINT PAUL            MN            55103
    JOHN FRANCIS DRISCOLL                                                  P O BOX 29                                                                                        INTERLOCHEN           MI            49643
    JOHN FREEMAN-MOIR                                                      43 FISHER AVENUE                                                                                  CHRISTCHURCH 2                                   New Zealand
                                                                           5742 N CHRISTIANA ST UNIT 2
    JOHN G SANDFORD                                                        SOUTH                                                                                             CHICAGO               IL            60659
    JOHN GAUGHAN                                                           2140 YORKTOWN CENTER                                                                              FAIRFIELD             OH            45014
    John George                                                            5725 Tawakoni Drive                                                                               Argyle                TX            76226
    JOHN GILLMOURE                          JOHN GILLMOURE PHOTOGRAPHY     1301 HERITAGE WAY                                                                                 OAKVILLE              ON            L6M 3E1      Canada
                                            MUSEUM FOR AFRICAN AMERICAN
    JOHN GILMORE RILEY CENTER               HISTORY                        419 EAST JEFFERSON STREET                                                                         TALLAHASSEE           FL            32301
    John Girouard                                                          44 Janebar Circle                                                                                 Plymouth              MA            02360
    JOHN GOODMAN PHOTOGRAPHY                                               P O BOX 81301                                                                                     WELLESLEY             MA            02481-0003
    John Grzybek                                                           3446 Arbutus Lane                                                                                 Winter Park           FL            32792
    JOHN H FRISCHIE                                                        507 N ADE STREET                                                                                  KENDLAND              IN            47951
    JOHN H PLUNKETT                                                        562 CHISHOLM CT                                                                                   ROSELLE               IL            60172
    JOHN HALL                               1 ST ANTHONYS WAY              RUSTINGTON LITTLEHAMPTON                                                                          WEST SUSSEX ENGLAND                 BN16 3EA     United Kingdom
    JOHN HANCOCK LIFE INSURANCE
    COMPANY                                                                P O BOX 7247-0274                                                                                 PHILADELPHIA          PA            19170-0274
    John Hanzalik                                                          6529 87th Ave                                                                                     Kenosha               WI            53142

    JOHN HAWKINS & ASSOCIATES, INC. 71 WEST 23RD STREET                    SUITE 1600                                                                                        NEW YORK              NY            10010
    JOHN HAWKINS AND ASSOCIATES                                            71 WEST 23RD ST STE 1600                                                                          NEW YORK              NY            10010
    JOHN HAWKINS AND ASSOCIATES
    INC                                                                    71 WEST 23RD STREET, SUITE 1600   ATTN JOHN HAWKINS                                               NEW YORK              NY            10010
    JOHN HAWKINS ASSOCIATES INC                                            71 WEST 23RD ST STE 1600                                                                          NEW YORK              NY            10010



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                      220 of 488                                                                                                          1:26 PM
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                                                                                                                       of 519
                                                                                                                        First Class Service List


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    JOHN HEMMING                                                            10 EDWARDS SQUARE                                                                                     LONDON                           W8 6HE       United Kingdom
    JOHN HENLEY PHOTOGRAPHY                                                 0 EAST 4TH STREET, STUDIO 20                                                                          RICHMOND            VA           23224
    JOHN HENRY FOSTER COMPANY                                               P O BOX 419161                                                                                        CREVE COEUR         MO           63141-9161
    John Herington                                                          309 WALTZING BROOK CT                                                                                 WEATHERFRORD        TX           76085
    John Hoffman                                                            2731 Austin Drive                                                                                     Lincoln             NE           68506
    John Holtet                                                             31D Stoney Brook Drive                                                                                Montana City        MT           59634
                                                                                                                                                   MILLERSVILLE UNIVERSITY, CAPUTO
    JOHN HOOVER                                                             50 EAST FREDERICK STREET          DEPARTMENT OF BIOLOGY                HALL                            MILLERSVILLE       PA           17551

    JOHN HOPKINS UNIVERSITY PRESS                                           2715 N CHARLES ST                                                                                     BALTIMORE           MD           21218
    JOHN HOYLE                                                              5268 OLD SHELL ROAD                                                                                   MOBILE              AL           36609-2827
    JOHN HUEHNERGARD                                                        1 UNIVERSITY STATION, F9400       UNIVERSITY OF TEXAS                                                 AUSTIN              TX           78712
    JOHN HYDE                               DBA WILD THINGS PHOTOGRAPHY     P O BOX 34517                                                                                         JUNEAU              AK           99803
    John J Bednar                                                           7637 Pacific Heights Circle                                                                           Orlando             FL           32835
    John J Bello                                                            21 Ashmont Ave                                                                                        Newton              MA           02458
    John J Canillas                                                         37026 High Vista Drive                                                                                Murrieta            CA           92563
    JOHN J DEADY JR                                                         10 CARINA ROAD                                                                                        NORTHBOROUGH        MA           01532
    JOHN J HOUSTON                                                          5455 INGLIS STREET                                                                                    HALIFAX             NS           B3H 1J6      Canada
    John J Kopcak                                                           265 Gentle Breeze Cir.                                                                                Fredericksburg      VA           22406
    JOHN J ORTIZ                            CALLE MARGARITA SUR AA 35       UTA SECCIDU LEVITTOWN                                                                                 TOA BAJA            PR           00949
    JOHN J PIKULSKI                                                         12 DAWN MEADOW LANE                                                                                   NEWARK              DE           19711
    JOHN J SIGAL                                                            #411-6595 MACKLE ROAD                                                                                 COTE ST LUC         QC           H4W 2Y1      Canada
    JOHN JACKSON                            DBA SAN DIEGO GLASS COATING     4569 F MISSION GORGE PL                                                                               SAN DIEGO           CA           92120
    JOHN JAKES                                                              445 MEADOW LARK DRIVE                                                                                 SARASOTA            FL           34236
    John Jay Bonstingl                                                      P.O. Box 810                                                                                          COLUMBIA            MD           21044
    JOHN JUDE PALENCAR                                                      3435 HAMLIN ROAD                                                                                      MEDINA              OH           44256
    John K Dragoon                                                          9 Gable Ridge Road                                                                                    Westborough         MA           01581
    JOHN KEAY DAVIDSON                                                      259 UPPER TERRACE # 3                                                                                 SAN FRANCISCO       CA           94117-4515
    JOHN KENNETH GALBRAITH TRUST
    (QTIPMA)                                c/o TRUST CO TRUSTEE            845 ALEXANDER ROAD                                                                                    PRINCETON           NJ           08543
    JOHN KENNY                                                              90 WINDING WOOL APT 6-A                                                                               SAYREVILLE          NJ           08872
    John Kerwin                                                             364 Surber Drive                                                                                      San Jose            CA           95123
    JOHN KISSEN HEASLIP                                                     135 WILLOW STREET                                                                                     BROOKLYN            NY           11201
    JOHN KNIGHT WATERS JR                                                   400 ESSEX STREET, P.O. BOX 5600                                                                       BEVERLY FARMS       MA           01915
    John Koonz                                                              12824 A Tomanet Trail                                                                                 Austin              TX           78727
    JOHN KURTZ                                                              1530 E EARLL DRIVE                                                                                    PHOENIX             AZ           85014
    John Kutilek                                                            1153 Amber Ridge Drive                                                                                Byron Center        MI           49315
                                            DBA JL BELL EDITORIAL
    JOHN L BELL                             CONSULTING                      17 MORTON ST                                                                                          NEWTON              MA           02459
    JOHN L CULLINEY                                                         45-058 KA HANAHOU PLACE                                                                               KANEOHE             HI           96744
    JOHN L HOLMES                                                           43/1 WILKINS STREET                                                                                   MAWSON ACT                       02607        Australia
    JOHN L OWEN JR                          JACK OWEN PHOTOGRAPHY           6046 N TRENHOLM RD                                                                                    COLUMBIA            SC           29206
    JOHN L RUBIN                            DBA ABOVE THE TREELINE LLC      120 W WASHINGTON ST                                                                                   ANN ARBOR           MI           48104
    John Lamb                                                               13027 Summerlake Way                                                                                  Clermont            FL           34711
    John Lambert                                                            4145 Diplomacy Circle                                                                                 Tallahassee         FL           32308
    John Lambert                                                            50 Broadway                       Unit 7                                                              Somerville          MA           02145
    John Lanningham                                                         46w584 Locust Street                                                                                  Elburn              IL           60119
    John Lawson                                                             97 Howards Lane                                                                                       N. Scituate         RI           02857
    JOHN LEGG CAMPAIGN                                                      PO BOX 1318                                                                                           NEW PORT RICHEY     FL           34656
    John Long                                                               90 Northcrest Dr.                                                                                     Newnan              GA           30265
    JOHN LOWE                                                               4-11-9 KAMI-YOGA                  HOUSE REMARI A                                                      SETAGAYA-KU TOKYO                158-0098     Japan
    JOHN M BLUM                                                             88 NOTCH HILL ROAD # 176                                                                              NORTH BRANFORD      CT           06471
    JOHN M BOGNER                                                           3711 41ST LN                                                                                          HIGHLAND            IN           46322
    JOHN M MCAULIFFE & ASSOCIATES
    PC                                                                      430 LEXINGTON STREET                                                                                  NEWTON              MA           02466
                                            DBA LIFELONG FAITH ASSOCIATES
    JOHN M ROBERTO JR                       LLC                             40 BRIGHTON ROAD                                                                                      NAUGATUCK           CT           06770
                                            DBA JOHN M ROBERTS
    JOHN M ROBERTS                          PHOTOGRAPHY                     205 SE 155 PLACE                                                                                      PORTLAND            OR           97233
    JOHN MAHONEY                                                            P O BOX 331, 7 BONNECHERE ST                                                                          COBDEN              ON           K0J 1K0      Canada
    John Malley                                                             1021 Peterson Ave.                Apt 303                                                             Park Ridge          IL           60068
    John Manaligod                                                          2539 Deerpoint Drive                                                                                  Montgomery          IL           60538
    JOHN MARSHALL                                                           317 MCNEIL LANE                                                                                       WEST GROVE          PA           19390
    John Marston                                                            14012 Princess Mary Rd                                                                                Chesterfield        CA           23838
    JOHN MCDERMOTT                                                          416 JEFFERSON AVE                                                                                     LOUISVILLE          CO           80027-2027
    JOHN MCMINN                                                             202 MORNINGSIDE CIRCLE                                                                                HUTTO               TX           78634
    JOHN MCPHEE                                                             475 DRAKES CORNER ROAD                                                                                PRINCETON           NJ           08540
    JOHN MCWHORTER                                                          68 SUSSEX STREET # 1                                                                                  JERSEY CITY         NJ           07302
    John Mendelson                                                          492 Mass Ave                      #33                                                                 Boston              MA           02118
    JOHN MILSUM                                                             5775 HAMPTON PL #1001                                                                                 VANCOUVER           BC           V6T 2G6      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                       221 of 488                                                                                                           1:26 PM
                                                      12-12171-reg       Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                      of 519
                                                                                                                    First Class Service List


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    JOHN MORRISON                           DBA MORRISON PHOTOGRAPHY   8438 KEDVALE AVENUE                                                                           SKOKIE             IL           60076
    JOHN MOTLEY ASSOCIATES                                             P O BOX 298                                                                                   PASADENA           MD           21123-0298
    John Mullaney                                                      292 North Salem Road                                                                          Ridgefield         CT           06877
    JOHN N MOORE                                                       116 DOVER ROAD                                                                                WILLIAMSBURG       VA           23185-3208
    John Nutter                                                        PO BOX 228                                                                                    Hanover            MA           02339
    John O Ellsworth                                                   1217 Foulkeways                                                                               Gwynedd            PA           19436
    JOHN OCONNOR                                                       21 BUTTONWOOD STREET, #2                                                                      DORCHESTER         MA           02125
    John Oswald                                                        6918 Misty Brk                                                                                San Antonio        TX           78250
    JOHN P BERMINGHAM                       DBA JEN O DAN FOODS        9407 ORATOROO COURT                                                                           HOUSTON            TX           77040
    JOHN P DAVIES                                                      2192 AVOCADO WAY                                                                              TUSTIN             CA           92782
    JOHN P GREEN                                                       83 RUSSELL ST #3R                                                                             BROOKLYN           NY           11222
    John P Harkins                                                     5140 WASHINGTON ST                 39                                                         WEST ROXBURY       MA           02132
    JOHN P MCHALE                                                      6817 REGENCY DRIVE                                                                            WESTERVILLE        OH           43082
    JOHN P OLIVER                                                      3613 NW 46 PLACE                                                                              GAINESVILLE        FL           32605
    JOHN P POW COMPANY INC                                             P O BOX 256                                                                                   SOUTH BOSTON       MA           02127
    John Palmer                                                        1025 B Ave NW                                                                                 Cedar Rapids       IA           52405
                                            DBA JOHN PAUL ENDRESS
    JOHN PAUL ENDRESS                       PHOTOGRAPHY                42 PARK LANE                                                                                  ESSEX FELLS        NJ           07021
    JOHN PERRITANO                                                     592 ROXBURY ROAD                                                                              SOUTHBURY          CT           06488
    John Perry                                                         405 Murphy Lane                                                                               Brownsburg         IN           46112
    JOHN PESCOSOLIDO                                                   4250 GALT OCEAN DR                 APT 15B                                                    FORT LAUDERDALE    FL           33308-6136
    JOHN PHAM                                                          758 S SYCAMORE                                                                                LOS ANGELES        CA           90036
    John Philip Klein                                                  177 Page Hill Road                                                                            New Ipswich        NH           03071
    JOHN PHILLIP ANDRASTEK                                             774 ASHLAND AVENUE                                                                            SAINT PAUL         MN           55104
    JOHN PITTARD ELEM PTO                                              745 DEJARNETTE LANE                                                                           MURFREESBORO       TN           37130
    JOHN PIVOVARNIC                                                    160 POTTER ST                                                                                 DUNMORE            PA           18512
    John Plunkett                                                      562 Chisholm Court                                                                            Roselle            IL           60172
    John Pote                                                          43 Flat Rock Hill Road                                                                        Old Lyme           CT           06371
    JOHN PRIEST                                                        21 PENSNETT ROAD                   HOLLY HALL DUDLEY                                          WEST MIDLANDS                   DY12E2       United Kingdom
    JOHN Q HAMMONS HOTEL LP                 DBA HAMPTON INN &SUITES    1700 RODEO DRIVE                                                                              MESQUITE           TX           75149
    JOHN R AMES CTA                                                    PO BOX 139066                                                                                 DALLAS             TX           75313
    JOHN R BROTZMAN                                                    7A SHANNON ROAD                                                                               BAR HARBOR         ME           04609
    John R Cilli                                                       6 BLUE STAR DRIVE                                                                             GILLETTE           NJ           07933

    JOHN R FELDMAN                                                     1000 CASTLE HILL CRESCENT, # 501                                                              OTTAWA             ON           K2C 3L7      Canada
    JOHN R GENTRY                                                      3300 NE 16TH ST                                                                               FORT LAUDERDALE    FL           33304
    JOHN R HARTNETT                                                    1945 CONNIE DRIVE                                                                             CANYON LAKE        TX           78133
    JOHN R MCKERNAN JR                      DBA MCKERNAN ENTERPRISES   ONE CANAL PLAZA STE 501                                                                       PORTLAND           ME           04101
    JOHN R RICKFORD                                                    745 KENDALL AVENUE                                                                            PALO ALTO          CA           94306
    John R Spalding                                                    1442 N. Kenmore Rd.                                                                           Indianapolis       IN           46219
    John R. Hill                                                       1523 Cottonwood Drive                                                                         Elkhart            IN           46514
    John Rikhoff                                                       2060 Graham Drive                                                                             Eugene             OR           97405
    JOHN ROBERT LENNON                                                 1309 ELLIS HOLLOW ROAD                                                                        ITHACA             NY           14850
    JOHN ROBINSON                                                      13 LEIGHTON STREET                                                                            PETERMARITZBURG                 03201        South Africa
                                            DBA JOHN RODSTED
    JOHN RODSTED                            PHOTOGRAPHER               6 TALLROON COURT                                                                              GREENSBOROUGH      Victoria     03088        Australia
    John Rumery                                                        14 GUNNING POINT RD                                                                           FALMOUTH           MA           02540

    JOHN S MAYHER                                                      140 E HARTSDALE AVENUE APT 1A                                                                 HARTSDALE          NY           10530-3337
    John S Misiura                                                     1122 Wintergreen Ct                                                                           Batavia            IL           60510
    John S Rollins                                                     5926 Bent Pine Drive Apt. 325                                                                 Orlando            FL           32822
    JOHN SANGIOVANNI                                                   1207 CANON WAY                                                                                WESTMINSTER        MD           21157
    JOHN SCHULTZ                                                       432 SELBORNE ROAD                                                                             RIVERSIDE          IL           60546
    John Searcy                                                        11810 Arabian Trail                                                                           Austin             TX           78759
    JOHN SEBASTIAN                                                     805 THIRD AVE 10TH FL STE 10-02                                         C/O JANOVER LLC       NEW YORK           NY           10022
    John Selisky                                                       1210 E.Hyde Park Blvd.                                                                        Chicago            IL           60615

    JOHN SELISKY                                                       6135 SOUTH GREENWOOD AVENUE                                                                   CHICAGO            IL           60637
    JOHN SHANABROOK                                                    5604 SEMINARY ROAD                                                                            ALEXANDRIA         VA           22311
    John Shoemaker                                                     1726 Peach Street                                                                             Memphis            TN           38112
    John Sipe                                                          637 Cypress Hills Drive                                                                       Encinitas          CA           92024
    JOHN STAUFFER                                                      205 BARNARD WAY                                                                               VENTURA            CA           93001
    John Steidel                                                       101 Trout Terrace                                                                             Newfoundland       PA           18445
    JOHN STEPTOE LITERARY TRUST                                        375 RIVERSIDE DRIVE APT 9-AA                                                                  NEW YORK           NY           10025-2166
    JOHN STEVENTON                                                     6371 LAKE TRAIL DRIVE                                                                         WESTERVILLE        OH           43082
    John Sundquist                                                     4214 Forrestal Avenue                                                                         Orlando            FL           32806-6170
    JOHN T CACIOPPO                         UNIV OF CHICAGO CCSN       5848 S UNIVERSITY AVENUE                                                                      CHICAGO            IL           60637
    JOHN T PRICE                                                       39 CHAPEL ROAD                                                                                EPPING             Essex        CM16 5DS     United Kingdom
    John T Riordan                                                     307 Oceanview Ave P.O. Box 10                                                                 Cotuit             MA           02635
    John T. Almarode                                                   2232 Monroe Street                                                                            Waynesboro         VA           22980



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                   222 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              230 Matrix
                                                                                                                      of 519
                                                                                                                        First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                          Address2                           Address3              City            State       Zip             Country
    John Taggart                                                           6840 Cliffside Drive                                                                            Vermillion           OH            44089
    John Taylor                                                            6732 Banner Lake Circle           Apt 6201                                                      Orlando              FL            32821
    JOHN THOMPSON                           DBA CROSS COMMUNIACTIONS       3 COOKE STREET                                                                                  POUGHKEEPSIE         NY            12601
    JOHN THRASHER CAMPAIGN                                                 109 PREMIERE VISTA WAY                                                                          ST AUGUSTINE         FL            32080
    John Toft                                                              1 Pin Oak Drive                                                                                 White Haven          PA            18661
    John Townsend                                                          356 Montecillo Dr                                                                               Walnut Creek         CA            94595
    JOHN TRABACHINO                                                        56 PAULA DRIVE                                                                                  LONG VALLEY          NJ            07853
    John Travis                                                            324 Sunnybrook Road                                                                             Barrington           NJ            08007
    JOHN TREVER                                                            7420 VISTA DEL AROYO NE                                                                         ALBEQUERQUE          NM            87109
    JOHN VAN DUSEN                                                         3650 GLEN OAK DRIVE                                                                             EUGENE               OR            97405
    John W Barnard                                                         1908 S.batavia Ave.                                                                             Geneva               IL            60134
    JOHN W MARCY                                                           6191 SEA GRASS LN                                                                               NAPLES               FL            34116
    JOHN W MAUS                                                            13 GUILFORD ROAD                                                                                PORT WASHINGTON      NY            11050
    John W Nutter                                                          PO BOX 228                                                                                      Hanover              MA            02339
    JOHN W WRIGHT                           JOHN W WRIGHT LITERARY AGENT   1133 BROADWAY SUITE 1124                                                                        NEW YORK             NY            10010
    JOHN W WRIGHT LITERARY AGENT            LIT AGNT FOR LUCY M CALKINS    1133 BROADWAY SUITE 1124                                                                        NEW YORK             NY            10010
    John W. Webster                                                        1815 Heather Road                                                                               Geneva               IL            60134
    JOHN WALSH                                                             PO BOX 10                                                                                       WAVERLEY             NSW           02024        Australia
    JOHN WARNER MOORE JR                                                   10 SEQUASSEN ROAD                                                                               FARMINGTON           CT            06032
    JOHN WARREN                                                            P O BOX 370                                                                                     TOPOCK               AZ            86436
    JOHN WARREN ANDERSON                                                   9941 MARTHAS VINEYARD CIR                                                                       PROVIDENCE VILLAGE   TX            76227
    JOHN WILEY & SONS ASUTRALIA,
    LTD.                                                                   42 MCDOUGAL STREET BOX 1226                                                                     MILTON               Queensland    04064        Australia
    JOHN WILEY & SONS INC                   SHEIKE SAFDAR PERMISSIONS      111 RIVER STREET MAIL STOP 3 05                                                                 HOBOKEN              NJ            07030-5774
    JOHN WILEY & SONS INC                   C/O BANK AMERICA               P O BOX 416517                                                                                  BOSTON               MA            02241-6517
    JOHN WILEY & SONS INC                                                  111 RIVER STREET MAIL STOP 3 05                                                                 HOBOKEN              NJ            07030-5774
    John Wiley & Sons Inc                                                  432 Elizabeth Ave                                                                               Somerset             NJ            08873
    JOHN WILEY & SONS INC                                                  PO BOX 416502                                                                                   BOSTON               MA            02241-6502
    JOHN WILEY & SONS INC                                                  P O BOX 416517                                                                                  BOSTON               MA            02241-6517
    John Wiley & Sons, Inc.                                                PO Box 416502                                                                                   Boston               MA            00241-6502
    JOHN WILEY AND SONS LTD                                                THE ATRIUM, SOUTHERN GATE                                               CHICHESTER              West Sussex                        PO19 8SQ     United Kingdom
    John Winkler                                                           7678 Warriors Path                                                                              Baldwinsville        NY            13027
    JOHN WONG                                                              365 BEACON ST, # 3C                                                                             BOSTON               MA            02116
    JOHN WRIGHT                                                            8950 N KELLOG # 2                                                                               PORTLAND             OR            97203
    John Young                                                             4300 Rosewood Grove                                                                             Decatur              GA            30034
    John Young                                                             96 Argilla Rd                                                                                   Andover              MA            01810
    JOHN ZOINER                                                            12 WEST 44TH ST                                                                                 NEW YORK             NY            10036
    Johnathan D Wilber                                                     312 W 48th St.                    Apt 21                                                        New York             NY            10036
    Johnathan Russ                                                         1908 Colfax Street                Unit A                                                        Evanston             IL            60201
    JOHNNA M KAPLAN                                                        33 COTTAGE STREET # 9                                                                           NEW LONDON           CT            06320
    Johnnie R Kirk                                                         908 LINDA LANE                                                                                  CABOT                AR            72023
    JOHNNIE WINN                                                           8740 S LUELLA AVE                                                                               CHICAGO              IL            60617
    JOHNNY BRUCE MCLAUGHLIN                                                2900 WELLEN RD                                                                                  HIGHLAND             IL            62249-3850
    JOHNNY D BOGGS                                                         10 DOVELA ROAD                                                                                  SANTA FE             NM            87505
    Johnny Martinez Jr                                                     3008 Swallow Ave                                                                                Mcallen              TX            78504
                                            DBA JOHNNY MYERS ILLUSTRATION
    JOHNNY MYERS                            & DESIGN                      3031 ORBIT CIRCLE                                                                                ELLENWOOD            GA            30294
    JOHNNY SALDANA                                                        2313 E TAXIDEA WAY                                                                               PHOENIX              AZ            85048-4310
    John-Paxton Gremillion                                                803a Robert E Lee Rd                                                                             Austin               TX            78704
    JOHNS BYRNE COMPANY                                                   6701 W OAKTON STREET                                                                             NILES                IL            60714-3932
    JOHNS HOPKINS UNIVERSITY                                              5801 SMITH AVENUE STE 235                                                                        BALTIMORE            MD            21209
    JOHNSON & ALCOCK LTD                    CLERKER                       45-47 CLERKENWELL GREEN                                                                          LONDON                             EC1R 0HT     United Kingdom
    Johnson Adult Day Program                                             3444 S. Emerson Street                                                                           Englewood            CO            80113
    JOHNSON AND FANCHER INC                                               1997 ASCOT DRIVE #H                                                                              MORAGA               CA            94556
    JOHNSON ANGELA                                                        526 VINE ST                                                                                      KENT                 OH            44240
    JOHNSON ANN M                                                         399 MIRADA COURT                                                                                 GRAND JUNCTION       CO            81507
    JOHNSON CARL H                                                        15426 OYSTER CREEK LANE                                                                          SUGARLAND            TX            77478
    JOHNSON CITY SCHOOLS                    FINANCE DEPT                  PO BOX 1517                                                                                      JOHNSON CITY         TN            37605
    JOHNSON CONTROLS INC                                                  PO BOX 905240                                                                                    CHARLOTTE            NC            28290
    JOHNSON COUNTY BOARD OF
    EDUCATION                               NETSESA - ATTN KYLE A EVANS    615 MARTIN LUTHER KING JR BLVD                                                                  BRISTOL              TN            37620
    JOHNSON DAVID E                                                        3343 LEXINGTON COURT                                                                            YUBA CITY            CA            95991
    JOHNSON HAL                                                            46-30 21ST ST                                                                                   LONG ISLAND CITY     NY            11101
    JOHNSON PUBLISHING COMPANY
    INC                                                                    820 SOUTH MICHIGAN AVENUE                                                                       CHICAGO              IL            60605
    JOHNSON RICHARD                                                        268 MIDDLE STREET                                                                               BRAINTREE            MA            02184
    JOHNSON SALLY BLAND                     3556 HARTFORD VILLAGE WAY      DUNES WEST                                                                                      MOUNT PLEASANT       SC            29466
    JOHNSON TERRY LYNN                                                     BOX 51                                                                                          WHITEFISH FALLS                    P0P 1H0      Canada
    JOHNSON TIMOTHY                                                        BOX 345                                                                                         BARNSTABLE           MA            02630
    JOHNSON TOM R                                                          7078 CRISPTOWN RD                                                                               MOUNTAIN GROVE       MO            65711-3045



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       223 of 488                                                                                                      1:26 PM
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                                                                                                             Pg Creditor
                                                                                                                 231 Matrix
                                                                                                                         of 519
                                                                                                                      First Class Service List


               CreditorName                           CreditorNoticeName                Address1                           Address2              Address3              City        State       Zip              Country
    Johnson, Christopher
    JOHNSTON MARY ELLEN                                                     1882 GREEN VALLEY RD                                                            ALAMO             CA           94507
    JOI PODGORNY                                                            518 N LEAVITT STREET # 2                                                        CHICAGO           IL           60612
                                                                            S MARCUS & A KASSIRER, BOX 53
    JOIN IN MUSIC                                                           POSTAL STATION A                                                                WILLOWDALE        ON           M2N 5S7      Canada
    Jolaine Wolken                                                          12259 Prinster Drive                                                            St Louis          MO           63146
    Jolene Borgese                                                          132 Windgate Drive                                                              Chester Springs   PA           19425
    Jolene Stevano                                                          5451 NORTH CATHERINE LANE                                                       Linden            CA           95236

    JOLIET AREA HISTORICAL MUSEUM           ATTN HEATHER BIGECK             204 N OTTAWA STREET                                                             JOLIET            IL           60432
    JOLYN RALEIGH                                                           5553 W PEGGY LANE                                                               WEST VALLEY       UT           84120
    JOMDEN PTY LTD                                                          RMB 1250                                                                        ROMSEY                         03434        Australia
    JON DOBBS                                                               8129 N W 81                                                                     OKLAHOMA CITY     OK           73132
    JON FEINGERSH PHOTOGRAPHY
    INC                                                                     12608 TRIBUNAL LANE                                                             POTOMAC           MD           20854
    JON LINDBERGH CHILD TRST                                                270 PARK AVENUE 16TH FLOOR      C/O FERN SILVERSTEIN                            NEW YORK          NY           10167-0001
    Jon Mitchell                                                            4165 Longlake Drive                                                             Duluth            GA           30097
    JON MOOALLEM                                                            200 ELLSWORTH STREET                                                            SAN FRANCISCO     CA           94110
    Jon Noyes                                                               28188 Fireweed Drive                                                            Evergreen         CO           80439
    JON PORTER LORENCE                                                      3535 LATMA DRIVE                                                                HOUSTON           TX           77025
    Jon Sonntag                                                             370 Butternut Drive                                                             Wood Dale         IL           60191
    Jon Zielinski                                                           11651 Claymont Circle                                                           Windermere        FL           34786
    JONAH LEHRER                                                            825 N KINGS RD APT 11                                                           W HOLLYWOOD       CA           90069-5553
    JONATHAN A WRIGHT                                                       5 LAKESTONE CLOSE                                                               HARTLEPOOL                     TS26 0LN     United Kingdom

    JONATHAN ALDER LOCAL SCH DIST                                           9200 US ROUTE 42                                                                PLAIN CITY        OH           43064
    JONATHAN ALLEN                                                          1 GUYS LANE                     MAY FARMHOUSE                                   BASSINGBOURNE                  SG8 5PJ      United Kingdom
    JONATHAN B LOSOS                                                        130 MT AUBURN ST # 305                                                          CAMBRIDGE         MA           02138
    Jonathan Baker                                                          1009 Union Street                                                               Marshfield        MA           02050
    Jonathan Blackmon                                                       1712 Marian Lane                                                                Flower Mound      TX           75028
    JONATHAN BLAIR                                                          P O BOX 488                                                                     ACCORD            NY           12404
                                            ATTN ROYALTY DEPARTMENT, TBS    COLCHESTER ROAD, FRATING                                                        FRATING PARISH
    JONATHAN CAPE LTD                       DISTRIBUTIO                     GREEN                                                                           COLCHESTER        Essex        CO7 7DW      United Kingdom

    JONATHAN CLOWES LIMITED                 ATTN OLIVIA GUEST - PERMISSIONS 10 IRON BRIDGE HOUSE                                                            BRIDGE APPROACH   LONDON       NW1 8BD      United Kingdom
    Jonathan D Broyles                                                      301 Kendale Street                                                              Bowling Green     KY           42103
    Jonathan Damron                                                         1640 Sherbourne St                                                              Winter Garden     FL           34787
    JONATHAN DOLGER                         DBA JONATHAN DOLGER AGENCY      49 EAST 96TH STREET 9B                                                          NEW YORK          NY           10128
    JONATHAN DUNSTAN                                                        52 RIVERLEA AVE                                                                 AUCKLAND                       02010        New Zealand
    JONATHAN FINE                                                           BAR-ILAN UNIV ENG DEPT                                                          RAMAT-GAN                                   Israel
    JONATHAN FRANZEN                                                        140 EAST 81ST STREET APT 10G                                                    NEW YORK          NY           10028
    JONATHAN G HIGGINS                                                      56 MERRILL STREET                                                               PLYMOUTH          NH           03264
    JONATHAN GLASSMAN                                                       1823 WEST ESTES AVE                                                             CHICAGO           IL           60626

    JONATHAN GRAY                           SHED 318                        54 WINDHILL BISHOPS STORTFORD                                                   HERTFORSHIRE                   CM23 2NH     United Kingdom
    Jonathan J Keane                                                        268 Bunker Hill Street          #5                                              Charlestown       MA           02129
    Jonathan Jacobs                                                         11810 N. Pheasant Ct                                                            Mequon            WI           53092
    Jonathan Latimer                                                        4406 Sayre Drive                                                                Princeton         NJ           08540
    JONATHAN LEVY                                                           PO BOX 295                                                                      PATTERSON         NY           12563
    JONATHAN LOPKIN                         DBA AMUSEGRAFIK                 446 SHAWMUT AVENUE 2ND FL                                                       BOSTON            MA           02118
    JONATHAN LOVELL                                                         5058 CRIBARI VALE                                                               SAN JOSE          CA           95135
    JONATHAN M BRYANT                                                       709 ANNA WAY                                                                    STATESBORO        GA           30458
    Jonathan M Mellichamp                                                   720 Post Lake Place             #116                                            Apopka            FL           32703
    Jonathan Mason                                                          100 1ST ST                      APT 412                                         ROCKVILLE         MD           20851
    Jonathan McCrea                                                         12421 Zeller Lane                                                               Austin            TX           78753
    JONATHAN PEGG LITERARY
    AGENCY                                                                  32 BATOUM GARDENS                                                               LONDON                         W6 7QD       United Kingdom
    JONATHAN PIERREDON                                                      29 RUE ERNEST SAVART                                                            MONTREUIL PARIS                93100        France
    JONATHAN PREWETT                                                        612 SOUTH 11TH STREET                                                           LARAMIE           WY           82070
                                            8A MOHAMED FARID WAGDY
    JONATHAN RASHAD                         STREET                          EL-MANYAL MISR AL-QADIMA                                                        CAIRO                                       Egypt
    JONATHAN S BOLING                                                       6004 E NAT CEMETERY ROAD                                                        FLORENCE          SC           29506
    Jonathan S. Heller                                                      2031 Cleveland Street                                                           Evanston          IL           60202
    Jonathan Saiki                                                          565 Worley Ave                                                                  Sunnyvale         CA           94085
    JONATHAN SAINSBURY                                                      218 PROSPECT PARK WEST                                                          BROOKLYN          NY           11215-5802
    JONATHAN SHAILOR                                                        953 DANBY RD                    ITHACA COL, SPEECH COMM DEPT                    ITHACA            NY           14850
    Jonathan Sokolowski                                                     3631 N. Halsted                 Unit 405                                        Chicago           IL           60613
    Jonathan Stark                                                          300 Summer Street               Unit 44                                         Boston            MA           02210
    JONATHAN TREITEL                                                        507 STEINER # 8                 C/O TRACY PATRICE                               SAN FRANCISCO     CA           94117
    Jonathan Yunker                                                         512 Central St NE                                                               Olympia           WA           98506



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     224 of 488                                                                                      1:26 PM
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                                                                                                               Pg Creditor
                                                                                                                   232 Matrix
                                                                                                                           of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                            Address2            Address3              City          State       Zip                Country
    Jonathan Zimmon                                                        2336 Huron Trail                                                                  Maitland            FL           32751
    JONATHON STEWART                                                       473 JEAN ST APT 102                                                               OAKLAND             CA           94610
    Jones & Keller, P.C.                                                   1999 Broadway, Ste 3150                                                           Denver              CO           80202
    Jones County Board of Educatio          Attn Kelly Roberts             125 Stewart Street                                                                Gray                GA           31032
    Jones Day
    JONES DAY                                                              222 EAST 41ST STREET                                                              NEW YORK            NY           10017-6702
                                                                           TEXAS A & M UNIV - DEPT OF
    JONES GARETH R                                                         MGMNT                                                                             COLLEGE STATION     TX           77843
    JONES INSTITUTE                                                        1200 COMMERCIAL STREET                                                            EMPORIA             KS           66801
    JONES JUDITH                                                           139 EAST 66TH ST                                                                  NEW YORK            NY           10021
    JONES RODNEY                                                           476 UNION GROVE ROAD                                                              CARBONDALE          IL           62903

    JONESVILLE COMMUNITY SCHOOLS                                           202 WRIGHT STREET                                                                 JONESVILLE          MI           49250
    JONI CHANCER                                                           504 TORO CANYON RD                                                                SANTA BARBARA       CA           93108-1636
    Joni Fry                                                               1767 South 450 East                                                               Kaysville           UT           84037
    JONI RICHARDSON & ASSOCIATES
    LLC                                                                    4819 QUAIL LANE                                                                   COLUMBIA            SC           29206
    Joni Williams                                                          115 Tijuana Dr.                                                                   Kissimmee           FL           34743
    JONNA K RUBIN                                                          57 CYNTHIA ROAD                                                                   FRAMINGHAM          MA           01701
    JONTOC HOLDINGS LIMITED                                                7 PALMERSTON ROAD                                                                 RATHMINES, DUBLIN   Dublin       6            Ireland
    JOOSSE BARBARA M                                                       W61 N764 RIVEREDGE DRIVE                                                          CEDARBURG           WI           53012
    JOOST VIJSELAAR              TRIMBOS INSTITUUT                         DRIFT 10                                                                          UTRECHT                          3512BS       Netherlands
    Joquita McKibben                                                       3469 Crystal Lake Drive                                                           Chipley             FL           32428
    JORDAN BENNINGTON                                                      170 GRANDE POINTE CIRCLE                                                          INLET BEACH         FL           32413
    JORDAN BOOK CENTRE CO LTD                                              PO BOX 301 AL-JUBEIHA                                                             AMMAN                                         Jordan

    JORDAN BROWN                                                           P O BOX 447 211 HANSBURG RD EXT                                                   WALKER VALLEY       NY           12588

    JORDAN EDMISTON GROUP INC                                              150 EAST 52nd STREET 18th FLOOR                                                   NEW YORK            NY           10022
    JORDAN ELBRIDGE CENTRAL
    SCHOOL DIST                                                            P O BOX 902 9 CHAPPELL ST                                                         JORDAN              NY           13080
    JORDAN KAY                                                             8600 SKYLINE #1041                                                                DALLAS              TX           75243
    JORDAN SCHOOL DISTRICT                  ACCOUNTING DEPT                7387 S CAMPUS VIEW DR                                                             WEST JORDAN         UT           84084
    JORDAN WINTHROP D TRUSTEE                                              2912 TEMPLE DRIVE                                                                 DAVIS               CA           95618
    JORDON A HENBA                                                         83 HEATH STREET                                                                   TEWKSBURY           MA           01876
    Jordy/Carter Furnishings                                               1212 S. Broadway                  Suite 100                                       Denver              CO           80210
    JORGE ENRIQUE CHAVEZ                                                   1208 WABASH ST                                                                    DENVER              CO           80220
    JORGE F FIGUEROA FLORES                                                P O BOX 8905                                                                      CAGUAS              PR           00725
    Jorge Grijalva                                                         859 Fordham North                                                                 Aurora              IL           60506
                                                                           AV JACARANDAS 76 CASA 1 LOMAS
    JORGE RODRIGUEZ                                                        DEL BOSQUE                                                                        BOSQUE DEL LAGO                  54765        Mexico
    JORGE ROJAS PEDRAZA                     DBA JER PUBLICIDAD             CALLE 2 NO 25A-25                                                                 BOGOTA              BOGOTA                    Colombia
                                                                                                             URBANIZACION ESTANCIAS DE
    JORGE ROSADO ROSADO                                                    CRISANTEMOS C-8                   BAIROA                                          CAGUAS              PR           00725
    JORGENSEN DAVID                                                        P.O. BOX 178                                                                      NORWICH             VT           05055
    JORI BALDWIN                            THE ART PROJECTS COM           179 PAPE AVE UNIT 2                                                               TORONTO             ON           M4M 2W1      Canada
    JORSON & CARLSON CO INC                                                1501 PRATT BLVD PO BOX 796                                                        ELK GROVE VILLAGE   IL           60007-5714
    JOSE A ADORNO MARTINEZ                  URB QUINTAS DE FLAMINGO        CALLE 2 B-10                                                                      BAYAMON             PR           00956
    JOSE A CRESPO REYES                                                    HC 3 BOX 7536 BARRIO ESPINOSA                                                     DORADO              PR           00646
    Jose A Santa                                                           4614 W. Montana                                                                   Chicago             IL           60639
    Jose Bribiesca III                                                     602 Trafalgar                                                                     San Antonio         TX           78216
    Jose Contreras                                                         105 LOS INDIOS RD UNIT B                                                          BOERNE              TX           78006
    JOSE F MEDINA                           CONDO VILLAS DEL SOL           1 CALLE PRINCIPAL BOX 215                                                         TRUJILLO ALTO       PR           00976
    JOSE FUSTE RAGA                                                        AV DEL CARRILET 16A, ATC 2A                                                       BARCELONA                        08014        Spain
    JOSE HERNANDEZ DIAZ                                                    12818 BARRANCA LANE                                                               NORWALK             CA           90650
    Jose Lopez                                                             12256 Greco Dr                                                                    Orlando             FL           32824
    JOSE LUIS PELAEZ INC                                                   426 53RD ST                                                                       WEST NEW YORK       NJ           07093
    JOSE M ENCARNACION-GONZALEZ                                            CALLE G EE #11                    URB BRISAS DE LUQUILLO                          LUQUILLO            PR           00773
    JOSE M PLAZA SANCHEZ                    EL VEDADO 113 APT 605          CALLE PADRE LAS CASAS                                                             SAN JUAN            PR           00918
    JOSE MANUEL AGUILAR-MORENO                                             5151 STATE UNIVERSITY DRIVE                                                       LOS ANGELES         CA           90032
    JOSE MARTINEZ FRUCTUOSO                                                4 RUE LEON VAUDOYER               C/O TERENCE DELLECKER                           PARIS                            75007        France
                                                                           124 MAGA URB MANS DE LOS
    JOSE N CARABALLO RIOS                                                  CEDROS                                                                            CAYEY               PR           00736
    JOSE O MALDIFASSI                                                      BOSQUES DE MONTEMAR               LOS MUERMOS 1135                                CON CON QUINTA                                Chile
    Jose Ocon                                                              410 Blackhawk                                                                     Aurora              IL           60506
    JOSE R LOPEZ SANTIAGO                                                  #209 SIERRA NEVADA ST                                                             MAYAGUEZ            PR           00986
    JOSE R ROMAN                                                           1001 AVE PONCE DE LEON, APT A                                                     SAN JUAN            PR           00907
    Jose Santana                                                           68-37 Calle 56                    Villa Carolina                                  Carolina            PR           00985
    JOSE SANTANA                                                           ENCANTADA RIVERWALK 59                                                            TRUJILLO ALTO       PR           00976
    JOSE V MADERA CABAN                                                    SALAMACA STREET 524               VILLA DEL CARMEN                                PONCE               PR           00716



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                        225 of 488                                                                                        1:26 PM
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                                                                                                             Pg Creditor
                                                                                                                 233 Matrix
                                                                                                                         of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                        Address2              Address3              City          State       Zip      Country
    JOSE VAZQUEZ RODRIGUEZ                                                 ALTURAS DEL PARAISO #5                                                          ARECIBO             PR           00612
    Josef Blumenfeld                                                       6 Jacqueline Circle                                                             Natick              MA           01760
    Josef S Sofhauser                                                      15454 Tabor Hill Court                                                          Granger             IN           46530
    Josefa Verver-Peters                                                   1142 Narcisco Street NW                                                         Albuquerque         NM           87112
    Josefina Orozco                                                        728 Second Ave                                                                  Aurora              IL           60505
    JOSEFINA VALDES-HURTADO                                                600 GRAPETREE #5DS                                                              KEY BISCAYNE        FL           33149
    Joselyn Almeida                                                        45 Prospect St                                                                  Northampton         MA           01060
    JOSEPH A BAUTE                                                         515 EAST SURRY ROAD                                                             SURRY               NH           03431
    Joseph A Piazza                                                        1020 Saddleback Way                                                             Bel Air             MD           21014
    Joseph A. Crupie                                                       2223 ROCHESTER RD.                                                              PITTSBURG           PA           15237
    JOSEPH ANTINARELLA                                                     701 ASPEN FOREST COURT                                                          CHESAPEAKE          VA           23322
    Joseph B Adduci                                                        1222 Water Stone Circle                                                         Wauconda            IL           60084
                                            JOSEPH B POBERESKIN
    JOSEPH B POBERESKIN                     PHOTOGRAPHY                    297 TANAGER STREET                                                              DEERFIELD           IL           60015-3692
    Joseph Barry                                                           1445 Cortez Rd                                                                  Blue Bell           PA           19422
    JOSEPH BAYER-BLESSING                                                  3295 BURNHAM WAY                                                                KENNESAW            GA           30152
    JOSEPH BENTON PICKLE                                                   3505 FLEETWOOD DR                                                               AUSTIN              TX           78704
    JOSEPH BETTS                                                           8409 ELDERBERRY RD                                                              MADISON             WI           53717
    Joseph Bulens                                                          7 Woodridge Lane                                                                Ashland             MA           01721
    Joseph Cane                                                            7042 N Greenview Ave           Apt. 3                                           Chicago             IL           60626
    JOSEPH CLAEYS                                                          700 LARAMIE CIRCLE                                                              MAIZE               KS           67101
    Joseph Costa                                                           12 Phyllis Road                                                                 Foxboro             MA           02035
    Joseph Degnan                                                          73 Terhune Avenue                                                               Jersey City         NJ           07305
    JOSEPH DEVENNEY                         DEVENNEY PHOTOGRAPHY           556 WALDOBORO RD                                                                JEFFERSON           ME           04348
    Joseph E Barry                                                         1445 Cortez Rd                                                                  Blue Bell           PA           19422
    Joseph E Betts                                                         710 W Burr Oak Dr.                                                              Arlington Heights   IL           60004
    JOSEPH EPSTEIN                                                         522 CHURCH ST                                                                   EVANSTON            IL           60201
    JOSEPH F DOMINGUEZ                                                     22262 SWENSON DRIVE                                                             TOPANGA             CA           90290
    JOSEPH F. MAHONEY                                                      16 MOONLIGHT DRIVE                                                              STORMVILLE          NY           12582
    Joseph Flaherty                                                        1277 Walnut Street                                                              Newton              MA           02461
    Joseph Fraulo                                                          4575 WATSON DR                                                                  Doylestown          PA           18902-1838
    Joseph G Flaherty                                                      39 Beacon Street                                                                Westwood            MA           02090
    JOSEPH G KEMPF                                                         403 N MAIN ST                                                                   OFALLON             MO           63366
    JOSEPH GEORGE SZABO                                                    214 SCHOOL STREET, STE 300                                                      NORTH WALES         PA           19454

    JOSEPH H BEETZ PLUMBING CO INC DBA JOS BEETZ PLUMBING CO               2659 GRAVOIS AVENUE                                                             ST LOUIS            MO           63118
    JOSEPH H BLATT                                                         7 LINMOOR TERRACE                                                               LEXINGTON           MA           02420
    Joseph Hall                                                            8350 Autumn Oaks Ct.                                                            Chesapeake Beach    MD           20732
    JOSEPH HENRY STUEVER                                                   511 L ST NW APT 3                                                               WASHINGTON DC       DC           20001
    Joseph I Cuprak                                                        7602 East Calle Los Arboles                                                     Tucson              AZ           85750
    Joseph Intravaia                                                       4313 Steed Terrace                                                              Winter Park         FL           32792
    JOSEPH JACKSON                                                         13265 SW 96 TERR                                                                MIAMI               FL           33186
    JOSEPH K LUMSDEN PUBLIC SCH
    ACADEMY                                                                1301 MARQUETTE AVENUE                                                           SAULT STE MARIE     MI           49783
    Joseph Kanon                                                           229 E 79 ST                                                                     NEW YORK            NY           10075
    JOSEPH KERRIGAN                                                        2803 ST MARYS RD                                                                ARDMORE             PA           19003
    JOSEPH KUSHNER HEBREW
    ACADEMY                                                                110 S ORANGE AVE                                                                LIVINGSTON          NJ           07039
    Joseph Landis                                                          8808 Sunset Blvd                                                                Orlando             FL           32836
    JOSEPH LYNN                                                            154 EAST PENN ST                                                                LONG BEACH          NY           11561
    JOSEPH M LANDACRE                                                      1628 FELTON STREET                                                              SAN DIEGO           CA           92102
    Joseph Maheu                                                           3406 Bay Meadow Court                                                           Windermere          FL           34786
    JOSEPH MARTOS                                                          1463 SOUTH THIRD STREET                                                         LOUISVILLE          KY           40208
    Joseph Mc Hale                                                         5314 ABITARE BLVD                                                               VOORHEES            NJ           08043
    JOSEPH MCCLURE                                                         4607 N 27TH ST                                                                  ARLINGTON           VA           22207
    Joseph Melomo                                                          1213 Cedar Avenue                                                               Austin              TX           78702
    JOSEPH MELVIN SAUERBECK III                                            P O BOX 2408                                                                    FAIRFIELD           IA           52556
    JOSEPH MODZELEWSKI                                                     532 PEPPERELL ROAD                                                              GROTON              MA           01450
    Joseph Nardi                                                           286 E Street                   Apartment 1                                      Boston              MA           02127
    Joseph Nichols Jr                                                      3803 Donerin Way                                                                Phoenix             MD           21131
    Joseph P Farragher                                                     78 Whitcomb Drive                                                               Lancaster           MA           01523
    Joseph P Logan                                                         4224 S. Post Road                                                               Indianapolis        IN           46239
    Joseph P Reever                                                        2499 Peachtree Road            Unit 601                                         Atlanta             GA           30305
    JOSEPH P SCHREIBER                                                     250 FARM HOUSE LANE                                                             PALMYRA             PA           17078
    JOSEPH PAUL DEWISE                                                     6119 PAM AVE                                                                    PENSACOLA           FL           32526
    Joseph Pickett                                                         65 Nason Road                                                                   Swampscott          MA           01907
    Joseph Power                                                           269 W. 5Th Street                                                               South Boston        MA           02127
    JOSEPH R MAHEU                                                         3406 BAY MEADOW COURT                                                           WINDERMERE          FL           34786
    JOSEPH R TOMELLERI                                                     8436 MEADOW LANE                                                                LEAWOOD             KS           66206
    Joseph Rotondo                                                         6929 Mink Street Rd                                                             Ostrander           OH           43061



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                    226 of 488                                                                                1:26 PM
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                                                                                                                           of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3              City          State       Zip      Country
    Joseph S. Hall                                                         8350 Autumn Oaks Ct.                                                            Chesapeake Beach    MD           20732
    Joseph Schraad                                                         7640 King Arthur Rd.                                                            Frisco              TX           75035
    Joseph Silva                                                           59 Village Street                                                               South Easton        MA           02375
    JOSEPH STOUTZENBERGER                                                  34 BROOKSIDE ROAD                                                               ERDENHEIM           PA           19038
                                            DBA JOSEPH SZKODZINSKI
    JOSEPH SZKODZINSKI                      PHOTOGRAPHY                    13440 N 44TH ST, # 1126                                                         PHOENIX             AZ           85032
    JOSEPH T MENDOLA LTD                    GERALD & CULLEN RAPP INC       420 LEXINGTON AVE PENTHOUSE                                                     NEW YORK            NY           10170
    JOSEPH T MENDOLA LTD                    DBA MENDOLA LTD                420 LEXINGTON AVE PH                                                            NEW YORK            NY           10170-0002
    JOSEPH T MENDOLA LTD                    DBA GERALD & CULLEN RAPP INC   420 LEXINGTON AVENUE                                                            NEW YORK            NY           10170
    JOSEPH T MENDOLA LTD                                                   420 LEXINGTON AVE PH                                                            NEW YORK            NY           10170-0002
    JOSEPH T RICE                                                          14264 BROOKINGS DRIVE                                                           STERLING HEIGHTS    MI           48313
    JOSEPH TERRASI                                                         5358 N LIEB                                                                     CHICAGO             IL           60630
    JOSEPH TODARO                                                          332 A SANCHEZ STREET                                                            SAN FRANCISCO       CA           94114
    Joseph Traficante                                                      19 Shire Way                                                                    Plainville          MA           02762
    JOSEPH TRISOLINI                                                       51-517 KAMEHAMEHA HWY                                                           KAAAWA              HI           96730
    Joseph Trulli                                                          308 Morningside Dr                                                              Bloomingdale        IL           60108
    JOSEPHA ROBLES                                                         1110 FIDLER LN 515                                                              SILVER SPRINGS      MD           20910
    Josephine Cammallarie                                                  2601 Fairfax Lane                                                               Lake In The Hills   IL           60156
    Josephine Gregory                                                      10322 Pacific Street             Apt 214                                        Omaha               NE           68114
    Josephine Orsillo                                                      4444 S. Rio Grande Ave.          Apt. # 622                                     Orlando             FL           32839
    Josephine Robinson                                                     200 Bedford Rd.                  Apt. 16B                                       Woburn              MA           01801
    JOSETTE MCPIKE                                                         4100 NE 26TH TERRACE                                                            LIGHTHOUSE POINT    FL           33064
    JOSH HAMMERQUIST                                                       4013 HOLLOW LAKE ROAD                                                           ROANOKE             TX           76262
    Joshua A Funk                                                          833 Thomae Ave                                                                  Bound Brook         NJ           08805
    JOSHUA A MALDONADO CORDERO              URB LAS GAVIOTAS               CALLE PALOMA D-29                                                               TOA BAJA            PR           00949
                                            DBA MORGAN/DORADO PUBLIC
    JOSHUA D MORGAN                         RELATIONS LLC                  1200 SUNCAST LANE #1                                                            EL DORADO HILLS     CA           95762
    JOSHUA GILLENSON                                                       4-58 IVY LANE                                                                   FAIR LAWN           NJ           07410
    JOSHUA GOSHEN                                                          561 SANDALWOOD LANE                                                             PLANTATION          FL           33317
    Joshua Harwood                                                         250 Scuppo Road                                                                 Woodbury            CT           06798
    Joshua Kratovil                                                        1760 Eastwood Court              Unit 5                                         Schaumburg          IL           60195
    Joshua Merz                                                            1004 Kings Highway                                                              Haddon Heights      NJ           08035
    Joshua Press                                                           9 Flint Locke                                                                   Medfield            MA           02052
    JOSHUA SCHNEIDER                                                       539 W BROMPTON AVE UNIT 3S                                                      CHICAGO             IL           60657
    Joshua Wilker                                                          1450 W. Arthur Ave               #1                                             Chicago             IL           60626
    Joshua Wolff                                                           5405 Louella Ave                                                                mchenry             IL           60050
    JOSHUAH BEARMAN                                                        1523 PORTIA STREET                                                              LOS ANGELES         CA           90026
    JOUNG UN KIM                                                           721 S MELROSE STREET                                                            ANAHEIM             CA           92805
    JOURNAL NEWS                                                           ONE GANNETT DRIVE                                                               WHITE PLAINS        NY           10604
    JOURNAL SENTINEL INC                    MILWAUKEE JOURNAL SENTINEL     333 W STATE STREET                                                              MILWAUKEE           WI           53201-0661
    JOURNEY EDUCATION MARKETING
    INC                                                                    13755 HUTTON DRIVE                                                              DALLAS              TX           75234
    JOUVE NORTH AMERICA INC                                                P O BOX 1338                                                                    BRATTLEBORO         VT           05302
    JOY DELF MEDIA SERVICES LLC                                            6531 WOODLAWN AVE N                                                             SEATTLE             WA           98103-5427

    JOY ELTON TRICARICO                     DBA CAROL BANCROFT & FRIENDS   P O BOX 2030                     CAROL BANCROFT & FRIENDS                       DANBURY             CT           06813
    Joy Hanks                                                              3010 Hway 140 N                                                                 Cottage Grove       TN           38224
    JOY HARRIS LITERARY AGENCY                                             381 PARK AVE SOUTH SUITE 428                                                    NEW YORK            NY           10016

    JOY HARRIS LITERARY AGENCY INC                                         381 PARK AVENUE SOUTH STE 428                                                   NEW YORK            NY           10016
    Joy Kaufman                                                            426 South 11th Stree                                                            St. Charles         IL           60174
    JOY L INGERSOLL                                                        1821 GROVE STREET                                                               GLENVIEW            IL           60025
    JOY MARTIN                                                             21708 N 38TH WAY                                                                PHOENIX             AZ           85050
    JOY REID                                                               10 N HIENA PL                                                                   MAKAWAO             HI           96768
    JOY RITCHIE                                                            3115 SHERIDAN BLVD                                                              LINCOLN             NE           68502
    JOY SCHACKOW                                                           9514 ROYAL CALCUTTA PLACE                                                       BRADENTON           FL           34202
    JOY V BREWSTER                                                         1004 URBAN AVENUE                                                               DURHAM              NC           27701
    Joyce B. Merz                                                          222 Causeway Street                                                             Medfield            MA           02052
    Joyce Bennett                                                          1118 Bocana Dr                                                                  Casselberry         FL           32707
    JOYCE C MCLEOD                                                         3277 LAKEVIEW OAKS DRIVE                                                        LONGWOOD            FL           32779
    JOYCE C WESTON                                                         204 LOON LAKE ROAD                                                              PLYMOUTH            NH           03264
    JOYCE CAROL OATES                                                      18 EAST SHORE DRIVE                                                             PRINCETON           NJ           08540
    Joyce Durham                                                           1418 N Belleview Pl                                                             Indpls              IN           46222
    Joyce Elliott                                                          22 Brewster Road                                                                Wakefield           MA           01880
    JOYCE FAYE ALLEN                                                       1185 SOUTH VICTORIA AVENUE                                                      LOS ANGELES         CA           90019
    JOYCE GORDON INC                                                       3235 ROXANNE AVENUE                                                             LONG BEACH          CA           90808
    Joyce Harper                                                           5223 South Smith Court                                                          Spokane             WA           99223
    Joyce I Snow                                                           13250 IVIE RD                                                                   GALT                CA           95632
    Joyce Laidley                                                          9 Elsie Street                   Apt. 2                                         Everett             MA           02149
    Joyce May                                                              45 Bluestem Ct.                                                                 Streamwood          IL           60107



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                    227 of 488                                                                                1:26 PM
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                                                                                                                           of 519
                                                                                                                         First Class Service List


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    Joyce Owens                                                            10515 Moqui Ct                                                                                   Indianapolis           IN           46235
    JOYCE SIDMAN                                                           310 HOLLANDER RD                                                                                 WAYZATA                MN           55391
    Joyce Stabile                                                          1014 Turtle Creek Drive                                                                          Oviedo                 FL           32765
    Joyce Tai-Chau                                                         3904 Bonnie Ln                                                                                   Round Rock             TX           78665
    JOYCE WHITE                                                            34 ROBERT STREET                                                                                 BRAINTREE              MA           02184
    JP MORGAN
    JP MORGAN                                                              PO BOX 13659                                                                                     NEWARK                 NJ           07188-0659
    JP MORGAN CHASE, 7TH FL                                                LOCK BOX 70598, 525 WEST
    MAILROOM                                C/O SIMON & SCHUSTER INC       MONROE STREET                                                                                    CHICAGO                IL           60661
    JP STEWART ASSOCIATES                                                  1 STANWOOD STREET                                                                                BURLINGTON             MA           01803
    JPMorgan Chase Bank, N.A.               Ashley (Eun-Hee) Song          Seoul Branch                       J.P. Morgan Plaza                     34-35 Jeong-dong        Jung-gu                Seoul        100-120      Korea
    JPMorgan Chase Bank, N.A.               Gary K. Schechter              One Chase Manahattan Plaza         NY1-A155                                                      New York               NY           10005-1401
    Jr Lee                                                                 200 Pebble Trail                                                                                 Alpharetta             GA           30004
                                            DBA WORLD LIBRARY
    JS PALUCH CO INC                        PUBLICATIONS                   P O BOX 2703                                                                                     SCHILLER PARK          IL           60176-2703
    JS PALUCH CO INC                                                       3708 N RIVER RD SUITE 400                                                                        FRANKLIN PARK          IL           60131
    JS PALUCH CO INC                                                       P O BOX 2703                                                                                     SCHILLER PARK          IL           60176-2703
    JSA Trust                               RE 361 Hanover Street          154 Maplewood Avenue                                                                             Portsmouth             NH           03801
    JSA TRUST                               ACCT# 3300579092               134 PLEASANT STREET                                                      CITIZENS BANK           PORTSMOUTH             NH           03801
    JSK ENTERPRISES OF IL INC                                              3017 JACKSON AVENUE                                                                              CHICAGO HEIGHTS        IL           60411
    JTC ENTERPRISES, INC.                   QUAIL RIDGE EAST ON ALVAMAR    1502 MEDINAH CIRCLE                                                                              LAWRENCE               KS           66047
                                                                           CALLE SARRACIN 405 URB
    JUAN A DUCOS MIRANDA                                                   VALENCIA                                                                                         SAN JUAN               PR           00921
    Juan A Gonzalez Sanchez                                                Calle del Valle 354 San Juan, PR                                                                 San Juan               PR           00912
    JUAN A MALDONADO TOLEDO                                                CALLE B BO SANTA ROSA                                                                            HATILLO                PR           00659
    Juan Alvarado                                                          1025 N Main St                                                                                   Naperville             IL           60563

    JUAN ANTONIO TORRES                                                    CALLE LOS NARANJOS # 708 APT 4B                                                                  SANTUCE                PR           00907
    Juan Baquera                                                           5309 Abingdon Place                                                                              Austin                 TX           78723
    JUAN CABRERA                                                           3 WINGREEN LOOP                                                                                  HILLS                  TX           78738
    JUAN CARLOS FLORES SALGADO                                             GOMEZ FARIAS 23-A COL BEJERO                                                                     DEL ALVARO OBREGON                  01340        Mexico
    JUAN CARLOS SAGER                                                      1 THE GROVE                     DIDSBURY                                                         MANCHESTER                          M20 2RG      United Kingdom
    Juan Cordova                                                           509 Lee Avenue                                                                                   Wadesboro              NC           28170
    JUAN DAVID CONCEPCION ROSA                                             CALLE JUREL APT 628             CIUDAD INTERAMERICANA                                            BAYAMON                PR           00956
    JUAN FARIAS                                                            CALLE PISUERGA 35 VILLAVICIOSA                                                                   VILLAVICIOSA DE ODON   Madrid       28670        Spain
    JUAN MEDINA RAMIREZ                                                    AVE CESAR NICOLAS PENSON 64                                              GAZCUE                  SANTO DOMINGO                                    Dominican Republic
    Juan Nikolas Nava                                                      2617 W. Berwyn Ave.             #3a                                                              Chicago                IL           60625

    JUAN NOVERON                            500 W UNIVERSITY AVE           UNIVERSITY OF TEXAS AT EL PASO                                                                   EL PASO                TX           79968
    Juan Oquendo                                                           California U-4                     Mallorca                                                      Guaynabo               PR           00969
    JUAN PABLO BELLINI                                                     AVELLANEDA 1148 PISO 11 DTO F                                                                    BUENOS ARIES                                     Argentina
    Juan Patlan                                                            4000 Ace Ln.                       Lot. # 556 B                                                  Lewisville             TX           75067
                                                                           1 CALLE HORTENSIA SKY TOWER 1
    JUAN R DE JESUS NIEVES                                                 APT 6-E                                                                                          SAN JUAN               PR           00926
    JUAN R RODRIGUEZ RIVERA                 METRO PLAZA TOWER              305 CALLE VILLAMIL APT 911                                                                       SAN JUAN               PR           00907-2856
    Juan Rivera                                                            2229 Polo Club Drive               #301                                                          Kissimmee              FL           34741
    JUAN SANCHEZ REYES                                                     VILLA DEL REY 4L-20 CALLE 6                                                                      CAGUAS                 PR           00725
    JUAN SILVESTRE FLORES TRUEBA                                           COL SAN PEDRO MARTIR               CLAVEL DE ORO NO #7                                           TLALPAN                DF           CP 14650     Mexico

    JUAN WILLIAM SANDOVAL BORGES            QUINTAS DE SAN LUIS            CALLE OLLER B21                                                                                  CAGUAS                 PR           00725
    JUAN ZARAGOZA                                                          HUEJOTZINGO #21                                                                                  COL. LA PAZ            Puebla       72160        Mexico
    Juana Contreras                                                        5308 Duchess                                                                                     Lake Dallas            TX           75065
    Juana Garcia                                                           312 Watson Street                                                                                Aurora                 IL           60505
    JUANITA C RICHARDSON                                                   993 HALE ROAD                                                                                    MEMPHIS                TN           38116
    Juanita Castro                                                         1213 Hillwood Dr.                                                                                Lewisville             TX           75067
    Juanita Froelicher                                                     2785 Laurel St.                                                                                  Napa                   CA           94558
    JUANITA HAVILL                                                         P O BOX 194                                                                                      SONOITA                AZ           85637
    JUDAH S HARRIS                                                         77-11 138th STREET                                                                               KEW GARDENS HILLS      NY           11367
    JUDD PILOSSOF INC                                                      300 WEST 38TH STREET, STE 1102                                                                   NEW YORK               NY           10018
    JUDGE OF PROBATE                        RICK ALLISON                   P O BOX 891                                                                                      JASPER                 AL           35502
                                            DBA JUDI LAPINSOHN &
    JUDI LAPINSOHN                          ASSOCIATES                     1220 NOYES STREET                                                                                EVANSTON               IL           60201
    Judi R Larocco                                                         830 W Pine Ave                                                                                   Roselle                IL           60172
    JUDITH A DOAQUE                         10 FORSYTH STREET              BOX 1038                                                                                         BOSTON                 MA           02115
    JUDITH A GREEN                                                         P O BOX 95                                                                                       WATERFORD              ME           04267
    Judith A Haskell                                                       Box 844                            115 MT Pass                                                   Capitan                NM           88316
    JUDITH A MOFFETT                                                       1007 W COLLEGE AVE # 523                                                                         SANTA ROSA             CA           95401-5046
    JUDITH A WITT                                                          220 NORTH COURT STREET                                                                           DIXON                  IL           61021
    Judith Arisman                                                         One Conomo Pt. Road                                                                              Essex                  MA           01929
    JUDITH ARMEN                                                           218 RESERVOIR STREET #216                                                                        HOLDEN                 MA           01520



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                        228 of 488                                                                                                        1:26 PM
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                                                                                                                         of 519
                                                                                                                     First Class Service List


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    JUDITH B KNIPE                                                           300 E 33RD STREET APT 3L                                                      NEW YORK           NY           10016
    Judith B. Poindexter                                                     370 Elmington Avenue                                                          Nashville          TN           37205
    Judith Bach                                                              118 Mason Terrace               # 10b                                         Brookline          MA           02446
    JUDITH C HAYNES                                                          1312 ASH HOLLOW PLACE                                                         CASTLE ROCK        CO           80104
    JUDITH C SUTTON                                                          325 EAST 80TH ST #2-D                                                         NEW YORK           NY           10075
    Judith Castle                                                            83 Stewart Street                                                             West Newbury       MA           01985
    JUDITH CHELIUS STARK                                                     332 LENOX AVE                                                                 SOUTH ORANGE       NJ           07079
    Judith Custy                                                             1506 NE 84th Avenue                                                           Vancouver          WA           98664
    JUDITH D SCOTT                                                           9336 SOPHIA AVENUE                                                            SEPULVEDA          CA           91343
    JUDITH F BUCKNER LITERARY
    AGENT                                   THE RUNGSTEDLUND FOUNDATION 12721 HART STREET                                                                  NORTH HOLLYWOOD    CA           91605
    Judith F Kopp                                                       970 Croyden Rd                                                                     Bridgewater        NJ           08807
    Judith Fifer                                                        11 Dartmouth Place                                                                 Boston             MA           02116
    Judith French                                                       10134 Bridlewood Ave                                                               Orlando            FL           32817
    JUDITH HASKELL                                                      PO BOX 844                                                                         CAPITAN            NM           88316
    Judith Hendey                                                       404 Ridgeway Blvd S                                                                Davenport          FL           33897
    JUDITH HERBST                                                       28 PRESTONFIELD ROAD                                                               NASHUA             NH           03064
    Judith Howard                                                       9876 Bay Vista Estates Blvd                                                        Orlando            FL           32836
    JUDITH IRVIN                                                        772 RHODEN COVE ROAD                                                               TALLAHASSEE        FL           32312-1041
    JUDITH K TICER                                                      5013 NW 60TH                                                                       OKLAHOMA CITY      OK           73122
    JUDITH L IRVIN                                                      772 RHODEN COVE ROAD                                                               TALLAHASSEE        FL           32312-1041
    Judith Laleike                                                      508 Victoria Garden Lane                                                           Kennett Square     PA           19348
    JUDITH M STAGOSKI                                                   1218 BEDFORD FALLS COURT                                                           BALLWIN            MO           63021
    JUDITH M WALLIS                                                     871 HARBOUR PLACE                                                                  SUGARLAND          TX           77478
    JUDITH MAY                                                          69 ELLSWORTH DR                                                                    CHEEKTOWAGA        NY           14225

    JUDITH MCGEE                            DBA ENGLISH THERAPY COMPANY      8193 COUNTY ROAD 4513                                                         ATHENS             TX           75752-5808
    JUDITH MILLER INC                                                        330 W 38TH STREET STE 901                                                     NEW YORK           NY           10018
    JUDITH NAYER                                                             340 EAST 80TH ST #1-D                                                         NEW YORK           NY           10021
    JUDITH NEIS KARSEN                      DBA THE NEIS GROUP               14600 SAWYER RANCH ROAD                                                       DRIPPING SPRINGS   TX           78620
    Judith Nelson                                                            1327 Manchester                                                               Greenfield         IN           46140
    JUDITH ORTIZ COFER                                                       PO BOX 2599                                                                   ATHENS             GA           30612
    JUDITH PLUMB                                                             801 EAST ACOMA DRIVE                                                          PHOENIX            AZ           85022
    Judith Roberts                                                           1810 Weeks Ave                                                                Orlando            FL           32806
    Judith Schwartz                                                          9003 E. 24th Place              #103                                          Denver             CO           80238
    Judith Trivett                                                           3320 Seven Lakes West                                                         Seven Lakes        NC           27376
    Judith Verdejo                                                           1107 Juniper Hammock Court                                                    Winter Garden      FL           34787
    JUDITH WAITE                                                             319 OLD SWANWICK LANE           LOWER SWANICE                                 SOUTHAMPTON                     SO31 7GT     United Kingdom
    Judith Williamson                                                        21 Crestview Dr.                                                              Hopewell           NJ           08525
    Judith Witt                                                              220 North Court St                                                            Dixon              IL           61021
    JUDY & JONATHON QUICK                   DBA QUICK & ASSOCIATES           2130 MAIN STREET STE 170                                                      HUNTINGTON BEACH   CA           92648
    JUDY A YOUNG                                                             2362 MILAM STREET                                                             PEARL              MS           39208
    JUDY BOALS INC                                                           307 WEST 38TH STREET, # 812                                                   NEW YORK           NY           10018
    Judy Cawley                                                              19572 Sardinia Lane                                                           Huntington Beach   CA           92646
    JUDY COX                                                                 1921 WESTRIDGE DRIVE                                                          ONTARIO            OR           97914
    JUDY CURTIS                                                              PO BOX 195                                                                    EAST BERNARD       TX           77435
    JUDY D RIDDELL                                                           75 LONGWOOD LANE                                                              NEWNAN             GA           30263
    JUDY DAVIS                                                               510 E 86TH ST                                                                 NEW YORK           NY           10028
    JUDY DELTON FAMILY TRUST                JULIE DELTON - TRUSTEE           719 LAUREL AVENUE                                                             ST PAUL            MN           55104
    Judy Dowell Ingram                      Educ Staff DevelopmentServices   4720 S. Greenwood Ave. Unit 3                                                 Chicago            IL           60615
    JUDY F CAWLEY                                                            19572 SARDINIA LANE                                                           HUNTINGTON BEACH   CA           92646
    Judy Fosdick                                                             37 Union Street                                                               Plymouth           MA           02360
    Judy Herns                                                               5704 La Seyne Pl.                                                             San Jose           CA           95138
    Judy Kossert                                                             1735 W. Downer                                                                Aurora             IL           60505
    Judy Kwan                                                                480 Craft Street                                                              Newton             MA           02165
    JUDY LANGFORD                                                            36 RED CEDAR LANE                                                             FRANKLIN           NC           28734
    JUDY LYON DAVIS                                                          119-49 UNION TURNPIKE                                                         FOREST HILLS       NY           11375
    JUDY MAJEWSKI                                                            46 LAKEWOOD CIRCLE                                                            ST CHARLES         IL           60174
    JUDY NYBERG                                                              557 SOUTH GRACE STREET                                                        LOMBARD            IL           60148
    JUDY PUCKETT                                                             6 BALTUSROL STREET                                                            MORAGA             CA           94556
    JUDY ROSELLA EDWARDS                                                     3510 W KINGSTON # 5                                                           PEORIA             IL           61604
    JUDY ROWELL                                                              3023 S 72ND E AVE                                                             TULSA              OK           74129
    Judy Royster                                                             132 Royster Road                                                              Silex              MO           63377
    JUDY SIERRA                                                              1020 BARBER DRIVE                                                             EUGENE             OR           97405
    JUDY SIMPSON                                                             612 E OBANNON STREET                                                          MORGANFIELD        KY           42437
    Judy Stengel                                                             4 Claire Drive                                                                Stoughton          MA           02072
    Judy Suter                                                               4708 Laurel Ave                                                               Glenview           IL           60025
    Judy Warren                                                              3708 Tamarack Trail                                                           Austin             TX           78727
    JULENE SUE REED                                                          2559 COUNTRYWOOD PKWY                                                         CORDOVA            TN           38016




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    229 of 488                                                                                      1:26 PM
                                                      12-12171-reg          Doc 136             Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              237 Matrix
                                                                                                                      of 519
                                                                                                                   First Class Service List


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                                            DBA JULIE GANG PHOTOGRAPHY
    JULES & JIM ETC INC                     INC                           54 GREENE STREET, SUITE 4N                                                     NEW YORK              NY           10013
    JULI DIXON                                                            777 GREY HERON PLACE                                                           CHULUOTA              FL           32766
    JULIA DONALDSON                                                       2 CHAPELTON AVENUE                                                             BEARSDEN GLASGOW                   G61 2RE      United Kingdom
    JULIA GFRORER                                                         37 NW TRINITY PLACE # 22                                                       PORTLAND              OR           97209
    Julia Giannotti                                                       228 Pond St.                   Apt. 3                                          Billerica             MA           01862
    Julia Handy                                                           9501 E HIGHLAND RD             APT 282                                         HOWELL                MI           48843
    JULIA K PFERDEHIRT                                                    7426 ELMWOOD AVE                                                               MIDDLETON             WI           53562
    JULIA K TEAL                                                          633 AUTUMN OAKS LOOP                                                           WINTER GARDEN         FL           34787
    JULIA KNIGHT                                                          18045 BOWMAN ROAD                                                              COTTONWOOD            CA           96022
    JULIA MASCARDO                                                        15968 DORSET ROAD                                                              LAUREL                MD           20707
    JULIA MOONEY                                                          185 HALL STREET APT 1709                                                       BROOKLYN              NY           11205
    Julia Njenga                                                          27 Myrtle Street                                                               Lowell                MA           01850
    JULIA PENELOPE                                                        1916 37TH ST                                                                   LUBBOCK               TX           79412-1209
    Julia Perez                                                           34 Cedar Hill Rd                                                               Ashland               MA           01721
    Julia R Barrott                                                       2151 W. McLean                 #2                                              Chicago               IL           60647
    JULIA R GREER                                                         2305 E WOODLYN ROAD                                                            PASADENA              CA           91104
    Julia R. Monahan                                                      6464 E. Bates Avenue                                                           Denver                CO           80222
    JULIA RAMSEY WILSHIRE                                                 4401 SCHOOLHOUSE PATH                                                          PORTSMOUTH            VA           23703
    Julia Richardson                                                      102 Louise Drive                                                               Franklin              MA           02038
    Julia Wedum                                                           6124 S. Magnolia Ct.                                                           Centennial            CO           80111
    Juliana Koenig                                                        75 Fairway Drive                                                               Hempstead             NY           11550
    JULIANA M SAXTON                                                      1527 OAKCREST DR                                                               VICTORIA              BC           V8P 1K5      Canada
    Juliana M. Taymans                                                    8047 Glendale Road                                                             Chevy Chase           MD           20815
    Julie A Mendonca                                                      94 Dinsmore Street                                                             Lowell                MA           01852
    JULIE A MITCHELL                                                      5300 MARCY PLACE                                                               FARMINGTON            NM           87402
    Julie A Noonan                                                        492 East 7th Street                                                            South Boston          MA           02127
    Julie A Shaffer                                                       23036 Warner                                                                   Farmington            MI           48336
    JULIE A SMITH                                                         3904 BURRMONT ROAD                                                             ROCKFORD              IL           61107
    Julie Abels                                                           6175 S. Leyden St.                                                             Centennial            CO           80111
    JULIE ANN ALONZO                                                      88442 FISHER RD                                                                EUGENE                OR           97402
    JULIE C BRUNS                                                         521 WILLOW BEND DRIVE                                                          CHESAPEAKE            VA           23323
    JULIE C OSULLIVAN                                                     53 OAKWOOD BLVD                                                                POUGHKEEPSIE          NY           12603
    Julie Cary                                                            258 Westhaven Circle                                                           Geneva                IL           60134
    Julie Demeo-Pierce                                                    8861 Parliament Court                                                          Kissimmee             FL           34747
    Julie Dent                                                            490 Sharpners Pond Road                                                        North Andover         MA           01845
    JULIE DIENNO-DEMAREST                                                 14634 GRAYWOOD GROVE                                                           HOUSTON               TX           77062
    JULIE DUBE HACKETT                                                    PO BOX 786                                                                     PEMBROKE              MA           02359-0786
    Julie Dunn Swasey                                                     36 Warren Street                                                               Arlington             MA           02474
    JULIE E FROMER                                                        623 HIBBARD RD                                                                 HORSEHEADS            NY           14845
    JULIE E PRESTON CLARK                                                 60005 CHICKASAW DRIVE                                                          AMORY                 MS           38821
    JULIE EISENHARDT                                                      1609 CONNECTICUT AVE NW #400                                                   WASHINGTON            DC           20009
    JULIE ELLIS                                                           419 STONEY CREEK RD RD10                                                       PALMERSTON NORTH                                New Zealand
    JULIE GILBERT                                                         406 SM 2201                                                                    SANTO                 TX           76472
    Julie Godfrey                                                         1570 BONHAM PKWY                                                               Lantana               TX           76226
    JULIE GRAHAME                                                         214 NORTH 11TH ST 5T                                                           BROOKLYN              NY           11211
    Julie Green                                                           522 Appleton Drive                                                             Batavia               IL           60510
    Julie Hoover                                                          5624 Lomita Verde Circle                                                       Austin                TX           78749
    Julie Houston                                                         757 Birkhead Rd                                                                winfield              MO           63389
    Julie Jackson                                                         507 Custer Ave.                                                                Evanston              IL           60202
    Julie Jefferies-Williams                                              P.O. Box 527                                                                   Havertown             PA           19083
    Julie K Berggren                                                      3031 Greenleaf                                                                 Wilmette              IL           60091
    Julie Kaplan                                                          1414 Berkley Court                                                             Deerfield             IL           60015
    JULIE L SMILEY                                                        616 LILY STREET                                                                MONTEREY              CA           93940
    JULIE LARIOS                                                          2061 NE 73RD STREET                                                            SEATTLE               WA           98115
    JULIE LOCKE                                                           512 EAST 11TH STREET, APT 4C                                                   NEW YORK              NY           10009
    JULIE M DESILVA                                                       20 NOBLE HILL ROAD                                                             BEVERLY               MA           01915
    JULIE M WOOD                                                          71 LANGDON ST                                                                  CAMBRIDGE             MA           02138
    JULIE MARCHENKO                                                       7933 N LINDER                                                                  MORTON GROVE          IL           60053
    Julie Marsoobian                                                      1820 E. CASTLEBROOK                                                            FRESNO                CA           93720
    Julie Meeks                                                           1138 Getzelman Terrace                                                         Algonquin             IL           60102
    JULIE MORRILL                                                         1758 TWIN TOWERS EAST                                                          ATLANTA               GA           30334
    Julie Moulton                                                         P.O.Box 135                                                                    Manchester            WA           98353
                                            DBA CREATIVE INK OF VERMONT
    JULIE NELSON                            LLC                           76 PLEASANT ST                                                                 BETHEL                VT           05032
    Julie Nordin                                                          17215 Calico Dr                                                                Sun City              AZ           85373
    Julie Ohrazda                                                         8420 Karlov                                                                    Skokie                IL           60076
    JULIE PASCHKIS                                                        309 NE 94TH STREET                                                             SEATTLE               WA           98115
    Julie Rae Smith                                                       PO Box 970                                                                     Pacific City          OR           97135
    JULIE SCHULTZ                                                         26 ICE HOUSE ROAD                                                              DUXBURY               MA           02332



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                  230 of 488                                                                                         1:26 PM
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                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                       Address2                         Address3                City        State       Zip            Country
    JULIE SMITH                                                            85 STACKSTOWN ROAD                                                                        MARIETTA            PA           17547
    Julie Spielman                                                         3 Tenneyson Court                                                                         Lake In The Hills   IL           60156
    Julie Stuhr                                                            419 West Hillsdale Blvd.                                                                  San Mateo           CA           94403
    Julie Tibbott                                                          105 Clinton St                  #16                                                       New York            NY           10002
    JULIE TIBBOTT                                                          105 CLINTON STREET APT 16                                                                 NEW YORK            NY           10002
    JULIE TRAVES                                                           232 HEATH ST W #302                                                                       TORONTO             ON           M5P 1N8      Canada
    Julie Von Tersch                                                       5251 N. Bungalow Lane                                                                     Fresno              CA           93704
    JULIE VONDRELL WIGGINS                                                 493 S WASHINGTON ST                                                                       TIFFIN              OH           44883
    JULIE WASHINGTON                                                       2214 TALC TRAIL                                                                           MADISON             WI           53719
    JULIE WINTERBOTTOM                                                     26 EAST THIRD ST                                                                          BROOKLYN            NY           11218
    JULIE ZICKEFOOSE                        DBA INDIGO ARTS                330 SCOTTS RIDGE ROAD                                                                     WHIPPLE             OH           45788
    JULIEN MARC ZARAGOZA                                                   785 NW 164TH AVE                                                                          PEMBROKE PINES      FL           33028
    Juliet Ashley                                                          5248 Sw Landing Creek Dr                                                                  Palm City           FL           34990
    Juliet E Freeman                                                       811 Washington Road                                                                       Rye                 NH           03870
    JULIET S KONO                                                          999 WILDER AVENUE #905                                                                    HONOLULU            HI           96822
    JULIETA COLOMBO MARRON                                                 DIAZ VELEZ 5422                                                                           BUENOS AIRES                     01405        Argentina
    JULIETA PISANO                          C/O MARCO BARQUET              960 SORRENTO DR                                                                           WESTON              FL           33326
    JULIETTE SALZMAN KREISS                                                8 SWARTHMORE ROAD                                                                         WELLESLEY           MA           02482
    JULIO E CANDELARIO FERNANDEZ                                           P O BOX 193735                                                                            SAN JUAN            PR           00919-3735
    JULIO E CLAUDIO CRESPO                                                 P O BOX 1778                                                                              YABUCOA             PR           00767
    Julio F Vergara                                                        10112 Mallard Landings Way                                                                Orlando             FL           32832
    JULIO NOBOA POLANCO                                                    6637 CABANA DEL SOL                                                                       EL PASO             TX           79911
    JULIUS B LESTER                                                        306 OLD SPRINGFIELD ROAD                                                                  BELCHERTOWN         MA           01007
    JULIUS LESTER                                                          306 OLD SPRINGFIELD RD                                                                    BELCHERTOWN         MA           01007
    JUMP FOTOAGENTUR                        SUSANNE TREUBEL                WEG BEIM JAEGAR 93                                                                        HAMBURG                          D 22453      Germany
    JUMP START PRESS INC                                                   802 CEDAR AVE                                                                             PT PLEASANT BEACH   NJ           08742
    JumpStart Solutions                                                    2172 S. Trenton Way             #1-305                                                    Denver              CO           80231
    JUN SUGAI                                                              14 MAUJER ST #14                                                                          BROOKLYN            NY           11206
    Junction, Inc.                                                         98 N. Court Street              PO Box 206                                                Westminster         MD           21158-0206
    JUNE A THOMAS                                                          12365 SAMUEL BABIN ROAD                                                                   GONZALES            LA           70737
    JUNE BACON-BERCEY                                                      160 BELLA VISTA DRIVE                                                                     HILLSBOROUGH        CA           94010
    June Burnett                                                           3133 Stillmeadow Dr.                                                                      Indianapolis        IN           46214
    JUNE DETTENRIEDER                       DBA THE UNEXPECTED GRAPHICS    72 LANCASTER AVENUE                                                                       LUNENBURG           MA           01462
    June Farrow                                                            5042 N Michigan Ave                                                                       Schiller Park       IL           60176
    JUNE G SHANE & WILLIAM                  JUNE GRANT SHANE REVOCABLE
    LOVELAND AS                             TRUST                          50 WEST BROAD ST - SUITE 3300                                                             COLUMBUS            OH           43215
    June Mccain                                                            2184 BLUESTEM PK                                                                          LYNWOOD             IL           60411-8548
    JUNE SMITH                                                             161 WEST 75 STREET, APT 5A                                                                NEW YORK            NY           10023
    JUNE SOBEL                                                             2131 LINDENGROVE STREET                                                                   WESTLAKE VLG        CA           91361
    Junee Staggs                                                           2126 W. RUE ST. MICHEL                                                                    FRESNO              CA           93711
    JUNIORS BILDARCHIV                                                     HAUPTSTRASSE 58                                                                           RUHPOLDING                       83324        Germany
    JUPITERIMAGES CORP                                                     P O BOX 27569                                                                             NEW YORK            NY           10087
    JURGEN LIEPE                            PHOTOGRAPH-ANCIENT-ART         AHORNALLEE 7                                                                              BERLIN                           D-14050      Germany
    JURGENSEN JOHN                                                         25934 ECHO MOUNTAIN                                                                       SAN ANTONIO         TX           78260
    Jurupa USD                              Attn Connie                    4850 Pedley Road                                                                          Riverside           CA           92509
    JURYS BOSTON LLC                        DBA JURYS BOSTON HOTEL         350 STUART STREET                                                                         BACK BAY BOSTON     MA           02116
    JUSKIE PRINTING CORP                                                   2820 HITCHCOCK AVE UNIT E                                                                 DOWNERS GROVE       IL           60515
    JUST US BOOKS                                                          356 GLENWOOD AVE - 3RD FLR                                                                EAST ORANGE         NJ           07017
    JUST WARD                                                              LAMBERTS COVE RD                                                                          VINEYARD HAVEN      MA           02568
    JUST WRITE! INC                                                        1411 W GRACE ST/UNIT 4W                                                                   CHICAGO             IL           60613
    JUSTIN BASTEIN                                                         P O BOX 1029                                                                              VENTURA             CA           93002
    Justin Binder                                                          5324 Masonic Avenue                                                                       Oakland             CA           94618
    Justin Collins                                                         29 Village Rock Lane            #2                                                        Natick              MA           01760
    JUSTIN HJELM                                                           903 STATE ST S APT 2                                                                      KIRKLAND            WA           98033-6676
    JUSTIN HONAMAN                                                         6325 HADDINGTON LANE                                                                      SUWANEE             GA           30024
    JUSTIN JOHANSEN                                                        976 S 500 E                                                                               PAYSON              UT           84651
    JUSTIN JOSEPH                                                          10 FAXON AVENUE, # 415                                                                    QUINCY              MA           02169
    Justin Joseph                                                          23 Tea Party Way                                                                          Malden              MA           02148
    JUSTIN MACK                                                            4115 STATE DRIVE                                                                          NEW ORLEANS         LA           70125
    JUSTIN NOBEL                                                           35-12 BRADLEY AVENUE APT 2F                                                               BLISSVILLE          NY           11101-3250
    JUSTIN SIPIORSKI                        DEPARTMENT OF BIOLOGY          800 RESERVE ST                                                      167 CNR BUILDING      STEVENS POINT       WI           54481
    JUSTIN TORRES                                                          2111 26TH STREET APT 302                                                                  SAN FRANCISCO       CA           94107
                                            DBA INFORMATION TECHNOLOGY
    JUSTIN TREMBATH                         PROF CONSULT                   42 8TH STREET APT 3506                                                                    CHARLESTOWN         MA           02129-4221
    JUSTIN WASHBURN                                                        720 MASSACHUSETTS AVE APT 9                                                               CAMBRIDGE           MA           02139
    Justine Dunn                                                           3305 155th Place SE                                                                       Mill Creek          WA           98012
    JUSTINE DUNN                                                           3306 155TH PLACE SE                                                                       MILL CREEK          WA           98012-8334
    JUSTINE LLC                             JUSTINE MAGAZINE               6263 POPLAR AVENUE # 1154                                                                 MEMPHIS             TN           38119
    JW Marriott Denver                                                     150 Clayton Lane                                                                          Denver              CO           80206
    JW Marriott Las Vegas                   Resort and Spa                 PO Box 849512                                                                             Los Angeles         CA           90084



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                   231 of 488                                                                                                 1:26 PM
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                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                            Address2                         Address3               City        State       Zip              Country
    JW Marriott New Orleans                 c/o Marriott Business Services   PO Box 402642                                                                               Atlanta            GA           30384
    JW Marriott San Antonio                 Marriott Business Servives       PO Box 402642                                                                               Atlanta            GA           30384-2642
    JYOTI TANEJA                                                             72 JANPATH                                                                                  NEW DELHI                       110001       India
    Jyoti Taneja
    K & G ENTRANCES INC                                                      6 POND ST                                                                                   BILLERICA          MA           01821-1904
    K & M PRINTING                                                           1410 NORTH MEACHAM ROAD                                               DBA 3XXX              SCHAUMBURG         IL           60173
    K & M PRINTING                                                           1410 NORTH MEACHAM ROAD                                                                     SCHAUMBURG         IL           60173
    K & S AIR CONDITIONING INC                                               143 E MEATS AVE                                                                             ORANGE             CA           92865
    K C COLE                                                                 3107 - 17TH STREET                                                                          SANTA MONICA       CA           90405
                                            DBA CRITTER CONTROL OF
    K D CLARK SERVICES                      CENTRAL FL                       2452 SILVER STAR ROAD                                                                       ORLANDO            FL           32804
    K HOVING RECYCLING & DISPOSAL
    INC                                                                      2351 POWIS ROAD                                                                             WEST CHICAGO       IL           60185

    K LINE LOGISTICS USA INC                BOOK IMPORT DIVISION             P O BOX 247 NIHOMBASHI CHUO KU                                                              TOKYO                           1030027      Japan
    K Omar Hossain                                                           3846 Brookmyra Drive                                                                        Orlando            FL           32837
    K. Bingenheimer                                                          8391 East Lehigh Drive                                                                      DENVER             CO           80237-1645
    K1 ENTERPRISES INC                      DBA K1 CREATIVE                  271 W 1ST STREET                                                                            EUREKA             MO           63025
    K12BUY.COM LLC                          101 CONVENTION CENTER DRIVE      SUITE 700                                                                                   LAS VEGAS          NV           89109
    KACHENMEISTER CHERRYL                                                    345 SIXTH AVENUE NO. #502                                                                   MINNEAPOLIS        MN           55401
    KACZMAN JAMES                                                            123 ELM STREET                                                                              STONINGTON         CT           06378
    KADIR NELSON INC                                                         330 WEST 11TH STREET STE 402                                                                LOS ANGELES        CA           90015
    KADONNA J KNAPE                                                          3402 GALESBURG DR                                                                           AUSTIN             TX           78745-5818
    Kaelin E Merrihew                                                        462 Beacon Street              Apt. 22                                                      Boston             MA           02115
    KAESER COMPRESSORS INC                                                   P O BOX 946                                                                                 FREDERICKSBURG     VA           22404
    KAETHE ZEMACH BERSIN                                                     59 PEBBLE WOODS DRIVE          SUCCESSOR TRUSTEE FOR THE              MARGOT ZEMACH TRUST   DOYLESTOWN         PA           18901
    KAGE                                                                     PO BOX 9610                                                                                 BOWLING GREEN      KY           42102
    KAGI                                                                     1442 A WALNUT STREET # 392                                                                  BERKELEY           CA           94709
    KAHN KAHN INC                                                            20350 8TH STREET E                                                                          SONOMA             CA           95476-9601

    KAIEEM DAVIS                                                             31-D ESTATE ST JOHN, P O BOX 3424                                                           FREDERIKSTED       VI           00840

    KAIRN A KLIEMAN                                                          524 AGNES ARNOLD HALL               UNIV OF HOUSTON - HISTORY DEPT                          HOUSTON            TX           77204-3003
    Kaitlin D Greene                                                         28 Lexington Ave                    #1                                                      Somerville         MA           02144
    KALAMAZOO PUBLIC SCHOOLS                                                 1220 HOWARD STREET                                                                          KALAMAZOO          MI           49008
    Kalamazoo RESA                          Accounting Dept.                 1819 East Milham                                                                            Portage            MI           49002
    KALANI KILLACKY                                                          1001 PIER AVE, # B                                                                          SANTA MONICA       CA           90405
    KALB JONAH                                                               1 CEDAR LANE                                                                                BEDFORD            MA           01730
    KALEY NICOLE BERRY                                                       1830 PERUVIAN LANE                                                                          WINTER PARK        FL           32792
    KALIE LADLEY                                                             9411 OAKLAND                                                                                KANSAS CITY        MO           64138
    KALIM VENTURA                                                            P O BOX 634                                                                                 FREDERIKSTED       VI           00840

    KALMBACH PUBLISHING COMPANY             DISCOVER - ATTN DEBI ALLEN       275 SEVENTH AVE 21ST FL RM 2101                                                             NEW YORK           NY           10001

    KAMAN INDUSTRIAL TECHNOLOGIES                                            PO BOX 30672                                                                                HARTFORD           CT           06150
                                                                                                                 LIT INSTRUCTION & SUPPORT
    KAMEHAMEHA SCHOOLS                                                       567 SOUTH KING STREET               DIVISION                                                HONOLULU           HI           96813
    KAMIL VOJNAR                            C/O SHIREEN F SEPAHI             300 EAST 40th STREET SUITE 26H                                                              NEW YORK           NY           10016
    Kamini Maitlall                                                          2524 Callaway Drive                                                                         Orlando            FL           32824
    KAMPS INC                                                                2900 PEACH RIDGE N W                                                                        GRAND RAPIDS       MI           49534
    Kamran Abbasi                                                            3142 W. Birchwood                                                                           Chicago            IL           60645
    KANDA SOFTWARE                                                           200 WELLS AVENUE                                                                            NEWTON             MA           02459
    Kandra James                                                             507 Oglethorpe Street Nw                                                                    Washington         DC           20011
    KANE COUNTY TREASURER                                                    PO BOX 4025                                                                                 GENEVA             IL           60134
    KANE MILLER EDC PUBLISHING                                               4901 MORENA BLVD SUITE 213                                                                  SAN DIEGO          CA           92117
    KANE PUBLISHING SERVICES INC                                             350 FIFTH AVENUE, STE 7206                                                                  NEW YORK           NY           10118
    KANE ROBERT B                                                            4122 VERDANT LANE                                                                           WEST LAFAYETTE     IN           47906
    KANIENKEHAKA ONKWAWENNA
    RAOTITIOHKWA                                                             PO BIX 969                                                                                  MOHAWK TERRITORY   QC           J0L 1B0      Canada
    Kanlanfei Djato-Kolani                                                   6109 Lake Freeman Dr                                                                        Indpls             IN           46254
    KANSAS ADULT EDUCATION                                                                                       PITTSBURG ADULT EDUCATION
    ASSOCIATION                             ATTN KAREN SOOTER                1600 NORTH WALNUT                   CENTER                                                  PITTSBURGH         KS           66762
    KANSAS ASSN FOR SUP AND                 DEVELOPMENT - ATTN JUDY
    CURRICULUM                              WELTER                           1115 EAST 303 STREET                                                                        PAOLA              KS           66071
    KANSAS ASSN OF ELEMENTARY
    SCHOOL                                  PRINCIPALS                       515 KANSAS AVENUE SUITE 201                                                                 TOPEKA             KS           66603
    KANSAS ASSN OF SCHOOL
    ADMINISTRATORS                                                           515 SOUTH KANSAS AVE STE 201                                                                TOPEKA             KS           66603
    KANSAS ASSN OF TEACHERS OF
    MATHEMATICS                                                              5620 SW 61ST STREET                                                                         TOPEKA             KS           66619



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                       232 of 488                                                                                                  1:26 PM
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                                                                                                                           of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2              Address3             City          State       Zip      Country
    KANSAS ASSOC OF SCHOOL
    LIBRARIANS                                                              13492 185TH STREET                                                               LINWOOD            KS           66052
    KANSAS ASSOC OF TEACHERS OF
    ENGLISH                                 ATTN EXHIBIT COORDINATOR        777 SUNSET DR                                                                    LAWRENCE           KS           66044
    KANSAS ASSOC OF TEACHERS OF
    SCIENCE                                 ATTN DENNIS NEWELL              1624 INDUSTRIAL ROAD                                                             EMPORIA            KS           66801-6611
    KANSAS ASSOCIATION OF                                                                                   LINN LUTHERAN SCHOOL
    INDEPENDENT                             AND RELIGIOUS SCHOOLS           112 CHURCH STREET               ASSOCIATION                                      LINN               KS           66953
    KANSAS CITY ART INSTITUTE                                               4415 WARWICK BLVD                                                                KANSAS CITY        MO           64111
    KANSAS CITY PUBLIC SCHOOL                                               2010 N 59TH STREET                                                               KANSAS CITY        KS           66101
    Kansas Corporate Tax                    Kansas Department of Revenue    915 SW Harrison Street                                                           Topeka             KS           66699-4000
    KANSAS DEPT OF REVENUE                  SALES & EXCISE DEPT             915 SW HARRISON ST                                                               TOPEKA             KS           66625-5000
    KANSAS DEPT OF REVENUE                  AUDIT SERVICES                  915 SW HARRISON STREET                                                           TOPEKA             KS           66625-7719
    Kansas Dept of Revenue                  Attn Bankruptcy Collection      915 SW Harrison                 Rm No 230                                        Topeka             KS           66612
    KANSAS DEPT OF REVENUE                                                  915 SW HARRISON ST                                                               TOPEKA             KS           66625-5000
    KANSAS DEPT OF REVENUE                                                  915 SW HARRISON STREET                                                           TOPEKA             KS           66625-7719
    KANSAS LEARNING FORWARD                                                 401 S HAMILTON                  ATTN SUSAN PATTON                                PRATT              KS           67124
    KANSAS MISSOURI
    SUPERINTEDENTS                          LEADERSHIP FORUM                29912 EAST MAJOR ROAD                                                            GRAIN VALLEY       MO           64029
    Kansas Secretary Of State               Memorial Hall, 1st Floor        120 S.W. 10th Avenue                                                             Topeka             KS           66612-1594
    KANSAS SECRETARY OF STATE               MEMORIAL HALL                   120 SW 10TH AVE                                                                  TOPEKA             KS           66612-1594
    KANSAS STATE DEPARTMENT OF
    EDUCATION                               ATTN TERESA WHITE               120 SE 10TH AVENUE                                                               TOPEKA             KS           66612
    KANSAS STATE HISTORICAL
    SOCIETY                                                                 6425 SW 6TH AVENUE              KANSAS HISTORY CENTER                            TOPEKA             KS           66615-1099
    KANSAS UNIVERSITY ENDOWMENT
    ASSOCIA                                 DEPT OF GIFT PLANNING           P O BOX 928                                                                      LAWRENCE           KS           66044-0928
    KANSAS WORLD LANGUAGE
    ASSOCIATION                             ATTN ALYSON KILCOYNE            15109 SOUTH NAVAHO DRIVE                                                         OLATHE             KS           66062
    KAPLAN EUGENE H                                                         148 W. WATERVIEW ST                                                              NORTHPORT          NY           11768
    Kaplan, Evan
    KAPOLEI HIGH SCHOOL                                                     91-5007 KAPOLEI PKWY                                                             KAPOLEI            HI           96789

    KAPTIVATE TWO LLC                       DBA MARTINI GRAPHIC SOLUTIONS   2460 N COURTENAY PKWY STE 208                                                    MERRITT ISLAND     FL           32953
    Kara Courtney                                                           2035 Friar Tuck Circle                                                           Adrian             MI           49221
    Kara J. Butts                                                           309 Laverne St                                                                   Elburn             IL           60119
    KARA LAREAU                                                             64 THIRD STREET                                                                  PROVIDENCE         RI           02906
    Kara Steele                                                             6808 S. Magnolia Court                                                           Englewood          CO           80112
    Kara Vandas                                                             336 Dawson Drive                                                                 Castle Rock        CO           80104
    Karatol Small                                                           3860 Amberlyn Dr                Unit C                                           Inglewood          CA           90305-3434
    KARELI AUTHOR INC                                                       478 CORRIDA DR.                                                                  SAN LUIS OBISPO    CA           93401
    KAREN A BRADSHAW                                                        20A MARKET, UNIT 2                                                               BEAUFORT           SC           29906
    Karen A Hamilton                                                        7308 Udine Avenue                                                                Orlando            FL           32819
    Karen A Hogle                                                           21 Linden St.                   Unit 319                                         Quincy             MA           02170
    KAREN ABDUL MALIK                                                       75 TIFFANYY LANE                                                                 WILLINGBORO        NJ           08046
    KAREN ARMS                                                              38 SWEETLAND ROAD                                                                CORTLAND           NY           13045
    Karen Arneson                                                           2201 Thornwild Pass                                                              Austin             TX           78758
    KAREN BAICKER                                                           12 HIGHLAND AVE.                                                                 MAPLEWOOD          NJ           07040
    Karen Balko                                                             7661 LAURELWOOD DR                                                               CANAL WINCHESTER   OH           43110
    KAREN BARBOUR                                                           P O BOX 1210                                                                     PT REYES STA       CA           94956
    KAREN BEAUMONT                                                          609 OAK DRIVE                                                                    CAPITOLA           CA           95010
    KAREN BECK                                                              105 NEW YORK AVE                                                                 LYNN HAVEN         FL           32444
    Karen Belanger                                                          104 Grandview Road                                                               Milton             NH           03851
    Karen Bennett                                                           8794 SW 82nd Court Road                                                          Ocala              FL           34481
    KAREN BILLIPP                                                           693 GOODWIN ROAD                                                                 ELIOT              ME           03903
    KAREN BRINKMANN                                                         2812 STAFFORD CT                                                                 MCKINNEY           TX           75070-4280
    Karen Brofft                            K2B Learning LLC                4380 S. Monaco St, Unit 3099                                                     Denver             CO           80237
    Karen Burkhart                                                          2240 Eucalyptus Ave                                                              Escondido          CA           92029
    Karen Bush                                                              40 Moffett Rd.                                                                   Lake Bluff         IL           60044
    Karen Bushkov                                                           2279 27th Avenue                                                                 San Francisco      CA           94116
    KAREN C MACKINNON                                                       141 BIANCA RD                                                                    DUXBURY            MA           02332
    Karen C Miller                                                          310 Medford Drive                                                                Colorado Springs   CO           80921
    KAREN CAINE                                                             141 S VAN DIEN AVENUE                                                            RIDGEWOOD          NJ           07450
    Karen Carter                                                            176 Chestnut Street                                                              Wilmington         MA           01887
    Karen Casey                                                             34 Elm Street                   Apt. B                                           Foxboro            MA           02035
    KAREN CASTENS                                                           620 W BELMONT #302                                                               CHICAGO            IL           60657
    Karen Curley                                                            3224 Dante Drive                #307                                             Orlando            FL           32835
    KAREN CUSHMAN                                                           17804 THORSEN ROAD SW                                                            VASHON ISLAND      WA           98070
    KAREN D SEACH                                                           12677 WHITE CORAL DRIVE                                                          WELLINGTON         FL           33414
    Karen D. Johnson                                                        180 Lakeview Dr.                                                                 Aurora             IL           60506



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                      233 of 488                                                                               1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                             241 Matrix
                                                                                                                     of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                      Address2              Address3                 City        State       Zip           Country
    Karen Dalexander                                                       1627 Fairfax Lane                                                              Bartlett             IL           60103
    KAREN DIAZ HERNANDEZ                                                   ADELINA # 48 COL                                                               PERALVILL                                      Mexico
    KAREN DIPILLO                                                          1185 SORRENTO WOODS BLVD                                                       NOKOMIS              FL           34265
    Karen E Hamilton                                                       315 Beacon Pointe Drive                                                        Ocoee                FL           34761
    Karen E Welch                                                          3980 Sentry Crossing NE                                                        Marietta             GA           30068
    Karen E. Walsh                                                         12 Taft Avenue                                                                 West Newton          MA           02465
    KAREN EHRHARDT                                                         PO BOX 65                                                                      LA HONDA             CA           94020
    KAREN ERNST DA SILVA                                                   29 DOME DRIVE                                                                  SHELTON              CT           06484
    KAREN EVANS                                                            221 E BLAKE AVENUE                                                             COLUMBUS             OH           43202
    KAREN G SCHNEIDER                                                      1421 FAIRWAY DRIVE                                                             TALLAHASSEE          FL           32301
    KAREN GROVE                                                            32127 CAMINO RABAGO                                                            TEMECULA             CA           92592
    KAREN HAAG                                                             9316 CHAROLIAS LANE                                                            CHARLOTTE            NC           28213
    KAREN HERZOFF                                                          1811 N HALSTED APT G                                                           CHICAGO              IL           60614
    Karen Hiatt                                                            8628 Ellis Court                                                               Arvada               CO           80005
    Karen Hines                                                            639 Bryce Trail                                                                Roselle              IL           60172
    KAREN J BARSS                                                          201 LAKE VIEW AVENUE                                                           CAMBRIDGE            MA           02138
    KAREN J LEVY                                                           30 DIAMOND CREST COURT                                                         BALTIMORE            MD           21209
    KAREN JEAN MCCOY TACK                                                  36 BREELEMONT AVE                                                              RIVERSIDE            CT           06878
    KAREN K GOLDSTEIN                                                      10430 ALEXIA DRIVE                                                             INDIANAPOLIS         IN           46236
    KAREN KOMAR                                                            921 PRINCE STREET                                                              GEORGETOWN           SC           29440
    KAREN L BOUNDS                                                         6046 HWY 505                                                                   LAWRENCE             MS           39336
    KAREN L BRUHN                                                          141 BARBIN ROAD                                                                ESPERANCE            NY           12066
    KAREN L FITTS                                                          236 W GAY STREET                                                               WEST CHESTER         PA           19380
    Karen L Gumbe                                                          10 Plaza Santa Cruz             Antillana-Encantada                            Trujillo Alto        PR           00976
    Karen L Miller                                                         917 Annadale Dr                                                                Cedar Park           TX           78613
    KAREN L TICHY                                                          9641 HALE DR                                                                   ST LOUIS             MO           63123
    Karen L. Johnson                                                       W4356 BASSWOOD DRIVE            CARRIAGE HOUSE                                 LAKE GENEVA          WI           53147
    Karen Lacroix                                                          37108 Swamp Road                                                               Prairieville         LA           70769
    Karen Lanning                                                          1626 Birch Lane                                                                Corinth              TX           76210
    KAREN LEE SCHMIDT                                                      9701 12TH AVENUE NW                                                            SEATTLE              WA           98117
    KAREN LICHTBLAU                                                        550 GRAND ST APT H11B                                                          NEW YORK             NY           10002
    Karen Locke                                                            5 Coolidge Rd                                                                  Wilmington           MA           01887
    KAREN M CHENOWETH                                                      1580 PENDLETON ST                                                              DELTONA              FL           32725
                                            DBA KMH EDUCATIONAL SERVICES
    KAREN M HARDIN                          LLC                            1314 RICHLAWN DR                                                               SPRING               TX           77379
    Karen M Starrett                                                       1630 7th St. South                                                             Jacksonville         FL           32250
    Karen M. Heiman                                                        2080 A Road                                                                    Baileyville          KS           66404
    Karen Macdonald                                                        11499 Torrey Pines Dr                                                          Auburn               CA           95602
    KAREN MARTY                                                            29372 NORTH ROAD                                                               HOTCHKISS            CO           81419
    Karen Messenger                                                        220 WALDEN ST.                                                                 CAMBRIDGE            MA           02140
    KAREN MINOT                                                            28 SUNNY COVE DR                                                               NOVATO               CA           94949-8240
    Karen Mitroff                                                          5124 Geraldine Drive                                                           Lansing              MI           48917
    Karen Morek                                                            1302 Spring Beach Way                                                          Cary                 IL           60013
    KAREN MURRAY                                                           446 HOOKSETT RD                                                                AUBURN               NH           03032
    Karen Niemi                                                            930 Forest                                                                     Deerfield            IL           60015
    Karen Papa                                                             2121 S. Hiawassee Road          4557                                           Orlando              FL           32835
    KAREN PATKAU                                                           401 QUEENS QUAY WEST, STE 609                                                  TORONTO              ON           M5V 2Y2      Canada
    Karen Porter                                                           23 Alcott St.                                                                  Acton                MA           01720
    Karen Ralston                                                          62 Mad Dog Dr                                                                  Lamy                 NM           87540
    Karen Rasofsky                                                         4853 D Enfield Ave                                                             Skokie               IL           60077
    Karen Rey                                                              46 Ellen Road                                                                  Brockton             MA           02302
    Karen Robbins                                                          1400 W. Elmdale                 Apt. G                                         Chicago              IL           60660
    KAREN RUZZO                                                            7 GLENN ROAD                                                                   LARCHMONT            NY           10538
    Karen S Robinette                                                      829 CAMP STREET                                                                INDIANAPOLIS         IN           46202
    KAREN S SOLOMON                                                        24 REEVE CIRCLE                                                                MILLBURN             NJ           07041
    KAREN S VOCKE                                                          1075 18TH ST                                                                   OTSEGO               MI           49078
    Karen Stevens                                                          2069 Sheridan Rd                                                               Encinitas            CA           92024
    Karen Stroman                                                          46 Washington Street                                                           Reading              MA           01867
    KAREN SZERYK                                                           314 NAPA DRIVE                                                                 ALLEN                TX           75002
    KAREN TOTH                                                             31 LAKEVIEW DRIVE                                                              NORWALK              CT           06850
    Karen Veit                                                             11687 Blackmoor Drive                                                          Orlando              FL           32837
    Karen Ward                                                             1224 Windsor Way                                                               Lutz                 FL           33559
    KAREN WARD                                                             2113 ZION ROAD                                                                 GRAND JUNCTION       CO           81503
    Karen Weaver                                                           15 Clearwater Drive                                                            Mattapan             MA           02126
    Karen Wegner                                                           16652 Y St                                                                     Omaha                NE           68135
    KAREN WELLER- WATSON                                                   P O BOX 330                                                                    CLIFF                NM           88028
    Karen White                                                            17421 Calla Dr.                                                                Dallas               TX           75252
    KAREN WILLIAMS                                                         6645 NORTHUMBERLAND ST                                                         PITTSBURGH           PA           15217
    KAREN YORK                                                             P O BOX 111                                                                    CENTER BARNSTEAD     NH           03225-0111
    Karen Yue                                                              57 Cherry Street                #1                                             Cambridge            MA           02139



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   234 of 488                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                       First Class Service List


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    KARI BAETZ                                                             13500 HARVEST                                                                                 PERRY                  OK           73077
    Kari Barber                                                            PO Box 719                                                                                    Fairplay               CO           80440
    Kari Wilson                                                            12416 Beartrap Lane                                                                           Austin                 TX           78729
    KARIM ROBERTA                                                          379 WALMAR DRIVE                                                                              BAY VILLAGE            OH           44140
    Karimi, Joanne
    KARIN DAHL                                                             466 GLYNTAWEL DR                                                                              GRANDILLE              OH           43023
    KARIN IRELAND                                                          39993 FREMONT BLVD #308                                                                       FREMONT                CA           94538
    KARIN L DENTINO                                                        157 GLEN EAGLES DRIVE                                                                         CIBOLO                 TX           78108
    Karin Smith                                                            17015 Crestview                                                                               Lake Oswego            OR           97034
    KARIN SNELSON                                                          1036 32ND AVE E                                                                               SEATTLE                WA           98112
    Karina Garcia                                                          307 N. Gail St.                                                                               Dallas                 TX           75211
                                                                           10 PLAZA SANTA CRUZ ANTILLANA-
    KARINA S MANGUAL GUMBE                                                 ENCANTADA                                                                                     TRUJILLO ALTO          PR           00976
    Karl D Weidner                                                         515 Fifth Street, NE                                                                          Washington             DC           20002
    Karl Hinz                                                              1648 South Crystal Lake Drive    Apt # 43                                                     Orlando                FL           32806
    KARL J DRAKE                                                           27 SUNRISE LANE                                                                               POUGHKEEPSIE           NY           12603
    Karl Patterson                                                         2401 Big Horn Drive                                                                           Austin                 TX           78734
    KARL RAUCH VERLAG KG                                                   GRAFENBERGER ALLEE 82                                                                         DUSSELDORF                          40237        Germany
    KARL TARO GREENFELD                                                    14637 BESTOR BLVD                                                                             PACIFIC PALISADES      CA           90272
    Karla Creech                                                           709 Westlake Dr                                                                               Troy                   MO           63379
    Karla Paschkis                                                         35B Antrim St.                                                                                Cambridge              MA           02139
    Karlene Gross                                                          10338 Carlson Circle                                                                          Clermont               FL           34711
    KARLENE V SCHWARTZ                                                     152 STILES ROAD                                                                               BOYLSTON               MA           01505
    KARL-HENRY ROMAIN                                                      P O BOX 30118                                                                                 LITTLE ROCK            AR           72260
    KAROL B WILLIAMSON                                                     6920 BAL LAKE DR                                                                              FORT WORTH             TX           76116
    Karol Bibbs                                                            60 Longwood Ave                  Apt. 1002                                                    Brookline              MA           02446
    KARPFINGER AGENCY                                                      357 WEST 20TH STREET                                                                          NEW YORK               NY           10011-3379
    KARREN SCHULTZ-FERRELL                                                 6016 WILD GINGER COURT                                                                        COLUMBIA               MD           21044
    KARRIE JACOBS                                                          85 LIVINGSTON ST, PHJ                                                                         BROOKLYN               NY           11201
    KARST PRODUCTIONS INC                                                  5779 NE COUNTRY ROAD 340                                                                      HIGH SPRINGS           FL           32643
    Kary Jessup                                                            3200 N Park Lane Lot 1                                                                        Altus                  OK           73251
    Karyn A Moore                                                          208 Heritage Hill Drive                                                                       Lewisville             TX           75067
    Karyn M Stevens                                                        185 Freeman Street               Apt. 536                                                     Brookline              MA           02446
    KARYN WELLHOUSEN TUNKS                                                 19152 QUAIL CREEK DR                                                                          FAIRHOPE               AL           36532
    Kashif Khan                                                            4815 Adair Oak Dr.                                                                            Orlando                FL           32829
    KASIA L MCNABB                          DBA MCNABB EDITORIAL           21 PLEASANT STREET                                                                            PEPPERELL              MA           01463

    KASKASKIA COOLEGE BOOKSTORE                                            27210 COLLEGE ROAD                                                                            CENTRALIA              IL           62801
    KASPERSON RICHARD                                                      15916 EASTSHORE DRIVE                                                                         LYNNWOOD               WA           98087-6626
    KAST CONSTRUCTION LLC                                                  701 S OLIVE AVE STE 105                                                                       WEST PALM BEACH        FL           33401
    KASTLE SYSTEMS                                                         P O BOX 75151                                                                                 BALTIMORE              MD           21275-5151
    KATARINA RICE                                                          10433 COLINA WAY                                                                              LOS ANGELES            CA           90077
    KATARINA SJOSTEDT                                                      HALLSTENSHAGEN 2                                                                              VASTRA FROLUNDA                     SE-42656     Sweden
    KATE ANABLE                                                            469 COMM AVE #3                                                                               BOSTON                 MA           02215
    KATE BEATON                                                            140 HOPE ST APT 5E                                                                            BROOKLYN               NY           11211
    Kate Bernard                                                           409 Loma Del Sol Dr                                                                           Davenport              FL           33896
    KATE FOSTER                                                            358 ST JOHNS PLACE APT 3G                                                                     BROOKLYN               NY           11238
    KATE KIESLER                                                           P O BOX 1424                                                                                  SILVERTHORNE           CO           80498
    KATE KIESLER DESIGN INC                                                P.O. BOX 1424                                                                                 SILVERTHORNE           CO           80498
    KATE KLISE                                                             6804 HOUSLEY ROAD                                                                             NORWOOD                MO           65717
    KATE MCGOVERN                                                          16 UPLAND ROAD # 3                                                                            CAMBRIDGE              MA           02140
    KATE MELLO                                                             417 WENTWORTH LANE                                                                            MODESTO                CA           95350
    KATE MONTGOMERY                                                        8 COLD SPRING RD                                                                              DURHAM                 NH           03824
    KATE RONALD                                                            6195 FAIRFIELD RD APT 7                                                                       OXFORD                 OH           45056-1590
    Kate Winter                                                            PO Box 509                                                                                    Graton                 CA           95444
    KATERINA OLABARRIETA                                                   1750 JAMES AVE, APT 9L                                                                        MIAMI BEACH            FL           33139
    Katerina T Sagris                                                      2505 E. Hunter Dr.                                                                            Arlington Heights      IL           60004
    KATHARIN DAVIES SAMWAY                                                 2912 FLORIDA STREET                                                                           OAKLAND                CA           94602
    Katharine Colton                                                       9a Haskell St.                                                                                Cambridge              MA           02140
    Katharine Goodale                                                      2340 North Lister Avenue         #1F West                                                     Chicago                IL           60614
    KATHARINE MUIR                                                         P O BOX 17                                                                                    JAMAICA                VT           05343
    Katharine Robson                                                       94 Old Farm Raod                                                                              Basking Ridge          NJ           07920
                                                                                                            KATHERINE KOCH WEB DESIGN
    KATHERINE A KOCH                                                       1220 MARY DRIVE                  SERVICES                                                     LORDSTOWN              OH           44481
    KATHERINE A YAEGER            DBA BETHAVEN INN                         386 HAMILTON AVENUE                                                                           MEADVILLE              PA           16335
    KATHERINE ANN PORTER LITERARY C/O THE PERMISSIONS COMPANY
    TRUST                         INC                                      P O BOX 604                                                                                   MOUNT POCONO           PA           18344
    KATHERINE ANNE PORTER                                                                                   LIT TRUST - WILL OF KATHERINE
    FOUNDATION                                                             MCKELDIN LIBRARY                 PORTER                                ATTN PATRICIA STEELE   COLLEGE PARK           MD           20742-7911
    Katherine Beinder                                                      53 Brick House Lane                                                                           White River Junction   VT           05001



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      235 of 488                                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                                      of 519
                                                                                                                    First Class Service List


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    KATHERINE BOLLUYT-MEINTS                                               7675 ROYAL SYDNEY DR                                                           GAINESVILLE         VA           20155
    KATHERINE BOMER                                                        10002 WILD DUNES DR                                                            AUSTIN              TX           78747-1305
    Katherine Bouffard                                                     13 Naples Road                                                                 Salem               MA           01970
    KATHERINE BROUSSEAU                                                    708 DERZEE CT                                                                  DELMAR              NY           12054
    Katherine Bryant                                                       258 Huron Avenue                                                               Cambridge           MA           02138
    KATHERINE C FEHLAU                                                     205 BRUCE HILL ROAD                                                            CUMBERLAND          ME           04021
    KATHERINE C SPENGLER                                                   9640 CANDY LANE                                                                LA MESA             CA           91941-4223
    KATHERINE DE KRUIF WALSH                                               50 LAKESHORE DRIVE                                                             AVONDALE EST        GA           30002
    KATHERINE DETRE                                                        1010 SOUTH ADAMS ST                                                            DENVER              CO           80209
    KATHERINE DUNHAM                                                       SOUTHERN ILLINOIS UNIV                                                         E ST LOUIS          IL           62201
    KATHERINE E HA                                                         26 FARWELL ROAD                                                                TYNGSBORO           MA           01879
    Katherine E OSullivan                                                  328 Summer Street             Apt 3                                            Somerville          MA           02144
    KATHERINE E SPENCER                                                    1128 SPRINGVILLE ROAD                                                          BIRMINGHAM          AL           35215
    Katherine E Youngpeter                                                 4100 Lake Underhill Road      Apt 301                                          Orlando             FL           32803
    KATHERINE FROMAN                                                       378 CHORRO STREET                                                              SAN LUIS OBISPO     CA           93405
    KATHERINE GIBBS SCHOOL                                                 2501 MONROE BLVD                                                               NORRISTOWN          PA           19403
    Katherine Gipe                                                         57 Castle Hill                                                                 East Aurora         NY           14052
    Katherine Golem                                                        3050 Tamarron Blvd            #4101                                            Austin              TX           78746
    Katherine Greig                                                        517 Colimbus Ave              Apt 4                                            Boston              MA           02118
    KATHERINE GRIBBEN                                                      16 SUMMIT STREET                                                               SOMERVILLE          MA           02144
    Katherine Griffin                                                      201 Hunters Hill Ct                                                            Macon               GA           31210
    Katherine H Gilbert                                                    34 Shawsheen Rd                                                                Bedford             MA           01730
    KATHERINE H TODD                                                       1034 RICHLAND CT                                                               CHICO               CA           95926
    KATHERINE ISAACS                                                       6 FIRST AVE                                                                    MONTPELIER          VT           05602
    Katherine Klotter                                                      206 S Evergreen Avenue                                                         Arlington Heights   IL           60005
    KATHERINE M EAKIN                                                      2304 21ST AVENUE SOUTH                                                         BIRMINGHAM          AL           35223
                                            DBA KATHERINE M HEAP
    KATHERINE M HEAP                        CONSULTING                     131 KNOTT AVE -P O BOX 1847                                                    SANDWICH            MA           02563
    Katherine M Jasiewicz                                                  2152 Victoria Falls Drive                                                      Orlando             FL           32824
    KATHERINE MARIA                                                        48 WESTWOOD AVENUE                                                             NEW ROCHEL          NY           10801
    Katherine Markey                                                       3712 Neyrey Dr                                                                 Metairie            LA           70002
    Katherine Marrero                                                      P.o. Box 610082                                                                Dallas              TX           75261
    Katherine Mccracken                                                    138 Winthrop St #2                                                             Medford             MA           02155
    KATHERINE MUHTARIS                                                     4917 N WALCOTT A2                                                              CHICAGO             IL           60640
    Katherine Mullen                                                       1683 Commonwealth Ave.        Apt. 3                                           Brighton            MA           02135
    KATHERINE PATERSON                                                     32 W COBBLE HILL ROAD                                                          BARRE               VT           05641
    KATHERINE RUSSELL RICH                                                 105 E 15TH ST # 71                                                             NEW YORK            NY           10003
    Katherine S Golem                                                      3050 Tamarron Blvd            #4101                                            Austin              TX           78746
    KATHERINE SANDERS                                                      72007 WILKINSON                                                                CHAPEL HILL         NC           27517
    KATHERINE SCHLICK NOE                                                  2546 QUEEN ANNE AVENUE N                                                       SEATTLE             WA           98109
    KATHERINE SCHRAMM                                                      11009 SW PARKVIEW DRIVE                                                        WILSONVILLE         OR           97070
    Katherine Talcott                                                      4109 Moss Hollow Dr.                                                           Round Rock          TX           78681
    Katherine Trapp                                                        P.O. Box 4909                                                                  Tubac               AZ           85646
    Katherine V. Branum                                                    1022 Ree Way                                                                   Knoxville           TN           37909
    KATHERINE VAN SLUYS                                                    4128 NORTH OAKLEY                                                              CHICAGO             IL           60618
    Katherine Vignery                                                      4300 Avenue F                                                                  Austin              TX           78751
    Katherine Weber                                                        12007 Wycliff Lane                                                             Austin              TX           78727
    KATHERINE WEIL SILBER                                                  1655 LAKE COOK RD # 239                                                        HIGHLAND PARK       IL           60035
    Katherine Wilson                                                       2730 Oak Tree Drive           Apt 2505                                         Carrollton          TX           75006
    Katherine Wilson                                                       7 Nauset Street                                                                Medfield            MA           02052
    KATHERYN ASHLEY MCAFEE                                                 150 STAYMAN PARK                                                               FAYETTEVILLE        GA           30215
    KATHI F MCGHEE                                                         11604 SWEET BASIL CT                                                           AUSTIN              TX           78726
    KATHI H FAIRBEND                        DBA KATHI FAIRBEND MS RPT      123 SOUTH AVENUE                                                               WESTON              MA           02493-2323
    Kathi M Prancan                                                        10 Hasty Point Place                                                           Bluffton            SC           29909
    Kathi McGhee                                                           11604 Sweet Basil Court                                                        Austin              TX           78726
    KATHLEE STRICKLAND                                                     126 APPLEWOOD LANE                                                             SLIPPERY ROCK       PA           16057
    KATHLEEN A EGAN                                                        13165 TRIUMPH DRIVE                                                            POWAY               CA           92064
    KATHLEEN A MESSENBAUGH                                                 2208 NW 57TH STREET                                                            OKLAHOMA CITY       OK           73112
    Kathleen A Rideout                                                     98 Colby Drive                                                                 Halifax             MA           02338
    KATHLEEN A ROBESON                                                     11327 REFLECTION PT DR                                                         FISHERS             IN           46037
    Kathleen A Simon                                                       1115 Essex Court                                                               Batavia             IL           60510
    KATHLEEN A VAN NEVEL                                                   1302 S RIDGE AVE                                                               ARLINGTON HTS       IL           60005
    KATHLEEN ANN DORER                                                     155 MOUNTAIN VIEW LAKE                                                         ODENVILLE           AL           35120
    KATHLEEN ANN KELLOGG                                                   750 FOX HOLLOW CIR                                                             OTTO                NC           28763
    KATHLEEN B YANCEY                                                      1530 BELLEAU WOOD DR                                                           TALLAHASSEE         FL           32308
    KATHLEEN BENSON HASKINS                 THE ESTATE OF JAMES HASKINS    249 W 101ST ST APT 2                                                           NEW YORK            NY           10025
    Kathleen Braun                                                         23 Heritage Lane              Unit 3                                           Norwich             VT           05055
    KATHLEEN C LEVERICH                                                    40 ROGERS AVE                                                                  SOMERVILLE          MA           02144
    Kathleen Cavers                                                        10733 Cliffview Dr.                                                            South Lyon          MI           48178
    KATHLEEN COLLINS                                                       31 OYSTER RIVER RD                                                             DURHAM              NH           03824



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                   236 of 488                                                                                1:26 PM
                                                      12-12171-reg           Doc 136          Filed 07/15/12 Exhibit
                                                                                                                 Entered
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                                                                                                        Pg Creditor
                                                                                                            244 Matrix
                                                                                                                    of 519
                                                                                                                 First Class Service List


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    KATHLEEN D THOMMES                                                     1289 LONGFORD CIRCLE                                                        ELGIN                IL           60120
    Kathleen Derrick                                                       3 Central Place                                                             Newburyport          MA           01950
    KATHLEEN E BEESE                                                       13205 US RT 11                                                              ADAMS CENTER         NY           13606
    Kathleen E Bosse                                                       114 Village St.                                                             Medway               MA           02053
    KATHLEEN E SHELDON                                                     925 14TH ST #24                                                             SANTA MONICA         CA           90403-3114
    KATHLEEN G MANATT                                                      3607 KENTFIELD ROAD                                                         AUSTIN               TX           78759
    Kathleen Ganczarski                                                    141 Beaman Road                                                             Sterling             MA           01564
    Kathleen Gladstone                                                     29 Cottage St.                                                              Wellesley            MA           02482
    Kathleen Glinos                                                        3556 Amaca Cir                                                              Orlando              FL           32837
    Kathleen Haney                                                         24 Pleasant Street                                                          Epping               NH           03042
    Kathleen Hocker                                                        1790 Harmonyville Road                                                      Pottstown            PA           19464
    KATHLEEN HOLLOWELL                                                     27 POINT BREEZE RD                                                          WOLFEBORO            NH           03894-4903
    Kathleen Kellman                                                       11 Alderbrook Rd.                                                           Andover              MA           01810
    Kathleen Kelly                                                         14 Sea Wind Lane           West                                             Pointe Verda Bch     FL           32082
    Kathleen Kennedy Kelley                                                64 OCEAN OAKS LN                                                            PALM COAST           FL           32137-3393
    Kathleen Kenney                                                        214 Plympton Road                                                           Plymouth             MA           02360
    Kathleen Keown                                                         1533 Princeton Ln.                                                          Schaumburg           IL           60193
    Kathleen Klingenberg                                                   7401 Eastmoreland Rd.      Apt. 418                                         Annandale            VA           22003
    KATHLEEN KRULL                                                         3326 WILLARD STREET                                                         SAN DIEGO            CA           92122
    KATHLEEN L KUNA                                                        8614 MEADOWBROOK DRIVE                                                      BURR RIDGE           IL           60527
    Kathleen L Oswalt                                                      862 Stewart Avenue                                                          Elgin                IL           60120
    Kathleen Lackos                                                        29 West 375 Smith                                                           West Chicago         IL           60185
    KATHLEEN LIVINGSTON                                                    4 QUEENSVIEW COURT                                                          DALLAS               TX           75225
    KATHLEEN M BARTLEY                                                     6015 S LIVERPOOL RD                                                         HOBART               IN           46342
    Kathleen M Gustafson                                                   8400 Cedarcreek Ct                                                          Ellicott City        MD           21043
    KATHLEEN M KELLY                                                       38 COASTAL DR                                                               NEPTUNE CITY         NJ           07753
    Kathleen M Warnert                                                     300 BELLADERA CT                                                            MONTEREY             CA           93940
    Kathleen M. Black                                                      41 Floyd Avenue                                                             Lynn                 MA           01904
    Kathleen Mallory                                                       108 Blackberry Tr.                                                          Aurora               IL           60506
    Kathleen Mattox                                                        2515 Prairie Ave.          3-W                                              Evanston             IL           60201
    Kathleen Mcgovern                                                      8282 Oxbow                                                                  Westerville          OH           43082
    Kathleen Mckee                                                         150 Seven Sisters Drive                                                     Boerne               TX           78006
    Kathleen McMahon                                                       128 West Jinkins Circle                                                     Sanford              FL           32773
    Kathleen Mcmahon                                                       151 Tremont Street         Apt 14R                                          Boston               MA           02111
    KATHLEEN MELTON                                                        143 NORTHWOOD COURT                                                         BAYPORT              NY           11705
    Kathleen Monahan Anderson                                              2 David Drive                                                               Raymond              NH           03077
    KATHLEEN O MOORE                                                       2711 KLAMATH DRIVE                                                          ROCKLIN              CA           95765
    KATHLEEN P MORMILE                                                     2463 FOXDALE AVENUE                                                         OCEANSIDE            NY           11572
    Kathleen Rose Duffy                                                    16 Bittersweet Circle                                                       Plymouth             MA           02360-1585
    KATHLEEN ROSS WARREN                                                   3900 S INWOOD AVENUE                                                        NEW ORLEANS          LA           70131
    Kathleen Sands Boehmer                                                 122 A Green                                                                 Marblehead           MA           01945
    Kathleen Stallings                                                     2240 Old Orchard Dr.                                                        Marietta             GA           30068
    KATHLEEN T KATHAN                                                      364 VICTOR LANE                                                             LAKE ZURICH          IL           60047
    Kathleen Tabor                                                         120 Lowrie Blvd                                                             Northfield           OH           44067
    KATHLEEN TOLAN                                                         3656 JOHNSON AVE 5A                                                         BRONX                NY           10463
    KATHLEEN VILLA                                                         10 TOWN PLAZA #52                                                           DURANGO              CO           81301
    Kathleen Vogt                                                          4305 N. Austin Ave.        Unit 2                                           Chicago              IL           60634
    Kathleene A Sims                                                       1901 Mignon                                                                 Memphis              TN           38107
    Kathryn A Mihalich                                                     10550 Reeds Landing Ct                                                      Burke                VA           22015
    Kathryn Alexander                                                      30 Marilyn Road                                                             Milton               MA           02186
    KATHRYN ALLEN                                                          PO BOX 4                                                                    GREENFIELD           OK           73043
    KATHRYN ANN NORTHCUTT                                                  NS 11 LAKE CHEROKEE                                                         LONGVIEW             TX           75603
    Kathryn Bernards                                                       3726 N Christiana Avenue                                                    Chicago              IL           60618
    Kathryn Briggs                                                         31 Elm St Apt 3                                                             Somerville           MA           02143
    KATHRYN BROWN                                                          10 ALLEN PLACE                                                              NORTHAMPTON          MA           01060
    KATHRYN C MIKEL                                                        8461 E TIMROD STREET                                                        TUCSON               AZ           85710
                                            DBA K DYBLE THOMPSON
    KATHRYN C THOMPSON                      ILLUSTRTION                    3122 N NEWHALL STREET                                                       MILWAUKEE            WI           53211
    KATHRYN ELIZABETH HASKEW                                               1522 E SHEFFIELD AVE                                                        CHANDLER             AZ           85225
    Kathryn Feher                                                          1407 W. Catalpa                                                             Chicago              IL           60640
    KATHRYN FRYDENBORG                                                     14750 HYSON SCHOOL RD                                                       STEWARTSTOWN         PA           17363
    Kathryn Hudson                                                         11 Casino Ave                                                               Cranston             RI           02920
    Kathryn J McGarry                                                      75 Tinker Road                                                              Merrimack            NH           03054
    Kathryn Joyce                                                          10 OLD MILL ROAD                                                            KINGSTON             MA           02364
    KATHRYN KRISTINE CUNNANE                                               19505 E 42ND STREET                                                         BROKEN ARROW         OK           74014
    Kathryn Kuckkan                                                        817 Briar Court                                                             Watertown            WI           53094
    KATHRYN LANIER WARD                                                    242 86TH ST                                                                 BROOKLYN             NY           11209
    KATHRYN LASKY INC                                                      7 SCOTT STREET                                                              CAMBRIDGE            MA           02138
    KATHRYN LASKY KNIGHT                                                   7 SCOTT STREET                                                              CAMBRIDGE            MA           02138
    KATHRYN LINDSEY HILL                                                   P O BOX 401105                                                              SAN FRANSCISCO       CA           94140



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                237 of 488                                                                                 1:26 PM
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                                                                                                                    of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3               City          State       Zip            Country
    KATHRYN M BORMAN                                                       635 RIVERHILLS DR                                                               TEMPLE TERRACE       FL           33617
    KATHRYN M PIKE                                                         191 IRISH LANE                                                                  CAMBRIDGE            NY           12816
    Kathryn Masselink                                                      Pelican Lake Ranch             16478 Burghley Ct.                               Platteville          CO           80651
    Kathryn Mawk                                                           2174 Unity Trail                                                                Marietta             GA           30064
    KATHRYN MILES                                                          215 BAGLEY HILL ROAD                                                            TROY                 ME           04987
    Kathryn Mills                                                          301 Pond Street                                                                 Jamaica Plain        MA           02130
    Kathryn Nordenson                                                      1406.5 Elmwood                 3E                                               Evanston             IL           60201
    KATHRYN PAIGE OSHIDDS                                                  337 WEST 76TH STREET, APT 1D                                                    NEW YORK             NY           10023
    Kathryn Perkins                                                        32 Gardena Street                                                               Brighton             MA           02135
    KATHRYN REDMAN                                                         3978 HIGHLAND SHORES                                                            OSHKOSH              WI           54904
    KATHRYN RHOADES                                                        1489 CANTIGNY WAY                                                               WHEATON              IL           60187
    KATHRYN ROGERS                                                         8204 KROMER ST                                                                  AUSTIN               TX           78757
    Kathryn Rojo                                                           1503 Windsong Trail                                                             Round Rock           TX           78664
    Kathryn Rucci                                                          2381 Corbett Rd                                                                 Orlando              FL           32826
    Kathryn Scovel                                                         114 Sterling Ridge                                                              Cary                 NC           27519
    Kathryn Selke                                                          7617 Waldon Dr                                                                  Austin               TX           78750
    Kathryn Stoddard                                                       3442 Valentia Street                                                            Denver               CO           80238
    KATHRYN TAYLOR MITCHELL                                                121 COOLIDGE STREET                                                             SHERBORN             MA           01770
    KATHRYN THOMAS                                                         43401 CLOVERKNOLL CT                                                            ASHBURN              VA           20147
    Kathryn Troy                                                           7E 14TH STREET APT1004                                                          NEW YORK             NY           10003
    Kathryn Werner                                                         533 W Belmont Ave              Apt. 2                                           Chicago              IL           60657
    KATHY A GROSAM                          BARTLETT ELEMENTARY            433 GILES COURT                                                                 BARTLETT             IL           60103
    Kathy Anderson                                                         1336 W. Elmdale #2                                                              Chicago              IL           60660
    Kathy Busby                                                            23131 Lodgepoint Drive                                                          Katy                 TX           77494
    Kathy C Gander                                                         1233 Cleveland St.                                                              Wilmette             IL           60091
    KATHY CONE                                                             2065 GLENWOOD HAMMOCK RD                                                        DELAND               FL           32720
    KATHY FINE                                                             3725 SPRING HILL DR                                                             EDMOND               OK           73013
    KATHY FOGLIA                                                           PO BOX 422                                                                      BIG BEAR CITY        CA           92314
    KATHY GODFREY                                                          94 OLD BROOKSIDE ROAD                                                           RANDOLPH             NJ           07869
    KATHY HENDERSON                                                        69 WOODLAND RISE                                                                LONDON                            N10 3UN      United Kingdom
    KATHY HOFFMAN                                                          1269 HARBOR CT                                                                  OKEMOS               MI           48864
    KATHY JAFFEE                                                           26 NORTH CEDAR ST                                                               OBERLIN              OH           44074
    Kathy Jernigan                                                         5628 Nicklaus Ln                                                                Milton               FL           32570
                                                                           2470 SWEETWATER COUNTRY CLUB
    KATHY K CRISTOL                                                        DRIVE                                                                           APOPKA               FL           32712
    Kathy Kara Doyle                                                       2027 Camelot Drive                                                              Lewisville           TX           75067
    Kathy Keane                                                            2161 Shoreland Drive           Apt. D                                           Indianapolis         IN           46229
    KATHY KLEINLEIN                                                        1840 HUDSON ST                                                                  ENGLEWOOD            FL           34223
    Kathy L Klein                                                          2821 W. Sherwin Ave.                                                            Chicago              IL           60645
    KATHY L POWELL                                                         236 S BROOKVIEW RD                                                              NORTH WILKESBORO     NC           28659
    KATHY MARTIN                                                           7174 WILLIS WAY                                                                 HAMILTON             OH           45011
    Kathy Murphy                                                           5531 Yakima Street                                                              Aurora               CO           80015
    KATHY O VOLK                                                           10593 BLUE BELL WAY                                                             COCKEYSVILLE         MD           21030
    KATHY POE                                                              1203 17TH ST, N                                                                 JACKSONVILLE BEACH   FL           32250
    Kathy Rager                                                            602 Fairground Road                                                             Warrenton            MO           63383
    KATHY SHORT                                                            4945 N CALLE ANGOSTA                                                            TUCSON               AZ           85718
    KATHY STRATTON                                                         3678 LONE LOOKOUT ROAD                                                          TRAVERSE CITY        MI           49686
    Kathy Thornburg                                                        10472 E. Bullard Ave                                                            Clovis               CA           93611
                                            DBA KATHY TIRSCHEK &
    KATHY TIRSCHEK                          ASSOCIATES                     331 CIRCLEWOOD LANE                                                             WYOMING              OH           45215-4108
    KATIE (WOOD) RAY                                                       1393 RUNNING DEER TRAIL                                                         WAYNESVILLE          NC           28786
    Katie Anne Ross                                                        41 Park Avenue                                                                  Wellesley            MA           02481
    Katie Davis                                                            22506 East Weaver Drive                                                         Aurora               CO           80016
    Katie Huha                                                             1 Lenox Street                 Unit 108                                         Norwood              MA           02062
    KATIE LYNN PETTY                                                       6411 MISTY BROOK BEND CT                                                        SPRING               TX           77379
    KATIE MCALLASTER                                                       518 LAUREL COURT                                                                BENICIA              CA           94510
    Katie Meyer                                                            65 North Willow St.                                                             East Aurora          NY           14052
    Katie Montgomery                                                       19 Cambria St. # 1                                                              Somerville           MA           02143
    KATIE MORRIS                                                           341 PEARL STREET                                                                CARY                 IL           60013
    KATIE REBECCA BOYD                                                     519 FAUQUIER STREET                                                             NORFOLK              VA           23523
    Katie Stoddard                                                         3442 Valentia Street                                                            Denver               CO           80238
    KATINA LOPEZ-VENTURA                                                   2907 E GARY WAY                                                                 PHOENIX              AZ           85042
    KATRIN H TCHANA                                                        15 MELVIEW RIDGE                                                                NORWICH              VT           05055
    KATRINA DAMKOEHLER                      DBA K D DESIGN                 651 10TH STREET APT 4R                                                          BROOKLYN             NY           11215
    Katrina Kasten                                                         1432 W Barry Ave               #2                                               Chicago              IL           60657
    Katrina Kruse                                                          6 Bolton Rd                                                                     Billerica            MA           01821
    Katrina Monsees                                                        31 Raleigh Rd                                                                   Weymouth             MA           02189
    KATRINA ROBINSON                                                       3945 NEMO                                                                       RANDALLSTOWN         MD           21133-4040
    KATRINA V GONSALVES                                                    232 WEST MAIN STREET                                                            WESTBOROUGH          MA           01581
    KATY BUTLER                                                            119 EVERGREEN AVENUE                                                            MILL VALLEY          CA           94941



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    238 of 488                                                                                        1:26 PM
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                                                                                                                      of 519
                                                                                                                 First Class Service List


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    KATY INDEPENDENT SCHOOL                 DBA FAST GROWTH SCHOOL
    DISTRICT                                COALITION                    P O BOX 159                                                                                        KATY               TX           77492-0159
    Katy Liang                                                           47 Frost Rd.                                                                                       Belmont            MA           02478
    KATY S DUFFIELD                                                      93 GREYSTONE BLVD                                                                                  CABOT              AR           72023
    KAUFMAN KENN                                                         PO BOX 130                                                                                         ROCKY RIDGE        OH           43458
    KAUFMAN SONIA                                                        515 EAST 79TH STREET, APT 3D                                                                       NEW YORK           NY           10021
    KAUFMAN ZITA GROUP LLC                                               FIVE VAUGHN DRIVE STE 101                                                                          PRINCETON          NJ           08540
    KAVANAUGH JOSEPH                                                     157 HOLMES DALE                                                                                    ALBANY             NY           12208
    Kavanaugh, David
                                            DBA KAY CHERNUSH
    KAY CHERNUSH                            PHOTOGRAPHY                  3855 NORTH 30TH STREET                                                                             ARLINGTON          VA           22207
    KAY DRAGOUN                                                          518 RIDGEWAY                                                                                       ENID               OK           74701
    Kay Franklin                                                         107 Hanbury Lane                                                                                   Peachtree City     GA           30269
    KAY FULTON                                                           457 JEFFERSON NE                                                                                   ALBUQUERQUE        NM           87108
    Kay Hughes                                                           75 South Sixth Avenue #101                                                                         La Grange          IL           60525
    KAYE L SPENCER                                                       60 GUALBERT AVE                                                                                    CHEEKTOWAGA        NY           14211
    KAYENTA TOWNSHIP                        ACCOUNTING OFFICE            P O BOX 1490                                                                                       KAYENTA            AZ           86033
    KAYLA PONCE                                                          AVE JOBAS 8187                                                                                     ISABELA            PR           00662
    Kayleigh P McCann                                                    594 Hartford Pike                                                                                  Scituate           RI           02857
    KAYLEY LEFAIVER                                                      3100 VALLEY VIEW DRIVE                                                                             BATH               PA           18014
    KAZDIN ALAN E                                                        88 KILLDEER ROAD                                                                                   HAMDEN             CT           06517
    KAZIMIERAS PRAPUOLENIS                                               7119 W SUNSET BLVD # 340                                                                           HOLLYWOOD          CA           90046
    KAZUKO NOMOTO                                                        48 PARK WEST EDGWARE ROAD                                                                          LONDON                          W2 2QG       United Kingdom
    KCET COMMUNITY TELEVISION OF            SOUTHERN CALIFORNIA          4401 SUNSET BLVD                                                                                   LOS ANGELES        CA           90027
    Keal Cases Inc.                                                      PO Box 443                                                                                         Round Rock         TX           78680

    KEANE FIRE & SAFETY EQUIPMENT                                        1500 MAIN ST                                                                                       WALTHAM            MA           02451-1623
    KEARNS DOROTHY                                                       68 MALLARD DRIVE                                                                                   CONCORD            MA           01742
    Keats McFarland & Wilson LLP            RE Zynga, Inc., Defendant    Dennis L. Wilson, Esq.         9720 Wilshire Blvd., Penthouse Suite                                Beverly Hills      CA           90212
    Kecia Middleton                                                      1466 E Ports OCall dr.         1E                                                                  Palatine           IL           60074
    Keela Humphrey                                                       11144 S. Hudson Ave                                                                                Tulsa              OK           74137
    KEELEY NAUGHTON                                                      2208 RACQUET CLUB CT                                                                               ARLINGTON          TX           76017
    KEENE ELLIN OLIVER                                                   824 S MEDEA WAY                                                                                    DENVER             CO           80209
    Keiko Keegan                                                         19 Snyder Road                                                                                     Medfield           MA           02052
    KEILA SANTOS CRESPO                                                  C/ JOSE G BENITEZ EH-17                                                                            TOA BAJA           PR           00949
    Keisha M Howard                                                      708 56th Place NE                                                                                  Washington         DC           20019
    Keith A Sullivan                                                     4 Marlboro Rd                                                                                      Woburn             MA           01801
    KEITH ALAN DEUTSCH                                                   1515 EAST MONTGOMERY AVE                                                                           PHILADELPHIA       PA           19125
    KEITH B OLDHAM                                                       TRENT UNIV                     ELECTROCHEMICAL LAB                                                 PETERBOROUGH       ON           K9J 7B8      Canada
    KEITH BAKER BOOKS INC                                                1945 35TH AVENUE WEST          ATTN KEITH BAKER                                                    SEATTLE            WA           98199
    KEITH BOOKER                                                         1621 TERRY DRIVE                                                                                   FAYETTEVILLE       AR           72703
    KEITH EFFENBERGER                                                    580 SOUTH CARR AVE                                                                                 LAFAYETTE          CO           80026
    KEITH GESSEN                                                         487 CLINTON AVENUE # 3D                                                                            BROOKLYN           NY           11238
    KEITH GILYARD                                                        720 DEVONSHIRE DRIVE                                                                               STATE COLLEGE      PA           16803
    KEITH HARDWICKE                                                      725 MARIPOSA # 102                                                                                 MOUNTAIN VIEW      CA           94041
    KEITH J OSTWALD                                                      31510 GERMAINE LANE                                                                                WESTLAKE VLG       CA           91361
    Keith Mabrey                                                         1616 W Montrose Ave            2L                                                                  Chicago            IL           60613-1796
    KEKST AND COMPANY
    INCORPORATED                                                         16655 COLLECTIONS CTR DR                                                                           CHICAGO            IL           60693
    KELIHER BRIAN S                                                      7481 PARK RIDGE BLVD                                                                               SAN DIEGO          CA           92120
    KELLER INDEPENDENT SCHOOL
    DISTRICT                                C/O PROFESSIONAL DEVELOPMENT 350 KELLER PARKWAY                                                                                 KELLER             TX           76248
    KELLEY ADVERTISING CO                                                P O BOX 75151                                                                                      OKLAHOMA CITY      OK           73147
    Kelley Drye & Warren LLP
    KELLEY DRYE & WARREN LLP                                             101 PARK AVENUE                                                       ATTN TREASURERS DEPARTMENT   NEW YORK           NY           10178
    KELLEY DYKSTRA                                                       7125 ROBIN HOOD WAY                                                                                GRANITE BAY        CA           95746
    KELLEY TRUE                                                          79 OLD DENNY HILL ROAD RTE 1                                                                       WARNER             NH           03278
    KELLI EVANS                                                          101 SONDRA DR                                                                                      ELK CITY           OK           73644
    Kelli Flanagan                                                       506 6th Street                                                                                     Marble Falls       TX           78654
    Kelli J Jarchow                                                      103 Echo Lake E. Dr.                                                                               Mooresville        IN           46158
    KELLI L PFEIFFER                                                     4643 W WARWICK                                                                                     CHICAGO            IL           60641
    Kelli M. Trainer                                                     670 Gardner Street                                                                                 Castle Rock        CO           80104
    KELLI STARGEL CAMPAIGN                                               P O BOX 8804                                                                                       LAKELAND           FL           33806
    KELLI STATTON                                                        P O BOX 16                                                                                         DAVENPORT          OK           74026-0016
    Kellie Allen                                                         45 Maple Dr.                                                                                       Bargersville       IN           46106
    Kellie Cardone                                                       10 GREENLEY PLACE #1                                                                               JAMAICA PLAIN      MA           02130
    KELLIHER PUBLIC SCHOOL                                               345 4TH ST NW, P O BOX 259                                                                         KELLIHER           MN           56650
    KELLOCK & ASSOCIATES LTD.                                            10755-69 AVENUE                                                                                    EDMONTON           AB           T6H 2C9      Canada
    Kelly A Ernest                                                       6a Mt Pleasant Street                                                                              Newmarket          NH           03857
    Kelly A Philbin                                                      2010 Pasadena Ave                                                                                  Deptford           NJ           08096



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 239 of 488                                                                                                          1:26 PM
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                                                                                                                      of 519
                                                                                                                      First Class Service List


                  CreditorName                        CreditorNoticeName                   Address1                        Address2                         Address3                City        State       Zip            Country
    KELLY ANN LOUGHMAN                                                     2421 CENTER AVENUE # 2                                                                      MADISON             WI           53704
    KELLY ANN MURPHY                                                       78 WILLOW STREET, # 2                                                                       PROVIDENCE          RI           02909
    KELLY B CARTWRIGHT                                                     303 MEADOWLAKE ROAD                                                                         YORKTOWN            VA           23693
    Kelly Barrett                                                          5375 BELLAIR FARM                                                                           CHARLOTTESVLE       VA           22902
    KELLY BARRETT                                                          58 WALDINGFIELD ROAD                                                                        IPSWICH             MA           01938
    Kelly Bennett                                                          361 Hanover Street                                                                          Portsmouth          NH           03801
    KELLY BLAIR                                                            52ND STREET #2                                                                              BROOKLYN            NY           11231
    Kelly C Riedel                                                         100 Erie Street                  Apartment 10                                               Cambridge           MA           02139
    KELLY C SNYDER                                                         22406 BRIDGEHAVEN DRIVE                                                                     KATY                TX           77494
    Kelly Chausovsky                                                       18600 Sandy Bottom Dr.                                                                      Pflugerville        TX           78660
    KELLY COMMERCIAL CLEANING
    SERVICES                                                               P O BOX 2253                                                                                KENNESAW            GA           30156
    Kelly Dadey                                                            4721 Lawsher Dr                                                                             Syracuse            NY           13215
    KELLY DAVIS                                                            9316 ROCK MEADOW DR                                                                         ELLICOTT CITY       MD           21042
    Kelly Decourcy                                                         1706 Fairview Farms Circle                                                                  Wentzville          MO           63385
    KELLY DENIS                                                            4482 MONTGOMERY ST                                                                          OAKLAND             CA           94611
    KELLY EISMANN                                                          6022 ADOBE FALLS ROAD                                                                       SAN DIEGO           CA           92120
    Kelly Engel                                                            116 Washington Street            Apt #63                                                    Brighton            MA           02135
    KELLY FRIDAY LAMKIN                                                    16 PEACHTREE ST                                                                             BIRMINGHAM          AL           35213
    Kelly Hoce                                                             4607 Walker Rd                                                                              Charlotte           NC           28211
    KELLY HUMES DESIGN INC                                                 9609 WATCH HILL DR NE                                                                       BAINBRIDGE ISLAND   WA           98110
    KELLY J ALVIAR                                                         1343 MCARTHUR ST                                                                            MANCHESTER          TN           37355
    KELLY J STEWART                                                        2041 CEDAR AVENUE                                                                           MENLO PARK          CA           94025
    KELLY KEALY                                                            854 BEACON ST APT D                                                                         BOSTON              MA           02215
    Kelly Kenney                                                           1425 Liddle Lane                                                                            Hastings            MN           55033
    KELLY KING ALEXANDER                                                   18664 MANCHAC HIGHLANDS DR                                                                  PRAIRIEVILLE        LA           70769
    KELLY KIRCHBERG                                                        1323 CLIFTON STREET NW UNIT 2                                                               WASHINGTON          DC           20009
    KELLY KRAMER                                                           6 PEVSNER RD                                                                                YARDLEY             PA           19067-3419
    KELLY L MCDERMOTT                                                      23 VISTA STREET                                                                             BOSTON              MA           02131
    Kelly L Smith                                                          1111 S. Wabash Avenue            # 609                                                      Chicago             IL           60605
    Kelly Lockner                                                          29794 N Little Leaf Drive                                                                   San Tan Valley      AZ           85143
    KELLY MICHELLE BOSWELL                                                 2714 GOLDENROD LANE                                                                         BOZEMAN             MT           59718
    KELLY MILNER HALLS                                                     3008 WEST PRINCETON AVENUE                                                                  SPOKANE             WA           99205
    KELLY MURPHY                                                           470 TOWNE STREET                                                                            NORTH ATTLEBORO     MA           02760
    KELLY OCONNOR                                                          5131 CRYSTAL SPRINGS DRIVE                                                                  ELLIOTT CITY        MD           21043
    KELLY P ADKINS                                                         1095 DRUID DRIVE                                                                            MAITLAND            FL           32751
    KELLY PITTS                                                            25 MISTY POND DR                                                                            FRISCO              TX           75034
    KELLY ROBINSON                                                         649 NW 74TH STREET                                                                          SEATTLE             WA           98117
    KELLY SASSI                                                            348 9TH AVE S                                                                               FARGO               ND           58103
    KELLY SERVICES, INC.                                                   PO BOX 820405                                                                               PHILADELPHIA        PA           19182-0405
    Kelly Smith                                                            1666 Silverwater Ln                                                                         Eugene              OR           97402
    KELLY SPOTZ                                                            1286 RIDGE ROAD                                                                             GRANTVILLE          PA           17028
    Kelly Valentine                                                        7733 South Steele Street                                                                    Centennial          CO           80122
    Kelly Vizek                                                            11500 Westwood Blvd              Apt#1218                                                   Orlando             FL           32821
    Kelly, Theresa
                                                                                                            URBANIZACION ALTURAS DE
    KELVIN MERCED VEGA                                                     CALLE 3 B 22                     PENUELAS II                                                PENUELAS            PR           00624
                                                                                                                                                                       GOODWOOD PARK
    KELVIN NIZAM KHAN                                                      162 EPSOM ROAD                                                                              CARENAGE                                      Trinidad and Tobago
    KEMAL H KARPAT                                                         187 BASCOM HALL                                                       UNIV OF WISCONSIN     MADISON             WI           53706
    KEMPER DAVID                                                           609 LEWIS ST                                                                                BURLINGTON          WI           53105
    KEN BARBOZA ASSOCIATES                  ATTENTION KEN BARBOZA          115 WEST 30th STREET SUITE 203                                                              NEW YORK            NY           10001
    KEN BOWSER                                                             922 CAMELLIA AVE                                                                            WINTER PARK         FL           32789
    KEN DEQUAINE PHOTOGRAPHY                KENNETH J DEQUAINE             1126 WARE ST                                                                                WAUPACA             WI           54981
    KEN GOODMAN                                                            7914 S GALILEO LN                                                                           TUCSON              AZ           85747-9609
    KEN GRAHAM AGENCY                       DBA ACCENT ALASKA              P O BOX 272                                                                                 GIRDWOOD            AK           99587-0272
    KEN HARROW                                                             1147 DAISY LANE                                                                             EAST LANSING        MI           48823
    KEN KARP PHOTOGRAPHY                                                   109 WEST 27TH STREET                                                                        NEW YORK            NY           10001
    KEN LINDBLOM                                                           P O BOX 921                                                                                 SHOREHAM            NY           11786-0921
    KEN LUCAS                                                              135 CRESTMOOR CIRCLE                                                                        PACIFICA            CA           94044
    KEN MACRORIE                                                           639 SOUTH SAN PEDRO ST                                                                      LAS CRUCES          NM           88001
    KEN MARSCHALL                                                          1031 AVENUE D                                                                               REDONDO BEACH       CA           90277
    KEN PRANSKY                                                            180 FLAT HILLS ROAD                                                                         AMHERST             MA           01002
    KEN PREECE                                                             175 AVENIDA SEGOVIA                                                                         ANAHEIM HILLS       CA           92808
    KEN ROBERTS CORPORATION                 DBA DALE CARNAGIE TRAINING     4295 SOUTH ATLANTIC AVENUE                                                                  WILBUR-BY-THE-SEA   FL           32127-6610
    KEN WILSON                                                             12531 MARTHA ST                                                                             VALLEY VILLAGE      CA           91607
    KENDALL CAROL                                                          9 JOFFRE AVENUE                                                                             SOUTH HADLEY        MA           01075
    Kendall King                                                           2643 E. Nichols Circle                                                                      Littleton           CO           80122
    Kendra Hockenberry                                                     16395 Bluebell Place                                                                        Parker              CO           80134
    Kendra L. Harper                                                       22 Lyndale Ave.                                                                             Methuen             MA           01844



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                     240 of 488                                                                                                 1:26 PM
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                                                                                                                      of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                Address1                          Address2                            Address3                     City             State       Zip           Country
    KENDRA RENAE PULLEN                                                    10326 LOMA VISTA DRIVE                                                                                SHREVEPORT            LA           71115
    Kendra Smith                                                           8147 South Memphis Way                                                                                Englewood             CO           80112
    Kendra Stowell                                                         33 Ford Rd                                                                                            Sudbury               MA           01776
    KENJI KAWANO                                                           P O BOX 1922                                                                                          WINDOW ROCK           AZ           86515
    KENNEDY BOOKSTORE INC                                                  405 S LIMESTONE ST                                                                                    LEXINGTON             KY           40508
    Kennedy, James
    KENNESAW PARKWAY PARTNERS
    LP                                      DEXTER COMPANIES LLC           1750 CORPORATE DRIVE STE 730                                                                          NORCROSS              GA           30093
    Kennesaw Parkway Partners, LP           RE 3625 Kennesaw 75 Parkway    Mary Kirkland                     c/o Dexter Companies, LLC          1750 Corporate Drive Suite 730   Norcross              GA           30093
    KENNESAW STATE UNIVERSITY               ATTN DR BRYAN GILLIS           1000 CHASTAIN ROAD MD0122                                                                             KENNESAW              GA           30144
    KENNESAW UNIVERSITY
    BOOKSTORE                                                              1000 CHASTAIN RD                                                                                      KENNESAW              GA           30144
    Kenneth Agabian                                                        26 Worcester St.#412                                                                                  Boston                MA           02118
    Kenneth Anich                                                          912 Delano Court                                                                                      Kissimmee             FL           34758
    KENNETH BEATTY                                                         RR1-D68-496 MELMORE RD                                                                                BOWEN ISLAND          BC           V0N 1G0      Canada
    KENNETH BENNETT                                                        781 HIGHVIEW TERRACE                                                                                  LAKE FOREST           IL           60045
    Kenneth Boege                                                          71 North Crescent Circuit                                                                             Brighton              MA           02135
                                                                           DEPT OF CHEMISTRY &
    KENNETH BROWN                           OLD DOMINION UNIVERSITY        BIOCHEMISTRY                                                                                          NORFOLK               VA           23529
    KENNETH C DILLE                                                        4504 ROUNDUP TR                                                                                       AUSTIN                TX           78745
    Kenneth Carpenter                                                      76 Child St.                                                                                          Jamaica Plain         MA           02130
    KENNETH D FRICK                         DBA KEN FRICK PHOTOGRAPHR      1600 ROXBURY ROAD                                                                                     COLUMBUS              OH           43212
    KENNETH D KRAMER                                                       3035 GREENWOOD AVENUE                                                                                 HIGHLAND PARK         IL           60035
    KENNETH D MCRAE                                                        2202 MCQUAIG STREET                                                                                   OTTAWA                ON           K1H 7N9      Canada
    KENNETH D MERCER                                                       4631 NW 53RD AVENUE STE 104                                                                           GAINESVILLE           FL           32653
    Kenneth Dresser                                                        16 Hope Drive                                                                                         Rochester             NH           03867
                                                                                                                                                                                 XIAGSHAN DISTRICT -
    KENNETH E WILLIS                        28 ALLEY 12                    LANE 236 MEIZHICHENG                                                                                  HSINCHU CITY                       30067        Taiwan
    KENNETH F MUTCH                                                        10390 HAPPY HOLLOW LAIR                                                                               PALO CEDRO            CA           96073
    Kenneth G Hershbell                                                    1566 Hayes Street                                                                                     San Fransisco         CA           94117
    KENNETH HAMM                            DBA PHOTO JAPAN                PO BOX 2814                                                                                           VASHON                WA           98070
    Kenneth Hill                                                           3224 Transco Road                 Two Swallows Farm                                                   Comer                 GA           30629
    KENNETH HOWARD RUBIN                                                   2373 HOOMAHA WAY                                                                                      HONOLULU              HI           96822
    KENNETH J WELCH                                                        27033 WEST BURNETT ROAD                                                                               BUCKEYE               AZ           85396
    Kenneth Koellner                                                       14 Stagecoach Rd.                                                                                     Medfield              MA           02052
    KENNETH L FOX                                                          2415 A LA COSTA AVE                                                                                   CARLSBAD              CA           92009
    KENNETH L GARRETT                                                      PO BOX 208                                                                                            BROAD RUN             VA           20137
    Kenneth M Drucker                                                      75 Emory Street                                                                                       Attleboro             MA           02703
    KENNETH M KINZIE III                    -use 1-22614--                 2029 WOODLAWN DR                                                                                      ORLANDO               FL           32803
    Kenneth Millett                                                        2504 North Wren Drive                                                                                 Colorado Springs      CO           80909
    Kenneth Pratt                                                          9671 Sweetleaf St.                                                                                    Orlando               FL           32827
    Kenneth R Leahy                                                        22 Lehigh Rd                                                                                          Wellesley             MA           02482
    Kenneth R. Wilson DDS                                                  13764 E. Quincy Ave                                                                                   Aurora                CO           80015
    KENNETH SALBU                                                          57 PACHOGUE DR                                                                                        ROCKY POINT           NY           11778
    KENNETH THORBOURNE                                                     6 STUART TERRACE                                                                                      WEST ORANGE           NJ           07052
    KENNETH TOM                                                            210 WEST MARIPOSA                                                                                     SAN CLEMENTE          CA           92672
    KENNETH VON NEFF EXECUTOR                                              420 E 55TH ST APT 11C             ESTE O CAPABLANCA VONNEFF                                           NEW YORK              NY           10022-5143
    Kenneth W Bond                                                         11633 Hamble Drive                                                                                    Indianapolis          IN           46235
    Kenneth White                                                          1655 Arbor Green Court            NW                                                                  Kennesaw              GA           30152-4245
    Kenneth Wion                                                           P.O. Box 103                                                                                          Henryetta             OK           74437
    Kennie Swanson                                                         7614 South Steele St              #105                                                                Centennial            CO           80122
    Kennie Swanson                                                         7614 S Steele Street              UNIT 105                                                            Centennial            CO           80122
    Kenny Mulch                                                            2115 23Rd Street                                                                                      Belleville            KS           66935
    Kenroy Russell                                                         4719 Capri place                                                                                      Orlando               FL           32811
    KENSINGTON PUBLISHING
    CORPORATION                                                            119 WEST 40th STREET 21st FLOOR                                                                       NEW YORK              NY           10018
    Kent Berger                                                            W. 6142 Wild Cherry                                                                                   Menasha               WI           54952
    KENT COUNTY MICHIGAN BD OF
    EDUCATION                               WEST OAKVIEW ELEMENTARY        4365 HUNSBERGER AVE NE                                                                                GRAND RAPIDS          MI           49525
    KENT COUNTY MICHIGAN BD OF
    EDUCATION                               EAST OAKVIEW ELEMENTARY        4365 HUNSBERGER AVE NE                                                                                GRAND RAPIDS          MI           49525
    KENT COUNTY MICHIGAN BD OF
    EDUCATION                               HIGHLANDS MIDDLE SCHOOL        4365 HUNSBERGER AVE NE                                                                                GRAND RAPIDS          MI           49525
    KENT COUNTY MICHIGAN BD OF
    EDUCATION                               NORTH OAKVIEW ELEMENTARY    4365 HUNSBERGER AVE NE                                                                                   GRAND RAPIDS          MI           49525
    KENT COUNTY MICHIGAN BD OF              NORTHVIEW CROSSROADS MIDDLE
    EDUCATION                               SCH                         4365 HUNSBERGER AVE NE                                                                                   GRAND RAPIDS          MI           49525
    KENT COUNTY MICHIGAN BD OF
    EDUCATION                               NORTHVIEW HIGH SCHOOL          4365 HUNSBERGER AVE NE                                                                                GRAND RAPIDS          MI           49525
    KENT DANNEN                                                            1997 BIG OWL ROAD                                                                                     ALLENSPARK            CO           80510



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                    241 of 488                                                                                                             1:26 PM
                                                      12-12171-reg         Doc 136                Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                249 Matrix
                                                                                                                        of 519
                                                                                                                First Class Service List


               CreditorName                       CreditorNoticeName                 Address1                        Address2                         Address3                    City           State       Zip      Country
    KENT H LANDSBERG CO                     PAPERLAND                    PO BOX 201526                                                                                   DALLAS             TX           75320
    KENT H LANDSBERG CO                     PAPERLAND                    PO BOX 201813                                                                                   DALLAS             TX           75320
    KENT H LANDSBERG CO                                                  PO BOX 201526                                                                                   DALLAS             TX           75320
    KENT H LANDSBERG CO                                                  PO BOX 201813                                                                                   DALLAS             TX           75320
    KENT JUNE K EXECUTRIX OF THE                                         103 W JOHNSON                                                                                   SAN ANTONIO        TX           78204-1436
    KENT MEYERS                                                          1745 3RD ST                                                                                     SPEARFISH          SD           57783
    KENT P WOOD                                                          2015 HERMOSA CREEK DR SW                                                                        ALBUQUERQUE        NM           87121
    KENTUCKY ASSN OF ELEM SCH
    PRINCIPALS                                                           200 W BROADWAY STE 503                                                                          LOUISVILLE         KY           40202
    KENTUCKY ASSN OF SCHOOL
    COUNCILS                                                             P O BOX 784                                                                                     DANVILLE           KY           40423
    KENTUCKY ASSOC FOR
    ASSESSMENT                              COORDINATORS                 P O BOX 1078                                                                                    MT WASHINGTON      KY           40047
    KENTUCKY ASSOC FOR
    PSYCHOLOGY IN THE                       SCHOOLS                      443 HELMWOOD CIRCLE                                                                             MOUNT WASHINGTON   KY           40047
    KENTUCKY ASSOC OF EDUCTL
    SUPERVISORS                                                          P O BOX 129                     GEAVONDA STEVENSON                                              BROWNSVILLE        KY           42210
    KENTUCKY ASSOCIATION OF
    SCHOOL                                  ADMINISTRATORS               152 CONSUMER LANE                                                                               FRANKFORT          KY           40601
    KENTUCKY CAREER & TECHNICAL             EDUCATION SUMMER PROGRAM     9600 OLD SIX MILE ROAD          JEFFESONTOWN HIGH SCHOOL                                        LOUISVILLE         KY           40299
    KENTUCKY CHRISTIAN COLLEGE              BOOKSTORE                    100 ACADEMIC PARKWAY                                                                            GRAYSON            KY           41143
    KENTUCKY COUNCIL FOR EXCEP
    CHILDREN                                                             P O BOX 1018                    ATTN NANCY LOVETT                                               MURRAY             KY           42071
    KENTUCKY COUNCIL FOR
    TEACHERS OF ENG                         ATTN BRANDON ABDON           111 MAYO AVENUE                                                                                 FORT THOMAS        KY           41075
    KENTUCKY COUNCIL FOR
    TEACHERS OF ENG                         AND LANGUAGE ARTS            111 MAYO AVENUE                                                                                 FORT THOMAS        KY           41075
    KENTUCKY COUNCIL FOR THE
    SOCIAL STUDIES                                                       1768 CARTER ROAD                JANA KIRCHNER                     KCSS EXECUTIVE DIRECTOR       BOWLING GREEN      KY           42103
    KENTUCKY COUNCIL OF TEACHERS
    OF MATHS                                ATTN BARBARA JACOBS          3713 TUESDAY WAY                                                                                LOUISVILLE         KY           40219-3742
    Kentucky Department of Revenue                                       Frankfort, KY                                                                                   Frankfort          KY           40619-0007
    KENTUCKY DEPARTMENT OF                                               KENTUCKY DEPARTMENT OF
    REVENUE                                                              REVENUE                                                                                         FRANKFORT          KY           40619-0007
    Kentucky Dept of Revenue                Attn Legal Support Branch    PO Box 5222                                                                                     Frankfort          KY           40602
    KENTUCKY EDUCATIONAL
    PUBLISHERS ASSOC                        C/O PHIL DIECKHOFF           1100 PAWNEE DRIVE                                                                               ELIZABETHTOWN      KY           42701
    KENTUCKY HEAD START                     DBA EARLY CHILDHOOD SUMMER
    ASSOCIATION INC                         INSTITUTE                    649 CHARITY CT - SUITE 1                                                                        FRANKFORT          KY           40601

    KENTUCKY MIDDLE SCHOOL ASSOC                                         PO BOX 848                                                                                      LANCASTER          KY           40444

    KENTUCKY READING ASSOCIATION            ATTN KEITH LYONS             PO BOX 1156                                                                                     FRANKFORT          KY           40601
    KENTUCKY SOCIETY FOR
    TECHNLGY IN EDUC                                                     P O BOX 13986                   TMC -EXHIBIT MANAGER                                            TALLAHASSEE        FL           32317
    KENTUCKY STATE TREASURER                KY DEPT OF ED 18TH FL        CAPITAL TOWER 500 MERO ST                                                                       FRANKFORT          KY           40601
                                            KENTUCKY DEPARTMENT OF
    KENTUCKY STATE TREASURER                TREASURY                     1050 US HWY 127 S SUITE 100                                       UNCLAIMED PROPERTY DIVISION   FRANKFORT          KY           40601
    KENTUCKY STATE TREASURER                                             CAPITAL TOWER 500 MERO ST                                                                       FRANKFORT          KY           40601
    KENTUCKY STATE TREASURER                                             DEPT OF REVENUE                                                                                 FRANKFORT          KY           40620
    Kentucky State Treasurer                                             PO Box 718                                                                                      Frankfort          KY           40602-0718
    KENTUCKY STATE TREASURER                                             REVENUE CABINET                                                                                 FRANKFORT          KY           40620
    KENTUCKY WORLD LANGUAGE
    ASSOC                      ATTN CARL SCHAEFER                        5419 PAWNEE TRAIL                                                                               LOUISVILLE         KY           40207
    KENWOOD RECORDS MANAGEMENT
    INC                                                                  4001 44TH AVE SW                                                                                CEDAR RAPIDS       IA           52404
    KENYON COLL BOOKSTORE                                                106 GASKIN AVE                                                                                  GAMBIER            OH           43022
    KERASOTE BOOKS INC                                                   P O BOX 100                                                                                     KELLY              WY           83011
    KERI MULHOLLAND                                                      810 W 10TH STREET                                                                               SHERIDAN           WY           82801
    Kern High School District  Accounts Payable                          5801 Sundale Avenue                                                                             Bakersfield        CA           93309-2924
    KERN MARGARET M                                                      1702 BURNLEY AVE                                                                                CHARLOTTESVILLE    VA           22903
    KERR ASSOCIATES                                                      14 WEST 17TH ST 2N                                                                              NEW YORK           NY           10011-5711
    Kerrin L Council                                                     4310 N Bodine St                                                                                Philadelphia       PA           19140
    Kerry B Chambers                                                     1738 Hawthorne Terrace                                                                          Des Plaines        IL           60016
    KERRY HAYDEN ALEXANDER                                               905 HILLWOOD DRIVE                                                                              AUSTIN             TX           78745
    KERRY HERLIHY                                                        19 SHEPARDS WAY                                                                                 GORHAM             ME           04038
    KERRY LYNN CROSBY                                                    36 ROSEMARY STREET                                                                              AMHERST            MA           01002

    KERRY M JOHNSON                                                      160 COMMONWEALTH AVE UNIT 508                                                                   BOSTON             MA           02116
    Kerry M. Kirby                                                       24683 State Rd. 37                                                                              Richwood           OH           43344



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                               242 of 488                                                                                                  1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                       of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                      Address2              Address3                City        State       Zip               Country
    Kerry Martin                                                           140 Scholes Street             Apt. 4A                                         Brooklyn            NY           11206
    Kerry R Rodriguez                                                      6700 Cheshire Rd                                                               Galena              OH           43021
    Kerry T. Baruth                                                        9 Steepletop Road                                                              Rowayton            CT           06853
    KERSTEN HAMILTON                                                       9801 ADMIRAL EMERSON NE                                                        ALBUQUERQUE         NM           87111
    KESAV INFOSYS INC                                                      99 FLORENCE ST, SUITE # 724                                                    MALDEN              MA           02148
    Keshia Maxey                                                           3428 N Temple Ave                                                              Indianapolis        IN           46218
    KESSLEN ANN                                                            3535 SOUTH WESTERN AVE # 6                                                     SAN PEDRO           CA           90732
    KESSLER JACQUELINE H                                                   23 WICKLOW TERRACE                                                             DELMAR              NY           12054
    KETER PUBLISHING HOUSE                                                 P.O. BOX 7145 ATTN ISABELLA
    JERUSALEM LT                            GIVAT SHAUL B                  BALMAN                                                                         JERUSALEM                        91071        Israel
    KETT JOSEPH F                                                          128 BUCKINGHAM ROAD                                                            CHARLOTTESVILLE     VA           22903
    Keturah Jenkins                                                        2400 Davidson Ave.             #a9                                             Bronx               NY           10468
    KEVAN G HARTMAN                                                        3826 INDIAN BRAVE TRAIL                                                        CLEVES              OH           45002
    Kevan Snyder                                                           601 Dunwoody Chace NE                                                          Atlanta             GA           30328
    KEVANE GRANT THORNTON LLP               CERTIFIED PUBLIC ACCOUNTANTS   33 CALLE BOLIVIA                                                               SAN JUAN            PR           00917
    Kevin A Kelly                                                          3591 Old Mission Road                                                          Traverse City       MI           49686
    KEVIN ADAMS                                                            1008 WELLINGTON ST                                                             HIGH POINT          NC           27262
    KEVIN CARLSON                           DBA SEED MULTIMEDIA LLC        40 AGAMENTICUS RD                                                              SOUTH BERWICK       ME           03908
    Kevin Condit                                                           140 S Dennis Ave                                                               Decatur             IL           62522
    Kevin Costa                                                            5 Wells Road                                                                   Salem               NH           03079
    Kevin E Dixon                                                          2239 Ruffner St                                                                Philadelphia        PA           19140
    Kevin F Donovan                                                        30 Vernon St.                                                                  Woburn              MA           01801
    Kevin F Thompson                                                       1904 Melrose Avenue                                                            Havertown           PA           19083
    KEVIN FERRY                                                            65 ROOSEVELT STREET                                                            BABYLON             NY           11702
    Kevin Grace                                                            6923 N Mcalpin Ave                                                             Chicago             IL           60646
    Kevin Hampton                                                          5315 W Schubert Ave            Apt 2                                           Chicago             IL           60639
    KEVIN HAWKES                                                           5 ROBIE STREET                                                                 GORHAM              ME           04038
    Kevin Hillemeyer                                                       2623 N. Halstead St.           Apt F                                           Chicago             IL           60614
    KEVIN HOFFMAN                                                          8767 TRIBECA CIRCLE                                                            SAN DIEGO           CA           92123
    KEVIN HORAN PHOTOGRAPHY                                                940 EDGECLIFF DRIVE                                                            LANGLEY             WA           98260
    KEVIN HUIZENGA                                                         9834 SURREY LN                                                                 ST LOUIS            MO           63137
    Kevin Inscoe                                                           2590 Haulover Blvd                                                             Deltona             FL           32738
    KEVIN J OSTWALD                                                        31510 GERMAINE LANE                                                            WESTLAKE VLG        CA           91361
    Kevin J Roth                                                           521 Missionary Ridge                                                           Springfield         IL           62711
    KEVIN JAMES JACKSON-MEAD                                               246 COREY RD                                                                   BRIGHTON            MA           02135
    Kevin Jordan                                                           1543 Tiree Ct                                                                  Flossmoor           IL           60422
    KEVIN KAUFMAN                                                          6311 N WAYNE AVE #35                                                           CHICAGO             IL           60660
    Kevin Kuckkan                                                          1415 Center Street                                                             Watertown           WI           53098
    KEVIN L JOHNSON                                                        1675 N LAKE RD                                                                 CAZENOVIA           NY           13035
    KEVIN M SCOLA                           DBA SURVIVAL FISHING CO        PO BOX 1392                                                                    MARSHFIELD          MA           02050
    KEVIN MCBRIDE                                                          302 ARROWHEAD DRIVE                                                            LOWELL              IN           46356
    KEVIN MCGREW                                                           1313 PONDVIEW LANE E                                                           ST JOSEPH           MN           56374
    Kevin McKenzie                                                         733 Townsend Road                                                              Groton              MA           01450
    KEVIN MCSHANE                                                          110 WEST YORK STREET # 704                                                     NEW YORK            NY           10018
    Kevin Meng                                                             13612 Beauregard Place                                                         Orlando             FL           32837
    KEVIN MOFFETT                                                          544 NORTHWESTERN DRIVE                                                         CLAREMONT           CA           91711
    Kevin Moriarty                                                         6618 Winder Oaks Blvd                                                          Orlando             FL           32819
    Kevin Moroney                                                          2 Colonial Village Dr.                                                         Arlington           MA           02174
    KEVIN MORRIS PHOTOGRAPHER
    LLC                                                                    374 CASCO RD                                                                   BRUNSWICK           ME           04011
    KEVIN MUTCH                                                            1210 CENTRAL AVENUE                                                            UNION CITY          NJ           07087

    KEVIN PETRUS AND DOYLE ODDEN            DBA K-D GRAPHICS               114 W ASH                                                                      LONOKE              AR           72086
    KEVIN R CORR                                                           P O BOX 68113                                                                  TUCSON              AZ           85737
    Kevin S Logan                                                          1039-A Middleboro                                                              E. Taunton          MA           02718
    KEVIN SALWEN                                                           18 WALKER TERRACE NE                                                           ATLANTA             GA           30309
                                            DBA KEVIN SCHAFER
    KEVIN SCHAFER                           PHOTOGRAPHY                    2148 HALLECK AVE SW                                                            SEATTLE             WA           98116
    Kevin Sullivan                                                         178 Lyman Street                                                               Milton              MA           02186
    KEVIN SULLIVAN                                                         4210 SOUTH 175TH AVE                                                           OMAHA               NE           68135
    Kevin Sweeney                                                          7856 Woodland Circle                                                           Easton              MD           21601
    KEVIN THIMAS MALONE                                                    100 SOUTH MEYERS ST APT 1803                                                   LAFAYETTE           LA           70508
    KEVIN UNGER                                                            P O BOX 31916                                                                  JERUSALEM                        91319        Israel
    KEVIN YOUKILIS HITS FOR KIDS            C/O ANNE S ROSENTHAL           PO BOX 600311                                                                  NEWTONVILLE         MA           02460
    KEW DARREN                              UNIVERSITY OF MASS - BOSTON    100 MORRISSEY BOULEVARD                                                        BOSTON              MA           02125
    KEYS SUSAN G                                                           36 SW WALL ST                                                                  BEND                OR           97702
    KEYSTONE PRESS LLC                                                     9 OLD FALLS ROAD                                                               MANCHESTER          NH           03103-3622
    KEYSTONE STATE READING
    ASSOCIATION                             ATTN VIRGINIA WILLIAMS         6171 DRIFTWOOD DRIVE                                                           HARRISBURG          PA           17111




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   243 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  251 Matrix
                                                                                                                          of 519
                                                                                                                       First Class Service List


             CreditorName                          CreditorNoticeName                    Address1                           Address2              Address3              City          State       Zip               Country
    KEYSTONE STATE READING                  ATTN STEPHANIE ROMANO - 2012
    ASSOCIATION                             EXHIBITS                       P O BOX 138                                                                       EFFORT              PA           18330
    KEYSTONE STATE READING
    ASSOCIATION                                                            6171 DRIFTWOOD DRIVE                                                              HARRISBURG          PA           17111
    KEYSTONE STATE READING
    ASSOCIATION                                                            P O BOX 138                                                                       EFFORT              PA           18330
    KFG INC                                 DBA POP DELIVERY COMPANY       P O BOX 340776                                                                    AUSTIN              TX           78734
    KFS INC                                                                PO BOX 612584                                                                     DFW AIRPORT         TX           75261
                                                                           NEHMETALLAH IBRAHIM BLDG 3RD
    KHALED CHEBAT                                                          FL                                                                                METN                                          Lebanon
                                                                           SWEILEH KAMALIEH BIN YAMOR
    KHALED KHALDOUN FAWZI ODEH              VILLA NO 3                     UDWANI ST                                                                         AMMAN                                         Jordan
    KHALED SARTAWI                                                         221 PENDLETON COURT                                                               MACON               GA           31216
    Khowye Z Martinez                                                      1531 South Highway 121           2623                                             Lewisville          TX           75067
    KIANI M TORRES RUIZ                                                    431 CHRISTOPHER DRIVE                                                             CRESTVIEW           FL           32536
    KID GLOVE SERVICE INC                                                  6550 EAST 30TH STREET, STE 150                                                    INDIANAPOLIS        IN           46219
    KIDIDDLES                               ATTN FRANCIS MORGAN            6201 E PASEO VENTOSO                                                              TUCSON              AZ           85750
    KIDS CAN PRESS LTD                      CORUS QUAY                     25 DOCKSIDE DRIVE                                                                 TORONTO             ON           M5A 0B5      Canada
    KIDS CAN PRESS LTD                                                     29 BIRCH AVENUE                                                                   TORONTO             ON           M4V 1E2      Canada
    KIDS DISCOVER                                                          192 LEXINGTON AVENUE                                                              NEW YORK            NY           10016
    KIENTZY MACHINE & FABRICATION
    INC                                                                    221 S MOORE SCHOOL RD                                                             TROY                MO           63379
    Kieran E Hussie                                                        619 Edgley Ave                                                                    Glenside            PA           19038
    Kildeer Countryside CSD                 Accounting Dept.               1050 Ivy Hall Lane                                                                Buffalo Grove       IL           60089-1333
    KILIMANJARO CORPORATION                                                3484 COY DRIVE                                                                    SHERMAN OAKS        CA           91423
    KILLGALLON DON                                                         12 ORTHORIDGE ST                                                                  LUTHERVILLE         MD           21093
    KILLGALLON JENNY                                                       12 ORTHORIDGE ST                                                                  LUTHERVILLE         MD           21093
    Killian, John
    Killian, John                                                          336 Boylston Street              Unit 201                                         Newton              MA           02459
    KIM & CHANG                                                            SEYANG BLDG 223 NAEJA-DONG                                                        JONGNO-GU SEOUL                  110-720      South Korea
    Kim & Chang
    KIM BRUMLEY                                                            2621 CR 522                                                                       RIPLEY              MS           38663
    KIM DICKERSON LEIGHTON                                                 5004 CITADEL AVENUE                                                               COLUMBIA            SC           29206
    KIM JOUNG UN                                                           721 S MELROSE STREET                                                              ANAHEIM             CA           92805
    Kim K Cohan                                                            1270 Cobblers Crossing                                                            Elgin               IL           60120
    Kim Kamrath                                                            348 Beaumont Drive                                                                Vista               CA           92084
    KIM KARPELES PHOTOGRAPHY                KIMBERLEY KARPELES             1606 EAST COURSE DRIVE                                                            RIVERWOODS          IL           60015
    KIM KAZMIERCZAK                                                        2612 N 112TH ST                                                                   OMAHA               NE           68164
                                                                           1650 ANDERSON MILL ROAD APT
    KIM M SANDERS                           DBA WHOLE WORLD EDUCATION      1103                                                                              AUSTTELL            GA           30106
    Kim Mitchell                                                           4627 Vargas Street                                                                Orlando             FL           32811
    Kim Moe                                                                1247 Vera Cruz                                                                    Oceanside           CA           92056
    Kim Nguyen                                                             2704 Gilham Way                                                                   San Jose            CA           95148
    KIM PRYZBYLSKI                                                         500 BRICKELL AVENUE # 2101                                                        MIAMI               FL           33131
    KIM S BARKER                                                           2006 LA VISTA CT                                                                  HIGH POINT          NC           27265
    Kim Soriano                                                            1407 Quail Run Road                                                               Pflugerville        TX           78660
    KIM WISE                                                               33036 400TH ST                                                                    AVOCA               IA           51521
    KIM WITHERS                                                            7162 COUNTY ROAD 2347                                                             SINTON              TX           78387
    KIMATHY L BRODY                                                        12811 BRUSHY HOLLOW                                                               LINDALE             TX           75771

    KIMBERLEE A CHRISTENSEN                 DBA KC PHOTO PRODUCTIONS LLC   205 LAURELFIELD DR                                                                FRIENDSWOOD         TX           77546
    KIMBERLEE BORLAND                                                      1174 N. BEVERLY LANE                                                              ARLINGTON HEIGHTS   IL           60004-4916
    Kimberlee Ford                                                         4145 Fletcher Ave                                                                 Indianapolis        IN           46203
    Kimberlee Hearne Mangold                                               7207 Walnut Road                                                                  N Little Rock       AR           72116
    KIMBERLEY A DENNIS                                                     71 TEHIAS ROAD                                                                    RYE                 NH           03870
    Kimberley Hillemeyer                                                   2010 W ROSCOE ST                 APT 2R                                           CHICAGO             IL           60618
    KIMBERLEY L WILLOUGHBY                                                 13 TAMARACK DRIVE                                                                 SOUTH BERWICK       ME           03908
    KIMBERLY A GORDON                                                      45 GLENBOURNIE DR                                                                 GANSEVOORT          NY           12831
    Kimberly Ann Krause                                                    1310 Rebecca Road                                                                 Lombard             IL           60148
    Kimberly Anne Abrams Beuttler                                          88 Rockland Street                                                                Swampscott          MA           01907
    KIMBERLY ARNEY                                                         2 HAGAR STREET, # 3                                                               JAMAICA PLAIN       MA           02130
    KIMBERLY B JACKSON                                                     P O BOX 89                                                                        GLOSTER             MS           39638
    Kimberly Baker                                                         6104 N Winthrop                  #3                                               Chicago             IL           60660
    Kimberly Bates                                                         1 Sylvan Ct.                                                                      Delran              NJ           08075
    Kimberly Boller-Drake                                                  224 Leather Leaf Lane                                                             Lebanon             OH           45036
    Kimberly Cahill                                                        61 Oak Street                                                                     S Berwick           ME           03908
    Kimberly Cantino                                                       706 Summer Top Circle                                                             Fenton              MO           63026
    KIMBERLY COCKRELL                                                      7308 GAVIN STREET                                                                 NEW CAROLLTON       MD           20784
    Kimberly Czerniejewski                                                 932 Summer Lakes Drive                                                            Orlando             FL           32835
    KIMBERLY DILELLO                                                       53-45 69TH STREET                                                                 MASPETH             NY           11378



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      244 of 488                                                                                         1:26 PM
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                                                                                                                      of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                       Address2              Address3               City           State       Zip            Country
    KIMBERLY ELPERS                                                        118 N RACE ST, P O BOX 254                                                     HAUBSTADT             IN           47639
    KIMBERLY FAITH HAYNES                                                  8607 ROCKBRIDGE CIRCLE                                                         MONTGOMERY            AL           36116
    KIMBERLY G HOCHMEISTER                                                 27816 LEGACY WOODS                                                             BOERNE                TX           78015
    KIMBERLY GLYDER DESIGN                                                 301 CONWAY AVE                                                                 NARBERTH              PA           19072
    Kimberly Haynes                                                        8607 ROCKBRIDGE CIRCLE                                                         MONTGOMERY            AL           36116-8809
    Kimberly Hossa                                                         4630 N. Beacon St.               # 3a                                          Chicago               IL           60640
    KIMBERLY J BATES                                                       1 SYLVAN CT                                                                    DELRAN                NJ           08075
    KIMBERLY J OSTWALD                                                     31510 GERMAINE LANE                                                            WESTLAKE VLG          CA           91361
    KIMBERLY JONES                                                         702-2 ARGONNE AVE NE                                                           ATLANTA               GA           30308
    Kimberly K Boykin                                                      8037 Pine Run                                                                  Spanish Fort          AL           36527
    KIMBERLY KAY HUSFELDT                                                  1971 WATERFORD LN                                                              CHASKA                MN           55318
    Kimberly Keller                                                        77 Stratford Rd.                                                               Kensington            CA           94707
    Kimberly Koopman                                                       3715 Newport Bay Road                                                          Alpharetta            GA           30005
    Kimberly Logue                                                         1120 Fulton Drive                                                              Streamwood            IL           60107
    Kimberly Manchio                                                       11 Stevens Lane                                                                Tabernacle            NJ           08088
    Kimberly Miller                                                        13462 W. Florida                                                               Denver                CO           80228
    KIMBERLY MUNROE                                                        904 SOUTH JORDAN AVENUE                                                        BLOOMINGTON           IN           47401
    Kimberly Pold                                                          1955 Nutmeg Lane                                                               Naperville            IL           60565
    KIMBERLY R SNELL                                                       1111 WILLOW CREST WAY                                                          AUSTELL               GA           30168
    KIMBERLY REED COPELAND                                                 2381 WESSINGTON DR                                                             VIRGINIA BEACH        VA           23454
    Kimberly Rodrigues                                                     64 East St.                      Apt 4                                         Riverside             RI           02915
    Kimberly Ross                                                          3301 Batley St                                                                 Elgin                 IL           60124
    KIMBERLY ROYALTY                                                       3989 GOODFELLOW DRIVE                                                          DALLAS                TX           75229
    KIMBERLY SCAROLA                                                       260 SW 100 AVENUE                                                              PEMBROKE PINES        FL           33025
    KIMBERLY SORENSON                                                      5730 PINECROFT CT                                                              CLARKSON              MI           48346
    Kimberly Sorrell                                                       15 Mather Avenue                                                               Cranston              RI           02905
    KIMBERLY TOLBERT MICKLE                                                2607 SUMMER CREEK DR                                                           PEARLAND              TX           77584
    Kimberly V Moore                                                       1360 Turtle Dove Lane                                                          Lawrenceville         GA           30043
    KIMBERLY WILSON-LAUZIERE                                               621 NORTH KENWOOD STREET #4                                                    GLENDALE              CA           91206
    KIMBERLY WITECK                                                        1711 N HARTFORD ST                                                             ARLINGTON             VA           22201
    Kimberly Zinn                                                          870 Silver Rock Lane                                                           Buffalo Grove         IL           60089
    KIMCO REALTY CORP                                                      3333 NEW HYDE PARK RD                                                          NEW HYDE PARK         NY           11042-1205
    Kimery Poldrack                                                        15610 Lund Carlson Rd.                                                         Coupland              TX           78615
    KIMMEL HAVEN                                                           7808 SHOCCOREE RIDGE DR                                                        CHAPEL HILL           NC           27516-4111
    KINDIG JOAN                                                            2130 NANDINA CT                                                                CHARLOTTESVILLE       VA           22911
    KINDL PATRICE                                                          116 MIDDLEFORT ROAD                                                            MIDDLEBURGH           NY           12122
    Kindra Waters                                                          1874 Faiway Circle                                                             Atlanta               GA           30319
    KINETIC BOOK COMPANY                                                   2003 WESTERN AVENUE STE 100                                                    SEATTLE               WA           98155

    KING CAB CO INC                         DBA BELLMORES AIRPORT SERVICE 1 CORPORATE PK DR UNIT 7                                                        DERRY                 NH           03038
    KING COUNTY LIBRARY SYSTEM                                            960 NEWPORT WAY NW                                                              ISSAQUAH              WA           98027
                                            DBA HILTON GARDEN INN JACKSON
    KING EDWARD TENANT LLC                  DWNTWN                        235 WEST CAPITOL ST                                                             JACKSON               MS           39201
    KING LIHOLIHO ELEM SCHOOL                                             3430 MAUNALOA AVENUE                                                            HONOLULU              HI           96816
    KING LOW HEYWOOD THOMAS                                               1450 NEWFIELD AVENUE                                                            STAMFORD              CT           06905
    KING PRINTING CO                                                      181 INDUSTRIAL AVE EAST                                                         LOWELL                MA           01852
    KING S COLLEGE                                                        ATTN R B SALMON                                                                 CAMBRIDGE                          CB2 1ST      United Kingdom
    KING SUSAN L                                                          7770 MAIN STREET                                                                FABIUS                NY           13063
    KINGS CHAPEL ELEM                                                     460 ARENA RD                                                                    PERRY                 GA           31069
    KINGS ISLAND COMPANY                                                  6300 KINGS ISLAND DRIVE                                                         KINGS ISLAND          OH           45034
    KINNELL GALWAY                                                        1218 TOWN HIGHWAY 16                                                            SHEFFIELD             VT           05866
                                            DBA CNTRL PARKNG SYSTEM OF
    KINNEY SYSTEMS INC                      MASSACHUSETTS                 P O BOX 790402                                                                  ST LOUIS              MO           63179
    KINZIE-RIEHM INC                        KINZIERIEHM PHOTOGRAPHY       2029 WOODLAWN DRIVE                                                             ORLANDO               FL           32803
    KIPP FOUNDATION                                                       33 N DEARBORN STE 1220                                                          CHICAGO               IL           60602
    KIPP INSPIRE ACADEMY                                                  2647 OHIO STREET                                                                SANT LOUIS            MO           63118
    KIPP STAR ELEMENTARY SCHOOL                                           586 WEST 177TH STREET 4TH FL                                                    NEW YORK              NY           10033
    KIRA WATKINS                                                          7200 DALLAS DR                                                                  AUSTIN                TX           78729
    KIRAN DESAI                                                           10 PARSONAGE STREET                                                             COLD SPRING           NY           10516
    Kirby A Feaver                                                        6105 S. Parker Rd                 Apt #8306                                     Centennial            CO           80016
    KIRBY RISK CORPORATION                                                P O BOX 664117                                                                  INDIANAPOLIS          IN           46266

    KIRBY WATSON                            DBA JASPER SEO                 60 MONROE CENTER ST NW, APT 7C                                                 GRAND RAPIDS          MI           49503

    KIRCHOFF WOHLBERG INC                                                  866 UNITED NATIONS PLAZA STE 525                                               NEW YORK              NY           10017
    KIRCHOFF WOHLBERG INC                                                  897 BOSTON POST RD                                                             MADISON               CT           06443
                                                                           MANUEL CARPIO 143 INTERIOR 12
    KIRIA CARDENAS HERNANDEZ                                               COL                                                                            STA MARIA LA RIBERA                             Mexico
    Kirk A Becker                                                          2818 North                       Sacramento                                    Chicago               IL           60618




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   245 of 488                                                                                         1:26 PM
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                                                                                                                             of 519
                                                                                                                          First Class Service List


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    KIRKENDALL-SPRING
    PHOTOGRAPHERS                                                             18809 OLYMPIC VIEW DR                                                                                       EDMONDS              WA           98020
    Kirkpatrick, Scott
    KIRKUS REVIEWS                          ATTN CIRCULATION DEPT             770 BROADWAY                                                                                                NEW YORK             NY           10003
    KIRSCHENBAUM HOWARD                                                       458 WHITING ROAD                                                                                            WEBSTER              NY           14580
    KIRSTEN CAPPY                           DBA CURIOUS CITY                  118 EMERY STREET                                                                                            PORTLAND             ME           04102
    KIRSTEN NICOLE MELLOR                                                     561 14TH AVENUE                                                                                             SAN FRANCISCO        CA           94118
    KIRTLAND COMMUNITY COLLEGE              ATTN ACCOUNTING OFFICE            10775 N ST HELEN ROAD                                                                                       ROSCOMMON            MI           48653
    KISS DIGITAL INC                                                          226 10th STREET                                                                                             BROOKLYN             NY           11215
    KISTLER PRINTING COMPANY INC                                              109 PROSPECT STREET                                                                                         EAST STROUDSBURG     PA           18301
    KIT CARSON UNION SCHOOL
    DISTRICT                                DELTA VIEW ELEMENTARY SCHOOL 9895 7TH AVENUE                                                                                                  HANFORD              CA           93230-8802
    Kitts Consulting                        Sandra Kitts                 935 Holdsworth Crescent                                                                                          Moose Jaw            SK           S6H 6T8      Canada
    KJA-ARTISTS COM                         5 DAVIDGE PLACE              KNOTTY GREEN                                                                                                     BEACONSFIELD BUCKS                HP9 2SR      United Kingdom
    KK PUBLISHING CORP                                                   2720 GRANDEE                                                                                                     BOISE                ID           83704-5942
    KLA Group, LLC                                                       7779 S. Glencoe Way                                                                                              Littleton            CO           80122
    Klaus F. Weber                                                       411 Manor Place                                                                                                  Aurora               IL           60506
    Klaus Schulz                                                         1307 Maple Ave.                                                                                                  Downers Grove        IL           60515

    KLEIN ISD EDUCATION FOUNDATION                                            7200 SPRING CYPRESS ROAD                                                                                    KLEIN                TX           77379
    KLEIN MARCIA                                                              10409 EAST PERSHING ST                                                                                      SCOTTSDALE           AZ           85260
    KLEIN PATRICIA H                                                          1030 GAUNTLET POINTE                                                                                        GREENSBORO           GA           30642
    KLEMP RONALD M                                                            10717 FARRAGUT DRIVE                                                                                        CULVER CITY          CA           90230
    KLOPOTEK - GLOBAL PUBS USERS
    GROUP                                                                     P O BOX 17254                                                                                               FORT WORTH           TX           76102-0254
    KLOPOTEK NORTH AMERICA INC                                                2001 ROUTE 46 STE 203                                                                                       PARSIPPANY           NJ           07054
    KLOR DE ALVA JORGE                                                        3701 SACRAMENTO ST #297                                                                                     SAN FRANCISCO        CA           94118
    K-M Concessions, Inc.          The Pavilion at City Park                  2001 Steele Street                                                                                          Denver               CO           80205
    KMDG INC                                                                  3000 W STATE ROAD 426                                                                                       OVIEDO               FL           32765
    KNEERIM & WILLIAM AGENCY LLC                                              90 CANAL STREET                    ATTN IKE WILLIAMS                                                        BOSTON               MA           02114

    KNEERIM & WILLIAMS AGENCY LLC                                             27 WEST 20TH ST STE 10003          ATTN BRETTNE BLOOM                                                       NEW YORK             NY           10011

    KNEERIM & WILLIAMS AGENCY LLC                                             90 CANAL STREET                                                                                             BOSTON               MA           02114
    KNEERIM & WILLIAMS AT                   FISH & RICHARDSON PC              475 PARK AVE S FLOOR 4             ATTN LESLIE KAUFMANN                                                     NEW YORK             NY           10016-6901
    Knicole Brown                                                             5604 Meadow Arbor Ln                                                                                        Rosharon             TX           77583
    KNIGHT AGENCY INC                       ATTN PAMELA HARTY                 570 EAST AVENUE                                                                                             MADISON              GA           30650

    KNIGHT COMMUNICATIONS INC               DBA SEEN MAGAZINE                 10150 MALLARD CREEK ROAD #101                                                                               CHARLOTTE            NC           28262
    KNIGHT RIDDER                                                             ONE HERALD PLAZA                                                                                            MIAMI                FL           33132
    Knighthead Capital
    KNIGHTHEAD CAPITAL
    MANAGEMENT, LLC
    KNOWLEDGE ANALYSIS
    TECHNOLOGIES LLC                                                          4940 PEARL EAST CIRCLE SUITE 200                                                                            BOULDER              CO           80301
    KNOWLEDGE DELIVERY SYSTEMS
    INC                                                                       110 WILLIAM STREET 32ND FL                                                                                  NEW YORK             NY           10038
    KNOWLEDGE MANAGEMENT
    ASSOCIATES LLC                                                            130 TURNER ST BLDG 3 SUITE 225                                                                              WALTHAM              MA           02453
    KNOXVILLE ADVENTIST SCHOOL                                                3615 KINGSTON PIKE                                                                                          KNOXVILLE            TN           37919
                                            CO-TRUSTEE OF THE SURVIVORS
    KOCHER ANNIS COX                        TRUST                             3203 VISTA ARROYO                                                      THE KOCHER FAMILY TRUST              SANTA BARBARA        CA           93109
    KOELSCH STUDIOS                         MICHAEL KOELSCH                   20800 BEACH BLVD # 100                                                                                      HUNTINGTON BEACH     CA           92648
    KOETTER FIRE PROTECTION LLC                                               10351 OLYMPIC DR                                                                                            DALLAS               TX           75220-4437
                                                                                                                 ATTN STEPHANIE DEMATO - AP
    KOHLS DEPARTMENT STORES INC                                               N56 W17000 RIDGEWOOD DR            DEPT                                                                     MENOMONEE FALLS      WI           53051
    KOICHI EZAKI                                                              2 13 7 IKEJIRI, SETAGAYA                                                                                    TOKYO                             00154        Japan
    KOIKE KAY                                                                 PO BOX 265                                                                                                  KEKAHA               HI           96752
    Kolisch & Hartwell, P.C.                RE SingaporeMath.com, Plaintiff   David D. Cooper, Esq.              200 Pacific Building                520 S.W. Yamhill Street, Suite 200   Portland             OR           97204
    Kona Kai                                                                  1551 Shelter Island Drive                                                                                   San Diego            CA           92106
    KONE GROUP                              DBA DOOR SYSTEMS INC              P O BOX 915                                                                                                 BEDFORD PARK         IL           60499
    Konica Minolta Business Sol.            USA Inc.                          13847 Collections Center Drive                                                                              Chicago              IL           60693
    KOORSEN FIRE & SECURITY INC                                               2719 N ARLINGTON AVE                                                                                        INDIANAPOLIS         IN           46218
    KOOSHAREM CORPORATION                   DBA SELECT REMEDY                 24223 NETWORK PLACE                                                                                         CHICAGO              IL           60673-1242
    KOREAN GERMAN INSTITUTE OF
    TECHNOLOGY                                                                1601 SANG-AM DONG MAPO-GU          1111 KGIT SANGAM CENTER                                                  SEOUL                             121-913      South Korea
    KOREN SHADMI                                                              759 METROPOLITAN AVE #3                                                                                     BROOKLYN             NY           11211
    KORN FERRY INTERNATIONAL                                                  NW 5064 P O BOX 1450                                                                                        MINNEAPOLIS          MN           55485-5064
    KORRIN LEDBETTER                                                          2081 N PEBBLE BEACH DR                                                                                      CASA GRANDE          AZ           85122
    KOSCIELNIAK BRUCE                                                         36 SUMMER STREET                                                                                            ADAMS                MA           01220



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                          246 of 488                                                                                                                  1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                254 Matrix
                                                                                                                        of 519
                                                                                                                    First Class Service List


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    KOSEL VERLAG GMBH AND CO                                               FLUGGENSTRASSE 2                                                               MUNCHEN                                        Germany
    KOSHKIN ALEXANDER
    ARNOLDOVICH                                                            SHASSE ENTUZIASTOV 82/2                                                        MOSCOW RUSSIA                     111123       Rsian Federation
    KOSHKIN ALEXANDER
    ARNOLDOVICH                                                            SHASSE ENTUZIASTOV 82/2                                                        MOSCOW RUSSIA                     111123       Russian Federation
    Kostelanetz & Fink
    KOSTELANETZ & FINK LLP                                                 7 WORLD TRADE CENTER 34TH FL                                                   NEW YORK             NY           10007
    KOTESOL                                 808-902 HALLA VIVALDI APTS     637-1 GAK-RI OCHANG-MYEON      CHEONGWON-GUN                                   CHUNGBUK-DO                       363-883      South Korea
    KOUBROO INC                                                            837 MCKENZIE STATION DRIVE                                                     LISLE                IL           60532
                                            DBA SHERATON GREENSBORO
    KOURY CORPORATION                       HOTEL                          3121 HIGH POINT ROAD                                                           GREENSBORO           NC           27407
                                                                                                                                                          ST STEPHENS GREEN,
    KPMG                                                                   1 STOKES PLACE                                                                 DUBLIN               Dublin       2            Ireland
    KPMG                                    DEPT 0579                      P O BOX 120001                                                                 DALLAS               TX           75312-0503
    KPMG
    KPMG                                                                   P O BOX 120001                                                                 DALLAS               TX           75312-0503
    KPMG AUSTRALIA                                                         P O BOX 2291U                                                                  MELBOURNE            Victoria     03001        Australia
    KRAAS LITERARY AGENCY                                                  11108 DOUBLE EAGLE NE                                                          ALBUQUERQUE          NM           87111
    KRAFT ELIZABETH                                                        1929 UPSHUR STREET, N.W.                                                       WASHINGTON           DC           20011
    KRASKE ROBERT                                                          126 N EVERETT STREET                                                           STILLWATER           MN           55082
    KREITH KURT                                                            43236 EAST OAKSIDE PL                                                          DAVIS                CA           95616-4958
    KRENSKY STEPHEN                                                        12 COPPERSMYTH WAY                                                             LEXINGTON            MA           02421
    KRENZKE CHRIS                                                          2900 RUBY AVE                                                                  RACINE               WI           53402
    KRICHER JOHN C                                                         9 BENNETS NECK DRIVE                                                           POCASSET             MA           02559
    KRIEGER LARRY S                                                        16 MORGAN RD                                                                   FLEMINGTON           NJ           08822
                                            CORNELL UNIV DEPT OF
    KRIKORIAN DEAN                          COMMUNICATION                  305 KENNEDY HALL                                                               ITHACA               NY           14853
    KRIKORIAN MILLER ASSOC INC                                             11 MARKET SQ #5                                                                NEWBURYPORT          MA           01950-2551
    Kris Anderson                                                          4968 Fawn Ridge Way                                                            Castle Rock          CO           80104
    KRIS MUCCI                                                             711 KEEFUS RD                                                                  CONNEAUT             OH           44030
    KRIS SHAW                                                              14620 MILITARY TRAIL ROAD                                                      WAMEGO               KS           66547
    KRISHNA COPYPRO INC                     PRADIP RATHOD                  1785 PALO VERDE AVE STE H                                                      LONG BEACH           CA           90815
    KRISHNA WINSTON                                                        655 BOW LANE                                                                   MIDDLETOWN           CT           06457
    Krista Beem                                                            50 ATHENS STREET               UNIT 2                                          SOUTH BOSTON         MA           02127
    KRISTA COURNOYER                                                       8018 WATERIEW BLVD                                                             LAKEWOOD RANCH       FL           34202
    KRISTE SIMONSON                                                        36565 SPRUCE CIR                                                               ANCHOR POINT         AK           99556
    KRISTEN DUERR REMILLARD                                                19 JUNIPER ROAD                                                                UPTON                MA           01568
    Kristen E Weirich                                                      19705 Kilfinan Street                                                          Porter Ranch         CA           91326
    Kristen Giapponi                                                       300 Babbitt Road                                                               Thomaston            CT           06787
    KRISTEN J HOLLAND                                                      1413 PRESTON AVENUE                                                            AUSTIN               TX           78703
    Kristen Lavelle                                                        8402 Lake Burden Circle                                                        Windermere           FL           34786
    Kristen M Miller                                                       261 Athens Street              Unit 1                                          South Boston         MA           02127
    KRISTEN M WHEAT                                                        31 KOCH ROAD                                                                   PICAYUNE             MS           39466
    KRISTEN MAJEWSKI                                                       442 HOOD AVE                                                                   SHINNSTON            WV           26431
    Kristen Marie Forrest                                                  44 Pilgrim Rd                                                                  Reading              MA           01867
    KRISTEN PAINTER                                                        1425 FOREST AVE                                                                ST LOUIS             MO           63122
    KRISTI A BROWN                                                         1487 FARMINGTON CT                                                             WELLINGTON           FL           33414
    Kristi B. Loeb                                                         1336 S. Brandywine C                                                           Batavia              IL           60510
    KRISTI BEALL ZUMPANO                                                   6113 SMITH OAK TRAIL                                                           AUSTIN               TX           78749
    KRISTI FORD RHODES                                                     8925 LONG SAVANNAN ROAD                                                        OOLTEWAH             TN           37363
    Kristi Hughes                                                          8425 Leeland Archer Blvd                                                       Orlando              FL           32836
    KRISTI WILSON                                                          309 JACKSON STREET                                                             LAKE WALES           FL           33859
    Kristijan Kajtna                                                       40 Boylston Street             402                                             Boston               MA           02116
    KRISTIN A JACOBSON                                                     609 6TH ST                                                                     MARATHON             WI           54448
    Kristin Anderson                                                       4968 Fawn Ridge Way                                                            Castle Rock          CO           80104
    KRISTIN ANNE CAMILLI                                                   803 WINDING WAY                                                                WESTVILLE            NJ           08093
    Kristin D Creighton                                                    3153 Leisurewood Ct                                                            Florissant           MO           63033
    Kristin Davis                                                          4065 North Redwood Avenue                                                      Rialto               CA           92377
    KRISTIN DILL                                                           5043 BOATHOUSE DRIVE                                                           ORLANDO              FL           32812
    KRISTIN GIORGIO                                                        2757 RAVINE PLACE                                                              NORTH BELLMORE       NY           11710
    Kristin Hay                                                            5 Brahms Street                Apt. #2                                         Boston               MA           02131
    KRISTIN IDES HOPE                                                      15920 SW TWIN LAKES RD                                                         POWELL BUTTE         OR           97753-1908
    Kristin J Zuniga                                                       900 Champions Point Dr                                                         Pflugerville         TX           78660
    KRISTIN KAY VENABLE                                                    780 REDWOOD CT                                                                 HIGHLANDS RANCH      CO           80126
    Kristin Kladstrup                                                      36 Stuart Street                                                               Watertown            MA           02472
    Kristin M Marshall                                                     199 Jotham Ave.                                                                Auburn Hills         MI           48326
    Kristin May                                                            1505 N. 150th Terrace                                                          Basehor              KS           66007
    Kristin Moehlmann                                                      31-85 Cresent St. Apt.206                                                      Astoria              NY           11106
    Kristin Murray                                                         10716 sierra oaks                                                              Austin               TX           78759
    KRISTIN N WALKER                                                       9203-02 OLMSTED DR                                                             CHARLOTTE            NC           28262



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                   247 of 488                                                                                          1:26 PM
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                                                                                                                         of 519
                                                                                                                        First Class Service List


                   CreditorName                       CreditorNoticeName                   Address1                            Address2                        Address3                          City        State       Zip            Country
    Kristin Pavkovic                                                        8248 N. KOLMAR AVE.                                                                                     SKOKIE              IL           60076-2620
    Kristin Persons                                                         1019 N. Highland Ave.                                                                                   Arlington Heights   IL           60004
    Kristin Riggs                                                           415 West King St                                                                                        Orlando             FL           32804
    KRISTIN TOBIASSEN                                                       107 BERKELEY PLACE #2F                                                                                  BROOKLYN            NY           11217
    Kristin V Basse                                                         7824 Chattington Drive                                                                                  Dallas              TX           75248
    Kristin Wegner                                                          1301 S FINLEY RD                  APT 211                                                               LOMBARO             IL           60148
    KRISTIN ZIEMKE FASTABEND                ZIEMKE CONSULTING LLC           4709 N ROCKWELL UNIT 3                                                                                  CHICAGO             IL           60625
    KRISTINA BRIGHAM                                                        1100 ANSLEY CIRCLE APT 220                                                                              APOPKA              FL           32703
    Kristina Daley                                                          57 Ferncrest Drive                                                                                      Cumberland          RI           02864
    KRISTINA DAWN HARRISON                                                  12170 DRIFTSTONE DR                                                                                     FISHERS             IN           46037
    Kristina Howd                                                           28 C Federal Street               #2                                                                    Salem               MA           01970
    Kristina Jernt                                                          19112 Keeli Ln                                                                                          Pflugerville        TX           78660
    KRISTINA THORPE                                                         P O BOX 3284                                                                                            REDMOND             WA           98073
    Kristine A Fisher                                                       200 East Delaware Place           11C                                                                   Chicago             IL           60611
    KRISTINE AARHUS                                                         15109 55TH AVE SE                                                                                       EVERETT             WA           98208
    Kristine Cirillo                                                        1440 Lake Shadow Cir              Apt 8302                                                              Maitland            FL           32751
    Kristine E Luecker                                                      1900 Scofield Ridge Parkway       Unit 6703                                                             Austin              TX           78727
    KRISTINE K RUSCH                                                        P O BOX 479                                                                                             LINCOLN CITY        OR           97367
    Kristine Marshall                                                       8006 Red Rock Cove                                                                                      Austin              TX           78749
    KRISTINE MCDEVITT                                                       7976 KIMBERLY JEAN CT                                                                                   RIVERSIDE           CA           92506
    Kristine Nielsen                        Educational Solutions, LLC      4608 Dupont Avenue S                                                                                    Minneapolis         MN           55419
    KRISTINE OCONNELL GEORGE                                                29866 TRIUNFO DRIVE                                                                                     AGOURA              CA           91301-3022
    KRISTINE PELLETIER                                                      188 NORTH BEND DR                                                                                       MANCHESTER          NH           03104
    Kristine Sander                                                         1885 E. Nichols Place                                                                                   Centennial          CO           80122
    KRISTOFR ALLERFELDT                                                     RUANLANIHORNE                                                          THE OLD RECTORY                  TRURO                            TR2 5NY      United Kingdom
    Kristopher Tedesco                                                      204 Clocktower Dr.                Unit 6109                                                             Waltham             MA           02452
    Kristy A Salseda                                                        23511 Aliso Creek Road            187                                                                   Aliso Viejo         CA           92656
                                            DBA KRISTYS MAKEUP ARTISTRY &
    KRISTY ALONZO                           HAIR DESI                       14458 WHITTRIDGE DR                                                                                     WINTER GARDEN       FL           34787
    KRISTY DOMENECH MILLER                                                  2H68 JOSE REGUERO ST              BAIROA PARK                                                           CAGUAS              PR           00727
    Kristy Draper                                                           190 Bridge Street                 Apt 5401                                                              Salem               MA           01970
    Kristy Marks                                                            301 Shawmut Ave                   Unit #24                                                              Boston              MA           02118
    Kristy Schulz                                                           3408 Old Masonic Road                                                                                   Brenham             TX           77833
    Kristyn Warren                                                          8710 Elmdale Trce                                                                                       Macedonia           OH           44056
    KROEGER MARY KAY                                                        8642 WUEST ROAD                                                                                         CINCINNATI          OH           45251
    KROLL                                                                   PO BOX 1418                                                                                             COLUMBUS            GA           31902
    KROLL ASSOCIATES INC                                                    PO BOX 30835                                                                                            NEWARK              NJ           07188

    KROLL BACKGROUND AMERICA, INC                                           PO BOX 202740                                                                                           DALLAS              TX           75320-2740
    KROLL FACTUAL DATA                                                      P O BOX 847681                                                                                          DALLAS              TX           75284-7681
    KROMMES BETH                                                            310 OLD STREET RD                                                                                       PETERBOROUGH        NH           03458
    KRONOS                                                                  P O BOX 845748                                                                                          BOSTON              MA           02284-5748

    KRT PRODUCTIONS INC                                                     1701 E WOODFIELD ROAD, STE 620                                                                          SCHAUMBURG          IL           60173-5131
    Krystalyn Ayers                                                         0N567 Fieldstone Lane                                                                                   Geneva              IL           60134
    KRYSTEN LEBEL                                                           14 APACHE ST                                                                                            DOVER               NH           03820
    Krystn Forcina                                                          6 Seneca Lane                                                                                           Wilmington          MA           01887
    KSTA                                    c/o T KELLY TAYLOR              3437 BELVOIR DRIVE                                                                                      LEXINGTON           KY           40502
    K-STATE STUDENT UNION
    BOOKSTORE                                                               820 K-STATE UNION                                                                                       MANHATTAN           KS           66506
    KSWLA                                   JULIE HUGHES                    723 ARTHUR ST                                                                                           CLAY CENTER         KS           67432
    KUBINYI LASZLO                                                          115 EVERGREEN PLACE                                                                                     TEANECK             NJ           07666
    KUE DIGITAL INC                         DBA GLOBALSCHOLAR               P O BOX 93038                                                                                           CHICAGO             IL           60673
    Kue Digital Inc, DBA Global Scholar     Kal Raman                       1100 112th Avenue NE, Suite 100   South Building                                                        Bellevue            WA           98004
    KUEMMEL PRINTING INC                    DBA AUSTIN PRINTING MAILING     6906 GUADALUPE # 307                                                                                    AUSTIN              TX           78752
                                            JOHN JAY COLLEGE CRIMINAL
    KUGENDRAN THURAI                        JUSTICE                         445 WEST 59TH ST - MATH DEPT                                                                            NEW YORK            NY           10019-1104
    KUHN PROJECTS                                                           126 FIFTH AVENUE SUITE # 3A                                                                             NEW YORK            NY           10011
    KUHN STUDIOS INC                                                        701 NORTH LIBERTY STREET                                                                                WINSTON-SALEM       NC           27101
    KUKLA DAVID                                                             17269 SUNDERLAND DRIVE                                                                                  GRANADA HILLS       CA           91344
    Kuna School District                    Accounts Payable                441 Porter Road                                                                                         Kuna                ID           83634
    KUNSTLER ENTERPRISES LTD                                                PO BOX 311                                                                                              OYSTER BAY          NY           11771
    Kurt Bauer                                                              1702 S Elm St                                                                                           Georgetown          TX           78626
    KURT BERNHEIM                                                           792 COLUMBUS AVENUE                                                                                     NEW YORK            NY           10025
    KURT CYRUS                                                              744 NORTH 10TH STREET                                                                                   COTTAGE GROVE       OR           97424-1316

    KURT DAW                                                                1600 HOLLOWAY AVE # 251                                                SAN FRANCISCO STATE UNIVERSITY SAN FRANCISCO         CA           94132
    Kurt Johnson                                                            920 Parkside Dr                                                                                       Rockford              IL           61108
    KURT KELLY                                                              3535 SE MARICAMP RD                                                                                   OCALA                 FL           34471
    Kurt Lichte                                                             639 S. Walnut Avenue                                                                                  Arlington Heights     IL           60005



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                         248 of 488                                                                                                           1:26 PM
                                                       12-12171-reg         Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                      of 519
                                                                                                                 First Class Service List


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    KURT LUDWIG                             DBA KURT LUDWIG DESIGN        545 EVERETT ST                                                                         EL CERRITO        CA           94530
    KURT RITTER                                                           BLOCKER BLDG ROOM 608           TEXAS A & M UNIV                  DEPT SPEECH COMM     COLLEGE STATION   TX           77843-4234
    Kurtzman Carson Consultants
    KURTZMAN CARSON CONSULTANTS
    LLC                                                                   2335 ALASKA AVENUE                                                                     EL SEGUNDO        CA           90245-4808
    KUSKIN KARLA TRUST                                                    6527 27TH AVENUE NW                                                                    SEATTLE           WA           98117
    KVL AUDIO VISUAL SERVICES                                             466 SAW MILL RIVER ROAD                                                                ARDSLEY           NY           10502
    Kwadwo Dodi                                                           32 Wilshire Way                                                                        Lincroft          NJ           07738
    KWANTLEN UNIVERSITY COLLEGE                                           12666 72ND AVENUE               TERESA HOFSTEDT                   RICHMOND CAMPUS      SURREY            BC           V3W 2M8      Canada
    KWIK COPY PRINTING                                                    6507 JESTER BLVD, # 109                                                                AUSTIN            TX           78750
    KWINTESSENTIAL LTD                                                    24 COMPTON ROAD                                                                        SOUTH PETHERTON   Somerset     TA13 5EN     United Kingdom
    KY ASSOC FOR HEALTH PHYSICAL
    EDU                                     RECREATION & DANCE            213 SHERIDAN DRIVE                                                                     CAMPBELLSVILLE    KY           42718
    KYLA A WATSON                                                         17574 GENERAL FORREST                                                                  BATON ROUGE       LA           70817
    Kyla Luquette                                                         494 Charles Bancroft Hwy                                                               Litchfield        NH           03052
    Kyle Helfrich                                                         10412 Startrail Court                                                                  Highlands Ranch   CO           80126
    Kyle Henderson                                                        5566 Burlwood Drive                                                                    Orlando           FL           32810
    Kyle Miller                                                           1119 Briercliff Dr.                                                                    Orlando           FL           32806
    KYLE T WEBSTER INC                                                    2418 LYNDHURST AVE                                                                     WINSTON-SALEM     NC           27103
    Kyle Van Horn                                                         414 Dewey Ave                                                                          Evanston          IL           60202
    Kyle W Riddle                                                         1221 Bradwell Dr                                                                       Orlando           FL           32837
    KYLEN CHASE CAMPBELL                                                  77 41ST ST                                                                             OAKLAND           CA           94611
    KYLENE BEERS                                                          23 GLENLEIGH PLACE                                                                     THE WOODLANDS     TX           77381
    Kym A Beckenhauer                                                     3028 Amhurst Street SE                                                                 Olympia           WA           98501
    Kyna Carney                                                           1 Nassau Street                 415                                                    Boston            MA           02111
    L & D DILLON INC                                                      221 KANE STREET                                                                        BROOKLYN          NY           11231
    L AFREIQUE SUR INTERNET                 RCS PARIS B 429930639         9 RUE D ENGHEIN                                                                        PARIS                          75010        France
    L ALLEN APPRAISAL STUDIOS INC                                         P O BOX 2543                                                                           WINTER PARK       FL           32790-2543
    L C PROPERTIES                          DBA TROY STORAGE              223 SOUTHWOODS CENTER                                                                  COLUMBIA          IL           62236
                                                                          133 WEST OREGON STREET, APT
    L R GALANTE                             DBA STUDIO GALANTE            500                                                                                    MILWAUKEE         WI           53204
    L STANLEY WENCK                                                       12750 HEARTHSTONE DRIVE                                                                FISHERS           IN           46038
    L.F. TANTILLO                           FINE ART                      243 IRISH HILL ROAD                                                                    NASSAU            NY           12123
    LA COCINA DE LA ABUELA                                                CALLE DEL PARQUE #171 APT 3-A                                                          SAN JUAN          PR           00911
    LA COUNTY BILINGUAL DIRECTORS
    ASSOC                                                                 P O BOX 2122                                                                           DOWNEY            CA           90242
    LA FONDA JANE SPECK                                                   RT 3 BOX 300                                                                           BROKEN BOW        OK           74728
    LA GALERA SA EDITORIAL                                                JOSEP PLA 95                                                                           BARCELONA         Barcelona    08019        Spain
    LA GALERA SAU EDITORIAL                                               JOSEP PLA 95                                                                           BARCELONA                      08019        Spain
    LA HABRA CITY SCHOOL DISTRICT                                         500 NORTH WALNUT STREET                                                                LA HABRA          CA           90631
    LA JOLLA COUNTRY DAY SCHOOL                                           9409 REGENTS ROAD                                                                      LA JOLLA          CA           92037
    LA JOYA INDEPENDENT SCHOOL
    DISTRICT                                                              201 E EXPRESSWAY 83                                                                    LA JOYA           TX           78560
    La Quisha M Brown                                                     24062 Merrilyn CT                                                                      Farmington        MI           48336
    Labor Finders                                                         P.O. Box 717                                                                           COMMERCE CITY     CO           80037-0717
    LABOR LAW COMPLIANCE CENTER
    LLC                                                                   17215 RED OAK DR STE 112                                                               HOUSTON           TX           77090
    LABOV WILLIAM                                                         2048 RITTENHOUSE SQUARE                                                                PHILADELPHIA      PA           19103

    LABTEST INTERNATIONAL INC               DBA INTERTEK CONSUMER GOODS   P O BOX 99959                                                                          CHICAGO           IL           60696-7759
    Lacoe - Accounts Payable                                              9300 East Imperial Highway                                                             Downey            CA           90242
    LACONIA SCHOOL DISTRICT                                               ADM BLDG, P O BOX 309                                                                  LACONIA           NH           03247
    LADACIN NETWORK INC                                                   1701KNEELEY BOULEVARD                                                                  WANAMASSA         NJ           07712
    Ladd Skelly                                                           2961 Tuckerstown Dr                                                                    Sarasota          FL           34231
                                       DBA ALL AMERICAN FIRE
    LADDERS INC                        PROTECTION                         2388 WEAVER WAY                                                                        DORAVILLE         GA           30340-1539
    Ladies Village Improvement Society                                    95 Main Street                                                                         East Hampton      NY           11937
    LADYBIRD BOOKS LTD                                                    80 STRAND                                                                              LONDON                         WC2R 0RL     United Kingdom
    LAFAYETTE INSTRUMENT COMPANY
    INC                                                                   P O BOX 5729                                                                           LAFAYETTE         IN           47903-5729

    LAFAYETTE PARISH SCHOOL BOARD WESTSIDE ELEMENTARY SCHOOL              113 CHAPLIN DRIVE                                                                      LAFAYETTE         LA           70508

    LAFAYETTE PARISH SCHOOL BOARD SALES TAX DIVISION                      P O BOX 52706                                                                          LAFAYETTE         LA           70506-3883

    LAFAYETTE PARISH SCHOOL BOARD                                         113 CHAPLIN DRIVE                                                                      LAFAYETTE         LA           70508

    LAFAYETTE PARISH SCHOOL BOARD                                         P O BOX 52706                                                                          LAFAYETTE         LA           70506-3883

    LAFAYETTE SCHOOL DISTRICT               LAFAYETTE ELEMENTARY SCHOOL   950 MORAGA RD                                                                          LAFAYETTE         CA           94549



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                249 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                         of 519
                                                                                                                   First Class Service List


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    LAFFPIX INC                                                            18 HAVEMEYER STREET                                                                             BROOKLYN           NY            11211
    LAFORGE KATHERINE                                                      450 REDMOND RD                                                                                  EUREKA             CA            95503
    LAFOURCHE PARISH SCHOOL
    BOARD                                   SALES AND USE TAX DEPARTMENT   P O BOX 997                                                                                     THIBODAUX          LA            70302-0997

    LAGRRANGE COLLEGE BOOKSTORE                                            601 BROAD STREET                                                                                LAGRRANGE          GA            30240
    Laguna Cliffs Resort and Spa                                           25135 Park Lantern                                                                              Dana Point         CA            92629
    LAIHONG T TRAN                                                         12593 82ND STREET N                                                                             WEST PALM BEACH    FL            33412-2904
    LAKE AGASSIZ READING COUNCIL                                           2310 PEMBROOKE DRIVE                                                                            GRAND FORKS        ND            58201
    LAKE BLUFF SCHOOL DISTRICT 65                                          900 NORTH SHORE DRIVE STE 220                                                                   LAKE BLUFF         IL            60044
    LAKE BOOK MANUFACTURING INC                                            2085 N CORNELL AVENUE                                                                           MELROSE PARK       IL            60160-1002
    LAKE CITIES FABRICATION INC                                            780 B NORTH KEALY ST                                                                            LEWISVILLE         TX            75057
    LAKE COUNTRY CORPORATION                DBA LEXINGTON LANSING HOTEL    925 SOUTH CREYTS ROAD                                                                           LANSING            MI            48917-9222
    LAKE FOREST CORPORATE
    EDUCATION                               ATTN SANDY TURKINGTON          1905 W FIELD COURT                                                                              LAKE FOREST        IL            60045
    LAKE FOREST COUNTRY DAY
    SCHOOL                                                                 145 SOUTH GREEN BAY ROAD                                                                        LAKE FOREST        IL            60045
    LAKE FOREST SCH DISTRICT 67             ACCOUNTS PAYABLE               300 S WAUKEGAN ROAD                                                                             LAKE FOREST        IL            60045
    LAKE MARION CAROLYN                                                    3916 PORTOLA PLACE                                                                              SAN DIEGO          CA            92103
    Lake Villa CCSD #41                     Attn Mary Conkling             131 McKinley Ave                                                                                Lake Villa         IL            60046
    Lake Washington School Dist.            Attn Accounting Dept.          16250 Northeast 74th Street                                                                     Redmond            WA            98052
    LAKEHEAD UNIV ALUMNI
    BOOKSTORE                                                              955 OLIVER ROAD                                                                                 THUNDER BAY        ON            P7B 5E1      Canada
    Lakeland Central School Dist.           Accounting Dept.               1086 East Main Street                                                                           Shrub Oak          NY            10588
    LAKELAND COMMUNITY COLLEGE              BOOKSTORE                      7700 CLOCKTOWER DR              ATTN LOU ANN LUZAR                                              KIRTLAND           OH            44094
    LAKEWAY PUBLISHERS OF
    MISSOURI INC                            DBA LOUISIANA PRESS JOURNAL    3408 GEORGIA P O BOX 466                                                                        LOUISIANA          MO            63353
    LAKEWOOD HS                                                            9700 WEST 8TH AVE                                                                               LAKEWOOD           CO            80215
    LALEIKE JUDITH                                                         508 VICTORIA GARDENS DR                                                                         KENNETT SQUARE     PA            19348
    Lam Vu                                                                 11624 Mcrae Road                                                                                Dallas             TX            75228
    LAMAR HENDERSON                                                        9380 PRESTWICK CLUB DRIVE                                                                       DULUTH             GA            30097
    LAMAR UNIVERSITY FOUNDATION                                            PO BOX 11500                                                                                    BEAUMONT           TX            77710
    LAMARCO SYSTEMS INC                                                    475 LINDBERG LN                                                                                 NORTHBROOK         IL            60062
    LAMBDA LITERARY FOUNDATION                                             5482 WILSHIRE BLVD                                                                              LOS ANGELES        CA            90036
    LAMBERT DAVIS                                                          13 DURFOLD STREET                                                                               DUDLEY             NSW           02290        Australia
    LAMICA L CALDWELL                                                      2347 MARTINA RUN                                                                                TAVARES            FL            32778
    LAMOINE L MOTZ                                                         8805 EL DORADO DRIVE                                                                            WHITE LAKE         MI            48386
    LAMPING & HUSER HEATING &
    COOLING INC                                                            3440 E SUMNER AVENUE                                                                            INDIANAPOLIS       IN            46237
                                                                                                                                              UNIVERSITY OF IOWA WRITERS
    LAN S CHANG                                                            510 N CLINTON STREET                                               WRKSHOP                      IOWA CITY          IA            52245
    LANA CAROL NEAL                         C/O ELIZABETH BARTOLOMEO       5613 JANABYRD LANE                                                                              AUSTIN             TX            78749
    Lana Cox                                                               PO Box 91866                                                                                    Austin             TX            78709
    Lana Keselman                                                          1921 Bay Avenue                 3K                                                              Brooklyn           NY            11230
    Lana Todd                                                              5425 Lacy                                                                                       Houston            TX            77007
    LANCASTER-LEBANON EDUC
    FOUNDATION                                                             1020 NEW HOLLAND AVENUE                                                                         LANCASTER          PA            17601
    Lancaster-Lebanon Intmd. U. 13          Linda Dolan                    1110 Enterprise Road                                                                            EAST PETERSBURG    PA            17520
    Lancaster-Lebanon Intmd. U. 13          Attn Lu Ha                     1110 Enterprise Road                                                                            East Petersburg    PA            17520
    Lancaster-Lebanon IU13                                                 6340 Flank Drive                Suite 600                                                       Harrisburg         PA            17112
    Lance Armstrong Foundation              Attn Matching Gifts            PO Box 6002                                                                                     Albert Lea         MN            56007-6602
    Lance Benzley                                                          6524 Lake Burden View Dr                                                                        Windermere         FL            34786
    LANCE FUHRER                                                           1359 SUNNYBROOK DRIVE                                                                           NAPERVILLE         IL            60540
    LANCE LEKANDER                                                         2260 VANDERBILT CIRCLE                                                                          ANCHORGE           AK            99508
    LAND LINDBERGH CHILD TRST                                              270 PARK AVENUE 16TH FLOOR      C/O FERN SILVERSTEIN                                            NEW YORK           NY            10167-0001
    LANDAU ELAINE                                                          P O BOX 830398                                                                                  MIAMI              FL            33283
    LANDON RESEARCH GROUP LTD               5875 N LINCOLN AVE             STE 220                                                                                         CHICAGO            IL            60659-4672
    LANDOV                                                                 244 FIFTH AVE - 5TH FLR                                                                         NEW YORK           NY            10001-7604
    LANDRY LEO                                                             15 POQUANTICUT AVENUE                                                                           NORTH EASTON       MA            02356
    LANDSCAPE CONCEPTS
    MANAGEMENT INC                          ATTN ACCTS RECEIVABLE          31745 N ALLEGHANY RD                                                                            GRAYSLAKE          IL            60030
    LANDUCCI SA DE CV                                                      COLIMA NO 233 COL ROMA DEL                                                                      CUAUHTEMOC CP                    06700        Mexico
    LANE COMMUNITY COLLEGE                  BOOKSTORE                      4000 EAST 30TH AVE                                                                              EUGENE             OR            97405
    LANG SUSAN S                                                           563 ELLIS HOLLOW CREEK ROAD                                                                     ITHACA             NY            14850
    LANGER JUDITH A                                                        103 NEW SALEM SOUTH ROAD                                                                        VOORHEESVILLE      NY            12186
    LANGER LEONARD C R                                                     28 STURBRIDGE RD                                                                                WELLESLEY          MA            02481-1230
    LANGUAGE MAGAZINE                                                      131 S TOPANGA CANYON BLVD                                                                       TOPANGA            CA            90290
    LANI DUNTHORN                                                          34 HOTCHKISS AVE                                                                                BINGHAMPTON        NY            13901
    Lani Gershon                                                           6545 N. LeMai Ave.                                                                              Lincolnwood        IL            60712
    LANIER LEOLA ECHOLS                                                    1424 MARLOWE AVE                                                                                INDIANAPOLIS       IN            46201-3006



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                  250 of 488                                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              258 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


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    LANKER INC                                                             1993 KIMBERLY DRIVE                                                                              EUGENE              OR           97405
    LANREV LP                                                              4287 BELTLINE ROAD #308                                                                          ADDISON             TX           75001
    LANSING ENTERTAINMENT AND
    PUBLIC                                  FACILITIES-LANSING CENTER      333 EAST MICHIGAN AVE                                                                            LANSING             MI           48933
    LANSING SCHOOL DISTRICT                                                519 W KALAMAZOO                                                                                  LANSING             MI           48933

    LANSINGBURGH CENTRAL SCH DIST           BOARD OF EDUCATION             576 FIFTH AVE LANSINGBURGH                                                                       TROY                NY           12182
    LANTANA COMMUNICATIONS
    SERVICES                                                               1700 TECH CENTRE PARKWAY                                                                         ARLINGTON           TX           76014
    LANTANA LLC                                                            43 SCANTION DRIVE                                                                                RANDOLPH            MA           02368
    LAN-TEL COMMUNICATIONS INC                                             1400 PROVIDENCE HIGHWAY                                                                          NORWOOD             MA           02062
    LANTZ OFFICE                                                           247 WEST 87TH STREET-24G                                                                         NEW YORK            NY           10024
    LAPIN DIANN R                                                          1335 N ASTOR STREET                                                                              CHICAGO             IL           60610
    LAPIN SYSTEMS INC                                                      832 DEMPSTER ST                                                                                  EVANSTON            IL           60202
    LAPIZ INC                                                              3240 EAST STATE STREET EXTN                                                                      HAMILTON            NJ           08619
    LAPWAI SCHOOL DISTRICT #341                                            P O BOX 247 271 B STREET                                                                         LAPWAI              ID           83540
    Laquita Matthews                                                       4600 N. Josey Ln.                #505                                                            Carrollton          TX           75010
    LARA ANDERSON                                                          15556 BETHSDA CIR                                                                                WESTFIELD           IN           46074
    Lara Cripe                                                             4625 Cason Cove Dr               #1321                                                           Orlando             FL           32811
    Lara J. Hightower                                                      6449 N. Newgard                                                                                  Chicago             IL           60626
    LARA STELMASZYK                                                        297 HUDSON AVENUE                                                                                ALBANY              NY           12210
    LARAINE FLEMMING                                                       1254 MIDDLETOWN AVE                                                                              NORTHFORD           CT           06472
    LARDY PHILIPPE                                                         42 ROUTE DU PRIEUR                                                                               LANDECY                          01257        Switzerland
    LARKIN DAVID                                                           P O BOX 55                                                                                       CHERRY PLAIN        NY           12040
    LARRY A FLICK                                                          17 FORGE ROAD                                                                                    WILTON              CT           06897
    Larry Ainsworth                                                        1641 Honeysuckle Court                                                                           Encinitas           CA           92024
    Larry Ainsworth                                                        1641 Honeysuckle Court                                                                           Encinitas           CA           92024-2458
    LARRY ANGIER                            DBA IMAGE WEST PHOTOGRAPHY     205 ANITA STREET                                                                                 JACKSON             CA           95642
    Larry B. Ainworth, Co-Trustee                                          1641 Honeysuckle Court                                                                           Encinitas           CA           92024
    LARRY BAAS                                                             5408 MAY STREET                  VALPARAISO UNIVERSITY                                           VALPARAISO          IN           46383
    LARRY BOYD                                                             1631 CLINTON ST                                                                                  CARLYLE             IL           62231
    Larry C Duncan                                                         4711 High Vista Dr                                                                               Columbus            IN           47203
    LARRY D HODGE                                                          3788 CR 4610                                                                                     ATHENS              TX           75752
    Larry Duncan                                                           4711 High Vista Dr                                                                               Columbus            IN           47203
    Larry Ferguson                                                         1264 Druid Pl Ne                                                                                 Atlanta             GA           30307
    LARRY FRENCH                                                           2520 ARSLAN STREET                                                                               DELTONA             FL           32738
    Larry Hanken                                                           1235 W. Lobster Trap Dr.                                                                         Gilbert             AZ           85233
    Larry Hoce                                                             723 Cove Trail                                                                                   Chapin              SC           29036
    LARRY JACOBS                                                           691 HUMPHREY ST                                                                                  SWAMPSCOTT          MA           01907
    Larry Lomax                                                            384 Hwy EE                                                                                       Winfield            MO           63389
    LARRY MAW                                                              10439 PINION TRAIL                                                                               ESCONDIDO           CA           92026
    LARRY MAYER                                                            4825 ARAPAHO TRAIL                                                                               BILLINGS            MT           59106-9611
    LARRY MONDI                             DBA LARRY MONDI PRODUCTIONS    P O BOX 470575                                                                                   BROOKLINE VILLAGE   MA           02447
    LARRY REYNOLDS                                                         PO BOX 841                                                                                       HOMEWOOD            IL           60430
    LARRY ROSCHE                                                           PO BOX 11253                                                                                     BRADY LAKE          OH           44211
    LARRY SCHWARTZ                                                         1401 N RIVERSIDE DRIVE APT 806                                                                   POMPANO BEACH       FL           33602
    LARRY SPIER MUSIC LLC                   MEMORY LANE MUSIC GROUP        501 7TH AVE STE 512              ATTN HEATHER TRUSSELL                                           NEW YORK            NY           10018
    LARRY SPIER MUSIC LLC                   MEMORY LANE MUSIC GROUP        501 SEVENTH AVENUE STE 512       ATTN HEATHER TRUSSELL                                           NEW YORK            NY           10018
    LARRY STRATMAN                          DBA UNIVERSITY BOOK & SUPPLY   1735 NORTH BISHOP                                                                                ROLLA               MO           65401
    LARRY ULRICH STOCK
    PHOTOGRAPHY INC                                                        P O BOX 178                                                                                      TRINIDAD            CA           95570
    LARRY WEISMAN LLC                                                      566 FIFTH ST # 3                                                                                 BROOKLYN            NY           11215
    LARRY WEST                                                             24 WEST BARNES ROAD                                                                              MASON               MI           48854
    LARRY WILLOUGHBY                                                       BOX 12543                                                                                        AUSTIN              TX           78711
    LARS JORGENSEN                                                         4764 PROCTOR ROAD                                                                                CASTRO VALLEY       CA           94546
    LARSON DESIGN ASSOCIATES                PO BOX 470912                  223 CELEBRATION BOULEVARD                                                                        CELEBRATION         FL           34747
    LARSON DIANE WOODCOCK                                                  16631 DALE VISTA LN                                                                              HUNTINGTON BEACH    CA           92647
    Larson Gross                                                           1616 Cornwall Avenue             Suite 205                                                       Bellingham          WA           98225
    LARSON LEARNING INC                                                    1762 NORCROSS ROAD                                                                               ERIE                PA           16510
    LARSON MATTHEW                                                         10060 EDGEWATER LANE                                                                             LINCOLN             NE           68527
    LARSON TEXTS INC                                                       1762 NORCROSS ROAD                                                                               Erie                PA           16510
    LARSON TEXTS INC                                                       1762 NORCROSS ROAD                                                                               ERIE                PA           16510-3838
    Larson Texts, Inc., Ronald E. Larson,
    Cengage Learning, Inc.
    LAS CINCO RUEDAS S A                                                   ESTE DE LA BASILICA              400 MTS AL SUR Y KM                                             SANTO DOMINGO                                 Costa Rica
    LASAFAP                                 ATTN DANIEL LANDRY             1022 SOUTH FOSTER DR                                                EAST BATON ROUGE SCH BOARD   BATON ROUGE         LA           70806-7021
    LASALLE COMPANY                         DBA COMMUNICATION CENTER       PO BOX 4458                                                                                      SOUTH BEND          IN           46634
    LASALLE COMPANY                                                        4315 RALPH JONES COURT                                                                           SOUTH BEND          IN           46628
    LASALLE COMPANY                                                        PO BOX 4458                                                                                      SOUTH BEND          IN           46634
    LASALLE UNIVERSITY                      LASALE UNIVERSITY CATERING     1900 WEST OLNEY AVENUE                                                                           PHILADELPHIA        PA           19141



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                   251 of 488                                                                                                        1:26 PM
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                                                                                                               Pg Creditor
                                                                                                                   259 Matrix
                                                                                                                           of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                          Address2                        Address3           City           State       Zip              Country
    Laser Concepts, Inc.                                                    6901 W. 117th Ave.               Unit 4                                                    BROOMFIELD        CO           80020
    LASER TECHNOLOGIES SERVICES
    INC                                                                     2352 MAIN STREET STE 101                                                                   CONCORD           MA           01742
    Laserwood Private Limited               Mark OBrien                     P.O. Box 2865                                                                              Buffalo           NY           14209
    LASERWORDS MAINE                                                        26 FORRESTAL STREET                                                                        LEWISTON          ME           04240
    LASERWORDS PRIVATE LIMITED              ARIHANT E PARK                  117/1 L B ROAD, ADYAR                                                                      CHENNAI                        600020       India
    LASERWORDS PRIVATE LIMITED                                              PO BOX 2865                                                                                BUFFALO           NY           14240
    LASERWORDS US INC                                                       4230 ARGOSY COURT                                                                          MADISON           WI           53714
    LASON SYSTEMS INC                       MPB/HOV SERVICES LLC # 774260   4260 SOLUTIONS CENTER                                                                      CHICAGO           IL           60677-4002
    LASON SYSTEMS INC                       MPB/HOV SERVICES LLC            PO BOX 535153                                                                              ATLANTA           GA           30353
    LASON SYSTEMS INC                                                       4260 SOLUTIONS CENTER                                                                      CHICAGO           IL           60677-4002
    LASON SYSTEMS INC                                                       PO BOX 535153                                                                              ATLANTA           GA           30353
    LASZLO STERN                                                            2751 S OCEAN DR, # 1101 SOUTH                                                              HOLLYWOOD         FL           33019
    LATANGELA CAJUAN COLEMAN-
    CROSSFIELD                                                              3457 OAK RUN DRIVE                                                                         LITHONIA          GA           30038
    Lataviance L Taylor                                                     3034 Buck Hill Place                                                                       Orlando           FL           32817
    Latham & Watkins
    LATHAM & WATKINS LLP                                                    P O BOX 7247-8181                                                                          PHILADELPHIA      PA           19170-8181
    LATHAN A VARNADO                                                        17793 AVENIDA ARMENIOSA                                                                    SAHUARITA         AZ           85629
    LATIN AMERICAN BUREAU                   ATTN REPRINT PERMISSIONS        1 AMWELL STREET                                                                            LONDON                         EC1R 1UL     United Kingdom
    LATIN AMERICAN LITERARY REVIEW
    PRESS                                                                   PO BOX 17660                                                                               PITTSBURGH        PA           15235-0860
    LATINSTOCK                                                              MIGUELETES 1646 2 PISO                                                                     BUENOS AIRES                   C1426BUZ     Argentina
    LATINWORKS MARKETING LP                                                 206 EAST 9TH STREET                                                                        AUSTIN            TX           78701
    Latoya Oliver                                                           353 Seaver St. #2                                                                          Dorchester        MA           02121
    Latoya Willis-Sylvester                                                 2814 Boating Blvd                                                                          Kissimmee         FL           34746
    Latrelle T McCall                                                       218 Settlers Trail                                                                         Warner Robins     GA           31088
    Latresa Coleman                                                         1448 Lakecrest Ln                                                                          Lewisville        TX           75057
    Latta High School                                                       618 North Richardson Street                                                                Latta             SC           29565
    LAUGHINGSTOCK LICENSING INC                                             PO BOX 3006 STATION C                                                                      OTTAWA            ON           K1Y 4J3      Canada
    Laura Allen-Simpson                                                     542 Michigan Avenue              Unit #3                                                   Evanston          IL           60202

    LAURA ANN CHANG TOURTELLOTTE                                            6400 ESSEX CT                                                                              SPRINGFIELD       VA           24595
    LAURA APOL                                                              1622 SNYDER                                                                                EAST LANSING      MI           48823
    LAURA ARIAS                                                             H YRIGOYEN 2321 - P 4 - DTO 10                                        LANUS OESTES         Buenos Aires                                Argentina
    Laura Ayr                                                               11 Linnet Street                                                                           West Roxbury      MA           02132
    Laura Becker                                                            1303 W Saint Johns Ave                                                                     Austin            TX           78757
    Laura Besser                                                            9477 Hackberry Lane                                                                        Highlands Ranch   CO           80129
    Laura Betinis                                                           9 Parsons St                     Apt 1                                                     Brighton          MA           02135
    Laura Brown                                                             1289 Big Horn Trl.                                                                         Carol Stream      IL           60188
    Laura Brown                                                             2909 Country Club Drive                                                                    Lynn Haven        FL           32444
    Laura Catalano                                                          1551 S KNOLLWOOD DR                                                                        BRADENTON         FL           34208
    LAURA CECIL                                                             17 ALWYNE VILLAS                                                                           LONDON                         N1 2HG       United Kingdom
    LAURA CECIL LITERARY AGENCY                                             17 ALWYNE VILLAS                                                                           LONDON                         N1 2HG       United Kingdom
    LAURA CHEN                                                              16 EAST WISTERIA WAY                                                                       WESTFIELD         IN           46074
    Laura Chmielewski                                                       235 S. Hickory                                                                             Barlett           IL           60103
    Laura Cook                                                              1247 W GRANVILLE AVE 1E                                                                    CHICAGO           IL           60660
    Laura Corkle                                                            103 Fox St                                                                                 Harrisburg        PA           17109
    Laura Cutone                                                            298 Main St.                     #21                                                       Wakefield         MA           01880
    Laura Dailey                                                            1352 Yvonne Street                                                                         Apopka            FL           32712
                                                                                                             C/O THE GOTHAM GROUP - ACCTS
    LAURA DALESANDRO                                                        9255 SUNSET BLVD, STE 515        RECEIVABLE                                                LOS ANGELES       CA           90069
    Laura Davis                                                             3100 Cherry Creek Dr. S. #1402                                                             DENVER            CO           80209
    LAURA DRONZEK                                                           513 VIRGINIA TERRACE                                                                       MADISON           WI           53726
    Laura E Blanton                                                         1025 Glenharbor Cir                                                                        Winter Garden     FL           34787
    LAURA E ORLANDO                                                         8214 GALLATIN DR                                                                           AUSTIN            TX           78736
    LAURA ESTHER LEWIN                      DBA ABS INTERNATIONAL           BOUCHARD 1622 LA LUCILA                                                                    BUENOS AIRES                   01636        Argentina
    LAURA FLYNN MCCARTHY                                                    13 SURREY COACH LANE                                                                       BOW               NH           03304
    LAURA FOLEY                                                             754 JOHNSON SPOONER RD                                                                     CASTLETON         VT           05735
    LAURA GALEN                                                             77 7TH AVENUE APT 6V                                                                       NEW YORK          NY           10011
    Laura Graedel                                                           1319 Glengary Court                                                                        Wheeling          IL           60090
    Laura Griffin                                                           2633 HUDSPETH AVE                                                                          DALLAS            TX           75216
    Laura H. Brady                                                          161 Rogers Dr.                                                                             Stoughton         MA           02072
    Laura Hildebrand                                                        23 Maple Road                                                                              Melrose           MA           02176
    LAURA HILLENBRAND                                                       3534 W PLACE NW                                                                            WASHINGTON        DC           20007
    LAURA HORAN                                                             2618 HUMBOLDT STREET                                                                       BELLINGHAM        WA           98225
                                            ROSE WILDER LANE HOME &
    LAURA INGALLS WILDER                    MUSEUM                          3068 HIGHWAY A                                                                             MANSFIELD         MO           65704
    LAURA JELEMENSKY                                                        8950 BEAR CREEK DRIVE                                                                      AUSTIN            TX           78737
    LAURA JIMENEZ                                                           13328 56TH AVE S                                                                           TUKWILA           WA           98178



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                      252 of 488                                                                                                1:26 PM
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                                                                                                                     of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2              Address3            City          State       Zip           Country
                                                                           650 S CUEVAS BUSTAMANTE APT
    LAURA JIMENEZ                                                          1903                                                                            SAN JUAN          PR           00918
    LAURA K BAUMGARTNER                                                    708 MCCLURE CT                                                                  ERIE              CO           80516
    Laura K Dershewitz                                                     113 S. Elm St.                                                                  Mount Prospect    IL           60056
    Laura Kier                                                             3927 38th Street               Apt. A-4                                         Canton            OH           44718
    LAURA KOTCH                                                            597 3RD STREET                                                                  BROOKLYN          NY           11215
    Laura l Blair                                                          13332 Harbor Shore Lane                                                         Winter Garden     FL           34787
    Laura L Hanssen                                                        901 Darlingham Ct                                                               Bakersfield       CA           93312
    LAURA L PRESCOTT                                                       228 BLUE RIDGE ROAD                                                             INDIANAPOLIS      IN           46208
    LAURA LANGLIE LITERARY AGENT                                           63 WYCKOFF ST                                                                   BROOKLYN          NY           11201
    Laura Lasley                                                           104 Red Oak Circle                                                              Austin            TX           78753
    Laura Lynn Benson                       An Open Book                   6917 E. Long Avenue                                                             Centennial        CO           80112
    Laura M Buczynski                                                      322 Early Pride Court                                                           Pasadena          MD           21122
    Laura M Santiago                                                       153 S SYCAMORE AV                                                               LOS ANGELES       CA           90036-2942
    LAURA M VAZQUEZ                                                        11420 TERRACE MEADOW WAY                                                        MANOR             TX           78653-3872
    Laura Maddox                                                           4848 Eden View Court                                                            Orlando           FL           32810
    LAURA MARSHALL ALAVOSUS                                                555 MAMMOTH RD                                                                  LONDONDERRY       NH           03053
    LAURA MAY CHAMBLISS                                                    107 THANES WAY                                                                  CORRALES          NM           87048
    LAURA MCGEE KVASNOSKY                                                  801 NW CULBERSTON DRIVE                                                         SEATTLE           WA           98177-3939
    Laura Mellon                                                           4699 Kittredge Street, #1431                                                    Denver            CO           80239
    LAURA MERAZ                                                            1420 PUTNAM STREET APT 1L                                                       BROOKLYN          NY           11237
    Laura Moro                                                             9 Park Street                                                                   Windham           NH           03087
    Laura Murray                                                           534 Grove Street                                                                Healdsburg        CA           95448
    Laura N Hohm                                                           179 S. Evanslawn Ave.                                                           Aurora            IL           60506
    Laura Olesen                                                           15819 Lakeside Dr.                                                              Sterling          IL           61081
    Laura Ostebee Christensen                                              328 Pine Street                                                                 Batavia           IL           60510
    LAURA OSTERBROCK                                                       2712 WEST BERTONA ST                                                            SEATTLE           WA           98199
    LAURA OVRESAT                                                          701 HASTAY BOULEVARD                                                            EATON RAPIDS      MI           48827
    LAURA PALESE                                                           160 STERLING PLACE APT 4F                                                       BROOKLYN          NY           11217
    LAURA PARK                                                             2432 W CORTZ COACHHOUSE # 1                                                     CHICAGO           IL           60622
    LAURA PRICKETT                                                         35 MYRTLE ST APT 5                                                              BOSTON            MA           02114-4573
    LAURA PRITCHARD                         DBA PRITCHARD DESIGN           P O BOX 187                                                                     RIEGELSVILLE      PA           18077-0187
    LAURA PURDIE SALAS                                                     9163 RANCHVIEW LANE                                                             MAPLE GROVE       MN           55369
    LAURA R PEARCE                                                         734 PARK CT                                                                     SAINT CHARLES     MO           63303-2751
    LAURA REGAN                                                            305 LINDENBROOK COURT                                                           WOODSIDE          CA           94062
    Laura Rinard                                                           564 S. 5th Ave.                                                                 Des Plaines       IL           60016
    Laura Sawchuk                                                          28 S CATHERWOOD AVE                                                             INDIANAPOLIS      IN           46219
    Laura Scott                                                            1949 W Chicago Ave             Apt 2                                            Chicago           IL           60622
    Laura Simon                                                            1115 Essex Ct                                                                   Batavia           IL           60510
    LAURA T JOHNSON                                                        72 WARREN AVENUE                                                                HARVARD           MA           01451
    Laura Torres                                                           707 Smoke Signal Pass                                                           Pflugerville      TX           78660
                                                                           ALBORADA 5TA ETAPA MZ DK VILLA
    LAURA VACAS MOSQUERA                                                   16                                                                              GUAYAQUIL                                   Ecuador
    LAURA VAN DEN BERG                                                     240 RIDGEWOOD DR                                                                GETTYSBURG        PA           17325-8510
    LAURA WATSON                                                           5026 E BLOOMFIELD ROAD                                                          SCOTTSDALE        AZ           85254
    Laura Wilson                                                           33 Winchester St.                                                               Medford           MA           02155
    Laura Youssef                                                          28 Fairview Avenue                                                              Derry             NH           03038
                                            DBA LAURA ZUCKERMAN
    LAURA ZUCKERMAN                         CONSULTING                     1260 TAYLOR AVENUE                                                              HIGHLAND          IL           60035
    LAURALINDA MENDENHALL                                                  20015 CHRISTOPHER LANE                                                          SAUGUS            CA           91350
    Laurel A Miller                                                        3964 Worthmor Dr.                                                               Seaford           NY           11783
    LAUREL ANNE-HJELVIK WINTER                                             P O BOX 1114                                                                    ASHEVILLE         NC           28802-1114
    LAUREL ASHLOCK                                                         4605 N POLK AVE RM # 7          CENTRAL UNIFIED SCH DISTRICT                    FRESNO            CA           93722
    LAUREL HAINES                                                          3286 34TH STREET # 2D                                                           ASTORIA           NY           11106
    Laurel Kaczor                                                          198 S. Stonington Dr.                                                           Palatine          IL           60074
    LAUREL NISSEN                                                          593 ARBUTUS AVE                                                                 SUNNYVALE         CA           94086-6406
    LAUREL SCHMIDT                                                         2432 7TH ST                                                                     SANTA MONICA      CA           90405
    Lauren A Najar                                                         105 Moye St                                                                     Round Rock        TX           78664
    Lauren A Wein                                                          332 West 101st Street           Apt 3F                                          New York          NY           10025
    LAUREN BAIOCCHI                                                        1616 WELLINGTON STREET                                                          OAKLAND           CA           94602
    LAUREN BERMAN LUCHT                                                    841 PLEASANTVILLE RD                                                            BRIARCLIFF MANO   NY           10510
    Lauren Dee Campsen                                                     9532 27th Bay Street                                                            Norfolk           VA           23518
    LAUREN FAIR-GARRETT                                                    1008 COUNTRY ROAD, 368                                                          NEW ALBANY        MS           38652
    LAUREN HEFEZ                                                           127 EDWARD KELLEHER DR                                                          STOUGHTON         MA           02072
    LAUREN INGRAHAM                                                        7786 SIGNATURE PARKWAY                                                          HIXSON            TN           37343
    Lauren Knaus                                                           3320 Burks Lane                                                                 Austin            TX           78732
    LAUREN KNIGHT                                                          7502 PLUM HOLLOW CIRCLE                                                         LIVERPOOL         NY           13090
    Lauren Loney                                                           2 Casa Way                      #105                                            San Francisco     CA           94123
    LAUREN MARGARET CORNING                                                205 TOLER AVENUE                                                                SAN LEANDRO       CA           94577
    Lauren Mccarthy                                                        99 E 4th St                     6L                                              New York          NY           10003



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                    253 of 488                                                                                   1:26 PM
                                                      12-12171-reg      Doc 136              Filed 07/15/12 Exhibit
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                                                                                                       Pg Creditor
                                                                                                           261 Matrix
                                                                                                                   of 519
                                                                                                             First Class Service List


                  CreditorName           CreditorNoticeName                          Address1                     Address2              Address3              City          State       Zip            Country
    Lauren Mcfalls                                                   21 Fairfield Street                                                           Cambridge           MA           02140
    Lauren Palmer                                                    6740 Los Verdes Dr             #7                                             Rancho Palos Verd   CA           90275
    Lauren Rittenhouse                                               1787 Allen Dr                                                                 Geneva              IL           60134
    LAUREN RODRIGUES                                                 58 WALNUT STREET                                                              WEST HEMPSTEAD      NY           11552
    LAUREN SARGEANT                                                  4137 NW 57TH STREET                                                           OKLAHOMA CITY       OK           73112
    LAUREN STRINGER                                                  432 NEWTON AVENUE SOUTH                                                       MINNEAPOLIS         MN           55405
    Lauren T Mcdonough                                               29 Gorham Street                                                              Chelmsford          MA           01824
    Lauren Thompson                                                  5 Lothian Road                 Apt. 2                                         Brighton            MA           02135
    LAUREN ZWICKER                                                   25 PHILIP FARM ROAD                                                           CONCORD             MA           01742
    Laurence Cooper                                                  6 Martin Terrace                                                              Marblehead          MA           01945
    LAURENCE PARENT PHOTOGRAPHY
    INC                                                              735 SADDLE RIDGE DR                                                           WIMBERLEY           TX           78676-6324
    LAURENCE POLLINGER LTD                                           9 STAPLE INN HOLBORN                                                          LONDON                           WC1V 7QH     United Kingdom
    LAURENCE R TOBIN                                                 8 GRANGER DR                                                                  LEE                 NH           03824
    LAURENCE R WANTUCK                                               4806 TAFT STREET                                                              HOLLYWOOD           FL           33021
    LAURENCE YEP                                                     244 CROCKER AVE                                                               PACIFIC GROVE       CA           93950
    LAURI ELYSE SEMARNE                                              2674 COLBY AVE                                                                LOS ANGELES         CA           90064-3716
    Lauri Hooper                                                     8701 Bluffstone Cove           #4303                                          Austin              TX           78759
    LAURI LEE                                                        19640 S PRAIRIEBELL RD                                                        MORRIS              OK           74445
    LAURIE A DELGATTO                                                18706 SCENTED CANDLE WAY                                                      SPRING              TX           77388
    Laurie B Merlo                                                   6129 Carlyle Drive                                                            Raleigh             NC           27614
    LAURIE BOSWELL                                                   1484 COPPERMINE ROAD                                                          MONROE              NH           03771
    Laurie Brown                                                     93 East Meadow Road                                                           Wilton              CT           06897
    Laurie C Long                                                    7302 Nez Perce Trace                                                          Manor               TX           78653
    Laurie Cassidy                                                   84 Everett Circle                                                             Stoughton           MA           02072
    Laurie Drucker                                                   2 Constitution Avenue                                                         Attleboro           MA           02703
    Laurie F Stapleton                                               15627 E Girard Pl                                                             Aurora              CO           80013
    LAURIE OMEARA                                                    3902 WHARTON COURT                                                            AUSTIN              TX           78732
    Laurie Pendleton                                                 43 Amherst Street                                                             Worcester           MA           01602
    LAURIE PESSAH                                                    86 MAGNOLIA LANE                                                              JERICHO             NY           11753
    LAURIE ROSBOROUGH                                                939 KUTTRUFF ROAD                                                             WALWORTH            NY           14568
    LAURIE ROSENWALD              CARRET & CO                        40 WEST 57 ST                                                                 NEW YORK            NY           10019
    LAURIE ROSENWALD              C/O BETSY NEWBERRY                 40 WEST 57 ST                                                                 NEW YORK            NY           10019
    Laurie Schuster                                                  40 W 24th St                   7N                                             New York            NY           10010
    LAURIE T ANDERSON                                                404 CHRISTIE STREET                                                           OTTAWA              IL           61350
    LAURIE THOMPSON                                                  229 S ALLTURA RD                                                              ARCADIA             CA           91007
    LAURIN BECKER                                                    557 SAGAMORE AVENUE # 9                                                       PORTSMOUTH          NH           03801
    LAVALLEE BARBARA                                                 704 SUNSET DRIVE                                                              ANCHORAGE           AK           99501
    Lavelle, Kristen
    Lavelle, Michael
    Laverne Stuckey                                                  75 Hill Creek Road                                                            Troy                MO           63379
    Lavonne H. Henry                                                 1235 Winterhall Point                                                         Colorado Springs    CO           80906
    Law Office of Dan Shifrin, PC                                    14081 West 59th Ave                                                           Arvada              CO           80004
    LAW OFFICES OF GLEN-DAVID
    SCHWARZSCHILD                                                    1050 N KINGS HIGHWAY STE 102                                                  CHERRYHILL          NJ           08034
    LAW OFFICES OF JOSEPH E
    BACHELDER LLP                                                    437 MADISON AVENUE                                                            NEW YORK            NY           10022
    Lawanna Wade                                                     6803 Brendon Way N Dr          Apt. D                                         Indianapolis        IN           46226
    Lawndale Elem School District                                    4161 W 147th St                                                               Lawndale            CA           90260
    LAWRENCE A SCHECKEL                                              1113 PARKVIEW DR                                                              TOMAH               WI           54660
    LAWRENCE ALLEN PANFIL                                            17 CART PATH RD                                                               DRACUT              MA           01826
    Lawrence B Kemp                                                  1992 Patriot Blvd                                                             Glenview            IL           60026
    LAWRENCE B SLOBODKIN                                             163 OLD FIELD ROAD             ATTN TAMARA J SLOBODKIN                        SETAUKET            NY           11733
    LAWRENCE BLOCK                                                   299 WEST 12TH STREET #12D                                                     NEW YORK            NY           10014
    Lawrence Druth                                                   505 Jonquil Terr                                                              Deerfield           IL           60015
    LAWRENCE HANKS                                                   2740 PRINCE ST                                                                BERKELEY            CA           94705
    LAWRENCE HUGH BURNS                                              435 GREENWICH STREET                                                          PHILADELPHIA        PA           19147
    Lawrence Hurt                                                    5127 Robinsrock Way                                                           Indianapolis        IN           46268
    LAWRENCE L MEALER                                                5353 MAPLE AVENUE STE 100                                                     DALLAS              TX           75235
    LAWRENCE L STOOKEY                                               3808 MOUNT VIEW AVE, #42                                                      WESTON              WI           54476
    LAWRENCE LEVY                 DBA DRAWING BOARD STUDIOS          9584 NE SHERMAN RD                                                            RIPLEY              NY           14775
    LAWRENCE M PORTER                                                723 COLLINGWOOD DR                                                            EAST LANSING        MI           48823-3416
    Lawrence Mallach                                                 20 Montclair Ave.              Unit 2                                         West Roxbury        MA           02132
    LAWRENCE P MATTHEWS                                              122 SUN HARBOR DR                                                             LIVERPOOL           NY           13088
                                  DBA LEWIS MEDIA SERVICES OF
    LAWRENCE R LEWIS              SAN DIEGO                          5679 CHELSEA AVENUE                                                           LA JOLLA            CA           92037
    LAWRENCE RAGAN
    COMMUNICATIONS INC            RAGAN COMMUNICATIONS               111 EAST WACKER DR STE 500                                                    CHICAGO             IL           60601
    LAWSON PRODUCTS, INC.                                            P O BOX 809401                                                                CHICAGO             IL           60680-9401
    LAWSON ROBERT W                                                  90 LEE DRIVE                                                                  CONCORD             MA           01742



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                            254 of 488                                                                                       1:26 PM
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                                                                                                                262 Matrix
                                                                                                                        of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                        Address2                       Address3            City            State       Zip               Country
    LAZ PARKING LIMITED LLC                                                4 COPLEY PLACE STE 4400                                                                  BOSTON              MA           02116
    LAZARSKI CELIA                                                         705 CROFTON COURT                                                                        INVERNESS           IL           60010
    LE MERIDIEN DALLAS NORTH                                               13402 NOEL RD                                                                            DALLAS              TX           75240
    Lea Ciaramella                                                         55 Lincoln Street                                                                        Revere              MA           02151
    LEA MCSHERRY                                                           3260 N HAYDEN RD # 101                                                                   SCOTTSDALE          AZ           85251
    LEACOCK ELSPETH                                                        319 BEDFORD AVENUE                                                                       BROOKLYN            NY           11211
    LEAD & ENVIRONMENTAL HAZARDS
    ASSOC                                                                  222 BERKELEY STREET                                                                      BOSTON              MA           02116
    LEAD TECHNOLOGIES                                                      1927 SOUTH TRYON STREET SUTIE
    INCORPORATED                                                           200                                                                                      CHARLOTTE           NC           28203
    Leadership and Learning Found.                                         100 Beacon Street                                                                        Boston              MA           02116
    Leadership and Learning Int.                                           116 Ocean Avenue                                                                         Swampscott          MA           01907
    LEADERSHIP CONFERENCE                   OCIC                           PO BOX 18793                                                                             OKLAHOMA CITY       OK           73154
    LEADERSHIP PREP BROWNSVILLE
    CHARTER                                 SCHOOL                         826 BROADWAY FL -9                                                                       NEW YORK            NY           10003
    LEAH BIGGS                                                             75 ALDRICH ST, APT 2                                                                     ROSLINDALE          MA           02131
    LEAH COX                                                               328 PLEASANT AVE # 2A                                                                    NEW YORK            NY           10035
    Leah Davies                                                            45 Grovers Ave                  Unit 1B                                                  Winthrop            MA           02152
    LEAH FERRETTI                                                          569 HILLCREST CIR                                                                        CLEVELAND           MS           38732
    Leah Gaal                                                              211 CAPE COD DR                                                                          PANAMA CITY BEACH   FL           32407-2873
    LEAH GAAL MARGULIES                                                    211 CAPE COD DR                                                                          PANAMA CITY BEACH   FL           32407
    Leah K Jones                                                           10712 Tradition View Drive                                                               Charlotte           NC           28269-1418
    LEAH LECOMTE                                                           136 WOODGATE LANE                                                                        PAOLI               PA           19301
    LEAH PALMER PREISS                                                     2709 VANDERBILT AVE                                                                      RALEIGH             NC           27607
    Leah Wilcox                                                            2427 W McLean                   Unit 1                                                   Chicago             IL           60647
    LEAHY CHRISTOPHER                                                      67 PERKINS STREET                                                                        GLOUCESTER          MA           01930
    LEAK DETECTION SERVICES INC                                            P O BOX 338                                                                              CASEYVILLE          IL           62232
    LEANDRO H GARCIA                                                       C-23 #245                                                                                GUAYNABO            PR           00969
    LEANN METZGER                                                          1116 E SHADE TREE LANE                                                                   APPLETON            WI           54915
    Leann Presley                                                          95 N Ethlyn Road                                                                         Winfield            MO           63389-3621
    Leanne Edwards                                                         5279 Ivy Creek Lane                                                                      Lakeland            TN           38002
    LEAPFROG ENTERPRISES INC                DBA LEAPFROG SCHOOLHOUSE       FILE 30343 P O BOX 60000                                                                 SAN FRANCISCO       CA           94160
    LEARNING DISABILITIES ASSOC OF
    OKLAHOMA                                                               6449 NORTH COLLEGE AVE                                                                   OKLAHOMA CITY       OK           73132
    LEARNING DISABILITIES
    ASSOCIATION                             ATTN LESLIE RUBINSTEIN         9 SEMINOLE COURT                                                                         EAST BRUNSWICK      NJ           08816
    LEARNING EXCELLENCE FNDTN OF                                                                           IMAGINE CHARTER SCH NORTH
    EAST                                    BROWARD COUNTY INC             1395 ST ROAD 7                  LAUDERDALE                                               NORTH LAUDERDALE    FL           33068
    Learning Forward                                                       504 S. Locust St                                                                         Oxford              OH           45056
    LEARNING GATE COMMUNITY                 LEARNING GATE MIDDLE & HIGH
    SCHOOL INC                              SCHOOLS                        15316 NORTH FLORIDA AVENUE                                                               TAMPA               FL           33613
    Learning Point Associates                                              6974 Bellagio Circle                                                                     Tinley Park         IL           60477
                                            DEARFIELD CROSSING SHOPPING
    LEARNING POST                           CTR                            2761 100TH STREET                                                                        URBANDALE           IA           50322
    LEARNING SCIENCE INSTITUTE                                             175 CORNELL RD STE 18                                                                    BLAIRSVILLE         PA           15717
    LEARNING SOURCE LTD                                                    644 10TH STREET                                                                          BROOKLYN            NY           11215
    LEARNING UNLIMITED                                                     225 E 86TH ST # 801             ATTN LISA DELLAMORA                                      NEW YORK            NY           10028
    LEARNING UNLIMITED                                                     225 E 86TH ST # 801                                                                      NEW YORK            NY           10028
    LEARNING UNLIMITED                                                     225 SOUTH HUMPHREY              ATTN CAREN VAN SLYKE                                     OAK PARK            IL           60302
    LEARNING WORLD OF UTAH INC              JOHN CARR                      P O BOX 9033                                                                             SALT LAKE CITY      UT           84109
    LEARNINGMATE SOLUTIONS
    PRIVATE LIMITED                         ATTN RAHUL RINGE               LEVEL 2 TRADE GLOBE             ANDHERI KURLA ROAD                   MUMBAI              Maharashtra                      400059       India
    LEAVELL ULLIN W                                                        1616 TATES CREEK ROAD UNIT 5                                                             LEXINGTON           KY           40502
    Leaza Silver                                                           9596 S. Canberra Dr.                                                                     Highlands Ranch     CO           80130
    LEBARON JOYCE                                                          233 CEDAR STREET                                                                         FRAZIER PARK        CA           93225
    LEBARON SUSANNA                                                        629 NORTH 15TH STREET                                                                    MURPHYSBORO         IL           62966

    LEBLANS ANNE                            ST MARYS COLLEGE OF MARYLAND DIVISION OF ARTS & LETTERS                                                                 ST MARYS CITY       MD           20680
    LEBREDO RAQUEL                                                       1510 CONESTOGA CT                                                                          REDLANDS            CA           92373
    LECNY                                                                201 PERRINE AVE                   ATTN CHARLENE H SULLIVAN                                 AUBURN              NY           13021
    LECOLE DES LOISIRS                      ATTN ISABELLE DARTHY         11 RUE DE SEVRES                                                                           PARIS FRANCE                     75006        France
    LECOLE DES LOISIRS                      11 RUE DE SEVRES             F-75006 PARIS                                                                              FRANCE                           75006        France
    LECTORUM PUBLICATIONS INC                                            205 CHUBB AVENUE                  ATTN TERESA MLAWER                                       LYNDHURST           NJ           07071
    LECTORUM PUBLICATIONS INC                                            205 CHUBB AVENUE                                                                           LYNDHURST           NJ           07071
    LECTORUM PUBLICATIONS INC                                            205 CHUBB AVENUE                                                                           LYNDHURST           NJ           07071-3520
    Lecture Management                                                   2211 Stratford Lane                                                                        Colorado Springs    CO           80909
    Leda Watson                                                          1023 E Third Avenue                                                                        Mt Dora             FL           32757
    LEE & LOW BOOKS INC                     ATTN CHILDRENS BOOK PRESS    95 MADISON AVENUE SUITE 1205                                                               NEW YORK            NY           10016
    LEE & LOW BOOKS INC                                                  95 MADISON AVENUE                                                                          NEW YORK            NY           10016-7801
    LEE & LOW BOOKS INC                                                  95 MADISON AVE ROOM 606                                                                    NEW YORK            NY           10016-7801



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                    255 of 488                                                                                                  1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              263 Matrix
                                                                                                                      of 519
                                                                                                                       First Class Service List


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    LEE A JACOBUS                                                          1 LACONIA DR                                                                                  CLINTON             CT           06413
    Lee A Uehling                                                          894 N. Golf Cul de Sac St.                                                                    Des Plaines         IL           60016
    Lee A Vogler                                                           22 Freedom Hill Road                                                                          Hampstead           NH           03841
    LEE AND LI ATTORNEYS AT LAW                                            7TH FL 201 TUN HUA N ROAD                                                                     TAIPEI ROC 10508                              Taiwan
    LEE AND LOW BOOKS                                                      95 MADISON AVE                                                                                NEW YORK            NY           10016
    Lee Ann Traut                                                          1794 Highbrook Street                                                                         Yorktown Heights    NY           10598
    Lee Anne Landry                                                        2706 Ware Rd.                                                                                 Austin              TX           78741
    Lee Bruno                                                              3660 Dubsdread Circle                                                                         Orlando             FL           32804
    LEE CASTRO                              DBA RMEDIA                     12345 ALAMEDA TRACE CIR # 626                                                                 AUSTIN              TX           78727
    LEE COUNTY TAX COLLECTOR                                               P O BOX 630                                                                                   FORT MYERS          FL           33902-0630
    LEE ENTERPRISES INC                     DBA QUAD CITY TIMES            500 E 3RD STREET                                                                              DAVENPORT           IA           52801
    LEE FOSTER                              DBA FOSTER TRAVEL PUBLISHING   P O BOX 5715                                                                                  BERKELEY            CA           94705
    LEE HO BAEK                                                            MUNBAL-RI GYOHA-EUP              JAIMIMAGE PUBLISHING CO.              536-3, PAJU BOOKCITY   GYEONGGI-DO                      413-756      South Korea
    LEE MEADOWS                                                            364 HILLANDELL DR                                                                             HOOVER              AL           35244
    LEE MOUNTAIN                                                           5110 SAN FELIPE DR                                                                            HOUSTON             TX           77056-3617
    LEE ODELL                                                              11 LEDGEWOOD DRIVE                                                                            TROY                NY           12180
    Lee R Ramsayer                                                         11980 Grey Hollow Court                                                                       North Bethesda      MD           20852
    Lee S Schwarz                                                          13586 McNally Road                                                                            Valley Center       CA           92082
    LEE STAPLES                                                            P O BOX 103                                                                                   WOODVILLE           MA           01784
    LEE V STIFF                                                            1633 MORNING MOUNTAIN ROAD                                                                    RALEIGH             NC           27614
    LEEANN E BRUNEAU                                                       7 LEARNED LANE                                                                                SALISBURY           MA           01952
    Leedora Stuckey                                                        2005 N. Bosart Ave.                                                                           Indianapolis        IN           46218
    LEEMAGE                                                                7 RUE MAITRE ALBERT                                                                           PARIS                            75005        France
    LEFT HAND BOOK & RECORD
    COLLECTIVE INC                          LEFT HAND BOOKS                1200 PEARL STREET # 10                                                                        BOULDER             CO           80302
    LEGACY OF THE VINE MINISTRIES
    INC                                     DBA SAMARITANS FEETS           P O BOX 78992                                                                                 CHARLOTTE           NC           28271-7045
    LEGAL & GENERAL                                                        ONE COLEMAN STREET                                                                            LONDON                           EC2R 5AA     United Kingdom
    LEGION SIX HISTORICAL
    FOUNDATION INC                                                         2300 W VICTORY BLVD STE A                                                                     BURBANK             CA           91506
    LEHIGH PENNSAUKEN                                                      PO BOX 94177                                                                                  CHICAGO             IL           60696
    LEHIGH PHOENIX-HAGERSTOWN                                              18249 PHOENIX DRIVE                                                                           HAGERSTOWN          MD           21742
    LEHIGH PHOENIX-MILWAUKEE                                               8111 NORTH 87TH STREET                                                                        MILWAUKEE           WI           53224
                                            DBA NAPLES GRANDE RESORT AND
    LEHILL PARTNERS LLC                     CLUB                         475 SEAGATE DR                                                                                  NAPLES              FL           34103
    Lehman
    LEHMAN BARBARA                                                         15 LAWNRIDGE AVENUE                                                                           ALBANY              NY           12208
    Lehman Brothers Inc.
    LEHMAN LEVI PAPPAS & SADLER                                            1215 K STREET, SUITE 1010                                                                     SACRAMENTO          CA           95814
    LEIB OSTROW                             DBA MUSICAL KIDZ LLC           PO BOX 1429                                                                                   REDWAY              CA           95560
    LEIBSOHN & ASSOCIATES                                                  7517 N 22ND STREET                                                                            PHOENIX             AZ           85020
                                                                           CONDOMINIO TORRES NAVEL, APT
    LEIDA NEGRON IRIZARRY                                                  1103 A                                                                                        YAUCO               PR           00698
    Leigh A Garcia                                                         9505 Argyle Drive                                                                             Austin              TX           78749
    LEIGH COURTNEY                                                         321 UNION STREET                                                                              ENCINITAS           CA           92024
    LEIGH PALMER                                                           2710 S COMPTON AVE                                                                            ST LOUIS            MO           63118
    LEIGH RODGERS                                                          2831 POPE ST                                                                                  ETHEL               MS           39067
    LEILA CHRISTENBURY                                                     214 OLD ORCHARD LANE                                                                          RICHMOND            VA           23226
    Leila Schnarr                                                          7350 N. Ridge Blvd.              Unit 22b                                                     Chicago             IL           60645
    LEILI MCMURROUGH                                                       85 MONROE STREET                                                                              HONEOYE FALLS       NY           14472
    LEISA SCHULTZ                                                          305 SPRITE ROAD                                                                               LOUISVILLE          KY           40207
    LEIVA MIRIAM                                                           9633 CALLIS CT                                                                                HARRISBURG          NC           28075
    LEIZZIE VEGA BAUZA                                                     P O BOX 10218                                                                                 PONCE               PR           00732
    Lekisha McKinley                                                       11608 Lapoynor Street                                                                         Manor               TX           78653
    LELAND INTERNATIONAL INC                DBA CONTROL TECH SUPPLY CO     11258 GOODNIGHT LANE SUITE 101                                                                DALLAS              TX           75229
    LELAND MIKE WOOTON                                                     PO BOX 7734                                                                                   DALLAS              TX           75209
    LELAND STANFORD JUNIOR
    UNIVERSITY                              FUNDS ACCOUNTING               857 SERRA STREET                                                                              STANFORD            CA           94305
    Leland T Cicco                                                         6180 Huron St                                                                                 Transfer            PA           16154
    LEMBER BARBARA HIRSCH                                                  8225 FOREST AVENUE                                                                            ELKINS PARK         PA           19027
    Lena Rubin                                                             1840 Water Ridge Drive                                                                        Weston              FL           33326
    LENAPE REG HS DISTRICT                  BOARD OF EDUCATION             93 WILLOW GROVE RD                                                                            SHAMONG             NJ           08088
    LENKA DELGADO DONOSO                                                   PASEO SUR 6559 PENALOIEN                                                                      SANTIAGO                                      Chile
    LENORE REILLY                                                          12 BUTTONFIELD LANE                                                                           S HADLEY            MA           01075
    Lenore Sloane                                                          7025 Hathor                                                                                   Corpus Christi      TX           78412
                                            C/O BRECHER WYNERS SIMONS
    LENT BLAIR JR                           FOX & BOLAN LL                 100 WELLS AVENUE                                                       ATTN JAMES S BOLAN     NEWTON              MA           02459
    LEO CULLUM                                                             2900 VALMERE DRIVE                                                                            MALIBU              CA           90265
    Leo Murphy                                                             184 Hollis Avenue                                                                             Braintree           MA           02184




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                      256 of 488                                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               264 Matrix
                                                                                                                       of 519
                                                                                                                 First Class Service List


                 CreditorName                      CreditorNoticeName                 Address1                        Address2              Address3                  City        State       Zip               Country
                                            LEVEL 36 TOWER 1 ENTERPRISE
    LEO PAPER PRODUCTS LTD                  SQUARE FIVE                   MEGABOX - 39 WANG CHIU ROAD                                                  KOWLOON BAY           Kowloon                   Hong Kong
    LEO PAPER PRODUCTS LTD                                                MEGABOX - 39 WANG CHIU ROAD                                                  KOWLOON BAY           Kowloon                   Hong Kong

    LEO PAPER PRODUCTS LTD                                                1180 NW MAPLE STREET SUITE 102                                               ISSAQUAH              WA           98027
    LEO PAPER USA                           1180 NW MAPLE STREET          SUITE 102                                                                    ISSAQUAH              WA           98027
    LEO SULLIVAN-BASHINSKY                                                9860 CHELSEA ROAD                                                            CHELSEA               AL           35043
    LEO V COLBORNE                                                        14 PENDULUM PASS                                                             HOPKINTON             MA           01748
    Leon A Martin                                                         2254 N Forest Ave Rialto                                                     Rialto                CA           92377
    Leon Clements                                                         300 North Rd.                                                                Enterprise            FL           32725
    Leon S Dittner                                                        515 Vista Del Sol                                                            Marlow                OK           73055
    LEON WALLS                                                            2587 N OAKLAND AVE                                                           MILWAUKEE             WI           53211
    LEONARD ELEMENTARY SCHOOL                                             335 E ELMWOOD RD                                                             LEONARD               MI           48367
    Leonard Henkin                                                        134 Perham Street                                                            West Roxbury          MA           02132
    LEONARD MARCUS                                                        54 WILLOW ST # 2A                                                            BROOKLYN              NY           11201
                                                                                                           EXECUTOR - LEONARD S FELDT
    LEONARD S FELDT ESTATE                  MIDWESTONE BANK               P O BOX 1700                     ESTATE                                      IOWA CITY             IA           52233-1700
    LEONARD VAN DE GRAAFF                                                 207 HOLLEN ROAD                                                              BALTIMORE             MD           21212
    LEONARD W HALL                                                        11109 HARBOUR ESTATES CIRCLE                                                 FORT MYERS            FL           33908
    Leonard, Jeffrey
    LEONARDO CIMINO EXECUTOR                                              PO BOX 0823                      WILLIAM AND MARIA LIPKIND                   WOODSTOCK             NY           12498
    LEONARDOS PARTNERS INC                                                P O BOX 1150                     DODGE LEARNING RESOURCES                    TYRONE                GA           30290
                                                                          11100 N WILLIAMSON VALLEY RCH.
    Leonor Sebastia                                                       RD.                                                                          Prescott              AZ           86305
    LEONTYNE PRICE                                                        1133 BROADWAY STE 920                                                        NEW YORK              NY           10010
    LERNER PUBLISHING GROUP                                               1251 WASHINGTON AVE N                                                        MINNEAPOLIS           MN           55401
    LERNER PUBLISHING GROUP INC                                           1251 WASHINGTON AVENUE N                                                     MINNEAPOLIS           MN           55401
    LERNER PUBLISHING GROUP INC                                           241 FIRST AVE N                                                              MINNEAPOLIS           MN           55401
    LEROY NEIMAN INC                                                      1 W 67th STREET                                                              NEW YORK              NY           10023
    LES EDITIONS ALBERT RENE                                              26, AVENUE VICTOR HUGO                                                       PARIS                              75116        France
    LESA A BIEDRON                                                        499 CANDELENA DRIVE                                                          LOVELAND              CO           80537
    Lesa Scott                                                            Po Box 292                                                                   Kearsarge             NH           03847

    LESCHER & LESCHER LTD                                                 255 WEST 21ST ST LOWER DUPLEX    ATTN ROBERT LESCHER                         NEW YORK              NY           10011
                                                                          255 WEST 21ST STREET LOWER
    LESCHER & LESCHER LTD                                                 DUPLEX                                                                       NEW YORK              NY           10011
    LESCHER AGENCY INC                      AUTHORS REPRESENTATIVES       7 PETER COOPER ROAD 11F                                                      NEW YORK              NY           10010
    LESHAE TAPP                                                           1620 W QUITMAN ST                                                            IUKA                  MS           38852
    Lesley Brown                                                          4848 Karen Drive                                                             Indianapolis          IN           46226
    LESLEY CRAIG                                                          3034 N E 15TH AVENUE                                                         PORTLAND              OR           97212
                                            CTR FOR READING RECOVERY & LIT
    LESLEY UNIVERSITY                       COLLABO                        29 EVERETT STREET                                                           CAMBRIDGE             MA           02138
    LESLIE & ARLENE GOLDBERG
    NETWORK INC                                                           15 BURKE ROAD                                                                HAMILTON              NJ           08691
    Leslie A Nowack                                                       4633 Swindon Way                                                             Antelope              CA           95843
    LESLIE A VERA                                                         5779 PEREGRINE AVENUE                                                        ORLANDO               FL           32819
    LESLIE BARNARD                                                        3490 DONALD ST                                                               EUGENE                OR           97405
    LESLIE BLAUMAN                                                        5505 SOUTH OLATHE LANE                                                       CENTENNIAL            CO           80015
    Leslie Bordonaro                                                      61r Union St.                                                                Brighton              MA           02135
    LESLIE CHEEK                                                          9188 LEES RIDGE RD                                                           WARRENTON             VA           20186
    LESLIE D PERKINS                                                      159 CONNEMARA WAY                                                            SUNNYVALE             CA           94087-3287
    LESLIE DENDY                                                          2877 WOODLAND ROAD                                                           LOS ALAMOS            NM           87544
    Leslie Dews                                                           27 ROCKHOLM ROAD                                                             GLOUCESTER            MA           01930
    LESLIE DIANNE SEAL                                                    2930 WORCESTER LANE                                                          AURORA                IL           60504
    Leslie Duncan                                                         8053 Wind Drift Cir.                                                         Brownsburg            IN           46112
    Leslie E Cameron                                                      8681 Hale Road                                                               Manlius               NY           13104
    LESLIE EVANS                                                          2911 LANGLEY PARK CT                                                         ORLANDO               FL           32835
    LESLIE G EDWARDS                                                      1104 W GRANGER                                                               BROKEN ARROW          OK           74012
    LESLIE G SMITH                                                        148 CIRCLE DRIVE                                                             LOCK HAVEN            PA           17745
    LESLIE HENSON                                                         6078 MAXWELL DRIVE                                                           PARADISE              CA           95969
    Leslie Herdt                                                          1721 Merritt Park Dr                                                         Orlando               FL           32803-2025
    Leslie Hirschfeld                                                     9522 Woodbreeze Blvd.                                                        Windermere            FL           34786
    LESLIE HOCHMAN AIUVALASIT                                             254 SEAMAN AVE, # A6                                                         NEW YORK              NY           10034
    LESLIE J RYAN                           DBA LINKS TO LITERACY         218 READING AVE                                                              OAKLYN                NJ           08107
    LESLIE KELL                             DBA KELL DESIGNS              2312 SPARROW DRIVE                                                           MANCHACA              TX           78652
    LESLIE L FRANKO LLC                                                   711 CRESCENT PARKWAY                                                         WESTFIELD             NJ           07090
    LESLIE LEWIS ROAKE                                                    PO BOX 28060                                                                 PANAMA CITY           FL           32411
    LESLIE M GRIMM                          DBA EDUCATORS SOFTWARE        765 NORTH RENGSTORFF #20                                                     MOUNTAIN VIEW         CA           94043
    LESLIE M HEMMINGS                                                     4826 SPRINGWOOD CIRCLE                                                       COLUMBUS              GA           31909
    LESLIE M SANO                                                         11-D CAPITOL AVENUE                                                          HARTFORD              CT           06106



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                257 of 488                                                                                           1:26 PM
                                                      12-12171-reg             Doc 136               Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   265 Matrix
                                                                                                                           of 519
                                                                                                                     First Class Service List


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    Leslie Mabry                                                            1000 Northwind Lane                                                            Brandon               MS           39047
    Leslie Marsh                                                            297 SUMMER AVENUE                                                              READING               MA           01867
    Leslie Peot                                                             19 Bridgeport Lane                                                             Geneva                IL           60134
    LESLIE R HERRENKOHL                                                     6756 17TH AVE NW                                                               SEATTLE               WA           98117
    Leslie Santos                                                           349 25th Ave                    Unit A                                         San Francisco         CA           94121
    LESLIE STAUB                                                            52403 WILSON ROAD                                                              FOLSOM                LA           70437
    LESLIE V ANDREWS                                                        7209 HORNER STREET                                                             SAN DIEGO             CA           92120
    LESLIE WATERWORKS INC                                                   146 LAUMAN LANE                                                                HICKSVILLE            NY           11801
    Leslie Wilson                                                           792 E Michigan St               Unit 6                                         Orlando               FL           32806
    Lester L Lakin                                                          110 Bridgeport Rd                                                              Indianapolis          IN           46231
    LESTER LAMINACK                                                         60 N MARKET STREET, STE 501                                                    ASHEVILLE             NC           28801
    Lester Lefkowitz
    Lester Seserman                                                         76 West Rutland Square, #401                                                   Boston                MA           02118
    Lethbridge School Dist #51                                              2103 20th Street South                                                         Lethbridge            AB           T1K2G7       Canada
    LETICIA HERRERA                                                         1948 W GRAND AVE                                                               CHICAGO               IL           60622
    LETITIA A MCCALLISTER                                                   146 E 1000 S                                                                   PENDLETON             IN           46064
    LETS GO LEARN INC                                                       705 WELLESLEY AVE                                                              KENSINGTON            CA           94708
    Letter Perfect Printing, LLC                                            114 S. Main                                                                    Clinton               MO           64735
    Leukemia & Lymphoma Society             Central Texas Chapter           9211 Waterford Centre Blvd.     Suite 275                                      Austin                TX           78758
    LEUNG KWOK WAH HENRY                                                    CLEMENTI AVE 2                  #25-46 BLOCK 337                               SINGAPORE                          120337       Singapore
    LEUYEN PHAM                                                             35 POND STREET                                                                 SAN FRANCISCO         CA           94114
    LEVEL 3 COMMUNICATIONS INC                                              P O BOX 910182                                                                 DENVER                CO           80291-0182
    LEVINE GREENBERG LITERARY
    AGENCY INC                              JAMES LEVINE COMMUNICATIONS     307 SEVENTH AVENUE STE 2407                                                    NEW YORK              NY           10001
    LEVINE LAURA                                                            P.O. BOX 52                                                                    MT. TREMPER           NY           12457
    LEVINSON NANCY SMILER                                                   10833 WILSHIRE BLVD #610                                                       LOS ANGELES           CA           90024
    Lewan & Associates, Inc.                                                PO Box 173704                                                                  Denver                CO           80217
    LEWERS KATRINA KENISON                  28 HOWARD STREET                P.O. BOX 60                                                                    WILTON                NH           03086
    LEWIN T WINT                                                            1042 ISABELLA ST                                                               WILMETTE              IL           60091
    Lewis Hilton                                                            71 FAIRVIEW LN                                                                 GLASGOW               KY           42141
    LEWIS KEMPER                                                            3201 LASSEN WAY                                                                SACRAMENTO            CA           95821
    LEWIS MELANIE C                                                         30702 TERRINA #16                                                              AUSTIN                TX           78759
    LEWIS TED                               CY-FAIR COLLEGE                 9191 BARKER CYPRESS ROAD                                                       CYPRESS               TX           77433
    LEWIS WENDY                                                             21400 NASHVILLE STREET                                                         CHATSWORTH            CA           91311
    LEWISVILLE EDUCATION
    FOUNDATION INC                                                          P O BOX 643                                                                    LEWISVILLE            TX           75067
    LEWISVILLE INDEPENDENT SCHOOL           CLASSIC FARE CATERING - CHILD
    DISTRICT                                NUTRITION                       400 WEST MAIN STREET                                                           LEWISVILLE            TX           75057
    LEWISVILLE INDEPENDENT SCHOOL
    DISTRICT                                CENTRAL ELEMENTARY SCHOOL       400 HIGH SCHOOL DR                                                             LEWISVILLE            TX           75057
    LEWISVILLE INDEPENDENT SCHOOL
    DISTRICT                                                                400 WEST MAIN STREET                                                           LEWISVILLE            TX           75057
    Lex Smith                                                               5424 RICE MINE RD NE                                                           TUSCALOOSA            AL           35406
    LEXAMI LLC                              TONY SHAY                       2052 OAK MOUNTAIN DRIVE                                                        PELHAM                AL           35124
    LEXIA LEARING SYSTEMS                                                   200 BAKER AVE STE 315                                                          CONCORD               MA           01742
    LEXINGTON COUNTY SCHOOL
    DISTRICT THREE                                                          338 WEST COLUMBIA AVENUE                                                       BATESBURG-LEESVILLE   SC           29006
    LEXINGTON MONTESSORI SCHOOL                                             130 PLEASANT STREET                                                            LEXINGTON             MA           02421

    LEXINGTON SCHOOL FOR THE DEAF                                           30TH AVE & 75TH ST                                                             JACKSON HEIGHTS       NY           11370
    LEXINGTON-FAYETTE URBAN       GOVERNMENT DIVISON OF
    COUNTY                        REVENUE                                   PO BOX 14058                                                                   LEXINGTON             KY           40512
    LEYLA SHAUGHNESSY                                                       12629 TANJA KING BLVD                                                          ORLANDO               FL           32828
    LI CHU-TSING                                                            311 EAST ERIE ST - APT 303                                                     MILWAUKEE             WI           53202
    LIA NORTON                                                              171 CLERMONT STREET # 3 D                                                      BROOKLYN              NY           11205
    LIA PURPURA                                                             5116 NORWOOD ROAD                                                              BALTIMORE             MD           21212
    LIBBY FORD ARTIST
    REPRESENTATIVE                                                          320 EAST 57TH STREET 10B                                                       NEW YORK              NY           10022
    LIBBY FORD REPRESENTATIVE                                               320 EAST 57TH STREET 10B                                                       NEW YORK              NY           10022

    LIBEN EDUCATION CONSULTING LLC                                          85 FARMSWORTH BROOK ROAD                                                       EAST BRAINTREE        VT           05060
    LIBERTY BOOK & BIBLE MFRS                                               901 E MARYLAND STREET                                                          INDIANAPOLIS          NC           46202
    LIBERTY ELEMENTARY SCHOOL                                               1002 BOWIE STREET                                                              LIBERTY               TX           77575
    Liberty Insurance Underwriters Inc.                                     55 Water Street, 18th Floor                                                    New York              NY           10041
    Liberty Insurance Underwriters Inc.                                     55 Water Street                                                                New York              NY           10041
    Liberty Mutual Insurance Company
    Liberty Mutual Insurance Company                                        55 Water Street, 18th Floor N                                                  New York              NY           10041
    LIBERTY OKULSKI                                                         11136 HURDLE HILL DRIVE                                                        POTOMAC               MD           20854
    Liberty Public Schools              Accounts Payable                    650 Conistor                                                                   Liberty               MO           64068
    LIBERTY SYSTEMS INC                                                     1775 BUERKLE ROAD                                                              ST PAUL               MN           55110



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    258 of 488                                                                                        1:26 PM
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                                                                                                           Pg Creditor
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                                                                                                                       of 519
                                                                                                                 First Class Service List


               CreditorName                        CreditorNoticeName                 Address1                        Address2                        Address3                     City         State       Zip               Country
    LIBERTY-EYLAU INDEPENDENT SD            ATTN ACCOUNTS PAYABLE         2901 LEOPARD DR                                                                               TEXARKANA          TX           75501
    LIBRAIRIE ARTHEME FAYARD                                              13 RUE DU MONTPARNASSE                                                                        PARIS                           75006        France
    LIBRARY JOURNALS LLC                                                  7858 INDUSTRIAL PARKWAY         ATTN ACCOUNTING                                               PLAIN CITY         OH           43064
    LIBRARY OF CONGRESS                     COPYRIGHT OFFICE              101 INDEPENDENCE AVE SE                                                                       WASHINGTON         DC           20540-6000
    LIBRARY OF CONGRESS - POETRY
    AND                                     LITERATURE FUND               101 INDEPENDENCE AVE, SE                                                                      WASHINGTON         DC           20540
    LIBRARY OF SOCIAL SCIENCE                                             92-30 56TH AVE 3E                                                                             ELMHURST           NY           11373
    LIBRARY VIDEO COMPANY                   DBA SAFARI MONTAGE            7 E WYNNEWOOD ROAD                                                                            WYNNEWOOD          PA           19096
    LIBRARY VIDEO COMPANY                   DBA SAFARI MONTAGE            PO BOX 580                                                                                    WYNNEWOOD          PA           19096
    LIBRARY VIDEO COMPANY                                                 7 E WYNNEWOOD ROAD                                                                            WYNNEWOOD          PA           19096
    LIBRARY VIDEO COMPANY                                                 PO BOX 580                                                                                    WYNNEWOOD          PA           19096
    LIBRERIA DISTIBUIDORA &
    EDICIONES UNIVER                        MARTHA SALVAT GOLIK           3090 SOUTHWEST 8TH STREET                                                                     MIAMI              FL           33135
    LIBRERIAS GONVILLL S A DE C V                                         GUADALAJARA LEON                                                                              MONERREY                                     Mexico
    LIBRI PUBLICATIONS                                                    ATTN JILL HUGHES                HOP HILL COTTAGE                                              AUBOURN LINCOLN                 LN5 9DZ      United Kingdom
    LICHTMAN, TRISTER, SINGER &
    ROSS                                                                  1666 CONNECTICUT AVE NW                                                                       WASHINGTON         DC           20009
    LICKING HEIGHTS HIGH SCHOOL                                           4000 MINK STREET SW                                                                           PATASKALA          OH           43062

    LIDIA E MORRIS                          dba LM EDUCATIONAL CONSULTANT 5105 LASALLE DR                                                                               ARLINGTON          TX           76016
    LIEBER MAXIM                                                          65 FINLEY STREET                                                                              MANCHESTER         CT           06040
    LIEBERMAN SUSAN                                                       1506 DRISCOLL STREET                                                                          HOUSTON            TX           77019
    LIEBERMANS MANAGEMENT LLC                                             520 LINCOLN AVENUE STE 200                                                                    DOWNINGTON         PA           19335
    LIEBERT CORPORATION                                                   1050 DEARBORN DR                                                                              COLUMBUS           OH           43229
    LIEPMAN AG                                                            ENGLISCHVIERTELSTRASSE 59       ATTN EVA KORALNIK                                             ZURICH                          08032        Switzerland
    LIEPMAN AG                                                            ENGLISCHVIERTELSTRASSE 59                                                                     ZURICH                          08032        Switzerland
    LIES BRIAN                                                            108 KING PHILLIPS PATH                                                                        DUXBURY            MA           02332
    Lieu T. Tran                                                          1000 Sheffer                                                                                  Aurora             IL           60505
    LIEUCRETIA K SWAIN                      DBA LKS DEFINITIVE DESIGNS    131 BATTALION LANE                                                                            GETTYSBURG         PA           17325
    LIFEWAY CHRISTIAN RESOURCES                                           ONE LIFEWAY PLAZA               RETAIL AP MSN 133                                             NASHVILLE          TN           37234
    LIFT TRUCK LEASE & SERVICE INC          AD LIFT TRUCK                 5434 NATURAL BRIDGE AVENUE                                                                    ST LOUIS           MO           63120
    LIGATURE PARTNERS INC                                                 60 SHIP STREET                                                                                PROVIDENCE         RI           02903

    LIGHT CHASERS INC                       DBA MARK GAMBA PHOTOGRAPHS    10414 SE 24TH AVENUE                                                                          PORTLAND           OR           97222
    LIGHTHOUSE INFORMATION
    SOLUTIONS INC                                                         0N050 COBBLESTONE LANE                                                                        WHEATON            IL           60187
    LIGHTNING PICK TECHNOLOGIES             N114 W18770 CLINTON DRIVE     PO BOX 130                                                                                    GERMANTOWN         WI           53022
    LIGHTNING SOURCE INC                                                  PO BOX 503531                                                                                 ST LOUIS           MO           63150
                                                                                                                                                                        KILN FARM MILTON
    LIGHTNING SOURCE UK LTD                                               CHAPTER HOUSE PITFIELD                                                                        KEYNES                          MK 11- 3LW United Kingdom
    LIGHTROOM PHOTOS                                                      2 HORSEFAIR LANE                                                  ODELL                       Bedfordshire                    MK43 7AU   United Kingdom
    LIL BRANNON                                                           12434 WILLINGDON RD                                                                           HUNTERSVILLE       NC           28078
    LILA FINNEY                                                           3908 JOPLIN STREET                                                                            SHREVEPORT         LA           71108-2239
    LILA NISSEN                                                           9065 VILLAGE VIEW LOOP                                                                        SAN JOSE           CA           95135
    LILIANA EHLERS GHIO                     CAPITAL FEDERAL               MARIANO AZUELA 37                                                                             ESTADO DE MEXICO                           Mexico
    LILLA J ROGERS                          DBA LILLA ROGERS STUDIO       6 PARKER ROAD                                                                                 ARLINGTON          MA           02474
    LILLEHAMMER FUNDING
    LILLIAM MORALES                                                       39 BIRDIE LN                    PALMAS PLANTATION PDM                                         HUMACAO            PR           00791
    Lillian Turnbull                                                      1808 Cornerview Lane                                                                          Orlando            FL           32820
    LILLIE MILLER JACKSON                                                 2536 BURNS AVE                                                                                MEMPHIS            TN           38114
    Lillie West                                                           P O Box 101                                                                                   Pilot Point        TX           76258
    Lillihawk Enterprises                   Lillian A. Hawkins            281 Carriage Circle Drive                                                                     Cincinnati         OH           45246
    LILLY MARSHA                                                          4242 LOMO ALTO DRIVE N81                                                                      DALLAS             TX           75219
    LILY DIAZ                                                             KIMMELTIE 13 A 5                                                                              ESPOO                           02110        Finland
    LIMPUS CABINET SALES CO INC                                           8606 E WASHINGTON ST                                                                          INDIANAPOLIS       IN           46219
    Lin Kuzmich                                                           4915 Ranch Acres Dr.                                                                          Loveland           CO           80538-1633
    LINC ASSOCIATES, INC.                                                 3471 CLEVELAND AVENUE                                                                         GROVE CITY         OH           43123
    LINCOLN AVENUE COMMUNITY
    CHURCH                                                                1511 E LINCOLN AVENUE                                                                         POMONA             CA           91767
    LINCOLN COMMUNITY SCHOOL                                              795 EAST RIVER RD                                                                             LINCOLN            VT           05443
    LINCOLN COUNTY FARMERS
    COOPERATIVE INC                                                       811 EAST CHERRY ST                                                                            TROY               MO           63379

    LINCOLN COUNTY MEDICAL CENTER                                         1000 EAST CHERRY STREET                                           OCCUPATIONAL HEALTH SERVICES TROY              MO           63379

    LINCOLN COUNTY SCHOOL DIST # 2                                        P O BOX 219, 222 E 4TH AVENUE                                                                 AFTON              WY           83110
    Lincoln Nat. Life Insurance Co                                        PO Box 0821                                                                                   Carol Stream       IL           60132-0821
    LINCOLN P BROWER                                                      2850 CUB CREEK ROAD                                                                           ROSELAND           VA           22967

    LINCOLN PARISH SALES & USE TAX          COMMISSION                    PO BOX 863                                                                                    RUSTON             LA           71273



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                259 of 488                                                                                                         1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                267 Matrix
                                                                                                                        of 519
                                                                                                                   First Class Service List


                  CreditorName                        CreditorNoticeName               Address1                         Address2              Address3           City              State       Zip             Country
    LINCOLN PRAIRIE ELEMENTARY
    SCHOOL                                                                 500 HARVEST GATE                                                              LAKE IN THE HILLS    IL           60156
    Lind Kobylarz                                                          349 Jerome Avenue                                                             Burlington           CT           06013
    Linda A Bruce                                                          25 Hawthorn Road                                                              Marblehead           MA           01945
    Linda A. Gregg                                                         PO Box 1180                   21 Calle Bienvenida                             Tijeras              NM           87059
    LINDA ALLEN AGENCY                                                     1949 GREEN STREET, SUITE 5                                                    SAN FRANCISCO        CA           94123
    LINDA ALLEN LITERARY AGENCY                                            1949 GREENE STREET, SUITE 5                                                   SAN FRANCISCO        CA           94123
    LINDA ANDRIES                                                          1591 N HAVEN DRIVE                                                            PALATINE             IL           60074
    LINDA ANNE BILLINGS                                                    6702 RAINBOW DRIVE                                                            SAN JOSE             CA           95129
    LINDA ASHMAN                                                           844 ST PAUL STREET                                                            DENVER               CO           80206
    LINDA B ROGERS                                                         1017 QUAIL RUN                                                                CAMDEN-WYOMING       DE           19934
    Linda Beauregard                                                       33 Lancaster Terrace          205                                             Brookline            MA           02446
    Linda Bible                                                            8315 Banyan Blvd                                                              Orlando              FL           32819
    LINDA BRADEN                                                           4108 CRESTRIDGE DRIVE                                                         MIDLAND              TX           79707
    Linda Bradshaw                                                         204 Garden Dr.                                                                Friendswood          TX           77546
    Linda Brown                                                            124 Red Acre Rd                                                               Stow                 MA           01775
    LINDA BUNN                                                             116 VILLA VIEW COURT                                                          BRENTWOOD            TN           37027
    Linda Burkell                                                          36 School St.                                                                 Rockport             MA           01966
    LINDA BURNS                                                            311 WEST 24TH ST, APT 2E                                                      NEW YORK             NY           10011
    Linda Burritt                                                          4720 Van Dyke Ave                                                             San Diego            CA           92116
    Linda C Blackwell                                                      1732 Arbor Park Drive                                                         Winter Park          FL           32789
    LINDA C BUSH                                                           235 ILLINOIS ST                                                               LAWRENCE             KS           66044
    Linda Carbone                                                          26104 CHERRY BLOSSOM CT                                                       LAWRENCE TOWNSHIP    NJ           08648-1281
    LINDA CARBONE                                                          26104 CHERRY BLOSSOM CT                                                       LAWRENCEVILLE        NJ           08648
    Linda Carpenter                                                        2332 W. Waltann Lane                                                          Phoenix              AZ           85023
    Linda Caruso                                                           263 Tower Hill Drive                                                          St. Charles          IL           60175
    LINDA CHEN                                                             210 SOUTH STREET UNIT 104                                                     BOSTON               MA           02111
    Linda Cho                                                              746 Summit Lane                                                               Vernon Hills         IL           60061
    Linda Denny                                                            4907 Raylene Way                                                              St. Cloud            FL           34771
    Linda Dubois                                                           11622 Sw 41st Avenue                                                          Portland             OR           97219
    Linda Dwyer                                                            332 92nd Street               Apt. B3                                         Brooklyn             NY           11209
    LINDA ELLIS                                                            35 SKY TERRACE PLACE                                                          THE WOODLANDS        TX           77381
    LINDA ESTES PARTRIDGE                                                  332 FERDINAND CIRCLE                                                          VIRGINIA BEACH       VA           23462
    Linda Evers                                                            133 Shore Dr                                                                  Somerville           MA           02145
    LINDA GILLENTINE                                                       603 CUMBERLAND DRIVE                                                          EATON RAPIDS         MI           48827
    LINDA GINZEL                                                           1101 E 58TH ST                                                                CHICAGO              IL           60637
    LINDA GLASER                                                           4215 LUVERNE STREET                                                           DULUTH               MN           55804
    Linda Glick Conway                                                     23 OBSERVATORY LN                                                             WILLIAMSTOWN         MA           01267
    Linda Gordon                                                           1091 BEECHWOOD BLVD                                                           PITTSBURGH           PA           15206
    Linda Green                                                            3363 Sheridan Lane                                                            Mundelein            IL           60060
    LINDA GREGERSON                                                        4881 HIDDEN BROOK LANE                                                        ANN ARBOR            MI           48705
    Linda Gross                                                            7102 Point Dunes Court                                                        San Jose             CA           95139
    Linda Gurvitch                                                         338 Wekiva Cove Rd                                                            Longwood             FL           32779
    LINDA H GARBUS                                                         11 LAKEVILLE RD APT 5                                                         JAMAICA PLAIN        MA           02130
    LINDA H MAYFIELD                                                       3201 COLONY ROAD                                                              CHARLOTTE            NC           28211
    LINDA H SCOTT                           PO BOX 1289                    243 WEST STREET                                                               LUCASVILLE           OH           45648
    LINDA HOYT                                                             P O BOX 518 4096 BROOTEN RD                                                   PACIFIC CITY         OR           97135
    LINDA HOYT EDUCATIONAL
    CONSULTING                                                             PO BOX 518                                                                    PACIFIC CITY         OR           97135
    LINDA IRENE RUCK                        UNIT 9/10 ENTERPRISE ST        INDUSTRIAL AVENUE                                                             ASHMORE GOLD COAST                04214        Australia
    Linda J Andries                                                        1591 N. Haven Drive                                                           Palatine             IL           60074
    LINDA J BOONE                                                          306 RIDGEVIEW DRIVE                                                           RUCKERSVILLE         VA           22968
    Linda J Covert                                                         5753 Sandshell Cir. W         #45102                                          Fort Worth           TX           76137
    Linda J Mitropoulos                                                    112 Summer Ave.                                                               Reading              MA           01867
    LINDA JANE BONSALL                                                     490 E KING RD                                                                 MALVERN              PA           19355
    Linda Jasiewicz                                                        12149 Rambling Oak Blvd                                                       Orlando              FL           32832
    Linda Jess                                                             1502W. Ave. De Las Americas                                                   Tucson               AZ           85704
    LINDA JO MAXWELL                                                       5746 LOGAN PARK DRIVE                                                         SPRING               TX           77379
    LINDA K GAUL                                                           1703 MEADOWBROOK DRIVE                                                        AUSTIN               TX           78703
    Linda K Tips                                                           715A Glen Rhea Dr                                                             Lake Dallas          TX           75065
    LINDA KAY MCDERMOTT                                                    20135 COUNTY ROAD 14 NW                                                       BIG LAKE             MN           55309
    LINDA KIMBALL                                                          DEPT OF ANTHROPOLOGY          WESTERN WASHINGTON UNIV                         BELLINGHAM           WA           98225
    Linda Krupp                                                            39 WARE ST                                                                    SUMMERVILLE          MA           02144
    LINDA L NOEL                                                           540 TALMAGE RD APT H                                                          UKIAH                CA           95482
    Linda L. Green                                                         3363 Sheridan Lane                                                            Mundelein            IL           60060
    Linda L. Murphy                                                        13712 Lakeview Drive                                                          Clive                IA           50325
    Linda Laredo                                                           9 Hilltop Avenue                                                              Lexington            MA           02421
    LINDA LEE MAURI                         DBA LINDA LEE STUDIOS          71 MIDDLETON ROAD                                                             MORDEN                            SM4 6RU      United Kingdom
    LINDA LEFAN                             DBA LEFAN COMMUNICATIONS       7529 WINDRUSH DRIVE                                                           AUSTIN               TX           78729
    Linda Lettieri                                                         95 Riverview Drive                                                            Fishkill             NY           12524



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                  260 of 488                                                                                        1:26 PM
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                                                                                                              268 Matrix
                                                                                                                      of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                        Address2                          Address3               City        State       Zip            Country
    LINDA LEVI                                                             305 ACADIA DR                                                                               MADISON            WI           53717
    LINDA LOCKOWITZ                                                        1321 SOUTH GRADE ROAD                                                                       ALPINE             CA           91901
    Linda M Duchaine                                                       60 Charles Court                                                                            Southborough       MA           01772
    Linda M Moran                                                          2163 Fargo Blvd.                                                                            Geneva             IL           60134
    Linda Magram                                                           216 Sylvia Street                                                                           Arlington          MA           02476
    Linda McMillan                                                         48 Sheneman Drive                                                                           Bella Vista        AR           72715
    LINDA MILLER-CLEARY                                                    410 HUMANITIES BLD/10 UNIV DR   UNIV MINNESOTA/ENG DEPT                                     DULUTH             MN           55812-2496
                                            DBA ROBERT & LINDA MITCHELL
    LINDA MITCHELL                          PHOTOGRAPHY                    23225 EAGLE GAP                                                                             SAN ANTONIO        TX           78255
    LINDA NOREEN COCHRAN                                                   6105 NORWICH CT                                                                             OKLAHOMA CITY      OK           73132
    LINDA ODOM                                                             1500 WEST SHERWIN                                                                           CHICAGO            IL           60626
    LINDA OWEN                                                             3102 NANTUCKET DR                                                                           SAN ATONIO         TX           78230
    LINDA PEELER                                                           104 WOOD CUT ROAD                                                                           LEXINGTON          SC           29072
    Linda Peterson                                                         310 SIENA VISTA PLACE                                                                       SUN CITY CENTER    FL           33573
    LINDA PHILLIPS                                                         COLLEGE OF NURSING              UNIV OF ARIZONA                                             TUCSON             AZ           85721
    Linda Pieleski                                                         136 Vale St.                                                                                Tewksbury          MA           01876
    LINDA POORE                             HANDS ON SCIENCE               1964 LA FRANCE AVE                                                                          SOUTH PASADENA     CA           91030
    LINDA QUIROZ                            DBA Q4 - WHATEVER IT TAKES!    P O BOX 649                                                                                 ODESSA             TX           79760
    LINDA R BURGER                                                         3090 TROY RD                                                                                NISKAYANA          NY           12309-1614
    LINDA R STOWE                                                          15878 73RD PLACE NORTH                                                                      MAPLE GROVE        MN           55311
    LINDA RIEF                                                             14 EDGERLY-GARRISON ROAD                                                                    DURHAM             NH           03824
    LINDA RITTER                                                           3131 KERMATH DR                                                                             SAN JOSE           CA           95132
    LINDA ROOSE                                                            23160 BORDMAN                                                                               ARMADA             MI           48005
    Linda Roy                                                              10290 Brook Rd                  Apt 410                                                     Glen Allen         VA           23059
                                            DBA SOMETHING ELEGANT
    LINDA S PILCHER                         CATERING LLC                   2200 YALE AVE                                                                               ST LOUIS           MO           63143
    Linda S Traweek                                                        3430 Vaux St                                                                                Philadelphia       PA           19129
    Linda S. OKonek                                                        1808 Moonraker Lane                                                                         Virginia Beach     VA           23454
    Linda Saldana                                                          28 N Calhoun St.                                                                            Aurora             IL           60505
    LINDA SALVUCCI                                                         120 ALTA AVENUE                                                                             SAN ANTONIO        TX           78209
    Linda Seagle                                                           4207 Blacktree Ln.                                                                          Charlotte          NC           28226
    Linda Shukla                                                           17 Virginia Dr.                                                                             Milford            MA           01757
    LINDA SIMMONS                                                          111 IMPROVE RD                                                                              SUMRALL            MS           39482
    Linda Stoeffler                                                        4802 S Catalina Dr                                                                          New Palestine      IN           46163
    Linda Stowe                                                            15878 73rd Place North                                                                      Maple Grove        MN           55311
    Linda Stowers                                                          6410 JACKRABBIT LANE                                                                        BELGRADE           MT           59714
    LINDA STRACHAN                                                         10 TRANTER ROAD ABERLADY                                                                    EAST LOTHIAN                    EH32 0UE     United Kingdom
    LINDA SUE PARK                                                         251 SUSQUEHANNA RD                                                                          ROCHESTER          NY           14618
    LINDA T PITTS                                                          137 WOOTEN - DEAN RD                                                                        LAUREL             MS           39443
    Linda Tips                                                             715A Glen Rhea Dr                                                                           Lake Dallas        TX           75065
    LINDA TOLENTINO                                                        1 NEW MEADOWS RD                                                                            WINCHESTER         MA           01890
    LINDA TOMPKINS                                                         7619 ESTRELLA CIR                                                                           BOCA RATON         FL           33433
    Linda Torres                            Torres Leadership Coaching     6358 S. Turkey Creek Road                                                                   Morrison           CO           80565
    LINDA TORRES-WINTERS                                                   4255 S BUCKLEY ROAD 210                                              DBA LINDITAS INC       AURORA             CO           80013
    LINDA TOWLEN                                                           47 CHAUNCEY DR                                                                              EAST PATCHOGUE     NY           11772
    LINDA TRUPIA                                                           2235 BISCAYNE BAY DRIVE                                                                     NORTH MIAMI        FL           33181
    LINDA ULLAH                                                            8200 VICTORIA LAKE DRIVE                                                                    WAXHAW             NC           28173
    LINDA URBAN                                                            1711 BLISS ROAD                                                                             EAST MONTPELIER    VT           05651
    LINDA V THOMAS                                                         P O BOX 11514                                                                               ST THOMAS          VI           00801
    LINDA WAKEFIELD                                                        3810 BIRCH STREET                                                                           WAHOUGAL           WA           98671
    LINDA WARD BEECH                                                       335 W 70TH ST                                                                               NEW YORK           NY           10023
    Linda Wein                                                             One Whispering Hill Rd                                                                      Woburn             MA           01801
    LINDA WILKINS                           DBA LINDALE CORRELATING        7115 SOUTH BROOK DRIVE                                                                      AUSTIN             TX           78736
    LINDA WILLIAMS                                                         1044 LINDEN AVENUE                                                                          DEERFIELD          IL           60015
    LINDA WINSTON                                                          401 EAST 86TH STREET                                                                        NEW YORK           NY           10028
    Linda Wright-Lemons                                                    1097 Bryan Road                                                                             Sunset             TX           76270
    LINDA YELENICK                                                         10135 WEST TEMPLE DRIVE                                                                     HOUSTON            TX           77095
    Linda Zecher                                                           168 Marlborough Street                                                                      Boston             MA           02116
    Linda Zerba                                                            308 DARWIN BOX 664                                                                          ATHENA             OR           97813
    LINDBERGH LITERARY LLC                                                 839 TRIPP LANE                  ATT REEVE LINDBERGH TRIPP                                   ST JOHNSBURY       VT           05819
    LINDBLOM DEBRA A                                                       11525 WINIFRED DR                                                                           APPLE VALLEY       CA           92308
                                                                           41 BATTERSEA BUSINESS CENTER,
    LINDEN ARTISTS                                                         103 LAVENDER HILL                                                                           LONDON                          SW115QL      United Kingdom
    LINDGREN & SMITH                                                       676A NINTH AVENUE NO 458                                                                    NEW YORK           NY           10036-3746
    LINDGREN & SMITH INC                                                   676A NINTH AVENUE #458                                                                      NEW YORK           NY           10036-3746
    LINDGREN AND SMITH                                                     676 A NINTH AVENUE NUMBER 458                                                               NEW YORK           NY           10036
    LINDHARDT AND RINGHOF                                                  VOGNMAGERGADE 11                CVR NO 76351910                                             COPENHAGEN                      01148        Denmark
    Lindsay Adamzak                                                        223 S. College St.                                                                          Batavia            IL           60510
    LINDSAY KILPATRICK                                                     1024 35TH STREET, # 4                                                                       SACRAMENTO         CA           95816
    Lindsay M. Meier                                                       8100 W. Quincy Ave              #K-11                                                       LIttleton          CO           80219



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                    261 of 488                                                                                                  1:26 PM
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                                                                                                                        of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                         Address2              Address3               City            State       Zip               Country
    Lindsay Mahan                                                           2678 Cahill Way                                                                  Lake Mary              FL           32746
    Lindsay S. Broughton                                                    5001 S. Beeler Street                                                            Greenwood Village      CO           80111
    Lindsay Wurst                                                           50 Park Row West # 512          #512                                             Providence             RI           02903
    LINDSAY-ONTARIO LLC                                                     3450 COUNTY ROAD 101                                                             MINNETANKA             MN           55345
    LINDSELL-ROBERTS SHERYL                                                 117 SUDBURY STREET                                                               MARLBOROUGH            MA           01752-1710
    Lindsey Anderson                                                        1216 Gallatin St NW                                                              Washington             DC           20011
    Lindsey B Thompson                                                      4703 Scots Way                                                                   Dexter                 MI           48130
    Lindsey Cross                                                           223 Circle Ave                  FL 1                                             Forest park            IL           60130
    Lindsey K Hubbell                                                       2653 W Ainslie                  Apt 2                                            Chicago                IL           60625
    LINDSEY MOSES                                                           204 ALYSSUM DR                                                                   BRIGHTON               CO           80601
    Lindsey Nelson                                                          9807 Rimpark Way                                                                 San Diego              CA           92124
                                            DBA LINDSEY O MARTIN
    LINDSEY P MARTIN                        PHOTOGRAPHY                     P O BOX 6640                                                                     WOODLAND PARK          CO           80866-6640
    Lindsey Y Warriner                                                      10 Davis Ave                    Apt A                                            Brookline              MA           02445
    LINDY LEGRANT                                                           1311 W YORK                                                                      ENID                   OK           73703
    Lindy S Peterson                                                        2311 W. Giddings                Unit 3N                                          Chicago                IL           60625
    LINEAIR FOTOARCHIEF BV                                                  JULIANALAAN 70                                                                   ARNHEM                              6824 HT      Netherlands
    LINENS BY ALICE INC                                                     18 BROOKLEY ROAD                                                                 BOSTON                 MA           02130
    LINETTE MCCOSH                                                          25671 LE PARC #82                                                                LAKE FOREST            CA           92630
    LINFIELD COLLEGE                                                        900 SE BAKER STREET                                                              MCMINNVILLE            OR           97128
    Ling Pendry                                                             500 Franklin Dr                                                                  San Marcos             TX           78666
    LINGUISTIC SOCIETY OF AMERICA                                           1325 18TH ST NW 211                                                              WASHINGTON             DC           20036
    LINGUISTIC SYSTEMS INC                                                  201 BROADWAY                                                                     CAMBRIDGE              MA           02139
    LINK                                                                    P O BOX 7334                                                                     THOUSAND OAKS          CA           91359-7334
    LINK SYSTEMS INC                                                        P O BOX 418429                                                                   BOSTON                 MA           02241-8429
    LINKEDIN CORPORATION                                                    62228 COLLECTIONS CENTER DR                                                      CHICAGO                IL           60693-0622
    LINKLATERS LLP                                                          1345 AVENUE OF THE AMERICAS                                                      NEW YORK               NY           10105

    LINKS FOUNDATION INC                    DALLAS CHAPTER OF THE LINKS INC P O BOX 191003                                                                   DALLAS                 TX           75219-8003
    LINN BENTON COMMUNITY
    COLLEGE BKST                                                            6500 SW PACIFIC BLVD                                                             ALBANY                 OR           97321
    LINNA IRIZARRY MAYORAL                                                  339 CALLE 4 - VILLA NEVAREZ                                                      SAN JUAN               PR           00927
    Linwood Powers                                                          10819 Whitaker Woods Rd                                                          Richmond               VA           23238
    LINZ KATHI                                                              332 W 7TH STREET                                                                 SEYMOUR                IN           47274
    LION HEART ENGINEERING                                                  1004 TRAKK LANE                                                                  WOODSTOCK              IL           60098
    LION INDUSTRIAL PROPERTIES LP           DBA LIT FINANCE III LP          2650 CEDAR SPRINGS RD # 850                                                      DALLAS                 TX           75201
    LIONBRIDGE TECHNLOGIES                  SPECTRA BLDG 6TH FLOOR          HIGH ST. HIRANANDANI GARDENS                                                     POWAI ANDERI MUMBAI                 400076       India
    LIONBRIDGE TECHNOLOGIES                                                 INTERNATIONAL TECH PARK                                                          TARAMANI CHENNAI 600
    PRIVATE LIMITED                         UNIT 1 & 2 7th FLOOR            TARAMANI ROAD                                                                    113                                              India
    Lionel Harris                                                           3149 S. Michigan Ave                                                             Chicago                IL           60616
    LIOR FILSHTEINER                                                        PO BOX 49                                                                        HOD HASHARON                        45100        Israel
    LIPINSKI LANDSCAPE AND
    IRRIGATION LLC                                                          100 SHARP ROAD                                                                   MARLTON                NJ           08053
    LIPPIATT PAINTING INC                                                   512 OAK CREST LANE                                                               GEORGETOWN             TX           78628
                                            ATTN ROB MCQUILKIN / WILL
    LIPPINCOTT MASSIE MCQUILKIN             LIPPINCOTT                      27 WEST 20th STREET SUITE 305                                                    NEW YORK               NY           10011

    LIPPINCOTT MASSIE MCQUILKIN LLC                                         27 WEST 20th STREET SUITE 305                                                    NEW YORK               NY           10011
    LIPPINCOTT WILLIAMS & WILKINS   WALTERS KLUWER HEALTH INC               351 WEST CAMDEN STREET                                                           BALTIMORE              MD           21201-7912
    Lipsy J Patel                                                           129 Rock Creek Drive                                                             Clifton                NJ           07014
    Lisa A Burnoski                                                         1378 Holbrook Lane                                                               Batavia                IL           60510
    Lisa A Incremona                                                        344 Rices Mill Road                                                              Wyncote                PA           19095
    Lisa A Morig                                                            5845 Beechwood Drive Apt.D                                                       Loves Park             IL           61111
    Lisa Almeida                                                            1054 Windmill Road                                                               Dripping Springs       TX           78620
    LISA B CLEAVELAND                                                       164 STEPPING STONE LANE                                                          WAYNESVILLE            NC           28786
    Lisa Ballard                                                            1916 E Emily Lane                                                                Gilbert                AZ           85295
    Lisa Bergman                                                            34 Mattakeeset St               Unit 21                                          Pembroke               MA           02359
    Lisa Bingen                                                             45 Meyer Hill Drive                                                              Acton                  MA           01720
    Lisa Boden                                                              4 Elm Creek Drive               Unit 312                                         Elmhurst               IL           60126
    Lisa Brennan                                                            1223 Dewey Ave                  2                                                Evanston               IL           60202-1122
    LISA BURLINGAME                                                         7484 WILLOW CREEK DRIVE                                                          YPSILANTI              MI           48197
    LISA CAMPBELL ERNST                                                     6 JANSSEN PLACE                                                                  KANSAS CITY            MO           64109
    Lisa Cebelak LLC                                                        7345 Whitneyville Ave SE                                                         Alto                   MI           49302
    Lisa Charlebois                                                         235 Montee Lesage                                                                Rosemere               QC           J7A4Y6       Canada
    Lisa Ciccolo                                                            126 Duff Street                                                                  Watertown              MA           02472
    LISA COLLETTE                                                           1641 DIAMOND LAKE RD                                                             GLASTONBURY            CT           06033
    Lisa Corsetti                                                           11 Anthony Road                                                                  North Reading          MA           01864
    LISA COYNER                                                             1024 EAST COPPER ST                                                              TUCSON                 AZ           85719
    Lisa DAgostino                                                          727 Roebling Avenue                                                              Trenton                NJ           08611
    LISA DELLAMORA                                                          225 E 86TH ST # 801                                                              NEW YORK               NY           10028



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                      262 of 488                                                                                            1:26 PM
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                                                                                                                      of 519
                                                                                                                  First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                    Address2                        Address3                City        State       Zip          Country
    LISA DIANNE SPENCE                                                     505 N RIDGEWAY STE 100                                                                 CLEBURNE            TX           76033
    LISA DIERCKS                            DBA LISA DIERCKS DESIGN        66 MARSHAL ST #7                                                                       BROOKLINE           MA           02446
    Lisa Disarro                                                           35-37 Woodlawn Street         Unit 2                                                   Jamaica Plain       MA           02130
    Lisa Doucette-Bond                                                     197 Federal St                                                                         Wilmington          MA           01887
    Lisa Edwards                                                           9410 Bluegrass Dr                                                                      Austin              TX           78759
    Lisa Feltz                                                             106 S. 14th Street                                                                     St. Charles         IL           60174
    LISA FLEMING                                                           4241 CRICKET HOLLOW COVE                                                               CASSELBERRY         FL           32707
    Lisa Fowler                                                            14 Harris Street                                                                       Marblehead          MA           19453460
    Lisa Fowler                                                            4266 Pondapple Dr                                                                      Titusville          FL           32796
    LISA FREEMAN                                                           770 E 73rd STREET                                                                      INDIANAPOLIS        IN           46240
    LISA FUGARD                                                            3515 FORTUNA RANCH ROAD                                                                ENCINITAS           CA           92024
    Lisa Garver                                                            4027 N Van Ness Blvd                                                                   Fresno              CA           93704
    Lisa Genzel Mac Donald                                                 2812 East Devonshire Avenue                                                            Fullerton           CA           92835
    Lisa George                                                            37 De Carolis Drive                                                                    Tewksbury           MA           01876
    Lisa Gilbert                                                           8335 Meadowlark Dr.                                                                    Indianapolis        IN           46226
    Lisa Glover                                                            10 Avon Street                Apt. 5                                                   Cambridge           MA           02138
    LISA GURSEL                                                            465 MAIN ST 12E                                                                        NEW YORK            NY           10044
    LISA HARRIS                                                            3409 KENTUCKY WAY                                                                      EDMOND              OK           73034
    LISA HARRIS COLLINS                                                    6164 NOAH CURTIS DRIVE                                                                 SHANNON             MS           38868
    Lisa Ho                                                                391 Polo Club Dr.                                                                      Glendale Heights    IL           60139
    Lisa Hodsdon                                                           11 Lyman Ave.                                                                          Medford             MA           02155
    Lisa Huston                                                            1071 Prairie Avenue                                                                    Naperville          IL           60540
    LISA J LARSON                                                          406 CASTING CT                                                                         ORLANDO             FL           32825
    LISA J PEACHEY                                                         29 PATRIDGE LANE                                                                       LYNNFIELD           MA           01940
    Lisa Jacobson                                                          123 Beltran St.                                                                        Malden              MA           02148
    Lisa K Forney                                                          1A Charles Ridge Road                                                                  Littleton           MA           01460
    LISA K WEBER                                                           400 SANTA CLARA AVE # 7                                                                OAKLAND             CA           94610
    Lisa Kalner Williams                                                   18 Hillside Ave                                                                        Winchester          MA           01890
    Lisa Keown                                                             5664 Donnelly Circle                                                                   Orlando             FL           32821
    Lisa Kimball                                                           199 Pleasant St.              #3                                                       Brookline           MA           02446
    Lisa Koch                                                              60 Powell Street                                                                       Stoughton           MA           02072
                                            DBA LISA CARTER-DAVIS
    LISA L CARTER-DAVIS                     PHOTOGRAPHY                    536 SHERRY DR                                                                          RUNNEMEDE           NJ           08078
    LISA L PERSINGER                                                       P O BOX 42228                                                                          TUCSON              AZ           85733
    LISA LINDSAY                                                           402 CLAYTON RD                UNIV OF NC CHAPEL HILL              HISTORY DEPT         CHAPEL HILL         NC           27514
    LISA M BROCKHUIZEN                                                     2408 WEST WALWORTH ROAD                                                                MACEDON             NY           14502
    LISA M HOOPER                                                          2500 AMESBURY ROAD                                                                     WINSTON-SALEM       NC           27103
    LISA M VARANDANI                                                       134 WEST WHITEMAN STREET                                                               YELLOW SPRINGS      OH           45387
    Lisa M Welsch                                                          1411 Gracy Farms Ln           #111                                                     Austin              TX           78758
    LISA M ZAWILINSKI                                                      8 STONEWALL DR                                                                         WEST GRANBY         CT           06090
    LISA MANDEL PHOTOGRAPHY                                                858 GREENSHIRE COURT                                                                   ST LOUIS            MO           63130
    Lisa Marie Bemis                                                       11 Greatneck Drive                                                                     Wilmington          MA           01887
    Lisa Marinovich                                                        119 Dufour Street                                                                      Santa Cruz          CA           95060
    LISA MILLER                                                            408 LEDGEVIEW DRIVE                                                                    ROCHESTER           NH           03839
    LISA MOFFETT                            FLAT 4 UNDERDOWN               GLOUCESTER ROAD                                                   LEDBURY              Hertfordshire                    HR8 2JE    United Kingdom
    Lisa Nguyen                                                            2010 Carillon Ln.                                                                      Carrollton          TX           75007
    Lisa OBrien                                                            408 Ancestry Dr.                                                                       St. Peters          MO           63376
    Lisa Patterson                                                         1518 Danehill Drive                                                                    San Antonio         TX           78253
    LISA R TROUTE                                                          6475 FOX RUN CIRCLE                                                                    JUPITER             FL           33558
    Lisa Rawlinson                                                         2200 Mimosa Dr                                                                         Austin              TX           78745
    Lisa Rettstatt                                                         115 Acapulco Drive                                                                     Kissimmee           FL           34743
    Lisa Richman                                                           13 W. Pine Tree Ave                                                                    Lake Worth          FL           33467
    LISA SCHEFFLER                                                         2001 BRENHAM DR                                                                        MCKINNEY            TX           75070
    Lisa Sherrodd                                                          832 St. Joe Street                                                                     Rapid City          SD           57701
    Lisa Shotts                                                            9801 South Houston                                                                     Jenks               OK           74037
    Lisa Silver                                                            4925 Coshatt Drive                                                                     Birmingham          AL           35244
    LISA SILVERMAN                                                         1115 PROSPECT AVE, APT 103                                                             BROOKLYN            NY           11218
    Lisa Smith                                                             12927 Lakeview Avenue                                                                  Clermont            FL           34711
    Lisa Swertfager                                                        3214 W. La Costa                                                                       Fresno              CA           93711
    LISA TADDEO                                                            95 WALL STREET, APT 412                                                                NEW YORK            NY           10005
    LISA THOMAS BOYLE                                                      5 SHADOWBROOK DRIVE                                                                    NASHUA              NH           03062
    Lisa U Phillips                                                        57 MAIN ST.                                                                            AMESBURY            MA           01913
    LISA VENTRY MILENKOVIC                                                 750 VERONA LAKE DRIVE                                                                  WESTON              FL           33326
    Lisa W Crowe                                                           1211 North Branch Road                                                                 Wilmette            IL           60091
    Lisa Wafford                                                           4259 Robertson Blvd.                                                                   Indianapolis        IN           46228
    LISA WAITES BENNETT                                                    252 SUWANEE RD                                                                         MOULTRIE            GA           31788
    LISA WEHRLE                                                            28 GREENLEAF ST #3                                                                     MALDEN              MA           02148
    LISA WESTBERG PETERS                                                   521 2ND STREET SE 402                                                                  MINNEAPOLIS         MN           55414
    Lisa White                                                             21 Cypress Road                                                                        Milton              MA           02186
    LISA WHITE                                                             338 PARKSTONE DRIVE                                                                    CARY                IL           60013



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                 263 of 488                                                                                               1:26 PM
                                                      12-12171-reg             Doc 136             Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 271 Matrix
                                                                                                                         of 519
                                                                                                                       First Class Service List


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    Lisa Williams                                                            21200 Sr 676                                                                                              Marietta              OH            45750
    LISA WOLFSON                            DBA L K MADIGAN                  6240 SW 55TH DRIVE                                                                                        PORTLAND              OR            97221
    Lisa Zolbrod                                                             1421 Greenleaf St.                                                                                        Evanston              IL            60202
    LISBETH GANT-BRITTON                                                     1915 W 43RD STREET                                                                                        LOS ANGELES           CA            90062
    LISBON SCHOOL DEPARTMENT                                                 19 GARTLEY ST                                                                                             LISBON                ME            04250
    LISE ELIOT                                                               516 E PROSPECT AVE                                                                                        LAKE BLUFF            IL            60044
    Lise Seguin-Einstein                                                     36 Whipple Road                  #5                                                                       Kittery               ME            03904
    Lisetta Di Benedetto                                                     221A Dodge Ave.                                                                                           Evanston              IL            60202
    Lisle Gates                             Learning Journey                 2219 N. Rocky View Road                                                                                   Castle Rock           CO            80108
    Lissa Anderson                                                           1105 Cripple Creek Dr.                                                                                    Austin                TX            78758
    LISSA LEDBETTER                                                          1215 MANASOTA BEACH RD                                                                                    ENGLEWOOD             FL            34223
    Lissa Pijanowski                                                         475 White Rose Trace                                                                                      Alpharetta            GA            30005
    LISVETTE HERNANDEZ COBIAN                                                P O BOX 1655                                                                                              TRUJILLO              PR            00977
    LIT Finance III, LLC                    RE 1175 N. Stemmons Freeway      Judy Ellis                       c/o ING Clarion Partners            2650 Cedar Springs Road, Suite 850   Dallas                TX            75201-1491
    LITERACY ACTION NETWORK                 ATTN JERRY ANDERSON              700 RAYMOND AVENUE STE 180                                                                                ST PAUL               MN            55114
    LITERACY CONNEXUS                                                        4620 WEST BIG ELM                                                                                         MOODY                 TX            76557
    LITERACY DESIGNS CANADA                                                  BOX 61581 BRROKSWOOD RPO                                                                                  LANGLEY               BC            V3A 8C8      Canada
    LITERACY IN THE COMMUNITY LLC                                            1122 EAST PIKE STREET #1413                                                                               SEATTLE               WA            98122
    LITERACY LINKS INC                                                       52 PIER POINTE                   JOAN A KNIGHT                                                            NEW BERN              NC            28562
    LITERACY LINKS LLC                      HELENANN LINKS LLC               5055 LAKESHORE RD                                                                                         LEXINGTON             MI            48450

    LITERACY TEXAS                          GLORIA MORITZ- INTERIM DIRECTOR 4802 HWY 377 SOUTH STE 14                                                                                  FORT WORTH            TX            76116
    LITERACY VOLUNTEERS OF
    AMERICA                                                                  1320 JAMESVILLE AVE              DAVID MARBLE                                                             SYRACUSE              NY            13210
    LITERARISCHE AGENTUR MERTIN                                              TAUNUSSTRASSE 28                                                                                          FRANKFURT AM MAIN                   60329        Germany
    LITERARY & CREATIVE ARTISTS
    AGENCY                                                                   3543 ALBEMARLE STREET NW                                                                                  WASHINGTON            DC            20008-4213
    LITERARY ARTS                                                            224 NW 13TH AVE SUITE 306                                                                                 PORTLAND              OR            97209
    LITERARY ESTATE OF CLR JAMES            280 KINSEY HALL                  405 HILGARD AVENUE                                                                                        LOS ANGELES           CA            90095
    LITERARY PROP INC THE
    BOOKSTORE                                                                301 W LINCOLN TRAIL PO BOX 999                                                                            RASCLIFF              KY            40160
    LITHIUM CORP PTY LTD                                                     40 BROOKE STREET                                                                                          ENGADINE              NSW           02233        Australia
    LITTAU PRISCILLA                                                         5816 NORTH SHORE DRIVE                                                                                    HIXSON                TN            37343
    LITTEN EDITING AND PRODUCTION
    INC                                     DBA LEAP PUBLISHING SERVICES     4301 DARROW ED STE 3500                                                                                   STOW                  OH            44224
    LITTLE BROWN & CO                       TIME & LIFE BLDG                 1271 AVE OF THE AMERICAS                                                                                  NEW YORK              NY            10020
    LITTLE BROWN & COMPANY INC              HACHETTE BOOK GROUP USA          PO BOX 8828 JKF STATION                                                                                   BOSTON                MA            02114
    LITTLE BROWN AND CO INC                                                  237 PARK AVENUE                  C/O HACHETT BOOK GROUP                                                   NEW YORK              NY            10017
    LITTLE BROWN AND COMPANY                HACHETTE BOOK GROUP USA          PO BOX 8828 JFK STATION                                                                                   BOSTON                MA            02114
    LITTLE BROWN BOOK GROUP LTD
    (UK)                                                                     100 VICTORIA EMBANKMENT                                                                                   LONDON                              EC4Y 0DY     United Kingdom
    LITTLE BROWN BOOK LTD                                                    100 VICTORIA EMBANKMENT                                                                                   LONDON                              EC4Y 0DY     United Kingdom
                                            GREG AND STEVE PRODUCTIONS
    LITTLE HOUSE MUSIC                      INC                              202 N CURRY STREET SUITE 100                                                                              CARSON CITY           NV            89703

    LITTLE PROFESSOR BOOK CENTER                                             65 SOUTH COURT STREET                                                                                     ATHENS                OH            45701
    Littleton Public Schools                Accounts Payable                 P.O. Box 1486                                                                                             Littleton             MA            01460
    LITURGICAL CONFERENCE                                                    PO BOX 31                                                                                                 EVANSTON              IL            60204
    LITURGY TRAINING PUBLICATIONS                                            1800 N HERMITAGE AVENUE                                                                                   CHICAGO               IL            60622
                                            DBA ALAMO WURZBACH MINI-
    LIVE OAK ROAD LIMITED                   STORAGE                          8747 WURZBACH                                                                                             SAN ANTONIO           TX            78240
    Live Oak Unified School Dist            Attn Mischelle Righero           2201 Pennington Rd                                                                                        Live Oak              CA            95953
    LIVERIGHT PUBLISHING CORP               ATTN ELIZABETH CLEMENTSON        500 FIFTH AVENUE                                                                                          NEW YORK              NY            10110-0002
    LIVING BEYOND BREAST CANCER                                              354 W LANCASTER AVE STE 224                                                                               HAVERFORD             PA            19041
    Living Sky School                                                        509 Pioneer Avenue                                                                                        North Battleford      SK            S9A4A5       Canada
    LIVING TRUST DEMETRIOS                  MICHAEL B & ELEANOR              12024 ELBERT STREET                                                                                       CLERMONT              FL            34711
    LIVINGSTON PARISH SCHOOL
    BOARD                                   SALES AND USE TAX DEPARTMENT     PO BOX 1030                                                                                               LIVINGSTON            LA            70754
    LIWSKA RENATA                                                            919C 13 AVENUE SW                                                                                         CALGARY               AB            T2R 0L3      Canada
    LIZ AMINI-HOLMES                                                         451 GLENWOOD AVE                                                                                          WOODSIDE              CA            94062

    LIZ BARRY                               LIZ BARRY PHOTOJOURNALIST        145 GWYNEDD AVE TOWNHILL                                                                                  SWANSEA SOUTH WALES                 SA1 6LJ      United Kingdom
    LIZ CHEONG                              #701 HYUNDAI I-SPACE OFFICETEL   785-1 JANGHANG-DONG ILSAN-GU                                                                              KOYANG-SI             Kyonggi-do    411-380      South Korea
    LIZ DUVALL                                                               75 BEAR HILL ROAD                                                                                         MARRIMAC              MA            01860-1208
    LIZ PALIKA                              DBA LIZ PALIKA LLC               250 FLAME TREE PLACE                                                                                      OCEANSIDE             CA            92057
    LIZ ROSENBERG                                                            32 HIGHLAND AVENUE                                                                                        BINGHAMTON            NY            13905
    Liz Rosenthal                                                            14 Hale Park Avenue                                                                                       Beverly               MA            01915
    LIZ SANDERS AGENCY                                                       2415 EAST HANGMAN CREEK LN                                                                                SPOKANE               WA            99224-8514
    Liz Walsh                                                                735 South Blvd                                                                                            Evanston              IL            60202
    LIZA DAWSON ASSOCIATES                                                   350 SEVENTH AVE STE 2003                                                                                  NEW YORK              NY            10001



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                       264 of 488                                                                                                                   1:26 PM
                                                      12-12171-reg            Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 272 Matrix
                                                                                                                         of 519
                                                                                                                       First Class Service List


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    LIZA DAWSON ASSOCIATES LLC                                              350 SEVETH AVENUE SUITE 2003                                                     NEW YORK             NY           10001
    Liza Macdonald                                                          26 Summit Ave.                    Apt. 4                                         Brookline            MA           02446
    Lizabeth Dorman                                                         P.O. Box 83904                                                                   Portland             OR           97283
    LIZABETH GEWIRTZMAN                                                     250 RIVERSIDE DR APT 72                                                          NEW YORK             NY           10025
    Lizabeth Pelzel                                                         1832 White Heron Bay Cir.                                                        Orlando              FL           32824
    LIZANDRA AYALA VALENTIN                                                 6071 VILLAGE BEND DR APT 812                                                     DALLAS               TX           75206
                                                                                                                                                             COL DOCTORES
    LIZETH MICHEL SEGOVIANO                                                                                                                                  DELEGACION
    HERNANDEZ                                                               DOCTOR ARCE 22 DEPTO B201                                                        CUAUHTEMOC                        06720        Mexico
    Lizzette Ferreris Gonzalez                                              PO Box 336561                                                                    Ponce                PR           00733-6561
    LIZZFIT INC                                                             176 BROADWAY APT 3A                                                              NEW YORK             NY           10038
    LJF EDUCATIONAL RESOURCES               LINDA S FARRUGGIA               1919 PRAIRIE SQUARE #106                                                         SCHAUMBURG           IL           60173
    LJUBICA ERICKSON                                                        13 RAVELSTON HOUSE RD                                                            EDINBURGH                         EH4 3LP      United Kingdom
    LKF ASSOCIATES INC                                                      33 ARCH STREET 31ST FL                                                           BOSTON               MA           02110
    LLIBRERIA LAIE                          LAITANA DE LLIBRETERIA SL       PAU CLARIS 85                                                                    BARCELONA                                      Spain
    LLOYD BLOOM                                                             888 MONTGOMERY STREET             APT C1                                         BROOKLYN             NY           11213
    LLOYD MEGAN                                                             1140 CREEK ROAD                                                                  CARLISLE             PA           17013
    LLOYD RANKIN HARVEY                     DBA HOUSERSTOCK                 140 SIERRA VISTA                                                                 ALTO                 NM           88312
    Lloydminster Public School Div                                          5017 46th Street                                                                 Lloydminster         AB           T9V1R4       Canada
    LLYNDA FOGLE                                                            # 202 9500 SOUTH OCEAN DRIVE                                                     JENSEN BEACH         FL           34957
    LLYOD MILLER                                                            64 CASSILIS AVENUE                                                               BRONXVILLE           NY           10709
    LMCK Consulting, LLC                    Loretta C. Kelly                800 Arbor Road                                                                   Paramus              NJ           07652
    LMS ACQUISITIONS LLC                    DBA LMS FULFILLMENT             2032 CENTIMETER CIRCLE                                                           AUSTIN               TX           78758
    Loan AI Mascorro                                                        2410 Doolittle Avenue                                                            Arcadia              CA           91006-4912
    LOBATO JOANNE E                                                         5166 ROXBURY ROAD                                                                SAN DIEGO            CA           92116

    LOCAL GOVERNMENT PURCHASING COOPERATIVE                                 PO BOX 975110                                                                    DALLAS               TX           75397
    LOCKE ROBERT H                                                          900 53RD ST                                                                      SACRAMENTO           CA           95819
    Loc-Thu Proffitt                                                        945 Lexington Avenue                                                             St. Charles          IL           60174
    Loews Philadelphia Hotel    Attn Credit Manager                         1200 Market Street                                                               Philadelphia         PA           19107
                                                                                                                                                             SANTA MARTA DE
    LOGUEZ EDICIONES                        MABEL GARCIA - FOREIGN RIGHTS   CARRETERA DE MADRID 90 APT 1                                                     TORMES (SALAMANCA)                37900        Spain
    Lois D Neese                                                            4321 EL PRESIDIO DRIVE                                                           Las Vegas            NV           89141
    LOIS DUNCAN ARQUETTE                                                    1512 PELICAN POINT DRIVE BA 262                                                  SARASOTA             FL           34231
    LOIS EASTON                                                             8869 E PENSTEMON DRIVE                                                           TUCSON               AZ           85715
    LOIS F WASOFF                                                           258 SUDBURY RD                                                                   CONCORD              MA           01742
    Lois Harvey                                                             9 PINE GROVE VILLAGE                                                             YARMOUTHPORT         MA           02675
    LOIS J EATON                                                            18547 REMBRANDT TERRACE                                                          DALLAS               TX           75287
    LOIS J PERRY                                                            2390 CAL YOUNG ROAD                                                              EUGENE               OR           97401
    LOIS JACOBSON                                                           10 EAST PALMER BEND                                                              THE WOODLANDS        TX           77381
    Lois L. Page                                                            3712 Hunters Isle Drive                                                          Orlando              FL           32837
    LOIS LOWRY                                                              205 BRATTLE STREET                                                               CAMBRIDGE            MA           02138
    LOIS MAILOU JONES PIERRE-NOEL                                           P O BOX 7950                                                                     UPPER MARLBORO       MD           20792-7950
    Lois Maywald                                                            PO BOX 54                                                                        PELL LAKE            WI           53157
    LOIS PINCUS COHN                                                        579 TOOTING LN                                                                   BIRMINGHAM           MI           48009-3841
    LOIS POPE WEBSTER                                                       411 NO 6TH ST, 115                                                               EMERY                SD           57332
    Lois Randall                                                            35 Pierrepont St Apt 1-C                                                         Brooklyn             NY           11201
    LOIS ROSEN                                                              1170 BRYANT DR                                                                   EAST LANSING         MI           48823
    Lois Tatarian                                                           55 Farwell St Apt 18                                                             Newtonville          MA           02460
    LOK MAN YANG                                                            69-10 174TH STREET                                                               FRESH MEADOWS        NY           11365
    LOLA MULDREW                                                            510 E STREET                                                                     DAVIS                CA           95616
    LOLA SNEYD                                                              7 WHEELER AVE                                                                    TORONTO              ON           M4L 3V3      Canada
    Lola Tornabene                                                          344 Spruce Street                                                                Canonsburg           PA           15317
    LOMA J HUH                                                              313 E OAK STREET                                                                 VIROQUA              WI           54665
    LOMAN CUSACK DESIGN LIMITED                                             70 PEARSE STREET                                                                 DUBLIN 2             Dublin                    Ireland
    LON ROSEN                                                               151 EL CAMONI DR                                                                 BEVERLY HILLS        CA           90212
    LONE JACK C-6 SCHOOL DISTRICT                                           600 N BYNUM                       ATTN LEANN HAUCK                               LONE JACK            MO           64070
    LONE STAR PUBLISHING VENTURE                                            P O BOX 1866                                                                     AUSTIN               TX           78767

    LONELY PLANET PUBLICATIONS INC                                          150 LINDEN ST                                                                    OAKLAND              CA           94607-2538
    LONG BEACH CITY COLLEGE        LBCC AUXILIARY DBA VIKING BKST           4901 EAST CARSON                                                                 LONG BEACH           CA           90808
    LONG ISLAND ASSN OF SPECIAL
    EDUCATION                      ADMINISTRATORS                           P O BOX 144                                                                      MASTIC BEACH         NY           11951-0144
    LONG ISLAND COUNCIL FOR SOCIAL
    STUDIES                        ATTN BRIAN DOWD                          41 HIGHWATER AVE                                                                 MASSAPEQUA           NY           11758
    LONG ISLAND EDUCATIONAL SALES
    ASSN                                                                    17 HARE LANE                                                                     EAST SETAUKET        NY           11733
    LONG ISLAND LANGUAGE ARTS
    COUNCIL                                                                 632 SOUTH 9TH STREET              ATTN DONNA TASSONE                             NEW HYDE PARK        NY           11040




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                      265 of 488                                                                                           1:26 PM
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                                                                                                               273 Matrix
                                                                                                                       of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName              Address1                            Address2              Address3                 City        State       Zip      Country
    LONG ISLAND LANGUAGE
    TEACHERS INC                            DIANA RICCOBONI-SOMMO          1133 ST JOHNLAND RD                                                             KINGS PARK           NY           11754
    LONG ISLAND MATH CONFERENCE
    BOARD                                                                  32 MANTACK PATH                ATTN BRUCE C WALDNER                             KINGS PARK NY        NY           11754
    Long, Reimer, Winegar LLP                                              PO Box 87                                                                       Cheyenne             WY           82003
    LONGDOWN MANAGEMENT INC                                                P O BOX 1440                                                                    LAND O LAKES         FL           34639
    LONGVIEW ELEMENTARY SCHOOL                                             2929 COMMONWEALTH DRIVE                                                         SPRING HILL          TN           37174
    LONGVIEW INDEPENDENT SCHOOL
    DISTRICT                                                               P O BOX 3268                                                                    LONGVIEW             TX           75606
    LOOK SEE INC                            DBA LOU BEACH                  900 S TREMAINE AVENUE                                                           LOS ANGELES          CA           90019
    Lora Alicea                                                            1782 Arden Lane                Bethlehem                                        Bethlehem            PA           18015
    LORA LAWSON                                                            1789 NEWLOVE                                                                    SOUTH CHARLESTON     OH           45368
    LORAIN COUNTY COMMUNITY
    COLLEGE                                                                1005 NORTH ABBE ROAD                                                            ELYRIA               OH           44035
    LORCA CRUZ RIVERA                       URBANIZACION VERSALLES         CALLE 1-A-11                                                                    BAYAMON              PR           00959
    Lord Abbett                                                            PO Box 219162                                                                   Kansas City          MO           64121
    LORD STERLING LITERISTIC INC                                           65 BLEECKER STREET                                                              NEW YORK             NY           10012
    Lords Securities Corporation

    LORDS SECURITIES CORPORATION                                           48 WALL STREET 27TH FLOOR                                                       NEW YORK             NY           10005
    LORE CARRILLO                                                          3 DESERT HIGHLANDS DR                                                           HENDERSON            NV           89052
    LOREE GRIFFIN BURNS                                                    17 HOSMER ST                                                                    WEST BOYLSTON        MA           01583
    LOREN D ESTLEMAN                                                       5552 WALSH ROAD                                                                 WHITMORE LAKE        MI           48189
    Loren Isenberg
    LOREN ISENBERG                                                         ONE HILLCREST RD                                                                MOUNTAIN LAKES       NJ           07046
    Loren Lindell                                                          P.O. Box 552                                                                    Fox Island           WA           98333
    Lorena Richins-Layser                                                  5612 E 2100 N                                                                   EDEN                 UT           84310
    Lorene Malanowski            Performance Learning Systems              1150 Glenlivit Dr              #B-24                                            Allentown            PA           18106
    Lorenza Ruiz                                                           410 Spring Street                                                               Aurora               IL           60505
    LORETA SCHMIDT                                                         1032 OAK TREE DR                                                                LAWRENCE             KS           66049
    Loretta Frazer                                                         100 Leisure Lane #3121                                                          Stoneham             MA           02180
    LORETTA HARTFIELD                                                      109 IRONHORSE RD                                                                ECRU                 MS           38841-9403
    Loretta L Noeth                                                        1704 South 4th Place                                                            St. Charles          IL           60174
    LORETTA LUCAS                                                          665 SW 91 PL                                                                    OCALA                FL           34476
    LORETTA RASCHEN                                                        2533 E 32ND STREET                                                              TULSA                OK           74105-2313
    Lorey Ford                                                             1307 N 43rd St                 Apt 502                                          Seattle              WA           98103
    Lori A Conroy                                                          4n157 Fox Mill Blvd.                                                            St. Charles          IL           60175
    LORI A HAMILL                                                          185 WATER ST                                                                    PONTOTOC             MS           38863
    Lori A Hensler                                                         482 Mooresfield St.                                                             Elgin                IL           60124
    LORI BELBOL                                                            14 BABYLON RD                                                                   MERRICK              NY           11566
    Lori Bergmann                                                          4 La Quinta Court                                                               Lake In The Hills    IL           60156
    LORI BETH VAN CANTFORT                                                 1431 MILOIKI ST                                                                 HONOLULU             HI           96825
    LORI CARLSON                                                           5 RIVERSIDE DRIVE 16C                                                           NEW YORK             NY           10023
    Lori Cook                                                              15460 Canyon Gulch Lane #302                                                    Englewood            CO           80112
    LORI D STONE                                                           3835 ELDER FIELD LANE                                                           CUMMING              GA           30040
    LORI FULTON                                                            316 JACARANDA ARBOR STREET                                                      LAS VEGAS            NV           89144
    Lori Galvin Frost                                                      29 CEDAR ST                                                                     SOMERVILLE           MA           02143-2218
    Lori Glazer                                                            4 Horseshoe Lane                                                                Rye Brook            NY           10573
    Lori Hansen                                                            15 Margaret Road                                                                Peabody              MA           01960
    LORI J CATAN                                                           1112 ODAY DRIVE                                                                 WINTER SPRINGS       FL           32708
    LORI J COYLE                                                           P O BOX 134                                                                     SPRINGFIELD          NH           03284
    Lori J Olsen                                                           736 S. Malgren Avenue                                                           San Pedro            CA           90732
    Lori K Cook                                                            15460 Canyon Gulch Lane        Unit 302                                         Englewood            CO           80112
    Lori Lampert                                                           32 Garfield Rd                                                                  Portsmouth           NH           03801
    LORI LAROCCO                                                           79 SEABURY BLVD                                                                 WEBSTER              NY           14580
    LORI MARIE ANDREWS                                                     667 W CADILLAC DR                                                               ALTAMONTE SPRINGS    FL           32714
    LORI MATZEK                                                            1220 MILL CREEK ROAD                                                            LOUISVILLE           MS           39339
    LORI MIELECKI                                                          835 ASHWORTH LANE                                                               MORGANTOWN           WV           26508
    LORI NORTON-MEIER                                                      216 BUCKLAND TRACE                                                              LOUISVILLE           KY           40245-4270
    LORI OCZKUS                                                            3 TOTTERDELL CT                                                                 ORINDA               CA           94563
    LORI ORDWAY                                                            2000 4TH AVE NW # 12                                                            ARDMORE              OK           73401
    LORI PEPE                                                              2466 PRINCE STREET                                                              BERKELEY             CA           94705
    LORI ROBINSON                                                          12231 HAMMOCK CREEK WAY                                                         FT MYERS             FL           33905
    Lori Shumpert                                                          1425 N Lavergne                                                                 Chicago              IL           60651
    Lori Smithen                                                           616 Portland St                #49                                              Rochester            NH           03867
    LORI SMOLIN                                                            50 FARMSTEAD ROAD                                                               STORRS               CT           06268
    Lori Tomsic                                                            4 Crescent View Ave                                                             Cape Elizabeth       ME           04107
    LORI VOLANTE                                                           2111 WOODWARD SUITE 1010       INSIDEOUT                                        DETROIT              MI           48201
    LORI WASCO                                                             9140 NW 13TH STREET                                                             PLANTATION           FL           33322
    LORIEL OLIVIER                                                         336 CENTRAL PARK WEST                                                           NEW YORK             NY           10025



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                    266 of 488                                                                                 1:26 PM
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                                                                                                                           of 519
                                                                                                                     First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                        Address2                   Address3                       City          State       Zip             Country
    LORINDA BRYAN CAULEY                                                   1 GROVE LN                                                                                     GREENWICH          CT           06831-5317
    Lorinda J Keefe                                                        15 Fitch Road                                                                                  Madbury            NH           03823
    Lorine M Zdanowski                                                     95 Orleton Ct.                                                                                 Cheshire           CT           06410
    LORN FOSTER                                                            886 OTTAWA DR                                                                                  CLAREMONT          CA           91711-3330
    Lorna Berry Prescott                                                   38 Knox St.                                                                                    Thomaston          ME           04861
    LORNA MORRING                                                          126 FIRST AVE, # 4                                                                             SALT LAKE CITY     UT           84103
    Lorna Morring                                                          126 FIRST AVE                    APT 4                                                         SALT LAKE CITY     UT           84103
    LORNA SIMMONS                                                          6570 FM 643                                                                                    MCKINNEY           TX           75071
    Lornell Najar                                                          1211 Speer Lane                                                                                Austin             TX           78745
    LORRAINE CIVIL RIGHTS MUSEUM            DBA NATIONAL CIVIL RIGHTS
    FOUNDATION                              MUSEUM                         450 MULBERRY STREET                                                                            MEMPHIS            TN           38103-4214
    LORRAINE DEOSA                                                         4402 SOMERSET LANE                                                                             UPPER CHICHESTER   PA           19014
    LORRAINE LUPONE                                                        19 SURREY LANE                                                                                 SANDWICH           MA           02563
    LORRAINE M CARMONA TORRES                                              P O BOX 612                                                                                    LUQUILLO           PR           00773-0612
    LORRAINE WALTER H                                                      40 ROGERS AVENUE                                                                               SOMERVILLE         MA           02144
    LORRAINE WILSON                                                        81 AMESS ST                                                                                    NORTH CARLTON      Victoria     03054        Australia
    Lorraine Wright                                                        1019 Kehoe Drive                                                                               St Charles         IL           60174
    LORRIE HANSEN                                                          8126 KILDARE AVE                                                                               SKOKIE             IL           60076
    LOS ALAMITOS UNIFIED SCHOOL
    DISTRICT                                                             10293 BLLOMFIELD STREET                                                                          LOS ALAMITOS       CA           90720-2200
                                            COMMUNITY DEVELOPMENT DEPT -
    LOS ALAMOS COUNTY                       ATTN BUSIN                   PO BOX 30                                                                                        LOS ALAMOS         NM           87544
    LOS ANGELES COUNTY EDUC
    FOUNDATION                              ATTN LENA KORTOSHIAN           9300 IMPERIAL HWY RM 106                                                                       DOWNEY             CA           90242
    LOS ANGELES COUNTY OFFICE OF
    EDUC                                                                   9300 IMPERIAL HWY CLARK BLDG                                                                   DOWNEY             CA           90242-2813
    LOS ANGELES COUNTY SCIENCE
    AND                                     ENGINEERING FAIR               9300 IMPERIAL HWY                                                                              DOWNEY             CA           90242
    Los Angeles County Treasurer and Tax
    Collector                                                              PO Box 54110                                                                                   Los Angeles        CA           90054-0110
    LOS ANGELES LAKERS INC                                                 P O BOX 940                                                                                    EL SEGUNDO         CA           90245
    Los Angeles Marriott Burbank            Airport Hotel and CC           2500 Hollywood Way                                                                             Burbank            CA           91505
    LOS ANGELES PUBLIC LIBRARY              PHOTOGRAPH COLLECTION          630 WEST FIFTH STREET                                                                          LOS ANGELES        CA           90071
    LOS ANGELES TIMES REPRINTS                                             202 WEST FIRST ST 3RD FLOOR      ATTN ERICA VARELA                                             LOS ANGELES        CA           90012-4105
    LOS ANGELES UNIF SCH DISTRICT
    LOS ANGELES UNIFIED SCHOOL              DIVISION OF ADULT AND CAREER                                    CARLOS MADRIGAL - MANUAL ARTS
    DISTRICT                                EDUC                           4131 S VERMONT AVE               COMM SCH                                                      LOS ANGELES        CA           90037
    LOS ANGELES UNIFIED SCHOOL
    DISTRICT                                                               333 S BEAUDRY AVE FL 29          BEYOND THE BELL BRANCH        AUXILIARY SERVICES TRUST FUND   LOS ANGELES        CA           90017
    LOS ANGELES UNIFIED SCHOOL                                                                              CARLOS MADRIGAL - MANUAL ARTS
    DISTRICT                                                               4131 S VERMONT AVE               COMM SCH                                                      LOS ANGELES        CA           90037
    LOS ANGELES ZOO ASSOCIATION                                            5333 ZOO DRIVE                                                                                 LOS ANGELES        CA           90027
    LOS NINOS SERVICES                                                     535 8TH AVE 2ND FLOOR                                                                          NEW YORK           NY           10018
                                            DBA YOUNG CHILD EXPO &
    LOS NINOS SERVICES INC                  CONFERENCE                     535 8TH AVENUE, 2ND FLOOR                                                                      NEW YORK           NY           10018
    LOS RIOS COMMUNITY COLLEGE
    DISTRICT                                SACRAMENTO CITY COLLEGE        3835 FREEPORT BLVD                                                                             SACRAMENTO         CA           95822
                                                                                                            C/O DORIS CHEVRON & JURGEN
    LOTTE KOHLER                                                           263 AWEST CORNWELL ROAD          KALWA                                                         WEST CORNWALL      CT           06796
    Lou Miller Jr                                                          3669 Spring Field Road                                                                         Rocky Mount        NC           27804
    LOUANN REID                                                            2538 TUCKER CT                                                                                 FORT COLLINS       CO           80526
    LOUDOUN CITY PUBLIC SCHOOLS                                            21000 EDUCATION COURT                                                                          ASHBURN            VA           20148
    LOUIE PSIHOYOS                                                         443 JUNIPER AVE                                                                                BOULDER            CO           80304
    LOUIS A MEYER                                                          P O BOX 9                        348 PAUL BUNYAN ROAD                                          COREA              ME           04624
    Louis Jacobson                                                         425 S First St.                                                                                Elburn             IL           60119
    Louis Lepore                                                           932 60Th Place                                                                                 Downers Grove      IL           60516
    Louis M Mancini                                                        26 Rutgers Rd.                                                                                 Andover            MA           01810
    Louis Massicci                                                         192 El Paso                                                                                    Clovis             CA           93611
    Louis Montiel                                                          4345 N. Craycroft Rd                                                                           Tucson             AZ           85718
    Louis Nicholas Raphael                                                 3 Lawrence Rd.                                                                                 Wellesley          MA           02482
    Louis Nistal                                                           4254 Shadow Elms Woods                                                                         San Antonio        TX           78249
    LOUIS SACHAR                                                           313 ISLAND AVENUE                                                                              NEWPORT BEACH      CA           92661
    LOUISE A DOUCETTE                                                      P O BOX 194                                                                                    GREAT CACAPON      WV           25422
    LOUISE M MCDONALD                                                      204-271 PRINCE ALBERT RD                                                                       DARTMOUTH          NS           B2Y 1M9      Canada
    Louise M. Jones                                                        8019 Kilpatrick                  #2                                                            Skokie             IL           60076-3095
    Louise Marie Bodden                                                    23 Cornell Road                                                                                Wellesley          MA           02181
    Louise Matlasz                                                         8917 SE Porter Rd.                                                                             Vancouver          WA           98664
    LOUISE MCCULLOUGH                                                      7 FORDHAM WAY                                                                                  AVON               CT           06001
    Louise Robbins                                                         21 Myrtle Street                 Apt. 2                                                        Jamaica Plain      MA           02130
    Louise Robison                                                         2618 Quail Run Blvd                                                                            Kissimmee          FL           34744



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                    267 of 488                                                                                                     1:26 PM
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                                                                                                                     of 519
                                                                                                              First Class Service List


                 CreditorName                CreditorNoticeName                     Address1                       Address2                        Address3                       City        State       Zip      Country
    Louise Sironi                                                    P.O. Box 2123                                                                                    Hanover            MA           02339
    Louise Spangler                                                  38 Third Street #202                                                                             Los Altos          CA           94022
    Louise Wallace                                                   2 Creekside Lane                                                                                 Barrington Hills   IL           60010
    Louise Wilson                                                    1350 Creekwood Cove                                                                              Lawrenceville      GA           30046
    LOUISE WROBLESKI                                                 PO BOX 373                                                                                       TAMWORTH           NH           03886
    LOUISIANA ASSN OF PARISH TXTBKS
    ADMINS                                                           4358 HIGWAY 84 WEST                                                                              VIDALIA            LA           71373
    LOUISIANA ASSN OF TEACHERS OF
    MATHS                                                            P O BOX 1223                      ATTN SABRINA SMITH                                             HARVEY             LA           70058
    LOUISIANA ASSOC OF COMPUTER
    USING                           EDUCATORS                        8550 UNITED PLAZA BLVD STE 1001                                                                  BATON ROUGE        LA           70809
    LOUISIANA ASSOC OF PRINCIPALS ATTN ANDREA MARTIN                 103 CRAWFORD STREET                                                                              WINNFIELD          LA           71483-3208
    LOUISIANA ASSOC OF PUBLIC
    CHARTER SCHS                                                     5500 PRYTANIA STREET # 126        ATTN ELIZABETH GARRETT                                         NEW ORLEANS        LA           70115
    LOUISIANA ASSOCIATION FOR       COMMUNITY AND ADULT
    PUBLIC                          EDUCATION                        680 WEST 4TH                      ATTN MARSHA PUGH                                               HOMER              LA           71040
    LOUISIANA ASSOCIATION OF SCH                                                                       ATTN J ROGERS POPE - EXEC
    EXECUTIVES                                                       P O BOX 40217                     DIRECTOR                                                       BATON ROUGE        LA           70835-0217
    LOUISIANA COLLEGE               BOOKSTORE                        1140 COLLEGE DRIVE                                                                               PINEVILLE          LA           71359
    LOUISIANA COUNCIL FOR           CHILDREN - SUPER CONFERENCE                                        LSU COLLEGE OF EDUC - ATTN G
    EXCEPTIONAL                     31                               224 PEABODY HALL                  BECKERS                                                        BATON ROUGE        LA           70803
    LOUISIANA COUNCIL FOR SOCIAL
    STUDIES                                                          1703 SHIRLEY PARK PLACE           ATTN SANDRA GOLDICH                                            ALEXANDRIA         LA           71301
    LOUISIANA COUNCIL FOR
    TEACHERS OF                     ENGLISH                          3618 AMITE RIVER DR                                                                              BOSSIER CITY       LA           71111
    LOUISIANA DEPARTMENT OF         ATTN MARCIE BUCKLE -STATE
    EDUCATION                       TEXTBOOKS                        1201 NORTH THIRD ST RM 4-151                                                                     BATON ROUGE        LA           70802
    Louisiana Department of Revenu  Sales Tax Division               P.O. Box 3138                                                                                    Baton Rouge        LA           70821-3138
    Louisiana Department of Revenu                                   PO Box 91011                                                                                     Baton Rouge        LA           70821-9011
    LOUISIANA DEPT OF REVENUE       DEPT OF REVENUE & TAXATION       P O BOX 91011                                                                                    BATON ROUGE        LA           70821-9011
    Louisiana Dept of Revenue       Attn Bankruptcy Division         617 N 3rd St                                                                                     Baton Rouge        LA           70821
    LOUISIANA DEPT OF REVENUE                                        P O BOX 1231                                                                                     BATON ROUGE        LA           70821-1231
    LOUISIANA DEPT OF REVENUE                                        P O BOX 751                                                                                      BATON ROUGE        LA           70821-0751
    LOUISIANA DEPT OF REVENUE                                        P O BOX 91011                                                                                    BATON ROUGE        LA           70821-9011
    LOUISIANA EARLY CHILDHOOD
    ASSOCIATION                                                      26819 CASCADE WOODS LANE                                                                         CYPRESS            TX           77433
    LOUISIANA FOREIGN LANGUAGE
    TEACHERS                        ASSOCIATION                      400 CALWELL ROAD                                                                                 WEST MONROE        LA           71291-1631
    LOUISIANA MIDDLE SCHOOL
    ASSOCIATION                     ATTN BRENDA GREMILLION           600 S SHATTUCK STREET                                                                            LAKE CHARLES       LA           70601
    LOUISIANA PUBLISHERS
    ASSOCIATION                                                      16350 HWY 929                                                                                    PRAIRIEVILLE       LA           70769
    LOUISIANA READING ASSOCIATION                                    6 BRYSON LANE                                                                                    CARRIERE           MS           39426
    LOUISIANA SCHOOL SUPERVISORS
    ASSN                            ATTN ROSEMARY WOODARD            1961 MIDWAY                                                         CADDO PARISH SCHOOL SYSTEM   SHREVEPORT         LA           71108
    LOUISIANA SECRETARY OF STATE    COMMERCIAL DIVISION              P O BOX 94125                                                                                    BATON ROUGE        LA           70804
    Louisiana Secretary of State    Commercial Division              PO Box 94125                                                                                     Baton Rouge        LA           70804-9125
    LOUISIANA SECRETARY OF STATE                                     P O BOX 94125                                                                                    BATON ROUGE        LA           70804
    LOUISIANA STATE UNIV                                             3990 W LAKESHORE DRIVE            ATTN DEBORAH CARTER               FOR CEES NOOTEBOOM           BATON ROUGE        LA           70808
    LOUISIANA STATE UNIVERSITY      ATTN ERICA BOSSIER               3990 W LAKESHORE DRIVE                                                                           BATON ROUGE        LA           70808

    LOUISIANA STATE UNIVERSITY                                       204 THOMAS BOYD HALL              OFFICE OF ACCOUNTING SERVICES                                  BATON ROUGE        LA           70803
    LOUISIANA STATE UNIVERSITY                                       3990 W LAKESHORE DRIVE                                                                           BATON ROUGE        LA           70808
    LOUISIANA STATE UNIVERSITY
    PRESS                                                            PO BOX 25053                                                                                     BATON ROUGE        LA           70894
    LOUISVILLE/JEFFERSON CNTY
    METRO                                   REVENUE COMMISSION       P O BOX 35410                                                                                    LOUISVILLE         KY           40232-5410
    LOURDES COLON ORTIZ                                              HC 03 BOX 7946                                                                                   BARRANQUITAS       PR           00794
    LOURDES GONZALEZ ALVAREZ                                         PO BOX 426                                                                                       GUAYAMA            PR           00785
    Lourie, Jonathan
    LOVING UNION BAPTIST CHURCH             ATTN BUILDING FUND       P O BOX 206                                                                                      DISPUTANTA         VA           23842-0206
    LOWENSTEIN ASSOCIATES INC                                        121 WEST 27 STREET #501                                                                          NEW YORK           NY           10001
    LOWENSTEIN-YOST ASSOCIATES
    INC                                                              121 WEST 27TH STREET, SUITE 601                                                                  NEW YORK           NY           10001
    LOWER CAPE FEAR HISTORICAL
    SOCIETY                                                          126 S THIRD STREET                                                                               WILMINGTON         NC           28401
    LOWER COLUMBIA COLLEGE                                           1604 MAPLE STREET                                                                                LONGVIEW           WA           98632
    Lower Merion School District            Attn Debbie Williams     301 E. Montgomery Avenue                                                                         Ardmore            PA           19003
    LOWES VANDERBILT HOTEL                  NASVILLE                 2100 WEST END AVE                                                                                NASHVILLE          TN           37203
    LOWRY DAVID                                                      40 COLLEGE ST #402                                                                               BURLINGTON         VT           05401



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                             268 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                                           of 519
                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                        Address2              Address3               City            State       Zip             Country
    LOWRY LOIS                                                             205 BRATTLE STREET                                                             CAMBRIDGE              MA           02138
    LOYD DOUGLAS E                          CARE OF ROGER LOYD             3 ST ANDREWS COURT                                                             DURHAM                 NC           27707
    LOY-LANGE BOX COMPANY                                                  P O BOX 956684                                                                 ST LOUIS               MO           63195-6684
    Loyola Marymount University                                            1 Lmu Drive, Suite 2100                                                        Los Angeles            CA           90045-2679
    LS ANDERSON REPRODUCTIONS
    INC                                                                    2900 FAULKLAND ROAD                                                            WILMINGTON             DE           19808-2514
    LU RAY PUBLISHING CORP                                                 18379 INVERRARY CIRCLE           ATTN RAYMOND SERWAY                           LEESBURG               VA           20176-3956
    LUANA L DAVILA RIVERA                                                  P O BOX 599                                                                    TOA ALTA               PR           00954-0599
    LUANNE M MASPERO ROSS                                                  6200 BIG OAK HOLLOW                                                            AUSTIN                 TX           78750
    LUBBOCK CHRISTIAN UNIVERSITY                                           5601 W 19TH ST                                                                 LUBBOCK                TX           79407
    LUBBOCK COOPER INDEPENDENT
    SCH DIST                                WEST ELEMENTARY                10101 FULTON AVE                                                               LUBBOCK                TX           79424
    LUBBOCK COOPER INDEPENDENT
    SCH DIST                                LUBBOCK-COOPER NORTH ELEM      3202 108TH                                                                     LUBBOCK                TX           79423
    LUBBOCK COOPER INDEPENDENT
    SCH DIST                                                               10101 FULTON AVE                                                               LUBBOCK                TX           79424
    LUBBOCK COOPER INDEPENDENT
    SCH DIST                                                               3202 108TH                                                                     LUBBOCK                TX           79423
    LUC DEMERS                                                             13 HEATHER LANE                                                                FALMOUTH               ME           04105
    LUC NOVOVITCH                                                          165 FOX LANE                                                                   COOKEVILLE             TN           38506
    LUCA TROVATO                                                           1421 MOUNTAIN AVE                                                              SANTA BARBARA          CA           93101
    LUCAS BAGNELL LLC                                                      18 KINGS HWY NORTH                                                             WESTPORT               CT           06880
    Lucas J Anderson                                                       69 Walnut St                                                                   Watertown              MA           02472
    Lucia Mar Unified School Dist                                          602 Orchard Street                                                             Arroyo Grande          CA           93420
    LUCIA MICELI DESIGN                                                    3 PACKINGTON PLACE                                                             PRAHAN                 Victoria     03181        Australia
    LUCIANA NAVARRO POWELL                  dba LUCIANA ILLUSTRATION       828 SANTA RUFINA DRIVE                                                         SOLANA BEACH           CA           92075
                                                                           6947 COAL CREEK PKWY SE, STE
    LUCID8 LLC                                                             334                                                                            NEWCASTLE              WA           98059-3159
    LUCIE RENAUD                                                           5224 PONSARD                                                                   MONTREAL               QC           H3W 2A8      Canada
    LUCIEN STRYK                                                           13000 W HEIDEN CIRCLE # 3310                                                   LAKE BLUFF             IL           60044
    Lucille Belmonte Paladino                                              1517 W. Granville Ave.                                                         Chicago                IL           60660
    LUCILLE CARON                                                          808 SPRAY AVENUE                                                               BEACHWOOD              NJ           08722
    Lucille Cornick                                                        4624 Villager Trail                                                            Flowery Branch         GA           30542
    LUCILLE STRATTON                                                       P O BOX 340                                                                    BEECHGROVE             TN           37018
    Lucinda Olson                                                          884 Manchester Course                                                          Geneva                 IL           60134
    Lucki, Anthony
    Lucki, Donna
    Lucky Strike Lanes & Lounge                                            500 16th Street                  Suite 340                                     Denver                 CO           80202
    LUCKY STRIKE PHILADELPHIA                                              1336 CHESNUT STREET                                                            PHILADELPHIA           PA           19107
    LUCY CALKINS                                                           18 PELHAM LANE                                                                 RIDGEFIELD             CT           06877
    Lucy Demarco                                                           238 NORTH BEACON ST                                                            WATERTOWN              MA           02172
    LUCY DOS PASSOS COGGIN                                                 619 MAPLE AVENUE                                                               RICHMOND               VA           23226
    LUCY LESIAK DESIGN                      575 W MADISON ST               SUITE 2809                                                                     CHICAGO                IL           60661
    LUCY WEST                                                              165 PARK ROW 18A                                                               NEW YORK               NY           10038
    LUDENCE A ROMNEY                                                       PO BOX 502012                                                                  ST THOMAS              VI           00805
    LUDINGTON MIDDLE SCHOOL                                                19355 EDINBOROUGH RD                                                           DETROIT                MI           48219-2727

    LUDLOW MUSIC INC                        C/O THE RICHOMND ORGANIZATION 266 WEST 37TH STREET 17th FLOOR                                                 NEW YORK               NY           10018
    LUDLUM MARGARET D                                                     307 1/2 SOUTH PINE STREET                                                       ELLENSBURG             WA           98926
    Ludmila Whipple                                                       5140 Conroy Rd                  Apt 813                                         Orlando                FL           32811
    Luigi Dattilo                                                         715 Mensching Road                                                              Roselle                IL           60172
    LUIS A VAZQUEZ TORRES                   BAYAMON CORDEU STATION        P O BOX 3534                                                                    BAYAMON                PR           00958
                                                                                                                                                          SANTA CATARINA NUEVO
    LUIS ALBERTO MARTINEZ-LLAMAS            BOSQUES DE CIPRESES 624        COL BOSQUES DEL PONIENTE                                                       LEON CP                Nuevo Leon   66350        Mexico
    LUIS ALBERTO URREA                                                     516 MILLCREEK LANE 6S                                                          NAPERVILLE             IL           60540
    Luis C Rosas                                                           612 Willow Brook Way                                                           El Paso                TX           79922
    LUIS CACERES                                                           400 PASEO DEL SOL APT 201                                                      MAYAGUEZ               PR           00682-7860
    Luis Hurtado                                                           2464 GOLF RIDGE CIR                                                            NAPERVILLE             IL           60563
    LUIS M HERNANDEZ COBIAN                 ER-93 VIA GARAMADA             ENTRERIOS ENCANTADA                                                            TRUJILLO ALTO          PR           00976
                                                                           487 VILLAS DE HATO TEJAS APT
    LUIS M PIZARRO MALDONADO                                               11402                                                                          BAYAMON                PR           00959
    Luis M. Arroyo                                                         2736 N. Parkside                                                               Chicago                IL           60639
    LUIS R NEGRON                                                          390 FELLSWAY WEST #5B                                                          MEDFORD                MA           02155

    LUIS RICARDO FRAGA                                                     6209 GREENWOOD AVENUE NORTH                                                    SEATTLE                WA           98103
    Luis Schimmel                                                          163 Price Dr.                                                                  Lewisville             TX           75067
    Luis Zapata                                                            5515 Deepdale Drive                                                            Orlando                FL           32821
    LUISA DUERR                                                            935 ZEGGERT ROAD                                                               ENDICOTT               NY           13760
    LUISE L WHITE                                                          623 SW 21 AVE                                                                  GAINESVILLE            FL           32601
    LUISE M ERDMANN                                                        159 APPLETON STREET                                                            CAMBRIDGE              MA           02138



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                   269 of 488                                                                                          1:26 PM
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                                                                                                                         First Class Service List


                CreditorName                          CreditorNoticeName                    Address1                          Address2              Address3             City           State       Zip      Country
    LUKE DITTRICH                                                             390 BROADWAY                                                                     CAMBRIDGE           MA           02139
    LUKE KELLER                                                               PO BOX 245                                                                       ETNA                NY           13062
    Luke Wigand                                                               4240 n richmond                   unit B                                         Chicago             IL           60618
    LUKEMAN LITERARY MGMT LTD                                                 157 BEDFORD AVENUE                ATTN NOAH LUKEMAN                              BROOKLYN            NY           11211
    LULA WILLIAMS                                                             3854 CREST DRIVE                                                                 HEPHZIBAH           GA           30815
    LUMMI INDIAN BUSINESS COUNCIL                                             2616 KWINA ROAD                                                                  BELLINGHAM          WA           98226
    LUNDGREN MARY BETH                                                        487 NE 4TH AVENUE                                                                CAPE CORAL          FL           33909
    Lundquist Associates                                                      2955 S. Tejon Street                                                             Englewood           CO           80110
    LUNENBURG SCHOOL DISTRICT                                                 2720 RIVER ROAD                                                                  GILMAN              VT           05904
    LUNGE-LARSEN LISE                                                         2011 LAKEVIEW DR                                                                 DULUTH              MN           55803
    LUPUS FOUNDATION OF AMERICA
    INC                                                                       P O BOX 418629                                                                   BOSTON              MA           02241-8629
    LURIA DIGITAL LLC                                                         199 MAIN STREET, STE 207                                                         WHITE PLAINS        NY           10601
    LUTHER COLLEGE BOOKSTORE                CENTENNIAL UNION BLDG             700 COLLEGE DR                                                                   DECORAH             IA           52101
    LUTHERAN EDUCATION
    ASSOCIATION                                                               7400 AUGUSTA ST                                                                  RIVER FOREST        IL           60305
    LUTHERAN SOCIAL SERV NY                                                   475 RIVERSIDE DRIVE                                                              NEW YORK            NY           10115
    LUTHERAN UNIVERSITY
    ASSOCIATION INC                         VALPARAISO UNIVERISTY             1700 CHAPEL DR                                                                   VALPARAISO          IN           46383
    LUX THOMAS                                                                201-C 5TH ST. NE                                                                 ALTANTA             GA           30308
    LUXNER NEWS INC                                                           PO BOX 1345                                                                      WHEATON             MD           20915
    Luz Barajas                                                               122 Warwick Drive                                                                Glendale Heights    IL           60139
    LUZ FONSECA-POLANCO                                                       4128 W GEORGE                                                                    CHICAGO             IL           60641
    Luz Vaughn                                                                1911 Passiflora Lane                                                             St Cloud            FL           34771
    LUZMARIE ALVAREZ                                                          5607 RANDON RD                                                                   HOUSTON             TX           77091
    LVJUSD                                  Accounts Payable                  685 E. Jack London Blvd.                                                         Livermore           CA           94551-6514
                                            RE The Riverside Publishing Company,
    Lybeck & Murphy, LLP                    Plaintiff                            Lory R. Lybeck, Esq.           7525 SE 24th Street, Suite 500                 Mercer Island       WA           98040
    Lydia B Paine                                                                2 Cushing Road                                                                Wellesley           MA           02481
    Lydia L Schonback                                                            2021 Pepper Valley Dr.                                                        Geneva              IL           60134
    LYDIA M CAMACHO CAPO                    REPARTO MATROPOLITANO                C/62 # 1204                                                                   SAN JUAN            PR           00921
    LYDIA M LUNNING                                                              1562 E OLIVE WAY # 204                                                        SEATTLE             WA           98102
    LYDIA STACK                                                                  437 BARTLETT STREET                                                           SAN FRANCISCO       CA           94110
    LYDIA T GONZALEZ                                                             5700 ARLINGTON AVE                                                            BRONX               NY           10471
    LYLL BECERRA DE JENKINS LLC                                                  218 POST OAK ROAD              ATTN ALEXANDRA J JENKINS                       CHARLOTTE           NC           28270
    LYMAN HUNT                                                                   315 SHORE ROAD                                                                BURLINGTON          VT           05401-2631
    Lyn A Klages                                                                 1575 Seymour Lake Rd.                                                         Oxford              MI           48371
    LYN LIFSHIN                                                                  2719 BARONHURST DR                                                            VIENNA              VA           22181
    Lynch School of Education               Andrew Hargreaves                    140 Commonwealth Avenue        Boston College/Campion Hall                    Chestnut Hill       MA           02467-3818
    Lynda Brush                                                                  54 Lacosta Drive                                                              Annandale           NJ           08801
                                            DBA MCMURRAY EDITORIAL
    LYNDA C MCMURRAY                        SERVICES LLC                         6926 SE 34TH ST                                                               MERCER ISLAND       WA           98040
    LYNDA CAMPFIELD                                                              527 23RD AVENUE APT 11F                                                       OAKLAND             CA           94606
    LYNDA L GARRETT                                                              135 MARTIN ROAD                                                               ST AUGUSTINE        FL           32086
    Lynda Lee West                                                               6341 Crosswoods Drive                                                         Falls Church        VA           22044
    LYNDA WEST                                                                   9502 WINCHESTER                                                               AUSTIN              TX           78733
    LYNDA.COM INC                                                                6410 VIA REAL                                                                 CARPINTERIA         CA           93013
    LYNDOL MARIE DESCANT                                                         6126 GLENHILL                                                                 SPRING              TX           77389
    Lyndsay Calusine                                                             22 Beechcroft St               Apt 2                                          Brighton            MA           02135
    Lynette McLeod                                                               2420 Carter Rd                                                                Moscow Mills        MO           63362
    LYNETTE R. COOK                                                              371 WILLITS STREET                                                            DALY CITY           CA           94014
    LYNETTE V DIEDRICH                                                           1103 COUNTY P                                                                 GRATIOT             WI           53541
    Lynn Baldridge                                                               172 Medford Street                                                            Arlington           MA           02474
    LYNN BAUMGARTNER                                                             18383 6TH AVE NE                                                              POULSBO             WA           98370
    LYNN BLOOM                                                                   70 SOUTHWORTH DR                                                              ASHFORD             CT           06278-1563
    Lynn Buchholz                                                                30789 State Route 23                                                          Genoa               IL           60135
    LYNN C FRANKLIN ASSOCIATES                                                   1350 BROADWAY SUITE 2015                                                      NEW YORK            NY           10018
    LYNN CANNICI                                                                 32 PEMBERTON ST                                                               CAMBRIDGE           MA           02140
    Lynn Clark                                                                   3475 Sunset Avenue                                                            Mims                FL           32754
    Lynn D. Berntson                                                             160 JACKSON CREEK DRIVE                                                       JACKSONVILLE        OR           97530
    Lynn Diers                                                                   1508 E. Lillian Avenue                                                        Arlington Heights   IL           60004
    Lynn E Buchholz                                                              30789 State Route 23                                                          Genoa               IL           60135
    Lynn E Donnelly                                                              232 Winchester Street          Unit 2                                         Brookline           MA           02446
    Lynn Fletcher                                                                158 Robbins Road                                                              Arlington           MA           02474
    Lynn Guy                                                                     P.O. Box 9519                                                                 St. Thomas          VI           00801
    Lynn Harrington                                                              1129 DENMARK RD                                                               DENMARK             ME           04022
    Lynn Hastings                                                                108 Wilson Dr.                                                                Lincoln             PA           19352
    LYNN HAYWARD SHELTON                                                         1501 PENNYCRESS LANE                                                          VIENNA              VA           22182
    Lynn Hildebrandt                                                             4890 Chipping Camden                                                          Okemos              MI           48864
    LYNN HOCKENBERRY                                                             75444 HAMBURG RD                                                              ANITA               IA           50020



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                        270 of 488                                                                                1:26 PM
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                                                                                                                         of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                       Address2              Address3                 City        State       Zip              Country
    LYNN HOLCOMB                                                           51 CARMEN HILL ROAD #1                                                         NEW MILFORD          CT           06776
    Lynn Howard, LLC                        Lynn Freeman Howard            PO Box 972                                                                     Huntersville         NC           28070
    Lynn Johnson                                                           1529 Oakton                                                                    Evanston             IL           60202
    Lynn M. Fletcher                                                       158 Robbins Road                                                               Arlington            MA           02476
    Lynn M. Williams                                                       2377 PRAIRIE GROVE RD.                                                         VALLEY VIEW          TX           76272
    LYNN MCKINSEY                                                          7561 OCEANLINE DRIVE                                                           INDIANAPOLIS         IN           46214
    LYNN MUNSINGER                                                         PO BOX 271                                                                     KILLINGTON           VT           05751
    LYNN ONKEN                              SAN JUAN COLLEGE               5420 FAIRWAY DRIVE                                                             FARMINGTON           NM           87402
    Lynn Peterson                                                          428 E. Carpenter Drive                                                         Palatine             IL           60074
    Lynn Pitcavage                                                         164 Turkey Hill Lane                                                           Hingham              MA           02043
    LYNN RHODES                                                            1895 DUDLEY STREET                                                             LAKEWOOD             CO           80215
    Lynn Richardson                                                        8915 East County Highway 30A                                                   Panama City Beach    FL           32413
    LYNN RUBRIGHT                                                          719 CRAIGWOODS DR                                                              KIRKWOOD             MO           63122
    LYNN SIPENUK                                                           P O BOX 91 WENE ISLAND                                                         CHUUK                             96942        Micronesia
    LYNN TRUE                                                              166 WEST 22ND STREET # 6E                                                      NEW YORK             NY           10011
    LYNN UNIVERSITY                         BOOKSTORE                      3601 N MILITARY TRAIL                                                          BOCA RATON           FL           33431
    LYNN WOODWARD                           DBA WOODWARD CREATIVE          P O BOX 444                                                                    SISTERS              OR           97759
    Lynne B Newberger                                                      1705 South Blvd                                                                Evanston             IL           60202
    LYNNE CHERRY                                                           P O BOX 127                                                                    THURMONT             MD           21788
    LYNNE CHRISTENSEN                                                      160 CONGRESS STREET                                                            BROOKLYN             NY           11201
    Lynne Costa                                                            19 Lynch Lane                                                                  Kittery Point        ME           03905
    LYNNE COX                                                              115 WEST 29TH STREET                                                           NEW YORK             NY           10001
    Lynne D Norman                                                         2760 Ponderosa Circle                                                          Chamblee             GA           30033
    LYNNE E JAFFE                                                          2825 E FLORENCE DRIVE                                                          TUCSON               AZ           85716-1809
    Lynne Polvino                                                          60-69 Putnam Avenue            First Floor                                     Ridgewood            NY           11385
    Lynne Rubino                                                           6613 Nautical Drive                                                            Lakewood Ranch       FL           34202
    LYNNE S ONEIL                                                          115 NORTH MAIN ST                                                              ASSONET              MA           02702
    Lynne Weiss                                                            40 Greenleaf Avenue                                                            Medford              MA           02155
    Lynnette Malone                                                        792 Honeysuckle Ln                                                             Aurora               IL           60506
    LYNNETTE R BRENT                                                       1126 VILLAGE CENTER PKWY #3                                                    AURORA               IL           60506
    LYON COUNTY SCHOOL DISTRICT             DAYTON HIGH SCHOOL             335 OLD DAYTON VALLEY RD                                                       DAYTON               NV           89403
    LYON LOIS D                                                            96 MT HARMONY RD                                                               BERNARDSVILLE        NJ           07924
    LYON STEVE                                                             913 MAYWICK DRIVE                                                              LEXINGTON            KY           40504
    Lyons & Sanders Chartered
    LYONS & SANDERS CHARTERED                                              1301 E BROWARD BLVD, STE 220                                                   FT LAUDERDALE        FL           33301
    LYRASIS                                                                P O BOX 116179                                                                 ATLANTA              GA           30368-6179
    Lysette Pham                                                           970 Arlon Rd                                                                   Aurora               IL           60506
    LYSLEY TENORIO                                                         1205 10TH AVE, #1                                                              SAN FRANCISCO        CA           94122
    LYUBOMIR DETCHKOV                                                      111-E MOSHOLU PKWY N 4K                                                        BRONX                NY           10467
    M & B CATERING INC                                                     6350 SADDLE RIDGE RD                                                           TROY                 MO           63379
    M & D CONCRETE INC                                                     698 LINNS MILL ROAD                                                            TROY                 MO           63379
    M & H IDEAS INC                                                        16 VERANDAH PLACE              ATTN MARJORIE FRANK                             BROOKLYN             NY           11201
    M & H IDEAS INC                                                        16 VERANDAH PLACE                                                              BROOKLYN             NY           11201
    M & R CONSULTANTS
    CORPORATION                                                            165 BEDFORD ST STE 9                                                           BURLINGTON           MA           01803-2753
    M AND M INC                                                            3905 STATE ST # 7-213                                                          SANTA BARBARA        CA           92105
    M AND S PRESS INC                                                      PO BOX 2594                                                                    PROVIDENCE           RI           02906-0594
    M COLLEEN CRUZ                                                         36 ST MARKS PLACE #1                                                           BROOKLYN             NY           11217

    M ELIZABETH CAREY FAMILY TRUST                                         2986 MORLEY ROAD                                                               SHAKER HEIGHTS       OH           44122
    M JANINE SCOTT                                                         3205 COCKRELL AVENUE                                                           FORT WORTH           TX           76019
    M K EMERY                                                              4828 19TH STREET                                                               SAN FRANCISCO        CA           94114
    M M MUKHI & SONS                                                       140 DR D N RD, P O BOX 905                                                     MUMBAI - BOMBAY                   400 001      India
    M PATRICIA LYNCH                                                       P O BOX 634                                                                    GLEN ECHO            MD           20812
    M RUTH DAVENPORT                                                       2109 OAK ST                                                                    LA GRANDE            OR           97850
    M SARAH KLISE                                                          2830 8TH STREET                                                                BERKELEY             CA           94710

    M SHANKEN COMMUNICATIONS INC ATTN MICHAEL BATTERBERRY                  387 PARK AVE SOUTH                                                             NEW YORK             NY           10016
    M T ANDERSON                                                           77 MARTIN STREET 45                                                            CAMBRIDGE            MA           02138
    M VENTURES LLC                 DBA WINGATE BY WINDHAN                  5252 AIRWAY BLVD                                                               MISSOULA             MT           59808
    M ZION SECURITY SYSTEMS CORP                                           21 MURRAY STREET                                                               NEW YORK             NY           10007
    M. Collette Molloy                                                     84 York Avenue                                                                 Saratoga             NY           12866
    M. Melissa Greene                                                      2535 ALEXANDRIA MOWS                                                           WATERTOWN            NY           13601
    M.Keith Resseau                                                        2633 Old Norcross Rd.                                                          Tucker               GA           30084
    M.L. Hanson, Consultant to Man                                         14205 East Layton Drive                                                        AURORA               CO           80015
    MA LIPING                                                              3641 ARBUTUS AVE                                                               PALO ALTO            CA           94303
    MA/ME QTIP MAR TR U/T 1972 AM
    GLEASON TR                                                             110 LARCHWOOD DRIVE            C/O JEAN BERKO GLEASON                          CAMBRIDGE            MA           02138
    MAARTEN DOLK                   FREUDENTHAL INSTITUTE                   M DOLK POSTBUS 9432                                                            UTRECHT                           3506 GK      Netherlands
    MAASS                                                                  100 RIVER RIDGE COURT                                                          BURNSVILLE           MN           55337



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   271 of 488                                                                                         1:26 PM
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                                                                                                                       of 519
                                                                                                                 First Class Service List


              CreditorName                            CreditorNoticeName                Address1                      Address2                         Address3                     City        State       Zip              Country
    MABEL O RIVERA                                                         3714 WALDEN DRIVE                                                                          PEARLAND             TX           77584
    MAC PUBLISHING INC                      DBA MACWORLD                   P O BOX 3842                                                                               BOSTON               MA           02241
    MACALLISTER MACHINERY CO INC                                           P O BOX 660200                                                                             INDIANAPOLIS         IN           46266-0200
    MACDONALD AMY                                                          10 WINSLOW RD                                                                              FALMOUTH             ME           04105
    MACGINITIE WALTER H                                                    PO BOX 1789                                                                                FRIDAY HARBOR        WA           98250
    MACGREGOR MARIE                                                        2037 OAKWOOD LN                                                                            DUARTE               CA           91010
    MACGREGOR MARTIN                                                       856 REEF POINT DR                                                                          RODEO                CA           94572
    MACINTYRE MARSHALL ROBINA               GLOUCESTER HOUSE               18 SAINT THOMAS STREET                                           RYDE                      Isle of Wight                     P033 2DL     United Kingdom
    MACK THE ICE MAN                                                       502 E CLEMENTS BRIDGE ROAD                                                                 RUNNEMEDE            NJ           08078
    MACKAIN BONNIE                                                         3030 MONTROSE AVE APT 214                                                                  LA CRESCENTA         CA           91214
    MACKEY DAPHNE                                                          29411 SEVENTH AVE SW                                                                       FEDERAL WAY          WA           98023-3524
    MACLEISH A BRUCE                                                       31 WALNUT STREET                                                                           NEWPORT              RI           02840
    MACLEISH KENNETH I                                                     3224 WYNCROFT PLACE                                                                        NORCROSS             GA           30071
    MACLEISH WILLIAM                                                       344 MOUNTAIN ROAD                                                                          CHARLEMONT           MA           01339
    MACMILLAN CHILDRENS BOOK                                               20 NEW WHARF ROAD                                                                          LONDON                            N1 9RR       United Kingdom
    MACMILLAN CHILDRENS BOOKS                                              20 NEW WHARF ROAD                                                                          LONDON                            N1 9RR       United Kingdom
    MACMILLAN CHILDRENS BOOKS                                              BRUNEL RD HOUNDMILLS                                                                       BASINGSTOKE          Hampshire    RG21 6XS     United Kingdom

    MACMILLAN EDUCATION AUSTRALIA           DISTRIBUTION SERVICES          56 PARK WEST DRIVE                                                                         DERRIMUT             Victoria     03030        Australia
    MACMILLAN PUBLISHERS                                                   BRUNEL ROAD                    ROYALTY DEPT                      HOUNDMILLS, BASINGSTOKE   HANTS                             RG21 6XS     United Kingdom
    MACMILLAN PUBLISHERS HOLDINGS
    LLC                                     DBA ST MARTINS PRESS           PO BOX 933245                                                                              ATLANTA              GA           31193
    MACMILLAN PUBLISHERS LTD                                               20 NEW WHARF ROAD                                                                          LONDON                            N1 9RR       United Kingdom
    MACMILLAN PUBLISHERS LTD                                               BRUNEL ROAD                                                                                BASINGSTOKE          Hampshire    RG21 6XS     United Kingdom
    MACMILLAN PUBLISHERS LTD                                               BRUNEL ROAD HOUNDSMILLS                                                                    BASINGSTOKE          Hampshire    RG21 6XS     United Kingdom
    MACMILLAN PUBLISHERS LTD                                               HOUNDMILLS                                                                                 BASINGSTOKE          HAMPSHIRE    RG21 2XS     United Kingdom
    MACMILLAN PUBLISHERS LTD                                               175 FIFTH AVE                                                                              NEW YORK             NY           10010
    MACNEIL LEHRER PRODUCTIONS                                             2700 S QUINCY STREET STE 250                                                               ARLINGTON            VA           22206
    MACON COUNTY BOARD OF                   SOUTH MACON ELEMENTARY
    EDUCATION                               SCHOOL                         855 ADDINGTON BRIDGE RD                                                                    FRANKLIN             NC           28734
    MACON STATE COLLEGE                     BOOKSTORE                      100 COLLEGE STATION DRIVE                                                                  MACON                GA           31206-5145
    MADCP FRANKLIN & MARSHALL
    COLLEGE                                                                P O BOX 3003                   BUSINESS OFFICE                                             LANCASTER            PA           17604
    MADDEN MATTHEW J                                                       517 47TH ST FLOOR 2                                                                        BROOKLYN             NY           11220
    Madeleine Wong                                                         6 Caroline Dr.                                                                             Milton               MA           02186
    Madeleine Y. Wong                                                      6 Caroline Dr.                                                                             Milton               MA           02186
    Madelin Rodriguez                                                      17 Orchard Street                                                                          Randolph             MA           02368
    MADELINE DIAZ                                                          HC 03 BOX 8120                                                                             GUAYNABO             PR           00971
    MADELINE GRIMOLDI                                                      CASELLA POSTALE 207                                                                        S.SILVESTRO          Rome         00100        Italy
    Madeline Ling                                                          13 Milne Cove Rd.                                                                          Carlisle             MA           01741
    MADELINE W HAMBLIN                                                     1719 E 54TH ST                                                                             CHICAGO              IL           60615

    MADERA UNIFIED SCHOOL DISTRICT ATTN SPECIAL SERVICES                   1902 HOWARD ROAD                                                                           MADERA               CA           93637
    Madigan Talmage-Bowers                                                 2632 Blake Street              #503                                                        Denver               CO           80205
    MADISON AREA TECHNICAL
    COLLEGE                                                                3550 ANDERSON STREET                                             PO BOX 14316              MADISON              WI           53704
    Madison CUSD #12                                                       602 Farrish Street                                                                         Madison              IL           62060
    MADISON IMAGES INC                                                     3 TYNAN WAY                                                                                PORTOLA VALLEY       CA           94028-7220
    MADISON LIBRARY DISTRICT                                               73 NORTH CENTER                                                                            REXBURG              ID           83440
    MADISON METROPOLITAN SCHOOL
    DISTRICT                                                               565 W DAYTON ST                                                                            MADISON              WI           53703
    MADISON NYE                                                            806 S MAIN AVE                                                                             SAN ANTONIO          TX           78204
    MADISON PARISH                                                         301 S CHESTNUT STREET                                                                      TALLULAH             LA           71282
    MADISON PARISH SCHOOL BOARD SALES AND USE TAX                          P O BOX 1620                                                                               TALLULAH             LA           71284-1620
    MADISON PRESS LTD                                                      1000 YONGE STREET SUITE 303                                                                TORONTO ONTARIO                   M4W 2K2      Canada
    MADISON SCHOOL DISTRICT 321                                            290 N 1ST E                                                                                REXBURG              ID           83440
    Mae Leung Sorbo                                                        9n818 Bowes Bend                                                                           Elgin                IL           60124
    MAE VIVIAN CIESKOWSKI                                                  801 HALULA PLACE                                                                           KAILUA               HI           96734
    MAESTRO BETSY C                                                        1188 VERDE SANTA FE PKWY                                                                   CORNVILLE            AZ           86325
    MAESTRO GIULIO                                                         1188 VERDE SANTA FE PKWY                                                                   CORNVILLE            AZ           86325
    MAGDA BOGIN                                                            425 RIVERSIDE DRIVE                                                                        NEW YORK             NY           10025
    Magda Prokopinska                                                      8724 Wood Stork Dr                                                                         Austin               TX           78729
    MAGDALENA GOMEZ                                                        P O BOX 80836                                                                              SPRINGFIELD          MA           01138
    Magdalena Torres                                                       12 Curtmar Ct                                                                              Montgomery           IL           60538
    MAGELLAN FOUNDATION            ATTN SUSAN JARONSKI                     8 AIRPORT PARK BLVD                                                                        LATHAM               NY           12110
    Maggianos Little Italy                                                 7401 Clinton Street                                                                        Englewood            CO           80112-3655
    MAGGIANOS LITTLE ITALY                                                 9101 INTERNATIONAL DRIVE                                                                   ORLANDO              FL           32819
    MAGGIE BYER-SPRINZELES                                                 5800 ARLINGTON AVE 16-C                                                                    RIVERDALE            NY           10471
    Maggie Demont                                                          92 Waltham Street              #2                                                          Boston               MA           02118
    MAGGIE SWANSON                                                         147 EAST ROCKS RD                                                                          NORWALK              CT           06851



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                272 of 488                                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                 CreditorName                         CreditorNoticeName                 Address1                          Address2              Address3               City        State       Zip              Country

    MAGI PUBLICATIONS                                                      1 THE CODA CTR, 189 MUNSTER RD                                                   LONDON                          SW6 6AW      United Kingdom
    MAGIC EYE INC                                                          P O BOX 1986                                                                     PROVINCETOWN       MA           02657
    MAGIC JOHNSON ENTERTAINMENT
    INC                                                                    9100 WILSIRE BLVD, # 700EAST                                                     BEVERLY HILLS      CA           90212
                                   9TH FLOOR TOWER C TECH
    MAGIC SOFTWARE PRIVATE LIMITED BOULEVARD                               PLOT NO 6 SECTOR 127                                                             NOIDA UP                        201301       India

    MAGNOLIA BOTTLED WATER CO INC                                          P O BOX 1824                                                                     COLUMBUS           MS           39703
    MAGNOLIA CONSULTING LLC                                                5135 BLENHEIM ROAD                                                               CHARLOTTESVILLE    VA           22902
    MAGNOLIA EDUCATIONAL
    ENRICHMENT                              FOUNDATION                     2705 WEST ORANGE AVE                                                             ANAHEIM            CA           92804
    MAGNOLIA SCHOOL DISTRICT                                               2705 W ORANGE AVE                                                                ANAHEIM            CA           92804
    MAGNUM PHOTOS                                                          151 WEST 25TH STREET                                                             NEW YORK           NY           10001-7257
    MAGNUS.NET LLC                                                         1 WALLEN WAY                                                                     MIDDLETON          MA           01949
    MAGOON SCOTT                                                           350 FRANKLIN ST                                                                  READING            MA           01867
    MAHAN & HENNESSEY
    CONSULTANTS                             220 LOUDON RD                  PMB 128                                                                          CONCORD            NH           03301
    MAHIN MICHAEL                                                          2809 ATADERO COURT                                                               CARLSBAD           CA           92009
    MAHONEY DANIEL J                                                       15 CARDINAL AVE                                                                  ALBANY             NY           12208
    Mahoney, Nancy Grant
    MAIA PATILLO                                                           1201 GARDNER AVENUE                                                              ANN ARBOR          MI           48104
    MAILCO INC.                                                            509 STEVENS STREET                                                               GENEVA             IL           60134
    MAIN STREET REPS INC                                                   P O BOX 280                                                                      ANDOVER            MA           01810
    MAINE ADULT EDUCATION
    ASSOCIATION                             ATTN TIM DRESSER               25 KEELSON DRIVE                  FIVE TOWN CSD ADULT EDUCATION                  ROCKPORT           ME           04856
    MAINE ASCD                                                             50 REPUBLIC AVENUE                                                               TOPSHAM            ME           04086
    MAINE COUNCIL FOR ENGLISH
    LANGUATE ARTS                                                          100 BROADWAY                                                                     BANGOR             ME           04401
    MAINE COUNCIL SOCIAL STUDIES            C/O BETSY FITZGERALD           447 VASSALBON ROAD                                                               SOUTH CHINA        ME           04358
    Maine Dept of Revenue                   Attn Paula Thomas              PO Box 9113                                                                      Augusta            ME           04332-9113
    MAINE ESL                               ATTN INA DEMERS                1600 FOREST AVE                                                                  PORTLAND           ME           04103
    MAINE PRINCIPALS ASSOCIATION                                           PO BOX 2468                                                                      AUGUSTA            ME           04330
    MAINE PROOFREADING SERVICES             ATTN DEBBIE LEIGHTON           55 LISBON ST P O BOX 382                                                         LEWISTON           ME           04240
    Maine Revenue Services                                                 PO Box 1062                                                                      Augusta            ME           04332-1062
    MAINE SCHOOL ADMIN DISTRICT #
    60                                                                     P O BOX 819                                                                      NORTH BERWICK      ME           03906
    MAINE SCHOOL ADMIN DISTRICT NO
    75                                      ATTN MR WILHELM                50 REPUBLIC AVENUE                                                               TOPSHAM            ME           04086
    MAINE SCIENCE TEACHERS
    ASSOCIATION                             ATTN LAURETTE DARLING          P O BOX 352                                                                      KENTS HILL         ME           04349-0352
    MAINELY MATH                                                           30 MAJORS CT                      ATTN MABELLE (MIKI) MURRAY                     PORTLAND           ME           04103-3560
    MAINLINE INFORMATION SYSTEMS
    INC                                                                    DEPT # 1659, P O BOX 11407                                                       BIRMINGHAM         AL           35246-1659
    MAINS MINI STORAGE LLC                                                 18771 PARTELLO ROAD                                                              MARSHALL           MI           49068
    MAINSTREAM DATA INC                     DBA NEWSCOM SERVICES INC       375 CHIPETA WAY SUITE B                                                          SALT LAKE CITY     UT           84108
    Maire Daly                                                             613 W. Briar Place                Apt. 2                                         Chicago            IL           60657
    Maire Gorman                                                           76 Child St.                                                                     Jamaica Plain      MA           02130
    MAIREAD CASE                                                           706 W 17TH STREET #2                                                             CHICAGO            IL           60616
    MAIRI GRAHAM BRYAN                                                     108 LOVERS LANE                                                                  GUILFORD           CT           06437
    MAITLAND ART & HISTORY ASSN                                            231 WEST PACKWOOD AVENUE                                                         MAITLAND           FL           32751
    MAJA WILSON                                                            11 WEBSTER ROAD APT 41                                                           ORONO              ME           04473
    MAJIC TOUCH INC                                                        3646 CHERBOURG WAY                                                               MARIETTA           GA           30062
    MAJOR & ASSOCIATES INC                  DBA CANA COMMUNICATIONS        3939 ROYAL DRIVE STE 204                                                         KENNESAW           GA           30144
    MAJOR GENERAL GEORGE S
    PATTON                                                                 400 ESSEX STREET, P.O. BOX 5600                                                  BEVERLY FARMS      MA           01915
    MAJOR SAFETY SERVICE INC                                               4500 PATENT ROAD                                                                 NORFOLK            VA           23502
    MAKAWAHI BOOKS & EDUCATIONAL
    SRVS LLC                                                               2029 FOOTHILLS                                                                   LEANDER            TX           78641
    Maki Koto Carman                                                       11 Cliff Street                                                                  Arlington          MA           02476
                                                                                                             ATTN DANIEL POOL - MALAGA BALDI
    MALAGA BALDI                                                           233 WEST 99TH STREET STE 19C      LIT AGEN                                       NEW YORK           NY           10025
    MALAGA BALDI LITERARY AGENCY                                           233 WEST 99TH STREET, 19C                                                        NEW YORK           NY           10025
    MALCOLM DUFF SHELLEY                                                   AMERICA 323 CASI VIA FERREA                                                      LUQUE                                        Paraguay
    MALCOR ROOFING CO                                                      1793 COMMERCE DR PO BOX 1415                                                     MONTGOMERY         IL           60538
    Malesons Stephen Jaques
    MALIKUL VICHAI                                                         11819 GOODLOE ROAD                                                               WHEATON            MD           20906
    Malinda Weed                                                           5530 Metrowest Blvd               #310                                           Orlando            FL           32811
    MALLAN JOHN T                                                          124 EDWARDS FALLS LANE                                                           MANLIUS            NY           13104
    MALLESONS STEPHEN JAQUES                                               600 BOURKE STREET                 LEVEL 50 BOURKE PLACE                          MELBOURNE          Victoria     03000        Australia



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                     273 of 488                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                            of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                           Address2               Address3               City        State       Zip                Country
                                                                                                               37TH FL TWO INTERNATIONAL
    MALLESONS STEPHEN JAQUES                                               8 FINANCE STREET                    FINANCE CTR                                   CENTRAL                                      Hong Kong
    MALLINSON JACQUELINE                                                   4040 GREENLEAF CIRCLE # 201                                                       KALAMAZOO          MI           49008
    MALLOY INCORPORATED                                                    P O BOX 1124                                                                      ANN ARBOR          MI           48106-1124
    MALONE UNIVERSITY BOOKSTORE                                            2600 CLEVELAND AVENUE NW                                                          CANTON             OH           44709
    Maloney, Niall
    MALTERRE ELONA                                                         4905 23RD AVENUE NW                                                               CALGARY            AB           T3B 5A8      Canada
    MALVEYS FLOWER AND GIFTS                                               327 MAIN STREET                                                                   WOBURN             MA           01801
    MAMIE AGNES JONES ELEMENTARY
    PTO                                                                    700 ORANGE AVENUE                                                                 BALDWIN            FL           32234
    MANAGEMENT RECRUITERS OF     FLAGSTAFF INC                             809 W RIORDAN RD #205                                                             FLAGSTAFF          AZ           86001
    MANAGEMENT RESEARCH
    DEVELOPMENT                  AND ASSESSMENT INCORPORATED               4 CENTENNIAL COURT                                                                TOTOWA             NJ           07512
    Manager Of Revenue                                                     P.O. Box 17430                                                                    Denver             CO           80217
    MANATEE ELEMENTARY SCHOOL                                              1609 6TH AVENUE EAST                                                              BRADENTON          FL           34208
    MANCHESTER UNIVERSITY PRESS                                            OXFORD ROAD                                                                       MANCHESTER                      M13 9PL      United Kingdom
    Manda Reid                                                             1481 E Old Settlers Blvd            #1002                                         Round Rock         TX           78664

    MANDATORY POSTER AGENCY                 DBA LABOR LAW POSTER SERVICE   5859 W SAGINAW HWY # 343                                                          LANSING            MI           48917
    MANDILON INC                                                           P O BOX 1418                                                                      FREEDOM            CA           95019
    Mandy L Mayo                                                           138 Jamey Drive                                                                   Rochester          NH           03868
    MANES STEPHEN                                                          2036 34TH AVENUE SOUTH                                                            SEATTLE            WA           98144
    MANFRE EDWARD                                                          6625 BARBER PLACE NE                                                              ALBUQUERQUE        NM           87109
    MANHATTAN ASSOCIATES                                                   P O BOX 405696                                                                    ATLANTA            GA           30384
    Manhattan-Ogden USD 383                 Attn Angie                     2031 Poyntz Avenue                                                                Manhattan          KS           66502
    Manitoba Finance Dept                   Taxation Division              101-401 York Ave                                                                  Winnipeg           MB           R3C 0T8      Canada
    Manko, Clifford
    MANLEY JOAN                                                            601 SEA RANCH COURT # 2                                                           VALLEJO            CA           94591
    Mannys Underground                                                     1836 Blake street                                                                 Denver             CO           80210

    MANSFIELD ISD                           C/O YVONNE DEVAULT             1016 MAGNOLIA STREET ROOM 147                                                     MANSFIELD          TX           76063
                                            DBA WESTERN PSYCHOLOGICAL
    MANSON WESTERN CORPORATION              SERVICES                       625 ALASKA AVENUE                                                                 TORRANCE           CA           90503-5124
    Manuel Cortes                                                          3159 Crestwood Circle               A                                             Saint Cloud        FL           34769
    MANUEL DOS SANTOS                                                      AV SILVA JARDIM 1856 APT 2101                                                     CURITIBA                        80250--200   Brazil
    MANUEL E AQUINO NUNEZ                                                  COND EL GENERALIFE, APT 502                                                       GUAYNABO           PR           00968
    Manuel Muro                                                            707 Bnags Street                                                                  Aurora             IL           60505
    Manuel Reveles                                                         2842 Shelly Lane                                                                  Aurora             IL           60504

    MANYA EDUCATION PVT LTD                                                B-7/2 OKHLA INDUSTRIAL AREA PH II                                                 NEW DELHI                       110020       India
    Mao Nguyen                                                             20 Cottonwood                                                                     Batavia            IL           60510
    MAPLE VAIL                                                             47 PINE CAMP DRIVE                                                                KIRKWOOD           NY           13795
    MAPLE VAIL BOOK MANUFACTURING
    GP                                                                     P O BOX 64554                                                                     BALTIMORE          MD           21264-4554
    MAPLE VAIL BOOK MANUFACTURING
    GROUP                                                                  P O BOX 64554                                                                     BALTIMORE          MD           21264-4554
    MAPLES AND CALDER                                                      75 ST STEPHENS GREEN                                                              DUBLIN 2                                     Ireland
    Maples and Calder
    MAPPING SPECIALISTS LTD                                                3000 CAHILL MAIN STE 220                                                          FITCHBURG          WI           53711
    MAPS.COM                                                               120 CREMONA DRIVE                                                                 SANTA BARBARA      CA           93117
    Mara Hammond Hardee                                                    116 Winding Creek Court                                                           Mt Pleasant        SC           29464
    MARATHON ASSET MANAGEMENT
    Marauder Bookstore            Attn Rita                                3041 West Avenue K                                                                Lancaster          CA           93536
    MARC & LAURIE BROWN INC                                                P O BOX 873                                                                       WEST TISBURY       MA           02575
    Marc A Smith                                                           3402 S. Ascaino Ave.                                                              Meridian           ID           83642
    MARC ARONSON                                                           17 RIDGEWOOD TERRACE                                                              MAPLEWOOD          NJ           07040
    MARC ATKINS                                                            PANOPTIKA / BOURGUERAULT                                                          BILLY CHEVANNES                 58270        France
    Marc Auclair                                                           18 Jacobs Dr                                                                      Rochester          NH           03867
    Marc Cooper                                                            2715 Richcreek Rd                                                                 Austin             TX           78757
    MARC HURWITZ                                                           43 NORFOLK ROAD                                                                   ARLINGTON          MA           02476
    MARC RAEFF                                                             479 KNICKERBOCKER ROAD                                                            TENAFLY            NJ           07670
    MARC SIMONT                                                            336 TOWN STREET                                                                   WEST CORNWALL      CT           06796
    MARC YANKUS                                                            190 WEST 10TH STREET                                                              NEW YORK           NY           10014

    MARCEL SABA                             DBA REDUX PICTURES             11 HANOVER SQUARE 26TH FLOOR                                                      NEW YORK           NY           10005
    MARCH TENTH INC                         ATTN SANDRA CHORON             24 HILLSIDE TERRACE                                                               MONTVALE           NJ           07645
    Marci H Helenthal                                                      404 MACGREGOR ROAD                                                                WINTER SPRINGS     FL           32708
    MARCI K HARDALOUPAS                                                    4525 WEST 100TH PLACE                                                             OAK LAWN           IL           60453
    MARCI RIDLON MCGILL                                                    496 TAM OSHANTER COURT                                                            CINCINNATI         OH           45255
    MARCIA BENNION                          VALLEY VIEW ELEM               1395 S 600 E                                                                      BOUNTIFUL          UT           84010



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      274 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                             282 Matrix
                                                                                                                     of 519
                                                                                                                 First Class Service List


                CreditorName                          CreditorNoticeName               Address1                       Address2                        Address3            City                State       Zip               Country
    MARCIA BRECHTEL                                                        71 OAK TREE LANE                                                                       IRVINE                 CA           92612
    MARCIA BROWN                                                           165-B AVENIDA MAJORCA                                                                  LAGUNA WOODS           CA           92637-4119
    MARCIA CARLSON INDEXING
    SERVICES                                                               4615 NE KILLINGSWORTH ST # 8                                                           PORTLAND               OR           97218
    Marcia Dost                                                            924 Circle                                                                             Forest Park            IL           60130
    Marcia French                                                          PO Box 427                                                                             Alstead                NH           03602
    Marcia Hayden                                                          11180 Cobblfield Rd.                                                                   Wellington             FL           33467
    Marcia Hosni                                                           4835 Northcott                                                                         Downers Grove          IL           60515
    MARCIA J CARTER                                                        554 CALLE VISTA DEL ASTA                                                               ARROYO GRANDE          CA           93420
    Marcia Legru                                                           40 OGILVIE RD.                                                                         MARLBOROUGH            NH           03455
    MARCIA LEONARD                                                         44 SOMMER AVE                                                                          MAPLEWOOD              NJ           07040
    Marcia Lind                                                            2404 Fdc Grove Rd                                                                      Davenport              FL           33837
    Marcia Marjomaa                                                        66 Brook Lane                                                                          Gardner                MA           01440-4241
    Marcia Myers                                                           5715 Greenwood Circle                                                                  Naples                 FL           34112
    Marcia N Lowell                                                        10483 E. Cedarwood Ct.                                                                 Clovis                 CA           93619
    MARCIA ROBERTS                                                         FOR PAUL ROBERTS               VIA CATALANA 10                                         ROME                                00186        Italy
    MARCIA STILLMAN                                                        1118 W BELKNAPP                                                                        NAMPA                  ID           83686
    MARCIA T HORELICK                                                      1702 WESTERN AVE #106                                                                  ALBANY                 NY           12203
    MARCIA VAUGHAN                                                         P O BOX 13351                                                                          BURTON                 WA           98013
    Marcial Garcia                                                         4608 Jenkins Circle                                                                    The Colony             TX           75056
    MARCIE G MORGENSTERN                                                   1559 WEST FIR AVE                                                                      FRESNO                 CA           93711
    MARCIE L MCMAHON                                                       34 BLANDFORD                                                                           FAIR PORT              NY           14450
    Marco Escalante                                                        1255 N. Ashland                2R                                                      Chicago                IL           60622
    Marco Rodriguez                                                        1715 Nelson Ave                3H                                                      Bronx                  NY           10453-7059
    MARCO SIMOLA                            DBA MG CONCEPTOS               BLAS CERDENA 310 DPTO 301                                                              SAN ISIDRO - LIMA 27                             Peru
    MARCUS DAIRY INC                                                       3 SUGAR HOLLOW RD                                                                      DANBURY                CT           06813
    MARCUS GARVEY ACADEMY                                                  2301 VAN DYKE ST                                                                       DETROIT                MI           48214-3958
    Marcus Harston                                                         117 Castle Drive                                                                       Hutto                  TX           78634
    MARCY GOLDBERG SACKS                    dba GOMARMAR                   102 WALLIS RD                                                                          CHESTNUT HILL          MA           02467-3173
    MARCY K BAER                                                           302 MCKINLEY RD                                                                        PORTSMOUTH             NH           03801
    Marcy Keeling                                                          1500 WYNGATE DR                                                                        DELAND                 FL           32724
    MARCY KEELING                                                          612 RAVENSHILL WAY                                                                     DELAND                 FL           32724
    Marcy Rodgers                                                          6255 Spinnaker Drive                                                                   Lewis Center           OH           43035
    MAREK LOS                                                              UL CZERWONEGO KRZYZA 6 M4                                                              WARSZAWA                            00-377       Poland
    Mares Video Productions                                                PO Box 1402                                                                            Castle Rock            CO           80104
    MARGARET A HENDRICKS                                                   2200 GALLOWAY TERRACE                                                                  MIDLOTHIAN             VA           23113
    Margaret A Markarian                                                   27 Lockewood Drive                                                                     Franklin               MA           02038
    MARGARET ANNE BROUCEK                   BROUCEK INK                    50 MAPLE ST                                                                            PORTLAND               ME           04101
    Margaret Anne Miles                                                    58 Summer Street                                                                       Maynard                MA           01754
    MARGARET B HOLTON                                                      3705 JUNONIA COURT                                                                     FORT MYERS             FL           33908
    MARGARET B RUBIN                                                       PO BOX 1116                                                                            ELMIRA                 NY           14902
    Margaret B. West                                                       513 Maestro Terr.                                                                      Silver Spring          MD           20901

    MARGARET BLACKSTONE                                                    41 MADISON AVENUE - 33RD FLOOR c/o THE GERSH AGENCY              ATTN PHYLLIS WENDER   NEW YORK               NY           10010
    Margaret Caldwell                                                      88 Longspine Trail                                                                     Mount Dora             FL           32757
    MARGARET CHODOS IRVINE                                                 3018 45TH AVENUE SW                                                                    SEATTLE                WA           98116
    Margaret Clay                                                          4044 Palisades Main                                                                    Kennesaw               GA           30144
    Margaret Creed                                                         2470 Whispering Maple Dr                                                               Orlando                FL           32837
    MARGARET CROWLEY                                                       9489 UNION ST                                                                          SCOTTSVILLE            NY           14546
    MARGARET CURTIS                                                        1775 MASSACHUSETTS AVE                                                                 CAMBRIDGE              MA           02140
    Margaret DeBoer                                                        1748 Pine Ave                                                                          Winter Park            FL           32789
    Margaret Doherty                                                       2 Hawthorne Place              2m                                                      Boston                 MA           02114
    Margaret Dorry                                                         404 Woodland Hills Road                                                                White Plains           NY           10603
    MARGARET E ANDERSON                                                    R176 GRANITE STREET                                                                    ROCKPORT               MA           01966
    MARGARET E COOK                                                        P O BOX 1193                                                                           MARYLAND HEIGHTS       MO           63043-0193
    MARGARET FLORES                                                        1122 OWENS ROAD                                                                        AUBURN                 AL           36830-2518
    Margaret Frase                                                         320 South Street                                                                       Morristown             NJ           07960
    MARGARET HELEN NOLD                                                    PO BOX 433                                                                             AVON                   NC           27915
    MARGARET HILLERT                                                       31262 HUNTLEY SQU E APT 1224                                                           BIRMINGHAM             MI           48025
    Margaret Hogan                                                         81 Toxteth Street                                                                      Brookline              MA           02146
    MARGARET J MEEKER                                                      274 MCKINLEY ROAD EAST                                                                 TRAVERSE CITY          MI           49686
    MARGARET L WHITE                                                       30 HATHAWAY POND CIRCLE                                                                ROCHESTER              MA           02770
    Margaret L Yebra                                                       PO Box 541                                                                             Bethlehem              GA           30620
    MARGARET LANNAMANN                                                     656 DEN ROAD                                                                           STAMFORD               CT           06903
    Margaret LaRaia                                                        12 Greenbriar Lane                                                                     Amherst                NH           03031
    Margaret Lindstrom                                                     50 N. Illinois St.             #318                                                    Indianapolis           IN           46204
                                            DBA MARGARET LINDMARK
    MARGARET LOUISE LINDMARK                ILLUSTRATION                   45 VIA LA CUMBRE                                                                       GREENBRAE              CA           94904
    Margaret M Bernard                                                     4 Dorset Lane                                                                          Walpole                MA           02032
    MARGARET M SCARBOROUGH                                                 113 DARLEY LANE                                                                        WILMINGTON             NC           28409



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                275 of 488                                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  283 Matrix
                                                                                                                          of 519
                                                                                                                      First Class Service List


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    Margaret Mary Britton                                                  18 George St.                                                                                    Littleton           MA           01460
    Margaret Maxwell                                                       12 Pepperwood Lane                                                                               Pepper Pike         OH           44124
    MARGARET MCALLISTER                                                    9 NOTRE DAME ROAD                                                                                BEDFORD             MA           01730
    MARGARET MCCRORY                                                       COOKSTOWN                       44 BALLINGSOLLOS ROAD                 COUNTY TYRONE              NORTHERN IRELAND                 BT80 9TS     United Kingdom

    MARGARET MCMULLAN                       UNIV OF EVANSVILLE DEPT OF ENG 1800 LINCOLN AVENUE                                                                              EVANSVILLE          IN           47722
    Margaret Melvin                                                        28 Morse Avenue                                                                                  Norwood             MA           02062
    Margaret Miller                                                        4711 Fieldstone Dr.                                                                              Austin              TX           78735
    MARGARET MOONEY                                                        2-7 CLINKER ST                                                                                   MT ROSKILL          Auckland     01004        New Zealand
    MARGARET MOUSTAFA                                                      9782 AVENIDA MONTEREY                                                                            CYPRESS             CA           90630
    Margaret Parant                                                        2 Agnes Way                                                                                      Lakeville           MA           02347
    Margaret Pevec, M.A.                                                   1507 Sidon Circle                                                                                Lafayette           CO           80026
    MARGARET R CHALMERS                                                    P O BOX 26083                                                                                    AUSTIN              TX           78755
    Margaret R Wojton                                                      297 Picture Dr.                                                                                  Pittsburgh          PA           15236
    Margaret Raymo                                                         23 Wedgewood Road                                                                                West Newton         MA           02465
    Margaret Risk                                                          10 Charlesgate East             Apt. 402                                                         Boston              MA           02215
    Margaret Roll                                                          7 Wainright Road Unit #45                                                                        Winchester          MA           01890
    MARGARET RYAN                                                          STRAVITHIE MILL                                                                                  SAINT ANDREWS                    KY16 8LT     United Kingdom
    Margaret Sagan                                                         116 Devonshire Road                                                                              Waban               MA           02468
    Margaret Saull                                                         10813 CONGRESSIONAL CLULB DR                                                                     CHARLOTTE           NC           28277
    Margaret Stamp                                                         1981 SE Tickridge Rd.                                                                            Port St. Lucile     MA           34952
    Margaret T Clarke                                                      204 Perham St                                                                                    W Roxbury           MA           02132
    MARGARET VISSER                                                        6 RUE ALLARD                                                                                     SAINT MANDE                      94160        France
    Margaret Williams                                                      2140 Lilac Lane                 Apt. 201                                                         AURORA              IL           60506
    Margaret Williamson                                                    15700 E. Jamison Drive          UNIT 4-303                                                       Englewood           CO           80112
    MARGARET WIMBERGER                                                     P O BOX 88                                                                                       WILLIAMSVILLE       VT           05362
    Margaret Wiseman                                                       507 Bermuda Ct.                                                                                  Arlington           TX           76011
    Margaret Wood                                                          1677 Highway V                                                                                   Elsberry            MO           63343
                                                                           PRACA PROFESSOR AMERICO DE
    MARGARIDA MARIA MACHADO                                                MOURA 101                                                                                        MORUMBI SAO PAULO                             Brazil
    MARGARITA FOIL                                                         URB PONCE DE LEON                                                                                GUANYNABO           PR           00969
    MARGARITA JIMENEZ                                                      11694 NW 11 STREET                                                                               PEMBROKE PINES      FL           33026
    MARGERY BEDDOW                                                         1674 BROADWAY STE 4B                                                                             NEW YORK            NY           10019
    MARGERY FACKLAM                                                        9690 CLARENCE CENTER ROAD                                                                        CLARENCE CENTER     NY           14032
    MARGERY NIBLOCK                                                        49 QUEBEC STREET                                                                                 PORTLAND            ME           04101
    Margie OHern                                                           24 Fawn Hollow Drive                                                                             Newton              NJ           07860-5455
    MARGIT TRAUTMANN                                                       4278 HWY 63                                                                                      OTTUMWA             IA           52601
    Margo L Dye                                                            3643 42nd Drive                                                                                  Highland            IN           46322
    MARGOT A PLUMADORE                                                     214 S MANNING BLVD                                                                               ALBANY              NY           12208
    MARGOT P LIBERTY TRSTEE                                                1149 PIONEER AVENUE             MPL TRUST DTD 6 4 03                                             SHERIDAN            WY           82801
    MARGOT TOMES                                                           590 JOHNSON LANE                DILYS EVANS                                                      SANTA FE            NM           87505
    MARGRIT HUGENTOBLER                                                    DOLDER STRASSE 88                                                                                ZURICH                           08032        Switzerland
    MARGUERITE FREDERICK                                                   461 RICH AVENUE                                                                                  MOUNT VERNON        NY           10552
    Marguerite J Yanelli                                                   9 Pitman Rd                                                                                      Hampstead           NH           03826
    Marguerite Yanelli                                                     9 Pitman Rd                                                                                      Hampstead           NH           03826
    MARI EVANS PHEMSTER                                                    3137 BROADWAY                                                                                    INDIANAPOLIS        IN           46205
    Mari L. Fedrow                          Intended Outcomes Consulting   33864 Copper Lantern Street                                                                      Dana Point          CA           92629
    MARI UKLEYA                                                            5102 OLD BARN ROAD                                                                               CLAY                NY           13041
    MARIA A MARTINEZ RIVERA                 URB HACIENDA DEL DORADO        CALLE GUAYACAN # 39                                                                              DORADO              PR           00953

    MARIA A SS FERREIRA                                                    RUA PROF BARBUSA MAGA LITAES UNIV DE AVEIRO                           DPTO DE LINGUAS/CULTURAS   AVIERO                           3810-152     Portugal
    MARIA BREKKA                                                           160 HILLCREST DRIVE NORTH                                                                        CRANSTON            RI           02921
    Maria C Flores                                                         1165 Valley Oaks                                                                                 Lewisville          TX           75067
    Maria Caprara                                                          21 SAXON DR                                                                                      VALHALLA            NY           10595
                                                                           1270 AVENUE OF THE AMERICAS
    MARIA CARVAINIS AGENCY INC                                             STE 2320                                                                                         NEW YORK            NY           10020
    MARIA CASSIANI IAMS                                                    3425 WILLOW ST                                                                                   DENVER              CO           80238
    Maria Cataldo                                                          815 West St.                                                                                     Walpole             MA           02081
    MARIA CIAMPA                                                           45 PICO AVE                                                                                      WINTHROP            MA           02152
    Maria Colon                                                            365 Washington Street        #5                                                                  Braintree           MA           02184
                                                                           CORREGIDOR JUAN FRANCISCO DE
    MARIA CRUZ LOPEZ PINTOR                                                LUJAN                                                                                            MADRID                           28030        Spain
    Maria Czop                                                             35 Rogers Rd                                                                                     Kittery             ME           03904
    Maria DAmario                                                          PO BOX 9323                                                                                      PROVIDENCE          RI           02940-9323
    Maria de los Angeles Melendez                                          49 Glengarry Dr.             49                                                                  Stratham            NH           03885
    MARIA DE LOURDES MORALES                                               1984 MAYBELLE DRIVE                                                                              PLEASANT HILL       CA           94523
    MARIA DE LOURDES PLAZA
    BOSCANA                                                                P O BOX 14                                                                                       JUANA DIAZ          PR           00795

    MARIA DE LOURDES ZAYAS TORRES                                          C85 LA VEGA                                                                                      VILLALBA            PR           00766



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     276 of 488                                                                                                         1:26 PM
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                                                                           COL EL COYOL RESIDENTIAL PLZ                                                  DELEGACION GUSTAVO A
    MARIA DEL PILAR FORTIS GARDUNO ORIENTE 157 NUM 10 EDIF B-304           ORIENTE                                                                       MADERO                              06420        Mexico
    MARIA DEL PILAR MARICHAL                                               CALLE LERIDA 368 URB VALENCIA                                                 RIO PIEDRAS          PR             00923

    MARIA DEL PILAR VAZQUEZ-TORRES                                         CALLE VICTORIANO JUAREZ HM-17                                                 LEVITTOWN TOA BAJA     PR           00949
    MARIA DEL ROSARIO PIEDAD NUNEZ                                                                                                                       BUENOS AIRES
    MENDOZA                                                                AV CENTRAL 702 DEPTO A-311                                                    CUAUHTEMOC                                       Mexico
    MARIA E ACOSTA                                                         2110 HERMANY AVE                                                              BRONX                  NY           10472

    MARIA E BENIQUEZ RIVERA                                                C/ IMPERIAL S-7 PARQUE ECUESTRE                                               CAROLINA               PR           00987
    MARIA E RIVERA LABORDE                  1754 SANTIAGO CARRERAS         SANTIAGO IGLESIAS URB                                                         SAN JUAN               PR           00921
    MARIA ELENA BARILLA                                                    P O BOX 210274                                                                ROYAL PALM BEACH       FL           33421
    MARIA ELENA BETANCOURT-
    DELGADO                                                                904 HESTER AVENUE                                                             DONNA                  TX           78537
    Maria Ellis                                                            6135 N Paulina                  Apt 1                                         Chicago                IL           60660
                                                                           AV DEL TALLER NO 335 COL ALVARO                                               DELEG VENUSTIANO
    MARIA EUGENIA HERNANDEZ                                                OBREGON                                                                       CARRANZA                            15990        Mexico
    MARIA FLEMMING                                                         35 QUARRY ST, APT 210                                                         PRINCETON              NJ           08542

    MARIA GOMEZ DE GONZALEZ                                                PZ. DE LES OLIVERES 3                                                         LA GARRIGA BARCELONA   Barcelona    08530        Spain
    Maria Guerrero                                                         7144 S. Richmond                                                              Chicago                IL           60629
    MARIA HOEY                                                             1669 FICKLE HILL ROAD                                                         ARCATA                 CA           95521
    MARIA I FABERY DIANA                                                   URB VISTA AL MAR CALLE 8 B-1                                                  CATANO                 PR           00919

    MARIA INES MOLESTINA                                                   CDLA PUERTO AZUL MZ B 3 VILLA 2                                               GAYAQUIL                                         Ecuador
    MARIA J FITZGERALD                                                     1725 GRAHAM AVENUE                                                            ST PAUL                MN           55116
    MARIA JOSE VAZQUEZ                                                     13911 SW 53 STREET                                                            MIRAMAR                FL           33027
    Maria Kossowska Kotas                                                  6300 West Holbrook                                                            Chicago                IL           60646

    MARIA LOS PODGORECKI                                                   136 DARLINGTON, PRIVATE APT 507                                               OTTAWA                 ON           K1V 0X6      Canada
    MARIA LOZADA TORRES                                                    10 CALLE 1, VILLA ANGELINA                                                    LUGUILLO               PR           00773
                                                                           CALLE 27 2R7 EL MIRADOR DE
    MARIA LUISA HERNANDEZ NOA                                              BAIROA                                                                        CAGUAS                 PR           00725
    MARIA LUZ ORTIZ                                                        1020 MONTGOMERY ROAD                                                          ALTAMONTE SPRINGS      FL           32714
    MARIA M RODRIGUEZ                                                      4708 LACHO LANE                                                               LAREDO                 TX           78041
                                                                           PMB B-5 TABONUCO ST #207 STE
    MARIA M SEVILLA DOMENECH                                               216                                                                           GUAYNABO               PR           00968
    MARIA MARGARITA DEL TORO                                               CALLE ADAMS B-20                                                              GUAYNABO               PR           00969
    MARIA MELENDEZ                                                         BALCONES DE MONTE REAL 6901                                                   CAROLINA               PR           00987
    Maria Miller                                                           19882 Seaview Street                                                          Orlando                FL           32833
    Maria Molina-Steffens                                                  989 Yellow Rose Drive                                                         Orlando                FL           32818
    MARIA MONDRAGON                                                        5432 N GLENWOOD AVE                                                           CHICAGO                IL           60640
    Maria Morelos                                                          1413 CORTEZ DR                                                                EDINBURG               TX           78542-7113
    MARIA NICHOLS                                                          16940 ARENA WAY                                                               RAMONA                 CA           92065
    Maria Poulidis                                                         10696 SKYLINE DRIVE                                                           SANTA ANA              CA           92705
    MARIA QUINN JAMES                                                      18156 MILL HOUSE SQUARE                                                       LEESBURG               VA           20176
    MARIA SCHWARZ GILABERT                                                 816 GUAYANEY                                                                  CABO ROJO              PR           00623
    MARIA SOPHIA NEMETH                                                    2101 ROYALWOOD LN                                                             TURLOCK                CA           95380
    MARIA T GARRETON                                                       9100 EWING AVENUE                                                             EVANSTON               IL           60203
    MARIA T GONZALEZ RODRIGUEZ                                             CATARATA P-11 EL REMANSO                                                      SAN JUAN               PR           00926
    MARIA TERESA RIOS HERNANDEZ                                            HC -04 BOX 44414                                                              CAGUAS                 PR           00725
    MARIA THARP MAPS LLC                                                   8 EDWARD STREET                                                               SPARKILL               NY           10976
    Maria Valentin                                                         409 Cleveland Ave                                                             Trenton                NJ           08629
    Maria Villatoro                                                        1414 Westwood                                                                 Lewisville             TX           75067
    Maria Villegas                                                         283 Parkside Avenue                                                           Aurora                 IL           60505
    MARIACHI DIVAS INC                                                     1903 N KENWOOD ST                                                             BURBANK                CA           91505
    Mariah E Smith                                                         14 Beechstone                   Apt 2                                         Portsmouth             NH           03801
    MARIAH J WILSON                                                        236 DOUBLE TREE WAY                                                           MADERA                 CA           93637
    MARIAH MEDIA INC                        DBA OUTSIDE MAGAZINE           P O BOX 6228                                                                  HARLAN                 IA           51593-1728
    MARIAN A RYAN                           EDITORIAL CONSULTANT           118 LINWOOD AVE                                                               PARAMUS                NJ           07652
    Marian Cole                                                            9073 Rider Drive                                                              Fishers                IN           46038
    Marian Harado Ent, Ltd                                                 PO Box 861597                                                                 Wahiawa                HI           96786
    Marian Hawran                                                          323 Live Oak                                                                  Ingram                 TX           78025
    Marian Holloway                                                        3613 W Evergreen Street                                                       Skiatook               OK           74070
    MARIAN K JOHNSTON                                                      930 HYLTON HOLLOW ROAD SW                                                     WILLIS                 VA           24380
    Marian Lothian                                                         360 Hinton Avenue South                                                       Ottawa                 ON           K1Y1A5       Canada

    MARIAN REINER LITERARY AGENCY                                          71 DISBROW LANE                                                               NEW ROCHELLE           NY           10804-3210
    MARIAN REINER LITERARY AGENT                                           71 DISBROW LANE                                                               NEW ROCHELLE           NY           10804




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                  277 of 488                                                                                           1:26 PM
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                 CreditorName                         CreditorNoticeName                Address1                           Address2                        Address3                     City        State       Zip                Country
                                                                                                                                                                              SANTO DOMINGO
                                            U H VILL AZAPOTZALCO 16 DE                                                                                                        DELEGACION
    MARIANA BARRIENTOS                      SEPTIEMBRE                      11 EDIF 5 DEPTO 102 COL                                                                           AZCAPOTZALCO                  02160        Mexico
    MARIANA ROTENBERG                                                       100 CATON AVE APT 7G                                                                              BROOKLYN         NY           11218
    Marianela Whitaker                                                      2901 B Ravenwood Lane                                                                             Kissimmee        FL           34741
    MARIANELLA MASO                                                         1590 LASBURY AVENUE                                                                               WINTER PARK      FL           32789
                                            DBA M A POWLEY LITERARY
    MARIANGELA FERRERA                      AGENCY                          4400 W UNIVERSITY BLVD APT 17102                                                                  DALLAS           TX           75209-3703
    Marianna Georgitsis                                                     323 Sheffield Ct                 Unit #5                                                          Roselle          IL           60172
    MARIANNE BURKE                                                          119 RIPPLEWATER LANE                                                                              CARY             NC           27518
    Marianne Congdon-Hohman                                                 7 Fitzgerald Ln                                                                                   Southborough     MA           01772
    MARIANNE CRAIG MOORE                                                    58 WALTON DRIVE                                                                                   WEST HARTFORD    CT           06107
    MARIANNE D ZAMOR                                                        17805 EAST 95TH ST N                                                                              OWASSO           OK           74055
    MARIANNE GUNN OCONNOR                   LITERARY AGENCY                 32 NASSAU STREET                 ATTN MARIANNE GUNN OCONNOR          MORRISON CHAMBERS SUITE 17   DUBLIN 2                                   Ireland
    Marianne Marrero                                                        3135 S. Throop                                                                                    Chicago          IL           60608
    Marianne Phinney Liapis                                                 457 Common Street                                                                                 Walpole          MA           02081
    MARIANNE R STEVERSON                    ATTN ACCOUNTS RECEIVABLES       822 N MARIA AVE                                                                                   REDONDO BEACH    CA           90277
    Marianne Rafter                                                         1 Echo Place                                                                                      Larkspur         CA           94939
    MARIANNE TATOM LETTS                                                    P O BOX 75567                                                                                     SEATTLE          WA           98175
    MARIANO SANTINI RIVERA                                                  TINTILLO GARDENS G-42 CALLE 6                                                                     GUAYNABO         PR           00966
    MARIAROSA ALCARAZ PINSACH                                               285 THIRD ST UNIT 442                                                                             CAMBRIDGE        MA           02142
    Maribel E Arroyo                                                        12355 SW 195Th Ter.                                                                               Miami            FL           33177
                                                                            CALLE 19 N/12 URB JARDINES DE
    MARIBEL PEREZ PIETRI                                                    CAPARRA                                                                                           BAYAMON          PR           00959
    MARICOPA COUNTY SCHOOL
    DISTRICT                                GLENDALE ELEMENTARY SCH DIST    7301 N 58TH AVENUE                                                                                GLENDALE         AZ           85301
    MARIE A D EVERETT                                                       8004 RIDGECREST CIR                                                                               BILOXI           MS           39532
    Marie Barnes                                                            67 Pamela Drive                                                                                   New Bedford      MA           02740
    MARIE BROWN ASSOCIATES                  ATTN MARIE BROWN                6640 AKERS MILL RD SE STE 5801                                                                    ATLANTA          GA           30339-2759
    MARIE BROWN ASSOCS INC                                                  412 WEST 154TH STREET                                                                             NEW YORK         NY           10032-6302
    MARIE C SCANLON                                                         112 RICHARD DRIVE                                                                                 CHALFONT         PA           18914
    Marie Calvi                                                             2A Shaw Drive                                                                                     Rochester        NH           03868
    Marie Clarke                                                            125 South Lillie St                                                                               Thunder Bay      ON           P7E2A3       Canada
    MARIE CLAY LITERACY TRUST                                               11 BELVEDERE ST EPSOM            ATTN GRAHAM MCEWAN                                               AUCKLAND                      01051        New Zealand
    Marie E Barnes                                                          67 Pamela Drive                                                                                   New Bedford      MA           02740
    Marie E Gallagher                                                       814 13th Ave                                                                                      Prospect Park    PA           19076
    MARIE H HUGHES                                                          PEBBLE HILL RD                                                                                    RUMSON           NJ           07760
    MARIE HAYCOX                                                            337 BOULEVARD                                                                                     GLEN ROCK        NJ           07452
                                                                            PASEO DE LA REFORMA NO 369,
    MARIE JOSE PAZ                                                          DEPTO 104                                                                                                          DF           06500        Mexico
    Marie K Bocsi                                                           4 Washington St                  Apt 14                                                           Methuen          MA           01844
    Marie M Serra                                                           1 Ward Street                                                                                     Burlington       MA           01803
    MARIE OISHI                                                             23 FARRAGUT AVE, APT # 3                                                                          SOMERVILLE       MA           02144
    MARIE P GRIFFITH                                                        1984 SHOSHONE DRIVE                                                                               OGDEN            UT           84403
    MARIE PONSOT                                                            340 E 93RD ST, APT 2J                                                                             NEW YORK         NY           10128
    MARIE READ NATURAL HISTORY              PHOTOGRAPHY                     452 RINGWOOD RD                                                                                   FREEVILLE        NY           13068
    Marie Serra                                                             1 Ward Street                                                                                     Burlington       MA           01803
    Marie Shirai                                                            3113 TCU Blvd                                                                                     Orlando          FL           32817
    MARIE T LAGOS                                                           5348 HILLTOP CRESCENT                                                                             OAKLAND          CA           94618
    Marie Wiles                                                             3248 Royal Troon Rd.                                                                              Lexington        KY           40509
    MARIE WINN                                                              194 RIVERSIDE DRIVE                                                                               NEW YORK         NY           10025
    Marie-Dolores Solano                                                    174 Auburn Street                #3                                                               Cambridge        MA           02139
    MARIE-ELENA AMATO                                                       58 PARKWAY EAST                                                                                   MT VERNON        NY           10552
    Marie-Jo Cancre                                                         2 Great Rock Rd.                                                                                  Lexington        MA           02421
    MARIE-JOSE THERLAULT                    ESTATE OF YVES THERLAULT        1435 STREET OF NUTHATCHES                                                                         LONGUEUIL        QC           J4J 5K4      Canada
    MARIELYS LEON BURGOS                    VILLA DEL REY 3 C 20            NORMANDIA ST                                                                                      CAGUAS           PR           00725
    MARIENMA CAMACHO TORRES                                                 HC-01 BOX 9052                                                                                    BAJADERO         PR           00616
    MARIETTE J MARTINEAU                                                    834 FIRST ST S                                                                                    KENORA           ON           P9N 1E4      Canada
    Marika Hoe                                                              6161 EL CAJON BL, #B17                                                                            SAN DIEGO        CA           92115-3987
    MARILEE HEYER                                                           1619 6TH STREET                                                                                   LOS OSOS         CA           93402
    MARILEE R BURTON                                                        6901 WILLIS AVENUE                                                                                VAN NUYS         CA           91405
    MARILETA S ROBINSON                                                     1170 MILANVILLE ROAD                                                                              MILANVILLE       PA           18443
                                            C/O INDIAN LEGAL CLINIC- AZ STATE
    MARILOU SCHULTZ                         UNIV                              P O BOX 877906                                                                                  TEMPE            AZ           85287-7906
    MARILYN ANGEL WYNN                      DBA NATIVE STOCK PICTURES         344 GLENDALE RD                                                                                 BELLEVUE         ID           83313

    MARILYN ANN REDDING                     DBA SUNSHINE CORRELATIONS LLC P O BOX 1961                                                                                        ROUND ROCK       TX           78680
    Marilyn Cockrell                                                      47 Sydnorville Rd                                                                                   Troy             MO           63379
    MARILYN D MILBRANDT                                                   4235 BRIARWOOD DRIVE                                                                                URBANA           OH           43078
    Marilyn Dickerson                                                     #6 Hickory Court                                                                                    Troy             MO           63379



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     278 of 488                                                                                                         1:26 PM
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                                                                                                                      of 519
                                                                                                                       First Class Service List


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    Marilyn Fernandez                                                      11940 Modena Ln                                                                                  Orlando             FL           32827
    MARILYN HOLLY COHN                                                     3014 OAKRIDGE AVENUE                                                                             MADISON             WI           53704
    MARILYN J KRATZ                                                        2007 ROSS ST                                                                                     YANKTON             SD           57078
    MARILYN J ROWLAND                       DBA MARISOL PRODUCTIONS        211 TURNER ROAD                                                                                  EAST FALMOUTH       MA           02536
    Marilyn Jacoby                                                         2580 Bungalow Pl                                                                                 Corona Del Mar      CA           92625
    Marilyn K Spangler                                                     655 S. Smythe Drive                                                                              Apache Junction     AZ           85220
    Marilyn Kirby                                                          3109 Helen Avenue                                                                                Orlando             FL           32804
    Marilyn Lance                                                          2395 Columbia Way                                                                                The Villages        FL           32162
    MARILYN MALIN                                                          5-33 FERNCROFT AVENUE                                                                            LONDON                           NW3 7PG      United Kingdom
    MARILYN MARTINEZ ALVAREZ                                               HC 01 BOX 5206                                                                                   CANOVANAS           PR           00729
    MARILYN MISSEL                                                         3304 JENNINGS DR                                                                                 SPRINGFIELD         IL           62704
    MARILYN MONICA ASTORE                                                  2726 ASPEN VALLEY LANE                                                                           SACRAMENTO          CA           95835
    Marilyn Murphy                                                         370 Hemenway St.                 Apt. 205                                                        Marlborough         MA           01752
    Marilyn Nichols                                                        4952 Park View Dr                                                                                Saint Cloud         FL           34771
    Marilyn Novak                                                          170 E. St. Charles               Rd.                                                             Elmhurst            IL           60126
    MARILYN PEIL                                                           100 FOX RIDGE                                                                                    ELK CITY            OK           73644-1436
    Marilyn Profitlich                                                     3400 S. Ironwood Dr.             Lot 280                                                         Apache Junction     AZ           85220-7112
    MARILYN R STEVENS IRREVOCABLE
    TRUST                                   BRYAN J STEVENS - TRUSTEE      34 BRADDOCK PARK UNIT 1                                                                          BOSTON              MA           02116
    MARILYN REYNOLDS                                                       37 CADILAC DRIVE # 11                                                                            SACRAMENTO          CA           95825-8311
    MARILYN S GOSS                                                         P O BOX 83905                                                                                    GAITHERSBURG        MD           20883
    MARILYN SINGER                                                         42 BERKELEY PLACE                                                                                BROOKLYN            NY           11217
    Marilyn Trow                                                           50 HOODS POINT WAY                                                                               SAN MATEO           CA           94402
    MARILYN WEHRLI                                                         408 EAST 14TH                                                                                    MARYVILLE           MO           64468
    Marilyn Weissman                                                       140 MILLSTONE RD                 UNIT F                                                          BREWSTER            MA           02531
    MARILYN WILSON                                                         2308 GROESBECK AVE                                                                               LANSING             MI           48912
    MARILYNN ROSE                                                          773 E FOX HILLS DR                                                                               BLOOMFIELD HILLS    MI           48304
    MARIN AND SONS INC                                                     16155 SW 117TH AVENUE # B-21                                                                     MIAMI               FL           33177
    MARIN COUNTY OFFICE OF                  DEANNA MORENO - SAN JOAQUIN
    EDUCATION                               COE                            P O BOX 213030                                                                                   STOCKTON            CA           95213-9030
    MARIN HISTORY MUSEUM                                                   1125 B STREET                                                                                    SAN RAFAEL          CA           94901
    MARINA BUDHOS                                                          17 RIDGEWOOD TERRACE                                                                             MAPLEWOOD           NJ           07040
    Marina Mitchell                                                        456 Gorwin Drive                                                                                 Holliston           MA           01746
    Marina Terpstra                                                        25 Carey Avenue                                                                                  Burlington          MA           01803
    Mariner Investment Group, LLC           Daniel Sullivan                500 Mamaroneck Ave.                                                                              Harrison            NY           10528
                                                                                                                                                  PHOTOGRAPHIC SERVICES &
    MARINERS MUSEUM                                                        100 MUSEUM DR                                                          LICENSING                 NEWPORT NEWS        VA           23606-3757
    MARIO A VEGA MEAUX                                                     P O BOX 461                                                                                      VEGA ALTA           PR           00692
                                                                                                                                                                            DELEGACION BENITO
    MARIO ALEJANDRO ROCA PUENTE                                            ADOLFO PRIETO 1531 INT 204 COL                                                                   JUAREZ                                        Mexico
    Mario G Belgrave                                                       6350 Palm Trace Landings Drive   Chateau 304                                                     Davie               FL           33314
    Mario Giardiello                                                       2546 Cherry Street                                                                               Denver              CO           80207
    MARIO HERNANDEZ                                                        2942 HARBOR ROAD                                                                                 MERRICK             NY           11566
    MARIO L VEGA GIBOYEAUX                                                 P O BOX 461                                                                                      VEGA ALTA           PR           00692
    Mario Merlano                                                          3224 Burberry Place                                                                              St Cloud            FL           34772
    Mariolga C Abes                                                        15942 Southwest 73 Street                                                                        Miami               FL           33193
    Mariolina Derisma                                                      6480 metro west blvd.            apt 912                                                         Orlando             FL           32835
    MARION B HUTCHINSON                                                    205 BERRY ST                                                                                     HACKENSACK          NJ           07601
    MARION B MARKHAM TRUST                  C/O JANE MADDEN TRUSTEE        835 CONCORD LANE                                                                                 HOFFMAN ESTATES     IL           60192
    Marion Bermondy                                                        11400 February Dr                                                                                Austin              TX           78753
    MARION BOYARS PUBLISHERS                                               24 LACY ROAD                                                                                     LONDON                           SW1S 1NL     United Kingdom
    Marion County Public Schools                                           PO Box 670                                                                                       Ocala               FL           34478
    MARION COUNTY TREASURER                                                P O BOX 6145                                                                                     INDIANAPOLIS        IN           46206-6145
    MARION DANE BAUER                                                      508 MONTCALM PLACE                                                                               ST PAUL             MN           55116
    MARION ETTLINGER                                                       83 CANAL STREET, NO 506                                                                          NEW YORK            NY           10002
    MARION KLICKSTEIN                                                      40 HUSSEY ROAD                                                                                   PEAKS ISLAND        ME           04108
    Marion Martinez                                                        91 Commerce Street                                                                               Clinton             CT           06413
    Marion Pritsky                                                         9 Silver Hill Apt #17                                                                            Natick              MA           01760
    Marion Severynse                                                       25 Locke St                                                                                      Cambridge           MA           02140
    Marion Stearns                                                         1626 BARBARA DRIVE                                                                               IRVING              TX           75060
    MARIOS LAWN CARE                                                       PO BOX 868055                                                                                    PLANO               TX           75086

    MARIPOSA TRANSFORMATIVE EDUC SERVICES                                  65 MT TENAYA DRIVE                                                                               SAN RAFAEL          CA           94903
    MARIPOSA TRANSFORMATIVE
    EDUCATION                    SERVICES                                  65 MT TENAYA DR                                                                                  SAN RAFAEL          CA           94903
    MARISA D CASTRO                                                        2021 N EVELYN AVENUE                                                                             TUCSON              AZ           85715
    MARISA GARCIA                                                          322 17TH STREET                                                                                  HUNTINGTON BEACH    CA           92648
    Marisa LeManquais                                                      19 Sunset Road                                                                                   Somerville          MA           02144
    MARISEL N TORRES CRESPO                                                59 YAGUEZ                                                                                        AGUAS BUENAS        PR           00703
    MARISEL N TORRES-CRESPO                                                59 YAGUEZ ESTANCIAS DEL RIO                                                                      AGUAS BUENAS        PR           00703



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                      279 of 488                                                                                                      1:26 PM
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                                                                                                                           of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                           Address2              Address3                  City        State       Zip               Country
    MARISELA ESMERALDA OJEDA                                                7447 LIMERICK AVE                                                               DUBLIN                CA           94568-1625
    MARISESLYN GONZALEZ
    RODRIGUEZ                                                               COND RIVER PARK APT 207                                                         BAYAMON               PR           00961
    MARISSA MOSS                                                            965 CRESTON RD                                                                  BERKELEY              CA           94708
    MARISSA PEREZ                                                           8659 KEMPRIDGE                                                                  HOUSTON               TX           77080
    MARIST HIGH SCHOOL                                                      4200 WEST 115TH SCHOOL                                                          CHICAGO               IL           60655
    MARITA A SULLIVAN                                                       144 MEADOWNIEW ST                                                               MARSHFIELD            MA           02050
    MARITAL TRUST U/W/O A M
    SCHLESINGER JR                          F/B/O ALEXANDRA E SCHLESINGER   455 EAST 51ST STREET                                                            NEW YORK              NY           10022
    MARITZA LAMBOY HERNANDEZ                                                JARDINES DE GUANAJIBO, # 230                                                    MAYAGUEZ              PR           00680
    MARITZA OCASIO VEGA                                                     CALLE ROBLES # 26                                                               SABANA GRANDE         PR           00637
    MARITZA SOSTRE RODRIGUEZ                                                GOLDEN HILLS 1744 VENUS ST                                                      DORADO                PR           00646
    MARJA L SWANTZ                                                          POHJANAKANP 3 A 25                                                              LAHTI                              15200        Finland
    MARJAN MARGAREET HONG                                                   9578 CLARKES MEADOW DR NW                                                       CONCORD               NC           28027
    MARJANE SATRAPI                                                         13 RUE DE THORIGNYT                                                             PARIS                              75003        France
    MARJORIE A GLAZER                                                       69 NORWICH ROAD                                                                 NEEDHAM               MA           02492
    Marjorie A Sebesta-Kurinsky                                             185 Old Orchard Lane                                                            Ocean                 NJ           07712
    Marjorie Cochran                                                        41 Symmes Street                                                                Roslindale            MA           02131
    MARJORIE E BERMAN                                                       8 JOHNSON PLACE                                                                 ARDSLEY               NY           10502
    MARJORIE F STOVER                                                       2100 N WILMOT #202                                                              TUCSON                AZ           85712
    Marjorie Foley                                                          129 Andrews St                                                                  Lowell                MA           01852
    MARJORIE J RAESS                                                        P O BOX 23722                                                                   BARRIGADA             Guam         96921
    MARJORIE LARNER                                                         4892 KINGS RIDGE BLVD                                                           BOULDER               CO           80301
    MARJORIE MARTINELLI                                                     247 WEST 10TH ST APT 3F                                                         NEW YORK              NY           10014
    Marjorie Naughton                                                       225 East 79th Street            Apt 14A                                         New York              NY           10075
    Marjorie Pelletier                                                      30 Railroad Street, #211                                                        Andover               MA           01810
    MARJORIE POLSTER                                                        31 ALBION ST                                                                    SOMERVILLE            MA           02143
    MARJORIE ROYER INTERIORS                                                50 NORTH LIBERTY STREET                                                         MIDDLETON             MA           01949
    MARJORIE WEINMAN SHARMAT                                                8801 EAST CALLE PLAYA                                                           TUCSON                AZ           85715
    MARK A HICKS                                                            13001 N 2nd STREET                                                              PHOENIX               AZ           85022
    MARK A SMITH                                                            320 MAPLE                                                                       LOCK HAREN            PA           17745
    MARK ANTHONY LEWIS                                                      3024 9TH STREET                                                                 BOULDER               CO           80304
    MARK ATKINSON                                                           P O BOX 165                                                                     PETALUMA              CA           95953
    MARK AXELROD                                                            13586 MAHOGANY PL                                                               TUSTIN                CA           92782
    MARK BABUSHKIN                                                          273 WEST 10TH STREET                                                            NEW YORK              NY           10014

    MARK BOOKSELLERS & DIS PVT LTD                                          15 1/1 SRI DALADA VEEDIYA                                                       KANDY                              02000        Sri Lanka
    Mark Booth                                                              9008 Pinehurst Dr N             Apt B                                           Indianapolis          IN           46235
    Mark Bosko                                                              22314 Covella Court                                                             San Antonio           TX           78259
    MARK BURCKHARDT                BURCKHARDT STUDIO                        1111 W 7TH STREET                                                               AUSTIN                TX           78703
    Mark Butterline                                                         6 Carbone Circle                                                                Maynard               MA           01754
    MARK C SCHUG CONSULTING
    SERVICE                                                                 133 GLENCULLEN CIR                                                              JUPITER               FL           33458
    MARK CORSEY AND RUTH
    LINSTROMBERG                                                            35 SUMMER ST                                                                    NASHUA                NH           03064-2338
    MARK D SCHOONOVER                                                       1936 AMANDA DR                                                                  JENISON               MI           49428-9289
    Mark Donovan                                                            14 Cardinal Ct.                                                                 Stow                  MA           01775
    MARK DOWNEY                                                             3814 NE HASSALO STREET                                                          PORTLAND              OR           97232
    Mark Duquette                                                           13817 SE 35th Street                                                            Vancouver             WA           98683
    MARK E GIBSON                                                           112 NORTH WASHINGTON DR                                                         MOUNT SHASTA          CA           96067
    Mark E Starling                                                         14 Cherry Ave                                                                   Stoneham              MA           02180
    MARK EDWARD SWERDLIK                                                    1304 BROADWAY PLACE                                                             NORMAL                IL           61761
    MARK ELLIOT LAWLER                                                      76 CEDAR STREET                                                                 AMESBURY              MA           01012
    Mark F Ledbetter                                                        19127 Centre Rose Blvd                                                          Lutz                  FL           33558
    MARK F MCCOLLOM                                                         324 WEST CLEARWATER DRIVE                                                       WARSAW                IN           46582
    MARK FIORE                                                              550 BRYANT STREET                                                               SAN FRANCISCO         CA           94107
                                   DBA EMPLOYER CLAIMS
    MARK FRITSCHE                  CONSULTING                               P O BOX 940332                                                                  PLANO                 TX           75094-0332
    MARK G PAYNE                                                            CO SAUDI ARAMCO                                                                 DHAHRAN                            31311        Saudi Arabia
    MARK GEYER PRODUCTIONS INC                                              2447 RIDGEWAY DRIVE                                                             ATLANTA               GA           30360
    Mark H Godby                                                            7858 Hunters Path                                                               Indianapolis          IN           46214
    Mark H Smith                                                            3441 SW Rivers End Way                                                          Palm City             FL           34990
    Mark Hansen                                                             28800 SW 35th Drive                                                             Wilsonville           OR           97070
                                   PERFECTION RUBBER STAMP &
    MARK HARWELL                   ENGRAVING                                1230 E IRVING BLVD                                                              IRVING                TX           75060-4355
    Mark Haynes                                                             90 WEST ST                      APT 8C                                          NEW YORK              NY           10006
    Mark Hazlett                                                            4274 Waterside Pointe Cir                                                       Orlando               FL           32829
    MARK HELPRIN                                                            1012 FRAYS MOUNTAIN RD                                                          EARLYSVILLE           VA           22936
    MARK HELPRIN                                                            1012 FRAYS MOUNTAIN ROAD                                                        EARLYSVILLE           VA           22936-1825
    Mark J Canales                                                          15450 FM 1325                   Apt 221                                         Austin                TX           78728



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                     280 of 488                                                                                           1:26 PM
                                                      12-12171-reg            Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                           Address2                        Address3               City            State       Zip            Country
    MARK J MCKENNA                                                         36 OMNI PARC DRIVE                                                                           NANUET                NY           10954
    MARK J MESSERLY                                                        330 RAVINE RD                                                                                HINSDALE              IL           60521
    Mark J Steenhoek                                                       437 W Division St                Suite 307                                                   Chicago               IL           60610
    MARK J VOLKMANN                                                        2004 POTOMAC DRIVE                                                                           COLUMBIA              MO           65203
    Mark Kandola                                                           2680 Holly Rd                                                                                Santa Barbara         CA           93105
    MARK KEPPEL HIGH SCHOOL                                                501 HELLMAN AVE                                                                              ALHAMBRA              CA           91801
    MARK KRAM JR                                                           322 WINDSOR AVENUE                                                                           HADDONFIELD           NJ           08033

    MARK LOGIC CORPORATION                                                 999 SKYWAY ROAD SUITE 200        ATTN ACCOUNTS RECEIVABLE DEPT                               SAN CARLOS            CA           94070
    Mark Lynott                                                            3600 Forest Avenue                                                                           Brookfield            IL           60513
    Mark M Hammer                                                          11503 Juniper Ridge Dr                                                                       Austin                TX           78759
    MARK MACLEAN                            DBA ONE MAN SHOW               612 S OAKWOOD AVE                                                                            WILLOW SPRINGS        IL           60480
    Mark Mahan                                                             5214 Arrowood Court                                                                          Columbus              OH           43229
    MARK MATHABANE                                                         1320 NW FRAZIER COURT                                                                        PORTLAND              OR           97229
    MARK MATTOCK                                                           95 GREENFIELD GARDENS                                                                        LONDON                             NW2 1HU      United Kingdom
    Mark Mattson                                                           1805 Hagen Court                                                                             St. Cloud             FL           34771
    MARK MERZ                                                              353 E CLEARVIEW AVENUE                                                                       COLUMBUS              OH           43085
    MARK MINE                                                              2002 CAMDEN LANE                                                                             CHAPEL HILL           NC           27516
    MARK MOLDWIN                                                           3575 STANTON CT                                                                              ANN ARBOR             MI           48105
    MARK MOORE                                                             P O BOX 17240                                                                                PORTLAND              OR           97217-0240
    Mark Mow                                                               18075 CR 2                                                                                   Bristol               IN           46507
    Mark Murguia                                                           3437 Antilles                                                                                Mesquite              TX           75150
    Mark Muzzio                                                            59 Weatherstone Court                                                                        Sharpsburg            GA           30277
    MARK NAZEMZADEH                                                        111 HOBSON DR                                                                                JASPER                GA           30143
    MARK NEWGARDEN                                                         18 HAVENMEYER STREET                                                                         BROOKLYN              NY           11211
    Mark Oberholz                                                          401 Greenfield Circle                                                                        Geneva                IL           60134
    MARK ORISTANO                                                          4100 TRAVIS #18                                                                              DALLAS                TX           75204
    MARK OSTOW                                                             686 MASSACHUSETTS AVE #401                                                                   CAMBRIDGE             MA           02139

    MARK PARISI                             DBA ATLANTIC FEATURE SYNDICATE 16 SLAYTON ROAD                                                                              MELROSE               MA           02176
    MARK PEARSON                                                           10314 IVYRIDGE ROAD                                                                          HOUSTON               TX           77043
    MARK PENDERGRAST                                                       106 SHORE ACRES DR                                                                           COLCHESTER            VT           05446
    MARK PISCITELLI                                                        122 NORTH ST                                                                                 NORFOLK               MA           02056
    Mark Pomplun                                                           319 Balmoral Drive                                                                           Bartlett              IL           60103
    Mark Porter                                                            68 Hillock Street                                                                            Roslindale            MA           02131
    MARK PRESTON ILLUSTRATION                                              107 COLLEGE LANE                                                                             HURSTPIERPOINT                     BN6 9AE      United Kingdom
    MARK PURVIS                             DBA MAP SOLUTIONS              P O BOX 28                                                                                   DUTZOW                MO           63342
    MARK R LEE                                                             350 UNION GROVE ROAD                                                                         CARBONDALE            IL           62903
    Mark R. Robinson                                                       68 Hampshire Street                                                                          Cambridge             MA           02139
    MARK RICE-OXLEY                                                        16 HEATHERDALE CLOSE                                                                         KINGSTON                           KT2 7SU      United Kingdom
    MARK RICHENDERFER                                                      4721 OLD GRAND RIVER TRAIL                                                                   ADA                   MI           49301
    Mark Robinson                                                          12 BATES PARK AVENUE                                                                         BEVERLY               MA           01915
    Mark S Bernstein                                                       6606 Spring Mill Road                                                                        Indianapolis          IN           46260
    Mark S Genson                                                          49 Birch Trail                                                                               Wheeling              IL           60090
    MARK SCHATZKER                                                         445 PARK AVENUE                  C/O JANKLOW AND NESBITT               ATTN RICHARD MORRIS   NEW YORK              NY           10022
    MARK SCHMIT                                                            419 SOUTH HAZELTON AVENUE                                                                    WHEATON               IL           60187
    Mark Schulze                                                           1494 Plymouth St.                                                                            Bridgewater           MA           02324
    Mark Schumacher                                                        7946 S EUDORA CIR                                                                            CENTENNIAL            CO           80122
    MARK SIMONSON                                                          1496 RAYMOND AVE                                                                             ST PAUL               MN           55108
    MARK SINGLETARY                                                        111 VETERANS BLVD SUITE 1440                                                                 METAIRIE              LA           70005
    Mark Sutherland                                                        2046 Chemin Saint Louis                                                                      Quebec                QC           G1T 1P4      Canada
                                            DBA GREAT BAY COMMUNICATIONS
    MARK T TRAGER                           LLC                            125 ISLINGTON STREET                                                                         PORTSMOUTH            NH           03801
    MARK TRABUE                                                            315 EAST MAIN STREET                                                                         AUSTIN                IN           47102
    MARK TUSCHMAN                                                          300 SANTA MONICA                                                                             MENLO PARK            CA           94025
    Mark Voigt                                                             18990 259th Ave Nw                                                                           Big Lake              MN           55309
    MARK W KLINE                                                           HVF FREDERIKSHOJ 105                                                                         COPENHAGEN SV         Copenhagen   02450        Denmark
    Mark W Meyers                                                          7314 Randolph St.                Apt. 4G                                                     Forest Park           IL           60130
    MARK WALLNER                                                           11309 8TH AVENUE                                                                             PLEASANT PRAIRIE      WI           53158
    Mark Weissman                                                          27 Pem Lane                                                                                  Mashpee               MA           02649
    MARK WIRTH                                                             2604 WALDIE CT                                                                               ELK GROVE             CA           95758
    Mark Wise                                                              62 West Colonial Drive           Unit 310                                                    Orlando               FL           32801-1369
    MARK WOLFERSBERGER                                                     53-972 KAMEHAMEHA HWY                                                                        HAUULA                HI           96717
    Mark Wood                                                              2522 LAUREL BUSH ROAD                                                                        ABINGDON              MD           21009
    Market Art Inc.                                                        1580 Columbia Turnpike           Bldg 1                                Ste3                  Castleton On Hudson   NY           12033
    MARKET DATA RETRIEVAL                                                  P. O. BOX 75174                                                                              CHICAGO               IL           60675-5174
    MARKET RESEARCH                                                        11200 ROCKVILLE PIKE SUITE 504                                                               ROCKVILLE             MD           20852
    MARKETING DIMENSIONS INC                                               623 PARK MEADOW ROAD SUITE J                                                                 WESTERVILLE           OH           43081
    MARKETWIRE                                                             DEPTMENT 8025                                                                                LOS ANGELES           CA           90084-8025
    MARKIMKEL CORPORATION                   DBA SOS TECHNOLOGIES           P O BOX 660                                                                                  ADDISON               TX           75001-0660



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      281 of 488                                                                                                    1:26 PM
                                                      12-12171-reg                   Doc 136            Filed 07/15/12 Exhibit
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                                                                                                                  Pg Creditor
                                                                                                                      289 Matrix
                                                                                                                              of 519
                                                                                                                             First Class Service List


                 CreditorName                         CreditorNoticeName                       Address1                           Address2              Address3            City           State       Zip               Country
    MARK-IT SMART INC                                                              128 EAST DYER ROAD, SUITE A                                                     SANTA ANA          CA           92707
    MARKSON THOMA LITERARY
    AGENCY INC                                                                     44 GREENWICH AVE                 ATTN ELEANOR JACKSON                           NEW YORK           NY           10011
    MARLA A BERRY                                                                  54 MOUNTAIN ROAD                                                                DEERFIELD          NH           03037
    Marla D Banks                                                                  1869 Sierra Vista Dr                                                            Baton Rouge        LA           70815
    MARLA D HUSTAD                                                                 37 E 2500 S                                                                     CLEARFIELD         UT           84015
    MARLA FRAZEE                                                                   1199 N HOLLISTON AVENUE                                                         PASADENA           CA           91104
    MARLA FRAZEE                                                                   1199 No. HOLLISTON AVENUE                                                       PASADENA           CA           91104
    MARLA J MCCALL                                                                 1961 N HARTFORD STREET #1051                                                    CHANDLER           AZ           85225
    MARLA K ROBINS                                                                 47 FULLER RD                                                                    BRIARCLIFF MANOR   NY           10510
    MARLA M MENDEZ SILVAGNOLI                                                      URB EL MADRIGAL E-47 CALLE 3                                                    PONCE              PR           00730-1415
    Marleis Roberts                                                                2106 Castle View Dr                                                             Austin             TX           78728
    MARLENE J HILL                          DBA GREAT EXPECTATIONS!                15355 SE RIVERSHORE DRIVE                                                       VANCOUVER          WA           98683
    Marlene Mejias                                                                 1920 Misty Mesa Trail                                                           Grand Prairie      TX           75052
    MARLENE ROTH                                                                   11 EDWARDS STREET 1A                                                            ROSLYN HTS         NY           11577
    MARLENE THIER                                                                  142 HODGES DR                                                                   MORAGA             CA           94556
    MARLEY H GIBSON                                                                276 WASHINGTON ST # 260                                                         BOSTON             MA           02108
    MARLI BRYANT MILLER                                                            2141 HARRIS ST                                                                  EUGENE             OR           97405
    MARLIN BUSINESS BANK                                                           PO BOX 13604                                                                    PHILADELPHIA       PA           19101
    Marlin Davis                                                                   410 S Third                                                                     Paris              AR           72855
    MARLIN LEE SIMON                                                               431 SCOTT STREET                                                                AUBURN             AL           36830
    MARLIS ZELLER CAMBON                                                           8 CAMBONS WAY                                                                   HARPSWELL          ME           04079
    MARLO HAMILTON GADDIS                                                          1509 ISLEY SCHOOL ROAD                                                          BURLINGTON         NC           27217
    Marlon Nichols                                                                 2780 Duke Of Gloucester                                                         East Point         GA           30344
    Marly Rusoff                                                                   14 Cecil Crest Road                                                             Yonkers            NY           10701
    MARLY RUSOFF AND ASSOC INC                                                     811 PALMER ROAD SUITE AA                                                        BRONXVILLE         NY           10708
    MARLYN SMITH                                                                   104 TURNBERRY LANE                                                              CARY               NC           27518
    Marlys Mahajan                                                                 26 Appaloosa Lane                                                               South Hamilton     MA           01982
    Mar-Mary Lutge                                                                 2010 Castlebridge Road                                                          Midlo              VA           23113
    Marmion, Bridget
    MARNA MOORE                                                                    11 NASH LANE                                                                    NEWMAN             GA           30263
    MAROUS & COMPANY                                                               300 S NORTHWEST HWY STE 204                                                     PARK RIDGE         IL           60068
    MARQUARDT SCHOOL DISTRICT 15                                                   1860 GLEN ELLYN ROAD                                                            GLENDALE HEIGHTS   IL           60139
    MARQUETTE UNIVERSITY                    MARQUETTE CENTRAL                      P O BOX 1881 ZILBER HALL # 121                                                  MILWAUKEE          WI           53201
                                            DBA NATIONAL REGISTER
    MARQUIS WHOS WHO LLC                    PUBLISHING                             PO BOX 404192                                                                   ATLANTA            GA           30384
    MARQUIS WHOS WHO LLC                                                           PO BOX 404192                    DBA P J KENEDY & SONS                          ATLANTA            GA           30384
    MARREN SIMMONS                                                                 77 EDWARDS STREET APT 1A                                                        ROSLYN             NY           11577
    Marret Kauffner                                                                PO BOX 1063                                                                     WESTFORD           MA           01886
    MARRIOTT BATON ROUGE                                                           5500 HILTON DRIVE                ATTN ACCOUNTS RECEIVABLE                       BATON ROUGE        LA           70808
    MARRIOTT BUSINESS SERVICES                                                     P O BOX 402642                                                                  ATLANTA            GA           30384-2642
    MARRIOTT BUSINESS SERVICES                                                     P O BOX 403003                                                                  ATLANTA            GA           30384-3003
    Marriott Chicago Schaumburg                                                    50 N. Martingale Rd                                                             Schaumburg         IL           60173
    Marriott Denver South                                                          10345 Park Meadows Drive                                                        Littleton          CO           80124
                                            MARRIOTT SAN FRANCISCO
    MARRIOTT HOTEL SERVICES                 MARQUIS                                55 FOURTH STREET                                                                SAN FRANCISCO      CA           94103
                                            DBA ATLANTA MARROTT CENTURY
    MARRIOTT HOTEL SERVICES INC             CENTER                                 2000 CENTTURY BOULEVARD                                                         ATLANTA            GA           30345
    MARRIOTT HOTEL SERVICES INC             ANAHEIM MARRIOTT HOTEL                 700 WEST CONVENTION WAY                                                         ANAHEIM            CA           92802
    MARRIOTT HOTEL SERVICES INC                                                    2000 CENTTURY BOULEVARD                                                         ATLANTA            GA           30345
    MARRIOTT HOTEL SERVICES INC                                                    700 WEST CONVENTION WAY                                                         ANAHEIM            CA           92802
    Marriott International                                                         PO Box 402642                                                                   Atlanta            GA           30384-2642
    Marriott Laguna Cliffs Resort           Attn Accounting                        25135 Park Lantern                                                              Dana Point         CA           92629
    Marriott Waikiki                        Attn Charas Charoepakdi                2552 KALAKAUA AVENUE                                                            Honolulu           HI           96815-3699
    Marriott West Des Moines                                                       1250 Jordan Creek Parkway                                                       West Des Moines    IA           50266
    Mars Area School District                                                      545 Route 228                                                                   Mars               PA           16046
    MARS HELENE                                                                    126-132 BLVD DE LA REPUBLIQUE                                                   SAINT CLOUD                     92210        France
    MARS HILL COLLEGE BOOKSTORE                                                    15 SOUTH MAIN, P O BOX 160                                                      MARS HILLS         NC           28754
    Marsh & McLennan Companies, Inc.
    Marsh Affinity Group Services                                                  1440 Renaissance Dr.                                                            Park Ridge         IL           60068-1400
    Marsh FINPRO                            Jonathan J H Tritton, Vice President   Tower Place East                                                                London                          EC3R 5BU     UK
    MARSH SALDANA INC                                                              P O BOX 9023549                                                                 SAN JUAN           PR           00902
    MARSH USA INC                                                                  P O BOX 371750                                                                  PITTSBURGH         PA           15251-7750
    MARSHA ALIBRANDI                                                               4093 MAIN ST                                                                    CUMMAQUID          MA           02637
    MARSHA ANN N BOASSO                                                            603 BRANETT WAY                                                                 EVANS              GA           30809
    Marsha Bishop                                                                  317 Cornwall Rd                                                                 Winter Park        FL           32792
    Marsha Carlin                                                                  162 16th St                      Apt 7B                                         Brooklyn           NY           11215
                                                                                   255 W MARTIN LUTHER KING JR
    MARSHA DREW                                                                    BLVD, # 1414                                                                    CHARLOTTE          NC           28202
    MARSHA HOLLIS GOLDEN                                                           112 STONEGATE DR                                                                OSWEGO             IL           60543



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                            282 of 488                                                                                        1:26 PM
                                                      12-12171-reg             Doc 136               Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   290 Matrix
                                                                                                                           of 519
                                                                                                                            First Class Service List


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    Marsha Johnson                                                           250 Camping Creek Road                                                                              Chapin            SC           29036
    Marsha Krabbenhoft                                                       5914 S. 175th Cir.                                                                                  Omaha             NE           68135
    Marsha M Gerstein                                                        111 Governor Winthrop Rd.                                                                           Somerville        MA           02145
    MARSHA M MYLES                          DBA ED TECH SPECIALISTS LLC      2811 HOLIDAY PINES RD                                                                               TRAVERSE CITY     MI           49686
    MARSHA NADINE DWYER                                                      10014 HAMMOCKS BLVD, # 208                                                                          MIAMI             FL           33196
    Marsha Nagib                                                             806 Chestnut Avenue                                                                                 Wilmette          IL           60091

    MARSHALL CAVENDISH CORP                                                  99 WHITE PLAINES RD P O BOX 2001                                                                    TARRYTOWN         NY           10591-9001
    MARSHALL CAVENDISH CORP                                                  99 WHITE PLAINS RD                                                                                  TARRYTOWN         NY           10591
    MARSHALL CAVENDISH
    INTERNATIONAL                           SINGAPORE                        1 NEW INDUSTRIAL ROAD                                                                                                              536196       Singapore
    MARSHALL CAVENDISH
    INTERNATIONAL (S) PTE                   LTD                              1 NEW INDUSTRIAL ROAD                TIME CENTRE                                                    SINGAPORE                      536196       Singapore
    MARSHALL CAVENDISH                                                       TIMES CENTRE 1 NEW INDUSTRIAL
    INTERNATIONAL (S) PTE                   LTD                              ROAD                                                                                                                               536196       Singapore
    Marshall Cavendish International (s)
    PTE                                     Joy Tan                          Times Centre 1 New Industrial Road                                                                                                 536196       Singapore
    MARSHALL EDITIONS LTD                   THE OLD BREWERY                  6 BLUNDELL STREET                                                                                   LONDON                         N7 9BH       United Kingdom
    MARSHALL JAMES                                                           435 PONDEROSA DRIVE                                                                                 ATHENS            GA           30605
    MARSHALL NAPPI & SCHULZ
    PUBLICITY LLC                           DBA MNS PUBLICITY                2618 SUNSET BLVD                                                                                    HOUSTON           TX           77005
    MARSHALL PATRICIA                                                        2813 BROADLANDS DR                                                                                  RALEIGH           NC           27604
    MARSHALL PUBLIC SCHOOL                                                   P O BOX 76                                                                                          MARSHALL          WI           53559
    MARSHALL PUBLIC SCHOOLS                                                  860 WEST VEST                                                                                       MARSHALL          MO           65340
    Marshall Rosbury                                                         324 Hickory Dr                                                                                      Maitland          FL           32751
    MARSHALL TECHNICAL SERVICES
    INC                                                                      70 HERITAGE AVE, UNIT 14                                                                            PORTSMOUTH        NH           03801
    Marshall Technology Solutions                                            PO Box 23452                                                                                        Tampa             FL           33623-3452
    Marston & Cole, P.C.                    RE Alaska Stock, Plaintiff       Brent R. Cole, Esq.                  821 N Street, Suite 208                                        Anchorage         AK           99501
    MARTA ANTILLON SALAZAR                                                   6703 NW 7TH ST # SJO-26318                                                                          MIAMI             FL           33126-6007
                                                                             P O BOX 22269, UNIVERSITY
    MARTA M QUINONES PEREZ                                                   STATION                                                                                             SAN JUAN          PR           00931
    Marta Szilvia Miko                                                       12 Fisk Place                                                                                       Cambridge         MA           02139
    Marta Thornton                                                           99 Florence Street                   Apt 414                                                        Malden            MA           02148
    Marta Villegas                                                           1326 Morningside Ave                                                                                Lewisville        TX           75057
                                                                             1350 AVE OF THE AMERICAS, STE
    MARTELL AGENCY                          ATTN ALICE FRIED MARTELL         1205                                                                                                NEW YORK          NY           10019
    MARTELLACCI & ASSOCIATES INC                                             4448 CREDIT POINTE DR                                                                               MISSISSAUGA       ON           L5M 3N1      Canada
    Martha A Hale Farrell                                                    15 Hamilton Ave                                                                                     Hamilton          MA           01982
    Martha A. Fenstermacher                 Martha A Fenstermacher Consult   8601 Glenridge Place NW                                                                             Albuquerque       NM           87114
    Martha Brewer                                                            145 Highwood Drive                                                                                  Franklin          MA           02038
    Martha Brooks                                                            4745 Dunover Circle                                                                                 Atlanta           GA           30360
    Martha Bustin                                                            Box 232                                                                                             Marshfield        MA           02050
    MARTHA C HOUGEN                                                          1800 CONGRESSIONAL CIRCLE                                                                           AUSTIN            TX           78746
    MARTHA CAMPBELL                                                          P OBOX 2538                                                                                         HARRISON          AR           72602-2538
                                   DBA MARTHA CASSELMAN LITERARY
    MARTHA CASSELMAN               AGENCY                        P O BOX 342                                                                                                     CALLISTOGA        CA           94515-0342
                                   C/O TRUSTEES OF AMHERST
    MARTHA DICKINSON BIANCHI TRUST COLLEGE                       280 MAIN STREET                                  ATTN MISS JANE WALD                  EMILY DICKINSON LIBRARY   AMHERST           MA           01002
    MARTHA DUMERTON                                              6004 N OAK                                                                                                      SPOKANE           WA           99205
    Martha Farias                                                79 Lake Ridge Dr                                                                                                Lake Dallas       TX           75065
    Martha Fry                                                   704 Wesley                                                                                                      Evanston          IL           60202
                                   DBA SIGNAL LEGISLATIVE
    MARTHA J PERRY                 &CONSULTING SERVI             620 N HUGHES                                                                                                    LITTLE ROCK       AR           72205
    MARTHA J SOHL                                                2709 FOREST AVENUE                                                                                              FORT WORTH        TX           76112
    MARTHA KAPLAN AGENCY                                         115 WEST 29TH STREET 3RD FL                                                                                     NEW YORK          NY           10001
    Martha Kay Powell                                            637 COUNTY ROAD 2112                                                                                            QUITMAN           TX           75783
    Martha Kelleher                                              46 Nashua Street                                                                                                Woburn            MA           01801
    Martha Kennedy                                               6 Kahler Avenue                                  #2                                                             Milton            MA           02186
    Martha L Pfeiffer                                            15 Queens Lane                                                                                                  Stow              MA           01775
    Martha Lance                                                 5102 Saddle Cir                                                                                                 Austin            TX           78727
    MARTHA LEE SPAULDING                                         23 BAY STATE ROAD                                                                                               BELMONT           MA           02478
    Martha Mahan                                                 5214 Arrowood Court                                                                                             Columbus          OH           43229
    Martha Mellen                                                6 Corcoran Rd                                                                                                   Burlington        MA           01803
    Martha Morris                                                1334 Spencer Lane                                                                                               Batavia           IL           60510
    Martha Mullins                                               122 Summit Cove                                                                                                 Trophy Club       TX           76262
    Martha Nelson                                                2601 Chestnut Ave.                               Apt. #2306                                                     Glenview          IL           60026
    Martha Pfeiffer                                              15 Queens Lane                                                                                                  Stow              MA           01775
    Martha S Middleton                                           2710 Samantha Court                                                                                             North Pole        AK           99705
    MARTHA SPIESS                                                7011 BUTTERWOOD DRIVE                                                                                           CINCINNATI        OH           45241



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                           283 of 488                                                                                                    1:26 PM
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                                                                                                                       of 519
                                                                                                                     First Class Service List


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    MARTHA STAUFFER                                                         31 PLEASANT ST UNIT 50                                                                   WEST LEBANON        NH            03784
    MARTHA SWOPE                                                            400 WEST 43RD ST APT 44D                                                                 NEW YORK            NY            10036
    MARTHA SYLVIA LAUREL                                                    1618 OKANE ST                                                                            LAREDO              TX            78043
    MARTHA TRYDAHL                                                          939 W MADISON ST, APT 602                                                                CHICAGO             IL            60607
    Martha Wenzel                                                           2774 College Hill Ci                                                                     Schaumburg          IL            60173
    Martha Yannarella                                                       8603 NW 59 Street                                                                        Tamarac             FL            33321
    MARTI COLEY CAMPAIGN                                                    5130 PRESIDENT CIRCLE                                                                    MARIANNA            FL            32446
    MARTIN A GREENBERG                                                      955 INMAN RD                                                                             NISKAYUNA           NY            12309-2818
    MARTIN A LEVICK                                                         20 EAST 35TH STREET, # 3J                                                                NEW YORK            NY            10016
    MARTIN B PATE                                                           32 WESLEY STREET                                                                         NEWMAN              GA            30263
    MARTIN CHANOCK                                                          SCH OF LAW & LEGAL STUDIES      LATROBE UNIV                                             BUNDOORA            Victoria      03083        Australia
    MARTIN DAMBEKALN                        DBA MARIS EDUCATION             P O BOX 26                                                                               HARTLAND            WI            53029
    MARTIN DAVID KIAR CAMPAIGN                                              250 MAHOGANY TERRACE                                                                     DAVIE               FL            33325
    MARTIN FROMME                                                           8480 SW 71ST PLACE                                                                       PORTLAND            OR            97223
    MARTIN G KLEINSORGE                                                     18396 EAST BERRY DRIVE                                                                   CENTENNIAL          CO            80015
    MARTIN HARVEY                                                           PO BOX 15310                                                                             LYTTELTON MANOR                   00140        South Africa
                                            DBA VIP RESEARCH AND
    MARTIN HILL                             EVALUATION                      6906 N ASHLAND BLVD UNIT 1S                                                              CHICAGO             IL            60626
    MARTIN INSTITUTE FOR TEACHING           EXCELLENCE                      4025 POPLAS AVENUE                                                                       MEMPHIS             TN            38111
    Martin J Vondruska                                                      212 S. Oak Street                                                                        Itasca              IL            60143
    MARTIN J WIESE                                                          3140 S 27TH STREET                                                                       LINCOLN             NE            68502
    MARTIN JACQUELINE BRIGGS                                                312 SECOND AVENUE NORTH                                                                  MOUNT VERNON        IA            52314
    Martin Krievs                                                           2829 Valley Springs Rd                                                                   Powhatan            VA            23139
    MARTIN LUTHER KING JR SR HIGH
    SCHOOL                                                                  3200 E LAFAYETTE ST                                                                      DETROIT             MI            48207-3812
    Martin Quinn                                                            830 Roosevelt Ave                                                                        Arlington Heights   IL            60005
    Martin Rosen                                                            121 Locust Street                                                                        Winthrop            MA            02152
    MARTIN SHIELDS                                                          24 DALE RD                                                                               RINGWOOD            NJ            07456
    MARTIN SNYDERMAN                                                        638 SOUTH NARDO AVENUE                                                                   SOLANA BEACH        CA            92075
    MARTINA ENTERPRISES INC                 DBA NAVRATILOVA INC             2532 WAVERLY STREET             ATTN BARBARA DELANEY                                     PHILADELPHIA        PA            19146-1050
    Martinez Denmon                                                         3916 Manheim                                                                             Kansas City         MO            64110
    MARTINS INC                             MARTINS WESTMINSTER             140 VILLAGE SHOP CENTER                                                                  WESTMINSTER         MD            21157
    MARTINWOOD GROUP LLC                                                    9 CLIFFORD ST                                                                            SOUTHBOROUGH        MA            01772
    Martone, Philip                         Lord Securities Corporation     48 Wall Street                  27th Floor                                               New York            NY            10005
    Martone, Philip
    MARTY ARBUNICH                          DBA EICHLER NETWORK             P O BOX 22635                                                                            SAN FRANCISCO       CA            94122
    MARTY KATZ                                                              BOX 141                                                                                  BROOKLANDVILLE      MD            21022
    MARVA K MOORE                                                           8010 CASTLE COVE RD                                                                      INDIANAPOLIS        IN            46256
    MARVEL CHARACTERS INC                   ATTN CAROL PINKUS               417 FIFTH AVENUE                                                                         NEW YORK            NY            10016
    MARVEL EDUCATION INC                                                    82 WALL ST # 1105 PMB-002                                                                NEW YORK            NY            10005
    MARVEL WILLIAM                                                          783 DAVIS HILL RD                                                                        SOUTH CONWAY        NH            03813
    MARVIN KELLY WARD                                                       271 A CR441                                                                              RIPLEY              MS            38663
    MARVIN PERRY ENTERPRISES INC                                            7666 LA CORNICHE CIRCLE                                                                  BOCA RATON          FL            33433-6006
                                            ABDO DARWISH BUILDING #86 1ST
    MARWAN LAFLOUF                          FL                              FERDOUS STREET SABTIEH                                                                   SED EL BOUSHRIEH                               Lebanon
    MARY A AMIDON                                                           20 WILLOW STREET                                                                         BRATTLEBORO         VT            05301
    Mary A Ciciarelli                                                       3643 Barclay Downs Dr.                                                                   Charlotte           NC            28209
    Mary A Fearon                                                           25 Brown Street                                                                          Peabody             MA            01960
    MARY A NADLER                                                           810 GALLOWAY ST                                                                          PACIFIC PALISADES   CA            90272
    Mary A. Arnold                                                          SIXTEEN FAIRWAY STREET                                                                   WEYMOUTH            MA            02188
    Mary A. Vedra                                                           15250 Copperfield Drive                                                                  Colorado Springs    CO            80921-3523
    MARY ALICE BERRY                                                        5705 TRENTON RD                                                                          TRENTON             OH            45067
    Mary Altman                                                             4985 Spiral Way                                                                          St Cloud            FL            34771
    Mary Anderson                                                           43 DEVON ROAD                                                                            NORWOOD             MA            02062
    MARY ANN ALVAREZ GONZALEZ                                               EXTENSION CATONI A-19                                                                    VEGA BAJA           PR            00693
    MARY ANN BUTLER-PEARSON                                                 145 ATLANTIS BLVD # 303                                                                  ATLANTIS            FL            33462
    MARY ANN CASEY                                                          48 ZANDHOEK ROAD                                                                         HURLEY              NY            12443
    MARY ANN DOYLE                                                          7 KIRSHER ROAD                                                                           SARATOGA SPRINGS    NY            12866
    Mary Ann Evans-Patrick                                                  2412 East Cielo Grande Avenue                                                            Phoenix             AZ            85024
    Mary Ann Frishman                       dba Frishco, Ltd.               3112 Windsor Rd, Ste A123                                                                Austin              TX            78703
    MARY ANN HETTEL                                                         247 NORTH CENTER AVENUE                                             ST JOSEPH SCHOOL     BRADLEY             IL            60915
    Mary Ann Johnson                                                        420 ALPINE MEADOW CT                                                                     LOVELAND            CO            80538
    Mary Ann Long                                                           2359 Hollywood Road                                                                      Saluda              SC            29138
    Mary Ann Rodgers                                                        200 Millbrook Lane                                                                       Wilmette            IL            60091
    MARY ANN SULLIVAN                                                       1222 STATE STREET                                                                        LIMA                OH            45805
    MARY ANN VASSALLO                       dba MONOGRAMIT                  15780 ROLLING MEADOWS CIRCLE                                                             WELLINGTON          FL            33414
    MARY ANN ZAPALAC                        364 HANOVER AVE                 SUITE F                                                                                  OAKLAND             CA            94606-1400
    Mary Anne Galante                                                       1350 YESICA ANN CIRCLE          J101                                                     NAPLES              FL            34110
    Mary Anne Galante                                                       614 B Palmer Lane                                                                        Yardley             PA            19067
    Mary Anne Kennedy                                                       2715 Overbrook Terrace                                                                   Ardmore             PA            19003



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                    284 of 488                                                                                                  1:26 PM
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    MARY ANNE LLOYD                                                        147 WOLCOTT STREET                                                                                PORTLAND          ME           04102
    MARY ANTONIA ANDRONIS                                                  4440 KATHERINE AVENUE                                                                             SHERMAN OAKS      CA           91423
    Mary Augustine                                                         2562 Walnut                                                                                       Geneva            IL           60134
    Mary Baker                                                             2 Fountainview Terrace           #306                                                             Greenville        SC           29607-4052
    Mary Beth Hanson                                                       518 Queens Court                                                                                  Moorhead          MN           56560
    MARY BETH KEANE                                                        315 NEW STREET APT 402                                                                            PHILADELPHIA      PA           19130
    Mary Beth Lacy                                                         1018 Maple Ct.                                                                                    Lockport          IL           60441
    Mary Bowers                                                            7328 N. Oakley                                                                                    Chicago           IL           60645
    MARY BRASWELL                                                          45 TYSON COURT                                                                                    VILLA RICA        GA           30180
    Mary Bruce                                                             14 Harrison Avenue                                                                                Woburn            MA           01801
    Mary Bunk                                                              296 Pear Orchard Road                                                                             Hawk Point        MO           63349
    MARY BURNETT                            DBA COPY SHOP                  42 AGNES DRIVE                                                                                    TROY              MO           63379
    Mary Burtner                                                           7593 S Cove Circle                                                                                Centennial        CO           80122
    Mary C McGillivray                                                     26 Burnap Road                   #4                                                               Holliston         MA           01746
    Mary C Petrie                                                          308 Laurel Lane                                                                                   West Chicago      IL           60185
    MARY C PINARD                                                          50 CATHERINE STREET                                                                               ROSLINDALE        MA           02131
    MARY CANE ROBINSON                                                     4101 EAST ELLSWORTH AVE                                                                           DENVER            CO           80222
    MARY CAPPELLINI                                                        310 VIA LIDO SOUD                                                                                 NEWPORT BEACH     CA           92663
    Mary Carver                                                            2808 Croasdaile Dr. #S11                                                                          Durham            NC           27705
    MARY CASANOVA                                                          PO BOX 141                                                                                        RANIER            MN           56668
    MARY CATHERINE NELSON                                                  8 MOHAWK DRIVE                                                                                    CLARENDON HILLS   IL           60514
    Mary Cavanagh                                                          918 JUDSON                                                                                        EVANSTON          IL           60202
    MARY CERULLO                                                           129 CHRISTOPHER ROAD                                                                              NORTH YARMOUTH    ME           04097
    MARY CHIARELLA                                                         55 WEST 69TH ST APT 1B                                                                            NEW YORK          NY           10023
    MARY CHRISTINE WASHBURN                                                2251 PARK AVE                                                                                     SANTA CLARA       CA           95050
    Mary Clevenger                                                         43w461 Scott Rd.                                                                                  Sugar Grove       IL           60554
    MARY COEN                                                              3420 WEST 5TH AVENUE             ESTATE OF RUTH M UNDERHILL                                       DENVER            CO           80204
    Mary Connolly                                                          26 Palm Street                                                                                    Concord           NH           03301
    MARY CORNISH                                                           1 BRONXVILLE RD - #6-0                                                                            BRONXVILLE        NY           10708
    Mary Coyne                                                             1095 Livingston St                                                                                Tewksbury         MA           01876
    MARY CRANE ROSSITER                                                    316 N GENEVA ST                                                                                   ITHACA            NY           14850
    Mary Cullinane                                                         44 Gramercy Park North Apt. 4E                                                                    New York          NY           10010
    MARY DALTON HOFFMAN                                                    44 METCALF STREET                                                                                 WORCESTER         MA           01609
    MARY DEKRUIF                                                           2072 COLUMBINE STREET                                                                             DENVER            CO           80210
    Mary Devore                                                            11494 62nd Ave North                                                                              Seminole          FL           33772
    Mary Doller                                                            38 CHESTNUT ROAD                                                                                  PEMBROKE          MA           02359
    MARY DOLORES HICKS                                                     816 MAGAZINE STREET                                                                               LAKE CHARLES      LA           70607
    MARY DOROTHY SCHUSTER                                                  601 CENTER AVE                                                                                    MARTINEZ          CA           94553-4643
    MARY DOWNING HAHN                                                      6525 SMOKEHOUSE COURT                                                                             COLUMBIA          MD           21045
    Mary Durrance                                                          14133 Winterset Drive                                                                             Orlando           FL           32832
                                            DBA KOREA ACADEMY FOR
    MARY E CONNOR                           EDUCATORS -KAFE                505 PLYMOUTH ROAD                                                                                 SAN MARINO        CA           91108
    MARY E DOIZE                                                           135 PARK DRIVE                                                                                    SAN ANTONIO       TX           78212
    MARY E GRAVES                                                          39 BLUEBERRY LANE UNIT C42                                                                        FALMOUTH          ME           04105
    MARY E HAKE                                                            10662 LORA STREET                                                                                 TEMPLE CITY       CA           91780
    Mary E Huot                                                            7 Ocean View Drive #210                                                                           Dorchester        MA           02125
                                  DBA MOORE EDUCATIONAL
    MARY E MOORE                  RESOURCES                                14506 FLICKER DRIVE                                                                               GRASS VALLEY      CA           95949
    MARY E PEARSON                                                         6502 LA PALOMA COURT                                                                              CARLSBAD          CA           92009
    MARY E RAWLYK                                                          596 EARL ST                                                                                       KINGSTON          ON           K7L 2K7      Canada
    MARY E STEFFENS                                                        205 SHOREWOOD DRIVE                                                                               TAVARES           FL           32778
    MARY E STUCKEY                                                         2875 ROYAL BLUFF                                                                                  DECATUR           GA           30030
    MARY E WALDORF ADMINISTRATIVE
    TRUST                         c/o EDWARD L BRAUER                      281 FREDERICK ST                                                                                  SAN FRANCISCO     CA           94117
    MARY E YOCKEY                                                          991 SAVANNAH CIRCLE                                                                               NAPERVILLE        IL           60540
    MARY EHRENWORTH                                                        17 BELLE LANE                                                                                     LEE               NH           03861
    Mary Ehrenworth                                                        4525 Henry Hudson Pkwy           Apt 603                                                          Bronx             NY           10471
    MARY EILEEN REILLY                                                     4 ROCKY HILL                                                                                      ANDOVER           MA           01810
    MARY ELAM                                                              505 AVON DRIVE                                                                                    NORMAN            OK           73072
    Mary Elizabeth Stark                                                   23 Chilton Park                                                                                   Milton            MA           02186
    Mary Elle Bray                                                         835 Linwood Avenue                                                                                Collingswood      NJ           08108

    MARY ELLEN GIBSON                       DBA MARY GIBSON & ASSOCIATES   3519 EAST TEN MILE ROAD                                                                           WARREN            MI           48091
    MARY ELLEN SULLIVAN                     DBA MARY ELLEN SHERIDAN        1614 CLEARBROOK RD                                                                                LANSDALE          PA           19446

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In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     285 of 488                                                                                                      1:26 PM
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                                                                                                                      of 519
                                                                                                                    First Class Service List


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    Mary F. Piper                                                          304 Wildforest Court                                                           Ballwin             MO           63011
    Mary Finch                                                             12 Braddock Park #2                                                            Boston              MA           02116
    MARY FORMAN                                                            414 HARVARD AVE                                                                TACOMA              WA           98466
    MARY FRAN CLAGGETT                                                     8165 KENNEDY ROAD                                                              SEBASTOPOL          CA           95472
    MARY FRANCES BOWERS                                                    P O BOX 246                                                                    OYSTERVILLE         WA           98641
    MARY FRANCES BRIGHAM                                                   PO BOX 87288                                                                   FAYETTEVILLE        NC           28304
    Mary Frances Caines                                                    181 Hessian Ave.                                                               West Deptford       NJ           08096
                                                                           AV PRINCESA ISABEL 102, 402-
    MARY GARCIA CASTRO                                                     BARRA                                                                          SALVADOR BAHIA                   40160        Brazil
    MARY GIELOW                             DBA LLUMINARIES                PO BOX 240532                                                                  MILWAUKEE           WI           53224-9017
    MARY GIORDANO                                                          22 DWIGHT STREET                                                               WATERTOWN           MA           02472
    MARY GRANDPRE                                                          883 VIRGINIA DRIVE                                                             SARASOTA            FL           34234
    Mary Gregory                                                           312 Pine Cone Drive                                                            Davenport           FL           33897
    MARY GROSVENOR                                                         1001 GRAND AVENUE                                                              DELTA               CO           81416
    Mary Gsell                                                             4656 Stratford Ave                                                             Indianapolis        IN           46201
    MARY H WILKINS                                                         PO BOX 881809                                                                  STEAMBOAT SPRINGS   CO           80488
    Mary H. Wilcox                                                         380 Columbus Avenue            Apt. #1                                         Boston              MA           02116
    Mary Hacking                                                           495 Oak Circle                                                                 Charlottesville     VA           22901-5046
    MARY HALL                                                              3517 CORONADO DRIVE                                                            LOUISVILLE          KY           40241
    MARY HAMM                                                              6283 STATE HIGHWAY 34                                                          RUDOLPH             WI           54475-9588
    Mary Hansen                                                            135 Gorwin Drive                                                               Hanson              MA           02341
    Mary Harke                                                             8 Bluff Haven Dr                                                               Troy                MO           63379
    Mary Harmon                                                            123B HERITAGE VILLAGE                                                          SOUTHBURY           CT           06488
    Mary Hense                                                             5005 Dyer Court                                                                Orlando             FL           32821
    Mary Hill                                                              1887 Beacon St.                Apt. 3                                          Brookline           MA           02445
    MARY HINSHAW                                                           533 HUMISTON DR                                                                BAY VILLAGE         OH           44140
    Mary Hobbs                                                             7691 N 600 W                                                                   MC CORDSVILLE       IN           46055
    Mary Holahan                                                           14023 West Antelope Court                                                      Sun City West       AZ           85375
    MARY HOWARD                             DBA READING CONNECTIONS        4308 WEST UTICA ST                                                             BROKEN ARROW        OK           74011
    Mary Ignasiak                                                          836 Iroquois Trail                                                             Macedonia           OH           44056
    Mary J Casey                                                           403 Santa Clara Ave.                                                           Alameda             CA           94501
    MARY J METZGER                                                         2518 WALNUT STREET                                                             BELLINGHAM          WA           98225
    Mary J. Luz                                                            49 Linnea Lane                                                                 Reading             MA           01867
    MARY JACK WALD ASSOC INC                                               111 EAST 14TH STREET                                                           NEW YORK            NY           10003
    Mary Jacobsen                                                          1467 Columbia Lane                                                             Barrington          IL           60010

    MARY JANE MCKITIS & ASSOCIATES                                         5441 WEST IDLE HOUR PLACE                                                      TUCSON              AZ           85745
    Mary Jane Oakley                                                       9941 Hamblin Court                                                             Indianapolis        IN           46280
    Mary Jane Tracy                                                        9927 Heather Hills Road                                                        Indianapolis        IN           46229
    MARY JEAN HENDRICK                                                     133 CHOCTAW ROAD                                                               CHOCTAW             OK           73020
    Mary Jean Rosin                                                        52 Ledyard Road                                                                Winchester          MA           01890
    MARY JEAN WILLIAMS                                                     475 W SIERRA AVE # 156                                                         FRESNO              CA           93704
    Mary Jo Ahern                                                          4040 Hillsdale Drive                                                           Auburn Hills        MI           48326
    MARY JO CAVANAUGH                                                      25 CENTRAL PARK WEST APT 6G                                                    NEW YORK            NY           10023
    Mary Jo Cunningham                                                     15925 OBrien Court                                                             Grand Haven         MI           49417
    MARY JO EXUM                                                           6037 SPANISH OAK DR                                                            PENSACOLA           FL           32526
    MARY JO KASKA                                                          1109 EMERALD LAKE CT                                                           FORT WORTH          TX           76103-1206
    Mary Jo Kotwas                                                         2745 Westminster Road                                                          Ellicott City       MD           21043
    Mary Jo Kramer                                                         1 Dixon Street                                                                 Milford             CT           06460
    Mary Jo Moreland                                                       4170 N Sherman Dr                                                              Indianapolis        IN           46226
    MARY JO PETTERSON                                                      140 BEACH SUMMIT COURT                                                         JUPITER             FL           33477
    Mary Jo Woodside                                                       7763 Spring Mill Rd                                                            Indianapolis        IN           46260
    MARY JOANNE HINKO                                                      23 TEJANO CANYON ROAD                                                          SANDIA PARK         NM           87047
    Mary Jordan                                                            3639 Hermes Circle                                                             Salt Lake City      UT           84124
    Mary Judith Stewart                                                    100 Roscommon Place                                                            McMurray            PA           15317
    MARY JUZWIK                                                            1814 SHUBEL AVE                                                                LANSING             MI           48910
    Mary K Carrese                                                         19 Erie Ave.                                                                   Newburyport         MA           01950
    Mary K. Harmon                                                         123B HERITAGE VILLAGE                                                          SOUTHBURY           CT           06488
    Mary Kate Karr-Petras                                                  1145 Fern Street                                                               Broomfield          CO           80020
    MARY KATHERINE MACO                                                    656 TREMONT ST #3                                                              BOSTON              MA           02118
    MARY KATHERINE OHARE                                                   225 PAMELA DRIVE #225                                                          MOUNTAIN VIEW       CA           94040
    Mary Katie OHare                                                       1107 High School Way           #1                                              Mountain View       CA           94041
    MARY KAY CARSON                                                        4308 LEEPER ST                                                                 CINCINNATI          OH           45223
    MARY KREUL                                                             4857 N SANTA MONICA BLVD                                                       WHITEFISH BAY       WI           53217
    Mary L Goad                                                            4945 Shadowlawn Drive                                                          Hermitage           TN           37076
    MARY L HOLLY                                                           7566 STATE ROUTE 43                                                            KENT                OH           44240
    Mary Landgraf                                                          8912 Esguerra Lane                                                             Orlando             FL           32836
    MARY LANDRY                                                            110 STONEWOOD CIRCLE                                                           LAFAYETTE           LA           70508
    MARY LEE PRESCOTT GRIFFIN                                              8 LAWRENCE ST                                                                  SWANSEA             MA           02777
    Mary Lindenberg                                                        PO BOX 2508                                                                    BORREGO SPRINGS     CA           92004



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Case No. 12-12171 (REG)                                                                                                   286 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2                        Address3              City         State       Zip                Country
    MARY LISA ANDERSON                                                     2709 N 6TH STREET                                                                          OCEAN SPRINGS      MS           39564
    MARY LOU ALSIN, INC.                                                   3352 KING EDWARDS COURT                                                                    EUGENE             OR           97401-8513
    Mary Lou De Klyen                                                      1164 Ward Road                                                                             Batavia            IL           60510
    Mary Lou Laird                                                         66 Charles Rd.                                                                             Bedford Corners    NY           10549
    MARY LOU MCCLOSKEY                                                     1958 STARFIRE DRIVE NE                                                                     ATLANTA            GA           30345
    MARY LOU MCCLOSKEY                                                     1958 STARFIRE DRIVE NE                                                                     ATLANTA            GA           30345-3069
    MARY LOUISE MOODY                                                      805 TIMBERLINE LANE                                                                        CALERA             AL           35040
    MARY LYNN KENDRICK                                                     9943 S DAMEN AVENUE                                                                        CHICAGO            IL           60643
    MARY M ELSTGEEST-SOA                                                   WESTMEDE 29                                                                                MIDDLEBURG                      04337        Netherlands
    MARY M FARRELL                                                         212 ENCHANTED FOREST N                                                                     DEPEW              NY           14043
    MARY M MCCLELLAN                                                       790 WOODSIDE LANE EAST # 2                                                                 SACRAMENTO         CA           95825
    MARY M MCCLELLAN                                                       790 WOODSIDE LANE E UNIT 2                                                                 SACRAMENTO         CA           95825
    Mary M Schulz                                                          5329 Main Street                 #301                                                      Downers Grove      IL           60515
    Mary Mars                                                              4330 Shire Landing Rd                                                                      Hilliard           OH           43026
    Mary McArthur                                                          2974 Brookview Lane                                                                        Palatine           IL           60067

    MARY MCCARTHY LITERARY TRUST                                           15 WEST 81ST STREET APT 4B       MARGO VISCUSI TRUSTEES                                    NEW YORK           NY           10024
    MARY MCCLEAN                                                           2 CHARLTON ST - #7-H                                                                       NEW YORK           NY           10014
    MARY MCCORMICK                                                         4930 NEAL CREEK ROAD                                                                       HOOD RIVER         OR           97031
    Mary McDevitt                                                          16753 E Hollow Horn Ave                                                                    Parker             CO           80134
    Mary McDowell                                                          214 Atlantic Ave.                #6                                                        Hull               MA           02045
    Mary McKaig                                                            12143 Kirby Smith Road                                                                     Orlando            FL           32832
    Mary Mckeon                                                            63 Mccormack Ave                                                                           Medford            MA           02155
    Mary McKnight                                                          2118 Hargill Drive                                                                         Orlando            FL           32806
    Mary Mcnary                                                            35 Hillside Dr                                                                             Wayland            MA           01778
    MARY MICHELLE LANDER                                                   18 MARGARET DRIVE                                                                          NORTON             MA           02766
    MARY MOORE REEVES                       ATTN JAMES M MOORE             10 SEQUASSEN ROAD                                                                          FARMINGTON         CT           06032
    Mary Murphy                                                            101 South Bumby Ave              Apt E21                                                   Orlando            FL           32803
    Mary Newcomb                                                           75 Mustang Lane                                                                            Troy               MO           63379
    MARY NEWELL DEPALMA                                                    25 PERSHING ROAD                                                                           BOSTON             MA           02130
    Mary Niles                                                             721 California Woods Circle                                                                Orlando            FL           32824
    MARY NOBLE MASSEY CAIN                                                 1017 MELROSE PLACE                                                                         HOMEWOOD           AL           35209
    Mary ODonnell                                                          43 Spruce Grove Rd                                                                         Harwich            MA           02645
    MARY OKEEFE YOUNG                                                      62 MIDCHESTER AVE                                                                          WHITE PLAINES      NY           10606
    MARY OLIVER                                                            535 COMMERCIAL UNIT 1                                                                      PROVINCETOWN       MA           02657
    MARY OLIVER                                                            P O BOX 619                                                                                PROVINCETOWN       MA           02657
    MARY P CLEVENGER                        DBA EHRGOTTS SIGNS & STAMPS    4615 E 10TH ST                                                                             INDIANAPOLIS       IN           46201
    MARY P CORCORAN                                                        NUI MAYN OOTH                    NAT UNIV IRELAND, MAYNOOTH           DEPT OF SOCIOLOGY    MAYNOOTH, CO.      Kildare                   Ireland
    MARY P DOLCIANI HALLORAN
    FOUNDATION                                                             1239 8TH AVE SE                                                                            OLYMPIA            WA           98501
    MARY PATRICIA HAND MORRIS                                              404 WEST GREEN ROAD                                                                        DOUGLAS            GA           31533
    Mary Patricia Leger                                                    6036 South Telluride Circle                                                                Aurora             CO           80016
    MARY PATTON                                                            1550 CHERRY ROAD                                                                           SPRINGFIELD        IL           62704
    Mary Perna                                                             2703 Runyon Circle                                                                         Orlando            FL           32837
    Mary Pike                                                              32 Low St #118                                                                             Newburyport        MA           01950
    Mary Prescott-Irving                                                   69 Quincy Road                                                                             Tewksbury          MA           01876
    Mary Quadrini                                                          61 Narragansett St.                                                                        North Kingstown    RI           02852
    MARY REILLY                                                            19 EASTMAN RD                                                                              SOMERVILLE         MA           02143-1305
    Mary Reynolds                                                          3500 Wyandot Street                                                                        Denver             CO           80211
    MARY RITA BRADY                                                        816 SW 158TH TERRACE                                                                       SUNRISE            FL           33326
    Mary Roach                                                             213 Gary Drive                                                                             Winter Garden      FL           34787-2820
    Mary Robertson                                                         87 Beacon Street                                                                           Boston             MA           02108
    MARY ROBYN SIMPSEN                                                     2258 NW 55TH ST                                                                            OKLAHOMA CITY      OK           73112
    Mary Rodriguez                                                         4608 Cheyenne Point Trail                                                                  Kissimmee          FL           34746
    MARY ROSE OREILLEY                                                     2101 PRINCETON AVENUE                                                                      ST PAUL            MN           55105
    Mary Rose Suerth                                                       416 Cambridge                                                                              Elburn             IL           60119
    MARY ROSENBERG                                                         280 W SERENA AVENUE                                                                        CLOVIS             CA           93619
    Mary Rubadeau                                                          PO Box 3836                                                                                Telluride          CO           81435
    Mary S Castner                                                         715 Linwood Avenue                                                                         Mount Ephraim      NJ           08059
    MARY S PETERSON                                                        51 WEST STREET                                                                             CONCORD            MA           01742
    MARY SCHENCK-ROSS                       DBA THINKING CAP LEARNING      26608 WOODPECKER TR                                                                        SPICEWOOD          TX           78669
    Mary Scott                                                             230 Osprey Circle                                                                          St. Marys          GA           31558
    Mary Scudder                                                           19 W Cedar St                                                                              Boston             MA           02108
    Mary Shaw                                                              908 Polished Stone Cove                                                                    Pflugerville       TX           78660
    MARY SHEA                                                              7199 BROOKSIDE DRIVE                                                                       LOCKPORT           NY           14094
    MARY SHERRILL RIDLER                                                   27 KINGSWOOD DRIVE                                                                         NORTH STONINGTON   CT           06359
    MARY SIDDALL                                                           322 11TH STREET NE                                                                         WASHINGTON         DC           20002
    MARY SILVA COSGRAVE
    CHARITABLE                              REMAINDER ANNUITY TRUST        PETER C BULLARD 115 ORCHARD ST                                                             NEW BEDFORD        MA           02740
    Mary Sue Bennett                                                       1110 Westminister Ln                                                                       Duncanville        TX           75137



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     287 of 488                                                                                                   1:26 PM
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                                                                                                                           of 519
                                                                                                                   First Class Service List


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    MARY T CHRISTEL                                                        1053 DRIFTWOOD CT                                                                            WHEELING           IL           60090
    Mary T Santa Maria                                                     33 Bunker Hill Lane                                                                          Quincy             MA           02169
    Mary Tominac                                                           9 Ellam Drive                                                                                Randolph           NJ           07869
    Mary Ton                                                               1244 Croyden Ct.                                                                             Geneva             IL           60134
    Mary Tozlowski                                                         10 Randolph Dr                                                                               Tewksbury          MA           01876
    MARY TUSING                                                            1522 GROVER ROAD                                                                             EAU CLAIRE         WI           54701
    MARY V MCADAM                                                          6346A HIGHWAY 291                                                                            NINE MILE FALLS    WA           99026
    Mary Van Egmond                                                        8016 Golden Sands Drive                                                                      Orlando            FL           32819
    MARY WATSON WARINER                                                    PO BOX 453                                                                                   LEFORS             TX           79054
    Mary Weihman                                                           11200 Hurn Ct                                                                                Orlando            FL           32837
                                            DBA WHITE EDUCATIONAL
    MARY WHITE                              CONSULTING                     803 W DOWNING STREET                                                                         TAHLEQUAH          OK           74464
    Mary Willoughby                                                        5933 N. HERMITAGE AVE                                                                        CHICAGO            IL           60660
    Mary Young                                                             1917 Mora Court                  #203                                                        Schaumburg         IL           60193
    Mary Young                                                             252 W 3rd St                                                                                 Moscow Mills       MO           63362
    Mary Zettell                                                           29 Prospect Street                                                                           Sherborn           MA           01770
    MARYANN JOHNSON                                                        634 AVERASBORO DR                                                                            CLAYTON            NC           27520
    MARYANN LATTA                                                          2559 SUNDANCE LANE                                                                           OKEMOS             MI           48864
    MARYANN MACDONALD                                                      129 EAST 82ND STREET, APT # 7B                                                               NEW YORK           NY           10028
    MARYANN MACDONALD                                                      129 EAST 82ND STREET                                                                         NEW YORK           NY           10028
    MARYANN MANNING                                                        4344 CLAREMONT AVE                                                                           BIRMINGHAM         AL           35222
    Maryann Perkins                                                        960 Cherry Valley Rd.                                                                        Princeton          NJ           08540
    Maryann Wiggs c/o Educational           Performance Consulting, LLC    1045 Becky Drive                                                                             Colorado Springs   CO           80921
    MARYANNE SACCO                                                         312 WEST 107TH STREET 4A                                                                     NEW YORK           NY           10025
    Maryanne Whitaker                                                      39 Hutchinson St                                                                             Sanford            ME           04073
    MARYBETH MUELLER                                                       11946 E DEL TIMBRE DR                                                                        SCOTTSDALE         AZ           85259
    Maryellen Hanley                                                       216 Savin Hill Ave                                                                           Dorchester         MA           02125
    MARYELLEN TSENG                                                        230 PARK PL #6A                                                                              BROOKLYN           NY           11238
    MARYELLEN VOGT                                                         10244 VALMONT TRAIL                                                                          TRUCKEE            CA           96161
    Mary-Eunest Brown                                                      7610 Goldengrove Drive                                                                       Spring             TX           77379
    Maryh McFarland-Kolling                                                3071 Palermo Rose Way                                                                        Kissimmee          FL           34746
    MARYLAND ASSESSMENT GROUP               CONFERENCE SOLUTIONS           PO BOX 7276                                                                                  FAIRFAX STATION    VA           22039-7276
    MARYLAND ASSOC OF ELEM SCH
    PRINCIPALS                                                             7000 OPAL CRT                    ATTN JERRY DEGRANGE                                         MIDDLETOWN         MD           21769
    MARYLAND ASSOCIATION FOR
    ADULT                                   COMMUNITY & CONTINUING ED      P O BOX 709                                                        ATTN MELINDA BROWN        LEONARDTOWN        MD           20650
    MARYLAND ASSOCIATION OF
    CHRISTIAN HOME                          EDUCATORS                      23700 STRINGTOWN ROAD                                                                        CLARKSBURG         MD           20871
    MARYLAND ASSOCIATION OF
    NONPUBLIC                               SPECIAL EDUCATION FACILITIES   PO BOX 6815                                                                                  BALTIMORE          MD           21285
    MARYLAND COMPOSTITION                                                  4590 GRAPHICS DRIVE                                                                          WHITE PLAINS       MD           20695
    MARYLAND COUNCIL FOR THE
    SOCIAL STUDIES                          ATTN BARBARA YINGLING          P O BOX 42163                                                                                BALTIMORE          MD           21284
    MARYLAND COUNCIL OF TEACHERS                                                                                                              SECONDARY MATHS OFFICE-
    OF MATH                                 ATTN JON WRAY                  10910 ROUTE 108                                                    HOWARD CPS                ELLICOTT CITY      MD           21042
    MARYLAND COUNTRY CATERERS
    INC                                                                    673 KEITH LANE                                                                               OWINGS             MD           20736
    MARYLAND FOREIGN LANGUAGE
    ASSN                                                                   1705 SOUTH MILL DRIVE            ATTN ARLENE WHITE                                           SALISBURY          MD           21804
    MARYLAND HISTORICAL SOCIETY                                            201 WEST MONUMENT STREET                                                                     BALTIMORE          MD           21201
    MARYLAND INSTRUCTIONAL
    COMPUTER                                COORDINATORS ASSOC             103 LITTLE NECK ROAD         ATTN MICHAEL MASZCZENSKI                                        STEVENSVILLE       MD           21666
                                                                           10025 GOVERNOR WARFIELD PKWY
    MARYLAND PSYCOLOGICAL ASSN   FOUNDATION INC                            STE102                                                                                       COLUMBIA           MD           21044
    MARYLAND SCIENCE SUPERVISORS                                                                        ATTN THOMAS DUMARS - TSM
    ASSOC                                                                  19501 WHITE GROUND ROAD      CENTER                                                          BOYDS              MD           20841
    MARYLAND STATE ARCHIVES                                                350 ROWE BLVD                                                                                ANNAPOLIS          MD           21401
    MARYLEE ALANIZ                                                         6309 NORTH 1ST LANE                                                                          MCALLEN            TX           78504
    MARYLOU DANTONIO                                                       5301 SOUND AVE                                                                               EVERETT            WA           98203-1216
    MARYSA NAVARRO                                                         35 COPLEY STREET                                                                             CAMBRIDGE          MA           02138
    MARYVILLE UNIVERSITY OF ST
    LOUIS                                                                  650 MARYVILLE UNIV DRIVE                                                                     SAINT LOUIS        MO           63141
    MARYWOOD UNIVERSITY                                                    2300 ADAMS AVENUE                                                                            SCRANTON           PA           18509
    MARZANO ROBERT J                                                       7127 S DANUBE CT                                                                             CENTENNIAL         CO           80016
    Marzee L Eckhoff                                                       323 Redwing Dr.                                                                              Deerfield          IL           60015
    MASHPEE PUBLIC SCHOOLS                                                 150A OLD BARNSTABLE ROAD                                                                     MASHPEE            MA           02649
    Mason Capital
    MASON CITY SCHOOL DISTRICT   FINANCE DEPARTMENT                        211 NORTH EAST STREET                                                                        MASON              OH           45040
    MASON CURTIS E TRUSTEE       THE MASON FAMILY TRUST                    6830 FRANK LLOYD WRIGHT AVE                                                                  MIDDLETON          WI           53562
    MASON ELEMENTARY SCHOOL                                                19635 MITCHELL ST                                                                            DETROIT            MI           48234-1521



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                  288 of 488                                                                                              1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                       of 519
                                                                                                                      First Class Service List


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    MASON HERBERT                                                          9 SEAVIEW LANE                                                                              NEWBURY            MA           01951
    MASON JANA                                                             1802 PLEASANT STREET                                                                        URBANA             IL           61801
    MASON MARGIE                                                           128 TEAL WAY                                                                                WILLIAMSBURG       VA           23188-1674
    MASON PAMELA                                                           6 WORCESTER SQUARE                                                                          BOSTON             MA           02118
    Mason T Schroth                                                        9020 Colby Street                                                                           Lincoln            NE           68505
    MASS AUDUBON SOCIETY                                                   208 SOUTH GREAT RD                                                                          LINCOLN            MA           01773
    MASS COALITION FOR ADULT
    EDUCATION                                                              44 FARNSWORTH STREET                                                  ATTN JULIE BUCKLEY    BOSTON             MA           02210
    MASS COMMUNICATIONS INC                                                50 JYTEK RD                                                                                 LEOMINSTER         MA           01453
    MASS REPRO LTD                          DBA SIR SPEEDY                 ONE MILK STREET                                                                             BOSTON             MA           02109
    MASSACHUSETTS ASSN OF
    TEACHERS OF                             SPEAKERS OF OTHER LANGUAGES    2 CANTON STREET                                                                             STOUGHTON          MA           02072
    MASSACHUSETTS ASSN OF
    TEACHERS OF                             ATTN VENDOR REGISTRATION       2 CANTON STREET                                                                             STOUGHTON          MA           02072
    MASSACHUSETTS ASSOCIATION OF
    SCHOOL                                  SUPERINTENDENTS                756 MARRETT ROAD                  ATTN DARLENE MACMILLAN                                    LEXINGTON          MA           02421
    MASSACHUSETTS CHAPTER
    FEDERAL BAR                             ASSOCIATION                    TWO NEWTON PLACE                                                                            NEWTON             MA           02458
    MASSACHUSETTS CORRECTIONAL
    EDUCATION                               ASSOCIATION INC                PO BOX 71                                                                                   FRAMINGHAM         MA           01704
    MASSACHUSETTS COUNCIL FOR
    THE SOCIAL                              STUDIES                        35 MOHAWK STREET                                                                            SHARON             MA           02067
    Massachusetts Dep. of Revenue                                          P.O. Box 7038                                                                               BOSTON             MA           02204-7038
    Massachusetts Dept of Revenue           Attn Bankruptcy Unit           100 Cambridge St                  7th Fl                                                    Boston             MA           02114
    Massachusetts Division of               Unemployment Assistance        PO Box 3269                                                                                 Boston             MA           02241-3269
    MASSACHUSETTS ELEMENTARY
    SCHOOL                                  PRINCIPALS ASSN                28 LORD ROAD SUITE 125                                                                      MARLBOROUGH        MA           01752
    MASSACHUSETTS FOREGIN
    LANGUAGE                                ATTN JOSHUA CABRAL             13 WILLOW STREET # 105                                                                      LYNN               MA           01901
    MASSACHUSETTS FOREGIN
    LANGUAGE                                ASSOCIATION                    13 WILLOW STREET # 105                                                                      LYNN               MA           01901
                                                                                                             PUBLICATION DEPT - ATTN ONDINE
    MASSACHUSETTS HIST SOC                                                 1154 BOYLSTON STREET              LE BLANC                                                  BOSTON             MA           02215
    MASSACHUSETTS HISTORICAL
    SOCIETY                                 ACCOUNTING DEPT                1154 BOYLSTON STREET                                                                        BOSTON             MA           02215
    MASSACHUSETTS INST OF
    TECHNOLOGY                              SLOAN SCHOOL OF MANAGEMENT     50 MEMORIAL DRIVE                                                                           CAMBRIDGE          MA           02142
    MASSACHUSETTS INSTITUTE OF
    TECHNOLOGY                              MIT LIBRARIES                  77 MASSACHUSETTS AVE, 7-304       ROTCH VISUAL COLLECTIONS                                  CAMBRIDGE          MA           02139-4307
    MASSACHUSETTS READING ASSN                                             P O BOX 426                                                                                 WEST BARNSTABLE    MA           02668
    MASSACHUSETTS VISION SERVICE
    PLAN                                    VISION SERVICE PLAN            FILE #73393 - P O BOX 60000                                                                 SAN FRANCISCO      CA           94160-3393
    Massage Envy                                                           201 Steel Street                                                                            Denver             CO           80206
    MASSE FIRE PROTECTION
    SERVICES LLC                                                           9 MEADOW LANE                                                                               PLEHAM             NH           03076-3607
    MASSEY EQUIPMENT COMPANY                                               915 ST LOUIS AVENUE                                                                         ST LOUIS           MO           63102
    MASSHOPE                                                               544 BEECH ST                      C/O MALCOLM & KATHY LILLIE                                FITCHBURG          MA           01420

    MASSILLON CITY SCHOOL DISTRICT WASHINGTON HIGH SCHOOL                  1 PAUL BROWN DR SE                                                                          MASSILLON          OH           44646
    MASSP                          ATTN GARY SMYLY                         1607 CHURCH STREET                                                                          COLUMBIA           MS           39429
    MASTER BREW BEVERAGES INC                                              P O BOX 1508                                                                                NORTHBROOK         IL           60065
    MASTER CONSTRUCTION &
    ENGINEERING INC                                                        P O BOX 226984                                                                              DALLAS             TX           75222
    Master Image Supply, Inc.                                              PO Box 551                                                                                  Canoga Park        CA           91305
    MASTER TAPE & LABEL PRINTERS                                           4517 N ELSTON AVENUE                                                                        CHICAGO            IL           60630
    MASTERFILE CORPORATION                                                 3 CONCORDE GATE 4TH FL                                                                      TORONTO            ON           M3C 3N7      Canada
    MASTERLINE SOCIEDAD ANONIMA                                            ROSARIO NORTE 555 PISO 10                                             LAS CONDES SANTIAGO   RM - Santiago                                Chile

    MASTERMIND STUDIOS LLC                  DBA CASUAL GAMES ASSOCIATION   P O BOX 305                                                                                 SMITHFIELD         UT           84335
    MASUMI NAKADA                                                          2-7-3-509 SHINJUKU                                                                          SHINJUK-KU TOKYO                160-0022     Japan
    MATANOVIC MILENKO                                                      16611 SE 45TH ST                                                                            ISSAQUAH           WA           98027
    MATANUSKA-SUSITNA BOROUGH
    SCHOOL                                                                 501 N GULKANA                                                                               PALMER             AK           99645
    MATERIAL HANDLING SOLUTIONS                                            10296 HATHERLEY WAY                                                                         FISHERS            IN           46037
    MATERIAL HANDLING SUPPLY INC            DBA MHS LIFT INC               P O BOX 827043                                                                              PHILADEPLPHIA      PA           19182
    MATERIAL INSTALLATIONS INC                                             11 BAYFIELD DRIVE                                                                           NORTH ANDOVER      MA           01845
    MATH MADE VISIBLE LLC                                                  908 13TH STREET                                                                             AUSTIN             TX           78702

    MATH QUEUE INC                                                         7182 LIBERTY CENTRE DRIVE STE Q                                                             WEST CHESTER       OH           45069
    MATH WRITER INC                         AMY FELDMAN                    31 BUCKLEY HILL ROAD                                                                        MORRISTOWN         NJ           07960



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                     289 of 488                                                                                                  1:26 PM
                                                      12-12171-reg            Doc 136              Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 297 Matrix
                                                                                                                         of 519
                                                                                                                      First Class Service List


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    MATHEMATICS EDUC
    COLLABORATIVE                                                           4439 SALTSPRING DR               ATTN RUTH PARKER                               FERNDALE          WA           98248
    MATHEMATICS EDUCATORS OF
    GREATER                                 ST LOUIS - ATTN PAT KENNEDY     1528 BRENTHAVEN LANE                                                            FLORISSANT        MO           63031
    MATHERS PETRA                                                           1060 RIDGE DRIVE                                                                ASTORIA           OR           97103
    MATHEW LEHMAN                                                           9773 TIGER LILLY PATH, APT 1 C                                                  LAUREL            MD           20723
    Mathew Misialek                                                         4310 Cottonwood St                                                              Grand Forks       ND           58201
    MATHEWS SALLY SCHOFER                                                   3162 BORDEAUX LANE                                                              CLEARWATER        FL           33759
    MATHIESON DAVID                                                         P O BOX 81                                                                      PORT TOWNSEND     WA           98368
    MATHWORKS                                                               12214 SLEEPY HORSE LANE                                                         COLUMBIA          MD           21044
    Matilda Welter                                                          37 Beacon Street                                                                Boston            MA           02108
    MATRIX PRODUCTIONS INC                                                  P O BOX 66046                                                                   TUCSON            AZ           85728-6046
    MATRIX RESOURCES INC                                                    PO BOX 101177                                                                   ATLANTA           GA           30392
    Matt A. Robinson                                                        114 S. Cuyler Ave.                                                              Oak Park          IL           60302
    MATT BROERSMA                                                           25 BROADWAY ROAD, FLAT 2                                                        BRISTOL                        BS7 8ES      United Kingdom
    MATT DUFEK                                                              7412 PERSHING BLVD                                                              KENOSHA           WI           53142
    MATT GLOVER CONSULTING LLC                                              918 OREGON TR                                                                   CINCINNATI        OH           45215
    MATT HAVEN ACADEMY CHARTER                                              165 BROWN PLACE                                                                 BRONX             NY           10454

    MATT INDUSTRIES INC                     DBA DUPLI ENVELOPE & GRAPHICS   P O BOX 11500                                                                   SYRACUSE          NY           13218-1500
    Matt J Slattery                                                         20 Shetland Drive                                                               Shrewsbury        PA           17361
    MATT MAHURIN INC                        MATT MAHURIN                    20 MAKAMAH BEACH RD                                                             NORTHPORT         NY           11768
    Matt Mason                                                              1522 West Long Avenue                                                           Littleton         CO           80120
    Matt Minney                                                             586 Longfellow Lane                                                             Littleton         CO           80126
    MATT NELSON                                                             3215 E 1969TH ROAD                                                              OTTAWA            IL           61350
    MATT WITTMEYER PHOTOGRAPHY                                              1115 EAST MAIN STREET BOX # 29                                                  ROCHESTER         NY           14609
    MATTESON PUBLIC LIBRARY                                                 801 S SCHOOL AVE                                                                MATTESON          IL           60443
    MATTHEW A WOOD                                                          591 TORTUGA WAY                                                                 W MELBOURNE       FL           32904
    MATTHEW AMSTER-BURTON                                                   503 13TH AVE E 207                                                              SEATTLE           WA           98102-5152
    Matthew B Hargis                                                        11714 Big Trail                                                                 Austin            TX           78759
    Matthew Babiarz                                                         10 Thacher St. Apt 202                                                          Boston            MA           02119
    Matthew Belyea                                                          30 Hazelhurst Ave                                                               Newton            MA           02465

    MATTHEW BENDER & COMPANY INC LEXIS NEXIS MATHEW BENDER                  P O BOX 7247-0178                                                               PHILADELPHIA      PA           19170-0178
    Matthew Brown                                                           63 Robeson Street                Apt. 1                                         Jamaica Plain     MA           02130
    MATTHEW BUTLER                                                          30 CARRIAGE CIRCLE                                                              NEW YORK          NY           14221
    Matthew Carman                                                          11 Cliff Street                                                                 Arlington         MA           02476
    MATTHEW CONE                                                            2804 MOLLIMAR DRIVE                                                             PLANO             TX           75075
    MATTHEW D ELLIS              dba ELLIS STRATEGIES INC                   11 CEDAR KNOLL                                                                  BOXFORD           MA           01921
    MATTHEW D HUNTER                                                        13061 ANDOVER DRIVE                                                             CARMEL            IN           46033
    Matthew D McCann                                                        205 Westline Dr                                                                 Hazleton          IA           50641
    Matthew Digangi                                                         11 Morrison Place                                                               Somerville        MA           02144
    MATTHEW E SMOLLON                                                       473 PROSPECT STREET                                                             SOUTH ORANGE      NJ           07079
    MATTHEW F WOLCOTT                                                       1295 N POPLAR AVE                                                               FRESNO            CA           93728
    MATTHEW FARRIER                                                         235 ADAMS ST                                                                    DENVER            CO           80206
    Matthew Fletcher                                                        4985 W 11 St                                                                    Speedway          IN           46224
    Matthew Fulkerson                                                       1621 Jenson Rd                                                                  Fort Worth        TX           76112
    MATTHEW H ROBERSON                                                      5056 PIMLICO DR                                                                 TALLAHASSEE       FL           32309
    MATTHEW HOLTZEN                                                         4102 HANCOCK AVENUE                                                             ENID              OK           73703-1323
    MATTHEW ISENBURG                                                        1 DAY HILL ROAD - P O BOX 189                                                   HADLYME           CT           06439-0189
    Matthew J Baur                                                          6381 Conroy Rd.                  1803                                           Orlando           FL           32835
    Matthew J Frueh                                                         43 Forrester St.                                                                Newburyport       MA           01950
    MATTHEW J HERRON             DBA TAKE STOCK                             830 RINCON WAY                                                                  SAN RAFAEL        CA           94903
    MATTHEW JOSEPH DOYLE                                                    2027 CAMELOT DRIVE                                                              LEWISVILLE        TX           75067
    MATTHEW LARSON                                                          10060 EDGEWATER LANE                                                            LINCOLN           NE           68527
    Matthew Lewis                                                           3394 Birch Street                                                               Palo Alto         CA           94306
    MATTHEW M P HUMMEL                                                      2607 BAY BERRY DR                                                               LODI              CA           95242
    Matthew M Rex                                                           260 Springhill dr.               102                                            Roselle           IL           60172
    MATTHEW MADDEN                                                          517 47TH STREET                                                                 BROOKLYN          NY           11220
    Matthew Manning                                                         5500 Eucalyptus Drive            #926                                           American Canyon   CA           94503
    Matthew Mason                                                           1063 West Powers                                                                Littleton         CO           80120
                                 DBA MATTHEW MCKEE                          S-7 BLDG C 1 WESTINGHOUSE
    MATTHEW MCKEE                PHOTOGRAPHY                                PLAZA                                                                           HYDE PARK         MA           02136
    MATTHEW MITCHELL                                                        1344 DEXTER ROAD                                                                NORTH PORT        FL           34288
    MATTHEW N MOLLER                                                        6062 DADO DR                                                                    NOBLESVILLE       IN           46062
    Matthew Pastuszak                                                       4 N 106 Norris                   Rt 3                                           West Chicago      IL           60185
    MATTHEW PAUPORE                                                         1293 PLAZZA ANTINORI                                                            BOYNTON BCH       FL           33426
    Matthew Paupore                                                         61211 Saddlecreek Dr.                                                           South Lyon        MI           48178
    MATTHEW PITKOFF                                                         4 TOWER DR                                                                      MAPLEWOOD         NJ           07040
    MATTHEW POWER                                                           25 HAWTHORNE STREET                                                             BROOKLYN          NY           11225



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     290 of 488                                                                                     1:26 PM
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                                                                                                                        of 519
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                       Address2              Address3                City         State       Zip             Country
    Matthew R Crain                                                        9801 Stonelake Blvd           Apt #814                                         Austin              TX            78759
    Matthew Ryan                                                           70 Marion St.                                                                  Medford             MA            02155
    Matthew S Leonard                                                      1083 Buckskin Ln                                                               Carol Stream        IL            60188
    Matthew Sawicki                                                        555 Roosevelt Ave             Condo #202                                       Central Falls       RI            02863
    Matthew Schleehauf                                                     1636 W Kingston Lane                                                           Schaumburg          IL            60193
    Matthew Schomburg                                                      3785 Whispering Trails                                                         Hoffman Estates     IL            60192
    MATTHEW SILVER                                                         99 BROOKLINE ST # 2                                                            CAMBRIDGE           MA            02139
    MATTHEW SIMMONS                                                        1230 21ST AVENUE                                                               SAN FRANCISCO       CA            94122
    MATTHEW SMITH                                                          432 NEWTON AVE SOUTH                                                           MINNEAPOLIS         MN            55405
    Matthew Taylor                                                         6107 N Francisco Ave          Apt 2                                            Chicago             IL            60659
    Matthew Terry                                                          10132 Eventide Ct.                                                             Orlando             FL            32821
    MATTHEW TOMASETTI                                                      203 WEST UNION STREET                                                          ASHLAND             MA            01721
    Matthew Turner                                                         120 Hemenway Street           Apt # 2                                          Boston              MA            02115
    Matthew Waldo                                                          233 Witchtrot Road                                                             South Berwick       ME            03908
    Matthew Wallen                                                         1417 S 13TH ST                                                                 HARRISBURG          PA            17104
    MATTHEW ZBARACKI                        DO NOT USE                     36 CALROSSIE AVE                                                               MONTMORENCY         Victoria      03094        Australia
    MATTHEWS MARY                                                          226 SHUTESBURY ROAD                                                            AMHERST             MA            01002
    MATTHEWS MEDICAL & SCIENTIFIC
    BOOKS INC                                                              11559 ROCK ISLAND CT                                                           MARYLAND HEIGHTS    MO            63043

    MATTHEWS OU TULSA BOOKSTORE                                            4502 E 41ST RM 4W102                                                           TULSA               OK            74135
    MATTHEWS SEBASTIAN                                                     11 EAST HAWTHORNE DRIVE                                                        ASHEVILLE           NC            28805
    MATTHEWS WILLIAM IV                                                    POST OFFICE BOX 70582                                                          SEATTLE             WA            98127
    MATTHIAS WANDEL                                                        82 STARWOOD ROAD                                                               OTTAWA              ON            K2G 1Z5      Canada
    Mattie Sweezer                                                         1510 Heather Drive                                                             Aurora              IL            60506
    MATTINGLY LEONARD H                                                    700 W. SUNSET WAY                                                              ISSAQUAN            WA            98027
    MATTIO VALENTINO                                                       693 JENNINGS RD                                                                FAIRFIELD           CT            06824
    MAUCH CHUNK MUSEUM &
    CULTURAL CENTER             C/O JOHN DRURY                             181 WEST 13TH STREET                                                           JIM THORPE          PA            18229
    MAUDIE LYON                                                            RT 4 BOX 80B                                                                   ANADARKO            OK            73005
    MAUNACARIBE INC             ATTN ACCOUNTS RECEIVABLE                   P O BOX 1746                                                                   YABUCOA             PR            00767
    MAURA TIGHE CASTING                                                    142 BERKELEY STREET                                                            BOSTON              MA            02116
    MAUREEN A KELLY                                                        6315 MAIN STREET                                                               KANSAS CITY         MO            64113
    Maureen A. Ross                                                        428 Pleasant Street                                                            Melrose             MA            02176
    Maureen Ahern                                                          97 Walden Street                                                               Cambridge           MA            02140
    MAUREEN ALLAINE SPADA                                                  65 HAYWOOD MILL ROAD                                                           CONCORD             MA            01742
    MAUREEN B JOHNSON                                                      496 W COLLEGE STREET                                                           OBERLIN             OH            44074
    MAUREEN BAKIS                                                          44 ABINGTON ROAD                                                               DANVERS             MA            01923
    MAUREEN BARBIERI                                                       15 THAXTER LANE                                                                KITTERY POINT       ME            03905
    Maureen Crawford                                                       34 Harvard Road                                                                Stow                MA            01775
    Maureen Dimarco                                                        6 Cowbird Court                                                                Sacramento          CA            95834
    MAUREEN DOWD                                                           3260 N STREET NW                                                               WASHINGTON          DC            20007
    Maureen Fitzgerald                                                     1010 West 21st Street                                                          Carroll             IA            51401
                                DBA MAUREEN FLETCHER
    MAUREEN FLETCHER            PHOTOGRAPHY                                51 STONEYMEADE WAY                                                             ACTON               MA            01720
    Maureen Ford                                                           517 Johnson St                                                                 North Andover       MA            01845
    Maureen Foster                                                         17 Shaw Rd                                                                     Portsmouth          NH            03801
    Maureen Fujita                                                         1327 W. Eddy Street                                                            Chicago             IL            60657
    Maureen Grazioli                                                       3329 Plateau Dr.                                                               Belmont             CA            94002
    MAUREEN HASELHURST                                                     ORCHARD ROAD                  OAKSIDE, ROWLANDS GILL                           TYNE & WEAR                       NE39 1DN     United Kingdom
    MAUREEN HERBSTZUBER                                                    7 CROSS ST                                                                     MEDFIELD            MA            02052
    MAUREEN K SMITH                                                        4978 WHITFIELD AVE                                                             FREMONT             CA            94536
    Maureen La Flamme                                                      6 Essex St.                                                                    Gloucester          MA            01930
    MAUREEN LALLY                                                          24 MONORE PLACE, APT 4D                                                        BROOKLYN            NY            11201
    Maureen M Bisso                                                        120 Pearl Street                                                               Burlington          MA            01803
    MAUREEN M WIKLUND                                                      9 ROBIN ROAD                                                                   SANDWICH            MA            02563
    Maureen Netzel                                                         113 Sweetbriar Court                                                           South Elgin         IL            60177
    Maureen Oconnor                                                        297 Salem Street                                                               Andover             MA            01810
    MAUREEN OUELLETTE                                                      3718 SOUTH 53RD STREET                                                         GREENFIELD          WI            53220
    Maureen P Mauti                                                        151 Upham Street                                                               Lowell              MA            01851
    MAUREEN PATRICE POWDAR                                                 9415 FENDRYCH DRIVE                                                            OKLAHOMA CITY       OK            73165
    MAUREEN REDDY                                                          13 JEPPSON AVE                                                                 WORCESTER           MA            01606
    MAURICE DEAN MILLER                                                    2011 SOUTH CENTER STREET                                                       TERRE HAUTE         IN            47802
    Maurice Downing                                                        4733 W. 81st Pl.                                                               Indianapolis        IN            46268
    MAURICE J SABEAN                                                       44 CEDAR LAKE WEST                                                             DENVILLE            NJ            07834
    Maurice Lindborg                                                       1112 Essex Court                                                               Batavia             IL            60510
    MAURICE MANNING                                                        264 LONG RUN ROAD                                                              SPRINGFIELD         KY            40069
    MAURICE MANNING                                                        420 EAST MAIN STREET                                                           DANVILLE            KY            40422
    MAURICE MELTON                                                         733 FIRST AVENUE                                                               COLUMBUS            GA            31901
    MAURICE O CONNELL                                                      3630 QUESADA ST NW                                                             WASHINGTON          DC            20015-2538



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                   291 of 488                                                                                        1:26 PM
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                                                                                                                       of 519
                                                                                                                      First Class Service List


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    Maurice Pipkins Jr                                                      1706 Novel Drive                                                                            Garland             TX           75040
    Maurice Vanhorne                                                        6281 Hermitage Dr                                                                           Westerville         OH           43082
    MAUTOYIA COOPER                                                         116 COPPER LANE                                                                             RICHLAND            MS           39218
    MAVEN PRODUCTIONS INC                                                   P O BOX 904                                                                                 BOULDER             CO           80306-0970
    MAVERICK COLOR LABS LLC                 DBA MAVERICK COLOR              3223-A COMMANDER DR                                                                         CARROLLTON          TX           75006
    MAX APPLE                                                               726 BEDFORD PLACE                                                                           MERION              PA           19066
    MAX CLAYTON                                                             609 MEANDERING                                                                              FREDERICK           OK           73542
    MAX GROVER                                                              PO BOX 1935                                                                                 PORT TOWNSEND       WA           98368
    MAX R MITCHELL                                                          7181 MINK ST RD                                                                             OSTRANDER           OH           43061
    MAX WARBURG COURAGE
    CURRICULUM INC                          ATTN ELIZABETH EVANS            325 HUNTINGTON AVE BOX 52                                                                   BOSTON              MA           02115
    MAX WILLIAM SEABAUGH                    DBA MAX DESIGN STUDIO           11280 ROSE ANDERSON RD                                                                      MIDDLETOWN          CA           95461
    MAXIM HEALTH SYSTEMS LLC                                                12915 COLLECTION CENTER DR                                                                  CHICAGO             IL           60693
    MAXIMILIAN KOGAN PIETRI                 URB VILLA VERDE                 CALLE A # A-14                                                                              GUAYNABO            PR           00966
    MAXINE BARTOW                                                           86 NORTH FRANKLIN STREET                                                                    NYACK               NY           10960
    MAXINE CASS                                                             2346 25TH AVENUE                                                                            SAN FRANCISCO       CA           94116
    Maxine Graves                                                           45 Caswell Dr                                                                               Greenland           NH           03840
    MAXINE GROFFSKY LITERARY
    AGENCY                                  ATTN PERMISSIONS                853 BROADWAY SUITE 708                                                                      NEW YORK            NY           10003
    MAXWELL GLYN                            320 CENTRAL PARK WEST           APT 151                                                                                     NEW YORK            NY           10025
    May Joy Ramos Canonigo                                                  9732 N. Crawford                                                                            Skokie              IL           60076
    MAYA NOTTAGE                                                            9 HARBOUR MEWS                     CABLE BEACH WEST BAY ST           NASSAU                 International                    BAHAMAS      Bahamas
    MAYAGUEZ RESORT & CASINO                                                P O BOX 3781                                                                                MAYAGUEZ            PR           00681

    MAYDA BURGOS CORDOVA                                                    CONDOMINIO DE DIEGA 444, APT 701                                                            SAN JUAN            PR           00923
    Mayer Brown
    MAYER BROWN LLP                                                         2027 COLLECTION CENTER DR                                                                   CHICAGO             IL           60693-0020
    MAYGEN CROWE                                                            683 COUNTY ROAD 481                                                                         MERIDIAN            MS           39301
    Mayme S Deranian                                                        1415 E 52ND ST                                                                              CHICAGO             IL           60615
    MAYNARD MACK JR                                                         8045 NEWELL ST 424                                                                          SILVER SPRINGS      MD           20910
    MAYO BERNARD                                                            1702 BURNLEY AVE                                                                            CHARLOTTESVILLE     VA           22903
    MAYRA A SANTANA RIOS                                                    COND MONTE REAL RR2 BOX 124                                                                 SAN JUAN            PR           00926
                                                                            442 CALLE CAROLINA URB LA
    MAYRA ALMODOVAR                                                         CUMBRE                                                                                      SAN JUAN            PR           00926
    MAYRA DE LOURDES MALDONADO
    BRIGNONI                                                                P O BOX 71325, STE 49                                                                       SAN JUAN            PR           00936-8425
                                                                            URB VILLA ESPANA CALLE
    MAYRA LUGO SOSA                                                         PONTEVEDRA M-14                                                                             BAYAMON             PR           00961
    MAYRA Z MATOS BELTRAN                                                   6 BLVD MEDINA LUNA APT 1303        PORTALES DE PARQUE ESCORIAL                              CAROLINA            PR           00987
    MAYSVILLE PUBLIC SCHOOL                 MAYSVILLE HIGH SCHOOL           600 1ST STREET                                                                              MAYSVILLE           OK           73057

    MAYSVILLE PUBLIC SCHOOL                 MARYSVILLE ELEMENTARY SCHOOL 600 1ST STREET                                                                                 MAYSVILLE           OK           73057
    Mayward Long                                                         4184 north grand ave                                                                           Indianapolis        IN           46226
                                                                                                                                                                        ST KATHERINES WAY
    MAZARS LLP                                                              TOWER BRIDGE HOUSE                                                                          LONDON                           E1W 1DD      United Kingdom
    MAZELLA SANDERS                                                         3224 SHEPPARD DR                                                                            LAUREL              MS           39440
    MAZER CORPORATION                                                       6680 POE AVE                                                                                DAYTON              OH           45414
    MB ARTISTS INC                          DBA HK PORTFOLIO                775 SIXTH AVENUE # 6               ATTN MELA BOLINAO                                        NEW YORK            NY           10001
    MB ARTISTS INC                          DBA HK PORTFOLIO                775 SIXTH AVENUE # 6                                                                        NEW YORK            NY           10001
    MB ARTISTS INC                                                          775 SIXTH AVENUE # 6               ATTN MELA BOLINAO                                        NEW YORK            NY           10001
    MB ARTISTS INC                                                          775 SIXTH AVE # 6                                                                           NEW YORK            NY           10001
    MBA                                                                     3407 W 44TH STREET                                                                          MINNEAPOLIS         MN           55410
    M-BAM POOL LLC                          DBA MULLER CENTERPOINT LLC      P O BOX 843503                                                                              LOS ANGELES         CA           90084-3503
    MC ESCHER COMPANY                                                       PO BOX 101 NIEUWSTRAAT 6                                             HOLLAND AC BAARN       Zuid-Holland                     03740        Netherlands
    McAfee                                                                  PO Box 60157                                                                                Los Angeles         CA           90060-0157
    MCAFEE RESEARCH & EDITORIAL
    SERVICES LLC                                                            2132 COMMONWEALTH AVE                                                                       MADISON             WI           53726
    McAllister, Stephen
    MCCAFFREY LAURA WILLIAMS                                                P O BOX 58                                                                                  EAST MONTPELIER     VT           05651
    MCCALLUM R STEVE                                                        1313 CHEROKEE BOULEVARD                                                                     KNOXVILLE           TN           37919
    McCann FitzGerald
    MCCANN FITZGERALD SOLICITORS                                            SIR JOHN ROGERSONS QUAY            RIVERSIDE ONE                                            DUBLIN 2                                      Ireland
    MCCLELLAND & STEWART LTD                ATTN DAVID MEDEIROS             75 SHERBOURNE ST STE 500                                                                    TORONTO             ON           M5A 2P9      Canada
    MCCLELLAND AND STEWART LTD                                              75 SHERBOURNE STREET               KRISTA WILLIS                     5TH FLOOR              TORONTO             ON           M5A 2P9      Canada
    MCCLINTOCK BARBARA                                                      PO BOX 234                                                                                  WINDHAM             CT           06280
    MCCLINTOCK EDWIN                                                        13001 SW 80TH STREET                                                                        MIAMI               FL           33183
    MCCLOSKEY MARY LOU                                                      1958 STARFIRE DRIVE NE                                                                      ATLANTA             GA           30345
    MCCOLLISTERS INC                                                        P O BOX 822685                                                                              PHILADELPHIA        PA           19182-2685
    MCCOLLUM RICHARD G                                                      PO BOX 2122                                                                                 GREENPORT           NY           11944-0974
    MCCONNELL & MCNAMARA                                                    182 BROAD STREET                                                                            WETHERSFIELD        CT           06109



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                        292 of 488                                                                                                1:26 PM
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                                                                                                                        of 519
                                                                                                                        First Class Service List


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    MCCONNELL CAROLYN                                                      9026 NORTH CRAWFORD                                                                            SKOKIE           IL           60076
    MCCORMACK JAMES P                                                      7/24 BRAEMAR DRIVE                                                                             PORT MACQUARIE                02444        Australia
    MCCORMICK & WILLIAMS                    ATTN PJ MARK                   37 WEST 20TH STREET SUITE 606                                                                  NEW YORK         NY           10011
    MCCORMICK & WILLIAMS LLC                                               37 WEST 20TH STREET, STE 606                                                                   NEW YORK         NY           10011
    MCCORMICK AND WILLIAMS LLC                                             37 WEST 20TH STREET, SUITE 606       ATTN DAVID MCCORMICK                                      NEW YORK         NY           10011
                                            DBA ROCKFORD BUSINESS
    MCCOY-ROCKFORD INC                      INTERIORS                      P O BOX 200030                                                                                 HOUSTON          TX           77216-0030
    MCCULLY EMILY ARNOLD                                                   3 WASHINGTON SQ VILLAGE #16I                                                                   NEW YORK         NY           10012
    MCDANIEL COLLEGE INC                                                   2 COLLEGE HILL                                                                                 WESTMINISTER     MD           21157
    MCDERMOTT NANCIE                                                       205 BLACK TIE LANE                                                                             CHAPEL HILL      NC           27514
    MCDONNELL INVESTMENT
    MANAGEMENT
    MCENTEE ART & DESIGN INC                                               1387 11TH STREET                                                                               WEST LINN        OR           97068
    MCFARLAND & COMPANY INC                 PERMISSIONS DEPT               BOX 611                                                                                        JEFFERSON        NC           28640
    MCFARLAND & COMPANY INC                 LOIS GRUBB                     BOX 611                                                                                        JEFFERSON        NC           28640

    MCFARLAND CUMMUNITY SCHOOLS                                            5101 FARWELL ST                                                                                MCFARLAND        WI           53558
    McGee, Hearne & Paiz, LLP                                              314 W. 18th Street                                                                             Cheyenne         WY           82001-4404
    MCGILL ALICE                                                           6413 FOUR FOOT TRAIL                                                                           COLUMBIA         MD           21045
    MCGRAW HILL                                                            148 PRINCETON-HIGHTSTOWN RD          ROYALTIES DEPARTMENT               BLDG N2                HIGHTSTOWN       NJ           08520
    MCGRAW HILL                                                            TWO PENN PLAZA                                                                                 NEW YORK         NY           10121-1299
    MCGRAW HILL CO INC                                                     148 PRINCETON-HIGHTSTOWN RD          ROYALTIES DEPARTMENT               BLDG N2                HIGHTSTOWN       NJ           08520
    MCGRAW HILL COMPANIES                                                  PO BOX 2258                                                                                    CAROL STREAM     IL           60132
    MCGRAW HILL COMPANIES                                                  P O BOX 2258                                                                                   CAROL STREAM     IL           60132-2258
    MCGRAW HILL INC                                                        148 PRINCETON-HIGHTSTOWN RD          ROYALTIES DEPARTMENT               BLDG N2                HIGHTSTOWN       NJ           08520
    MCGRAW-HILL BOOK COMPANY                                               HIGHTSTOWN NJ 08520                                                                            HIGHTSTOWN       NJ           08520
                                            CITIBANK OF DE, ATTN MCGRAW-
    MCGRAW-HILL COMPANIES                   HILL PERMS                     1615 BRETT ROAD, P O BOX 7020                                                                  NEW CASTLE       DE           19720
                                            ATTN SCIENCE RESEARCH
    MCGRAW-HILL COMPANIES                   ASSOCIATES-SRA                 148 PRINCETON HIGHSTOWN ROAD ROYALTY DEPARTMENT (N-2)                                          HIGHTSTOWN       NJ           08520-1450
    MCGRAW-HILL COMPANIES                                                  1615 BRETT ROAD, P O BOX 7020                                                                  NEW CASTLE       DE           19720
                                 ATTN CHANIESE ANDERSON -RYLTY             148 PRINCETON-HIGHTSTOWN
    MCGRAW-HILL HIGHER EDUCATION DEPT -N2                                  ROAD                                                                                           HIGHTSTOWN       NJ           08520-1450
                                 ATTN CHANIESE ANDERSON -RYLTY             148 PRINCETON-HIGHTSTOWN
    MCGRAW-HILL INC              DEPT -N2                                  ROAD                                                                                           HIGHTSTOWN       NJ           08520-1450
    McGuiness, Conor
    McGuire Woods
    MCGUIRE WOODS LLP            ATTN ACCOUNTS RECEIVABLE                  901 EAST CARY ST                                                                               RICHMOND         VA           23286
    MCHARG SCHOOL                                                          700 TWELTH STREET                                                                              RADFORD          VA           24141
    MCHUGH & ASSOCIATES INC                                                13 KENMORE DR                                                                                  DANVERS          MA           01923
    MCHUGH HEATHER                                                         4616 25TH AVENUE NE #211                                                                       SEATTLE          WA           98105
    MCI                                                                    P.O. Box 96022                                                                                 CHARLOTTE        NC           28296-0022
    MCI TELECOMMUNICATIONS                                                 P O BOX 371815                                                                                 PITTSBURGH       PA           15250
    MCINTOSH & OTIS INC                                                    353 LEXINGTON AVE, 15TH FL                                                                     NEW YORK         NY           10016
    MCINTOSH & OTIS INC                                                    353 LEXINGTON AVENUE STE 1500                                                                  NEW YORK         NY           10016-0941
    MCINTOSH AND OTIS INC                                                  353 LEXINGTON AVENUE                                                                           NEW YORK         NY           10016
    MCINTOSH ELEMENTARY                                                    P O BOX 80 135 MAIN ST                                                                         MCINTOSH         SD           57641
    MCINTOSH MELISSA                                                       2216 WENDELL AVE                                                                               LOUISVILLE       KY           40205
    MCINTYRE PHOTOGRAPHY INC                                               3746 YADKINVILLE ROAD                                                                          WINSTON-SALEM    NC           27106
    McKay Consulting Associates                                            6 Fountainbleu Drive                                                                           Mendon           NY           14506
    McKernan, John R., Jr.       McKernan Enterprises, Inc.                (Education Management Corporation)   One Canal Plaza                    5th Floor              Portland         ME           04101
    McKernan, John R., Jr.
    MCKINNEY EDUCATION
    FOUNDATION                                                             510 HEARD ST                                                                                   MCKINNEY         TX           75069
    McKinney ISD                 Accounting Dept.                          1 Duvall Street                                                                                Mc Kinney        TX           75069-3210
    McKinsey
    MCKINSEY & COMPANY INC                                                 P O BOX 7247-7255                                                                              PHILADELPHIA     PA           19170-7255
    McKinsey & Company Inc.      William Wolf                              P.O. Box 7247-7255                                                                             Philadelphia     PA           19170-7255
    MCKNIGHT JEFFRY B                                                      1023 BITTERSWEET DR                                                                            RICHMOND         TX           77469
    MCKNIGHT KARL B                                                        5715 COUNTY ROUTE 24                                                                           CANTON           NY           13617
    MCKY KATIE                                                             742 FALL ST                                                                                    EAU CLAIRE       WI           54703
    MCLAUGHLIN & STERN LLP                                                 260 MADISON AVENUE                                                                             NEW YORK         NY           10016
    MCLEN MUSIC                  C/O EMI MUSIC PUBLISHING                  75 9TH AVE, 4TH FLOOR                                                                          NEW YORK         NY           10011
    MCLENDON & ASSOCIATES                                                  PO BOX 4                                                                                       BASYE            VA           22810

    MCLEOD TELECOM                          DBA PAETEC BUSINESS SOLUTIONS P O BOX 3243                                                                                    MILWAUKEE        WI           53201-3243
    MCLERRAN ALICE                                                        70 SOUTH COUNTRY ROAD                                                                           BELLPORT         NY           11713
    MCMASTER CARR SUPPLY                                                  P O BOX 7690                                                                                    CHICAGO          IL           60680
    MCMASTER UNIVERSITY LIBRARY             MILLS MEMORIAL LIBRARY        1280 MAIN STREET WEST                                                                           HAMILTON         ON           L8S 4L6      Canada
    MCMILLAN BRUCE                          176 COUNTY ROAD               P.O. BOX 85                                                                                     SHAPLEIGH        ME           04076-0190



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                       293 of 488                                                                                                1:26 PM
                                                      12-12171-reg             Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                     First Class Service List


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    McMorrow, Maureen
                                                                                                              TRUSTEE OF THE RAYMOND T
    MCNALLY CAROL M                                                         16 MARLBORO ST                    MCNALLY TRUST                     DTD 5/29/01              NEWTON               MA           02458
    MCNALLY RAYMOND T                                                       36 COLLEGE RD                                                                                CHESTNUT HILL        MA           02467-3806

    MC-PAC BRAKER POINTE LP                 PAC/SIB LLC                     13012 COLLECTIONS CENTER DRIVE                                                               CHICAGO              IL           60693
    MCQUAY AIR CONDITIONING                                                 13600 INDUSTRIAL PARK BLVD                                                                   MINNEAPOLIS          MN           55441
    MCRAE & COMPANY                         EXHIBIT MANAGERS                PO BOX 12189                                                                                 TALLAHASSEE          FL           32317
    MCRAE ARLIN T                                                           218 S. SPRING                                                                                EVANSVILLE           IN           47714
    MCSWEENEYS                              ATTN DAVE EGGERS                849 VALENCIA STREET                                                                          SAN FRANCISCO        CA           94110
    MCWILLIAMS JANET                                                        4809 TIFFANY WAY                                                                             FAIR OAKS            CA           95628
    MDR                                                                     PO Box 75174                                                                                 Chicago              IL           60675-5174
    MDR EdNet                                                               6 Armstrong Road                                                                             Shelton              CT           06484
    MEAD SCHOOL DISTRICT 354                COLBERT ELEMENTARY SCHOOL       4526 E GREENBLUFF RD                                                                         COLBERT              WA           99005
    MEADOW WOOD ELEM PTA                                                    14230 MEMORIAL DRIVE                                                                         HOUSTON              TX           77079
    MEADOWS INFORMATION SYSTEMS             dba MEADOWS PUBLISHING
    LLC                                     SOLUTIONS                       1305 REMINGTON ROAD STE G                                                                    SCHAUMBURG           IL           60173
    MEADOWS OFFICE BUILDING LLC             C/O HAMILTON PARTNERS INC       300 PARK BLVD STE 500                                                                        ITASCA               IL           60143-2636
    MEAGAN BRYANT                                                           420 W SILVER MEADOW DR                                                                       MIDWEST CITY         OK           73110
    Meaghan Pavlovich                                                       9729 Prairie Creek Rd                                                                        Lenexa               KS           66220
    Meals on Wheels of Cheyenne                                             2015 S. Greeley Highway                                                                      Cheyenne             WY           82007-3431
    MEA-MFT                                 ATTN SHEILA KUNICK              PO BOX 1008                                                                                  GLENDIVE             MT           59330-1008
    MEAUX BOOKS                             ELETTE S MEAUX                  403 DUCOTE DRIVE                                                                             BROUSSARD            LA           70518
    MECHANICA LLC                                                           75 WATER STREET                                                                              NEWBURYPORT          MA           01950

    MECHANICAL SYSTEMS CONTROLS                                             PO BOX 577, RAYNHAM CENTER                                                                   RAYNHAM              MA           02768-0577
    MECHELLE ALEENE ABNEY                                                   17002 COUNTY RD # 191                                                                        ALVIN                TX           77511
    Mechelle Di Giovanna Pedregal                                           797 Dovecrest Pl                                                                             Chula Vista          CA           91914
    MEDCO SUPPLY COMPANY                                                    PO BOX 21773                                                                                 CHICAGO              IL           60673
    MEDEA MCEVOY                                                            360 EAST 72ND ST APT A1412                                                                   NEW YORK             NY           10021
    MEDGAR EVERS COLLEGE OF THE
    CITY                          UNIVERSITY OF NEW YORK                    1650 BEDFORD AVENUE                                                                          BROOKLYN             NY           11225
    MEDIA CONNECTIONS INC                                                   50 BELMONT AVENUE #209                                                                       BALA CYNWYD          PA           19004
    MEDIA GENERAL OPERATIONS INC RICHMOND TIMES                             300 E FRANKLIN STREET                                                                        RICHMOND             VA           23219

    MEDIA GROUP INC                                                         1327 W WASHINGTON BLVD, STE 103                                                              CHICAGO              IL           60607
    MEDIA INTERMEDIATE HOLDINGS             STAR TRIBUNE MEDIA COMPANY
    COMPANY II                              LLC                             425 PORTLAND AVENUE                                                                          MINNEAPOLIS          MN           55488
    MEDIA MASTERS PUBLICITY LLC                                             6106 MAJESTIC PINES DRIVE                                                                    KINGWOOD             TX           77345
    MEDIACORP PTE LTD                       FINANCE SECTION                 CALDECOTT BROADCAST CENTRE                                                                   ANDREW ROAD                       299939       Singapore
    MEDIALYNX GROUP INC                                                     4529 CHARING CROSS ROAD                                                                      SARASOTA             FL           34241
                                                                            15 CORPORATE PLACE SOUTH, STE
    MEDIAWIDE LLC                                                           403                                                                                          PISCATAWAY           NJ           08854
    MEDICAL FILE INC                                                        279 EAST 44TH STREET                                                                         NEW YORK             NY           10017
    MEDICAL INSTITUTE FOR SEXUAL
    HEALTH                                                                  PO BOX 162306                                                                                AUSTIN               TX           78716
    Medina City Schools                     Treasurers Office               PO Box 408                                                                                   Medina               OH           44258

    MEDITERRANEAN ASSOCIATION OF INTERNATIONAL SCHOOLS                      APARTADO 80                                                                                  MADRID                            28080        Spain

    MEDPOINT COMMUNICATIONS INC                                             1603 ORRINGTON AVENUE, STE 1900                                                              EVANSTON             IL           60201
    MEEBOER DATA PRODUCTS                   DBA DATA COMM                   680 PATRICK PLACE                                                                            BROWNSBURG           IN           46112
    MEEK CLEO M                                                             3305 YORKSHIRE CT                                                                            RALEIGH              NC           27604
                                                                                                              SCH OF JOURNALISM & MASS
    MEENAKSHI GIGI DURHAM                                                   E338 AJB UNIV OF IOWA             COMMUNICATION                                              IOWA CITY            IA           52242
    MEG HANNAH                                                              1530-H GOLF VIEW RD                                                                          MADISON              WI           53704
    MEG JONES                                                               53 PARK ROAD                      BARTON UNDER NEEDWOOD                                      STAFFORDSHIRE                     DE138D8      United Kingdom
    Megan Armata                                                            230 Walnut Street                 #27                                                        Newton               MA           02460
    MEGAN BLUMENREICH                                                       17 MORNINGSIDE AVE                                                                           MONTCLAIR            NJ           07043
    MEGAN BOND REID                                                         40465 CROSSGATE PLACE                                                                        GONZALES             LA           70737
    MEGAN C NOSOL                                                           8116 OWENSTON COURT                                                                          RALEIGH              NC           27612
    Megan E Herron                                                          10610 Morado Circle               3322                                                       Austin               TX           78759
    Megan E. Wilson                                                         4 Puritan Road                                                                               Beverly              MA           01915
    Megan K Chalek                                                          14 Island Hill Avenue             Unit 103                                                   Melrose              MA           02176
    MEGAN L FRANKE                                                          1022 MOORE HALL                   UCLA/GRAD SCH OF ED                                        LOS ANGELES          CA           90095-1521
    Megan L Meredith                                                        35 Cedar Mill Court                                                                          Zionsville           IN           46077

    MEGAN MAYHEW BERGMAN                    C/O BARER LIT - ATTN JULIE BARER 270 LAFAYETTE ST STE 1504                                                                   NEW YORK             NY           10012
    MEGAN MCDONALD                                                           5306 MCFARLANE RD                                                                           SEBASTOPOL           CA           95472
    MEGAN MEYER                                                              1414 CHATHAM LANE                                                                           SCHAUMBURG           IL           60193



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    294 of 488                                                                                                       1:26 PM
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                                                                                                                      of 519
                                                                                                                   First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                      Address2              Address3                City         State       Zip            Country
    Megan Mitschrich                                                       209 First St.                                                                 Pewaukee             WI           53072
    MEGAN MONTAGUE CASH                                                    18 HAVEMEYER STREET 2                                                         BROOKLYN             NY           11211
    MEGAN ORR                                                              714 GILBERT ROAD                                                              WINTER PARK          FL           32792
    MEGAN POWERS                                                           402 E 19TH STREET                                                             COSTA MESA           CA           92627
    MEGAN SLOAN                                                            12530 109TH COURT NE F 102                                                    KIRKLAND             WA           98034
    Megan Toohey                                                           7220 W Bonfills Lange          #508                                           Denver               CO           80226
    Megan Toohey                                                           7220 W Bonfills Lane           UNIT 508                                       Lakewood             CO           80226
    Megan Turner                                                           30 W 331 Pinehurst Dr.                                                        Naperville           IL           60563
    MEGAPRINT INC                                                          P O BOX 87                                                                    PLYMOUTH             NH           03264
    MEGHAN BLOSSER                                                         25 OLD MYSTIC ST                                                              ARLINGTON            MA           02474
    Meghan Haag                                                            10270 Commonwealth Street      3464                                           Lone Tree            CO           80124
    Meghan Haag                                                            6143 Trailhead Road                                                           Highlands Ranch      CO           80130
    MEGHAN MURPHY                                                          225 E 36TH STREET APT 7H                                                      NEW YORK             NY           10016
    MEGHAN STRAWN                                                          2 KETIH AVENUE                                                                KINGSTON             MA           02364
    MEHGAN HEANEY-GRIER                                                    2525 ARAPAHOE AVE, E4 # 162                                                   BOULDER              CO           80302
    MEHLVILLE SD R-9                                                       3120 LEMAY FERRY ROAD                                                         ST LOUIS             MO           63125
    MEHRDOKHT SOTOUDEH                                                     7 ST DAVIDS DRIVE                                                             EGHAM                             TW20 0BA     United Kingdom
    Mei N Tran                                                             257 Granite Avenue                                                            Milton               MA           02186
    Mei Tran                                                               257 Granite Avenue                                                            Milton               MA           02186
    MEIGHAN DEPKE                                                          2615 N SACRAMENTO STREET                                                      CHICAGO              IL           60647
    MEILO SO                                                               MILLBY CULLIVOE                                                               YELL SHETLAND ISLE                ZE29DD       United Kingdom
    MEL BAY PUBLICATIONS INC                                               4 INDUSTRIAL DR                ATTN JILL NEWMAN                               PACIFIC              MO           63069
    MEL CEBULASH                                                           11820 NORTH 112TH ST                                                          SCOTTSDALE           AZ           85259
    MELANIE B HARLEY                                                       1547 TIFFANY PARK CIRCLE                                                      ORCUTT               CA           93455
    MELANIE B WATSON                                                       716 CLOVER VALLEY CT                                                          EDGEWOOD             MD           21040
    MELANIE BUCKLEY                                                        2384 STONE FENCE LANE                                                         OAKHILL              VA           20171
    MELANIE COLBERT AGENCY                                                 17 WEST STREET                                                                HOLLAND LANDNG       ON           L9N 1L4      Canada
    MELANIE CONNER                                                         6720 4TH AVENUE NW                                                            SEATTLE              WA           98117
    Melanie Deal                                                           1114 Maple                     2C                                             Evanston             IL           60202
    Melanie Fitzpatrick                                                    4032 Brandon Hill Dr.                                                         Tallahassee          FL           32309
    Melanie Graw                                                           16 Warrington Road                                                            Vernon Hills         IL           60061
    MELANIE JACKSON AGENCY                                                 41 WEST 72ND STREET, # 3F                                                     NEW YORK             NY           10023
    MELANIE JACKSON AGENCY LLC                                             41 WEST 72nd STREET #3F                                                       NEW YORK             NY           10023
    Melanie Peterson                                                       17 Perkins St                  #1                                             Newton               MA           02465
    MELANIE R FITZPATRICK                                                  4032 BRANDON HILL DRIVE                                                       TALLAHASSEE          FL           32309
    MELANIE R GRABEK                                                       16 SHARIN DRIVE                                                               TONAWANDA            NY           14150
    MELANIE S DONOVAN                                                      822 BAY FRONT AVENUE                                                          NORTH BEACH          MD           20714
    MELANIE SMIHULA                                                        1803 S HERITAGE                                                               MESA                 AZ           85210-5916
    MELANIE TOMLINSON                                                      84 WILLINGTON WAY                                                             NEWNAN               GA           30265
    MELANIE VERBOUT                                                        1511 N LINDEN STREET                                                          NORMAL               IL           61761-1426
    MELANY SANCHEZ                                                         VALLE COSTERO 3202 ARENA L-2                                                  SANTA ISABEL         PR           00757
    MELBA ANN KENT                                                         435 COLUMBIA ST                                                               HOUSTON              TX           77007
    Melba J Johnson                                                        824 Washington                                                                Batavia              IL           60510
    MELCHA RESEARCH ASSOCIATES              JESUS JOSE SALAZAR             1791 PINE DR                                                                  LA HABRA             CA           90631
    MELCHER MEDIA INC                                                      124 W 13TH STREET                                                             NEW YORK             NY           10011
    MELDON JOANNE                                                          4239 WINTERBURN AVENUE                                                        PITTSBURGH           PA           15207
    Mele Magazzeni                                                         18476 E Purple Sage Dr                                                        Queen Creek          AZ           85242
    Melinda Cambel                                                         130 Hartung Cove                                                              Buda                 TX           78610
    MELINDA HOFFAR                                                         6688 E 1200 N                                                                 WOLCOTTVILLE         IN           46795
    MELINDA K CUNNINGHAM                                                   2524 SPRUCE ROAD                                                              HOMEWOOD             IL           60430
    Melinda Koyanis                                                        5 Chetwynd Rd.                                                                Cambridge            MA           02140
    Melinda Lyon                                                           52 bayview drive                                                              St Augustine         FL           32084
    MELINDA PUTZ                                                           746 N STATE ST                                                                ALMA                 MI           48801
    MELINDA S WALLACE                                                      PO BOX 234                                                                    ARDMORE              OK           73402
    MELISSA A DOBSON                                                       4971 CANAL ROAD                                                               FARNHAM              VA           22460
    Melissa A Hill                                                         4823 Shell Stream Blvd                                                        New Port Richey      FL           34652
    Melissa A Robinette                                                    4704 Callisto Terrace                                                         Austin               TX           78727
    Melissa Abels                                                          6175 S. Leyden Street                                                         Centennial           CO           80111
    Melissa B Kontarinis                                                   16 Chestnut Street                                                            Exeter               NH           03833

    MELISSA BERREY CONSULTING INC                                          8400 SPRING RIDGE WAY                                                         RICHMOND             VA           23229-7269
    Melissa Blunden                                                        7129 W. 84th Way #1622                                                        Arvada               CO           80003
    Melissa Counihan                                                       512 Williams Way                                                              Cedar Park           TX           78613
    Melissa Cuevas                                                         3100 Owassa Court                                                             Kissimmee            FL           34746
    Melissa Devine                                                         15 David Drive                                                                Johnston             RI           02919
    MELISSA GRUNTKOSKY            DBA PRESSBOUND                           91 HOLLAND ST, 2L                                                             SOMERVILLE           MA           02144
    Melissa Lotfy                                                          30 Sherman St.                 Apt. 2                                         Cambridge            MA           02138
    MELISSA M EARP                                                         9118 SW 161 TERR                                                              MIAMI                FL           33157
    Melissa Merrett                                                        3101 Cayman Way                                                               Orlando              FL           32812
    MELISSA MILGROM                                                        115 WILLOW STREET, # 4F                                                       BROOKLYN             NY           11201



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                  295 of 488                                                                                        1:26 PM
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                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                           Address2             Address3              City         State       Zip                Country
    Melissa Parkin                                                          211 West Springfield              Apt. 3                                         Boston             MA           02118
    Melissa Pearson                                                         1000 Geneva Road                  Apartment 7B                                   St Charles         IL           60174
    MELISSA PIUMELLI                                                        3733 N GOLDENROD RD APT 505                                                      WINTER PARK        FL           32792
    Melissa Quintanilla                                                     21157 SW Baler Way                                                               Sherwood           OR           97140
    MELISSA R MCCARTHY                      DBA BONAFIDE ART                P O BOX 6742                                                                     LAKEPORT           NH           03247-6742
    Melissa R Stuart                                                        1502 Alguno Rd                                                                   Austin             TX           78757
    Melissa Rhodes                                                          133 Bentwood Drive                                                               Clinton            MS           39056
    Melissa Schlinger                                                       248 GRANT AVE                                                                    FRANKFORT          IL           60423
    MELISSA SCHULZ                                                          4294 CROSS CREEK COURT                                                           LIBERTY TOWNSHIP   OH           45011
    MELISSA STONE BILLINGS                                                  118 WELLINGTON CIRCLE                                                            LEBANON            NH           03766

    MELISSA SWEET                           DBA MELISSA SWEET ILLUSTRATION 68 MAIN STREET                                                                    ROCKPORT           ME           04856
    MELISSA SWEET                                                          68 MAIN STREET                                                                    ROCKPORT           ME           04856-5958
    Melissa Topham                                                         2037 Dynasty Ct                                                                   Fort Mill          SC           29708
    Melissa Watkins                                                        1000 Silbury Drive                                                                Austin             TX           78758
    Melissa Westphal                                                       1113 S Bouldin Street                                                             Baltimore          MD           21224
    Melissa Zantello                                                       686 Hawthorne Place                                                               Creedmoor          NC           27522
    MELISSAS JANIK                                                         1975 GRAEFIELD                                                                    BIRMINGHAM         MI           48009
    MELISSE SHAPIRO                         DBA AUTHOR BUZZ                PO BOX 1264                                                                       GREENWICH          CT           06830
    MELLISSA SWICK                                                         43 GRAYMONT CIRCLE                                                                COLUMBIA           SC           29205
    Mellor, Kirsten
    Melody A Sellers                                                        10250 Falcon Parc Blvd.           203                                            Orlando            FL           32832
    MELODY A SIMMONS                                                        1153 RIDGEWAY RD                                                                 LUGOTT             SC           29078
    Melody Davies                                                           4 Hearthstone Circle                                                             Billerica          MA           01866
    MELODY ENGLISH                                                          150 PLEASANT STREET                                                              ELIOT              ME           03903
    Melody Jenkins                                                          16 Matignon Rd.                                                                  Cambridge          MA           02140
    Melody Simmons                                                          5470 N Cumberland Dr                                                             Tucson             AZ           85704
    MELVILLE F & SYLVIA J PUGH              DBA MELVIA PARTNERS             12221 PALATINE AVE NORTH                                                         SEATTLE            WA           98133-8113
    Melvin Gilman                                                           419 bluebird Lane                                                                Dresher            PA           19025
    Melvin Gilman                                                           C/O LINDA E WEINSTEIN 419 BLUE                                                   DRESHER            PA           19025
    Melvin K Stanger                                                        108 excalibur blvd.                                                              troy               MO           63379
    MEMPHIS AREA HOME EDUCATORS
    ASSOCIATION                             ATTN EXPO                       PO BOX 2196                                                                      CORDOVA            TN           38018
    MEMPHIS AREA HOMESTEAD EDUC
    ASSOC                                   ATTN EXHIBITOR                  P O BOX 171134                                                                   MEMPHIS            TN           38187-1134
    MEMPHIS CITY SCHOOLS                                                    2567 AVERY AVENUE ROOM 208        ATTN VINCE MCCASKILL                           MEMPHIS            TN           38112
    MEMPHIS CITY SCHOOLS
    FOUNDATION                              ATTN MYRA I WHITNEY             2485 UNION AVE                                                                   MEMPHIS            TN           38112
    MEMPHIS COMMUNITY SCHOOLS               MEMPHIS JUNIOR HIGH             34110 BORDMAN RD                                                                 MEMPHIS            MI           48041
    MEMPHIS COMMUNITY SCHOOLS               MEMPHIS ELEMENTARY              34110 BORDMAN RD                                                                 MEMPHIS            MI           48041
    MEMPHIS COMMUNITY SCHOOLS               MEMPHIS HIGH SCHOOL             34110 BORDMAN RD                                                                 MEMPHIS            MI           48041
    MENASHA PACKAGING COMPANY
    LLC                                                                     4700 COLLECTIONS CENTER DR                                                       CHICAGO            IL           60693
    MENELY BRYAN                                                            2015 CENTER ST                                                                   GARDEN CITY        KS           67846

    MENS JOURNAL LLC                                                        1290 AVE OF THE AMERICAS 2ND FL                                                  NEW YORK           NY           10104
                                            UNIV OF THE PACIFIC - DEPT OF
    MENTOR SEMINAR COMMITTEE                COMM                            3601 PACIFIC AVE                                                                 STOCKTON           CA           95211

    MERCANTILE LIBRARY ASSOCIATION THE CENTER FOR FICTION                   17 EAST 47TH STREET                                                              NEW YORK           NY           10017
    MERCATHEA HUGHES                                                        109 EAST 11TH ST                                                                 ELGIN              TX           78621
                                                                            38-96 BLOQUE 94 # 38 VILLA
    MERCEDES NAKACHI MORIMOTO                                               CAROLINA                                                                         CAROLINA           PR           00985
    MERCER                                                                  P O BOX 730212                                                                   DALLAS             TX           75373-0212
    MERCER HUMAN RESOURCE LTD                                               1 KING EDWARD ROAD                                                               BRENTWOOD                       CM144HL      United Kingdom
    MERCER LIMITED                 ACCOUNTS DEPARTMENT                      MERCURY COURT TITHEBARN ST                                                       LIVERPOOL                       L2 2QH       United Kingdom
    MERCER MAYER                                                            16 JUDDS BRIDGE ROAD                                                             ROXBURY            CT           06783
    Mercer Publishing LLC, Michael
    Hubbard, Rachel hubbard
    MERCER US                                                               PO BOX 13793                                                                     NEWARK             NJ           07188-0793
    MERCER-IRELAND LTD             CHARLOTTE HOUSE                          CHARLEMONT STREET                                                                DUBLIN 2                                     Ireland
    MERCHANTVILLE OVERHEAD DOOR
    CO INC                                                                  220 KAIGHN AVENUE                                                                CAMDEN             NJ           08103
    MERCURY PICTURES                                                        150 CHESTNUT STREET                                                              PROVIDENCE         RI           02903
    MERCURY PRINT PRODUCTION INC                                            50 HOLLEDER PARKWAY                                                              ROCHESTER          NY           14615

    MERCURY PRINT PRODUCTIONS INC                                           50 HOLLEDER PARKWAY                                                              ROCHESTER          NY           14615
    Meredith Balderston                                                     2108 Haskell                      Unit A                                         Austin             TX           78702
    MEREDITH BERGMANN                                                       400 EAST 77TH STREET, # 14D                                                      NEW YORK           NY           10021




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                       296 of 488                                                                                        1:26 PM
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                                                                                                                    304 Matrix
                                                                                                                            of 519
                                                                                                                          First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                            Address2                         Address3                        City        State       Zip                Country
    MEREDITH BERNSTEIN LITERARY
    AGENCY,                                                                  2112 BROADWAY SUITE 503A                                                                              NEW YORK            NY           10023
    MEREDITH BLANKS PATERSON                                                 4709 AVENUE H                                                                                         AUSTIN              TX           78751
    Meredith Durgin                                                          3827 N. Wilton                    Apt. 2                                                              Chicago             IL           60613
    Meredith Lubking                                                         17b Bonair Street                                                                                     Somerville          MA           02145
    MEREDITH LYNN ZIRKLE                                                     1605 RIDGE RD                                                                                         NEW MARKET          VA           22844
    Meredith Mcdonald                                                        PO BOX 1055                                                                                           Philipsburg         MT           59858
    Meredith Montgomery                                                      14300 Grape Holly Grove           Unit #33                                                            Centreville         VA           20121

    MEREDITH MORMILE                                                         80 NORTH MOORE STREET APT 29C                                                                         NEW YORK            NY           10013-2735
    Meredith Nadler                                                          2500 Wisconsin NW Ave         #710                                                                    Washington          DC           20007
    Meredith Wilson                                                          111 Worcester St.                                                                                     Watertown           MA           02472
    Meredith Wittich                                                         2128 Colonial Street                                                                                  Aurora              IL           60503
    Meredyth Sanderson                                                       32 Primerose Hill             Road                                                                    Barrington          RI           02806
    MERIDIAN BRIDGE INC                     DBA PACK & SHIP                  101 WEST 2ND STREET                                                                                   YANKTON             SD           57078
    Merina
    MERINA LIMITED                          C/O AVOCA LODGE                  17 AVOCA AVENUE                                                                                       BLACKROCK           Dublin                    Ireland
                                            ATTN RADb ACCOUNTS
    MERIT NETWORK INC                       RECEIVABLES                      1000 OAKBROOK DR SUITE 200                                              MAINT-AS18830                 ANN ARBOR           MI           48104
    Merlin Ravndalen                                                         6511 Century Lane                                                                                     Prior Lake          MN           55372
    MERLIN STONE                                                             1745 BROADWAY 3RD FLOOR           RANDOM HOUSE INC                      ROYALTY AND SUBRIGHTS ACCTG   NEW YORK            NY           10019
    Merras Brown                                                             13900 Shaker Blvd                 #1116                                                               Cleveland           OH           44120
    MERRIAM WEBSTER INC                                                      P O BOX 281                       47 FEDERAL STREET                                                   SPRINGFIELD         MA           01102
    MERRIAM-WEBSTER INC                                                      47 FEDERAL ST, P O BOX 281                                                                            SPRINGFIELD         MA           01102
    Merrie B Thornburg                                                       6311 N WAYNE                      APT 1S                                                              CHICAGO             IL           60660
    Merrie Donehoo Wilson                                                    12420 Timber Heights Drive                                                                            Austin              TX           78754
    Merrill Area Public Schools             Attn Linda                       1111 North Sales Street                                                                               Merrill             WI           54452-3198
    Merrill Communications
    Merrill Communications LLC                                               CM-9638                                                                                               Saint Paul          MN           55170-9638

    Merrill Lynch Pierce Fenner & Smith Inc
    Merrillee M Wingard                                                      6987 Orchard Ct.                                                                                      Arvada              CO           80007
    MERRILLVILLE COMMUNITY SCH
    CORPORATION                             DBA HENRY FIELER ELEM SCHOOL     407 W 61ST AVENUE                                                                                     MERRILLVILLE        IN           46410
    MERRY HEART HEALTH CARE
    CENTER                                                                   200 RT 10 WEST                                                                                        SUCCASUNNA          NJ           07876
    Merry Johnson                                                            780 WILLIAMSBURY DR NE                                                                                CONCORD             NC           28025
    MERT MARTENS                                                             1501 AUTUMN ROAD                                                                                      PONCA CITY          OK           74604
    MERVINE EDWARDS                                                          3815 ASBURY DRIVE                                                                                     PARRISH             FL           34219-9063
    MESA COUNTY VALLEY SCHOOL
    DISTRICT 51                                                              2115 GRAND AVENUE                                                                                     GRAND JUNCTION      CO           81501

    MESA UNIFIED SCHOOL DISTRICT # 4 DISTRICT FUNDS                          143 S ALMA SCHOOL ROAD                                                                                MESA                AZ           85210
    MESCAL K EVLER                                                           4717 TWIN VALLEY DRIVE                                                                                AUSTIN              TX           78731

    MESERVE-KUNHARDT FOUNDATION DBA GORDON PARKS FOUNDATION                  480 BEDFORD ROAD                                                                                      CHAPPAQUA           NY           10514
    MESQUITE INDEPENDENT SCH
    DISTRICT                                                                 405 E DAVIS                                                                                           MESQUITE            TX           75149
    MESSIAH COLLEGE                                                          1 COLLEGE AVE BOX 3012                                                                                GRANTHAM            PA           17027
    MESSIAH LUTHERN SCHOOL                                                   5911 HIGHWAY 94 SOUTH                                                                                 SAINT CHARLES       MO           63304
    METAARTS LIMITED                                                         0N690 BOWDISH DRIVE                                                                                   GENEVA              IL           60134
    METACOMET SYSTEMS INC                                                    29 COLLEGE STREET                                                                                     SOUTH HADLEY        MA           01075
    METAFUSE INC                                                             17320 RED HILL AVE, STE 270                                                                           IRVING              CA           92614
                                                                             1000 PARK FORTY PLAZA DR, STE
    METAMETRICS INC                                                          120                                                                                                   DURHAM              NC           27713
    METCHEM INC                                                              766 WHITE OAKS LANE                                                                                   HIGHLAND PARK       IL           60035

    METHOD INTERNATIONAL                                                     8.01 ALASKA BLDGS 61 GRANGE RD                                                                        LONDON                           SE1 3BG      United Kingdom
    METHODIST OCCUPATIONAL                  INDIANA UNIV HEALTH
    HEALTH CTRS                             OCCUPATIONAL SRVCS               2361 RELIABLE PARKWAY                                                                                 CHICAGO             IL           60686-0023
    METHODIST SPECIALTY &
    TRANSPLANT                              HOSPITAL                         8026 FLOYD CURL DRIVE                                                                                 SAN ANTONIO         TX           78229
    METHODIST UNIVERSITY INC                                                 5400 RAMSEY ST                                                                                        FAYETTEVILLE        NC           28311
    METHUEN CHILDRENS BOOK                  FOR BEN /FRANKEL                 8 ARTILLERY ROW                                                                                       LONDON                           SW1P 1RZ     United Kingdom

    METRITECH                                                                4106 FIELDSTONE RD, PO BOX 6479                                                                       CHAMPAIGN           IL           61826
                                            DBA PHILADELPHIA MAGAZINE - B.
    METRO CORP                              BEACH                            1818 MARKET STREET 36TH FL                                                                            PHILADELPHIA        PA           19103
    Metro Denver Partners                                                    701 South Logan Street            Suite 109                                                           Denver              CO           80209
    Metro District                                                           3280 Redstone Park                                                                                    Highlands Ranch     CO           80129



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                         297 of 488                                                                                                             1:26 PM
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                                                                                                                    First Class Service List


             CreditorName                             CreditorNoticeName                 Address1                        Address2                         Address3               City        State       Zip               Country
    METRO PATIO & CARPORT INC                                              4441 I-30                                                                                 MESQUITE           TX           75150-2019
    METRO SERVICE INDUSTRIAL TIRE           METRO INDUSTRIAL TIRE & SUPPLY
    INC                                     INC                            4825 W 128TH PLACE                                                                        AISIP              IL           60803
    METROPLEX REFRIGERATION &               RESTAURANT EQUIPMENT           2524 WHITE SETTLEMENT ROAD                                                                FORT WORTH         TX           76107
    METROPLEX SUPPLY COMPANY                                               567 BENNETT LANE                                                                          LEWISVILLE         TX           75057
    METROPLEX-ECONOMY ELEVATOR
    CO                                                                     PO BOX 271061                                                                             DALLAS             TX           75227
    METROPOLITAN DETROIT SCIENCE            TEACHERS ASSN                  P O BOX 2279                                                                              DETROIT            MI           48202
    METROPOLITAN DETROIT SCIENCE            ATTN M GRIFFIN                 P O BOX 2279                                                                              DETROIT            MI           48202
    METROPOLITAN LIFE INSURANCE
    COMPANY                                 DBA METLIFE                    P O BOX 360229                                                                            PITTSBURGH         PA           15251-6229
    METROPOLITAN LIFE INSURANCE                                            1 METLIFE PLAZA 27-10 QUEENS
    COMPANY                                                                PLAZA N                                                                                   LONG ISLAND CITY   NY           11101
    METROPOLITAN LIFE INSURANCE
    COMPANY                                                                P O BOX 360229                                                                            PITTSBURGH         PA           15251-6229
    METROPOLITAN MILWAUKEE
    ALLIANCE                                OF BLACK SCHOOL EDUCATIORS     P O BOX 276                     ATTN PATRICIA KLINE                                       MILWAUKEE          WI           53201
                                            ATTN MERCHANDISE FINANCE 4TH
    METROPOLITAN MUSEUM OF ART              FLOOR                          6 EAST 82ND ST                                                                            NEW YORK           NY           10028
    METROPOLITAN MUSEUM OF ART                                             1000 FIFTH AVE                                                                            NEW YORK           NY           10028
    Metropolitan Nashville P.S.             Sandra Johnson                 2601 Bransford Ave.                                                                       NASHVILLE          TN           37204
    METROPOLITAN NASHVILLE PUBLIC
    SCHOOLS                                                                2601 BRANSFORD AVENUE                                                                     NASHVILLE          TN           37204
    METROPOLITAN PIER & EXPOSITION
    AUTHORITY                               MCCORMICK PLACE/SMG            301 E CERMAK ROAD                                                                         CHICAGO            IL           60616
    METROPOLITAN PROPERTY AND               CASUALTY INSURANCE COMPANY     700 QUAKER LANE                                                                           WARWICK            RI           02886
    Metropolitan School District            of Lawrence Township           7601 E. 56th St.                                                                          INDIANAPOLIS       IN           46226
    METROPOLITAN TRANSPORTATION
    AUTHORITY                                                              347 MADISON AVE                                                                           NEW YORK           NY           10017
    METTAWEE COMMUNITY SCHOOL                                              6378 VT RTE 7A                                                                            SUNDERLAND         VT           05250
    METTER BERTRAM                                                         41 NUTMEG DRIVE                                                                           GREENWICH          CT           06830
    METTLER-TOLEDO INC                                                     22670 NETWORK PLACE                                                                       CHICAGO            IL           60673-1226
    Meunsch Photography, R.R. Donnelly &
    Sons Co.
    MEWS BOOKS LTD                                                         20 BLUEWATER BILL                                                                         WESTPORT           CT           06880
    MEWS BOOKS LTD                                                         20 BLUEWATER HILL                                                                         WESTPORT           CT           06880
    MEXICAN TABLE LLC                                                      4724 DRUMMOND AVENUE            ATTN PATRICIA JINICH                                      CHEVY CHASE        MD           20815
    Meyer & Son Marketing Services                                         4019 Medford Street                                                                       Los Angeles        CA           90063
    Meyer Electric Co.                                                     682 S. Franklin Street                                                                    Denver             CO           80209
    MEYER KLIPPER & MOHR PLLC                                              923 15TH STREET NW                                                                        WASHINGTON         DC           20005
    MEYER VERNE                                                            668 11TH AVENUE N E                                                                       SIOUX CENTER       IA           51250
    Meyer, Klipper & Mohr
    MEZ DESIGN                                                             85 LIBERTY SHIP WAY # 203                                                                 SAUSACITO          CA           94965
    MEZZATO INC                             DBA CUTCASTER                  39 MESA STREET STE 101                                                                    SAN FRANCISCO      CA           94129
    MG TRUDY INC                                                           3250 233RD ST EAST                                                                        MYAKKA CITY        FL           34251
    MGS CORPORATION                         DBA MGS PROPANE                2575 MOUNT EPHRAIM AVENUE                                                                 CAMDEM             NJ           08104
    MI ASSN OF STATE & FED PROG
    SPECIALISTS                                                            P O BOX 163                     ATTN SAM EWING                                            TIPTON             MI           49287
    Mia Camacho                                                            1 Ida Lane                                                                                Pound Ridge        NY           10576
    Mia Dellanini                                                          2431 East Wesley Avenue                                                                   Denver             CO           80210
    Mia Dellanini                                                          24 Beacon Place                 Apt. 1                                                    Somerville         MA           02143
    MIA LEWIS                                                              3197 ELBERN AVENUE                                                                        COLUMBUS           OH           43209
    MIAMI CONSERVANCY DISTRICT                                             38 EAST MONUMENT AVENUE                                                                   DAYTON             OH           45402
    MIAMI DADE CO PUBLIC SCHOOLS            ATTN JASMIN CRAWFORD           1500 BISCAYNE BLVD SUITE 337                                                              MIAMI              FL           33132-1400
    MIAMI UNIVERSITY MIDDLETOWN             DBA TERRIFIC SCIENCE           9076 ARROWHEAD CT                                                                         CINCINNATI         OH           45231
    MIAMI-DADE COUNTY PUBLIC
    SCHOOLS                                                                1450 NORTH E 2ND AV ROOM 615                                                              MIAMI              FL           33132
    MICAL CALDWELL                                                         407 ALCATRAZ AVENUE                                                                       OAKLAND            CA           94609
    MICHAEL & PATRICIA FOGDEN                                              16 LOCHEPORT, NORTH UIST                                            SCOTLAND              Western Isles                   HS6 5EU      United Kingdom

    MICHAEL A A KELLER STUDIOS LLC                                         137 STEEP HILL RD                                                                         BEACH LAKE         PA           18405
    MICHAEL A BERG                                                         3745 W WATHEN                                                                             FRESNO             CA           93711
    MICHAEL A DEAN                                                         3699 US HWY 82                                                                            EUPORA             MS           39744
    MICHAEL A NYQUIST                                                      6171 N SHERIDAN RD, UNIT 310                                                              CHICAGO            IL           60660-2843
    MICHAEL A ROSE                                                         2222 5TH ST, # 303                                                                        SANTA MONICA       CA           90405
    MICHAEL A WEINGARTEN                                                   9 KATZ STREET                                                                             PETAH TIKVA                     49553        Israel
    MICHAEL ALAN HUFFMAN                                                   979 GLENCOE ST                                                                            DENVER             CO           80220
                                                                                                           UNIVERSITY OF WISCONSIN
    MICHAEL APPLE                                                          225 N MILLS STREET              MADISON                                                   MADISON            WI           53706
    MICHAEL AUSTIN JING TSONG               DBA JING AND MIKE COMPANY      73-4325 LIHILIHI PLACE                                                                    KAILUA-KONA        HI           96740



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                   298 of 488                                                                                                   1:26 PM
                                                      12-12171-reg            Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                             of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                         Address2              Address3                City        State       Zip               Country
    MICHAEL B KATZ                                                          428 S 47 STREET                                                                  PHILADELPHIA        PA           19143
    Michael B Ladner                                                        140 W. Pioneer Avenue             # 71                                           Redlands            CA           92374
    Michael Baker                                                           815 Judson Ave                    Apt 3W                                         Evanston            IL           60202
    Michael Baker                                                           8301 E 35TH PL                                                                   INDIANAPOLIS        IN           46226
    Michael Barreto                                                         11624 Grand Canyon                                                               Huntley             IL           60142
    Michael Bates                                                           312 Tavistock Drive                                                              Royersford          PA           19468
    MICHAEL BATTY                                                           20 SHELDON DRIVE                                                                 BALLSTON LAKE       NY           12019
    Michael Beattie                                                         5635 N. Jamestown Dr                                                             Mccordsville        IN           46055
    MICHAEL BENNY                                                           11703 UPLANDS RIDGE DR                                                           AUSTIN              TX           78738
    MICHAEL BERGQUIST                                                       180 RIVER VALLEY DR                                                              CARROLLTON          GA           30117
    MICHAEL BIGGINS                                                         5405 NE 74TH STREET                                                              SEATTLE             WA           98115
    Michael Bird                                                            9505 Royal Lane                   1016                                           Dallas              TX           75243
    Michael Brandon Doubek                  Achievement in Action, LLC      759 N. Citrus Avenue                                                             Los Angeles         CA           90038
    Michael Brawley                                                         323 Cr 4631                                                                      Hondo               TX           78861
                                            C/O THE UNTER AGENCY - JENNIFER 310 WEST 71ST STREET, GROUND
    MICHAEL BRITE                           UNTER                           FL                                                                               NEW YORK            NY           10023
    Michael Brosseau                                                        9 Castlebar Court                                                                South Elgin         IL           60177
    Michael Brucato                                                         142 Whalen Drive                                                                 North Attleboro     MA           02760
    Michael Buckley                                                         59 Brown St.                                                                     Kennebunk           ME           04043
    Michael Bujewski                                                        945 Pheasant Ridge Drive                                                         Lake Zurich         IL           60047
    MICHAEL BUSNACH                                                         15 IONIA STREET                                                                  NEWTON              MA           02466
    MICHAEL C ANDREWS                                                       330 BURNS LANE                                                                   WILLIAMSBURG        VA           23185
    MICHAEL C COLIHAN                                                       807 CHATEAU PL                                                                   RICHMOND            TX           77469
    Michael C Lewis                                                         1365 Columbine Street             206                                            Denver              CO           80206
    Michael C ODonnell                                                      66 Spring St.                                                                    Braintree           MA           02184
    MICHAEL CAROTTA                                                         602 SOUTH 188TH AVENUE                                                           ELKHORN             NE           68022
    MICHAEL CARPENTER                                                       6021 RIVERBEND BLVD                                                              BATON ROUGH         LA           70820
    MICHAEL CART                                                            3250 FORSYTHIA DRIVE                                                             COLUMBUS            IN           47203
    Michael Castellano                                                      14-29 Hudson Street                                                              Bethel              CT           06801
    Michael Cesarano                                                        19702 Lansdowne St.                                                              Orlando             FL           32833
    MICHAEL CHATLIEN                                                        3407 WEMBLEY DRIVE                                                               ZION                IL           60099-4714
    MICHAEL CHESWORTH                                                       10 MORROW LANE                                                                   AMHERST             MA           01002
    Michael Cirone                                                          2841 Regan Road                                                                  Louisville          KY           40206
    MICHAEL COLLA                                                           494 PINE TREE DRIVE                                                              FOND DU LAC         WI           54935
    MICHAEL COLLIER                                                         776 WEST STREET                                                                  CORNWALL            VT           05753
                                                                                                              SOCIETY FOR RESRCH IN ADULT
    MICHAEL COMMONS                                                        234 HURAN AVE                      DEVELPMNT                                      CAMBRIDGE           MA           02138-1328
    MICHAEL CONNELLY                                                       50 TALMAGE FARM LANE                                                              EAST HAMPTON        NY           11937
    MICHAEL CROSS                                                          2325 RANSOM AVE # 1                                                               OAKLAND             CA           94601
    Michael Custer                                                         1903 E Elmwood Circle                                                             Arlington Heights   IL           60004
    MICHAEL D ANDREWS                                                      200 PATRIOT LANE                                                                  FREEDOM             PA           15042
    MICHAEL D LOO                                                          7004 RICHARD DRIVE                                                                BETHSDA             MD           20817
    MICHAEL D WARAKSA                                                      1819 A N ASTOR ST                                                                 MILWAUKEE           WI           53202
    MICHAEL DANA GIOIA                                                     3910 LIVINGTON NW                                                                 WASHINGTON          DC           20015
    MICHAEL DARTER                                                         21135 COLINA DR                                                                   TOPANGA             CA           90290
    MICHAEL DEFORGE                                                        370 CRAWFORD STREET                                                               TORONTO             ON           M6J 2V9      Canada
    MICHAEL DIGIORGIO                                                      154 PRINCESS DRIVE                                                                MADISON             CT           06443
    Michael Dillon                                                         59 Summit Trail                                                                   Sparta              NJ           07871
    MICHAEL DISPEZIO                                                       10 NEEDLES LANE                                                                   NORTH FALMOUTH      MA           02556
    Michael Dolan                                                          74 York Road                                                                      Mansfield           MA           02048
    MICHAEL DONOGHUE                                                       1 WARREN SQUARE                                                                   JAMAICA PLAIN       MA           02130
    MICHAEL DOUGAN                                                         6207 MERIDIAN AVE N                                                               SEATTLE             WA           98103

    MICHAEL DOUGLAS BACON                   DBA MIKE BACON PHOTOGRAPHER    2711 OAK DRIVE                                                                    PALM BEACH          FL           33410
    MICHAEL DUNN PRODUCTIONS                                               2920 ORANGE BRACE ROAD                                                            RIVERWOODS          IL           60015
    MICHAEL E SLOBODKIN                                                    HAPALMACH 11                                                                      GIVATAYIM                        53406        Israel
    Michael E Zars                                                         1611 Ronzheimer Ave                                                               St. Charles         IL           60174
    MICHAEL EDWARD SULLIVAN                                                13282 N 97TH E AVE                                                                COLLINSVILLE        OK           74021
    MICHAEL F BROWN                                                        124 OAK BROOK DR                                                                  CHAPIN              SC           29036
    MICHAEL FARMER                                                         5 WHITING STREET                                                                  BOSTON              MA           02119
    Michael Feaster                                                        1021 North 300 East                                                               Anderson            IN           46012
    MICHAEL FERGUSON                                                       2207 SAXON DR                                                                     NEW SMYRNA BEACH    FL           32169
    Michael Fernandes                                                      303 Wayside Drive                  101                                            Turlock             CA           95380
    MICHAEL FERRARI                                                        415 ACORN LANE                                                                    MILFORD             CT           06461-1886
    MICHAEL FLYNN                                                          624 WEST CORNELIA, APT 25                                                         CHICAGO             IL           60657
    Michael Flynn                                                          624 W. Cornelia Ave.               Apt 2S                                         Chicago             IL           60657
    MICHAEL FORD                                                           1625 DEERFIELD DR                                                                 OSHKOSH             WI           54904
                                                                                                              AUDIO SOUND DESIGN - POST-
    MICHAEL FRANCIS COYLE                   DBA ASAP CHICAGO               4555 N MALDEN # 305                PRODUCTION                                     CHICAGO             IL           60640
    Michael Fullan Enterprises                                             498 St. Clair Avenue East                                                         Toronto             ON           M4T1P7       Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      299 of 488                                                                                         1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                307 Matrix
                                                                                                                        of 519
                                                                                                                        First Class Service List


              CreditorName                            CreditorNoticeName               Address1                              Address2                         Address3                        City        State       Zip            Country
    MICHAEL G GARZONE                                                      49 FAWN RIDGE LN                                                                                        WILTON            CT           06897

    MICHAEL G MILLER                                                       5048 NORTH MARINE DRIVE, APT C8                                                                         CHICAGO           IL           60640
    MICHAEL GADOMSKI                        PO BOX 80                      549 STERLING ROAD                                                                                       STERLING          PA           18463
    Michael Galfond                                                        530-2 Ne 7th Ave                                                                                        Ft. Lauderdale    FL           33301
    MICHAEL GARLAND                                                        79 MANOR ROAD                                                                                           PATTERSON         NY           12563
    Michael Gaudreau                                                       P.O Box 265                                                                                             Tumacacori        AZ           85640
    MICHAEL GRABER                                                         67-38 108TH STREET B55                                                                                  FOREST HILLS      NY           11375
    MICHAEL GREEN                                                          2726 N SEMINARY AVE # 2                                                                                 CHICAGO           IL           60612-1323
    Michael Gruber                                                         6962 Tiger Horse Circle                                                                                 Corona            CA           92880
                                            DBA MICHAEL DODGE &
    MICHAEL H DODGE                         ASSOCIATES                     1943 RIDGE ROAD NORTH                                                                                   FAIRFIELD         VT           05455
    MICHAEL H FRANCIS                                                      2423 ASH STREET                                                                                         BILLINGS          MT           59101
    Michael H Francis                                                      P.O. Box 1170                                                                                           Evanston          IL           60204
    MICHAEL H PROSSER                                                      977 GREYSON LANE                                                                                        CHARLOTTESVILLE   VA           22903
    MICHAEL HAGUE                                                          1 PINE ROAD                                                                                             COLORADO SPGS     CO           80906
    MICHAEL HAMBURGER                                                      SAXMUNDHAM                        MARSH ACRES MIDDLETON                                                 SUFFOLK                        IP17 3NH     United Kingdom
    Michael Hamm                                                           327 Suffield Ct.                                                                                        Geneva            IL           60134
    MICHAEL HARRIGAN                        DBA HARRIGAN PHOTOGRAPHY       44 BOTSFORD HILLL RD                                                                                    ROXBURY           CT           06783
    MICHAEL HARRIS                                                         1705 LAKE STREET                                                                                        EVANSTON          IL           60201
    Michael Harrison                                                       9045 Skyline Blvd                                                                                       Oakland           CA           94611-1750
    Michael Havekotte                                                      2754 Will-o-the-green St                                                                                Winter Park       FL           32792
    Michael Havekotte                                                      2754 Will-O-The-Green                                                                                   Winter Park       FL           32792
    MICHAEL HEITHAUS                                                       3160 NW 84TH WAY                                                                                        COOPER CITY       FL           33024
    MICHAEL HELLER                          DBA 911 PICTURES               63 GARDINERS LANE                                                                                       EAST HAMPTON      NY           11937
    Michael Hiers                                                          602 Darkwood Avenue                                                                                     Ocoee             FL           34761
    MICHAEL HOLFORD                                                        119 QUEENS ROAD                                                                                         LOUGHTON          ESSEX        IG10 1RR     United Kingdom
    MICHAEL HORN                            DBA INNOSIGHT INSTITUTE        1020 YATES WAY #307                                                                                     SAN MATEO         CA           94403
    Michael Huckaby                                                        15500 Powell Lane                                                                                       Bowie             MD           20716
    Michael Hunt                                                           1292 Laskin Rd.                   #401                                                                  Va. Beach         VA           23451
    MICHAEL HUTCHISON                                                      1503 OLD ORCHARD ROAD                                                                                   VINCENNES         IN           47591
    MICHAEL J BELL                                                         4073 WHITE HORSE ROAD                                                                                   MALVERN           PA           19355
    MICHAEL J BERSON                                                       15901 AMBERLY DRIVE                                                                                     TAMPA             FL           33647
    MICHAEL J DOOLITTLE                                                    119 EVERIT STREET                                                                                       NEW HAVEN         CT           06511
    MICHAEL J FRITZ                                                        65 DANA STREET #7                                                                                       CAMBRIDGE         MA           02138
    Michael J Harrigan                                                     44 Botsford Hill Rd.                                                                                    Roxbury           CT           06783
    Michael J Hecklinski                                                   6005 Gulf Drive                   #216                                                                  Holmes Beach      FL           34217
    MICHAEL J HIPPLE                                                       10801 32ND AVE SW                                                                                       SEATTLE           WA           98146
    Michael J Meloni                                                       232 Yale Road                                                                                           Wayne             PA           19087

    MICHAEL J RAFFETTO                      DBA ACCURATE FORMS & SUPPLIES 1550 NORWOOD DR # 412                                                                                    HURST             TX           76054
    MICHAEL J ROSEN                                                       14322 GEORGE ICE ROAD              HOPEWELL SPRINGS                                                      GLENFORD          OH           43739

    MICHAEL J RYAN                                                         1 UNIVERSITY STATION STOP C0930   INTEGRATIVE BIOLOGY                   UNIVERSITY OF TEXAS AT AUSTIN   AUSTIN            TX           78712
    MICHAEL J SAVELESKY                                                    3624 W INDIAN TRAIL ROAD          ASSUMTPTION PARISH                                                    SPOKANE           WA           99208
    MICHAEL J SCHIMPF                                                      800 N PINE ST                                                                                           LANSING           MI           48906
    MICHAEL J STRATTON                      DBA STRATTON & ASSOCIATES      541 ST PAUL ST                                                                                          DENVER            CO           80206
    Michael J Wodzinski                                                    2625 Mandan Trail                                                                                       Winter Park       FL           32789
    Michael J. Wasta                                                       59 Cherryfield Drive                                                                                    West Hartford     CT           06107
    MICHAEL JOHN MOONEY                                                    2551 NE 10TH ST                                                                                         POMPANO BEACH     FL           33062-4107
    Michael Jones                                                          1800 W Grace Str                  Unit 321                                                              Chicago           IL           60613
    MICHAEL JOSEPH BAYKO                                                   15812 E 183RD ST S                                                                                      BIXBY             OK           74008
    MICHAEL K SMITH                                                        6141 ROYAL PALM DR                                                                                      GONZALES          LA           70737
    Michael K. Marshall                     Marshall Memo LLC              222 Clark Road                                                                                          Brookline         MA           02445
    Michael Kern                                                           8335 Le Mesa Street                                                                                     Orlando           FL           32827
    Michael Kerr                                                           509 N Montgomery St                                                                                     Starkville        MS           39759
    MICHAEL KLENTSCHY                                                      6142 CITRACADO CIR                                                                                      CARLSBAD          CA           92009
    Michael Kotlyar                                                        1134 Canterbury Square South      Apt. C                                                                Indianapolis      IN           46260
    Michael Kulak                                                          c/o Kevin Hoffman                 3 Patchin Pl Apt. 3                                                   New York          NY           10011
    MICHAEL KUPPERMAN                                                      51 MCDOUGAL STREET, # 17C                                                                               NEW YORK          NY           10012
    Michael L Buck                                                         2696 N Hillsboro Rd.                                                                                    New Castle        IN           47362
    MICHAEL L GAMER                                                        2634 S BALSAM STREET              FOR SASAKI R FULLER                                                   LAKEWOOD          CO           80227-3139
    MICHAEL L GERMO                                                        3640 CEDARBROOK DR                                                                                      LONGVIEW          WA           98632
    MICHAEL L GLOVER                        DBA S.T.E.P.S LLC              3325 DRIP ROCK DRIVE                                                                                    MCKINNEY          TX           75070
    Michael L Harris                                                       2248 Dresden Green                                                                                      Kennesaw          GA           30144
    MICHAEL LARSEN/ELIZABETH
    POMADA LIT                                                             1029 JONES STREET                                                                                       SAN FRANCISCO     CA           94109
    Michael Lewicki                                                        373 Garden Circle                                                                                       Yorkville         IL           60560
    MICHAEL LEWIS                                                          21 WEST 26TH ST                                                                                         NEW YORK          NY           10010
    Michael Lewis                                                          301 Buffalo Ridge Rd                                                                                    Mcmurray          PA           15317



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                       300 of 488                                                                                                          1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                                07/15/12 16:34:17           Main Document
                                                                                                             Pg Creditor
                                                                                                                 308 Matrix
                                                                                                                         of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName              Address1                             Address2              Address3              City        State       Zip           Country
    MICHAEL LEWIS                                                          40 CODORNICES ROAD                                                               BERKELEY          CA           94708
    MICHAEL LICHTER PHOTOGRAPHY
    LLC                                                                    3300 14TH STREET                                                                 BOULDER           CO           80304
    MICHAEL M MCEACHERN                     DBA MCEACHERN & ASSOCIATES     P O BOX 402                                                                      LINCOLN           MA           01773
    Michael Marsano                                                        222 Edwards ST                     APT 7                                         New Haven         CT           06511
    MICHAEL MARTIN                                                         BAD-ISCHLER-STRASSE2                                                             MUNCHEN                        81241        Germany
    MICHAEL MASTRONI                                                       41 ANSON ST                        PEST CONTROL                                  STRATTFORD        CT           06614
    MICHAEL MAZZA EDUCATIONAL
    SERVICES LLC                                                           903 BORDEAUX DRIVE                                                               LEANDER           TX           78641
    MICHAEL MCCURDY                                                        103 REEDS LANDING                                                                SPRINGFIELD       MA           01109
    Michael McEntee                                                        5517 Malibu Dr                                                                   Edina             MN           55436
    MICHAEL MCMILLIAN-LICENSE
    COLLECTOR                                                              P O BOX 78158                                                                    SAINT LOUIS       MO           63178-8158
    Michael Melody                                                         619 Camino Rancheros                                                             Santa Fe          NM           87505
    Michael Melody                                                         619 Camino Rancheros                                                             Santa Fe          NM           87505-2837
    Michael Monsour                                                        6963 Helsem Way                                                                  Dallas            TX           75230
    Michael Moore                                                          10 Wellesley Park                                                                Boston            MA           02124
    MICHAEL MORAN                                                          39 ELMWOOD RD                                                                    FLORHAM PARK      NJ           07932
    MICHAEL MORDVINOFF                                                     23 51 38TH STREET, D2                                                            ASTORIA           NY           11105
    Michael Muldoon                                                        31 Pondfield Road West Apt#58                                                    Bronxville        NY           10708
    Michael Muldowney                                                      47 Miller Hill Road                                                              Dover             MA           02030
    MICHAEL MULLEN DESIGN                                                  9 CENTRAL ST                                                                     WESTBOROUGH       MA           01581
    MICHAEL NELSON DESIGN                                                  210 ELM STREET                                                                   NORTHHAMPTON      MA           01060
    MICHAEL NEUGEBAUER                      UNIT 505 CORPORATION SQUARE    8 LAM LOK STREET                                                                 KOWLOON BAY                                 Hong Kong
    MICHAEL NIESWIADOMY                                                    1155 UNION CIRCLE, PO BOX 13408                                                  DENTON            TX           76203
    Michael Nolan                                                          548 Kenilworth                                                                   San Leandro       CA           94577
    Michael O Jackson                                                      326 Conner Park Lane                                                             West Columbia     SC           29170
    Michael Obermeier                                                      3628 N. Janssen                    Apt 2                                         Chicago           IL           60613
    Michael ODea                                                           14 Trinity Circle                                                                Waltham           MA           02154
    Michael Onderdonk                                                      95 Corey St                                                                      West Roxbury      MA           02132
    MICHAEL OPITZ                                                          6225 GARLOCK WAY                                                                 COLORADO SPGS     CO           80918
    Michael Panutich                                                       105 Townsend Farm Rd                                                             Boxford           MA           01921

    MICHAEL PANUTICH                                                       4051 GULF SHORE BLVD N, UNIT 306                                                 NAPLES            FL           34103
    Michael Parent                                                         14 Raymond Circle                                                                Westfield         MA           01085
    MICHAEL PARIZER                                                        12125 PAWNEE DRIVE                                                               GAITHERSBURG      MD           20878

    MICHAEL PATERNITI                                                      131 SPRING STREET                  NAUGHTY WARLOCK PRODUCTIONS                   PORTLAND          ME           04101
    Michael Persson                                                        8 Clark St.                                                                      Danvers           MA           01923
    Michael Petty                                                          35 High Country Dr                                                               Foley             MO           63347
    Michael Phelps                                                         810 S. Emerson Street                                                            Mt. Prospect      IL           60056
    Michael Plumpton                                                       608 Asbury Ave.                                                                  Evanston          IL           60202
                                            DBA MICHAEL PRENDERGAST
    MICHAEL PRENDERGAST                     DESIGN                         12 MERRILL STREET                                                                NEWBURYPORT       MA           01950
    MICHAEL PRIESTLEY                       PRIESTLEY PUBLISHING INC       500 CAREY FARM RD                                                                STOWE             VT           05672
    MICHAEL R HEITHAUS                                                     3160 NW 84TH WAY                                                                 COOPER CITY       FL           33024
    Michael R Stull                                                        6124 Bristlecone Dr.                                                             Fishers           IN           46038
    MICHAEL REICHMAN                                                       223 PARK DRIVE APT 1                                                             BOSTON            MA           02215
    MICHAEL REX                                                            4296 VIREO AVENUE                                                                BRONX             NY           10470
    MICHAEL RIDEAU                          DBA RIDEAUS FLOORING           9 NORTON WOODS DRIVE                                                             NEWMARKET         NH           03857
    Michael Robinson                                                       1901 Kenilworth                                                                  Hoffman Estates   IL           60169
    Michael Rogers                                                         19 Pasteur Street                                                                Weymouth          MA           02190
    MICHAEL ROHD                                                           1708 LAKE ST                                                                     EVANSTON          IL           60201-4066
    MICHAEL ROSENBERG                       DBA THE ROSENBERG GROUP        23 LINCOLN AVE                                                                   MARBLEHEAD        MA           01945
    MICHAEL RUNKEL                                                         STEUERWALD-LANDMANNSTR 47                                                        NURNBERG                       90491        Germany
    MICHAEL RYCHLIK                                                        9601-68 MICCOSUKEE RD                                                            TALLAHASSEE       FL           32309
    Michael S Kelley                                                       18 Summer Street                                                                 Rockport          MA           01966
    Michael S Kinzler                                                      20509 197th Avenue East                                                          Orting            WA           98360
    Michael S Prescott                                                     102 N Rosebud Lane                                                               Starkville        MS           39759
    MICHAEL SALINGER                                                       7326 PRESLEY AVE                                                                 MENTOR            OH           44060
    MICHAEL SAMPSOM                                                        BOX 1414                                                                         COMMERCE          TX           75429
    MICHAEL SANDLER                                                        352 SACKETT STREET                                                               BROOKLYN          NY           11231
    Michael Schlacks                                                       1079 Brookstone                                                                  Carol Stream      IL           60188
                                            DBA MICHAEL SCHMITT
    MICHAEL SCHMITT                         PHOTOGRAPHY                    1420 NW LOVEJOY # 627                                                            PORTLAND          OR           97209
    MICHAEL SILUK                                                          3228 EDGERTON ST                                                                 VADNAIS HEIGHTS   MN           55127
    Michael Simon                                                          1916 Greengage Rd                                                                Baltimore         MD           21244
    Michael Simons                                                         2 SPARHAWK DR                                                                    BURLINGTON        MA           01803-3107
    Michael Sims                                                           726 Avenue E                                                                     Kentwood          LA           70444
    MICHAEL SLACK                                                          41 HAMAR DRIVE                                                                   PLEASANT HILL     CA           94523



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     301 of 488                                                                                   1:26 PM
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                                                                                                                      of 519
                                                                                                               First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                  Address2                         Address3              City         State       Zip               Country
    MICHAEL SMITH                                                          8121 WASHINGTON LANE                                                                 WYNCOTE            PA           19095
    Michael Smith                                                          8 Truax Lane                                                                         Foxboro            MA           02035
    MICHAEL SPECTER                                                        280 RIVERSIDE DRIVE #15K                                                             NEW YORK           NY           10025
    Michael Stasack                                                        260 Jeffrey Lane                                                                     West Springfield   MA           01089
    MICHAEL STEIRNAGLE                                                     3651 NORTHCLIFF DRIVE                                                                FALLBROOK          CA           92028
    MICHAEL STERN                                                          9 HICKOK AVENUE                                                                      BETHEL             CT           06801

    MICHAEL STOKLOS                         MICHAEL STOKLOS PHOTOGRAPHY 5705 N CAMPBELL AVE                                                                     TUCSON             AZ           85718
    MICHAEL SZYDLOWSKI                                                  2502 FOX VALLEY CT                                                                      COLUMBIA           MO           65202
    MICHAEL TAPLINGER                                                   532 TOBYLYNN DR                                                                         NASHVILLE          TN           37211
    Michael Testa                                                       6 Revelstone Court                                                                      Newark             DE           19711
    MICHAEL THOMAS OCHS                                                 303 W 154TH ST APT 1F                                                                   NEW YORK           NY           10039
    MICHAEL UTLEY                                                       P O BOX 120069                 COCONUTLEY MUSIC                                         NASHVILLE          TN           37212
    Michael V DAndrea                                                   5 Connelly Circle                                                                       Braintree          MA           02184
    Michael Van Vactor                                                  213 Limerick Street                                                                     Murfreesboro       TN           37129
    MICHAEL VENTURA                                                     4011 ADAMS DRIVE                                                                        SILVER SPRING      MD           20902
    MICHAEL VICTOR                                                      2950 W CORLTAND UNIT G                                                                  CHICAGO            IL           60647
    Michael W Harrison                                                  9045 Skyline Blvd                                                                       Oakland            CA           94611
    Michael Wagner                                                      415 South Blvd                                                                          Evanston           IL           60202
    Michael Ward                                                        4702 Blythe Road                                                                        Booneville         AR           72927
    MICHAEL WHITE                                                       15 EAST FOUNTAIN AVE                                                                    CINCINNATI         OH           45246
    MICHAEL WILDSMITH
    PHOTOGRAPHY                                                            19 DYNEVOR ROAD                                                                      LONDON                          N16 0DL      United Kingdom
    MICHAEL WRIGHT                                                         600 S COLLEGE AVE           UNIV OF TULSA                      100E KENDALL HALL     TULSA              OK           74104
    MICHAEL YAMASHITA INC                                                  33 CHESTER PL                                                                        CHESTER            NJ           07930-2839
    Michael Zakhar                                                         34 Carolyn Court                                                                     Eatontown          NJ           07724
    Michaela M. Sullivan                                                   72 A Inman Street                                                                    Cambridge          MA           02139
    MICHAELA MORGAN                                                        2 BRUNSWICK SQUARE                                                                   HOVE                            BN3 1EG      United Kingdom
    MICHAELE F CHAPPELL                                                    2203 KEEGAN DRIVE                                                                    MURFREESBORO       TN           37130

    MICHAL DANIEL                           MICHAL DANIEL PHOTOGRAPHY LTD 3237 LONGFELLOW AVE SOUTH                                                             MINNEAPOLIS        MN           55407-3804
    Michal Sposato                                                        25 Stoughton Street                                                                   Randolph           MA           02368
    MICHEAL BERNSTEIN                       DBA CASCADILLA PRESS          PO BOX 440355                                                                         SOMERVILLE         MA           02144-0004
    MICHEAL GRAVES                                                        6940 W 105 STREET                                                                     BLOOMINGTON        MN           55438
    MICHEAL GUY                                                           108 HURON ST                                                                          BROOKLYN           NY           11222
                                                                          JEAN ROUBIER 18 RUE DE
    MICHEL RAGER                            FONDS PHOTOGRAPHIQUE          BELZUNCE                                                                              PARIS                           75010        France
    Michele A Burke                                                       2055 Sharon Street                                                                    Boca Raton         FL           33486
    MICHELE A BURKE                                                       2055 SHARON ST                                                                        BOCA RATON         FL           33486-3136
    MICHELE ANNE MCCORMICK                  USE 1-25326                   1888 GERSHWIN COURT                                                                   VIRGINIA BEACH     VA           23454
    Michele Baker                                                         3421 Lakeshore Drive                                                                  Tallahassee        FL           32312
    MICHELE BENNETT                                                       731 SCRANTON AVENUE                                                                   EAST ROCKAWAY      NY           11518
    MICHELE BURGESS                                                       20741 CATAMARAN LANE                                                                  HUNTINGTON BEACH   CA           92646-5513
    Michele Burns                                                         4 Glenda Drive                                                                        West Milford       NJ           07480
    MICHELE COTTON                                                        6 CROSSWALL CT                                                                        NOTTINGHAM         MD           21236
    MICHELE DAMRON                                                        1640 SHERBOURNE STREET                                                                WINTER GARDEN      FL           34787
    Michele DiMuzio                                                       6150 W. Garfield Road                                                                 Salem              OH           44460
    MICHELE DUFRESNE                                                      35 HIDDEN MEADOW RD                                                                   AMHERST            MA           01002
    Michele Henderson                                                     3706 Chalet Ct                                                                        Orlando            FL           32818
    MICHELE K HARRIS                                                      444 PENNSYLVANIA AVE                                                                  SALISBURY          MD           21801
    MICHELE KUZMOVICH LOMBARD                                             13114 HEARTHSIDE LANE                                                                 FAIRFAX            VA           22033
    Michele LePatner                                                      2342 Apple Tree Drive                                                                 Tustin             CA           92780
    Michele Litant                                                        276 Reed Farm Road                                                                    Boxborough         MA           01719
    Michele Merritt                                                       4854 Rabama Place                                                                     Orlando            FL           32812
    Michele Pulver                                                        1712 Verde                                                                            Mt. Prospect       IL           60056
    Michele Shukers                                                       1808 Brackenridge Street                                                              Austin             TX           78704
    MICHELE TIMBLE                                                        863 S PRINCETON COURT                                                                 ELMHURST           IL           60126
    MICHELLE BARBERA                                                      84 WEBCOWET ROAD, # 1                                                                 ARLINGTON          MA           02474-2323
    MICHELLE BERGMAN                                                      1653 EAST 31ST                                                                        BROOKLYN           NY           11234
    Michelle Bonanno                                                      7 Ocean View Dr.             # 210                                                    Boston             MA           02125
    MICHELLE BRIDWELL                       DBA FRONTERA FOTOS            2010 WOOD COURT                                                                       GRAND JUNCTION     CO           81507
    MICHELLE BROWN                                                        P O BOX 22324                                                                         SEATTLE            WA           98122
    Michelle Bugay                                                        89-01 191 Street                                                                      Hollis             NY           11423
    Michelle C Flynn                                                      301 Lincoln Ave                                                                       Portsmouth         NH           03801
    Michelle Cardona                                                      17952 W Sunnyslope Ln                                                                 Waddell            AZ           85355
    Michelle Cockrell                                                     3323 Creek Rd                                                                         Moscow Mills       MO           63362
    Michelle Coppola                                                      5358 Amalfi Dr                                                                        Clay               NY           13041
    Michelle Crawford                                                     919 E 49th St                                                                         Austin             TX           78751
    Michelle Dike                                                         4701 Fairview Drive                                                                   Austin             TX           78731
    MICHELLE DIONETTI                                                     P O BOX 660                                                                           YORK HARBOR        ME           03911



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                              302 of 488                                                                                                   1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                        of 519
                                                                                                                         First Class Service List


                CreditorName                          CreditorNoticeName                Address1                              Address2              Address3             City          State       Zip      Country
    Michelle E Agro                                                        4220 S Kirkman Rd                 1206                                              Orlando            FL           32811
    MICHELLE E TREMBLAY                                                    403 COCHECO COURT                                                                   DOVER              NH           03820
    MICHELLE EDWARDS                                                       2745 HICKORY TRAIL                                                                  IOWA CITY          IA           52245
    MICHELLE ELENA BERGEY                                                  74414 NATIONAL PARK DR                                                              TWENTYNINE PALMS   CA           92277
    Michelle Engelbert                                                     709 Sherman Ave                   #2                                                Evanston           IL           60202
    MICHELLE FERNANDEZ                                                     12369 NW 13 COURT                                                                   PEMBROKE PINES     FL           33026
    MICHELLE FORD                                                          3204 BARNETT RD                                                                     COURTLAND          MS           38620
    MICHELLE GENGARO-KOKMAN                                                55 EAST 9TH ST #9                                                                   NEW YORK           NY           10003
    Michelle Gordon                                                        146 Crab Cay Way                                                                    Jupiter            FL           33458
    MICHELLE GUARINO                                                       PO BOX 28204                                                                        PANAMA CITY        FL           32411
    MICHELLE GUZMAN FIGUEROA                                               CALLE 7 H-3 BELLA VISTA                                                             BAYAMON            PR           00957

    MICHELLE HERCZOG                        LA COUNTY OFFICE OF EDUC.      9300 IMPERIAL HWY. CLARK BRIDGE                                                     DOWNEY             CA           90242
    MICHELLE HERMAN                                                        2307 WROCKLAGE AVE # 2                                                              LOUISVILLE         KY           40205
    MICHELLE J GENOVESE                                                    335 SUNDERLAND CIRCLE                                                               FAYETTEVILLE       GA           30215
    Michelle Kemp                                                          601 Village Dr                                                                      Glen Carbon        IL           62034
    Michelle Kwan                                                          103 E Crestland Dr                                                                  Austin             TX           78752
    MICHELLE KWAN CORP                                                     18833 OAK LEAF LANE STE B                                                           NORTHVILLE         MI           48168
    MICHELLE L FUENTES RIVERA                                              337 JARD DORADO                                                                     TOA ALTA           PR           00953
    MICHELLE MANASSE                                                       2134 AQUETONG RD                                                                    NEW HOPE           PA           18938
    MICHELLE MARIE BLASKY
    FERNANDEZ                                                              MAR DE JAPON #19                  URB VILLAMAR                                      CAROLINA           PR           00979
    MICHELLE MARIE MORROW
    CURRERI                                                                3 EAGLE LANE                                                                        BEVERLY            MA           01915
    MICHELLE MARIE WEBB                                                    1821 NW 142 TERRACE                                                                 PEMBROKE PINES     FL           33028
    Michelle Martin                                                        66 W 85TH ST                      APT 2C                                            NEW YORK           NY           10024
    MICHELLE MIEGER                                                        5782 PEBBLE ACRES DR                                                                HIGH RIDGE         MO           63049
    Michelle Moment-Jones                                                  5460-6 E Michigan St                                                                Orlando            FL           32812
    MICHELLE NIJHUIS                                                       39007 PITKIN ROAD                                                                   PAONIA             CO           81428
    Michelle Pappas                                                        44 Chesbrough Rd.                                                                   West Roxbury       MA           02132
    Michelle R Lucio                                                       1121 Dunbridge St                                                                   Apopka             FL           32703
    MICHELLE RIMSA                                                         380 RIDGE AVENUE # 14-1                                                             EVANSTON           IL           60202
    Michelle Rimsa                                                         380 Ridge Ave                     Unit 14-1                                         Evanston           IL           60202
    MICHELLE ROGERS                                                        17540 AVILLA BLVD                                                                   LATHRUP VILLAGE    MI           48076
    MICHELLE SEATON                                                        31 FRANCONIA AVENUE                                                                 NATICK             MA           01760
    Michelle Springer                       C/O Shel Stanfill, CHS         15655 Brookstone Drive                                                              Parker             CO           80134
    MICHELLE STUART ROMERO                  URB DR RUFO                    88 CALLE DR RUFO                                                                    CAGUAS             PR           00725-3723
    MICHIGAN ADULT CURRICULUM
    CONNECTION                              ATTN CAROL UDMAN               26201 HARDING                                                                       OAK PARK           MI           48237
    MICHIGAN ASSN FOR COMPUTER
    USERS                                   IN LEARNING                    3410 BELLE CHASE WAY STE 100                                                        LANSING            MI           48911
    MICHIGAN ASSN OF COMM AND
    ADULT                                   EDUCATION                      826 MUNICIPAL WAY                                                                   LANSING            MI           48917
    MICHIGAN ASSN OF MIDDLE SCH
    EDUCATORS                                                              1390 EISENHOWER PLACE                                                               ANN ARBOR          MI           48108
    MICHIGAN ASSN OF NON-PUBLIC
    SCHOOLS                                 UNIV OF CINCINNATI             P O BOX 210031                                                                      CINCINNATI         OH           45221-0031

    MICHIGAN ASSN OF PUBLIC SCHOOL          ACADEMICS                      215 S WASHINGTON SQ SUITE 135                                                       LANSING            MI           48933
    MICHIGAN ASSOC FOR BILINGUAL
    EDU                                                                    503 MALL COURT # 331                                                                LANSING            MI           48912
    MICHIGAN ASSOC OF SCH
    ADMINISTRATORS                          ATTN SUE WHITE                 1001 CENTENNIAL WAY, SUITE 300                                                      LANSING            MI           48917-9279
    MICHIGAN ASSOC OF SCH
    PSYCHOLOGISTS                           C/O TREASURER                  2843 E GRAND RIVER AVE STE 239                                                      EAST LANSING       MI           48823-4989
    MICHIGAN COUNCIL FOR
    EXCEPTIONAL                             CHILDREN                       1117 THOMAS PRKY W                                                                  LANSING            MI           48917
    MICHIGAN COUNCIL FOR THE
    SOCIAL STUDIES                                                         1390 EISENHOWER PLACE                                                               ANN ARBOR          MI           48108
    MICHIGAN COUNCIL OF TEACHERS
    OF MATHS                                                               48371 MEADOW OAK TR                                                                 MATTAWAN           MI           49071
    MICHIGAN DEPT OF LABOR &                BUREAU OF COMMERCIAL
    ECONOMIC GROWTH                         SERVICES - CORP DIV            P O BOX 30702                                                                       LANSING            MI           48909-8202
    Michigan Dept of Treasury               Attn Bankruptcy Unit           PO Box 30168                                                                        Lansing            MI           48909
    MICHIGAN ELEMENTARY AND
    MIDDLE SCHOOL                           PRINCIPALS ASSOCIATION         1980 N COLLEGE ROAD                                                                 MASON              MI           48854
    MICHIGAN FOUNDTN FOR EDUC
    LEADERSHIP                                                             2277 SCIENCE PKWY STE 4A                                                            OKEMOS             MI           48864
    MICHIGAN INSTITUTE FOR EDCNL
    MNGMT                                                                  1001 CENTENNIAL WAY STE 300                                                         LANSING            MI           48917



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                        303 of 488                                                                               1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                   First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                       Address2                         Address3                    City        State       Zip            Country
    MICHIGAN NORTH CENTRAL
    ASSOCIATION                                                            826 MUNICIPAL WAY                                                                              LANSING           MI           48917
    MICHIGAN READING ASSOCIATION                                           668 THREE MILE RD NW STE C                                                                     GRAND RAPIDS      MI           49544
    MICHIGAN SCIENCE EDUCATION
    LEADERSHIP                              ASSOCIATION                    1848 COUNCIL AVENUE                                                                            LINCOLN PARK      MI           48146
    MICHIGAN SCIENCE TEACHERS
    ASSN                                                                   1390 EISENHOWER PLACE                                                                          ANN ARBOR         MI           48108

    MICHIGAN STATE UNIVERSITY                                              WEST CIRCLE DRIVE MSU MUSEUM                                                                   EAST LANSING      MI           48824
    MICHIGAN TEACHERS OF ENGLISH
    TO                                      SPEAKERS OF OTHER LANGUAGES    105 AQUA CT                                                                                    ROYAL OAK         MI           48073
    MICHIGAN TEACHERS OF ENGLISH
    TO                                      ATTN ALYCE HOWARTH             105 AQUA CT                                                                                    ROYAL OAK         MI           48073
    MICHIGAN WORKS ASSOCIATION                                             2500 KERRY STREET, STE 210                                                                     LANSING           MI           48912-3657
    MICHIGAN WORLD LANGUAGE
    ASSOCIATION                                                            5415 OLDE SAYBROOKE ROAD                                                                       GRAND BLANC       MI           48439
    MICK NAPIER                                                            4840 N TALMAN AVE #2             ANNOYANCE PRODUCTIONS INC                                     CHICAGO           IL           60625

    MICK WIGGINS                            DBA MICK WIGGINS ILLUSTRATIONS 2821 KAVANAUGH BLVD STE 3D                                                                     LITTLE ROCK       AR           72205
    Mickey Pounders                                                        644 South Lakeview Drive                                                                       Baton Rouge       LA           70810

    MICKEY SPILLANE PUBLISHING LLC                                         30 FAIRVIEW AVENUE               ATTN MAX ALLAN COLLINS                                        MUSCATINE         IA           52761
    MICKEYS FLORIST                                                        1134 W MAIN ST                                                                                 LEWISVILLE        TX           75067
    MICROCOMM CONSULTING INC                                               1612 HEMPSTEAD CT                                                                              JOPPA             MD           21085
    MICROFILM COMPANY OF                                                                                                                       DBA LIBRARY REPRODUCTION
    CALIFORNIA INC                                                         14214 SOUTH FIGUEROA ST                                             SERVICE                    LOS ANGELES       CA           90061-1034
    MICROPRINT INC                                                         335 BEAR HILL ROAD                                                                             WALTHAM           MA           02451
    MICROSOFT CORPORATION                                                  PO BOX 844510                                                                                  DALLAS            TX           75284-4510

    MICROSOFT LICENSING GP                                                 1950 N STEMMONS FWY STE 5010     C/O BANK OF AMERICA - LB #842467                              DALLAS            TX           75207
    MICUCCI CHARLES                                                        454 KINGSLAND STREET                                                                           NUTLEY            NJ           07110
    MID ATLANTIC READING RECOVERY
    CONF                                                                   P O BOX 1367                     ATTN HOLLY BARTHOLOMEW                                        MT PLEASANT       SC           29465
    MIDAS                                                                  100 TEXACO ROAD                                                                                TSUEN WAN                                   Hong Kong
    MID-ATLANTIC CATHOLIC SCHS
    CONSORTIUM                                                             10 FRANCIS STREET                                                                              ANNAPOLIS         MD           21401

    MID-CONTINENT RESRCH FOR EDUC DBA REGIONAL EDUCATIONAL                 4601 DTC BOULEVARD SUITE 500                                                                   DENVER            CO           80237

    MID-DEL SCHOOLS                         SCHWARTZ ELEMENTARY SCHOOL     12001 SE 104TH                                                                                 OKLAHOMA          OK           73165
    MID-DEL SCHOOLS                         PLEASANT HILL ELEMENTARY       4346 NE 36TH                                                                                   OKLAHOMA CITY     OK           73121
    MID-DEL SCHOOLS                         HIGHLAND PARK ELEMENTARY       5301 S DIMPLE                                                                                  OKLAHOMA CITY     OK           73135
    MID-DEL SCHOOLS                         EPPERLY HEIGHTS                3805 DEL RD                                                                                    DEL CITY          OK           73115
    MID-DEL SCHOOLS                         DEL CITY ELEMENTARY SCHOOL     2400 EPPERLY DR                                                                                DEL CITY          OK           73115
    MID-DEL SCHOOLS                                                        12001 SE 104TH                                                                                 OKLAHOMA          OK           73165
    MID-DEL SCHOOLS                                                        2400 EPPERLY DR                                                                                DEL CITY          OK           73115
    MID-DEL SCHOOLS                                                        3805 DEL RD                                                                                    DEL CITY          OK           73115
    MID-DEL SCHOOLS                                                        4346 NE 36TH                                                                                   OKLAHOMA CITY     OK           73121
    MID-DEL SCHOOLS                                                        5301 S DIMPLE                                                                                  OKLAHOMA CITY     OK           73135

    MIDDLE EAST BOOK EXPORTS LTD                                           5 TRINITY CT MANSFIELD GARDENS                                                                 HERTFORD HERTS                 SG14 3EU     United Kingdom
    MIDDLE SCH PRINCIPAL ASSN OF
    CITY OF NY                              ATTN LAURA MASTROGIOVANNI      MS 137Q 109-15 98TH ST                                                                         OZONE PARK        NY           11417

    MIDDLE SCHOOL PRINCIPALS ASSN                                          138-30 LAFAYETTE STREET                                                                        OZONE PARK        NY           11417
    MIDDLE TENNESSEE FEDERAL
    DIRECTORS                               CONFERENCE                     1011 LARWOOD DRIVE               ATTN JO ANNE HARRELL                                          HERMITAGE         TN           37076
    MIDDLE TENNESSEE HOME
    EDUCATORS ASSN                          C/O EXHIBITOR COORDINATOR      P O BOX 147                                                                                    OLD HICKORY       TN           37138
    MIDDLE TENNESSEE MATH TCHRS
    CONF                                                                   5324 MURRAY LANE                 ATTN LOIS COLES                                               BRENTWOOD         TN           37027
    MIDDLE TENNESSEE STATE UNIV                                            1301 E MAIN STREET CAB108                                                                      MURFREESBORO      TN           37132
    MIDDLE TENNESSEE STATE
    UNIVERSITY                              PHILLIPS BOOKSTORE             1307 EAST MAIN STREET                                                                          MURFREESBORO      TN           37132
    MIDDLEBROOK DIANE WOOD                                                 1101 GREEN STREET, #1501                                                                       SAN FRANCISCO     CA           94109-2016
    MIDDLEBURY COLLEGE                                                     58 HEPBURN RD                                                                                  MIDDLEBURY        VT           05753
    Midland Press Corporation                                              Department 4303                                                                                Carol Stream      IL           60122-4303
    MIDLANDS TECHNICAL COLLEGE              AIRPORT CAMPUS                 1460 LEXINGTON AVE                                                                             WEST COLUMBIA     SC           29170
                                            DBA HOLIDAY INN KOGER CONF
    MIDLOTHIAN HOTEL ASSOCIATES             CENTER                         1021 KOGER CENTER BLVD                                                                         RICHMOND          VA           23235



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                  304 of 488                                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                312 Matrix
                                                                                                                        of 519
                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                              Address2              Address3               City           State       Zip            Country

    MIDRANGE PERFORMANCE GROUP                                             100 ARAPAHOE AVENUE AUTE 14                                                        BOULDER               CO           80302
    MID-RIVER ASPHALT INC                                                  511 JOHN DEERE LN                                                                  TROY                  MO           63379
    MID-SHORE COMMUNITY                                                                                      ATTN CHSAA E HAGEN
    FOUNDATION                              C/O THOMAS E FLEMING           24780 PEALIQUOR RD                SCHOLARSHIP                                      DENTON                MD           21629
    MIDSTATE CATERING                                                      PO BOX 17343                                                                       NASHVILLE             TN           37217
    MIDSTATE ENVIRONMENTAL
    SERVICE LP                              DBA UNITED RECYCLERS LP        P O BOX 261180                                                                     CORPUS CHRISTI        TX           78426-1180

    MIDWEST ELECTRONIC RECOVERY                                            P O BOX 500, 100 THIRD ST N                                                        WALFORD               IA           52351
    MIDWEST MARKETING GROUP                                                7153 W IRVING PARK RD                                                              CHICAGO               IL           60634

    MIDWEST MECHANICAL GROUP INC MIDWEST MECHANICAL                        801 PARKVIEW BLVD                                                                  LOMBARD               IL           60148

    MIDWEST MEDIA                           ATTN JUDY KRUG                 7115 WEST NORTH AVENUE, STE 303                                                    OAK PARK              IL           60302-1002
    MIDWEST PARENT EDUCATORS                                               P O BOX 14391                                                                      LENEXA                KS           66285
    MIDWEST PROMOTIONAL GROUP                                              5900 ARCHER ROAD                                                                   SUMMIT                IL           60501
    MIDWEST SEALCOAT INC                                                   1210 LYON ROAD                                                                     BATAVIA               IL           60510
    MIDWESTERN INTERMEDIATE UNIT
    IV                                      ATTN CATHLEEN CUBELIC          453 MAPLE STREET                                                                   GROVE CITY            PA           16127
    MIDWOOD CATHOLIC ACADEMY                                               1501 HENDRICKSON ST                                                                BROOKLYN              NY           11234
    MIGDALIA TORRES RIVERA                                                 TORRE NORTE APTO 705              CONDOMINO PARQUE DE LOYOLA                       SAN JUAN              PR           00918
    Migdalia Velez                                                         6014 Mimosa Dr                                                                     Orlando               FL           32807
    MIGNA MELENDEZ CABALLERO                                               HC05 BOX 57849                                                                     CAGUAS                PR           00725
    MIGNON MCGARRY                                                         504 WEST FOURTEENTH STREET                                                         AUSTIN                TX           78701
    MIGUEL AZNAR                                                           381 COLLADO DRIVE                                                                  SCOTTS VALLEY         CA           95066
    MIGUEL E MARRERO-MEDINA                                                HC-02 BOX 14374                                                                    CAROLINA              PR           00987
                                                                           CALLE BARTOLOME LAS CASAS #
    MIGUEL ELI RODRIGUEZ RIVERA             BARRIO OBRERO                  716                                                                                SAN JUAN              PR           00915
                                                                                                                                                              PEDREGAL SANTA
    MIGUEL MEJIA AGUILAR                                                   SAN JORGE MZ 842 LT 17 COL                                                         URSULA COYOACAN                    04600        Mexico
    MIGUEL PORTILLO                                                        7500 E 151 S, # 71                                                                 BIXBY                 OK           74008
    Miguel Reyes                                                           1408 N Business 81/287                                                             Decatur               TX           76234
    Mihkerlange Jean-Louis                                                 90 Quincy Shore Drive             Unit 823                                         Quincy                MA           02171
    MIHO HORSHOK                                                           3831 BERGERAC LANE                                                                 OCEAN SPRINGS         MS           39564
    MIKE ANDERSON                                                          24 BAGDAD RD                                                                       DURHAM                NH           03824
    Mike Bates                                                             16758 E. Prentice Cr.                                                              AURORA                CO           80015

    MIKE CORBISHLEY                                                        STONES GREEN ROAD                 ROSE COTTAGE                                     GREAT OAKLEY, HARWICH Essex        CO12 5BW     United Kingdom
    MIKE DAHMS                                                             13231 MEADOWFIELD DRIVE                                                            ORLANDO               FL           32824
    Mike Esposito                                                          8351 Solana Drive                                                                  Denver                CO           80229
                                            DBA MIKE GRANDMAISON
    MIKE GRANDMAISON                        PHOTOGRAPHY                    31 CLEARWATER ROAD                                                                 WINNIPEG              MB           R2J 2T4      Canada
    MIKE HARIDOPOLOS CAMPAIGN                                              PO BOX 33326                                                                       INDIALANTIC           FL           32903
    MIKE HORNER CAMPAIGN                                                   P O BOX 450008                                                                     KISSIMMEE             FL           34745
                                            DBA GALIELEO CARTOON
    MIKE KEEFE                              ILLUSTRATION                   1100 CHEROKEE UNIT 304                                                             DENVER                CO           80204
    MIKE L GONZALEZ                         dba MG COMPUTER SERVICES       3434 DELTA QUEEN AVE                                                               SACRAMENTO            CA           95833
    Mike Lemke                                                             1925 Dewes St                                                                      Glenview              IL           60025
    Mike Lewis                                                             1365 Columbine Street             #206                                             Denver                CO           80206
                                            DBA MIKE MORELAND
    MIKE MORELAND                           PHOTOGRAPHY INC                1275 PINE GROVE RD                                                                 ROSWELL               GA           30075
    Mike Schmoker/Results Cons.                                            2734 N. Carefree Circle                                                            Flagstaff             AZ           86004
    Mike Szydlowski                                                        9190 Jody Lynn Lane                                                                Twinsburg             OH           44087
    MIKE WIMMER I DO ART INC                                               113 NW 13TH ST APT 309                                                             OKLAHOMA CITY         OK           73103-4837
    Mikel Tsipis                                                           4 Bigelow Road                                                                     Wayland               MA           01778
    Mikes Camera                                                           9197 E. Westview Road                                                              Littleton             CO           80124
    MIKHAIL LEMKHIN                                                        1811 38TH AVE                                                                      SAN FRANCISCO         CA           94122
    MIKKEL ROSENGAARD KNUDSEN                                              238 FRANKLIN STREET APT 120F                                                       BROOKLYN              NY           11222

    MILAGROS GALLEGOS                                                      CONDOMINIO PESEO DEL SOL NO 3                                                      NOSARA GUANACASTE                               Costa Rica
                                                                           26 ST S-24 URB VILLA
    MILAGROS MARTINEZ SCHETTINI                                            UNIVERSITARIA                                                                      HUMACAO               PR           00791
    MILAGROS RODRIGUEZ                                                     P O BOX 1444                                                                       TRUJILLO ALTO         PR           00977-1444
    MILAUSKAS GEORGE                                                       108 MATTEK AVENUE                                                                  DEKALB                IL           60115
    MILDRED B BUCHANAN                                                     11421 KEY WEST DR NE                                                               ALBUQUERQUE           NM           87111
    MILDRED M STUART                        LEVITOWN                       CALLE MARGARITA AD-16                                                              TOA BAJA              PR           00949
    MILDRED MARIN TORRES                                                   COSTA SUR CALLE VELERO I 22                                                        YAUCO                 PR           00698
    MILDRED SERRA GONZALEZ                                                 H-43 6TH ST LAGOS DE PLATA                                                         TOA BAJA              PR           00949
    Mile High Chapter Red Cross                                            444 Sherman Street                                                                 Denver                CO           80203-4425



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                       305 of 488                                                                                         1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                313 Matrix
                                                                                                                        of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2              Address3               City        State       Zip            Country
    Mile High Station, Inc.                                                2027 W. Colfax Avenue                                                          Denver             CO           80204
    Milen Tashkov                                                          470 Raintree Court Unit 2r     Unit 2r                                         Glen Ellyn         IL           60137
    MILES R SILMAN                                                         DEPARTMENT OF BIOLOGY 134                                                      WINSTON-SALEM      NC           27106
    MILFORD BOARD OF EDUCATION                                             70 WEST RIVER OF EDUCATION                                                     MILFORD            CT           06460
    MILGRIM DAVID                                                          42 MUNROE STREET                                                               NORTHAMPTON        MA           01060
    MILILANI IKE ELEMENTARY SCH                                            95-1330 LEHIWA DRIVE                                                           MILILANI           HI           96789
    MILITARY HISTORY QUARTERLY                                             26 EAST MADISON AVE            ATTN GEORGE BROWN JR CPA                        CRESSKILL          NJ           07626
    MILK STREET CAFE INC                                                   50 MILK STREET                                                                 BOSTON             MA           02108
    Milka Cucuz                                                            6545 Northwest Hwy                                                             Chicago            IL           60631
    MILKEN INSTITUTE                                                       1250 FOURTH STREET, 2ND FL     ATTN ACCOUNTS RECEIVABLE                        SANTA MONICA       CA           90401
    MILKWEED EDITIONS                                                      430 FIRST AVENUE N, STE 400                                                    MINNEAPOLIS        MN           55401
    Millard County School District                                         285 East 450 North                                                             Delta              UT           84624
    MILLBROOK PRESS                         DBA LERNER PUBLICATIONS CO     241 FIRST AVE NORTH                                                            MINNEAPOLIS        MN           55401
    MILLBURN TOWNSHIP P S                                                  434 MILLBURN AVE                                                               MILLBURN           NJ           07041
    Millennium Hotel St. Louis              Attn Accounts Receivable       200 South 4th Street                                                           Saint Louis        MO           63102
    MILLENNIUM IMAGES LTD                                                  17D ELLINGFORT RD                                                              LONDON                          E8 3PA       United Kingdom

    MILLENNIUM PALLETS LLC                  C/O ORANGE COMMERCIAL CREDIT P O BOX 11099                                                                    OLYMPIA            WA           98508-1099
    MILLER AGENCY                                                        630 NINTH AVENUE SUITE 1102                                                      NEW YORK           NY           10036
    MILLER CANFIELD PADDOCK AND
    STONE PLC                                                              P O DRAWER 640348                                                              DETROIT            MI           48264
    MILLER DEBBIE S                                                        1446 HANS WY                                                                   FAIRBANKS          AK           99709
    MILLER JOANNE                                                          53 LAWTON STREET                                                               BROOKLINE          MA           02446
    MILLER KATHERINE S                                                     14642 W ANTELOPE DRIVE                                                         SUN CITY WEST      AZ           85375
    Miller Law Group
    MILLER LAW GROUP LLC                                                   111 SUTTER ST, STE 700                                                         SAN FRANCISCO      CA           94104-4547
    MILLER SAMUEL K                                                        3422 VIDERA DRIVE                                                              EUGENE             OR           97405
    MILLER SARA SWAN                                                       378 MOHONK ROAD                                                                HIGH FALLS         NY           12440
    MILLER SCOT                             SUN TO MOON GALLERY            1515 E LEVEE ST                                                                DALLAS             TX           75207
    MILLER TREE SERVICE COMPANY                                            1262 CLEARWATER DRIVE                                                          YORKVILLE          IL           60560
    MILLETT NANCY C AS TRUSTEE OF                                                                         INTER VIVOS REVOCABLE TRUST
    LIVING TR                                                              3799 CADBURY CIRCLE UNIT 223   AGREEMENT                                       VENICE             FL           34293
    Millisent E Fruth                                                      DO NOT MAIL                    #102                                            VIRGINIA BEACH     VA           23454
    MILLS CATERING COMPANY LLC                                             2828 E 55TH PLACE                                                              INDIANAPOLIS       IN           46220
    MILLS KEVIN                                                            5631 SUNNYVIEW STREET                                                          TORRACE            CA           90505
    MILLS NANCY                                                            563 29TH ST                                                                    MANHATTAN BEACH    CA           90266
    Mills, David
    MILLWOOD INC                                                           3708 INTERNATIONAL BLVD                                                        VIENNA             OH           44473
    MILTON & ROSE FRIEDMAN TRUST                                           1511 PORTOLA ST                ATTN JANET MARTEL                               DAVIS              CA           95616
    MILTON FOUNDATION FOR
    EDUCATION                                                              P O BOX 223                                                                    MILTON             MA           02186
    MILTON GLASER                                                          207 EAST 32ND ST                                                               NEW YORK           NY           10016
    MILTON GLASER INC                                                      207 EAST 32ND STREET                                                           NEW YORK           NY           10016
    MILTON KENT MOSLEY                                                     701 NIMITZ ST                                                                  MOUND BAYOU        MS           38762
    MILTON T BUTTERWORTH JR                                                195 PARKER ROAD                                                                ASHEVILLE          NC           28805-8750
    MILWAUKEE ARCHDIOCESAN
    PRINCIPALS                              ATTN DAVID WIETERS             130 MAIL STREET                                                                LAKE GENEVA        WI           53147
    MILWAUKEE ARCHDIOCESAN
    PRINCIPALS                              ASSOCIATION                    130 MAIL STREET                                                                LAKE GENEVA        WI           53147
                                            WISCONSIN ASSN FOR BILINGUAL
    MILWAUKEE PUBLIC SCHOOLS                EDUCATION                      P O BOX 340192                                                                 MILWAUKEE          WI           53234-0192
                                            DBA ASC ROUNDTABLE
    MILWAUKEE PUBLIC SCHOOLS                CONVENTION                     811 N. HAWLEY ROAD SUITE 110                                                   MILWAUKEE          WI           53213-3289
    MILWAUKEE PUBLIC SCHOOLS                ATTN GLORIA GONZALEZ           P O BOX 340192                                                                 MILWAUKEE          WI           53234-0192
    MILWAUKEE PUBLIC SCHOOLS                ACCOUNTING DIVISION            P O DRAWER 2181                                                                MILWAUKEE          WI           53201
    Milwaukee Public Schools                                               5225 W. Vliet Street                                                           Milwaukee          WI           53208-2627
    MILWAUKEE PUBLIC SCHOOLS                                               811 N. HAWLEY ROAD SUITE 110                                                   MILWAUKEE          WI           53213-3289
    MILWAUKEE PUBLIC SCHOOLS                                               P O DRAWER 2181                                                                MILWAUKEE          WI           53201
    MIMEO.COM INC                                                          PO BOX 13067                                                                   NEWARK             NJ           07188
    MIMEO.COM INC                                                          P O BOX 673866                                                                 DETROIT            MI           48267-3866
    MIMI B HANTZ                                                           1883 ORCHARD ST                                                                DES PLAINES        IL           60018
    MIMI BRODSKY CHENFELD                                                  2670 HALLECK DR                                                                COLUMBUS           OH           43209
    MIMI POND                                                              4218 HOLLY KNOLL DRIVE                                                         LOS ANGELES        CA           90027
    MIMS J SABRINA                                                         14725 MAPLEWOOD DR                                                             CHINO HILLS        CA           91709
    Mina Shea                                                              1529 LAKE ST                                                                   SAN FRANCISCO      CA           94118
    MINAL HAJRATWALA                                                       6 CRAGMONT AVENUE                                                              SAN FRANCISCO      CA           94116
    MINDEN PICTURES                                                        558 MAIN ST                                                                    WATSONVILLE        CA           95076-4318
    Mindi Jones                                                            1278 Garrison Drive                                                            Saint Augustine    FL           32092
    MINDVISION                                                             5901 NORTH 58TH STREET                                                         LINCOLN            NE           68507
    MINDY HOLT                                                             10263 COUNTRY RD 400                                                           WAYNOKA            OK           73860



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   306 of 488                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                       of 519
                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName               Address1                         Address2                         Address3                       City          State       Zip              Country
    MINDY MARIE DIBLE                                                      10345 GLEN CIRCLE APT 201                                                                           TWINBURG          OH           44087
    MINDY PEARSON                                                          320 CRAFT RD                                                                                        BRANDON           FL           33511
    MINER FLORIDA LTD                                                      11827 TECH COM STE 115                                                                              SAN ANTONIO       TX           78233
    MINES PRESS INC                                                        231 CROTON AVE                                                                                      CORTLANDT MANOR   NY           10567-5284

    MINISTERO PER I BENI E LE ATTIVITA CULTURALI                           PIAZZA MUSEO 19                                                                                     NAPOLI                         80135        Italy
    MINISTRY OF EDUCATION              COUNSELLOR OF ENGLISH               12 EL FALAKI STREET                                                                                 CAIRO                                       Egypt
    MINITAB INC                                                            1829 PINE HALL RD                                                                                   STATE COLLEGE     PA           16801-3210
    MINNA MURRA INC                                                        32 W COBBLE HILL ROAD                                                                               BARRE             VT           05641-5538
    MINNA MURRA INC                                                        41 MADISON AVENUE 33RD FL                                                                           NEW YORK          NY           10010
    MINNEAPOLIS INSTITUTE OF ART                                           2400 THIRD AVENUE SOUTH                                                                             MINNEAPOLIS       MN           55404

    MINNEAPOLIS JEWISH DAY SCHOOL                                          4330 CEDAR LAKE ROAD                                                                                MINNEAPOLIS       MN           55416
    MINNESOTA ADMINISTRATORS FOR
    SPECIAL                                 EDUCATION                      1884 COMO AVENUE                                                                                    ST PAUL           MN           55108
    MINNESOTA ASSN FOR
    SUPERVISION &                           CURRICULUM DEVELOPMENT         5033 WEST 56TH STREET                                                                               EDINA             MN           55436
    MINNESOTA ASSN FOR
    SUPERVISION &                           ATTN LORI SANDVIG              5033 WEST 56TH STREET                                                                               EDINA             MN           55436
    MINNESOTA ASSN OF ADMINS OF
    STATE AND                               FEDERAL EDUCATION PROGRAMS     1000 44TH AVE NORTH STE 100                                        ST CLOUD SCHOOL DISTRICT # 742   ST CLOUD          MN           56303
    MINNESOTA ASSN OF SCHOOL
    ADMINISTRATORS                                                         1884 COMO AVENUE                                                                                    ST PAUL           MN           55108
    MINNESOTA ASSOC OF
    ALTERNATIVE PROGS                                                      1232 SCHOOL STREET               ATTN DEANNA CHIODO                                                 ELK RIVER         MN           55330
    MINNESOTA ASSOCIATION OF
    CHARTER SCHS                                                           161 ST ANTHONY AVENUE STE 1000                                                                      ST PAUL           MN           55103

    MINNESOTA ATHLETIC APPAREL INC DBA M. A. APPAREL                       5600 FELTL ROAD                                                                                     MINNETONKA        MN           55343
    MINNESOTA CATHOLIC EDUCATION
    ASSOCIATION                                                            475 UNIVERSITY AVENUE WST                                                                           ST PAUL           MN           55103
    MINNESOTA CORRECTION                                                   1821 UNIVERSITY AVE WEST, STE
    ASSOCIATION                    ATTN ERIN COLLIGAN                      256                                                                                                 ST PAUL           MN           55104
    MINNESOTA CORRECTIONS EDUC
    ASSOC                                                                  1010 W 6TH AVE                   ATTN RANDY FELDSIEN                                                SHAKOPEE          MN           55379
    MINNESOTA COUNCIL FOR THE
    SOCIAL STUDIES                                                         6632 BLOOMINGTON AVE S                                                                              RICHFIELD         MN           55423
    MINNESOTA COUNCIL OF TEACHERS
    OF MATHS                                                               PO BOX 289                                                         JOANN LUHTALA                    WAYZATA           MN           55391
    MINNESOTA COUNCIL ON THE
    TEACHING OF                    LANGUAGES AND CULTURES                  965 ALEXANDER DR                                                                                    OWATONNA          MN           55060
    MINNESOTA COUNCIL ON THE
    TEACHING OF                    ATTN BARBARA JUDD                       965 ALEXANDER DR                                                                                    OWATONNA          MN           55060
    MINNESOTA DEPARTMENT OF
    EDUCATION                                                              1500 HIGHWAY 36 WEST                                                                                ROSEVILLE         MN           55113
    MINNESOTA DEPT OF COMMERCE     UNCLAIMED PROPERTY PROGRAM              85 7th PLACE EAST SUITE 500                                                                         ST PAUL           MN           55101
    Minnesota Dept of Revenue      Attn Bankruptcy Dept                    600 N Robert St                                                                                     St Paul           MN           55164
    MINNESOTA DEPT OF REVENUE                                              P O BOX 64649                                                                                       ST PAUL           MN           55164-0649
    MINNESOTA EDUCATORS OF GIFTED
    &                              TALENTED                                5807 WEST EIGHT STREET           ATTN MARY ANN ROTONDI                                              DULUTH            MN           55807

    MINNESOTA ELEMENTARY SCHOOL PRINCIPALS ASSN                            9301 THOMAS ROAD                                                                                    BLOOMINGTON       MN           55431

    MINNESOTA ELEMENTARY SCHOOL ATTN PAUL SCHULLO                          9301 THOMAS ROAD                                                                                    BLOOMINGTON       MN           55431
    MINNESOTA HISTORICAL SOCIETY                                           345 KELLOGG BLVD WEST                                                                               ST PAUL           MN           55102
    MINNESOTA MIDDLE SCHOOL
    ASSOCIATION                  ATTN PATRICK FOX                          16280 DULUTH AVE SE                                                MMSA CONFERENCE COMMITTE         PRIOR LAKE        MN           55372

    MINNESOTA READING ASSOCIATION                                          8350 141ST STREET WEST           ATTN SCOTT VOSS                                                    APPLE VALLEY      MN           55124
    MINNESOTA REVENUE                                                      COLLECTION DIV 600 N ROBERT ST                                                                      ST PAUL           MN           55146-6500
    MINNESOTA SCHOOL                        ATTN ANNIE HANSEN - UNIV OF
    PSYCHOLOGISTS ASSN                      MINNESOTA                      56 E RIVER ROAD                  250 EDUCATION SCIENCES BLDG                                        MINNEAPOLIS       MN           55455
    MINNESOTA SCIENCE TEACHERS                                                                              ATTN JOE REYMANN -
    ASSN                                                                   526 CHAPEL LANE                  REGISTRATION                                                       EAGAN             MN           55121
    MINNESOTA STATE COLLEGE &
    UNIVERSITIES                            ANOKA RAMSEY COMM COLLEGE      11200 MISSISSIPPI BLVD N W                                                                          COON RAPIDS       MN           55433
    MINNESOTA STATE UNIV
    MOOREHEAD                               BOOKSTORE                      1104-7 AVENUE SOUTH                                                                                 MOOREHEAD         MN           56563
    MINNESOTA TESOL                         ATTN MEGHAN BOYLE              1328 5TH STREET NORTHEAST                                                                           MINNEAPOLIS       MN           55413
    Minnetonka Public Schools                                              5621 County Road 101                                                                                Minnetonka        MN           55345-4214



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                  307 of 488                                                                                                            1:26 PM
                                                      12-12171-reg          Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                        of 519
                                                                                                                  First Class Service List


                 CreditorName                       CreditorNoticeName                 Address1                        Address2                         Address3                  City            State       Zip            Country
    MINOR WENDELL                           15 OLD NORTH ROAD             P.O. BOX 1135                                                                                   WASHINGTON         CT           06793
    MINOTAUR MAZE EXHIBITS                                                912 NW 63RD STREET                                                                              SEATTLE            WA           98107
    Mintz Levin Cohn
    MINTZ LEVIN COHN FERRIS
    GLOVSKY                                 AND POPEO PC                  ONE FINANCIAL CENTER                                                                            BOSTON             MA           02111
    MIRIAM (MIMI) SCHWARTZ                                                4 EVELYN PLACE                                                                                  PIRNCETON          NJ           08540
    MIRIAM ALTSHULER AGENCY                                               53 OLD POST ROAD NORTH                                                                          RED HOOK           NY           12571
    MIRIAM ALTSHULER LIT AGY                                              53 OLD POST ROAD NORTH                                                                          RED HOOK           NY           12571
    MIRIAM ALTSHULER LITERARY
    AGENCY                                                                53 OLD POST RD NORTH                                                                            RED HOOK           NY           12571
    MIRIAM BERKLEY                                                        353 WEST 51ST STREET #1A                                                                        NEW YORK           NY           10019
    MIRIAM C SAWYER                                                       104 COUNTRI LN                                                                                  CANTONMENT         FL           32533
    MIRIAM CRISTINA ALVAREZ                                               2977 OLD GLORY DR                                                                               YORKVILLE          IL           60560
    MIRIAM KASDAN                                                         1440 UNION ST, # 106                                                                            SAN FRANCISCO      CA           94109
    MIRIAM LEIVA                                                          9633 CALLIS CT                                                                                  HARRISBURG         NC           28075
    Miriam Palmerola                                                      30 HELEN STREET                                                                                 WALTHAM            MA           02154
    Miriam Williams                                                       36 Cottage Cove                                                                                 Plymouth           MA           02360
    MIRIC INDUSTRIES INCORPORATED                                         1516 UNION TURNPIKE                                                                             NORTH BERGEN       NJ           07047
    MIRO DESIGN INC                                                       5274 METEOR DR                                                                                  COLORADO SPRINGS   CO           80917
    Misael Celis                                                          317 Main Street                                                                                 Momtgomery         IL           60538
    MISCHA BERLINSKI                        C/O TOBY SAKS                 2412 40TH AVENUE EAST                                                                           SEATTLE            WA           98112
    MISE EN PLACE                                                         P O BOX 10124 APO                                                                               GRAND CAYMAN                    KY1-1002     Cayman Islands
    Misha Singh                                                           9321 Evening Primrose Path                                                                      Austin             TX           78750
    MISSION CRITICAL SYSTEMS INC                                          1347 EAST SAMPLE ROAD # 3                                                                       POMPANO BEACH      FL           33064-6278
    MISSION HELPERS OF THE SACRED
    HEART                                   ATTN SISTER MARIA LUZ ORTIZ   1001 WEST JOPPA ROAD                                                                            BALTIMORE          MD           21204
    Mission Public Schools                                                33046 Fourth Avenue                                                                             Mission            BC           V2V1S5       Canada
    Missions Door                                                         2530 Washington Street                                                                          Denver             CO           80205-3142
    Mississipi Tax Commission               Attn Bankruptcy Section       PO Box 22808                                                                                    Jackson            MS           39225-2808
    MISSISSIPPI ACTE                                                      PO BOX 85                                                                                       RAYMOND            MS           39154
    MISSISSIPPI AGRICULTURE &
    FORESTRY                                MUSEUM                        1150 LAKELAND DR                                                                                JACKSON            MS           39216
    MISSISSIPPI ALLIANCE FOR SCHOOL         MISSISSIPPI DEPARTMENT OF                                                                        OFFICE OF SAFE AND ORDERLY
    HEALTH                                  EDUCATION                     359 N WEST ST, P O BOX 771                                         SCHOOLS                      JACKSON            MS           39205
    MISSISSIPPI ASSN OF INDEPENDENT
    SCHOOLS                                                               176 COUNTRY PLACE PARKWAY                                                                       PEARL              MS           39208
    MISSISSIPPI ASSN OF SCHOOL
    ADMINISTRS                                                            P O BOX 326                                                                                     CLINTON            MS           39060
    MISSISSIPPI ASSO OF SCH
    SUPERINTENDENTS                                                       555 TOMBIGBEE STREET, STE 107                                                                   JACKSON            MS           39201
    MISSISSIPPI ASSOC OF FEDERAL ED
    PROG DIR                                ATTN WALTER GONSOULIN         401 GREENSBORO ST                                                                               STARKVILLE         MS           39759
    MISSISSIPPI ASSOCIATION FOR
    MIDDLE                                  LEVEL EDUCATION               PO BOX 3702                                                                                     JACKSON            MS           39207
    MISSISSIPPI COUNCIL FOR THE
    SOCIAL                                  STUDIES                       1209 WINWOOD DRIVE                                                                              TUPELO             MS           38801
    MISSISSIPPI COUNCIL FOR THE             ATTN JOYCE NEWELL MCSS
    SOCIAL                                  TREASURER                     1209 WINWOOD DRIVE                                                                              TUPELO             MS           38801

    MISSISSIPPI COUNCIL OF TEACHERS OF ENGLISH                            1400 LYNCH ST, P O BOX 17600                                                                    JACKSON            MS           39217

    MISSISSIPPI COUNCIL OF TEACHERS ATTN JEAN D CHAMBERLAIN               1400 LYNCH ST, P O BOX 17600                                                                    JACKSON            MS           39217
    MISSISSIPPI COUNCIL OF TEACHERS
    OF MATHS                                                              65 SALLIE ROAD                                                                                  WIGGINS            MS           39577
    Mississippi Department of Revenue Bankruptcy Section                  PO Box 22808                                                                                    Jackson            MS           39225-2808
    MISSISSIPPI DEPT OF EDUCATION                                         359 NORTH WEST STREET                                                                           JACKSON            MS           39201
    MISSISSIPPI EDUCATIONAL
    COMPUTER ASSN                                                         10179 HWY 80                                                                                    MORTON             MS           39117
    MISSISSIPPI OFFICE OF REVENUE                                         PO BOX 23075                                                                                    JACKSON            MS           39225

    MISSISSIPPI PETRIFIED FOREST INC                                      124 FOREST PARK, DR/ P O BOX 37                                                                 FLORA              MS           39071-0037
    MISSISSIPPI PUBLISHERS
    ASSOCIATION                      ATTN ANTOINETTE RAGGIO               P O BOX 1059                                                                                    JACKSON            MS           39209

    MISSISSIPPI READING ASSOCIATION                                       104 EAST FRANKLIN STREET          ATTN SUZANNE HAWLEY                                           QUITMAN            MS           39355
    MISSISSIPPI SCIENCE TEACHERS
    ASSN                            C/O LAMAR SCHOOL                      544 LINDLEY ROAD                                                                                MERIDIAN           MS           39305
    Mississippi Secretary of State                                        PO Box 136                                                                                      Jackson            MS           39205-0136
    MISSISSIPPI STATE TAX
    COMMISSION                      CORPORATE TAX DIVISION                P.O. BOX 1033                                                                                   JACKSON            MS           39215



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                 308 of 488                                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                            of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                        Address2                         Address3                   City        State       Zip      Country

    MISSISSIPPI SUMMER CONFERENCE PAT CAMPBELL                             PO BOX 12189                                                                                   TALLAHASSEE         FL           32317

    MISSISSIPPI SUMMER CONFERENCE           EXHIBITS MANAGER - MSC         PO BOX 12189                                                                                   TALLAHASSEE         FL           32317
    MISSOULA COUNTY PUBLIC                  MISSOULA AREA CURRICULUM
    SCHOOLS                                 CONSORTIUM                     6990 LINDA VISTA BLVD                                                                          MISSOULA            MT           59803
    MISSOURI ASSN FOR ADULT
    COMMUNITY                               AND CONTINUING EDUCATION       1211 N 18TH STREET                ATTN AMY WHITTAKER                                           ST JOSEPH           MO           64501
    MISSOURI ASSN FOR CAREER &
    TECHNICAL                               EDUCATION                      P O BOX 1955                      ATTN DONNA                                                   JEFFERSON CITY      MO           65102
    MISSOURI ASSN OF READING
    RECOVERY                                EDUCATORS                      P O BOX 1367                                                                                   MT PLEASANT         SC           29465
    MISSOURI ASSN OF READING
    RECOVERY                                ATTN HOLLY BARTHOLOMEW         P O BOX 1367                                                                                   MT PLEASANT         SC           29465
    MISSOURI ASSOC OF SECONDARY
    SCHOOL                                  PRINCIPALS                     2409 WEST ASH STREET                                                                           COLUMBIA            MO           65203
    MISSOURI ASSOCIATION OF                 SCHOOL ADMINISTRATORS          3550 AMAZONAS DR                                                                               JEFFERSON CITY      MO           65109
    MISSOURI ASSOCIATION OF
    ELEMENTARY                              SCHOOL PRINCIPALS              3550 AMAZONAS DRIVE                                                                            JEFFERSON CITY      MO           65109
    MISSOURI COUNCIL FOR                    TRACY COBDEN                   5709 RIDGEWAY AVE                                                                              KANSAS CITY         MO           64133
    MISSOURI COUNCIL FOR                    THE SOCIAL STUDIES             5709 RIDGEWAY AVE                                                                              KANSAS CITY         MO           64133
    MISSOURI COUNCIL FOR HISTORY
    EDUCATION                                                              415 WESTRICK PLACE                                                                             ST LOUIS            MO           63122
    MISSOURI COUNCIL OF                                                                                                                          LINDA GIGER CONFERENCE
    ADMINISTRATORS OF                       SPECIAL EDUCATION              1028 SOUTH BISHOP PMB 306                                             PLANNER MO-CASE          ROLLA               MO           65401
    MISSOURI COUNCIL OF TEACHERS
    OF MATHS                                ATTN BART A MITCHELL           3652 HIGHWAY O                                                                                 FARMINGTON          MO           63640
    Missouri Department of Revenue          Taxation Bureau                P.O. Box 840                                                                                   Jefferson City      MO           65105-0840
    Missouri Department of Revenue                                         PO Box 3365                                                                                    Jefferson City      MO           65105-3365
                                            DIVISION OF TAXATION AND
    MISSOURI DEPT OF REVENUE                COLLECTION                     P O BOX 840                                                                                    JEFFERSON CITY      MO           65105-0840
    Missouri Dept of Revenue                Attn Bankruptcy Unit           301 W High St                     Rm 670                                                       Jefferson City      MO           65105
    MISSOURI DEPT OF REVENUE                                               PO BOX 3365                                                                                    JEFFERSON CITY      MO           65105
    MISSOURI DEPT OF REVENUE                                               P O BOX 840                                                                                    JEFFERSON CITY      MO           65105-0840
    MISSOURI DIRECTOR OF REVENUE                                           PO BOX 3020                                                                                    JEFFERSON CITY      MO           65105-3020
    MISSOURI MIDDLE SCHOOL
    ASSOCIATION                                                            8150 N CONGRESS AVENUE            ATTN TIMOTHY TODD                                            KANSAS CITY         MO           64152
    MISSOURI SCHOOL COUNCELOR
    ASSOCIATION                                                            3340 AMERICAN AVENUE STE F                                                                     JEFFERSON CITY      MO           65109
    MISSOURI STAFF DEVELOPMENT              C/O CUSTOM MEETING PLANNERS
    COUNCIL                                 INC                            P O BOX 30785                                                                                  COLUMBIA            MO           65205
                                            2008 MSC/IRA CONFERENCE                                                                              ZENDA FOLTA EXHIBIT
    MISSOURI STATE COUNCIL                  COMMITTEE                      131 LINCOLN DRIVE                                                     CHAIRPERSON              HAWK POINT          MO           63349
    MISSOURI STATE TREASURER                                               P.O. BOX 480                                                                                   JEFFERSON CITY      MO           65102
    MISSOURI STATE UNIVERSITY                                              901 S NATIONAL AVENUE                                                                          SPRINGFIELD         MO           65897
    MISTER ICE OF INDIANAPOLIS                                             7954 EAST 88TH STREET                                                                          INDIANAPOLIS        IN           46256-1236
    Misty Carr                                                             3455 Harlequin Drive                                                                           St Cloud            FL           34772
    MITCH MURCHS MAINTENANCE
    MANAGMNT CO                                                            PO BOX 798129                                                                                  ST LOUIS            MO           63179
    MITCHEL OSBORNE                                                        321 CHERRY ST                                                                                  PORT TOWNSEND       WA           98368
    Mitchell Bonine                                                        4051 Scarborough Way                                                                           Jefferson City      MO           65109
    MITCHELL VIRGINIA                                                      4511 DAVENPORT STREET, N.W.                                                                    WASHINGTON          DC           20016
    MITEL BUSINESS SYSTEMS INC              ATTN ACCOUNTS RECEIVABLE       P O BOX 52688                                                                                  PHOENIX             AZ           85072-2688
    MITZIE ANDREA KELLY LANGSTON                                           5454 FLETCHER ST                                                                               HOLLYWOOD           FL           33021
    MIYARES INES                                                           31-58 35TH STREET #2R                                                                          ASTORIA             NY           11106
                                                                           PASEO LOS ROBLES 1909 JOSE
    MJR PROFESSIONAL DEVELOPMENT CONSULTANTS                               SABATER ST                                                                                     MAYAGUEZ            PR           00682-7909
    MK DOMAN CONSULTING                                                    315 SOUTH 22ND STREET                                                                          PHILADELPHIA        PA           19130
    ML MACKIN LLC                ATTN MARY LOU MACKIN                      1 WHITTIER STREET                                                                              AMESBURY            MA           01913
    MLB ADVANCED MEDIA LP                                                  75 NINTH AVE 5TH FLOOR                                                                         NEW YORK            NY           10011

    MLES INC                                DBA STEMMER HOUSE PUBLISHERS   PO BOX 89                                                             4 WHITE BROOK ROAD       GILSUM              NH           03448
    MMAC LLC                                DBA SOUNDPRINTS                353 MAIN AVENUE                                                                                NORWALK             CT           06851
    MN CARPENTER SERVICES LLC               MARY NEAL CARPENTER            14423 SHEBA ROAD                                                                               ORLANDO             FL           32832
    MN Secretary of State                   Business Services              Retirement Systems of MN Bldg.    Suite 100                                                    Saint Paul          MN           55103
    MOBERLY AREA COMM COLLEGE
    BKSTRE                                                                 ROLLINS & COLLEGE STS                                                                          MOBERLY             MO           65270
    MOBILE LIBRIS INC                                                      146 WEST 29TH ST STE 7R3                                                                       NEW YORK            NY           10001
    MODEL CLUB INC                                                         329 COLUMBUS AVE                                                                               BOSTON              MA           02116-5157




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                     309 of 488                                                                                              1:26 PM
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                                                                                                           Pg Creditor
                                                                                                               317 Matrix
                                                                                                                       of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName              Address1                           Address2                            Address3                         City            State       Zip            Country

    MODERN CURRICULUM PRESS, INC.                                          PO BOX 403339                                                                                            ATLANTA              GA           30384

    MODERN LANGUAGE ASSOCIATION                                            26 BROADWAY 3RD FLOOR                                                                                    NEW YORK             NY           10004-1789
    MODERN LANGUAGE LANGUAGE                C/O ARLINE AMOROSO             66 LETITIA LANE                                                                                          MEDIA                PA           19063
    MODESTO JUNIOR COLLEGE                  ATTN GARRY HAYES, GEOLOGY      435 COLLEGE AVE                                                                                          MODESTO              CA           95350
    MOHAMED MAHMOUD SALEH                   EMIGRATION STREET              AL DHAHIRI BLDG 2ND FL # 203                                                                             SHARJAH                                        United Arab Emirates
    MOHAMMAD HASAN RAHIL                                                   BLOCK 12                                                                                                 SALMIYA                                        Kuwait
    MOHAMMAD S UDDIN                        DBA KWICK FURNITURE SERVICE    P O BOX 149493                                                                                           ORLANDO              FL           32814-9493
    MOHD M RAHMAN                                                          8808 SHEPHERD DR                                                                                         PLANO                TX           75025
    Mohican Middle School                                                  4050 Tunica Street                                                                                       Baton Rouge          LA           70805
    MOI INC                                                                P O BOX 79858                                                                                            BALTIMORE            MD           21279
    MOIRA ANDREW                                                           76 TIMOTHY REES CLOSE                                                                                    LLANDAFF CARDIFF                  CF5 2AU      United Kingdom
    MOLLIE MALMIN                                                          508 E KNOB HILL DRIVE                                                                                    ARLINGTON HEIGHTS    IL           60004
    MOLLOY COLLEGE                          ATTN MEREDITH VAN SCHUYLER     1 COMMONWEALTH AVE                                                                                       MASSAPEQUA           NY           11758
    MOLLY B FORSTER                                                        610 TANTARA CT                                                                                           NORTH LIBERTY        IA           52317-8400
    MOLLY BANG                                                             43 DRUMLIN ROAD                                                                                          FALMOUTH             MA           02540
    MOLLY DUNN                                                             24 CENTRAL AVE                                                                                           DANVERS              MA           01923
    MOLLY ECKLER                                                           7528 GATES DRIVE                                                                                         SEBASTOPOL           CA           95472
    MOLLY GLOSS                                                            9703 NW SILVER RIDGE LOOP                                                                                PORTLAND             OR           97229
    Molly Goodman                                                          213 E. Huisache                                                                                          San Antonio          TX           78212
    MOLLY KATHERINE MCBEATH                                                1736 BERKELEY AVENUE                                                                                     ST PAUL              MN           55105
    Molly Montgomery                                                       304 Allston St.                 Apt. 1                                                                   CAMBRIDGE            MA           02139
    Molly Reynolds                                                         1550 Platte Street #273                                                                                  Denver               CO           80202
    Molly S OConnor                                                        4332.5 N Hermitage              Apt 3W                                                                   Chicago              IL           60613
    Molly Seerey                                                           3 Fairhaven Court                                                                                        Severna Park         MD           21146
    MOLLY SULLIVAN                                                         3761 E STRATFORD RD                                                                                      VA BEACH             VA           23455
    Molly Zebrowski                                                        9830 Fortune Ridge                                                                                       Converse             TX           78109
    MOLLYE M KISS                                                          2712 NE SEWALLS LANDING WAY                                                                              JENSEN BEACH         FL           34957
    MOMATIUK-EASTCOTT                                                      151 EAGLES NEST ROAD                                                                                     HURLEY               NY           12443
    MOMMY NIRI LLC                                                         1801 LORDS CT                                                                                            WILMINGTON           MA           01887
    MONA ELECTRIC GROUP INC                                                P O BOX 79280                                                                                            BALTIMORE            MD           21279-0280
    Mona F Roussel                                                         125 Oakmont Dr.                                                                                          LaPlace              LA           70068
    Mona Yoast                                                             5555 E. Briarwood Ave           #1905                                                                    Centennial           CO           80122
    MONDLOCH BARBARA                                                       4216 PALISADES PLACE WEST                                                                                UNIVERSITY PLACE     WA           98466
    MONDO PUBLISHING                        ATTN SUSAN EDDY                980 AVENUE OF THE AMERICAS                                                                               NEW YORK             NY           10018
    Mondo Vino                                                             3601 W. 32nd Avenue                                                                                      Denver               CO           80211
    MONEY STORE LP                          DBA THE MONEY BOX              1114 LOST CREEK BLVD, STE 310                                                                            AUSTIN               TX           78746
    Monica A Crigler                                                       27 Guinea Road                                                                                           Stratham             NH           03885
    MONICA B NUNEZ DE CALVO                                                137 MALDEN STREET                                                                                        MALDEN               MA           02148
    Monica Bartels                                                         Po Box 1055                                                                                              Laurie               MO           65038
    MONICA BASOA LA PALMA                                                  151 JASMINE ROAD                                                                                         SANTA ROSA           NM           88435
    MONICA E CARDELLA                                                      3715 TESLA DR                                                                                            WEST LAFAYETTE       IN           47906
    MONICA EDINGER                                                         600 WEST 111TH ST, APT 2A                                                                                NEW YORK             NY           10025
    MONICA FUHRKEN DE VELASCO                                              REIMS #140 COL VILLA VERDUM                                                                              DEL ALVARO OBREGON   DF           01810        Mexico
    MONICA HUGHES                                                          12 INSTOW ROAD                                                                                           EARLEY READING                    RG6 5QJ      United Kingdom
    MONICA KULLING                                                         79 GLADSTONE AVENUE                                                                                      TORONTO              ON           M6J 3K7      Canada
    Monica L Stewart                                                       12038 Windermere Crossing Cir                                                                            Winter Garden        FL           34787
    Monica L Uphoff                                                        3203 Juneau Dr.                                                                                          Corinth              TX           76210
    MONICA M MEDINA QUINTANA                                               P O BOX 411                                                                                              CASTANER             PR           00631
    MONICA MARIA MATOS PEREZ                URB VILLAS DE SAN AGUSTIN      CALLE 10 O-52                                                                                            BAYAMON              PR           00959
    MONICA PATRICIA COTO                                                   1804 POST OAK LANE                                                                                       CARROLLTON           TX           75007
    Monica Perez                                                           225 West St                                                                                              Needham              MA           02494
    MONICA ROBINSON                         DBA REDLAB CONSULTING          280 LONGMONT LANE                                                                                        AUSTIN               TX           78737
    MONICA RODRIGUEZ                                                       CONJUNTO PARQUES DEL CAMPO                                          CII 143 A # 128 C 94 INT 1 APT 302   BOGOTA                                         Colombia
    Monica S. Martinez                                                     862 Stewart Ave                                                                                          Elgin                IL           60120
    MONICA SONE                                                            1761 OBERLIN COURT NW                                                                                    CANTON               OH           44703
    MONICA WASHINGTON                                                      1525 FREEMAN WAY                                                                                         SPARKS               NV           89436
    Monica Y Rivera                                                        2401 Rodeo Drive                                                                                         Austin               TX           78727
    MONIKA BANG CAMPBELL                                                   43 DRUMLIN ROAD                                                                                          FALMOUTH             MA           02540
    MONIKA EMERAN                                                          1B-26 SOLBERG                                                                                            ST THOMAS            VI           00802
    MONIKA SPINDEL                                                         7703 PLEASANT MEADOW CIRCLE                                                                              AUSTIN               TX           78731
    Monique Domian                                                         8801 Redfield Lane                                                                                       Austin               TX           78758
    Monique Groves                                                         631 Saddle Ridge Dr                                                                                      Davenport            FL           33896
    Monique L Nelson                                                       10627 Regis Ct                                                                                           Indianapolis         IN           46239
    Monique M Chapman                                                      2600 Scofield Ridge Parkway     Apt. 618                                                                 Austin               TX           78727
    MONKEY PUNKS UNLIMITED LLC                                             236 WEST 26TH ST #801           DBA REGAL LITERARY INC                                                   NEW YORK             NY           10001
    MONKEY SAYS                             SUSAN RING                     126 ARDMORE AVE                                                                                          PROVIDENCE           RI           02908
    MONNARD RICHARD                                                        62068 E NORTHWOOD                                                                                        TUCSON               AZ           85739




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                   310 of 488                                                                                                                  1:26 PM
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                                                                                                                 Pg Creditor
                                                                                                                     318 Matrix
                                                                                                                             of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                            Address2                          Address3                 City           State       Zip           Country

    MONOTYPE COMPOSITION CO                                                3600 CLIPPER MILL ROAD SUITE 310                                                               BALTIMORE               MD           21211

    MONOTYPE IMAGING INC                    DBA ASCENDER CORP, BITSTREAM   500 UNICORN PARK DRIVE STE 200                                                                 WOBURN                  MA           01801
    Monroe #1 BOCES                         Mary Balme                     15 Linden Park                                                                                 ROCHESTER               NY           14625
    MONROE 2 - ORLEANS BOCES                                               3599 BIG RIDGE ROAD                                                                            SPENCERPORT             NY           14559
    MONROE COMMUNITY COLLEGE                                               1000 E HENRIETTA RD                                                                            ROCHESTER               NY           14623
    MONROE P S                                                             1275 N MACOMB STREET                                                                           MONROE                  MI           48162

    MONROE SCHOOL DISTRICT SAU 77                                          77 WOODSVILLE RD                                                                               MONROE                  NH           03771

    MONSIGNOR SCANLAN HS 304                                               915 HUTCHINSON RIVER PARKWAY                                                                   BRONX                   NY           10465
    MONSTER WORLDWIDE                                                      PO BOX 90364                                                                                   CHICAGO                 IL           60696-0364
    Monster.Com                                                            File 70104                                                                                     Los Angeles             CA           90074-0104

    MONTA P SMITH                                                          801 2ND STREET NORTH STE 7         FAMILY PSYCHOLOGY ASSOCIATES                                SAFETY HARBOR           FL           34695
    MONTAGE DIVERSITY
    CONSULTANTS LLC                                                        1510 CECIL B MMORE AVE STE 301                                                                 PHILADELPHIA            PA           19121
    MONTANA ASSOCIATION OF
    SUPERVISION                             AND CURRICULUM DEVELOPMENT     6990 LINDA VISTA BLVD              ATTN CHRISTINE KUSCHEL                                      MISSOULA                MT           59803
    Montana Department of Revenue                                          PO Box 8021                                                                                    Helena                  MT           59604-8021
    Montana Dept of Revenue                 Attn Legal Services            PO Box 5805                                                                                    Helena                  MT           59604
    MONTANA DEPT OF REVENUE                                                PO BOX 6309                                                                                    HELENA                  MT           59604-6309
    Montana Public Radio                    Broadcast Media Center         The University of Montana                                                                      Missoula                MT           59812
    MONTANA STATE UNIVERSITY                CONFERENCE SERVICES            P O BOX 1158                       ATTN JOANIE SLAYBAUGH                                       BOZEMAN                 MT           59715
    MONTANA STATE UNIVERSITY                MARY SANKS MEMORIAL
    FOUNDATION                              SCHOLARSHIP                    1501 SOUTH 11TH AVENUE                                                                         BOZEMAN                 MT           59717
    MONTAUK HIGHWAY INC                     DBA BARBARA J ZITWER AGENCY    525 WEST END AVENUE                ATTN BARBARA J ZITWER               SUITE 11 H              NEW YORK                NY           10024
    MONTCLAIRE STATE UNIVERSITY
    FOUND INC                                                              ONE NORMAL AVE                                                                                 UPPER MONTCLAIRE        NJ           07043
    MONTE AVILA EDITORES                    AVENIDA PRINCIPAL DE LA
    LATINOAMERICANA CA                      CASTELLANA                     W/ FIRST CROSS 5th CRISTINA                                                                    LA CASTELLANA CARACAS                01070        Venezuela
    MONTEREY BAY AQUARIUM
    RESEARCH                                INSTITUTE                      7700 SANDHOLDT ROAD                                                                            MOSS LANDING            CA           95039-9644
    MONTEREY BAY AQUARIUM
    RESEARCH                                ATTN ACCOUNTS RECEIVABLE       7700 SANDHOLDT ROAD                                                                            MOSS LANDING            CA           95039-9644

    MONTESSORI SCH OF EVERGREEN                                            P O BOX 2468                                                                                   EVERGREEN               CO           80437
    Montessori Schools                                                     8622 West Catalpa                                                                              Chicago                 IL           60656
    Montezuma-Cortez RE-1 Schools                                          PO Drawer R                        121 East First Street                                       Cortez                  CO           81321-0708
    Montgomery Co. Mega Conf. 2005          Alabama DOE                    Federal Programs                   50 North Ripley Street                                      Montgomery              AL           36130
    MONTGOMERY COL BOOKSTORE                NORTH CAMPUS DRIVE             41 MANNAKEE STREET                                                                             ROCKVILLE               MD           20850
    MONTGOMERY COUNTY BOARD OF
    EDUCATION                                                              PO BOX 302101                                                                                  MONTGOMERY              AL           36130
    MONTGOMERY COUNTY
    INTERMEDIATE UNIT                       ATTN DEBRA JORDAN - PATTAN     200 ANDERSON ROAD                                                                              KING OF PRUSSIA         PA           19406
    MONTGOMERY COUNTY SCHOOL
    BOARD                                                                  200 JUNKIN STREET                                                                              CHRISTIANSBURG          VA           24073
    MONTGOMERY EDUCATIONAL
    PUBLISHING                              CONSULTING LLC                 8 COLD SPRING ROAD                                                                             DURHAM                  NH           03824
    Montgomery Middle School                                               1900 Edgewood Avenue                                                                           Coquitlam               BC           V3K2Y1       Canada
                                            ATTN HUBERT STALEY - ALABAMA
    MONTGOMERY PUBLIC SCHOOLS               DOE                            PO BOX 302101                                                                                  MONTGOMERY              AL           36130-2101
    MONTOYA PERRY                                                          4312 EAST FLOWER STREET                                                                        PHOENIX                 AZ           85018
    MONTPELIER FOUNDATION                                                  P O BOX 67                                                                                     MONTPELIER              VA           22957
    MONTY E SWIRYN CUESTA
    TECHNOLOGIES LLC                        DBA CUESTA TECHNOLOGIES        20 AVENUE PORTOLA # 685                                                                        EL GRANADA              CA           94018
    MONTY SLOAN                             DBA WOLFPHOTOGRAPHY.COM        7907 HARRISON RD                                                                               BATTLE GROUND           IN           47920
    MONUMENTAL LIFE INSURANCE
    COMPANY                                                                2 EAST CHASE STREET                                                                            BALTIMORE               MD           21202
    MOODYS INVESTORS SERVICE                                               P O BOX 102597                                                                                 ATLANTA                 GA           30368-2597
    MOONFOTO LLC                            BENJAMIN R MOON                3011 SE BROOKLYN STREET                                                                        PORTLAND                OR           97202
    MOONLIGHT PUBLISHING LLC                ATTN AMY RINEHART              2528 LEXINGTON STREET                                                                          LAFAYETTE               CO           80026
    MOORE CATHOLIC HS 306                                                  100 MERRILL AVENUE                                                                             STATEN ISLAND           NY           10314
    MOORE GEORGE N                                                         249 HOLLIS STREET                                                                              HOLLISTON               MA           01746
    MOORE GEORGE N                                                         93 BRISTOL ROAD                                                                                WELLESLEY               MA           02481
    MOORE JOYCE                                                            2830 SHORE DRIVE UNIT 604                                                                      VIRGINIA BEACH          VA           23451
    MOORE LANGEN PRINTING                                                  PO BOX 845317                                                                                  BOSTON                  MA           02284
    MOORE LANGEN PRINTING CO INC            ATTN A/R DEPT                  15 WELLMAN AVENUE                                                                              CHELMSFORD              MA           01863




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                       311 of 488                                                                                                     1:26 PM
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                                                                                                              Pg Creditor
                                                                                                                  319 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                        Address2              Address3              City         State       Zip            Country
    MOORE WALLACE NORTH AMERCA
    INC                                                                    PO BOX 905046                                                                  CHARLOTTE          NC           28290
    Moore, Grover
    MOOREPARK COLLEGE BKSTORE                                              7075 CAMPUS RD                                                                 MOOREPARK          CA           93021
    MOORESVILLE GRADE SD                                                   305 N MAIN STREET                                                              MOORESVILLE        NC           28115
    MOOSELUCK ASSOCIATES INC                DARHANSOFF VERRILL FELDMAN     236 WEST 26TH STREET STE 802      ATTN LIZ DARHANSOFF                          NEW YORK           NY           10001
    MOOSELUCK ASSOCIATES INC                                               236 W 26TH ST STE 802             DARHANSOFF VERRILL                           NEW YORK           NY           10001
    MORA FRANCISCO X                                                       202 WEST MOUNT ROYAL ROAD                                                      GLENDALE           WI           53217
    MORA PAT                                                               1817 CALLE DE SEBASTIAN                                                        SANTA FE           NM           87505
    MORAN JOAN                                                             649 OAKRIDGE DRIVE                                                             WEST IRONDEQUIOT   NY           14617
    MORAVIAN COLLGE BOOKSTORE                                              MONOCACY & LAUREL STS                                                          BETHLEHEM          PA           18018

    MORDT TRACTOR & EQUIPMENT CO                                           131 HIGHWAY H                                                                  TROY               MO           63379
    MORE THAN BASKETBALL                                                   P O BOX 420822                                                                 KISSIMMEE          FL           34742
    MOREHEAD STATE UNIVERSITY                                              100 UNIVERSITY BLVD                                                            MOREHEAD           KY           40351
    MOREHOUSE                    SALES AND USE TAX COMMISSION              PO BOX 672                                                                     BASTROP            LA           71221

    MORGAN CONSULTING GROUP LLC                                            170 S GRANT STREET                                                             DENVER             CO           80209
    MORGAN GAYNIN INC                       C/O GAIL GAYNIN                194 THIRD AVENUE                                                               NEW YORK           NY           10003
    MORGAN GAYNIN INC                                                      194 THIRD AVE                     C/O GAIL GAYNIN                              NEW YORK           NY           10003
    MORGAN GAYNIN INC                                                      194 THIRD AVENUE                                                               NEW YORK           NY           10003
    Morgan Gould                                                           151 Charlesbank Road              #1                                           Newton             MA           02458
    MORGAN HILL UNIFIED ISD                 ACCOUNTS PAYABLE               15600 CONCORD CIRCLE                                                           MORGAN HILL        CA           95037
    Morgan Kuehlewind                                                      1202 S Parramore Ave                                                           Orlando            FL           32805
    MORGAN LEWIS & BOCKIUS LLP                                             P O BOX 79356                                                                  CITY OF INDUSTRY   CA           91716-9356
    MORGAN RYAN                                                            209 ADAMS WAY                                                                  CHAPEL HILL        NC           27516
    MORGAN STANLEY
    Morgan Stanley Private Wealth
    Management                              William W. Sahlman             522 Fifth Avenue                                                               New York           NY           10036
    Morgan Stanley Senior Funding, Inc.
    Morice D Harney                                                        4054 Barnor Dr                                                                 Indianapolis       IN           46226
    MORISON MEMORIAL SCHOOL                                                386 AIN STREET                                                                 CORINTH            ME           04427
    MORREAU LINDA                                                          315 CLOVER COURT                                                               BLOOMINGTON        IL           61704
    MORRIS ANN                                                             375 WEST END AVE - APT 12-A                                                    NEW YORK           NY           10024
    Morris Bradshaw                                                        6745 Lisa Lane                                                                 Dunwoody           GA           30338
    MORRIS GERALD                                                          1414 STARK STREET                                                              WAUSAU             WI           54403
    MORRIS MUSEUM OF ART                                                   1 TENTH STREET                                                                 AUGUSTA            GA           30901

    MORRISON & HEAD LP                                                     4210 SPICEWOOD SPRINGS RD # 211                                                AUSTIN             TX           78759
    MORRISON GORDON                                                        29 N FITZWILLIAM RD                                                            ROYALSTON          MA           01368

    MORRISON TAYLOR                                                        37820 SOUTHWEST GODDARD ROAD                                                   CORNELIUS          OR           97113
    MORRISON TONI                                                          224 RIVER ROAD                                                                 NYACK              NY           10960
    MORROW LESLEY MANDEL                                                   15 HERITAGE LN                                                                 SCOTCH PLAINS      NJ           07076
    MORROW LORNA                                                           38 AURORA HEIGHTS DR                                                           AURORA             ON           L4G 2W7      Canada
    MORTENSEN DENISE DOWLING                                               5 PENN TERRACE                                                                 CHATHAM            NJ           07928
    MORTENSEN LORI A                                                       3204 SALIDA WAY                                                                CAMERON PARK       CA           95682
    MORTON BEEBE                                                           150 LOMBARD ST, APT 808                                                        SAN FRANCISCO      CA           94111-1135
    Morton Cohen                                                           9 Milton Ct.                                                                   Cary               IL           60013
    MORTON JOHN                                                            7309 WAST CALLE ALBA SERENA                                                    TUCSON             AZ           85750
    Mosaic Massage                          Ayana Williams                 5650 Greenwood Plaza Blvd.   Suite 223                                         Englewood          CO           80111
    MOSAIKA ART & DESIGN                                                   4095 ST-URBAIN STREET                                                          MONTREAL           QC           H2W 1V4      Canada
    MOSER JAMES M                                                          4118 CHIPPEWA DR                                                               MADISON            WI           53711
    MOSHOLU MONTEFIORE                                                     3450 DEKALB AVENUE                                                             BRONX              NY           10467
    MOSIER COMMUNITY SCHOOL                 MOSIER ELEMENTARY              1204 FIRST AVENUE                                                              MOSIER             OR           97031
    MOSS MARISSA                                                           965 CRESTON ROAD                                                               BERKELEY           CA           94708
    MOST HOLY REDEEMER PARISH                                              9635 SOUTH MILLARD AVENUE                                                      EVERGREEN PARK     IL           60805
    MOSTRE DESIGN INC                                                      5940 DARWIN CT                                                                 CARLSBAD           CA           92008
                                            DBA ROSEWOOD MANSION ON
    MOTC LP                                 TURTLE CREEK                   2821 TURTLE CREEK BLVD                                                         DALLAS             TX           75219
    MOTION INDUSTRIES                                                      PO BOX 98412                                                                   CHICAGO            IL           60693-8412
    MOTT GRAPHICS INC                                                      2310 GIDDENS DR                                                                CEDAR PARK         TX           78613
    MOULINSART SA                                                          AVENUE LOUISE 162                                                              RPM BRUXELLES                                Belgium
    Moulton, John Henry

    MOUNT OLIVE TOWNSHIP SCHOOLS                                           160 WOLFE ROAD                    ATTN CAFETERIA ACCOUNT                       BUDD LAKE          NJ           07828
    MOUNT ST SCHOLASTICA                                                   801 SOUTH 8TH                     CONVENT                                      ATCHISON           KS           66002
    MOUNTAIN GORILLA VETERINARY
    PROJECT                                                                1876 MANSION HOUSE DRIVE                                                       BALTIMORE          MD           21217




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   312 of 488                                                                                     1:26 PM
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                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                         Address2                            Address3                              City        State       Zip            Country
    MOUNTAIN PLAINS ADULT EDUC
    ASSOC                                                                  P O BOX 16021                     ATTN AALL                                                               PHOENIX               AZ           85011
    MOUNTAIN SOLUTIONS INC                  DBA MSI TRANSPORTATION INC     8947C COMPLEX DRIVE                                                                                       SAN DIEGO             CA           92123
    MOUNTAIN STATE SCHBOOK
    DEPOSITORY
    Mountain States Employers Coun                                         1799 Pennsylvania Street          PO Box 539                                                              Denver                CO           80201-0539
    MOUNTAINS & PLAINS
    INDEPENDENT                             BOOKSELLERS ASSOCIATION        908 AKIN AVENUE                                                                                           FORT COLLINS          CO           80521
    MOURANT DU FEU & JEUNE                                                 P O BOX 87 22 GRENVILLE ST                                                                                ST HELIER JERSEY                   JE4 8PX      Jersey
    MOVEMEN GMBH                                                           LITZELRIED 2                                                                                              ALTHEIM                            88 499       Germany
    MOWAT FARLEY                                                           18 KING STREET                                                                                            PORT HOPE             ON           L1A 2R4      Canada
    MOXIE SOFTWARE CIM
    CORPORATION                                                            P O BOX 49200                                                                                             SAN JOSE              CA           95161-9200
                                                                           7517 NORTH 40TH STREET APT G
    MOZELLE SHIRLEY                                                        214                                                                                                       TAMPA                 FL           33604
                                            LITERARY ARTISTS
    MPI GROUP LTD                           REPRESENTATIVES                575 WEST END AVENUE STE GRC                                                                               NEW YORK              NY           10024
    MPS                                                                    PO BOX 930668                                                                                             ATLANTA               GA           31193-0668
    MPS ELECTRIC INC                                                       2763 N BUTLER ST                                                                                          ORANGE                CA           92865
    MPS LIMITED                             MPS NORTH AMERICA              234 CABOT STREET                                                                                          BEVERLY               MA           01915

    MPS LIMITED                             DBA MPS NORTH AMERICA          1466 NW NAITO PARKWAY, STE 200                                                                            PORTLAND              OR           97209
    MPS LIMITED                                                            234 CABOT STREET                                                                                          BEVERLY               MA           01915
    M-RAY HEATING & COOLING LLC                                            11844 CLAIR PLACE                                                                                         CLERMONT              FL           34711
    MRS CARLTON COLE                                                       WALDORF TOWERS                                                                                            NEW YORK              NY           10022
    MRS ROBERT S FITZGERALD                                                15 GILES ST                                                                                               HAMDEN                CT           06517
    MS INSPECTION & LOGISTICS INC                                          P O BOX 660412                                                                                            INDIANAPOLIS          IN           46266-0412
    Ms Marvin                                                              6509 67TH COURT EAST                                                                                      BRADENTON             FL           34203
    MSAD #50 District Office                Accounts Payable               12 Starr Street                                                                                           Thomaston             ME           04861
    MSD Cap, L.P.
    MSD CAPITAL
    MSD of Decatur Township                                                5275 Kentucky Avenue                                                                                      Indianapolis          IN           46221
    MSD of Washington Township              Accounts Payable               8550 Woodfield Crossing Blvd.                                                                             Indianapolis          IN           46240
    MSI - MECHANICAL SERVICES INC           DBA EMCOR SERVICES             9820 SATELLITE BLVD                                                                                       ORLANDO               FL           32837
    MSI PACKAGING INC                                                      352 N ENTERPRISE BLVD                                                                                     LEBANON               IN           46052
    MSR QUALITY MNGMNT SERVICES
    LLC                                     DBA MSR LABORATORIES LLC       ONE NEW BOSTON DRIVE STE # 1                                                                              CANTON                MA           02021
    MSYS INC                                                               140 IOWA LANE, STE 201                                                                                    CARY                  NC           27511
    MT BLUE REGIONAL SCHOOL DIST                                           115 LEARNING LANE                                                                                         FARMINGTON            ME           04938

    MT CARMEL ELEMENTARY SCHOOL                                            2450 MT CARMEL RD                                                                                         HAMPTON               GA           30228
                                                                           ONE LAFAYETTE PLAISANCE STE
    MT CONSULTING                                                          2213                                                                                                      DETROIT               MI           48207
    MT HOOD COMMUNITY COLLEGE               MT HOOD BOOKSTORE              26000 SE STARK ST                                                                                         GREESHAM              OR           97030
    MT LEBANON ELEMENTARY                                                  2850 LEBANON ROAD                                                                                         PENDELTON             SC           29670
    MT MAHOGANY COMMUNITY
    SCHOOL                                                                 5014 4TH STREET NW                                                                                        ALBUQUERQUE           NM           87107
    MTV NETWORKS DIV OF VIACOM
    INTERNATIONAL                                                          1515 BROADWAY 9TH FL                                                                                      NEW YORK              NY           10036-8901

    MUDRICK CAPITAL MANAGEMENT LP
    Muenks, Michael
    Muffet Hughes                                                          4287 Lillian Hall Lane                                                                                    Orlando               FL           32812
    MUHLENBERG COLLEGE            THE BERG BOOKSHOP                        2400 W CHEW STREET                                                                                        ALLENTOWN             PA           18104
    MUIR HANNA FAMILY TRUST       C/O ROSS E DE LIPKAU TRUSTEE             2245 THOMAS JEFFERSON DRIVE                                                                               RENO                  NV           89509
    Mukilteo School District 6    Accounting Dept.                         9401 Sharon Drive                                                                                         Everett               WA           98204-2647
    MUKUL G ASHER                                                          469C BUKIT TIMAH ROAD             OEI TIONG HAM BUILDING                                                  SINGAPORE                          259772       Singapore
    Mulderry, Anthony
    Muldowney, Michael

    MULKEYS FLOWERS & GIFTS                                                2300 HIGHLAND VILLAGE RD STE 420                                                                          HIGHLAND VILLAGE      TX           75077
    MULLANE MICHAEL                                                        1301 LAS LOMAS RD                                                                                         ALBUQUERQUE           NM           87106
    Muller-Centerpoint, LLC                 RE 5901 Priestly Drive         Stephen Muller                   c/o The Muller Company              23521 Paseo de Valencia, Suite 220   Laguna Hills          CA           92653
    MULLIN TBG INSURANCE AGENCY
    SERVICE LLC                                                            520 LAKE COOK ROAD STE 520                                                                                DEERFIELD             IL           60015
    Mulrooney, Elaine
    MULTI HEALTH SYSTEMS INC                                               PO BOX 950                                                                                                NORTH TONAWANDA       NY           14120-0950
    MULTIMEDIA THREAT INC                                                  2111 BAY ROAD                                                                                             SHARON                MA           02067
    MULTISYSTEMS INC                                                       P O BOX 191938                                                                                            SAN JUAN              PR           00919-1938
    MULTIVIEW INC                                                          P O BOX 202696                                                                                            IRVING                TX           75320-2696



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                    313 of 488                                                                                                                  1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                        of 519
                                                                                                                   First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                         Address2                        Address3                   City         State       Zip            Country
    Multiview Inc.                                                         PO Box 202696                                                                                Dallas             TX           75320
    Mulville, David
    MUNOZ WILLIAM ALLEN                                                    199 MEADOWLARK LANE                                                                          HAMILTON           MT           59840
    MUNOZ-SANDOVAL ANA                                                     1300 SUMMIT AVE SUITE 428                                                                    FORT WORTH         TX           76102
    MUNRO CAMPAGNA LTD                                                     630 N STATE ST APT 2109                                                                      CHICAGO            IL           60654
    MUNSHIN SARA                                                           632 VALLEJO VILLAS                                                                           LOS ANGELES        CA           90042
    MUNSINGER LYNN M                                                       PO BOX 271                                                                                   KILLINGTON         VT           05751
    Murali Krishna Bondiga                                                 99 FLORENCE ST                   UNIT 1018                                                   MALDEN             MA           02148-3959
    MURFREESBORO CITY SCHOOLS               JOHN PITTARD ELEMENTARY        745 DEJARNETTE LANE                                                                          MURFREESBORO       TN           37130
    MURIE DONALD                                                           1647 S CALLE MARCUS                                                                          PALM SPRINGS       CA           92264
    MURIE MARTIN                                                           595 EMERSON AVENUE                                                                           XENIA              OH           45385
    MURIEL H HUGHES                                                        4079 BUNKLEY RD SW                                                                           MEADVILLE          MS           39653
    MURIEL JORGENSEN                                                       1279 WELLINGTON AVENUE                                                                       TEANECK            NJ           07666
    Murmil Heights Elementary               Attn Lori Brown                2000 Ripley                                                                                  El Dorado          AR           71730
    MURPHY JAMES J                                                         99 MAPLEWOOD AVENUE                                                                          MAPLEWOOD          NJ           07040

    MURPHY STUART J                                                        42 PIER 7, CONSTELLATION WHARF                                                               BOSTON             MA           02129-4226
    MURRAY DEVINE & CO                                                     1650 ARCH STREET Suite 2700                                                                  PHILADELPHIA       PA           19103
    Muscogee County School Dist.                                           4601 Buena Vista Road                                                                        Columbus           GA           31907
                                            DBA PUBLISHING SOLUTIONS
    MUSE GROUP INC                          GROUP                          600 SOUTH ORLANDO AVE STE 101                                                                MAITLAND           FL           32751
    Muse, Jane
    MUSEE BARBIER-MUELLER                                                  10 RUE JEAN-CALVIN                                                                           GENEVE                          00120        Switzerland
    MUSEE MCCORD DHISTORIE                  MCCORD MUSEUM OF CANADIAN
    CANADIENNE                              HISTORY                        690 RUE SHERBROOKE OUSET                                                                     WEST MONTREAL      QC           H3A 1E9      Canada

    MUSEE NATIONAL DES BEAUX -ARTS DU QUEBEC                               PARC DES CHAMPS-DE-BATAILLE                                                                  QUEBEC                          G1R 5H3      Canada
    MUSEUM ASSOCIATION OF THE
    AMERICAN                       FRONTIER                                6321 HIGHWAY 20                                                    MUSEUM OF THE FUR TRADE   CHADRON            NE           69337
    MUSEUM OF AFRICAN AMERICAN
    ART                                                                    PO BOX 8418                                                                                  LOS ANGELES        CA           90008
    MUSEUM OF APPALACHIA                                                   P O BOX 1189                                                                                 NORRIS             TN           37828
    MUSEUM OF FINE ARTS                                                    465 HUNTINGTON AVE                                                                           BOSTON             MA           02115
                                   ATTN SUSAN VEROFF- DIR PLANNED
    MUSEUM OF FINE ARTS BOSTON     GIVING                                  465 HUNTINGTON AVENUE                                                                        BOSTON             MA           02115
    MUSEUM OF SCIENCE                                                      1 SCIENCE PARK                                                                               BOSTON             MA           02114
    MUSEUM OF THE CONFEDERACY                                              1201 EAST CLAY STREET                                                                        RICHMOND           VA           23219-1615

    MUSEUM STORE ASSOCIATION INC                                           4100 E MISSISSIPPI AVE # 800                                                                 DENVER             CO           80246-3055

    MUSIC & MEDIA INTERNATIONAL INC                                        8721 SUNSET BLVD, STE 205                                                                    LOS ANGELES        CA           90069
    MUSIC SALES CORPORATION                                                257 PARK AVENUE SOUTH 20TH FL                                                                NEW YORK           NY           10010
    MUSKEGON AREA INTERMEDIATE
    SCH DIST                                                               630 HARVEY STREET                                                                            MUSKEGON           MI           49442
    Muskingum Valley Ed. Service                                           205 North 7th Street                                                                         Zanesville         OH           43701
    MUZAK                                                                  3318 LAKEMONT BLVD                                                                           FORT MILL          SC           29708
    MUZAK LLC                                                              PO BOX 71070                                                                                 CHARLOTTE          NC           28272
    MUZAK LLC                                                              PO BOX 71070                                                                                 CHARLOTTE          NC           28273
    MUZAK LLC                                                              PO BOX 71070                                                                                 CHARLOTTE          NC           28274
    MV2 MANAGEMENT INC              DBA HOTEL VILLA REAL                   P O BOX 964                                                                                  BAJADERO           PR           00616
    MVP COLLABORATIVE LLC                                                  1751 E LINCOLN AVE                                                                           MADISON HEIGHTS    MI           48071

    MW PROGRAM DEVELOPMENT INC              ATTN MARLENE WECHSLER          1501 FIRST AVE, APT 4 S                                                                      NEW YORK           NY           10075
    MY FLORIDA MARKET PLACE                                                P O BOX 5497                                                                                 TALLAHASSEE        FL           32314-5497
    MY OFFICE COMMERCIAL FACILITY
    SERVICES                                                               6060 NANCY RIDGE DR STE 100                                                                  SAN DIEGO          CA           92121
    MYERS LAURIE                                                           607 SAPPHIRE PLACE                                                                           WEST LAKE          GA           30907
    MYKA-LYNNE SOKOLOFF                                                    16 KEZIAHS LANE                                                                              ORLEANS            MA           02653-4126
    MYL ROVER LTD                                                          125 HOLMES RD                                                                                SOUTH BURLINGTON   VT           05403
    MYLOUPE INC                                                            9630 S PROSPECT AVE                                                                          CHICAGO            IL           60643
    MYMEE HER                                                              2844 EAST VERMONT AVENUE                                                                     FRESNO             CA           93720
    MYRA DIANE BROOME                                                      8107 TOPEKA AVENUE                                                                           LUBBOCK            TX           79424
    Myra Gomez                                                             9802 Sheldon Road                                                                            Huntley            IL           60142
    MYRA LUCIA SOLOMON                                                     7515 SW 168TH STREET                                                                         MIAMI              FL           33157
    Myra Sanchez-Collado                                                   6942 Manhattan Dr                                                                            Huntington Beach   CA           92647
    MYRA WOLFE                                                             4626 SOUTHWEST 55TH PLACE                                                                    PORTLAND           OR           97221
    MYRA ZARNOWSKI                                                         179-47 80TH ROAD                                                                             JAMAICA            NY           11432
                                                                                                                                                                        RANCHO SANTA
    MYRLEEN S PEARSON                                                      13 CALLE MELINDA                                                                             MARGARITA          CA           92688
    Myrna Goldsberry                                                       5 Auburn Ave SE                                                                              N Canton           OH           44709



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                  314 of 488                                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136          Filed 07/15/12 Exhibit
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                                                                                                            322 Matrix
                                                                                                                    of 519
                                                                                                                First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                    Address2                        Address3                  City        State       Zip           Country
    Myrna Hasse                                                            313 East Hazel Street                                                                    West Chicago      IL           60185
    MYRNA RIVARD                                                           1262 N 5TH STREET                                                                        FARGO             ND           58102
    MYRON ECHENBERG                                                        455 CLAREMONT AVE                                                                        WESTMOUNT         QC           H3Y 2N4      Canada
    MYRON UBEL                                                             12358 BUCKS HARBOR DR S                                                                  JACKSONVILLE      FL           32225
    MYSQL AMERICAS INC                                                     PO BOX 951549                                                                            DALLAS            TX           75395
    MYSTERY WRITERS OF AMERICA                                             1140 BROADWAY SUITE 1507                                                                 NEW YORK          NY           10001
    MYSTIC SEAPORT                                                         75 GREENMANVILLE AVE                                                                     MYSTIC            CT           06355
    N & D TECHNICAL SERVICES INC                                           8717 STAGECOACH ROAD                                                                     LITTLE ROCK       AR           72210
    N & M TRANSFER CO INC                                                  630 MUTTART ROAD                                                                         NEENAH            WI           54956-9752
    N CAROLINA DEPT OF PUBLIC
    INSTRUCTION                             STATE TEXTBOOK WAREHOUSE       3905 REEDY CREEK ROAD                                                                    RALEIGH           NC           27607-6441
    N H PLATE GLASS CORP                    DBA NEW HAMPSHIRE GLASS        1 MIRONA ROAD                                                                            PORTSMOUTH        NH           03801
    N H SCHOOL ADMINISTRATORS
    ASSN INC                                                              46 DONOVAN STREET STE 3                                                                   CONCORD           NH           03301
                                            DBA MALIN INTEGRATED HANDLING
    N J MALIN & ASSOCIATES LLC              SOLUTIONS                     P O BOX 843860                                                                            DALLAS            TX           75284
    N. Gale Knight                                                        191 Cr 383                                                                                Bono              AR           72416
    N.C. Department of Revenue                                            PO Box 25000                                                                              Raleigh           NC           27640-0001
    NAACP                                   NED HIMMELRICH                233 E REDWOOD STREET                                                                      BALTIMORE         MD           21202

    NABE                                    US EXPO & CONVENTION SERVICES 1859 W GRANT ROAD SUITE 107                                                               TUCSON            AZ           85745
                                            ZOUKAK EL BLAT BOUTROS
    NADA BAGHDADI                           BUSTANI STREET                P O BOX 11-8339                MIKHITARIST BLDG 2ND FL APT # 3                            BEIRUT                                      Lebanon
    NADA GASPARD                            SHAMANDI BLDG 8TH FL          ADIB ISHAK ST ASHRAFIEH                                                                   BEIRUT                                      Lebanon
    Nader Darehshori                                                      44 Carisbrooke Road                                                                       Wellesley         MA           02481
    NADINE A KRIEG                          DBA INTERIORS BY NADINE       311 EVERGREEN CRT                                                                         TROY              MO           63379
    NADINE B WESTCOTT INC                                                 3 ANGOLA STREET                                                                           NANTUCKET         MA           02554
    NADINE BERNARD WESTCOTT INC                                           3 ANGOLA STREET                                                                           NANTUCKET         MA           02554

    NADINE M PAGAN LOPEZ                                                   2U-7 CALLE 24 MIRADOR DE BAIROA                                                          CAGUAS            PR           00727
    Nadyne Wood                                                            3904 Lago Vista Dr                                                                       Austin            TX           78734
    Nagarjuna Nerella                                                      1508 gorham st                  Apt # 303                                                lowell            MA           01852
    NAGY WILLIAM E                                                         7046 23RD AVE NW                                                                         SEATTLE           WA           98117-5629
    Nakeia Rowe                                                            1230 Portabello Court                                                                    Oxon Hill         MD           20745
    NAL INC                                                                27 TALCOTT FARM ROAD            ATTN NANCY LARSON                                        OLD LYME          CT           06371
                                            RANDY SCHLUETER EXHIBIT
    NAMLE                                   CHAIRPERSON                    215 NORTH 5TH STREET                                            BEATRICE MIDDLE SCHOOL   BEATRICE          NE           68310
    NAMOWITZ AUDREY A                       ESTATE OF SAMUEL NAMOWITZ      210 DOGWOOD                                                                              SOUTHBURY         CT           06488
    Nan Caldwell                                                           7436 South Norfolk Street                                                                Centennial        CO           80016
    Nan Fallon                                                             1505 COBBLESTONE CT                                                                      FLEMINGTON        NJ           08822
    Nan Fallon                                                             1505 Cobblestone Ct                                                                      Flemington        NJ           08822-2041
    NAN HEDGE                                                              22656 S PONY LAKE CIR                                                                    CLAREMORE         OK           74019
    NAN RICH CAMPAIGN                                                      2748 PINEHURST                                                                           WESTON            FL           33332
    NAN WILLARD CAPPO                                                      24168 ST MARY COURT                                                                      FARMINGTON        MI           48336
    Nan Woodson                                                            53 Saint Phillips Blvd.                                                                  Beaufort          SC           29906
    NANCI MCCRACKIN                                                        138 WINDY ROW                                                                            PETERBOROUGH      NH           03458
    NANCIE ATWELL                                                          85 DOGFISH HEAD RD                                                                       WEST SOUTHPORT    ME           04576
    Nancy A Lattin                                                         110 Crockett Road                                                                        Cedar Park        TX           78613
    NANCY A PAGE                                                           3002 CAVE HOLLOW WAY                                                                     BOUNTIFUL         UT           84010
    NANCY A SCHUMAN                         C/O LLOYD STAFFING             445 BROADHOLLOW RD, STE 119                                                              MELVILLE          NY           11747
    NANCY AKHAVAN                                                          3766 W LOCUST                                                                            FRESNO            CA           93711
    NANCY ALLISON                                                          3103 SLEEPY HOLLOW DR                                                                    SUGAR LAND        TX           77479
    NANCY ANN FRISCH                                                       39 LIBERTY DOCK                                                                          SAUSALITO         CA           94965
                                            DBA CHALEX LITERACY
    NANCY B CHALEX                          CONSULTING                     9852 E STEVEN PALMS DRIVE                                                                SCOTTSDALE        AZ           85262-1465
    NANCY B WILKINS                                                        4647 OAK HOLLOW DRIVE                                                                    SARASOTA          FL           34241
    Nancy Baker                             Coaching & Mentoring           2019 Mimosa Lane                                                                         Pottstown         PA           19464
    NANCY BEATRICE BALL                     DBA NOTA BENE INDEXING         9962 SHORTY CAMPBELL ROAD                                                                KINGSTON          WA           98346
    NANCY BERTRAND                                                         101 WOODBURY ST                                                                          MURFREESBORO      TN           37127
    NANCY BLOOM                                                            310 CAMEO DRIVE                                                                          MASSAPEQUA        NY           11758
                                            DBA NANCY MCLEAN EDUCATNL
    NANCY C MCLEAN                          CONSULTANT                     118 ROWENA PLACE                                                                         LAYAYETTE         CO           80026
    NANCY CARPENTER                                                        442 3RD STREET #2                                                                        BROOKLYN          NY           11215
    NANCY CARRIER DUNCAN                                                   2631 COUNTRY CLUB BLVD                                                                   EUSTIS            FL           32726
    NANCY CHATFIELD                                                        4618 SW 75TH WAY                                                                         DAVIE             FL           33314
    Nancy Chiapas                                                          1010 Vine Street                                                                         Streamwood        IL           60107
    Nancy Choy                                                             404 10th Street                                                                          Manhattan Beach   CA           90266
    NANCY CLOUD                                                            9-D EAGLE RUN                                                                            EAST GREENWICH    RI           02818
    NANCY COFFELT                                                          5720 SW BOUNDARY STREET                                                                  PORTLAND          OR           97221
    NANCY CRAMPTON                                                         35 WEST 9TH STREET                                                                       NEW YORK          NY           10011-8945



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                               315 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                             323 Matrix
                                                                                                                     of 519
                                                                                                                    First Class Service List


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    Nancy Crosby                                                           2943 Lodgepole Drive                                                                      Whiteland           IN           46184
    NANCY DETERT CAMPAIGN                                                  1769 BATELLO DRIVE                                                                        VENICE              FL           34292
    Nancy Doherty Schmitt                                                  79 Cedar Street                                                                           Hanover             MA           02339
    NANCY DOUGLASS                                                         2160 GLACIER COURT                                                                        ALGONQUIN           IL           60102
    Nancy Dowd                                                             126 Winterberry Way                                                                       Norfolk             MA           02056
    Nancy Dyer                                                             290 PLEASANT ST                   #203                                                    WATERTOWN           MA           02472
    Nancy E Mahoney                                                        2 Jameson Ct.                                                                             Mansfield           MA           02048
    NANCY E ROSENWASSER                                                    50 GREENWAY N                                                                             FOREST HILLS        NY           11375
    NANCY ELKINS                                                           3517 CHAPEL HILL BLVD                                                                     CLERMONT            FL           34711
    NANCY F BROWN                                                          4010 OLEANDER AVENUE                                                                      FORT PIERCE         FL           34982
    Nancy Foerstel                                                         11 Pine Cliff Ct                                                                          Defiance            MO           63341
    NANCY FRANCES QUINN                                                    11400 BLUFF CREEK DRIVE                                                                   OKALHOMA CITY       OK           73162
    NANCY FREY                                                             1270 CLEVELAND AVENUE K104                                                                SAN DIEGO           CA           92103
    NANCY G YATES                                                          1628 CR 81 LOT 1                                                                          BLUE MTN            MS           38610
    NANCY GAHAGAN LEONARD                                                  912 MASSACHUSETTS AVE                                                                     LEXINGTON           MA           02420
    NANCY GALLT AGENCY                                                     273 CHARLTON AVENUE                                                                       SOUTH ORANGE        NJ           07079
    NANCY GALLT LITERARY AGENCY                                            273 CHARLTON AVENUE                                                                       SOUTH ORANGE        NJ           07079
    NANCY GALLT LITERARY AGENCY                                            273 CHARLTON AVENUE                                                                       SOUTH ORANGE        NJ           07079-2342
    NANCY GAUDET                                                           1530 SAHARA DRIVE                                                                         CROSBY              TX           77532
                                                                           281 LIRIOS ST, SAN RAFAEL
    NANCY GOMEZ ROSARIO                                                    ESTATES                                                                                   BAYAMON             PR           00959
    NANCY GRIMM                                                            1400 TOWNSEND DR                  MI TECH UNIV                      HUMANITIES DEPT       HOUGHTON            MI           49931
    NANCY H ADDISON                                                        2230 FLAGSTICK DR                                                                         MATTHEWS            NC           28104-0629
    Nancy H Gold                                                           7148 S. Niagara                                                                           Centennial          CO           80112
    Nancy H Hoagland                                                       2301 Birchwood Avenue                                                                     Wilmette            IL           60091
    NANCY H PACKER                                                         101 ALMA STREET # 505                                                                     PALO ALTO           CA           94301
    Nancy Hale                                                             2 Marion St                                                                               Wilmington          MA           01887
    NANCY HANKEE                                                           4509 SCOTIA DRIVE                                                                         FT WAYNE            IN           46814
    Nancy Hara                                                             341 ALDRIN AVE.                                                                           BATAVIA             IL           60510
    Nancy Harshman                                                         7657 Snowmass Mountain                                                                    Littleton           CO           80127
    Nancy Harshman                                                         7657 Snowmass Mtn.                                                                        Littleton           CO           80127
    NANCY HASS                                                             130 EAST 18TH STREET APT 3H                                                               NEW YORK            NY           10003
    NANCY HAYASHI                                                          3507 LANDA STREET                                                                         LOS ANGELES         CA           90039
    Nancy Haynes                                                           85 Alavista Way                                                                           Waynesville         NC           28786

    NANCY HAYWARD                                                          301 SW LINCOLN STREET, APT 1314                                                           PORTLAND            OR           97201-5033
    Nancy Holland                                                          1525 Perdita Way                                                                          Greer               SC           29650
    NANCY HULL                                                             5720 FURLONG COURT                                                                        BELMONT             MI           49306
    NANCY HUMBACH                                                          5840 FAIRHAM ROAD                                                                         HAMILTON            OH           45011
    NANCY I UPDEGRAFF                                                      8947 PRIVATE DRIVE A                                                                      ONSTED              MI           49265
    Nancy J Aubee                                                          505 SE Woods Edge                                                                         Stuart              FL           34997
    Nancy J Condon                                                         669 N. Cary Street                                                                        Brockton            MA           02302
    NANCY J FOERSTEL                                                       11 PINE CLIFF COURT                                                                       DEFIANCE            MO           63341
    NANCY J JOHNSON                                                        140 NORTHSHORE DR                                                                         BELLINGHAM          WA           98226
    Nancy J Lawrie-Stuckey                                                 4867 Waterbury Way                                                                        Granite Bay         CA           95746
    Nancy Jo Mannix                                                        3549 County Lakes Drive                                                                   Orlando             FL           32812
    Nancy Jones                                                            85 Bacon Street                                                                           Winchester          MA           01890
    NANCY JORDAN                                                           6508 RIDGE DRIVE                                                                          BETHSDA             MD           20816
    Nancy K Ross                                                           1050 Cardinal Ct.                                                                         Batavia             IL           60510
    Nancy K Wallace                                                        1738 W Cr 650 S.                                                                          Spiceland           IN           47385
    Nancy Kaplan                                                           6 Putnam Road                                                                             North Reading       MA           01864
    NANCY KEMP                                                             3107 SPYGLASS DRIVE                                                                       MARYVILLE           TN           37801
    NANCY KING                                                             1224 VALLECITA DRIVE                                                                      SANTA FE            NM           87501-8803
    NANCY KING                                                             26 CARMINA DRIVE                                                                          SINKING SPRING      PA           19608
    Nancy King                                                             4502 Ironstone Circle                                                                     Orlando             FL           32812
    Nancy Kjenstad                                                         1350 W Horizon Ridge Parkway      3311                                                    Henderson           NV           89012
    Nancy Kurz                                                             16N Bosart Ave                                                                            Indianapolis        IN           46201
    NANCY L COMMINS                                                        261 SHORT PLACE                                                                           LOUISVILLE          CO           80027
    NANCY L ROSER                                                          505 LAUREL VALLEY ROAD                                                                    AUSTIN              TX           78746
    NANCY L WITHERELL                                                      345 ELM STREET                                                                            EAST RAYNHAM        MA           02767
    NANCY LAWRIE STUCKEY                                                   4867 WATERBURY WAY                                                                        GRANITE BAY         CA           95746
    Nancy Lee                                                              36 Montclair Ave.                                                                         Quincy              MA           02171
    Nancy Lee Machaj                                                       P.O. Box 238                                                                              Streamwood          IL           60107
    NANCY LESTER                                                           605 17TH STREET                                                                           BROOKLYN            NY           11218
    NANCY LOUISE FOOTE                                                     2817 E CATHY DR                                                                           GILBERT             AZ           85296
    Nancy Lowery                                                           100 Shady Grove                                                                           Georgetown          TX           78633
    NANCY M FRY                                                            6512 79TH PLACE                                                                           CABIN JOHN          MD           20818-1207
    NANCY M JACOBS                                                         1415 CHAPMAN DRIVE                                                                        WAUKESHA            WI           53189
    Nancy M Stoczynski                                                     1681 Gibson Dr.                                                                           Elk Grove Village   IL           60007
    NANCY MANDOWA                                                          2513 POIX STREET, # 8                                                                     HOLLYWOOD           FL           33020



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     316 of 488                                                                                         1:26 PM
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                                                                                                                       of 519
                                                                                                                  First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                       Address2           Address3                City        State       Zip               Country
    Nancy Mc Donald                                                        46 Crosby Circle                                                             Centerville         MA           02632
    NANCY MCBRIDE                                                          504 N HILLCREST AVE                                                          NIXA                MO           65714
    Nancy McDonagh                                                         721 N. Hickory Ave.                                                          Arlington Heights   IL           60004
    NANCY MENICUCCI                         CALLE 2 #27                    EDIFICIO EL MILLON APT B-1                                                   SANTO DOMINGO                                 Dominican Republic
    NANCY N BROWN                                                          20926 SWANSWAY                                                               DEER PARK           IL           60067
    Nancy N Pineda                                                         12782 Daughtery Drive                                                        Orlando             FL           34787
    Nancy Ortner                                                           575 Rippling Water Ln.                                                       Duluth              GA           30097
    Nancy Owens                                                            37 Milwood St. #2                                                            Dorchester          MA           02124
    Nancy Peckham                                                          6 Dorset Street               Unit 2                                         Dorchester          MA           02125
    Nancy Petee                                                            141 Radio Avenue                                                             Miller Place        NY           11764
    Nancy Pittman                                                          2117 Cypress Villas Drive                                                    Orlando             FL           32825
    Nancy Quinn                                                            1539 Sweetbrair Drive                                                        Jamison             PA           18929
    NANCY R HESTER                                                         2110 VINTAGE HILL DRIVE                                                      DURHAM              NC           27712
    Nancy R Sargeant                                                       18 SEABORN PLACE                                                             LEXINGTON           MA           02420
    NANCY RAY-MITCHELL                                                     1400 COLLEGE DRIVE                                                           WACO                TX           76708
    Nancy Roth                                                             1559 Earhart Lane                                                            Casselberry         FL           32707
    NANCY S STITT                                                          510 APPIAN WAY NE                                                            ST PETERSBURG       FL           33704
    NANCY SARGEANT                                                         18 SEABORN PLACE                                                             LEXINGTON           MA           02173
    Nancy Sargeant                                                         18 Seaborn Place                                                             Lexington           MA           02420
    NANCY SCHIMMEL                          DBA SCHRODER MUSIC CO          P O BOX 2067                                                                 BERKELEY            CA           94702-0067
    Nancy Scioly                                                           91 Woburn St                                                                 Lexington           MA           02173
    Nancy Shanahan                                                         6 S. 001 Country Glen Drive                                                  Naperville          IL           60563
    NANCY SHEEHAN                                                          8 SUNSET POINT ROAD                                                          GLOUCESTER          MA           01930
    NANCY SHELTON                                                          102 N SYMINGTON AVE                                                          CATONSVILLE         MD           21228
                                                                                                         GELLER FAMILY OFFICE SERVICES
    NANCY SIMON                             C/O MARLO PETTIGREW            909 3RD AVE 15TH FL           LLC                                            NEW YORK            NY           10022
    Nancy Slaughter                                                        904 Araf Ave                                                                 Richardson          TX           75081

    NANCY STAUFFER CAHOON                   DBA NANCY STAUFFER ASSOCIATES PO BOX 1203                                                                   DARIEN              CT           06820
    NANCY STEINEKE                                                        4147 VERNON AVENUE                                                            BROOKFIELD          IL           60513
    NANCY TOLEDO SWEAT                                                    318 BEAUREGARD HEIGHTS                                                        HAMPTON             VA           23669
    NANCY TOWLE                                                           14225 LORA DRIVE APT 35                                                       LOS GATOS           CA           95032-1225
    NANCY U SULLIVAN                                                      427 HERITAGE VILLAGE LANE                                                     APEX                NC           27502
    Nancy Updegraff                                                       8947 Private Drive A                                                          Onsted              MI           49265
    NANCY WALKER                                                          1255 S ORANGE GROVE BLVD 4                                                    PASADENA            CA           91105
    NANCY WELCH                                                           10 CRESCENT ROAD                                                              BURLINGTON          VT           05401
    Nancy Wentzel                                                         2 Frances Road                                                                Woburn              MA           01801
    NANCY WHITE                                                           300 BROADWAY # C-20                                                           DOBBS FERRY         NY           10522
    NANCY WHITTINGTON                                                     3605 NORTHWEST PKWY                                                           DALLAS              TX           75225
    Nancy Wiebenga                                                        17041 Vineland Drive                                                          Parker              CO           80134
    NANCY WOLFF                                                           125 GATES AVENUE, APT 14                                                      MONTCLAIR           NJ           07042
    NANCY YOST LITERARY AGENCY                                            350 7th AVENUE SUITE 2003                                                     NEW YORK            NY           10001
    Nanda Patel                                                           1104 Statler Bend Drive                                                       Pflugerville        TX           78660
    NANDA WARD                                                            304 JULE DR                                                                   CHESAPEAKE          VA           23322-3514
    NANDURI SUBRAHMANYAM                                                  50 QUIET LANDS GACHBILZ1                                                      NYDERABAD                        500032       India
    Naneka Brathwaite                                                     604-3 Louisiana Ave                                                           Brooklyn            NY           11239
    NANETTE BUNNOW                                                        W 174 ERV COURT                                                               KAUKAUNA            WI           54130
                                            DBA INFORMATION RETRIEVAL &
    NANETTE CARDON                          INDEXING                      2181 NW GLISAN ST APT 302                                                     PORTLAND            OR           97210-5700
    NANIGANS INC                                                          141 TREMONT STREET 7TH FLOOR                                                  BOSTON              MA           02111
    NANNETTE RODRIGUEZ MENDOZA                                            COND TOWN HOUSE APT 1802                                                      RIO PIEDRAS         PR           00923
    NAOMI EPEL                              DBA NAOMI EPEL & ASSOCIATES   154 BROOKSIDE DR                                                              BERKELEY            CA           94705
    Naomi Gaul-Treanor                                                    1015 N. Spring St.                                                            Elgin               IL           60120
    NAOMI LONG MADGETT                                                    SANTA BARBARA DRIVE                                                           DETROIT             MI           48221
    NAOMI LYNN SHELAN                                                     1459 18TH STREET PMB 163                                                      SAN FRANCISCO       CA           94107
    NAOMI SHIHAB NYE                                                      806 SOUTH MAIN AVE                                                            SAN ANTONIO         TX           78204-1422
    NAOMI TILSEN                                                          164 HENRY ST                                                                  SAN FRANCISCO       CA           94114
    NAOSHI KORIYAMA                                                       2-15-9 YAWI SANGAMI-SHI                                                       KANAGAWA-KEN                                  Japan
    NAPA AUTO & TRUCK                                                     28 AGNES DRIVE                                                                TROY                MO           63379
    NAPOLEON A CHAGNON                                                    2499 HOBBS HWY SOUTH                                                          TRAVERSE CITY       MI           49686
    NAPPA                                                                 51 MORGAN DR STE 11                                                           NORWOOD             MA           02062-5021
    NASCIMBENE YAN                                                        2 PLACE DE LA MAIRIE                                                          COTIGNAC                         83570        France
    NASH GARY B.                                                          1336 LAS CANOAS RD                                                            PACIFIC PALISADES   CA           90272
    NASHALINE BARRETO RONDON                                              104 VIA LA MANSION             URB MASIONES DEL LAGO                          TOA BAJA            PR           00949-3260
    NASSAU COUNTY ASSN OF MATH                                                                           ATTN HELENE KRIEGSTEIN JERICHO
    SUPERVSRS                                                              99 CEDAR SWAMP RD             UFSD                                           JERICHO             NY           11753
                                                                           504 B NORTH GREENSBORO
    NATALIE COLLINS                                                        STREET                                                                       CARRBORO            NC           27510
    Natalie Dillard                                                        646 Coronado Ave.Unit A                                                      Long Beach          CA           90814
    Natalie Eldridge                                                       5493 S. Ward Way              Street Apt 201                                 Littleton           CO           80127



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    317 of 488                                                                                      1:26 PM
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                                                                                                                  First Class Service List


                   CreditorName                       CreditorNoticeName                 Address1                      Address2              Address3              City        State       Zip            Country
    NATALIE LORENZI                                                        5472 MIDSHIP COURT                                                           BURKE             VA           22015
    NATALIE LOUIS                                                          511 W 235TH ST APT 7D                                                        BRONX             NY           10463
    Natalie Myers                                                          222 Hornbeam Drive E                                                         Longwood          FL           32779
    NATALIE N LEVERETTE                                                    38 TIMBER RIDGE                                                              PURVIS            MS           39475
    NATALIE ROGERS                                                         171 NELSON WAY                                                               SEBASTOPOL        CA           95472-3652
    NATALIE SIMPSON                                                        150 PARKDALE AVENUE                                                          EAST AURORA       NY           14052
    NATALIE ZAYAS-ROBINSON                                                 3070 REDWOOD DRIVE                                                           MARINA            CA           93933
    NATASHA MURRAY                                                         168 RHODODENDRON DR                                                          WESTBURY          NY           11590
    NATASHA VEGA ALVARADO                                                  URB SIERRA REAL S-5 APT 133                                                  CAYEY             PR           00736
    NATCHITOCHES TAX COMMISSION                                            P O BOX 639                                                                  NATCHITOCHES      LA           71458-0639
    Nathalie Gilli                                                         3600 Mystic Valley Pkwy         Apt W412                                     Medford           MA           02155
    Nathan A Deburn                                                        3672 Foxcroft Cir                                                            Oviedo            FL           32765
    NATHAN FREEMAN                                                         31 CENTRAL ST # 310                                                          BANGOR            ME           04410
    NATHAN JONES                                                           10909 SW SOUTHRIDGE DR                                                       PORTLAND          OR           97219-7889
    Nathan L Sturm                                                         1247 W. Granville Ave.          #1E                                          Chicago           IL           60660
    Nathan ONeal                                                           1511 West North Loop            #205                                         Austin            TX           78756
    NATHAN RUTH                                                            448 OAKSHIRE PLACE                                                           ALAMO             CA           94507-2331
    Nathan Veeder                                                          2107 3rd St SW                                                               Cedar Rapids      IA           52404
    NATHAN WILSON                                                          8 CYRUS STREET                                                               WAKEFIELD         MA           01880
                                                                                                           C/O SHARON GUECK / JOHN
    NATHAN WOLFSON TRUST                    BECKER CAPITAL MANAGEMENT INC 1211 SW FIFITH AVE STE 2185      BECKER                                       PORTLAND          OR           97204
    NATHAN Y JARVIS & ASSOCIATES
    LLC                                                                    P O BOX 1390                                                                 MIDWAY            UT           84049-1390
    NATHANIEL ROSS JUSTICE                                                 132 LAST RESORT TERRACE                                                      BLACK MOUNTIAN    NC           28711
    NATION                                  ATTN PERMISSIONS               33 IRVING PLACE                                                              NEW YORK          NY           10003-2332
    NATIONAL AIR INC                        DBA NATIONAL AIR & ENERGY      2053 KURTZ STREET                                                            SAN DIEGO         CA           92110
    NATIONAL ALLIANCE FOR PUBLIC            NATIONAL CHARTER SCHOOLS
    CHARTERS                                CONFERENCE                     1277 UNIVERSITY OF OREGON                                                    EUGENE            OR           97403
    NATIONAL ALLIANCE OF BLK SCH                                           310 PENNSYLVANIA AVENUE SE                                                   WASHINGTON        DC           20003
    NATIONAL ARCHIVES                                                      FINANCIAL SERVICES DEPT                                                      KEW RICHMOND      Surrey       TW9 4DU      United Kingdom
    NATIONAL ARCHIVES AND RECORD            JOHN F KENNEDY PRESIDENTIAL LIB
    ADMIN                                   MUSEUM                          COLUMBIA POINT                                                              BOSTON            MA           02125
    NATIONAL ASSN FOR THE                   COLORED PEOPLE - MEMPHIS
    ADVANCEMENT OF                          BRANCH                          588 VANCE AVENUE                                                            MEMPHIS           TN           38126
    NATIONAL ASSN FOR THE
    ADVANCEMENT OF                          COLORED PEOPLE                 4929 WILSHIRE BLVD SUITE 310                                                 LOS ANGELES       CA           90010
    NATIONAL ASSN FOR THE
    ADVANCEMENT OF                                                         588 VANCE AVENUE                                                             MEMPHIS           TN           38126
    NATIONAL ASSN FOR THE
    EDUCATION OF                            YOUNG CHILDREN                 1313 L STREET NW STE 500                                                     WASHINGTON        DC           20005
    NATIONAL ASSN MARKETING                 ATTN BUD LAUCK -EASTERN PEN
    DISTRIBUTORS                            SUPPLY                         315 N CHESTNUT ST P O BOX 46                                                 PALMYRA           PA           17078
    NATIONAL ASSN OF CREDIT
    MANAGEMENT                              TAMPA INC                      P O BOX 22827                                                                TAMPA             FL           33622
    NATIONAL ASSN OF DISTRICT
    SUPERVISORS OF                          FOREIGN LANGUAGES              813 NORTH SOMAC DRIVE           ATTN DIANE DENOON                            OLATHE            KS           66061
    NATIONAL ASSN OF SCH
    PSYCHOLOGISTS                           C/O SUNTRUST                   P O BOX 79469                                                                BALTIMORE         MD           21279-0469
    National Assoc of Elem School                                          1615 Duke Street                                                             Alexandria        VA           22314
    NATIONAL ASSOC OF STATE
    BOARDS OF EDU                                                          2121 CRYSTAL DR, STE 350                                                     ARLINGTON         VA           22202
    NATIONAL ASSOC OF STATE
    DIRECTORS OF                            SPECIAL EDUCATION INC          2150 WISCONSIN AVENUE NW        LINDER & ASSOCIATES INC                      WASHINGTON        DC           20007
    NATIONAL ASSOC OF TEST
    DIRECTORS                                                              P O BOX 5381                    ATTN ELIZABETH HOLTZAPPLE                    CINCINNATI        OH           45201
    National Assocation of Secondary
    School Principals                                                      1904 Association Drive                                                       Reston            VA           20191
    NATIONAL ASSOCIATION FOR
    BILINGUAL EDUC                          ATTN NILDA AGUIRRE             43110 HOLDER LANE                                                            HAMMOND           LA           70403
    NATIONAL ASSOCIATION FOR
    GIFTED CHILDREN                                                        1707 L STREET NW, SUITE 550                                                  WASHINGTON        DC           20036
    NATIONAL ASSOCIATION OF HEALTH
    UNIT                                    COORDINATORS INC               1947 MADRON RD                                                               ROCKFORD          IL           61107-1716
    NATIONAL BASEBALL HALL OF FAME
    AND                                     MUSEUM INC                     25 MAIN STREET                                                               COOPERSTOWN       NY           13326
    NATIONAL BOOK FOUNDATION                                               90 BROAD STREET STE 604                                                      NEW YORK          NY           10004
    NATIONAL BOOK FOUNDATION                                               95 MADISON AVENUE SUITE 709                                                  NEW YORK          NY           10016-7801
    NATIONAL BOSTON LLC                                                    115 DRUMMER STREET                                                           BROOKLINE         MA           02446
    NATIONAL CAREER DEVELOPMENT
    ASSOC                                                                  305 N BEECH CIRCLE                                                           BROKEN ARROW      OK           74012



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                 318 of 488                                                                                     1:26 PM
                                                      12-12171-reg          Doc 136             Filed 07/15/12 Exhibit
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                                                                                                              326 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


              CreditorName               CreditorNoticeName                          Address1                            Address2              Address3              City        State       Zip            Country
    NATIONAL CATHOLIC EDUCATION   EXHIBITORS INC                          2621 DRYDEN ROAD SUITE 300                                                      DAYTON            OH           45439
    NATIONAL CATHOLIC EDUCATIONAL
    ASSN                                                                  P O BOX 63258                                                                   CHARLOTTE         NC           28263-3258
    NATIONAL CITY COMMERCIAL
    CAPITAL                                                               PO BOX 931034                                                                   CLEVELAND         OH           44193
    NATIONAL CONFERENCE FOR                                               37 STREET CALLE LOS NEGRITOS
    TEACHERS                      OF ENGLISH                              BO DENT                                                                         SAN JOSE                                    Costa Rica

    NATIONAL CONFERENCE OF STATE LEGISLATURES                             7700 EAST FIRST PLACE                                                           DENVER            CO           80230
    NATIONAL CORPORATE RESEARCH
    LTD                                                                   10 E 40th ST 10th FLOOR                                                         NEW YORK          NY           10016
    NATIONAL COUNCIL FOR HISTORY
    EDUC INC                                                              7100 BALTIMORE AVE STE 510                                                      COLLEGE PARK      MD           20740
    NATIONAL COUNCIL FOR THE
    SOCIAL STUDIES                                                        P O BOX 79078                                                                   BALTIMORE         MD           21279-0078
    NATIONAL COUNCIL FOR
    WORKFORCE EDUC                                                        1050 LARRABEE AVENUE                                                            BELLINGHAM        WA           98225
    NATIONAL COUNCIL OF                                                   6000 E EVANS AVENUE AVE STE 3-
    SUPERVISORS OF               MATHEMATICS                              205                                                                             DENVER            CO           80222
    NATIONAL COUNCIL OF TEACHERS
    OF ENG                       DBA ALAN                                 P O BOX 234                                                                     CAMPBELL          OH           44405-0234
    NATIONAL COUNCIL OF TEACHERS
    OF ENGLISH                                                            1111 W KENYON RD                                                                URBANA            IL           61801-1096

    NATIONAL COUNCIL ON EDUCATING           BLACK CHILDREN                PO BOX 55752                                                                    INDIANAPOLIS      IN           46205
    NATIONAL COUNCIL TEACHERS OF
    MATHS                                                                 1906 ASSOCIATION DRIVE                                                          RESTON            VA           20191
    NATIONAL COWGIRL MUSEUM AND
    HALL                                    OF FAME INC                   1720 GENDY STREET                                                               FORT WORTH        TX           76107
    NATIONAL CRIME PREVENTION                                             2001 JEFFERSON DAVIS HWY STE
    COUNCIL                                                               901                                ATTN MICHELLE BOYKINS                        ARLINGTON         VA           22202
    NATIONAL DATA LABEL
    CORPORATION                                                           301 ARTHUR CT                                                                   BENSENVILLE       IL           60106
    NATIONAL DROPOUT PREVENTION
    NETWORK                                                               209 MARTIN STREET                                                               CLEMSON           SC           29631-1555
    NATIONAL EDUCATIONAL SYSTEMS
    INC                                                                   6333 DE ZAVALA STE 106                                                          SAN ANTONIO       TX           78249
    NATIONAL FARM WORKERS SVC
    CENTER                                  DBA CESAR CHAVEZ FOUNDATION   316 W 2ND STREET SUITE 600                                                      LOS ANGELES       CA           90012
    NATIONAL FEDERATION FOR
    CATHOLIC YOUTH                          MINISTRY INC                  P O BOX 1707, 110 EL CAMINO REAL                                                PORT LAVACA       TX           77979
    NATIONAL GALLERIES OF
    SCOTLAND                                GALLERY OF MODERN ART         75 BELFORD RD                                                                   EDINBURGH                      EH4 3DR      United Kingdom
    NATIONAL GALLERY BOOKSHOP                                             MERRION SQUARE WEST                                                             DUBLIN 2                                    Ireland
    NATIONAL GALLERY OF ART                 DEPT OF VISUAL SERVICES       6TH ST & CONSTITUTION AVE NW                                                    WASHINGTON        DC           20565-0001
    NATIONAL GEOGRAPHIC DIGITAL
    MOTION                                                                PO BOX 630292                                                                   BALTIMORE         MD           21263
    NATIONAL GEOGRAPHIC KIDS                                              PO BOX 417129                                                                   BOSTON            MA           02241-7129
    NATIONAL GEOGRAPHIC SCHOOL
    PUBLISHING                              ATTN ROYALTIES                1 LOWER RAGSDALE DR            BUILDING 1 SUITE 200                             MONTEREY          CA           93940
    NATIONAL GEOGRAPHIC SOCIETY             SPECIAL BILLING               P O BOX 630374                                                                  BALTIMORE         MD           21263
    NATIONAL GEOGRAPHIC SOCIETY             NGS IMAGE SALES               PO BOX 417120                                                                   BOSTON            MA           02241-7120
    NATIONAL GEOGRAPHIC SOCIETY             NGS IMAGE SALES               PO BOX 630352                                                                   BALTIMORE         MD           21263
    NATIONAL GEOGRAPHIC SOCIETY             ATTN KIMBERLY MRAOVICH        1145 17TH ST NW                                                                 WASHINGTON        DC           20036
    NATIONAL GEOGRAPHIC SOCIETY             1145 17TH STREET N W          RIGHTS AND PERMISSIONS                                                          WASHINGTON        DC           20036-4688
    NATIONAL GEOGRAPHIC SOCIETY                                           1145 17TH ST NW                                                                 WASHINGTON        DC           20036
    NATIONAL GEOGRAPHIC SOCIETY                                           PO BOX 417120                                                                   BOSTON            MA           02241-7120
    NATIONAL GEOGRAPHIC SOCIETY                                           PO BOX 630352                                                                   BALTIMORE         MD           21263
    NATIONAL GEOGRAPHIC SOCIETY                                           P O BOX 630374                                                                  BALTIMORE         MD           21263
    NATIONAL GEOGRAPHIC SOCIETY                                           RIGHTS AND PERMISSIONS                                                          WASHINGTON        DC           20036-4688
                                                                          444 NORTH CAPITOL STREET SUITE
    NATIONAL GOVERNORS ASSOC                                              267                                                                             WASHINTON         DC           20001
    NATIONAL HEAD START ASSN                                              P O BOX 890080                                                                  CHARLOTTE         NC           28289
    NATIONAL HERITAGE ACADEMIES                                           3850 BROADMOOR AVE, SE - STE
    INC                                                                   201                                                                             GRAND RAPIDS      MI           49512

    NATIONAL HISTORY BEE AND BOWL                           209 WEST GLEN AVENUE                                                                          RIDGEWOOD         NJ           07450
    NATIONAL HOUSEWARES MANGRS DBA INTERNATIONAL HOUSEWARES
    ASSN                          ASSN                      6400 SHAFER COURT STE 650                                                                     ROSEMONT          IL           60018




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   319 of 488                                                                                     1:26 PM
                                                         12-12171-reg              Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                      Pg Creditor
                                                                                                                          327 Matrix
                                                                                                                                  of 519
                                                                                                                           First Class Service List


              CreditorName                              CreditorNoticeName                       Address1                       Address2              Address3                City        State       Zip                Country
    NATIONAL INSTITUTE FOR
    CONTINUING                                  EDUCATION INC                   2476 W BAYSHORE ROAD                                                             GULF BREEZE         FL           32561

    NATIONAL LEARNING SYSTEMS INC                                               P O BOX 1815                                                                     STILLWATER          OK           74076

    NATIONAL LOUIS UNIVERSITY                   ATTN RR EXHIBITOR REGISTRATION 620 TOLLGATE RD                                                                   ELGIN               IL           60123
    NATIONAL LOUIS UNIVERSITY                                                  1000 CAPITOL DRIVE                  STUDENT FINANCIAL OFFICE                      WHEELING            IL           60090
    NATIONAL LOUIS UNIVERSITY                                                  620 TOLLGATE RD                                                                   ELGIN               IL           60123
    NATIONAL MARITIME MUSEUM                                                   GREENWICH                                                                         LONDON ENGLAND                   SE10 9NF     United Kingdom
    NATIONAL MERIT SCHOLARSHIP
    CORP                                                                        P O BOX 99389                                                                    CHICAGO             IL           60693-9389
    NATIONAL MIDDLE SCHOOL                      ASSOCIATION FOR MIDDLE LEVEL
    ASSOCIATION                                 EDUCATION                       4151 EXECUTIVE PKWY SUITE 300                                                    WESTERVILLE         OH           43081
    National MS Society Colorado-Wyoming
    Chapter                                                                     900 S. Boradway                    2nd Floor                                     Denver              CO           80209
    NATIONAL MS SOCIETY NYC
    CHAPTER                                                                     733 THIRD AVENUE 3RD FLOOR                                                       NEW YORK            NY           10017
    NATIONAL MULTIPLE SCLEROSIS
    SOCIETY                                                                     1 REED STREET #200                                                               PHILADELPHIA        PA           19147
    National Multiple Sclerosis Society                                         733 Third Avenue                                                                 New York            NY           10017
    NATIONAL MUSEUM OF TANZANIA                 SHAABAN ROBERT STREET           PO BOX 511                                                                       DAR ES SALAAM                                 Tanzania
    NATIONAL MUSEUM OF WOMEN IN
    THE ARTS                                                                    1250 NEW YORK AVENUE NW                                                          WASHINGTON          DC           20005
    NATIONAL MUSEUMS AND                        ULSTER FOLK & TRANSPORT
    GALLERIES OF NI                             MUSEUM                          CULTRA HOLYWOOD                                                                  CO DOWN                          BT18 0EU     Ireland
    NATIONAL MUSUEM OF AFRICAN                  SMITHSONIAN INSTITUTE RM 2157
    ART                                         MRC 708                         PO BOX 37012                                                                     WASHINGTON          DC           20013-7012
    NATIONAL PHILANTHROPIC TRUST                                                P O BOX 650543                     DBA BREAST CANCER 3-DAY                       DALLAS              TX           75265-0543
    NATIONAL PORTRAIT GALLERY                                                   ST MARTINS PLACE                                                                 LONDON                           WC2H0HE      United Kingdom
    National Principals Resource Center                                         1615 Duke Street                                                                 Alexandria          VA           22314
    NATIONAL PUMP & COMPRESSOR
    LTD                                                                         P O BOX 21160                                                                    BEAUMONT            TX           77720
    National Registered Agents Inc                                              PO Box 927                                                                       West Windsor        NJ           08550-0927
    NATIONAL RETIREMENT PARTNERS
    FINANCIAL                                   DBA NRP ADVISORS INC            209 NORTH MAIN STREET                                                            BRYAN               OH           43506
    NATIONAL RETIREMENT PLAN
    ADVISORS                                    DBA NRP ADVISORS INC            P O BOX 998                                                                      BRYAN               OH           43506
    NATIONAL SAFETY COUNCIL                                                     P O BOX 558                                                                      ITASCA              IL           60143-0558
    National School Boards Assn                 Attn Accounts Payable           1680 Duke Street                                                                 Alexandria          VA           22314-3455

    NATIONAL SCHOOL BOARDS ASSOC                                                P O BOX 1807                                                                     MERRIFIELD          VA           22116-8007
    NATIONAL SCHOOL DISTRICT                                                    1500 N AVENUE                                                                    NATIONAL CITY       CA           91950-4827
    NATIONAL SCHOOL SAFETY AND
    SECURITY                      SERVICES                                      PO BOX 10123                                                                     CLEVELAND           OH           44111
    NATIONAL SCHOOL SUPPLY &
    EQUIPMENT ASSN                                                              8380 COLLESVILLE RD STE 250                                                      SILVER SPRING       MD           20910
    NATIONAL SCIENCE EDUCATION
    LEADERSHIP                    ASSOCIATION                                   2260 THUMB BUTTE RD                                                              PRESCOTT            AZ           86305
    NATIONAL SCIENCE TEACHERS
    ASSN                                                                        P O BOX 90214                                                                    WASHINGTON          DC           20090-0214
    NATIONAL SCIENCE TEACHERS
    ASSOCIATION                   ATTN ACCOUNTS RECEIVABLE                      PO BOX 90214                                                                     WASHINGTON          DC           20090-0214
    NATIONAL SCORING SERVICES INC                                               PO BOX 883040 30875 ELK LANE                                                     STEAMBOAT SPRINGS   CO           80488
                                                                                8225 BRECKVILLE RD, BLDG 3, STE
    NATIONAL SOFTWARE ESCROW INC                                                105                                                                              BRECKSVILLE         OH           44141
    National Staff Development Cou                                              504 South Locust Street                                                          Oxford              OH           45056
    NATIONAL STAFF DEVELOPMENT
    COUCIL                                                                      504 S LOCUST STREET                                                              OXFORD              OH           45056
    NATIONAL UNION                 AIGRM SPECIAL BUSINESS                       P O BOX 35657                                                                    NEWARK              NJ           07193

    National Union Fire Ins. Co. of Louisiana                                   99 High Street                                                                   Boston              MA           02110-2320
    National Union Fire Insurance Co.                                           99 High Street                                                                   Boston              MA           02110-2320
    National Union Fire Insurance Company
    of Pittsburgh, PA
    National Union Fire Insurance Company
    of Pittsburgh, Pa.                                                          99 High Street                                                                   Boston              MA           02110-2320
    NATIONAL UNIVERSITY                                                         9388 LIGHTWAVE AVE                                                               SAN DIEGO           CA           92123
    NATIONAL VIETNAM VETERANS ART
    MUSEUM                                                                      1801 SOUTH INDIANA AVENUE                                                        CHICAGO             IL           60616




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                          320 of 488                                                                                          1:26 PM
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                                                                                                                       of 519
                                                                                                                  First Class Service List


                 CreditorName                      CreditorNoticeName                 Address1                         Address2                        Address3                       City         State       Zip              Country
                                            C/O KELLY L SENSER - NTNL
    NATIONAL WILDLIFE FEDERATION            WILDLIFE MAG                  11100 WILDLIFE CENTER DR                                                                        RESTON              VA           20190-5362
    NATIONAL WORK READINESS
    COUNCIL INC                                                           916 SHADOWLAWN DR                                                                               TALLAHASSEE         FL           32312
    NATIONAL YOUTH EMPLOYMENT
    COALITION                     ATTN MEMBERS FORUM 2011                 1836 JEFFERSON PL NW                                                                            WASHINGTON          DC           20036
    NATIONWIDE - SPECIALTY
    PRODUCTS                      ATTN APRIL VANDERVORT                   ONE NATIONWIDE PLAZA 1-11-401                                                                   COLUMBUS            OH           43215
    NATL ARCHIVES TRUST FUND      AUDIOVISUAL ARCHIVES                    COLUMBIA POINT                                                                                  BOSTON              MA           02125
    NATL AT RISK EDUCTL NETWRK -
    NARENWICH                     CESA 7 HIGH SCHOOL                      217 N MADISON STREET                                                                            GREEN BAY           WI           54301
    NATL AT RISK EDUCTL NETWRK -
    NARENWICH                     ATTN KIM HOFFMAN                        217 N MADISON STREET                                                                            GREEN BAY           WI           54301
    NATNL ASSOC OF CATECHETICAL                                                                                                              ARCHDIOCESE OF GALVESTON -
    MEDIA PROF                    ATTN DIANE OCONNOR                      2403 HOLCOMBE BLVD                                                 HOUSTON                      HOUSTON             TX           77021-2023
    NATNL ASSOC OF FLEET
    ADMINISTRATORS                FLEET MANAGEMENT ASSOCIATION            P O BOX 11383                                                                                   NEWARK              NJ           07101-4383
    NATNL SCIENCE EDUCN           LONG ISLAND SCI EDUCN LDRSHP
    LEADERSHIP ASSN               ASSN                                    991 SOUTH CARLEY CT               ATTN ELLIOTT SOLOMON                                          N BELLMORE          NY           11710
    NATNL VOCATIONAL TECHNCL EDUC NATNL CAREER TECHNCL EDUC
    FNDTN                         FNDTN                                   8484 GEORGIA AVENUE STE 320                                                                     SILVER SPRING       MD           20910
    NATRONA COUNTY SD # 1         CENTRAL SERVICES                        970 N GLENN ROAD                                                                                CASPER              WY           82601
    NATURAL ENVIRONMENT           RCUK SHARED SERVICES CENTER
    RESEARCH COUNCIL              LTD                                     NORTH STAR HSE NORTH STAR AVE                                                                   SWINDON WILTSHIRE   Wiltshire    SN2 1FF      United Kingdom
    NATURAL EXPOSURES INC         DANIEL J COX                            707 BRIDGER DRIVE SUITE D                                                                       BOZEMAN             MT           59715-2210
    NATURAL HISTORY MAGAZINE INC                                          105 W HIGHWAY 54 STE 265                                                                        DURHAM              NC           27713-6650
    NATURAL HISTORY MUSEUM OF LOS
    ANGELES                       COUNTY FOUNDATION                       900 EXPOSITION BLVD                                                                             LOS ANGELES         CA           90007
    NATURAL HISTORY MUSEUM
    TRADING CO                    ATTN FINANCE DEPARTMENT                 CROMWELL ROAD                                                                                   LONDON                           SW7 5BD      United Kingdom

    NATURAL SCIENCES IMAGE LIBRARY                                        PO BOX 100 LINCOLN                                                                              CANTERBURY                                    New Zealand
    NATURAL SELECTION STOCK                                               2003 SOUTHERN BLVD SE STE # 102-
    PHOTO                                                                 210                                                                                             RIO RANCHO          NM           87124
    NATURAL VISIONS                HEATHER ANGEL                          6 VICARAGE HILL                                                                                 FARNHAM             Surrey       GU9 8HG      United Kingdom
    NATURE AMERICA INC             DBA SCIENTIFIC AMERICAN                75 VARICK STREET                 ATTN KAREN TUCKER                                              NEW YORK            NY           10017
    NATURE CONSERVANCY                                                    P O BOX 458                                                        ATTN RUTH RICHARDS           PAWHUSKA            OK           74058

    NATURE CONSERVANCY TN                   STEVE BASKAUF VANDERBILT UNIV VU STATION B 351634               ATTN BOB HAMILTON                                             NASHVILLE           TN           37235
    NATURE PICTURE LIBRARY LTD                                            5A GREAT GEORGE STREET                                                                          BRISTOL                          BS1 5RR      United Kingdom
    NAUDIA SIMPSON                                                        1907 VENTURA DRIVE                                                                              JACKSON             MS           39204
    NAUMAN APRIL D                                                        1179 WENONAH AVE                                                                                OAK PARK            IL           60304
    NAUMAN RANA                                                           609 RAPHAEL DR                                                                                  CORONA              CA           92882
    NAVAJIVAN TRUST                         P O BOX NAVAJIVAN             AHMEDABAD 380 014                                                                               INDIA                                         India
    Navajo Country                          Accounts Payable              4496 Shoe Low Lake Road                                                                         Lakeside            AZ           85929
    NAVARRE SCOTT MOMADAY                                                 13219 FOX GLOVE ST                                                                              WINTER GARDEN       FL           34787
    NAVARRO COLLEGE                                                       3200 W 7TH AVENUE                                                                               CORSICANA           TX           75110
    NAVIS COMMUNICATIONS INC                                              616 E HILLSIDE AVENUE                                                                           BARRINGTON          IL           60010
    NAVISITE INC                                                          P O BOX 10138                                                                                   UNIONDALE           NY           11555
    NAVTA ASSOCIATES INC                    ATTN JODI NAVTA               815 W WEED STREET                                                                               CHICAGO             IL           60642
                                                                          JARDINES DE LA FUENTE KENNEDY
    NAYDA I SOTO JIMENEZ                                                  132                                                                                             TOA ALTA            PR           00953
    NAYLOR PHILLIP C                                                      4449 NORTH PROSPECT AVE                                                                         SHOREWOOD           WI           53211
    NAYLOR PUBLICATIONS                     ACCTS RECEIVABLE              P. O. BOX 847865                                                                                DALLAS              TX           75284
    NAYLOR PUBLICATIONS INC                                               5950 NW 1ST PL                                                                                  GAINESVILLE         FL           32607
    Naylor Publications, Inc                                              PO Box 847865                                                                                   Dallas              TX           75284-7865
    Nazareth Area School District           Accounts Payable              1 Education Plaza                                                                               Nazareth            PA           18064
    NBC UNIVERSAL INC                       DIGITAL MEDIA DISTRIBUTIONS   LOCKBOX # 402971                  BANK OF AMERICA                                               ATLANTA             GA           30384-2971
    NBC UNIVERSAL INC                       DBA NBC NEWS ARCHIVES         30 ROCKERFELLER PLAZA             ARCH-ROOM 497S                                                NEW YORK            NY           10112
    NBC UNIVERSAL INC                                                     LOCKBOX # 402971                  BANK OF AMERICA                                               ATLANTA             GA           30384-2971
    NC CAP                                                                3739 NATIONAL DRIVE                                                                             RALEIGH             NC           27612
    NC DIV OF TEXTBOOKS DEPT PUB
    INST
    Nc Falckenberg                                                        914 West Noyes                                                                                  Arlington Hts       IL           60005
    NC PUBLIC CHARTER SCHOOLS
    ASSN                                                                  2132 GREENBROOK PKWY                                                                            WEDDINGTON          NC           28104
    NCAMS                                   USE 1-12083                   30 ROCKAWAY AVE                                                                                 DEER PARK           NY           11729

    NCC GROUP INC                                                         1731 TECHNOLOGY DRIVE SUITE 880                                                                 SAN JOSE            CA           95110
    NCDOR                                                                 PO Box 25000                                                                                    Raleigh             NC           27640-0520



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 321 of 488                                                                                                          1:26 PM
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                                                                                                                     First Class Service List


              CreditorName                            CreditorNoticeName               Address1                           Address2              Address3             City            State       Zip             Country
    NCIS INC                                                               19309 SHELDON STREET                                                            ORLANDO              FL           32833-5477
    NCS PEARSON                                                            4484 COLLECTIONS CENTER DRIVE                                                   CHICAGO              IL           60693
    NCS PEARSON INC                                                        13036 COLLECTION CENTER DR                                                      CHICAGO              IL           60693
    NCS PEARSON INC                                                        2510 NORTH DODGE ST                                                             IOWA CITY            IA           52245-9555
    NCS-PEARSON                                                            13040 COLLECTION CENTER DR                                                      CHICAGO              IL           60693
    NCTE                                                                   1111 W Kenyon Road                                                              Urbana               IL           61801-1096
    NE COLOR INC                            DBA NORTHEAST COLOR INC        280 HERITAGE AVENUE UNIT E                                                      PORTSMOUTH           NH           03801
                                            DBA DEPLOID/
    NEAD LLC                                DIGITALSIGNAGE.COM             2031 DEXTER AVENUE NORTH # 1                                                    SEATTLE              WA           98109
    NEAL BASCOMB                                                           39 PLAZA STREET WEST, APT # 3C                                                  BROOKLYN             NY           11217
    NEAL CAPONE                                                            7996 SPRUCE HILL DRIVE                                                          CLAY                 NY           13041
    NEAL KATZ                                                              1201 GORDON TERRACE                                                             DEERFIELD            IL           60015
    Nealon, Terence
                                            C/O AMERICAN COLLEGE OF
    NEAR EAST SOUTH ASIA                    GREECE                         GRAVIAS 6 AGHIA PARASKEVI                                                       ATHENS                            15342        Greece
    NEBRASKA ASSN OF TCHRS OF
    MATHEMATICS                                                            2504 9TH AVENUE                  ATTN PARI FORD                                 KEARNEY              NE           68849
    NEBRASKA ASSOC OF SCHOOL
    BOARDS                                                                 1311 STOCKWELL                                                                  LINCOLN              NE           68502
    NEBRASKA ASSOC OF TEACHERS
    OF SCIENCE                                                             HUMPHREY PUB SCHS, BOX 278       ATTN JAMES KRIZ                                HUMPHREY             NE           68642
    NEBRASKA COUNCIL OF SCH
    ADMINISTRATORS                                                         455 S 11TH STREET STE A                                                         LINCOLN              NE           68508
    Nebraska Dept of Revenue                Attn Bankruptcy Unit           PO Box 94818                                                                    Lincoln              NE           68509-4818
    NEBRASKA DEPT OF REVENUE                                               BOX 98923                                                                       LINCOLN              NE           68509-8923
    Nebraska Dept Of Revenue                                               PO Box 94818                                                                    Lincoln              NE           68509-4818
    NEBRASKA EDUCATION
    TECHNOLOGY ASSN                                                        1277 UNIVERSITY OF OREGON                                                       EUGENE               OR           97403
    NEBRASKA INTERNATIONAL                                                                                  ATTN WENDY BRENNAN- MILLARD N
    LANGUAGE ASSN                                                          2828 S 139TH PLAZA               MID SCH                                        OMAHA                NE           68144
    NEBRASKA INTL ASSOC OF
    REHABILITATION                          PROFESSIONALS                  P O BOX 390515                   ATTN PAULETTE FREEMAN                          OMAHA                NE           68139
    Nebraska Secretary of State             John Gale                      Room 1305 State Capitol          PO Box 94608                                   Lincoln              NE           68509
    NEBRASKA STATE COUNCIL FOR
    THE SOCIAL                              STUDIES                        15808 PATRICK AVE                                                               OMAHA                NE           68116
    NEBRASKA STATE COUNCIL FOR
    THE SOCIAL                              ATTN MICHAEL YOUNG             15808 PATRICK AVE                                                               OMAHA                NE           68116
    NEBRASKA STATE HISTORICAL
    SOCIETY                                                                P O BOX 82554                                                                   LINCOLN              NE           68501-2554
    NEBRASKA STATE READING ASSN             UNIVERSITY OF NEBRASKA         COLLEGE OF ED BLDG                                                              KEARNEY              NE           68849
    NEBRASKA STATE READING ASSN             ATTN TOMMY HANSEN              COLLEGE OF ED BLDG                                                              KEARNEY              NE           68849
    Nechele Hill                                                           2201 Rosedell Place                                                             Fort Washington      MD           20744
    NEDERLANDS INSTITUUT VOOR               OORLOGSDOCUMENTATIE            HERENGRACHT 380                                                                 AMSTERDAM                         1016 CJ      Netherlands
    NEEDIEST KIDS                                                          8283 GREENSBORO DRIVE                                                           MCLEAN               VA           22101
    Neel Heisel                                                            3705 Apache Forest Dr                                                           Austin               TX           78739
    NEIL DSOUZA                                                            7815 MCCALLUM BLVD APT # 4202                                                   DALLAS               TX           75252
    Neil Greene                                                            77 Beacon Street                 Unit 4                                         Boston               MA           02108
    NEIL J ANDERSON                                                        478 WEST 1600 SOUTH                                                             OREM                 UT           84058

    NEIL JOHNSON                            DBA NEIL JOHNSON PHOTOGRAPHY 1301 LOUISIANA AVE                                                                SHREVEPORT           LA           71101
    Neil Khaund                                                          550 Liberty Street                 2302                                           Braintree            MA           02184
    NEIL KNOX                                                            5385 WILD OAK DRIVE                                                               EAST LANSING         MI           48823
    NEIL POLLACE                                                         1451 W BALMORAL AVE, # 2N                                                         CHICAGO              IL           60640
    NEIL RIGLER                                                          2308 LAWNDALE AVENUE                                                              EVANSTON             IL           60201
                                                                                                            GELLER FAMILY OFFICE SERVICES
    NEIL SIMON                              C/O MARLO PETTIGREW            909 3RD AVENUE 15TH FLOOR        LLC                                            NEW YORK             NY           10022
    NEILL KENNETH                                                          460 TENNESSEE ST                                                                MEMPHIS              TN           38103
    NEIRY MALAVE GUZMAN                                                    P O BOX 396                                                                     LAS PIEDRAS          PR           00771
    NEISWORTH JOHN T                                                       JULIAN WOODS                                                                    JULIAN               PA           16844
    NELCO LLC                                                              472 OCEAN RIDGE PKWY SW                                                         OCEAN ISL BCH        NC           28469-5439
    Nelda Overton                                                          1324 Barbara Street                                                             Mesquite             TX           75149
    Nelda Peace                                                            1513 BEAUFORT PLACE                                                             THOMPSONS STATION    TN           37179
    NELDA WELLS SPEARS                      TAX COLLECTOR                  PO BOX 149328                                                                   AUSTIN               TX           78714-9328
    NELL K DUKE                                                            525 FOURTH STREET                                                               ANN ARBOR            MI           48103
    Nellie D Ellington                                                     Po Box 617                                                                      Webb                 MS           38966
    NELSON A THOMSON COMPANY                                               1120 BIRCHMOUNT ROAD             ATTN ROYALTY DEPT                              SCARBOROUGH          ON           M1K 5G4      Canada
    NELSON AUSTRALIA PTY LTD                                               80 DORCAS ST LVL6                FELICIA PRANOTO                                SOUTHBANK VICTORIA                03205        Australia
    NELSON CANADA                                                          1120 BIRCHMOUNT ROAD                                                            SCARSBOROUGH, ON     ON           M1K 5G4      Canada
    NELSON CIURO SANCHEZ                    URB PORTAL DE LOS PINOS        CALLE 2 D63                                                                     SAN JUAN             PR           00926
    NELSON COMPANIES LTD                                                   75 THIRD AVENUE                                                                 WALTHAM              MA           02451



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    322 of 488                                                                                        1:26 PM
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                                                                                                                         of 519
                                                                                                                        First Class Service List


               CreditorName                           CreditorNoticeName               Address1                              Address2                         Address3                        City        State       Zip           Country
    NELSON EDUCATION LTD                                                   1120 BIRCHMOUNT RD                                                                                   TORONTO              ON           M1K 5G4      Canada
    NELSON F JONES                                                         9808 E ROCK RIDGE CT                                                                                 TUCSON               AZ           85749-7907
    NELSON ITP (THOMAS NELSON
    AUST)                                                                  102 DODDS STREET                                                                                     S MELBOURNE          Victoria     03205        Australia
    NELSON MARY CHENEY                                                     4274 STONECLIFF DRIVE                                                                                EVERGREEN            CO           80439
    NELSON RALPH                                                           CARLOS III 17 4TH FLOOR DCHA       ATTN MORENO                                                       PAMPLONA                          31002        Spain
    NELSON THORNES                                                         27 BATH ROAD                       DELTA PLACE                                                       CHELTENHAM                        GL53 7TH     United Kingdom
    NELSON THORNES                                                         DELTA PLACE, 27 BATH ROAD                                               CHELTENHAM GLOS              Gloucestershire                   GL53 7TH     United Kingdom
    NELVANA                                                                135 LIBERTY STREET                                                                                   TORONTO              ON           M6K 1A7      Canada
    NENAD JAKESEVIC                                                        401 E 86TH STREET                                                                                    NEW YORK             NY           10028
    NESBITT GRAPHICS INC                                                   555 VIRGINIA DR                                                                                      FT WASHINGTON        PA           19034
    NESI                                                                   27 CONGRESS STREET, # 310                                                                            SALEM                MA           01970
    NESTLE WATERS NORTH AMERICA             DBA ARROWHEAD MTN SPRING
    INC                                     WATER                          P O BOX 856158                                                                                       LOUISVILLE           KY           40285
    NETCENTRIC GROUP                                                       7 SUTTON PLACE                                                                                       SWAMPSCOTT           MA           01907
    NETCOM CONSULTING LLC                                                  6207 BEE CAVES RD # 155                                                                              AUSTIN               TX           78746
    NETGALLEY LLC                                                          44 MERRIMAC ST                                                                                       NEWBURYPORT          MA           01950
    NETTLE CREEK SCHOOL
    CORPORATION                                                            297 EAST NORTHMARKET ST                                                                              HAGERSTOWN           IN           47346
    NETTWERK ONE MUSIC LTD                                                 1650 WEST 2ND AVENUE               ATTN KAREN DOWNING                                                VANCOUVER            BC           V6J 4R3      Canada
    NETVERSANT                                                             DEPT 9584                                                                                            LOS ANGELES          CA           90084
    NETVERSANT                                                             PO BOX 823207                                                                                        PHILADELPHIA         PA           19182
    NETVERSANT NEW ENGLAND INC              WELLS FARGO LOCKBOX SERV       BOX 201782 2975 REGENT BLVD                                                                          IRVING               TX           75063
    NETWORK FOR EDUCATIONAL
    ACCESS LLC                                                             1545 MOORLAND DRIVE                                                                                  SAN DIEGO            CA           92109
    NETWORK MEDIA PARTNERS INC              NETWORK PUBLICATIONS INC       11350 MCCORMICK ROAD STE 900                                                                         HUNT VALLEY          MD           21031
    NETWORK OF IOWA CHRISTIAN
    HOME                                    EDUCATORS                      P O BOX 158                                                                                          DEXTER               IA           50070
    NETWORK SOLUTIONS                                                      12808 GRAN BAY PKWY WEST                                                                             JACKSONVILLE         FL           32258
    NEUBERGER BER FXED INCOM
    NEVADA ASSN FOR CAREER &
    TECHNICAL EDU                                                          6065 ELKHORN ROAD                  ATTN KELLI COMPTON                                                LAS VEGAS            NV           89131
    NEVADA ASSN OF SCHOOL
    ADMINISTRATORS                                                         P O BOX 750159                                                                                       LAS VEGAS            NV           89136
    NEVADA DEPARTMENT OF
    EDUCATION                               ATTN JERRY HOLSCLAW            700 E FIFTH STREET                                                                                   CARSON CITY          NV           89701-5096
    Nevada Dept of Taxation                 Attn Bankruptcy Dept           1550 College Pkwy                  Ste 115                                                           Carson City          NV           89706

    NEVADA DEPT OF TAXATION                                                1550 COLLEGE PARKWAY, STE 115                                                                        CARSON CITY          NV           89706-7937
    NEVADA DEPT OF TAXATION                                                P O BOX 52674                                                                                        PHOENIX              AZ           85072
    Nevada Dept. of Taxation                                               1550 E. College Parkway            Suite 115                                                         Carson City          NV           89706
    NEVADA READING WEEK
    CONFERENCE                              ATTN SALLY COULLAHAN           6685 CHESTERFIELD LANE                                                  BILLINGHURST MIDDLE SCHOOL   RENO                 NV           89523
    Nevada Secretary of State                                              202 North Carson Street                                                                              Carson City          NV           89701-4201
                                                                           555 EAST WASHINGTON AVENUE
    NEVADA UNCLAIMED PROPERTY      OFFICE THE STATE TREASURER              STE 4200                                                                                             LAS VEGAS            NV           89101
    NEVADA WIER                                                            P O BOX 8032                                                                                         SANTA FE             NM           87504
    NEVAS NEVAS CAPASSE & GERARD
    LLC                                                                    246 POST ROAD EAST, P O BIOX 791                                                                     WESTPORT             CT           06881-0791
    NEVER ENDING STORY                                                     8550 W CHARLESTON BLVD                                                                               LAS VEGAS            NV           89117
    Neville A. Williams                                                    38 Endicott Street                                                                                   Lynn                 MA           01902
    New Albany-Floyd County School Attn Pam Crump                          2813 Grant Line Road                                                                                 New Albany           IL           47150
    NEW ATLANTIC INDEPENDENT
    BOOKSELLER ASSN                                                        2667 HYACINTH STREET                                                                                 WESTBURY             NY           11590
    NEW BRAND AGENCY GROUP                                                 2525 ARAPAHOE AVE E4277            MARK MALATESTA                                                    BOULDER              CO           80302
    New Brunswick Dept of Finance                                          Centennial Bldg Rm 371 3rd Fl      670 King St                                                       Fredericton          NB           E3B 1G1      Canada
    New Brunswick Education        Attn Cynthia Urquhart                   1135 Prospect St                                                                                     New Brunswick        FR           E3B 5H1      Canada
    NEW CANAAN COUNTRY SCHOOL                                              545 PONUS RIDGE                                                                                      NEW CANAAN           CT           06840

    NEW DIMENSION MEDIA                                                    307 N MICHIGAN AVENUE SUITE #500                                                                     CHICAGO              IL           60601
    NEW DIRECTIONS PUB CORP                                                80 EIGHTH AVE                                                                                        NEW YORK             NY           10011
    NEW DIRECTIONS PUBLIC CORP                                             80 EIGHTH AVENUE                                                                                     NEW YORK             NY           10011-5126
    NEW DIRECTIONS PUBLISHING                                              80 EIGHTH AVE                                                                                        NEW YORK             NY           10011
    NEW EGLAND ASSOCIATION OF
    TEACHERS OF                   ENGLISH                                  11 HIDEAWAY ROAD                                                        DEBBIE WOELFLEIN             NASHUA               NH           03064
    NEW ENGLAND ASSN OF CHIEFS OF
    POLICE INC                                                             P O BOX 130149                                                                                       BOSTON               MA           02113-0003
    NEW ENGLAND ASSO OF SCH
    SUPERINTENDENTS                                                        14 HAMILTON ROAD                                                                                     PEABODY              MA           01960




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                       323 of 488                                                                                                          1:26 PM
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                                                                                                                           of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2            Address3              City          State       Zip            Country
    NEW ENGLAND ASSOC OF
    TEACHERS OF ENG                         ATTN DICK WEST                 843 GOULD HILL RD                                                               CONTOOCOOK          NH           03229-2816
    NEW ENGLAND BOOKSELLERS
    ASSOC                                                                  297 BROADWAY #212                                                               ARLINGTON           MA           02474
    NEW ENGLAND EMPLOYEE
    BENEFITS                                COUNCIL                        240 BEAR HILL ROAD STE 102                                                      WALTHAM             MA           02451
    NEW ENGLAND INDEPENDENT
    BOOKSELLERS                             ASSN                           297 BROADWAY # 212                                                              ARLINGTON           MA           02474
    New England Legal Search
    NEW ENGLAND LEGAL SEARCH                                               280 COMMONWEALTH AVE                                                            BOSTON              MA           02116
    NEW ENGLAND MAINSTREET
    RENOVATIONS                                                            344 MAIN STREET                                                                 HAMPSTEAD           NH           03841
    NEW ENGLAND PUBLISHING                                                 PO BOX 361                       ATTN E FROST KNAPPMAN                          CHESTER             CT           06412-0361
    NEW ENGLAND READING
    ASSOCIATION                                                            P O BOX 1997                                                                    WESTERLY            RI           02891
    New England School Dec                  Jill Norton                    28 Lord road                                                                    Marlborough         MA           01752
    NEW ENGLAND TYPOGRAPHIC
    SERVICE                                                                206 WEST NEWBERRY RD                                                            BLOOMFIELD          CT           06002
    NEW ENGLAND TYPOGRAPHIC
    SERVICE INC                                                            206 WEST NEWBERRY ROAD                                                          BLOOMFIELD          CT           06002-1308
    NEW ENGLAND WILD FLOWER
    SOCIETY INC                                                            180 HEMENWAY RD                                                                 FRAMINGHAM          MA           01701
    NEW ENGLAND WILDFLOWER
    SOCIETY                                                                180 HEMENWAY RD                                                                 FRAMINGHAM          MA           01701-2636
    New Filing Section                      Division of Corporations       PO Box 6327                                                                     Tallahassee         FL           32314
    NEW HAMPSHIRE ASSN FOR
    SUPERVISION                             & CURRICULUM DEVELOPMENT       P O BOX 66                                                                      PETERBOROUGH        NH           03458

    NEW HAMPSHIRE ASSOC OF WORLD LANGUAGE TEACHERS                         10 REMINGTON RD                                                                 MT VERNON           NH           03057

    NEW HAMPSHIRE ASSOC OF WORLD            ATTN LESLIE ANTON              10 REMINGTON RD                                                                 MT VERNON           NH           03057
    NEW HAMPSHIRE CNCL FOR SOCIAL
    STUDIES                                 ATTN CHRIS LEWIS               82 PLEASANT ST                                                                  FRANKLIN            NH           03235
    New Hampshire Dept of Educatio          Accounts Payable               101 Pleasant Street                                                             Concord             NH           03301
    New Hampshire Dept of Revenue           Attn Collection Division       109 Pleasant St                                                                 Concord             NH           03301
    NEW HAMPSHIRE HISTORICAL
    SOCIETY                                                                30 PARK STREET                                                                  CONCORD             NH           03301
    New Hampshire Insurance Co.                                            99 High Street                                                                  Boston              MA           02110-2320

    NEW HAMPSHIRE PUBLIC RADIO INC                                         2 PILLSBURY STREET, 6TH FL       C/O DEVELOPMENT DEPT                           CONCORD             NH           03301
    NEW HAMPSHIRE TCHRS OF
    MATHEMATICS                             ATTN CONNIE UPSCHULTE          3 WHEATON DR                                                                    NASHUA              NH           03063
    NEW HAMPSHIRE WRITERS
    PROJECT                                                                2500 NORTH RIVER ROAD                                                           MANCHESTER          NH           03106
    NEW HAVEN MOVING EQUIPMENT
    CORP OF IL                                                             4820 SOUTHPOINT DR SUITE 102                                                    FREDERICKSBURG      VA           22407
    New Haven Public Schools                                               54 Meadows St                                                                   New Haven           CT           06519
    NEW HOLLAND PUBLISHING                                                 PO BOX 1144                                                                     CAPE TOWN                        08000        South Africa
    New Horizons CLC of Denver,Inc                                         Dept. 2853                                                                      Los Angeles         CA           90084-2853
    NEW HORIZONS COMPUTER LC OF
    BOSTON                                                                 43 WEST 42ND STREET                                                             NEW YORK            NY           10036
    NEW HORIZONS IN EDUCATION INC                                          3101MIRAMAR ROAD                                                                SACRAMENTO          CA           95821
    NEW IMAGE MEDIA LLC                     DBA FOOTSTEPS 2 BUSINESS       3125 CATHEDRAL AVE NW                                                           WASHINGTON          DC           20008
    NEW JERSEY ASSOC OF FED PROG
    ADMSTRS                                 ATTN DANIEL LOGGI              P O BOX 78                                                                      NORTHFIELD          NJ           08225
    NEW JERSEY ASSOC OF
    KINDERGARTEN                            EDUCATORS INC                  949 SUMMIT AVE                   ATTN LYNN BILMAN                               WESTFIELD           NJ           07090
    NEW JERSEY ASSOC OF LIFE LONG
    LEARNING                                ATTN EXHIBITS                  16 SOUTH AVENUE WEST STE 252                                                    CRANFORD            NJ           07016
    NEW JERSEY ASSOC OF SCHOOL
    PSYCHOLOGISTS                           ATTN RUTH MARINO               5330 N SYDENHAM ST                                                              PHILADELPHIA        PA           19141
    NEW JERSEY ASSOCIATION FOR
    THE EDUC                                OF YOUNG CHILDREN              P O BOX 426                      ATTN HELEN MUSCATO                             MONMOUTH JUNCTION   NJ           08852
    NEW JERSEY COUNCIL FOR
    EXCEPTIONAL                             CHILDREN                       233 LAFAYETTE AVENUE                                                            CHATHAM             NJ           07928
    NEW JERSEY COUNCIL FOR THE                                                                              ATTN ARLENE GARDNER - RUTGERS
    SOC STUDIES                                                            LUCY STONE HALL B208-216         UNIV                                           PISCATAWAY          NJ           08854

    NEW JERSEY DIVISION OF TAXATION P O BOX 257 - CORP BUS TX              REVENUE PROCESSING CTR                                                          TRENTON             NJ           08646-0257
    New Jersey Division of Taxation Attn Bankruptcy Dept                   PO Box 245                       50 Barrack St                                  Trenton             NJ           08646-0269



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      324 of 488                                                                                    1:26 PM
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                                                                                                                     332 Matrix
                                                                                                                             of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                       Address2              Address3              City        State       Zip           Country

    NEW JERSEY DIVISION OF TAXATION                                        REVENUE PROCESSING CTR                                                           TRENTON           NJ           08646-0257
    New Jersey Institute of Tech -Gourmet
    Dining Services                       Attn Thorin Aiello               150 Bleeker St                                                                   Newark            NJ           07102

    NEW JERSEY LITTER CONTROL FEE                                          P O BOX 274                                                                      TRENTON           NJ           08646
    NEW JERSEY MIDDLE SCHOOL      TRADE EXHIBIT - ATTN J BARNES-
    ASSOCIATION                   PRESIDENT                                P O BOX 148                                                                      HARRINGTON PARK   NJ           07640
    NEW JERSEY SALES TAX                                                   CN 999                                                                           TRENTON           NJ           08646-0999
    NEW JERSEY SCIENCE
    CONVENTION INC                                                         552 MERCER ROAD                    JAMES L MESSERSMITH                           PRINCETON         NJ           08540
    NEW JERSEY SCIENCE TCHRS
    ASSOCIATION                   ATTN TOM SMITH                           247 STOCKTON STREET                                                              HIGHTSTOWN        NJ           08520
    NEW JERSEY WRITING PROJECT IN
    TEXAS                                                                  23011 NORTHCREST DR                                                              SPRING            TX           77389
    New Leaders for New Schools                                            286 Congress St.                                                                 Boston            MA           02210

    NEW LEAF MEDIA                                                         2100 BLOOR STREET WEST STE 6161                                                  TORONTO           ON           M6S 5A5      Canada
                                            DBA SOLOW LITERARY
    NEW MEDIA MARKETING INC                 ENTERPRISES INC                769 CENTER BOULEVARD # 148                                                       FAIRFAX           CA           94930
    New Media Solutions Inc.                                               1925 Blake Street                  SUite 101                                     Denver            CO           80202
    NEW MEXICO ADULT EDUCATION                                             190 CENTRAL PARK SQUARE, STE
    ASSOC                                   ATTN SHARI JOBE                111                                                                              LOS ALAMOS        NM           87544
    NEW MEXICO ASSN FOR CAREER
    TECHNICAL                               EDUCATION                      P O BOX 866                                                                      CARLSBAD          NM           88220
    NEW MEXICO ASSN OF ELEMENTRY
    SCHOOL                                  PRINCIPALS                     4127 CALLE BELLEZA                                                               LAS CRUCES        NM           88011
    NEW MEXICO ASSN OF ELEMENTRY
    SCHOOL                                  ATTN KAREN WOODS               4127 CALLE BELLEZA                                                               LAS CRUCES        NM           88011
    NEW MEXICO ASSN OF NON-PUBLIC
    SCHOOLS                                                                P O BOX 7426                       ATTN NANCY SUEDKAMP                           ALBURQUERQUE      NM           87194
    NEW MEXICO ASSOC FOR SUPERV &
    CURRICU                                 DEVLPMNT - ATTN TERI TREJO     2001 DONA ANA RD, SW                                                             DEMING            NM           88030
                                            NEW MEXICO INSTITUTE OF MINING
    NEW MEXICO BUREAU OF GEOLOGY            & TECH                         801 LEROY PLACE                                                                  SOCORRO           NM           87801
    NEW MEXICO CNCL FOR THE
    SOCIAL STUDIES                                                         2827 DON QUIOTE                    ATTN FRANCES GARCIA                           SANTA FE          NM           87505
    NEW MEXICO COALITION FOR
    LITERACY                                ATTN ZARA RAAB                 3209 MERCANTILE COURT, STE B                                                     SANTA FE          NM           87507
    NEW MEXICO COALITION OF
    SCHOOL                                  ADMINISTRATORS                 COE MSCOS 3040 1 UNM                                                             ALBUQUERQUE       NM           87131
    NEW MEXICO COUNCIL OF
    TEACHERS                                OF ENGLISH                     10705 NELLE AVENUE NE                                                            ALBUQUERQUE       NM           87111
    New Mexico Department of Workforce
    Solutions                                                              PO Box 2281                                                                      Albuquerque       NM           87103
    New Mexico Dept of Labor                                               401 Broadway NE                                                                  Albuquerque       NM           87102
    New Mexico Dept of Taxation and
    Revenue                                 Attn Bankruptcy Section        PO Box 8575                                                                      Albuquerque       NM           87198-8575
    NEW MEXICO EDUCTNL
    PUBLISHERS ASSN                         ATTN DESA ROGERS - ARCHWAY     1600 1ST STREET NW                                                               ALBUQUERQUE       NM           87102
    NEW MEXICO HIGHLANDS
    UNIVERSITY                                                             P O BOX 9000                                                                     LAS VEGAS         NM           87701
    NEW MEXICO INTERNATIONAL
    READING ASSN                                                           1032 DAKOTA SE                                                                   ALBUQUERQUE       NM           87108
    NEW MEXICO PUBLIC EDUCATION
    DEPT                                                                   300 DON GASPAR ROOM G12A                                                         SANTA FE          NM           87501
    New Mexico Public Regulation
    Commission                                                             PO Box 1269                                                                      Santa Fe          NM           87504-1269
    NEW MEXICO SCH
    SUPERINTENDENTS ASSN                                                   COE MSC 05 3040 1 UNM                                                            ALBUQUERQUE       NM           87131
    NEW MEXICO TAXATION &                   REVENUE DEPARTMENT             P O BOX 25127                                                                    SANTA FE          NM           87504
    New Mexico Taxation & Rev Dept                                         PO Box 25127                                                                     Santa Fe          NM           87504-5127
    NEW MEXICO TAXATION & REVENUE
    DPET                                                                   PO BOX 8485                                                                      ALBUQUERQUE       NM           87198
    NEW MEXICO UNIVERSITY                                                  P O BOX 4548                       ACCOUNTS PAYABLE DEPT                         ALBUQUERQUE       NM           87196-4548
    NEW MILLENNIUM PUBLISHING                                              P O BOX 761267                                                                   MELROSE           MA           02176
    NEW MOON GIRL MEDIA                     ATTN MELANIE MCDOWELL          PO BOX 161287                                                                    DULUTH            MN           55816-1287
                                                                           3520 GENERAL DE GAULLE, STE
    NEW ORLEANS PUBLIC SCHOOL                                              5055                                                                             NEW ORLEANS       LA           70114
    NEW PAGE CORPORATION                                                   23504 NETWORK PLACE                                                              CHICAGO           IL           60673



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     325 of 488                                                                                   1:26 PM
                                                      12-12171-reg             Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                            of 519
                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName                Address1                               Address2                    Address3            City        State       Zip      Country
    NEW POLITICS                                                            155 WEST 72ND STREET, RM 402                                                              NEW YORK        NY           10023
    NEW RELIC INC                                                           139 TOWNSEND STREET STE 505                                                               SAN FRANCISCO   CA           94107
    NEW RIVERS PRESS                        THE PERMISSIONS CO              PO BOX 604                                                                                MOUNT POCONO    PA           18344

    NEW TRACK MEDIA COMPANY                 DBA SKY & TELESCOPE MEDIA LLC   201 E FIFTH STREET STE 1110                                                               CINCINNATI      OH           45202
    NEW TRACK MEDIA COMPANY                 ATTN JEFF BUTTELWERTH           201 E FIFTH STREET STE 1110                                                               CINCINNATI      OH           45202
    NEW YORK ASSN FOR BILINGUAL
    EDUCATION                               ATTN EVA PROCTOR                45 TWIN PINES DRIVE # 4C                                                                  BROOKLYN        NY           11239
    NEW YORK ASSN OF SCH
    PSYCHOLOGISTS                                                           8772 WEDGEFIELD LANE             ATTN MICHELLE STORIE                                     CICERO          NY           13039
    NEW YORK CHARTER SCHOOLS
    ASSOC                                                                   915 BROADWAY STE 110                                                                      ALBANY          NY           12207
    New York City Board of Educati                                          52 Chambers Street                                                                        New York        NY           10007
                                            DONNA GILMARTIN DIR BUDGET &
    NEW YORK CITY BOE                       PERSONNEL                       65 COURT STREET 12th FLOOR                                                                BROOKLYN        NY           11201
                                            DIVISION OF CONTRACTS AND
    NEW YORK CITY BOE                       PURCHASING                      65 COURT STREET 12th FLOOR                                                                BROOKLYN        NY           11201
    NEW YORK CITY CONSORTIUM FOR
    ADULT EDU                    ATTN HAZEL J KING                          27 GILCHREST RD                                                                           GREAT NECK      NY           11021
    NEW YORK CITY DEPARTMENT OF
    EDUCATION                    ATTN MERCEDES MORGAN                       65 COURT STREET                                                                           BROOKLYN        NY           11201
    NEW YORK CITY DEPT OF
    BUILDINGS                                                               280 BROADWAY 6TH FLOOR                                                                    NEW YORK        NY           10007
    NEW YORK CITY DEPT OF ED     USE 1-3346                                 715 OCEAN TERRACE BUILDING A                                                              STATEN ISLAND   NY           10301

    NEW YORK CITY DEPT OF FINANCE                                           P O BOX 5100                                                                              KINGSTON        NY           12402-5100
    New York City Dept. of Ed.            Div. of Contracts/Purchasing      65 Court Street, 12th Floor                                                               Brooklyn        NY           11201
    NEW YORK CITY EDUCATIONAL
    SALES ASSOC                           ATTN LYDIA T GONZALEZ             5700 ARLINGTON AVE, APT 18G                                                               BRONX           NY           10471
    NEW YORK CITY ELEMENTARY SCH
    PRINCIPALS                            ASSOCIATION                       16 COURT STREET SUITE 418                                                                 BROOKLYN        NY           11241-0102
    NEW YORK CITY FIRE DEPT               CHURCH STREET STATION             PO BOX 840                                                                                NEW YORK        NY           10008
    New York Commissioner of Taxation and
    Finance                                                                 PO Box 4127                                                                               Binghamton      NY           13902-4127
    NEW YORK CORRECTIONS AND
    YOUTH                                 SERVICES ASSN - CAYSA REGION VI   P O BOX 73                                                           ATTN RYAN WOODWARD   VERNON          NY           13744
    NEW YORK HALL OF SCIENCE                                                47-01 111 STREET                                                                          QUEENS          NY           11368
    NEW YORK LIBRARY                                                        5TH AVE & 42ND ST, RM 73         ATTN RORI GRABEL                                         NEW YORK        NY           10018
    NEW YORK MAGAZINE                                                       75 VARICK STREET                 ATTN MARY BURKE                                          NEW YORK        NY           10013
    NEW YORK PUBLIC LIBRARY               5TH AVE AND 42ND ST RM 103        SPECIAL COLLECTIONS OFFICE                                                                NEW YORK        NY           10018
    NEW YORK PUBLIC LIBRARY                                                 476 FIFTH AVENUE RM 103          PERMISSIONS DEPARTMENT                                   NEW YORK        NY           10018
    NEW YORK PUBLIC LIBRARY                                                 515 MALCOLM X BLVD               SCHOMBURG CTR BLACK CULT            ATTN D LACHATANERE   NEW YORK        NY           10037-1801
    NEW YORK PUBLIC LIBRARY                                                 FIFTH AVE & 42ND ST, RM 103                                                               NEW YORK        NY           10018
    NEW YORK PUBLIC LIBRARY                                                 SPECIAL COLLECTIONS OFFICE                                                                NEW YORK        NY           10018
    New York Sales Tax Processing         JAF Building                      PO Box 1205                                                                               New York        NY           10116-1205
    New York State                        Depr of State Div. of Corp        State Records                    41 State Street                                          Albany          NY           12231
    NEW YORK STATE ASSN OF SMALL
    CITY SCH                              DISTRICTS INC                     1280 NEW SCOTLAND AVENUE                                                                  SINGERLANDS     NY           12159
    NEW YORK STATE ASSOC OF
    INCARCERATED                          EDUCATION PROGRAM INC             110 RUTLEGE ST                                                                            SYRACUSE        NY           13219
    NEW YORK STATE ASSOC OF
    INCARCERATED                          ATTN JOSEPH POWLINA               110 RUTLEGE ST                                                                            SYRACUSE        NY           13219
    NEW YORK STATE ASSOC OF
    MATHS SUPS                                                              11 KENDALL DRIVE                 ATTN ROSE SCHWARZ                                        NEW CITY        NY           10956
    NEW YORK STATE ASSOCIATION OF
    FOREIGN                               LANGUAGE TEACHERS - POWERFUL      67 STEUBEN ROAD                  ATTN ALEXIS THORNTON                                     GARRISON        NY           10524
    NEW YORK STATE ASSOCIATION OF
    FOREIGN                               LANGUAGE TEACHERS                 2400 MAIN STREET                                                                          BUFFALO         NY           14214
    NEW YORK STATE ASSOCIATION OF
    FOREIGN                                                                 67 STEUBEN ROAD                  ATTN ALEXIS THORNTON                                     GARRISON        NY           10524
    NEW YORK STATE COALITION FOR
    INDEPEDNT                             ATTN LORI KAISER                  525 4TH AVENUE                                                                            TROY            NY           12182
    NEW YORK STATE COALITION FOR
    INDEPEDNT                             AND RELIGIOUS SCHOOLS             525 4TH AVENUE                                                                            TROY            NY           12182
                                          OFFICE OF UNCLAIMED PROP
    NEW YORK STATE COMPTROLLER            FUNDS                             110 STATE ST 8TH FL                                                                       ALBANY          NY           12236
    NEW YORK STATE CORP TAX               CORP V                            P O BOX 15163                                                                             ALBANY          NY           12201-5163
    New York State Corporation Tax        Processing Unit                   PO Box 22094                                                                              Albany          NY           12201-2094
    NEW YORK STATE COUNCIL FOR
    THE SOCIAL                            STUDIES                           60 ROSEDALE AVE                                                                           HUDSON          NY           10706



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                         326 of 488                                                                                  1:26 PM
                                                      12-12171-reg                      Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                        Pg Creditor
                                                                                                                            334 Matrix
                                                                                                                                    of 519
                                                                                                                                      First Class Service List


               CreditorName                           CreditorNoticeName                           Address1                                Address2                         Address3                 City        State       Zip           Country
    NEW YORK STATE COUNCIL FOR              STEVEN GOLDBERG EXHIBITS
    THE SOCIAL                              CHAIRMAN                                 60 ROSEDALE AVE                                                                                      HUDSON            NY           10706
    New York State Department of            Taxation & Finance                       Harriman State Campus                  Bldg 12                                                       Albany            NY           12240-0339
    New York State Dept of Taxation and     Attn Collections and Civil Enforcement
    Finance                                 Division                                 Bankruptcy Section                     PO Box 5300                                                   Albany            NY           12205

    New York State Education Department State Education Buidling                     89 Washington Street                   Room 148                                                      Albany            NY           12234
                                        TEN COUNTY MATHEMATICS EDUC
    NEW YORK STATE EDUCATION DEPT ASSOC                                              6 SECOND STREET                                                                                      WALDEN            NY           12586

    NEW YORK STATE EDUCATION DEPT ATTN STACY RHUBIN                                  6 SECOND STREET                                                                                      WALDEN            NY           12586
    NEW YORK STATE ENGLISH
    COUNCIL                                                                          123-60 83RD AVE #6J                    ATTN VICTOR JACCARINO                                         KEW GARDENS       NY           11415
    NEW YORK STATE HISTORICAL
    ASSOC                         FINANCE DEPARTMENT                                 P O BOX 800                                                                                          COOPERSTOWN       NY           13326
    NEW YORK STATE LOVING EDUC AT
    HOME                                                                             130 BELL ROAD                          C/O MARTY & RITA REED                                         PENNELLVILLE      NY           13132
    NEW YORK STATE MIDDLE SCHOOL
    ASSN                                                                             P O BOX 2065                                                                                         NIAGARA FALLS     NY           14301
                                                                                     ANTHROPOLOGY REGISTRAR, 3049
    NEW YORK STATE MUSEUM                                                            CEC                                                                                                  ALBANY            NY           12230
    NEW YORK STATE READING
    ASSOCIATION                             ATTN ROBERT HIRSCH III                   147 EAST MONMOUTH AVE                                                                                TONAWANDA         NY           14150
    NEW YORK STATE SALES TAX                                                         PO BOX 15172                                                                                         ALBANY            NY           12212
    NEW YORK STATE SCHOOL BOARDS
    ASSN INC                                                                         24 CENTURY HILL DRIVE STE 200                                                                        LATHAM            NY           12110-2125
    NEW YORK STATE SPEECH
    LANGUAGE                                HEARING ASSOCIATION                      7030 E GENESEE STREET                  BARINGER & ASSOCIATES LLC            THE WHITE HOUSE          FAYETTEVILLE      NY           13066
    NEW YORK STATE TEACHERS OF
    ENGLISH TO                              SPEAKERS OF OTHER LANGUAGES              790 RIVERSIDE DRIVE # 6C                                                                             NEW YORK          NY           10032
    NEW YORK STATE TEACHERS OF
    ENGLISH TO                              C/O FAULKNER                             790 RIVERSIDE DRIVE # 6C                                                                             NEW YORK          NY           10032
    NEW YORK STATE TECHNOLOGY
    EDUC ASSOC                              STEM SUMMER INSTITUTE                    209 PARK HALL, SUNY OSWEGO                                                                           OSWEGO            NY           13126
    NEW YORK TIMES                                                                   P O BOX 371456                                                                                       PITTSBURGH        PA           15250-7456
    NEW YORK TIMES AGENCY                   ATTN LEIGH GENSLER                       229 W 43RD STREET-9TH FLOOR                                                                          NEW YORK          NY           10036
    NEW YORK TIMES PUBLICATIONS                                                      PO BOX 19278                                                                                         NEWARK            NJ           07195-0278
    NEW YORK TIMES SYNDICATE                                                         500 7TH AVE                                                                                          NEW YORK          NY           10018
                                                                                                                            AS ONASSIS PROG IN HELLENIC
    NEW YORK UNIVERSITY                                                              19 UNIVERSITY PL 5TH FLOOR             STUDIES                              FOR RAE - DALVEN         NEW YORK          NY           10003
    NEW YORK UNIVERSITY BOOK
    CENTER                                                                           726 BROADWAY 7TH FL                                                                                  NEW YORK          NY           10003
    NEW YORK UNIVERSITY PRESS               COPYRIGHT & PERMISSIONS                  838 BROADWAY, 3RD FLOOR                                                                              NEW YORK          NY           10003
    NEWARK CITY SCHOOLS                     TREASURER                                85 E MAIN ST                                                                                         NEWARK            OH           43055
    NEWBERRY LIBRARY                                                                 60 WEST WALTON STREET                                                                                CHICAGO           IL           60610-7324
    NEWBORG JEAN                                                                     1327 NORTH 18TH ST                                                                                   BISMARK           ND           58501
    NEWBURYPORT PUBLIC SCHOOLS              OFFICE OF THE SUPERINTENDENT             70 LOW STREET                                                                                        NEWBURYPORT       MA           01950
                                                                                                                            JEFFERSON PARISH SHERIFFS
    NEWELL NORMAND                          SHERIFF AND TAX COLLECTOR                PO BOX 248                             OFFICE                               SALES/USE TAX DIVISION   GRETNA            LA           70054
    Newfoundland & Labrador Dept of
    Finance                                                                          3rd Fl East Block Confederation Bldg   PO Box 8700                                                   St Johns          NL           A1B 4J6      Canada
    NEWKIRK SKOOB LP                                                                 ONE PENN PLAZA SUITE 4015                                                                            NEW YORK          NY           10119
    NEWMAN COMMUNICATIONS INC                                                        125 WALNUT STREET STE 205                                                                            WATERTOWN         MA           02472
    NEWPAGE CORPORATION                                                              23504 NETWORK PLACE                                                                                  CHICAGO           IL           60673-1235
    Newport News Public Schools             Attn Federal Grants                      12511 Warwick Boulevard                                                                              Newport News      VA           23606
    NEWS & MEDIA SERVICES INC               DBA WELLINGTON NEWS CO                   PO BOX 15727                                                                                         BOSTON            MA           02215
    Newton Comm. School Dist.                                                        807 S. 6th Ave. West                                                                                 Newton            IA           50208
    NEWTON MUNICIPAL SCHOOL
    DISTRICT                                                                         205 SCHOOL STREET                                                                                    NEWTON            MS           39345
    NEWTOWER TRUST COMPANY        FILE 30364                                         P O BOX 60000                                                                                        SAN FRANCISCO     CA           94160
    NEWVENTURE OF SAN BERNARDINO  DBA JAN PRO COMMERCIAL                             3200 EAST INLAND EMPIRE BLVD
    LLC                           CLEANING SYSTEMS                                   STE 250                                                                                              ONTARIO           CA           91764
                                  GLOCCA MORRA MUSIC AND
    NEXT DECADE ENTERTAINMENT INC GORNEY MUSIC                                       65 WEST 55TH STREET STE 4F                                                                           NEW YORK          NY           10019
    NEXT GENERATION MEDIA INC                                                        PO BOX 68                                                                                            JORDAN            MN           55352
    NEXT LEVEL MARKETING
    COMMUNICATIONS                NEXT LEVEL RECRUITING TRAINING                     19111 N DALLAS PKWY STE 200                                                                          DALLAS            TX           75287
    NEXT STEP CONSULTING                                                             9307-21ST AVE NW                                                                                     SEATTLE           WA           98117
    NEXTECH PARTNERS INC                                                             P O BOX 1028                                                                                         GULF BREEZE       FL           32562-1028
    NEY COTO CISNEROS             PUERTO AZUL MZ E 10 VILLA 6                        JJOSE MASCOTE 700 Y QUISQUIS                                                                         GUAYAQUIL                                   Ecuador



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                                     327 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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             CreditorName                             CreditorNoticeName                Address1                           Address2              Address3            City             State       Zip             Country
    NEYDA TORRES COLON                                                     URB VISTAS RIO GRANDE # 308                                                      ALMEDRO RIO GRANDE   PR           00745
    NEYSHMA S BENITEZ ANGULO                URB JOSE S QUINONES            CALLE 7 # 189                                                                    CAROLINA             PR           00983
                                            BRAULIO CAMACHO VIRELLA
    NF21C INTERAMERICANA                    MONTECASINO HEIG               #390 RIO GUAJATACA                                                               TOA ALTA             PR           00953
    NFS                                     C/O Merrimack Insurance        1532 Turnpike Street             Suite 404                                       North Andover        MA           01845
    NG FRANKLIN                                                            8293 NORTH 4TH ST                                                                FRESNO               CA           93720-2135
    NGUGI WA THIONGO                                                       5 FUERTES STREET                                                                 IRVINE               CA           92617
    NH Dept of Rev Administration           Document Processing Division   PO Box 637                                                                       Concord              NH           03302-0637
    NHSTA                                                                  PO BOX 583                                                                       LITTLETON            NH           03561
    NI SYNDICATION LTD                      ACCOUNTING CENTRE              PO BOX 8                                                                         PETERBOROUGH                      PE7 8WT      United Kingdom
    Nia M Beyah                                                            10948 River Falls Drive                                                          Jacksonville         FL           32218
                                                                           TAYLORS THREE ROCK, GRANGE
    NIALL MELLON TOWNSHIP TRUST                                            RD                                                                               RATHFARNHAM          Dublin       16           Ireland
    NIAMH GRAY-WILSON                                                      SUT MUIRE 9 LENABOY GARDENS                                                      SALTHILL GALWAY                                Germany
    Niamh Gray-Wilson                                                      4111 Idlewild Rd.                                                                Austin               TX           78731
    NICHE CATOUR LLC                        DBA 9 AT HOME                  9 PARK STREET                                                                    BOSTON               MA           02108
    NICHE GARDENS LLC                                                      1111 DAWSON ROAD                                                                 CHAPEL HILL          NC           27516
    Nicholas A McGirr                                                      151 E. Washington St.            PH5B                                            Orlando              FL           32801
    NICHOLAS AINLEY                         DBA SHINYBINARY                FLAT 4, 86 JAMES STREET                                                          OXFORD                            OX4 1EX      United Kingdom
    NICHOLAS CARR                                                          110 SAW MILL ROAD                                                                EVERGREEN            CO           80439
    NICHOLAS CHANG                                                         942 VAN AUKEN CIRCLE                                                             PALO ALTO            CA           94303
    NICHOLAS DURLACHER                                                     7 ARLINGTON ST APT 41                                                            CAMBRIDGE            MA           02140
    NICHOLAS E WAGNER                       DBA NICK WAGNER                277 TRADEWINDS DR # 8                                                            SAN JOSE             CA           95123
    NICHOLAS G BISHOP                                                      2245 TIPPERARY ROAD                                                              KALAMAZOO            MI           49008
    Nicholas H Ewen                                                        3244 River Drive                                                                 Fort Pierce          FL           34981
    Nicholas Newlin                                                        72 Pearl Street                                                                  Charlestown          MA           02129
    NICHOLAS NGAGOYEANES                    AKA GAGE                       37 NELSON ST                                                                     NORTH GRAFTON        MA           01536
    Nicholas Schlinger                                                     1026 Pebble Beach Circle E                                                       Winter Springs       FL           32708
    Nicholas Scobbo                                                        134 South Street                                                                 Medfield             MA           02052
    NICHOLAS SEAN SALVO                                                    2414 DANA STREET, APT # 3                                                        BERKELEY             CA           94704
    NICHOLAS ST JOHN                                                       1452 19TH AVE                                                                    SAN FRANCISCO        CA           94122
    NICHOLAS TWEMLOW                                                       906 LUCAS STREET                                                                 IOWA CITY            IA           52240
    NICHOLASA MOHR                                                         309 EAST 108TH STREET STE 5D                                                     NEW YORK             NY           10029
    NICHOLS RESESARCH INC                                                  39141 CIVIC CENTER DRIVE # 425                                                   FREMONT              CA           94538
    NICHOLS SCHOOL                                                         3000 BURNS STREET                                                                DETROIT              MI           48214-1874
    Nicholson, James
    NICK ABADZIS                                                           49 YORK RD, TEDDINGTON                                                           MIDDLESEX                         TW11 8SL     United Kingdom
    NICK ALLISON                                                           405 W 4TH SOUTH                                                                  REXBURG              ID           83440
    NICK DIGGORY                                                           23 WATTLEBIRD COURT                                                              CURRUMBIN VALLEY     Queensland   04223        Australia
    NICK FLYNN                                                             4004 MONTROSE BLVD #23                                                           HOUSTON              TX           77006
    NICK GUNDERSON                          DBA NICK GUNDERSON PHOTO       316 35TH AVENUE                                                                  SEATTLE              WA           98122
    Nick Massey                                                            PO Box 665                                                                       Kennebunkport        ME           04046
    NICK SHARRATT                                                          22 ST NICHOLAS ROAD                                                              BRIGHTON                          BN1 3LP      United Kingdom
    NICKELL MARY PATRICIA                                                  212 DESHA ROAD                                                                   LEXINGTON            KY           40502

    NICKY HALL                              DBA GEORGE HALL PHOTOGRAPHY 426 GREENWOOD BEACH RD                                                              TIBURON              CA           94920
    NICODEMUS FORD                                                      P O BOX 21355                                                                       DETROIT              MI           48221
    NICOL ANN                                                           28 PARK STREET MADELEY                                                              TELFORD SHROPSHIRE                TF7 5LB      United Kingdom
    Nicole A. Witwer                                                    3885 W. 33rd Ave                                                                    Denver               CO           80211
    Nicole Angeloro                                                     55 Revere Street                    #6                                              Boston               MA           02114
    Nicole B Duttle                                                     4176 N. Wilson                                                                      Fresno               CA           93704
    NICOLE CAFARELLA                                                    826 JAMES AVE                                                                       NIAGARA FALLS        NY           14305
    NICOLE CECILIA DELGADO
    POUEYMIROU                                                             A-2 CALLE I TORREMOLINOS                                                         GUAYNABO             PR           00969
    NICOLE CRESCENZO                                                       5100 WASHINGTON ST # 414                                                         HOLLYWOOD            FL           33021
    NICOLE E SANTANA RIOS                                                  COND MONTE REAL RR2 BOX 124                                                      SAN JUAN             PR           00926
    Nicole Fassold                          C/O Shel Stanfill, CHS         15655 Brookstone Drive                                                           Parker               CO           80134
    Nicole Fitzgerald                                                      19 Pleasant Court                                                                Winthrop             MA           02152
    Nicole Gant                                                            2413 Ridgeway Drive                                                              Kissimmee            FL           34746
    Nicole Gee                                                             32 WHITES AV, # 223                                                              WATERTOWN            MA           02472-4305
    Nicole Gee                                                             32 Whites Ave                    #F7707                                          Watertown            MA           02472
    Nicole Genova                                                          13425 Ranch Road 620 North       APT 715                                         Austin               TX           78717
    Nicole Gibrick                                                         3507 N Damen Ave                 BSMT                                            Chicago              IL           60618
    Nicole Humphrey                                                        441 Meadowhill Drive                                                             Garland              TX           75043
    NICOLE IORIO                                                           47 OBERLIN ST                                                                    MAPLEWOOD            NJ           07040
    Nicole K Fromm                                                         39W870 Carney Ln                                                                 Geneva               IL           60134
    Nicole King                                                            1266 Wheatley Forest Dr                                                          Brentwood            TN           37027
    NICOLE L MICHEAU                                                       1117 WEST 12TH STREET                                                            JACKSONVILLE         FL           32209
    NICOLE L RAASCH                                                        1010 FARMVIEW LANE                                                               CARMEL               IN           46032
    Nicole Law                                                             8803 Birkdale Circle                                                             Indianapolis         IN           46234



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                     328 of 488                                                                                        1:26 PM
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                                                                                                                         First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                            Address2                         Address3                    City           State       Zip               Country
    NICOLE MARTIN                                                          3522 CARDINAL RIDGE DR.                                                                              GREENSBORO           NC           27410
    NICOLE MAY                                                             3133 LINCOLN STREET                                                                                  FRANKLIN PARK        IL           60131
    NICOLE MCCLELLAND                                                      119A ST MARYS AVENUE                                                                                 SAN FRANCISCO        CA           94112
    Nicole Mlakar-Livingston                                               1807 Londonderry Dr                                                                                  Leander              TX           78641
    Nicole Mollica                                                         212 STONY LN                                                                                         N KINGSTOWN          RI           02852
    Nicole Newton                                                          415 South St                                                                                         Halifax              MA           02338
    NICOLE RUBEL                                                           14720 ALBERS WAY NE                                                                                  AURORA               OR           97002
    Nicole Russell                                                         3 Applevale Drive                                                                                    Dover                NH           03820
    Nicole S Friz                                                          1831 Paseo Del Lago Dr.                                                                              Vista                CA           92081
    Nicole Sartori                                                         86-1 Mount Vernon St                                                                                 Somerville           MA           02145
    Nicole Wasinger                                                        7139 S. Reed Court                                                                                   Littleton            CO           80128
    Nicole Weekes                                                          7 Spencer Street                                                                                     Dorchester           MA           02124
    Nicole Witwer                                                          3385 West 33rd Avenue                                                                                Denver               CO           80211
    NICOLETA BATEMAN                                                       3564 MEADOW LANE                                                                                     OCEANSIDE            CA           92056-4006

    NICOR                                   NORTHERN ILLINOIS GAS COMPANY P O BOX 310                                                                                           AURORA               IL           60507

    NICOR                                   NORTHERN ILLINOIS GAS COMPANY P O BOX 416                                                                                           AURORA               IL           60568
    NICOR                                                                 P O BOX 0632                                                                                          AURORA               IL           60507-0632
    NICOR                                                                 P O BOX 0632                                                                                          AURORA               IL           60507-0633
    NICOR                                                                 P O BOX 310                                                                                           AURORA               IL           60507
    NICOR                                                                 P O BOX 416                                                                                           AURORA               IL           60568
    NIDZA C HENRIQUEZ                       URB VILLA DEL CARMEN AVE      CONSTANCIA # 4308                                                                                     PONCE                PR           00716
    NIEBRUGGE IMAGES                                                      PO BOX 1337                                                                                           SEWARD               AK           99664
    NIEHAUS THEODORE F                                                    2409 MARK TWAIN DRIVE                                                                                 ANTIOCH              CA           94531
    NIELS EJERSBO                                                         DENMARK, CAMPUSUIJ 55              UNIV OF SOUTHERN DENMARK               DEPT OF POLITICAL SCIENCE   ODENSE M                          05230        Denmark
    NIELS FOTOGRAFIE                                                      BOX 9553                                                                                              NEW MARKET                                     New Zealand
    NIELSEN BUSINESS MEDIA INC                                            PO BOX 88915                                                                                          CHICAGO              IL           60695

    NIELSEN MERKSAMER PARRINELLO GROSS & LEONI LLP                         1415 L STREET STE 1200                                                                               SACRAMENTO           CA           95814
    NIELSEN SOUNDSCAN                                                      P O BOX 88023 EXPEDITE WAY                                                                           CHICAGO              IL           60695
    Nielsen, Merksamer, Parrinello
    NIEMAN EDUCATIONAL PRODUCTS
    INC                                                                    518 OAK VALLEY DRIVE                                                                                 ST LOUIS             MO           63131
    NIEMAN THOMAS J                                                        1007 FOREST AVENUE                                                                                   WILMETTE             IL           60091
                                   CORPORATE PREMIUMS &
    NIETOPSKI SPORTS               APPAREAL                                550 LATONA ROAD - SUITE C307                                                                         ROCHESTER            NY           14626-2700
                                                                                                                                                                                BISHOPSTEIGNTON,
    NIGEL HICKS                                                            5 CANONS CLOSE                                                                                       TEIGNMOUTH           Devon        TQ14 9RU     United Kingdom
    NIGEL STEVEN ATKINSON                                                  500 PETERSON STREET                                                                                  ROUND ROCK           TX           78664
    NIK WHEELER                                                            1696 SAN LEANDRO LN                                                                                  SANTA BARBARA        CA           93108
    NIKKI C LEVY                            DBA LEVY CONSULTANTS LLC       2203 PIN OAK CT                                                                                      PALM BEACH GARDENS   FL           33410
    NIKKI C LEVY                                                           2203 PIN OAK COURT                                                                                   PALM BEACH GARDENS   FL           33410
    NIKOLA- LISA W                                                         4908 NORTH PAULINA                                                                                   CHICAGO              IL           60640
    NIKOLAS MILLS                                                          3205 SE 28TH AVE                                                                                     PORTLAND             OR           97202
    NILAJA TAYLOR                                                          P O BOX 1457                                                                                         CHRISTANSTED         VI           00821
    Nilda Fonseca                                                          362 Windmeadows St.                                                                                  Altamonte Springs    FL           32701
    NILE SPRAGUE                            DBA SPRAGUE PHOTO STOCK        P O BOX 1490                                                                                         MENDOCINO            CA           95460
    NILES BO                                                               51 EAST 90 ST APT 5C                                                                                 NEW YORK             NY           10128

    NILSA OSORIO VAZQUEZ                                                   CALLE MONACO 3C-31 VILLA DE REY                                                                      CAGUAS               PR           00725
    NIMSOFT INC                                                            1919 S BASCOM AVENUE STE 600                                                                         CAMPBELL             CA           95008
    NINA HOWE                                                              4140 BEACONSFIELD AVEA                                                                               MONTREAL             QC           H4A 2H5      Canada
    Nina Ignatowicz                                                        546 Stuyvesant Avenue                                                                                Rutherford           NJ           07070
    NINA LAFOLLETTE                                                        P O BOX 37                                                                                           AMSTERDAM            MO           64723
    Nina Lusterman                                                         1015 Asbury Ave                                                                                      Evanston             IL           60202
                                            DBA RISING SUN EDITORIAL
    NINA LYNNE FULLER                       SERVICES                       4188 CHERRY RIDGE DRIVE                                                                              FRISCO               TX           75034-1238
    NINA M PIETRASANTA                                                     157 S CATALINA STREET                                                                                VENTURA              CA           93001
    Nina Pietrasanta                                                       157 S. Catalina St                                                                                   Ventura              CA           93001
    NINA SUBIN                                                             202 WEST 10TH STREET                                                                                 NEW YORK             NY           10014
    Nina Wishnok                                                           14 Plain St.                                                                                         Natick               MA           01760
    Nina Young                                                             P O Box 701793                                                                                       St Cloud             FL           34770
    NINTENDO OF AMERICA INC                                                4820 150TH AVENUE NE                                                                                 REDMOND              WA           98052
    Nipissing-Parry Sound Catholic                                         1140 Front Street                                                                                    North Bay            ON           P6B 6P2      Canada
    NIPPER ENTERPRISES INC                  ATTN ARTHUR JOHNSON            230 SHAWOMET AVENUE                                                                                  WARWICK              RI           02889
    Niraj S Chokshi                                                        1338 Putnam Blvd.                 Unit # 25                                                          Wallingford          PA           19086
    NIRANJANI PRABHAKAR                                                    844 S MORGAN STREET                                                                                  CHICAGO              IL           60607
    NIRUPA MATHEW                                                          275 11TH ST UNIT B                                                                                   WHEELING             IL           60090
    NITZA BEN-DOV                                                          178 ABA HUSHI BLVD                                                                                   HAIFA                             03498        Israel



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                        329 of 488                                                                                                           1:26 PM
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                                                                                                                           of 519
                                                                                                                     First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                            Address2                     Address3                      City        State       Zip            Country
    Nixon Peabody
    NIXON PEABODY LLP                                                      100 SUMMER ST                                                                                     BOSTON            MA           02110-2131

    NJ EDUCATIONAL SALES CLUB INC           EXHIBIT CHAIRMAN STEPHEN HUNT 440 LIBERTY LANE                                                                                   MARLTON           NJ           08053
    NJEA EXHIBITS - NJ EDUCATION                                                                                                                C/O DAWN LAWRENCE PLANNERS
    ASSOC                                                                  1125 ATLANTIC AVENUE SUITE 634                                       LLC                          ATLANTIC CITY     NJ           08401
    NJTESOL/NJBE INC                        ATTN SANDEE MCHUGH-MCBRIDE     2201 SWEETWOOD DR                                                                                 FORKER RIVER      NJ           08731
    NL ASSOCIATES LLC                                                      6622 WHITE POST ROAD                                                                              CENTERVILLE       VA           20121
    NM Taxation & Revenue Dept.                                            PO Box 25128                                                                                      Santa Fe          NM           87504
    NMU Foundation                                                         1401 Presque Isle Avenue                                                                          Marquette         MI           49855

    NO GREENVILLE UNIVERSITY STORE                                         P O BOX 1892                                                                                      TIGERVILLE        SC           29688
    NOAH EDELSON                                                           4118 DAVAMA RD                                                                                    SHERMAN OAKS      CA           91423
    Noah Schuster                                                          11924 Snow Goose Rd                                                                               Austin            TX           78758
    NOAH VAN SCIVER                                                        624 EAST 13TH AVENUE                                                                              DENVER            CO           80203
    NOBLE CAPLAN ABRAMS                                                    1260 YONGE STREET, 2ND FL                                                                         TORONTO           ON           M4T 1W6      Canada
    NOBLE ELIZABETH                                                        448 PLEASANT LAKE AVENUE                                                                          HARWICH           MA           02645
    NOBLE ILLUSTRATIONS INC                                                501 SELMART LANE                                                                                  PETALUMA          CA           94954
    Noble Richards                                                         228 Carter                                                                                        Vallejo           CA           94590
    NOBUKO GERTH                                                           4077 GLACIER HILLS DR                                                                             ANN ARBOR         MI           48105
    Noe Cardenas                                                           5200 Meadow CK Drive             # 2038                                                           Dallas            TX           75248
    NOE KATHERINE SCHLICK                                                  2546 QUEEN ANNE AVE N                                                                             SEATTLE           WA           98109
    Noel Haynes                                                            210 East Hornbeam Drive                                                                           Longwood          FL           32779
    NOEL MURPHY                                                            P O BOX 792                                                                                       JACKSON           MS           39205
    Noelia Ortiz                                                           1545 Exposition Avenue                                                                            Aurora            IL           60506
    NOELLA VILLA                                                           7 DUNNS LANE                                                                                      MARBLEHEAD        MA           01945
    NOEMI BORRERO                                                          PO BOX 1062                                                                                       YAUCO             PR           00698
    NOEMI ROSARIO LOPEZ                                                    P O BOX 10222                                                                                     SAN JUAN          PR           00922
                                            DBA BETSY NOLAN LITERACY
    NOLAN / LEHR GROUP INC                  AGENCY                         214 W 29TH ST SUITE # 1002                                                                        NEW YORK          NY           10001
    NOLAN ZAVORAL                                                          861 WILDER ST S                                                                                   ST PAUL           MN           55116
    NOLLA PALOU & CASELLAS LLC                                             P O BOX 195287                                                                                    SAN JUAN          PR           00919-5287
    Nolla, Palou & Casellas
    NONA ULLMAN                             DBA IMPROVE LLC                16 WEST PLACE                                                                                     CHAPPAQUA         NY           10514
    NONNA D WELLEK                                                         88 NOTCH HILL ROAD                                                                                N BRANFORD        CT           06471
    NONNA KOFMAN                                                           960 BURGESS CIR                                                                                   BUFFALO GROVE     IL           60089
    NOODIE BAR INC                          DBA MIZUNA                     381 PORTSMOUTH AVENUE                                                                             GREENLAND         NH           03840
    NOOR ACADEMY                                                           879 W AUBURN ROAD                                                                                 ROCHESTER HILLS   MI           48307
    NORA ELENA MUNERA J                                                    CALLE 10 43D64                                                                                    MEDELLIN                                    Colombia
    NORA G MEDINA RIVERA                                                   176 AVE ESTANCIAS DEL LAGO                                                                        CAGUAS            PR           00725-3365
    NORA LIONNI                                                            35 EAST 85TH ST #2E                                                                               NEW YORK          NY           10028
    Noralie Cox                                                            125 Greens Rd.                                                                                    Granite Falls     NC           28630
    NORBERT KRAPF                                                          356 MIAMI ST                                                                                      INDIANAPOLIS      IN           46204
    NORD SUD VERLAG                         ATTN ANN LUKE                  HEINRICHSTRASSE 249                                                                               ZURICH            Zurich       08005        Switzerland
                                            UNIT 1611 16TH FL PROSPERITY
    NORDICA INTERNATIONAL LTD               MILLENNIA                      663 KINGS ROAD                                                                                    QUARRY BAY                                  Hong Kong
    Noreen Ganoe Pieper                                                    7331 SE 173RD                    ARLINGTON LOOP                                                   THE VILLAGES      FL           32162
    Noreen Halford                                                         22 Pine View                                                                                      Millis            MA           02054
    NOREEN J AYRES                                                         PO BOX 447                                                                                        BARTONVILLE       PA           18321
    NOREEN KASU                                                            3039 KAUNAOA STREET                                                                               HONOLULU          HI           96815
    NORFOLK ACADEMY                         BUSINESS OFFICE                1585 WESLEY DRIVE                                                                                 NORFOLK           VA           23502
    Norfolk Public Schools                  Attn Vizel Townsend            800 E. City Hall Avenue          Room P-01                                                        Norfold           VA           23510
    NORKOL CONVERTING
    CORPORATION                                                            P O BOX 95339                                                                                     PALATINE          IL           60095-0339
    NORM ZUEFLE                                                            1121 LEONARD PLACE                                                                                EVANSTON          IL           60201
    NORMA ANCHIN UNTERMEYER                                                35 RIVER LANE                                                                                     WESTPORT          CT           06880
    NORMA BRADLEY ALLEN                                                    1006 JORGENSON ROAD                                                                               CEDAR HILL        TX           75104-1967
    Norma Fioretti                                                         126 Biarritz Court                                                                                Bloomingdale      IL           60108
    Norma Fonda                                                            2122 Phonecia Court                                                                               Orlando           FL           32837
    Norma G Markson                                                        22 Chesnut Place Apt. 605                                                                         Brookline         MA           02445
    Norma H Luna                                                           4164 Canapple Drive                                                                               Indianapolis      IN           46235
    Norma Jean Sawicki                                                     19 W. 10 Apt. 5                                                                                   New York          NY           10011
    Norma Lindborg                                                         1112 Essex Ct                                                                                     Batavia           IL           60510
    Norma Luna                                                             4164 Canapple Drive                                                                               Indianapolis      IN           46235
    Norma Markson                                                          22 Chesnut Place Apt. 605                                                                         Brookline         MA           02445
    Norma Rollins                                                          6 Gunnery Lane                   Sea Pines                                                        Hilton Head       SC           29928
    Norma Roman                                                            160 RIVERSIDE DR                 APT 1B                                                           NEW YORK          NY           10024
    NORMA SOKOLOWSKY                                                       3 EMILY TERRACE                                                                                   WARREN            NJ           07059-3003
    Norman Glenn                                                           108 Presidio Drive                                                                                Leander           TX           78641
    Norman Hapgood                                                         530 Lexington Blvd.              c/o Fae Fuerst                                                   Royal Oak         MI           48073-2599



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                       330 of 488                                                                                                   1:26 PM
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                                                                                                                 338 Matrix
                                                                                                                         of 519
                                                                                                                First Class Service List


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                                            HEALTH PROMOTION AND
    NORMAN REGIONAL HOSPITAL                EDUCATION                    P O BOX 1308                                                                 NORMAN             OK           73070
    Norman Stoppel                                                       913 Moundridge Dr.                                                           Lawrence           KS           66049
    NORRIS KATHLEEN                                                      1617 KEEAUMOKU ST APT 1008                                                   HONOLULU           HI           96822-4320
    Norris Sandridge                                                     109 Morning Frost St                                                         Taneytown          MD           21787
    NORTH AMERICAN                                                       2101 CLAIRE COURT                                                            GLENVIEW           IL           60025-7634
    NORTH AMERICAN CASE RESEARCH
    ASSN                                                                 3719 MEADOW LANE                                                             SALINE             MI           48176
    NORTH AMERICAN DIVISION OF
    SEVENTH-DAY                             ADVENTISTS                   5931 WEST CAMPUS CIRCLE DR                                                   IRVING             TX           75063
    NORTH AMERICAN PRECIS
    SYNDICATE INC                           EMPIRE STATE BUILDING        350 FIFTH AVENUE, STE 6500                                                   NEW YORK           NY           10118
    NORTH AMERICAN ROOFING
    SERVICES INC                                                         PO BOX 637614                                                                CINCINNATI         OH           45263-7614
    NORTH BRANCH AREA SCHOOL                                             6600 BRUSH ST, P O BOX 3620                                                  NORTJ BRANCH       MI           48461
    NORTH CAROLINA A&T STATE
    UNIVERSITY                              BOOKSTORE                    1601 EAST MARKET STREET                                                      GREENSBORO         NC           27411
    NORTH CAROLINA ALLIANCE FOR
    PUBLIC                                  CHARTER SCHOOLS              P O BOX 1986                     C/O 2012 CONFERENCE                         LELAND             NC           28451
    NORTH CAROLINA ASSN OF
    ELEMENTARY                              EDUCATORS                    P O BOX 1336                                                                 SMITHFIELD         NC           27577
    NORTH CAROLINA ASSN OF
    ELEMENTARY                              ATTN ANGELA GURGAINUS        P O BOX 1336                                                                 SMITHFIELD         NC           27577
    NORTH CAROLINA ASSOC FOR THE            AND TALENTED - ATTN WESLEY
    GIFTED                                  GUTHRIE                      P O BOX 899                                                                  SWANSBORO          NC           28584-0899
    NORTH CAROLINA ASSOC OF
    SUPERVISION                             AND CURRICULUM DEVELOPMENT   317 CANNON CT                    ATTN FRANCES JONES                          ASHEBORO           NC           27205
    NORTH CAROLINA ASSOCIATION OF
    SCHOOL                                  ADMINISTRATORS               PO BOX 27711                                                                 RALEIGH            NC           27611
    NORTH CAROLINA CHRISTIAN SCH                                                                          ATTN SOUTHEAST CHRISTIAN SCH
    ASSOC                                                                P O BOX 231                      CONV                                        GOLDSBORO          NC           27533
    NORTH CAROLINA COUNCIL FOR
    EXCEPTIONAL                             MARGARET BLACKWELL           1321 ROCKWOOD AVENUE                                                         BURLINGTON         NC           27215
    NORTH CAROLINA COUNCIL FOR
    EXCEPTIONAL                             CHILDREN                     1321 ROCKWOOD AVENUE                                                         BURLINGTON         NC           27215
    NORTH CAROLINA COUNCIL FOR
    THE SOCIAL                                                           1601 ANTHONY DRIVE               ATTN MAURICE BUSH                           GASTONIA           NC           28502
    NORTH CAROLINA COUNCIL TCHRS
    OF MATH                                                              PO BOX 4604                      ATTN REBECCA HOOVER                         CARY               NC           27519

    NORTH CAROLINA DEPT OF PUBLIC           INSTRUCTIONS                 6336 MAIL SERVICE CENTER         OPERATIONAL ACCOUNTING                      RALEIGH            NC           27699
    North Carolina Dept of Revenue          Attn Bankruptcy Unit         PO Box 1168                                                                  Raleigh            NC           27602-1168
    NORTH CAROLINA DEPT OF
    REVENUE                                                              P O BOX 25000                                                                RALEIGH            NC           27640-0500
    NORTH CAROLINA DIV ON CAREER
    DEVLPMNT                                & TRANSITION                 3897 OLIVIA RD                                                               SANFORD            NC           27332
    NORTH CAROLINA EMPLOYMENT &
    TRAINING                                ATTN LINDA PARKER            P O BOX 1883                                                                 ASHEBORO           NC           27204
    NORTH CAROLINA EMPLOYMENT &
    TRAINING                                ASSOCIATION                  P O BOX 1883                                                                 ASHEBORO           NC           27204
    NORTH CAROLINA ENGLISH
    TEACHERS ASSN                           ATTN KAREN MILLER            169 WOOD DUCK LOOP                                                           MOORESVILLE        NC           28117
    NORTH CAROLINA MIDDLE SCHOOL
    ASSN                                                                 P O BOX 5216                                                                 PINEHURST          NC           28374-5216
    NORTH CAROLINA SCH
    PSYCHOLOGY ASSN                                                      P O BOX 12661                                                                DURHAM             NC           27709
    NORTH CAROLINA SCIENCE TCHRS
    ASSOC                                   ATTN KAY SWOFFORD            405 BATTLEGROUND AVE, STE 204                                                GREENSBORO         NC           27401
    NORTH CAROLINIANS FOR HOME
    EDUCATION                                                            4336-A BLAND RD                                                              RALEIGH            NC           27609

    NORTH CENTRAL UNIV BOOKSTORE                                         910 ELLIOT AVE                                                               MINNEAPOLIS        MN           55404
    NORTH CHARLESTON CATERING CO            NORTH CHARLESTON EMBASSY
    INC                                     SUITES                       5055 INTERNATIONAL BLVD                                                      NORTH CHARLESTON   SC           29418
    North Coast Down Syndrom                                             PO Box 456                                                                   Nehalem            OR           97131
    North Coast Down Syndrome Ntwk          C/O Julie Chick              PO Box 473                                                                   Nehalem            OR           97131
    NORTH COW CREEK ELEM SCHOOL
    DISTRICT                                                             10619 SWEDE CREEK ROAD                                                       PALO CEDRO         CA           96073
    NORTH DAKOTA ASSN FOR
    LIFELONG                                LEARNING                     806 WASHINGTON STREET            ATTN SANDY WOLLEN                           BISMARCK           ND           58501



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                               331 of 488                                                                               1:26 PM
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                                                                                                                           of 519
                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName                  Address1                     Address2                          Address3                    City        State       Zip           Country
    NORTH DAKOTA ASSN OF                                                                                    DARRYL TUNSETH - PHOENIX ELEM
    ELEMENTARY                              SCHOOL PRINCIPALS              351 4TH AVENUE SOUTH             SCH                                                           GRAND FORKS       ND           58201-4635
    NORTH DAKOTA CNCL OF TCHRS OF
    MATHS                                   USE VENDOR # 1-9423            500 UNIVERSITY AVE W             316 MODEL HALL                    MINOT STATE UNIVERSITY      MINOT             ND           58707
    NORTH DAKOTA CNCL OF TCHRS OF
    MATHS                                   TIMOTHY L MORRIS               500 UNIVERSITY AVE W             316 MODEL HALL                    MINOT STATE UNIVERSITY      MINOT             ND           58707
    NORTH DAKOTA COUNCIL OF                 TEACHER OF MATHEMATICS         1509 10TH ST NE                                                                                JAMESTOWN         ND           58401
    NORTH DAKOTA COUNCIL OF                 ATTN LORI HARE                 1509 10TH ST NE                                                                                JAMESTOWN         ND           58401
    NORTH DAKOTA COUNCIL OF
    EDUCATIONAL                             LEADERS                        121 E ROSSER AVENUE                                                                            BISMARCK          ND           58501

    NORTH DAKOTA EDUCATION ASSOC                                           301 N 4TH ST                                                                                   BISMARCK          ND           58501
    NORTH DAKOTA SCHOOL SERVICE
    ASSOC                                                                  3102 38 1/2 AVENUE SW                                                                          FARGO             ND           58104

    North Dakota State Tax Dept   Attn Office of State Tax Commissioner    600 E Blvd Ave                                                                                 Bismark           ND           58505-0599
    NORTH GEORGIA COLLEGE & STATE
    UNIVERSITY                    NGCSU CAMPUS CONNECTION                  82B COLLEGE CIRCLE                                                                             DAHLONEGA         GA           30597
    NORTH GIBSON SCHOOL CORP                                               1108 N EMBREE STREET                                                                           PRINCETON         IN           47670
    NORTH GLEN ELEM SCHOOL                                                 615 W FURNACE BRANCH RD                                                                        GLEN BURNIE       MD           21061
    NORTH HIGHLAND COMPANY                                                 P O BOX 101353                                                                                 ATLANTA           GA           30392-1353
    NORTH HILLS SCHOOL DISTRICT                                            135 SIXTH AVE                                                                                  PITTSBURGH        PA           15229

    NORTH JERSEY MEDIA GROUP                ATTN JANINE HARLOP             1 GARRET MOUNTAIN PLAZA 6TH FL                                                                 WOODLAND PARK     NJ           07424-0471
    North Judson-San Pierre School          Attn Jeff Gangloff             801 Campbell Drive                                                                             North Judson      IN           46366
    NORTH KANSAS CITY SCHOOL
    DISTRICT                                                               2000 NE 46TH STREET                                                                            KANSAS CITY       MO           64116
    North Kingstown School Dist             Attn Cheryl                    25 Salisbury Ave                                                                               North Kingstown   RI           02852
    North Kingstown School Dist.            Accounts Receivable            100 Fairway Drive                                                                              North Kingston    RI           02852-7113
    North Orange County ROP                 Attn Pedro Ibarra              385 N Muller Street                                                                            Anaheim           CA           92801
                                                                           510 FRONT STREET WEST, 4TH
    NORTH PLAINS SYSTEMS CORP                                              FLOOR                                                                                          TORONTO           ON           M5V 3H3      Canada
    NORTH SOUTH BOOKS                                                      600 THIRD AVENUE 2ND FLOOR                                                                     NEW YORK          NY           10016
    NORTH SOUTH BOOKS INC                                                  600 THIRD AVENUE 2ND FLOOR       US STEUERBERATUNG LLC             MATI H SALOMON              NEW YORK          NY           10016
    NORTH STAR ACADEMY CHARTER
    SCHOOL OF                               NEWARK                         10 WASHINGTON PLACE                                                                            NEWARK            NJ           07102
    NORTH WIND AIR CONDITIONING &           REFRIDGERATION CO              P O BOX 185                                                                                    BOXFORD           MA           01921
    NORTH WIND PICTURES ARCHIVES
    INC                                                                    12 WATERBORO RD                                                                                ALFRED            ME           04002
    NORTHAMPTON COUNTY AREA
    COMM COLLEGE                                                           3835 GREEN POND RD                                                                             BETHLEHEM         PA           18020

    NORTHBROOK SCHOOL DISTRICT 27                                          1250 SANDERS ROAD                                                                              NORTHBROOK        IL           60062
    NORTHEAST ASCD                                                         322 MAIN ST, BLDG # 1, 3RD FL    ATTN HEIDI VAN FLATERN            EASTCONN AT WINDHAM MILLS   WILLIMANTIC       CT           06226
    NORTHEAST CONF ON THE
    TEACHING OF                             FOREIGN LANGUAGES              P O BOX 1773                                                                                   CARLISLE          PA           17013
    NORTHEAST CREATIONS INC                                                216 LAFAYETTE ROAD                                                                             NORTH HAMPTON     NH           03862
    NORTHEAST EXTERMINIATING CO                                            326 HWY 12 WEST                                                                                STARKVILLE        MS           39759
    NORTHEAST FOUNDATION FOR
    CHILDREN INC                                                           P O BOX 718                                                                                    TURNER FALLS      MA           01376
    NORTHEAST GEORGIA REGIONAL
    EDU SVC AGNCY                           ATTN BRENDA MERCER             375 WINTER STREET                                                                              WINTERVILLE       GA           30683
    NORTHEAST HUMAN RESOURCES
    ASSOC                                                                  303 WYMAN STREET, STE 285                                                                      WALTHAM           MA           02451-1253
    NORTHEAST II INC                        DBA TC SPECIALTIES             5911 PHILIPS HWY                                                                               JACKSONVILLE      FL           32216
    NORTHEAST MEDIA                                                        32 PEMBERTON ST                                                                                CAMBRIDGE         MA           02140
    NORTHEAST TEXAS COMMUNITY
    COLLEGE                                 BOOKSTORE                      P O BOX 1307                                                                                   MOUNT PLEASANT    TX           75456

    NORTHEASTERN STATE UNIVERSITY                                          612 GRAND AVENUE SOUTH DOCK      UNIVERSITY BS                                                 TAHLQUAH          OK           74464
    NORTHEASTERN WISCONSIN
    EDUCATION ASSN                ATTN KAREN STUEBS                        160 COLUMBINE LANE                                                                             SHEBOYGAN FALLS   WI           53085
    NORTHERN CALI WRITING CENTER
    ASSOC                                                                  416 ALRARADO ST                                                                                BRISBANE          CA           94005
    NORTHERN CALIFORNIA
    INDEPENDENT                   BOOKSELLERS ASSOCIATION                  PO BOX 29169                                                                                   SAN FRANCISCO     CA           94129
    NORTHERN CALIFORNIA PUBLIC    BROADCASTING INC                         2601 MARIPOSA STREET                                                                           SAN FRANCISCO     CA           94110
    NORTHERN ILLINOIS EDUCATIONAL
    REP ASSO                                                               638 BODIN ST                     ATTN JENNIFER TEELUCKSINGH                                    HINSDALE          IL           60521
    NORTHERN ILLINOIS UNIVERSITY                                           2280 BETHANY ROAD                ATTN SUSAN BEAN                                               DE KALB           IL           60115



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                  332 of 488                                                                                                    1:26 PM
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                                                                                                                      of 519
                                                                                                                   First Class Service List


                 CreditorName           CreditorNoticeName                           Address1                              Address2                      Address3                City         State       Zip           Country
                                 KENTUCKY CENTER FOR
    NORTHERN KENTUCKY UNIVERSITY MATHEMATICS                             MEP 475                                                                                      HIGHLAND HEIGHTS   KY           41076
    NORTHERN MICHIGAN UNIV
    BKST/NACS                    UNIVERSITY CENTER                       1401 PRESQUE ISLE AVE                                                                        MARQUETTE          MI           49855
    NORTHERN SAFETY CO INC                                               P O BOX 4250                                                                                 UTICA              NY           13504-4250
    NORTHHAMPTON COMM COLL
    BOOKSTORE                    MONROE CAMPUS                           3 OLD MILL RD                                                                                TANNEERSVILLE      PA           18372
    NORTHLAKE PARK COMMUNITY
    SCHOOL                                                               9055 NORTHLAKE PARKWAY                                                                       ORLANDO            FL           32827
    NORTHLAND PINES HIGH SCHOOL                                          1800 PLEASURE ISLAND ROAD        ATTN JOHN HAYES                                             EAGLE RIVER        WI           54521

    NORTHLAND PINES MIDDLE SCHOOL                                        1700 PLEASURE ISLAND RD          ATTN JACQUELINE J COGHLAN                                   EAGLE RIVER        WI           54521
    NORTHSIDE CARTING INC                                                210 HOLT RD                                                                                  NORTH ANDOVER      MA           01845
    NORTHSIDE EDUCATION
    FOUNDATION                                                           6632 BANDERA RD BLDG A                                                                       SAN ANTONIO        TX           78238
    Northside Middle School                                              8720 Granby St.                                                                              Norfolk            VA           23503
    NORTH-SOUTH BOOKS INC                   ATTN MATI H SALOMON          600 THIRD AVENUE - 2ND FLOOR     U S STEUERBERATUNG LLC                                      NEW YORK           NY           10016
    NORTHWEST AREA EDUCATION
    AGENCY                                  NW AEA-ICLC                  1520 MORNINGSIDE AVENUE                                                                      SIOUX CITY         IA           51106
    Northwest Catholic District                                          75 Van Horne Avenue                                                                          Dryden             ON           P8N 2B2      Canada
    NORTHWEST COLLEGE                                                    231 WEST 6TH ST                                                                              POWELL             WY           82435
    NORTHWEST COUNCIL FOR
    COMPUTER EDUC                                                        1277 UNIVERSITY OF OREGON                                                                    EUGENE             OR           97403
    NORTHWEST EVALUATION
    ASSOCIATION                                                          121 NW EVERETT STREET                                                                        PORTLAND           OR           97209
    NORTHWEST EVALUATION
    ASSOCIATION                                                          5885 SW MEADOWS ROAD, STE 200                                                                LAKE OSWEGO        OR           97035
    Northwest Foundation, Inc.                                           800 University Drive                                                                         Maryville          MO           64468
    NORTHWEST GEORGIA RESA                                               3167 CEDARTOWN HWY SE            ATTN ACCOUNTING                                             ROME               GA           30161
    NORTHWEST TEXTBOOK                      DBA MOUNTAIN STATE SCHBOOK
    DEPOSITORY                              DEPOSITORY                   P O BOX 160250                   FREEPORT CENTER BLDG N-7                                    CLEARFIELD         UT           84016-0250
    NORTHWEST TEXTBOOK
    DEPOSITORY
    NORTHWEST TEXTBOOK
    DEPOSITORY                                                           P O BOX 160250                   FREEPORT CENTER BLDG N-7                                    CLEARFIELD         UT           84016-0250
    NORTHWESTERN COLLEGE                                                 3003 SNELLING AVENUE N                                                                       SAINT PAUL         MN           55113-1598
    NORTHWESTERN COLLEGE
    BKST/NACS                               ROWENHORST STUDENT CENTER    208 8TH STREET SW                                                                            ORANGE CITY        IA           51041
    NORTHWESTERN UNIVERSITY
    LIBRARY                                                              1970 CAMPUS DRIVE                                                                            EVANSTON           IL           60208-0882
    NORTHWESTERN UNIVERSITY                 ATTN G BENNION RE
    PRESS                                   METAMORPHOSES PERM           629 NOYES STREET                                                                             EVANSTON           IL           60208
    NORTHWESTERN WISCONSIN EDUC
    ASSN                                    ATTN KAREN STUEBS            1415 EAST WALNUT STREET                                                                      GREEN BAY          WI           54301
    NORTHWOOD ACADEMY CHARTER                                            2901 S 15TH STREET                                                                           PHILADELPHIA       PA           19145
    Norwalk Public Schools                                               125 East Avenue                  PO box 6001                                                 Norwalk            CT           06852
    NORWEGIAN-AMERICAN
    HISTORICAL ASSN                                                      1510 ST OLAF AVENUE                                                                          NORTHFIELD         MN           55057-1097
    NOTARY PUBLIC UNDERWRITERS
    INC                                                                  PO BOX140106                                                                                 AUSTIN             TX           78714-0106
    NOTEWORTHY GROUP INC                    BEAUTIFULDISPLAYS.COM        3952 SOUTH ILLINOIS AVENUE                                                                   CARBONDALE         IL           62903
    Nothoma Carney                                                       38 S Park Ave                    #101                                                        Winter Garden      FL           34787
    NOU MOUA                                                             418 W 130TH STREET APT 17                                                                    NEW YORK           NY           10027
    Nouvel-Ontario                                                       201 Rue Jogues                                                                               Sudbury            ON           P3E 0A4      Canada
    NOVA BERNARD THRIFFILEY                                              508 E 46TH STREET                                                                            SAVANNAH           GA           31405
    Nova Scotia Dept of Finance                                          PO Box 187                       1723 Hollis St                                              Halifax            NS           B3J 2N3      Canada
    NOVEMBER LEARNING INC                                                12 HATHAWAY ROAD                                                                             MARBLEHEAD         MA           01945
    NOVICK PETER                                                         5000 SOUTH CORNELL AVENUE                                                                    CHICAGO            IL           60615
    NOVOTNY ADRIAN S                                                     5802 EAST PARKCREST ST                                                                       LONG BEACH         CA           90808
    Novotny, Lois
    NOWICKI STEPHEN                                                      5620 WILLETT ROAD                                                                            DURHAM             NC           27705
    NPK ASSOCIATES INC                                                   329 W 18TH STREET # 106                                                                      CHICAGO            IL           60616
    NPS LLC                                 DBA GILLETTE STADIUM         ONE PATRIOT PLACE                                                                            FOXBOROUGH         MA           02035
    NPT Breast Cancer 3-Day                                              165 Township Line Road           Suite 150                                                   Jenkintown         PA           19046-3593
    NRAI Corporate Services                                              PO Box 953                                                                                   West Windsor       NJ           08550-0927
    NSIGHT INC                                                           1 VAN DE GRAAFF DRIVE, STE 202                                                               BURLINGTON         MA           01803
    NSO Press, Inc.                                                      1921 East 68th Avenue                                                                        Denver             CO           80229-7372
    NUEVA SCHOOL                                                         6565 SKYLINE BLVD                                                                            HILLSBOROUGH       CA           94010
    NUEVA SOCIEDAD HOTELERA                                              FRENTE AL MALL MUTIPLAZA         BOULEVARD DEL SUR                   RESIDENTIAL LOS ARCOS   SAN PEDRO SULA                               Honduras




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                     333 of 488                                                                                              1:26 PM
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                                                                                                                             of 519
                                                                                                                      First Class Service List


                 CreditorName                        CreditorNoticeName                  Address1                           Address2                       Address3               City        State       Zip                Country
                                            ATTN C J LEACH - DEPUTY FINANCE
    NUFFIELD COLLEGE                        OFFICER                         NEW ROAD                                                                                  OXFORD                          OX1 1NF      United Kingdom
    Nunavut Department of Finance           Attn Steven James               PO Box 1000 Station 330                                                                   Iqaluit            NU           XOA OHO      Canada
    NUNES SUSAN MIHO                                                        1 TAMALPAIS ROAD                                                                          BERKELEY           CA           94708
    NUTTER MCCLENNEN & FISH LLP             WORLD TRADE CENTER WEST         155 SEAPORT BLVD                                                                          BOSTON             MA           02210-2604
    Nutter, McClennen & Fish
    NY STATE COMPUTERS & TECH IN
    ED                                      ATTN DAN GYOERKOE                 8 AIRPORT PARK BLVD                                                                     LATHAM             NY           12110
    NYC BOARD OF EDUCATION
    NYC DEPARTMENT OF EDUC
    NYC Leadership Academy                  Accounts Payable                  52 Chambers Street                                                                      New York           NY           10007
    NYDIA D BARRETO GONZALEZ                URB MASIONES DEL LAGO             104 VIA LA MANSION                                                                      TOA BAJA           PR           00949-3260
    NYS Corporation Tax                     Processing Unit                   P.O. Box 22095                                                                          Albany             NY           12201-2095
    NYS COUNCIL FOR EXCEPTIONAL
    CHILDREN                                ATTN MELISSA LAUN                 1300 ELMWOOD AVENUE                                                                     BUFFALO            NY           14222
    NYS Department of Labor                 Debbie Anziano                    State Office Campus             Building #12, Room #256                                 Albany             NY           12240
    NYS DEPT OF TAXATION AND
    FINANCE                                                                   400 OAK STREET STE 102                                                                  GARDEN CITY        NY           11530-6554
    NYS Employment Taxes                                                      PO Box 4119                                                                             Binghamton         NY           13902-4119
    NYS Income Tax                          NYS Tax Department                Processing Unit                 PO Box 4111                                             Binghamton         NY           13902-4111
    NYS TAX DEPT                            RPC-ST REG-Q/M                    P O BOX 15165                                                                           ALBANY             NY           12212-5165
                                                                                                                                                 PUTNAM/NORTHERN
    NYSPEED                                                                   200 BOCES DRIVE                 ATTN ROBERT E KELDERHOUSE          WESTCHESTER BOCES    YORKTOWN HEIGHTS   NY           10598
    O C TANNER RECOGNITION CO                                                 1930 SOUTH STATE ST                                                                     SALT LAKE CITY     UT           84115
                                                                              3101 E. CALHOUN PARKWAY, APT
    O NEAL RUTH H                                                             503                                                                                     MINNEAPOLIS        MN           55408
    O POSITIVE INC                                                            PO BOX 325                                                                              EASTHAM            MA           02642
    O W TOAD LTD                                                              105 ADMIRAL RD                                                                          TORONTO            ON           M5R 2L7      Canada
    O2 Ireland Ltd                                                            National Technology Park                                                                Limerick           LI                        Ireland
    OABE                                    OKTESOL                           1609 VALLEY RIDGE ROAD                                                                  NORMAN             OK           73072
    OABE                                    ATTN BEVERLY DEWITT               1609 VALLEY RIDGE ROAD                                                                  NORMAN             OK           73072
    OAK BROOK HILLS MARRIOTT
    RESORT                                                                    3500 MIDWEST ROAD                                                                       OAK BROOK          IL           60523
    OAK HILL ADVISORS
    OAK KNOLL SCHOOL PTO                                                      1895 OAK KNOLL LANE                                                                     MENLO PARK         CA           94025
    OAK LAWN HOMETOWN SCH DIST
    123                                                                       4201 W 93RD STREET                                                                      OAK LAWN           IL           60453
    OAK PARK EDUCATION
    FOUNDATION                                                                970 MADISON STREET                                                                      OAK PARK           IL           60302
    OAK SYSTEMS LTD                                                           84 KINGS ROAD                                                                           SOUTHSEA                        PO54DN       United Kingdom
    Oakland Intermediate Schools                                              2111 Pontiac Lake Road                                                                  Waterford          MI           48328

    OAKLAND MUSEUM OF CALIFORNIA ATTN RIGHTS & REPRODUCTION                   1000 OAK STREET                                                                         OAKLAND            CA           94607
    OAKRIDGE PUBLIC SCHOOLS                                                   275 S WOLF LAKE ROAD                                                                    MUSKEGON           MI           49442
    OAKTREE
    OASCD EXHIBITS                                                            PO BOX 773                                                                              OKLAHOMA CITY      OK           73101
    OASIS                                                                     630 BOSTON ROAD, P OBOX 455                                                             BILLERICA          MA           01821
    OASIS ELECTRIC, INC                                                       13713 THERMAL DR                                                                        AUSTIN             TX           78728
    OBED GOMEZ ARTS INC                                                       14339 BABYLON WAY                                                                       ORLANDO            FL           32824
    OBER CAROL                                                                34 ALLEN ST                                                                             ARLINGTON          MA           02474
    OBER HAL                                                                  34 ALLEN ST                                                                             ARLINGTON          MA           02474
    OBERON BOOKS LIMITED                                                      521 CALEDONIAN ROAD                                                                     LONDON                          N7 9RH       United Kingdom
    OBLATE MEDIA AND
    COMMUNICATION CORP           DBA VIDEOS VALUES                            4126 SEVEN HILLS DRIVE                                                                  FLORISSANT         MO           63033
    OBRIEN ANNE SIBLEY                                                        50 MAPLE STREET                                                                         PEAKS ISLAND       ME           04108

    OBRIEN PRESS LTD                                                          12 TERENURE ROAD EAST RATHGAR                                                           DUBLIN                                       Ireland
    OCallaghan, Barry
    OCallaghan, Finbar Timothy
    OCarroll, Fiona
    OCCUPATIONAL HEALTH CENTERS
    OF NJ                                   DBA CONCENTRA                     P O BOX 8750                                                                            ELKRIDGE           MD           21075-8750
    OCE PRINTING SYSTEMS USA INC            DBA OCE                           12379 COLLECTIONS CENTER DR                                                             CHICAGO            IL           60693
    OCEAN EXPLORATION TRUST INC                                               86 ELYS FERRY RD P O BOX 42                                                             OLD LYME           CT           06371
                                 DBA OCEAN PLACE RESORT AND
    OCEAN PLACE DEVELOPEMENT LLC SPA                                          1 OCEAN BLVD                                                                            LONG BEACH         NJ           07740
    OCEANWIDE IMAGES PICTURE
    LIBRARY                                                                   PO BOX 280                                                                              TOORMINA                        02452        Australia
    OCONNELL CAITLIN                                                          6924 WELLER ST                                                                          SAN DIEGO          CA           92122
    OConnell Consulting, Inc.    Mary Jane OConnell                           3744 Christy Ridge Rd.                                                                  Sedalia            CO           80135



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                      334 of 488                                                                                                  1:26 PM
                                                      12-12171-reg                  Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                     Pg Creditor
                                                                                                                         342 Matrix
                                                                                                                                 of 519
                                                                                                                           First Class Service List


               CreditorName                          CreditorNoticeName                         Address1                        Address2              Address3              City          State       Zip                Country
    OConnor, Timothy                        Global Securitization Services, LLC   114 West 47th Street             Suite 2310                                    New York            NY           10036
    OConnor, Timothy
    OCTAGON PRESS LTD                       RIGHTS AND PERMISSIONS                78 YORK STREET                                                                 LONDON                           W1H 1DP      United Kingdom
                                                                                                                                                                 COL DEL VALLE
                                                                                                                                                                 DELEGACION BENITO
    OCTAVIO COLMENARES Y VARGAS                                                   HERIBERTO FRIAS NUM 1104                                                       JUAREZ                           03100        Mexico
    OCTAVIO J VISIEDO INC                                                         7195 LAGO DRIVE EAST                                                           CORAL GABLES        FL           33143-6512
    Octavio Phillips                                                              2855 Burwood Ave                                                               Orlando             FL           32837
    OCTAVO COMMUNICATIONS                                                         319 NEEDLES TRL                                                                LONGWOOD            FL           32779
    Odell Kennedy                                                                 678 Dulaney Bend                                                               Columbia            SC           29229
    Odessa Gray                                                                   325 Tappan St                                                                  Brookline           MA           02445
    ODESSA KILPATRICK ELEMENTARY
    SCHOOL                                                                        26100 CINCO RANCH BLVD                                                         KATY                TX           77494
    ODYL FARM LLC                                                                 230 THIRD AVENUE                                                               WALTHAM             MA           02451
    ODYSSEY PRESS INC                                                             22 NADEAU DRIVE                                                                GONIC               NH           03839
    ODYSSEY PRODUCTIONS                                                           2633 NORTH GREENVIEW AVE                                                       CHICAGO             IL           60614-1115
    ODYSSEY PRODUCTIONS INC                                                       450 W 41ST STREET ROOM 606                                                     NEW YORK            NY           10036
                                                                                  684 EAST ALTAMONTE SPRINGS
    OEC PARTNERSHIP INC                     DBA OEC BUSINESS INTERIORS            DRIVE                                                                          ALTAMONTE SPRINGS   FL           32701
    OFELIA GARCIA                                                                 42 HARMON AVE                                                                  PELHAM              NY           10803
    Ofelia Lopez                                                                  1790 Clubhouse Drive             #11                                           Aurora              IL           60504
    OFF CAMPUS BOOKSTORE                                                          696 BAXTER STREET                                                              ATHENS              GA           30605
    Office Depot                                                                  6600 N. Military Trail - S401F                                                 Boca Raton          FL           33496
    OFFICE DEPOT                                                                  P O BOX 633211                                                                 CINCINNATI          OH           45263-3211
    OFFICE DEPOT                                                                  PO BOX 88040                                                                   CHICAGO             IL           60680-1040
    Office Depot Credit Plan                Dept. 56 - 4610049461                 P.O. Box 9020                                                                  DES MOINES          IA           50368-9020
    OFFICE DETAIL                                                                 P O BOX 784                                                                    FAYETTEVILLE        AR           72702
    Office Equipment Finance Serv.                                                PO Box 790448                                                                  Saint Louis         MO           63179-0448
    OFFICE FURNITURE RESOURCES
    INC                                                                           8787 W BROWN DEAR ROAD                                                         MILWAUKEE           WI           53224
    Office Furniture Specialist                                                   4798 E. Mexico Avenue                                                          Denver              CO           80222
    Office Liquidators                                                            11111 W. 6th Avenue                                                            Denver              CO           80215
    OFFICE OF CATHOLIC EDUCATION            EXHIBITOR REGISTRATION                1510 N. FRESNO STREET                                                          FRESNO              CA           93703-3711
    OFFICE OF EDUC -DIOCESE OF                                                                                     ATTN SR ANITA PATRICK
    ALLENTOWN                                                                     2145 MADISON AVENUE              GALLAGHER                                     BETHLEHEM           PA           18017
    OFFICE OF SCHOOLS, DIOCESE OF
    ORLANDO                                                                       50 EAST ROBINSON ST                                                            ORLANDO             FL           32801
    Office of State Tax Commission                                                600 E Boulevard Avenue           Department 127                                Bismarck            ND           58505-0599
    OFFICE OF STATE TAX
    COMMISSIONER                                                                  600 E BOULEVARD AVE, DEPT 127                                                  BISMARCK            ND           58505-0553
    OFFICE OF THE NAVAJO TAX
    COMMISSION                                                                    P O BOX 1903                                                                   WINDOW ROCK         AZ           86515-1903
    OFFICE OF THE SECRETARY                 OF THE COMMONWEALTH                   ONE ASHBURTON PLACE                                                            BOSTON              MA           02108
    OFFICE OF THE SECRETARY OF
    STATE                                   GEORGIA ARCHIVES                      5800 JONESBORO RD                                                              MORROW              GA           30260
    OFFICE OF THE SUPERINTENDENT
    OF SCHOOLS                              ADNY ATTN DR. GERICS                  1011 FIRST AVENUE                                                              NEW YORK            NY           10022
    OFFICE REVOLUTION LLC                                                         54 W HUBBARD ST STE 101                                                        CHICAGO             IL           60654
    Office Team                             File 73484                            PO Box 60000                                                                   San Francisco       CA           94160-3484
    OFFSET PAPERBACK MFRS INC               101 MEMORIAL HGWY                     P O BOX N                                                                      DALLAS              PA           18612-1419
    OGBURN JACQUELINE K                                                           115 WEST SEEMAN ST                                                             DURHAM              NC           27701
    OGDEN SERVICE CENTER                                                          P O BOX 409101                                                                 OGDEN               UT           84409
                                            WACHOVIA LOCKBOX 1820 FC 1-2-4-
    OGILVY AND MATHER                       3                               1 NORTH 5TH STREET                                                                   PHILADELPHIA        PA           19178
    OGLALA LAKOTA COLLEGE
    BOOKSTORE                                                                     3 MILE CREEK ROAD                                                              KYLE                SD           57752
    OGLALA SIOUX TRIBE                      DEPARTMENT OF REVENUE                 P O BOX 363                                                                    PINE RIDGE          SD           57770
    OGLE DONNA                                                                    1449 WEST FARGO # 3                                                            CHICAGO             IL           60626
    Ogletree, Deakins, Nash,                Smoak & Stewart, P.C.                 PO Box 89                                                                      Columbia            SC           29202
    OGRADY ELIZA                            KILBALLYOWEN                          BRUFF                                                                          CO LIMERICK 4                                 Ireland
    OGRADY FAITH                                                                  3 COULSON AVE RATHGAR                                                          DUBLIN                           6            Ireland
    Ohilda H Perdomo                                                              656 W 160th St                   3C                                            New YORK            NY           10032
    OHIO ALLIANCE FOR PUBLIC
    CHARTER SCHS                                                                  33 NORTH THIRD STREET, STE 600                                                 COLUMBUS            OH           43215-3534
    OHIO ASSN FOR ADULT &
    CONTINUING EDUC                         ATTN PAM BRENNEMAN                    30335 OREGON RD                                                                PERRYSBURG          OH           43551

    OHIO ASSN FOR SUPERVISION AND CURRICULUM DEVELOPMENT                          P O BOX 6                                                                      NEW MADISON         OH           45346
    OHIO ASSOC OF ELEM SCH                                                        2600 CORPORATE EXCHANGE DR
    ADMINISTRATORS                                                                STE 168                          ATTN CHEREE RICHARDS                          COLUMBUS            OH           43231



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                             335 of 488                                                                                       1:26 PM
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                                                                                                                                of 519
                                                                                                                           First Class Service List


                CreditorName                          CreditorNoticeName                       Address1                         Address2              Address3               City        State       Zip      Country
    OHIO ASSOCIATION FOR GIFTED
    CHILDREN                                                                     PO BOX 30801                                                                    GAHANNA            OH           43230
    Ohio Casualty Insurance Company                                              9450 Seward Road                                                                Fairfield          OH           45014
    Ohio Casulty Insurance Company                                               9450 Seward Road                                                                Fairfield          OH           45014
    OHIO COUNCIL FOR SOCIAL
    STUDIES                                                                      3258 SCIOTO FARMS DRIVE             ATTN LINDA MCKEAN LOGAN                     HILLIARD           OH           43026
    OHIO COUNCIL OF TCHRS OF ENG
    LANG ARTS                                                                    18 S KINGSHIGHWAY BLVD APT 9N       ATTN SARAH WRIGHT                           ST LOUIS           MO           63108
    OHIO COUNCIL OF TCHRS OF
    MATHEMATICS                                                                  333 ARPS HALL 1945 N HIGH ST                                                    COLUMBUS           OH           43210
                                            OHIO DIVISION OF UNCLAIMED
    OHIO DEPT OF COMMERCE                   FUNDS                                77 S HIGH ST 20th FLOOR                                                         COLUMBUS           OH           43215

    Ohio Dept of Taxation                   Attn Bankruptcy Division Rebecca Daum PO Box 530                                                                     Columbus           OH           43216
    OHIO FOREIGN LANGUAGE
    ASSOCIATION                             C/O THE MEETING CONNECTION           6373 MEADOW GLEN DR N                                                           WESTERFIELD        OH           43082-8299
    OHIO HEAD START ASSOCIATION
    INC                                                                          144 WESTPARK DRIVE                                                              DAYTON             OH           45459
                                            CURATORIAL SERVICES DEPT
    OHIO HISTORICAL SOCIETY INC             DUPLICATION SER                      1982 VELMA AVE                                                                  COLUMBUS           OH           43211-2497
    OHIO SCHOOL BOARDS
    ASSOCIATION                                                                  8050 NORTH HIGH ST SUITE 100                                                    COLUMBUS           OH           43235-6481
    OHIO SCHOOL PSYCHOLOGIST
    ASSN                                    ATTN CHERYL VANDENBERGE              104 MILL STREET SUITE F                                                         GAHANNA            OH           43230
    OHIO SECRETARY OF STATE                                                      30 EAST BROAD ST 14TH FLR                                                       COLUMBUS           OH           43266
    Ohio Secretary of State                                                      P.O. Box 670                                                                    Columbus           OH           43216
                                            CAROLINE COSTON - RESEARCH
    OHIO STATE UNIVERSITY                   SPECIALIST                           1900 KENNY RD                                                                   COLUMBUS           OH           43214
                                                                                 180 PRESSEY HALL, 1070 CARMACK
    OHIO STATE UNIVERSITY PRESS                                                  RD                             C/O MALCOLM LITCHFIELD                           COLUMBUS           OH           43210
    OHIO TESOL                                                                   605 NORTH HIGH STREET PMB 172                                                   COLUMBUS           OH           43215

    OHIO TITLE 1 FEDERAL PROGRAMS                                                1261 GAMBLER RD                                                                 MY VERNON          OH           43050

    OHIO TREASURER OF STATE                 DEPARTMENT OF TRANSPORTATION PO BOX 16560                                                                            COLUMBUS           OH           43085
    OHIO TREASURER OF STATE                                              P O BOX 16561                                                                           COLUMBUS           OH           43216-6561
    Ohio Treasurer of State                                              PO Box 804                                                                              Columbus           OH           43216-0804
    OHIO UNIVERSITY                         COLLEGE BOOKSTORE            50 SOUTH COURT STREET                                                                   ATHENS             OH           45701
    OHIO WESLEYAN BOOKSTORE                                              40 ROWLAND AVENUE                                                                       DELAWARE           OH           43015
    OHO CORPORATION                         DBA OHO INTERACTIVE          1100 MASSACHUSETTS AVE                                                                  CAMBRIDGE          MA           02138
    OHR INC                                 OHR/MEDICAL DIMENSIONS       1275 SHILOH ROAD, STE 3050                                                              KENNESAW           GA           30144
    OI SHAN CHI                                                          68-41 CYDE ST, APT B                                                                    FOREST HILLS       NY           11375
    OKEECHOBEE COUNTY SCHOOL
    BOARD                                                                        700 SW 2ND AVENUE                                                               OKEECHOBEE         FL           34974
    OKEFENOKEE REGIONAL
    EDUCATIONAL                             SERVICES AGENCY                      1450 N AUGUSTA AVE                                                              WAYCROSS           GA           31503
    OKEFENOKEE REGIONAL
    EDUCATIONAL                             ATTN IRIS COLLINS                    1450 N AUGUSTA AVE                                                              WAYCROSS           GA           31503
    OKIMOTO JEAN DAVIES                                                          P.O. BOX 13305                                                                  BURTON             WA           98013
    OKLAHOMA ASSOC OF ELEM SCH
    PRINS                                   USE 1-799                            2901 LINCOLN BOULEVARD                                                          OKLAHOMA CITY      OK           73105
    OKLAHOMA ASSOC OF ELEM SCH
    PRINS                                   CHRISTI ROACH                        2901 LINCOLN BOULEVARD                                                          OKLAHOMA CITY      OK           73105

    OKLAHOMA CENTER FOR THE BOOK                                                 200 NE 18TH STREET                                                              OKLAHOMA CITY      OK           73105-3298
    OKLAHOMA CHRISTIAN HOME      CONSOCIATION - EXHIBITOR
    EDUCATORS                    COORDINATOR                                     3801 N W 63RD ST, BLDG 3, STE 236                                               OKLAHOMA CITY      OK           73116

    OKLAHOMA CITY PUBLIC SCHOOLS            WESTWOOD                             1701 W EXCHANGE                                                                 OKLAHOMA CITY      OK           73108

    OKLAHOMA CITY PUBLIC SCHOOLS            STONEGATE                            2525 NW 112TH                                                                   OKLAHOMA CITY      OK           73120

    OKLAHOMA CITY PUBLIC SCHOOLS            SHIDLER                              1415 S BYERS                                                                    OKLAHOMA CITY      OK           73125

    OKLAHOMA CITY PUBLIC SCHOOLS            PUTNAM HEIGHTS                       1601 NW 36                                                                      OKLAHOMA CITY      OK           73118

    OKLAHOMA CITY PUBLIC SCHOOLS            MONROE                               4810 N LINN                                                                     OKLAHOMA CITY      OK           73112

    OKLAHOMA CITY PUBLIC SCHOOLS            LEE                                  424 SW 29TH STREET                                                              OKLAHOMA CITY      OK           73119




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                          336 of 488                                                                               1:26 PM
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                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                          Address2                     Address3              City            State       Zip            Country

    OKLAHOMA CITY PUBLIC SCHOOLS            ATTN ACCOUNTS PAYABLE          900 NORTH KLEIN                                                                          OKLAHOMA CITY         OK           73106

    OKLAHOMA CITY PUBLIC SCHOOLS                                           1415 S BYERS                                                                             OKLAHOMA CITY         OK           73125

    OKLAHOMA CITY PUBLIC SCHOOLS                                           1601 NW 36                                                                               OKLAHOMA CITY         OK           73118

    OKLAHOMA CITY PUBLIC SCHOOLS                                           1701 W EXCHANGE                                                                          OKLAHOMA CITY         OK           73108

    OKLAHOMA CITY PUBLIC SCHOOLS                                           2525 NW 112TH                                                                            OKLAHOMA CITY         OK           73120

    OKLAHOMA CITY PUBLIC SCHOOLS                                           424 SW 29TH STREET                                                                       OKLAHOMA CITY         OK           73119

    OKLAHOMA CITY PUBLIC SCHOOLS                                           4810 N LINN                                                                              OKLAHOMA CITY         OK           73112

    OKLAHOMA CITY PUBLIC SCHOOLS                                           900 NORTH KLEIN                                                                          OKLAHOMA CITY         OK           73106
    OKLAHOMA CNCL FOR THE SOCIAL
    STUDIES                                                                2500 NORTH LINCOLN BLVD STE 315 OK SDOE - ATTN KELLY CURTRIGHT                           OKLAHOMA CITY         OK           73105-4599
    OKLAHOMA COUNCIL OF TCHRS OF
    MATHS                                                                  1714 S PRAIRIE RD                ATTN KAREN STRANDE                                      STILLWATER            OK           74074
    OKLAHOMA COUNCIL OF TEACHRS
    OF ENGLISH                                                             2301 REGIS COURT                 ATTN LAURA BOLF-BELIVEAU                                NORMAN                OK           73071
    OKLAHOMA COUNTY TREASURER                                              P O BOX 268875                                                                           OKLAHOMA CITY         OK           73126-8875
    OKLAHOMA EDUCATION ASSOC                OAE BUSINESS OFFICE            P O BOX 18485                                                                            OKLAHOMA CITY         OK           73154-0485
    OKLAHOMA EDUCATIONAL
    PUBLISHERS ASSN                                                        P O BOX 60160                                                                            OKLAHOMA CITY         OK           73146
    OKLAHOMA FEDERATION OF THE
    COUNCIL                                 FOR EXCEPTIONAL CHILDREN       1836 NORTHWEST 14TH STREET                                                               OKLAHOMA CITY         OK           73106
    OKLAHOMA GAS & ELECTRIC CO                                             PO BOX 24990                                                                             OKLAHOMA              OK           73124
    OKLAHOMA LITERACY COALITION             ATTN DERK WATSON               2500 N LINCOLN BLVD RM 115                                                               OKLAHOMA CITY         OK           73105
    OKLAHOMA SCIENCE TEACHERS
    ASSN                                                                   P O BOX 2213                                                                             NOBLE                 OK           73068
    Oklahoma Secretary of State                                            2300 N. Lincoln Blvd.            Room 101                                                Oklahoma City         OK           73105-4897
    OKLAHOMA STATE DEPT OF
    EDUCATION                                                              15125 EAST MARLAR RD                                                                     CLAREMORE             OK           74019-2153
    OKLAHOMA STATE SCH BOARDS
    ASSN INC                                ATTN KELLY ROSS                2801 N LINCOLN BLVD STE 125                                                              OKLAHOMA CITY         OK           73105
    OKLAHOMA STATE TAX
    COMMISSION                                                             2501 N. LINCOLN BLVD.                                                                    OKLAHOMA CITY         OK           73194
    OKLAHOMA STATE UNIV WRITING             OKLAHOMA STATE UNIV ENGLISH
    PROJECT                                 DEPT                           205 MORRILL HALL                                                                         STILLWATER            OK           74078-4069
    OKLAHOMA STATE UNIVERSITY                                              STUDENT UNION BOOKSTORE                                                                  STILLWATER            OK           74078
    Oklahoma Tax Commission                 Taxpayer Assistance Division   PO Box 26920                                                                             Oklahoma City         OK           73126-0800
    Oklahoma Tax Commission                 Attn Legal Division            120 N Robinson Ste 2000                                                                  Oklahoma City         OK           73102
    OKLAHOMA TAX COMMISSION                                                PO BOX 26890                                                                             OKLAHOMA CITY         OK           73126
    OKLAHOMA TAX COMMISSION                                                PO BOX 26930                                                                             OKLAHOMA CITY         OK           73126-0930
    OKLAHOMA TECHNOLOGY
    ASSOCIATION                             ENCYCLO MEDIA CONFERENCE       11840 SW 3RD STREET                                                                      YUKON                 OK           73099
    OKLAHOMAS EXCELLENCE                    INNOVATION 2011                P O BOX 32                                                                               OKLAHOMA CITY         OK           73101
    OLAFSDOTTIR GUDRUN ELIN                                                SUNNUFLOT 42                                                                             GARABAER                           00210        Iceland
    Olathe North High School                                               14160 Black Bob Road             P.O. Box 2000                                           Olathe                KS           66063
    OLATHE UNIFIED SCHOOL DISTRICT
    # 233                                                                  P O BOX 2000                                                                             OLATHE                KS           66063-2000
    OLD DARTMOUTH HISTORICAL
    SOCIETY                                                                18 JOHNNY CAKE HILL                                                                      BEDFORD               MA           02740
    OLD DOMINION UNIVERSITY
    RESEARCH                                FOUNDATION                     P O BOX 6369                                                                             NORFOLK               VA           23508
    OLD SCHOOL SQUARE INC                                                  51 N SWINTON AVENUE                                                                      DELRAY BEACH          FL           33444
                                                                           2 BARN COTTAGES YELLOSTONE
    OLD STREET PUBLISHING LTD                                              HOUSE                            PUDDINGTON TIVERTON                                     DEVON                              EX16 8LN     United Kingdom
    OLD STREET PUBLISHING LTD                                              YOWLESTONE HOUSE                                                    2 BARN COTTAGES      PUDDINGTON TIVERTON   Devon        EX16 8LN     United Kingdom
    OLDE TOWNE FLOOR COVERING
    INC                                                                    12344 S INDUSTRIAL DRIVE E                                                               PLAINFIELD            IL           60585-8575
    OLDENBURG DANIEL KATHRYN                                               2471 LOST VALLEY TRAIL                                                                   CONYERS               GA           30094
    OLDENBURG VAN BRUGGEN
    FOUNDATION                                                             556 BROOME STREET                                                                        NEW YORK              NY           10013
    OLDS CYNTHIA CRAIG                                                     727 SOUTH WARNOCK STREET                                                                 PHILADELPHIA          PA           19147
    OLEARYS FIRE TOURS                                                     P O BOX 236                                                                              SUMMIT                IL           60501
    Oleg Budanov                                                           669 26th Avenue                                                                          San Francisco         CA           94121




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                      337 of 488                                                                                                1:26 PM
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                                                                                                                            of 519
                                                                                                                          First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                            Address2              Address3                City         State       Zip             Country
    OLENTANGY LOCAL SCHOOL
    DISTRICT                                                               814 SHANAHAN RD                                                                      LEWIS CENTER        OH            43035
    OLF S A ENGLISH BOOKS                                                  Z I 3 CORMINBOEUF                                                                    FRIBOURG            Fribourg      01701        Switzerland
    OLGA ANGELO-DAY                                                        5412 DUVAL STREET                                                                    AUSTIN              TX            78751
    Olga R Wheatley                                                        8106 Marcella Drive                                                                  Orlando             FL            32836
    Olguimar Cruz                                                          2319 N. Austin Ave.                                                                  Chicago             IL            60639
    OLIPHANT MARTHA C                                                      3900 WATSON PL NW APT B-2G                                                           WASHINGTON          DC            20016
    Olive Street Productions                                               6306 S. 54th Lane                                                                    Laveen              AZ            85339
    OLIVE T WONG                                                           40 TIEMANN PLACE 3B                                                                  NEW YORK            NY            10027
    Oliver Cummings                                                        2777 Wedgewood Drive                                                                 Dekalb              IL            60115
    Oliver Group

    OLIVER GROUP                                                           595 GREENHAVEN ROAD SUITE 103                                                        PAWCATUCK           CT            06379
    OLIVER MARY                                                            8967 SE BAYBERRY TERRACE                                                             HOBE SOUND          FL            33455
    OLIVER SACKS                            DONT USETHE WYLIE AGENCY       250 WEST 57TH ST, STE 2114                                                           NEW YORK            NY            10017
    OLIVER TICCIATI                                                        8 NASSAU RD BARNES                                                                   LONDON                            SW13 9QE     United Kingdom
    OLIVER WALTER                                                          3705 RIDGE LINE DRIVE                                                                SAN BERNARDINO      CA            92407
    OLIVET COMMUNITY SCHOOLS                                               255 FIRST ST                                                                         OLIVET              MI            49076
    OLIVIA DEBURN                                                          3672 FOXCROFT CIRCLE                                                                 OVIEDO              FL            32765
    OLIVIA N JONES                                                         200 DUNLAP PLACE                                                                     SCHAUMBURG          IL            60194
    OLIVIER SCHRAUWEN                                                      REUTERSTRASSE 12                                                                     BERLIN                            12053        Germany
    Ollie Haney                                                            2260 W Fm 1868                                                                       Spur                TX            79370
    OLM, LLC                                                               4 Trefoil Dr.                                                                        Trumbull            CT            06611
    OLMOS MARGARITE FERNANDEZ                                              105 MIMOSA LANE                                                                      STATEN ISLAND       NY            10312
    OLOUGHLIN DIANE LITTLE                                                 42 JUNIPER ROAD                                                                      PLACITAS            NM            87043
    OLSON CAROL BOOTH                                                      64 CORAL LAKE                                                                        IRVINE              CA            92614
    Olubunmi O Akinyemi                                                    3390 Cypress Club Trail                                                              Austell             GA            30106
    OLYMPIC COLLEGE BOOKSTORE                                              1600 CHESTER                                                                         BREMERTON           WA            98310
    OLYMPIC PRODUCTS                                                       2825 N ARLINGTON AVENUE                                                              INDIANAPOLIS        IN            46218
    OMAR A KHAN                             DBA HARAPPA                    1773 9TH AVENUE                                                                      SAN FRANCISCO       CA            94122
    Omar Ambersley                                                         5716 riviera dr                                                                      Orlando             FL            32808
    OMAR COLON REYES                                                       3006 BO CUBA                                                                         MAYAGUEZ            PR            00680
    OMAR RAYYAN                                                            P O BOX 958                                                                          WEST TISBURY        MA            02575
                                            BO CEIBA SECTOR PELEGRIN
    OMARIS A TORRES RIVERA                  SANTOS                         CARR 173 R782 KM5                                                                    CIDRA               PR            00739
    Omega Advisors, Inc.                    Leon Cooperman                 Wall St. Plaza, 88 Pine St., 31st Fl.                                                New York            NY            10005
    OMEGA PACKAGING INC                                                    4435 RIDGEWOOD AVE                                                                   ST LOUIS            MO            63116
    OMELVENY & MYERS LLP                                                   7 TIMES SQUARE                          TIMES SQUARE TOWER                           NEW YORK            NY            10036
    OMNI ART COMPANY INC                    C/O ROBERT PINCUS-WITTEN       860 UNITED NATIONS PLAZA                                                             NEW YORK            NY            10017
    Omni Hotels & Resorts                   Attn Robin Albright            500 Interlocken Blvd                                                                 Broomfield          CO            80021
    Omni Hotels & Resorts                                                  700 San Jacinto                                                                      Austin              TX            78701
    Omni New Haven Hotel                                                   155 Temple Street                                                                    New Haven           CT            06510

    OMNI PHOTO COMMUNICATIONS INC                                          10 EAST 23RD STREET                                                                  NEW YORK            NY            10010
    OMNIBUS BOOKS                           ATTN THE RIGHTS MANAGER        PO BOX 579                                                                           LINDFIELD           NSW           02070        Australia
    ON THE SCENE - CHICAGO                                                 500 NORTH DEARBORN ST SUITE
    UNLIMITED CO                            ATTN WENDY BERG                550                                                                                  CHICAGO             IL            60654
    ONASIA IMAGES PTE LTD                   DIGITAL SERVICES CO LTD        889 SOUTH SATHORN ROAD                                                               SATHORN BANGKOK                                Hong Kong
    ONASIA IMAGES PTE LTD                                                  889 SOUTH SATHORN ROAD                                                               SATHORN BANGKOK                                Hong Kong
    ONASIA IMAGES PTE LTD                   PRUDENTIAL TOWER LEVEL 15      30 CECIL ST                                                                          SINGAPORE           Singapore     49712        Singapore
    ONASIA IMAGES PTE LTD                                                  30 CECIL ST                                                                          SINGAPORE           Singapore     49712        Singapore
                                                                           BAYOLA APTS CALLE ESTRELLA
    ONDINA MEJIAS RUIZ                                                     1447 APT B 308                                                                       SAN JUAN            PR            00907
    ONE ANIMATE LIMITED                                                    50 GLOUCESTER ROAD                      UNIT 402 MALAYSIA BLDG                       WANCHAI                                        Hong Kong
    ONE SOLUTION SERVICE LLC                                               626 SURF AVENUE                                                                      STRATFORD           CT            06615
    ONeill, James

    ONEOK INC                               DBA OKLAHOMA NATURAL GAS CO    P O BOX 219296                                                                       KANSAS CITY         MO            64121-9296
    One-team                                Attn Howard Edson              PO Box 5                                                                             Old Lyme            CT            06371-1127
    Onex Partnes
    ONG LAY LEE                                                            8 MUSEUM WAY UNIT # 1803                                                             CAMBRIDGE           MA            02141
    ONLINE COMPUTER LIBRARY
    CENTER INC                              OCLC INC                       #774418 4418 SOLUTIONS CENTER                                                        CHICAGO             IL            60677-4004

    ON-LINE COMPUTER PRODUCTS INC                                          672 PLEASANT STREET                                                                  NORWOOD             MA            02062
    Online Marketing, LLC                                                  4 Trefoil Drive                                                                      Trumbull            CT            06611
    ONONDAGA CORTLAND MADISON
    BOCES                                                                  6075 EAST MOLLOY RD RODAX 7             ATTN CINDY SEELEY                            SYRACUSE            NY            13211
    ONRAMP ACCESS INC                                                      2916 MONTOPOLIS DR SUITE 300                                                         AUSTIN              TX            78741
    ONSTOR INC                                                             254 EAST HACIENDA AVENUE                                                             CAMPBELL            CA            95008



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                         338 of 488                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                346 Matrix
                                                                                                                        of 519
                                                                                                                     First Class Service List


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    ONSTREAM MEDIA ONLINE
    BROADCASTING                                                           1291 SOUTHWEST 29TH AVENUE                                                      POMPANO BEACH      FL           33069
    Ontario Ministry of Finance             Attn Kevin OHara Snr Counsel   33 King St W 6th Fl                                                             Oshawa             ON           L1H 8H5      Canada
    ONTARIO REVIEW, INC                     JOYCE CAROL OATS, PRESIDENT    9 HONEYBROOK DRIVE                                                              PRINCETON          NJ           08540
    ONVIA INC                                                              509 OLIVE WAY                                                                   SEATTLE            WA           98101
    OPAL UPSHAW                                                            2617 WILLIAMSBURG ST                                                            BARTLESVILLE       OK           74006
    OPEN GROUP                                                             44 MONTGOMERY STREET STE 960                                                    SAN FRANCISCO      CA           94104
    OPEN HAND PUBLISHING LLC                                               PO BOX 20207                                                                    GREENSBORO         NC           27420
    OPEN RIVER PRESS INC                    DBA BIG RIVER MAGAZINE         P O BOX 204                                                                     WINONA             MN           55987
    OPERADORA LOS MORALES, S.A. DE
    C.V.                                                                   VAZQUEZ DE MELLA NO. 525                                                        COL DEL BOSQUE     DF           11510        Mexico
    Operation Smile                         Mary Jane Eastin, Sponsor      Cibola High School                1510 Ellison Rd. NW                           Albuquerque        NM           87114

    OPINION RESEARCH CORP                                                  15287 COLLECTIONS CENTER DRIVE                                                  CHICAGO            IL           60693
    OPITZ MICHAEL F                                                        6225 GARLOCK WAY                                                                COLORADO SPRINGS   CO           80918
    OPLER PAUL A                                                           PO BOX 2227                                                                     LOVELAND           CO           80539
    OPNET TECHNOLOGIES INC                                                 P O BOX 403816                                                                  ATLANTA            GA           30384-3816
    OPPENHEIMER WOLFF & DONNELLY                                           PLAZA VII, 45 SOUTH 7TH ST, STE
    LLP                                                                    3300                                                                            MINNEAPOLIS        MN           55402-1609
    OPRYLAND HOTEL -FL LTD
    PARTNERSHIP                             DBA GAYLORD PALMDS RESORT      6000 W OSCEOLA PARKWAY                                                          KISSIMMEE          FL           34746
    OPSEC SECURITY INC                                                     1857 COLONIAL VILLAGE LANE                                                      LANCASTER          PA           17605-0155
    OPTICAL DISC SOLUTIONS INC                                             1767 SHERIDAN ST                                                                RICHMOND           IN           47374
    OPTICAL EXPERTS
    MANUFACTURING INC                       DEPT 5396                      PO BOX 1170                                                                     MILWAUKEE          WI           53201-1170
    OPTIMA TECHNOLOGIES CORP                                               P O BOX 261359                                                                  TAMPA              FL           33685
    OPTION COURIER SERVICES INC                                            P O BOX 634                                                                     IPSWICH            MA           01938
    OPUS 19 MUSIC LLC                                                      12711 VENTURA BLVD, STE 170                                                     STUDIO CITY        CA           91604
    ORACLE                                                                 PO BOX 71028                                                                    CHICAGO            IL           60694-1028
    ORACLE AMERICA INC                      C/O BANK OF AMERICA            DRAWER CS 198330                                                                ATLANTA            GA           30384-8330
    ORACLE AMERICA INC                                                     P O BOX 203448                                                                  DALLAS             TX           75320-3448
    ORANGE AVENUE LLC                       DBA ZEST BOOKS LLC             35 STILLMAN ST STE 121                                                          SAN FRANCISCO      CA           94107
    ORANGE COUNTY CAREER AND
    TECHNICAL                               EDUCATION                      445 W AMELIA STREET                                                             ORLANDO            FL           32801
    ORANGE COUNTY CAREER AND
    TECHNICAL                               C/O JILL ROSOLEK               445 W AMELIA STREET                                                             ORLANDO            FL           32801
    ORANGE COUNTY DEPT OF
    EDUCATION                               ATTN MEGHAN ELLISON            200 KALMUS DRIVE                                                                COSTA MESA         CA           92628

    ORANGE COUNTY PUBLIC SCHOOLS                                           445 WEST AMELIA STREET STE 901                                                  ORLANDO            FL           32801
    ORANGE COUNTY SCHOOL
    READINESS                    COALITION INC                             PO BOX 540387                                                                   ORLANDO            FL           32854
    ORANGE COUNTY UTILITIES                                                PO BOX 628068                                                                   ORLANDO            FL           32862
    ORANGE PHOTOGRAPHY INC                                                 2565 THIRD STREET STE 215                                                       SAN FRANCISCO      CA           94107
    ORANGE SCHOOL DISTRICT                                                 32000 CHAGRIN BLVD                                                              PEPPER PIKE        OH           44124
    ORCA BOOK PUBLISHERS         ATTN ANDREW WOOLRIDGE                     PO BOX 5626 STATION B                                                           VICTORIA           BC           V8R 6S4      Canada
    ORCHARD BOOKS                                                          338 EUSTON ROAD                                                                 LONDON                          NW1 3BH      United Kingdom
    ORCHARD BOOKS                                                          555 BROADWAY                      DIV OF SCHOLASTIC INC                         NEW YORK           NY           10012-3999
    ORCHARD ENTERPRISE INC       DBA EASTERN PEN SUPPLY CO                 315 N CHESTNUT ST                                                               PALMYRA            PA           17078
                                 C/O BUD LAUCK - EASTERN PEN
    ORCHARD ENTERPRISE INC       SUPPLY                                    315 N CHESTNUT ST                                                               PALMYRA            PA           17078
    OREGON ASSOC FOR
    COMPRENHENSIVE EDU           ATTN PEPPI KOSIKOWSKI                     611 HARRISON ST                                                                 WOODBURN           OR           97071
    OREGON ASSOC OF CAREER &
    TECHNCL EDUC                                                           2814 DAHLIA LANE                  ATTN MARVIN CLEMONS                           EUGENE             OR           97404

    OREGON ASSOC OF LATINO ADMIN                                           PO BOX 310                                                                      CORNELIUS          OR           97113
    OREGON CATHOLIC PRESS INC               LICENSING DEPARTMENT           PO BOX 18030                                                                    PORTLAND           OR           97218-0030
    OREGON CATHOLIC PRESS INC                                              5536 NE HASSALO                                                                 PORTLAND           OR           97213
    OREGON CATHOLIC PRESS INC                                              PO BOX 18030                      LICENSING DEPARTMENT                          PORTLAND           OR           97218-0030
    OREGON CATHOLIC PRESS INC                                              PO BOX 18030                                                                    PORTLAND           OR           97218-0030
    OREGON CORPORATION DIVISION             255 CAPITOL ST NE              SUITE 151                                                                       SALEM              OR           97310-1327
    OREGON COUNCIL OF TCHRS OF
    MATHS                                                                  614 HARVARD CT                    ATTN SARAH GROSENBACH                         NEWBERG            OR           97132
    OREGON COUNCIL OF TEACHERS
    OF ENGLISH                              ATTN BARBARA WIEGELE           14867 SE ORCHID AVENUE                                                          MILWAUKIE          OR           97267-2454
    Oregon Department of Revenue                                           PO Box 14725                                                                    Salem              OR           97309-5018
    Oregon Department of Revenue                                           PO Box 14800                                                                    Salem              OR           97309-0920
    Oregon Dept of Revenue                  Attn Bankruptcy Unit           955 Center St NE                                                                Salem              OR           97301-2555
    OREGON DEPT OF REVENUE                                                 P.O. BOX 14780                                                                  SALEM              OR           97309



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     339 of 488                                                                                     1:26 PM
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                                                                                                                   First Class Service List


             CreditorName             CreditorNoticeName                              Address1                          Address2              Address3               City           State       Zip               Country
    OREGON HISTORICAL SOCIETY                                             1200 S W PARK AVENUE                                                           PORTLAND              OR           97205
    OREGON SCHOOL PSYCHOLOGISTS
    ASSN                                                                  PMB 419 25 NW 23RD PLACE STE 6                                                 PORTLAND              OR           97210
    OREGON SECRETARY OF STATE   CORPORATE DIVISION                        P O BOX 4353                                                                   PORTLAND              OR           97208-4353
    OREN SHERMAN                OREN SHERMAN LIMITED EDITION              P O BOX 1187                                                                   TRURO                 MA           02666
                                                                          69 CALEDONIAN ROAD KINGS
    ORGANISATION                                                          CROSS                                                                          LONDON                             N1 9BT       United Kingdom
    ORGANIZATION OF AMERICAN
    HISTORIANS                                                            112 NORTH BRYAN AVENUE                                                         BLOOMINGTON           IN           47408
    ORIENTAL INSTITUTE MUSEUM               UNIV OF CHICAGO               1155 EAST 58TH ST                                                              CHICAGO               IL           60637-1569
    ORIENTAL TRADING COMPANY INC                                          4206 S 108TH STREET                                                            OMAHA                 NE           68137-1215
    ORION PUBLISHING GROUP                                                5 UPPER ST MARTINS LANE           ORION HOUSE                                  LONDON                             WC2H 9EA     United Kingdom
                                                                          ORION HOUSE, 5 UPPER ST
    ORION PUBLISHING GROUP                                                MARTINS LANE                                                                   LONDON                             WC2H 9EA     United Kingdom
    ORION PUBLISHING GROUP LTD                                            5 UPPER ST MARTINS LANE                                                        LONDON                             WC2H 9EA     United Kingdom
                                                                          ORION HOUSE, 5 UPPER ST
    ORION PUBLISHING GROUP LTD                                            MARTINS LANE                                                                   LONDON                             WC2H 9EA     United Kingdom
    ORION STAR                              DBA ORION OFFSET              236 E NORTHWEST HIGHWAY                                                        PALATINE              IL           60067
    Orion Training Company                                                14007 SE 28th Street                                                           Vancouver             WA           98683
    ORKIN EXTERMINATING                                                   136 NOBEL CT                                                                   ALPHARETTA            GA           30005
    ORKIN INC                               CENTRAL FLORID COMM           1601 N KELLEY AVE                                                              KISSIMMEE             FL           34744
    ORKIN ROSWELL COMM GA                                                 1007 MANSELL RD STE E                                                          ROSWELL               GA           30076
    ORLANDO ASTIAZARAN                      PRADO 207                     COLONIA AMERICANA                                                              CP44160 GUADALAJARA   Jalisco                   Mexico

    ORLANDO F BUSINO                                                      P O BOX 463 12 SHADBLOW HILL RD                                                RIDGEFIELD            CT           06877
    ORLANDO JUNIOR ACADEMY                                                30 EAST EVANS STREET                                                           ORLANDO               FL           32804
    ORLANDO MARRERO PAGAN                                                 CALLE 518 OG 23 4TA SECCION                                                    CAROLINA              PR           00982
                                                                                                            ATTN LYNN SAND - DEVELOPMENT
    ORLANDO SCIENCE CENTER                                                777 EAST PRINCETON ST             OFF                                          ORLANDO               FL           32803
    ORLANDO SENTINEL                                                      633 N ORANGE AVENUE               ATTN NANCY KUNZMAN                           ORLANDO               FL           32801
                                                                          750 CENTRAL FLORIDA PKWY STE
    ORLANDO STORM SHUTTERS                                                102                                                                            ORLANDO               FL           32824

    ORLEANS PARISH SCHOOL BOARD             ACCOUNTING DEPT               3520 GEN DEGAULLE DR                                                           NEW ORLEANS           LA           70114
    ORLEV URI                               4 HA-BERCKHA STREET           YEMIN MOSHE                                                                    JERUSALEM ISRAEL                   94112        Israel
    ORLISA CRESPO RODRIGUEZ                                               P O BOX 610                                                                    LAS MARIA             PR           00670
                                            DEPT OF EDUC ADMIN ST JOHN
    ORNSTEIN ALLAN C                        UNIV                          800 UTOPIA PARKWAY                                                             JAMAICA               NY           11439
    ORREN SHALIT                                                          SALAGATAN 36B                                                                  UPPSALA                            753 26       Sweden
    ORRICK, HERRINGTON & SUTCLIFF
    LLP                                                                   4253 COLLECTIONS CENTER DRIVE                                                  CHICAGO               IL           60693
    ORRINGTON TENANT LLC                    HILTON ORRINGTON - EVANSTON   1710 ORRINGTON AVENUE                                                          EVANSTON              IL           60201
    ORSCHELN                                                              P O BOX 219736                                                                 KANSAS CITY           MO           64121-9736
    ORTELIUS DESIGN                                                       E15224 WARNER AVENUE                                                           HILLSBORO             WI           54634
    Orville Sims                                                          6336 Seal Cove                                                                 Fort Worth            TX           76179-4132
    OSBORN ELINOR                                                         PO BOX 86                                                                      CRAFTSBURY COMMON     VT           05827
    OSBORN JOHN JAY JR                                                    14 FAIR OAKS                                                                   SAN FRANCISCO         CA           94110
    Osborne, Crispin
    Oscar Garcia                                                          410 LYNN TER                                                                   WAUKEGAN              IL           60085
    OSCAR OZETE                                                           4245 PEMBROKE DRIVE                                                            EVANSVILLE            IN           47711
    Oscar Quizon                                                          5662 N. Jefferson Dr                                                           Mccordsville          IN           46055
    OSCAR VAZQUEZ-MELENDEZ                                                359 CALLE FLOR DE SIERRA          URB HACIENDA REAL                            CAROLINA              PR           00987
    Osie E Martin                                                         201 Fistral Drive                                                              Hutto                 TX           78634
                                                                                                            ATTN LISA GRECO -OSCEOLA C P
    OSMOSIS                                                               817 BILL BECK BLVD                SCHS                                         KISSIMMEE             FL           34744
    OSTEBEE ARNOLD                          DEPARTMENT OF MATHEMATICS     ST OLAF COLLEGE                                                                NORTHFIELD            MN           55057
    Osvaldo Hernandez                                                     3709 White Bud Court                                                           Flower Mound          TX           75028
    OTANI JUNE                                                            11 WHITMAN ST                                                                  HASTINGS-ON-HUDSON    NY           10706
    OTHEGUY RICARDO                                                       42 HARMON AVE                                                                  PELHAM                NY           10803
    Otilio Valdez                                                         4021 Dorris Rd                                                                 Irving                TX           75038
    OTIS EDUCATIONAL SYSTEMS INC                                          P O BOX 520                                                                    POWDER SPRINGS        GA           30127
    OTIS REBECCA                                                          52 BROOKWOOD DRIVE                                                             FLORENCE              MA           01062
    OTOWN BOOKS                                                           211 EAST 2ND STREET                                                            OTTUMWA               IA           52501
    OTTAWA AREA INTERMEDIATE
    SCHOOL                                                                13565 PORT SHELDON STREET                                                      HOLLAND               MI           49424
    OTTO PENZLER                                                          58 WARREN STREET                                                               NEW YORK              NY           10007
    OTTO PENZLER                                                          58 WARREN STREET                  THE MYSTERIOUS BOOKSHOP                      NEW YORK              NY           10007
    OTTO POHL                                                             525 SOUTH BLACK AVENUE                                                         BOZEMAN               MT           59715
    Otto T Johnson                                                        100 GATLING PLACE                                                              BROOKLYN              NY           11209
    OTTOS LOCK SERVICE LLC                                                259 BROOKSIDE DR                                                               FAIRFIELD             CT           06824



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                   340 of 488                                                                                          1:26 PM
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                                                                                                                          of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                        Address2              Address3            City               State       Zip             Country
    OUGHTON JERRIE                                                           305 STEEPLECHASE DRIVE                                                         WASHINGTON            NC            27889
    OUR LADY OF GRACE CHURCH                                                 400 WILLOW AVENUE                                                              HOBOKEN               NJ            07030
    Our Lady of Loreto Catholic Church                                       18000 E. Arapahoe Road                                                         Foxfield              CO            80016
    OUR LADY OF LOURDES HIGH
    SCHOOL                                                                   131 BOARDMAN ROAD                                                              POUGHKEEPSIE          NY            12603

    OUR LADY OF MT CARMEL SCHOOL                                             80 RIDGE ST                                                                    ROSETO                PA            18013
    OUR LADY OF PERPETUAL HELP
    SCHOOL                                                                   1123 CHURCH STREET                                                             GLENVIEW              IL            60025
    OUR LADY OF SORROWS SCHOOL                                               5831 S KINGS HWY                                                               ST LOUIS              MO            63109
    OUR SUNDAY VISITOR                                                       200 NOLL PLAZA                                                                 HUNTINGTON            IN            46750
    OUR WORKSHOP LLC                                                         37 FAIRVIEW TERRACE                                                            MAPLEWOOD             NJ            07040
    Ouray School District R-1                                                400 7th Avenue                  PO Box N                                       Ouray                 CO            81427
    OUTSELL INC                                                              330 PRIMROSE ROAD STE 510                                                      BURLINGAME            CA            94010
    OUTSIDER TELEVISION
    PRODUCTION LTD                                                           5 CLIFTON ROAD                                                                 LONDON                              N8 8HY       United Kingdom
    OUTSOLVE LLC                                                             3116 5th STREET                                                                METAIRIE              LA            70002
    OVERALL PICTURE                                                          141 VICTORIA ROAD SUITE 2                                                      DRUMMOYNE             NSW           02047        Australia

    OVERDRIVE INC                                                            8555 SWEET VALLEY DRIVE SUITE N                                                CLEVELAND             OH            44125
    OVERHEAD DOOR COMPANY                                                    2617 ANDJON DRIVE                                                              DALLAS                TX            75220-1309
    OVERPRINT                               PREPS & PUBLISHING DESIGN        AGUSTIN YANEZ NO 1253           COL SECTOR POPULAR                             DF DELEG IZTAPALAPA                 CP 09060     Mexico
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -PAMELA
    NO 11                                   HODSON ELEM                      1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE - STONE
    NO 11                                   CANYON ELEM                      1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -ATOR HGTS
    NO 11                                   SCH                              1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -BARNES
    NO 11                                   ELEM SCH                         1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -BYRNE
    NO 11                                   MIDDLE HS                        1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -HAYWARD
    NO 11                                   SMITH ELEM                       1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -LARKIN
    NO 11                                   BAILEY ELEM                      1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -MILLS ELEM
    NO 11                                   SCH                              1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -NORTHEAST
    NO 11                                   ELEM                             1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -OWASSO
    NO 11                                   6TH GR CTR                       1501 N ASH STREET                                                              OWASSO                OK            74055
    OWASSO INDEPENDENT SCH DIST             ATTN ANNETTE BYRNE -OWASSO
    NO 11                                   7TH GR CTR                       1501 N ASH STREET                                                              OWASSO                OK            74055
    Owen B Ferrini                                                           7 Beecher St                    Apt. 5                                         Jamaica Plain         MA            02130
    Owen Benjamin                                                            5027 Keaton Crest Drive                                                        Orlando               FL            32837
    OWEN C DOAK                                                              837 OAK VALLEY DRIVE                                                           CRYSTAL LAKE          IL            60014
    OWEN HURD                                                                5220 N WAYNE AVE                                                               CHICAGO               IL            60640
    Owen Riddle Jr                                                           4720 Huntington Place                                                          Evansville            IN            47725
    OWEN ROBERTS                                                             3524 NW 23RD STREET                                                            LAUDERDALE LAKES      FL            33311
    OWEN WITESMAN                                                            256 S 300 EAST                                                                 SPRINGVILLE           UT            84663-1936
    OWL COMMUNICATIONS                                                       49 FRONT ST EAST, 2ND FL                                                       TORONTO                             M5E 1B3      Canada
    OXFORD AMERICAN LITERARY
    PROJECT INC                                                              P O BOX 3235                                                                   LITTLE ROCK           AR            72203-3235
    OXFORD HILLS SCHOOL DISTRICT                                             1570 MAIN STREET STE 11                                                        OXFORD                ME            04270
    OXFORD PUBLISHING LTD                   THE ROYALTIES DEPARTMENT         GREAT CLARENDON STREET          OXFORD UNIVERSITY PRESS                        OXFORD                              OX2 6DP      United Kingdom
    OXFORD UNIV PRESS                                                        2001 EVANS RD                                                                  CARY                  NC            27513-2009
    OXFORD UNIVERSITY PRESS                 253 NORMANBY ROAD                SOUTH MELBOURNE 3205                                                           VICTORIA                                         Australia
    OXFORD UNIVERSITY PRESS                                                  253 NORMANBY ROAD                                                              SOUTH MELBOURNE       Victoria      03205        Australia
    OXFORD UNIVERSITY PRESS                                                  SOUTH MELBOURNE 3205                                                           VICTORIA                                         Australia
    Oxford University Press                 Smith & Williamson                                               25 Moorgate                                    London                              ECR 6AY      UK
    Oxford University Press                                                  North Kettering Business Park   Hipwell Road, Kettering                        Northamptonshire                    NN14 1UA     UK
    OXFORD UNIVERSITY PRESS                                                  GREAT CLARENDON STREET          CASHIERS OFFICE                                OXFORD                              OX2 6DP      United Kingdom
    OXFORD UNIVERSITY PRESS                                                  GREAT CLARENDON STREET                                                         OXFORD                              OX2 6DP      United Kingdom
    Oxford University Press                 Smith & Williamson               25 Moorgate                                                                    London                              EC2R 6AY
    OXFORD UNIVERSITY PRESS
    SOUTHERN                                AFRICA (PTY) LTD                 VASCO BLVD N1 CITY GOODWOOD                                                    CAPE TOWN                           07460        South Africa
    OYSTER RIVER COOPERATION
    SCHOOL DISTRICT                                                          36 COE DRIVE                                                                   DUHAM                 NH            03824
    OZARKA                                                                   PO BOX 856680                                                                  LOUISVILLE            KY            40285



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                      341 of 488                                                                                         1:26 PM
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                                                                                                                          of 519
                                                                                                                   First Class Service List


             CreditorName                             CreditorNoticeName                 Address1                       Address2                         Address3                     City          State       Zip             Country
    OZAUKEE COUNTY HISTORICL
    SOCIETY                                                                PO BOX 206                                                                                      CEDARBURG           WI           53012
                                            DBA DES PLAINES OFFICE
    P & C DISTRIBUTORS                      EQUIPMENT                      1020 BONAVENTURE DRIVE                                                                          ELK GROVE VILLAGE   IL           60007-3222

    P C KUMAR                                                              4400 MASS AVE NW                AMERICAN UNIV, DEPT OF FIN & RE                                 WASHINGTON          DC           20016
    P C LANGWAGEN                                                          53 WATERMARK FERRY ROAD                                                                         CARDIFF                          CF11 0JU     United Kingdom
    P DAVID PEARSON                                                        851 EUCID AVENUE                                                                                BERKELEY            CA           94708
    P O U PARTNERS LLC                      DBA ONESOURCE WATER            1060 N CAPITOL AVE STE E230                                                                     INDIANAPOLIS        IN           46204
    P&A GRAPHICS LLC                                                       6316 STORY ST                                                                                   NEW ORLEANS         LA           70125
    P.A.D. HOLLOM                                                          INWOOD COTTAGE HYDESTILE                                                                        GODALMING SURREY                 GU8 4AY      United Kingdom
    P.F. Changs China Bistro                                               8315 S. Park Meadow Center DR                                                                   Littleton           CO           80124
    PA Department of Revenue                                               P.O. Box 280423                                                                                 Harrisburg          PA           17128-0423
    PA HUTCHISON COMPANY                                                   400 PENN AVE                                                                                    PAYFIELD            PA           18433
    Pa Moua                                                                93 Union Street                                                                                 Brighton            MA           02135
                                                                           ALT DE SAN PEDRO C/SAN PEDRO J-
    PABLO GUERRA ENCARNACION                DBA FRONTERAS CATERING         3                                                                                               FAJARDO             PR           00738
    PABLO J MARTINEZ LOPEZ                                                 URB MONOZ RIVERA L-1123                                                                         GUAYNABO            PR           00969
    PABLO STUCCHI                                                          201 SALAMANCIA ALE                                                 CALLE GARCILAZO DE LA VEGA   LIMA 3                                        Peru
    PACE-MACGILL INC                        PACE-MACGILL GALLERY           32 E 57TH STREET 9TH FL                                                                         NEW YORK            NY           10022
                                                                           1440 KAPIOLANI BOULEVARD SUITE
    PACIFIC GUARDIAN LIFE                                                  1700                                                                                            HONOLULU            HI           96814

    PACIFIC LIFE INSURANCE COMPANY                                         P O BOX 2030                                                                                    OMAHA               NE           68103
    PACIFIC LUTHERAN UNIVERSITY    BUSINESS OFFICE                         12180 PARK AVENUE S                                                                             TACOMA              WA           98447-0003
                                                                           1 LOWER RAGSDALE DR BLDG 1 STE
    PACIFIC METRICS CORPORATION                                            150                                                                                             MONTEREY            CA           93940
    PACIFIC NORTHWEST
    BOOKSELLERS ASSN                                                       338 WEST 11TH AVENUE # 108                                                                      EUGENE              OR           97401
    Pacific Northwest Publishing                                           PO Box 50610                                                                                    Eugene              OR           97405
    PACIFIC NW ASSN OF INDEPENDENT
    SCHS                                                                   5001 CALIFORNIA AVE SW STE 112                                                                  SEATTLE             WA           98136
    PACIFIC RESOURCES FOR EDUC &
    LEARNING                                                               900 FORT ST MALL, STE 1300                                                                      HONOLULU            HI           96813-3718
    PACIFIC VIEW PRESS                                                     P O BOX 2897                     ATTN NANCY IPPOLITO                                            BERKELEY            CA           94702
    PACKAGING CONSULTANTS
    ASSOCIATED INC                                                         7820 AIRPORT HIGHWAY                                                                            PENNSAUKEN          NJ           08109
    PACKAGING CORPORATION OF
    AMERICA                                 PACKAGING CREDIT COMPANY       P O BOX 532058                                                                                  ATLANTA             GA           30353-2058
    PACKAGING HOUSE INC                                                    POST OFFICE BOX 71224                                                                           CHICAGO             IL           60694
    PACKAGING SERVICES
    CORPORATION                                                            P O BOX 71945                                                                                   MADISON HEIGHTS     MI           48071
    Packaging Suppliers of America                                         P.O. Box 390244                                                                                 Denver              CO           80239-0244
    PACKSMART INC                                                          775 W BELDEN AVENUE ATE F                                                                       ADDISON             IL           60101
    PADGETT POWELL                                                         3620 SE 27TH                                                                                    GAINESVILLE         FL           32641
    PAESSP                                                                 PO BOX 39                                                                                       SUMMERDALE          PA           17093
    PAGACH DON                                                             3725 WESLEY RIDGE DR                                                                            APEX                NC           27539
    PAGAN EDUCATIONAL ASSOCIATES
    INC                                                                    1710 HOURGLASS DRIVE                                                                            ORLANDO             FL           32806
    PAGE LAWRENCE M                                                        2500 N.W. 19TH WAY                                                                              GAINESVILLE         FL           32605
    PAGE ONE PHOTOGRAPHY LLC                                               PO BOX 303                                                                                      BOULDER             CO           80306
    PAGE ROBIN                              JENKINS & PAGE                 1627 5TH STREET                                                                                 BOULDER             CO           80302
    PAGE SUSAN E                            DBA PAGE CONSULTING            1555 S COUNTY ROAD 725 W                                                                        YORKTOWN            IN           47396
    Page Unified School District            Attn Judy Best                 P.O. Box 1927                                                                                   PAGE                AZ           86040
                                            THE ZOE PAGNAMENTA AGENCY
    PAGNAMENTA ZOE                          LLC                            20 WEST 22ND ST STE 1603                                                                        NEW YORK            NY           10010
    PAIDEIA TECHNOLOGY                                                     5713 GRAND REUNION DR                                                                           HOSCHTON            GA           30548
    PAIGE A MERRIAM                                                        125 TROY AVE                                                                                    JUNEAU              AK           99801

    PAIGE COMPANY CONTAINERS INC                                           P O BOX 443                                                                                     ELMWOOD PARK        NJ           07407
    Paige Larkin                                                           3 Pine Street                                                                                   Haverhill           MA           01830
    Paige Zobenica                                                         18731 KALMAR CT                                                                                 LAKEVILLE           MN           55044
    PAINET INC                                                             P O BOX 171                                                                                     MONTEZUMA           NM           87731-0171
    PAINTED WORDS INC                                                      310 W 97TH ST #24                ATTN LORI NOWICKI                                              NEW YORK            NY           10025
    PAINTED WORDS INC                                                      310 W 97TH STREET SUITE 24                                                                      NEW YORK            NY           10025
    PAINTED-WORDS INC                                                      310 W 97TH STREET #24                                                                           NEW YORK            NY           10025
    Pait, Renee
    Pajarito Elementary School                                             2701 Don Felipe Road SW                                                                         Albuquerque         NM           87105
    Pajaro Valley Unified SD                Attn Accounting                294 Green Valley Rd, 4th Fl                                                                     Watsonville         CA           95076
    PALAZZO EDITIONS                        ATTN COLIN WEBB                2 WOOD STREET                                                                                   BATH                             BA1 2JQ      United Kingdom



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                  342 of 488                                                                                                         1:26 PM
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                                                                                                                350 Matrix
                                                                                                                        of 519
                                                                                                                        First Class Service List


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    PALAZZO GNUDI                                                          VIA RIVA RENO 75-77                                                                BOLOGNA                             40110        Italy

    PALL MALL PRESS                         PHAIDON PRESS                  18 REGENTS WHARF, ALL SAINTS ST                                                    LONDON                              N1 9PA       United Kingdom

    PALM BEACH COUNTY COUNCIL OF            TEACHERS OF MATHMATICS         2966 MONTEREY PINE LANE                                                            LANTANA                FL           33462
                                                                           1655 PALM BEACH LAKES BLVD STE
    PALM BEACH FOCUS                                                       203                                                                                WEST PALM BEACH        FL           33401-2203
    PALM PRESS INC                                                         P O BOX 338                                                                        CONCORD                MA           01742
    PALMAS DE LUCIA                                                        P O BOX 1746                                                                       YABUCOA                PR           00767
    PALMER ASSOCIATES INC                   JAYNE PALMER                   3324 245TH STREET                                                                  ANTHON                 IA           51004
    PALMER KANE LLC                         DBA PALMER KANE STUDIO         3301 ROUTE 7                                                                       POWNAL                 VT           05261
    PALMER TRINITY SCHOOL INC                                              7900 SW 176TH STREET                                                               MIAMI                  FL           33157
    PAM ANDERSON                                                           27 RINGS END ROAD                                                                  DARIEN                 CT           06820
    PAM DELLINGER                                                          P O BOX 144                                                                        DURANT                 OK           74702
    PAM LITTLE                                                             632 MERLOT COURT                                                                   MCKINNEY               TX           75069
    PAM MCKAY                                                              442005 GRAND AVE                                                                   VINITA                 OK           74301
    PAM MUELLER                                                            74 STONYBROOK LN                                                                   CONTOOCOOK             NH           03229
    Pam Richards                                                           1807 Twisted Oak Dr.                                                               Leander                TX           78641
    PAM WERNER                                                             215 FIELDSTONE DR                                                                  GEORGETOWN             TX           78633
    Pam Zetterlund-Clark                                                   14634 S. 7th Place                                                                 Phoenix                AZ           85048
    Pamela A Creighton                                                     2109 Henniker Way                                                                  Las Vegas              NV           89134
    PAMELA A KNAUER                                                        109 ELMORE DRIVE                                                                   WARNER ROBINS          GA           31088
    PAMELA A LEWIS                                                         2560 WOODBERRY DRIVE                                                               GLENWOOD SPRINGS       CO           81601
    Pamela A Martin                                                        168 Fairmount St.                                                                  Dorchester             MA           02124
    Pamela A. Consolazio                                                   74 Elm Street                                                                      North Reading          MA           01864
    Pamela Anderson                                                        4 N 343 Pheasant Run Drive                                                         St. Charles            IL           60175
    PAMELA ANN CREIGHTON                                                   2109 HENNIKER WAY                                                                  LAS VEGAS              NV           89134
    Pamela Bachorz                                                         10003 Sutherland Rd.                                                               Silver Spring          MD           20901
    Pamela Back                                                            925 Casey Ct.                     Apt. 4                                           Schaumburg             IL           60173
    PAMELA BAUER                                                           29 RUSHMORE DR                                                                     GLEN CARBON            IL           62034
    PAMELA BERNSTEIN                                                       328 GEAR STREET                                                                    GALENA                 IL           61036
    Pamela Bertels                                                         1120 Judy Ln                                                                       Troy                   MO           63379
    Pamela Bourke                                                          1900 Burchstone Dr                                                                 Orlando                FL           32806
    Pamela Cox                                                             P O Box 135                                                                        Luling                 TX           78648
    Pamela Diedrich                                                        4606 Rose Court                                                                    Winthrop Harbor        IL           60096
    Pamela DuVall                                                          1866 Buckley Bay                                                                   Eagan                  MN           55122
    Pamela Edwards                                                         4221 W Jackson                                                                     Chicago                IL           60624
    PAMELA G SWEENEY                                                       8006 HASKINS                                                                       LENEXA                 KS           66215
    Pamela Giller                                                          11 Highland Ave                                                                    Lexington              MA           02173
    Pamela Hedges                                                          3120 S. Parker Lane                                                                New Palestine          IN           46163
    PAMELA HERRING                          SHELBY COUNTY SCHOOLS          3804 RICHBROOK DRIVE                                                               MEMPHIS                TN           38135
    PAMELA HICKS                                                           7232 TWIN LAKES LANE                                                               PENSACOLA              FL           32504
    PAMELA HYDE                                                            917 FOREST AVENUE                                                                  OAK PARK               IL           60302
    Pamela Ingraham                                                        8820 Ewing                                                                         Evanston               IL           60203
    PAMELA J DUFFY                                                         256 ALGER ST SE                                                                    GRAND RAPIDS           MI           49507
    Pamela J Richardson                                                    10 Easement Road                                                                   Tewksbury              MA           01876
    Pamela J Wells Rockhead                                                90A Hemman Street                                                                  Roslindale             MA           02131
    PAMELA J ZAGARENSKI                                                    3 SURREY LANE                                                                      STONINGTON             CT           06378
    PAMELA JACOBSEN                                                        49 COUNTRY CLUB VILLAGE                                                            PUEBLO                 CO           81008
    Pamela Jean Harrison                                                   71 Deering Street                                                                  Reading                MA           01867
    PAMELA KAY CONSULTING LLC                                              2224 SE MONTROSE LANE                                                              PORT ST LUCIE          FL           34952
    Pamela Krachala                                                        115 Sout 7Th Avenue                                                                St. Charles            IL           60174
    Pamela L Roberts                                                       2370 Turnberry Dr.                                                                 Oviedo                 FL           32765
    Pamela Laskey                                                          135 SHERIDAN ST                   UNIT 304                                         PORTLAND               ME           04101
    PAMELA LIONETTI                                                        13 GRANDVIEW AVE                                                                   BETHEL                 CT           06801
    PAMELA LOFTS                                                           14 RAGGATT STREET                                                                  ALICE SPRINGS NT                    00870        Australia
    PAMELA M RORICK                                                        34 GUILDER PLACE                                                                   BALLLSTON LAKE         NY           12019
    PAMELA MADRID                                                          71 MIGUEL CLARO AVE APT 505                                                        PROVIDENCIA SANTIAGO                7500611      Chile
    Pamela Martin                                                          4710 E. 118th Street                                                               Tulsa                  OK           74137
    Pamela Moldenhauer                                                     Po Box 1177                                                                        Liberty Hill           TX           78642
    Pamela Moore                                                           1900 N Bayshore Dr.               Apt 4602                                         Miami                  FL           33132
    Pamela Musick                                                          6933 Bittersweet Dells Court                                                       Fort Wayne             IN           46814
    PAMELA OGBURN                                                          257 63RD AVE                                                                       GREELEY                CO           80634
    PAMELA PARKINSON                                                       725 W 2ND NORTH ST                                                                 MORRISTOWN             TN           37814-3966
    PAMELA POLLACK                                                         117 WEST 74TH STREET                                                               NEW YORK               NY           10023
    Pamela Ramirez                                                         1328 Red River Lane               Apt. 1090                                        Allen                  TX           75002
    PAMELA RENEE HUNT                                                      62 PROCTOR AVENUE                                                                  SOUTH BURLINGTON       VT           05403
    Pamela Richardson                                                      10 Easement Road                                                                   Tewksbury              MA           01876
    Pamela Rockwell                                                        38 Forrester Street                                                                Newburyport            MA           01950
    PAMELA S CARROLL                                                       MID & SEC ED DEPT                 FLORIDA STATE UNIVERSITY                         TALLAHASSEE            FL           32306



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                       343 of 488                                                                                           1:26 PM
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                                                                                                              Pg Creditor
                                                                                                                  351 Matrix
                                                                                                                          of 519
                                                                                                                  First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                      Address2                        Address3               City        State       Zip            Country
    Pamela S Green                                                         15 Glenwood Ave                                                                        Cambridge          MA           02139
    Pamela S Stokes                                                        220B Brompton                                                                          Sugar Grove        IL           60554
    PAMELA S TURNER                                                        6042 MANCHESTER DRIVE                                                                  OAKLAND            CA           94618
    PAMELA SCHILLER                                                        14031 ASHLAND LANDING DRIVE                                                            CYPRESS            TX           77429
    Pamela T Foley                                                         289 Winnacunnet Road                                                                   Hampton            NH           03842
    PAMELA W HARRIS                                                        140 PRAIRIE COVE                                                                       KYLE               TX           78640
    Pamela Ward                                                            1040 Independence Avenue                                                               St. Charles        IL           60174
    PAMELA WILHELM STEWART                                                 20216 WAGON TRAIL DR                                                                   NOBLESVILLE        IN           46060
    Pamela Winton                                                          299 N ATLANTIC AVE              #501                                                   COCOA BEACH        FL           32931
    PAMELA WYATT                                                           2704 GOSHEN AVENUE                                                                     CLOVIS             CA           93611
    PAMELLA J SCHETTER                                                     8338 CRAWFORD AVENUE                                                                   SKOKIE             IL           60076
    Pamella Schetter                                                       8338 North Crawford                                                                    Skokie             IL           60076
                                                                                                                                                                  HOUNDSMILLS
    PAN MACMILLAN LTD.                      MACMILLAN PUBLISHERS LTD       BRUNEL RD ROYALTY DEPT                                                                 BASINGSTOKE                     RG21 6XS     United Kingdom
    PAN RECORDS                             ATTN BERNARD KLEIKAMP          HOMMELVELD 20                                                                          LEIDEN                          2318 VC      Netherlands
    PANALPINA INC                                                          PO BOX 7247-6404                                                                       PHILADELPHIA       PA           19170
                                                                           BRISAS DEL GOLF CALLE 33A SUR
    PANAMA TESOL                                                           CASA G-52                                                                              PANAMA                                       Panama
    PANDA HOUSE AT MANHATTAN
    BEACH LLC                                                              2001 OREINTAL BOULEVARD                                                                BROOKLYN           NY           11235-2398
    Pandhare, Sandesh
    Panera Bread                                                           9233 Park Meadow Drive                                                                 Littleton          CO           80124

    PANGEA TOOLS INC                        C/O CASTRO THRESHER & OLIVEIRA 664 COUNTY STREET                                                                      ATTLEBORO          MA           02703
    PAN-MASSACHUSETTS CHALLENGE-
    JIMMY FUND                              ATTN DOROTHY BICKNELL          46 SEAVIEW AVENUE                                                                      MARSHFIELD         MA           02050
    PANORAMA EDITORIAL S A DE CV                                           MA MANUEL CONTRERAS 45-B                                                               COL SAN RAFAEL     DF           CP 06470     Mexico
    PANORAMIC IMAGES                                                       2302 MAIN ST                                                                           EVANSTON           IL           60202
    Panos, James
    PANTHEON DEVELOPMENT INC                                               P O BOX 460210                                                                         SAN ANTONIO        TX           78246-0210
    Panutich, Michael
    PAOLO RIZZI                             DBA MAGNET REPS                1783 S CRESCENT HEIGHTS BLVD                                                           LOS ANGELES        CA           90035
    Paper Mart                                                             5361 Alexander Street                                                                  Los Angeles        CA           90040
    PAPERCATALOGSONLINE                                                    2703 WINDSWEPT LN STE 100                                                              ANNAPOLIS          MD           21401
    PaperDirect, Inc.                                                      PO Box 2933                                                                            Colorado Springs   CO           80901-2933
    PARADIGM                                                               360 PARK AVENUE SOUTH 16TH FL                                                          NEW YORK           NY           10010
    Paradise Point Resort & Spa             Attn LIsa Kuhn                 1404 West Vacation Road                                                                San Diego          CA           92109
    Paradise Valley C.C. Bookstore                                         18401 North 32nd Street                                                                Phoenix            AZ           85032
    PARAGON FORMS INC                                                      6820 SHINGLE CREEK PARKWAY                                                             BROOKLYN CENTER    MN           55430
    PARAMOUNT DIGITAL
    ENTERTAINMENT                           PARAMOUNT LICENSING INC        PO BOX 10038                                                                           PASADENA           CA           91189-0638
    PARAMOUNT PIC DIGITAL
    ENTERTAINMENT                                                          2710 MEDIA CTR DR, BLDG 6 STE120                                  JP MORGAN CHASE      LOS ANGELES        CA           90065
    PARANORMAL MEDIA LLC                    DBA J V JOHNSON & ASSOCIATES   30 ONEIDA STREET                                                                       ONEIDA             NY           13820
    PARC HOUSE                                                             KINGSTON UPON THAMES             25-37 COWLEAZE ROAD                                   SURRY                           KT2 6DZ      United Kingdom
    PARDES JEWISH DAY SCOOL                                                3916 E PARADISE LANE                                                                   PHOENIX            AZ           85032
    PARDSON INC                             dba BIRD WATCHERS DIGEST       149 ACME STREET PO BOX 110                                                             MARIETTA           OH           45750
    PARENTS CHOICE FOUNDATION               201 WEST PADONIA RD            SUITE 303                                                                              TINONIUM           MD           21093
    PARENTS CHOICE FOUNDATION                                              201 WEST PADONIA ROAD STE 303                                                          TIMONIUM           MD           21093
    PARENTS CHOICE FOUNDATION                                              SUITE 303                                                                              TINONIUM           MD           21093
    PARENTS MUSIC CLUB                                                     50 ANDREW JARVIS DR                                                                    PORTSMOUTH         NH           03801
    PARIS SCOTT                                                            102 SAYRE DRIVE                                                                        PRINCETON          NJ           08540
                                            DEPT OF FINANCE - REVENUE
    PARISH AND CITY TREASURER               DIVISION                       PO BOX 2590                                                                            BATON ROUGE        LA           70821

    PARISH KOHANIM STUDIO                                                  1130 WEST PEACHTREE STREET NW                                                          ATLANTA            GA           30309
    PARISH OF EAST BATON ROUGE              SID J GAUTREAUX, III           PO BOX 70                                                                              BATON ROUGE        LA           70821-9285

    PARISH OF EAST FELICIANA                SALES AND USE TAX DEPARTMENT   P O BOX 397                                                                            CLINTON            LA           70722
    PARISH OF ST MARYS                                                     BOX 1279                        SALES & USE TAX DEPT                                   MORGAN CITY        LA           70381
    PARISH OF ST TAMMANY                    TAX COLLECTOR                  P O BOX 61041                                                                          NEW ORLEANS        LA           70161-1041
    PARK AVENUE AGENTS                                                     6100 4TH AVE SOUTH SUITE 105                                                           SEATTLE            WA           98108-3214
    Park Central New York                                                  870 Seventh Avenue                                                                     New York           NY           10019
    PARK LINDA SUE                                                         251 SUSQUEHANNA RD                                                                     ROCHESTER          NY           14618
    PARK STREET PHOTOGRAPHY INC                                            4429 SACRED ARROW DRIVE                                                                AUSTIN             TX           78735
    PARKER EDWIN B                                                         14211 SHOLES COURT                                                                     LOS ALTOS HILLS    CA           94022
    PARKER JOHN                                                            401 - 1050 NICOLA STREET                                                               VANCOUVER          BC           V6G 2C9      Canada
    PARKER ROBERT ANDREW                                                   22 RIVER ROAD                                                                          WEST CORNWALL      CT           06796
    PARKHURST COMMUNICATIONS                                               11 RIVERSIDE DR #1TW                                                                   NEW YORK           NY           10023-2504
    PARKROSE SD # 3                                                        10636 NE PRESCOTT STREET                                                               PORTLAND           OR           97220



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                 344 of 488                                                                                                1:26 PM
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                                                                                                                     of 519
                                                                                                                 First Class Service List


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                                                                           400 WEST CUMMINGS PARK, STE
    PARLANCE                                                               2000                                                                        WOBURN            MA           01801
                                                                                                                                                       SAN PEDRO GARZA
    PARQUE QUERETARO                                                       FRACCIONAMIENTO VALLE ORIENTE CALLE DIEGO RIVERA 500                        GARCIA                         66269        Mexico

    PARRAMON EDICIONES S A                  ATTN REMEI PIQUERAS            RONDA DE SANT PERE 5 4TH FLOOR                                              BARCELONA                      08010        Spain
    PARS INTERNATIONAL CORP                                                102 W 38TH STREET, 6TH FLOOR                                                NEW YORK          NY           10018
    PARS INTERNATIONAL CORP                                                253 W 35TH ST, FL 7                                                         NEW YORK          NY           10001-1907
    PARSON ELIZABETH T                                                     93 WOODBINE ROAD                                                            CARLISLIE         MA           01741

    PARSONS ELECTRIC COMPANY INC                                           85 HIGH ST STE 2                                                            HAMPTON           NH           03842
    PARTHENON GROUP LLC                                                    200 STATE ST                                                                BOSTON            MA           02109-2605
                                                                           213 WEST INSTITUTE PLACE SUITE
    PARTNERS BY DESIGN, INC.                                               203                                                                         CHICAGO           IL           60610-3196
    PARTNERSHIP FOR 21ST CENTURY
    SKILLS                                                                 177 NORTH CHURCH AVE, STE 305                                               TUCSON            AZ           85701
    PARTY TIME RENTAL INC                                                  3175 S PLATTE RIVER DR                                                      ENGLEWOOD         CO           80110
    PARVIZ DABIR-ALAI                                                      9 RAYMOND AVE, EALING                                                       LONDON                         W13 9UY      United Kingdom
    PASACHOFF JAY M                         ASTRONOMY DEPT WILLIAMS        33 LAB CAMPUS DRIVE                                                         WILLIAMSTOWN      MA           01267

    PASADENA CITY COLLEGE                   ASSOCIATED STUDENTS PASADENA 1580 E COLORADO BLVD                                                          PASADENA          CA           91106
    PASADENA INDEPENDENT SCHOOL
    DISTRICT                                FRAZIER ELEMENTARY SCHOOL      1515 CHERRYBROOK                                                            PASADENA          TX           77502
    PASAIC COUNTY COMM COLLEGE              MICHAEL MCGORTY                39 AMETHYST LANE                                                            PATERSON          NJ           07501
    PASCAL CECILIA RICCIO                   DBA AVANTI GRAPHICS            12106 OLD STAGE TRAIL                                                       AUSTIN            TX           78750
    PASCO COUNCIL OF TEACHERS OF
    MATHS                                                                  7227 LAND O LAKES BLVD                                                      LAND O LAKES      FL           34638
    PASCOE CRAIG                                                           100 HART AVENUE                                                             ATHENS            GA           30606
    PASEK CORPORATION                                                      9 WEST THIRD STREET                                                         SOUTH BOSTON      MA           02127
    PASQUALINA J SKANDALARIS                                               2485 WORCESTER                                                              ORCHARD LAKE      MI           48323
    PASTER EDITORIAL SERVICES               ATTN TRISHA PASTER             707 SUMMER LAKE COVE                                                        WOODSTOCK         GA           30189
    Pastor Ferrer                                                          3297 Allspice Ct                                                            Aurora            IL           60504
    PAT & CHUCK BLACKLEY INC                                               406 AUDUBON ST                                                              STAUNTON          VA           24401
    PAT ALMADA                                                             7271 CANYON CREST ROAD                                                      WHITTIER          CA           90602
    PAT ANDERSON                                                           1021 SOUTH WEBSTER                                                          JUNCTION CITY     KS           66441
    PAT BLEICHMAN                                                          102 WALNUT ST                                                               CORTLAND MANOR    NY           10567
    PAT BRISSON                                                            94 BULLMAN STREET                                                           PHILLIPSBURG      NJ           08865
    PAT JORDAN                                                             711 NE 17TH AVENUE                                                          FORT LAUDERDALE   FL           33304
    PAT MASSIE                                                             304 SCHOOL STREET - P O BOX 18                                              VERMILLION        KS           66544
    PAT OHARA PHOTOGRAPHY INC                                              P O BOX 955                                                                 PORT ANGELES      WA           98362
    PAT STATION PROPERTIES LLC                                             PO BOX 864                                                                  STARKVILLE        MS           39755
    Pat Stellick                                                           5650 Hurontario Street                                                      Mississauga       On           L5R 1C5      Canada
    PAT SULLIVAN                                                           2415 JASPER CT                                                              BOULDER           CO           80304-1939
    PATENT DOROTHY HINSHAW                                                 5445 SKYWAY DRIVE                                                           MISSOULA          MT           59804
    PATERSON MARSH LTD                                                     11-12 DOVER STREET                                                          LONDON                         W1S 4LJ      United Kingdom
    Pathways to Results                     Peg L. Portscheller            2473 South Oakland Circle                                                   Aurora            CO           80014
    Patrice King                                                           4829 Styer Street                                                           Orlando           FL           32819
    Patrice Pollard                                                        31 Virginia Avenue                                                          Lowell            MA           01852
    PATRICIA A CARLS                                                       390 COLE RD                                                                 KENNEBUNK         ME           04043
    Patricia A Coryell                                                     44 Rolling Lane                                                             Chestnut Hill     MA           02467
    Patricia A Coughlin                                                    56 North Avenue                                                             North Attleboro   MA           02763
    Patricia A Duncan                                                      1115 Iron Horse Court                                                       Elgin             IL           60124
    PATRICIA A EDWARDS                                                     2301 MONTEGO DRIVE                                                          LANSING           MI           48912
    Patricia A Hegy                                                        1315 Horne                                                                  St. Charles       IL           60174
    PATRICIA A HOUSTON                                                     1220 PINEWOOD LANE                                                          CRESTVIEW         FL           32539
    Patricia A Mc Kenna                                                    2512 South 17th Street                                                      Philadelphia      PA           19145
    PATRICIA A NELSON                                                      114 N 51 ST AVENUE                                                          GREELEY           CO           80634
    PATRICIA A PEASE                                                       3374 GUNSTON ROAD                                                           ALEXANDRIA        VA           22302
    PATRICIA A TRAFTON                                                     8445 CALLIE AVE                                                             MORTON GROVE      IL           60053
    Patricia A. Trujillo                                                   5646 South Havana Court                                                     Englewood         CO           80111-3917
    Patricia Adams                                                         189 E Lothrop St                                                            Beverly           MA           01915
    Patricia Amy Feind                                                     100 BEACON ST                    #6                                         BOSTON            MA           02116
    PATRICIA ANAYA                                                         5324 CANADA VISTA NW                                                        ALBUQUERQUE       NM           87120
    PATRICIA ANDUSS                                                        410 W 7TH STREET, 243                                                       TULSA             OK           74119
    PATRICIA ARNOLD                                                        13020 152ND RD N                                                            JUPITER           FL           33478
    Patricia Ashcraft                                                      5329 Deer Walk Dr                                                           Indianapolis      IN           46236
    Patricia Babiasz                                                       12620 Fredericksburg Drive                                                  Saratoga          CA           95070
    Patricia Bailey                                                        484 Courtright Dr.                                                          Pickerington      OH           43147
    PATRICIA BARRETT DRAGAN                                                31 CRAGMONT WAY                                                             WOODSIDE          CA           94062
    PATRICIA BERNARD-MARK                                                  17348 SW 8TH STREET                                                         PEMBROKE PINES    FL           33029



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                345 of 488                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                         Pg Creditor
                                                                                                             353 Matrix
                                                                                                                     of 519
                                                                                                                    First Class Service List


                  CreditorName                        CreditorNoticeName                  Address1                       Address2              Address3                City         State       Zip           Country
    PATRICIA BIZZELL                                                       31 CHIPPEWA ROAD                                                               WORCESTER            MA           01602
    Patricia Bohannan                                                      1031 King Drive                                                                Bartlesville         OK           74006
    PATRICIA BOSWORTH                                                      454 W 46TH STREET APT 1AN                                                      NEW YORK             NY           10036
    PATRICIA BRICKER                                                       456 APRIL PARK                                                                 WAYNESVILLE          NC           28786
    PATRICIA BRONSARD                                                      11625 OLD ST AUGUSTINE ROAD                                                    JACKSONVILLE         FL           32258
    PATRICIA BROOKS                                                        S13057 HIGHBANKS ROAD                                                          SPRING GREEN         WI           53588-9404
    PATRICIA BRUNO                          DBA POSITIVE IMAGES            61 WINGATE STREET                                                              HAVERHILL            MA           01832
    Patricia Calleva                                                       41 Locust Street                                                               Woburn               MA           01801
    PATRICIA CARLIN                                                        2010 SUMMERBROOK DR                                                            CONWAY               AR           72034
    Patricia Carls                                                         390 Cole Road                                                                  Kennebunk            ME           04043
    PATRICIA COLORADO                                                      CALLE 146 NO 13-62 APT 304                                                     BOGOTA                                         Colombia
    Patricia Dagwell                                                       5378 Deer Creek Drive                                                          Orlando              FL           32821
    Patricia Dambry                                                        16 Sanger Street                                                               Boston               MA           02127
    Patricia Deare                                                         1177 Millwood Dr.                                                              Riverdale            GA           30296
    PATRICIA DUGGAN                                                        175 CHESTERNUT ST                                                              LYNNFIELD            MA           01940
    PATRICIA DUNN                                                          PO BOX 921                                                                     SHOREHAM             NY           11706-0921
    Patricia E Morphew                                                     170 Laurel Street                                                              Melrose              MA           02176
    PATRICIA E SCHMATZ                                                     P O BOX 125                                                                    AMHERST JUNCTION     WI           54407
    Patricia English                                                       19 Frederika St.                                                               Dorchester           MA           02124
    Patricia Evans                                                         8800 Pine Forest Rd Apt 2101                                                   Pensacola            FL           32534
    Patricia Eynon                                                         55 Magazine St.                                                                Cambridge            MA           02139
    Patricia Forand                                                        6 Nancy Cir.                                                                   Maynard              MA           01754
    PATRICIA FREY                                                          PO BOX 922                                                                     BUFFALO              NY           14201
    Patricia Garcia                                                        13322 Fountainbleau Drive                                                      Clermont             FL           34711
    PATRICIA GLENN                                                         4062 E ENCANTO STREET                                                          MESA                 AZ           85206
    Patricia Glinski                                                       57 Van Steuben Rd                                                              Fishkill             NY           12524
    PATRICIA GOLD                           DBA PATRICIA HENDRIE           3834 N ASHLAND AVE, # 2N                                                       CHICAGO              IL           60613
    PATRICIA GOODMAN                                                       571 PORTLAND AVE                                                               ROLLINSFORD          NH           03869
    Patricia Gordon                                                        9 Hawthorne Place 17-J                                                         Boston               MA           02114
    PATRICIA H ELLISON                                                     7755 S TRENTON CT                                                              CENTENNIAL           CO           80112
    PATRICIA H GUILLORY                     GUILLORY CONSULTING            1160 FLEMING TR                                                                MABLETON             GA           30126
    PATRICIA H TATE                                                        9837 SANTA CLARA CT                                                            HOWEY IN THE HILLS   FL           34737
                                            DBA MARLY RUSOFF AND
    PATRICIA HAMPL                          ASSOCIATES INC                 811 PALMER ROAD STE AA                                                         BRONXVILLE           NY           10708
    PATRICIA HANDLY-JOHNSON                                                309 NE 12TH AVE                                                                FORT LAUDERDALE      FL           33301
    Patricia Harris                                                        322 W WILSON AV                                                                LOMBARD              IL           60148-3833
    PATRICIA HARRIS CHILDRENS IRR
    TRUST                                   ATTN LINDSAY HARRIS TRUSTEE    3020 BATEMAN STREET                                                            BERKELEY             CA           94705
    Patricia Hereford                                                      201 E. Round Grove Rd.         Apt. 2228                                       Lewisville           TX           75067
    PATRICIA HERMES                                                        1414 MELVILLE AVENUE                                                           FAIRFIELD            CT           06825
    Patricia Howard                                                        1101 Kelch Road                                                                Silex                MO           63377
    PATRICIA HUNSADER                                                      6320 205TH ST E                                                                BRADENTON            FL           34211
    PATRICIA J STREET                                                      5489 PALM LAKE CIRCLE                                                          ORLANDO              FL           32819-3903
    PATRICIA J TERRY                                                       4409 MONMOUTH CASTLE ROAD                                                      VIRGINA BEACH        VA           23455
    Patricia J. Dagwell
    PATRICIA JANANN W NICHOLSON                                            P O BOX 323                                                                    PAHOKEE              FL           33476
    PATRICIA JO CUMMINS                                                    6273 SAW MILL DRIVE                                                            NOBLESVILLE          IN           46062
    Patricia K Chewning                                                    439 Los Altos Way, # 102       102                                             Altamonte Springs    FL           32714
    PATRICIA KAUFMAN                                                       9103 WOODRIDGE RUN DRIVE                                                       TAMPA                FL           33647
    Patricia Kenny                                                         6227 S Chickasaw Trail                                                         Orlando              FL           32829
    PATRICIA L MCINTYRE                                                    87 WASHINGTON AVE                                                              COXSACKIE            NY           12051
    PATRICIA L SCHARER                                                     1080 CHAUMONT DRIVE                                                            MARION               OH           43302-6705
    PATRICIA L SOMERS                                                      21 SOUTH RIVER RD S                                                            EDGEWATER            MD           21037
    PATRICIA L STOCK                                                       5724 LE BARON CT                                                               EAST LANSING         MI           48823
    Patricia L Williams                                                    412 Avenue G                   Unit 11                                         Redondo Beach        CA           90277
    PATRICIA LACROIX                                                       116 BLACK HILL DRIVE                                                           STREAMWOOD           IL           60107
    Patricia Lambert                                                       212 Larchwood Ln.                                                              North Aurora         IL           60542
    PATRICIA LAUBER                                                        85 BANK STREET                                                                 NEW CANAAN           CT           06840
    PATRICIA M FONTANALS                                                   3806 PECK AVE                                                                  AUSTIN               TX           78751
    Patricia M Griffin                                                     364 Ramsey St.                                                                 St. Paul             MN           55102
    PATRICIA M HAUSCHILDT                                                  1824 ROBBINS AVE                                                               NILES                OH           44446
    PATRICIA M PEREZ                                                       7900 SW 137 CT                                                                 MIAMI                FL           33183
    PATRICIA MARTIN                                                        47 ELIOT STREET                                                                JAMAICA PLAIN        MA           02130
                                                                           KM 4.5 SAMBORONDON URB SAN
    PATRICIA MASSON                                                        ISIDRO                                                                         GUAYAQUIL                                      Ecuador
    Patricia McGinley                                                      791 E. 6th St.                 #1                                              South Boston         MA           02127
    Patricia Mcstravick                                                    1322 North Olden Avenue                                                        Trenton              NJ           08638
    PATRICIA MEERS                                                         7125 ROBIN HOOD WAY                                                            GRANITE BAY          CA           95746
    Patricia Mercedes Noonan                                               1556 E 550 Road                                                                Lawrence             KS           66049
    PATRICIA MILLER                                                        3501 LUDGATE ROAD                                                              CHESTER              VA           23831



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   346 of 488                                                                                      1:26 PM
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                                                                                                          Pg Creditor
                                                                                                              354 Matrix
                                                                                                                      of 519
                                                                                                                      First Class Service List


                   CreditorName                       CreditorNoticeName                   Address1                        Address2              Address3                City        State       Zip           Country
    Patricia Mills                                                         457 Douglas Rd.                                                                  Batavia             IL           60510
    Patricia Miskella                                                      50 BOW STREET                                                                    DUXBURY             MA           02332
    Patricia OBuchon                                                       71 Messenger Street             Apt. 930                                         Plainville          MA           02762
    PATRICIA PAUGH                                                         65 COMMODORE RD                                                                  WORCESTER           MA           01602
    PATRICIA PAZ                                                           5144 N KOSTNER AVE                                                               CHICAGO             IL           60630
    Patricia Peterson                                                      38223 North Central Avenue                                                       Desert Hills        AZ           85086
    PATRICIA R BARBOUR                                                     3115 PENBROOK AVENUE                                                             HARRISBURG          PA           17109
    PATRICIA R GROGAN                                                      7372 S ROSSMORE COURT                                                            DAYTON              OH           45459
    PATRICIA R PESSAR                                                      71 N RACEBROOK RD                                                                WOODBRIDGE          CT           06525
    PATRICIA RAE WOLFF                                                     3782 N EISENHOWER AVE                                                            HERNANDO            FL           34442
    Patricia Reyna                                                         9710 Chukar Cir                                                                  Austin              TX           78758
    PATRICIA S OMER-COOPER                                                 19B SARGOOD DR                                                                   WANAKA                                        New Zealand
    Patricia Sabo                                                          13838 Amberleigh Road                                                            Orlando             FL           32837
    Patricia Satek                                                         46 Northgate Rd.                                                                 Riverside           IL           60546
    Patricia Savage                                                        10950 Church St                 #2214                                            Rancho Cucamonga    CA           91730-8080
    Patricia Schoeck                                                       28 Indian Road                                                                   Waltham             MA           02451
    Patricia Schultz                                                       2341 Horned Owl Court                                                            Elgin               IL           60123
    Patricia Schuy                                                         9008 Marmora Avenue                                                              Morton Grove        IL           60053
    Patricia Shepard                                                       32 Ironworks Road                                                                Sudbury             MA           01776
    Patricia Sifuentes                                                     35 High Country Dr                                                               Foley               MO           63347
    PATRICIA SILLS                                                         16 ROBINWOOD ROAD                                                                ACTON               MA           01720
    Patricia Sinnott                                                       3506 Normandy Ridge                                                              Austin              TX           78738
    PATRICIA SMITH                                                         SIX KILLINGTON DRIVE                                                             HOWELL              NJ           07731
    Patricia Snow                                                          4056 S. Carson St               Unit B                                           Aurora              CO           80014
    PATRICIA STAHL                                                         2026 WEST POTOMAC AVE                                                            CHICAGO             IL           60622
    Patricia Staub                                                         19 Shady Stream Rd                                                               Barneget            NJ           08005
    PATRICIA STERNBERG                                                     4581 CATAMARAN CIRCLE                                                            BOYNTON BEACH       FL           33436
    PATRICIA TOLLESON                                                      6857 BOARDWALK DR                                                                GRANITE BAY         CA           95746
    Patricia Turner                                                        6612 Parkridge Drive                                                             N. Richland Hills   TX           76180
    PATRICIA TUTUNJIAN                                                     125 REVERE STREET UNIT E                                                         CANTON              MA           02021
    Patricia Vick                                                          417 Darrow Ave.                                                                  Evanston            IL           60202
    Patricia Voepel                                                        16 Hilltop Lane                                                                  Moscow Mills        MO           63362
    PATRICIA W SMITH                                                       50 WINTERGREEN RD                                                                MADISON             MS           39110
    Patricia Wakeley                                                       132 Derbyshire Drive                                                             Hendersonville      NC           28792
    Patricia Wakeley                                                       132 Derbyshire Drive                                                             Hendersonville      NC           28792-2964
    Patricia Weiler                                                        288 Lexington Street                                                             Watertown           MA           02472
    PATRICIA WRIGLEY                                                       2127 ILLINOIS STREET                                                             VALLEJO             CA           94590-4731
    Patricia Zembruski                                                     86 Ardale Street                                                                 Roslindale          MA           02131
    Patricia Zepeda                                                        14701 Noya Dr                                                                    Austin              TX           78728
    PATRICK COULIE PHOTOGRAPHY                                             1827 MARBLE NW                                                                   ALBUQUERQUE         NM           87104
    Patrick D Bush                                                         3644 Periwinkle Way                                                              Indianapolis        IN           46220
    PATRICK DEWITT                                                         5716 NE 25TH AVE                                                                 PORTLAND            OR           97211
    Patrick E Wenzl                                                        3332 Glacier Drive                                                               Stevens Point       WI           54481
    Patrick Gentles                                                        18406 Greenleaf                                                                  Tinley Park         IL           60487
    Patrick Goodwin                                                        448 Waller Street                                                                San Francisco       CA           94117
                                            PATRICK GREENE PRODUCTIONS
    PATRICK GREENE                          LLC                            2633 ADAMS MILL RD NW STE 201                                                    WASHINGTON          DC           20009
    PATRICK H BRIGGS                                                       2888 KENSINGTON COURT                                                            HANFORD             CA           93230
    Patrick Harrigan                                                       7304 Ripley Street                                                               McKinney            TX           75071
    PATRICK HENRY MEMORIAL
    FOUNDATION                                                             1250 RED HILL ROAD                                                               BROOKNEAL           VA           24528
    PATRICK J KING                                                         16 BRADFORD STREET                                                               PLYMOUTH            MA           02360
    PATRICK JONES                                                          6914 PILLSBURY AVENUE S                                                          RICHFIELD           MN           55423
    Patrick Kinder                                                         2817 Waverly Rd                                                                  Flower Mound        TX           75028
    Patrick King                                                           824 Stone Canyon Circle                                                          Inverness           IL           60010
    Patrick Land                                                           12443 S. 69th Ave                                                                Palos Heights       IL           60463
    PATRICK MCKEE                                                          1637 LAKESHORE                                                                   FT COLLINS          CO           80525
    Patrick McLain                                                         6206 N. Lowell Ave                                                               Chicago             IL           60646
    PATRICK OROURKE                         MARCH HARE FARM                PO BOX 145                                                                       PETERBOROUGH        NH           03458
    Patrick R Sparks                                                       1941 Paradise Ridge Dr.                                                          Round Rock          TX           78665
    PATRICK RAUGH                                                          506 EVERGREEN RD                                                                 NEW BLOOMFIELD      PA           17068
    Patrick Riccio                                                         97 Progress St                                                                   Lincoln             RI           02865
    PATRICK SHANNON                                                        864 W AARON DRIVE                                                                STATE COLLEGE       PA           16803
    PATRICK SYMMES                                                         45 WEST 10TH ST #2-A                                                             NEW YORK            NY           10011
    Patrick T Moses                                                        2766 Kristen W Dr                                                                Indianapolis        IN           46218
    Patrick Taylor                                                         251 BOYLSTON ST                                                                  WATERTOWN           MA           02472
    PATRICK W DALLAS                                                       2401 MOUNDS AVE                                                                  NEW BRIGHTON        MN           55112
    PATRICK WEGNER                                                         2030 PALMETTO TERRACE                                                            FULLERTON           CA           92831
    Patrick Welch                                                          8142 Belshire Drive                                                              Orlando             FL           32835




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     347 of 488                                                                                     1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               355 Matrix
                                                                                                                       of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName              Address1                              Address2                         Address3               City        State       Zip             Country

    PATRICK WYLIE                           DBA RARE FRIED SOUND SERVICES 260 BEECH DR                                                                                  KYLE               TX           78640
    Patsy Davis                                                           1120 Burton Road                                                                              Knoxville          TN           37919
    Patsy Kanter                                                          7936 Zimple St                                                                                New Orleans        LA           70118
    Patsy Wright                                                          P O Box 295536                                                                                Lewisville         TX           75029
                                            PATTERN TRACTOR/ PATTERN
    PATTERN INDUSTRIES INC                  POWER                         635 W LAKE ST                                                                                 ELMHURST           IL           60126
    PATTIE COURTNEY                                                       P O BOX 1262                                                                                  ARVADA             CO           80001
    PATTON BRUCE M                                                        89 BLACK OAK RD                                                                               WESTON             MA           02493
    PATTY JACOBS                                                          90 TWINBROOKE DR                                                                              HOLDEN             MA           01520
    Paul A Flach                                                          108 Miller Lane                                                                               Elizabeth City     NC           27909
    Paul A Naughton                                                       2208 Racquet Club Court                                                                       Arlington          TX           76017
    PAUL A PRATTE                                                         4668 BROOKSHIRE CIRCLE                                                                        PROVO              UT           84602
                                            DBA THE OLD SCHOOLHOUSE
    PAUL A SUAREZ                           MAGAZINE LLC                  POB 8426                                                                                      GRAY               TN           37615
    Paul A. Johnson                                                       120 Allen Avenue                                                                              Bucyrus            OH           44820
    PAUL ADAM                               RISU ENTERPRISES LTD          101-5656 HALLEY AVE                                                                           BURNABY            BC           V5H 2P8      Canada
    Paul Ager                                                             633 W Bode Circle                 Apt. 313                                                    Hoffman Estates    IL           60169
    PAUL AIKEN                              AIKEN & AIKEN PC              133 EVERGREEN DR                                                                              MARSTONS MILLS     MA           02648
    Paul Andersen                                                         12350 KRISTA LANE                                                                             AUBURN             CA           95603
    Paul Anthony Flach                                                    108 Miller Lane                                                                               Elizabeth City     NC           27909
    PAUL BACON                                                            PO BOX 275 HULL AVE               PAUL BACON STUDIO                                           CLINTONDALE        NY           12515
    PAUL BARTROP                                                          16 HEYINGTON PL                                                                               TOORAK             Victoria     03142        Australia
    PAUL BEISENHERZ                                                       5301 SOUND AVENUE                                                                             EVERETT            WA           98203-1216
    PAUL BLANCHARD                                                        2350 BROADWAY, # 1038                                                                         NEW YORK           NY           10024
    PAUL BOYER                                                            433 TOEPFER AVENUE                                                                            MADISON            WI           53711
    PAUL BRESNICK LITERARY AGENCY
    LLC                                                                    115 WEST 29TH ST, 3RD FLOOR                                                                  NEW YORK           NY           10001
    Paul Bretschneider                                                     8617 Peppercorn Drive                                                                        Orlando            FL           32825
    PAUL C ANDERSON                                                        26 MEADOWBROOK, APT D                                                                        GUILDERLAND        NY           12084
    PAUL CALTER                                                            108 BLUEBIRD LANE                                                                            RANDOLPH CENTER    VT           05061
    Paul Capobianco                                                        175 poplar Street                                                                            Roslindale         MA           00131
    Paul Charow                                                            683 SILVER HILL RD                                                                           WEST WINDSOR       VT           05089
    PAUL CLARK                                                             5710 VININGS PLACE DR                                                                        MABLETON           GA           30126
    PAUL CRENSHAW                                                          615 N MENDENHALL                                                                             GREENSBORO         NC           27401
    PAUL CROOK                                                             92 MECHANIC STREET                                                                           SHELBURNE FALLS    MA           01370
    Paul D Colgin                                                          2820 Haynes Drive                                                                            Midland            TX           79705
    Paul D Scott                                                           8219 South Steele Court                                                                      Centennial         CO           80122
    PAUL DAVID ASIMOW                                                      804 GARFIELD AVE                                                                             SOUTH PASADENA     CA           91030
    PAUL DAVIES                                                            PO BOX 3215                                                                                  TEMPE              AZ           85280
    PAUL DAVIS                    PAUL DAVIS STUDIO                        14 EAST FOURTH STREET # 503                                                                  NEW YORK           NY           10012
    Paul Despins                                                           6519 Ladera Norte                                                                            Austin             TX           78731
    PAUL DOUGLAS                                                           PO BOX 2443                                                                                  IOWA CITY          IA           52244
    Paul Draper                                                            1307 Roadrunner Dr                                                                           Cedar Park         TX           78613
    PAUL E GOODSPEED                                                       5135 E NICHOLS DRIVE                                                                         LITTLETON          CO           80122
    PAUL E SAPIR                                                           112 PROSPECT STREET                                                                          PROVIDENCE         RI           02906
    PAUL FLEISCHMAN                                                        PO BOX 646                                                                                   AROMAS             CA           95004
    PAUL G BOBEEN                 DBA GREGS CHAIN SAW CENTER               21 FAIRGROUND ROAD                                                                           TROY               MO           63379
    Paul G. Morales                                                        11832 S. Donley Street                                                                       Parker             CO           80138
                                  DBA GIRAGOS COMMUNICATIONS
    PAUL GIRAGOS                  LLC                                      18 GRAY BIRCH TERRACE                                                                        NEWTON             MA           02460
    PAUL H BROOKES PUBLISHING CO                                           P O BOX 10624                                                                                BALTIMORE          MD           21285
    PAUL H NEHRENZ                                                         1339 OLD HWY 49 N                                                                            FLORENCE           MS           39073
    Paul Hamlen                                                            14 Alexander Dr.                                                                             Hampton            NH           03842
    PAUL HASTINGS JANOFSKY &
    WALKER LLP                                                             75 EAST 55th STREET                                                                          NEW YORK           NY           10022
    PAUL HEILKER                                                           VIRGINIA POLYTECHNIC INSTITUTE   DEPARTMENT OF ENGLISH                                       BLACKSBURG         VA           24061
    Paul Holoubek                                                          34 Paine Rd                                                                                  Cumberland         RI           02864
    PAUL HORNSBY & COMPANY                                                 2100 KRAMER LANE SUITE 550                                                                   AUSTIN             TX           78758
    Paul J. Bloomberg                                                      1751 University Avenue                                                 Unit 501              San Diego          CA           92103
    PAUL JARED TOMASYAN                                                    389 HALL ROAD                                                                                BARRINGTON         NH           03825
    PAUL JOHNSON                                                           11 HILL TOP AVE                                                                              CHEADLEY HULME                  SK8 7HN      United Kingdom
    Paul Kane                                                              9657 W. Chatfield Ave. #C                                                                    Littleton          CO           80128
    PAUL KENNEDY                                                           3509 GOLDEN CURRANT BLVD                                                                     FORT COLLINS       CO           80521
    Paul Krohn                                                             51 Center St.                                                                                Algonquin          IL           60102
    PAUL LEE                                                               2214 MONTREAL CIRCLE                                                                         PLACENTIA          CA           92832
    PAUL LEHMAN                                                            11192 PORTOBELO DRIVE                                                                        SAN DIEGO          CA           92124
    PAUL LIGHT                    DBA LIGHTWAVE                            170 LOWELL ST                                                                                ARLINGTON          MA           02474
    Paul Lingol                                                            13618 B 98th Ave                                                                             Sun City           AZ           85351
    Paul Louis Griffin Jr                                                  1232 Regents Park Court                                                                      Desoto             TX           75115



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                      348 of 488                                                                                                 1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 356 Matrix
                                                                                                                         of 519
                                                                                                                First Class Service List


              CreditorName                            CreditorNoticeName                Address1                     Address2              Address3            City           State       Zip            Country
    PAUL LYNTON                                                            65 VICTORIA STREET, # 38                                                   MANCHESTER         NH           03104
    PAUL M BLASKY DE HOSTOS                                                D3 CEDRO ST VALLE ARRIBA HTS                                               CAROLINA           PR           00983
                                             DBA PAUL M FRANKLIN
    PAUL M FRANKLIN                          PHOTOGRAPHY LLC               80 SUGAR CREEK ROAD                                                        WEAVERVILLE        NC           28787
    Paul M Lockman                                                         5310 NW 30th Court                                                         Margate            FL           33063
    Paul M Ramos                                                           3 Winchester Rd                                                            Medway             MA           02053
    Paul McCarthy                                                          68 Wright Street                                                           Arlington          MA           02474
    PAUL MCCORMICK                                                         P O BOX 6448                                                               KAMUELA            HI           96743
    PAUL MEISEL                                                            2 PHEASANT RIDGE ROAD                                                      NEWTOWN            CT           06470
    PAUL MILLHOUSER                          ATTORNEY AT LAW               1665 MADISON STREET                                                        DENVER             CO           80206
    Paul Millhouser
    PAUL MILLHOUSER                                                        1665 MADISON STREET                                                        DENVER             CO           80206
    Paul Murphy                                                            76 Bancroft Road                                                           Melrose            MA           02176
    Paul Perito, M.D., Katherin Eban, Reed
    Elsevier
    PAUL PETER PORGES                                                      322 W 72ND STREET                                                          NEW YORK           NY           10023
    PAUL POLITI                                                            4661 CERRILLOS DRIVE                                                       WOODLAND HILLS     CA           91364
    PAUL POPE                                                              115 MILTON STREET # 2                                                      BROOKLYN           NY           11222
    Paul Provence                                                          6704 Tulsa Cove                                                            Austin             TX           78723
    Paul R Donovan                                                         8304 Inwood Drive                                                          Woburn             MA           01801
    PAUL R LESTER                                                          53 CLIFFORD TER                                                            SAN FRANCISCO      CA           94117
    Paul Rabin                                                             303 Liberty Street                                                         Fairhope           AL           36532
    Paul Raymond                                                           3403 SOUTHWOOD DR                                                          OCEANSIDE          CA           92058
    Paul Reckord                                                           2602 Ballew Ct                                                             Marietta           GA           30062
    Paul Reeves                                                            7001 Shumard Circle                                                        Austin             TX           78759
    PAUL REILLY COMPANY                                                    DEPT 2060                                                                  CHICAGO            IL           60680-0618
    PAUL REZENDES                                                          3833 BEARSDEN ROAD                                                         ROYALSTON          MA           01368-9400
    PAUL ROBERT WALKER LLC                                                 P O BOX 1900                                                               ESCONDIDO          CA           92033
    PAUL ROBERTSON PHOTOGRAPHY
    INC                                                                    847 SOUTH PERRY STREET                                                     MONTGOMERY         AL           36104
    PAUL ROCHELAUE                           PHOTOGRAPHER                  482 CANAAN RD                                                              RICHMOND           MA           01254
    PAUL ROGERS                                                            23-25 GREAT SUTTON STREET                                                  LONDON                          EC1V ODN     United Kingdom
    PAUL ROSIER                                                            409 BICKMORE DRIVE                                                         WALLINGFORD        PA           19086
    PAUL S DOVIE JR                                                        5169 MOSSBERG DRIVE E                                                      THEODORE           AL           36582
    PAUL SALOPEK                                                           P O BOX 828                                                                COLUMBUS           NM           88029
    Paul Scott                                                             8219 South Steele Court                                                    Centennial         CO           80122
    PAUL SEGARRA                                                           34 W FERRY STREET                                                          NEW HOPE           PA           18938
    Paul Shannon                                                           3 Moran Road                                                               Lynnfield          MA           01940
    PAUL SHIPTON                                                           7680 N INDIAN LAKE DRIVE                                                   SCOTTS             MI           49088
    PAUL SOLOTAROFF                                                        260 OCEAN PARKWAY APT 4K                                                   BROOKLYN           NY           11218
    Paul Spelman                                                           41 TENEYCKE HILL ROAD                                                      NORTH FALMOUTH     MA           02556
    PAUL SZEP                                                              10610 ANDREW LANE                                                          LARGO              FL           33777
    Paul Tarver                                                            308 parkbridge                                                             Acworth            GA           30101
    PAUL THEROUX                                                           P O BOX 858                                                                E SANDWICH         MA           02537
    PAUL THUNDER                                                           INDEPENDENCE AVENUE            YAZBECK NAJJAR BLDG                         ASHRAFIEH-BEIRUT                             Lebanon
    PAUL TOUGH                                                             160 GREENWICH ST                                                           MONTAUK            NY           11954
    PAUL W KUZNETS                           IN U - ECON DEPT              809 BALLANTINE HALL                                                        BLOOMINGTON        IN           47405
    Paul Weaver                                                            30 Monument Street                                                         Wenham             MA           01984
    Paul Weiss
    Paul Weiss Rifkind
    PAUL WEISS RIFKIND WHARTON &
    GARRISON                                 LLP                           1285 AVENUE OF THE AMERICAS                                                NEW YORK           NY           10019-6064
    PAUL WHETSEL                                                           4633 WAIAKALUA STREET                                                      KILAUEA            HI           96754
    Paul Wilcox                                                            54 Deerfield Lane                                                          Pembroke           MA           02359
    PAUL WILSON                              WILSON STUDIO                 120 PROSPECT ST                                                            NORWELL            MA           02061
    Paula A Boffa-Taylor                                                   478 W Clapier St                                                           Philadelphia       PA           19144
    PAULA ANDRUSS                                                          6585 MADEIRA HILLS DRIVE                                                   CINCINNATI         OH           45243
    Paula Cox                                                              99 Cooper Lane                                                             Troy               MO           63379
    PAULA FABBRO                                                           4245 LAVALLET CIRCLE                                                       PENSACOLA          FL           32504
    Paula Ganzi                                                            74 Valleyfield St                                                          Lexington          MA           02421
    Paula Ginsberg                                                         9131 Nw 13th St                                                            Plantation         FL           33322
    Paula Jo Walters                                                       6701 E Edgewood                                                            Indianapolis       IN           46237
    PAULA KLUTH                                                            416 NORTH OAK PARK AVENUE                                                  OAK PARK           IL           60302
    PAULA MATHIEU                                                          51 CHURCH ST                                                               WOBURN             MA           01801-3036
    PAULA PERTILE                                                          3712 LOWRY DRIVE                                                           NORTH HIGHLANDS    CA           95660-4917
    Paula Pine                                                             3751 Wellignton Square                                                     San Jose           CA           95136
    PAULA POUNDSTONE                                                       1016 CHELSEA AVE                                                           SANTA MONICA       CA           90403
    PAULA R MARTIN                                                         2 BLUE SILO COURT                                                          GAITHESBURG        MD           20878
    PAULA ROGOVIN                                                          625 LINDEN AVE                                                             TEANECK            NJ           07666
    PAULA S JAY                                                            3007 COACH LIGHT                                                           SUGAR LAND         TX           77479



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                               349 of 488                                                                                      1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   357 Matrix
                                                                                                                           of 519
                                                                                                                          First Class Service List


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    PAULA S POLEGA                                                         2680 JETER MOUNTAIN RD                                                                        HENDERSONVILLE       NC            28739
                                                                           RUA MARECHAL ANDREA NO 312
    PAULA TEIXEIRA DE CASTRO                                               APT 502                                                                   PITUBA              SALVADOR-BAHIA                                  Brazil
    Paula Watkins                                                          1617 Thorntree Dr.                                                                            Desoto               TX            75115
    PAULA WOOD                                                             10283 HWY 903                                                                                 BRACEY               VA            23919
    Paulet Persing                                                         182 S.Orchard Ave.                                                                            Kennett Square       PA            19348
    PAULETTE A JENKINS                                                     400 WEST BARNARD STREET                                                                       WEST CHESTER         PA            19382
    Paulette B Black                                                       723 Belmont Street                                                                            Belmont              MA            02478
    PAULETTE GOODWIN                                                       47 ELLEN STREET                                                                               BAY SHORE            NY            11706
    PAULETTE I JOHNSON                                                     2266 STRONG RD                                                                                PHELPS               WI            54554
    Paulette Langford                                                      3231 Jessica Dr                                                                               Douglasville         GA            30135
    PAULETTE PILSNER                                                       975 HEIMER LANGE RD                                                                           SPRING BRANCH        TX            78070
    Paulina Springs Books                                                  422 SOuthwest 6th Street                                                                      Redmond              OR            97756
    PAULINE B KALDAS                                                       P O BOX 9677                          HOLLINS UNIVERSITY                                      ROANOKE              VA            24020
    PAULINE CHAPMAN                                                        1225 PICARDI PL                                                                               LAFAYETTE            CO            80026
    PAULINE GIBBONS                                                        41A RIDGE ST                                                                                  EPPING               NSW           02121        Australia
    Pauline Lecomte                                                        357 Newport Ave.#1B                                                                           Quincy               MA            02170
    Pauline M. Patrick                                                     308 Hillcrest Lane                                                                            Burnsville           MN            55337
    PAULINE PHARR                                                          PO BOX 958                                                                                    SOUTHOLD             NY            11971
    PAULINE RUBINSTEIN                                                     1392 RUGBY ROAD                                                                               TEANECK              NJ            07666
    PAULINE STERENBERG                                                     11342 MORAINE DRIVE, UNIT G                                                                   PALOS HILLS          IL            60465
    PAULINE VON HOFFER                                                     29499 HIGHWAY Y                                                                               JONESBURG            MO            63351
    PAULINO SANTOS ANDINO                                                  EH-17 6TH SEC JOSE G BENITEZ                                                                  LEVITTOWN TOA BAJA   PR            00949
    PAULIS WABER                                                           3915 HUNTINGTON STREET NW                                                                     WASHINGTON           DC            20015
    PAULIST PRESS                                                          997 MACARTHUR BLVD                                                                            MAHWAY               NJ            07430

    PAULSON & CO                            ATTN SHERU CHOWDHRY            1251 AVE OF THE AMERICAS 50TH FL                                                              NEW YORK             NY            10020
    PAULSON & CO. INC.
    Paulson & Company, Inc.                 Daniel Kamensky                1251 Ave. of the Americas, 50th Fl.                                                           New York             NY            10020
    Paulson and Co.
    Paulson, John A.                        Paulson & Co.                  1251 Avenue of the Americas           50th Floor                                              New York             NY            10020
    Paulson, John A.
    PAULUS LINDA                                                           126 SOUTH LAKE STREET                                                                         GRAYSLAKE            IL            60030
    PAVEL ZEMLIANSKY                                                       JAMES MADISON UNIV/MSC 2103           WRITING PROGRAM                                         HARRISONBURG         VA            22807
    PAVILION BOOKS LTD                                                     64 BREWERY ROAD                                                                               LONDON                             N7 9NT       United Kingdom
    PAVLIK ROBERT A                                                        115 WEST GREEN TREE                                                                           GLENDALE             WI            53217
    Paw Paw Public Schools                  Attn Mark Bielang              119 Johnson Street                                                                            Paw Paw              MI            49079
    PAXTON MEDIA GROUP LLC                  DBA SEARCY MEDIA GROUP LLC     3000 E RACE                                                                                   SEARCY               AR            72143
    PAYMENTECH LLC                                                         14221 DALLAS PARKWAY                                                                          DALLAS               TX            75254
    PAYMETRIC INC                                                          11175 CICERO DRIVE, STE 175                                                                   ALPHARETTA           GA            30022
    PAYNE DAVID                             AD 127 BIGHAMTON UNIVERSITY    DEAN GRADUATE SCHOOL                                                                          BINGHAMTON           NY            13902
    PAYNE WILLIAM DAVID III                                                134 W MARGARET LANE                                                                           HILLSBOROUGH         NC            27278
    PayPal, Inc.                                                           4100 Solutions Center, #774100                                                                Chicago              IL            60677-4001
    PAYPHONE MANAGER INC                                                   PO BOX 185                                                                                    BRONX                NY            10461
    PAZZAZ INC                                                             1913 EUCLID AVE                                                                               SAN DIEGO            CA            92105
    PBA GALLERIES                                                          133 KEARNY ST, 4TH FLOOR                                                                      SAN FRANCISCO        CA            94108
    PC NATION                                                              425 HUEHL RD BLDG 5                                                                           NORTHBROOK           IL            60062
    PCG TRADING LLC                         DBA CONVERGE                   P O BOX 370059                                                                                BOSTON               MA            02241-0759
    PCN PHOTOGRAPHY                                                        603 WITTENBERG ROAD                                                                           MOUNT TREMPER        NY            12457
    PEABODY ESSEX MUSEUM                                                   EAST INDIA SQ                                                                                 SALEM                MA            01970
    PEACE COLLEGE BOOKSTORE                                                15 EAST PEACE STREET                                                                          RALEIGH              NC            27604
    PEACEJAM FOUNDATION                                                    5605 YUKON ST                                                                                 ARVADA               CO            80002
    PEACHTREE PUBLISHERS                                                   1700 CHATTAHOOCHEE AVENUE                                                                     ATLANTA              GA            30318
    PEACHTREE PUBLISHERS                                                   1700 CHATTAHOOCHEE AVENUE                                                                     ATLANTA              GA            30318-2112
    PEAK PARENT CENTER INC                                                 611 N WEBER #200                                                                              COLORADO SPRINGS     CO            80901
    PEAK TECHNOLOGIES INC                                                  8458 SOLUTIONS CENTER                                                                         CHICAGO              IL            60677-8002

    PEARL CENTER FOR LEARNING INC                                          410 EAST BUTLER ROAD STE B                                                                    MAULDIN              SC            29662
    PEARL LING                                                             2871 SEDGEWICK RD                                                                             SHAKER HEIGHTS       OH            44120
    PEARL STREET PRESS INC                  WILLIAM MCBRIDE                432 VICKSBURG ST                                                                              SAN FRANCISCO        CA            94114-3831
    Pearl Tilton                                                           1418 B US RT 1                                                                                CAPE NEDDICK         ME            03902
    PEARSON ASSESSMENTS PRINT
    SERVICES                                                               2125 4TH STREET NW                                                                            OWATONNA             MN            55060
    PEARSON AUSTRALIA GROUP                 ATTN LUCINDA ANDREWS           P O BOX 460                                                                                   PORT MELBOURNE       Victoria      03207        Australia
    PEARSON AUSTRALIA GROUP                                                20 CAMBERWELL ROAD                                                                            CAMBERWELL           Victoria      03124        Australia
    PEARSON AUSTRALIA GROUP                                                P O BOX 460                                                                                   PORT MELBOURNE       Victoria      03207        Australia
    PEARSON EDUC - ALLYN AND
    BACON                                                                  501 BOYLSTON STREET, STE 900                                                                  BOSTON               MA            02116
    PEARSON EDUCATION                       ROYALTY DEPARTMENT             ONE LAKE ST                                                                                   UPR SADDLE RV        NJ            07458
    PEARSON EDUCATION                       RIGHTS & PERMISSIONS DEPT      75 ARLINGTON ST - SUITE 300                                                                   BOSTON               MA            02116-3946



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                         350 of 488                                                                                                    1:26 PM
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                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                         Address2              Address3               City          State       Zip            Country

    PEARSON EDUCATION                       DBA FAMILY EDUCATION NETWORK P O BOX 100928                                                                   ATLANTA              GA           30384
    PEARSON EDUCATION                                                    75 ARLINGTON ST - SUITE 300                                                      BOSTON               MA           02116-3946
    PEARSON EDUCATION                                                    P O BOX 100928                                                                   ATLANTA              GA           30384
    PEARSON EDUCATION                                                    PO BOX 409479                                                                    ATLANTA              GA           30384-9479
    PEARSON EDUCATION                                                    PO BOX 409496                                                                    ATLANTA              GA           30384
    Pearson Education                                                    P.O. Box 409496                                                                  Atlanta              GA           30384-9496

    PEARSON EDUCATION CANADA INC                                 26 PRINCE ANDREW PLACE                      ATTN POLING CHU                              DON MILLS            ON           M3C 2T8      Canada
    PEARSON EDUCATION INC        SUBSIDIARY RIGHTS               PO BOX 403339                                                                            ATLANTA              GA           30384-3339
                                 ATTN JULIE TAYLOR - PERMISSIONS
    PEARSON EDUCATION LIMITED    DEPT                            EDINBURGH GATE                                                                           HARLOW               Essex        CM20 2JE     United Kingdom

    PEARSON EDUCATION LIMITED               ATTN HEINEMANN OXFORD PUB      HALLEY CT FREEPOST P O BOX 1125                                                OXFORD                            OX2 8YY      United Kingdom
    PEARSON EDUCATION LIMITED                                              EDINBURGH GATE                                                                 HARLOW               Essex        CM20 2JE     United Kingdom

    PEARSON EDUCATION LIMITED                                              HALLEY CT FREEPOST P O BOX 1125                                                OXFORD                            OX2 8YY      United Kingdom
    PEARSON EDUCATION LTD                                                  EDINBURGH GATE                  ATTN ROYALTY DEPARTMENT                        HARLOW ESSEX         Essex        CM20 2JE     United Kingdom
    PEARSON HEINEMANN NZ                                                   67 APOLLO DRIVE                                                                ROSEDALE             Auckland     00632        New Zealand

    PEARSON NEW ZEALAND LTD                                                PRIVATE BAG 102902 NORTH SHORE                                                 NORTH SHORE CITY                  00745        New Zealand

    PEARSON NEW ZEALAND LTD                                                PRVT BAG 102902                   ATTN BELINDA BROADBELT                       NORTHSHORE AUCKLAND               00745        New Zealand
    PEARSON NEWZEALAND                                                     P O BOX 112256                    PERMISSIONS DEPARTMENT                       PENROSE             Auckland      01642        New Zealand
    PEBBLE BEACH COMPANY                                                   2700 SEVENTEEN MILE DRIVE                                                      PEBBLE BEACH        CA            93933
    PECATONICA COMMUNITY UNIT DIST
    321                            BOARD OF EDUCATION                      1300 MAIN STREET                                                               PECATONICA           IL           61063
    PECK BETH                                                              E 4523 COUNTY D                                                                MENOMONIE            WI           54751
    PECK DONALD                                                            6 INDIAN ROCK RD                                                               WARREN               NJ           07059
    PEDERSEN JANET                                                         515 11TH ST                                                                    BROOKLYN             NY           11215
    PEDRO A VILLAFANE RIVERA       COND PISOS DE SANTA ANA                 50 C ZAFIRO APT B3                                                             VEGA ALTA            PR           00692
    Pedro A. Velez                                                         2339 W. Addison St.               #2H                                          Chicago              IL           60618
    Pedro Casas                                                            2211 Ridgewood                                                                 Carrollton           TX           75244
    PEDRO J GUMBE SANTANA                                                  CALLE25 NE # 315                                                               PUERTO NUEVO         PR           00920

    PEDRO SANCHEZ ESCOBEDO                                                 ENTRE 28-30 FRACC MONTE ALBAN                                                  MERIDA               YT           97114        Mexico
    PEEK MERLE                                                             2329 SOUTH OGDEN STREET                                                        DENVER               CO           80210
    Peel District School Board                                             5650 Hurontario St                                                             Mississauga          ON           L5R 1C6      Canada
    PEER 1 DEDICATED HOSTING                                               PO BOX 643548                                                                  CINCINNATI           OH           45264
    PEER INTERNATIONAL
    CORPORATION                             ATTN LEE REED                  5358 MELROSE AVENUE                                                            LOS ANGELES          CA           90038
    PEER INTERNATIONAL
    CORPORATION                                                            250 WEST 57TH STREET, STE 820     PEER MUSIC LTD                               NEW YORK             NY           10107
    PEER INTERNATIONAL
    CORPORATION                                                            5358 MELROSE AVENUE                                                            LOS ANGELES          CA           90038
    PEER R BAEHR                                                           2102 AM NEEMSTEDE                                                              JAC V RUISDAELL                                Netherlands
                                            DBA ACADEMIC BENCHMARKS -
    PEET CONSULTING INC                     ACCTS RECEV                    1244 MEADOWGATE PLACE                                                          LOVELAND             OH           45140
    PEET HOWARD D                                                          19791 NORTH 86TH DRIVE                                                         PEORIA               AZ           85382
    PEET TIMOTHY JUPITER                                                   170 RIO VIA                                                                    OAK VIEW             CA           93022
    PEG HANRAHAN                                                           1113 WESTLEY ST                                                                EVANSTON             IL           60202
    PEGASUS EDITORIAL INC                                                  6852 PARSON BROWN DRIVE                                                        ORLANDO              FL           32819
    PEGGY A SHARP                                                          PMB 283, 4230 SE KING RD                                                       MILWAUKIE            OR           97222-5259
    Peggy Barfuss                                                          4135 South 2275 West                                                           Roy                  UT           84067
    PEGGY BARNETT                                                          21521 80TH AVENUE SE                                                           WOODINVILLE          WA           98072
    PEGGY BURKMAN                                                          19447 MOHER COURT                                                              MOKENA               IL           60448
    PEGGY CHRISTIAN                                                        11210 KONA RANCH ROAD                                                          MISSOULA             MT           59804
    Peggy Eickhoff                                                         3610 N. Huntington Rd                                                          Marion               IN           46952
    Peggy Hart                                                             18 Hammond Pl.                                                                 Woburn               MA           01801
    Peggy Holland                                                          179 Southern Charm Loop                                                        Hot Springs          AR           71913
    Peggy J Smith                                                          952 Bryn Mawr                                                                  Bartlett             IL           60103
    Peggy Kornegger                                                        30 Gilbert Road                                                                Belmont              MA           02478
    Peggy Kyker Paulson                                                    1516 Cool Creek Dr.                                                            Carmel               IN           46033
    Peggy Lush                                                             1214 W. 32nd Street                                                            Cheyenne             WY           82001
    Peggy Michaels                                                         11212 Jellico Ave.                                                             Granada Hills        CA           91344
    Peggy Morales                                                          11832 South Donley Street                                                      Parker               CO           80138
    Peggy Pawloski                                                         1101 Jackson St. #502                                                          Omaha                NE           68102
    PEGGY S BALDWIN                                                        BOX 189                                                                        ROCK VIEW            WV           24880
    Peggy S. Morales                                                       11832 S. Donley Street                                                         Parker               CO           80138
    Peggy Smith-Herbst                                                     1237 Overlook Dr                                                               Mount Dora           FL           32757



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                   351 of 488                                                                                        1:26 PM
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                                                                                                                      of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                Address1                           Address2                        Address3            City              State       Zip             Country
    PEGGY W HAYES                                                          7047 WEATHERED POST                                                                        SAN ANTONIO          TX            78238
    PEGI DEITZ SHEA                                                        27 FOX HILL DRIVE                                                                          ROCKVILLE            CT            06066
    PELICAN PUBLISHING CO                                                  1000 BURMASTER STREET                                                                      GRETNA               LA            70053
    PEMBROOKE PUBLISHING                                                   538 HOOD ROAD                                                                              MARKHAM              ON            L3R 3K9      Canada
    PEN & INK, INC.                                                        38 WEST NEWTON STREET                                                                      BOSTON               MA            02118
    PEN AMERICAN CENTER INC                 PEN NEW ENGLAND                588 BROADWAY SUITE 303                                                                     NEW YORK             NY            10012
    PEN CENTER USA WEST                                                    269 SOUTH BEVERLY DRIVE #1163                                                              BEVERLY HILLS        CA            90212
    PEN NEW ENGLAND                                                        29 EVERETT STREET                                                                          CAMBRIDGE            MA            02138
    Pendleton, Friedberg, Wilson &
    Hennessey P.C.                                                         1875 Lawrence Street              Tenth Floor                                              Denver               CO            80202-1898
    PENELOPE J GILLESPIE                                                   BOX LANE FARM                                                         MINCHINHAMPTON       Gloucestershire                    GL6 9DH      United Kingdom
    PENELOPE L FITZGERALD                                                  15 GILES STREET                                                                            HAMDEN               CT            06517
    PENGUIN BOOKS                                                          487 MAROONDAH HIGHWAY                                                                      RINGWOOD             Victoria      03134        Australia
                                                                                                                                                                      EDINBURGH GATE
    PENGUIN BOOKS LTD                       GBP ACCOUNT                    CASH MANAGEMENT DEPT              PEARSON SHARED SERVICES                                  HARLOW               Essex         CM20 2JE     United Kingdom
    PENGUIN BOOKS LTD                                                      80 STRAND                                                                                  LONDON                             WC2R 0RL     United Kingdom
                                                                                                                                                                      EDINBURGH GATE
    PENGUIN BOOKS LTD                                                      CASH MANAGEMENT DEPT              PEARSON SHARED SERVICES                                  HARLOW               Essex         CM20 2JE     United Kingdom
    PENGUIN BOOKS LTD                                                      EDINBURGH GATE                                                                             HARLOW ESSEX                       CM20 2JE     United Kingdom
    PENGUIN BOOKS LTD- DK IMAGES            CREDIT MANAGEMENT DEPT         PEARSON SHARED SERVICES           EDINBURGH GATE                                           HARLOW               Essex         CM20 2JE     United Kingdom
    PENGUIN BOOKS USA, INC.                 ATTN LAURA CEMINARO            1 LAKE STREET                                                                              UPPER SADDLE RIVER   NJ            07458
    PENGUIN GROUP (UK)                      PENGUIN GROUP ROYALTY DEPT     EDINBURGH GATE                                                                             HARLOW                             CM20 2JE     United Kingdom
    PENGUIN GROUP (USA) INC                 ATTN LAURA CEMINARO            1 LAKE STREET                                                                              UPPER SADDLE RIVER   NJ            07458
    PENGUIN GROUP ROYALTY DEPT                                             80 STRAND                                                                                  LONDON                             WC2R ORL     United Kingdom
                                                                                                                                                                      EDINBURGH GATE
    PENGUIN GROUP UK                        USD ACCOUNT                    CASH MANAGEMENT DEPT              PEARSON SHARED SERVICES                                  HARLOW               Essex         CM20 2JE     United Kingdom
    PENGUIN GROUP UK                        PENGUIN GROUP ROYALTY DEPT     EDINBURGH GATE                                                                             HARLOW ESSEX         Bristol       CM20 2JE     United Kingdom
                                                                                                                                                                      EDINBURGH GATE
    PENGUIN GROUP UK                                                       CASH MANAGEMENT DEPT              PEARSON SHARED SERVICES                                  HARLOW               Essex         CM20 2JE     United Kingdom
    Penguin Group USA                       Laura Cerminaro                1 Lake St.                                                                                 Upper Saddle River   NJ            07458
    PENGUIN GROUP USA                       ATTN LAURA CEMINARO            1 LAKE STREET                                                                              UPPER SADDLE RIVER   NJ            07458
    PENGUIN GROUP USA                                                      COLLECTION CTR DR, PO BOX 4247                                                             CHICAGO              IL            60693
    PENGUIN GROUP USA INC                   DK PUBLISHING                  375 HUDSON STREET                 ATTN NANCY G TRAN                                        NEW YORK             NY            10014
    PENGUIN GROUP USA INC                   C/O BANK OF AMERICA            PO BOX 4247                                                                                CHICAGO              IL            60693

    PENGUIN GROUP USA INC                   BANK OF AMERICA                P O BOX 4247, COLLECTION CTR DR                                                            CHICAGO              IL            60693
    PENGUIN GROUP USA INC                   ATTN LIZ MORAZ                 345 HUDSON ST                                                                              NEW YORK             NY            10014-3657
    PENGUIN GROUP USA INC                                                  375 HUDSON STREET               ATTN NANCY G TRAN                                          NEW YORK             NY            10014
    PENGUIN GROUP USA INC                                                  375 HUDSON STREET                                                                          NEW YORK             NY            10014
    PENGUIN GROUP USA INC                                                  PO BOX 4247, COLLECTION CTR DR ATTN SUBSIDIARY RIGHTS                 BANK OF AMERICA      CHICAGO              IL            60693

    PENGUIN GROUP USA INC                                                  P O BOX 4247, COLLECTION CTR DR                                                            CHICAGO              IL            60693
    PENGUIN PUTNAM INC                      C/O BANK OF AMERICA            PO BOX 4403, COLLECTION CTR DR                                                             CHICAGO              IL            60693
    PENGUIN PUTNAM INC                      ATTN LAURA CEMINARO            1 LAKE STREET                                                                              UPPER SADDLE RIVER   NJ            07458
    PENGUIN PUTNAM INC                                                     PO BOX 4403, COLLECTION CTR DR                                                             CHICAGO              IL            60693
    PENGUIN USA                             ATTN LAURA CEMINARO            1 LAKE STREET                                                                              UPPER SADDLE RIVER   NJ            07458
    PENGUIN USA                                                            4920 COLLECTIONS CENTER DRIVE                                                              CHICAGO              IL            60693
    PENN VIEW CHRISTIAN ACADEMY                                            125 PENN VIEW DRIVE                                                                        PENNS CREEK          PA            17862
    PENNSYLVANIA ACADEMY FINE                                                                                RIGHTS AND REPRODUCTIONS
    ARTS                                                                   118 N BROAD STREET                DEPT                                                     PHILADELPHIA         PA            19102-1510
    PENNSYLVANIA ASSN FOR                   COMMUNICATION AND
    EDUCATIONAL                             TECHNOLOGY                     13808 OLD RT 19N                  ATTN RONALD BENNETT                                      WATERFORD            PA            16441
    PENNSYLVANIA ASSN OF                                                                                     BUCKS COUNTY INTERMEDIATE
    INTERMEDIATE UNITS                                                     33 SPRINGBROOK DRIVE              UNIT # 22                                                CANTON               PA            17724-9356
    PENNSYLVANIA ASSN OF RURAL
    AND SMALL                               SCHOOLS                        P O BOX 479                                                                                BROOKVILLE           PA            15825
    PENNSYLVANIA ASSN OF RURAL
    AND SMALL                               ATTN CAROL SHIELDS             P O BOX 479                                                                                BROOKVILLE           PA            15825
    PENNSYLVANIA ASSOC FOR
    SUPERVISION                             ATTN SHANE HOTCHKISS           7335 CARLISLE PIKE                                                                         YORK SPRINGS         PA            17372
    PENNSYLVANIA ASSOC OF FED
    PROG CORD                                                              BOX 3717                                                                                   YORK                 PA            17402
    PENNSYLVANIA ASSOCIATION FOR
    ADULT                                   MONICA SHIELDS                 1176 BINGAY DR                                                                             PITTSBURG            PA            15237
    PENNSYLVANIA ASSOCIATION FOR
    ADULT                                   CONTINUING EDUCATION           1176 BINGAY DR                                                                             PITTSBURG            PA            15237
    PENNSYLVANIA COALITION OF
    PUBLIC                                  CHARTER SCHOOLS                999 WEST CHESTER PIKE STE B-6                                                              WEST CHESTER         PA            19382
    PENNSYLVANIA COUNCIL FOR
    EXCEPTIONAL                             CHILDREN                       152 PUTNAM DRIVE                                                                           MANSFIELD            PA            16933



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     352 of 488                                                                                                   1:26 PM
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                                                                                                                           of 519
                                                                                                                     First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                        Address2                            Address3                   City        State       Zip            Country
    PENNSYLVANIA COUNCIL FOR
    SOCIAL STUDIES                                                         5842 SHADY LANE                  ATTN IRA HIBERMAN                                               NAZARETH            PA           18064
    PENNSYLVANIA COUNCIL OF
    TEACHERS OF                             MATHEMATICS                    198 PICKWICK CIRCLE              ATTN TERRY BAYLOR                                               PALMYRA             PA           17078
    PENNSYLVANIA COUNCIL OF
    TEACHERS OF                             ENGLISH & LANGUAGE ARTS        P O BOX 2327                                                                                     BUTLER              PA           16003-2327
    PENNSYLVANIA COUNCIL OF
    TEACHERS OF                                                            198 PICKWICK CIRCLE              ATTN TERRY BAYLOR                                               PALMYRA             PA           17078
    PENNSYLVANIA COUNCIL OF
    TEACHERS OF                                                            P O BOX 2327                                                                                     BUTLER              PA           16003-2327
    Pennsylvania Dept of Revenue            Attn Compliance & Bankruptcy   Strawberry Square                4th & Walnut Sts                    Dept 280946                 Harrisburg          PA           17128

    PENNSYLVANIA DEPT OF REVENUE                                           DEPT 280404                                                                                      HARRISBURG          PA           17128-0404

    PENNSYLVANIA DEPT OF REVENUE                                           P O BOX 280425                                                                                   HARRISBURG          PA           17128-0425
    PENNSYLVANIA ED SALES CLUB              C/O RON RAY                    256 SIMPSON ROAD                                                                                 GREENSBORO          PA           15601

    PENNSYLVANIA EDUC TECHNOLOGY EXPO & CONFERENCE                         2579 INTERSTATE DRIVE                                                                            HARRISBURG          PA           17110

    PENNSYLVANIA EDUC TECHNOLOGY ATTN JAY HIMES                            2579 INTERSTATE DRIVE                                                                            HARRISBURG          PA           17110
    PENNSYLVANIA MIDDLE SCH ASSOC
    W REG                         NEW BRIGHTON MIDDLE SCHOOL               901 PENN AVE                                                                                     NEW BRIGHTON        PA           15066
    PENNSYLVANIA MIDDLE SCH ASSOC
    W REG                         ATTN RICK SCHWARTZ                       901 PENN AVE                                                                                     NEW BRIGHTON        PA           15066
    PENNSYLVANIA MIDDLE SCH                                                                                 JULIE A MOORE - PMSA VENDOR
    ASSOCIATION                                                            2801 BEAVER GRADE ROAD           COORDNTR                                                        MOON TOWNSHIP       PA           15108
    PENNSYLVANIA SCIENCE TEACHERS LOCK HAVEN UNIVERSITY OF
    ASSOC                         PENNSYLVANNIA                            303A ULMER                                                                                       LOCK HAVEN          PA           17745
    PENNSYLVANIA STATE MODERN
    LANGUAGE                      ASSOCIATION                              5048 FIFTH AVENUE                ATTN THEKLA FALL                                                PITTSBURGH          PA           15232
    PENNSYLVANIA STATE UNIV                                                408 OLD MAIN                     FRED LEWIS PATTEE LIBRARY           ATTN CORPORATE CONTROLLER   UNIVERSITY PK       PA           16802

    PENNSYLVANIA STATE UNIVERSITY           PENN STATE GREATER ALLEGHANY 101 OSTERMAYER 4000 UNIV DR                                                                        MCKEESPORT          PA           15132-7698
    PENNSYLVANIA STATE UNIVERSITY
    PRESS                                                                  820 NORTH UNIV DR USBI STE C                                                                     UNIVERSITY PARK     PA           16802
    PENNSYLVANIA TREASURY
    DEPARTMENT                              BUREAU OF UNCLAIMED PROPERTY P O BOX 1837                                                                                       HARRISBURG          PA           17105-1837
    PENNTESOL EAST                                                       5414 OVERBROOK AVE                                                                                 PHILADELPHIA        PA           19131
    PENNY A LUND                                                         8544 W 143RD PLACE                                                                                 ORLAND PARK         IL           60462
    Penny Baldwin                                                        138 S 18th Street                                                                                  St Charles          IL           60174
    Penny Beers                                                          40 Dunbar Road                                                                                     Palm Beach Garden   FL           33418
    Penny Campbell                                                       310 Abbey Dr                                                                                       Austin              TX           78737
    PENNY CLARE                                                          115 HIGH STREET                                                                                    LEE                 NH           03824
    Penny J Sterling                                                     1548 Charleston Street                                                                             Batavia             IL           60510
    PENNY KITTLE                                                         P O BOX 2575                                                                                       NORTH CONWAY        NH           03860
    Penny Patterson                                                      6928 N Denton Dr                                                                                   McCordsville        IN           46055
    PENNY R SCHUFREIDER                                                  2851 W OLD AJO WAY # 3                                                                             TUCSON              AZ           85746
    Penny Woods                                                          718 White Pine Ave                                                                                 Rockledge           FL           32955
    Pennyslvania Department of State
    Corporation Bureau                                                     P.O. Box 8722                                                                                    Harrisburg          PA           17105-8722
    PENSION PROTECTION FUND                 KNOLLYS HOUSE                  17 ADDISCOMBE ROAD                                                                               CROYDON             Surrey       CRO 6SR      United Kingdom
    PENSION PROTECTION FUND                                                17 ADDISCOMBE ROAD                                                                               CROYDON             Surrey       CRO 6SR      United Kingdom
    Pension Protection Fund
    PENSIONS REGULATOR                                                     P O BOX 5185                                                                                     BRIGHTON                         BN50 9WG     United Kingdom
    Pensions Regulator
    PEOPLE GAS                                                             ACCT# 7 5000 2086 5373                                                                           CHICAGO             IL           60687
    PEOPLE WEEKLY                           TIME & LIFE BLDG               ROCKEFELLER CENTER                                                                               NEW YORK            NY           10020-1393
    PEOPLES GAS                                                            PEOPLE GAS                                                                                       CHICAGO             IL           60687
    PEORIA PUBLIC SCHOOLS
    FOUNDATION                                                             3202 NORTH WISCONSIN AVE                                                                         PEORIA              IL           61603
                                            GRADUATE SCH OF EDUC &
    PEPPERDINE UNIVERSITY                   PSYCHOLOGY                     6100 CENTER DRIVE5TH FL          C/O WES PATTERSON.                                              LOS ANGELES         CA           90045
    PERCEPTIVE MARKET RESEARCH
    INC                                                                    3615 SW 13th STREET SUITE 6                                                                      GAINESVILLE         FL           32608
    PERELLA WEINBERG PARTNERS                                              767 FIFTH AVENUE                                                                                 NEW YORK            NY           10153
    PEREZ NORAH A                                                          160 SOUTH FIFTH ST                                                                               LEWISTON            NY           14902-1650
    PEREZ SHERI                                                            1940 BASILWOOD COURT                                                                             N LAS VEGAS         NV           89031
    PERFECTION LEARNING                                                    1000 NORTH SECOND AVE                                                                            LOGAN               IA           51546
    Performance Learning Systems, Inc.                                     1150 Glenlivit Drive, Ste B28                                                                    Allentown           PA           18106
    Perik, Michael



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    353 of 488                                                                                                        1:26 PM
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                                                                                                                       of 519
                                                                                                                        First Class Service List


                CreditorName                          CreditorNoticeName               Address1                              Address2                        Address3                 City        State       Zip             Country
    PERKINS SALLY J                                                        6373 S TACOMA AVE                                                                                INDINAPOLIS      IN           46227
    PERKINS SCHOOL FOR THE BLIND                                           175 NORTH BEACON STREET                                                                          WATERTOWN        MA           02472
    Perla Arce-Franke                                                      5901 Marchmont Lane                                                                              Austin           TX           78749
    PERLA M FRANKLIN                                                       1608 BINNEY DR                                                                                   FORT PIERCE      FL           34949
    PERMA-FIX OF FLORIDA INC                                               P O BOX 676390                                                                                   DALLAS           TX           75267-6390

    PERMISSIONS GROUP                                                      1247 MILWAUKEE AVENUE SUITE 303                                                                  GLENVIEW         IL           60025
    Perry M Frulla                                                         1603 N 34th Ave                                                                                  Melrose Park     IL           60160
    Perry Zirkel                                                           3906 Walbert Avenue                                                                              Allentown        PA           18104
    PERS & PUBLICITEITSBUREAU
    NOORDOOST                                                              POSTBUS 699 8440 AR                                                                              HEERENVEEN                                 Netherlands
    PERSEA BOOKS INC                                                       277 BROADWAY SUITE 708                                                                           NEW YORK         NY           10007
    PERSEUS BOOKS GROUP                     DBA BASIC BOOKS LLC            387 PARK AVENUE SOUTH                                                                            NEW YORK         NY           10016-8810
                                                                                                             ATTN BILL SMITH - DIR, DOMESTIC
    PERSEUS BOOKS GROUP                                                    11 CAMBRIDGE CENTER               RIGHTS                                                         CAMBRIDGE        MA           02142
    PERSEUS BOOKS GROUP                                                    387 PARK AVENUE SOUTH                                                                            NEW YORK         NY           10016-8810
    PERSEUS BOOKS INC                       SUBSIDIARY RIGHTS              44 FARNSWORTH ST 3RD FLR                                                                         BOSTON           MA           02210
    PERSON COUNTY BOARD OF
    EDUCATION                                                              304 S MORGAN ST RM 25                                                                            ROXBORO          NC           27573
    PERSONAL COMPUTER SYSTEMS
    INC                                                                    P O BOX 69                                                                                       LOUISVILLE       TN           37777-0069
    PERSONNEL MANAGEMENT
    ASSOCIATES INC                          DBA THE SURVEY GROUP           1 VAN DE GRAAFF DRIVE SUITE 402                                                                  BURLINGTON       MA           01803
    PES ENTERPRISES                         DBA CAPITOL COURIER            P O BOX 3182                                                                                     AUSTIN           TX           78764
    PEST BOYS                                                              619 AVERETT                                                                                      KENNEDALE        TX           76060
    PEST CONTROL OFFICE LIMITED                                            P O BOX 63501                                                                                    LONDON                        N16 7RQ      United Kingdom
    PESTO INC                               DBA GLOBE PEQUOT PRESS         246 GOOSE LANE                                                                                   GUILFORD         CT           06437
    PETER ARMENIA                                                          920 CLARENDON STREET                                                                             DURHAM           NC           27705
    PETER ARNOLD                                                           127 WEST 96 STREET APT 14B                                                                       NEW YORK         NY           10025
                                                                                                             ATTN ANTHONY JOHNSON - ACCTS
    PETER ARNOLD INC                                                       23 WEST 18TH STREET 3RD FLOOR     RECVBLE                                                        NEW YORK         NY           10011
    Peter Atwood                                                           19802 Ash Crest Loop NE                                                                          Poulsbo          WA           98370
    PETER B KENNY                                                          1098 ADAMS STREET                                                                                DORCHESTER       MA           02124
    PETER BAGGE                                                            7359 17TH AVE NW                                                                                 SEATTLE          WA           98117
    PETER BECK INC                                                         4349 FREMONT AVE SOUTH                                                                           MINNEAPOLIS      MN           55409
    PETER BENEDEK                                                          BJORKHAMRAGATAN 6                                                                                TROSA                         61933        Sweden
    PETER BOSTED                                                           630 VALLEY FORGE DR                                                                              NEWPORT NEWS     VA           23602
                                                                           BUSS GREEN FARM -COUSLEY
    PETER BULL                              PETER BULL ART STUDIO          WOOD                                                                    WARDHURST -EAST SUSSEX   East Sussex                   TN5 6QU      United Kingdom

    PETER C KENT                                                           P O BOX 4400                      UNIV OF NEW BRUNSWICK/HIST DEP                                 FREDERICTON      NB           E3B 5A3      Canada
    Peter C Streechon                                                      3 Princeton Street                                                                               Windham          NH           03087
    Peter Canelias                                                         420 Lexington Avenue              Suite 300                                                      New York         NY           10170
    Peter Chan                                                             1 Pioneer Circle                                                                                 Sharon           MA           02067-2557
    Peter Chipman                                                          112 Trenton Street                                                                               Boston           MA           02128
    Peter Chrzanowski                                                      12502 Terra Nova Ln                                                                              Austin           TX           78727
    PETER COBIN                                                            2621 STARR MEADOWS LOOP                                                                          RENO             NV           89519
    Peter Cohen                                                            315 New Street                    615                                                            Philadelphia     PA           19106
    Peter Counce                                                           2537 Guiana Plum Drive                                                                           Orlando          FL           32828
                                            DBA PETER CUNNINGHAM
    PETER CUNNINGHAM                        PHOTOGRAPHY                    11 ROCKWOOD LANE                                                                                 LINCOLN          MA           01773
    Peter D Sauers                                                         2413 NW 26th Street                                                                              Boca Raton       FL           33431
    PETER D SAUERS                                                         531 WARREN ROAD                                                                                  SAN MATEO        CA           94402
                                            DBA PETER DASILVA
    PETER DASILVA                           PHOTOGRAPHY                    PO BOX 8751                                                                                      EMERYVILLE       CA           94662
    PETER DEVINE                            DBA FOX RUN PRESS              1 FOX RUN ROAD                                                                                   BEDFORD          MA           01730
    PETER DEVINE                                                           1 FOX RUN ROAD                    FOX RUN PRESS                                                  BEDFORD          MA           01730
    PETER FRANZ SCHWEIZER                                                  2613 SADIE LANE                                                                                  TALLAHASSEE      FL           32312
    Peter G Morris                                                         13 Greenwich St.                                                                                 Boston           MA           02120
    PETER GINTER                                                           SIEBENGEBIRGSRING 22C                                                                            LOHMAR                        53797        Germany
    PETER H RAVEN                                                          2361 TOWER GROVE AVENUE                                                                          SAINT LOUIS      MO           63110
    PETER HAGUE                                                            1821 DON AVE                                                                                     LOS OSOS         CA           93402
    Peter Harris                                                           34 Concord Square                                                                                Boston           MA           02118
    Peter Hobert                                                           4130 San Ysidro Way                                                                              Rockledge        FL           32955
    PETER HOEY                                                             1669 FICKLE HILL ROAD                                                                            ARCATA           CA           95521
    PETER I KUJAWINSKI                                                     5727 N NEW HAMPSHIRE                                                                             CHICAGO          IL           60631
    Peter J Bohan                                                          174 Washington Street             Apt. P-G                                                       Jersey City      NJ           07302
    PETER J CAMPBELL                                                       19 BREESE ST                                                                                     BRUNSWICK        Victoria     03056        Australia
    PETER J HARRIES                                                        12406 N 52ND ST                                                                                  TEMPLE TERRACE   FL           33617
    PETER J SHEDD                                                          187 MILLEDGE TERRACE                                                                             ATHENS           GA           30606



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Case No. 12-12171 (REG)                                                                                                       354 of 488                                                                                                  1:26 PM
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                                                                                                                 362 Matrix
                                                                                                                         of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                          Address2                        Address3                     City             State       Zip             Country
                                                                                                                                                DEPARTMENT OF INTERNATIONAL
    PETER JACKSON                                                           ABERYSTWYTH UNIVERSITY                                              POLITICS                      ABERYSTWYTH          WALES        SY23 3FE     United Kingdom
    PETER JOHN THEIS                                                        420 W FRONT STREET                                                                                STATESVILLE          NC           28677
    PETER KALNAY                                                            20276 PACIFICA DR                                                                                 CUPERTINO            CA           95014
    PETER KUBAL                                                             1943 SHASTA ROAD                                                                                  NANAIMO              BC           V9X 1N7      Canada
    PETER LEE                                                               UCLA 290 ROYCE                                                                                    LOS ANGELES          CA           90095
    PETER LI INC                                                            2621 DRYDEN RD STE 300                                                                            DAYTON               OH           45439
    PETER LOTT                                                              501 FIFTH AVE STE 1708                                                                            NEW YORK             NY           10017
    PETER MCARTHUR VISUAL ART
    SERVICES INC                 PETER A MCARTHUR                           8735 WEST WASHINGTON BLVD                                                                         CULVER CITY          CA           90232
    PETER MENZEL                                                            199 KREUZER LANE                                                                                  NAPA                 CA           94559-3604
    PETER MICHAEL FITZGERALD                                                721 CAMINO LA FINCA BOX 1207                                                                      TAOS                 NM           87571
    PETER MONTEATH                                                          16 PORTER ST                                                        PARKSIDE                      South Australia                   05063        Australia
    Peter Mooney                                                            7 Seaport Drive                 # 308                                                             Quincy               MA           02171
    PETER MORDVINOFF                                                        1200 BIG LAKE ROAD                                                                                MANITOWSH WTR        WI           54545
    PETER N STEARNS                                                         4400 UNIVERSITY DRIVE           MASON HALL D 109                    GEORGE MASON UNIVERSITY       FAIRFAX              VA           22030
    PETER OWEN PUBLISHERS                                                   73 KENWAY ROAD                                                                                    LONDON                            SW5 0RE      United Kingdom
    PETER PAUPER PRESS                                                      202 MAMARONECK AVE                                                                                WHITE PLAINS         NY           10601
    PETER PEITSCH                                                           DEEPENHORN 8                                                                                      HAMBURG                           D-22145      Germany
    PETER POPPLETON                                                         16526 JERSEY STREET                                                                               GRANADA HILLS        CA           91344
    PETER RAYSIDE                                                           434 CAMILLE CIRCLE UNIT 12                                                                        SAN JOSE             CA           95134
    Peter Reid                                                              2108 Kipling Drive                                                                                Austin               TX           78752
    PETER RIGBY                                                             540 HUMES                                                                                         APTOS                CA           95003
    Peter Ripin                                                             472 Brook Street                                                                                  Framingham           MA           01701
    PETER ROCK                                                              3635 SE NEHALEM STREET                                                                            PORTLAND             OR           97202
    PETER S LARKIN                                                          126 COLECHESTER LANE                                                                              PALM COAST           FL           32137
    PETER S MAGUBANE                                                        P O BOX 253                                                                                       AUKLAND PARK                      02006        South Africa
    PETER S SCHROEDER                                                       1422 26TH AVENUE EAST                                                                             SEATTLE              WA           98112
    PETER S STEFFENS                                                        401-550 BLUE GIRL WAY                                                                             NANAIMO              BC           V9S 5T6      Canada
    Peter Sawchuk                                                           82-16 34th Avenue               #5C                                                               Jackson Heights      NY           11372
    Peter Sayeski                                                           8537 Stonechat Lp                                                                                 Dublin               OH           43017
    PETER SMAGORINSKY                                                       121 INVERNESS ROAD                                                                                ATHENS               GA           30606
    PETER STEINER                                                           43 WOOD LILY LANE                                                                                 FAIRPORT             NY           14450
    PETER SYLVADA                                                           PO BOX 1086                                                                                       CARDIF BY THE SEA    CA           92007
    PETER V ANDREWS                                                         1405 LAUREL MILL ROAD                                                                             LOUISBURG            NC           27549
    PETER VAN RHIJN PHOTOGRAPHY                                             8 BEARWOOD DR                                                                                     TORONTO              ON           M9A 4G4      Canada
    Peter Van Vorhees                                                       211 FRONTIER ST                 UNIT A                                                            GRAND JUNCTION       CO           81503
    PETER VANDENBERG                                                        1177 SOUTH RIDGELAND AVE                                                                          OAK PARK             IL           60304
    PETER W BERNSTEIN CORP                                                  30 EAST 72ND ST                                                                                   NEW YORK             NY           10021
    PETER WANG                                                              131 NORTHLIGHT PASSE                                                                              LAKE IN THE HILLS    IL           60156
    PETER WOLFE                                                             9804 LOCUST AVE                                                                                   SEABROOK             MD           20706
    PETERS FRASER & DUNLOP GROUP
    LTD                                                                     DRURY HOUSE 34-43-RUSSELL ST                                                                      LONDON                            WC2B 5HA     United Kingdom
    PETERS FRASER DUNLOP GRP                                                34-43 RUSSELL STREET                                                                              LONDON                            WC2B 5HA     United Kingdom
    PETERSEN JAMES F                                                        2852 PASO DEL ROBLES                                                                              SAN MARCOS           TX           78666
    PETERSON LEE                                                            458 ELKDALE ROAD                                                                                  LINCOLN UNIVERSITY   PA           19352
    PETERSON LEE ALLEN                                                      454 ELKDALE RD                                                                                    LINCOLN UNIVERSITY   PA           19352
    PETERSON TORY                                                           86 WOODHAVEN RIDGE LANE                                                                           TRYON                NC           28782
    PETRA LIEBETANZ                                                         200 E 89TH STREET # 17 G                                                                          NEW YORK             NY           10128
    PETRIDES GEORGE A                                                       4895 BARTON ROAD                                                                                  WILLIAMSTON          MI           48895
    PETRIDES OLIVIA                                                         3421 N CLAREMONT AVENUE                                                                           CHICAGO              IL           60618
    PETRITA E TAMEZ                                                         4672 N CENTRAL AVE                                                                                BROWNSVILLE          TX           78526
    PETTY CASH                   GEORGE JOHNSON                             GEORGE JOHNSON, ORLANDO                                                                           ORLANDO              FL           32887

    PETTY CASH                              DEBORAH A HINKLEY - HEINEMANN   361 HANOVER STREET                                                                                PORTSMOUTH           NH           03801
    PETTY CASH                              ATTN MICHAEL J TOLEN            151 BENIGNO BLVD                                                                                  BELLMAWR             NJ           08031
    PETTY CASH                                                              361 HANOVER STREET                                                                                PORTSMOUTH           NH           03801
    PETTY CASH                                                              GEORGE JOHNSON, ORLANDO                                                                           ORLANDO              FL           32887
    PETTY CASH - GREENWOOD                  ELAINE SAM                      88 POST RD WEST, P O BOX 5007                                                                     WESTPORT             CT           06881
    PETTY CASH - JENNIFER BEHAR                                             9400 SOUTH PARK CENTER LOOP                                                                       ORLANDO              FL           32819
    PETTY CASH - LINDA STOEFFLER                                            2700 NORTH RICHARDT AVE                                                                           INDIANAPOLIS         IN           46219
    PETTY CASH - SUE RUDY                                                   9400 SOUTH PARK CENTER LOOP                                                                       ORLANDO              FL           32819
    PETTY CASH GENEVA                       ATTN RANDAL TEESDALE            1900 SOUTH BATAVIA AVE                                                                            GENEVA               IL           60134
    PETTY CASH/TERESA EVERSOLE              ATTN JEWELL MURPHY              4925 W 86TH STREET                                                                                INDIANAPOLIS         IN           46280
    Pewaukee School District                Attn Susan Machesky             404 Lake Street                                                                                   Pewaukee             WI           53072
    Peyton P White                                                          1090 Old Woodbine Rd.                                                                             Atlanta              GA           30319
    PFEFFERBLIT ELAINE                                                      400 EAST 55TH ST                                                                                  NEW YORK             NY           10022
    PFFS / CH & L                                                           PO BOX 6411                                                                                       CAROL STREAM         IL           60197
    PG PUBLISHING COMPANY                   DBA PITTSBURGH POST GAZETTE     34 BOULEVARD OF THE ALLIES                                                                        PITSSBURGH           PA           15222




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Case No. 12-12171 (REG)                                                                                                    355 of 488                                                                                                           1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 363 Matrix
                                                                                                                         of 519
                                                                                                                        First Class Service List


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    PHARMACEUTICAL STRATEGIES
    GROUP LP                                                             5360 LEGACY DR BLDG 4 # 110                                                                     PLANO                TX              75024
                                            DBA SHERATON COLONIAL BOSTON
    PHF-ND COLONIAL LLC                     N HOTEL                      ONE AUDUBON ROAD                                                                                WAKEFIELD            MA              01880
    Phi Delta Kappa International                                        PO Box 7888                                                                                     Bloomington          IN              47407
    Phi Delta Kappa International                                        P.O. Box 789                                                                                    BLOOMINGTON          IN              47402-0789
    PHI DELTA KAPPA INTERNATIONAL
    INC                                     DBA PDK INTERNATIONAL          480 N UNION STREET                                                                            BLOOMINGTON          IN              47405-3800
    Phil J Acosta                                                          2475 Loy Lane                                                                                 Los Angeles          CA              90041
    PHIL MATT PHOTOGRAPHY                                                  P O BOX 10406                                                                                 ROCHESTER            NY              14610
    PHIL TYERS                                                             183 HIGH STREET                                                                               EPPING                               CM16 4BH     United Kingdom
    PHILA ACADEMY                                                          8607 W CHESTER PIKE                                                                           UPPER DARBY          PA              19082
    PHILADELPHIA ASSOC OF HISPANIC
    SCH ADM                                 ALBERTO RIVERA                 9232 WESLEYAN ROAD                                                                            PHILADELPHIA         PA              19114
    PHILADELPHIA MUSEUM OF ART                                             P O BOX 7646                                                                                  PHILADELPHIA         PA              19101-7646
    Philadelphia School District                                           2603 North 5th Street            5th Floor                                                    Philadelphia         PA              19133
    PHILIP A SCHULTZ                                                       88 OSBORNE LANE                                                                               EAST HAMPTON         NY              11937
    Philip Alcock                                                          225 Shaulis Road                                                                              Hollsopple           PA              15935
    PHILIP BAIRD                            DBA ANTRHOARCHEART.ORG         P O BOX 162                                                                                   KELSEYVILLE          CA              95451-0162
    Philip Brantingham                                                     3015 W. Chase                                                                                 Chicago              IL              60645
    Philip Charles                                                         145 Hesperus Avenue                                                                           Magnolia             MA              01930
    PHILIP DOW                                                             2193 ETHEL PORTER DR                                                                          NAPA                 CA              94558
    PHILIP DRAY                                                            140 N 8TH ST APT 4R                                                                           BROOKLYN             NY              11249
    PHILIP GAME                                                            2A DUKE STREET                                                                                CAUFIELD SOUTH VIC                   03162        Australia
    PHILIP HERBST                                                          301 EMERY #103                                                                                MONTREAL             QC              H2X 1J2      Canada
    PHILIP J CONNORS                                                       702 S BULLARD ST                                                                              SILVER CITY          NM              88061
    Philip J Kurczewski                                                    234 N. Home Ave.                                                                              Park Ridge           IL              60068
    PHILIP L WALLICK                                                       P O BOX 3699                                                                                  CHICO                CA              95927-3699
    PHILIP SALAVERRY                                                       72 SCENIC ROAD                                                                                FAIRFAX              CA              94930
    PHILIP SAPIR                                                           3112 GRACEFIELD ROAD APT 108                                                                  SILVER SPRING        MD              20904
    Philip Schneider                                                       530 29Th Ave                                                                                  San Francisco        CA              94121
    PHILIP T LAURO                                                         607 OAK DR                                                                                    DURANGO              CO              81301
    PHILIP TAYLOR                                                          82 WASHINGTON SQUARE E           NYU PROGRAM IN ED THEATRE              PLESS ANNEX 23        NEW YORK             NY              10003-6680
    PHILIP WEEKS                                                           3866 GOLDEN WOOD WAY                                                                          UNIONTOWN            OH              44685
    PHILLIP COLLA PHOTOGRAPHY                                              8021 PASEO ARRAYAN                                                                            CARLSBAD             CA              92009-6962
    Phillip Hester                                                         9489 Ashford Place                                                                            Brentwood            TN              37027
    PHILLIP L ROBBINS                                                      4009 SCENERY HILL CT                                                                          FT WORTH             TX              76103
    PHILLIP S NOE                                                          511 2ND AVE NORTH                                                                             AMORY                MS              38821
    Phillip Stevens                                                        1020 1/2 Lake Shore Blvd                                                                      Evanston             IL              60202
    PHL VARIABLE INSURANCE                  DBA PHOENIX LIFE INSURANCE
    COMPANY                                 COMPANY                        PO BOX 643056                                                                                 PITTSBURGH           PA              15264
    PHOEBE LARMORE                          DBA LARMORE LITERARY AGENCY    916 MARCO PLACE                                                                               VENICE               CA              90291
    PHOEBE LARMORE INC                                                     916 MARCO PLACE                                                                               VENICE               CA              90291
    Phoenix Bookstore                       Attn Paul Vavra                2420 Nicolet Drive                                                                            Green Bay            WI              54311
    PHOENIX CITY TREASURER                  CITY OF PHOENIX                P O BOX 29690                                                                                 PHOENIX              AZ              85038-9690
    PHOENIX COLOR CORP                      DBA LEHIGH PHOENIX             PO BOX 1170                                                                                   MILWAUKEE            WI              53201
    PHOENIX COLOR CORP                      DBA LEHIGH PHOENIX             PO BOX 1170                                                                                   MILWAUKEE            WI              53201-1170
    PHOENIX COLOR CORP                      DBA LEHIGH PHOENIX             P O BOX 8500-8440                                                                             PHILADELPHIA         PA              19178-8440
    PHOENIX COLOR CORP                                                     PO BOX 1170                                                                                   MILWAUKEE            WI              53201
    PHOENIX COLOR CORP                                                     PO BOX 1170                                                                                   MILWAUKEE            WI              53201-1170
    PHOENIX COLOR CORP                                                     P O BOX 8500-8440                                                                             PHILADELPHIA         PA              19178-8440
    Phoenix Color Corp.                     Jennifer Dick                  11631 Caroline Road                                                                           Philadelphia         PA              19154
    PHOENIX FIRE SYSTEMS INC                                               744 NEBRASKA ST                                                                               FRANKFORT            IL              60423
    Phoenix Grand Hotel                                                    201 Liberty Street SE                                                                         Salem                OR              97301
    PHOENIX IMAGERY PRESS LLC                                              415 SHANNON COURT                                                                             FREDERICK            MD              21701

    PHOENIX INDUSTRIAL CLEANING INC                                        46 MANNHEIM ROAD                                                                              BELLWOOD             IL              60104-1156
    PHOENIX LITERARY AGENCY                                                654 WEST ROLLER COASTER RD                                                                    TUCSON               AZ              85704
    PHOENIX MEDIA VENTURES LP                                              PO BOX 15655                     ATTN AR DEPARTMENT                                           BOSTON               MA              02215
    PHOTO AFFAIRS INC                                                      CANELLI HEIGHTS CRT, UNIT # 36                                                                THORNHILL                            L4J 8V5      Canada
    PHOTO RESEARCHERS INC                                                  307 FIFTH AVENUE                                                                              NEW YORK             NY              10016
    PHOTO RESOURCE HAWAII INC                                              111 HEKILI STREET, NO 241                                                                     KAILUA               HI              96734-2800
    PHOTO12                         PICTURE LIBRARY                        57 BOULEVARD ARAGO                                                                            PARIS                Paris           75013        France
    PHOTOFEST INC                                                          32 EAST 31ST STREET 5TH FLOOR                                                                 NEW YORK             NY              10016-6881
    PHOTOGRAPHERS ILLUSTRATORS
    COPYRIGHT                       AGENCY - DBA MIRA/CREATIVE EYE         716 IRON POST ROAD                                                                            MOORESTOWN           NJ              08057
    PHOTOGRAPHY BY NICK SUYDAM                                             1337 W WALTON ST, APT GF                                                                      CHICAGO              IL              60622
    PHOTOLIBRARY GROUP INC                                                 75 VARICK STREET 5TH FLOOR                                                                    NEW YORK             NY              10013
    PHOTOLIVE INC                                                          2500 SUMMER STREET # 12 A                                                                     HOUSTON              TX              77007
    PHOTONONSTOP                                                           46 RUE DE LA MARE                                                                             PARIS                                75020        France



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Case No. 12-12171 (REG)                                                                                                       356 of 488                                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136             Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               364 Matrix
                                                                                                                       of 519
                                                                                                                   First Class Service List


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    PHOTOSHOT HOLDINGS LTD                                                 29-31 SAFFRON HILL                                                                        LONDON                                  EC1N 8SW     United Kingdom
                                                                           8 DRAKES MEWS CRONHILL
    PHOTOSTAGE LTD                                                         INDUSTRY                                                                                  MILTON KEYNES                           MK8 0ER      United Kingdom
    PHOTOTAKE INC                                                          260 W 35TH STREET STE 204                                                                 NEW YORK                 NY             10001
    PHOTRI IMAGES LLC                                                      9653 SHERMAN OAKS CT                                                                      FAIRFAX                  VA             22032
    PHYLLIS A HALL EXECUTRIX                ESTATE OF KERMIT L HALL        1813 STONE MANOR CIRCLE                                                                   BRUNSWICK                OH             44212
    PHYLLIS BOLLER                                                         7044 DEER TRAIL RD                                                                        MANHATTAN                KS             66503
    PHYLLIS C HUNTER CONSULTING
    INC                                                                    4107 HOUGHTON COURT                                                                       SUGAR LAND               TX             77479
    Phyllis C Whitlow                                                      11503 N 550 W                                                                             Kingstown                IN             46148
    Phyllis Donovan                                                        98 Donovan Lane                                                                           Troy                     MO             63379
    Phyllis Farrell                                                        3023 Dole Street                                                                          Holiday                  FL             34691
    Phyllis Harrell                                                        6556 W SWEET CREEK DRIVE                                                                  NEW PALESTINE            IN             46163
    PHYLLIS I ROOT                                                         3842 BLOOMINGTON AVE SOUTH                                                                MINNEAPOLIS              MN             55407
    Phyllis J Tesch                                                        2118 Margaret Drive                                                                       Tomahawk                 WI             54487
    PHYLLIS MARIE DEBLANCHE                                                435 K CHURCH AVENUE                                                                       CHULA VISTA              CA             91910-4646
    Phyllis Mc Grath                                                       17 Blossom Dr.                                                                            Billerica                MA             01821
    PHYLLIS PERRAKIS                                                       81 GLEN AVE                                                                               OTTAWA                   ON             K1S 2Z8      Canada
    PHYLLIS R SHERRON                                                      1804 STERLING POINT CT                                                                    HENDERSON                NV             89012
    PHYLLIS ROSE                                                           122 EAST 82ND STREET                                                                      NYC                      NY             10028
    Phyllis Tesch                                                          2118 Margaret Drive                                                                       Tomahawk                 WI             54487
    Phyllis Tucker                                                         2606 Twin Oaks Court                                                                      Benton                   AR             72019
    PHYLLIS WHITIN                                                         19836 EAST IDA LANE                                                                       GROSSE PT WOODS          MI             48236
    Phyllis Zipper                                                         5 CAULDRON CT                                                                             SALEM                    MA             01970
    PICCOLINO ANTHONY                                                      7815 CAMPANIA DRIVE                                                                       BOYNTON BEACH            FL             33437
    Pickens Technical School                Attn Bookkeeping               500 Airport Boulevard                                                                     Aurora                   CO             80011-9307
    PICO IYER                                                              1975 OLD SAN MARCOS ROAD                                                                  SANTA BARBARA            CA             93111
    PICTURE CHASERS PHOTOGRAPHY
    AND MEDIA                                                              BOX 22071                                                                                 PENTICTON                BC             V2A 8L1      Canada
    PICTURE DESK                                                           27 W 20TH ST, STE 1004                                                                    NEW YORK                 NY             10011
    PICTURE HISTORY LLC                                                    48 WHEELER AVE 3RD FL                                                                     PLEASANTVILLE            NY             10570-3047
    PICTURE PRESS                                                          BRIEFFACH NR 39                                                                           HAMBURG                                 20444        Germany
    PICTURE RESEARCH CONSULTANTS
    INC                                                                    26 CANTERBURY HILL                                                                        TOPSFIELD                MA             01983-1522
    PICTURE WINDOW BOOKS                                                   151 GOOD COUNSEL DRIVE         KEITH GRIFFIN                                              MANKATO                  MN             56001
    PICTURES COLOUR LIBRARY                                                TURKEY MILL, ASHFORD RD        10 JAMES WHATMAN COURT                                     MAIDSTONE                Kent           ME14 5SS     United Kingdom
    PICTURES INC                                                           2506 TREYMORE DRIVE                                                                       ORLANDO                  FL             32825
    PICTURES OF RECORD INC                                                 119 KETTLE CREEK ROAD                                                                     WESTON                   CT             06883
    PICTURETOWN INC                                                        680 FORT WASHINGTON AVE # 6G                                                              NEW YORK                 NY             10040
    PIEDAD GUTIERREZ                                                       224 HILLSIDE AVENUE                                                                       LIVINGSTON               NJ             07039
    Piedad Olmos                                                           1708 Bunker Hill Ln            Lot 70                                                     Lewisville               TX             75056
    PIEDMONT NATIONAL
    CORPORATION                                                            PO BOX 890938                                                                             CHARLOTTE                NC             28289
    PIEDMONT OFFICE REALTY TRUST            WELLS REIT AUSTIN TX LP        2129 PAYSHPERE CIRCLE                                              ENTITY # 01544         CHICAGO                  IL             60674
    Pieklo, David
    PIERO IGNAZI                                                           STRADA MAGGIORE 71                                                                        BOLOGNA                                 40125        Italy
    Pierre Geurts                                                          8320 Ne 110th Place                                                                       Kirkland                 WA             98034
    Pierre Joseph                                                          7704 N. Kilbourn                                                                          Skokie                   IL             60076
    PIERRE LOZERE                           EDITIONS MARYPIERRE            PLBF BP19                                                                                 URY                                     77760        France
    PIERRE VIVANT                                                          SLAYMAKER CHAPELLE HOLTON                                                                 VALJOUFFREY              OXFORD         OX33 1PR     United Kingdom
    PIERREPENNY LTD                                                        5124 CHATHAM VALLEY                                                                       TOLEDO                   OH             43615
    PIERSONS FLOWER SHOP                    & GREENHOUSES INC              1800 ELLIS BLVD NW                                                                        CEDAR RAPIDS             IA             52405
    PIETER BOELE VANHENSBROEK                                              CHOPINWEG 11                                                                              EELDE                                   9761 JK      Netherlands
    PIKE COUNTY BOARD OF
    EDUCATION                               C/O MATT MERCER - PRINCIPAL    P O BOX 850                                                                               BELFRY                   KY             41514
    PIKE COUNTY BOARD OF
    EDUCATION                               BELFRY MIDDLE SCHOOL           P O BOX 850                                                                               BELFRY                   KY             41514
    PIKE COUNTY CENTRAL HIGH
    SCHOOL                                                                 100 WINNERS CIRCLE DRIVE                                                                  PIKEVILLE                KY             41501

    PIKE LINCOLN COUNTY PUBLISHING DBA LINCOLN COUNTY JOURNAL              20 BUSINESS PARK DRIVE                                                                    TROY                     MO             63379
    PIKULSKI JOHN J                                                        12 DAWN MEADOW LANE                                                                       NEWARK                   DE             19711
                                                                                                                                                                     RINCON DE LA VICTORIA,
    PILAR ALBERDI                                                          CALLE LOS NARDOS 1                                                                        MALAGA                   Malaga         CP 29730     Spain
    PILAR PIETRI MARTINEZ                                                  URB VILLA VERDE CALLE A #14                                                               GUAYNABO                 PR             00966
    PIMA COUNTY AMPHITHEATER                AMPHITHEATER PUBLIC SCHS-
    SCHOOLS                                 CHRIS POTTER                   701 W WETMORE ROAD                                                                        TUCSON                   AZ             85705
    PIMA COUNTY TREASURER -
    TUCSON USD # 1                          FINANCE DEPARTMENT             1010 E 10TH STREET                                                                        TUCSON                   AZ             85717
    PIMLICO BOOK COMPANY                                                   1821 S 7TH STREET W                                                                       MISSOULA                 MT             59801



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                  357 of 488                                                                                                          1:26 PM
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                                                                                                                365 Matrix
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                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName               Address1                          Address2              Address3            City               State       Zip            Country
    PINAL COUNTY EDUC SERVICE
    AGENCY                                   ATTN SHELLEY FETSCO           P O BOX 769                                                                    FLORENCE               AZ           85232
    PINCZES ELINOR J                                                       315 NORTH TETON AVENUE                                                         BOZEMAN                MT           59718
    PINE STREET INN INC                                                    444 HARRISON AVE                                                               BOSTON                 MA           02118-2404
    Pinecrest Community Church                                             7165 N. Delbert Rd                                                             Parker                 CO           80138-6114
    PINEHURST RESORT                         DBA PINEHURST LLC             80 CAROLINA VISTA                                                              VILLAGE OF PINEHURST   NC           28374
    PINELANDS REGIONAL SCHOOL
    DISTRCT                                                                520 NUGENTOWN RD                                                               LITTLE EGG HARBOR TWP NJ            08087
    PINELLAS COUNTY EDUCATION
    FOUNDATION                               ATTN SIGNE WEBB               301 4TH STREET SW                                                              LARGO                  FL           33779
    PINELLAS COUNTY PUBLIC
    SCHOOLS                                                                301 4TH STREET SW                 ATTN K-8 SCIENCE                             LARGO                  FL           33770

    PINELLAS EDUCATION FOUNDATION                                          12090 STARKEY ROAD                                                             LARGO                  FL           33773
    PING HU JOHNSON                                                        1000 CHASTAIN ROAD, # 0202                                                     KENNESAW               GA           30144

    PINGREE BUCHANAN PUB SCHOOLS                                           111 LINCOLN AVE                                                                PINGREE                ND           58476
    PINKSTON-HOLLER ROOFING INC                                            2887-A WEST PIONEER PARKWAY                                                    ARLINGTON              TX           76013
    PINKWATER DANIEL                                                       111 CRUM ELBOW ROAD                                                            HYDE PARK              NY           12538
    PINKWATER JILL                                                         111 CRUM ELBOW ROAD                                                            HYDE PARK              NY           12538

    PINNACLE BUSINESS SYSTEMS INC                                          3824 S BLVD STE 200                                                            EDMOND                 OK           73013
    Pinnacol Assurance                                                     Dept. 500                                                                      Denver                 CO           80281-0500
    PINO CECILIA ERLINDA                                                   3410 S PLATTE RIVER DR APT 3109                                                SHERIDAN               CO           80110
    PINO LEO                                                               1110 PENNSYLVANIA AVE # 4                                                      MIAMI BEACH            FL           33139
    PINPOINTE ON-DEMAND INC                                                9 COURTNEY LANE                                                                DANVILLE               CA           94506
    PIONEER CORPORATE SERVICES
    PTE LTD                                  4 SHENTON WAY                 #04-03 SGX CENTRE 2                                                            SINGAPORE              Singapore    68807        Singapore
    PIONEER MIDDLE SCHOOL                                                  46081 ANN ARBOR RD                                                             PLYMOUTH               MI           48170
    PIONEER RESA                                                           PO BOX 1789                                                                    CLEVELAND              GA           30528
    PIOTR DUTKIEWICZ                         CARLETON UNIV                 1125 COLONEL BY DRIVE                                                          OTTAWA                 ON           K1S 5B6      Canada
    PIP PRINTING                                                           7210 ZIONSVILLE ROAD                                                           INDIANAPOLIS           IN           46268
    PIPPIN GROVER D RUSTY                                                  108 GLEN HEATHER COURT                                                         LAKEWAY                TX           78734-6273
    PIPPIN PROPERTIES                                                      155 EAST 38TH ST - SUITE 2-H                                                   NEW YORK               NY           10016
    PIPPIN PROPERTIES INC                                                  155 E 38TH ST STE 2H              ATTN HOLLY MCGHEE                            NEW YORK               NY           10016
    PIPPIN PROPERTIES INC                                                  155 EAST 38TH STREET, STE 2H                                                   NEW YORK               NY           10016
    PIQUANT PRODUCTIONS                      DBA DIVINE STUDIO             21 EAST 4TH STREET STE 605                                                     NEW YORK               NY           10003
    PIRI THOMAS                                                            1678 SHATTUCK AVENUE STE 278                                                   BERKELEY               CA           94709
    PIROLLI PRINTING COMPANY INC                                           860 W BROWNING ROAD                                                            BELLMAWR               NJ           08031
    PISTOCHINI LYNNE                                                       145 JUDAH CT                                                                   FOLSOM                 CA           95630
    Pitchford & Associates, LLC              Barb E. Pitchford             PO Box 8812                                                                    Aspen                  CO           81612
    PITLOR HEIDI                                                           163 ASH STREET                                                                 HOPKINTON              MA           01748
    PITNEY BOWES                                                           1313 NORTH ATLANTIC, ATE 3000                                                  SPOKANE                WA           99201
    PITNEY BOWES                                                           P.O. BOX 371896                                                                PITTSBURGH             PA           15250-7896
    PITNEY BOWES GLOBAL FINANCIAL
    SERVICES                                                               PO BOX 371887                                                                  PITTSBURGH             PA           15250-7887
    Pitney Bowes Global Financial Services
    LLC                                                                    PO Box 371887                                                                  Pittsburgh             PA           15250-7887
    PITNEY BOWES INC                         RESERVE ACCOUNT               PO BOX 223648                                                                  PITTSBURG              PA           15250-2648
    PITNEY BOWES INC                         ATTN CUSTOMER SERVICE DEPT    2225 AMERICAN DRIVE                                                            NEENAH                 WI           54956-1005
    PITNEY BOWES INC                                                       PO BOX 223648                                                                  PITTSBURG              PA           15250-2648
    PITNEY BOWES INC                                                       P. O. BOX 856056                                                               LOUISVILLE             KY           40285
    PITNEY BOWES POSTAGE BY
    PHONE PLUS                               PURCHASE POWER                P O BOX 371874                                                                 PITTSBURGH             PA           15250-7874

    PITNEY BOWES PURCHASE POWER                                            P O BOX 371874                                                                 PITTSBURGH             PA           15250-7874

    PITNEY BOWES RESERVE ACCOUNT                                           5101 INTERCHANGE WAY                                                           LOUISVILLE             KY           40229
    Pitney Bowes, Inc.           Purchase Power                            P.O. Box 371874                                                                Pittsburgh             PA           15250-7874
    PITT COUNTY SCHOOLS                                                    1717 WEST FIFTH STREET                                                         GREENVILLE             NC           27834
    PITT OHIO EXPRESS INC                                                  P O BOX 371013                                                                 PITTSBURGH             PA           15250-7013
    PITTSBURGH AREA INDEPENDENT
    SCHOOL                       TEACHERS ASSOCIATION                      311 DEWEY AVENUE                  ATTN CHERYL KIRKLAND                         PITTSBURGH             PA           15218
    PITTSBURGH PIRATES                                                     115 FEDERAL ST                                                                 PITTSBURGH             PA           15212
    PIVOTAL CORPORATION                                                    P O BOX 935119                                                                 ATLANTA                GA           31193
    PIX                          LAWRENCE MIGDALE                          PO BOX 568                                                                     ORINDA                 CA           94563
    PIXEL HIVE STUDIO                                                      2105-381 FRONT STREET WEST                                                     TORONTO                ON           M5V 3R8      Canada
    PIXELMEDIA INC                                                         75 NEW HAMPSHIRE AVE STE 100                                                   PORTSMOUTH             NH           03801
    PIXELWORKS STUDIOS INC                                                 P O BOX 1435                                                                   SISTERS                OR           97759
    PJ DIONNE CO INC                                                       60 JONSPIN ROAD                                                                WILMINGTON             MA           01887



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   358 of 488                                                                                         1:26 PM
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                                                                                                                        of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2              Address3            City          State       Zip            Country
    Pj Lowrie                                                              1717 Novato Blvd #19                                                           Novato            CA           94947
    PJAX INC                                DBA VITRAN EXPRESS             PO BOX 633519                                                                  CINCINNATI        OH           45263
    PK CONSULTANTS INC                                                     7936 ZIMPLE STREET                                                             NEW ORLEANS       LA           70118
    PKS MEDIA INC                                                          10 BLUE GROUSE RIDGE                                                           CANMORE           AB           T1W 1L5      Canada
    PLAINPICTURE                                                           UNIT 3, 116 BERMONDSEY ST                                                      LONDON                         SE1 3TX      United Kingdom
    PLANMAN CONSULTING INC                  DBA PLANMAN TECHNOLOGIES       110 BOGGS LANE STE 100                                                         CINCINNATI        OH           45246
    Planned Parenthood Federation of
    America, Inc.                                                          434 West 33rd Street                                                           New York          NY           10001
    PLANNED TELEVISOIN ARTS                                                1110 SECOND AVENUE                                                             NEW YORK          NY           10022
    PLANNING RESEARCH &
    EVALUATION SRVCS                        DBA PRES ASSOCIATES INC        P O BOX 10730                    2400 EAST APACHE RD                           JACKSON           WY           83002
    PLAQUEMINES PARISH                      SALES TAX DIVISION             8056 HIGHWAY 23 SUITE 201-C                                                    BELLE CHASSE      LA           70037
    PLATINUM FUNDING CORP                   TWO UNIVERSITY PLAZA           SUITE 206                                                                      HACKENSACK        NJ           07601
    PLAY MART INC                                                          170 ALLENS WAY                                                                 SOMERSET          KY           42501
    PLAY VISION INC                         DBA CLUB EARTH                 19180 144TH AVENUE NE                                                          WOODINVILLE       WA           98072
    Playomatic Media Group                                                 1 Hart Street                                                                  Beverly Farms     MA           01915
    PLAZA RESEARCH                                                         120 ROUTE 17 NORTH STE 201                                                     PARAMUS           NJ           07652-2813

    PLAZA RESEARCH                                                         14160 DALLAS PARKWAY SUITE 602                                                 DALLAS            TX           75254
    PLECAS JENNIFER                                                        2104 NW HIDDEN POINT COURT                                                     BLUE SPRINGS      MO           64015

    PLENTY WORKS INC                        ALAN RICHARDSON PHOTOGRAPHY 15 SOUTH ECKAR STREET                                                             IRVINGTON         NY           10533
    PLIEGO-GARCIA RUMENIGGE                                             1819 BROOKDALE COURT                                                              BROOKLYN PARK     MN           55444
    PLIMOTH PLANTATION INC                                              P O BOX 1620                        ATTN KARIN GOLDSTEIN                          PLYMOUTH          MA           02362
    PLUM PICTURES INC                       DBA PLUM PRODUCTIONS        5219 NORTH CLARK STREET #2                                                        CHICAGO           IL           60640
    PLYMOUTH PUBLIC SCHOOLS                 PLYMOUTH NORTH HIGH SCHOOL  41 OBERY STREET                                                                   PLYMOUTH          MA           02360
    PLYMOUTH STATE UNIVERSITY               ATTN ANGELA ADAMS           17 HIGH STREET MSC-11                                                             PLYMOUTH          NH           03264
                                            DBA GULF GREAT PLAINS
    PM SYSTEMS INC                          PACKAGING                   P O BOX 460005                                                                    ST LOUIS          MO           63146
    PMA                                     Jan Nathan                  627 Aviation Way                                                                  Manhattan Beach   CA           90266
    PMLA                                    ATTN ANNABEL SCHNEIDER      26 BROADWAY 3RD FLOOR                                                             NEW YORK          NY           10004
    PNC Capital Advisors, LLC               Sean Rhoderick              Two Hopkins Plaza                                                                 Baltimore         MD           21201
    POCATELLO CHUBBUCK SCHOOL
    DIST # 25                                                              3015 WEST 183RD STREET                                                         MARKHAM           IL           60426

    POCKET BOOKS                   A DIVISION OF SIMON & SCHUSTER          1230 AVENUE OF THE AMERICAS                                                    NEW YORK          NY           10020
    POCKET TALES LLC                                                       2601 RYAN DRIVE                                                                INDIANAPOLIS      IN           46220
    POETRY SOCIETY OF AMERICA                                              15 GRAMERCY PARK                                                               NEW YORK          NY           10003-1705
    POETS & WRITERS                                                        90 BROAD STREET STE 2100                                                       NEW YORK          NY           10004
    POINTE COUPEE PARISH           SALES TAX DEPARTMENT                    BOX 290                                                                        NEW ROADS         LA           70760
    POLARIS IMAGES CORPORATION                                             259 WEST 30TH STREET 13TH FL                                                   NEW YORK          NY           10001
    POLLINGER LIMITED              ATTN PERMISSIONS                        9 STAPLE INN                                                                   HOLBORN LONDON                 WC1V 7QH     United Kingdom
    POLLOCK PAPER DISTRIBUTORS                                             PO BOX 671527                                                                  DALLAS            TX           75267-1527
    POLLY E POWELL                                                         4041 S HELENA STREET                                                           SPOKANE           WA           99203
    Polly Murphy                                                           43w904 Baseline Road                                                           Sugar Grove       IL           60554
    Polly Porter                                                           4105 Greystone ave                                                             Austin            TX           78731
    POLLY WATSON                                                           455 HUMBOLDT ST # 3                                                            BROOKLYN          NY           11211
    Polyxeni Fthenakis                                                     125 Connemara Way #3                                                           Sunnyvale         CA           94087
    POM INC                                                                21 VISTA DRIVE                   ATTN DAN GREEN                                GREAT NECK        NY           11021
    POMERANTZ GROUP LLC                                                    400 E 57TH STREET APT 10K                                                      NEW YORK          NY           10022
    POOL JEAN DE SOLA                                                      60 SHEPARD ST                                                                  CAMBRIDGE         MA           02138
    Poonam P Nande-Stevenson                                               10 BEAUFORT RD                   APT 1                                         JAMAICA PLAIN     MA           02130
    POP! Promotions, LLC                                                   6827 S. Webster Street, #F                                                     Littleton         CO           80128
    POPP GRAY & HUTCHESIN LLP                                              1301 SOUTH MOPAC, STE 430                                                      AUSTIN            TX           78746
    PORETTA & ORR INC                                                      450 EAST STREET                                                                DOYLESTOWN        PA           18901
    PORTER BARNABY                                                         PO BOX 446                                                                     DAMARISCOTTA      ME           04543
    PORTER BINKS                                                           350 E 50TH ST, APT 19F                                                         NEW YORK          NY           10019
    PORTER DIERKS & PORTER-LENT                                            1903 CENTRAL STREET                                                            EVANSTON          IL           60201
    PORTER FOX                                                             694 MYRTLE AVENUE # 377                                                        BROOKLYN          NY           11205
    PORTER GRETEL MURCHIE                                                  PO BOX 369                                                                     DAMARISCOTTA      ME           04543
    PORTERVILLE COLLEGE
    BOOKSTORE                                                              100 EAST COLLEGE AVENUE                                                        PORTERVILLE       CA           93257
    PORTFOLIO SOLUTIONS LLC                                                136 JAMESON HILL ROAD                                                          CLINTON CORNERS   NY           12514
    PORTLAND COMMUNITY COLLEGE     NACS SYLVANIA BOOKSTORE                 12000 SW 49TH AVENUE                                                           PORTLAND          OR           97219
    Portland Public Schools        Accounts Payable                        5103 N. Willis Blvd.                                                           Portland          OR           97227
    Portofino Hotel and Yacht Club                                         260 Portofino Way                                                              Redondo Beach     CA           90277-2092
    PORTSMOUTH AND EXETER MENTAL
    HEALTH                         ASSOCIATES INC                          1 CATE STREET                                                                  PORTSMOUTH        NH           03801

    PORTSMOUTH WOMENS CITY CLUB                                            375 MIDDLE STREET                ATTN BARBARA JENKINSON                        PORSMOUTH         NH           03801



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   359 of 488                                                                                     1:26 PM
                                                      12-12171-reg          Doc 136              Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               367 Matrix
                                                                                                                       of 519
                                                                                                                   First Class Service List


                 CreditorName                     CreditorNoticeName                  Address1                          Address2              Address3             City           State       Zip               Country
                                            DBA CONRAD SAN JUAN CONDADO
    POSADAS DE PUERTO RICO LLC              PLAZA                         P O BOX 9021270                                                                SAN JUAN         PR              00902-1270
    POSER YVONNE                                                          10309 INSLEY ST                                                                SILVER SPRING    MD              20902

    POSMAN COLLEGIATE STORES INC            TIMES SQUARE STATION          P O BOX 2675                                                                   NEW YORK         NY              10108
    Postal Privilege                                                      P.O. Box 856042                                                                Louisville       KY              40285-6042
    POSTMASTER                                                            1270 ARDMORE AVENUE                                                            ITASCA           IL              60143
    POSTMASTER                                                            345 HERITAGE AVE                                                               PORTSMOUTH       NH              03802
    POSTMASTER BOSTON                                                     25 DORCHESTER AVE                                                              BOSTON           MA              02205-0002
    POSTMASTER DANVILLE                                                   5 PINE STREET                                                                  DANVILLE         NH              03819
    POSTMASTER GENERAL                                                    26 S 3RD STREET                                                                GENEVA           IL              60134
    POSTMASTER WILMINGTON                   ATTN PETER STREECHON          18 CHURCH STREET                                                               WILMINGTON       MA              01887
    POSTMASTER/ BULK MAIL UNIT                                            345 HERITAGE AVE                                                               PORTSMOUTH       NH              03801-9998
    POTOMAC INDEXING LLC                                                  7500 NUTWOOD COURT                                                             ROCKVILLE        MD              20855
    POTRERO HILL INVESTORS, LTD                                           45 MITCHELL BLVD, SUITE 14                                                     SAN RAFAEL       CA              94903
    POTTER ANDERSON & CORROON                                             1313 NORTH MARKET ST, P O BOX
    LLP                                                                   951                                                                            WILMINGTON       DE              19899-0951
    Poudre School District                                                2407 LaPorte Avenue                                                            Fort Collins     CO              80521
    POULIN BASILIKE                                                       110 MERRIMAN STREET                                                            ROCHESTER        NY              14607

    POUND HIGH SCHOOL                                                     P O BOX 768, 11531 WILDCAT DRIVE                                               POUND            VA              24279

    POWAY UNIFIED SCHOOL DISTRICT                                         13626 TWIN PEAKS RD                                                            POWAY            CA              92064
    POWELL ARTHUR G                                                       18 SCOTT STREET                                                                CAMBRIDGE        MA              02138
    POWELL FRANCIS                                                        722 SONATA WAY                                                                 SILVER SPRING    MD              20901
    POWER PRO TECH SERVICES INC                                           240 CIRCLE DRIVE                                                               MAITLAND         FL              32751
    Power, Garrett
    PQA EDUCATIONAL CONSULTING
    INC                                                                   1419 ESTATE LANE                                                               GLENVIEW         IL              60025
    PR NEWSWIRE ASSOCIATION LLC                                           350 HUDSON STREET STE 300                                                      NEW YORK         NY              10014
    Prabhakar Ramakrishnan                                                10 Charles Road                                                                Winchester       MA              01890
    PRACTICING LAW INSTITUTE                                              810 SEVENTH AVE                                                                NEW YORK         NY              10019
    PRAEGER PUBLISHERS            GREENWOOD PUBLISHING GROUP              88 POST ROAD WEST                                                              WESTPORT         CT              06881
    PRAIRIE HEIGHTS COMMUNITY     SCHOOL CORPORATION                      0305S 1150E                                                                    LA GRANGE        IN              46761
    PRAIRIE HOME PRODUCTIONS LLC                                          611 FRONTENAC PLACE                                                            ST PAUL          MN              55104
    PRAIRIE LIGHTS BOOKS                                                  15 SOUTH DUBUQUE STREET                                                        IOWA CITY        IA              52240
    Prairie South School Dsitrict                                         15 Thatcher Drive East                                                         Moose Jaw        SA              S6J1L8       Canada
    PRANGE BECKIE                                                         233 E WASHINGTON STREET                                                        ELY              MN              55731
    PRATIMA V KUMAR                                                       55 WENHAM LANE                                                                 PITTSFORD        NY              14534
    PRECISION CAMERA & VIDEO                                              3810 N LAMAR BLVD                                                              AUSTIN           TX              78756-4011
    PRECISION GRAPHICS SERVICES
    INC                                                                   106 SOUTH NEIL ST                                                              CHAMPAIGN        IL              61820-4910
    PRECISION LAND SERVICES INC   DBA PRECISION SNOW SERVICE              P O BOX 114                                                                    WASCO            IL              60183
    PRECISION OFFSET PRINTING
    COMPANY INC                                                           PO BOX 94177                                                                   CHICAGO          IL              60696
    PRECISION SIGNS.COM                                                   243 DIXON AVE                                                                  AMITYVILLE       NY              11701-2830
    PREFERRED PALLETS & PACKAGING
    INC                                                                   627 LAKEVIEW RD                                                                LAKE ST LOUIS    MO              63367
    PREMEDIA GLOBAL USA INC                                               DEPT CH 16508                                                                  PALATINE         IL              60055-6508
    PREMIER ELECTRONICS INC                                               850 MCHENRY AVE SUITE A                                                        CRYSTAL LAKE     IL              60014

    PREMIER FURNITURE SERVICES LLC                                        P O BOX 622345                                                                 OVIEDO           FL              32762
    PREMIER PACKAGING                                                     1635 COMMONS PARKWAY                                                           MACEDON          NY              14502
    PREMIER STAFF FINDER                                                  2990 W GRAND BLVD STE 233                                                      DETROIT          MI              48202
    PREMIER VOICE AND DATA
    SOLUTIONS INC                                                         8401 73RD AVE N STE 89                                                         BROOKLYN         MN              55428
    PREMIERE MEDIA LLC                                                    70 FALCON ROAD                                                                 HILLSBOROUGH     NJ              08844
    Prescott Taylor                                                       23 Auburn Road                                                                 Wellesley        MA              02481
    PRESENCE AFRICAINE EDITIONS                                           25 BIS RUE DES ECOLES              ATTN PERMISSIONS                            PARIS            Paris           75005        France
    PRESERVE BOTTLE VILLAGE                                               4595 COCHRAN                                                                   SIMI VALLEY      CA              93063
    PRESIDENT & FELLOWS - HARVARD
    COLLEGE                                                               79 GARDEN STREET                                                               CAMBRIDGE        MA              02138
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         SCHLESINGER LIBRARY           10 GARDEN ST                                                                   CAMBRIDGE        MA              02138-3630
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         PUBLIC SERVICES LIBRARIAN     10 SHATTUCK STREET                                                             BOSTON           MA              02115
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         HARVARD UNIVERSITY PRESS      100 MAPLE RIVER                                                                CUMBERLAND       RI              02864
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         HARVARD PRESS                 79 GARDEN ST.                                                                  CAMBRIDGE        MA              02138-1423



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                  360 of 488                                                                                         1:26 PM
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                                                                                                                          of 519
                                                                                                                     First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                           Address2                          Address3                City          State       Zip             Country
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         HARVARD MEDICAL SCHOOL         10 SHATTUCK STREET                                                                            BOSTON               MA            02115
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         HARVARD MANAGEMENT CO INC      600 ATLANTIC AVENUE                                                                           BOSTON               MA            02210-2203
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                         ATTN DIANA CAREY               10 GARDEN ST                                                                                  CAMBRIDGE            MA            02138-3630
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                                                        100 MAPLE RIVER                                                                               CUMBERLAND           RI            02864
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                                                        32 QUINCY ST                                                                                  CAMBRIDGE            MA            02138
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                                                        600 ATLANTIC AVENUE                                                                           BOSTON               MA            02210-2203
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                                                        79 GARDEN ST.                                                                                 CAMBRIDGE            MA            02138-1423
    PRESIDENT & FELLOWS OF
    HARVARD COLLEGE                                                        PO BOX 4999                                                                                   BOSTON               MA            02212
    PRESIDENTS & FELLOWS OF                 124 MT AUBURN ST - RECORDING
    HARVARD COL                             SEC                            124 MT AUBURN STREET                                                                          CAMBRIDGE            MA            02138
    PRESIDIO NETWORKED SOLUTIONS
    INC                                                                    P O BOX 822169                                                                                PHILADELPHIA         PA            19182-2169
    PRESS OF OHIO INC                                                      3240 PAYSPHERE CIRCLE                                                                         CHICAGO              IL            60674
                                            UNIV OF NEW ORLEANS COLLEGE
    PRESSLEY MILTON M                       OF BUS                         DEPT OF MARKETING - RM BA 106                                                                 NEW ORLEANS          LA            70148
    Preston B Smith                                                        15273 East Henderson Drrive                                                                   Prairieville         LA            70769
    PREUS MARGI                                                            1747 COLUMBUS AVE                                                                             DULUTH               MN            55803
                                            (ID # 1333769) - C/O CAPITOL
    PRICE FOR SENATE 2014                   ALIANCE                        925 L STREET STE 1490                                                                         SACRAMENTO           CA            95814
    PRICE KATHY                                                            50 WEST 34TH ST #10-C3                                                                        NEW YORK             NY            10001
    PRICEMAN MARJORIE A                                                    111 SOUTH 5TH ST                                                                              LEWISBURG            PA            17837

    PRICEWATERHOUSECOOPERS LLP              use 1-1071                     P O BOX 7247-8001                                                                             PHILADELPHIA         PA            19170-8001

    PRICEWATERHOUSECOOPERS LLP              PWC PRODUCT SALES LLC          P O BOX 7247-8001                                                                             PHILADELPHIA         PA            19170-8001
    PRIEST ROBERT                                                          18 BROOKSWELD RD                                                                              CANTON               MA            02021
    PRIGGER MARY SKILLINGS                                                 7433 WESTWOOD DR                                                                              RIVERSIDE            CA            92504
    PRIMACARE MEDICAL CENTERS                                              P O BOX 742827                                                                                DALLAS               TX            75374-2827
    PRIMARILY WRITING INC                                                  5800 AVENUE F                                                                                 AUSTIN               TX            78752
    PRIMARY ENGLISH TEACHING
    ASSOCIATION                                                            P O BOX 3106                                                                                  MARRICKVILLE METRO   NSW           02204        Australia
    PRIMARY LITERACY CONSULTING                                            12911 NE 109TH PL                                                                             KIRKLAND             WA            98033
    PRIMARY MARKING SYSTEMS INC                                            316 JUNGERMANN ROAD                                                                           ST PETERS            MO            63376
    PRIMARY SOURCE                                                         101 WALNUT STREET                ATTN KATHLEEN ENNIS, EXEC DIR                                WATERTOWN            MA            02472
    Prime Plan Solutions                                                   PO Box 219162                                                                                 Kansas City          MO            64121-9162
    PRIME VENDOR INC                                                       4622 CEDAR AVENUE SUITE 123                                                                   WILMONGTON           NC            28403-4429
    PRIMEDIA SPECIAL INTEREST
    PUBLICATIONS                                                           6420 WILSHIRE BOULEVARD                                                                       LOS ANGELES          CA            90048
    PRIMESYS L P                                                           19500 STATE HWY 249 STE 300                                                                   HOUSTON              TX            77070
                                                                                                                                                                         MAKATI CITY METRO
    PRIMETRADE ASIA INC                     5TH FL ACCELERANDO BLDG        SEN GIL PUYAT AVE BRGY BEL-AIR                                                                MANILA                             01209        Philippines
                                                                                                            UNDERTAKERS CLARABUTE &
    PRIMROSE UNIT                           BEDFORD GENERAL HOSPITAL       11 KINGSWAY                      PLUMBE                                                       BEDFORD                            MK42 9BJ     United Kingdom
    Primus Geographics, Inc.                                               7000 East Belleview Avenue       Suite 260                                                    Englewood            CO            80111
    PRIMUS NETWORK INC                                                     3200 STECK AVENUE SUITE 200                                                                   AUSTIN               TX            78757
    Prince Albert Catholic School                                          118 11th Street East                                                                          Prince Albert        SK            S6V 1A1      Canada
    Prince Edward Island Dept                                              1615 Fitzroy St                  2nd Floor Sullivan Bldg                                      Charlottetown        PR            C1E 1Z3      Canada
    Prince Edward Island Dept of Finance                                   Shaw Bldg 2nd Fl S               95 Rochford St                      PO Box 2000              Charlottetown        PE            C1A 7N8      Canada

    PRINCE GEORGES CO SCHOOL DIST
    PRINCE GEORGES EARLY
    CHILDHOOD                     INTERAGENCY INC                          3540 CRAIN HIGHWAY STE 319                                                                    BOWIE                MD            20716
    PRINCE WILLIAM SOUND                                                   PO BOX 1248                                                                                   CORDOVA              AK            99574
    PRINCESS SOFT TOYS INC        DBA ANIMAL FAIR                          7664 WEST 78TH STREET                                                                         MINNEAPOLIS          MN            55439

    PRINCETON BOOKS LLC                     DBA LABRYNTH BKS @ PRINCETON 358 SAW MILL RIVER RD                                                                           MILLWOOD             NY            10546
    Princeton City School District          Accounting                   25 West Sharon Road                                                                             Cincinnati           OH            45246

    PRINCETON UNIV LIBRARY                  DEPT OF RARE BOOK/SPECIAL COLL ONE WASHINGTON RD                                                                             PRINCETON            NJ            08544-2098
    PRINCETON UNIV PRESS                                                   1445 LOWER UNIVERSITY PRESS                                                                   EWING                NJ            08618
    PRINCETON UNIVERSITY PRESS                                             41 WILLIAM ST                                                                                 PRINCETON            NJ            08540
    Print Production Group                                                 P.O. Box 39913                   4850 Nome St.                                                DENVER               CO            80239



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                      361 of 488                                                                                                     1:26 PM
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                                                                                                                           of 519
                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName                  Address1                          Address2           Address3                City        State       Zip      Country
    PRINTING SOURCES INC                                                   P O BOX 2241                                                                   ABINGTON            MA           02351-0741

    PRINTS REGIONAL DESIGN ANNUAL                                          4700 EAST GALBRAITH RD                                                         CINCINNATI          OH           45236
    PRIORITY DISPATCH INC                                                  4665 MALSBARY ROAD                                                             CINCINNATI          OH           45242
    PRISCA MARTENS                                                         15613 HALE DRIVE                                                               NEW FREEDOM         PA           17349
    Priscilla Blanton                                                      605 Walnut Bend Drive                                                          Mansfield           TX           76063
    PRISCILLA E RICHARDSON                                                 5701 GREENVIEW DRIVE                                                           OKLAHOMA CITY       OK           73135
    Priscilla Kyle                                                         9364 Sierra Spring Way                                                         Elk Grove           CA           95624
    PRISCILLA L SANDLER                                                    8184 IBIS COVE CIRCLE                                                          NAPLES              FL           34119
    Priscilla Manchester                                                   26 School St Ut 215                                                            Hull                MA           02045
    PRISCILLA P SHUMWAY                                                    25 22ND AVE                                                                    ISLE OF PALMS       SC           29451
    PRISCILLA PORTER                                                       78440 SUNRISE MOUNTAIN VIEW                                                    PALM DESERT         CA           92211
    PRISCILLA S WOODSON                                                    3720 VIEW AVENUE                                                               ROANOKE             VA           24018
    Prison Impact                                                          590 Hwy 105 # 235                                                              MONUMENT            CO           80132
                                                                           555 THEODORE FREMD AVE, STE C-
    PRIVET CAPITAL LLC                                                     207                                                                            RYE                 NY           10580
    Priyamvada Vilangadu Vijayaraghavan                                    109 Justin Leonard Dr                                                          Round Rock          TX           78664
    PRODATA COMPUTER SERVICES
    INC                                                                    2809 S 160TH STREET SUITE 401                                                  OMAHA               NE           68130
    PRODUCTION TRANSCRIPTS INC                                             3736 SAN FERNANDO ROAD                                                         GLENDALE            CA           91204
    PRODUCTIVITY POINT
    INTERNATIONAL                                                          DEPARTMENT CH010554                                                            PALATINE            IL           60055-0554
    PRO-ED                                                                 8700 SHOAL CREEK BLVD                                                          AUSTIN              TX           78757-6816
    PRO-ED                                                                 P O BOX 678370                                                                 DALLAS              TX           75267
    PROF ALBERT P BLAUSTEIN                                                415 BARBY LANE                                                                 CHERRY HILL         NJ           08003
    PROF PAUL FINKELMAN                     ALBANY LAW SCHOOL              80 NEW SCOTLAND AVENUE                                                         ALBANY              NY           12208-3494

    PROFESSIONAL ASSESSMENT SVCS                                           24922 BIRDIE RIDGE                                                             SAN ANTONIO         TX           78258
    Professional Assoc. of GA Edu.                                         2971 Flowers Road South          Suite 151                                     Atlanta             GA           30341
    PROFESSIONAL BOWLERS
    ASSOCIATION                                                            719 SECOND AVE STE 701                                                         SEATTLE             WA           98104
    PROFESSIONAL DEVELOP
    NETWORK LLC                                                            16869 SW 65TH AVENUE # 336                                                     LAKE OSWEGO         OR           97035

    PROFESSIONAL DEVELOPMENT A/P                                           2705 MCDOUGH STREET                                                            JOLIET              IL           60436

    Professional Development Network, LLC                                  16869 SW 65th Ave #336                                                         Lake Oswego         OR           97035
    PROFESSIONAL ED CORPORATION                                            2911 LANGLEY PARK COURT                                                        ORLANDO             FL           32835

    PROFESSIONAL MEDIA GROUP LLC                                           488 MAIN AVENUE                                                                NORWALK             CT           06851
    PROFESSIONAL PUBLISHING SVCS
    CO                                                                     145 ROBINDALE DRIVE                                                            KENSINGTON          CT           06037
    PROFESSIONAL RESOURCES
    PROJECT                                                                525 WEST 120TH ST - BOX 202                                                    NEW YORK            NY           10027
    PROFESSIONAL SERVICE
    INDUSTRIES INC                                                         16707 COLLECTIONS CENTER DR                                                    CHICAGO             IL           60693
    PROFESSIONAL SPORTS
    PUBLICATIONS INC                                                       570 ELMOND ROAD DEPT 203                                                       ELMONT              NY           11003
    Professional Staffing Group                                            89 Devonshire Street                                                           Boston              MA           02109
    PROFILES CORPORATION                                                   3106 ROCHESTER AVE                                                             IOWA CITY           IA           52244
    PROFIT FROM PR INC                                                     4561 LAKE CALABAY DRIVE                                                        ORLANDO             FL           32837
    PROFIT SEARCH INC                                                      14 VERNON STREET STE 110                                                       FRAMINGHAM          MA           01701
    PROFOUND LOGIC SOFTWARE INC                                            370 SENTINEL OAK DR                                                            DAYTON              OH           45458

    PROGRAMMING CONCEPTS LTD                DBA PCI EDUCATIONAL PUBLISHING P O BOX 34270                                                                  SAN ANTONIO         TX           78265-4270
    PROGRESS ENERGY FLORIDA, INC                                           PO BOX 33199                                                                   ST PETERSBURG       FL           33733
    Progressive Business                    Compliance                     PO Box 3014                                                                    Malvern             PA           19355-9790
    PROGRESSIVE BUSINESS LEADERS
    NETWORK                                 C/O JAY YOUMANS                711 ATLANTIC AVENUE SUITE 102                                                  BOSTON              MA           02111
    Progressive Business Publicati                                         370 Technology Drive             P.O. Box 3019                                 Malvern             PA           19355
    PROGRESSIVE PUBLISHING                  DBA PROGRESSIVE INFORMTN
    ALTERNATIVES                            TECHNOLOGIES                   315 BUSSER RD                                                                  EMIGSVILLE          PA           17318
    Project Management Institute            Global Operations Center       14 Campus Blvd                                                                 Newtown Square      PA           19073

    PROJECT MANAGEMENT INSTITUTE                                           FOURTEEN CAMPUS BLVD                                                           NEWTON SQUARE       PA           19073-3299
    PROJECT MASTERS INC                                                    P O BOX AG                                                                     PRINCETON           NJ           08542-0872
    PROJECT MATCH                ERICKSON INSTITUTE                        451 N LASALLE                                                                  CHICAGO             IL           60654
    PROJECT TOMORROW                                                       15707 ROCKFIELD BLVD STE 250                                                   IRVINE              CA           92618
    Prokids                                                                2320 Kemper Lane                                                               Cincinnati          OH           45206
    PROLOGIS L P                                                           PO BOX 847352                                                                  DALLAS              TX           75284



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                      362 of 488                                                                             1:26 PM
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                                                                                                                     370 Matrix
                                                                                                                             of 519
                                                                                                                      First Class Service List


               CreditorName                         CreditorNoticeName                 Address1                            Address2                         Address3                   City            State       Zip               Country
    ProLogis NAPF I LLC                     RE 1655 Waters Ridge Drive    Megan Robert                        2100 McKinney Avenue, Suite 700                                  Dallas             TX           75201
    PROMETHEAN INC                                                        1165 SANCTUARY PARKWAY                                                                               ALPHARETTA         GA           30009

    PROMETHEAN INC                                                        1165 SANCTUARY PARKWAY STE 400                                                                       ALPHARETTA         GA           30009
    PROMETHEUS BOOKS                                                      59 JOHN GLEN DRIVE                                                                                   AMHERST            NY           14228-2119
    PROMINENT TELEVISION LTD                                              34 TAVISTOCK STREET                                                                                  LONDON                          WC2E 7PB     United Kingdom
    PROMOTION INC                           DBA BOOKPAGE                  2143 BELCOURT AVE                                                                                    NASHVILLE          TN           37212
    PROMOTIONAL ESCORT SERVICE
    LLC                                                                   36762 QUAKERTOWN                                                                                     FARMINGTON HILLS   MI           48331
    PRONK MEDIA INC                                                       515 CONSUMER ROAD STE 200                                                                            TORONTO            ON           M2J 4Z2      Canada
    PROPACKAGING LLC                                                      140 GOULD STREET                                                                                     NEEDHAM            MA           02494
    PROPRINT INC                                                          3920 AIRPARK BLVD                                                                                    DULUTH             MN           55811
    PROQUEST LLC                                                          6216 PAYSPHERE CIRCLE                                                                                CHICAGO            IL           60674
    PROSKAUER ROSE LLP                                                    1585 BROADWAY                                                                                        NEW YORK           NY           10036
    PROSPECT AGENCY                                                       551 VALLEY ROAD PMB 377                                                                              UPPER MONTCLAIR    NJ           07043
    PROSPECT BUILDING LLC                                                 1501 N UNIVERSITY STE 214                                                                            LITTLE ROCK        AR           72207
    PROSPECT HILL ACADEMY
    CHARTER                                                               50 ESSEX STREET                                                                                      CAMBRIDGE          MA           02139
    PROSPECT HILL PUBLISHING
    SERVICES                                                              32 MONTGOMERY AVENUE                                                                                 NASHUA             NH           03060-5008
    Protec Systems, LLC                     Accounts Receivable           13322 I Street                                                                                       Omaha              NE           68137
    PRO-TECH A/C & HEATING INC                                            2425 SILVER STAR ROAD                                                                                ORLANDO            FL           32804
    PROTECTION ONE ALARM
    MONITORING INC                                                        P O BOX 219044                                                                                       KANSAS CITY        MO           64121-9044

    PROTIVITI                                                             12269 COLLECTIONS CENTER DRIVE                                                                       CHICAGO            IL           60693
    PROVENCE III THOMAS KING                                              P O BOX 7592                                                                                         WACO               TX           76714-7592
    PROVIDEA CONFERENCING LLC                                             P O BOX 636132                                                                                       CINCINNATI         OH           45263-6132
    PROVIDENCE JOURNAL                                                    75 FOUNTAIN STREET                                                                                   PROVIDENCE         RI           02902
    Providence Network                      RE The Joy House              801 Logan Street                                                                                     Denver             CO           80203
    PROVIDENT LIFE & ACCIDENT
    INSURANCE CO                                                          LOCK BOX DEPT P O BOX 740592                                                                         ATLANTA            GA           30374-0592
    PRTESOL                                                               PO BOX 366828                                                                                        SAN JUAN           PR           00936
    PRUDENCE YOUNG                                                        49 ASTLEY AVE                                                                                        TORONTO            ON           M4W 3B5      Canada
    PRUDENTIAL FINANCIAL                                                  116 HUNTINGTON AVE 10TH FLOOR       ATTN LISA SILVA                                                  BOSTON             MA           02116
    PS 295                                                                222-14 JAMAICA AVENUE                                                                                QUEENS VILLAGE     NY           11428
    PS Independent Trustees
    PS INDEPENDENT TRUSTEES
    LIMITED                                                               126 JERMYN STREET                                                                                    LONDON                          SW1Y 4UJ     United Kingdom
    PSE&G CO                                                              P O BOX 14101                                                                                        NEW BRUNSWICK      NJ           08906
    PSE&G CO                                                              P O BOX 14106                                                                                        NEW BRUNSWICK      NJ           08906-4106
    PSE&G CO                                                              PO BOX 14444                                                                                         NEW BRUNSWICK      NJ           08906-4444
    PSHOWELL INC                                                          P O BOX 7874                                                                                         HOUSTON            TX           77270
    PSI GROUP INC                                                         1053 TURNPIKE ST                                                                                     STOUGHTON          MA           02072-1180
    PSMICROGRAPHS                                                         70 MAIN ROAD, PORTSKEWETT                                                                            MONMOUTHSHIRE                   NP26 5UG     United Kingdom
    PSMLA                                                                 721 GRAMAC LANE                     ATTN DEBRA WILLS                                                 PITTSBURGH         PA           15235
    PSYCHOLOGICAL ASSESSMENT
    RESOURCES                               INC                           16204 NORTH FLORIDA AVE                                                                              LUTZ               FL           33549
    PSYCHOLOGY TODAY                                                      115 E 23RD STREET, 9TH FLOOR                                                                         NEW YORK           NY           10010
    PTA OF CA CONGRESS OF
    PARENTS, T & S INC                      ROSA PARKS ELEMENTARY SCHOOL 3900 AGNES STREET                                                                                     LYNWOOD            CA           90262
                                            DBA NORTHSIDE ISD COUNCIL OF
    PTA TEXAS CONGRESS                      PTAS                         6110 SADDLEBOW                       ATTN MARIA SANFORD                                               SAN ANTONIO        TX           78240
    PTI                                     CX POSTAL31220-R             PEIXOTO GOMIDE, 209                                                                                   SAO PAULO          Sao Paulo    01309--970   Brazil
    P-TN INC                                                             6835 LAMAR                                                                                            OVERLAND PARK      KS           66204

    PUBLIC BROADCASTING SERVICE                                           14400 COLLECTIONS CENTER DRIVE                                                                       CHICAGO            IL           60693

    PUBLIC ED & BUSINESS COALITION                                        1244 GRANT ST                                                          ATTN SUZANNE PLAUT VP OF ED   DENVER             CO           80203
    PUBLIC EDUCATION FOUNDATION             ATTN SHARI EXBER-SCHEELE      3360 W SAHARA SUITE 160                                                                              LAS VEGAS          NV           89102
    PUBLIC INTEREST                                                       1015 15TH ST NW STE 900                                                                              WASHINGTON         DC           20005-2605
    PUBLIC SCHOOLS OF CITY OF
    MUSKEGON                                BUSINESS OFFICE               349 W WEBSTER AVENUE                                                                                 MUSKEGON           MI           49440
    Public Service Electric and Gas
    Company                                 Attn Bankruptcy Dept          PO Box 490                                                                                           Cranford           NJ           07016
    PUBLIC SERVICE OF NEW
    HAMPSHIRE                                                             P O BOX 638                                                                                          MANCHESTER         NH           03105-0638
    PUBLICATION MANAGEMENT
    SERVICES INC                                                          3040 WALLACE ROAD                                                                                    BUFORD             GA           30519
    Publication Printers                                                  2001 S. Platte River Drive                                                                           Denver             CO           80223



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                     363 of 488                                                                                                           1:26 PM
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                                                                                                                371 Matrix
                                                                                                                        of 519
                                                                                                                  First Class Service List


                CreditorName                          CreditorNoticeName               Address1                        Address2                         Address3           City              State       Zip             Country
    PUBLICATION RESOURCES INC                                              32 ALLEN LANE                                                                           IPSWICH              MA           01938
    PUBLICATION SERVICES INC                                               1802 S DUNCAN ROAD                                                                      CHAMPAIGN            IL           61822-5222
    PUBLISHERS ASSOCIATION                                                 29B MONTAGUE ST                                                                         LONDON                            WC1B 5BW     United Kingdom
    Publishers Association
    PUBLISHERS DESIGN &                                                    349 OLD PLYMOUTH RD, P O BOX
    PRODUCTION SRVCS                                                       1480                                                                                    SAGAMORE BEACH       MA           02562-1480
    PUBLISHERS GRAPHICS                                                    231 JUDD ROAD                   ATT PAIGE GILLIES                                       EASTON               CT           06612
    PUBLISHERS GRAPHICS                                                    231 JUDD ROAD                                                                           EASTON               CT           06612
    PUBLISHERS INTERNATIONAL
    MARKETING                               USA                            1 MONKTON CLOSE                                                                         FERNDOWN             Dorset       BH22 9LL     United Kingdom
    PUBLISHERS INVENTORY
    CONSULTING LLC                                                         10705 OAK VALLEY COURT                                                                  AUSTIN               TX           78736
    PUBLISHERS MARKETPLACE                                                 2 PARK PLACE #4                                                                         BRONXVILLE           NY           10708

    PUBLISHERS MEDIA SERVICES INC                                          30851 WOODSTREAM DR                                                                     FARMINTON HILLS      MI           48334-1148
    PUBLISHERS PUBLICITY                    ATTN YEN CHEONG -VIKING
    ASSOCIATION                             PENGUIN PUBLCTY                375 HUDSON STREET FL 4                                                                  NEW YORK             NY           10014
    PUBLISHERS REPRESENTATIVES
    ORG OF                                  TENNESSEE                      10441 ALMANAC LANE                                                                      KNOXVILLE            TN           37932
    PUBLISHERS REPRESENTATIVES
    ORG OF                                  ATTN TONY ROGERS               10441 ALMANAC LANE                                                                      KNOXVILLE            TN           37932
    Publishers Weekly                                                      PO Box 16507                                                                            North Hollywood      CA           91615-6507
                                                                           11710 OLD GEROGETOWN RD, APT
    PUBLISHING CONNECTIONS INC                                             1101                                                                                    N BETHESDA           MD           20852-2681
    PUBLISHING DESIGN STUDIO                                               9 HARRIETT STREET               WORKING TITLE PRESS               ADELAIDE              South Australia                   05000        Australia
    PUBLISHING SOLUTIONS GROUP                                             400 W CUMMINGS PARK STE 2600                                                            WOBURN               MA           01801-6596
    PUBLISHING TRIANGLE INC                                                332 BLEECKER STREET # D36                                                               NEW YORK             NY           10014
    PUBLISHIP LOGISTICS INC                                                129 WASHINGTON STREET, 3RD FL                                                           HOBOKEN              NJ           07030
    PUBLITEK INC                            DBA FOTOSEARCH                 21155 WATERTOWN ROAD                                                                    WAUKESHA             WI           53186
    PUBSMARTS                               USE 1-12680                    127 WEST 25TH ST, 5TH FLOOR                                                             NEW YORK             NY           10001
    PUBSMARTS LLC                                                          315 WEST 70TH STREET 1-I                                                                NEW YORK             NY           10023
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                      SKYVIEW MIDDLE SCHOOL          1047 CAMINO DE BRAVO                                                                    PUEBLO               CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                      SIERRA VISTA ELEMENTARY        500 S SPAULDING AVE                                                                     PUEBLO               CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                      PUEBLO WEST MIDDLE SCHOOL      484 SMAHER DR                                                                           PUEBLO               CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                      CEDAR RIDGE ELEMENTARY         1267 W ORO GRANDE DR                                                                    PUEBLO WEST          CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                                                     1047 CAMINO DE BRAVO                                                                    PUEBLO               CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                                                     1267 W ORO GRANDE DR                                                                    PUEBLO WEST          CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                                                     484 SMAHER DR                                                                           PUEBLO               CO           81007
    PUEBLO COUNTY SCHOOL DISTRICT
    70                                                                     500 S SPAULDING AVE                                                                     PUEBLO               CO           81007
    PUEBLO GRANDE MUSEUM                    ATTN HOLLY CURATOR OF
    AUXILIARY                               COLLECTIONS                    4619 E WASHINGTON STREET                                                                PHOENIX              AZ           85034
    PUERTO RICO TELEPHONE CO                                               P O BOX 360998                                                                          SAN JUAN             PR           00936-0998
    PUERTO RICO WAREHOUSING
    CORP                                                                   P O BOX 3867                                                                            CAROLINA             PR           00984
    PUFF N STUFF CATERING LLC                                              250 RIO DRIVE                                                                           ORLANDO              FL           32810
    PUFFIN BOOKS                                                           375 HUDSON STREET               DIV OF PENGUIN BOOKS                                    NEW YORK             NY           10014-3657
                                                                           800 OAKESDALE AVENUE SW, MS
    PUGET SOUND ESD # 21                    BLACKRIVER TRAINING & CONF CTR KR01                                                                                    RENTON               WA           98057
    PULASKI COUNTY TREASURER                                               P. O. BOX 8101                                                                          LITTLE ROCK          AR           72203
    PURAVIDA PRODUCTIONS INC                EFRAIN DIAZ                    591 6TH ST NE                                                                           NAPLES               FL           34120
    PURE HEALTH SOLUTIONS INC               DBA PHSI-PURE WATER FINANCE    PO BOX 404582                                                                           ATLANTA              GA           30384
    Pure Health Solutions, Inc.                                            PO Box 644006                                                                           Cincinnati           OH           45264-4006
    Pure Technologies Group, Inc            Pure WaterWorks                1279 South Cherokee Street                                                              Denver               CO           80223-3206
    PURITAN PRESS INC                                                      95 RUNNELLS BRIDGE RD                                                                   HOLLIS               NH           03049
                                            C/O JANKLOW & NESBIT - ATTN
    PUSHKIN ENTERPRISES INC                 PAUL LUCAS                     445 PARK AVENUE FLOOR 13                                                                NEW YORK             NY           10022
    PUSHPIN GROUP INC                                                      55 EAST 9TH STREET # 1G                                                                 NEW YORK             NY           10003
    PUTNAM CITY PUBLIC SCHOOLS
    FOUND                                                                  5401 N W 40TH STREET                                                                    OKLAHOMA CITY        OK           73122
    PUTNAM COUNTY BOARD OF ED                                              158 OLD GLENWOOD SPRINGS RD                                                             EATONTON             GA           31024
    Putnam County Board of Ed.              Attn Accounting Dept.          158 Old Glenwood Springs Road                                                           Eatonton             GA           31024
    PUTNAM PUBLISHING GROUP                 ATTN LAURA CEMINARO            1 LAKE STREET                                                                           UPPER SADDLE RIVER   NJ           07458



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                 364 of 488                                                                                                   1:26 PM
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                                                                                                              372 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName             Address1                            Address2                        Address3               City             State       Zip               Country
    PW RESOURCES INC                                                       34 MCNAMARA STREET                                                                           STOUGHTON           MA           02072
    PWC
    PWC CONSULTANTS (SHENZHEN)              26/F OFFICE TOWER A BEIJING
    LTD                                     FORTUNE PL                     7 DONGSANHUAN ZHONG ROAD                                                                     CHAOYANG BEIJING    Beijing      100020       China
    PWXYZ LLC                               DBA PUBLISHERS WEEKLY          71 WEST 23RD STREET STE 1608                                                                 NEW YORK            NY           10010
    PWXYZ LLC                               DBA PUBLISHERS WEEKLY          P O BOX 16957                                                                                NORTH HOLLYWOOD     CA           91615-6957
    PWXYZ LLC                               DBA PUBLISHERS WEEKLY          PO BOX 5702                                                                                  HARLAN              IA           51593
    PWXYZ LLC                               ATTN RYK HSIEH                 71 WEST 23RD STREET STE 1608                                                                 NEW YORK            NY           10010
    PWXYZ LLC                                                              P O BOX 16957                                                                                NORTH HOLLYWOOD     CA           91615-6957
    PWXYZ LLC                                                              PO BOX 5702                                                                                  HARLAN              IA           51593
    PYLE ROBERT MICHAEL                     SWEDE PARK                     369 LOOP ROAD                                                                                GRAYS RIVER         WA           98621
    Q INVESTMENTS

    Q2A MEDIA SERVICES PRIVATE LTD RGD OFFICE B-116 LEVEL 1                OKHLA INDUSTRIAL AREA                                                                        PHASE 1 NEW DELHI                110020       India
    QAS LTD                                                                P O BOX 416021                                                                               BOSTON              MA           02241-6021
    Qortex                                                                 98 Inverness Drive East          Suite 370                                                   Englewood           Co           80112
    QS INFORMATION SERVICES        DBA FIREBRAND TECHNOLOGIES              44 MERRIMAC STREET                                                                           NEWBURYPORT         MA           01950-2574
    QUAD GRAPHICS PRINTING CORP                                            P O BOX 842858                                                                               BOSTON              MA           02284-2858
    QUAD GRAPHICS PRINTING CORP                                            PO BOX 98668                                                                                 CHICAGO             IL           60693-8668
    QUADGRAPHICS COMMERCIAL &
    SPECIALTY LLC                                                          P O BOX 9                                                                                    BURLINGTON          WI           53105-8964
    QUADRALAY CORPORATION                                                  9101 BURNET ROAD SUITE 105                                                                   AUSTIN              TX           78758
    QUAIL RUN ELEMENTARY                                                   250 SMITHVILLE CHURCH RD                                                                     WARNER ROBINS       GA           31069
    Quality Education Data                                                 PO Box 3270                                                                                  Jefferson City      MO           65102-3720
    Quality Fire Protection                                                5454 Washington Street           #1                                                          Denver              CO           80216
    QUALITY LETTER SERVICE INC                                             22 WEST 32ND ST 10TH FL                                                                      NEW YORK            NY           10001
    QUALITY QUINN SHARP                                                    888 W VALLEY ROAD                                                                            WAYNE               PA           19087
    QUALITY SCHOOLS SERVICES                                               17481 GARNET ROAD                                                                            WILDER              ID           83676
    QUALITY TEACHER DEVELOPMENT
    LLC                                                                    3014 JOHN BENARD DRIVE                                                                       ELLICOTT CITY       MD           21042
    QUALTRICS LABS INC                                                     2250 N UNIVERSITY PKWY #48                                                                   PROVO               UT           84604
    QUALYS INC                                                             1600 BRODGE PARKWAY 2ND FL                                                                   REDWOOD SHORES      CA           94065
    Quanda Williams                                                        7962 Sherwood Circle                                                                         Hanover Park        IL           60133
    QUANG-TUAN LUONG                                                       3373 MEADOWLANDS LANE                                                                        SAN JOSE            CA           95135
    QUANTRONIX                                                             PO BOX 929                                                                                   FARMINGTON          UT           84025
    QUANTUM SIMULATIONS INC                                                5275 SARDIS ROAD                 ATTN BENNY JOHNSON                                          MURRYSVILLE         PA           15668
    QUANTUM WORKPLACE                                                      P O BOX 545                                                                                  DESTIN              FL           32540
    QUARASAN                                                               405 WEST SUPERIOR ST                                                                         CHICAGO             IL           60654
    QUARTET BOOKS LTD                                                      27 GOODGE ST                                                                                 LONDON                           W1T 2LD      United Kingdom

    QUARTO PUBLISHING                       QUANTUM PUBLISHING             THE OLD BREWERY 6 BLUNDELL ST                                                                LONDON                           N7 9BH       United Kingdom
    QUAST W GARRY                                                          441 FRANKLIN STREET                                                                          SLIPPERY ROCK       PA           16057
    Quebec Ministere de Finance             Attn Legal Dept                8 rue Cook                    4th Fl                                                         Quebec              QB           G1R 0A4      Canada
    QUEBECOR PERU, S. A.                    ATTN MARIA ECHEVERRI           150 EAST 42ND STREET, 11TH FL                                                                NEW YORK            NY           10017
    QUEBECOR PTG/ MARTINSBURG                                              PO BOX 98668                                                                                 CHICAGO             IL           60693-8668
    QUEBECOR WORLD - MEXICO                 ATTN MARIA ECHEVERRI           570 LEXINGTON AVENUE                                                                         NEW YORK            NY           10022-6824
    QUEBECOR WORLD BOGOTA S A               ATTN MARIA ECHEVERRI           150 EAST 42ND STREET, 11TH FL                                                                NEW YORK            NY           10017
    QUEEN LITERARY AGENCY INC                                              420 WEST END AVE STE 8A                                                                      NEW YORK            NY           10024
    QUEEN OF MARTYRS PARISH                                                3550 WEST 103RD STREET                                                                       EVERGREEN PARK      IL           60805
    QUEENS OF ANGELS MONTESSORI             DBA GOOD SHEPHERD CATHOLIC
    SCHOOL                                  MONTESSORI                     4460 BERWICK STREET                                                                          CINCINNATI          OH           45227
    QUEMENER YVES-MARIE                                                    9 AVENUE DE LEQUIPAGE                                                                        NANTES                           44100        France
    QUENCH USA AQUAPERFECT                                                 PO BOX 644006                                                                                CINCINNATI          OH           45264-4006
    QUENCH USA INC                                                         P O BOX 8500 LOCK BOX 53203                                                                  PHILADELPHIA        PA           19178
    Quentin Erickson                                                       18137 Judicial Way South                                                                     Lakeville           MN           55044
    QUENTIN LEE BIDDY                                                      3201 N VIRGINIA AVENUE                                                                       OKLAHOMA CITY       OK           73118
    QUERCUS PUBLISHING PLC                  FINANCE DEPT                   21 BLOOMSBURY SQUARE                                                                         LONDON                           WC1A 2NS     United Kingdom

    QUERCUS PUBLISHING PLC                  ATTN EMMA WARD                 55 BAKER ST 7TH FL SOUTH BLOCK                                                               LONDON                           W1U 8EW      United Kingdom
    QUERCUS PUBLISHING PLC                                                 21 BLOOMSBURY SQUARE                                                                         LONDON                           WC1A 2NS     United Kingdom

    QUERCUS PUBLISHING PLC                                                 55 BAKER ST 7TH FL SOUTH BLOCK                                                               LONDON                           W1U 8EW      United Kingdom
    QUEST SOFTWARE INC                                                     P O BOX 731381                                                                               DALLAS              TX           75373-1381
    QUESTAR ASSESSMENT INC                                                 5550 UPPER 147TH STREET WEST                                                                 APPLE VALLEY        MN           55124
    QUESTAR ASSESSMENT INC                                                 PO BOX 382                                                          4 HARDSCRABBLE HEIGHTS   BREWSTER            NY           10509
    QUESTAR DATA SYSTEMS INC                                               2905 WEST SERVICE ROAD                                                                       EAGAN               MN           55121
    QUEZADA SALVADOR                                                       504 E GRAVES AVENUE                                                                          MONTEREY PARK       CA           91755
    Quinn Emanuel
    QUINN EMANUEL URQUHART                                                 865 S FIGUEROA STREET, 10TH
    OLIVER & HEDGE                          LLP                            FLOOR                                                                                        LOS ANGELES         CA           90017



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                   365 of 488                                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              373 Matrix
                                                                                                                      of 519
                                                                                                                          First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                                Address2                         Address3                      City            State       Zip               Country
    QUOIN INC                                                              200 LINCOLN ST STE 401                                                                                    BOSTON              MA           02111
    QVC                                                                    WILSON DRIVE                                                                                              WEST CHESTER        PA           19380
    QWEST                                                                  P O BOX 12480                                                                                             SEATTLE             WA           98111-4480
    QWEST                                                                  PO BOX 29040                                                                                              PHOENIX             AZ           85038-9040
    QWEST                                                                  P O BOX 91154                                                                                             SEATTLE             WA           98111
    R & L Carriers, Inc.                                                   PO Box 713153                                                                                             Columbus            OH           43271-3153
    R & L Global Logistics                                                 PO Box 405939                                                                                             Atlanta             GA           30384-5939
    R & N MORITZ INC                                                       PO BOX 155                                                                                                WENTZVILLE          MO           63385
    R & R BOOK COMPANY                                                     24 WYKOFF AVENUE STE 5                                                                                    WALDWICK            NJ           07463
    R & R DIRECT MAIL INC                   DBA RICKARD LIST MARKETING     190 MOTOR PARKWAY STE 103                                                                                 HAUPPAUGE           NY           11788
    R DOUGLAS MCCHESNEY                                                    9251 PALMETTO RIDGE DR #201                                                                               BONITA SPRINGS      FL           34135
    R E GRIESEMER INC                                                      P O BOX 7                                                                                                 INDIANAPOLIS        IN           46206
                                            DBA KARI ERIK MARTTILA
    R E NAEGELE INC                         PHOTOGRAPHY                    1010 EDSON ST                                                                                             LYNDEN              WA           98264
    R H R International                                                    PO Box 95122                                                                                              Chicago             IL           60694-5122
    R H ROSENFIELD CO                       DBA EDISON PRESS               2066 MAIN STREET                                                                                          SANFORD             ME           04073

    R I ANALYTICAL LABORATORIES INC DBA TOYTESTINGLAD                      41 ILLINOIS AVE                                                                                           WARWICK             RI           02888
    R J HECHLER HARDWARE INC                                               530 MAIN STREET                                                                                           TROY                MO           63379
                                    DBA SHERATON BRADLEY INTNL             1 BRADLEY INTERNATIONAL
    R K BRADLEY AND ASSOCIATES LTD AIRPORT                                 AIRPORT                                                                                                   WINDSOR LOCKS       CT           06096
    R L BRYAN COMPANY
    R R BOWKER LLC                                                         16848 COLLECTIONS CENTER DR                                                                               CHICAGO             IL           60693-0168
    R R BOWKER LLC                                                         630 CENTRAL AVENUE                                                                                        NEW PROVIDENCE      NJ           07974
    R THOMAS MYERS                                                         10404 8TH PLACE SE                                                                                        LAKE STEVENS        WA           98258
                                    DBA DOLL SERVICES &
    R W ANDERSOHN ENTERPRISES INC ENGINEERING INC                          115 FLIER DRIVE SUITE 101                                                                                 PACIFIC             MO           63069
    R&R ARIZONA GOVERNMENT &        AFFAIRS LLC - DBA R&R PARTNERS
    PUBLIC                          INC                                    900 S PAVILION CENTER DR, STE 100                                                                         LAS VEGAS           NV           89144
    R. R. Bowker                                                           630 Central Avenue                                                                                        New Providence      NJ           07974
    R.I. Division of Taxation                                              One Capital Hill                                                                                          Providence          RI           02908
    R3 ENVIRONMENTAL MANAGEMENT
    INC                                                                    1050 EAST CHICAGO STREET                                                                                  ELGIN               IL           60120
    R3 SECURITY INC                 DBA SECURITY 101                       620 DOUGLAS AVENUE STE 1304                                                                               ALTAMONTE SPRINGS   FL           32714

    RABBIT EARS ENTERTAINMENT LLC ATTN CHRIS CAMPBELL                      29 NORTH MAIN STREET                                                                                      SOUTH NORWALK       CT           06854
    Rachael C Langevin                                                     1 Avalon Drive                      8108                                                                  Randolph            MA           02368
    Rachael M Sclater                                                      647 Rosaro Court                    Private House                                                         Kissimmee           FL           34758
    RACHAEL S HOY                                                          15 ENGLEWOOD AVENUE APT # 1                                                                               BROOKLINE           MA           02445
    RACHAEL VICTORIA MATTHEWS                                              1204 CLEVELAND STREET                                                                                     EVANSTON            IL           60202
    Rachel A Wasdyke                                                       1120 Beacon Street                  3D                                                                    Brookline           MA           02446
    Rachel Anne Hykel                                                      2205 Olcott Avenue                                                                                        Ardmore             PA           19003
    Rachel Bachman                                                         552 S Fifth St                                                                                            West Dundee         IL           60118
    RACHEL BALLARD MARGUM                                                  607 PARKWAY DR                                                                                            KOSCIUSKO           MS           39090
    RACHEL BROWN                                                           P O BOX 1864                                                                                              WELLFLEET           MA           02667
    Rachel Burgess                                                         21609 E. Tallkid Avenue                                                                                   Parker              CO           80138
    Rachel Carrillo Syrja                                                  3261 Robin Way                                                                                            Pomona              CA           91767
    Rachel Clement                                                         300 West 11th Avenue                Apt #11B                                                              Denver              CO           80203
    RACHEL G BREININ                                                       180 LOCUST AVE                                                                                            RYE                 NY           10580
    RACHEL KESSOUS                                                         42-46-W 138TH ST APT 56                                                                                   NEW YORK            NY           10037
    RACHEL MUSSER                                                          5409 GRAND OAK LANE                                                                                       MILTON              FL           32570
    RACHEL NEIMAN                                                          10-A NILI ST                                                                                              JERUSALEM                        92548        Israel
    Rachel P Newborn                                                       118 Chestnut Avenue                 Apartment 2                                                           Jamaica Plain       MA           02130
    Rachel Parekh                                                          1357 Glenwick Drive                                                                                       Windermere          FL           34786
    RACHEL PORCELLI                                                        5239 LAYTON DRIVE                                                                                         VENICE              FL           34293
    Rachel Reeves-Maduzia                                                  7630 Wood Hollow                    148                                                                   Austin              TX           78731
    RACHEL RIEDERER                                                        69 LAFAYETTE AVENUE # 3R                                                                                  BROOKLYN            NY           11217
    Rachel Ruster                                                          350 Day Street                                                                                            San Francisco       CA           94131
    Rachel S Weil                                                          7503 Brookhollow Dr.                                                                                      Austin              TX           78752

    RACHEL SIMMONS                                                         1666 CONNECTICUT AVENUE NW                                                C/O GAIL ROSS LITERARY AGENCY   WASHINGTON          DC           20009
    RACHEL SIMMONS                                                         30 VALLEY ST                                                                                              NORTHAMPTON         MA           01060
    RACHEL STONE SMITH                                                     247 WOODRIDGE DRIVE                                                                                       PIEDMONT            AL           36272
    RACHEL STULTZ                                                          87 HAWTHORNE AVENUE                                                                                       FORT THOMAS         KY           41075
    Rachel Syrja                                                           3261 Robin Way                                                                                            Pomona              CA           91767
    RACHEL T NOBEL                                                         150 LOCUST LANE                                                                                           BEAUFORT            NC           28516
    Rachel Trimble                                                         6974 Bellagio Circle                                                                                      Tinley Park         IL           60477
    Rachel Wimberly                                                        264 Main Avenue                                                                                           South Hampton       NH           03827
    RACHEL ZANDERS                                                         1445 W CARMEN #3-S                                                                                        CHICAGO             IL           60640
    Rachelle Abercrombie                                                   7100 Fred Morse                                                                                           Austin              TX           78723



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                         366 of 488                                                                                                              1:26 PM
                                                      12-12171-reg           Doc 136           Filed 07/15/12 Exhibit
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                                                                                                         Pg Creditor
                                                                                                             374 Matrix
                                                                                                                     of 519
                                                                                                                       First Class Service List


                  CreditorName                        CreditorNoticeName               Address1                             Address2                         Address3                    City         State       Zip            Country
    RACHELLE LEE OBLACK                                                    165 STONE CHURCH ROAD                                                                              HUNKER             PA           15639
    RACHELLE M MCKINNEY                                                    2405 BURLESON COURT, # B                                                                           AUSTIN             TX           78741
    RACKSPACE US INC                                                       P O BOX 730759                                                                                     DALLAS             TX           75373
    Radey Thomas Yon & Clark
    RADEY THOMAS YON & CLARK PA                                            P O BOX 10967                                                                                      TALLAHASSEE        FL           32302
    RADFORD IMAGES                          COLIN G RADFORD                2625 CHAMBERLAIN FERRY RD                                                                          LINCOLNTON         GA           30817
    RADIOSHACK CORPORATION                                                 PO BOX 848549                                                                                      DALLAS             TX           75284
    Radisson Quad City Plaza                                               111 East Second Street                                                                             Davenport          IA           52801
    Rae A Grieco                                                           12973 Borland Street                                                                               Windermere         FL           34786
    Rae Ann T Doerr                                                        2415 Kristen Lane                                                                                  Cedar Park         TX           78613
    Raegan T Davenport                                                     41127 Justin Drive                                                                                 Clinton Township   MI           48038
    RAFAEL A VEGA SANTANA                                                  707 CALLE NUEVO PONCE                                                                              PONCE              PR           00717-1786
    Rafael Attias                                                          80 ASHTON AVE                                                                                      NORTH KINGSTON     RI           02852
                                                                           URB VILLA RICA CALLE GLADYS AE-
    RAFAEL DEL TORO HERNANDEZ                                              10                                                                                                 BAYAMON            PR           00959
    RAFAEL HERNANDEZ PEREZ                                                 P O BOX 453                                                                                        TOA ALTA           PR           00954

    RAFAEL SEGUINOT                                                        URB VISTAS DE RIO GRANDE I #119                                                                    RIO GRANDE         PR           00745
    RAFE MARTIN                                                            56 BRIGHTON ST                                                                                     ROCHESTER          NY           14607
    RAFFAEL BORASI                                                         7 DEL RIO DRIVE                                                                                    ROCHESTER          NY           14618-4007
    Rafiuz Zaman                                                           1521 Elder Dr.                                                                                     Aurora             IL           60506
    Rahul Neuman                                                           12654 Montana Ave                                                                                  Los Angeles        CA           90049
    RAINBOW                      CAROLYN V MCCOY                           61 ENTRADA                                                                                         SANTA FE           NM           87507
    RAINBOW EDUCATIONAL CONCEPTS
    INC                                                                    250 CR 744                                                                                         JONESBORO          AR           72401
    Rainbow Schools                                                        408 Wembley Drive                                                                                  Sudbury            ON           P3E-1P2      Canada
    RAINES & RAINES                                                        103 KENYON ROAD                                                                                    MEDUSA             NY           12120
    RAISBECK BARBARA                                                       16 BLACK POINT MEADOWS                                                                             SCARBOROUGH        ME           04074
                                                                           9 BATTERY RD # 25-01 STRAITS
    RAJAH & TANN LLP                                                       TRADING BLDG                                                                                       SINGAPORE                       49910        Singapore
    Rajesh Desai                                                           1550 N Lake Shore Dr              15f                                                              Chicago            IL           60610
    RAJINDER K VASAMSETTI                                                  1463 SW 119TH AVENUE                                                                               PEMBROKE PINES     FL           33025
    Rajkumar Durga                                                         509 Sequoia Drive                                                                                  Sunnyvale          CA           94086
    RALLY SOFTWARE                                                         4001 DISCOVERY BLVD, STE 220                                                                       BOULDER            CO           80303
    RALPH AUSTEN                                                           5801 S ELLIS AVENUE               UNIV OF CHICAGO                      DEPT OF HISTORY PST BOX 1   CHICAGO            IL           60637
    Ralph Bakkensen, Law Offices of
    RALPH C SCOTT JR                                                       934 STREAM VIEW LANE                                                                               YORK               PA           17403
    RALPH FLETCHER                                                         P O BOX 855                                                                                        DURHAM             NH           03824
    RALPH HASKINS                                                          117 E JAY AVENUE                                                                                   MCALLEN            TX           78504
    Ralph Holmes                                                           28 Caton Place                                                                                     Black Mountain     NC           28711
    Ralph L Sterling                                                       4701 Highlands Place Court                                                                         Lakeland           FL           33813
    Ralph M Holmes                                                         28 CATON PLACE                                                                                     BLACK MOUNTAIN     NC           28711
    RALPH M VICINANZA LTD                                                  303 WEST 18TH STREET                                                                               NEW YORK           NY           10011
    RALPH M VICINANZA LTD                                                  303 W 18TH ST                                                                                      NEW YORK           NY           10011-4440
    Ralph Marquez                                                          3213 Villa Way Circle                                                                              St Cloud           FL           34769
    RALPH PETERSON                                                         26912 N DONNA PLACE                                                                                QUEEN CREEK        AZ           85242-9424
    RALPH STEADMAN                                                         146 EAST 19TH STREET              NAT SOBEL                                                        NEW YORK           NY           10003
    RALPH V G BAKKENSEN                                                    27 BLUEBERRY HILL ROAD                                                                             ANDOVER            MA           01810
    Ralph Youngberg                                                        3615 N Albany Avenue                                                                               Chicago            IL           60618
    RALPH Z SORENSON                                                       603 SPRUCE ST                                                                                      BOULDER            CO           80302
    RAM BOOK & SUPPLY                       ACCOUNTING DEPT                8057 SOUTH LAKEVIEW DRIVE                                                                          FRANKLIN           WI           53132
    RAM PRINTING INC                                                       5 COMMERCE PARK DR - BOX 900                                                                       EAST HAMPSTEAD     NH           03826
    RAMAC CORPORATION                       DBA ASSURED ENVIRONMENTS       P O BOX 600847                                                                                     JACKSONVILLE       FL           32260-0847
    Ramblin Express                                                        875 W 64th Avenue                 #C                                                               Denver             CO           80221
    Ramie F Futrell                                                        2922 Ludwig Drive                                                                                  Indianapolis       IN           46239
    Ramon Alcantar                                                         5401 Queen Court                                                                                   Lake Dallas        TX           75065
    RAMON DAVILA APONTE                                                    HC 1 BOX 10653                                                                                     ARECIBO            PR           00612
    RAMON GARCIA BARRIOS                                                   HC 3 BOX 9324                                                                                      GURABO             PR           00778
    RAMON LOPEZ DE LA VEGA                                                 10070 NW 51 LANE                                                                                   MIAMI              FL           33178
    RAMON LOPEZ ROSADO                                                     P O BOX 555                                                                                        ENSENADA           PR           00647
    Ramon Rios                                                             2132 Fairmont Circle                                                                               Orlando            FL           32837
    Ramona Blevins                                                         23981 Carson Drive                                                                                 Pioneer            CA           95666
    RAMONA GARCIA SLAGLE                                                   116 S FIRST ST                                                                                     LYNDEN             WA           98264
                                            DBA CUSTOMIZED EDUCATIONAL
    RAMONA H MCCOY                          SOLUTIONS LL                   553 EAST MAIN STREET                                                                               CLARKSBURG         WV           26301
    Ramona Scalf                                                           871 Abby Terr.                                                                                     Deltona            FL           32725
    Rampart Business Storage                                               9940 E. Costilla Avenue           Suite A                                                          Englewood          CO           80112
    RAMSEY RICHARD                                                         400 BARRINGTON HALL DRIVE                                                                          MACON              GA           31220
                                                                           HAKIM BLDG 2ND FLOOR VERDUN
    RAMZI ATAYA                                                            ST                                                                                                 BEIRUT                          1135023      Lebanon



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                      367 of 488                                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                375 Matrix
                                                                                                                        of 519
                                                                                                                  First Class Service List


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    RANCH CATERING                                                         3560 MT ACADIA BLVD                                                                           SAN DIEGO           CA           92111
    RANCHO SANTIAGO COMM                    ATTN HENRY KIM OR CASSIE
    COLLEGE DIST                            CASTLE                         2900 W EDINGER STREET                                                                         SANTA ANA           CA           92704
    RAND GLORIA                                                            7621 S E 22ND STREET                                                                          MERCER ISLAND       WA           98040
    RAND MCNALLY                                                           P O BOX 98904                                                                                 CHICAGO             IL           60693-8904
    Randa L Goddard                                                        308 SOUTH COBB DRIVE                                                                          SMYRNA              GA           30080
    RANDALL CODY GROUND                                                    1709 HASKELL ST UNIT #2                                                                       AUSTIN              TX           78702
    RANDALL HOUSE PUBLICATIONS              RANDALL HOUSE                  114 BUSH RD                                                                                   NASHVILLE           TN           37217
    RANDALL HYMAN                                                          368 BACH AVENUE                                                                               ST LOUIS            MO           63122
    RANDALL J JURASEK                                                      194 S FOX RUN LANE                                                                            BYRON               IL           61010
    Randall J Jurasek                                                      194 S. Fox Run Lane                                                                           Byron               IL           61010-9562
    RANDALL L MEREDITH                                                     2224 HAVILAND ROAD                                                                            COLUMBUS            OH           43220
    RANDALL L ROHN                                                         5977 LAUREL RIDGE DR                                                                          NEWBURGH            IN           47630
    Randall L Teesdale                                                     845 Kent Circle                                                                               Bartlett            IL           60103
    Randall Nordby                                                         3265 Argyle Rd                                                                                Titusville          FL           32796
    Randall R Seabolt                                                      122 East Oglethorpe Avenue                                                                    Savannah            GA           31401
    Randall Smith                                                          581 Queens Mirror Circle                                                                      Casselberry         FL           32707
    Randi Abels                                                            6175 S. Leyden Street                                                                         Centennial          CO           80111

    RANDI BAIRD                             DBA RANDI BAIRD PHOTOGRAPHER P O BOX 1022                                                                                    WEST TISBURY        MA           02575
                                            HOME EDUCATORS
    RANDI ST DENIS                          ENCOURAGEMENT ALLIANCE       885 WOODSTOCK RD SUITE 430-142                                                                  ROSWELL             GA           30075
    Randi V Forrest                                                      5608 N. Ozark Ave.                                                                              Chicago             IL           60631
    RANDLE COMMUNICATIONS                                                925 L STREET, SUITE 1275                                                                        SACRAMENTO          CA           95814
    RANDOLPH SCHOOL                         A/P                          1005 DRAKE AVENUE SE                                                                            HUNTSVILLE          AL           35802
    RANDOLPH TOWNSHIP BOE                                                25 SCHOOL HOUSE RD                                                                              RANDOLPH            NJ           07869
    Randolphe Swenson                                                    4620 East Oxford Ave                                                                            Englewood           CO           80113
                                                                                                                                             TBS DISTRIBUTION CENTER -
    RANDOM CENTURY GROUP                                                   COLCHESTER RD FRATING GREEN     RANDOM HOUSE GROUP LTD            ROYALTY DEPT                COLCHESTER          Essex        CO7 7DW      United Kingdom
    RANDOM HOUSE                                                           1745 BROADWAY - 3RD FLR                                                                       NEW YORK            NY           10019-4305
                                                                                                           ROYALTY AND SUBRIGHTS
    RANDOM HOUSE                                                           1745 BROADWAY 3RD FLOOR         ACCOUNTING                        ATTN ANGELA ALESCI          NEW YORK            NY           10019
    RANDOM HOUSE                                                           DEPT CH 10401                                                                                 PALATINE            IL           60055-0401
    RANDOM HOUSE ARCHIVE &
    LIBRARY                                                                1 COLE STREET                                                                                 RUSHDEN NORTHANTS                NN10 6RZ     United Kingdom
    RANDOM HOUSE CHIDRENS BOOKS
    UK                                                                     61-63 UXBRIDGE ROAD EALING                                                                    LONDON                           W5 5SA       United Kingdom
                                                                                                           ROYALTY AND SUBRIGHTS
    RANDOM HOUSE CHILDREN S                                                1745 BROADWAY 3RD FLOOR         ACCOUNTING                        ATTN ANGELA ALESCI          NEW YORK            NY           10019
    RANDOM HOUSE CHILDRENS
    BOOKS                                                                  20 VAUXHALL BRIDGE ROAD                                                                       LONDON                           SW1V 2SA     United Kingdom
    RANDOM HOUSE CHILDRENS
    BOOKS                                   ATTN RIGHTS ACCOUNTING         1745 BROADWAY - MAILDROP 15-4                                                                 NEW YORK            NY           10019
                                                                                                                                             TBS DISTRIBUTION CENTER -
    RANDOM HOUSE CHLDREN BKS                                               COLCHESTER RD FRATING GREEN     RANDOM HOUSE GROUP LTD            ROYALTY DEPT                COLCHESTER          Essex        CO7 7DW      United Kingdom
                                                                                                                                                                         FRATING GREEN
    RANDOM HOUSE GROUP                      ROYALTY DEPARTMENT             COLCHESTER ROAD                                                   TBS DISTRIBUTION CENTRE     COLCHESTER          Essex        CO7 7DW      United Kingdom
    RANDOM HOUSE GROUP LTD                                                 20 VAUXHALL BRIDGE ROAD                                                                       LONDON                           SW1V 2SA     United Kingdom
                                                                                                           TBS DISTRIBUTION CENTER -
    RANDOM HOUSE GROUP LTD                                                 COLCHESTER RD FRATING GREEN     ROYALTY DEPT                                                  COLCHESTER                       CO7 7DW      United Kingdom
                                                                                                                                             TBS DISTRIBUTION CENTER -
    RANDOM HOUSE GROUP LTD                                                 COLCHESTER RD FRATING GREEN                                       ROYALTY DEPT                COLCHESTER          Essex        CO7 7DW      United Kingdom
    RANDOM HOUSE GROUP UK                   JONATHAN CAPE / ROYALTY DEPT   20 VAUXHALL BRIDGE ROAD                                                                       LONDON                           SW1V 2SA     United Kingdom
                                                                           TBS DISTRIB CENTRE COLCHESTER
    RANDOM HOUSE INC                        ROYALTY DEPT                   RD                            FRATING GREEN                                                                       Essex        C07 7DW      United Kingdom
                                                                           TBS DISTRIB CENTRE COLCHESTER
    RANDOM HOUSE INC                                                       RD                            FRATING GREEN                                                                       Essex        C07 7DW      United Kingdom
    RANDOM HOUSE INC                        DEPT 0919                      PO BOX 120001                                                                                 DALLAS              TX           75312-0919
    RANDOM HOUSE INC                        Attn Subrights Accounting      1745 BROADWAY MAIL DROP 3-2                                                                   NEW YORK            NY           10019
    RANDOM HOUSE INC                        ATTN RIGHTS ACCOUNTING         1745 BROADWAY MAILDROP 15-4                                                                   NEW YORK            NY           10019
    RANDOM HOUSE INC                                                       1019 N STATE ROAD 47          RETURNS DEPT                                                    CRAWFORDVILLE       IN           47933
                                                                                                         ROYALTY AND SUBRIGHTS
    RANDOM HOUSE INC                                                       1745 BROADWAY, 3RD FLOOR      ACCOUNTING                          ATTN ANGELA ALESCI          NEW YORK            NY           10019
                                                                                                         J P MORGAN CHASE BANK - ACC#
    RANDOM HOUSE INC                                                       G P O 5323                    321-030-893                                                     NEW YORK            NY           10087-5323
    RANDOM HOUSE INC                                                       PO BOX 120001                                                                                 DALLAS              TX           75312-0919
    RANDOM HOUSE INC                                                       P O BOX 223384                                                                                PITTSBURGH          PA           15251-2384
    RANDOM HOUSE INC                                                       P O BOX 29025                 C/O JP MORGAN CHASE BANK                                        NEW YORK            NY           10087-9025
                                                                                                         ATTN KARA BRISTOW - CONTRACT
    RANDOM HOUSE OF CANADA LTD                                             ONE TORONTO STREET STE 300    ASSOCIATE                                                       TORONTO             ON           M5C 2V6      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                 368 of 488                                                                                                        1:26 PM
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                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                             Address2                          Address3                 City           State       Zip            Country
                                                                                                                                                   TBS DISTRIBUTION CENTER -
    RANDOM HOUSE UK LIMITED                                                COLCHESTER RD FRATING GREEN                                             ROYALTY DEPT                COLCHESTER         Essex        CO7 7DW      United Kingdom
    RANDSTAD                                                               P O BOX 2084                                                                                        CAROL STREAM       IL           60132
    RANDY BOMER                                                            10002 WILD DUNES DR                                                                                 AUSTIN             TX           78747
    Randy Dickson                                                          13024 Silver Creek                                                                                  Austin             TX           78727
    Randy Erickson                                                         20 Highpoint                                                                                        Trabuco Canyon     CA           92679
    RANDY ERICKSON                                                         701 7TH STREET                                                                                      HERMOSA BEACH      CA           90254
    RANDY GLASBERGEN                                                       PO BOX 797                                                                                          SHERBURNE          NY           13460
    Randy Parker                                                           137 Easthaven Drive                                                                                 Brandon            MS           39042
    RANDY T ANDERSON                        DBA BENEGRANT                  12277 APPLE VALLEY ROAD # 240                                                                       APPLE VALLEY       CA           92308
    Randy Testa                                                            5 MALCOLM ROAD                                                                                      CAMBRIDGE          MA           02138
    RANDY VICKERS                                                          2437 29TH AVENUE SOUTH                                                                              MINNEAPOLIS        MN           55406
    RANDY W ROBERTS                                                        807 HIGHLAND AVENUE                                                                                 LAFAYETTE          IN           47905
    Randy W Vickers                                                        2437 29TH AVE S                                                                                     MINNEAPOLIS        MN           55406
    RANGE ROAD MUSIC INC                    C/O CARLIN AMERICA INC         126 EAST 38TH STREET                                                                                NEW YORK           NY           10016
    RANGE ROAD MUSIC INC                                                   126 E 38TH ST                                                           C/O CARLIN AMERICA INC      NEW YORK           NY           10016
    RANGE ROAD MUSIC INC                                                   126 EAST 38TH STREET                                                                                NEW YORK           NY           10016
    Rankin, Lane
    RANSOME JAMES                                                          107 KNOLLWOOD ROAD                                                                                  RHINEBECK          NY           12572
    Ranston K Chandler                                                     11813 Estates Club Drive          1418                                                              Orlando            FL           32825
    Rao, Susan
    RAPHAEL SAGALYN INC                                                    4922 FAIRMONT AVE STE 200                                                                           BETHESDA           MD           20814
    RAPHAEL SAGALYN INC                                                    4922 FAIRMOUNT AVE STE 200                                                                          BETHESDA           MD           20814
    RAPID SOFTWARE SOLUTIONS LLC                                           1081 BRIARCLIFF ROAD                                                                                ATLANTA            GA           30306
    RAPID7 LLC                                                             LOCK BOX - P O BOX 347377                                                                           PITTSBURGH         PA           15251-4377

    RAPIDES PARISH SALES TAX FUND           SALES AND USE TAX DEPARTMENT   PO BOX 60090                                                                                        NEW ORLEANS        LA           70112
    RAPP GERALD AND CULLEN                                                 420 LEXINGTON AVENUE PH           ATTN GERALD RAPP                                                  NEW YORK           NY           10170
    RAQUEL C MIRELES                                                       7538 E 2ND STREET                                                                                   DOWNEY             CA           90241

    RAQUEL LAREDO                           DBA LAREDO PUBLISHING COMPANY 465 WEST VIEW AVENUE                                                                                 ENGLEWOOD          NJ           07631
    Raquel Liriano                                                        Po Box 1493                                                                                          Haverhill          MA           01831
    RAQUEL M BARTHE                                                       PADRE MONTES CARALLO 1578                                                                            CIUDAD DE                       C1407IXB     Argentina
    RASCHKA CHRIS                                                         310 RIVERSIDE #418                                                                                   NEW YORK           NY           10025
    RASK & ASSOCIATES INC                                                 4902 N 700 W                                                                                         MCCORDSVILLE       IN           46055
    RATHMELL EDWARD C                                                     3844 BEAVER RIDGE CIRCLE                                                                             CEDAR FALLS        IA           50613
    RATIONAL GAMES INC                                                    WALTER BENJAMIN PLATZ 5                                                                              BERLIN                          10629        Germany
    RATTANA YEANG                                                         414 GRAND AVE                                                                                        OAKLAND            CA           94610
    RATTE JOHN                              846 WEST RD                   P O BOX 591                                                                                          ASHFIELD           MA           01330
    RATTIGAN JAMA KIM                                                     12850 KNIGHT ARCH ROAD                                                                               FAIRFAX            VA           22030
    RAUCH-MILLIKEN INTERNATIONAL
    INC                                                                    4400 TRENTON ST. STE A            LEGAL DEPARTMENT                                                  METARIE            LA           70006
    RAUL CONSUNJI                                                          P O BOX 812207                                                                                      WELLESLEY          MA           02482
    Ravanne, Barnaba
    Ravi R Adukambarai                                                     5510 Lincoln Ave                  Unit 207                                                          Morton Grove       IL           60053
    Ravindran Rethinam                                                     904 village road e                                                                                  Norwood            MA           02062-2820
    RAVOSA CARMINO                                                         60 HAZELTON CIR                                                                                     BRIARCLIFF MANOR   NY           10510
    RAW - RINNIGADE ART WORKS               DBA QRSTS.COM                  561 WINDSOR ST STE A301                                                                             SOMERVILLE         MA           02143
    RAW BOOKS & GRAPHICS                                                   27 GREENE STREET                                                                                    NEW YORK           NY           10013
    Ray A. Shepard                                                         37 Beaver Pond Road                                                                                 Lincoln            MA           01773
    RAY DEBORAH KOGAN                                                      810 SOUTH HAMPTON AVENUE                                                                            WYNDMOOR           PA           19038
    RAY DELIA                                                              3976 FAWN LANE NE                                                                                   IOWA CITY          IA           52240
    RAY DUFFY                               DBA GREENFLOW INTERNATIONAL    5870 MELROSE AVE, STE 3-555                                                                         LOS ANGELES        CA           90038
    RAY FENWICK                                                            81 LIPTON ST                                                                                        WINNIPEGS          MB           R3G 2G6      Canada
    RAY LINCOLN LITERARY AGENCY             C/O JOSEPH L LINCOLN           400 HELEN CIRCLE                                                                                    NARBERTH           PA           19072
    Ray Mackie                                                             540 Saratoga Circle                                                                                 Algonquin          IL           60102
    Ray Shepard                                                            37 Beaver Pond Road                                                                                 Lincoln            MA           01773
    Ray Sluss                                                              802 S 15th St                     #1855                                                             Sebring            OH           44672
    Ray Sluss                                                              802 S 15th St                     #1855                                                             Sebring            OH           44672-2098
    Ray Smith                                                              PO Box 970                                                                                          Pacific City       OR           97135
    RAY VARNADO CLARKE                                                     201 BURNET DRIVE                                                                                    BAYTOWN            TX           77520-1342
    Ray Zinanni                                                            240 Pearl Street                                                                                    Reading            MA           01867
    RAYAPPAN CONSULTING INC                                                2114 W ERIE ST #3W                                                                                  CHICAGO            IL           60612-1357
    RAYFORD C PARHAM                        DBA PARHAM PACKAGING           PO BOX 384                                                                                          NORCROSS           GA           30091
    Raymond Allard                                                         786 Ocean Ave                                                                                       Wells              ME           04090
    RAYMOND BIAL                                                           208 WEST IOWA STREET                                                                                URBANA             IL           61801
    RAYMOND CHARLOTTE                                                      32 BRADLEE ROAD                                                                                     MARBLEHEAD         MA           01945
    Raymond Despres                                                        2 Walker Road                     Unit 10                                                           North Andover      MA           01845
    Raymond Deveaux                                                        3411 St Louis Avenue                                                                                Minneapolis        MN           55416
    RAYMOND E DAVIS                                                        PO BOX 1379                                                                                         SALADO             TX           76571



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                       369 of 488                                                                                                       1:26 PM
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                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                          Address2              Address3            City         State       Zip              Country
    RAYMOND E WICKS                                                        2424 NORMANDY DRIVE                                                              ST LOUIS         MO           63121
    RAYMOND G PFORTNER                                                     27520 94TH AVE SW                                                                VASHON ISLAND    WA           98070
    Raymond Kavey                                                          1700 Meeting Place               209                                             Orlando          FL           32814
                                            DBA WORDS OF WISDOM EDUCNL
    RAYMOND KEITH PRUITT                    CONSULTING                     803 HADLEY AVENUE                                                                OLD HICKORY      TN           37138
    Raymond Lang                                                           4 JasonS Lane                                                                    Osterville       MA           02655
    Raymond Leasing Corporation                                                                                                                             Greene           NY           13778-0130

    RAYMOND LEASING CORPORATION                                            P O BOX 203905                                                                   HOUSTON          TX           77216-3905
    Raymond Miller                                                         4108 Greenwood                                                                   Mansfield        TX           76063
    Raymond Miller                                                         435 W. Starin Road               Apt 303AA                                       Whitewater       WI           53190
    Raymond Smith               Raymond L Smith, Consulting                PO Box 970                                                                       Pacific City     OR           97135
    Raymonnd Gallerani                                                     2930 Duff Dr.                                                                    Arlington        TX           76013
    Raymsayer, Lee
    Raymundo Rodriguez                                                     6149 Paseo Palero                                                                Carlsbad         CA           92009

    RAYS TRASH SERVICE INC                                                 DRAWER 1, 3859 E US HIGHWAY 40                                                   CLAYTON          IN           46118
    RBRO SOLUTIONS INC                                                     1101 KINGSTON RD                                                                 PICKERING        ON           L1V 1B5      Canada
    RBS Greenwich Capital-FM
    RCM TECHNOLOGIES                                                       PO BOX 7777-W0570                                                                PHILADELPHIA     PA           19175
    RCN CORPORATION                                                        P O BOX 11816                                                                    NEWARK           NJ           07101-8116
    RCS LIBRI SPA                                                          VIA RIZZOLI 8                                                                    MILAN                         20132        Italy
    RCT INC                                                                444 FAIRMONT AVENUE                                                              WINCHESTER       VA           22601
    RDC AGENCIA LITERARIA SL                                               3 DERECHA                        FERNANDO V, 15                                  MADRID                        28004        Spain
    RDK Consulting Services                 Robert D. Kuklis               254 Stratton Road                                                                New Rochelle     NY           10805-1419
    RDS - AZ                                AZ BUSINESS LICENSE            P O BOX 830725                                                                   BIRMINGHAM       AL           35283-0725
    RDS-ARIZONA                             AZ-PRIVILEGE TAX               PO BOX 830725                                                                    BIRMINGHAM       AL           35283
    REACH OUT AND READ                                                     56 ROLAND STREET, STE 100D                                                       BOSTON           MA           02472
    READ WRITE CONNECT INC                                                 536 GRAND ST 501                 ATTN HOPE LEAH MERMELSTEIN                      HOBOKEN          NJ           07030
    READABILITY INC                                                        1517 HIGHLAND VALLEY CIR                                                         WILDWOOD         MO           63005
    READE DORNAN                                                           2308 GROESBECK AVE                                                               LANSING          MI           48912

    READERS DIGEST ASSOCIATION INC                                         750 THIRD AVENUE 4TH FLOOR                                                       NEW YORK         NY           10017
    READING & WRITING PROJECT
    NETWORK LLC                                                            18 PELHAM LANE                                                                   RIDGEFIELD       CT           06877
    READING MATTERS                                                        806 MAIN STREET                                                                  AKRON            PA           17501
    READING MUNICIPAL LIGHT DEPT                                           PO BOX 30                                                                        READING          MA           01867
                                                                           500 W WILSON BRIDGE ROAD STE
    READING RECOVERY COUNCIL                                               250                                                                              WORTHINGTON      OH           43085
    READING REPTILES INC                                                   328 W 63RD STREET                                                                KANSAS CITY      MO           64113
    READISUITE LLC                                                         600 TOWNSEND ST, STE 120E                                                        SAN FRANCISCO    CA           94103
    READMORE ACADEMIC SERV                                                 P O BOX 1459                                                                     BLACKWOOD        NJ           08012
    READMORE PUBLICATIONS                                                  22 CORTLANDT ST                                                                  NEW YORK         NY           10007
    REAL RESULTS INC                        SUEY CREATIVE                  2658 GRIFFITH PARK BLVD #813                                                     LOS ANGELES      CA           90039
    REAL SOFTWARE SYSTEMS LLC                                              21255 BURBANK BOULEVARD                                                          WOODLAND HILLS   CA           91367
    REALTY ASSOCIATES FUND V LP             SENTRE PARTNERS INC            401 WEST A STREET STE 3000                                                       SAN DIEGO        CA           92101
    REALVNC LTD                                                            104 HILLS ROAD                   BETJEMAN HOUSE                                  CAMBRIDGE                     CB2 1LQ      United Kingdom
    REAMONN SMALE                                                          4222 NW 83RD LANE                                                                CORAL SPRINGS    FL           33065
    REASON FOUNDATION                       SUITE 400                      3415 SOUTH SEPULVEDA BLVD                                                        LOS ANGELES      CA           90034
    REBA M GRIBBEN                                                         0S997 MILL CREEK CIRCLE EAST                                                     GENEVA           IL           60134
    REBA WADSWORTH                                                         2003 CHAPEL HILL                                                                 DECATUR          AL           35603
    REBEBCCA N DE HOYOS CRUZ                                               P O BOX 464                                                                      BAYAMON          PR           00960
    Rebeca Lallave                                                         Po Box 1868                                                                      Euless           TX           76039
    REBECCA B BURR                                                         1614 DEXTER DRIVE                                                                FLORENCE         SC           29501
    REBECCA B FAERY                                                        23 WILLIAM STREET                                                                CAMBRIDGE        MA           02139
    Rebecca Barlow                                                         410 Clubfield Dr.                                                                Roswell          GA           30075
    REBECCA BARTHE BREAUD                                                  13391 STONELAKE DR                                                               FOLSOM           LA           70437
    REBECCA BLAIS                                                          219 1ST ST                                                                       SCOTIA           NY           12302
    REBECCA BOND                                                           54 ROSSMORE ROAD 2                                                               BOSTON           MA           02130
    Rebecca Bond                                                           54 Rossmore Rd                   Apt #2                                          Jamaica Plain    MA           02130
    REBECCA BOWERS SIPE                                                    8140 WEST HURON RIVER DR                                                         DEXTER           MI           48130
    REBECCA C JONES                                                        1692 COVENTRY PLACE                                                              ANNAPOLIS        MD           21401
    Rebecca Carolus                                                        12 Commonwealth Avenue           Apt 602                                         Boston           MA           02116
    REBECCA CENTERINO                                                      2569 GROVER RIDGE DRIVE                                                          GROVER           MO           63040
    Rebecca Coldwell                                                       517 Van Hook Rd.                                                                 Owego            NY           13827
    Rebecca Curreri                                                        3 Hunnewell Street               Unit 3                                          Melrose          MA           02176
    REBECCA DIAZ MILAY                                                     14383 LORD BARCLAY DR                                                            ORLANDO          FL           32837
    Rebecca Doss                                                           408 Yucca House Drive                                                            Pflugerville     TX           78660
    REBECCA FERRELL                                                        5316 OAKWOOD DRIVE                                                               SHEFFIELD        OH           44054
    Rebecca Fisher                                                         1840 Pebble Beach Circle                                                         Elgin            IL           60123



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     370 of 488                                                                                     1:26 PM
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                                                                                                                        of 519
                                                                                                                       First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                          Address2              Address3                City        State       Zip            Country
    Rebecca Floyd                                                          420 Craig Circle                                                                  Highland Village    TX           75077
    Rebecca Galipeau                                                       555 Main St.                     #4                                               Woburn              MA           01801
                                                                           UNI SOUTH AL/COLG OF ED UCOM
    REBECCA GILES                                                          3100                                                                              MOBILE              AL           36688-0002
    Rebecca Hankin                                                         8643 Springfield                                                                  Skokie              IL           60076
    REBECCA HARLIN                                                         1350 BRAEWOOD AVENUE                                                              HIGHLANDS RANCH     CO           80129
    Rebecca Hatcher                                                        24763 E Main Street                                                               Columbus            NJ           08022
    Rebecca J Christian                                                    8650 Spicewood Springs           Suite 145-406                                    Austin              TX           78759
    REBECCA JOHNSON                                                        81 FORT GREENE PL #3                                                              BROOKLYN            NY           11217
    REBECCA JOSEPHEN GORINAC                                               5249 ROBINWOOD DR                                                                 CLYDE TOWNSHIP      MI           48049
    Rebecca K Beck                                                         1210 Simpson St                  Apt 3                                            Evanston            IL           60201
    Rebecca Kinnamon                                                       6005 Dustin Dr                                                                    Watauga             TX           76148
    REBECCA L BAIRD                                                        1320 LOUISE LANE                                                                  SALINA              KS           67401
    REBECCA MAKKAI FREEMAN                                                 1500 WEST KENNEDY ROAD                                                            LAKE FOREST         IL           60045
    Rebecca Mancini                                                        43 Linden Ave                                                                     Verona              NJ           07044
    Rebecca Mayes                                                          225 Medford Drive                                                                 Colorado Springs    CO           80921
    REBECCA MIKULEC                                                        1476 FAIRHAVEN DRIVE                                                              SAN JOSE            CA           95118
    Rebecca Mulzer                                                         58 Temple Street                 #3                                               Boston              MA           02114
    REBECCA MULZER                                                         58 TEMPLE STREET                                                                  BOSTON              MA           02114
    Rebecca Powell                                                         219 Poinciana Circle                                                              Kissimmee           FL           34744
    Rebecca R. Cole                                                        462 East Sixth St                Apt #3                                           South Boston        MA           02127
    Rebecca Roberts                                                        47 Ramoth Rd.                                                                     Asheville           NC           28804
    REBECCA RULE                                                           178 MOUNTAIN AVENUE                                                               NORTHWOOD           NH           03261
    REBECCA S NOWACEK                                                      9884 E ARGONNE DRIVE                                                              WAUWATOSA           WI           53222
    Rebecca Saikia-Wilson                                                  32 Yale Ave.                                                                      Wakefield           MA           01880
    REBECCA SAPP                                                           727 N LAFAYETTE PARK PL, APT 1                                                    LOS ANGELES         CA           90026
    Rebecca Smith                                                          6267 Hwy K                                                                        Troy                MO           63379
    Rebecca Smith                                                          833 Beacon St.                   Apt. 504                                         Boston              MA           02215
    Rebecca Springer                                                       83 Lowell Street                                                                  Andover             MA           01810
    Rebecca Stech                                                          2382 Oakfield Drive                                                               Aurora              IL           60504
    REBECCA STICE                                                          2309 CLARK ROAD                                                                   FORT LEWIS          WA           98433
    Rebecca Turco                                                          100 Wharf St                     Unit D                                           Salem               MA           01970

    REBECCA UNDERWOOD                       C/O RESTLESS YOUTH PRESS/ ZUZU 172 EAST 4TH STREET APT 5F                                                        NEW YORK            NY           10009
    REBECCA VAN ALSTYNE                                                    3176 PEACODE CIR                                                                  MACEDON             NY           14502
    REBECCA WEST                                                           1502 SYLVAN WYNDE                                                                 LOUISVILLE          KY           40205
    REBECCA WOLFERSBERGER                                                  53-972 KAMEHAMEHA HWY                                                             HAUULA              HI           96717
    REBECCAS CAFE INC                       DBA EAST MEETS WEST            212 OLD COLONY AVENUE                                                             BOSTON              MA           02127
    REBEKAH ANN FRUMKIN                                                    2090 TRENTON ROAD                                                                 LIBERTYVILLE        IL           60048
    Rebekah Coudriet                                                       1262 Alapaha Ln                                                                   Orlando             FL           32828
    Rebekka James                                                          1517 Brummel Street                                                               Evanston            IL           60202

    REBEL WRAP LLC                          DBA CARSON WRAPPED HERSHEYS 3115 HOMEWARD WAY                                                                    FAIRFIELD           OH           45014
    REBUILDING TOGETHER INC                                             1899 L STREET NW STE 1000                                                            WASHINGTON          DC           20036
    RECALL TOTAL INFORMATION
    MANAGEMENT INC                                                         P O BOX 841693                                                                    DALLAS              TX           75284-1693
    RECORDED BOOKS, INC                                                    270 SKIPJACK ROAD                                                                 PRINCE FREDERICK    MD           20678
    RECTOR AND VISITORS                     UNIVERSITY OF VIRGINIA         PO BOX 400202                                                                     CHARLOTTESVILLE     VA           22904-4202
    RECTOR AND VISITORS OF THE
    UNIV OF                                 VIRGINIA                       7054 HAYCOCK RD                                                                   FALLS CHURCH        VA           22043
    RECYCLING SERVICES INC                  DBA ALLSHRED SERVICES          3940 TECHNOLOGY DR                                                                MAUMEE              OH           43537
    RED BALLOON                                                            891 GRAND AVENUE                                                                  SAINT PUAL          MN           55105
    RED CANOE PUBLISHING                                                   526 PARKSTONE LN                                                                  WOODSTOCK           GA           30189

    RED CLAY CONSULTING INC                                                730 PEACHTREE STREET SUITE 640 ATTN ACCOUNTS RECEIVABLE                           ATLANTA             GA           30308
    Red Coat Publishing LLC                                                PO Box 842502                                                                     Boston              MA           02284-2502
    RED DRAGON BOOK STORE                   STATE UNIVERSITY COLLEGE       HUNT UNION BLDG LOWER LEVEL                                                       ONEONTA             NY           13820
    RED GATE SOFTWARE LIMITED                                              PO BOX 845066                                                                     BOSTON              MA           02284
                                                                                                          1ST & 2ND FLOORS NEWNHAM
    RED GATE SOFTWARE LTD                                                  CAMBRIDGE BUSINESS PARK        HOUSE                                              CAMBRIDGE                        CB4 0WZ      United Kingdom

    RED HAWK SECURITY SYSTEMS INC                                          DEPT CH 14249                                                                     PALATINE            IL           60055
    Red Line Olympia              Attn Emily N. Roberts                    2300 Evergreen Park Drive SW                                                      Olympia             WA           98502
    Red Robin                                                              8355 Park Meadows Center                                                          Littleton           CO           80124
    Red Rock Casino               c/o Michael Punchios                     11011 W. Charleston Blvd.                                                         Las Vegas           NV           89135
    RED SILVER AND BLACK SPIRIT
    BOOSTERS                                                               25 OWENS COURT                                                                    HAMPSTEAD           NH           03841
    RED TONY MORLEY               DBA RED RACER STUDIO                     1423 NORCREST AVENUE NORTH                                                        STILLWATER          MN           55082
    REDEEMER LUTHERAN CHURCH                                               2215 N WAHSATCH                                                                   COLORADO SPRINGS    CO           80907
    REDMOND MARK V                                                         822 HODGE AVENUE                                                                  AMES                IA           50010



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      371 of 488                                                                                       1:26 PM
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                                                                                                                          of 519
                                                                                                                     First Class Service List


             CreditorName                             CreditorNoticeName                  Address1                        Address2                         Address3                       City           State       Zip           Country
    REDPATH STUDIOS                                                          303-55 EAST CORDOVA ST                                                                              VANCOUVER          BC           V6A 0A5      Canada
    REDSAND ANNA                                                             2632 INDIANA STREET NE                                                                              ALBUQUERQUE        NM           87110
    REDUX PICTURES LLC                                                       11 HANOVER SQUARE 26TH FL                                                                           NEW YORK           NY           10005
    REDWOOD SOFTWARE INC                                                     3000 AERIAL CENTER PKWY # 115                                                                       MORRISVILLE        NC           27560

    REECE MARK SPENCER                      IGLESIA CATEDRAL DEL REDENTOR CALLE BENEFICENCIA # 18                                                                                MADRID                          28004        Spain
    REED BUSINESS INFORMATION                                             PO BOX 7247 7026                                                                                       PHILADELPHIA       PA           19170
    REED ELSEVIER INC                       DBA LEXISNEXIS                9443 SPRINGBORO PIKE               ATTN KIMBERLIE CRAMER                                               MIAMISBURG         OH           45342
    REED ELSEVIER INC                       DBA LEXISNEXIS                PO BOX 7247-7090                                                                                       PHILADELPHIA       PA           19170-7090
    REED ELSEVIER INC                                                     9443 SPRINGBORO PIKE               ATTN KIMBERLIE CRAMER                                               MIAMISBURG         OH           45342
    REED ELSEVIER INC                                                     PO BOX 7247-7090                                                                                       PHILADELPHIA       PA           19170-7090
    REED EXHIBITIONS                        BOOKEXPO AMERICA              PO BOX 7247-7585                                                                                       PHILADELPHIA       PA           19170
    REED EXHIBITIONS                                                      383 MAIN AVENUE                                                                                        NORWALK            CT           06851
    REED EXHIBITIONS                                                      PO BOX 7247-7585                                                                                       PHILADELPHIA       PA           19170
    REED EXHIBITIONS LTD                    AVON HOUSE                    435 STRATFORD ROAD                                                    SHIRLEY                          West Midlands                   B90 4AA      United Kingdom
    REED KARAIM                                                           5650 E 6TH ST                                                                                          TUCSON             AZ           85711
    REED POP                                C/O REED EXHIBITIONS          P O BOX 7247-7585                                                                                      PHILADELPHIA       PA           19170-7585
    REEDY EQUIPMENT SERVICE                 DBA ICE TOWN                  50 EISENHOWER LN NORTH                                                                                 LOMBARD            IL           60148
    REEF CATHERINE                                                        4613 AMHERST ROAD                                                                                      COLLEGE PARK       MD           20740
    REEL PRO VIDEO INC                                                    2 WEST WILSON STREET                                                                                   BATAVIA            IL           60510
    REEM ABU LIBDEH                                                       64 CHILMARK ST APT 2                                                                                   WORCESTER          MA           01604
    REES LORIN                              DBA REES LITERARY AGENCY      14 BEACON STREET STE 710                                                                               BOSTON             MA           02108-3735
    REEVE LINDBERGH CHILDREN
    TRUST                                                                    270 PARK AVENUE 16TH FLOOR      C/O FERN SILVERSTEIN                                                NEW YORK           NY           10167-0001
    REFORMA                                                                  P O BOX 4386                                                                                        FRESNO             CA           93744
    REGAL CINEMEDIA CORPOTAION              ATTN CBO FULFILLMENT             7132 REGAL LANE                                                                                     KNOXVILLE          TN           37918
    REGAL LITERARY INC                      THE CAPITOL BUILDING             236 W 26TH ST # 801                                                                                 NEW YORK           NY           10001
    REGAL LITERARY INC                                                       226 W 26 ST SUITE 801                                                                               NEW YORK           NY           10001
    Regency Office Products, LLC                                             8024 Glenwood Ave               Suite 200                                                           Raleigh            NC           27612
    Regent University                       Attn Rick Hall                   1000 Regent University Dr.                                                                          VIRGINIA BEACH     VA           23464
    REGENTS OF THE UNIV OF CA -
    BERKELEY                                THE BANCROFT LIBRARY             140 UNIVERSITY HALL # 1111                                                                          BERKELEY           CA           94720-6000
    REGENTS OF THE UNIV OF CA -
    BERKELEY                                ATTN ANTHONY BLISS               140 UNIVERSITY HALL # 1111                                                                          BERKELEY           CA           94720-6000
    REGENTS OF THE UNIV OF
    CALIFORNIA                              UNIV OF CALIFORNIA PRESS         2120 BERKELEY WAY               ATTN PERMISSION SUPERVISOR                                          BERKELEY           CA           94704
    REGENTS OF THE UNIV OF
    CALIFORNIA                                                               1156 HIGH ST                    U OF CA, SOC SIC DIV                                                SANTA CRUZ         CA           95064
    REGENTS OF THE UNIV OF
    CALIFORNIA                                                               2120 BERKELEY WAY               ATTN PERMISSION SUPERVISOR                                          BERKELEY           CA           94704
    REGENTS OF THE UNIV OF
    CALIFORNIA - LA                         ATT SHIRLEY SAMS                 10920 WILSHIRE BLVD 5TH FL                                                                          LOS ANGELES        CA           90024-1433
    REGENTS OF THE UNIVERSITY OF
    MICHIGAN                                                                 1214 SOUTH UNIVERSITY           ATTN RICHARD BRANDON                                                ANN ARBOR          MI           48104
    REGENTS OF UNIV OF CALIFORNIA
    DAVIS                                                                    ONE SHIELD AVENUE                                                                                   DAVIS              CA           95616
    REGENTS OF UNIVERSITY                                                                                    ATTN UC RIVERSIDE-CASHIERS
    CALIFORNIA                                                               900 UNIVERISTY AVENUE           OFFICE                                                              RIVERSIDE          CA           92521-0106
    REGENTS OF UNIVERSITY OF
    COLORADO                                                                 1420 AUSTIN BLUFFS PKWY                                                                             COLORADO SPRINGS   CO           80918
    REGENTS UNIVERSITY OF                   HOLLING EST FUND #4-606400/SC-
    CALIFORNIA                              40311                            BOX 60000 FILE 73706                                                                                SAN FRANCISCO      CA           94160-3706
    REGIE ROUTMAN                                                            303 37TH AVENUE EAST                                                                                SEATTLE            WA           98112
    Regina Dreisewerd                                                        10 E Hwy U                                                                                          Troy               MO           63379
                                                                                                             C/O WASHINGTON UNIV TEACHING
    REGINA F FREY                                                            ONE BROOKINGS DRIVE             CENTER                             EADS HALL 105, CAMPUS BOX 1022   ST LOUIS           MO           63130
    Regina Green                                                             6 Bellvista Road                Apt. 5                                                              Brighton           MA           02135
    REGINA HURH KIM                                                          138 MADRONA AVENUE                                                                                  BREA               CA           92821
    Regina Maurer                                                            129 SYLVESTER AVE                                                                                   WINCHESTER         MA           01890
    Regina Miles                                                             5520 Rayburn Ln.                                                                                    Austin             TX           78723
    REGINA ROFF                                                              41 D APPLETREE LANE                                                                                 OLD BRIDGE         NJ           08857
    REGINA RYAN PUBLISHING
    ENTERPRISES INC                                                          251 CENTRAL PARK WEST                                                                               NEW YORK           NY           10024
    REGINA TAYLOR                                                            1512 INDIANTOWN RD                                                                                  KINGSTREE          SC           29556
    Reginald L Wade                                                          4040 FILLMORE POINTE                                                                                MCDONOUGH          GA           30252
    Reginald M Ledain                                                        Calle Margarita AD16            Levittown                                                           Toa Baja           PR           00949

    REGION II ELEMENTARY PRINCIPALS                                          400 CEDAR DALE ROAD                                                                                 PAPILLION          NE           68046
    REGION IV EDUCATION SERVICE
    CENTER                                                                   7145 W TIDWELL                                                                                      HOUSTON            TX           77092-2021



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                    372 of 488                                                                                                            1:26 PM
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                                                                                                                    Pg Creditor
                                                                                                                        380 Matrix
                                                                                                                                of 519
                                                                                                                             First Class Service List


                 CreditorName                      CreditorNoticeName                          Address1                           Address2                              Address3                              City               State       Zip               Country
                                            C/O MARTHA BAGLEY
    REGION ONE VENDOR FAIR                  COORDINATOR                          6323 N AVONDALES STE 228                                                                                        CHICAGO                    IL           60631
    REGIONAL EDUCATIONAL MEDIA
    CENTER                                  ASSOCIATION OF MICHIGAN              321 E OHIO STREET                   ATTN STEVE SCHMUNK                                                          MARQUETTE                  MI           49855
    REGIONAL OFFICE OF EDUCATION            SHARON WINKLER                       202 WEST MAIN ST                                                                                                BENTON                     IL           62812
    REGIONAL SCHOOL DISTRICT # 38                                                45 MILLARD HARRISON DR                                                                                          READFIELD                  ME           04355
    REGIONAL SCHOOL UNIT # 19               MOOSEHEAD TRAIL                      P O BOX 40                                                                                                      NEW PORT                   ME           04953

    REGIONAL YELLOW PAGES ONLINE                                                 38 EAST RIDGEWOOD AVE, BOX 395 ATTN ACA RECOVERY                                                                RIDGEWOOD                  NJ           07450
    Register of Copyrights
    REGISTER OF COPYRIGHTS                                                       LIBRARY OF CONGRESS                                                                                             WASHINGTON                 DC           20540

    REGISTRY OF CHARITABLE TRUSTS                                                P O BOX 903447                                                                                                  SACRAMENTO                 CA           94203-4470
                                                                                                                     CHARLOTTE SHEEDY LITERARY
    REGULA NOETZLI                                                               2344 COUNTY RT 83                   AGENCY INC                                                                     PINE PLAINS             NY           12567
                                                                                                                     Level 7, Metropolis Tower No.2 Haidian
    Regus                                   RE 7/F Metropolis Tower, Suite 735   Catherine Wang                      Dong San St                            Zhongguancun Xi Zone, Haidian District, Beijing                 PR           100080       China
    REGUS BUSINESS CENTER                   AYALON HOUSE 16TH FLOOR              12 ABBA HILLEL ST                   P O BOX 3306                                                                   TEL AVIV                                          Israel
                                                                                 Emirates Bank International, Main   Acct#1011061798106, Swift
    Regus Business Center                   RE Festival Tower, 19th Floor        Branch - Deira                      code#EBILAED
    REGUS BUSINESS CENTRE                                                        FESTIVAL TOWER 19TH FL                                                                                             FESTIVAL CITY DUBAI                               United Arab Emirates
    Regus Business Centres Ltd.             RE 12 Abba Hillel Street             12 Abba Hillel Street               P. O. Box 3306                                                                 Tel Aviv                             52136

    REGUS BUSINESS CONSULTANCY              BEIJIN (LTD)                         HAIDIAN DONG SAN ST                 LEVEL 7 METROPOLIS TOWER NO 2                                               HAIDIAN DISTRICT BEIJING                100080       China
    REGUS MANAGEMENT DE MEXICO
    SA DE CV                                ZENTRUM SANTA FE (HQ)                AV SANTA FE 495 PISO 4                                                                                          MEXICO CITY                             05349        Mexico
    REGUS MANAGEMENT DE MEXICO
    SA DE CV                                                                     AV SANTA FE 495 PISO 4                                                                                          MEXICO CITY                             05349        Mexico
    Regus Management de Mexico SA de                                                                                 Sort Code 063000021, Swift Code
    CV                                      RE Av. Santa Fe 495, Piso 4          Wachovia Bank, Acct#2000016769029   PNBPUS33
    REICH SUSANNA                                                                5 BELLE AVE                                                                                                     OSSINING                   NY           10562
    REID AXMAN                                                                   7040 W ST CHARLES AVENUE                                                                                        LAVEEN                     AZ           85339
    REID FIONA                                                                   7243 15 SIDE ROAD RR3                                                                                           MILTON                     ON           L9T 2X7      Canada
    REID GOLDSBOROUGH                                                            756 SUFFOLK RD                                                                                                  RYDAL                      PA           19046
    REID LOUANN                                                                  2538 TUCKER CT                                                                                                  FORT COLLINS               CO           80526
                                                                                 PRADERA DEL RIO # 3112 CALLE RIO
    REINALDO OQUENDO VEGA                                                        BUCANA                                                                                                          TOA ALTA                   PR           00953-9111
    REINDL NICHOLSTONE LLC                  CORPORATE OFFICE                     11381 MCCORMICK DR                                                                                              GERMANTOWN                 WI           53022-3033
    REINE BETHANY                                                                61 WILLIAM STREET                                                                                               HEMPSTEAD                  NY           11550-5141
    Reinette Staaf                                                               20 Rockport Rd                                                                                                  Gloucester                 MA           01930
    Reka Simonsen                                                                130 St. Marks Place               #1R                                                                           Brooklyn                   NY           11217
    REL ENTERPRISES INC                                                          200 LINDELL BLVD STE 920                                                                                        DELRAY BEACH               FL           33483
    RELCO KOHLHASE COMPANY INC                                                   121 LAFAYETTE ROAD                                                                                              NO HAMPTON                 NH           03862
    RELEAH C LENT                           DO NO TUSE                           199 THREE OAKS CIRCLE                                                                                           MORGANTON                  GA           30560
    RELEAH LENT INC                         EDUCATIONAL CONSULTING               199 THREE OAKS CIRCLE                                                                                           MORGANTON                  GA           30560
    RELIANCE MECHANICAL INC                                                      233 SWANSON DR STE A                                                                                            LAWRENCE                   GA           30043
    RELIASTAR LIFE INSURANCE
    COMPANY                                 ING                                  20 WASHINGTON AVENUE SOUTH                                                                                      MINNEAPOLIS                MN           55441
    REM SYSTEMS INC                                                              PO BOX 436                                                                                                      MALVERN                    PA           19355
    REMBAR AND CURTIS                                                            PO BOX 908                                                                                                      CROTON FALLS               NY           10519-0905
    REMINGTON STAFFORD                                                           7650 BUSH AVE                                                                                                   PASADENA                   MD           21122
    REMUS ROBINSON ACADEMY                                                       13000 ESSEX ST                                                                                                  DETROIT                    MI           48215
    RENA UPITIS                             QUEENS UNIVERSITY                    FAC ED-DUNCAN MC HALL                                                                                           KINGSTON                   ON           K7L 4N6      Canada

    Renaissance Chicago North Shore Hotel                                        933 Skokie Boulevard                                                                                            Northbrook                 IL           60062
    RENAISSANCE HARBORPLACE
    HOTEL                                                                        202 EAST PRATT STREET                                                                                           BALTIMORE                  MD           21202-6101
    RENAISSANCE HIGH SCHOOL                                                      6565 W OUTER DRIVE                                                                                              DETROIT                    MI           48235
    RENAISSANCE LEARNING INC                                                     2911 PEACH STREET                                                                                               WISCONSIN RAPIDS           WI           54494
    RENAISSANCE LEARNING INC                                                     P O BOX 8036                        ATTN RUSSELL ANDERSON                                                       WISCONSIN RAPIDS           WI           54495-8036
    RENAISSANCE LEARNING INC                                                     PO BOX 8036                                                                                                     WISCONSIN RAPIDS           WI           54495
    RENAISSANCE LEARNING, INC                                                    PO BOX 8060                                                                                                     WISCONSIN RAPIDS           WI           54495-8060
    RENAISSANCE MANAGEMENT INC                                                   2300 W PARK PLACE SUITE 146                                                                                     STONE MOUNTAIN             GA           30087
    RENAISSANCE ORLANDO RESORT                                                   6677 SEA HARBOR DRIVE                                                                                           ORLANDO                    FL           32399
    RENARD PAPER COMPANY INC                                                     PO BOX 790056                                                                                                   ST LOUIS                   MO           63179
    RENATE REISS                                                                 411 ROXBURY ROAD                                                                                                HUDSON                     NY           12534
    RENATE WISE                                                                  514 EDWARDS DRIVE                                                                                               ROUND ROCK                 TX           78664
    RENATO ROTOLO                                                                P O BOX 1393                                                                                                    WEAVERVILLE                NC           28787
    Rene Preston                                                                 606 Waverly Lane                                                                                                Maitland                   FL           32751
    RENE SALDANA JR                                                              5720 89TH STREET                                                                                                LUBBOCK                    TX           79424



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                             373 of 488                                                                                                                             1:26 PM
                                                      12-12171-reg          Doc 136              Filed 07/15/12 Exhibit
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                                                                                                           Pg Creditor
                                                                                                               381 Matrix
                                                                                                                       of 519
                                                                                                                 First Class Service List


                 CreditorName              CreditorNoticeName                           Address1                      Address2              Address3               City         State       Zip      Country
    Rene Stofflett                                                        1824 Oslo Ct.                                                                Mundelein           IL           60060
    RENE WHITE                                                            9771 BLUE VIOLET DRIVE                                                       NOBLESVILLE         IN           46060
    Renee Clark                                                           25 Weepingridge Ct                                                           San Mateo           CA           94402
    RENEE D KAY                                                           182 HILLVIEW DRIVE                                                           SPRINGFIELD         PA           19064
    RENEE D ZULLO                                                         110 SNOW FOUNTAIN LANE                                                       MOORESVILLE         NC           28115
    RENEE DINNERSTEIN                                                     415 FIRST STREET                                                             BROOKLYN            NY           11215
    RENEE E LEWIS                                                         42201 RICE DR                                                                ALTOONA             FL           32702-9642
    RENEE GRUNTMEIR                                                       1033 NW 166 TERR                                                             EDMOND              OK           73012
    RENEE HOBBS                                                           308 S 2ND STREET                                                             PHILADELPHIA        PA           19106
    RENEE M NICHOLLS                                                      4 PATRICIA AVENUE                                                            EXETER              NH           03833
    Renee Mary                                                            Po Box 232                                                                   Prides Crossing     MA           01965
    RENEE P JONES                                                         12450 HWY 397                                                                LOUISVILLE          MS           39339
    RENEE S MCCRACKEN                                                     3219 LIBERTY AVE                                                             ALAMEDA             CA           94501
    Renee Tabor                                                           103 Wintergreen Farm Rd                                                      Pembroke            MA           02359
    RENEE VERA CAFIERO                                                    519 ELEVENTH STREET                                                          BROOKLYN            NY           11215
    RENSSELAER COUNTY HISTORICAL
    SOCIETY                                                               57 SECOND STREET                                                             TROY                NY           12180
    RENT SUNNY FLORIDA LLC                                                3750 PEACEFUL VALLEY DR                                                      CLERMONT            FL           34711
    RENTACRATE                                                            22 CENTURY BLVD STE 420                                                      NASHVILLE           TN           37214
    RENTON SCHOOL DIST                                                    300 SW 7TH STREET                                                            RENTON              WA           98057
    Renu Sood                                                             137 B Enclave Circle                                                         Bolingbrook         IL           60440
    RENZULLI JOSEPH S                                                     222 WARRENVILLE RD                                                           MANSFIELD CENTER    CT           06250
    REORGANIZED SCHOOL DISTRICT R-
    5                              ZALMA ELEMENTARY SCHOOL                HC 02 BOX 184                                                                ZALMA               MO           63787
    REPUBLIC OF TEXAS FIRE AND
    SECURITY LLC                                                          4251 FM 2181 STE 230-345                                                     CORINTH             TX           76210
                                   CITY OF AUGUSTA - RIVERWALK
    REPUBLIC PARKING SYSTEM        GARAGE                                 TWO 10TH STREET                                                              AUGUSTA             GA           30901
    REPUBLIC SERVICES INC                                                 PO BOX 9001099                                                               LOUISVILLE          KY           40290-1099
    REPUBLIC WASTE SERVICES OF NJ
    INC                                                                   P O BOX 9001765                                                              LOUISVILLE          KY           40290-1765
    REPUBLICAN PARTY OF FLORIDA                                           420 E JEFFERSON ST                                                           TALLAHASSEE         FL           32301
    REQUE JOHN                                                            1500 HINMAN AVE #702                                                         EVANSTON            IL           60201
    RESCHE DEVONE HINES                                                   4417 S CALUMET AVE                                                           CHICAGO             IL           60653
    RESEARCH FOUNDATION OF SUNY                                           P O BOX 9                                                                    ALBANY              NY           12201
    RESEARCH FOUNDATION OF SUNY
    AT BING                                                               BINGHAMPTON UNIV                                                             BINGHAMPTON         NY           13902-6000

    RESEARCH ROCKSTAR LLC                                                 197M BOSTON POST ROAD W # 217                                                MARLBOROUGH         MA           01752
    RESHMA MEMON YAQUB                                                    6004 RIVER ROAD                                                              BETHSDA             MD           20816
    RESOURCES FOR CHILD CARING                                            10 YORKTON COURT                                                             SAINT PAUL          MN           55117
    RESTLESS YOUTH PRESS/ZUZU               ATTN BECK UNDERWOOD           172 EAST 4TH STREET #5F                                                      NEW YORK            NY           10009
    RETAIL ACQUISITION &                    DBA INTERSTATE ALL BATTERY
    DEVELOPMENT INC                         CENTER                        P O BOX 3244                                                                 DES MOINES          IA           50316
    Retail Services                                                       P.O. Box 5220                                                                CAROL STREAM        IL           60197-5220
    RETAILERS COMPENSATING USE
    TAX                                     KANSAS DEPARTMENT OF REVENUE 915 SW HARRISON STREET                                                        TOPEKA              KS           66625-5000
    RETNA LTD                                                            444 PARK AVENUE SOUTH STE 701                                                 NEW YORK            NY           10016
    REV PETER KLEIN                                                      PO BOX 218                       307 W 2ND STREET                             JANESVILLE          MN           56048
    REV ROBERT J HATER                                                   1443 CEDAR AVENUE                SAINT CLARE PARRISH                          CINCINNATI          OH           45224
    Reva J Stephens                                                      2221 Spann Ave                                                                Indianapolis        IN           46203
    REVAL.COM INC                                                        100 BROADWAY 22nd FLOOR                                                       NEW YORK            NY           10005
    REVELS INC                                                           80 MT AUBURN ST                                                               WATERTOWN           MA           02472-3930
    Revenue Division                                                     PO Box 2745                                                                   Charleston          WV           25330-2745
    REVERE GROUP, LTD                                                    2166 PAYSPHERE CIRCLE                                                         CHICAGO             IL           60674
    REVOLUTION PARTNERS LLC                                              75 PARK PLAZA                                                                 BOSTON              MA           02116
    Rex Brady                                                            118 Augusta Drive                                                             Streamwood          IL           60107
    Rex Roldan                                                           660 Highland Ave                                                              Malden              MA           02148
    REX W BOLINGER                                                       11081 PTARMIGAN CT                                                            NOBLESVILLE         IN           46060
    Reyna Hensley                                                        156 Primrose Lane                                                             Bartlett            IL           60103
    REYNALDO COLON SANCHEZ                  URB LAS VEGAS                CALLE 26 EE-2                                                                 CATANO              PR           00962
    REYNELL EDUCATIONAL
    RESOURCES INC                                                         7 BLUEBIRD LANE                                                              AMHERST             NY           14228
    Reynold Akison                                                        508 CANADA STREET                                                            OJAI                CA           93203
    REYNOLD RUFFINS                                                       51 HAMPTON STREET                                                            SAG HARBOR          NY           11963
    REYNOSA MARY ESTHER                                                   13226 PALATINE HILL ROAD                                                     SAN ANTONIO         TX           78253

    RGA                                     RUBBER & GASKET CO OF AMERICA 3905 EAST PROGRESS STREET                                                    NORTH LITTLE ROCK   AR           72114
                                            DBA ROBERT GLENN KETCHUM
    RGK PHOTOGRAPHY INC                     PHOTO                         P O BOX 1000                                                                 MANHATTAN BEACH     CA           94267



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                374 of 488                                                                                1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              382 Matrix
                                                                                                                      of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                Address1                           Address2              Address3             City           State       Zip              Country
    RGV TEDA                                                               2601 WILDWOOD DRIVE                                                              WESLACO             TX           78596
    RHETA RUBENSTEIN                                                       32245 SCONE                                                                      LIVONIA             MI           48154
    Rhiannon Agosti                                                        23 Reynolds Avenue                                                               Natick              MA           01760
    RHIANNON ROBERTS                                                       5837 S COOPER HILLS DR                                                           TUCSON              AZ           85747-6076
    RHINO INDUSTRIAL EQUIPMENT CO
    LLC                                                                    7 HONEY LOCUST CT                                                                SANT CHARLES        MO           63303
    RHOAD RICHARD                                                          8 THUNDERBIRD ROAD                                                               OAKWOOD             IL           61858-6153
    RHOADESKILL LLC                                                        55 POPLAR ST APT 2A                                                              BROOKLYN            NY           11201
    RHODA COLEMAN                                                          3530 BUENA VISTA AVENUE                                                          GLENDALE            CA           91208
    RHODA KLEIN                                                            704 PONDSIDE DRIVE                                                               WHITE PLAINS        NY           10607
    RHODA PEACHER                           DBA R PHOTOGRAPHS              6107 SW MURRAY BLVD # 303                                                        BEAVERTON           OR           97008-4421
    RHODE ISLAND ASSO OF SCH
    PRINCIPALS                              RHODE ISLAND COLLEGE           600 MT PLEASANT AVE BLDG 6                                                       PROVIDENCE          RI           02908
    Rhode Island Dept. of Revenue           Division of Taxation           One Capitol Hill                Suite 36                                         Providence          RI           02908
    Rhode Island Dept. of Revenue           Division of Taxation           One Capitol Hill                Suite 4                                          Providence          RI           02908-5802
    Rhode Island Dept. of Revenue           Division of Taxation           One Capitol Hill                Suite 9                                          Providence          RI           02908-5811
    RHODE ISLAND DIV OF TAXATION                                           ONE CAPITOL HILL STE 4                                                           PROVIDENCE          RI           02908-5802
    Rhode Island Division of Taxation       Attn Ann Marie Bolduc          1 Capital Hill                  Collections Section 1st Fl                       Providence          RI           02908
    RHODE ISLAND FOREIGN
    LANGUAGE ASSN                           ATTN ELLEN CONROY              207 OCEAN ROAD                                                                   NARRAGANSETT        RI           02882
    RHODE ISLAND HISTORICAL
    SOCIETY                                                                110 BENEVOLENT STREET                                                            PROVIDENCE          RI           02906
    RHODE ISLAND MATHEMATICS
    TEACHERS                                ASSN                           32 BEACHWOOD DRIVE                                                               EAST GREENWICH      RI           02818
    RHODE ISLAND MIDDLE LEVEL
    EDUCATORS                                                              255 WESTMINSTER ST ROOM 600                                                      PROVIDENCE          RI           02903
    Rhode Island Secretary                  State Corporations Division    148 W. RIver Street                                                              Providence          RI           02904-2615
    RHODES JEWELL PARKER                                                   10472 E TEXAS SAGE LANE                                                          SCOTTSDALE          AZ           85259
    RHOMBUS PUBLISHING                                                     559 ADAMS ST, # 2                                                                BOSTON              MA           02122
    Rhonda Davis                                                           1105 Gate House Drive                                                            Austin              TX           78753
    RHONDA DONALD                                                          1737 FAIRFAX STREET                                                              PETERSBURG          VA           23805
    Rhonda Freeny                                                          11538 Stagbury Lane                                                              Orlando             FL           32832
    Rhonda Gliksman                                                        2815 Crystal Ct                                                                  Coconut Grove       FL           33133
    Rhonda Haynes                                                          11008 Quarry Oaks Trail                                                          Austin              TX           78717
    Rhonda Holcomb                                                         11300 W Parmer Ln               832                                              Cedar Park          TX           78613
    Rhonda Lilley                                                          3451 Hwy KK                                                                      Troy                MO           63379
    RHONDA WOULLARD CARTER                                                 6721 WASHINGTON AVE APT 15B                                                      OCEAN SPRINGS       MS           39564
    RHR International Company                                              P.O. Box 95122                                                                   Chicago             IL           60694-5122
    RI ANALYTICAL LABORATORIES              DBA TOY TESTING LAB            41 ILLINOIS AVENUE                                                               WARWICK             RI           02888
    RIBBIT PHOTOGRAPHY                                                     873 CEDAR STREET                                                                 PACIFIC GROVE       CA           93950
    RIC ERGENBRIGHT PHOTO LLC                                              PO BOX 1067                                                                      BEND                OR           97709
    RICANNE ROBERTS                                                        3601 WEST HAACK COURT                                                            ELK GORVE           CA           95758
                                                                           URB VILLA GRILLASCA 812 CALLE
    RICARDO ALMODOVAR RODRIGUEZ                                            BIAGGI                                                                           PONZE               PR           00717-0568
    RICARDO ANTONIO BAEZ PEREZ  URB TERRAZAS DEL TOA                       CALLE 19 #2G2                                                                    TOA ATTA            PR           00953
    RICARDO CARRASCO STUPARICH                                             BAQUEDANO 52 DEPTO 106                                                           CONCEPCION                                    Chile
    RICARDO E ALEGRIA                                                      PO BOX 902-3187                                                                  SAN JUAN            PR           00902-3187
    RICARDO NUILA                                                          1028 ALGREGG STREET                                                              HOUSTON             TX           77009
    RICARDO VARGAS VARGAS                                                  HC-69 BOX 15712                                                                  BAYAMON             PR           00956
    RICARDO ZAMORA MEDINA                                                  48978 BIERY STREET                                                               INDIO               CA           92201
    RICE UNIVERSITY             c/o ANNE PAPAKONSTANTINOU                  PO BOX 1892 MS 127                                                               HOUSTON             TX           77251
    RICH HALL REPS                                                         20432 SANTA FE AVE                                                               CARSON              CA           90810
    RICH KWAK                                                              1601 SANG AM-DONG MAPO-GU       501 KGIT SANGAM CENTER                           SEOUL                            123-913      South Korea
    RICHARD A BASSOTTI                                                     37 STONEWALL LANE                                                                DELMAR              NY           12054
    RICHARD A COOKE III                                                    PO BOX 280                                                                       KUALAPUU, MOLOKAI   HI           96757
    Richard A Pickering                                                    57 Russell Road                                                                  Framingham          MA           01702
    RICHARD A SEEFELDT                                                     1699 DUBLIN ROAD                                                                 RICHMOND            MA           01254
    Richard A. Lougy                                                       301 Sunnyside Court                                                              Lincoln             CA           95648
    Richard Andrews Ii                                                     780 Woodale Terrace             Apt 6                                            Greenwood           IN           46142
    RICHARD B. LEVINE                                                      280 NINTH AVENUE #2H                                                             NEW YORK            NY           10001
    RICHARD BARTHOLOMEW                                                    P O BOX 252                                                                      PFLUGERVILLE        TX           78691-0252
    RICHARD BERO                                                           10650 WHEATLANDS WAY                                                             HUNTLEY             IL           60142
    RICHARD BISK                                                           34 WESTMINSTER ROAD                                                              PRINCETON           MA           01541
    Richard Blackwell                                                      5 Frederick Circle                                                               Woburn              MA           01801
    Richard Blake                                                          4325 Southwestern Blvd..                                                         Dallas              TX           75225
    RICHARD BOLSTER                                                        1881 SOMERSET LN                                                                 NORTHBROOK          IL           60062
    Richard Bueschel                                                       2160 Mangrove Drive                                                              Vero Beach          FL           32963
    RICHARD C MEYER                                                        1302 SNOWBERRY DRIVE                                                             WILLIAMSTOWN        NJ           08094
    Richard C. Wormeli                                                     2706 Robaleed Way                                                                Herndon             VA           20171
    Richard Cable                                                          8 Heather Lane                                                                   Burlington          CT           06013



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                     375 of 488                                                                                        1:26 PM
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                                                                                                             383 Matrix
                                                                                                                     of 519
                                                                                                               First Class Service List


                CreditorName           CreditorNoticeName                           Address1                        Address2                         Address3                    City        State       Zip            Country
    Richard Carson                                                   35 Port Norfolk Street           Street                                                          Dorchester        MA           02122
    Richard Casciero                                                 2700 Dale Court                                                                                  Baldwin           MD           21013
    RICHARD CHAPMAN                                                  4222 GRATIOT AVE                                                                                 PORT HURON        MI           48060
    RICHARD COOP                                                     11389 ORAZIO DRIVE                                                                               LAS VEGAS         NV           89138
    RICHARD COWDREY                                                  7071 BILLMAN ROAD                                                                                GAMBIER           OH           43022
    RICHARD COWEN                                                    28141 EL CAMINO                                                                                  WINTERS           CA           95694
    RICHARD CROWE                                                    45 36 171ST PLACE                                                                                FLUSHING          NY           11358
    RICHARD CUMMINS PHOTOGRAPHY
    INC                                                              42748 PORTRAITS LANE                                                                             TEMECULA          CA           92592
    RICHARD CURTIS ASSOCIATES   AGENT FOR DAVID SPENCER              171 E 74TH STREET                                                                                NEW YORK          NY           10021
    RICHARD CURTIS ASSOCIATES                                        171 E 74TH ST SUITE 2                                                                            NEW YORK          NY           10021

    RICHARD CURTIS ASSOCIATES, INC.                                  171 EAST 74TH STREET                                                                             NEW YORK          NY           10021
    RICHARD D PARSONS                                                706 W UNION STREET                                                                               WEST CHESTER      PA           19382
    RICHARD DAWKINS                                                  14 BRADMORE ROAD                                                                                 OXFORD                         OX2 6QP      United Kingdom
    Richard E Myers                                                  4541 N. Leavitt                                                                                  Chicago           IL           60625
                                            DBA DIOCESE OF FRESNO
    RICHARD E SEXTON                        EDUCATION CORP           1510 N FRESNO ST                                                                                 FRESNO            CA           93703
    Richard E Short                                                  1155 GLEN LEVEN                                                                                  ANN ARBOR         MI           48103
    Richard Elliott                                                  1127 Laurel Avenue                                                                               Winnetka          IL           60093
    RICHARD ENDSOR                                                   19 HIGHWORTH CLOSE                                                   HIGH WYCOMBE                Buckinghamshire                HP13 7PJ     United Kingdom
    RICHARD F MAGLEBY                                                7101 SOUTH OWLS LANE                                                                             MIDVALE           UT           84047
    RICHARD F MORRIS JR                                              180 DORSEY ST                                                                                    WATERTOWN         NY           13601
    Richard F Pulster                                                91 Pleasant Street               B5                                                              Medfield          MA           02052
    RICHARD F PULSTER                                                91 PLEASANT STREET, UNIT B5                                                                      MEDFIELD          MA           02052
    RICHARD GAGE                                                     1032 NORTH MONTANA STREET                                                                        ARLINGTON         VA           22205
    Richard Gershon                                                  6545 N. Lemai Ave.                                                                               Lincolnwood       IL           60712
    Richard Glass                                                    6770 North Stonebridge Drive                                                                     Fresno            CA           93711
    RICHARD GRAVES                                                   415 BLAKE ST                                                                                     AUBURN            AL           36830
    Richard H Flores                                                 2701 Sixpence Lane                                                                               Pflugerville      TX           78660
    RICHARD H MOORE                                                  P O BOX 749                                                                                      RALEIGH           NC           27544
    RICHARD HAMER                                                    CHRIST CHURCH                                                                                    OXFORD                         0X1 1DP      United Kingdom
    Richard Hanson                                                   11758 Independence Way                                                                           Woodbury          MN           55129
    RICHARD HENDRICKS REECE                                          4911 TYLER STREET                                                                                HOLLYWOOD         FL           33021
    Richard Herath                                                   4189 Dick Woods Rd                                                                               Charlottesville   VA           22903
    Richard Hoard                                                    1329 N. Shea Rd.                                                                                 Lexington         IN           47138
    RICHARD HOWARD                                                   23 WAVERLY PLACE                                                                                 NEW YORK          NY           10003

    RICHARD HOWARD PHOTOGRAPHY                                       21 CRESCENT ROAD                                                                                 WINCHESTER        MA           01890
    RICHARD J BERNSTEIN                                              415 E 52 ST APT 7HC                                                                              NEW YORK          NY           10022
    RICHARD J BONHAM                                                 8225 CLAIRMONT                                                                                   RALSTON           NE           68127
    Richard J Morgan                                                 11513 Sweet Basil Court                                                                          Austin            TX           78726
    RICHARD J PANEK                                                  110 EAST END AVENUE # 8D                                                                         NEW YORK          NY           10028
    RICHARD J SHERMAN                                                50 PASSADENA DR                                                                                  PLAINVIEW         NY           11803
    RICHARD JACKSON                                                  3413 ALTA VISTA DRIVE                                                                            CHATTANOOGA       TN           37411
    RICHARD JAY HABER AND                                            PO BOX 297                       JACQUELINE MCNULTY HABER            HABER REV FAM TRST 111687   LAGUNITAS         CA           94938
    RICHARD JENKINS                                                  11 ALTENBURG AVE                 GARDEN STUDIO                                                   LONDON                         W13 9RN      United Kingdom
    RICHARD JESSE WATSON                                             2305 IVY STREET                                                                                  PORT TOWNSEND     WA           98368
    RICHARD JOHN KATRIS        DBA CHANAN PHOTOGRAPHY                5479 CEDAR STREET                                                                                RIVERSIDE         CA           92509
    Richard Keefner                                                  137 Headlands Dr                                                                                 Hilton Head       SC           29926
    RICHARD KENT                                                     728 PROSPECT AVE                                                                                 RUMFORD           ME           04276
    RICHARD L ALLINGTON                                              1238 ARBORBROOKE DRIVE                                                                           KNOXVILLE         TN           37922
    RICHARD L ALLINGTON                                              246 VAN WIE POINT RD                                                                             GLENMONT          NY           12077
    RICHARD L GARCIA                                                 1846 CORNISH AVENUE                                                                              JAMES ISLAND      SC           29412
    Richard L McCallister                                            P.o. Box 19073                                                                                   Indianapolis      IN           46219-0073
    RICHARD L MUMFORD                                                714 HILLAIRE ROAD                                                                                LANCASTER         PA           17601
    Richard Lamoth                                                   295 Oakleigh Lane                                                                                Dallas            GA           30132
    RICHARD LANGE                                                    1421 NORTH BENTON WAY                                                                            LOS ANGELES       CA           90026
    RICHARD LAYTON & FINGER PA                                       920 NORTH KING STREET                                                                            WIMINGTON         DE           19801
    Richard Le Cropane                                               4 Sherwood Dr.                                                                                   Oswego            IL           60543
    RICHARD LEE KAYLIN         DBA KAYLIN PHOTOGRAPHY                3713 G ROAD # 1                                                                                  PALISADE          CO           80526
                               DBA HEMISPHERES ANTIQUE MAPS
    RICHARD LORIN BETZ         & PRINTS                              28 ANDERSON RD                                                                                   STODDARD          NH           03464
    RICHARD M MORSE                                                  4412 VOLTA PLACE NW                                                                              WASHINGTON        DC           20007
    RICHARD M PROUTY                                                 813 LAVERGNE AVE                                                                                 WILMETTE          IL           60091
    Richard Macdonald                                                P.o. Box 1048                                                                                    Onset             MA           02558
    Richard Marshall                                                 160 Mountain Springs Drive                                                                       Clarkesville      GA           30523
    Richard Mcadoo                                                   1010 Waltham St.                 Apt F7                                                          Waltham           MA           02421
    RICHARD MIN LEE                                                  7730 W CHURCHILL                                                                                 MORTON GROVE      IL           60053




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                              376 of 488                                                                                                      1:26 PM
                                                      12-12171-reg         Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                      of 519
                                                                                                                 First Class Service List


                 CreditorName            CreditorNoticeName                          Address1                         Address2                          Address3                      City          State       Zip            Country
                                  LAW OFFICE OF MALCOLM
    RICHARD MONSOUR AKA DICK DALE WISEMAN                                4804 LAUREL CANYON BLVD # 568                                                                     VALLEY VILLAGE      CA           91607

    RICHARD MONSOUR AKA DICK DALE DBA DICK DALE RECORDS                  4804 LAUREL CANYON BLVD # 568                                                                     VALLEY VILLAGE      CA           91607
    Richard Murphy                                                       907 Dutch Mill Drive                                                                              Ballwin             MO           63011
    RICHARD N ALLEN                                                      394 LAKE AVENUE SOUTH #206                                                                        DULUTH              MN           55802
                                                                                                                                            BELFER CTR - SCIENCE & INTNL
    RICHARD N ROSECRANCE                                                 79 JOHN F KENNEDY ST MAILBOX 53 LITTAUER 325                       AFFAIRS                        CAMBRIDGE           MA           02138
    Richard Nelson                                                       1504 Anderson Ave #210                                                                            Buffalo             MN           55313
    Richard New Jr                                                       602 Arlmay Ave                                                                                    Somerdale           NJ           08083
                                            DBA RICHARD NOWITZ
    RICHARD NOWITZ                          PHOTOGRAPHY                  11404 HOLLOW TREE LANE                                                                            ROCKVILLE           MD           20852
    RICHARD P WILBUR                                                     RR 1 BOX 82                                                                                       CUMMINGTON          MA           01026
    Richard Pack                                                         131 Cypress Lake Lane                                                                             Lexington           SC           29072
    RICHARD PARKS AGENCY                    ATTN RICHARD PARKS           P O BOX 693                                                                                       SALEM               NY           12865
    RICHARD PASLEY                                                       12 HEMLOCK ST                                                                                     CONCORD             MA           01742-4909
    Richard Pulster                                                      91 Pleasant Street                B5                                                              Medfield            MA           02052
    RICHARD REICHERT                                                     1330 NORTH SUMMER RANGE                                                                           DE PERE             WI           54115
    RICHARD ROBERTS                                                      HISTORY DEPARTMENT                                                 STANFORD UNIVERSITY            STANFORD            CA           94305-2024
    RICHARD S DAY                           DBA DAYBREAK IMAGERY         6382 CHARLESTON RD                                                                                ALMA                IL           62807
    Richard S Herr                                                       772 Copper Rim                                                                                    Spring Branch       TX           78070
    Richard S Hills                                                      4733 Lakeside Drive                                                                               Omaha               NE           68135
    Richard Schoenbaechler                                               3804 Bluffview Trace                                                                              Marietta            GA           30062
    RICHARD SCOTT HERR                                                   772 COPPER RIM                                                                                    SPRING BRANCH       TX           78070
    RICHARD SHEK                                                         1625 MENLO AVENUE                                                                                 CARMICHAEL          CA           95608
    Richard Shribman                                                     1 Salem Green Suite 403                                                                           Salem               MA           01970
    Richard Slote                                                        250 W 24TH STREET #1BE                                                                            NEW YORK            NY           10011
    Richard Smith                                                        1801 SUNSET RIDGE RD, #R                                                                          GLENVIEW            IL           60025-2211
    Richard Smith                                                        250 Winter Street                                                                                 Hanson              MA           02341
    Richard Soisson                                                      1840 Merganser Way                                                                                Geneva              FL           32732
    RICHARD SOLOMON                                                      110 EAST 30TH STREET STE 501                                                                      NEW YORK            NY           10016
    RICHARD SOLOMON ARTISTS                 REPRESENTATIVES              149 MADISON AVE SUITE 708                                                                         NEW YORK            NY           10016
    Richard Sparks                                                       1824 Hazelwood Dr.                                                                                Lindenhurst         IL           60046
    Richard Spencer                                                      Po Box 280                                                                                        Whately             MA           01093
    RICHARD STONE                           C/O SCIENCE MAGAZINE         1200 NEW YORK AVE NW                                                                              WASHINGTON          DC           20005
    Richard Swartz                                                       9 Spring Oak Drive                                                                                Newtown             PA           18940
    RICHARD THOMAS GEDART                                                1430 ESTERLY OAKS DRIVE                                                                           HANOVER             MN           55341
    RICHARD TIBBITTS                                                     21 NEWPORT RD                                                                                     SAFF WALDEN ESSEX                CB11 4BS     United Kingdom
    Richard Tonachel                                                     175 Richdale Ave #310                                                                             Cambridge           MA           02140
    RICHARD TUSCHMAN                                                     8420 ISLESWORTH CT, SUITE 15305                                                                   SARASOTA            FL           34243
    RICHARD VACCA                                                        110 OCEAN BEACH TRAIL                                                                             VERO BEACH          FL           32963
    Richard Vosilla                                                      11309 Ledgement Lane                                                                              Windermere          FL           34786
    RICHARD W JENNINGS                                                   4802 WEST 159TH TERRACE                                                                           OVERLAND PARK       KS           66085
    RICHARD W VALENTINE                                                  2017 HARVARD AVE                                                                                  DUNEDIN             FL           34698
    RICHARD W WOODCOCK                      2006 LIVING TRUST            P O BOX 58474                                                                                     NASHVILLE           TN           37205-8474
    RICHARD WILBUR AND BANK OF
    AMERICA                                 TRUSTEE                      PO BOX 830780                     BANK OF AMERICA                  ATTN INCOME PROCESSING         DALLAS              TX           75283-0780
    RICHARD WILLIAM REECE                                                P O BOX1161                                                                                       VIENNA              VA           22182
    RICHARD WIXON                                                        1534 SOUTH 13TH STREET                                                                            SHEBOYGAN           WI           53083
    RICHARDS LITERARY AGENCY                                             PO BOX 31-240                                                                                     NOTH SHORE CITY                  00741        New Zealand
    Richards, Stephen
    RICHEK MARGARET A                                                    39 EAST SCHILLER                                                                                  CHICAGO             IL           60610
    RICHELLE OSBOURNE                                                    8967 BELVEDERE RD                                                                                 CALEDONIA           IL           61011

    RICHLAND PARISH TAX COMMISSION                                       P O BOX 688                                                                                       RAYVILLE            LA           71269-0688
    RICHLAND SCHOOL DISTRICT                                             101 MAIN                                                                                          COLFAX              ND           58018
    RICHLAND SCHOOL DISTRICT TWO                                         6831 BROOKFIELD ROAD                                                                              COLUMBIA            SC           29206
    RICHMOND AREA READING
    COUNCIL                                                              6520 PARK AVE                     ATTN PAULA JONES                                                RICHMOND            VA           23226
    RICHMOND C HOWARD              DBA CLARK HOWARD                      PO BOX 1527                                                                                       PALM SPRINGS        CA           92263
    RICHMOND COUNTY BOARD OF
    EDUCATION                                                            864 BROAD STREET                                                                                  AUGUSTA             GA           30901
    RICHMOND SPCIA                                                       2519 HERMITAGE ROAD                                                                               RICHMOND            VA           23220

    RICK ALLEN                              DBA KENSPECKLE LETTERPRESS   394 LAKE AVENUE SOUTH SUITE 206                                                                   DULUTH              MN           55802
    RICK BASS                                                            2800 MAURICE AVE                                                                                  MISSOULA            MT           59801
    RICK BILLSTEIN                                                       126 HILLCREST DR                                                                                  MISSOULA            MT           59803
    RICK BLANCHARD                                                       114 OLD TAVERN LANE                                                                               SUMMERVILLE         SC           29485
    RICK BROWN                                                           P O BOX 341                                                                                       FURLONG             PA           18925
    Rick D Friedman                                                      195 Berkley Ave.                                                                                  Lansdowne           PA           19050



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 377 of 488                                                                                                          1:26 PM
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                                                                                                                        of 519
                                                                                                                        First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                           Address2                          Address3                 City          State       Zip                Country
    RICK DAVIS                                                             PO BOX 47                                                                                           VIENNA            OH           44473-0047
    Rick E Finn                                                            73 Saint Croix Ct                                                                                   Aurora            IL           60504
    Rick Fraser                                                            4702 N. Chyenne St.                                                                                 Tacoma            WA           98407
    RICK G WARD                                                            612 HALBERT HEIGHTS ROAD                                                                            BROOKHAVEN        MS           39601-3654
    RICK GAYLE STUDIO INC                                                  2222 E MCDOWELL RD                                                                                  PHOENIX           AZ           85006
    Rick Scordas                                                           717 Silver Lake Drive                                                                               Keller            TX           76248
    RICK WEISSBOURD                                                        486 HURON AVE                                                                                       CAMBRIDGE         MA           02138
    RICOCHET PARTNERS INC                                                  521 SW 11TH AVENUE, STE 400                                                                         PORTLAND          OR           97205
    RICOH AMERICAS CORPORATION              LEASE ADMINISTRATION CENTER    PO BOX 405874                                                                                       ATLANTA           GA           30384-5874
    RICOH AMERICAS CORPORATION                                             P O BOX 4245                                                                                        CAROL STREAM      IL           60197-4245
    RICOH CUSTOMER FINANCE CORP                                            PO BOX 33076                                                                                        NEWARK            NJ           07188-0076
                                                                           RICOH USA (formerly known as IKON
    Ricoh USA                               Attn Bankruptcy & Recovery     Office Solutions, Inc.)             3920 Arkwright Road, Suite 400                                  Macon             GA           31210
    RIDEGECREST ELEMENTARY
    SCHOOL                                                                 1800 EAST 7200 SOUTH                                                                                SALT LAKE CITY    UT           84121
    Rideout, Kathleen
    RIDGE CIRCLE ELEMENTARY                                                420 RIDGE CIRCLE                                                                                    STREAMWOOD        IL           60107

    RIDGEVIEW ELEMENTARY SCHOOL             C/O SARAH HIBBITTS             1601 MARSHAL RIDGE DRIVE                                                                            KELLER            TX           76248
    RIEKE OFFICE INTERIORS                                                 2000 FOX LANE                                                                                       ELGIN             IL           60123
    RIGBY HEINEMANN                         DIV REED INTL BOOKS AUST       20 THACKRAY RD PO BOX 460                                                                           PORT MELBOURNE                 03207        Australia
    RIGGS DONNA                                                            296 TWO MULE ROAD                                                                                   PITTSBORO         NC           27312
    RIGHT MANAGEMENT
    CONSULTANTS INC                                                        24677 NETWORK PLACE                                                                                 CHICAGO           IL           60673-1246
    RIGHTTHING LLC                                                         P O BOX 674050                                                                                      DETRIT            MI           48267-4050
    RILEY LINDA CAPUS                                                      1266 ASHBOURNE ROAD                                                                                 ELKINS PARK       PA           19027

    RIMA OTHMAN MUWAFFAK                    OMAR BEN AL KHATTAB STREET     BAYDOUN & KANAFANI BLDG 3RD FL                                                                      BEIRUT                                      Lebanon
    RIMI PHOTOGRAPHY INC                    RIMI STUDIOS                   47 KINNMAN AVENUE                                                                                   WASHINGTON        NJ           07882
    RING POWER CORPORATION                                                 P O BOX 935004                                                                                      ATLANTA           GA           31193-5004
    RIO GRANDE VALLEY COUNCIL OF
    TEACHERS                                OF MATHEMATICS                 1007 ADAMS                                                                                          MISSION           TX           78572
    RIO GRANDE VALLEY SCIENCE
    ASSO                                    ATTN KAREN MCNALLEN            2300 COLORADO                                                                                       MISSION           TX           78572
    RIO GRANDE VALLEY TEXAS ASSOC
    FOR                                     BILINGUAL EDUCATION            P O BOX 1487                                                                                        EDINBURG          TX           78540
    RIO RANCHO PUBLIC SCHOOLS                                              500 LASER ROAD                                                                                      RIO RANCHO        NM           87124
    RIPPER CHARLES L                                                       3525 BRANDON RD                                                                                     HUNTINGTON        WV           25704
    RISI                                                                   P O BOX 288                                                                                         BEDFORD           MA           01730-0288
    RISINGER C FREDERICK                                                   7039 EAST STATE ROAD 45                                                                             BLOOMINGTON       IN           47408
    RISKIND MARY                                                           223 BROOKSIDE AVENUE                                                                                RIDGEWOOD         NJ           07450
    RISO DON RICHARD                        THE ENNEAGRAM INSTITUTE        3355 MAIN STREET ROUTE 209                                                                          STONE RIDGE       NY           12484
    Rita Cullen                                                            13 Crosby Road                                                                                      Wakefield         MA           01880
                                                                                                                                                   DEPT OF ENGLISH - UNIV OF
    RITA DOVE                                                              219 BRYAN HALL, P O BOX 400121                                          VIRGINIA                    CHARLOTTESVILLE   VA           22904
    RITA GEIGER                                                            2613 KEATS PL                                                                                       OKLAHOMA CITY     OK           73120
    RITA LASCARO                                                           252 WEST 20TH STREET APT 2A                                                                         NEW YORK          NY           10011
    Rita Loza                                                              1225 Mcmahan Dr                                                                                     Lewisville        TX           75077
    Rita M Zalesny                                                         131 Crestwood Court                 Unit 6                                                          Schaumburg        IL           60195
    RITA MOORE                                                             5934 FOUNTAINHEAD ST SE                                                                             SALEM             OR           97306-9021
    Rita Ocon                                                              410 Blackhawk                                                                                       Aurora            IL           60506
    Rita Robinson                                                          308 So 2nd Street                                                                                   Elsberry          MO           63343
    Rita Schaefer                                                          4628 N 39th Place                                                                                   Phoenix           AZ           85018
    RITA SUE CURINGTON                                                     930 BRADLEY DRIVE                                                                                   ATHENS            TX           75751
    RITA WILLIAMS-GARCIA                                                   P O BOX 2277                                                                                        NEW YORK          NY           10185
    RITTENHOUSE BOOK DISTRIBUTORS
    INC                                                                    511 FEHELEY DRIVE                                                                                   KING OF PRUSSIA   PA           19406
    RITZ CARLTON HOTEL COMPANY
    LLC                           DBA RITZ CARLTON AMELIA ISLAND           4750 AMELIA ISLAND PARKWAY                                                                          AMELIA ISLAND     FL           32034
    RITZ KAREN                                                             841 ST CLAIR AVE                                                                                    ST PAUL           MN           55105
    RIVER FALLS SCHOOL DISTRICT                                            852 EAST DIVISION STREET                                                                            RIVER FALLS       WI           54022
    RIVER OAKS BAPTIST SCHOOL                                              2300 WILLOWICK                                                                                      HOUSTON           TX           77027
    RIVER VALLEY CHILD DVLPMNT    WVECTCR - ATTN ALYSON
    SRVCS INC                     EDWARDS                                  611 SEVENTH AVENUE STE 322                                                                          HUNTINGTON        WV           25701

    RIVERDEEP INTERACTIVE LEARNING                                         UPPER HATCH STREET                                                      STYNE HOUSE                 DUBLIN 2                                    Ireland
    Riverdeep UK Limited
    RIVERSIDE ICE CO                                                       2079 FLATWOODS ROAD                                                                                 OFALLON           MO           63366
    Riverside Publishing                                                   3800 Golf Road                      Suite 100                                                       Rolling Meadows   IL           60008
    RIVERSOURCE INVESTMENTS, LLC



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                       378 of 488                                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   386 Matrix
                                                                                                                           of 519
                                                                                                                      First Class Service List


             CreditorName                             CreditorNoticeName                  Address1                         Address2                         Address3                         City        State       Zip              Country
    RIVERVIEW CHARTER SCHOOL                                               P O BOX 4202                                                                                          BEAUFORT           SC           29903

    RIVERVIEW SCHOOL DISTRICT               RIVERVIEW-JUDSONIA ELEMENTARY 916 JUDSON                                                                                             JUDSONIA           AR           72081
    RIVERVIEW SCHOOL DISTRICT               RIVERVIEW JUNIOR HIGH SCHOOL  800 RAIDER DR                                                                                          SEARCY             AR           72143
    RIVERVIEW SCHOOL DISTRICT               KENSETT ELEMENTARY            701 WEST DANDRIDGE                                                                                     KENSETT            AR           72082
    RIVERVIEW SCHOOL DISTRICT                                             800 RAIDER DR                                                                                          SEARCY             AR           72143
    RIVERVIEW SCHOOL DISTRICT                                             916 JUDSON                                                                                             JUDSONIA           AR           72081
    RIVKA GALCHEN                                                         55 POPLAR STREET APT 6G                                                                                BROOKLYN           NY           11201
    RIZE HIGH RECORDS LLC                                                 1107 FAIR OAKS AVE # 392                                                                               SOUTH PASADENA     CA           91030
    RJD PACKAGING PROFESSIONALS
    INC                                                                    1836 FENPARK DRIVE                                                                                    FENTON             MO           63026
    RKON INC                                                               328 S JEFFERSON ST STE 450                                                                            CHICAGO            IL           60661
    RL BRYAN COMPANY                        ACCOUNTING DEPT                P O BOX 368                                                                                           COLUMBIA           SC           29202
    RLJ LODGING II REIT SUB INC             DBA COURTYARD/ RESIDENCE INN   300 EAST 4TH STREET                                                                                   AUSTIN             TX           78701
    RLR ASSOCIATES                                                         7 WEST 51ST ST                                                                                        NEW YORK           NY           10019-6910
    RM ACQUISITION LLC                      DBA RAND MCNALLY               75 REMITTANCE DR STE 3043                                                                             CHICAGO            IL           60675-3043
    RM ACQUISITION LLC DBA RAND
    MCNALLY                                                                P O BOX 7600                                                                                          CHICAGO            IL           60680-7600
    RM DAVID & ASSOCIATES                                                  5509 DANA PT DRIVE                                                                                    ARLINGTON          TX           76017
    RMANN ASSOCIATES LLC                                                   4 LYONS PLAIN RD                                                                                      WESTON             CT           06883
    ROACH MARILYNNE K                                                      141 MARSHALL ST                                                                                       WATERTOWN          MA           02472
    ROAD RUNNER                             DIV OF TIME WARNER             BOX 223085                                                                                            PITTSBURGH         PA           15251-2085
    ROANOKE COLLEGE                         BOOKSTORE                      221 COLLEGE LANE                                                                                      SALEM              VA           24153
    ROARING SPRING PAPER
    PRODUCTS                                                               740 SPANG ST, P O BOX 35                                                                              ROARING SPRING     PA           16673-1924

    ROB MATHESON                                                           12579 ALCOCEBRE                                                       MARINO LAS FUENTES PO BOX 115   CASTELLON                                    Spain
    ROB MCCLURKAN ILLUSTRATION                                             817 HOLLY RIDGE                                                                                       CANTON             GA           30115
    ROB MOORE                                                              BOX 231                                                                                               LOMETA             TX           76853
    ROB VANNOSTRAND                                                        42 LACY ANNE AVENUE                                                                                   ENFIELD            NS           B2T 1Z5      Canada
    ROB WEISBACH CREATIVE MNGMNT
    LLC                                                                    435 WEST 23RD ST STE 16B                                                                              NEW YORK           NY           10011
    ROBB HILL PHOTO                                                        142 FLEETWOOD TERRACE                                                                                 SILVER SPRING      MD           20910
    ROBBI DEE MCCARTER                                                     8410 CASTLETON WAY                                                                                    TYLER              TX           75703
    Robbie Gatewood                                                        12818 Eadstone Lane                                                                                   St. Louis          MO           63033
    Robbie Scott                                                           5005 N Colony Blvd                                                                                    The Colony         TX           75056
    ROBBIN GOURLEY                                                         70 BUSH ROAD                                                                                          PLEASANT MOUNT     PA           18453
    ROBBIN KELLY JOHNSON                                                   1000-133 WINDERLEY PLACE                                                                              MAITLAND           FL           32751
    ROBBINS OFFICE                                                         405 PARK AVENUE                                                                                       NEW YORK           NY           10022
    ROBBINS OFFICE INC                                                     405 PARK AVENUE 9TH FL                                                                                NEW YORK           NY           10022
    ROBERT A CUMINS                                                        P O BOX 43624                                                                                         UPPER MONTCLAIR    NJ           07043
    Robert A Harman Iii                                                    5101 Turnberry Ct.                                                                                    Plainfield         IL           60544
    Robert A Head                                                          5002 Hedgewood Dr.                                                                                    Austin             TX           78745
    Robert A Lever                                                         1020 White Horse Ave                                                                                  Hamilton           NJ           08610
    ROBERT A SANTOS                                                        100 MORNINGSIDE DRIVE, #3F                                                                            NEW YORK           NY           10027
    ROBERT A SCHMITZ                                                       34 SEVILLE AVENUE                                                                                     RYE                NY           10580
                                            DBA ROBERT A TYRRELL
    ROBERT A TYRRELL                        PHOTOGRAPHY                    26598 SILVER OAKS DR                                                                                  MURRIETA           CA           92563
    Robert Albino                                                          8725 Wellesley Lake Drive        Apt 107                                                              Orlando            FL           32818
    ROBERT ALFARO                                                          2800 LA FRONTERA # 1061                                                                               ROUND ROCK         TX           78681
    ROBERT ANDERSON                                                        825 EIGHTH AVE 26TH FLOOR        INT L CREATIVE MGMT                                                  NEW YORK           NY           10019
    ROBERT ANGLUND                                                         192 CLAREMONT AVE #2A                                                 C/O EMILY ANGLUND               NEW YORK           NY           10027
    ROBERT B ALLPORT                                                       3434 NE US GRANT PLACE                                                                                PORTLAND           OR           97212
    ROBERT B GRAFF                                                         167 SHOEMAKER DRIVE                                                                                   LOVELAND           OH           45140
    ROBERT B SLIGH                                                         PSC 78 BOX 229                                                                                        APO                APO/FPO      96326
    Robert B. Hupp                                                         87 Wallace Street                                                                                     Somerville         MA           02144
    ROBERT BAHRUTH                                                         1913 DANMOR                                                                                           BOISE              ID           83712
    Robert Baird                                                           600 Kenwood Ct                                                                                        Satellite Beach    FL           32937
    Robert Baker                                                           2104 McDonough Lane                                                                                   San Diego          CA           92106
    Robert Barbeau                                                         901 Wildwood Ct                                                                                       St. Charles        IL           60174
    ROBERT BARBER                                                          15704 W 67TH PLACE                                                                                    ARVADA             CO           80007
    Robert Battista                                                        3481 Rosewood Avenue                                                                                  Los Angeles        CA           90066
    Robert Bennett                                                         215 Rose Hill Ln.                                                                                     Covington          VA           24426
    ROBERT BLASKEY                                                         4426 BUNKER CIRCLE                                                                                    LAS VEGAS          NV           89121
    ROBERT BLY                                                             1904 GIRARD AVE SOUTH                                                                                 MINNEAPOLIS        MN           55403
    Robert Burnham                                                         1101 Dorchester Lane                                                                                  Bartlett           IL           60103
    Robert C Brown                                                         P.O. Box 2212                                                                                         Kennesaw           GA           30156
    ROBERT C GILDART                                                       1676 RIVERSIDE ROAD                                                                                   BIGFORK            MT           59911
    Robert Chase                                                           18 Stillwater Road                                                                                    Methuen            MA           01844
    Robert Clare                                                           401 S Lincoln Dr                                                                                      Troy               MO           63379



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                     379 of 488                                                                                                            1:26 PM
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                                                                                                                    of 519
                                                                                                                   First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                     Address2              Address3               City         State       Zip               Country
    ROBERT CLARK PHOTOGRAPHY                                               63 FLUSHING AVE                                                               BROOKLYN            NY           11205
    Robert Clement                                                         1525 Grayson HWY              Apt 114                                         Grayson             GA           30017
    Robert Cook                                                            1823 Lucylle Court                                                            Saint Charles       IL           60174
    Robert Copher                                                          105A W Oak Street                                                             Warrenton           MO           63383-1410
    ROBERT CORBIN                                                          1535 RUNNING BROOK ROAD                                                       CHARLOTTE           NC           28214
    ROBERT CORNFIELD LIT AGCY                                              145 WEST 79TH ST, 16C                                                         NEW YORK            NY           10024
    Robert Cox                                                             2860 St George Rd                                                             Winston-Salem       NC           27106
    Robert Crain                                                           1117 South Elmwood                                                            Oak Park            IL           60304
    ROBERT CRUM                                                            20 RUE DU PONT VIEW                                                           SAUVE                            30610        France
    ROBERT CULLEN                                                          29 BUTTER LANE                                                                STAMFORD            CT           06903
    Robert D Overholtzer                                                   284 High St                                                                   Hanson              MA           02341
    ROBERT D RICHARDSON                                                    PO BOX 568                                                                    SOUTH WELLFLEET     MA           02663
    ROBERT D ROSEN                                                         6001 NW 69 AVENUE                                                             TAMARA              FL           33321
    ROBERT D SCHULZINGER                                                   2163 MEADOW AVE                                                               BOULDER             CO           80304
    ROBERT DAFFORD                          DBA DAFFORD MURALS             528 E VERMILION STREET                                                        LAFAYETTE           LA           70501
    ROBERT DESALLE                                                         366 EAST 8TH STREET 1                                                         NEW YORK            NY           10009
    Robert Dyer                                                            576 Pearl Street                                                              Reading             MA           01867
    ROBERT DYLAN                            DBA SPECIAL RIDER MUSIC        P O BOX 860 COOPER STATION                                                    NEW YORK            NY           10276
    Robert E Caron                                                         2139 Illinois Rd                                                              Northbrook          IL           60062
    Robert E Phillips                                                      338 Old Ct. Path                                                              Framingham          MA           01701
    ROBERT E PROBST                                                        126 CALLE ENSUENO                                                             MARATHON            FL           33050
    ROBERT E PROBST                                                        126 CALLE ENSUENO                                                             MARATHON            FL           33050-2507
                                                                           4804 LAUREL CANYON BLVD PMB
    ROBERT E SHEPARD AGENCY                                                592                                                                           VALLEY VILLAGE      CA           91607-3717
    Robert E Stritch                                                       3052 W George ST              APT #2                                          Chicago             IL           60618
    ROBERT E STRITCH IV                                                    3052 W GEORGE ST, APT # 2                                                     CHICAGO             IL           60618
    Robert Edkins                                                          19 Pomeroy Road                                                               North Reading       MA           01864
    Robert Elsey                                                           6573 Lake Brandt Road                                                         Summerfield         NC           27358
    Robert Enos                                                            5504 WHITE IBIS DRIVE                                                         NORTH FORT          FL           34287
    Robert F Finnegan                                                      33 Lafayett Place                                                             Salem               MA           01970
    Robert F Koch Jr                                                       608 Kings Way                                                                 Naples              FL           34104
    ROBERT F STALEY JR                                                     663 GREENDALE AVENUE                                                          NEEDHAM             MA           02492
    Robert Fernandes                                                       2 POPLAR ST. #7                                                               IPSWICH             MA           01938
    Robert Franklin                                                        606 Stansted Manor Drive                                                      Pflugerville        TX           78660
    ROBERT FRIED                                                           610 ELDERIDGE COURT                                                           NOVATO              CA           94947-1973
    Robert Fullilove                                                       162 Boulder Lane                                                              Manor               TX           78653
    ROBERT G APPLE                                                         7940 SWARTZ AVENUE                                                            SEBASTOPOL          CA           95472
                                            DBA BOB PIXELS DIGITAL
    ROBERT G RIBOKAS                        PHOTOGRAPHY                    347 PLEASANT ST                                                               SOUTH WEYMOUTH      MA           02190
    ROBERT G SMITH                                                         2115 21ST RD N                                                                ARLINGTON           VA           22201
    ROBERT GALLEN                                                          305 CENTER AVE                                                                PITTSBURGH          PA           15215
    Robert Gandiello                                                       5414 Scarington Ct East                                                       Orlando             FL           32821
    Robert Garvey                                                          5207 N. Wayne                                                                 Chicago             IL           60640
    Robert Gee                                                             239 East Garfield Avenue                                                      Martinsville        IN           46151
    ROBERT GOLD                                                            6512 QUEENS CHAPEL ROAD                                                       HYATTSVILLE         MD           20782-2134
    Robert Goldberg                                                        20 LEMAY ST                                                                   WEST HARTFORD       CT           06107
    Robert Goll                                                            W303N8771 Woodland Dr                                                         Hartland            WI           53029
    Robert Gould                                                           280 HIGH STREET                                                               NEWBURYPORT         MA           01950
    Robert Gross                                                           5720-1 Marina Drive                                                           Sebastian           FL           32958
    ROBERT H LEOS                                                          5331 MAGDALENA DRIVE                                                          AUSTIN              TX           78735
    ROBERT H SWENSON                        SOUTHERN ILLINOIS UNIVERSITY   402 QUIGLEY HALL- MC4337      SCHOOL OF ARCHITECTURE                          CARBONDALE          IL           62901
    ROBERT HALF INTERNATIONAL INC           DBA ROBERT HALF TECHNOLOGY     12400 COLLECTIONS CENTER DR                                                   CHICAGO             IL           60693-0124
    ROBERT HALF INTERNATIONAL INC           DBA OFFICE TEAM                12400 COLLECTIONS CENTER DR                                                   CHICAGO             IL           60693
    ROBERT HALF INTERNATIONAL INC                                          12400 COLLECTIONS CENTER DR                                                   CHICAGO             IL           60693-0124
    ROBERT HANNA                                                           3716 N HIWASSEE RD                                                            CHOCTAW             OK           73020
    Robert Hanrahan                                                        261 Via Vaquero Sur                                                           San Juan Bautista   CA           95045
    ROBERT HARDING PICTURE
    LIBRARY LTD                             7TH FLOOR BERKSHIRE HOUSE      QUEEN STREET                                                                  MAIDENHEAD          Berkshire    SL6 1NF      United Kingdom
    ROBERT HARRIS                           DBA SEASON TO TASTE CATERING   11 NEWMAN STREET                                                              CAMBRIDGE           MA           02140
    Robert Haynes                                                          400 Riverton Rd.                                                              Riverton            CT           06065
                                                                           AUBURN UNIV, DEPT OF
    ROBERT HEBERT                                                          ECONOMICS                                                                     AUBURN              AL           36830
    ROBERT HEFLIN                                                          850 BELLEWOOD ROAD                                                            ISOLA               MS           38754
    Robert Hill                                                            P.O. Box 1068                                                                 Wake Forest         NC           27588
    Robert Homan                                                           7081 W. Touhy Ave.            #305                                            Niles               IL           60714
    ROBERT HUGHES                                                          20 RUTHERFIELD LANE                                                           ROCHESTER           NY           14625
    Robert J Dellagrotte                                                   2 Penobscot Ave                                                               Salem               NH           03079
    ROBERT J HATER                                                         1443 CEDAR AVENUE                                                             CINCINNATI          OH           45224
    ROBERT J KROUCH                                                        961 NW 45 AVENUE                                                              COCONUT CREEK       FL           33066
    ROBERT J MARZANO                                                       7127 SOUTH DANUBE COURT                                                       CENTENNIAL          CO           80016



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                  380 of 488                                                                                         1:26 PM
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                                                                                                            388 Matrix
                                                                                                                    of 519
                                                                                                                   First Class Service List


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    ROBERT J METHVEN                                                       5574 WHISPERING WOODS POINT                                                   SANFORD               FL           32771
    Robert J Moorhead                                                      400 Wellwood Way                                                              roswell               GA           30075
    ROBERT J SAGER                                                         4810 103RD AVE NW                                                             GIG HARBOR            WA           98335
    ROBERT J. BRENNAN                                                      502 SILVER RING CT                                                            WILMINGTON            NC           28411
    Robert J. Marzano                                                      7127 S. Danube Street                                                         Centennial            CO           80016
    ROBERT JAMES CHALLENGER                                                923 ARDEN ROAD                                                                VICTORIA              BC           V9C 4G3      Canada
    Robert Jasinski                                                        1485 N. Waterbury              Circle                                         Palantine             IL           60074
    ROBERT JASTROW                                                         900 N TAYLOR ST #2009                                                         ARLINGTON             VA           22203
    ROBERT JENNINGS                                                        2527 WEST PALAIS DRIVE                                                        COEURD ARLENE         ID           83815
    ROBERT JOHN MORGAN                                                     1576 SULTAN CIRCLE                                                            CHULUOTA              FL           32766
                                            DBA ROB SCHUSTER DIGITAL
    ROBERT JOHN SCHUSTER                    ILLUSTRATION                   7598 DELAS COVE                                                               CINCINNATI            OH           45244
    Robert Johnson                                                         2501 Cedarwood Dr.                                                            Bloomington           IN           47401
    Robert Keller                                                          1376 Black Willow Trail                                                       Altamonte Springs     FL           32714
    Robert Kinkaid                                                         85 Lakeshore Drive                                                            Georgetown            MA           01833
    ROBERT KNIPPEN                                                         24 WATERHOUSE STREET #2                                                       SOMERVILLE            MA           02144
    Robert Koch Jr                                                         608 Kings Way                                                                 Naples                FL           34104
    ROBERT KURKLEN                                                         36730 N VASARI DRIVE                                                          SCOTTSDALE            AZ           85262
    ROBERT L HARRIS                                                        6509 N ROCKWELL                                                               CHICAGO               IL           60645
    ROBERT L JOHNSON                                                       204 NORTH LAKE RD                                                             COLUMBIA              SC           29223
    Robert L Merrill                                                       890 N Ardmore Ave                                                             Villa Park            IL           60181
    ROBERT L REID                                                          3321 COLOMA DRIVE                                                             CARSON CITY           NV           89705
    ROBERT LAIDLAW                                                         788 1/2 OCONNOR DRIVER                                                        TORONTO               ON           M4B 2S6      Canada
    Robert Lain                                                            11856 South 825 West                                                          Edinburg              IN           46124
    Robert Lamothe                                                         225 Exeter Road                                                               Hampton               NH           03842
    Robert Lauron                                                          5007 9th Ave W                                                                Everett               WA           98203
    Robert Lee                                                             P.O. Box 231                                                                  Oak Lawn              IL           60454
    ROBERT LEE JARVIS                                                      1004 INGRAM CT                                                                AMBLER                PA           19002
    ROBERT LESLIE SMITH                     C/O GRAVERS LANE GALLERY       8405 GERMANTOWN AVE                                                           PHILADELPHIA          PA           19118
    Robert Lewine
    ROBERT LEWIS                            LINN-BENTON COM COL MATH       DEPT 6500 SW PACIFIC BLVD                                                     ALBANY                OR           97330
    Robert Liacopoulos                                                     57 Bess Road                                                                  Needham               MA           02492
    ROBERT LOWELL                                                          23975 PARK SORRENTO STE 365                                                   CALABASAS             CA           91302
    ROBERT M PRINGLE                                                       216 WOLFE STREET                                                              ALEXANDRIA            VA           22314
                                            DBA EDUCATION MARKET
    ROBERT M RESNICK                        RESEARCH                       P O BOX 940418                                                                ROCKAWAY PARK         NY           11694

    ROBERT MALCOLM GOODMAN                                                 BLUEBELL HOUSE, MARKET PLACE                                                  MIDDLETON-IN-TEESDALE Durham       DL12 0QG     United Kingdom
                                            TIAA-CREF TRUST CO ATTN
    ROBERT MANN THORNDIKE TRUST             CANAVAN                        211 NORTH BROADWAY STE1000                                                    ST LOUIS              MO           63102
    Robert Marafino                                                        597 Ten Rod Road                                                              N. Kingston           RI           02852
    Robert Marshall                                                        PO Box 805                                                                    Voorhees              NJ           08043
    ROBERT MAUST                            DBA PHOTO AGORA                3711 HIDDEN MEADOW LANE                                                       KEEZLETOWN            VA           22832
    ROBERT MAXIM                                                           104 DAVID AVENUE                                                              VESTAL                NY           13850-3320
    ROBERT MCCLURE                                                         3607 CORONADO DRIVE                                                           LOUISVILLE            KY           40241
    Robert Mccomiskie                                                      2 Walker Rd                                                                   North Andover         MA           01845
    ROBERT MCMAHON                                                         4152 LOST CANYON DRIVE                                                        LOVELAND              CO           80538
    ROBERT MOESTA                           DBA THE REWIRED GROUP LLC      132 MORAN ROAD                                                                GROSSE POINTE FARMS   MI           48236
    ROBERT N ARNOLD                         DBA WILCHER ASSOCIATES         4813 ARGOSY LANE                                                              CARLSBAD              CA           92008
    Robert N Hill                                                          P.O. Box 1068                                                                 Wake Forest           NC           27588
    ROBERT NATHANIEL MORRIS                                                1307 COLLEGE AVENUE, APT 9                                                    WHEATON               IL           60187
    ROBERT NEUHAUS                                                         33616 NORTH 46TH PLACE                                                        CAVE CREEK            AZ           85331
    Robert Newman                                                          3450 N. Lake Shore             Dr. Apt. 3511                                  Chicago               IL           60657
    Robert Noll                                                            505 West 32Nd St.                                                             Vancouver             WA           98660
    Robert Overholtzer                                                     284 High St                                                                   Hanson                MA           02341
    Robert Patrick Barry                                                   501A Green St                  #3                                             Cambridge             MA           02139
    ROBERT PENNINGTON                                                      1681 WINGSPAN WAY                                                             WINTER SPRINGS        FL           32708
    ROBERT PERRON                           C/O ANDREW PERRON              7 MAPLEWOOD ROAD                                                              FALMOUTH              ME           04105
    Robert Phillips                                                        338 Old Ct. Path                                                              Framingham            MA           01701
    Robert Plank                                                           709 Delta                                                                     Romeoville            IL           60446
    Robert Plimpton                                                        3108 W. Aurburn Hills Ct.                                                     Sioux Falls           SD           57108
    ROBERT POSTMAN                                                         33 JULIA STREET                                                               CLOSTER               NJ           07624
    Robert Price                                                           P.O. BOX 336                                                                  CASSOPOLIS            MI           49031
    Robert Riley                                                           248 Late Avenue                                                               Bridgeport            WV           26330
    Robert Rinehart                                                        1713 Prairie Wind Dr.                                                         Joliet                IL           60435
    ROBERT RINK                             DBA BOB RINK PHOTOGRAPHY       8234 N 15TH PLACE                                                             PHOENIX               AZ           85020
    Robert Roliardi                                                        945 Adare Drive                                                               Wheaton               IL           60187
    Robert Roppel                                                          25731 North Kyle Court                                                        Hawthorn Woods        IL           60047
    ROBERT ROZEMA                                                          1635 BLUEGRASS CT                                                             GRAND RAPIDS          MI           49546
    ROBERT S ELBL                                                          5432 NORWOOD ROAD                                                             SHAWNEE MISSION       KS           66205



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    381 of 488                                                                                       1:26 PM
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                                                                                                              389 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


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    Robert S Hooton                                                        28883 North Oak Road                                                           Wright City           MO           63390
    ROBERT S MCELVAINE                                                     201 CONCORD DRIVE                                                              CLINTON               MS           39056
    Robert S Nover                                                         50 Mott St.                                                                    Arlington             MA           02474-8869
    ROBERT S RACZKA                                                        488 LONGFELLOW AVENUE                                                          GLEN ELLYN            IL           60137
    ROBERT S WACHAL                                                        8 WOODLAND HEIGHTS NE                                                          IOWA CITY             IA           52240
    Robert Sallee                                                          7431 So. Champlain Ave                                                         Chicago               IL           60619
    ROBERT SCHOONOVER                                                      7434 HORSETAIL                                                                 SAN ANTONIO           TX           78240
    ROBERT SCHULZ                                                          287 OCEAN AVENUE APT 4D                                                        BROOKLYN              NY           11225
    Robert Scott                                                           Burgess Point Rfd                                                              Wareham               MA           02571
    ROBERT SCOTT PITCOCK                                                   P O BOX 520991                                                                 TULSA                 OK           74152
    ROBERT SERGEL                                                          69 HARVEY STREET # 9                                                           CAMBRIDGE             MA           02140
    Robert Sheridan                                                        201 Liscio Loop                                                                Georgetown            TX           78628
    Robert Smith                                                           140 Wilson Dr.                                                                 New Palestine         IN           46163
    Robert Stewart                                                         1406 Cottage Way                                                               Marietta              GA           30066
    Robert Stuart                                                          11117 Riverview Dr                                                             Riverview             FL           33569
    ROBERT T DAVIS JR                       DISTRICT SUPERVISOR            1500 BISCAYNE BLVD SUITE 317                                                   MIAMI                 FL           33132
    ROBERT T STEARN                                                        1733 1/2 N EDGEMONT ST                                                         LOS ANGELES           CA           90027-4101
    ROBERT T SWAINHART                                                     6801 REPUBLIC DR                                                               MCKINNEY              TX           75071
    ROBERT TERRY LIBRARY                    ATTN BERNARD FORRESTER         3100 CLEBURNE STREET                                                           HOUSTON               TX           77004
    Robert Thibeault                                                       34 Tanglewood Dr                                                               Milford               MA           01757
    ROBERT THOMAS DEWING                                                   752 PROVINCETOWN DRIVE                                                         CAROL STREAM          IL           60188-2970
    ROBERT THORNTON                                                        46 MCCOUNS LANE                                                                OYSTER BAY            NY           11771
    ROBERT TREMMEL                                                         526 NE 5TH                                                                     ANKENY                IA           50021
    Robert Tricoski                                                        7034 NE Everett St                                                             PORTLAND              OR           97213
    Robert Tucek                                                           7702 Copperas Drive                                                            Austin                TX           78749
    ROBERT V TUCEK                          DBA THOROUGHLY CZECHED         7702 COPPERAS DRIVE                                                            AUSTIN                TX           78749
    Robert Verdin Jr                                                       3009 Ammunition                                                                Austin                TX           78748
    Robert Vickrey                                                         1050 Monument St.                                                              Pacific Palisades     CA           90272
    ROBERT W BONE                                                          1901 SKYCREST DRIVE, APT 4                                                     WALNUT CREEK          CA           94595
    Robert W Gokey                                                         2361 Pierpont Avenue                                                           Lawrenceville         GA           30043
    ROBERT W GUTMAN                                                        37 WEST 12TH ST APT 12G                                                        NEW YORK              NY           10011
    Robert W Holcomb                                                       8070 Allerton Ln                                                               Cumming               GA           30041
    ROBERT W LEWINE                         DBA ROB LEWINE PHOTOGRAPHY     8929 HOLLY PLACE                                                               LOS ANGELES           CA           90046
    Robert W Squires Jr                                                    9204 Palm Tree Dr                                                              Windermere            FL           34786
    Robert Warren                                                          8500 Candelaria Drive                                                          Austin                TX           78737
    ROBERT WILLIAM HARRIS                                                  2102 PASEO DEL MAR                                                             SAN PEDRO             CA           90732
    Robert Younger                                                         4744 Bonnie St Se                                                              Kentwood              MI           49508
    ROBERT ZIMMERMAN                                                       4708 MONTGOMERY PLACE                                                          BELTSVILLE            MD           20705-2921
    Roberta A Jones                                                        1938 Longwing Court                                                            Orange Park           FL           32003
    Roberta Beaulieu                                                       321 Gertrude Avenue                                                            Warwick               RI           02886
    ROBERTA C HARNISH                                                      2719 MOCKINGBIRD DRIVE                                                         CROWN POINT           IN           46307
    Roberta Dulay                                                          P.O. Box 104                                                                   Nederland             CO           80466
    Roberta Durham                                                         151 Oregon Avenue                                                              Palo Alto             CA           94301

    ROBERTA I BELL                                                         82 S ELMWOOD ROAD (P O BOX 382)                                                HANCOCK               NH           03449-0382
    Roberta Knauf                                                          193 Enfield Lane                                                               Grayslake             IL           60030
    Roberta Lew                                                            100 Shepards Cove Road          Unit F-104                                     Kittery               ME           03904
    ROBERTA MCMANUS                                                        9253 HICKORY HILL ROAD                                                         OXFORD                PA           19363
    ROBERTA MYLES GRAVELLE                                                 2108 GROSVENOR COURT                                                           FORT COLLINS          CO           80526
    Roberta Oakley                                                         627 Sutton Street                                                              Northbridge           MA           01534
    Roberta Pace                                                           36218 Gingertree Trail                                                         Yucaipa               CA           92399
    Roberta Stone                                                          1121 Logan Av                                                                  Elgin                 IL           60120
    ROBERTA T WILLIAMS                                                     3157 S LEE POINT RD                                                            SUTTONS BAY           MI           49682
    Roberta W Taylor                                                       5877 Riverstone Circle                                                         Atlanta               GA           30339
    ROBERTO CARLOS MONTERO                                                                                                                                DELEGACION
    ROJAS                                   AERONAUTICAL MILITAR           SUR 107 NUM 1303 INT 5 COL                                                     VENUSTIANO CARRANZA                             Mexico
    ROBERTO CLEMENTE LEARNING
    ACADEMY                                                                1551 BEARD ST                                                                  DETROIT               MI           48209
    ROBERTO JUNCO GIL                       URB SABANERA DEL RIO           CAMINO LAS PALMAS # 309                                                        GURABO                PR           00778
    Roberto Santiago                                                       7520 N OKETO AVE                                                               CHICAGO               IL           60631
    ROBERTS ANNE                                                           13 TURKEY HOLLOW                                                               NEW HARTFORD          CT           06057
    Robin Adams                                                            3200 Harpers Ferry Ln                                                          Austin                TX           78745
    Robin Allison                                                          40052 CALLE EL CLAVELITO                                                       GREEN VALLEY          CA           91390
    ROBIN B COOK                            ATTN LINNETTE SCHONERT         4601 GULF SHORE BLVD, N P4                                                     NAPLES                FL           34103
    ROBIN CAMPBELL                                                         85 ELMBRIDGE                                                                   OLD HARLOW            Essex        CM17 0JY     United Kingdom
    ROBIN COHEN                                                            94 HOLBROOKE RD                                                                WHITE PLAINS          NY           10605
    ROBIN COX                                                              100 ROLLIN CREEK CIRCLE                                                        IRMO                  SC           29063
    ROBIN GIBBS                                                            15555 W EVANS                                                                  SURPRISE              AZ           85379
    ROBIN GOLD                                                             181 LONG HILL ROAD APT 6-16                                                    LITTLE FALLS          NJ           07424
    Robin Grier                                                            3250 Hering Ave                  Apt 2                                         Bronx                 NY           10469



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   382 of 488                                                                                         1:26 PM
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                                                                                                                  First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                     Address2              Address3              City        State       Zip        Country
    Robin H Archer                                                         6836 S. Paxton                                                               Chicago           IL           60649
    Robin Hoey                                                             53 Pilgrim Road                                                              Marblehead        MA           01945
    ROBIN J CAREY                                                          9351 WHEELER CT                                                              HIGHLANDS RANCH   CO           80126
    ROBIN JENKINS                                                          3150 S SAGAMONT #8                                                           SPRINGFIELD       MO           65807
    ROBIN JENKINS                                                          3239 A N 372 RD                                                              HOLDENVILLE       OK           74848
    Robin K Brown                                                          1225 Kings Circle               #15                                          West Chicago      IL           60185
    Robin Kautenberger                                                     2994 Andrus Drive                                                            West Chicago      IL           60188
    ROBIN KOONTZ                                                           P O BOX 336                                                                  NOTI              OR           97461
    Robin Lee Herr                                                         75 School Street                                                             Acton             MA           01720
    ROBIN N CHAPMAN                                                        3751CR 617                                                                   RIPLEY            MS           38663
    Robin Paglomutan                                                       421 Abbeyridge Ct                                                            Ocoee             FL           34761
    Robin Paradise                                                         8707 Buxley Place                                                            Orlando           FL           32829
    Robin Reed                                                             357 Summer Street                                                            Lynnfield         MA           01940
    Robin Reeves                                                           19 California Road                                                           Reading           MA           01867
    ROBIN ROY                                                              8651 W OLYMPIC BLVD # 310                                                    LOS ANGELES       CA           90035
    Robin S Moynihan                                                       1402 HARPER STREET                                                           BALTIMORE         MD           21230
    ROBIN SCARCELLA                                                        22 MENDEL COURT                                                              IRVINE            CA           92617
    ROBIN STRAUS AGENCY INC                                                229 EAST 79 STREET              ATTN ROBIN STRAUS                            NEW YORK          NY           10075
    ROBIN STRAUS AGENCY INC                                                229 EAST 79TH ST STE 5A                                                      NEW YORK          NY           10075
    ROBIN USYK                                                             4732 COMPASS DRIVE                                                           BRADENTON         FL           34208
    ROBIN WARD SAVAGE                                                      130 TEABERRY DRIVE                                                           PHILIPSBURG       PA           16866
    ROBINSON ANITA                                                         5514 MARBURN AVE                                                             LOS ANGELES       CA           90043
    ROBIOUS ELEMENTARY                                                     2801 ROBIOUS CROSSING DR                                                     MIDLOTHIAN        VA           23113
    ROBRETA HUDGINS                                                        3348 PIPING ROCK STREET                                                      TALLAHASSEE       FL           32309
    ROBYN BAILEY CAWTHON                                                   2208 CHAPMAN DR                                                              ALBANY            GA           31707
    ROBYN BROWDER                                                          5412 KEYSTONE PLACE                                                          VIRGINIA BEACH    VA           23464
    Robyn Cooper                                                           3262 Huntington Lane                                                         Montgomery        IL           60538
    Robyn D Slavinski                                                      1360 Ravida Woods Drive                                                      Apopka            FL           32703
    Robyn Fenstermacher                                                    8601 Glenridge Place NW                                                      Albuquerque       NM           87114
    ROBYN I RENAHAN                                                        11 CARRIAGE CHASE LANE                                                       ATKINSON          NH           03811
    ROBYN KENNEY                            SOUTH ROW SCHOOL               250 BOSTON ROAD                                                              CHELMSFORD        MA           01824
    ROBYN R MARKOVIC                                                       8800 REGATTA BAY PLACE                                                       LAS VEGAS         NV           89131
    ROBYN RHODES                                                           3524 RUTSON                                                                  AMARILLO          TX           79109
    ROBYN RYAN                                                             2717 W SAN CARLOS                                                            FRESNO            CA           93711
    Robyn Sennott                                                          24801 Riverboat Bend                                                         Leesburg          FL           34748
    Robyn Setzen                                                           785 Olive St                                                                 Menlo             CA           94025
    ROBYN SILBEY                                                           5 TUCKAHOE COURT                                                             GAITHERSBURG      MD           20878
    ROBYN STUART CZARNESKI                                                 6108 JUMANO LANE                                                             AUSTIN            TX           78749
    ROBYN T CONLON                                                         8333 DOUGLAS - SUITE #1414                                                   DALLAS            TX           75225
    ROCCO BAVIERA                                                          48 PLEASANT AVENUE                                                           HAMILTON          ON           L9C 4M7   Canada
                                                                           2139 COMMODORE PERRY
    ROCHE DENIS                                                            HIGHWAY                                                                      SOUTH KINGSTOWN   RI           02879
    ROCHE JAUNE PICTURES INC                                               171 EAST RIVER ROAD                                                          EMIGRANT          MT           59027
    ROCHELLE AGBOYIBOR                                                     64 TENSAW DRIVE                                                              BROWNS MILLS      NJ           08015
    ROCHELLE BELINDA                                                       3307 LAUREL AVENUE                                                           CHEVERLY          MD           20785
    Rochelle Dolgoff                                                       315 N Maple Ave                 1F                                           Oak Park          IL           60302
    ROCHELLE RUPP                                                          7715 WRYNECK DRIVE                                                           DUBLIN            OH           43017
    Rochelle Williams                                                      7500 Flase River Road                                                        Oscar             LA           70762
                                                                                                                                                        CUITLAHUAC
                                                                                                                                                        DELEGACION
    ROCIO FRANCO LOPEZ                      UNIDAD HABITACIONAL            EDIFICIO 69-B DEPTO 402                                                      AZCAPOTZALCO                   02500     Mexico
    ROCK AND ROLL ACADEMY                                                  172 ALEXANDER OVERLOOK                                                       TELLURIDE         CO           81435
    ROCK FOUNDATION                                                        PO BOX 316                                                                   CLYDE PARK        MT           59018
    Rockefeller, Laura
    ROCKET IMAGING INC                                                     12365 RHEA DRIVE                                                             PLAINFIELD        IL           60585
    ROCKS TO RAINBOWS LLC                                                  1517 ANTIQUA DRIVE              ATTN JO ANNE VASQUEZ                         GILBERT           AZ           85233
    ROCKWOOD SCHOOL DISTRICT                CHESTERFIELD ELEM SCHOOL       111 EAST NORTH STREET                                                        EUREKA            MO           63025

    ROCKWOOD SEARCH ASSOCIATES                                             1001 SIXTH AVENUE STE 2201                                                   NEW YORK          NY           10018
    Rocky View Schools                                                     243209 Garden Road NE                                                        Calgary           AB           T1X-1E1   Canada
    Rockys Graphics, Inc.                                                  560 S Holly @ Leetsdale                                                      DENVER            CO           80246
    Rod Gaona                                                              229 W Berkshire Cir                                                          Longwood          FL           32779
                                                                                                           ATTN RICK BERG- CODE
    ROD SERLING TRUST                                                      9229 SUNSET BLVD, STE 615       ENTERTAINMENT                                LOS ANGELES       CA           90069
    RODALE INC                              ATTN BOB NIEGOWSKI             733 THIRD AVENUE                                                             NEW YORK          NY           10017
    RODANAS KRISTINA                                                       P O BOX 301                                                                  YARMOUTHPORT      MA           02675
    RODEANA BIXLER                                                         31683 CUSTER ROAD                                                            WAYNOKA           OK           73860
    RODEEN LITERARY MANAGEMENT
    INC                                     ATTN PAUL RODEEN               3501 N SOUTHPORT #497                                                        CHICAGO           IL           60657
    RODERICK H JELLEMA                                                     3000 CONNECTICUT AVE NW # 229                                                WASHINGTON        DC           20008



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                 383 of 488                                                                                1:26 PM
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                                                                                                                      of 519
                                                                                                                       First Class Service List


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    Roderick M Spelman                                                     16 Bayshore Drive                                                                               Falmouth            ME           04105
    RODERICK WONG                                                          3669 MEARES AVE                                                                                 VANCOUVER           BC           V5S 3X5      Canada
    RODGER BYBEE                                                           670 RIDGESIDE DR                                                                                GOLDEN              CO           80401
    Rodney A Ellison                                                       2413 Anacostia Ave.                                                                             Ocoee               FL           34761
    RODNEY C KEELE                                                         2404 PORT RUSH DRIVE                                                                            MOORE               OK           73160
    Rodney Leith                                                           6443 Leonard Avenue                                                                             Cocoa               FL           32927
    RODRIGO FIGUEROA GARCIA                 DBA MORPH DESIGN               ZACATECAS 100 COL ROMA                                                                          ROMA                             06700        Mexico
    ROE BETTY D                                                            2889 TAYLORS CHAPEL RD                                                                          CROSSVILLE          TN           38572
    ROGER BALL                              ROGER BALL PHOTOGRAPHY INC     1402 WINNIFRED STREET                                                                           CHARLOTTE           NC           28203
    Roger Bennett                                                          875 Totem Wood Ct                                                                               Manchester          MO           63021
    Roger D Robertson                                                      16 Schurman Dr                                                                                  Derry               NH           03038
    ROGER D VAN DEZANDE                                                    4518 ROYAL LYTHAM DRIVE                                                                         COLUMBIA            MO           65203
    ROGER E FOURNIER JR                                                    43 RUNNELS BROOK DRIVE                                                                          DAYTON              ME           04005
    ROGER FARR                                                             7225 PELICAN BAY BLVD # 702                                                                     NAPLES              FL           34108
    ROGER G PINCHES JR                                                     15 BRIGHT ST FIRST FLOOR                                                                        NORTHAMPTON         MA           01060
    Roger Godwin                                                           13601 Elm Ridge Ln               Apt 1525                                                       Austin              TX           78727
    ROGER HEWITT                                                           4 SHEAR BANK CLOSE                                                                              BLACKBURN           Lancashire   BB1 8AW      United Kingdom
    Roger Kramer                                                           159 Texas Rd.                                                                                   South Bristol       ME           04568
    ROGER SUTTON                                                           17 PERSHING ROAD                                                                                JAMAICA PLAIN       MA           02130
    ROGER TORY PETERSON INSTITUTE
    OF                                      NATURAL HISTORY                311 CURTIS ST                                                                                   JAMESTOWN           NY           14701
    Roger Yonan                                                            5227 Dobson Ave.                                                                                Skokie              IL           60077
    ROGERS COLERIDGE & WHITE
    LITERARY AGENCY                         PERMISSIONS DEPT               20 POWIS MEWS                                                                                   LONDON                           W11 1JN      United Kingdom
    ROGERS COLERIDGE AND WHITE                                             20 POWIS MEWS                                                                                   LONDON                           W11 1JN      United Kingdom
    ROGERS MARY B                                                          9341 WEST 125TH STREET                                                                          OVERLAND PARK       KS           66213-4740
    ROGERS VENDING CO INC                                                  1000 NICHOLAS BLVD                                                                              ELK GROVE VILLAGE   IL           60007
    Rohit Sevak                                                            9132 N. Bay Blvd                                                                                Orlando             FL           32819
    ROI Consulting Inc.                                                    1310 Robinwood Drive                                                                            Bellevue            NE           68005
    ROID GALE                                                              605 PEACOCK DRIVE                                                                               MURPHY              TX           75094
    ROJAS JORGE NELSON                                                     1620 OFARRELL                                                                                   RENO                NV           89503
    Roland Garcia                                                          2115 Cuyamaca Ct                                                                                Spring Valley       CA           91977
    ROLAND L FREEMAN                                                       117 INGRAHAM ST NW                                                                              WASHINGTON          DC           20011
    ROLAND SEITRE                           AUTEUR-PHOTOGRAPHE             1 RUE DU COMMERCE                                                                               MARRAY                           37370        France
    Roland Slabon                                                          29 Greenleaf Dr                                                                                 Exeter              NH           03833
    Rolee Kumar                                                            249 Shawmut Ave.                 Apt #3                                                         Boston              MA           02118
    ROLF LUNDEN                                                            BORIEGAT 52A                                                                                    UPPSALA                          75229        Sweden
    ROLF MYLLER                                                            1165 FIFTH AVENUE                                                                               NEW YORK            NY           10029
    ROLF PETERSON                                                          605 W 2ND STREET                                                                                HOUGHTON            MI           49931
    ROLLING STONE LLC                                                      1290 AVENUE OF THE AMERICAS                                                                     NEW YORK            NY           10104-0295
    Rollo Limousine Services, Inc.                                         1040 North Short Rd                                                                             REVERE              MA           02151
    ROLLY K KOHANSKY                        C/O BET PROTEA                 5 ASHER BARASH ST                                                                               HERZILYA                         46365        Israel
    ROLTA INTERNATIONAL INC                 DEPARTMENT 20-1041             P O BOX 5940                                                                                    CAROL STREAM        IL           60197-5940
    ROMAN CATHOLIC BISHOP OF LAS
    VEGAS                                   DBA DIOCESE OF LAS VEGAS       P O BOX 18316                                                                                   LAS VEGAS           NV           89114-8316
    ROMAN CATHOLIC BISHOP OF SAN
    JOSE                                    DIOCESE OF SAN JOSE            1150 N 1ST STREET, STE 100                                                                      SAN JOSE            CA           95112-4966
    ROMAN CATHOLIC BISHOP OF                                                                                                                      MINISTRY DAY EXHIBITOR
    STOCKTON                                CYNTHIA M CHAVEZ               1105 N LINCOLN STREET                                                  DIRECTOR                 STOCKTON            CA           95203
    ROMAN CATHOLIC BISHOP OF
    WORCESTER                               DIOCESE OF WORCESTER           49 ELM STREET                                                                                   WORCESTER           MA           01609

    ROMAN CATHOLIC CHURCH OF THE            ARCHDIOCESE OF NEW ORLEANS     7887 WALMSLEY AVENUE                                                                            NEW ORLEANS         LA           70125-3431
    ROMAN CATHOLIC DIOC OF SALT LK
    CITY                                    OFF OF RELIGIOUS EDUC          27 C STREET                                                                                     SALT LAKE CITY      UT           84103
    ROMAN CATHOLIC DIOCESAN
    CORPORATION                             DIOCESE OF NORWICH             43 PERKINS AVE                                                                                  NORWICH             CT           06360
    ROMAN CATHOLIC DIOCESE OF               WHEELING-CHARLESTON            1300 BYRON STREET                                                                               WHEELING            WV           26003
    ROMAN CATHOLIC DIOCESE OF
    BATON ROUGE                             CATHOLIC SCHOOLS OFFICE        P O BOX 2028                                                                                    BATON ROUGE         LA           70821
    ROMAN CATHOLIC DIOCESE OF
    CLEVELAND                               DBA CATHOLIC UNIVERSE BULLETIN 1404 EAST 9TH STREET 6TH FLOOR                                                                  CLEVELAND           OH           44114
    ROMAN CATHOLIC DIOCESE OF
    FRESNO                                                                 1550 N FRESNO STREET                                                                            FRESNO              CA           93703
    ROMAN CATHOLIC DIOCESE OF
    HARRISBURG                              SECRETARIAT FOR EDUCATION      4800 UNION DEPOSIT RD                                                                           HARRISBURG          PA           17111-3710
    ROMAN CATHOLIC DIOCESE OF
    LITTLE ROCK                             CATHOLIC SCHOOLS OF ARKANSAS 2500 NORTH TYLER STREET                                                                           LITTLE ROCK         AR           72207
    ROMAN CATHOLIC DIOCESE OF
    OGDENSBURG                                                             100 ELIZABETH ST -P O BOX 369                                                                   OGDENSBURG          NY           13669



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      384 of 488                                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                     First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                         Address2                        Address3                   City           State       Zip           Country
    ROMAN CATHOLIC DIOCESE OF
    PHOENIX                                                                400 E MONROE STREET             ATTN SR MELITA PENCHALK              CATHOLIC SCHOOLS OFFICE   PHOENIX              AZ           85004
    ROMAN CATHOLIC DIOCESE OF
    PROVIDENCE                              CATHOLIC SCHOOL OFFICE         ONE CATHEDRAL SQUARE                                                                           PROVIDENCE           RI           02903-3695
    ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE                               CENTRE                         PO BOX 9023                                                                                    ROCKVILLE CENTER     NY           11571
    ROMAN CATHOLIC DIOCESE OF
    ROCKVILLE                               ATTN EDUCATION DEPT            PO BOX 9023                                                                                    ROCKVILLE CENTER     NY           11571
    ROMAN CATHOLIC DIOCESE OF               DEPT OF EVANGELIZATION &
    SACRAMENTO                              CATECHESIS                     2110 BROADWAY                                                                                  SACRAMENTO           CA           95818-2541
    ROMAN CATHOLIC DIOCESE OF SAN
    JOSE                                    MOST HOLY TRINITY SCHOOL       1940 CUNNINGHAM AVE                                                                            SAN JOSE             CA           95122
    ROMAN CATHOLIC DIOCESE OF
    SPRINGFIELD                             FOR CATHOLIC SCHOOLS OFFICE    65 ELLIOT ST PO BOX 1730                                                                       SPRINGFIELD          MA           01102
    ROMAN CATHOLIC DIOCESE OF
    SPRINGFIELD                             ATTN GAIL FURMAN               65 ELLIOT ST PO BOX 1730                                                                       SPRINGFIELD          MA           01102
    Roman Warren                                                           6552 N. Ashland                 Apt 3                                                          Chicago              IL           60626
    ROMANTIC TIMES NC                       DBA RT BOOK REVIEWS            55 BERGEN STREET                                                                               BROOKLYN             NY           11201
    ROME BOARD OF EDUCATION                                                508 E 2ND STREET                                                                               ROME                 GA           30161
    ROMISCH-GERMANISCHES
    ZENTRALMUSEUM                           MAINZ                          ERNST-LUDWIG-PLATZ 2                                                                           MAINTZ                            55116        Germany
    ROMUALD SPASOWSKI                                                      3031 BORGE ST APT 307                                                                          OAKTON               VA           22124-2806
                                            DBA RON BEHRMANN
    RON BEHRMANN                            PHOTOGRAPHY                    8405 MONITOR DRIVE NE                                                                          ALBUQUERQUE          NM           87109
    RON BERGER                                                             PRATT CORNER ROAD                                                                              AMHERST              MA           01002
    Ron Buses                                                              5428 W Granite Ct                                                                              New Palestine        IN           46163

    RON CARLSON                             C/O BRANDT & HOCHMAN LITERARY 1501 BROADWAY SUITE 2310                                                                        NEW YORK             NY           10036
    RON CEASAR                                                            3810 KANSAS AVE NW                                                                              WASHINGTON           DC           20011

    RON CHAPPLE PHOTOGRAPHY INC                                            501 N. COLLEGE ST                                                                              CHARLOTTE            NC           28202
    RON GLENN                                                              P O BOX 612                                                                                    TYRONE               OK           73951
    RON HIMLER INC                                                         11301 EAST PLACITA CIBUTA                                                                      TUCSON               AZ           85749
    RON KLEMP                                                              10717 FARRAGUT DRIVE                                                                           CULVER CITY          CA           90230
    RON MILLER                                                             P O BOX 60                                                                                     WOODSTOCK            VT           05091-0060
    RON PARKS                                                              50 REDBAY COURT                                                                                NOBLESVILLE          IN           46060
    RON WRIGHT - TAX ASSESSOR-
    COLLECTOR                                                              P O BOX 961018                                                                                 FORT WORTH           TX           76161-0018
    RONA F FLIPPO                                                          135 ANTRIM ST UNIT 2                                                                           CAMBRIDGE            MA           02139

    RONALD A SANFORD                        DBA RON SANFORD PHOTOGRAPHY P O BOX 1330                                                                                      BERRY CREEK          CA           95916
    Ronald Bell                                                         262 Southwind Way                                                                                 Greenwood            IN           46142
    Ronald Bock                                                         PO Box 215                                                                                        Union                WA           98592-0215
    Ronald C Waitt                                                      57 Quincy Street                                                                                  Medford              MA           02155
    Ronald Chieffe Jr                                                   1410 Mycroft Drive                                                                                Cocoa                FL           32926
    Ronald Durham                                                       2506 WEDGLEA DR                    #910                                                           DALLAS               TX           75211-2096
    RONALD EDWARD BROWN                     DBA GOTMAC CONSULTING       1001 CIRCLE STREET                                                                                WENATCHEE            WA           98801
    Ronald Fowler                                                       19215 Blake Manor Rd                                                                              Manor                TX           78653
    Ronald Genicola                                                     1064 Third Street                                                                                 White Hall           PA           18052
    Ronald Griffin                                                      401 Betchan                        1-A                                                            Lake Dallas          TX           75065
    Ronald Hussey                                                       237 Bowers Streeet                 Apt. 3                                                         Jersey City          NJ           07307
    RONALD J REGE JR                                                    1553 CURRAN ST                                                                                    LOS ANGELES          CA           90026
    Ronald K Jones                                                      1693 Rudelle                                                                                      Florissant           MO           63031
    Ronald Key                                                          302 Washington street              apt 1                                                          Dorchester           MA           02121
    RONALD L PERRY                                                      7753 FRANKLIN ROAD                                                                                CRANBERRY TOWNSHIP   PA           16066
                                            DBA LAW OFFICES OF RONALD
    RONALD L ROSENBAUM                      ROSENBAUM                   E-8 CALLE D URB TORREMOLINOS                                            ATTN NANCY PUJALS         GUAYNABO             PR           00969
    RONALD LANDFAIR                                                     625 N FAIRVIEW AVENUE                                                                             LANSING              MI           48912-3115
    RONALD LARUSSA                                                      40 CHESTEA RD                                                                                     BELMONT              MA           02478
    Ronald Lindsay                                                      8206 Lynch Drive                                                                                  Orlando              FL           32835
    Ronald Luczak                                                       1103 Madison Street                                                                               Evanston             IL           60202
    RONALD M MARATEA                                                    4304 SUBER CT                                                                                     VIRGINIA BEACH       VA           23452
    Ronald Mallis                                                       12 Chestnut Street                                                                                Boston               MA           02108
    Ronald Matthew                                                      303 Dudley St                      Apt. #6                                                        Roxbury              MA           02119
    Ronald Petzold                                                      25 Adelaide Ave                                                                                   Methuen              MA           01844
    Ronald Quinn                                                        22 Odd Fellows Rd                  Unit 4                                                         E. Hampstead         NH           03826
    Ronald Rutkowski                                                    4907 W Schubert Ave                                                                               Chicago              IL           60639
    RONALD S BERMAN                                                     9 MAGNOLIA LANE                                                                                   MT ARLINGTON         NJ           07856
    Ronald T Billingsley                                                503 S. Walnut St.                                                                                 Georgetown           TX           78626
    RONALD W KIMBALL                        dba KIMBALL STOCK           1960 COLONY STREET                                                                                MOUNTAIN VIEW        CA           94043



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                    385 of 488                                                                                                     1:26 PM
                                                      12-12171-reg      Doc 136               Filed 07/15/12 Exhibit
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                                                                                                        Pg Creditor
                                                                                                            393 Matrix
                                                                                                                    of 519
                                                                                                                First Class Service List


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    Ronald Webb                                                      4622 North Kenmore Road                                                                        Indianapolis        IN           46226
    RONAN CHRISTINE                                                  2248 WEST PALMER                                                                               CHICAGO             IL           60647
    Ronda Baggett                                                    1802 Connecticut Avenue                                                                        Lynn Haven          FL           32444
    RONDA JONES                                                      9403 EAST MEADOW VALE                                                                          AUSTIN              TX           78758
    Ronit Bezalel                                                    1873 Adanac Apt 12                                                                             Vancouver           BC           V5L 2E1      Canada
    Ronna Weaver Grant                                               28 So Main St Box 292                                                                          Randolph            MA           02368
    RONNI P LAING                                                    9261 NW 9TH PLACE                                                                              PLANTATION          FL           33324
    Ronnie Gill                                                      6228 Harness Rd.                                                                               Baton Rouge         LA           70817
    RONTO CRAIG WAYNE                                                10341 JUNCTION HILL DR                                                                         LAS VEGAS           NV           89134
    ROOLOO LITERACY INC                                              13153 RARITAN STREET                                                                           WESTMINSTER         CO           80234
    ROOSA KAREN                                                      1841 MILLERSVILLE PIKE                                                                         LANCASTER           PA           17603
    Roosevelt Childrens Academy    ED                                111 W. 57th Street              Suite 525                                                      New York            NY           10019
    Roosevelt Richards                                               9101 S. Bennett Ave.                                                                           Chicago             IL           60617
    ROOSEVELT UNIVERSITY                                             430 S MICHIGAN AVE              PURCHASING DEPT                                                CHICAGO             IL           60605
    ROOT BERNSTEIN MICHELE M                                         720 GAINSBOROUGH DRIVE                                                                         EAST LANSING        MI           48823
    ROOT BERNSTEIN ROBERT S                                          720 GAINSBOROUGH DR                                                                            EAST LANSING        MI           48823
    ROOT PHYLLIS                                                     3842 BLOOMINGTON AVE SOUTH                                                                     MINNEAPOLIS         MN           55407
    ROPEIK DAVID                                                     21 BAKER AVE                                                                                   CONCORD             MA           01742
    Ropes & Gray
    ROPES & GRAY                                                     PO BOX 414265                                                                                  BOSTON              MA           02241
    Ropes & Gray LLP Massachusetts RE Zynga, Inc., Defendant         Alexandra J. Roberts, Esq.      Prudential Tower                      800 Boylston Street      Boston              MA           02199-3600
    Rosa Agosto                                                      2706 Pearl Ct                                                                                  Kissimmee           FL           34743
    ROSA BERTRAN                                                     AV DIAGONAL 662-664             DEROCHOS DE AUTOR                     EDICIONES ONIRO          PLANT BAJA          Barcelona    08034        Spain
    ROSA DEL CARMEN VILLAVICENCIO
    CABALLERO                                                        COL JARDINES DEL SUR            ALDAHONES NO 6                                                 DELEG XOCHIMICO     DF           CP 16050     Mexico
    ROSA E COLLADO GONZALEZ                                          URB SAN ANTONIO CALLE H EG-5                                                                   ANASCO              PR           00610
    Rosa E Rahatt                                                    P O Box 18857                                                                                  Philadelphia        PA           19119
    Rosa Hernandez Ruiz                                              1055 Elliott Ave.                                                                              Aurora              IL           60505
    Rosa I Garcia                                                    Estancias Del Ray               Apt. 410                                                       Caguas              PR           00727
    Rosa Kyser                                                       2023 Woven Trail                                                                               Lewisville          TX           75067
    ROSA M FELICIANO CRESPO                                          BO CARRERAS CARR 405 KM 1.3     RR 2 BOX 6543                                                  ANASCO              PR           00610
    ROSA MARIA ESTRADA                                               426 N WHITING                                                                                  MESA                AZ           85213-7723
    Rosa Taveras                                                     22 Pilgrim Drive                                                                               Winchester          MA           01890
    Rosalee A Kipper                                                 895 Foran Lane                                                                                 Aurora              IL           60506
    ROSALIE AJZENSZTEJN                                              15 BASING HILL                                                                                 LONDON                           NW11 8TE     United Kingdom
    Rosalie Grenz                                                    3714 Aristotle Ave                                                                             Orlando             FL           32826
    Rosalie Panock                                                   1333 Coldspring Road                                                                           Carol Stream        IL           60188
    ROSALIE SIEGEL INTERNATIONAL   LITERARY AGENCY INC               ONE ABEY DRIVE                  ATTN ROSALIE SIEGEL                                            PENNINGTON          NJ           08534
    ROSALIE WINARD                                                   755 5TH AVENUE                                                                                 SALT LAKE CITY      UT           84103
    ROSALIND FLYNN                                                   15336 BAILEYS LN                                                                               SILVER SPRING       MD           20906
                                   DBA RONNIE KAUFMAN
    ROSALIND KAUFMAN AVEDON        PHOTOGRAPHY                       146 No ALTA VISTA BLVD                                                                         LOS ANGELES         CA           90036
    Rosalind Martin                                                  40 Meola Avenue                                                                                Worcester           MA           01606
    ROSALYN ARCILLA                                                  8 WILLIS DRIVE                                                                                 CLUSTER             NJ           07624
    Rosamond Beck                                                    21 Beacon Street Unit 3C                                                                       Boston              MA           02108
    Rosamond Kane                                                    1 PLEASANT ST, #4                                                                              CHARLESTOWN         MA           02129-3601
    ROSANNA W SCULLY                                                 45 SCHOOL STREET                C O WELCH AND FORBES                                           BOSTON              MA           02108
    ROSANNA WHITE NORTON                                             6327 BLANCHARD CANYON RD                                                                       TUJUNGA             CA           91042
    ROSANNE FOX                                                      31 WEST 85TH ST #2B                                                                            NEW YORK            NY           10024
    ROSANNE H MACCAULEY                                              122 SWEET BAILEY COVE                                                                          SAVANNAH            GA           31410
    ROSANNE KALOUSTIAN                                               208 19 FIFTY THIRD AVENUE                                                                      BAYSIDE             NY           11364
    ROSANNE KURSTEDT                                                 715 CLARK STREET                                                                               WESTFIELD           NJ           07090
    ROSANNE PHILLIPS                                                 11498 SW 109 RD, UNIT W                                                                        MIAMI               FL           33176
    Rosanne Sorby                                                    383 Ft. Washington Ave                                                                         Hawthorne           NY           10532
    ROSANNE TSANTES                DBA TSANTES PHOTOGRAPHY           6020 VALLEY VIEW DRIVE                                                                         ALEXANDRIA          VA           22310
    ROSARIO PALMERI TRUST                                            34 PLEASANT STREET UNIT 5                                                                      WELLESLEY           MA           02482
    ROSDEV HOSPITALITY SECAUCUS    DBA CROWNE PLAZA
    LP                             MEADOWLANDS                       2 HARMON PLAZA                                                                                 SECAUCUS            NJ           07094
    Rose Anne Marks                                                  52-8 FOXWOOD DRIVE                                                                             PLEASANTVILLE       NY           10570
    Rose Bain                                                        2807 Arlington                                                                                 Ada                 OK           74820
    ROSE COON                                                        P O BOX 691                                                                                    LOCUST GROVE        OK           74352
    ROSE F TRAYNOR                                                   47 LONGWOOD ROAD # 3                                                                           QUINCY              MA           02169
    Rose Lattuca                                                     3860 Emerson Drive                                                                             Schiller Park       IL           60176
    ROSE M SEDELY                                                    311 S EXETER ST                                                                                EUSTIS              FL           32726
    Rose Morreale                                                    1433 Coventry Rd.                                                                              Schaumburg          IL           60195
    Rose Murphy                                                      P O Box 293                                                                                    Montgomery          NY           12549
    ROSE PETAL MUSIC               ATTN ROSA MILLANG                 21700 OXNARD STREET STE 2050                                                                   WOODLAND HILLS      CA           91367
    ROSE PRINGLE                                                     9470 NW 23RD PLACE                                                                             GAINESVILLE         FL           32606
    Rose Ramsey                                                      1975 Gamboge Dr                                                                                Orlando             FL           32822
    Rose Tufankjian                                                  19Menotomy Road                                                                                Arlington           MA           02476



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                               386 of 488                                                                                                      1:26 PM
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                                                                                                                      of 519
                                                                                                                   First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                       Address2                         Address3                City          State       Zip            Country
    ROSE-ANN MCKERNAN                                                      766 MONTCLAIRE DR, NE                                                                      ALBUQUERQUE        NM            87110
    ROSEMAR DEEN                                                           4230 ATWOOD ROAD                                                                           STONE BRIDGE       NY            12484
    Rosemarie Freeman                                                      1022 E North Path                                                                          Wheaton            IL            60187
    ROSEMARIE JAUREGUI                                                     309 S QUARTZ                                                                               GILBERT            AZ            85296
    Rosemarie Miller                                                       1089 Westfield Course          Course                                                      Geneva             IL            60134
    ROSEMARY A INGHAM ESTATE                RICHARD B INGHAM EXECUTOR      6038 RICHMOND HWY APT 611                                                                  ALEXANDRIA         VA            22303-2140
    ROSEMARY B MCGOWAN                                                     65 TOWNSEND ROAD                                                                           SCITUATE           MA            02066
    ROSEMARY BOARDMAN                                                      533 NE HOLLADAY ST, APT 609                                                                PORTLAND           OR            97232
    ROSEMARY F JACKSON                                                     336 KINGS ROAD SE                                                                          MILLEDGEVILLE      GA            31061
    ROSEMARY METKE                                                         16 SILENT GROVE N                                                                          WESTPORT           CT            06880
    ROSEMARY MURRAY                                                        241 ARGONNE DR                                                                             KENMORE            NY            14217
    Rosemary N Winfield                                                    22 Woodbridge St.                                                                          Cambridge          MA            02140
    Rosemary Peters                                                        7356 LEE HWY                   LOT 50                                                      CHATTANOOGA        TN            37421
    Rosemary Ruthven                                                       1 Diamond Road                                                                             Pearl Beach 2256   NSW                        Australia
    ROSEMARY SANDBERG LTD                                                  6 BAYLEY STREET                                                                            LONDON                           WC1B 3HB     United Kingdom
    ROSEMARY THURBER                                                       205 MICHIGAN AVENUE                                                                        SOUTH HAVEN        MI            49090-1222
    Rosemary Weiss                                                         300 Lynn Shore Drive           Apt. #1001                                                  Lynn               MA            01902
    ROSEN 9939 INC                          ROSEN SHINGLE CREEK            9840 INTERNATIONAL DRIVE                                                                   ORLANDO            FL            32819
    ROSEN PUBLISHING                                                       29 EAST 21ST STREET                                                                        NEW YORK           NY            10010
    Rosenbaum, Mark
    ROSETTA POHLE                                                          699 HIGHLANDS DR                                                                           BRECKENRIDGE       CO            80424
    Roshan John                                                            2 BullMoose Run                                                                            Hopkinton          MA            01748
    Roshan Nozari                                                          317 East 91 Street, Apt. 5D                                                                New York           NY            10128
    Roshan Strong                                                          8005 Cheno Cortina Trail                                                                   Austin             TX            78749
    ROSIE BENSEN                                                           33 MILLS RD                                                                                NEWCASTLE          ME            04553
    ROSIES PLACE INC                                                       889 HARRISON AVE                                                                           BOSTON             MA            02118
    Roslyn Mathews                                                         154 N LONG AVE                                                                             CHICAGO            IL            60644
    ROSLYN WALL                                                            5900 MOSTELLER DRIVE STE 144                                                               OKLAHOMA CITY      OK            73112
    ROSLYNN WIESENFELD                                                     102 30 67TH AVE                                                                            FOREST HILLS       NY            11375
    Ross Garofalo                                                          272 EATON RD                                                                               SWANZEY            NH            03446
    ROSS HAMILTON PHOTOGRAPHY
    INC                                                                    PO BOX 179                                                                                 SEQUIM             WA            98382
                                            DBA ROSS MANTLE
    ROSS MANTLE                             PHOTOGRAPHER                   94 JEWEL STREET APT D                                                                      BROOKLYN           NY            11222
    ROSS MARY JANE                                                         12 WESTLEY LANE                                                                            NEW MILFORD        NJ            07646
                                                                           1666 CONNECTICUT AVE NW STE
    ROSS YOON LITERARY AGENCY                                              500                                                                                        WASHINGTON         DC            20009
    ROSSVILLE CHRISTIAN ACADEMY                                            280 HIGH STREET                                                                            ROSSVILLE          TN            38066

    ROSY ELIZABETH LOPEZ MOTA                                              118 MOLINILLO BORINGUEN VALLEY                                                             CAGUAS             PR            00725
    ROTELLA CARLO                                                          53 BEACONSFIELD ROAD                                                                       BROOKLINE          MA            02445
    ROTNER SHELLEY                                                         51 HENSHAW AVENUE                                                                          NORTHAMPTON        MA            01060
    ROTTERDAM MOHONASEN                                                    2072 CURRY ROAD                CENTRAL SCHOOL DISTRICT                                     ROTTERDAM          NY            12303
    ROUND ROCK INDEPENDENT SCH
    DISTRICT                                DEERPARK MIDDLE SCHOOL         8849 ANDERSON MILL ROAD                                                                    AUSTIN             TX            78724
    ROUND TABLE GROUP INC                                                  PO BOX 75245                                                                               BALTIMORE          MD            21275
    Roushan Kumar                                                          9108 RIGGS LN, #D                                                                          OVERLAND PARK      KS            66212-1321
    ROUTLEDGE INTL THOMSON                                                 NORTHWY ANDOVER                                                                            HAMPSHIRE                        SP10 5BE     United Kingdom
    ROVI SOLUTIONS CORPORATION                                             2830 DE LA CRUZ BLVD                                                                       SANTA CLARA        CA            95050
    ROWAN BARNES-MURPHY LTD                                                SPRINGFIELD WELLOW LANE                                            NORTON ST PHILIP BATH   Somerset                         BA2 7NB      United Kingdom
    ROWAN BLUES & JAZZ SOCIETY              ATTN ELEANOR QADIRAH           P O BOX 176                                                                                SALISBURY          NC            28145
    ROWAN JACOBSEN                                                         814 NUMBER 10 POND ROAD                                                                    EAST CALAIS        VT            05650
    ROWAN UNIVERSITY                        DEPT ENGLISH                   201 MULLICA HILL                                                                           GLASSBORO          NJ            08028
    ROWENA RAE                                                             4435 RANGEMONT PLACE                                                                       VICTORIA           BC            V8N 5L7      Canada
    ROWLAND ATANIELLE ANNYN                                                P O BOX 772                                                                                RAMONA             CA            92065
    ROWMAN & LITTLEFIELD
    PUBLISHERS                              DBA COOPER SQUARE              4501 FORBES BLVD SUITE 200     ATTN PATRICIA ZLINE                                         LATHAM             MD            20706
    Roxana Community Unit SD1               Attn Janet, A/P                401 North Chaffer Avenue                                                                   Roxana             IL            62084
    ROXANE MCLEAN                                                          2006 GRANT STREET                                                                          EVANSTON           IL            60201
    Roxann Salgado                                                         8042 Knox Ave                  3C                                                          Skokie             IL            60076
    Roxanne C Kline                                                        4227 NW 164th St.                                                                          Clive              IA            50325
    ROXANNE F HUDSON                                                       9492 RHODY DR, P O BOX 1015                                                                CHIMCUM            WA            98325
    ROXANNE HENKIN                                                         207 NORTHCREST DRIVE                                                                       SAN ANTONIO        TX            78213-1125
    ROXANNE KLINE                                                          4227 NW 164TH ST                                                                           CLIVE              IA            50325
    ROXAYN KING                                                            1505 KIRKER PASS ROAD, # 270                                                               CONCORD            CA            94521
    ROY FINAMORE                                                           518 EAST 11TH ST - APT 4-A                                                                 NEW YORK           NY            10009
    ROY FRUMKES                             FILMS INTERVIEW                166 WEST 83RD ST, 2B & 2D                                                                  NEW YORK           NY            10024
    Roy Grisham                                                            13401 METRIC BL, #827                                                                      AUSTIN             TX            78727-3315
    ROY J MORSCH                                                           P O BOX ONE, ONE DIX RD                                                                    STARLIGHT          PA            18461
    ROY RONALD                                                             26 ELLSWORTH ROAD                                                                          WEST HARTFORD      CT            06107



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                  387 of 488                                                                                                    1:26 PM
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    ROYAL COLLECTION ENTERPRISES
    LIMITED                                                                ST JAMESS PALACE                                                                           LONDON                            SW1A 1BQ     United Kingdom
    ROYAL DOCUMENT DESTRUCTION                                             L-3228                                                                                     COLUMBUS             OH           43260
    ROYAL GEOGRAPHICAL SOCIETY
    ENTRPRISES                                                             1 KENSINGTON GORE                                                                          LONDON                            SW7 2AR      United Kingdom
    ROYAL ONTARIO MUSEUM                                                   100 QEENS PARK                                                                             TORONTO              ON           M5S 2C6      Canada

    ROYAL PAPERS INC                                                       P O BOX 39922, 2701 HEREFORD ST                                                            ST LOUIS             MO           63139-1021
    Royal Productions                                                      614 Canal Street                3rd Floor                                                  Roxana               LA           70130
    Royal Sonesta Hotel                                                    40 Edwin H. Land Blvd                                                                      Cambridge            MA           02142
    Royce Bemis                                                            2122 Arbor Oaks Drive                                                                      Marietta             GA           30062
                                                                           7 FANEUIL HALL MARKETPLACE 4TH
    ROYCROFT DESIGN                                                        FLOOR                                                                                      BOSTON               MA           02109
    ROZANNE L WILLIAMS                                                     3336 HILLROSE DR                                                                           LOS ALAMITOS         CA           90720
    Rozanne Parrish                                                        6111 Sand Pines Est Blvd                                                                   Orlando              FL           32819
    ROZINSKI ROBERT                                                        PO BOX 37422                                                                               DENVER               CO           80237
                                                                                                                                                                      PASAJE JOSE SUAREZ
    RP BROKER & SERVICES                                                   EDMUNDO CHIRIBOGA N45-128 Y                                                                QUITO                                          Ecuador
    RP LUMBER                                                              508 VILLA DRIVE                                                                            TROY                 MO           63379
    RP SCS WSD HOTEL LLC                                                   421 WEST B STREET                                                                          SAN DIEGO            CA           92101
    RPO ASSOCIATES INC                      DBA ENCORE STAFFING            1826 W PEARCE BLVD STE 100                                                                 WENTZVILLE           MO           63385
                                            ROOM 1505 , JUBILEE CENTRE,
    RR DONNELLEY (ASIA) TRADING LTD         PHASE II                       46 GLOUCESTER ROAD                                                                         WANCHAI                                        Hong Kong
    RR DONNELLEY FINANCIAL INC                                             P O BOX 5942                     CHURCH STREET STATION                                     NEW YORK             NY           10087-5942
    RR DONNELLEY RECEIVABLES INC                                           P O BOX 905151                                                                             CHARLOTTE            NC           28290-5151
    RRA SPORTS AND ENTERTAINMENT
    LLC                                     ATTN MARC SEROTA               401 EAST LOS OLAS BLVD, # 1140                                                             FORT LAUDERDALE      FL           33301
    RRD - BANTA COMPANY                     MIDWAY PLANT                   MIDWAY RD                                                                                  MENASHA              WI           54952
    RRD - SOUTH CHINA PRINTING
    COMPANY                                 23/F DELTA HOUSE               3 ON YIU STREET                  SHEK MUN                              SHATIN              New Territories                                Hong Kong
    RRD -YORK                                                              601 MEMORY LANE                                                                            YORK                 PA           17402
    RRD-AHNAIP (BELT)                       ATTN KAREN MALCHOW             460 AHNAIP ST                                                                              MENASHA              WI           54952
    RRD-Asia Printing Solutions             Eileen R. Ly                   3 On Yiu Street                                                                            Shek Mun             NT                        Hong Kong
    RRD-ASIA PRINTING SOLUTIONS                                            UNIT 2307-10 23/F                DELTA HOUSE                                               New Territories                                Hong Kong
    RRD-HARRISONBURG NORTH                                                 1400 KRATZER ROAD                                                                          HARRISONBURG         VA           22801
    RRD-KAUKAUNA                                                           1077 PROSPECT LANE                                                                         KAUKAUNA             WI           54130
    RRD-RECEIVABLES INC                                                    P O BOX 13654                                                                              NEWARK               NJ           07188-0001
    RRD-Receivables Inc.                    Kristen Polewski               P.O. Box 13654                                                                             Newark               NJ           01788-3654
    RRD-SHAKOPEE                                                           5500 12TH AVENUE EAST                                                                      SHAKOPEE             MN           55379
    RREEF AMERICA REIT II CORP VVV          36 J58001-CHICAGO-KANE         P O BOX 9046                                                                               ADDISON              TX           75001-9046
    RSM McGladrey, Inc.                                                    801 Nicollet Ave.                Suite 1300                                                MINNEAPOLIS          MN           55402-2505
    R-Squared Research, LLC                 Robert Reichardt               3860 W. Union Avenue                                                                       Denver               CO           80236
    RSR PARTNERS INC                                                       8 SOUND SHORE DR                                                                           GREENWICH            CT           06830
    RT ASSOCIATES INC                                                      3727 VENTURA DRIVE                                                                         ARLINGTON HEIGHTS    IL           60004

    RTD LOGISTICS LLC                       DBA SKYCOM COURIER             119 BRAINTREE STREET 3RD FLOOR                                                             ALLSTON              MA           02134
    RTSNET                                                                 55-2 PIL DONG 3 GA                                                                         JUNG GU SEOUL                     100-273      South Korea
    RUBALCABA JILL                                                         397 HIGH STREET                                                                            MIDDLETOWN           CT           06457
    RUBE GOLDBERG INC                                                      SIX BARRY LANE                                                                             WESTPORT             CT           06880
    RUBEL NICOLE                                                           14720 ALBERS WAY NE                                                                        AURORA               OR           97002
    Ruben Lopez                                                            100 Summit Pass                                                                            San Marcos           TX           78666
    RUBEN OMALLEY                                                          818 12TH ST # 6                                                                            SANTA MONICA         CA           90403
                                                                           P O BOX 3013 AMELIA CONSTRAST
    RUBEN SANTIAGO DEYA                                                    ST                                                                                         CATANO               PR           00963
    RUBENSTEIN RHETA N                                                     32245 SCONE                                                                                LIVONIA              MI           48154
    RUBICON PUBLISHING INC                                                 281 WYECROFT RD P O BOX 69596                                                              OAKVILLE             ON           L6J 7R4      Canada
    RUBIN ADAM                                                             281 WEST 11TH ST APT 3A                                                                    NEW YORK             NY           10014
    Ruby Lee                                                               904 Watertown St               #904                                                        West Newton          MA           02465
    RUBY N CARMEN                                                          4121 HARRISON STREET NW                                                                    WASHINGTON           DC           20015
    Ruby West                                                              5642 Little Branch Cir.                                                                    Clermont             GA           30527
    RUCHITA ASAWA                                                          211 CAMERON COURT                                                                          MILPITAS             CA           95035
    RUCKER RUDOLF                                                          50 KIMBLE AVENUE                                                                           LOS GATOS            CA           95030
    RUDDY DUCK MEDIA INC                                                   53 CLARK STREET                                                                            GLEN RIDGE           NJ           07028
    RUDINE BISHOP                                                          397 WEST 7TH AVE                                                                           COLUMBUS             OH           43201
    RUDY CREW AND ASSOCIATES                                               7373 SPRINGRIDGE ROAD                                                                      BAINBRIDGE ISLAND    WA           98110

    RUDY OBRERO ILLUSTRATIONS INC                                          3400 BARHAM BLVD                                                                           LOS ANGELES          CA           90068
    RUEDA ROBERT                                                           1440 EL TRAVESIA DR                                                                        LA HABRA HEIGHTS     CA           90631
    RUEF MARY L                                                            35075 BAYSIDE GARDENS RD                                                                   NEHALEM              OR           97131




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                      388 of 488                                                                                                 1:26 PM
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              CreditorName                            CreditorNoticeName                Address1                             Address2                         Address3                     City         State       Zip             Country
    RUESSWICK CAROLINE W AND
    DOUGLAS L                                                              85 MORRILL ROAD                                                                                       CANTERBURY       NH            03224
    RUIZ NADEEN                                                            401 GUNTHER WAY                                                                                       SACRAMENTO       CA            95819
    RUKIN RICHARD                                                          5350 LEE STREET                                                                                       SKOKIE           IL            60077-5104
    Rumaldo Ocon-Astorga                                                   PO BOX 2902                                                                                           AURORA           IL            60507-2902
    RUMFORD JAMES                                                          2702 MANOA ROAD                                                                                       HONOLULU         HI            96822
    RUNCO                                                                  1108 LEE STREET                                                                                       DES PLAINES      IL            60016
    RUNCO OFFICE SUPPLY AND
    EQUIPMENT CO                                                           PO BOX 2673                                                                                           DE PLAINES       IL            60017
    Ruqayyah Muhammad                                                      7847 Northway Dr.                                                                                     Hanover Park     IL            60133
    RUSCH AMY                                                              P O BOX 12                                                                                            LAKE NEBAGAMON   WI            54849

    RUSS BISHOP                             DBA RUSS BISHOP PHOTOGRAPHY    7864 HAYWARD STREET                                                                                   VENTURA          CA            93004
    RUSS COX                                DBA SMILING OTIS STUDIO        411 SOMERSET AVENUE                                                                                   PITTSFIELD       ME            04967
                                            DBA FINLEY HOLIDAY FILM
    RUSS FINLEY                             CORPORATION                    12607 E PHILADELPHIA ST BOX 619                                                                       WHITTIER         CA            90601
    RUSSELL & VOLKENING INC                                                50 WEST 29TH STREET, # 7E                                                                             NEW YORK         NY            10001
    RUSSELL B GIBBS                                                        102 HAVENWOOD CT                                                                                      HOMEWOOD         AL            35209
    RUSSELL BLACKFORD                                                      30 BIRCHGROVE DRIVE                                                                                   WALLSEND         NSW           02287        Australia
    Russell C Vanderbeck                                                   8 Falcone Circle                                                                                      Hampton          NH            03842
    RUSSELL D OFFENBACH                                                    3402 W CARRINGTON ST                                                                                  TAMPA            FL            33611-2732
    RUSSELL FREEDMAN                                                       280 RIVERSIDE DRIVE APT # 10K                                                                         NEW YORK         NY            10025
    RUSSELL GORDON                                                         1800 BARBERRY RD                                                                                      NORTHBROOK       IL            60062

    RUSSELL HUNT                                                           LEARNING & TEACH DEVL                                                   ST THOMAS UNIV, DEPT OF ENGLISH FREDERICTON    NB            E3B 5G3      Canada
    RUSSELL JOHNS ASSOCIATES LLC                                           1001 S MYRTLE AVENUE STE 7                                                                              CLEARWATER     FL            33756
                                            DBA MATT MEADOWS
    RUSSELL M MEADOWS                       PHOTOGRAPHY                    5706 RUNNING BROOK DR                                                                                 WESTERVILLE      OH            43081
    Russell Merck                                                          4 Highland Crossing                                                                                   Cromwell         CT            06416
    RUSSELL PATRICK                                                        140 VISTA WOOD LANK                                                                                   MARIETTA         GA            30066
    RUSSELL REYNOLDS ASSOCIATES             CHURCH STREET STATION          P O BOX 6427                                                                                          NEW YORK         NY            10249-6427
    RUSSELL SAGE COLLEGE                                                   45 FERRY STREET                                                                                       TROY             NY            12180
    RUSSELL TED CLEMENT                                                    1519 HINMAN AVE 5C                                                                                    EVANSTON         IL            60201
    RUSSELL W FRAZIER II                                                   1239 FAIRVIEW CLUB DR                                                                                 WAKE FOREST      NC            27587
    RUSSIAN STATE LIBRARY                                                  GRAPHICS DEPT                                                                                         MOSCOW                         119019       Rsian Federation
    RUSSIAN STATE LIBRARY                   3/5 VOZDVIZHENKA STREET        GRAPHICS DEPT                                                                                         MOSCOW                         119019       Russian Federation
    RUSSO HARDWARE INC                      RUSSO POWER EQUIPMENT          9525 W IRVING PARK BLVD                                                                               SCHILLER PARK    IL            60176
    RUTGERS STATE UNIVERSITY                                               65 DAVIDSON ROAD                                                                                      PISCATAWAY       NJ            08854
    RUTGERS STATE UNIVERSITY OF
    NEW JERSEY                              GRADUATE SCHOOL OF EDUCATION 10 SEMINARY PLACE RM 205D                                                                               NEW BRUNSWICK    NJ            08901
    RUTGERS UNIV                            510 GEORGE STREET            108 MURRAY HALL                                                                                         NEW BRUNSWICK    NJ            08901-1167
    RUTGERS UNIVERSITY                      CESP - ATTN MICHELLE ROSEN   80 COTTONTAIL LANE                                                                                      SOMERSET         NJ            08873
    RUTGERS UNIVERSITY PRESS                                             100 JOYCE KILMER AVENUE                                                                                 PISCATAWAY       NJ            08854-8045
    RUTH A MUSGRAVE                                                      20684 SW TETON AVENUE                                                                                   TUALATIN         OR            97062
    Ruth B Culver                                                        2309 Bedford Circle                                                                                     Bedford          TX            76021
    RUTH B HEINIG                                                        1805 CHEVY CHASE                                                                                        KALAMAZOO        MI            49008
    RUTH COHEN INC                                                       P O BOX 2244                                                                                            LA JOLLA         CA            92038
    RUTH COHEN LITERARY AGENCY                                           P O BOX 2244                                                                                            LA JOLLA         CA            92038
    Ruth D Lydia                                                         14500 Dallas Pkwy.                  #2047                                                               Dallas           TX            75240

    RUTH E GUNDLE                           DBA THE EIGHTH MOUNTAIN PRESS 624 SE 29th AVENUE                                                                                     PORTLAND         OR            97214
    RUTH FLANIGAN                                                         4 KINGSLEY WAY                                                                                         REHOBOTH         MA            02769-1610
    Ruth Gillies                                                          61 Thatcher Rd                                                                                         Rockport         MA            01966
    Ruth Graham                                                           125 Granite Street                 Apt 927                                                             Quincy           MA            02169
    Ruth Guthrie                                                          8439 E 37th Pl                                                                                         Indianapolis     IN            46226
    RUTH H YOPP                                                           3707 N TUNALES DRIVE                                                                                   FULLERTON        CA            92835
    Ruth Harding                                                          2420 W. Downer Place                                                                                   Aurora           IL            60506
    Ruth Hawkins                                                          1712 Douglas Drive                                                                                     Charleston       IL            61920
    RUTH L EWERS                                                          3008 WARMINSTER DRIVE                                                                                  WINGINA          VA            24599
    Ruth Lacey                                                            66 Purchase St.                                                                                        Newburyport      MA            01950
    Ruth Likes                                                            216 Stuart                                                                                             Aurora           IL            60505
                                                                                                                                                                                 KEMPSTON
    RUTH LOUISE SYMES                                                      7 PENRIGHT CLOSE                                                                                      BEDFORDSHIRE                   MK428QR      United Kingdom
    Ruth Lydia                                                             14500 Dallas Pkwy.                Apt 2047                                                            Dallas           TX            75254
                                                                           CARRETERA 186 KGH 8 BARRIO
    RUTH M DELA CRUZ RIVERA                                                CUBOY                                                                                                 CANDVANAS        PR            00729
    RUTH MILAGROS LEBRON RIVERA                                            P O BOX 3186                                                                                          GUAYAMA          PR            00785
    RUTH MOTT                                                              6905 SW 18TH STREET                                                                                   TOPEKA           KS            66615
    RUTH PARKER                                                            4439 SALT SPRING DR                                                                                   FERNDALE         WA            98248
    RUTH REICHL                                                            52 RIVERSIDE DRIVE, APT 10A                                                                           NEW YORK         NY            10024



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                       389 of 488                                                                                                        1:26 PM
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                                                                                                                     of 519
                                                                                                                  First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                     Address2                         Address3                        City        State       Zip            Country
    Ruth Rothstein                                                         12a Huntley Lane                                                                                Lincoln             MA           01773
    RUTH S GAINER                                                          8704 TUCKERMAN LANE                                                                             POTOMAC             MD           20854
    RUTH SAAVEDRA                                                          19411 SAN MARCOS RD                                                                             SARATOGA            CA           95070
    RUTH SHAGOURY                                                          4526 SE 44TH AVE                                                                                PORTLAND            OR           97206
    Ruth Tribby                                                            7430 Bluebird Court                                                                             Indianapolis        IN           46254
    RUTH VINZ                                                              106 MORNINGSIDE DR #67                                                                          NEW YORK            NY           10027
    Ruth W Gillies                                                         61 Thatcher Rd                                                                                  Rockport            MA           01966
    Ruth W Rose                                                            910 Massachusetts Ave.                                                                          Lexington           MA           02420
    Ruth Willason                                                          2638 N Drury Lane                                                                               Arlington           IL           60004
    Ruthann Green                                                          1310 RITCHIE COURT #21A                                                                         CHICAGO             IL           60610
    RUTHERFORD COUNTY SCHOOLS               OAKLAND HIGH SCHOOL            2225 PATRIOT DRIVE                                                                              MUFREESBORO         TN           37130
    RUTHERFORD COUNTY SCHOOLS                                              382 WEST MAIN STREET            ATTN LISA BRADLEY                                               FOREST CITY         NC           28043
    RUTHERFORD DAVID E                      POWERS HALL 119                CENTRAL MICHIGAN UNIVERSITY                                       DEPARTMENT OF HISTORY         MT PLEASANT         MI           48859
    RUTHIE L WASHINGTON                                                    317 EASTMOOR DR                                                                                 NATCHEZ             MS           39120
    RUTHIE LYNN VUCINICH                                                   20870 PITT TERRACE                                                                              POTOMAC FALLS       VA           20165
    RUTU MODAN                                                             5 HARDWICK CRESCENT                                                                             SHEFFIELD                        S11 8WB      United Kingdom
    Rux Martin                                                             295 Locust Lane                                                                                 Vergennes           VT           05491
    Ryan A Lesh                                                            1614 Bryn Mawr St.                                                                              Orlando             FL           32804
    Ryan Cartwright                                                        1304 E. Sanborn Drive                                                                           Palatine            IL           60074
    Ryan F Baumgartner                                                     24600 George Washington Drive                                                                   Plainfield          IL           60544
    Ryan Gettinger                                                         12n685 Coombs Rd.                                                                               Elgin               IL           60124
    RYAN INZANA                                                            114 CLINTON STREET                                                                              LAMBERTVILLE        NJ           08530
    Ryan Kelly                                                             400 Perkins Street              #204                                                            Oakland             CA           94610
    Ryan M Wahl                                                            14602 Plain Rock Pass                                                                           Austin              TX           78728
    RYAN MAHAN                                                             23 HIGGINS DR                                                                                   FREYBURG            ME           04037
    RYAN MICHAEL WAHL                                                      11501 CENTURY OAK APT 3405                                                                      AUSTIN              TX           78758-7725
    RYAN NANCY ROSS                                                        2970 LAKE SHORE DRIVE APT #8C                                                                   CHICAGO             IL           60657
    Ryan OLeary                                                            394 Ridge Street                                                                                Arlington           MA           02174
    Ryan Perryman                                                          3818 Trellis Lane                                                                               Columbus            OH           43230
    Ryan Pstrong                                                           201 N. Tyler Road               #115                                                            St. Charles         IL           60174
    Ryan Showman                                                           812 Palmer St                                                                                   Orlando             FL           32801-4043
    RYAN VAN METER                                                         837 1/2 MAGGARD ST                                                                              IOWA CITY           IA           52240
    Ryan, Roderick
    RYANS WELL FOUNDATION                   C/O JOANNE SAMS                215 VAN BUREN ST PO BOX 1120                                                                    KEMPTVILLE          ON           K0G 1J0      Canada
    RYDELL KATY                                                            22 CARROLL ST #2                                                                                PORTLAND            ME           04102
    RYDEN HOPE                                                             345 EAST 81ST STREET                                                                            NEW YORK            NY           10028
    RYDER TRANSPORTATION
    SERVICES                                                               PO BOX 96723                                                                                    CHICAGO             IL           60693-6723
    RYZEX INC                                                              8467 SOLUTIONS CENTER                                                                           CHICAGO             IL           60677-8004
    S & B BOOKS USA                                                        2421 HYDE PARK BLVD                                                                             NIAGARA FALLS       NY           14305
    S & S PALLET                                                           P O BOX 8018                                                                                    GRANITE CITY        IL           62040
    S & S PRODUCTIONS INC                                                  2237 NORTH VERMONT STREET                                                                       ARLINGTON           VA           22207
    S & T TECHNICAL ASPECTS                                                1711 MAGNOLIA COURT                                                                             LEBANON             OH           45036
    S ALEXANDER HAVERSTICK -
    EXECUTOR                                                               630 FIFTH AVENUE                BESSEMER TRUST                                                  NEW YORK            NY           10111-0333
    S E G LEA                                                              WASH SINGER LABS PERRY ROAD                                       UNIV OF EXETER SCH OF PSYCH   EXETER                           EX4 4QG      United Kingdom
    S J CARRERA INC                                                        2159 N MAJOR                                                                                    CHICAGO             IL           60639
    S Matt Hasken                                                          857 Nevelle Lane                                                                                Carmel              IN           46032
    Sabelyn Pussman                                                        809 East 47th Street                                                                            Austin              TX           78751
    Sabina Maschinski                                                      706 Wicker Ave.                                                                                 Streamwood          IL           60107
    Sabine Gounder                                                         1862 McAllister Street                                                                          San Francisco       CA           94115
    SABINE PARISH                           SALES AND USE TAX COMMISSION   P O BOX 249                                                                                     MANY                LA           71449
    SABINE RAE LASER                                                       2210 SEVEN OAKS DRIVE                                                                           ST CLOUD            FL           34772
    SABINGRAFIK INC                                                        7333 SEAFARER PL                                                                                CARLSBAD            CA           92011-4673
    SABRA P LEE                                                            18 JOHNSON AVE                                                                                  MEDFORD             MA           02155
    SABRINA JONES                                                          811 CORTELYOU ROAD APT 60                                                                       BROOKLYN            NY           11218
    Sabrina P. Leaver                                                      7510 Citrus Blossom Drive                                                                       Land O Lakes        FL           34637-7467
    Sacha Weninger-Danysh                                                  605 Middleway Rd                                                                                Pflugerville        TX           78660
    SACO SCHOOL DISTRCIT                                                   90 BEACH STREET                                                                                 SACO                ME           04072
    SACRAMENTO AREA MATH
    EDUCATORS                               ATTN DAVE CHUN                 909 MORMON ST                                                                                   FOLSOM              CA           95630
    SADARRYLE ALLENETTE RHONE                                              6120 TIFFIELD WAY                                                                               WAKE FOREST         NC           27587
    SAddleback Valley USD                                                  25631 Peter A. Hartman Way                                                                      Mission Viejo       CA           92691
    Sadegh Sadeghi                                                         1809 W. Spring Creek Pkwy       G1                                                              Plano               TX           75023
    SAFE-CARD SERVICES INC                                                 7621 LITTLE AVENUE, STE 214                                                                     CHARLOTTE           NC           28226
    SAFENET INC                                                            4690 MILLENNIUM DRIVE                                                                           BELCAMP             MD           21017
                                                                           25 E SPRING VALLEY AVENUE STE
    SAFEROCK USA LLC                                                       190                                                                                             MAYWOOD             NJ           07607
    SAFETY-KLEEN                                                           PO BOX 382066                                                                                   PITTSBURGH          PA           15250
    SAFETY-KLEEN SYSTEMS INC                                               123 RED LION ROAD                                                                               SOUTHAMPTON         NJ           08088



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                 390 of 488                                                                                                          1:26 PM
                                                       12-12171-reg                 Doc 136           Filed 07/15/12 Exhibit
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                                                                                                                Pg Creditor
                                                                                                                    398 Matrix
                                                                                                                            of 519
                                                                                                                           First Class Service List


                CreditorName                          CreditorNoticeName                         Address1                       Address2                         Address3              City         State       Zip               Country
    SAFETY-KLEEN SYSTEMS INC                                                      4526 TOWNE COURT                                                                          ST CHARLES         MO           63304
    SAFETY-KLEEN SYSTEMS INC                                                      P O BOX 650509                                                                            DALLAS             TX           75265-0509
    SAFIYYAH W SWINTON                                                            112 N TANNIGER RD                                                                         MT HOLLY           NC           28120
    SAGALYN LITERACY AGENCY                                                       7201 WISCONSIN AVE SUITE 675                                                              BETHESDA           MD           20814
    SAGALYN LITERARY AGENCY                                                       4922 FAIRMONT AVENUE           SUITE 200                                                  BETHESDA           MD           20814
    Sage Creative                                                                 2501 South Clermont St                                                                    Denver             CO           80222
    Sage Publications                                                             2455 Teller Rd                                                                            Thousand Oaks      CA           91320
    SAGE PUBLICATIONS                                                             2455 TELLER ROAD                                                                          THOUSAND OAKS      CA           91320-2218
    SAGE PUBLICATIONS LTD                   1 OLIVER YARD                         55 CITY ROAD                                                        LONDON                Greater London                  EC1Y 1SP     United Kingdom
    Sage Software, Inc.                     Customer Care Department              PO Box 849887                                                                             Dallas             TX           75284-9887
    Sahil Mehta                                                                   177 Northampton St.            Apt. 3                                                     Boston             MA           02118
    SAHRE VICTORE WILKER                                                          536 6TH AVE 2RD FL                                                                        NEW YORK           NY           10011
    SAIA MOTOR FREIGHT LINE INC                                                   P O BOX 730532                                                                            DALLAS             TX           75373-0532
    SAILOR WAYNE                                                                  1209 SCHWARTZ RD                                                                          LAWRENCE           KS           66044
                                                                                  STROUDS - SHEFFORD
    SAINT DORA JESSIE                                                             WOODLANDS                                                                                 HUNGERFORD BERKS                RG17 7AJ     United Kingdom
    SAINT ELIZABETH REGIONAL
    SCHOOL                                                                        433 PERSHING BOULEVARD                                                                    WHITEHALL          PA           18052
    SAINT EXUPERY ESTATE                                                          7 RUE ERNEST CRESSON                                                                      PARIS                           75014        France
    SAINT JOHNS UNIV BOOKSTORE                                                    OFF HIGHWAY 94                                                                            COLLEGEVILLE       MN           56321
    SAINT PETER INDIAN MISSION
    SCHOOL                                                                        1500 N ST PETER RD                                                                        BAPCHULE           AZ           85121
    SAINT THOMAS UNIV BOOKSTORE                                                   1000 LASALLE AVE               BOOKSTORE # 105                                            MINNEAPOLIS        MN           55403
    SAKURA OBRIEN KEAST                                                           2212 22ND STREET                                                                          WYANDOTTE          MI           48192
    SALARIYA BOOK CO LTD                                                          25 MARLBOROUGH PLACE           RIGHTS AND PERMISSIONS               BRIGHTON              East Sussex                     BN1 1UB      United Kingdom
    Salcito, Anthony                        Worldwide Public Sector - Education   Microsoft Corporation          One Microsoft Way                                          Redmond            WA           98052
    Salcito, Anthony
    SALDIVAR TINA                                                                 17157 MONTEREY PINES LN                                                                   SANTA CLARITA      CA           91387
    Salem Conference Center                                                       200 Commercial Street SE                                                                  Salem              OR           97301
    Salem Waterfront Hotel & Suite                                                225 Derby Street                                                                          Salem              MA           01970
    SALERNO STEVEN                                                                30 EAST 9TH STREET #6-II                                                                  NEW YORK           NY           10003
    Sales & Marketing Management                                                  PO Box 15698                                                                              North Hollywood    CA           91615-5698
    SALES TAX CLEARINGHOUSE INC                                                   1130 DARCZUK DRIVE                                                                        GARNET VALLEY      PA           19060
    SALESFORCE.COM                                                                PO BOX 203141                                                                             DALLAS             TX           75320-3141
    Saliha Alauddin                                                               16 W. Buchanan St              Apt. #2                                                    Charleston         IL           61920
    SALINA PUBLIC LIBARARY                                                        301 WEST ELM                                                                              SALINA             KS           67401
    SALINAS CITY ELEMENTARY
    SCHOOL DISTRICT                                                               840 SOUTH MAIN STREET                                                                     SALINAS            CA           93901
    SALINE AREA SCHOOLS                     ATTN A P                              7265 SALINE ANN ARBOR STREET                                                              SALINE             MI           48176
    SALK INTERNATIONAL TRAVEL
    PREMIUMS INC                                                                  PO BOX 41125                                                                              LONG BEACH         CA           90853-1125
    SALLIE SNYDER                                                                 1805 SW JOSHUA STREET                                                                     PORTLAND           OR           97219
    SALLY A GARLAND                                                               4105 DEEPWOODS DRIVE                                                                      AUSTIN             TX           78731
    Sally A Iwanicki                                                              110 River Rd.                                                                             Merrimac           MA           01860
    SALLY ANDERSEN                                                                696 DERBYSHIRE ROAD                                                                       TALLAHASSEE        FL           32312
    SALLY ANN MARK                                                                1134 VALDEZ PLACE                                                                         FREMONT            CA           94539
    SALLY ANN VONDERBRINK                                                         5402 HAFT ROAD                                                                            CINCINNATI         OH           45247-7422
    SALLY B TELIAS                                                                1 VALLEY LANE WEST                                                                        VALLEY STREAM      NY           11581
    SALLY BAYNTON                                                                 1300 SAN PEDRO                                                                            SAN ANTONIO        TX           78212
    SALLY BLAND WILSON                                                            P.O. BOX 836                                                                              CAMDEN             SC           29020
    Sally Bratcher                                                                12 Pearl Street                                                                           Charlestown        MA           02129
                                            DBA GUIDANCE SYSTEMS OF NEW
    SALLY CARPENTER                         ENGLAND                               12 HALF MILE ROAD                                                                         BARRINGTON         RI           02806
    Sally Culler                                                                  141 Camino de Suerte                                                                      Green Valley       AZ           85614
    Sally De Jean                                                                 83 Barwick                                                                                Floral Park        NY           11001
    Sally French                                                                  10424 Paradise Drive                                                                      Cupertino          CA           95014
    SALLY GRIFFIN                                                                 1125 EDGEWOOD CIRCLE                                                                      GASTONIA           NC           28052
    SALLY HILDA SMITH                                                             WEST TREWIRGIEROAD                                                  BEDFORD HOUSE         REDRUTH            Cornwall     TR15 2TJ     United Kingdom
    Sally Hirschberg                                                              2728 SOUTHBURY CIRCLE                                                                     BIRMINGHAM         AL           35216
    SALLY HOESEL                                                                  316 VAN BUREN STREET                                                                      BELVIDERE          IL           61008
    SALLY JO ANDRESEN STOLTE                                                      313 ARMSTONG DR                                                                           GEORGETOWN         TX           78633
    Sally Jo Hoesel                                                               316 Van Buren Street                                                                      Belvidere          IL           61008
    SALLY MACARTHUR                                                               17 DARTFORD ROAD                                                                          THORNLEIGH         NSW          02120        Australia
    SALLY MEEK                                                                    939 BRIAR OAK DRIVE                                                                       ROCKWALL           TX           75087
    SALLY MILLER                                                                  770 SOUTHMEADOW CIRCLE                                                                    CINCINNATI         OH           45231
    SALLY R SOMMERS                                                               9 WEST 10TH STREET                                                                        NEW YORK           NY           10011
    Sally Raymond                                                                 147 Overlook Road                                                                         Arlington          MA           02474
    Sally Rigney                                                                  339 Cabot Street               Apt 1                                                      Beverly            MA           01915
    SALLY SWART GRAPHIC DESIGN                                                    2 SELWYN ROAD                                                                             CAPE TOWN                       07708        South Africa
    Sally Thomas                                                                  3 Quail Run                                                                               Tewksbury          MA           01876



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                          391 of 488                                                                                                   1:26 PM
                                                      12-12171-reg            Doc 136             Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                399 Matrix
                                                                                                                        of 519
                                                                                                                      First Class Service List


                 CreditorName               CreditorNoticeName                            Address1                         Address2              Address3              City           State       Zip              Country
    SALLY VITSKY ILLUSTRATION                                               4114 BROMLEY LANE                                                               RICHMOND             VA           23221
    Sally Walker                                                            81 William Onthank Lane                                                         Southborough         MA           01772
    SALLY WOFFORD GIRAND                                                    80 FIFTH AVENUE 11TH FL                                                         NEW YORK             NY           10011
    SALMER IMAGEN ID SL                                                     AVDA CARRILET 5-7                                                               BARCELONA                         08014        Spain
    SALMIERI DANIEL L                                                       590 FLATBUSH AVENUE APT 6R                                                      BROOKLYN             NY           11225
    SALON MEDIA GROUP INC                                                   101 SPEAR STREET SUITE 203                                                      SAN FRANCISCO        CA           94105
    SALT PUBLISHING LTD                                                     14A HIGHT STREET                                                                FULBOURN CAMBRIDGE                CB21 5DH     United Kingdom
    SALT RIVER PIMA-MARICOPA INDIAN
    CMMNTY                                                                  10005 E OSBORN ROAD                                                             SCOTTSDALE           AZ           85256
    SALTER CHRISTOPHER L            BOOMERANG CREEK                         15650 JAMES SAPP RD                                                             HARTSBURG            MO           65039
    SALVADOR JIMENEZ                                                        6224 S KILPATRICK AVENUE                                                        CHICAGO              IL           60629
    Salvation Army                  Intermountain Div. Headquarter          PO Box 17607                                                                    Denver               CO           80217
    SALVATION ARMY OF AUGUSTA       ATTN ALKEESHA DURRETTE                  1833 BROAD STREET                                                               AUGUSTA              GA           30901
    Salvatore Reimers                                                       7234 Brackenwood Court                                                          Fort Wayne           IN           46835
    SALVATORE TOCCI                                                         2 BULL PATH CLOSE                                                               EAST HAMPTON         NY           11937
    SALVIA JOHN                                                             305 WEST CRESTVIEW AVE                                                          BOALSBURG            PA           16827
    SALVO PHOTOGRAPHY                                                       2299 LONE STAR DRIVE, # 520                                                     SUGAR LAND           TX           77479
    SALZMAN INTERNATIONAL                                                   1751 CHARLES AVENUE                                                             ARCATA               CA           95521
    SAM ARLEN MUSIC CO                                                      97 CROFT LANE                   SAMUEL ARLEN                                    SMITHTOWN            NY           11787
    SAM BENNETT                                                             2180 ELDER ROAD                                                                 BISHOP               GA           30621
    SAM HOUSTON STATE UNIVERSITY                                            1901 AVENUE I                                                                   HUNTSVILLE           TX           77343-2447
    SAM HOUSTON STATE UNIVERSITY                                            MATHEMATICS & STATISTICS DEPT                                                   HUNTSVILLE           TX           77341
    SAM OGDEN PHOTOGRAPHY                                                   52 HARRISON STREET                                                              NEWTON               MA           02461
                                    DBA SAM SPURGEON
    SAM SPURGEON                    PHOTOGRAPHY                             168 LANDELLS ROAD                                                               LONDON                            SE22 9PN     United Kingdom
    SAM V DAUZAT                                                            P O BOX 8                                                                       RUSTON               LA           71273
    SAM WINEBURG                                                            6048 PALATINE AVENUE N                                                          SEATTLE              WA           98103
    SAMANIEGO FABIAN A                                                      PO BOX 10318                                                                    ZEPHYR COVE          NV           89448
    Samantha A Bruhnke                                                      300 N. Central Ave                                                              Wood Dale            IL           60191
    SAMANTHA BENNETT                                                        1728 S CORONA STREET                                                            DENVER               CO           80210
    SAMANTHA BROWN                                                          723 RIVERSIDE STREET APT 502                                                    PORTLAND             ME           04103
    SAMANTHA CAUGHLAN                                                       1517 HILLCREST STREET                                                           LANSING              MI           48910
    Samantha Collins                                                        106 Hunters Path                                                                Lake in the Hills    IL           60156
    Samantha Garon                                                          31 Brook Crossing Rd                                                            Brentwood            NH           03833-6224
    SAMANTHA HUNT                                                           63 4th PLACE                                                                    BROOKLYN             NY           11231
    SAMANTHA LAVARDA                                                        8212 W MILL ROAD                                                                MILWAUKEE            WI           53218
    SAMANTHA MCFERRIN                                                       141 NOBLE STREET, # 3                                                           BROOKLYN             NY           11222
    Samantha McFerrin                                                       280 Ocean Parkway               5T                                              Brooklyn             NY           11218
    SAMATAMASON INC                                                         101 S FIRST STREET                                                              WEST DUNDEE          IL           60118
    Sameday Office Supply                                                   7076 South Alton Way            Bldg F                                          Centennial           CO           80112

    SAMFORD UNIVERSITY BOOKSTORE                                            800 LAKESHORE DRIVE                                                             BIRMINGHAM           AL           35229
    SAMFOTO AS                                                              KEYSERSGT 5                                                                     OSLO                              00165        Norway
    SAMIL
    PRICEWATERHOUSECOOPERS       LS YONGSAN TOWER 191                       HANGANGNO 2-GA YONGSAN-GU                                                       SEOUL                             140-702      South Korea
    SAMMY YUEN JR                                                           808 COLUMBUS AVE APT 12K                                                        NEW YORK CITY        NY           10025
    SAMNANG CHANG                                                           942 VAN AUKEN CIRCLE                                                            PALO ALTO            CA           94303
    SAMPSON WEBBER ACADEMY                                                  4700 TIREMAN ST                                                                 DETROIT              MI           48204
    Samuel A Simpson                                                        11569 Reagan Drive                                                              Fishers              IN           46038
    Samuel A Valentino                                                      111 School Street                                                               Westwood             MA           02090
    SAMUEL D HOUSTON                                                        1425 RED BUTTE DRIVE                                                            ASPEN                CO           81611-1035
    Samuel Eggering                                                         521 Sycamore Bend Rd                                                            Old Monroe           MO           63369
                                 LORING, WOLCOTT & COOLIDGE
    SAMUEL ELIOT MORISON TRUST   OFFICE                                     230 CONGRESS STREET                                                             BOSTON               MA           02110
    SAMUEL F BELL                                                           48 CAVALRY ROAD                                                                 WESTPORT             CT           06880
    SAMUEL FRENCH INC                                                       45 WEST 25TH STREET                                                             NEW YORK             NY           10010
    SAMUEL HARKHAM                                                          436 N FAIRFAX AVE                                                               LOS ANGELES          CA           90036
    Samuel Hernandez                                                        12208 Paloma Blanca Way                                                         Del Valle            TX           78617
    Samuel K Wagner                                                         1002 Pleasant View                                                              Effingham            IL           62401
    SAMUEL L BATEMAN                                                        8108 TYLERTON DRIVE                                                             RALEIGH              NC           27613
    SAMUEL LASHLEE                                                          22 HORSESHOE DR                                                                 POUGHKEEPSIE         NY           12603
    Samuel Riepe                                                            8615 Rockwood Ln                Apt 115                                         Austin               TX           78757
    SAMUEL SPELMAN CHALTAIN                                                 3495 HOLMEAD PLACE NW                                                           WASHINGTON           DC           20010
    Samuel Urmy                                                             29 Chestnut Pl.                                                                 Brookline            MA           02445
    SAMUELS SUZANNE              SETON HALL UNIV                            400 S ORANGE AVE                                                                SOUTH ORANGE         NJ           07079

    SAN ANTONIO AREA ASSOC FOR              BILINGUAL ED -ATTN SYLVIA TREJO 1134 SW 41ST ST                                                                 SAN ANTONIO          TX           78237

    SAN ANTONIO CHRISTIAN SCHOOLS SAN ANTONIO CHRISTIAN ELEM SCH 19202 REDLAND RD BLDG A                                                                    SAN ANTONIO          TX           78259




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     392 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                400 Matrix
                                                                                                                        of 519
                                                                                                                  First Class Service List


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    SAN ANTONIO ZOOLOGICAL
    SOCIETY                                                                3903 NORTH ST MARYS STREET                                                              SAN ANTONIO         TX           78212
    San Bernadino County                    Bobbi Simenton                 601 North E. Street                                                                     San Bernardino      CA           92410
    SAN BERNARDINO COUNTY                   TREASURER - TAX COLLECTOR      172 W THIRD STREET 1ST FLOOR                                                            SAN BERNANDINO      CA           92415
    SAN DIEGO COUNTY OFFICE OF
    EDUCATION                                                              6401 LINDA VISTA RD                                                                     SAN DIEGO           CA           92111-7399
    SAN DIEGO COUNTY
    SUPERINTENDENT OF                       SCHOOLS                        6401 LINDA VISTA ROAD                                                                   SAN DIEGO           CA           92111
    SAN DIEGO COUNTY TREASURER              TAX COLLECTOR                  PO BOX 129009                                                                           SAN DIEGO           CA           92112
    SAN DIEGO GAS & ELECTRIC                                               PO BOX 25111                                                                            SANTA ANA           CA           92799

    SAN DIEGO HIGH SCHOOL CAVERS                                           P O BOX 21262                                                                           EL CAJON            CA           92021
    SAN DIEGO STATE UNIVERSITY                                             5500 CAMPANILE DRIVE                                                                    SAN DIEGO           CA           92182
    SAN DIEGO STATE UNIVERSITY
    FOUNDATION                                                             5250 CAMPANILE DR                                                                       SAN DIEGO           CA           92182-1998
    SAN DIEGO UNIFIED SCHOOL
    DISTRICT                                ROSE ELEMENTARY SCHOOL         7470 BAGDAD ST                                                                          SAN DIEGO           CA           92111
    SAN FRANCISCO ART INSTITUTE                                            800 CHESTNUT STREET                                                                     SAN FRANCISCO       CA           94133-2206
    SAN FRANCISCO MUSEUM OF
    MOERN ART                                                              151 THIRD STREET                                                                        SAN FRANCISCO       CA           94103-3107
    SAN FRANCISCO TAX COLLECTOR             BUSINESS TAX SECTION           P O BOX 7425                                                                            SAN FRANCISCO       CA           94120
    SAN GABRIEL VALLEY COMPUTER
    USING                                   EDUCATORS                      PO BOX 1659                                                                             CLAREMONT           CA           91711
    SAN JUAN COLLEGE                        BOOKSTORE                      4601 COLLEGE BLVD                                                                       FARMINGTON          NM           87402
    San Juan Unified School Dist.                                          3738 Walnut Ave                PO Box 477                                               Carmichael          CA           95609-0477
    SAN MATEO COUNTY HISTORICAL
    ASSOCIATION                                                            2200 BROADWAY STREET                                                                    REDWOOD CITY        CA           94063
    SAN YSIDRO SCHOOL DISTRICT                                             4350 OTAY MESA ROAD                                                                     SAN YSIDRO          CA           92173
    Sanchez Daniels & Hoffman

    SANCHEZ DANIELS & HOFFMAN LLP                                          333 WEST WACKER DR STE 500                                                              CHICAGO             IL           60606
    SANCHEZ ELBA R                                                         3599 FRUITVALE AVE                                                                      OAKLAND             CA           94602
    Sande Raney                                                            49 Payson Street                                                                        Winthrop            MA           02152
    SANDERS RICKIE L                                                       7456 DEVON ST                                                                           PHILADELPHIA        PA           19119
    SANDI WOODRUFF                                                         2402 BEAVER RUN                                                                         GARLAND             TX           75044
                                                                           SAN GERARDO CALLE COLORADO
    SANDIA VARGAS                                                          1647                                                                                    SAN JUAN            PR           00926
    SANDILANDS INC                                                         250 E HARBORTOWN DRIVE # 807                                                            DETROIT             MI           48207
    SANDPIPER ELEMENTARY SCH                                               6724 E HEARN RD                                                                         SCOTTSDALE          AZ           85254
    SANDRA A MILLER                                                        PO BOX 685                                                                              MT GILEAD           NC           27306
    Sandra Adams-Jones                                                     5331 Klamath Drive                                                                      Sacramento          CA           95842
    SANDRA BLONDET                                                         4358 CONSTANICA AVE                                               VILLA DEL CARMEN      PONCE               PR           00716
    Sandra Bonaddio                                                        1 Sheila Ave.                                                                           Woburn              MA           01801
    SANDRA C BREWER                                                        3 RIGGINS COURT                                                                         POQUOSON            VA           23662
    SANDRA C FIGUEROA                                                      1481 GALE LANE                                                                          RIO RICO            AZ           85648-6026
                                            dba CARRON EDUCATIONAL
    SANDRA CARRON                           CONSULTING                     28313 CHAMPIONSHIP DRIVE                                                                RANCHO BELAGO       CA           92555
    SANDRA CARRON                                                          28313 CHAMPIONSHIP DR                                                                   MORENO VALLEY       CA           92555
    SANDRA CARRON                                                          28313 CHAMPIONSHIP DRIVE                                                                RANCHO BELAGO       CA           92555
    Sandra Chavez                                                          6888 S Ivy Street, #205                                                                 Englewood           CO           80112
    Sandra Connor                                                          209 South Vine Unit 1B                                                                  Park Ridge          IL           60068
    SANDRA DIJKSTRA LITERARY                                               1155 CAMINO DEL MAR            SUITE 515                                                DEL MAR             CA           92014
    SANDRA DIJKSTRA LITERARY
    AGENCY                                  PMB 515                        1155 CAMINO DEL MAR                                                                     DEL MAR             CA           92014-2605
    SANDRA DIJKSTRA LITERARY
    AGENCY                                  1155 CAMINO DEL MAR            SUITE 515                                                                               DEL MAR             CA           92014-2605
    SANDRA DIJKSTRA LITERARY
    AGENCY                                                                 1155 CAMINO DEL MAR                                                                     DEL MAR             CA           92014-2605
    SANDRA DOANE-JOHNSON                                                   6160 KERRICK DRIVE                                                                      LA PLATA            MD           20646
    Sandra Easton                                                          8310 E McDonald Drive          #6103                                                    Scottsdale          AZ           85250
    SANDRA FABIOLA GUERRERO                                                AV 2DA 1023 ENTRE JIGUAS E
    MARTINEZ                                                               ILANES                                                                                  GUAYAQUIL           GUAYAS                    Ecuador
    SANDRA FISHER                                                          503 ST JAMES CT                                                                         SOUTHLAKE           TX           76092
    SANDRA FLOYD                                                           142 N BURNET DR                                                                         BAYTOWN             TX           77520
    Sandra Goroff-Mailly                                                   60 WATERFALL DR                STE M                                                    CANTON              MA           02021
    Sandra Grebenar                                                        8 Emerson Place                806                                                      Boston              MA           02114
    SANDRA GUADANO                                                         52 BABCOCK STREET, APT 5                                                                BROOKLINE           MA           02446
    SANDRA H SHICHTMAN                                                     4 WASHINGTON SQUARE VILLAGE    APARTMENT 1N                                             NEW YORK            NY           10012
    SANDRA HAWKINS                                                         7361 N BROADWAY                                                                         FREEPORT            MI           49325
    SANDRA HESTES                           DBA SPS CONSULTING             807 CARA LANE                                                                           ARLINGTON           TX           76012



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                 393 of 488                                                                                                1:26 PM
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                                                                                                                      of 519
                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                        Address2                        Address3                     City         State       Zip           Country
    SANDRA HIRSTEIN                                                        1750 OVERVIEW COURT                                                                             DUBUQUE            IA           52003
    SANDRA HOFFMAN                                                         2530 PARKE LANE                                                                                 BROOMALL           PA           19008
    SANDRA J MURPHY                                                        250 JIM WELLS ROAD                                                                              CALEDONIA          MS           39740
    SANDRA J STEIN                                                         802 W 190TH ST APT 6C                                                                           NEW YORK           NY           10040-3983
    SANDRA J WOLFGANG                                                      9410 CORDOVA AVE, NE                                                                            ALBUQUERQUE        NM           87112
    Sandra J. Connor                                                       209 South Vine Unit 1B                                                                          Park Ridge         IL           60068
    Sandra Joseph                                                          43w719 Willowcreek                                                                              Elburn             IL           60119
                                                                                                                                               SOUTHWESTERN BELL SCI EDU
    SANDRA K ABELL                          DO NOT USE                     303 TOWNSEND HALL              UNIV OF MISSOURI                     CNTR                        COLUMBIA           MO           65211
    SANDRA K STEIN                                                         8643 LAKESHORE ROAD                                                                             BURTCHVILLE        MI           48059
    Sandra Krumholz                                                        1223 Beacon St.                Apt 405                                                          Brookline          MA           02446
    Sandra L Ledbetter                                                     315 South 13th Ave                                                                              St. Charles        IL           60174
    SANDRA L MARKLE                                                        247 AMBERLEY BEACH RD RD 1                                                                      AMBERLEY                        07481        New Zealand
    Sandra L Martin                                                        6 Nicole Lane                                                                                   Flemington         NJ           08822
    SANDRA LEE LEWIS                                                       625 S READING AVE                                                                               BOGERTOWN          PA           19512
    SANDRA LUGO                                                            1470 MIDLAND AVE, # 2L                                                                          BRONXVILLE         NY           10708
    SANDRA LYNN ATKINS-LATHAM                                              16 MILL RIVER CIRCLE                                                                            FRANKLIN           MA           02038
    Sandra M Wright                                                        58 Pleasant St                 Apt. 3                                                           Brookline          MA           02446
    SANDRA MARIE SPEIDEL                                                   2150 WESTERN AVENUE                                                                             PETALUMA           CA           94952
    SANDRA MERCADO                                                         363 SECOND ST, APT 4                                                                            JERSEY CITY        NJ           07302
    SANDRA MERCURI                                                         155 PINAR DEL RIO                                                                               BROWNSVILLE        TX           78526
    SANDRA NELSON                                                          5842 FIRENZA                                                                                    HOUSTON            TX           77035-5414
    Sandra Newhouse                                                        286 Powers Place                                                                                Marietta           GA           30067
    Sandra Peters                                                          7039-53 Della Drive                                                                             Orlando            FL           32819
    SANDRA PHILLIPS                                                        21895 CALMOR AVENUE                                                                             PRIOR LAKE         MN           55372
    SANDRA POWELL                                                          2305 W LOWRY RD                                                                                 CLAREMORE          OK           74017-4905
    SANDRA POWERS                                                          1247 W VAGABOND LANE                                                                            MT PLEASANT        SC           29464
    SANDRA RUESINK                                                         2425 W BRANTWOOD AVE                                                                            GLENDALE           WI           53209
    Sandra s Chavez                                                        6888 S. IVY STREET             205                                                              Centennial         CO           80112
                                                                                                          YORK UNIV/FACULTY OF
    SANDRA SCHECTER                                                        4700 KEELE ST                  EDUCATION                                                        TORONTO            ON           M3J 1P3      Canada
    SANDRA STEINGRABER                                                     14 BRADLEY STREET                                                                               TRUMANSBURG        NY           14886
    SANDRA TUCKER                                                          6728 NORTH BOSWORTH                                                                             CHICAGO            IL           60626
    SANDRA W DONELAN                                                       745 SUWANNEE COURT NE                                                                           SAINT PETERSBURG   FL           33702
    Sandra Walker                                                          4105 Cordova Dr                                                                                 Austin             TX           78759
    Sandra Weise                                                           2916 Heatherwood Dr                                                                             Schaumburg         IL           60194
    Sandra Whitacre                                                        95 Frances Shirey Way                                                                           Newnan             GA           30263
    SANDRA WHITAKER                                                        PSC 47 #863                                                                                     APO                APO/FPO      09470
    SANDRA WILDE                                                           152 E 118TH STREET APT 5G                                                                       NEW YORK           NY           10035
    SANDRA YOUNG                                                           279 GOLDMINE RD, PO BOX 555                                                                     SANTA FE           NM           87504
    Sandra Young                                                           P.o. Box 555                                                                                    Cerillos           NM           87010
    SANDVIK INNOVATIONS LLC                                                460 E SWEDESFORD RD STE 2030                                                                    WAYNE              PA           19087
    SANDWICH S D # 430                                                     720 WELLS STREET                                                                                SANDWICH           IL           60548
    Sandy Chin                                                             43 Kent St                     Apt 1                                                            Brookline          MA           02445
    Sandy Cholid                                                           1570 Ranch Road                                                                                 San Bernardino     CA           92407
    Sandy E Santos                                                         5453 Martingale Way                                                                             Fontana            CA           92336
    Sandy Helderman                                                        740 Mohawk Ave                                                                                  Akron              OH           44305
    SANDY MILLER                                                           252 WAITMAN STREET                                                                              MORGANTOWN         WV           26501
    Sandy Morris                                                           1283 Graham Circle                                                                              Erie               CO           80516
    Sandy Patrick                                                          3719 Moore Ave.                                                                                 CHEYENNE           WY           82001
    SANFORD BROWN                                                          SCH OF HEALTH & SOC WORK       CALIF STATE UNIV                                                 FRESNO             CA           93740
    Sanford Friedin                                                        6033 Alkire Court                                                                               Arvada             CO           80004
    SANFORD J GREENBURGER
    ASSOCIATES                                                             55 FIFTH AVENUE 15TH FL                                                                         NEW YORK           NY           10003
    SANFORD J GREENBURGER
    ASSOCIATES, I                                                          55 FIFTH AVENUE                                                                                 NEW YORK           NY           10003
    SANFORD LP                     DBA MIMIO/VIRTUAL INK                   75 REMITTANCE DR STE 1167                                                                       CHICAGO            IL           60675-1167
    SANGER COMMUNICATIONS LLC                                              5 MARKET STREET                                                                                 PORTSMOUTH         NH           03801
    SANIBEL LEADERSHIP ASSOCIATION
    INC                                                                    7227 LAND O LAKES BLVD         JEFF MORGENSTEIN                                                 LAND O LAKES       FL           34638
    Sanj Kharbanda                                                         Montgomery Place               79 Tower Road                                                    Lincoln            MA           01773
    Sanjeev Kalyanaraman                                                   117 America Blvd                                                                                Ashland            MA           01721
    SANSONE STEVE                                                          5519 SHALE ROAD                                                                                 FITCHBURG          WI           53711
    SANSUI SOFTWARE USA INC        IS NOW MEDIAWIDE LLC- 1-21495           3750 PARK EAST DRIVE                                                                            BEACHWOOD          OH           44122
                                   SANTA BARBARA CITY COLLEGE
    SANTA BARBARA CITY COLLEGE     BKST                                    721 CLIFF DR                                                                                    SANTA BARBARA      CA           93109
    SANTA BARBARA COUNTY
    EDUCATION OFFICE               INSTRUCTIONAL SERVICES                  P O BOX 6307                                                                                    SANTA BARBARA      CA           93160-6307
    SANTA CLARA COUNTY OFFICE OF
    EDUCATION                      ATTN ACCOUNTS PAYABLE                   1889 LAWRENCE RD               P O BOX 397                                                      SANTA CLARA        CA           95052



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   394 of 488                                                                                                     1:26 PM
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                                                                                                                          of 519
                                                                                                                           First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                               Address2                        Address3                     City           State       Zip             Country
    SANTA CLARA COUNTY READING
    COUNCIL                                 ATTN RACHELLE ROMANDER         4246 MEG DR                                                                                              SAN JOSE           CA           95136
    SANTA CLARA OFFICE OF                   ELA INSTRUCTIONAL MATERIALS                                                                               LEARNING MULTIMEDIA CENTER MC
    EDUCATION                               FAIR                           1290 RIDDER PARK DRIVE                                                     # 232                         SAN JOSE           CA           95131
    Santa Clarita                           Karen Harvey                   24930 Ave. Stanford                                                                                      Valencia           CA           91355
    SANTA CLAUS ANONYMOUS                                                  304 NEWBURY ST BOX 332                                                                                   BOSTON             MA           02115
    SANTA CRUZ VALLEY HSD 840                                              900 N MAIN STREET                                                                                        ELOY               AZ           85231
    SANTA FABIO                                                            P O BOX 1145                                                                                             ROYAK-OAK          MI           48068-1145
    SANTA FE COUNTY                         BUSINESS REGISTRATIONS         PO BOX 276                                                                                               SANTA FE           NM           87504
    SANTA MARGARITA CATHOLIC HIGH                                                                                                                                                   RANCHO SANTA
    SCHOOL                                                                 22062 ANTONIO PARKWAY                 ATTN LU DOMINGUEZ                                                  MARGARITA          CA           92688
    Santa Maria Joint UHSD                  Accounts Payable               2560 Skyway                                                                                              Santa Maria        CA           93455
    SANTA MARIA JOINT UNION HIGH
    SCH DIST                                                               2560 SKYWAY DRIVE                                                                                       SANTA MARIA         CA           93455
    SANTA MONICA COLLEGE                    BOOKSTORE                      1900 PICO BLVD                                                                                          SANTA MONICA        CA           90405
    SANTA MONICA-MALIBU USD                                                1638 17TH STREET                                                                                        SANTA MONICA        CA           90292
    SANTA ROSA COUNTY SCHOOLS                                              5086 CANAL STREET                                                                                       MILTON              FL           32570-6706
    SANTA ROSA EDUCATION
    FOUNDATION                                                             5086 CANAL STREET                                                                                       MILTON              FL           32570
    SANTA YNEZ VALLEY UNION HIGH
    SCHOOL DIST                                                            P O BOX 398                                                                                             SANTA YNEZ          CA           93460
    SANTIAGO G JACKSON INC                                                 1130 K STREET SUITE 290                                                                                 SACRAMENTO          CA           95814
    SANTIAGO JACKSON                                                       1130 K STREET SUITE 290                                                                                 SACRAMENTO          CA           95814
    SANTIAGO VALIENTE BARDERAS                                             COL HIPODROMO DE LA CONDESA           IRAPUATO NO 23                                                    DELEG CUAUHTEMOC    DF           CP 06170     Mexico
                                                                           AV PRIMAVERA 2160 SANTIAGO DE
    SANTILLANA S A                                                         SURCO                                                                                                   LIMA 33                                       Peru
    SANTILLANA USA PUBLISHING CO
    INC                                                                    2023 NW 84TH AVENUE                   ATTN SYLVIA MATUTE                                                DORAL               FL           33122
    SAP AMERICA INC                                                        P O BOX 7780-824024                                                                                     PHILADELPHIA        PA           19182-4024
    SAPERSTEIN ASSOCIATES INC                                              4555 NORTH HIGH STREET                                                                                  COLUMBUS            OH           43214
    SAPIENT CORPORATION                                                    P O BOX 4886                                                                                            BOSTON              MA           02212
    SAPORT LINDA                                                           4827 C WHITE ROCK CIRCLE                                                                                BOULDER             CO           80301
    Sara A Greenwood                                                       130 Mediterranean Drive               Apt. 38                                                           Weymouth            MA           02188
    SARA ANN VAN INGEN                                                     4026 LANCASTER DR                                                                                       SARASOTA            FL           34241
    Sara B Buren                                                           2474 Tahoe Circle                                                                                       Winter Park         FL           32792
    Sara Buller                                                            1701 Dexter St.                                                                                         Austin              TX           78704
    Sara Carroll-Downs                                                     1110 Redoak                                                                                             Buda                TX           78610
    Sara Dacey Abbott                                                      37 Adams Street Apt. 1                                                                                  Melrose             MA           02176
    SARA F ANDREASON                                                       11722 OAK MANOR DRIVE                                                                                   SANDY               UT           84092
    SARA FELKER                                                            6112 E 17TH STREET                                                                                      TUCSON              AZ           85711
    Sara Fontanez                                                          8490 Dover View Lane                                                                                    Orlando             FL           32829
    SARA GILLINGHAM                                                        468 CENTRAL AVE                                                                                         GRANTHAMS LANDING   BC           V0N 1V1      Canada
    Sara Graham                                                            11161 Taeda Drive                                                                                       Orlando             FL           32832
    SARA HOLBROOK                                                          7326 PRESLEY AVENUE                                                                                     MENTOR              OH           44060
    Sara J Anbari                                                          4133 Licorice Lane                                                                                      Austin              TX           78728
    Sara J Ledewitz                                                        10 Museum Way                         # 426                                                             Cambridge           MA           02141
    SARA K AHMED                                                           1443 W WAVELAND AVENUE # 2                                                                              CHICAGO             IL           60613
    Sara K Sheehan                                                         97 Stockton St. Apt. 3                                                                                  Brooklyn            NY           11206
    SARA KAJDER                                                            5106 FOREST RIDGE DR                                                                                    MCDONALD            PA           15057-3520
    SARA KATHRYN SHEEHAN                                                   97 STOCKTON ST APT 3                                                                                    BROOKLYN            NY           11206
    Sara L Boncha                                                          415 Argyle Road Apt 4F                                                                                  Brooklyn            NY           11218
    SARA LEDEWITZ                                                          10 MUSEUM WAY # 426                                                                                     CAMBRIDGE           MA           02141
                                                                           c/o Sara Lee Corporation Attn Brian
    Sara Lee Coffee & Tea North America     RE 3800 Golf Road              Hunter                                70 West Madison Avenue                                            Chicago             IL           60602
                                            SARA LEE COFFEE & TEA
    SARA LEE CORPORATION                    FOODSERVICE                    3470 RIDER TRAIL                                                                                        EARTH CITY          MO           63045
    SARA LIPPINCOTT                                                        412 SYCAMORE GLEN                                                                                       PASADENA            CA           91105
    SARA LLIBRE                                                            437 SOUTH STONE AVE                                                                                     LAGRANGE            IL           60525
    SARA MACK                                                              2138 OLD EAST OXFORD RD                                                                                 CHAPEL HILL         NC           27514
    SARA N MUNSHIN                                                         632 VALLEJO VILLAS                                                                                      LOS ANGELES         CA           90042
    Sara Phelps                                                            7708 Basil Dr                                                                                           Austin              TX           78750
    Sara R Anderson                                                        83 Bow Street                                                                                           Arlington           MA           02474
    Sara R Garza                                                           9153 Swanson Lane                                                                                       Austin              TX           78748
    SARA SARVER                                                            1430 CERCIS WAY, # 204                                                                                  VENTURA             CA           93004
    Sara Schmidtke                                                         3416 Cedar Pains Road                                                                                   Sandy Hook          VA           23153
    SARA T NALLE                            WILLIAMS PATERSON UNIVERSITY   300 POMPTON RD                                                                                          WAYNE               NJ           07470-2103
    SARA W MOODY                                                           3004 ETON RD                                                                                            RALEIGH             NC           27608
    Sara Wallen                                                            214 2ND AVE                                                                                             HANOVER             PA           17331
    Sara Whittern                                                          2715 Country Lake Drive                                                                                 Carrollton          TX           75006
    SARAH A CARYL                                                          972 SEQUOIA DRIVE                                                                                       WINTER SPRINGS      FL           32806



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                          395 of 488                                                                                                         1:26 PM
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                                                                                                                      of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                          Address2              Address3               City         State       Zip      Country
    Sarah A Ditkoff                                                        411 Salem Street                                                                  Medford             MA           02155
    Sarah A Fournier                                                       1 Woodland Street                                                                 Derry               NH           03038
    SARAH ALBERTS                                                          2736 VIA DIEGUENOS                                                                ALPINE              CA           91901
    Sarah Ambrose                                                          5 Tremont St.                                                                     Maynard             MA           01754
    SARAH ANDREW-VAUGHAN                                                   789 HALCYON CT                                                                    ANN ARBOR           MI           48103
    SARAH B MWANGI                                                         2408 S COUNTRY CLUB DR                                                            JOPLIN              MO           64804
    SARAH BENSON                                                           4334 FORESTVIEW DRIVE                                                             OTTAWA HILLS        OH           43615
    Sarah Benson                                                           4334 Forestview                                                                   Toledo              OH           43615
    SARAH BETH HUDSON                                                      427 REDBUD DR                                                                     JUNCTION CITY       KS           66441
    Sarah Bodden Kopec                                                     9 Union Park                                                                      Boston              MA           02118
    SARAH BROCKETT                                                         499 10TH STREET #1                                                                BROOKLYN            NY           11215
    Sarah Bruce                                                            825 Lexington Circle                                                              Hanover Park        IL           60133
    Sarah Bryant                                                           1821 Don Ave                                                                      Los Osos            CA           93402
    SARAH C LLANES                                                         2607 HARRISON STREET                                                              EVANSTON            IL           60201
    SARAH CATHERALL                                                        3510 MCGOWAN BOULEVARD                                                            MARION              IA           52302
    SARAH CHAFFEE PARIS                                                    54 CHEEVER STREET                                                                 MILTON              MA           02186
    SARAH CLINE MABUS                                                      5053 DOWNING DRIVE                                                                FORT MILL           SC           29708
    SARAH COOK                                                             6973 HERON WAY                                                                    DE FOREST           WI           53532
    SARAH DAUNIS                                                           30 HART STREET                                                                    PROVIDENCE          RI           02906
    Sarah Demitz                                                           1308 Stable Farm Court                                                            Reston              VA           20194
    Sarah Denker                                                           9787 Jefferson Parkway E3                                                         ENGLEWOOD           CO           80112
    Sarah Dziadul                                                          32 Watson Hill Rd                                                                 Raymond             NH           03077
    SARAH E GARDNER                                                        1677 FRAZIER PARK DRIVE                                                           DECATUR             GA           30033
    Sarah E McAllister                                                     237 West Fifth Street            Unit 3                                           South Boston        MA           02127
    Sarah Ellis                                                            160 Endicott St                  Apt. 1                                           Boston              MA           02113
    SARAH FOURNIER                                                         1 WOODLAND STREET                                                                 DERRY               NH           03038
    SARAH GLASSCOCK                                                        5436 AGATHA CIRCLE                                                                AUSTIN              TX           78724
    Sarah Goodman                                                          3 D St.                                                                           Peaks Island        ME           04108
    Sarah H Carlson                                                        514 Broadway                     #1                                               Somerville          MA           02145
    SARAH H DUNNING                                                        404 STANTON AVE                                                                   TERRACE PARK        OH           45174
    SARAH H GROME                                                          35 SHADYLANE                                                                      FRANKLIN            MA           02038
    Sarah H Grome                                                          35 Shady Lane                                                                     Franklin            MA           02038
    SARAH HIGGINS                           DBA PEN MEETS PAPER            341 N MOUNTAIN AVENUE                                                             ASHLAND             OR           97520
    Sarah Iani                                                             128 Pleasant Street              Apt. 405                                         Arlington           MA           02476
    SARAH J BENEDICT                                                       4009 ANTELOPE TRAIL                                                               TEMPLE              TX           76504
    SARAH J HARDY                           SOUTH ROW SCHOOL               250 BOSTON RD                                                                     CHELMSFORD          MA           01824
    Sarah J Hurdle                                                         410 E. Jackson Avenue            Unit 6                                           Oxford              MS           38655
    Sarah J. Curtis                                                        187 Etna Road                                                                     Lebanon             NH           03766
    SARAH JAEGER                                                           8909 SEATON DRIVE                                                                 HUNTSVILLE          AL           35802
    SARAH JANE FREYMANN LITERARY
    AGENCY                                                                 59 WEST 71ST STREET # 9B                                                          NEW YORK            NY           10023
    Sarah K Miller                                                         507 W Miner Street, Apt 101                                                       Arlington Heights   IL           60005
    Sarah L House                                                          7414 Bordwine Drive                                                               Orlando             FL           32818
    SARAH L LEMMONS                                                        1315 LILY PAD DR                                                                  SPANISH FORK        UT           84660
    SARAH LAZIN BOOKS                                                      126 FIFTH AVENUE STE 300                                                          NEW YORK            NY           10011
    Sarah Liebman                                                          2524 N Sawyer                                                                     Chicago             IL           60647
    Sarah M Long                                                           633 Boston Ave                  Apt #2                                            Medford             MA           02155
    SARAH M RUBIN                                                          19 NOYES ST                                                                       PORTLAND            ME           04103
    Sarah N Sherman                                                        14 Dudley Street                Apt. 6                                            Arlington           MA           02476
    SARAH OPPENBORN                                                        916 WELLINGTON CIRCLE                                                             AURORA              IL           60506
    Sarah Orlowski                                                         11753 S. Maxwell Hill Road                                                        Littleton           CO           80127
    Sarah Parcell                                                          809 RIDGE AV, #1                                                                  EVANSTON            IL           60202-4341
    SARAH PICARD TAYLOR                                                    260 WEST 54TH ST #29D                                                             NEW YORK            NY           10019
    SARAH PLEYDELL                                                         2029 ALLEN PL NW                                                                  WASHINGTON          DC           20009
    Sarah Quinlan                                                          2975 Koepke Rd.                                                                   Northbrook          IL           60062
    Sarah Rigby                                                            1724 Briarmanor Drive                                                             Lake Saint Louis    MO           63367
                                                                           THE RESIDENCES 3508 AVE SUR APT
    SARAH RODRIGUEZ CANDELARIA                                             510                                                                               CAROLINA            PR           00987
    SARAH S BRYANT                                                         1821 DON AVE                                                                      LOS OSOS            CA           93402
    Sarah S Lewis                                                          9971 Quail Blvd.                Apt. 105                                          Austin              TX           78758
    SARAH SCANLON                                                          2564 NW 37TH STREET                                                               BOCA RATON          FL           33434
    SARAH SHUN-LIEN BYNUM                                                  543 N ARDEN BLVD                                                                  LOS ANGELES         CA           90004
    SARAH STILES FOLENO                                                    25 GROZIER ROAD                                                                   CAMBRIDGE           MA           02138
    SARAH SUDANO                                                           811 N ELCAMINO RD APT 302                                                         SAN MATEO           CA           94401
    Sarah Sullivan                                                         95 Ridgewood Dr                                                                   Norwood             MA           02062
    SARAH T WALSH                                                          1848 STRONG AVENUE                                                                BELOIT              WI           53511
    SARAH THOMSON                                                          485 WOODFORD ST                                                                   PORTLAND            ME           04103
    Sarah V.B. Sullivan                                                    16 Harcourt Street              Apt#7-I                                           Boston              MA           02116
    Sarah Walter                                                           45 Shirley Dr                                                                     Troy                MO           63379
    SARAH WEAVER                                                           81 NORTH ST                                                                       NORTH READING       MA           01864



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                      396 of 488                                                                                1:26 PM
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                                                                                                                             of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                    Address1                        Address2                         Address3              City            State       Zip            Country
    Sarah Whitney                                                             4 Crescent View Ave.                                                                      Cape Elizabeth        ME           04107
    Sarah-Lynne Codding                                                       P.O. Box 1946                                                                             Vineyard Haven        MA           02568
    SARAI SANTANA ACEVEDO                   URB REPARTO METROPOLITANO         CALLE 62 SE #1200                                                                         SAN JUAN              PR           00921
    Saralee Federman                                                          2437 W. Post Oak Road            #5                                                       Olathe                KS           66061
    Saralyn Dahl                                                              238 Shorewood Court                                                                       Fox Island            WA           98333
    SARAN MARIE SITARSKI-RICE                                                 36324 TULANE                                                                              STERLING HEIGHTS      MI           48312
    SARANNA MOELLER                                                           111 TWIN OAKS ROAD                                                                        REFUGIO               TX           78377
    SARASOTA READING COUNCIL OF             INTERNATIONAL READING
    THE                                     ASSOCIATION                       312 ROBERTS ROAD                                                                          NOKIMIS               FL           34275
    SARASOTA READING COUNCIL OF
    THE                                     ATTN DEANNE NELSON                312 ROBERTS ROAD                                                                          NOKIMIS               FL           34275

    SARATOGA INDEPENDENT SCHOOL                                               459 LAKE AVE                                                                              SARATOGA SPRINGS      NY           12866
    SARAVELS LLC                ATTN SHEREE BROWN                             4859 W SLAUSON AVENUE, #412                                                               LOS ANGELES           CA           90056
    SARCOM INC                  DBA WAREFORCE CCIT                            P O BOX 514487                                                                            LOS ANGELES           CA           90051-4487
    SARGENT ART                                                               100 EAST DIAMOND AVE                                                                      HAZELTON              PA           18201
    SARGENT JUDY K                                                            4351 WALKER ROAD                                                                          STURGEON BAY          WI           54235
    Saritza Hernandez                                                         9887 Piney Point Circle                                                                   Orlando               FL           32825
    Sarnia Education Centre                                                   PO Box 2019                                                                               Sarnia                ON           N7T 7L2      Canada
    SARNOFF & BACCASH LTD                                                     1 N LA SALLE STREET SUITE 1920                                                            CHICAGO               IL           60602
    Sarnoff Court Reporters
    SARNOFF COURT REPORTERS                                                   20 CORPORATE PARK SUITE 350                                                               IRVINE                CA           92606
    SAS INSTITUTE INC                                                         P O BOX 406922                                                                            ATLANTA               GA           30384-6922
    Sasha Hedona                                                              6172 Makaniolu Place                                                                      Honolulu              HI           96821
    Sask River School Division                                                545 11st Street East                                                                      Prince Albert         SK           S6B 1B1      Canada

    Saskatchewan Department of Finance      Revenue Division Margaret Johannsson 2350 Albert St                                                                         Regina                SK           S4P 4A6      Canada
    Saskatoon Public Schools                                                     310 21st Street East                                                                   Saskatoon             SK           S7K 1M7      Canada
    SASQUATCH BOOKS                                                              119 MAIN ST SUITE 400                                                                  SEATTLE               WA           98104
    SASS CYNTHIA                                                                 13856 BORA BORA WAY #201                                                               MARINA DEL REY        CA           90292
    SATTLER JEROME M                        PSYCHOLOGY DEPARTMENT                SAN DIEGO STATE UNIVERSITY                                                             SAN DIEGO             CA           92182
    SATTLER ROBERT EDWARD                                                        215 S CHOCTAW AVENUE                                                                   BARTLESVILLE          OK           74003
    SATURDAY EVENING POST SOCIETY
    INC                                     DBA CURTIS LICENSING              1000 WATERWAY BLVD                                                                        INDIANAPOLIS          IN           46202
    SATURDAY EVENING POST SOCIETY           DBA CHILDRENS BETTER HEALTH
    INC                                     INSTITUTE                         1100 WATERWAY BLVD                                                                        INDIANAPOLIS          IN           46202
    SATURDAY EVENING POST SOCIETY
    INC                                                                       1000 WATERWAY BLVD                                                                        INDIANAPOLIS          IN           46202
    SATURDAY EVENING POST SOCIETY
    INC                                                                       1100 WATERWAY BLVD                                                                        INDIANAPOLIS          IN           46202
    Saul Hopper, Ph.D., P.C.                                                  503 Remington St.                Suite 102                                                FORT COLLINS          CO           80524
    SAUL ZAENTZ COMPANY                                                       2600 TENTH STREET                                                                         BERKELEY              CA           94710
    SAUMIK LLC                                                                176 MOUNTAIN LAUREL DRIVE        SAM HOUSTON                                              ASPEN                 CO           81611
    SAUNDRA CICCARELLI                                                        3911 ERENO CT                                                                             PANAMA CITY           FL           32405
    SAUNDRA L WALKER                                                          97 COUNTY ROAD 52830                                                                      HEIDELBERG            MS           39439
    SAUNDRA WALTERS                                                           1524 WARREN LAKE CT                                                                       INDIANAPOLIS          IN           46229
    SAVADIER ELIVIA                                                           45 WALNUT HILL ROAD                                                                       CHESTNUT HILL         MA           02467
    SAVAGE DEBORAH                                                            P O BOX 279                                                                               MONTAGUE              MA           01351
    SAVAGE PRODUCTIONS INC                                                    3520 CHEYENNE ROAD                                                                        RICHMOND              VA           23235
    SAVAGE ROBIN WARD                                                         130 TEABERRY DRIVE                                                                        PHILIPSBURG           PA           16866
    SAVAGE VIRGINIA                                                           49 WINSLOW ST                                                                             CAMBRIDGE             MA           02138
                                                                                                              C/O GELFAND, RENNERT &
    SAVANNAH JANE BUFFETT                                                     1880 CENTURY PARK EAST STE 1600 FELDMAN                                                   LOS ANGELES           CA           90067
    SAVANNAH-CHATHAM COUNTY
    BOARD OF EDU                            COASTAL MIDDLE SCHOOL             4595 US HWY 80E                                                                           SAVANNAH              GA           31410
    Save the Children                       Income Processing Department      54 Wilton road                                                                            Westport              CT           06880
    SAVE-ON-MAIL INC                                                          1090 CROSSWINDS COURT                                                                     WENTZVILLE            MO           63385
    SAVIOUR PIROTTA                                                           28 CONSTANCE STREET                                                 SALTAIRE, SHIPLEY     West Yorkshire                     BD18 4LX     United Kingdom
    SAVITZ RESEARCH CENTER INC              DBA SAVITZ FIELD AND FOCUS        13747 MONTFORT DR STE 117                                                                 DALLAS                TX           75240
    SAW MILL MUSIC CORP                                                       160 HIGH ST                                                                               FLASTINGS ON HUDSON   NY           10706
    SAX BENJAMIN                                                              640 E 1450 ROAD                                                                           LAWRENCE              KS           66046
    SAYERS                                                                    P O BOX 2022                                                                              AURORA                IL           60507-2091
    SAYERS COMPUTER                                                           825 CORPORATE WOODS PKWY                                                                  VERNON HILLS          IL           60061-3158

    SAYERS FINANCIAL CORPORATION                                              825 CORPORATE WOODS PARKWAY                                                               VERNON HILLS          IL           60061
    SAYLES ELIZABETH                                                          318 FULLE DRIVE                                                                           VALLEY COTTAGE        NY           10989
    SAYLES JOHN                                                               210 13TH STREET                                                                           HOBOKEN               NJ           07030
    SAYRA VELEZ HUGHES                                                        18641 SW 41ST STREET                                                                      MIRAMAR               FL           33029
    SAYRE APRIL PULLEY                                                        17912 EDGEWOOD WALK                                                                       SOUTH BEND            IN           46635
    SBC SOUTHWESTERN BELL                                                     P O BOX 650661                                                                            DALLAS                TX           75265-0661



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                      397 of 488                                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                405 Matrix
                                                                                                                        of 519
                                                                                                                   First Class Service List


              CreditorName                            CreditorNoticeName               Address1                          Address2             Address3              City        State       Zip               Country
    SC ASSOCIATION FOR SUPERVISION
    &                                       CURRICULUM DEVELOPMENT         1010 10TH ST                                                                  PORT ROYAL        SC           29935
    SC Department of Revenue                                               PO Box 12265                                                                  Columbia          SC           29211
    SC Employment Security Commiss          Contributions Unit             PO Box 7103                                                                   Columbia          SC           29202-7103
    SC INTERNATIONAL PTE LTD                82 PLAYFAIR ROAD               #13-01 DLITHIUM                                                               SINGAPORE                      368001       Singapore
    SC Map Foundation                       Tom Pritchard                  PO Box 13117                                                                  Florence          SC           29504-3117
    SC SECRETARY OF STATE                                                  1205 PENDLETON ST SUITE 525                                                   COLUMBIA          SC           29201
    SC VIRTUAL MEDIA PRODUCTIONS
    SRL                                                                    SECTOR 4 BD GH SINCAI NR 1-1A                                                 BUCHAREST                                   Romania
    SCAN AGAIN INC                                                         P O BOX 304, 880 SW 15TH ST                                                   FOREST LAKE       MN           55025
    SCAN DESIGN INC                                                        2530 KERPER BLVD                                                              DUBUQUE           IA           52001
    SCAN OPTICS LLC                                                        P O BOX 847347                                                                BOSTON            MA           02284
    SCANNELL DALE P                                                        1302 WEDGEWOOD ROAD                                                           FLOURTOWN         PA           19031
                                            DBA HARLAND TECHNOLOGY
    SCANTRON                                SERVICES                       PO BOX 93038                                                                  CHICAGO           IL           60673
    SCANTRON                                                               3975 CONTINENTAL DRIVE                                                        COLUMBIA          PA           17512
    SCANTRON                                                               PO BOX 93038                                                                  CHICAGO           IL           60673
                                            DBA HARLAND TECHNOLOGY
    SCANTRON CORPORATION                    SERIVES                        P O BOX 45550                                                                 OMAHA             NE           68145-0550
    SCANTRON CORPORATION                                                   13036 COLLECTION CENTER DRIVE                                                 CHICAGO           IL           60693
    SCANTRON CORPORATION                                                   P O BOX 45550                                                                 OMAHA             NE           68145-0550
    SCARLETT STOPPA                                                        2649 W LELAND AVE 2                                                           CHICAGO           IL           60625
    Scarlett Stoppa                                                        2649 W Leland Ave               Apt 2                                         Chicago           IL           60625

    SCARSDALE BOARD OF EDUCATION                                           2 BREWSTER ROAD                                                               SCARSDALE         NY           10583
    SCATA                        ATTN KING LAURENCE                        1000 BROOKHAVEN DR                                                            AIKEN             SC           29803
    SCAUP & CO -CHOATE HALL AND                                                                            ATTN DAVID LUCIA - TRUST
    STEWART LLP                                                            TWO INTERNATIONAL PLACE         ADMINISTRATOR                                 BOSTON            MA           02110
    SCBWI                                                                  8271 BEVERLY BLVD                                                             LOS ANGELES       CA           90048-4515
    SCCTM                        c/o LANE PEELER                           1429 SENATE STREET                                                            COLUMBIA          SC           29201
    SCFLTA                       ATTN MARGARET YOUNG                       P O BOX 922                                                                   BARNWELL          SC           29812
    SCHAEFER JAMES M                                                       39 SCHERMERHORN ROAD                                                          SCHENECTADY       NY           12306
    SCHAEFER MIRIAM M                                                      2315 CRESTBROOK LANE                                                          FLINT             MI           48507
    Schaefer, Rita
    SCHAFFER SUSAN                                                         9148 MONTE MAR DRIVE                                                          LOS ANGELES       CA           90035
    Schaffrath, Susan

    SCHAUMBURG SCHOOL DISTRICT 54 JANE ADAMS JR HIGH SCHOOL                524 E SCHAUMBURG RD                                                           SCHAUMBURG        IL           60194
    SCHELL GAMES LLC                                                       2313 EAST CARSON ST STE 200                                                   PITTSBURGH        PA           15203
    SCHELL VICKI                                                           7981 CAYENNE WAY                                                              PENSACOLA         FL           32526
    SCHELLEY M AMEY                                                        P O BOX 4174                                                                  KINGSHILL         VI           00851-4174
    SCHENECTADY CITY SCHOOL
    DISTRICT                      ATTN AP DEPARTMENT                       108 EDUCATION DRIVE                                                           SCHENECTADY       NY           12303
    SCHENK ELEMENTARY                                                      230 SCHENK STRRET                                                             MADISON           WI           53714
                                  C/O KENNAN H HOLLINGSWORTH
    SCHENK GEORGE                 MD                                       1175 BROADWAY E #1                                                            SEATTLE           WA           98102
    SCHERER KAREN                                                          22587 NORTHVIEW DRIVE                                                         HAYWARD           CA           94541
    SCHIDDELL LLC                 BETTY L SCHIDDELL                        24144 W MEADOW LANE                                                           GRAYSLAKE         IL           60030
    SCHIFINI ALFREDO                                                       13 MOSS HILL LANE                                                             LAGUNA HILLS      CA           92653
    SCHINDLER ELEVATOR CORP                                                20 WHIPPANY ROAD                                                              MORRISTOWN        NJ           07960-4539
    SCHLAEGEL HOMEGROWN
    POPCORN                                                                31030 V ROAD                                                                  WHITING           KS           66552
    SCHLEICH/TOTAL TOYS                                                    2627 AUGUSTA DRIVE                                                            WADSWORTH         IL           60083
    SCHLESINGER ASSOCIATES                                                 10 PARSONAGE RD STE 400                                                       EDISON            NJ           08837
    SCHLOSBERG SUZANNE                                                     1655 NW AWBREY ROAD                                                           BEND              OR           97701
    SCHMIDT BETSY                                                          261 HARTNELL PLACE                                                            SACRAMENTO        CA           95825
                                  CALVIN COLLEGE - DEPT OF
    SCHMIDT GARY D                ENGLISH                                  1795 KNOLLCREST CIR SE                                                        GRAND RAPIDS      MI           49546
    SCHMIDT MARY                                                           245 SPEIGHT BUILDING                                                          GREENVILLE        NC           27858
    Schmitz, Robert               Quest Turnaround Advisors, LLC           800 Westchester Avenue          Suite S-520                                   Rye Brook         NY           10573
    Schmitz, Robert A.
                                  SCHNEIDER ELECTRIC BLDGS
    SCHNEIDER ELECTRIC INC        AMERICAS INC                             2433 RUTLAND DRIVE STE # 150                                                  AUSTIN            TX           78758
    SCHNUR STEVEN                                                          19 MONTROSE ROAD                                                              SCARDALE          NY           10583

    SCHOCKEN PUBLISHING HOUSE LTD                                          P.O.B 2316                                                                    TEL-AVIV                       61022        Israel
    SCHOEN HAROLD L                                                        5661 GUILFORD AVENUE                                                          INDIANAPOLIS      IN           46220
                                                                           8605 SANTA MONICA BLVD STE
    SCHOENBERG & ASSOCIATES LLC                                            35919                                                                         WEST HOLLYWOOD    CA           90069
    SCHOFIELD MEDIA LLC                     DBA REDCOAT PUBLISHING LLC     P O BOX 842502                                                                BOSTON            MA           02284-2502



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   398 of 488                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                406 Matrix
                                                                                                                        of 519
                                                                                                                  First Class Service List


             CreditorName                             CreditorNoticeName               Address1                        Address2                        Address3             City          State       Zip             Country
    SCHOLARS CHOICE                                                        25 FRANKLIN STREET SUITE 1260                                                          ROCHESTER         NY            14604
    SCHOLASTIC                                                             555 BROADWAY                                                                           NEW YORK          NY            10012
    SCHOLASTIC AUSTRALIA LTD                                               PO BOX 579                                                                             GOSFORD           NSW           02250        Australia
    SCHOLASTIC AUSTRALIA PTY LTD                                           PO BOX 579                                                                             LINDFIELD                       02070        Australia
    SCHOLASTIC AUSTRALIA PTY LTD                                           P O BOX 579                                                                            LINDFIELD         NSW           02070        Australia
    SCHOLASTIC CANADA, LTD                                                 175 HILLMOUNT ROAD                                                                     MARKHAM           ON            L6C 1Z7      Canada
    SCHOLASTIC INC                          DBA INSTRUCTOR MAGAZINE        P O BOX 420798                                                                         PALM COAST        FL            32142-0798
                                            CHILDRENS PRESS & FRANKLIN
    SCHOLASTIC INC                          WATTS DIV.                     90 OLD SHERMAN TPK                                                                     DANBURY           CT            06816-0001
    SCHOLASTIC INC                          ATTN BARBARA WITAS-ROYALTIES   557 BROADWAY                                                                           NEW YORK          NY            10012
    SCHOLASTIC INC                                                         100 PLAZA DRIVE                 ATTN ROYALTY DEPT                                      SECAUCUS          NJ            07094-3613
                                                                                                           ATTN MARILYN SMALL - PERMISSION
    SCHOLASTIC INC                                                         557 BROADWAY                    DEPT                                                   NEW YORK          NY            10012-3999
    SCHOLASTIC INC                                                         557 BROADWAY                                                                           NEW YORK          NY            10012
    SCHOLASTIC INC                                                         557 BROADWAY                                                                           NEW YORK          NY            10012-3999
    SCHOLASTIC INC                                                         90 OLD SHERMAN TPK                                                                     DANBURY           CT            06816-0001
    SCHOLASTIC INC                                                         P O BOX 420798                                                                         PALM COAST        FL            32142-0798
    SCHOLASTIC LIBRARY PUBLISHING                                          90 OLD SHERMAN TPK                                                                     DANBURY           CT            06816
    SCHOLASTIC LTD                                                         24 EVERSHOLT STREET             ATTN ANTONIA PELARI               EUSTON HOUSE         LONDON                          NW1 1DB      United Kingdom
    SCHOLASTIC TEACHING
    RESOURCES                                                              524 BROADWAY, 536A              ATTN LISBETH GARASSINO                                 NEW YORK          NY            10012-4408

    SCHOLASTIC TESTING SERVICE INC                                         4320 GREEN ASH DRIVE                                                                   EARTH CITY        MO            63045
    SCHOLASTIC, INC.                                                       555 BROADWAY                                                                           NEW YORK          NY            10012
    SCHOLL ALLAN                                                           276 PALMETTO DRIVE                                                                     PASADENA          CA            91105
    SCHOMBURG CENTER FOR
    RESEARCH IN BL                                                         515 MALCOLM X BLVD                                                                     NEW YORK          NY            10037-1801
    SCHOOL ADMINISTRATORS ASSN OF
    NYS                            ATTN DEBORAH G TAYLOR                   8 AIRPORT PARK BLVD                                                                    LATHAM            NY            12110

    SCHOOL ADMINISTRATORS OF IOWA           ATTN CHERI WIGGER              12199 STRATFORD DRIVE                                                                  CLIVE             IA            50325
    SCHOOL ADMINISTRATORS OF
    MONTANA                                 MAEMSP                         900 NO MONTANA AVE STE A-4                                                             HELENA            MT            59601
    SCHOOL BOARD OF BROWARD                 DEPART OF INSTRUCTIONAL
    COUNTY FLA                              TECHNOLOGY                     7720 W OAKLAND PARK BLVD                                                               SUNRISE           FL            33351
    SCHOOL BOARD OF HIGHLANDS
    COUNTY                                                                 426 SCHOOL STREET                                                                      SEBRING           FL            33870
    SCHOOL BOARD OF LEVY COUNTY             GLENDA LOCKWOOD                811 NW 4th DRIVE                                                                       CHIEFLAND         FL            32626
    SCHOOL BOARD OF LEVY COUNTY                                            PO BOX 129                                                                             BRONSON           FL            32621
    SCHOOL BOARD OF LEVY COUNTY             CHIEFLAND MIDDLE SCHOOL        811 NW 4th DRIVE                                                                       CHIEFLAND         FL            32626
    SCHOOL BOARD OF MANATEE
    COUNTY                                  SEA BREEZE ELEM SCHOOL         3601 71ST ST W                                                                         BRADENTON         FL            34209
    SCHOOL BOOK SUPPLY COMPANY
    OF LA
    SCHOOL BUSINESS SERVICES                                               SAIFI VILLAGE                                                                          BEIRUT                                       Lebanon
    School Dist #74 (Gold Trail)                                           PO Box 250                                                                             Ashcroft          BC            V0K 1A0      Canada
    SCHOOL DIST OF HILLSBOROUGH
    CNTY                                    DICKENSON ELEMENTARY SCHOOL 4720 KELLY RD                                                                             TAMPA             FL            33615
    SCHOOL DIST OF THE CITY OF
    FERNDALE                                ROOSEVELT PRIMARY SCHOOL       2610 PINECREST                  ATTN DIANE KEEFE                                       FERNDALE          MI            48220
    SCHOOL DISTRICT # 148 BOE                                              P O BOX 160                                                                            DOLTON            IL            60419
    SCHOOL DISTRICT # 5 OF
    LEXINGTON AND                           RICHLAND COUNTIES              1020 DUTCH FORK ROAD                                                                   IRMO              SC            29063
    School District #149                    Accounting Department          292 Torrence Ave                                                                       Calumet City      IL            60409
    SCHOOL DISTRICT 144                                                    3015 W 163RD STREET                                                                    MARKHAM           IL            60426
    SCHOOL DISTRICT NO 170                                                 30 WEST 16TH ST                                                                        CHICAGO HEIGHTS   IL            60411
    School District of Chetek                                              1001 Knapp Street                                                                      Chetek            WI            54728
    SCHOOL DISTRICT OF CITY OF
    HARPER WOODS                            BEACON ELEMENTARY              19475 BEACONSFIELD                                                                     HARPER WOODS      MI            48225
    School District of Elmbrook             Accounts Payable               P.O. Box 1830                                                                          Brookfield        WI            53008-1830
    SCHOOL DISTRICT OF ESCAMBIA                                                                            ESCAMBIA CNTY VENDOR
    COUNTY                                                                 215 WEST GARDEN STREET          SHOWCASE                                               PENSACOLA         FL            32502
    SCHOOL DISTRICT OF                      COUNTY FLORIDA - ACCOUNTS
    HILLSBOROUGH                            PAYABLE                        P O BOX 3408                                                                           TAMPA             FL            33601
    SCHOOL DISTRICT OF
    HILLSBOROUGH CNTY                       SEFFNER ELEMENTARY             109 CACTUS RD                                                                          SEFFNER           FL            33584
    SCHOOL DISTRICT OF KETTLE
    MORAINE                                                                563 A J ALLEN CIRCLE                                                                   WALES             WI            53183
    SCHOOL DISTRICT OF LANCASTER            ACCOUNTS PAYABLE DEPT          1020 LEHIGH AVENUE                                                                     LANCASTER         PA            17602




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                 399 of 488                                                                                                1:26 PM
                                                      12-12171-reg            Doc 136               Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  407 Matrix
                                                                                                                          of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                        Address2              Address3               City        State       Zip              Country

    SCHOOL DISTRICT OF LEE COUNTY           J COLIN ENGLISH ELEM SCHOOL    2855 COLONIAL BLVD                                                             FORT MYERS         FL           33966-1012
    SCHOOL DISTRICT OF MANATEE
    COUNTY                                                                 215 MANATEE AVENUE WEST                                                        BRADENTON          FL           34204
    SCHOOL DISTRICT OF OCONEE               SC ADULT EDUCATION TRAINING
    COUNTY                                  CENTER                         315 HOLLAND AVENUE                                                             SENECA             SC           29678
    SCHOOL DISTRICT OF OCONEE
    COUNTY                                  ATTN VERONICA MAIN             315 HOLLAND AVENUE                                                             SENECA             SC           29678
    SCHOOL DISTRICT OF OSCEOLA
    COUNTY                                                                 817 BILL BECK BLVD                                                             KISSIMMEE          FL           34744
    SCHOOL DISTRICT OF PALM BCH                                                                              BROOKE DIEBEL - DEPT OF A & C
    COUNTY                                                                 2112 S CONGRESS AVE, STE 200      EDUC                                         PALM SPRINGS       FL           33406
    SCHOOL DISTRICT OF PALM BEACH
    COUNTY                                  DIANA WILLIAMS                 3388 FOREST HILL BLVD A-204                                                    WEST PALM BEACH    FL           33406
    SCHOOL DISTRICT OF PALM BEACH
    COUNTY                                                                 3300 FOREST HILL BLVD STE A-323                                                WEST PALM BEACH    FL           33406
    SCHOOL DISTRICT OF PALM BEACH
    COUNTY                                                                 3310 FOREST HILL BLVD C-225                                                    WEST PALM BEACH    FL           33406
    SCHOOL DISTRICT OF PALM BEACH           DEPT OF MULTICULTURAL
    COUNTY                                  EDUCATION                      3388 FOREST HILL BLVD A-204                                                    WEST PALM BEACH    FL           33406
    SCHOOL DISTRICT OF
    PHILADELPHIA                                                           440 NORTH BROAD ST, STE 324                                                    PHILADELPHIA       PA           19130
    SCHOOL DISTRICT OF ST JOSEPH                                           925 FELIX                                                                      ST JOSEPH          MO           64501
    SCHOOL DISTRICT OF THE CITY OF
    PONTIAC                                                                47200 WOODWARD AVENUE                                                          PONTIAC            MI           48342
    SCHOOL DISTRICT OF WABENO
    AREA                                                                   PO BOX 460                                                                     WABENO             WI           54566

    SCHOOL DISTRICT OF WASHINGTON                                          220 LOCUST STREET                                                              WASHINGTON         MO           63090

    SCHOOL DISTRICT PUBLISHING LLC ATTN JUSTIN DAVIS                       P O BOX 489                                                                    RIESEL             TX           76682
    SCHOOL DISTRICT R5 MACKS
    CREEK                                                                  245 STATE RD N                                                                 MACKS CREEK        MO           65786
    SCHOOL DISTRICT U-46           FOOD & NUTRITION SERVICE                355 E CHICAGO STREET                                                           ELGIN              IL           60120
    SCHOOL FOR ADVANCED
    RESEARCH                                                               PO BOX 2188                                                                    SANTA FE           NM           87504-2188
    School Improvement Network                                             32 West Center St                                                              Midvale            UT           84047
    SCHOOL INNOVATIONS &
    ADVOCACY INC                                                           PO BOX 101127                                                                  PASADENA           CA           91189-1127
    SCHOOL LIBRARY JOURNAL                                                 PO BOX 5670                                                                    HARLAN             IA           51593
    SCHOOL SERVICES OF CALIFORNIA
    INC                                                                    P O BOX 60000 FILE # 730382                                                    SAN FRANCISCO      CA           94160-3038
    SCHOOL SPECIALTY INC                                                   MB UNIT 67-3106                                                                MILWAUKEE          WI           53268-3106
    SCHOOL SPECIALTY INC                                                   W3616 DESIGN DRIVE                                                             GREENVILLE         WI           54942
    SCHOOL SPECIALTY KEY ACCOUNTS
    SAX ARTS                       & CRAFTS BRODHEAD GARRETT               W6316 DESIGN DRIVE                                                             GREENVILLE         WI           54942
    SCHOOL SUPERINTENDENTS OF
    ALABAMA                                                                400 S UNION ST STE 495                                                         MONTGOMERY         AL           36104
    SCHOOL ZONE PUBLISHING CO                                              1819 INDUSTRIAL DR                                                             GRAND HAVEN        MI           49417-0777
    SCHOOLWIDE INC                                                         65 ORVILLE DRIVE                                                               BOHEMIA            NY           11716
    SCHRADER MARTHA LOUISE                                                 2397 PLEASANT VALLEY RD NE                                                     NEW PHILADELPHIA   OH           44663
    SCHRANK FREDRICK A                                                     2613 BURNABY PARK LOOP SE                                                      OLYMPIA            WA           98501

    SCHROEDER PUBLISHING CO INC             DBA AMERICAN QUILTERS SOCIETY PO BOX 3290                                                                     PADUCAH            KY           42002
    SCHULMAN GRACE                                                        1 UNIVERSITY PL #14-F                                                           NEW YORK           NY           10003
    Schulte Roth & Zabel LLP
    SCHULTE ROTH & ZABEL LLP                                               919 THIRD AVENUE                                                               NEW YORK           NY           10022
    SCHULTZ CENTER FOR TEACHING &
    LEADERSHIP                                                             4019 BOULEVARD CENTER DRIVE                                                    JACKSONVILLE       FL           32207
    SCHULTZ THOMAS R                                                       N6104 HONEYSUCKLE LANE                                                         GREEN LAKE         WI           54941
    Schumacher, Mark
    SCHUMAN FLORENCE ANN                                                   209 WEST GLENCOVE AVE                                                          NORTHFIELD         NJ           08225
    SCHUTZ AMERICAN SCHOOL                  P O BOX 1000                   51 SHULTZ STREET                                                               ALEXANDRIA                      21111        Egypt
    Schuyler Huntoon                                                       2490 Black Rock Turnpike          #299                                         Fairfield          CT           06824
    Schwab One                              Denver Operations Center       PO Box 173797                                                                  Denver             CO           80217-3797
    SCHWARTZ WENDELL                                                       3180 N LAKESHORE DRIVE #16G                                                    CHICAGO            IL           60657
    SCIBA                                                                  959 E WALNUT ST STE 220                                                        PASADENA           CA           91106
    SCIENCE & SOCIETY PICTURE
    LIBRARY                                                                EXHIBITION ROAD                                                                LONDON                          SW7 2DD      United Kingdom
    SCIENCE COUNCIL N Y CITY                DAWN CAMPBELL                  1264 STERLING PLACE                                                            BROOKLYN           NY           11213



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                   400 of 488                                                                                       1:26 PM
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                                                                                                                         of 519
                                                                                                                     First Class Service List


               CreditorName                           CreditorNoticeName                Address1                          Address2                         Address3                     City          State       Zip           Country
    SCIENCE EDUCATION COUNCIL OF
    OHIO                                    ATTN SUSAN CLAY                6484 STATE ROAD 12D                                                                                 PARMA             OH           44134
    SCIENCE KIT & BOREAL
    LABORATORIES                                                           777 EAST PARK DRIVE                                                                                 TONAWANDA         NY           14150
    SCIENCE KIT & BOREAL
    LABORATORIES                                                           PO BOX 644307                                                                                       PITTSBURGH        PA           15264
    SCIENCE TCHRS ASSN OF NEW
    YORK STATE                              ATTN ANGELA CIGNA-LUKASZEWSKI 8 CHAPIN PLACE                                                                                       HUNTINGTON        NY           11743-1419
    SCIENCE TEACHERS ASSOCIATION
    OF TEXAS                                                               5750 BALCONES DRIVE STE 201                                                                         AUSTIN            TX           78731
    SCIENCE TEACHERS MISSOURI               ATTN BART MITCHELL             3652 HIGHWAY O                                                                                      FARMINGTON        MO           63640-7219
    SCIENTIFIC AMERICAN                                                    75 VARICK STREET                 ATTN LISA PALLATRONI                                               NEW YORK          NY           10017
                                            DBA SCISSOR PRESS - C/O
    SCISSOR MEDIA ASSOCIATES LLC            JACKSON ELLIS                  P O BOX 93354                                                                                       LAS VEGAS         NV           89193
    SCOT MILLER                             DBA SUN TO MOON GALLEY         1515 LEVEE STREET                                                                                   DALLAS            TX           75207
    SCOTT ANN HERBERT                                                      684 BENICIA DRIVE #29                                                                               SANTA ROSA        CA           95409-3061
    SCOTT ASHMANN                                                          WOOD HALL 416, 2420 NICOLET DR                                                                      GREEN BAY         WI           54311
                                            DBA SCOTT MELCER
    SCOTT B MELCER                          PHOTOGRAPHY                    4507 ROWOOD RD                                                                                      AUSTIN            TX           78722

    SCOTT BASS                                                             4400 MASSACHUSETTS AVENUE, NW                                        PROVOST, AMERICAN UNIVERSITY   WASHINGTON        DC           20016-8061
    Scott Bending                                                          11385 Middletown Ln.                                                                                Huntley           IL           60142
    Scott Brightwell                                                       2366 Shaker Lane              Apt E                                                                 Lebanon           IN           46052
    SCOTT CAMERON                                                          1510 SPRING ROAD                                                                                    MISSISSAUGA       ON           L5J 1N1      Canada
    Scott Carlson                                                          27 Starwood Lane                                                                                    Beacon Falls      CT           06403

    SCOTT COUNTY SCHOOL DISTRICT 1                                         255 HWY 31 S P O BOX 9                                                                              AUSTIN            IN           47102
    Scott D Bowker                                                         5116 Plantation Lane                                                                                Frisco            TX           75035
    SCOTT D MARTIN                                                         26 CURVE ST                                                                                         SHERBORN          MA           01770
    SCOTT DAVID L                                                          2605 N SHERWOOD DR                                                                                  VALDOSTA          GA           31602
    Scott Davis                                                            1526 Hux Ct                                                                                         Irving            TX           75060-6283
    SCOTT DECKER                                                           46 PEYTON RD                                                                                        COLUMBIA          SC           29208
    SCOTT E WACHTER                DBA SPORTSEYE LLC                       611 K STREET, STE B-PMB 121                                                                         SAN DIEGO         CA           92101
    Scott E. Olson                                                         1160 S. Highland                                                                                    Oak Park          IL           60304
    Scott Ebaugh                                                           0n010 North Mill Creek Drive                                                                        Geneva            IL           60134
    SCOTT ELLIOT GROUP                                                     31 PHEASANT RUN                                                                                     NEW HOPE          PA           18938
    SCOTT ESPOSITO                                                         5872 CHABOT RD                                                                                      OAKLAND           CA           94618
    SCOTT FELDER HOMES LLC                                                 6414 RIVER PLACE BLVD STE 100                                                                       AUSTIN            TX           78730
    SCOTT FORESMAN-ADDISON
    WESLEY                                                                 PO BOX 403339                                                                                       ATLANTA           GA           30384
    Scott Garthwaite                                                       4224 GlenOak Drive North                                                                            Lakeland          FL           33810
    Scott Goddard                                                          16070 Prairie Ronde                                                                                 Schoolcraft       MI           49087
    SCOTT GOG                                                              TORSGRAND 23, 6 TR                                                                                  STOCKHOLM                      11361        Sweden
    SCOTT GOODWIN PHOTOGRAPHY
    INC                                                                    44 EAST STREET                                                                                      IPSWICH           MA           01938
    SCOTT GOTO                                                             2084 YOUNG ST APT E                                                                                 HONOLULU          HI           96826
    Scott H Bilow                                                          20 Woodhaven Drive                                                                                  Kennebunk         ME           04043
    SCOTT H LEVA                                                           1318 N AVE 46                                                                                       LOS ANGELES       CA           90041
    Scott H Read                                                           106 Misty Lane                                                                                      East Amherst      NY           14051
    SCOTT HAAG                                                             888 UNION STREET #D2                                                                                BROOKLYN          NY           11215
    Scott Hammond                                                          12208 Cedar Ridge Ne                                                                                Albuquerque       NM           87112
    Scott Hinders                                                          3350 N Racine Ave                                                                                   Chicago           IL           60657
    SCOTT HOMAN                                                            221 FLOYD CT                                                                                        WEST LAFAYETTE    IN           47906
    SCOTT HULL ASSOCIATES                                                  1430 CLEAR SPRINGS COURT                                                                            DAYTON            OH           45458
    SCOTT JOHNSON                                                          70 FULTON STREET                                                                                    MASSAPEQUA PARK   NY           11762
    SCOTT KENNEDY FINE ART LTD                                             205 MOUNTAIN VIEW ROAD                                                                              BERTHOUD          CO           80513
    SCOTT LINDBERGH CHILD TRST                                             270 PARK AVENUE 16TH FLOOR       C/O FERN SILVERSTEIN                                               NEW YORK          NY           10167-0001
    SCOTT MACNEILL                                                         74 YORK ST                                                                                          LAMBERTVILLE      NJ           08530
    SCOTT MAGOON                                                           350 FRANKLIN STREET                                                                                 READING           MA           01867
    SCOTT MARKEWITZ PHOTOGRAPHY
    INC                                                                    P O BOX 58515                                                                                       SALT LAKE CITY    UT           84158
    SCOTT MEDLOCK                                                          15633 HARTE LANE                                                                                    MOORPARK          CA           93021
    SCOTT MEREDITH LIT AGENCY                                              PO BOX 3090                                                                                         NEW YORK          NY           10163-3090
    SCOTT MEREDITH LIT AGENCY LP                                           PO BOX 3090                                                                                         NEW YORK          NY           10163
    Scott Meyers                                                           791 E. Sixth St                  apt #1                                                             boston            MA           02127
    SCOTT MILLER                                                           3802 A KEOKUK ST                                                                                    SANT LOUIS        MO           63116
    Scott Monsma                                                           727 Pearl Street                 Apt. #205                                                          Denver            CO           80203
    Scott Morrison                                                         402 Web Foot Lane                                                                                   Stevensville      MD           21666
    SCOTT NICKEL                                                           2709 W SACRAMENTO DR                                                                                MUNCIE            IN           47303
    SCOTT R TRAUB                                                          10468 FRESHWATER POINT                                                                              STOCKTON          CA           95209



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    401 of 488                                                                                                       1:26 PM
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                                                                                                                      of 519
                                                                                                                 First Class Service List


                CreditorName             CreditorNoticeName                              Address1                     Address2                        Address3                  City        State       Zip            Country
    Scott Reynolds                                                        3744 W Cornelia Ave                                                                       Chicago            IL           60618
    SCOTT RICHARDSON              DBA TONY MILLIONAIRE                    999 E CLAREMONT STREET                                                                    PASADENA           CA           91104
    SCOTT SHOWALTER                                                       645 ELMCROFT BLVD APT 13304                                                               ROCKVILLE          MD           20850
    Scott Simpson                                                         90 Chesterfield Drive                                                                     Noblesville        IN           46060
    SCOTT STEVEN M                                                        220 WEST 20TH STREET, 2R                                                                  NEW YORK           NY           10011
    SCOTT T SMITH                                                         PO BOX 3425                                                                               LOGAN              UT           84323
    SCOTT TREIMEL                                                         434 LAFAYETTE STREET                                                                      NEW YORK           NY           10003
    SCOTT TREIMEL NEW YORK                                                434 LAFAYETTE STREET                                                                      NEW YORK           NY           10003
    Scott, Lesa
    SCOTTSDALE UNIFIED SCHOOL
    DISTRICT # 48                                                         3811 N 44TH STREET                                                                        PHOENIX            AZ           85018
    SCOVIL GALEN GHOSH LIT AGENCY
    INC                                                                   276 FIFTH AVENUE SUITE 708                                                                NEW YORK           NY           10001
    SCOVIL GALEN GHOSH LITERARY
    AGENCY                                                                276 FIFTH AVENUE, SUITE 708                                                               NEW YORK           NY           10001
    SCOVIL GALEN GHUSH LITERARY
    AGENCY INC                                                            276 5TH AVENUE STE 708                                                                    NEW YORK           NY           10001-4509

    SCRIPPS MEDIA INC                       DBA TCPALM.COM                1939 S FEDERAL HWY P O BOX 9009 ATTN MARJORIE BRILL                                       STUART             FL           34994
    SCRIPTLOGIC CORPORATION                                               6000 BROKEN SOUND PARKWAY                                                                 BOCA RATON         FL           33487
    SCROLLMOTION INC                                                      7 PENN PLAZA SUITE 1112                                                                   NEW YORK           NY           10001

    SDCTM                                   RAPID CITY CENTRAL HIGH SCHOOL 433 N 8TH STREET                                                                         RAPID CITY         SD           57701
                                            DBA STAFF DEVELOPMENT FOR
    SDE INC                                 EDUCATORS                      P O BOX 577                                                                              PETERBOROUGH       NH           03048
    SDM IMAGES                                                             16 BLENHEIM CLOSE                                                                        CHANDLERS FORD     Hampshire    SO53 4LD     United Kingdom
    SE HARDESTY CO INC                      DBA HARDEST TEAM               4001 NORTH WALNUT                                                                        OKLAHOMA CITY      OK           73105
    SEA CREST RESORT AND CONF               MASS DEPT OF ELEM & SECONDARY
    CENTER                                  EDUC                           75 PLEASANT STREET                                                                       MALDEN             MA           02148-4906
    SEA CREST RESORT AND CONF
    CENTER                                  ATTN DINEEN CASILLI           75 PLEASANT STREET                                                                        MALDEN             MA           02148-4906
    SEA VENTURE LLC                                                       1400 N GEORGE MASON DR                                                                    ARLINGTON          VA           22205
    SEABROOKE BRENDA                                                      6095 MANASOTA KEY ROAD                                                                    ENGLEWOOD          FL           34223
    SEABROOKE LECKIE                                                      2386 BATHURST 5TH CONC                                                                    PERTH              ON           K7H 3C9      Canada
    SEACOAST DIGITAL ARTS LTD                                             P O BOX 799                                                                               SOUTH FREEPORT     ME           04078
    SEACOAST FAMILY YMCA                                                  550 PEVERLY HILL ROAD                                                                     PORTSMOUTH         NH           03801
    SEACOAST LOCK & SAFE CO INC                                           124 LAFAYETTE ROAD                                                                        SALISBURY          MA           01952
    SEACOAST SCIENCE CENTER INC                                           570 OCEAN BLVD                                                                            RYE                NH           03870-2104
    SEALED AIR CORP                                                       PO BOX 277835                                                                             ATLANTA            GA           30384-7834
    SEALED AIR CORPORATION                                                5687 COLLECTIONS CENTER DR                                                                CHICAGO            IL           60693-5687
    SEAMUS DOUGAL MACLENNAN                                               30 PARK TERRACE EAST APT 3A                                                               NEW YORK           NY           10034
    SEAN B CARROLL                                                        1525 LINDEN DR                  UNIV OF WI-MADISON                R M BOCK LABORATORIES   MADISON            WI           53706-1596
    SEAN D WARD                                                           610 N ORLANDO AVE #205                                                                    LOS ANGELES        CA           90048
    SEAN GARDNER                                                          95 LILAC DRRIVE                                                                           ANNANDALE          NJ           08801
    Sean Mcgann                                                           1 Atkinson Street                                                                         Newburyport        MA           01950
    SEAN MCMULLEN                                                         GPO BOX 2653X                                                                             MELBOURNE          Victoria     03001        Australia
    SEAN OSBORNE                                                          GROKHOLSKI PERULOK 5                                                                      MOSCOW                          115 127      Rsian Federation
    SEAN OSBORNE                                                          GROKHOLSKI PERULOK 5                                                                      MOSCOW                          115 127      Russian Federation
    SEAN REDMOND                                                          2144 W RICE ST, # 3W                                                                      CHICAGO            IL           60622-4833
    Sean Rojas                                                            1650 Cherry Blossom Terrace                                                               Heathrow           FL           32746
    SEAN W SPEAR                                                          P O BOX 171                                                                               WALLOWA            OR           97885
    SEAN WALMSLEY                                                         5 RICHARD AVE                                                                             SARATOGA SPRING    NY           12866
    SEAPICS.COM INC                                                       77-6344 HALAWAI PLACE                                                                     KAILUA KONA        HI           96740
    SEARFOSS LYNDON W                                                     10 ALTURA VISTA                                                                           SANTA FE           NM           87507
    SEARS STEPHEN                                                         9 SOUTH HUCKLEBERRY DR                                                                    NORWALK            CT           06850
    SEARS SUSAN                                                           7706 ALPATH ROAD, APT 24450                                                               NEW ALBANY         OH           43054
    SEASIDE SCHOOL FOUNDATION                                             P O BOX 4825                                                                              SEASIDE            FL           32459
    SEATTLE PUBLIC SCHOOLS                  ATTN PEGGY KNUTZEN            P O BOX 34165 MAILSTOP 32-303                                                             SEATTLE            WA           98124-1165

    SEATTLE UNIVERSITY BOOKSTORE                                          P O BOX 222000                                                                            SEATTLE            WA           98122
    Sebastian Andino                                                      503 Northgate Rd                                                                          Lindenhurst        IL           60046
    SEBRANEK GROUP INC                                                    35115 WEST STATE ST                                                                       BURLINGTON         WI           53105
    SEBRANEK INC                            DBA UPWRITE EXPRESS           35115 W STATE ST                                                                          BURLINGTON         WI           53105
    SEBRANEK PATRICK                                                      123 W WASHINGTON #1007                                                                    MADISON            WI           53703
    SEBRENA L BARTLEY                                                     1439 BLUES CREEK DRIVE                                                                    JACKSONVILLE       FL           32221
    SECOND LANGUAGE TESTING INC                                           6135 EXECUTIVE BLVD                                                                       ROCKVILLE          MD           20852
    SECONDARY READING COUNCIL OF
    FLORIDA                                 ATTN RACHELLE SAVITZ          2575 SW 10TH STREET                                                                       BOYNTON            FL           33426
    SECRETARIAT FOR EDUCATION               DIOCESE OF HARRISBURG         4800 UNION DEPOSIT ROAD                                                                   HARRISBURG         PA           17111
    Secretary of Revenue                    State of Louisiana            PO Box 91011                                                                              Baton Rouge        LA           70821-9011



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                402 of 488                                                                                                   1:26 PM
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                                                                                                                             of 519
                                                                                                                            First Class Service List


                 CreditorName                         CreditorNoticeName                       Address1                          Address2              Address3                City        State       Zip               Country
    Secretary of State                      State of North Dakota               600 E. Boulevard Ave             Dept 108                                         Bismarck            ND           50505-0500
    SECRETARY OF STATE                      PERA BUILDING                       1120 PASEO DEPERALTA                                                              SANTA FE            NM           87501
    Secretary of State                      Corporations Section                PO Box 13697                                                                      Austin              TX           78711-3697
    Secretary of State                      Business Services Division          Lucas Building, 1st Floor                                                         Des Moines          IA           50319
    SECRETARY OF STATE                      BUSINESS SERVICE DIVISION           LUCAS BUILDING FIRST FLOOR                                                        DESMOINES           IA           50319
    SECRETARY OF STATE                      ATTN CORPORATION                    P O BOX 23083                                                                     JACKSON             MS           39225
    SECRETARY OF STATE                      30 TRINITY STREET                   PO BOX 150470                                                                     HARTFORD            CT           06115
    SECRETARY OF STATE                                                          1120 PASEO DEPERALTA                                                              SANTA FE            NM           87501
    Secretary of State                                                          202 North Carson Street                                                           Carson City         NV           89701-4201
    SECRETARY OF STATE                                                          321 E 12TH ST                                                                     DES MOINES          IA           50319
    SECRETARY OF STATE                                                          500 EAST CAPITOL                                                                  PIERRE              SD           57501
    SECRETARY OF STATE                                                          600 E BOULEVARD AVE - DEPT 108                                                    BISMARK             ND           58506-5513
    SECRETARY OF STATE                                                          LUCAS BUILDING FIRST FLOOR                                                        DESMOINES           IA           50319
    Secretary of State                                                          PO Box 13697                                                                      Austin              TX           78711-3697
    SECRETARY OF STATE                                                          PO BOX 150470                                                                     HARTFORD            CT           06115
    SECRETARY OF STATE                                                          P O BOX 23083                                                                     JACKSON             MS           39225
    SECRETARY OF STATE                                                          P O BOX 9529                                                                      MANCHESTER          NH           03108
    Secretary of State - CA                                                     1500 11th Street                 PO Box 944230                                    Sacramento          CA           94244-2300
    Secretary of State - West Virg          State Capitol Building              1900 Kanawha Blvd. East                                                           Charleston          WV           25305-0770
    Secretary of State-Todd Rokita          Corportions Division                302 W. Washington St. Rm E018                                                     Indianapolis        IN           46204
    Secretary of the Commonwealth           Corporations Division               One Ashburton Place              17thFl.                                          Boston              MA           02108-1512
                                            Connecticut, Commercial Recording
    Secretary of the State of               Division                            PO Box 150470                                                                     Hartford            CT           06115-0470
    SECUREWORKS INC                                                             P O BOX 534707                                                                    ATLANTA             GA           30353-4707
    Security Central, Inc.                                                      7100 S. Clinton Street           Suite 200                                        Centennial          CO           80112-3353
    SECURITY MICRO IMAGING                                                      1515 NORTH RIVER CENTER DRIVE                                                     MILWAUKEE           WI           53212
    SEED MEDIA GROUP                                                            12 WEST 21 STREET 7TH FLOOR                                                       NEW YORK            NY           10010
    SEED MULTIMEDIA LLC                                                         40 AGAMENTICUS RD                                                                 SOUTH BERWICK       ME           03908
    SEGUIN INDEPENDENT SCHOOL
    DIST                                                                        1221 EAST KINGSBURY                                                               SEGUIN              TX           78155
    SEJER                                                                       30 PLACE DITALIE                                                                  PARIS CEDEX 13                   F-75211      France
    Sekhar Bijjala                                                              140 Stedman St                   Unit 1                                           Chelmsford          MA           01824
    SEKO WORLDWIDE                                                              P O BOX 92170                                                                     ELK GROVE VILLAGE   IL           60009
    SELECTOR SA DE CV                                                           DR ERAZO # 120                                                                    COL DOCTORES        DF           06720        Mexico
    SELKO PHOTO                                                                 P O BOX 8258                                                                      JACKSON             WY           83002
                                            DBA MEADOWVIEW ELEMENTARY
    SELMA CITY SCHOOLS                      SCHOOL                1816 OLD ORVILLE ROAD                                                                           SELMA               AL           36701
    Selma Pomeranz                                                26 Mayflower Rd                                                                                 Woburn              MA           01801
    SELMA UNIFIED SCHOOL DISTRICT                                 3036 THOMPSON AVE                                                                               SELMA               CA           93662
    SELMAN EDYTHEA                                                14 WASHINGTON PL                                                                                NEW YORK            NY           10003
    SELMAN ELEMENTARY SCHOOL                                      1741 HWY 90 WEST                                                                                SEALY               TX           77474
    SELWYN HOLLIS                 DBA APPLIED SYMBOLS             32 VERNON RIVER DRIVE                                                                           SAVANNAH            GA           31419
    SEMINOLE COUNTY PUBLIC
    SCHOOLS                       DBA CRYSTAL LAKE ELEMENTARY     231 RINEHART ROAD                                                                               LAKE MARY           FL           32746
    Semmes Walsh                                                  100 Nokomis Road                                                                                Hingham             MA           02043-1136
    SENATOR JOHN D CALANDRA SCH                                   3041 BRUCKNER BLVD                                                                              BRONX               NY           10461
    SENAY PURZER                                                  1833 MAN-O WAR DR                                                                               WEST LAFAYETTE      IN           47906
    SENECA HIGHLANDS INTERMEDIATE
    UNIT 9                        SUMMER CURRICULUM INSTITUTE     119 MECHANIC STREET                                                                             SMETHPORT           PA           16749
    SENQI HU                                                      1722 CARDINAL DRIVE                                                                             MCKINLEYVILLE       CA           95519
                                  CHIKOL EQUITIES- RECEIVER MAZER
    SENTINEL SERVICES INC         CORP                            P O BOX 13598                                                                                   DAYTON              OH           45414
    SENTRY INSURANCE              A MUTUAL COMPANY                P O BOX 88372                                                                                   MILWAUKEE           WI           53288-0372
    Serbun, David
    SERENDIPITY LITERARY AGENCY                                   305 GATES AVE                                                                                   BROOKLYN            NY           11216
    Sergei Daniel                                                 129 Winona Street                                                                               Peabody             MA           01960
    Sergey Gurin                                                  17 Ridgeway Terrace                                                                             Needham             MA           02492
    Sergio Carrasquillo                                           682 Reindeer Dr.                                                                                Kissimmee           FL           34759
    Sergio Durante                                                360 Nueces Street                              #1517                                            Austin              TX           78701
    SERGIO J HERNANDEZ            DBA INDIAN OAK GRAPHICS         31317 INDIAN OAK RD                                                                             ACTON               CA           93510
    SERGIO PIUMATTI                                               1618 CENTENARY DRIVE                                                                            RICHARDSON          TX           75081

    SERRV INTERNATIONAL                     DBA CRS WORK OF HUMAN HANDS         500 MAIN STREET, PO BOX 365                                                       NEW WINDSOR         MD           21776

    SERVCO APPLIANCE & SERVICE INC                                              6418 MILNER BLVD INC                                                              ORLANDO             FL           32809-6678
    SERVICESOURCE INTERNATIONAL
    INC                                                                         DEPT # 34073, P O BOX 39000                                                       SAN FRANCISCO       CA           94139
    SERVICIOS INTERNACIONALES DE                                                350 MTS ESTE DE TRIBUNALES DE
    CARGA S A                      DBA JETBOX                                   JUSTICIA                                                                          GUADALUPE                                     Costa Rica




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                           403 of 488                                                                                         1:26 PM
                                                      12-12171-reg            Doc 136             Filed 07/15/12 Exhibit
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                                                                                                            Pg Creditor
                                                                                                                411 Matrix
                                                                                                                        of 519
                                                                                                                First Class Service List


                 CreditorName                      CreditorNoticeName                  Address1                      Address2              Address3           City            State       Zip      Country
                                            DBA CROWNE PLAZA
    SERVICO HOUSTON INC                     BROOKHOLLOW                     12801 NORTHWEST FREEWAY                                                   HOUSTON            TX           77040
    SES ENTERPRISES INC                                                     1824 HAZELWOOD DR                                                         LINDENHURST        IL           60046
    SESAME WORKSHOP                                                         ONE LINCOLN PLAZA                                                         NEW YORK           NY           10023-7129
    Seth Diaz                                                               5960 Rosario Street                                                       Chino              CA           91710
    SETH GODIN PRODUCTIONS, INC.                                            PO BOX 305                                                                IRVINGTON          NY           10533
    SETH JACOBS                             BOSTON COLLEGE                  32 PONTIAC ROAD                                                           WABAN              MA           02468
    SETH McKEEL CAMPAIGN                                                    P O BOX 6024                                                              LAKELAND           FL           33807
    SETH STEVENSON                                                          1530 16TH ST, NW # 809                                                    WASHINGTON         DC           20036
    SETH TOBOCMAN                                                           176 EAST 3RD STREET #1A                                                   NEW YORK           NY           10009
    SETTING PACE LLC                                                        5430 CORNELL RD                                                           CINCINNATI         OH           45242
    SEUNG HYUNJUNE SEBASTIAN                                                156 ALLSTON STREET                                                        CAMBRIDGE          MA           02139
    Seungjoon Lee                                                           1821 W Palm Drive                                                         Mt. Prospect       IL           60056
    SEVEN HOLY FOUNDERS PARISH              SEVEN HOLY FOUNDERS SCHOOL      6737 ROCK HILL ROAD                                                       AFFON              MO           63123
    Seventh Mountain Resort                                                 18575 SW Century Drive                                                    Bend               OR           97702
    SEVERANCE JOHN B                                                        8001 U S HIGHWAY 80 # 602                                                 SAVANNAH           GA           31410
    SEVERINE L CHAMPENY                                                     9607 NEWBERRY DRIVE                                                       AUSTIN             TX           78729
    SEWALL MARCIA                                                           243 BOSTON ST                                                             DORCHESTER         MA           02125
    SEYBOLD PUBLICATIONS INC                                                P O BOX 976                                                               MEDIA              PA           19063-0976
    SEYFARTH SHAW LLP                                                       3807 COLLECTIONS CENTER DRIVE                                             CHICAGO            IL           60693
    SEYMORE SIMON                                                           4 SHEFFIELD ROAD                                                          GREAT NECK         NY           11021
    SEYMOUR POLLY G                                                         1804 SUMMERFIELD ROAD                                                     WINTER PARK        FL           32792
    SEYMOUR S COHEN                                                         10 CARROT HILL ROAD                                                       WOODS HOLE         MA           02543
    SEYMOUR SARASON                         THE WHITNEY CENTER              200 LEEDER HILL DR                                                        HAMDEN             CT           06517
    SGS US TESTING COMPANY INC                                              P O BOX 2502                                                              CAROL STREAM       IL           60132-2502
    SHABAKA & ASSOCIATES                                                    1761 TOWNSEND ST                                                          DETROIT            MI           48214
    SHACHAT ANDREW                                                          PO BOX 4271                                                               SANTA CRUZ         CA           95060
    SHADES CAHABA ELEM SCHOOL                                               3001 INDEPENDENCE DRIVE                                                   HOMEWOOD           AL           35209
    SHADY SIDE ELEMENTARY                                                   4859 ATWELL RD                                                            SHADY SIDE         MD           20764
    SHAJUANA RHODES                                                         400 WOODLAND DR                                                           EDWARDS            MS           39066
    SHAKER RECRUITMENT
    ADVERTISING & CO                                                        PO BOX 3309                                                               OAK PARK           IL           60303
    SHAKESPEARE SQUARED LLC                                                 626 ACADEMY DR                                                            NORTHBROOK         IL           60062
    SHAKOPEE PS                                                             505 HILMES STREET SOUTH                                                   SHAKOPEE           MN           55379
    SHAMBHALA PUBLICATIONS INC              HORTICULTURE HALL               300 MASSACHUSETTS AVENUE                                                  BOSTON             MA           02115
    Shamekia Wade                                                           388 Harris Manor Drive                                                    Atlanta            GA           30311
    SHAMRA FOSTER                                                           35 RAINTREE PL                                                            JACKSON            MS           39211
    SHAMSAH MALIK                                                           1518 BIRCHMEADOW CT                                                       SAN JOSE           CA           95131
    SHANA BOBITT & SPELMEN
    COLLEGE                                 EAST ST LOUIS SCHOOL DISTRICT   1005 STATE STREET                                                         EAST ST LOUIS      IL           62201
    SHANA WOODWARD                                                          135 CREEKSIDE DR                                                          SHELBY             NC           28152-8060
    Shane Bichl                                                             1546 W. Arthur Ave              2                                         Chicago            IL           60626
    Shane E Schlabach                                                       4132 Chalmette Drive                                                      Beavercreek        OH           45440
    Shane Glasser                                                           158 S Cassingham Rd                                                       Bexley             OH           43209
    SHANE L KEYSER                                                          7711 WEST 156TH TERRACE                                                   OVERLAND PARK      KS           66223
    SHANE LEE SITORIUS                                                      6412 GREEN GARDEN DRIVE                                                   BAKERSFIELD        CA           93313
    SHANE SMULYAN                                                           91 PARKTON ROAD APT # 3                                                   JAMAICA PLAIN      MA           02130
    SHANE TEMPLETON                                                         2355 SPALDING CT                                                          RENO               NV           89523
    SHANKLIN CORPORATION                                                    P.O. BOX 406735                                                           ATLANTA            GA           30384-6735
    SHANNA D MORGANSON                                                      16 SOUTHVIEW CIRCLE                                                       GREENBRIER         AR           72058
    Shanna Mckee                                                            160 South Jane Drive                                                      Elgin              IL           60123
    SHANNA R DALY                                                           200 N STATE ST APT 100                                                    ANN ARBOR          MI           48104
    SHANNA SCHWARTZ                                                         12 E 14TH ST APT 2F                                                       NEW YORK           NY           10003
    SHANNA WEAGLE                                                           11723 N DESERT HOLLY DR                                                   ORO VALLEY         AZ           85737
    SHANNAN P COMBEE                                                        1716 DOOLEY LANE                                                          LAKELAND           FL           33813
    Shannan Paglomutan                                                      421 AbbeyRidge Court                                                      Ocoee              FL           34761
    SHANNAN VAUGHN                                                          5712 MEADOW CREST                                                         AUSTIN             TX           78744
    Shannon Anderson                                                        41 Preston St                                                             Wakefield          MA           01880
    SHANNON ASSOCIATES                                                      333 WEST 57TH ST SUITE 809                                                NEW YORK           NY           10019
    SHANNON ASSOCIATES LLC                                                  333 WEST 57TH STREET STE 809                                              NEW YORK           NY           10019
    SHANNON DILDAY                                                          21096 GYPSY MOTH LANE                                                     HUNTINGTON BEACH   CA           92646
    SHANNON ELIZABETH KIEBLER                                               7648 SNOWMASS MOUNTAIN                                                    LITTLETON          CO           80127
    Shannon Ferris                                                          3705 Curtis Drive                                                         Round Rock         TX           78681
    Shannon Flesch                                                          13062 Lexington Summit St                                                 Orlando            FL           32828
    SHANNON GALAMORE                                                        4400 WILLIAM WAY                                                          PINSON             AL           35126
    Shannon Hartle                                                          P O Box 283                                                               Winfield           MO           63389
    Shannon Koonsman                                                        218 Greensprings St                                                       Highland Village   TX           75077
    Shannon Larson                                                          853 County Road 490                                                       Princeton          TX           75407
    SHANNON MEREDITH LAMPTON                                                195 MOUNTAIN OAK TRL                                                      SOMERVILLE         AL           35670
    SHANNON RAE SHARP                                                       1050 JADE ST                                                              BOGART             GA           30622



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                               404 of 488                                                                               1:26 PM
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                                                                                                                           First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                              Address2                         Address3                      City          State       Zip           Country
    SHANNON SPARKS                                                         1824 HAZELWOOD DRIVE                                                                                     LINDENHURST         IL           60046
    Shannon Vrana Wallace                                                  8310 Twining Tr. Ln.                                                                                     Sugar Land          TX           77479
    SHANNON WHALEN                                                         38 TEAKWOOD ROAD                                                                                         SPRINGFIELD         MA           01128
    SHANTI BRUCE                                                           110 N FEDERAL HIGHWAY #1105                                                                              FORT LAUDERDALE     FL           33301
    SHAPIRO ALAN                                                           24-B MOUNT BOLUS RD                                                                                      CHAPEL HILL         NC           27514
    SHAPIRO LYNNE                                                          7 FONT HILL PK                                                                                           BLOOMFIELD          CT           06002
    Shara Hammet                                                           1501 Fern Street Street                                                                                  New Orleans         LA           70118
    SHARA HARDESON                                                         5 BELLVISTA ROAD APT 5                                                                                   BRIGHTON            MA           02135
    SHARED TECHNOLOGIES INC                 DEPT 145                       PO BOX 4869                                                                                              HOUSTON             TX           77210
    SHARES INC                                                             1611 SOUTH MILLER ST                                                                                     SHELBYVILLE         IN           46176
    SHARI HOCKERSMITH                                                      HC 66 BOX 10                                                                                             OVERBROOK           OK           73453
    Sharismar Rodriguez                                                    74 Wickes Avenue                                                                                         Yonkers             NY           10701
    SHARITA BARNES                                                         10753 EAST BAYTREE DRIVE                                                                                 GULFPORT            MS           39503
    SHARLA LYNN HEIGHTMAN                                                  3117 LANTERN LANE                                                                                        QUINCY              IL           62301
    SHARLEE GLENN                                                          116 NORTH 1240 EAST                                                                                      PLEASANT GRV        UT           84062
    Sharman Admire                                                         938 Euclid Ave                                                                                           Jackson             MS           39202
                                                                                                                                                      SHARMANE MILLER ACCT # 15032261
    SHARMANE C MILLER                                                      P O BOX CR 54647                                                           PNBPUS                          NASSAU                                      Bahamas
    SHARON A BOGUSZ                                                        1707 CARRS MILL COURT                                                                                      FALLSTON          MD           21047
    SHARON A MCELROY                                                       214 DOGWOOD TRAIL                                                                                          BORDEN            IN           47106
    SHARON A MITCHELL                       DBA MITCHELL PHOTOGRAPHY       8501 PERSIMMON GROVE                                                                                       AUSTIN            TX           78737
    Sharon Alexander                                                       128 Parker St Unit 4C                                                                                      Acton             MA           01720
    SHARON ANKRUM                                                          949 LAKE STREET 3G                                                                                         OAK PARK          IL           60301
    SHARON ANN SOUDER                                                      3944 OLD WHEELING RD                                                                                       ZANESVILLE        OH           43701
    Sharon Ballard Cox                                                     1205 Vista Grande Rd                                                                                       El Cajon          CA           92019
    SHARON BLECHER                                                         241 ELM STREET                                                                                             OBERLIN           OH           44074
    Sharon Blum                                                            9221 Drake Ave                                                                                             Evanston          IL           60203
    Sharon Bogue                                                           41 Lincoln Street                                                                                          Watertown         MA           02472
    SHARON BRANDT                                                          BOX 466                                                                                                    BOILING SPRINGS   PA           17007
    Sharon Burger                                                          118 Evelyn Road                                                                                            Newton            MA           02468
    Sharon Burkhardt                                                       173 Chamberlain Street                                                                                     Holliston         MA           01746
    Sharon C MacQueen                                                      918 Sharon Lane                                                                                            Schaumburg        IL           60193
    Sharon Chandiprasad                                                    2282 Meadow Oak Circle                                                                                     Kissimmee         FL           34746
    Sharon Coward                                                          261 LAMBERTVILLE HOPEWELL RD                                                                               HOPEWELL          NJ           08525
    Sharon D Taylor                                                        4840 Wyalusing Ave                    Unit F                                                               Philadelphia      PA           19131
    SHARON DAVIE                                                           P.O. BOX 800588                       UNIV OF VA/WOMENS CENTER                                             CHARLOTTESVILLE   VA           22908
    Sharon Dee Kakish                                                      16 Cherbourg Ct                                                                                            Wheeling          IL           60090
    Sharon Delesbore                                                       6303 Vista Camino Drive                                                                                    Houston           TX           77083
    SHARON E LAARZ                                                         8 WEST WAINWRIGHT DRIVE                                                                                    POQUOSON          VA           23662
    Sharon Erwin                                                           36W371 Ferson Creek Road                                                                                   St Charles        IL           60174
    SHARON FEAR                                                            110 GENEVA RD 32C                                                                                          ST CHARLES        IL           60174
    SHARON FENNESSEY                                                       31 HIMES ST                                                                                                NORTH KINGSTOWN   RI           02852
    Sharon Freedman                                                        4 Childs Circle                                                                                            Framingham        MA           01701
    SHARON FREIMAN                                                         8809 BRIERLY ROAD                                                                                          CHEVY CHASE       MD           20815
    Sharon Frey                                                            153 Brookston Drive                   Unit C2                                                              Schaumburg        IL           60193
    SHARON FUNK                                                            529 WEST BROADWAY APT 3B                                                                                   LONG BEACH        NY           11561-3031
    SHARON GAINER                                                          9555 S SPRINGFIELD                                                                                         EVERGREEN PARK    IL           60805
    SHARON GLASSMEYER                                                      P O BOX 140551                                                                                             NASHVILLE         TN           37214
    SHARON GRADY                                                           WINSHIP BLDG                          UNIV OF TEXAS                        THEATRE & DANCE DEPT            AUSTIN            TX           78712
    SHARON GREENWALD                                                       10777 W SAMPLE ROAD #303                                                                                   CORAL SPRINGS     FL           33065
    SHARON GUYNUP                                                          813 WILLOW AVE                                                                                             HOBOKEN           NJ           07030
    SHARON HAYES                                                           611 PINE STREET                                                                                            WAYNESBORO        MS           39367
    SHARON HILL                                                            262 HANCOCK STREET                                                                                         BROOKLYN          NY           11216
    SHARON HILL                                                            262 HANCOCK ST                                                                                             BROOKLYN          NY           11216-2201
    SHARON HULL                                                            2607 FALLCREEK DRIVE                                                                                       CARROLLTON        TX           75006
    SHARON J COBURN                                                        3431 CYPRESS MARSH DR                                                                                      FORT MYERS        FL           33905
    SHARON K PLACHE                                                        4070 GOLDFINCH SUITE B                KARISE BODY THERAPY                                                  SAN DIEGO         CA           92103
    SHARON KAKISH                                                          16 CHERBOURG COURT                                                                                         WHEELING          IL           60090
    Sharon L Brandt                                                        P.O. Box 466                                                                                               Boiling Springs   PA           17007
    Sharon L Fullerton                                                     11 Roosevelt Road                                                                                          Wilmington        MA           01887
    SHARON L SCHWARTZ                                                      120 GOLF HILL RD                                                                                           HONESDALE         PA           18431

    Sharon L Torres                                                        Cond. Montemar Apartments Edif. 1527 Apt. 127 Ave. Brisas del Caribe                                     Ponce               PR           00728
    SHARON L TORRES                                                        URB VALLE DE ANDALUCIA # 3430                                                                            PONCE               PR           00728
    Sharon Liu                                                             1224 W CLARIDGE CT                                                                                       PALATINE            IL           60067
    SHARON M MOSHER                                                        1861 DALTON ROAD                                                                                         LIMA                NY           14485
    SHARON M RUGGIERI                                                      170 S HUGHES STREET                                                                                      HAMILTON            VA           20158
    Sharon M Wajda                                                         880 Chad Court                                                                                           Brunswick           OH           44212
    Sharon Marosi                                                          7046 Archwood Drive                                                                                      Orlando             FL           32819
    Sharon Martin                                                          159 S 166th St                                                                                           Omaha               NE           68118



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                          405 of 488                                                                                                        1:26 PM
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                                                                                                                      of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                       Address2              Address3               City        State       Zip            Country
    Sharon Martinak                                                        1028 Chokecherry Drive                                                         Winter Springs     FL           32708
    SHARON MOLSTER                                                         59 PARKER AVENUE                                                               WEST HAVEN         CT           06516
    Sharon Noble                                                           1814 Knob Hill Dr.                                                             Garland            TX           75043
    Sharon P. Burcham                       A+ Achievement                 2090 N. Plantation Drive                                                       Dunkirk            MD           20754
    SHARON PAUL                                                            360 FAIRBROOK CT                                                               NORTHVILLE         MI           48167
    SHARON R BARNETT                                                       431 FAIRLAWN CIRCLE                                                            MARYVILLE          TN           37804
    Sharon R. Morales                                                      11832 S. Donley Street                                                         Parker             CO           80138
    SHARON RICKMAN                                                         37 MASON FARM ROAD                                                             RINGOES            NJ           08551
    SHARON SCHWARTZ                                                        120 GOLF HILL ROAD                                                             HONESDALE          PA           18431
    SHARON SKEANS                                                          3833 NORTHSHORE DRIVE                                                          MONTGOMERY         TX           77356
    SHARON SOFINSKI                                                        4313 N LOWELL AVE                                                              CHICAGO            IL           60641-2015
    SHARON STRINGER                                                        2029 BURNING TREE LANE                                                         YOUNGSTOWN         OH           44505
    Sharon T Wetzel                                                        121 W 100 N                                                                    IVINS              UT           84738
    SHARON TABERSKI                                                        4976 MADISON AVENUE                                                            TRUMBULL           CT           06611
    Sharon Vogt                                                            76 Canton St                                                                   Stoughton          MA           02072
    SHARON WALTERS                                                         8449 GIANT CITY ROAD                                                           CARBONDALE         IL           62902
    SHARON WHEELER                                                         444 BARNEGAT LANE                                                              REDWOOD CITY       CA           94065
    Sharon Wilson                                                          300 Promenade Circle                                                           Lake Mary          FL           32746
    SHARON ZENA SMOTHERS                                                   5531 CALLANDER DRIVE                                                           SPIRNGFIELD        VA           22151
    SHARP DESIGNS & ILLUSTRATION
    INC                                                                    7498 S SHADY SIDE DR                                                           BLOOMINGTON        IN           47401
    SHARPE & ASSOCIATES                                                    7536 OGELSBY                                                                   LOS ANGELES        CA           90045
    SHARRON B REEVES                                                       242 2ND AVENUE                                                                 DECATUR            GA           30030
    Sharron Camp-Reed                                                      1483 Wehrle Drive                                                              Williamsville      NY           14221
    SHARRON NICHOLSON                                                      4440 W BEECH                                                                   DUNCAN             OK           73533
    SHARRON SIDNEY                                                         19206 VILLAGE 19                                                               CAMARILLO          CA           93012
    SHATTIL ROZINSKI PHOTOGRAPHY                                           P O BOX 370422                                                                 DENVER             CO           80237
    SHATTIL WENDY                                                          PO BOX 37422                                                                   DENVER             CO           80237
    Shaun Boyle                                                            441 York Dr                                                                    Benicia            CA           94510
    SHAUN WALKER                                                           1825 MCFARLAN STREET                                                           EUREKA             CA           95501
    Shauna Carr                                                            86 Corey Rd                      Apt 2                                         Brighton           MA           02135
    SHAUNE HANDY                                                           6286 MS HWY 569                                                                SMITHDALE          MS           39664
    SHAW ETHEL M KING                                                      410-174 YPRES GREEN S.W.                                                       CALGARY            AB           T2T 6M2      Canada
    SHAW JEAN M                                                            207 SAINT ANDREW CIRCLE                                                        OXFORD             MS           38655
    SHAW NANCY E                                                           1306 HARBROOKE                                                                 ANN ARBOR          MI           48103
    SHAW SALLY                                                             P.O. BOX 531                                                                   VENICE             FL           34284
    SHAWN ALLADIO                                                          14455 SANDBROOK DRIVE                                                          TUSTIN             CA           92780
    SHAWN GIRSBERGER                                                       2316 SEDGEWICK DRIVE                                                           VIRGINIA BEACH     VA           23454-3461
    SHAWN HARRISON CAMPAIGN                                                1010 N FLORDIA CAMPAIGN                                                        TAMPA              FL           33602
    Shawn Richmond                                                         91 1/2 Norton Street                                                           South Berwick      ME           03908
    SHAWN VIANE                                                            2866 MEADOW LANE                                                               SCHAUMBURG         IL           60193
    Shawn Weirather                                                        1099 Beed Avenue                                                               Elburn             IL           60119
    SHAWNEE MISSION EDUCATION                                              7235 ANTIOCH                                                                   SHAWNEE MISSION    KS           66204
    Shawyn G Jackson                                                       12 Pembroke Court                                                              Bay Shore          NY           11706
    SHEA A COLLINS                                                         4901 WYNN LANE # 302                                                           MIDLOTHIAN         VA           23112
    SHEARMAN & STERLING LLP                                                599 LEXINGTON AVENUE                                                           NEW YORK           NY           10022
    SHEDD AQAURIUM                                                         1200 SOUTH LAKE SHORE DRIVE                                                    CHICAGO            IL           60605
    SHEEHAN NANCY                                                          8 SUNSET POINT RD                                                              GLOUCESTER         MA           01930
    SHEEHY MAIL CONTRACTORS INC                                            127 CENTRAL AVENUE                                                             WATERLOO           WI           53594
    SHEELA ALLEN                                                           P O BOX 9460                                                                   JACKSONVILLE       FL           32208
    Sheela Mullur                                                          1 Jonathan Ave                                                                 Millbury           MA           01527
    SHEFELBINE JOHN                                                        630 MORRIS WAY                                                                 SACRAMENTO         CA           95864
    SHEIL LAND ASSOCIATES                                                  52 DOUGHTY STREET                                                              LONDON                          WC1N 2LS     United Kingdom
    SHEILA A BOYLE                                                         18 ARCOLA STREET                                                               MALDEN             MA           02148
    SHEILA ASSAD                                                           25 WINDSOR DRIVE                                                               WESTPORT           MA           02790
    SHEILA C SMITH                                                         1435 LEXINGTON AVENUE , APT 5E                                                 NEW YORK           NY           10128
    SHEILA CUNNINGHAM                                                      8409 GOLD CREEK COURT                                                          BURLESON           TX           76028
    Sheila Delay                                                           87 Jenness Road                                                                Epping             NH           03042
    Sheila E Mcintosh                                                      295 Warren Street                                                              Needham            MA           02492
    Sheila E Varela                                                        70 Lyman Road                                                                  Milton             MA           02186
    SHEILA F DECOSSE                                                       425 EAST 86 STREET APT 12D                                                     NEW YORK           NY           10028
    SHEILA F WOOD FOARD                                                    P O BOX 69                                                                     VAN BURAN          MO           63965
    SHEILA G BINGHAM                                                       402 EAST TRAVIS STREET                                                         FREDERICKSBURG     TX           78624
    SHEILA JELLY                                                           22 MOORLANDS - WEST HILL                                                       OTTERY ST MARY     Devon        EX11 1UL     United Kingdom
    SHEILA KERRIGAN                                                        2310 STANSBURY RD                                                              CHAPEL HILL        NC           27516
    Sheila L Harris                                                        One Atherstone St.                                                             Boston             MA           02124
    Sheila Lake                                                            913 Brentwood Place                                                            Geneva             IL           60134
    SHEILA LARKIN                                                          709 SPRUCE LANE                                                                ELIZABETHTOWN      KY           42701
    Sheila Logiacco                                                        2123 Sand Run Road                                                             Kissimmee          FL           34744
    Sheila M Larkin                                                        709 Spruce Lane                                                                Elizabethtown      KY           42701



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   406 of 488                                                                                      1:26 PM
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                                                                                                                            of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2                        Address3                 City           State       Zip              Country
    Sheila Mehegan                                                         307 Washington                                                                               Winchester           MA           01890
    Sheila Moore                                                           2124 Lancaster Circle             Unit 201B                                                  Naperville           IL           60565
    SHEILA P THOMAS                                                        10808 TALLESBORO COVE                                                                        AUSTIN               TX           78739
    SHEILA R GRAHAM WILLIE                                                 27426 HESSIE WILLIE ROAD                                                                     FOLSOM               LA           70437
    Sheila Reed                                                            25 Castleton Lane                                                                            Moorestown           NJ           08057
    SHEILA SETTER                                                          811 BERMUDA STREET                                                                           AUSTIN               TX           78734-4205
    Sheila Smallwood                                                       680 South Avenue                  #12                                                        Weston               MA           02493
    Sheila Smith                                                           1435 LEXINGTON AVE #5E                                                                       NEW YORK             NY           10128
    SHEILA VARELA                                                          70 LYMAN ROAD                                                                                MILTON               MA           02186
    SHEILA WISE                                                            3210 PARK MEADOWS                                                                            DEER PARK            TX           77536
                                                                                                                                                RIGHTS & REPRODUCTION
    SHELBURNE MUSEUM INC                                                   US ROUTE 7 , PO BOX 10            ATTN JULIE B SOPHER                MANAGER                 SHELBURNE            VT           05482
    Shelby Bach                                                            1217 Woodland Point               Unit J                                                     St. Louis            MO           63146
    SHELDON FINE                                                           884 WEST END AVENUE APT # 103                                                                NEW YORK             NY           10025

    SHELDON FOGELMAN AGENCY INC             SEAN MCCARTHY                  10 EAST 40TH STREET                                                                          NEW YORK             NY           10016-0301

    SHELDON FOGELMAN AGENCY INC                                            10 EAST 40TH STREET                                                                          NEW YORK             NY           10016

    SHELDON FOGELMAN AGENCY INC                                            10 EAST 40TH STREET                                                                          NEW YORK             NY           10016-0301
    Shelia Scurlock                                                        790 Concourse Village W           Apt. #18D                                                  Bronx                NY           10451
    SHELLEY BERG                                                           311 WALNUT ST                                                                                DEDHAM               MA           02026
    SHELLEY BUDGEON                                                        35 BLENHEIM RD                                                                               BIRMINGHAM                        B13 9TY      United Kingdom
    SHELLEY CHUNG                                                          16884 ABUNDANTE STREET                                                                       SAN DIEGO            CA           92127
    Shelley Farrar-Coleman                                                 1808 Dove Ln                                                                                 Crowley              TX           76036
    SHELLEY HARWAYNE                                                       8 BROOK TRAIL                                                                                CROTON ON HUDSON     NY           10520
    SHELLEY MACCABEE                                                       548 24TH ST                                                                                  ARCATA               CA           95521
    SHELLEY RAE OCHS                                                       1703 E ANNIE ST                                                                              TAMPA                FL           33612
    Shelley Sackett                                                        116 Ocean Ave                                                                                Swampscott           MA           01907
    SHELLEY SCHANTZ                                                        9825 E LAKE TAHOE DR                                                                         INVERNESS            FL           34450
    SHELLEY VICTORIA                                                       69 BRITTANY AVENUE                                                                           TRUMBULL             CT           06611
    SHELLI SHAW                                                            22806 MARKET SQUARE LANE                                                                     KATY                 TX           77449
                                                                           52 A S QUNMING RD HAIDIAN
    SHELLY CHEN                                                            DISTRICT                                                                                     BEIJING P R C                     100097       China
    SHELLY CHUMLEY                                                         1250 OVERBROOK CIR                                                                           MORRIS               AL           35116-1763
    Shelly R DuBose                                                        2476 Cove Creek Court                                                                        Highlands Ranch      CO           80129
    SHELLY R DUBOSE                                                        2476 W COVE CREEK CT                                                                         HIGHLANDS            CO           80129
    SHELTON GWENDOLYN H                                                    2004 MATTHEWS LANE                                                                           AUSTIN               TX           78745
    Shelving Rack & Lockers, Inc.                                          5081 Kingston Street                                                                         Denver               CO           80239
                                                                                                                                                                        BANTIAN INDUSTRIAL
    SHENZHEN DONNELLEY BRIGHT               WU HE DA DAO                   SHENZHEN PR CHINA                                                                            ZONE                              518129       China
    Sheral L Morgioni                                                      995 Tuskawilla Road                                                                          Winter Springs       FL           32708
    Sheraton Carlsbad Resort & Spa                                         5480 Grand Pacific Drive                                                                     Carlsbad             CA           92008
    Sheraton City Center Hotel              Hotel Exec Offices             400 South 14th Street                                                                        Saint Louis          MO           63103
    Sheraton Denver Downtown Hotel          Christine Larsen               1550 Court Place                                                                             Denver               CO           80202
    Sheraton La Jolla Hotel                                                3299 Holiday Court                                                                           La Jolla             CA           92037
    SHERATON MILWAUKEE
    BROOKFIELD                                                             375 SOUTH MOORLAND ROAD                                                                      BROOKFIELD           WI           53005
    Sheraton Portland Hotel                                                8235 NE Airport Way                                                                          Portland             OR           97220
    Sheraton Reston Hotel                                                  11810 Sunrise Valley Drive                                                                   Reston               VA           20191
    Sheraton Suites                                                        701 A Street                                                                                 San Diego            CA           92101
    Sheraton Universal Hotel                                               333 Universal Hollywood Drive                                                                Universal City       CA           91608
    Sherelle Green                                                         542 High Ridge Road                                                                          Hillside             IL           60162
    SHERI A MCGILL                                                         60 WEST MAIN STREET                                                                          GLEN ROCK            NJ           07452
    Sheri B Black                                                          1804 Navarre Sound Circle                                                                    Navarre              FL           32566
    SHERI J BOYD                                                           6327 HIDDEN DALE AVE                                                                         ORLANDO              FL           32819-4113
    SHERI PENTECOST                                                        842 MALLARD DR                                                                               COPPELL              TX           75019
    SHERI REED                                                             6401 E WOODSMALL DRIVE                                                                       TERRE HAUTE          IN           47802
    Sheri Rossetti                                                         3450 Leigh Court                                                                             Sachse               TX           75048
    SHERIDAN AUSTIN                                                        1606 WILDWOOD LANE                                                                           MADISONVILLE         TX           77864
    SHERIDAN BLAU                                                          255 W 92ND STREET APT 1C                                                                     NEW YORK             NY           10025
    SHERIDAN BOOKS INC                                                     613 E INDUSTRIAL DR                                                                          CHELSEA              MI           48118
    Sheridan Doerr                                                         133 Fairwood Drive                                                                           Georgetown           TX           78628
    SHERIDAN GRAPHICS INC                                                  4524 CURRY FORD ROAD                                                                         ORLANDO              FL           32812
    SHERIDAN LOWELL                                                        23975 PARK SORRENTO STE 365                                                                  CALABASAS            CA           91302
    SHERIE GIBSON                                                          2614 CROW LOOP                                                                               WANSHIP              UT           84017
    SHERIFF WAYNE WRIGHT                    WOODFORD COUNTY SHERIFF        103 SOUTH MAIN STREET                                                                        VERSAILLES           KY           40383
    SHERITA PEARSON                                                        916 WESTWIND PLACE                                                                           VIRGINIA BEACH       VA           23452
    Sherman & Howard, LLC                                                  633 Seventeenth Street            Suite 3000                                                 Denver               CO           80202
    SHERMAN BROWN                           dba GEKKO TECHNOLOGIES INC     11 SAN MARCO ST #705                                                                         CLEARWATER BEACH     FL           33767



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                    407 of 488                                                                                                      1:26 PM
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                                                                                                                       of 519
                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                       Address2                        Address3               City        State       Zip               Country
    Sherman Rosen                                                          7712 Agnew Ave.                                                                          Los Angeles        CA           90045
    SHERMAN SUSAN PRATT                                                    12 KILIMANJORO                                                                           SILVER CITY        NM           88061
    SHERRI ANN ROGERS                                                      250 BUTTON BUSH LANE                                                                     WELLINGTON         FL           33414
    Sherri Doherty                                                         9907 S Campbell Avenue                                                                   Chicago            IL           60655
    SHERRI MERCOVICH                                                       828 EDGECREEK TRL                                                                        ROCHESTER          NY           14609
    Sherri Rowe                                                            1080 15 Road                                                                             Stockton           KS           67669
    SHERRI WILKES                                                          3907 SQUIRE TUCK WAY                                                                     PIKESVILLE         MD           21208
    SHERRILL COOK                                                          132 CENTRAL STREET                                                                       NORTH READING      MA           01864
    SHERRIN B HERSCH                                                       2000 BROADWAY APT 7D                                                                     NEW YORK           NY           10023
    SHERROD JOHN P                                                         2030 BURLISON DRIVE                                                                      URBANA             IL           61801
    Sherry Bailey                                                          304 Wood Duck Road                                                                       Columbia           SC           29223-3120
    Sherry D Day                                                           3 Ladyslipper Dr.                                                                        Newmarket          NH           03857
    SHERRY GARLAND                                                         3100 ROLLING GLEN DRIVE                                                                  BRYAN              TX           77807-3209
    SHERRY HOPKINS                                                         330 E ROUMFORT ROAD                                                                      PHILADELPHIA       PA           19119
    SHERRY L MEIER                                                         CAMPUS BOX 4520               ILLIONIS STATE UNIVERSITY             MATHEMATICS DEPT     NORMAL             IL           61790
    Sherry L Pincus                                                        95 Pond Plain Road                                                                       Westwood           MA           02090
    SHERRY LYN BOST                                                        5007 93RD ST                                                                             LUBBOCK            TX           79424
    SHERRY LYNN P SANDERS                                                  219 LAGRANGE COURT                                                                       MACON              GA           31210
    Sherry Poole                                                           531 Stoney brook Rd                                                                      Statesville        NC           28677
    SHERRY ROBB LITERARY
    PROPERTIES                              DIVISION OF THE ROBB GROUP     1927 CARMEN AVE                                                                          HOLLYWOOD          CA           90036
    SHERSTON SOFTWARE                                                      SWAN BARTON                                                                              WILTSHIRE                       SN16 0LH     United Kingdom
    SHERSTON SOFTWARE LIMITED               ANGEL HOUSE HERSTON            NEAR MALMESBURY                                                                          WILTSHIRE          Wiltshire    SN16 0LH     United Kingdom
    SHERWIN WILLIAMS CO                                                    1420 KINGS HWY                                                                           HADDON HEIGHTS     NJ           08035
    SHERWOOD RICHARD                                                       BOX P 223                                                                                SOUTH DARTMOUTH    MA           02748
    SHERYL BURLINGAME                                                      1059 CLAY ROAD, P O BOX 142                                                              UNION CITY         MI           49094
    SHERYL FONTAINE                                                        446 BAUGHMAN AVE                                                                         CLAREMONT          CA           91711
    Sheryl Johnson                                                         129 S. Mercedes Drive                                                                    Norman             OK           73069
    SHERYL KOEHN-KUCHERA                                                   17223 GREENWOOD DRIVE                                                                    ROUND HILL         VA           20141
    SHERYL MCCURDY                                                         7000 FANNIN # 2520                                                                       HOUSTON            TX           77030
    SHERYL R ABSHIRE                                                       2705 BOCAGE LANE                                                                         LAKE CHARLES       LA           70605
    SHERYL SIXSMITH                                                        566 SONOMA AVENUE                                                                        LIVERMORE          CA           94550
    SHERYLE L BANIN                                                        40 BOOTHBY DR                                                                            MOUNT LAUREL       NJ           08054
                                                                           URB LA ESTANCIA # 119 CALLE
    SHEYNEL MALDONADO DIAZ                                                 POMAROSA                                                                                 LAS PIEDRAS        PR           00771
    SHI INTERNATIONAL CORP                                                 PO BOX 8500-41155                                                                        PHILADELPHIA       PA           19178
    SHIGEKI SAKAKIBARA                                                     2-16-4, MUKOYAMA,                                                                        TAKARAZUKA-CITY                 665-0005     Japan
    SHIH-YING YAO                                                          1817 OXFORD STREET APT 8                                                                 BERKELEY           CA           94709
    Shiji G Mathew                                                         8620 Waukegan Rd.             Unit 505                                                   Morton Grove       IL           60053
                                            ACE TOWER, 1-170 SOONHWA-
    SHIN & KIM                              DONG                           CHUNG-KU, 4TH FLOOR                                                                      SEOUL                           100-712      South Korea
    SHIN & KIM                                                             CHUNG-KU, 4TH FLOOR                                                                      SEOUL                           100-712      South Korea
    Shin & Kim
    SHINDLER RAMON                                                         MICHALOWSKIEGO 4 9                                                                       KRAKOW                          31-126       Poland
    SHIPPENSBURG UNIVERSITY                 BOOKSTORE                      1871 OLD MAIN DRIVE                                                                      SHIPPENSBURG       PA           17257-2299
    SHIRA LOURIA                                                           4133 MATHEWS AVE APT 28                                                                  INDIANAPOLIS       IN           46227
    SHIRIN BRIDGES                                                         710 PORTOFINO LANE                                                                       FOSTER CITY        CA           94404
    SHIRLAND SCH COMMUNITY CONS
    DIST 134                                SHIRLAND SCHOOL                8020 NORTH STREET                                                                        SHIRLAND           IL           61079
    Shirlene Sherrill                                                      911 West Dicks Street                                                                    Lebanon            IN           46052
    Shirley A Mills                                                        15271 Sw 172 Terrace                                                                     Miami              FL           33187
    Shirley A OMasta                                                       754 Timberline Drive                                                                     Rochester Hills    MI           48309
    Shirley Ballard                                                        N465 COUNTY ROAD A                                                                       BRIGGSVILLE        WI           53920
    Shirley Ballard                                                        N 465 County Rd A                                                                        Briggsville        WI           53920-9701
    Shirley Fennessey                                                      26 Second Avenue              #2ef                                                       New York           NY           10003
    SHIRLEY GEOK-LIN LIM                                                   574 CALLE ANZUELO                                                                        SANTA BARBARA      CA           93111
    SHIRLEY GLUBOK                                                         50 EAST 72ND STREET #10D                                                                 NEW YORK           NY           10021
    SHIRLEY ISON-NEWSOME                                                   P O BOX 600517                                                                           DALLAS             TX           75360
    SHIRLEY LEWIS                                                          27 WAVERLEY AVE                                                                          NEWTON             MA           02458
    SHIRLEY M YATES                                                        11525 QUEENSBURY COURT                                                                   YUKON              OK           73099-8106
    SHIRLEY MYERS                                                          82 WILLOW STREET APT 2                                                                   BROOKLYN           NY           11201-1626
    Shirley Polycarpe                                                      5131 W. Byron                                                                            Chicago            IL           60641
    Shirley Shine                                                          101NE 19TH AV, #120B                                                                     DEERFIELD BEACH    FL           33441-4589
    Shirley Spencer                                                        2608 N Boehning Ave                                                                      Indianapolis       IN           46219
    SHIRLEY TONEY                                                          4155 STERLING LN                                                                         LIBERTY            MS           39645
    Shirley Wilson                                                         1085 GOGGIN LANE                                                                         DANVILLE           KY           40422
    SHOALS COMMUNITY THEATRE                                               P O BOX 622                                                                              FLORENCE           AL           35631
    SHOO RAYNER                                                            50 GLOUCESTER ROAD                                                                       COLEFORD GLOS                   GL16 8BW     United Kingdom
    SHOOT THE LIGHT INC                                                    P O BOX 987                                                                              HORSE SHOE         NC           28742
    SHORE JANE                                                             3143 OLIVER STREET NW                                                                    WASHINGTON         DC           20015



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                   408 of 488                                                                                                  1:26 PM
                                                      12-12171-reg            Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                             of 519
                                                                                                                          First Class Service List


                CreditorName                          CreditorNoticeName                   Address1                            Address2              Address3                City        State       Zip            Country
    SHORT THOMAS                                                            3544 EASTHAM STREET                                                                 DEARBORN            MI           48120
    Shoshana S Green                                                        401 E 80th Street                  3B                                               New York            NY           10075
    SHRED-IT AUSTIN                                                         2305 DONLEY DR STE 102                                                              AUSTIN              TX           78758-4535
    Shred-it Denver                                                         1707 E. 58th Ave                                                                    Denver              CO           80216
    SHRED-IT USA INC                        SHRED IT SAN FRANCISCO          350 HATCH DRIVE                                                                     FOSTER CITY         CA           94404
    Shrivaishnavi Nandan                                                    7701 Lindbergh Blvd                #2001                                            Philadelphia        PA           19153
    Shuman, Eric
    SHUMSKY ENTERPRISES INC                                                 PO BOX 634934                                                                       CINCINNATI          OH           45263
    SHUNK STEPHEN                                                           69320 SISTERS VIEW DRIVE                                                            SISTERS             OR           97759
    ShutterBooth                                                            9231 Aspen Creek Way                                                                Highlands Ranch     CO           80129
    SHUTTERSTOCK IMAGES LLC                                                 60 BROAD ST 30TH FLOOR                                                              NEW YORK            NY           10004
    SHUTTS & BOWEN LLP                                                      215 SOUTH MONROE ST SUITE 804                                                       TALLAHASSEE         FL           32301-1858
    Shuvonna Mooney                                                         5723 Wiebeck Ct.                   Apt C                                            Indianapolis        IN           46226
    SIAST Kelsey Campus                                                     1130 Idylwld Drive North                                                            Saskatoon           SK           S7K 3R5      Canada
    SIBERELL ANNE                                                           1041 LA CUESTA ROAD                                                                 HILLSBOROUGH        CA           94010
                                            DBA MOTION PICTURE & TV PHOTO
    SID AVERY & ASSOCIATES                  ARCHIVE                         16735 SATICOY STREET #109                                                           VAN NUYS            CA           91406
    SID FLEISCHMAN                                                          305 TENTH STREET                                                                    SANTA MONI          CA           90402
    SID S GLASSNER                                                          ONE JADY HILL AVE #J-14                                                             EXETER              NH           03833
    Sid Sharairi                                                            138 Cherrywood Lane                                                                 Romeoville          IL           60446
    SIDDALS MARY MCKENNA                                                    4170 NEHRING AVE                                                                    PRINCE GEORGE       BC           V2N 3G1      Canada
    SIDIM XXII                              UNIVERSIDAD DE PR EN PONCE      PO BOX 7186                                                                         PONCE               PR           00732
    SIDJAKOV DIANE                                                          114 SAN CARLOS                                                                      SAUSALITO           CA           94965
    SIDLEY AUSTIN LLP                                                       787 SEVENTH AVENUE                                                                  NEW YORK            NY           10019
    SIDMAN JOYCE                                                            310 HOLLANDER RD                                                                    WAYZATA             MN           55391
    Sidney A Oper                                                           1022 COLUMBIA PLACE                                                                 DAVIS               CA           95616
    Sidney Allen-Simpson                                                    542 Michigan Avenue                Unit 3                                           Evanston            IL           60202
    Sidney E Smith                                                          1825 Austell Cir.                                                                   Marietta            GA           30060
    SIDNEY HARRIS                                                           BOX 1980 FEDERAL STATION                                                            NEW HAVEN           CT           06521
    SIDNEY JANEY                            DBA SJ DESIGN                   151 TOWNSEND STREET                                                                 BOSTON              MA           02121
    Sidney Oper                                                             1022 Columbia Place                                                                 Davis               CA           95616
    SIDNEY TABAK                                                            13 GARNOCK AVENUE                                                                   TORONTO ONTARIO     ON           M4K 1M1      Canada
    SIENNA DESANTIS                                                         15 COPLEY STREET                                                                    BOSTON              MA           02119

    SIENNE M PATCH                                                          200 COLONIAL HOMES DRIVE # 1104                                                     ATLANTA             GA           30309
    Sienne Patch
    SIERRA CLUB BOOKS                                                       85 SECOND STREET                                                                    SAN FRANCISCO       CA           94105
    SIERRA CLUB BOOKS                                                       85 SECOND STREET                                                                    SAN FRANCISCO       CA           94105-3441
    SIERRA JUDY                                                             1020 BARBER DRIVE                                                                   EUGENE              OR           97405
    SIERRA OAKS PUBLISHING
    COMPANY                                 P.O. BOX 736                    1370 SIERRA OAKS COURT                                                              NEWCASTLE           CA           95658
    SIERRA SPRINGS                                                          PO BOX 660579                                                                       DALLAS              TX           75266
    Sierra Vista Public Schools                                             3555 East Fry Blvd                                                                  Sierra Vista        AZ           85635
    SIETE VACAS - GRUPO EDITORIAL
    NORMA                                                                   SAN JOSE 831 - C1076AAQ            ATTN ROMINA CARLA RIVETTI                        BUENOS AIRES                                  Argentina
                                                                                                                                                                RESEARCH TRIANGLE
    SIGMA XI                                DBA AMERICAN SCIENTIST          3106 E NC HWY 54 - P O BOX 13975                                                    PARK                NC           27709
    Signa M Duffell                                                         245 W Johnson St                   205                                              Palatine            IL           60067
    SIGNATURE CONSULTANTS                                                   PO BOX 536819                                                                       ATLANTA             GA           30353
    SIGNS AND WONDERS STORE LLC                                             870 W BROWNING RD                                                                   BELLMAWR            NJ           08031
    SIKES PAPER COMPANY                                                     P O BOX 43803                                                                       ATLANTA             GA           30336
    SILA MEMBERSHIP SERVICES                                                PO BOX 68203                                                                        INDIANAPOLIS        IN           46268-0203
    SILICON VALLEY BANK                                                     3003 TASMAN DRIVE                                                                   SANTA CLARA         CA           95054
    SILICON VALLEY SYSTECH INC                                              P O BOX 54957                      C/O SILICON VALLEY BANK                          SANTA CLARA         CA           95054
    SILL JOHN                                                               64 CAMP ROAD                                                                        FRANKLIN            NC           28734
    SILVA AURELIA                                                           319 BLUFF KNOLL                                                                     SAN ANTONIO         TX           78216
                                            DBA INTEGRA PUBLISHING
    SILVER EDITIONS INC                     SERVICES INC                    133 WEST 19 STREEST                                                                 NEW YORK            NY           10011-4117
    SILVER MOON PRESS                                                       400 EAST 85TH ST #15K                                                               NEW YORK            NY           10028
    SILVER NATHAN                                                           19 REGENCY STREET                                                                   LONDON                           SW1P 4BY     United Kingdom
    SILVER POINT CAPITAL
    SILVER ROCK FINANCIAL LLC
                                            SILVER TREE AUDIO-VIDEO
    SILVERTREE HOLDINGS INC                 PRODUCTIONS                     P O BOX 2418                                                                        PFLUGERVILLE        TX           78691-2418
    SILVERWOOD MARGARET                                                     6 KIWI STREET                                                                       WANGANUI EAST                                 New Zealand
    Silvia Angelov                                                          433 Dogwood Terrace                                                                 Buffalo Grove       IL           60089
    Silvia Centimano                                                        352 Brittany Court                 F                                                Geneva              IL           60134
    SILVIA GOMES                                                            8001 26TH AVE NW                                                                    SEATTLE             WA           98117-4446
    Silvia Villalta                                                         1831 N. Lawndale                                                                    Chicago             IL           60647
    Silvio Souza                                                            3900 N. Lake Shore Drive           Apt. 21e                                         Chicago             IL           60613



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                         409 of 488                                                                                       1:26 PM
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                                                                                                                        of 519
                                                                                                                        First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                            Address2                         Address3                  City         State       Zip              Country
    SIMCOCKS ADVOCATES                                                      RIDGEWAY HOUSE, RIDGEWAY ST                                                                  DOUGLAS                             IM99 1PY     Isle Of Man
    Simeon Sanders                                                          9729 Biggs Road                                                                              Middle River           MD           21220
    SIMMONS & SIMMONS                       CITY POINT                      ONE ROPEMAKER ST                                                                             LONDON                              EC2Y 9SS     United Kingdom
    SIMMONS & SIMMONS                                                       ONE ROPEMAKER ST                                                                             LONDON                              EC2Y 9SS     United Kingdom
    Simmons & Simmons
    SIMMONS COLLEGE                                                         409 COMMONWEATH AVE                                                                          BOSTON                 MA           02215
    SIMMONS MARIE                                                           5316 ROSALIND AVE                                                                            RICHMOND               CA           94805
    SIMMS LAURA                                                             814 BROADWAY # 3                                                                             NEW YORK               NY           10003
    SIMMS TABACK & G K TABACK
    LIVING TRUST                            ATTN GAIL TABACK TRUSTEE        40 CAMINO ALTO APT 12113                                                                     MILL VALLEY            CA           94941-2960
                                            YESSENIA SANTOS - PERMISSIONS   1230 AVENUE OF THE AMERICAS
    SIMON & SCHUSTER                        DEPARTME                        10TH FLOOR                                                                                   NEW YORK               NY           10020
    SIMON & SCHUSTER                        AUDIO                           1230 AVENUE OF THE AMERICAS                                                                  NEW YORK               NY           10020
                                                                            1230 AVENUE OF THE AMERICAS
    SIMON & SCHUSTER                                                        10TH FLOOR                                                                                   NEW YORK               NY           10020
    SIMON & SCHUSTER                                                        1230 AVENUE OF THE AMERICAS                                                                  NEW YORK               NY           10020
    SIMON & SCHUSTER                                                        P O BOX 70660                                                                                CHICAGO                IL           60673-0660
    SIMON & SCHUSTER CHILDRENS
    PUBLISH                                 IV                              1230 AVENUE OF THE AMERICAS                                                                  NEW YORK               NY           10020
    SIMON & SCHUSTER INC                    SUBSIDIARY RIGHTS               PO BOX 70598                                                                                 CHICAGO                IL           60673
    SIMON & SCHUSTER INC                    CHILDRENS PUBLISHING DIVISION   1639 ROUTE 10 E 2ND FL STE 200                                                               PARSIPPANY             NJ           07054
    SIMON & SCHUSTER INC                                                    1230 AVENUE OF THE AMERICAS                                                                  NEW YORK               NY           10020
    SIMON & SCHUSTER INC                                                    1639 ROUTE 10 E 2ND FL STE 200                                                               PARSIPPANY             NJ           07054
    SIMON & SCHUSTER INC                                                    P O BOX 70598                                                                                CHICAGO                IL           60673-0598
    SIMON & SCHUSTER INC                    ATTN ROYALTY DEPARTMENT         1639 ROUTE 10 E 2ND FL STE 200                                                               PARSIPPANY             NJ           07054
    SIMON AND SCHUSTER BOOKS                                                PO BOX 70598                      SIMON AND SCHUSTER INC               SUBSIDIARY RIGHTS     CHICAGO                IL           60673-0598

    SIMON AND SCHUSTER INC                                                  1230 AVE OF THE AMERICAS 10TH FL                                                             NEW YORK               NY           10020
    SIMON AND SCHUSTER INC                                                  PO BOX 70598                     SUBSIDIARY RIGHTS                                           CHICAGO                IL           60673-0598
    SIMON DAVID                                                             1414 WILLIAM STREET                                                                          BALTIMORE              MD           21230
    SIMON FORGE                                                             4 CHILTERN CLOSE                                                       PRINCES RISBOROUGH    Buckinghamshire                     HP270EA      United Kingdom
    SIMON KOY                                                               KESSELBERGSTRASSE 4                                                                          MUENCHEN                            81539        Germany
    SIMON MARTIN                                                            1573 CROFTON PARKWAY                                                                         CROFTON                MD           21114

    SIMON ORTIZ                                                             4901 S CALLE LOS CERROS DR #129                                                              TEMPE                  AZ           85282

    SIMON PAUL                                                              4429 MAIL CODE PUBLIC POLICY #C                                                              CARBONDALE             IL           62901
    Simone D Phillips                                                       2850 W Jefferson                                                                             Dallas                 TX           75211
    SIMONE PAYMENT                                                          8 B STREET                                                                                   READING                MA           01867
    SIMPLEXGRINNELL LP                                                      DEPT CH 10320                                                                                PALATINE               IL           60055-0320
    Simply Delicious Catering               Jill Deishl                     4516 NE 141 Court                                                                            Vancouver              WA           98682
    SIMPLY SELF STORAGE                                                     450 AIRPORT ROAD                  BERT CROSSLAND UNIT 735                                    ELGIN                  IL           60123
    SIMPSON COUNTY SCHOOL                                                   111 EDUCATION LANE                                                                           MENDENHALL             MS           39114-3598
    SIMPSON SALES SERVICES
    SOLUTIONS                                                               3107 WEST 36TH AVE                                                                           PINE BLUFF             AR           71603
    Simranjit Aujla                                                         30-74 32nd Street                 Apt. 21                              Astoria               Queens                 NY           11102
    SINCLAIR BUILDING PARTNERS LP           FROST NATIONAL BANK             512 MAIN STREET                                                                              FT WORTH               TX           76102
    Singapore Math.com
    SINGER MARILYN                                                          42 BERKELEY PL                                                                               BROOKLYN               NY           11217
    SINGLE SOURCE GROUP                                                     81 TECHNOLOGY WAY                                                                            NASHUA                 NH           03060
    Single Source Office Solutions                                          7367-1A South Revere Parkway                                                                 Centennial             CO           80112

    SINO ECONOMIC BOOKS I & E CORP                                          NO 3 BAIWANZHUANG BEIJIE                                                                     BEIJING                             100037       China
    SIOUX FALLS CATHOLIC SCHOOLS HOLY SPIRIT SCHOOL                         4309 S BAHNSON AVE                                                                           SIOUX FALLS            SD           57103
    SIPA PRESS                                                              307 7TH AVENUE, STE 807                                                                      NEW YORK               NY           10001-6066

    SIPIMEX LTDA                                                            LA CONCEPCION 65 OF.304-OF. 304                                                              PRIVIDENCIA SANTIAGO                           Chile
    Sir Wilfrid Laurler School Bd           Heather Halman/Ed. Svcs         239 Montee Lesage                                                                            Rosemare               QC           QC J7-A4Y9 Canada
    SIRIUS FIBER INC                                                        1933 CLIFF DRIVE STE 28                                                                      SANTA BARBARA          CA           93109
    Sirius Onsite Support                                                   2625 S. Crystal Street                                                                       Aurora                 CO           80014
    SIS OF PROV ST MARY OF                  THE WOODS J M OSTERHOLT         3415 ST MARYS RD                                                                             W TERRE HAUTE          IN           47885-9235
    SISTERS OF MERCY                                                        10024 SOUTH CENTRAL PARK          PROVIDENCE CENTER                                          CHICAGO                IL           60655-3132
    SISTERS OF OUR LADY OF MOUNT
    CARMEL                                  DBA CARMELITE MONASTERY         1101 N RIVER ROAD                                                                            DES PLAINES            IL           60016
    SISTERS OF THE VISITATION                                               2950 KAUFMANN AVE                                                                            DUBUQUE                IA           52001
    SITE DESIGN GROUP LTD                                                   888 S MICHIGAN AVE                                                                           CHICAGO                IL           60605
    SITECORE USA INC                                                        591 REDWOOD HWY BLDG 4000                                                                    MILL VALLEY            CA           94941
    Sivakumar Balasubramanian                                               30 Franklin St                    Apt 221                                                    Malden                 MA           02148
    SIVERTSON LIZ                                                           P O BOX 724                                                                                  GRAND MARAIS           MN           55604




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       410 of 488                                                                                                      1:26 PM
                                                       12-12171-reg                     Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                        Pg Creditor
                                                                                                                            418 Matrix
                                                                                                                                    of 519
                                                                                                                              First Class Service List


               CreditorName                           CreditorNoticeName                           Address1                         Address2             Address3              City           State       Zip             Country
    SIX COUNTY EMPLOYMENT
    ALLIANCE                                MICHIGAN WORKS                           2950 COLLEGE AVENUE                                                            ESCANABA            MI            49829
    Six Red Marbles                         Katie Turcot                             P.O. Box 37038                                                                 Baltimore           MD            21208
    SIX RED MARBLES                                                                  224 SCHILLING CIRCLE STE 250                                                   HUNT VALLEY         MD            21031
    SIX RED MARBLES                                                                  P O BOX 37038                                                                  BALTIMORE           MD            21297-3038
    SIX RED MARBLES LLC                                                              TEN CITY SQUARE 3RD FLOOR                                                      BOSTON              MA            02129
    SIXTO J FIGUEROA COLON                                                           P O BOX 1247                                                                   PONCE               PR            00733
    SIZER NANCY F                                                                    53 SHEEHAN RD                                                                  HARVARD             MA            01451
    SIZER THEODORE                                                                   53 SHEEHAN ROAD                                                                HARVARD             MA            01451
    Skadden Arps                            RE Robert Lewine, Plaintiff              Russell Jackson, Esq.           Four Times Square                              New York            NY            10036
    Skadden Arps
    Skadden Arps                            RE Alaska Stock, Plaintiff               Russell Jackson, Esq.           Four Times Square                              New York            NY            10036
    Skadden Arps                            RE Harrison Shull, Plaintiff             Russell Jackson, Esq.           Four Times Square                              New York            NY            10036
    Skadden Arps                            RE Lester Lefkowitz, Plaintiff           Russell Jackson, Esq.           Four Times Square                              New York            NY            10036

    Skadden Arps                            RE Muench Photography, Inc., Plaintiff   Russell Jackson, Esq.           Four Times Square                              New York            NY            10036
    SKADDEN ARPS SLATE MEAGHER              & FLOM LLP                               P.O. BOX 1764                                                                  WHITE PLAINS        NY            10602
    SKEANS SHARON                                                                    3833 NORTHSHORE DR                                                             MONTGOMERY          TX            77356
    SKEELS CHRISTIAN SCHOOL                                                          3956 N M-18                                                                    GLADWIN             MI            48624
    SKIDMORE COLLGE                                                                  CASE COLLEGE CENTER             SKIDMORE SHOP                                  SARATOGA SPRINGS    NY            12866
    Skillpath Seminars                                                               PO Box 804441                                                                  Kansas City         MO            64180-4441
    SKINNER INC                                                                      63 PARK PLAZA                                                                  BOSTON              MA            02116
    SKIPPING STONES                                                                  P O BOX 3939                                                                   EUGENE              OR            97403
    SKY TELEVISION INC                                                               9033 DELLWOOD DRIVE                                                            VIENNA              VA            22180

    SKYCRAPER PICTURE COLLECTION                                                     FLORIJNRUWE 68E                                                                MAASTRICHT                        6218 CG      Netherlands
    SKYHORSE PUBLISHING          ARCADE PUBLISHING                                   307 WEST 36TH ST 11TH FLOOR                                                    NEW YORK            NY            10018
    SKYLAB ASTRONOMY SOFTWARE                                                        2/16A MINMI ROAD                                                               EDGEWORTH           NSW           02286        Australia
    SKYQUEST INC                                                                     10662 LORA STREET                                                              TEMPLE CITY         CA            91780
                                 DBA PLATINUM FUNDING SERVICES
    SKYTEL                       LLC                                                 PO BOX 70849                                                                   CHARLOTTE           NC            28272
    SLASHSUPPORT INC                                                                 3031 TISCH WAY STE 300                                                         SAN JOSE            CA            95128
    SLATE SYSTEMS INC                                                                5961 PALISADE AVENUE # 707                                                     BRONX               NY            10471
    Slattery, Domhnal
    SLOANE INTERCULTURAL                                                             5 BURGESS STREET                                                               FALMOUTH            ME            04105
    SM DE EDICIONES S A DE C V                                                       MAGDALENA 211                   ATTN PATRICIA LOPEZ ZEPEDA                     COL DEL VALLE                     03100        Mexico
    SMALL PLANET COMMUNICATIONS
    INC                                                                              15 UNION STREET                                                                LAWRENCE            MA            01840-1823
    SMALL SCHOOL DISTRICTS ASSN                                                      455 CAPITOL MALL SUITE 315                                                     SACRAMENTO          CA            95814
    SMART INTERPRETING SERVICES  DBA PROFESSIONAL INTERPRETING
    INC                          ENTERPRISE                                          6510 W LAYTON AVENUE STE 2                                                     GREENFIELD          WI            53220
    SMARTBRIEF INC                                                                   P O BOX 824098                                                                 PHILADELPHIA        PA            19182-4098
    SmartBrief, Inc.                                                                 601 Pennsylvania Ave. NW        North Building, Suite 250                      Washington          DC            20004
                                 SUNBURST TECHNOLOGY/ EDUC
    SMARTERVILLE EDUCATIONAL LLC RESOURCES                                           1550 EXECUTIVE DRIVE                                                           ELGIN               IL            60123
    SMARTSOURCE RENTALS                                                              PO BOX 289                                                                     LAUREL              NY            11948
    SMG ONTARIO CONVENTION
    CENTER                                                                           2000 E CONVENTION CENTER WAY                                                   ONTARIO             CA            91764
                                 DBA PUERTO RICO CONVENTION
    SMG PR II LP                 CENTER                                              P O BOX 11188                                                                  SAN JUAN            PR            00910-1188
    SMG SECURITY SYSTEMS INC                                                         120 KING STREET                                                                ELK GROVE VILLAGE   IL            60007
    SMILEY WILLIAM J                                                                 747 PRONTO DRIVE                                                               SAN JOSE            CA            95123
    Smith & Williamson                                                               25 Moorgate                                                                    London                            ECR 6AY      UK
    SMITH AND KRAUS INC                                                              P O BOX 127                                                                    LYME                NH            03768
    SMITH CATHARINE BOWMAN                                                           16 BOUGHTON AVENUE                                                             PITTSFORD           NY            14534
                                                                                     1150 CONNECTICUT AVE NW STE
    SMITH DAWSON & ANDREWS                                                           1025                                                                           WASHIGNTON          DC            20036
    SMITH ELEMENTARY SCHOOL                                                          1298 MCKINLEY                                                                  PLYMOUTH            MI            48170

    SMITH FAMILY TRUST DTD 6/25/96                                                   9412 SOUTH COLLEGE AVE APT 314                                                 TULSA               OK            74137
    SMITH LYLE                                                                       4507 RIDGEPINE DR                                                              EVANS               GA            30809
    SMITH MAGGIE                                                                     2224 33RD AVENUE S                                                             SEATTLE             WA            98144
    SMITH MARJORIE H                                                                 437 E 10TH AVENUE                                                              MESA                AZ            85204
    SMITH MATT                                                                       905B MASSACHUSETTS AVENUE                                                      LEXINGTON           MA            02420
    Smith Richardson                                                                 10101 W Parmer Ln              Apt 1328                                        Austin              TX            78717
    SMITH SKOLNIK LIT MGMT                                                           963 BELVIDERE                  ATT NIKKI SMITH                                 PLAINFIELD          NJ            07060
    SMITH SKOLNIK LIT MGMT                                                           963 BELVIDERE AVENUE                                                           PLAINFIELD          NJ            07060
    SMITH STATION ELEMENTARY                                                         7320 SMITH STATION ROAD                                                        FREDERICKSBURG      VA            22407
    SMITH TERRY M                                                                    4141 MATTOS DRIVE                                                              FREMONT             CA            94536
    Smith, Wayne



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                              411 of 488                                                                                       1:26 PM
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                                                                                                                     First Class Service List


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    SMITH/SKOLNIK LITERARY
    MANAGEMENT                                                              303 WALNUT STREET                                                              WESTFIELD         NJ              07090
    SMITHERMAN GENEVA                       C/O MICHIGAN STATE UNIVERSITY   221 MORRILL HALL                                                               EAST LANSING      MI              48824
                                            NATL MUSEUM OF AMERICAN HIS
    SMITHSONIAN INSTITION                   BEHRING CTR                     14TH ST & CONSTITUTIN AVE NW     MRC 609 P O BOX 37012                         WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                 PO BOX 631965                   OFFICE OF PRODUCT DEV & LIC                                                    BALTIMORE         MD              21263-1965
                                            NATNL MUSEUM OF NATURAL
    SMITHSONIAN INSTITUTION                 HISTORY                         PO BOX 37012 RM 375 -MRC 110                                                   WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                 NATL AIR & SPACE MUSEUM         P O BOX 37012 RM 3100 MRC 322                                                  WASHINGTON        DC              20013-7012
                                            NATIONAL MUSEUM OF AMERICAN
    SMITHSONIAN INSTITUTION                 INDIAN                          4220 SILVER HILL ROAD                                                          SUITLAND          MD              20746-2863
                                            NATIONAL MUSEUM OF AMERICAN
    SMITHSONIAN INSTITUTION                 HISTORY                         PO BOX 37012 MRC 615                                                           WASHINGTON        DC              20013-7012

    SMITHSONIAN INSTITUTION                 MILITARY HISTORY AND DIPLOMACY PO BOX 37012 NMAH 4012 MRC 620                                                  WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                 DIVISION OF WORK AND INDUSTRY PO BOX 37012 MRC 629                                                             WASHINGTON        DC              20013
    SMITHSONIAN INSTITUTION                 ARCHIVES CENTER                P O BOX 37012 STE 1100 MRC 601                                                  WASHINGTON        DC              20013
    SMITHSONIAN INSTITUTION                                                1000 JEFFERSON DRIVE SW                                                         WASHINGTON        DC              20560
    SMITHSONIAN INSTITUTION                                                4220 SILVER HILL ROAD                                                           SUITLAND          MD              20746-2863
    SMITHSONIAN INSTITUTION                                                OFFICE OF PRODUCT DEV & LIC                                                     BALTIMORE         MD              21263-1965
    SMITHSONIAN INSTITUTION                                                PO BOX 37012 MRC 615                                                            WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                                                PO BOX 37012 MRC 629                                                            WASHINGTON        DC              20013
    SMITHSONIAN INSTITUTION                                                PO BOX 37012 NMAH 4012 MRC 620                                                  WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                                                P O BOX 37012 RM 3100 MRC 322                                                   WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                                                PO BOX 37012 RM 375 -MRC 110                                                    WASHINGTON        DC              20013-7012
    SMITHSONIAN INSTITUTION                                                P O BOX 37012 STE 1100 MRC 601                                                  WASHINGTON        DC              20013
                                            ANTHROPOLOGICAL ARCHIVES
    SMITHSONIAN INSTITUTION - NTNL          MUSEUM CTR                     4210 SILVER HILL ROAD                                                           SUITLAND          MD              20746

    SMOKEY MOUNTAIN KNIFE WORKS             2320 WINFIELD DUNN PKWY         PO BOX 4430                                                                    SEVIERVILLE       TN              37864
    SMOKEY ROW ELEMENTARY                                                   900 WEST 136TH STREET                                                          CARMEL            IN              46032
    SMS BOOK TOURS LLC                                                      6836 NE STANTON STREET                                                         PORTLAND          OR              97213
    SMS SYSTEMS MAINTENANCE
    SERVICES INC                                                            14416 COLLECTIONS CENTER DR                                                    CHICAGO           IL              60693
    SMURFIT-STONE                                                           3101 STATE ST                                                                  COLUMBUS          IN              47201
    SMURFIT-STONE CONTAINER
    ENTERPRISES                                                             14079 COLLECTIONS CENTER DRIVE                                                 CHICAGO           IL              60693
    SMURFIT-STONE CONTAINER
    ENTERPRISES                                                             PO BOX 18265                                                                   ST LOUIS          MO              63150
    Smyth, Ciara
    SNCC LEGACY PROJECT INC                                                 1716 VERBENA STREET NW           C/O COURTLAND COX                             WASHINGTON        DC              20012
    SNEED B COLLARD III                                                     3119 CUMMINS WAY                                                               MISSOULA          MT              59802
    SNEED COLLARD III                                                       3119 CUMMINS WAY                                                               MISSOULA          MT              59802
    Snelling Staffing Services                                              7730 E Belleview Ave             Suite AG-4                                    Englewood         CO              80111

    SNOWBOUND SOFTWARE CORP                                                 309 WAVERLEY OAKS ROAD STE 401                                                 WALTHAM           MA              02452
    SNP/SIRIVATANA CO LTD                                                   149,179/1-10 ST.LOUIS SQ BLDG                                                  SATHORN BANGKOK                   10120        Thailand
    SNR Denton
    SNR DENTON UK LLP                                                       ONE FLEET PLACE                                                                LONDON                            EC4M 7WS     United Kingdom
    SNV CATESOL                                                             772 HOLLAND HEIGHTS AVE          ATTN JODI RUBACK                              LAS VEGAS         NV              89123
    SNYDER BARBARA                                                          6764 REID DRIVE                                                                PARMA HEIGHTS     OH              44130
    SNYDER DIANNE                                                           6641 WAKEFIELD DR APT 309                                                      ALEXANDRIA        VA              22307
    SO ILLINOIS BOOK & SUPPLY                                               710 ILLINOIS AVE                                                               CARBONDALE        IL              62901
    SOBEL WEBER ASSOCIATES                                                  146 EAST 19TH STREET             NAT SOBEL                                     NEW YORK          NY              10003
    SOBEL WEBER ASSOCIATES                                                  146 EAST 19TH ST                                                               NEW YORK          NY              10003
    SOBEL WEBER ASSOCIATES INC              ATTN NAT SOBEL                  146 EAST 19TH STREET                                                           NEW YORK          NY              10003
    SOBOTKA STEPHEN EXECUTOR                EST OF FRANCES SOBOTKA          2725 39TH STREET NW                                                            WASHINGTON        DC              20007
    SOCAL TURNAROUND PARTNERS
    LLC                                     DBA PROMAX SYSTEMS              18241 MCDURMOTT WEST SUITE A                                                   IRVINE            CA              92614
    SOCIETE ANONYME DU MERCURE
    DE FRANCE                                                               26 RUE DE CONDE                                                                AZLE-DE-FRANCE    Paris           75006        France
    SOCIETE GENERALE DE PRESSE ET
    D EDITION                               LORIENT LE JOUR BLDG            DAMASCUS ROAD HAZMIEH                                                          BAABOLA                                        Lebanon
    SOCIETY FOR DEVELOPMENTAL
    EDUCATION                               ATTN EXHIBIT CORDINATOR         10 SHARON ROAD                                                                 PETERSBOROUGH     NH              03458
    Society for Human Resource              Management                      PO Box 79482                                                                   Baltimore         MD              21298-8614
    SOCIETY FOR HUMAN RESOURCE
    MNGMNT                                                                  P O BOX 791139                                                                 BALTIMORE         MD              21279
    SOCIETY FOR INTERNATIONAL                                               1875 CONNECTICUT AVE NW STE
    DEVELOPMENT                                                             720                                                                            WASHINGTON        DC              20009



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                    412 of 488                                                                                          1:26 PM
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                                                                                                                           of 519
                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName                  Address1                         Address2                        Address3               City        State       Zip               Country
    SOCIETY FOR MARKETING
    ADVANCES                                ILLINOIS STATE UNIVERSITY       CAMPUS BOX 5590                                                                            NORMAL            IL           61790-5590
    SOCIETY FOR NEUROSCIENCE                                                112114TH STREET NW STE 1010                                                                WASHINGTON        DC           20005
    SOCIETY FOR SCIENCE AND THE
    PUBLIC                                  SCIENCE NEWS                    1719 N STREET NW                                                                           WASHINGTON        DC           20036-2801
    SOCIETY FOR THE STUDY OF THE
    MULTI-                                  ETHNIC LIT OF THE UNITED STATES 215 GLENBROOK ROAD                                                                         STORRS            CT           06269

    SOCIETY OF AMERICAN HISTORIANS COLUMBIA UNIVERSITY                      FAYERWEATHER MC 2538                                                                       NEW YORK          NY           10027
    SOCIETY OF AUTHORS                                                      84 DRAYTON GARDENS                                                                         LONDON                         SW10 9SB     United Kingdom
    SOCIETY OF AUTHORS                                                      84 DRAYTON GARDENS                                                                         LONDON                         SW10 9SD     United Kingdom

    SOCIETY OF AUTHORS ZAIKS                                                HIPOTECZNA STREET, P O BOX P-16                                                            WARSAW                         00-092       Poland
    SOCIETY OF ILLUSTRATORS                 ATTN ORIGINAL ART               128 E 63RD STREET                                                                          NEW YORK          NY           10065
                                            MICHAEL J BABCOCK JR -
    SOCIETY OF PRINTERS                     TREASURER                       18 KENTON ROAD                                                                             JAMAICA PLAIN     MA           02130
    SOCORRO INDEPENDENT SCHOOL                                                                                ATTN JENNIFER DAVILA/FERNIE
    DISTRICT                                                                12440 ROJAS                       VASQUEZ                                                  EL PASO           TX           79928

    SODEXHO HOLLINS UNIV STORE              HOLLINS BOOKSHOP CO SODEXHO     PO BOX 9676                                                                                ROANOKE           VA           24020
    SODEXHO MARRIOTT SERVICES                                               200 CLARENDON ST                                                                           BOSTON            MA           02117
    SODEXHO PC BOOKSTORE                                                    112 MUSGROVE STREET                                                                        CLINTON           SC           29325
    Sodexo Catering                         Cynthia Farabaugh               1 Normal Ave                      Conference Center at MSU                                 Montclair         NJ           07043
    SODEXO INC                                                              P O BOX 536922                                                                             ATLANTA           GA           30353-6922
    SOENTPIET CHRIS K                                                       29-12A 164TH STREET                                                                        FLUSHING          NY           11358
    Sofia Sanchez                                                           150 Cambridge Street              Apt. A212                                                Cambridge         MA           02141
    SOFTWARE AG USA INC                                                     P O BOX 910600                                                                             DALLAS            TX           75391-0600
    SOFTWARE EXPRESS INC                                                    4128-A SOUTH BLVD                                                                          CHARLOTTE         NC           28209

    SOFTWARE HOUSE INTERNATIONAL                                            PO BOX 8500-41155                                                                          PHILADELPHIA      PA           19178
    SOFTWARE HOUSE INTERNATIONAL
    INC                                                                     P O BOX 8500-41155                                                                         PHILADELPHIA      PA           19178
    SOFTWARE MACKIEV COMPANY                ATTN JACK MINSKY                30-31 UNION WHARF                                                                          BOSTON            MA           02109
    SOFTWARE PUBLISHERS                     SOFTWARE AND INFOMATION
    ASSOCIATION                             INDUSTRY ASSN                   1090 VERMONT AVE NW 6TH FL                                                                 WASHINGTON        DC           20005
    Software Wholesale Int.                                                 PO Box 2297                                                                                Longmont          CO           80502
    SOHO PRESS INC                                                          853 BROADWAY                                                                               NEW YORK          NY           10003
    SOKO PUBLICATIONS LTD                                                   8 ASHBURNHAM ROAD                                                    EASTBOURNE E SUSSEX   East Sussex                    BN21 2HU     United Kingdom
    SOLANA BEACH SCHOOL DISTRICT                                            309 N RIOS AVE                                                                             SOLANA BEACH      CA           92075
    SOLARWINDS INC                          SOLARWINDS WORLDWIDE LLC        PO BOX 730720                                                                              DALLAS            TX           75373
    SOLEDAD VENEGAS OJEDA                   AVENIDA COLON 6760 , DEPTO 20   LOS CONDES                                                                                 SANTIAGO                                    Chile
    SOLOMON PAGE GROUP LLC                                                  P O BOX 768                                                                                MIDTOWN STATION   NY           10018
    Solucian Networking                                                     7451 East Ponderosa Circle                                                                 Parker            CO           80138-8624
    Solution Tree                                                           555 N. Morton Street                                                                       Bloomington       IN           47404
    Solution Tree Education Canada                                          34232 Jasper Ave                                                                           Mission           BC           V2V 6PS      Canada
    SOLUTIONS4SURE.COM                      DBA TECH DEPOT                  P O BOX 33074                                                                              HARTFORD          CT           06150-3074
    SOMERS CENTRAL SCHOOL
    DISTRICT                                                                P O BOX 620                                                                                LINCOLNDALE       NY           10540
    SOMERTON SCHOOL DISTRICT 11                                             PO BOX 3200                                                                                SOMERTON          AZ           85350-3200
    Sona Revette                                                            61 Union Street                                                                            Hamilton          MA           01982
    SONAL SHRIKANT DESAI
    BLUMENTHAL                                                              6416 VIA CORRETO DRIVE                                                                     AUSTIN            TX           78749
    SONDRA PERL                                                             5605 PALISADE AVE                                                                          RIVERDALE         NY           10471
    Soney Mejias                                                            2120 Kirbywood N Tr                                                                        Grand Prairie     TX           75052
    SONGS MUSIC, INC.                                                       755 NEW YORK AVENUE                                                                        HUNTINGDON        NY           11743
    SONGS OF PEER LTD                                                       901 W ALAMEDA AVENUE STE 108                                                               BURBANK           CA           91506
    SONIA C HODSON                                                          PO BOX 208                        66 COUNTY ROAD 159                                       ABIQUIU           NM           87510-0208
                                            CONDOMINIO PARQUE ARCOIRIS
    SONIA E CRUZ PEREZ                      227                             CALLE 2 APARTAMENTO 109                                                                    TRUJILLO ALTO     PR           00976
    Sonia E Wilson                                                          1354 W Bryn Mawr Avenue           Apt G                                                    Chicago           IL           60660
    Sonia Edelman                                                           907 Greenridge Rd.                                                                         Buffalo Grove     IL           60089
    SONIA I GONZALEZ RIVERA                                                 PO BOX 579                                                                                 CIALES            PR           00638
    SONIA JA GUADALUPE CASTRO                                               P O BOX 1385                                                                               CAROLINA          PR           00986
    SONIA LEVITIN                                                           10178 BAYWOOD COURT                                                                        LOS ANGELES       CA           90077
    SONIA RUBERT DIAZ                                                       12034 SAFFRON CT                                                                           ORLANDO           FL           32837
    Sonia Vargas                                                            6609 Datura Dr.                                                                            Orlando           FL           32809
    SONIA WHITE SOLTERO                                                     1751 WEST GRANVILLE AVENUE                                                                 CHICAGO           IL           60660
    SONIC MEDIA INC                                                         PO BOX 940061                                                                              PLANO             TX           75094
    SONITROL OF INDIANAPOLIS INC                                            219 EAST ST JOSEPH STREET                                                                  INDIANAPOLIS      IN           46202-3345
    Sonja Chapman                                                           27 Dow Lane                                                                                Rye               NH           03870



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                     413 of 488                                                                                                  1:26 PM
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                                                                                                                         of 519
                                                                                                                  First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                       Address2              Address3              City        State       Zip            Country
    SONJA R EVANS                                                           PO BOX 186                                                                  UTICA             MS           39175
    SONJA WELDON                                                            10 STILES TERRACE                                                           NEWTON            MA           02459
    SONOMA COUNTY OFFICE OF
    EDUCATION                                                               5340 SKYLANE BLVD                                                           SANTA ROSA        CA           95403
    SONY ATV MUSIC PUBLISHING LLC                                           8 MUSIC SQUARE WEST            ATTN LACEY R CHEMSAK                         NASHVILLE         TN           37203
    SONY PICTURES STUDIOS GROUP                                             FILE # 54715                                                                LOS ANGELES       CA           90074
    SONYA PERRICONE                                                         11 CHAPPELLWOOD RD                                                          FRAMINGHAM        MA           01701
    SONYA WHITAKER                                                          205 RED OAK COURT WEST                                                      CHICAGO           IL           60185
    Soojinn Choi                                                            12912 Water Mill Cove                                                       Austin            TX           78729
    SOPHIA BICKHAM                                                          19 ROY SMITH RD                                                             FOXWORTH          MS           39483
    SOPHIA SMITH COLLECTION                 SMITH COLLEGE                   NEILSON LIBRARY                                                             NORTHAMPTON       MA           01063
    SOPHIAS                                                                 10 MALIN RD SUITE F                                                         MALVERN           PA           19355
    SOPRIS WEST                                                             4093 SPECIALITY PLACE          ATTN JILLIAN STANKO                          LONGMONT          CO           80504
    SOTHEBYS INC                                                            34-35 NEW BOND STREET                                                       LONDON                         W1A 2AA      United Kingdom
    SOTIS BUSINESS EQUIPMENT LTD                                            52C NORTH MAIN STREET                                                       MARLBORO          NJ           07746
    SOUDER BETANCES AND
    ASSOCIATES INC                                                          5448 N KIMBALL AVENUE                                                       CHICAGO           IL           60625
    SOUHEGAN SCHOOL DISTRICT                                                P O BOX 849                                                                 AMHERST           NH           03031
    SOUND INCORPORATED                                                      1550 SHORE ROAD                                                             NAPERVILLE        IL           60563
    SOUPER SALAD COMPANY INC                                                145 ROSEMARY ST STE C                                                       NEEDHAM           MA           02494
    SOURCECORP BPS INC                                                      PO BOX 142589, DRAWER # 9062                                                IRVING            TX           75014-2589
    SOUTH AMERICAN PICTURES                                                 48 STATION RD WOODBRIDGE                                                    SUFFOLK                        IP12 4AT     United Kingdom
    SOUTH BAY UNION SCHOOL DISTR                                            601 ELM AVENUE                                                              IMPERIAL BEACH    CA           91932
    SOUTH BEND COMMUNITY SCH
    CORP                                                                    215 S ST JOSEPH STREET                                                      SOUTH BEND        IN           46601
    SOUTH BRONX CLASSICAL
    CHARTER                                                                 977 FOX STREET                                                              BRONX             NY           10459
    SOUTH CAROLINA ASSOC FOR
    EDUC TECH                                                               PO BOX 13986                   TOTAL MEETING CONCEPTS LLC                   TALLAHASSEE       FL           32317
    SOUTH CAROLINA ASSOC OF
    CHRISTIAN SCHS                                                          615 ST ANDREWS ROAD                                                         COLUMBIA          SC           29210
    SOUTH CAROLINA ASSOC OF
    PUBLIC CHARTER                          SCHOOLS INC                     119 NORTH MARKLEY STREET                                                    GREENVILLE        SC           29601
    SOUTH CAROLINA ASSOC OF
    SCHOOL ADMNS                                                            121 WESTPARK BLVD                                                           COLUMBIA          SC           29210
    SOUTH CAROLINA ASSOC TITLE I
    ADMINS                                  ATTN MONA FUNDERBURK            319 DARGAN STREET              FLORENCE COUNTY DISTRICT 1                   FLORENCEORNER     SC           29506
    SOUTH CAROLINA CNCL OF TCHRS
    OF ENG                                                                  1115 SHAWS FORK RD             ATTN GINGER DUNKER                           AIKEN             SC           29805
    SOUTH CAROLINA COUNCIL FOR
    THE                           SOCIAL STUDIES                   2740 ALPINE ROAD                                                                     COLUMBIA          SC           29223
    SOUTH CAROLINA COUNCIL FOR    ATTN ROB DILL- E L WRIGHT MIDDLE
    THE                           SCH                              2740 ALPINE ROAD                                                                     COLUMBIA          SC           29223
                                  INTERNATIONAL READING
    SOUTH CAROLINA COUNCIL OF THE ASSOCIATION                      204 TRILLIUM CT                                                                      SANTEE            SC           29142

    SOUTH CAROLINA COUNCIL OF THE           ATTN KAYE JOHNSTON              204 TRILLIUM CT                                                             SANTEE            SC           29142
    SOUTH CAROLINA COUNCL FOR
    EXCEPTIONAL                             CHILDREN - ATTN DEBBIE GUNTER   715 NINTH STREET                                                            WEST COLUMBIA     SC           29169
    SOUTH CAROLINA DEPT OF
    EDUCATION                                                               301 GREYSTONE BLVD STE 150                                                  COLUMBIA          SC           29210
    South Carolina Dept of Revenue          Attn Bankruptcy Section         PO Box 125                                                                  Columbia          SC           29214
    SOUTH CAROLINA DEPT OF
    REVENUE                                                                 211 CENTURY DR STE 210B                                                     GREENVILLE        SC           29607
    SOUTH CAROLINA DEPT OF
    REVENUE                                                                 SALES TAX RETURN                                                            COLUMBIA          SC           29214-0101
    SOUTH CAROLINA INDEPENDENT
    SCH ASSOC                                                               P O DRAWER 690                                                              ORANGEBURG        SC           29116
    SOUTH CAROLINA MAP                      DBA SC FORMATIVE ASSESSMENT
    FOUNDATION                              CONF                            P O BOX 13117                                                               FLORENCE          SC           29504-3117
    SOUTH CAROLINA MIDDLE SCH
    ASSOCIATION                             ATTN LINDA ALLEN                P O BOX 6980                                                                MYRTLE BEACH      SC           29572
    SOUTH CAROLINA SCIENCE
    COUNCIL                                                                 1009 WOODLEAF COURT                                                         COLUMBIA          SC           29212

    SOUTH CAROLINA TAX COMMISSION                                           P O BOX 125                                                                 COLUBMIA          SC           29214
    SOUTH CAROLINA TECHNICAL EDUC
    ASSN                          ATTN ELAINE HODGES                        P O BOX 100548                                                              FLORENCE          SC           29502-0548
    SOUTH CENTRAL SERVICE
    COOPERATIVE                                                             400 MAUL ROAD                                                               CAMDEN            AR           71701



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                 414 of 488                                                                                     1:26 PM
                                                      12-12171-reg        Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                First Class Service List


               CreditorName               CreditorNoticeName                          Address1                     Address2                Address3                 City        State       Zip      Country
    SOUTH DAKOTA ASSN OF ELEM SCH                                                                       MIKE MUNZKE - EXPLORER
    PRINCPLS                                                            4010 WEST 82ND STREET           ELEMENTARY                                    SIOUX FALLS          SD           57108
    SOUTH DAKOTA ASSOC OF SEC SCH
    PRCPLS                                                              P O BOX 190                     ATTN BRIAN JANDAHL                            ELKTON               SD           57026
    SOUTH DAKOTA ASSOCIATION FOR
    MIDDLE                        LEVEL EDUCATION                       910 17TH AVENUE S                                                             BROOKINGS            SD           57006
    SOUTH DAKOTA COUNCIL OF       TEACHERS OF ENGILSH                   800 W 10TH ST                                                                 MITCHELL             SD           57301
    SOUTH DAKOTA COUNCIL OF       ATTN KAREN HARRINGTON                 800 W 10TH ST                                                                 MITCHELL             SD           57301
                                  Revenue & Regulation Remittance
    South Dakota Department of    Center                                PO Box 5055                                                                   Sioux Falls          SD           57117-5055

    SOUTH DAKOTA DEPT OF REVENUE BUSINESS TAX DIVISION                  445 E CAPITOL AVENUE                                                          PIERRE               SD           57501
    South Dakota Dept of Revenue Attn Bankruptcy Dept                   445 E Capitol Ave                                                             Pierre               SD           57501

    SOUTH DAKOTA DEPT OF REVENUE                                        445 E CAPITOL AVENUE                                                          PIERRE               SD           57501
    South Dakota Secretary of Stat Corporations Division                500 Capitol Avenue                                                            Pierre               SD           57501

    SOUTH DAKOTA STATE TREASURER                                        DOR REMITTANCE CTR                                                            SIOUX FALLS          SD           57117-5055
    SOUTH DAKOTA STATE UNIV
    BOOKSTORE                                                           P O BOX 2815A                                                                 BROOKINGS            SD           57007
    SOUTH DAKOTA WORLD
    LANGUAGES ASSN               ATTN MARSHA KLEIN                      929 YOSEMITE LANE                                                             BROOKINGS            SD           57006
    SOUTH FLORIDA PROGRESS                                              1601 BISCAYNE BLVD, BALLROOM
    FOUNDATION                                                          LVL                                                                           MIAMI                FL           33132

    SOUTH LYON COMMUNITY SCHOOLS                                        30181 KENT LAKE ROAD                                                          SOUTH LYON           MI           48178
    South Metro Denver Chamber                                          6840 S. University Blvd.                                                      Centennial           CO           80122
    SOUTH RABUN ELEMENTARY                                              PO BOX 68                                                                     TIGER                GA           30576
    SOUTH REDFORD SCHOOL
    DISTRICT                                                            26141 SCHOOLCRAFT                                                             REDFORD              MI           48239
    SOUTH SEAS ANIMATED FILMS INC CHASE MAHATTAN BANK NA                BUILDING F FLOOR 8                                                            NEW YORK             NY           11245
    SOUTH TECH CHARTER ACADEMY
    INC                           ATTN SHANA WEMDROW                    1300 SW 30TH AVENUE                                                           BOYNTON BEACH        FL           33426
    Southeast Education Network                                         10150 Mallard Creek Rd          Suite 101                                     Charlotte            NC           28262

    SOUTHEAST SERVICES OF CFL INC                                       736 CIDCO ROAD                                                                COCOA                FL           32926
    SOUTHEAST TEXAS HOMESCHOOL
    COALITION                                                           10592-A FUQUA # 503                                                           HOUSTON              TX           77089

    SOUTHEASTERN EMPLOYMENT AND TRAINING ASSOCIATION                    P O BOX 33100                                                                 CLEMSON              SC           29633-3100

    SOUTHEASTERN FREIGHT LINES INC                                      P O BOX 100104                                                                COLUMBIA             SC           29202-3104
    SOUTHEASTERN LIBRARY
    NETWORK INC                             DBA SOLINET                 P O BOX 116179                                                                ATLANTA              GA           30368-6179
    SOUTHEASTERN PRINTING CO INC                                        3601 SE DIXIE HWY                                                             STUART               FL           34997
    SOUTHEASTERN REGIONAL
    READING                                 RECOVERY ASSOCIATION        219 EDENWOOD LANE                                                             WYTHEVILLE           VA           24382
    SOUTHERN ACQUISITIONS HOLDING
    NORTH LLC                               DBA JUST-RITE EQUIPMENT     PO BOX 414746                                                                 BOSTON               MA           02241
    SOUTHERN BOOK CO-ATLANTA                                            5000 WESTPARK DRIVE SUITE 100                                                 ATLANTA              GA           30336
    SOUTHERN CALIFORNIA
    BOOKSELLERS                                                         133 N ALTADENA DR #403                                                        PASADENA             CA           91107
    SOUTHERN CALIFORNIA EDISON
    COMPANY                                                             P O BOX 300                                                                   ROSEMEAD             CA           91770
    SOUTHERN CALIFORNIA GAS
    COMPANY                                 DBA THE GAS COMPANY         P O BOX C                                                                     MONTEREY PARK        CA           91756
    SOUTHERN CALIFORNIA
    KINDERGARTEN                            CONFERENCE                  27734 MANSFIELD STREET COURT                                                  VALENCIA             CA           91354
    SOUTHERN COLORADO UNIV                                              2200 N BONFORTE BLVD            BOOKSTORE                                     PUEBLO               CO           81001
    SOUTHERN CONFERENCE ON
    LANGUAGE                                TEACHING                    165 LAZY LAUREL CHASE                                                         ROSWELL              GA           30076
    SOUTHERN CONNECTICUT STATE
    UNIV                                                                501 CRESCENT STREET                                                           NEW HAVEN            CT           06515
    SOUTHERN DIGITAL IMAGES INC             DBA BRILLIANTPOINT          8825 PINE BAY COURT                                                           ORLANDO              FL           32825
    SOUTHERN DOCK PRODUCTS                  SOUTHERN ACQUISITIONS LLC   P O BOX 840602                                                                DALLAS               TX           75284-0602
    SOUTHERN DOOR COUNTY SCHOOL
    DISTRICT                                                            2073 COUNTY ROAD DK                                                           BRUSSELS             WI           54204
    SOUTHERN ILLINOIS UNIV -                                                                            ATTN PHIL BANKESTER - MAILCODE
    CARBONDALE                                                          UNIV PHOTOCOMMUNICATIONS        6819                                          CARBONDALE           IL           62901
    SOUTHERN ILLINOIS UNIVERSITY            EDWARDSVILLE                BOX 1128 ALUMNI HALL RM 0138                                                  EDWARDSVILLE         IL           62026



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                               415 of 488                                                                                 1:26 PM
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                                                                                                             423 Matrix
                                                                                                                     of 519
                                                                                                               First Class Service List


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    SOUTHERN ILLINOIS UNIVERSITY            ATTN COLLEEN POTTER         BOX 1128 ALUMNI HALL RM 0138                                                 EDWARDSVILLE        IL           62026
    SOUTHERN INDEPENDENT
    BOOKSELLERS                             ALLIANCE                    3806 YALE AVENUE                                                             COLUMBIA            SC           29205
    SOUTHERN INDIANA EDUCATION
    CENTER                                                              1102 TREE LANE DRIVE                                                         JASPER              IN           47546-8157
    SOUTHERN MOTOR CARRIERS ASSN
    INC                                     DBA SMC3                    P O BOX 2040                                                                 PEACHTREE CITY      GA           30269
    SOUTHERN NAZARENE UNIV NACS             THE UNIVERSITY STORE        3500 SW 119TH STREET                                                         OKLAHOMA CITY       OK           73170

    SOUTHERN NEVADA MATH COUNCIL            ATTN CANDACE YAMAGATA       917 W 20 N                                                                   OREM                UT           84057
    SOUTHERN POVERTY LAW
    CENTERS INC                                                         400 WASHINGTON AVE                                                           MONTGOMERY          AL           36104
    SOUTHERN TERRITORY
    ASSOCIATES                                                          4508 64TH STREET                                                             LUBBOCK             TX           79414
    SOUTHERN UTAH UNIVERSITY                BOOKSTORE                   555 WEST CENTER                                                              CEDAR CITY          UT           84720
    SOUTHERN WASTE PAPER
    COMPANY                                                             P O BOX 555                                                                  CHESTERFIELD        MO           63006
    SOUTHERN WESLEYAN UNIV
    BOOKSTORE                                                           907 WESLEYAN DR                                                              CENTRAL             SC           29630
    SOUTHERN WISCONSIN
    EDUCATIONAL                             INSERVICE ORGANIZATION      N2541 HUGHES ROAD               ATTN ROBERT A AYER                           COLUMBUS            WI           53925
    Southgate Systems                                                   4600 S. Ulster St.              #380                                         Denver              CO           80237
    SOUTHINGTON PUBLIC SCHOOLS              PURCHASING OFFICE RM #7     49 BEECHER STREET                                                            SOUTHINGTON         CT           06489
    SOUTHLAND COLLEGE PREP
    CHARTER SCH                                                         4601 SAUK TRAIL                 ATTN BLONDEAN Y DAVIS                        RICHTON PARK        IL           60471
    SOUTHLAND COUNCIL OF
    TEACHERS OF ENGLISH                                                 1125 1/2 APPLETON ST                                                         LONG BEACH          CA           90802
    SOUTHPORT MANAGEMENT GROUP
    LLC                                                                 800 ISLINGTON STREET                                                         PORTSMOUTH          NH           03801
    SOUTHSIDE INDP SCH DISTRICT                                         1460 MARTINEZ LOSOYA RD                                                      SAN ANTONIO         TX           78221

    SOUTHSTAR ENERGY SERVICES LLC DBA GEORGIA NATURAL GAS               P O BOX 105445                                                               ATLANTA             GA           30348
    SOUTHWEST ATLANTA CHRISTIAN
    ACADEMY                                                             3911 CAMPBELLTON ROAD                                                        ATLANTA             GA           30331
    SOUTHWEST CONF ON LANGUAGE
    TEACHING                      ATTN MICHAEL WOOD                     7607 BRISTLECONE ROAD                                                        EAGLE MOUNTAIN      UT           84005
    SOUTHWEST GEORGIA RESA                                              570 MARTIN LUTHER KING JR RD    ATTN KELLY TABB                              CAMILLA             GA           31730
    SOUTHWEST MATERIALS HANDLING
    CO                                                                  4719 ALMOND STREET                                                           DALLAS              TX           75247-6499
    SOUTHWEST PLAIN REGIONAL
    SERVICE CENTER                                                      P O BOX 1010 810 LARK AVE                                                    SUBLETTE            KS           67877
    SOUTHWESTERN ADVENTIST
    UNIVERSITY                    COLLEGE BOOKSTORE                     P O BOX 58                                                                   KEENE               TX           76059
    SOUTHWESTERN STATIONERY &
    BANK                          SUPPLY INC                            PO BOX 18697                                                                 OKLAHOMA CITY       OK           73154
    SOUVENIR PRESS LTD                                                  43 GREAT RUSSELL STREET 3PA                                                  LONDON                           WC1B 3PD     United Kingdom
    SOUVENIR PRESS LTD                                                  43 GREAT RUSSELL STREET                                                      LONDON WCIB                      003PA        United Kingdom
    SOVFOTO/EASTFOTO                                                    263 W 20TH ST #3                                                             NEW YORK            NY           10011-3542
    Spalding, Jan
    SPANDEL VICKI                                                       P O BOX 8284                                                                 BLACK BUTTE RANCH   OR           97759

    SPANISH EDUCATIONAL PUBLISHING                                      2258 WEST HURON STE G           ATTN E DE LA OSSA                            CHICAGO             IL           60612
    SPANISH LANGUAGE PRODUCTIONS
    INC                                                                 3017 MOUNTS ROAD                                                             ALEXANDRIA          OH           43001-9755
    SPANISH PUBLISHING             DONT USE                             236 CUSHING STREET                                                           HINGHAM             MA           02043
    SPANISH PUBLISHING GROUP
    DESIGN                         & PRODUCTION LLC                     236 CUSHING STREET                                                           HINGHAM             MA           02043
    SPARC                                                               685 VENICE BLVD                                                              VENICE              CA           90291
    SPARKS CAROL                                                        1795 WOODSIDE COURT                                                          CONCORD             CA           94519
    SPARTANBURG SCH DISTRICT #2    ACCOUNTS PAYABLE                     4606 PARRIS BRIDGE ROAD                                                      BOILING SPRINGS     SC           29316
    SPARTANBURG SCH DISTRICT 3                                          P O BOX 267                                                                  GLENDALE            SC           29346
    Spartanburg School District 7  Debbie Whittingham/AP                610 Dupre Drive                                                              Spartanburg         SC           29307
    SPATIAL GRAPHICS INC                                                3004 HEMPLAND ROAD SUITE #3                                                  LANCASTER           PA           17601
    SPAULDING NANCY                                                     708 HOLECEK AVE                                                              ELMIRA              NY           14904
    SPEARE LAURA ELIZABETH                                              7074 SAYRE DRIVE                                                             OAKLAND             CA           94611
    SPEARE PHILIP ALDEN                                                 118 RIDGE STREET                                                             ARLINGTON           MA           02474
    Special School District                                             12110 Clayton Road                                                           Saint Louis         MO           63131-2516
    SPECIAL SCHOOL DISTRICT OF ST
    LOUIS CTY                                                           12110 CLAYTON ROAD                                                           ST LOUIS            MO           63131
    SPECIALTY BOOK MARKETING       ATTN BILL CORSA                      443 PARK AVENUE SOUTH STE 802                                                NEW YORK            NY           10016



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                              416 of 488                                                                                       1:26 PM
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                                                                                                                        of 519
                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName               Address1                          Address2                         Address3                   City         State       Zip            Country
    SPECIALTY BOOK MARKETING                                               443 PARK AVE SOUTH 802            ATTN BILL CORSA                                              NEW YORK           NY           10016
    SPECIALTY BOOK MARKETING                                               443 PARK AVENUE SOUTH STE 802                                                                  NEW YORK           NY           10016
    SPECIALTY CATERING & DINING
    SERVICES LLC                            GINA MONTENEGRO                5660 ORANGEWOOD AVENUE                                                                         CYPRESS            CA           90630
    SPECIALTY CATERING & DINING
    SERVICES LLC                            DBA EAGLES NEST                5660 ORANGEWOOD AVENUE                                                                         CYPRESS            CA           90630

    SPECIALTY MATERIAL HANDLING INC                                        5838 E EXECUTIVE DR                                                                            WESTLAND           MI           48185
    SPECTRUM INTEGRATED
    TECHNOLOGIES                    DIV OFJ & M BROWN COM INC              USE 1-5480                                                                                     JAMAICA PLAIN      MA           02130
    SPECTRUM LITERARY AGENCY                                               320 CENTRAL PARK WEST NO 1-D                                                                   NEW YORK           NY           10025

    SPECTRUM LITERARY AGENCY                                               320 CENTRAL PARK WEST SUITE 1-D                                                                NEW YORK           NY           10025
    Speedy Messenger                                                       PO Box 3017                                                                                    Denver             CO           80201
    SPEEDY MESSENGER AND
    DELIVERY LLC                                                           70 VESTRY ST                                                                                   NEW YORK           NY           10013
    SPEEEDY COURIER SERVICE INC                                            200 E ROBINSON ST, STE 220                                                                     ORLANDO            FL           32801-1982
    SPELLINGCITY                            DBA SECULARHOMESCHOOL.COM      6300 NE 1ST AVENUE STE 203                                                                     FT LAUDERDALE      FL           33334
    SPENCER A RATHUS                                                       9401 COLLINS AVE PH 1105                                                                       SURFSIDE           FL           33154
    SPENCER GLENN SWANGER                   DBA ALPINE PHOTOS              1610 W PLATTE AVENUE                                                                           COLORADO SPRINGS   CO           80904
    Spencer Hill                                                           P.O. Box 1068                                                                                  Wake Forest        NC           27588
    SPENCER HOSPICE FOUNDATION                                             3401 W SUNFLOWER AVE STE 225                                                                   SANTA ANA          CA           92704
    SPENCER KING ASSOCIATES                                                595 MAIN STREET, SUITE 1602                                                                    NEW YORK           NY           10044
    SPENCER MUSE                                                           5410 RAVENSWOOD PL                                                                             DURHAM             NC           27713
    SPENGLER CREATIONS INC                                                 2668 17TH STREET                  KENNETH SPENGLER                                             SACRAMENTO         CA           95818
    SPIEGLER LOUISE                                                        8001 BROOKLYN AVE NE                                                                           SEATTLE            WA           98115
    SPIKES TROPHIES LIMITED                                                514 N 2ND STREET                                                                               PHILADELPHIA       PA           19123
    SPILLEBEEN GEERT                                                       TINNENPOTSTRAT 66                                                                              IZEGEM                          08870        Belgium
    SPIRE                                                                  P O BOX 845543                                                                                 BOSTON             MA           02284
    SPLIT PINE BOOKS LLC                                                   P O BOX 1857                                                                                   NEDERLAND          CO           80466-1857
    SPOKANE FALLS COMM COLL                                                3410 W FT GEORGE WRIGHT, MS
    BOOKSTORE                                                              3170                                                                                           SPOKANE            WA           99224
    SPORTS FOUNDATION INC                                                  871 WESTCHESTER AVE                                                                            BRONX              NY           10459
    SPRING ARBOR COLLEGE
    BOOKSTORE                                                              106 E MAIN STREET                                                                              SPRING ARBOR       MI           49283
    SPRING CLEANING 2008                                                   9804 CASA LINDA                                                                                OKLAHOMA CITY      OK           73139
    SPRING INDEPENDENT SCH DIST                                            16717 ELLA BLVD                                                                                HOUSTON            TX           77090
    SPRINGFIELD BALL CHARTER SCH                                           2530 EAST ASH STREET                                                                           SPRINGFIELD        IL           62703
    SPRINGFIELD ELECTRIC SUPPLY
    COMPANY                                                                P O BOX 4106                                                                                   SPRINGFIELD        IL           62708-4106
    SPRINGFIELD PUBLIC SCHOOLS              TEFFT CENTER/MARLA ZAHNER      1418 E PYTHIAN                                                                                 SPRINGFIELD        MO           65802
    SPRINGFIELD PUBLIC SCHS DIST#1          ADMIN SERVICE CENTER           530 WEST REYNOLDS                                                                              SPRINGFIELD        IL           62702
    SPRINGFIELD UTILITY BOARD                                              250 A STREET P O BOX 300                                                                       SPRINGFIELD        OR           97477-0077
                                            SPRINGHILL SUITES ORLANDO AT
    SPRINGHILL SMC LLC                      SEAWORLD                       10801 INTERNATIONAL DR                                                                         ORLANDO            FL           32821
    SPRINGTOWN INDEPENDENT SCH
    DISTRICT                                                               301 E 5TH STREET                                                                               SPRINGTOWN         TX           76082
    SPRINT                                  CUSTOMER SERVICE               PO BOX 8077                                                                                    LONDON             KY           40742
    SPRINT                                                                 PO BOX 105243                                                                                  ATLANTA            GA           30348
    SPRINT                                                                 P.O. BOX 219100                                                                                KANSAS CITY        MO           64121
    SPRINT                                                                 PO BOX 4181                                                                                    CAROL STREAM       IL           60197
    SPRINT                                                                 PO BOX 6419                                                                                    CAROL STREAM       IL           60197-6419
    SPRINT                                                                 PO BOX 8077                                                                                    LONDON             KY           40742
    SPSS INC                                                               1213 PAYSHERE CIRCLE                                                                           CHICAGO            IL           60674
    SPSS INC                                                               1213 PAYSPHERE CIRCLE                                                                          CHICAGO            IL           60674
    SQUAMSCOTT PRESS                        MARKETING DEPT                 62 PORTSMOUTH AVENUE              WINDY KNOLL VILLAGE                                          STRATHAM           NH           03885
                                                                                                                                               SISTERS OF CHARITY SOUTH
    SR LILLIAN MAGUIRE                                                     4200 SOUTH 4TH STREET                                               CAMPUS                     LEAVEN WORTH       KS           66048
    SR ROSALIE CURTIN                                                      4200 S 4TH ST                     MOTHER HOUSE                                                 LEAVENWORTH        KS           66048
    SRB EDUCATION SOLUTIONS INC             DBA L4U LIBRARY SOFTWARE       200 TOWN CENTRE BLVD STE 400                                                                   MARKHAM            ON           L3R 8G5      Canada
                                            STRATEGIC REWARDS CONSULTING
    SRC GROUP LLC                           GROUP                        4823 WELBY DRIVE                    ANDREA AVERILL                                               NORTH WHITEHALL    PA           18078
    SRG TECHNOLOGY LLC                                                   330 SW 2 STREET STE 215                                                                          FORT LAUDERDALE    FL           33312
    Srivasavi Reddy                                                      231 Monson Court                                                                                 Schaumburg         IL           60173
    SSGA                                    ACCOUNTS RECEIVABLE DEPT     BOX 5488                                                                                         BOSTON             MA           02206
    ST AGNES SCHOOL                                                      30 CARSON AVENUE                                                                                 DALTON             MA           01226
    ST AMBROSE UNIVERSITY
    BOOKSTORE                                                              1936 HARRISON STREET                                                                           DAVENPORT          IA           52803
    ST ANTHONY CATHOLIC CHURCH              ST ANTHONY CATHOLIC SCHOOL     119 W SPRINGFIELD RD                                                                           SULLIVAN           MO           63080
    ST BASILS SCHOOL                                                       1230 NEBRASKA STREET                                                                           VALLEJO            CA           94590



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                   417 of 488                                                                                                     1:26 PM
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                                                                                                              Pg Creditor
                                                                                                                  425 Matrix
                                                                                                                          of 519
                                                                                                                   First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                       Address2              Address3              City        State       Zip           Country
    ST BERNADETTES OUTREACH
    PROGRAM                                                                1026 NO MAIN STREET                                                           RANDOLPH          MA           02368
    ST BERNARD CONGREGATION                                                2040 HILLSIDE LANE                                                            GREENBAY          WI           54302
    ST CATHERINE OF SIENA CHURCH
    SCHOOL                                  ST CATHERINE OF SIENA SCHOOL   4200 FEDERAL BLVD                                                             DENVER            CO           80211
    ST CECILIA CATHOLIC CHURCH                                             5418 LOUISIANA                                                                ST LOUIS          MO           63111
    ST CECILIA SCHOOL                                                      2900 HOOVER AVENUE                                                            AMES              IA           50010
    ST CHARLES PARISH SCHOOL
    BOARD                                   SALES TAX DEPT                 13855 RIVER ROAD                                                              LULING            LA           70070
    ST CLAIR COUNTY EDUCATION               DBA ST CLAIR COUNTY TEACHERS
    COOP BOARD                              INSTITUTE                      1000 SOUTH ILLINOIS ST                                                        BELLEVILLE        IL           62220
    ST CLOUD/CAMPUS BK SUPP 350                                            211 5TH AVE SOUTH, STE 103                                                    SANT CLOUD        MN           56301
    ST EDMUND SCHOOL                        ST EDMUND ELEMENTARY           1902 AVENUE T                                                                 BROOKLYN          NY           11229
    ST EDWARD CATHOLIC
    ELEMENTARY SCHOOL                                                      210 SOUTH NICHOLS ST                                                          LOWELL            IN           46356
    ST FREDERICK HIGH SCHOOL                                               3300 WESTMINSTER AVE                                                          MONROE            LA           71201
    ST GEORGE CHURCH                        ST GEORGE PARISH SCHOOL        144 W 5TH STREET                                                              STOCKTON          CA           95206
    ST IGNATIUS LOYOLA SCHOOL                                              48 EAST 84TH STREET                                                           NEW YORK          NY           10028
    ST JAMES - ASSINIBOIA SCHOOL
    DIVISION                                                               2574 PORTAGE AVENUE               ATTN SHARON DE ROSIE                        WINNIPEG          MB           R3J 0H8      Canada
    ST JAMES DAY SCHOOL                                                    5501 NORTH STATE                                                              TEXARKANA         TX           75503

    ST JAMES PARISH SCHOOL BOARD            SALES AND USE TAX DEPARTMENT   PO BOX 368                                                                    LUTCHER           LA           70071
    ST JAMES SCHOOL                                                        4625 GARNET STREET                                                            TORRANCE          CA           90503
    ST JOACHIM AND ANNS SCHOOL                                             4110 MCCLAY ROAD                                                              ST CHARLES        MO           63304
    ST JOHN LUTHERAN CHURCH                                                P O BOX 87                                                                    BATTLE CREEK      NE           68715
                                  ST JOHN NEUMANN CATHOLIC
    ST JOHN NEUMANN SCHOOL        SCHOOL                                   721 POLO ROAD                                                                 COLUMBIA          SC           29223
    ST JOHN NOTRE DAME SCHOOL                                              309 MONTROSE DR                                                               FOLCOM            CA           95630
    ST JOHN THE BAPTIST                                                    0S233 CHURCH ST                                                               WINFIELD          IL           60190
    ST JOHN THE BAPTIST PARISH    SALES AND USE TAX OFFICE                 PO BOX 2066                                                                   LA PLACE          LA           70069-2066
    ST JOHN THE EVANGELIST CHURCH
    & SCHOOL                                                               311 LOTZ AVENUE LAKEMONT                                                      ALTOONA           PA           16602
    ST JOHNS UNIVERSITY -
    MANHATTAN CAMPUS              CONFERENCE SERVICES                      101 MURRAY STREET                                                             NEW YORK          NY           10007-2615

    ST JOSEPH COLLEGE BOOKSTORE                                            US HIGHWAY 231 SOUTH                                                          RENSSELAER        IN           47978
    ST JOSEPH JR HIGH SCHOOL                                               2401 69TH STREET                                                              KENOSHA           WI           53143
    ST JOSEPH SCHOOL                        ATTN GRACE RADTKE              1138 SEMINOLE AVE                                                             W ST PAUL         MN           55118
    ST JOSEPH SCHOOL                                                       1810 HOWARD ROAD                                                              KNOXVILLE         TN           37918
    ST JOSEPH SCHOOL                                                       529 MADISON STREET                                                            LOCKPORT          IL           60441
    ST JOSEPHS INDIAN SCHOOL                                               P O BOX 200                                                                   CHAMBERLAIN       SD           57325
    ST JOSEPHS UNIVERSITY                   EDUCATION OFFICE               5600 CITY AVE                                                                 PHILADELPHIA      PA           19131-1395
    ST KATHARINE DREXEL SCHOOL                                             5831 S KINGSHIGHWAY                                                           ST LOUIS          MO           63106

    ST LANDRY PARISH SCHOOL BOARD SALES AND USE TAX DEPARTMENT             PO BOX 1210                                                                   OPELOUSAS         LA           70571
                                  ARNAUDVILLE ELEMENTARY
    ST LANDRY PARISH SCHOOL BOARD SCHOOL                                   P O BOX 770 120 W RAILROAD AVE                                                ARNAUDVILLE       LA           70512

    ST LANDRY PARISH SCHOOL BOARD                                          PO BOX 1210                                                                   OPELOUSAS         LA           70571

    ST LANDRY PARISH SCHOOL BOARD                                          P O BOX 770 120 W RAILROAD AVE                                                ARNAUDVILLE       LA           70512
    ST LOUIS ART MUSEUM                                                    1 FINE ARTS DRIVE                                                             ST LOUIS          MO           63110

    ST LOUIS BOARD OF EDUCATION             COMPTON DREW MIDDLE SCHOOLL 5130 OAKLAND AVENUE                                                              ST LOUIS          MO           63110
    ST LOUIS BOARD OF EDUCATION             BUDER ELEMENTARY            5139 LANSDOWNE                                                                   ST LOUIS          MO           63109
    ST LOUIS BOARD OF EDUCATION                                         5130 OAKLAND AVENUE                                                              ST LOUIS          MO           63110
    ST LOUIS BOARD OF EDUCATION                                         5139 LANSDOWNE                                                                   ST LOUIS          MO           63109
    ST LOUIS CENTER FOR INTNL
    RELATIONS                               WORLD TRADE CENTER ST LOUIS    121 SOUTH MERAMEC AVE, STE 1111                                               ST LOUIS          MO           63105

    ST LOUIS COMM COLLEGE BKSTORE                                          300 SO BROADWAY                                                               ST LOUIS          MO           63102
    ST LOUIS MERCANTILE LIBRARY @ UNIVERSITY OF MISSOURI                   8001 NATURAL BRIDGE ROAD                                                      ST LOUIS          MO           63121
    ST LOUIS POST DISPATCH LLC                                             900 NORTH TUCKER BLVD                                                         ST LOUIS          MO           63101
                                  CENTRAL VISUAL & PERFORMING
    ST LOUIS PUBLIC SCHOOLS       ARTS HIGH                                3125 S KINGSHIGHWAY BLVD                                                      ST LOUIS          MO           63139
    ST LOUIS PUBLIC SCHOOLS       ASHLAND ELEMENTARY                       801 N 11TH ST                                                                 ST LOUIS          MO           63101
    ST LOUIS PUBLIC SCHOOLS                                                3125 S KINGSHIGHWAY BLVD                                                      ST LOUIS          MO           63139
    ST LOUIS PUBLIC SCHOOLS                                                801 N 11TH ST                                                                 ST LOUIS          MO           63101
    ST LUCIE CO SCHOOL DISTRICT



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                  418 of 488                                                                                   1:26 PM
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                                                                                                                       of 519
                                                                                                                  First Class Service List


              CreditorName              CreditorNoticeName                            Address1                         Address2                        Address3            City         State       Zip           Country
    ST LUCIE COUNTY EDUCATION
    FOUNDATION                                                            4204 OKEECHOBEE ROAD                                                                    FORT PIERCE      FL           34947
    ST LUCIE PUBLIC SCHOOLS      PUBLICATION CENTER                       4204 OKEECHOBEE RD                                                                      FT PIERCE        FL           34947
    ST MARKS COMMUNITY EDUCATION
    PROGRAM                                                               20 ROSELAND ST                                                                          DORCHESTER       MA           02124

    ST MARTIN PARISH SCHOOL BOARD           SALES & USE TAX DEPARTMENT    PO BOX 1000                                                                             BREAUX BRIDGE    LA           70517
    ST MARTIN PRESS INC                                                   175 FIFTH AVE                                                                           NEW YORK         NY           10010-7848
    ST MARTINS PRESS                        ATTN DELLA CHENG              175 FIFTH AVENUE                                                                        NEW YORK         NY           10010-7848
    ST MARTINS UNIV BOOKSTORE                                             5300 PACIFIC AVENUE SE          DNU USE 9750101                                         OLYMPIA          WA           98503
    ST MARY CHURCH OF ELGIN                                               397 FULTON ST                                                                           ELGIN            IL           60120
    ST MARY MAGDALEN SCHOOL                                               1223 S CORNING STREET                                                                   LOS ANGELES      CA           90035
    ST MARY OF THE ANGELS CATHOLIC
    SCHOOL                                                                991 SOUTH DORA STREET                                                                   UKIAH            CA           95482
    ST MARYS CATHOLIC SCHOOL                                              151 N MONROE ST                                                                         MONROE           MI           48162
    ST MARYS COLLEGE                        BUSINESS OFFICE               156 LE MANS HALL                                                                        NOTRE DAME       IN           46556
    ST MARYS SCHOOL                                                       110 NORTH 7TH STREET                                                                    TOMAHAWK         WI           54487
    ST MICHAEL SCHOOL                                                     325 EDWARDS ST                                                                          GRAND LEDGE      MI           48837
    ST MICHEAL ACADEMY 207                                                425 WEST 33RD STREET                                                                    NEW YORK         NY           10001
    ST MONICA S PARISH                                                    3490 NW 191ST STREET            RV LEO J LE BLANC OMI                                   CAROL CITY       FL           33056
    ST OLAF COLLEGE                                                       1520 SAINT OLAFS AVE                                                                    NORTHFIELD       MN           55057
    ST PANCRATIUS SCHOOL                                                  3601 ST PANCRATIUS PL                                                                   LAKEWOOD         CA           90712
    ST PATRICK CATHOLIC CHURCH              ST PATRICK SCHOOL             701 CHURCH STREET                                                                       WENTZVILLE       MO           63385
    ST PAUL CATHOLIC SCHOOL                                               465 NEW SMIZER MILL RD                                                                  FENTON           MO           63026
    ST PAUL EDUCATION CENTER                                              3007 COUNTRY CLUB ROAD          ATTN MONETTE MAHONEY                                    NEW BERN         NC           28562
    ST PAULS SCHOOL                                                       11152 FALLS ROAD                                                                        BROOKLANDVILLE   MD           21022
    ST PHILOMENA SCHOOL                                                   3216 N EMERY AVENUE                                                                     PEORIA           IL           61604
    ST PUBLISHING INC                                                     364 FAIR HILL DR STE F                                                                  ELKTON           MD           21921
    ST REGIS SCHOOL                                                       P O BOX K                                                                               SAINT REGIS      MT           59866
    ST ROCH                                                               6040 WATERMAN                                                                           ST LOUIS         MO           63112
    ST ROSE OF LIMA SCHOOL                                                12 RICHARD STREET                                                                       NEW HAVEN        CT           06513
    ST ROSE OF LIMA SCHOOL                                                517 W 164TH STREET                                                                      NEW YORK         NY           10032
    ST SEBASTIANS SCHOOL                                                  1191 GREENDALE AVE                                                                      NEEDHAM          MA           02492
    ST TAMMANY PARISH SCHOOL
    BOARD                                   ATTN CATALOG BID SPECIAL ED   321 N THREAD STREET                                                                     COVINGTON        LA           70433
    St Thomas Aquinas Catholic                                            4906 49 Ave                                                                             Leduc            AB           L0G 1W0      Canada

    ST VINCENT COLLEGE BOOKSTORE                                          300 FRASER PURCHASE ROAD                                                                LATROBE          PA           15650
    ST VINCENT DE PAUL                                                    13495 S HWY 94                                                                          MARTHASVILLE     MO           63357
    ST VINCENT DE PAUL SOCIETY                                            P O BOX 68                                                                              NORTH LAKE       WI           53064
    St. Andrews Episcopal Church                                          925 South 84th Street                                                                   Omaha            NE           68114
    St. Catherine Laboure                   Accounts Payable              3846 Redondo Beach Blvd                                                                 Torrance         CA           90504
    St. Charles Capital, LLC                St. Clair Catholic District   1400 Sixteenth Street           Suite 300                                               Denver           CO           80202
    St. Charles Parish PS                                                 PO Box 46                       13855 River Road                                        Luling           LA           70070
    St. Clair Catholic District                                           420 Creek St                                                                            Wallaceburg      ON           N0P 2M0      Canada
    St. Georges JPS                                                       70 Princess Anne Cres                                                                   Toronto          ON           M9A 2N5      Canada
    St. Jude Childrens                      Research Hospital             PO Box 167                                                                              Memphis          TN           38101-0167
    St. Julien Hotel & Spa                                                900 Walnut St                                                                           Boulder          CO           80302
    St. Lucie County Public School          Kris                          4204 Okeechobee RD                                                                      Fort Pierce      FL
    St. Paul Public Schools                 Sun Wisneski                  360 Colburne St                                                                         Saint Paul       MN           55102
    St. Regis Houston                                                     1919 Briar Oaks                                                                         Houston          TX           77027-3408
    STABENFELDT AS                                                        PO BOX 8054                                                                             STAVANGER                     04068        Norway

    STACEY A MICELI                                                       5002 N GLENWOOD AVENUE UNIT G                                                           CHICAGO          IL           60640
    STACEY CSUGIE                                                         26 ALDEN PLACE                                                                          MILFORD          CT           06460
    STACEY DERASMO                                                        250 W 27TH STREET #4C                                                                   NEW YORK         NY           10001
    Stacey Dupuis                                                         59 Salem St                                                                             Methuen          MA           01844
    Stacey Holt                                                           74 Canton Street                                                                        Randolph         MA           02368
    STACEY REA                                                            1360 CHICHESTER DRIVE                                                                   GARDNERVILLE     NV           89410
    STACEY RENEE MURRAY                                                   4711 SPICEWOOD SPRINGS # 215                                                            AUSTIN           TX           78759
    STACEY W BETTS                                                        11 YORK AVENUE                                                                          WATERTOWN        MA           02472
    STACEY WADKINS                                                        703 W OLIVE ST                                                                          LONG REACH       NY           11561
    STACI SMITH                                                           2324 FOX GLENN CIRCLE                                                                   BEDFORD          TX           76021
                                                                                                          C/O DUNOW CARLSON & LERNER
    STACIA BROWN                                                          27 WEST 20TH ST SUITE 1107      LIT AGENCY                         ATTN HENRY DUNOW     NEW YORK         NY           10011
    STACIE L MCCLINTOCK                                                   55 BROOKVIEW TERRACE                                                                    PORTLAND         ME           04102
    Stacie Murphy                                                         9 Christine Drive                                                                       Wilmington       MA           01887
    STACK LYDIA                                                           437 BARTLETT STREET                                                                     SAN FRANCISCO    CA           94110
    STACY BROOKE BATEMAN                                                  7897 CHALICE ROAD                                                                       SEVERN           MD           21144
    STACY E LOEAK                                                         10636 DAWNS LIGHT DRIVE                                                                 RIVERVIEW        FL           33578



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                 419 of 488                                                                                            1:26 PM
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                                                                                                                      of 519
                                                                                                                  First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                     Address2              Address3             City          State       Zip            Country
    Stacy Graham                                                           21 Phillips Road                                                             Lynnfield          MA           01940
    Stacy Holland                                                          144 Fisher Rd                                                                Mahwah             NJ           07430
    STACY INNERST                                                          1127 LAKEMONT DRIVE                                                          PITTSBURGH         PA           15243
    STACY M CARTER                                                         3124 SLEEPY HOLLOW ROAD                                                      FALLS CHURCH       VA           22042
    Stacy Scott                                                            1417 East Beverly Lane                                                       Phoenix            AZ           85022
    Stacy Storm                                                            4228 Via Entrada                                                             Thousand Oaks      CA           91320
    STAFF DEVELOPMENT COUNCIL OF
    ARIZONA                                                                311 MOONLIGHT DRIVE             C/O BETH BLONG                               PARKER             AZ           85344
                                                                           1 NEW HAMPSHIRE AVENUE, STE
    STAFF HUNTERS LLC                                                      125                             ANTHONY S MANFRED                            PORTSMOUTH         NH           03801
    STAFF SMART OF MISSOURI LLC                                            39018 TREASURY CENTER                                                        CHICAGO            IL           60694-9000
    STAFFORD COUNTY PUBLIC
    SCHOOL                                                                 31 STAFFORD AVE                                                              STAFFORD           VA           22554
    Stagevision Rentals Inc.                                               5610 McAdam Road                                                             Mississauga        ON           L4Z 1P1      Canada
    STAHL DANA KERREL                                                      6724 WOODHILL ROAD                                                           DALLAS             TX           75217
    STAMAR PACKAGING INC                                                   P O BOX 1157                                                                 BEDFORD PARK       IL           60499
    STAMMPHOTO.COM LLC                                                     W14245 SELWOOD                                                               PRAIRIE DU SAC     WI           53578
    STAMPLER ANN REDISCH                                                   239 NORTH KENTER AVENUE                                                      LOS ANGELES        CA           90049
    STAN CULLIMORE                                                         42A RAVENSWOOD ROAD             CUCUMBER STREET LTD                          REDLAND BRISTOL                 BS6 6BT      United Kingdom
    STAN OSOLINSKI                                                         9202 SUNFLOWER DRIVE                                                         TAMPA              FL           33647
    STANCO SYSTEMS ELECTRICAL
    CONTG INC                                                              4061 VICTORY BLVD                                                            STATEN ISLAND      NY           10314
    STANDARD & POORS FINANCIAL
    SRVCE LLC                                                              2542 COLLECTION CENTER DR                                                    CHICAGO            IL           60693
    STANDARD INSURANCE COMPANY                                             UNIT 16 PO BOX 5000                                                          PORTLAND           OR           97208
    STANDARD MEDIA SERVICES LLC                                            921 W 1000 N                                                                 MAPLETON           UT           84664
    STANDARD WHSE & DISTRIBUTING
    CO INC                                                                 P O BOX 308                                                                  PENNSAUKEN         NJ           08110
    STANFORD J GREENBURGER                                                 55 FIFTH AVENUE                                                              NEW YORK           NY           10003
    STANFORD UNIVERSITY                     ATTN MIMI CALTER               101 GREEN LIBRARY                                                            STANFORD           CA           94305
    STANFORD UNIVERSITY                                                    101 GREEN LIBRARY               ATTN MIMI CALTER                             STANFORD           CA           94305-6004
    STANFORD UNIVERSITY                                                    101 GREEN LIBRARY                                                            STANFORD           CA           94305
                                                                                                           ATTN PHOTO LIBRARIAN- NEWS
    STANFORD UNIVERSITY                                                    425 SANTA TERESA STREET         SERVC LIBRARY                                STANFORD           CA           94305-2245
    STANFORD UNIVERSITY LIBRARIES           GREEN LIBRARY- THE BING WING   557 ESCONDIDO MALL                                                           STANFORD           CA           94305-6004
    STANISLAUS COUNTY OFFICE OF
    EDUCATION                                                              1100 H STREET                                                                MODESTO            CA           95364
    Stanislaus Office of Education          Accounting                     1100 H Street                                                                Modesto            CA           95350
    STANISLAW BARANCZAK                                                    8 BROOKDALE ROAD                                                             NEWTONVILLE        MA           02460
    STANLEY BURSTEIN                                                       3922 SAN MATEO AVENUE                                                        LOS ALAMITOS       CA           90720
    Stanley D Mozingo                                                      104 Halston Place                                                            Pikeville          NC           27863
    STANLEY D RULLMAN                                                      10982 NE OLD CREOSOTE HILL RD                                                BAMBRIDGE ISLAND   WA           98110
    STANLEY E COLLENDER                                                    827 DOLLEY MADISON BLVD                                                      MCLEAN             VA           22101
    Stanley Ellis                                                          815 Berry River Rd                                                           Barrington         NH           03825
    STANLEY I SHAW                          DBA BETTYS KITCHEN CATERING    26 VAN BUREN AVENUE                                                          PORTSMOUTH         NH           03801-5830
    STANLEY STOGA                                                          5017 CONEY WESTON                                                            MADISON            WI           53711
    STANLEY TULCHIN ASSOCIATES                                             333 EARLE OVINGTON BLVD, STE
    INTL                                    P O BOX 707                    1025                                                                         UNIONDALE          NY           11553-0707
    Stanley Waringo                                                        1015 Cripple Creek Drive                                                     Austin             TX           78758
    STANLEY WEINTRAUB                                                      4 WINTERFIELD CT                                                             NEWARK             DE           19711-2957
    Stanley Wheeler                                                        3040 Plantation Dr.                                                          Sellersburg        IN           47172
    STANWOOD-CAMANO SCHOOL DIST
    # 401                                   FOOD SERVICE DEPARTMENT        26920 PIONEER HIGHWAY                                                        STANWOOD           WA           98292
    STAPLES                                                                500 STAPLES DRIVE                                                            FRAMINGHAM         MA           01702
    STAPLES BUSINESS ADVANTAGE                                             DEPT BOS PO BOX 415256                                                       BOSTON             MA           02241
    STAR BRIGHT BOOKS                       ATTN CHRISTINA TRENT           24-16 QUEENS PLAZA SOUTH                                                     LONG ISLAND CITY   NY           11101
    STAR COMMUNITY NEWSPAPERS                                              P O BOX 860248                                                               PLANO              TX           75086-0248
    STARK COMPANY                                                          432 W ALLEGHENY AVENUE                                                       PHILADELPHIA       PA           19133
    STARK COUNTY EDUCATIONAL
    SERVICE CE                                                             2100 38TH STREET, NW                                                         CANTON             OH           44709
    STARLINE GROUP                                                         180 TEATICKET HIGHWAY                                                        EAST FALMOUTH      MA           02536
    Starr Harris                                                           1432 NW 61ST STREET                                                          SEATTLE            WA           98107
    STARWOOD HOTEL & RESORTS
    WORLDWIDE INC                           DBA W NEW ORLEANS              333 POYDRAS STREET                                                           NEW ORLEANS        LA           70130
    STARWOOD HOTELS & RESORTS               DBA SHERATON SOCIETY HILL
    WORLDWIDE                               HOTEL                          1 DOCK STREET                                                                PHILADELPHIA       PA           19106
    STARYKON PRODUCTIONS, INC                                              P.O. BOX 851                                                                 MERCER ISLAND      WA           98040
    STATE COLLEGE AREA SCHOOL
    DISTRICT                                ATTN KAREN MCKINNEY            131 WEST NITTANY AVE                                                         STATE COLLEGE      PA           16801
    STATE COLLEGE OF FLORIDA                MANATEE COMMUNITY COLLEGE      5840 26TH STREET WEST                                                        BRADENTON          FL           34207



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                   7/15/2012
Case No. 12-12171 (REG)                                                                                                 420 of 488                                                                                      1:26 PM
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                                                                                                                     428 Matrix
                                                                                                                             of 519
                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                         Address2                         Address3                        City        State       Zip      Country
    State Comptroller                                                        111 E. 7th Street                                                                                   Austin              TX           78774-0100
    STATE COMPTROLLER                                                        PO BOX 12247                                                                                        AUSTIN              TX           78711-2247
    State Corporation Commission            Clerks Office                    PO Box 7607                                                                                         Merrifield          VA           22116-7607
    State Dept. of Assessments/Tax          Personal Property Division       PO Box 17052                                                                                        Baltimore           MD           21297-1052

    STATE EDUCATIONAL TECHNOLOGY DIRECTORS ASSOCIATION                       P O BOX 10                                                                                          GLEN BURNIE         MD           21060
    STATE FARM INSURANCE CO                                                  ONE STATE FARM PLAZA                                                                                BLOOMINGTON         IL           61710
    STATE FIREMENS & FIRE MARSHALS
    ASSN                           TEXAS WILDFIRE RELIEF FUND                P O BOX 12275                                                                                       AUSTIN              TX           78711
    STATE FIREMENS & FIRE MARSHALS
    ASSN                           OF TEXAS                                  P O BOX 12275                                                                                       AUSTIN              TX           78711

    STATE HISTORICAL SOCIETY OF MO                                           1020 LOWRY STREET                                                                                   COLUMBIA            MO           65201
    STATE INDUSTRIAL PRODUCTS                                                PO BOX 74189                                                                                        CLEVELAND           OH           44194
                                 PA HISTORICAL & MUSEUM
    STATE MUSEUM OF PENNSYLVANIA COMMISSION                                  PLAZA, 400 NORTH STREET                                                                             HARRISBURG          PA           17120-0053
                                                                             50 NORTH RIPLEY ST P O BOX
    STATE OF ALABAMA                        DEPARTMENT OF EDUCATION          302101                                                                                              MONTGOMERY          AL           36130-2101
    STATE OF ALABAMA DEPT. OF
    FINANCE                                 OFFICE OF STATE COMPTROLLER      2 N JACKSON STREET STE 301                                                                          MONTGOMERY          AL           36104
    State of Alaska                         Corporations Section             PO Box 110808                                                                                       Juneau              AK           99811
    STATE OF ALASKA                         BUSINESS LICENSING RENEWAL       PO BOX 110806                                                                                       JUNEAU              AK           99811
                                            DBA ARIZONA EXPOSITION & STATE
    STATE OF ARIZONA                        FAIR                             1826 W MCDOWELL RD                                                                                  PHOENIX             AZ           85007
    State of Arkansas                       Secretary of State               1401 W. Capitol                  250 Victory Building                                               Little Rock         AR           72201
    STATE OF ARKANSAS                       DBA ARKANSAS INSURANCE DEPT      1200 WEST THIRD STREET                                                                              LITTLE ROCK         AR           72201-1904
                                                                                                              BUREAU OF ACCOUNTING &
    STATE OF CALIFORNIA                     UNCLAIMED PROPERTY DIVISION      P O BOX 942850                   SPECIAL OPS                                                        SACRAMENTO          CA           94250-5873

    STATE OF CALIFORNIA                     SECREATARY OF STATE              1500 11TH STREET                 STATEMENT OF INFORMATION UNIT                                      SACRAMENTO          CA           95814
    State of California                     Franchise Tax Board              P.O. Box 942857                                                                                     Sacramento          CA           94257-0511
    STATE OF CALIFORNIA                     FRANCHISE TAX BOARD              P O BOX 942867                                                                                      SACRAMENTO          CA           94267-0011
                                                                             455 GOLDEN GATE AVENUE, STE
    STATE OF CALIFORNIA                     ATTORNEY GENERAL                 11000                                                                                               SACRAMENTO          CA           94102-3664

    STATE OF CALIFORNIA                                                      1500 11TH STREET                 STATEMENT OF INFORMATION UNIT                                      SACRAMENTO          CA           95814
                                                                             455 GOLDEN GATE AVENUE, STE
    STATE OF CALIFORNIA                                                      11000                                                                                               SACRAMENTO          CA           94102-3664
                                                                                                              BUREAU OF ACCOUNTING &
    STATE OF CALIFORNIA                                                      P O BOX 942850                   SPECIAL OPS                                                        SACRAMENTO          CA           94250-5873
    STATE OF CONNECTICUT                    DEPT OF REVENUE SERVICES         P O BOX 5030                                                                                        HARTFORD            CT           06102-5030
    STATE OF CONNECTICUT JUDICIAL
    BRANCH                                  CLIENT SECURITY FUND             P O BOX 1379                                                                                        HARTFORD            CT           06143-1379
    State of Delaware                       Secretary of State               401 Federal Street               Suite 4                                                            Dover               DE           19901
    State of Delaware                       Dept. of Finance                 820 N. French Street                                                                                Wilmington          DE           19801
                                                                                                                                                   NEW CASTLE COUNTY COURT
    STATE OF DELAWARE                       DEPARTMENT OF LABOR              500 N KING STREET                                                     HOUSE                         WILMINGTON          DE           19801
                                            DEPARTMENT OF ENVIRONMENTAL
    STATE OF FLORIDA                        PROTECTION                       PO BOX 3070                                                                                         TALLAHASSEE         FL           32315
    State of Hawaii                         Dept. of Commerce                PO Box 40                                                                                           Honolulu            HI           96810
    STATE OF IDAHO                          DEPARTMENT OF EDUCATION          650 WEST STATE STREET 2ND FL                                                                        BOISE               ID           83702
    STATE OF IDAHO                          ATTN VAL FENSKE                  650 WEST STATE STREET 2ND FL                                                                        BOISE               ID           83702
    STATE OF IL JESSE WHITE
    SECRETARY OF                            STATE - CORP ANNUAL RPT          501 S 2ND ST                                                                                        SPRINGFIELD         IL           62756-5510
                                            OFFICE OF THE ATTORNEY
    STATE OF INDIANA                        GENERAL                          35 SOUTH PARK BLVD                                                    UNCLAIMED PROPERTY DIVISION   GREENWOOD           IN           46143
    STATE OF INDIANA                        INDIANA HISTORIC BUREAU          140 N SENATE AVENUE                                                                                 INDIANAPOLIS        IN           46204
    STATE OF INDIANA                                                         35 SOUTH PARK BLVD                                                    UNCLAIMED PROPERTY DIVISION   GREENWOOD           IN           46143
    STATE OF IOWA - TREASURER               IOWA DEPARTMENT OF REVENUE       1305 E WALNUT STREET                                                                                DES MOINES          IA           50319
                                            CORP TAX RTN PROCESSING, IA
    STATE OF IOWA TREASURER                 DOR                              P O BOX 10468                                                                                       DES MOINES          IA           50306-0468
    State of Louisiana                                                       PO Box 94125                                                                                        Baton Rouge         LA           70804
    STATE OF MAINE TREASURER                MAINE REVENUE SERVICES           P O BOX 1062                                                                                        AUGUSTA             ME           04332-1062
    STATE OF MAINE TREASURER                                                 35 STATE HOUSE STATION                                                                              AUGUSTA             ME           04333-0035
    STATE OF MAINE TREASURER                                                 P O BOX 1062                                                                                        AUGUSTA             ME           04332-1062
    STATE OF MARYLAND                       PERSONAL PROPERTY DIVISION       301 WEST PRESTON STREET                                               ROOM 801                      BALTIMORE           MD           21201
    STATE OF MARYLAND INTNL
    READING ASSN                            COUNCIL                          16115 JERALD ROAD                                                                                   LAUREL              MD           20707
    STATE OF MARYLAND INTNL
    READING ASSN                            ATTN EILEEN HALL                 16115 JERALD ROAD                                                                                   LAUREL              MD           20707



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                       421 of 488                                                                                                   1:26 PM
                                                      12-12171-reg                  Doc 136              Filed 07/15/12 Exhibit
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                                                                                                                   Pg Creditor
                                                                                                                       429 Matrix
                                                                                                                               of 519
                                                                                                                           First Class Service List


                 CreditorName                        CreditorNoticeName                    Address1                           Address2                           Address3               City        State       Zip              Country
                                            DEPT OF LICENSING & REGULATORY                                         BUREAU OF COMM SRVCS - CORP
    STATE OF MICHIGAN                       AFFAIRS                        PO BOX 30702                            DIVISION                                                 LANSING            MI           48909
    State of Michigan                       Dept of Labor &Economic Growth Corp. Division, PO Box 30702                                                                     Lansing            MI           48909-8202

    STATE OF MICHIGAN                       DEPARTMENT OF TRESURY                 2975 WESTCHESTER AVE SUITE 404                                                            PURCHASE           NY           10577
                                                                                                                   BUREAU OF COMM SRVCS - CORP
    STATE OF MICHIGAN                                                             PO BOX 30702                     DIVISION                                                 LANSING            MI           48909
    STATE OF MICHIGAN                                                             P.O. BOX 77003                                                                            DETROIT            MI           48277
    State of Montana                        Secretary of State                    PO Box 202801                                                                             Helena             MT           59620-2801
    STATE OF MONTANA                        MONTANA HISTORICAL SOCIETY            225 N ROBERTS PO BOX 201201                                                               HELENA             MT           59620-1201
                                            DBA OFFICE OF PUBLIC
    STATE OF MONTANA                        INSTRUCTION                           ATTN JUDY SNOW PO BOX 202501                                                              HELENA             MT           59620
    STATE OF MONTANA                                                              225 N ROBERTS PO BOX 201201                                                               HELENA             MT           59620-1201
    STATE OF MONTANA                                                              ATTN JUDY SNOW PO BOX 202501                                                              HELENA             MT           59620
    STATE OF NEVADA                         SALES/USE TAX                         PO BOX 52609                                                                              PHOENIX            AZ           85072
    State of Nevada                         AR Payments                           P.O. Box 52685                                                                            Phoenix            AZ           85072
    STATE OF NEVADA                                                               PO BOX 52609                                                                              PHOENIX            AZ           85072
    STATE OF NEVADA BUSINESS
    LICSNSE RENEWAL                                                               PO BOX 52614                                                                              PHOENIX            AZ           85072
    STATE OF NEW HAMPSHIRE                  STATE HOUSE                           SECRETARY OF STATE                                                                        CONCORD            NH           03301
    STATE OF NEW HAMPSHIRE                                                        PO BOX 637                                                                                CONCORD            NH           03302
    STATE OF NEW HAMPSHIRE                                                        SECRETARY OF STATE                                                                        CONCORD            NH           03301
    STATE OF NEW JERSEY                     DIVISION OF TAXATION                  REVENUE PROCESSING CENTER                                                                 TRENTON            NJ           08646-0248
    STATE OF NEW JERSEY                     DIVISION OF FIRE SAFETY               P O BOX 809                                                                               TRENTON            NJ           08625-0809
                                            DEPT OF TREASURY, UNCLAIMED
    STATE OF NEW JERSEY                     PROPERTY                              PO BOX 214                                                                                TRENTON            NJ           08695-0214
    State of New Jersey                     Dept of Treasury - Div of Contracts   PO Box 206                                                                                Trenton            NJ           08625-0206
    STATE OF NEW JERSEY                     CORP BUSINESS TAX                     CN 666                                                                                    TRENTON            NJ           08646
    STATE OF NEW JERSEY                                                           PO BOX 214                                                                                TRENTON            NJ           08695-0214
    STATE OF NEW JERSEY                                                           P O BOX 809                                                                               TRENTON            NJ           08625-0809
    STATE OF NEW JERSEY                                                           REVENUE PROCESSING CENTER                                                                 TRENTON            NJ           08646-0248
                                            PALACE OF THE GOVERNORS
    STATE OF NEW MEXICO                     PHOTO ARCHIVES                        P O BOX 2087                     PHOTO ARCHIVES                                           SANTA FE           NM           87504-2087
    STATE OF NEW MEXICO                     MUSEUM OF NEW MEXICO                  725 CAMINO LEJO                                                                           SANTA FE           NM           87505
    STATE OF NEW MEXICO                                                           P O BOX 2087                     PHOTO ARCHIVES                                           SANTA FE           NM           87504-2087
    State of NJ-Div of Taxation             Revenue Processing Center             PO Box 193                                                                                Trenton            NJ           08646-0193
    State of North Carolina                 Eprocurement                          PO Box 752167                                                                             Charlotte          NC           28275-2167
    STATE OF NORTH CAROLINA -
    EPROC                                                                         PO BOX 752167                                                                             CHARLOTTE          NC           28275-2167
                                            DEPARTMENT OF PUBLIC
    STATE OF NORTH DAKOTA                   INSTRUCTION                           600 E BLVD AVE DEPT 201                                                                   BISMARCK           ND           58505-0440
    State of North Dakota                                                         600 E. Boulevard Ave             Det 127                                                  Bismarck           ND           58505
    STATE OF OHIO                                                                 35 EAST CHESTNUT ST 8TH FL       ETECH OHIO/EXHIBIT HALL MNGMT                            COLUMBUS           OH           43215
                                            SAM NOBLE OK MUSEUM - NATURAL
    STATE OF OKLAHOMA                       HISTORY                       2401 CHANTANGUA                                                                                   NORMAN             OK           73072
    STATE OF OKLAHOMA DEPT OF
    CENTRAL S                               E                                     2401 N LINCOLN BLVD                                                                       OKLAHOMA           OK           73105-4402
    STATE OF OKLAHOMA DEPT OF
    CENTRAL S                               CENTREL PURCHASING DIVISION           PO BOX 528803                                                                             OKLAHOMA CITY      OK           73152-8803
    STATE OF OKLAHOMA DEPT OF
    CENTRAL S                                                                     2401 N LINCOLN BLVD                                                                       OKLAHOMA           OK           73105-4402
    STATE OF OKLAHOMA DEPT OF
    CENTRAL S                                                                     PO BOX 528803                                                                             OKLAHOMA CITY      OK           73152-8803
    STATE OF OREGON                         DEPARTMENT OF EDUCATION               255 CAPITOL STREET NE                                               ATTN CONNIE FLOWERS   SALEM              OR           97310

    STATE OF QATAR - FINANCE OFFICE                                               P.O. BOX 22257                   SPRM COUNCIL FAMILY AFFAIRS                              DOHA                                         Qatar
    STATE OF RHODE ISLAND           DIVISION OF TAXATION                          DEPT # 88 P O BOX 9702                                                                    PROVIDENCE         RI           02940-9702
    State of South Carolina         Secretary of State                            PO Box 11350                                                                              Columbia           SC           29211
                                    SCSDB - ATTN ACCOUNTS
    STATE OF SOUTH CAROLINA         RECEIVABLE                                    355 CEDAR SPRING ROAD                                                                     SPARTANBURG        SC           29302-4699
    State of Tennessee              Corporate Filings                             312 Eighth Ave North             6th Floor, Snodgrass Tower                               Nashvilee          TN           37243
    STATE OF TENNESSEE - DEPT OF    ANDREW JOHNSON TOWER 5TH
    EDUCATION                       FLOOR                                         710 JAMES ROBERTSON PARKWAY                                                               NASHVILLE          TN           37243
                                    DBA STAFF DEVELOPMENT
    STATE OF THE ART SEMINARS INC RESOURCES                                       36605 PALMDALE RD                                                                         RANCHO MIRAGE      CA           92270
    STATE OF WASHINGTON             BUSINESS LICENSING SERVICE                    PO BOX 34456                                                                              SEATTLE            WA           98124-1456
    STATE OF WEST VIRGINIA          2019 WASHINGTON STREET EAST                   PO BOX 50130                                                                              CHARLESTON         WV           25305
    STATE OF WISCONSIN              WISCONSIN HISTORICAL SOCIETY                  816 STATE STREET                                                    ATTN DIANE DREXLER    MADISON            WI           53706-1482
    STATE OF WYOMING                WORKERS COMPENSATION                          1510 E PERSHING BLVD                                                                      CHEYENNE           WY           82002




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                           422 of 488                                                                                                 1:26 PM
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                                                                                                                    First Class Service List


                 CreditorName                         CreditorNoticeName               Address1                          Address2                         Address3                     City        State       Zip               Country
                                                                           HERSCHLER BLDG, 122 WEST 25TH
    STATE OF WYOMING                        DEPARTMENT OF REVENUE          ST                                                                                            CHEYENNE             WY           82002-0110
    STATE OF WYOMING                                                       1510 E PERSHING BLVD                                                                          CHEYENNE             WY           82002
                                                                           HERSCHLER BLDG, 122 WEST 25TH
    STATE OF WYOMING                                                       ST                                                                                            CHEYENNE             WY           82002-0110
    STATE PRESERVATION BOARD                                               P O BOX 13286                                                                                 AUSTIN               TX           78711
    STATE PUBLIC REGULATION
    COMMISSION                              CORPORATION BUREAU             P O BOX 1269                                                                                  SANTA FE             NM           87504-1269
    State Street Global Advisors            Tom Francis                    801 Pennsylvania                                                                              Kansas City          MO           64105
    STATE TAX COMMISSION                    SALES AND USE TAX DIVISION     P.O. BOX 960                                                                                  JACKSON              MS           39205-0960
    State Tax Commission                    Office of Revenue              PO Box 23050                                                                                  Jackson              MS           39225-3050
    STATE TAX COMMISSION                                                   P.O. BOX 960                                                                                  JACKSON              MS           39205-0960

    STATE TREASURER                         STATE OF TENNESSEE             710 JAMES ROBERTSON PARKWAY                                                                   NASHVILLE            TN           37243
    STATE TREASURER                         MAIN REVENUE SERVICES          P O BOX 1065                                                                                  AUGUSTA              ME           04332-1065
    STATE TREASURER                         DEPARTMENT OF LICENSING        PO BOX 9034                                                         MASTER LICENSE SERVICES   OLYMPIA              WA           98507-9034
    STATE TREASURER                         DEPARTMENT OF LICENSING        PO BOX 9048                                                         MASTER LICENSE SERVICE    OLYMPIA              WA           98507-9048

    STATE TREASURER                                                        710 JAMES ROBERTSON PARKWAY                                                                   NASHVILLE            TN           37243
    STATE TREASURER                                                        P O BOX 1065                                                                                  AUGUSTA              ME           04332-1065
    STATE TREASURER                                                        PO BOX 9034                                                         MASTER LICENSE SERVICES   OLYMPIA              WA           98507-9034
    STATE TREASURER                                                        PO BOX 9048                                                         MASTER LICENSE SERVICE    OLYMPIA              WA           98507-9048
                                                                           22 CORPORATE WOODS BLVD 3RD
    STATE UNIV OF NEW YORK PRESS                                           FL                              ATTN JENNIE DOLING                                            ALBANY               NY           12211-2504
    STATE UNIVERSITY                                                       THE COLLEGE STORE HEWITT
    COLLEGE/OSWEGO                                                         UNION                                                                                         OSWEGO               NY           13126
    STATE UNIVERSITY OF IOWA                IOWA TESTING PROGRAMS          334 LINDQUIST CENTER                                                                          IOWA CITY            IA           52242
    STATEN ISLAND READING
    ASSOCIATION                             DBA SIRA                       60 HOOPER AVENUE                                                                              STATEN ISLAND        NY           10306
    STATEN ISLAND READING
    ASSOCIATION                             ATTN ROSEMARIE LETO            60 HOOPER AVENUE                                                                              STATEN ISLAND        NY           10306
    STATEPOINT MEDIA INC                                                   215 LEXINGTON AVE 17TH FL                                                                     NEW YORK             NY           10016
    STAUGHTON LYND                                                         1694 TIMBERS COURT                                                                            NILES                OH           44446
    STAVANS ILAN                                                           40 ORCHARD STREET                                                                             AMHERST              MA           01002
    STAYWELL CUSTOM
    COMMUNICATIONS LLC                                                     P O BOX 759                                                                                   MORRISVILLE          PA           19067

    STEAD CONSULTING SERVICES LLC           ATTN ANTHONY STEAD             227-18 88TH AVENUE                                                                            QUEENS VILLAGE       NY           11427
    STEADMAN PRODUCTIONS INC                                               119 BRAINTREE STREET, STE 207                                                                 BOSTON               MA           02134
    STEARNS PETER N                         GEORGE MASON UNIVERSITY        4400 UNIVERSITY DRIVE RM D101                                                                 FAIRFAX              VA           22030
    STEBBINS ROBERT C                                                      455 ALEXANDER LOOP APT 356                                                                    EUGENE               OR           97401-6587
    STEELY DONALD G                                                        31952 BOBCAT LANE                                                                             EUGENE               OR           97405
    STEFAN A SCHROTER                       DBA APD BAR SERVICE            P O BOX 335                                                                                   NEWTON               MA           02464
    STEFAN CHWIN                                                           UL AMUNDSENA 5 C 31                                                                           GDANSK                            80-288       Poland
    STEFAN MALLETTE                                                        31 WALNUT STREET APT. 14                                                                      SOMERVILLE           MA           02143
    STEFAN NIKOLOV                                                         6609 S KIMBARK AVE                                                                            CHICAGO              IL           60637
    Stefan Stefansson                                                      10725 Quarry Oaks Trl                                                                         Austin               TX           78717
    Stefanie D Pollitt                                                     123 Katrin Circle North                                                                       New Castle           DE           19720
    Stefanie Finlayson                                                     13 Mount Vernon Street          Unit 1                                                        Charlestown          MA           02129
    Stefanie Tam                                                           40 Railroad Ave                 Apt 7                                                         Beverly              MA           01915
    STEFANO SALIMBENI                                                      11 DOUGLAS AVENUE                                                                             SOMERVILLE           MA           02145
    STEIDL                                                                 DUESTERE STRASSE 4                                                                            GOETTINGEN                        37073        Germany
    STEIDL VERLAG                           ATTN JAN MENKENS               DUESTERE STRASSE 4                                                                            GOETTINGEN                        37073        Germany
    STEINER ELECTRIC CO                                                    2665 PAYSPHERE CIR                                                                            CHICAGO              IL           60674
    STELLA CONNELL                          DBA THE CONNELL AGENCY         707 UNIVERSITY AVE, STE 4                                                                     OXFORD               MS           38655
    Stella D Perry                                                         8001 Persimmon Trail                                                                          Austin               TX           78745
    Stella Diffenderfer                                                    190 Castlewood Circle                                                                         Hyannis              MA           02601
    Stella Easland                                                         323 Pond St                                                                                   Westwood             MA           02090
    STELLA KALAW                            DBA KALAW PHOTOGRAPHY          35 LOOP 22                                                                                    EMERYVILLE           CA           94608
    STELLA PAULETTE GRADY                                                  1195 ANTHONY LANE                                                                             MASON                OH           45040
    Stella Roqueblave                                                      28322 Alton Way                                                                               Castaic              CA           91384
    STEPHAN BRITT                                                          1638 SE KNIGHT STREET APT 11                                                                  PORTLAND             OR           97202
    Stephane Serre                                                         2840 Peachtree Road, #503       503                                                           Atlanta              GA           30305
    STEPHANIE A LETSON                                                     1888 GENEVA AVE # 810                                                                         SAN FRANCISCO        CA           94134
    Stephanie A Mitchell                                                   5312 Millenia Blvd.             Apt. 2407                                                     Orlando              FL           32839
    Stephanie Adams                                                        7701 TURNBERRY LANE                                                                           DALLAS               TX           75248
    STEPHANIE ANN STEELE                                                   4515 OAK SHORES DRIVE                                                                         PLANO                TX           75024
    STEPHANIE B GARRIS                                                     1555 S ALPINE ST                                                                              CORNELIUS            OR           97113
    STEPHANIE B MITCHELL                                                   PO BOX 116                                                                                    BAMBERG              SC           29003
    Stephanie Bonica                                                       125 Cottage Street                                                                            Norwood              MA           02062



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   423 of 488                                                                                                         1:26 PM
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                                                                                                                     of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2                         Address3                  City          State       Zip            Country
    Stephanie C Vajda                                                      2529 S Cherry St                                                                              Denver              CO             80222
    STEPHANIE CARMEL                                                       42 GAY STREET                                                                                 MARLBOROUGH         MA             01752
    STEPHANIE CLEM                                                         319 DORCHESTER DRIVE                                                                          VENICE              FL             34293
    STEPHANIE D ST JOSEPH                                                  4425 TRAPPER CT                                                                               GASTONIA            NC             28056
    Stephanie E Lafferty                                                   1713 Martin Rd                                                                                Wall Twp            NJ             07753
    Stephanie E Tucker                                                     71 Prospect Street                                                                            Portsmouth          NH             03801
    Stephanie Eichner                                                      730 Sw 62nd Ave                                                                               Plantation          FL             33317
    STEPHANIE FARRIS                                                       712 ELGIN ST                                                                                  CHERRY VALLEY       IL             61016
    Stephanie Filas                                                        799 Royal St George Dr.          Apt 514                                                      Naperville          IL             60563
    Stephanie Friedman                                                     5417 Shoalwood Avenue                                                                         Austin              TX             78756
    Stephanie Gertz                                                        71 Bates Way                                                                                  Hanover             MA             02339
    STEPHANIE HARVEY CONSULTING                                            55 ASH STREET                                                                                 DENVER              CO             80220
    Stephanie J Mette                                                      668 Bay Shore Drive                                                                           Pingree Grove       IL             60140
    STEPHANIE J QUATE                                                      2420 RALEIGH ST                                                                               DENVER              CO             80212
    Stephanie L Bize                                                       6094 Peregrine Ave                                                                            Orlando             FL             32819
    STEPHANIE L GORDON                                                     3825 WEATHER VANE DR                                                                          COLORADO SPRINGS    CO             80920
    Stephanie L Klatt                                                      627 Carriage Hill Drive                                                                       Glenview            IL             60025
    Stephanie Levy                                                         736 Fremont Rd                                                                                Chester             NH             03036
    STEPHANIE MARIE BROOKS                                                 EL ALTO DE GUADALUPE                                                                          SAN JOSE                                        Costa Rica
    STEPHANIE MAZE                                                         6433 ROCK FOREST DR, APT 401     MAZE PRODUCTIONS                                             BETHESDA            MD             20817-7885
    Stephanie Mc Laughlin                                                  20 Ravine Rd.                                                                                 Pawling             NY             12564
    STEPHANIE MCNEILL HORTON                                               4265 KINGSVIEW LN N                                                                           PLYMOUTH            MN             55446
    Stephanie Mead                                                         13355 US Hwy 183                 Apt. 1022                                                    Austin              TX             78750
    Stephanie N Reyes                                                      8380 Barnstable Place                                                                         Orlando             FL             32827
    STEPHANIE PAGGI                                                        8285 ROMA DRIVE                                                                               HUNTINGTON BEACH    CA             92646
    STEPHANIE PARSONS                                                      83 SUMMIT ST 1                                                                                BROOKLYN            NY             11231
    STEPHANIE PETRIE                                                       2529 S SHADY KNOLL LN                                                                         FLAGSTAFF           AZ             86001
    STEPHANIE R DILLON                                                     4223 LOUVINIA DRIVE                                                                           TALLAHASSEE         FL             32311
    STEPHANIE R JONES                                                      225 CAMBRIDGE DR                 UNIVERSITY OF GEORGIA                                        ATHENS              GA             30606
    Stephanie R Phelps                                                     1423 Old Hwy 12                                                                               Starkville          MS             39759
    Stephanie Schafer                                                      80 Sutherland Rd                 Apt 12                                                       Brighton            MA             02135
    Stephanie Simpson                                                      420 S Bear Creek Rd                                                                           Liberty Hill        TX             78642
    Stephanie Smith                                                        586 Beechwood Road                                                                            Buffalo Grove       IL             60089
    STEPHANIE SOILEAU                                                      1225 LAGUNA ST                                                                                SAN FRANCISCO       CA             94115
    Stephanie Sowter                                                       12515 Washington Lane            Apt F1                                                       Englewood           CO             80112
    STEPHANIE SWOPE                         DBA SLS PHOTO                  3201 SPEEDWAY, # 3                                                                            AUSTIN              TX             78705
    Stephanie Torta                                                        44 Spruce Street                                                                              Acton               MA             01720
    STEPHANIE TURNER                                                       10721 WEST 101ST TERRACE                                                                      OVERLAND PARK       KS             66214
    STEPHANIE VAZQUEZ FLORES                                               C/ JARRANDILLA 427 EMBALSE                                                                    SAN JUAN            PR             00923
    Stephanie Viado                         Austin Parkway Elementary      4400 Austin Parkway                                                                           Sugar Land          TX             77479
    Stephanie Wilder                                                       13 CRAVEN CIRCLE                 #2                                                           WALTHAM             MA             02452
    STEPHEN ALCORN                                                         112 WEST MAIN ST                                                                              CAMBRIDGE           NY             12816
    STEPHEN ANDREW ROBERTS                                                 1108 LORIMER ST # 3                                                                           BROOKLYN            NY             11222
    Stephen B Houston                                                      2907 Edgewood Lane                                                                            Colleyville         TX             76034
    STEPHEN BAKER                                                          126 MT HEBRON ROAD                                                                            MONCLAIR            NJ             07043
    STEPHEN BAKER MEDIA LTD                                                126 MT HEBRON ROAD                                                                            MONTCLAIR           NJ             07043
    STEPHEN BAX                                                            37 SAINT AUGUSTINES ROAD                                                                      CANTERBURY          Kent           CT1 1XR      United Kingdom
    Stephen Berman                                                         Rt 2 Box 248                                                                                  Whitewater          WI             53190
    Stephen Birnie                                                         11 River Edge Road                                                                            Mansfield           MA             02048
    STEPHEN CARY                                                           3608 REPOSO WAY                                                                               BELMONT             CA             94002
    STEPHEN CODY                                                           83 BLAZE ROAD                                                                                 NEW BEDFORD         MA             02745
    STEPHEN CRADDOCK TOOLE                                                 1610 NEWTON STREET                                                                            AUSTIN              TX             78758
                                                                                                                                                 INST FOR HEALTH/AGING
    STEPHEN CRYSTAL                                                        112 PATERSON ST 3RD FL RM 315A                                        RESEARCH                NEW BRUNSWICK       NJ             08901
    STEPHEN CURRIE                                                         32 SOUTH GRAND AVE                                                                            POUGHKEEPSIE        NY             12603
    Stephen D Gilmer                                                       5275 High Park Lane                                                                           Orlando             FL             32814
    STEPHEN D KRASHEN                                                      23852 PACIFIC COAST HWY #919                                                                  MALIBU              CA             90265
                                            DBA STEPHEN DURKE
    STEPHEN DURKE                           ILLUSTRATIONS                  134 NORTH DRIVE                                                                               SAN ANTONIO         TX             78201
    STEPHEN E HUNT                                                         440 LIBERTY LANE                                                                              MARLTON             NJ             08053
    Stephen E Tapp                                                         9 Cabot Street                                                                                Winchester          MA             01890
    STEPHEN ELLIOTT                                                        490 2ND STREET #200                                                                           SAN FRANCISCO       CA             94107
    STEPHEN FRINK PHOTOGRAPHIC                                             P O BOX 2720                                                                                  KEY LARGO           FL             33037
    Stephen Frost                                                          26 HACKBERRY ST.                                                                              LAPLACE             LA             70068
    STEPHEN GAMMELL                                                        2395 UNIVERSITY AVENUE           ROOM 212                                                     SAINT PAUL          MN             55114
    STEPHEN GLEASON                         STEPHEN GLEASON DESIGN         250 WHITEWALL STREET UNIT 7                                                                   QUINCY              MA             02169
    Stephen Goss                                                           27 Joseph St                     Apt 1                                                        Somerville          MA             02143
    STEPHEN HAKE                                                           10662 LORA STREET                                                                             TEMPLE CITY         CA             91780
    Stephen J Cotter                                                       452 Main St # 6                  #6                                                           Melrose             MA             02176
    STEPHEN J KRON                                                         611 FAIR OAKS AVENUE                                                                          OAK PARK            IL             60302



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     424 of 488                                                                                                      1:26 PM
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                                                                                                                       of 519
                                                                                                                     First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                        Address2                        Address3             City              State       Zip             Country
    Stephen Jaeger                                                          1149 Paper Fig Court                                                                       Sanibel            FL             33957
    STEPHEN JAMES ASSOC                                                     14179 COLLECTION CENTER DR                                                                 CHICAGO            IL             60693
    STEPHEN JOHNSON                                                         1329 INVERNESS DRIVE                                                                       LAWRENCE           KS             66049
                                            C/O ARTHUR B GREENE AND
    STEPHEN KING                            COMPANY                         101 PARK AVE                                                                               NEW YORK           NY             10178
                                            EDYTHEA GINIS SELMAN LITERARY
    STEPHEN KRAMER                          AGENCY INC                      14 WASHINGTON PLACE                                                                        NEW YORK           NY             10003
    STEPHEN KRENSKY                         C/O GERSH AGENCY                41 MADISON AVENUE 8-G                                                                      NEW YORK           NY             10010
    Stephen Kwan                                                            34 Scandinavia ave                                                                         Worcester          MA             01603
    STEPHEN M HONG                                                          660 MCHENRY RD # 201                                                                       WHEELING           IL             60090
    Stephen M Quinn                                                         72 President Ave.                                                                          Providence         RI             02906
    Stephen M Waldron                                                       208 Canterbury Drive                                                                       Wallingford        PA             19086
    STEPHEN MARCHESI                                                        4 JOSEPH WALLACE DRIVE                                                                     CROTON ON HUDSON   NY             10520
    Stephen McLaughlin                                                      3 Inskeep Ct                                                                               Shamong            NJ             08088
    STEPHEN MIESCHER                                                        HISTORY DEPARTMENT               UNIVERSITY OF CALIFORNIA                                  SANTA BARBARA      CA             93106
    Stephen Nesser                                                          321 Derrick Ave                                                                            Uniontown          PA             15401
    STEPHEN NOWICKI                                                         5620 WILLET ROAD                                                                           DURHAM             NC             27705
    Stephen Ostrom                                                          100 W. Grant Street              5080                                                      Orlando            FL             32806
    STEPHEN P BREEN                                                         P O BOX 120191                   SAN DIEGO UNION - TRIBUNE                                 SAN DIEGO          CA             92112-0191
    Stephen Pekich                                                          18 Winter Street                                                                           Arlington          MA             02474
    STEPHEN PEREPELUK                                                       101 WEST 12TH ST 10K                                                                       NEW YORK           NY             10011
    Stephen Pyne                                                            178 E Bare Hill Rd.                                                                        Harvard            MA             01451
    STEPHEN R CAMPBELL                                                      8888 UNIVERSITY DRIVE            SIMON FRASER UNIV                  FACULTY OF EDUCATION   BURNABY            BC             V5A 1S6      Canada
    STEPHEN R SWINBURNE                                                     PO BOX 2005                      MAIN STREET                                               S LONDONDERRY      VT             05155
    Stephen Rosston                                                         23212 Ostronic Dr.                                                                         Woodland Hills     CA             91367
    Stephen Skarupa                                                         1704 Kiva Road                                                                             Silver Spring      MD             20905
    STEPHEN SNIDER                                                          38 BLOOMSGROVE AVENUE                                                                      PORT HOPE          ON             L1A 1X4      Canada
    STEPHEN T LANGER                                                        28 STURBRIDGE RD                                                                           WELLESLEY          MA             02481
    STEPHEN TCHUDI                                                          10846 NELSON BAR ROAD                                                                      OROVILLE           CA             95965
    Stephen Ventura Consulting Inc                                          1645 Grenache Way                                                                          Templeton          CA             93465
    Stephen W Anderson                                                      18081 Midway Rd                  #2018                                                     Dallas             TX             75287
    STEPHEN W JENKINS                                                       1627 5th STREET                                                                            BOULDER            CO             80302
    Stephen Waldron                                                         208 Canterbury Drive                                                                       Wallingford        PA             19086
    Stephen White                                                           10134 Jill Ave                                                                             Highlands Ranch    CO             80130
    Stephen Wirt                                                            9262 Kensington Row Ct.                                                                    Orlando            FL             32827
    STEPHENS COLLEGE BOOKSHELF              ACCOUNTS PAYABLE DEPT           1400 ROCK QUARRY CENTER Q170                                                               COLUMBIA           MO             65211
    Steptoe & Johnson
    STEPTOE & JOHNSON LLP                                                   201E WASHINGTON ST STE 1600                                                                PHOENIX            AZ             85004
    STEPTOE ANTOINE                                                         375 RIVERSIDE DR APT 9-AA                                                                  NEW YORK           NY             10025-2166
    STEPTOE BWEELA                                                          482 NOSTRAND AVE APT 1A                                                                    BROOKLYN           NY             11216
    STEPTOE JAVAKA                                                          PO BOX 330170                                                                              BROOKLYN           NY             11233
    STERICYCLE INC                                                          P O BOX 6575                                                                               CAROL STREAM       IL             60197-6575

    STERLING COMMERCE AMERICA INC                                           P O BOX 8000                                                                               DUBLIN             OH             43016
    STERLING INN INC              BEST WESTERN STERLING INN                 34911 VAN DYKE AVENUE                                                                      STERLING HEIGHTS   MI             48312

    STERLING LORD LITERISTIC INC                                            65 BLEECKER STREET 12TH FLOOR                                                              NEW YORK           NY             10012-3632
    STERLING LORD LITERISTIC INC                                            65 BLEECKER ST FLOOR 12                                                                    NEW YORK           NY             10012
    STERLING LORD LITERISTIC INC                                            65 BLEECKER STREET                                                                         NEW YORK           NY             10012-2420
    STERLING LORD LITERISTIC INC                                            65 BLEECKER STREET                                                                         NEW YORK           NY             10012-3632
    STERLING LORD LITERISTIC, INC                                           65 BLEECKER STREET               ATTN JIM RUTMAN                                           NEW YORK           NY             10012
    STERLING PARTNERS INC                   DBA PLAYS INC                   PO BOX 600160                                                                              NEWTON             MA             02460
    STERLING PAYPHONES LLC                                                  1629 WILLIAMSBRIDGE ROAD                                                                   BRONX              NY             10461
    STERLING PUBLISHING CO                                                  387 PARK AVENUE SOUTH                                                                      NEW YORK           NY             10016

    STERLING RESOURCES GROUP INC                                            330 SW 2 STREET, STE 215                                                                   FORT LAUDERDALE    FL             33312
    STERLING STUCKEY                                                        5575 INNER CIRCLE DRIVE                                                                    RIVERSIDE          CA             92506

    STERNBERG MUSEUM FOUNDATION                                             3000 STERNBERG DRIVE             FORT HAYS STATE UNIVERSITY                                HAYS               KS             67601

    STETSON UNIVERSITY BOOKSTORE                                            421 N WOODLAND BLVD, UNIT 8259                                                             DELAND             FL             32723

    STEVE AXFORD                                                            565 HOUGHLAHANS CREEKS ROAD                                                                BOOYANG            NSW            02480        Australia
    Steve Ayer                                                              522 Interlude Lane                                                                         Orlando            FL             32824
    STEVE B WILLIAMS                                                        715 HELEN STREET                                                                           MOUNT DORA         FL             32757
    STEVE BARTKOWIAK                        DBA PRO VIDEO PRODUCTIONS       13511 FAR POINT MANOR                                                                      CYPRESS            TX             77429

    STEVE BLOOM IMAGES                                                      MIDDLEFIELD HOUSE OLANTIGH RD                                                              WYE ASHFORD        Kent           TN25 5EP     United Kingdom
    Steve Danzis                                                            2304 W. Farwell Ave.          Apt. 2                                                       Chicago            IL             60645
    STEVE DE JARNATT                                                        2747 GLENDON AVE                                                                           LOS ANGELES        CA             90064



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                    425 of 488                                                                                                    1:26 PM
                                                      12-12171-reg            Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                        of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2              Address3            City          State       Zip           Country
    STEVE G PALLAY                                                         250 SCARLETT RD APT 513                                                          TORONTO           ON           M6N 4X5      Canada
    STEVE GANDY                                                            10201 TREASURE ISLAND                                                            AUSTIN            TX           78730
    STEVE GRANDY                                                           10201 TREASURE ISLAND DR                                                         AUSTIN            TX           78730
    STEVE JACOB                                                            72 KINGS HWY                                                                     HAMPTON BEACH     NH           03842
    Steve Johnson Consulting                                               16255 E. Villanova Pl.                                                           AURORA            CO           80013
    STEVE LIPFSKY                           DBA LIPOFSKY PHOTOGRAPHY       59 ROBBE FARM ROAD                                                               PETERBOROUGH      NH           03458
    Steve Nikolovski                                                       2 Lost Meadow Cove                                                               Austin            TX           78738
    STEVE PHELAN                                                           PO BOX 70821                                                                     LAS VEGAS         NV           89170
    Steve Riecks                                                           17034 Vineland Drive                                                             Parker            CO           80134
    STEVE ROMLEY                                                           740 FOUNTAINHEAD CT                                                              SAN RAMON         CA           94583
    STEVE SPANGLER INC                                                     4400 S FEDERAL BLVD                                                              ENGLEWOOD         CO           80110
    STEVE THOMAS FOSS                       DBA STEVE FOSS IMAGES          57 W CHANDLER STREET                                                             ELY               MN           55731
    STEVE THORNTON                                                         P O BOX 669125                                                                   MARIETTA          GA           30066
                                            DBA MOUNTAIN MAGIC
    STEVE WARBLE                            PHOTOGRAPHY                    4N545 CITATION LANE                                                              ELBURN            IL           60119
                                            DBA STEVE WILKINGS
    STEVE WILKINGS                          PHOTOGRAPHY                    P O BOX 4290                                                                     MISSION VIEJO     CA           92690-4290
    STEVEN A LIGHT                                                         305 EAST 24TH ST, APT 7J                                                         NEW YORK          NY           10010
    Steven Allspaw                                                         13671 OLD OAK DR                                                                 FISHERS           IN           46038
    STEVEN B DANIELS                        DBA THE BOOK HOUSE             4508 ARMOUR ROAD                                                                 COLUMBUS          GA           31904
    STEVEN B GREENBERG                                                     12104 HOFFMAN ST # 104                                                           STUDIO CITY       CA           91604
    STEVEN B HENDERSON                                                     4237 CANYON TRAILS DRIVE                                                         WICHITA FALLS     TX           76309
    Steven Baird                                                           1827 Gerneral Beauregard Avenu                                                   Baton Rouge       LA           70810
    Steven Bernier                                                         118 Jacobs Well Road                                                             Epping            NH           03042
    Steven Burack                                                          6 Ward Court                                                                     Boston            MA           02127
                                            DBA WINDING OAK & CHILDRENS LIT
    STEVEN C AND VICKI L PALMQUIST          NETWORK                         6985 CREST DRIVE                                                                MAPLE GROVE       MN           55311-3542
    Steven Calitri                                                          48 North Leyden Street                                                          Brockton          MA           02302
    Steven Chesley                                                          164 Knight Bridge Drive                                                         Yardley           PA           19067
    STEVEN CHURCH                                                           1485 N DEL MAR AVENUE                                                           FRESNO            CA           93728
    Steven Corder                                                           940 Chippewa Circle                                                             Carpentersville   IL           60110
    STEVEN E FRAZIER                        DBA CRACK & CREVICE SERVICES    P O BOX 233                                                                     FORISTELL         MO           63348
    STEVEN E M HARTZ                                                        1801 MICANOPY AVE               ESTATE OF LOUIS HARTZ                           COCONUT GROVE     FL           33133
    Steven E Pincich                                                        1005 Sagamore Drive                                                             Schaumburg        IL           60194
    Steven E Strouse                                                        201 Gillespie Drive             Apt. 4206                                       Franklin          TN           37067
    STEVEN E STROUSE                                                        302 OAK PARK DRIVE                                                              OPELIKA           AL           36801
    STEVEN F CHEESEMAN                                                      20 HICKORY LANE                                                                 EAST MORICHES     NY           11940
    STEVEN FOSTER PUBLICATIONS                                              P.O. BOX 191                                                                    EUREKA SPRINGS    AR           72632
    STEVEN H LUHRING                                                        339 OLDE POINT LOOP                                                             HAMPSTEAD         NC           28443
    Steven Hage                                                             14 King St.                                                                     Wayland           MA           01778
    Steven Hayes                                                            6 GRACEFUL WAY                                                                  WESTFORD          MA           01886
    Steven Jay Leinwand                                                     675 E. Street NW                Apt 210                                         Washington        DC           20004
    STEVEN K RICHARDSON                                                     1101 COLD SPRINGS ROAD                                                          LIVERPOOL         NY           13088
    STEVEN KELLOGG                                                          LAKE SHORE ROAD                 BLOCKHOUSE FARM                                 ESSEX             NY           12936-0280
    STEVEN KELMAN                                                           185 ELM STREET                                                                  CONCORD           MA           01742
    Steven Kinkeade                                                         16207 Perry Pass Court                                                          Spring            TX           77379
    STEVEN KLEINEDLER                                                       429 N 13TH STREET UNIT 3E                                                       PHILADELPHIA      PA           19123
    Steven L Herron                                                         2332 W. Bayshore Rd.                                                            Gulf Breeze       FL           32563
    STEVEN L NELSON                                                         1201 VALLEY GLEN                                                                DIXON             CA           95620
    STEVEN LEINWAND                                                         675 EAST ST NW APT 210                                                          WASHINGTON        DC           20004
    STEVEN LEVY                                                             11 FLETCHER AVENUE                                                              LEXINGTON         MA           02420-3721
    Steven Lewitzky                                                         1318 12th Ave.                  #2                                              San Francisco     CA           94122
    Steven M Cone                                                           10619 Woodchase Circle                                                          Orlando           FL           32836
    STEVEN M RICHMAN                        DBA RICHMANGALLERIES.COM        66 KREBS ROAD                                                                   PLAINSBORO        NJ           08536
    STEVEN M WILKINSON                                                      32940 BRIER COURT                                                               LIVONIA           MI           48152
    Steven Mc Clellan                                                       1572 Maple Avenue               305                                             Evanston          IL           60201
    STEVEN MILLHAUSER                       C/O ICM ATTN AMANDA URBAN       730 FIFTH AVENUE 13TH FLOOR                                                     NEW YORK          NY           10019
    STEVEN MILLINGTON                       DBA COPIER SUPPLY CENTER        3905 STATE STREET STE 7-129                                                     SANTA BARBARA     CA           93105
    Steven Naughton                                                         18 Northampton                                                                  Geneva            IL           60134
    Steven Nolet                                                            15 Country Lake Road                                                            Methuen           MA           01844
    Steven Norris                                                           284 Eastbrook Dr                                                                Troy              MO           63379
    STEVEN P BEIN                                                           3044 DANALDA DR                                                                 LOS ANGELES       CA           90064
    Steven P DeRoo                                                          1014 N Milwaukee                1                                               Chicago           IL           60642
    Steven P Schoendienst                                                   9020 Sawtooth Lane              Apt B                                           Austin            TX           78729
    STEVEN PAUL VERTZ                                                       6306 MISTY TERRACE                                                              TEMPLE TERRACE    FL           33617
    Steven Pease                                                            2834 FALCON RIDGE                                                               Clermont          FL           34711
    STEVEN PINKER                                                           107 SOUTH ST #6D                                                                BOSTON            MA           02111
    STEVEN R BRENNAN                                                        124 EAGLE STREET                                                                NEW HAVEN         CT           06511
    Steven R Calitri                                                        48 North Leyden Street                                                          Brockton          MA           02302
    STEVEN R EWERT                                                          1334 E RICHERT                                                                  FRESNO            CA           93704



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                     426 of 488                                                                                   1:26 PM
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                                                                                                                      of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2              Address3                City        State       Zip               Country
    Steven R Kleinedler                                                    429 N 13th Street                Unit 3E                                         Philadelphia        PA           19123
    Steven R Pace                                                          8900 River Ridge                                                                 Texarkana           TX           75503
    STEVEN RENDALL                                                         502 ROUTE DE LA RIVIERE                                                          LES BARTHES                      82100        France
    Steven Riddle                                                          415 Kassik Circle                                                                Orlando             FL           32824

    STEVEN S CATHELL                        DBA RO-MA STOCK PHOTOGRAPHY 1003 S LOS ROBLES AVE                                                               PASADENA            CA           91106
    STEVEN SCHIRRA                                                       16 GREYLOCK ROAD RIGHT APT                                                         ALLSTON             MA           02134
    STEVEN SHAWN GRIFFIN                                                 14548 STEWART CIRCLE                                                               FISHERS             IN           46038
    STEVEN SIBOL                                                         181 LINCOLN ROAD # 4                                                               BROOKLYN            NY           11225
    STEVEN STANKIEWICZ                                                   5 BIRCHWOOD DR                                                                     SOUTHAMPTON         MA           01073
    Steven Thomas                                                        12220 Hunters Chase Drive          1103                                            Austin              TX           78729
    Steven Weniger                                                       110 Barnes Road                                                                    Elgin               IL           60124
    Steven Wilkins                                                       71 Marvin Road                                                                     Melrose             MA           02176
    STEVEN WOLK                                                          2445 WEST LUNT , #3                                                                CHICAGO             IL           60645
    STEVEN ZEMELMAN, TRUSTEE                STEVEN ZEMELMAN TRUST        9423 LINCOLNWOOD DRIVE                                                             EVANSTON            IL           60203
    Steven Zukowski                                                      245 St George St                                                                   Duxbury             MA           02332
    STEVENS CARLA                                                        P O BOX 191                                                                        CORNWALL            CT           06753
    STEVENS EXHIBITS/DISPLAYS INC                                        DEPT CH 17392                                                                      PALATINE            IL           60055-7392
    STEVENS PARRINGTON TUCKER                                            508 GROVE ACRE AVENUE                                                              PACIFIC GROVE       CA           93950
    STEVENS W VILLERS                                                    1815 WINDSOR AVENUE SW                                                             ROANOKE             VA           24015
    STEVENSON ELEMENTARY                                                 638 S 96TH STREET                                                                  MESA                AZ           85208
    STEVOS JOYCE                                                         57 ALTHEA ST                                                                       PROVIDENCE          RI           02907
    STEWARD HEALTH CARE SYSTEM              STEWARD ST ELIZABETHS REALTY                                    C/O CERBERUS CAPITAL
    LLC                                     CORP                         299 PARK AVENUE                    MANAGEMENT LP                                   NEW YORK            NY           10171
    STEWART COHEN PICTURES I LTD                                         2401 S ERVAY STREET, STE 206                                                       DALLAS              TX           75215

    STEWART CREEK MIDDLE SCHOOL                                            400 RED HAWK PARKWAY                                                             SMYRNA              TN           37167
    STEWART F LANE PRODUCTIONS                                             36 WEST 44TH STREET, STE 400                                                     NEW YORK            NY           10036
    STEWART JOHN H                                                         2140 SANTA CRUZ AVE APT C104                                                     MENLO PARK          CA           94025
    STEWART TABORI & CHANG                                                 115 WEST 18 STREET                                                               NEW YORK            NY           10011
    STEWIG JOHN WARREN                                                     1800 N PROSPECT AVE #17B                                                         MILWAUKEE           WI           53202
    STICKSNLEAVES LLC                                                      P O BOX 44249                                                                    INDIANAPOLIS        IN           46244
    STIFF LEE V                                                            1633 MORNING MOUNTAIN ROAD                                                       RALEIGH             NC           27614
                                                                           1155 RENE-LEVESQUE BLVD W 40TH
    STIKEMAN ELLIOT LLP                     BARRISTERS & SOLICITORS        FL                                                                               MONTREAL            QC           H3B 3V2      Canada
    Stikeman Elliott
    STILL INC                                                              14 14 MAPLE PARK                                                                 NEWTON              MA           02459
    STILL PICTURES LTD                                                     199 SHOOTERS HILL ROAD                                                           LONDON                           SE3 8UL      United Kingdom
    STILLWATER PUBLISHING                                                  P O BOX 500                                                                      LIONVILLE           PA           19353
    STIMOLA LITERARY STUDIO INC                                            308 LIVINGSTON COURT                                                             EDGEWATER           NJ           07020
    Stir Cooking School                                                    3215 Zuni Street                                                                 Denver              CO           80221
    STOCK BOSTON INC                                                       258 HARVARD ST #355                                                              BROOKLINE           MA           02446
    STOCK CATHERINE                                                        LE TRAMIZAL                                                                      RIGNAC                           46500        France
    STOCK CONNECTION INC                                                   112 FREDERICK AVE SUITE H                                                        ROCKVILLE           MD           20850-5214
    STOCK MONTAGE INC                                                      1817 N. MULLIGAN AVE                                                             CHICAGO             IL           60639-3819
    STOCKDALE INC                                                          22460 GARFIELD ROAD                                                              NORTHVILLE          MI           48167
    STOCKFOOD AMERICA                                                      169 PORT ROAD STE 41                                                             KENNEBUNK           ME           04043
                                                                           895 DON MILLS RD, 400-02 PARK
    STODDART PUBLISHING                                                    CENTER                                                                           ONTARIO             ON           M3C 1W3      Canada
    STOELTING                                                              620 WHEAT LANE                                                                   WOOD DALE           IL           60191
    STOLTZE DESIGN INC                                                     15 CHANNEL CTR ST APT 603                                                        BOSTON              MA           02210
    STONE CREEK PARTNERS LLC
    STONEBRIDGE IRVING VENTURES             DBA RESIDENCE INN DFW AIRPORT
    LP                                      S IRVING                      2200 VALLEY VIEW LANE                                                             IRVING              TX           75062
    STONEWALL PUBLIC SCHOOLS                STONEWALL ELEMENTARY SCH      600 S HIGH SCHOOL                                                                 STONEWALL           OK           74871
    STORAGE POINTE                                                        P O BOX 6031                                                                      LAKE CHARLES        LA           70606-6031

    STORAGE SOLUTIONS OF CORINTH                                           3701 FM 2181                                                                     CORINTH             TX           76210
    Storey County School District                                          PO Box C                                                                         Virginia City       NV           89440
    STOREY PUBLISHING                                                      210 MASS MOCA WAY                                                                NORTH ADAMS         MA           01247
    Stormi Hale                                                            3509 Hwy B                                                                       Elsberry            MO           63343
    STORR OFFICE ENVIRONMENTS OF
    CENTRAL                       FLORIDA INC                              10800 WORLD TRACE BLVD                                                           RALEIGH             NC           27617
    STORY BOOK ARTS INC                                                    414 POPLAR HILL RD P O BOX 672                                                   DOVER PLAINS        NY           12522
    STORY PRIZE                   ATTN LARRY DARK                          41 WATCHUNG PLAZA #384                                                           MONTCLAIR           NJ           07042
    STOUT GLENN                                                            P.O. BOX 549                                                                     ALBURG              VT           05440
                                  DEPARTMENT OF RELIGIOUS
    STOUT HARRY S                 STUDIES                                  PO BOX 2160                                                                      NEW HAVEN           CT           06520
    STRAIGHT LINE EDITORIAL
    DEVELOPMENT LLC                                                        3239 SACRAMENTO STREET                                                           SAN FRANCISCO       CA           94115



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     427 of 488                                                                                         1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              435 Matrix
                                                                                                                      of 519
                                                                                                                  First Class Service List


              CreditorName                            CreditorNoticeName                Address1                       Address2                         Address3               City         State       Zip               Country
    STRAIGHT STREET ORLANDO INC                                            2613 RIVER RIDGE DRIVE                                                                     ORLANDO          FL           32825
    STRAND MAGAZINE                                                        PO BOX 1418                                                                                BIRMINGHAM       MI           48012
    STRATACOMM                                                             ONE THOMAS CIRCLE, NW 10TH FL                                                              WASHINGTON       DC           20005-5816
                                            C/O PORTER CAPITAL
    STRATECH INC                            CORPORATION                    P O BOX 12105                                                                              BIRNINGHAM       AL           35202
    STRATEGIC BUSINESS
    COMMUNICATIONS LLC                                                     5710 RAIN FOREST COURT                                                                     OVIEDO           FL           32765
    STRATEGIC CONTENT IMAGING INC                                          PO BOX 35608                                                                               NEWARK           NJ           07193-5608
    STRATEGIC MARKETING PARTNERS
    INC                                                                    5781 LOIS LN                                                                               PLANO            TX           75240
    STRATEGIC MEASUREMENT AND
    EVALUATION INC                                                         701 DEVONSHIRE DR SUITE B-14                                                               CHAMPAIGN        IL           61820
    STRATEGIC PATENTS P C                                                  PO BOX 920629                                                                              NEEDHAM          MA           02492
    Strategic Products &                    Services LLC                   300 Littleton Road                                                                         Parsippany       NJ           07054
    STRATEGIC TRAINING AND
    RESOURCES INC                                                          304 8TH AVENUE                  ATTN KATHI POLIS                                           ST ALBANS        WV           25177
    STRATHMANN KATHLEEN C                                                  3219 LELAND STREET                                                                         CHEVY CHASE      MD           20815
    Stratify, Inc.
    STRATUS TECHNOLOGY SERVICES
    LLC                                     C/O ACTION CAPITAL CORPORATION PO BOX 56346                                                                               ATLANTA          GA           30343
    STRAUCH GABRIELE                                                       1325 FOURTH STREET SW                                                                      WASHINGTON       DC           20024
    STRETCHWALL MID-ATLANTIC INC                                           466 CENTRAL ROAD                                                                           FREDERICKSBURG   VA           22401
    STRICTLY SPANISH LLC                                                   5714-D SIGNAL HILL COURT                                                                   MILFORD          OH           45150
    STROMBERG ALLEN & CO                                                   18504 W CREEK DRIVE                                                                        TINLEY PARK      IL           60477
    STRONG MUSEUM                                                          1 MANHATTAN SQUARE                                                                         ROCHESTER        NY           14607
    STROTHMAN AGENCY LLC                                                   197 EIGHTH STREET                                                                          CHARLESTOWN      MA           02129
    STROTHMAN WENDY J                       197 EIGHTH STREET              FLAGSHIP WHARF #611                                                                        CHARLESTOWN      MA           02129
    STRUCTURA INC                                                          9233 WATERFORD CENTER BLVD                                                                 AUSTIN           TX           78758
    STRUCTURAL GRAPHICS LLC                                                P O BOX 5021                                                                               NEW BRITAIN      CT           06050
    STRUCTURE TONE INC                                                     711 ATLANTIC AVE                                                                           BOSTON           MA           02111
    STS PETER & PAUL SCHOOL                                                3619 X STREET                                                                              OMAHA            NE           68107
    STUART AGENCY                                                          260 WEST 52ND STREET #24C                                                                  NEW YORK         NY           10019
    STUART BERNSTEIN                                                       63 CARMINE STREET 3D                                                                       NEW YORK         NY           10014
    Stuart Bradshaw                                                        22 Daniel Bathon Dr.                                                                       Elkton           MD           21921
    STUART COUNTRY DAY SCHOOL                                              1200 STUART RD                                                                             PRINCETON        NJ           08540
    STUART D ANDERSON                                                      32141WOODVINE DRIVE                                                                        SORRENTO         FL           32776

    STUART DIKE                             THE CROP CONNECTOR             12 COVER GROUND, TADLEY ACRES                                                              SHEPTON MALLET   Somerset     BA4 4AS      United Kingdom
    STUART KRICHEVSKY LITERARY
    AGENCY                                                                 381 PARK AVENUE SOUTH #914                                                                 NEW YORK         NY           10016
    Stuart Natof                                                           914 Shari Lane                                                                             East Meadow      NY           11554
    STUART SCHOFFMAN                                                       HATZFIRA 21                                                                                JERUSALEM                     93102        Israel
    STUART SMITH                                                           6509 FAIR VALLEY TRAIL                                                                     AUSTIN           TX           78749
    STUART STOTTS                                                          401 EAST HOLUM STREET                                                                      DE FOREST        WI           53532
    STUART-RODGERS LTD                                                     2504 GREENBAY ROAD                                                                         EVANSTON         IL           60201

    STUARTS WALKER HERSANT                                                 DR ROYS DRIVE, P O BOX 2510     4TH FL, CAYMAN FINANCIAL CENTRE                            GRAND CAYMAN                  KY1-1104     Cayman Islands

    STUBOVI CULTURE - VREME KNJIGE                                         GRADISTANSKA 15                                                                            BELGRADE                      11000        Serbia & Montenegro

    STUDENT ACADEMIC RESRC CTR AT U OF CTRL FL PHILLIP HALL 113            4000 CENTRAL BLVD                                                                          ORLANDO          FL           32816
    STUDENT ACHIEVEMENT PARTNERS
    LLC                                                                    1 UNION SQUARE S # 22E                                                                     NEW YORK         NY           10003
    STUDENT BOOKMART                                                       1725 N EASTERN AVE                                                                         LOS ANGELES      CA           90032
    STUDENT BOOKSTORE INC                                                  421 EAST GRAND RIVER AVE                                                                   EAST LANSING     MI           48823
    STUDIO CENTER CORP                                                     161 BUSINESS PARK DRIVE                                                                    VIRGINIA BEACH   VA           23462
    STUDIO GOODWIN STURGES                                                 67 TABER AVENUE                                                                            PRIVIDENCE       RI           02906
    STUDIO GOODWIN STURGES                                                 67 TABER AVENUE                                                                            PROVIDENCE       RI           02906-4127
    STUDIO MONTAGE                                                         7708 BIG BEND BLVD                                                                         ST LOUIS         MO           63119-2108
    STUDIO ZOCOLO                                                          PO BOX 473                                                                                 SAN GERONIMO     CA           94963

    SUBBALAKSHMY VENKITESWARAN                                             11145 RIO VISTA DR                                                                         AUSTIN           TX           78726
    SUBER MELISSA                                                          27937 CROWN COURT CIRCLE                                                                   VALENCIA         CA           91354
    SUBSCRIPTION SERVICES OF
    AMERICA INC                                                            PO BOX 820                                                                                 BELLMORE         NY           11710
    SUBURBAN TRANSPORTATION                                                10 FARRIER AVENUE                                                                          BLACKWOOD        NJ           08012
    SUCCESSFACTORS INC                                                     P O BOX 894642                                                                             LOS ANGELES      CA           90189-4642
                                                                                                           CALLE 50 Y CALLE JUAN RAMON       EDIFICIO PRIVATE ASSET
    SUCRE ARIAS & REYES                                                    SEGUNDO PISO                    POLL                              MANAGEMENT               PANAMA                                     Panama
    SUDBURY PUBLIC SCHOOLS                                                 40 FAIRBANKS ROAD                                                                          SUDBURY          MA           01776



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                 428 of 488                                                                                                    1:26 PM
                                                      12-12171-reg           Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   436 Matrix
                                                                                                                           of 519
                                                                                                                      First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2              Address3               City         State       Zip            Country
    SUDDATH RELOCATION SYSTEMS
    OF                                      ORLANDO                        815 S MAIN ST STE 444                                                            JACKSONVILLE        FL           32207
    SUDHAKAR CHANDRASEKHARAN                                               16770 CHRICO DR                                                                  LOS GATOS           CA           95032
    SUE ALLISON                                                            7434 HALLCREST DR                                                                MCLEAN              VA           22102-2929
    SUE ANN SCHOENHALS                                                     P O BOX 875                                                                      SHATTUCK            OK           73858
    Sue Bonnem                                                             302 Apollo court                                                                 Vernon Hills        IL           60061
    SUE FLIESS                                                             534 DRUCILLA DRIVE                                                               MOUNTAIN VIEW       CA           94040
    SUE GRONEWOLD                                                          315 WEST 106TH ST 10C                                                            NEW YORK            NY           10025
    SUE HALPERN                                                            P O BOX 167                                                                      RIPTON              VT           05766
    Sue Haney                                                              7366 Beacon Hill Driv                                                            Pittsburgh          PA           15221
    SUE KEMPTON                                                            716 MADISON ST                                                                   DENVER              CO           80206
    Sue Kennedy                                                            307 Arthur Dr                                                                    Kennedale           TX           76060
    SUE LIVINGSTON                                                         50 EAST 10TH STREET #9D                                                          NEW YORK            NY           10003
    Sue Patterson                                                          712 Caro Court                                                                   Chapin              SC           29036
    Sue Schultz                                                            2001 Hillsboro Ave                                                               Los Angeles         CA           90034
    Sue Seymour                                                            344 Avena Circle                                                                 Naperville          IL           60565
    Sue-Yen R Roman                                                        121 Pine Isle Drive                                                              Sanford             FL           32773
    SUGIYAMA PATRICIA                                                      640 LAMON AVENUE                                                                 WILMETTE            IL           60091
    SUHRKAMP VERLAG                                                        PAPPELALLEE 78-79                                                                BERLIN                           10437        Germany
                                                                           CONDOMINIO PASEO DEL PUERTO
    SULEIRA M QUINONES FONTANEZ                                            #336                                                                             PONCE               PR           00716
    Sullivan & Worcester
    SULLIVAN & WORCESTER LLP                                               P O BOX 3461                                                                     BOSTON              MA           02241-3461
    SULLIVAN COUNTY BOARD OF
    COOPERATIVE                             EDUCATIONAL SERVICES           6 WEIRK AVENUE                                                                   LIBERTY             NY           12754
    SULLIVAN SUSAN S                                                       7 BROOKDALE LANE                                                                 SUDBURY             MA           01776
    Sullo, Ali
    Sumeet Gaikwad                                                         204 Boden Lane                                                                   Natick              MA           01760
    SUMERU INC                                                             2401 15TH STREET NW                                                              WASHINGTON          DC           20009
    Sumit Sule                                                             1435 Kathleen Way                                                                Elk Grove Village   IL           60007
    SUMMER BOOK STORES INC                  DBA ANDERS BOOKSTORE           6133 OLD SHELL ROAD                                                              MOBILE              AL           36608
    SUMMER STREET CONTENT LLC               SUMMER STREET PRESS            1771 POST ROAD SUITE 187                                                         WESTPORT            CT           06880
    Summit Church                                                          200 South Wilcox St #243                                                         Castle Rock         CO           80104
    SUMMIT POS LLC                                                         1520 AIRPORT ROAD                                                                SUMTER              SC           29153
    SUMMIT SCHOOL                                                          333 W REYS ROAD                                                                  ELGIN               IL           60123
    SUMMIT SCHOOL DISTRICT RE-1                                            150 SCHOOL ROAD P O BOX 7                                                        FRISCO              CO           80443
    SUMNER COUNTY BOARD OF
    EDUCATION                                                              695 E MAIN ST                                                                    GALLATIN            TN           37066
    SUMNER GROUP INC                        DATAMAX                        2121 HAMPTON AVENUE                                                              ST LOUIS            MO           63139
    SUMNERS CAROLYN                                                        4500 CAROLINE ST                                                                 HOUSTON             TX           77004
                                                                                                              PERMISSIONS DEPT - ATTN KRIS
    SUNBELT MEDIA INC                       DBA EAKIN PRESS                P O BOX 21235                      GHOLSON                                       WACO                TX           76702
    SUNBURST TECHNOLOGY                                                    1550 EXECUTIVE DRIVE                                                             ELGIN               IL           60123
    SUNBURST TECHNOLOGY CORP                                               PO BOX 1904                                                                      ELGIN               IL           60121
    SUNBURST VISUAL MEDIA                                                  1661 TENNESSEE ST STE 3D                                                         SAN FRANCISCO       CA           94107
    SUNCROSS MEDIA LLC                                                     762 MOUNT PLEASANT ST                                                            ST JOHNSBURY        VT           05819
    SUNDAE MEDIA LLC                                                       35 DESCANSO DR                                                                   ORINDA              CA           94563
    SUNDANCE BOOKS                                                         106 MAIN STREET                                                                  GENESEO             NY           14454
                                            DBA NEWBRIDGE EDUCATIONAL
    SUNDANCE NEWBRIDGE LLC                  PUBLISHING                     33 BOSTON POST ROAD WEST #440                                                    MARLBOROUGH         MA           01752

    SUNDANCE NEWBRIDGE LLC                  DANIELLE BUCZEK                33 BOSTON POST ROAD WEST #440                                                    MARLBOROUGH         MA           01752
    SUNDANCE PARTNERS LTD                                                  8841 NORTH ALPINE LOOP ROAD                                                      SUNDANCE            UT           84604
    SUNDANCE PUBLISHING                                                    P O BOX 740                                                                      NORTHBOROUGH        MA           01532

    SUNDANCE SQUARE PARTNERS LP                                            201 MAIN STREET, STE 700                                                         FORT WORTH          TX           76102
    Sundra Willingham                                                      2712 Silkwood Circle               #1013                                         Orlando             FL           32818

    SUNERA LLC                                                             1208 E KENNEDY BLVD STES 225-226                                                 TAMPA               FL           33602

    SUNFIRE COMMUNICATIONS INC                                             7751 KINGSPOINTE PARKWAY #104                                                    ORLANDO             FL           32819
    SUNG SHIN PRINTING LTD                                                 9-1 YANG PYOUGN DONG 6 GA                                                        YOUNG DEUNG PO GU                             South Korea
    SUNGARD AVAILABILITY SERVICES
    LP                                                                     P O BOX 91233                                                                    CHICAGO             IL           60693
    SUNGARD AVANTGARD LLC                                                  15267 COLLECTIONS DRIVE                                                          CHICAGO             IL           60693
    SUNITA APTE                                                            352 SACKETT STREET                                                               BROOKLYN            NY           11231
    SUNNY DAYS EARLY CHILDHOOD              DEVELOPMENTAL SERVICES INC     300 CORPORATE CENTER DRIVE                                                       MANALAPAN           NJ           07726
    SUNOCO CORPATE CARD                     PROCESSING CENTER              PO BOX 689156                                                                    DES MOINES          IA           50368-9156
    SUNRISE PACKAGING                                                      9937 GOODHUE ST NE                 ATTN STEVE SANDAHL                            BLAINE              MN           55449
    SUNRISE TECHNOLOGY INC                  DBA SMARTECHS.NET              1727 S INDIANA AVE STE G02B                                                      CHICAGO             IL           60616



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     429 of 488                                                                                      1:26 PM
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                                                                                                                             of 519
                                                                                                                            First Class Service List


              CreditorName                            CreditorNoticeName               Address1                              Address2                             Address3                    City          State       Zip                Country
    SUN-SENTINEL                                                           200 EAST LAS OLAS BLVD                ATTN LEESA THOMPSON                                                 FT LAUDERDALE     FL           33301
    SUNSETCLIFFS MERCHANDISING
    CORP                                                                   P O BOX 12452                                                                                             LA JOLLA          CA           92039
    SUNSHINE STATE TESOL ORG OF
    FLORIDA                                                                7220 RUENOTRE DAME                                                                                        MIAMI BEACH       FL           33141
    SUNVISION ELECTRIC INC                                                 3582 ROCKING J ROAD                                                                                       ROUND ROCK        TX           78665

    SUPER DE ESCUELAS CATOLICAS             DE LAS DIOCESIS DE FAJARDO HUM DIOCESIS DE FAJARDO HUMACAO                                                                               FAJARDO           PR           00738
    SUPER DOUGLAS B                                                        4154 VINE STREET                                                                                          VANCOUVER         BC           V6L 3B9      Canada
    SUPER ELECTRIC CONSTRUCTION
    CO                                                                     4300 WEST CHICAGO AVE                                                                                     CHICAGO           IL           60651
    SU-PER MARKETING INC                                                   1167 HILLSBORO MILE #516                                                                                  HILLSBORO BEACH   FL           33062
    Super Security Ltd                                                     9794 T/A Super Cleaning Contractors                                                                       Dublin            DB           DUBLIN 1     Ireland
    SUPERDAIRYBOY LLC                                                      34 WEST CENTRE ST                                                                                         MAHANOY CITY      PA           17948
    SUPERIENT CONSULTING LLC                                               7238 SWANSONG WAY                                                                                         BETHSDA           MD           20817
    SUPERINTENDECIA DE ESCUELAS
    CATOLICAS                               DIOCESIS DE CAGUAS             APARTADO 8699                                                                                             CAGUAS            PR           00726-8699
    SUPERINTENDENCE OF CATHOLIC
    SCHOOLS                                                                2250 AVE LAS AMERICAS SUITE 552                                                                           PONCE             PR           00717
                                 CATOLICAS ARQUIDIOCESIS DE SAN
    SUPERINTENDENCIA DE ESCUELAS JUAN                           EDIFICIO 2021 CARRETERA 177                                                                                          GUYANABO          PR           00969
    SUPERINTENDENCIA ESCUELAS
    CATOLICAS                                                   789 CALLIE JAMIE DREW                            LOS MAESTROS                                                        SAN JUAN          PR           00923
    SUPERINTENDENT OF FARMINGTON
    SCHOOL                       RANDALL G LYNCH MIDDLE SCHOOL 42 SOUTH DOUBLE SPRINGS RD                                                                                            FARMINGTON        AR           72730
                                                                                                                                                       OFFICE OF SUPERINTENDENT OF
    SUPERINTENDENT OF SCHOOLS               ATTN DR MICHAEL RAMOS          1011 FIRST AVENUE, 18th FLOOR                                               SCHOOLS                       NEW YORK          NY           10022
                                                                                                                                                       OFFICE OF SUPERINTENDENT OF
    SUPERINTENDENT OF SCHOOLS     ARCHDIOCESE OF NEW YORK                  1011 FIRST AVENUE, 18th FLOOR                                               SCHOOLS                       NEW YORK          NY           10022
    SUPERMEDIA INC                SUPERMEDIA LLC                           PO BOX 619009                                                                                             DFW AIRPORT       TX           75261
    SUPERSTOCK INC                                                         6622 SOUTHPOINT DR SOUTH # 240                                                                            JACKSONVILLE      FL           32216
    SUPES ACADEMY LLC                                                      1215 WASHINGTON STE 300                                                                                   WILMETTE          IL           60091
    SUPPLY SERVICES INC                                                    3953 PLEASANTDALE RD #116                                                                                 ATLANTA           GA           30340
    SUPPLYNET INC                                                          614 CORPORATE WAY SUITE 8M                                                                                VALLEY COTTAGE    NY           10989
    SUPPRESSION SYSTEMS INC                                                301 S 4TH STREET                                                                                          PENNSBURG         PA           18073-1341
    Suraj Shrestha                                                         6033 N Sheridan Rd                    Apt. 32E                                                            Chicago           IL           60660-3029
    SURVEILLANCE SPECIALTIES LTD                                           600 RESEARCH DRIVE                                                                                        WILMINGTON        MA           01887
    SURVEY SAMPLING INTERNATIONAL
    LLC                           DEPT 101029                              P O BOX 150485                                                                                            HARTFORD          CT           06115-0485
    SURVEY WRITER.COM                                                      4894 N PAULINA ST                                                                                         CHICAGO           IL           60640-4106
    SUSAN A AGRUSO                                                         57 ENCORE BLVD                                                                                            EASTPORT          NY           11941
    SUSAN A HYNES                                                          11129 EAST RD UNIT B                                                                                      PALOS HILLS       IL           60453
    Susan A Johnson                                                        245 Trudy Court                                                                                           Batavia           IL           60510
    Susan A Lynch                                                          743 E. Fourth St #101                 #101                                                                So. Boston        MA           02127
    Susan A White                                                          26 Richardson St.                     Apt. 4                                                              Newton            MA           02458
    SUSAN AKASS                                                            5 MAPLE GROVE                                                                                             BATH AVON                      BA2 3AF      United Kingdom
    SUSAN ARBUCKLE                                                         580B CR2300N                                                                                              DEWEY             IL           61840
    Susan Arcuri                                                           11 Crestview Rd.                                                                                          Bedford           MA           01730
    SUSAN B EMPSON                                                         1925 MCCLOSKEY                                                                                            AUSTIN            TX           78723
    SUSAN BARDSLEY                                                         41 KEITH HILL ROAD                                                                                        GRAFTON           MA           01519
    Susan Bauer                                                            71 Little Herring Pond Rd                                                                                 Plymouth          MA           02360
    SUSAN BECKER                                                           7 PARKER RD                                                                                               WINCHESTER        MA           01890
                                  ALLEN RICHARD PENNER-
    SUSAN BECKER ESTATE           ADMINISTRATOR                            P O BOX 549                                                                                               KNOXVILLE         TN           37901
    SUSAN BENEDICT                                                         17 GARDNER STREET                                                                                         PORTSMOUTH        NH           03801

    SUSAN BERGHOLZ LIT SERVICES                                            17 WEST TENTH STREET NUMBER 5                                                                             NEW YORK          NY           10011-8769
    SUSAN BETH ATKINS                                                      1754 11TH ST, # 104                                                                                       SANTA MONICA      CA           90404
    SUSAN BETH PFEFFER                                                     202 REGENCY CT                                                                                            MIDDLETOWN        NY           10940
    SUSAN BLACKABY                                                         5327 SW DOVER COURT                                                                                       PORTLAND          OR           97225
    SUSAN BREITLING                                                        8136 SUMMER TRAIL DRIVE                                                                                   FORT WORTH        TX           76137
    SUSAN BRIDGE                                                           EDWARD FERN SCHOOL                                                                                        GORHAM            NH           03581
    Susan Bronson                                                          617 S. 16th Street            1F                                                                          Philadelphia      PA           19146
    SUSAN BUCKLEY                                                          140 EAST 83 STREET                                                                                        NEW YORK          NY           10028
    SUSAN BUTLER                                                           2300 NORTH SCENIC HIGHWAY                                                                                 LAKE WALES        FL           33898
    SUSAN C LESLIE                                                         305 MICHIGAN AVENUE, 7TH FL                                                                               DETROIT           MI           48226
    Susan C Stark                                                          780 Boylston Street                                                                                       Boston            MA           02199

    SUSAN C WOODSON                         DBA SUSAN C WOODSON TRUSTEE    5121 SOUTH DREXEL AVE                 ESTATE OF HORACE CAYTON                                             CHICAGO           IL           60615
    SUSAN CALVILLO                                                         21-68 35TH STREET                                                                                         QUEENS            NY           11105



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                           430 of 488                                                                                                           1:26 PM
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                                                                                                                     of 519
                                                                                                                  First Class Service List


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    SUSAN CAMPBELL BARTOLETTI                                              P O BOX 718                                                                  MOSCOW              PA           18444
    SUSAN CAROL GREEN                                                      302 PERIDOT CT                                                               ROSEVILLE           CA           95678
    Susan Carter                                                           6 Freedom Dr                                                                 Dover               NH           03820
    SUSAN CASSIDY FLETCHER                                                 3532 BON REA DR                                                              CHARLOTTE           NC           28226
    Susan Cogley                                                           53 Cedar Creek Road                                                          Sudbury             MA           01776
    Susan Collins                                                          19 Manor Street                                                              Dorchester          MA           02122
    Susan Collins                                                          9s387 Bushnell Rd                                                            Big Rock            IL           60511
    SUSAN COOPER CRONYN                                                    PO BOX 204                                                                   MARSHFIELD HILLS    MA           02051
    Susan Costello                                                         132 Washington St             #1                                             Reading             MA           01867
    SUSAN COTHERN                           DBA JOURNEY CHICAGO LLC        1215 W SHERWIN AVE                                                           CHICAGO             IL           60626
    Susan D Paro                                                           15 Elmwood Avenue                                                            Winthrop            MA           02152
    SUSAN DALE WONDER                                                      5203 BAYSHORE BLVD # 3                                                       TAMPA               FL           33611
    SUSAN DE KRUIF JOYCE                                                   50 LAKESHORE DRIVE                                                           AVONDALE EST        GA           30002
    SUSAN DICKINSON                                                        BOX 10                                                                       YARKER              ON           K0K 3N0      Canada
    SUSAN DUDNICK BOER                                                     56 ROBBINS RD                                                                LEXINGTON           MA           02421-5815
    SUSAN E BAGBY                                                          1712 ESCALONA DRIVE                                                          SANTA CRUZ          CA           95060
    Susan E Petschke                                                       105 N BARTON TRAIL                                                           BATAVIA             IL           60510
    SUSAN E RODGERS                                                        503 WEBBER DR                                                                TEMPERANCE          MI           48182
    Susan E Skinner                                                        13404 Broadmeade Ave.                                                        Austin              TX           78729
    Susan E. Canavan                                                       16 Hammond Circle                                                            Sudbury             MA           01776
    Susan Edelen                                                           1991 Westhill Run                                                            Windermere          FL           34786
    Susan Eisenhammer                                                      2006 N. Chestnut Avenue                                                      Arlington Heights   IL           60004
    SUSAN ELIZABETH RAMIREZ                                                2800 SOUTH UNIVERSITY DRIVE   TCU BOX 297260                                 FORT WORTH          TX           76129
    Susan Ellis                                                            1211 Washington                                                              Evanston            IL           60202
    SUSAN F GRODNICK                                                       145 WEST 95TH STREET                                                         NEW YORK            NY           10025
    Susan F Ryan                                                           205 West Franklin Street                                                     Fayetteville        NY           13066
    SUSAN FEINKEL                                                          1291 29TH AVENUE                                                             SAN FRANCISCO       CA           94122
    SUSAN FINKEL                                                           2204 59TH AVENUE NW                                                          OLYMPIA             WA           98502
    SUSAN FLEMING KEATON                                                   1218 GATEHOUSE ROAD                                                          HIGHPOINT           NC           27262
    Susan Flint                                                            543 Centre St. #3                                                            Newton              MA           02458
    Susan Flurry                                                           11603 Tedford Street                                                         Austin              TX           78753
    SUSAN FRIEDLANDER                                                      230 NORTH LAKE STREET                                                        GRAYSLAKE           IL           60030
    Susan G. Komen for the Cure             Denver Metropolitan Affliate   1835 Franklin St                                                             Denver              CO           80218
    SUSAN GAGE CATERERS                                                    7411 LIVINGSTON ROAD                                                         OXON HILL           MD           20745
    SUSAN GAMBLE                                                           3827 E COLORADO BLVD                                                         PASADENA            CA           91107
    SUSAN GERBER                            DBA R&S BOOK COMPOSITION       6436 LOCHMOOR DR                                                             SAN DIEGO           CA           92120
    Susan Gibson                                                           2306 Orleans Drive                                                           Cedar Park          TX           78613
    Susan Gigax                                                            5042 Lexington Ct                                                            Mason               OH           45040
    SUSAN GILLESPIE LOSHER                                                 2727 HILMER CT                                                               ORLANDO             FL           32806
    Susan Godel                                                            20 Parent St                                                                 South Berwick       ME           03908

    SUSAN GOLOMB LITERARY AGENCY                                           540 PRESIDENT STREET 3RD FL                                                  BROOKLYN            NY           11215
    Susan Granoff                                                          52 Vernon Street                                                             Brookline           MA           02446
    SUSAN GRISS                                                            30 OLD WHITFIELD ROAD                                                        ACCORD              NY           12404
    Susan Harper                                                           PO BOX 271560                                                                FLOWER MOUND        TX           75027
    Susan Harris                                                           5 Miles Road                                                                 Hingham             MA           02043
    Susan Harvey                                                           69 Antwerp Street                                                            Milton              MA           02186
    Susan Heifner                                                          4937 Stuart Rd                #332                                           Denton              TX           76207
    Susan Herbert                                                          7549 Lake Marsha Drive                                                       Orlando             FL           32819
    SUSAN HESS                                                             63-44 ALDERTON STREET                                                        REGO PARK           NY           11374
    SUSAN HILDEBRAND                                                       4371 EAST 72ND PLACE                                                         TULSA               OK           74136
    SUSAN HOLLEY BARKER                                                    103 UPLAND PLACE                                                             MILTON              WV           25541
    SUSAN ITO                                                              22 WHITE COURT                                                               OAKLAND             CA           94611
    SUSAN J MILLER                                                         1376 HOWARDSVILLE TPK                                                        STUARTS DRAFT       VA           24477
    Susan Jackson                                                          9 THOMAS PARK                 UNIT 8                                         BOSTON              MA           02127
    Susan James                                                            5 Beatty St                                                                  Canton              MA           02021
    SUSAN JENNESS NEGIN                                                    1020 NW 48TH STREET                                                          FORT LAUDERDALE     FL           33309
    Susan Johnson                                                          12960 Langstaff Drive                                                        Windermere          FL           34786
    SUSAN JOHNSON                                                          2807 BRINDLE COURT                                                           NORTHBROOK          IL           60062
    Susan Kanold                                                           1330 Edgewood Dr                                                             Lodi                CA           95240
    SUSAN KASTEN                                                           1964 RAMBLING RIDGE LANE                                                     CARROLLTON          TX           75007
    SUSAN KATZ                                                             535 VALLEY PARK ROAD                                                         PHOENIXVILLE        PA           19460
    SUSAN KIENTZ                                                           1954 SANTA ROSA AVENUE                                                       PASADENA            CA           91104
    Susan Knifong                                                          618 Jackson Ave.                                                             St. Charles         IL           60174
    Susan Krueger                                                          4388 Breezy Pt. Lane                                                         LeeS Summit         MO           64082
    SUSAN KRUGER WOODCOCK                                                  2640 CANOE CIRCLE                                                            LAKE ORION          MI           48360
    SUSAN L AMSTER                                                         124 ALLERTON ROAD                                                            NEWTON              MA           02461
    Susan L Copeland                                                       203 Woodside Court                                                           Corsicana           TX           75109
    Susan L Duke                                                           729 Juniper Road                                                             Glenview            IL           60025
    SUSAN L GLADSTEIN                                                      11079 NASHVILLE DRIVE                                                        COOPER CITY         FL           33026



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                 431 of 488                                                                                     1:26 PM
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                                                                                                                           of 519
                                                                                                                       First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                          Address2              Address3                  City         State       Zip         Country
    SUSAN L HIGGINS                                                        800 E COTHRELL ST                                                                 OLATHE                 KS           66061
    SUSAN L MOORE                                                          8620 S HWY 183                                                                    GONZALES               TX           78629
    Susan L Pierce                                                         20805 Trotters Lane                                                               Pflugerville           TX           78660
                                            DBA INTERNATIONAL EDUC
    SUSAN L RINKER                          CONSULTANCY                    1500 SW 5TH AVE APT # 2005                                                        PORTLAND               OR           97201
    Susan L Ryan                                                           7270 Ellington Drive                                                              Dardenne Prairie       MO           63368
    Susan L Tyler                                                          222 E. Bland St.                 #455                                             Charlotte              NC           28203
    SUSAN LAFFITTE                                                         P O BOX 793                                                                       HAMPTON                SC           29924
    SUSAN LAMB                                                             6471 N NEWARK                                                                     CHICAGO                IL           60631
    Susan Lanzillo                                                         35 Corbane Drive                                                                  Mansfield              MA           02048
    SUSAN LAPIDES                           SUSAN LAPIDES PHOTOGRAPHY      451 HURON AVENUE                                                                  CAMBRIDGE              MA           02138
    SUSAN LEHR                                                             95 LUDLOW ST                                                                      SARATOGA SPRING        NY           12866
    SUSAN LEY PHOTOGRAPHY                                                  389 LAGUNA AVENUE                                                                 KEY LARGO              FL           33037
    SUSAN LIVINGSTON                                                       527 BYRON HILL                                                                    WHITE RIVER JUNCTION   VT           05001
    Susan Lynch                                                            12000 Cabana Lane                                                                 Austin                 TX           78727
    Susan M Gratton                                                        117 South 8th Ave.                                                                Beach Grove            IN           46107
    Susan M Johnson                                                        1306 Sands Circle                                                                 Fredericksburg         VA           22401
    SUSAN M LATTA                                                          4612 WOODDALE AVENUE                                                              EDINA                  MN           55424
    SUSAN M NEIDER                                                         24 SOUTHERN WAY                                                                   PRINCETON              NJ           08540
    SUSAN M S BROWN                                                        15 JONATHAN STREET NO 2                                                           BELMONT                MA           02478
    Susan M Zangara                                                        1130 Adrienne Dr                                                                  South Elgin            IL           60177
    Susan Mackesy                                                          37 Sachem St.                                                                     Billerica              MA           01821
    Susan Madden                                                           2732 Lone Feather Drive                                                           Orlando                FL           32837
    Susan Maguire                                                          39 BREEZY HILL TERR.                                                              NAHANT                 MA           01908
    SUSAN MARIE PIEPER                                                     17414 WASHINGTON ST                                                               OMAHA                  NE           68135
    SUSAN MARIE SWANSON                                                    1494 HYTHE STREET                                                                 SAINT PAUL             MN           55108
    SUSAN MCCLANAHAN                                                       1088 PARK AVE                                                                     NEW YORK               NY           10128
    SUSAN MCCLOSKEY                                                        25 PARRIS ST                                                                      PORTLAND               ME           04101
    Susan McConnell                                                        1047 Winter Springs Blvd                                                          Winter Springs         FL           32708
    SUSAN MCKINNEY                                                         8301 NW 24 PL                                                                     SUNRISE                FL           33322
    SUSAN MEDDAUGH FOSTER                                                  56 MAPLE STREET                                                                   SHERBORN               MA           01770
    SUSAN MICHELLE JOHN                                                    1306 SANDS CIRCLE                                                                 FREDERICKSBURG         VA           22401
    SUSAN MIDDLETON ELYA                                                   936 BLEMER ROAD                                                                   DANVILLE               CA           94526
    SUSAN MILLER                                                           499 NORTH 200 WEST # 26                                                           BOUNTIFUL              UT           84010
    SUSAN MODLIN                                                           3441 ROBINSON DRIVE                                                               OAKLAND                CA           94602
    Susan Morey                                                            38 Marlboro Rd.                                                                   Woburn                 MA           01801
    SUSAN MOULTON                           DBA ERRANT DESIGN              838 PACIFIC AVENUE, APT F                                                         HOFFMAN ESTATES        IL           60169
    Susan Myers                                                            7951 Calle Cozumel                                                                Carlsbad               CA           92009
    SUSAN NELSON                                                           10454 W FAIRLANE                                                                  MILWAUKEE              WI           53224
    SUSAN OHANIAN                                                          PO BOX 26                                                                         CHARLOTTE              VT           05445
    SUSAN OLDHAM                                                           305 SIMON ST                                                                      BLYTHEVILLE            AR           72315
    Susan ONeal                                                            3717 Grandewood Blvd             Apt 1037                                         Orlando                FL           32837
    Susan Paciello                                                         12 Applewood Lane                                                                 Wingdale               NY           12594
    SUSAN PARNELL-SCHMITT                                                  5088 ANDERSON RD                                                                  NEWBURGH               IN           47630
    SUSAN PASHKOF                                                          239 CANN HALL ROAD                                                                LONDON                              E113NL    United Kingdom
    SUSAN PATE                                                             202 PRIVATE ROAD 7860                                                             HAWKINS                TX           75765
    Susan Pease                                                            2834 Falcon Ridge                                                                 Clermont               FL           34711
    SUSAN PITTMAN                                                          9590 SHEPARD PLACE                                                                WELINGTON              FL           33414
    SUSAN R OCONNELL                        DO NOT USE - USE 1-22818       3014 JOHN BERNARD DR                                                              ELLIOTT CITY           MD           21042
    Susan R Stibal                                                         424 Highland Ave.                                                                 West Chicago           IL           60185
    Susan R Urban                                                          3055 River Place Cove            #119                                             Oviedo                 FL           32765
    Susan R. Benner                                                        7006 Farm Pond Road                                                               Indian Trail           NC           28079
    SUSAN RABINER LITERARY AGENT
    INC                                                                    166 FURNACE DOCK ROAD                                                             COURTLANDT MANOR       NY           10567
    Susan Raffanello                                                       5506 Delano Lane                                                                  Orlando                FL           32821
    Susan Reever                                                           196 Candace Lane                                                                  Kennesaw               GA           30144
    Susan Reid                                                             672 South Summit Lane                                                             Rockport               IN           47635
    SUSAN RENNER                                                           28 NEWMARKET ROAD                                                                 DURHAM                 NH           03824
    Susan Retik                                                            38 ELLICOTT ST                                                                    NEEDHAM                MA           02492
    SUSAN RICHARDS                                                         9 COOPER LAKE ROAD                                                                BEARSVILLE             NY           12409
                                                                           211 EAST ONTARIO STREET
    SUSAN ROSENSTEIN EXECUTIVE              SEARCH LIMITED                 SUTE1575                                                                          CHICAGO                IL           60611
    SUSAN RUCKDESCHEL                                                      28 WILKES STREET                                                                  BEACON                 NY           12508
    Susan Rudy                                                             2575 Tree Ridge Lane                                                              Orlando                FL           32817
    Susan Ruff                                                             81 Tremont Street Apt#3                                                           Cambridge              MA           02139
    SUSAN S WELLS                                                          1046 MORGANTOWN ROAD                                                              MCCOMB                 MS           39648
    Susan Sabean                                                           44 Cedar Lake West                                                                Denville               NJ           07834
    Susan Sandenaw                                                         12215 Hunters Chase Dr           Apt 11307                                        Austin                 TX           78729
    Susan Schaffrath                                                       923 Michigan                                                                      Evanston               IL           60202
    SUSAN SCHATZ                            7101 SOUTH ST                  UNIT 6                                                                            LINCOLN                NE           68506



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                      432 of 488                                                                                       1:26 PM
                                                      12-12171-reg        Doc 136           Filed 07/15/12 Exhibit
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                                                                                                      Pg Creditor
                                                                                                          440 Matrix
                                                                                                                  of 519
                                                                                                                 First Class Service List


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    SUSAN SCHULMAN                          SUSAN SCHULMAN LITERARY     2 BRYAN PLAZA                  AGENT FOR GUS EDWARDS                                      WASHINGTON            CT             06794
    SUSAN SCHULMAN                          SUSAN SCHULMAN LITERARY     2 BRYAN PLAZA                  AGENT FOR J ALLEN SUDDETH                                  WASHINGTON            CT             06794
    SUSAN SCHULMAN                          SUSAN SCHULMAN LITERARY     2 BRYAN PLAZA                  AGENT FOR JEFFREY SWEET                                    WASHINGTON            CT             06794
    SUSAN SCHULMAN AGENCY                   ATTN SUSAN SCHULMAN         454 WEST 44TH ST                                                                          NEW YORK              NY             10036
    SUSAN SCHULMAN AGENCY                                               454 WEST 44TH STREET           ATTN SUSAN SCHULMAN                                        NEW YORK              NY             10036
    SUSAN SCHULMAN AGENCY                                               454 WEST 44TH ST                                                                          NEW YORK              NY             10036
    SUSAN SLADOWSKI                                                     160-60 20 AVE                                                                             WHITESTONE            NY             11357
    Susan Smith                                                         3712 E Kaley Ave                                                                          Orlando               FL             32812
    Susan Spitz                                                         175 Christina Street                                                                      Newton                MA             02461
    SUSAN STEVENS CRUMMEL                                               4137 WILLOW WAY                                                                           FORT WORTH            TX             76133
    SUSAN STEVENS CRUMMEL                                               4137 WILLOW WAY ROAD                                                                      FORT WORTH            TX             76133
    SUSAN SULCER ROACH                                                  140 LONGWOOD LANE                                                                         NEWNAN                GA             30263
    SUSAN SULLIVAN                                                      22 EISENHOWER AVE                                                                         NATICK                MA             01760
    SUSAN SWAN                              SWAN & RASBERRY             214 WILLOW CREEK LANE                                                                     OVILLA                TX             75154
    SUSAN T BUCKHEIT                                                    9729 E PINEWOOD AVE                                                                       ENGLEWOOD             CO             80111-5444
    Susan T Zelman                                                      3168 Broadmoor Avenue                                                                     Columbus              OH             43209
    SUSAN TCHUDI                                                        10846 NELSON BAR ROAD                                                                     OROVILLE              CA             95965
    SUSAN THRASHER                                                      906 MALLOY DR                                                                             PANAMA CITY           FL             32405
    SUSAN TODD                              DBA SUE TODD ILLUSTRATION   146 ALAMEDA AVENUE                                                                        TORONTO               ON             M6C 3X2      Canada
    Susan Tousey                                                        1960 Jamestown Lane                                                                       Elgin                 IL             60123
    SUSAN VAN ETTEN LAWSON                                              30 HILLTOP DRIVE                                                                          WENHAM                MA             01984
    Susan Vermilyea                                                     7051 E Calle Arandas                                                                      Tucson                AZ             85750
    Susan Vermilyea                                                     7051 E Calle Arandas                                                                      Tucson                AZ             85750-2563
    Susan W Warne                                                       65 Prince Street                                                                          Jamaica Plain         MA             02130
    Susan Walrath                                                       15714 Randall Ridge Ln         #7107                                                      Cypress               TX             77429
    Susan Warne                                                         65 Prince Street                                                                          Jamaica Plain         MA             02130
    SUSAN WATSON                                                        4821 NASA PARKWAY # 24 S                                                                  SEABROOK              TX             77586
    Susan Weiss                                                         9 WINGATE LANE                                                                            DOVER                 NH             03820
    SUSAN WHEELER                                                       38 PISCATAQUA ROAD                                                                        DURHAM                NH             03824
    Susan Witt                                                          2416 Moneda Street                                                                        Haltom City           TX             76117
    SUSAN WOJCIECHOWSKI                                                 1007 EAST LAKE ROAD                                                                       DUNDEE                NY             14837
    Susan Woodman                                                       11 Sawyer Avenue                                                                          Gloucester            MA             01930
    SUSAN YODER ACKERMAN                                                524 MARLIN DR                                                                             NEWPORT NEWS          VA             23602
    SUSAN ZELMAN                                                        3168 BROADMOOR AVENUE                                                                     COLUMBUS              OH             43209
    SUSAN ZIMMERMANN                                                    593 MT EVANS                                                                              GOLDEN                CO             80401
                                                                                                                                                                  LIPPO KARAWACI
    SUSANA LISWANTO                                                     TAMAN PERMATA B21 NO 5                                                                    TANGERANG                                         Indonesia
    Susanna Brosonski                                                   2142 Woodbridge Road                                                                      Longwood              FL             32779
    SUSANNA BROUGHAM                                                    190 BRIDGE ST # 2402                                                                      SALEM                 MA             01970
    Susanna Brougham                                                    190 Bridge St                  Apt. #2402                                                 Salem                 MA             01970
    SUSANNA NATTI                                                       32 INDEPENDENT ROAD                                                                       BEDFORD               MA             01730
    Susanna Vagt                                                        12 Burnham St.                 Apt. #2                                                    Somerville            MA             02144
    SUSANNA VAGT                                                        68 DANE STREET, APT #3                                                                    SOMERVILLE            MA             02143
    Susannah Mac Donald                                                 25 Thornton Way                #331                                                       Brunswick             ME             04011
    SUSANNAH OSMOND MACKAY                                              4458 FREEMAN ROAD                                                                         MARIETTA              GA             30062
    SUSANNAH SHEFFER                                                    1548 MAIN STREET                                                                          SUNDERLAND            MA             01375
    Susanne Krohn                                                       425 S. First St.                                                                          Elburn                IL             60119
    SUSANNE M TURNER                        DBA TURNER & ASSOCIATES     13380 BRIDGEFORD AVENUE                                                                   BONITA SPRINGS        FL             34135
    SUSANNE PIVOWAR                                                     22172 ALTONA DR                                                                           BOCA RATON            FL             33428

    SUSE MACDONALD                                                      41 MADISON AVENUE - 33RD FLOOR c/o THE GERSH AGENCY                 ATTN PHYLLIS WENDER   NEW YORK              NY             10016
    Susheela Nakka                                                      560 AMERICAN AVE               APT A-405                                                  KING OF PRUSSIA       PA             19406
    SUSIE LOBDELL                           DBA LOBDELL DESIGN          10300 JOLLYVILLE RD, # 832                                                                AUSTIN                TX             78759
    SUSMAN TISDALE GAYLE
    ARCHITECTS INC                          DBA STG DESIGN INC          828 WEST 6TH STREET, STE 300                                                              AUSTIN                TX             78703
    SUSSANA REICH                                                       5 BELLE AVENUE                                                                            OSSINING              NY             10562
    SUSSMAN SALES CO INC                                                250 EAST 54TH STREET, STE 8B                                                              NEW YORK              NY             10022
    SUSSMAN SALES CO INC                                                P O BOX 147                                                                               JERICHO               NY             11753
    SUTCLIFFE JUSTIN                                                    11 CROMWELL ROAD                                                                          WHITSTABLE            Kent           CT5 1NW      United Kingdom
    SUTOER SOLUTIONS INC                                                1 EAST OAKHILL DR STE 200                                                                 WESTMONT              IL             60559

    SUTTON CLAY C JR                                                    129 BUCK AVENUE                                                                           CAPE MAY COURTHOUSE   NJ             08210
    SUZAN GANNETT                                                       12 SHERBURN DRIVE                                                                         THORNTON              NH             03285-6424
    Suzanna Kathlyn Bainbridge                                          1107 S THIRD ST                                                                           ST CHARLES            IL             60174
    Suzanne A. Flammia                                                  54 Randolph Drive                                                                         Tewksbury             MA             01876
    SUZANNE B DROSS                                                     1110 COUNTRY CLUB ROAD NORTH                                                              SAINT PETERSBURG      FL             33710
    SUZANNE BARNES                                                      808 REDBUD                                                                                KINGSTON              OK             73439
    SUZANNE BATCHELOR                                                   1823-B W 39TH STREET                                                                      AUSTIN                TX             78731-6154
    SUZANNE BISCHOFF                                                    4661 CERRILLOS DRIVE                                                                      WOODLAND HILLS        CA             91364
    Suzanne Carr                                                        34 Kimball St.                                                                            Malden                MA             02148



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                433 of 488                                                                                                      1:26 PM
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                                                                                                                           of 519
                                                                                                                   First Class Service List


               CreditorName                           CreditorNoticeName                  Address1                      Address2              Address3              City          State       Zip              Country
    Suzanne Chin                                                           501 Hartford Street                                                           Westwood            MA           02090
    Suzanne Cope                                                           21 Laurel St. #2                                                              Somerville          MA           02143
    Suzanne Cope                                                           21 LAUREL ST, # 2                                                             SOMERVILLE          MA           02143-2822

    SUZANNE CRAIG REPRESENTS INC                                           4015 EAST 53RD STREET                                                         TULSA               OK           74135
    SUZANNE CROSKEY                                                        2121 AUTUMN HAZE COURT                                                        GAMBRILLS           MD           21054
    SUZANNE DOD THOMAS                      ESTATE OF PIRI THOMAS          2503 EDWARDS AVENUE                                                           EL CERRITO          CA           94530
    Suzanne Dunlop                                                         2690 Blackman Rd.                                                             Geneva              IL           60134
    SUZANNE G RINGGER                                                      304 ST HELENA CT                                                              GREENVILLE          SC           29607
    SuzAnne G. Tremblay                                                    103 Jackson Heights                                                           North Hatley        QC           J0B 2C0      Canada
    SUZANNE GOLDSTEIN                                                      5609 BRADDOCK FARMS WAY                                                       CLIFTON             VA           20124
    SUZANNE HEISER                          DBA NIGHT AND DAY DESIGN       1047 BANFIELD RD                                                              PORTSMOUTH          NH           03801
    Suzanne Hinderliter                                                    660 Salmon Creek                 Road                                         Lansing             NY           14882
    SUZANNE I BARCHERS                                                     995 WING PLACE                                                                STANFORD            CA           94305
    Suzanne I Brimberry                                                    4503 Rivercliff Drive SW                                                      Lilburn             GA           30047
    SUZANNE KROSNICK                        DBA ALAN KROSNICK STUDIO       1151 PHEASANT DRIVE                                                           PITTSBURG           CA           94565
                                            DBA LANGEBARTELS WRITING &
    SUZANNE LANGEBARTELS                    EDITING SVC                    4419 W DETROIT PLACE                                                          BROKEN ARROW        OK           74012
    SUZANNE M CHIARENZA                                                    3441 DATA DRIVE APT 262                                                       RANCHO CORDOVA      CA           95670
    Suzanne M Moore                                                        2917 Zenobia St                                                               Denver              CO           80212
    SUZANNE MARRS                                                          1509 BELMONT STREET                                                           JACKSON             MS           39202
    Suzanne Massey                                                         1121 Creekwood                                                                Garland             TX           75044
    Suzanne McCarthy                                                       4 Weston Avenue                                                               Braintree           MA           02184
    Suzanne Moore                                                          2917 Zenobia Street                                                           Denver              CO           80212
    Suzanne P Weir                                                         7 Cuthbert Road                                                               West Roxbury        MA           02132
    SUZANNE S BLACKWELL                                                    605 BURKES MILL ROAD                                                          MOUNT SIDNEY        VA           24467
    SUZANNE SHAHEEN                                                        116 BOND STREET                                                               BROOKLYN            NY           11217
    SUZANNE SHERMAN                                                        404 S LEITCH AVE                                                              LA GRANGE           IL           60525
    SUZANNE STEFFENS                        DBA SOCIAL IMPACT ARCHITECTS   3921 HAWTHORNE AVE                                                            DALLAS              TX           75219
    SUZANNE TRIPP JURMAIN                                                  3126 EARLMAR DRIVE                                                            LOS ANGELES         CA           90064
    Suzanne Vittitoe                                                       525 Havana Avenue                                                             Long Beach          CA           90814
    SUZANNE WEINBERG                                                       3434 EAST VIA PALOMA COLIPAVA                                                 TUCSON              AZ           85718
    Suzelle M Gerardi                                                      2 Fosters Lane                                                                Wakefield           MA           01880
    SUZETTE YOUNGS                                                         6109 W 15TH ST                                                                GREELEY             CO           80634
    SUZHOU ETONHOUSE INTL SCH                                              SUZHOU SCIENCE & TECH TOWN       102 KERFA ROAD                               PR                               215011       China
    SW CONFERENCE ON LANGUAGE
    TEACHING                                SWCOLT                         713 ROCK HOLLOW RD                                                            EDMOND              OK           73034
    SWALLOWTAIL STUDIO                      MICHEAL OBRIEN                 152 STEVENS STREET                                                            WEST CAPE MAY       NJ           08204
    Swampaha Properties                                                    PO Box 24013                                                                  Omaha               NE           68124-0013
    SWANK AUDIO VISUALS LLC                                                4037 PAYSPHERE CIRCLE                                                         CHICAGO             IL           60674
    SWANSON MAGGIE                                                         147 EAST ROCKS ROAD                                                           NORWALK             CT           06851
    SWANSON RICHARD A                                                      20 LORRAINE CRESCENT                                                          LIVERPOOL           NY           13090
    SWANSON SUSAN MARIE                                                    1494 HYTHE STREET                                                             ST PAUL             MN           55108
    Swartz, Richard
    SWEET BRIAR COLLEGE                     THE BOOK SHOP                  BOX AE                                                                        SWEET BRIAR         VA           24595
    SWEET MELISSA                                                          68 MAIN STREET                                                                ROCKPORT            ME           04856
    SWENSEN IANTHE BRAUTIGAN                                               725 SPENCER AVENUE                                                            SANTA ROSA          CA           95404
    SWICTM                                                                 5566 DUTCHESS COURT                                                           NEWBURGH            IN           47630
    SWINBURNE STEPHEN R                     PO BOX 2005                    443 MAIN STREET                                                               SOUTH LONDONDERRY   VT           05155
    SWWC SERVICE COOPERATIVE                                               1420 EAST COLLEGE DRIVE                                                       MARSHALL            MN           56258
    SXSW INC                                                               P O BOX 685289                                                                AUSTIN              TX           78768
    Sybil Kellogg                                                          152 Iroquois Trail                                                            Loda                IL           60948
    SYBIL M SOSIN                                                          11 SOUTH WILLE STREET #509                                                    MOUNT PROSPECT      IL           60056
    SYBIL MONTGOMERY                                                       BOX 127 - 115 ANTRIM ROAD                                                     HANCOCK             NH           03449
                                            SHOWTEL/ EXCHANGE
    SYCAMORE COMMUNICATIONS                 COMMUNICATIONS                 233 N GUADALUPE # 290                                                         SANTA FE            NM           87501
    SYD HOFF TRUST F/B/O BONNIE
    STILLMAN                                ATTN ILARIA PEZZATINI          700 BRICKNELL AVENUE                                                          MIAMI               FL           33131
    Sydney Early                                                           703 40th ST SE                                                                Cedar Rapids        IA           52403
    Sydney Mace                                                            1075 Maplewood Ct.                                                            Hendersonville      NC           28791
    SYHANN CHRISTINE SHOEMAKE                                              1918 TYLER STREET                                                             BILOXI              MS           39532
    Sylvia D Mallory                                                       127 Cherry St                                                                 Ty Ty               GA           31795
    Sylvia Dugan                                                           17308 S. Cambridge Way                                                        Jeffersonton        VA           22724
    SYLVIA FERNANDEZ                                                       17846 SW 35TH DRIVE                                                           MIRAMAR             FL           33029
    SYLVIA HERNANDEZ ACEVEDO                                               CALLE SAN JOSE 255                                                            AGUADA              PR           00602
    SYLVIA HOFFMAN                                                         190 FULLER LANE                                                               WINNETKA            IL           60093
    SYLVIA KARAVIS                                                         29 ADINGDON DRIVE                CAVERSHAM PARK VILLAGE                       READING                          RG4 6SE      United Kingdom
    SYLVIA KORNICKI                                                        11972 KIOWA AVE #102                                                          LOS ANGELES         CA           90049
    SYLVIA MADRIGAL                                                        32A BULL STREET                                                               NEWPORT             RI           02840
    SYLVIA MALTZMAN                                                        12955 SW 76 TERRACE                                                           MIAMI               FL           33183



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                  434 of 488                                                                                        1:26 PM
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                                                                                                                      of 519
                                                                                                                   First Class Service List


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    Sylvia Nichols                                                         10245 Cedar Lake Drive                                                                             Providence Village   TX           76227-7544
    SYLVIA OSBORNE ALF                                                     P O BOX 1013                                                                                       FREEPORT             FL           32439
    Sylvia R Shocker                                                       24 Timson Path                                                                                     Newton               MA           02459
    Sylvia Remache                                                         1658 81 St Street                                                                                  Brooklyn             NY           11214
    SYLVIA WINNER                                                          110 RIVERSIDE DRIVE APT # 10D                                                                      NEW YORK             NY           10024
    SYMMETRY CREATIVE
    PRODUCTIONS                                                            1300 SOUTH GROVE AVE                                                                               BARRINGTON           IL           60010-5246
    SYMPHONY SPACE                                                         2537 BROADWAY                                                                                      NEW YORK             NY           10025
    SYNCSORT INC                                                           50 TICE BOULEVARD                                                                                  WOODCLIFF LAKE       NJ           07677
    SYNERCOMM INC                                                          3265 GATEWAY ROAD, STE 650                                                                         BROOKFIELD           WI           53045
                                                                           7600 LEESBURG PIKE EAST BLDG
    SYNOVATE                                                               STE 110                                                                                            FALLS CHURCH         VA           22043
    Synter Resource Group, LLC                                             PO Box 63247                                                                                       North Charleston     SC           29419-3247
    SYNTHIA SAINT JAMES                                                    PO BOX 27683                                                                                       LOS ANGELES          CA           90027
    SYRACUSE UNIVERSITY                                                    303 UNIVERSITY PLACE                                                                               SYRACUSE             NY           13244
    Syreena L Mortimer                                                     10385 Andover Point Cir                                                                            Orlando              FL           32825
    SYRIA L CASTILLO                                                       1100 WHITLEY DR                                                                                    LEANDER              TX           78641
    SYSTEM SCALE CORPORATION                                               332 HILL AVENUE                                                                                    NASHVILLE            TN           37210
    T & H INTERIOR SERVICES INC             DBA INTERIOR SERVICES          1803 SOUTH MYRTLE AVENUE                                                                           MONROVIA             CA           91016
    T & L OFFICE PRODUCTS INC                                              209 N PINE ST                                                                                      PROSPECT HEIGHTS     IL           60070-1523
    T DE VRIES                                                             WARLEIGH MANOR                   THE ORANGERY                                                      WARLEIGH BATH                     BA1 8EE      United Kingdom
    T E ANDRESEN INC                                                       36-38 JEFFERSON AVE                                                                                SALEM                MA           01970
    T W IMAGES INC                          DBA 9 SURF STUDIOS             603 MATTISON AVENUE STE 4300                                                                       ASBURY PARK          NJ           07712
    T. Jason Martinez                                                      4720 W. 30th Avenue,                                                                               Denver               CO           80212
    T. Kenwood Mullare                                                     31 Barque Hill Drive                                                                               Norwell              MA           02061
    T/U/A RL THORNDIKE FBO NANCY            THORNDIKE C/O BANK OF AMERICA                                   ATTN SPECIALIZED ASSETS
    WHITNEY                                 NA                            P O BOX 831575                    TX10991501                                                        DALLAS               TX           75283-1575
    Tabitha A. Williams                                                   2223 Mescalaro Way                                                                                  Jacksonville         FL           32246
    Tabitha Fleming                                                       PO Box 3023                                                                                         Muscle Shoals        AL           35662
    TABULA RASA PUBLISHING
    SERVICES                                                               PO BOX 6                                                                                           WINTER PARK          FL           32790
    TACKETT SUE A                                                          2583 VALAIS COURT                                                                                  DAYTON               OH           45458
    TAFT MIDDLE SCHOOL                                                     19501 BERG RD                                                                                      DETROIT              MI           48219

    TAGETIK NORTH AMERICA LLC                                              1055 SUMMER STREET - 3RD FLOOR                                                                     STAMFORD             CT           06905
    TAGT EXHIBITS                                                          PO BOX 1918                                                                                        SAN ANTONIO          TX           78297
                                                                                                                                              THOKER NIAZ BAIG, POST OFFICE
    TAHIR LODHI                                                            14-G CANALBERG HS,               PUBLISHERS REPRESENTATIVE         53700                           LAHORE                                         Pakistan
    TAHRIKE TARSILE QURAN INC                                              80-08 51ST AVENUE                                                                                  ELMHURST             NY           11373

    TAIPEI BOOK FAIR FOUNDATION                                            10F NO 180 SECTION 1 KEELUNG RD                                                                    TAIPEI                            11006        Taiwan
    Tajauna Beres                                                          2680 Salorn Way                                                                                    Round Rock           TX           78681
    TAKABAYASHI MARI                                                       369 SACKETT ST                                                                                     BROOKLYN             NY           11231
    TAKESHI NODA                                                           4 6 1 SHIROKANEDAI                                                                                 MINATO-KU            Tokyo-to     1088639      Japan
    TALBOT ANN                                                             59 COLDSPRING ROAD                                                                                 HOLLISTON            MA           01746
    Talbot Insurance Agency                                                5670 Greenwood Plaza Blvd.      Suite 550                                                          Greenwood Village    CO           80111
    TALBOT RICHARD                                                         59 COLDSPRING ROAD                                                                                 HOLLISTON            MA           01746
    TALBOTT JOHN E                          C/O UNIVERSITY OF CALIFORNIA   HISTORY DEPARTMENT                                                                                 SANTA BARBARA        CA           93106
    TALENT FUND INC                                                        P O BOX 188                                                                                        HALF MOON BAY        CA           94019-0188
    TALENT HOUSE INC                                                       204A ST GEORGE ST                                                                                  TORONTO              ON           M5R 2N5      Canada
    TALKING BOOK PRODUCTIONS                                               11 PENN PLAZA SUITE 300                                                                            NEW YORK             NY           10001
    TALLMOUNTAIN ESTATE                                                    374 SAN JOSE AVENUE                                                                                SAN FRANCISCO        CA           94110
    TAMADA BROWN & ASSOCIATES                                              212 N SANGAMON ST, STE 4F                                                                          CHICAGO              IL           60607
    TAMAR JACOBSON                                                         6617 LINCOLN DRIVE                                                                                 PHILADELPHIA         PA           19119
    Tamara Chapman                                                         150 West Maple Avenue                                                                              Denver               CO           80223
    TAMARA J SLOBODKIN                                                     163 OLD FIELD ROAD                                                                                 SETAUKET             NY           11733
    Tamara Kuberski                                                        325 South Collins Street                                                                           South Elgin          IL           60177
    TAMARA LAWLER BARNES                                                   935 NW 168TH AVENUE                                                                                PEMBROKE PINES       FL           33028
    Tamara Sigwarth                                                        1991 Firestone Dr                                                                                  Asbury               IA           52002
    Tamara Voynick                                                         6502 Bradley Dr                                                                                    Austin               TX           78723
                                            C/O ASPLAND MANAGEMENT STE
    TAMARACK PRODUCTIONS                    1102                           245 W 55TH STREET                                                                                  NEW YORK             NY           10019
    TAMERA WILL WISSINGER                                                  1910 CUTLASS COVE DRIVE                                                                            VERO BEACH           FL           32963
    TAMI TORRES                                                            9417 APPLE DR                                                                                      MIDWEST CITY         OK           73130
    Tamie Young                                                            1918 Aspen Drive                                                                                   Lewisville           TX           75077
    Tamika Young                                                           10008 Meadowlark MNR                                                                               Indianapolis         IN           46235
    Tamitra F Tatum                                                        2257 CURRY DR                                                                                      INDIANAPOLIS         IN           46229

    TAMMADGE MARKET RESEARCH INC                                           210 BARTON SPRINGS SUITE 515                                                                       AUSTIN               TX           78704
    TAMMY J ZAMBO                                                          144 ELM STREET                                                                                     NORTH READING        MA           01864



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                  435 of 488                                                                                                              1:26 PM
                                                      12-12171-reg           Doc 136                  Filed 07/15/12 Exhibit
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                                                                                                                    443 Matrix
                                                                                                                            of 519
                                                                                                                            First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                               Address2                         Address3                          City        State       Zip              Country
    Tammy L LoCascio                                                       203 Lakeshore Lane                                                                                          Bloomingdale        IL           60108
    Tammy Mathews                                                          289 Sydnorville Rd                                                                                          Troy                MO           63379
    TAMMY NEAF                                                             P O BOX 970                                                                                                 RIMROCK             AZ           86335
    Tammy Rivers                                                           7447 Country Brook Drive                                                                                    Indianapolis        IN           46260
    Tammy Roberts                                                          2521 Ridgewind Way                                                                                          Windermere          FL           34786
    Tammy Roberts                                                          30 Stonewall Drive                                                                                          Troy                MO           63379
    TAMMY SOUTHERLAND-RABY                                                 515A VIEW ROCK LANE                                                                                         HENDERSONVILLE      NC           28791
    TAMMY SWINBURNE                                                        P O BOX 1351                                                                                                CHICKASHA           OK           73023-1351
    TAMSON WESTON                                                          264 6TH AVE, APT 1D                                                                                         BROOKLYN            NY           11215
    TAMU-CC READING CONF.
    UNIVERSITY                              OUTREACH                       6300 OCEAN DRIVE                                                                                            CORPUS CHRISTI      TX           78412
    TAMYRA AYLES                                                           211 RUIDOSA                                                                                                 ARDMORE             OK           73401
    TANG GREG                                                              18 HILLIARD ST                                                                                              CAMBRIDGE           MA           02138
    Tangi Carter                                                           1229 Bermuda Lakes Lane              Unit 307                                                               Kissimmee           FL           34741
    TANGIPAHOA PARISH                       SALES & USE TAX DEPT           P O BOX 159                                                                                                 AMITE               LA           70422
    TANGOE INC                                                             PO BOX 731352                                                                                               DALLAS              TX           75373-1352
    TANGS PHOTO MEMORIES                    GERALD D TANG                  2377 CONNOLLY LN, STE 100                                                                                   WEST DUNDEE         IL           60118-1754
    TANIA JIMENA RODRIGUEZ GARCIA                                          SAARINIEMENKATU 8B-13                                                                                       HELSINKI                         00530        Finland
    Tanika Reynolds                                                        6715 Mission Club Dr.                302                                                                    Orlando             FL           32821
    TANIKAWA SHUNTARO                                                      4-16-6 SUGINAMI-KU                                                          NARITA HIGASHI                  TOKYO                            1660015      Japan
    Tanisha Price                                                          933 Cindy Lane                                                                                              Leander             TX           78641
    TANJA BISESI                                                           3811 DEVONSHIRE LANE                                                                                        BLOOMINGTON         IN           47408
    TANJA WERLE                                                            4615 HEATH CIRCLE                                                                                           ROHNERT PARK        CA           94928
    TANNENBAUM PAULETTE                                                    3704 PROSPECT ROAD                                                                                          STREET              MD           21154
    Tanner Ottley Gay                                                      900 Sierra Place S.E.                                                                                       Albuquerque         NM           87108
    TANNY MCGREGOR                                                         9960 INDIAN SPRINGS DR                                                                                      CINCINNATI          OH           45241
    TANTILLO SUSAN HATHAWAY                                                2604 NORTH VILLA LN                                                                                         MCHENRY             IL           60051
    TANTRAMAR INTERACTIVE INC                                              43 MAIN STREET, STE B                                                                                       SACKVILLE           NB           E4L 4A8      Canada
    TANYA BAKER                                                            2105 JUNCTION AVENUE                                                                                        EL CERRITO          CA           94530-1729
    Tanya Cruz                                                             1814 Stargazer Trail                                                                                        Kissimmee           FL           34758
    Tanya Mitchell                                                         6809 Lakeworth Drive                                                                                        Indianapolis        IN           46220
    TANYA SIEDLECKI                                                        1625 S HAVEN DR                                                                                             CAMBRIDGE           MN           55008
    Tanya Vecchione                                                        7 Regency Drive                                                                                             Holliston           MA           01746
    Tapp, Stephen
    TAPS                                                                   1777 F Street, NW                    6th Floor                                                              Washington          DC           20006
    Tara A Mc Bride                                                        3760 South Deann Dr                                                                                         West Valley City    UT           84128
    Tara Buckley                                                           3925 Vrain Street                                                                                           Denver              CO           80212
    TARA K CHASE                                                           6604 FAWN CANYON DR                                                                                         OKAHOMA CITY        OK           73162
    Tara L Gordon                                                          922 ONTARIO STREET                   UNIT 2S                                                                OAK PARK            IL           60302
    Tara L Mathis                                                          1640 Silverleaf Way                                                                                         Alpharetta          GA           30005
    TARA MAHONEY                                                           5 SENECA LANE                                                                                               PLYMOUTH            MA           02360
    TARA MCCARTHY                                                          P O BOX 573                                                                                                 WOODSTOCK           NY           12498
    Tara S Smith                                                           219 13th St                          #2                                                                     Brooklyn            NY           11215
    Tara Schurch                                                           2170 Silkwood Drive                                                                                         Colorado Springs    CO           80920
    Tara Sherman                                                           2149 Starline Meadow Place                                                                                  Las Vegas           NV           89134
    Tara Thompson                                                          2404 Stricker Drive                                                                                         Ocoee               FL           34761
                                                                           Linebarger Goggan Blair & Sampson,
    Tarrant County                          Elizabeth Weller               LLP                                  2323 Bryan Street, Ste 1600                                            Dallas              TX           75201
    Tarrant County                                                         2323 Bryan Street, Ste 1600                                                                                 Dallas              TX           75201
    TARRY LINDQUIST                                                        6910 HEMLOCK DR NW                                                                                          MARYSVILLE          WA           98271
    Taryn Roeder                                                           9 Cambridge Terrace                  Unit 1                                                                 Cambridge           MA           02140
    TASHA TROPP LAMAN                                                      1721 PINEWOOD DRIVE                                                                                         COLUMBIA            SC           29205-3246
    TATE ELEMENTARY                                                        PO BOX 268                                                                                                  TATE                GA           30177
    TATE WILLIAM F                                                         7433 CROMWELL DRIVE                                                                                         CLAYTON             MO           63105-2918
    TATIANA A KRIVOSHEEV                                                   3791 RIVER MANSION DR                                                                                       DULUTH              GA           30096
    Tatiana Krasnitsky-Grott                                               2321 Brown Ave                                                                                              Evanston            IL           60201
    TATIANA M NAGRO                                                        317 MADISON AVENUE                   WILLIAM A SIMON                                                        NEW YORK            NY           10017-5021
    TATIANA NEGRON CALDERON                 URB VALLEY VERDE II            AR-24 C/ RIO SONADOR                                                                                        BAYAMON             PR           00961

    TATIANA R KOLY FOR                                                     4 COPPER VAIL CT                     FEODOR AND NINA ROJANKOVSKY                                            PRINCETON           NJ           08540
                                                                           2-1-13-708 FUKASAWA SETAGAYA-
    TATSURO KIUCHI                                                         KU                                                                                                          TOKYO                            1580081      Japan
    TAUNTON PRESS INC                       ATTN CAROLYN KOVELSKI          63 SOUTH MAIN ST PO BOX 5506                                                                                NEWTON              CT           06470
    TAURINS                                                                170-15 29TH AVE                                                                                             FLUSHING            NY           11358
    TAURUS DISPLAY CO                                                      1249 GLEN AVENUE                                                                                            MOORESTOWN          NJ           08057
    TAX EXECUTIVES INSTITUTE INC                                           P O BOX 48                                                                                                  SOUTHBOROUGH        MA           01772

    TAX TRUST ACCOUNT                       TOWN OF WEDOWEE                PO BOX 830725                                                               ALATAX BUSINESS LICENSES DEPT   BIRMINGHAM          AL           35203
                                                                                                                                                       RDS-ALATAX BUSINESS LICENSE
    TAX TRUST ACCOUNT                       TOWN OF MCINTOSH               PO BOX 830725                                                               DEPARTMENT                      BIRMINGHAM          AL           35283



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                           436 of 488                                                                                                             1:26 PM
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                                                                                                                           First Class Service List


              CreditorName                         CreditorNoticeName                   Address1                                Address2                           Address3                     City        State       Zip            Country
    TAX TRUST ACCOUNT                       THE TOWN OF TOWN CREEK          PO BOX 830725                                                             C/O ALATAX / BUSINESS LICENSES   BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                       THE TOWN OF STEELE              PO BOX 830725                                                             ALATAX , BUSINESS LICENSES       BIRMINGHAM      AL           35203
                                                                                                                                                      RDS - ALATAX BUSINESS LICENSE
    TAX TRUST ACCOUNT                       THE TOWN OF CLEVELAND           PO BOX 830725                                                             DEPT                             BIRMINGHAM      AL           35203
                                                                                                                                                      C/0 ALATAX INC, BUSINESS
    TAX TRUST ACCOUNT                       THE CITY OF VESTAVIA HILLS      PO BOX 830725                                                             LICENSES                         BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                       THE CITY OF ASHFORD             PO BOX 830725                                                             ALATAX BUSINESS LICENSE DEPT     BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                       THE CITY OF ARAB                PO BOX 830725                                                             ALATAX / BUSINESS LICENSES       BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                       RDS                             P O BOX 830725                          BUSINESS LICENCE DEPT                                              BIRMINGHAM      AL           35283
    TAX TRUST ACCOUNT                       RDS                             PO BOX 830900                           BUSINESS LICENSE DEPT                                              BIRMINGHAM      AL           35283
                                                                                                                                                      ALATA BUSINESS LICENSE
    TAX TRUST ACCOUNT                       CITY OF SAMSON                  PO BOX 830725                                                             DEPARTMENT                       BIRMINGHAM      AL           35283
    TAX TRUST ACCOUNT                       CITY OF HAMILTON                PO BOX 830725                                                             ALATAX BUSINESS LICENSE DEPT     BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                       CITY OF GUIN                    PO BOX 830725                                                             C/O ALATAX BUSINESS LICENSES     BIRMINGHAM      AL           35203
                                                                                                                                                      C/O ALATAX - BUSINESS LICENSE
    TAX TRUST ACCOUNT                       CITY OF ATTALLA                 PO BOX 830725                                                             DEPARTMENT                       BIRMINGHAM      AL           35203
                                                                                                                                                      ALATA BUSINESS LICENSE
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             DEPARTMENT                       BIRMINGHAM      AL           35283
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             ALATAX BUSINESS LICENSE DEPT     BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             ALATAX , BUSINESS LICENSES       BIRMINGHAM      AL           35203

    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             ALATAX BUSINESS LICENSES DEPT    BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                                                       P O BOX 830725                          BUSINESS LICENCE DEPT                                              BIRMINGHAM      AL           35283
                                                                                                                                                      C/0 ALATAX INC, BUSINESS
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             LICENSES                         BIRMINGHAM      AL           35203
                                                                                                                                                      C/O ALATAX - BUSINESS LICENSE
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             DEPARTMENT                       BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             C/O ALATAX / BUSINESS LICENSES   BIRMINGHAM      AL           35203
                                                                                                                                                      RDS-ALATAX BUSINESS LICENSE
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             DEPARTMENT                       BIRMINGHAM      AL           35283
                                                                                                                                                      RDS - ALATAX BUSINESS LICENSE
    TAX TRUST ACCOUNT                                                       PO BOX 830725                                                             DEPT                             BIRMINGHAM      AL           35203
    TAX TRUST ACCOUNT                                                       PO BOX 830900                           BUSINESS LICENSE DEPT                                              BIRMINGHAM      AL           35283
    Taxation & Revenue Department                                           PO Box 25127                                                                                               Santa Fe        NM           87504-5127
    Taxation & Revenue Department                                           P.O. Box 2527                                                                                              Santa Fe        NM           87504-2527
    TAXATION & REVENUE DEPT                 CITY OF MONROE                  P O BOX 123                                                                                                MONROE          LA           71210
    TAXATION AND REVENUE
    DEPARTMENT                                                              P O BOX 25128                                                                                              SANTA FE        NM           87504-5128
    TAYLOR & FRANCIS BOOKS LLC              SUBSIDIARY RIGHTS DEPT          711 THIRD AVENUE 8TH FLOOR                                                                                 NEW YORK        NY           10017
    TAYLOR & FRANCIS LTD                                                    4 PARK SQUARE, MILTON PARK                                                                                 ABINGDON                     OX14 4RN     United Kingdom
    TAYLOR AND FRANCIS                                                      2 PARK SQUARE                           MILTON PARK                       ABINGDON                         OXFORD                       OX14 4RN     United Kingdom
    TAYLOR AND FRANCIS                                                      CHERITON HOUSE NORTH WAY                ROYALTY & CONTRACTS DEPT                                           ANDOVER                      SP10 5BE     United Kingdom
    Taylor and Francis Group LLC                                            PO Box 409267                                                                                              Atlanta         GA           30384
    TAYLOR BARBARA                                                          21 MEADOWS CT                                                                                              WHITEFISH       MT           59937
    TAYLOR CLAIRE LATON                                                     22 GREENOUGH AVENUE                                                                                        JAMAICA PLAIN   MA           02130
    TAYLOR COUNTY UPPER
    ELEMENTARY                                                              PO BOX 1930                                                                                                BUTLER          GA           31006
    TAYLOR DOYLE                                                            2027 CAMELOT DRIVE                                                                                         LEWISVILLE      TX           75067
    TAYLOR FAMILY TRUST                     DEBORA TAYLOR DAVIS, TR         PO BOX 507                                                                                                 AMHERST         MA           01004
    TAYLOR JACQUELINE F                                                     1445 NORTH STATE PKWY APT 305                                                                              CHICAGO         IL           60610
    TAYLOR OIL CO                                                           176 CENTER STREET                                                                                          HOLBROOK        MA           02343
    Taylor P Foley                                                          85 Winchester Street                    6                                                                  Brookline       MA           02246
    TAYLOR UNIVERSITY BOOKSTORE                                             1025 WEST RUDISILL BLVD                 FT WAYNE CAMPUS                                                    FT WAYNE        IN           46807
    TAYLOR WINFIELD INC                                                     5400 LBJ FREEWAY STE 1400                                                                                  DALLAS          TX           75240
    Tayren Screen                                                           75 Hagan St                                                                                                Providence      RI           02904
    TAZEWELL COUNTY BOARD OF                TAZEWELL COUNTY PUBLIC
    SUPERVISORS                             LIBRARY                         PO BOX 929                                                                                                 TAZEWELL        VA           24651
    TBHC INC                                DBA THE BAY HILL CLUB & LODGE   9000 BAY HILL BLVD                                                                                         ORLANDO         FL           32819
    TC EDUCATION LLC                        CATHARINE A MCINTYRE            9721 KERRY LANE                                                                                            RICHMOND        VA           23238
    TC EDUCATIONAL LLC NJ                   THOMAS R HARE JR                121 HICKORY LANE                                                                                           MEDFORD         NJ           08055
    TCHANA KATRIN                                                           15 MELVIEW RIDGE                                                                                           NORWICH         VT           05055
    TCL INDUSTRIES INC                      DBA TCL SERVICES INC            189 POPLAR PLACE UNIT 6                                                                                    NORTH AURORA    IL           60542
    TCW INCORPORATED                                                        2610 N MOORE AVENUE                                                                                        MOORE           OK           73160
                                                                            Canada Trust Tower, 161 Bay St., 35th
    TD Asset Management, Inc.               Nicholas Leach                  Fl.                                                                                                        Toronto         ON           M5J 2T2      Canada
    TD INDUSTRIES INC                                                       P O BOX 300008                                                                                             DALLAS          TX           75303
    TEACH FOR AMERICA INC                   DC REGION                       1411 K STREET NW 12TH FLOOR                                                                                WASHINGTON      DC           20005
    TEACHER ELITE INC                                                       12117 NW 15 COURT                                                                                          CORAL SPRINGS   FL           33071
    Teachers Across Borders, Inc.                                           427 Detroit Street                                                                                         Dever           CO           80206
    TEACHERS COLL COLUMBIA UNIV                                             525 WEST 120TH STREET                   PURCHASING DEPT BOX 198                                            NEW YORK        NY           10027



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                          437 of 488                                                                                                         1:26 PM
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                                                                                                                       of 519
                                                                                                                   First Class Service List


                CreditorName                       CreditorNoticeName                  Address1                         Address2                         Address3              City         State       Zip      Country
    TEACHERS COLLEGE                        READING AND WRITING PROJECT   BOX 77, 525 W 120TH STREET                                          COLUMBIA UNIVERISTY   NEW YORK           NY           10027
    TEACHERS COLLEGE -COLUMBIA
    UNIV                                                                  525 WEST 120TH STREET             WRITING PROJECT BOX 77                                  NEW YORK           NY           10027
    TEACHERS COLLEGE COLUMBIA
    UNIVERSITY                              C/O LOUIS LO RE               525 WEST 120TH ST BOX 306                                                                 NEW YORK           NY           10027
    Teachers College Press                                                1234 Amsterdam Ave                                                                        New York           NY           10027
    TEACHERS NETWORK                                                      P O BOX 4647                      ATTN PETER PAUL                                         NEW YORK           NY           10185-4647
    TEACHERS PUBLISHING GROUP               DBA STENHOUSE PUBLISHERS      P O BOX 11020                                                                             PORTLAND           ME           04104-7020
    TEACHING COUNTS LLC                                                   119 SANTA FE WALK                                                                         HELOTES            TX           78023
    TEACHING PARENTS ASSOCIATION
    INC                                     ATTN LONA GORMAN              434 ROLLING ACRES CT                                                                      VALLEY CENTER      KS           67147
    TEACHING STRATEGIES INC                                               P O BOX 791035                                                                            MALTIMORE          MD           21279-1035
    Teaching Strategies, Inc.               DBA Safe and Civil Schools    PO Box 50550                                                                              Eugene             OR           97405

    TEACHINGBOOKS.NET LLC                                                 313 WEST BELTLINE HWY SUITE 204                                                           MADISON            WI           53713

    TEAK MEDIA COMMUNICATIONS LLC                                         416 WEST BROADWAY STREET                                                                  SOUTH BOSTON       MA           02127
    Team                                                                  PO Box 969                                                                                Weaton             IL           60189
    TEAM Academy Charter School                                           85 Custer Avenue                                                                          Newark             NJ           07112
    TEAM AIR EXPRESS                                                      P O BOX 668                                                                               WINNSBORO          TX           75494
    TEAM ARTIST REP INC                                                   423 WEST BROADWAY 4TH FLR                                                                 BOSTON             MA           02127
    TECH ELECTRONICS INC                                                  P O BOX 790379                                                                            ST LOUIS           MO           63179
    TECHCSO LLC                                                           1191 GRAYSON HWY STE 8/122                                                                GRAYSON            GA           30017
    TECHNI FORMS INC                                                      601 AIRPORT BLVD PO BOX 1070                                                              DOYLESTOWN         PA           18901
    TECHNICAL COLLEGE SYSTEM OF
    GEORGIA                       ATTN MELISSA HODGE-PENN                 1800 CENTURY PLACE NE STE 300                                                             ATLANTA            GA           30345
    TECHNICAL EDUCATION RESERCH
    CENTERS                                                               2067 MASSACHUSETTS AVENUE         ATTN SUE DOUBLER                                        CAMBRIDGE          MA           02140
    TECHNICOLOR CREATIVE SERVICES
    US INC                                                                P O BOX 2699                                                                              RANCHO CUCAMONGA   CA           91729-2699

    TECHNOLOGIES N TYPOGRAHY INC                                 8 CHURCH ST                                                                                        MERRIMAC           MA           01860-1500
    TECHNOLOGY AND MNGMNT
    REGISTRATION SRVC            DBA T & M REGISTRATION SERVICES 2818 GODDARD RD                                                                                    TOLEDO             OH           43606
    TECHNOLOGY ASSN OF AMERICA                                   601 PENNSYLVANIA AVE NW -NB STE
    INC                          DBA TECHAMERICA                 600                                                                                                WASHINGTON         DC           20001
    TECHNOLOGY PARTNERS                                          10055 GROGANS MILL ROAD SUITE
    INTERNATIONAL INC                                            200                                                                                                THE WOODLANDS      TX           77380
    TECHNOLOGY SOLUTIONS GROUP
    INC                                                          2575 WHITE OAK CIRCLE                                                                              AURORA             IL           60502
    TECHNOLOGY STAFF
    DEVELOPMENT INC              ATTN KATHRYN REWERTS            2905 CHERRYWOOD LANE                                                                               WATERLOO           IA           50701
                                 DBA BOSTON UNIV CORPORATE
    TECHSKILLS LLC               EDU CENTER                      1 EXECUTIVE DR STE 301                                                                             CHELMSFORD         MA           01824
    TED CHICHAK, INC.                                            50 HILL STREET #516                                                                                SOUTHAMPTON        NY           11968
    TED DEMILLE                                                  49 CORLISS ST                                                                                      BATH               ME           04530
    TED DEUTCH                                                   12373 CASCADES POINTE DR                                                                           BOCAA RATON        FL           33428

    TED HOROWITZ PHOTOGRAPHY INC                                          214 WILTON ROAD                                                                           WEST PORT          CT           06880
    TED KERASOTE                                                          276 FIFTH AVENUE, SUITE 708                                                               NEW YORK           NY           10001
    TED KESLER                                                            5 WALWORTH TER                                                                            WHITE PLAINS       NY           10606
    TED LEWIN LTD                                                         152 WILLOUGHBY AVENUE                                                                     BROOKLYN           NY           11205
    Ted Stratton                 moving Pictures                          7000 N. 16th Street               #120-440                                                Phoenix            AZ           85020
    TEDDI CUNNINGHAM                                                      2321 PARK LANE                                                                            VALDOSTA           GA           31602
    TEEN INK                                                              BOX 30                                                                                    NEWTON             MA           02461
    Teen Missions                                                         9105 SW Durham Road                                                                       Tigard             OR           97224
    TEGAN M SEXTON                                                        17 SW 171ST STREET                                                                        MOORE              OK           73170
    TEKNOVATION INC                                                       4907 VALLEY FARM RD                                                                       CENTERAL CITY      IA           52214
    TEKWORKS INC                                                          13000 GREGG STREET, STE B                                                                 POWAY              CA           92064
    TELEPHONE DOCTOR INC                                                  30 HOLLENBERG CT                                                                          ST LOUIS           MO           63044
    TELEPHONETICS                                                         PO BOX 116766                                                                             ATLANTA            GA           30368
    TELEQUEST INC                                                         66 WITHERSPOON STREET #383                                                                PRINCETON          NJ           08542
    Telesis Consulting LLC                                                PO Box 372453                                                                             Denver             CO           80237

    TELETECH SERVICE CORPORATION                                          9197 SOUTH PEORIA ST                                                                      ENGLEWOOD          CO           80122
    TELLIGENT SYSTEMS INC                                                 17950 PRESTON RD STE 310                                                                  DALLAS             TX           75252
    TELWARES INC                                                          DEPT CH 17722                                                                             PALATINE           IL           60055-7722
    TEMPLE INDEPENDENT SCHOOL
    DISTRICT                     BUSINESS OFFICE                          P O BOX 788                                                                               TEMPLE             TX           76503
    TEMPLE UNIVERSITY PRESS      RIGHTS & PERMISSIONS                     1601 N BROAD STREET, USB 305                                                              PHILADELPHIA       PA           19122



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                  438 of 488                                                                                          1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                                          of 519
                                                                                                                  First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                     Address2                         Address3                   City        State       Zip      Country
    TEMPLE UNIVERSITY PRESS                                                1852 N 10TH STREET              ATTN MATTHEW KULL                                            PHILADELPHIA     PA           19122
    TEMPLETON SHANE                                                        2355 SPALDING COURT                                                                          RENO             NV           89523
    TENACITY INC                                                           38 EVERETT STREET                                                                            BOSTON           MA           02134
    TENDER HEART CREATIONS                  ATTN LISA ANDERSON             186 HARRIS ROAD                                                                              NASHUA           NH           03062
    Teneka Harris                                                          76 San Blas Ave                                                                              Kissimmee        FL           34743
    TENENBAUM FRANCES                                                      159 CONCORD AVE 3A                                                                           CAMBRIDGE        MA           02138
    TENENBAUM FRANCES                                                      159 CONCORD AVE                                                                              CAMBRIDGE        MA           02139
    Tennant Lubbell
    TENNANT LUBELL LLC                                                     288 WALNUT STREET SUITE 500                                                                  NEWTON           MA           02460
    TENNANT SALES AND SERVICE
    COMPANY                                                                PO BOX 71414                                                                                 CHICAGO          IL           60694
    TENNESSEE ALTERNATIVE EDUC
    ASSN                                                                   PO BOX 1434                     ATTN GAIL WADE                                               BROWNSVILLE      TN           38012
    TENNESSEE ASSN OF MIDDLE
    SCHOOLS                                 C/O LAKE FOREST MIDDLE SCH     610 KILE LAKE ROAD              ATTN CHRISTIE DEHART                                         CLEVELAND        TN           37323
    TENNESSEE ASSO OF ADMIN OF              ATTN VICKI BEATY / KATHIANN    BRADLEY CNTY SCHS, 800 SOUTH
    SPECIAL EDU                             MONTGOMERY                     LEE HWY                                                                                      CLEVELAND        TN           37311
    TENNESSEE ASSOCIATION                   RANDY SCALLIONS                602 BELVOIR AVE                                                                              EAST RIDGE       TN           37412
    TENNESSEE ASSOCIATION                   OF CHRISTIAN SCHOOLS           602 BELVOIR AVE                                                                              EAST RIDGE       TN           37412
    TENNESSEE ASSOCIATION FOR
    SUPERVISION                             TERESA JACKSON                 224 JENNY LANE                                                                               MARTIN           TN           38237
    TENNESSEE ASSOCIATION FOR
    SUPERVISION                             AND CURRICULUM DEVELOPMENT     224 JENNY LANE                                                                               MARTIN           TN           38237
    TENNESSEE BOOK COMPANY
    TENNESSEE CONGRESS OF
    PARENTS AND                             TEACHERS INC                   1905 ACKLEN AVENUE                                                                           NASHVILLE        TN           37212
    TENNESSEE COUNCIL FOR SOCIAL
    STUDIES                                 ATTN KURT BUTEFISH             304 BURCHFIEL GEOGRAPHY BLDG    UNIVERSITY OF TENNESSEE                                      KNOXVILLE        TN           37996-0925
    TENNESSEE COUNCIL OF TCHRS OF
    ENGLISH                                 ATTN KIM FORD                  6617 WESTMINISTER                                                                            MEMPHIS          TN           38120
    TENNESSEE DEPARTMENT OF                                                                                                                  ANDREW JOHNSON TOWER 5TH
    EDUCATION                                                              710 JAMES ROBERTSON PARKWAY                                       FLOOR                      NASHVILLE        TN           37243
    Tennessee Department of Revenue         c/o Attorney General           P.O. Box 20207                                                                               Nashville        TN           37202-0207
    Tennessee Dept of Revenue               Attn Bankruptcy Division       PO Box 20207                                                                                 Nashville        TN           37202
                                            ANDREW JACKSON STATE OFFICE
    TENNESSEE DEPT OF REVENUE               BLDG                           500 DEADERICK ST                                                                             NASHVILLE        TN           37242-0700
    Tennessee Dept. of Revenue              Andrew Jackson State Office    500 Deaderick Street                                                                         Nashville        TN           37242
    TENNESSEE EDUCTNL
    TECHNOLOGY ASSN                                                        100 5TH AVENUE EAST                                                                          SPRINGFIELD      TN           37122
    TENNESSEE FOREIGN LANGUAGE              TEACHING ASSOCIATION           616 VIVIAN DRIVE                                                                             NASHVILLE        TN           37211
    TENNESSEE FOREIGN LANGUAGE              JEAN QUICK                     616 VIVIAN DRIVE                                                                             NASHVILLE        TN           37211
    TENNESSEE ORGANIZATION OF
    SCHOOL                                  SUPERINTENDENTS                501 UNION STREET STE 300                                                                     NASHVILLE        TN           37219
    TENNESSEE PRINCIPALS
    ASSOCIATION                                                            205 STERLING SPRINGS DRIVE                                                                   JOHNSON CITY     TN           37604

    TENNESSEE READING ASSOCIATON ATTN KATHY BRASHEARS                      201 TIMBER RIDGE DRIVE                                                                       LENOIR CITY      TN           37771
    TENNESSEE SCIENCE TEACHERS
    ASSOCIATION                   ATTN STAN PEPPENHORST                    2133 WILLIAMSPORT PIKE                                                                       COLUMBIA         TN           38401
    TENNESSEE TEACHERS OF ENGLISH
    TO                            SPEAKERS OF OTHER LANGUAGES              3600 13TH AVENUE                                                                             CHATTANOOGA      TN           37407
    TENNESSEE TECH UNIVERSITY
    FOUNDATION                                                             BOX 5046                                                                                     COOKEVILLE       TN           38505
    TENTH STREET SCHOOL                                                    3124 EAST 10TH ST                                                                            ANDERSON         IN           46013
    Tera Zimmerman                                                         1975 Carolyn Drive                                                                           Aurora           IL           60505
    TERBAN MARVIN                                                          325 CENTRAL PARK WEST                                                                        NEW YORK         NY           10025
    TERC                                                                   2067 MASSACHUSETTS AVE                                                                       CAMBRIDGE        MA           02140
    Teresa A Clemons                                                       6328 Browning Rd                                                                             Pennsauken       NJ           08109
    TERESA A MILLER                                                        1530 GRAY FOX TRAIL                                                                          CHARLOTTESVL     VA           22901
    TERESA A OCONNOR                                                       2544 WHITETAIL DRIVE                                                                         ANTIOCH          CA           94531
                                  DBA EXPERT SAP PROFESSIONALS
    TERESA BLANDFORD              INC                                      406 MANNS HARBOR DRIVE                                                                       APOLLO BEACH     FL           33572
    Teresa Burke                                                           1117 Club House Rd                                                                           Gladwyne         PA           19035
    Teresa Carrera-Hanley                                                  40 Priscilla Road                                                                            Chestnut Hill    MA           02467
    TERESA CASEY                                                           1829 JULIET AVENUE                                                                           ST PAUL          MN           55105
    Teresa Colaluca                                                        6406 Danwood Drive                                                                           Austin           TX           78759
    TERESA DIANE GANT                                                      22007 CREW 185                                                                               FREDERICK        OK           73542
    Teresa E Elsey                                                         55 Simpson Avenue               #2                                                           Somerville       MA           02144
    TERESA E GRACIA AGENJO                                                 APT 402 DE DIEGO 368            CONDOMINIO CRYSTAL HOUSE                                     SAN JUAN         PR           00923
    Teresa Eversole                                                        2301 Travis Dr                                                                               Lebanon          IN           46052



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                 439 of 488                                                                                             1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                              447 Matrix
                                                                                                                      of 519
                                                                                                                      First Class Service List


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    Teresa Foote                                                           1115 Seward St.                  First Floor                                     Evanston            IL           60202
    TERESA FRANKLIN                                                        27 CHARLES STREET                                                                ATHENS              OH           45701
    Teresa Hoens                                                           16356 N THOMPSON PEAK PKWY       APT #1122                                       SCOTTSDALE          AZ           85260
    Teresa Holman                                                          460 PALOMINO WAY                                                                 FAIRVIEW            TX           75069
    TERESA L DOAK                                                          P O BOX 201                                                                      LAUPAHOEHOE         HI           96764
    TERESA L WHITEHEAD                                                     272 CLAYTON LANE                                                                 GREENWOOD           IN           46143
    Teresa Lavin                                                           14 James Avenue                                                                  Orlando             FL           32801
    TERESA LECOMPTE                                                        10632 S LOCKWOOD                                                                 OAK LAWN            IL           60453
    TERESA OTTESEN-BINDER                                                  1287 W DESCANSO CNY DR                                                           CASA GRANDE         AZ           85222
    TERESA R STREIT                                                        2445 HANOVER DR                                                                  INDIANAPOLIS        IN           46227
    Teresa Raduazzo                                                        4640 South Shore Rd                                                              Orlando             FL           32839
    Teresa Rivera                                                          3547 Summerfield Drive                                                           Sherman Oaks        CA           91423
    Teresa Santos                                                          228 Hickory Corner Road                                                          East Windsor        NJ           08520
    Teresa Steenbeke                                                       25 Wingate Lane                                                                  Dover               NH           03820
    TERESA VALDES SHANAHAN                                                 2551 SANTA BARBARA LOOP                                                          ROUND ROCK          TX           78665
    TERESA VEGA ARENAS                      CARIBBEAN TOWER APT 1025       670 AVE PONCE DE LEON                                                            SAN JUAN            PR           00907
    TERESE EDELSTEIN                                                       1342 DEVONSHIRE                                                                  GROSSE POINT PARK   MI           48230
    Teresina M Fusco                                                       32 Juniper Street                Apt #91                                         Brookline           MA           02445
    Teri Cantrell                                                          2701 Dove Creek                                                                  Rowlett             TX           75088
    TERI GANES                                                             1922 18TH                                                                        WOODWARD            OK           73801
    TERI LESESNE                                                           70 APRIL POINT NORTH                                                             MONTGOMERY          TX           77356
    TERI SHONTELL MACQUEEN                                                 16004 SUNNING HILL PARK RD                                                       CHARLOTTE           NC           28277
    TERMINIX                                                               PO BOX 742592                                                                    CINCINNATI          OH           45274
    TERMINIX INTERNATIONAL                                                 1710 E GREVILLEA CT                                                              ONTARIO             CA           91761
    TERRASERVER.COM INC                                                    5995 CHAPEL HILL ROAD, STE 109                                                   RALEIGH             NC           27607
    TERREBONNE PARISH SALES TAX
    FUND                                    SALES AND USE TAX DEPARTMENT   PO BOX 670                                                                       HOUMA               LA           70360

    TERRENCE CUMMINGS                       DBA TERRENCE CUMMINGS STUDIO 22 SAND HILL COURT                                                                 JAMESBURG           NJ           08831
    Terrence Davis                                                       925 West Whitten Street                                                            Chandler            AZ           85225
    Terri A Bechtold                                                     701 Indigo Run Drive                                                               Jacksonville        FL           32218
    Terri A Dunbar                                                       1011 Squires Drive                                                                 West Chester        PA           19382
    TERRI AUSTIN                                                         1318 POLAR DRIVE                                                                   FAIRBANKS           AK           99712
    TERRI HART                                                           3901 E 32 STREET                                                                   JOPLIN              MO           64802
    Terri Kwong                                                          16 Parmenter Terrace                                                               Newton              MA           02465
    Terri M Blackford                                                    620 Selfridge Rd                                                                   McDonough           GA           30252
    TERRI RASMUSSEN                                                      2104 E PLEASANT VALLEY CT                                                          SANDY               UT           84092
    Terri Smith                                                          1436 E. 8th Ave                    #18                                             Denver              CO           80218
    Terri Taylor                                                         5973 Windhover Drive                                                               Orlando             FL           32819
    Terrie Taylor                                                        402 Country Club Dr                                                                Jerome              ID           83338
    TERRITO ELECTRIC INC                                                 441 WEST ENTERPRISE                                                                OCOEE               FL           34761
    TERRY A BLAKE                                                        P O BOX 892                                                                        LIBERTY             MS           39645
    Terry Apollos                                                        4145 Fletcher Ave.                                                                 Indianapolis        IN           46203
    TERRY C ANN                                                          2311 BIRCHINGTON DRIVE                                                             CEDAR PARK          TX           78613
    TERRY DENTON                                                         22 VENICE STREET                                                                   MORNINGTON                       03931        Australia
    Terry Hutchinson                                                     8 HARBOR RIDGE ROAD                                                                FREEPORT            ME           04032
    Terry Johnson                                                        965 South 2400 East                                                                Springville         UT           84663
    TERRY JONES                                                          825 ARLINGTON BLVD                                                                 EL CERRITO          CA           94530
    Terry Kwan                                                           61 Highland Road                                                                   Brookline           MA           02146
    Terry L Johnson                                                      965 South 2400 East                                                                Springville         UT           84663
    Terry L Larson                                                       835 New Haven Ave.                                                                 Aurora              IL           60506
    TERRY L THOMAS                                                       2016 AVALON MIST CIR                                                               DARDENNE PRAIRIE    MO           63368
    Terry Mackenzie                                                      647 Golden Sunshine Circle                                                         Orlando             FL           32807
    Terry Moran                                                          87 Shaker Road                                                                     Harvard             MA           01451
    Terry Ross                                                           13203 Briar Hollow Dr                                                              Austin              TX           78729
    TERRY SACKET                                                         1709 INDIAN DAM ROAD                                                               LAHOMA              OK           73754
    Terry Smith                                                          328 High Brook                                                                     Richardson          TX           75080
    Terry Stacey Sr                                                      9100 Teasley Ln                    #46K                                            Denton              TX           76210
    TERRY SUE SHANNON                       TERRY MILLER SHANNON         28398 MATEER RD                                                                    GOLD BEACH          OR           97444
    TERRY TEACHOUT                                                       68 W 82ND ST, APT 2-A                                                              NEW YORK            NY           10024

    TERRY WILD STOCK PHOTOGRAPHY                                           360 MARKET STREET STE 201                                                        WILLIAMSPORT        PA           17701
    Terry Wilton                                                           31 Lawrence St.                                                                  Pepperell           MA           01463
    TESCRA INC                                                             2440 CAMINO RAMON, STE 263                                                       SAN RAMON           CA           94583
    TESOL                                                                  2168 WISCONSIN AVE NW                                                            WASHINGTON          DC           20007
    TESSENDORF MECHANICAL
    SERVICES                                                               45 CENTER DRIVE                                                                  GILBERTS            IL           60136-9739
    TESSLER LITERARY AGENCY                                                27 WEST 20TH ST, SUITE 1003                                                      NEW YORK            NY           10011
    Teva W Blair                                                           217 Harvard Street Apt 1L                                                        Cambridge           MA           02139
    TEVA WILLOW BLAIR                                                      217 HARVARD STREET 1L                                                            CAMBRIDGE           MA           02139



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                     440 of 488                                                                                       1:26 PM
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                                                                                                                     First Class Service List


             CreditorName                              CreditorNoticeName               Address1                          Address2              Address3           City             State       Zip      Country
    TEWS SUSAN                                                              5527 SOUTH HILLSIDE STREET                                                     GREENWOOD VILLAGE   CO           80111
    TEXARKANA COLLEGE                       BOOKSTORE                       2500 NORTH ROBINSON RD                                                         TEXARKANA           TX           75501

    TEXARKANA COMMUNITY COLLEGE                                             2500 NORTH ROBISON ROAD                                                        TEXARKANA           TX           75501
    TEXAS A & M INTERNATIONAL   ATTN ROMEO J ROMERO -
    UNIVERSITY                  BILINGUAL/ESL DEPT                          904 JUAREZ                                                                     LAREDO              TX           78041
    TEXAS A&M UNIVERSITY        DEPT OF BILINGUAL EDUCATION                 700 UNIVERSITY BLVD, MSC 152                                                   KINGSVILLE          TX           78363

    TEXAS AIRSYSTEMS LLC                                                    6029 WEST CAMPUS CIR DR STE 100                                                IRVING              TX           75063
    TEXAS ALLIANCE OF BLACK SCH
    EDUCATORS                                                               P O BOX 39774                     ATTN MARIAN A WILLARD                        DALLAS              TX           75339-7747
    TEXAS ASSN FOR BILINGUAL
    EDUCATION                                                               110 BROADWAY STE 480                                                           SAN ANTONIO         TX           78205
    TEXAS ASSN FOR THE IMPRVMNT
    OF READING                              ATTN MELINDA BUTLER             5418 UPPER LAKE DRIVE                                                          HUMBLE              TX           77346
    TEXAS ASSN OF ADMINISTRATORS            OF PROGRAMS FOR YOUNG
    AND SUPS                                CHILDREN                        1840 ROBIN ROAD                                                                IRVING              TX           75061
    TEXAS ASSOC OF SCHOOL
    ADMINISTRATORS                                                          406 EAST 11TH STREET                                                           AUSTIN              TX           78701
    TEXAS ASSOCIATION FOR LITERACY
    AND                                     ADULT EDUCATION                 P O BOX 357                                                                    SAN MARCOS          TX           78667
    TEXAS ASSOCIATION OF BIOLOGY            ATTN ALTON BIGGS - TABT
    TEACHERS                                RECORDS CLERK                   2006 CREEKVIEW DRIVE                                                           COMMERCE            TX           75428-3947
    Texas Association of School             Administrators                  406 East 11th St                                                               Austin              TX           78701
    TEXAS ASSOCIATION OF SCHOOL
    BOARDS                                                                  P O BOX 975112                                                                 DALLAS              TX           75397-5112
    TEXAS CHARTER SCHOOLS
    ASSOCIATION                                                             700 LAVACA STREET STE 930                                                      AUSTIN              TX           78701
    TEXAS CITIZEN ACTION NETWORK                                            1000 BRAZOS STREET, STE 100                                                    AUSTIN              TX           78701
    Texas Comptroller of Public             Accounts                        PO Box 149359                                                                  Austin              TX           78714-9359
    Texas Comptroller of Public                                             PO Box 149348                                                                  Austin              TX           78714-9348
    TEXAS COMPUTER EDUCATION
    ASSOCIATION                                                             8134 EXCHANGE DR                                                               AUSTIN              TX           78754
    TEXAS CONF OF SEVENTH DAY
    ADVENTIST                               TYLER ADVENTIST SCHOOL          2931 SSE LOOP 323                                                              TYLER               TX           75701
    TEXAS CONGRESS OF PARENTS
    AND TCHRS                               TEXAS PTA                       408 W 11TH STREET                                                              AUSTIN              TX           78701
                                                                            4600 SPICEWOOD SPRINGS RD STE
    TEXAS CORRECTIONS ASSOCIATION                                           103                           ATTN TERRY                                       AUSTIN              TX           78759
    TEXAS COUNCIL FOR ADULT BASIC
    EDUCATION                                                               325 PRUITT AVE                    ATTN GUADALUPE C RUVALCABA                   SAN ANTONIO         TX           78204
    TEXAS COUNCIL FOR SOCIAL      CONFERENCE 2012 - ATTN CHAD
    STUDIES                       TAYLOR                                    2561 FM 544                                                                    LEWISVILLE          TX           75056
    TEXAS COUNCIL OF TEACHERS OF
    ENGLISH                       LANGUAGE ARTS                             701 BRAZOS STREET STE 500                                                      AUSTIN              TX           78701

    TEXAS DEPARTMENT OF LICENSING           AND REGULATION                  PO BOX 12157                                                                   AUSTIN              TX           78711
    Texas Dept of Revenue                   Attn Bankruptcy Section         PO Box 13528                                                                   Austin              TX           78711
    Texas Education Agency                  Robert Scott                    1701 N Congress Ave                                                            Austin              TX           78701
    TEXAS EDUCATION AGENCY
    TEXAS EDUCATIONAL PUBLISHERS
    ASSN                                                                    2008 TOWNE VIEW BLVD                                                           FLOWER MOUND        TX           75028
    TEXAS ELEM PRINCIPALS &
    SUPVSRS ASSN                                                            P O BOX 140843                                                                 AUSTIN              TX           78714-0843
    TEXAS FOREIGN LANG ASSOC                KATY INDEPENDENT SCHOOL DIST    6301 S STADIUM LANE                                                            KATY                TX           77494
    TEXAS HOME SCHOOL COALITION
    ASSOC                                   STATE CONVENTION                P O BOX 6747                                                                   LUBBOCK             TX           79493-6747
    TEXAS LIBRARY ASSOCIATION                                               3355 BEE CAVE ROAD SUITE 401                                                   AUSTIN              TX           78746
    TEXAS LUTHERAN UNIVERSITY                                               1000 W COURT ST                   BOOKSTORE                                    SEGUIN              TX           78155
    TEXAS MONTHLY                           CATHY CASEY                     P O BOX 1569                                                                   AUSTIN              TX           78767
    TEXAS PARKS AND WILDLIFE                                                4200 SMITH SCHOOL ROAD                                                         AUSTIN              TX           78744
    TEXAS SOUTHERN UNIVERSITY
    FOUNDATION                                                              3100 CLEBURNE                                                                  HOUSTON             TX           77044
                                            PUBLIC ACCOUNTS- UNCLAIMED
    TEXAS STATE COMPTROLLER                 PROPERTY                        P O BOX 12019                                                                  AUSTIN              TX           78711-2019
                                            COMPTROLLER OF PUBLIC
    TEXAS STATE COMPTROLLER                 ACCOUNTS                        111 EAST 17TH STREET                                                           AUSTIN              TX           78774-0100
    TEXAS STATE COMPTROLLER                                                 P O BOX 12019                                                                  AUSTIN              TX           78711-2019
    TEXAS STATE HISTORICAL
    ASSOCIATION                                                             1155 UNION CIRCLE, # 311580                                                    DENTON              TX           76203



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                    441 of 488                                                                                1:26 PM
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                                                                                                                                  of 519
                                                                                                                          First Class Service List


              CreditorName                        CreditorNoticeName                           Address1                        Address2              Address3           City              State       Zip            Country
    TEXAS STATE UNIVERSITY                  SAN MARCOS UNIV BOOKSTORE              601 UNIVERSITY DRIVE                                                         SAN MARCOS           TX           78666
    TEXAS STATEWIDE NETWORK OF
    ASSESSMENT                              PROFESSIONALS                          PO BOX 7733                                                                  TYLER                TX           75711
    TEXAS STATEWIDE NETWORK OF
    ASSESSMENT                              JOE GARRISON                           PO BOX 7733                                                                  TYLER                TX           75711
    TEXAS TEACHERS OF ENGLISH TO
    SPEAKERS                                OF OTHER LANGUAGES II                  6632 BANDERA ROAD BLDG B         ATTN RITA MCSORLEY                          SAN ANTONIO          TX           78238
    TEXAS WIRED MUSIC INC                   MUZAK OF AUSTIN                        P O BOX 117                                                                  SAN ANTONIO          TX           78291
    TEXT BOOK BROKERS                                                              207 FARRIS ROAD                                                              CONWAY               AR           72034
    TEXTBOOK BROKERS                                                               2715 UNIVERSITY BLVD                                                         TYLER                TX           75701
    TEXTBOOK COORDINATORS ASSN
    OF TEXAS                                                                       P O BOX 676                                                                  PFLUGERVILLE         TX           78691
    TEXTECH INC                                                                    PO BOX 1338                                                                  BRATTLEBORO          VT           05302-1338
    TEXTESOL III                                                                   P O BOX 500209                                                               AUSTIN               TX           78750
    TEXTESOL IV                                                                    6122 LAKENSHIRE FALLS LANE       ATTN KAREN TANNERY                          KATY                 TX           77494
    TEXTESOL V                              ATTN LIDIA MORRIS                      5105 LASALLE DR                                                              ARLINGTON            TX           76016
    TEXTHELP SYSTEMS INC                                                           600 UNICORN PARK STE 2                                                       WOBURN               MA           01801
                                                                                                                                                                EDIFICIO MONTELUGO
    TEXTOS EDUCATIVOS                                                              CALLE 2 AVENIDAS 12 Y 14                                                     PLANTA ALTA                       01255        Costa Rica

    TGR LIMITED                             BROWN BAG & EATERY /CATERING           15070 HAMILTON ST                                                            HIGHLAND PARK        MI           48203
    Thacker, Clarence
    THAD ALTMAN CAMPAIGN                                                           2160 LIONEL DRIVE                                                            MELBOURNE            FL           32940
    Thalia Harris                                                                  1334 High Ridge Drive                                                        Duncanville          TX           75137-3637
    Tham Chaiket                                                                   7736 North Oconto                                                            Niles                IL           60714
    THAMES & HUDSON LTD                                                            181A HIGH HOLBORN                                                            LONDON                            WC1V 7QX     United Kingdom
                                                                                   50 CAMDEN ST STE 201 (BUZZER
    THAO LAM                     THE ART PROJECTS COM                              228)                                                                         TORONTO              ON           M5V 3N1      Canada
    THARCO CONTAINERS TEXAS                                                        P O BOX 201952                                                               DALLAS               TX           75320-1952
    THATCHER BARTLETT HUGHES AND
    HOLT                                                                           255 WEST 36TH STREET #1402                                                   NEW YORK             NY           10018
    THE AGENCY (LONDON) LTD                                                        24 POTTERY LANE HOLLAND PARK                                                 LONDON                            W11 4LZ      United Kingdom
    THE ALPHABET SHOP INC                                                          300 E ELGIN AVENUE                                                           ELGIN                IL           60120
                                                                                                                   C/O GELFAND RENNERT AND
    THE AMY RENNERT AGENCY INC                                                     1880 CENTURY PARK EAST STE 1600 FELDMAN                                      LOS ANGELES          CA           90067
    THE ANDERSEN GROUP
    WORLDWIDE                               ATTN ACCOUNTS RECEIVABLE               3001 19TH STREET                                                             METAIRIE             LA           70002-4906

    THE ANNENBERG FOUNDATION                ANNENBERG MEDIA                        1301 PENNSYLVANIA AVE NW # 302                                               WASHINGTON           DC           20004
    THE ASIAN SOCIETY                                                              725 PARK AVENUE                  EDUCATION DEPARTMENT                        NEW YORK             NY           10021
    THE AXELROD AGENCY                      ATTN S J ROZAN                         P O BOX 357                                                                  CHATHAM              NY           12037
    THE AXELROD AGENCY                                                             PO BOX 357                                                                   CHATHAM              NY           12037-0357
    THE BAG LADIES INC                                                             PMB 162 - 2336 SE OCEAN BLVD                                                 STUART               FL           34996
    The Benson Hotel                                                               309 Southwest Broadway                                                       Portland             OR           97205

    THE BOOK VINE FOR CHILDREN                                                     3980 WEST ALBANY STREET, STE 7                                               MCHENRY              IL           60050
    THE BOOKSOURCE INC                                                             PO BOX 952394                                                                ST LOUIS             MO           63195
    THE BOSTON GLOBE STORE                  DONNA BAINS                            PO Box 55819                                                                 BOSTON               MA           02205-5819

    THE BROWN REFERENCE GROUP                                                      1ST FLOOR 9-17 ST ALBANS PLACE ISLINGTON                                     LONDON                            N1 0NX       United Kingdom
                                                                                   BOURNE VALLEY ROAD 1ST FL UNIT
    THE C S LEWIS COMPANY LTD               OLD GENERATOR HOUSE                    4                                                                            POOLE                             BH12 1DZ     United Kingdom
    THE CANADIAN PRESS IMAGES                                                      36 KING STREET EAST                                                          TORONTO              ON           M5C 2L9      Canada
    THE CARTOONIST GROUP                    SARA THAVES                            BOX 558, 1122 EAST PIKE STREET                                               SEATTLE              WA           98122
    The CASE Center                                                                Dept. 1732                                                                   Denver               CO           80291-1732
    The Cat House                                                                  PO Box 23145                                                                 Lincoln              NE           68542
                                            RESOURCES FOR TEACHING AND
    THE CENTER                              LEARNING                               P O BOX 2401                                                                 BEDFORD PARK         IL           60499
    The Center                                                                     1050 Broadway                                                                Denver               CO           80203
    THE CENTER                                                                     P O BOX 2401                                                                 BEDFORD PARK         IL           60499
    THE CENTER FOR EDUCATION
    REFORM                                                                         4825 BETHESDA AVE STE 220                                                    BETHESDA             MD           20814
    The Center for Successful Leadership,
    Inc.                                                                           100 Beacon Street                                                            Boston               MA           02116
    THE CHILDS WORLD                                                               1980 LOOKOUT DRIVE                                                           N MANKATO            MN           56003
    THE CHUDNEY AGENCY                      ATTN STEVEN CHUDNEY                    72 NORTH STATE ROAD SUITE 501                                                BRIARCLIFF MANOR     NY           10510
    THE CLEVELAND MUSEUM OF ART                                                    11150 EAST BLVD                                                              CLEVELAND            OH           44106-1797
                                            c/o William J. Clinton Found.-Donations
    The Clinton Bush Haiti Fund             Department                              610 President Clinton Avenue                                                Little Rock          AR           72201
    THE COLCHIE AGENCY GP                                                           8701 SHORE ROAD # 514                                                       BROOKLYN             NY           11209



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                         442 of 488                                                                                        1:26 PM
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                                                                                                                       of 519
                                                                                                                        First Class Service List


                CreditorName                       CreditorNoticeName                  Address1                              Address2                           Address3              City         State       Zip            Country
    THE COLLEGE OF WOOSTER                  WILSON BOOKSTORE               1189 BEALL AVE LOWRY CENTER                                                                     WOOSTER            OH           44691
    The Commissioner of Revenue of the
    State of Tennessee                      Wilbur E. Hooks, Director      Tax Enforcement Division          c/o Attorney General                  P.O. Box 20207          Nashville          TN           37202-0207
    THE COMMUNITY OF WRITERS AT             SQUAW VALLEY                   P O BOX 1416                                                                                    NEVADA CITY        CA           95959
    THE COMPETENT COOK INC                                                 90 EAST END AVENUE, APT 5C                                                                      NEW YORK           NY           10028
    The Cosmopolitan of Las Vegas           Attn Accounts Receiveable      PO Box 30640                                                                                    Las Vegas          NV           89173-0640
    THE COURIER-JOURNAL INC                                                525 W BROADWAY                                                                                  LOUISVILLE         KY           40202
                                            DBA COVENANT PUBLISHING
    THE COVENANT PUBLISHING INC             SERVICES                       PO BOX 2030                                                                                     ISSAQUAH           WA           98027
    THE CS LEWIS COMPANY LTD                                               BOURNE VALLEY ROAD 1ST FL         OLD GENERTOR HOUSE UNIT 4                                     POOLE                           BH12 1DZ     United Kingdom
    The Curtis Hotel                                                       1405 Curtis Street                                                                              Denver             CO           80202
                                            DBA HESS PRINT SOLUTION
    THE DB HESS COMPANY                     COMPANY                        1530 MCCONNELL ROAD                                                                             WOODSTOCK          IL           60098
    The Denver Post                                                        1560 Broadway                                                                                   Denver             CO           80202
    THE DES MOINES REGISTER                 ATTN NEWS LIBRARY              715 LOCUST                                                                                      DES MOINES         IA           50309
    THE DESIGN LOFT INC                     DBA THE FLAG LOFT              1900 DELMAR                                                                                     ST LOUIS           MO           63103
    THE DOBBINS GROUP STRATEGIC
    PROJECT                                 PLANNING LLC                   173 EAST LAUREL AVENUE                                                                          LAKE FOREST        IL           60045
    The Economist                           Accounts Receivable            PO Box 46977                                                                                    Saint Louis        MO           63146-6977
    THE EDUCATION CENTER INC                3515 WEST MARKET ST            PO BOX 9753                                                                                     GREENSBORO         NC           27403
    THE EMPOWERMENT PROJECT                                                777 E 15TH STREET                                                                               PLANO              TX           75074

    THE ETHICAL COMM CHARTER SCH                                           700 PARK AVE                                                                                    BROOKLYN           NY           11206
    THE EXPLORATORIUM                                                      3601 LYON ST                      ATTN KURT FEICHTMEIR                                          SAN FRANCISCO      CA           94123
    THE FALLS OF THE OHIO
    FOUNDATION INC                                                         201 W RIVERSIDE DRIVE                                                                           CLARKVILLE         IN           47129
    THE FIELD MUSEUM                                                       1400 S LAKE SHORE DRIVE                                                                         CHICAGO            IL           60605-2469
    The Food Bank for Westchester                                          358 Saw Mill River Road                                                                         Millwood           NY           10546
    THE FOUNDATION FOR CHILDRENS
    BOOKS                                                                  P O BOX 320284                                                                                  BOSTON             MA           02132
    THE FRIENDS OF LOLANI PALACE                                           P O BOX 2259                                                                                    HONOLULU           HI           96804
    THE FUTURES CHANNEL                                                    148 SOUTH VICTORY BLVD                                                  ATTN STEVEN R HEARD     BURBANK            CA           91502
                                            DBA PUBLISHERS RESOURCE
    THE GALE GROUP INC                      GROUP                          27500 DRAKE ROAD                  ATTN DEBBIE WASLESKY                                          FARMINGTON HILLS   MI           48331
    THE GARDLING GROUP                                                     5382 WINDING WAY                                                                                MERRITT ISLAND     FL           32953
    THE GERSH AGENCY INC                                                   41 MADISON AVENUE 33RD FLOOR                                                                    NEW YORK           NY           10010
    THE GRANGER COLLECTION LTD                                             381 PARK AVE SOUTH                                                                              NEW YORK           NY           10016-8806
    THE GROVE PARK INN RESORT &
    SPA                                                                    290 MACON AVE                                                                                   ASHEVILLE          NC           28804-3799
    THE HARK GROUP INC                                                     385 TEMPLE STREET                                                                               NEW HAVEN          CT           06511

    THE HARRY FOX AGENCY INC                                               601 WEST 26TH STREET 5TH FLOOR                                                                  NEW YORK           NY           10001
    The Hartford Insurance Company Attn Ray McDonnell                      1 Griffen Road North                                                                            Windsor            CT           06095
    THE HEMINGWAY FOREIGN RIGHTS KEVIN HUBLEY - GUZA NEWBERG &
    TRUST                          HUBLEY                                  1934 STADIUM DR, STE A                                                                          BOZEMAN            MT           59715

    THE HIGHLANDS GROUP                                                    817 W PEACHTREE ST NW SUITE 310                                                                 ATLANTA            GA           30308-1168
    THE HORN BOOK INC                                                      7858 INDUSTRIAL PARKWAY                                                                         PLAIN CITY         OH           43064
    THE J PAUL GETTY TRUST                                                 1200 GETTY CENTER DR STE 401                                                                    LOS ANGELES        CA           90049-1687
    THE JACKSON FOUNDATION INC              DBA RENAISSANCE CENTER         855 HIGHWAY 46 SOUTH                                                                            DICKSON            TN           37055
    THE JACKSON FOUNDATION INC              ATTN KIM YOUNG                 855 HIGHWAY 46 SOUTH                                                                            DICKSON            TN           37055
                                                                           4245 NORTH FAIRFAX DRIVE, STE
    THE JANE GOODALL INSTITUTE                                             600                                                                                             ARLINGTON          VA           22203
    The Job Store Staffing Service                                         7100 E. Hampden Ave                                                                             Denver             CO           80224-3096
    THE KARPFINGER AGENCY                   INGE DE TAEYE                  357 WEST 20TH STREET                                                                            NEW YORK           NY           10011-3379
    THE KATHERINE ANNE PORTER
    FOUNDATION                              THE PERMISSIONS COMPANY        PO BOX 604                                                                                      POCONOS            PA           18344
    THE KENNEDY GROUP INC                                                  PO BOX 347122                                                                                   PITTSBURGH         PA           15251-4122
    THE KIMKELI GROUP                       T/A AMPREY AND ASSOCIATES      1930 TURNBERRY COURT                                                                            FINKSBURG          MD           21048-1546
    THE LAZEAR AGENCY INC                                                  808 CARMICHAEL ROAD, # 142                                                                      HUDSON             WI           54016
    THE LEARNING COMMUNITY
    CHARTER SCHOOL                                                         21 LINCOLN AVEN UE                                                                              CENTRAL FALLS      RI           02863
    The Light Group                                                        7285 W. 119th Place               Studio A                                                      Broomfield         CO           80020
    The Lincoln National Financial          Group                          P.O. Box 0821                                                                                   Carol Stream       IL           60132-0821
                                            MEMPHIS CHAPTER OF THE LINKS
    THE LINKS FOUNDATION INC                INC                            P O BOX 240624                                                                                  MEMPHIS            TN           38124-0624
    THE LOIS LENSKI COVEY
    FOUNDATION INC                          C/O MOSES & SINGER LLC         405 LEXINGTON AVENUE                                                                            NEW YORK           NY           10174
    THE LOUISE MOERI 1993 LIVING
    TRUST                                                                  PO BOX 754                                                                                      MANTECA            CA           95336



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                       443 of 488                                                                                                   1:26 PM
                                                         12-12171-reg         Doc 136             Filed 07/15/12 Exhibit
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                                                                                                                451 Matrix
                                                                                                                        of 519
                                                                                                                   First Class Service List


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    THE LYONS PRESS                                                        246 GOOSE LANE                  P O BOX 480                                               GUILFORD            CT           06437
    THE MACMILLAN COMPANY                                                  PO BOX 70598                    SIMON AND SCHUSTER INC                                    CHICAGO             IL           60673-0598
    THE MADISON PRESS LTD                                                  1000 YONGE STREET SUITE #303                                                              TORONTO             ON           M4W 2K2      Canada
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    The Mako Company                                                       21001 N. Tatum Boulevard        Suite 1630-429                                            Phoenix             AZ           85050
    THE MCCHESNEY GROUP LLC                                                8521 PRESTON MILL CT                                                                      DUBLIN              OH           43017
    THE MIAMI HERALD MEDIA
    COMPANY                                                                ONE HERALD PLAZA                                                                          MIAMI               FL           33132
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    SOCIETY                                  REPRODUCTIONS                 170 CENTRAL PARK WEST                                                                     NEW YORK            NY           10024
    THE NORTHERN TRUST COMPANY               PATRICK KRULL C-1-N           801 S CANAL ST                                                                            CHICAGO             IL           60607

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    The Palmer House Hilton                                                 17 E. Monroe Street                                                                      Chicago             IL           60603
    THE PARK LITERARY GRP LLC                                               270 LAFAYETTE STREET           ATTN THERESA PARK                                         NEW YORK            NY           10012
    THE PATERSON PUBLIC SCHOOLS                                             90 DELAWARE AVENUE                                                                       PATERSON            NJ           07503
    THE PEPIN PRESS                          AGILE RABBIT EDITIONS          P O BOX 10349                                                                            AMSTERDAM                        1001 EH      Netherlands
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    The Philadelphia Marriott West                                          PO Box 402642                                                                            Atlanta             GA           30384-2642
    THE PINE SCHOOL INC                                                     12350 SE FEDERAL HWY                                                                     HOBE SOUND          FL           33455
    The Principal Life Group Grand Island                                   PO Box 14513                                                                             Des Moines          IA           50306-3513

    The Public Academy for Performing Arts                                 4665 Indian School Rd. NE       Suite 101                                                 Albuquerque         NM           87110
    The Rainmaker Group, Inc.                                              116 North 5th Street            Suite 102                                                 Bismarck            ND           58501
    THE RASHI SCHOOL                                                       8000 GREAT MEADOW ROAD                                                                    DEDHAM              MA           02026
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    The Receiver General - Canada                                          875 Heron Road                                                                            Ottawa              ON           K1A 1B1      Canada
    THE RICHARD PARKS AGENCY                                               PO BOX 693                                                                                SALEM               NY           12865
    The Riley Childrens Found.                                             30 S. Meridian Street           #200                                                      Indianapolis        IN           46204
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    THE ROCK - CHURCH OF THE ROCK                                          4881 CHEROKEE DRIVE                                                                       CASTLE ROCK         CO           80109
    THE ROSTEN FAMILY LLC                                                  750 THIRD AVENUE, 11TH FLOOR    ATTN RICHARD GORDON CPA            C/O MARCUM LLP         NEW YORK            NY           10017
    The Salvation Army            North and South Carolina Div             510 Archdale Drive                                                                        Charlotte           NC           28217
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    THE SCHUNA GROUP                                                       1503 BRIARKNOLL DRIVE                                                                     ARDEN HILLS         MN           55112
    THE SEA PALMS CORPORATION                                              5445 FREDERICA ROAD                                                                       ST SIMMONS ISLAND   GA           31522
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                                                                                                           L ISA DOWDESWELL - PERM
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    THE SPIELER AGENCY                                                     27 WEST 20TH ST STE 305                                                                   NEW YORK            NY           10011
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    PASO                                                                   500 W UNIVERSITY AVE                                                                      EL PASO             TX           79968
    The University of Wyoming Foun           Mary Ann Garman               1200 E. Ivinson Ave                                                                       Laramie             WY           82070
    THE UNTER AGENCY                                                       23 WEST 73RD STREET, STE 100                                                              NEW YORK            NY           10023
    THE VECTRE CORPORATION                                                 707 EAST MAIN STREET STE 1800                                                             RICHMOND            VA           23219

    THE VELTRE COMPANY LLC        DBA ARTISTS LITERARY GROUP LLC           78 FIFTH AVENUE THIRD FLOOR                                                               NEW YORK            NY           10011-8000
    THE VIRGINIAN-PILOT                                                    150 W BRAMBLETON AVE            ATTN NEWS DEPARTMENT                                      NORFOLK             VA           23510
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    The Westin Colonnade                                                   180 Aragon Ave                                                                            Coral Gables        FL           33134
    The Westin Galleria, Dallas   Lisney Peterson                          13340 Dallas Parkway                                                                      Dallas              TX           75240
    THE WESTIN SAN DIEGO                                                   400 West Broadway                                                                         San Diego           CA           92101
    THE WILEY GROUP                                                        1535 GREEN STREET #301                                                                    SAN FRANCISCO       CA           94123
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    TRUST                         WCPM AND UNF CO-TRUSTEES                 401 N WEBSTER ST                                                                          RED CLOUD           NE           68970
    THE WILLIAM BARLETT PEET JR
    TRUST                                                                  25 SIERRA PL                                                                              SIERRA MADRE        CA           91024
    The Write Tools, LLC                                                   6590 S. Vine Street             Suite 108                                                 Centennial          CO           80121
    THE WYLIE AGENCY                                                       250 W 57 ST STE 2114                                                                      NEW YORK            NY           10107



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                     444 of 488                                                                                                1:26 PM
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                                                                                                                 First Class Service List


                 CreditorName                     CreditorNoticeName                 Address1                         Address2                         Address3                           City        State       Zip               Country
    THEA EATON                              DBA DOODLEDOO              3306 KNOLL WEST DR                                                                                    HOUSTON             TX           77082
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    Theodora Kostova                                                   24 Greenwich Park                 #2                                                                  Boston              MA           02118
    Theodore Cantrell                                                  550 Washington Street                                                                                 Winchester          MA           01890
    Theodore Davis                                                     821 E 38th St                                                                                         Chicago             IL           60653
    Theodore Johnson                                                   1451 W.Norwood St.                                                                                    Chicago             IL           60660
    THEODORE L. WOOD                                                   PO BOX 773                                                                                            BOULDER             CO           80306
    THEODORE M KRAUSE                                                  1900 WILLOW STREET                                                                                    AUSTIN              TX           78702
    Theodore P Baggesen                                                9554 South 100 East                                                                                   Clayton             IN           46118
    THEODORE ROOSEVELT INAUGRAL
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    THEODORE W OBRIEN                                                  5534 LAUREL ST                                                                                        NEW ORLEANS         LA           70115
    Theodore Warzynski                                                 4608 Mallard Lane                                                                                     Plainfield          IL           60586
    Theresa Buswell                                                    75 Woodside Avenue                Apt B                                                               Amherst             MA           01002
    Theresa E Allen                                                    345 union Avenue                                                                                      Batavia             IL           60510
    Theresa Hassman                                                    540 N FAIRVIEW ST                                                                                     BURBANK             CA           91505-3247
    Theresa Hunt                                                       203 Essex Street                                                                                      Hamilton            MA           01982
    THERESA JANECEK                         DBA PHOTO FINDERS          3605 SERENA WOODS CT                                                                                  AUSTIN              TX           78759
    THERESA LABIK                                                      5755 VIA CERVANTES                                                                                    RIVERSIDE           CA           92506
    Theresa Lewis                                                      44 Tower Street                                                                                       Bristol             RI           02809
    Theresa M Anderson                                                 7721 Donegal Drive                                                                                    Indianapolis        IN           46217
    THERESA M TAPLIN                                                   2686 HARVEY AVE                                                                                       OCEANSIDE           NY           11572
    THERESA MILLER                                                     826 WHIPPOORWILL CT                                                                                   BARTLESVILLE        OK           74006
    THERESA MURPHY                                                     413 W OLIVE STREET                                                                                    PROSPECT HEIGHTS    IL           60070
    Theresa Novak                                                      501 S Ardmore Ave                                                                                     Villa Park          IL           60181
    THERESA RICE                                                       424 BRATTLE ROAD                                                                                      SYRACUSE            NY           13203
    Theresa Stangel                                                    66 St. Rose Street                                                                                    Jamaica Plain       MA           02130
    THERESE M KUHS                                                     3207 DUNCAN ST                                                                                        COLUMBIA            SC           29205
    THERESE PRINDIBLE                                                  628 E SUMMIT DR                                                                                       WIMBERLEY           TX           78676
    THERESE ZAWACKI                                                    113 TOLLGATE WAY                                                                                      FALLS CHURCH        VA           22046
    THERMOSCAN INC                                                     375 W 83RD STREET                                                                                     BURR RIDGE          IL           60527
    THIERRY BOCCON-GIBOD                    PHOTOGRAPHE                36 AVENUE JUNOT                                                                                       PARIS                            75018        France
    Thikun Mien                                                        75 Petrie Cir.                                                                                        Streamwood          IL           60107
    THIMMESH CATHERINE                                                 8499 RED OAK DRIVE                                                                                    EDEN PRAIRIE        MN           55347
    THINH NGUYEN                                                       3000 LILLARD DR APT 132                                                                               DAVIS               CA           95618
    THINKRONIZE INC                         DBA KNOVATION INC          3630 PARK 42 DRIVE STE 170F                                                                           CINCINNATI          OH           45241-2072
    THINKWELL CORPORATION                                              1021 EAST 7TH STREET STE 100                                                                          AUSTIN              TX           78702
    THINKWELL CORPORATION                                              1021 EAST 7TH STREET, SUITE 100                                                                       AUSTIN              TX           78702-3273
    THIRTEEN FIRES INC                                                 302 MILLER AVENUE                                                                                     SOMERVILLE          NJ           08876
    THIS EXIT LLC                                                      P O BOX 324                                                                                           NOVATO              CA           94948-0324
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    Thistle Hill
    THISTLE HILL PUBLISHING LLC                                        101 S JENNINGS AVE, STE 200                                                                           FORT WORTH          TX           76104-1149
    THISTLEDOWN PRESS                       ATTN JACKIE FORRIE         118-20TH STREET WEST                                                                                  SASKATOON           SK           S7M 0W6      Canada
    Thoma Bastin                                                       10161 N 800 W                                                                                         Fairland            IN           46126
    THOMAS A SCOTT                                                     329 ATLANTA STREET                                                                                    MARIETTA            GA           30060
    THOMAS ALLEN                                                       34 LOOKOUT POINT ROAD                                                                                 HARPSWELL           ME           04079

    THOMAS B HOLLYMAN                                                  4409 GAINES RANCH LOOP, APT 401                                                                       AUSTIN              TX           78735
    Thomas B. Lockamy                                                  106 E. 50th Street                                                                                    Savannah            GA           31405
    Thomas Barber                                                      145 Dean St                                                                                           Belmont             MA           02478

    THOMAS BARBER                                                      4711 SPICEWOOD SPRINGS RD # 230                                                                       AUSTIN              TX           78759
    Thomas Benz                                                        11 Morgan Dr                                                                                          Hooksett            NH           03106
    THOMAS BERNAUER                                                    SEI G 90 SEILERGRABEN 49        CENTER FOR COMPARATIVE               AND INTERNATIONAL STUDIES(CIS)   ZURICH                           08092        Switzerland
    THOMAS BICKERSTAFFE                     DBA CLEAN DRAINS           PO BOX 401                                                                                            DRACUT              MA           01826
    Thomas Browne                                                      2003 E 17th St                                                                                        Austin              TX           78702-1319
    THOMAS BROWNOLD                                                    801 WEST SUMMIT AVENUE                                                                                FLAGSTAFF           AZ           86001
    THOMAS C CHILDERS                                                  300 GLENWOOD AVE                                                                                      MEDIA               PA           19063
    Thomas C Marks                                                     834 South Albert Ave                                                                                  South Bend          IN           46619
    Thomas Callahan                                                    12 SPARHAWK DR.                                                                                       BURLINGTON          MA           01803
    THOMAS COCHRAN                                                     14416 WALLIN MOUNTAIN ROAD                                                                            WEST FORK           AR           72774
    Thomas Collings                                                    ONE HOEG ST                                                                                           RANDOLPH            MA           02368
    Thomas Connell                                                     804 Hatteras Avenue                                                                                   Minneola            FL           34715
    Thomas Consolino                                                   141 Ware Road                                                                                         Wilmington          VT           05363
    THOMAS D GREENAWALD                                                4201 FRANCEST CIRCLE                                                                                  WEST DES MOINES     IA           50266
    THOMAS D PONTING                                                   245 W BERTSCH ST                                                                                      LANSFORD            PA           18232
    Thomas D Wittenberg                                                8 South Stratford Dr.                                                                                 Athens              GA           30605
    THOMAS DEL BRASE                                                   341 BROADWAY # 400                                                                                    CHICO               CA           95928
    THOMAS DIXON                                                       102 MALLAWA DR                                                                                        PALM BEACH                       04221        Australia



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                445 of 488                                                                                                               1:26 PM
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                                                                                                                      First Class Service List


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    Thomas Donnelly                                                        305 SALEM STREET UNIT 310                                                                           WOBURN            MA           01801
    Thomas Dow                                                             One Seal Rock Lane                                                                                  Quincy            MA           02171
    Thomas E. Cummings                                                     203 S River Street                                                                                  Batavia           IL           60510
    THOMAS EISNER                                                          410 SAVAGE FARM DRIVE                                                                               ITHACA            NY           14850
    THOMAS ELIOT PUBLISHING GROUP
    INC                                                                    1126 VILLAGE CENTER PKWY STE 3                                                                      AURORA            IL           60506
    Thomas F McPhaul                                                       20005 Rod & Gun Club Road                                                                           Spicewood         TX           78669
    Thomas Flaherty                                                        11 Leaning Elm Drive                                                                                Reading           MA           01867
    Thomas Flaherty                                                        136 Harvard St.                                                                                     Whitman           MA           02382-1974
    Thomas Gillis                                                          25a Bradbury Ave.                                                                                   Medford           MA           02155
    Thomas Gleason                                                         30 Cornelia Lane                                                                                    Troy              MO           63379
    THOMAS GREENBOWE                                                       4535 513TH STREET                                                                                   AMES              IA           50014
    Thomas Greene                                                          1 Wildwood St                                                                                       Burlington        MA           01803
    Thomas Guido                                                           510 Alcazar Avenue                                                                                  Altamonte Spgs    FL           32714
    THOMAS H COOK                                                          P O BOX 11                                                                                          BREWSTER          MA           02631

    THOMAS HALLSTEIN                        D/B/A OUTSIGHT ENVIRON PHOTOG P O BOX 12273                                                                                        SANTA ROSA        CA           95406
    Thomas Hamilton                                                       6507 Lakewood Dr                                                                                     Austin            TX           78731
    THOMAS HECHT                                                          1349 JENIFER STREET                                                                                  MADISON           WI           53703
    THOMAS HEINZEN                                                        905 BLOOMFIELD AVE                                                                                   GELNRIDGE         NJ           07028
    Thomas Hierck                                                         173 Hopkins Road                                                                                     Gibsons           BC           V0N 1V1      Canada
    Thomas Hogan                                                          105 Pond Street                                                                                      Winchester        MA           01890
    THOMAS HOLLAND                                                        179 OAK STREET                                                                                       DUXBURY           MA           02332
    THOMAS IRELAND                                                        1408 MONTEREY PLACE                                                                                  SANTA FE          NM           87505
    Thomas J Blummer                                                      10449 Dutch Barn St.                                                                                 Huntley           IL           60142
    THOMAS J COONEY                                                       1030 WINTHROP PLACE                                                                                  WATKINSVILLE      GA           30677
                                            FREUD PHOTOGRAPHS BY
    THOMAS J ENGLEMAN                       EMGLEMAN                      45 CEDAR STREET                                                                                      NEWTON            MA           02459
    Thomas J Flaherty                                                     11 Leaning Elm Drive                                                                                 Reading           MA           01867
    THOMAS J MURPHY                         ESTATE OF LOUIS UNTERMEYER    145 ROBINDALE DRIVE                                                                                  KENSINGTON        CT           06037
    THOMAS J NIEMAN INC                                                   1213 WILMETTE AVE STE 200                                                                            WILMETTE          IL           60091-2566
    THOMAS J REIGSTAD                                                     180 MCKINLEY AVENUE                                                                                  KENMORE           NY           14217
    Thomas J Rozzi                                                        321 Perkinsville Road                                                                                Highland          NY           12528
    THOMAS JANE RESH                        JANE RESH THOMAS              4314 NAWADAHA BLVD                                                                                   MINNEAPOLIS       MN           55406
    THOMAS JEFFERSON UNIV
    BOOKSTORE                                                              1009 CHESTNUT STREET                                                                                PHILADELPHIA      PA           19107

    THOMAS JOE G                            MIDDLE TENNESSEE STATE UNIV    P O BOX 75                                                            MANAGEMENT & MARKETING DEPT   MURFREESBORO      TN           37132
    Thomas Johnson                                                         P.O. Box 367                                                                                        Providence        KY           42450
    Thomas Joyce                                                           2208 Stonegate Manor Ct                                                                             Chesterfield      MO           63017
    THOMAS JOYCE A M                                                       13700 CARISLE COURT                                                                                 SILVER SPRING     MD           20904
    Thomas Kelly                                                           503 Ward Street                                                                                     Dunmore           PA           18512
    THOMAS KENT STELLY                                                     315 MILL POND DRIVE                                                                                 YOUNGSVILLE       LA           70592
    Thomas L Brown                                                         336 West Old Town Court                                                                             Chicago           IL           60610
                                            SCH OF NURSING, UNIV OF
    THOMAS L LONG                           CONNECTICUT                    231 GLENBROOK RD. U-2026                                                                            STORRS            CT           06269-2026
    THOMAS L TRACY                          DBA TOM TRACY PHOTOGRAPHY      BOX 245                                                                                             SAN MATEO         CA           94402
    Thomas L Waye                                                          38 Morton Rd.                                                                                       Milton            MA           02186
    THOMAS LOCKER INC                                                      2045 COUNTY ROUTE 23C                                                                               EAST JEWETT       NY           12424
    Thomas M Michaels                                                      11212 Jellico Avenue                                                                                Granada Hills     CA           91344
    Thomas M Reeves                                                        274 N. Oak Street                                                                                   Elmhurst          IL           60126
    THOMAS M TUNNEY ENT LTD                 DBA ANN SATHER RESTAURANT      909 W BELMONT AVENUE                                                                                CHICAGO           IL           60657
    THOMAS MAGGIE LEWIS                                                    56 HIGH STREET                                                                                      IPSWICH           MA           01938
    Thomas Mancuso                                                         501 N. Irving Blvd                                                                                  Los Angeles       CA           90004
    Thomas Mawk                                                            1920 Abrams Pkwy                 PMB 421                                                            Dallas            TX           75214
    THOMAS MCCANN                                                          144 E MADISON STREET                                                                                ELMHURST          IL           60126
    Thomas Mccarthy                                                        PO Box 626 75 South Hill Road                                                                       McGraw            NY           13101
    THOMAS MICHAEL FITZGERALD                                              214 COSTA BELLA DR                                                                                  AUSTIN            TX           78734
    Thomas Michaels                                                        11212 Jellico Avenue                                                                                Granada Hills     CA           91344
                                                                                                                                                 WILDLIFE AND NATURE
    THOMAS N PAWLESH                                                       298 RAINBOW DRIVE                                                     PHOTOGRAPHY                   JEFFERSON HILLS   PA           15025
    THOMAS NEAL BOL                         dba THOMAS BOL PHOTOGRAPHY     806 CORONADO AVE                                                                                    FT COLLINS        CO           80526
    THOMAS NELSON PUBLISHING INC                                           2570 MOMENTUM PLACE                                                                                 CHICAGO           IL           60689-5325
    THOMAS NEWKIRK                                                         40 MILL POND RD                                                                                     DURHAM            NH           03824
    THOMAS NIEMAN INC                                                      1007 FOREST AVE                                                                                     WILMETTE          IL           60091
    THOMAS P CARPENTER                                                     3043 OLD CREEK ROAD              WI CTR ED RESEARCH                                                 MIDDLETON         WI           53562
    Thomas P Smith                                                         754 East Fourth St               Unit 4                                                             South Boston      MA           02127
    THOMAS PALLET REBUILDERS INC                                           5238 BASELINE ROAD                                                                                  MONTGOMERY        IL           60538
    THOMAS PANTAGES                                                        87 SHORT STREET                                                                                     MARLBORO          MA           01752
    THOMAS PYLE MIDDLE SCHOOL                                              6311 WILSON LANE                                                                                    BETHSDA           MD           20817



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                     446 of 488                                                                                                      1:26 PM
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                                                                                                                             of 519
                                                                                                                      First Class Service List


              CreditorName                            CreditorNoticeName                    Address1                       Address2              Address3                  City        State       Zip            Country
    THOMAS R HART                                                            2580 SPRING BLVD                                                               EUGENE                OR           97403
    Thomas R Hogue                                                           69 N Cecil Avenue                                                              Indianapolis          IN           46219
    THOMAS RAY SMITH                                                         38 SWEETLAND ROAD                                                              CORTLAND              NY           13045
    Thomas Reale                                                             8972 Islesworth Court                                                          Orlando               FL           32819
    THOMAS REUTERS TAX
    ACCOUNTING INC                          DBA SABRIX INC                   39885 TREASURY CENTER                                                          CHICAGO               IL           60694-9800
    Thomas Romano                                                            24165 Twin Tides Drive           Drive                                         Valencia              CA           91355
    THOMAS ROMBERG                                                           5926 SCHUMANN DRIVE                                                            MADISON               WI           53711
    THOMAS ROSS LIMITED                                                      ST MARKS ROAD                                                                  BINFIELD              Berkshire    RG42 4TR     United Kingdom
    THOMAS ROWAN                                                             10230 WESLEIGH DRIVE                                                           COLUMBIA              MD           21046
    THOMAS S GRANT                          DBA T GRANT PHOTO                305 BANK STREET                                                                LODI                  OH           44254
    THOMAS SANDERS                          DBA AERIAL FOCUS                 P O BOX 369                                                                    HALEIWA               HI           96712
    THOMAS SLEIGH                                                            164 BOND ST, # 4A                                                              BROOKLYN              NY           11217
    THOMAS STANTON                                                           113 EAST 73RD STREET                                                           NEW YORK              NY           10021
                                            APPLIED BEHAV & COGNITIVE SCI,
    THOMAS STICHT                           INC                              2062 VALLEY VIEW BLVD                                                          EL CAJON              CA           92019-2059
    Thomas Swanson                                                           94 South Lafox                                                                 South Elgin           IL           60177
    THOMAS SWICK                                                             200 E LAS OLAS BLVD                                                            FORT LAUDERDALE       FL           33301
    THOMAS UHLMAN                                                            4308 LEEPER ST                                                                 CINCINNATI            OH           45223
    THOMAS VAUGHN                                                            28 RANLETT LN                                                                  BILLERICA             MA           01821
    Thomas Velazquez                                                         1182 Village Forest Place                                                      Winter Park           FL           32792
    THOMAS W BEAN                                                            9901 TRAILWOOD DR #1016                                                        LAS VEGAS             NV           89134
    Thomas W Christensen                                                     4980 Matteo Trail                                                              Orlando               FL           32839
    THOMAS W HUNGERFORD                                                      946 CHESTERFIELD VILLAS CIRCLE                                                 CHESTERFIELD          MO           63017
    THOMAS WALTON ROBY                                                       9 HILLYNDALE ROAD                                                              STORRS                CT           06268-1801
    THOMAS WILKE                                                             P O BOX 1110                                                                   LUBECK                             23501        Germany
    Thomas Worthington                                                       3701 Miller Dr.                                                                Indianapolis          IN           46239
    THOMAS ZIELONKA                                                          7 WEST 40TH STREET UNIT C                                                      SAVANNAH              GA           31401
    Thomasena Johnson-Hudson                                                 21141 NE 13th Pl                                                               Miami                 FL           33179
    THOMASENIA LOTT ADAMS                                                    4013 NW 22ND DRIVE                                                             GAINESVILLE           FL           32605
    Thomasina DePinto Piercy                                                 PO Box 1228                                                                    Harpers Ferry         WV           25425
    Thompson & Knight
    THOMPSON & KNIGHT LLP                   ONE ARTS PLAZA                   1722 ROUTH STREET, STE 1500                                                    DALLAS                TX           75201-2533
    THOMPSON & KNIGHT LLP                                                    DEPARTMENT 70, P O BOX 4346                                                    HOUSTON               TX           77210-4346
    THOMPSON & THOMPSON                                                      PO BOX 25528                                                                   BROOKLYN              NY           11202
    THOMPSON CHARLES                                                         2642 BYRON AVENUE                                                              LOUISVILLE            KY           40205
    THOMPSON INTERMEDIATE                                                    10019 HIGHWAY 119                                                              ALABASTER             AL           35007
    THOMPSON PLUMBING                       TIMOTHY MICHAEL THOMPSON         P O BOX 175                                                                    GENEVA                IL           60134

    THOMPSON SCHOOL DISTRICT R2-J                                            800 S TAFT AVENUE                                                              LOVELAND              CO           80537
    Thompson SD R2-J              Lin Kuzmich                                2890 N. Monroe Ave                                                             Loveland              CO           80538
    THOMPSON TYPE                                                            3687 VOLTAIRE STREET                                                           SAN DIEGO             CA           92106-1253
    THOMSON & THOMSON INC         THOMSON COMPUMARK                          PO BOX 71892                                                                   CHICAGO               IL           60694
    THOMSON COMPUMARK                                                        PO BOX 71892                                                                   CHICAGO               IL           60694-1892
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    THOMSON REUTERS (MARKETS) INC                                            PO BOX 10418                                                                   NEWARK                NJ           07193-0418

    THOMSON REUTERS (MARKETS) LLC                                            PO BOX 415983                                                                  BOSTON                MA           02241
    THOMSON REUTERS (TAX &
    ACCOUNTING) INC                                                          36276 TREASURY CENTER                                                          CHICAGO               IL           60694
    THOMSON REUTERS TAX &
    ACCOUNTING INC                                                           P O BOX 6016                                                                   CAROL STREAM          IL           60197-6016
    THOMSON TAX & ACCOUNTING       RESEARCH AND GUIDANCE                     P O BOX 71687                                                                  CHICAGO               IL           60694-1687
    Thomson West                   Tom M. Caneff                             610 Opperman Drive, D6-11-3710                                                 Eagan                 MN           55123
    THORNDIKE ROBERT MANN                                                    1336 CHUCKANUT CREST DRIVE                                                     BELLINGHAM            WA           98229
                                   TRUSTEE OF THE VIRGINIA V
    THORNDIKE VIRGINIA V           THORNDIKE                                 910 MAPLEHURST LANE                                                            MONKTON               MD           21111
    THORNDIKE VIRGINIA VERNON                                                910 MAPLEHURST LANE                                                            MONKTON               MD           21111
    THORNDIKE WHITNEY NANCY                                                  204 OBERLIN ROAD                                                               HAMDEN                CT           06514
    THOROUGHBRED CATALOGS                                                    101 CATALOG DRIVE                                                              ELIZABETHTOWN         KY           42701
    THREE IN A BOX                                                           67 MOWAT AVE, STE 236                                                          TORONTO               ON           M6K 3E3      Canada
    THRESHOLDS REHABILITATION
    INDUSTRIES                                                               4101 N RAVENSWOOD AVE                                                          CHICAGO               IL           60613
    THRETHA A NEWMAN                                                         5803 NORTH NEWMAN ROAD                                                         SMITHDALE             MS           39664
    Thunderbird Alumni Association                                           620 Green Valley Drive, SE                                                     Smyrna                GA           30082
    THURBER PRIZE                                                            77 JEFFERSON AVENUE                                                            COLUMBUS              OH           43215




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                     447 of 488                                                                                         1:26 PM
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                 CreditorName                         CreditorNoticeName                  Address1                           Address2              Address3              City         State       Zip            Country
    THURGOOD MARSHALL MIDDLE
    SCHOOL                                                                   3900 N LAWNDALE                                                                  CHICAGO            IL           60618
    Thuy Kim Pham                                                            1205 Anderson Drive                                                              Batavia            IL           60510
    TIA GREEN                                                                138 PAM AVENUE                                                                   GUNTOWN            MS           38849
    Tia Sudipta Paul                                                         337 Lucille Lane                                                                 Schaumburg         IL           60193
    TIBCO SOFTWARE INC                                                       PO BOX 7247                      LOCKBOX NO 7514                                 PHILADELPHIA       PA           19170-7514
    TIBOR BOGNAR                                                             8982 ST-HUBERT                                                                   MONTREAL           QC           H2M 1Y6      Canada
    TIDD LOUISE                                                              6 CALVIN TER                                                                     OAKHURST           NJ           07755

    TIDEWATER COMMUNITY COLLEGE                                              121 COLLEGE PL STE 510                                                           NORFOLK            VA           23510
                                                                             24 NEW ENGLANDE EXECUTIVE
    TIE COMMERCE INC                                                         PARK                                                                             BURLINGTON         MA           01803-5080
    TIEN WAH PRESS                                                           4 PANDAN CRESCENT                                                                SINGAPORE 128475                             Singapore
    TIES CONFERENCE                                                          1667 SNELLING AVE N                                                              ST PAUL            MN           55108
    Tiffany A Hicks                                                          20216 Grand Banks Lane                                                           Pflugerville       TX           78660
    Tiffany Boers                                                            3079 Sawgrass Drive                                                              Aurora             IL           60502
    TIFFANY BOYD                                                             550 GRANT AVE                                                                    LOUISVILLE         CO           80027
    TIFFANY J LEWIS                                                          P O BOX 592                                                                      MONTICELLO         MS           39654
    Tiffany Lugo                                                             6231 Royal Oak Drive                                                             Orlando            FL           32809
    Tiffany Massey                                                           4300 Rosemeade Pkwy              #323                                            Dallas             TX           75287
    TIFFANY NOEL                                                             49 OAK AVE                                                                       CLOVIS             CA           93611
    Tiffany R Lugo                                                           6231 Royal Oak Drive                                                             Orlando            FL           32809
                                                                             1700 WEST IRVING PARK RD, STE
    TIGHE PUBLISHING SVCS                                                    210                                                                              CHICAGO            IL           60613-2559
    TIGI LINEA LP                           ATTN KRISTINE STANLEY            1655 WATERS RIDGE DRIVE                                                          LEWISVILLE         TX           75057
    Tilak Palanisamy                                                         9 BARON PARK LANE                #32                                             BURLINGTON         MA           01803
    TILBURY HOUSE PUBLISHERS                                                 2 MECHANIC STREET 3                                                              GARDINER           ME           04345
    TILDEN HAZEL I                                                           125 CEDAR LANE                                                                   SAN JOSE           CA           95127
    TILLINGERS CONCIERGE                                                     200 BERKELEY STREET                                                              BOSTON             MA           02116
    Tim A Kohler                                                             2643 N Ebbie Rd                                                                  Indianapolis       IN           46219
    TIM CROSBY                                                               1521 10TH PLACE N                                                                EDMUNDS            WA           98020
    TIM CROTHERS                            C/O THE GERNERT COMPANY          136 EAST 57TH STREET                                                             NEW YORK           NY           10022
    TIM DIAL                                                                 2860 S OASIS DRIVE                                                               BOYNTON BEACH      FL           33426
    TIM GREEN                                                                PO BOX 65                                                                        CLARKESVILLE       GA           30523
    TIM GUNTHER                             DBA GUNTHER GRAPHICS             2573 NAVARRA DRIVE UNIT E                                                        CARSLBAD           CA           92009
    TIM HEALEY                                                               86 MARLBOROUGH ROAD                                                              OXFORD                          OX1 4LS      United Kingdom
    TIM HETHERINGTON                                                         19 PALMERSTON RD                                                                 IPSWICH                         IP4 2NU      United Kingdom
    TIM L HENSLEY                                                            1114 N NEW HAMPSHIRE AVE #3                                                      LOS ANGELES        CA           90029
    TIM OBRIEN                                                               2502 PEBBLE BEACH DRIVE                                                          AUSTIN             TX           78747
    TIM PANNELL                                                              397 W 3950 N                                                                     PROVO              UT           84604
    Tim Ruiz                                                                 130 Hastings Road                                                                Spencer            MA           01562

    TIM SWOBODA                             DBA TIM SWOBODA PHOTOGRAPHY 1410 16TH                                                                             TWO RIVERS         WI           54241
    Tim Wasinger                                                        7139 S. Reed Court                                                                    Littleton          CO           80128

    TIM-BAR COPORATION                      DBA TIMBAR PACKAGING & DISPLAY PO BOX 933939                                                                      ATLANTA            GA           31193
    Timberland High School                  Julie Rogers                   1418 Gravel Hill Road                                                              Saint Stephen      SC           29479
    TIMBERLANE REGIONAL SCHOOL
    DISTRICT                                                                 30 GREENOUGH RD                                                                  PLAINSTOW          NH           03865
                                                                             1271 AVENUE OF THE AMERICAS
    TIME                                    REPRINTS AND PERMISSIONS         25TH FL                                                                          NEW YORK           NY           10020-1300
    TIME INC                                                                 1271 AVENUE OF THE AMERICAAS                                                     NEW YORK           NY           10020
                                                                             1271 AVE OF THE AMERICAS RM 7-
    TIME INC                                                                 210A                             ATTN PAUL PINTO                                 NEW YORK           NY           10020
    TIME INC                                                                 LOCKBOX 223545                                                                   PITTSBURGH         PA           15251
    TIME INC                                                                 P O BOX 62121                                                                    TAMPA              FL           33662-2121
    TIME MOVING & STORAGE INC                                                PO BOX 319008                                                                    NEW YORK           NY           11231
    TIME WARNER CABLE INC                   DBA PEOPLE INC                   P O BOX 60001                                                                    TAMPA              FL           33660-0001
    TIMEFRAME PHOTOGRAPHY INC                                                2034 KELLY CORNERS ROAD                                                          ONEONTA            NY           13820

    TIMELESS COMMUNICATIONS CORP DBA STAGE DIRECTIONS                        6000 S EASTERN AVENUE STE 41-J                                                   LAS VEGAS          NV           89119
    TIMES PUBLISHING COMPANY     TAMPA BAY TIMES                             P O BOX 1121                                                                     ST PETERSBURG      FL           33731-1121
    Timitra Rose                                                             9 Dutch Village Apartments       Apt. ER                                         Menands            NY           12204
    TIMONIUM ELEMENTARY SCHOOL                                               2001 EASTRIDGE ROAD                                                              TIMONIUM           MD           21093
    TIMOTHY A ENRIGHT                                                        2697 N CREEK ROAD                                                                LAKE VIEW          NY           14085
    Timothy Barnhart                                                         2115 Keepsake Dr                                                                 Austin             TX           78745
    Timothy Bayha                                                            24 Penwood Dr.                                                                   Kennebunk          ME           04043
    Timothy C Marcolina                                                      24 Coral Dr                                                                      Hazlet             NJ           07730
    TIMOTHY C RODWELL            dba TRIPLE HELIX PRODUCTIONS                6924 WELLER ST                                                                   SAN DIEGO          CA           92122
    Timothy Calicott                                                         P O Box 305                                                                      Bowling Green      MO           63334



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       448 of 488                                                                                      1:26 PM
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                                                                                                                       First Class Service List


               CreditorName                           CreditorNoticeName                Address1                            Address2                        Address3               City         State       Zip            Country
    TIMOTHY D KANOLD REVOCABLE
    TRUST OF                                2003                            505 NORTH LAKE SHORE DR #4010                                                              CHICAGO             IL           60611
    TIMOTHY D YATES                                                         918 GUINEVERE WAY                                                                          LILBURN             GA           30047
    TIMOTHY E WELCH                                                         1252 WHITNEY DRIVE                                                                         SAINT CLOUD         MN           56303
    TIMOTHY EGAN                                                            4834-53RD AVE SOUTH                                                                        SEATTLE             WA           98118
    TIMOTHY FRAWLEY                                                         702 EVERGREEN DRIVE                                                                        PAINTED POST        NY           14870
    Timothy Hogan                                                           2 Mill Rd.                                                                                 Ipswich             MA           01938
    Timothy Hovde                                                           905 Hollybluff St.                                                                         Austin              TX           78753

    TIMOTHY J DEFRISCO                      DBA DEFRISCO PHOTOGRAPHY LLC 1725 PEREGRINE CT                                                                             BROOMFIELD          CO           80020
    TIMOTHY J PERROUD                       DBA PERROUD IMAGES           2909 CLARA AVENUE                                                                             FORT WAYNE          IN           46805
    Timothy Janowski                                                     12749 Lake Sawyer Drive                                                                       Windermere          FL           34786
    Timothy Jones                                                        119 Old Mill Road                                                                             Carrollton          AL           35447

    TIMOTHY KANOLD                                                          505 NORTH LAKE SHORE DR # 4010                                                             CHICAGO             IL           60611
    Timothy L Cannon                                                        2253 Miller Oaks Drive N                                                                   Jacksonville        FL           32217
    TIMOTHY L DOPPLER                                                       1255 W HIGHLAND ACRES ROAD                                                                 BISMARCK            ND           58501
    TIMOTHY L GRAY                                                          437 D STREET # 2C                                                                          BOSTON              MA           02210
    Timothy Malone                                                          604 Morning Mist                                                                           Simpsonville        SC           29680
    Timothy McNamara                                                        25 Woodridge Road                                                                          Durham              NH           03824
    TIMOTHY MICHAEL COLLERAN                                                1770 EVERSEDGE DRIVE                                                                       ALPHARETTA          GA           30009-7165
    Timothy Mudie                                                           2 Evergreen Sq.                  #3                                                        Somerville          MA           02143
    Timothy Murphy                                                          431 S Catherwood Ave                                                                       Indianapolis        IN           46219
    Timothy Norman                                                          54 Mechanic St                   #4                                                        Shelbyville         IN           46176
    Timothy Palla                                                           1000 Rutherford Drive                                                                      Leander             TX           78641
    TIMOTHY PATRICK DOUGLAS                                                 561 10TH AVENUE, APT 11A                                                                   NEW YORK            NY           10036
    TIMOTHY PENNINGS                        HOPE/COLVANDERWERF HALL         27 GRAVES PL/RM 204                                                                        HOLLAND             MI           49423
    TIMOTHY RASINSKI                                                        1189 TEMPLE TRAIL                                                                          STOW                OH           44224
    Timothy Reed                                                            450 South Fork Rd                                                                          Garden Valley       ID           83622
    Timothy Richards                                                        1409 Merganser Blvd                                                                        Swansea             IL           62226
    TIMOTHY ROBERT TRAPP                                                    14 KENT AVE                                                                                RIO RICO            AZ           85648
    TIMOTHY ROBIN KANTNER                                                   11338 WEST WALTON ROAD                                                                     BLANCHARD           MI           49310
    Timothy Rogers                                                          1316 Sheffield Court                                                                       Carol Stream        IL           60188
    Timothy Ryan                                                            1205 Bent Tree Road                                                                        Royse City          TX           75189
    TIMOTHY S JESSELL                       dba TS JESSELL INC              7906 N PERKINS RD                                                                          STILLWATER          OK           74075
    TIMOTHY S SCOTT                                                         1505 GRAFTON ROAD                                                                          MADISON             WI           53716
    TIMOTHY SCOTT VANDENBERG                                                13186 ROLLING HILLS LANE                                                                   VICTORVILLE         CA           92395
    TIMOTHY SHANAHAN                                                        208 W WASHINGTON ST 711                                                                    CHICAGO             IL           60606-3570
    Timothy Strawn                                                          1251 Forest Drive                                                                          Sanford             FL           32771
    TIMOTHY W PETERSON                                                      2980 SW WESTWATER DR                                                                       DUNNELLON           FL           34431
    TIMOTHY WAYNE BULLARD                                                   6924 EARLY WAY                                                                             GRANTS PASS         OR           97527
    Timothy Woodruff                                                        246 Hwy JJ                                                                                 Elsberry            MO           63343
    Tina Allen                                                              50 Myrtle Street                                                                           Redwood City        CA           94062
    Tina Desimone                                                           220 Spencer Ave                  Apt 106                                                   Chelsea             MA           02150
    Tina Hamilton                                                           3254 Inverness Court                                                                       Orlando             FL           32806
    TINA M EDEN                                                             6615 SECRETARIAT DRIVE                                                                     LONGMONT            CO           80503
    TINA ONEAL                                                              35479 LEO RD                                                                               ASHER               OK           74826
    Tina Stoltz                                                             941 Wilkinson Lane                                                                         North Aurora        IL           60542
    TINA WALLACE                                                            2199 DELAWARE DRIVE                                                                        CLEVELAND HEIGHTS   OH           44106
    Tina Watt                                                               784 Ridge Rd                                                                               Troy                MO           63379
    TINY MECHANISM                                                          PO BOX 57210                                                                               CHICAGO             IL           60657
    TIPS IMAGES NORTH AMERICA                                               105 HARRIS STREET                                                                          GUELPH              ON           N1E 5T2      Canada
    Tira Dreyfus                                                            Parcel Plus-Suite 105            222 Main Street                                           Annapolis           MD           21413
    Tisha V Wiseman                                                         PO Box 684682                                                                              Austin              TX           78768-4682
    TISHMAN SPEYER REAL ESTATE DC           DBA 1747 PENNSYLVANIA AVENUE
    AREA                                    LP                              P O BOX 905431                                                                             CHARLOTTE           NC           28290-5431
    TJERNSTROM VISUAL
    COMMUNICATION                                                           FREDRIKSHOFSGATAN 3                                                                        ESKILSTUNA                       632 29       Sweden
                                                                            400 SOUTH COUNTY TRAIL UNIT A-
    TLIC WORLDWIDE INC                                                      208                                                                                        EXETER              RI           02822
                                                                            KOMPLEX UDARAMA JALAN 2-64 OFF
    TMAX ASIA SDN BHD                       49-3 2ND FLOOR                  JALAN IPOH                                                            KUALA LUMPUR         Kuala Lumpur                     50350        Malaysia
    TMC ARCHITECTURE INC                    DBA NOOZOO DESIGN               P O BOX 4011                                                                               TELLURIDE           CO           81435
    TMc Architecture, Inc.                  RE 82 South Barrett Square      P.O. Box 611236                                                                            Rosemary Beach      FL           32461
    TMS MANAGEMENT INC                      ATTN MARGO GOTTLIEB             245 WAGNER ROAD                                                                            NORTHFIELD          IL           60093
    TMS REPRINTS                            RIGHTS & PERMISSIONS            PO BOX 8415                                                                                CHICAGO             IL           60680-8415
    TNR II LLC                                                              1331 H STREET NW STE 700                                                                   WASHINGTON          DC           20005
    TO NANEES DIZI LOCAL
    GOVERNMENT                                                              P O BOX 125                                                                                TUBA CITY           AZ           86045
    To Quang Nguyen                                                         19733 E SUNSET VISTA ROAD                                                                  WALNUT              CA           91789



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                        449 of 488                                                                                              1:26 PM
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                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                        Address2              Address3              City         State       Zip            Country
    TOBE JOFFE                                                             758 PRINCETON ROAD                                                             FRANKLIN SQUARE    NY           11010
    Tobey E Antao                                                          1155 Sycamore Lane                                                             Mahwah             NJ           07430
    TOBI SUE HOPPE                                                         21478 WOODCHUCK WAY                                                            BOCA RATON         FL           33428
    TOBIAS ANN                                                             520 EAST 84TH STREET APT#4L                                                    NEW YORK           NY           10028
    TOBIN ANDERSON                                                         77 MARTIN STREET # 45                                                          CAMBRIDGE          MA           02138
    TOBY EADY ASSOCIATES LTD                                               THIRD FLOOR 9 ORME COURT                                                       LONDON                          W2 4RL       United Kingdom
    TOBY FULWILER                                                          1941 RIDGE ROAD N                                                              FAIRFIELD          VT           05455
    Toby Gruber                                                            788 Lorraine Drive                                                             Warrington         PA           18976
    TODAY SHOW CHARITABLE
    FOUNDATION INC                                                         30 ROCKEFELLER PLAZA                                                           NEW YORK           NY           10112
    TODD A FONSTAD                                                         9527 LILLIAN DRIVE                                                             AMHERST            WI           54406
    TODD FARLEY                                                            205 WEST 54TH, #2A                                                             NEW YORK           NY           10019
    TODD FLETCHER                                                          1895 E CALLE LA BRINCA                                                         TUCSON             AZ           85718
    Todd Gilmore                                                           3999 Rifle Court                                                               Aurora             CO           80013
    TODD HUSTON LLC                                                        4504 EAST 67TH SUITE 203                                                       TULSA              OK           74136
    TODD MARK                                                              325 ADAMS STREET                                                               SIERRA MADRE       CA           91024
    Todd Podlin                                                            108 Beverly Court                                                              Streamwood         IL           60107
    TODD SMITH                                                             410 TRUE HICKORY DR                                                            ROCHESTER          NY           14615
    TODD SUMLIN                                                            2501 KENDRICK DRIVE                                                            CHARLOTTE          NC           28214
    Todd Swift                                                             1038 Slateworth Drive                                                          Durham             NC           27703
    TODOS MATHEMATICS FOR ALL                                              P O BOX 25485                                                                  TEMPE              AZ           85285-5482
    TOFT PHOTO SAFARIS & GALLERY
    LLC                                     ROY TOFT                       16655 FALCON HEIGHTS ROAD                                                      RAMONA             CA           92065
                                            UNIV OF CALIFORNIA - LOS
    TOGNOZZI ELISSA ANN                     ANGELES                        212 ROYCE HALL - DEPT OF ITALAN                                                LOS ANGELES        CA           90095
    TOI DERRICOTTE                                                         1630 WILLIAMSBURG PLACE                                                        PITTSBURGH         PA           15235
    TOLEDO PUBLIC SCHOOLS
    FOUNDATION                              ATTN SUSAN K ZURAWSKI          420 E MANHATTAN BLVD, RM 107                                                   TOLEDO             OH           43608
    TOLOLWA M MOLLEL                                                       11416 42ND AVENUE                                                              EDMONTON           AB           T6J 0W3      Canada
    TOM & SUSAN BEAN INC                                                   BOX 1567                                                                       FLAGSTAFF          AZ           86002-1567

    TOM AND PAT LEESON                      NATURE WILDFLIFE PHOTOGRAPHY PO BOX 2498                                                                      VANCOUVER          WA           98668-2498
                                                                                                             FORIDA STATE UNIV SCH VA &
    TOM ANDERSON                                                           ART ED DEPT, 126 MCH              DANCE                                        TALLAHASSE         FL           32306-4480
    Tom Bean II

    TOM BISSELL                             C/O ICM ATTN HEATHER SCHRODER 730 FIFTH AVENUE 3RD FLOOR                                                      NEW YORK           NY           10019
    TOM BRENNAN                                                           106 MICHELLE DR                                                                 POTEAU             OK           74953
    TOM CARNICELLI                                                        P O BOX 1228                                                                    YORK HARBOR        ME           03911
    TOM DIETRICH                                                          2029 NIGHTHAWK DRIVE                                                            LARAMIE            WY           82072
    TOM DOUGLAS                                                           2030 5TH AVENUE                                                                 SEATTLE            WA           98121
    TOM E TERRILL                                                         TOM E TERRILL                                                                   COLUMBIA           SC           29205
    TOM EISEMANN                            BTB CAPITAL CORP              PO BOX 876                                                                      CAMPBELL           CA           95009
    TOM FOX                                                               7 MORAGA DRIVE                                                                  CHICO              CA           95926
    TOM FRANKLIN                                                          400 SISK AVENUE                                                                 OXFORD             MS           38655
    TOM KACZYNSKI                                                         2222 NICOLLET AVENUE S APT 26                                                   MINNEAPOLIS        MN           55404
    TOM LALICKI                                                           181 CHAPPAQUA ROAD                                                              BRIARCLIFF MANOR   NY           10510
    TOM LANSBURG                                                          100 EAST CLAFIN AVE BOX 24                                                      SALINA             KS           67401
    TOM LINER                                                             716 PARTRIDGE DR                                                                ALBANY             GA           31707
                                            DBA WOLVERINE BUSINESS
    TOM M HORLACHER                         ADVISORS LLC                  18 WYDOWN TERRACE                                                               ST LOUIS           MO           63105
    TOM NEVE                                                              4524 BELFORT AVE                                                                DALLAS             TX           75205
    Tom Oesterle                                                          80 Wyngate Drive                                                                Newnan             GA           30265
    TOM P CONROY                            DBA MOVIE STILL ARCHIVES      198 MAIN ST - P O BOX 497                                                       HARRISON           NE           69346
    TOM PAISLEY                             DBA T ERNESTO BETHANCOURT     541 WEST FLORA # 20                                                             ONTARIO            CA           91762
    TOM PERRIN                                                            1019 SOUTH WESTERN UNIT #3                                                      CHICAGO            IL           60612
    TOM PERROTTA                                                          17 HARDING AVE                                                                  BELMONT            MA           02478
    TOM ROMANO                                                            104 BULL RUN                                                                    OXFORD             OH           45056
    TOM SAYLER PHOTOGRAPHY INC                                            311 NORTHEAST 94 STREET                                                         MIAMI SHORES       FL           33138
    TOM STACK & ASSOCIATES INC                                            154 TEQUESTA ST                                                                 TAVERNIER          FL           33070
    TOM STEWART                                                           178 JOHNSON POINT ROAD                                                          PENOBSCOT          ME           04476
    TOM THAVES                                                            PO BOX 210                                                                      SOLANA BEACH       CA           92075
    TOM TILL PHOTOGRAPHY                    3160 RIMROCK LANE             PO BOX 337                                                                      MOAB               UT           84532

    TOMAS R QUINONES LORES                  DBA MINUTEMAN PRESS HATO REY P O BOX 270115                                                                   SAN JUAN           PR           00927-0115
    TOMASEN CAREY                                                        156 HIGH STREET                                                                  EXETER             NH           03833
    TOMAZ SALAMUN                                                        DALMATINOVA 11                      SL-1000 LJUBLJANA                            LJUBLJANA                                    Slovenia
    Tomi R Ransom                                                        100 Webster Court                                                                Algonquin          IL           60102
    TOMLINSON CAROL ANN                                                  512-A WORTHINGTON DRIVE                                                          CHARLOTTESVILLE    VA           22903
    Tommie S Royce                                                       2704 Simpson Street                                                              Evanston           IL           60201



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                   450 of 488                                                                                      1:26 PM
                                                      12-12171-reg      Doc 136                 Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              458 Matrix
                                                                                                                      of 519
                                                                                                                  First Class Service List


                 CreditorName              CreditorNoticeName                     Address1                             Address2                         Address3                City         State       Zip            Country
                                   TRUST ACCOUNT #R69786003 - JP M
    TOMPERT ANN                    CHASE                           3245 ELIZABETH LAKE RD                                                                            WATERFORD          MI           48328
    TONER PLUS SOUTHWEST LLC                                       P O BOX 671648                                                                                    DALLAS             TX           75267-1648
    TONERTYPE LLC                                                  5313 JOHNS RD STE 210                                                                             TAMPA              FL           33634
    TONI E GLASS                                                   7369 DUNBARTON DR                                                                                 HORN LAKE          MS           38637
    Toni Horner                                                    116 Oldham Street                                                                                 Pembroke           MA           02359
    TONI L GUGLIOTTI                                               112 KRISTEN DRIVE # 7                                                                             WHEATLAND          CA           95692
    TONI M AMOROSI                                                 P O BOX 274                                                                                       DELANSON           NY           12053
    Toni Mc Cullough                                               703 Wills Point Dr.                                                                               Allen              TX           75013
    TONI ROSENBERG                                                 20 WILDWOOD AVE                                                                                   NEWTON             MA           02460-1322
    Tonita B Watts                                                 745 Seagrass Reach                                                                                Chesapeake         VA           23320
    TONO RAYMOND                   DBA FRESH AIR PHOTO             2114 EAST FAIRVIEW AVENUE                                                                         JOHNSON CITY       TN           37601
    TONY ARRUZA PHOTOGRAPHY INC                                    PO BOX 6155 EDMOR ROAD                                                                            WEST PALM BEACH    FL           33405
    TONY BENNETT                   DBA BENNETT FOR INDIANA         47 S MERIDIAN STREET STE 200                                                                      INDIANAPOLIS       IN           46204
    TONY FITZPATRICK               DBA BIG CAT PRESS               2025 W WALTON                                                                                     CHICAGO            IL           60622
    Tony Green                                                     910 Panhandle                                                                                     Denton             TX           76201
    TONY KAHN                                                      18 ADDISON ST                                                                                     ARLINGTON          MA           02476
    TONY KIRVES                    DBA SOUTHERN EXPOSURE           900 SO MAIN STREET                                                                                HOPKINSVILLE       KY           42240
    TONY LUONG PHOTOGRAPHY                                         13 SPARHAWK ST # 2                                                                                BRINGTON           MA           02135
    TONY MIFSUD                                                    456 WILDLIFE ROAD                                                                                 TROUTMAN           NC           28166
    TONY PERROTTET                                                 209 EAST 10TH STREET #11                                                                          NEW YORK           NY           10003
    Tony Rosaccis Fine Catering                                    12001 East Caley Ave                                                                              Centennial         CO           80111
    TONY STROMBERG                                                 P O BOX 9624                                                                                      SANTA FE           NM           87504
    TONYA A MARTIN                                                 1101 RUEDE LA PAIX                                                                                HAMMOND            LA           70403
    TONYA ABARI                                                    107 BURROUGHS MILLS COURT                                                                         CHERRY HILL        NJ           08002
    TONYA LEONARD                                                  723 BUBBLING SPRINGS COURT                                                                        WENTZVILLE         MO           63385
    TONYA TUCKER                                                   1465 SW SAN SEBASTIAN AVE                                                                         PORT SAINT LUCIE   FL           34953
    TOOMEY ASSOCIATES LTD                                          201 EAST OGDEN AVENUE                                                                             HINSDALE           IL           60521-3673
    TOP FLOOR PRODUCTIONS          ATTN THOMAS KENDZIA             17 MELROSE AVE                                                                                    WESTERLY           RI           02891
    TOP GUNS INC.COM               DBA KURT COSTE PHOTOGRAPHY      1420 HESPER AVENUE                                                                                METAIRIE           LA           70005
    TOPANGA ELEMENTARY SCH                                         141 N TOPANGA CANYON BLVD                                                                         TOPANGA            CA           90290
    TOPEKA LUTHERAN SCHOOL                                         701 SW ROOSEVELT                                                                                  TOPEKA             KS           66606
    TOPEKA PUBLIC SCHOOLS          HIGHLAND PARK HIGH SCHOOL       2424 SE CALIFORNIA                                                                                TOPEKA             KS           66605
    Topeka Symphony                Kathy Maag - General Manager    PO Box 2206                                                                                       Topeka             KS           66601-2206
                                                                   WING ON HSE, 71 DES VOEUX RD
    TOPPAN EXCEL (THAILAND) CO LTD ROOM 1001-1003, 10TH FLOOR      CNTRL                                                                                             CENTRAL                                      Hong Kong

    TOPPAN EXCEL (THAILAND) CO LTD 20TH FLOOR, MANULIFE TOWER        169 ELECTRIC ROAD                                                                               NORTH POINT                                  Hong Kong
                                                                     WING ON HSE, 71 DES VOEUX RD
    TOPPAN EXCEL (THAILAND) CO LTD                                   CNTRL                                                                                           CENTRAL                                      Hong Kong

    TOPPAN PRINTING CO AMERICA INC                                   W502058, P O BOX 7777                                                                           PHILADELPHIA       PA           19175-2058
    TORE BERGSAKER                                                   MOLTKE MOES VEI 16                                                                              OSLO                            00851        Norway
    Tori Coyne                                                       2911 N. Western Ave.              Unit 112                                                      Chicago            IL           60618
    TORI HARING-SMITH                                                238 EAST WHEELING ST                                                                            WASHINGTON         PA           15301
    TORONTO SUN SYNDICATED
    SERVICES                                                         333 KING STREET EAST                                                                            TORONTO            ON           M5A 3X5      Canada
    TORQUAY MUSEUM SOCIETY                                           529 BABBACOMBE ROAD                                                                             TORQUAY                         TQ1 1 HG     United Kingdom
    TORRANCE COUNTY CLERK                                            PO BOX 767                                                                                      ESTANCIA           NM           87016
    TORSTEN M KUHLMANN                                               UNIVERSITATSSTR 30                                                                              BAYREUTH                        95448        Germany
    Tosha K Kirkham                                                  7901 West 96th St.                                                                              Overland Park      KS           66212
    TOSHIBA BUSINESS SOLUTIONS                                       37987 INTERCHANGE DR                                                                            FARMINGTON HILLS   MI           48335
    TOTAL COMPENSATION SOLUTIONS
    LLC                                                              200 BUSINESS PARK DRIVE                                                                         ARMONK             NY           10504
    TOTAL FIRE PROTECTION INC                                        5322 AVENUE N                                                                                   BROOKLYN           NY           11234

    TOUCAN VALLEY PUBLICATIONS INC ATTN BENNETT JACOBSTEIN           PO BOX 15520                                                                                    FREEMONT           CA           94539-2620
    TOUCHSTONE CENTER FOR
    CHILDREN INC                   ATTN RICHARD LEWIS                141 EAST 88TH ST                                                                                NEW YORK           NY           10128
    TOURISTIK- UND
    WERBEFOTOGRAFIE                                                  SIEMENSSTR 4A                                                           BILDARCHIV JOSEF BECK   ESCHENLOHE                      82438        Germany
    Tower 1660, LLC                                                  1660 South Albion Street          Ste. 831                                                      Denver             Co           80222

    TOWERS WATSON DATA SERVICES             SERENITAS BUILDING A     AV E VAN NIEUWENHUYSELAAN                                                                       BRUSSELS                        2-1160       Belgium
    TOWERS WATSON DELAWARE INC                                       1079 SOLUTIONS CENTER                                                                           CHICAGO            IL           60677-1000
    TOWERS WATSON PENNSYLVANIA
    INC                                                              PO BOX 8500 S-6110                                                                              PHILADELPHIA       PA           19178
    TOWN & COUNTRY
    REPROGRAPHICS                                                    230 NORTH MAIN STREET                                                                           CONCORD            NH           03301
    TOWN & COUNTRY SERVICES INC                                      P O BOX 40                                                                                      GREENLAND          NH           03840-0040



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                 451 of 488                                                                                                   1:26 PM
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                                                                                                                        of 519
                                                                                                                    First Class Service List


             CreditorName                          CreditorNoticeName                  Address1                          Address2                        Address3           City             State       Zip            Country
    TOWN OF AVON                            FINANCE DEPARTMENT             P O BOX 151590                                                                           LAKEWOOD            CO           80215-8501
                                            C/O DEBBIE PAGE - BELLINGHAM
    TOWN OF BELLINGHAM                      LUNCH PROG                     130 BLACKSTONE STREET                                                                    BELLINGHAM          MA           02019
    TOWN OF BRECKENRIDGE                                                   150 SKI HILL ROAD, P O BOX 1237                                                          BRECKENRIDGE        CO           80424
                                            CANTON PUBLIC SCHS FOOD
    TOWN OF CANTON                          SERVICE DEPT                   960 WASHINGTON STREET              ATTN MARTHA LAWLESS                                   CANTON              MA           02021
    TOWN OF CARBONDALE                      TAX ADMINISTRATION             511 COLORADO AVENUE                                                                      CARBONDALE          CO           81623

    TOWN OF CASTLE ROCK                                                    SALES TAX DIVISION, P O BOX 5332                                                         DENVER              CO           80217-5332
    TOWN OF CEDAR BLUFF                                                    P O BOX 38                                                                               CEDAR BLUFF         AL           35959
    TOWN OF CHINO VALLEY                    PO BOX 406                     1020 W PALOMINO ROAD                                                                     CHINO VALLEY        AZ           86323
    TOWN OF CLARKDALE                       COMMUNITY DEVELOPMENT DEPT     P O BOX 308                                                                              CLARKDALE           AZ           86324
    TOWN OF COLLINSVILLE                                                   P O BOX 390                                                                              COLLINSVILLE        AL           35961-0390
    TOWN OF DAUPHIN ISLAND                  BUSINESS LICENSE               1011 BIENVILLE BLVD                                                                      DAUPHIN ISLAND      AL           36528
    TOWN OF EDGEWOOD                                                       P O BOX 3610                                                                             EDGEWOOD            NM           87015
    TOWN OF FLORENCE                                                       775 N MAIN STREET, P O BOX 2670                                                          FLORENCE            AZ           85232

    TOWN OF FRISCO                                                         1 EAST MAIN STREET, P O BOX 4100                                                         FRISCO              CO           80443
    TOWN OF GILA BEND                                                      P O BOX A, 644 W PIMA STREET                                                             GILA BEND           AZ           85337-0019
    TOWN OF GREENWICH                                                      101 FIELD POINT ROAD                                                                     GREENWICH           CT           06830
    TOWN OF GYPSUM                          SALES TAX AUDITOR              P O BOX 130                                                                              GYPSUM              CO           81637
    TOWN OF HURLEY                                                         PO BOX 65                                                                                HURLEY              NM           88043
    TOWN OF IDER                                                           PO BOX 157                                                                               IDER                AL           35981
    TOWN OF LEXINGTON                                                      1625 MASSACHUSETTS AVENUE                                                                LEXINGTON           MA           02420
    TOWN OF LINCOLN                         DBA LINCOLN PUBLIC SCHOOLA     6 BALLFIELD ROAD                                                                         LINCOLN             MA           01773
    TOWN OF MANSFIELD                       MANSFIELD BOE                  4 SOUTH EAGLEVILLE ROAD                                                                  STORRS              CT           06268
    TOWN OF MORRIS                                                         P O BOX 163                                                                              MORRIS              AL           35116
    TOWN OF MOUNDVILLE                                                     PO BOX 98                                                                                MOUNDVILLE          AL           35474
    TOWN OF NATICK                          JOHN F KENNEDY MIDDLE SCH      165 MILL ST                                                                              NATICK              MA           01760
    TOWN OF NORTH HAVEN                                                    18 CHURCH STREET                                                                         NORTH HAVEN         CT           06473
    TOWN OF PARKER                          SALES TAX ADMINISTRATION       P O BOX 5602                                                                             DENVER              CO           80217-5602
    TOWN OF PATAGONIA ARIZONA                                              PO BOX 767                                                                               PATAGONIA           AZ           85624
    TOWN OF PORTLAND                                                       P O BOX 71, 33 EAST MAIN STREET                                                          PORTLAND            CT           06480
    TOWN OF RIDGWAY                                                        P O BOX 10                                                                               RIDGWAY             CO           81432
    TOWN OF SHARON                          SHARON PUBLIC SCHOOLS          ONE SCHOOL STREET                                                                        SHARON              MA           02067
    TOWN OF SILVERTHORNE                    MICHELE KARLIN                 PO BOX 1309                                                                              SILVERTHORNE        CO           80498
    TOWN OF SNOWMASS VILLAGE                                               PO BOX 5010                                                                              SNOWMASS VILLAGE    CO           81615
    TOWN OF STONINGTON                      STONINGTON PUBLIC SCHOOLS      PO BOX 479                                                                               OLD MYSTIC          CT           06372
    TOWN OF UXBRIDGE                                                       21 SOUTH MAIN STREET                                                                     UXBRIDGE            MA           01569
    TOWN OF VAIL                                                           75 SO FRONTAGE ROAD                                                                      VAIL                CO           81657
    TOWN OF WEDOWEE RDS                     BUSINESS LICENSE DEPT          PO BOX 830725                                                                            BIRMINGHAM          AL           35283
                                                                           45 WEST MAIN STREET, P O BOX
    TOWN OF WESTBOROUGH                     WESTBOROUGH PUBLIC SCHOOLS     1152                                                                                     WESTBOROUGH         MA           01581
    TOWN OF WESTPORT                                                       P O BOX 350                                                         TAX COLLECTOR        WESTPORT            CT           06881-0350
    TOWN OF WESTWOOD                                                       580 HIGH STREET                                                                          WESTWOOD            MA           02090
    TOWN OF WICKENBURG                      TOWN CLERKS OFFICE             155 N TEGNER ST STE A                                                                    WICKENBURG          AZ           85390
    TOWN OF WILMINGTON                                                     PO BOX 2000                                                                              WILMINGTON          MA           01887
    TOWN OF WINDSOR                                                        301 WALNUT STREET                                                                        WINDSOR             CO           80550
    TOWN OF WINTER PARK                                                    P O BOX 3327                                                                             WINTER PARK         CO           80482
    TOWNSEND NORTH ELEMENTARY                                              220 ATHLETIC ST                                                                          VASSAR              MI           48768
    TOWNSHIP DISTRICT 211                   HOFFMAN ESTATES HIGH SCHOOL    1100 WEST HIGGINS ROAD                                                                   HOFFMAN ESTATES     IL           60169
    Township HS District 211                Marci Albrecht                 1750 S. Roselle Rd                                                                       Palatine            IL           60067
    TOWNSHIP OF EDISON                                                     MAIN ST                                                                                  EDISON              NJ           08837
    TOWNSHIP OF LOWER MERION                                               75 E LANCASTER AVE                                                                       ARDMORE             PA           19003-2323
    TOX REVIEW LLC                                                         P O BOX 1403                                                                             OZARK               MO           65721
    TOY INDUSTRY ASSN                                                      P O BOX 934837                                                                           ATLANTA             GA           31193-4837
    TOYSMITH/BEST TOYS                                                     3101 WEST VALLEY HWY EAST                                                                SUMNER              WA           98390
    TPG CREDIT MANAGEMENT
    TPG Credit Mgt, L.P.
    TPG PLANNING & DESIGN LLC                                              360 PARK AVENUE SOUHT                                                                    NEW YORK            NY           10010
    TRACERMEDIA LTD                                                        780 KING AVENUE 106                                                                      COLUMBUS            OH           43212
                                                                           11 BARNSTAPLE HOUSE, 51
    TRACEY A BRETT                                                         TAUNTON RD                                                                               LONDON                           SE12 8PL     United Kingdom
    Tracey Barrett                                                         1762 Roosa Lane                                                                          Elk Grove Village   IL           60007
    Tracey Fleming                                                         727 Hunters Quay                                                                         Chesapeake          VA           23320
    Tracey K. Shiel                                                        5292 Green Drive                                                                         Winter Haven        FL           33884
    Tracey M. Newman                                                       141 Savin Hill Ave                 A32                                                   Dorchester          MA           02125
    TRACEY SAINZ                                                           1340 FOREST PARK ROAD                                                                    NORTON SHORES       MI           49441
    Tracey Shiel                                                           5292 Green Drive                                                                         Winter Haven        FL           33884
    TRACI L HANNA                                                          1109 NW CHERRY AVE                                                                       LAWTON              OK           73507



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                   452 of 488                                                                                                 1:26 PM
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                                                                                                                         First Class Service List


                  CreditorName                        CreditorNoticeName                 Address1                             Address2                         Address3                   City        State       Zip            Country
    Traci McIntosh                                                         300 Merin Court                                                                                    Winter Garden      FL           34787
    Tracie Carr                                                            2702 Canon Perdido                                                                                 San Antonio        TX           78261
    Tracie Harris                                                          10111 Woodland Village Drive                                                                       Austin             TX           78750
    TRACIE VAUGHN ZIMMER                                                   5795 FURLONG WAY                                                                                   HAMILTON           OH           45011
    TRACY A KUBITZ                          KUBITZ EDUCATIONAL SERVICES    P O BOX 279                                                                                        HAMEL              MN           55340
    TRACY A SPRINGER                                                       6075 MONTEVISTA LANE # 1615                                                                        FORT WORTH         TX           76132
    TRACY ANN MORGAN                                                       2015 MT VIEW AVE W                                                                                 UNIVERSITY PLACE   WA           98466
    Tracy Boney                                                            1606 Runnymeade Road                                                                               Atlanta            GA           30319
    Tracy Didio                                                            244 Van Rennselaer Boulevard      Boulevard                                                        Menands            NY           12204
    TRACY HANSON                                                           409 BEVERLY DRIVE                                                                                  REDLANDS           CA           92373
    TRACY HOPKINS INC                                                      8825 PINE BAY CT                                                                                   ORLANDO            FL           32825
    Tracy Johnson                                                          Rte 1 Box 90F                                                                                      Kenney             IL           61749
    Tracy Kelly                                                            15926 Hidden Lake Circle                                                                           Clermont           FL           34711
    Tracy King                                                             861 W Morse Blvd                  #250                                                             Winter Park        FL           32789
    TRACY L TOLER                                                          31 CHADWICK CIRCLE APT A                                                                           NASHUA             NH           03062
    Tracy Landrum                                                          3560 Alma Rd                      Apt 223                                                          Richardson         TX           75080
    TRACY LARSON                                                           165 EAST UNION ST #222                                                                             NEWARK             NY           14513
    Tracy Metivier                                                         6 Celtic Ave.                                                                                      Billerica          MA           01821
    Tracy Miller                                                           1083 Lake Washington Blvd North   Renton, WA Unit D307                                             Renton             WA           98056
    TRACY RESNIK ROE                                                       312 LEXINGTON ROAD                                                                                 RICHMOND           VA           23226
    TRACY ROSEWARNE                                                        680 HAMPSTEAD LANE                                                                                 ANN ARBOR          MI           48103
    TRACY ROSS                                                             2520 55TH ST, STE 210                                                    C/O BACKPACKER MAGAZINE   BOULDER            CO           80301
    Tracy Strausbaugh                                                      1611 Natchez Trace Blvd                                                                            Orlando            FL           32818
    Tracy Swinton Bailey                                                   381 Winslow Avenue                                                                                 Myrtle Beach       SC           29588
    TRACY THURMAN                                                          601 FT SILL BLVD                  C/O LAWTON HIGH SCHOOL                                           LAWTON             OK           73507-6601
    Tracy Unified School District           Hal Cushins                    1875 West Lowell Ave                                                                               Tracy              CA           95376
    Tracy Vigliotti                                                        90 E High Street                                                                                   Oviedo             FL           32765
    TRADEMARK RECRUITING INC                                               100 S ASHLEY DRIVE                                                                                 TAMPA              FL           33602
    Tradewinds Island Resorts                                              5600 Gulf Boulevard                                                                                Saint Petersburg   FL           33706
    Training                                                               PO Box 2104                                                                                        Skokie             IL           60076
    Trang Doan                                                             11893 Spruce Run Drive            Unit A                                                           San Diego          CA           92131
    TRANS AUDIT INC                                                        11 MARSHALL ROAD SUITE 2D                                                                          WAPPINGERS FALLS   NY           12590

    TRANSATLANTIC LITERARY AGENCY                                          2 BLOOR STREET EAST STE 3500                                                                       TORONTO            ON           M4W 1A8      Canada
    TRANSATLANTIC LITERARY AGENCY
    INC                                                                    2 BLOOR STREET EAST, STE 3500                                                                      TORONTO            ON           M4W 1A8      Canada

    TRANSCONTINENTAL INTERGLOBAL                                           150 181ST STREET                                                                                   BEAUCEVILLE        QC           G5X 3P3      Canada
    TRANSCONTINENTAL PRINTING
    GROUP                                                                  12233 COLLECTIONS CENTER DRIVE                                                                     CHICAGO            IL           60693
    TRANS-EXPEDITE INC                                                     7 FOUNDERS BLVD STE E                                                                              EL PASO            TX           79906
    TRANSPARENCIES INC                                                     1008 EAST BOULEVARD                                                                                CHARLOTTE          NC           28203-5787
    TRANSPERFECT TRANSLATIONS
    INTNL INC                                                              3 PARK AVENUE 39TH FLOOR                                                                           NEW YORK           NY           10016
    TRANSPORT SPECIALTIES INTL                                             9 JOANNA COURT                                                                                     EAST BRUNSWICK     NJ           08816
    TRANSWESTERN PROPERTY CO.
    WEST LLC                     AAF MBP-CA ASSOCIATES LLC                 FILE 30942                                                                                         SAN FRANCISCO      CA           94160
                                                                           COLCHESTER ROAD, FRATING
    TRANSWORLD PUBLISHERS                                                  GREEN                             ROYALTY DEPT, TBS DISTR CTR            FRATING PARISH            COLCHESTER         Essex        CO7 7DW      United Kingdom
    TRANSWORLD PUBLISHERS LTD                                              61-63 UXBRIDGE RD                                                                                  LONDON                          W5 5SA       United Kingdom
    TRAUGER & TUKE                                                         222 FOURTH AVENUE NORTH                                                                            NASHVILLE          TN           37219
    TRAVEL COLLABORATIVE INC                                               120 BEACON STREET                                                                                  SOMERVILLE         MA           02143-4369
    TRAVEL PICTURES LTD                     BLACKNESS BARN                 EAST CORNWORTHY                                                                                    TOTNES DEVON       Devon        TQ9 7HQ      United Kingdom
    Travelers Casualty and Surety Company
    of America                              Attn. Jamie Damiano            350 Granite Street, Ste 1201                                                                       Braintree          MA           02184
    TRAVIS CNTY DOMESTIC VIOLENCE
    & SAS CTR                               DBA SAFEPLACE                  P O BOX 19454                                                                                      AUSTIN             TX           78760
    Travis H Webb                                                          800 Spring Island Way                                                                              Orlando            FL           32828
    Travis Ireland                                                         3648 Sandy Brook                                                                                   Round Rock         TX           78665
    TRAVIS LYNN HURST                                                      1071 EAST COUNTY ROAD 64                                                                           MULHALL            OK           73063
    Travis R Fountain                                                      224 Charles Street                3rd Floor                                                        Cambridge          MA           02141
    TRAVIS WILLARD                                                         5713 GRAND REUNION DR                                                                              HOSCHTON           GA           30548
    TRAYLOR MULTIMEDIA INC                  DBA 360KID                     124 WATERTOWN STREET STE 3H                                                                        WATERTOWN          MA           02472
    Treacy Lambert                                                         41 Oakland Street                                                                                  Amesbury           MA           01913
    TREACY MARY JANE                                                       190 GODEN STREET                                                                                   BELMONT            MA           02478
    TREASURE VALLEY COMMUNITY
    COLLEGE                                                                650 COLLEGE BLVD                  BOOKSTORE                                                        ONTARIO            OR           97914
    Treasurer - State of Iowa               Corp. Tax Return Processing    Post Office Box 10468                                                                              Des Moines         IA           50306-0468
    TREASURER OF STATE OF OHIO                                             PO BOX 804                                                                                         COLUMBUS           OH           43216




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                        453 of 488                                                                                                     1:26 PM
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                                                                                                                           of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                         Address2                         Address3                       City         State       Zip            Country

    TREASURER OF VIRGINIA                   STATE CORPORATION COMMISSION PO BOX 7607                                                             CLERKS OFFICE                 MERRIFIELD          VA           22116
    TREASURER OF VIRGINIA                   COMMONWEALTH OF VIRGINIA     P O BOX 2478                                                            UNCLAIMED PROPERTY DIVISION   RICHMOND            VA           23218
    TREASURER OF VIRGINIA                                                PO BOX 7607                                                             CLERKS OFFICE                 MERRIFIELD          VA           22116
    TREASURER STATE OF
    CONNECTICUT                             UNCLAIMED PROPERTY DIVISION    55 ELM STREET STREET 5th FLOOR                                                                      HARTFORD            CT           06106
    TREASURER STATE OF MAINE                UNCLAIMED PROPERTY DIVISION    39 STATE HOUSE STATION                                                                              AUGUSTA             ME           04330
                                                                           DEPT OF ELEMENTARY &
    TREASURER STATE OF MISSOURI  P.O. BOX 480                              SECONDARY EDUC                                                                                      JEFFERSON CITY      MO           65102
    TREASURER STATE OF NEW
    HAMPSHIRE                    DEPARTMENT OF LABOR                       P O BOX 2160                                                                                        CONCORD             NH           03302-2160
    TREASURER STATE OF TENNESSEE
    UCP                          STATE OF TENNESSEE                        PO BOX 198649                                                         UNCLAIMED PROPERTY DIVISION   NASHVILLE           TN           37219
                                                                                                                                                 CONTINUING AND PROFESSIONAL
    TREASURER VIRGINIA TECH                                                702 UNIVERSITY CITY BLVD         ATTN SARA GUERRY                     EDUCATION                     BLACKSBURG          VA           24061
    Treasurer, State of CT                                                 165 Capitol Avenue               Room 313                                                           Hartford            CT           06106-1775
    TREASURER-STATE OF NEW                  DEPT OF TREASURY, DIV OF
    JERSEY                                  REVENUE                        P O BOX 417                                                                                         TRENTON             NJ           08646-0417
    TREFIL JAMES                                                           9413 OLD RESERVE WAY                                                                                FAIRFAX             VA           22031
    TREIMEL SCOTT                                                          434 LAFAYETTE ST                                                                                    NEW YORK            NY           10003
    TRENDSET INC                                                           4 INTERCHANGE BLVD                                                                                  GREENVILLE          SC           29607-5750
    Trendset Inc.                           Deanna Moore                   4 Interchange Blvd.                                                                                 Greenville          SC           29607-5700
    Trent Guererro                          C/O Shel Stanfill, CHS         15655 Brookstone Drive                                                                              Parker              CO           80134

    TRENTHAM BOOKS LTD                                                     WESTVIEW HOUSE 734 LONDON RD OAKHILL                                  STOKE ON TRENT                Staffordshire                    ST4 5NP      United Kingdom
    Tressa Birch                                                           6801 London Cove                                                                                    Memphis             TN           38141
    TRESSA LYNN SANDERS            DBA BLUE PENCIL EDITORIAL               6230 29TH ST NW                                                                                     WASHINGTON          DC           20015
    TRESSA RENEE                                                           2718 ANANE DRIVE, # 29                                                                              SAN DIEGO           CA           92117
    TREVILLION IMAGES LIMITED                                              5 TEMPLE GARDENS                                                                                    BRIGHTON                         BN1 3AE      United Kingdom
    Trevor Crippen                                                         66 Bateman Street                                                                                   Roslindale          MA           02131
    Trevor Levy                                                            6513 merritmoor circle                                                                              Orlando             FL           32818
    TRI STATE FIRE PROTECTION LLC                                          84 LAKE STREET                                                                                      NASHUA              NH           03060
    TRIANGLE COALITION FOR SCIENCE
    AND                            TECHNOLOGY EDUCATION                    1840 WILSON BOULEVARD, STE 201                                                                      ARLINGTON           VA           22201
    TRIANGLE REPROGRAPHICS INC                                             850 S HUGHEY AVE                                                                                    ORLANDO             FL           32801
    TRIBAL EMPLOYMENT RIGHTS
    OFFICE                                                                 P O BOX 900                                                                                         BELCOURT            ND           58316
    TRIBUNE MEDIA SERVICES                                                 15158 COLLECTIONS CENTER DR                                                                         CHICAGO             IL           60693
    TRIBUTARY SALES RESOURCES                                              1665 QUINCY AVE STE 147                                                                             NAPERVILLE          IL           60540-6680
    Tricia M Seely                                                         7144 Locksely LN                                                                                    Fairview            TN           37062
    Tricia Rinker                                                          13232 Zori Lane                                                                                     Windermere          FL           34786
    Tricia Stewart                                                         11 Brookfield Lane                                                                                  Geneva              IL           60134
    TRICIA TUSA                                                            551 W CORDOVA RD #9                                                                                 SANTA FE            NM           87505
    TRI-CITY ELECTRICAL
    CONTRACTORS INC                                                        P O BOX 160849                                                                                      ALTAMONTE SPRINGS   FL           32716-0849
    TRIDENT MEDIA GROUP            ATTN ELLEN LEVINE                       41 MADISON AVE 36TH FLOOR                                                                           NEW YORK            NY           10010

    TRIDENT MEDIA GROUP LLC                 ATTN ROBERT GOTTLIEB           41 MADISON AVENUE, 36TH FLOOR                                                                       NEW YORK            NY           10010
    TRIDENT MEDIA GROUP LLC                 ATTN EMMA BEAVERS              41 MADISON AVE - 36TH FLR                                                                           NEW YORK            NY           10010
    TRIDENT MEDIA GROUP LLC                                                41 MADISON AVE - FLR 36                                                                             NEW YORK            NY           10010
    TRILITERAL LLC                                                         100 MAPLE RIDGE DRIVE                                                                               CUMBERLAND          RI           02864-1769
    TRILOGY CAPITAL LLC
    Trilogy Capital, LLC                    Barry Kupferberg               Two Pickwick Plaza                                                                                  Greenwich           CT           06830
    TRI-MEDIA PUBLICATIONS INC              TRI-MEDIA MARKETING SERVICES   5521 BELLAIRE DR S STE 114                                                                          FT WORTH            TX           76109-5855
    TRIMMER JOSEPH F                                                       409 TYRONE DR                                                                                       MUNCIE              IN           47304
    TRINITY BOOKSTORE 504                                                  2065 HALF DAY RD                                                                                    DEERFIELD           IL           60015
    TRINITY HIGH SCHOOL                                                    7574 W DIVISION ST                                                                                  RIVER FOREST        IL           60305
    Trinity Lutheran Church                                                731 Southwest Buchanan Street                                                                       Topeka              KS           66606
    TRINITY LUTHERAN SCHOOL                                                8781 BRUNSWICK RD                                                                                   MINAQUA             WI           54548
    TRINITY SCHOOL FOR CHILDREN                                            2402 WEST OSBORNE AVENUE                                                                            TAMPA               FL           33603
    TRIOPIA C U S D 27                                                     2204 CONCORD-ARENVILLE ROAD                                                                         CONCORD             IL           62631
    TRIPLE B CLEANING INC                                                  P O BOX 4580                                                                                        QUEENSBURY          NY           12804
    TRIPLE S-SALUD                                                         P O BOX 71548                                                                                       SAN JUAN            PR           00936-8648
    Trip-Savers Couriers                                                   309 East Fontanero St                                                                               Colorado Springs    CO           80907
    TRIPWIRE INC                                                           DEPT CH17020                                                                                        PALATINE            IL           60055
    TRISH COLLINS                           DBA TLC BOOK TOURS             380 HARVEST LANE                                                                                    SANTA ROSA          CA           95401
    TRISH PARCELL                                                          30 MIDLAND PLACE                                                                                    NEWARK              NJ           07106
    TRISHA PASTER                                                          350 E KINGS WAY                                                                                     WINTER PARK         FL           32789
    Trisha Stayton                                                         1523 W. Farwell Ave.             Apt. 1b                                                            Chicago             IL           60626
    TRI-STATE FIRE PROTECTION INC                                          445 DELSEA FRIVE                                                                                    SEWELL              NJ           08080



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                     454 of 488                                                                                                          1:26 PM
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                                                                                                                        of 519
                                                                                                                         First Class Service List


               CreditorName                           CreditorNoticeName               Address1                               Address2              Address3                City        State       Zip            Country
    TRI-STATE INDUSTRIAL PRODUCTS
    CO                                                                     P O BOX 55                          1021 MILL CREEK DR #6                           SOUTHAMPTON         PA           19053
    TRIVAS IRENE                                                           173 DEERFIELD LANE                                                                  NEWBURY             VT           05051
    TRO INC                                 THE RICHMOND ORGANIZATION      266 WEST 37TH ST 17TH FL                                                            NEW YORK            NY           10018

    TROFEOS DEL CARIBE INC                                                 SANTA ROSA 30-7 AVE, MAINSUITE 3                                                    BAYAMAN             PR           00959
    TROUBADOUR MUSIC INC                                                   610 FERNHILL ROAD S 3            C 40 MAYNE ISLAND                                  VANCOUVER           BC           V0N 2J0      Canada
    TROUTMAN SANDERS LLP                                                   P O BOX 933652                                                                      ATLANTA             GA           31193-3652
    TROUX TECHNOLOGIES                                                     8601 RANCH RD 2222 STE 3-300                                                        AUSTIN              TX           78730-2324

    TROUX TECHNOLOGIES INC                                                 8601 FM 2222 BUILDING 3 SUITE 300                                                   AUSTIN              TX           78730
    Trowers & Hamlins
    TROWERS & HAMLINS LLP                   BURJUMAN BUSINESS TOWER        TRADE CTR RD P O BOX 23092          SHEIKH KHALIFA BIN ZAYED RD                     DUBAI                                         United Arab Emirates
    TROWERS & HAMLINS LLP                                                  TRADE CTR RD P O BOX 23092          SHEIKH KHALIFA BIN ZAYED RD                     DUBAI                                         United Arab Emirates
    TROWERS & HAMLINS LLP                                                  SCEPTRE COURT 40 TOWER HILL                                                         LONDON                           EC3N 4DX     United Kingdom
    Troy A Deagrella                                                       3868 S Lake Orlando Parkway                                                         Orlando             FL           32808
    TROY FLOORING CENTER LLC                                               600 MAIN STREET                                                                     TROY                MO           63379
    TROY GROUP INC                                                         3 BRYAN DRIVE                                                                       WHEELING            WV           26003
    TROY HICKS                                                             3323 ARAGON DR                                                                      LANSING             MI           48906
    TROY MANNING                                                           PO BOX 4154                                                                         CARLSBAD            CA           92018
    Troy T Bonner                                                          650 E Vista Ridge Mall Dr.          Apt 513                                         Lewisville          TX           75067
                                            SOUTHEAST ALABAMA REGIONAL
    TROY UNIVERSITY                         INSERVICE                      346 HAWKINS HALL                                                                    TROY                AL           36082
    TROY WATER AND SANITATION
    DEPT                                                                   800 CAP-AU-GRIS                                                                     TROY                MO           63379
    TROY WAYRYNEN                                                          13102 NW 48TH AVE                                                                   VANCOUVER           WA           98685
    Trudy F Zeliasz                                                        PO Box 2                                                                            Maple Park          IL           60151

    TRUDY FERGUSON-BRANDENBURG                                             511 CHAMPIONS DRIVE                                                                 GEORGETOWN          TX           78628
    TRUDY KNOWLES                                                          4 NOBLE AVE                                                                         WESTFIELD           MA           01085
    TRUE KELLEY                                                            79 OLD DENNY HILL                                                                   WARNER              NH           03278
    TRUESDELL SUE                                                          21 NORMAN PLACE                                                                     TENAFLY             NJ           07670
    TRUGREEN #2739                                                         PO BOX 9001501                                                                      LOUISVILLE          KY           40290-1501
    TRUGREEN LANDCARE                                                      P O BOX 759316                                                                      BALTIMORE           MD           21275-9316

    TRUMAN CAPOTE LITERARY TRUST GREENBERG TRAURIG LLP                     2450 COLORADO AVE STE 400E                                                          SANTA MONICA        CA           90404

    TRUMAN CAPOTE LITERARY TRUST            ATTN ALAN U SCHWARTZ TRUSTEE   2450 COLORADO AVE STE 400E                                                          SANTA MONICA        CA           90404
    TRUMAN HEARTLAND COMMUNITY              DBA KANSAS CITY PROF
    FOUNDATION                              DEVELPMNT NTWRK                1801 NW VESPER                                                                      BLUE SPRINGS        MO           64015
    TRUMAN HEARTLAND COMMUNITY
    FOUNDATION                              ATTN ANNETTE SAEGO             1801 NW VESPER                                                                      BLUE SPRINGS        MO           64015
    TRUMBLE KELLY                                                          9959 E PEAKVIEW AVE - APT C103                                                      ENGLEWOOD           CO           80111-6112
    TRUST ANYA SETON CHASE                  C/O HAVEN A KNIGHT             20 RUSTIC VIEW ROAD                                                                 GREENWICH           CT           06830
    TRUST AVIS DEVOTO                       CAMBRIDGE TRUST COMPANY        1336 MASSACHUSETTS AVENUE                                                           CAMBRIDGE           MA           02238

    TRUST COVERT BAILEY REVOCABLE                                          1106 LEISURE WORLD                                                                  MESA                AZ           85206
    TRUST FRANKLYN M BRANLEY
    FAMILY                         C/O MARY JANE DAY                       502 BB SAMS DRIVE                                                                   ST HELENA ISLAND    SC           29920
    TRUST HARDING WALTER                                                   320 HEATERS HILL ROAD                                                               MATAMORAS           PA           18336
                                   HELEN D AND ROBIN D LESTER
    TRUST HELEN DOUGHTY LESTER     TRUSTEES                                PO BOX 63                                                                           PAWLING             NY           12564
    TRUST HENDERSON EDMUND H       ACHSAH E HENDERSON TRUSTEE              1215 INGLECRESS DRIVE                                                               CHARLOTTESVILLE     VA           22901
    TRUST OF CIARDI FAMILY
    PUBLISHING                     JOHN L CIARDI, TRUSTEE                  966 EAST MESA VISTA DRIVE                                                           IVINS               UT           84738
    TRUST OF KURT VONNEGUT JR      C/O FARBER LITERARY AGENCY              14 EAST 75TH STREET                                                                 NEW YORK            NY           10021
    TRUST ROSWELL FLORENCE F/B/O
    E ROSWELL                      ACCT# 31Z045382                         437 MADISON AVENUE                                                                  NEW YORK            NY           10022
    TRUST SEXTON/FREUND 1984
    FAMILY                         SKYLINE VENTURES DAVID PORTER           525 UNIVERSITY AVE STE 520                                                          PALO ALTO           CA           94301
    TRUST U/I OF RUTH ELLEN PATTON
    TOTT                           ESSEX STREET ASSOCIATES                 400 ESSEX STREET                                                                    BEVERLY FARMS       MA           01915
                                   C/O CHOATE HALL & STEWART -
    TRUST U/W AMY LOWELL           LAURA REIDY                             TWO INTERNATIONAL PLACE                                                             BOSTON              MA           02110

    TRUST U/W/O LOWES JOHN WILBER C/O BANK OF AMERICA, INCOME              PO BOX 830780                                                                       DALLAS              TX           75285
    TRUST UW SEYMOUR LAWRENCE     FBO NICHOLAS LAWRENCE                    46 ACCORD PARK DRIVE                                                                NORWELL             MA           02061
    TRUST UW SEYMOUR LAWRENCE     FBO MACY LAWRENCE RATLIFF                260 MADISON AVE 18TH FLOOR                                                          NEW YORK            NY           10016

    TRUSTEES OF BERWICK ACADEMY                                            31 ACADEMY STREET                                                                   SOUTH BERWICK       ME           03908-1501



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                        455 of 488                                                                                      1:26 PM
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                                                                                                                                 of 519
                                                                                                                                 First Class Service List


                 CreditorName             CreditorNoticeName                                    Address1                               Address2                          Address3                             City        State       Zip              Country
                                  ADLAB C/O PROFESSOR TOBE
    TRUSTEES OF BOSTON UNIVERSITY BERKOVITZ                                      640 COMMONWEALTH AVE                                                                                            BOSTON              MA           02215
    TRUSTEES OF DARTMOUTH
    COLLEGE                       DBA UNIV PRESS OF NEW ENGLAND                  ONE COURT STREET STE 250                                                                                        LEBANON             NH           03766
    TRUSTEES OF DAVID E AND       DAVID & YVONNE S FREEMAN
    YVONNE S FREEMAN              REVOCABLE                                      134 CHACHALACA STREET                                                                                           SAN BENITO          TX           78586
    TRUSTEES OF THE UNIV OF
    PENNSYLVANIA                                                                 P O BOX 785541                                                                                                  PHILADELPHIA        PA           19178-5541
    TRUSTEES -THE UNIV OF                                                                                                UNIVERSITY ARCHIVES & RECORDS
    PENNSYLVANIA                                                                 3401 MARKET STREET, SUITE 210           CTR                           ATTN MARK FRAZIER LLOYD                   PHILADELPHIA        PA           19104-3358
    TRYGVE ROB SANDVIK                                                           4101 E 142ND AVE                                                                                                ANCHORAGE           AK           99516
    TSENG JEAN                                                                   31 VIOLA DR                                                                                                     GLEN COVE           NY           11542
    TSI GRAPHICS INC                                                             P O BOX 798176                                                                                                  ST LOUIS            MO           63179
    TSUNEO NAKAMURA                                                              6-4-901 ICHIBANCHO                                                                                              CHOYODA-KU          TOKYO        102-0082     Japan
    TUCKER INC                                                                   P O BOX 6188                                                                                                    ANDERSON            SC           29623
    TUCKER NICHOLS                                                               50 CATALPA AVE                                                                                                  MILL VALLEY         CA           94941
    TUCKER-MAXON ORAL SCHOOL                                                     2860 SE HOLGATE BLVD                                                                                            PORTLAND            OR           97202
    TUCSON TAWL                                                                  2807 NORTH TYNDALL                                                                                              TUCSON              AZ           85719

    TUCSON UNIFIED SCHOOL DISTRICT TITLE 1 GRANTS ACCOUNTABILITY                 1010 E 10TH ST ROOM 240                                                                                         TUCSON              AZ           85719
                                   REF FUND # 53421 TEACHER
    TUCSON UNIFIED SCHOOL DISTRICT FOCUS/INDUCTION                               1010 E 10TH ST                                                                                                  TUCSON              AZ           85719
    TUCUMCARI PUBLIC SCHOOLS                                                     2400 SOUTH 8TH ST, P O BOX 1046                                                                                 TUCUMCARI           NM           88401
    TUFTS UNIVERSITY                        CTR APLD CHID DVMT                   177 COLLEGE AVENUE                                                                                              MEDFORD             MA           02155
    TUGEAU 2 INC                                                                 2231 GRANDVIEW AVE                                                                                              CLEVELAND HEIGHTS   OH           44106
    TULARE COUNTY OFFICE OF
    EDUCATION                               ATTN ELOISE MARTINEZ                 7000 DOE AVENUE SUITE A                                                                                         VISALIA             CA           93291
    TULSA WORLD                             WORLD PUBLISHING COMPANY             315 SOUTH BOULDER                                                                                               TULSA               OK           74103
                                                                                 75 SHERBOURNE STREET 5TH
    TUNDRA BOOKS                            LES LIVRES TOUNDRA                   FLOOR                                                                                                           TORONTO             ON           M5A 2P9      Canada
    TUNDRA BOOKS                                                                 75 SHERBOURNE STREET                                                                                            TORONTO             ON           M5A 2P9      Canada
    TURF CATERING COMPANY OF
    DELAWARE                                                                     P O BOX 639                                                                                                     HOT SPRINGS         AR           71901
    TURNER PAMELA                                                                6042 MANCHESTER DRIVE                                                                                           OAKLAND             CA           94618
    Turner Unified School District          Accounts Payable                     800 South 55th Street                                                                                           Kansas City         KS           66106
    TURNHERE INC                                                                 121 2ND STREET 2ND FLOOR                                                                                        SAN FRANCISCO       CA           94105
    TURNKEY SOLUTIONS CORP                                                       12001 CARY CIRCLE                                                                                               LAVISTA             NE           68128
    TURTLE BOOKS                                                                 897 BOSTON POST ROAD                                                                                            MADISON             CT           06443
    TURTLE BOOKS INC                                                             897 BOSTON POST ROAD                                                                                            MADISON             CT           06443
    TUSA TRICIA                                                                  551 W CORDOVA RD # 9                                                                                            SANTA FE            NM           87505
    TUSTIN PUBLIC SCHOOLS
    FOUNDATION                                                                   150 EL CAMINO REAL, STE 140                                                                                     TUSTIN              CA           92780
    Tutunjian, Pat
    TVTEXTBOOK INC                                                               P O BOX 423                                                                                                     NEW ALBANY          OH           43054
    TW TELECOM INC                                                               PO BOX 172567                                                                                                   DENVER              CO           80217
    Twanda R Mc Donald-Owens                                                     415 Edgemore Road                                                                                               Philadelphia        PA           19151
    TWAYNE PUBLISHERS INC                                                        PO BOX 70598                            SIMON AND SCHUSTER INC             SUBSIDIARY RIGHTS                    CHICAGO             IL           60673-0598
    TWENTIETH CENTURY FOX
    LICENSING &                             MERCHANDISING LEGAL DEPT             2121 AVENUE OF STARS, ROOM 4300                                                                                 CENTURY CITY        CA           90067
    TWENTY THIRD PUBLICATIONS                                                    PO BOX 6015                                                                                                     NEW LONDON          CT           06320
    TWIN LAKES SCHOOL
    CORPORATION                                                                  565 SOUTH MAIN STREET                                                                                           MONTICELLO          IN           47960
    TWITTER                                                                      P O BOX 12027                                                                                                   NEWARK              NJ           07101-5027
                                            RE Paul Perito, M.D. (Dangerous      Gregory S. Glasser, Esq., FLA Bar No.
    Two Datran Center--PH II                Doses), Plaintiff                    014702                                  9130 S. Dadeland Blvd.                                                  Miami               FL           33156

    Two Twenty Two Berkeley Venture         RE 222 Berkeley Street, FL 3-6, 10   Jodi Winkler                            PNC Bank, 500 First Ave            Acct Two Twenty Two Berkeley Venture Pittsburgh          PA           15219
    TWO TWENTY TWO BERKELEY
    VENTURE                                 DEPARTMENT 12983                     PO BOX 842771                                                                                                   BOSTON              MA           02284
    TWO TWENTY TWO BERKELEY
    VENTURE                                                                      P O BOX 415027                                                                                                  BOSTON              MA           02241-5027
    TWO TWENTY TWO BERKELEY
    VENTURE                                                                      PO BOX 842771                                                                                                   BOSTON              MA           02241-2284
    TWO TWENTY TWO BERKELEY
    VENTURE                                                                      PO BOX 842771                                                                                                   BOSTON              MA           02284
    TWP ACCOUNTING LLP                                                           CHURCH STREET                           THE OLD RECTORY                                                         WEYBRIDGE           Surrey       KT13 8DE     United Kingdom
    TWP Accounting LP
    TWP AMERICA INC                                                              299 BROADWAY STE 720                                                                                            NEW YORK            NY           10007
    TXTWRITER INC                                                                6969 AMHERST AVE                                                                                                SAINT LOUIS         MO           63130
    TXU ENERGY                                                                   P.O. BOX 650638                                                                                                 DALLAS              TX           75265-0638



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                                 456 of 488                                                                                                                 1:26 PM
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                                                                                                                 464 Matrix
                                                                                                                         of 519
                                                                                                                        First Class Service List


                  CreditorName                        CreditorNoticeName                   Address1                          Address2                        Address3                  City        State       Zip                Country
    TXU GAS COMPANY                                                          P.O. BOX 650654                                                                              DALLAS              TX           75265
    TYCA - SOUTHEAST                        FCCJ SOUTH CAMPUS                119001 BEACH BLVD                                                                            JACKSONVILLE        FL           32246
    TYLER CLARK                                                              193 STRATHMORE ROAD # 2                                                                      BRIGHTON            MA           02135
    TYLER ELEMENTARY SCHOOL                                                  14500 JOHN MARSHALL HWY                                                                      GAINESVILLE         VA           20155
    Tyler F Brown                                                            1121 N Malvern Circle Rd                                                                     Liberty Lake        WA           99019
    Tyler J Brown                                                            1274 Westover Trace                                                                          Acworth             GA           30102
    TYLER MEDICAL SERVICES SC                                                525 TYLER ROAD SUITE J                                                                       ST CHARLES          IL           60174
    TYLER WIBERG                                                             875 ALAMANDA ST                                                                              BOCA RATON          FL           33486
    TYMESHA A WILLIAMS                                                       1038 MYRTLE STREET                                                                           SARASOTA            FL           34234
    TYPEFI SYSTEMS PTY LTD                                                   UNIT 8/10 GREBE STREET                                                                       PEREGIAN BEACH      Queensland   04573        Australia
    Tyra Allamprese                                                          4918 Shamrock Ct                                                                             Mableton            GA           30126
    Tyra Mitchell                                                            3245 W Main St                  Ste 235                                                      Frisco              TX           75034
    Tyrone C Holmes                                                          3015 Riverdale Ave              Apt 2K                                                       Bronx               NY           10463
    TYRONE C HOWARD                                                          29551 HACIENDA DRIVE                                                                         VALENCIA            CA           91354
    Tyrone Smith                                                             16 CROWNINSHIELD ST.            APT. 107                                                     PEABODY             MA           01960
    TYRRELL-LEWIS ASSOCIATES LTD                                             2 ALDERMARY ROAD                                                                             BROMLEY             Kent         BR1 3PH      United Kingdom
                                            DBA TYSON MANGELSDORF
    TYSON MANGELSDORF                       ILLUSTRATION                     15926 SW HAMPSHIRE TERRACE                                                                   PORTLAND            OR           97224
    U S BUSINESS SERVICES INC                                                5743 CORSA AVENUE SUITE 222                                                                  WESTLAKE VILLAGE    CA           91362

    U S FIRE & SAFETY EQUIPMENT CO                                           6542 N MILWAUKEE AVE                                                                         CHICAGO             IL           60631
                                            BUSINESS MAIL ENTRY - PERMIT #
    U S POSTMASTER                          2541                             P O BOX 538900                                                                               ORLANDO             FL           32853-8900
    U S POSTMASTER                                                           3266 KIRCHOFF ROAD                                                                           ROLLING MEADOWS     IL           60008
    U S POSTMASTER                                                           BACK BAY ANNEX                                                                               BOSTON              MA           02116
    U S POSTMASTER                                                           P O BOX 538900                                                                               ORLANDO             FL           32853-8900
    U S POSTMASTER                                                           XXXX                                                                                         XXXX                MA           02116
    U S POSTMASTER - CAPS                   CAPS SERVICE CENTER              2700 CAMPUS DR                                                                               SAN MATEO           CA           94497
    U S SATELLITE LABORATORY INC                                             32 ELM PLACE                                                                                 RYE                 NY           10580
    U.S. Department of Education            National Payment Center          PO Box 4142                                                                                  Greenville          TX           75403-4142
    U.S. Specialty Insurance Company
    UAC SERVICE CORP                                                         52-16 34TH ST                                                                                LONG ISLAND CITY    NY           11101-3202
    UAPB HERITAGE FUND                      UNIV OF ARKANSAS - PINE BLUFF    1200 N INIVERSITY DRIVE                                                                      PINE BLUFF          AR           71601
    UBS AG
    UBX BOOK EXCHANGE                                                        10 E 15TH AVENUE                                                                             COLUMBUS            OH           43201
    UC REGENTS                              UCR CAMPUS STORE                 900 UNIVERSITY AVENUE EAST                                                                   RIVERSIDE           CA           92521-0417
    UCD BURSARS OFFICE                      UNIVERSITY COLLEGE DUBLIN        ROOM 102                                                                                     BELFIELD            Dublin                    Ireland
    Uchenna C. Ikonne                                                        76 Sunnyside Street                                                                          Hyde Park           MA           02136
    UCI BOOKSTORE                                                            UNIVERSITY OF CALIFORNIA                                                                     IRVINE              CA           92617
    UCN INC                                 DBA INCONTACT INC                PO BOX 410468                                                         PAYMENT CENTER #5450   SALT LAKE CITY      UT           84141
    UCN INC                                                                  PO BOX 410468                                                                                SALT LAKE CITY      UT           84141
    UConn Foundation, Inc.                                                   2390 Alumni Drive               U-3206                                                       Storrs Mansfield    CT           06269-3206
    UGHETTA FITZGERALD LUBIN                                                 463 CONCORD AVENUE                                                                           LEXINGTON           MA           02421
    UHLMAN THOMAS                                                            4308 LEEPER STREET                                                                           CINCINNATI          OH           45223
    UITGEVERIJ DE KERN - LA RIVIERE
    UIT                                     POSTBUS 133                      3740 AC BAARN                                                                                THE NETHERLANDS                               Netherlands
    ULALUME ZAVALA                                                           57 JAY ST # 1B                                                                               BROOKLYN            NY           11201
    ULINE                                   ATTN ACCOUNTS RECEIVABLE         2200 S LAKESIDE DR                                                                           WAUKEGAN            IL           60085
    Uline                                   Accounts Receivalbe              2200 S. Lakeside Drive                                                                       Waukegan            IL           60085
    ULINE                                                                    2200 S LAKESIDE DR                                                                           WAUKEGAN            IL           60085
    ULINE INC                                                                2200 SOUTH LAKESIDE DRIVE                                                                    WAUKEGAN            IL           60085
    ULLABRITT E LAM                         DBA THE RED APPLE                PO BOX 1579                                                                                  GLOUCESTER          MA           01931
    ULLSTEIN BUCHVERLAGE GMBH                                                FRIEDRICHSTRASSE 126                                                                         BERLIN                           10117        Germany
    UMBRAGE EDITIONS                        C/O NAN RICHARDSON               111 FRONT ST # 208                                                                           BROOKLYN            NY           11201
    UMBRAGE EDITIONS                                                         111 FRONT STREET STE 208        ATTN NAN RICHARDSON                                          BROOKLYN            NY           11201
                                                                             CAMPUS BOX #1530 DANIELS
    UNC STUDENT STORES                                                       BUILDING                                                                                     CHAPEL HILL         NC           27599
    UNCOMMON FRIENDS                                                         PO BOX 811                      FOUNDATION INC                                               FORT MYERS          FL           33902
    UNDER THE DEED OF HARRY T
    LEVIN                                                                    CAMBRIDGE TRUST CO, TRUSTEE                                                                  CAMBRIDGE           MA           02138
                                                                                                             IRENE GOODMAN LITERARY
    UNDER THE SIGN OF THE UNICORN                                            27 W 24TH ST, STE 700-B         AGENCY                                                       NEW YORK            NY           10010
    UNDER THE SIGN OF THE UNICORN DBA IRENE GOODMAN LITERARY
    INC                           AGENCY                                     27 WEST 24TH STREET STE #700B                                                                NEW YORK            NY           10010
    UNDERSEA IMAGES INC           ATTN DAVID DOUBILET                        PO BOX 232                                                                                   CLAYTON             NY           13624
    UNDERWOOD DEBORAH                                                        1318 17TH AVENUE #4                                                                          SAN FRANCISCO       CA           94122
    UNDERWOOD PHOTO ARCHIVES                                                 143 ALTA VISTA RD                                                                            WOODSIDE            CA           94062-3502
    unicefusa.org                                                            333 East 38th Street                                                                         New York            NY           10016
    UNI-CES                                                                  8628 UNIVERSITY AVE                                                                          CEDAR FALLAS        IA           50614
    UNICORN STOCK PHOTOS                                                     2501 BRETIGNE CIR                                                                            LINCOLN             NE           68512-2056



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                       457 of 488                                                                                                      1:26 PM
                                                      12-12171-reg           Doc 136            Filed 07/15/12 Exhibit
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                                                                                                          Pg Creditor
                                                                                                              465 Matrix
                                                                                                                      of 519
                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                       Address2                           Address3                           City          State       Zip            Country
    UNICOVER CORPORATION                                                   ONE UNICOVER CENTER                                                                                       CHEYENNE           WY           82008-0001
    UNIFIED SCH DIST 38                                                    1520 N PLUM, BOX 1908                                                                                     HUTCHINGSON        KS           67504
    UNIFIRST CORPORATION                                                   2045 N 17TH AVE                                                                                           MELROSE PARK       IL           60160-1347
    UNIFIRST CORPORATION                                                   4201 INDUSTRIAL BLVD                                                                                      INDIANAPOLIS       IN           46254
    UNIFIRST CORPORATION                                                   430 RIVERSIDE IND PKWY                                                                                    PORTLAND           ME           04103
    UNIFIRST CORPORATION                                                   78-80 EAST COTTAGE ST                                                                                     DORCHESTER         MA           02125
    UNIFIRST HOLDINGS INC                                                  PO BOX 7580                                                                                               HALTOM CITY        TX           76111
    UNIGRAPHIC INC                                                         110 J COMMERCE WAY                                                                                        WOBURN             MA           01801
    UNION CHRISTIAN ACADEMY                                                4201 WINDSOR DRIVE                                                                                        FORT SMITH         AR           72904
    UNION COLLEGE                                                          3800 S 48TH STREET                                                                                        LINCOLN            NE           68506
    UNION ELECTRIC COMPANY                  DBA AMERENUE                   P O BOX 66529                                                                                             ST LOUIS           MO           63166
    UNION ELECTRIC COMPANY                  DBA AMEREN MISSOURI            PO BOX 66301                                                                                              ST LOUIS           MO           63166-6301
    UNION ELECTRIC COMPANY                                                 P O BOX 66529                                                                                             ST LOUIS           MO           63166
    UNION ELEMENTARY SCHOOL                                                1070 HEALD HWY                                                                                            UNION              ME           04862
    UNION PARISH SCHOOL BOARD               SALES TAX DEPT                 PO BOX 545                                                                                                FARMERVILLE        LA           71241
    Uniquelitho                                                            9 Inverness Drive East                                                                                    Englewood          CO           80112
    UNISON PARTNERS LLC                                                    1010 WISCONSIN AVE NW STE 405                                                                             WASHINGTON         DC           20007
    UNISOURCE                                                              PO BOX 849089                                                                                             DALLAS             TX           75284
    UNISTAFF INC                                                           301 E NORTH AVENUE                                                                                        NORTHLAKE          IL           60164

    UNISTAR-SPARCO COMPUTERS INC SPARCO.COM                                7089 RYBURN DR                                                                                            MILLINGTON         TN           38053
    UNITARIAN UNIVERSALIST
    ASSOCIATION                                                            25 BEACON STREET                                                                                          BOSTON             MA           02108
    UNITED AUBURN INDIAN
    COMMUNITY                                                              10720 INDIAN HILL RD                                                                                      AUBURN             CA           95603
    UNITED CUSD 304              UNITED HIGH SCHOOL                        1905 100TH STREET                                                                                         MONMOUTH           IL           61462
    UNITED DATA TECHNOLOGIES INC                                           DEPT # 0627 P O BOX 850001                                                                                ORLANDO            FL           32885-0627
                                                                                                                                               Overseas-Chines Banking Corporation
    United Engineers Developments Pte Ltd RE 350 Orchard Road              Stephanie Chua                   acct# 581-217874-001               Limited                                                               49513        Singapore
    UNITED ENGINEERS
    DEVELOPMENTS PTE LTD                                                   350 ORCHARD RD #11-08                                                                                     SHAW HOUSE                      238868       Singapore

    UNITED FEATURE SYNDICATE                                               200 MADISON AVENUE, 4TH FLOOR    ATTN CALUNE EUSTACHE                                                     NEW YORK           NY           10016

    UNITED FEDERATION OF TEACHERS           PEER INTERVENTION PROGRAM      52 BROADWAY 5TH FLOOR                                                                                     NEW YORK           NY           10004
    UNITED GRAPHIC PTE LTD                                                 4 PANDAN CRESCENT                                                                                         SINGAPORE                       128475       Singapore
    UNITED MEDIA                                                           PO BOX 641432                                                                                             CINCINNATI         OH           45264-1432
    United Methodist Committee              The United Methodist Church    475 Riverside Drive                                                                                       New York           Ny           10115
    UNITED METHODIST PUBLISHING
    HOUSE                                   DBA ABINGDON PRESS             201 EIGHTH AVE S P O BOX 801                                                                              NASHVILLE          TN           37202
    UNITED NATIONS PUBLICATIONS                                            304 EAST 45TH ST - ROOM # 735B                                                                            NEW YORK           NY           10017
    UNITED PARCEL SERVICE                   FOREST ROAD                    FELTHAM                                                                                                   MIDDLESEX                       TW13 7DY     United Kingdom
    UNITED PARCEL SERVICE                                                  LOCKBOX 577                                                                                               CAROL STREAM       IL           60132-0577
    UNITED PARCEL SERVICE                                                  PO BOX 7247-0244                                                                                          PHILADELPHIA       PA           19170-0001

    UNITED PRESS INTERNATIONAL INC                                         1133 19TH STREET NW, STE 800                                                                              WASHINGTON         DC           20036
    UNITED PRINTING CONSULTANTS
    INC                                                                    2003 DARDENNE VALLEY DRIVE                                                                                DARDENNE PRAIRIE   MO           63368
    UNITED SEPTIC INC                                                      1327 W BEECHER RD                                                                                         BRISTON            IL           60512
    UNITED STATE NAVAL ACADEMY
    FOUNDATION                              ATTN NATALIE H CULLERS         291 WOOD ROAD BEACH HALL                                                                                  ANNAPOLIS          MD           21402
    UNITED STATES CONFERENCE OF
    CATHOLIC                                BISHOPS                        3211 4TH STREET NE                                                                                        WASHINGTON         DC           20017
    UNITED STATES FISH AND WILDLIFE
    SERVICE                                 FEDERAL DUCK STAMP OFFICE      4401 NORTH FAIRFAX DRIVE                                                                                  ARLINGTON          VA           22203
    UNITED STATES FUND FOR UNICEF                                          125 MAIDEN LANE                                                                                           NEW YORK           NY           10038
    UNITED STATES NAVAL ACADEMY             BUSINESS SERVICES DIVISION     101 WILSON RD                    5TH WING, BANCROFT HALL                                                  ANNAPOLIS          MD           21402
    UNITED STATES OLYMPIC
    COMMITTEE                                                              1 OLYMPIC PLAZA                                                                                           COLORADO           CO           80909

    UNITED STATES POSTAL SERVICE            RIGHTS & PERMISSIONS PROGRAM   PO BOX 7247-7087                                                                                          PHILADELPHIA       PA           19170-7087
    UNITED STATES POSTAL SERVICE            ACCOUTING SERVICE CENTER       PO BOX 21666                                                                                              EAGAN              MN           55121-0666
    UNITED STATES POSTAL SERVICE                                           1101 DAVIS STREET                                                                                         EVANSTON           IL           60201
    UNITED STATES POSTAL SERVICE                                           2772 ROOSEVELT STREET                                                                                     CARLSBAD           CA           92008
    UNITED STATES POSTAL SERVICE                                           626 FRANKLIN AVE                                                                                          KENT               OH           44240
    UNITED STATES POSTAL SERVICE                                           PO BOX 7247-7087                                                                                          PHILADELPHIA       PA           19170-7087
    United States Sales Service                                            770 N. Nantucket Street                                                                                   Chandler           AZ           85225
    UNITED STATES TREASURY                  IRS                            P O BOX 9941                                                                                              OGDEN              UT           84201-0038
    United States Treasury                  Internal Revenue Service       PO Box 12192                                                                                              Covington          KY           41012-0192
    UNITED STATES TREASURY                  INTERNAL REVENUE SERVICE       PO BOX 219690                                                                                             KANSAN CITY        MO           64121-9690



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                   458 of 488                                                                                                                 1:26 PM
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                CreditorName                       CreditorNoticeName                  Address1                          Address2                         Address3            City           State       Zip      Country
    UNITED STATES TREASURY                  INTERNAL REVENUE SERVICE       P O BOX 71052                                                                             PHILADELPHIA       PA           19176-6052
    United States Treasury                                                                                                                                           Ogden              UT           84201-0039
    UNITED STATES TREASURY                                                 P O BOX 192                                                                               COVINGTON          KY           41012-0192
    UNITED STATES TREASURY                                                 P O BOX 71052                                                                             PHILADELPHIA       PA           19176-6052
    UNITED STATES TREASURY                                                 P O BOX 9941                                                                              OGDEN              UT           84201-0038
                                            C/O JAMES A LANDERS VICE
    UNITED STATES TRUST COMPANY             PRESIDENT                      114 WEST 47TH STREET                                                                      NEW YORK           NY           10036
    UNITED TROPHY MFG INC                                                  610 N ORANGE AVENUE                                                                       ORLANDO            FL           32801
    UNITED VAN LINES LLC                                                   22304 NETWORK PLACE                                                                       CHICAGO            IL           60673
    UNITED VISUAL AIDS INC                  UNITED VISUAL INC              1945 MOMENTUM PLACE                                                                       CHICAGO            IL           60689-5319
    UNITED WAY OF GREATER
    SEACOAST                                                               112 COPORATE DRIVE UNIT 3         ATTN AP - PEASE INTNL TRADEPORT                         PORTSMOUTH         NH           03801
    UNITED WAY OF NEW YORK CITY                                            2 PARK AVENUE                                                                             NEW YORK           NY           10016
    UNITIL ENERGY SYSTEMS INC                                              PO BOX 981010                                                                             BOSTON             MA           02298
    UNITY SCHOOL DISTRICT                                                  P O BOX 307                                                                               BALSAM LAKE        WI           54810-0307
    UNITY SCHOOL OF CHRISTIANITY                                           1901 NW BLUE PARKWAY                                                                      UNITY VILLAGE      MO           64065

    UNIV OF ALABAMA BIRMINGHAM                                             1530 3RD AVENUE SOUTH (HHB 360)                                     HERITAGE HALL         BIRMINGHAM         AL           35294
    UNIV OF CENTRAL FLORIDA
    FOUNDATION INC                          ATTN HEATHER JUNOD             P O BOX 161250                                                                            ORLANDO            FL           32816-1215
    UNIV OF ILLINOIS -                                                     106 S MATTHEWS 107 CHEMISTRY
    URBANA/CHAMPAIGN                                                       ANNEX                                                                                     URBANA             IL           61801
    UNIV OF MEMPHIS RESEARCH
    FOUNDATION                                                             308 ADMINISTRATION BLDG                                                                   MEMPHIS            TN           38152-3370
    UNIV OF MICHIGAN MUSEUM OF
    PALEONTOLOGY                            1529 RUTHVEN MUSEUMS BUILDING 1109 GEDDES AVE                                                                            ANN ARBOR          MI           48109
    UNIV OF MICHIGAN PRESS                  ATTN DEBRA SHAFER             839 GREENE ST                                                                              ANN ARBOR          MI           48104-3209
    UNIV OF MINNESOTA BOOKSTORE                                           600J EAST 4TH STREET                                                                       MORRIS             MN           56267

    UNIV OF MINNESOTA BOOKSTORES                                           2221 UNIVERSITY AVE SE                                                                    MINNEAPOLIS        MN           55414
    UNIV OF NEW HAMPSHIRE
    FOUNDATION INC                                                         G432 D MURRAY JRNL SCHLP FUND                                                             DURHAM             NH           03824
    UNIV OF NORTH CAROLINA AT
    CHAPEL HILL                  LIBRARY                                   CB 3930                           KEITH LONGIOTTI - NC COLLECTION                         CHAPEL HILL        NC           27514-8890
    UNIV OF NORTH
    CAROLINA/PEMBROKE                                                      1 UNIVERSITY DRIVE                UNCP BOOKSTORE                                          PEMBROKE           NC           28372
    UNIV OF NORTHERN IOWA
    FOUNDATION                                                             ATTN WILLIAM CALHOUN                                                                      CEDAR FALLS        IA           50614
    UNIV OF PITTSBURGH                                                     BOOKS CENTER                   BOOKSTORE                                                  JOHNSTOWN          PA           15904
                                                                           170 CARR 174 PARQUE INDUSTRIAL
    UNIV OF PUERTO RICO BAYAMON                                            MIN                                                                                       BAYAMON            PR           00959
    UNIV OF SAN DIEGO LAW SCH
    BKSTORE                                                                5998 ALCALA PARK LS310                                                                    SAN DIEGO          CA           92110
    UNIV OF SOUTHERN MAINE                  PORTLAND BOOKSTORE             96 FALMOUTH ST                                                                            PORTLAND           ME           04103
    UNIV OF THE ARTS BOOKSTORE              ATTN SUSIE OUDSHOORN           307 S 13TH ST                                                                             PHILADELPHIA       PA           19107
                                                                                                             DEPARTMENT OF SPORTS
    UNIV OF THE PACIFIC                     MARGARET CICCOLELLA            3601 PACIFIC AVENUE               SCIENCES                                                STOCKTON           CA           95211
    UNIV PREP ACAD MIDDLE SCHOOL                                           5310 ST ANTOINE STREET                                                                    DETROIT            MI           48202
    UNIV PREP SCIENCE AND MATH                                             MIDDLE SCHOOL                     1 CAMPUS MARTIUS                                        DETROIT            MI           48226
    UNIV WISCONSIN BOARD OF                 DEPT GENDER & WOMENS STUDIES-
    REGENTS                                 HYDE                          475 N CHARTER STREET STE. 3321                                                             MADISON            WI           53706
    UNIVERISTY OF MEMPHIS                                                 P O BOX 1000 DEPT 313                                                                      MEMPHIS            TN           38148-1313
    UNIVERISTY OF SOUTH ALABAMA             BOOKSTORE                     307 UNIVERISTY BLVD                                                                        MOBILE             AL           36688
    UNIVERISTY OF WASHINGTON                LIBRARIES                     BOX 352900                                                                                 SEATTLE            WA           98195-2900
    UNIVERISTY OF WEST GEORGIA                                            1601 MAPLE STREET                                                                          CARROLLTON         GA           30118

    UNIVERSAL EDUCATION SOLUTIONS                                          1313 MEARNS MEADOW                                                                        AUSTIN             TX           78758
    UNIVERSAL INC                                                          PO BOX 2004                                                                               MARYLAND HEIGHTS   MO           63043
    UNIVERSAL MILLENNIUM                                                   CL#800306 PO BOX 983120                                                                   BOSTON             MA           02298-3120
    UNIVERSAL PRESS SYNDICATE                                              1130 WALNUT STREET                                                                        KANSAS CITY        MO           64106-2109
    UNIVERSAL RECYCLING
    TECHNOLOGINES                                                          2535 BELOIT AVENUE                                                                        JANESVILLE         WI           53546
    UNIVERSAL STUDIOS HOME                                                 100 UNIVERSAL CITY PLAZA BLDG
    ENTERTAINMENT LLC                                                      1440/6                                                                                    UNIVERSAL CITY     CA           91608
                                    ROY ACCTNG BUILDING 1440 STE
    UNIVERSAL STUDIOS LICENSING INC 1400                                   100 UNIVERSAL CITY PLAZA                                                                  UNIVERSAL CITY     CA           91608
    UNIVERSAL STUDIOS LICENSING
    LLLP                                                                   P O BOX 402843                                                                            ATLANTA            GA           30384-2843
    UNIVERSAL UCLICK                                                       1130 WALNUT STREET                ATTN MARY SUGGETT                                       KANSAS CITY        MO           64106-2109
    UNIVERSE PRESS                                                         300 PARK AVE SOUTH 3RD FL                                                                 NEW YORK           NY           10010



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                   459 of 488                                                                                          1:26 PM
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                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                         Address2                          Address3              City         State       Zip            Country
    UNIVERSIDAD DE PUERTO RICO              RECINTO DE RIO PIEDRAS           P O BOX 23358                                                      LIBRERIA UNIVERSITARIA   SAN JUAN         PR           00931
    University Book Store                   University of Texas at El Paso                                                                                               El Paso          TX           79968-0620
    UNIVERSITY BOOKSHOP-SHARJAH                                              P O BOX 30965                                                                               SHARJAH                                    United Arab Emirates
    UNIVERSITY BOOKSTORE                    WESTERN KENTUCKY UNIV            1906 COLLEGE HEIGHTS BLV 11042                                                              BOWLING GREEN    KY           42101
    UNIVERSITY BOOKSTORE                    IOWA STATE UNIVERSITY            MEMORIAL UNION                                                                              AMES             IA           50011
    UNIVERSITY BOOKSTORE                    CAL STATE UNIV EASY BAY          25976 CARLOS BEE BLVD                                                                       HAYWARD          CA           94542-1602

    UNIVERSITY BOOKSTORE                    ACCOUNTS PAYABLE DEPT            1400 ROCK QUARRY CENTER Q 170                                                               COLUMBIA         MO           65211
    UNIVERSITY BOOKSTORE                                                     1906 COLLEGE HEIGHTS BLV 11042                                                              BOWLING GREEN    KY           42101
    UNIVERSITY BOOKSTORE                                                     25976 CARLOS BEE BLVD                                                                       HAYWARD          CA           94542-1602
    UNIVERSITY BOOKSTORE                                                     MEMORIAL UNION                                                                              AMES             IA           50011
    UNIVERSITY CENTER BOOKSTORE
    INC                                     DBA FACT & FICTION               5 CAMPUS DRIVE                                                                              MISSOULA         MT           59801
    UNIVERSITY CLUB OF BOSTON                                                426 STUART STREET                                                                           BOSTON           MA           02116
    UNIVERSITY CLUB OF CHICAGO                                               PO BOX 91769                                                                                CHICAGO          IL           60693
    UNIVERSITY CLUB OF JACKSON                                               210 EAST CAPITAL ST STE 2200                                                                JACKSON          MS           39201
                                            DBA AMR ALLIANCES - ATTN SUE
    UNIVERSITY CONSULTANTS INC              CAMPBELL                         1390 EISENHOWER PLACE                                                                       ANN ARBOR        MI           48108
    UNIVERSITY OF AKRON                     CENTER FOR LITERACY              120 E MILL STREET STE 310                                                                   AKRON            OH           44325

    UNIVERSITY OF ALABAMA                   UNIVERSITY SUPPLY STORE          CAMPUS DR W FERGUSON CTR 751                                                                TUSCALOOSA       AL           35487
    UNIVERSITY OF ALASKA
    ANCHORAGE                               BOOKSTORE                        2905 PROVIDENCE DRIVE                                                                       ANCHORAGE        AK           99508

    UNIVERSITY OF ARIZONA                   DEPT OF MATHS - C/O ANN MODICA 617 N SANTA RITA AVENUE                                                                       TUCSON           AZ           85721
                                            CENTER FOR CREATIVE
    UNIVERSITY OF ARIZONA                   PHOTOGRAPHY                    P O BOX 210103                                                                                TUCSON           AZ           85721-0103
                                            ARIZONA STATE MUSEUM - PHOTO
    UNIVERSITY OF ARIZONA                   COLLECTION                     P O BOX 210026                                                                                TUCSON           AZ           85721-0026
    UNIVERSITY OF ARIZONA                                                  617 N SANTA RITA AVENUE                                                                       TUCSON           AZ           85721
    UNIVERSITY OF ARIZONA                                                  P O BOX 210026                                                                                TUCSON           AZ           85721-0026
    UNIVERSITY OF ARIZONA                                                  P O BOX 210103                                                                                TUCSON           AZ           85721-0103
    UNIVERSITY OF ARKANSAS                  ACCOUNTS PAYABLE               321 ADMINISTRATION BUILDING                                                                   FAYETTEVILLE     AR           72701
    UNIVERSITY OF ARKANSAS AT
    LITTLE ROCK                             CENTER FOR LITERACY              2801 SOUTH UNIVERSITY AVE                                                                   LITTLE ROCK      AR           72204

    UNIVERSITY OF ARKANSAS PRESS            C/O THE PERMISSIONS COMPANY      PO BOX 604                                                                                  MOUNT POCONO     PA           18344
                                                                             EDUCATION BLDG, RM 4107, M/C
    UNIVERSITY OF CALIFORNIA                GEVIRTZ GRADUATE SCH OF EDUC     9490                             ATTN ARLIS MARKEL                                          SANTA BARBARA    CA           93106-9490
    University of California                At Riverside Bkstr               900 University Ave East                                                                     Riverside        CA           92521
    UNIVERSITY OF CALIFORNIA                                                 BANCROFT LIBRARY                                                                            BERKEKEY         CA           94720-6000
                                                                             EDUCATION BLDG, RM 4107, M/C
    UNIVERSITY OF CALIFORNIA                                                 9490                             ATTN ARLIS MARKEL                                          SANTA BARBARA    CA           93106-9490

    UNIVERSITY OF CALIFORNIA - IRVINE                                        111 ACADEMY WAY, STE 210                                                                    IRVINE           CA           92697-1050
    UNIVERSITY OF CALIFORNIA SAN
    DIEGO                             BOOKSTORE                              7835 TRADE ST # 400 AB                                                                      SAN DIEGO        CA           92121
                                      SCOTT POLAR RESEARCH
    UNIVERSITY OF CAMBRIDGE           INSTITUTE                              LENSFIELD ROAD                                                     CAMBRIDGE                Cambridgeshire                CB21ER       United Kingdom
    University of Cambridge                                                  1 Hills Road                                                                                Cambridge        UK           CB1 2EU      United Kingdom
    UNIVERSITY OF CAMBRIDGE                                                  LENSFIELD ROAD                                                     CAMBRIDGE                Cambridgeshire                CB21ER       United Kingdom
    UNIVERSITY OF CAMBRIDGE                                                  LIBRARY OFFICES, WEST ROAD                                         CAMBRIDGE                Cambridgeshire                CB3 9DR      United Kingdom
    UNIVERSITY OF CHICAGO LAB
    SCHOOL                                                                   1362 EAST 59TH STREET                                                                       CHICAGO          IL           60637
                                      CHICAGO MANUAL OF STYLE
    UNIVERSITY OF CHICAGO PRESS       ONLINE                                 P O BOX 37005                                                                               CHICAGO          IL           60637
    UNIVERSITY OF CHICAGO PRESS                                              1427 E 60TH STREET                                                                          CHICAGO          IL           60637
    UNIVERSITY OF CHICAGO PRESS                                              P O BOX 37005                                                                               CHICAGO          IL           60637
                                      CONFERENCE AND EVENT
    UNIVERSITY OF CINCINNATI          SERVICES                               51 GOODMAN DR STE 200                                                                       CINCINNATI       OH           45221
    UNIVERSITY OF CINCINNATI          ATTN CAROL                             51 GOODMAN DR STE 200                                                                       CINCINNATI       OH           45221
    UNIVERSITY OF CONNECTICUT         LIBRARIES                              343 MANSFIELD ROAD U-2074                                                                   STORRS           CT           06269-2074
    UNIVERSITY OF DALLAS              PREMIER / UDMC                         6303 COMMERCE DR, DTE 150                                                                   IRVING           TX           75063
    UNIVERSITY OF DAYTON              BOOKSTORE                              300 COLLEGE PARK AVENUE                                                                     DAYTON           OH           45469
    UNIVERSITY OF DENVER              BOOKSTORE                              2050 EAST EVANS AVENUE                                                                      DENVER           CO           80208
    UNIVERSITY OF FINDLAY             ACCOUNTS PAYABLE                       1000 N MAIN STREET                                                                          FINDLAY          OH           45840
    University of FL Foundation                                              PO Box 14425                                                                                Gainesville      FL           32604-2425
                                      UF/IFAS CTR FOR AQUATIC &
    UNIVERSITY OF FLORIDA             INVASIVE PLANT                         7922 NW 71 STREET                                                                           GAINESVILLE      FL           32653
    University of Florida                                                    PO Box 14425                                                                                Gainesville      FL           32604-2425



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                                                    460 of 488                                                                                                  1:26 PM
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                                                                                                                    First Class Service List


                  CreditorName                     CreditorNoticeName                    Address1                        Address2                         Address3                       City        State       Zip            Country
    UNIVERSITY OF GEORGIA                   DBA GEORGIA REVIEW              285 S JACKSON ST RM 125                                                                          ATHENS             GA           30602
    UNIVERSITY OF GEORGIA                   C/O PAM MCNAIR STE 289          1197 S LUMPKIN STREET                                                                            ATHENS             GA           30602-3603
    UNIVERSITY OF GEORGIA                                                   285 S JACKSON ST RM 125                                                                          ATHENS             GA           30602
    UNIVERSITY OF GEORGIA PRESS             ATTN STACEY HAYES               330 RESEARCH DRIVE STE B-100                                                                     ATHENS             GA           30602-4901
    UNIVERSITY OF HAWAII                    BOOKSTORE                       2465 CAMPUS RD                                                                                   HONOLULU           HI           96822
    UNIVERSITY OF HAWAII PRESS                                              2840 KOLOWALU STREET                                                                             HONOLULU           HI           96822-1888
    UNIVERSITY OF HOUSTON                   DBA ARTE PUBLICO PRESS          4800 CALHOUN                                                                                     HOUSTON            TX           77004
    University of Houston                   Brandon Doubek                  3003 Memorial Court, 2402                                                                        Houston            TX           77007
    UNIVERSITY OF HOUSTON                   ATTN DEYANIRA ESCOBAR           452 CULLEN PERFORMANCE HALL                                                                      HOUSTON            TX           77204
                                                                                                             ATTN CONTRACTS AND
    UNIVERSITY OF HOUSTON                   ARTE PUBLICO PRESS              4902 GULF FWY BLDG 19 RM 100     PERMISSIONS                                                     HOUSTON            TX           77204-2004
    UNIVERSITY OF HOUSTON                                                   4800 CALHOUN                                                                                     HOUSTON            TX           77004
    UNIVERSITY OF HOUSTON                   ARTE PUBLICO PRESS              452 CULLEN PERFORMANCE HALL                                                                      HOUSTON            TX           77204
    UNIVERSITY OF ILLINOIS                  UIC BOOKSTORE                   750 S HALSTED STREET                                                                             CHICAGO            IL           60607
                                                                            100 MAIN LIB - FINANCE SVCS RM
    UNIVERSITY OF IOWA                      UNIV OF IOWA LIBRARIES          2013                                                                                             IOWA CITY          IA           52242
    UNIVERSITY OF IOWA                      IOWA TESTING PROGRAMS           340 LINDQUIST CENTER             ATTN GEORGE KARR                  IOWA TESTING PROGRAMS LC334   IOWA CITY          IA           52242-1529
                                                                            100 MAIN LIB - FINANCE SVCS RM
    UNIVERSITY OF IOWA                                                      2013                                                                                             IOWA CITY          IA           52242
    UNIVERSITY OF IOWA                                                      340 LINDQUIST CENTER             ATTN GEORGE KARR                  IOWA TESTING PROGRAMS LC334   IOWA CITY          IA           52242-1529

    UNIVERSITY OF IOWA FOUNDATION 500 ALUMNI CENTER                         P.O. BOX 4550                                                                                    IOWA CITY          IA           52244-4550

    UNIVERSITY OF IOWA FOUNDATION                                           1 WEST PARK RD -P O BOX 4550                                                                     IOWA CITY          IA           52244-4550
                                            COLLABORATIVE CTR FOR
    UNIVERSITY OF KENTUCKY                  LITERACY DVLPMNT                120 QUINTON COURT, STE 200                                                                       LEXINGTON          KY           40509
    UNIVERSITY OF LOUISIANA                                                 P O BOX 41209                    BOOKSTORE                                                       LAYFAYETTE         LA           70504
    UNIVERSITY OF MAINE                                                     5703 ALUMNI HALL- 100            ACCOUNTS RECEIVABLE                                             ORONO              ME           04469-5703
    UNIVERSITY OF MAINE                                                     5778 UNIVERISTY BOOKSTORE                                                                        ORONO              ME           04469
                                            INCOME OFFICE - JOHN OWENS
    UNIVERSITY OF MANCHESTER                BUILDING                        OXFORD ROAD                                                                                      MANCHESTER                      M13 9PL      United Kingdom
    UNIVERSITY OF MARY                                                      7500 UNIVERSITY DRIVE                                                                            BISMARCK           ND           58504
    UNIVERSITY OF MARY HARDIN
    BAYLOR                                  S A PROVENCE ENDOWMNT FUND      UMHB BOX 8001                                                                                    BELTON             TX           76513-8001

    UNIVERSITY OF MARY WASHINGTON                                           1301 COLLEGE AVENUE                                                                              FREDERICKSBURG     VA           22401
    UNIVERSITY OF MARYLAND                                                  0133 COLE STUDENT ACTIVITIES B   OFFICE OF TECH COMMERCIAL                                       COLLEGE PARK       MD           20742
                                                                                                             LIT TRUST - WILL OF KATHERINE
    UNIVERSITY OF MARYLAND                                                  MCKELDIN LIBRARY                 PORTER                            ATTN PATRICIA STEELE          COLLEGE PARK       MD           20742-7911
    UNIVERSITY OF MARYLAND
    COLLEGE PARK                                                            ROUTE 1                                                                                          COLLEGE PARK       MD           20742
    UNIVERSITY OF MASSACHUSETTS             BOOKSTORE                       285 OLD WESTPORT ROAD                                                                            NORTH DARMOUTH     MA           02747
    UNIVERSITY OF MASSACHUSETTS                                             333 SOUTH STREET SUITE 400       ATTN SUSAN MCANDREW                                             SHREWSBURY         MA           01545
                                            BUSINESS OFFICE - ATTN P MAY-   4600RICKENBACKER CAUSEWAY S/A
    UNIVERSITY OF MIAMI                     ARCHULETA                       111                                                                                              MIAMI              FL           33149
    UNIVERSITY OF MICHIGAN                  CONFERENCE SERVICES             1000 MCINTYRE DRIVE                                                                              ANN ARBOR          MI           48105-2464
                                                                                                             320 LEARNING & ENVIRONMENTAL
    UNIVERSITY OF MINNESOTA                 STEM EDUCATION CENTER           1594 BUFORD AVENUE               SCIENCES                                                        SAINT PAUL         MN           55108
                                                                            111 THIRD AVE S, MILL PLACE, STE
    UNIVERSITY OF MINNESOTA PRESS                                           290                              ATTN PERMISSIONS                                                MINNEAPOLIS        MN           55401-2520
    UNIVERSITY OF MISSOURI        MU CONFERENCE OFFICE                      348 HEARNES CENTER                                                                               COLUMBIA           MO           65211
    UNIVERSITY OF MISSOURI                                                  5101 ROCKHILL ROAD                                                                               KANSAS CITY        MO           64110
    UNIVERSITY OF MONTANA                                                   32 CAMPUS DRIVE 2304                                                                             MISSOULA           MT           59812
    UNIVERSITY OF MOUNT UNION     MOUNT UNION COLLEGE                       1972 CLARK AVENUE                                                                                ALLIANCE           OH           44601

    UNIVERSITY OF NEBRASKA PRESS                                            1111 LINCOLN MALL                ATTN LEIF MILLIKEN                                              LINCOLN            NE           68588-0630
    UNIVERSITY OF NEW ENGLAND                                               11 HILLS BEACH ROAD                                                                              BIDDERFORD         ME           04005
    UNIVERSITY OF NEW HAMPSHIRE
    LIBRARY                                                                 18 LIBRARY WAY                                                                                   DURHAM             NH           03824
    UNIVERSITY OF NEW MEXICO                UNM BOOKSTORE                   2301 CENTRAL NE                                                                                  ALBUQUERQUE        NM           87131
                                                                            MSC01 1050, 1 UNIV OF NEW
    UNIVERSITY OF NEW MEXICO                                                MEXICO                           ATTN AMY HATHAWAY                                               ALBUQUERQUE        NM           87131
    UNIVERSITY OF NEW MEXICO
    PRESS                                                                   1312 BASEHART SE                                                                                 ALBUQUERQUE        NM           87106-4363
    UNIVERSITY OF NEW MEXICO
    PRESS                                                                   1312 BASEHORT ROAD SE                                                                            ALBUQUERQUE        NM           87106-4363
    UNIVERSITY OF NORTH CAROLINA
    ASHEVILLE                               202 PHILLIPS HALL CPO # 1420    ONE UNIVERSITY HEIGHTS           ATTN JOY FLORA                                                  ASHEVILLE          NC           28804-8503
    UNIVERSITY OF NORTH CAROLINA
    PRESS                                                                   116 S BOUNDARY ST                                                                                CHAPEL HILL        NC           27514



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                   461 of 488                                                                                                         1:26 PM
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                                                                                                                    First Class Service List


              CreditorName                            CreditorNoticeName              Address1                           Address2                         Address3                      City             State       Zip           Country
    UNIVERSITY OF NORTHERN
    COLORADO                                                               CANDELARIA 48                                                                                    GREELEY               CO             80639
    UNIVERSITY OF NOTRE DAME
    PRESS                                                                  310 FLANNER HALL                                                                                 NOTRE DAME            IN             46556
    UNIVERSITY OF OKLAHOMA                                                 630 PARRINGTON OVAL RM 452        WESTERN HISTORY COLLECTIONS                                    NORMAN                OK             73019
                                            MUSEUM OF NATURAL & CULTURAL
    UNIVERSITY OF OREGON                    HISTORY                      180 EAST 15TH AVENUE                COLLECTIONS DIVISION                                           EUGENE                OR             97403-1211
    UNIVERSITY OF OREGON
    CONFERENCE                              SERVICES                       1277 UNIVERSITY OF OREGON                                                                        EUGENE                OR             97403
    UNIVERSITY OF OSLO                                                     POSTBOKS 1073                                                                                    BLINDERN              Oslo           00316        Norway
                                            MUSEUM - ARCHAEOLOGY &
    UNIVERSITY OF PENNSYLVANIA              ANTHROPOLOGY                   3260 SOUTH STREET                                                                                PHILADELPHIA          PA             19104
    UNIVERSITY OF PENNSYLVANIA
    PRESS                                   ATTN. MARIELLEN SMITH          3905 SPRUCE STREET                                                                               PHILADELPHIA          PA             19104-4112
    UNIVERSITY OF PITTSBURGH                                               4000 FIFTH AVENUE                                                                                PITTSBURGH            PA             15213
    UNIVERSITY OF PITTSBURGH                                               OFFICE OF FINANCE INFORMATION                                       200 GARDNER STEEL CONF CTR   PITTSBURGH            PA             15260

    UNIVERSITY OF PITTSBURGH PRESS                                         3400 FORBES AVE, 5TH FL                                                                          PITTSBURGH            PA             15260
    UNIVERSITY OF RICHMOND                  BOOKSTORE                      TYLER HAYNES COMMONS                                                                             RICHMOND              VA             23173
    UNIVERSITY OF SO CALIFORNIA
    BOOKSTORE                               ACCOUNTS PAYABLE               3401 SOUTH GRAND AVENUE                                                                          LOS ANGELES           CA             90007
    UNIVERSITY OF SOUTHERN                  DORNSIFE NEUROSCIENCE-         3620 MC CLINTOCK AVE -MAIL CODE
    CALIFORNIA                              IMAGING CTR                    1061                                                                                             LOS ANGELES           CA             90089

    UNIVERSITY OF SOUTHERN INDIANA                                         8600 UNIVERISTY BLVD                                                                             EVANSVILLE            IN             47712-3597
    UNIVERSITY OF ST THOMAS
    BOOKSTORE                                                              2115 SUMMIT AVE                   MURRAY HALL                                                    SAINT PAUL            MN             55105
    UNIVERSITY OF TENNESSEE                                                600 HENLEY STREET                                                                                KNOXVILLE             TN             37996
    UNIVERSITY OF TEXAS            TEXAS SOUTHMOST COLLEGE                 80 FORT BROWN STREET                                                                             BROWNSVILLE           TX             78520-4956
                                   COURTESY BORROWER SERVICES              COURTESY BORROWER SERVICES
    UNIVERSITY OF TEXAS            PCL 2.122                               PCL 2.122                                                                                        AUSTIN                TX             78713
    UNIVERSITY OF TEXAS AT AUSTIN  OFFICE OF ACCOUNTING                    P O BOX 7159                                                                                     AUSTIN                TX             78713-7159
    UNIVERSITY OF TEXAS AT AUSTIN  HARRY RANSOM HUMANITIES                 P O BOX 7219                                                                                     AUSTIN                TX             78713-7219
    UNIVERSITY OF TEXAS AT AUSTIN  CENTER FOR AMERICAN HISTORY             1 UNIVERSITY STATION D1100                                                                       AUSTIN                TX             78712
    UNIVERSITY OF TEXAS AT AUSTIN                                          P O BOX 7159                                                                                     AUSTIN                TX             78713-7159
    UNIVERSITY OF TEXAS AT AUSTIN                                          P O BOX 7219                                                                                     AUSTIN                TX             78713-7219
    UNIVERSITY OF TEXAS AT AUSTIN                                          PO BOX 7819                                                                                      AUSTIN                TX             78713-7819

    UNIVERSITY OF TEXAS AT EL PASO                                         CENTENNIAL MUSEUM                                                                                EL PASO               TX             79968
    UNIVERSITY OF TEXAS PAN
    AMERICAN                                                               1201 W UNIVERSITY DRIVE                                                                          EDINBURG              TX             78540
    UNIVERSITY OF TEXAS PRESS                                              PO BOX 7819                                                                                      AUSTIN                TX             78713-7819
    UNIVERSITY OF THE DISTRICT OF
    COLUMBIA                                CONTINUING EDUCATION OF CCDC   801 NORTH CAPITOL STREET NE       ATTN AMANDA OLIVARES                                           WASHINGTON            DC             20002
    UNIVERSITY OF THE INCARNATE
    WORD                                    ATTN STEPHANIE GROTE           4301 BROADWAY                                                                                    SAN ANTONIO           TX             78209
                                            SEWANEE REVIEW - ATTN LEIGH
    UNIVERSITY OF THE SOUTH                 ANNE COUCH                     735 UNIVERSITY AVENUE                                                                            SEWANEE               TN             37383-1000

    UNIVERSITY OF THE VIRGIN ISLANDS ACCOUNTING OFFICE #2                  JOHN BREWERS BAY                                                                                 ST THOMAS             VI             00803
    UNIVERSITY OF TORONTO                                                  27 KINGS COLLEGE CIRCLE                                                                          TORONTO               ON             M5S 1A1      Canada
    UNIVERSITY OF TULSA              FRANCES NAJERA                        800 S TUCKER DRIVE                                                                               TULSA                 OK             74104-3189
    UNIVERSITY OF TULSA              CE DIVISION OF CONTINUING ED          800 S TUCKER DRIVE                                                                               TULSA                 OK             74104-3189
    UNIVERSITY OF VERMONT                                                  590 MAIN STREET                                                                                  BURLINGTON            VT             05405
    UNIVERSITY OF WATERLOO                                                 200 UNIVERSITY AVE WEST                                                                          WATERLOO ON N2L 3G1                               Canada
                                     WI CENTER FOR EDUCATION AND
    UNIVERSITY OF WISCONSIN          RESEARCH                              1025 W JOHNSON STREET, RM 242                                                                    MADISON               WI             53701-1796
    UNIVERSITY OF WISCONSIN                                                1725 STATE STREET                                                                                LA CROSSE             WI             54601
    UNIVERSITY OF WISCONSIN
    FOUNDATION                                                             1848 UNIVERSITY AVENUE                                                                           MADISON               WI             53726-4090

    UNIVERSITY OUTPOST BOOKSTORE                                           593 UNIVERSITY BLVD STE D                                                                        HARRISONBURG          VA             22801
    UNIVERSITY PRESS OF FLORIDA                                            15 NW 15TH STREET                                                                                GAINSVILLE            FL             32611
                                                                           3970 SORRENTO VALLEY BLVD, STE
    UNIVERSITY READERS                                                     500                                                                                              SAN DIEGO             CA             92121
                                                                           333 SOUTH TWIN OAKS VALLEY
    UNIVERSITY STORE                                                       ROAD                                                                                             SAN MARCOS            CA             92096
    UNIVERSTIY OF MISSOURI                                                 PO BOX 807012                                                                                    KANSAS CITY           MO             64180
    UNLIMITED PRIORTIES LLC                                                1930 SW 48TH LANE                                                                                CAPE CORAL            FL             33914




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                    462 of 488                                                                                                          1:26 PM
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                                                                                                                          of 519
                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                           Address2                      Address3                 City        State       Zip           Country
    UNLIMITED STORAGE OF CAGUAS
    INC                                                                    P O BOX 9284                                                                              CAGUAS               PR           00726
    UNWIRED LTD                                                            1331 7TH STREET STE A                                                                     BERKELEY             CA           94710
    UPADHYAY SAMRAT                                                        2201 EAST AUTUMN DRIVE                                                                    BLOOMINGTON          IN           47401
    UPLIFT EDUCATION                                                       606 E ROYAL LANE                                                                          IRVING               TX           75039
    UPPER ARLINGTON CITY SCH DIST                                          1950 N MALLWAY DR                                                                         COLUMBUS             OH           43221
    Upper Canada District School                                           50 Water Street                                                                           Oxford Mills         ON           K0G 1S0      Canada
    UPPER MIDWEST BOOK MARKETING
    INC                                                                    2355 LOUISIANA AVE NORTH STE A                                                            GOLDEN VALLEY        MN           55427
    UPPER PENINSULA READING
    CONFERENCE                              ATTN JOLENE HETHERINGTON       P O BOX 152                                                                               WETMORE              MI           49895-0152
    UPPER SANDUSKY EXEMPTED                 UPPER SUNDUSKY ELEMENTARY
    VILLAGE SCH                             SCHOOL                         390 W WALKER STREET                                                                       UPPER SANDUSKY       OH           43351
    UPS                                                                    LOCKBOX 577                                                                               CAROL STREAM         IL           60132
    UPS                                                                    PO BOX 650580                                                                             DALLAS               TX           75265
    UPS                                                                    PO BOX 730900                                                                             DALLAS               TX           75373-0900
    UPS Freight                                                            PO Box 730900                                                                             Dallas               TX           75373-0900
    UPS GROUND FREIGHT                      DBA UPS FREIGHT                P O BOX 533238                                                                            CHARLOTTE            NC           28290-3238
    UPS Supply Chain Solutions                                             28013 Network Place                                                                       Chicago              IL           60673-1280

    UPS SUPPLY CHAIN SOLUTIONS INC                                         28013 NETWORK PLACE                                                                       CHICAGO              IL           60673
    UPSTART CROW LITERARY LLC                                              P O BOX 25404                     ATTN MICHAEL STEARNS                                    BROOKLYN             NY           11202
    URBAN THINK FOUNDATION                                                 P O BOX 533636                                                                            ORLANDO              FL           32853-3636
    Uriah K Hall                                                           PO Box 397                                                                                Webster              FL           33597
    Ursula Szwast                                                          2339 Stratford Ave.                                                                       Westchester          IL           60154

    URY WILLIAM L                           NORTH BOULDER SHIPPING STORE 3980 BROADWAY #103-182                                                                      BOULDER              CO           80304
    US Bank
    US BANK NATIONAL ASSOCIATION                                           CM- 9690 P O BOX 70870                                                                    ST PAUL              MN           55170-9690
    US BANK TRUST NATIONAL ASSOC                                           P O BOX 1680, 800 NICOLLET MALL                                                           MINNEAPOLIS          MN           55480-1680
    US DEPARTMENT OF INTERIOR               INDIAN ARTS AND CRAFTS BOARD   1849 C STREET NW, MS # 2528-MIB                                                           WASHINGTON           DC           20240
    US DEPARTMENT OF LABOR-                 SAFETY AND HEALTH              701 ROUTE 73 SOUTH BLDG 2 SUITE
    OCCUPATIONAL                            ADMINISTRATION                 120                                                                                       MARLTON              NJ           08053
                                                                           1050 THOMAS JEFFERSON STREET
    US NEWS & WORLD REPORT                  ATTN MARY LU MEIXELL           NW                                                                                        WASHINGTON           DC           20007-3871
    US PATENT AND TRADEMARK
    OFFICE                                                                 2051 JAMIESON AVE, STE 300        ATTN DEPOSIT ACCOUNTS                                   ALEXANDRIA           VA           22314
                                                                           P O BOX FEE PAYMENT,
    US POSTAL SERVICE                       SANDLAKE BRANCH                POSTMASTER                                                                                ORLANDO              FL           32869
    US POSTAL SERVICE                                                      350 CENTRAL AVE                                                                           LONG PRAIRIE         MN           56347
                                                                           P O BOX FEE PAYMENT,
    US POSTAL SERVICE                                                      POSTMASTER                                                                                ORLANDO              FL           32869
    US POSTMASTER                           CMRS-PB                        P O BOX 7247-0166                                                                         PHILADELPHIA         PA           19170
    US POSTMASTER                                                          2900 RODD STREET                                                                          MIDLAND              MI           48640
    US POSTMASTER                                                          P O BOX 7247-0166                                                                         PHILADELPHIA         PA           19170

    US RICE PRODUCERS ASSOCIATION                                          2825 WILCREST DRIVE SUITE 505                                                             HOUSTON              TX           77042
    US SPACE & ROCKET CENTER                                               P O BOX 070015                                                                            HUNTSVILLE           AL           35807-7015
    USA MOBILITY WIRELESS INC                                              P O BOX 4062                                                                              WOBURN               MA           01888-4062
                                            DBA PALLET LOGISTICS
    USA RECYCLING CORPORATION               MANAGEMENT                     DEPT # 536177, P O BOX 790100                                                             ST LOUIS             MO           63179
    USABookNews.com                                                        1133 W Baseline Rd, Ste 372       PO Box 27963                                            Tempe                AZ           85285
    US-ANALYTICS SOLUTIONS GROUP
    LLC                                                                    600 E LAS COLINAS BLVD STE 2222                                                           IRVING               TX           75039
                                                                                                             ATTN JOHN MASON - 2009
    USBBY                                                                  557 BROADWAY                      PRESIDENT                         C/O SCHOLASTIC INC    NEW YORK             NY           10012
    USC BEAUFORT CAMPUS
    BOOKSTORE                                                              801 CARTERET STREET                                                                       BEAUFORT             SC           29902
    USC ROSSIER SCHOOL OF
    EDUCATION                               ATTN MARISELA GUZMAN           3470 TROUSDALE PARKWAY                                                                    LOS ANGELES          CA           90089
    USC, Continuing Education               Lupe Quintana                  2200 Bonforte Blvd.                                                                       Pueblo               CO           81001
    USERSCAPE INC                                                          2600 SOUTH RD STE 44-175                                                                  PUGHKEEPSIE          NY           12601
    USPTO, Director of the
    U-STOR AYERS                                                           4902 AYERS                                                                                CORPUS CHRISTI       TX           78415
    U-STOR MIDSTATES MANAGEMENT
    INC                                     U-STOR BROADWAY                10109 LEXINGTON DR                                                                        PROVIDENCE VILLAGE   TX           76227
    UTAH ASSOC FOR ADULT
    CONTINUING                              & COMMUNITY EDUCATION          P O BOX 203                       ATTN SANDI GRAND/ TYSON SMITH                           SALT LAKE CITY       UT           84110
    UTAH ASSOC OF ELEM SCH                                                 250 EAST 500 SOUTH, PO BOX
    PRINCIPALS                                                             144200                                                                                    SALT LAKE CITY       UT           84114



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                                                      463 of 488                                                                                              1:26 PM
                                                      12-12171-reg          Doc 136                Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
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                                                                                                                         of 519
                                                                                                                  First Class Service List


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    UTAH COALITION FOR EDUCNL
    TECHNOLOGY                                                            P O BOX 664                                                                   FARMINGTON          UT           84025
    UTAH COUNCIL OF INTERNATIONAL
    READING                       ASSOCIATION                             1516 N 1075 W                   ATTN TAMMI HILL                               CLINTON             UT           84015
    UTAH COUNCIL OF TCHRS OF
    MATHS                                                                 187 TMCB - BRIGHAM YOUNG UNIV   ATTN AMY JEPPSEN                              PROVO               UT           84602
    Utah Dept of Taxation         Attn Bankruptcy Section                 210 N 1950 West                                                               Salt Lake City      UT           84134
    Utah Secretary of State       National Registered Agents              3622 W. Bay Circle                                                            Lehi                UT           84043
    UTAH STATE HISTORICAL SOCIETY                                         300 SOUTH RIO GRANDE STREET                                                   SALT LAKE CITY      UT           84101
    UTAH STATE TAX COMMISSION                                             210 N 1950 W                                                                  SALT LAKE CITY      UT           84134
    Utah State Tax Commission                                             210 north 1950 West                                                           Salt Lake City      UT           84134-0300

    UTAH STATE TREASURER                    UNCLAIMED PROPERTY DIVISION   341 SOUTH MAIN STREET 5th FLOOR                                               SALT LAKE CITY      UT           84111
    UTE KORNER LITERARY AGENCY                                            RONDA GUINARDO, 32, 5 5A                                                      BARCELONA                        08025        Spain
    UVALDE CONSOLIDATED ISD                                               P O BOX 1909                    BUSINESS OFFICE                               UVALDE              TX           78802
    UZZO ROSEMARY J                                                       248 PARK HILL AVE                                                             YONKERS             NY           10705
    V & A PICTURE LIBRARY                                                 VICTORIA AND ALBERT MUSEUM                                                    SOUTH KENSINGTON                 SW7 2RL      United Kingdom
    V5 LLC                                  DBA PUBLISH                   P O BOX 870186                                                                MILTON VILLAGE      MA           02187
    VA Clerk of the State                   Corporation Commission        PO Box 1197                                                                   Richmond            VA           23218-1197
    VA EDUCATIONAL MEDIA ASSOC                                            PO BOX 2743                                                                   fairfax             VA           22031
    VACAVILLE CHRISTIAN SCHOOLS                                           1117 DAVIS STREET                                                             VACAVILLE           CA           95687
    VACHON VICKY                                                          11732 LOYALIST PARKWAY                                                        PICTON                           K0K 2T0      Canada
    VAHID RAFIZADEH                                                       712 BANCROFT AVE # 133                                                        WALNUT CREEK        CA           94598
    VAICON INTERNATIONAL LLC                                              PO BOX 618482                                                                 ORLANDO             FL           32861
    Vail Cascade                                                          10333 E. Dry Creek Road         Suite 450                                     Englewood           CO           80112
    Valarie Y Hunt                                                        802 County Line Road                                                          Aurora              IL           60502
    VALDOSTA STATE UNIVERSITY               BOOKSTORE                     1500 NORTH PATTERSON                                                          VALDOSTA            GA           31698
    VALENCIA COMMUNITY COLLEGE                                            2411 SAND LAKE ROAD                                                           ORLANDO             FL           32809
    VALENCIA SHEILA W                                                     4541 THACKERY PLACE NE                                                        SEATTLE             WA           98105
    Valencia Smith                                                        7363 Eden Brook Dr.                                                           Columbia            MD           21046
    VALENTINE RICHMOND HISTORY
    CENTER                                                                1015 EAST CLAY ST                                                             RICHMOND            VA           23219-1527
    VALENTINO CATHERINE                                                   158 ESTELLE DRIVE                                                             WEST KINGSTON       RI           02892
    VALERI GORBACHEV                                                      1290 EAST 19TH STREET           APARTMENT 5A                                  BROOKLYN            NY           11230
    Valerie A. Ross                                                       4509 Wingham Place                                                            Marietta            GA           30062
    Valerie C Weigal                                                      8734 S. Kenton Avenue           #2                                            Hometown            IL           60456
    VALERIE F TAYLOR                                                      6106 OPEN RANGE TRAIL                                                         AUSTIN              TX           78749
    VALERIE G BROWNE                                                      607 S ELGIN CT                                                                CHARLESTON          SC           29414-9099
    Valerie Igarashi                                                      3930 Pine Grove Ave.            Apt. 1515                                     Chicago             IL           60613
    VALERIE J CIMINO                                                      12 MEDFORD ST                                                                 CHELSEA             MA           02150
    VALERIE JABLOW                                                        102 5TH STREET NE                                                             WASHINGTON          DC           20002
    VALERIE JEAN BROWN                                                    8217 SW 36TH STREET                                                           OKLAHOMA CITY       OK           73179
    VALERIE JOY TANNER                                                    1872 FRANK ROAD                                                               CLOQUET             MN           55720
    Valerie Kosinski                                                      1186 Westminster Ln.                                                          Elk Grove Village   IL           60007
    VALERIE LAROCCO                                                       157 DIPLOMAT COURT APT 10                                                     BEECH GROVE         IN           46107
    Valerie McNally                                                       226 Exeter Rd                                                                 Hampton             NH           03842
    VALERIE OSTENAK                         DBA VOSTENAK STUDIOS          1599 W STAGECOACH DR                                                          CAMP VERDE          AZ           86322
    Valerie Pastore                                                       29 Delta Terrace                                                              Malden              MA           02148
    Valerie R Van Iden                                                    11919 Paulmeadows Drive                                                       Cincinnati          OH           45249
    VALERIE S CARUSO                                                      19 KING GEORGE DRIVE                                                          LONDONDERRY         NH           03053
    VALERIE SMITH                                                         1746 ROUTE 44 55                                                              MODENA              NY           12548
    VALERIE UZCATEGUI                                                     30103 AUGUSTA DR                                                              GEORGETOWN          TX           78628
    VALERIU DUMITRESCU                      DBA SIKANA PUBLISHING         3192 LAUREL STREET                                                            NAPA                CA           94558
    VALETTE JEAN PAUL                                                     16 MT ALVERNIA RD                                                             NEWTON              MA           02467
    VALETTE NATHALIE                                                      730 SANTE FE AVE                                                              ALBANY              CA           94706
    VALETTE PIERRE                                                        165 COMMON STREET                                                             BELMONT             MA           02478
    VALETTE REBECCA                                                       16 MT ALVERNIA ROAD                                                           NEWTON              MA           02467
    VALHALLA CORP                                                         177 WESTERN AVE STE 2                                                         ST JOHNSBURY        VT           05819
    Valinor Capital Partners
    VALJEANIA LIMAR JANSEN                                                805 NORTH 3RD AVENUE                                                          UPLAND              CA           91786
    VALJEANIA LIMAR-JANSEN                  DBA A FIRE WITHIN MUSIC       805 NORTH 3RD AVENUE                                                          UPLAND              CA           91786
    Vallance Wickens                                                      202 Sandown Road                                                              Danville            NH           03819
    Vallejo City USD Frederique Wy                                        211 Valle Vista Ave                                                           Vallejo             CA           94590
    VALLERI BOND                                                          1602 HERMITAGE DRIVE                                                          ROUND ROCK          TX           78681
    VALLEY COUNCIL OF ADMIN OF                                                                            ATTN DEBRA SALINAS - VALLEY
    SPECIAL EDUC                                                          9701 JACKSON ROAD               VIEW ISD                                      PHARR               TX           78577
    VALLEY FIRE SERVICES LLC                                              101 N RADDANT ROAD                                                            BATAVIA             IL           60510
    VALLEY LOCK CO INC                                                    1450 WEST MAIN STREET STE B                                                   ST CHARLES          IL           60174
    VALLEYCREST LANDSCAPE
    MAINTENANCE INC                                                       P O BOX 404083                                                                ATLANTA             GA           30384-4083



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                 464 of 488                                                                                        1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                             Pg Creditor
                                                                                                                 472 Matrix
                                                                                                                         of 519
                                                                                                                      First Class Service List


                 CreditorName                         CreditorNoticeName                 Address1                          Address2              Address3            City             State       Zip             Country
    VALOR MEDIA CONCEPTS INC                                               P O BOX 36577                                                                    BIRMINGHAM           AL           35236
    Valorrey Heitman                                                       99 Heitman Ln                                                                    Elsberry             MO           63343
    VALUE CHAIN INTERNATIONAL INC                                          911 JOHN FRIEND DRIVE                                                            NAPERVILLE           IL           60540
    VAN BRUMMELEN GLEN                      DIBNER INSTITUTE               38 MEMORIAL DRIVE                                                                CAMBRIDGE            MA           02139
    VAN DYKE PUBLIC SCHOOLS                                                23500 MACARTHUR                                                                  WARREN               MI           48089
    VAN GIESON MEDIA                        JOHN C VAN GIESON              P O BOX 69                                                                       TALLAHASSEE          FL           32302

    VAN IKIN                                                               UNIV OF WESTERN AUST, ENG-M202                                                   CRAWLEY              WA           06009        Australia
    VAN LAAN NANCY                                                         20 JEFFREY DRIVE                                                                 TILLSON              NY           12486
    Van Mabie                                                              2240 Eucalyptus Ave                                                              Escondido            CA           92029
    VAN RODEN JANET                                                        436 COLEBROOK LN                                                                 BRYN MAWR            PA           19010
    VAN RYNBACH IRIS                                                       164 KEENEY STREET                                                                GLASTONBURY          CT           06033
    VAN ZYLE JON                                                           P O BOX 518                                                                      EAGLE RIVER          AK           99577
    VANCOUVER SCHOOL DIST 37                                               3101 MAIN STREET                                                                 VANCOUVER            WA           98683
                                            COMMUNICATION STUDIES          CALIFORNIA STATE UNIVERSITY,
    VANDE BERG LEAH R                       DEPARTMENT                     SACRAM                                                                           SACRAMENTO           CA           95819
                                            DBA BOOKS FROM BIRTH OF
    VANDERBILT UNIVERSITY PRESS             MIDDLE TN                      VU STATION B # 356310                                                            NASHVILLE            TN           37235
    VANDERCOOK LAKE PUBLIC
    SCHOOLS                                                                100 E GOLF AVENUE                                                                JACKSON              MI           49203
    VANDERMAST ROBERTA                                                     PO BOX 141                                                                       GOTHA                FL           34734-0141
    VANESSA MILLS-WIGFALL                                                  1327 E JOHN STREET                                                               GREENVILLE           MS           38703-6518
    Vanessa Rodriguez                                                      22 S. Owen Street                                                                Mt. Prospect         IL           60056
    VANGIE BERGUM                                                          P O BOX 162                                                                      YMIR                 BC           V0G 2K0      Canada
    VANTAGE ADVISORY GROUP LLC                                             2900 PADINA DRIVE                                                                AUSTIN               TX           78733
    Vantage Learning                                                       110 Terry Drive                    Suite 100                                     Newtown              PA           18940-1850
    VARGAS FINE ART INC                                                    11901 ST FRANCIS WAY                                                             MITCHELLVILLE        MD           20721
                                                                                                                                                            MIGUEL HIDALGO
    VARINIA DEL ANGEL MUNOZ                                                INSURGENTES SUR 3493 INT 22-103                                                  DELEGACION TLALPAN                             Mexico
    VARNES JILL                                                            9205 N COUNTRY ROAD                                                              GAINESVILLE          FL           32609

    VASEY COMMERCIAL HEATING & AIR CONDITIONING                            10830 ANDRADE DRIVE                                                              ZIONSVILLE           IN           46077
    VAST USA INC                   DBA ASI CORP                            48289 FREMONT BLVD                                                               FREMONT              CA           94538
    VATD CONFERENCE                CONFERENCE SOLUTIONS                    PO BOX 7276                                                                      FAIRFAX STATION      VA           22039
    VCSSO                                                                  200 Horizon Circle                                                               Camarillo            CA           93010
                                   ATTN RICHARD ANDREW VAN DER
    VDL CONSULTING LLC             LAAN                                    3416 S ARROWHEAD CT                                                              INDEPENDENCE         MO           64057
    VECTOR-IMAGES.COM                                                      29 LENINSKY PR, STE 308                                                          MOSCOW                            119991       Rsian Federation
    VECTOR-IMAGES.COM              EUROLINE LTD                            29 LENINSKY PR, STE 308                                                          MOSCOW                            119991       Russian Federation
    Vectra Bank                                                            Colorado Blvd. Office                                                            Denver               CO           80222
    VEE VEE ENTERPRISES INC        DBA I-800-GOT-JUNK?                     5 WALNUT HILL PARK UNIT 1                                                        WOBURN               MA           01801
                                   A DIVISION OF CORBIS
    VEER INCORPORATED              CORPORATION                             13159 COLLECTIONS DRIVE                                                          CHICAGO              IL           60693
    VELDE VIVIAN VANDE                                                     2162 RIDGEWAY AVE                                                                ROCHESTER            NY           14626
    Velia Rios                                                             300 N OHIO STREET                                                                AURORA               IL           60505
    Venesa Kostagos                                                        31 Glazier Dr                                                                    South Glastonbury    CT           06073
    VENISE BATTLE                                                          51 METCALF STREET                                                                MEDFORD              MA           02155
    VENTURA COUNTY OFFICE OF
    EDUCATION                      ATTN HIMELDA RUBIO                      5100 ADOLOF RD                                                                   CAMARILLO            CA           93012
    Ventura County Supt Of Schools Phil Gore                               5189 Verdugo Way                                                                 Camarillo            CA           93012
    Ventura Unified School Dist.                                           295 S. Arcade                                                                    Ventura              CA           93001
    VENTURE LITERARY INC                                                   2683 VIA DE LA VALLE G-714                                                       DEL MAR              CA           92014
    VENTURE MECHANICAL INC                                                 2222 CENTURY CIRCLE                                                              IRVING               TX           75062
    Venugopal Koduru                                                       2312 Keystone Court                                                              Naperville           IL           60565
    VENUS T VARGAS LAMBOY                                                  URB LOS CHEVRES 47 ROSALIA                                                       MAYAGUEZ             PR           00682
    VEOLIA WATER INDIANAPOLIS LLC                                          P O BOX 1990                                                                     INDIANAPOLIS         IN           46206-1990
    VEOLIA WATER INDIANAPOLIS LLC                                          P O BOX 1990                                                                     INDIANAPOLIS         IN           46206-1991
    VEOLIA WATER INDIANAPOLIS LLC                                          P O BOX 1990                                                                     INDIANAPOLIS         IN           46206-1992
    VEOLIA WATER INDIANAPOLIS LLC                                          P O BOX 1990                                                                     INDIANAPOLIS         IN           46206-1993
    VERA BRITTAIN WILL TRUST       FLAT 34 DUNCAN HOUSE                    7/9 FELLOWS ROAD                                                                 LONDON                            NW3 3LZ      United Kingdom
    VERA ENG                                                               5613 ARNOLD ZLOTOFF DRIVE                                                        ORLANDO              FL           32821
    VERA MAX HSE FOR OLDER
    HOMELESS WOMEN                                                         3832 JACKSON STREET                                                              SAN FRANCISCO        CA           94118
    Verborah Reeves                                                        1159 River Rd                                                                    Teaneck              NJ           07666
    VERBUM DEI HIGH SCHOOL                                                 11100 SOUTH CENTRAL AVENUE                                                       LOS ANGELES          CA           90059
    VERDERBER SERVICES INC                                                 425 COVE TOWER DR, # 701                                                         NAPLES               FL           34110

    VEREDUS CORPORATION                                                    4300 W CYPRESS STREET, SUITE 900                                                 TAMPA                FL           33607
    VERELIS FLORES                                                         HC # 5 BOX 5472                                                                  YABUCOA              PR           00767
    VERISIGN INC                                                           PO BOX 840849                                                                    DALLAS               TX           75284



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                                                     465 of 488                                                                                        1:26 PM
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                                                                                                                       of 519
                                                                                                                    First Class Service List


                 CreditorName                       CreditorNoticeName                  Address1                          Address2             Address3               City        State       Zip            Country
    VeriSign, Inc.                          Customer Service             487 E Middlefield Road                                                           Mountain View      CA           94043
                                                                         3308 PEACHTREE INDUSTRIAL BLVD,
    VERISTOR SYSTEMS INC                                                 STE 110                                                                          DULUTH             GA           30096
    VERITY GROUP-LASERWORKS INC                                          P. O. BOX 940361                                                                 PLANO              TX           75094
    VERIZON                                                              P O BOX 1100                                                                     ALBANY             NY           12250-0001
    VERIZON                                                              P O BOX 15062                                                                    ALBANY             NY           12212
    VERIZON                                                              P O BOX 15124                                                                    ALBANY             NY           12212-5124
    VERIZON                                                              P O BOX 371322                                                                   PITTSBURGH         PA           15250-7322
    VERIZON                                                              PO BOX 371392                                                                    PITTSBURGH         PA           15250
    VERIZON                                                              P O BOX 4820                                                                     TRENTON            NJ           08650
    VERIZON                                                              P O BOX 4832                                                                     TRENTON            NJ           08650
    VERIZON                                                              P O BOX 4833                                                                     TRENTON            NJ           08650-4833
    Verizon                                                              PO Box 660108                                                                    Dallas             TX           75266-0108
    VERIZON                                                              P O BOX 660720                                                                   DALLAS             TX           75266
    VERIZON                                                              P O BOX 70195                                                                    CHICAGO            IL           60673-0195
    VERIZON BUSINESS                                                     P O BOX 371355                                                                   PITTSBURGH         PA           15250-7355
    VERIZON BUSINESS                                                     PO BOX 371873                                                                    PITTSBURGH         PA           15250
    VERIZON BUSINESS                                                     P O BOX 382040                                                                   PITTSBURGH         PA           15251-8040
    VERIZON BUSINESS                                                     P O BOX 70928                                                                    CHICAGO            IL           60673-0928
    VERIZON CALIFORNIA                                                   P O BOX 920041                                                                   DALLAS             TX           75392-0041
    VERIZON SOUTHWEST                                                    P O BOX 920041                                                                   DALLAS             TX           75392-0041
    VERIZON WIRELESS                                                     PO BOX 15052                                                                     ALBANY             NY           12212
    VERIZON WIRELESS                                                     PO BOX 660748                                                                    DALLAS             TX           75266
    VERLAG HANS HUBER                                                    LANGGASS STRASSE 76                                                                                              03000        Switzerland
    VERLAGSGRUPPE RANDOM HOUSE
    GMBH                        RANDOM HOUSE BERTELSMANN                 NEUMARKTER STRASE 28              ATTN GESCHE WENDEBOURG                         MUNICH                          81673        Germany
    VERLANN LEE ATCHLEY                                                  2709 SUMMIT COURT                                                                URBANA             IL           61802
    VERLESE P GAITHER                                                    10301 MUSKET COURT                                                               FORT WASHINGTON    MD           20744
    Verley Brown                                                         6816 Georgetown Rd.                                                              Indianapolis       IN           46268
    VERLYN KLINKENBORG          THE NEW YORK TIMES                       620 8TH AVE                                                                      NEW YORK           NY           10018
    VERMILLION INC                                                       120 NORTHEASTERN BLVD                                                            NASHUA             NH           03062
    VERMILLION PARISH SCHOOL
    BOARD                       SALES TAX DIVISION                       P O DRAWER 1508                                                                  ABBEVILLE          LA           70511-1508
    VERMILLION USD # 380                                                 P O BOX 107, 209 SCHOOL STREET                                                   VERMILLION         KS           66544

    VERMONT DEPARTMENT OF TAXES                                          133 STATE ST                                                                     MONTPELIER         VT           05633-1401

    VERMONT DEPARTMENT OF TAXES                                          PO BOX 547                                                                       MONTPELIER         VT           05601-0547
    Vermont Dept of Taxes         Attn Legal                             PO Box 429                        133 State St                                   Montpelier         VT           05633
    VERMONT FOREIGN LANGUAGE
    ASSN                          ATTN COLLEEN BIRNER                    P O BOX 8496                                                                     ESSEX              VT           05451
    VERMONT SCIENCE TEACHERS                                                                               ATTN KATHY RENFREW - VT DEPT
    ASSOCIATION                                                          120 STATE STREET                  OF EDUC                                        MONTPELIER         VT           05620
    VERMONT SECRETARY OF STATE                                           26 TERRACE STREET                                                                MONTPELIER         VT           05609-1104
    Vermont Secretary of State                                           81 River Street                                                                  Montpelier         VT           05609-1104
    VERMONT SOCIETY FOR THE STUDY
    OF EDUC                                                              1 SHADY HILL ROAD J14             ATTN SID GLASSNER                              EXETER             NH           03833
    Vern E Kahle                                                         1037 HOWELL PL                    APT 405                                        AURORA             IL           60505
    VERN RUTSALA                                                         2404 NE 24TH AVE                                                                 PORTLAND           OR           97212
    Verna Cefalu                                                         17 Ravenwood Rd                                                                  Peabody            MA           01960
    VERNER BICKLEY                FLAT 9E, CELESTIAL MANSION             SIENA TWO, DISCOVERY BAY                                                         LANTAU ISLAND                                Hong Kong
    Vernesha Simpson                                                     295 RIVER STREET                                                                 MATTAPAN           MA           02126
                                  PARQUE INDUSTRIAL VALLEE
    VERNET INC                    TOLIMA                                 P O BOX 7678                                                                     CAGUAS             PR           00726-7678
    Vernon Drew                                                          10104 Preston Vineyard Dr                                                        Frisco             TX           75035
    Veronica Boaz                                                        2739 Walnut Street                                                               Orlando            FL           32806
    Veronica Cervantes                                                   257 S. Weston Ave                                                                Elgin              IL           60123
    Veronica Dort                                                        303 Newtonville Avenue                                                           Newton             MA           02160
    Veronica J Bennett                                                   41 Littleworth Road                                                              Dover              NH           03820
    Veronica J Lipton                                                    204 Cottonwood Drive                                                             England            AR           72046
    VERONICA JEFFERIES                                                   313 CAIRO RIDGE RD                                                               VICKSBURG          MS           39180
    Veronica Lopez                                                       1372 California Ave.                                                             Aurora             IL           60506
    Veronica Ross                                                        12180 Wexford Mill Ct                                                            Roswell            GA           30075
    VERONICA SCOTT                                                       930 THEORA DRIVE                                                                 BRUNSWICK          OH           44212
    VEROXITY TECHNOLOGY PARTNERS
    LLC                           DBA LIGHTOWER FIBER NETWORK            P O BOX 30965                                                                    NEW YORK           NY           10087-0965
    VERSA PRESS INC                                                      1465 SPRING BAY ROAD                                                             EAST PEORIA        IL           61611-9788
    VERSATILE MOBILE SYSTEMS INC                                         19105 36TH AVENUE W #103                                                         LYNNWOOD           WA           98036
    VERSIONONE INC                                                       6220 SHILOH ROAD SUITE 400                                                       ALPHARETTA         GA           30005
    VERSO ADVERTISING INC                                                50 W 17TH STREET 5TH FL                                                          NEW YORK           NY           10011



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                    7/15/2012
Case No. 12-12171 (REG)                                                                                                    466 of 488                                                                                    1:26 PM
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                                                                                                                         First Class Service List


              CreditorName                            CreditorNoticeName                 Address1                             Address2              Address3            City            State       Zip            Country
    VERTEX INC W510248                                                     PO BOX 7777                                                                         PHILADELPHIA        PA           19175

    VERTEX SOFTWARE CORPORATION                                            1515 S CAPITAL OF TEXAS HIGHWAY                                                     AUSTIN              TX           78746
    Vertical Marketing                                                     4517 Silver Cliff Ct                                                                Castle Rock         CO           80108
    VER-TRAN INC                                                           P O BOX 8                                                                           NORWAY              ME           04268
    Vesna Plavsic                                                          1970 Briarcliffe Blvd                                                               Wheaton             IL           60187
    VESTAVIA HILLS BOARD OF
    EDUCATION                                                              1204 MONTGOMERY HWY               P O BOX 20826                                     VESTAVIA HILLS      AL           35216
    VESTAVIA HILLS HIGH SCHOOL                                             2235 LIME ROCK ROAD                                                                 VESTAVIA HILLS      AL           35216
    Veva Shorey                                                            5404 W DIMOND BLVD                #4                                                ANCHORAGE           AK           99502
    VEVA SHOREY                                                            908 W NORTH AVE                                                                     LAKE BLUFF          IL           60044
    VHERU MATTHIAS                                                         PO BOX 2485                                                                         CALIFORNIA CITY     CA           93504
    VIATECH PUBLISHING SOLUTIONS
    INC                                                                    PO BOX 503433                                                                       ST LOUIS            MO           63150
    VIBEWOOD INC                 MICHAEL SANDERS                           2307 SMITH ROAD                                                                     STURGIS             MS           39769
    Vicki Bishop                                                           1401 Westchester Ave                                                                Winter Park         FL           32789
    VICKI BONNY                                                            1104 CAMELOT DR                                                                     YUKON               OK           73099
    Vicki Boyd                                                             12 Beaver Dam Road                                                                  South Berwick       ME           03908
    VICKI BREMER                                                           1447 DEAN STREET                                                                    NISKAYUNA           NY           12309
    VICKI DAVES                                                            2116 S BRETHREN RD                                                                  CUSHING             OK           74023
    VICKI FORMAN                                                           4528 DALERIDGE ROAD                                                                 LA CANADA           CA           91001
    VICKI GILE                                                             2807 BELMONT                                                                        GARDEN CITY         KS           67846
    Vicki Gillespie                                                        9550 E Valley Ranch Parkway       Apt 1072                                          Irving              TX           75063
    Vicki Holmstrom                                                        2107 Windsor Way                                                                    Golden Valley       MN           55422
    Vicki L Thomas                                                         1134 Harrisburg Drive SW                                                            Lenoir              NC           28645
    VICKI LEVY KRUPP             DBA BOOK CLUB COOKBOOK                    50 RICHARDSON DR                                                                    NEEDHAM             MA           02492
    Vicki Mc Kinnon                                                        123 Commonwealth Avenue                                                             Boston              MA           02116
    Vicki Payne-Mccraw                                                     2624 Greenwood                                                                      Bedford             TX           76021
    Vicki R Todd                                                           6239 N 16Th Street                2nd floor                                         Philadelphia        PA           19141
    VICKI RAGAN                                                            109 SEQUAMS LANE EAST                                                               WEST ISLIP          NY           11795-4507
    Vicki Sowa                                                             944 Huntington Drive                                                                Elk Grove Village   IL           60007
    Vicki Tumulty                                                          3334 Briaroaks                                                                      Garland             TX           75044
    VICKI VINTON                                                           59 WYCKOFF ST                                                                       BROOKLYN            NY           11201
    Vicki Weiss                                                            11344 Brookshire                                                                    Grand Blanc         MI           48439
    VICKIE BOND WILSON                                                     8600 S WATERLOO ROAD                                                                ARCADIA             OK           73007
    Vickie L Mourer                                                        173 N. 13th Ave                                                                     Beech Grove         IN           46107
    VICKIE MCCUBBIN                                                        4272 BIRCH RUN DRIVE                                                                ANCHORAGE           AK           99507
    Vickie Parisotto                                                       1223 Peyton Place                                                                   Cedar Park          TX           78613
    VICKIE TSAI HAN WEN                                                    8F-2 NO 29 CHUNG SHAN RD SEC 3                                                      TAIPEI                           10461        Taiwan
    Vicki-Lynn Gerardi                                                     Box 272 8 Daniel Rd.                                                                Croton Falls        NY           10519
    VICKY BIJUR LITERARY AGENCY                                            333 WEST END AVE #5B                                                                NEW YORK            NY           10023
    VICKY MIRTHA BALLARDO                                                  2019 W CULLOM                                                                       CHICAGO             IL           60618
    Vicky Robinson                                                         221 Lookout Pointes Dr                                                              Chapin              SC           29036
    VICTOR ENGLEBERT                                                       3605 COUNTRY CLUB ROAD                                                              ALLENTOWN           PA           18103
    VICTOR ENVELOPE COMPANY                                                301 ARTHUR CT                                                                       BENSENVILLE         IL           60106
    VICTOR GRAPHICS INC          CROSSROADS BUSINESS PARK                  1211 BERNARD DRIVE                                                                  BALTIMORE           MD           21223-3302
    VICTOR LANDA                                                           2507 ARLENE PARK                                                                    SAN ANTONIO         TX           78251
    VICTOR M RUDD                                                          1865 WEBSTER WAY                                                                    RENO                NV           89509
    VICTOR O CARTAGENA COLON                                               40 CALLE MAGA JUANA               URB VALLE HUCARES                                 DIAZ                PR           00795
    Victor Ortiz                                                           452 Marathon Ln                                                                     Sanford             FL           32771
    VICTOR PARRILLA MANSO                                                  P O BOX 7505                                                                        PONCE               PR           00732
    VICTOR PIPE & STEEL INC                                                P O BOX 149                                                                         WINFIELD            MO           63389
    Victor Valdez                                                          4447 North Central Expwy          Ste 110 #306                                      Dallas              TX           75205
                                 DBA PHOENIX DESERT SUMMER
    VICTORIA A MUSEN             INSTITUTE                                 3046 E DAHLIA DRIVE                                                                 PHOENIX             AZ           85032
    VICTORIA B TASHJIAN                                                    908 OAKDALE AVENUE                                                                  DE PERE             WI           54115
    Victoria Bertrand                                                      720 W GORDON TE                                                                     CHICAGO             IL           60613-2269
    VICTORIA BROWN                                                         P O BOX 1                                                                           BOONSBORO           MD           21713-0001
    Victoria Caracci                                                       136 Arlington Dr                                                                    Petaluma            CA           94952
    Victoria Cesario                                                       0S632 Brannon Lane                                                                  Geneva              IL           60134
    VICTORIA CORONADO                                                      PO BOX 627-1007                                                                     SAN JOSE                                      Costa Rica
    Victoria Driver                                                        2720 N. Richmond                                                                    Chicago             IL           60647
    Victoria E Gibson                                                      99 Millpond                                                                         North Andover       MA           01845
    Victoria Fortune                                                       12 Tanglewood Rd.                                                                   Boxford             MA           01921
    VICTORIA HARTMAN                                                       164 HALSEY ST                                                                       SOUTHAMPTON         NY           11968
    Victoria Hickey                                                        129 Oakledge Drive                                                                  Rockledge           FL           32955
    Victoria Kasabian                                                      37 Betty Welch Road                                                                 York                ME           03909
    VICTORIA KUHL                                                          PO BOX 5657                                                                         PASADENA            CA           91117
    VICTORIA L SPANDEL                                                     P O BOX 8284                                                                        BLACK BUTTE RANCH   OR           97759
    VICTORIA L TRIBUL                                                      13910 ADIOS PASS                                                                    CARMEL              IN           46032



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                        467 of 488                                                                                      1:26 PM
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                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                          Address2                        Address3                    City         State       Zip              Country
    VICTORIA LANCELOTTA                                                     107 32ND AVE SOUTH                                                                               NASHVILLE           TN           37212
    Victoria M. Garbe                                                       60 Pilgrim Road                                                                                  Needham             MA           02492
    Victoria Merecki                                                        10 Bartlett Road                                                                                 Stratham            NH           03885
    Victoria Moreland                                                       1661 40th Ave NW                                                                                 Salem               OR           97304
    VICTORIA N SMITH                                                        1925 SE RHODE ISLAND ST                                                                          ARCADIA             FL           34266
    VICTORIA PRYOR                          DBA ARCADIA                     31 LAKE PLACE NORTH                                                                              DANBURY             CT           06810
                                                                            241 AVENUE OF THE AMERICAS, STE
    VICTORIA SANDERS & ASSOCIATES                                           11H                                                                                              NEW YORK            NY           10014
                                            DBA VICTORIA SMITH
    VICTORIA SMITH                          PHOTOGRAPHS                     1703 W 44TH STREET                                                                               AUSTIN              TX           78756
    VICTORIA UNIV P GOOCH                                                   73 QUEENS PARK CRESCENT                                                                          TORONTO             ON           M5S 1K7      Canada
    VICTORIO JAUREGUI MATOS                 URB ENCANTADA PARGUE DE RIO     PC-33 69                                                                                         TRUJILLO ALTO       PR           00976
    VICTORY PRODUCTIONS                                                     55 LINDEN STREET                                                                                 WORCESTER           MA           01609-2660
    VICTORY PROMOS LLC                                                      W11082 BAYVIEW DR                                                                                LODI                WI           53555
    VIDALIA BOARD OF EDUCATION              DBA J R TRIPPLE MIDDLE SCHOOL   301 ADAMS STREET                                                                                 VIDALIA             GA           30474
    Vidalina Salazar-Manti                                                  302 Log Run Court                                                                                Ocoee               FL           34761
    VIDEO EXPRESS                                                           181 NEWBURY ST                                                                                   BOSTON              MA           02116
    VIDEO EXPRESS                                                           181 NEWBURY ST                                                                                   BOSTON              MA           02116-2812
    VIDEO MONITORING SERVICES OF
    AMERICA LP                                                              P O BOX 57007                                                                                    NEWARK              NJ           07101-5707
    VIDEO TRANSFER INC                                                      150 CORDAVILLE ROAD                                                                              SOUTHBOROUGH        MA           01772
    VIDEOJET TECHNOLOGIES INC                                               12113 COLLECTION CENTER DR                                                                       CHICAGO             IL           60693
    VIENTOS DEL PUEBLO SL                                                   C/ REINA VICTORIA 60                                                                             ELCHE               Alicante     03201        Spain
    VIESTI ASSOCIATES INC                   PMB 111                         361 S CAMINO DEL RIO                                                                             DURANGO             CO           81303-7997
    VIETTA BOOKER                                                           17 CR 353                                                                                        OXFORD              MS           38655
    VIF BALLARDVALE LLC                     C/O CUSHMAN & WAKEFIELD         PO BOX 8500-1006                                                                                 PHILADELPHIA        PA           19178
    VIF/Ballardvale 181-187                 RE 187 Ballardvale Street       Bruce Knowland                    260 Franklin Street, 5th Floor                                 Boston              MA           02110
    VIF/Ballardvale 181-187                 RE 181 Ballardvale Street       260 Franklin Street, 5th Floor                                                                   Boston              MA           02110

    VII PHOTO AGENCY LLC                                                    1095 SOUTH FORTUNA BLVD STE4F                                                                    FORTUNA             CA           95540
    VIKING PENGUIN INC                                                      PO BOX 4247                       BANK OF AMERICA                      COLLECTION CENTER DRIVE   CHICAGO             IL           60693
    Vikki Halstead                                                          621 Park Ave.                                                                                    Bay City            MI           48708
    VILLAGE BOOK STORE INC                                                  81 MAIN STREET                                                                                   LITTLETON           NH           03561
    VILLAGE BOOKS                                                           1049 SWARTHMORE AVE                                                                              PACIFIC PALISADES   CA           90272
    VILLAGE FOUNDATION LJP                  ATTN LINDA E YOUNG              P O BOX 35138                                                                                    LAS VEGAS           NV           89133
    VILLAGE OF ITASCA                                                       100 N WALNUT STREET                                                                              ITASCA              IL           60143-1795
    VILLAGE OF ITASCA                                                       550 W IRVING PARK RD                                                                             ITASCA              IL           60143
    VILLAGE OF MOSQUERO                                                     P O BOX 116                                                                                      MOSQUERO            NM           87733
    VILLAGE OF RUIDOSO                                                      313 CREE MEADOWS DR                                                                              RUIDOSO             NM           88345
    VILLANOVA UNIVERSITY SHOP                                               800 EAST LANCASTER AVE            KENNEDY HALL                                                   VILLANOVA           PA           19085
    VILLEGAS & ASOCIADOS                    ATTN CAMELIA NINO               AVENIDA 82 NO. 11-50 INT 3                                                                       BOGOTA              BOGOTA                    Colombia
    VILMALI TORRES RIVERA                                                   BOX 3534 GARDENS STATION                                                                         BAYAMON             PR           00958
    Vina Franklin                                                           211 N. Lincoln Way                Apt 6                                                          North Aurora        IL           60542
    Vincent Benenati Jr                                                     31 Noel Road                                                                                     Andover             MA           01810
    Vincent Deandrea                                                        11518 Brightstowe Way                                                                            Orlando             FL           32836
    VINCENT HARDING                                                         2201 S UNIV BLVD                  ILIFF SCHOOL                                                   DENVER              CO           80210
    VINCENT HARDING                                                         2201 S UNIVERSITY BLVD                                                                           DENVER              CO           80210
    VINCENT M COLEMAN                       DBA LITERACY NORTHWEST LLC      8440 SW MORDOCK ST                                                                               TIGARD              OR           97224-7337
    Vincent Maddox                                                          2831 US Hwy 41 S                                                                                 Cordele             GA           31015
    Vincent Piano                                                           3147 Newcastle Dr                                                                                Dallas              TX           75220
    VINCENT VALENTE                                                         9942 CORTINO WAY                                                                                 ELK GROVE           CA           95757

    VINSON & ELKINS LLP                                                     1455 PENNSYLVANIA AVE, NW # 600                                                                  WASHINGTON          DC           20004
    VINZ RUTH                                                               106 MORNINGSIDE DRIVE #67                                                                        NEW YORK            NY           10027
    Viola Breitkreuz                                                        5500 E. Peakview Avenue         #2128                                                            Centennial          CO           80121-3560
    VIOLA RESEARCH ASSOCIATES                                               7307 PINEWOOD STREET                                                                             FALLS CHURCH        VA           22046
    VIPAH INTERACTIVE INC                                                   213 E CENTRAL STREET                                                                             NATICK              MA           01760-3628
                                                                            URB LA PROVIDENCIA CALLE SUCRE
    VIRGEN M SANTIAGO MALDONADO                                             2330                                                                                             PONCE               PR           00728-3137
    Virginai Assoc. of Elem. SPrin                                          2116 Dabney Road                Suite A-4                                                        Richmond            VA           23230
    VIRGINIA ASSN FOR ADULT AND
    CONTINUING                              JACKIE ROCHFORD                 141 GOODE STREET                                                                                 DANVILLE            VA           24541
    VIRGINIA ASSN FOR ADULT AND
    CONTINUING                              EDUCATION                       141 GOODE STREET                                                                                 DANVILLE            VA           24541
    VIRGINIA ASSN OF FED EDUC
    PROGRAM                                                                 1 FRANKLIN STREET                 ATTN CHRISTOPHER KELLY                                         HAMPTON             VA           23234
    VIRGINIA ASSN OF SCHOOL
    SUPERINTENDENTS                                                         405 EMMET ST P O BOX 400265                                                                      CHARLOTTESVILLE     VA           22904-4265
    VIRGINIA ASSN OF TEACHERS OF
    ENGLISH                                                                 788 CHILDRESS DRIVE               ATTN ADRIA F MERRITT                                           NEWPORT NEWS        VA           23602



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                          7/15/2012
Case No. 12-12171 (REG)                                                                                                       468 of 488                                                                                                       1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                         of 519
                                                                                                                   First Class Service List


               CreditorName                           CreditorNoticeName                Address1                        Address2                         Address3                      City        State       Zip      Country
    VIRGINIA ASSOC FOR EARLY
    CHILDHOOD                               EDUCATION                      1397 BLACK FEATHER RD                                                                          MONETA              VA           24121
                                                                                                           KAREN J ANGELL - VAG
    VIRGINIA ASSOC FOR THE GIFTED                                          13452 SILVER HILL ROAD          CONFERENCE                                                     SUMERDUCK           VA           22742
    VIRGINIA ASSOC OF SCIENCE
    TEACHERS                                ATTN JANET TYLER               628 HOFSTADTER ROAD, SUITE 6                                                                   NEWPORT NEWS        VA           23606
    VIRGINIA ASSOCIATION FOR
    CORRECTIONAL                            EDUCATORS                      101 N 14TH ST                                                      JAMES MONROE BLDG, 7TH FL   RICHMOND            VA           23219
    VIRGINIA ASSOCIATION FOR
    SUPERVISION AND                         CURRICULUM                     3307 CLAY STREET                ATTN JUDY LAM                                                  HOPEWELL            VA           23860
    VIRGINIA B YOUNG                                                       75 WASHINGTON AVE, BLDG 8-102                                                                  HAMDEN              CT           06518
    Virginia Burns                                                         26 Coburn Hill Rd                                                                              Concord             MA           01742
    VIRGINIA C MERRIAM                                                     2206 MISSOULA AVE                                                                              MISSOULA            MT           59802
    Virginia Chang                                                         75 Strathmore Rd                Apt B                                                          Brighton            MA           02135-7738
    VIRGINIA CNCL OF ADMNSTRS OF
    SPCL EDUC                                                              7403 PARK TERRACE DR            ATTN MARYLOU WALL                                              ALEXANDRIA          VA           22307
    VIRGINIA COMMONWEALTH UNIV              DR AYN WELLEFORD               730 E BOARD ST STE 2012                                                                        RICHMOND            VA           23219
    VIRGINIA COUNCIL FOR
    MATHEMATICS SUPVS                       C/O BILL EGGL                  600 WEXFORD PLACE                                                                              LUNCHBURG           VA           24502
    VIRGINIA COUNCIL FOR THE SOCIAL
    STUDIES                                                                509 WINDWARD DR                                                                                CHESAPEAKE          VA           23320
    VIRGINIA COUNCIL OF TEACHERS
    OF MATHS                                                               5124 CHELSEA BROOK LANE                                                                        GLEN ALLEN          VA           23060
    Virginia Crowley                                                       10 Blueberry Lane                                                                              Gloucester          MA           01930
    Virginia Department of Taxatio                                         PO Box 27264                                                                                   Richmond            VA           23218-7264
    VIRGINIA DEPT OF TAXATION                                              OUT OF STATE DEALERS USE TAX                                                                   RICHMOND            VA           23261-6627
    VIRGINIA DEPT OF TAXATION                                              P O BOX 1777                                                                                   RICHMOND            VA           23218-1777
    Virginia Dolan                                                         224 Brigantine Circle                                                                          Norwell             MA           02061
    VIRGINIA DOSHER                                                        2014 JESSE E SEGOVIA ST                                                                        AUSTIN              TX           78702-5504
    VIRGINIA DRIVING HAWK SNEVE                                            1617 DEBRA DR # 110                                                                            RAPID CITY          SD           57702
    Virginia Employment Commission                                         PO Box 27483                                                                                   Richmond            VA           23261--483
    VIRGINIA ESL SUPERVISORS
    ASSOCIATION                                                            116 CHARMONT DRIVE              ATTN COURTNEY STEWART                                          RADFORD             VA           24141
    VIRGINIA GAINES FLIPSE                                                 534 GRANITE CLIFF                                                                              SAN ANTONIO         TX           78251
    VIRGINIA HISTORICAL SOCIETY                                            PO BOX 7311                                                                                    RICHMOND            VA           23221
    VIRGINIA INSTITUTE FOR LIFELONG
    LEARNING                                                               P O BOX 7015                    ATTN JANE SWING                                                RADFORD             VA           24142
    VIRGINIA KIDD AGENCY INC                538 EAST HARFORD STREET        BOX 278                                                                                        MILFORD             PA           18337-1010
    VIRGINIA KIDD AGENCY INC                                               538 E HARFORD STREET            PO BOX 278                                                     MILFORD             PA           18337
    VIRGINIA KIDD AGENCY INC                                               538 E HARTFORD STREET                                                                          MILFORD             PA           18337
    VIRGINIA L. MEYER                                                      6215 B ROOSEVELT WAY NE                                                                        SEATTLE             WA           98115
    VIRGINIA LANCASTER                                                     1207 BRIDLE PATH                                                                               CORINTH             MS           38834
                                            DBA LOCKWOOD EDUCATIONAL
    VIRGINIA LOCKWOOD ZISA                  ASSOCIATES                     32 BROOKSIDE LANE                                                                              LAGRANGEVILLE       NY           12540
    VIRGINIA LOWEY MASKELL                                                 1175 RAINTREE LANE                                                                             WELLINGTON          FL           33414
    VIRGINIA M PETERSON REVOCABLE           ATTN LINDA M AND MIRIAM O
    TRUST                                   WESTERVELT                     125 NECK ROAD                                                                                  OLD LYME            CT           06371
    Virginia Messler                                                       370 Middle Creek                                                                               Buda                TX           78610
    VIRGINIA MICHAL HERON                   MICHAL HERON PHOTOGRAPHY       PO BOX 444                                                                                     GRAHAMSVILLE        NY           12740
    VIRGINIA MIDDLE SCHOOL
    ASSOCIATION                                                            1376 PRINCESS ANNE ROAD                                                                        VIRGINIA BEACH      VA           23457
    VIRGINIA MONSEAU                                                       1801 CARYLE LN                                                                                 THE VILLAGES        FL           32162
    Virginia Palmer                                                        P O Box 658                                                                                    Woodstock           VT           05091
    Virginia Pierce                                                        149 Winthrop Road                                                                              Brookline           MA           02445
    VIRGINIA PIERCE                                                        149 WINTHROP RD                                                                                BROOKLINE           MA           02446
    VIRGINIA POSTREL                                                       1830 KELTON AVE # 2                                                                            LOS ANGELES         CA           90025
    VIRGINIA PSYCHOLOGICAL
    ASSOCIATION                                                            118 NORTH EIGHTH STREET                                                                        RICHMOND            VA           23219
    VIRGINIA STATE READING
    ASSOCIATION                                                            2315 GREENWAY AVENUE                                                                           RICHMOND            VA           23228
    Virginia Vanfleet                                                      33 Woosamonsa Road                                                                             Pennington          NJ           08534
    VIRGNIA ASSN OF INDEPENDENT
    SPECIALIZED                             EDUCATION FACILITIES           P O BOX 618                                                                                    RICHMOND            VA           23218
    VIRSTO SOFTWARE CORP                                                   219 MOFFETT PARK DR                                                                            SUNNYVALE           CA           94089-1322
    VIRTUA MEMORIAL HOSPITAL                                               401 ROUTE 73 N 50 LAKE CENTER
    BURLINGTON                              COUNTY INC                     DRIVE STE 401                                                                                  MARLTON             NJ           08053
    VIRTUAL GRAFFITI INC                                                   9979 MUIRLANDS BLVD                                                                            IRVINE              CA           92618

    VIRTUAL SECURITY RESEARCH LLC                                          9 ARBOR LANE                                                                                   WINCHESTER          MA           01890
    VIRTUAL SURFACES INC                                                   832 E RAND ROAD STE 16                                                                         MT PROSPECT         IL           60056



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                  469 of 488                                                                                                 1:26 PM
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                                                                                                            First Class Service List


                 CreditorName               CreditorNoticeName                       Address1                    Address2              Address3              City              State       Zip                Country
    Virtus Partners LLC
    VISALIA UNIFIED SCH DIST                                            5000 WEST CYPRESS AVENUE                                                  VISALIA                 CA           93277
    VISAS FOR LIFE FOUNDATION                                           1349 GAGLE WAY                                                            SACRAMENTO              CA           95831
    VISION ACCOMPLISHED LLC                                             PO BOX 1084                                                               BETHLEHEM               PA           18016
    VISION CRITICAL COMMUNICATIONS
    US INC                                                              505 FIFTH AVENUE 18TH FL                                                  NEW YORK                NY           10017
    VISIONS OF AMERICA LLC                                              10907 ENCINO DRIVE                                                        OAK VIEW                CA           93022
    VISIONS OF THE WILD
    PHOTOGRAPHY                                                         ALEMANNENWEG 22                                                           WILHELMSDORF                         88271        Germany
    VISIONS OF TOMORROW INC          DBA SCIENCE FACTION IMAGES         7683 SE 27TH ST STE 361                                                   MERCER ISLAND           WA           98040
    VISITING NURSE SERVICES OF
    NEWPORT                          AND BRISTOL COUNTIES               1184 EAST MAIN ROAD P O BOX 690                                           PORTSMOUTH              RI           02871
    VISNICK & CAULFIELD ASSOCIATES
    INC                                                                 500 BOYLSTON STREET                                                       BOSTON                  MA           02116
    VISTA CONVENTION SERVICES INC                                       6804 DELILAH RD                                                           PLEASANTVILLE           NJ           08232
    VISTA IMAGING SUPPLIES INC                                          12021 WILSHIRE BLVD, STE 546                                              LOS ANGELES             CA           90025
    Vistor O. Schinnerer & Co., Inc.                                    Two Wisconsin Circle                                                      Chevy Chase             MD           20815
    VISUAL ARTISTS AND GALLERIES
    ASSN INC                                                            350 FIFTH AVENUE STE 2820                                                 NEW YORK                NY           10118
    VISUAL IMPRESSIONS INC                                              80 MERRIE WAY                                                             WAYNESVILLE             NC           28786
    VISUAL INNOVATION CO INC                                            8500 SHOAL CREEK BLVD, BLDG 1                                             AUSTIN                  TX           78757
    VISUAL MENTOR                                                       40 TRACE LANE                                                             HALF MOON BAY           CA           94019
    VISUALS UNLIMITED INC                                               27 MEADOW DR                                                              HOLLIS                  NH           03049-6229
    VITAL SMARTS LC                                                     282 W RIVER BEND LANE, STE 100                                            PROVO                   UT           84604
    Vitaly Chiragiev                                                    592 E. Harvey Lake Dr.                                                    Vernon Hills            IL           60061
    VITRUS PARTNERS
    Viva Braynen                                                        1420 NW 178th Terrace                                                     Pembroke Pines          FL           33029
    VIVIAN BERNSTEIN                                                    3530-35 LONG BEACH ROAD                                                   OCEANSIDE               NY           11572
    VIVIAN C M MERKERT                                                  2809 OXBOROUGH GDNS                                                       BROOKLYN PARK           MN           55443-3993
    VIVIAN COUNTS                                                       1000 E SHERBROOKE DRIVE                                                   BLOOMINGTON             IN           47401
    VIVIAN FERNANDEZ                                                    29 COTTAGE PLACE                                                          TARRYTOWN               NY           10591
    VIVIAN GOMEZ                                                        30 OCEAN PARKWAY APT 2H                                                   BROOKLYN                NY           11218
    Vivian Kerstein                                                     14513 Braddock Oak Drive                                                  Orlando                 FL           32837
    VIVIAN SCOTT HIXSON                                                 188 FISHER ROAD                                                           ARLINGTON               VT           05250
    VIVIAN VANDE VELDE                                                  2162 RIDGEWAY AVENUE                                                      ROCHESTER               NY           14626
    Viviane R Patton                                                    1115 W Reading Court                                                      Tulsa                   OK           74127
                                     DBA BULATOV ABSTRACT
    VLADIMIR BULATOV                 CREATIONS                          2970 CHRISTINE STREET                                                     CORVALLIS               OR           97330
    VLADIMIR KOLAROV                                                    24-23343 KANAKA WAY                                                       MAPLE RIDGE             BC           V2W 2B6      Canada
                                                                        50-56 BROADLAWN PARK NUMBER
    VLADIMIR RADUNSKY                                                   312                                                                       CHESTNUT HILL           MA           02467
    VOCATIONAL ADVANCEMENT
    CENTER INC                                                          221 NORTH BEACON STREET                                                   BRIGHTON                MA           02135
    VODAFONE Ireland Ltd                                                Mountain View, Leopardstown,                                              Dublin                  DB           DUBLI-N 18   Ireland
    VOELKER ENTERPRISES INC                                             5511 KIMBERLEY RD                                                         FORT WAYNE              IN           46809-2140
    VOGEL BINDERY INC                                                   30 BLUE JAY WAY                                                           EAST HAMPTON            NY           11937
                                            TEACHERS COLLEGE/COLUMBIA
    VOGELI BRUCE R                          UNIVERSITY                  BOX 195 525 WEST 120TH STREET                                             NEW YORK                NY           10027
    VOICES FOR AFRICAN AMERICAN
    STUDENTS                                INC                         P O BOX 11175                                                             MARINA DEL REY          CA           90295
    VON HOFFMANN CORPORATION                                            PO BOX 7060                                                               ST LOUIS                MO           63195

    VON STORCH ANNE B                                                   750 WEAVER DAIRY ROAD APT 5115                                            CHAPEL HILL             NC           27514
    VONDRACEK ENTERPRISES INC                                           30241 ISLAND CLUB DRIVE                                                   DEER ISLAND             FL           32778

    VOTE YES FOR BLUE VALLEY KIDS                                       6640 WEST 143RD STREET                                                    OVERLAND PARK           KS           66223
    VT ASCD                                                             89 EAST SHORE ROAD                                                        S HERO                  VT           05486
    VTBOSTON LLC                                                        115 DUMMER STREET                                                         BROOKLINE               MA           02446
                                                                        2121 E WARM SPRINGS RD, # 2057-
    VU TRAN                                                             17                                                                        LAS VEGAS               NV           89119
    VUBICLE STUDIO LLC                                                  1316 OVERHILL ST                                                          WESTFIELD               NJ           07090

    VUEF LAROUSSE BILINGUAL WINE                                        21 RUE DE MONTPARNASSE                                                    PARIS CEDEX 06 FRANCE                75283        France
    W B HUNT CO INC                         DBA HUNTS PHOTO & VIDEO     P O BOX 842597                                                            BOSTON                  MA           02284
    W B MASON COMPANY INC                                               PO BOX 981101                                                             BOSTON                  MA           02298-1101
    W B MCCLOUD & CO INC                    ATTN ACCOUNTS DEPT          2500 W HIGGINS ROAD STE 850                                               HOFFMAN ESTATES         IL           60169
    W CHRISTINE RAUSCHER                                                23 W 405 GREENBRIAR DRIVE                                                 NAPERVILLE              IL           60540
    W DORSEY HAMMOND                                                    25860 JOHN HANSON RD                                                      CHESTERTOWN             MD           21620
    W H FREEMAN & COMPANY                                               41 MADISON AVE                                                            NEW YORK                NY           10010
    W LAVERNE THOMAS                                                    13422 W 24TH PLACE                                                        GOLDEN                  CO           80401



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                           470 of 488                                                                                              1:26 PM
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                                                                                                                    First Class Service List


                CreditorName                          CreditorNoticeName                  Address1                         Address2                     Address3             City        State       Zip            Country
    W Renrick S Magoon                                                     350 Franklin Street                                                                     Reading          MA           01867
    W RICHARD REEGAN                                                       66 N PEARL STREET APT 2                                                                 PITTSFIELD       MA           01201

    W T COX SUBSCRIPTIONS & BOOKS                                          201 VILLAGE RD                                                                          SHALLOTTE        NC           28470
    W W GRAINGER INC                                                       DEPT 136 - 801580622                                                                    PALATINE         IL           60038-0001
    W W GRAINGER INC                                                       DEPT 545 - 859190449                                                                    PALATINE         IL           60038
    W W GRAINGER INC                                                       DEPT 800882680                                                                          PALATINE         IL           60038
    W W GRAINGER INC                                                       DEPT 808153936                                                                          PALATINE         IL           60038
    W W GRAINGER INC                                                       DEPT 844404210                                                                          PALATINE         IL           60038
    W W GRAINGER INC                                                       PO BOX 419267, DEPT 834463580                                                           KANSAS CITY      MO           64141-6267
    W. DAVID PIERCE                                                        8728 GATEWAY BLVD #304                                                                  EDMONTON         AB           T6E 6K3      Canada
    W.A. Wilde Company                                                     200 Summer Street                 PO Box 5838                                           Holliston        MA           01746-5838
    W.E. HEWITT                                                            31 BASSENTHWAITE CRESCENT                                                               LONDON           ON           N6G 4V5      Canada
    WABASH VALLEY EDUCATION
    CENTER                                                                 3061 BENTON STREET                                                                      WEST LAFAYETTE   IN           47903-1129
    WAH-MING CHANG                                                         5 E 22ND ST #12B                                                                        NEW YORK         NY           10010

    WAITSFIELD ELEMENTARY SCHOOL                                           3951 MAIN STREET                                                                        WAITSFIELD       VT           05673
    WAKE FOREST UNIVERSITY                                                 P O BOX 7201                                                                            WINSTON SALEM    NC           27109
    WALD HEYWOOD                                                           2684 E 66 STREET                                                                        BROOKLYN         NY           11234
    WALDEN WOODS PROJECT                                                   44 BAKER FARMS ROAD                                                                     LINCOLN          MA           01773
    WALDO                                                                  P O BOX 360                                                                             SOMERS           NY           10589
    WALDORF COLLEGE              BOOKSTORE                                 106 SOUTH SIXTH STREET                                                                  FOREST CITY      IA           50436
                                                                           URB ESTANCIAS DEL CARMEN C
    WALESKA PEREZ CARABALLO                                                KENDAL #2065                                                                            PONCE            PR           00716-2209
    WALKER & COMPANY                        ATTN ROSEMARY KILADITIS        104 FIFTH AVENUE 7TH FLOOR                                                              NEW YORK         NY           10011-6901
    WALKER & COMPANY                                                       175 FIFTH AVE FRNT 4                                                                    NEW YORK         NY           10010-7728
    WALKER & COMPANY                                                       435 HUDSON ST                                                                           NEW YORK         NY           10014
    WALKER & COMPANY INC                                                   175 FIFTH AVE FRNT 4                                                                    NEW YORK         NY           10010-7728
    WALKER AND COMPANY                                                     175 5TH AVE, FRNT 4                                                                     NEW YORK         NY           10010-7728
    WALKER BOOKS LIMITED                                                   87 VAUXHALL                                                                             LONDON                        SE11 5HJ     United Kingdom
    WALKER BOOKS LIMITED                                                   87 VAUXHALL WALK                                                    LONDON              East Sussex                   SE11 5HJ     United Kingdom
    WALKER BOOKS LTD                                                       87 VAUXHALL WALK                                                                        LONDON                        SE11 5HJ     United Kingdom
    WALKER DAVID                                                           207 TOBACCO FARM WAY                                                                    CHAPEL HILL      NC           27516
    WALKER MECHANICAL INC                                                  32 WINN STREET                                                                          BURLINGTON       MA           01803
    WALKER PUBLISHING & CO                                                 175 FIFTH AVENUE, FRNT 4                                                                NEW YORK         NY           10010
    WALKER PUBLISHING CO INC                ATTN REBECCA MANCINI           175 5TH AVE, FRNT 4                                                                     NEW YORK         NY           10010-7728
                                                                           TWO APPLETREE SQUARE, SUITE
    WALKER READING TECHNOLOGY                                              204                               R WALKER / M SKUDLAREK                                BLOOMINGTON      MN           55425
    WALKER SYSTEMS SUPPORT                                                 20 WATERSIDE DRIVE                                                                      FARMINGTON       CT           06032
    WALKERS                                 WALKER HOUSE                   87 MARY STREET GEORGE TOWN                                                              GRAND CAYMAN                  KY1 9001     Cayman Islands
    WALL STREET JOURNAL                     USE 1-5101                     102 FIRST AVE                                                                           CHICOPEE         MA           01020
    WALL STREET JOURNAL                                                    200 BURNETT ROAD                                                                        CHICOPEE         MA           01020
    WALL STREET JOURNAL                                                    P. O. BOX 7020                                                                          CHICOPEE         MA           01021
    WALLA WALLA COMMUNITY COLL
    BKST                                    ACCOUNTS PAYABLE               500 TAUSICK WAY                                                                         WALLA WALLA      WA           99362
    WALLA WALLA SCHOOL DIST 140                                            364 SOUTH PARK STREET                                                                   WALLA WALLA      WA           99362
    WALLA WALLA UNIVERSITY                  ATTN ACCOUNTS PAYABLE          204 S COLLEGE AVENUE                                                                    COLLEGE PLACE    WA           99324
    WALLACE LITERARY AGENCY                 LOIS WALLACE                   301 EAST 79TH STREET APT 14J                                                            NEW YORK         NY           10075
    WALLACE LITERARY AGENCY                                                301 EAST 79TH ST APT 14J          ATTN LOIS WALLACE                                     NEW YORK         NY           10021
    WALLACE LITERARY AGENCY                                                301 EAST 79TH STREET APT 14J                                                            NEW YORK         NY           10075
    WALLACE LITERARY AGENCY, INC                                           301 EAST 79TH STREET #14J                                                               NEW YORK         NY           10021
    WALLACE PAMELA                                                         4515 PRIEUR ST                                                                          NEW ORLEANS      LA           70125
    WALLACE R MORSE                         DBA GOLDEN STATE IMAGES        2652 TOKALON ST                                                                         SAN DIEGO        CA           92110
    WALLACE VANIELS                                                        4996 HUNTING HILLS CIRCLE                                                               ROANOKE          VA           24018
    Wallace Vaniels Jr                                                     4996 Hunting Hills Cir                                                                  Roanoke          VA           24018
    WALLINGFORD-SWARTHMORE SCH
    DISTRICT                                ARAMARK WSSD FOOD SERVICE      205 S PROVIDENCE ROAD                                                                   WALLINGFORD      PA           19086
    WALLISA STEARMAN                                                       8517 NW 72ND CIR                                                                        OKLAHOMA CITY    OK           73132
    Wallowa ESD-Region 18                   Accounts Payable               107 Southwest First Street #10                                                          Enterprise       OR           97828
    Wally Day Domiano                                                      15569 East Hoffman Rd             #79                                                   Ponchatoula      LA           70454
    Wally F Domiano                                                        15569 East Hoffman Rd             #79                                                   Ponchatoula      LA           70454
    WALLY PACHOLKA                                                         5733 LANAI STREET                                                                       LONG BEACH       CA           90808
    WALSH IRENE                                                            10511 CAVACADE ST                                                                       GREAT FALLS      VA           22066
    WALT DISNEY MUSIC CO                                                   500 SOUTH BUENA VISTA ST                                                                BURBANK          CA           91521-6685
    WALT DISNEY PICTURES &
    TELEVISION                                                             500 SOUTH BUENA VISTA STREET                                                            BURBANK          CA           91521
    WALT J HANDELSMAN                                                      37 HARVARD DR                                                                           WOODBURY         NY           11797

    WALTER & SAMUELS INC                    A/A/F MADISON PARK OWNER LLC   PO BOX 414109, 2 MORRISSEY BLVD                                                         DORCHESTER       MA           02241



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                                     471 of 488                                                                                           1:26 PM
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                                                                                                                       of 519
                                                                                                                         First Class Service List


                 CreditorName                         CreditorNoticeName                Address1                              Address2                         Address3               City        State       Zip              Country
                                                                            419 PARK AVENUE SOUTH 15TH
    WALTER & SAMUELS INC                                                    FLOOR                                                                                         NEW YORK           NY           10016

    WALTER & SAMUELS INC                                                    PO BOX 414109, 2 MORRISSEY BLVD                                                               DORCHESTER         MA           02241
    WALTER A HAZEN                                                          3568 RED CLOUD TRAIL                                                                          ST AUGUSTINE       FL           32086
    WALTER D PALMER LEADERSHIP                                              910 NORTH 6TH STREET                                                                          PHILADELPHIA       PA           19123
    WALTER DOBRIAN                                                          PO BOX 1460                                                                                   IOWA CITY          IA           52244
    WALTER H HODGE                          WENDY HODGE GRAY - TRUSTEE      500 W SANTA MARIA SPACE 14                                                                    SANTA PAULA        CA           93060
    WALTER H LORRAINE                                                       40 ROGERS AVE                                                                                 SOMERVILLE         MA           02144
    WALTER HAWTHORNE                                                        301 MORRILL HALL                MICHIGAN STATE UNIV                     HISTORY DEPT          EAST LANSING       MI           48824
    WALTER ISAACSON                                                         ONE DUPONT CIRCLE, NW STE 700                                           THE ASPEN INSTITUTE   WASHINGTON         DC           20036
    WALTER J POPPER                         WALTER POPPER ASSOCIATES        22 LONGFELLOW RD                                                                              CAMBRIDGE          MA           02138
    Walter Lorraine                                                         40 Rogers Avenue                                                                              Somerville         MA           02144
    WALTER MARGARET                                                         3440 S JEFFERSON STREET                                                                       FALLS CHURCH       VA           22041
    WALTER MCKENZIE                                                         2918 26TH ST N                                                                                ARLINGTON          VA           22207
    Walter Miner                                                            617 Gately Terrace                                                                            Madison            WI           53711-1505
    WALTER PRIMEAUX                                                         7312 W. WILDCAT RD                                                                            ABBEYVILLE         LA           70510
    WALTER R ALLEN                                                          5101 SHENANDOAH AVE                                                                           LOS ANGELES        CA           90056
    WALTER ROESSING                                                         3874 LA JOLLA VILLAGE DRIVE                                                                   LA JOLLA           CA           92037
    Walter Stahll                                                           2630 Cara Lynn Way                                                                            Longwood           FL           32779-4713
    WALTERS ART MUSEUM                                                      600 NORTH CHARLES ST                                                                          BALTIMORE          MD           21201-5185
                                            DBA GWEN WALTERS ARTIST
    WALTERS GWEN                            REPRESENTATIVE                  1801 SOUTH FLAGLER DR APT 1202                                                                WEST PALM BEACH    FL           33401
    WALTHAM SERVICES LLC                                                    P O BOX 540538                                                                                WALTHAM            MA           02454-0538
    WALTON COUNTY BOARD OF
    EDUCATION                               YOUTH ELEMENTARY SCHOOL         4009 CENTER HILL CHURCH RD                                                                    LOGANVILLE         GA           30052
    WALTON COUNTY BOARD OF
    EDUCATION                               WALNUT GROVE HIGH SCHOOL        4863 GUTHRIE CEMETERY ROAD                                                                    LOGANVILLE         GA           30052
    WALTON COUNTY BOARD OF
    EDUCATION                               SHARON ELEMENTARY SCHOOL        2700 WHITE RD                                                                                 LOGANVILLE         GA           30052
    WALTON COUNTY BOARD OF
    EDUCATION                                                               4009 CENTER HILL CHURCH RD                                                                    LOGANVILLE         GA           30052
    WALTON COUNTY BOARD OF
    EDUCATION                                                               4863 GUTHRIE CEMETERY ROAD                                                                    LOGANVILLE         GA           30052
    WALTON JOCELYN COLEMAN                                                  PO BOX 369                                                                                    OAK BLUFFS         MA           02557
    WALTON RICHARD K                                                        7 CONCORD GREENE #8                                                                           CONCORD            MA           01742-3119
    Wanda Burns                                                             5305 Thompson Park Blvd                                                                       Indianapolis       IN           46237
    Wanda Dreisewerd                                                        166 Davis Road                                                                                Troy               MO           63379
    Wanda George                                                            5725 Tawakoni Drive                                                                           Argyle             TX           76226
    Wanda Ildefonso                                                         Po Box 720033                                                                                 Orlando            FL           32872

    WANG LIJUN                              NO 87 BUILDGING # 3 NO 105      XISANHUAN BEILU HAIDIAN DISTRICT                                                              BEIJING                         100037       China
    WANGFOONG TRANSPORTATION                2/F & 3/F HARBOUR COMMERCIAL
    LTD                                     BLDG                            122 CONNAUGHT RD CENTRAL                                                                      HONG KONG                                    Hong Kong
    WARD & BALKIN AGENCY INC                                                P O BOX 7144                                                                                  LOWELL             MA           01852
    WARD JUST                                                               81 LAMBERTS COVE RD                                                                           VINEYARD HAVEN     MA           02568
    WARD NANDA                                                              403 JULE DRIVE                                                                                CHESAPEAKE         VA           23322
    WAREHOUSE RACK LP                                                       6416 SMITHFIELD ROAD                                                                          N RICHLAND HILLS   TX           76180
    WARISA SUKSOMBOON                       43/157 SOI 35/2 SAKAE-NGAM RD   SAMAEDAM BANGKHUNTIEN                                                                         BANGKOK                         10150        Thailand
    WARMBRAND MIRIAM                                                        63-60 98TH ST - APT F-3                                                                       REGO PARK          NY           11374
    WARNER BROS CONSUMER
    PRODUCTS INC                                                            21477 NETWORK PLACE                                                                           CHICAGO            IL           60073-1214
    WARNER BROS DISTRIBUTING INC                                            PO BOX 905681                                                                                 CHARLOTTE          NC           28290
    WARNER BROTHERS CONSUMER
    PRODUCTS                                                              4000 WARNER BOULEVARD                                                                           BURBANK            CA           91522
    WARNER LITERARY GROUP                                                 3223 IRON FORGE PLACE STE 102                                                                   BOULDER            CO           80301
    WARREN COUNTY SCHOOLS                   GREENWOOD HIGH SCHOOL         5065 SCOTTSVILLE ROAD                                                                           BOWLING GREEN      KY           42104
                                            DBA EAST WEST LITERARY AGENCY
    WARREN DEBORAH                          LLC                           1158 26TH STREET STE 462                                                                        SANTA MONICA       CA           90403
    Warren Gray                                                           1454 Carol Oaks Lane                 Apt 306                                                    Ft Worth           TX           76112
    WARREN INSTRUCTIONAL
    NETWORK LLC                             KYLE WARREN                     910 BANDERA CT                                                                                ALLEN              TX           75013
    Warren M Lake                                                           49 HAMILTON ST                                                                                LEOMINSTER         MA           01453
    Warren Olsen                                                            39a Church Street                                                                             Westborough        MA           01581
    WARREN TIM ZIMMERMANN                                                   5345 MACARTHUR BLVD                                                                           WASHINGTON         DC           20016

    WARSAW COMM SCHOOL CORP                                                 1 ADMINISTRATION DR, P O BOX 288                                                              WARSAW             IN           46580
    WASCO LAWN & POWER INC                                                  4N969 OLD LAFOX RD P O BOX 300                                                                WASCO              IL           60183
    WASHAKIE COUNTY SCHOOL
    DISTRICT 2                                                              242 CEDAR STREET                                                                              TEN SLEEP          WY           82442



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                        472 of 488                                                                                                  1:26 PM
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                                                                                                                                of 519
                                                                                                                        First Class Service List


                 CreditorName                         CreditorNoticeName                    Address1                            Address2           Address3                City        State       Zip           Country

    WASHBURN UNIVERSITY OF TOPEKA BOOKSTORE                                  1700 SW COLLEGE AVE                                                              TOPEKA              KS           66621

    WASHINGTON AND LEE UNIVERSITY                                            204 WEST WASHINGTON STREET                                                       LEXINGTON           VA           24450
    WASHINGTON ASSN FOR BILINGUAL
    EDU                                                                      P O BOX 1431                                                                     YAKIMA              WA           98907
    WASHINGTON ASSN OF SCH
    ADMINISTRATORS                                                           825 5TH AVENUE                                                                   OLYMPIA             WA           98501
    WASHINGTON CORRECTIONS
    EDUCATION ASSO                          ATTN LARRY RICHARDSON            9601 BUJACICH RD NW                                                              GIG HARBOR          WA           98332
    WASHINGTON COUNTY SCHOOL
    DISTRICT                                                                 934 SOUTH 100 EAST                                                               ST GEORGE           UT           84770
    Washington DC Office of Tax and
    Revenue                                                                  941 N Capitol St NE 1st Fl                                                       Washington          DC           20002
    WASHINGTON DEPT OF LABOR &
    INDUSTRIES                                                               P O BOX 34022                                                                    SEATTLE             WA           98124
    WASHINGTON DEPT OF REVENUE              STATE OF WASHINGTON              P O BOX 34051                                                                    SEATTLE             WA           98124-1051
    Washington Dept of Revenue              Attn Bankruptcy Unit             2101 4th Ave Ste 1400                                                            Seattle             WA           98121
    WASHINGTON DEPT OF REVENUE                                               P O BOX 34051                                                                    SEATTLE             WA           98124-1051
    WASHINGTON EDUC RESEARCH
    ASSN                                                                     P O BOX 15822                                                                    SEATTLE             WA           98115
    WASHINGTON HOMESCHOOL
    ORGANIZATION                                                             6627 S 191ST PLACE, SUITE F-109                                                  KENT                WA           98032-2117
    WASHINGTON PARISH SHERIFFS
    OFFICE                                  SALES & USE TAX DEPT             P O DRAWER 508                                                                   FRANKLINTON         LA           70438
    WASHINGTON POST WRITERS
    GROUP                                                                    1150 15TH STREET NW                                                              WASHINGTON          DC           20071
    Washington Secretary of State           Corporations Division            809 Capitol Way                     PO Box 40234                                 Olympia             WA           98504-0234
    WASHINGTON STATE ASSN OF
    SCHOOL                                  PSYCHOLOGISTS                    3030 W 4TH AVENUE #K 206                                                         KENNEWICK           WA           99336
    WASHINGTON STATE ASSOC FOR
    SUPERVISION                             ATTN JULIE CLIFFORD              825 FIFTH AVENUE SE                                                              OLYMPIA             WA           98501
    WASHINGTON STATE ASSOC FOR
    SUPERVISION                             AND CURRICULUM DEVELOPMENT       825 FIFTH AVENUE SE                                                              OLYMPIA             WA           98501
    WASHINGTON STATE BAR
    ASSOCIATION                                                              1325 FOURTH AVE, STE 600                                                         SEATTLE             WA           98101-2539
    Washington State Department of          Revenue                          PO Box 34054                                                                     Seattle             WA           98124-1054
    WASHINGTON STATE MATHEMATICS
    COUNCIL                                                                  30152 12TH AVE SW                   ATTN SARAH GROSENBACH                        FEDERAL WAY         WA           98023-3409
    Washington State Treasurer              Dept of Licensing Master Licen   PO Box 9034                                                                      Olympia             WA           98507-9034
    WASHINGTON STATE UNIVERSITY             CONTROLLERS OFFICE               PO BOX 641039                                                                    PULLMAN             WA           99164
    WASHINGTONS BIRTHDAY
    CELEBRATION                             ASSOCIATION                      1819 E HILLSIDE ROAD                                                             LAREDO              TX           78041
    WASHOE COUNTY SCHOOL
    DISTRICT                                LIBRARY SERVICES                 PO BOX 30425                                                                     RENO                NV           89520
    Washoe County School District           Barb                             PO Box 30425                                                                     Reno                NV           89511
    WASHOE COUNTY SCHOOL
    DISTRICT                                                                 PO BOX 30425                                                                     RENO                NV           89520
    Wasoff, Lois
    WASTE MANAGEMENT                        LEWISVILLE HAULING               PO BOX 660345                                                                    DALLAS              TX           75266
    WASTE MANAGEMENT OF ATLANTA
    HAULING                                                                  P O BOX 105453                                                                   ATLANTA             GA           30348-5453

    WASTE MANAGEMENT OF OHIO INC                                             PO BOX 9001054                                                                   LOUISVILLE          KY           40290
    WASTE MANAGEMENT OF
    ROCHESTER                    NH HAULING                                  PO BOX 13648                                                                     PHILADELPHIA        PA           19101-3648

    WASTE MANAGEMENT OF ST LOUIS                                             PO BOX 9001054                                                                   LOUISVILLE          KY           40290
    WATERLOO EDUCATION LLC                                                   2111 DICKSON DRIVE, SUITE 18                                                     AUSTIN              TX           78704
    Waterloo Region District Scho                                            51 Ardelt Ave                                                                    Kitchener           ON           N2C 2R5      Canada
    WATERMARK LEARNING                                                       222 SOUTH 9TH STREET, STE 3800      C/O PRIVATE BANK MINNESOTA                   MINNEAPOLIS         MN           55402-9593
    WATERS GEORGE PATTON                                                     412 RICE HOPE DR                                                                 MT PLEASANT         SC           29464
    WATERSIDE PRODUCTIONS INC                                                2055 OXFORD AVE                     AGENT FOR DEBORAH DRYDEN                     CARDIFF BY SEA      CA           92007
    WATERSIDE PRODUCTIONS INC                                                2055 OXFORD AVENUE                                                               CARDIFF             CA           92007
    WATERVILLE PUBLIC SCHOOLS                                                25 MESSALONSKEE AVE                                                              WATERVILLE          ME           04901
    WATERVLIET CITY SD                                                       1245 HILLSDRIVE                                                                  WATERVLIET          NY           12189
    WATKINS CALVERT                                                          2224 PARNELL AVENUE                                                              LOS ANGELES         CA           90064
    WATKINS LOOMIS AGENCY INC                                                P O BOX 20925                                                                    NEW YORK            NY           10025
    WATKINS LOOMIS AGENCY INC                                                P O BOX 20925                       PARK WEST FINANCIAL STATION                  NEW YORK            NY           10025
    WATKINS RICHARD                                                          1231 LA BREA DR                                                                  THOUSAND OAKS       CA           91362



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                          473 of 488                                                                                  1:26 PM
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                                                                                                                         of 519
                                                                                                                      First Class Service List


             CreditorName                             CreditorNoticeName               Address1                            Address2              Address3            City          State       Zip            Country
    WATSON ESTHER PEARL                                                    325 ADAMS STREET                                                                 SIERRA MADRE      CA           91024
    WATSON LITTLE LTD                                                      48-56 BAYHAM PLACE                                                               LONDON                         NW1OEU       United Kingdom
    WATTS PUBLISHING GROUP LTD                                             338 EUSTON ROAD                                                                  LONDON                         NW1 3BH      United Kingdom
    WATTS PUBLISHING GROUP-
    ORCHARD BOOKS                           DIVISION OF HACHETTE UK LTD    338 EUSTON ROAD                                                                  LONDON                         NW1 3BH      United Kingdom

    WAUBONSEE COMMUNITY COLLEGE                                            ROUTE 47 AT WAUBONSEE DR                                                         SUGAR GROVE       IL           60554
    WAUWATOSA SCHOOL DISTRICT                                              12121 W NORTH AVENUE                                                             WAUWATOSA         WI           53226

    WAVELENGTH INC                                                         4753 NORTH BROADWAY SUITE 808                                                    CHICAGO           IL           60640
    Waverly Motion Picturess                                               95 Federal Street                                                                Salem             MA           01970
    WAXMAN LITERARY AGENCY                  80 5TH AVENUE                  SUITE 1101                                                                       NEW YORK          NY           10111
    WAYLAND PUBLIC SCHOOLS                                                 P O BOX 408                                                                      WAYLAND           MA           01778
    WAYLAND PUBLIC SCHOOLS
    FOUNDATION INC                                                         PO BOX 97                                                                        WAYLAND           MA           01778

    WAYLAND UNIVERSITY BOOKSTORE                                           1900 W 7TH STREET                                                                PLAINVIEW         TX           79072
    WAYMIRE GROUP                                                          P O BOX 137086                                                                   HOUSTON           TX           77219
    Wayne A Brady                                                          63 E Crystal Lake Ave              Apt 1                                         Crystal Lake      IL           60014
    WAYNE A FISHER                                                         2120 HARTWELL LANE                                                               INDIANLAND        SC           29707
    WAYNE AUTOMATIC FIRE
    SPRINKLERS, INC                                                        222 CAPITOL COURT                                                                OCOEE             FL           34761
    WAYNE BLANTON                                                          1319 PEACEFIELD PLACE                                                            TALLAHASSEE       FL           32308
    Wayne Burrow                                                           1038 W 11th Street                                                               Upland            CA           91786
    WAYNE COLE                                                             5145 TABANO WAY                                                                  SANTA BARBARA     CA           93111-1832
    Wayne Denmark                                                          10413 Kingbrook Lane                                                             Orlando           FL           32821
    Wayne Gordon                                                           4288 E 200 North                                                                 Anderson          IN           46012
    Wayne H Miller                                                         506 South 5th Street                                                             St. Charles       IL           60174
                                                                                                              ATTN SODEXHO FOOD SERVICE
    WAYNE PUBLIC SCHOOLS                                                   551 VALLEY ROAD                    MANAGER                                       WAYNE             NJ           07470
    WAYNE R BROWN                                                          1260 ALDER CT                                                                    SAN LUIS OBISPO   CA           93401
    Wayne Raley                                                            18332 Lawrence Way                                                               Grass Valley      CA           95949

    WAYNE RESA                              DAVID HALES MCHE EXHIBITS CHAIR 33500 VAN BORNM ROAD                                                            WAYNE             MI           48184
    Wayne RESA                                                              33500 Van Born Road                                                             Wayne             MI           48184
    Wayne Siegert                                                           1415 Wynne Avenue                                                               St. Paul          MN           55108
    WAYNE STATE UNIVERSITY                                                  P O BOX 02788                                                                   DETROIT           MI           48202

    WAYNE STATE UNIVERSITY PRESS            LEONARD N SIMONS BUILDING      4809 WOODWARD AVENUE                                                             DETROIT           MI           48201
    Wayne Stubbs                                                           56583 Woodbine Lane                                                              Elkhart           IN           46516
    Wayne Township Education                Foundation                     1220 South High School Road                                                      Indianapolis      IN           46241
    Wayne W Cole                                                           5145 Tabano Way                                                                  Santa Barbara     CA           93111
    Wayne W Raley                                                          18332 Lawrence Way                                                               Grass Valley      CA           95949
    WAYNE WESTLAND COMMUNITY
    SCHOOLS                                 ATTN ACCOUNT PAYABLE           36745 MARQUETTE                                                                  WESTLAND          MI           48185
    WAYWARD INC                                                            4275 WITHERBY STREET                                                             SAN DIEGO         CA           92103
    WCSS                                    C/0 JEFF NEWTON                10741 145TH ST                                                                   CHIPPEWA FALLS    WI           54729

    WEATHERMAN RICHARD                                                     740 MISSISSIPPI RIVER BLVD S #9H                                                 ST PAUL           MN           55115
    WEATHERSTOCK INC                                                       P O BOX 31808                                                                    TUCSON            AZ           85751
    WEAVECO CORP                                                           4593 CHASEMOOR DR                                                                PORTAGE           MI           49024-8133
    WEAVER & ASSOCIATES                                                    536 DERBY LANE                                                                   MONTGOMERY        AL           36109-4630
    Weaver, Paul
    WEBB LELAND F                                                          7300 DOS RIOS WAY                                                                BAKERSFIELD       CA           93309
    WEBB PATRICIA A                                                        P O BOX 1228                       DAY FAMILY FUND                               MCMINNVILLE       OR           97128
    WEBB SOPHIE                                                            400 FARMER STREET                                                                FELTON            CA           95018
    WEBCRAFTERS                                                            PO BOX 7608                                                                      MADISON           WI           53704
    WEBCRAFTERS INC                                                        BOX 78635                                                                        MILWAUKEE         WI           53278-0635
    WEBER COMMERCIAL REAL ESTATE
    SVCS INC                                                               381 CASA LINDA PLZ STE 199                                                       DALLAS            TX           75218
    WEBER JILL                              FRAJIL FARMS                   P O BOX 13                                                                       MOUNT VERNON      NH           03057
    WEBEX                                                                  P O BOX 49216                                                                    SAN JOSE          CA           95161-4926
    WEBMECHANIX LLC                                                        P O BOX 1572                                                                     COLUMBIA          MD           21044
    WEBS INC                                NM ABE WEBS PROJECT            3166 PLAZA BLANCA                                                                SANTA FE          NM           87507
    WEBS INC                                ATTN KIMBERLY A IWASKO         3166 PLAZA BLANCA                                                                SANTA FE          NM           87507
    WEBSTER COUNTY SCHOOLS                  EUPORA ELEMENTARY SCHOOL       1 NARON AVENUE                                                                   EUPORA            MS           39744

    WEBSTER ELEM SCHOOL LIBRARY                                            500 WADSWORTH ST                                                                 SYRACUSE          NY           13208
    WEBSTER GROVES SCHOOL
    DISTRICT                                BOARD OF EDUCATION             400 E LOCKWOOD                                                                   WEBSTER GROVES    MO           63119



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                     474 of 488                                                                                     1:26 PM
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                                                                                                                          of 519
                                                                                                                    First Class Service List


                CreditorName                       CreditorNoticeName                  Address1                           Address2                              Address3                       City                   State       Zip               Country
    WEBSTER PARISH SALES & USE              TAX COMMISSION                 P O BOX 357                                                                                                MINDEN                     LA           71058
    WEEKLY READER CORPORATION                                              1 READERS DIGEST ROAD                                                                                      PLEASANTVILLE              NY           10570
    WEEKLY READER PUBLISHING
    GROUP                                                                  3001 CINDEL DR                  ATTN MELISSA MCDONNELL                                                     DELRAN                     NJ           08075
    Weeksville Elementary School            Nancy Van de Sande             1170 Salem Church Road                                                                                     Elizabeth City             NC           27909
    WEGMANS DELI & CATERING INC                                            260 OLEY LINE ROAD                                                                                         DOUGLASVILLE               PA           19518
    WEHR JANET                                                             2185 SYKESVILLE RD                                                                                         SYKESVILLE                 MD           21784
    Wei Zhou                                                               576 Cleavland Dr                                                                                           Bolingbrook                IL           60440
    WEIL GOTSHAL & MANGES LLP                                              767 FIFTH AVENUE                                                                                           NEW YORK                   NY           10153
    Weil, Gotshal & Manges
    WEILER SUSAN K                                                         451 MUIRFIELD DRIVE                                                                                        HIGHLAND HEIGHTS           OH           44143
    WEINAND YOUNGER TIRE INC                                               230 E CHERRY ST                                                                                            TROY                       MO           63379
    WEINGARDEN MARVIN                                                      36758 VALLEY RIDGE DRIVE                                                                                   FARMINGTON HILLS           MI           48331
    WEINHAUS KAREN ANN                                                     232 BELLEVUE ROAD                                                                                          WATERTOWN                  MA           02472
    Weirather, Shawn
    WELCH PACKAGING                                                        P O BOX 711756                                                                                             CINCINNATI                 OH           45271-1756
    WELCHANS RESEARCH GROUP
    CONSULTING INC                                                         1605 AVONDALE AVENUE                                                                                       JACKSONVILLE               FL           32205
    WELDA CONSULTS LLC                                                     5402 FORGE DRIVE                                                                                           MADISON                    WI           53716-2461
    WELDON OWEN                                                            42-44 VICTORIA STREET                                                                                      MCMAHONS POINT             NSW          02010        Australia
    WELDON OWEN EDUCATION LTD.              BANK OF NEW ZEALAND            1 WILLIS STREET                                                                                            WELLINGTON                 Wellington                New Zealand
    WELDON OWEN PTY LTD                                                    59 VICTORIA STREET                                                                                         MCMAHONS POINT NSW                      02060        Australia
    WELLER BARBARA                                                         187 COOPER AVENUE                                                                                          UPPER MONTCLAIR            NJ           07043
    WELLINGTON GROUP                                                       317 S THIRD STREET                                                                                         GENEVA                     IL           60134
    WELLNESS COUNCIL OF AMERICA                                            9802 NICHOLAS STREET STE 315                                                                               OMAHA                      NE           68114-2106
    WELLNESS INTERNATIONAL LLC                                             314B CONSTITUTION DRIVE                                                                                    VIRGINIA BEACH             VA           23467
    Wells Capital Management                Jeffrey Lang                   525 Market Street               10th Floor                                                                 San Francisco              CA           94105
    WELLS DAWSON TOWER                                                     4421 WHITFIELD ROAD                                                                                        DURHAM                     NC           27707
    Wells Fargo Bank                        Michael J. McMorrow            101 Federal Street              Suite 2020                                                                 Boston                     MA           02110
    Wells Fargo Securities, LLC

    Wells Operating Partnership LP          RE 10801 N. Mopac Expressway   Nancy Malatesta                 c/o Piedmont Office Realty Trust, Inc.   11695 Johns Creek Parkway, Suite 350 Johns Creek             GA           30097
    WELLSTAR ENTERPRISES LLC                ATTN JANE SANDERS MILLER       65 W LA CROSSE AVENUE                                                                                         LANSDOWNE               PA           19050
    WENCESLAO VEGA-MARTINEZ                                                RAMON FERNANDE # 5                                                                                            URB LUCHETTI MARIATTI   PR           00674
    Wendell Jacobs                                                         3705 S Arbor Lane                                                                                             Minnetonka              MN           55305
    WENDELL MINOR                           15 OLD NORTH ROAD              PO BOX 1135                                                                                                   WASHINGTON              CT           06793
    WENDI R LAX                                                            4022 STARWREATH WAY                                                                                           ELLICOTT CITY           MD           21042
    Wendy Colby                                                            6n782 Colonel Bennett Ln                                                                                      St Charles              IL           60175
    Wendy E. Holt                                                          94 Sonoma Rd                                                                                                  Quincy                  MA           02171
    Wendy Garcia                                                           3963 Waterhouse Road                                                                                          Oakland                 CA           94602
    WENDY GREENE                                                           3660 CRESCENT PARK BLVD         DBA BBG EDITORIAL                                                             ORLANDO                 FL           32812
    WENDY HAMMERS                                                          932 17TH STREET # 5                                                                                           SANTA MONICA            CA           90403
    WENDY HARDING                                                          8 RUE DE LA GRANGE                                                                                            CLAPIERS                             34830        France
    WENDY HERRON                                                           532 S D STREET                                                                                                OXNARD                  CA           93030
    Wendy Hodge                                                            7744 Northcross Drive           # N240                                                                        Austin                  TX           78757
    Wendy J Schoenfeld                                                     175 Bay Road                                                                                                  North Easton            MA           02356
    Wendy Konczal                                                          525 Pina Lane                                                                                                 Vista                   CA           92083
    Wendy L Petersen                                                       412 Luthin Road                                                                                               Oak Brook               IL           60523
    Wendy Lau                                                              4 Corey Dr.                                                                                                   Peabody                 MA           01960
    Wendy Lewis                                                            11826 Sailboat Lane                                                                                           Orlando                 FL           32821
    Wendy Marshall                                                         116 18th Street                                                                                               Huntington Beach        CA           92648
    Wendy Middaugh                                                         6937 Napoli Court                                                                                             Orlando                 FL           32822
    Wendy R Withington                                                     46 ELM STREET                                                                                                 NEWPORT                 RI           02840
    Wendy Rooker                                                           3941 Glenhurst Drive                                                                                          Smyrna                  GA           30080
    WENDY SAUL                                                             3144 ALLEN AVE                                                                                                ST LOUIS                MO           63104
    WENDY SCHMALZ AGENCY                                                   BOX 831                                                                                                       HUDSON                  NY           12534
    WENDY SCHMALZ AGENCY                                                   PO BOX 831                                                                                                    HUDSON                  NY           12534
    WENDY SHERMAN ASSOCIATES                                               27 WEST 24TH ST STE 700B                                                                                      NEW YORK                NY           10010
    Wendy U ODonnell                                                       2507 Lora Mae Ct.                                                                                             Foret Hill              MD           21050
    WENDY WEIL AGENCY INC                                                  232 MADISON AVENUE              SUITE 1300                                                                    NEW YORK                NY           10016
    WENDY WEIL AGENCY INC                                                  232 MADISON AVE SUITE 1300                                                                                    NEW YORK                NY           10016-2901
    WENDY WELSH                                                            367 EL VISTA DRIVE                                                                                            HANOVER                 PA           17331
    Wendy Withington                                                       46 Elm Street                                                                                                 Newport                 RI           02840
    Wendy Wooldridge                                                       31 Collins Ave                                                                                                Reading                 MA           01867
    WENGER MICHAEL J                        DEPT OF PSYCHOLOGY             UNIVERSITY OF NOTRE DAME                                                                                      NOTRE DAME              IN           46556
    Wenonah Brooks                                                         PO Box 94                                                                                                     Hopewell                NJ           08525
    Wenyao Hu                                                              426 S. Trooper Rd                                                                                             Norristown              PA           19403
                                            DBA WEQUASSETT RESORT & GOLF
    WEQUASSETT INN LLP                      CLUB                         ON PLEASANT BAY                                                                                              CHATHAM, CAPE COD          MA           02633




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                    475 of 488                                                                                                                           1:26 PM
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                                                                                                           Pg Creditor
                                                                                                               483 Matrix
                                                                                                                       of 519
                                                                                                               First Class Service List


             CreditorName              CreditorNoticeName                             Address1                      Address2              Address3                City        State       Zip            Country
    WERNHER KRUTEIN PRODUCTIONS
    INC                         DBA PHOTOVAULT.COM                        8965 VALLEY FORD ROAD                                                      PETALUMA            CA           94952
    WERNICK & PRATT AGENCY                                                1207 NORTH AVENUE                                                          BEACON              NY           12508

    WERNICK AND PRATT AGENCY LLC                                          1207 NORTH AVENUE             ATTN LINDA PRATT                             BEACON              NY           12508
                                            DBA WERONICA ANKARORN
    WERONICA ANKARORN                       PHOTOGRAPHY                   1132 GEORGIA BOULEVARD                                                     ORLANDO             FL           32803

    WERRAN OCHSNER PRODUCTIONS                                            3247 64TH AVENU SW                                                         SEATTLE             WA           98116
    Wesley Bain                                                           1704 Duke Ave                                                              Austin              TX           78757
    WESLEY P CLARKSON                                                     11847 QUAIL BUSH CIR                                                       EL PASO             TX           79936
    Wesley Prewitt                                                        3518 W. Adams St.                                                          Chicago             IL           60624
    WESLEY TREAT                                                          18880 MARSH LANE #206                                                      DALLAS              TX           75287
    WESLEYAN UNIVERSITY PRESS               ATTN SUZANNA TAMMINEN         110 MOUNT STREET                                                           MIDDLETOWN          CT           06459-0433
    WESSEX ARCHAEOLOGY                      PORTWAY HOUSE                 OLD SARUM PARK                                                             SALIBURY            Wiltshire    SP4 6EB      United Kingdom
    WEST BABYLON UNION FREE SCH
    DISTRICT                                                              200 OLD FARMINGDALE RD                                                     WEST BABYLON        NY           11704
    WEST BATON ROUGE PARISH                 SALES TAX DEPARTMENT          P O BOX 86                                                                 PORT ALLEN          LA           70767-0086
    WEST BATON ROUGE PARISH
    SCHOOLS                                 CHAMBERLIN ELEMENTARY SCHOOL 6024 SECTION ROAD                                                           PORT ALLEN          LA           70767
    WEST BRANCH COMMUNITY
    SCHOOLS                                                               P O BOX 637                                                                WEST BRANCH         IA           52358
    WEST CAMBRIDGE ASSOCIATES                                             99 FRESH POND PARKWAY                                                      CAMBRIDGE           MA           02138
    WEST CARROLL PARISH SCHOOL
    BOARD                                                                 314 EAST MAIN STREET                                                       OAK GROVE           LA           71263
    WEST CENTRAL INDIANA EDUC
    SRVC CTR                                ATTN VALERIE BUCHANAN         P O BOX 21, 522 ANDERSON ST                                                GREENCASTLE         IN           46135
    West Coast Life Insurance                                             PO Box 11407                                                               Birmingham          AL           35246-0078
    WEST COAST LIFE INSURANCE
    COMPANY                                                               2801 HIGHWAY 280 SOUTH                                                     BIRMINGHAM          AL           35223
    West Contra Costa USD                   Accounts Payable              1108 Bissell Ave                                                           Richmond            CA           94801-3135
    WEST ED                                                               4665 LAMPSON AVE                                                           LOS ALAMITOS        CA           90720
    WEST FARGO PUBLIC SCHOOL DIST
    #6                                                                    207 WEST MAIN AVE                                                          WEST FARGO          ND           58078
    WEST FILM PROJECT INC                                                 13 CROSBY STREET #403         ATTN STEPHEN IVES                            NEW YORK            NY           10013
    WEST GEORGIA RESA                       WEST CENTRAL GLRS             99 BROWN SCHOOL DRIVE                                                      GRANTVILLE          GA           30220-2008
    WEST GRAND SCHOOL DIST 1 JT                                           P O BOX 515                                                                KREMMLING           CO           80459
    WEST JERSEY READING COUNCIL                                           20 COVE ROAD                  ATTN BETH ASBURY                             MOORESTOWN          NJ           08057
                                            DBA WABASH VALLEY EDUCATION
    WEST LAFAYETTE CSC                      CENTER                        3062 BENTON STREET                                                         WEST LAFAYETTE      IN           47906
    WEST MILFORD BOARD OF
    EDUCATION                                                             46 HIGHLANDER DRIVE                                                        WEST MILFORD        NJ           07480
    WEST NEWBURY PTO                        PAGE SCHOOL                   694 MAIN STREET                                                            WEST NEWBURY        MA           01985
    WEST ORANGE HIGH SCHOOL
    DRAMA DEPT                                                            1625 BEULAH ROAD                                                           WINTER GARDEN       FL           34787

    WEST PLAINS R7 SCHOOL DISTRICT WEST PLAINS R7 MIDDLE SCHOOL           613 W 1ST STREET                                                           WEST PLAINS         MO           65775
                                   SOUTH FORK ELEMENTARY
    WEST PLAINS R7 SCHOOL DISTRICT SCHOOL                                 613 W 1ST STREET                                                           WEST PLAINS         MO           65775

    WEST PLAINS R7 SCHOOL DISTRICT WEST PLAINS R7 ELEM SCHOOL             613 W 1ST STREET                                                           WEST PLAINS         MO           65775
    WEST PUBLISHING CORPORATION WEST PAYMENT CENTER                       P O BOX 6292                                                               CAROL STREAM        IL           60197-6292
    WEST RIVER FOUNDATION                                                 1925 PLAZA BLVD               ATTN MEGAN MERSCHEIM                         RAPID CITY          SD           57702

    WEST ST PAUL MENDOTA HEIGHTS                                          1897 DELAWARE AVE                                                          MENDOTA HEIGHTS     MN           55118
    WEST SUBURBAN TRAVELERS
    LIMOUSINE INC                                                         27 W 291 GENEVA RD                                                         WINFIELD            IL           60190
    WEST TENNESSEE SPECIAL
    EDUCATION                                                             159 EVERETT AVE                                                            DYERSBURG           TN           38024
    WEST TENNESSEE TITLE I
    ASSOCIATION                             ATTN GINA RAWSON              264 EAST PARK STREET                                                       ALAMO               TN           38001
    West VA Secretary of State              State Capitol                 1900 Kanawha Blvd. E.                                                      Charleston          WV           25305
    WEST VIRGINIA COUNCIL OF
    EXCEPTIONAL                             CHILDREN                      111 SCHOOL STREET                                                          ROMNEY              WV           26757
    WEST VIRGINIA COUNCIL OF                ATTN NANCY WILLIAMS - DIR
    EXCEPTIONAL                             SPECIAL ED                    111 SCHOOL STREET                                                          ROMNEY              WV           26757
    WEST VIRGINIA DEPT OF
    EDUCATION                                                             1900 KANAWHA BLVD E           BLDG 6 ROOM 607                              CHARLESTON          WV           25305
    WEST VIRGINIA DIV OF CULTURE &          ARCHIVES & HISTORY, CULTURE
    HISTORY                                 CTR                           1900 KANAWHA BLVD                                                          EAST CHARLESTON     WV           25305



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                              476 of 488                                                                                       1:26 PM
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                                                                                                                                   of 519
                                                                                                                            First Class Service List


                 CreditorName                         CreditorNoticeName                        Address1                          Address2                         Address3                City        State       Zip           Country
    WEST VIRGINIA NETWORK FOR
    EDUCATIONAL                             TELECOMPUTING                         837 CHESTNUT RIDGE ROAD                                                                     MORGANTOWN          WV           26505
    WEST VIRGINIA NETWORK FOR               ATTN STATEWIDE TECHNOLOGY
    EDUCATIONAL                             CONF 09                               837 CHESTNUT RIDGE ROAD                                                                     MORGANTOWN          WV           26505
    WEST VIRGINIA READING ASSOC             ATTN FRANCES HORTON                   6019 PULLEN CT                                                                              BARBOURSVILLE       WV           25504
    West Virginia Secretary/State           State Capitol                         1900 Kanawha Blvd. E.                                                                       Charleston          WV           25305
    WEST VIRGINIA STATE TAX COMM            P O DRAWER 1826                       BUSINESS TAX DIVISION                                                                       CHARLESTON          WV           25327
    WEST VIRGINIA STATE TAX DEPT            REVENUE DIVISION                      P O BOX 2745                                                                                CHARLESTOWN         WV           25330-2745
    WEST VIRGINIA STATE TAX DEPT            INTERNAL AUDITING DIVISION            P O BOX 11514                                                                               CHARLESTON          WV           25339-1514
    West Virginia State Tax Dept            Attn Legal Division Bankruptcy Unit   PO Box 766                                                                                  Charleston          WV           25323-0766
    WEST VIRGINIA STATE TAX DEPT                                                  P O BOX 11514                                                                               CHARLESTON          WV           25339-1514
    WEST VIRGINIA STATE TAX DEPT                                                  P O BOX 1202                      INTERNAL AUDITING DIVISION                                CHARLESTOWN         WV           25324-1202
    WEST VIRGINIA STATE TAX DEPT                                                  P O BOX 2745                                                                                CHARLESTOWN         WV           25330-2745
    West Virginia State Tax Dept.           Internal Auditing Division            Po Box 1202                                                                                 Charleston          WV           25324-1202
    WEST VIRGINIA WESLEYAN                  ATTN CFO/VP FOR FINANCIAL
    COLLEGE                                 AFFAIRS                               59 COLLEGE AVENUE                                                                           BUCKHANNON          WV           26201
    West, David
    WESTBROOK SERVICE
    CORPORATION                                                                   PO BOX 555459                                                                               ORLANDO             FL           32855
    WESTBY AREA SCHOOL DISTRICT                                                   BUSINESS OFFICE - 206 W AVE S                                                               WESTBY              WI           54667
    WESTCAVE PRINTING
    CORPORATION                             DBA HORIZON PRINTING                  2111 GRAND AVENUE PARKWAY                                                                   AUSTIN              TX           78728
    WESTCHESTER DISTRICT                    SUPERIDENDENT OF SCHOOLS -
    SUPERINTENDENT                          ARCH OF NY                            53 SIXTH STREET                                                                             NEW ROCHELLE        NY           10801
    WESTCHESTER DISTRICT
    SUPERINTENDENT                          ATTN CAROLYN DEMASI                   53 SIXTH STREET                                                                             NEW ROCHELLE        NY           10801
    Westchester Fire Insurance Company      Attn. Miguel Ferreira                 33 Arch Street, Ste 2900                                                                    Boston              MA           02110
    WESTCHESTER LOWER HUDSON
    COUNCIL                                 FOR THE SOCIAL STUDIES                617 WILLOW STREET                 ATTN ANTONIO MARTINO                                      MAMARONECK          NY           10543
    WESTCHESTER TRIATHLON                                                         475 PARK AVE SOUTH 8TH FLOOR                                                                NEW YORK            NY           10016
    WESTED - (FAR WEST LAB)                                                       300 LAKESIDE DRTIVE 25TH FLOOR    ATTN CARNE BARNETT CLARKE                                 OAKLAND             CA           94612
    WESTERN CAMPUS BOOK CTR                                                       11000 PLEASANT VALLEY RD                                                                    PARMA               OH           44130
    WESTERN CAROLINA UNIVERSITY             BOOKSTORE                             311 MEMORIAL DRIVE                                                                          CULLOWHEE           NC           28723
    WESTERN DIESEL SERVICES INC             DBA CK POWER                          PO BOX 958906                                                                               ST LOUIS            MO           63195
                                            CENTRAL IL ADULT EDUC SERVICE
    WESTERN ILLINOIS UNIVERSITY             CENTER                                HORRABIN HALL 5A                                                                            MACOMB              IL           61455
    Western Illinois University                                                   1 University Circle                                                                         Macomb              IL           61455--367
    WESTERN ILLINOIS UNIVERSITY                                                   HORRABIN HALL 5A                                                                            MACOMB              IL           61455
    WESTERN KANSAS
    MANUFACTURERS ASSN                      ATTN KANSAS WORKFORCE SUMMIT P O BOX 1382                                                                                         DODGE CITY          KS           67801
    WESTERN KENTUCKY UNIVERSITY                                          1906 COLLEGE HEIGHTS BLVD                  DEPARTMENT OF PURCHASING                                  BOWLING GREEN       KY           42101
    WESTERN MAINE EDUCATIONAL
    COLLABORATIVE                                                                 115 LEARNING LANE                                                                           FARMINGTON          ME           04938
                                READING RECOVERY CNCL OF
    WESTERN MICHIGAN UNIVERSITY MICHIGAN                                          3275 ELLSWORTH                                                                              KALAMAZOO           MI           49008
    WESTERN MONTANA COMPRENSIVE
    SYSTEM                      KYRA OCKER                                        233 1ST AVE EAST                                                                            KALISPELL           MT           59901
    WESTERN MONTANA COMPRENSIVE
    SYSTEM                      FOR PERSONAL DEVELOPMENT                          233 1ST AVE EAST                                                                            KALISPELL           MT           59901
    WESTERN MT COLLEGE                                                            710 ATLANTIC STREET               CAMPUS BOOKSTORE                                          DILLON              MT           59725

    WESTERN NY FOREIGN LANGUAGE             EDUCATION COUNCIL                     2001 MAIN STREET                                                                            BUFFALO             NY           14208
    Western Region School Admin                                                   35 Golden Glow Ave                                                                          Corner Brook        NL           A2H 2E5      Canada
    Western School District                                                       PO Box 368                                                                                  Corner Brook        NL           A3H 6G9      Canada
    WESTERN SOUTHERN TIER
    COUNCIL FOR THE                         SOCIAL STUDIES                        75 E CHATAUQUA ST                 ATTN PAUL BENSON                                          MAYVILLE            NY           14757
    WESTERN WISCONSIN EDUCATION
    CONF                                    ATTN STEPHANIE FRAASE                 205 STH AVE S STE 412                                                                       LA CROSSE           WI           54601
    WESTERN WISCONSIN EDUCATION
    CONF                                    1606 HIGHWAY 35                       205 STH AVE S STE 412                                                                       LA CROSSE           WI           54601
    WESTERVELT JOHNSON NICOLL &
    KELLER LLC                                                                    PO BOX 522                                                                                  PEORIA              IL           61651
    Westfield Washington Schools                                                  322 W. Main Street                                                                          Westfield           IN           46074
    Westin Atlanta North                                                          Seven Concourse Parkway                                                                     Atlanta             GA           30328
    Westin Copley Place                     Bank of Amer Lockbox                  Lockbox 843881                    1401 Elm Street                    5th Floor              Dallas              TX           75202
    WESTIN COPLEY PLACE                                                           10 HUNTINGTON AVE                                                                           BOSTON              MA           02116
    Westin Hotels                                                                 10600 Westminster Blvd                                                                      Broomfield          CO           80020
    Westin Prince, Toronto                                                        900 York Mills Road                                                                         Toronto             ON           M3B 3H2      Canada

    WESTIN RESORT & VILLA - ST JOHN ATTN SESYLE MOOREHEAD                         300A CHOCOLATE HOLE                                                                         ST JOHN             VI           00831



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                               477 of 488                                                                                             1:26 PM
                                                      12-12171-reg           Doc 136               Filed 07/15/12 Exhibit
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                                                                                                                         of 519
                                                                                                                 First Class Service List


                CreditorName                          CreditorNoticeName                 Address1                     Address2                       Address3             City           State       Zip            Country
    Westin San Francisco Airport                                           1 Old Bayshore Highway                                                                Millbrae           CA           94030
    WESTMINSTER COLLEGE                     BOOKSTORE                      MCKELVEY CAMPUS CENTER                                                                NEW WILMINGTON     PA           16172
    WESTMINSTER COLLEGE -
    MISSOURI                                BOOKSTORE                      501 WESTMINSTER AVENUE                                                                FULTON             MO           65251
    WESTMONT COLLEGE                                                       955 LA PAZ ROAD                                                                       SANTA BARBARA      CA           93108
    WESTMONT COUNTY SCHOOL
    DISTRICT                                                               200 N LINDEN                                                                          WESTMONT           IL           60559
    WESTMORELAND COUNTY COMM
    COLLEGE                                                                145 PAVILION LANE              BOOKSTORE                                              YOUNGWOOD          PA           15697

    WESTON COUNTY SCHOOL DIST # 1                                          116 CASPER AVE                 SCHOOL ADMINISTRATION BLDG                             NEWCASTLE          WY           82701
    WESTON RICHARD                                                         P O BOX 1165                                                                          PORT TOWNSEND      WA           98368
    WESTON SCHOOL                                                          1066 HANOVER STREET                                                                   MANCHESTER         NH           03104
    WESTPORT POLICE DEPARTMENT                                             50 JESUP RD                    FALSE ALARM MANAGEMENT                                 WESTPORT           CT           06880-4385
    WESTWOOD CREATIVE ARTIST                                               94 HARBORD ST                                                                         TORONTO            ON           M5S 1G6      Canada
    WESTWOOD CREATIVE ARTISTS                                              94 HARBORD STREET              ATTN BRUCE WESTWOOD                                    TORONTO            ON           M5S 1G6      Canada

    WESTWOOD CREATIVE ARTISTS LTD                                          94 HARBORD STREET                                                                     TORONTO            ON           M5S 1G6      Canada
    WESTWOOD PLAZA POA            C/O GLENN M VITALE CPA PA                3390 PLAYERS POINT LOOP                                                               APOPKA             FL           32712
    WGBH                          EDUCATIONAL FOUNDATION                   PO BOX 414670                                                                         BOSTON             MA           02241-4670

    WGBH EDUCATIONAL FOUNDATION             ATTN MICHAEL E MUSHLITZ        ONE GUEST STREET                                                                      BOSTON             MA           02135
    WGBH ENTERPRISES                                                       ONE GUEST STREET               ATTN JOSHUA FINSTEIN                                   BOSTON             MA           02135
    WGBH ENTERPRISES                                                       ONE GUEST STREET                                                                      BOSTON             MA           02135
    WHATEVER PUBLISHING INC                 DBA NEW WORLD LIBRARY          14 PAMARON WAY                                                                        NOVATO             CA           94949
    Wheatcroft, Allen
    WHEATON COLLEGE                                                        ATTN MARJORIE MEAD             MARION E WADE CENTER                                   WHEATON            IL           60187-5593
    WHEATON COLLEGE BOOKSTORE                                              501 EAST COLLEGE AVENUE                                                               WHEATON            IL           60187
    WHEATON FORD AILEEN                                                    8399 FAIRWAY DR                                                                       COLUMBUS           OH           43235
    WHEELER BRIAN K                                                        9831 CASCADE ST                                                                       FIRESTONE          CO           80504
    WHIPPLE ROBERT                                                         5516 W LAKE SHORE DRIVE                                                               WONDER LAKE        IL           60097
                                            DBA WHIT BRONAUGH
    WHITCOM BRONAUGH                        PHOTOGRAPHY                    5355 SARATOGA STREET                                                                  EUGENE             OR           97402
    WHITE CHARLES S                                                        27 BAY PATH LANE                                                                      ROCKLAND           MA           02370
    WHITE EARTH TRIBAL COM COLL                                            P O BOX 478                                                                           MAHNOMEN           MN           56557
    WHITE FLOUR CATERING LLC                                               108 WATER COURT                                                                       HALLOWELL          ME           04347
    WHITE HORSE PRODUCTIONS                                                3747 NE SANDY BLVD                                                                    PORTLAND           OR           97232
    WHITE HOUSE HISTORICAL ASSOC            RIGHTS & REPRODUCTIONS         740 JACKSON PLACE                                                                     WASHINGTON         DC           20006
    WHITE JOYCE RASKIN                                                     34 ROBERT STREET                                                                      BRAINTREE          MA           02184
                                            SCHOOL OF PUBLIC
    WHITE MICHAEL                           ADMINISTRATION                 UNIVERSITY OF S CALIFORNIA                                                            LOS ANGELES        CA           90089
    WHITE PINE ACADEMY                                                     510 RUSSELL ST                                                                        LESLIE             MI           49251
    WHITE PINE PRESS              ATTN DENNIS MALONEY                      PO BOX 236                                                                            BUFFALO            NY           14201
    WHITE RICHARD E                                                        5045 DANIGUS LANE                                                                     HUNTINGTOWN        MD           20639
    WHITEBIRD INC                                                          143 COUNTY ROAD                                                                       NEW LONDON         NH           03257
    WHITEBIRD INC                                                          300 COUNTY RD                                                                         NEW LONDON         NH           03257
    Whitehall Printing Company                                             4244 Corporate Square                                                                 Naples             FL           34104
    WHITMORE ARVELLA                                                       5228 W LK NOKOMIS PKWY                                                                MINNEAPOLIS        MN           55417
    WHITNEY LEE DECARLO
    FOUNDATION                                                             P O BOX 219                                                                           WINDERMERE         FL           34786
    Whittier City School District Keni Brayton Cox                         7211 S. Whittier Ave                                                                  Whittier           CA           90602
    Whitworth College             Asst. VP, Development                    300 W. Hawthorne Road                                                                 Spokane            WA           99251
    WHOLESALE MARKETING ALLIANCE
    INC                                                                    12835 E ARAPAHOE RD # T2-500                                                          CENTENNIAL         CO           80112

    WI ASSOCIATION FOR CAREER AND TECHNICAL EDUCATION                      518 POTOMAC LANE                                                 CONFERENCE MANAGER   MADISON            WI           53719
    WICHITA FALLS BOARD OF
    EDUCATION                                                              P O BOX 97533                                                                         WICHITA            TX           76307
    WICKPARTNERS INC                                                       953 OAK DRIVE                                                                         GLENCOE            IL           60022
    WICONSIN SECRETARY OF STATE   TRADEMARK RECORDS                        P O BOX 7848                                                                          MADISON            WI           53707-7848
                                                                                                                                                                 CIUDAD DE BUENOS
    WIDE EYE PICTURES                                                      MONTANESES 1951 5A                                                                    AIRES                           01428        Argentina
    Widefield School District 3             Accounts Payable               1820 Main Street                                                                      Colorado Springs   CO           80911
    WIENER ASSOCIATES PLC                                                  721 NORTH CAPITAL AVE, STE 1                                                          LANSING            MI           48906-5198
    WIESLAW SAMEK                                                          1211 CANARY ISLAND DR                                                                 WESTON             FL           33327
    WIETZMAN DAVID L                                                       PO BOX 456                                                                            COVELO             CA           95428
    WILBERTO J GONZALEZ MUNOZ               URB INTERAMERICANA             C/12 Z-36                                                                             TRUJILLO ALTO      PR           00976
    WILBON MICHAEL R                                                       10409 AUBINOE FARM DRIVE                                                              BETHESDA           MD           20814
    Wilcox, Paul
    WILD CANID SURVIVAL & RES CTR                                          P O BOX 760                                                                           EUREKA             MO           63025



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                                478 of 488                                                                                               1:26 PM
                                                      12-12171-reg           Doc 136                Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  486 Matrix
                                                                                                                          of 519
                                                                                                                        First Class Service List


               CreditorName                           CreditorNoticeName                 Address1                            Address2              Address3             City              State       Zip           Country
    Wild Rose Public School                                                4912 43rd Street                                                                   Rocky Mountain Horse   AB           T4T 1P4      Canada
    WILDAOMARIS GONZALEZ RUIZ                                              HC 57 BOX 12061                                                                    AGUADA                 PR           00602

    WILDLIFE CONSERVATION SOCIETY ATTN ERIC W SANDERSON                    2300 SOUTHERN BLVD                                                                 BRONX                  NY           10460
    WILDLIFE SOCIETY INC                                                   5410 GROSVENOR LANE STE 200                                                        BETHESDA               MD           20814

    WILDLIGHT PRESS INC                     DBA KENNAN WARD PHOTOGRAPHY PO BOX 42                                                                             SANTA CRUZ             CA           95063
    WILFREDO DALECCIO TORRES                                            HC 7 BOX 30056                                                                        JUANA DIAZ             PR           00795-9733
    WILGUS ILLUSTRATION                                                 PO BOX 971                           215 WOODLAND STREET                              DAVIDSON               NC           28036
    Wilhelmina Miller                                                   934 Hialeah Street                                                                    Rockledge              FL           32955
    WILKINS FOSTER ARTSTUFF INC             DBA JEFF FOSTER             652 B AVENUE                                                                          LAKE OSWEGO            OR           97034
    WILKINS JOAN ANDERSON                                               1 LAZY LANE, BOX 1314                                                                 HARWICH                MA           02645
    WILKINSON MARY VAIL                                                 190 FIFTH STREET                                                                      STAMFORD               CT           06905
    WILKINSON STUDIOS INC                                               1121 EAST MAIN STREET, STE 310                                                        ST CHARLES             IL           60174
    WILL HILLENBRAND                                                    808 LEXINGTON AVENUE                                                                  TERRACE PARK           OH           45174
    WILL WEATHERFORD CAMPAIGN                                           PO BOX 7339                                                                           WESLEY CHAPEL          FL           33545
    WILL WEIGLER                                                        2-1554 GLADSTONE AVENUE                                                               VICTORIA               BC           V8R 1S5      Canada
    WILLA MILLER                                                        31 LINWOOD STREET                                                                     ARLINGTON              MA           02474
    WILLAIM VAN CLIEF                                                   9738 W GREENTREE ROAD                                                                 MILWAUKEE              WI           53224
    Willard Biederstedt                                                 2810 Lazy Ct.                                                                         Lafayette              IN           47904
    WILLARD WIGAN LIMITED                                               22 THE ROPEWALK                                                                       NOTTINGHAM                          NG1 5DT      United Kingdom
    William A Burnett                                                   1990 Landmark Dr                     511                                              Indianapolis           IN           46260
    William A Gillis                                                    15 Russell St.                                                                        Marblehead             MA           01945
    William A Gray Jr                                                   30 Versailles                                                                         Newport Coast          CA           92657-1065
    WILLIAM A KOPLITZ                                                   2420 FALLS PLACE CT                                                                   FALLS CHURCH           VA           22043
    WILLIAM A MCBRIDE                                                   2786 WEST MARCUS RD                                                                   WEST VALLEY            UT           84119
    WILLIAM AND DORIS WOOTON
    TRUST                                   C/O DORIS WOOTON TRUSTEE       9560 CIRCLE R DRIVE                                                                ESCONDIDO              CA           92069
    WILLIAM ANDERSON                                                       PO BOX 108                                                                         SALEM                  WV           26426
    William Art                                                            500 WASHINGTON AV, # 4                                                             BROOKLYN               NY           11238-2321
    William Barnabee                                                       1863 Independence Court                                                            Gurnee                 IL           60031
    WILLIAM BASS                                                           2109 RIDING SPUR DRIVE                                                             ST LOUIS               MO           63146
    William Bayers                                                         28 Lincoln Street                                                                  Belmont                MA           02478
    William Berman                                                         505 Tremont St                    Unit 404                                         Boston                 MA           02116
    William Brown                                                          8807 Wild Dunes Dr.                                                                Sarasota               FL           34241
    WILLIAM BROZ                                                           125 ASH AVENUE                                                                     BATAVIA                IA           52533

    WILLIAM BURKE DAVIS III                                                3017 MAYVIEW ROAD                 ANGLEA DAVIS-GARDNER TRUSTEE                     RALEIGH                NC           27607
    William Burkemper                                                      210 W Blackhawk Est                                                                Old Monroe             MO           63369
                                            DBA WILLIAM BURLINGHAM
    WILLIAM BURLINGHAM                      PHOTOGRAPHY                    1506 DEMPSTER STREET                                                               EVANSTON               IL           60202
    WILLIAM C DAVIS                                                        P O BOX 986                                                                        BLACKSBURG             VA           24063
    WILLIAM C METCALFE                                                     9130 EAST BELLA VISTA CT                                                           FLORAL CITY            FL           34436
    William C Stouffer                                                     116 Briar Ln.                                                                      North Aurora           IL           60542
    WILLIAM CAMPBELL                                                       75 CENTRAL PARK WEST APT 14B                                                       NEW YORK               NY           10023
    WILLIAM CLARK                                                          186 FIFTH AVENUE 2ND FLOOR                                                         NEW YORK               NY           10010
    WILLIAM COLEMAN                                                        106 CENTRAL STREET                                                                 WELLESLEY              MA           02481
    WILLIAM D BOLING III                                                   742 IVORY BUSH TRAIL                                                               CAMDEN                 SC           29020
    William D Larson                                                       10852 Eclipse Lily Way                                                             Orlando                FL           32832
    WILLIAM D MOSHER                                                       456 OAK AVE                                                                        FAIRHOPE               AL           36532
    WILLIAM DERESIEWICZ                                                    4835 NE 20TH AVENUE                                                                PORTLAND               OR           97211
    WILLIAM DEVERELL                                                       1445 OAKDALE STREET                                                                PASADENA               CA           91106
    WILLIAM E FERGUSON                                                     14500 FRUITVALE AVE #6104                                                          SARATOGA               CA           95070
                                            DBA INDEPENDENT FINANCIAL
    WILLIAM E HAMM & ASSOCIATES             PARTNERS                       3030 N ROCKY POINT DR W STE 150                                                    TAMPA                  FL           33607

    WILLIAM E LOCKHART                                                     3347 NORTH EMERSON AVE, APT 25                                                     INDIANAPOLIS           IN           46218
    WILLIAM E MESKIN AND SCOTT
    ALLAN MESKIN                            DBA BLACK TIE SERVICES         4813 BENSON AVENUE                                                                 BALTIMORE              MD           21227
    William E Seng                                                         4516 Carrollton                                                                    Harrisburg             PA           17112
    William E Zwack                                                        7001 327th Avenue                                                                  Burlington             WI           53105
    William E. Robbins                                                     10 Charlie Noble Way                                                               Eastham                MA           02642
    WILLIAM F HAGERTY                                                      4362 CHICKERING LANE                                                               NASHVILLE              TN           37215
    WILLIAM FRACCARO                                                       256 ST ANDREWS DRIVE                                                               BOILINGBROOK           IL           60440
    WILLIAM FRANCIS DUFFY                                                  2220 E FAIRMOUNT AVENUE                                                            BALTIMORE              MD           21231
    William Fryer                                                          1012 Venetian Ave                                                                  Orlando                FL           32804
    WILLIAM G ANDREWS                                                      46 COLLEGE ST                                                                      BROCKPORT              NY           14420
    William Gadoury                                                        301 Shawmut Avenue                Apt 24                                           Boston                 MA           02118
    William Gavin                                                          PO Box 387                                                                         BEVERLY                MA           01915
    William Gillis                                                         15 Russell St.                                                                     Marblehead             MA           01945



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                                                       479 of 488                                                                                          1:26 PM
                                                      12-12171-reg            Doc 136                Filed 07/15/12 Exhibit
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                                                                                                               Pg Creditor
                                                                                                                   487 Matrix
                                                                                                                           of 519
                                                                                                                     First Class Service List


                 CreditorName                         CreditorNoticeName                  Address1                        Address2                         Address3                      City        State       Zip            Country
    William Gilmore                                                        45 Front St.                                                                                    Noank                CT           06340
    William Grace                                                          PO Box 3385                                                                                     Pocasset             MA           02559
    William Groetzinger                                                    1314 Central Street, Apt. 1N                                                                    Evanston             IL           60201
    William H Strough                                                      536 River Drive                                                                                 Riverside            NJ           08075
    William Habermehl                                                      7 Bellezza                                                                                      Irvine               CA           92620
    WILLIAM HARRY AHRENDT                                                  P O BOX 1300                                                                                    PINE                 AZ           85544

    WILLIAM HUBER PRODUCTIONS INC                                          93 NONANTUM STREET                                                                              NEWTON               MA           02458
    WILLIAM HUEBSCH                                                        9980 WILDFLOWER ROAD                                                                            PINE CITY            MN           55063
    William I Johnston                                                     80 Winchester Street             #1                                                             Brookline            MA           02446
    William Insko                                                          10161 Hiddenknoll Drive                                                                         Independence         KY           41051
    WILLIAM J BENNETT LLC                                                  1901 N MOORE STREET STE 201 B                                                                   ARLINGTON            VA           22209
    WILLIAM J COSTELLO                                                     PO BOX 1307                                                                                     BOWIE                MD           20718
    WILLIAM J COTTER                                                       22450 OLEAN BLVD                                                                                PORT CHARLOTTE       FL           33952
    WILLIAM J HARRIS                                                       103 CHERRY RIDGE ROAD                                                                           STATE COLLEGE        PA           16803
    William J Heckenkamp                                                   4-B Noble St.                                                                                   Newburyport          MA           01950
    WILLIAM J WALBORN                                                      14 MAPLEVIEW CT                                                                                 CINCINNATI           OH           45236
    WILLIAM J. CARROLL, JR.                                                98-1433B KAAHUMANU STREET                                                                       AIEA                 HI           96701
    William Jackson                                                        1544 BURR OAK CIR                                                                               AURORA               IL           60506
    WILLIAM JACOB                                                          5320 PASEO RIO                                                                                  SANTA BARBARA        CA           93111
    WILLIAM JACOBSON              DBA BILL JACOBSON STUDIO                 61 GREEN ST, # 4                                                                                BROOKLYN             NY           11222
    William Judkins                                                        4 Bramhall Terrace                                                                              Portland             ME           04103
    WILLIAM K DURR TRUST NO 1                                              5600 EARLIGLOW LANE                                                  ATTN JOHN K DURR TRUSTEE   HASLETT              MI           48840
    William Karjane                                                        244 Sutton Place                                                                                Cherry Hill          NJ           08034
    WILLIAM KASHATUS                                                       6 KATES GLEN                                                                                    PAOLI                PA           19301
    William Kenney                                                         303 Tyndale Dr                                                                                  Ofallon              MO           63366
    WILLIAM KIBLER                                                         2141 POST OAK CIRCLE                                                                            BUCKHOLTS            TX           77845
    WILLIAM L MANNS                                                        PO BOX 6459                                                                                     SANTA FE             NM           87502
    William L McBride                                                      432 Vicksburg St.                                                                               San Francisco        CA           94114
    WILLIAM LARRY GATZ                                                     900 NE 89TH STREET                                                                              MIAMI                FL           33138
    WILLIAM LOWERY                                                         3801 MISSION TRACE BLVD L-7                                                                     TALLAHASSEE          FL           32303
    WILLIAM LUERA                                                          89 PRINCETON ST # 2                                                                             BOSTON               MA           02128
    William M Pickering                                                    6798 E. 9th St.                                                                                 Indianapolis         IN           46219
    William Magee                                                          640 South Ave                    F-1                                                            Secane               PA           19018
    WILLIAM MANN                                                           PO BOX 505                                                                                      PROVINCETOWN         MA           02657-0505
    William Martin                                                         3 Pichowicz Road                                                                                Billerica            MA           01821
    WILLIAM MARVEL                                                         783 DAVIS HILL ROAD                                                                             SOUTH CONWAY         NH           03813
                                  MID AMERICAN NAZARENE
    WILLIAM MATTHEW SATTLEY       UNIVERSITY                               1122 W WABASH TERRACE                                                                           OLATHE               KS           66061
    William Maxwell                                                        8125 Winters Ln                                                                                 Mason                OH           45040
    William Mc Cormick                                                     1494 Beacon St.                  Apt. 3                                                         Brookline            MA           02446
    William McArdle                                                        279 Standish Street                                                                             Duxbury              MA           02332
    William McCormick                                                      2079 Live Oak Blvd                                                                              St Cloud             FL           34771
    William McCowen                                                        2149 Greenhill Cir                                                                              Fort Worth           TX           76112
    WILLIAM MCKIBBEN                                                       660 WAGON WHEEN RD                                                                              RIPTON               VT           05766
                                  DBA BENCHMARK IMAGING &
    WILLIAM MCKINLEY STUDIOS INC  DISPLAY                                  221 LIVELY BLVD                                                                                 ELK GROOVE VILLAGE   IL           60007
    WILLIAM MELVIN                                                         PO BOX 691                                                                                      QUAKERTOWN           PA           18951
    WILLIAM MORGAN                                                         1115 BIRCH HILL DRIVE                                                                           KERNERSVILLE         NC           27284
    WILLIAM MORRIS AGENCY INC                                              1325 AVENUE OF THE AMERICAS                                                                     NEW YORK             NY           10019-6011
    WILLIAM MORRIS AGENCY LLC                                              1325 AVE OF THE AMERICAS         ATTN JAY MANDEL                                                NEW YORK             NY           10019
    WILLIAM MORRIS AGENCY LLC                                              1325 AVENUE OF THE AMERICAS                                                                     NEW YORK             NY           10019
    WILLIAM MORRIS AGENCY LLC.                                             1325 AVE OF AMERICAS                                                                            NEW YORK             NY           10019
    WILLIAM MORRIS ENDEAVOR ENT
    LLC                                                                    1325 AVENUE OF THE AMERICAS                                                                     NEW YORK             NY           10019
    WILLIAM MORROW AND CO INC                                              1000 KEYSTONE INDUST PARK        ATTN LINDA GRIFFIN                  A DIV OF HARPER COLLINS    SCRANTON             PA           18512
    WILLIAM MORROW AND CO INC                                              10 EAST 53RD STREET                                                                             NEW YORK             NY           10022
    WILLIAM MUNOZ                                                          199 MEADOWLARK LANE                                                                             HAMILTON             MT           59840
    WILLIAM N THOMAS JR                                                    PO BOX 4644                                                                                     TOLEDO               OH           43610
    WILLIAM NAVIN                                                          6218 OZONA ML                                                                                   SAN ANTONIO          TX           78253-5514
                                                                           UNIV OF MANITOBA, DEPT OF
    WILLIAM NORTON                                                         GEOGRAPHY                                                                                       WINNIPEG             MB           R3T 2N2      Canada
    William Paladino                                                       1517 W Granville                                                                                Chicago              IL           60660
    William Pallucca                                                       8124 Mercier St.                                                                                Kansas City          MO           64114

    WILLIAM PATTERSON                       PATTERSON EDUCATION            3747 GRANDEWOOD BLVD, APT 522                                                                   ORLANDO              FL           32837
                                            ATTY FOR THE HEIRS OF          GARCIA LORCA 8 FRANKLIN
    WILLIAM PETER KOSMAS                    FREDERICO                      SQUARE                                                                                          LONDON                            W14 9UU      United Kingdom
    William Piercy                                                         PO Box 1228                                                                                     Harpers Ferry        WV           25425
    WILLIAM PROCTOR CAMPAIGN                                               321 MARSHSIDE DRIVE NORTH                                                                       ST AUGUSTINE         FL           32086



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    480 of 488                                                                                                        1:26 PM
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                                                                                                                       of 519
                                                                                                                       First Class Service List


                 CreditorName                         CreditorNoticeName                   Address1                         Address2              Address3            City         State       Zip               Country
    William Pugliese                                                        17525 J Street                                                                   Omaha            NE           68135
    WILLIAM R BRAND                                                         407 HENRY STREET                                                                 BELLE VERNON     PA           15012
                                                                            310 NORTH INDIAN HILL BLVD PMB
    WILLIAM R FUNK                          DBA ALPINE APERTURE             251                                                                              CLAREMONT        CA           91711
    William R Schmidt                                                       7125 West 210 th Street                                                          Faribault        MN           55021
    WILLIAM R STEVENSON                     RICH STEVENSON PHOTOGRAPHY      2 GREEN ACRES DRIVE                                                              CANDLER          NC           28715
    WILLIAM R SUPINSKI                                                      35757 N MILLER LANE                                                              QUEEN CREEK      AZ           85142
    William R. Pinkham                                                      12 Strawberry Bank                Rd. Unit 6                                     Nashua           NH           03062
    William R. Walters                                                      6701 E Edgewood                                                                  Indianapolis     IN           46237
    William Rader                                                           8210 Bent Tree Rd                 #219                                           Austin           TX           78759

    WILLIAM RAMSEY LIVING TRUST             DBA CITY NATIONAL BANK TRUSTEE PO BOX 86379                                                                      SAN DIEGO        CA           92138-6379
    William Rhodes                                                         1090 Windsor Place Circle                                                         Grayson          GA           30017-4907
    William Riggs                                                          3016 Montclair Place                                                              Denton           TX           76209-4824
    William Robbins                                                        10 Charlie Noble Way                                                              Eastham          MA           02642-3430
    William Sampsell                                                       136 Golf Club Lane                                                                Grove City       PA           16127
    William Sampsell                                                       503 Hunt Club Dr                                                                  Greensburg       PA           15601
    WILLIAM SCHMIDT                                                        7125 W 210TH STREET                                                               FARIBAUIT        MN           55021
    WILLIAM SETH PORTLOCK III                                              23195 MT CLOUD RD                                                                 BOWLING GREEN    VA           22427
    William Setten                                                         11215 Champagne Point Rd. NE                                                      Kirkland         WA           98034
                                                                                                              BROTHER LIVINGTEL APT 507
    WILLIAM SHIN PACKARD                                                    DONGSOMUN-DONG 75-2 BUNJI         SUNGBUK-GU                                     SEOUL                         136-034      South Korea
    WILLIAM SPEISER                                                         306 BUSHY HILL RD                                                                SIMSBURY         CT           06070
    William Stanfill                                                        7892 S. Windermere Circle                                                        Littleton        CO           80120
    WILLIAM STANLEY JORDAN                  DBA INDUSTRIAL SOURCE           704 SUMMIT RIDGE                                                                 LEWISVILLE       TX           75077
    WILLIAM STRONG                                                          947 SUMAC                                                                        LOGAN            UT           84321
    William Strough                                                         536 River Drive                                                                  Riverside        NJ           08075
    William T King                                                          26 Carmina Drive                                                                 Sinking Spring   PA           19608
    William Tangorra                                                        12 Perkins St.                                                                   Amesbury         MA           01913
    William Trapp                                                           394 Longvalley Lane                                                              Dekalb           IL           60115
    William Valeff Jr                                                       5445 W. Gale St. Apt. 3-N                                                        Chicago          IL           60630
    WILLIAM WAHLGREN                                                        2102 APRICOT GLEN DRIVE                                                          AUSTIN           TX           78746
    William Ward                                                            3755 Dunwoody Club Drive                                                         Dunwoody         GA           30350
    WILLIAM WEAVER                                                          1325 AVE OF THE AMERICAS                                                         NEW YORK         NY           10019
    William Weiler                                                          1 Sparrow Way                                                                    Plymouth         MA           02360
    William Weisberger                                                      1747 Garrison Dr.                                                                Frisco           TX           75034
    WILLIAM WIESNER                                                         30 FIFTH AVE                                                                     NEW YORK         NY           10011
    William Wisneski                                                        1107 Horseneck Road                                                              Westport         MA           02790
    William Y McCauslen                                                     1846 Bluebonnet Lane                                                             Kingsland        TX           78639
    William Zwack                                                           7001 327th Avenue                                                                Burlington       WI           53105
    WILLIAMETTE STORE                                                       900 STATE STREET                                                                 SALEM            OR           97301

    WILLIAMS ANDREA D                                                       355 BLACKSTONE BOULEVARD #235                                                    PROVIDENCE       RI           02906
    WILLIAMS DIANNE                                                         2820 N. CENTRAL AVENUE                                                           TAMPA            FL           33602
    WILLIAMS KAREN LYNN                                                     P O BOX 1932                                                                     CHINLE           AZ           86503
    WILLIAMS SUZANNE                                                        17307 160TH AVE. SE                                                              RENTON           WA           98058-9149
    WILLIAMSBURG LOCAL SCH
    DISTRICT                                WILLIAMSBURG MS/HS              549 W MAIN STREET                                                                WILLIAMSBURG     OH           45176
    WILLIAMSBURG LOCAL SCH
    DISTRICT                                WILLIAMSBURG ELEMENTARY         549 W MAIN STREET                                                                WILLIAMSBURG     OH           45176
    WILLIAMSON JAMES                                                        2419 SOUTH HILLS DR                                                              MISSOULA         MT           59803
    WILLIAMSON RAY A                                                        2135 WOODBOX LANE UNIT A                                                         BALTIMORE        MD           21209
    WILLIAMSON SHERI                                                        108 MILL RD                                                                      BISBEE           AZ           85603
    WILLIS C PRACHT                                                         1605 PIONEER ROAD                                                                GARDEN CITY      KS           67846
    WILLIS G MILLER JR                                                      1565 WAGONWHEEL RD                                                               MIDLOTHIAN       VA           23113
    WILLIS PATRICIA                                                         2649 NOTRE DAME ST                                                               CANTON           OH           44721
    WILLOWBROOK HOLIDAY INN                                                 7800 S KINGERY HIGHWAY                                                           WILLIOWBROOK     IL           60527
    WILLY LINDWER                                                           19 REUVEN SHARI STREET                                                           JERUSALEM        Jerusalem    97246        Israel
    WILMA CRESPO DUPREY                                                     117 DOMENECH STREET                                                              SAN JUAN         PR           00926
    Wilma Davidson                                                          174 Guana Court                                                                  Fort Meyers      FL           33912
    WILMA FERRER                                                            228 TOWERING PINES DRIVE                                                         LAKELAND         FL           33813
                                                                            COLINAS METRO C/LOS PICACHOS E-
    WILMARIE CAMACHO PEREZ                                                  18                                                                               GUAYNABO         PR           00969
    WILMARIE PEREIRA OCEVEDO       CONDE TORRES DE TORIO                    CALLE GOYCO ESQ TROCHE                                                           CAGUAS           PR           00725
    WILMER CUTLER PICKERING HALE &
    DORR LLP                       DBA WILMERHALE                           P O BOX 7247-8760                                                                PHILADELPHIA     PA           19170-8760
    WilmerHale
    WILMINGTON TRUST FSB                                                    P O BOX 8655                      FEES AND PAYMENTS UNIT                         WILMINGTON       DE           19899-8955
    WILMINGTON UNIVERSITY INC                                               320 N DUPONT HIGHWAY                                                             NEW CASTLE       DE           19720
    WILNELIA BUFFIT TORRES                                                  PASEO DEL PRINCIPE # 412                                                         PONCE            PR           00716



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                      481 of 488                                                                                      1:26 PM
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                                                                                                                                 of 519
                                                                                                                              First Class Service List


                CreditorName                          CreditorNoticeName                          Address1                         Address2                         Address3                        City        State       Zip           Country
    Wilonda M Ieans                                                                 403 Olympic Dr                                                                                     Pflugerville        TX           78660
    WILSON ALAN LLC                                                                 199 SUDBURY ROAD                                                                                   CONCORD             MA           01742
    WILSON EDUCATION CENTER                 ATTN LINDA MULLINS                      2101 GRACE AVENUE                                                                                  CHARLESTOWN         IN           47111-1239
    Wilson Elementary                                                               801 W Wilson St                                                                                    Costa Mesa          CA           92627
    WILSON JASON                                                                    427 HOPKINS LN                                                                                     HADDONFIELD         NJ           08033
    WILSON LOGISTICS INC                    DBA VALUE ADDED RESOURCES               8460 BEARING DRIVE STE 100                                                                         INDIANAPOLIS        IN           46268
    WILSON LOUIS                                                                    9 NASH HILL PLACE                                                                                  WILLIAMSBURG        MA           01096
    WILSON MICHAEL J                                                                C2 CARVER PL                                                                                       LAWRENCEVILLE       NJ           08648-1419
    WILSON SCHOOL DISTRICT                                                          2601 GRANDVIEW BLVD                                                                                WEST LAWN           PA           19609-1324
    WILSON TECH COMMUNITY
    COLLEGE                                 BOOKSTORE                               902 HERRING AVE                                                                                    WILSON              NC           27893
    WILSON VELEZ MONTES                     DBA TROFICENTRO YARIS                   CALLE 2 NO 2 URB VILLA ROSA I                                                                      GUAYAMA             PR           00784
    Wilson, Laura
    WILTON PUBLIC SCHOOLS                                                           P O BOX 277                        ATTN ROSE ANDERSON-THORNE                                       WILTON              CT           06897
    Win Alison Lee                                                                  815 Sunfish                                                                                        Austin              TX           78734
    Window King                                                                     PO Box 14                                                                                          Castle Rock         CO           80104
    WINDOWS BOOKSELLER                                                              198 W 8TH AVENUE # 1                                                                               EUGENE              OR           97401
    WINDSTREAM CORPORATION                                                          P O BOX 9001908                                                                                    LOUISVILLE          KY           40290-1908
    WINDY CITY LIMOUSINE COMPANY
    LLC                                                                             9377 W GRAND AVE STE 200                                                                           FRANKLIN PARK       IL           60131
    WINIKER ORCHESTRA                                                               45 LONGWOOD AVE, STE 108                                                                           BROOKLINE           MA           02446

    WINN SOLUTIONS LLC                                                              2835 CAMINO DEL RIO SOUTH, # 210                                                                   SAN DIEGO           CA           92108
    Winnepeg School Division                                                        573 Laxdal Road                                                                                    Winnipeg            MB           R3R 0W7      Canada
    WINNIE KELLY                                                                    9823 HAVERHILL DRIVE                                                 DBA WINNIE KELLY ASSOCIATES   KENSINGTON          MD           20895
    WINOGRAD DEBRA FORMAN                                                           26 RICHMOND AVE                                                                                    LEXINGTON           KY           40502
    WINOGRAD PETER N                                                                1154 LAUREL LOOP NE                                                                                ALBUQUERQUE         NM           87122
    WINONA GRAY                                                                     RT 1 BOX 1294                                                                                      WATTS               OK           74964
    WINSHUTTLE LLC                                                                  20021 120TH AVE NE STE 101                                                                         BOTHELL             WA           98011
    Winslow Lampley                                                                 11623 Mcrae                                                                                        Dallas              TX           75228
    WINTER LAUREL                                                                   2708 57TH ST NW                                                                                    ROCHESTER           MN           55901

    WINTER PARK BLUEPRINT CO INC            A DIV OF THOMAS REPROGRAPHICS PO BOX 940959                                                                                                MAITLAND            FL           32794
    WIRE PRODUCTS CORPORATION                                             1319 WEST LEE STREET                                                                                         GREENSBORO          NC           27403
    WIRED COMMUTE                                                         P O BOX 1853                                                                                                 ALPHARETTA          GA           30023

    WIRELESS GENERATION                                                             55 WASHINGTON STREET SUITE 900                                                                     BROOKLYN            NY           11201
    WIRELESS USA                                                                    P O BOX 775582                                                                                     ST LOUIS            MO           63177

    WISCASSET SCHOOL DEPARTMENT                                                     69 AUGUSTA RD                                                                                      WHITEFILED          ME           04353-3232
    WISCONSIN ASSN FOR LANGUAGE
    TEACHERS                                                                        2121 EMMERS DR                                                                                     APPLETON            WI           54915
    WISCONSIN ASSN OF SCHOOL DIST
    ADMINS                                                                          4797 HAYES RD STE 201                                                                              MADISON             WI           53704
    WISCONSIN ASSOCIATION FOR
    MIDDLE                                  LEVEL EDUCATION                         N109 W 16311 HAWTHORNE DR          ATTN KATHY KUPFER                                               GERMANTOWN          WI           53022-5546
    WISCONSIN ASSOCIATION FOR               AND CURRICULUM DEVELOPMENT
    SUPERVISION                             INC                                     210 GREEN BAY ROAD                                                                                 THIENSVILLE         WI           53092
    WISCONSIN CENTER FOR EDUC
    RESEARCH                                                                        1025 WEST JOHNSON STREET           ATTN GWEN GOPLIN - ROOM 242 F                                   MADISON             WI           53706
    WISCONSIN COUNCIL FOR THE
    SOCIAL STUDIES                                                                  10741 145TH STREET                                                                                 CHIPPEWA FALLS      WI           54729
    WISCONSIN COUNCIL OF TEACHERS
    OF ENG                                  ATTN MARTI MATYSKA                      5055 COUNTY HWY V                                                                                  CECIL               WI           54111
    WISCONSIN DEPT OF FINANCIAL             FOREIGN CORPORATION ANNUAL
    INSTITU                                 REPORT                                  DRAWER 978                                                                                         MILWAUKEE           WI           53293
    WISCONSIN DEPT OF REVENUE                                                       BOX 930389                                                                                         MILWAUKEE           WI           53293-0389
    Wisconsin Dept of Revenue                                                       PO Box 8901                                                                                        Madison             WI           53708-8901
    WISCONSIN DEPT OF REVENUE                                                       P O BOX 8908                                                                                       MADISON             WI           53708-8908
    WISCONSIN DEPT OF REVENUE                                                       PO BOX 930208                                                                                      MILWAUKEE           WI           53293
    Wisconsin Dept. of Financial            Institutions - Div of Corp & Consumer   PO Box 7846                                                                                        Madison             WI           53707-7846
    Wisconsin Dept. of Revenue                                                      PO Box 930208                                                                                      Milwaukee           WI           53293-0208

    WISCONSIN EDUC ASSOC COUNCIL ATTN DIANNE HELLENBRAND                            P O BOX 8003                                                                                       MADISON             WI           53708

    WISCONSIN ENGLISH CONFERENCE                                                    1313 HAMMONS DRIVE                                                                                 MIDDLETON           WI           53562
    WISCONSIN EVANGELICAL
    LUTHERAN SYNOD               CLS LEADERSHIP CONFERENCE                          2929 N MAYFAIR RD                                                                                  MILWAUKEE           WI           53201
    WISCONSIN LUTHERAN STATE
    TEACHERS                     CONFERENCE                                         3835 N 79TH STREET                                                                                 MILWAUKEE           WI           53222



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                 7/15/2012
Case No. 12-12171 (REG)                                                                                                             482 of 488                                                                                                        1:26 PM
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                                                                                                                         490 Matrix
                                                                                                                                 of 519
                                                                                                                                    First Class Service List


             CreditorName                             CreditorNoticeName                        Address1                                 Address2                            Address3                City        State       Zip               Country
    WISCONSIN LUTHERAN STATE
    TEACHERS                                ATTN KRIS SNYDER                      3835 N 79TH STREET                                                                                    MILWAUKEE           WI           53222
                                                                                  W175N11117 STONEWOOD DR STE
    WISCONSIN MATHEMATICS COUNCIL                                                 204                                                                                                   GERMANTOWN          WI           53022
    WISCONSIN SOCIETY OF SCIENCE
    TEACHERS                      ATTN DAN TOOMEY                                 829 EDGEWOOD COLLEGE DR                                                                               MADISON             WI           53711

    WISCONSIN STATE READING ASSOC           ATTN KATHERINE LIDDELL                1809 COVERED BRIDGE RD                                                                                CEDARBURG           WI           53012
    WISCONSIN STATE READING
    ASSOCIATION                             ATTN KATHERINE LIDDELL                1809 COVERED BRIDGE RD                                                                                CEDARBURG           WI           53012
    WISCONSIN TITLE 1 ASSOC                 ATTN COLLEEN KONICEK                  11484 CAGLE RD                                                                                        ARBOR VITAE         WI           54568
    WISE COMPONENTS INC                     DBA DATACOMTOOLS.COM                  P O BOX 1941                                                                                          BRATTLEBORO         VT           05302-1941
    WISEMAN CHARLES                                                               5 STINSON ROAD                                                                                        ANDOVER             MA           01810
                                                                                                                                                               BUKOWSKI I WSPOLNICY
    WISLAWA SZYMBORSKA                                                            UL URZEDNICZA 20/5                    MAREK BUKOWSKI                         KANCELARIA PRAWNA        KRAKOW                           30-051       Poland
    WISLAWA SZYMBORSKA                                                            UL URZEDNICZA 20/5                    MAREK BUKOWSKI                                                  KRAKOW                           30-051       Poland
    WITHERSPOON ASSOCIATES                  c/o INKWELL MANAGEMENT                521 FIFTH AVE - SUITE 2600                                                                            NEW YORK            NY           10175
    WITTE MUSEUM                                                                  3801 BROADWAY                                                                                         SAN ANTONIO         TX           78209
    WITTER BYNNER FNDTION FOR
    POETRY INC                                                                    P O BOX 10169                                                                                         SANTA FE            NM           87504
    WIXSON KAREN                                                                  5201 BODIE LANE                                                                                       GREENSBORO          NC           27455
    WizBang Solutions Inc.                                                        6747 E. 50th Ave                                                                                      Commerce City       CO           80022

    WJS LLC                                 DBA THE STROTHMAN AGENCY LLC 6 BEACON ST, SUITE 810                                                                                         BOSTON              MA           02108
    WKT COMPANY LTD                         3/F BLOCK 1, LEADER IND CTR  188-202 TEXACO RD                                                                     TSUEN WAN                New Territories                               Hong Kong
    WL-MARSHALL CAVENDISH
    INTERNATION                             (SINGAPORE) PRIVATE LIMITED (HQ) 1 NEW INDUSTRIAL ROAD                                                                                      SINGAPORE                        536196       Singapore
    WL-PEARSON NEW ZEALAND
    LIMITED-NORTH                           SHORE CITY (HQ)                       67 APOLLO DRIVE                                                                                       NORTH SHORE CITY    Auckland     00632        New Zealand
    WL-WILLIAMS LEA INC                                                           500 W MADISON ST STE 650                                                                              CHICAGO             IL           60661-4524
    WL-Williams Lea Inc.                    Matt Alcorn                           1 Dag Hammarskjold Plaza              8th Floor                                                       New York            NY           10017
    WM COLUMBUS HOTEL LLC                   DBA WESTIN COLUMBUS                   310 SOUTH HIGH STREET                                                                                 COLUMBUS            OH           43215
    WM HOEST ENTERPRISERS, INC.                                                   27 WATCH WAY                                                                                          LLOYD NECK          NY           11743-9707
    WM HORN STRUCTURAL STEEL CO                                                   P O BOX 106                                                                                           GENEVA              IL           60134
    WM LAMPTRACKER INC                                                            P O BOX 932962                                                                                        ATLANTA             GA           31193-2962
                                                                                  W175 N11117 STONEWOOD DRIVE
    WMC                                     ATTN JANE WUCHERER                    SUITE 204                                                                                             GERMANTOWN          WI           53022
                                            DBA DOUBLETREE BY HILTON
    WMK PORTLAND LLC                        PORTLAND                              1000 NE MULTNOMAH STREET                                                                              PORTLAND            OR           97232
    WNET.ORG                                THIRTEEN/WNET                         450 WEST 33RD STREET                  ATTN JOE BASILE                                                 NEW YORK            NY           10001
    WNYC RADIO                                                                    160 VARRICK STREET                                                                                    NEW YORK            NY           10011
                                            DBA BRICK HOUSE LITERARY
    WOFFORD-GIRAND SALLY                    AGENTS                                80 FIFTH AVENUE SUITE 1101                                                                            NEW YORK            NY           10011
    WOHNOUTKA MIKE                                                                4231 19TH AVENUE SOUTH                                                                                MINNEAPOLIS         MN           55407
    Wolf Creek Public Schools                                                     6000 Highway 2A                                                                                       Ponoka              AB           T4J 1P6      Canada
    WOLF GREENFIELD & SAKCS PC                                                    600 ATLANTIC AVENUE                                                                                   BOSTON              MA           02210
    WOLF SHELBY                                                                   13456 VIA VARRA RD UNIT 313                                                                           BROOMFIELD          CO           80020-9711
    WOLFF FERIDA                                                                  21 CANDLEWYCK WAY                                                                                     CHERRY HILL         NJ           08003
    WOLFGANG KAEHLER
    PHOTGRAPHY                                                                    13641 NE 42ND ST                                                                                      BELLEVUE            WA           98005
    WOLOCH NANCY                                                                  180 WEST END AVE APT 15F                                                                              NEW YORK            NY           10023
    Womens Bean Project                                                           3201 Curtis St.                                                                                       Denver              CO           80205
    Womens Crisis and                       Family Outreach Center                PO Box 367                                                                                            Castle Rock         CO           80104
    WONDERLIC INC                                                                 400 LAKEVIEW PKWY STE 200                                                                             VERNON HILLS        IL           60061
    WONG HERBERT YEE                                                              6591 GRANGER COURT                                                                                    TROY                MI           48098
    Wong Partnership
    WONG PARTNERSHIP LLP                                                          ONE GEORGE STREET # 20-01                                                                             SINGAPORE                        49145        Singapore
    WOOD DALE SCHOOL DISTRICT 7                                                   543 WOODDALE RD                                                                                       WOOD DALE           IL           60191
    WOOD ETHEL                                                                    1700 HILL ROAD                                                                                        READING             PA           19602
                                            RE Larson Texts, Inc. and Ronald E.   Glenn D. Bellamy, Esq. & Stephen E.
    Wood, Herron & Evans LLP                Larson, Plaintiffs                    Gillen, Esq.                          2700 Carew Tower                       441 Vine Street          Cincinnati          OH           45202-2917
                                            ATTN ALBERT G BENNEYWORTH
    WOODCOCK-MUNOZ FOUNDATION               CPA                                   P O BOX 58474                                                                                         NASHVILLE           TN           37205-8474
    Woodfield Suites                                                              9009 East Arapahoe Road                                                                               Englewood           CO           80112
    WOODFIN CAMP AND ASSOCIATES
    INC                                                                           115 ST FELIX STREET                                                                                   NEW YORK            NY           11217
    WOODHAVEN BROWNSTOWN SCH
    DIST                                                                          24821 HALL ROAD                                                                                       BROWNSTOWN          MI           48183

    WOODLAND CULTURE CENTRE                                                       184 MOHAWK STREET, P O BOX 1506                                                                       BRANTFORD           ON           N3T 5V6      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                                                                   483 of 488                                                                                                       1:26 PM
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                                                                                                                       of 519
                                                                                                                     First Class Service List


               CreditorName                           CreditorNoticeName              Address1                            Address2              Address3              City          State       Zip            Country
    Woodlands Commercial Bank

    WOODPEZ ENVIRONMETAL LLC                DBA BROWNIES WATER SOLUTIONS 10445 GENERAL DRIVE                                                               ORLANDO             FL           32824
    WOODPLAY OF TAMPA BAY INC                                            7601 EHRLICH RD                                                                   TAMPA               FL           33625
    WOODROW PRICE III                                                    201 BERRYMAN RD APT 9                                                             VICKSBURG           MS           39180
    WOODRUFF WILLARD                                                     63 PLEASANT STREET                                                                HARWICH PORT        MA           02646
    WOODS HOLE OCEANOGRAPHIC
    INSTITUTION                                                            MEDIA RELATIONS MS # 5            ATTN ERIN KOENIG                              WOODS HOLE          MA           02543
                                            DBA AYSLING DIGITAL MEDIA
    WOODWING SOLUTIONS LLC                  SOLUTIONS                      230 HURONVIEW BLVD                                                              ANN ARBOR           MI           48103
    WOODY JACKSON                                                          1301 CIDER MILL ROAD                                                            CORNWALL            VT           05753
    WOODY OF LONDON BRIDGE                                                 31 CLERKENWELL CLOSE              #321 CLERKENWELL WORKSHOP                     LONDON OAT                       0EC1R        United Kingdom
    WOOLDRIDGE CONNIE NORHIELM                                             1831 SOUTH B STREET                                                             RICHMOND            IN           47374
    WORD FINDING MATERIALS                                                 5840 TEAL LANE                                                                  LONG GROVE          IL           60047
    WORDCO INDEXING SERVICES INC                                           49 CHURCH STREET                                                                NORWICH             CT           06360
    WORDS & NUMBERS INC                                                    2050 ROCKROSE AVE                                                               BALTIMORE           MD           21211-1329
    WORDS & PICTURES LLC                                                   14737 BASINGSTOKE LOOP                                                          CENTREVILLE         VA           20120

    WORDS OF WISDOM                                                        5550 PRAIRIE STONE PKWY STE 400                                                 HOFFMAN EST         IL           60192-3713
    WORDSTOCK INC                                                          37 BROADWAY                                                                     ARLINGTON           MA           02474
    WORDWISE INC                                                           ONE BRADY LANE                                                                  KATONAH             NY           10536-2503
    WORK TO PLAY                                                           297-101 KINDERKAMACK RD, # 124                                                  ORADELL             NJ           07649
                                                                           1600 E CENTURY AVE STE 1 BOX
    WORKFORCE SAFETY & INSURANCE                                           5585                                                                            BISMARCK            ND           58503-5585
                                  DBA ALONQUIN BOOKS OF CHAPEL
    WORKMAN PUBLISHING CO INC     HILL                          225 VARIEK STREET                            ATTN JIWON CHOI                               NEW YORK            NY           10014
                                  INDIANA UNIV HEALTH WORKPLACE
    WORKPLACE HEALTH SERVICES LLC SRVCS                         2046 RILIABLE PARKWAY                                                                      CHICAGO             IL           60686-0020
    WORLD ALMANAC EDUCATION
    GROUP                                                       512 SEVENTH AVENUE, 21ST FL                                                                NEW YORK            NY           10018
    WORLD BOOK INC                                              P O BOX 856009                                                                             LOUISVILLE          KY           40285-6009
    WORLD BOOK NIGHT US INC                                     71 5TH AVENUE                                                                              NEW YORK            NY           10022
    WORLD BOOK PUBLISHING         233 NORTH MICHIGAN AVE        SUITE 2000                                                                                 CHICAGO             IL           60601-5805
    WORLD CONSERVATION
    MONITORING CENTRE                                           219C HUNTINGDON RD                                                                         CAMBRIDGE                        CB3 ODL      United Kingdom
                                  NATIONAL COLLEGE TRANSITION
    WORLD EDUCATION INC           NETWORK                       44 FRANSWORTH STREET                                                                       BOSTON              MA           02210
    WORLD PICTURE NETWORK LLC                                   141 E 88TH ST # 11B                                                                        NEW YORK            NY           10128-2248
    World Vision Matching Program MailStop #120                 PO Box 9716                                                                                Federal Way         WA           98063-9716
    WorldCom                                                    PO Box 96023                                                                               Charlotte           NC           28296-0023
    WORLDSAT INTERNATIONAL INC                                  1110 HIGHLAND PLACE                                                                        WEST VANCOUVER      BC           V7S 2H5      Canada
    WORLDWIDE INTERACTIVE
    NETWORK INC (WIN)                                           1000 WATERFORD PLACE                         ATTN MELANIE HANSEN                           KINGSTON            TN           37763
    WORLDWIDE TELECOM SOLUTIONS
    INC                                                         8712 HILLSWICK TRAIL                                                                       BROOKLYN            MN           55443
    WORMELL MARY                  2 HOWFORD COTTAGES            ETTRICK BRIDGE                                                                             SEIKIRK             Southend     TD7 5HA      United Kingdom
    Wormser Keily Galef
    WORMSER KIELY GALEF & JACOBS
    LLP                                                         825 THIRD AVE                                                                              NEW YORK            NY           10022-9509
    WORZALLA PUBLISHING CO                                      3535 JEFFERSON STREET                                                                      STEVENS POINT       WI           54481-4374
    WOVEN PIXELS LLC                                            644 CHALK POND ROAD                                                                        NEWBURY             NH           03255
    WRESA                         ATTN CAROL BENNETT            1459 SAND HILL ROAD                                                                        CANDLER             NC           28715
    WRESA SUMMER LEADERSHIP       ATTN EXHIBITOR REGISTRATION   P O BOX 1709                                                                               ENKA                NC           28728
    WRIGHT ALMA E                                               44 WAUMBECK ST                                                                             DORCHESTER          MA           02121
    WRIGHT AMY BARTLETT                                         39 MASSACHUSETTS BLVD                                                                      PORTSMOUTH          RI           02871
    WRIGHT DAVID G                                              2548 NORTH 1060 EAST                                                                       PROVO               UT           84604
    WRIGHT EDGAR N                                              438 KING STREET WEST UNIT 1708                                                             TORONTO             ON           M5V 3T9      Canada
    WRIGHT JESSICA ELIZABETH                                    3009 LOCKE LANE                                                                            AUSTIN              TX           78704
    WRIGHT PACKAGING LLC                                        PO BOX 434                                                                                 WRIGHT CITY         MO           63390
    WRIGHT RICK                                                 40 DEWEY AVENUE                                                                            LITTLE FALLS        NJ           07424
    WRIGHT SANDRA                                               301 SURREY LANE                                                                            LAKE FOREST         IL           60045
    WRIGHT THOMPSON                                             1729 GRAND BLVD                                                                            KANSAS CITY         MO           64108
    WRIGHTS MEDIA LLC             WRIGHTS REPRINTS LLC          2407 TIMBERLOCH PLACE SUITE B                                                              THE WOODLANDS       TX           77380
    Wrike, Inc.                                                 28348 Roadside Drive                         Suite 201                                     Agoura Hills        CA           91301
    WRISTIES INC                                                PO BOX 377                                                                                 ROLLINSFORD         NH           03869
    WRITE EDUCATIONAL RESOURCES
    INC                                                         542 BRISTOL LANE                                                                           ELK GROVE VILLAGE   IL           60007
    WRITE GUY LLC                                               231 CARNAHAN                                                                               SAN ANTONIO         TX           78209
    WRITERS AND POETS.COM LLC                                   1625 NOTTINGHAM WAY                                                                        MOUNTAINSIDE        NJ           07092
    WRITERS HOUSE                                               21 WEST 26TH STREET                                                                        NEW YORK            NY           10010



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                                                    484 of 488                                                                                       1:26 PM
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                                                                                                                      of 519
                                                                                                                     First Class Service List


             CreditorName                             CreditorNoticeName               Address1                          Address2                Address3               City        State       Zip              Country
    WRITERS HOUSE INC                                                      21 WEST 26TH STREET                ATTN STEVEN MALK                              NEW YORK           NY           10010
    WRITERS HOUSE INC                                                      21 WEST 26TH STREET                                                              NEW YORK           NY           10010
    WRITERS HOUSE LLC                                                      21 W 26 STREET                                                                   NEW YORK           NY           10010-1083
    WRITERS HOUSE LLC                                                      21 WEST 26TH STREET                ATTN STEVEN MALK                              NEW YORK           NY           10010
    WRITERS HOUSE LLC                                                      21 WEST 26TH ST                                                                  NEW YORK           NY           10010
    WRITERS LEAGUE OF TEXAS                                                611 S CONGRESS AVE, STE 130                                                      AUSTIN             TX           78704
    WRITERS REPRESENTATIVES LLC             ATTN GLEN HARTLEY              116 WEST 14TH ST - 11TH FLR                                                      NEW YORK           NY           10011-7305
    WRITERS REPRESENTATIVES LLC                                            116 WEST 14TH ST 11TH FL           ATTN GLEN HARTLEY                             NEW YORK           NY           10011-7305
    WSTA WORD CONFERENCE                                                   SMEEC PO BOX 644237                                                              PULLMAN            WA           99164

    WVAEA INC                                                              501 22ND STREET                    ATTN CHRISTINA HARPER - RESA III              DUNBAR             WV           25064
    WW GAY MECHANICAL
    CONTRACTOR OF                           ORLANDO INC                    3220 W 39TH STREET                                                               ORLANDO            FL           32839
    WW NORTON & COMPANY INC                 PERMISSIONS DEPT               500 FIFTH AVENUE                                                                 NEW YORK           NY           10110-0017
    WWEC                                                                   2020 21ST TERRACE                                                                LA CROSSE          WI           54601
    WYATT LANDESMANN                        DBA ARBOR                      726 46TH AVENUE                                                                  SAN FRANCISCO      CA           94121
    WYATT MCSPADDEN                         DBA MCSPADDEN PHOTOGRAPHY      1710 ROMERIA DR                                                                  AUSTIN             TX           78765
    WYLIE AGENCY                                                           250 WEST 57TH STREET #2114                                                       NEW YORK           NY           10107
    WYLIE AGENCY (UK) LTD                                                  17 BEDFORD SQUARE                                                                LONDON                          WC1B 3JA     United Kingdom

    WYLIE AGENCY INC                                                       250 WEST 57TH STREET, SUITE 2114                                                 NEW YORK           NY           10107-2114
    WYLIE AGENCY LLC                                                       250 WEST 57TH ST, STE 2114                                                       NEW YORK           NY           10107
    Wyndham Denver Tech Center                                             7675 E. Union Ave                                                                Denver             CO           80237
    Wyndham Emerald Plaza Hotel                                            400 West Broadway                                                                San Diego          CA           92101

    WYNDHAM NASSAU RESORTS                                                 P O BOX N-8306 WEST BAY STREET                                                   NASSAU                                       Bahamas
    Wyndham Orlando Resort                                                 8001 International Drive                                                         Orlando            FL           35819
    WYNFREY LLC                             THE WYNFREY HOTEL              1000 RIVERCHASE GALLERIA                                                         BIRMINGHAM         AL           35244
    WYNNE HARLEN                                                           HAYMOUNT COACH HOUSE                                                             BRIDGEND           DUNS         TD11 3DJ     United Kingdom
    WYNNE RESIDENTIAL CORPORATE
    HOUSING                                                                P O BOX 11083                                                                    RICHMOND           VA           23230
    WYOMING ASSOC OF ELEM &
    MIDDLE SCH                              PRINCIPALS                     1700 MEADOW LANE                   ATTN DAVE OLSEN                               GILLETTE           WY           82718
    Wyoming Department of Revenue           Excise Tax Divison             122 W. 25th St.                    Herschler Bldg                                Cheyenne           WY           82002-0110
    Wyoming Dept of Revenue                                                122 W 25th St                                                                    Cheyenne           WY           82002
    Wyoming Public Radio                    Dept. 3984                     1000 E University Ave                                                            Laramie            WY           82071
    Wyoming Secretary of State                                             200 W. 24th St.                                                                  Cheyenne           WY           82002-0020
    WYOMING SECRETARY OF STATE                                             200 WEST 24TH ST - RM 110                                                        CHEYENNE           WY           82002
                                            WYOMING COMMISSION COLLEGE
    WYOMING STATE GOVERNMENT                COMMISSION                     2020 CAREY AVENUE 8TH FLOOR                                                      CHEYENNE           WY           82002
    XAVIER DAUGE-DURIEUX                    DBA KITESURFING PANAMA         PUNTA PRIETA                                                                     CORONADO                                     Panama
    Xcel Energy                                                            PO Box 9477                                                                      Minnepolis         MN           55484-9477
    XERCEO INC                                                             41 OSGOOD PLACE STE 201                                                          SAN FRANCISCO      CA           94133
    Xerox Corporation                       Attn Vanessa Adams             1301 Ridgeview Drive - 450                                                       Lewisville         TX           75057
    XEROX CORPORATION                                                      P O BOX 650361                                                                   DALLAS             TX           75265-0361
    XEROX CORPORATION                                                      P O BOX 660512                                                                   DALLAS             TX           75266-0512
    XEROX CORPORATION                                                      P O BOX 802555                                                                   CHICAGO            IL           60680-2555
    XEROX CORPORATION                                                      PO BOX 827598                                                                    PHILADELPHIA       PA           19182-7598
    XEROX CORPORATION                                                      P O BOX 829166                                                                   PHILADELPHIA       PA           19182-9166
    XETERA INC                                                             13846 119TH AVE N E                                                              KIRKLAND           WA           98034-2156
    XIMENA ANGULO ROELLI TST                                               6654 CAVIGLIANO                                                                  TI                                           Switzerland
                                                                           CASILLA 16513, CORREO 9
    XIMENA BUNSTER                                                         PROVIDENCIA                                                                      SANTIAGO                                     Chile
    XIOTECH CORPORATION                                                    6455 FLYING CLOUD DRIVE                                                          EDEN PRAIRIE       MN           55344-3305
    XL Insurance Anmerica, Inc.                                            470 Atlantic Avenue                                                              Boston             MA           02210
    XNR PRODUCTIONS INC                                                    931 EAST MAIN STREET SUITE 10                                                    MADISON            WI           53703

    XO COMMUNICATIONS                                                      14239 COLLECTIONS CENTER DRIVE                                                   CHICAGO            IL           60693
    Xpedx MTN - STR#561                                                    1985 South Havana Street                                                         Aurora             CO           80014
    Xpresshred LLC                                                         2707 West Mansfield Avenue                                                       Englewood          CO           80110
    XPRESSMAN COURIER                       DBA RELIABLE COURIER           69 TEED DRIVE                                                                    RANDOLPH           MA           02368
    Xylem CCI                                                              2330 Broadway                  Suite 104                                         Denver             CO           80205
    Ya Ingraham                                                            4 Sheridan Road                                                                  Bedford            MA           01730
    YAJAIRA RIVERA                                                         1121 SMITHFIELD                                                                  FREDERIKSTED       VI           00840
                                            THE MACMILLAN CENTER- ATTN BUS
    YALE UNIVERSITY                         OFFICE                         P O Box 208206                                                                   NEW HAVEN          CT           06520-8206
    YALE UNIVERSITY PRESS                                                  302 TEMPLE STREET                                                                NEW HAVEN          CT           06520
    YALE UNIVERSITY PRESS                                                  P O BOX 209040                                                                   NEW HAVEN          CT           06520-9040
    YALE UNIVERSITY SCHOOL OF
    MEDICINE                                DEPT OF PEDIATRICS             333 CEDAR STREET LMP 3089                                                        NEW HAVEN          CT           06510



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                                    485 of 488                                                                                        1:26 PM
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                                                                                                            Pg Creditor
                                                                                                                493 Matrix
                                                                                                                        of 519
                                                                                                                        First Class Service List


             CreditorName                             CreditorNoticeName                Address1                               Address2                       Address3                 City        State       Zip            Country
    YANAK THEODORE T                                                       P O BOX 6023                                                                                   ALTADENA            CA           91003
    YANIRA MERCADO                                                         CALLE MONTE BELLO # 26              VILLA DEL MONTE                                            TOA ALTA            PR           00953
                                            URB MANSIONES DE MONTE CASINO
    YANITZA BARRETO GONZALEZ                II                            CALLE COROZAL # 678                                                                             TOA ALTA            PR           00953
    YANKEE BOOK PEDDLER LIBRARY
    SRVCS                                   DBA YBP LIBRARY SERVICES       PO BOX 277991                                                                                  ATLANTA             GA           30384
    YANKEE PUBLISHING CO                    DBA OLD FARMERS ALMANAC        MAIN STREET PO BOX 520                                                                         DUBLIN              NH           03444

    YANKTON SIOUX TRIBAL TAX OFFICE                                        P O BOX 1153                                                                                   WAGNER              SD           57380
    YARA WARREN                                                            4400 ALAFAYA TRAIL M/C Q1-107                                                                  ORLANDO             FL           32826
    YARISEL RIVERA MORALES                                                 URB VALLES DE YABUCOA # 504                                                                    YABUCOA             PR           00767
    Yaritza Velez Hernandez                                                2593 Aventurine St                                                                             Kissimmee           FL           34744
    YAROSLAVA MILLS                                                        3205 SE 28TH AVENUE                                                                            PORTLAND            OR           97202
    YAY DESIGN LLC                                                         53 SOUTH 4TH ST                                                                                LEWISBURG           PA           17837
                                                                           2300 HIGHLAND VILLAGE RD, STE
    YAYAS HOUSE LLC                                                        420                                                                                            HIGHLAND VILLAGE    TX           75077
    YDALINA BURGOS DE GRULLON                                              AVE JUAN PABLO DUARTE # 10                                                                     SANTIAGO                                      Dominican Republic
    YEATTS KAROL                                                           3428 GRENVILLE DRIVE                                                                           WINTER HAVEN        FL           33884
    YEE CHEE JIANG                                                         205 BEACH BREEZE PLACE                                                                         ARVERNE             NY           11692
    YEE JENN JONG                                                          22 FERNWOOD TERRACE # 04-03                                                                    SINGAPORE                        458553       Singapore
    YEE WONG HERBERT                                                       6591 GRANGER COURT                                                                             TROY                MI           48098
    Yelena Reznikova                                                       94 Middlesex Avenue                                                                            Swampscott          MA           01907
    YELLOW AND ROADWAY
    COMPANIES                               DBA YRC                        PO BOX 13573                                                                                   NEWARK              NJ           07188-3573
    YELLOW AND ROADWAY
    COMPANIES                               DBA YRC                        P O BOX 905587                                                                                 CHARLOTTE           NC           28290-5587
    YELLOW AND ROADWAY
    COMPANIES                                                              PO BOX 13573                                                                                   NEWARK              NJ           07188-3573
    YELLOW AND ROADWAY
    COMPANIES                                                              P O BOX 905587                                                                                 CHARLOTTE           NC           28290-5587
    YERKOW LILA PERL                                                       160-20 CRYDERS LANE                                                                            BEECHHURST          NY           11357
    YES PREP SCHOOL                                                        6201 BONHOMME STE 168N                                                                         HOUSTON             TX           77036
    Yesenia Avila                                                          1635 Solfisburg Ave                                                                            Aurora              IL           60505
    YETTA GOODMAN                                                          7914 S GALILEO LN                                                                              TUCSON              AZ           85747-9609
                                                                           RESIDENCIAL RV18 EDIFICIO M APT
    YODAIRA UBRI OLIVO                                                     3                                   CARRETERA DON PEDRO                 IRVTTUS3N 8033082461   SANTIAGO                                      Dominican Republic
    YOKA INC                                                               269 SOUTH BEVERLY DRIVE, # 319                                                                 BEVERLY HILLS       CA           90212

    YOKABEL DEL ROSARIO CALDERON                                           C/8 SANTUREE BO # 606                                                                          SAN JUAN            PR           00915
    Yolanda Cortez                                                         28009 Roberta Road                                                                             San Benito          TX           78586
    YOLANDA MARTINEZ                                                       444 KASSIK CIRCLE                                                                              ORLANDO             FL           32824
    YOLANDA REYES                                                          CRA 19A NO 104A-60                                                                             BOGOTA                                        Colombia
    YONAIRA HERNANDEZ TORRES                                               PORTALES DE CAROLINA # 422          62 BERNARDO GARCIA STREET                                  CAROLINA            PR           00985
    YONG SHENG XUAN                                                        5240 CEDAR GROVE CT                                                                            WEST BLOOMFIELD     MI           48322
    YONG ZHAO                                                              32769 HIDDEN MEADOWS DRIVE                                                                     EUGENE              OR           97405
    YONI BRENNER                                                           900 S BEDFORD ST APT 301                                                                       LOS ANGELES         CA           90035-1998
                                            DBA SHOOTING STAR
    YORAM KAHANA                            INTERNATIONAL                  P O BOX 93368                                                                                  LOS ANGELES         CA           90093
    YORK GRAPHICS SERVICES CO               DBA THE YGS GROUP              3650 WEST MARKET STREET                                                                        YORK                PA           17404
    YORK SCHOOL DISTRICT                                                   P O BOX 770                         ATTN AMY HAGNER                                            YORK                SC           29745
    YORK TELECOM CORPORATION                                               P O BOX 822952                                                                                 PHILADELPHIA        PA           19182-2952
    YORLENI ROMERO CHAVES                                                  SANTA CECILIA                                                                                  HEREDIA                                       Costa Rica
    You Name It Promotions                                                 440 34 Street                                                                                  Oakland             CA           94609
    Young C Fan                                                            1470 Dolores St. Apt. B             Apt. B                                                     San Francisco       CA           94110
    YOUNG DOUGLAS N                                                        240 EAST 39TH ST APT #15G                                                                      NEW YORK            NY           10016
    YOUNG RECKLESS CAT INC                  ATTN JONATHAN MILES            31 CHANCELLOR LN                                                                               WARWICK             NY           10990
    YOUNGHEART MUSIC INC                                                   15342 GRAHAM STREET                                                                            HUNTINGTON BEACH    CA           92649
    YOUNGSTOWN COMMUNITY
    SCHOOL                                                                 50 ESSEX STREET                                                                                YOUNGSTOWN          OH           44502
    YOUSENDIT INC                                                          1919 S BASCOM AVENUE 3RD FL                                                                    CAMPBELL            CA           95008
    YP.COM                                                                 2490 E SUNSET RD STE 100                                                                       LAS VEGAS           NV           89120
    YRIONDO EDUCATIONAL
    RESOURCES LLC                           JENNIFER YRIONDO               27176 SE 26TH PLACE                                                                            SAMMAMISH           WA           98075
    YSABEAU S WILCE                                                        2510 GREEN STREET                                                                              SAN FRANCISCO       CA           94123
    YSAYE M BARNWELL                                                       2441 TUNLAW ROAD NW                                                                            WASHINGTON          DC           20007
    YSLETA EDUCATION FOUNTATION                                            9600 SIMS DRIVE                                                                                EL PASO             TX           79925
    YUDHIJIT BHATTACHARJEE                                                 7340 CARROLL AVENUE                                                                            TAKOMA PARK         MD           20912
    Yukon Dept of Education                                                1000 Lewes Blvd                                                                                Whitehorse          YK           Y1A 3H9      Canada
    Yukon Dept of Finance Accounts                                         Yukon Government Administration Bldg
    Receivable                                                             3rd Fl Financ                        2071 2nd Ave                                              Whitehorse          YT           Y1A 2C6      Canada



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                     7/15/2012
Case No. 12-12171 (REG)                                                                                                         486 of 488                                                                                                1:26 PM
                                                      12-12171-reg            Doc 136               Filed 07/15/12 Exhibit
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                                                                                                              Pg Creditor
                                                                                                                  494 Matrix
                                                                                                                          of 519
                                                                                                                        First Class Service List


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    YUKON PUBLIC SCHOOLS                    SHEDECK ELEMENTARY              2100 S HOLLY                                                                                        YUKON                OK           73099
    YULMARE N DE LEON CABRERA                                               C/209 # 4L-18                     URB CALENAS DE FAIR VIEW                                          TRUJILLO ALTO        PR           00976
    Yuming Liu                                                              2017 Scottdale Cir.                                                                                 Wheaton              IL           60187
    YUNG-JIN CAROLYN YOON                                                   1925 NORWAY ROAD                                                                                    ANN ARBOR            MI           48104
    YURCHAK PRINTING INC                                                    920 LINKS AVENUE                                                                                    LANDISVILLE          PA           17538
    Yvette Beeman                                                           37 Barberry Road                                                                                    Lexington            MA           02421
    YVETTE G H BANKS                                                        282 MANHATTAN AVE #2S                                                                               NEW YORK             NY           10026
    Yvette Hurt                                                             4037 N. Guilford Avenue                                                                             Indianapolis         IN           46205
    YVETTE JACKSON                                                          PO BOX 221                                                                                          SPENCERTOWN          NY           12165
    YVETTE N LIGHTBOURN-ELIAS                                               250 E HARBORTOWN DR # 807                                                                           DETROIT              MI           48207
    YVETTE N TAZEAU                                                         1606 DORCEY LANE                                                                                    SAN JOSE             CA           95720
    Yvette Soto                                                             3723 Linsbury Street                                                                                Orlando              FL           32817
    Yvonne Bernal                                                           819 S. Newton St.                                                                                   Denver               CO           80219
    Yvonne Chappie                                                          148 Gorham St.                                                                                      Chelmsford           MA           01824
    Yvonne Chester                                                          25 Dunreath St                                                                                      Roxbury              MA           02119
                                            DE & YS FREEMAN REVOCABLE LIV
    YVONNE FREEMAN                          TRUST                           134 CHACHALACA                                                                                      SAN BENITO           TX           78586
    YVONNE HERNANDEZ                                                        12611 SANDTRAP                                                                                      SAN ANTONIO          TX           78217
    Yvonne Jacobson                                                         P.O. Box 735                                                                                        Mashpee              MA           02649
    YVONNE RODRIGUEZ                                                        6900 CATALPA TRAIL                                                                                  PLANO                TX           75023

    YVONNE YAZBECK HADDAD                                                   37TH & O ST                                                            GEORGETOWN UNIV, CMCU ICC 260 WASHINGTON          DC           20057
    ZACHARY HETRICK                                                         2601 E CARGILL DR # 3                                                                                BLOOMINGTON         IN           47401
    ZACHARY RYAN CARRINGTON                                                 4717 E 118TH STREET                                                                                  TULSA               OK           74137
    ZACHARY SHUSTER HARMSWORTH
    AGENCY                                                                  1776 BROADWAY, STE 1405                                                                             NEW YORK             NY           10019
    ZACHARY SHUSTER HARMSWORTH
    LLC                                                                     1776 BROADWAY, SUITE 1405                                                                           NEW YORK             NY           10019
                                                                            4653 CARMEL MTN RD STE 308
    ZACK COMPANY INC                                                        PMB525                                                                                              SAN DIEGO            CA           92130-6650
    ZAFER KIZILKAYA                                                         8/4 KURUCESME BEBEK                                                                                 ISTANBUL                          34345        Turkey
    ZAG (Zysman, Aharoni, Gayer)
    ZAGARENSKI PAMELA J                                                     3 SURREY LANE                                                                                       STONINGTON           CT           06378
    ZALE ELLEN MACLEISH                                                     149 PINE HILL ROAD                                                                                  CONWAY               MA           01341
    ZANE WILLIAMS                                                           101 S FRANKLIN ST                                                                                   MADISON              WI           53703
    Zareh Artinian                                                          116 SPRING ST.                                                                                      QUINCY               MA           02169
    ZAWOJEWSKI JUDITH AS TRUSTEE            OR SUCCESSORS                   PO BOX 7179                                                                                         PROSPECT HEIGHTS     IL           60070

    ZEBRA PRINT SOLUTIONS INC                                               9401 GLOBE CENTER DRIVE STE 130                                                                     MORRISVILLE          NC           27560
    Zebrowski, Molly
    Zecher, Linda
    ZEE MEDICAL INC                                                         PO BOX 781494                                                                                       INDIANAPOLIS         IN           46278
    ZEE MEDICAL INC                                                         P O BOX 781525                                                                                      INDIANAPOLIS         IN           46278-8525
    ZELMAN EDUCATION CONSULTING
    GROUP                                                                   3168 BROADMOOR AVE STE 1                                                                            COLUMBUS             OH           43209

    ZENAIDA GUZMAN MORENO                                                   BO JUAN MARTIN ADENTRO C/4 #55                                                                      LUGUILLO             PR           00773
    ZENIA LEMOS HORNING                                                     2408 TEDESCHI DR                                                                                    SANTA ROSA           CA           95403
    ZENITH INSURANCE COMPANY
    Zephyr Press                                                            PO Box 66006                                                                                        Tucson               AZ           85728
    Zetterquist, Alison
    ZEV RADOVAN                                                             PO BOX 8441                                                                                         JERUSALEM                         91084        Israel
    Zick Business Advisors, Inc.                                            16 Inverness Place East           Building C                                                        Englewood            CO           80112
    Zincks Inn Berlin                                                       4703 SR39                         PO Box 441                                                        Berlin               OH           44610
    ZINSSER WILLIAM                                                         45 EAST 62ND STREET #7B                                                                             NEW YORK             NY           10065
    Zion & Zion                                                             464 S. Farmer Ave                 Ste 105                                                           Tempe                AZ           85281
    ZION LUTHERAN SCHOOL                                                    1810 MCCLINTOCK AVE                                                                                 BELLVILLE            IL           62221
    ZITA KENNEDY                                                            1018 CELLANA                                                                                        FORT MYERS           FL           33948
    ZOE ALAINA FERRARIS                                                     1251-A ARMISTEAD ROAD                                                                               SAN FRANCISCO        CA           94129
    ZOE BOOKS LIMITED                                                       WINCHERSTE 15 WORTHY LN                                                                             HAMSPHIRE                         S0237AB      United Kingdom
    ZOE RYDER WHITE                                                         587 11TH ST                                                                                         BROOKLYN             NY           11215-5202
    ZOHO CORPORATION                                                        FILE 31469 P O BOX 60000                                                                            SAN FRANCISCO        CA           94160
    Zoila Vasquez                                                           1502 park place                                                                                     irving               TX           75061
    ZOLOTOW CHARLOTTE                                                       29 ELM PLACE                                                                                        HASTINGS-ON-HUDSON   NY           10706
    ZOOLOGICAL SOCIETY OF                   CINCINNATI ZOO & BOTANICAL
    CINCINNATI                              GARDEN                          3400 VINE STREET                                                                                    CINCINNATI           OH           45220
    ZOOM INFORMATION INC                                                    307 WAVERLEY OAKS RD # 405                                                                          WALTHAM              MA           02452
    ZORN PAUL                                                               209 MANITOU ST                                                                                      NORTHFIELD           MN           55057
    ZORRO PRODUCTIONS INC                                                   125 UNIVERSITY AVE, STE 101                                                                         BERKELEY             CA           94710
    ZUCKERMAN SPAEDER LLP                                                   919 MARKET STREET STE 990                                                                           WILMINGTON           DE           19801



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                                                               7/15/2012
Case No. 12-12171 (REG)                                                                                                       487 of 488                                                                                                            1:26 PM
                                                      12-12171-reg             Doc 136           Filed 07/15/12 Exhibit
                                                                                                                    Entered
                                                                                                                        B
                                                                                                                              07/15/12 16:34:17          Main Document
                                                                                                           Pg Creditor
                                                                                                               495 Matrix
                                                                                                                       of 519
                                                                                                                   First Class Service List


                 CreditorName                      CreditorNoticeName                     Address1                      Address2              Address3           City        State       Zip           Country
                                            CALLE AGUSTIN MELGAR MNZ 95 LT AMPLIACION MIGUEL HIDALGO
    ZULEYMA PALOMINO                        14 COL                         DELEGACION                                                                    TLALPAN                     14250        Mexico
    Zullo Design                                                           2048 Larimer Street             Suite 200                                     Denver         Co           80205
    Zulma Cifuentes                                                        2232 Chapel Downs Dr.                                                         Arlington      TX           76017
    ZULMA M RODRIGUEZ CAMINERO                                             PMB 505 P O BOX 7886                                                          GUAYNABO       PR           00970-7886
    ZULMA RIVERA CORDOVA                                                   CALLE 2 A-1 VILLAS DE LOIZA                                                   LOIZA          PR           00772
    ZUMA PRESS INC                                                         408 NORTH EL CAMINO REAL                                                      SAN CLEMENTE   CA           92672
    Zurich - Management Solutions Group                                    One Liberty Plaza, 30th Floor                                                 New York       NY           10006
    Zurich American Insurance Company
    Zynga, Inc.




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                                                  488 of 488                                                                                1:26 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                   Pg 496 of 519




                              Exhibit C
                                            12-12171-reg              Doc 136           Filed 07/15/12 Exhibit
                                                                                                            Entered
                                                                                                                C
                                                                                                                          07/15/12 16:34:17                        Main Document
                                                                                                  Pg   497    of   519
                                                                                                   Overnight Service List


                                                             Name                    NoticeName            Address1                      Address2               City      State       Zip
                                               BNY Mellon                       Maria Sasinoski       525 William Penn Pl   Rm 300                        Pittsburgh     PA       15259
                                               Broadridge                       Receiving Dept        51 Mercedes Way                                     Edgewood       NY       11717
                                               Depository Trust Company         Tom Campanilli        55 Water Street       25th Floor                    New York       NY       10004
                                               Mediant Communications           Stephanie Fitzhenry   109 N 5th St                                        Saddle Brook   NJ       07663
                                               Northern Trust Co                Stella Castaneda      801 S Canal St        Attn Capital Structures C1N   Chicago        IL       60607
                                               State Street Bank and Trust Co   Amanda Banta          Corp Actions JAB5E    1776 Heritage Dr              North Quincy   MA       02171-0000
                                               The Bank of New York Mellon      Beth Stiffler         525 William Penn Pl   Rm 300                        Pittsburgh     PA       15259




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                                           1 of 1                                                                         1:24 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                   Pg 498 of 519




                              Exhibit D
                               12-12171-reg      Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17       Main Document
                                                                     Pg Exhibit
                                                                         499 of D519
                                                                         Securities
                                     Issuer                            Description                   CUSIP         ISIN
                           Houghton Mifflin Harcourt   10.5% Sr Secured (144A) due on 6/1/2019    44157Q AA 9 US44157QAA94
                           Houghton Mifflin Harcourt   10.5% Sr Secured (REG S) due on 6/1/2019   U44154 AA 7 USU44154AA78




In re Houghton Mifflin Harcourt Publishing Company,                                                                          7/15/2012
Case No. 12-12171 (REG)                                                    1 of 1                                              1:24 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                   Pg 500 of 519




                              Exhibit E
                                  12-12171-reg         Doc 136       Filed 07/15/12 Entered 07/15/12 16:34:17                  Main Document
                                                                               Pg Exhibit
                                                                                   501 ofE519
                                                                               First Class Service List

                    Name                            NoticeName                       Address1                     Address2            Address3        City       State       Zip
  Banc of Americas Securities LLC         Ronnie O neill                   101 Hudson St                                                          Jersey City    NJ      07747
  Barclays Bank Inc LE                    Giovanna Laurella                70 Hudson St                   7th Fl                                  Jersey City    NJ      07302-0000
  Barclays Capital Inc Barclays Capital   Nellie Foo                       200 Cedar Knolls Rd                                                    Whippany       NJ      07981-0000
  Brown Brothers Harriman & Co            Dorota Malkiewicz                525 Washington Blvd            New Port Towers                         Jersey City    NJ      07302-0000
  Citibank NA                             Sandra Hernandez                 3800 Citibank Center B3 12                                             Tampa          FL      33610
  Citigroup Global Markets Inc            Patricia Haller                  111 Wall St                    6th Fl                                  New York       NY      10005
  Citigroup Global Markets Inc Salomon    Brian Cotton                     111 Wall St                    6th Fl                                  New York       NY      10005
  Credit Suisse Securities USA LLC        Adam Miranda                     1 Madison Ave                  2nd Fl                                  New York       NY      10010
  Goldman Sachs & Co                      Gloria Lio                       30 Hudson St                                                           Jersey City    NJ      07302-4699
  J P Morgan Clearing Corp                Eric Oszustowicz                 3 Chase Metrotech Center                                               Brooklyn       NY      11245-0001
  JPMorgan Chase Bank NA                  Reorg Dept                       14201 Dallas Parkway                                                   Dallas         TX      75254
  Merrill Lynch Pierce Fenner & Smith     Corp Actions Notifications Jax   Corporate Action Department    4804 Deer Lake Drive East 4th Fl Bldg 3 Jacksonville   FL      32246
  US Bank NA                              Tim Randall                      MK WI S302                     1555 N Rivercenter Dr                   Milwaukee      WI      53212




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                         7/15/2012
Case No. 12-12171 (REG)                                                                 1 of 1                                                                                1:24 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                   Pg 502 of 519




                              Exhibit F
                                       12-12171-reg      Doc 136       Filed 07/15/12 Entered 07/15/12 16:34:17             Main Document
                                                                                        Exhibit F
                                                                                  Pg 503     of 519
                                                                                First Class Service List

            Name                     NoticeName             Address1           Address2                      Address3               City    State        Zip      Country
                              LILLEHAMMER FUNDING       LOURDES DELA    IFSC HOUSE CUSTOM
Aladdin Cap                   ALADDIN CAPITAL           ROSA            HOUSE QUAY                                         DUBLIN                              IRELAND
ALJ Capital Management                                                  6300 WILSHIRE BLVD
LLC                           ALJ CAPITAL II LP         LARRY GILL      STE 700                                            LOS ANGELES      CA      90048      USA
ALJ Capital Management                                                  6300 WILSHIRE BLVD
LLC                           ALJ CAPITAL I LP          LARRY GILL      STE 700                                            LOS ANGELES      CA      90048      USA
                                                                        6300 WILSHIRE BLVD
ALJ CAPITAL MGMNT LLC         LJR CAPITAL LP            LAWRENCE B GILL STE 700                                            LOS ANGELES      CA      90048      USA

                              ALLEN GLOBAL PARTNERS
                              OFFSHORE FKA ALLEN
Allen Investment              ARBITRAGE OFFSHORE                         CALEDONIAN FUND                                                                       CAYMAN
Management                    ALLEN INVESTMENT MGMT     AMANDA NGUYEN    SERVICES LIMITED          PO BOX 1043             GEORGETOWN               KY         ISLANDS
                              ALLEN GLOBAL PARTNERS
                              LP FKA ALLEN ARBITRAGE
Allen Investment              LP ALLEN INVESTMENT
Management                    MGMT                      AMANDA NGUYEN    711 FIFTH AVE                                     NEW YORK         NY      10022      USA
                              AMMC CLO III LIMITED
American Money                AMERICAN MONEY                                                                                                                   CAYMAN
Management                    MANAGEMENT                CHARLES JANZ     113 S CHURCH ST           QUEENSGATE HOUSE        GRAND CAYMAN             KY         ISLANDS
                              AMMC CLO IV LIMITED
American Money                AMERICAN MONEY                                                                                                                   CAYMAN
Management                    MANAGEMENT                CHARLES JANZ     113S CHURCH ST            QUEENSGATE HOUSE        GEORGE TOWN              KY         ISLANDS
American Money                                                                                                                                                 CAYMAN
Management                    AMMC CLO VI LTD           RYAN Z JANOSKI   BOUNDARY HALL             CRICKET SQUARE          GEORGE TOWN              KY         ISLANDS
                              AMMC CLO V LTD
American Money                AMERICAN MONEY                                                                                                                   CAYMAN
Management                    MANAGEMENT                ANDREW HUDSON QUEENS GATE HOUSE            113 S CHURCH ST         GRAND CAYMAN             KY         ISLANDS
                              AMMC VII LTD AMERICAN
American Money                MONEY MANAGEMENT                                                                                                                 CAYMAN
Management                    CORP                      VIRTUS GROUP LP 4TH FL BOUNDARY HALL CRICKET SQUARE                GEORGE TOWN              KY1-1102   ISLANDS

                              AMERICAN SECURITIES
AMERICAN SECURITIES           OPPORTUNITIES FUND B LP BRIAN HEUSEL       THE CHRYSLER CTR          666 THIRD AVE 29TH FL   NEW YORK         NY      10017      USA

                              AMERICAN SECURITIES
AMERICAN SECURITIES           OPPORTUNITIES FUND B LP   JULIA KIM        THE CHRYSLER CTR          666 THIRD AVE 29TH FL   NEW YORK         NY      10017      USA
                              AMERICAN SECURITIES
AMERICAN SECURITIES           OPPORTUNITIES FUND LP     BRIAN HEUSEL     666 THIRD AVE             30TH FL                 NEW YORK         NY      10017      USA
                              ANCHORAGE CAPITAL         ANCHORAGE        UBS HOUSE 227 ELGIN                                                                   CAYMAN
Anchorage Cap Group LL        MASTER OFFSHORE LTD       CAPITAL          AVE                                               GEORGE TOWN              KY         ISLANDS
                              ANCHORAGE ILLIQUID
                              OPPORTUNITIES             ANCHORAGE                                                                                              CAYMAN
Anchorage Cap Group LL        OFFSHORE MASTER III LP    CAPITAL GROUP    WALKER HOUSE              87 MARY ST              GEORGE TOWN              KY1-9002   ISLANDS
                              ANCHORAGE ILLIQUID
                              OPPORTUNITIES             RYAN                                                                                                   CAYMAN
Anchorage Cap Group LL        OFFSHORE MASTER II LP     WHITTINGTON      WALKER HOUSE              87 MARY ST              GEORGE TOWN              KY1-9002   ISLANDS
                              GRF MASTER FUND II L P
                              ANCHORAGE CAPITAL         ANCHORAGE        WALKER HOUSE 87                                                                       CAYMAN
Anchorage Cap Group LL        GROUP L L C               CAPITAL GROUP    MARY ST                                           GEORGE TOWN              KY1-9002   ISLANDS



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                  1 of 10                                                                       1:24 PM
                                       12-12171-reg      Doc 136       Filed 07/15/12 Entered 07/15/12 16:34:17        Main Document
                                                                                        Exhibit F
                                                                                  Pg 504     of 519
                                                                                First Class Service List

            Name                     NoticeName             Address1           Address2                    Address3            City    State       Zip       Country
                              ANCHORAGE ILLIQUID
                              OPPORTUNITIES
                              OFFSHORE MASTERLP
                              ANCHORAGE CAPITAL
Anchorage Cap Group LL        GROUPLLC                  SARAH SMYTHE     610 BROADWAY 6TH FL                          NEW YORK         NY      10012      USA
                              PCI FUND LLC C O          ANCHORAGE
Anchorage Capital Group       ANCHORAGE ADVISORS        ADVISORS WSO
LLC                           ANCHORAGE CAPITAL         FAX              610 BROADWAY 6TH FL                          NEW YORK         NY      10012      USA
                              PCI FUND LLC C O
Anchorage Capital Group       ANCHORAGE ADVISORS        MICHAEL
LLC                           ANCHORAGE CAPITAL         POLENBERG        610 BROADWAY 6TH FL                          NEW YORK         NY      10012      USA
                              LEVERAGESOURCE IV LLC
APOLLO CREDIT MGMT            APOLLO CREDIT                              WALKERS SPV WALKER                                                               CAYMAN
LLC                           MANAGEMENT                DEREK LAINO      HOUSE                 87 MARY ST             GEORGE TOWN              KY1-9001   ISLANDS
                                                                         535 MADISON AVE 15TH
Avenue                        AVENUE INVESTMENTS LP     KARISSA NGAN     FL                                           NEW YORK         NY      10022      USA
                              MAGNOLIA FUNDING                           IFSC HOUSE CUSTOM
BANK                          SCOTIA BANK               SAAD ATHAR       HOUSE QUAY                                   DUBLIN                              IRELAND
                              BALLANTYNE FUNDING LLC    BALLANTYNE       401N TYRON ST NC1 021
Bank Of America               BANK OF AMERICA           FUNDING LLC      03 09                                        CHARLOTTE        NC      28255      USA
                              BANK OF AMERICA NA BANK   SERVICING TEAM
BANK OF AMERICA NA            OF AMERICA                TLC004           1850 GATEWAY BLVD                            CONCORD          CA      94520      USA

                              BARCLAYS BANK PLC NEW
BARCLAYS                      YORK BRANCH BARCLAYS      ALOYSIUS LAI     75 WALL ST              11TH FL              NEW YORK         NY      10265      USA

                              BLACKROCK FIXED INCOME
                              PORTABLE ALPHA MASTER                                                                                                       CAYMAN
BlackRock                     SERIES TRUST              LOAN PRODUCTS    103 S CHURCH ST                              GRAND CAYMAN             KY1-9002   ISLANDS
                              BLACKROCK CORP HIGH
BlackRock                     YIELD FUND III INC        LOAN PRODUCTS    800 SCUDDERS MILL RD                         PLAINSBORO       NJ      08536      USA
                              BLACKROCK CORP HIGH
BlackRock                     YIELD FUND INC            LOAN PRODUCTS    800 SCUDDERS MILL RD                         PLAINSBORO       NJ      08536      USA
                              BLACKROCK CORP HIGH
                              YIELD FUND VI INC
BlackRock                     BLACKROCK                 LOAN PRODUCTS    800 SCUDDERS MILL RD                         PLAINSBORO       NJ      08536      USA
                              BLACKROCK CORP HIGH
BlackRock                     YIELD FUND V INC          LOAN PRODUCTS    800 SCUDDERS MILL RD                         PLAINSBORO       NJ      08536      USA

                              BLACKROCK FIXED INCOME
                              VALUE OPPORTUNITIES
BlackRock                     TRUST BLACKROCK        LOAN PRODUCTS       100 BELLEVUE PKWY                            WILMINGTON       DE      19809      USA
                              BLACKROCK HIGH INCOME
BlackRock                     SHARES                 LOAN PRODUCTS       100 BELLEVUE PKWY                            WILMINGTON       DE      19809      USA
                              BLACKROCK HIGH YIELD
BlackRock                     TRUST                  LOAN PRODUCTS       100 BELLEVUE PKWY                            WILMINGTON       DE      19809      USA

                              BLACKROCK FLOATING
BlackRock Financial           RATE INCOME STRATEGIES
Management                    FUND II INC BLACKROCK  LOAN PRODUCTS       100 BELLEVUE PKWY                            WILMINGTON       DE      19809      USA



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                             7/15/2012
Case No. 12-12171 (REG)                                                                2 of 10                                                                    1:24 PM
                                       12-12171-reg     Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17       Main Document
                                                                                        Exhibit F
                                                                                  Pg 505     of 519
                                                                                First Class Service List

            Name                       NoticeName           Address1            Address2                  Address3            City    State        Zip      Country

                              BLACKROCK FLOATING
BlackRock Financial           RATE INCOME STRATEGIES
Management                    FUND INC BLACKROCK     LOAN PRODUCTS       100 BELLEVUE PKWY                           WILMINGTON       DE      19809      USA

                              BLACKROCK FUNDS II HIGH
                              YIELD BOND PORTFOLIO
BlackRock Financial           BLACKROCK FINANCIAL
Management                    MANAGEMENT INC            LOAN PRODUCTS    100 BELLEVUE PKWY                           WILMINGTON       DE      19809      USA
                              BLACKROCK SENIOR HIGH
                              INCOME FUND INC
BlackRock Financial           BLACKROCK FINANCIAL
Management                    MANAGEMENT                LOAN PRODUCTS    800 SCUDDERS MILL RD                        PLAINSBORO       NJ      08536      USA
                              MET INVESTORS SERIES
BlackRock Financial           TRUST BLACK ROCK HIGH
Management                    YIELD PORTFOLIO           LOAN PRODUCTS    5 PARK PLZ STE 1900                         IRVINE           CA      92614      USA
                              BLACKROCK CREDIT
                              INVESTORS MASTER FUND                                                                                                      CAYMAN
BlackRock Financial Mgt       LP                        LOAN PRODUCTS    WALKER HOUSE             87 MARY ST         GEORGE TOWN              KY         ISLANDS
                              BLACKROCK SENIOR
                              FLOATING RATE                              UGLAND HOUSE S                                                                  CAYMAN
BlackRock Financial Mgt       PORTFOLIO                 LOAN PRODUCTS    CHURCH ST                                   GEORGE TOWN              KY         ISLANDS
                              IRONSHORE INC
                              BLACKROCK FINANCIAL                        CRICKET SQUARE                                                                  CAYMAN
BlackRock Financial Mgt       MANAGEMENT                LOAN PRODUCTS    HUTCHINS DR                                 GEORGE TOWN              KY         ISLANDS
                              BLACKROCK GLOBAL
                              INVESTMENT SERIES
                              INCOME STRATEGIES
BlackRock Financial Mgt       PORTFOLIO                 LOAN PRODUCTS    49 AVE J F KENNEDY                          LUXEMBOURG               L-1855     LUXEMBOURG

BlackRock Financial Mgt       BCI 1 LOAN FUNDING LLC    VIRTUS GROUP LP 333 W 34TH ST 2ND FL                         NEW YORK         NY      10001      USA
                              BLACKROCK DEBT
BlackRock Financial Mgt       STRATEGIES FUND INC       LOAN PRODUCT     800 SCUDDERS MILL RD                        PLAINSBORO       NJ      08536      USA
                              BLACKROCK DEFINED
                              OPPORTUNITY CREDIT
BlackRock Financial Mgt       TRUST                     LOAN PRODUCTS    100 BELLEVUE PKWY                           WILMINGTON       DE      19809      USA
                              BLACKROCK DIVERSIFIED
                              INCOME STRAGE FUND INC
                              FKA DIVERSIFIED INCOME
BlackRock Financial Mgt       STRAT                     LOAN PRODUCTS    2 PENNS WAY                                                                     USA
                              BLACKROCK FLOATING
BlackRock Financial Mgt       RATE INCOME TRUST         LOAN PRODUCTS    100 BELLEVUE PKWY                           WILMINGTON       DE      19809      USA
                              BLACKROCK FUNDS II
                              BLACKROCK FLOATING
                              RATE INCOME PORTFOLIO
                              BLACKROCK FINANCIAL
BlackRock Financial Mgt       MANAGEMENT                LOAN PRODUCTS    100 BELLEVUE PKWY                           WILMINGTON       DE      19809      USA
                              BLACKROCK LIMITED
BlackRock Financial Mgt       DURATION INCOME T         LOAN PRODUCTS    40 E 52ND ST                                NEW YORK         NY      10022      USA




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                            7/15/2012
Case No. 12-12171 (REG)                                                                 3 of 10                                                                  1:24 PM
                                       12-12171-reg      Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17                Main Document
                                                                                         Exhibit F
                                                                                   Pg 506     of 519
                                                                                 First Class Service List

            Name                     NoticeName              Address1             Address2                    Address3                  City    State        Zip        Country
                              MISSOURI STATE
                              EMPLOYEES RETIREMENT
BlackRock Financial Mgt       SYSTEM MOSER HY            LOAN PRODUCTS     PO Box 209                907 WILDWOOD DR           JEFFERSON CITY   MO      65102        USA
BLACKROCK INC                 OBSIDIAN MASTER FUND       LOAN PRODUCTS     40 E 52ND ST              17TH FL                   NEW YORK         NY      10022        USA

                              CANYON CAPITAL CLO 2004 CLO                  MAPLES FINANCE LTD                                                                        CAYMAN
Canyon                        1 LTD CANYON CAPITAL    ADMINISTRATION       QUEENSGATE                HOUSE S CHURCH ST         GEORGE TOWN              KY           ISLANDS

                              CANYON CAPITAL CLO 2006    CLO                                                                                                         CAYMAN
Canyon                        1 LTD CANYON CAPITAL       ADMINISTRATION    QUEENSGATE HOUSE          S CHURCH ST               GEORGE TOWN              KY           ISLANDS
                              THE CANYON VALUE
                              REALIZATION MASTER
CANYON CAPITAL                FUND LP CANYON CAPITAL                       89 NEXUS WAY CAMANA                                                                       CAYMAN
ADVISORS                      ADVISORS                   STEVE CHAN        BAY                                                 GRAND CAYMAN             KY1-9007     ISLANDS
                              CVI GVF CLO 1 LTD CARVAL                     CARVAL INVESTORS          12700 WHITEWATER DR MS
Carval                        INVESTORS LLC              TERI SALBERG      LLC                       144                       MINNETONKA       MN      55343        USA
                              CVI GVF LUX MASTER SARL                      C O JOHN CAHILL           LLC 12700 WHITEWATER DR
CarVal Investors LLC          CARVAL                     TERI SALBERG      CARVAL INVESTORS          MS 144                    MINNETONKA       MN      55343        USA
                              CHEYNE CREDIT
Cheyne                        OPPORTUNITY CDO I BV       JONATHAN LONG     LOCATELLIKADE 1                                     AMSTERDAM                01076        NETHERLANDS
                              CITIBANK NA DISTRESSED
CITI                          PRIMARY                    JULIO C VELASCO   1615 BRETT RD                                       NEW CASTLE       DE      19720        USA
                              COLUMBIA FUNDS SERIES
                              TRUST II COLUMBIA
                              FLOATING RATE FUND
                              COLUMBIA MANAGEMENT
COLUMBIA MGMT INVT            INVESTMENT ADVISORS                          145 AMERIPRISE
ADVS                          LLC                        CYNTHIA SCOTT     FINANCIAL CTR                                       MINNEAPOLIS      MN      55474        USA
                                                                           411 W PUTNAM AVE S
CONTRARIAN CAPITAL            CONTRARIAN FUNDS LLC       LARRY HERZING     225                                                 GREENWICH        CT      06830        USA

                              BLT 20 LLC CREDIT SUISSE   JOSEPH
Credit Cap Investments LL     CAPITAL INVESTMENTS        PALAMARA          11 MADISON AVE                                      NEW YORK         NY      10010        USA
                              CREDIT SUISSE CAYMAN
                              ISLANDS BRANC CREDIT     CECELIA
Credit Suisse Alternative     SUISSE                   HARRISON            ELEVEN MADISON AVE                                  NEW YORK         NY      10010-3629   USA
CREDIT SUISSE CAPITAL                                  EDWARD
LLC                           BLT 27 LLC               MARKOWSKI           11 MADISON AVE            TAX DEPARTMENT 8TH FL     NEW YORK         NY      10010-3629   USA
                              BLT 40 LLC CREDIT SUISSE JIANA INES                                    CORPORATE TAX
Credit Suisse Internation     CAPITAL LLC              AHUMADA             11 MADISON AVE            DEPARTMENT 8TH FL         NEW YORK         NY      10010-3629   USA
                              DEUTSCHE BANK AG
                              CAYMAN ISLANDS BR
Deutsche Bank                 DEUTSCHE                 KEN BOPF            31 W 52 ST                7TH FL                    NEW YORK         NY      10019        USA
                              DEUTSCHE BANK AG NEW
                              YORK BRANCH DEUTSCHE
Deutsche Bank                 BANK                     BILAL AMAN          31 W 52ND ST                                        NEW YORK         NY      10019        USA

                              AFR FIDELITY ADVISOR
                              SERIES I FIDELITY ADVISOR
                              FLOATING RATE HIGH        FIDELITY
Fidelity Investments          INCOME FUND FIDELITY      INVESTMENTS        82 DEVONSHIRE ST                                    BOSTON           MA      02109        USA


In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                    4 of 10                                                                           1:24 PM
                                       12-12171-reg      Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17          Main Document
                                                                                         Exhibit F
                                                                                   Pg 507     of 519
                                                                                 First Class Service List

            Name                     NoticeName             Address1             Address2                     Address3            City    State        Zip      Country
                              MUDRICK DISTRESSED
                              OPPORTUNITY FUND                         WALKERS CORPORATE                                                                     CAYMAN
FOREIGN INVESTOR              GLOBAL LP                 GLENN SPRINGER SERVICES LIMITED  WALKER HOUSE 87 MARY ST         GEORGE TOWN              KY1-9005   ISLANDS
FORT HILL INV ADVISORS        ALADDIN CREDIT                                                                                                                 CAYMAN
LP                            INTERMEDIATE FUND LTD     CHRISTINA KWAN 135 S CHURCH ST                                   GEORGE TOWN              KY1-1104   ISLANDS
FORT HILL INV ADVISORS        ALADDIN INTERMEDIATE                     5TH FL 75 ST STEPHENS
LP                            FUND IRELAND II LIMITED   NORTHERN TRUST GREEN                                             DUBLIN                              IRELAND
FORT HILL INV PARTNERS        ALADDIN CREDIT                                                                                                                 CAYMAN
LC                            OFFSHORE FUND II LP       CHRISTINA KWAN    135 S CHURCH ST                                GEORGE TOWN              KY1-1104   ISLANDS
FORT HILL INV PARTNERS        ALADDIN DIP OFFSHORE                                                                                                           CAYMAN
LC                            FUND LP                   CHRISTINA KWAN    135 S CHURCH ST                                GEORGE TOWN              KY1-1104   ISLANDS
FORT HILL INV PARTNERS        INTERMEDIATE FUND
LC                            IRELAND LIMITED           CHRISTINA KWAN    BEAUX LN HOUSE           MERCER ST LOWER       DUBLIN                              IRELAND
FORT HILL INV PARTNERS        ALADDIN CREDIT
LC                            PARTNERS I LP             CHRISTINA KWAN    6 LANDMARK SQUARE                              STAMFORD         CT      06901      USA
FORT HILL INV PARTNERS        MC CREDIT PARTNERS DIP                      SIX LANDMARK SQUARE
LC                            SMA LP                    CHRISTINA KWAN    6TH FL                                         STAMFORD         CT      06901      USA
                              GOLDMAN SACHS LENDING                       C O GOLDMAN SACHS
Goldman Sachs Asset Mgt       PARTNERS LLC              GOLDMAN SACHS     AND CO              85 BROAD ST TAX DEPT       NEW YORK         NY      10004      USA
                              SPECIAL SITUATIONS
Goldman Sachs Asset Mgt       INVESTING GROUP           BARBARA FABBRI    85 BROAD ST              28TH FL               NEW YORK         NY      10004      USA
                              HOSPITAL FOR SICK
Guggenheim Investment         CHILDREN FOUNDATION
Management LLC FM             THE GUGGENHEIM            KAITLIN TRINH     525 UNIVERSITY AVE       14TH FL               TORONTO          ON      M5G2L3     CANADA
Guggenheim Investment                                                                                                                                        CAYMAN
Management LLC FM             COPPER RIVER CLO LTD      MATILDA KWAN      QUEENSGATE HOUSE         S CHURCH STREE        GEORGE TOWN              KY         ISLANDS
Guggenheim Investment         GREEN LANE CLO LTD                                                                                                             CAYMAN
Management LLC FM             GUGGENHEIM                ROBERT BEDELL     NO 2                     QUEEN ST              GEORGE TOWN              KY         ISLANDS
Guggenheim Investment                                                                                                                                        CAYMAN
Management LLC FM             KENNECOTT FUNDING LTD   JASON MARTINEZ      QUEENSGATE HOUSE         S CHURCH ST           GEORGE TOWN              KY         ISLANDS
Guggenheim Investment                                 PATRICK                                                                                                CAYMAN
Management LLC FM             SANDS POINT FUNDING LTD MITCHELL            QUEENSGATE HOUSE         S CHURCH ST           GEORGE TOWN              KY         ISLANDS
                              NORTH RIVER INSURANCE
Guggenheim Investment         COMPANY THE
Management LLC FM             GUGGENHEIM PARTNERS     KAITLIN TRINH       305 MADISON AVE                                MORRISTOWN       NJ      07962      USA
                              ODYSSEY REINSURANCE
                              COMPANY FKA ODYSSEY
                              AMERICA REINSURANCE
Guggenheim Investment         CORPORATION                                 300 FIRST STAMFORD
Management LLC FM             GUGGENHEIM PARTNERS     KAITLIN TRINH       PL                                             STAMFORD         CT      06902      USA

                      PRINCIPAL FUNDS INC
                      GLOBAL DIVERSIFIED
                      INCOME FUND
Guggenheim Investment GUGGENHEIM INVESTMENT
Management LLC FM     MANAGEMENT LLC        KAITLIN TRINH                 711 HIGH ST                                    DES MOINES       IA      50392      USA
                      GUGGENHEIM APSLEY
                      FUND LP GUGGENHEIM
GUGGENHEIM INVT MGMT INVESTMENTS                                                                                                                             CAYMAN
LLC                   MANAGEMENT            THUY HONG                     UGLAND HOUSE                                   GEORGE TOWN              KY1-1104   ISLANDS



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                  5 of 10                                                                     1:24 PM
                                       12-12171-reg    Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17          Main Document
                                                                                       Exhibit F
                                                                                 Pg 508     of 519
                                                                               First Class Service List

            Name            NoticeName                    Address1             Address2                     Address3            City    State        Zip      Country
                     HIGH YIELD LOAN PLUS
                     MASTER SEGREGATED
                     PORTFOLIO FKA MASTER
GUGGENHEIM INVT MGMT SEGREGATED PORTFOLIO                               PO BOX 1093GT                                                                      CAYMAN
LLC                  A2 GUGGENHEIM                    YEN TRAN          BOUNDARY HALL             CRICKET SQUARE       GEORGE TOWN              KY         ISLANDS

                     NZCG FUNDING LTD
GUGGENHEIM INVT MGMT GUGGENHEIM INVESTMENT                                                                                                                 CAYMAN
LLC                  MANAGEMENT LLC                   SABRINA HOLUB     POBOX 1093                                     GRAND CAYMAN             KY1-1102   ISLANDS
                     BDIFS LLC GUGGENHEIM
GUGGENHEIM INVT MGMT INVESTMENT MANAGEMENT
LLC                  LLC                              THUY HONG         1250 FOURTH ST 5TH FL                          SANTA MONICA     CA      90401      USA
                     T BANK III TO I HIGH YIELD
                     FUND PT GUGGENHEIM
GUGGENHEIM INVT MGMT INVESTMENT MANAGEMENT                              16000 DALLAS PKWY
LLC                  LLC                              KAITLIN TRINH     STE 125                                        DALLAS           TX      75248      USA
                     T BANK III TO I HIGH YIELD
                     FUND QP GUGGENHEIM
GUGGENHEIM INVT MGMT INVESTMENT MANAGEMENT                              16000 DALLAS PKWY
LLC                  LLC                              KAITLIN TRINH     STE 125                                        DALLAS           TX      75248      USA
                     THE HOSPITAL FOR SICK
                     CHILDREN EMPLOYEE
                     PENSION PLAN TRUST
Guggenheim Partners  GUGGENHEIM PARTNERS              KAITLIN TRINH     555 UNIVERSITY AVE                             TORONTO          ON      M5G1X8     CANADA
                     PAIDEIA LLC GUGGENHEIM
Guggenheim Partners  PARTNERS                         THUY HONG         135 E 57TH ST FL 6                             NEW YORK         NY      10022      USA
                     TICKNOR CORNER LLC
Guggenheim Partners  GUGGENHEIM PARTNERS              KAITLIN TRINH     135 E 57TH ST 6TH FL                           NEW YORK         NY      10022      USA
                     LMA SPC FOR AND ON
                     BEHALF OF THE MAP 84
                     SEGREGATED PORTFOLIO
                     KNIGHT HEAD CAPITAL              MICHAEL                                                          PALM BEACH
Knighthead Capital   MGMTLLC                          FRIEDBERG         3801 PGA BLVD STE 500                          GARDENS          FL      33410      USA
                     KNIGHTHEAD MASTER
Knighthead Capital   FUND LP KNIGHTHEAD               MICHAEL
Management LLC       CAPITAL MANAGEMENT               FRIEDBERG         623 5TH AVE 29TH FL                            NEW YORK         NY      10022      USA
                     LEHMAN COMMERCIAL                                  3 WORLD FINANCIAL
Lehman               PAPER LAMCO LLC                  JOHN O SHEA       CTR 11TH FL                                    NEW YORK         NY      10285      USA

                          WOODLANDS COMMERCIAL
                          CORPORATION FKA
                          WOODLANDS COMMERCIAL        MICHELLE
Lehman                    BANK                        ROSOLINSKY        4001 S 700 E STE 410                           SALT LAKE CITY   UT      84107      USA
                          MARATHON CLO II LTD
                          MARATHON ASSET              NADEEM                                                                                               CAYMAN
Marathon Asset Management MANAGEMENT                  POONAWALA         WALKER HOUSE              MARY ST              GEORGE TOWN              KY         ISLANDS
                          MARATHON SP OPP
                          MASTER FUND LTD
                          MARATHON ASSET
Marathon Asset Management MANAGEMENT                  ERICA LIGHTFOOT 461 5TH AVE                                      NEW YORK         NY      10017      USA



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                              7/15/2012
Case No. 12-12171 (REG)                                                                 6 of 10                                                                    1:24 PM
                                       12-12171-reg      Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17                Main Document
                                                                                         Exhibit F
                                                                                   Pg 509     of 519
                                                                                 First Class Service List

            Name                     NoticeName          Address1          Address2                            Address3                   City   State        Zip      Country
                              CORPORATE DEBT
                              OPPORTUNITIES FUND
                              LIMITED PARTNERSHIP
                              MARATHON ASSET                                                                                                                        CAYMAN
Marathon Asset Mgt            MANAGEMENT LP          ERICA LIGHTFOOT PO BOX 31106                                              GRAND CAYMAN              KY1-1205   ISLANDS
                              MARATHON LIQUID CREDIT
                              LONG SHORT FUND
                              MARATHON ASSET                         C O MARATHON ASSET
Marathon Asset Mgt            MANAGEMENT             ERICA LIGHTFOOT MANAGEMENT LP                  ONE BRYANT PARK 38 TH FL   NEW YORK          NY      10036      USA

Mariner Investment Group      BJC HEALTH SYSTEM         CHRIS KIRKLIN     4444 FOREST PARK AVE                                 ST LOUIS          MO      63108      USA
                              TRILOGY PORTFOLIO
                              COMPANY LLC TRILOGY
Mariner Investment Group      CAPITAL MARINER
LLC                           INVESTMENT GROUP LLC      CHRIS KIRKLIN     780 THIRD AVE                                        NEW YORK          NY      10017      USA
MCDONNELL ALT CRED            MCDONNELL LOAN                                                                                                                        CAYMAN
STR                           OPPORTUNITY LTD           MARIA TRAN        WALKER HOUSE              MARY ST                    GEORGE TOWN               KY         ISLANDS
McDonnell Investment                                    RHONDDA                                                                                                     CAYMAN
Management LLC                GANNETT PEAK CLO I LTD    COLOMBATTO        QUEENSGATE HOUSE          S CHURCH ST                GEORGE TOWN               KY         ISLANDS
                              MCDONNELL BANK LOAN
                              SELECT SERIES TRUST I
                              MCDONNELL BANK LOAN
                              SELECT MASTER FUND
McDonnell Investment          MCDONNELL INVESTMENT                        C O WALKERS FUND                                                                          CAYMAN
Management LLC                MANAGEMENT LLC            JON BARRY         SERVICES LIMITED          WALKER HOUSE 87 MARY ST    GEORGE TOWN               KY1-9004   ISLANDS
                              WIND RIVER CLO II TATE
                              INVESTORS F K A WIND
                              RIVER CLO II MCDONNELL
McDonnell Investment          INVESTMENT MANAGEMENT     RHONDDA J                                                                                                   CAYMAN
Management LLC                LLC                       COLOMBATTO        QUEENSGATE HOUSE          S CHURCH ST                GEORGE TOWN               KY         ISLANDS
                              WIND RIVER CLO I LTD
McDonnell Investment          MCDONNELL INVESTMENT      RHONDDA                                                                                                     CAYMAN
Management LLC                MANAGEMENT LLC            COLOMBATTO        QUEENSGATE HOUSE          S CHURCH ST                GEORGE TOWN               KY         ISLANDS
McDonnell Investment          ILLINOIS STATE BOARD OF
Management LLC                INVESTMENT MCDONNELL      CHRIS ENNIS       180 N LASALLE ST          STE 2015                   CHICAGO           IL      60601      USA

                              MSD CREDIT OPPORTUNITY
                              MASTER FUND L P MSD                         UGLAND HOUSE S                                                                            CAYMAN
MSD Cap LP                    CAPITAL LP             JEFF KRAVETZ         CHURCH ST                                            GEORGE TOWN               KY1-1104   ISLANDS
MUDRICK CAPITAL MGMT          BLACKWELL PARTNERS                          406 BLACKWELL ST STE
LP                            LLC                    GLENN SPRINGER       300                                                  DURHAM            NC      27701      USA
                              STATE STREET BANK AND
                              TRUST AS TRUSTEE FOR
                              THE GENERAL MOTORS
                              SALARIED EMPLOYES
                              PENSION TRUST
NEUBERGER BER FXED            NEUBERGER BERMAN
INCOM                         FIXED INCOME LLC       STACEY WHITE         PO BOX 1992                                          BOSTON            MA      02105      USA




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                   7 of 10                                                                           1:24 PM
                                       12-12171-reg     Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17             Main Document
                                                                                        Exhibit F
                                                                                  Pg 510     of 519
                                                                                First Class Service List

            Name                       NoticeName           Address1            Address2                    Address3                City    State        Zip      Country

                              STATE STREET BANK AND
                              TRUST COMPANY AS
                              TRUSTEE FOR THE
                              GENERAL MOTORS HOURLY
                              RATE EMPLOYES PENSION
NEUBERGER BER FXED            TRUST NEUBERGER
INCOM                         BERMAN FIXED INCOME LLC   STACEY WHITE     PO BOX 1992                                       BOSTON           MA      02105      USA
                              FUTURE FUND BOARD OF
OAK HILL ADVISORS LP          GUARDIANS OAK HILL        SHILPA WANI      LEVEL 44                  120 COLLINS ST          MELBOURNE                03000      AUSTRALIA
                              SIRIUS INVESTMENT FUND
                              SICAV SIF OAK HILL
OAK HILL ADVISORS LP          ADVISORS LP               JAMES DYBLE      31 Z A BOURMICHT                                  BERTRANGE                L-8070     LUXEMBOURG
                              OAK HILL CREDIT
                              OPPORTUNITY FINANCI OAK   ANNEMARIE
OAK HILL ADVISORS LP          HILL ADVISORS LP          COSTANTINI       2 PENNS WAY                                                                           USA

                              OAK HILL CREDIT                                                                                                                  CAYMAN
Oak Hill Credit Partners      PARTNERS IV LTD OAK HILL GREG LUEB         QUEENSGATE HOUSE          S CHURCH ST             GEORGE TOWN              KY         ISLANDS

                              OHA FINLANDIA CREDIT      ANNMARIE         WALKER SPV                                                                            CAYMAN
Oak Hill Credit Partners      FUND OAK HILL             COSTANTINI       LIMITEDWALKER HOUSE 908GT 8 MARY ST               GEORGE TOWN              KY         ISLANDS
                              OHA HEDGED CREDIT         ANNMARIE                                                                                               CAYMAN
Oak Hill Credit Partners      MASTER LP                 COSTANTINI       WALKER HOUSE              87 MARY ST              GEORGE TOWN              KY1-9005   ISLANDS
                              OHA STRATEGIC CREDIT      ANNMARIE         WALKER HOUSE 87                                                                       CAYMAN
Oak Hill Credit Partners      MASTER FUND II L P        COSTANTINI       MARY ST                                           GEORGE TOWN              KY1-9005   ISLANDS
                              OHA STRATEGIC CREDIT      ANNMARIE         WALKER HOUSE 87                                                                       CAYMAN
Oak Hill Credit Partners      MASTER FUND LP            COSTANTINI       MARY ST                                           GEORGE TOWN              KY1-9005   ISLANDS
                              STICHTING MN SERVICES
                              US HIGH YIELD FONDS OAK                    BURGEMEESTER
Oak Hill Credit Partners      HILL                      SHILPA WANI      ELSENLAAN 329                                     RIJSWIJK ZH              2282 MZ    NETHERLANDS
                              STICHTING
                              PENSIOENFONDS METAAL
                              EN TECHNIEK OAK HILL      ANNEMARIE                                  BURGEMEESTER ELSENLAAN
Oak Hill Credit Partners      ADVISORS                  CONSTANTINI      MN SERVICES NV            329                    RIJSWIJK ZH               2282 MZ    NETHERLANDS
                              STICHTING
                              PENSIOENFONDS VAN DE
                              METALEKTRO PME OAK
                              HILL FKA STICHTING
                              BEDRIJFSTAKPENSIOENFO                      MN SERVICES
                              NDS VOOR DE               ANNEMARIE        VERMOGENSBEHEER           BURGEMEESTER ELSENLAAN
Oak Hill Credit Partners      METALEKTRO                COSTANTINI       BV                        329                    RIJSWIJK ZH               2282 MZ    NETHERLANDS
                              GMAM GROUP PENSION        ANNMARIE
Oak Hill Credit Partners      TRUST I OAK HILL          COSTANTINI       PO BOX 1992                                       BOSTON           MA      02105      USA
                              LERNER ENTERPRISESLP
                              OAK HILL CREDIT           ANNEMARIE
Oak Hill Credit Partners      PARTNERS                  COSTANTINI       11501 HUFF CT                                     KENSINGTON       MD      20895      USA
                              OHSF FINANCING LTD OAK    ANNEMARIE
Oak Hill Credit Partners      HILL                      COSTANTINI       65 E 55TH ST                                      NEW YORK         NY      10022      USA




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                  7/15/2012
Case No. 12-12171 (REG)                                                                  8 of 10                                                                       1:24 PM
                                       12-12171-reg   Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17                 Main Document
                                                                                      Exhibit F
                                                                                Pg 511     of 519
                                                                              First Class Service List

            Name                    NoticeName            Address1            Address2                      Address3                 City     State        Zip       Country
                              OREGON PUBLIC
                              EMPLOYEES RETIREMENT    ANNEMARIE
Oak Hill Credit Partners      FUND OAK HILL           CONSTANTINI      350 WINTER ST               NE STE 100                SALEM            OR      97301 - 3896 USA

                           OAKTREE OPPORTUNITIES
                           FUND VIII DELAWARELP
Oaktree Capital Management OAKTREE CAPITAL            WILLIAM          333 S GRAND AVE 28TH
LP                         MANAGEMENT LP              SANTANGELO       FL                                                    LOS ANGELES      CA      90071       USA
                           OAKTREE HUNTINGTON
                           INVESTMENT FUND LP
OAKTREE CAPITAL            OAKTREE CAPITAL            WILLIAM                                                                                                     CAYMAN
MANAGEMENTLP               MANAGEMENTLP               SANTANGELO       87 MARY ST                                            GEORGE TOWN              KY1-9005    ISLANDS

                       OAKTREE OPPORTUNITIES
                       FUND VIII PARALLEL 2 LP
                       OAKTREE CAPITAL                WILLIAM                                                                                                     CAYMAN
OAKTREE CAPITAL MGT LP MANAGEMENT LLC                 SANTANGELO       87 MARY ST                                            GEORGE TOWN              KY1-9005    ISLANDS
                       PAULSON ADVANTAGE
                       MASTER LTD PAULSON AND         PAULSON and CO   UGLAND HOUSE S                                                                             CAYMAN
Paulson and Co         CO                             INC              CHURCH ST                                             GEORGETOWN               KY          ISLANDS
                       PAULSON ADVANTAGE
                       PLUS MASTER LTD                INTERNATIONAL                                                                                               CAYMAN
Paulson and Co         PAULSON AND CO                 FUND SERVICES    UGLAND HOUSE                S CHURCH ST               GEORGETOWN               KY          ISLANDS
                       PAULSON ADVANTAGE
                       SELECT MASTER FUND LTD         PAULSON and CO                                                                                              CAYMAN
Paulson and Co         PAULSON AND CO                 INC              UGLAND HOUSE                S CHURCH ST               GEORGETOWN               KY          ISLANDS
                       PAULSON CREDIT
                       OPPORTUNITY MASTER LTD                                                                                                                     CAYMAN
Paulson and Co         PAULSON AND CO                 IFS              UGLAND HOUSE                S CHURCH ST               GEORGE TOWN              KY          ISLANDS
                                                      EDWARD           11 MADISON AVE
PAULSON AND CO INC            BLT 8 LLC               MARKOWSKI        CORPORATE TAX               DEPARTMENT 8 TH FL        NEW YORK         NY      10010       USA
                              Q5 R5 TRADING LTD Q
                              GLOBAL CAPITAL                           87 MARY ST GEORGE                                                                          CAYMAN
Q Investments                 MANAGEMENTLP            TRADING WALL     TOWN                                                  GRAND CAYMAN             KY1-9002    ISLANDS
                              R2 TOP HAT LTD Q                                                                                                                    CAYMAN
Q Investments                 INVESTMENTS             TRADING WALL     WALKERS SPV LTD             MARY STREETPO BOX 908GT   GEORGE TOWN              KY          ISLANDS
                                                      TRADING WALL
                                                      TRACY BROSNAN
Q Investments                 R2 INVESTMENTS LDC      ESQ              2 PENNS WAY                                                                                USA
                              THE ROYAL BANK OF       MATTHEW          42 ST ANDREWS
RBS Greenwich Capital         SCOTLAND GROUP PLC      ROSENCRANS       SQUARE              EDINBURGH                         SCOTLAND                             GREAT BRITAIN
                              CREDIT SUISSE LOAN      JEANNETTE        11 MADISON AVE CORP
SELF MANAGED                  FUNDING LLC             CRESPO           TAX DEPT 8TH F                                        NEW YORK         NY      10010       USA
                              ZENITH INSURANCE
SELF MANAGED                  COMPANY                 ELINA BARON      21255 CALIFA ST                                       WOODLAND HILLS   CA      91367       USA
                              SPCP GROUP LLC SILVER
Silver Point Capital          POINT CAPITAL           ARBAB KHALID     600 STEAMBOAT RD                                      GREENWICH        CT      06830       USA
SILVER ROCK FINANCIAL
LLC                           CM NP LLC               DAVID CHOW       1250 FOURTH ST                                        SANTA MONICA     CA      90401       USA
SILVER ROCK FINANCIAL         WELLWATER LLC SILVER
LLC                           ROCK FINANCIAL          DAVID CHOW       1250 FOURTH ST                                        SANTA MONICA     CA      90401       USA


In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                      7/15/2012
Case No. 12-12171 (REG)                                                                  9 of 10                                                                           1:24 PM
                                       12-12171-reg    Doc 136        Filed 07/15/12 Entered 07/15/12 16:34:17             Main Document
                                                                                       Exhibit F
                                                                                 Pg 512     of 519
                                                                               First Class Service List

            Name              NoticeName                   Address1            Address2                     Address3             City      State       Zip     Country
                      SILVER ROCK FINANCIAL
SILVER ROCK FININCIAL LLC SILVER ROCK
LLC                   FINANCIAL                        DAVID CHOW       1250 4TH ST                                       SANTA MONICA     CA      90401     USA
                      STONE CREEK PARTNERS
STONE CREEK PARTNERS LP STONE CREEK                                     6100 FAIRVIEW
LLC                   PARTNERS LLC                     JOHN SHORT       ROADSUITE 790                                     CHARLOTTE        NC      28210     USA

                              TPG CREDIT
                              OPPORTUNITIES FUND LP
TPG Credit Mgt LP             TPG CREDIT MANAGEMENT KEVIN FRUECHTE      90 S SEVENTH ST            4600 WELLS FARGO CTR   MINNEAPOLIS      MN      55402     USA
                              TPG CREDIT
                              OPPORTUNITIES
                              INVESTORS LP TPG CREDIT
                              OPPORTUNITIES                             4600 WELLS FARGO CTR
TPG Credit Mgt LP             INVESTORSLP             BRETT BARBOUR     90 S                 7TH ST                       MINNEAPOLIS      MN      55402     USA

                              BJC PENSION PLAN TRUST
TRILOGY CAPITAL LLC           TRILOGY CAPITAL LLC      KYLE MILLER      BNY MELLON CTR             500 GRANT ST           PITTSBURGH       PA      15258     USA
UBS STAMFORD BRANCH           UBS AG STAMFORD
TRS                           BRANCH UBS               LIANFENG CHEN    677 WASHINGTON BLVD                               STAMFORD         CT      06901     USA
                              ASF1 LOAN FUNDING LLC
                              CITIBANK NA VIRTUS
Virtus Partners LLC           PARTNERS                 VIRTUS GROUP LP 333 W 34TH ST               2ND FL                 NEW YORK         NY      10001     USA




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                7/15/2012
Case No. 12-12171 (REG)                                                                 10 of 10                                                                     1:24 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                   Pg 513 of 519




                              Exhibit G
                                              12-12171-reg         Doc 136          Filed 07/15/12 Exhibit
                                                                                                         Entered
                                                                                                             G
                                                                                                                       07/15/12 16:34:17     Main Document
                                                                                              Pg    514    of  519
                                                                                              First Class Service List


              Name                                    NoticeName              Address1                Address2             Address3              City         State         Zip          Country
 ALLEN ARBITRAGE LP                                                  711 FIFTH AVE            ATTN TAL GURION                              NEW YORK      NY             10022      USA
 ALLEN ARBITRAGE OFFSHORE                                            711 FIFTH AVE            ATTN TAL GURION                              NEW YORK      NY             10022      USA
 ALLEN GLOBAL PARTNERS LP                                            711 5TH AVE                                                           NEW YORK      NY             10022      USA
 ALLEN GLOBAL PARTNERS
 OFFSHORE                                                            69 DOCTOR ROYS DR                                                     GEORGETOWN    GRAND CAYMAN KY1-1102     CAYMAN ISLANDS
 AMERICAN SECURITIES
 OPPORTUNITIES FUND B LP                                             299 PARK AVE             34TH FL               ATTN EVAN MIDDLETON    NEW YORK      NY             10171      USA
 AMERICAN SECURITIES
 OPPORTUNITIES FUND LP                                               299 PARK AVE             34TH FL               ATTN EVAN MIDDLETON    NEW YORK      NY           10171        USA
 AMMC CLO III LIMITED                                                PO BOX 1093 GT                                                        GEORGETOWN    GRAND CAYMAN KY1-1102     CAYMAN ISLANDS
 AMMC CLO IV LIMITED                                                 PO BOX 1093 GT                                                        GEORGETOWN    GRAND CAYMAN KY1-1102     CAYMAN ISLANDS

 AMMC CLO V LIMITED                    ATTN DAVID P MEYER            ONE EAST FOURTH ST 3RD                                                CINCINNATI    OH             45202      USA
 AMMC CLO VI LIMITED                                                 P O BOX 1093 FT                                                       GEORGETOWN    GRAND CAYMAN   KY1-1102   CAYMAN ISLANDS
 AMMC VII LIMITED                                                    PO BOX 1093 GT                                                        GEORGETOWN    GRAND CAYMAN   KY1-1102   CAYMAN ISLANDS
 AMMC VIII LIMITED                                                   PO BOX 1093 GT                                                        GEORGETOWN    GRAND CAYMAN   KY1-1102   CAYMAN ISLANDS
 ANCHORAGE CAPITAL MASTER
 OFFSHORE LTD                                                        610 BROADWAY 6TH FL      ATTN ANNMARIE KIM                            NEW YORK      NY             10012      USA
 ANCHORAGE ILLIQUID
 OPPORTUNITIES                         OFFSHORE MASTER II LP         610 BROADWAY 5TH FL                                                   NEW YORK      NY             10012      USA
 ANCHORAGE ILLIQUID
 OPPORTUNITIES                         OFFSHORE MASTER LP            610 BROADWAY                                                          NEW YORK      NY             10012      USA
 AVENUE INTERNATIONAL
 MASTER LP                             ATTN GEORGE QUIJANO           399 PARK AVE 6TH FL                                                   NEW YORK      NY             10022      USA
 AVENUE INVESTMENTS LP                 ATTN GEORGE QUIJANO           399 PARK AVE 6TH FL                                                   NEW YORK      NY             10022      USA
 AVENUE SPECIAL SITUATIONS
 FUND V LP                             ATTN GEORGE QUIJANO           399 PARK AVE 6TH FL                                                   NEW YORK      NY             10022      USA
 AVENUE-CDP GLOBAL
 OPPORTUNITIES FUND LP                 ATTN GEORGE QUIJANO           399 PARK AVE 6TH FL                                                   NEW YORK      NY             10022      USA
 BANK OF NEW YORK MELLON               CUST FBO ZENITH INSURANCE
 TRUST COMPANY                         COMPANY                       400 S HOPE ST 5TH FL                                                  LOS ANGELES   CA             90071      USA
 BLACKROCK CORPORATE HIGH
 YIELD FUND III INC                                                  40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK CORPORATE HIGH
 YIELD FUND INC                                                      40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK CORPORATE HIGH
 YIELD FUND V INC                                                    40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK CORPORATE HIGH
 YIELD FUND VI INC                                                   40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK CREDIT INVESTORS
 MASTER FUND LP                                                      40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK DEBT STRATEGIES
 FUND INC                                                            40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK DEFINED
 OPPORTUNITY CREDIT TRUST                                            40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK DIVERSIFIED
 INCOME STRATEGIES FUND INC                                          40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK FIXED INCOME
 PORTABLE                              ALPHA MASTER SERIES TRUST     40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK FIXED INCOME
 VALUE OPPORTUNITIES TRUST                                           40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA

 BLACKROCK FLOATING RATE               INCOME STRATEGIES FUND II INC 40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK FLOATING RATE
 INCOME TRUST                                                        40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK FLOATING RATE
 STRATEGIES FUND INC                                                 40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK FUNDS II- HIGH
 YIELD BOND PORTFOLIO                                                40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA
 BLACKROCK GLOBAL                      SERIES INCOME STRATEGIES
 INVESTMENT                            PORTFOLIO                     40 EAST 52ND ST          ATTN ANNMARIE SMITH                          NEW YORK      NY             10022      USA



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                           7/15/2012
Case No. 12-12171 (REG)                                                                                 1 of 4                                                                                  1:25 PM
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                                                                                                                     07/15/12 16:34:17     Main Document
                                                                                            Pg    515    of  519
                                                                                            First Class Service List


             Name                    NoticeName                              Address1                 Address2              Address3           City          State      Zip           Country
 BLACKROCK HIGH INCOME
 SHARES                                                              40 EAST 52ND ST         ATTN ANNMARIE SMITH                         NEW YORK       NY           10022      USA
 BLACKROCK HIGH YIELD TRUST                                          40 EAST 52ND ST         ATTN ANNMARIE SMITH                         NEW YORK       NY           10022      USA
 BLACKROCK LIMITED DURATION
 INCOME TRUST                                                        40 EAST 52ND ST         ATTN ANNMARIE SMITH                         NEW YORK       NY           10022      USA
 BLACKROCK SENIOR HIGH
 INCOME FUND INC                                                     40 EAST 52ND ST         ATTN ANNMARIE SMITH                         NEW YORK       NY           10022      USA
 CANPARTNERS INVESTMENTS IV                                          2000 AVE OF THE STARS
 LLC                        C/O CANYON CAPITAL ADVISORS              11TH FL                 ATTN VICTORIA PALMER                        LOS ANGELES    CA           90067      USA
 CITIGROUP GLOBAL MARKETS   OF CITIGROUP FINANCIAL
 INC AS NOMINEE             PRODUCTS INC                             390 GREENWICH ST        4TH FL                                      NEW YORK       NY           10013      USA
                                                                     PARNASSUSTOFEN
 CLIO EUROPEAN CLO BV                  IN RECEIVERSHIP               LOCATELLIKADE 1         ATTN MARK ADAMS                             AMSTERDAM                   1076 AZ    NETHERLANDS
 CM NP LLC                                                           1250 4TH ST                                                         SANTA MONICA   CA           90401      USA
 CORPORATE DEBT
 OPPORTUNITIES FUND LP                                               ONE BRYANT PARK 38TH FL ATTN PETER CHIN                             NEW YORK       NY           10036      USA
 CREDIT SUISSE SECURITIES
 (USA) LLC                                                           11 MADISON AVE         5TH FL                                       NEW YORK       NY           10010      USA
                                                                     12700 WHITEWATER DR MS
 CVI GVF LUX MASTER SARL               C/O CARVAL INVESTORS          144                    ATTN DANA ZURAFF                             MINNETONKA     MN           55343      USA

 DEUTSCHE BANK AG LONDON                                             ONE GREAT WINCHESTER    ATTN JOHN
 BRANCH                                                              ST                      AYLWARD/PADRAIG MOORE                       LONDON                      EC2N 2DS UNITED KINGDOM
 DNSMORE LLC                                                         1250 FOURTH ST          5TH FL                                      SANTA MONICA   CA           90401    USA
 FIDELITY ADVISOR SERIES I             ADVISOR FLOATING RATE HIGH
 FIDELITY                              INCOME FUND                   82 DEVONSHIRE ST        ATTN RAZA ANJUM                             BOSTON         MA           02109      USA
 FIDELITY ADVISOR SERIES I             ADVISOR HIGH INCOME
 FIDELITY                              ADVANTAGE FUND                82 DEVONSHIRE ST        ATTN RAZA ANJUM                             BOSTON         MA           02109      USA
 FIDELITY ADVISOR SERIES II            ADVISOR STRATEGIC INCOME
 FIDELITY                              FUND                          82 DEVONSHIRE ST        ATTN RAZA ANJUM                             BOSTON         MA           02109      USA
 FIDELITY AMERICAN HIGH YIELD                                        C/O 483 BAY ST NORTH    STE 300 ATTN PETER
 FUND                                                                TOWER                   BOWEN                                       TORONTO        ON           M5G 2N7    CANADA
 FIDELITY CANADIAN ASSET                                             C/O 483 BAY ST NORTH    STE 300 ATTN PETER
 ALLOCATION FUND                                                     TOWER                   BOWEN                                       TORONTO        ON           M5G 2N7    CANADA
 FIDELITY CANADIAN BALANCED                                          C/O 483 BAY ST NORTH    STE 300 ATTN PETER
 FUND                                                                TOWER                   BOWEN                                       TORONTO        ON           M5G 2N7    CANADA
 FIDELITY FINANCIAL TRUST
 FIDELITY                              CONVERTIBLE SECURITIES FUND 82 DEVONSHIRE ST          ATTN RAZA ANJUM                             BOSTON         MA           02109      USA
 FIDELITY PURITAN TRUST
 FIDELITY PURITAN FUND                                               82 DEVONSHIRE ST        ATTN RAZA ANJUM                             BOSTON         MA           02109      USA
                              FIDELITY STRATEGIC INCOME
 FIDELITY SCHOOL STREET TRUST FUND                                   82 DEVONSHIRE ST        ATTN RAZA ANJUM                             BOSTON         MA           02109      USA
 FIDELITY SUMMER STREET       FIDELITY CAPITAL & INCOME
 TRUST                        FUND                                   82 DEVONSHIRE ST        ATTN RAZA ANJUM                             BOSTON         MA           02109      USA

 FOCUS UP HOLDINGS LIMITED                                           2601 SOUTH BAYSHORE DR 9TH FL                                       COCONUT GROVE FL            33133      USA
 GLOBAL LOAN OPPORTUNITY                                             2000 AVE OF THE STARS
 FUND BV                                                             12TH FL                ATTN DARRYL SCHALL                           LOS ANGELES    CA           90061      USA
 GOLDMAN SACHS & CO                                                  200 WEST ST                                                         NEW YORK       NY           10282      USA
 GOLDMAN SACHS
 INTERNATIONAL                                                       120 FLEET ST            ATTN ANISHA JAGTIANI                        LONDON                      EC4A 2BB   UNITED KINGDOM
 GRF MASTER FUND II LP                                               610 BROADWAY 5TH FL                                                 NEW YORK       NY           10012      USA
 GRF MASTER FUND LP                                                  610 BROADWAY 6TH FLR    ATTN ANNMARIE KIM                           NEW YORK       NY           10012      USA
 GRF MASTER FUND LP                                                  610 BROADWAY 6TH FLR                                                NEW YORK       NY           10012      USA
 GUGGENHEIM PORTFOLIO
 COMPANY X LLC                                                       110 E 59TH ST 30TH FL   ATTN JOHN GRIZZETTI                         NEW YORK       NY           10022      USA
 IG FI CANADIAN ALLOCATION                                           C/O 483 BAY ST NORTH    STE 300 ATTN PETER
 FUND                                                                TOWER                   BOWEN                                       TORONTO        ON           M5G 2N7    CANADA
 ILLINOIS MUNICIPAL RETIREMENT BY PYRAMIS GLOBAL ADVISORS            COMPANY AS INVESTMENT
 FUND                          TRUST                                 ADVISOR                 900 SALEM ST            ATTN RAZA ANJUM     SMITHFIELD     RI           02917      USA




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                 2 of 4                                                                               1:25 PM
                                              12-12171-reg         Doc 136         Filed 07/15/12 Exhibit
                                                                                                        Entered
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                                                                                                                      07/15/12 16:34:17        Main Document
                                                                                             Pg    516    of  519
                                                                                             First Class Service List


                 Name                           NoticeName                   Address1                    Address2                Address3         City         State      Zip         Country
                                       RESPECT OF RUSSELL SUB-       C/O INNOCAP GLOBAL
 INNOCAP FUND SICAV P L C IN           FUND                          INVESTMENT                MANAGEMENT LTD         71 TOWER ROAD                                             USA
                                       C/O KNIGHTHEAD CAPITAL MGMT
 KNIGHTHEAD MASTER FUND LP             LLC                           623 5TH AVE               ATTN LAURA L TORRADO                          NEW YORK     NY           10022    USA
                                       C/O KNIGHTHEAD CAPITAL MGMT
 KNIGHTHEAD MASTER FUND LP             LLC                           623 5TH AVE - 29TH FLR                                                  NEW YORK     NY           10022    USA
 LEHMAN COMMERCIAL PAPER                                             1271 AVE OF THE           FL ATTN RANDALL
 INC                                                                 AMERICAS 38TH             BRAUNFELD                                     NEW YORK     NY           10020    USA
                                                                     ONE MANHATTANVILLE
 LEVERAGESOURCE HOLDINGS LP                                          ROAD                      STE 201                                       PURCHASE     NY           10577    USA
 LMA SPC FOR AND ON BEHALF             MAP 84 SEGREGATED             C/O KNIGHTHEAD CAPITAL
 OF                                    PORTFOLIO                     MGMT LLC                  623 5TH AVE            ATTN LAURA L TORRADO   NEW YORK     NY           10022    USA
 MARATHON BLUE ACTIVE FUND             C/O MARATHON ASSET
 LTD                                   MANAGEMENT LP                 ONE BRYANT PARK           38TH FL                                       NEW YORK     NY           10036    USA
 MARATHON CREDIT DISLOCATION
 FUND LP                                                             ONE BRYANT PARK 38TH FL ATTN PETER CHIN                                 NEW YORK     NY           10036    USA
 MARATHON CREDIT
 OPPORTUNITY MASTER FUND
 LTD                                                                 ONE BRYANT PARK 38TH FL ATTN PETER CHIN                                 NEW YORK     NY           10036    USA
 MARATHON LIQUID CREDIT LONG
 SHORT FUND                                                          ONE BRYANT PARK 38TH FL ATTN PETER CHIN                                 NEW YORK     NY           10036    USA
 MARATHON SPECIAL
 OPPORTUNITY MASTER FUND
 LTD                                                                 ONE BRYANT PARK 38TH FL   ATTN PETER CHIN                               NEW YORK     NY           10036    USA
 MASON CAPITAL LP                                                    110 E 59TH ST 30TH FL     ATTN JOHN GRIZZETTI                           NEW YORK     NY           10022    USA
 MASON CAPITAL LP                                                    110 E 59TH ST 30TH FL     ATTN JOHN GRIZZETTI                           NEW YORK     NY           10022    USA
 MASON CAPITAL LTD                                                   110 E 59TH ST 30TH FL     ATTN JOHN GRIZZETTI                           NEW YORK     NY           10022    USA
 MERINA LIMITED                        AVOCA LODGE                   17 AVOCA AVE              BLACKROCK                                     DUBLIN                             IRELAND
 MERRILL LYNCH PIERCE FENNER
 & SMITH INC                           C/O BANK OF AMERICA N A       214 NORTH TRYON ST        NC1-027-15-01                                 CHARLOTTE    NC           28255    USA
                                       BLACKROCK HIGH YIELD
 MET INVESTORS SERIES TRUST            PORTFOLIO                     40 EAST 52ND ST           ATTN ANNMARIE SMITH                           NEW YORK     NY           10022    USA
 MINERVA HOLDINGS LLC                                                135 EAST 57TH ST 6TH                                                    NEW YORK     NY           10022    USA
 MORGAN STANLEY & CO
 INCORPORATED                          ATTN JEANNIE DUNCAN           CUSTODY SERVICES          901 S BOND ST                                 BALTIMORE    MD           21231    USA
 PAULSON ADVANTAGE MASTER                                            1251 AVE OF THE
 LTD                                                                 AMERICAS 50TH             FL ATTN JAMES OLIVO                           NEW YORK     NY           10020    USA
 PAULSON ADVANTAGE PLUS                                              1251 AVE OF THE
 MASTER LTD                                                          AMERICAS 50TH             FL ATTN JAMES OLIVO                           NEW YORK     NY           10020    USA
 PAULSON ADVANTAGE SELECT                                            1251 AVE OF THE
 MASTER FUND LTD                                                     AMERICAS 50TH             FL ATTN JAMES OLIVO                           NEW YORK     NY           10020    USA
 PAULSON CREDIT                                                      1251 AVE OF THE
 OPPORTUNITIES MASTER LTD                                            AMERICAS 50TH             FL ATTN JAMES OLIVO                           NEW YORK     NY           10020    USA
 PAULSON RECOVERY MASTER                                             1252 AVE OF THE
 FUND LTD                                                            AMERICAS 50TH                                                           NEW YORK     NY           10020    USA

 PENTELI MASTER FUND LTD                                             ONE BRYANT PARK 38TH FL ATTN PETER CHIN                                 NEW YORK     NY           10036    USA

 R2 INVESTMENTS LDC                    C/O AMALGAMATED GADGET LP     AS INVESTMENT MANAGER 301 COMMERCE ST            STE 3200               FORT WORTH   TX           76102    USA
 R3 CAPITAL PARTNERS MASTER
 LP                                                                  55 E 52ND ST              ATTN RAVI BELLUR                              NEW YORK     NY           10055    USA
                             RIVERSOURCE FLOATING RATE               C/O RIVERSOURCE                                  100 N SEPULVEDA BLVD
 RIVERSOURCE BOND SERIES INC FUND                                    INVESTMENTS LLC           ATTN ROBIN C STANCIL   STE 650                EL SEGUNDO   CA           90245    USA
 SOF INVESTMENTS LP                                                  645 FIFTH AVE 21ST FL     ATTN JEFFREY KRAVETZ                          NEW YORK     NY           10022    USA
                                                                     301 COMMERCE ST STE
 TAC 2007 LP                                                         3300                      ATTN DAVID REINTJES                           FORT WORTH   TX           76102    USA
 TFP ROYAL LLC                                                       301 COMMERCE ST           STE 3300                                      FORT WORTH   TX           76102    USA
 THE ASSET MGMT COMMITTEE              COCA-COLA COMPANY MASTER      TRUST BY PYRAMIS
 OF                                    RETIREMENT                    GLOBAL ADVISOR            900 SALEM ST           ATTN RAZA ANJUM        SMITHFIELD   RI           02917    USA
 THE OBSIDIAN MASTER FUND                                            40 EAST 52ND ST           ATTN ANNMARIE SMITH                           NEW YORK     NY           10022    USA
 TPG EM LP                                                           301 COMMERCE              STE 3300                                      FORT WORTH   TX           76102    USA



In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                        7/15/2012
Case No. 12-12171 (REG)                                                                                    3 of 4                                                                            1:25 PM
                                              12-12171-reg         Doc 136       Filed 07/15/12 Exhibit
                                                                                                      Entered
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                                                                                                                    07/15/12 16:34:17     Main Document
                                                                                           Pg    517    of  519
                                                                                           First Class Service List


            Name                                      NoticeName           Address1                 Address2           Address3              City           State      Zip           Country
 TRILOGY PORTFOLIO COMPANY
 LLC                                                                33 BENEDICT PLACE                                                   GREENWICH      CT           06830     USA

 VALINOR CAPITAL PARTNERS              OFFSHORE MASTER FUND LP      ATTN VASAN KESAVAN     510 MADISON AVE 25TH FLR                     NEW YORK       NY           10022     USA
                                                                    510 MADISON AVE 25TH
 VALINOR CAPITAL PARTNERS LP           ATTN VASAN KESAVAN           FLR                                                                 NEW YORK       NY           10016     USA
 VARIABLE INSURANCE                    FUND V STRATEGIC INCOME
 PRODUCTS                              PORTFOLIO                    82 DEVONSHIRE ST       ATTN RAZA ANJUM                              BOSTON         MA           02109     USA
 WELLWATER LLC                                                      1250 4TH ST                                                         SANTA MONICA   CA           90401     USA
                                                                    1271 AVE OF THE
 WOODLANDS COMMERCIAL BANK                                          AMERICAS               STE C2                                       NEW YORK       NY           10020-1309 USA




In re Houghton Mifflin Harcourt Publishing Company,                                                                                                                                       7/15/2012
Case No. 12-12171 (REG)                                                                               4 of 4                                                                                1:25 PM
12-12171-reg   Doc 136   Filed 07/15/12 Entered 07/15/12 16:34:17   Main Document
                                   Pg 518 of 519




                              Exhibit H
           12-12171-reg       Doc 136     Filed 07/15/12 Entered 07/15/12 16:34:17        Main Document
                                                    Pg Exhibit
                                                        519 of H519
                                                      Email Service List

                                Company                                           Email
                Bank of America DTC #2251                 tss.corporate.actions@bankofamerica.com
                Bloomberg                                 release@bloomberg.net
                BNY Mellon #954                           Beth.Stiffler@bnymellon.com
                Clearstream International SA              CA_BOND@clearstream.com
                Clearstream International SA              Carolyn.trebus@citi.com
                Credit Suisse Securities (USA) LLC        list.amnycactionfixed@credit-suisse.com
                Credit Suisse Securities (USA) LLC        raequel.packenham@credit-suisse.com
                Credit Suisse Securities (USA) LLC        emily.connors@credit-suisse.com
                Credit Suisse Securities (USA) LLC        elliott.peck@credit-suisse.com
                Deutsche Bank Securities Inc              jaxca.notifications@db.com
                Euroclear Bank S.A./N.V.                  drit@euroclear.com
                Foliofn Investments                       proxyservices@folioinvesting.com
                Goldman Sachs & Co                        GS-as-ny-proxy@ny.email.gs.com
                JPMorgan Chase Bank                       JPMorganInformation.Services@JPMChase.com
                Mediant Communications                    documents@mediantonline.com
                Morgan Stanley                            usproxies@morganstanley.com
                Morgan Stanley                            proxy.balt@morganstanley.com
                Morgan Stanley                            cavsdom@morganstanley.com
                Morgan Stanley                            Raquel.Del.Monte@morganstanley.com
                Northern Trust Company                    cs_notifications@ntrs.com
                Royal Bank of Canada                      donald.garcia@rbc.com
                SIS SegaInterSettle AG                    corpactionsoverseas.group@sisclear.com
                SIS SegaInterSettle AG                    CABO.group@sisclear.com
                Southwest Securities                      aclark@swst.com
                Southwest Securities                      proxy@swst.com
                State Street Bank and Trust Company       rjray@statestreet.com
                State Street Bank and Trust Company       scpolizio@statestreet.com
                State Street Bank and Trust Company       jkkyan@statestreet.com
                State Street Bank and Trust Company       USCAResearch@statestreet.com
                The Bank of New York Mellon               pgheventcreation@bnymellon.com
                The Bank of New York Mellon               justin.whitehouse@bnymellon.com
                The Bank of New York Mellon               brian.marnell@bnymellon.com
                The Canadian Depository                   sies-canfo@cds.ca
                The Depository Trust Co                   gcabusiness.support@dtcc.com
                The Depository Trust Co                   cscotto@dtcc.com
                The Depository Trust Co                   lensnotices@dtcc.com
                The Depository Trust Co                   mandatoryreorgannouncements@dtcc.com
                The Depository Trust Co                   voluntaryreorgannouncements@dtcc.com
                The Depository Trust Co                   putbonds@dtcc.com
                UBS Securities LLC                        OL-EVENTMANAGEMENT@ubs.com
                UBS Securities LLC                        thomas.torrillo@ubs.com




In re Houghton Mifflin Harcourt Publishing Company,                                                       7/15/2012
Case No. 12-12171 (REG)                                     1 of 1                                          1:25 PM
